BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                    Page 1 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1 of 1639
                                                                           0001

                                        COMPLX, LEAD, COMPLX, APPEAL, APPEAL_NAT


                                  U.S. Bankruptcy Court
                            Southern District of Texas (Houston)
                              Bankruptcy Petition #: 20-33233
                                                                 Date filed: 06/28/2020
Assigned to: Bankruptcy Judge David R Jones                 Plan confirmed: 01/16/2021
Chapter 11
Voluntary
Asset



Debtor                               represented Matthew D Cavenaugh
Chesapeake Energy Corporation                 by Jackson Walker LLP
6100 North Western Avenue                        1401 McKinney Street
Oklahoma City, OK 73118                          Ste 1900
OKLAHOMA-OK                                      Houston, TX 77010
Tax ID / EIN: XX-XXXXXXX                         713-752-4200
                                                 Email: mcavenaugh@jw.com

                                                 Genevieve Marie Graham
                                                 Jackson Walker LLP
                                                 1401 McKinney Street
                                                 Suite 1900
                                                 Houston, TX 77010
                                                 (713) 752-4231
                                                 Fax : (713) 308-4131
                                                 Email: ggraham@jw.com

                                                 Fareed I Kaisani
                                                 Platt Cheema Richmond PLLC
                                                 1201 N. Riverfront Blvd.
                                                 Suite 150
                                                 Dallas, TX 75207
                                                 214-559-2700
                                                 Fax : 214-559-4390
                                                 Email: fkaisani@pcrfirm.com

                                                 Steven J Levitt
                                                 Thompson & Knight LLP
                                                 1722 Routh Street
                                                 Suite 1500
                                                 Dallas, TX 75201-2533
                                                 214-969-1700
                                                 Fax : 214-969-1751
                                                 Email: steven.levitt@tklaw.com




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                    Page 2 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 2 of 1639
                                                                           0002


                                                 Kristhy M Peguero
                                                 Jackson Walker LLP
                                                 1401 McKinney St
                                                 Ste 1900
                                                 Houston, TX 77010
                                                 713-752-4440
                                                 Email: kpeguero@jw.com

                                                 Veronica Ann Polnick
                                                 Jackson Walker, LLP
                                                 1401 McKinney St.
                                                 Suite 1900
                                                 Houston, TX 77010
                                                 713-752-4200
                                                 Fax : 713-754-6716
                                                 Email: vpolnick@jw.com

                                                 Alexandra Schwarzman
                                                 Kirkland & Ellis LLP
                                                 300 N LaSalle
                                                 Chicago, IL 60654
                                                 312-862-2000
                                                 Email: alexandra.schwarzman@kirkland.com

                                                 Joshua Bacon Selig
                                                 Bymes Keller et al
                                                 1000 Second Avenue
                                                 38th Floor
                                                 Seattle, WA 98104
                                                 206-622-2000
                                                 Email: jselig@byrneskeller.com

                                                 Jennifer F Wertz
                                                 Jackson Walker LLP
                                                 100 Congress Ave
                                                 Suite 1100
                                                 Austin, TX 78701
                                                 512-236-2247
                                                 Fax : 512-391-2147
                                                 Email: jwertz@jw.com

Debtor                               represented Matthew D Cavenaugh
CHK Energy Holdings, Inc.                     by (See above for address)
6100 North Western Avenue
Oklahoma City, OK 73118                          Jennifer F Wertz
OKLAHOMA-OK                                      (See above for address)
Tax ID / EIN: XX-XXXXXXX




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                 5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                    Page 3 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 3 of 1639
                                                                           0003

Debtor                               represented Matthew D Cavenaugh
Brazos Valley Longhorn Finance                by (See above for address)
Corp.
6100 North Western Avenue                        Kristhy M Peguero
Oklahoma City, OK 73118                          (See above for address)
OKLAHOMA-OK
Tax ID / EIN: XX-XXXXXXX                         Jennifer F Wertz
                                                 (See above for address)

Debtor                               represented Vienna Flores Anaya
Chesapeake AEZ Exploration,                   by Jackson Walker LLP
L.L.C.                                           2323 Ross Avenue, Suite 600
6100 North Western Avenue                        Dallas, TX 75201
Oklahoma City, OK 73118                          214-953-6047
OKLAHOMA-OK                                      Fax : 214-661-6647
Tax ID / EIN: XX-XXXXXXX                         Email: vanaya@jw.com

                                                 Matthew D Cavenaugh
                                                 (See above for address)

                                                 Jennifer F Wertz
                                                 (See above for address)

Debtor                               represented Matthew D Cavenaugh
Brazos Valley Longhorn, L.L.C.                by (See above for address)
6100 North Western Avenue
Oklahoma City, OK 73118                          Veronica Ann Polnick
OKLAHOMA-OK                                      (See above for address)
Tax ID / EIN: XX-XXXXXXX
                                                 Jennifer F Wertz
                                                 (See above for address)

Debtor                               represented Matthew D Cavenaugh
Chesapeake E&P Holding, L.L.C.                by (See above for address)
6100 North Western Avenue
Oklahoma City, OK 73118                          Jennifer F Wertz
OKLAHOMA-OK                                      (See above for address)
Tax ID / EIN: XX-XXXXXXX

Debtor                               represented Victoria Nicole Argeroplos
Burleson Water Resources, LLC                 by Jackson Walker LLP
6100 North Western Avenue                        1401 McKinney Street
Oklahoma City, OK 73118                          Suite 1900
OKLAHOMA-OK                                      Houston, TX 77010
Tax ID / EIN: XX-XXXXXXX                         713-752-4334
                                                 Fax : 713-308-4134
                                                 Email: vargeroplos@jw.com




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1          5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                    Page 4 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 4 of 1639
                                                                           0004

                                                 Matthew D Cavenaugh
                                                 (See above for address)

                                                 Jennifer F Wertz
                                                 (See above for address)

Debtor                               represented Anthony Frank Arguijo
Chesapeake Exploration, L.L.C.                by Scott Douglass & McConnico LLP
6100 North Western Avenue                        303 Colorado Street
Oklahoma City, OK 73118                          Suite 2400
OKLAHOMA-OK                                      Austin, TX 78701
Tax ID / EIN: XX-XXXXXXX                         512-495-6300
                                                 Fax : 512-495-6399
                                                 Email: aarguijo@scottdoug.com

                                                 Matthew D Cavenaugh
                                                 (See above for address)

                                                 Veronica Ann Polnick
                                                 (See above for address)

                                                 Jennifer F Wertz
                                                 (See above for address)

Debtor                           represented Matthew D Cavenaugh
Chesapeake Energy Louisiana, LLC          by (See above for address)

6100 North Western Avenue                        Jennifer F Wertz
Oklahoma City, OK 73118                          (See above for address)
OKLAHOMA-OK
Tax ID / EIN: XX-XXXXXXX
fka Chesapeake Energy Louisiana
Corporation

Debtor                               represented Matthew D Cavenaugh
Chesapeake VRT, L.L.C.                        by (See above for address)
6100 North Western Avenue
Oklahoma City, OK 73118                          Veronica Ann Polnick
OKLAHOMA-OK                                      (See above for address)
Tax ID / EIN: XX-XXXXXXX
                                                 Jennifer F Wertz
                                                 (See above for address)

Debtor                               represented Victoria Nicole Argeroplos
Chesapeake Louisiana, L.P.                    by (See above for address)
6100 North Western Avenue
Oklahoma City, OK 73118                          Matthew D Cavenaugh
OKLAHOMA-OK                                      (See above for address)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1             5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                    Page 5 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 5 of 1639
                                                                           0005

Tax ID / EIN: XX-XXXXXXX
                                                 Jennifer F Wertz
                                                 (See above for address)

Debtor                               represented Matthew D Cavenaugh
Esquisto Resources II, LLC                    by (See above for address)
6100 North Western Avenue
Oklahoma City, OK 73118                          Veronica Ann Polnick
OKLAHOMA-OK                                      (See above for address)
Tax ID / EIN: XX-XXXXXXX
                                                 Jennifer F Wertz
                                                 (See above for address)

Debtor                            represented Matthew D Cavenaugh
Chesapeake Energy Marketing,               by (See above for address)
L.L.C.
6100 North Western Avenue                     Kristhy M Peguero
Oklahoma City, OK 73118                       (See above for address)
OKLAHOMA-OK
Tax ID / EIN: XX-XXXXXXX                      Jennifer F Wertz
fka Chesapeake Energy Marketing,              (See above for address)
Inc.
fka Chesapeake OK Nat Gas Supply,
L.L.C.
fka Millennium Gas Partners LLC

Debtor                               represented Matthew D Cavenaugh
Sparks Drive SWD, Inc.                        by (See above for address)
6100 North Western Avenue
Oklahoma City, OK 73118                          Veronica Ann Polnick
OKLAHOMA-OK                                      (See above for address)
Tax ID / EIN: XX-XXXXXXX
                                                 Jennifer F Wertz
                                                 (See above for address)

Debtor                               represented Vienna Flores Anaya
Chesapeake Midstream                          by (See above for address)
Development, L.L.C.
6100 North Western Avenue                        Matthew D Cavenaugh
Oklahoma City, OK 73118                          (See above for address)
OKLAHOMA-OK
Tax ID / EIN: XX-XXXXXXX                         Jennifer F Wertz
fka Chesapeake Midstream                         (See above for address)
Development, L.P.
fka Arkansas Midstream Gas
Services Corp.
fka Chesapeake Midstream
Holdings, L.L.C.




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                    Page 6 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 6 of 1639
                                                                           0006

fka Chesapeak West Texas
Gathering, L.L.C.
fka AMGS, L.L.C.

Debtor                               represented Matthew D Cavenaugh
Chesapeake Appalachia, L.L.C.                 by (See above for address)
6100 North Western Avenue
Oklahoma City, OK 73118                          Cameron A. Secord
OKLAHOMA-OK                                      Jackson Walker LLP
Tax ID / EIN: XX-XXXXXXX                         1401 McKinney St
                                                 Ste 1900
                                                 Houston, TX 77010
                                                 713-752-4362
                                                 Email: csecord@jw.com

                                                 Jennifer F Wertz
                                                 (See above for address)

Debtor                               represented Victoria Nicole Argeroplos
Chesapeake NGV Leasing                        by (See above for address)
Company, L.L.C.
6100 North Western Avenue
Oklahoma City, OK 73118
OKLAHOMA-OK
Tax ID / EIN: XX-XXXXXXX

Debtor                            represented Anthony Frank Arguijo
Chesapeake Operating, L.L.C.               by (See above for address)
6100 North Western Avenue
Oklahoma City, OK 73118                       Matthew D Cavenaugh
OKLAHOMA-OK                                   (See above for address)
Tax ID / EIN: XX-XXXXXXX
fka Chesapeake Operating, Inc.                Jennifer F Wertz
fka Mineral Acquisition                       (See above for address)
Management, L.L.C.
fka Afterdot, L.L.C.
fka Eagle Well Service, Inc.
fka Castlebrook, L.L.C.
fka Chesapeake Plaza L.L.C.
fka CHK Services Holdings, L.L.C.
fka Chesapeake Equipment Finance,
L.L.C.

Debtor                               represented Vienna Flores Anaya
CHK Utica, L.L.C.                             by (See above for address)
6100 North Western Avenue
Oklahoma City, OK 73118                          Matthew D Cavenaugh
OKLAHOMA-OK                                      (See above for address)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1         5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                    Page 7 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 7 of 1639
                                                                           0007

Tax ID / EIN: XX-XXXXXXX
                                                 Jennifer F Wertz
                                                 (See above for address)

Debtor                               represented Matthew D Cavenaugh
Chesapeake Royalty, L.L.C.                    by (See above for address)
6100 North Western Avenue
Oklahoma City, OK 73118                          Kristhy M Peguero
OKLAHOMA-OK                                      (See above for address)
Tax ID / EIN: XX-XXXXXXX
fka Chesapeake Royalty Company                   Jennifer F Wertz
fka CHK-MAC, L.L.C.                              (See above for address)

Debtor                               represented Matthew D Cavenaugh
Burleson Sand LLC                             by (See above for address)
6100 North Western Avenue
Oklahoma City, OK 73118                          Genevieve Marie Graham
OKLAHOMA-OK                                      (See above for address)
Tax ID / EIN: XX-XXXXXXX
                                                 Jennifer F Wertz
                                                 (See above for address)

Debtor                               represented Victoria Nicole Argeroplos
MC Louisiana Minerals, L.L.C.                 by (See above for address)
6100 North Western Avenue
Oklahoma City, OK 73118                          Matthew D Cavenaugh
OKLAHOMA-OK                                      (See above for address)
Tax ID / EIN: XX-XXXXXXX
                                                 Jennifer F Wertz
                                                 (See above for address)

Debtor                               represented Matthew D Cavenaugh
Chesapeake NG Ventures                        by (See above for address)
Corporation
6100 North Western Avenue                        Cameron A. Secord
Oklahoma City, OK 73118                          (See above for address)
OKLAHOMA-OK
Tax ID / EIN: XX-XXXXXXX                         Jennifer F Wertz
                                                 (See above for address)

Debtor                               represented Matthew D Cavenaugh
Empress, L.L.C.                               by (See above for address)
6100 North Western Avenue
Oklahoma City, OK 73118                          Kristhy M Peguero
OKLAHOMA-OK                                      (See above for address)
Tax ID / EIN: XX-XXXXXXX
                                                 Jennifer F Wertz
                                                 (See above for address)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1         5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                    Page 8 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 8 of 1639
                                                                           0008



Debtor                               represented Vienna Flores Anaya
MC Mineral Company, L.L.C.                    by (See above for address)
6100 North Western Avenue
Oklahoma City, OK 73118                          Matthew D Cavenaugh
OKLAHOMA-OK                                      (See above for address)
Tax ID / EIN: XX-XXXXXXX
                                                 Jennifer F Wertz
                                                 (See above for address)

Debtor                               represented Matthew D Cavenaugh
Compass Manufacturing, L.L.C.                 by (See above for address)
6100 North Western Avenue
Oklahoma City, OK 73118                          Cameron A. Secord
OKLAHOMA-OK                                      (See above for address)
Tax ID / EIN: XX-XXXXXXX
                                                 Jennifer F Wertz
                                                 (See above for address)

Debtor                               represented Victoria Nicole Argeroplos
WHR Eagle Ford LLC                            by (See above for address)
6100 North Western Avenue
Oklahoma City, OK 73118                          Matthew D Cavenaugh
OKLAHOMA-OK                                      (See above for address)
Tax ID / EIN: XX-XXXXXXX
                                                 Jennifer F Wertz
                                                 (See above for address)

Debtor                               represented Vienna Flores Anaya
Wildhorse Resources II, LLC                   by (See above for address)
6100 North Western Avenue
Oklahoma City, OK 73118                          Matthew D Cavenaugh
OKLAHOMA-OK                                      (See above for address)
Tax ID / EIN: XX-XXXXXXX
fka WoldHorse Merger Sub, LLC                    Jennifer F Wertz
                                                 (See above for address)

Debtor                               represented Matthew D Cavenaugh
Chesapeake Plains, L.L.C.                     by (See above for address)
6100 North Western Avenue
Oklahoma City, OK 73118                          Jennifer F Wertz
OKLAHOMA-OK                                      (See above for address)
Tax ID / EIN: XX-XXXXXXX

Debtor                               represented Matthew D Cavenaugh
Petromax E&P Burleson, LLC                    by (See above for address)
6100 North Western Avenue
Oklahoma City, OK 73118                          Kristhy M Peguero




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1         5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                    Page 9 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 9 of 1639
                                                                           0009

OKLAHOMA-OK                                      (See above for address)
Tax ID / EIN: XX-XXXXXXX
                                                 Jennifer F Wertz
                                                 (See above for address)

Debtor                              represented Matthew D Cavenaugh
Chesapeake Land Development                  by (See above for address)
Company, L.L.C.
6100 North Western Avenue                       Genevieve Marie Graham
Oklahoma City, OK 73118                         (See above for address)
OKLAHOMA-OK
SSN / ITIN: xxx-xx-9392                         Jennifer F Wertz
fka Wilshire Holdings, L.L.C.                   (See above for address)
fka Property Development Capital,
L.L.C.p
fka Boyington Land, L.L.C.
fka Eastn Classen Propeprty
Development, L.L.C.
fka Nichols Hills Market, L.L.C.
fka Atrium Towers, L.L.C.
fka Sayre Property Development,
L.L.C.
fka Paradise Road Real Estate
Company, L.L.C.
fka Grandmark Acquisition, L.L.C.
fka Barnes Veritas Holdings, L.L.C.
fka Waterford Land Company, LLC

Debtor                               represented Matthew D Cavenaugh
Midcon Compression, L.L.C.                    by (See above for address)
6100 North Western Avenue
Oklahoma City, OK 73118                          Cameron A. Secord
OKLAHOMA-OK                                      (See above for address)
Tax ID / EIN: XX-XXXXXXX
                                                 Jennifer F Wertz
                                                 (See above for address)

Debtor                               represented Matthew D Cavenaugh
Chesapeake-Clements Acquisition,              by (See above for address)
L.L.C.
6100 North Western Avenue                        Genevieve Marie Graham
Oklahoma City, OK 73118                          (See above for address)
OKLAHOMA-OK
Tax ID / EIN: XX-XXXXXXX                         Jennifer F Wertz
                                                 (See above for address)

Debtor                               represented Matthew D Cavenaugh
EMLP, L.L.C.                                  by (See above for address)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 10 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 10 of 1639
                                                                           0010

6100 North Western Avenue
Oklahoma City, OK 73118                          Jennifer F Wertz
OKLAHOMA-OK                                      (See above for address)
Tax ID / EIN: XX-XXXXXXX

Debtor                               represented Matthew D Cavenaugh
Wildhorse Resources Management                by (See above for address)
Company, LLC
6100 North Western Avenue                        Cameron A. Secord
Oklahoma City, OK 73118                          (See above for address)
OKLAHOMA-OK
Tax ID / EIN: XX-XXXXXXX                         Jennifer F Wertz
                                                 (See above for address)

Debtor                               represented Matthew D Cavenaugh
GSF, L.L.C.                                   by (See above for address)
6100 North Western Avenue
Oklahoma City, OK 73118                          Genevieve Marie Graham
OKLAHOMA-OK                                      (See above for address)
Tax ID / EIN: XX-XXXXXXX
                                                 Jennifer F Wertz
                                                 (See above for address)

Debtor                               represented Matthew D Cavenaugh
WHE ACQCO., LLC                               by (See above for address)
6100 North Western Avenue
Oklahoma City, OK 73118                          Genevieve Marie Graham
OKLAHOMA-OK                                      (See above for address)
Tax ID / EIN: XX-XXXXXXX
                                                 Jennifer F Wertz
                                                 (See above for address)

Debtor                             represented Matthew D Cavenaugh
Empress Louisiana Properties, L,P.          by (See above for address)
6100 North Western Avenue
Oklahoma City, OK 73118                        Jennifer F Wertz
OKLAHOMA-OK                                    (See above for address)
Tax ID / EIN: XX-XXXXXXX

Debtor                               represented Matthew D Cavenaugh
Nomac Services, L.L.C.                        by (See above for address)
611 North Western Avenue
Oklahoma City, OK 73118                          Jennifer F Wertz
OKLAHOMA-OK                                      (See above for address)
Tax ID / EIN: XX-XXXXXXX

Debtor                               represented Matthew D Cavenaugh
Northern Michigan Exploration                 by (See above for address)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 11 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 11 of 1639
                                                                           0011

Company, L.L.C.
6100 North Western Avenue                        Jennifer F Wertz
Oklahoma City, OK 73118                          (See above for address)
OKLAHOMA-OK
Tax ID / EIN: XX-XXXXXXX

Debtor                              represented Matthew D Cavenaugh
Winter Moon Energy Corporation               by (See above for address)
6100 North Western Avenue
Oklahoma City, OK 73118                         Jennifer F Wertz
OKLAHOMA-OK                                     (See above for address)
Tax ID / EIN: XX-XXXXXXX
fka Green Mountain Drilling, L.L.C.

Debtor                       represented Matthew D Cavenaugh
CHK NGV Leasing Company, LLC          by (See above for address)
OUTSIDE U. S.
                                         Jennifer F Wertz
                                         (See above for address)

Defendant                       represented JGC Exploration Eagle Ford, LLC
JGC Exploration Eagle Ford, LLC          by PRO SE

                                                 Alexander David Burch
                                                 TERMINATED: 03/26/2021

U.S. Trustee                         represented Hector Duran, Jr
US Trustee                                    by U.S. Trustee
Office of the US Trustee                         515 Rusk
515 Rusk Ave                                     Ste 3516
Ste 3516                                         Houston, Tx 77002
Houston, TX 77002                                7137184650
(713) 718-4650                                   Email: Hector.Duran.Jr@usdoj.gov

                                                 Stephen Douglas Statham
                                                 Office of US Trustee
                                                 515 Rusk
                                                 Ste 3516
                                                 Houston, TX 77002
                                                 713-718-4650 Ext 252
                                                 Fax : 713-718-4670
                                                 Email: stephen.statham@usdoj.gov

Creditor Committee                   represented Jason Lee Boland
Official Committee Of Unsecured               by Norton Rose Fulbright US LLP
Creditors                                        1301 McKinney
                                                 Ste 5100
                                                 Houston, TX 77010




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1               5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 12 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 12 of 1639
                                                                           0012

                                                 713-651-3769
                                                 Fax : 713-651-5246
                                                 Email: jason.boland@nortonrosefulbright.com

                                                 Robert Bernard Bruner
                                                 Norton Rose Fulbright US LLP
                                                 1301 McKinney
                                                 Suite 5100
                                                 Houston, TX 77010
                                                 713-651-5216
                                                 Email: bob.bruner@nortonrosefulbright.com

                                                 Kristian W. Gluck
                                                 Norton Rose Fulbright US LLP
                                                 2200 Ross Ave
                                                 Suite 3600
                                                 Dallas, TX 75201-2784
                                                 214-855-8210
                                                 Fax : 214-855-8200
                                                 Email: kristian.gluck@nortonrosefulbright.com

                                                 William R Greendyke
                                                 Norton Rose Fulbright US LLP
                                                 1301 McKinney Street
                                                 Suite 5100
                                                 Houston, TX 77010
                                                 713-651-5193
                                                 Fax : 713-651-5193
                                                 Email: william.greendyke@nortonrosefulbright.com

                                                 Julie Goodrich Harrison
                                                 Norton Rose Fulbright US LLP
                                                 1301 McKinney St
                                                 Ste 5100
                                                 Houston, TX 77010
                                                 713-651-5434
                                                 Email: julie.harrison@nortonrosefulbright.com

                                                 Maria Barbara Mokrzycka
                                                 Norton Rose et al
                                                 1301 McKinney St 5100
                                                 Houston, TX 77010
                                                 804-426-7906
                                                 Email: maria.mokrzycka@nortonrosefulbright.com

                                                 Justin E Rawlins
                                                 Paul Hastings LLP
                                                 515 South Flower Street
                                                 Twenty-Fifth Floor




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 13 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 13 of 1639
                                                                           0013

                                                 Los Angeles, CA 90071
                                                 213-683-6130
                                                 Email: justinrawlins@paulhastings.com


   Filing Date                 #                                   Docket Text

                            1                   Chapter 11 Voluntary Petition Non-Individual Fee
                            (26 pgs)            Amount $1717 Filed by Chesapeake Energy
                                                Corporation. (Cavenaugh, Matthew) (Entered:
 06/28/2020                                     06/28/2020)

                                                Receipt of Voluntary Petition (Chapter 11)(20-
                                                33233) [misc,volp11] (1717.00) Filing Fee. Receipt
                                                number 22229825. Fee amount $1717.00. (U.S.
 06/28/2020                                     Treasury) (Entered: 06/28/2020)

                            2                   Notice of Appearance and Request for Notice Filed
                            (2 pgs)             by Patricia Williams Prewitt Filed by on behalf of
                                                Plains Marketing, L.P. (Prewitt, Patricia) (Entered:
 06/28/2020                                     06/28/2020)

                            3                   Notice of Designation as Complex Chapter 11
                            (4 pgs; 2 docs)     Bankruptcy Case (Filed By Chesapeake Energy
                                                Corporation ). (Attachments: # 1 Proposed Order)
 06/28/2020                                     (Peguero, Kristhy) (Entered: 06/28/2020)

                            4                   Emergency Motion for Entry of an Order (I)
                            (28 pgs; 2 docs)    Directing Joint Administration of Chapter 11
                                                Cases and (II) Granting Related Relief Filed by
                                                Debtor Chesapeake Energy Corporation Hearing
                                                scheduled for 6/29/2020 at 02:30 PM at Houston,
                                                Courtroom 400 (DRJ). (Attachments: # 1 Proposed
                                                Order) (Cavenaugh, Matthew) (Entered:
 06/28/2020                                     06/28/2020)

                            5                   Emergency Motion for Entry of a Limited Interim
                            (20 pgs; 2 docs)    Order Authorizing the Debtors to Maintain Their
                                                Fuel Card Program in the Ordinary Course of
                                                Business Filed by Debtor Chesapeake Energy
                                                Corporation (Attachments: # 1 Proposed Order)
 06/28/2020                                     (Cavenaugh, Matthew) (Entered: 06/28/2020)

                                                Judge David R Jones added to case. Involvement of
                                                Judge Marvin Isgur Terminated. (LinhthuDo)
 06/28/2020                                     (Entered: 06/28/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 14 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 14 of 1639
                                                                           0014


                            6                   Emergency Motion for Order Appointing Epiq
                            (48 pgs; 2 docs)    Corporate Restructuring, LLC as Claims, Noticing,
                                                Solicitation, and Administrative Agent, Effective as
                                                of June 28, 2020 Filed by Debtor Chesapeake
                                                Energy Corporation (Attachments: # 1 Proposed
                                                Order) (Cavenaugh, Matthew) (Entered:
 06/28/2020                                     06/28/2020)

                            7                   Emergency Motion for Entry of an Order (I)
                            (19 pgs; 2 docs)    Authorizing the Debtors to File a Consolidated List
                                                of Creditors and a Consolidated List of the 50
                                                Largest Unsecured Creditors, (II) Waiving the
                                                Requirement to File a List of Equity Security
                                                Holders, and (III) Authorizing the Debtors to
                                                Redact Certain Personal Identification Information
                                                Filed by Debtor Chesapeake Energy Corporation
                                                (Attachments: # 1 Proposed Order) (Cavenaugh,
 06/28/2020                                     Matthew) (Entered: 06/28/2020)

                            8                   Emergency Motion for Entry of an Order
                            (10 pgs; 2 docs)    Extending Time to File Schedules of Assets and
                                                Liabilities, Schedules of Current Income and
                                                Expenditures, Schedules of Executory Contracts
                                                and Unexpired Leases, and Statements of Financial
                                                Affairs Filed by Debtor Chesapeake Energy
                                                Corporation (Attachments: # 1 Proposed Order)
 06/28/2020                                     (Cavenaugh, Matthew) (Entered: 06/28/2020)

                            9                   Notice of Appearance and Request for Notice Filed
                            (3 pgs)             by Duston K McFaul Filed by on behalf of MUFG
                                                Union Bank, N.A. (McFaul, Duston) (Entered:
 06/28/2020                                     06/28/2020)

                            10                  Emergency Motion for Entry of an Order (I)
                            (40 pgs; 2 docs)    Authorizing the Debtors to (A) Pay Prepetition
                                                Wages, Salaries, Other Compensation, and
                                                Reimbursable Expenses and (B) Continue
                                                Employee Benefits Programs and (II) Granting
                                                Related Relief Filed by Debtor Chesapeake Energy
                                                Corporation (Attachments: # 1 Proposed Order)
 06/28/2020                                     (Cavenaugh, Matthew) (Entered: 06/28/2020)

                            11                  Emergency Motion for Entry of an Order (I)
                            (69 pgs; 2 docs)    Authorizing the Payment of Certain Prepetition
                                                Taxes and Fees and (II) Granting Related Relief
                                                Filed by Debtor Chesapeake Energy Corporation
                                                (Attachments: # 1 Proposed Order) (Cavenaugh,




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 15 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 15 of 1639
                                                                           0015


 06/28/2020                                     Matthew) (Entered: 06/28/2020)

                            12                  Emergency Motion for Entry of an Order (I)
                            (22 pgs; 2 docs)    Authorizing the Debtors to (A) Continue Insurance
                                                Coverage Entered Into Prepetition and Satisfy
                                                Prepetition Obligations Related Thereto, (B)
                                                Renew, Amend, Supplement, Extend, or Purchase
                                                Insurance Policies, and (II) Granting Related
                                                Relief Filed by Debtor Chesapeake Energy
                                                Corporation (Attachments: # 1 Proposed Order)
 06/28/2020                                     (Cavenaugh, Matthew) (Entered: 06/28/2020)

                            13                  Emergency Motion for Entry of an Order (I)
                            (39 pgs; 2 docs)    Approving Continuation of the Surety Bond
                                                Program and (II) Granting Related Relief Filed by
                                                Debtor Chesapeake Energy Corporation
                                                (Attachments: # 1 Proposed Order) (Cavenaugh,
 06/28/2020                                     Matthew) (Entered: 06/28/2020)

                            14                  Emergency Motion for Entry of Interim and Final
                            (53 pgs; 3 docs)    Orders (I) Authorizing the Debtors to (A) Continue
                                                to Operate Their Cash Management System and
                                                Maintain Existing Bank Accounts and (B) Continue
                                                to Perform Intercompany Transactions and (II)
                                                Granting Related Relief Filed by Debtor
                                                Chesapeake Energy Corporation (Attachments: # 1
                                                Proposed Order Interim Order # 2 Proposed Order
                                                Final Order) (Cavenaugh, Matthew) (Entered:
 06/28/2020                                     06/28/2020)

                            15                  Emergency Motion for Entry of Interim and Final
                            (35 pgs; 3 docs)    Orders (A) Authorizing the Payment of (A)
                                                Operating Expenses, (B) Marketing Expenses, (C)
                                                Shipping and Warehousing Claims, (D) 503(b)(9)
                                                Claims, and (E) Outstanding Orders and (II)
                                                Granting Related Relief Filed by Debtor
                                                Chesapeake Energy Corporation (Attachments: # 1
                                                Proposed Order Interim Order # 2 Proposed Order
                                                Final Order) (Cavenaugh, Matthew) (Entered:
 06/28/2020                                     06/28/2020)

                            16                  Emergency Motion for Entry of an Order (I)
                            (19 pgs; 2 docs)    Authorizing Payment of (A) Obligations Owed to
                                                Holders of Mineral and Other Interests and Non-
                                                Op Working Interests and (B) Joint Interest
                                                Billings, and (II) Granting Related Relief Filed by
                                                Debtor Chesapeake Energy Corporation




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 16 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 16 of 1639
                                                                           0016


                                                (Attachments: # 1 Proposed Order) (Cavenaugh,
 06/28/2020                                     Matthew) (Entered: 06/28/2020)

                            17                  Emergency Motion for Entry of an Order (I)
                            (46 pgs; 2 docs)    Approving the Debtors' Proposed Adequate
                                                Assurance of Payment for Future Utility Services,
                                                (II) Prohibiting Utility Providers from Altering,
                                                Refusing, or Discontinuing Services, (III)
                                                Approving the Debtors' Proposed Procedures for
                                                Resolving Additional Assurance Requests, and (IV)
                                                Granting Related Relief Filed by Debtor
                                                Chesapeake Energy Corporation (Attachments: # 1
                                                Proposed Order) (Cavenaugh, Matthew) (Entered:
 06/28/2020                                     06/28/2020)

                            18                  Emergency Motion for Entry of an Order (I)
                            (46 pgs; 2 docs)    Approving Notification and Hearing Procedures
                                                for Certain Transfers of Common Stock and
                                                Preferred Stock and (II) Granting Related Relief
                                                Filed by Debtor Chesapeake Energy Corporation
                                                (Attachments: # 1 Proposed Order) (Cavenaugh,
 06/28/2020                                     Matthew) (Entered: 06/28/2020)

                            19                  Emergency Motion for Entry of an Order (I)
                            (21 pgs; 2 docs)    Authorizing the Debtors to (A) Enter Into and
                                                Perform Under Hedge Agreements, (B) Grant
                                                Liens and Super-Priority Claims, and (C) Modify
                                                the Automatic Stay, and (II) Granting Related
                                                Relief Filed by Debtor Chesapeake Energy
                                                Corporation (Attachments: # 1 Proposed Order)
 06/28/2020                                     (Cavenaugh, Matthew) (Entered: 06/28/2020)

                            20                  Notice of Appearance and Request for Notice Filed
                            (2 pgs)             by Julie Ann Walker Filed by on behalf of J-W
                                                Power Company (Walker, Julie) (Entered:
 06/28/2020                                     06/28/2020)

                            21                  Notice of Appearance and Request for Notice Filed
                            (3 pgs)             by T. Josh Judd Filed by on behalf of Enterprise
                                                Texas Pipeline LLC (Judd, T.) (Entered:
 06/28/2020                                     06/28/2020)

                            22                  Emergency Motion for Entry of Interim and Final
                            (316 pgs; 2 docs)   Orders (I) Authorizing the Debtors to Obtain
                                                Postpetition Financing, (II) Authorizing the
                                                Debtors to Use Cash Collateral, (III) Granting
                                                Liens and Providing Claims with Superpriority




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 17 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 17 of 1639
                                                                           0017


                                                Administrative Expense Status, (IV) Granting
                                                Adequate Protection to the Existing Secured
                                                Parties, (V) Modifying the Automatic Stay, (VI)
                                                Scheduling a Final Hearing, and (VII) Granting
                                                Related Relief Filed by Debtor Chesapeake Energy
                                                Corporation (Attachments: # 1 Proposed Order
                                                Interim Order) (Cavenaugh, Matthew) (Entered:
 06/28/2020                                     06/28/2020)

                            23                  Limited Interim Order Authorizing Debtors to
                            (4 pgs)             Maintain Their Fuel Card Program in the Ordinary
                                                Course of Business (Related Doc # 5) Signed on
 06/28/2020                                     6/28/2020. (aalo) (Entered: 06/28/2020)

                                                Notice of Appearance and Request for Notice Filed
                                                by Hector Duran Jr (Duran, Hector) (Entered:
 06/28/2020                                     06/28/2020)

                            24                  Sealed Document Fee Letters (Filed By
                            (11 pgs)            Chesapeake Energy Corporation ). (Cavenaugh,
 06/28/2020                                     Matthew) (Entered: 06/28/2020)

                            25                  Motion to Seal Certain Information in Certain
                            (14 pgs; 2 docs)    Confidential Letters Related to the Proposed
                                                Debtor-in-Possession Financing Filed by Debtor
                                                Chesapeake Energy Corporation (Attachments: # 1
                                                Proposed Order) (Cavenaugh, Matthew) (Entered:
 06/28/2020                                     06/28/2020)

                            26                  Notice of Appearance and Request for Notice Filed
                            (4 pgs)             by Kiran K Vakamudi Filed by on behalf of Ad
                                                Hoc Group of FLLO Term Loan Lenders
 06/28/2020                                     (Vakamudi, Kiran) (Entered: 06/28/2020)

                            27                  Emergency Motion for Entry of an Order (I)
                            (18 pgs; 2 docs)    Authorizing Rejection of Certain Executory
                                                Contracts Effective as of July 1, 2020 and (II)
                                                Granting Related Relief Filed by Debtor
                                                Chesapeake Energy Corporation (Attachments: # 1
                                                Proposed Order) (Cavenaugh, Matthew) (Entered:
 06/28/2020                                     06/28/2020)

                            28                  Motion to Appear pro hac vice Aryeh Ethan Falk.
                            (1 pg)              Filed by Creditor Ad Hoc Group of FLLO Term
                                                Loan Lenders (Vakamudi, Kiran) (Entered:
 06/28/2020                                     06/28/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 18 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 18 of 1639
                                                                           0018


                            29                  Motion to Appear pro hac vice Benjamin S.
                            (1 pg)              Kaminetzky. Filed by Creditor Ad Hoc Group of
                                                FLLO Term Loan Lenders (Vakamudi, Kiran)
 06/28/2020                                     (Entered: 06/28/2020)

                            30                  Motion to Appear pro hac vice Darren S. Klein.
                            (1 pg)              Filed by Creditor Ad Hoc Group of FLLO Term
                                                Loan Lenders (Vakamudi, Kiran) (Entered:
 06/28/2020                                     06/28/2020)

                            31                  Motion to Appear pro hac vice David S. Meyer.
                            (1 pg)              Filed by Creditor Ad Hoc Group of FLLO Term
                                                Loan Lenders (Vakamudi, Kiran) (Entered:
 06/28/2020                                     06/28/2020)

                            32                  Motion to Appear pro hac vice Daniel Rudewicz.
                            (1 pg)              Filed by Creditor Ad Hoc Group of FLLO Term
                                                Loan Lenders (Vakamudi, Kiran) (Entered:
 06/28/2020                                     06/28/2020)

                            33                  Motion to Appear pro hac vice Damian S. Schaible.
                            (1 pg)              Filed by Creditor Ad Hoc Group of FLLO Term
                                                Loan Lenders (Vakamudi, Kiran) (Entered:
 06/28/2020                                     06/28/2020)

                            34                  Motion to Appear pro hac vice Emily S. Tomlinson.
                            (1 pg)              Filed by Creditor Ad Hoc Group of FLLO Term
                                                Loan Lenders (Vakamudi, Kiran) (Entered:
 06/28/2020                                     06/28/2020)

                            35                  Motion to Assume/Reject Motion of Chesapeake
                            (97 pgs; 6 docs)    Energy Corporation for Entry of an Order (I)
                                                Authorizing Rejection of the Negotiated Rate Firm
                                                Transportation Agreements and Related Contracts
                                                Effective as of July 1, 2020 and (II) Granting
                                                Related Relief. Objections/Request for Hearing
                                                Due in 21 days. Filed by Debtor Chesapeake
                                                Energy Corporation (Attachments: # 1 Exhibit A #
                                                2 Exhibit B # 3 Exhibit C # 4 Exhibit D # 5
                                                Proposed Order) (Cavenaugh, Matthew) (Entered:
 06/28/2020                                     06/28/2020)

                            36
                            (21 pgs; 2 docs)    Motion for Entry of an Order Establishing a
                                                Record Date for Notice and Sell-Down Procedures
                                                for Trading in Certain Claims Against the Debtors'
                                                Estates Filed by Debtor Chesapeake Energy




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 19 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 19 of 1639
                                                                           0019


                                                Corporation (Attachments: # 1 Proposed Order)
 06/28/2020                                     (Cavenaugh, Matthew) (Entered: 06/28/2020)

                            37                  Declaration re: Declaration of Domenic J.
                            (293 pgs)           Dell'Osso, Jr., Executive Vice President and Chief
                                                Financial Officer of Chesapeake Energy
                                                Corporation in Support of Chapter 11 Petitions
                                                and First Day Motions (Filed By Chesapeake
                                                Energy Corporation ). (Peguero, Kristhy) (Entered:
 06/28/2020                                     06/28/2020)

                            38                  Adversary case 20-03231. Nature of Suit: (91
                            (191 pgs; 2 docs)   (Declaratory judgment)),(72 (Injunctive relief -
                                                other)) Complaint for Declaratory Judgment, Ex
                                                Parte Temporary Restraining Order, and
                                                Preliminary and Permanent Injunction by
                                                Chesapeake Energy Corporation against Federal
                                                Energy Regulatory Commission. Fee Amount $350
                                                (Attachments: # 1 Adversary Cover Sheet)
 06/28/2020                                     (Cavenaugh, Matthew) (Entered: 06/28/2020)

                            39                  Motion to Appear pro hac vice Stephen L. Iacovo.
                            (1 pg)              Filed by Debtor Chesapeake Energy Corporation
 06/28/2020                                     (Peguero, Kristhy) (Entered: 06/28/2020)

                            40                  Motion to Appear pro hac vice Patrick J. Nash, Jr.
                            (1 pg)              Filed by Debtor Chesapeake Energy Corporation
 06/28/2020                                     (Peguero, Kristhy) (Entered: 06/28/2020)

                            41                  Motion to Appear pro hac vice Marc Keiselstein.
                            (1 pg)              Filed by Debtor Chesapeake Energy Corporation
 06/28/2020                                     (Peguero, Kristhy) (Entered: 06/28/2020)

                            42                  Notice of Electronic Hearing. Filed by Chesapeake
                            (7 pgs)             Energy Corporation (Cavenaugh, Matthew)
 06/28/2020                                     (Entered: 06/28/2020)

                            43                  Motion to Appear pro hac vice Judson Brown.
                            (1 pg)              Filed by Debtor Chesapeake Energy Corporation
 06/28/2020                                     (Peguero, Kristhy) (Entered: 06/28/2020)

                            44                  Agenda for Hearing on 6/29/2020 (Filed By
                            (6 pgs)             Chesapeake Energy Corporation ). (Cavenaugh,
 06/28/2020                                     Matthew) (Entered: 06/28/2020)

                            45
                                                Motion to Appear pro hac vice Jennifer C. Hagle.




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 20 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 20 of 1639
                                                                           0020


                            (1 pg)              Filed by Creditor MUFG Union Bank, N.A.
 06/28/2020                                     (Quejada, Maegan) (Entered: 06/28/2020)

                            46                  Motion to Appear pro hac vice Daniel T. Donovan.
                            (1 pg)              Filed by Debtor Chesapeake Energy Corporation
 06/28/2020                                     (Peguero, Kristhy) (Entered: 06/28/2020)

                            47                  Motion to Appear pro hac vice Annie Dreisbach.
                            (1 pg)              Filed by Debtor Chesapeake Energy Corporation
 06/28/2020                                     (Peguero, Kristhy) (Entered: 06/28/2020)

                            48                  Motion to Appear pro hac vice Alexandra
                            (1 pg)              Schwarzman. Filed by Debtor Chesapeake Energy
                                                Corporation (Peguero, Kristhy) (Entered:
 06/28/2020                                     06/28/2020)

                            49                  Exhibit List, Witness List (Filed By Chesapeake
                            (316 pgs; 3 docs)   Energy Corporation ).(Related document(s):42
                                                Notice, 44 Agenda) (Attachments: # 1 Exhibit 1 # 2
                                                Exhibit 2) (Cavenaugh, Matthew) (Entered:
 06/28/2020                                     06/28/2020)

                            82                  Order Granting Complex Chapter 11 Bankruptcy
                            (1 pg)              Case Treatment Signed on 6/28/2020 (Related
                                                document(s):3 Notice of Designation as Complex
                                                Chapter 11 Bankruptcy Case) (emiller) (Entered:
 06/28/2020                                     06/29/2020)

                            91                  Order for Joint Administration Signed on
                            (12 pgs)            6/28/2020 (Related Doc # 4). (aaloadi) (Entered:
 06/28/2020                                     06/29/2020)

                                                Notice of Appearance and Request for Notice Filed
                                                by Stephen Douglas Statham (Statham, Stephen)
 06/29/2020                                     (Entered: 06/29/2020)

                            50                  Notice and Order regarding exchanging of exhibits
                            (1 pg)              and witness lists in all contested matters and
 06/29/2020                                     adversary proceedings. (Entered: 06/29/2020)

                            51                  Notice of Appearance and Request for Notice Filed
                            (3 pgs)             by Jason S Brookner Filed by on behalf of
                                                Stagecoach Pipeline & Storage Company LLC,
                                                Jackalope Gas Gathering Services, L.L.C.
 06/29/2020                                     (Brookner, Jason) (Entered: 06/29/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 21 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 21 of 1639
                                                                           0021


                            52                  Notice of Appearance and Request for Notice Filed
                            (3 pgs)             by Owen Mark Sonik Filed by on behalf of
                                                Sheldon Independent School District (Sonik,
 06/29/2020                                     Owen) (Entered: 06/29/2020)

                            53                  Notice of Appearance and Request for Notice Filed
                            (4 pgs)             by Jason Bradley Binford Filed by on behalf of
                                                Texas Comptroller of Public Accounts, Unclaimed
                                                Property Division (Binford, Jason) (Entered:
 06/29/2020                                     06/29/2020)

                            54                  Notice of Appearance and Request for Notice Filed
                            (4 pgs)             by Marty L Brimmage Filed by on behalf of
                                                Franklin Advisers, Inc., as Investment Manager on
                                                Behalf of Certain Funds and Accounts (Brimmage,
 06/29/2020                                     Marty) (Entered: 06/29/2020)

                            55                  Order Granting Motion To Appear pro hac vice -
                            (1 pg)              Aryeh Ethan Falk (Related Doc # 28) Signed on
 06/29/2020                                     6/29/2020. (emiller) (Entered: 06/29/2020)

                            56                  Order Granting Motion To Appear pro hac vice -
                            (1 pg)              Benjamin S. Kaminetzky (Related Doc # 29)
                                                Signed on 6/29/2020. (emiller) (Entered:
 06/29/2020                                     06/29/2020)

                            57                  Order Granting Motion To Appear pro hac vice -
                            (1 pg)              Darren S. Klein (Related Doc # 30) Signed on
 06/29/2020                                     6/29/2020. (emiller) (Entered: 06/29/2020)

                            58                  Order Granting Motion To Appear pro hac vice -
                            (1 pg)              David S. Meyer (Related Doc # 31) Signed on
 06/29/2020                                     6/29/2020. (emiller) (Entered: 06/29/2020)

                            59                  Order Granting Motion To Appear pro hac vice -
                            (1 pg)              Daniel Rudewicz (Related Doc # 32) Signed on
 06/29/2020                                     6/29/2020. (emiller) (Entered: 06/29/2020)

                            60                  Order Granting Motion To Appear pro hac vice -
                            (1 pg)              Damian S. Schaible (Related Doc # 33) Signed on
 06/29/2020                                     6/29/2020. (emiller) (Entered: 06/29/2020)

                            61                  Order Granting Motion To Appear pro hac vice -
                            (1 pg)              Emily S. Tomlinson (Related Doc # 34) Signed on
 06/29/2020                                     6/29/2020. (emiller) (Entered: 06/29/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 22 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 22 of 1639
                                                                           0022


                            62                  Order Granting Motion To Appear pro hac vice -
                            (1 pg)              Stephen L. Iacovo (Related Doc # 39) Signed on
 06/29/2020                                     6/29/2020. (emiller) (Entered: 06/29/2020)

                            63                  Order Granting Motion To Appear pro hac vice -
                            (1 pg)              Patrick J. Nash (Related Doc # 40) Signed on
 06/29/2020                                     6/29/2020. (emiller) (Entered: 06/29/2020)

                            64                  Order Granting Motion To Appear pro hac vice -
                            (1 pg)              Marc Keiselstein (Related Doc # 41) Signed on
 06/29/2020                                     6/29/2020. (emiller) (Entered: 06/29/2020)

                            65                  Order Granting Motion To Appear pro hac vice -
                            (1 pg)              Judson Brown (Related Doc # 43) Signed on
 06/29/2020                                     6/29/2020. (emiller) (Entered: 06/29/2020)

                            66                  Notice of Perfection of Lien Pursuant to 11 U.S.C.
                            (3 pgs)             § 546(b)(2). Filed by Enterprise Texas Pipeline
 06/29/2020                                     LLC (Judd, T.) (Entered: 06/29/2020)

                            67                  Order Granting Motion To Appear pro hac vice
                            (1 pg)              (Related Doc # 45) Signed on 6/29/2020. (emiller)
 06/29/2020                                     (Entered: 06/29/2020)

                            68                  Order Granting Motion To Appear pro hac vice -
                            (1 pg)              Daniel T. Donovan (Related Doc # 46) Signed on
 06/29/2020                                     6/29/2020. (emiller) (Entered: 06/29/2020)

                            69                  Notice of Appearance and Request for Notice Filed
                            (5 pgs)             by Michael D Warner Filed by on behalf of Glas
                                                USA LLC (Warner, Michael) (Entered:
 06/29/2020                                     06/29/2020)

                            70                  Order Granting Motion To Appear pro hac vice -
                            (1 pg)              Annie Dreisbach (Related Doc # 47) Signed on
 06/29/2020                                     6/29/2020. (emiller) (Entered: 06/29/2020)

                            71                  Order Granting Motion To Appear pro hac vice -
                            (1 pg)              Alexandra Schwarzman (Related Doc # 48) Signed
 06/29/2020                                     on 6/29/2020. (emiller) (Entered: 06/29/2020)

                            72                  Motion to Appear pro hac vice Gary A. Ritacco.
                            (1 pg)              Filed by Interested Party Franklin Advisers, Inc., as
                                                Investment Manager on Behalf of Certain Funds
                                                and Accounts (Brimmage, Marty) (Entered:
 06/29/2020                                     06/29/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 23 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 23 of 1639
                                                                           0023


                            73                  Motion to Appear pro hac vice Meredith A. Lahaie.
                            (1 pg)              Filed by Interested Party Franklin Advisers, Inc., as
                                                Investment Manager on Behalf of Certain Funds
                                                and Accounts (Brimmage, Marty) (Entered:
 06/29/2020                                     06/29/2020)

                            74                  Motion to Appear pro hac vice of Jonathan
                            (1 pg)              Levine/Arnold & Porter Kaye Scholer LLP. Filed
                                                by Interested Party Glas USA LLC (Warner,
 06/29/2020                                     Michael) (Entered: 06/29/2020)

                            75                  Motion to Appear pro hac vice Michael S. Stamer.
                            (1 pg)              Filed by Interested Party Franklin Advisers, Inc., as
                                                Investment Manager on Behalf of Certain Funds
                                                and Accounts (Brimmage, Marty) (Entered:
 06/29/2020                                     06/29/2020)

                            76                  Motion to Appear pro hac vice of Ginger
                            (1 pg)              Clements/Arnold & Porter Kaye Scholer LLP.
                                                Filed by Interested Party Glas USA LLC (Warner,
 06/29/2020                                     Michael) (Entered: 06/29/2020)

                            77                  Notice of Appearance and Request for Notice Filed
                            (3 pgs)             by Charles A Beckham Jr Filed by on behalf of The
                                                Williams Companies, Inc. (Beckham, Charles)
 06/29/2020                                     (Entered: 06/29/2020)

                            78                  Motion to Appear pro hac vice of Brian M.
                            (1 pg)              Resnick. Filed by Creditor The Williams
                                                Companies, Inc. (Beckham, Charles) (Entered:
 06/29/2020                                     06/29/2020)

                            79                  Motion to Appear pro hac vice of Lara Samet
                            (1 pg)              Buchwald. Filed by Creditor The Williams
                                                Companies, Inc. (Beckham, Charles) (Entered:
 06/29/2020                                     06/29/2020)

                            80                  Notice of Appearance and Request for Notice Filed
                            (2 pgs)             by Michael D Rubenstein Filed by on behalf of BP
                                                America Production Company (Rubenstein,
 06/29/2020                                     Michael) (Entered: 06/29/2020)

                            81                  Motion to Appear pro hac vice of Angela M. Libby.
                            (1 pg)              Filed by Creditor The Williams Companies, Inc.
 06/29/2020                                     (Beckham, Charles) (Entered: 06/29/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 24 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 24 of 1639
                                                                           0024


                            83                  Affidavit Re: Affidavit of Service of Marc Orfitelli
                            (39 pgs)            of First Day Pleadings (Filed By Epiq Corporate
                                                Restructuring LLC ).(Related document(s):4
                                                Emergency Motion, 6 Emergency Motion, 7
                                                Emergency Motion, 8 Emergency Motion, 10
                                                Emergency Motion, 11 Emergency Motion, 12
                                                Emergency Motion, 13 Emergency Motion, 14
                                                Emergency Motion, 15 Emergency Motion, 16
                                                Emergency Motion, 17 Emergency Motion, 18
                                                Emergency Motion, 19 Emergency Motion, 22
                                                Emergency Motion, 23 Order on Emergency
                                                Motion, 25 Motion to Seal, 27 Emergency Motion,
                                                35 Motion to Assume/Reject, 36 Generic Motion,
                                                37 Declaration, 42 Notice, 44 Agenda, 49 Exhibit
                                                List, Witness List) (Garabato, Sid) (Entered:
 06/29/2020                                     06/29/2020)

                            84                  Order Granting Motion To Appear pro hac vice -
                            (1 pg)              Gary A. Ritacco (Related Doc # 72) Signed on
 06/29/2020                                     6/29/2020. (emiller) (Entered: 06/29/2020)

                            85                  Order Granting Motion To Appear pro hac vice -
                            (1 pg)              Meredith A. Lahaie (Related Doc # 73) Signed on
 06/29/2020                                     6/29/2020. (emiller) (Entered: 06/29/2020)

                            86                  Order Granting Motion To Appear pro hac vice -
                            (1 pg)              Jonathan Levine (Related Doc # 74) Signed on
 06/29/2020                                     6/29/2020. (emiller) (Entered: 06/29/2020)

                            87                  Order Granting Motion To Appear pro hac vice -
                            (1 pg)              Michael S. Stamer (Related Doc # 75) Signed on
 06/29/2020                                     6/29/2020. (emiller) (Entered: 06/29/2020)

                            88                  Order Granting Motion To Appear pro hac vice -
                            (1 pg)              Ginger Clements (Related Doc # 76) Signed on
 06/29/2020                                     6/29/2020. (emiller) (Entered: 06/29/2020)

                            89                  Notice of Appearance and Request for Notice Filed
                            (3 pgs)             by Phillip L Lamberson Filed by on behalf of
                                                Wells Fargo Bank, National Association
 06/29/2020                                     (Lamberson, Phillip) (Entered: 06/29/2020)

                            90                  Notice of Appearance and Request for Notice Filed
                            (3 pgs)             by Annmarie Antoinette Chiarello Filed by on
                                                behalf of Wells Fargo Bank, National Association
 06/29/2020                                     (Chiarello, Annmarie) (Entered: 06/29/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 25 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 25 of 1639
                                                                           0025


                            92                  Order Granting Motion To Appear pro hac vice -
                            (1 pg)              Brian M. Resnick (Related Doc # 78) Signed on
 06/29/2020                                     6/29/2020. (emiller) (Entered: 06/29/2020)

                            93                  Order Granting Motion To Appear pro hac vice -
                            (1 pg)              Lara Samet Buchwald (Related Doc # 79) Signed
 06/29/2020                                     on 6/29/2020. (emiller) (Entered: 06/29/2020)

                            94                  Order Granting Motion To Appear pro hac vice -
                            (1 pg)              Angela M. Libby (Related Doc # 81) Signed on
 06/29/2020                                     6/29/2020. (emiller) (Entered: 06/29/2020)

                            95                  Notice of Appearance and Request for Notice Filed
                            (2 pgs)             by Andrew A Braun Filed by on behalf of
                                                Westerngeco LLC (Braun, Andrew) (Entered:
 06/29/2020                                     06/29/2020)

                            96                  Notice of Appearance and Request for Notice Filed
                            (1 pg)              by PRA Receivables Management, LLC (Smith,
 06/29/2020                                     Valerie) (Entered: 06/29/2020)

                            97                  Notice of Appearance and Request for Notice Filed
                            (3 pgs)             by Shelley B Marmon Filed by on behalf of James
                                                Wendell West, Faith Ranch, LP, Faith Operating
                                                Company, LP, Wesley West Minerals, Ltd.
 06/29/2020                                     (Marmon, Shelley) (Entered: 06/29/2020)

                            98                  Proposed Order RE: Order (I) Authorizing the
                            (16 pgs; 2 docs)    Debtors to (A) Enter Into and Perform Under
                                                Hedge Agreements, (B) Grant Liens and Super-
                                                Priority Claims, and (C) Modify the Automatic
                                                Stay, and (II) Granting Related Relief (Filed By
                                                Chesapeake Energy Corporation ).(Related
                                                document(s):19 Emergency Motion) (Attachments:
                                                # 1 Redline) (Cavenaugh, Matthew) (Entered:
 06/29/2020                                     06/29/2020)

                            99                  Notice of Appearance and Request for Notice Filed
                            (3 pgs)             by Ryan Michael Seidemann Filed by on behalf of
                                                State of Louisiana, Department of Natural
                                                Resources, Office of Mineral Resources
 06/29/2020                                     (Seidemann, Ryan) (Entered: 06/29/2020)

                            100
                            (4 pgs)             Notice of Appearance and Request for Notice Filed
                                                by Ryan Coel Wooten Filed by on behalf of Royal
                                                Bank of Canada (Wooten, Ryan) (Entered:




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 26 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 26 of 1639
                                                                           0026


 06/29/2020                                     06/29/2020)

                            101                 Motion to Appear pro hac vice for Laura Metzger.
                            (1 pg)              Filed by Creditor Royal Bank of Canada (Wooten,
 06/29/2020                                     Ryan) (Entered: 06/29/2020)

                            102                 Motion to Appear pro hac vice for Raniero
                            (1 pg)              D'Aversa. Filed by Creditor Royal Bank of Canada
 06/29/2020                                     (Wooten, Ryan) (Entered: 06/29/2020)

                            103                 Motion to Appear pro hac vice Lena K. Seward.
                            (1 pg)              Filed by Creditor Commonwealth Of Kentucky
 06/29/2020                                     (mmap) (Entered: 06/29/2020)

                            104                 Motion to Appear pro hac vice Timothy J. Mayer.
                            (1 pg)              Filed by Creditor Commonwealth Of Kentucky
 06/29/2020                                     (mmap) (Entered: 06/29/2020)

                            105                 Order Granting Motion To Appear pro hac vice -
                            (1 pg)              Laura Metzger (Related Doc # 101) Signed on
 06/29/2020                                     6/29/2020. (emiller) (Entered: 06/29/2020)

                            106                 Order Granting Motion To Appear pro hac vice -
                            (1 pg)              Raniero D'Aversa (Related Doc # 102) Signed on
 06/29/2020                                     6/29/2020. (emiller) (Entered: 06/29/2020)

                            107                 Order Granting Motion To Appear pro hac vice -
                            (1 pg)              Lena K. Seward (Related Doc # 103) Signed on
 06/29/2020                                     6/29/2020. (emiller) (Entered: 06/29/2020)

                            108                 Order Granting Motion To Appear pro hac vice -
                            (1 pg)              Timothy J. Mayer (Related Doc # 104) Signed on
 06/29/2020                                     6/29/2020. (emiller) (Entered: 06/29/2020)

                            109                 Order Appointing Epiq Corporate Restructuring,
                            (7 pgs)             LLC as Claims, Noticing, Solicitation, and
                                                Administrative Agent, Effective as of June 28,
                                                2020 (Related Doc # 6) Signed on 6/29/2020.
 06/29/2020                                     (emiller) (Entered: 06/29/2020)

                            110                 Proposed Order RE: Order (I) Authorizing the
                            (20 pgs; 2 docs)    Debtors to (A) Continue Insurance Coverage
                                                Entered Into Prepetition and Satisfy Prepetition
                                                Obligations Related Thereto, (B) Renew, Amend,
                                                Supplement, Extend, or Purchase Insurance
                                                Policies, and (II) Granting Related (Filed By




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 27 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 27 of 1639
                                                                           0027


                                                Chesapeake Energy Corporation ).(Related
                                                document(s):12 Emergency Motion) (Attachments:
                                                # 1 Redline) (Cavenaugh, Matthew) (Entered:
 06/29/2020                                     06/29/2020)

                            111                 Proposed Order RE: Interim Order (I) Authorizing
                            (324 pgs; 2 docs)   the Debtors to Obtain Postpetition Financing, (II)
                                                Authorizing the Debtors to Use Cash Collateral,
                                                (III) Granting Liens and Providing Claims with
                                                Superpriority Administrative Expense Status, (IV)
                                                Granting Adequate Protection to the Existing
                                                Secured Parties, (V) Modifying the Automatic Stay,
                                                (VI) Scheduling a Final Hearing, and (VII)
                                                Granting Related Relief (Filed By Chesapeake
                                                Energy Corporation ).(Related document(s):22
                                                Emergency Motion) (Attachments: # 1 Redline)
 06/29/2020                                     (Cavenaugh, Matthew) (Entered: 06/29/2020)

                            112                 Motion to Appear pro hac vice Anthony Thomas
                            (1 pg)              Kovalchick. Filed by Creditor Commonwealth of
                                                Pennsylvania (Kovalchick, Anthony) (Entered:
 06/29/2020                                     06/29/2020)

                            113                 Motion to Appear pro hac vice Jason L. Swartley.
                            (1 pg)              Filed by Creditor Commonwealth of Pennsylvania
 06/29/2020                                     (Kovalchick, Anthony) (Entered: 06/29/2020)

                            114                 Motion to Appear pro hac vice Carol E. Momjian.
                            (1 pg)              Filed by Creditor Commonwealth of Pennsylvania
 06/29/2020                                     (Kovalchick, Anthony) (Entered: 06/29/2020)

                            115                 Motion to Appear pro hac vice Lauren A. Michaels.
                            (1 pg)              Filed by Creditor Commonwealth of Pennsylvania
 06/29/2020                                     (Kovalchick, Anthony) (Entered: 06/29/2020)

                            116                 Notice of Appearance and Request for Notice Filed
                            (3 pgs)             by Mark J. Chaney, III III Filed by on behalf of
                                                ARI Fleet LT, Automotive Rentals, Inc. (Chaney,
 06/29/2020                                     III, Mark) (Entered: 06/29/2020)

                            117                 Motion to Appear pro hac vice (Mark J. Chaney,
                            (1 pg)              III). Filed by Creditors ARI Fleet LT, Automotive
                                                Rentals, Inc. (Chaney, III, Mark) (Entered:
 06/29/2020                                     06/29/2020)

                            118
                                                Statement Verified Statement Pursuant to Federal




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 28 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 28 of 1639
                                                                           0028


                            (11 pgs)            Rule of Bankruptcy Procedure 2019 (Filed By Ad
                                                Hoc Group of FLLO Term Loan Lenders ).
 06/29/2020                                     (Vakamudi, Kiran) (Entered: 06/29/2020)

                            119                 Motion to Appear pro hac vice Chad L.
                            (1 pg)              Schexnayder. Filed by Creditors Liberty Mutual
                                                Insurance Company, Safeco Insurance Company of
                                                America (Schexnayder, Chad) (Entered:
 06/29/2020                                     06/29/2020)

                            120                 Notice of Appearance and Request for Notice Filed
                            (1 pg)              by Don Stecker Filed by on behalf of Bexar County
 06/29/2020                                     (Stecker, Don) (Entered: 06/29/2020)

                            121                 Order Granting Motion To Appear pro hac vice -
                            (1 pg)              Anthony Thomas Kovalchick (Related Doc # 112)
                                                Signed on 6/29/2020. (emiller) (Entered:
 06/29/2020                                     06/29/2020)

                            122                 Order Granting Motion To Appear pro hac vice -
                            (1 pg)              Jason L. Swartley (Related Doc # 113) Signed on
 06/29/2020                                     6/29/2020. (emiller) (Entered: 06/29/2020)

                            123                 Order Granting Motion To Appear pro hac vice -
                            (1 pg)              Carol E. Momjian (Related Doc # 114) Signed on
 06/29/2020                                     6/29/2020. (emiller) (Entered: 06/29/2020)

                            124                 Order Granting Motion To Appear pro hac vice -
                            (1 pg)              Lauren A. Michaels (Related Doc # 115) Signed on
 06/29/2020                                     6/29/2020. (emiller) (Entered: 06/29/2020)

                            125                 Order Granting Motion To Appear pro hac vice -
                            (1 pg)              Mark J. Chaney, III (Related Doc # 117) Signed on
 06/29/2020                                     6/29/2020. (emiller) (Entered: 06/29/2020)

                            126                 Order Granting Motion To Appear pro hac vice -
                            (1 pg)              Chad J. Schexnayder (Related Doc # 119) Signed
 06/29/2020                                     on 6/29/2020. (emiller) (Entered: 06/29/2020)

                            127                 Notice of Appearance and Request for Notice Filed
                            (3 pgs)             by Kiran A Phansalkar Filed by on behalf of Big
                                                Star Transportation LLC d/b/a Big Star Crude Co.,
 06/29/2020                                     LLC (Phansalkar, Kiran) (Entered: 06/29/2020)

                            128                 Interim Order (I) Authorizing the Debtors to
                            (235 pgs)           Obtain Postpetition Financing, (II) Authorizing the




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 29 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 29 of 1639
                                                                           0029


                                                Debtors to Use Cash Collateral, (III) Granting
                                                Liens and Providing Claims with Superpriority
                                                Administrative Expense Status, (IV) Granting
                                                Adequate Protection to the Existing Secured
                                                Parties, (V) Modifying the Automatic Stay, (VI)
                                                Scheduling a Final Hearing, and (VII) Granting
                                                Related Relief Signed on 6/29/2020 (Related
                                                document(s):22 Emergency Motion) Final
                                                Hearing scheduled for 7/20/2020 at 11:30 AM at
                                                Houston, Courtroom 400 (DRJ). (emiller)
 06/29/2020                                     (Entered: 06/29/2020)

                            129                 Order (I) Authorizing the Debtors to (A) Enter into
                            (8 pgs)             and Perform Under Hedge Agreements, (B) Grant
                                                Liens and Super-Priority Claims, and (C) Modify
                                                the Automatic Stay, and (II) Granting Related
                                                Relief (Related Doc # 19) Signed on 6/29/2020.
 06/29/2020                                     (emiller) (Entered: 06/29/2020)

                            130                 Notice of Appearance and Request for Notice Filed
                            (3 pgs)             by Kiran A Phansalkar Filed by on behalf of Plains
                                                Marketing, L.P. (Phansalkar, Kiran) (Entered:
 06/29/2020                                     06/29/2020)

                            131                 Order (I) Authorizing the Debtors to (A) Pay
                            (6 pgs)             Prepetition Wages, Salaries, Other Compensation,
                                                and Reimbursable Expenses and (B) Continue
                                                Employee Benefits Programs and (II) Granting
                                                Related Relief (Related Doc # 10) Signed on
 06/29/2020                                     6/29/2020. (emiller) (Entered: 06/29/2020)

                            132                 Order (I) Authorizing the Payment of Certain
                            (5 pgs)             Prepetition Taxes and Fees and (II) Granting
                                                Related Relief (Related Doc # 11) Signed on
 06/29/2020                                     6/29/2020. (emiller) (Entered: 06/29/2020)

                            133                 Order (I) Authorizing the Debtors to (A) Continue
                            (9 pgs)             Insurance Coverage Entered Into Prepetition and
                                                Satisfy Prepetition Obligations Related Thereto,
                                                (B) Renew, Amend, Supplement, Extend, or
                                                Purchase Insurance Policies, and (II) Granting
                                                Related Relief (Related Doc # 12) Signed on
 06/29/2020                                     6/29/2020. (emiller) (Entered: 06/29/2020)

                            134                 AO 435 TRANSCRIPT ORDER FORM (Daily (24
                            (2 pgs)             hours)) by Jacqueline Kindler. This is to order a
                                                transcript of 6/29/2020, Hearing before Judge




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 30 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 30 of 1639
                                                                           0030


                                                David R. Jones. Court Reporter/Transcriber:
                                                Access Transcripts. (mmap) Electronically
                                                forwarded to Access Transcripts, LLC on June 29,
                                                2020. Estimated completion date: June 30, 2020.
                                                Modified on 6/29/2020 (ClaudiaGutierrez).
 06/29/2020                                     (Entered: 06/29/2020)

                            135                 Courtroom Minutes. Time Hearing Held: 2:57 PM.
                            (5 pgs)             Appearances: see attached. First Day Declarations:
                                                Declaration of Domenic J. DellOsso, Jr., and
                                                Stephen J. Antinelli. The Court has approved the
                                                DIP Motion 22 and Cash Management Motion 14
                                                on an interim basis with a Final Hearing set for
                                                7/20/2020 at 11:30 AM by telephone and video
                                                conference. The Court has approved the following
                                                motions on a final basis, the Hedging Motion 19,
                                                Wages Motion 10, Taxes Motion 11, Insurance
                                                Motion 12, Surety Bond Motion 13, Creditor
                                                Matrix Motion 7, SOFA Motion 8, Lienholders
                                                Motion 15, Royalty Payments Motion 16, Utilities
                                                Motion 17, NOL Motion 18. All orders signed and
                                                to be entered by the court. (aalo) (Entered:
 06/29/2020                                     06/29/2020)

                            136                 Order Extending Time to File Schedules of Assets
                            (3 pgs)             and Liabilities, Schedules of Current Income and
                                                Expenditures, Schedule3 of Executory Contracts
                                                and Unexpired Leases, and Statements of Financial
                                                Affairs (Related Doc # 8) Signed on 6/29/2020.
 06/29/2020                                     (emiller) (Entered: 06/29/2020)

                            137                 Order (I) Authorizing the Debtors to File a
                            (8 pgs)             Consolidated List of Creditors and a Consolidated
                                                List of the 50 Largest Unsecured Creditors, (II)
                                                Waiving the Requirement to File a List of Equity
                                                Security Holders, and (III) Authorizing the Debtors
                                                to Redact Certain Personal Identification
                                                Information (Related Doc # 7) Signed on
 06/29/2020                                     6/29/2020. (emiller) (Entered: 06/29/2020)

                            138                 Order (I) Approving Continuation of the Surety
                            (25 pgs)            Bond Program and (II) Granting Related Relief
                                                (Related Doc # 13) Signed on 6/29/2020. (emiller)
 06/29/2020                                     (Entered: 06/29/2020)

                            139                 Interim Order (I) Authorizing the Debtors to (A)
                            (11 pgs)            Continue to Operate Their Cash Management




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 31 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 31 of 1639
                                                                           0031


                                                System and Maintain Existing Bank Accounts and
                                                (B) Continue to Perform Intercompany
                                                Transactions and (II) Granting Related Relief
                                                Signed on 6/29/2020 (Related document(s):14
                                                Emergency Motion) Final Hearing scheduled for
                                                7/20/2020 at 11:30 AM at Houston, Courtroom
 06/29/2020                                     400 (DRJ). (emiller) (Entered: 06/29/2020)

                            140                 Final Order (I) Authorizing the Payment of (A)
                            (7 pgs)             Operating Expenses, (B) Marketing Expenses, (C)
                                                Shipping and Warehousing Claims, (D) 503(b)(9)
                                                Claims, and (E) Outstanding Orders, and (II)
                                                Granting Related Relief (Related Doc # 15) Signed
 06/29/2020                                     on 6/29/2020. (emiller) (Entered: 06/29/2020)

                            141                 Order (I) Authorizing Payment of (A) Obligations
                            (6 pgs)             Owed to Holders of Mineral and Other Interests
                                                and Non-Op Working Interests (B) Joint Interest
                                                Billings, and (II) Granting Related Relief (Related
                                                Doc # 16) Signed on 6/29/2020. (emiller) (Entered:
 06/29/2020                                     06/29/2020)

                            142                 AO 435 TRANSCRIPT ORDER FORM (Daily (24
                            (1 pg)              hours)) by Marty L. Brimmage, Jr.. This is to order
                                                a transcript of the June 29, 2020 Hearing before
                                                Judge David R. Jones. Court Reporter/Transcriber:
                                                Access Transcripts (Filed By Franklin Advisers,
                                                Inc., as Investment Manager on Behalf of Certain
                                                Funds and Accounts ). (Brimmage, Marty) Copy
                                                request forwarded to Access Transcripts, LLC on
                                                June 30, 2020. Estimated completion date: July 1,
                                                2020. Modified on 6/30/2020 (ClaudiaGutierrez).
 06/29/2020                                     (Entered: 06/29/2020)

                            143                 Order (I) Approving the Debtors' Proposed
                            (31 pgs)            Adequate Assurance of Payment for Future Utility
                                                Services, (II) Prohibiting Utility Providers from
                                                Altering, Refusing, or Discontinuing Services, (III)
                                                Approving the Debtors' Proposed Procedures for
                                                Resolving Additional Assurance Requests, and
                                                (IV) Granting Related Relief (Related Doc # 17)
                                                Signed on 6/29/2020. (emiller) (Entered:
 06/29/2020                                     06/29/2020)

                            144                 Order (I) Approving Notification and Hearing
                            (28 pgs)            Procedures for Certain Transfers of Common Stock
                                                and Preferred Stock and (II) Granting Related




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 32 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 32 of 1639
                                                                           0032


                                                Relief (Related Doc # 18) Signed on 6/29/2020.
 06/29/2020                                     (emiller) (Entered: 06/29/2020)

                            145                 AO 435 TRANSCRIPT ORDER FORM (Daily (24
                            (1 pg)              hours)) by Matthew Cavenaugh. This is to order a
                                                transcript of 6/29/2020 before Judge David R.
                                                Jones. Court Reporter/Transcriber: Veritext Legal
                                                Solutions (Filed By Chesapeake Energy
                                                Corporation ). (Cavenaugh, Matthew) Copy request
                                                forwarded to original transcription provider,
                                                Access Transcripts, LLC on June 30, 2020.
                                                Estimated completion date: July, 1, 2020. Modified
                                                on 6/30/2020 (ClaudiaGutierrez). (Entered:
 06/29/2020                                     06/29/2020)

                            146                 AO 435 TRANSCRIPT ORDER FORM (3-Day)
                            (2 pgs)             by John E. Mitchell. This is to order a transcript of
                                                First Day Hearing - 6/29/2020 before Judge David
                                                R. Jones. Court Reporter/Transcriber: Veritext
                                                Legal Solutions (Filed By Energy Transfer Fuel,
                                                LP ). (Mitchell, John) Copy request forwarded to
                                                original transcription provider, Access Transcripts,
                                                LLC on June 30, 2020. Estimated completion date:
                                                July, 1, 2020. Modified on 6/30/2020
 06/29/2020                                     (ClaudiaGutierrez). (Entered: 06/29/2020)

                            147                 AO 435 TRANSCRIPT ORDER FORM (Daily (24
                            (1 pg)              hours)) by M. Quejada. This is to order a transcript
                                                of First Day Hearing held on June 29, 2020 before
                                                Judge David R. Jones. Court Reporter/Transcriber:
                                                Access Transcripts (Filed By MUFG Union Bank,
                                                N.A. ). (Quejada, Maegan) Copy request forwarded
                                                to Access Transcripts, LLC on June 30, 2020.
                                                Estimated completion date: July 1, 2020. Modified
                                                on 6/30/2020 (ClaudiaGutierrez). (Entered:
 06/29/2020                                     06/29/2020)

                            148                 Notice of Appearance and Request for Notice Filed
                            (3 pgs)             by Chad L Schexnayder Filed by on behalf of
                                                Liberty Mutual Insurance Company, Safeco
                                                Insurance Company of America (Schexnayder,
 06/29/2020                                     Chad) (Entered: 06/29/2020)

                            149                 Notice of Appearance and Request for Notice Filed
                            (1 pg)              by Lisa Large Cockrell Filed by on behalf of
                                                Grayson county, Gregg County, Parker CAD,
 06/30/2020                                     Hood CAD (Cockrell, Lisa) (Entered: 06/30/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                        5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 33 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 33 of 1639
                                                                           0033


                            150                 Notice of Appearance and Request for Notice Filed
                            (3 pgs)             by Rudy Cerone Filed by on behalf of ARI Fleet
                                                LT, Automotive Rentals, Inc. (Cerone, Rudy)
 06/30/2020                                     (Entered: 06/30/2020)

                            151                 Motion to Appear pro hac vice (Rudy J. Cerone).
                            (1 pg)              Filed by Creditors ARI Fleet LT, Automotive
 06/30/2020                                     Rentals, Inc. (Cerone, Rudy) (Entered: 06/30/2020)

                            152                 Notice of Appearance and Request for Notice Filed
                            (3 pgs)             by Kevin M Maraist Filed by on behalf of
                                                Archrock Partners Operating, LLC (Maraist,
 06/30/2020                                     Kevin) (Entered: 06/30/2020)

                            153                 Statement of Crady Jewett McCulley & Houren
                            (3 pgs)             LLP (Filed By Faith Operating Company, LP, Faith
                                                Ranch, LP, Wesley West Minerals, Ltd., James
                                                Wendell West ). (Marmon, Shelley) (Entered:
 06/30/2020                                     06/30/2020)

                            154                 Notice of Appearance and Request for Notice Filed
                            (3 pgs)             by Mark A Weisbart Filed by on behalf of Mesa
                                                Natural Gas Solutions, LLC (Weisbart, Mark)
 06/30/2020                                     (Entered: 06/30/2020)

                            155                 Notice of Appearance and Request for Notice Filed
                            (2 pgs)             by Laura J Monroe Filed by on behalf of Dawson
                                                County Central Appraisal District, et al (Monroe,
 06/30/2020                                     Laura) (Entered: 06/30/2020)

                            156                 Notice of Appearance and Request for Notice Filed
                            (3 pgs)             by Edward L Ripley Filed by on behalf of CNOOC
                                                Energy U.S.A. LLC (Ripley, Edward) (Entered:
 06/30/2020                                     06/30/2020)

                            157                     PDF with attached Audio File. Court Date &
                            (1 pg)              Time [ 6/29/2020 2:56:40 PM ]. File Size [ 40326
                                                KB ]. Run Time [ 01:24:01 ]. (In ref to first day
                                                hearing. Hearing held June 29, 2020.). (admin).
 06/30/2020                                     (Entered: 06/30/2020)

                            158                 Notice of Appearance and Request for Notice Filed
                            (3 pgs)             by John E Mitchell Filed by on behalf of Oasis
                                                Pipeline L.P., Houston Pipe Line Company, LP,
                                                ETC Katy Pipeline, Ltd., ETC Texas Pipeline Ltd.,
                                                Energy Transfer Fuel, LP (Mitchell, John)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 34 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 34 of 1639
                                                                           0034


 06/30/2020                                     (Entered: 06/30/2020)

                            159                 Motion to Appear pro hac vice Evelina Gentry.
                            (1 pg)              Filed by Creditors ETC Katy Pipeline, Ltd., ETC
                                                Texas Pipeline Ltd., Energy Transfer Fuel, LP,
                                                Houston Pipe Line Company, LP, Oasis Pipeline
 06/30/2020                                     L.P. (Mitchell, John) (Entered: 06/30/2020)

                            160                 Motion to Appear pro hac vice Katherine C.
                            (1 pg)              Fackler. Filed by Creditors ETC Katy Pipeline,
                                                Ltd., ETC Texas Pipeline Ltd., Energy Transfer
                                                Fuel, LP, Houston Pipe Line Company, LP, Oasis
                                                Pipeline L.P. (Mitchell, John) (Entered:
 06/30/2020                                     06/30/2020)

                            161                 Notice of Appearance and Request for Notice Filed
                            (3 pgs)             by Jennifer Nicole Huckleberry Filed by on behalf
                                                of Wilmington Savings Fund Society, FSB
 06/30/2020                                     (Huckleberry, Jennifer) (Entered: 06/30/2020)

                            162                 Motion to Appear pro hac vice of Harold Kaplan.
                            (1 pg)              Filed by Creditor Wilmington Savings Fund
                                                Society, FSB (Huckleberry, Jennifer) (Entered:
 06/30/2020                                     06/30/2020)

                            163                 Motion to Appear pro hac vice of Mark Hebbeln.
                            (1 pg)              Filed by Creditor Wilmington Savings Fund
                                                Society, FSB (Huckleberry, Jennifer) (Entered:
 06/30/2020                                     06/30/2020)

                            164                 Debtors Master Service List (Filed By Epiq
                            (37 pgs)            Corporate Restructuring LLC ). (Garabato, Sid)
 06/30/2020                                     (Entered: 06/30/2020)

                            165                 Motion to Appear pro hac vice of Justin Rawlins.
                            (1 pg)              Filed by Creditor MUFG Union Bank, N.A.
 06/30/2020                                     (Wilson, Broocks) (Entered: 06/30/2020)

                            166                 Motion to Appear pro hac vice of Aaron Gober-
                            (1 pg)              Sims. Filed by Creditor MUFG Union Bank, N.A.
 06/30/2020                                     (Wilson, Broocks) (Entered: 06/30/2020)

                            167                 Notice of Appearance and Request for Notice Filed
                            (3 pgs)             by Broocks McClure Wilson Filed by on behalf of
                                                MUFG Union Bank, N.A. (Wilson, Broocks)
 06/30/2020                                     (Entered: 07/01/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 35 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 35 of 1639
                                                                           0035


                            248                 Motion to Appear pro hac vice , Alana L Porrazo.
                            (1 pg)              Filed by Creditors Liberty Mutual Insurance
                                                Company, Safeco Insurance Company of America
 06/30/2020                                     (rcas) (Entered: 07/02/2020)

                            168                 Notice of Appearance and Request for Notice Filed
                            (2 pgs)             by Richard A. Kincheloe Filed by on behalf of
                                                Federal Energy Regulatory Commission
 07/01/2020                                     (Kincheloe, Richard) (Entered: 07/01/2020)

                            169                 Notice of Appearance and Request for Notice Filed
                            (3 pgs)             by Richard A Aguilar Filed by on behalf of ARI
                                                Fleet LT, Automotive Rentals, Inc. (Aguilar,
 07/01/2020                                     Richard) (Entered: 07/01/2020)

                            170                 Motion to Appear pro hac vice (Richard A.
                            (1 pg)              Aguilar). Filed by Creditors ARI Fleet LT,
                                                Automotive Rentals, Inc. (Aguilar, Richard)
 07/01/2020                                     (Entered: 07/01/2020)

                            171                 Corrected Motion to Appear pro hac vice . Filed by
                            (1 pg)              Creditor Commonwealth of Pennsylvania
 07/01/2020                                     (Swartley, Jason) (Entered: 07/01/2020)

                            172                 Notice of Appearance and Request for Notice Filed
                            (4 pgs)             by Winstol Dean Carter Jr. Filed by on behalf of
                                                Deutsche Bank Trust Company Americas (Carter,
 07/01/2020                                     Winstol) (Entered: 07/01/2020)

                            173                 Motion to Appear pro hac vice David M. Riley.
                            (1 pg)              Filed by Trustee Deutsche Bank Trust Company
 07/01/2020                                     Americas (Carter, Winstol) (Entered: 07/01/2020)

                            174                 Motion to Appear pro hac vice Glenn E. Siegel.
                            (1 pg)              Filed by Trustee Deutsche Bank Trust Company
 07/01/2020                                     Americas (Carter, Winstol) (Entered: 07/01/2020)

                            175                 Motion to Appear pro hac vice Rachel J. Mauceri.
                            (1 pg)              Filed by Trustee Deutsche Bank Trust Company
 07/01/2020                                     Americas (Carter, Winstol) (Entered: 07/01/2020)

                            176
                                                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                            (1 pg)
                                                hours)) by Ad Hoc Group of FLLO Term Loan
                                                Lenders. This is to order a transcript of First Day
                                                Hearing held on June 29, 2020 before Judge David
                                                R. Jones. Court Reporter/Transcriber: Veritext




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 36 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 36 of 1639
                                                                           0036


                                                Legal Solutions (Filed By Ad Hoc Group of FLLO
                                                Term Loan Lenders ). (Vakamudi, Kiran) Copy
                                                request forwarded to original transcription
                                                company, Access Transcripts, LLC on July 1,
                                                2020. Estimated completion date: July 2, 2020.
                                                Modified on 7/1/2020 (ClaudiaGutierrez).
 07/01/2020                                     (Entered: 07/01/2020)

                            177                 Notice of Appearance and Request for Notice Filed
                            (3 pgs)             by Judith W Ross Filed by on behalf of Petty
                                                Business Enterprises, LP, Petty Energy L.P. and
                                                their related entities (Ross, Judith) (Entered:
 07/01/2020                                     07/01/2020)

                            178                 Notice of Appearance and Request for Notice Filed
                            (3 pgs)             by Tiffiney Frances Carney Filed by on behalf of
                                                Department of Interior United States (Carney,
 07/01/2020                                     Tiffiney) (Entered: 07/01/2020)

                            179                 Order Authorizing the Debtors to File Under Seal
                            (3 pgs)             Certain Information in Certain Confidential Letters
                                                Related to the Proposed Debtor-In-Possession
                                                Financing (Related Doc # 25) Signed on 7/1/2020.
 07/01/2020                                     (emiller) (Entered: 07/01/2020)

                            180                 Notice of Appearance and Request for Notice Filed
                            (2 pgs)             by Steven W Soule Filed by on behalf of Targa
                                                Pipeline Mid-Continent WestOk LLC (Soule,
 07/01/2020                                     Steven) (Entered: 07/01/2020)

                            181                 Motion to Appear pro hac vice Grant E. Summers.
                            (1 pg)              Filed by Creditors CoVal Leasing Company, LLC,
                                                BRP, LLC (Hearne, William) (Entered:
 07/01/2020                                     07/01/2020)

                            182                 Notice of Appearance and Request for Notice Filed
                            (2 pgs)             by William Lake Hearne Filed by on behalf of
                                                BRP, LLC, CoVal Leasing Company, LLC
 07/01/2020                                     (Hearne, William) (Entered: 07/01/2020)

                            183
                            (1 pg)              AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by Nova A Alindogan. This is to order a
                                                transcript of 6/29/2020, hearing before Judge
                                                David R. Jones. Court Reporter/Transcriber:
                                                Access Transcripts. (mmap) Electronically
                                                forwarded to the original transcriber: Access




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 37 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 37 of 1639
                                                                           0037


                                                Transcripts on 7-1-2020. Estimated completion
                                                date: 7-2-2020. Modified on 7/1/2020
 07/01/2020                                     (MelissaMorgan). (Entered: 07/01/2020)

                            184                 Notice of Appearance and Request for Notice Filed
                            (2 pgs)             by Paul Joseph Goodwine Filed by on behalf of
                                                Argonaut Insurance Company (Goodwine, Paul)
 07/01/2020                                     (Entered: 07/01/2020)

                            185                 Proposed Order RE: Motion to Assume/Reject
                            (5 pgs)             Motion of Chesapeake Energy Corporation for
                                                Entry of an Order (I) Authorizing Rejection of the
                                                Negotiated Rate Firm Transportation Agreements
                                                and Related Contracts Effective as of July 1, 2020
                                                and (II) Granting Related Relief. (Filed By
                                                Chesapeake Energy Corporation ).(Related
                                                document(s):35 Motion to Assume/Reject)
 07/01/2020                                     (Cavenaugh, Matthew) (Entered: 07/01/2020)

                            186                 Transcript RE: First Day Hearing held on 6/29/20
                            (63 pgs)            before Judge David R. Jones. Transcript is
                                                available for viewing in the Clerk's Office. Filed by
                                                Transcript access will be restricted through
                                                09/29/2020. (AccessTranscripts) (Entered:
 07/01/2020                                     07/01/2020)

                            187                 Agreed Order (I) Authorizing the Rejection of the
                            (5 pgs)             Gulf South Agreements Effective as of July 1,
                                                2020 and (II) Granting Related Relief (Related Doc
                                                # 35) Signed on 7/1/2020. (emiller) (Entered:
 07/01/2020                                     07/01/2020)

                            188                 BNC Certificate of Mailing. (Related document
                            (2 pgs)             (s):50 Order Regarding the Exchange of Exhibits
                                                and Witness lists in all contested matters and
                                                adversary proceedings) No. of Notices: 3. Notice
 07/01/2020                                     Date 07/01/2020. (Admin.) (Entered: 07/01/2020)

                            189                 BNC Certificate of Mailing. (Related document
                            (14 pgs)            (s):91 Order for Joint Administration) No. of
                                                Notices: 9. Notice Date 07/01/2020. (Admin.)
 07/01/2020                                     (Entered: 07/01/2020)

                            190
                            (5 pgs)             BNC Certificate of Mailing. (Related document
                                                (s):23 Order on Emergency Motion) No. of
                                                Notices: 3. Notice Date 07/01/2020. (Admin.)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 38 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 38 of 1639
                                                                           0038


 07/01/2020                                     (Entered: 07/01/2020)

                            191                 BNC Certificate of Mailing. (Related document
                            (3 pgs)             (s):55 Order on Motion to Appear pro hac vice)
                                                No. of Notices: 8. Notice Date 07/01/2020.
 07/01/2020                                     (Admin.) (Entered: 07/01/2020)

                            192                 BNC Certificate of Mailing. (Related document
                            (3 pgs)             (s):56 Order on Motion to Appear pro hac vice)
                                                No. of Notices: 8. Notice Date 07/01/2020.
 07/01/2020                                     (Admin.) (Entered: 07/01/2020)

                            193                 BNC Certificate of Mailing. (Related document
                            (3 pgs)             (s):57 Order on Motion to Appear pro hac vice)
                                                No. of Notices: 8. Notice Date 07/01/2020.
 07/01/2020                                     (Admin.) (Entered: 07/01/2020)

                            194                 BNC Certificate of Mailing. (Related document
                            (3 pgs)             (s):58 Order on Motion to Appear pro hac vice)
                                                No. of Notices: 8. Notice Date 07/01/2020.
 07/01/2020                                     (Admin.) (Entered: 07/01/2020)

                            195                 BNC Certificate of Mailing. (Related document
                            (3 pgs)             (s):59 Order on Motion to Appear pro hac vice)
                                                No. of Notices: 8. Notice Date 07/01/2020.
 07/01/2020                                     (Admin.) (Entered: 07/01/2020)

                            196                BNC Certificate of Mailing. (Related document
                            (3 pgs)            (s):60 Order on Motion to Appear pro hac vice) No.
                                               of Notices: 8. Notice Date 07/01/2020. (Admin.)
 07/01/2020                                    (Entered: 07/01/2020)

                            197                BNC Certificate of Mailing. (Related document
                            (3 pgs)            (s):61 Order on Motion to Appear pro hac vice) No.
                                               of Notices: 8. Notice Date 07/01/2020. (Admin.)
 07/01/2020                                    (Entered: 07/01/2020)

                            198                BNC Certificate of Mailing. (Related document
                            (3 pgs)            (s):62 Order on Motion to Appear pro hac vice) No.
                                               of Notices: 8. Notice Date 07/01/2020. (Admin.)
 07/01/2020                                    (Entered: 07/01/2020)

                            199                BNC Certificate of Mailing. (Related document
                            (3 pgs)            (s):63 Order on Motion to Appear pro hac vice) No.
                                               of Notices: 8. Notice Date 07/01/2020. (Admin.)
 07/01/2020                                    (Entered: 07/01/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 39 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 39 of 1639
                                                                           0039


                            200                BNC Certificate of Mailing. (Related document
                            (3 pgs)            (s):64 Order on Motion to Appear pro hac vice) No.
                                               of Notices: 8. Notice Date 07/01/2020. (Admin.)
 07/01/2020                                    (Entered: 07/01/2020)

                            201                BNC Certificate of Mailing. (Related document
                            (3 pgs)            (s):65 Order on Motion to Appear pro hac vice) No.
                                               of Notices: 8. Notice Date 07/01/2020. (Admin.)
 07/01/2020                                    (Entered: 07/01/2020)

                            202                BNC Certificate of Mailing. (Related document
                            (3 pgs)            (s):67 Order on Motion to Appear pro hac vice) No.
                                               of Notices: 8. Notice Date 07/01/2020. (Admin.)
 07/01/2020                                    (Entered: 07/01/2020)

                            203                BNC Certificate of Mailing. (Related document
                            (3 pgs)            (s):68 Order on Motion to Appear pro hac vice) No.
                                               of Notices: 8. Notice Date 07/01/2020. (Admin.)
 07/01/2020                                    (Entered: 07/01/2020)

                            204                BNC Certificate of Mailing. (Related document
                            (3 pgs)            (s):70 Order on Motion to Appear pro hac vice) No.
                                               of Notices: 9. Notice Date 07/01/2020. (Admin.)
 07/01/2020                                    (Entered: 07/01/2020)

                            205                BNC Certificate of Mailing. (Related document
                            (3 pgs)            (s):71 Order on Motion to Appear pro hac vice) No.
                                               of Notices: 9. Notice Date 07/01/2020. (Admin.)
 07/01/2020                                    (Entered: 07/01/2020)

                            206                BNC Certificate of Mailing. (Related document
                            (3 pgs)            (s):82 Generic Order) No. of Notices: 9. Notice Date
 07/01/2020                                    07/01/2020. (Admin.) (Entered: 07/01/2020)

                            207                BNC Certificate of Mailing. (Related document
                            (3 pgs)            (s):84 Order on Motion to Appear pro hac vice) No.
                                               of Notices: 9. Notice Date 07/01/2020. (Admin.)
 07/01/2020                                    (Entered: 07/01/2020)

                            208                BNC Certificate of Mailing. (Related document
                            (3 pgs)            (s):85 Order on Motion to Appear pro hac vice) No.
                                               of Notices: 9. Notice Date 07/01/2020. (Admin.)
 07/01/2020                                    (Entered: 07/01/2020)

                            209
                                               BNC Certificate of Mailing. (Related document
                            (3 pgs)
                                               (s):86 Order on Motion to Appear pro hac vice) No.




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 40 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 40 of 1639
                                                                           0040


                                               of Notices: 9. Notice Date 07/01/2020. (Admin.)
 07/01/2020                                    (Entered: 07/01/2020)

                            210                BNC Certificate of Mailing. (Related document
                            (3 pgs)            (s):87 Order on Motion to Appear pro hac vice) No.
                                               of Notices: 9. Notice Date 07/01/2020. (Admin.)
 07/01/2020                                    (Entered: 07/01/2020)

                            211                BNC Certificate of Mailing. (Related document
                            (3 pgs)            (s):88 Order on Motion to Appear pro hac vice) No.
                                               of Notices: 9. Notice Date 07/01/2020. (Admin.)
 07/01/2020                                    (Entered: 07/01/2020)

                            212                BNC Certificate of Mailing. (Related document
                            (3 pgs)            (s):92 Order on Motion to Appear pro hac vice) No.
                                               of Notices: 9. Notice Date 07/01/2020. (Admin.)
 07/01/2020                                    (Entered: 07/01/2020)

                            213                BNC Certificate of Mailing. (Related document
                            (3 pgs)            (s):93 Order on Motion to Appear pro hac vice) No.
                                               of Notices: 9. Notice Date 07/01/2020. (Admin.)
 07/01/2020                                    (Entered: 07/01/2020)

                            214                BNC Certificate of Mailing. (Related document
                            (3 pgs)            (s):94 Order on Motion to Appear pro hac vice) No.
                                               of Notices: 9. Notice Date 07/01/2020. (Admin.)
 07/01/2020                                    (Entered: 07/01/2020)

                            215                BNC Certificate of Mailing. (Related document
                            (4 pgs)            (s):105 Order on Motion to Appear pro hac vice)
                                               No. of Notices: 17. Notice Date 07/01/2020.
 07/01/2020                                    (Admin.) (Entered: 07/01/2020)

                            216                BNC Certificate of Mailing. (Related document
                            (4 pgs)            (s):106 Order on Motion to Appear pro hac vice)
                                               No. of Notices: 17. Notice Date 07/01/2020.
 07/01/2020                                    (Admin.) (Entered: 07/01/2020)

                            217                BNC Certificate of Mailing. (Related document
                            (4 pgs)            (s):107 Order on Motion to Appear pro hac vice)
                                               No. of Notices: 17. Notice Date 07/01/2020.
 07/01/2020                                    (Admin.) (Entered: 07/01/2020)

                            218
                                               BNC Certificate of Mailing. (Related document
                            (4 pgs)
                                               (s):108 Order on Motion to Appear pro hac vice)
                                               No. of Notices: 17. Notice Date 07/01/2020.




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 41 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 41 of 1639
                                                                           0041


 07/01/2020                                    (Admin.) (Entered: 07/01/2020)

                            219                BNC Certificate of Mailing. (Related document
                            (10 pgs)           (s):109 Order on Emergency Motion) No. of
                                               Notices: 17. Notice Date 07/01/2020. (Admin.)
 07/01/2020                                    (Entered: 07/01/2020)

                            220                BNC Certificate of Mailing. (Related document
                            (4 pgs)            (s):121 Order on Motion to Appear pro hac vice)
                                               No. of Notices: 18. Notice Date 07/01/2020.
 07/01/2020                                    (Admin.) (Entered: 07/01/2020)

                            221                BNC Certificate of Mailing. (Related document
                            (4 pgs)            (s):122 Order on Motion to Appear pro hac vice)
                                               No. of Notices: 18. Notice Date 07/01/2020.
 07/01/2020                                    (Admin.) (Entered: 07/01/2020)

                            222                BNC Certificate of Mailing. (Related document
                            (4 pgs)            (s):123 Order on Motion to Appear pro hac vice)
                                               No. of Notices: 18. Notice Date 07/01/2020.
 07/01/2020                                    (Admin.) (Entered: 07/01/2020)

                            223                BNC Certificate of Mailing. (Related document
                            (4 pgs)            (s):124 Order on Motion to Appear pro hac vice)
                                               No. of Notices: 18. Notice Date 07/01/2020.
 07/01/2020                                    (Admin.) (Entered: 07/01/2020)

                            224                BNC Certificate of Mailing. (Related document
                            (4 pgs)            (s):125 Order on Motion to Appear pro hac vice)
                                               No. of Notices: 18. Notice Date 07/01/2020.
 07/01/2020                                    (Admin.) (Entered: 07/01/2020)

                            225                BNC Certificate of Mailing. (Related document
                            (4 pgs)            (s):126 Order on Motion to Appear pro hac vice)
                                               No. of Notices: 18. Notice Date 07/01/2020.
 07/01/2020                                    (Admin.) (Entered: 07/01/2020)

                            226                BNC Certificate of Mailing. (Related document
                            (237 pgs)          (s):128 Order Setting Hearing) No. of Notices: 19.
                                               Notice Date 07/01/2020. (Admin.) (Entered:
 07/01/2020                                    07/01/2020)

                            227                BNC Certificate of Mailing. (Related document
                            (10 pgs)           (s):129 Order on Emergency Motion) No. of
                                               Notices: 19. Notice Date 07/01/2020. (Admin.)
 07/01/2020                                    (Entered: 07/01/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 42 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 42 of 1639
                                                                           0042


                            228                BNC Certificate of Mailing. (Related document
                            (8 pgs)            (s):131 Order on Emergency Motion) No. of
                                               Notices: 19. Notice Date 07/01/2020. (Admin.)
 07/01/2020                                    (Entered: 07/01/2020)

                            229                BNC Certificate of Mailing. (Related document
                            (9 pgs)            (s):132 Order on Emergency Motion) No. of
                                               Notices: 19. Notice Date 07/01/2020. (Admin.)
 07/01/2020                                    (Entered: 07/01/2020)

                            230                BNC Certificate of Mailing. (Related document
                            (11 pgs)           (s):133 Order on Emergency Motion) No. of
                                               Notices: 19. Notice Date 07/01/2020. (Admin.)
 07/01/2020                                    (Entered: 07/01/2020)

                            231                BNC Certificate of Mailing. (Related document
                            (7 pgs)            (s):136 Order on Emergency Motion) No. of
                                               Notices: 19. Notice Date 07/01/2020. (Admin.)
 07/01/2020                                    (Entered: 07/01/2020)

                            232                BNC Certificate of Mailing. (Related document
                            (10 pgs)           (s):137 Order on Emergency Motion) No. of
                                               Notices: 19. Notice Date 07/01/2020. (Admin.)
 07/01/2020                                    (Entered: 07/01/2020)

                            233                BNC Certificate of Mailing. (Related document
                            (27 pgs)           (s):138 Order on Emergency Motion) No. of
                                               Notices: 19. Notice Date 07/01/2020. (Admin.)
 07/01/2020                                    (Entered: 07/01/2020)

                            234                BNC Certificate of Mailing. (Related document
                            (9 pgs)            (s):140 Order on Emergency Motion) No. of
                                               Notices: 19. Notice Date 07/01/2020. (Admin.)
 07/01/2020                                    (Entered: 07/01/2020)

                            235                BNC Certificate of Mailing. (Related document
                            (8 pgs)            (s):141 Order on Emergency Motion) No. of
                                               Notices: 19. Notice Date 07/01/2020. (Admin.)
 07/01/2020                                    (Entered: 07/01/2020)

                            236                BNC Certificate of Mailing. (Related document
                            (33 pgs)           (s):143 Order on Emergency Motion) No. of
                                               Notices: 19. Notice Date 07/01/2020. (Admin.)
 07/01/2020                                    (Entered: 07/01/2020)

                            237
                                               BNC Certificate of Mailing. (Related document




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 43 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 43 of 1639
                                                                           0043


                            (32 pgs)           (s):144 Order on Emergency Motion) No. of
                                               Notices: 19. Notice Date 07/01/2020. (Admin.)
 07/01/2020                                    (Entered: 07/01/2020)

                            238                Notice of Appearance and Request for Notice Filed
                            (2 pgs)            by Simon W Hendershot III Filed by on behalf of
                                               Jason Dean (Hendershot, Simon) (Entered:
 07/02/2020                                    07/02/2020)

                            239                Notice of Filing of Official Transcript as to 186
                            (1 pg)             Transcript. Parties notified (Related document
 07/02/2020                                    (s):186 Transcript) (jdav) (Entered: 07/02/2020)

                            240                Order Granting Motion To Appear pro hac vice -
                            (1 pg)             Rudy J. Cerone (Related Doc # 151) Signed on
 07/02/2020                                    7/2/2020. (emiller) (Entered: 07/02/2020)

                            241                Order Granting Motion To Appear pro hac vice -
                            (1 pg)             Evelina Gentry (Related Doc # 159) Signed on
 07/02/2020                                    7/2/2020. (emiller) (Entered: 07/02/2020)

                            242                Order Granting Motion To Appear pro hac vice -
                            (1 pg)             Katherine C. Fackler (Related Doc # 160) Signed on
 07/02/2020                                    7/2/2020. (emiller) (Entered: 07/02/2020)

                            243                Order Granting Motion To Appear pro hac vice -
                            (1 pg)             Harold Kaplan (Related Doc # 162) Signed on
 07/02/2020                                    7/2/2020. (emiller) (Entered: 07/02/2020)

                            244                Order Granting Motion To Appear pro hac vice -
                            (1 pg)             Mark Hebbeln (Related Doc # 163) Signed on
 07/02/2020                                    7/2/2020. (emiller) (Entered: 07/02/2020)

                            245                Order Granting Motion To Appear pro hac vice -
                            (1 pg)             Justin Rawlins (Related Doc # 165) Signed on
 07/02/2020                                    7/2/2020. (emiller) (Entered: 07/02/2020)

                            246                Order Granting Motion To Appear pro hac vice -
                            (1 pg)             Aaron Gober-Sims (Related Doc # 166) Signed on
 07/02/2020                                    7/2/2020. (emiller) (Entered: 07/02/2020)

                            247                Affidavit Re: Affidavit of Publication (Filed By
                            (3 pgs)            Chesapeake Energy Corporation ). (Cavenaugh,
 07/02/2020                                    Matthew) (Entered: 07/02/2020)

                            249                Notice of Appearance and Request for Notice Filed




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 44 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 44 of 1639
                                                                           0044


                            (2 pgs)            by Patrick Holder Autry Filed by on behalf of Mary
                                               Wheeler Family Limited Partnership (Autry,
 07/02/2020                                    Patrick) (Entered: 07/02/2020)

                            250                Notice of Appearance and Request for Notice Filed
                            (4 pgs)            by Jason Bradley Binford Filed by on behalf of
                                               Railroad Commission of Texas (Binford, Jason)
 07/02/2020                                    (Entered: 07/02/2020)

                            251                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                            (2 pgs)            hours)) by Charmaine Thomas. This is to order a
                                               transcript of 6/29/2020, Hearing before Judge David
                                               R. Jones. Court Reporter/Transcriber: Access
                                               Transcripts. (mmap) Electronically forwarded to the
                                               original transcriber: Access Transcripts on 7-6-2020.
                                               Estimated completion date: 7-7-2020. Modified on
 07/02/2020                                    7/6/2020 (MelissaMorgan). (Entered: 07/02/2020)

                            252                Notice of Appearance and Request for Notice Filed
                            (4 pgs)            by John E Mitchell Filed by on behalf of ETC Katy
                                               Pipeline, Ltd., ETC Texas Pipeline Ltd., Energy
                                               Transfer Fuel, LP, Houston Pipe Line Company, LP,
                                               Oasis Pipeline L.P. (Mitchell, John) (Entered:
 07/02/2020                                    07/02/2020)

                            253                Notice of Appearance and Request for Notice Filed
                            (4 pgs)            by John E Mitchell Filed by on behalf of ETC Katy
                                               Pipeline, Ltd., ETC Texas Pipeline Ltd., Energy
                                               Transfer Fuel, LP, Houston Pipe Line Company, LP,
                                               Oasis Pipeline L.P. (Mitchell, John) (Entered:
 07/02/2020                                    07/02/2020)

                            254                BNC Certificate of Mailing. (Related document
                            (15 pgs)           (s):139 Order Setting Hearing) No. of Notices: 25.
                                               Notice Date 07/02/2020. (Admin.) (Entered:
 07/02/2020                                    07/02/2020)

                            255                Notice of Appearance and Request for Notice Filed
                            (1 pg)             by Tara L Grundemeier Filed by on behalf of
                                               Galveston County, Washington County, Houston
                                               CAD, Jasper County, Madison County, Cypress-
                                               Fairbanks ISD, Montgomery County, Harris County,
                                               Tyler County, San Augustine County, Liberty
                                               County, Polk County, Fort Bend County, Shelby
                                               County, Angelina County, Sabine County,
                                               Matagorda County (Grundemeier, Tara) (Entered:
 07/03/2020                                    07/03/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 45 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 45 of 1639
                                                                           0045


                            256                BNC Certificate of Mailing. (Related document
                            (4 pgs)            (s):179 Order on Motion to Seal) No. of Notices: 1.
                                               Notice Date 07/03/2020. (Admin.) (Entered:
 07/03/2020                                    07/03/2020)

                            257                BNC Certificate of Mailing. (Related document
                            (3 pgs)            (s):239 Notice of Filing of Official Transcript
                                               (Form)) No. of Notices: 27. Notice Date 07/04/2020.
 07/04/2020                                    (Admin.) (Entered: 07/04/2020)

                            258                BNC Certificate of Mailing. (Related document
                            (7 pgs)            (s):187 Order on Motion to Assume/Reject) No. of
                                               Notices: 26. Notice Date 07/04/2020. (Admin.)
 07/04/2020                                    (Entered: 07/04/2020)

                            259                BNC Certificate of Mailing. (Related document
                            (3 pgs)            (s):240 Order on Motion to Appear pro hac vice)
                                               No. of Notices: 27. Notice Date 07/04/2020.
 07/04/2020                                    (Admin.) (Entered: 07/04/2020)

                            260                BNC Certificate of Mailing. (Related document
                            (3 pgs)            (s):241 Order on Motion to Appear pro hac vice)
                                               No. of Notices: 27. Notice Date 07/04/2020.
 07/04/2020                                    (Admin.) (Entered: 07/04/2020)

                            261                BNC Certificate of Mailing. (Related document
                            (3 pgs)            (s):242 Order on Motion to Appear pro hac vice)
                                               No. of Notices: 27. Notice Date 07/04/2020.
 07/04/2020                                    (Admin.) (Entered: 07/04/2020)

                            262                BNC Certificate of Mailing. (Related document
                            (3 pgs)            (s):243 Order on Motion to Appear pro hac vice)
                                               No. of Notices: 27. Notice Date 07/04/2020.
 07/04/2020                                    (Admin.) (Entered: 07/04/2020)

                            263                BNC Certificate of Mailing. (Related document
                            (3 pgs)            (s):244 Order on Motion to Appear pro hac vice)
                                               No. of Notices: 27. Notice Date 07/04/2020.
 07/04/2020                                    (Admin.) (Entered: 07/04/2020)

                            264                BNC Certificate of Mailing. (Related document
                            (3 pgs)            (s):245 Order on Motion to Appear pro hac vice)
                                               No. of Notices: 27. Notice Date 07/04/2020.
 07/04/2020                                    (Admin.) (Entered: 07/04/2020)

                            265
                                               BNC Certificate of Mailing. (Related document




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 46 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 46 of 1639
                                                                           0046


                            (3 pgs)            (s):246 Order on Motion to Appear pro hac vice)
                                               No. of Notices: 27. Notice Date 07/04/2020.
 07/04/2020                                    (Admin.) (Entered: 07/04/2020)

                            266                Notice of Appearance and Request for Notice Filed
                            (2 pgs)            by Ryan Dodson Dry Filed by on behalf of RLI
                                               Insurance Company (Dry, Ryan) (Entered:
 07/06/2020                                    07/06/2020)

                            267                Motion to Appear pro hac vice of Elliot
                            (1 pg)             Scharfenberg. Filed by Interested Party RLI
                                               Insurance Company (Dry, Ryan) (Entered:
 07/06/2020                                    07/06/2020)

                            268                Motion to Appear pro hac vice of Jon Ord. Filed by
                            (1 pg)             Interested Party RLI Insurance Company (Dry,
 07/06/2020                                    Ryan) (Entered: 07/06/2020)

                            269                Notice of Appearance and Request for Notice Filed
                            (1 pg)             by John S Mayer Filed by on behalf of Caterpillar
                                               Financial Services Corporation (Mayer, John)
 07/06/2020                                    (Entered: 07/06/2020)

                            270                Letter from Shareholder Mallinath Suralikal
 07/06/2020                 (1 pg)             (JeannieAndresen) (Entered: 07/06/2020)

                            271                Notice of Appearance and Request for Notice Filed
                            (3 pgs)            by Michael Edward Collins Filed by on behalf of
                                               Philadelphia Indemnity Insurance Company
 07/06/2020                                    (Collins, Michael) (Entered: 07/06/2020)

                            272                Notice of Appearance and Request for Notice Filed
                            (2 pgs)            by Carol E Momjian Filed by on behalf of
                                               Commonwealth of Pennsylvania (Momjian, Carol)
 07/06/2020                                    (Entered: 07/06/2020)

                            273                Notice of Filing Response to Appellants Notice of
                            (14 pgs; 2 docs)   Suggestion of Pendency of Bankruptcy and
                                               Automatic Stay of Proceedings. Filed by
                                               Commonwealth of Pennsylvania (Attachments: # 1
                                               Exhibit Response filed in Supreme Court of
                                               Pennsylvania Middle District) (Swartley, Jason)
 07/06/2020                                    (Entered: 07/06/2020)

                            274
                                               Order Granting Motion To Appear pro hac vice -
                            (1 pg)
                                               Richard A. Aguilar (Related Doc # 170) Signed on




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                        5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 47 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 47 of 1639
                                                                           0047


 07/06/2020                                    7/6/2020. (emiller) (Entered: 07/06/2020)

                            275                Order Granting Motion To Appear pro hac vice -
                            (1 pg)             Jason L. Swartley (Related Doc # 171) Signed on
 07/06/2020                                    7/6/2020. (emiller) (Entered: 07/06/2020)

                            276                Order Granting Motion To Appear pro hac vice -
                            (1 pg)             David M. Riley (Related Doc # 173) Signed on
 07/06/2020                                    7/6/2020. (emiller) (Entered: 07/06/2020)

                            277                Order Granting Motion To Appear pro hac vice -
                            (1 pg)             Glenn E. Siegel (Related Doc # 174) Signed on
 07/06/2020                                    7/6/2020. (emiller) (Entered: 07/06/2020)

                            278                Order Granting Motion To Appear pro hac vice -
                            (1 pg)             Rachel J. Mauceri (Related Doc # 175) Signed on
 07/06/2020                                    7/6/2020. (emiller) (Entered: 07/06/2020)

                            279                Order Granting Motion To Appear pro hac vice -
                            (1 pg)             Grant E. Summers (Related Doc # 181) Signed on
 07/06/2020                                    7/6/2020. (emiller) (Entered: 07/06/2020)

                            280                Order Granting Motion To Appear pro hac vice -
                            (1 pg)             Alana L. Porrazo (Related Doc # 248) Signed on
 07/06/2020                                    7/6/2020. (emiller) (Entered: 07/06/2020)

                            281                Notice of Appearance and Request for Notice Filed
                            (1 pg)             by Diane Wade Sanders Filed by on behalf of Lee
                                               County, Zapata County, Webb CISD, DeWitt
                                               County, Goliad County, Robertson County, Nueces
                                               County, Jim Wells CAD (Sanders, Diane) (Entered:
 07/07/2020                                    07/07/2020)

                            282                Notice of Appearance and Request for Notice Filed
                            (2 pgs)            by Tara LeDay Filed by on behalf of Texas Taxing
 07/07/2020                                    Authorities (LeDay, Tara) (Entered: 07/07/2020)

                            283                Motion to Appear pro hac vice . Filed by Interested
                            (1 pg)             Party Jolene Wise U.S. Securities and Exchange
 07/07/2020                                    Commission (Wise, Jolene) (Entered: 07/07/2020)

                            284                Notice of Appearance and Request for Notice Filed
                            (2 pgs)            by Jolene M Wise Filed by on behalf of Jolene Wise
                                               U.S. Securities and Exchange Commission (Wise,
 07/07/2020                                    Jolene) (Entered: 07/07/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 48 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 48 of 1639
                                                                           0048


                            285                Motion to Appear pro hac vice Brian L. Greenert.
                            (1 pg)             Filed by Interested Party Commonwealth of
 07/07/2020                                    Pennsylvania (mmap) (Entered: 07/07/2020)

                            286                Debtors Master Service List (Filed By Epiq
                            (42 pgs)           Corporate Restructuring LLC ). (Garabato, Sid)
 07/07/2020                                    (Entered: 07/07/2020)

                            287                Motion Debtors' Motion to Approve Procedures for
                            (25 pgs; 2 docs)   De Minimis Asset Transactions Filed by Debtor
                                               Chesapeake Energy Corporation Hearing scheduled
                                               for 7/31/2020 at 11:00 AM at Houston, Courtroom
                                               400 (DRJ). (Attachments: # 1 Proposed Order)
 07/07/2020                                    (Cavenaugh, Matthew) (Entered: 07/07/2020)

                            288                Motion Debtors' Motion for Entry of an Order
                            (25 pgs; 2 docs)   Authorizing the Retention and Compensation of
                                               Certain Professionals Utilized in the Ordinary
                                               Course of Business Filed by Debtor Chesapeake
                                               Energy Corporation (Attachments: # 1 Proposed
                                               Order) (Cavenaugh, Matthew) (Entered:
 07/07/2020                                    07/07/2020)

                            289                Motion Debtors' Motion for Entry of an Order
                            (17 pgs; 2 docs)   Establishing Procedures for Interim Compensation
                                               and Reimbursement of Expenses for Professionals
                                               Filed by Debtor Chesapeake Energy Corporation
                                               (Attachments: # 1 Proposed Order) (Cavenaugh,
 07/07/2020                                    Matthew) (Entered: 07/07/2020)

                            290                Motion Debtors' Motion for Entry of an Order (I)
                            (47 pgs; 2 docs)   Authorizing and Approving the Debtors' Non-Insider
                                               Retention Programs and (II) Granting Related Relief
                                               Filed by Debtor Chesapeake Energy Corporation
                                               Hearing scheduled for 7/31/2020 at 11:00 AM at
                                               Houston, Courtroom 400 (DRJ). (Attachments: # 1
                                               Proposed Order) (Cavenaugh, Matthew) (Entered:
 07/07/2020                                    07/07/2020)

                            291                Motion to Appear pro hac vice by Vera N. Kanova.
                            (1 pg)             Filed by Creditor Pennsylvania Dept. of
                                               Environmental Protection (jdav) (Entered:
 07/08/2020                                    07/08/2020)

                            292
                            (5 pgs)            Notice of Appearance and Request for Notice Filed
                                               by Scott Robert Cheatham Filed by on behalf of




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 49 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 49 of 1639
                                                                           0049


                                               CCG Land (U.S.), Inc. (Cheatham, Scott) (Entered:
 07/08/2020                                    07/08/2020)

                            293                Notice of Appearance and Request for Notice Filed
                            (2 pgs)            by Thomas Pitta Filed by on behalf of The Bank of
                                               New York Mellon Trust Company, N.A. (Pitta,
 07/08/2020                                    Thomas) (Entered: 07/08/2020)

                            294                Letter from Shareholder Krishna Bangera
 07/08/2020                 (4 pgs)            (JeannieAndresen) (Entered: 07/08/2020)

                            295                Letter from Shareholder David Del Valle
 07/08/2020                 (2 pgs)            (JeannieAndresen) (Entered: 07/08/2020)

                            296                Letter from Shareholder John Brydels Jr.
 07/08/2020                 (8 pgs)            (JeannieAndresen) (Entered: 07/08/2020)

                            297                  Letter from Shareholder Jason Dean
                            (13 pgs; 2 docs)     (Attachments: # 1 Exhibit) (JeannieAndresen)
 07/08/2020                                      (Entered: 07/08/2020)

                            298                  Order Granting Motion To Appear pro hac vice -
                            (1 pg)               Elliot Scharfenberg (Related Doc # 267) Signed
 07/08/2020                                      on 7/8/2020. (emiller) (Entered: 07/08/2020)

                            299                  Notice of Appearance and Request for Notice
                            (3 pgs)              Filed by Bernard R. Given II Filed by on behalf of
                                                 U.S. Bank National Association, as Indenture
 07/08/2020                                      Trustee (Given, Bernard) (Entered: 07/08/2020)

                            300                  Order Granting Motion To Appear pro hac vice -
                            (1 pg)               Jon Ord (Related Doc # 268) Signed on 7/8/2020.
 07/08/2020                                      (emiller) (Entered: 07/08/2020)

                            301                  Notice of Appointment of Creditors' Committee
 07/09/2020                 (4 pgs)              (Duran, Hector) (Entered: 07/09/2020)

                            302                  Notice of Organizational Meeting of the Official
                            (1 pg)               Unsecured Creditors' Committee scheduled via
                                                 telephone conference call on July 10, 2020, at
                                                 3:00 p.m. (Houston Time). Filed by US Trustee
 07/09/2020                                      (Duran, Hector) (Entered: 07/09/2020)

                            303                  Affidavit Re: Affidavit of Publication (Filed By
                            (2 pgs)              Chesapeake Energy Corporation ). (Cavenaugh,
 07/09/2020                                      Matthew) (Entered: 07/09/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 50 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 50 of 1639
                                                                           0050


                            304                  BNC Certificate of Mailing. (Related document
                            (4 pgs)              (s):274 Order on Motion to Appear pro hac vice)
                                                 No. of Notices: 29. Notice Date 07/09/2020.
 07/09/2020                                      (Admin.) (Entered: 07/09/2020)

                            305                  BNC Certificate of Mailing. (Related document
                            (4 pgs)              (s):275 Order on Motion to Appear pro hac vice)
                                                 No. of Notices: 29. Notice Date 07/09/2020.
 07/09/2020                                      (Admin.) (Entered: 07/09/2020)

                            306                  BNC Certificate of Mailing. (Related document
                            (4 pgs)              (s):276 Order on Motion to Appear pro hac vice)
                                                 No. of Notices: 29. Notice Date 07/09/2020.
 07/09/2020                                      (Admin.) (Entered: 07/09/2020)

                            307                  BNC Certificate of Mailing. (Related document
                            (4 pgs)              (s):277 Order on Motion to Appear pro hac vice)
                                                 No. of Notices: 29. Notice Date 07/09/2020.
 07/09/2020                                      (Admin.) (Entered: 07/09/2020)

                            308                  BNC Certificate of Mailing. (Related document
                            (4 pgs)              (s):278 Order on Motion to Appear pro hac vice)
                                                 No. of Notices: 29. Notice Date 07/09/2020.
 07/09/2020                                      (Admin.) (Entered: 07/09/2020)

                            309                  BNC Certificate of Mailing. (Related document
                            (4 pgs)              (s):279 Order on Motion to Appear pro hac vice)
                                                 No. of Notices: 29. Notice Date 07/09/2020.
 07/09/2020                                      (Admin.) (Entered: 07/09/2020)

                            310                  BNC Certificate of Mailing. (Related document
                            (4 pgs)              (s):280 Order on Motion to Appear pro hac vice)
                                                 No. of Notices: 29. Notice Date 07/09/2020.
 07/09/2020                                      (Admin.) (Entered: 07/09/2020)

                            311                  Notice of Appearance and Request for Notice
                            (3 pgs)              Filed by Jean Paul Picou Overton Filed by on
                                                 behalf of SPN Well Services, Inc., Complete
                                                 Energy Services, Inc., Complete Energy Services,
                                                 Inc., H.B. Rentals, L.C., Workstrings
                                                 International, L.L.C. (Overton, Jean Paul)
 07/10/2020                                      (Entered: 07/10/2020)

                            312
                            (4 pgs)              Stipulation By Chesapeake Energy Corporation
                                                 and Federal Regulatory Commission. Does this
                                                 document include an agreed order or otherwise




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 51 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 51 of 1639
                                                                           0051


                                                 request that the judge sign a document? Yes.
                                                 (Filed By Chesapeake Energy Corporation ).
 07/10/2020                                      (Cavenaugh, Matthew) (Entered: 07/10/2020)

                            313                  BNC Certificate of Mailing. (Related document
                            (4 pgs)              (s):298 Order on Motion to Appear pro hac vice)
                                                 No. of Notices: 33. Notice Date 07/10/2020.
 07/10/2020                                      (Admin.) (Entered: 07/10/2020)

                            314                  BNC Certificate of Mailing. (Related document
                            (4 pgs)              (s):300 Order on Motion to Appear pro hac vice)
                                                 No. of Notices: 33. Notice Date 07/10/2020.
 07/10/2020                                      (Admin.) (Entered: 07/10/2020)

                            315                  Notice of Appearance and Request for Notice
                            (2 pgs)              Filed by Misti Lachelle Beanland Filed by on
                                                 behalf of Elliott Electric Supply, Inc. (Beanland,
 07/11/2020                                      Misti) (Entered: 07/11/2020)

                            316                  Notice of Appearance and Request for Notice
                            (3 pgs)              Filed by Michael E. Idzkowski Filed by on behalf
                                                 of State of Ohio (Idzkowski, Michael) (Entered:
 07/13/2020                                      07/13/2020)

                            317                  Motion to Appear pro hac vice State of Ohio
                            (1 pg)               OEPA & ODNR. Filed by Attorney Ohio
                                                 Environmental Protection Agency (Idzkowski,
 07/13/2020                                      Michael) (Entered: 07/13/2020)

                            318                  Notice of Appearance and Request for Notice
                            (3 pgs)              Filed by Timothy James Kern Filed by on behalf
                                                 of State of Ohio OEPA & ODNR (Kern,
 07/13/2020                                      Timothy) (Entered: 07/13/2020)

                            319                  Motion to Appear pro hac vice . Filed by Attorney
                            (1 pg)               State of Ohio OEPA & ODNR (Kern, Timothy)
 07/13/2020                                      (Entered: 07/13/2020)

                            320                  Motion to Appear pro hac vice Andrew D. Martin.
                            (1 pg)               Filed by Creditor Saundra Nelson (Hearne,
 07/13/2020                                      William) (Entered: 07/13/2020)

                            321                  Notice of Appearance and Request for Notice
                            (3 pgs)              Filed by William Lake Hearne Filed by on behalf
                                                 of Saundra Nelson (Hearne, William) (Entered:
 07/13/2020                                      07/13/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 52 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 52 of 1639
                                                                           0052


                            322                  Notice of Appearance and Request for Notice
                            (2 pgs)              Filed by Jarrod B. Martin Filed by on behalf of
                                                 Tributary Resources, LLC (Martin, Jarrod)
 07/14/2020                                      (Entered: 07/14/2020)

                            323                  Emergency Motion for Entry of an Order
                            (72 pgs; 4 docs)     Enforcing the Automatic Stay Against the Office
                                                 of The Attorney General of the Commonwealth of
                                                 Pennsylvania Filed by Debtor Chesapeake Energy
                                                 Corporation (Attachments: # 1 Exhibit A # 2
                                                 Exhibit B # 3 Proposed Order) (Cavenaugh,
 07/14/2020                                      Matthew) (Entered: 07/14/2020)

                                                 Certificate of Telephone Notice. Contacted
                                                 Veronica Polnick. At the request of the parties,
                                                 the hearings scheduled for 7/20/2020 at 11:30
                                                 regarding Docket Nos. 14 and 22 have been
                                                 rescheduled. Movant to notice all interested
                                                 parties and file a certificate of service with the
                                                 court (Related document(s):14 Emergency
                                                 Motion, 22 Emergency Motion) Hearing
                                                 rescheduled for 7/31/2020 at 11:00 AM at
                                                 Houston, Courtroom 400 (DRJ). (emiller)
 07/14/2020                                      (Entered: 07/14/2020)

                            324                  Notice of Appearance and Request for Notice
                            (2 pgs)              Filed by Andrew G Edson Filed by on behalf of
                                                 Waste Management, Inc. (Edson, Andrew)
 07/14/2020                                      (Entered: 07/14/2020)

                            325                  Objection Limited Objection and Reservation of
                            (7 pgs; 2 docs)      Rights (related document(s):22 Emergency
                                                 Motion). Filed by Dimmit County, et al
                                                 (Attachments: # 1 Exhibit A. Certain Texas
                                                 Taxing Entities' List of Claims) (Sonik, Owen)
 07/14/2020                                      (Entered: 07/14/2020)

                            326                  Debtors Master Service List (Filed By Epiq
                            (44 pgs)             Corporate Restructuring LLC ). (Garabato, Sid)
 07/14/2020                                      (Entered: 07/14/2020)

                            327                  Motion to Reconsider (related document(s):187
                            (7 pgs; 2 docs)      Order on Motion to Assume/Reject). Filed by
                                                 Interested Party Federal Energy Regulatory
                                                 Commission (Attachments: # 1 Proposed Order)
 07/14/2020                                      (Kincheloe, Richard) (Entered: 07/14/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                        5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 53 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 53 of 1639
                                                                           0053


                            328                  Notice of Reset of Hearing of Cash Management
                            (4 pgs)              Motion and DIP Motion. (Related document(s):14
                                                 Emergency Motion, 22 Emergency Motion) Filed
                                                 by Chesapeake Energy Corporation (Cavenaugh,
 07/14/2020                                      Matthew) (Entered: 07/14/2020)

                            329                  Order Granting Motion To Appear pro hac vice -
                            (1 pg)               Jolene M. Wise (Related Doc # 283) Signed on
 07/14/2020                                      7/14/2020. (emiller) (Entered: 07/14/2020)

                            330                  Order Granting Motion To Appear pro hac vice -
                            (1 pg)               Brian L. Greenert (Related Doc # 285) Signed on
 07/14/2020                                      7/14/2020. (emiller) (Entered: 07/14/2020)

                            331                  Order Granting Motion To Appear pro hac vice -
                            (1 pg)               Vera N. Kanova (Related Doc # 291) Signed on
 07/14/2020                                      7/14/2020. (emiller) (Entered: 07/14/2020)

                            332                  Order Granting Motion To Appear pro hac vice -
                            (1 pg)               Michael E. Idzkowski (Related Doc # 317) Signed
 07/14/2020                                      on 7/14/2020. (emiller) (Entered: 07/14/2020)

                            333                  Order Granting Motion To Appear pro hac vice -
                            (1 pg)               Timothy J. Kern (Related Doc # 319) Signed on
 07/14/2020                                      7/14/2020. (emiller) (Entered: 07/14/2020)

                            334                  Order Granting Motion To Appear pro hac vice -
                            (1 pg)               Andrew D. Martin (Related Doc # 320) Signed on
 07/14/2020                                      7/14/2020. (emiller) (Entered: 07/14/2020)

                            335                  Witness List, Exhibit List (Filed By Chesapeake
                            (57 pgs; 3 docs)     Energy Corporation ).(Related document(s):323
                                                 Emergency Motion) (Attachments: # 1 Exhibit 1 #
                                                 2 Exhibit 2) (Cavenaugh, Matthew) (Entered:
 07/15/2020                                      07/15/2020)

                            336                  Motion to Appear pro hac vice . Filed by Creditor
                            (1 pg)               Commonwealth of Pennsylvania (Michaels,
 07/15/2020                                      Lauren) (Entered: 07/15/2020)

                            337                  Motion to Appear pro hac vice for David D.
 07/15/2020                 (1 pg)               Piper. (JeannieAndresen) (Entered: 07/15/2020)

                            338                  Motion to Appear pro hac vice for Stefan
                            (1 pg)               Perovich. (JeannieAndresen) (Entered:
 07/15/2020                                      07/15/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 54 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 54 of 1639
                                                                           0054


                            339                  Motion to Appear pro hac vice for Bryce
                            (1 pg)               Cullinane. (JeannieAndresen) (Entered:
 07/15/2020                                      07/15/2020)

                            340                  Objection Limited Objection to the Debtors
                            (9 pgs)              Emergency Motion for Entry of Interim and Final
                                                 Orders (I) Authorizing the Debtors to Obtain
                                                 Postpetition Financing, (II) Authorizing the
                                                 Debtors to Use Cash Collateral, (III) Granting
                                                 Liens and Providing Claims with Superpriority
                                                 Administrative Expense Status, (IV) Granting
                                                 Adequate Protection to the Existing Secured
                                                 Parties, (V) Modifying the Automatic Stay, (VI)
                                                 Scheduling a Final Hearing, and (VII) Granting
                                                 Related Relief (related document(s):22
                                                 Emergency Motion). Filed by Trade Star, LLC,
                                                 Sunoco Pipeline L.P., ETC Katy Pipeline, Ltd.,
                                                 ETC Texas Pipeline Ltd., Energy Transfer Fuel,
                                                 LP, Houston Pipe Line Company, LP, Oasis
                                                 Pipeline L.P. (Mitchell, John) (Entered:
 07/15/2020                                      07/15/2020)

                            341                  Response/Objection Filed by Texas Taxing
                            (3 pgs)              Authorities. (Related document(s):128 Order
                                                 Setting Hearing) (LeDay, Tara) (Entered:
 07/15/2020                                      07/15/2020)

                            342                  Objection Cactus Wellhead, LLC's Reservation of
                            (11 pgs)             Rights and Limited Objection to DIP Financing
                                                 and Cash Collateral Motion (related document
                                                 (s):22 Emergency Motion). Filed by Cactus
                                                 Wellhead, LLC (Bailey, James) (Entered:
 07/15/2020                                      07/15/2020)

                                                 Certificate of Telephone Notice. Contacted
                                                 Veronica Polnick. Movant to notice all interested
                                                 parties and file a certificate of service with the
                                                 court (Related document(s):27 Emergency
                                                 Motion, 35 Motion to Assume/Reject, 36 Generic
                                                 Motion) Hearing scheduled for 7/31/2020 at
                                                 11:00 AM at Houston, Courtroom 400 (DRJ).
 07/15/2020                                      (emiller) (Entered: 07/15/2020)

                            343                  Notice of Electronic Hearing on Contract
                            (4 pgs)              Rejection, Transportation Rejection and Sell-
                                                 Down Procedures Motions. (Related document
                                                 (s):27 Emergency Motion, 35 Motion to




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 55 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 55 of 1639
                                                                           0055


                                                 Assume/Reject, 36 Generic Motion) Filed by
                                                 Chesapeake Energy Corporation (Cavenaugh,
 07/15/2020                                      Matthew) (Entered: 07/15/2020)

                            344                  Objection (related document(s):22 Emergency
                            (16 pgs; 3 docs)     Motion). Filed by c/o Annie Catmull Royalty
                                                 Owner Plaintiffs c/o (Attachments: # 1 Exhibit A
                                                 - plaintiffs # 2 Exhibit B - admissions and denials)
 07/15/2020                                      (Catmull, Annie) (Entered: 07/15/2020)

                            345                  Objection (related document(s):22 Emergency
                            (199 pgs; 5 docs)    Motion). Filed by Allen Johnson, Rodney
                                                 Hudson, Ruth Middleton, Saundra Nelson
                                                 (Attachments: # 1 Exhibit A - List of Objectors #
                                                 2 Exhibit B- Johnson Ruling # 3 Exhibit C -
                                                 Pleadings # 4 Exhibit D - Unit Orders) (Hearne,
 07/15/2020                                      William) (Entered: 07/15/2020)

                            346                  Objection Archrock Partners Operating, LLC's
                            (5 pgs)              Limited Objection and Reservation of Rights to
                                                 Debtors' DIP Financing and Cash Collateral
                                                 Motion (related document(s):22 Emergency
                                                 Motion). Filed by Archrock Partners Operating,
 07/15/2020                                      LLC (Maraist, Kevin) (Entered: 07/15/2020)

                            347                  Certificate of Service (Filed By c/o Annie Catmull
                            (12 pgs)             Royalty Owner Plaintiffs c/o ).(Related document
                                                 (s):344 Objection) (Catmull, Annie) (Entered:
 07/15/2020                                      07/15/2020)

                            348                  Objection J-W Power Company's Limited
                            (3 pgs)              Objection and Reservation of Rights (related
                                                 document(s):22 Emergency Motion). Filed by J-
                                                 W Power Company (Walker, Julie) (Entered:
 07/15/2020                                      07/15/2020)

                            349                  Notice of Appearance and Request for Notice
                            (3 pgs)              Filed by Mary Elizabeth Heard Filed by on behalf
                                                 of Gates Mineral Company, LTD and related
                                                 entities and individuals (Heard, Mary) (Entered:
 07/15/2020                                      07/15/2020)

                            350
                            (3 pgs)              Notice of Appearance and Request for Notice
                                                 Filed by Mary Elizabeth Heard Filed by on behalf
                                                 of Dan W. Kinsel III, Trustee of the 2009 Dan and
                                                 Leslie Kinsel Childrens Trust and Karl Gene




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 56 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 56 of 1639
                                                                           0056


                                                 Kinsel, Trustee of the 2009 Karl Gene Kinsel
 07/15/2020                                      Childs Trust (Heard, Mary) (Entered: 07/15/2020)

                            351                  Notice of Appearance and Request for Notice
                            (3 pgs)              Filed by Mary Elizabeth Heard Filed by on behalf
                                                 of MBF Holdings La Salle LP, formerly MBF
 07/15/2020                                      Partnership (Heard, Mary) (Entered: 07/15/2020)

                            352                  Notice of Appearance and Request for Notice
                            (3 pgs)              Filed by Mary Elizabeth Heard Filed by on behalf
                                                 of Kelly Vesper, as Trustee of the Kelly Vesper
                                                 Heritage Trust, and as Executrix of the Estate of
                                                 John B. Vesper, Deceased and the Estate of Leslie
                                                 T. Vesper, Deceased (Heard, Mary) (Entered:
 07/15/2020                                      07/15/2020)

                            353                  Notice of Appearance and Request for Notice
                            (4 pgs)              Filed by Jason Lee Boland Filed by on behalf of
                                                 Official Committee Of Unsecured Creditors
 07/15/2020                                      (Boland, Jason) (Entered: 07/15/2020)

                            354                  Motion to Appear pro hac vice Robert J. Stark.
                            (1 pg)               Filed by Creditor Committee Official Committee
                                                 Of Unsecured Creditors (Boland, Jason) (Entered:
 07/15/2020                                      07/15/2020)

                            355                  Motion to Appear pro hac vice Bennett S.
                            (1 pg)               Silverberg. Filed by Creditor Committee Official
                                                 Committee Of Unsecured Creditors (Boland,
 07/15/2020                                      Jason) (Entered: 07/15/2020)

                            356                  Notice of Video Platform Upgrade. Effective
                            (1 pg)               August 1, 2020, the Court will utilize
                                                 GoToMeeting for all video hearings. See attached.
 07/15/2020                                      (emiller) (Entered: 07/15/2020)

                            359                  Motion to Appear pro hac vice Daniel A.
                            (1 pg)               Lowenthal. Filed by Creditor Brandes Investment
                                                 Partners LP (BeverlyWright) (Entered:
 07/15/2020                                      07/16/2020)

                            360                  Motion to Appear pro hac vice Lance M. Kodish.
                            (1 pg)               Filed by Creditor Brandes Investment Partners LP
 07/15/2020                                      (BeverlyWright) (Entered: 07/16/2020)

                            357
                                                 Motion to Appear pro hac vice Jeffrey L. Jonas.




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 57 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 57 of 1639
                                                                           0057


                            (1 pg)               Filed by Creditor Committee Official Committee
                                                 Of Unsecured Creditors (Gluck, Kristian)
 07/16/2020                                      (Entered: 07/16/2020)

                            358                  Motion to Appear pro hac vice Sunni P. Beville.
                            (1 pg)               Filed by Creditor Committee Official Committee
                                                 Of Unsecured Creditors (Gluck, Kristian)
 07/16/2020                                      (Entered: 07/16/2020)

                            361                  Notice of Appearance and Request for Notice
                            (1 pg)               Filed by Chrysanthe E Vassiles Filed by on behalf
                                                 of Douglas Houck Trust (Vassiles, Chrysanthe)
 07/16/2020                                      (Entered: 07/16/2020)

                            362                  Response Response by the Commonwealth of
                            (212 pgs; 4 docs)    Pennsylvania in Opposition to the Debtors'
                                                 Emergency Motion for Entry of an Order
                                                 Enforcing the Automatic Stay Against the Office
                                                 of the Attorney General of the Commonwealth of
                                                 Pennsylvania (related document(s):323
                                                 Emergency Motion). Filed by Commonwealth of
                                                 Pennsylvania (Attachments: # 1 Exhibit # 2
                                                 Exhibit # 3 Proposed Order) (Kovalchick,
 07/16/2020                                      Anthony) (Entered: 07/16/2020)

                            363                  Brief (Filed By Commonwealth of
                            (17 pgs)             Pennsylvania ).(Related document(s):362
                                                 Response) (Kovalchick, Anthony) (Entered:
 07/16/2020                                      07/16/2020)

                            364                  Witness List, Exhibit List (Filed By
                            (271 pgs; 14 docs)   Commonwealth of Pennsylvania ).(Related
                                                 document(s):362 Response) (Attachments: # 1
                                                 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4 Exhibit
                                                 D # 5 Exhibit E # 6 Exhibit F # 7 Exhibit G # 8
                                                 Exhibit H # 9 Exhibit I # 10 Exhibit J # 11
                                                 Exhibit K # 12 Exhibit L # 13 Exhibit M)
 07/16/2020                                      (Swartley, Jason) (Entered: 07/16/2020)

                            365                  Creditor Request for Notices (Filed By Oracle
                            (2 pgs)              America, Inc. ). (Christianson, Shawn) (Entered:
 07/16/2020                                      07/16/2020)

                            366
                            (62 pgs)             Affidavit Re: Affidavit of Service of Marc Orfitelli
                                                 (Filed By Epiq Corporate Restructuring LLC ).
                                                 (Related document(s):14 Emergency Motion, 22




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 58 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 58 of 1639
                                                                           0058


                                                 Emergency Motion, 27 Emergency Motion, 35
                                                 Motion to Assume/Reject, 36 Generic Motion, 37
                                                 Declaration, 42 Notice, 44 Agenda, 49 Exhibit
                                                 List, Witness List, 82 Generic Order, 91 Order for
                                                 Joint Administration, 109 Order on Emergency
                                                 Motion, 128 Order Setting Hearing, 129 Order on
                                                 Emergency Motion, 131 Order on Emergency
                                                 Motion, 132 Order on Emergency Motion, 133
                                                 Order on Emergency Motion, 136 Order on
                                                 Emergency Motion, 137 Order on Emergency
                                                 Motion, 138 Order on Emergency Motion, 139
                                                 Order Setting Hearing, 140 Order on Emergency
                                                 Motion, 141 Order on Emergency Motion, 143
                                                 Order on Emergency Motion, 144 Order on
                                                 Emergency Motion, 179 Order on Motion to Seal)
 07/16/2020                                      (Garabato, Sid) (Entered: 07/16/2020)

                            367                  Motion for Entry of an Order (I) Setting Bar
                            (59 pgs; 2 docs)     Dates for Filing Proofs of Claim, Including
                                                 Requests for Payment Under Section 503(b)(9),
                                                 (II) Establishing Amended Schedules Bar Date
                                                 and Rejection Damages Bar Date, (III) Approving
                                                 the Form of and Manner for Filing Proofs of
                                                 Claim, Including Section 503(b)(9) Requests, (IV)
                                                 Approving Notice of Bar Dates, and (V) Granting
                                                 Related Relief Filed by Debtor Chesapeake
                                                 Energy Corporation (Attachments: # 1 Proposed
                                                 Order) (Cavenaugh, Matthew) (Entered:
 07/16/2020                                      07/16/2020)

                            368                  Application to Employ Alvarez & Marsal North
                            (69 pgs; 2 docs)     America, LLC as Restructuring Advisors.
                                                 Objections/Request for Hearing Due in 21 days.
                                                 Filed by Debtor Chesapeake Energy Corporation
                                                 (Attachments: # 1 Proposed Order) (Cavenaugh,
 07/16/2020                                      Matthew) (Entered: 07/16/2020)

                            369                  Application to Employ Rothschild & Co US Inc.
                            (235 pgs; 2 docs)    and Intrepid Partners, LLC as Investment
                                                 Bankers. Objections/Request for Hearing Due in
                                                 21 days. Filed by Debtor Chesapeake Energy
                                                 Corporation (Attachments: # 1 Proposed Order)
 07/16/2020                                      (Cavenaugh, Matthew) (Entered: 07/16/2020)

                            370
                                                 Application to Employ Jackson Walker LLP as
                            (67 pgs; 2 docs)
                                                 Co-Counsel and Conflicts Counsel for the Debtors
                                                 and Debtors In Possession. Objections/Request




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 59 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 59 of 1639
                                                                           0059


                                                 for Hearing Due in 21 days. Filed by Debtor
                                                 Chesapeake Energy Corporation (Attachments: #
                                                 1 Proposed Order) (Cavenaugh, Matthew)
 07/16/2020                                      (Entered: 07/16/2020)

                            371                  Objection (Limited) (related document(s):27
                            (4 pgs)              Emergency Motion). Filed by Federal Energy
                                                 Regulatory Commission (Kincheloe, Richard)
 07/16/2020                                      (Entered: 07/16/2020)

                            372                  Application to Employ Kirkland & Ellis LLP and
                            (154 pgs; 2 docs)    Kirkland & Ellis International LLP as Attorneys
                                                 for the Debtors and Debtors In Possession.
                                                 Objections/Request for Hearing Due in 21 days.
                                                 Filed by Debtor Chesapeake Energy Corporation
                                                 (Attachments: # 1 Proposed Order) (Cavenaugh,
 07/16/2020                                      Matthew) (Entered: 07/16/2020)

                            373                  Motion to Appear pro hac vice Mark A. Speiser.
                            (1 pg)               Filed by Creditor Castleton Commodities
                                                 Merchant Trading L.P. (Merola, Frank) (Entered:
 07/16/2020                                      07/16/2020)

                            374                  Motion to Appear pro hac vice Harold A. Olsen.
                            (1 pg)               Filed by Creditor Castleton Commodities
                                                 Merchant Trading L.P. (Merola, Frank) (Entered:
 07/16/2020                                      07/16/2020)

                            375                  Affidavit Re: Affidavit of Service of Marc Orfitelli
                            (6998 pgs)           (Filed By Epiq Corporate Restructuring LLC ).
                                                 (Related document(s):82 Generic Order)
 07/16/2020                                      (Garabato, Sid) (Entered: 07/16/2020)

                            376                  Affidavit Re: Affidavit of Service of Marc Orfitelli
                            (229 pgs)            (Filed By Epiq Corporate Restructuring LLC ).
                                                 (Related document(s):82 Generic Order)
 07/16/2020                                      (Garabato, Sid) (Entered: 07/16/2020)

                            377                  Notice of Appearance and Request for Notice
                            (3 pgs)              Filed by Mary Elizabeth Heard Filed by on behalf
                                                 of Kelly Vesper, Individually, as Trustee of the
                                                 Kelly Vesper Heritage Trust, and as Executrix of
                                                 the Estate of John B. Vesper, Deceased and the
                                                 Estate of Leslie T. Vesper, Deceased (Heard,
 07/16/2020                                      Mary) (Entered: 07/16/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 60 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 60 of 1639
                                                                           0060


                            378                  Notice of Appearance and Request for Notice
                            (3 pgs)              Filed by Mary Elizabeth Heard Filed by on behalf
                                                 of Leojua, Ltd. (Heard, Mary) (Entered:
 07/16/2020                                      07/16/2020)

                            379                  Affidavit Re: Affidavit of Service of Marc Orfitelli
                            (18 pgs)             (Filed By Epiq Corporate Restructuring LLC ).
                                                 (Related document(s):287 Generic Motion, 288
                                                 Generic Motion, 289 Generic Motion, 290
                                                 Generic Motion) (Garabato, Sid) (Entered:
 07/16/2020                                      07/16/2020)

                            380                  Affidavit Re: Affidavit of Service of Marc Orfitelli
                            (15 pgs)             (Filed By Epiq Corporate Restructuring LLC ).
                                                 (Related document(s):312 Stipulation) (Garabato,
 07/16/2020                                      Sid) (Entered: 07/16/2020)

                            381                  Motion to Seal the Names of Certain Confidential
                            (12 pgs; 2 docs)     Parties In Interest Related to Kirkland & Ellis
                                                 LLP and Kirkland & Ellis International LLP's
                                                 Retention Application Filed by Debtor
                                                 Chesapeake Energy Corporation (Attachments: #
                                                 1 Proposed Order) (Cavenaugh, Matthew)
 07/16/2020                                      (Entered: 07/16/2020)

                            382                  Sealed Document Exhibit A to Kirkland & Ellis
                            (115 pgs)            LLP and Kirkland & Ellis International LLP
                                                 Retention Application (Filed By Chesapeake
                                                 Energy Corporation ). (Cavenaugh, Matthew)
 07/16/2020                                      (Entered: 07/16/2020)

                            383                  Order Granting Motion To Appear pro hac vice -
                            (1 pg)               Joseph Betsko (Related Doc # 336) Signed on
 07/16/2020                                      7/16/2020. (emiller) (Entered: 07/16/2020)

                            384                  Order Granting Motion To Appear pro hac vice -
                            (1 pg)               David D. Piper (Related Doc # 337) Signed on
 07/16/2020                                      7/16/2020. (emiller) (Entered: 07/16/2020)

                            385                  Order Granting Motion To Appear pro hac vice -
                            (1 pg)               Stefan Perovich (Related Doc # 338) Signed on
 07/16/2020                                      7/16/2020. (emiller) (Entered: 07/16/2020)

                            386                  Order Granting Motion To Appear pro hac vice -
                            (1 pg)               Bryce Cullinane (Related Doc # 339) Signed on
 07/16/2020                                      7/16/2020. (emiller) (Entered: 07/16/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 61 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 61 of 1639
                                                                           0061


                            387                  Order Granting Motion To Appear pro hac vice -
                            (1 pg)               Robert J. Stark (Related Doc # 354) Signed on
 07/16/2020                                      7/16/2020. (emiller) (Entered: 07/16/2020)

                            388                  Order Granting Motion To Appear pro hac vice -
                            (1 pg)               Bennett S. Silverberg (Related Doc # 355) Signed
 07/16/2020                                      on 7/16/2020. (emiller) (Entered: 07/16/2020)

                            389                  Order Granting Motion To Appear pro hac vice -
                            (1 pg)               Jeffrey L. Jonas (Related Doc # 357) Signed on
 07/16/2020                                      7/16/2020. (emiller) (Entered: 07/16/2020)

                            390                  Order Granting Motion To Appear pro hac vice -
                            (1 pg)               Sunni P. Beville (Related Doc # 358) Signed on
 07/16/2020                                      7/16/2020. (emiller) (Entered: 07/16/2020)

                            391                  Order Granting Motion To Appear pro hac vice -
                            (1 pg)               Daniel A. Lowenthal (Related Doc # 359) Signed
 07/16/2020                                      on 7/16/2020. (emiller) (Entered: 07/16/2020)

                            392                  Order Granting Motion To Appear pro hac vice -
                            (1 pg)               Lance M. Kodish (Related Doc # 360) Signed on
 07/16/2020                                      7/16/2020. (emiller) (Entered: 07/16/2020)

                            393                  Order Granting Motion To Appear pro hac vice -
                            (1 pg)               Mark A. Speiser (Related Doc # 373) Signed on
 07/16/2020                                      7/16/2020. (emiller) (Entered: 07/16/2020)

                            394                  Order Granting Motion To Appear pro hac vice -
                            (1 pg)               Harold A. Olsen (Related Doc # 374) Signed on
 07/16/2020                                      7/16/2020. (emiller) (Entered: 07/16/2020)

                            395                  AO 435 TRANSCRIPT ORDER FORM (Daily
                            (1 pg)               (24 hours)) by Matthew D. Cavenaugh. This is to
                                                 order a transcript of 07/17/2020 before Judge
                                                 David R. Jones. Court Reporter/Transcriber:
                                                 Veritext Legal Solutions (Filed By Chesapeake
                                                 Energy Corporation ). (Cavenaugh, Matthew)
                                                 Electronically forwarded to Veritext Legal
                                                 Solutions on July 20, 2020. Estimated completion
                                                 date: July 21, 2020. Modified on 7/20/2020
 07/17/2020                                      (ClaudiaGutierrez). (Entered: 07/17/2020)

                            396                  Notice of Appearance and Request for Notice
                            (1 pg)               Filed by Tara L Grundemeier Filed by on behalf
                                                 of Orange County (Grundemeier, Tara) (Entered:




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 62 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 62 of 1639
                                                                           0062


 07/17/2020                                      07/17/2020)

                            397                  Notice of Appearance and Request for Notice
                            (3 pgs)              Filed by Mary Elizabeth Heard Filed by on behalf
                                                 of MBF Holdings La Salle LP, formerly MBF
 07/17/2020                                      Partnership (Heard, Mary) (Entered: 07/17/2020)

                            398                  Notice of Appearance and Request for Notice
                            (3 pgs)              Filed by Mary Elizabeth Heard Filed by on behalf
                                                 of Dan W. Kinsel III, Trustee of the 2009 Dan and
                                                 Leslie Kinsel Childrens Trust and Karl Gene
                                                 Kinsel, Trustee of the 2009 Karl Gene Kinsel
 07/17/2020                                      Childs Trust (Heard, Mary) (Entered: 07/17/2020)

                            399                  Notice of Appearance and Request for Notice
                            (3 pgs)              Filed by Mary Elizabeth Heard Filed by on behalf
                                                 of Gates Mineral Company, LTD and related
                                                 entities and individuals (Heard, Mary) (Entered:
 07/17/2020                                      07/17/2020)

                            400                  Notice of Appearance and Request for Notice
                            (3 pgs)              Filed by Mary Elizabeth Heard Filed by on behalf
                                                 of Dilworth Group (Heard, Mary) (Entered:
 07/17/2020                                      07/17/2020)

                            401                  Notice of Appearance and Request for Notice
                            (3 pgs)              Filed by Mary Elizabeth Heard Filed by on behalf
                                                 of Wier Group (Heard, Mary) (Entered:
 07/17/2020                                      07/17/2020)

                            402                  Motion to Appear pro hac vice . Filed by Creditor
                            (1 pg)               The Bank of New York Mellon Trust Company,
 07/17/2020                                      N.A. (Pitta, Thomas) (Entered: 07/17/2020)

                            403                  Motion to Appear pro hac vice . Filed by Creditor
                            (1 pg)               Dallas/Fort Worth International Airport Board,
                                                 City of Dallas, City of Fort Worth (Orenstein,
 07/17/2020                                      Rosa) (Entered: 07/17/2020)

                            404                  Notice of Appearance and Request for Notice
                            (3 pgs)              Filed by Rosa R Orenstein Filed by on behalf of
                                                 Dallas/Fort Worth International Airport Board,
                                                 City of Dallas, City of Fort Worth (Orenstein,
 07/17/2020                                      Rosa) (Entered: 07/17/2020)

                            405
                                                 Statement in Accordance with FRBP 2019(a)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 63 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 63 of 1639
                                                                           0063


                            (8 pgs)              (Filed By Dan W. Kinsel III, Trustee of the 2009
                                                 Dan and Leslie Kinsel Childrens Trust and Karl
                                                 Gene Kinsel, Trustee of the 2009 Karl Gene
                                                 Kinsel Childs Trust, Dilworth Group, Gates
                                                 Mineral Company, LTD and related entities and
                                                 individuals, Kelly Vesper, Individually, as Trustee
                                                 of the Kelly Vesper Heritage Trust, and as
                                                 Executrix of the Estate of John B. Vesper,
                                                 Deceased and the Estate of Leslie T. Vesper,
                                                 Deceased, Leojua, Ltd., MBF Holdings La Salle
                                                 LP, formerly MBF Partnership, Wier Group ).
 07/17/2020                                      (Heard, Mary) (Entered: 07/17/2020)

                            406                  Notice of Appearance and Request for Notice
                            (2 pgs)              Filed by Duane J Brescia Filed by on behalf of
                                                 Seitel Data, Ltd. (Brescia, Duane) (Entered:
 07/17/2020                                      07/17/2020)

                            407                  Motion for Relief from Stay to Permit a Pending
                            (52 pgs; 5 docs)     Appeal to Proceed. Fee Amount $181. Filed by
                                                 Creditor Dallas/Fort Worth International Airport
                                                 Board, City of Dallas, City of Fort Worth Hearing
                                                 scheduled for 8/12/2020 at 02:00 PM at Houston,
                                                 Courtroom 400 (DRJ). (Attachments: # 1
                                                 Declaration in Support (Part 1) # 2 Declaration in
                                                 Support (Part 2) # 3 Proposed Order # 4 Service
 07/17/2020                                      List) (Orenstein, Rosa) (Entered: 07/17/2020)

                            408                  Notice of Appearance and Request for Notice
                            (2 pgs)              Filed by Michael P Ridulfo Filed by on behalf of
                                                 VFS Leasing Co. (Ridulfo, Michael) (Entered:
 07/17/2020                                      07/17/2020)

                            409                  AO 435 TRANSCRIPT ORDER FORM (Daily
                            (1 pg)               (24 hours)) by Jason L. Swartley. This is to order
                                                 a transcript of 07/17/2020 Debtors' Emergency
                                                 Hrg to Enforce Automatic Stay before Judge
                                                 David R. Jones. Court Reporter/Transcriber:
                                                 Veritext Legal Solutions (Filed By
                                                 Commonwealth of Pennsylvania ). (Swartley,
                                                 Jason) Copy request forwarded to Veritext Legal
                                                 Solutions on July 20, 2020. Estimated completion
                                                 date: July 21, 2020. Modified on 7/20/2020
 07/17/2020                                      (ClaudiaGutierrez). (Entered: 07/17/2020)

                            410                  Motion to Appear pro hac vice Michael R.
                            (1 pg)               Proctor. Filed by Creditor ECorp Resource




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 64 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 64 of 1639
                                                                           0064


                                                 Partners 1, LP (BeverlyWright) (Entered:
 07/17/2020                                      07/17/2020)

                            411                  Motion to Appear pro hac vice Michael R.
                            (1 pg)               Proctor. Filed by Creditor Minion Trail Ltd
 07/17/2020                                      (BeverlyWright) (Entered: 07/17/2020)

                            412                  Motion to Appear pro hac vice Michael R.
                            (1 pg)               Proctor. Filed by Creditor Rock Creek Ranch Ltd
 07/17/2020                                      (BeverlyWright) (Entered: 07/17/2020)

                            413                  Courtroom Minutes. Time Hearing Held: 9:00 am.
                            (2 pgs)              Appearances: SEE ATTACHED. (Related
                                                 document(s):323 Emergency Motion) For the
                                                 reasons stated on the record, the motion is
                                                 granted. Mr. Donovan to submit a proposed form
                                                 of order with Mr. Kovalchick approving as to
                                                 form only by Wednesday, 7/22. (emiller)
 07/17/2020                                      (Entered: 07/17/2020)

                            414                     PDF with attached Audio File. Court Date &
                            (1 pg)               Time [ 7/17/2020 8:58:40 AM ]. File Size [ 16648
                                                 KB ]. Run Time [ 00:34:41 ]. (Motion to Enforce
 07/17/2020                                      Automatic Stay). (admin). (Entered: 07/17/2020)

                            415                  Notice Cactus Wellhead, LLC's Notice of
                            (207 pgs)            Reclamation Demand. Filed by Cactus Wellhead,
 07/17/2020                                      LLC (Bailey, James) (Entered: 07/17/2020)

                            416                  Notice of Appearance and Request for Notice
                            (2 pgs)              Filed by Joseph S Betsko Filed by on behalf of
                                                 Commonwealth of Pennsylvania (Betsko, Joseph)
 07/17/2020                                      (Entered: 07/17/2020)

                            417                  Stipulation and Agreed Order Signed on
                            (4 pgs)              7/17/2020 (Related document(s):312 Stipulation)
 07/17/2020                                      (emiller) (Entered: 07/17/2020)

                            418                  BNC Certificate of Mailing. (Related document
                            (4 pgs)              (s):329 Order on Motion to Appear pro hac vice)
                                                 No. of Notices: 41. Notice Date 07/17/2020.
 07/17/2020                                      (Admin.) (Entered: 07/17/2020)

                            419                  BNC Certificate of Mailing. (Related document
                            (4 pgs)              (s):330 Order on Motion to Appear pro hac vice)
                                                 No. of Notices: 41. Notice Date 07/17/2020.




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 65 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 65 of 1639
                                                                           0065


 07/17/2020                                      (Admin.) (Entered: 07/17/2020)

                            420                  BNC Certificate of Mailing. (Related document
                            (4 pgs)              (s):331 Order on Motion to Appear pro hac vice)
                                                 No. of Notices: 41. Notice Date 07/17/2020.
 07/17/2020                                      (Admin.) (Entered: 07/17/2020)

                            421                  BNC Certificate of Mailing. (Related document
                            (4 pgs)              (s):332 Order on Motion to Appear pro hac vice)
                                                 No. of Notices: 41. Notice Date 07/17/2020.
 07/17/2020                                      (Admin.) (Entered: 07/17/2020)

                            422                  BNC Certificate of Mailing. (Related document
                            (4 pgs)              (s):333 Order on Motion to Appear pro hac vice)
                                                 No. of Notices: 41. Notice Date 07/17/2020.
 07/17/2020                                      (Admin.) (Entered: 07/17/2020)

                            423                  BNC Certificate of Mailing. (Related document
                            (4 pgs)              (s):334 Order on Motion to Appear pro hac vice)
                                                 No. of Notices: 41. Notice Date 07/17/2020.
 07/17/2020                                      (Admin.) (Entered: 07/17/2020)

                            424                  Motion for Relief from Stay Eagle Ford Royalty
                            (289 pgs; 15 docs)   Owner Plaintiffs' MDL Litigation. Fee Amount
                                                 $181. Filed by Creditor c/o Annie Catmull
                                                 Royalty Owner Plaintiffs c/o Hearing scheduled
                                                 for 8/12/2020 at 02:00 PM at Houston, Courtroom
                                                 400 (DRJ). (Attachments: # 1 Exhibit B # 2
                                                 Exhibit C # 3 Exhibit D # 4 Exhibit E # 5 Exhibit
                                                 F # 6 Exhibit G # 7 Exhibit H # 8 Exhibit I # 9
                                                 Exhibit J # 10 Exhibit K # 11 Exhibit L # 12
                                                 Exhibit M # 13 Exhibit N # 14 Proposed Order)
 07/18/2020                                      (Catmull, Annie) (Entered: 07/18/2020)

                                                 Receipt of Motion for Relief From Stay(20-
                                                 33233) [motion,mrlfsty] ( 181.00) Filing Fee.
                                                 Receipt number 22286254. Fee amount $ 181.00.
 07/19/2020                                      (U.S. Treasury) (Entered: 07/19/2020)

                            425                  Certificate of Service (Filed By c/o Annie Catmull
                            (14 pgs)             Royalty Owner Plaintiffs c/o ).(Related document
                                                 (s):424 Motion for Relief From Stay) (Catmull,
 07/19/2020                                      Annie) (Entered: 07/19/2020)

                            426
                            (5 pgs)              BNC Certificate of Mailing. (Related document
                                                 (s):383 Order on Motion to Appear pro hac vice)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 66 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 66 of 1639
                                                                           0066


                                                 No. of Notices: 55. Notice Date 07/19/2020.
 07/19/2020                                      (Admin.) (Entered: 07/19/2020)

                            427                  BNC Certificate of Mailing. (Related document
                            (5 pgs)              (s):384 Order on Motion to Appear pro hac vice)
                                                 No. of Notices: 55. Notice Date 07/19/2020.
 07/19/2020                                      (Admin.) (Entered: 07/19/2020)

                            428                  BNC Certificate of Mailing. (Related document
                            (5 pgs)              (s):385 Order on Motion to Appear pro hac vice)
                                                 No. of Notices: 55. Notice Date 07/19/2020.
 07/19/2020                                      (Admin.) (Entered: 07/19/2020)

                            429                  BNC Certificate of Mailing. (Related document
                            (5 pgs)              (s):386 Order on Motion to Appear pro hac vice)
                                                 No. of Notices: 55. Notice Date 07/19/2020.
 07/19/2020                                      (Admin.) (Entered: 07/19/2020)

                            430                  BNC Certificate of Mailing. (Related document
                            (5 pgs)              (s):387 Order on Motion to Appear pro hac vice)
                                                 No. of Notices: 55. Notice Date 07/19/2020.
 07/19/2020                                      (Admin.) (Entered: 07/19/2020)

                            431                  BNC Certificate of Mailing. (Related document
                            (5 pgs)              (s):388 Order on Motion to Appear pro hac vice)
                                                 No. of Notices: 55. Notice Date 07/19/2020.
 07/19/2020                                      (Admin.) (Entered: 07/19/2020)

                            432                  BNC Certificate of Mailing. (Related document
                            (5 pgs)              (s):389 Order on Motion to Appear pro hac vice)
                                                 No. of Notices: 55. Notice Date 07/19/2020.
 07/19/2020                                      (Admin.) (Entered: 07/19/2020)

                            433                  BNC Certificate of Mailing. (Related document
                            (5 pgs)              (s):390 Order on Motion to Appear pro hac vice)
                                                 No. of Notices: 55. Notice Date 07/19/2020.
 07/19/2020                                      (Admin.) (Entered: 07/19/2020)

                            434                  BNC Certificate of Mailing. (Related document
                            (5 pgs)              (s):391 Order on Motion to Appear pro hac vice)
                                                 No. of Notices: 55. Notice Date 07/19/2020.
 07/19/2020                                      (Admin.) (Entered: 07/19/2020)

                            435
                                                 BNC Certificate of Mailing. (Related document
                            (5 pgs)
                                                 (s):392 Order on Motion to Appear pro hac vice)
                                                 No. of Notices: 55. Notice Date 07/19/2020.




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 67 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 67 of 1639
                                                                           0067


 07/19/2020                                      (Admin.) (Entered: 07/19/2020)

                            436                  BNC Certificate of Mailing. (Related document
                            (9 pgs)              (s):393 Order on Motion to Appear pro hac vice)
                                                 No. of Notices: 55. Notice Date 07/19/2020.
 07/19/2020                                      (Admin.) (Entered: 07/19/2020)

                            437                  BNC Certificate of Mailing. (Related document
                            (5 pgs)              (s):394 Order on Motion to Appear pro hac vice)
                                                 No. of Notices: 55. Notice Date 07/19/2020.
 07/19/2020                                      (Admin.) (Entered: 07/19/2020)

                            438                  Notice of Appearance and Request for Notice
                            (3 pgs)              Filed by James Paul Barnett Jr Filed by on behalf
                                                 of Joey Gloyna (Barnett, James) (Entered:
 07/20/2020                                      07/20/2020)

                            439                  Notice of Appearance and Request for Notice
                            (3 pgs)              Filed by James Paul Barnett Jr Filed by on behalf
                                                 of Joey Gloyna (Barnett, James) (Entered:
 07/20/2020                                      07/20/2020)

                                                 Receipt Number 190174, Fee Amount $181 re:
                                                 407 Motion for Relief. (Olin) (Entered:
 07/20/2020                                      07/20/2020)

                            440                  AO 435 TRANSCRIPT ORDER FORM (Daily
                            (1 pg)               (24 hours)) by Marty L. Brimmage, Jr.. This is to
                                                 order a transcript of the July 17, 2020 Hearing
                                                 before Judge David R. Jones. Court
                                                 Reporter/Transcriber: Veritext Legal Solutions
                                                 (Filed By Franklin Advisers, Inc., as Investment
                                                 Manager on Behalf of Certain Funds and
                                                 Accounts ). (Brimmage, Marty) Copy request
                                                 forwarded to Veritext Legal Solutions on July 21,
                                                 2020. Estimated completion date: July 22, 2020.
                                                 Modified on 7/21/2020 (ClaudiaGutierrez).
 07/20/2020                                      (Entered: 07/20/2020)

                            441                  Objection (Limited) (related document(s):35
                            (4 pgs)              Motion to Assume/Reject). Filed by Federal
                                                 Energy Regulatory Commission (Kincheloe,
 07/20/2020                                      Richard) (Entered: 07/20/2020)

                            442
                            (1 pg)               Order Granting Motion To Appear pro hac vice -
                                                 Thomas A. Pitta (Related Doc # 402) Signed on




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 68 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 68 of 1639
                                                                           0068


 07/20/2020                                      7/20/2020. (emiller) (Entered: 07/20/2020)

                            443                  Order Granting Motion To Appear pro hac vice -
                            (1 pg)               Nathan M. Nichols (Related Doc # 403) Signed
 07/20/2020                                      on 7/20/2020. (emiller) (Entered: 07/20/2020)

                            444                  Order Granting Motion To Appear pro hac vice -
                            (1 pg)               Michael R. Proctor (Related Doc # 410) Signed
 07/20/2020                                      on 7/20/2020. (emiller) (Entered: 07/20/2020)

                            445                  Order Granting Motion To Appear pro hac vice -
                            (1 pg)               Michael R. Proctor (Related Doc # 411) Signed
 07/20/2020                                      on 7/20/2020. (emiller) (Entered: 07/20/2020)

                            446                  Order Granting Motion To Appear pro hac vice -
                            (1 pg)               Michael R. Proctor (Related Doc # 412) Signed
 07/20/2020                                      on 7/20/2020. (emiller) (Entered: 07/20/2020)

                            447                  Emergency Motion to Amend the Order (I)
                            (66 pgs; 3 docs)     Approving Notification and Hearing Procedures
                                                 for Certain Transfers of Common Stock and
                                                 Preferred Stock and (II) Granting Related Relief
                                                 Filed by Debtor Chesapeake Energy Corporation
                                                 (Attachments: # 1 Proposed Order # 2 Redline)
 07/20/2020                                      (Cavenaugh, Matthew) (Entered: 07/20/2020)

                            448                  Order Authorizing the Debtors to File Under Seal
                            (3 pgs)              the Names of Certain Confidential Parties in
                                                 Interest Related to Kirkland & Ellis, LLP and
                                                 Kirkland & Ellis, LLP's Retention Application
                                                 (Related Doc # 381) Signed on 7/20/2020.
 07/20/2020                                      (emiller) (Entered: 07/21/2020)

                            449                  AO 435 TRANSCRIPT ORDER FORM (Daily
                            (1 pg)               (24 hours)) by Jason Boland. This is to order a
                                                 transcript of June 29, 2020 hearing before Judge
                                                 David R. Jones. Court Reporter/Transcriber:
                                                 Access Transcripts (Filed By Official Committee
                                                 Of Unsecured Creditors ). (Boland, Jason)
                                                 Electronically forwarded to the original
                                                 transcriber: Access Transcripts on 7-21-2020.
                                                 Estimated completion date: 7-22-2020. Modified
                                                 on 7/21/2020 (MelissaMorgan). (Entered:
 07/21/2020                                      07/21/2020)

                            450
                                                 AO 435 TRANSCRIPT ORDER FORM (Daily




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 69 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 69 of 1639
                                                                           0069


                            (1 pg)               (24 hours)) by Jason Boland. This is to order a
                                                 transcript of July 17, 2020 hearing before Judge
                                                 David R. Jones. Court Reporter/Transcriber:
                                                 Veritext Legal Solutions (Filed By Official
                                                 Committee Of Unsecured Creditors ). (Boland,
                                                 Jason) Electronically forwarded to Veritext Legal
                                                 Solutions on 7-21-2020. Estimated completion
                                                 date: 7-22-2020. Modified on 7/21/2020
 07/21/2020                                      (MelissaMorgan). (Entered: 07/21/2020)

                            451                  Declaration re: Service (Filed By c/o Annie
                            (2 pgs)              Catmull Royalty Owner Plaintiffs c/o ).(Related
                                                 document(s):424 Motion for Relief From Stay,
                                                 425 Certificate) (Catmull, Annie) (Entered:
 07/21/2020                                      07/21/2020)

                            452                  Motion to Seal Debtors' Motion for Entry of an
                            (13 pgs; 2 docs)     Order Authorizing the Debtors to File Under Seal
                                                 the Names of Certain Confidential Parties In
                                                 Interest Related to Rothschild & Co US Inc. and
                                                 Intrepid Partners, LLC's Retention Application
                                                 Filed by Debtor Chesapeake Energy Corporation
                                                 (Attachments: # 1 Proposed Order) (Cavenaugh,
 07/21/2020                                      Matthew) (Entered: 07/21/2020)

                            453                  Sealed Document Related to ECF No. 452 (Filed
                            (84 pgs)             By Chesapeake Energy Corporation ).
 07/21/2020                                      (Cavenaugh, Matthew) (Entered: 07/21/2020)

                            454                  Sealed Document Related to ECF No. 452 (Filed
                            (94 pgs)             By Chesapeake Energy Corporation ).
 07/21/2020                                      (Cavenaugh, Matthew) (Entered: 07/21/2020)

                            455                  Letter from Shareholder Mary Margaret Nilan
 07/21/2020                 (3 pgs)              (JeannieAndresen) (Entered: 07/21/2020)

                            456                  Amended Order (I) Approving Notification and
                            (29 pgs)             Hearing Procedures for Certain Transfers of
                                                 Common Stock and Preferred Stock (II) Granting
                                                 Related Relief Granting Emergency Motion
                                                 (Related Doc # 447) Signed on 7/21/2020.
 07/21/2020                                      (emiller) (Entered: 07/21/2020)

                            457
                            (2 pgs)              Notice of Appearance and Request for Notice
                                                 Filed by Callan Clark Searcy Filed by on behalf
                                                 of Genesis Endeavors, LLC (Searcy, Callan)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 70 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 70 of 1639
                                                                           0070


 07/21/2020                                      (Entered: 07/21/2020)

                            458                  Notice of Appearance and Request for Notice
                            (2 pgs)              Filed by John Thomas Oldham Filed by on behalf
                                                 of Well Water Solutions and Rentals, Inc.
 07/21/2020                                      (Oldham, John Thomas) (Entered: 07/21/2020)

                            459                  Stipulation By Chesapeake Energy Corporation
                            (6 pgs)              and Castleton Commodities Merchant Trading
                                                 L.P.. Does this document include an agreed order
                                                 or otherwise request that the judge sign a
                                                 document? Yes. (Filed By Chesapeake Energy
                                                 Corporation ). (Cavenaugh, Matthew) (Entered:
 07/21/2020                                      07/21/2020)

                            460                  Proposed Order RE: Amended Order (I)
                            (50 pgs; 2 docs)     Approving Continuation of the Surety Bond
                                                 Program and (II) Granting Related Relief (Filed
                                                 By Chesapeake Energy Corporation ).(Related
                                                 document(s):13 Emergency Motion, 138 Order on
                                                 Emergency Motion) (Attachments: # 1 Redline)
 07/22/2020                                      (Cavenaugh, Matthew) (Entered: 07/22/2020)

                            461                  Letter from Shareholder Jason Dean
 07/22/2020                 (7 pgs)              (JeannieAndresen) (Entered: 07/22/2020)

                            462                  Notice of Appearance and Request for Notice
                            (3 pgs)              Filed by Nicholas Christian Glenos Filed by on
                                                 behalf of Cactus Wellhead, LLC (Glenos,
 07/22/2020                                      Nicholas) (Entered: 07/22/2020)

                                                 Adversary Case 4:20-ap-3231 Closed. (aalo)
 07/22/2020                                      (Entered: 07/22/2020)

                            463                  Debtors Master Service List (Filed By Epiq
                            (46 pgs)             Corporate Restructuring LLC ). (Garabato, Sid)
 07/22/2020                                      (Entered: 07/22/2020)

                            464                  Proposed Order Submission After Hearing (Filed
                            (3 pgs)              By Chesapeake Energy Corporation ).(Related
                                                 document(s):323 Emergency Motion)
 07/22/2020                                      (Cavenaugh, Matthew) (Entered: 07/22/2020)

                            465
                                                 Notice to Chesapeake Energy Corporation of
                            (8 pgs; 2 docs)
                                                 Rule 30(b)(6) Deposition. Filed by Official
                                                 Committee Of Unsecured Creditors (Attachments:




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 71 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 71 of 1639
                                                                           0071


                                                 # 1 Exhibit A) (Harrison, Julie) (Entered:
 07/22/2020                                      07/22/2020)

                            466                  Witness List (Filed By Ruth Middleton ).(Related
                            (182 pgs; 5 docs)    document(s):22 Emergency Motion)
                                                 (Attachments: # 1 Exhibit A - List of Objectors #
                                                 2 Exhibit B - Memorandum Ruling # 3 Exhibit C
                                                 - Pleadings # 4 Exhibit D - Unit Orders) (Hearne,
 07/22/2020                                      William) (Entered: 07/22/2020)

                            467                  Order Regarding Motion to Enforce the
                            (3 pgs)              Automatic Stay Against the Office of The
                                                 Attorney General of the Commonwealth of
                                                 Pennsylvania (Related Doc # 323) Signed on
 07/22/2020                                      7/22/2020. (aalo) (Entered: 07/22/2020)

                            468                  Stipulation and Agreed Order Signed on
 07/22/2020                 (6 pgs)              7/22/2020 (aalo) (Entered: 07/22/2020)

                            469                  Amended Order (I) Approving Continuation of
                            (25 pgs)             the Surety Bond Program and (II) Granting
                                                 Related Relief Signed on 7/22/2020 (Related
                                                 document(s):13 Emergency Motion, 138 Order on
 07/22/2020                                      Emergency Motion) (aalo) (Entered: 07/22/2020)

                            470                  BNC Certificate of Mailing. (Related document
                            (8 pgs)              (s):417 Generic Order) No. of Notices: 57. Notice
 07/22/2020                                      Date 07/22/2020. (Admin.) (Entered: 07/22/2020)

                                                 Receipt of Motion for Relief From Stay(20-
                                                 33233) [motion,mrlfsty] ( 181.00) Filing Fee.
                                                 Receipt number 22296954. Fee amount $ 181.00.
 07/23/2020                                      (U.S. Treasury) (Entered: 07/23/2020)

                            471                  Motion to Appear pro hac vice Steven B. Levine.
                            (1 pg)               Filed by Creditor Committee Official Committee
                                                 Of Unsecured Creditors (Harrison, Julie)
 07/23/2020                                      (Entered: 07/23/2020)

                            472                  Motion to Appear pro hac vice Kenneth J. Aulet.
                            (1 pg)               Filed by Creditor Committee Official Committee
                                                 Of Unsecured Creditors (Harrison, Julie)
 07/23/2020                                      (Entered: 07/23/2020)

                            473
                                                 Motion to Appear pro hac vice Andrew M. Carty.
                            (1 pg)
                                                 Filed by Creditor Committee Official Committee




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                         5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 72 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 72 of 1639
                                                                           0072


                                                 Of Unsecured Creditors (Harrison, Julie)
 07/23/2020                                      (Entered: 07/23/2020)

                            474                  Motion to Appear pro hac vice Michael
                            (1 pg)               Winograd. Filed by Creditor Committee Official
                                                 Committee Of Unsecured Creditors (Harrison,
 07/23/2020                                      Julie) (Entered: 07/23/2020)

                            475                  Motion to Appear pro hac vice Sigmund Wissner-
                            (1 pg)               Gross. Filed by Creditor Committee Official
                                                 Committee Of Unsecured Creditors (Harrison,
 07/23/2020                                      Julie) (Entered: 07/23/2020)

                            476                  Letter from Shareholder Tim Cowen
 07/23/2020                 (2 pgs)              (JeannieAndresen) (Entered: 07/23/2020)

                            477                  Motion to Appear pro hac vice by Stephen M.
                            (1 pg)               Nagle, New York State Office of the Attorney
                                                 General. Filed by Interested Party New York
                                                 State Department of Environmental Conservation
 07/23/2020                                      (Nagle, Stephen) (Entered: 07/23/2020)

                            478                  BNC Certificate of Mailing. (Related document
                            (5 pgs)              (s):442 Order on Motion to Appear pro hac vice)
                                                 No. of Notices: 56. Notice Date 07/23/2020.
 07/23/2020                                      (Admin.) (Entered: 07/23/2020)

                            479                  BNC Certificate of Mailing. (Related document
                            (5 pgs)              (s):443 Order on Motion to Appear pro hac vice)
                                                 No. of Notices: 56. Notice Date 07/23/2020.
 07/23/2020                                      (Admin.) (Entered: 07/23/2020)

                            480                  BNC Certificate of Mailing. (Related document
                            (5 pgs)              (s):444 Order on Motion to Appear pro hac vice)
                                                 No. of Notices: 56. Notice Date 07/23/2020.
 07/23/2020                                      (Admin.) (Entered: 07/23/2020)

                            481                  BNC Certificate of Mailing. (Related document
                            (5 pgs)              (s):445 Order on Motion to Appear pro hac vice)
                                                 No. of Notices: 56. Notice Date 07/23/2020.
 07/23/2020                                      (Admin.) (Entered: 07/23/2020)

                            482                  BNC Certificate of Mailing. (Related document
                            (5 pgs)              (s):446 Order on Motion to Appear pro hac vice)
                                                 No. of Notices: 56. Notice Date 07/23/2020.
 07/23/2020                                      (Admin.) (Entered: 07/23/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 73 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 73 of 1639
                                                                           0073


                            483                  BNC Certificate of Mailing. (Related document
                            (33 pgs)             (s):456 Order on Emergency Motion) No. of
                                                 Notices: 56. Notice Date 07/23/2020. (Admin.)
 07/23/2020                                      (Entered: 07/23/2020)

                            484                  BNC Certificate of Mailing. (Related document
                            (4 pgs)              (s):448 Order on Motion to Seal) No. of Notices:
                                                 1. Notice Date 07/23/2020. (Admin.) (Entered:
 07/23/2020                                      07/23/2020)

                            485                  Stipulation By Chesapeake Energy Corporation
                            (4 pgs)              and ETC Texas Pipeline, Ltd.. Does this
                                                 document include an agreed order or otherwise
                                                 request that the judge sign a document? Yes.
                                                 (Filed By Chesapeake Energy Corporation ).
 07/24/2020                                      (Cavenaugh, Matthew) (Entered: 07/24/2020)

                            486                  Objection Limited Objection of Oasis Pipeline to
                            (4 pgs)              Debtors' Motion for Entry of an Order (I)
                                                 Authorizing Rejection of Certain Executory
                                                 Contracts Effective as of July 1, 2020 and (II)
                                                 Granting Related Relief (related document(s):27
                                                 Emergency Motion). Filed by Oasis Pipeline L.P.
 07/24/2020                                      (Mitchell, John) (Entered: 07/24/2020)

                            487                  Objection of ETC Texas Pipeline, Ltd. to Debtors'
                            (18 pgs)             Motion for Entry of an Order (I) Authorizing
                                                 Rejection of Certain Executory Contracts
                                                 Effective as of July 1, 2020 and (II) Granting
                                                 Related Relief (related document(s):27
                                                 Emergency Motion). Filed by ETC Texas Pipeline
 07/24/2020                                      Ltd. (Mitchell, John) (Entered: 07/24/2020)

                            488                  US Trustee's Notice of Appointment of the
                            (5 pgs)              Committee of Royalty Owners. (Duran, Hector)
 07/24/2020                                      (Entered: 07/24/2020)

                            489                  Letter from Shareholder John Dough
 07/24/2020                 (4 pgs)              (JeannieAndresen) (Entered: 07/24/2020)

                            490
                            (60 pgs; 4 docs)     Motion for Withdrawal of Reference.
                                                 Objections/Request for Hearing Due in 21 days.
                                                 Fee Amount: $ 181. Filed by Creditor ETC Tiger
                                                 Pipeline LLC (Attachments: # 1 Exhibit A -
                                                 Declaration of Luke Fletcher # 2 Exhibit B- Tiger
                                                 Order # 3 Exhibit C - Order on Motion to




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 74 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 74 of 1639
                                                                           0074


 07/24/2020                                      Withdraw) (Mitchell, John) (Entered: 07/24/2020)

                                                  Receipt of Motion for Withdrawal of Reference
                                                  (20-33233) [motion,mwdref] ( 181.00) Filing
                                                  Fee. Receipt number 22302419. Fee amount $
 07/24/2020                                       181.00. (U.S. Treasury) (Entered: 07/24/2020)

                            491                   Emergency Motion ETC Tiger Pipeline LLC's
                            (8 pgs; 2 docs)       Emergency Motion for: (A) Scheduling
                                                  Confrence on ETC Tiger Pipeline LLC's Motion
                                                  to Withdraw Reference of the Debtors' Motion
                                                  for Entry of an Order (I) Authorizing Rejection
                                                  of the Negotiated Rate Firm Transportation
                                                  Agreements and Related Contracts Effective as
                                                  of July 1, 2020 and (II) Related Relief; (B) a
                                                  Continuance and Resetting of the Hearing
                                                  Currently Set for July 31, 2020 On the Motion to
                                                  Reject; and (C) Related Relief Filed by Creditor
                                                  ETC Tiger Pipeline LLC (Attachments: # 1
                                                  Exhibit [Proposed] Order Setting Status
                                                  Conference) (Mitchell, John) (Entered:
 07/24/2020                                       07/24/2020)

                            492                   Objection ETC Tiger Pipeline LLC's Objection
                            (140 pgs; 4 docs)     to Debtors' Motion for Entry of an Order (I)
                                                  Authorizing Rejection of the Negotiated Rate
                                                  Firm Transportation Agreements and Related
                                                  Contracts Effective as of July 1, 2020 and (II)
                                                  Granting Related Relief (related document(s):35
                                                  Motion to Assume/Reject). Filed by ETC Tiger
                                                  Pipeline LLC (Attachments: # 1 Exhibit A - ETC
                                                  Tiger Order # 2 Exhibit B - Fletcher Declaration
                                                  # 3 Exhibit C - Declaration of Steven Hearn)
 07/24/2020                                       (Mitchell, John) (Entered: 07/24/2020)

                            493                   Notice of Appearance and Request for Notice
                            (5 pgs)               Filed by Scott Robert Cheatham Filed by on
                                                  behalf of CGG Services (U.S.), Inc. f/k/a
                                                  Digicon Geophysical Corp. (Cheatham, Scott)
 07/24/2020                                       (Entered: 07/24/2020)

                            494                   BNC Certificate of Mailing. (Related document
                            (7 pgs)               (s):467 Order on Emergency Motion) No. of
                                                  Notices: 57. Notice Date 07/24/2020. (Admin.)
 07/24/2020                                       (Entered: 07/24/2020)

                            495                   BNC Certificate of Mailing. (Related document




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 75 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 75 of 1639
                                                                           0075


                            (10 pgs)              (s):468 Generic Order) No. of Notices: 57.
                                                  Notice Date 07/24/2020. (Admin.) (Entered:
 07/24/2020                                       07/24/2020)

                            496                   BNC Certificate of Mailing. (Related document
                            (29 pgs)              (s):469 Amended Order) No. of Notices: 57.
                                                  Notice Date 07/24/2020. (Admin.) (Entered:
 07/24/2020                                       07/24/2020)

                            497                   Notice of Participation in Deposition. (Related
                            (2 pgs)               document(s):465 Notice) Filed by Official
                                                  Committee of Royalty Owners (Forshey, J)
 07/25/2020                                       (Entered: 07/25/2020)

                            498                   Motion to Appear pro hac vice - James W.
                            (1 pg)                Ducayet. Filed by Creditor MUFG Union Bank,
 07/26/2020                                       N.A. (Quejada, Maegan) (Entered: 07/26/2020)

                            499                   Notice of Appearance and Request for Notice
                            (3 pgs)               Filed by J Robert Forshey Filed by on behalf of
                                                  Official Committee of Royalty Owners (Forshey,
 07/26/2020                                       J) (Entered: 07/26/2020)

                            500                   Notice of Appearance and Request for Notice
                            (3 pgs)               Filed by Suzanne K. Rosen Filed by on behalf of
                                                  Official Committee of Royalty Owners (Rosen,
 07/26/2020                                       Suzanne) (Entered: 07/26/2020)

                            501                   Notice of Appearance and Request for Notice
                            (3 pgs)               Filed by Deirdre Carey Brown, pllc Filed by on
                                                  behalf of Official Committee of Royalty Owners
 07/26/2020                                       (Brown, pllc, Deirdre) (Entered: 07/26/2020)

                            502                   Notice of Appearance and Request for Notice
                            (3 pgs)               Filed by Jeffrey Philipp Prostok Filed by on
                                                  behalf of Official Committee of Royalty Owners
 07/26/2020                                       (Prostok, Jeffrey) (Entered: 07/26/2020)

                            503                   Motion to Appear pro hac vice Abid Quershi.
                            (1 pg)                Filed by Interested Party Franklin Advisers, Inc.,
                                                  as Investment Manager on Behalf of Certain
                                                  Funds and Accounts (Brimmage, Marty)
 07/27/2020                                       (Entered: 07/27/2020)


                                                  Certificate of Email Notice. Contacted Veronica
                                                  Polnick. Movant to notice all interested parties




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 76 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 76 of 1639
                                                                           0076


                                                  and file a certificate of service with the court
                                                  (Related document(s):287 Generic Motion)
                                                  Hearing scheduled for 8/12/2020 at 02:00 PM
                                                  by telephone and video conference. (aalo)
 07/27/2020                                       (Entered: 07/27/2020)

                            504                   Order Granting Motion To Appear pro hac vice -
                            (1 pg)                Steven B. Levine (Related Doc # 471) Signed on
 07/27/2020                                       7/27/2020. (emiller) (Entered: 07/27/2020)

                            505                   Order Granting Motion To Appear pro hac vice -
                            (1 pg)                Kenneth J. Aulet (Related Doc # 472) Signed on
 07/27/2020                                       7/27/2020. (emiller) (Entered: 07/27/2020)

                            506                   Order Granting Motion To Appear pro hac vice -
                            (1 pg)                Andrew M. Carty (Related Doc # 473) Signed
 07/27/2020                                       on 7/27/2020. (emiller) (Entered: 07/27/2020)

                            507                   Order Granting Motion To Appear pro hac vice -
                            (1 pg)                Michael Winograd (Related Doc # 474) Signed
 07/27/2020                                       on 7/27/2020. (emiller) (Entered: 07/27/2020)

                            508                   Order Granting Motion To Appear pro hac vice -
                            (1 pg)                Sigmund Wissner-Gross (Related Doc # 475)
                                                  Signed on 7/27/2020. (emiller) (Entered:
 07/27/2020                                       07/27/2020)

                            509                   Order Granting Motion To Appear pro hac vice -
                            (1 pg)                Stephen M. Nagle (Related Doc # 477) Signed
 07/27/2020                                       on 7/27/2020. (emiller) (Entered: 07/27/2020)

                            510                   Notice of Reset Hearing on Motion to Approve
                            (4 pgs)               Procedures For De Minimis Asset Transactions.
                                                  (Related document(s):287 Generic Motion) Filed
                                                  by Chesapeake Energy Corporation (Cavenaugh,
 07/27/2020                                       Matthew) (Entered: 07/27/2020)

                            511                   Notice of Appearance and Request for Notice
                            (4 pgs)               Filed by Union Pacific Railroad Company (sgue)
 07/27/2020                                       (Entered: 07/27/2020)

                            512
                                                  Emergency Motion of the Official Committee of
                            (9 pgs; 2 docs)
                                                  Unsecured Creditors to File Under Seal
                                                  Objection to Debtors Emergency Motion For
                                                  Entry Of Interim And Final Orders (i)
                                                  Authorizing The Debtors To Obtain Postpetition




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 77 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 77 of 1639
                                                                           0077


                                                  Financing, (ii) Authorizing The Debtors To Use
                                                  Cash Collateral, (iii) Granting Liens And
                                                  Providing Claims With Superpriority
                                                  Administrative Expense Status, (iv) Granting
                                                  Adequate Protection To The Existing Secured
                                                  Parties, (V) Modifying The Automatic Stay, (vi)
                                                  Scheduling A Final Hearing, And (vii) Granting
                                                  Related Relief Filed by Creditor Committee
                                                  Official Committee Of Unsecured Creditors
                                                  (Attachments: # 1 Proposed Order) (Harrison,
 07/27/2020                                       Julie) (Entered: 07/27/2020)

                            513                   Sealed Document Sealed Objection to Debtors
                            (59 pgs; 3 docs)      Emergency Motion For Entry Of Interim And
                                                  Final Orders (i) Authorizing The Debtors To
                                                  Obtain Postpetition Financing, (ii) Authorizing
                                                  The Debtors To Use Cash Collateral, (iii)
                                                  Granting Liens And Providing Claims With
                                                  Superpriority Administrative Expense Status, (iv)
                                                  Granting Adequate Protection To The Existing
                                                  Secured Parties, (V) Modifying The Automatic
                                                  Stay, (vi) Scheduling A Final Hearing, And (vii)
                                                  Granting Related Relief (Filed By Official
                                                  Committee Of Unsecured Creditors ).
                                                  (Attachments: # 1 Exhibit A # 2 Declaration of
                                                  Robert Albergotti in Support of Objection)
 07/27/2020                                       (Harrison, Julie) (Entered: 07/27/2020)

                            514                   Objection to Debtors Emergency Motion For
                            (59 pgs; 3 docs)      Entry Of Interim And Final Orders (i)
                                                  Authorizing The Debtors To Obtain Postpetition
                                                  Financing, (ii) Authorizing The Debtors To Use
                                                  Cash Collateral, (iii) Granting Liens And
                                                  Providing Claims With Superpriority
                                                  Administrative Expense Status, (iv) Granting
                                                  Adequate Protection To The Existing Secured
                                                  Parties, (V) Modifying The Automatic Stay, (vi)
                                                  Scheduling A Final Hearing, And (vii) Granting
                                                  Related Relief (related document(s):22
                                                  Emergency Motion). Filed by Official
                                                  Committee Of Unsecured Creditors
                                                  (Attachments: # 1 Exhibit A # 2 Declaration of
                                                  Robert Albergotti in Support of Objection)
 07/27/2020                                       (Harrison, Julie) (Entered: 07/27/2020)

                            515                   Order (Related Doc # 327) Signed on 7/28/2020.
 07/28/2020                 (1 pg)                (aalo) (Entered: 07/28/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 78 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 78 of 1639
                                                                           0078


                            516                   Debtors Master Service List (Filed By Epiq
                            (53 pgs)              Corporate Restructuring LLC ). (Garabato, Sid)
 07/28/2020                                       (Entered: 07/28/2020)

                            517                   Objection - Preliminary Objection and
                            (28 pgs)              Reservation of Rights (related document(s):22
                                                  Emergency Motion). Filed by Official
                                                  Committee of Royalty Owners (Forshey, J)
 07/28/2020                                       (Entered: 07/28/2020)

                            518                   Sealed Document Amended Objection to the
                            (84 pgs; 3 docs)      Debtors Emergency Motion For Entry Of
                                                  Interim And Final Orders (i) Authorizing The
                                                  Debtors To Obtain Postpetition Financing, (ii)
                                                  Authorizing The Debtors To Use Cash
                                                  Collateral, (iii) Granting Liens And Providing
                                                  Claims With Superpriority Administrative
                                                  Expense Status, (iv) Granting Adequate
                                                  Protection To The Existing Secured Parties, (v)
                                                  Modifying The Automatic Stay, (vi) Scheduling A
                                                  Final Hearing, And (vii) Granting Related Relief
                                                  (Relates to Dkt Nos. 512 & 513] (Filed By
                                                  Official Committee Of Unsecured Creditors ).
                                                  (Attachments: # 1 Exhibit A # 2 Redline)
 07/28/2020                                       (Harrison, Julie) (Entered: 07/28/2020)

                            519                   Amended Objection to the Debtors Emergency
                            (84 pgs; 3 docs)      Motion For Entry Of Interim And Final Orders
                                                  (i) Authorizing The Debtors To Obtain
                                                  Postpetition Financing, (ii) Authorizing The
                                                  Debtors To Use Cash Collateral, (iii) Granting
                                                  Liens And Providing Claims With Superpriority
                                                  Administrative Expense Status, (iv) Granting
                                                  Adequate Protection To The Existing Secured
                                                  Parties, (v) Modifying The Automatic Stay, (vi)
                                                  Scheduling A Final Hearing, And (vii) Granting
                                                  Related Relief (relates to Dkt. No. 514) (related
                                                  document(s):22 Emergency Motion). Filed by
                                                  Official Committee Of Unsecured Creditors
                                                  (Attachments: # 1 Exhibit A # 2 Redline)
 07/28/2020                                       (Harrison, Julie) (Entered: 07/28/2020)

                            520
                                                  Motion for Entry of an Order (I) Authorizing
                            (112 pgs; 2 docs)
                                                  Entry Into the Backstop Commitment Agreement,
                                                  (II) Approving the Payment of Fees and
                                                  Expenses Related Thereto, and (III) Granting
                                                  Related Relief Filed by Debtor Chesapeake




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 79 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 79 of 1639
                                                                           0079


                                                  Energy Corporation Hearing scheduled for
                                                  8/21/2020 at 09:30 AM at Houston, Courtroom
                                                  400 (DRJ). (Attachments: # 1 Proposed Order)
 07/28/2020                                       (Cavenaugh, Matthew) (Entered: 07/28/2020)

                            521                   Order Granting Motion To Appear pro hac vice -
                            (1 pg)                James W. Ducayet (Related Doc # 498) Signed
 07/28/2020                                       on 7/28/2020. (emiller) (Entered: 07/28/2020)

                            522                   Order Granting Motion To Appear pro hac vice -
                            (1 pg)                Abid Quershi (Related Doc # 503) Signed on
 07/28/2020                                       7/28/2020. (emiller) (Entered: 07/28/2020)

                            523                   Motion for Entry of an Order (I) Authorizing the
                            (28 pgs; 3 docs)      Debtors to Incur and Pay Fees, Indemnities, and
                                                  Expenses Related to the Exit Facilities and (II)
                                                  Granting Related Relief Filed by Debtor
                                                  Chesapeake Energy Corporation Hearing
                                                  scheduled for 7/21/2020 at 09:30 AM at
                                                  Houston, Courtroom 400 (DRJ). (Attachments: #
                                                  1 Proposed Order # 2 Exhibit A) (Cavenaugh,
 07/28/2020                                       Matthew) (Entered: 07/29/2020)

                            524                   Motion for Entry of an Order (I) Authorizing the
                            (12 pgs; 2 docs)      Debtors to File Fee Letters Under Seal and (II)
                                                  Granting Related Relief Filed by Debtor
                                                  Chesapeake Energy Corporation (Attachments: #
                                                  1 Proposed Order) (Cavenaugh, Matthew)
 07/29/2020                                       (Entered: 07/29/2020)

                            525                   Sealed Motion for Entry of an Order (I)
                            (28 pgs)              Authorizing the Debtors to Incur and Pay Fees,
                                                  Indemnities, and Expenses Related to the Exit
                                                  Facilities and (II) Granting Related Relief Filed
                                                  by Debtor Chesapeake Energy Corporation
 07/29/2020                                       (Cavenaugh, Matthew) (Entered: 07/29/2020)

                            526                   Sealed Document Fee Letter (Filed By
                            (6 pgs)               Chesapeake Energy Corporation ). (Cavenaugh,
 07/29/2020                                       Matthew) (Entered: 07/29/2020)

                            527                   Sealed Document Fee Letter (Filed By
                            (5 pgs)               Chesapeake Energy Corporation ). (Cavenaugh,
 07/29/2020                                       Matthew) (Entered: 07/29/2020)

                            528
                                                  Motion to Appear pro hac vice . Filed by




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                        5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 80 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 80 of 1639
                                                                           0080


                            (1 pg)                Interested Party New York State Department of
                                                  Environmental Conservation (Gore, Christopher)
 07/29/2020                                       (Entered: 07/29/2020)

                            529                   Exhibit List, Witness List (Filed By c/o Annie
                            (773 pgs; 31 docs)    Catmull Royalty Owner Plaintiffs c/o ).(Related
                                                  document(s):22 Emergency Motion, 128 Order
                                                  Setting Hearing, 344 Objection) (Attachments: #
                                                  1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4
                                                  Exhibit 4 # 5 Exhibit 5 # 6 Exhibit 6 # 7 Exhibit
                                                  7 # 8 Exhibit 8 # 9 Exhibit 9 # 10 Exhibit 10 #
                                                  11 Exhibit 11 # 12 Exhibit 12 # 13 Exhibit 13 #
                                                  14 Exhibit 14 # 15 Exhibit 15 # 16 Exhibit 16,
                                                  part 1 of 9 # 17 Exhibit 16, part 2 of 9 # 18
                                                  Exhibit 16 part 3 of 9 # 19 Exhibit 16, part 4 of 9
                                                  # 20 Exhibit 16, part 5 of 9 # 21 Exhibit 16, part
                                                  6 of 9 # 22 Exhibit 16, part 7 of 9 # 23 Exhibit
                                                  16, part 8 of 9 # 24 Exhibit 16, part 9 of 9 # 25
                                                  Exhibit 17 # 26 Exhibit 18 # 27 Exhibit 19 # 28
                                                  Exhibit 20 # 29 Exhibit 21 # 30 Exhibit 22)
 07/29/2020                                       (Catmull, Annie) (Entered: 07/29/2020)

                            530                   Witness List, Exhibit List (Filed By Chesapeake
                            (333 pgs; 5 docs)     Energy Corporation ).(Related document(s):287
                                                  Generic Motion, 290 Generic Motion, Certificate
                                                  of Notice, Certificate of Notice) (Attachments: #
                                                  1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4
                                                  Exhibit 4) (Cavenaugh, Matthew) (Entered:
 07/29/2020                                       07/29/2020)

                            531                   Emergency Motion of the Official Committee of
                            (9 pgs; 2 docs)       Unsecured Creditors to File Under Seal Exhibits
                                                  for Hearing on July 31, 2020 Filed by Creditor
                                                  Committee Official Committee Of Unsecured
                                                  Creditors (Attachments: # 1 Proposed Order)
 07/29/2020                                       (Boland, Jason) (Entered: 07/29/2020)

                            532
                                                  Exhibit List, Witness List (Filed By Official
                            (1220 pgs; 13 docs)
                                                  Committee of Royalty Owners ).(Related
                                                  document(s):22 Emergency Motion, 517
                                                  Objection, 519 Objection) (Attachments: # 1
                                                  Exhibit 1_DIP Motion # 2 Exhibit 2_Affidavit of
                                                  Service of First Day Motions # 3 Exhibit 3 CHK
                                                  10K 2020 # 4 Exhibit 4 - CHK 10Q 3 31 20 # 5
                                                  Exhibit 5 Notice Appointing Royalty Owners
                                                  Committee # 6 Exhibit 6 - Docket # 7 Exhibit 7
                                                  Mailing list # 8 Exhibit 8 Mailing list # 9 Exhibit




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 81 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 81 of 1639
                                                                           0081


                                                  9 - Mailing List # 10 Exhibit 10 - Mailing List #
                                                  11 Exhibit 11 - Mailing list # 12 Exhibit
                                                  12_Affidavit of Service (Doc. No. 366)) (Brown,
 07/29/2020                                       pllc, Deirdre) (Entered: 07/29/2020)

                            533                   Notice of Appearance and Request for Notice
                            (2 pgs)               Filed by Matthew Scott Okin Filed by on behalf
                                                  of Well Water Solutions and Rentals, Inc. (Okin,
 07/29/2020                                       Matthew) (Entered: 07/29/2020)

                            534
                            (3441 pgs; 57 docs)   Witness List, Exhibit List (Filed By Official
                                                  Committee Of Unsecured Creditors ).(Related
                                                  document(s):22 Emergency Motion, 513 Sealed
                                                  Document, 514 Objection, 518 Sealed
                                                  Document, 519 Objection) (Attachments: # 1
                                                  Exhibit 1 - UCC 30(b)(6) Notice to Debtors # 2
                                                  Exhibit 2 - Debtors Rs&Os to UCC 30(b)(6) # 3
                                                  Exhibit 3 - Stephen Antinelli Declaration # 4
                                                  Exhibit 4 - Dell-Osso First Day Declaration # 5
                                                  Exhibit 5 - UNDER SEAL # 6 Exhibit 6 -
                                                  UNDER SEAL # 7 Exhibit 7 - UNDER SEAL #
                                                  8 Exhibit 8 - UNDER SEAL # 9 Exhibit 9 -
                                                  UNDER SEAL # 10 Exhibit 10 - UNDER SEAL
                                                  # 11 Exhibit 11 - UNDER SEAL # 12 Exhibit 12
                                                  - UNDER SEAL # 13 Exhibit 13 - UNDER
                                                  SEAL # 14 Exhibit 14 - UNDER SEAL # 15
                                                  Exhibit 15 - UNDER SEAL # 16 Exhibit 16 -
                                                  UNDER SEAL # 17 Exhibit 17 - UNDER SEAL
                                                  # 18 Exhibit 18 - UNDER SEAL # 19 Exhibit 19
                                                  - UNDER SEAL # 20 Exhibit 20 - UNDER
                                                  SEAL # 21 Exhibit 21 - UNDER SEAL # 22
                                                  Exhibit 22 - Albergotti Declaration (Redacted) #
                                                  23 Exhibit 23 - UNDER SEAL # 24 Exhibit 24 -
                                                  UNDER SEAL # 25 Exhibit 25 - DIP Budget #
                                                  26 Exhibit 26 - UNDER SEAL # 27 Exhibit 27 -
                                                  UNDER SEAL # 28 Exhibit 28 - Reserved # 29
                                                  Exhibit 29 - Reserved # 30 Exhibit 30 - PG&E
                                                  Final DIP Order # 31 Exhibit 31 - Frontier
                                                  Interim DIP Order # 32 Exhibit 32 - Intelsat
                                                  Final DIP Order # 33 Exhibit 33 - Peabody Final
                                                  DIP Order # 34 Exhibit 34 - SunEdison Final
                                                  DIP Order # 35 Exhibit 35 - Windstream Final
                                                  DIP Order # 36 Exhibit 36 - Neiman Marcus
                                                  Final DIP Order # 37 Exhibit 37 - McDermott
                                                  Final DIP Order # 38 Exhibit 38 - Sanchez
                                                  Energy Final DIP Order # 39 Exhibit 39 -
                                                  Foresight Energy Final DIP Order # 40 Exhibit




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 82 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 82 of 1639
                                                                           0082


                                                  40 - EXCO Resources Final DIP Order # 41
                                                  Exhibit 41 - Sheridan Holding Co II Final DIP
                                                  Order # 42 Exhibit 42 - Vanguard Natural
                                                  Resources Final DIP Order # 43 Exhibit 43 -
                                                  Arch Coal Final DIP Order # 44 Exhibit 44 - EP
                                                  Energy Final DIP Order # 45 Exhibit 45 -
                                                  Murray Energy Final DIP Order # 46 Exhibit 46
                                                  - iHeart Media Final DIP Order # 47 Exhibit 47 -
                                                  Weatherford International Final DIP Order # 48
                                                  Exhibit 48 - Avaya Final DIP Order # 49 Exhibit
                                                  49 - Windstream Final DIP Order # 50 Exhibit
                                                  50 - UNDER SEAL # 51 Exhibit 51 - UNDER
                                                  SEAL # 52 Exhibit 52 - UNDER SEAL # 53
                                                  Exhibit 53 - UNDER SEAL # 54 Exhibit 54 -
                                                  UNDER SEAL # 55 Exhibit 55 - UNDER SEAL
                                                  # 56 Exhibit 56 - Supplemental Declaration of
                                                  Robert Albergotti) (Boland, Jason) (Entered:
 07/29/2020                                       07/29/2020)

                            535                   Sealed Document Sealed Exhibits for July 31
                            (3958 pgs; 57 docs)   Hearing (Filed By Official Committee Of
                                                  Unsecured Creditors ). (Attachments: # 1 Exhibit
                                                  # 1 # 2 Exhibit # 2 # 3 Exhibit # 3 # 4 Exhibit #
                                                  4 # 5 Exhibit # 5 # 6 Exhibit # 6 # 7 Exhibit # 7
                                                  # 8 Exhibit # 8 # 9 Exhibit # 9 # 10 Exhibit # 10
                                                  # 11 Exhibit # 11 # 12 Exhibit # 12 # 13 Exhibit
                                                  # 13 # 14 Exhibit # 14 # 15 Exhibit # 15 # 16
                                                  Exhibit # 16 # 17 Exhibit # 17 # 18 Exhibit # 18
                                                  # 19 Exhibit # 19 # 20 Exhibit # 20 # 21 Exhibit
                                                  # 21 # 22 Exhibit # 22 # 23 Exhibit # 23 # 24
                                                  Exhibit # 24 # 25 Exhibit # 25 # 26 Exhibit # 26
                                                  # 27 Exhibit # 27 # 28 Exhibit # 28 # 29 Exhibit
                                                  # 29 # 30 Exhibit # 30 # 31 Exhibit # 31 # 32
                                                  Exhibit # 32 # 33 Exhibit # 33 # 34 Exhibit # 34
                                                  # 35 Exhibit # 35 # 36 Exhibit # 36 # 37 Exhibit
                                                  # 37 # 38 Exhibit # 38 # 39 Exhibit # 39 # 40
                                                  Exhibit # 40 # 41 Exhibit # 41 # 42 Exhibit # 42
                                                  # 43 Exhibit # 43 # 44 Exhibit # 44 # 45 Exhibit
                                                  # 45 # 46 Exhibit # 46 # 47 Exhibit # 47 # 48
                                                  Exhibit # 48 # 49 Exhibit # 49 # 50 Exhibit # 50
                                                  # 51 Exhibit # 51 # 52 Exhibit # 52 # 53 Exhibit
                                                  # 53 # 54 Exhibit # 54 # 55 Exhibit # 55 # 56
                                                  Exhibit # 56) (Bruner, Robert) (Entered:
 07/29/2020                                       07/29/2020)

                            536
                            (3 pgs)               Notice of Appearance and Request for Notice
                                                  Filed by Kerry L Haliburton Filed by on behalf




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 83 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 83 of 1639
                                                                           0083


                                                  of Sara Ann Ware Harrison (Haliburton, Kerry)
 07/29/2020                                       (Entered: 07/29/2020)

                            537                   BNC Certificate of Mailing. (Related document
                            (5 pgs)               (s):504 Order on Motion to Appear pro hac vice)
                                                  No. of Notices: 58. Notice Date 07/29/2020.
 07/29/2020                                       (Admin.) (Entered: 07/29/2020)

                            538                   BNC Certificate of Mailing. (Related document
                            (5 pgs)               (s):505 Order on Motion to Appear pro hac vice)
                                                  No. of Notices: 58. Notice Date 07/29/2020.
 07/29/2020                                       (Admin.) (Entered: 07/29/2020)

                            539                   BNC Certificate of Mailing. (Related document
                            (5 pgs)               (s):506 Order on Motion to Appear pro hac vice)
                                                  No. of Notices: 58. Notice Date 07/29/2020.
 07/29/2020                                       (Admin.) (Entered: 07/29/2020)

                            540                   BNC Certificate of Mailing. (Related document
                            (5 pgs)               (s):507 Order on Motion to Appear pro hac vice)
                                                  No. of Notices: 58. Notice Date 07/29/2020.
 07/29/2020                                       (Admin.) (Entered: 07/29/2020)

                            541                   BNC Certificate of Mailing. (Related document
                            (5 pgs)               (s):508 Order on Motion to Appear pro hac vice)
                                                  No. of Notices: 58. Notice Date 07/29/2020.
 07/29/2020                                       (Admin.) (Entered: 07/29/2020)

                            542                   BNC Certificate of Mailing. (Related document
                            (5 pgs)               (s):509 Order on Motion to Appear pro hac vice)
                                                  No. of Notices: 58. Notice Date 07/29/2020.
 07/29/2020                                       (Admin.) (Entered: 07/29/2020)

                            543                   Motion to Appear pro hac vice Alexandra I.
                            (1 pg)                Russell. Filed by Debtor Chesapeake Energy
                                                  Corporation (Cavenaugh, Matthew) (Entered:
 07/30/2020                                       07/30/2020)

                            544
                            (48 pgs; 5 docs)      Certificate of Counsel with Respect to (I)
                                                  Ordinary Course Professionals Motion and (II)
                                                  Interim Compensation Motion (Filed By
                                                  Chesapeake Energy Corporation ).(Related
                                                  document(s):288 Generic Motion, 289 Generic
                                                  Motion) (Attachments: # 1 Proposed Order
                                                  Ordinary Course Professional # 2 Proposed
                                                  Order Interim Compensation # 3 OCP - Redline




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 84 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 84 of 1639
                                                                           0084


                                                  # 4 Interim Compensation - Redline)
 07/30/2020                                       (Cavenaugh, Matthew) (Entered: 07/30/2020)

                            545                   Proposed Order RE: Emergency Motion for
                            (22 pgs; 2 docs)      Entry of Interim and Final Orders (I)
                                                  Authorizing the Debtors to (A) Continue to
                                                  Operate Their Cash Management System and
                                                  Maintain Existing Bank Accounts and (B)
                                                  Continue to Perform Intercompany Transactions
                                                  and (II) Granting Related Relief (Filed By
                                                  Chesapeake Energy Corporation ).(Related
                                                  document(s):14 Emergency Motion, 139 Order
                                                  Setting Hearing) (Attachments: # 1 Redline)
 07/30/2020                                       (Cavenaugh, Matthew) (Entered: 07/30/2020)

                            546                   Proposed Order RE: Motion Debtors' Motion for
                            (6 pgs; 2 docs)       Entry of an Order (I) Authorizing and Approving
                                                  the Debtors' Non-Insider Retention Programs
                                                  and (II) Granting Related Relief (Filed By
                                                  Chesapeake Energy Corporation ).(Related
                                                  document(s):290 Generic Motion) (Attachments:
                                                  # 1 Redline) (Cavenaugh, Matthew) (Entered:
 07/30/2020                                       07/30/2020)

                            547                   Motion to Appear pro hac vice - Brian W. Tobin.
                            (1 pg)                Filed by Creditor MUFG Union Bank, N.A.
 07/30/2020                                       (Quejada, Maegan) (Entered: 07/30/2020)

                            548                   Agenda for Hearing on 7/31/2020 (Filed By
                            (9 pgs)               Chesapeake Energy Corporation ). (Cavenaugh,
 07/30/2020                                       Matthew) (Entered: 07/30/2020)

                            549                   Withdraw Document (Filed By Cactus
                            (2 pgs)               Wellhead, LLC ).(Related document(s):342
                                                  Objection, 415 Notice) (Bailey, James) (Entered:
 07/30/2020                                       07/30/2020)

                            550                   Notice of Appearance and Request for Notice
                            (3 pgs)               Filed by Lance M. Kodish, Daniel A. Lowenthal
                                                  Filed by on behalf of Brandes Investment
                                                  Partners LP (Lowenthal, Daniel) (Entered:
 07/30/2020                                       07/30/2020)

                            551
                            (3 pgs)               Notice of Joinder by Tributary Resources, LLC
                                                  to Objections to Motion for Entry of Interim and
                                                  Final Orders Authorizing Debtors to Obtain




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 85 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 85 of 1639
                                                                           0085


                                                  Postpetition Financing and Related Relief.
                                                  (Related document(s):22 Emergency Motion,
                                                  517 Objection, 519 Objection) Filed by
                                                  Tributary Resources, LLC (Martin, Jarrod)
 07/30/2020                                       (Entered: 07/30/2020)

                            552                   Supplemental Objection Supplement To
                            (4 pgs)               Preliminary And Limited Objection of ETC
                                                  Texas Pipeline Ltd., et al., to Debtors'
                                                  Emergency Motion for Entry of Interim and
                                                  Final Orders (I) Authorizing the Debtors to
                                                  Obtain Postpetition Financing, (II) Authorizing
                                                  the Debtors to Use Cash Collateral, (III)
                                                  Granting Liens and Providing Claims with
                                                  Superpriority Administrative Expenses Status,
                                                  (IV) Granting Adequae Protection to the
                                                  Existing Secured Parties, (V) Modifying the
                                                  Automatic Stay, (VI) Scheduling a Final
                                                  Hearing, and (VII) Granting Related Relief
                                                  [related Docket Nos. 22 and 340] (related
                                                  document(s):22 Emergency Motion). Filed by
                                                  ETC Katy Pipeline, Ltd., ETC Texas Pipeline
                                                  Ltd., Energy Transfer Fuel, LP, Houston Pipe
                                                  Line Company, LP, Oasis Pipeline L.P., Sunoco
                                                  Pipeline L.P., Trade Star, LLC (Mitchell, John)
 07/30/2020                                       (Entered: 07/30/2020)

                            553                   Supplemental Objection (related document(s):22
                            (3 pgs)               Emergency Motion). Filed by Rodney Hudson,
                                                  Allen Johnson, Ruth Middleton, Saundra Nelson
 07/30/2020                                       (Hearne, William) (Entered: 07/30/2020)

                            554                   Order Granting Motion To Appear pro hac vice -
                            (1 pg)                Christopher C. Gore (Related Doc # 528) Signed
 07/30/2020                                       on 7/30/2020. (emiller) (Entered: 07/30/2020)

                            555                   Order Granting Motion To Appear pro hac vice -
                            (1 pg)                Alexandra I. Russell (Related Doc # 543) Signed
 07/30/2020                                       on 7/30/2020. (emiller) (Entered: 07/30/2020)

                            556                   Order Granting Motion To Appear pro hac vice -
                            (1 pg)                Brian W. Tobin (Related Doc # 547) Signed on
 07/30/2020                                       7/30/2020. (emiller) (Entered: 07/30/2020)

                            557                   Application to Employ Forshey & Prostok, LLP
                            (33 pgs)              as Attorneys for the Official Committee of
                                                  Royalty Owners. Objections/Request for




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 86 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 86 of 1639
                                                                           0086


                                                  Hearing Due in 21 days. Filed by Creditor
                                                  Official Committee of Royalty Owners (Prostok,
 07/30/2020                                       Jeffrey) (Entered: 07/30/2020)

                            558                   Reply Debtors' Omnibus Reply in Support of the
                            (74 pgs)              Debtors' Emergency Motion for Entry of Interim
                                                  and Final Orders (I) Authorizing the Debtors to
                                                  Obtain Postpetition Financing, (II) Authorizing
                                                  the Debtors to Use Cash Collateral, (III)
                                                  Granting Liens and Providing Claims with
                                                  Superpriority Administrative Expense Status,
                                                  (IV) Granting Adequate Protection to the
                                                  Existing Secured Parties, (V) Modifying the
                                                  Automatic Stay, (VI) Scheduling a Final
                                                  Hearing, and (VII) Granting Related Relief
                                                  (related document(s):22 Emergency Motion).
                                                  Filed by Chesapeake Energy Corporation
 07/30/2020                                       (Cavenaugh, Matthew) (Entered: 07/30/2020)

                            559                   Emergency Motion for Entry of an Order (I)
                            (12 pgs; 2 docs)      Authorizing the Debtors to File Deposition
                                                  Transcripts Under Seal and (II) Granting
                                                  Related Relief Filed by Debtor Chesapeake
                                                  Energy Corporation (Attachments: # 1 Proposed
                                                  Order) (Cavenaugh, Matthew) (Entered:
 07/30/2020                                       07/30/2020)

                            560                   Sealed Document Related to ECF No. 559 (Filed
                            (32 pgs)              By Chesapeake Energy Corporation ).
 07/30/2020                                       (Cavenaugh, Matthew) (Entered: 07/30/2020)

                            561                   Sealed Document Related to ECF No. 559 (Filed
                            (32 pgs)              By Chesapeake Energy Corporation ).
 07/30/2020                                       (Cavenaugh, Matthew) (Entered: 07/30/2020)

                            562                   Sealed Document Related to ECF No. 559 (Filed
                            (26 pgs)              By Chesapeake Energy Corporation ).
 07/30/2020                                       (Cavenaugh, Matthew) (Entered: 07/30/2020)

                            563                   Affidavit Re: Affidavit of Service of Marc
                            (4 pgs)               Orfitelli (Filed By Epiq Corporate Restructuring
                                                  LLC ).(Related document(s):82 Generic Order)
 07/30/2020                                       (Garabato, Sid) (Entered: 07/30/2020)

                            564
                            (20 pgs)              Affidavit Re: Affidavit of Service of Marc
                                                  Orfitelli (Filed By Epiq Corporate Restructuring




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 87 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 87 of 1639
                                                                           0087


                                                  LLC ).(Related document(s):328 Notice)
 07/30/2020                                       (Garabato, Sid) (Entered: 07/30/2020)

                            565                   Affidavit Re: Affidavit of Service of Marc
                            (16 pgs)              Orfitelli (Filed By Epiq Corporate Restructuring
                                                  LLC ).(Related document(s):335 Witness List,
                                                  Exhibit List, 343 Notice) (Garabato, Sid)
 07/30/2020                                       (Entered: 07/30/2020)

                            566                   Affidavit Re: Affidavit of Service of Marc
                            (16 pgs)              Orfitelli (Filed By Epiq Corporate Restructuring
                                                  LLC ).(Related document(s):367 Generic
                                                  Motion, 368 Application to Employ, 369
                                                  Application to Employ, 370 Application to
                                                  Employ, 372 Application to Employ) (Garabato,
 07/30/2020                                       Sid) (Entered: 07/30/2020)

                            567                   Emergency Motion for Entry of an Order
                            (40 pgs; 4 docs)      Disbanding the Royalty Committee Filed by
                                                  Debtor Chesapeake Energy Corporation
                                                  (Attachments: # 1 Exhibit A- Royalty
                                                  Committee Letter # 2 Exhibit B- Debtors'
                                                  Response to Royalty Committee Letter # 3
                                                  Proposed Order) (Peguero, Kristhy) (Entered:
 07/30/2020                                       07/30/2020)

                            568                   Proposed Order RE: Final Order (i) Authorizing
                            (200 pgs; 2 docs)     the Debtors to Obtain Postpetition Financing,
                                                  (ii) Authorizing the Debtors to use Cash
                                                  Collateral, (iii) Granting Liens and Providing
                                                  Claims with Superpriority Administrative
                                                  Expense Status, (iv) Granting Adequate
                                                  Protection to the Existing Secured Parties, (v)
                                                  Modifying the Automatic Stay, and (vi) Granting
                                                  Related Relief (Filed By Chesapeake Energy
                                                  Corporation ).(Related document(s):22
                                                  Emergency Motion) (Attachments: # 1 Exhibit
                                                  Redline) (Peguero, Kristhy) (Entered:
 07/30/2020                                       07/30/2020)

                            569                   Reply and Joinder of MUFG Union Bank, N.A.
                            (19 pgs)              In Support of Debtors' Emergency Motion for
                                                  Entry of Interim and Final Orders (I)
                                                  Authorizing the Debtors to Obtain Postpetition
                                                  Financing, (II) Authorizing the Debtors to Use
                                                  Cash Collateral, (III) Granting Liens and
                                                  Providing Claims with Superpriority




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 88 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 88 of 1639
                                                                           0088


                                                  Administrative Expense Status, (IV) Granting
                                                  Adequate Protection to the Existing Secured
                                                  Parties, (V) Modifying the Automatic Stay, (VI)
                                                  Scheduling a Final Hearing, and (VII) Granting
                                                  Related Relief (related document(s):22
                                                  Emergency Motion). Filed by MUFG Union
                                                  Bank, N.A. (Quejada, Maegan) (Entered:
 07/30/2020                                       07/30/2020)

                            570                   Reply and Joinder of Franklin Advisers, Inc., as
                            (7 pgs)               Investment Manager on Behalf of Certain Funds
                                                  and Accounts, in Support of the Debtors'
                                                  Emergency DIP Financing Motion and Reply to
                                                  the Objection of the Official Committee of
                                                  Unsecured Creditors Thereto (related document
                                                  (s):22 Emergency Motion). Filed by Franklin
                                                  Advisers, Inc., as Investment Manager on Behalf
                                                  of Certain Funds and Accounts (Brimmage,
 07/30/2020                                       Marty) (Entered: 07/30/2020)

                            571                   Proposed Order RE: (I) Authorizing Rejection of
                            (11 pgs; 2 docs)      Certain Executory Contracts Effective as of July
                                                  1, 2020 and (II) Granting Related Relief (Filed
                                                  By Chesapeake Energy Corporation ).(Related
                                                  document(s):27 Emergency Motion)
                                                  (Attachments: # 1 Redline) (Cavenaugh,
 07/30/2020                                       Matthew) (Entered: 07/30/2020)

                            572                   Reply of Ad Hoc Group of Secured FLLO Term
                            (14 pgs)              Loan Lenders in Support of the DIP Motion and
                                                  in Opposition to the Creditors' Committee's
                                                  Objection. Filed by Ad Hoc Group of FLLO
                                                  Term Loan Lenders (Morgan, John) (Entered:
 07/30/2020                                       07/30/2020)

                            573                   Objection Joinder to the Objections filed by the
                            (3 pgs)               Official Committee of Unsecured Creditors
                                                  [Docket No. 519] and the Official Committee of
                                                  Royalty Owners [Docket No. 517] (related
                                                  document(s):22 Emergency Motion). Filed by
                                                  Stephanie Delasandro (Mayer, Simon) (Entered:
 07/30/2020                                       07/30/2020)

                            574                   Additional Attachments Re: Senior Secured
                            (158 pgs; 2 docs)     Super-Priority Debtor-In-Possession Credit
                                                  Agreement (related document(s):128 Order
                                                  Setting Hearing) (Filed By Chesapeake Energy




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 89 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 89 of 1639
                                                                           0089


                                                  Corporation ).(Related document(s):128 Order
                                                  Setting Hearing) (Attachments: # 1 Redline)
 07/30/2020                                       (Peguero, Kristhy) (Entered: 07/30/2020)

                            575                   Motion to Appear pro hac vice Whitney
                            (1 pg)                Fogelberg. Filed by Debtor Chesapeake Energy
                                                  Corporation (Peguero, Kristhy) (Entered:
 07/30/2020                                       07/30/2020)

                            576                   Amended Agenda for Hearing on 7/31/2020
                            (10 pgs)              (Filed By Chesapeake Energy Corporation ).
 07/30/2020                                       (Cavenaugh, Matthew) (Entered: 07/30/2020)

                            577                   BNC Certificate of Mailing. (Related document
                            (5 pgs)               (s):515 Order on Motion To Reconsider) No. of
                                                  Notices: 59. Notice Date 07/30/2020. (Admin.)
 07/30/2020                                       (Entered: 07/30/2020)

                            578                   BNC Certificate of Mailing. (Related document
                            (14 pgs)              (s):488 US Trustee's Notice) No. of Notices: 89.
                                                  Notice Date 07/30/2020. (Admin.) (Entered:
 07/30/2020                                       07/30/2020)

                            579                   Affidavit Re: Affidavit of Service of Marc
                            (5795 pgs)            Orfitelli (Filed By Epiq Corporate Restructuring
                                                  LLC ).(Related document(s):82 Generic Order)
 07/31/2020                                       (Garabato, Sid) (Entered: 07/31/2020)

                            580                   Notice of Appearance and Request for Notice
                            (3 pgs)               Filed by Gartner, Inc. (Goldstein, Eric) (Entered:
 07/31/2020                                       07/31/2020)

                            581                   Withdraw Document (Filed By Archrock
                            (2 pgs)               Partners Operating, LLC ).(Related document
                                                  (s):346 Objection) (Maraist, Kevin) (Entered:
 07/31/2020                                       07/31/2020)

                            582
                            (8219 pgs; 15 docs)   Witness List, Exhibit List (Filed By Official
                                                  Committee of Royalty Owners ).(Related
                                                  document(s):22 Emergency Motion)
                                                  (Attachments: # 1 Exhibit 1_DIP Motion # 2
                                                  Exhibit 2_Affidavit of Service of First Day
                                                  Motions # 3 Exhibit 3 CHK 10K 2020 # 4
                                                  Exhibit 4 - CHK 10Q 3 31 20 # 5 Exhibit 5
                                                  Notice Appointing Royalty Owners Committee #
                                                  6 Exhibit 6 - Docket # 7 Exhibit 7 Mailing list #




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 90 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 90 of 1639
                                                                           0090


                                                  8 Exhibit 8 Mailing list # 9 Exhibit 9 - Mailing
                                                  List # 10 Exhibit 10 - Mailing List # 11 Exhibit
                                                  11 - Mailing list # 12 Exhibit 12_Affidavit of
                                                  Service (Doc. No. 366) # 13 Exhibit 13 - Letter
                                                  to Royalty Owners # 14 Exhibit 14 - Service of
                                                  Royalty Owner Letter - See, Exhibit D) (Brown,
 07/31/2020                                       pllc, Deirdre) (Entered: 07/31/2020)

                            583                   Order Granting Motion To Appear pro hac vice -
                            (1 pg)                Whitney Fogelberg (Related Doc # 575) Signed
 07/31/2020                                       on 7/31/2020. (emiller) (Entered: 07/31/2020)

                            584                   Notice of Appearance and Request for Notice
                            (3 pgs)               Filed by William Alfred Wood III Filed by on
                                                  behalf of Hiland Crude, LLC, Midcontinent
                                                  Express Pipeline LLC, Wyoming Interstate
                                                  Company, L.L.C., Tennessee Gas Pipeline
                                                  Company, L.L.C., Camino Real Gas Gathering
                                                  Company, LLC, El Paso Marketing Company,
                                                  L.L.C., Scissortail Energy, LLC, Kinderhawk
                                                  Field Services, LLC, Eagle Ford Gathering,
                                                  LLC, Kinder Morgan Tejas Pipeline LLC,
                                                  Kinder Morgan Texas Pipeline LLC (Wood,
 07/31/2020                                       William) (Entered: 07/31/2020)

                            585                   Motion to Appear pro hac vice Jonathan L.
                            (1 pg)                Lozano. Filed by Creditors Camino Real Gas
                                                  Gathering Company, LLC, Eagle Ford
                                                  Gathering, LLC, El Paso Marketing Company,
                                                  L.L.C., Hiland Crude, LLC, Kinder Morgan
                                                  Tejas Pipeline LLC, Kinder Morgan Texas
                                                  Pipeline LLC, Kinderhawk Field Services, LLC,
                                                  Midcontinent Express Pipeline LLC, Scissortail
                                                  Energy, LLC, Tennessee Gas Pipeline Company,
                                                  L.L.C., Wyoming Interstate Company, L.L.C.
 07/31/2020                                       (Wood, William) (Entered: 07/31/2020)

                            586                   Letter from Shareholder Krishna Bangera
                            (12 pgs)              (Related document(s):294 Letter)
 07/31/2020                                       (JeannieAndresen) (Entered: 07/31/2020)

                            587                   AO 435 TRANSCRIPT ORDER FORM (Daily
                            (1 pg)                (24 hours)) by Matthew Cavenaugh. This is to
                                                  order a transcript of 7/31/2020 before Judge
                                                  David R. Jones. Court Reporter/Transcriber:
                                                  Access Transcripts (Filed By Chesapeake
                                                  Energy Corporation ). (Cavenaugh, Matthew)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 91 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 91 of 1639
                                                                           0091


                                                  Electronically forwarded to Access Transcripts
                                                  on 8-3-2020. Estimated completion date: 8-4-
                                                  2020. Modified on 8/3/2020 (MelissaMorgan).
 07/31/2020                                       (Entered: 07/31/2020)

                            588                   Notice of Agreed DIP Order Language. (Related
                            (2 pgs)               document(s):344 Objection) Filed by c/o Annie
                                                  Catmull Royalty Owner Plaintiffs c/o (Catmull,
 07/31/2020                                       Annie) (Entered: 07/31/2020)

                            589                   AO 435 TRANSCRIPT ORDER FORM (Daily
                            (1 pg)                (24 hours)) by Marty L. Brimmage, Jr.. This is to
                                                  order a transcript of the July 31, 2020 Hearing
                                                  before Judge David R. Jones. Court
                                                  Reporter/Transcriber: Access Transcripts (Filed
                                                  By Franklin Advisers, Inc., as Investment
                                                  Manager on Behalf of Certain Funds and
                                                  Accounts ). (Brimmage, Marty) Electronically
                                                  forwarded to original transcriber: Access
                                                  Transcripts on 8-3-2020. Estimated completion
                                                  date: 8-4-2020. Modified on 8/3/2020
 07/31/2020                                       (MelissaMorgan). (Entered: 07/31/2020)

                            590                   Proposed Order RE: (I) Authorizing the Debtors
                            (353 pgs; 2 docs)     to Obtain Postpetition Financing, (II)
                                                  Authorizing the Debtors to Use Cash Collateral,
                                                  (III) Granting Liens and Providing Claims with
                                                  Superpriority Administrative Expense Status,
                                                  (IV) Granting Adequate Protection to the
                                                  Existing Secured Parties, (V) Modifying the
                                                  Automatic Stay, and (VI) Granting Related
                                                  (Filed By Chesapeake Energy Corporation ).
                                                  (Related document(s):22 Emergency Motion)
                                                  (Attachments: # 1 Redline) (Peguero, Kristhy)
 07/31/2020                                       (Entered: 07/31/2020)

                            591                   Proposed Order Submission After Hearing (Filed
                            (353 pgs; 2 docs)     By Chesapeake Energy Corporation ).(Related
                                                  document(s):22 Emergency Motion, 128 Order
                                                  Setting Hearing, 325 Objection, 340 Objection,
                                                  341 Response/Objection, 344 Objection, 345
                                                  Objection, 517 Objection, 519 Objection, 551
                                                  Notice, 552 Objection) (Attachments: # 1
                                                  Redline) (Cavenaugh, Matthew) (Entered:
 07/31/2020                                       07/31/2020)

                            592                   AO 435 TRANSCRIPT ORDER FORM (Daily




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 92 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 92 of 1639
                                                                           0092


                            (1 pg)                (24 hours)) by M. Quejada. This is to order a
                                                  transcript of July 31, 2020 Hearing before Judge
                                                  David R. Jones. Court Reporter/Transcriber:
                                                  Access Transcripts (Filed By MUFG Union
                                                  Bank, N.A. ). (Quejada, Maegan) Electronically
                                                  forwarded to the original transcriber: Access
                                                  Transcripts on 8-3-2020. Estimated completion
                                                  date: 8-4-2020. Modified on 8/3/2020
 07/31/2020                                       (MelissaMorgan). (Entered: 07/31/2020)

                            593                   Order Establishing a Record Date for Notice and
                            (7 pgs)               Sell-Down Procedure for Trading in Certain
                                                  Claims Against the Debtors' Estates (Related
                                                  Doc # 36) Signed on 7/31/2020. (emiller)
 07/31/2020                                       (Entered: 07/31/2020)

                            594                   Final Order (I) Authorizing the Debtors to (A)
                            (11 pgs)              Continue to Operate Their Cash Management
                                                  System and Maintain Existing Bank Accounts
                                                  and (B) Continue to Perform Intercompany
                                                  Transactions, and (II) Granting Related Relief
                                                  (Related Doc # 14) Signed on 7/31/2020.
 07/31/2020                                       (emiller) (Entered: 07/31/2020)

                            595                   Order (I) Authorizing and Approving the
                            (3 pgs)               Debtors' Non-Insider Retention Programs and
                                                  (II) Granting Related Relief (Related Doc # 290)
                                                  Signed on 7/31/2020. (emiller) (Entered:
 07/31/2020                                       07/31/2020)

                            596                   Order (I) Authorizing Rejection of Certain
                            (5 pgs)               Executory Contracts Effective as of July 1, 2020
                                                  and (II) Granting Related Relief (Related Doc #
                                                  27) Signed on 7/31/2020. (emiller) (Entered:
 07/31/2020                                       07/31/2020)

                            597                   Final Order (I) Authorizing the Debtors to
                            (248 pgs)             Obtain Postpetition Financing, (II) Authorizing
                                                  the Debtors to Use Cash Collateral, (III)
                                                  Granting Liens and Providing Claims with
                                                  Superpriority Administrative Expense Status,
                                                  (IV) Granting Adequate Protection to the
                                                  Existing Secured Parties (V) Modifying the
                                                  Automatic Stay, and (VI) Granting Related
                                                  Relief (Related Doc # 22) Signed on 7/31/2020.
 07/31/2020                                       (emiller) (Entered: 07/31/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 93 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 93 of 1639
                                                                           0093


                            598                   Motion for Entry of an Order (I) Authorizing the
                            (14 pgs; 2 docs)      Rejection of Certain Sand Mine Contracts
                                                  Effective As of July 31, 2020 and (II) Granting
                                                  Related Relief Filed by Debtor Chesapeake
                                                  Energy Corporation (Attachments: # 1 Proposed
                                                  Order) (Cavenaugh, Matthew) (Entered:
 07/31/2020                                       07/31/2020)

                            599                   Declaration re: Declaration of John Stuart in
                            (6 pgs)               Support of the Debtors' Motion for Entry of an
                                                  Order (I) Authorizing the Rejection of Certain
                                                  Sand Mine Contracts Effective as of July 31,
                                                  2020 and (II) Granting Related Relief (Filed By
                                                  Chesapeake Energy Corporation ).(Related
                                                  document(s):598 Generic Motion) (Cavenaugh,
 07/31/2020                                       Matthew) (Entered: 07/31/2020)

                            600                   BNC Certificate of Mailing. (Related document
                            (5 pgs)               (s):521 Order on Motion to Appear pro hac vice)
                                                  No. of Notices: 59. Notice Date 07/31/2020.
 07/31/2020                                       (Admin.) (Entered: 07/31/2020)

                            601                   BNC Certificate of Mailing. (Related document
                            (5 pgs)               (s):522 Order on Motion to Appear pro hac vice)
                                                  No. of Notices: 59. Notice Date 07/31/2020.
 07/31/2020                                       (Admin.) (Entered: 07/31/2020)

                            624
                                                  Courtroom Minutes. For the reasons stated on
                            (5 pgs)
                                                  the record, the Court has approved the Motion
                                                  for Entry of an Order Establishing a Record Date
                                                  for Notice and Sell-Down Procedures 36, the
                                                  Motion for Entry of an Order (I) Authorizing and
                                                  Approving the Debtors' Non-Insider Retention
                                                  Programs 290. Orders to be entered.
                                                  Additionally, the Court has set a scheduling
                                                  conference on August 18, 2020 at 1:00 PM. With
                                                  respect to the Motion to Use Cash Collateral.
                                                  The Court heard testimony from Robert
                                                  Albergotti, Dominic DellOsso and Stephen
                                                  Antinelli and has granted the motion with the
                                                  changes as stated on the record. Note:The Court
                                                  has set a Final Trial on 8/31 at 9:00 AM on a to
                                                  be filed adversary to reject ETC contracts. If
                                                  ETC wants to proceed on the motion itself, the
                                                  substance of that dispute is set for a final trial at
                                                  9:00 AM. Stipulated facts to be filed by Friday,
                                                  August 28, 2020. If an adversary is filed, the




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                         5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 94 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 94 of 1639
                                                                           0094


                                                  Plaintiff to contact the case manager to alert him
 07/31/2020                                       to the filing. (aalo) (Entered: 08/05/2020)

                            602                   Objection (related document(s):452 Motion to
                            (9 pgs; 2 docs)       Seal). Filed by US Trustee (Attachments: # 1
                                                  Proposed Order) (Statham, Stephen) (Entered:
 08/01/2020                                       08/01/2020)

                            603                   BNC Certificate of Mailing. (Related document
                            (5 pgs)               (s):554 Order on Motion to Appear pro hac vice)
                                                  No. of Notices: 60. Notice Date 08/01/2020.
 08/01/2020                                       (Admin.) (Entered: 08/01/2020)

                            604                   BNC Certificate of Mailing. (Related document
                            (5 pgs)               (s):555 Order on Motion to Appear pro hac vice)
                                                  No. of Notices: 60. Notice Date 08/01/2020.
 08/01/2020                                       (Admin.) (Entered: 08/01/2020)

                            605                   BNC Certificate of Mailing. (Related document
                            (5 pgs)               (s):556 Order on Motion to Appear pro hac vice)
                                                  No. of Notices: 60. Notice Date 08/01/2020.
 08/01/2020                                       (Admin.) (Entered: 08/01/2020)

                            606                   BNC Certificate of Mailing. (Related document
                            (5 pgs)               (s):583 Order on Motion to Appear pro hac vice)
                                                  No. of Notices: 61. Notice Date 08/02/2020.
 08/02/2020                                       (Admin.) (Entered: 08/02/2020)

                            607                   AO 435 TRANSCRIPT ORDER FORM (Daily
                            (1 pg)                (24 hours)) by Jason Boland. This is to order a
                                                  transcript of July 31, 2020 hearing before Judge
                                                  David R. Jones. Court Reporter/Transcriber:
                                                  Access Transcripts (Filed By Official Committee
                                                  Of Unsecured Creditors ). (Boland, Jason)
                                                  Electronically forwarded to the original
                                                  transcriber: Access Transcripts on 8-3-2020.
                                                  Estimated completion date: 8-4-2020. Modified
                                                  on 8/3/2020 (MelissaMorgan). (Entered:
 08/03/2020                                       08/03/2020)

                            608
                            (2 pgs)               AO 435 TRANSCRIPT ORDER FORM (Daily
                                                  (24 hours)) by Jacqueline Kindler. This is to
                                                  order a transcript of July 31, 2020, Hearing
                                                  before Judge David R. Jones. Court
                                                  Reporter/Transcriber: Access Transcripts.
                                                  (mmap) Electronically forwarded to the original




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 95 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 95 of 1639
                                                                           0095


                                                  transcriber: Access Transcripts on 8-3-2020.
                                                  Estimated completion date: 8-4-2020. Modified
                                                  on 8/3/2020 (MelissaMorgan). (Entered:
 08/03/2020                                       08/03/2020)

                            609                   Notice of Appeal filed. (related document(s):467
                            (6 pgs; 2 docs)       Order on Emergency Motion). Fee Amount
                                                  $298. Appellant Designation due by 08/17/2020.
                                                  (Attachments: # 1 Exhibit Chesapeake
                                                  Enforcement Order)(Swartley, Jason) (Entered:
 08/03/2020                                       08/03/2020)

                                                  Receipt of Notice of Appeal(20-33233)
                                                  [appeal,ntcapl] ( 298.00) Filing Fee. Receipt
                                                  number 22325477. Fee amount $ 298.00. (U.S.
 08/03/2020                                       Treasury) (Entered: 08/03/2020)

                            610                   Notice of Appearance and Request for Notice
                            (3 pgs)               Filed by Corey Michael Weideman Filed by on
                                                  behalf of Kinetic Energy Services LLC
 08/03/2020                                       (Weideman, Corey) (Entered: 08/03/2020)

                            611                   Motion to Appear pro hac vice D. Alexander
                            (1 pg)                Barnes. Filed by Creditor Demchak Partners
                                                  Limited Partnership et al Class Action Plaintiffs
                                                  and Settlement Class (JenniferOlson) (Entered:
 08/03/2020                                       08/03/2020)

                            612                   Motion to Appear pro hac vice Jarret P.
                            (1 pg)                Hitchings. Filed by Creditor Kinetic Energy
                                                  Services LLC (Weideman, Corey) (Entered:
 08/03/2020                                       08/03/2020)

                            613                   Letter from Shareholder Mary Margaret Nilan
                            (2 pgs)               (Related document(s):455 Letter)
 08/04/2020                                       (JeannieAndresen) (Entered: 08/04/2020)

                            614                   Letter from Shareholder John Dough
 08/04/2020                 (4 pgs)               (JeannieAndresen) (Entered: 08/04/2020)

                            615                   Transcript RE: Motions Hearing held on
                            (208 pgs)             07/31/2020 before Judge David R. Jones.
                                                  Transcript is available for viewing in the Clerk's
                                                  Office. Filed by Transcript access will be
                                                  restricted through 11/2/2020.
 08/04/2020                                       (AccessTranscripts) (Entered: 08/04/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 96 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 96 of 1639
                                                                           0096


                            616                   Election to Appeal to District Court .
 08/04/2020                                       (ShoshanaArnow) (Entered: 08/04/2020)

                            617                   Clerk's Notice of Filing of an Appeal. On
                            (1 pg)                8/3/2020, Commonwealth of Pennsylvania filed
                                                  a notice of appeal. The appeal has been assigned
                                                  to U.S. District Judge Keith P Ellison, Civil
                                                  Action 4:20-cv-02725. Parties notified (Related
                                                  document(s):609 Notice of Appeal)
 08/04/2020                                       (ShoshanaArnow) (Entered: 08/04/2020)

                            618                   Notice of Filing of Official Transcript as to 615
                            (1 pg)                Transcript. Parties notified (Related document
                                                  (s):615 Transcript) (mmap) (Entered:
 08/05/2020                                       08/05/2020)

                            619                   Notice of Appearance and Request for Notice
                            (3 pgs)               Filed by Donald Prichard Bevis Jr Filed by on
                                                  behalf of Byrd Family Limited Partnership, Four
                                                  P Family Holdings, LP (Bevis, Donald)
 08/05/2020                                       (Entered: 08/05/2020)

                            620                   Notice of Appearance and Request for Notice
                            (3 pgs)               Filed by Patricia Baron Tomasco Filed by on
                                                  behalf of Brigade Capital Management, LP
 08/05/2020                                       (Tomasco, Patricia) (Entered: 08/05/2020)

                            621                   Motion to Appear pro hac vice Chrysanthe E.
                            (1 pg)                Vassiles. Filed by Creditor Douglas Houck Trust
 08/05/2020                                       (mmap) (Entered: 08/05/2020)

                            622                   Notice of Appearance and Request for Notice
                            (2 pgs)               Filed by Mark Curtis Taylor Filed by on behalf
                                                  of Rancho La Cochina Minerals, Ltd., Briscoe
                                                  Ranch, Inc. (Taylor, Mark) (Entered:
 08/05/2020                                       08/05/2020)

                            623                   Notice of Appearance and Request for Notice
                            (2 pgs)               Filed by Stefan Perovich Filed by on behalf of
                                                  Wier Group (Perovich, Stefan) (Entered:
 08/05/2020                                       08/05/2020)

                            625                   Motion to Appear pro hac vice filed on behalf of
                            (1 pg)                Kate Scherling. Filed by Creditor Brigade
                                                  Capital Management, LP (Tomasco, Patricia)
 08/05/2020                                       (Entered: 08/05/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 97 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 97 of 1639
                                                                           0097


                            626                   Motion to Appear pro hac vice filed on behalf of
                            (1 pg)                Benjamin I. Finestone. Filed by Creditor Brigade
                                                  Capital Management, LP (Tomasco, Patricia)
 08/05/2020                                       (Entered: 08/05/2020)

                            627                   Order Granting Motion To Appear pro hac vice -
                            (1 pg)                Jonathan L. Lozano (Related Doc # 585) Signed
 08/05/2020                                       on 8/5/2020. (emiller) (Entered: 08/05/2020)

                            628                   First Motion for Relief from Stay Partial Lift of
                            (6 pgs)               Automatic Stay. Fee Amount $181. Filed by
                                                  Creditor JUAN CARLOS ALANIZ (Elizondo,
 08/05/2020                                       Luis) (Entered: 08/05/2020)

                                                  Receipt of Motion for Relief From Stay(20-
                                                  33233) [motion,mrlfsty] ( 181.00) Filing Fee.
                                                  Receipt number 22332235. Fee amount $
 08/05/2020                                       181.00. (U.S. Treasury) (Entered: 08/05/2020)

                            629                   Order Granting Motion To Appear pro hac vice -
                            (1 pg)                D. Alexander Barnes (Related Doc # 611)
                                                  Signed on 8/5/2020. (emiller) (Entered:
 08/05/2020                                       08/05/2020)

                            630                   Order Granting Motion To Appear pro hac vice -
                            (1 pg)                Jarret P. Hitchings (Related Doc # 612) Signed
 08/05/2020                                       on 8/5/2020. (emiller) (Entered: 08/05/2020)

                            631                   Proposed Motion for Relief from Stay Order On
                            (1 pg)                Motion for Partial Lift of Automatic Stay. Fee
                                                  Amount $181. Filed by Creditor JUAN
                                                  CARLOS ALANIZ (Elizondo, Luis) (Entered:
 08/05/2020                                       08/05/2020)

                            632                   Notice of Appearance and Request for Notice
                            (3 pgs)               Filed by Joshua Nielson Eppich Filed by on
                                                  behalf of Pilot Thomas Logistics, LLC (Eppich,
 08/05/2020                                       Joshua) (Entered: 08/05/2020)

                            633                   Notice of Appearance and Request for Notice
                            (3 pgs)               Filed by Bryan Christopher Assink Filed by on
                                                  behalf of Pilot Thomas Logistics, LLC (Assink,
 08/05/2020                                       Bryan) (Entered: 08/05/2020)

                            634
                                                  Notice of Appearance and Request for Notice
                            (4 pgs)
                                                  Filed by David Harlan Ammons Filed by on




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 98 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 98 of 1639
                                                                           0098


                                                  behalf of TOTAL E&P USA, INC. (Ammons,
 08/05/2020                                       David) (Entered: 08/05/2020)

                            635                   Motion to Appear pro hac vice of Jane VanLare.
                            (1 pg)                Filed by Creditor TOTAL E&P USA, INC.
 08/05/2020                                       (Ammons, David) (Entered: 08/05/2020)

                            636                   Response and Limited Objection to DFW's
                            (7 pgs)               Motion for Relief From Automatic Stay to Permit
                                                  a Pending Appeal to Proceed (related document
                                                  (s):407 Motion for Relief From Stay). Filed by
                                                  TOTAL E&P USA, INC. (Ammons, David)
 08/05/2020                                       (Entered: 08/05/2020)

                            637                   Declaration re: - Amended Declaration of Jeff P.
                            (25 pgs)              Prostok in Support of the Official Committee of
                                                  Royalty Owners' Application for Entry of Order
                                                  Auithorizing Retention and Employment of
                                                  Forshey & Prostok, LLP as Attorneys for the
                                                  Official Committee of Royalty Owners Effective
                                                  as of July 25, 2020 (Filed By Official Committee
                                                  of Royalty Owners ).(Related document(s):557
                                                  Application to Employ) (Prostok, Jeffrey)
 08/05/2020                                       (Entered: 08/05/2020)

                            638                   Motion to Appear pro hac vice by Caroline B.
                            (1 pg)                Stern. Filed by Creditor Ad Hoc Group of FLLO
                                                  Term Loan Lenders (Morgan, John) (Entered:
 08/05/2020                                       08/05/2020)

                            639                   BNC Certificate of Mailing. (Related document
                            (11 pgs)              (s):593 Generic Order) No. of Notices: 61.
                                                  Notice Date 08/05/2020. (Admin.) (Entered:
 08/05/2020                                       08/05/2020)

                            640                   BNC Certificate of Mailing. (Related document
                            (15 pgs)              (s):594 Order on Emergency Motion) No. of
                                                  Notices: 61. Notice Date 08/05/2020. (Admin.)
 08/05/2020                                       (Entered: 08/05/2020)

                            641                   BNC Certificate of Mailing. (Related document
                            (7 pgs)               (s):595 Generic Order) No. of Notices: 61.
                                                  Notice Date 08/05/2020. (Admin.) (Entered:
 08/05/2020                                       08/05/2020)

                            642
                                                  BNC Certificate of Mailing. (Related document




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                   Page 99 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 99 of 1639
                                                                           0099


                            (9 pgs)               (s):596 Order on Emergency Motion) No. of
                                                  Notices: 61. Notice Date 08/05/2020. (Admin.)
 08/05/2020                                       (Entered: 08/05/2020)

                            643                   BNC Certificate of Mailing. (Related document
                            (252 pgs)             (s):597 Order on Emergency Motion) No. of
                                                  Notices: 61. Notice Date 08/05/2020. (Admin.)
 08/05/2020                                       (Entered: 08/05/2020)

                            644                   Notice of Appearance and Request for Notice
                            (1 pg)                Filed by Barry Pierce Broughton Filed by on
                                                  behalf of Henry Newton Bell III (Broughton,
 08/06/2020                                       Barry) (Entered: 08/06/2020)

                            645                   Notice of Rule 2004 Requests on Franklin
                            (15 pgs; 2 docs)      Advisers, Inc.. Filed by Official Committee Of
                                                  Unsecured Creditors (Attachments: # 1 Exhibit
 08/06/2020                                       A) (Harrison, Julie) (Entered: 08/06/2020)

                            646                   Notice of Rule 2004 Requests on the Ad Hoc
                            (14 pgs; 2 docs)      Group of Secured FLLO Term Loan Lenders.
                                                  Filed by Official Committee Of Unsecured
                                                  Creditors (Attachments: # 1 Exhibit A)
 08/06/2020                                       (Harrison, Julie) (Entered: 08/06/2020)

                            647                   Response CORRECTED Response and Limited
                            (11 pgs; 2 docs)      Objection to DFW's Motion for Relief from
                                                  Automatic Stay to Permit a Pending Appeal to
                                                  Proceed (Relates to Doc. Nos. 407 and 636).
                                                  Filed by TOTAL E&P USA, INC. (Attachments:
                                                  # 1 Exhibit A) (Ammons, David) (Entered:
 08/06/2020                                       08/06/2020)

                            648                       PDF with attached Audio File. Court Date &
                            (1 pg)                Time [ 7/31/2020 11:00:18 AM ]. File Size
                                                  [ 183780 KB ]. Run Time [ 06:22:52 ]. (In ref to
                                                  doc nos. 36 and 290. Hearing held July 31,
 08/06/2020                                       2020.). (admin). (Entered: 08/06/2020)

                            649                   Affidavit Re: of Marc Orfitelli (Filed By Epiq
                            (17 pgs)              Corporate Restructuring LLC ). (Garabato, Sid)
 08/06/2020                                       (Entered: 08/06/2020)

                            650                   Objection - Limited Objection to Motion to Set
                            (24 pgs)              Bar Dates (related document(s):367 Generic
                                                  Motion). Filed by Official Committee of Royalty




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 100 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 100 of 1639
                                                                           0100


                                                  Owners (Brown, pllc, Deirdre) (Entered:
 08/06/2020                                       08/06/2020)

                            651                   Objection Limited Objections of Eagle Ford
                            (379 pgs; 7 docs)     MDL Royalty Owner Plaintiffs (related
                                                  document(s):367 Generic Motion). Filed by c/o
                                                  Annie Catmull Royalty Owner Plaintiffs c/o
                                                  (Attachments: # 1 Exhibit A - list of Eagle Ford
                                                  royalty owner plaintiffs # 2 Exhibit B - Motion
                                                  to Transfer to MDL court # 3 Exhibit C -
                                                  Opinion # 4 Exhibit D - Hearing Transcript # 5
                                                  Exhibit E - Damage Expert Reports # 6 Exhibit
                                                  F - Harper check stub) (Catmull, Annie)
 08/06/2020                                       (Entered: 08/06/2020)

                            652                   Affidavit Re: Affidavit of Service of Marc
                            (16 pgs)              Orfitelli (Filed By Epiq Corporate Restructuring
                                                  LLC ).(Related document(s):485 Stipulation)
 08/06/2020                                       (Garabato, Sid) (Entered: 08/06/2020)

                            653                   Affidavit Re: Affidavit of Service of Marc
                            (16 pgs)              Orfitelli (Filed By Epiq Corporate Restructuring
                                                  LLC ).(Related document(s):510 Notice)
 08/06/2020                                       (Garabato, Sid) (Entered: 08/06/2020)

                            654                   Supplemental Brief (Filed By c/o Annie Catmull
                            (381 pgs; 8 docs)     Royalty Owner Plaintiffs c/o ).(Related
                                                  document(s):424 Motion for Relief From Stay)
                                                  (Attachments: # 1 Exhibit 651 # 2 Exhibit 651-1
                                                  # 3 Exhibit 651-2 # 4 Exhibit 651-3 # 5 Exhibit
                                                  651-5 # 6 Exhibit 651-5 # 7 Exhibit 651-6)
 08/06/2020                                       (Catmull, Annie) (Entered: 08/06/2020)

                            655                   Order Authorizing the Retention and
                            (15 pgs)              Compensation of Certain Professionals Utilized
                                                  in the Ordinary Course of Business (Related Doc
                                                  # 288) Signed on 8/6/2020. (emiller) (Entered:
 08/06/2020                                       08/06/2020)

                            656                   Order Establishing Procedures for Interim
                            (7 pgs)               Compensation and Reimbursement of Expenses
                                                  for Professionals (Related Doc # 289) Signed on
 08/06/2020                                       8/6/2020. (emiller) (Entered: 08/06/2020)

                            657
                            (17 pgs)              Affidavit Re: Affidavit of Service of Marc
                                                  Orfitelli (Filed By Epiq Corporate Restructuring




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 101 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 101 of 1639
                                                                           0101


                                                  LLC ).(Related document(s):520 Generic
                                                  Motion, 523 Generic Motion, 524 Generic
 08/06/2020                                       Motion) (Garabato, Sid) (Entered: 08/06/2020)

                            658                   Affidavit Re: Affidavit of Service of Marc
                            (19 pgs)              Orfitelli (Filed By Epiq Corporate Restructuring
                                                  LLC ).(Related document(s):571 Proposed
 08/06/2020                                       Order) (Garabato, Sid) (Entered: 08/06/2020)

                            659                   BNC Certificate of Mailing. (Related document
                            (7 pgs)               (s):617 Clerk's Notice of Filing of an Appeal)
                                                  No. of Notices: 102. Notice Date 08/06/2020.
 08/06/2020                                       (Admin.) (Entered: 08/06/2020)

                            660                   Notice of Appearance and Request for Notice
                            (6 pgs; 2 docs)       Filed by Oklahoma County Treasurer
                                                  (Attachments: # 1 Exhibit) (mmap) (Entered:
 08/06/2020                                       08/07/2020)

                            661                   Notice of Appearance and Request for Notice
                            (3 pgs)               Filed by Luis Alberto Elizondo Filed by on
                                                  behalf of JUAN CARLOS ALANIZ (Elizondo,
 08/07/2020                                       Luis) (Entered: 08/07/2020)

                            662                   Withdraw Document (Filed By Texas Taxing
                            (2 pgs)               Authorities ).(Related document(s):341
                                                  Response/Objection) (LeDay, Tara) (Entered:
 08/07/2020                                       08/07/2020)

                            663                   Letters and Emails from Multiple Shareholders
 08/07/2020                 (1 pg)                (JeannieAndresen) (Entered: 08/07/2020)

                                                  Certificate of Telephone Notice. Contacted
                                                  Veronica Polnick. Movant to notice all interested
                                                  parties and file a certificate of service with the
                                                  court (Related document(s):367 Generic Motion)
                                                  Hearing scheduled for 8/12/2020 at 02:00 PM
                                                  via telephone and video conference. (emiller)
 08/07/2020                                       (Entered: 08/07/2020)

                            664                   Notice of Rule 2004 Requests on MUFG Union
                            (12 pgs; 2 docs)      Bank, N.A.. Filed by Official Committee Of
                                                  Unsecured Creditors (Attachments: # 1 Exhibit
 08/07/2020                                       A) (Harrison, Julie) (Entered: 08/07/2020)

                            665
                                                  Objection to DFW's Motion for Relief from




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 102 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 102 of 1639
                                                                           0102


                            (15 pgs)              Automatic Stay to Permit a Pending Appeal to
                                                  Proceed (related document(s):407 Motion for
                                                  Relief From Stay). Filed by Chesapeake Energy
                                                  Corporation (Cavenaugh, Matthew) (Entered:
 08/07/2020                                       08/07/2020)

                            666                   Objection to Eagle Ford Royalty Owner
                            (68 pgs)              Plaintiff's Motion for Relief from the Automatic
                                                  Stay as to Debtors Chesapeake Energy
                                                  Corporation; Chesapeake Operating, L.L.C.,
                                                  f/k/a Chesapeake Operating, Inc.; Chesapeake
                                                  Exploration, L.L.C. as Successor by Merger to
                                                  Chesapeake Exploration, L.P.; and Chesapeake
                                                  Energy Marketing, L.L.C. f/k/a Chesapeake
                                                  Energy Marketing, Inc. (related document(s):424
                                                  Motion for Relief From Stay). Filed by
                                                  Chesapeake Energy Corporation (Cavenaugh,
 08/07/2020                                       Matthew) (Entered: 08/07/2020)

                            667                   Notice of Joinder by CNOOC Energy U.S.A.
                            (4 pgs)               LLC to Debtors' Objection to Eagle Ford
                                                  Royalty Owner Plaintiffs' Motion for Relief from
                                                  the Automatic Stay. (Related document(s):424
                                                  Motion for Relief From Stay, 666 Objection)
                                                  Filed by CNOOC Energy U.S.A. LLC (Ripley,
 08/07/2020                                       Edward) (Entered: 08/07/2020)

                            668                   BNC Certificate of Mailing. (Related document
                            (7 pgs)               (s):618 Notice of Filing of Official Transcript
                                                  (Form)) No. of Notices: 102. Notice Date
 08/07/2020                                       08/07/2020. (Admin.) (Entered: 08/07/2020)

                            669                   BNC Certificate of Mailing. (Related document
                            (7 pgs)               (s):627 Order on Motion to Appear pro hac vice)
                                                  No. of Notices: 105. Notice Date 08/07/2020.
 08/07/2020                                       (Admin.) (Entered: 08/07/2020)

                            670                   BNC Certificate of Mailing. (Related document
                            (7 pgs)               (s):629 Order on Motion to Appear pro hac vice)
                                                  No. of Notices: 106. Notice Date 08/07/2020.
 08/07/2020                                       (Admin.) (Entered: 08/07/2020)

                            671                   BNC Certificate of Mailing. (Related document
                            (7 pgs)               (s):630 Order on Motion to Appear pro hac vice)
                                                  No. of Notices: 106. Notice Date 08/07/2020.
 08/07/2020                                       (Admin.) (Entered: 08/07/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 103 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 103 of 1639
                                                                           0103


                            704                   Letter from Kevin Carpenter, Trust Fund
 08/07/2020                 (4 pgs)               Dissolved (gkel) (Entered: 08/11/2020)

                            672                   Notice of Hearing on Bar Date Motion. (Related
                            (5 pgs)               document(s):367 Generic Motion) Filed by
                                                  Chesapeake Energy Corporation (Cavenaugh,
 08/08/2020                                       Matthew) (Entered: 08/08/2020)

                                                  Receipt of Motion for Relief From Stay(20-
                                                  33233) [motion,mrlfsty] ( 181.00) Filing Fee.
                                                  Receipt number 22340654. Fee amount $
 08/09/2020                                       181.00. (U.S. Treasury) (Entered: 08/09/2020)

                            673                   Order Granting Motion To Appear pro hac vice -
                            (1 pg)                Chrysanthe E. Vassiles (Related Doc # 621)
                                                  Signed on 8/9/2020. (emiller) (Entered:
 08/09/2020                                       08/09/2020)

                            674                   Order Granting Motion To Appear pro hac vice -
                            (1 pg)                Kate Scherling (Related Doc # 625) Signed on
 08/09/2020                                       8/9/2020. (emiller) (Entered: 08/09/2020)

                            675                   Order Granting Motion To Appear pro hac vice -
                            (1 pg)                Benjamin I. Firestone (Related Doc # 626)
                                                  Signed on 8/9/2020. (emiller) (Entered:
 08/09/2020                                       08/09/2020)

                            676                   Order Granting Motion To Appear pro hac vice -
                            (1 pg)                Jane VanLare (Related Doc # 635) Signed on
 08/09/2020                                       8/9/2020. (emiller) (Entered: 08/09/2020)

                            677                   Order Granting Motion To Appear pro hac vice -
                            (1 pg)                Caroline B. Stern (Related Doc # 638) Signed on
 08/09/2020                                       8/9/2020. (emiller) (Entered: 08/09/2020)

                            678                   BNC Certificate of Mailing. (Related document
                            (21 pgs)              (s):655 Generic Order) No. of Notices: 107.
                                                  Notice Date 08/09/2020. (Admin.) (Entered:
 08/09/2020                                       08/09/2020)

                            679                   BNC Certificate of Mailing. (Related document
                            (13 pgs)              (s):656 Generic Order) No. of Notices: 107.
                                                  Notice Date 08/09/2020. (Admin.) (Entered:
 08/09/2020                                       08/09/2020)

                            680                   Notice of Appearance and Request for Notice




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 104 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 104 of 1639
                                                                           0104


                            (6 pgs)               Filed by Chrysanthe E Vassiles Filed by on
                                                  behalf of Douglas Houck Trust (Vassiles,
 08/10/2020                                       Chrysanthe) (Entered: 08/10/2020)

                            681                   Objection by the Official Committee of Royalty
                            (38 pgs)              Owners to Debtors' Emergency Motion for Entry
                                                  of an Order Disbanding the Royalty Committee
                                                  (related document(s):567 Emergency Motion).
                                                  Filed by Official Committee of Royalty Owners
 08/10/2020                                       (Forshey, J) (Entered: 08/10/2020)

                            682                   Proposed Order RE: Denying Motion to Disband
                            (1 pg)                (Filed By Official Committee of Royalty
                                                  Owners ).(Related document(s):567 Emergency
                                                  Motion, 681 Objection) (Brown, pllc, Deirdre)
 08/10/2020                                       (Entered: 08/10/2020)

                            683                   Exhibit List, Witness List (Filed By Official
                            (8368 pgs; 25 docs)   Committee of Royalty Owners ).(Related
                                                  document(s):367 Generic Motion, 567
                                                  Emergency Motion) (Attachments: # 1 Ex. 01
                                                  Motion to Disband # 2 Ex. 02 - Objection and
                                                  Proposed Order # 3 Ex. 03 - Notice of Appt of
                                                  Comm # 4 Ex. 05 - List of Chesapeake Lawsuits
                                                  # 5 Ex. 06 - Declaration of Kelli Walter # 6 Ex.
                                                  07 - Chesapeake's 2019 10-K # 7 Ex. 08 -
                                                  Chesapeake's 2020 10-Q 1st Qtr # 8 Ex. 09A -
                                                  Letter from Key & Charest # 9 Ex. 09B - Letter
                                                  from Sharp # 10 Ex. 09C - Letter from Burnett #
                                                  11 Ex. 09D - Letter from Hentges # 12 Ex. 09E -
                                                  Letter from McNamara # 13 Ex. 09F - Letter
                                                  from Forshey # 14 Ex. 10 - Affidavit of Service
                                                  part 1 # 15 Ex. 10 - Affidavit of Service part 2 #
                                                  16 Ex. 10 - Affidavit of Service part 3 # 17 Ex.
                                                  10 - Affidavit of Service part 4 # 18 Ex. 11 -
                                                  Hovan Lease # 19 Ex. 12 Declaration of Aaron
                                                  Hovan # 20 Ex. 13 - Chesapeake Ltr to Royalty
                                                  Owners # 21 Ex. 14 - Complex Case Procedures
                                                  # 22 Ex. 15 - Second Amended Complaint # 23
                                                  Ex. 16 - DIP budget # 24 Ex. 17 -
                                                  Demonstrative) (Forshey, J) (Entered:
 08/10/2020                                       08/10/2020)

                            684                    Exhibit List (Filed By Dallas/Fort Worth
                            (3 pgs)                International Airport Board, City of Dallas,
                                                   City of Fort Worth ).(Related document(s):407
                                                   Motion for Relief From Stay) (Orenstein, Rosa)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 105 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 105 of 1639
                                                                           0105


 08/10/2020                                        (Entered: 08/10/2020)

                            685                    Exhibit List, Witness List (Filed By c/o Annie
                            (5812 pgs; 135 docs)   Catmull Royalty Owner Plaintiffs c/o ).(Related
                                                   document(s):424 Motion for Relief From Stay)
                                                   (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3
                                                   Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6
                                                   Exhibit 6 # 7 Exhibit 7 # 8 Exhibit 8 # 9
                                                   Exhibit 9 # 10 Exhibit 10 # 11 Exhibit 11 # 12
                                                   Exhibit 12 # 13 Exhibit 13 # 14 Exhibit 14 # 15
                                                   Exhibit 15 # 16 Exhibit 16 # 17 Exhibit 17 # 18
                                                   Exhibit 18 # 19 Exhibit 19 # 20 Exhibit 20 # 21
                                                   Exhibit 21 # 22 Exhibit 22 # 23 Exhibit 23 # 24
                                                   Exhibit 24 # 25 Exhibit 25 # 26 Exhibit 26 # 27
                                                   Exhibit 27 # 28 Exhibit 28 # 29 Exhibit 29 # 30
                                                   Exhibit 30 # 31 Exhibit 31 # 32 Exhibit 32 # 33
                                                   Exhibit 33 # 34 Exhibit 34 # 35 Exhibit 35 # 36
                                                   Exhibit 36 # 37 Exhibit 37 # 38 Exhibit 38 # 39
                                                   Exhibit 39 # 40 Exhibit 40 # 41 Exhibit 41 # 42
                                                   Exhibit 42 # 43 Exhibit 43 # 44 Exhibit 44 # 45
                                                   Exhibit 45 # 46 Exhibit 46 # 47 Exhibit 47 # 48
                                                   Exhibit 48 # 49 Exhibit 49 # 50 Exhibit 50 # 51
                                                   Exhibit 51 # 52 Exhibit 52 # 53 Exhibit 53 # 54
                                                   Exhibit 54 # 55 Exhibit 55 # 56 Exhibit 56 # 57
                                                   Exhibit 57 # 58 Exhibit 58 # 59 Exhibit 59 # 60
                                                   Exhibit 60 # 61 Exhibit 61 # 62 Exhibit 62 # 63
                                                   Exhibit 63 # 64 Exhibit 64 # 65 Exhibit 65 # 66
                                                   Exhibit 66 # 67 Exhibit 67 # 68 Exhibit 68 # 69
                                                   Exhibit 69 # 70 Exhibit 70 # 71 Exhibit 71 # 72
                                                   Exhibit 72 # 73 Exhibit 73 # 74 Exhibit # 75
                                                   Exhibit 75 # 76 Exhibit 76 # 77 Exhibit 77 # 78
                                                   Exhibit 78 # 79 Exhibit 79 # 80 Exhibit 80 # 81
                                                   Exhibit 81 # 82 Exhibit 82 # 83 Exhibit 83 # 84
                                                   Exhibit 84 # 85 Exhibit 85 # 86 Exhibit 86 # 87
                                                   Exhibit 87 # 88 Exhibit 88 # 89 Exhibit 89 # 90
                                                   Exhibit 90 # 91 Exhibit 91 # 92 Exhibit 92 # 93
                                                   Exhibit 93 # 94 Exhibit 94 # 95 Exhibit 95 # 96
                                                   Exhibit 96 # 97 Exhibit 97 # 98 Exhibit 98 # 99
                                                   Exhibit 99 # 100 Exhibit 100 # 101 Exhibit 101
                                                   # 102 Exhibit 102 # 103 Exhibit 103 # 104
                                                   Exhibit 104 # 105 Exhibit 105 # 106 Exhibit
                                                   106 # 107 Exhibit 107 # 108 Exhibit 108 # 109
                                                   Exhibit 109 # 110 Exhibit 110 # 111 Exhibit
                                                   111 # 112 Exhibit 112 # 113 Exhibit 113 # 114
                                                   Exhibit 114 # 115 Exhibit 115 # 116 Exhibit
                                                   116 # 117 Exhibit 117 # 118 Exhibit 118 # 119
                                                   Exhibit 119 # 120 Exhibit 120 # 121 Exhibit
                                                   122 # 122 Exhibit 123 # 123 Exhibit 124 # 124




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 106 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 106 of 1639
                                                                           0106


                                                   Exhibit 125 # 125 Exhibit 126 # 126 Exhibit
                                                   127 # 127 Exhibit 128 # 128 Exhibit 130 # 129
                                                   Exhibit 131 # 130 Exhibit 132 # 131 Exhibit
                                                   133 # 132 Exhibit 135 # 133 Exhibit 136 # 134
                                                   Exhibit 137) (Catmull, Annie) (Entered:
                                                   08/10/2020)

                            686                    Witness List, Exhibit List (Filed By
                            (330 pgs; 6 docs)      Chesapeake Energy Corporation ).(Related
                                                   document(s): Certificate of Notice)
                                                   (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3
                                                   Exhibit 4 # 4 Exhibit 6 # 5 Exhibit 7) (Peguero,
 08/10/2020                                        Kristhy) (Entered: 08/10/2020)

                            687                    Witness List, Exhibit List (Filed By Official
                            (4 pgs)                Committee Of Unsecured Creditors ).
 08/10/2020                                        (Harrison, Julie) (Entered: 08/10/2020)

                            688                    Exhibit List, Witness List (Filed By US
                            (2 pgs)                Trustee ).(Related document(s):567 Emergency
 08/10/2020                                        Motion) (Duran, Hector) (Entered: 08/10/2020)

                            689                    Exhibit List, Witness List (Filed By US
                            (64 pgs; 3 docs)       Trustee ).(Related document(s):567 Emergency
                                                   Motion) (Attachments: # 1 Exhibit 1 # 2
                                                   Exhibit 2) (Duran, Hector) (Entered:
 08/10/2020                                        08/10/2020)

                            690                    Additional Attachments Re: (related document
                            (12793 pgs; 4 docs)    (s):686 Witness List, Exhibit List) (Filed By
                                                   Chesapeake Energy Corporation ).(Related
                                                   document(s):686 Witness List, Exhibit List)
                                                   (Attachments: # 1 Exhibit 3, Part 2 # 2 Exhibit
                                                   5, Part 1 # 3 Exhibit 5, Part 2) (Peguero,
 08/10/2020                                        Kristhy) (Entered: 08/10/2020)

                            691                    Notice Eagle Ford Royalty Owner MDL
                            (77 pgs; 3 docs)       Plaintiffs' Exhibits 129 and 134. (Related
                                                   document(s):424 Motion for Relief From Stay,
                                                   685 Exhibit List, Witness List) Filed by c/o
                                                   Annie Catmull Royalty Owner Plaintiffs c/o
                                                   (Attachments: # 1 Exhibit 129 # 2 Exhibit 134)
 08/10/2020                                        (Catmull, Annie) (Entered: 08/10/2020)

                            692
                            (10 pgs)               Objection / Limited Objection of the Official
                                                   Committee of Unsecured Creditors to Debtors'




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 107 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 107 of 1639
                                                                           0107


                                                   Application for Entry of an Order Authorizing
                                                   the Employment and Retention of Rothschild &
                                                   Co US Inc. and Intrepid Partners, LLC as
                                                   Investment Bankers to the Debtors, Effective as
                                                   of June 28, 2020 (related document(s):369
                                                   Application to Employ). Filed by Official
                                                   Committee Of Unsecured Creditors (Harrison,
 08/10/2020                                        Julie) (Entered: 08/10/2020)

                            693                    Affidavit Re: Affidavit of Service of Geoff
                            (18 pgs)               Zahm (Filed By Epiq Corporate Restructuring
                                                   LLC ).(Related document(s):557 Application to
 08/10/2020                                        Employ) (Garabato, Sid) (Entered: 08/10/2020)

                            694                    Reply to Responses to DFW's Motion for Relief
                            (11 pgs)               from Stay (related document(s):407 Motion for
                                                   Relief From Stay). Filed by Dallas/Fort Worth
                                                   International Airport Board, City of Dallas,
                                                   City of Fort Worth (Orenstein, Rosa) (Entered:
 08/10/2020                                        08/10/2020)

                            695                    Notice of Appearance and Request for Notice
                            (4 pgs)                Filed by Mary Elizabeth Heard Filed by on
                                                   behalf of PMBG Parties (Heard, Mary)
 08/10/2020                                        (Entered: 08/10/2020)

                            696                    Response (Filed By PMBG Parties ).(Related
                            (4 pgs)                document(s):567 Emergency Motion) (Heard,
 08/10/2020                                        Mary) (Entered: 08/10/2020)

                            697                    Stipulation By Chesapeake Energy Corporation
                            (4 pgs)                and ETC Texas Pipeline, Ltd.. Does this
                                                   document include an agreed order or otherwise
                                                   request that the judge sign a document? Yes.
                                                   (Filed By Chesapeake Energy Corporation ).
 08/10/2020                                        (Peguero, Kristhy) (Entered: 08/10/2020)

                            698                    Notice of Reconstituted Committee of Royalty
                            (4 pgs)                Owners. Filed by US Trustee (Duran, Hector)
 08/11/2020                                        (Entered: 08/11/2020)

                            699                    Objection (related document(s):567 Emergency
                            (17 pgs; 2 docs)       Motion). Filed by US Trustee (Attachments: #
                                                   1 Proposed Order) (Duran, Hector) (Entered:
 08/11/2020                                        08/11/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 108 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 108 of 1639
                                                                           0108


                            700                    Proposed Order RE: Order (I) Authorizing
                            (14 pgs; 2 docs)       Entry Into the Backstop Commitment
                                                   Agreement, (II) Approving the Payment of Fees
                                                   and Expenses Related Thereto, and (III)
                                                   Granting Related Relief (Filed By Chesapeake
                                                   Energy Corporation ).(Related document(s):520
                                                   Generic Motion) (Attachments: # 1 Redline)
 08/11/2020                                        (Cavenaugh, Matthew) (Entered: 08/11/2020)

                            701                    Statement Verified Statement of Frances A.
                            (5 pgs)                Smith and Disclosures of Ross & Smith, PC
                                                   Pursuant to Fed. R. of Bankr. P. 2019 (Filed
                                                   By Petty Business Enterprises, LP, Petty
                                                   Energy L.P. and their related entities ). (Smith,
 08/11/2020                                        Frances) (Entered: 08/11/2020)

                            702                    Exhibit List (Filed By Dallas/Fort Worth
                            (42 pgs; 5 docs)       International Airport Board, City of Dallas,
                                                   City of Fort Worth ).(Related document(s):684
                                                   Exhibit List) (Attachments: # 1 Exhibit 1 # 2
                                                   Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4)
 08/11/2020                                        (Orenstein, Rosa) (Entered: 08/11/2020)

                            703                    Appellant Designation of Contents For
                            (32 pgs; 3 docs)       Inclusion in Record On Appeal (related
                                                   document(s):609 Notice of Appeal).
                                                   (Attachments: # 1 Exhibit # 2 Certificate of
                                                   Service)(Swartley, Jason) (Entered:
 08/11/2020                                        08/11/2020)

                            705                    Notice of Joinder to the Objection to the
                            (4 pgs)                Debtors Emergency Motion for Entry of an
                                                   Order Disbanding the Committee of Royalty
                                                   Holders. (Related document(s):699 Objection)
                                                   Filed by Railroad Commission of Texas
 08/11/2020                                        (Binford, Jason) (Entered: 08/11/2020)

                            706                    Proposed Order RE: Order to Approve
                            (33 pgs; 2 docs)       Procedures for De Minimis Asset Transactions
                                                   (Filed By Chesapeake Energy Corporation ).
                                                   (Related document(s):287 Generic Motion)
                                                   (Attachments: # 1 Redline) (Cavenaugh,
 08/11/2020                                        Matthew) (Entered: 08/11/2020)

                            707                    Statement - Verified Statement of the Official
                            (9 pgs)                Committee of Royalty Owners of Chesapeake
                                                   Energy Corporation, et al., Pursuant to




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 109 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 109 of 1639
                                                                           0109


                                                   Bankruptcy Rule 2019 (Filed By Official
                                                   Committee of Royalty Owners ). (Forshey, J)
 08/11/2020                                        (Entered: 08/11/2020)

                            708                    Reply in Support of Request for Stay Relief at
                            (22 pgs; 4 docs)       424 and Supplemental Brief at 654 (related
                                                   document(s):424 Motion for Relief From Stay).
                                                   Filed by c/o Annie Catmull Royalty Owner
                                                   Plaintiffs c/o (Attachments: # 1 Exhibit 138 # 2
                                                   Exhibit # 3 Exhibit) (Catmull, Annie) (Entered:
 08/11/2020                                        08/11/2020)

                            709                    Exhibit List (Filed By c/o Annie Catmull
                            (17 pgs; 4 docs)       Royalty Owner Plaintiffs c/o ).(Related
                                                   document(s):424 Motion for Relief From Stay,
                                                   685 Exhibit List, Witness List) (Attachments: #
                                                   1 Exhibit 138 # 2 Exhibit 139 # 3 Exhibit 140)
 08/11/2020                                        (Catmull, Annie) (Entered: 08/11/2020)

                            710                    Stipulation By Chesapeake Energy Corporation
                            (6 pgs)                and BP Energy Company. Does this document
                                                   include an agreed order or otherwise request
                                                   that the judge sign a document? Yes. (Filed By
                                                   Chesapeake Energy Corporation ). (Cavenaugh,
 08/11/2020                                        Matthew) (Entered: 08/11/2020)

                            711                    Omnibus Reply in Support of Debtors' Motion
                            (9 pgs)                for Entry of an Order (I) Setting Bar Dates for
                                                   Filing Proofs of Claim, Including Requests for
                                                   Payment Under Section 503(b)(9), (II)
                                                   Establishing Amended Schedules Bar Date and
                                                   Rejection Damages Bar Date, (III) Approving
                                                   the Form of and Manner for Filing Proofs of
                                                   Claim, Including Section 503(b)(9) Requests,
                                                   (IV) Approving Notice of Bar Dates, and (V)
                                                   Granting Related Relief (related document
                                                   (s):367 Generic Motion). Filed by Chesapeake
                                                   Energy Corporation (Cavenaugh, Matthew)
 08/11/2020                                        (Entered: 08/11/2020)

                            712                    Proposed Order RE: Order (I) Setting Bar
                            (48 pgs; 2 docs)       Dates for Filing Proofs of Claim, Including
                                                   Requests for Payment Under Section 503(b)(9),
                                                   (II) Establishing Amended Schedules Bar Date
                                                   and Rejection Damages Bar Date, (III)
                                                   Approving the Form of and Manner for Filing
                                                   Proofs of Claim, Including Section 503(b)(9)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 110 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 110 of 1639
                                                                           0110


                                                   Requests, (IV) Approving Notice of Bar Dates,
                                                   and (V) Granting Related Relief (Filed By
                                                   Chesapeake Energy Corporation ).(Related
                                                   document(s):367 Generic Motion)
                                                   (Attachments: # 1 Redline) (Cavenaugh,
 08/11/2020                                        Matthew) (Entered: 08/11/2020)

                            713                    Proposed Order RE: Order (I) Setting Bar
                            (78 pgs; 2 docs)       Dates for Filing Proofs of Claim, Including
                                                   Requests for Payment Under Section 503(b)(9),
                                                   (II) Establishing Amended Schedules Bar Date
                                                   and Rejection Damages Bar Date, (III)
                                                   Approving the Form of and Manner for Filing
                                                   Proofs of Claim, Including Section 503(b)(9)
                                                   Requests, (IV) Approving Notice of Bar Dates,
                                                   and (V) Granting Related Relief (Filed By
                                                   Chesapeake Energy Corporation ).(Related
                                                   document(s):367 Generic Motion)
                                                   (Attachments: # 1 Redline) (Cavenaugh,
 08/11/2020                                        Matthew) (Entered: 08/11/2020)

                            714                    Agenda for Hearing on 8/12/2020 (Filed By
                            (6 pgs)                Chesapeake Energy Corporation ). (Cavenaugh,
 08/11/2020                                        Matthew) (Entered: 08/11/2020)

                            715                    Order to Approve Procedures for De Minimis
                            (16 pgs)               Asset Transactions (Related Doc # 287) Signed
 08/12/2020                                        on 8/12/2020. (emiller) (Entered: 08/12/2020)

                            716                    Proposed Order RE: Motion to Set Bar Date
                            (38 pgs)               with redlines to Doc. No. 713 (Filed By Official
                                                   Committee of Royalty Owners ).(Related
                                                   document(s):367 Generic Motion, 650
                                                   Objection, 713 Proposed Order) (Brown, pllc,
 08/12/2020                                        Deirdre) (Entered: 08/12/2020)

                            717                    Certificate of Counsel with Respect to the
                            (32 pgs; 3 docs)       Retention Application of Kirkland & Ellis LLP
                                                   (Filed By Chesapeake Energy Corporation ).
                                                   (Related document(s):372 Application to
                                                   Employ) (Attachments: # 1 Proposed Order # 2
                                                   Redline) (Cavenaugh, Matthew) (Entered:
 08/12/2020                                        08/12/2020)

                            718                    Certificate of No Objection with Respect to the
                            (21 pgs; 3 docs)       Retention Application of Alvarez & Marsal
                                                   North America, LLC and Jackson Walker LLP




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 111 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 111 of 1639
                                                                           0111


                                                   (Filed By Chesapeake Energy Corporation ).
                                                   (Related document(s):368 Application to
                                                   Employ, 370 Application to Employ)
                                                   (Attachments: # 1 Proposed Order Alvarez &
                                                   Marsal North America, LLC # 2 Proposed
                                                   Order Jackson Walker LLP) (Cavenaugh,
 08/12/2020                                        Matthew) (Entered: 08/12/2020)

                            719                    Order Authorizing the Debtors to Employ and
                            (15 pgs)               Retain Alvarez & Marsal North America, LLC
                                                   as Restructuring Advisors Pursuant to Sections
                                                   327(a) and 328 of the Bankruptcy Code
                                                   Effective as of June 28, 2020 (Related Doc #
                                                   368) Signed on 8/12/2020. (emiller) (Entered:
 08/12/2020                                        08/12/2020)

                            720                    Order Granting the Application of Debtors and
                            (3 pgs)                Debtors in Possession to Retain Jackson
                                                   Walker LLP as Co-Counsel and Conflicts
                                                   Counsel for Debtors and Debtors in Possession
                                                   (Related Doc # 370) Signed on 8/12/2020.
 08/12/2020                                        (emiller) (Entered: 08/12/2020)

                            721                    AO 435 TRANSCRIPT ORDER FORM (Daily
                            (1 pg)                 (24 hours)) by Matthew Cavenaugh. This is to
                                                   order a transcript of 8/12/2020 before Judge
                                                   David R. Jones. Court Reporter/Transcriber:
                                                   Access Transcripts (Filed By Chesapeake
                                                   Energy Corporation ). (Cavenaugh, Matthew)
                                                   Electronically forwarded to Access Transcripts
                                                   on 8-13-2020. Estimated completion date: 8-
                                                   14-2020. Modified on 8/13/2020
 08/12/2020                                        (MelissaMorgan). (Entered: 08/12/2020)

                            722                    AO 435 TRANSCRIPT ORDER FORM (Daily
                            (1 pg)                 (24 hours)) by Jason Boland. This is to order a
                                                   transcript of August 12, 2020 hearing before
                                                   Judge David R. Jones. Court
                                                   Reporter/Transcriber: Access Transcripts (Filed
                                                   By Official Committee Of Unsecured
                                                   Creditors ). (Boland, Jason) Copy Request
                                                   electronically forwarded to Access Transcripts,
                                                   LLC on August 13, 2020. Estimated
                                                   completion date: August 14, 2020. Modified on
                                                   8/13/2020 (ClaudiaGutierrez). (Entered:
 08/12/2020                                        08/12/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 112 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 112 of 1639
                                                                           0112


                            723                    Motion for Partial Release of Mineral Interests
 08/12/2020                 (5 pgs)                (sgue) (Entered: 08/12/2020)

                            724                    Debtors Master Service List (Filed By Epiq
                            (52 pgs)               Corporate Restructuring LLC ). (Garabato, Sid)
 08/12/2020                                        (Entered: 08/12/2020)

                            725                    Application to Employ Brown Rudnick LLP as
                            (145 pgs; 4 docs)      Counsel to the Official Committee of
                                                   Unsecured Creditors. Objections/Request for
                                                   Hearing Due in 21 days. Filed by Creditor
                                                   Committee Official Committee Of Unsecured
                                                   Creditors (Attachments: # 1 Exhibit A:
                                                   Declaration of Robert J. Stark # 2 Exhibit B:
                                                   Declaration of Patrick J. Healy # 3 Proposed
 08/12/2020                                        Order) (Harrison, Julie) (Entered: 08/12/2020)

                            726                    AO 435 TRANSCRIPT ORDER FORM (Daily
                            (1 pg)                 (24 hours)) by Mary Elizabeth Heard. This is to
                                                   order a transcript of August 12, 2020 Hearing
                                                   before Judge David R. Jones. Court
                                                   Reporter/Transcriber: Access Transcripts (Filed
                                                   By PMBG Parties ). (Heard, Mary) Copy
                                                   Request electronically forwarded to Access
                                                   Transcripts, LLC on August 13, 2020.
                                                   Estimated completion date: August 14, 2020.
                                                   Modified on 8/13/2020 (ClaudiaGutierrez).
 08/12/2020                                        (Entered: 08/12/2020)

                            727                    Application to Employ Norton Rose Fulbright
                            (93 pgs; 4 docs)       US LLP as Co-Counsel to the Official
                                                   Committee of Unsecured Creditors.
                                                   Objections/Request for Hearing Due in 21
                                                   days. Filed by Creditor Committee Official
                                                   Committee Of Unsecured Creditors
                                                   (Attachments: # 1 Proposed Order # 2 Exhibit
                                                   B: Declaration of Louis R. Strubeck, Jr. # 3
                                                   Exhibit C: Declaration of Patrick J. Healy)
 08/12/2020                                        (Harrison, Julie) (Entered: 08/12/2020)

                            728                    AO 435 TRANSCRIPT ORDER FORM
                            (1 pg)                 (Expedited (7 days)) by M. Quejada. This is to
                                                   order a transcript of Entire Hearing held on
                                                   August 12, 2020 before Judge David R. Jones.
                                                   Court Reporter/Transcriber: Access Transcripts
                                                   (Filed By MUFG Union Bank, N.A. ).
                                                   (Quejada, Maegan) Copy Request




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 113 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 113 of 1639
                                                                           0113


                                                   electronically forwarded to Access Transcripts,
                                                   LLC on August 13, 2020. Estimated
                                                   completion date: August 20, 2020. Modified on
                                                   8/13/2020 (ClaudiaGutierrez). (Entered:
 08/12/2020                                        08/12/2020)

                            729                    Courtroom Minutes. Time Hearing Held: 2:00
                            (4 pgs)                pm. Appearances: SEE ATTACHED. (Related
                                                   document(s):367 Generic Motion, 407 Motion
                                                   for Relief From Stay, 424 Motion for Relief
                                                   From Stay, 567 Emergency Motion) The Bar
                                                   Date Motion filed at Docket No. 367 is granted.
                                                   Order to be submitted. Regarding the Motion to
                                                   Lift Stay filed at Docket No. 407, exhibits 702-
                                                   1 and 702-3 were admitted. The motion is
                                                   denied. Order to be submitted. Regarding the
                                                   Motion to Lift Stay filed at Docket No. 424,
                                                   exhibit 691-2 was admitted. The Court took
                                                   judicial notice of exhibits 685-48, 685-51 and
                                                   685-52. Witness: Vincent Circelli. The motion
                                                   is denied. Order to be submitted. The Motion to
                                                   Disband the Royalty Committee filed at Docket
                                                   No. 567 is denied as stated on the record. The
                                                   US Trustee is to reconstitute the committee as
                                                   stated on the record. Ms. Brown to submit a
                                                   proposed form of order. (emiller) (Entered:
 08/12/2020                                        08/12/2020)

                            730                    AO 435 TRANSCRIPT ORDER FORM (Daily
                            (1 pg)                 (24 hours)) by Marty L. Brimmage. This is to
                                                   order a transcript of the August 12, 2020
                                                   Hearing before Judge David R. Jones. Court
                                                   Reporter/Transcriber: Access Transcripts (Filed
                                                   By Franklin Advisers, Inc., as Investment
                                                   Manager on Behalf of Certain Funds and
                                                   Accounts ). (Brimmage, Marty) Copy Request
                                                   electronically forwarded to Access Transcripts,
                                                   LLC on August 13, 2020. Estimated
                                                   completion date: August 14, 2020. Modified on
                                                   8/13/2020 (ClaudiaGutierrez). (Entered:
 08/12/2020                                        08/12/2020)

                            731                        PDF with attached Audio File. Court Date
                            (1 pg)                 & Time [ 8/12/2020 2:05:21 PM ]. File Size
                                                   [ 85516 KB ]. Run Time [ 02:58:10 ]. (admin).
 08/12/2020                                        (Entered: 08/12/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 114 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 114 of 1639
                                                                           0114


                            732                    BNC Certificate of Mailing. (Related document
                            (7 pgs)                (s):673 Order on Motion to Appear pro hac
                                                   vice) No. of Notices: 108. Notice Date
 08/12/2020                                        08/12/2020. (Admin.) (Entered: 08/12/2020)

                            733                    BNC Certificate of Mailing. (Related document
                            (7 pgs)                (s):674 Order on Motion to Appear pro hac
                                                   vice) No. of Notices: 108. Notice Date
 08/12/2020                                        08/12/2020. (Admin.) (Entered: 08/12/2020)

                            734                    BNC Certificate of Mailing. (Related document
                            (7 pgs)                (s):675 Order on Motion to Appear pro hac
                                                   vice) No. of Notices: 108. Notice Date
 08/12/2020                                        08/12/2020. (Admin.) (Entered: 08/12/2020)

                            735                    BNC Certificate of Mailing. (Related document
                            (7 pgs)                (s):676 Order on Motion to Appear pro hac
                                                   vice) No. of Notices: 108. Notice Date
 08/12/2020                                        08/12/2020. (Admin.) (Entered: 08/12/2020)

                            736                    BNC Certificate of Mailing. (Related document
                            (7 pgs)                (s):677 Order on Motion to Appear pro hac
                                                   vice) No. of Notices: 108. Notice Date
 08/12/2020                                        08/12/2020. (Admin.) (Entered: 08/12/2020)

                            786                    Order Authorizing the Retention and
                            (22 pgs)               Employment of Kirkland & Ellis LLP and
                                                   Kirkland & Ellis International LLP as
                                                   Attorneys for the Debtors and Debtors in
                                                   Possession Effective as of June 28, 2020
                                                   (Related Doc # 372) Signed on 8/12/2020.
 08/12/2020                                        (emiller) (Entered: 08/14/2020)

                            737                    Proposed Order RE: Order (I) Setting Bar
                            (79 pgs; 2 docs)       Dates for Filing Proofs of Claim, Including
                                                   Requests for Payment Under Section 503(b)(9),
                                                   (II) Establishing Amended Schedules Bar Date
                                                   and Rejection Damages Bar Date, (III)
                                                   Approving the Form of and Manner for Filing
                                                   Proofs of Claim, Including Section 503(b)(9)
                                                   Requests, (IV) Approving Notice of Bar Dates,
                                                   and (V) Granting Related Relief (Filed By
                                                   Chesapeake Energy Corporation ).(Related
                                                   document(s):367 Generic Motion)
                                                   (Attachments: # 1 Redline) (Cavenaugh,
 08/13/2020                                        Matthew) (Entered: 08/13/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                   5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 115 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 115 of 1639
                                                                           0115


                            738                    Declaration re: Declaration of
                            (4 pgs)                Disinterestedness of Amini Law Firm PLLC
                                                   Pursuant to the Order Authorizing the
                                                   Retention and Compensation of Certain
                                                   Professionals Utilized in the Ordinary Course
                                                   of Business (Filed By Chesapeake Energy
                                                   Corporation ). (Cavenaugh, Matthew) (Entered:
 08/13/2020                                        08/13/2020)

                            739                    Declaration re: Declaration of
                            (4 pgs)                Disinterestedness of Babst Calland, P.C.,
                                                   Pursuant to the Order Authorizing the
                                                   Retention and Compensation of Certain
                                                   Professionals Utilized in the Ordinary Course
                                                   of Business (Filed By Chesapeake Energy
                                                   Corporation ). (Cavenaugh, Matthew) (Entered:
 08/13/2020                                        08/13/2020)

                            740                    Declaration re: Declaration of
                            (3 pgs)                Disinterestedness of Baker, Donelson,
                                                   Bearman, Caldwell & Berkowitz, PC Pursuant
                                                   to the Order Authorizing the Retention and
                                                   Compensation of Certain Professionals Utilized
                                                   in the Ordinary Course of Business (Filed By
                                                   Chesapeake Energy Corporation ). (Cavenaugh,
 08/13/2020                                        Matthew) (Entered: 08/13/2020)

                            741                    Declaration re: Declaration of
                            (3 pgs)                Disinterestedness of Blake Smith Law, PLLC
                                                   Pursuant to the Order Authorizing the
                                                   Retention and Compensation of Certain
                                                   Professionals Utilized in the Ordinary Course
                                                   of Business (Filed By Chesapeake Energy
                                                   Corporation ). (Cavenaugh, Matthew) (Entered:
 08/13/2020                                        08/13/2020)

                            742                    Declaration re: Declaration of
                            (4 pgs)                Disinterestedness of Blanchard, Walker,
                                                   O'Quin & Roberts, A Professional Law
                                                   Corporation, Pursuant to the Order
                                                   Authorizing the Retention and Compensation of
                                                   Certain Professionals Utilized in the Ordinary
                                                   Course of Business (Filed By Chesapeake
                                                   Energy Corporation ). (Cavenaugh, Matthew)
 08/13/2020                                        (Entered: 08/13/2020)

                            743                    Declaration re: Declaration of




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 116 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 116 of 1639
                                                                           0116


                            (4 pgs)                Disinterestedness of Brown & Fortunato, P.C.
                                                   Pursuant to the Order Authorizing the
                                                   Retention and Compensation of Certain
                                                   Professionals Utilized in the Ordinary Course
                                                   of Business (Filed By Chesapeake Energy
                                                   Corporation ). (Cavenaugh, Matthew) (Entered:
 08/13/2020                                        08/13/2020)

                            744                    Declaration re: Declaration of
                            (4 pgs)                Disinterestedness of Childers, Hewett, Myers &
                                                   Slagle, PLLC Pursuant to the Order
                                                   Authorizing the Retention and Compensation of
                                                   Certain Professionals Utilized in the Ordinary
                                                   Course of Business (Filed By Chesapeake
                                                   Energy Corporation ). (Cavenaugh, Matthew)
 08/13/2020                                        (Entered: 08/13/2020)

                            745                    Declaration re: Declaration of
                            (3 pgs)                Disinterestedness of Conner & Winters, LLP
                                                   Pursuant to the Order Authorizing the
                                                   Retention and Compensation of Certain
                                                   Professionals Utilized in the Ordinary Course
                                                   of Business (Filed By Chesapeake Energy
                                                   Corporation ). (Cavenaugh, Matthew) (Entered:
 08/13/2020                                        08/13/2020)

                            746                    Declaration re: Declaration of
                            (4 pgs)                Disinterestedness of Edinger Leonard &
                                                   Blakley PLLC Pursuant to the Order
                                                   Authorizing the Retention and Compensation of
                                                   Certain Professionals Utilized in the Ordinary
                                                   Course of Business (Filed By Chesapeake
                                                   Energy Corporation ). (Cavenaugh, Matthew)
 08/13/2020                                        (Entered: 08/13/2020)

                            747                    Declaration re: Declaration of
                            (4 pgs)                Disinterestedness of Fleischer, Fleischer,
                                                   Painter & Cantrell, PLLC Pursuant to the
                                                   Order Authorizing the Retention and
                                                   Compensation of Certain Professionals Utilized
                                                   in the Ordinary Course of Business (Filed By
                                                   Chesapeake Energy Corporation ). (Cavenaugh,
 08/13/2020                                        Matthew) (Entered: 08/13/2020)

                            748                    Declaration re: Declaration of
                            (4 pgs)                Disinterestedness of Freeman Mills PC
                                                   Pursuant to the Order Authorizing the




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 117 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 117 of 1639
                                                                           0117


                                                   Retention and Compensation of Certain
                                                   Professionals Utilized in the Ordinary Course
                                                   of Business (Filed By Chesapeake Energy
                                                   Corporation ). (Cavenaugh, Matthew) (Entered:
 08/13/2020                                        08/13/2020)

                            749                    Declaration re: Declaration of
                            (4 pgs)                Disinterestedness of Gary C. Franks, P.C.
                                                   Pursuant to the Order Authorizing the
                                                   Retention and Compensation of Certain
                                                   Professionals Utilized in the Ordinary Course
                                                   of Business (Filed By Chesapeake Energy
                                                   Corporation ). (Cavenaugh, Matthew) (Entered:
 08/13/2020                                        08/13/2020)

                            750                    Declaration re: Declaration of
                            (4 pgs)                Disinterestedness of Gauntt, Koen, Binney &
                                                   Kidd, LLP Pursuant to the Order Authorizing
                                                   the Retention and Compensation of Certain
                                                   Professionals Utilized in the Ordinary Course
                                                   of Business (Filed By Chesapeake Energy
                                                   Corporation ). (Cavenaugh, Matthew) (Entered:
 08/13/2020                                        08/13/2020)

                            751                    Declaration re: Declaration of
                            (4 pgs)                Disinterestedness of Gray Reed Pursuant to the
                                                   Order Authorizing the Retention and
                                                   Compensation of Certain Professionals Utilized
                                                   in the Ordinary Course of Business (Filed By
                                                   Chesapeake Energy Corporation ). (Cavenaugh,
 08/13/2020                                        Matthew) (Entered: 08/13/2020)

                            752                    Declaration re: Declaration of
                            (4 pgs)                Disinterestedness of Hargrove, Smelley &
                                                   Strickland Pursuant to the Order Authorizing
                                                   the Retention and Compensation of Certain
                                                   Professionals Utilized in the Ordinary Course
                                                   of Business (Filed By Chesapeake Energy
                                                   Corporation ). (Cavenaugh, Matthew) (Entered:
 08/13/2020                                        08/13/2020)

                            753                    Declaration re: Declaration of
                            (3 pgs)                Disinterestedness of Jones Walker LLP
                                                   Pursuant to the Order Authorizing the
                                                   Retention and Compensation of Certain
                                                   Professionals Utilized in the Ordinary Course
                                                   of Business (Filed By Chesapeake Energy




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 118 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 118 of 1639
                                                                           0118


                                                   Corporation ). (Cavenaugh, Matthew) (Entered:
 08/13/2020                                        08/13/2020)

                            754                    Declaration re: Declaration of
                            (4 pgs)                Disinterestedness of Kean Miller LLP Pursuant
                                                   to the Order Authorizing the Retention and
                                                   Compensation of Certain Professionals Utilized
                                                   in the Ordinary Course of Business (Filed By
                                                   Chesapeake Energy Corporation ). (Cavenaugh,
 08/13/2020                                        Matthew) (Entered: 08/13/2020)

                            755                    Declaration re: Declaration of
                            (4 pgs)                Disinterestedness of Kennedy Law Firm
                                                   Pursuant to the Order Authorizing the
                                                   Retention and Compensation of Certain
                                                   Professionals Utilized in the Ordinary Course
                                                   of Business (Filed By Chesapeake Energy
                                                   Corporation ). (Cavenaugh, Matthew) (Entered:
 08/13/2020                                        08/13/2020)

                            756                    Declaration re: Declaration of
                            (4 pgs)                Disinterestedness of Kohm & Associates, P.C.
                                                   Pursuant to the Order Authorizing the
                                                   Retention and Compensation of Certain
                                                   Professionals Utilized in the Ordinary Course
                                                   of Business (Filed By Chesapeake Energy
                                                   Corporation ). (Cavenaugh, Matthew) (Entered:
 08/13/2020                                        08/13/2020)

                            757                    Declaration re: Declaration of
                            (4 pgs)                Disinterestedness of The Lanier Law Firm,
                                                   P.C. Pursuant to the Order Authorizing the
                                                   Retention and Compensation of Certain
                                                   Professionals Utilized in the Ordinary Course
                                                   of Business (Filed By Chesapeake Energy
                                                   Corporation ). (Cavenaugh, Matthew) (Entered:
 08/13/2020                                        08/13/2020)

                            758                    Declaration re: Declaration of
                            (4 pgs)                Disinterestedness of Mitchell, Williams, Selig,
                                                   Gates & Woodyard, P.L.L.C. Pursuant to the
                                                   Order Authorizing the Retention and
                                                   Compensation of Certain Professionals Utilized
                                                   in the Ordinary Course of Business (Filed By
                                                   Chesapeake Energy Corporation ). (Cavenaugh,
 08/13/2020                                        Matthew) (Entered: 08/13/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 119 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 119 of 1639
                                                                           0119


                            759                    Declaration re: Declaration of
                            (4 pgs)                Disinterestedness of Mowry Law LLC Pursuant
                                                   to the Order Authorizing the Retention and
                                                   Compensation of Certain Professionals Utilized
                                                   in the Ordinary Course of Business (Filed By
                                                   Chesapeake Energy Corporation ). (Cavenaugh,
 08/13/2020                                        Matthew) (Entered: 08/13/2020)

                            760                    Declaration re: Declaration of
                            (4 pgs)                Disinterestedness of Myers, Brier & Kelly, LLP
                                                   Pursuant to the Order Authorizing the
                                                   Retention and Compensation of Certain
                                                   Professionals Utilized in the Ordinary Course
                                                   of Business (Filed By Chesapeake Energy
                                                   Corporation ). (Cavenaugh, Matthew) (Entered:
 08/13/2020                                        08/13/2020)

                            761                    Declaration re: Declaration of
                            (4 pgs)                Disinterestedness of Onebane Law Firm
                                                   Pursuant to the Order Authorizing the
                                                   Retention and Compensation of Certain
                                                   Professionals Utilized in the Ordinary Course
                                                   of Business (Filed By Chesapeake Energy
                                                   Corporation ). (Cavenaugh, Matthew) (Entered:
 08/13/2020                                        08/13/2020)

                            762                    Declaration re: Declaration of
                            (3 pgs)                Disinterestedness of Ottinger Hebert, LLC
                                                   Pursuant to the Order Authorizing the
                                                   Retention and Compensation of Certain
                                                   Professionals Utilized in the Ordinary Course
                                                   of Business (Filed By Chesapeake Energy
                                                   Corporation ). (Cavenaugh, Matthew) (Entered:
 08/13/2020                                        08/13/2020)

                            763                    Declaration re: Declaration of
                            (3 pgs)                Disinterestedness of Randazzo Giglio & Bailey
                                                   LLC Pursuant to the Order Authorizing the
                                                   Retention and Compensation of Certain
                                                   Professionals Utilized in the Ordinary Course
                                                   of Business (Filed By Chesapeake Energy
                                                   Corporation ). (Cavenaugh, Matthew) (Entered:
 08/13/2020                                        08/13/2020)

                            764                    Declaration re: Declaration of
                            (4 pgs)                Disinterestedness of Reed Smith LLP Pursuant
                                                   to the Order Authorizing the Retention and




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 120 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 120 of 1639
                                                                           0120


                                                   Compensation of Certain Professionals Utilized
                                                   in the Ordinary Course of Business (Filed By
                                                   Chesapeake Energy Corporation ). (Cavenaugh,
 08/13/2020                                        Matthew) (Entered: 08/13/2020)

                            765                    Declaration re: Declaration of
                            (4 pgs)                Disinterestedness of Santoyo Wehmeyer P.C.
                                                   Pursuant to the Order Authorizing the
                                                   Retention and Compensation of Certain
                                                   Professionals Utilized in the Ordinary Course
                                                   of Business (Filed By Chesapeake Energy
                                                   Corporation ). (Cavenaugh, Matthew) (Entered:
 08/13/2020                                        08/13/2020)

                            766                    Declaration re: Declaration of
                            (3 pgs)                Disinterestedness of Scott Douglass &
                                                   McConnico LLP Pursuant to the Order
                                                   Authorizing the Retention and Compensation of
                                                   Certain Professionals Utilized in the Ordinary
                                                   Course of Business (Filed By Chesapeake
                                                   Energy Corporation ). (Cavenaugh, Matthew)
 08/13/2020                                        (Entered: 08/13/2020)

                            767                    Declaration re: Declaration of
                            (6 pgs)                Disinterestedness of Saul Ewing Arnstein &
                                                   Lehr LLP Pursuant to the Order Authorizing
                                                   the Retention and Compensation of Certain
                                                   Professionals Utilized in the Ordinary Course
                                                   of Business (Filed By Chesapeake Energy
                                                   Corporation ). (Cavenaugh, Matthew) (Entered:
 08/13/2020                                        08/13/2020)

                            768                    Declaration re: Declaration of
                            (4 pgs)                Disinterestedness of Steven S. Toeppich &
                                                   Associates, PLLC Pursuant to the Order
                                                   Authorizing the Retention and Compensation of
                                                   Certain Professionals Utilized in the Ordinary
                                                   Course of Business (Filed By Chesapeake
                                                   Energy Corporation ). (Cavenaugh, Matthew)
 08/13/2020                                        (Entered: 08/13/2020)

                            769                    Declaration re: Declaration of
                            (4 pgs)                Disinterestedness of Talasaz & Finkbeiner
                                                   PLLC Pursuant to the Order Authorizing the
                                                   Retention and Compensation of Certain
                                                   Professionals Utilized in the Ordinary Course
                                                   of Business (Filed By Chesapeake Energy




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 121 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 121 of 1639
                                                                           0121


                                                   Corporation ). (Cavenaugh, Matthew) (Entered:
 08/13/2020                                        08/13/2020)

                            770                    Declaration re: Declaration of
                            (3 pgs)                Disinterestedness of Tellie & Coleman, P.C.
                                                   Pursuant to the Order Authorizing the
                                                   Retention and Compensation of Certain
                                                   Professionals Utilized in the Ordinary Course
                                                   of Business (Filed By Chesapeake Energy
                                                   Corporation ). (Cavenaugh, Matthew) (Entered:
 08/13/2020                                        08/13/2020)

                            771                    Declaration re: Declaration of
                            (4 pgs)                Disinterestedness of The Shanor Group LLC
                                                   Pursuant to the Order Authorizing the
                                                   Retention and Compensation of Certain
                                                   Professionals Utilized in the Ordinary Course
                                                   of Business (Filed By Chesapeake Energy
                                                   Corporation ). (Cavenaugh, Matthew) (Entered:
 08/13/2020                                        08/13/2020)

                            772                    Declaration re: Declaration of
                            (4 pgs)                Disinterestedness of The Title Law Group,
                                                   PLLC Pursuant to the Order Authorizing the
                                                   Retention and Compensation of Certain
                                                   Professionals Utilized in the Ordinary Course
                                                   of Business (Filed By Chesapeake Energy
                                                   Corporation ). (Cavenaugh, Matthew) (Entered:
 08/13/2020                                        08/13/2020)

                            773                    Declaration re: Declaration of
                            (4 pgs)                Disinterestedness of Trimble Law Group,
                                                   PLLC Pursuant to the Order Authorizing the
                                                   Retention and Compensation of Certain
                                                   Professionals Utilized in the Ordinary Course
                                                   of Business (Filed By Chesapeake Energy
                                                   Corporation ). (Cavenaugh, Matthew) (Entered:
 08/13/2020                                        08/13/2020)

                            774                    Declaration re: Declaration of
                            (4 pgs)                Disinterestedness of Watson Law Firm, LLP
                                                   Pursuant to the Order Authorizing the
                                                   Retention and Compensation of Certain
                                                   Professionals Utilized in the Ordinary Course
                                                   of Business (Filed By Chesapeake Energy
                                                   Corporation ). (Cavenaugh, Matthew) (Entered:
 08/13/2020                                        08/13/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                   5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 122 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 122 of 1639
                                                                           0122


                            775                    Declaration re: Declaration of
                            (3 pgs)                Disinterestedness of Williams, Porter, Day and
                                                   Neville, P.C. Pursuant to the Order Authorizing
                                                   the Retention and Compensation of Certain
                                                   Professionals Utilized in the Ordinary Course
                                                   of Business (Filed By Chesapeake Energy
                                                   Corporation ). (Cavenaugh, Matthew) (Entered:
 08/13/2020                                        08/13/2020)

                            776                    Declaration re: Declaration of
                            (4 pgs)                Disinterestedness of Williams Legal Services,
                                                   PLLC Pursuant to the Order Authorizing the
                                                   Retention and Compensation of Certain
                                                   Professionals Utilized in the Ordinary Course
                                                   of Business (Filed By Chesapeake Energy
                                                   Corporation ). (Cavenaugh, Matthew) (Entered:
 08/13/2020                                        08/13/2020)

                            777                    Declaration re: Declaration of
                            (4 pgs)                Disinterestedness of Mowry Law LLC Pursuant
                                                   to the Order Authorizing the Retention and
                                                   Compensation of Certain Professionals Utilized
                                                   in the Ordinary Course of Business (Filed By
                                                   Chesapeake Energy Corporation ). (Cavenaugh,
 08/13/2020                                        Matthew) (Entered: 08/13/2020)

                            778                    Declaration re: Declaration of
                            (4 pgs)                Disinterestedness of James Lynn Franks
                                                   Attorney at Law, P.C. Pursuant to the Order
                                                   Authorizing the Retention and Compensation of
                                                   Certain Professionals Utilized in the Ordinary
                                                   Course of Business (Filed By Chesapeake
                                                   Energy Corporation ). (Cavenaugh, Matthew)
 08/13/2020                                        (Entered: 08/13/2020i

                            779                    Notice of Appearance and Request for Notice
                            (3 pgs)                Filed by Bradley Clay Knapp Filed by on
                                                   behalf of Rodney Hudson, Allen Johnson
 08/13/2020                                        (Knapp, Bradley) (Entered: 08/13/2020)

                            780                    Application to Employ AlixPartners, LLP as
                            (102 pgs; 4 docs)      Financial Advisor to the Official Committee of
                                                   Unsecured Creditors. Objections/Request for
                                                   Hearing Due in 21 days. Filed by Creditor
                                                   Committee Official Committee Of Unsecured
                                                   Creditors (Attachments: # 1 Exhibit A:
                                                   Declaration of David MacGreevey # 2 Exhibit




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 123 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 123 of 1639
                                                                           0123


                                                   B: Engagement Letter # 3 Proposed Order)
 08/13/2020                                        (Harrison, Julie) (Entered: 08/13/2020)

                            781                    Notice to Chesapeake Energy Corporation of
                            (7 pgs; 2 docs)        Rule 30(b)(6) Deposition. Filed by Official
                                                   Committee Of Unsecured Creditors
                                                   (Attachments: # 1 Exhibit A) (Harrison, Julie)
 08/13/2020                                        (Entered: 08/13/2020)

                            782                    Affidavit Re: Affidavit of Service of Marc
                            (39 pgs)               Orfitelli (Filed By Epiq Corporate
                                                   Restructuring LLC ).(Related document(s):574
                                                   Additional Attachments, 576 Agenda, 593
                                                   Generic Order, 594 Order on Emergency
                                                   Motion, 595 Generic Order, 596 Order on
                                                   Emergency Motion, 597 Order on Emergency
                                                   Motion, 598 Generic Motion, 599 Declaration)
 08/13/2020                                        (Garabato, Sid) (Entered: 08/13/2020)

                            783                    Declaration re: Declaration of
                            (4 pgs)                Disinterestedness of Sherman & Sterling LLP
                                                   Pursuant to the Order Authorizing the
                                                   Retention and Compensation of Certain
                                                   Professionals Utilized in the Ordinary Course
                                                   of Business (Filed By Chesapeake Energy
                                                   Corporation ). (Cavenaugh, Matthew) (Entered:
 08/13/2020                                        08/13/2020)

                            784                   Affidavit Re: Affidavit of Service of Marc
                            (26 pgs)              Orfitelli (Filed By Epiq Corporate Restructuring
                                                  LLC ).(Related document(s):655 Generic Order,
                                                  656 Generic Order) (Garabato, Sid) (Entered:
 08/13/2020                                       08/13/2020)

                            787                   Order (I) Setting Bar Dates for Filing Proofs of
                            (39 pgs)              Claim, Including Requests for Payment Under
                                                  Section 503(b)(9), (II) Establishing Amended
                                                  Schedules Bar Date and Rejection Damages Bar
                                                  Date, (III) Approving the Form of and Manner
                                                  for Filing Proofs of Claim, Including Section
                                                  503(b)(9) Requests, (IV) Approving Notice of
                                                  Bar Dates, and (V) Granting Related Relief
                                                  (Related Doc # 367) Signed on 8/13/2020.
 08/13/2020                                       (emiller) (Entered: 08/14/2020)

                            785                   Declaration re: Declaration of Disinterestedness
                            (4 pgs)               of Thompson & Knight, LLP Pursuant to the




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 124 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 124 of 1639
                                                                           0124


                                                  Order Authorizing the Retention and
                                                  Compensation of Certain Professionals Utilized
                                                  in the Ordinary Course of Business (Filed By
                                                  Chesapeake Energy Corporation ). (Levitt,
 08/14/2020                                       Steven) (Entered: 08/14/2020)

                            788                   Declaration re: - Second Amended Declaration
                            (9 pgs)               of Jeff P. Prostok in Support of the Official
                                                  Committee of Royalty Owners' Application for
                                                  Entry of Order Authorizing Retention and
                                                  Employment of Forshey & Prostok, LLP as
                                                  Attorneys for the Official Committee of Royalty
                                                  Owners Effective as of July 25, 2020 (Filed By
                                                  Official Committee of Royalty Owners ).
                                                  (Related document(s):557 Application to
                                                  Employ) (Prostok, Jeffrey) (Entered:
 08/14/2020                                       08/14/2020)

                            789                   Response/Objection Filed by MUFG Union
                            (6 pgs)               Bank, N.A.. (Related document(s):664 Notice)
 08/14/2020                                       (Quejada, Maegan) (Entered: 08/14/2020)

                            790                   Transcript RE: Motion Hearing held on
                            (134 pgs)             08/12/2020 before Judge David R. Jones.
                                                  Transcript is available for viewing in the Clerk's
                                                  Office. Filed by Transcript access will be
                                                  restricted through 11/12/2020.
 08/14/2020                                       (AccessTranscripts) (Entered: 08/14/2020)

                            791                   BNC Certificate of Mailing. (Related document
                            (22 pgs)              (s):715 Generic Order) No. of Notices: 109.
                                                  Notice Date 08/14/2020. (Admin.) (Entered:
 08/14/2020                                       08/14/2020)

                            792                   BNC Certificate of Mailing. (Related document
                            (21 pgs)              (s):719 Order on Application to Employ) No. of
                                                  Notices: 109. Notice Date 08/14/2020. (Admin.)
 08/14/2020                                       (Entered: 08/14/2020)

                            793                   BNC Certificate of Mailing. (Related document
                            (9 pgs)               (s):720 Order on Application to Employ) No. of
                                                  Notices: 109. Notice Date 08/14/2020. (Admin.)
 08/14/2020                                       (Entered: 08/14/2020)

                            822
                            (4 pgs)               Stipulation and Agreed Scheduling Order Signed
                                                  on 8/14/2020 (Related document(s):697




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 125 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 125 of 1639
                                                                           0125


                                                  Stipulation) Hearing scheduled for 8/31/2020
                                                  at 09:00 AM via telephone and video
 08/14/2020                                       conference. (emiller) (Entered: 08/18/2020)

                            794                   Notice of Appearance and Request for Notice
                            (3 pgs)               Filed by John E. Johnson Filed by on behalf of
                                                  Johnson Oil Partnership, John E. Johnson
 08/16/2020                                       (Johnson, John) (Entered: 08/16/2020)

                            795                   Proposed Order Submission After Hearing (Filed
                            (1 pg)                By Official Committee of Royalty Owners ).
                                                  (Related document(s):567 Emergency Motion)
 08/16/2020                                       (Brown, pllc, Deirdre) (Entered: 08/16/2020)

                            796                   BNC Certificate of Mailing. (Related document
                            (28 pgs)              (s):786 Order on Application to Employ) No. of
                                                  Notices: 109. Notice Date 08/16/2020. (Admin.)
 08/16/2020                                       (Entered: 08/16/2020)

                            797                   BNC Certificate of Mailing. (Related document
                            (45 pgs)              (s):787 Generic Order) No. of Notices: 109.
                                                  Notice Date 08/16/2020. (Admin.) (Entered:
 08/16/2020                                       08/16/2020)

                            798                   Declaration re: Declaration of Disinterestedness
                            (4 pgs)               of Baker Botts LLP Pursuant to the Order
                                                  Authorizing the Retention and Compensation of
                                                  Certain Professionals Utilized in the Ordinary
                                                  Course of Business (Filed By Chesapeake
                                                  Energy Corporation ).(Related document(s):655
                                                  Generic Order) (Kaisani, Fareed) (Entered:
 08/17/2020                                       08/17/2020)

                            799                   Emergency Motion to (I) Compel Discovery
                            (39 pgs; 10 docs)     Responses and Deposition; and (II) Continue
                                                  Hearing on Backstop Motion Filed by Creditor
                                                  Brigade Capital Management, LP (Attachments:
                                                  # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4
                                                  Exhibit D # 5 Exhibit E # 6 Exhibit F # 7 Exhibit
                                                  G # 8 Exhibit H # 9 Proposed Order) (Tomasco,
 08/17/2020                                       Patricia) (Entered: 08/17/2020)

                            800
                            (4 pgs)               Declaration re: Declaration of Disinterestedness
                                                  of McAfee & Taft Pursuant to the Order
                                                  Authorizing the Retention and Compensation of
                                                  Certain Professionals Utilized in the Ordinary




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 126 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 126 of 1639
                                                                           0126


                                                  Course of Business (Filed By Chesapeake
                                                  Energy Corporation ). (Cavenaugh, Matthew)
 08/17/2020                                       (Entered: 08/17/2020)

                            801                   Declaration re: Declaration of Disinterestedness
                            (3 pgs)               of Dickinson Wright PLLC Pursuant to the
                                                  Order Authorizing the Retention and
                                                  Compensation of Certain Professionals Utilized
                                                  in the Ordinary Course of Business (Filed By
                                                  Chesapeake Energy Corporation ). (Cavenaugh,
 08/17/2020                                       Matthew) (Entered: 08/17/2020)

                            802                   Notice of Filing of Official Transcript as to 790
                            (1 pg)                Transcript. Parties notified (Related document
 08/17/2020                                       (s):790 Transcript) (jdav) (Entered: 08/17/2020)

                                                  Certificate of Telephone Notice. Contacted
                                                  Devin Hahn. Movant to notice all interested
                                                  parties and file a certificate of service with the
                                                  court (Related document(s):799 Emergency
                                                  Motion) Hearing scheduled for 8/18/2020 at
                                                  01:00 PM by telephone and video conference.
 08/17/2020                                       (aalo) (Entered: 08/17/2020)

                            803                   Notice of Electronic Hearing on Application to
                            (3 pgs)               Employ Forshey & Prostok, L.L.P. on August
                                                  31, 2020 at 9:00 a.m.. (Related document(s):557
                                                  Application to Employ, 788 Declaration) Filed
                                                  by Official Committee of Royalty Owners
 08/17/2020                                       (Forshey, J) (Entered: 08/17/2020)

                            804                   Notice of Hearing. (Related document(s):799
                            (3 pgs)               Emergency Motion) Filed by Brigade Capital
                                                  Management, LP (Tomasco, Patricia) (Entered:
 08/17/2020                                       08/17/2020)

                            805                   Declaration re: Amended Declaration of
                            (6 pgs; 2 docs)       Disinterestedness of Conner & Winters, LLP
                                                  Pursuant to the Order Authorizing the Retention
                                                  and Compensation of Certain Professionals
                                                  Utilized in the Ordinary Course of Business
                                                  (Filed By Chesapeake Energy Corporation ).
                                                  (Related document(s):745 Declaration)
                                                  (Attachments: # 1 Redline) (Cavenaugh,
 08/17/2020                                       Matthew) (Entered: 08/17/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 127 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 127 of 1639
                                                                           0127


                            806                   Stipulation By Chesapeake Energy Corporation
                            (22 pgs)              and MUFG Union Bank N.A., Franklin
                                                  Advisers, Inc., the Official Committee of
                                                  Unsecured Creditors and Ad Hoc Group of
                                                  FLLO Term Loan Lenders. Does this document
                                                  include an agreed order or otherwise request that
                                                  the judge sign a document? Yes. (Filed By
                                                  Chesapeake Energy Corporation ). (Cavenaugh,
 08/17/2020                                       Matthew) (Entered: 08/17/2020)

                            807                   Notice of Additional Ordinary Course
                            (4 pgs)               Professionals Pursuant to the Order Authorizing
                                                  the Retention and Compensation of Certain
                                                  Professionals Utilized in the Ordinary Course of
                                                  Business. (Related document(s):655 Generic
                                                  Order) Filed by Chesapeake Energy Corporation
 08/17/2020                                       (Cavenaugh, Matthew) (Entered: 08/17/2020)

                            808                   Motion to Appear pro hac vice Mark S. Baldwin.
                            (1 pg)                Filed by Creditor Committee Official Committee
                                                  Of Unsecured Creditors (Harrison, Julie)
 08/17/2020                                       (Entered: 08/17/2020)

                            809                   Motion to Appear pro hac vice James W. Stoll.
                            (1 pg)                Filed by Creditor Committee Official Committee
                                                  Of Unsecured Creditors (Harrison, Julie)
 08/17/2020                                       (Entered: 08/17/2020)

                            810                   Brief (Filed By ETC Texas Pipeline Ltd. ).
 08/17/2020                 (196 pgs)             (Mitchell, John) (Entered: 08/17/2020)

                            811                   Order Authorizing the Debtors to File Under
                            (3 pgs)               Seal the Names of Certain Confidential Parties
                                                  in Interest Related to Rothschild & Co US Inc.
                                                  and Intrepid Partners, LLC's Retention
                                                  Application (Related Doc # 452) Signed on
 08/17/2020                                       8/17/2020. (emiller) (Entered: 08/17/2020)

                            812                   Order Granting Emergency Motion to File Under
                            (2 pgs)               Seal Objection to Debtors' Emergency Motion
                                                  for Entry of Interim and Final Orders (I)
                                                  Authorizing the Debtors to Obtain Postpetition
                                                  Financing, (II) Authorizing the Debtors to Use
                                                  Cash Collateral, (III) Granting Liens and
                                                  Providing Claims with Superpriority
                                                  Administrative Expense Status, (IV) Granting
                                                  Adequate Protection to the Existing Secured




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 128 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 128 of 1639
                                                                           0128


                                                  Parties, (I) Modifying the Automatic Stay, (VI)
                                                  Scheduling a Final Hearing and (VII) Granting
                                                  Related Relief (Related Doc # 512) Signed on
 08/17/2020                                       8/17/2020. (emiller) (Entered: 08/17/2020)

                            813                   Reply Debtors' Memorandum of Law in Support
                            (120 pgs)             of Debtors' Motion for Entry of an Order (I)
                                                  Authorizing Rejection of Certain Executory
                                                  Contracts Effective as of July 1, 2020 and (II)
                                                  Granting Related Relief. Filed by Chesapeake
                                                  Energy Corporation (Cavenaugh, Matthew)
 08/17/2020                                       (Entered: 08/17/2020)

                            814                   Motion Debtors' Motion for Entry of an Order
                            (16 pgs; 2 docs)      (I) Authorizing the Rejection of Certain
                                                  Executory Contracts and Unexpired Leases
                                                  Effective as of August 17, 2020 and (II) Granting
                                                  Related Relief Filed by Debtor Chesapeake
                                                  Energy Corporation (Attachments: # 1 Proposed
                                                  Order) (Cavenaugh, Matthew) (Entered:
 08/17/2020                                       08/17/2020)

                            815                   Declaration re: Declaration of John Stuart in
                            (7 pgs)               Support of the Debtors' Motion for Entry of an
                                                  Order (I) Authorizing the Rejection of Certain
                                                  Executory Contracts and Unexpired Leases
                                                  Effective as of August 17, 2020 and (II) Granting
                                                  Related Relief (Filed By Chesapeake Energy
                                                  Corporation ).(Related document(s):814 Generic
                                                  Motion) (Cavenaugh, Matthew) (Entered:
 08/17/2020                                       08/17/2020)

                            816                   Order (I) Authorizing the Debtors to File Fee
                            (3 pgs)               Letters Under Seal and (II) Granting Related
                                                  Relief (Related Doc # 524) Signed on 8/17/2020.
 08/17/2020                                       (emiller) (Entered: 08/18/2020)

                            817                   Order Granting Emergency Motion of the
                            (2 pgs)               Official Committee of Unsecured Creditors to
                                                  File Under Seal Exhibits for Hearing on July 31,
                                                  2020 (Related Doc # 531) Signed on 8/17/2020.
 08/17/2020                                       (emiller) (Entered: 08/18/2020)

                            818                   Order (I) Authorizing the Debtors to File
                            (3 pgs)               Deposition Transcripts Under Seal and (II)
                                                  Granting Related Relief (Related Doc # 559)
                                                  Signed on 8/17/2020. (emiller) (Entered:




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 129 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 129 of 1639
                                                                           0129


 08/17/2020                                       08/18/2020)

                            819                   Order Denying Motion to Disband the Official
                            (1 pg)                Committee of Royalty Owners Except as Set
                                                  Forth Herein (Related Doc # 567) Signed on
 08/17/2020                                       8/17/2020. (emiller) (Entered: 08/18/2020)

                            831                   Motion to Appear pro hac vice Anthony
                            (1 pg)                Richardson II. Filed by Creditor Rebecca Corso
 08/17/2020                                       (BeverlyWright) (Entered: 08/18/2020)

                            832                   Motion to Appear pro hac vice Anthony
                            (1 pg)                Richardson II. Filed by Creditor Paula
                                                  Modransky (BeverlyWright) (Entered:
 08/17/2020                                       08/18/2020)

                            840                   Notice of Change of Address filed by Colleen
 08/17/2020                 (1 pg)                Ansbaugh. (rcas) (Entered: 08/19/2020)

                            820                   Order Granting Motion To Appear pro hac vice -
                            (1 pg)                Mark S. Baldwin (Related Doc # 808) Signed on
 08/18/2020                                       8/18/2020. (emiller) (Entered: 08/18/2020)

                            821                   Order Granting Motion To Appear pro hac vice -
                            (1 pg)                James W. Stoll (Related Doc # 809) Signed on
 08/18/2020                                       8/18/2020. (emiller) (Entered: 08/18/2020)

                            823                   Response (Filed By Ad Hoc Group of FLLO
                            (58 pgs; 4 docs)      Term Loan Lenders ).(Related document(s):799
                                                  Emergency Motion) (Attachments: # 1 Exhibit 1
                                                  # 2 Exhibit 2 # 3 Exhibit 3) (Morgan, John)
 08/18/2020                                       (Entered: 08/18/2020)

                            824                   Motion to Appear pro hac vice Joshua B. Selig.
                            (1 pg)                Filed by Debtor Chesapeake Energy Corporation
 08/18/2020                                       (hler) (Entered: 08/18/2020)

                            825                   Notice - ETC Tiger Pipeline LLC's Proposed
                            (2 pgs)               Discovery and Hearing Schedule on the Motion
                                                  of the Debtors for Entry of an Order (I)
                                                  Authorizing Rejection of the Negotiated Firm
                                                  Rate Transportation Agreements and Related
                                                  Contracts Effective asof July 1, 2020 and (II)
                                                  Grantig Related Relief. Filed by ETC Texas
                                                  Pipeline Ltd. (Mitchell, John) (Entered:
 08/18/2020                                       08/18/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 130 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 130 of 1639
                                                                           0130


                            826                   Notice of Debtors' Proposed Discovery and
                            (3 pgs)               Hearing Schedule on the Motion of Chesapeake
                                                  Energy Corporation for Entry of an Order (I)
                                                  Authorizing Rejection of the Negotiated Rate
                                                  Firm Transportation Agreements and Related
                                                  Contracts Effective as of July 1, 2020 and (II)
                                                  Granting Related Relief. (Related document
                                                  (s):35 Motion to Assume/Reject) Filed by
                                                  Chesapeake Energy Corporation (Cavenaugh,
 08/18/2020                                       Matthew) (Entered: 08/18/2020)

                            827                   AO 435 TRANSCRIPT ORDER FORM (Daily
                            (2 pgs)               (24 hours)) by Patricia B. Tomasco. This is to
                                                  order a transcript of Hearing held on August 18,
                                                  2020, before Judge David R. Jones. Court
                                                  Reporter/Transcriber: Judicial Transcribers of
                                                  Texas (Filed By Brigade Capital Management,
                                                  LP ). (Tomasco, Patricia) Electronically
                                                  forwarded to Judicial Transcribers of Texas on
                                                  8-18-2020. Estimated completion date: 8-19-
                                                  2020. Modified on 8/18/2020 (MelissaMorgan).
 08/18/2020                                       (Entered: 08/18/2020)

                            828                   AO 435 TRANSCRIPT ORDER FORM (Daily
                            (1 pg)                (24 hours)) by M. Quejada. This is to order a
                                                  transcript of Hearing held on August 18, 2020
                                                  before Judge David R. Jones. Court
                                                  Reporter/Transcriber: Judicial Transcribers of
                                                  Texas (Filed By MUFG Union Bank, N.A. ).
                                                  (Quejada, Maegan) Copy request was
                                                  electronically forwarded to Judicial Transcribers
                                                  of Texas on 8-18-2020. Estimated completion
                                                  date: 8-19-2020. Modified on 8/18/2020
 08/18/2020                                       (MelissaMorgan). (Entered: 08/18/2020)

                            829                       PDF with attached Audio File. Court Date &
                            (1 pg)                Time [ 8/18/2020 12:57:36 PM ]. File Size
                                                  [ 25395 KB ]. Run Time [ 00:52:54 ]. (admin).
 08/18/2020                                       (Entered: 08/18/2020)

                            830                   Courtroom Minutes. Time Hearing Held: 1:00
                            (2 pgs)               PM. Appearances: see attached. With respect to
                                                  the motion to compel, the Court has ruled and
                                                  production of documents will begin. The parties
                                                  to hold a deposition Thursday afternoon. If a
                                                  hearing is necessary, the parties are instructed to
                                                  contact the Courts case manager for an expedited




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 131 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 131 of 1639
                                                                           0131


                                                  hearing. The Court has set 490 for hearing on
                                                  8/31/2020 at 9:00 AM by telephone and video
                                                  conference. Responses to 490 due by 8/20 and
                                                  any reply by 8/25. Note: Discovery has been
                                                  opened up as of 8/18/2020. (aalo) (Entered:
 08/18/2020                                       08/18/2020)

                            833                   Notice of Appearance and Request for Notice
                            (3 pgs)               Filed by Davor Rukavina Filed by on behalf of
                                                  Linda Milanovich, Kristine Cobb, Justin Cobb
 08/18/2020                                       (Rukavina, Davor) (Entered: 08/18/2020)

                            834                   Emergency Motion Of The Official Committee
                            (8 pgs; 2 docs)       Of Unsecured Creditors To File Under Seal
                                                  Omnibus Objection To: (a) Debtors Motion For
                                                  Entry Of An Order (i) Authorizing Entry Into
                                                  The Backstop Commitment Agreement, (II)
                                                  Approving The Payment Of Fees And Expenses
                                                  Related Thereto, And (III) Granting Related
                                                  Relief And (b) Debtors Motion For Entry Of An
                                                  Order (I) Authorizing The Debtors To Incur And
                                                  Pay The Fees, Indemnities, And Expenses
                                                  Related To The Exit Facilities And (II) Granting
                                                  Related Relief Filed by Creditor Committee
                                                  Official Committee Of Unsecured Creditors
                                                  (Attachments: # 1 Proposed Order) (Harrison,
 08/18/2020                                       Julie) (Entered: 08/18/2020)

                            835                   Sealed Document Sealed Omnibus Objection To
                            (31 pgs)              (a) Debtors Motion For Entry Of An Order (i)
                                                  Authorizing Entry Into The Backstop
                                                  Commitment Agreement, (II) Approving The
                                                  Payment Of Fees And Expenses Related Thereto,
                                                  And (III) Granting Related Relief And (b)
                                                  Debtors Motion For Entry Of An Order (I)
                                                  Authorizing The Debtors To Incur And Pay The
                                                  Fees, Indemnities, And Expenses Related To The
                                                  Exit Facilities And (II) Granting Related Relief
                                                  (Filed By Official Committee Of Unsecured
                                                  Creditors ). (Harrison, Julie) (Entered:
 08/18/2020                                       08/18/2020)

                            836
                                                  Omnibus Objection To (a) Debtors Motion For
                            (31 pgs)
                                                  Entry Of An Order (i) Authorizing Entry Into
                                                  The Backstop Commitment Agreement, (II)
                                                  Approving The Payment Of Fees And Expenses
                                                  Related Thereto, And (III) Granting Related




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 132 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 132 of 1639
                                                                           0132


                                                  Relief And (b) Debtors Motion For Entry Of An
                                                  Order (I) Authorizing The Debtors To Incur And
                                                  Pay The Fees, Indemnities, And Expenses
                                                  Related To The Exit Facilities And (II) Granting
                                                  Related Relief (related document(s):520 Generic
                                                  Motion, 523 Generic Motion). Filed by Official
                                                  Committee Of Unsecured Creditors (Harrison,
 08/18/2020                                       Julie) (Entered: 08/18/2020)

                            837                   Notice Of Withdrawal Of Ad Hoc Group Of
                            (2 pgs)               FLLO Term Loan Lenders' Opposition To
                                                  Brigade Capital Management, LP's Emergency
                                                  Motion To (I) Compel Discovery Responses And
                                                  Deposition; And (II) Continue Hearing On
                                                  Backstop Motion [Docket No. 823]. (Related
                                                  document(s):823 Response) Filed by Ad Hoc
                                                  Group of FLLO Term Loan Lenders (Morgan,
 08/18/2020                                       John) (Entered: 08/18/2020)

                            838                   AO 435 TRANSCRIPT ORDER FORM (Daily
                            (2 pgs)               (24 hours)) by John Morgan. This is to order a
                                                  transcript of Hearing held on August 18, 2020
                                                  before Judge David R. Jones. Court
                                                  Reporter/Transcriber: Veritext Legal Solutions
                                                  (Filed By Ad Hoc Group of FLLO Term Loan
                                                  Lenders ). (Morgan, John) Copy request was
                                                  electronically forwarded to Judicial Transcribers
                                                  of Texas on 8-19-2020. Estimated completion
                                                  date: 8-20-2020. Modified on 8/19/2020
 08/18/2020                                       (MelissaMorgan). (Entered: 08/18/2020)

                            839                   AO 435 TRANSCRIPT ORDER FORM (Daily
                            (1 pg)                (24 hours)) by Julie Harrison. This is to order a
                                                  transcript of August 18, 2020 hearing before
                                                  Judge David R. Jones. Court
                                                  Reporter/Transcriber: Judicial Transcribers of
                                                  Texas (Filed By Official Committee Of
                                                  Unsecured Creditors ). (Harrison, Julie) Copy
                                                  request was electronically forwarded to Judicial
                                                  Transcribers of Texas on 8-19-2020. Estimated
                                                  completion date: 8-20-2020. Modified on
                                                  8/19/2020 (MelissaMorgan). (Entered:
 08/19/2020                                       08/19/2020)

                            841
                                                  Emergency Motion of Official Committee of
                            (8 pgs; 2 docs)
                                                  Unsecured Creditors to File Under Seal Exhibits
                                                  for Hearing on August 21, 2020 Filed by




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 133 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 133 of 1639
                                                                           0133


                                                  Creditor Committee Official Committee Of
                                                  Unsecured Creditors (Attachments: # 1 Proposed
 08/19/2020                                       Order) (Harrison, Julie) (Entered: 08/19/2020)

                            842                   Sealed Document Sealed Witness and Exhibit
                            (1203 pgs; 21 docs)   List for Hearing Scheduled August 21, 2020 at
                                                  9:30 a.m. with Sealed Exhibits (Filed By Official
                                                  Committee Of Unsecured Creditors ).
                                                  (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3
                                                  Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6 Exhibit
                                                  6 # 7 Exhibit 7 # 8 Exhibit 8 # 9 Exhibit 9 # 10
                                                  Exhibit 10 # 11 Exhibit 11 # 12 Exhibit 12 # 13
                                                  Index 13 # 14 Exhibit 14 # 15 Exhibit 15 # 16
                                                  Exhibit 16 # 17 Exhibit 17 # 18 Exhibit 18 # 19
                                                  Exhibit 19 # 20 Exhibit 20) (Harrison, Julie)
 08/19/2020                                       (Entered: 08/19/2020)

                            843                   Witness List, Exhibit List (Filed By Official
                            (970 pgs; 21 docs)    Committee Of Unsecured Creditors ).(Related
                                                  document(s):520 Generic Motion, 523 Generic
                                                  Motion, 835 Sealed Document, 836 Objection)
                                                  (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3
                                                  Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6 Exhibit
                                                  6 # 7 Exhibit 7 # 8 Exhibit 8 # 9 Exhibit 9 # 10
                                                  Exhibit 10 # 11 Exhibit 11 # 12 Exhibit 12 # 13
                                                  Exhibit 13 # 14 Exhibit 14 # 15 Exhibit 15 # 16
                                                  Exhibit 16 # 17 Exhibit 17 # 18 Exhibit 18 # 19
                                                  Exhibit 19 # 20 Exhibit 20) (Harrison, Julie)
 08/19/2020                                       (Entered: 08/19/2020)

                            844                   Witness List, Exhibit List (Filed By MUFG
                            (2 pgs)               Union Bank, N.A. ).(Related document(s):520
                                                  Generic Motion, 523 Generic Motion) (Quejada,
 08/19/2020                                       Maegan) (Entered: 08/19/2020)

                            845                   Witness List, Exhibit List (Filed By Official
                            (251 pgs; 2 docs)     Committee of Royalty Owners ).(Related
                                                  document(s):520 Generic Motion, 523 Generic
                                                  Motion) (Attachments: # 1 Exhibit 1_DIP
                                                  ORDER Doc. No. 597) (Brown, pllc, Deirdre)
 08/19/2020                                       (Entered: 08/19/2020)

                            846                   Exhibit List, Witness List (Filed By Chesapeake
                            (124 pgs; 5 docs)     Energy Corporation ). (Attachments: # 1 Exhibit
                                                  1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 14)
 08/19/2020                                       (Polnick, Veronica) (Entered: 08/19/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 134 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 134 of 1639
                                                                           0134


                            847                   Sealed Document related to Debtors' Witness
                            (143 pgs; 9 docs)     and Exhibit List for Hearing Schedules for
                                                  August 21, 2020 at 9:30 A.M. (Filed By
                                                  Chesapeake Energy Corporation ).
                                                  (Attachments: # 1 Exhibit 5 # 2 Exhibit 7 # 3
                                                  Exhibit 8 # 4 Exhibit 9 # 5 Exhibit 10 # 6
                                                  Exhibit 11 # 7 Exhibit 12 # 8 Exhibit 13)
 08/19/2020                                       (Polnick, Veronica) (Entered: 08/19/2020)

                            848                   AO 435 TRANSCRIPT ORDER FORM (3-Day)
                            (2 pgs)               by William A. (Trey) Wood III. This is to order
                                                  a transcript of Hearing on July 31, 2020 at 11:00
                                                  a.m. CT before Judge David R. Jones. Court
                                                  Reporter/Transcriber: Access Transcripts (Filed
                                                  By Camino Real Gas Gathering Company, LLC,
                                                  Eagle Ford Gathering, LLC, El Paso Marketing
                                                  Company, L.L.C., Hiland Crude, LLC, Kinder
                                                  Morgan Tejas Pipeline LLC, Kinder Morgan
                                                  Texas Pipeline LLC, Kinderhawk Field Services,
                                                  LLC, Midcontinent Express Pipeline LLC,
                                                  Scissortail Energy, LLC, Tennessee Gas Pipeline
                                                  Company, L.L.C., Wyoming Interstate
                                                  Company, L.L.C. ). (Wood, William) Copy
                                                  request was electronically forwarded to Access
                                                  Transcripts on 8-19-2020. Estimated completion
                                                  date: 8-20-2020. Modified on 8/19/2020
 08/19/2020                                       (MelissaMorgan). (Entered: 08/19/2020)

                            849                   Letter from Shareholder Frank Siciliano
 08/19/2020                 (1 pg)                (JeannieAndresen) (Entered: 08/19/2020)

                            850                   Letter from Shareholder Jason Dean
 08/19/2020                 (7 pgs)               (JeannieAndresen) (Entered: 08/19/2020)

                            851                   Letter from Shareholder (JeannieAndresen)
 08/19/2020                 (3 pgs)               (Entered: 08/19/2020)

                            852                   Notice of Appearance and Request for Notice
                            (3 pgs)               Filed by Charles E Lauffer Jr Filed by on behalf
                                                  of Frank Blazek (Lauffer, Charles) (Entered:
 08/19/2020                                       08/19/2020)

                            853                   Objection - Limited Objection (related document
                            (6 pgs)               (s):520 Generic Motion, 523 Generic Motion).
                                                  Filed by Official Committee of Royalty Owners
 08/19/2020                                       (Brown, pllc, Deirdre) (Entered: 08/19/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 135 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 135 of 1639
                                                                           0135


                            854                   Transcript RE: Motion Hearing / Status
                            (40 pgs)              Conference / Scheduling Conference
                                                  (Telephonic Conference) held on August 18,
                                                  2020 before Judge David R. Jones. Transcript is
                                                  available for viewing in the Clerk's Office. Filed
                                                  by Transcript access will be restricted through
 08/19/2020                                       11/17/2020. (mhen) (Entered: 08/19/2020)

                            855                   Declaration re: Declaration of Disinterestedness
                            (4 pgs)               of Jost Energy Law, P.C. Pursuant to the Order
                                                  Authorizing the Retention and Compensation of
                                                  Certain Professionals Utilized in the Ordinary
                                                  Course of Business (Filed By Chesapeake
                                                  Energy Corporation ). (Wertz, Jennifer)
 08/19/2020                                       (Entered: 08/19/2020)

                            856                   BNC Certificate of Mailing. (Related document
                            (7 pgs)               (s):802 Notice of Filing of Official Transcript
                                                  (Form)) No. of Notices: 111. Notice Date
 08/19/2020                                       08/19/2020. (Admin.) (Entered: 08/19/2020)

                            857                   BNC Certificate of Mailing. (Related document
                            (8 pgs)               (s):812 Order on Emergency Motion) No. of
                                                  Notices: 111. Notice Date 08/19/2020. (Admin.)
 08/19/2020                                       (Entered: 08/19/2020)

                            858                   BNC Certificate of Mailing. (Related document
                            (6 pgs)               (s):811 Order on Motion to Seal) No. of Notices:
                                                  41. Notice Date 08/19/2020. (Admin.) (Entered:
 08/19/2020                                       08/19/2020)

                            859                   Notice of Filing of Official Transcript as to 854
                            (1 pg)                Transcript. Parties notified (Related document
                                                  (s):854 Transcript) (JenniferOlson) (Entered:
 08/20/2020                                       08/20/2020)

                            860                   Notice of Appearance and Request for Notice
                            (2 pgs)               Filed by Howard C Rubin Filed by on behalf of
                                                  Melissa Wood, Randy Wood (Rubin, Howard)
 08/20/2020                                       (Entered: 08/20/2020)

                            861                   Order Granting Motion To Appear pro hac vice -
                            (1 pg)                Joshua B. Selig (Related Doc # 824) Signed on
 08/20/2020                                       8/20/2020. (emiller) (Entered: 08/20/2020)

                            862
                                                  Order Granting Motion To Appear pro hac vice -




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 136 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 136 of 1639
                                                                           0136


                            (1 pg)                Anthony Richardson II (Related Doc # 831)
                                                  Signed on 8/20/2020. (emiller) (Entered:
 08/20/2020                                       08/20/2020)

                            863                   Order Granting Motion To Appear pro hac vice -
                            (1 pg)                Anthony Richardson II (Related Doc # 832)
                                                  Signed on 8/20/2020. (emiller) (Entered:
 08/20/2020                                       08/20/2020)

                            864                   Letter from Shareholder John Dough
 08/20/2020                 (5 pgs)               (JeannieAndresen) (Entered: 08/20/2020)

                            865                   Reply Debtors' Omnibus Reply in Support of (I)
                            (19 pgs)              the Debtors' Motion for Entry of an Order (A)
                                                  Authorizing the Debtors to Incur and Pay the
                                                  Fees, Indemnities, and Expenses Related to the
                                                  Exit Facilities and (B) Granting Related Relief
                                                  and (II) the Debtors' Motion for Entry of an
                                                  Order (A) Authorizing Entry Into the Backstop
                                                  Commitment Agreement, (B) Approving the
                                                  Payment of Fees and Expenses Related Thereto,
                                                  and (C) Granting Related Relief (related
                                                  document(s):520 Generic Motion, 523 Generic
                                                  Motion). Filed by Chesapeake Energy
                                                  Corporation (Cavenaugh, Matthew) (Entered:
 08/20/2020                                       08/20/2020)

                            866                   Reply and Joinder of MUFG Union Bank, N.A.
                            (12 pgs)              in Support of Debtors' Motion for Entry of an
                                                  Order (I) Authorizing the Debtors to Incur and
                                                  Pay the Fees, Indemnities, and Expenses Related
                                                  to the Exit Facilities and (II) Granting Related
                                                  Relief (related document(s):523 Generic
                                                  Motion). Filed by MUFG Union Bank, N.A.
 08/20/2020                                       (McFaul, Duston) (Entered: 08/20/2020)

                            867                   Proposed Order RE: Order (I) Authorizing Entry
                            (14 pgs; 2 docs)      Into Backstop Commitment Agreement, (II)
                                                  Approving the Payment of Fees and Expenses
                                                  Related Thereto, and (III) Granting Related
                                                  Relief (Filed By Chesapeake Energy
                                                  Corporation ).(Related document(s):520 Generic
                                                  Motion, 700 Proposed Order) (Attachments: # 1
                                                  Redline) (Cavenaugh, Matthew) (Entered:
 08/20/2020                                       08/20/2020)

                            868                   Proposed Order RE: Order (I) Authorizing the




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 137 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 137 of 1639
                                                                           0137


                            (7 pgs; 2 docs)       Debtors to Incur and Pay Fees, Indemnities, and
                                                  Expenses Related to the Exit Facilities and (II)
                                                  Granting Related Relief (Filed By Chesapeake
                                                  Energy Corporation ).(Related document(s):523
                                                  Generic Motion) (Attachments: # 1 Redline)
 08/20/2020                                       (Cavenaugh, Matthew) (Entered: 08/20/2020)

                            869                   Exhibit List, Witness List (Filed By Chesapeake
                            (69 pgs; 3 docs)      Energy Corporation ).(Related document(s):846
                                                  Exhibit List, Witness List) (Attachments: # 1
                                                  Exhibit 6 # 2 Exhibit 15) (Cavenaugh, Matthew)
 08/20/2020                                       (Entered: 08/20/2020)

                            870                   Objection to ETC Tiger Pipeline LLC's Motion
                            (18 pgs)              to Withdraw the Reference of the Debtors'
                                                  Motion for Entry of an Order (I) Authorizing
                                                  Rejection of the Negotiated Rate Firm
                                                  Transportation Agreements and Related
                                                  Contracts Effective as of July 1, 2020 and (II)
                                                  Granting Related Relief (related document
                                                  (s):490 Motion for Withdrawal of Reference).
                                                  Filed by Chesapeake Energy Corporation
 08/20/2020                                       (Cavenaugh, Matthew) (Entered: 08/20/2020)

                            871                   Notice of Joinder to the Debtors' Reply in
                            (39 pgs; 4 docs)      Support of the Exit Facilities and Backstop
                                                  Approval Motions. Filed by Ad Hoc Group of
                                                  FLLO Term Loan Lenders (Attachments: # 1
                                                  Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3) (Morgan,
 08/20/2020                                       John) (Entered: 08/20/2020)

                            872                   Statement /Amended Verified Statement of Davis
                            (11 pgs)              Polk & Wardwell LLP and Vinson & Elkins LLP
                                                  Pursuant to Federal Rule of Bankruptcy
                                                  Procedure 2019 (Filed By Ad Hoc Group of
                                                  FLLO Term Loan Lenders ). (Morgan, John)
 08/20/2020                                       (Entered: 08/20/2020)

                            873                   Reply and Joinder of Franklin Advisers, Inc., as
                            (4 pgs)               Investment Manager on Behalf of Certain Funds
                                                  and Accounts, to (I) the Debtors' Omnibus Reply
                                                  in Support of the Exit Facilities and Backstop
                                                  Approval Motions and (II) the Joinder to the
                                                  Debtors' Reply Filed by the Ad Hoc Group of
                                                  Secured FLLO Term Loan Lenders (related
                                                  document(s):520 Generic Motion, 523 Generic
                                                  Motion). Filed by Franklin Advisers, Inc., as




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 138 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 138 of 1639
                                                                           0138


                                                  Investment Manager on Behalf of Certain Funds
                                                  and Accounts (Brimmage, Marty) (Entered:
 08/20/2020                                       08/20/2020)

                            874                   Stipulation and Agreed Order (I) Authorizing the
                            (6 pgs)               Debtors to Perform Under Prepetition Forward
                                                  Contract and Enter Into and Perform Under
                                                  Postpetition Transactions and Agreements with
                                                  BP Energy Company, (II) Granting
                                                  Administrative Expense Claims, and (III)
                                                  Granting Related Relief Signed on 8/20/2020
                                                  (Related document(s):710 Stipulation)
 08/20/2020                                       (VrianaPortillo) (Entered: 08/20/2020)

                            875                   Witness List, Exhibit List (Filed By Chesapeake
                            (6 pgs; 2 docs)       Energy Corporation ). (Attachments: # 1 Exhibit
 08/20/2020                                       16) (Wertz, Jennifer) (Entered: 08/20/2020)

                            876                   BNC Certificate of Mailing. (Related document
                            (9 pgs)               (s):816 Generic Order) No. of Notices: 111.
                                                  Notice Date 08/20/2020. (Admin.) (Entered:
 08/20/2020                                       08/20/2020)

                            877                   BNC Certificate of Mailing. (Related document
                            (8 pgs)               (s):817 Order on Emergency Motion) No. of
                                                  Notices: 111. Notice Date 08/20/2020. (Admin.)
 08/20/2020                                       (Entered: 08/20/2020)

                            878                   BNC Certificate of Mailing. (Related document
                            (9 pgs)               (s):818 Order on Emergency Motion) No. of
                                                  Notices: 111. Notice Date 08/20/2020. (Admin.)
 08/20/2020                                       (Entered: 08/20/2020)

                            879                   BNC Certificate of Mailing. (Related document
                            (7 pgs)               (s):819 Order on Emergency Motion) No. of
                                                  Notices: 111. Notice Date 08/20/2020. (Admin.)
 08/20/2020                                       (Entered: 08/20/2020)

                            880                   BNC Certificate of Mailing. (Related document
                            (7 pgs)               (s):820 Order on Motion to Appear pro hac vice)
                                                  No. of Notices: 111. Notice Date 08/20/2020.
 08/20/2020                                       (Admin.) (Entered: 08/20/2020)

                            881
                            (7 pgs)               BNC Certificate of Mailing. (Related document
                                                  (s):821 Order on Motion to Appear pro hac vice)
                                                  No. of Notices: 111. Notice Date 08/20/2020.




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 139 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 139 of 1639
                                                                           0139


 08/20/2020                                       (Admin.) (Entered: 08/20/2020)

                            882                   BNC Certificate of Mailing. (Related document
                            (10 pgs)              (s):822 Order Setting Hearing) No. of Notices:
                                                  111. Notice Date 08/20/2020. (Admin.)
 08/20/2020                                       (Entered: 08/20/2020)

                            892                   Motion to Appear pro hac vice Donald F
                            (1 pg)                Campbell Jr. Filed by Interested Party Estate of
 08/20/2020                                       Edward Martin (hler) (Entered: 08/21/2020)

                            994                Motion to Appear pro hac vice Gary E. English.
                            (1 pg)             Filed by Creditor 4E Holding LLC (BeverlyWright)
 08/20/2020                                    (Entered: 08/24/2020)

                            1004               Letter from Joe Pearson requesting lease agreement
                                               be released and contract not be reinstated.
 08/20/2020                 (1 pg)             (DawnWaggoner) (Entered: 08/25/2020)

                            883                Emergency Motion Pursuant to Section 107(b) of
                            (11 pgs; 2 docs)   the Bankruptcy Code and Bankruptcy Rule 9018 for
                                               an Order Authorizing the Filing of Exhibit Under
                                               Seal Filed by Debtor Chesapeake Energy
                                               Corporation (Attachments: # 1 Proposed Order)
 08/21/2020                                    (Cavenaugh, Matthew) (Entered: 08/21/2020)

                            884                Agenda for Hearing on 8/21/2020 (Filed By
                            (7 pgs)            Chesapeake Energy Corporation ). (Cavenaugh,
 08/21/2020                                    Matthew) (Entered: 08/21/2020)

                            885                Sealed Document Related to ECF No. 875 - Exhibit
                            (1 pg)             16 (Filed By Chesapeake Energy Corporation ).
 08/21/2020                                    (Cavenaugh, Matthew) (Entered: 08/21/2020)

                            886                Proposed Order RE: Backstop Agreement with
                            (7 pgs)            suggested para. 18 to address objection at Doc. No.
                                               853 (Filed By Official Committee of Royalty
                                               Owners ).(Related document(s):520 Generic
                                               Motion) (Brown, pllc, Deirdre) (Entered:
 08/21/2020                                    08/21/2020)

                            887                Affidavit Re: Affidavit of Service of Panagiota
                            (8 pgs)            Manatakis (Filed By Epiq Corporate Restructuring
                                               LLC ).(Related document(s):883 Emergency
                                               Motion, 884 Agenda) (Garabato, Sid) (Entered:
 08/21/2020                                    08/21/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 140 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 140 of 1639
                                                                           0140


                            888                Order Approving Debtors' Emergency Motion
                            (3 pgs)            Pursuant to Section 107(b) of the Bankruptcy Code
                                               and Bankruptcy Rule 9018 for an Order Authorizing
                                               the Filing of Exhibits Under Seal (Related Doc #
                                               883) Signed on 8/21/2020. (emiller) (Entered:
 08/21/2020                                    08/21/2020)

                            889                Order Granting Emergency Motion of the Official
                            (2 pgs)            Committee of Unsecured Creditors to File Under
                                               Seal Exhibits for Hearing on August 21, 2020
                                               (Related Doc # 841) Signed on 8/21/2020. (emiller)
 08/21/2020                                    (Entered: 08/21/2020)

                            890                Notice of Periodic Report Regarding Value,
                            (16 pgs)           Operations, and Profitability of Entities in Which
                                               the Debtor's Estate Holds a Substantial or
                                               Controlling Interest. Filed by Chesapeake Energy
                                               Corporation (Cavenaugh, Matthew) (Entered:
 08/21/2020                                    08/21/2020)

                            891                Operating Report for Filing Period July 2020,
                            (13 pgs)           $214,607 disbursed (Filed By Chesapeake Energy
                                               Corporation ). (Cavenaugh, Matthew) (Entered:
 08/21/2020                                    08/21/2020)

                            893                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                            (1 pg)             hours)) by Matthew Cavenaugh. This is to order a
                                               transcript of 8/21/2020 before Judge David R. Jones.
                                               Court Reporter/Transcriber: Access Transcripts
                                               (Filed By Chesapeake Energy Corporation ).
                                               (Cavenaugh, Matthew) Electronically forwarded to
                                               Access Transcripts on 8-21-2020. Estimated
                                               completion date: 8-22-2020. Modified on 8/21/2020
 08/21/2020                                    (MelissaMorgan). (Entered: 08/21/2020)

                            894                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                            (1 pg)             hours)) by Marty L. Brimmage, Jr.. This is to order a
                                               transcript of the August 21, 2020 Hearing before
                                               Judge David R. Jones. Court Reporter/Transcriber:
                                               Access Transcripts (Filed By Franklin Advisers,
                                               Inc., as Investment Manager on Behalf of Certain
                                               Funds and Accounts ). (Brimmage, Marty) Copy
                                               request was electronically forwarded to Access
                                               Transcripts on 8-21-2020. Estimated completion
                                               date: 8-22-2020. Modified on 8/21/2020
 08/21/2020                                    (MelissaMorgan). (Entered: 08/21/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 141 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 141 of 1639
                                                                           0141


                            895                Proposed Order Submission After Hearing (Filed By
                            (16 pgs; 2 docs)   Chesapeake Energy Corporation ).(Related
                                               document(s):520 Generic Motion, 700 Proposed
                                               Order, 867 Proposed Order) (Attachments: # 1
                                               Redline) (Cavenaugh, Matthew) (Entered:
 08/21/2020                                    08/21/2020)

                            896                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                            (1 pg)             hours)) by Julie Harrison. This is to order a
                                               transcript of August 21, 2020 hearing before Judge
                                               David R. Jones. Court Reporter/Transcriber: Access
                                               Transcripts (Filed By Official Committee Of
                                               Unsecured Creditors ). (Harrison, Julie) Copy
                                               request was electronically forwarded to Access
                                               Transcripts on 8-21-2020. Estimated completion
                                               date: 8-22-2020. Modified on 8/21/2020
 08/21/2020                                    (MelissaMorgan). (Entered: 08/21/2020)

                            897                Courtroom Minutes. Time Hearing Held: 9:30 am.
                            (3 pgs)            Appearances: SEE ATTACHED. (Related document
                                               (s):520 Generic Motion, 523 Generic Motion)
                                               Witness: Stephen Antinelli. Exhibits 869-2, 847-4,
                                               847-5, 847-5, 847-6 were admitted. The exit
                                               financing motion at docket 523 was approved. The
                                               backstop motion at docket 520 was approved. The
                                               parties have agreed to language to add to the order
                                               and will be uploading a revised proposed order.
 08/21/2020                                    (emiller) (Entered: 08/21/2020)

                            898                Order (I) Authorizing the Debtors to Incur and Pay
                            (3 pgs)            the Fees, Indemnities, and Expenses Related to the
                                               Exit Facilities, and (II) Granting Related Relief
                                               (Related Doc # 523) Signed on 8/21/2020. (emiller)
 08/21/2020                                    (Entered: 08/21/2020)

                            899                Order (I) Authorizing Entry into the Backstop
                            (8 pgs)            Commitment Agreement, (II) Approving the
                                               Payment of Fees and Expenses Related Thereto, and
                                               (III) Granting Related Relief (Related Doc # 520)
                                               Signed on 8/21/2020. (emiller) (Entered:
 08/21/2020                                    08/21/2020)

                            900                    PDF with attached Audio File. Court Date &
                            (1 pg)             Time [ 8/21/2020 9:29:36 AM ]. File Size [ 100082
                                               KB ]. Run Time [ 03:28:30 ]. (admin). (Entered:
 08/21/2020                                    08/21/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 142 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 142 of 1639
                                                                           0142


                            901                Schedule A/B: Property Non-Individual , Schedule
                            (102 pgs)          D Non-Individual- Creditors Having Claims Secured
                                               by Property , Schedule E/F: Creditors Who Have
                                               Unsecured Claims Non-Individual , Schedule G
                                               Non-Individual- Executory Contracts and Unexpired
                                               Leases , Schedule H Non-Individual- Codebtors
                                               (Filed By Northern Michigan Exploration Company,
                                               L.L.C. ). (Cavenaugh, Matthew) (Entered:
 08/21/2020                                    08/21/2020)

                            902                Schedule A/B: Property Non-Individual , Schedule
                            (71 pgs)           D Non-Individual- Creditors Having Claims Secured
                                               by Property , Schedule E/F: Creditors Who Have
                                               Unsecured Claims Non-Individual , Schedule G
                                               Non-Individual- Executory Contracts and Unexpired
                                               Leases , Schedule H Non-Individual- Codebtors
                                               (Filed By Nomac Services, L.L.C. ). (Cavenaugh,
 08/21/2020                                    Matthew) (Entered: 08/21/2020)

                            903                Schedule A/B: Property Non-Individual , Schedule
                            (88 pgs)           D Non-Individual- Creditors Having Claims Secured
                                               by Property , Schedule E/F: Creditors Who Have
                                               Unsecured Claims Non-Individual , Schedule G
                                               Non-Individual- Executory Contracts and Unexpired
                                               Leases , Schedule H Non-Individual- Codebtors
                                               (Filed By Midcon Compression, L.L.C. ).
 08/21/2020                                    (Cavenaugh, Matthew) (Entered: 08/21/2020)

                            904                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                            (1 pg)             hours)) by M. Quejada. This is to order a transcript
                                               of hearing held on August 21, 2020 before Judge
                                               David R. Jones. Court Reporter/Transcriber: Access
                                               Transcripts (Filed By MUFG Union Bank, N.A. ).
                                               (Quejada, Maegan) Copy Request forwarded to
                                               Access Transcripts, LLC on August 24, 2020.
                                               Estimated completion date: August 25, 2020.
                                               Modified on 8/24/2020 (ClaudiaGutierrez).
 08/21/2020                                    (Entered: 08/21/2020)

                            905                Schedule A/B: Property Non-Individual , Schedule
                            (1371 pgs)         D Non-Individual- Creditors Having Claims Secured
                                               by Property , Schedule E/F: Creditors Who Have
                                               Unsecured Claims Non-Individual , Schedule G
                                               Non-Individual- Executory Contracts and Unexpired
                                               Leases , Schedule H Non-Individual- Codebtors
                                               (Filed By MC Mineral Company, L.L.C. ).
 08/21/2020                                    (Cavenaugh, Matthew) (Entered: 08/21/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 143 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 143 of 1639
                                                                           0143


                            906                Schedule A/B: Property Non-Individual , Schedule
                            (210 pgs)          D Non-Individual- Creditors Having Claims Secured
                                               by Property , Schedule E/F: Creditors Who Have
                                               Unsecured Claims Non-Individual , Schedule G
                                               Non-Individual- Executory Contracts and Unexpired
                                               Leases , Schedule H Non-Individual- Codebtors
                                               (Filed By MC Louisiana Minerals, L.L.C. ).
 08/21/2020                                    (Cavenaugh, Matthew) (Entered: 08/21/2020)

                            907                Schedule A/B: Property Non-Individual , Schedule
                            (115 pgs)          D Non-Individual- Creditors Having Claims Secured
                                               by Property , Schedule E/F: Creditors Who Have
                                               Unsecured Claims Non-Individual , Schedule G
                                               Non-Individual- Executory Contracts and Unexpired
                                               Leases , Schedule H Non-Individual- Codebtors
                                               (Filed By GSF, L.L.C. ). (Cavenaugh, Matthew)
 08/21/2020                                    (Entered: 08/21/2020)

                            908                Schedule A/B: Property Non-Individual , Schedule
                            (79 pgs)           D Non-Individual- Creditors Having Claims Secured
                                               by Property , Schedule E/F: Creditors Who Have
                                               Unsecured Claims Non-Individual , Schedule G
                                               Non-Individual- Executory Contracts and Unexpired
                                               Leases , Schedule H Non-Individual- Codebtors
                                               (Filed By Esquisto Resources II, LLC ).
 08/21/2020                                    (Cavenaugh, Matthew) (Entered: 08/21/2020)

                            909                Schedule A/B: Property Non-Individual , Schedule
                            (279 pgs)          D Non-Individual- Creditors Having Claims Secured
                                               by Property , Schedule E/F: Creditors Who Have
                                               Unsecured Claims Non-Individual , Schedule G
                                               Non-Individual- Executory Contracts and Unexpired
                                               Leases , Schedule H Non-Individual- Codebtors
                                               (Filed By Empress Louisiana Properties, L,P. ).
 08/21/2020                                    (Cavenaugh, Matthew) (Entered: 08/21/2020)

                            910                Schedule A/B: Property Non-Individual , Schedule
                            (318 pgs)          D Non-Individual- Creditors Having Claims Secured
                                               by Property , Schedule E/F: Creditors Who Have
                                               Unsecured Claims Non-Individual , Schedule G
                                               Non-Individual- Executory Contracts and Unexpired
                                               Leases , Schedule H Non-Individual- Codebtors
                                               (Filed By Empress, L.L.C. ). (Cavenaugh, Matthew)
 08/21/2020                                    (Entered: 08/21/2020)

                            911                Schedule A/B: Property Non-Individual , Schedule
                            (71 pgs)           D Non-Individual- Creditors Having Claims Secured




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                   5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 144 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 144 of 1639
                                                                           0144


                                               by Property , Schedule E/F: Creditors Who Have
                                               Unsecured Claims Non-Individual , Schedule G
                                               Non-Individual- Executory Contracts and Unexpired
                                               Leases , Schedule H Non-Individual- Codebtors
                                               (Filed By EMLP, L.L.C. ). (Cavenaugh, Matthew)
 08/21/2020                                    (Entered: 08/21/2020)

                            912                Schedule A/B: Property Non-Individual , Schedule
                            (81 pgs)           D Non-Individual- Creditors Having Claims Secured
                                               by Property , Schedule E/F: Creditors Who Have
                                               Unsecured Claims Non-Individual , Schedule G
                                               Non-Individual- Executory Contracts and Unexpired
                                               Leases , Schedule H Non-Individual- Codebtors
                                               (Filed By Compass Manufacturing, L.L.C. ).
 08/21/2020                                    (Cavenaugh, Matthew) (Entered: 08/21/2020)

                            913                Schedule A/B: Property Non-Individual , Schedule
                            (203 pgs)          D Non-Individual- Creditors Having Claims Secured
                                               by Property , Schedule E/F: Creditors Who Have
                                               Unsecured Claims Non-Individual , Schedule G
                                               Non-Individual- Executory Contracts and Unexpired
                                               Leases , Schedule H Non-Individual- Codebtors
                                               (Filed By CHK Utica, L.L.C. ). (Cavenaugh,
 08/21/2020                                    Matthew) (Entered: 08/21/2020)

                            914                Schedule A/B: Property Non-Individual , Schedule
                            (40 pgs)           D Non-Individual- Creditors Having Claims Secured
                                               by Property , Schedule E/F: Creditors Who Have
                                               Unsecured Claims Non-Individual , Schedule G
                                               Non-Individual- Executory Contracts and Unexpired
                                               Leases , Schedule H Non-Individual- Codebtors
                                               (Filed By CHK NGV Leasing Company, LLC ).
 08/21/2020                                    (Cavenaugh, Matthew) (Entered: 08/21/2020)

                            915                Schedule A/B: Property Non-Individual , Schedule
                            (77 pgs)           D Non-Individual- Creditors Having Claims Secured
                                               by Property , Schedule E/F: Creditors Who Have
                                               Unsecured Claims Non-Individual , Schedule G
                                               Non-Individual- Executory Contracts and Unexpired
                                               Leases , Schedule H Non-Individual- Codebtors
                                               (Filed By CHK Energy Holdings, Inc. ).
 08/21/2020                                    (Cavenaugh, Matthew) (Entered: 08/21/2020)

                            916                Schedule A/B: Property Non-Individual , Schedule
                            (364 pgs)          D Non-Individual- Creditors Having Claims Secured
                                               by Property , Schedule E/F: Creditors Who Have
                                               Unsecured Claims Non-Individual , Schedule G




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                   5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 145 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 145 of 1639
                                                                           0145


                                               Non-Individual- Executory Contracts and Unexpired
                                               Leases , Schedule H Non-Individual- Codebtors
                                               (Filed By Chesapeake-Clements Acquisition,
                                               L.L.C. ). (Cavenaugh, Matthew) (Entered:
 08/21/2020                                    08/21/2020)

                            917                Schedule A/B: Property Non-Individual , Schedule
                            (73 pgs)           D Non-Individual- Creditors Having Claims Secured
                                               by Property , Schedule E/F: Creditors Who Have
                                               Unsecured Claims Non-Individual , Schedule G
                                               Non-Individual- Executory Contracts and Unexpired
                                               Leases , Schedule H Non-Individual- Codebtors
                                               (Filed By Chesapeake VRT, L.L.C. ). (Cavenaugh,
 08/21/2020                                    Matthew) (Entered: 08/21/2020)

                            918                Schedule A/B: Property Non-Individual , Schedule
                            (1591 pgs)         D Non-Individual- Creditors Having Claims Secured
                                               by Property , Schedule E/F: Creditors Who Have
                                               Unsecured Claims Non-Individual , Schedule G
                                               Non-Individual- Executory Contracts and Unexpired
                                               Leases , Schedule H Non-Individual- Codebtors
                                               (Filed By Chesapeake Royalty, L.L.C. ).
 08/21/2020                                    (Cavenaugh, Matthew) (Entered: 08/21/2020)

                            919                Schedule A/B: Property Non-Individual , Schedule
                            (3042 pgs)         D Non-Individual- Creditors Having Claims Secured
                                               by Property , Schedule E/F: Creditors Who Have
                                               Unsecured Claims Non-Individual , Schedule G
                                               Non-Individual- Executory Contracts and Unexpired
                                               Leases , Schedule H Non-Individual- Codebtors
                                               (Filed By Chesapeake Plains, L.L.C. ). (Cavenaugh,
 08/21/2020                                    Matthew) (Entered: 08/21/2020)

                            920                Schedule A/B: Property Non-Individual , Schedule
                            (4076 pgs)         D Non-Individual- Creditors Having Claims Secured
                                               by Property , Schedule E/F: Creditors Who Have
                                               Unsecured Claims Non-Individual , Schedule G
                                               Non-Individual- Executory Contracts and Unexpired
                                               Leases , Schedule H Non-Individual- Codebtors
                                               (Filed By Chesapeake Operating, L.L.C. ).
 08/21/2020                                    (Cavenaugh, Matthew) (Entered: 08/21/2020)

                            921                Statement of Financial Affairs for Non-Individual
                            (39 pgs)           (Filed By Nomac Services, L.L.C. ). (Wertz,
 08/21/2020                                    Jennifer) (Entered: 08/21/2020)

                            922                Schedule A/B: Property Non-Individual , Schedule




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 146 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 146 of 1639
                                                                           0146


                            (72 pgs)           D Non-Individual- Creditors Having Claims Secured
                                               by Property , Schedule E/F: Creditors Who Have
                                               Unsecured Claims Non-Individual , Schedule G
                                               Non-Individual- Executory Contracts and Unexpired
                                               Leases , Schedule H Non-Individual- Codebtors
                                               (Filed By Chesapeake NG Ventures Corporation ).
 08/21/2020                                    (Cavenaugh, Matthew) (Entered: 08/21/2020)

                            923                Statement of Financial Affairs for Non-Individual
                            (48 pgs)           (Filed By Midcon Compression, L.L.C. ). (Wertz,
 08/21/2020                                    Jennifer) (Entered: 08/21/2020)

                            924                Schedule A/B: Property Non-Individual , Schedule
                            (106 pgs)          D Non-Individual- Creditors Having Claims Secured
                                               by Property , Schedule E/F: Creditors Who Have
                                               Unsecured Claims Non-Individual , Schedule G
                                               Non-Individual- Executory Contracts and Unexpired
                                               Leases , Schedule H Non-Individual- Codebtors
                                               (Filed By Chesapeake Midstream Development,
                                               L.L.C. ). (Cavenaugh, Matthew) (Entered:
 08/21/2020                                    08/21/2020)

                            925                Statement of Financial Affairs for Non-Individual
                            (43 pgs)           (Filed By MC Mineral Company, L.L.C. ). (Wertz,
 08/21/2020                                    Jennifer) (Entered: 08/21/2020)

                            926                Schedule A/B: Property Non-Individual , Schedule
                            (3644 pgs)         D Non-Individual- Creditors Having Claims Secured
                                               by Property , Schedule E/F: Creditors Who Have
                                               Unsecured Claims Non-Individual , Schedule G
                                               Non-Individual- Executory Contracts and Unexpired
                                               Leases , Schedule H Non-Individual- Codebtors
                                               (Filed By Chesapeake Louisiana, L.P. ).
 08/21/2020                                    (Cavenaugh, Matthew) (Entered: 08/21/2020)

                            927                Statement of Financial Affairs for Non-Individual
                            (43 pgs)           (Filed By MC Louisiana Minerals, L.L.C. ). (Wertz,
 08/21/2020                                    Jennifer) (Entered: 08/21/2020)

                            928                Schedule A/B: Property Non-Individual , Schedule
                            (271 pgs)          D Non-Individual- Creditors Having Claims Secured
                                               by Property , Schedule E/F: Creditors Who Have
                                               Unsecured Claims Non-Individual , Schedule G
                                               Non-Individual- Executory Contracts and Unexpired
                                               Leases , Schedule H Non-Individual- Codebtors
                                               (Filed By Chesapeake Land Development Company,
                                               L.L.C. ). (Cavenaugh, Matthew) (Entered:




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 147 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 147 of 1639
                                                                           0147


 08/21/2020                                    08/21/2020)

                            929                Statement of Financial Affairs for Non-Individual
                            (42 pgs)           (Filed By GSF, L.L.C. ). (Wertz, Jennifer) (Entered:
 08/21/2020                                    08/21/2020)

                            930                Statement of Financial Affairs for Non-Individual
                            (44 pgs)           (Filed By Esquisto Resources II, LLC ). (Wertz,
 08/21/2020                                    Jennifer) (Entered: 08/21/2020)

                            931                Statement of Financial Affairs for Non-Individual
                            (42 pgs)           (Filed By Empress Louisiana Properties, L,P. ).
 08/21/2020                                    (Wertz, Jennifer) (Entered: 08/21/2020)

                            932                Schedule A/B: Property Non-Individual , Schedule
                            (73 pgs)           D Non-Individual- Creditors Having Claims Secured
                                               by Property , Schedule E/F: Creditors Who Have
                                               Unsecured Claims Non-Individual , Schedule G
                                               Non-Individual- Executory Contracts and Unexpired
                                               Leases , Schedule H Non-Individual- Codebtors
                                               (Filed By Brazos Valley Longhorn, L.L.C. ).
 08/21/2020                                    (Cavenaugh, Matthew) (Entered: 08/21/2020)

                            933                Schedule A/B: Property Non-Individual , Schedule
                            (63 pgs)           D Non-Individual- Creditors Having Claims Secured
                                               by Property , Schedule E/F: Creditors Who Have
                                               Unsecured Claims Non-Individual , Schedule G
                                               Non-Individual- Executory Contracts and Unexpired
                                               Leases , Schedule H Non-Individual- Codebtors
                                               (Filed By Brazos Valley Longhorn Finance Corp. ).
 08/21/2020                                    (Cavenaugh, Matthew) (Entered: 08/21/2020)

                            934                Schedule A/B: Property Non-Individual , Schedule
                            (91 pgs)           D Non-Individual- Creditors Having Claims Secured
                                               by Property , Schedule E/F: Creditors Who Have
                                               Unsecured Claims Non-Individual , Schedule G
                                               Non-Individual- Executory Contracts and Unexpired
                                               Leases , Schedule H Non-Individual- Codebtors
                                               (Filed By Burleson Sand LLC ). (Cavenaugh,
 08/21/2020                                    Matthew) (Entered: 08/21/2020)

                            935                Statement of Financial Affairs for Non-Individual
                            (43 pgs)           (Filed By Empress, L.L.C. ). (Wertz, Jennifer)
 08/21/2020                                    (Entered: 08/21/2020)

                            936
                                               Schedule A/B: Property Non-Individual , Schedule




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 148 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 148 of 1639
                                                                           0148


                            (63 pgs)           D Non-Individual- Creditors Having Claims Secured
                                               by Property , Schedule E/F: Creditors Who Have
                                               Unsecured Claims Non-Individual , Schedule G
                                               Non-Individual- Executory Contracts and Unexpired
                                               Leases , Schedule H Non-Individual- Codebtors
                                               (Filed By Burleson Water Resources, LLC ).
 08/21/2020                                    (Cavenaugh, Matthew) (Entered: 08/21/2020)

                            937                Statement of Financial Affairs for Non-Individual
                            (39 pgs)           (Filed By EMLP, L.L.C. ). (Wertz, Jennifer)
 08/21/2020                                    (Entered: 08/21/2020)

                            938                Schedule A/B: Property Non-Individual , Schedule
                            (618 pgs)          D Non-Individual- Creditors Having Claims Secured
                                               by Property , Schedule E/F: Creditors Who Have
                                               Unsecured Claims Non-Individual , Schedule G
                                               Non-Individual- Executory Contracts and Unexpired
                                               Leases , Schedule H Non-Individual- Codebtors
                                               (Filed By Chesapeake AEZ Exploration, L.L.C. ).
 08/21/2020                                    (Cavenaugh, Matthew) (Entered: 08/21/2020)

                            939                Statement of Financial Affairs for Non-Individual
                            (56 pgs)           (Filed By Compass Manufacturing, L.L.C. ). (Wertz,
 08/21/2020                                    Jennifer) (Entered: 08/21/2020)

                            940                Schedule A/B: Property Non-Individual , Schedule
                            (4223 pgs)         D Non-Individual- Creditors Having Claims Secured
                                               by Property , Schedule E/F: Creditors Who Have
                                               Unsecured Claims Non-Individual , Schedule G
                                               Non-Individual- Executory Contracts and Unexpired
                                               Leases , Schedule H Non-Individual- Codebtors
                                               (Filed By Chesapeake Appalachia, L.L.C. ).
 08/21/2020                                    (Cavenaugh, Matthew) (Entered: 08/21/2020)

                            941                Schedule A/B: Property Non-Individual , Schedule
                            (489 pgs)          D Non-Individual- Creditors Having Claims Secured
                                               by Property , Schedule E/F: Creditors Who Have
                                               Unsecured Claims Non-Individual , Schedule G
                                               Non-Individual- Executory Contracts and Unexpired
                                               Leases , Schedule H Non-Individual- Codebtors
                                               (Filed By Chesapeake E&P Holding, L.L.C. ).
 08/21/2020                                    (Cavenaugh, Matthew) (Entered: 08/21/2020)

                            942                Statement of Financial Affairs for Non-Individual
                            (44 pgs)           (Filed By CHK Utica, L.L.C. ). (Wertz, Jennifer)
 08/21/2020                                    (Entered: 08/21/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 149 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 149 of 1639
                                                                           0149


                            943                Schedule A/B: Property Non-Individual , Schedule
                            (76 pgs)           D Non-Individual- Creditors Having Claims Secured
                                               by Property , Schedule E/F: Creditors Who Have
                                               Unsecured Claims Non-Individual , Schedule G
                                               Non-Individual- Executory Contracts and Unexpired
                                               Leases , Schedule H Non-Individual- Codebtors
                                               (Filed By Chesapeake Energy Louisiana, LLC ).
 08/21/2020                                    (Cavenaugh, Matthew) (Entered: 08/21/2020)

                            944                Statement of Financial Affairs for Non-Individual
                            (40 pgs)           (Filed By CHK NGV Leasing Company, LLC ).
 08/21/2020                                    (Wertz, Jennifer) (Entered: 08/21/2020)

                            945                Schedule A/B: Property Non-Individual , Schedule
                            (823 pgs)          D Non-Individual- Creditors Having Claims Secured
                                               by Property , Schedule E/F: Creditors Who Have
                                               Unsecured Claims Non-Individual , Schedule G
                                               Non-Individual- Executory Contracts and Unexpired
                                               Leases , Schedule H Non-Individual- Codebtors
                                               (Filed By Chesapeake Energy Marketing, L.L.C. ).
 08/21/2020                                    (Cavenaugh, Matthew) (Entered: 08/21/2020)

                            946                Statement of Financial Affairs for Non-Individual
                            (43 pgs)           (Filed By CHK Energy Holdings, Inc. ). (Wertz,
 08/21/2020                                    Jennifer) (Entered: 08/21/2020)

                            947                Schedule A/B: Property Non-Individual , Schedule
                            (891 pgs)          D Non-Individual- Creditors Having Claims Secured
                                               by Property , Schedule E/F: Creditors Who Have
                                               Unsecured Claims Non-Individual , Schedule G
                                               Non-Individual- Executory Contracts and Unexpired
                                               Leases , Schedule H Non-Individual- Codebtors
                                               (Filed By Chesapeake Energy Corporation ).
 08/21/2020                                    (Cavenaugh, Matthew) (Entered: 08/21/2020)

                            948                Statement of Financial Affairs for Non-Individual
                            (41 pgs)           (Filed By Chesapeake-Clements Acquisition,
 08/21/2020                                    L.L.C. ). (Wertz, Jennifer) (Entered: 08/21/2020)

                            949                Statement of Financial Affairs for Non-Individual
                            (41 pgs)           (Filed By Chesapeake VRT, L.L.C. ). (Wertz,
 08/21/2020                                    Jennifer) (Entered: 08/21/2020)

                            950                Statement of Financial Affairs for Non-Individual
                            (43 pgs)           (Filed By Chesapeake Royalty, L.L.C. ). (Wertz,
 08/21/2020                                    Jennifer) (Entered: 08/21/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 150 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 150 of 1639
                                                                           0150


                            951                Schedule A/B: Property Non-Individual , Schedule
                            (63 pgs)           D Non-Individual- Creditors Having Claims Secured
                                               by Property , Schedule E/F: Creditors Who Have
                                               Unsecured Claims Non-Individual , Schedule G
                                               Non-Individual- Executory Contracts and Unexpired
                                               Leases , Schedule H Non-Individual- Codebtors
                                               (Filed By Petromax E&P Burleson, LLC ).
 08/21/2020                                    (Cavenaugh, Matthew) (Entered: 08/21/2020)

                            952                Statement of Financial Affairs for Non-Individual
                            (42 pgs)           (Filed By Chesapeake Plains, L.L.C. ). (Wertz,
 08/21/2020                                    Jennifer) (Entered: 08/21/2020)

                            953                Schedule A/B: Property Non-Individual , Schedule
                            (70 pgs)           D Non-Individual- Creditors Having Claims Secured
                                               by Property , Schedule E/F: Creditors Who Have
                                               Unsecured Claims Non-Individual , Schedule G
                                               Non-Individual- Executory Contracts and Unexpired
                                               Leases , Schedule H Non-Individual- Codebtors
                                               (Filed By Sparks Drive SWD, Inc. ). (Cavenaugh,
 08/21/2020                                    Matthew) (Entered: 08/21/2020)

                            954                Schedule A/B: Property Non-Individual , Schedule
                            (67 pgs)           D Non-Individual- Creditors Having Claims Secured
                                               by Property , Schedule E/F: Creditors Who Have
                                               Unsecured Claims Non-Individual , Schedule G
                                               Non-Individual- Executory Contracts and Unexpired
                                               Leases , Schedule H Non-Individual- Codebtors
                                               (Filed By WHE ACQCO., LLC ). (Cavenaugh,
 08/21/2020                                    Matthew) (Entered: 08/21/2020)

                            955                Statement of Financial Affairs for Non-Individual
                            (1725 pgs)         (Filed By Chesapeake Operating, L.L.C. ). (Wertz,
 08/21/2020                                    Jennifer) (Entered: 08/21/2020)

                            956                Schedule A/B: Property Non-Individual , Schedule
                            (2916 pgs)         D Non-Individual- Creditors Having Claims Secured
                                               by Property , Schedule E/F: Creditors Who Have
                                               Unsecured Claims Non-Individual , Schedule G
                                               Non-Individual- Executory Contracts and Unexpired
                                               Leases , Schedule H Non-Individual- Codebtors
                                               (Filed By WHR Eagle Ford LLC ). (Cavenaugh,
 08/21/2020                                    Matthew) (Entered: 08/21/2020)

                            957                Statement of Financial Affairs for Non-Individual
                            (42 pgs)           (Filed By Chesapeake NG Ventures Corporation ).
 08/21/2020                                    (Wertz, Jennifer) (Entered: 08/21/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 151 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 151 of 1639
                                                                           0151


                            958                Schedule A/B: Property Non-Individual , Schedule
                            (65 pgs)           D Non-Individual- Creditors Having Claims Secured
                                               by Property , Schedule E/F: Creditors Who Have
                                               Unsecured Claims Non-Individual , Schedule G
                                               Non-Individual- Executory Contracts and Unexpired
                                               Leases , Schedule H Non-Individual- Codebtors
                                               (Filed By Wildhorse Resources II, LLC ).
 08/21/2020                                    (Cavenaugh, Matthew) (Entered: 08/21/2020)

                            959                Schedule A/B: Property Non-Individual , Schedule
                            (81 pgs)           D Non-Individual- Creditors Having Claims Secured
                                               by Property , Schedule E/F: Creditors Who Have
                                               Unsecured Claims Non-Individual , Schedule G
                                               Non-Individual- Executory Contracts and Unexpired
                                               Leases , Schedule H Non-Individual- Codebtors
                                               (Filed By Wildhorse Resources Management
                                               Company, LLC ). (Cavenaugh, Matthew) (Entered:
 08/21/2020                                    08/21/2020)

                            960                Statement of Financial Affairs for Non-Individual
                            (42 pgs)           (Filed By Chesapeake Midstream Development,
 08/21/2020                                    L.L.C. ). (Wertz, Jennifer) (Entered: 08/21/2020)

                            961                Schedule A/B: Property Non-Individual , Schedule
                            (74 pgs)           D Non-Individual- Creditors Having Claims Secured
                                               by Property , Schedule E/F: Creditors Who Have
                                               Unsecured Claims Non-Individual , Schedule G
                                               Non-Individual- Executory Contracts and Unexpired
                                               Leases , Schedule H Non-Individual- Codebtors
                                               (Filed By Winter Moon Energy Corporation ).
 08/21/2020                                    (Cavenaugh, Matthew) (Entered: 08/21/2020)

                            962                Statement of Financial Affairs for Non-Individual
                            (54 pgs)           (Filed By Chesapeake Louisiana, L.P. ). (Wertz,
 08/21/2020                                    Jennifer) (Entered: 08/21/2020)

                            963                Statement of Financial Affairs for Non-Individual
                            (49 pgs)           (Filed By Chesapeake Land Development Company,
 08/21/2020                                    L.L.C. ). (Wertz, Jennifer) (Entered: 08/21/2020)

                            964                Statement of Financial Affairs for Non-Individual
                            (68 pgs)           (Filed By Chesapeake Exploration, L.L.C. ). (Wertz,
 08/21/2020                                    Jennifer) (Entered: 08/21/2020)

                            965
                            (65 pgs)           Statement of Financial Affairs for Non-Individual
                                               (Filed By Chesapeake Energy Marketing, L.L.C. ).




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 152 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 152 of 1639
                                                                           0152


 08/21/2020                                    (Wertz, Jennifer) (Entered: 08/21/2020)

                            966                Statement of Financial Affairs for Non-Individual
                            (44 pgs)           (Filed By Chesapeake Energy Louisiana, LLC ).
 08/21/2020                                    (Wertz, Jennifer) (Entered: 08/21/2020)

                            967                Statement of Financial Affairs for Non-Individual
                            (74 pgs)           (Filed By Chesapeake Energy Corporation ). (Wertz,
 08/21/2020                                    Jennifer) (Entered: 08/21/2020)

                            968                Statement of Financial Affairs for Non-Individual
                            (44 pgs)           (Filed By Chesapeake E&P Holding, L.L.C. ).
 08/21/2020                                    (Wertz, Jennifer) (Entered: 08/21/2020)

                            969                Statement of Financial Affairs for Non-Individual
                            (146 pgs)          (Filed By Chesapeake Appalachia, L.L.C. ). (Wertz,
 08/21/2020                                    Jennifer) (Entered: 08/21/2020)

                            970                Statement of Financial Affairs for Non-Individual
                            (41 pgs)           (Filed By Chesapeake AEZ Exploration, L.L.C. ).
 08/21/2020                                    (Wertz, Jennifer) (Entered: 08/21/2020)

                            971                Statement of Financial Affairs for Non-Individual
                            (42 pgs)           (Filed By Burleson Water Resources, LLC ). (Wertz,
 08/21/2020                                    Jennifer) (Entered: 08/21/2020)

                            972                Statement of Financial Affairs for Non-Individual
                            (57 pgs)           (Filed By Burleson Sand LLC ). (Wertz, Jennifer)
 08/21/2020                                    (Entered: 08/21/2020)

                            973                Statement of Financial Affairs for Non-Individual
                            (40 pgs)           (Filed By Brazos Valley Longhorn Finance Corp. ).
 08/21/2020                                    (Wertz, Jennifer) (Entered: 08/21/2020)

                            974                Statement of Financial Affairs for Non-Individual
                            (48 pgs)           (Filed By Brazos Valley Longhorn, L.L.C. ). (Wertz,
 08/21/2020                                    Jennifer) (Entered: 08/21/2020)

                            975                Statement of Financial Affairs for Non-Individual
                            (41 pgs)           (Filed By Winter Moon Energy Corporation ).
 08/21/2020                                    (Wertz, Jennifer) (Entered: 08/21/2020)

                            976                Statement of Financial Affairs for Non-Individual
                            (49 pgs)           (Filed By Wildhorse Resources Management
                                               Company, LLC ). (Wertz, Jennifer) (Entered:
 08/21/2020                                    08/21/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 153 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 153 of 1639
                                                                           0153


                            977                Statement of Financial Affairs for Non-Individual
                            (43 pgs)           (Filed By Wildhorse Resources II, LLC ). (Wertz,
 08/21/2020                                    Jennifer) (Entered: 08/21/2020)

                            978                Statement of Financial Affairs for Non-Individual
                            (46 pgs)           (Filed By WHR Eagle Ford LLC ). (Wertz, Jennifer)
 08/21/2020                                    (Entered: 08/21/2020)

                            979                Statement of Financial Affairs for Non-Individual
                            (42 pgs)           (Filed By WHE ACQCO., LLC ). (Wertz, Jennifer)
 08/21/2020                                    (Entered: 08/21/2020)

                            980                Statement of Financial Affairs for Non-Individual
                            (40 pgs)           (Filed By Sparks Drive SWD, Inc. ). (Wertz,
 08/21/2020                                    Jennifer) (Entered: 08/21/2020)

                            981                Statement of Financial Affairs for Non-Individual
                            (42 pgs)           (Filed By Petromax E&P Burleson, LLC ). (Wertz,
 08/21/2020                                    Jennifer) (Entered: 08/21/2020)

                            982                   Statement of Financial Affairs for Non-
                            (41 pgs)              Individual (Filed By Northern Michigan
                                                  Exploration Company, L.L.C. ). (Wertz,
 08/21/2020                                       Jennifer) (Entered: 08/21/2020)

                            983                   Schedule A/B: Property Non-Individual ,
                            (14565 pgs; 2 docs)   Schedule D Non-Individual- Creditors Having
                                                  Claims Secured by Property , Schedule E/F:
                                                  Creditors Who Have Unsecured Claims Non-
                                                  Individual , Schedule G Non-Individual-
                                                  Executory Contracts and Unexpired Leases ,
                                                  Schedule H Non-Individual- Codebtors (Filed
                                                  By Chesapeake Exploration, L.L.C. ).
                                                  (Attachments: # 1 Part II) (Cavenaugh,
 08/21/2020                                       Matthew) (Entered: 08/21/2020)

                            984                   Transcript RE: Motion Hearing held on 08/21/20
                            (140 pgs)             before Judge David R. Jones. Transcript is
                                                  available for viewing in the Clerk's Office. Filed
                                                  by Transcript access will be restricted through
                                                  11/20/2020. (AccessTranscripts) (Entered:
 08/22/2020                                       08/22/2020)

                            985
                            (7 pgs)               BNC Certificate of Mailing. (Related document
                                                  (s):859 Notice of Filing of Official Transcript
                                                  (Form)) No. of Notices: 114. Notice Date




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 154 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 154 of 1639
                                                                           0154


 08/22/2020                                       08/22/2020. (Admin.) (Entered: 08/22/2020)

                            986                   BNC Certificate of Mailing. (Related document
                            (7 pgs)               (s):861 Order on Motion to Appear pro hac vice)
                                                  No. of Notices: 116. Notice Date 08/22/2020.
 08/22/2020                                       (Admin.) (Entered: 08/22/2020)

                            987                   BNC Certificate of Mailing. (Related document
                            (7 pgs)               (s):862 Order on Motion to Appear pro hac vice)
                                                  No. of Notices: 116. Notice Date 08/22/2020.
 08/22/2020                                       (Admin.) (Entered: 08/22/2020)

                            988                   BNC Certificate of Mailing. (Related document
                            (7 pgs)               (s):863 Order on Motion to Appear pro hac vice)
                                                  No. of Notices: 116. Notice Date 08/22/2020.
 08/22/2020                                       (Admin.) (Entered: 08/22/2020)

                            989                   BNC Certificate of Mailing. (Related document
                            (12 pgs)              (s):874 Generic Order) No. of Notices: 116.
                                                  Notice Date 08/23/2020. (Admin.) (Entered:
 08/23/2020                                       08/23/2020)

                            990                   BNC Certificate of Mailing. (Related document
                            (9 pgs)               (s):888 Order on Emergency Motion) No. of
                                                  Notices: 116. Notice Date 08/23/2020. (Admin.)
 08/23/2020                                       (Entered: 08/23/2020)

                            991                   BNC Certificate of Mailing. (Related document
                            (8 pgs)               (s):889 Order on Emergency Motion) No. of
                                                  Notices: 116. Notice Date 08/23/2020. (Admin.)
 08/23/2020                                       (Entered: 08/23/2020)

                            992                   BNC Certificate of Mailing. (Related document
                            (9 pgs)               (s):898 Generic Order) No. of Notices: 117.
                                                  Notice Date 08/23/2020. (Admin.) (Entered:
 08/23/2020                                       08/23/2020)

                            993                   BNC Certificate of Mailing. (Related document
                            (14 pgs)              (s):899 Generic Order) No. of Notices: 117.
                                                  Notice Date 08/23/2020. (Admin.) (Entered:
 08/23/2020                                       08/23/2020)

                            995                   Notice of Appearance and Request for Notice
                            (3 pgs)               Filed by John Y Bonds III Filed by on behalf of
                                                  City of Cleburne (Bonds, John) (Entered:
 08/24/2020                                       08/24/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 155 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 155 of 1639
                                                                           0155


                            996                   Letter from Shareholder David Knight
 08/24/2020                 (3 pgs)               (JeannieAndresen) (Entered: 08/24/2020)

                            997                   Letter from Shareholder John Dough
 08/24/2020                 (3 pgs)               (JeannieAndresen) (Entered: 08/24/2020)

                            998                   Order Granting Motion To Appear pro hac vice -
                            (1 pg)                Donald F. Campbell, Jr. (Related Doc # 892)
                                                  Signed on 8/24/2020. (emiller) (Entered:
 08/24/2020                                       08/24/2020)

                            999                   Response to Memorandum of Law in Support of
                            (39 pgs)              ETC Texas Pipeline, Ltd.'s Objection to Debtors'
                                                  Motion for Entry of an Order (I) Authorizing
                                                  Rejection of Certain Executory Contracts
                                                  Effective as of July 1, 2020 and (II) Granting
                                                  Related Relief. Filed by Chesapeake Energy
                                                  Corporation (Cavenaugh, Matthew) (Entered:
 08/24/2020                                       08/24/2020)

                            1000                  Order Granting Motion To Appear pro hac vice -
                                                  Gary E. English (Related Doc # 994) Signed on
 08/24/2020                 (1 pg)                8/24/2020. (emiller) (Entered: 08/24/2020)

                            1001                  Response to Debtors' Memorandum of Law In
                                                  Support of Debtors' Motion for Entry of an
                            (27 pgs)              Order (i) Authorizing Rejection of Certain
                                                  Executory Contracts Effective as of July 1, 2020
                                                  and (ii) Granting Related Relief. Filed by ETC
                                                  Texas Pipeline Ltd. (Yetter, R) (Entered:
 08/24/2020                                       08/24/2020)

                            1002                  Adversary case 20-03399. Nature of Suit: (91
                                                  (Declaratory judgment)) Complaint Debtors
                            (932 pgs; 27 docs)    Emergency Motion for Entry of an Order
                                                  Enforcing the Automatic Stay Against Petty
                                                  Business Enterprises, LP and Mary Elizabeth
                                                  Sheldon Wier, in the Alternative, Granting
                                                  Declaratory Relief by Chesapeake Energy
                                                  Corporation, Chesapeake Energy Corporation
                                                  against Petty Business Enterprises, LP,
                                                  Catherine Lilley Shelton, Diana Rose Sims
                                                  Lewis, Elizabeth Sims Hufft, James Edward
                                                  Shelton, Leighton Arthur Wier, Leonard H.
                                                  Sims, III, Mary Elizabeth Sheldon Wier, Max
                                                  Weir, Ronald Hargis Wier, Vicki Grace Gilbert.
                                                  Fee Amount $350 (Attachments: # 1 Exhibit A #




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 156 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 156 of 1639
                                                                           0156


                                                  2 Exhibit B # 3 Exhibit C # 4 Exhibit D # 5
                                                  Exhibit E # 6 Exhibit F # 7 Exhibit G # 8 Exhibit
                                                  H # 9 Exhibit I # 10 Exhibit J # 11 Exhibit K #
                                                  12 Exhibit L # 13 Exhibit M # 14 Exhibit N # 15
                                                  Exhibit O # 16 Exhibit P # 17 Exhibit Q # 18
                                                  Exhibit R # 19 Exhibit S # 20 Exhibit T # 21
                                                  Exhibit U # 22 Exhibit V # 23 Exhibit W # 24
                                                  Exhibit X # 25 Proposed Order # 26 Cover
                                                  Sheet) (Greco, Christopher) (Entered:
 08/24/2020                                       08/24/2020)

                            1003                  Declaration re: Declaration of Disinterestedness
                                                  of Vorys, Sater, Seymour and Pease LLP
                            (3 pgs)               Pursuant to the Order Authorizing the Retention
                                                  and Compensation of Certain Professionals
                                                  Utilized in the Ordinary Course of Business
                                                  (Filed By Chesapeake Energy Corporation ).
 08/24/2020                                       (Cavenaugh, Matthew) (Entered: 08/24/2020)

                            1005                  AO 435 TRANSCRIPT ORDER FORM
                                                  (Expedited (7 days)) by CNOOC Energy U.S.A.
                            (1 pg)                LLC/Edward L. Ripley. This is to order a
                                                  transcript of 8/12/2020 before Judge David R.
                                                  Jones. Court Reporter/Transcriber: Access
                                                  Transcripts (Filed By CNOOC Energy U.S.A.
                                                  LLC ). (Ripley, Edward) Copy request was
                                                  electronically forwarded to Access Transcripts
                                                  on 8-26-2020. Estimated completion date: 8-27-
                                                  2020. Modified on 8/26/2020 (MelissaMorgan).
 08/25/2020                                       (Entered: 08/25/2020)

                            1006                  Proposed Order RE: Order Denying DFW's
                                                  Motion for Relief from Automatic Stay to Permit
                            (4 pgs)               a Pending Appeal to Proceed (Filed By
                                                  Chesapeake Energy Corporation ).(Related
                                                  document(s):407 Motion for Relief From Stay,
                                                  647 Response, 665 Objection, 694 Reply)
 08/25/2020                                       (Cavenaugh, Matthew) (Entered: 08/25/2020)

                            1007
                                                  Proposed Order RE: Order Denying Eagle Ford
                                                  Royalty Owner Plaintiffs' Motion for Relief from
                            (4 pgs)
                                                  the Automatic Stay as to the Debtors
                                                  Chesapeake Energy Corporation; Chesapeake
                                                  Operations, L.L.C., f/k/a Chesapeake Operating,
                                                  Inc.; Chesapeake Exploration, L.L.C. as
                                                  Successor by Merger to Chesapeake
                                                  Exploration, L.P.; and Chesapeake Energy




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 157 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 157 of 1639
                                                                           0157


                                                  Marketing, L.L.C., f/k/a Chesapeake Energy
                                                  Marketing, Inc. (Filed By Chesapeake Energy
                                                  Corporation ).(Related document(s):424 Motion
                                                  for Relief From Stay, 651 Objection, 666
                                                  Objection, 667 Notice, 708 Reply) (Cavenaugh,
 08/25/2020                                       Matthew) (Entered: 08/25/2020)

                            1008                  Notice of Appellee's Designation of Additional
                                                  Items to be Included in the Record on Appeal.
                            (20 pgs)              Filed by Chesapeake Energy Corporation
 08/25/2020                                       (Cavenaugh, Matthew) (Entered: 08/25/2020)

                            1009                  Affidavit Re: Affidavit of Service of Marc
                                                  Orfitelli (Filed By Epiq Corporate Restructuring
                            (23 pgs)              LLC ).(Related document(s):665 Objection, 666
                                                  Objection) (Garabato, Sid) (Entered:
 08/25/2020                                       08/25/2020)

                            1010                  Affidavit Re: Affidavit of Service of Geoff Zahm
                                                  (Filed By Epiq Corporate Restructuring LLC ).
                            (21 pgs)              (Related document(s):672 Notice) (Garabato,
 08/25/2020                                       Sid) (Entered: 08/25/2020)

                            1011                  Reply in Support of Motion for Entry of an
                                                  Order (I) Authorizing Rejection of the
                            (35 pgs)              Negotiated Rate Firm Transportation
                                                  Agreements and Related Contracts Effective as
                                                  of July 1, 2020 and (II) Granting Related Relief
                                                  (related document(s):35 Motion to
                                                  Assume/Reject). Filed by Chesapeake Energy
                                                  Corporation (Cavenaugh, Matthew) (Entered:
 08/25/2020                                       08/25/2020)

                            1012                  Order Denying DFW's Motion For Relief From
                                                  Automatic Stay to Permit a Pending Appeal to
                            (4 pgs)               Proceed (Related Doc # 407) Signed on
 08/25/2020                                       8/25/2020. (emiller) (Entered: 08/26/2020)

                            1013                  Order Denying Eagle Ford Royalty Owner
                                                  Plaintiffs' Motion For Relief From The
                            (4 pgs)               Automatic Stay (Related Doc # 424) Signed on
 08/25/2020                                       8/25/2020. (emiller) (Entered: 08/26/2020)

                            1014
                                                  AO 435 TRANSCRIPT ORDER FORM (Daily
                            (1 pg)                (24 hours)) by Julie Harrison. This is to order a
                                                  transcript of August 25, 2020 hearing before




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 158 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 158 of 1639
                                                                           0158


                                                  Judge David R. Jones. Court
                                                  Reporter/Transcriber: Judicial Transcribers of
                                                  Texas (Filed By Official Committee Of
                                                  Unsecured Creditors ). (Harrison, Julie)
                                                  Electronically forwarded to Judicial Transcribers
                                                  of Texas on August 27, 2020. Estimated
                                                  completion date: August 28, 2020. Modified on
                                                  8/27/2020 (ClaudiaGutierrez). (Entered:
 08/26/2020                                       08/26/2020)

                            1015                  Declaration re: Declaration of Disinterestedness
                                                  of Fuller Tubb Bickford Warmington & Panach,
                            (3 pgs)               PLLC Pursuant to the Order Authorizing the
                                                  Retention and Compensation of Certain
                                                  Professionals Utilized in the Ordinary Course of
                                                  Business (Filed By Chesapeake Energy
                                                  Corporation ). (Cavenaugh, Matthew) (Entered:
 08/26/2020                                       08/26/2020)

                            1016                  Debtors Master Service List (Filed By Epiq
                                                  Corporate Restructuring LLC ). (Garabato, Sid)
 08/26/2020                 (54 pgs)              (Entered: 08/26/2020)

                            1017                  Declaration re: Declaration of Disinterestedness
                                                  of Pillsbury Winthrop Shaw Pittman LLP
                            (4 pgs)               Pursuant to the Order Authorizing the Retention
                                                  and Compensation of Certain Professionals
                                                  Utilized in the Ordinary Course of Business
                                                  (Filed By Chesapeake Energy Corpo²ation ).
 08/26/2020                                       (Cavenaugh, Matthew) (Entered: 08/26/2020)

                            1018                  Certificate of No Objection with Respect to the
                                                  Motion Authorizing the Rejection of Certain
                            (7 pgs; 2 docs)       Sand Mine Contracts Effective as of July 31,
                                                  2020 (Filed By Chesapeake Energy
                                                  Corporation ).(Related document(s):598 Generic
                                                  Motion) (Attachments: # 1 Proposed Order)
 08/26/2020                                       (Cavenaugh, Matthew) (Entered: 08/26/2020)

                            1019                  BNC Certificate of Mailing. (Related document
                                                  (s):998 Order on Motion to Appear pro hac vice)
                            (7 pgs)               No. of Notices: 79. Notice Date 08/26/2020.
 08/26/2020                                       (Admin.) (Entered: 08/26/2020)

                            1020                  BNC Certificate of Mailing. (Related document
                                                  (s):1000 Order on Motion to Appear pro hac
                            (7 pgs)               vice) No. of Notices: 79. Notice Date




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 159 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 159 of 1639
                                                                           0159


 08/26/2020                                       08/26/2020. (Admin.) (Entered: 08/26/2020)

                            1028
                                                  Letter re: Proof of Claim from Beverly
 08/26/2020                 (6 pgs)               Huddleston. (rcas) (Entered: 08/27/2020)

                            1021                  Proposed Order RE: (also filed as Exhibit to
                                                  Doc. No. 557) (Filed By Official Committee of
                            (1 pg)                Royalty Owners ).(Related document(s):557
                                                  Application to Employ) (Brown, pllc, Deirdre)
 08/27/2020                                       (Entered: 08/27/2020)

                            1022                  Witness List, Exhibit List (Filed By Official
                                                  Committee of Royalty Owners ).(Related
                            (67 pgs; 5 docs)      document(s):557 Application to Employ, 803
                                                  Notice) (Attachments: # 1 Exhibit 1 -
                                                  Application to Employ Doc. no. 557 # 2 Exhibit
                                                  2 - Affidavit of Service # 3 Exhibit
                                                  3_Declaration # 4 Exhibit Notice of Hearing)
 08/27/2020                                       (Brown, pllc, Deirdre) (Entered: 08/27/2020)

                            1023                  Certificate of No Objection (Filed By Official
                                                  Committee of Royalty Owners ).(Related
                            (2 pgs)               document(s):557 Application to Employ)
 08/27/2020                                       (Brown, pllc, Deirdre) (Entered: 08/27/2020)

                            1024                  Notice of Appearance and Request for Notice
                                                  Filed by Lance H. Beshara Filed by on behalf of
                            (2 pgs)               Stockyards Investment (Beshara, Lance)
 08/27/2020                                       (Entered: 08/27/2020)

                            1025                  Notice of Appearance and Request for Notice
                                                  Filed by Lance H. Beshara Filed by on behalf of
                            (2 pgs)               Forward Fort Worth LTD a/k/a Forward Fort
                                                  Worth River Project, Ltd or Forward Fort Worth
                                                  Development, L.C.C. (Beshara, Lance) (Entered:
 08/27/2020                                       08/27/2020)

                            1026                  Notice of Appearance and Request for Notice
                                                  Filed by Lance H. Beshara Filed by on behalf of
                            (2 pgs)               TCB Farm & Ranchland (Beshara, Lance)
 08/27/2020                                       (Entered: 08/27/2020)

                            1027
                                                  Notice of Appearance and Request for Notice
                            (2 pgs)               Filed by Lance H. Beshara Filed by on behalf of
                                                  Keith Allen Kidwill (Beshara, Lance) (Entered:




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 160 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 160 of 1639
                                                                           0160


 08/27/2020                                       08/27/2020)

                            1029                  Notice of Appearance and Request for Notice
                                                  Filed by J Frasher Murphy Filed by on behalf of
                            (2 pgs)               Enable Midstream Partners, LP (Murphy, J)
 08/27/2020                                       (Entered: 08/27/2020)

                            1030                  Declaration re: Disinterestedness of Byrnes
                                                  Keller Cromwell LLP (Filed By Byrnes Keller
                            (3 pgs)               Cromwell LLP ).(Related document(s):655
                                                  Generic Order) (Selig, Joshua) (Entered:
 08/27/2020                                       08/27/2020)

                            1031                  Response (Filed By Federal Energy Regulatory
                                                  Commission ).(Related document(s):870
                            (4 pgs)               Objection) (Kincheloe, Richard) (Entered:
 08/27/2020                                       08/27/2020)

                            1032                  Response (Filed By Chesapeake Energy
                                                  Corporation ). (Cavenaugh, Matthew) (Entered:
 08/27/2020                 (32 pgs)              08/27/2020)

                            1033                  Reply /ETC Texas Pipeline Ltd. Reply In
                                                  Support of Its Objection to the Motion of
                            (27 pgs)              Debtors for Entry of an Order Authorizing
                                                  Rejection of Certain Executory Contracts
                                                  Effective as of July 1, 2020 and Granting
                                                  Related Relief. Filed by ETC Texas Pipeline Ltd.
 08/27/2020                                       (Yetter, R) (Entered: 08/27/2020)

                            1034                  Witness List, Exhibit List (Filed By Chesapeake
                                                  Energy Corporation ). (Attachments: # 1 Exhibit
                            (366 pgs; 4 docs)     1 # 2 Exhibit 2 # 3 Exhibit 3) (Cavenaugh,
 08/27/2020                                       Matthew) (Entered: 08/27/2020)

                            1035                  Witness List (Filed By ETC Texas Pipeline
                                                  Ltd. ). (Attachments: # 1 Exhibit 1 # 2 Exhibit 2a
                            (173 pgs; 6 docs)     # 3 Exhibit 2b # 4 Exhibit 2c # 5 Exhibit 3)
 08/27/2020                                       (Mitchell, John) (Entered: 08/27/2020)

                            1036                  Witness List (Filed By ETC Texas Pipeline
                                                  Ltd. ). (Attachments: # 1 Exhibit 1 # 2 Exhibit 2
                            (94 pgs; 6 docs)      # 3 Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5)
 08/27/2020                                       (Mitchell, John) (Entered: 08/27/2020)

                            1037
                                                  Reply to Debtors' Objection to ETC Tiger




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 161 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 161 of 1639
                                                                           0161


                                                  Pipeline, LLC's Motion to Withdraw Reference
                            (49 pgs)              of the Debtors' Motion for Entry of An Order (I)
                                                  Authorizing Rejection of the Negotiated Rate
                                                  Firm Transportation Agreements and Related
                                                  Contracts Effective as of July 1, 2020 and (II)
                                                  Granting Related Relief (related document
                                                  (s):490 Motion for Withdrawal of Reference).
                                                  Filed by ETC Tiger Pipeline LLC (Mitchell,
 08/28/2020                                       John) (Entered: 08/28/2020)

                            1038                  Stipulation By Chesapeake Energy Corporation
                                                  and ETC Texas Pipeline, Ltd.. Does this
                            (112 pgs; 5 docs)     document include an agreed order or otherwise
                                                  request that the judge sign a document? No.
                                                  (Filed By Chesapeake Energy Corporation ).
                                                  (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3
                                                  Exhibit 4 # 4 Exhibit 5) (Cavenaugh, Matthew)
 08/28/2020                                       (Entered: 08/28/2020)

                            1039                  Additional Attachments Re: Exhibit 3 (related
                                                  document(s):1038 Stipulation) (Filed By
                            (89 pgs)              Chesapeake Energy Corporation ).(Related
                                                  document(s):1038 Stipulation) (Cavenaugh,
 08/28/2020                                       Matthew) (Entered: 08/28/2020)

                            1040                  Notice of Reconstituted Committee of Royalty
                                                  Owners. Filed by US Trustee (Duran, Hector)
 08/28/2020                 (3 pgs)               (Entered: 08/28/2020)

                            1041                  Affidavit Re: Affidavit of Service of Geoff Zahm
                                                  (Filed By Epiq Corporate Restructuring LLC ).
                            (19 pgs)              (Related document(s):711 Reply) (Garabato,
 08/28/2020                                       Sid) (Entered: 08/28/2020)

                            1042                  Affidavit Re: Affidavit of Service of Marc
                                                  Orfitelli (Filed By Epiq Corporate Restructuring
 08/28/2020                 (34 pgs)              LLC ). (Garabato, Sid) (Entered: 08/28/2020)

                            1043                  BNC Certificate of Mailing. (Related document
                                                  (s):1012 Order on Motion For Relief From Stay)
                            (10 pgs)              No. of Notices: 80. Notice Date 08/28/2020.
 08/28/2020                                       (Admin.) (Entered: 08/28/2020)

                            1044
                                                  BNC Certificate of Mailing. (Related document
                            (10 pgs)              (s):1013 Order on Motion For Relief From Stay)
                                                  No. of Notices: 80. Notice Date 08/28/2020.




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 162 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 162 of 1639
                                                                           0162


 08/28/2020                                       (Admin.) (Entered: 08/28/2020)

                            1045                  Agenda for Hearing on 8/31/2020 (Filed By
                                                  Chesapeake Energy Corporation ). (Cavenaugh,
 08/31/2020                 (6 pgs)               Matthew) (Entered: 08/31/2020)

                            1046                  Proposed Order RE: Order (I) Authorizing
                                                  Rejection of Certain Executory Contracts
                            (8 pgs; 2 docs)       Effective as of July 1, 2020 and (II) Granting
                                                  Related Relief (Filed By Chesapeake Energy
                                                  Corporation ).(Related document(s):27
                                                  Emergency Motion) (Attachments: # 1 Redline)
 08/31/2020                                       (Cavenaugh, Matthew) (Entered: 08/31/2020)

                            1047                  AO 435 TRANSCRIPT ORDER FORM (Daily
                                                  (24 hours)) by Matthew D. Cavenaugh. This is to
                            (1 pg)                order a transcript of 08/31/2020 before Judge
                                                  David R. Jones. Court Reporter/Transcriber:
                                                  Access Transcripts (Filed By Chesapeake
                                                  Energy Corporation ). (Cavenaugh, Matthew)
                                                  Electronically forwarded to Access Transcripts
                                                  on 8-31-2020. Estimated completion date: 9-1-
                                                  2020. Modified on 8/31/2020 (MelissaMorgan).
 08/31/2020                                       (Entered: 08/31/2020)

                            1048                  AO 435 TRANSCRIPT ORDER FORM (Daily
                                                  (24 hours)) by Marty L. Brimmage, Jr.. This is to
                            (1 pg)                order a transcript of the August 31, 2020
                                                  Hearing before Judge David R. Jones. Court
                                                  Reporter/Transcriber: Access Transcripts (Filed
                                                  By Franklin Advisers, Inc., as Investment
                                                  Manager on Behalf of Certain Funds and
                                                  Accounts ). (Brimmage, Marty) Copy request
                                                  was electronically forwarded to Access
                                                  Transcripts on 8-31-2020. Estimated completion
                                                  date: 9-1-2020. Modified on 8/31/2020
 08/31/2020                                       (MelissaMorgan). (Entered: 08/31/2020)

                            1049                  Declaration re: of Disinterestedness (Filed By
                                                  Beatty & Wozniak PC ). (Sparks, William)
 08/31/2020                 (6 pgs)               (Entered: 08/31/2020)

                            1050                  AO 435 TRANSCRIPT ORDER FORM (Daily
                                                  (24 hours)) by Jason Boland. This is to order a
                            (1 pg)                transcript of August 31, 2020 hearing before
                                                  Judge David R. Jones. Court
                                                  Reporter/Transcriber: Access Transcripts (Filed




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 163 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 163 of 1639
                                                                           0163


                                                  By Official Committee Of Unsecured
                                                  Creditors ). (Boland, Jason) Copy request was
                                                  electronically forwarded to Access Transcripts
                                                  on 8-31-2020. Estimated completion date: 9-1-
                                                  2020. Modified on 8/31/2020 (MelissaMorgan).
 08/31/2020                                       (Entered: 08/31/2020)

                            1051                  Declaration re: Declaration of Disinterestedness
                                                  of Bracewell LLP Pursuant to the Order
                            (4 pgs)               Authorizing the Retention and Compensation of
                                                  Certain Professionals Utilized in the Ordinary
                                                  Course of Business (Filed By Chesapeake
                                                  Energy Corporation ). (Peguero, Kristhy)
 08/31/2020                                       (Entered: 08/31/2020)

                            1052                  AO 435 TRANSCRIPT ORDER FORM (Daily
                                                  (24 hours)) by Anna Marie Hearn-Darst. This is
                            (2 pgs)               to order a transcript of 8/31/2020, hearing before
                                                  Judge David R. Jones. Court
                                                  Reporter/Transcriber: Access Transcripts.
                                                  (mmap) Copy request was electronically
                                                  forwarded to Access Transcripts on 8-31-2020.
                                                  Estimated completion date: 9-1-2020. Modified
                                                  on 8/31/2020 (MelissaMorgan). (Entered:
 08/31/2020                                       08/31/2020)

                            1053                      PDF with attached Audio File. Court Date &
                                                  Time [ 8/31/2020 9:00:22 AM ]. File Size
                            (1 pg)                [ 72028 KB ]. Run Time [ 02:30:03 ]. (admin).
 08/31/2020                                       (Entered: 08/31/2020)

                            1054                  Order (I) Authorizing the Rejection of Certain
                                                  Sand Mine Contracts Effective As of July 31,
                            (4 pgs)               2020 and (II) Granting Related Relief (Related
                                                  Doc # 598) Signed on 8/31/2020. (aalo)
 08/31/2020                                       (Entered: 08/31/2020)

                            1055
                                                  AO 435 TRANSCRIPT ORDER FORM (Daily
                            (1 pg)                (24 hours)) by Larry R. Veselka. This is to order
                                                  a transcript of Hearing on 8/31/2020 before
                                                  Judge David R. Jones. Court
                                                  Reporter/Transcriber: Access Transcripts (Filed
                                                  By Petty Business Enterprises, LP, Petty Energy
                                                  L.P. and their related entities ). (Veselka, Larry)
                                                  Copy request was electronically forwarded to
                                                  Access Transcripts on 8-31-2020. Estimated




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                        5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 164 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 164 of 1639
                                                                           0164


                                                  completion date: 9-1-2020. Modified on
                                                  8/31/2020 (MelissaMorgan). (Entered:
 08/31/2020                                       08/31/2020)

                            1056                  Courtroom Minutes. Time Hearing Held: 9:00
                                                  AM. Appearances: see attached. (Related
                            (4 pgs)               document(s):27 Emergency Motion, 490 Motion
                                                  for Withdrawal of Reference). The Court heard
                                                  two contested matters todays and will issue a
                                                  Report and Recommendation with respect to the
                                                  Motion for Withdrawal of the Reference.
                                                  Additionally, the Court will issue a written
                                                  opinion with respect to the 27 Emergency
                                                  Motion to Reject Certain Executory Contracts.
                                                  (aalo) Additional attachment(s) added on
 08/31/2020                                       9/1/2020 (aalo). (Entered: 08/31/2020)

                            1057                  Stipulation By Chesapeake Energy Corporation
                                                  and Certain of its Subsidiaries and Affiliates.
                            (5 pgs)               Does this document include an agreed order or
                                                  otherwise request that the judge sign a
                                                  document? Yes. (Filed By Chesapeake Energy
                                                  Corporation ). (Cavenaugh, Matthew) (Entered:
 08/31/2020                                       08/31/2020)

                            1058                  Stipulation By Chesapeake Energy Corporation
                                                  and CNOOC Energy U.S.A. LLC f/k/a OOGC
                            (5 pgs)               America LLC. Does this document include an
                                                  agreed order or otherwise request that the judge
                                                  sign a document? Yes. (Filed By Chesapeake
                                                  Energy Corporation ). (Cavenaugh, Matthew)
 08/31/2020                                       (Entered: 08/31/2020)

                            1059                  Transcript RE: Emergency Motion to Reject
                                                  Certain Executory Contracts; Motion for
                            (102 pgs)             Withdrawal of Reference held on 08/31/2020
                                                  before Judge David R. Jones. Transcript is
                                                  available for viewing in the Clerk's Office. Filed
                                                  by Transcript access will be restricted through
                                                  11/30/2020. (AccessTranscripts) (Entered:
 09/01/2020                                       09/01/2020)

                            1060                  Notice of Appearance and Request for Notice
                                                  Filed by Alison White Haynes Filed by on behalf
                            (2 pgs)               of Howland Engineering and Surveying Co Inc
 09/01/2020                                       (Haynes, Alison) (Entered: 09/01/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 165 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 165 of 1639
                                                                           0165


                            1061                  Declaration re: Declaration of Disinterestedness
                                                  of Gungoll, Jackson, Box & Devoll, P.C.
                            (3 pgs)               Pursuant to the Order Authorizing the Retention
                                                  and Compensation of Certain Professionals
                                                  Utilized in the Ordinary Course of Business
                                                  (Filed By Chesapeake Energy Corporation ).
 09/01/2020                                       (Cavenaugh, Matthew) (Entered: 09/01/2020)

                            1062                  Declaration re: Declaration of Disinterestedness
                                                  of KPMG LLP Pursuant to the Order
                            (4 pgs)               Authorizing the Retention and Compensation of
                                                  Certain Professionals Utilized in the Ordinary
                                                  Course of Business (Filed By Chesapeake
                                                  Energy Corporation ). (Cavenaugh, Matthew)
 09/01/2020                                       (Entered: 09/01/2020)

                            1063                  AO 435 TRANSCRIPT ORDER FORM (14-
                                                  Day) by Steven Vacek. This is to order a
                            (2 pgs)               transcript of 8/31/2020 before Judge David R.
                                                  Jones. Court Reporter/Transcriber: Access
                                                  Transcripts. (BrendaLacy) Copy Request
                                                  electronically forwarded to Access Transcripts,
                                                  LLC on September 1, 2020. Estimated
                                                  completion date: September 15, 2020. Modified
                                                  on 9/1/2020 (ClaudiaGutierrez). (Entered:
 09/01/2020                                       09/01/2020)

                            1064                  Notice to Ad Hoc Group of Secured FLLO Term
                                                  Loan Lenders of Rule 30(b)(6) Deposition. Filed
                            (8 pgs)               by Official Committee Of Unsecured Creditors
 09/01/2020                                       (Harrison, Julie) (Entered: 09/01/2020)

                            1065                  Notice to Chesapeake Energy Corporation of
                                                  Rule 30(b)(6) Deposition. Filed by Official
                            (9 pgs)               Committee Of Unsecured Creditors (Harrison,
 09/01/2020                                       Julie) (Entered: 09/01/2020)

                            1066                  Notice to MUFG Union Bank, N.A. of Rule 30(b)
                                                  (6) Deposition. Filed by Official Committee Of
                            (9 pgs)               Unsecured Creditors (Harrison, Julie) (Entered:
 09/01/2020                                       09/01/2020)

                            1067                  Motion to Appear pro hac vice R. Joseph Naus
                                                  of Wiener, Weiss & Madison, APC. Filed by
                            (1 pg)                Creditor Parish of Caddo (Naus, R) (Entered:
 09/01/2020                                       09/01/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 166 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 166 of 1639
                                                                           0166


                            1068                  Motion to Appear pro hac vice for R. Joseph
                                                  Naus of Wiener, Weiss & Madison, APC. Filed
                            (1 pg)                by Creditor Industrial Development Board of the
                                                  Parish of Caddo, Inc. (Naus, R) (Entered:
 09/01/2020                                       09/01/2020)

                            1069                  Notice to Franklin Advisers, Inc. of Rule 30(b)
                                                  (6) Deposition. Filed by Official Committee Of
                            (9 pgs)               Unsecured Creditors (Harrison, Julie) (Entered:
 09/01/2020                                       09/01/2020)

                            1070                  Motion to Extend Time Within Which the
                                                  Debtors May Remove Actions and Granting
                            (9 pgs; 2 docs)       Related Relief Filed by Debtor Chesapeake
                                                  Energy Corporation (Attachments: # 1 Proposed
                                                  Order) (Cavenaugh, Matthew) (Entered:
 09/01/2020                                       09/01/2020)

                            1071                  Notice of Filing of Official Transcript as to 1059
                                                  Transcript. Parties notified (Related document
                            (1 pg)                (s):1059 Transcript) (jdav) (Entered:
 09/02/2020                                       09/02/2020)

                            1072                  Declaration re: Declaration of Disinterestedness
                                                  of Steidley & Neal, PLLC Pursuant to the Order
                            (4 pgs)               Authorizing the Retention and Compensation of
                                                  Certain Professionals Utilized in the Ordinary
                                                  Course of Business (Filed By Chesapeake
                                                  Energy Corporation ). (Cavenaugh, Matthew)
 09/02/2020                                       (Entered: 09/02/2020)

                            1073                  Declaration re: Declaration of Disinterestedness
                                                  of AECOM Technical Services, Inc. Pursuant to
                            (4 pgs)               the Order Authorizing the Retention and
                                                  Compensation of Certain Professionals Utilized
                                                  in the Ordinary Course of Business (Filed By
                                                  Chesapeake Energy Corporation ). (Cavenaugh,
 09/02/2020                                       Matthew) (Entered: 09/02/2020)

                            1074                  Declaration re: Declaration of Disinterestedness
                                                  of Preis PLC Pursuant to the Order Authorizing
                            (3 pgs)               the Retention and Compensation of Certain
                                                  Professionals Utilized in the Ordinary Course of
                                                  Business (Filed By Chesapeake Energy
                                                  Corporation ). (Cavenaugh, Matthew) (Entered:
 09/02/2020                                       09/02/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 167 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 167 of 1639
                                                                           0167


                            1075                  Notice of Appearance and Request for Notice
                                                  Filed by Patrick Lawrence McCune Filed by on
                            (3 pgs)               behalf of Industrial Development Board of the
                                                  Parish of Caddo, Inc., Parish of Caddo (McCune,
 09/02/2020                                       Patrick) (Entered: 09/02/2020)

                            1076                  Declaration re: of Disinteresstedness of Floom
                                                  Energy Law PLLC Pursuant to the Order
                            (4 pgs)               Authorizing the Retention and Compensation of
                                                  Certain Professionals Utilized in the Ordinary
                                                  Course of Business (Filed By John Paul Floom ).
 09/02/2020                                       (mmap) (Entered: 09/02/2020)

                            1077                  Opposition Response/Objection Filed by
                                                  Stephanie Delasandro. (Related document
                            (13 pgs; 4 docs)      (s):1057 Stipulation) (Attachments: # 1 Exhibit 1
                                                  # 2 Exhibit 2 # 3 Exhibit 3)(Mayer, Simon)
 09/02/2020                                       (Entered: 09/02/2020)

                            1078                  Declaration re: Supplemental Declaration of
                                                  David MacGreevey of AlixPartners, LLP (Filed
                            (30 pgs)              By Official Committee Of Unsecured
                                                  Creditors ).(Related document(s):780
                                                  Application to Employ) (Boland, Jason)
 09/02/2020                                       (Entered: 09/02/2020)

                            1079                  Declaration re: Declaration of Disinterestedness
                                                  of Kelly Hart & Hallman LLP Pursuant to the
                            (4 pgs)               Order Authorizing the Retention and
                                                  Compensation of Certain Professionals Utilized
                                                  in the Ordinary Course of Business (Filed By
                                                  Chesapeake Energy Corporation ). (Cavenaugh,
 09/02/2020                                       Matthew) (Entered: 09/02/2020)

                            1080                  Declaration re: Declaration of Disinterestedness
                                                  of Holland & Hart LLP Pursuant to the Order
                            (3 pgs)               Authorizing the Retention and Compensation of
                                                  Certain Professionals Utilized in the Ordinary
                                                  Course of Business (Filed By Chesapeake
                                                  Energy Corporation ). (Cavenaugh, Matthew)
 09/02/2020                                       (Entered: 09/02/2020)

                            1081                  BNC Certificate of Mailing. (Related document
                                                  (s):1054 Generic Order) No. of Notices: 84.
                            (10 pgs)              Notice Date 09/02/2020. (Admin.) (Entered:
 09/02/2020                                       09/02/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 168 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 168 of 1639
                                                                           0168


                            1082                  AO 435 TRANSCRIPT ORDER FORM (Daily
                                                  (24 hours)) by Anna Marie Hearn-Darst. This is
                            (2 pgs)               to order a transcript of 8/18/2020 before Judge
                                                  David R. Jones. Court Reporter/Transcriber:
                                                  Judicial Transcribers of Texas. (mmap) Copy
                                                  request was electronically forwarded to Judicial
                                                  Transcribers of Texas on 9-3-2020. Estimated
                                                  completion date: 9-4-2020. Modified on
                                                  9/3/2020 (MelissaMorgan). (Entered:
 09/03/2020                                       09/03/2020)

                            1083                  Notice of Appearance and Request for Notice
                                                  Filed by Lloyd A. Lim Filed by on behalf of
                            (4 pgs)               Bank of America, N.A., in its capacity as trustee
                                                  to the Lee Wiley Moncrief Trust (Lim, Lloyd)
 09/03/2020                                       (Entered: 09/03/2020)

                            1084                Notice of Transaction. Filed by Chesapeake
                                                Energy Corporation (Cavenaugh, Matthew)
 09/03/2020                 (4 pgs)             (Entered: 09/03/2020)

                            1085                Notice of Appearance and Request for Notice Filed
                                                by Christopher M Staine Filed by on behalf of
                            (3 pgs)             Pelican Energy, LLC, Larchmont Resources, LLC,
                                                Jamestown Resources, LLC (Staine, Christopher)
 09/03/2020                                     (Entered: 09/03/2020)

                            1086                Motion to Appear pro hac vice of William H. Hoch,
                                                III. Filed by Creditors Jamestown Resources, LLC,
                            (1 pg)              Larchmont Resources, LLC, Pelican Energy, LLC
 09/03/2020                                     (Staine, Christopher) (Entered: 09/03/2020)

                            1087                Motion to Appear pro hac vice of Tim J. Gallegly.
                                                Filed by Creditors Jamestown Resources, LLC,
                            (1 pg)              Larchmont Resources, LLC, Pelican Energy, LLC
 09/03/2020                                     (Staine, Christopher) (Entered: 09/03/2020)

                            1088                Motion to Appear pro hac vice of Margaret M.
                                                Sine. Filed by Creditors Jamestown Resources,
                            (1 pg)              LLC, Larchmont Resources, LLC, Pelican Energy,
 09/03/2020                                     LLC (Staine, Christopher) (Entered: 09/03/2020)

                            1089
                                                Declaration re: Declaration of Disinterestedness of
                            (4 pgs)             Orrick, Herrington & Sutcliffe LLP Pursuant to the
                                                Order Authorizing the Retention and Compensation
                                                of Certain Professionals Utilized in the Ordinary




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 169 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 169 of 1639
                                                                           0169


                                                Course of Business (Filed By Chesapeake Energy
                                                Corporation ). (Peguero, Kristhy) (Entered:
 09/03/2020                                     09/03/2020)

                            1090                Declaration re: Declaration of Disinterestedness of
                                                Daily & Woods, PLLC Pursuant to the Order
                            (4 pgs)             Authorizing the Retention and Compensation of
                                                Certain Professionals Utilized in the Ordinary
                                                Course of Business (Filed By Chesapeake Energy
                                                Corporation ). (Peguero, Kristhy) (Entered:
 09/03/2020                                     09/03/2020)

                            1091                Stipulation and Order Signed on 9/3/2020 (Related
                                                document(s):1057 Stipulation) (aalo) (Entered:
 09/03/2020                 (5 pgs)             09/03/2020)

                            1092                Report and Recommendation Signed on 9/3/2020
                                                (Related document(s):490 Motion for Withdrawal
 09/03/2020                 (4 pgs)             of Reference) (aalo) (Entered: 09/03/2020)

                            1093                Declaration re: of Disinterestedness of Gungoll,
                                                Jackson, Box & Devoll, P. C. Pursuant to the
                            (3 pgs)             Order Authorizing the Retention and
                                                Compensation of Certain Professionals Utilized in
                                                the Ordinary Course of Business (Filed By Eric
 09/03/2020                                     Money ). (mmap) (Entered: 09/03/2020)

                            1094                Order Granting Application to Employ (Related
                                                Doc # 557) Signed on 9/3/2020. (aalo) (Entered:
 09/03/2020                 (4 pgs)             09/03/2020)

                            1095                Notice of Appearance and Request for Notice Filed
                                                by Jason Starks Filed by on behalf of Travis
 09/03/2020                 (2 pgs)             County (Starks, Jason) (Entered: 09/03/2020)

                            1096                Affidavit Re: Affidavit of Publication of The
                                                Billings Gazette (Filed By Chesapeake Energy
                            (3 pgs)             Corporation ).(Related document(s):787 Generic
 09/03/2020                                     Order) (Peguero, Kristhy) (Entered: 09/03/2020)

                            1097                Affidavit Re: Affidavit of Publication of The
                                                Canton Repository (Filed By Chesapeake Energy
                            (3 pgs)             Corporation ).(Related document(s):787 Generic
 09/03/2020                                     Order) (Peguero, Kristhy) (Entered: 09/03/2020)

                            1098
                                                Affidavit Re: Affidavit of Publication of The New




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 170 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 170 of 1639
                                                                           0170


                                                York Times (Filed By Chesapeake Energy
                            (3 pgs)             Corporation ).(Related document(s):787 Generic
 09/03/2020                                     Order) (Peguero, Kristhy) (Entered: 09/03/2020)

                            1099                Affidavit Re: Affidavit of Publication of The
                                                Philadelphia Inquirer (Filed By Chesapeake
                            (3 pgs)             Energy Corporation ).(Related document(s):787
                                                Generic Order) (Peguero, Kristhy) (Entered:
 09/03/2020                                     09/03/2020)

                            1100                Notice of Additional Ordinary Course
                                                Professionals Pursuant to the Order Authorizing
                            (4 pgs)             the Retention and Compensation of Certain
                                                Professionals Utilized in the Ordinary Course of
                                                Business. (Related document(s):655 Generic
                                                Order) Filed by Chesapeake Energy Corporation
 09/03/2020                                     (Cavenaugh, Matthew) (Entered: 09/03/2020)

                            1101                Notice to Chesapeake Energy Corporation of
                                                Examination Under Fed. R. Bankr. P. 2004.
                            (9 pgs)             (Related document(s):1065 Notice) Filed by
                                                Official Committee Of Unsecured Creditors
 09/03/2020                                     (Harrison, Julie) (Entered: 09/03/2020)

                            1102                Notice to MUFG Union Bank, N.A. of Examination
                                                Under Fed. R. Bankr. P. 2004. (Related document
                            (9 pgs)             (s):1066 Notice) Filed by Official Committee Of
                                                Unsecured Creditors (Harrison, Julie) (Entered:
 09/03/2020                                     09/03/2020)

                            1103                Declaration re: Declaration of Disinterestedness of
                                                Durbin Larimore & Bialick, P.C. Pursuant to the
                            (3 pgs)             Order Authorizing the Retention and
                                                Compensation of Certain Professionals Utilized in
                                                the Ordinary Course of Business (Filed By
                                                Chesapeake Energy Corporation ).(Related
                                                document(s):655 Generic Order) (Cavenaugh,
 09/03/2020                                     Matthew) (Entered: 09/03/2020)

                            1104                Declaration re: Declaration of Disinterestedness of
                                                Spencer Fane LLP Pursuant to the Order
                            (4 pgs)             Authorizing the Retention and Compensation of
                                                Certain Professionals Utilized in the Ordinary
                                                Course of Business (Filed By Chesapeake Energy
                                                Corporation ). (Cavenaugh, Matthew) (Entered:
 09/03/2020                                     09/03/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 171 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 171 of 1639
                                                                           0171


                            1105                Certificate of No Objection Regarding Application
                                                to Employ Brown Rudnick LLP as Counsel to the
                            (12 pgs; 3 docs)    Official Committee of Unsecured Creditors. (Filed
                                                By Official Committee Of Unsecured Creditors ).
                                                (Related document(s):725 Application to Employ)
                                                (Attachments: # 1 Proposed Order # 2 Redline)
 09/04/2020                                     (Harrison, Julie) (Entered: 09/04/2020)

                            1106                Certificate of No Objection Regarding Application
                                                to Employ Norton Rose Fulbright US LLP as Co-
                            (6 pgs; 2 docs)     Counsel to the Official Committee of Unsecured
                                                Creditors. (Filed By Official Committee Of
                                                Unsecured Creditors ).(Related document(s):727
                                                Application to Employ) (Attachments: # 1
                                                Proposed Order) (Harrison, Julie) (Entered:
 09/04/2020                                     09/04/2020)

                            1107                Notice of Appearance and Request for Notice Filed
                                                by William Henry Daniel Filed by on behalf of
                            (2 pgs)             Karnes Electric Cooperative Inc. (Daniel, William)
 09/04/2020                                     (Entered: 09/04/2020)

                            1108                Notice of Appearance and Request for Notice Filed
                                                by Christopher Lance Halgren Filed by on behalf
                            (2 pgs)             of Karnes Electric Cooperative Inc. (Halgren,
 09/04/2020                                     Christopher) (Entered: 09/04/2020)

                            1109                Notice of Continued Meeting of Creditors Pursuant
                                                to 11 U.S.C. §§ 341, 343 and Fed. R. Bankr. P.
                            (2 pgs)             2003(e). Filed by Chesapeake Energy Corporation
 09/04/2020                                     (Cavenaugh, Matthew) (Entered: 09/04/2020)

                            1110                Motion to Appear pro hac vice Callie Papoulas.
                                                Filed by Interested Party Wyoming Department of
                            (2 pgs)             Environmental Quality (hler) (Entered:
 09/04/2020                                     09/04/2020)

                            1111                Statement / First Monthly Fee Statement of Brown
                                                Rudnick LLP for Allowance of Compensation for
                            (54 pgs)            Services Rendered and for Reimbursement of
                                                Expenses as Co-Counsel for the Official Committee
                                                of Unsecured Creditors for the Period from July
                                                13, 2020 through July 31, 2020 (Filed By Official
                                                Committee Of Unsecured Creditors ). (Harrison,
 09/04/2020                                     Julie) (Entered: 09/04/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 172 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 172 of 1639
                                                                           0172


                            1112                BNC Certificate of Mailing. (Related document
                                                (s):1071 Notice of Filing of Official Transcript
                            (7 pgs)             (Form)) No. of Notices: 85. Notice Date
 09/04/2020                                     09/04/2020. (Admin.) (Entered: 09/04/2020)

                            1116                Order Granting Motion To Appear pro hac vice -
                                                R. Joseph Naus (Related Doc # 1067) Signed on
 09/04/2020                 (1 pg)              9/4/2020. (emiller) (Entered: 09/07/2020)

                            1117                Order Granting Motion To Appear pro hac vice -
                                                R. Joseph Naus (Related Doc # 1068) Signed on
 09/04/2020                 (1 pg)              9/4/2020. (emiller) (Entered: 09/07/2020)

                            1118                Order Granting Motion To Appear pro hac vice -
                                                William H. Hoch, III (Related Doc # 1086) Signed
 09/04/2020                 (1 pg)              on 9/4/2020. (emiller) (Entered: 09/07/2020)

                            1119                Order Granting Motion To Appear pro hac vice -
                                                Tim J. Gallegly (Related Doc # 1087) Signed on
 09/04/2020                 (1 pg)              9/4/2020. (emiller) (Entered: 09/07/2020)

                            1120                Order Granting Motion To Appear pro hac vice -
                                                Margaret M. Sine (Related Doc # 1088) Signed on
 09/04/2020                 (1 pg)              9/4/2020. (emiller) (Entered: 09/07/2020)

                            1113                BNC Certificate of Mailing. (Related document
                                                (s):1091 Generic Order) No. of Notices: 89. Notice
 09/05/2020                 (11 pgs)            Date 09/05/2020. (Admin.) (Entered: 09/05/2020)

                            1114                BNC Certificate of Mailing. (Related document
                                                (s):1092 Report and Recommendation) No. of
                            (10 pgs)            Notices: 89. Notice Date 09/05/2020. (Admin.)
 09/05/2020                                     (Entered: 09/05/2020)

                            1115                BNC Certificate of Mailing. (Related document
                                                (s):1094 Order on Application to Employ) No. of
                            (10 pgs)            Notices: 89. Notice Date 09/05/2020. (Admin.)
 09/05/2020                                     (Entered: 09/05/2020)

                            1121                Order Granting Motion To Appear pro hac vice -
                                                Callie Papoulas (Related Doc # 1110) Signed on
 09/07/2020                 (2 pgs)             9/7/2020. (emiller) (Entered: 09/08/2020)

                                                Civil Action 4:20-cv-3125 Re: Motion to Withdraw
                                                Reference. Judge Keith P Ellison assigned.
 09/08/2020                                     (ShoshanaArnow) (Entered: 09/08/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 173 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 173 of 1639
                                                                           0173


                            1122                Declaration re: Declaration of Disinterestedness of
                                                Hughes Lawyers, LLC, Pursuant to the Order
                            (4 pgs)             Authorizing the Retention and Compensation of
                                                Certain Professionals Utilized in the Ordinary
                                                Course of Business (Filed By Chesapeake Energy
                                                Corporation ). (Cavenaugh, Matthew) (Entered:
 09/08/2020                                     09/08/2020)

                            1123                Notice of Appearance and Request for Notice Filed
                                                by R Joseph Naus Filed by on behalf of Parish of
 09/08/2020                 (3 pgs)             Caddo (Naus, R) (Entered: 09/08/2020)

                            1124                Notice of Appearance and Request for Notice Filed
                                                by R Joseph Naus Filed by on behalf of Industrial
                            (3 pgs)             Development Board of the Parish of Caddo, Inc.
 09/08/2020                                     (Naus, R) (Entered: 09/08/2020)

                            1125                Affidavit Re: Affidavit of Publication - Casper Star
                                                Tribune (Filed By Chesapeake Energy
                            (3 pgs)             Corporation ). (Cavenaugh, Matthew) (Entered:
 09/08/2020                                     09/08/2020)

                            1126                Affidavit Re: Affidavit of Publication - Houston
                                                Chronicle (Filed By Chesapeake Energy
                            (5 pgs)             Corporation ). (Cavenaugh, Matthew) (Entered:
 09/08/2020                                     09/08/2020)

                            1127                Affidavit Re: Affidavit of Publication - Oklahoman
                                                (Filed By Chesapeake Energy Corporation ).
 09/08/2020                 (6 pgs)             (Cavenaugh, Matthew) (Entered: 09/08/2020)

                            1128                Notice of Jackson Walker LLP's First Monthly Fee
                                                Statement for Compensation of Services and
                            (24 pgs)            Reimbursement of Expenses as Co-Counsel and
                                                Conflicts Counsel to the Debtors for the Period
                                                from June 28, 2020 Through July 31, 2020.
                                                (Related document(s):656 Generic Order) Filed by
                                                Chesapeake Energy Corporation (Cavenaugh,
 09/08/2020                                     Matthew) (Entered: 09/08/2020)

                                                Meeting of Creditors Held. Debtor appeared.
                                                Hearing concluded on 9/8/2020. (Duran, Hector)
 09/08/2020                                     (Entered: 09/08/2020)

                            1129
                                                Notice of Change of Address (sgue) (Entered:




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 174 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 174 of 1639
                                                                           0174


 09/08/2020                 (3 pgs)             09/09/2020)

                            1130                Stipulation and Agreed Order by and Among
                                                Debtors and CNOOC Energy U.S.A. LLC Granting
                            (5 pgs)             Relief From Automatic Stay Signed on 9/9/2020
                                                (Related document(s):1058 Stipulation) (emiller)
 09/09/2020                                     (Entered: 09/10/2020)

                            1144
                                                Notice of Change of Address (BrendaLacy)
 09/09/2020                 (3 pgs)             (Entered: 09/11/2020)

                            1131                Order Authorizing the Employment and Retention
                                                of Brown Rudnick LLP as Co-Counsel for the
                            (4 pgs)             Official Committee of Unsecured Creditors of
                                                Chesapeake Energy Corporation, et al. Nunc Pro
                                                Tunc to July 13, 2020 (Related Doc # 725) Signed
 09/10/2020                                     on 9/10/2020. (emiller) (Entered: 09/10/2020)

                            1132                Order Granting Application of the Official
                                                Committee of Unsecured Creditors of Chesapeake
                            (4 pgs)             Energy Corporation, et al for Entry of an Order
                                                Authorizing the Employment and Retention of
                                                Norton Rose Fulbright US LLP as Co-Counsel,
                                                Nunc Pro Tunc to July 13, 2020 (Related Doc #
                                                727) Signed on 9/10/2020. (emiller) (Entered:
 09/10/2020                                     09/10/2020)

                            1133                Declaration re: Second Supplemental Declaration
                                                of David MacGreevey of AlixPartners, LLP (Filed
                            (3 pgs)             By Official Committee Of Unsecured Creditors ).
                                                (Related document(s):780 Application to Employ,
                                                1078 Declaration) (Harrison, Julie) (Entered:
 09/10/2020                                     09/10/2020)

                            1134                Debtors Master Service List (Filed By Epiq
                                                Corporate Restructuring LLC ). (Garabato, Sid)
 09/10/2020                 (54 pgs)            (Entered: 09/10/2020)

                            1135                Response (Filed By MUFG Union Bank, N.A. ).
                                                (Related document(s):1066 Notice) (Quejada,
 09/10/2020                 (6 pgs)             Maegan) (Entered: 09/10/2020)

                            1136
                                                Notice / Official Committee of Unsecured
                            (15 pgs)            Creditors' Notice of Rule 2004 Requests and
                                                Subpoena Duces Tecum to JPMorgan Chase Bank,




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 175 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 175 of 1639
                                                                           0175


                                                N.A.. Filed by Official Committee Of Unsecured
 09/10/2020                                     Creditors (Harrison, Julie) (Entered: 09/10/2020)

                            1137                Certificate of No Objection Regarding Application
                                                for Entry of an Order Authorizing the Official
                            (14 pgs; 3 docs)    Committee of Unsecured Creditors to Employ and
                                                Retain AlixPartners, LLP As Its Financial Advisor
                                                Nunc Pro Tunc to July 14, 2020 (Filed By Official
                                                Committee Of Unsecured Creditors ).(Related
                                                document(s):780 Application to Employ)
                                                (Attachments: # 1 Redline # 2 Proposed Order)
 09/10/2020                                     (Harrison, Julie) (Entered: 09/10/2020)

                            1138                BNC Certificate of Mailing. (Related document
                                                (s):1116 Order on Motion to Appear pro hac vice)
                            (7 pgs)             No. of Notices: 91. Notice Date 09/10/2020.
 09/10/2020                                     (Admin.) (Entered: 09/10/2020)

                            1139                BNC Certificate of Mailing. (Related document
                                                (s):1117 Order on Motion to Appear pro hac vice)
                            (7 pgs)             No. of Notices: 91. Notice Date 09/10/2020.
 09/10/2020                                     (Admin.) (Entered: 09/10/2020)

                            1140                BNC Certificate of Mailing. (Related document
                                                (s):1118 Order on Motion to Appear pro hac vice)
                            (7 pgs)             No. of Notices: 91. Notice Date 09/10/2020.
 09/10/2020                                     (Admin.) (Entered: 09/10/2020)

                            1141                BNC Certificate of Mailing. (Related document
                                                (s):1119 Order on Motion to Appear pro hac vice)
                            (7 pgs)             No. of Notices: 91. Notice Date 09/10/2020.
 09/10/2020                                     (Admin.) (Entered: 09/10/2020)

                            1142                BNC Certificate of Mailing. (Related document
                                                (s):1120 Order on Motion to Appear pro hac vice)
                            (7 pgs)             No. of Notices: 91. Notice Date 09/10/2020.
 09/10/2020                                     (Admin.) (Entered: 09/10/2020)

                            1143                BNC Certificate of Mailing. (Related document
                                                (s):1121 Order on Motion to Appear pro hac vice)
                            (8 pgs)             No. of Notices: 91. Notice Date 09/10/2020.
 09/10/2020                                     (Admin.) (Entered: 09/10/2020)

                            1145
                                                Notice of Appearance and Request for Notice Filed
                            (4 pgs)             by John E Mitchell Filed by on behalf of ETC Katy
                                                Pipeline, Ltd., ETC Texas Pipeline Ltd., Energy




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 176 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 176 of 1639
                                                                           0176


                                                Transfer Fuel, LP, Houston Pipe Line Company,
                                                LP, Oasis Pipeline L.P. (Mitchell, John) (Entered:
 09/11/2020                                     09/11/2020)

                            1146                Agreed Order and Certificate of Counsel (Filed By
                                                Chesapeake Energy Corporation ).(Related
                            (12 pgs; 3 docs)    document(s):814 Generic Motion) (Attachments: #
                                                1 Proposed Order # 2 Redline) (Cavenaugh,
 09/11/2020                                     Matthew) (Entered: 09/11/2020)

                            1147                Motion for Entry of (A) an Order (I) Approving the
                                                Bidding Procedures for the Sale of the Debtors'
                            (66 pgs; 2 docs)    Mid-Con Assets, (II) Approving Bid Protections,
                                                (III) Scheduling Certain Dates with Respect
                                                Thereto, (IV) Approving the Form and Manner of
                                                Notice Thereof, and (V) Approving Contract
                                                Assumption and Assignment Procedures, and (B)
                                                an Order Authorizing the Debtors to Enter Into a
                                                Definitive Purchase Agreement Filed by Debtor
                                                Chesapeake Energy Corporation Hearing scheduled
                                                for 10/6/2020 at 10:30 AM at Houston, Courtroom
                                                400 (DRJ). (Attachments: # 1 Proposed Order)
 09/11/2020                                     (Cavenaugh, Matthew) (Entered: 09/11/2020)

                            1148                Application to Employ PricewaterhouseCoopers
                                                LLP as Auditors and Tax Consulting Service
                            (104 pgs; 2 docs)   Provider. Objections/Request for Hearing Due in
                                                21 days. Filed by Debtor Chesapeake Energy
                                                Corporation (Attachments: # 1 Proposed Order)
 09/11/2020                                     (Cavenaugh, Matthew) (Entered: 09/11/2020)

                            1149                Motion for Entry of an Order (I) Approving the
                                                Adequacy of the Disclosure Statement, (II)
                            (207 pgs; 2 docs)   Approving the Solicitation Procedures with
                                                Respect to the Confirmation of the Debtors'
                                                Proposed Chapter 11 Plan, (III) Approving the
                                                Forms of Ballots and Notices in Connection
                                                Therewith, (IV) Approving the Rights Offering
                                                Procedures and Related Materials, (V) Scheduling
                                                Certain Dates with Respect Thereto, and (VI)
                                                Granting Related Relief Filed by Debtor
                                                Chesapeake Energy Corporation Hearing scheduled
                                                for 10/14/2020 at 11:00 AM at Houston,
                                                Courtroom 400 (DRJ). (Attachments: # 1 Proposed
                                                Order) (Cavenaugh, Matthew) (Entered:
 09/11/2020                                     09/11/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 177 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 177 of 1639
                                                                           0177


                            1150                Chapter 11 Plan of Reorganization Filed by
                                                Chesapeake Energy Corporation. (Cavenaugh,
 09/11/2020                 (60 pgs)            Matthew) (Entered: 09/11/2020)

                            1151                Disclosure Statement Filed by Chesapeake Energy
                                                Corporation. (Cavenaugh, Matthew) (Entered:
 09/11/2020                 (104 pgs)           09/11/2020)

                            1152                BNC Certificate of Mailing. (Related document
                                                (s):1130 Generic Order) No. of Notices: 90. Notice
 09/12/2020                 (11 pgs)            Date 09/12/2020. (Admin.) (Entered: 09/12/2020)

                            1153                BNC Certificate of Mailing. (Related document
                                                (s):1131 Order on Application to Employ) No. of
                            (10 pgs)            Notices: 90. Notice Date 09/12/2020. (Admin.)
 09/12/2020                                     (Entered: 09/12/2020)

                            1154                BNC Certificate of Mailing. (Related document
                                                (s):1132 Order on Application to Employ) No. of
                            (10 pgs)            Notices: 90. Notice Date 09/12/2020. (Admin.)
 09/12/2020                                     (Entered: 09/12/2020)

                            1155
                                                Letter from Shareholder Mary Margaret Nilan
 09/14/2020                 (2 pgs)             (JeannieAndresen) (Entered: 09/14/2020)

                            1156                Stipulation By Chesapeake Energy Corporation
                                                and Maricela H. Lombrana, Individually and as a
                            (11 pgs)            Representative of the Estate of Guadalupe
                                                Lombrana, Genesis Lombrana and Maricela
                                                Lombrana. Does this document include an agreed
                                                order or otherwise request that the judge sign a
                                                document? Yes. (Filed By Chesapeake Energy
                                                Corporation ). (Cavenaugh, Matthew) (Entered:
 09/14/2020                                     09/14/2020)

                            1157                Affidavit Re: Affidavit of Publication - The
                                                Advocate (Filed By Chesapeake Energy
                            (4 pgs)             Corporation ). (Cavenaugh, Matthew) (Entered:
 09/14/2020                                     09/14/2020)

                            1158
                                                Affidavit Re: Affidavit of Service of Marc Orfitelli
                            (31 pgs)            (Filed By Epiq Corporate Restructuring LLC ).
                                                (Related document(s):800 Declaration, 801
                                                Declaration, 805 Declaration, 807 Notice, 813
                                                Reply, 814 Generic Motion, 815 Declaration)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 178 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 178 of 1639
                                                                           0178


 09/14/2020                                     (Garabato, Sid) (Entered: 09/14/2020)

                            1159                Affidavit Re: Affidavit of Gregory Winter (Filed By
                                                Epiq Corporate Restructuring LLC ).(Related
                            (17 pgs)            document(s):869 Exhibit List, Witness List, 870
 09/14/2020                                     Objection) (Garabato, Sid) (Entered: 09/14/2020)

                            1160                Affidavit Re: Affidavit of Service of Gregory
                                                Winter (Filed By Epiq Corporate Restructuring
                            (19 pgs)            LLC ).(Related document(s):999 Response, 1003
 09/14/2020                                     Declaration) (Garabato, Sid) (Entered: 09/14/2020)

                            1161                Declaration re: Declaration of Disinterestedness of
                                                Bradford & Wilson PLLC Pursuant to the Order
                            (4 pgs)             Authorizing the Retention and Compensation of
                                                Certain Professionals Utilized in the Ordinary
                                                Course of Business (Filed By Chesapeake Energy
                                                Corporation ). (Cavenaugh, Matthew) (Entered:
 09/14/2020                                     09/14/2020)

                            1162                Notice of Additional Ordinary Course
                                                Professionals Pursuant to the Order Authorizing
                            (4 pgs)             the Retention and Compensation of Certain
                                                Professionals Utilized in the Ordinary Course of
                                                Business. (Related document(s):655 Generic Order,
                                                805 Declaration, 1100 Notice) Filed by
                                                Chesapeake Energy Corporation (Cavenaugh,
 09/14/2020                                     Matthew) (Entered: 09/14/2020)

                            1163                Notice of Filing Monthly Report Pursuant to the
                                                Order to Approve Procedures for De Minimis Asset
                            (5 pgs)             Transactions. (Related document(s):715 Generic
                                                Order) Filed by Chesapeake Energy Corporation
 09/14/2020                                     (Cavenaugh, Matthew) (Entered: 09/14/2020)

                            1164                Notice of Appearance and Request for Notice Filed
                                                by David Richard Taggart Filed by on behalf of J.
                            (3 pgs)             Fleet Oil & Gas Production Company, L.L.C.,
                                                Martin Producing, L.L.C. (Taggart, David)
 09/15/2020                                     (Entered: 09/15/2020)

                            1165                Notice of Appearance and Request for Notice Filed
                                                by William H Hoch Filed by on behalf of
                            (3 pgs)             Jamestown Resources, LLC, Larchmont Resources,
                                                LLC, Pelican Energy, LLC (Hoch, William)
 09/15/2020                                     (Entered: 09/15/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 179 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 179 of 1639
                                                                           0179


                            1166                Notice of Appearance and Request for Notice Filed
                                                by Tim J Gallegly Filed by on behalf of Jamestown
                            (3 pgs)             Resources, LLC, Larchmont Resources, LLC,
                                                Pelican Energy, LLC (Gallegly, Tim) (Entered:
 09/15/2020                                     09/15/2020)

                            1167                Notice of Appearance and Request for Notice Filed
                                                by Margaret M Sine Filed by on behalf of
                            (3 pgs)             Jamestown Resources, LLC, Larchmont Resources,
                                                LLC, Pelican Energy, LLC (Sine, Margaret)
 09/15/2020                                     (Entered: 09/15/2020)

                            1168                Declaration re: Declaration of Disinterestedness of
                                                Stout Risius Ross LLC Pursuant to the Order
                            (4 pgs)             Authorizing the Retention and Compensation of
                                                Certain Professionals Utilized in the Ordinary
                                                Course of Business (Filed By Chesapeake Energy
                                                Corporation ).(Related document(s):655 Generic
 09/15/2020                                     Order) (Peguero, Kristhy) (Entered: 09/15/2020)

                            1169                Notice of Disclosure Statement Hearing. (Related
                                                document(s):1149 Generic Motion, 1151
                            (4 pgs)             Disclosure Statement) Filed by Chesapeake Energy
                                                Corporation (Cavenaugh, Matthew) (Entered:
 09/16/2020                                     09/16/2020)

                            1170                Declaration re: Declaration of Disinterestedness of
                                                Davis Graham & Stubbs LLP Pursuant to the
                            (4 pgs)             Order Authorizing the Retention and
                                                Compensation of Certain Professionals Utilized in
                                                the Ordinary Course of Business (Filed By
                                                Chesapeake Energy Corporation ). (Cavenaugh,
 09/16/2020                                     Matthew) (Entered: 09/16/2020)

                            1171                Notice of Appearance and Request for Notice Filed
                                                by Clay Marshall Taylor Filed by on behalf of
                            (2 pgs)             Marathon Oil Company (Taylor, Clay) (Entered:
 09/16/2020                                     09/16/2020)

                            1172                Affidavit Re: Affidavit of Service of Marc Orfitelli
                                                (Filed By Epiq Corporate Restructuring LLC ).
 09/16/2020                 (18 pgs)            (Garabato, Sid) (Entered: 09/16/2020)

                            1173
                                                Affidavit Re: Affidavit of Service of Geoff Zahm
                            (18 pgs)            (Filed By Epiq Corporate Restructuring LLC ).
                                                (Related document(s):780 Application to Employ)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 180 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 180 of 1639
                                                                           0180


 09/16/2020                                     (Garabato, Sid) (Entered: 09/16/2020)

                            1174                Affidavit Re: Affidavit of Service of Geoff Zahm
                                                (Filed By Epiq Corporate Restructuring LLC ).
                            (17 pgs)            (Related document(s):1011 Reply) (Garabato, Sid)
 09/17/2020                                     (Entered: 09/17/2020)

                            1175                Motion to Reconsider (related document(s):1091
                                                Generic Order). Filed by Interested Party Stephanie
                            (34 pgs; 5 docs)    Delasandro (Attachments: # 1 Exhibit Exhibit A #
                                                2 Exhibit Exhibit B # 3 Exhibit Exhibit C # 4
                                                Exhibit Exhibit D) (Warman, Lynnette) (Entered:
 09/17/2020                                     09/17/2020)

                            1176                Application to Employ Ernst & Young LLP as
                                                Restructuring, Accounting, Tax and Advisory
                            (139 pgs; 2 docs)   Services Provider to the Debtors.
                                                Objections/Request for Hearing Due in 21 days.
                                                Filed by Debtor Chesapeake Energy Corporation
                                                (Attachments: # 1 Proposed Order) (Cavenaugh,
 09/17/2020                                     Matthew) (Entered: 09/17/2020)

                            1177                Affidavit Re: Affidavit of Service of Marc Orfitelli
                                                (Filed By Epiq Corporate Restructuring LLC ).
 09/17/2020                 (5783 pgs)          (Garabato, Sid) (Entered: 09/17/2020)

                            1178                Affidavit Re: Affidavit of Service of Gregory
                                                Winter (Filed By Epiq Corporate Restructuring
                            (19 pgs)            LLC ).(Related document(s):1002 Complaint)
 09/17/2020                                     (Garabato, Sid) (Entered: 09/17/2020)

                            1179                Affidavit Re: Affidavit of Service of Geoff Zahm
                                                (Filed By Epiq Corporate Restructuring LLC ).
                            (21 pgs)            (Related document(s):1015 Declaration) (Garabato,
 09/17/2020                                     Sid) (Entered: 09/17/2020)

                            1180                Affidavit Re: Affidavit of Service of Angarahad
                                                Bowdler (Filed By Epiq Corporate Restructuring
                            (21 pgs)            LLC ).(Related document(s):1051 Declaration)
 09/17/2020                                     (Garabato, Sid) (Entered: 09/17/2020)

                            1181                Motion to Appear pro hac vice for Martha B.
                                                Chovanes, Esquire. Filed by Creditor AuditBoard,
 09/18/2020                 (1 pg)              Inc. (Monsour, Trey) (Entered: 09/18/2020)

                            1182                Motion to Appear pro hac vice for George Robert




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 181 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 181 of 1639
                                                                           0181


                                                Parrott II. Filed by Creditor CGG Services (U.S.),
                            (1 pg)              Inc. f/k/a Digicon Geophysical Corp. (Parrott,
 09/18/2020                                     George) (Entered: 09/18/2020)

                            1183                Motion for Entry of an Order (I) Authorizing the
                                                Rejection of Certain Tower Leases Effective as of
                            (23 pgs; 2 docs)    September 18, 2020 and (II) Granting Related
                                                Relief Filed by Debtor Chesapeake Energy
                                                Corporation (Attachments: # 1 Proposed Order)
 09/18/2020                                     (Cavenaugh, Matthew) (Entered: 09/18/2020)

                            1187                Order (I) Authorizing the Rejection of Certain
                                                Executory Contracts and Unexpired Leases
                            (4 pgs)             Effective as of August 17, 2020 and (II) Granting
                                                Related Relief (Related Doc # 814) Signed on
 09/18/2020                                     9/18/2020. (VrianaPortillo) (Entered: 09/21/2020)

                            1184                Notice - Joinder to Notices filed by UCC. (Related
                                                document(s):1069 Notice, 1136 Notice) Filed by
                            (2 pgs)             Official Committee of Royalty Owners (Brown,
 09/20/2020                                     pllc, Deirdre) (Entered: 09/20/2020)

                            1185                Operating Report for Filing Period August 2020,
                                                $330,156 disbursed (Filed By Chesapeake Energy
                            (13 pgs)            Corporation ). (Cavenaugh, Matthew) (Entered:
 09/21/2020                                     09/21/2020)

                            1186                Order Authorizing the Official Committee of
                                                Unsecured Creditors to Employ and Retain
                            (6 pgs)             Alixpartners, LLP as its Financial Advisors Nunc
                                                Pro Tunc to July 14, 2020 Signed on 9/21/2020
                                                (Related document(s):780 Application to Employ,
                                                1137 Certificate of No Objection) (VrianaPortillo)
 09/21/2020                                     (Entered: 09/21/2020)

                            1188                Order Granting Emergency Motion of the Official
                                                Committee of Unsecured Creditors to File Under
                            (2 pgs)             Seal Objection to (A) Debtors' Motion for Entry of
                                                an Order (I) Authorizing Entry into the Backstop
                                                Commitment Agreement, (II) Authorizing the
                                                Payment of Fees and Expenses Related Thereto,
                                                and (III) Granting Related Relief (B) Debtors'
                                                Motion for Entry of an Order (I) Authorizing the
                                                Debtors to Incur and Pay the Fees, Indemnities, and
                                                Expenses Related to the Exit Facilities and (II)
                                                Granting Related Relief (Related Doc # 834)
                                                Signed on 9/21/2020. (VrianaPortillo) (Entered:




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 182 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 182 of 1639
                                                                           0182


 09/21/2020                                     09/21/2020)

                            1189                Affidavit Re: Affidavit of Service of Gregory
                                                Winter (Filed By Epiq Corporate Restructuring
                            (28 pgs)            LLC ).(Related document(s):1061 Declaration,
                                                1062 Declaration, 1070 Motion to Extend Time)
 09/21/2020                                     (Garabato, Sid) (Entered: 09/21/2020)

                            1190                Affidavit Re: Affidavit of Service of Angarahad
                                                Bowdler (Filed By Epiq Corporate Restructuring
                            (20 pgs)            LLC ).(Related document(s):1072 Declaration,
                                                1073 Declaration, 1074 Declaration) (Garabato,
 09/21/2020                                     Sid) (Entered: 09/21/2020)

                            1191                Affidavit Re: Affidavit of Service of Geoff Zahm
                                                (Filed By Epiq Corporate Restructuring LLC ).
                            (21 pgs)            (Related document(s):1084 Notice, 1089
                                                Declaration, 1090 Declaration, 1100 Notice, 1103
 09/21/2020                                     Declaration) (Garabato, Sid) (Entered: 09/21/2020)

                            1206
                                                Letter from Gaynell Spigner Re: TFU Stolen
 09/21/2020                 (2 pgs)             (ShoshanaArnow) (Entered: 09/24/2020)

                            1192                Statement Verified Statement of Frances A. Smith
                                                and Supplemental Disclosures of Ross & Smith, PC
                            (5 pgs)             Pursuant to Federal Rule of Bankruptcy Procedure
                                                2019 (Filed By Petty Business Enterprises, LP,
                                                Petty Energy L.P. and their related entities ).
                                                (Related document(s):701 Statement) (Smith,
 09/22/2020                                     Frances) (Entered: 09/22/2020)

                            1193                Certificate of No Objection Regarding First
                                                Monthly Fee Statement of Brown Rudnick LLP for
                            (3 pgs)             Allowance of Compensation for Services Rendered
                                                and for Reimbursement of Expenses as Co-Counsel
                                                for the Official Committee of Unsecured Creditors
                                                for the Period from July 13, 2020 through July 31,
                                                2020 (Filed By Official Committee Of Unsecured
                                                Creditors ).(Related document(s):1111 Statement)
 09/22/2020                                     (Harrison, Julie) (Entered: 09/22/2020)

                            1194                Notice of Appearance and Request for Notice Filed
                                                by John James Sparacino Filed by on behalf of
                            (3 pgs)             Cabot Oil & Gas Corp. (Sparacino, John) (Entered:
 09/22/2020                                     09/22/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 183 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 183 of 1639
                                                                           0183


                            1195                Notice of Appearance and Request for Notice Filed
                                                by Henry Flores Filed by on behalf of Eric
                            (3 pgs)             Petroleum Utica, LLC, Eric Petroleum Corporation
 09/22/2020                                     (Flores, Henry) (Entered: 09/22/2020)

                            1196                Record Transmitted under Rule 8010(b). On
                                                9/22/2020, the appeal was transmitted to the U.S.
                            (1 pg)              District Court, assigned Judge Keith P Ellison,
                                                Civil Action 4:20-cv-2725. All appellate filings
                                                must now be made in the United States District
                                                Court with the civil action caption and case
                                                number. (Related document(s):609 Notice of
 09/22/2020                                     Appeal). (ShoshanaArnow) (Entered: 09/22/2020)

                            1197                Notice of Appearance and Request for Notice Filed
                                                by Lynn Hamilton Butler Filed by on behalf of
                            (3 pgs)             Commonwealth of Pennsylvania (Butler, Lynn)
 09/22/2020                                     (Entered: 09/22/2020)

                            1198                Order Granting Motion To Appear pro hac vice -
                                                Martha B. Chovanes (Related Doc # 1181) Signed
 09/23/2020                 (1 pg)              on 9/23/2020. (emiller) (Entered: 09/23/2020)

                            1199                Order Granting Motion To Appear pro hac vice -
                                                George Robert Parrott II (Related Doc # 1182)
                            (1 pg)              Signed on 9/23/2020. (emiller) (Entered:
 09/23/2020                                     09/23/2020)

                            1200                Motion for Relief from Stay Regarding Oil and
                                                Gas Proceeds. Fee Amount $181. Filed by
                            (35 pgs; 3 docs)    Creditors Rodney Hudson, Allen Johnson Hearing
                                                scheduled for 10/22/2020 at 09:00 AM at telephone
                                                and video conference. (Attachments: # 1 Exhibit A
                                                # 2 Proposed Order) (Eisenberg, Philip) (Entered:
 09/23/2020                                     09/23/2020)

                                                Receipt of Motion for Relief From Stay(20-33233)
                                                [motion,mrlfsty] ( 181.00) Filing Fee. Receipt
                                                number 22453251. Fee amount $ 181.00. (U.S.
 09/23/2020                                     Treasury) (Entered: 09/23/2020)

                            1201
                                                Motion for Adequate Protection.
                            (20 pgs; 3 docs)    Objections/Request for Hearing Due in 21 days.
                                                Filed by Creditors Rodney Hudson, Allen Johnson
                                                Hearing scheduled for 10/22/2020 at 09:00 AM at
                                                telephone and video conference. (Attachments: # 1




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 184 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 184 of 1639
                                                                           0184


                                                Exhibit A # 2 Proposed Order) (Eisenberg, Philip)
 09/23/2020                                     (Entered: 09/23/2020)

                            1202                Certificate of Service (Filed By Rodney Hudson,
                                                Allen Johnson ).(Related document(s):1200 Motion
                            (64 pgs; 3 docs)    for Relief From Stay, 1201 Motion for Adequate
                                                Protection) (Attachments: # 1 Exhibit 1 # 2 Exhibit
 09/23/2020                                     2) (Eisenberg, Philip) (Entered: 09/23/2020)

                            1203                BNC Certificate of Mailing. (Related document
                                                (s):1186 Generic Order) No. of Notices: 130.
                            (12 pgs)            Notice Date 09/23/2020. (Admin.) (Entered:
 09/23/2020                                     09/23/2020)

                            1204                BNC Certificate of Mailing. (Related document
                                                (s):1187 Generic Order) No. of Notices: 130.
                            (10 pgs)            Notice Date 09/23/2020. (Admin.) (Entered:
 09/23/2020                                     09/23/2020)

                            1205                BNC Certificate of Mailing. (Related document
                                                (s):1188 Order on Emergency Motion) No. of
                            (8 pgs)             Notices: 130. Notice Date 09/23/2020. (Admin.)
 09/23/2020                                     (Entered: 09/23/2020)

                            1207                Agreed Order and Certificate of Counsel (Filed By
                                                Chesapeake Energy Corporation ).(Related
                            (9 pgs; 3 docs)     document(s):1070 Motion to Extend Time)
                                                (Attachments: # 1 Proposed Order # 2 Redline)
 09/24/2020                                     (Cavenaugh, Matthew) (Entered: 09/24/2020)

                            1208                Affidavit Re: Affidavit of Service of Marc Orfitelli
                                                (Filed By Epiq Corporate Restructuring LLC ).
 09/24/2020                 (252 pgs)           (Garabato, Sid) (Entered: 09/24/2020)

                            1209                Affidavit Re: Affidavit of Service of Angarahad
                                                Bowdler (Filed By Epiq Corporate Restructuring
                            (7 pgs)             LLC ).(Related document(s):1109 Notice)
 09/24/2020                                     (Garabato, Sid) (Entered: 09/24/2020)

                            1210                Affidavit Re: Affidavit of Service of Angarahad
                                                Bowdler (Filed By Epiq Corporate Restructuring
                            (21 pgs)            LLC ).(Related document(s):1122 Declaration)
 09/24/2020                                     (Garabato, Sid) (Entered: 09/24/2020)

                            1211
                                                Affidavit Re: Affidavit of Service of Gregory
                                                Winter (Filed By Epiq Corporate Restructuring




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 185 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 185 of 1639
                                                                           0185


                            (26 pgs)            LLC ).(Related document(s):1161 Declaration,
                                                1162 Notice, 1163 Notice) (Garabato, Sid)
 09/24/2020                                     (Entered: 09/24/2020)

                            1212                Affidavit Re: Affidavit of Service of Angarahad
                                                Bowdler (Filed By Epiq Corporate Restructuring
                            (4 pgs)             LLC ).(Related document(s):1168 Declaration)
 09/24/2020                                     (Garabato, Sid) (Entered: 09/24/2020)

                            1213                Statement / Second Monthly Fee Statement of
                                                Brown Rudnick LLP for Allowance of
                            (77 pgs)            Compensation for Services Rendered and for
                                                Reimbursement of Expenses as Co-Counsel for the
                                                Official Committee of Unsecured Creditors for the
                                                Period from August 1, 2020 through August 31,
                                                2020 (Filed By Official Committee Of Unsecured
 09/24/2020                                     Creditors ). (Harrison, Julie) (Entered: 09/24/2020)

                            1214                Motion to Appear pro hac vice - Joshua E.
                                                O'Farrell. Filed by Interested Parties Eric
                            (1 pg)              Petroleum Corporation, Eric Petroleum Utica, LLC
 09/25/2020                                     (Flores, Henry) (Entered: 09/25/2020)

                            1215                Motion to Appear pro hac vice - Jude B. Streb.
                                                Filed by Interested Parties Eric Petroleum
                            (1 pg)              Corporation, Eric Petroleum Utica, LLC (Flores,
 09/25/2020                                     Henry) (Entered: 09/25/2020)

                            1216                Motion to Appear pro hac vice - Patrick J. Keating.
                                                Filed by Interested Parties Eric Petroleum
                            (1 pg)              Corporation, Eric Petroleum Utica, LLC (Flores,
 09/25/2020                                     Henry) (Entered: 09/25/2020)

                            1217                Affidavit Re: Supplemental Affidavit of Service of
                                                Angarahad Bowdler (Filed By Epiq Corporate
                            (6 pgs)             Restructuring LLC ).(Related document(s):1084
 09/25/2020                                     Notice) (Garabato, Sid) (Entered: 09/25/2020)

                            1218
                                                Letter from Shareholder Mallinath Suralikal
 09/25/2020                 (1 pg)              (JeannieAndresen) (Entered: 09/25/2020)

                            1219                Affidavit Re: Affidavit of Service of Gregory
                                                Winter (Filed By Epiq Corporate Restructuring
 09/25/2020                 (27 pgs)            LLC ). (Garabato, Sid) (Entered: 09/25/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 186 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 186 of 1639
                                                                           0186


                            1220                Withdrawal of Claim: 10031 filed by Epiq
                                                Corporate Restructuring, LLC on behalf of Quick
                            (2 pgs)             Pump Service LLC (Garabato, Sid) (Entered:
 09/25/2020                                     09/25/2020)

                            1221                Withdrawal of Claim: 10108 & 10109 filed by Epiq
                                                Corporate Restructuring, LLC on behalf of Heatro
                            (2 pgs)             Pipeline Services LLC (Garabato, Sid) (Entered:
 09/25/2020                                     09/25/2020)

                            1222
                                                E-Mail to the Courts from Gaynell Spigner (mmap)
 09/25/2020                 (1 pg)              (Entered: 09/25/2020)

                            1223                Affidavit Re: Affidavit of Service of Angarahad
                                                Bowdler (Filed By Epiq Corporate Restructuring
                            (4 pgs)             LLC ).(Related document(s):1170 Declaration)
 09/25/2020                                     (Garabato, Sid) (Entered: 09/25/2020)

                            1224                Adversary case 20-03425. Nature of Suit: (91
                                                (Declaratory judgment)) Notice of Removal Kelly
                            (146 pgs; 3 docs)   Vesper, Kelly Vesper as Trustee of the Kelly
                                                Vesper Heritage Trust, Kelly Vesper as Executrix
                                                of the Estate of John B. Vesper, Deceased, Kelly
                                                Vesper as Executrix of Estate of Leslie T. Vesper,
                                                Deceased. Fee Amount $350 (Attachments: # 1
                                                Exhibit A - Dimmit County District Court File # 2
                                                Adversary Proceeding Cover Sheet) (Luttrell,
 09/25/2020                                     Leslie) (Entered: 09/25/2020)

                            1225                Notice of First Monthly Fee Statement of Alvarez
                                                & Marsal North America, LLC for Compensation
                            (187 pgs)           for Services and Reimbursement of Expenses as
                                                Restructuring and Financial Advisors to the
                                                Debtors and Debtors In Possession for the Period
                                                from June 28, 2020 Through July 31, 2020. Filed
                                                by Chesapeake Energy Corporation (Cavenaugh,
 09/25/2020                                     Matthew) (Entered: 09/25/2020)

                            1226                Debtors Master Service List (Filed By Epiq
                                                Corporate Restructuring LLC ). (Garabato, Sid)
 09/25/2020                 (56 pgs)            (Entered: 09/25/2020)

                            1227
                                                Motion Debtors' Motion to Extend the Exclusivity
                            (14 pgs; 2 docs)    Periods to File a Chapter 11 Plan and Solicit
                                                Acceptances Thereof Filed by Debtor Chesapeake




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 187 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 187 of 1639
                                                                           0187


                                                Energy Corporation (Attachments: # 1 Proposed
                                                Order) (Cavenaugh, Matthew) (Entered:
 09/25/2020                                     09/25/2020)

                            1228                Motion Debtors' Motion for Entry of an Order (I)
                                                Extending the Time Within Which the Debtors Must
                            (14 pgs; 2 docs)    Assume or Reject Unexpired Leases of
                                                Nonresidential Real Property and (II) Granting
                                                Related Relief Filed by Debtor Chesapeake Energy
                                                Corporation (Attachments: # 1 Proposed Order)
 09/25/2020                                     (Cavenaugh, Matthew) (Entered: 09/25/2020)

                            1229                BNC Certificate of Mailing. (Related document
                                                (s):1198 Order on Motion to Appear pro hac vice)
                            (7 pgs)             No. of Notices: 130. Notice Date 09/25/2020.
 09/25/2020                                     (Admin.) (Entered: 09/25/2020)

                            1230                BNC Certificate of Mailing. (Related document
                                                (s):1199 Order on Motion to Appear pro hac vice)
                            (7 pgs)             No. of Notices: 130. Notice Date 09/25/2020.
 09/25/2020                                     (Admin.) (Entered: 09/25/2020)

                            1231                Order (I) Extending the Time Within Which the
                                                Debtors May Remove Actions and (II) Granting
                            (3 pgs)             Related Relief (Related Doc # 1070) Signed on
 09/25/2020                                     9/25/2020. (emiller) (Entered: 09/27/2020)

                            1232                Creditor Request for Notices (Filed By Mansfield
                                                Oil Company of Gainesville Inc ). (Nasuti, Albert)
 09/28/2020                 (2 pgs)             (Entered: 09/28/2020)

                            1233
                                                E-Mail to Honorable Trustees (mmap) (Entered:
 09/28/2020                 (1 pg)              09/28/2020)

                            1234                Notice of Fee Statement of Kirkland & Ellis LLP
                                                and Kirkland & Ellis International LLP for
                            (244 pgs)           Compensation for Services and Reimbursement of
                                                Expenses as Attorneys to the Debtors and Debtors
                                                In Possession for the Period from June 28, 2020
                                                through July 31, 2020. Filed by Chesapeake
                                                Energy Corporation (Cavenaugh, Matthew)
 09/28/2020                                     (Entered: 09/28/2020)

                            1235
                                                Motion for Relief from Stay . Fee Amount $181.
                                                Filed by Creditor Saundra Nelson Hearing




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 188 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 188 of 1639
                                                                           0188


                            (69 pgs; 3 docs)    scheduled for 10/22/2020 at 02:00 PM at Houston,
                                                Courtroom 400 (DRJ). (Attachments: # 1 Exhibit in
                                                globo # 2 Proposed Order) (Hearne, William)
 09/28/2020                                     (Entered: 09/28/2020)

                                                Receipt of Motion for Relief From Stay(20-33233)
                                                [motion,mrlfsty] ( 181.00) Filing Fee. Receipt
                                                number 22464510. Fee amount $ 181.00. (U.S.
 09/28/2020                                     Treasury) (Entered: 09/28/2020)

                            1236                Motion for Adequate Protection.
                                                Objections/Request for Hearing Due in 21 days.
                            (18 pgs; 3 docs)    Filed by Creditor Saundra Nelson Hearing
                                                scheduled for 10/22/2020 at 02:00 PM at Houston,
                                                Courtroom 400 (DRJ). (Attachments: # 1 Exhibit A
                                                # 2 Proposed Order) (Hearne, William) (Entered:
 09/28/2020                                     09/28/2020)

                            1237                Emergency Motion to Expedite Discovery Filed by
                                                Creditors Rodney Hudson, Allen Johnson Hearing
                            (31 pgs; 3 docs)    scheduled for 9/30/2020 at 10:00 AM at telephone
                                                conference. (Attachments: # 1 Exhibit A # 2
                                                Proposed Order) (Knapp, Bradley) (Entered:
 09/28/2020                                     09/28/2020)

                            1238                Motion for Relief from Stay . Fee Amount $181.
                                                Filed by Creditor J. Fleet Oil & Gas Production
                            (10 pgs; 2 docs)    Company, L.L.C. Hearing scheduled for
                                                10/22/2020 at 02:00 PM at Houston, Courtroom
                                                400 (DRJ). (Attachments: # 1 Proposed Order)
 09/28/2020                                     (Taggart, David) (Entered: 09/28/2020)

                                                Receipt of Motion for Relief From Stay(20-33233)
                                                [motion,mrlfsty] ( 181.00) Filing Fee. Receipt
                                                number 22465156. Fee amount $ 181.00. (U.S.
 09/28/2020                                     Treasury) (Entered: 09/28/2020)

                            1239                Affidavit Re: Affidavit of Service of Angarahad
                                                Bowdler (Filed By Epiq Corporate Restructuring
                            (19 pgs)            LLC ).(Related document(s):1176 Application to
 09/28/2020                                     Employ) (Garabato, Sid) (Entered: 09/28/2020)

                            1240                Affidavit Re: Affidavit of Service of Angarahad
                                                Bowdler (Filed By Epiq Corporate Restructuring
                            (19 pgs)            LLC ).(Related document(s):1183 Generic Motion)
 09/28/2020                                     (Garabato, Sid) (Entered: 09/28/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 189 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 189 of 1639
                                                                           0189


                            1241                Order Granting Motion To Appear pro hac vice -
                                                Joshua E. O'Farrell (Related Doc # 1214) Signed
 09/28/2020                 (1 pg)              on 9/28/2020. (emiller) (Entered: 09/29/2020)

                            1242                Order Granting Motion To Appear pro hac vice -
                                                Jude B. Streb (Related Doc # 1215) Signed on
 09/28/2020                 (1 pg)              9/28/2020. (emiller) (Entered: 09/29/2020)

                            1243                Order Granting Motion To Appear pro hac vice -
                                                Patrick J. Keating (Related Doc # 1216) Signed on
 09/28/2020                 (1 pg)              9/28/2020. (emiller) (Entered: 09/29/2020)

                            1244                Motion to Appear pro hac vice for Sharon I.
                                                Dwoskin. Filed by Creditor Committee Official
                            (1 pg)              Committee Of Unsecured Creditors (Boland,
 09/29/2020                                     Jason) (Entered: 09/29/2020)

                            1245                Declaration re: Declaration of Disinterestedness of
                                                Derrick & Briggs, LLP Pursuant to the Order
                            (3 pgs)             Authorizing the Retention and Compensation of
                                                Certain Professionals Utilized in the Ordinary
                                                Course of Business (Filed By Chesapeake Energy
                                                Corporation ). (Cavenaugh, Matthew) (Entered:
 09/29/2020                                     09/29/2020)

                            1246                Courtroom Minutes. Time Hearing Held: 10:00
                                                AM. Appearances: see attached. (Related
                            (2 pgs)             document(s):1 Complaint). A combined hearing
                                                was held with adversary case 20-3399. With
                                                respect to the main case, the Court has set a hearing
                                                on a to be filed motion as well as the motion filed
                                                at 1237 for 10/7/2020 at 3:30 PM by telephone and
                                                video conference. (aalo)Note: Audio of todays
                                                hearing can be found in Adversary Case No. 20-
 09/30/2020                                     3399 (Entered: 09/30/2020)

                            1247                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by Matthew Cavenaugh. This is to order a
                            (1 pg)              transcript of 9/30/2020 before Judge David R.
                                                Jones. Court Reporter/Transcriber: Access
                                                Transcripts (Filed By Chesapeake Energy
                                                Corporation ). (Cavenaugh, Matthew)
                                                Electronically forwarded to Access Transcripts,
                                                LLC on September 30, 2020. Estimated completion
                                                date: October 1, 2020. Modified on 9/30/2020
 09/30/2020                                     (ClaudiaGutierrez). (Entered: 09/30/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 190 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 190 of 1639
                                                                           0190


                            1248                First Motion for Relief from Stay . Fee Amount
                                                $181. Filed by Creditor John H. Bedsole Hearing
                            (94 pgs; 5 docs)    scheduled for 10/28/2020 at 02:00 PM at Houston,
                                                Courtroom 400 (DRJ). (Attachments: # 1 Exhibit
                                                Petition filed by Bedsole # 2 Exhibit Answer filed
                                                by Chesapeake # 3 Exhibit Letter from Pesnell Law
                                                Firm to attorneys # 4 Exhibit Response from
 09/30/2020                                     Attorneys) (Pesnell, John) (Entered: 09/30/2020)

                                                Receipt of Motion for Relief From Stay(20-33233)
                                                [motion,mrlfsty] ( 181.00) Filing Fee. Receipt
                                                number 22471935. Fee amount $ 181.00. (U.S.
 09/30/2020                                     Treasury) (Entered: 09/30/2020)

                            1249                First Motion for Relief from Stay . Fee Amount
                                                $181. Filed by Creditor Rosa M Byers Hearing
                            (44 pgs; 7 docs)    scheduled for 10/28/2020 at 02:00 PM at Houston,
                                                Courtroom 400 (DRJ). (Attachments: # 1 Exhibit
                                                Petition for Concursus # 2 Exhibit Answer filed by
                                                Chesapeake # 3 Exhibit Motion to Sever filed by
                                                Byers # 4 Exhibit Letter from Pesnell Law Firm to
                                                attorneys # 5 Exhibit Letter from Attorney Bush #
                                                6 Exhibit Letter from Kenneth Klemm) (Pesnell,
 09/30/2020                                     John) (Entered: 09/30/2020)

                                                Receipt of Motion for Relief From Stay(20-33233)
                                                [motion,mrlfsty] ( 181.00) Filing Fee. Receipt
                                                number 22471986. Fee amount $ 181.00. (U.S.
 09/30/2020                                     Treasury) (Entered: 09/30/2020)

                            1250                BNC Certificate of Mailing. (Related document
                                                (s):1231 Order on Motion to Extend Time) No. of
                            (10 pgs)            Notices: 131. Notice Date 09/30/2020. (Admin.)
 09/30/2020                                     (Entered: 10/01/2020)

                            1251
                                                Letter from Gaynell Spigner (mmap) (Entered:
 10/01/2020                 (1 pg)              10/01/2020)

                            1252                Declaration re: Declaration of Disinterestedness of
                                                K&L Gates, LLP Pursuant to the Order
                            (4 pgs)             Authorizing the Retention and Compensation of
                                                Certain Professionals Utilized in the Ordinary
                                                Course of Business (Filed By Chesapeake Energy
                                                Corporation ). (Cavenaugh, Matthew) (Entered:
 10/01/2020                                     10/01/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 191 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 191 of 1639
                                                                           0191


                            1253                Transcript RE: Adversary Emergency Motion
                                                Hearing held on 09/30/20 before Judge David R.
                            (22 pgs)            Jones. Transcript is available for viewing in the
                                                Clerk's Office. Filed by Transcript access will be
                                                restricted through 12/30/2020. (AccessTranscripts)
 10/01/2020                                     (Entered: 10/01/2020)

                            1254                Affidavit Re: Affidavit of Service of Gregory
                                                Winter (Filed By Epiq Corporate Restructuring
 10/01/2020                 (6678 pgs)          LLC ). (Garabato, Sid) (Entered: 10/01/2020)

                            1255                Application to Employ. Objections/Request for
                                                Hearing Due in 21 days. Filed by Creditor
                            (74 pgs; 4 docs)    Committee Official Committee Of Unsecured
                                                Creditors (Attachments: # 1 Exhibit A -
                                                Declaration # 2 Exhibit B - Engagement Letter # 3
                                                Proposed Order) (Boland, Jason) (Entered:
 10/01/2020                                     10/01/2020)

                            1256                Application to Employ. Objections/Request for
                                                Hearing Due in 21 days. Filed by Creditor
                            (87 pgs; 4 docs)    Committee Official Committee Of Unsecured
                                                Creditors (Attachments: # 1 Exhibit A -
                                                Declaration # 2 Exhibit B - Engagement Letter # 3
                                                Proposed Order) (Boland, Jason) (Entered:
 10/01/2020                                     10/01/2020)

                            1257                BNC Certificate of Mailing. (Related document
                                                (s):1241 Order on Motion to Appear pro hac vice)
                            (8 pgs)             No. of Notices: 131. Notice Date 10/01/2020.
 10/01/2020                                     (Admin.) (Entered: 10/02/2020)

                            1258                BNC Certificate of Mailing. (Related document
                                                (s):1242 Order on Motion to Appear pro hac vice)
                            (8 pgs)             No. of Notices: 131. Notice Date 10/01/2020.
 10/01/2020                                     (Admin.) (Entered: 10/02/2020)

                            1259                BNC Certificate of Mailing. (Related document
                                                (s):1243 Order on Motion to Appear pro hac vice)
                            (8 pgs)             No. of Notices: 131. Notice Date 10/01/2020.
 10/01/2020                                     (Admin.) (Entered: 10/02/2020)

                            1260                Notice of Filing of Official Transcript as to 1253
                                                Transcript. Parties notified (Related document
 10/02/2020                 (1 pg)              (s):1253 Transcript) (jdav) (Entered: 10/02/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 192 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 192 of 1639
                                                                           0192


                            1261                Exhibit List, Witness List (Filed By Chesapeake
                                                Energy Corporation ). (Cavenaugh, Matthew)
 10/02/2020                 (4 pgs)             (Entered: 10/02/2020)

                            1262                Exhibit List, Witness List (Filed By Official
                                                Committee of Royalty Owners ).(Related document
                            (4 pgs)             (s):1147 Generic Motion) (Brown, pllc, Deirdre)
 10/02/2020                                     (Entered: 10/02/2020)

                            1263                Affidavit Re: Affidavit of Service of Gregory
                                                Winter (Filed By Epiq Corporate Restructuring
 10/02/2020                 (83 pgs)            LLC ). (Garabato, Sid) (Entered: 10/02/2020)

                            1264
                                                Letter from Gaynell Spigner (mmap) (Entered:
 10/02/2020                 (2 pgs)             10/02/2020)

                            1265                Stipulation By Wier Group and Chesapeake Energy
                                                Corporation, Chesapeake Exploration LLC, and
                            (8 pgs; 2 docs)     certain of their affiliates. Does this document
                                                include an agreed order or otherwise request that
                                                the judge sign a document? Yes. (Filed By Wier
                                                Group ). (Attachments: # 1 Proposed Order)
 10/02/2020                                     (Luttrell, Leslie) (Entered: 10/02/2020)

                            1266                Objection Stone Creek Operating, LLC's Limited
                                                Objection to (1) Debtors' Motion for Entry of (A)
                            (27 pgs; 4 docs)    an Order (I) Approving Bidding Procedures for the
                                                Sale of the Debtors' Mid-Con Assets, (II)
                                                Approving Bid Protections, (III) Scheduling
                                                Certain Dates with Respect Thereto (IV) Approving
                                                the Form and Manner of Notice Thereof, and (V)
                                                Approving Contract Assumption and Assignment
                                                Procedures, and (B) an Order Authorizing the
                                                Debtors to Entry Into a Definitive Purchase
                                                Agreement and (2) Any Sale Pursuant Thereto
                                                (related document(s):1147 Generic Motion). Filed
                                                by Stone Creek Operating LLC (Attachments: # 1
                                                Exhibit A # 2 Exhibit B # 3 Exhibit C) (Gaither,
 10/02/2020                                     John) (Entered: 10/02/2020)

                            1267                Notice of Appearance and Request for Notice Filed
                                                by John Gaither Filed by on behalf of Stone Creek
                            (2 pgs)             Operating LLC (Gaither, John) (Entered:
 10/02/2020                                     10/02/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 193 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 193 of 1639
                                                                           0193


                            1268                Notice of Appearance and Request for Notice Filed
                                                by John Gaither Filed by on behalf of Stone Creek
                            (2 pgs)             Operating LLC (Gaither, John) (Entered:
 10/02/2020                                     10/02/2020)

                            1269                Notice of Appearance and Request for Notice Filed
                                                by John Gaither Filed by on behalf of Stone Creek
                            (2 pgs)             Operating LLC (Gaither, John) (Entered:
 10/02/2020                                     10/02/2020)

                            1270                Motion to Appear pro hac vice (Travis P. Brown).
                                                Filed by Interested Party Stone Creek Operating
 10/02/2020                 (1 pg)              LLC (Gaither, John) (Entered: 10/02/2020)

                            1271                Motion to Appear pro hac vice (Caleb A.
                                                Hartwell). Filed by Interested Party Stone Creek
                            (1 pg)              Operating LLC (Gaither, John) (Entered:
 10/02/2020                                     10/02/2020)

                            1272                Notice of Appearance and Request for Notice Filed
                                                by John Gaither Filed by on behalf of Stone Creek
                            (1 pg)              Operating LLC (Gaither, John) (Entered:
 10/02/2020                                     10/02/2020)

                            1273                Motion to Appear pro hac vice (Jeffrey E. Tate).
                                                Filed by Interested Party Stone Creek Operating
 10/02/2020                 (1 pg)              LLC (Gaither, John) (Entered: 10/02/2020)

                            1274                Agreed Order and Certificate of Counsel (Filed By
                                                Chesapeake Energy Corporation ).(Related
                            (42 pgs; 3 docs)    document(s):369 Application to Employ)
                                                (Attachments: # 1 Proposed Order # 2 Redline)
 10/02/2020                                     (Cavenaugh, Matthew) (Entered: 10/02/2020)

                            1275                Declaration re: Supplemental Declaration of
                                                Stephen Antinelli in Support of the Debtors'
                            (4 pgs)             Application for Entry of an Order Authorizing the
                                                Employment and Retention of Rothschild & Co US
                                                Inc. and Intrepid Partners, LLC as Investment
                                                Bankers to the Debtors (Filed By Chesapeake
                                                Energy Corporation ).(Related document(s):369
                                                Application to Employ) (Cavenaugh, Matthew)
 10/02/2020                                     (Entered: 10/02/2020)

                            1276
                                                Declaration re: Supplemental Declaration of Adam
                                                Miller in Suuport of the Debtors' Application for




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 194 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 194 of 1639
                                                                           0194


                            (4 pgs)             Entry of an Order Authorizing the Employment and
                                                Retention of Rothschild & Co. US Inc. and Intrepid
                                                Partners, LLC as Investment Bankers to the
                                                Debtors (Filed By Chesapeake Energy
                                                Corporation ).(Related document(s):369
                                                Application to Employ) (Cavenaugh, Matthew)
 10/02/2020                                     (Entered: 10/02/2020)

                            1277                Emergency Motion for a Protective Order Limiting
                                                Allen Johnson, et al. and Rodney Hudson et al.'s
                            (14 pgs; 2 docs)    First Set of Discovery Requests Filed by Debtor
                                                Chesapeake Energy Corporation Hearing scheduled
                                                for 10/7/2020 at 03:30 PM at Houston, Courtroom
                                                400 (DRJ). (Attachments: # 1 Proposed Order)
 10/02/2020                                     (Cavenaugh, Matthew) (Entered: 10/02/2020)

                            1278                Objection - Limited Objection (related document
                                                (s):1147 Generic Motion). Filed by Official
                            (5 pgs)             Committee of Royalty Owners (Brown, pllc,
 10/02/2020                                     Deirdre) (Entered: 10/02/2020)

                            1279                Notice of Second Monthly Fee Statement of Alvarez
                                                & Marsal North America, LLC for Compensation
                            (170 pgs)           for Services and Reimbursement of Expenses as
                                                Restructuring and Financial Advisors to the
                                                Debtors and Debtors in Possession for the Period
                                                From August 1, 2020 Through August 31, 2020.
                                                (Related document(s):656 Generic Order) Filed by
                                                Chesapeake Energy Corporation (Cavenaugh,
 10/03/2020                                     Matthew) (Entered: 10/03/2020)

                            1280                Objection (Limited) and Reservation of Rights
                                                (related document(s):1147 Generic Motion). Filed
                            (2 pgs)             by Tributary Resources, LLC (Martin, Jarrod)
 10/04/2020                                     (Entered: 10/04/2020)

                            1281                Emergency Motion for Entry of an Order
                                                Enforcing the Stipulation and Agreed Order Filed
                            (76 pgs; 6 docs)    by Debtor Chesapeake Energy Corporation
                                                Hearing scheduled for 10/15/2020 at 10:30 AM at
                                                Houston, Courtroom 400 (DRJ). (Attachments: # 1
                                                Exhibit A # 2 Exhibit B # 3 Exhibit C # 4 Exhibit
                                                D # 5 Proposed Order) (Cavenaugh, Matthew)
 10/04/2020                                     (Entered: 10/04/2020)

                            1282                BNC Certificate of Mailing. (Related document
                                                (s):1260 Notice of Filing of Official Transcript




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 195 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 195 of 1639
                                                                           0195


                            (8 pgs)             (Form)) No. of Notices: 133. Notice Date
 10/04/2020                                     10/04/2020. (Admin.) (Entered: 10/05/2020)

                            1284                Order Granting Motion To Appear pro hac vice -
                                                Sharon I. Dwoskin (Related Doc # 1244) Signed on
 10/04/2020                 (1 pg)              10/4/2020. (emiller) (Entered: 10/05/2020)

                            1286                Order Granting Motion To Appear pro hac vice -
                                                Travis P. Brown (Related Doc # 1270) Signed on
 10/04/2020                 (1 pg)              10/4/2020. (emiller) (Entered: 10/05/2020)

                            1287                Order Granting Motion To Appear pro hac vice -
                                                Caleb A. Hartwell (Related Doc # 1271) Signed on
 10/04/2020                 (1 pg)              10/4/2020. (emiller) (Entered: 10/05/2020)

                            1288                Order Granting Motion To Appear pro hac vice -
                                                Jeffrey E. Tate (Related Doc # 1273) Signed on
 10/04/2020                 (1 pg)              10/4/2020. (emiller) (Entered: 10/05/2020)

                            1283                Affidavit Re: Affidavit of Service of Marc Orfitelli
                                                (Filed By Epiq Corporate Restructuring LLC ).
                            (19 pgs)            (Related document(s):1147 Generic Motion, 1148
                                                Application to Employ, 1149 Generic Motion,
                                                1150 Chapter 11 Plan, 1151 Disclosure Statement)
 10/05/2020                                     (Garabato, Sid) (Entered: 10/05/2020)

                            1285                Witness List, Exhibit List (Filed By Chesapeake
                                                Energy Corporation ).(Related document(s):1277
                            (3 pgs)             Emergency Motion (with hearing date))
 10/05/2020                                     (Cavenaugh, Matthew) (Entered: 10/05/2020)

                            1289
                                                Letter from John Dough (JeannieAndresen)
 10/05/2020                 (9 pgs)             (Entered: 10/05/2020)

                            1290
                                                Letter from Gaynell Spigner (mmap) (Entered:
 10/05/2020                 (2 pgs)             10/05/2020)

                            1291
                                                Letter from Gaynell Spigner (mmap) (Entered:
 10/05/2020                 (2 pgs)             10/05/2020)

                            1292                Witness List, Exhibit List (Filed By Rodney
                                                Hudson, Allen Johnson ).(Related document
                            (4 pgs)             (s):1237 Emergency Motion (with hearing date),




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 196 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 196 of 1639
                                                                           0196


                                                1277 Emergency Motion (with hearing date))
 10/05/2020                                     (Knapp, Bradley) (Entered: 10/05/2020)

                            1293                Motion for Relief from Stay . Fee Amount $181.
                                                Filed by Interested Party Stephanie Delasandro
                            (229 pgs; 3 docs)   Hearing scheduled for 11/6/2020 at 02:00 PM at
                                                telephone and video conference. (Attachments: # 1
                                                Exhibit Exhibit A # 2 Proposed Order Exhibit B)
 10/05/2020                                     (Warman, Lynnette) (Entered: 10/05/2020)

                                                Receipt of Motion for Relief From Stay(20-33233)
                                                [motion,mrlfsty] ( 181.00) Filing Fee. Receipt
                                                number 22482769. Fee amount $ 181.00. (U.S.
 10/05/2020                                     Treasury) (Entered: 10/05/2020)

                            1294                Response to Debtors' Emergency Motion for
                                                Protective Order Limiting Allen Johnson, et al.,
                            (7 pgs)             and Rodney Hudson, et al.'s First Set of Discovery
                                                Requests (related document(s):1277 Emergency
                                                Motion (with hearing date)). Filed by Rodney
                                                Hudson, Allen Johnson (Knapp, Bradley) (Entered:
 10/05/2020                                     10/05/2020)

                            1295                Motion to Certify Class of Unleased Mineral
                                                Interest Owners for Purposes of Filing a Class
                            (38 pgs; 3 docs)    Proof of Claim Filed by Creditor Rodney Hudson
                                                Hearing scheduled for 10/28/2020 at 02:00 PM at
                                                telephone and video conference. (Attachments: # 1
                                                Exhibit A # 2 Proposed Order) (Eisenberg, Philip)
 10/05/2020                                     (Entered: 10/05/2020)

                            1296
                                                Letter from Gaynell Spigner (mmap) (Entered:
 10/05/2020                 (2 pgs)             10/05/2020)

                            1297
                                                Letter from Gaynell Spigner (mmap) (Entered:
 10/06/2020                 (2 pgs)             10/06/2020)

                            1298                Joint Stipulation and Agreed Order Signed on
                                                10/6/2020 (Related document(s):1156 Stipulation)
 10/06/2020                 (11 pgs)            (aalo) (Entered: 10/06/2020)

                            1299
                                                Proposed Order RE: Order (I) Approving the
                            (78 pgs; 2 docs)    Bidding Procedures for the Sale of the Debtors'
                                                Mid-Con Assets, (II) Approving Bid Protections,




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 197 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 197 of 1639
                                                                           0197


                                                (III) Scheduling Certain Dates with Respect
                                                Thereto, (IV) Approving the Form and Manner of
                                                Notice Thereof, and (V) Approving Contract
                                                Assumption and Assignment Procedures (Filed By
                                                Chesapeake Energy Corporation ).(Related
                                                document(s):1147 Generic Motion) (Attachments:
                                                # 1 Redline) (Cavenaugh, Matthew) (Entered:
 10/06/2020                                     10/06/2020)

                            1300                Agenda for Hearing on 10/6/2020 (Filed By
                                                Chesapeake Energy Corporation ). (Cavenaugh,
 10/06/2020                 (3 pgs)             Matthew) (Entered: 10/06/2020)

                            1301                Stipulation By Chesapeake Energy Corporation
                                                and the Creditors' Committee, the Existing RBL
                            (8 pgs)             Agent, the Existing RBL Lenders, the FLLO Ad
                                                Hoc Group and Franklin. Does this document
                                                include an agreed order or otherwise request that
                                                the judge sign a document? Yes. (Filed By
                                                Chesapeake Energy Corporation ). (Cavenaugh,
 10/06/2020                                     Matthew) (Entered: 10/06/2020)

                            1302                Withdrawal of Claim: 10153 filed by Epiq
                                                Corporate Restructuring, LLC on behalf of CNC
                            (2 pgs)             Oilfield Services LLC (Garabato, Sid) (Entered:
 10/06/2020                                     10/06/2020)

                            1303                Certificate of Service (Filed By Rodney Hudson,
                                                Allen Johnson ).(Related document(s):1294
                            (67 pgs; 3 docs)    Response, 1295 Generic Motion) (Attachments: # 1
                                                Exhibit 1 # 2 Exhibit 2) (Knapp, Bradley) (Entered:
 10/06/2020                                     10/06/2020)

                            1304                Motion to Appear pro hac vice McClain Thompson.
                                                Filed by Debtor Chesapeake Energy Corporation
 10/06/2020                 (1 pg)              (Cavenaugh, Matthew) (Entered: 10/06/2020)

                            1305                Order (I) Approving the Bidding Procedures for the
                                                Sale of the Debtors' Mid-Con Assets (Related Doc
                            (39 pgs)            # 1147) Signed on 10/6/2020. (aalo) (Entered:
 10/06/2020                                     10/06/2020)

                            1306
                                                Stipulation and Agreed Order Signed on 10/6/2020
 10/06/2020                 (8 pgs)             (aalo) (Entered: 10/06/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 198 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 198 of 1639
                                                                           0198


                            1307                Agenda for Hearing on 10/7/2020 (Filed By
                                                Chesapeake Energy Corporation ). (Cavenaugh,
 10/06/2020                 (3 pgs)             Matthew) (Entered: 10/06/2020)

                            1308                Stipulation By Chesapeake Energy Corporation
                                                and Juan Carlos Alaniz. Does this document
                            (6 pgs)             include an agreed order or otherwise request that
                                                the judge sign a document? Yes. (Filed By
                                                Chesapeake Energy Corporation ). (Cavenaugh,
 10/06/2020                                     Matthew) (Entered: 10/06/2020)

                            1309                Order Granting Motion To Appear pro hac vice -
                                                McClain Thompson (Related Doc # 1304) Signed
 10/06/2020                 (1 pg)              on 10/6/2020. (emiller) (Entered: 10/06/2020)

                            1312                Courtroom Minutes. Time Hearing Held: 10:30
                                                AM. Appearances: see attached. (Related: 1147
                            (2 pgs)             Bid Procedures Motion). For the reasons stated on
                                                the record, the Court has approved the proposed
                                                bid procedures motion filed at 1147. Final Sale
                                                Hearing scheduled for 11/13/2020 at 09:00 AM
                                                by telephone and video conference. (aalo)
 10/06/2020                                     (Entered: 10/07/2020)

                            1310                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by Marty L. Brimmage, Jr.. This is to order
                            (2 pgs)             a transcript of the October 6, 2020 Hearing before
                                                Judge David R. Jones. Court Reporter/Transcriber:
                                                Access Transcripts (Filed By Franklin Advisers,
                                                Inc., as Investment Manager on Behalf of Certain
                                                Funds and Accounts ). (Brimmage, Marty)
                                                Electronically forwarded to Access Transcripts on
                                                10-7-2020. Estimated completion date: 10-8-2020.
                                                Modified on 10/7/2020 (MelissaMorgan). (Entered:
 10/07/2020                                     10/07/2020)

                            1311                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by Jason Boland. This is to order a
                            (1 pg)              transcript of October 6, 2020 hearing before Judge
                                                David R. Jones. Court Reporter/Transcriber:
                                                Access Transcripts (Filed By Official Committee
                                                Of Unsecured Creditors ). (Boland, Jason)Copy
                                                request was electronically forwarded to Access
                                                Transcripts on 10-7-2020. Estimated completion
                                                date: 10-8-2020. Modified on 10/7/2020
 10/07/2020                                     (MelissaMorgan). (Entered: 10/07/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 199 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 199 of 1639
                                                                           0199


                            1313                Declaration re: Declaration of Disinterestedness of
                                                Protiviti Inc. Pursuant to the Order Authorizing the
                            (5 pgs)             Retention and Compensation of Certain
                                                Professionals Utilized in the Ordinary Course of
                                                Business (Filed By Chesapeake Energy
                                                Corporation ). (Cavenaugh, Matthew) (Entered:
 10/07/2020                                     10/07/2020)

                            1314                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by Matthew Cavenaugh. This is to order a
                            (1 pg)              transcript of 10/6/2020 before Judge David R.
                                                Jones. Court Reporter/Transcriber: Access
                                                Transcripts (Filed By Chesapeake Energy
                                                Corporation ). (Cavenaugh, Matthew) Copy request
                                                was electronically forwarded to Access Transcripts
                                                on 10-8-2020. Estimated completion date: 10-9-
                                                2020. Modified on 10/8/2020 (MelissaMorgan).
 10/07/2020                                     (Entered: 10/07/2020)

                            1315                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by Matthew Cavenaugh. This is to order a
                            (1 pg)              transcript of 10/7/2020 before Judge David R.
                                                Jones. Court Reporter/Transcriber: Access
                                                Transcripts (Filed By Chesapeake Energy
                                                Corporation ). (Cavenaugh, Matthew)
                                                Electronically forwarded to Access Transcripts on
                                                10-8-2020. Estimated completion date: 10-9-2020.
                                                Modified on 10/8/2020 (MelissaMorgan). (Entered:
 10/07/2020                                     10/07/2020)

                            1316                   PDF with attached Audio File. Court Date &
                                                Time [ 10/7/2020 3:30:07 PM ]. File Size [ 15455
                            (1 pg)              KB ]. Run Time [ 00:32:12 ]. (In ref to doc nos.
                                                1237 and 1277. Hearing held October 7, 2020.).
 10/07/2020                                     (admin). (Entered: 10/07/2020)

                            1317                Courtroom Minutes. Time Hearing Held: 3:30 PM.
                                                Appearances: SEE ATTACHED. (Related
                            (1 pg)              document(s):1237 Emergency Motion (with
                                                hearing date), 1277 Emergency Motion (with
                                                hearing date)) The Court granted the motion for
                                                request for admissions nos. 2, 3, 11, 12, 13, and 16.
                                                Denied the request for protection as to request for
                                                admission no. 14 and overruled the request for
                                                protection as to request for admission no. 15. The
                                                Court sustain the request of protection as to
                                                interrogatory nos. 1,2, 4, and 5. The Court




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 200 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 200 of 1639
                                                                           0200


                                                sustained the request for production as to request of
                                                production nos. 1, 3, and 4. (VrianaPortillo)
 10/07/2020                                     (Entered: 10/07/2020)

                            1318                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by Marty L. Brimmage, Jr.. This is to order
                            (1 pg)              a transcript of the October 7, 2020 Hearing before
                                                Judge David R. Jones. Court Reporter/Transcriber:
                                                Access Transcripts (Filed By Franklin Advisers,
                                                Inc., as Investment Manager on Behalf of Certain
                                                Funds and Accounts ). (Brimmage, Marty) Copy
                                                request was electronically forwarded to Access
                                                Transcripts on 10-8-2020. Estimated completion
                                                date: 10-9-2020. Modified on 10/8/2020
 10/07/2020                                     (MelissaMorgan). (Entered: 10/07/2020)

                            1319                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by Jason Boland. This is to order a
                            (1 pg)              transcript of October 7, 2020 hearing before Judge
                                                David R. Jones. Court Reporter/Transcriber:
                                                Access Transcripts (Filed By Official Committee
                                                Of Unsecured Creditors ). (Boland, Jason) Copy
                                                request was electronically forwarded to Access
                                                Transcripts on 10-8-2020. Estimated completion
                                                date: 10-9-2020. Modified on 10/8/2020
 10/07/2020                                     (MelissaMorgan). (Entered: 10/07/2020)

                            1320                AO 435 TRANSCRIPT ORDER FORM (3-Day)
                                                by Mary Elizabeth Heard. This is to order a
                            (1 pg)              transcript of October 7, 2020 Hearing before Judge
                                                David R. Jones. Court Reporter/Transcriber:
                                                Access Transcripts (Filed By PMBG Parties ).
                                                (Heard, Mary) Copy request was electronically
                                                forwarded to Access Transcripts on 10-8-2020.
                                                Estimated completion date: 10-9-2020. Modified
                                                on 10/8/2020 (MelissaMorgan). (Entered:
 10/07/2020                                     10/07/2020)

                            1321                BNC Certificate of Mailing. (Related document
                                                (s):1284 Order on Motion to Appear pro hac vice)
                            (8 pgs)             No. of Notices: 134. Notice Date 10/07/2020.
 10/07/2020                                     (Admin.) (Entered: 10/08/2020)

                            1322                BNC Certificate of Mailing. (Related document
                                                (s):1286 Order on Motion to Appear pro hac vice)
                            (8 pgs)             No. of Notices: 134. Notice Date 10/07/2020.
 10/07/2020                                     (Admin.) (Entered: 10/08/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 201 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 201 of 1639
                                                                           0201


                            1323                BNC Certificate of Mailing. (Related document
                                                (s):1287 Order on Motion to Appear pro hac vice)
                            (8 pgs)             No. of Notices: 134. Notice Date 10/07/2020.
 10/07/2020                                     (Admin.) (Entered: 10/08/2020)

                            1324                BNC Certificate of Mailing. (Related document
                                                (s):1288 Order on Motion to Appear pro hac vice)
                            (8 pgs)             No. of Notices: 134. Notice Date 10/07/2020.
 10/07/2020                                     (Admin.) (Entered: 10/08/2020)

                            1325                Notice of Appearance and Request for Notice Filed
                                                by Anthony Frank Arguijo Filed by on behalf of
                            (5 pgs)             Chesapeake Exploration, L.L.C., Chesapeake
                                                Operating, L.L.C. (Arguijo, Anthony) (Entered:
 10/08/2020                                     10/08/2020)

                            1326                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by John D. Gaither. This is to order a
                            (1 pg)              transcript of Bankruptcy 10/6/2020 before Judge
                                                David R. Jones. Court Reporter/Transcriber:
                                                Veritext Legal Solutions (Filed By Stone Creek
                                                Operating LLC ). (Gaither, John) Copy request was
                                                electronically forwarded to Access Transcripts on
                                                10-8-2020. Estimated completion date: 10-9-2020.
                                                Modified on 10/8/2020 (MelissaMorgan). (Entered:
 10/08/2020                                     10/08/2020)

                            1327                Transcript RE: Motion Hearing held on 10/6/20
                                                before Judge David R. Jones. Transcript is
                            (20 pgs)            available for viewing in the Clerk's Office. Filed by
                                                Transcript access will be restricted through
                                                01/6/2021. (AccessTranscripts) (Entered:
 10/08/2020                                     10/08/2020)

                            1328                Stipulation By Chesapeake Energy Corporation
                                                and Eloy Fira. Does this document include an
                            (6 pgs)             agreed order or otherwise request that the judge
                                                sign a document? Yes. (Filed By Chesapeake
                                                Energy Corporation ). (Peguero, Kristhy) (Entered:
 10/08/2020                                     10/08/2020)

                            1329                Objection Debtors' Objection to the Delasandros'
                                                Motion for Rehearing or to Alter or Amend that
                            (9 pgs)             Certain "Stipulation and Order by The Debtors
                                                Granting Relief from Automatic Stay" [Docket No.
                                                1091], Entered September 3, 2020, Pursuant to
                                                Fed. R. Bankr. P. 9023, or In The Alternative, For




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 202 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 202 of 1639
                                                                           0202


                                                Relief from Such Order Pursuant to Fed. R. Bankr.
                                                P. 9024 (related document(s):1175 Motion to
                                                Reconsider). Filed by Chesapeake Energy
                                                Corporation (Peguero, Kristhy) (Entered:
 10/08/2020                                     10/08/2020)

                            1330                Amended Chapter 11 Plan Filed by Chesapeake
                                                Energy Corporation. (Related document(s):1150
                            (125 pgs; 2 docs)   Chapter 11 Plan) (Attachments: # 1 Redline)
 10/08/2020                                     (Cavenaugh, Matthew) (Entered: 10/08/2020)

                            1331                Disclosure Statement Filed by Chesapeake Energy
                                                Corporation. (Attachments: # 1 Redline)
 10/08/2020                 (243 pgs; 2 docs)   (Cavenaugh, Matthew) (Entered: 10/08/2020)

                            1332                Proposed Order RE: Order (I) Approving the
                                                Adequacy of the Disclosure Statement, (II)
                            (375 pgs; 2 docs)   Approving the Solicitation Procedures with
                                                Respect to the Confirmation of the Debtors'
                                                Proposed Chapter 11 Plan, (III) Approving the
                                                Forms of Ballots and Notices in Connection
                                                Therewith, (IV) Approving the Rights Offering
                                                Procedures and Related Materials, (V) Scheduling
                                                Certain Dates with Respect Thereto, and (VI)
                                                Granting Related Relief (Filed By Chesapeake
                                                Energy Corporation ).(Related document(s):1149
                                                Generic Motion) (Attachments: # 1 Redline)
 10/08/2020                                     (Cavenaugh, Matthew) (Entered: 10/08/2020)

                            1333                BNC Certificate of Mailing. (Related document
                                                (s):1298 Generic Order) No. of Notices: 134.
                            (18 pgs)            Notice Date 10/08/2020. (Admin.) (Entered:
 10/08/2020                                     10/09/2020)

                            1334                BNC Certificate of Mailing. (Related document
                                                (s):1305 Generic Order) No. of Notices: 134.
                            (46 pgs)            Notice Date 10/08/2020. (Admin.) (Entered:
 10/08/2020                                     10/09/2020)

                            1335                BNC Certificate of Mailing. (Related document
                                                (s):1306 Generic Order) No. of Notices: 134.
                            (15 pgs)            Notice Date 10/08/2020. (Admin.) (Entered:
 10/08/2020                                     10/09/2020)

                            1336

                                                Book by Gaynell Spigner (Attachments: # 1




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 203 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 203 of 1639
                                                                           0203


 10/09/2020                 (2 pgs; 2 docs)     Exhibit) (mmap) (Entered: 10/09/2020)

                            1337                Motion to Appear pro hac vice Christos A.
                                                Katsaonis. Filed by Creditor Commonwealth of
 10/09/2020                 (1 pg)              Pennsylvania (mmap) (Entered: 10/09/2020)

                            1338                Affidavit Re: Affidavit of Service of Angarahad
                                                Bowdler (Filed By Epiq Corporate Restructuring
                            (3 pgs)             LLC ).(Related document(s):1225 Notice)
 10/09/2020                                     (Garabato, Sid) (Entered: 10/09/2020)

                            1339                Affidavit Re: Affidavit of Service of Angarahad
                                                Bowdler (Filed By Epiq Corporate Restructuring
                            (19 pgs)            LLC ).(Related document(s):1227 Generic Motion,
                                                1228 Generic Motion) (Garabato, Sid) (Entered:
 10/09/2020                                     10/09/2020)

                            1340                Affidavit Re: Affidavit of Service of Angarahad
                                                Bowdler (Filed By Epiq Corporate Restructuring
                            (3 pgs)             LLC ).(Related document(s):1234 Notice)
 10/09/2020                                     (Garabato, Sid) (Entered: 10/09/2020)

                            1341                Affidavit Re: Affidavit of Service of Angarahad
                                                Bowdler (Filed By Epiq Corporate Restructuring
                            (21 pgs)            LLC ).(Related document(s):1245 Declaration)
 10/09/2020                                     (Garabato, Sid) (Entered: 10/09/2020)

                            1342                Affidavit Re: Affidavit of Service of Angarahad
                                                Bowdler (Filed By Epiq Corporate Restructuring
                            (5 pgs)             LLC ).(Related document(s):1252 Declaration)
 10/09/2020                                     (Garabato, Sid) (Entered: 10/09/2020)

                            1343
                                                Letter from John Dough (JeannieAndresen)
 10/09/2020                 (3 pgs)             (Entered: 10/09/2020)

                            1344                Statement Third Monthly Fee Statement of Brown
                                                Rudnick LLP for Allowance of Compensation for
                            (95 pgs)            Services Rendered and for Reimbursement of
                                                Expenses as Co-Counsel for the Official Committee
                                                of Unsecured Creditors for the Period from
                                                September 1, 2020 through September 30, 2020
                                                (Filed By Official Committee Of Unsecured
 10/09/2020                                     Creditors ). (Harrison, Julie) (Entered: 10/09/2020)

                            1345
                                                Statement / First Monthly Fee Statement of Norton




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 204 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 204 of 1639
                                                                           0204


                                                Rose Fulbright US LLP for Allowance of
                            (28 pgs)            Compensation for Services Rendered and
                                                Reimbursement of Expenses Incurred as Co-
                                                Counsel to the Official Committee of Unsecured
                                                Creditors for the Period from July 13, 2020 to July
                                                31, 2020 (Filed By Official Committee Of
                                                Unsecured Creditors ). (Harrison, Julie) (Entered:
 10/09/2020                                     10/09/2020)

                            1346                Statement / Second Monthly Fee Statement of
                                                Norton Rose Fulbright US LLP for Allowance of
                            (35 pgs)            Compensation for Services Rendered and
                                                Reimbursement of Expenses Incurred as Co-
                                                Counsel to the Official Committee of Unsecured
                                                Creditors for the Period from August 1, 2020 to
                                                August 31, 2020 (Filed By Official Committee Of
                                                Unsecured Creditors ). (Harrison, Julie) (Entered:
 10/09/2020                                     10/09/2020)

                            1347                Transcript RE: Emergency Motion Hearing held on
                                                10/7/20 before Judge David R. Jones. Transcript is
                            (26 pgs)            available for viewing in the Clerk's Office. Filed by
                                                Transcript access will be restricted through
                                                01/7/2021. (AccessTranscripts) (Entered:
 10/09/2020                                     10/09/2020)

                            1348                BNC Certificate of Mailing. (Related document
                                                (s):1309 Order on Motion to Appear pro hac vice)
                            (8 pgs)             No. of Notices: 134. Notice Date 10/09/2020.
 10/09/2020                                     (Admin.) (Entered: 10/10/2020)

                            1350                Order Authorizing the Employment and Retention
                                                of Rothschild & Co US Inc. and Intrepid Partners,
                            (31 pgs)            LLC as Investment Bankers to the Debtors,
                                                Effective June 28, 2020 (Related Doc # 369)
                                                Signed on 10/9/2020. (emiller) (Entered:
 10/09/2020                                     10/11/2020)

                            1349                Order Granting Motion To Appear pro hac vice -
                                                Christos A. Katsaounis (Related Doc # 1337)
                            (1 pg)              Signed on 10/11/2020. (emiller) (Entered:
 10/11/2020                                     10/11/2020)

                            1351                Statement Corrected Second Monthly Fee
                                                Statement of Norton Rose Fulbright US LLP for
                            (35 pgs)            Allowance of Compensation for Services Rendered
                                                and Reimbursement of Expenses Incurred as Co-




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 205 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 205 of 1639
                                                                           0205


                                                Counsel to the Official Committee of Unsecured
                                                Creditors for the Period from August 1, 2020 to
                                                August 31, 2020 (Filed By Official Committee Of
                                                Unsecured Creditors ).(Related document(s):1346
 10/12/2020                                     Statement) (Harrison, Julie) (Entered: 10/12/2020)

                            1352                AO 435 TRANSCRIPT ORDER FORM (3-Day)
                                                by Eagle Ford Royalty Owner MDL Plaintiffs. This
                            (1 pg)              is to order a transcript of 7/31/20 before Judge
                                                David R. Jones. Court Reporter/Transcriber:
                                                Access Transcripts (Filed By c/o Annie Catmull
                                                Royalty Owner Plaintiffs c/o ). (Catmull, Annie)
                                                Copy Request electronically forwarded to Access
                                                Transcripts, LLC on October 14, 2020. Estimated
                                                completion date: October 17, 2020. Modified on
                                                10/14/2020 (ClaudiaGutierrez). (Entered:
 10/12/2020                                     10/12/2020)

                            1353                Notice of Additional Ordinary Course
                                                Professionals Pursuant to the Order Authorizing
                            (4 pgs)             the Retention and Compensation of Certain
                                                Professionals Utilized in the Ordinary Course of
                                                Business. (Related document(s):655 Generic Order,
                                                807 Notice, 1100 Notice, 1162 Notice) Filed by
                                                Chesapeake Energy Corporation (Cavenaugh,
 10/12/2020                                     Matthew) (Entered: 10/12/2020)

                            1354                Proposed Order RE: Order Authorizing the
                                                Retention and Employment of
                            (45 pgs; 2 docs)    PricewaterhouseCoopers LLP as Audit Services
                                                and Tax Consulting Services Provider to the
                                                Debtors Effective as of June 28, 2020 (Filed By
                                                Chesapeake Energy Corporation ).(Related
                                                document(s):1148 Application to Employ)
                                                (Attachments: # 1 Redline) (Cavenaugh, Matthew)
 10/12/2020                                     (Entered: 10/12/2020)

                            1355                Agreed Order and Certificate of Counsel (Filed By
                                                Chesapeake Energy Corporation ).(Related
                            (48 pgs; 3 docs)    document(s):1148 Application to Employ)
                                                (Attachments: # 1 Proposed Order # 2 Redline)
 10/12/2020                                     (Cavenaugh, Matthew) (Entered: 10/12/2020)

                            1356                Notice to Chesapeake Energy Corporation of
                                                Examination Under Fed. R. Bankr. P. 2004. Filed
                            (10 pgs)            by Eric Petroleum Corporation (Flores, Henry)
 10/12/2020                                     (Entered: 10/12/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 206 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 206 of 1639
                                                                           0206


                            1357                Stipulation By Chesapeake Energy Corporation
                                                and the Committee, Existing RBL Agent, Existing
                            (8 pgs)             RBL Lenders, the FLLO Ad Hoc Group, and
                                                Franklin. Does this document include an agreed
                                                order or otherwise request that the judge sign a
                                                document? Yes. (Filed By Chesapeake Energy
                                                Corporation ). (Cavenaugh, Matthew) (Entered:
 10/12/2020                                     10/12/2020)

                            1358                Notice of Filing of Official Transcript as to 1327
                                                Transcript, 1347 Transcript. Parties notified
                            (1 pg)              (Related document(s):1327 Transcript, 1347
 10/13/2020                                     Transcript) (dhan) (Entered: 10/13/2020)

                            1359                Carter#3 by Gaynell Spigner (mmap) Additional
                                                attachment(s) added on 10/14/2020 (mmap).
 10/13/2020                 (37 pgs; 2 docs)    (Entered: 10/13/2020)

                            1360                Notice of Filing of Official Transcript as to 1347
                                                Transcript. Parties notified (Related document
 10/13/2020                 (1 pg)              (s):1347 Transcript) (dhan) (Entered: 10/13/2020)

                            1361                Reply to Debtors' Objection (related document
                                                (s):1175 Motion to Reconsider). Filed by Stephanie
                            (5 pgs)             Delasandro (Warman, Lynnette) (Entered:
 10/13/2020                                     10/13/2020)

                            1362                Witness List, Exhibit List (Filed By Chesapeake
                                                Energy Corporation ).(Related document(s):1281
                            (43 pgs; 4 docs)    Emergency Motion (with hearing date))
                                                (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3
                                                Exhibit 3) (Cavenaugh, Matthew) (Entered:
 10/13/2020                                     10/13/2020)

                            1363                Notice of Auction for the Sale of the Debtors' Mid-
                                                Con Assets Free and Clear of Any and All Claims,
                            (6 pgs)             Interests, and Encumbrances. Filed by Chesapeake
                                                Energy Corporation (Cavenaugh, Matthew)
 10/13/2020                                     (Entered: 10/13/2020)


                                                Certificate of Telephone Notice. Contacted
                                                Veronica Polnick. Movant to notice all interested
                                                parties and file a certificate of service with the
                                                court (Related document(s):1331 Disclosure
                                                Statement) Hearing scheduled for 10/30/2020 at
                                                09:30 AM at telephone and video conference.




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 207 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 207 of 1639
                                                                           0207


 10/13/2020                                     (aalo) (Entered: 10/13/2020)

                                                Certificate of Telephone Notice. By agreement of
                                                all parties, the hearing on the motion to certify
                                                class has been adjourned. Movant to notice all
                                                interested parties and file a certificate of service
                                                with the court (Related document(s):1295 Generic
                                                Motion) Hearing rescheduled for 11/6/2020 at
                                                02:00 PM by telephone and video conference.
 10/13/2020                                     (aalo) (Entered: 10/13/2020)

                            1364                Exhibit List, Witness List (Filed By Federal Energy
                                                Regulatory Commission ).(Related document
                            (90 pgs; 8 docs)    (s):1281 Emergency Motion (with hearing date))
                                                (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3
                                                Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6 Exhibit 6
                                                # 7 Exhibit 7) (Kincheloe, Richard) (Entered:
 10/13/2020                                     10/13/2020)

                            1365                Notice of Reset of Disclosure Statement Hearing.
                                                (Related document(s): Certificate of Notice) Filed
                            (5 pgs)             by Chesapeake Energy Corporation (Cavenaugh,
 10/13/2020                                     Matthew) (Entered: 10/13/2020)

                            1366                Notice of Selection of Stalking Horse Bidder. Filed
                                                by Chesapeake Energy Corporation (Cavenaugh,
 10/13/2020                 (1074 pgs)          Matthew) (Entered: 10/13/2020)

                            1367                Proposed Order RE: Order (I) Authorizing the Sale
                                                of the Debtors' Mid-Con Assets Free and Clear of
                            (1070 pgs)          Liens, Claims, Encumbrances, and Interests, (II)
                                                Authorizing the Debtors to Enter Into and Perform
                                                Under a Definitive Purchase Agreement, (III)
                                                Authorizing the Assumption and Assignment of
                                                Certain Executory Contracts and Unexpired
                                                Leases, and (IV) Granting Related Relief (Filed By
                                                Chesapeake Energy Corporation ).(Related
                                                document(s):1147 Generic Motion) (Cavenaugh,
 10/13/2020                                     Matthew) (Entered: 10/13/2020)

                            1368                Notice of Third Monthly Fee Statement of Alvarez
                                                & Marsal North America, LLC for Compensation
                            (164 pgs)           for Services and Reimbursement of Expenses as
                                                Restructuring and Financial Advisors to the
                                                Debtors and Debtors In Possession for the Period
                                                from September 1, 2020 Through September 30,
                                                2020. Filed by Chesapeake Energy Corporation




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 208 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 208 of 1639
                                                                           0208


 10/13/2020                                     (Cavenaugh, Matthew) (Entered: 10/13/2020)

                            1386
                                                Notice of Change of Address Filed by Holly Lynne
 10/13/2020                 (1 pg)              Musick (agou) (Entered: 10/15/2020)

                            1369                Witness List, Exhibit List (Filed By ETC Tiger
                                                Pipeline LLC ).(Related document(s):417 Generic
                            (55 pgs)            Order, 1281 Emergency Motion (with hearing
 10/14/2020                                     date)) (Mitchell, John) (Entered: 10/14/2020)

                            1370                Motion To Substitute Attorney. Filed by Creditors
                                                ECorp Resource Partners 1, LP, Minion Trail Ltd,
                            (5 pgs; 2 docs)     Rock Creek Ranch Ltd (Attachments: # 1 Proposed
 10/14/2020                                     Order) (Skelton, Barnet) (Entered: 10/14/2020)

                            1371                Notice of Reset Hearing on Motion to Certify Class
                                                of Unleased Mineral Interest Owners for Purposes
                            (3 pgs)             of Filing a Class Proof of Claim . (Related
                                                document(s):1295 Generic Motion) Filed by
                                                Rodney Hudson (Knapp, Bradley) (Entered:
 10/14/2020                                     10/14/2020)

                            1372                Affidavit Re: Affidavit of Service of Angarahad
                                                Bowdler (Filed By Epiq Corporate Restructuring
 10/14/2020                 (7191 pgs)          LLC ). (Garabato, Sid) (Entered: 10/14/2020)

                            1373                 Order Authorizing the Retention and Employment
                                                 of Pricewaterhousecoopers LLP as Audit Services
                            (37 pgs)             and Tax Consulting Services Provider to the
                                                 Debtors Effective as June 28, 2020 (Related Doc
                                                 # 1148) Signed on 10/14/2020. (VrianaPortillo)
 10/14/2020                                      (Entered: 10/14/2020)

                            1374                 Agreed Order and Certificate of Counsel (Filed
                                                 By Chesapeake Energy Corporation ).(Related
                            (86 pgs; 3 docs)     document(s):1176 Application to Employ)
                                                 (Attachments: # 1 Proposed Order # 2 Redline)
 10/14/2020                                      (Cavenaugh, Matthew) (Entered: 10/14/2020)

                            1375                 Objection to Debtors' Disclosure Statement
                                                 (related document(s):1149 Generic Motion). Filed
                            (14 pgs)             by Jackalope Gas Gathering Services, L.L.C.,
                                                 Stagecoach Pipeline & Storage Company LLC
 10/14/2020                                      (Brookner, Jason) (Entered: 10/14/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 209 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 209 of 1639
                                                                           0209


                            1376                 Response to Debtors' Emergency Motion for
                                                 Entry of an Order Enforcing the Stipulation and
                            (84 pgs; 5 docs)     Agreed Order (ECF 417) (related document
                                                 (s):1281 Emergency Motion (with hearing date)).
                                                 Filed by ETC Tiger Pipeline LLC (Attachments: #
                                                 1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4
                                                 Exhibit B) (Moore, William) (Entered:
 10/14/2020                                      10/14/2020)

                            1377                 Motion to Approve Compromise under Rule
                                                 9019 / Debtors' Motion for Entry of an Order (I)
                            (34 pgs; 2 docs)     Authorizing and Approving the Settlement By and
                                                 Among the Debtors and the Wier Group, and (II)
                                                 Granting Related Relief Filed by Debtor
                                                 Chesapeake Energy Corporation (Attachments: #
                                                 1 Proposed Order) (Schwarzman, Alexandra)
 10/14/2020                                      (Entered: 10/14/2020)

                            1378                 Motion to Appear pro hac vice Brooksany
                                                 Barrowes. Filed by Debtor Chesapeake Energy
                            (1 pg)               Corporation (Cavenaugh, Matthew) (Entered:
 10/14/2020                                      10/14/2020)

                            1379                 Response (related document(s):1281 Emergency
                                                 Motion (with hearing date)). Filed by Federal
                            (68 pgs; 5 docs)     Energy Regulatory Commission (Attachments: #
                                                 1 Proposed Order # 2 Exhibit A # 3 Exhibit B # 4
                                                 Exhibit C) (Kincheloe, Richard) (Entered:
 10/14/2020                                      10/14/2020)

                            1380                 Agenda for Hearing on 10/15/2020 (Filed By
                                                 Chesapeake Energy Corporation ). (Cavenaugh,
 10/14/2020                 (3 pgs)              Matthew) (Entered: 10/14/2020)

                            1381                 Motion to Appear pro hac vice Joshua E. Austin.
                                                 Filed by Creditor EJS Investment Holdings, LLC
 10/15/2020                 (1 pg)               (Towber, Preston) (Entered: 10/15/2020)

                            1382                 Response/Objection Filed by Commonwealth of
                                                 Pennsylvania, Department of Revenue. (Related
                            (24 pgs; 3 docs)     document(s):1149 Generic Motion, 1330
                                                 Amended Chapter 11 Plan, 1331 Disclosure
                                                 Statement) (Attachments: # 1 Proposed Order # 2
                                                 Certificate of Service)(Katsaounis, Christos)
 10/15/2020                                      (Entered: 10/15/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 210 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 210 of 1639
                                                                           0210


                            1383                 Objection Debtors' Objection to (I) Allen
                                                 Johnson, et al., and Rodney Hudson et al.'s
                            (32 pgs)             Motion for Relief from Stay and (II) Allen
                                                 Johnson, et al., and Rodney Hudson et al.'s
                                                 Motion for Adequate Protection (related
                                                 document(s):1200 Motion for Relief From Stay,
                                                 1201 Motion for Adequate Protection). Filed by
                                                 Chesapeake Energy Corporation (Cavenaugh,
 10/15/2020                                      Matthew) (Entered: 10/15/2020)

                            1384                 Notice of Appearance and Request for Notice
                                                 Filed by Michael Vincent Fitzpatrick Filed by on
                            (3 pgs)              behalf of Garanak, L.P., Mansfield Independent
                                                 School District, City of Burleson, Texas, Union
                                                 Pacific Railroad Company (Fitzpatrick, Michael)
 10/15/2020                                      (Entered: 10/15/2020)

                            1385                 Motion to Appear pro hac vice James E. Key.
                                                 Filed by Creditors City of Burleson, Texas,
                            (1 pg)               Garanak, L.P., Mansfield Independent School
                                                 District, Union Pacific Railroad Company
 10/15/2020                                      (Fitzpatrick, Michael) (Entered: 10/15/2020)

                            1387                 AO 435 TRANSCRIPT ORDER FORM (Daily
                                                 (24 hours)) by Matthew Cavenaugh. This is to
                            (1 pg)               order a transcript of 10/15/2020 before Judge
                                                 David R. Jones. Court Reporter/Transcriber:
                                                 Judicial Transcribers of Texas (Filed By
                                                 Chesapeake Energy Corporation ). (Cavenaugh,
                                                 Matthew) Electronically forwarded to Judicial
                                                 Transcribers of Texas on 10-15-2020. Estimated
                                                 completion date: 10-16-2020. Modified on
                                                 10/15/2020 (MelissaMorgan). (Entered:
 10/15/2020                                      10/15/2020)

                            1388                 Stipulation By Chesapeake Energy Corporation
                                                 and Morgan Stanley Capital Group Inc.. Does this
                            (5 pgs)              document include an agreed order or otherwise
                                                 request that the judge sign a document? Yes.
                                                 (Filed By Chesapeake Energy Corporation ).
 10/15/2020                                      (Cavenaugh, Matthew) (Entered: 10/15/2020)

                            1389                 Response/Objection Filed by c/o Annie Catmull
                                                 Royalty Owner Plaintiffs c/o. (Related document
                            (69 pgs; 5 docs)     (s):1149 Generic Motion, 1151 Disclosure
                                                 Statement, 1331 Disclosure Statement)
                                                 (Attachments: # 1 Exhibit Texas MDL Plaintiffs #




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 211 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 211 of 1639
                                                                           0211


                                                 2 Exhibit Transcript Excerpt 7-31-20 # 3 Exhibit
                                                 Severance Order # 4 Exhibit Sample Lease)
 10/15/2020                                      (Catmull, Annie) (Entered: 10/15/2020)

                            1390                 Courtroom Minutes. Time Hearing Held: 10:30
                                                 am. Appearances: SEE ATTACHED.. (Related
                            (1 pg)               document(s):1281 Emergency Motion (with
                                                 hearing date)) For the reasons stated on the
                                                 record, the motion is denied. The Court to enter
 10/15/2020                                      an order.(emiller) (Entered: 10/15/2020)

                            1391
                                                 Order (Related Doc # 1281) Signed on
 10/15/2020                 (1 pg)               10/15/2020. (emiller) (Entered: 10/15/2020)

                            1392                     PDF with attached Audio File. Court Date &
                                                 Time [ 10/15/2020 10:28:50 AM ]. File Size
                            (1 pg)               [ 9975 KB ]. Run Time [ 00:20:47 ]. (admin).
 10/15/2020                                      (Entered: 10/15/2020)

                            1393                 Response/Objection Filed by James J Angel.
                                                 (Related document(s):1331 Disclosure Statement)
 10/15/2020                 (16 pgs)             (mmap) (Entered: 10/15/2020)

                            1394                 Affidavit Re: Affidavit of Publication of The
                                                 Philadelphia Inquirer (Filed By Chesapeake
                            (5 pgs)              Energy Corporation ).(Related document(s):1305
                                                 Generic Order) (Cavenaugh, Matthew) (Entered:
 10/15/2020                                      10/15/2020)

                            1395                 Affidavit Re: Affidavit of Publication of The New
                                                 York Times (Filed By Chesapeake Energy
                            (3 pgs)              Corporation ).(Related document(s):1305 Generic
                                                 Order) (Cavenaugh, Matthew) (Entered:
 10/15/2020                                      10/15/2020)

                            1396                 Affidavit Re: Affidavit of Publication of the
                                                 Houston Chronicle (Filed By Chesapeake Energy
                            (4 pgs)              Corporation ).(Related document(s):1305 Generic
                                                 Order) (Cavenaugh, Matthew) (Entered:
 10/15/2020                                      10/15/2020)

                            1397                 Notice of Appearance and Request for Notice
                                                 Filed by Vickie L Driver Filed by on behalf of
                            (3 pgs)              Jamestown Resources, LLC, Larchmont
                                                 Resources, LLC, Pelican Energy, LLC (Driver,




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 212 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 212 of 1639
                                                                           0212


 10/15/2020                                      Vickie) (Entered: 10/15/2020)

                            1398                 Notice of Appearance and Request for Notice
                                                 Filed by William Lake Hearne Filed by on behalf
                            (4 pgs)              of Louisiana Ad Hoc Royalty Group (Hearne,
 10/15/2020                                      William) (Entered: 10/15/2020)

                            1399                 Response (Filed By Louisiana Ad Hoc Royalty
                                                 Group ).(Related document(s):1150 Chapter 11
                            (15 pgs)             Plan, 1151 Disclosure Statement, 1330 Amended
                                                 Chapter 11 Plan, 1331 Disclosure Statement)
 10/15/2020                                      (Hearne, William) (Entered: 10/15/2020)

                            1400                 Response/Objection Filed by Jamestown
                                                 Resources, LLC, Larchmont Resources, LLC,
                            (8 pgs)              Pelican Energy, LLC. (Related document(s):1149
                                                 Generic Motion, 1331 Disclosure Statement)
 10/15/2020                                      (Hoch, William) (Entered: 10/15/2020)

                            1401                 Response/Objection Filed by EJS Investment
                                                 Holdings, LLC. (Related document(s):1331
                            (16 pgs)             Disclosure Statement) (Towber, Preston)
 10/15/2020                                      (Entered: 10/15/2020)

                            1402                 Response/Objection Filed by Rodney Hudson,
                                                 Allen Johnson. (Related document(s):1331
                            (9 pgs)              Disclosure Statement) (Knapp, Bradley) (Entered:
 10/15/2020                                      10/15/2020)

                            1403                 Certificate of Service (Filed By Rodney Hudson,
                                                 Allen Johnson ).(Relate$ document(s):1371
                            (74 pgs; 3 docs)     Notice) (Attachments: # 1 Exhibit 1 # 2 Exhibit 2)
 10/15/2020                                      (Knapp, Bradley) (Entered: 10/15/2020)

                            1404
                                                 E-Mail sent to Court by Gaynell Spigner (mmap)
 10/15/2020                 (2 pgs)              (Entered: 10/15/2020)

                            1405                 Response/Objection Filed by Byrd Family
                                                 Limited Partnership, Four P Family Holdings, LP.
                            (2 pgs)              (Related document(s):1331 Disclosure Statement)
 10/15/2020                                      (Bevis, Donald) (Entered: 10/15/2020)

                            1406
                                                 Objection Delasandro Objection to Disclosure
                                                 Statement [Doc. 1151 and 1331] (related
                            (5 pgs)
                                                 document(s):1149 Generic Motion). Filed by




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 213 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 213 of 1639
                                                                           0213


                                                 Stephanie Delasandro (Warman, Lynnette)
 10/15/2020                                      (Entered: 10/15/2020)

                            1407                 Response/Objection Filed by PMBG Parties.
                                                 (Related document(s):1331 Disclosure Statement)
 10/15/2020                 (25 pgs)             (Heard, Mary) (Entered: 10/15/2020)

                            1408                 Transcript RE: Motion Hearing Via Zoom/Video
                                                 held on October 15, 2020 before Judge David R.
                            (18 pgs)             Jones. Transcript is available for viewing in the
                                                 Clerk's Office. Filed by Transcript access will be
                                                 restricted through 01/13/2021. (mhen) (Entered:
 10/15/2020                                      10/15/2020)

                            1409                 Response Debtors' Objection to (I) Saundra
                                                 Nelson's Motion for Relief from Stay and (II)
                            (26 pgs)             Saundra Nelson's Motion for Adequate Protection
                                                 (related document(s):1236 Motion for Adequate
                                                 Protection). Filed by Chesapeake Energy
                                                 Corporation (Cavenaugh, Matthew) (Entered:
 10/15/2020                                      10/15/2020)

                            1410                 Response Debtors' Objection to J. Fleet Oil &
                                                 Gas Production Company, LLC and Martin
                            (14 pgs)             Producing, LLC's Motion for Relief from the
                                                 Automatic Stay as to the Debtors Chesapeake
                                                 Louisiana, LP, Chesapeake Operating, Inc.,
                                                 Chesapeake Energy Corporation, and
                                                 Chesapeake Energy Marketing, Inc. (related
                                                 document(s):1238 Motion for Relief From Stay).
                                                 Filed by Chesapeake Energy Corporation
 10/15/2020                                      (Cavenaugh, Matthew) (Entered: 10/15/2020)

                            1411                 Response/Objection Filed by Petty Business
                                                 Enterprises, LP, Petty Energy L.P. and their
                            (12 pgs)             related entities. (Related document(s):1149
                                                 Generic Motion, 1331 Disclosure Statement)
 10/15/2020                                      (Smith, Frances) (Entered: 10/15/2020)

                            1412                 Motion to Appear pro hac vice Andrew J.
                                                 Simpson. Filed by Creditor Committee Official
                            (1 pg)               Committee Of Unsecured Creditors (Harrison,
 10/15/2020                                      Julie) (Entered: 10/15/2020)

                            1413
                                                 Motion to Appear pro hac vice Uchechi
                                                 Egeonuigwe. Filed by Creditor Committee




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 214 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 214 of 1639
                                                                           0214


                            (1 pg)               Official Committee Of Unsecured Creditors
 10/15/2020                                      (Harrison, Julie) (Entered: 10/15/2020)

                            1414                 Notice of Deposition Schedule. Filed by Official
                                                 Committee Of Unsecured Creditors (Harrison,
 10/15/2020                 (2 pgs)              Julie) (Entered: 10/15/2020)

                            1415                 Amended Response/Objection Filed by PMBG
                                                 Parties. (Related document(s):1331 Disclosure
 10/15/2020                 (25 pgs)             Statement) (Heard, Mary) (Entered: 10/15/2020)

                            1416                 AO 435 TRANSCRIPT ORDER FORM (3-Day)
                                                 by William A. (Trey) Wood III. This is to order a
                            (2 pgs)              transcript of Hearing on October 15, 2020 at
                                                 10:30 a.m. CT before Judge David R. Jones.
                                                 Court Reporter/Transcriber: Access Transcripts
                                                 (Filed By Kinder Morgan Texas Pipeline LLC ).
                                                 (Wood, William) Copy Request electronically
                                                 forwarded to Judicial Transcribers of Texas on
                                                 October 16, 2020. Estimated completion date:
                                                 October 19, 2020 Modified on 10/16/2020
 10/15/2020                                      (ClaudiaGutierrez). (Entered: 10/15/2020)

                            1417                 Objection by Tributary Resources, LLC to
                                                 Debtors' Disclosure Statement (related document
                            (70 pgs; 2 docs)     (s):1149 Generic Motion). Filed by Tributary
                                                 Resources, LLC (Attachments: # 1 Exhibits 1-11)
 10/15/2020                                      (Martin, Jarrod) (Entered: 10/15/2020)

                            1418                 Corrected Objection by Tributary Resources, LLC
                                                 to Debtors' Disclosure Statement (related
                            (70 pgs; 2 docs)     document(s):1149 Generic Motion). Filed by
                                                 Tributary Resources, LLC (Attachments: # 1
                                                 Exhibits 1-11) (Martin, Jarrod) (Entered:
 10/15/2020                                      10/15/2020)

                            1419                 Response/Objection Filed by Official Committee
                                                 of Royalty Owners. (Related document(s):1330
                            (12 pgs)             Amended Chapter 11 Plan, 1331 Disclosure
                                                 Statement) (Brown, pllc, Deirdre) (Entered:
 10/15/2020                                      10/15/2020)

                            1420                 BNC Certificate of Mailing. (Related document
                                                 (s):1358 Notice of Filing of Official Transcript
                            (8 pgs)              (Form)) No. of Notices: 134. Notice Date
 10/15/2020                                      10/15/2020. (Admin.) (Entered: 10/16/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 215 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 215 of 1639
                                                                           0215


                            1421                 BNC Certificate of Mailing. (Related document
                                                 (s):1360 Notice of Filing of Official Transcript
                            (8 pgs)              (Form)) No. of Notices: 134. Notice Date
 10/15/2020                                      10/15/2020. (Admin.) (Entered: 10/16/2020)

                            1422                 BNC Certificate of Mailing. (Related document
                                                 (s):1349 Order on Motion to Appear pro hac vice)
                            (8 pgs)              No. of Notices: 134. Notice Date 10/15/2020.
 10/15/2020                                      (Admin.) (Entered: 10/16/2020)

                            1423                 BNC Certificate of Mailing. (Related document
                                                 (s):1350 Order on Application to Employ) No. of
                            (38 pgs)             Notices: 134. Notice Date 10/15/2020. (Admin.)
 10/15/2020                                      (Entered: 10/16/2020)

                            1426                 Response/Objection Filed by Commonwealth of
                                                 Pennsylvania, Department of Revenue. (Related
                            (24 pgs)             document(s):1330 Amended Chapter 11 Plan)
 10/15/2020                                      (BrendaLacy) (Entered: 10/16/2020)

                            1428
                                                 Motion to Appear pro hac vice Gregory W Watts.
 10/15/2020                 (1 pg)               (BrendaLacy) (Entered: 10/16/2020)

                            1424                 Notice of Filing of Official Transcript as to 1408
                                                 Transcript. Parties notified (Related document
 10/16/2020                 (1 pg)               (s):1408 Transcript) (dhan) (Entered: 10/16/2020)

                            1425
                                                 E-Mail to the Court by Gaynell Spigner (mmap)
 10/16/2020                 (2 pgs)              (Entered: 10/16/2020)

                            1427                 Notice of Appearance and Request for Notice
                                                 Filed by Tyler William Greenwood Filed by on
                            (2 pgs)              behalf of Tributary Resources, LLC (Greenwood,
 10/16/2020                                      Tyler) (Entered: 10/16/2020)

                            1429                 Certificate of No Objection (Filed By Chesapeake
                                                 Energy Corporation ).(Related document(s):1183
                            (7 pgs; 2 docs)      Generic Motion) (Attachments: # 1 Proposed
                                                 Order) (Cavenaugh, Matthew) (Entered:
 10/16/2020                                      10/16/2020)

                            1430
                                                 Statement / First Monthly Fee Statement of
                                                 AlixPartners, LLP, Financial Advisor to the
                            (95 pgs)
                                                 Official Committee of Unsecured Creditors for




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 216 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 216 of 1639
                                                                           0216


                                                 Allowance of Compensation for Services
                                                 Rendered and for Reimbursement of Expenses for
                                                 the Period July 14, 2020 through July 31, 2020
                                                 (Filed By Official Committee Of Unsecured
                                                 Creditors ). (Harrison, Julie) (Entered:
 10/16/2020                                      10/16/2020)

                            1431                 Objection to Debtors' Motion to Extend Time to
                                                 Reject or Assume Unexpired Nonresidential Real
                            (14 pgs)             Property Leases with certificate of service (related
                                                 do#ument(s):1228 Generic Motion). Filed by
                                                 PMBG Parties (Heard, Mary) (Entered:
 10/16/2020                                      10/16/2020)

                            1432                 Affidavit Re: Affidavit of Service of Marc Orfitelli
                                                 (Filed By Epiq Corporate Restructuring LLC ).
 10/16/2020                 (847 pgs)            (Garabato, Sid) (Entered: 10/16/2020)

                            1433                 Objection OFFICIAL COMMITTEE OF
                                                 ROYALTY OWNERS LIMITED OBJECTION TO
                            (8 pgs; 2 docs)      DEBTORS' MOTION FOR ENTRY OF AN
                                                 ORDER (I) EXTENDING THE TIME WITHIN
                                                 WHICH THE DEBTORS MUST ASSUME OR
                                                 REJECT UNEXPIRED LEASES OF
                                                 NONRESIDENTIAL REAL PROPERTY AND (II)
                                                 GRANTING RELATED RELIEF (related
                                                 document(s):1228 Generic Motion). Filed by
                                                 Official Committee of Royalty Owners
                                                 (Attachments: # 1 Proposed Order) (Brown, pllc,
 10/16/2020                                      Deirdre) (Entered: 10/16/2020)

                            1434                 BNC Certificate of Mailing. (Related document
                                                 (s):1373 Order on Application to Employ) No. of
                            (44 pgs)             Notices: 134. Notice Date 10/16/2020. (Admin.)
 10/16/2020                                      (Entered: 10/17/2020)

                            1435                 BNC Certificate of Mailing. (Related document
                                                 (s):1391 Order on Emergency Motion) No. of
                            (8 pgs)              Notices: 135. Notice Date 10/17/2020. (Admin.)
 10/17/2020                                      (Entered: 10/18/2020)

                            1436                 AO 435 TRANSCRIPT ORDER FORM (Daily
                                                 (24 hours)) by Jason Boland. This is to order a
                            (1 pg)               transcript of the October 15, 2020 hearing before
                                                 Judge David R. Jones. Court
                                                 Reporter/Transcriber: Judicial Transcribers of
                                                 Texas (Filed By Official Committee Of




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 217 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 217 of 1639
                                                                           0217


                                                 Unsecured Creditors ). (Boland, Jason) Copy
                                                 Request electronically forwarded to Judicial
                                                 Transcribers of Texas on October 21, 2020.
                                                 Estimated completion date: October 22, 2020.
                                                 Modified on 10/21/2020 (ClaudiaGutierrez).
 10/18/2020                                      (Entered: 10/18/2020)

                            1437                 BNC Certificate of Mailing. (Related document
                                                 (s):1424 Notice of Filing of Official Transcript
                            (8 pgs)              (Form)) No. of Notices: 137. Notice Date
 10/18/2020                                      10/18/2020. (Admin.) (Entered: 10/19/2020)

                            1438                 Order Granting Motion To Appear pro hac vice -
                                                 Brooksany Barrowes (Related Doc # 1378)
                            (1 pg)               Signed on 10/18/2020. (emiller) (Entered:
 10/18/2020                                      10/19/2020)

                            1439                 Order Granting Motion To Appear pro hac vice -
                                                 Joshua E. Austin (Related Doc # 1381) Signed on
 10/18/2020                 (1 pg)               10/18/2020. (emiller) (Entered: 10/19/2020)

                            1440                 Order Granting Motion To Appear pro hac vice -
                                                 James E. Key (Related Doc # 1385) Signed on
 10/18/2020                 (1 pg)               10/18/2020. (emiller) (Entered: 10/19/2020)

                            1441                 Order Granting Motion To Appear pro hac vice -
                                                 Andrew J. Simpson (Related Doc # 1412) Signed
 10/18/2020                 (1 pg)               on 10/18/2020. (emiller) (Entered: 10/19/2020)

                            1442                 Order Granting Motion To Appear pro hac vice -
                                                 Uchechi Egeonuigwe (Related Doc # 1413)
                            (1 pg)               Signed on 10/18/2020. (emiller) (Entered:
 10/18/2020                                      10/19/2020)

                            1443                 Order Granting Motion To Appear pro hac vice -
                                                 Gregory W. Watts (Related Doc # 1428) Signed
 10/19/2020                 (1 pg)               on 10/19/2020. (emiller) (Entered: 10/19/2020)

                            1444                 Declaration re: Declaration of John Stuart in
                                                 Support of Debtors' Application to Employ and
                            (9 pgs)              Retain Alvarez & Marsal North America, LLC as
                                                 Restructuring Advisors Pursuant to Sections 327
                                                 (a) and 328 of the Bankruptcy Code Effective as
                                                 of June 28, 2020 (Filed By Chesapeake Energy
                                                 Corporation ). (Cavenaugh, Matthew) (Entered:
 10/19/2020                                      10/19/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 218 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 218 of 1639
                                                                           0218


                            1445
                                                 E-Mail sent to Court (mmap) (Entered:
 10/19/2020                 (2 pgs)              10/19/2020)

                            1446
                                                 Letter from John Dough (JeannieAndresen)
 10/19/2020                 (5 pgs)              (Entered: 10/19/2020)

                            1447
                                                 Letter from Eric Magnusson (JeannieAndresen)
 10/19/2020                 (2 pgs)              (Entered: 10/19/2020)

                            1448                 Motion for Relief from Stay . Fee Amount $181.
                                                 Filed by Creditors Justin Cobb, Kristine Cobb,
                            (67 pgs; 4 docs)     Linda Milanovich Hearing scheduled for
                                                 11/20/2020 at 02:00 PM at Houston, Courtroom
                                                 400 (DRJ). (Attachments: # 1 Exhibit A # 2
                                                 Proposed Order # 3 Service List) (Rukavina,
 10/19/2020                                      Davor) (Entered: 10/19/2020)

                                                 Receipt of Motion for Relief From Stay(20-
                                                 33233) [motion,mrlfsty] ( 181.00) Filing Fee.
                                                 Receipt number 22519329. Fee amount $ 181.00.
 10/19/2020                                      (U.S. Treasury) (Entered: 10/19/2020)

                            1449                 Motion to Extend Deadline Under 11 U.S.C. §
                                                 523 and Bankruptcy Rule 4007 Filed by Creditor
                            (6 pgs; 2 docs)      Tributary Resources, LLC (Attachments: # 1
                                                 Proposed Order) (Martin, Jarrod) (Entered:
 10/19/2020                                      10/19/2020)

                            1450                 Application for Administrative Expenses Claim
                                                 Pursuant to § 503(B). Objections/Request for
                            (82 pgs; 3 docs)     Hearing Due in 21 days. Filed by Creditor
                                                 Tributary Resources, LLC (Attachments: # 1
                                                 Exhibits 1-11 # 2 Proposed Order) (Martin,
 10/19/2020                                      Jarrod) (Entered: 10/19/2020)

                            1451                 Motion for Relief from Stay to Pursue Quiet Title
                                                 Action. Fee Amount $181. Filed by Creditor
                            (86 pgs; 3 docs)     Tributary Resources, LLC Hearing scheduled for
                                                 11/20/2020 at 02:00 PM at Houston, Courtroom
                                                 400 (DRJ). (Attachments: # 1 Exhibits 1-11 # 2
                                                 Proposed Order) (Martin, Jarrod) (Entered:
 10/19/2020                                      10/19/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 219 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 219 of 1639
                                                                           0219


                                                 Receipt of Motion for Relief From Stay(20-
                                                 33233) [motion,mrlfsty] ( 181.00) Filing Fee.
                                                 Receipt number 22520148. Fee amount $ 181.00.
 10/19/2020                                      (U.S. Treasury) (Entered: 10/19/2020)

                            1452                 Order Authorizing the Retention and Employment
                                                 of Ernst & Young LLP as Restructuring,
                            (71 pgs)             Accounting, Tax and Advisory Services Provider
                                                 to the Debtors Effective as of June 29, 2020
                                                 (Related Doc # 1176) Signed on 10/19/2020.
 10/19/2020                                      (emiller) (Entered: 10/19/2020)

                            1453                 Stipulation and Agreed Order (I) Authorizing the
                                                 Debtors to Enter into and Perform Under
                            (5 pgs)              Postpetition Transactions and Agreements with
                                                 Morgan Stanley Capital Group, Inc., (II) Granting
                                                 Administrative Expense Claims, and (III)
                                                 Granting Related Relief Signed on 10/19/2020
                                                 (Related document(s):1388 Stipulation) (emiller)
 10/19/2020                                      (Entered: 10/19/2020)

                            1454                 Exhibit List, Witness List (Filed By Official
                                                 Committee of Royalty Owners ).(Related
                            (4185 pgs; 4 docs)   document(s):1228 Generic Motion, 1431
                                                 Objection, 1433 Objection) (Attachments: # 1
                                                 Exhibit 1_Schedules CHK Operating # 2 Exhibit
                                                 2_Schedules (first filed) # 3 Exhibit 3_Email with
                                                 341 Questions) (Brown, pllc, Deirdre) (Entered:
 10/19/2020                                      10/20/2020)

                            1455                 Sealed Document - ROC Exhibit 4 _Dell Osso
                                                 Deposition Transcript (without exhibits) (Filed By
                            (289 pgs)            Official Committee of Royalty Owners ). (Brown,
 10/20/2020                                      pllc, Deirdre) (Entered: 10/20/2020)

                            1456                 Notice of Electronic Hearing on 365(d)(4)
                                                 Motion. (Related document(s):1228 Generic
                            (5 pgs)              Motion) Filed by Chesapeake Energy Corporation
 10/20/2020                                      (Cavenaugh, Matthew) (Entered: 10/20/2020)

                            1457                 Notice of Appearance and Request for Notice
                                                 Filed by William Lake Hearne Filed by on behalf
                            (2 pgs)              of Saundra Nelson (Hearne, William) (Entered:
 10/20/2020                                      10/20/2020)

                            1458
                                                 Witness List (Filed By Saundra Nelson ).(Related




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 220 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 220 of 1639
                                                                           0220


                                                 document(s):1235 Motion for Relief From Stay,
                            (5 pgs)              1236 Motion for Adequate Protection) (Hearne,
 10/20/2020                                      William) (Entered: 10/20/2020)

                            1459                 Witness List, Exhibit List (Filed By Chesapeake
                                                 Energy Corporation ).(Related document(s):1200
                            (3 pgs)              Motion for Relief From Stay, 1201 Motion for
                                                 Adequate Protection) (Cavenaugh, Matthew)
 10/20/2020                                      (Entered: 10/20/2020)

                            1460                 Witness List, Exhibit List (Filed By Chesapeake
                                                 Energy Corporation ).(Related document(s):1235
                            (3 pgs)              Motion for Relief From Stay, 1236 Motion for
                                                 Adequate Protection, 1238 Motion for Relief
                                                 From Stay, 1456 Notice) (Cavenaugh, Matthew)
 10/20/2020                                      (Entered: 10/20/2020)

                            1461                 Witness List, Exhibit List (Filed By Rodney
                                                 Hudson, Allen Johnson ).(Related document
                            (312 pgs; 25 docs)   (s):1200 Motion for Relief From Stay, 1201
                                                 Motion for Adequate Protection) (Attachments: #
                                                 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit
                                                 4 # 5 Exhibit 5 # 6 Exhibit 6 # 7 Exhibit 7 # 8
                                                 Exhibit 8 # 9 Exhibit 9 # 10 Exhibit 10 # 11
                                                 Exhibit 11 # 12 Exhibit 12 # 13 Exhibit 13 # 14
                                                 Exhibit 14 # 15 Exhibit 15 # 16 Exhibit 16 # 17
                                                 Exhibit 17 # 18 Exhibit 18 # 19 Exhibit 19 # 20
                                                 Exhibit 20 # 21 Exhibit 21 # 22 Exhibit 22 # 23
                                                 Exhibit 23 # 24 Exhibit 24) (Knapp, Bradley)
 10/20/2020                                      (Entered: 10/20/2020)

                            1462                 Sealed Document UMO Exhibit 25 to Allen
                                                 Johnson, et al. and Rodney Hudson, et al.'s
                            (4 pgs)              Witness and Exhibit List for Hearing Scheduled
                                                 for October 22, 2020 at 9:00 a.m. (Filed By
                                                 Rodney Hudson, Allen Johnson ). (Knapp,
 10/20/2020                                      Bradley) (Entered: 10/20/2020)

                            1463
                                                 E-Mail by Gaynell Spigner (mmap) (Entered:
 10/20/2020                 (2 pgs)              10/20/2020)

                            1464                 Certificate of No Objection with Respect to the
                                                 Motion to Extend the Exclusivity Periods to File a
                            (5 pgs; 2 docs)      Chapter 11 Plan and Solicit Acceptances Thereof
                                                 (Filed By Chesapeake Energy Corporation ).
                                                 (Related document(s):1227 Generic Motion)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 221 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 221 of 1639
                                                                           0221


                                                 (Attachments: # 1 Proposed Order) (Cavenaugh,
 10/20/2020                                      Matthew) (Entered: 10/20/2020)

                            1465                 Stipulation By Chesapeake Energy Corporation
                                                 and Gavilan Resources, LLC. Does this document
                            (5 pgs)              include an agreed order or otherwise request that
                                                 the judge sign a document? Yes. (Filed By
                                                 Chesapeake Energy Corporation ). (Cavenaugh,
 10/20/2020                                      Matthew) (Entered: 10/20/2020)

                            1466                 Motion for Entry of an Order (I) Authorizing the
                                                 Rejection of the Houston Lease and Sublease
                            (20 pgs; 2 docs)     Effective as of October 30, 2020 and (II) Granting
                                                 Related Relief Filed by Debtor Chesapeake
                                                 Energy Corporation (Attachments: # 1 Proposed
                                                 Order) (Cavenaugh, Matthew) (Entered:
 10/20/2020                                      10/20/2020)

                            1467                 Joint Stipulation and Agreed Order by and
                                                 Among Debtors and Eloy Fira Granting Relief
                            (6 pgs)              from the Automatic Stay Signed on 10/20/2020
                                                 (Related document(s):1328 Stipulation)
 10/20/2020                                      (VrianaPortillo) (Entered: 10/20/2020)

                            1468                 Exhibit List (Filed By Rodney Hudson, Allen
                                                 Johnson ).(Related document(s):1200 Motion for
                            (50 pgs; 10 docs)    Relief From Stay, 1201 Motion for Adequate
                                                 Protection, 1461 Witness List, Exhibit List, 1462
                                                 Sealed Document) (Attachments: # 1 Exhibit 26 #
                                                 2 Exhibit 27 # 3 Exhibit 28 # 4 Exhibit 29 # 5
                                                 Exhibit 30 # 6 Exhibit 31 # 7 Exhibit 32 # 8
                                                 Exhibit 33 # 9 Exhibit 34) (Knapp, Bradley)
 10/20/2020                                      (Entered: 10/20/2020)

                            1469                 Reply in Support of the Motion for Relief from
                                                 Stay (Dkt. 1200) and Motion for Adequate
                            (16 pgs)             Protection (Dkt. 1201) (related document(s):1200
                                                 Motion for Relief From Stay, 1201 Motion for
                                                 Adequate Protection). Filed by Rodney Hudson,
                                                 Allen Johnson (Knapp, Bradley) (Entered:
 10/21/2020                                      10/21/2020)

                            1470                 Reply in Support of Debtors' Motion for Entry of
                                                 an Order (I) Extending the Time Within Which the
                            (16 pgs; 3 docs)     Debtors Must Assume or Reject Unexpired Leases
                                                 of Nonresidential Real Property and (II) Granting
                                                 Related Relief (related document(s):1228 Generic




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 222 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 222 of 1639
                                                                           0222


                                                 Motion). Filed by Chesapeake Energy
                                                 Corporation (Attachments: # 1 Proposed Order #
                                                 2 Exhibit B - Redline) (Cavenaugh, Matthew)
 10/21/2020                                      (Entered: 10/21/2020)

                            1471
                                                 Letter from John Dough (JeannieAndresen)
 10/21/2020                 (2 pgs)              (Entered: 10/21/2020)

                            1472                  Declaration re: Declaration of Disinterestedness
                                                  of Littler Mendelson, PC Pursuant to the Order
                            (4 pgs)               Authorizing the Retention and Compensation of
                                                  Certain Professionals Utilized in the Ordinary
                                                  Course of Business (Filed By Chesapeake
                                                  Energy Corporation ). (Cavenaugh, Matthew)
 10/21/2020                                       (Entered: 10/21/2020)

                            1473                  Declaration re: Declaration of Disinterestedness
                                                  of Merit Advisors, LLC Pursuant to the Order
                            (5 pgs)               Authorizing the Retention and Compensation of
                                                  Certain Professionals Utilized in the Ordinary
                                                  Course of Business (Filed By Chesapeake
                                                  Energy Corporation ). (Cavenaugh, Matthew)
 10/21/2020                                       (Entered: 10/21/2020)

                            1474
                                                  Witness List (Filed By Saundra Nelson ).
 10/21/2020                 (6 pgs)               (Hearne, William) (Entered: 10/21/2020)

                            1475                  Proposed Order RE: Order (I) Extending the
                                                  Time Within Which the Debtors Must Assume or
                            (8 pgs; 2 docs)       Reject Unexpired Leases of Nonresidential Real
                                                  Property and (II) Granting Related Relief (Filed
                                                  By Chesapeake Energy Corporation ).(Related
                                                  document(s):1228 Generic Motion)
                                                  (Attachments: # 1 Redline) (Cavenaugh,
 10/21/2020                                       Matthew) (Entered: 10/21/2020)

                            1476                  Motion to Set Hearing. Filed by Interested Party
                                                  Kenneth Stewart (JenniferLongoria) (Entered:
 10/21/2020                 (30 pgs)              10/21/2020)

                            1477                  Withdraw Document (Filed By Tributary
                                                  Resources, LLC ).(Related document(s):1449
                            (2 pgs)               Generic Motion) (Martin, Jarrod) (Entered:
 10/21/2020                                       10/21/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 223 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 223 of 1639
                                                                           0223


                            1478                  Agenda for Hearing on 10/22/2020 (Filed By
                                                  Chesapeake Energy Corporation ). (Cavenaugh,
 10/21/2020                 (4 pgs)               Matthew) (Entered: 10/21/2020)

                            1479                  Agenda for Hearing on 10/22/2020 (Filed By
                                                  Chesapeake Energy Corporation ). (Cavenaugh,
 10/21/2020                 (4 pgs)               Matthew) (Entered: 10/21/2020)

                            1480                  BNC Certificate of Mailing. (Related document
                                                  (s):1438 Order on Motion to Appear pro hac
                            (8 pgs)               vice) No. of Notices: 137. Notice Date
 10/21/2020                                       10/21/2020. (Admin.) (Entered: 10/22/2020)

                            1481                  BNC Certificate of Mailing. (Related document
                                                  (s):1439 Order on Motion to Appear pro hac
                            (8 pgs)               vice) No. of Notices: 137. Notice Date
 10/21/2020                                       10/21/2020. (Admin.) (Entered: 10/22/2020)

                            1482                  BNC Certificate of Mailing. (Related document
                                                  (s):1440 Order on Motion to Appear pro hac
                            (8 pgs)               vice) No. of Notices: 137. Notice Date
 10/21/2020                                       10/21/2020. (Admin.) (Entered: 10/22/2020)

                            1483                  BNC Certificate of Mailing. (Related document
                                                  (s):1441 Order on Motion to Appear pro hac
                            (8 pgs)               vice) No. of Notices: 137. Notice Date
 10/21/2020                                       10/21/2020. (Admin.) (Entered: 10/22/2020)

                            1484                  BNC Certificate of Mailing. (Related document
                                                  (s):1442 Order on Motion to Appear pro hac
                            (8 pgs)               vice) No. of Notices: 137. Notice Date
 10/21/2020                                       10/21/2020. (Admin.) (Entered: 10/22/2020)

                            1485                  BNC Certificate of Mailing. (Related document
                                                  (s):1443 Order on Motion to Appear pro hac
                            (8 pgs)               vice) No. of Notices: 137. Notice Date
 10/21/2020                                       10/21/2020. (Admin.) (Entered: 10/22/2020)

                            1486
                                                  AO 435 TRANSCRIPT ORDER FORM (Daily
                            (1 pg)                (24 hours)) by Matthew D. Cavenaugh. This is to
                                                  order a transcript of 10/22/2020 before Judge
                                                  David R. Jones. Court Reporter/Transcriber:
                                                  Access Transcripts (Filed By Chesapeake
                                                  Energy Corporation ). (Cavenaugh, Matthew)
                                                  Electronically forwarded to Access Transcripts
                                                  on 10-27-2020. Estimated completion date: 10-




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 224 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 224 of 1639
                                                                           0224


                                                  28-2020. Modified on 10/27/2020
 10/22/2020                                       (MelissaMorgan). (Entered: 10/22/2020)

                            1487                  AO 435 TRANSCRIPT ORDER FORM (Daily
                                                  (24 hours)) by Jason Boland. This is to order a
                            (1 pg)                transcript of the October 22, 2020 hearing before
                                                  Judge David R. Jones. Court
                                                  Reporter/Transcriber: Access Transcripts (Filed
                                                  By Official Committee Of Unsecured
                                                  Creditors ). (Boland, Jason) Copy Request
                                                  electronically forwarded to Access Transcripts
                                                  on October 27, 2020. Estimated completion date:
                                                  October 28, 2020. Modified on 10/27/2020
 10/22/2020                                       (ClaudiaGutierrez). (Entered: 10/22/2020)

                            1488                  Courtroom Minutes. Time Hearing Held: 9:00
                                                  AM. Appearances: see attached. After
                            (2 pgs)               conferring, the parties have agreed to continue
                                                  today's hearing. (Related document(s):1200
                                                  Motion for Relief From Stay, 1201 Motion for
                                                  Adequate Protection, 1235 Motion for Relief
                                                  From Stay, 1236 Motion for Adequate
                                                  Protection) Hearing rescheduled for
                                                  10/30/2020 at 09:30 AM by telephone and
 10/22/2020                                       video conference. (aalo) (Entered: 10/22/2020)

                            1489                      PDF with attached Audio File. Court Date &
                                                  Time [ 10/22/2020 8:58:00 AM ]. File Size
                            (1 pg)                [ 13880 KB ]. Run Time [ 00:28:55 ]. (admin).
 10/22/2020                                       (Entered: 10/22/2020)

                            1490                      PDF with attached Audio File. Court Date &
                                                  Time [ 10/22/2020 10:31:05 AM ]. File Size
                            (1 pg)                [ 10255 KB ]. Run Time [ 00:21:22 ]. (admin).
 10/22/2020                                       (Entered: 10/22/2020)

                            1491                  Notice to Contract Parties to Potentially
                                                  Assumed Executory Contracts and Unexpired
                            (54 pgs)              Leases. (Related document(s):1305 Generic
                                                  Order) Filed by Chesapeake Energy Corporation
 10/22/2020                                       (Cavenaugh, Matthew) (Entered: 10/22/2020)

                            1492                  Notice of Appearance and Request for Notice
                                                  Filed by Ekaterina Long Filed by on behalf of
                            (3 pgs)               Robert L Bennett (Long, Ekaterina) (Entered:
 10/22/2020                                       10/22/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 225 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 225 of 1639
                                                                           0225


                            1493                  Affidavit Re: Affidavit of Publication - The
                                                  Oklahoman (Filed By Chesapeake Energy
                            (3 pgs)               Corporation ). (Cavenaugh, Matthew) (Entered:
 10/22/2020                                       10/22/2020)

                            1494                  Affidavit Re: Affidavit of Publication - The
                                                  Advocate (Filed By Chesapeake Energy
                            (4 pgs)               Corporation ). (Cavenaugh, Matthew) (Entered:
 10/22/2020                                       10/22/2020)

                            1495                  Affidavit Re: Affidavit of Publication - Billings
                                                  Gazette (Filed By Chesapeake Energy
                            (3 pgs)               Corporation ). (Cavenaugh, Matthew) (Entered:
 10/22/2020                                       10/22/2020)

                            1496                  Affidavit Re: Affidavit of Publication - Canton
                                                  Repository (Filed By Chesapeake Energy
                            (3 pgs)               Corporation ). (Cavenaugh, Matthew) (Entered:
 10/22/2020                                       10/22/2020)

                            1497
                                                  E-Mail by Gaynell Spigner (mmap) (Entered:
 10/22/2020                 (8 pgs)               10/22/2020)

                            1498                  AO 435 TRANSCRIPT ORDER FORM (Daily
                                                  (24 hours)) by Marty L. Brimmage, Jr.. This is to
                            (1 pg)                order a transcript of the October 22, 2020
                                                  Hearing before Judge David R. Jones. Court
                                                  Reporter/Transcriber: Access Transcripts (Filed
                                                  By Franklin Advisers, Inc., as Investment
                                                  Manager on Behalf of Certain Funds and
                                                  Accounts ). (Brimmage, Marty) Copy request
                                                  was electronically forwarded to Access
                                                  Transcripts on 10-27-2020. Estimated
                                                  completion date: 10-28-2020. Modified on
                                                  10/27/2020 (MelissaMorgan). (Entered:
 10/22/2020                                       10/22/2020)

                            1499                  Courtroom Minutes. Time Hearing Held: 2:00
                                                  PM. Appearances: see attached. (Related
                            (2 pgs)               document(s):1228 Generic Motion, 1475
                                                  Proposed Order) For the reasons stated on the
                                                  record, the Court has approved the relief
                                                  requested at docket 1228. Additionally, it has
                                                  denied the motion for relief filed at 1238. (aalo)
 10/22/2020                                       (Entered: 10/22/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 226 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 226 of 1639
                                                                           0226


                            1500                  Affidavit Re: Affidavit of Publication - Casper
                                                  Star Tribune (Filed By Chesapeake Energy
                            (4 pgs)               Corporation ). (Cavenaugh, Matthew) (Entered:
 10/22/2020                                       10/22/2020)

                            1501                  Affidavit Re: Affidavit of Service of Angarahad
                                                  Bowdler (Filed By Epiq Corporate Restructuring
                            (22 pgs)              LLC ).(Related document(s):1261 Exhibit List,
                                                  Witness List, 1275 Declaration, 1276
                                                  Declaration, 1277 Emergency Motion (with
                                                  hearing date)) (Garabato, Sid) (Entered:
 10/22/2020                                       10/22/2020)

                            1502                  Affidavit Re: Affidavit of Service of Angarahad
                                                  Bowdler (Filed By Epiq Corporate Restructuring
                            (7 pgs)               LLC ).(Related document(s):1308 Stipulation,
                                                  1313 Declaration) (Garabato, Sid) (Entered:
 10/22/2020                                       10/22/2020)

                            1503                  Affidavit Re: Affidavit of Service of Angarahad
                                                  Bowdler (Filed By Epiq Corporate Restructuring
                            (21 pgs)              LLC ).(Related document(s):1353 Notice)
 10/22/2020                                       (Garabato, Sid) (Entered: 10/22/2020)

                            1504                  Objection (related document(s):1149 Generic
                                                  Motion). Filed by Paul M. Davis as Executor of
                            (21 pgs)              the Succession of John P. Davis, Jr., Coushatta
                                                  Bayou Land Co., JDP Real Estate, LLC,
                                                  Industrial Dev. Bd. of the Parish of Caddo, Inc.,
                                                  Caddo Parish (McCune, Patrick) (Entered:
 10/22/2020                                       10/22/2020)

                            1505                  BNC Certificate of Mailing. (Related document
                                                  (s):1452 Order on Application to Employ) No. of
                            (78 pgs)              Notices: 137. Notice Date 10/22/2020. (Admin.)
 10/22/2020                                       (Entered: 10/23/2020)

                            1506                  BNC Certificate of Mailing. (Related document
                                                  (s):1453 Generic Order) No. of Notices: 137.
                            (12 pgs)              Notice Date 10/22/2020. (Admin.) (Entered:
 10/22/2020                                       10/23/2020)

                            1507                  BNC Certificate of Mailing. (Related document
                                                  (s):1467 Generic Order) No. of Notices: 137.
                            (13 pgs)              Notice Date 10/22/2020. (Admin.) (Entered:
 10/22/2020                                       10/23/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 227 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 227 of 1639
                                                                           0227


                            1508                  Motion to Redact all Sensitive Information Filed
                                                  by Interested Party Gaynell Spigner (mmap)
 10/23/2020                 (1 pg)                (Entered: 10/23/2020)

                            1509                  Notice of Appearance and Request for Notice
                                                  Filed by Michael A Shiner Filed by on behalf of
                            (3 pgs)               Kenneth Alan Goddard, Phyllis Welcher,
                                                  Paulette Parker, Sarah Lynn Moxley, Susan
                                                  Gordon, Harry C. Crone, Bobby D. Crone,
                                                  Susan Goddard Martin, Bruce Goddard Sr.,
                                                  Ronald William Goddard, Francis R. Goddard,
                                                  Ronald Goddard, Shelton Goddard, Woodrow
                                                  Bailey, Wanda Sue Sayers, Judy Prock, Janet
 10/23/2020                                       Bullis (Shiner, Michael) (Entered: 10/23/2020)

                            1510                  Motion to Appear pro hac vice of Michael A.
                                                  Shiner. Filed by Creditors Woodrow Bailey,
                            (2 pgs)               Janet Bullis, Bobby D. Crone, Harry C. Crone,
                                                  Bruce Goddard Sr., Francis R. Goddard,
                                                  Kenneth Alan Goddard, Ronald Goddard,
                                                  Ronald William Goddard, Shelton Goddard,
                                                  Susan Gordon, Susan Goddard Martin, Sarah
                                                  Lynn Moxley, Paulette Parker, Judy Prock,
                                                  Wanda Sue Sayers, Phyllis Welcher (Shiner,
 10/23/2020                                       Michael) (Entered: 10/23/2020)

                            1511
                                                  E-Mail by Gaynell Spigner (mmap) (Entered:
 10/23/2020                 (3 pgs)               10/23/2020)

                            1512                  Objection (related document(s):1149 Generic
                                                  Motion). Filed by Deutsche Bank Trust
                            (22 pgs; 2 docs)      Company Americas (Attachments: # 1 Exhibit
 10/23/2020                                       A) (Carter, Winstol) (Entered: 10/23/2020)

                            1513                  Notice of Reset Hearing on Motions to Lift the
                                                  Automatic Stay of John H. Bedsole and Bedsole
                            (4 pgs)               Land Company and Rosa M. Byers. (Related
                                                  document(s):1248 Motion for Relief From Stay,
                                                  1249 Motion for Relief From Stay) Filed by
                                                  Chesapeake Energy Corporation (Cavenaugh,
 10/23/2020                                       Matthew) (Entered: 10/23/2020)

                            1514                  Notice of Perfection of Mineral Lien by Pilot
                                                  Thomas Logistics, LLC Pursuant to 11 U.S.C.
                            (34 pgs)              546(b)(2). Filed by Pilot Thomas Logistics, LLC
 10/23/2020                                       (Assink, Bryan) (Entered: 10/23/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 228 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 228 of 1639
                                                                           0228


                            1515                  Response/Objection Filed by Brandes
                                                  Investment Partners LP. (Related document
                            (3 pgs)               (s):1512 Objection) (Lowenthal, Daniel)
 10/23/2020                                       (Entered: 10/23/2020)

                            1516
                                                  E-Mail by Gaynell Spigner (mmap) (Entered:
 10/23/2020                 (5 pgs)               10/23/2020)

                            1517                  Debtors Master Service List (Filed By Epiq
                                                  Corporate Restructuring LLC ). (Garabato, Sid)
 10/23/2020                 (58 pgs)              (Entered: 10/23/2020)

                            1518                  Affidavit Re: Affidavit of Service of Angarahad
                                                  Bowdler (Filed By Epiq Corporate Restructuring
                            (24 pgs)              LLC ).(Related document(s):1279 Notice, 1285
                                                  Witness List, Exhibit List) (Garabato, Sid)
 10/23/2020                                       (Entered: 10/23/2020)

                            1519                  Affidavit Re: Affidavit of Service of Angarahad
                                                  Bowdler (Filed By Epiq Corporate Restructuring
                            (3 pgs)               LLC ).(Related document(s):1368 Notice)
 10/23/2020                                       (Garabato, Sid) (Entered: 10/23/2020)

                            1520                  Affidavit Re: Affidavit of Service of Angarahad
                                                  Bowdler (Filed By Epiq Corporate Restructuring
                            (19 pgs)              LLC ).(Related document(s):1377 Motion to
                                                  Approve Compromise under Rule 9019, 1380
 10/23/2020                                       Agenda) (Garabato, Sid) (Entered: 10/23/2020)

                            1521                  Affidavit Re: Affidavit of Service of Angarahad
                                                  Bowdler (Filed By Epiq Corporate Restructuring
                            (23 pgs)              LLC ).(Related document(s):1456 Notice, 1465
                                                  Stipulation) (Garabato, Sid) (Entered:
 10/23/2020                                       10/23/2020)

                            1522                  Affidavit Re: Affidavit of Service of Angarahad
                                                  Bowdler (Filed By Epiq Corporate Restructuring
                            (9 pgs)               LLC ).(Related document(s):1478 Agenda, 1479
 10/23/2020                                       Agenda) (Garabato, Sid) (Entered: 10/23/2020)

                            1523
                                                  Certificate of No Objection to Application of the
                            (19 pgs; 3 docs)      Official Committee of Unsecured Creditors for
                                                  Entry of an Order Authorizing the Retention of
                                                  Opportune LLP as Special Valuation and
                                                  Industry Advisor Effective as of September 1,




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 229 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 229 of 1639
                                                                           0229


                                                  2020 (Filed By Official Committee Of
                                                  Unsecured Creditors ).(Related document
                                                  (s):1256 Application to Employ) (Attachments:
                                                  # 1 Redline # 2 Proposed Order) (Harrison,
 10/24/2020                                       Julie) (Entered: 10/24/2020)

                            1524                  Certificate of No Objection to Application of the
                                                  Official Committee of Unsecured Creditors for
                            (19 pgs; 3 docs)      Entry of an Order Authorizing the Retention of
                                                  Back Bay Management Corporation and its
                                                  Division, the Michel-Shaked Group, as Expert
                                                  Valuation Consultant Effective as of September
                                                  1, 2020 (Filed By Official Committee Of
                                                  Unsecured Creditors ).(Related document
                                                  (s):1255 Application to Employ) (Attachments:
                                                  # 1 Redline # 2 Proposed Order) (Harrison,
 10/24/2020                                       Julie) (Entered: 10/24/2020)

                            1527                  Order Granting Motion To Appear pro hac vice -
                                                  Michael A. Shiner (Related Doc # 1510) Signed
 10/25/2020                 (2 pgs)               on 10/25/2020. (emiller) (Entered: 10/26/2020)

                            1525                  Proposed Order RE: Order Denying J. Fleet Oil
                                                  & Gas Production Company, L.L.C. and Martin
                            (4 pgs)               Producing, L.L.C.'s Motion for Relief from the
                                                  Automatic Stay as to the Debtors Chesapeake
                                                  Louisiana, L.P., Chesapeake Operating, Inc.,
                                                  Chesapeake Energy Corporation, and
                                                  Chesapeake Energy Marketing, Inc. (Filed By
                                                  Chesapeake Energy Corporation ).(Related
                                                  document(s):1238 Motion for Relief From Stay,
                                                  1410 Response) (Cavenaugh, Matthew)
 10/26/2020                                       (Entered: 10/26/2020)

                            1526
                                                  E-Mail to the Court by Gaynell Spigner (mmap)
 10/26/2020                 (17 pgs)              (Entered: 10/26/2020)

                            1528
                                                  Letter from Trang Nguyen (JeannieAndresen)
 10/26/2020                 (1 pg)                (Entered: 10/26/2020)

                            1529                  Objection (Energy Transfers Objection to the (I)
                                                  Amended Disclosure Statement for the Amended
                            (16 pgs)              Joint Chapter 11 Plan of Reorganization of
                                                  Chesapeake Energy Corporation and its Debtor
                                                  Affiliates and (II) Proposed Solicitation




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 230 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 230 of 1639
                                                                           0230


                                                  Procedures) (related document(s):1149 Generic
                                                  Motion). Filed by Sunoco Partners Marketing &
                                                  Terminals L.P., Regency Marcellus Gas
                                                  Gathering LLC, Regency Intrastate Gas LP, ETC
                                                  Marketing, Ltd., ETC Katy Pipeline, Ltd., ETC
                                                  Texas Pipeline Ltd., Energy Transfer Fuel, LP,
                                                  Houston Pipe Line Company, LP, Oasis Pipeline
 10/26/2020                                       L.P. (Crocker, Michaela) (Entered: 10/26/2020)

                            1530                  Emergency Motion TO CERTIFY CLASS OF
                                                  ROYALTY OWNERS FOR PURPOSES OF
                            (19 pgs; 3 docs)      FILING A CLASS PROOF OF CLAIM Filed by
                                                  Creditor Zehentbauer Family Land LP, et al
                                                  (Attachments: # 1 Exhibit 1 Class Members # 2
                                                  Proposed Order) (Watts, Gregory) (Entered:
 10/26/2020                                       10/26/2020)

                            1531
                                                  Order (Related Doc # 1227) Signed on
 10/26/2020                 (2 pgs)               10/26/2020. (aalo) (Entered: 10/26/2020)

                            1532
                                                  Order (Related Doc # 1228) Signed on
 10/26/2020                 (4 pgs)               10/26/2020. (aalo) (Entered: 10/26/2020)

                            1533
                                                  Order (Related Doc # 1256) Signed on
 10/26/2020                 (7 pgs)               10/26/2020. (aalo) (Entered: 10/26/2020)

                            1534
                                                  Order (Related Doc # 1255) Signed on
 10/26/2020                 (6 pgs)               10/26/2020. (aalo) (Entered: 10/26/2020)

                            1535                  Response/Objection Filed by The Bank of New
                                                  York Mellon Trust Company, N.A., Wilmington
                            (5 pgs)               Savings Fund Society, FSB. (Related document
                                                  (s):1331 Disclosure Statement) (Huckleberry,
 10/26/2020                                       Jennifer) (Entered: 10/26/2020)

                            1536
                                                  E-Mail by Gaynell Spigner (mmap) (Entered:
 10/26/2020                 (2 pgs)               10/26/2020)

                            1537
                                                  Certificate of Service (Filed By Deutsche Bank
                            (2 pgs)               Trust Company Americas ).(Related document
                                                  (s):1512 Objection) (Carter, Winstol) (Entered:




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 231 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 231 of 1639
                                                                           0231


 10/26/2020                                       10/26/2020)

                            1538                  Notice of Appearance and Request for Notice
                                                  Filed by Garland Doty Murphy Filed by on
                            (2 pgs)               behalf of BP America Production Company
 10/26/2020                                       (Murphy, Garland) (Entered: 10/26/2020)

                            1539                  Motion for 2004 Examination. Filed by Creditor
                                                  BP America Production Company (Attachments:
                            (9 pgs; 3 docs)       # 1 Exhibit A # 2 Exhibit B) (Murphy, Garland)
 10/26/2020                                       (Entered: 10/26/2020)

                            1540                  Stipulation By Chesapeake Energy Corporation
                                                  and Official Committee of Unsecured Creditors.
                            (3 pgs)               Does this document include an agreed order or
                                                  otherwise request that the judge sign a
                                                  document? No. (Filed By Chesapeake Energy
                                                  Corporation ). (Cavenaugh, Matthew) (Entered:
 10/26/2020                                       10/26/2020)

                            1541                  Withdraw Document (Filed By Pilot Thomas
                                                  Logistics, LLC ).(Related document(s):1514
 10/26/2020                 (2 pgs)               Notice) (Assink, Bryan) (Entered: 10/26/2020)

                            1542
                                                  E-mail by Gaynell Spigner (Attachments: # 1
 10/26/2020                 (2 pgs; 2 docs)       drawing) (mmap) (Entered: 10/26/2020)

                                                  Certificate of Telephone Notice. Contacted
                                                  Veronica Polnick. Movant to notice all interested
                                                  parties and file a certificate of service with the
                                                  court (Related document(s):1151 Disclosure
                                                  Statement, 1248 Motion for Relief From Stay,
                                                  1249 Motion for Relief From Stay) Hearing
                                                  scheduled for 11/6/2020 at 02:00 PM at
                                                  telephone and video conference. (aalo) (Entered:
 10/26/2020                                       10/26/2020)

                            1543
                                                  Emergency Motion of the Official Committee of
                            (10 pgs; 2 docs)      Unsecured Creditors to File Under Seal the
                                                  Emergency Motions of the Official Committee of
                                                  Unsecured Creditors for (I) Leave, Standing,
                                                  and Authority to Commence and Prosecute
                                                  Certain Claims and Causes of Action on Behalf
                                                  of the Debtors' Estates and (II) Exclusive
                                                  Settlement Authority, and Related Complaints




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 232 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 232 of 1639
                                                                           0232


                                                  Filed by Creditor Committee Official Committee
                                                  Of Unsecured Creditors (Attachments: # 1
                                                  Proposed Order) (Harrison, Julie) (Entered:
 10/26/2020                                       10/26/2020)

                            1544                  Sealed Document Sealed Emergency Motion of
                                                  the Official Committee of Unsecured Creditors
                            (181 pgs; 3 docs)     for (I) Leave, Standing, and Authority to
                                                  Commence and Prosecute Certain Claims and
                                                  Causes of Action on Behalf of the Debtors'
                                                  Estates and (II) Exclusive Settlement Authority
                                                  (Filed By Official Committee Of Unsecured
                                                  Creditors ). (Attachments: # 1 Exhibit A:
                                                  Proposed Order # 2 Exhibit B: Complaint)
 10/26/2020                                       (Harrison, Julie) (Entered: 10/26/2020)

                            1545                  Emergency Motion of the Official Committee of
                                                  Unsecured Creditors for (I) Leave, Standing,
                            (83 pgs; 3 docs)      and Authority to Commence and Prosecute
                                                  Certain Claims and Causes of Action on Behalf
                                                  of the Debtors' Estates and (II) Exclusive
                                                  Settlement Authority Filed by Creditor
                                                  Committee Official Committee Of Unsecured
                                                  Creditors (Attachments: # 1 Exhibit A: Proposed
                                                  Order # 2 Exhibit B: Complaint) (Harrison,
 10/26/2020                                       Julie) (Entered: 10/26/2020)

                            1546
                                                  Sealed Document Sealed Emergency Motion of
                            (3463 pgs; 27 docs)   the Official Committee of Unsecured Creditors
                                                  for (I) Leave, Standing, and Authority to
                                                  Commence and Prosecute Certain Lien Claims
                                                  and Causes of Action on Behalf of the Debtors'
                                                  Estates and (II) Exclusive Settlement Authority
                                                  (Filed By Official Committee Of Unsecured
                                                  Creditors ). (Attachments: # 1 Exhibit A:
                                                  Proposed Order # 2 Exhibit B: Complaint # 3
                                                  Exhibit A to Complaint # 4 Exhibit B to
                                                  Complaint # 5 Exhibit C to Complaint # 6
                                                  Exhibit D to Complaint # 7 Exhibit E to
                                                  Complaint # 8 Exhibit F to Complaint # 9
                                                  Exhibit G to Complaint # 10 Exhibit H to
                                                  Complaint # 11 Exhibit I to Complaint # 12
                                                  Exhibit J to Complaint # 13 Exhibit K to
                                                  Complaint # 14 Exhibit L to Complaint # 15
                                                  Exhibit M to Complaint # 16 Exhibit N to
                                                  Complaint # 17 Exhibit O to Complaint # 18
                                                  Exhibit P to Complaint # 19 Exhibit Q to




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 233 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 233 of 1639
                                                                           0233


                                                  Complaint # 20 Exhibit R to Complaint # 21
                                                  Exhibit S to Complaint # 22 Exhibit T to
                                                  Complaint # 23 Exhibit U to Complaint # 24
                                                  Exhibit V to Complaint # 25 Exhibit W to
                                                  Complaint # 26 Exhibit X to Complaint)
 10/26/2020                                       (Harrison, Julie) (Entered: 10/26/2020)

                            1547                  Emergency Motion of the Official Committee of
                                                  Unsecured Creditors for (I) Leave, Standing,
                            (3143 pgs; 27 docs)   and Authority to Commence and Prosecute
                                                  Certain Lien Claims and Causes of Action on
                                                  Behalf of the Debtors' Estates and (II) Exclusive
                                                  Settlement Authority Filed by Creditor
                                                  Committee Official Committee Of Unsecured
                                                  Creditors (Attachments: # 1 Exhibit A: Proposed
                                                  Order # 2 Exhibit B: Complaint # 3 Exhibit A to
                                                  Complaint # 4 Exhibit B to Complaint # 5
                                                  Exhibit C to Complaint # 6 Exhibit D to
                                                  Complaint # 7 Exhibit E to Complaint # 8
                                                  Exhibit F to Complaint # 9 Exhibit G to
                                                  Complaint # 10 Exhibit H to Complaint # 11
                                                  Exhibit I to Complaint # 12 Exhibit J to
                                                  Complaint # 13 Exhibit K to Complaint # 14
                                                  Exhibit L to Complaint # 15 Exhibit M to
                                                  Complaint # 16 Exhibit N to Complaint # 17
                                                  Exhibit O to Complaint # 18 Exhibit P to
                                                  Complaint # 19 Exhibit Q to Complaint # 20
                                                  Exhibit R to Complaint # 21 Exhibit S to
                                                  Complaint # 22 Exhibit T to Complaint # 23
                                                  Exhibit U to Complaint # 24 Exhibit V to
                                                  Complaint # 25 Exhibit W to Complaint # 26
                                                  Exhibit X to Complaint) (Harrison, Julie)
 10/26/2020                                       (Entered: 10/26/2020)

                            1548
                                                  Emergency Motion of the Official Committee of
                            (9 pgs; 2 docs)       Unsecured Creditors to File Under Seal
                                                  Objection to the Debtors' Motion For Entry Of
                                                  An Order (I) Approving The Adequacy Of The
                                                  Disclosure Statement, (II) Approving The
                                                  Solicitation Procedures With Respect To
                                                  Confirmation Of The Debtors Proposed Chapter
                                                  11 Plan, (III) Approving The Forms Of Ballots
                                                  And Notices In Connection Therewith, (IV)
                                                  Approving The Rights Offering Procedures And
                                                  Related Materials, (V) Scheduling Certain Dates
                                                  With Respect Thereto, And (VI) Granting
                                                  Related Relief Filed by Creditor Committee




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 234 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 234 of 1639
                                                                           0234


                                                  Official Committee Of Unsecured Creditors
                                                  (Attachments: # 1 Proposed Order) (Harrison,
 10/26/2020                                       Julie) (Entered: 10/26/2020)

                            1549                  Sealed Document Sealed Objection of the
                                                  Official Committee of Unsecured Creditors to
                            (40 pgs; 2 docs)      Debtors Motion For Entry Of An Order (I)
                                                  Approving The Adequacy Of The Disclosure
                                                  Statement, (II) Approving The Solicitation
                                                  Procedures With Respect To Confirmation Of
                                                  The Debtors Proposed Chapter 11 Plan, (III)
                                                  Approving The Forms Of Ballots And Notices In
                                                  Connection Therewith, (IV) Approving The
                                                  Rights Offering Procedures And Related
                                                  Materials, (V) Scheduling Certain Dates With
                                                  Respect Thereto, And (VI) Granting Related
                                                  Relief (Filed By Official Committee Of
                                                  Unsecured Creditors ). (Attachments: # 1 Exhibit
 10/26/2020                                       A) (Harrison, Julie) (Entered: 10/26/2020)

                            1550                  Objection of the Official Committee of
                                                  Unsecured Creditors to the Debtors Motion For
                            (40 pgs; 2 docs)      Entry Of An Order (I) Approving The Adequacy
                                                  Of The Disclosure Statement, (II) Approving The
                                                  Solicitation Procedures With Respect To
                                                  Confirmation Of The Debtors Proposed Chapter
                                                  11 Plan, (III) Approving The Forms Of Ballots
                                                  And Notices In Connection Therewith, (IV)
                                                  Approving The Rights Offering Procedures And
                                                  Related Materials, (V) Scheduling Certain Dates
                                                  With Respect Thereto, And (VI) Granting
                                                  Related Relief (related document(s):1149
                                                  Generic Motion). Filed by Official Committee
                                                  Of Unsecured Creditors (Attachments: # 1
                                                  Exhibit A) (Harrison, Julie) (Entered:
 10/26/2020                                       10/26/2020)

                            1551
                                                  E-Mail by Gaynell Spigner (mmap) (Entered:
 10/27/2020                 (2 pgs)               10/27/2020)

                            1552                  Notice of Change of Address Filed by Joe
                                                  Gordon Hoffman Trust (JosephWells) (Entered:
 10/27/2020                 (1 pg)                10/27/2020)

                            1553
                                                  Letter from Shareholder John Dough




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 235 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 235 of 1639
                                                                           0235


 10/27/2020                 (5 pgs)               (JeannieAndresen) (Entered: 10/27/2020)

                                                  Certificate of Telephone Notice. Contacted
                                                  Veronica Polnick. Movant to notice all interested
                                                  parties and file a certificate of service with the
                                                  court (Related document(s):1331 Disclosure
                                                  Statement) The Disclosure Statement Hearing
                                                  is scheduled for 10/30/2020 at 09:30 AM by
                                                  telephone and video conference. (aalo)
 10/27/2020                                       (Entered: 10/27/2020)

                                                  Certificate of Telephone Notice. By agreement
                                                  of the parties, the hearing on the motion for
                                                  relief from stay has been adjourned to
                                                  11/20/2020 at 2:00 PM. The parties have also
                                                  agreed to a response deadline of 11/13/2020. The
                                                  Movant to notice all interested parties and file a
                                                  certificate of service with the court (Related
                                                  document(s):1249 Motion for Relief From Stay)
                                                  Hearing scheduled for 11/20/2020 at 02:00
                                                  PM by telephone and video conference. (aalo)
 10/27/2020                                       (Entered: 10/27/2020)

                            1554                  Stipulation By Chesapeake Energy Corporation
                                                  and Liberty Mutual Insurance Company. Does
                            (5 pgs)               this document include an agreed order or
                                                  otherwise request that the judge sign a
                                                  document? Yes. (Filed By Chesapeake Energy
                                                  Corporation ). (Cavenaugh, Matthew) (Entered:
 10/27/2020                                       10/27/2020)

                            1555                  Certificate of Service of Emergency Motion to
                                                  Certify Class of Royalty Owners for Purposes of
                            (67 pgs)              Filing a Class Proof of Claim (Filed By
                                                  Zehentbauer Family Land LP, et al ).(Related
                                                  document(s):1530 Emergency Motion) (Watts,
 10/27/2020                                       Gregory) (Entered: 10/27/2020)

                            1556                  Order Approving Joint Stipulation Extending the
                                                  Proof of Claim Filing Deadline for the Wier
                            (2 pgs)               Group Signed on 10/27/2020 (Related document
                                                  (s):1265 Stipulation) (VrianaPortillo) (Entered:
 10/27/2020                                       10/27/2020)

                            1557                  Joint Stipulation and Agreed Order by and
                                                  Among Debtors and Juan Carlos Alaniz
                            (5 pgs)               Granting Relief from the Automatic Stay Signed




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 236 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 236 of 1639
                                                                           0236


                                                  on 10/27/2020 (Related document(s):1308
                                                  Stipulation) (VrianaPortillo) (Entered:
 10/27/2020                                       10/27/2020)

                            1558                  Motion for Relief from Stay . Fee Amount $181.
                                                  Filed by Interested Party Madison Hendrix
                            (20 pgs; 2 docs)      Hearing scheduled for 11/20/2020 at 02:00 PM
                                                  at Houston, Courtroom 400 (DRJ).
                                                  (Attachments: # 1 Proposed Order) (Wexler,
 10/27/2020                                       Noah) (Entered: 10/27/2020)

                                                  Receipt of Motion for Relief From Stay(20-
                                                  33233) [motion,mrlfsty] ( 181.00) Filing Fee.
                                                  Receipt number 22542466. Fee amount $
 10/27/2020                                       181.00. (U.S. Treasury) (Entered: 10/27/2020)

                            1559                  Supplemental Notice of Auction for the Sale of
                                                  the Debtors' Mid-Con Assets Free and Clear of
                            (7 pgs)               any and all Claims, Interests, and
                                                  Encumbrances. (Related document(s):1305
                                                  Generic Order) Filed by Chesapeake Energy
                                                  Corporation (Cavenaugh, Matthew) (Entered:
 10/27/2020                                       10/27/2020)

                            1560                  Emergency Motion to Quash Eric Petroleum
                                                  Corporation and Eric Petroleum Utica, LLC's
                            (39 pgs; 5 docs)      Rule 2004 Notice Filed by Debtor Chesapeake
                                                  Energy Corporation (Attachments: # 1 Exhibit A
                                                  # 2 Exhibit B # 3 Exhibit C # 4 Proposed Order)
 10/27/2020                                       (Cavenaugh, Matthew) (Entered: 10/27/2020)

                            1561                  Stipulation By Chesapeake Energy Corporation
                                                  and CNOOC Energy U.S.A. LLC f/k/a OOGC
                            (5 pgs)               America LLC, Jamestown Resources, L.L.C.,
                                                  Larchmont Resources, L.L.C., Petty Business
                                                  Enterprises, LP. Does this document include an
                                                  agreed order or otherwise request that the judge
                                                  sign a document? Yes. (Filed By Chesapeake
                                                  Energy Corporation ).(Related document(s):787
                                                  Generic Order) (Cavenaugh, Matthew) (Entered:
 10/27/2020                                       10/27/2020)

                            1562                  Notice of Appearance and Request for Notice
                                                  Filed by Louis J. Ebert Filed by on behalf of
                            (4 pgs; 2 docs)       Rummel Klepper & Kahl (DawnWaggoner)
                                                  Additional attachment(s) added on 10/28/2020
 10/27/2020                                       (DawnWaggoner). (Entered: 10/28/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 237 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 237 of 1639
                                                                           0237


                            1563                  Motion to Appear pro hac vice of Chad J.
                                                  Kutmas. Filed by Creditor Traci Hendrix
 10/28/2020                 (1 pg)                (Kutmas, Chad) (Entered: 10/28/2020)

                                                  Certificate of Telephone Notice. Contacted
                                                  Veronica Polnick. Movant to notice all interested
                                                  parties and file a certificate of service with the
                                                  court (Related document(s):1560 Emergency
                                                  Motion) Hearing scheduled for 10/28/2020 at
                                                  03:00 PM by telephone and video conference.
 10/28/2020                                       (aalo) (Entered: 10/28/2020)

                            1564                  E-Mail Objections to Midcon Tom Ward by
                                                  Gaynell Spigner (Related document(s):1559
 10/28/2020                 (1 pg)                Notice) (mmap) (Entered: 10/28/2020)

                            1565                  Exhibit List, Witness List (Filed By Official
                                                  Committee of Royalty Owners ).(Related
                            (3 pgs)               document(s):1149 Generic Motion, 1330
                                                  Amended Chapter 11 Plan, 1331 Disclosure
                                                  Statement, 1332 Proposed Order) (Brown, pllc,
 10/28/2020                                       Deirdre) (Entered: 10/28/2020)

                            1566                  Notice of Hearing. (Related document(s):1560
                                                  Emergency Motion, Certificate of Notice) Filed
                            (4 pgs)               by Chesapeake Energy Corporation (Cavenaugh,
 10/28/2020                                       Matthew) (Entered: 10/28/2020)

                            1567                Witness List, Exhibit List (Filed By Chesapeake
                                                Energy Corporation ).(Related document(s):
                            (394 pgs; 7 docs)   Certificate of Notice, Certificate of Notice)
                                                (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3
                                                Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6 Exhibit 6)
 10/28/2020                                     (Cavenaugh, Matthew) (Entered: 10/28/2020)

                            1568                Witness List, Exhibit List (Filed By Official
                                                Committee Of Unsecured Creditors ).(Related
                            (4 pgs)             document(s):1149 Generic Motion, 1549 Sealed
                                                Document, 1550 Objection) (Harrison, Julie)
 10/28/2020                                     (Entered: 10/28/2020)

                            1569
                                                Notice of Reset Hearing on Allen Johnson, et al.,
                            (4 pgs)             and Rodney Hudson, et al.'s Motion for Relief from
                                                Stay and Motion for Adequate Protection. (Related
                                                document(s):1200 Motion for Relief From Stay,
                                                1201 Motion for Adequate Protection) Filed by




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 238 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 238 of 1639
                                                                           0238


                                                Rodney Hudson, Allen Johnson (Knapp, Bradley)
 10/28/2020                                     (Entered: 10/28/2020)

                            1570                Witness List, Exhibit List (Filed By Chesapeake
                                                Energy Corporation ).(Related document(s):1560
                            (34 pgs; 4 docs)    Emergency Motion, Certificate of Notice, 1566
                                                Notice) (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 #
                                                3 Exhibit 3) (Cavenaugh, Matthew) (Entered:
 10/28/2020                                     10/28/2020)

                            1571                Notice of Appearance and Request for Notice Filed
                                                by Lynnette Randee Warman Filed by on behalf of
                            (3 pgs)             Stephanie Delasandro (Warman, Lynnette)
 10/28/2020                                     (Entered: 10/28/2020)

                            1572                Courtroom Minutes. Time Hearing Held: 3:00 pm.
                                                Appearances: SEE ATTACHED. (Related
                            (3 pgs)             document(s):1560 Emergency Motion) The motion
                                                to quash is granted and the proposed order was
                                                signed as modified on the record. (emiller)
 10/28/2020                                     (Entered: 10/28/2020)

                            1573                Statement / Second Monthly Fee Statement of
                                                AlixPartners, LLP, Financial Advisor to the
                            (135 pgs)           Official Committee of Unsecured Creditors for
                                                Allowance of Compensation for Services Rendered
                                                and for Reimbursement of Expenses for the Period
                                                August 1, 2020 through August 31, 2020 (Filed By
                                                Official Committee Of Unsecured Creditors ).
 10/28/2020                                     (Harrison, Julie) (Entered: 10/28/2020)

                            1574                Order Granting Emergency Motion to Quash Eric
                                                Petroleum Corporation and Eric Petroleum Utica,
                            (1 pg)              LLC's Rule 2004 Notice (Related Doc # 1560)
                                                Signed on 10/28/2020. (emiller) (Entered:
 10/28/2020                                     10/28/2020)

                            1575                    PDF with attached Audio File. Court Date &
                                                Time [ 10/28/2020 2:57:02 PM ]. File Size [ 10087
                            (1 pg)              KB ]. Run Time [ 00:21:01 ]. (admin). (Entered:
 10/28/2020                                     10/28/2020)

                            1576
                                                Transcript RE: Motion Hearing held on 10/22/20
                                                before Judge David R. Jones. Transcript is
                            (38 pgs)
                                                available for viewing in the Clerk's Office. Filed by
                                                Transcript access will be restricted through




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 239 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 239 of 1639
                                                                           0239


                                                01/26/2021. (AccessTranscripts) (Entered:
 10/28/2020                                     10/28/2020)

                            1577                Affidavit Re: Service of Docket Number 1513;
                                                Affidavit by Angharad Bowdler (Filed By Epiq
                            (21 pgs)            Corporate Restructuring LLC ).(Related document
                                                (s):1513 Notice) (Garabato, Sid) (Entered:
 10/28/2020                                     10/28/2020)

                            1578                Affidavit Re: Service of Docket Numbers 1470,
                                                1472 and 1473; Affidavit by Angharad Bowdler
                            (26 pgs)            (Filed By Epiq Corporate Restructuring LLC ).
                                                (Related document(s):1470 Reply, 1472
                                                Declaration, 1473 Declaration) (Garabato, Sid)
 10/28/2020                                     (Entered: 10/28/2020)

                            1579                Memorandum Opinion Signed on 10/28/2020
                                                (Related document(s):27 Emergency Motion)
 10/28/2020                 (9 pgs)             (emiller) (Entered: 10/28/2020)

                            1580                Order Signed on 10/28/2020 (Related document
                                                (s):27 Emergency Motion) (emiller) (Entered:
 10/28/2020                 (1 pg)              10/28/2020)

                            1581                Stipulation By Chesapeake Energy Corporation
                                                and Rodney Hudson, et al.. Does this document
                            (5 pgs)             include an agreed order or otherwise request that
                                                the judge sign a document? Yes. (Filed By
                                                Chesapeake Energy Corporation ). (Cavenaugh,
 10/28/2020                                     Matthew) (Entered: 10/28/2020)

                            1582                Emergency Motion of the Official Committee of
                                                Unsecured Creditors to File Under Seal Amended
                            (9 pgs; 2 docs)     Objection to the Debtors' Motion For Entry Of An
                                                Order (I) Approving The Adequacy Of The
                                                Disclosure Statement, (II) Approving The
                                                Solicitation Procedures With Respect To
                                                Confirmation Of The Debtors Proposed Chapter
                                                11 Plan, (III) Approving The Forms Of Ballots And
                                                Notices In Connection Therewith, (IV) Approving
                                                The Rights Offering Procedures And Related
                                                Materials, (V) Scheduling Certain Dates With
                                                Respect Thereto, And (VI) Granting Related Relief
                                                Filed by Creditor Committee Official Committee
                                                Of Unsecured Creditors (Attachments: # 1
                                                Proposed Order) (Harrison, Julie) (Entered:
 10/28/2020                                     10/28/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 240 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 240 of 1639
                                                                           0240


                            1583                Sealed Document / Sealed Amended Objection of
                                                the Official Committee of Unsecured Creditors to
                            (41 pgs; 2 docs)    the Debtors' Motion for Entry of an Order (I)
                                                Approving the Adequacy of the Disclosure
                                                Statement, (II) Approving the Solicitation
                                                Procedures with Respect to Confirmation of the
                                                Debtors' Proposed Chapter 11 Plan, (III)
                                                Approving the Forms of Ballots and Notices in
                                                Connection Therewith, (IV) Approving the Rights
                                                Offering Procedures and Related Materials, (V)
                                                Scheduling Certain Dates with Respect Thereto,
                                                and (VI) Granting Related Relief (Filed By Official
                                                Committee Of Unsecured Creditors ).
                                                (Attachments: # 1 Exhibit A) (Harrison, Julie)
 10/28/2020                                     (Entered: 10/28/2020)

                            1584                Objection / Amended Objection of the Official
                                                Committee of Unsecured Creditors to the Debtors'
                            (41 pgs; 2 docs)    Motion for Entry of an Order (I) Approving the
                                                Adequacy of the Disclosure Statement, (II)
                                                Approving the Solicitation Procedures with
                                                Respect to Confirmation of the Debtors' Proposed
                                                Chapter 11 Plan, (III) Approving the Forms of
                                                Ballots and Notices in Connection Therewith, (IV)
                                                Approving the Rights Offering Procedures and
                                                Related Materials, (V) Scheduling Certain Dates
                                                with Respect Thereto, and (VI) Granting Related
                                                Relief (related document(s):1149 Generic Motion).
                                                Filed by Official Committee Of Unsecured
                                                Creditors (Attachments: # 1 Exhibit A) (Harrison,
 10/28/2020                                     Julie) (Entered: 10/28/2020)

                            1585                BNC Certificate of Mailing. (Related document
                                                (s):1527 Order on Motion to Appear pro hac vice)
                            (9 pgs)             No. of Notices: 144. Notice Date 10/28/2020.
 10/28/2020                                     (Admin.) (Entered: 10/29/2020)

                            1586                BNC Certificate of Mailing. (Related document
                                                (s):1531 Generic Order) No. of Notices: 146.
                            (9 pgs)             Notice Date 10/28/2020. (Admin.) (Entered:
 10/28/2020                                     10/29/2020)

                            1587                BNC Certificate of Mailing. (Related document
                                                (s):1532 Generic Order) No. of Notices: 146.
                            (11 pgs)            Notice Date 10/28/2020. (Admin.) (Entered:
 10/28/2020                                     10/29/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 241 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 241 of 1639
                                                                           0241


                            1588                BNC Certificate of Mailing. (Related document
                                                (s):1533 Order on Application to Employ) No. of
                            (14 pgs)            Notices: 146. Notice Date 10/28/2020. (Admin.)
 10/28/2020                                     (Entered: 10/29/2020)

                            1589                BNC Certificate of Mailing. (Related document
                                                (s):1534 Order on Application to Employ) No. of
                            (13 pgs)            Notices: 146. Notice Date 10/28/2020. (Admin.)
 10/28/2020                                     (Entered: 10/29/2020)

                            1590
                                                E-Mail by Gaynell Spigner (Attachments: # 1
 10/29/2020                 (9 pgs; 3 docs)     Exhibit # 2 Exhibit) (mmap) (Entered: 10/29/2020)

                            1591                Notice of Filing of Official Transcript as to 1576
                                                Transcript. Parties notified (Related document
 10/29/2020                 (1 pg)              (s):1576 Transcript) (dhan) (Entered: 10/29/2020)

                            1592                Stipulation By RLI Insurance Company and
                                                Chesapeake Energy Corporation. Does this
                            (5 pgs)             document include an agreed order or otherwise
                                                request that the judge sign a document? Yes. (Filed
                                                By RLI Insurance Company ). (Dry, Ryan)
 10/29/2020                                     (Entered: 10/29/2020)

                            1593                Motion to Appear pro hac vice Montgomery L Lair.
                                                Filed by Creditor Traci Hendrix (mmap) (Entered:
 10/29/2020                 (1 pg)              10/29/2020)

                            1594                Motion to Appear pro hac vice Guy A. Fortney.
                                                Filed by Creditor Traci Hendrix (mmap) (Entered:
 10/29/2020                 (1 pg)              10/29/2020)

                            1595                Motion to Appear pro hac vice Clark O Brewster.
                                                Filed by Creditor Traci Hendrix (mmap) (Entered:
 10/29/2020                 (1 pg)              10/29/2020)

                            1596                Notice of Hearings. (Related document(s):1175
                                                Motion to Reconsider, 1293 Motion for Relief
                            (3 pgs)             From Stay) Filed by Stephanie Delasandro
 10/29/2020                                     (Warman, Lynnette) (Entered: 10/29/2020)

                            1597                Motion to Appear pro hac vice Beth E. Levine.
                                                Filed by Interested Party Madison Hendrix (mmap)
 10/29/2020                 (1 pg)              (Entered: 10/29/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 242 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 242 of 1639
                                                                           0242


                            1598                Motion to Appear pro hac vice Laura Davis Jones.
                                                Filed by Interested Party Madison Hendrix (mmap)
 10/29/2020                 (1 pg)              (Entered: 10/29/2020)

                            1599                Second Amended Chapter 11 Plan Filed by
                                                Chesapeake Energy Corporation. (Attachments: # 1
 10/29/r 020                (125 pgs; 2 docs)   Redline)(Peguero, Kristhy) (Entered: 10/29/2020)

                            1600                Disclosure Statement Filed by Chesapeake Energy
                                                Corporation. (Attachments: # 1 Redline)(Peguero,
 10/29/2020                 (288 pgs; 2 docs)   Kristhy) (Entered: 10/29/2020)

                            1601
                                                Notice of Objection. Filed by Lonzell Johnson Jr.
 10/29/2020                 (9 pgs)             (dnor) (Entered: 10/29/2020)

                            1602                Proposed Order RE: Order (I) Approving the
                                                Adequacy of the Disclosure Statement, (II)
                            (403 pgs; 2 docs)   Approving the Solicitation Procedures with
                                                Respect to the Confirmation of the Debtors'
                                                Proposed Chapter 11 Plan, (III) Approving the
                                                Forms of Ballots and Notices in Connection
                                                Therewith, (IV) Approving the Rights Offering
                                                Procedures and Related Materials, (V) Scheduling
                                                Certain Dates with Respect Thereto, and (VI)
                                                Granting Related Relief (Filed By Chesapeake
                                                Energy Corporation ).(Related document(s):1149
                                                Generic Motion) (Attachments: # 1 Redline)
 10/29/2020                                     (Peguero, Kristhy) (Entered: 10/29/2020)

                            1603                Omnibus Reply in Support of and in Response to
                                                Objections to Approval of the Adequacy of the
                            (193 pgs)           Disclosure Statement for the Amended Joint
                                                Chapter 11 Plan of Reorganization of Chesapeake
                                                Energy Corporation and its Debtor Affiliates
                                                (related document(s):1149 Generic Motion). Filed
                                                by Chesapeake Energy Corporation (Peguero,
 10/29/2020                                     Kristhy) (Entered: 10/29/2020)

                            1604                Withdrawal of Claim: 10022 filed by Epiq
                                                Corporate Restructuring, LLC on behalf of J&J
                            (11 pgs)            Excavating & Materials Co (Garabato, Sid)
 10/29/20r 0                                    (Entered: 10/29/2020)

                            1605
                                                Response - Joinder of MUFG Union Bank, N.A. In
                                                Support of Debtors' Disclosure Statement Motion




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 243 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 243 of 1639
                                                                           0243


                            (4 pgs)             (related document(s):1149 Generic Motion). Filed
                                                by MUFG Union Bank, N.A. (Quejada, Maegan)
 10/29/2020                                     (Entered: 10/29/2020)

                            1606                Motion for Relief from Stay . Fee Amount $181.
                                                Filed by Creditor Catherine Ramirez Hearing
                            (11 pgs; 2 docs)    scheduled for 12/4/2020 at 02:00 PM at Houston,
                                                Courtroom 400 (DRJ). (Attachments: # 1 Proposed
 10/29/2020                                     Order) (Lindauer, Joyce) (Entered: 10/29/2020)

                            1607                Notice /Joinder to the Debtors' Motion and Reply
                                                and Statement in Support of the Disclosure
                            (8 pgs)             Statement. Filed by Ad Hoc Group of FLLO Term
                                                Loan Lenders (Perrin, Harry) (Entered:
 10/29/2020                                     10/29/2020)

                            1608                Response Joinder and Reply of Franklin Advisers,
                                                Inc., as Investment Manager on Behalf of Certain
                            (7 pgs)             Funds and Accounts, to the Debtors' Omnibus
                                                Reply in Support of and in Response to Objections
                                                to Approval of the Adequacy of the Disclosure
                                                Statement for the Amended Joint Chapter 11 Plan
                                                of Reorganization of Chesapeake Energy
                                                Corporation and Its Debtor Affiliates (related
                                                document(s): [1584 and 1603] (related document
                                                (s):1149 Generic Motion). Filed by Franklin
                                                Advisers, Inc., as Investment Manager on Behalf of
                                                Certain Funds and Accounts (Brimmage, Marty)
 10/29/2020                                     (Entered: 10/29/2020)

                            1609                Notice of Appearance and Request for Notice Filed
                                                by John R Lane Jr Filed by on behalf of Lisa L.
 10/29/2020                 (3 pgs)             Conway (Lane, John) (Entered: 10/29/2020)

                            1610                Notice of Appearance and Request for Notice Filed
                                                by John R Lane Jr Filed by on behalf of Diane
                            (3 pgs)             Marie Law Denton (Lane, John) (Entered:
 10/29/2020                                     10/29/2020)

                            1611                Agenda for Hearing on 10/30/2020 (Filed By
                                                Chesapeake Energy Corporation ). (Cavenaugh,
 10/29/2020                 (7 pgs)             Matthew) (Entered: 10/29/2020)

                            1612
                                                Adversary case 20-03451. Nature of Suit: (02
                            (96 pgs; 8 docs)    (Other (e.g. other actions that would have been
                                                brought in state court if unrelated to bankruptcy))),




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                        5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 244 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 244 of 1639
                                                                           0244


                                                (21 (Validity, priority or extent of lien or other
                                                interest in property)), (91 (Declaratory judgment))
                                                Complaint by Gates Mineral Company, Ltd., Gates
                                                Production Company EF, LLC, Donald G. Elliott,
                                                Jannifer M. Elliott, David B. Elliott, Richard J.
                                                Gates, Linda A. Pederson, Louise G. Davis,
                                                Thomas A. Gates, Terri S. Gates, Kevin Kennedy
                                                against Chesapeake Energy Corporation,
                                                Chesapeake Exploration, LLC, Chesapeake Energy
                                                Marketing, LLC, Chesapeake Operating, LLC,
                                                CNOOC ENERGY USA, LLC, Larchmont
                                                Resources, LLC. Fee Amount $350 (Attachments:
                                                # 1 Exhibit # 2 Exhibit # 3 Exhibit # 4 Exhibit # 5
                                                Exhibit # 6 Exhibit # 7 Exhibit) (Gutierrez, Albert)
 10/29/2020                                     (Entered: 10/29/2020)

                            1613                Order Granting Motion To Appear pro hac vice -
                                                Chad J. Kutmas (Related Doc # 1563) Signed on
 10/29/2020                 (1 pg)              10/29/2020. (emiller) (Entered: 10/29/2020)

                            1614                Order Granting Motion To Appear pro hac vice -
                                                Montgomery L. Lair (Related Doc # 1593) Signed
 10/29/2020                 (1 pg)              on 10/29/2020. (emiller) (Entered: 10/29/2020)

                            1615                Order Granting Motion To Appear pro hac vice -
                                                Guy A. Fortney (Related Doc # 1594) Signed on
 10/29/2020                 (1 pg)              10/29/2020. (emiller) (Entered: 10/29/2020)

                            1616                Order Granting Motion To Appear pro hac vice -
                                                Clark O. Brewster (Related Doc # 1595) Signed on
 10/29/2020                 (1 pg)              10/29/2020. (emiller) (Entered: 10/29/2020)

                            1617                Order Granting Motion To Appear pro hac vice -
                                                Beth E. Levine (Related Doc # 1597) Signed on
 10/29/2020                 (1 pg)              10/29/2020. (emiller) (Entered: 10/29/2020)

                            1618                Order Granting Motion To Appear pro hac vice -
                                                Laura Davis Jones (Related Doc # 1598) Signed on
 10/29/2020                 (1 pg)              10/29/2020. (emiller) (Entered: 10/29/2020)

                            1619
                                                Statement Second Amended Verified Statement of
                            (12 pgs)            Davis Polk & Wardwell LLP and Vinson & Elkins
                                                LLP Pursuant to Federal Rule of Bankruptcy
                                                Procedure 2019 (Filed By Ad Hoc Group of FLLO
                                                Term Loan Lenders ).(Related document(s):872
                                                Statement) (Vakamudi, Kiran) (Entered:




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 245 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 245 of 1639
                                                                           0245


 10/29/2020                                     10/29/2020)

                            1620                BNC Certificate of Mailing. (Related document
                                                (s):1556 Generic Order) No. of Notices: 147.
                            (9 pgs)             Notice Date 10/29/2020. (Admin.) (Entered:
 10/29/2020                                     10/30/2020)

                            1621                BNC Certificate of Mailing. (Related document
                                                (s):1557 Generic Order) No. of Notices: 147.
                            (12 pgs)            Notice Date 10/29/2020. (Admin.) (Entered:
 10/29/2020                                     10/30/2020)

                            1622                Amended Disclosure Statement Filed by
                                                Chesapeake Energy Corporation. (Attachments: # 1
                            (432 pgs; 3 docs)   Redline to 10/29 # 2 Cumulative Redline)
 10/30/2020                                     (Cavenaugh, Matthew) (Entered: 10/30/2020)

                            1623                Notice Partial Joinder. (Related document(s):1584
                                                Objection) Filed by c/o Annie Catmull Royalty
                            (2 pgs)             Owner Plaintiffs c/o (Catmull, Annie) (Entered:
 10/30/2020                                     10/30/2020)

                            1624                Proposed Order RE: Order (I) Approving the
                                                Adequacy of the Disclosure Statement, (II)
                            (625 pgs; 2 docs)   Approving the Solicitation Procedures with
                                                Respect to the Confirmation of the Debtors'
                                                Proposed Chapter 11 Plan, (III) Approving the
                                                Forms of Ballots and Notices in Connection
                                                Therewith, (IV) Approving the Rights Offering
                                                Procedures and Related Materials, (V) Scheduling
                                                Certain Dates with Respect Thereto, and (VI)
                                                Granting Related Relie (Filed By Chesapeake
                                                Energy Corporation ).(Related document(s):1149
                                                Generic Motion) (Attachments: # 1 Redline)
 10/30/2020                                     (Cavenaugh, Matthew) (Entered: 10/30/2020)

                            1625                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by Marty L. Brimmage, Jr.. This is to order
                            (1 pg)              a transcript of the October 30, 2020 Hearing before
                                                Judge David R. Jones. Court Reporter/Transcriber:
                                                Access Transcripts (Filed By Franklin Advisers,
                                                Inc., as Investment Manager on Behalf of Certain
                                                Funds and Accounts ). (Brimmage, Marty)
                                                Electronically forwarded to Access Transcripts on
                                                11-2-2020. Estimated completion date: 11-3-2020.
                                                Modified on 11/2/2020 (MelissaMorgan). (Entered:
 10/30/2020                                     10/30/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 246 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 246 of 1639
                                                                           0246


                            1626
                                                Sent document by e-mail by Gaynell Spigner
 10/30/2020                 (24 pgs)            (mmap) (Entered: 10/30/2020)

                            1627                Courtroom Minutes. Time Hearing Held: 9:30 AM.
                                                Appearances: SEE ATTACHED. (Related
                            (5 pgs)             document(s):1149 Generic Motion) Mr. Dell'Osso's
                                                testimony was proffered in support of approval of
                                                disclosure statement. For the reasons stated on the
                                                record, the Court approved the disclosure
                                                statement. Confirmation hearing is scheduled for
                                                12/15/2020 at 12:00 PM at Houston, Courtroom
                                                400 (DRJ). A Status conference to be held on
                                                12/4/2020 at 10:00 AM at Houston, Courtroom
                                                400 (DRJ) for any request for temporary allowance
                                                for voting purposes. A second status conference is
                                                scheduled for 12/14/2020 at 02:00 PM at
                                                Houston, Courtroom 400 (DRJ). The hearing on
                                                the standing motion 1546 1547 scheduled for
                                                11/09/2020 is cancelled. The parties to contact the
                                                Court's case manager to obtain a new hearing date.
                                                Any objections to the standing motion must be
                                                filed by 12/10/2020. (VrianaPortillo) (Entered:
 10/30/2020                                     10/30/2020)

                            1628
                                                Letter from Jason Dean (JeannieAndresen)
 10/30/2020                 (2 pgs)             (Entered: 10/30/2020)

                            1629                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by Jason Boland. This is to order a
                            (1 pg)              transcript of the October 30, 2020 hearing before
                                                Judge David R. Jones. Court Reporter/Transcriber:
                                                Access Transcripts (Filed By Official Committee
                                                Of Unsecured Creditors ). (Boland, Jason) Copy
                                                request was electronically forwarded to Access
                                                Transcripts on 11-2-2020. Estimated completion
                                                date: 11-3-2020. Modified on 11/2/2020
 10/30/2020                                     (MelissaMorgan). (Entered: 10/30/2020)

                            1630                Notice of Appearance and Request for Notice Filed
                                                by Reese W Baker Filed by on behalf of Sheila
 10/30/2020                 (2 pgs)             Bartek (Baker, Reese) (Entered: 10/30/2020)

                            1631
                                                Withdrawal of Claim: 167,171,173 of John N.
 10/30/2020                 (2 pgs)             Tyler (Hamm, Holly) (Entered: 10/30/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 247 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 247 of 1639
                                                                           0247


                            1632                Stipulation and Agreed Order by and Among the
                                                Debtors, the Co-Interest Owners, and Petty
                            (5 pgs)             Extending Bar Date to File Proof of Claim Signed
                                                on 10/30/2020 (Related document(s):1561
 10/30/2020                                     Stipulation) (VrianaPortillo) (Entered: 10/30/2020)

                            1633                Order (I) Approving the Adequacy of the
                                                Disclosure Statement, (II) Approving the
                            (416 pgs)           Solicitation Procedures with Respect to
                                                Confirmation of the Debtors' Proposed Chapter 11
                                                plan, (III) Approving the Forms of Ballots and
                                                Notices in Connection therewith, (IV) Approving
                                                the Rights Offering Procedures and Related
                                                Materials, (V) Scheduling Certain Dates with
                                                Respect thereto, and (VI) Granting Related Relief
                                                Signed on 10/30/2020 (Related document(s):1149
                                                Generic Motion) Confirmation hearing to be held
                                                on 12/15/2020 at 12:00 PM at Houston,
                                                Courtroom 400 (DRJ). Last day to Object to
                                                Confirmation 12/7/2020. (VrianaPortillo) (Entered:
 10/30/2020                                     10/30/2020)

                            1634                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by Che H Lee. This is to order a transcript
                            (1 pg)              of 10/30/2020, hearing before Judge David R.
                                                Jones. Court Reporter/Transcriber: Access
                                                Transcripts. (mmap) Copy request was
                                                electronically forwarded to Access Transcripts on
                                                11-2-2020. Estimated completion date: 11-3-2020.
                                                Modified on 11/2/2020 (MelissaMorgan). (Entered:
 10/30/2020                                     10/30/2020)

                            1635                Objection to John H. Bedsole and Bedsole Land
                                                Company's Motion for Relief From the Automatic
                            (15 pgs; 2 docs)    Stay as to Debtor Chesapeake Louisiana, L.P.
                                                (related document(s):1248 Motion for Relief From
                                                Stay). Filed by Chesapeake Energy Corporation
                                                (Attachments: # 1 Proposed Order) (Cavenaugh,
 10/30/2020                                     Matthew) (Entered: 10/30/2020)

                            1636                Notice of Appearance and Request for Notice Filed
                                                by Aaron Matthew Guerrero Filed by on behalf of
                            (3 pgs)             TEP Anadarko Basin North III LLC (Guerrero,
 10/30/2020                                     Aaron) (Entered: 10/30/2020)

                            1637                Notice of Filing Quarterly Statement Pursuant to
                                                the Order Authorizing the Retention and




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 248 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 248 of 1639
                                                                           0248


                            (5 pgs)             Compensation of Certain Professionals Utilized in
                                                the Ordinary Course of Business. (Related
                                                document(s):655 Generic Order) Filed by
                                                Chesapeake Energy Corporation (Peguero, Kristhy)
 10/30/2020                                     (Entered: 10/30/2020)

                            1638                Objection to Rodney Hudson, et al.'s Motion to
                                                Certify Class of Unleased Mineral Interest Owners
                            (18 pgs)            for Purposes of Filing a Class Proof of Claim
                                                (related document(s):1295 Generic Motion). Filed
                                                by Chesapeake Energy Corporation (Cavenaugh,
 10/30/2020                                     Matthew) (Entered: 10/30/2020)

                            1639                Notice of Filing Monthly Report Pursuant to the
                                                Order to Approve Procedures for De Minimis Asset
                            (5 pgs)             Transactions. (Related document(s):715 Generic
                                                Order) Filed by Chesapeake Energy Corporation
 10/30/2020                                     (Peguero, Kristhy) (Entered: 10/30/2020)

                            1640                Motion for Entry of an Order (I) Authorizing the
                                                Rejection of Certain Executory Contracts Effective
                            (19 pgs; 2 docs)    as of October 30, 2020 and (II) Granting Related
                                                Relief Filed by Debtor Chesapeake Energy
                                                Corporation (Attachments: # 1 Proposed Order)
 10/30/2020                                     (Cavenaugh, Matthew) (Entered: 10/30/2020)

                            1641                    PDF with attached Audio File. Court Date &
                                                Time [ 10/30/2020 9:29:47 AM ]. File Size [ 76928
                            (1 pg)              KB ]. Run Time [ 02:40:16 ]. (In ref to doc no.
                                                1149. Hearing held October 30, 2020.). (admin).
 10/30/2020                                     (Entered: 10/30/2020)

                            1642                Objection Debtors' Objection to Stefanie
                                                Delasandro's Motion for Relief from the Automatic
                            (18 pgs)            Stay as to Esquisto Resources II, LLC, Wildhorse
                                                Resources Management, LLC, WHR Eagle Ford
                                                LLC and Chesapeake Operating, LLC (related
                                                document(s):1293 Motion for Relief From Stay).
                                                Filed by Chesapeake Energy Corporation
 10/30/2020                                     (Cavenaugh, Matthew) (Entered: 10/30/2020)

                            1643
                                                Notice of Withdrawal of Its Motion for Order
                            (2 pgs)             Directing Chesapeake Exploration, L.L.C. to
                                                Produce Documents Pursuant to Federal Rule of
                                                Bankruptcy Procedure 2004. Filed by BP America
                                                Production Company (Murphy, Garland) (Entered:




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 249 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 249 of 1639
                                                                           0249


 10/30/2020                                     10/30/2020)

                            1644                Second Amended Chapter 11 Plan Filed by
                                                Chesapeake Energy Corporation. (Cavenaugh,
 10/30/2020                 (62 pgs)            Matthew) (Entered: 10/30/2020)

                            1645                Disclosure Statement Filed by Chesapeake Energy
                                                Corporation. (Cavenaugh, Matthew) (Entered:
 10/30/2020                 (206 pgs)           10/30/2020)

                            1646                BNC Certificate of Mailing. (Related document
                                                (s):1574 Order on Emergency Motion) No. of
                            (8 pgs)             Notices: 149. Notice Date 10/30/2020. (Admin.)
 10/30/2020                                     (Entered: 10/31/2020)

                            1650                Order Granting Emergency Motion of the Official
                                                Committee of Unsecured Creditors to File Under
                            (2 pgs)             Seal Amended Objection (Related Doc # 1582)
                                                Signed on 10/30/2020. (emiller) (Entered:
 10/30/2020                                     11/01/2020)

                            1647                BNC Certificate of Mailing. (Related document
                                                (s):1591 Notice of Filing of Official Transcript
                            (8 pgs)             (Form)) No. of Notices: 149. Notice Date
 10/31/2020                                     10/31/2020. (Admin.) (Entered: 10/31/2020)

                            1648                BNC Certificate of Mailing. (Related document
                                                (s):1579 Opinion) No. of Notices: 149. Notice Date
 10/31/2020                 (16 pgs)            10/31/2020. (Admin.) (Entered: 10/31/2020)

                            1649                BNC Certificate of Mailing. (Related document
                                                (s):1580 Generic Order) No. of Notices: 149.
                            (8 pgs)             Notice Date 10/31/2020. (Admin.) (Entered:
 10/31/2020                                     10/31/2020)

                                                Receipt of Motion for Relief From Stay(20-33233)
                                                [motion,mrlfsty] ( 181.00) Filing Fee. Receipt
                                                number 22557819. Fee amount $ 181.00. (U.S.
 11/01/2020                                     Treasury) (Entered: 11/01/2020)

                            1651                BNC Certificate of Mailing. (Related document
                                                (s):1613 Order on Motion to Appear pro hac vice)
                            (8 pgs)             No. of Notices: 157. Notice Date 11/01/2020.
 11/01/2020                                     (Admin.) (Entered: 11/01/2020)

                            1652                BNC Certificate of Mailing. (Related document




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 250 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 250 of 1639
                                                                           0250


                                                (s):1614 Order on Motion to Appear pro hac vice)
                            (8 pgs)             No. of Notices: 157. Notice Date 11/01/2020.
 11/01/2020                                     (Admin.) (Entered: 11/01/2020)

                            1653                BNC Certificate of Mailing. (Related document
                                                (s):1615 Order on Motion to Appear pro hac vice)
                            (8 pgs)             No. of Notices: 157. Notice Date 11/01/2020.
 11/01/2020                                     (Admin.) (Entered: 11/01/2020)

                            1654                BNC Certificate of Mailing. (Related document
                                                (s):1616 Order on Motion to Appear pro hac vice)
                            (8 pgs)             No. of Notices: 157. Notice Date 11/01/2020.
 11/01/2020                                     (Admin.) (Entered: 11/01/2020)

                            1655                BNC Certificate of Mailing. (Related document
                                                (s):1617 Order on Motion to Appear pro hac vice)
                            (8 pgs)             No. of Notices: 157. Notice Date 11/01/2020.
 11/01/2020                                     (Admin.) (Entered: 11/01/2020)

                            1656                BNC Certificate of Mailing. (Related document
                                                (s):1618 Order on Motion to Appear pro hac vice)
                            (8 pgs)             No. of Notices: 157. Notice Date 11/01/2020.
 11/01/2020                                     (Admin.) (Entered: 11/01/2020)

                            1657                BNC Certificate of Mailing. (Related document
                                                (s):1632 Generic Order) No. of Notices: 159.
                            (12 pgs)            Notice Date 11/01/2020. (Admin.) (Entered:
 11/01/2020                                     11/01/2020)

                            1658                Stipulation and Agreed Order By and Among the
                                                Debtors and Rodney Hudson, et al (I) Bifurcating
                            (5 pgs)             the Briefing and Hearing on the Class Claim
                                                Motion and (II) Extending the Bar Date to File
                                                Proofs of Claim Signed on 11/2/2020 (Related
                                                document(s):1581 Stipulation) (emiller) (Entered:
 11/02/2020                                     11/02/2020)

                            1659                Stipulation and Agreed Order Permitting RLI
                                                Insurance Company to File Consolidated Proof of
                            (5 pgs)             Claim Signed on 11/2/2020 (Related document
                                                (s):1592 Stipulation) (emiller) (Entered:
 11/02/2020                                     11/02/2020)

                            1660
                                                Notice of Appearance and Request for Notice Filed
                            (2 pgs)             by Joshua Nielson Eppich Filed by on behalf of
                                                EOG Resources, Inc. (Eppich, Joshua) (Entered:




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 251 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 251 of 1639
                                                                           0251


 11/02/2020                                     11/02/2020)

                            1661                Notice of Reset Hearing on Motion for Partial
                                                Relief from Automatic Stay Filed by Rosa M. Byers
                            (4 pgs)             and The State of Louisiana. (Related document
                                                (s):1249 Motion for Relief From Stay, 1513
                                                Notice) Filed by Chesapeake Energy Corporation
 11/02/2020                                     (Cavenaugh, Matthew) (Entered: 11/02/2020)

                            1662                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by Chesapeake Energy Corporation / John
                            (1 pg)              Morgan. This is to order a transcript of hearing
                                                held on October 30, 2020 before Judge David R.
                                                Jones. Court Reporter/Transcriber: Judicial
                                                Transcribers of Texas (Filed By Chesapeake
                                                Energy Corporation ). (Morgan, John) Copy
                                                request electronically forwarded to original
                                                transcription company, Access Transcripts, LLC on
                                                November 4, 2020. Estimated completion date:
                                                November 5, 2020. Modified on 11/4/2020
 11/02/2020                                     (ClaudiaGutierrez). (Entered: 11/02/2020)

                            1689                Order (I) Authorizing the Rejection of Certain
                                                Tower Leases Effective as of September 18, 2020
                            (4 pgs)             and (II) Granting Related Relief (Related Doc #
                                                1183) Signed on 11/2/2020. (VrianaPortillo)
 11/02/2020                                     (Entered: 11/04/2020)

                            1663                Motion to Appear pro hac vice Ragan Naresh.
                                                Filed by Debtor Chesapeake Energy Corporation
 11/03/2020                 (1 pg)              (Cavenaugh, Matthew) (Entered: 11/03/2020)

                            1664                Statement Third Monthly Fee Statement of Norton
                                                Rose Fulbright US LLP for Allowance of
                            (39 pgs)            Compensation for Services Rendered and
                                                Reimbursement of Expenses Incurred as Co-
                                                Counsel to the Official Committee of Unsecured
                                                Creditors for the Period from September 1, 2020
                                                through September 30, 2020 (Filed By Official
                                                Committee Of Unsecured Creditors ). (Harrison,
 11/03/2020                                     Julie) (Entered: 11/03/2020)

                            1665                   Transcript RE: Motion for Entry of an Order (I)
                                                   Approving the Adequacy of the Disclosure
                            (120 pgs)              Statement, (II) Approving the Solicitation
                                                   Procedures with Respect to the Confirmation of
                                                   the Debtors' Proposed Chapter 11 Plan, (III)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 252 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 252 of 1639
                                                                           0252


                                                   Approving the Forms of Ballots and Notices in
                                                   Connection Therewith, (IV) Approving the
                                                   Rights Offering Procedures and Related
                                                   Materials, (V) Scheduling Certain Dates with
                                                   Respect Thereto, and (VI) Granting Related
                                                   Relief held on 10/30/20 before Judge David R.
                                                   Jones. Transcript is available for viewing in the
                                                   Clerk's Office. Filed by Transcript access will
                                                   be restricted through 02/1/2021.
 11/03/2020                                        (AccessTranscripts) (Entered: 11/03/2020)

                            1666                   AO 435 TRANSCRIPT ORDER FORM (Daily
                                                   (24 hours)) by Daniel Garcia. This is to order a
                            (2 pgs)                transcript of 10/30/2020, Hearing before Judge
                                                   David R. Jones. Court Reporter/Transcriber:
                                                   Access Transcripts. (mmap) Copy request
                                                   electronically forwarded to Access Transcripts,
                                                   LLC on November 4, 2020. Estimated
                                                   completion date: November 5, 2020. Modified
                                                   on 11/4/2020 (ClaudiaGutierrez). (Entered:
 11/03/2020                                        11/03/2020)

                            1667                   E-Mails by Gaynell Spigner (Attachments: # 1
                                                   Exhibit # 2 Exhibit # 3 Exhibit) (mmap)
 11/03/2020                 (33 pgs; 4 docs)       (Entered: 11/03/2020)

                            1668                   Withdrawal of Claim: 1 filed by Epiq
                                                   Corporate Restructuring, LLC on behalf of
                            (1 pg)                 Deljanovan Trucking LLC (Suarez, Hugo)
 11/03/2020                                        (Entered: 11/03/2020)

                            1669                   Withdrawal of Claim: 43 filed by Epiq
                                                   Corporate Restructuring, LLC on behalf of
                            (1 pg)                 Energes Services LLC (Suarez, Hugo) (Entered:
 11/03/2020                                        11/03/2020)

                            1670                   Withdrawal of Claim: 60 filed by Epiq
                                                   Corporate Restructuring, LLC on behalf of
                            (1 pg)                 Applied US Energy Oklahoma LLC (Suarez,
 11/03/2020                                        Hugo) (Entered: 11/03/2020)

                            1671                   Withdrawal of Claim: 101 filed by Epiq
                                                   Corporate Restructuring, LLC on behalf of
                            (1 pg)                 Summit Casing Equipment (Suarez, Hugo)
 11/03/2020                                        (Entered: 11/03/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 253 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 253 of 1639
                                                                           0253


                            1672                   Withdrawal of Claim: 10067 filed by Epiq
                                                   Corporate Restructuring, LLC on behalf of
                            (1 pg)                 Arrow Engine Company (Suarez, Hugo)
 11/03/2020                                        (Entered: 11/03/2020)

                            1673                   Withdrawal of Claim: 10144 filed by Epiq
                                                   Corporate Restructuring, LLC on behalf of
                            (1 pg)                 Broken Spoke Welding & Construction Inc
 11/03/2020                                        (Suarez, Hugo) (Entered: 11/03/2020)

                            1674                   Withdrawal of Claim: 10152 filed by Epiq
                                                   Corporate Restructuring, LLC on behalf of 4X
                            (1 pg)                 Industrial LLC (Suarez, Hugo) (Entered:
 11/03/2020                                        11/03/2020)

                            1675                   Withdrawal of Claim: 10216 filed by Epiq
                                                   Corporate Restructuring, LLC on behalf of
                            (1 pg)                 Permian Tank & Manufacturing Inc (Suarez,
 11/03/2020                                        Hugo) (Entered: 11/03/2020)

                            1676                   Notice of Appearance and Request for Notice
                                                   Filed by Leslie M. Luttrell Filed by on behalf
                            (4 pgs)                of TB Harris Mineral, LP, Talbert Operations,
                                                   LLC, Haynes Mineral Trust, Dan W. Kinsel III,
                                                   Trustee of the 2009 Dan and Leslie Kinsel
                                                   Childrens Trust and Karl Gene Kinsel, Trustee
                                                   of the 2009 Karl Gene Kinsel Childs Trust,
                                                   Dilworth Group, Gates Mineral Company, LTD
                                                   and related entities and individuals, Kelly
                                                   Vesper, Individually, as Trustee of the Kelly
                                                   Vesper Heritage Trust, and as Executrix of the
                                                   Estate of John B. Vesper, Deceased and the
                                                   Estate of Leslie T. Vesper, Deceased, Kelly
                                                   Vesper, as Trustee of the Kelly Vesper Heritage
                                                   Trust, and as Executrix of the Estate of John B.
                                                   Vesper, Deceased and the Estate of Leslie T.
                                                   Vesper, Deceased, Leojua, Ltd., MBF Holdings
                                                   La Salle LP, formerly MBF Partnership, Wier
 11/03/2020                                        Group (Luttrell, Leslie) (Entered: 11/03/2020)

                            1677                   Withdrawal of Claim: 10258 filed by Epiq
                                                   Corporate Restructuring, LLC on behalf of
                            (1 pg)                 Titan Solutions LLC (Suarez, Hugo) (Entered:
 11/03/2020                                        11/03/2020)

                            1678                   Withdrawal of Claim: 10301 filed by Epiq
                                                   Corporate Restructuring, LLC on behalf of




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 254 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 254 of 1639
                                                                           0254


                            (1 pg)                 Coastal Chemical Company LLC (Suarez,
 11/03/2020                                        Hugo) (Entered: 11/03/2020)

                            1679                   Motion to Appear pro hac vice Michael Miller.
                                                   Filed by Creditor Omar Balboa (mmap)
 11/03/2020                 (1 pg)                 (Entered: 11/03/2020)

                            1680                   AO 435 TRANSCRIPT ORDER FORM
                                                   (Expedited (7 days)) by Leslie M. Luttrell. This
                            (2 pgs)                is to order a transcript of Hearing on the
                                                   Disclosure Statement held October 30, 2020
                                                   before Judge David R. Jones. Court
                                                   Reporter/Transcriber: Judicial Transcribers of
                                                   Texas (Filed By Dan W. Kinsel III, Trustee of
                                                   the 2009 Dan and Leslie Kinsel Childrens Trust
                                                   and Karl Gene Kinsel, Trustee of the 2009 Karl
                                                   Gene Kinsel Childs Trust, Dilworth Group,
                                                   Gates Mineral Company, LTD and related
                                                   entities and individuals, Haynes Mineral Trust,
                                                   Kelly Vesper, Individually, as Trustee of the
                                                   Kelly Vesper Heritage Trust, and as Executrix
                                                   of the Estate of John B. Vesper, Deceased and
                                                   the Estate of Leslie T. Vesper, Deceased,
                                                   Leojua, Ltd., MBF Holdings La Salle LP,
                                                   formerly MBF Partnership, TB Harris Mineral,
                                                   LP, Talbert Operations, LLC, Wier Group ).
                                                   (Luttrell, Leslie) Copy request electronically
                                                   forwarded to original transcription company,
                                                   Access Transcripts, LLC on November 4, 2020.
                                                   Estimated completion date: November 11,
                                                   2020. Modified on 11/4/2020
 11/03/2020                                        (ClaudiaGutierrez). (Entered: 11/03/2020)

                            1681                   Notice of Filing of Official Transcript as to
                                                   1665 Transcript. Parties notified (Related
                            (1 pg)                 document(s):1665 Transcript) (hcar) (Entered:
 11/04/2020                                        11/04/2020)

                            1682
                                                   Motion of the Official Committee of Unsecured
                                                   Creditors for (I) Leave, Standing, and Authority
                            (181 pgs; 3 docs)
                                                   to Commence and Prosecute Certain Claims
                                                   and Causes of Action on Behalf of the Debtors'
                                                   Estates and (II) Exclusive Settlement Authority
                                                   Filed by Creditor Committee Official
                                                   Committee Of Unsecured Creditors Hearing
                                                   scheduled for 12/15/2020 at 12:00 PM at
                                                   Houston, Courtroom 400 (DRJ). (Attachments:




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 255 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 255 of 1639
                                                                           0255


                                                   # 1 Exhibit A: Proposed Order # 2 Exhibit B:
                                                   Proposed Complaint) (Harrison, Julie)
 11/04/2020                                        (Entered: 11/04/2020)

                            1683                   AO 435 TRANSCRIPT ORDER FORM (14-
                                                   Day) by Kurt Stephen. This is to order a
                            (1 pg)                 transcript of October 30, 2020 before Judge
                                                   David R. Jones. Court Reporter/Transcriber:
                                                   Access Transcripts (Filed By R.A.W. Oilfield
                                                   Services, L.L.C. ). (Stephen, John) Copy
                                                   request electronically forwarded to Access
                                                   Transcripts on November 5, 2020. Estimated
                                                   completion date: November 19, 2020. Modified
                                                   on 11/5/2020 (ClaudiaGutierrez). (Entered:
 11/04/2020                                        11/04/2020)

                            1684                   Exhibit List, Witness List (Filed By
                                                   Chesapeake Energy Corporation ).
                            (12592 pgs; 16 docs)   (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 - Part
                                                   1 # 3 Exhibit 2 - Part 2 # 4 Exhibit 2 - Part 3 #
                                                   5 Exhibit 2 - Part 4 # 6 Exhibit 3 # 7 Exhibit 4
                                                   # 8 Exhibit 5 # 9 Exhibit 6 # 10 Exhibit 7 # 11
                                                   Exhibit 8 # 12 Exhibit 9 # 13 Exhibit 10 # 14
                                                   Exhibit 11 # 15 Exhibit 12) (Cavenaugh,
 11/04/2020                                        Matthew) (Entered: 11/04/2020)

                            1685                   Witness List, Exhibit List (Filed By Rodney
                                                   Hudson, Allen Johnson ).(Related document
                            (22 pgs; 3 docs)       (s):1200 Motion for Relief From Stay, 1201
                                                   Motion for Adequate Protection, 1295 Generic
                                                   Motion) (Attachments: # 1 Exhibit 35 # 2
                                                   Exhibit 37) (Knapp, Bradley) (Entered:
 11/04/2020                                        11/04/2020)

                            1686                   Sealed Document UMO Exhibit 36 to Allen
                                                   Johnson, et al. and Rodney Hudson, et al.'s
                            (2 pgs)                Witness and Exhibit List for Hearing Scheduled
                                                   for November 6, 2020 at 2:00 p.m. (Filed By
                                                   Rodney Hudson, Allen Johnson ). (Knapp,
 11/04/2020                                        Bradley) (Entered: 11/04/2020)

                            1687                   Motion to Appear pro hac vice John D.
                                                   Mashburn. Filed by Creditors Greg and Janice
                            (1 pg)                 Depew, Lisa Griggs (mmap) (Entered:
 11/04/2020                                        11/04/2020)

                            1688                   Motion on an e-mail by Gaynell Spigner




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 256 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 256 of 1639
                                                                           0256


                                                   (Attachments: # 1 Exhibit) (mmap) (Entered:
 11/04/2020                 (5 pgs; 2 docs)        11/04/2020)

                            1690                   Motion to Appear pro hac vice Michael R.
                                                   Proctor. Filed by Creditor Robert R Luchetti
 11/04/2020                 (1 pg)                 (mmap) (Entered: 11/04/2020)

                            1691                   Notice of Appearance and Request for Notice
                                                   Filed by Leslie C Heilman Filed by on behalf
                            (2 pgs)                of Plasma Processing Corporation (Heilman,
 11/04/2020                                        Leslie) (Entered: 11/04/2020)

                            1692                   Notice of First Monthly Fee Statement of
                                                   PricewaterhouseCoopers LLP for Services
                            (94 pgs)               Rendered and Reimbursement of Expenses as
                                                   Audit Services and Tax Consulting Services
                                                   Provider for the Debtors for the Period June
                                                   28, 2020 Through July 31, 2020. Filed by
                                                   Chesapeake Energy Corporation (Cavenaugh,
 11/04/2020                                        Matthew) (Entered: 11/04/2020)

                            1693                   Notice of Second Monthly Fee Statement of
                                                   PricewaterhouseCoopers LLP for Services
                            (82 pgs)               Rendered and Reimbursement of Expenses as
                                                   Audit Services and Tax Consulting Services
                                                   Provider for the Debtors for the Period August
                                                   1, 2020 Through August 31, 2020. Filed by
                                                   Chesapeake Energy Corporation (Cavenaugh,
 11/04/2020                                        Matthew) (Entered: 11/04/2020)

                            1694                   BNC Certificate of Mailing. (Related document
                                                   (s):1650 Order on Emergency Motion) No. of
                            (10 pgs)               Notices: 160. Notice Date 11/04/2020.
 11/04/2020                                        (Admin.) (Entered: 11/05/2020)

                            1695                   BNC Certificate of Mailing. (Related document
                                                   (s):1658 Generic Order) No. of Notices: 160.
                            (13 pgs)               Notice Date 11/04/2020. (Admin.) (Entered:
 11/04/2020                                        11/05/2020)

                            1696                   BNC Certificate of Mailing. (Related document
                                                   (s):1659 Generic Order) No. of Notices: 160.
                            (13 pgs)               Notice Date 11/04/2020. (Admin.) (Entered:
 11/04/2020                                        11/05/2020)

                            1716
                                                   Order Granting Motion To Appear pro hac vice




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 257 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 257 of 1639
                                                                           0257


                                                   - Ragan Naresh (Related Doc # 1663) Signed
 11/04/2020                 (1 pg)                 on 11/4/2020. (emiller) (Entered: 11/06/2020)

                            1717                   Order Granting Motion To Appear pro hac vice
                                                   - Michael Miller (Related Doc # 1679) Signed
 11/04/2020                 (1 pg)                 on 11/4/2020. (emiller) (Entered: 11/06/2020)

                            1697                   Objection (Limited) to Notice of Possible
                                                   Assumption and Assignment of Certain
                            (83 pgs; 4 docs)       Executory Contracts and Unexpired Leases in
                                                   Connection with Sale. Filed by ARI Fleet LT,
                                                   Automotive Rentals, Inc. (Attachments: # 1
                                                   Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3) (Aguilar,
 11/05/2020                                        Richard) (Entered: 11/05/2020)

                            1698                   Objection TO THE DEBTORS PROPOSED
                                                   SALE OF THE DEBTORS MID-CON ASSETS,
                            (19 pgs)               AND TO ASSUMPTION AND ASSIGNMENT
                                                   OF THEIR SEISMIC LICENSE
                                                   AGREEMENTS TO THE SUCCESSFUL
                                                   BIDDER THEREOF [Related to ECF Nos.
                                                   1147, 1366 & 1491]. Filed by Vector Seismic
                                                   Data Processing Inc., Westerngeco LLC
 11/05/2020                                        (Braun, Andrew) (Entered: 11/05/2020)

                            1699                   Objection TO THE DEBTORS PROPOSED
                                                   SALE OF THE DEBTORS MID-CON ASSETS,
                            (19 pgs)               AND TO ASSUMPTION AND ASSIGNMENT
                                                   OF THEIR LICENSE AGREEMENTS TO THE
                                                   SUCCESSFUL BIDDER THEREOF [Related
                                                   to ECF Nos. 1147, 1366 & 1491]. Filed by
                                                   A2D TECHNOLOGIES, INC. D/B/A TGS
                                                   GEOLOGICAL PRODUCTS AND
                                                   SERVICES, TGS-NOPEC Geophysical
                                                   Company ASA (Braun, Andrew) (Entered:
 11/05/2020                                        11/05/2020)

                            1700                   Statement OF MULTIPLE REPRESENTATION
                                                   PURSUANT TO F.R. BANKR. P. 2019 (Filed
                            (3 pgs)                By A2D TECHNOLOGIES, INC. D/B/A TGS
                                                   GEOLOGICAL PRODUCTS AND
                                                   SERVICES, TGS-NOPEC Geophysical
                                                   Company ASA, Vector Seismic Data
                                                   Processing Inc., Westerngeco LLC ). (Braun,
 11/05/2020                                        Andrew) (Entered: 11/05/2020)

                            1701                   Withdrawal of Claim: 10095 filed by Epiq




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 258 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 258 of 1639
                                                                           0258


                                                   Corporate Restructuring, LLC on behalf of Sky-
                            (1 pg)                 Lin Services LLC (Suarez, Hugo) (Entered:
 11/05/2020                                        11/05/2020)

                            1702                   E-Mail to the Court by Gaynell Spigner
                                                   (Attachments: # 1 Exhibit) (mmap) (Entered:
 11/05/2020                 (12 pgs; 2 docs)       11/05/2020)

                            1703                   Withdrawal of Claim: 10118 filed by Epiq
                                                   Corporate Restructuring, LLC on behalf of Sky-
                            (1 pg)                 Lin Services LLC (Suarez, Hugo) (Entered:
 11/05/2020                                        11/05/2020)

                            1704                   Notice of Appearance and Request for Notice
                                                   Filed by John Mark Stern Filed by on behalf of
                            (9 pgs)                Texas Comptroller of Public Accounts,
                                                   Revenue Accounting Division (Stern, John)
 11/05/2020                                        (Entered: 11/05/2020)

                            1705
                                                   Letter from Shareholder Donald K. Natale
 11/05/2020                 (2 pgs)                (JeannieAndresen) (Entered: 11/05/2020)

                            1706
                                                   Letter from Shareholder Jason Dean
 11/05/2020                 (2 pgs)                (JeannieAndresen) (Entered: 11/05/2020)

                            1707
                                                   Letter from John Dough (JeannieAndresen)
 11/05/2020                 (7 pgs)                (Entered: 11/05/2020)

                            1708                   Stipulation By Chesapeake Energy Corporation
                                                   and Direct Energy Business Marketing, LLC.
                            (6 pgs)                Does this document include an agreed order or
                                                   otherwise request that the judge sign a
                                                   document? Yes. (Filed By Chesapeake Energy
                                                   Corporation ). (Cavenaugh, Matthew) (Entered:
 11/05/2020                                        11/05/2020)

                            1709
                                                   Statement and Disclosure Pursuant to Federal
                            (6 pgs)                Rule of Bankruptcy Procedure 2019 (Filed By
                                                   Dan W. Kinsel III, Trustee of the 2009 Dan and
                                                   Leslie Kinsel Childrens Trust and Karl Gene
                                                   Kinsel, Trustee of the 2009 Karl Gene Kinsel
                                                   Childs Trust, Dilworth Group, Gates Mineral
                                                   Company, LTD and related entities and




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 259 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 259 of 1639
                                                                           0259


                                                   individuals, Haynes Mineral Trust, Kelly
                                                   Vesper, Individually, as Trustee of the Kelly
                                                   Vesper Heritage Trust, and as Executrix of the
                                                   Estate of John B. Vesper, Deceased and the
                                                   Estate of Leslie T. Vesper, Deceased, Leojua,
                                                   Ltd., MBF Holdings La Salle LP, formerly
                                                   MBF Partnership, TB Harris Mineral, LP,
                                                   Talbert Operations, LLC, Wier Group ).
 11/05/2020                                        (Luttrell, Leslie) (Entered: 11/05/2020)

                            1710                   Adversary case 20-03458. Nature of Suit: (91
                                                   (Declaratory judgment)) Complaint by
                            (164 pgs; 8 docs)      Chesapeake Energy Corporation, Chesapeake
                                                   Operating L.L.C. against Starr Indemnity &
                                                   Liability Company. Fee Amount $350
                                                   (Attachments: # 1 Exhibit A # 2 Exhibit B # 3
                                                   Exhibit C # 4 Exhibit D # 5 Exhibit E # 6
                                                   Exhibit F # 7 Adversary Cover Sheet)
 11/05/2020                                        (Cavenaugh, Matthew) (Entered: 11/05/2020)

                            1711                   Withdrawal of Claim: Waste Management
                                                   (Attachments: # 1 Exhibit Withdrawal of Claim
                            (38 pgs; 3 docs)       Form # 2 Exhibit Filed POC)(Mills, Jacquolyn)
 11/06/2020                                        (Entered: 11/06/2020)

                            1712                   AO 435 TRANSCRIPT ORDER FORM (Daily
                                                   (24 hours)) by Winn Carter. This is to order a
                            (1 pg)                 transcript of Bankruptcy Hearing-10-30-20
                                                   before Judge David R. Jones. Court
                                                   Reporter/Transcriber: Veritext Legal Solutions
                                                   (Filed By Deutsche Bank Trust Company
                                                   Americas ). (Carter, Winstol) Copy request
                                                   electronically forwarded to original transcribing
                                                   company, Access Transcripts, LLC on
                                                   November 6, 2020. Estimated completion date:
                                                   November 7, 2020. Modified on 11/6/2020
 11/06/2020                                        (ClaudiaGutierrez). (Entered: 11/06/2020)


                                                   Certificate of Telephone Notice. Contacted
                                                   Veronica Polnick. At the request of the parties,
                                                   the hearing set for 11/6/2020 has been
                                                   continued to 11/20/2020 at 2:00 pm. Movant to
                                                   notice all interested parties and file a certificate
                                                   of service with the court (Related document
                                                   (s):1248 Motion for Relief From Stay) Hearing
                                                   rescheduled for 11/20/2020 at 02:00 PM by
                                                   telephone and video conference. (emiller)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                         5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 260 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 260 of 1639
                                                                           0260


 11/06/2020                                        (Entered: 11/06/2020)

                            1713                   Notice of Consent to Reset Hearing. (Related
                                                   document(s):1248 Motion for Relief From
                            (1 pg)                 Stay) Filed by John H. Bedsole (Pesnell, John)
 11/06/2020                                        (Entered: 11/06/2020)

                            1714
                                                   E-Mail by Gaynell Spigner (Attachments: # 1
 11/06/2020                 (6 pgs; 2 docs)        Exhibit) (mmap) (Entered: 11/06/2020)

                            1715                   Motion to Appear pro hac vice of Lucas
                                                   Barrett/Arnold & Porter Kaye Scholer LLP.
                            (1 pg)                 Filed by Interested Party Glas USA LLC
 11/06/2020                                        (Warner, Michael) (Entered: 11/06/2020)

                            1718                   Order Granting Motion To Appear pro hac vice
                                                   - John D. Mashburn (Related Doc # 1687)
                            (1 pg)                 Signed on 11/6/2020. (emiller) (Entered:
 11/06/2020                                        11/06/2020)

                            1719                   Order Granting Motion To Appear pro hac vice
                                                   - Michael R. Proctor (Related Doc # 1690)
                            (1 pg)                 Signed on 11/6/2020. (emiller) (Entered:
 11/06/2020                                        11/06/2020)

                            1720                   Order Granting Motion To Appear pro hac vice
                                                   - Lucas Barrett (Related Doc # 1715) Signed on
 11/06/2020                 (1 pg)                 11/6/2020. (emiller) (Entered: 11/06/2020)

                            1721                   Notice of Intent to Serve Subpoena Duces
                                                   Tecum and Request for Production to Wells
                            (11 pgs)               Fargo Bank, National Association. Filed by
                                                   Official Committee Of Unsecured Creditors
 11/06/2020                                        (Harrison, Julie) (Entered: 11/06/2020)

                            1722                   Objection / EOG Resources, Inc.'s Limited
                                                   Objection and Reservation of Rights to
                            (3 pgs)                Debtors' Notice to Contract Parties to
                                                   Potentially Assumed Executory Contracts and
                                                   Unexpired Leases. Filed by EOG Resources,
 11/06/2020                                        Inc. (Eppich, Joshua) (Entered: 11/06/2020)

                            1723
                                                   Objection / Marathon Oil Company's Limited
                                                   Objection and Reservation of Rights to
                            (3 pgs)
                                                   Debtors' Notice to Contract Parties to




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 261 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 261 of 1639
                                                                           0261


                                                   Potentially Assumed Executory Contracts and
                                                   Unexpired Leases. Filed by Marathon Oil
 11/06/2020                                        Company (Taylor, Clay) (Entered: 11/06/2020)

                            1724                   Motion to Withdraw as Attorney.
                                                   Objections/Request for Hearing Due in 21
                            (2 pgs)                days. Filed by Creditor Cactus Wellhead, LLC
 11/06/2020                                        (Glenos, Nicholas) (Entered: 11/06/2020)

                            1725                   Proposed Order RE: Motion to Withdraw (Filed
                                                   By Cactus Wellhead, LLC ).(Related document
                            (1 pg)                 (s):1724 Motion to Withdraw as Attorney)
 11/06/2020                                        (Glenos, Nicholas) (Entered: 11/06/2020)

                            1726                   Objection /Limited Objection of Targa Pipeline
                                                   Mid-Continent Westok LLC to the sale of the
                            (7 pgs)                Debtors' Mid-Con Assets Free and Clear of
                                                   Any and All Claims, Interests, and
                                                   Encumbrances. Filed by Targa Pipeline Mid-
                                                   Continent WestOk LLC (Soule, Steven)
 11/06/2020                                        (Entered: 11/06/2020)

                            1727                   AO 435 TRANSCRIPT ORDER FORM (Daily
                                                   (24 hours)) by Matthew Cavenaugh. This is to
                            (1 pg)                 order a transcript of 11/6/2020 before Judge
                                                   David R. Jones. Court Reporter/Transcriber:
                                                   Access Transcripts (Filed By Chesapeake
                                                   Energy Corporation ). (Cavenaugh, Matthew)
                                                   Electronically forwarded to Access Transcripts,
                                                   LLC on November 6, 2020. Estimated
                                                   completion date: November 7, 2020. Modified
                                                   on 11/6/2020 (ClaudiaGutierrez). (Entered:
 11/06/2020                                        11/06/2020)

                            1728                   AO 435 TRANSCRIPT ORDER FORM (Daily
                                                   (24 hours)) by Jason Boland. This is to order a
                            (1 pg)                 transcript of the November 6, 2020 hearing
                                                   before Judge David R. Jones. Court
                                                   Reporter/Transcriber: Access Transcripts (Filed
                                                   By Official Committee Of Unsecured
                                                   Creditors ). (Boland, Jason) Copy request
                                                   electronically forwarded to Access Transcripts,
                                                   LLC on November 6, 2020. Estimated
                                                   completion date: November 7, 2020. Modified
                                                   on 11/6/2020 (ClaudiaGutierrez). (Entered:
 11/06/2020                                        11/06/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 262 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 262 of 1639
                                                                           0262


                            1729                   Courtroom Minutes. Time Hearing Held: 2:00
                                                   pm. Appearances: SEE ATTACHED. (Related
                            (1 pg)                 document(s):1295 Generic Motion) Witnesses:
                                                   Rodney Hudson, Allen Johnson. Movants
                                                   presented evidence and testimony. The Debtors
                                                   made a motion pursuant to Rule 52(c) and the
                                                   motion was granted. The motion to certify is
                                                   denied. Ms. Schwarzman is to prepare an order
                                                   with Mr. Summers approving as to form only.
 11/06/2020                                        (emiller) (Entered: 11/06/2020)

                            1730                   Objection (Energy Transfers Limited Objection
                                                   Regarding the Debtors Proposed Sale of Mid-
                            (8 pgs)                Con Assets). Filed by Panhandle Eastern Pipe
                                                   Line Company, LP., Fayetteville Express
                                                   Pipeline LLC, ETC Texas Pipeline Ltd.,
                                                   Sunoco Partners Marketing & Terminals L.P.
 11/06/2020                                        (Crocker, Michaela) (Entered: 11/06/2020)

                            1731                   Stipulation and Agreed Order Permitting
                                                   Liberty Mutual Insurance Company to File
                            (5 pgs)                Consolidated Proof of Claim Signed on
                                                   11/6/2020 (Related document(s):1554
 11/06/2020                                        Stipulation) (emiller) (Entered: 11/06/2020)

                            1732                   Response Reservation of Rights of the Williams
                                                   Companies, Inc. to Debtors' Motion for Entry
                            (8 pgs)                of (A) An Order (I) Approving Bidding
                                                   Procedures for the Sale of the Debtors' Mid-
                                                   Con Assets, (II) Approving Bid Protections,
                                                   (III) Scheduling Certain Dates with Respect
                                                   Thereto, (IV) Approving the Form and Manner
                                                   of Notice Thereof, and (V) Approving Contract
                                                   Assumption and Assignment Procedures, and
                                                   (B) An Order Authorizing the Debtors to Enter
                                                   Into a Definitive Purchase Agreement. Filed by
                                                   Williams MLP Operating, LLC (Muhammad,
 11/06/2020                                        Arsalan) (Entered: 11/06/2020)

                            1733                       PDF with attached Audio File. Court Date
                                                   & Time [ 11/6/2020 1:59:15 PM ]. File Size
                            (1 pg)                 [ 19567 KB ]. Run Time [ 00:40:46 ]. (admin).
 11/06/2020                                        (Entered: 11/06/2020)

                            1734
                                                   Response (Filed By The Royalty Owners ).
                                                   (Related document(s):1305 Generic Order,




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 263 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 263 of 1639
                                                                           0263


                            (4 pgs)                1367 Proposed Order) (Lee, Kyung) (Entered:
 11/06/2020                                        11/06/2020)

                            1735                   Certificate of No Objection Debtors' Motion for
                                                   Entry of an Order (I) Authorizing and
                            (5 pgs; 2 docs)        Approving the Settlement By and Among the
                                                   Debtors and the Wier Group and (II) Granting
                                                   Related Relief (Filed By Chesapeake Energy
                                                   Corporation ).(Related document(s):1377
                                                   Motion to Approve Compromise under Rule
                                                   9019) (Attachments: # 1 Proposed Order)
 11/06/2020                                        (Cavenaugh, Matthew) (Entered: 11/06/2020)

                            1736                   BNC Certificate of Mailing. (Related document
                                                   (s):1681 Notice of Filing of Official Transcript
                            (9 pgs)                (Form)) No. of Notices: 165. Notice Date
 11/06/2020                                        11/06/2020. (Admin.) (Entered: 11/07/2020)

                            1737                   BNC Certificate of Mailing. (Related document
                                                   (s):1689 Generic Order) No. of Notices: 167.
                            (12 pgs)               Notice Date 11/06/2020. (Admin.) (Entered:
 11/06/2020                                        11/07/2020)

                            1738                   BNC Certificate of Mailing. (Related document
                                                   (s):1716 Order on Motion to Appear pro hac
                            (9 pgs)                vice) No. of Notices: 172. Notice Date
 11/08/2020                                        11/08/2020. (Admin.) (Entered: 11/08/2020)

                            1739                   BNC Certificate of Mailing. (Related document
                                                   (s):1717 Order on Motion to Appear pro hac
                            (9 pgs)                vice) No. of Notices: 172. Notice Date
 11/08/2020                                        11/08/2020. (Admin.) (Entered: 11/08/2020)

                            1740                   BNC Certificate of Mailing. (Related document
                                                   (s):1718 Order on Motion to Appear pro hac
                            (9 pgs)                vice) No. of Notices: 172. Notice Date
 11/08/2020                                        11/08/2020. (Admin.) (Entered: 11/08/2020)

                            1741                   BNC Certificate of Mailing. (Related document
                                                   (s):1719 Order on Motion to Appear pro hac
                            (9 pgs)                vice) No. of Notices: 172. Notice Date
 11/08/2020                                        11/08/2020. (Admin.) (Entered: 11/08/2020)

                            1742
                                                   BNC Certificate of Mailing. (Related document
                            (9 pgs)                (s):1720 Order on Motion to Appear pro hac
                                                   vice) No. of Notices: 172. Notice Date




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 264 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 264 of 1639
                                                                           0264


 11/08/2020                                        11/08/2020. (Admin.) (Entered: 11/08/2020)

                            1743                   BNC Certificate of Mailing. (Related document
                                                   (s):1731 Generic Order) No. of Notices: 172.
                            (13 pgs)               Notice Date 11/08/2020. (Admin.) (Entered:
 11/08/2020                                        11/08/2020)

                            1744
                                                   E-Mail by Gaynell Spigner (Attachments: # 1
 11/09/2020                 (4 pgs; 2 docs)        Exhibit) (mmap) (Entered: 11/09/2020)

                            1745                   Stipulation and Agreed Order (I) Authorizing
                                                   the Debtors to Perform Under Prepetition
                            (6 pgs)                Forward Contracts and Enter Into and Perform
                                                   Under Postpetition Transactions and
                                                   Agreements with Direct Energy Business
                                                   Marketing, LLC (II) Granting Administrative
                                                   Expense Claims, and (III) Granting Related
                                                   Relief Signed on 11/9/2020 (Related document
                                                   (s):1708 Stipulation) (VrianaPortillo) (Entered:
 11/09/2020                                        11/09/2020)

                            1746                   Order (I) Authorizing and Approving the
                                                   Settlement by and Among the Debtors and the
                            (2 pgs)                Wier Group, and (II) Granting Related Relief
                                                   (Related Doc # 1377) Signed on 11/9/2020.
 11/09/2020                                        (VrianaPortillo) (Entered: 11/09/2020)

                            1747                   AO 435 TRANSCRIPT ORDER FORM (3-
                                                   Day) by John E. Mitchell. This is to order a
                            (1 pg)                 transcript of Motion for Entry of Order (I)
                                                   Approving Adequacy of Disclosure Statement,
                                                   (II) Approving Solicitation Procedures, (III)
                                                   Approving the Form of Ballots and Notices,
                                                   (IV) Approving the Rights Offering
                                                   Procedures, (V) Scheduling of Certain Dates,
                                                   and (VI) Granting Related Relief on
                                                   10/30/2020 before Judge David R. Jones. Court
                                                   Reporter/Transcriber: Access Transcripts (Filed
                                                   By ETC Katy Pipeline, Ltd., ETC Texas
                                                   Pipeline Ltd., ETC Tiger Pipeline LLC, Energy
                                                   Transfer Fuel, LP, Houston Pipe Line
                                                   Company, LP, Oasis Pipeline L.P., Sunoco
                                                   Pipeline L.P., Trade Star, LLC ). (Mitchell,
                                                   John) Copy request electronically forwarded to
                                                   Access Transcripts, LLC on November 10,
                                                   2020. Estimated completion date: November




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 265 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 265 of 1639
                                                                           0265


                                                   13, 2020. Modified on 11/10/2020
 11/09/2020                                        (ClaudiaGutierrez). (Entered: 11/09/2020)

                            1748                   Objection to the Debtors Sale of Mid-Con
                                                   Assets. Filed by Railroad Commission of Texas
 11/09/2020                 (5 pgs)                (Milligan, Layla) (Entered: 11/09/2020)

                            1749                   Statement Third Monthly Fee Statement of
                                                   AlixPartners, LLP, Financial Advisor to the
                            (143 pgs)              Official Committee of Unsecured Creditors for
                                                   Allowance of Compensation for Services
                                                   Rendered and for Reimbursement of Expenses
                                                   for the Period September 1, 2020 through
                                                   September 30, 2020 (Filed By Official
                                                   Committee Of Unsecured Creditors ).
 11/09/2020                                        (Harrison, Julie) (Entered: 11/09/2020)

                            1750                   Objection United States' Protective Objection
                                                   to Debtors' Sale of the Mid-Con Assets. Filed
                            (44 pgs; 3 docs)       by Department of Interior United States
                                                   (Attachments: # 1 Exhibit 1 - Debtors' List of
                                                   Mid-Con Federal Leases # 2 Exhibit 2 -
                                                   Declaration of Cindy Hergenreder (ONRR))
 11/09/2020                                        (Carney, Tiffiney) (Entered: 11/09/2020)

                            1751                   Transcript RE: Evidentiary Hearing on Motion
                                                   to Certify Class of Unleased Mineral Interest
                            (34 pgs)               Owners held on 11/6/20 before Judge David R.
                                                   Jones. Transcript is available for viewing in the
                                                   Clerk's Office. Filed by Transcript access will
                                                   be restricted through 02/8/2021.
 11/09/2020                                        (AccessTranscripts) (Entered: 11/09/2020)

                            1752                   AO 435 TRANSCRIPT ORDER FORM (Daily
                                                   (24 hours)) by Marty L. Brimmage, Jr.. This is
                            (1 pg)                 to order a transcript of the November 6, 2020
                                                   Hearing before Judge David R. Jones. Court
                                                   Reporter/Transcriber: Access Transcripts (Filed
                                                   By Franklin Advisers, Inc., as Investment
                                                   Manager on Behalf of Certain Funds and
                                                   Accounts ). (Brimmage, Marty) Copy request
                                                   electronically forwarded to Access Transcripts,
                                                   LLC on November 10, 2020. Estimated
                                                   completion date: November 11, 2020. Modified
                                                   on 11/10/2020 (ClaudiaGutierrez). (Entered:
 11/09/2020                                        11/09/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 266 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 266 of 1639
                                                                           0266


                            1753                   Notice of Appearance and Request for Notice
                                                   Filed by Stephen Lynn Williamson Filed by on
                            (3 pgs)                behalf of CEOG, LLC (Williamson, Stephen)
 11/09/2020                                        (Entered: 11/09/2020)

                            1754                   Proposed Order RE: Order Denying Rodney
                                                   Hudson, et al.'s Motion to Certify Class of
                            (4 pgs)                Unleased Mineral Interest Owners for
                                                   Purposes of Filing a Class Proof of Claim
                                                   (Filed By Chesapeake Energy Corporation ).
                                                   (Related document(s):1295 Generic Motion,
                                                   1638 Objection) (Cavenaugh, Matthew)
 11/09/2020                                        (Entered: 11/09/2020)

                            1755                   Stipulation By Chesapeake Energy Corporation
                                                   and Texas MDL Royalty Owner Plaintiffs.
                            (4 pgs)                Does this document include an agreed order or
                                                   otherwise request that the judge sign a
                                                   document? Yes. (Filed By Chesapeake Energy
                                                   Corporation ).(Related document(s):1231 Order
                                                   on Motion to Extend Time) (Cavenaugh,
 11/10/2020                                        Matthew) (Entered: 11/10/2020)

                            1756                   Motion to Appear pro hac vice Amy R. Wolf.
                                                   Filed by Debtor Chesapeake Energy
                            (1 pg)                 Corporation (Cavenaugh, Matthew) (Entered:
 11/10/2020                                        11/10/2020)

                            1757                   Motion to Appear pro hac vice Joseph C.
                                                   Celentino. Filed by Debtor Chesapeake Energy
                            (1 pg)                 Corporation (Cavenaugh, Matthew) (Entered:
 11/10/2020                                        11/10/2020)

                            1758                   Motion to Appear pro hac vice John F. Lynch.
                                                   Filed by Debtor Chesapeake Energy
                            (1 pg)                 Corporation (Cavenaugh, Matthew) (Entered:
 11/10/2020                                        11/10/2020)

                            1759                   Motion to Appear pro hac vice Richard G.
                                                   Mason. Filed by Debtor Chesapeake Energy
                            (1 pg)                 Corporation (Cavenaugh, Matthew) (Entered:
 11/10/2020                                        11/10/2020)

                            1760
                                                   Motion to Appear pro hac vice David Zensky.
                            (1 pg)                 Filed by Interested Party Franklin Advisers,
                                                   Inc., as Investment Manager on Behalf of




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 267 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 267 of 1639
                                                                           0267


                                                   Certain Funds and Accounts (Brimmage,
 11/10/2020                                        Marty) (Entered: 11/10/2020)

                            1761                   Notice of Filing of Official Transcript as to
                                                   1751 Transcript. Parties notified (Related
                            (1 pg)                 document(s):1751 Transcript) (jdav) (Entered:
 11/10/2020                                        11/10/2020)

                            1762                   Notice of Appeal filed. (related document
                                                   (s):1579 Opinion, 1580 Generic Order). Fee
                            (17 pgs)               Amount $298. Appellant Designation due by
 11/10/2020                                        11/24/2020. (Yetter, R) (Entered: 11/10/2020)

                            1763                   Exhibit List, Witness List (Filed By Vector
                                                   Seismic Data Processing Inc., Westerngeco
                            (1282 pgs; 8 docs)     LLC ).(Related document(s):1698 Objection)
                                                   (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3
                                                   Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6
                                                   Exhibit 7 # 7 Exhibit 9) (Braun, Andrew)
 11/10/2020                                        (Entered: 11/10/2020)

                                                   Receipt of Notice of Appeal(20-33233)
                                                   [appeal,ntcapl] ( 298.00) Filing Fee. Receipt
                                                   number 22586263. Fee amount $ 298.00. (U.S.
 11/10/2020                                        Treasury) (Entered: 11/10/2020)

                            1764                  Statement / Fourth Monthly Fee Statement of
                                                  Brown Rudnick LLP for Allowance of
                            (77 pgs)              Compensation for Services Rendered and for
                                                  Reimbursement of Expenses as Co-Counsel for
                                                  the Official Committee of Unsecured Creditors
                                                  for the Period from October 1, 2020 through
                                                  October 31, 2020 (Filed By Official Committee
                                                  Of Unsecured Creditors ). (Harrison, Julie)
 11/10/2020                                       (Entered: 11/10/2020)

                            1765                  Motion to Appear pro hac vice Joshua B.
                                                  Ebersole. Filed by Creditor Pennsylvania
                            (1 pg)                Department of Conservation and Natural
 11/10/2020                                       Resources (mmap) (Entered: 11/10/2020)

                            1766
                                                  E-mail by Gaynell Spigner (mmap) (Entered:
 11/10/2020                 (2 pgs)               11/10/2020)

                            1767
                                                  Notice of Successful Bidders and Backup Bidder




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 268 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 268 of 1639
                                                                           0268


                                                  With Respect to the Auction of the Debtors' Mid-
                            (3 pgs)               Con Assets. Filed by Chesapeake Energy
                                                  Corporation (Cavenaugh, Matthew) (Entered:
 11/10/2020                                       11/10/2020)

                            2164                  Adversary case 20-03491. Nature of Suit: (01
                                                  (Determination of removed claim or cause))
                            (4257 pgs; 13 docs)   Notice of Removal filed by Texas Eagle Ford
                                                  MDL Royalty Owners . Receipt Number
                                                  21950014, Fee Amount $350 (Attachments: # 1
                                                  Docket Sheet # 2 Orders # 3 Pleadings 1 of 3 # 4
                                                  Pleadings 2 of 3 # 5 Pleadings 3 of 3 # 6 Appeal
                                                  Item 1 of 6 # 7 Appeal Item 2 of 6 # 8 Appeal
                                                  Item 3 of 6 # 9 Appeal Item 4 of 6 # 10 Appeal
                                                  Item 5-1 of 6 # 11 Appeal Item 5-2 of 6 # 12
                                                  Appeal Item 6 of 6) This document was
                                                  originally filed electronically in Western District
                                                  of Texas Adversary No. 20-5064. (ltie) (Entered:
 11/10/2020                                       12/07/2020)

                            1768                  Application to Employ Shearman & Sterling
                                                  LLP as Special Counsel for the Debtors
                            (110 pgs; 2 docs)     Effective as of October 11, 2020.
                                                  Objections/Request for Hearing Due in 21 days.
                                                  Filed by Debtor Chesapeake Energy Corporation
                                                  (Attachments: # 1 Proposed Order) (Cavenaugh,
 11/11/2020                                       Matthew) (Entered: 11/11/2020)

                            1769                  Exhibit List, Witness List (Filed By A2D
                                                  TECHNOLOGIES, INC. D/B/A TGS
                            (1208 pgs; 6 docs)    GEOLOGICAL PRODUCTS AND SERVICES,
                                                  TGS-NOPEC Geophysical Company ASA ).
                                                  (Related document(s):1699 Objection)
                                                  (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3
                                                  Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5) (Braun,
 11/11/2020                                       Andrew) (Entered: 11/11/2020)

                            1770                  Witness List, Exhibit List (Filed By Chesapeake
                                                  Energy Corporation ). (Cavenaugh, Matthew)
 11/11/2020                 (4 pgs)               (Entered: 11/11/2020)

                            1771                  Witness List, Exhibit List (Filed By Chesapeake
                                                  Energy Corporation ).(Related document(s):1770
                            (1191 pgs; 15 docs)   Witness List, Exhibit List) (Attachments: # 1
                                                  Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit
                                                  4 # 5 Exhibit 5 # 6 Exhibit 6 # 7 Exhibit 7 # 8
                                                  Exhibit 8 # 9 Exhibit 9 # 10 Exhibit 10 # 11




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 269 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 269 of 1639
                                                                           0269


                                                  Exhibit 11 # 12 Exhibit 12 # 13 Exhibit 13 # 14
                                                  Exhibit 14) (Cavenaugh, Matthew) (Entered:
 11/11/2020                                       11/11/2020)

                            1772                  Statement Pursuant to Rule 2019 of the Federal
                                                  Rules of Bankruptcy Procedure (Filed By Caddo
                            (7 pgs)               Parish, Coushatta Bayou Land Co., Industrial
                                                  Dev. Bd. of the Parish of Caddo, Inc., Industrial
                                                  Development Board of the Parish of Caddo, Inc.,
                                                  Parish of Caddo, Paul M. Davis as Executor of
                                                  the Succession of John P. Davis, Jr. ). (Naus, R)
 11/11/2020                                       (Entered: 11/11/2020)

                            1773                  Notice to Akin Gump Strauss Hauer & Feld LLP
                                                  of Rule 30(b)(6) Deposition. Filed by Official
                            (8 pgs)               Committee Of Unsecured Creditors (Harrison,
 11/11/2020                                       Julie) (Entered: 11/11/2020)

                            1774                  Notice of Appearance and Request for Notice
                                                  Filed by Sarah A Schultz Filed by on behalf of
                            (3 pgs)               Tapstone Energy, LLC and KL CHK SPV LLC
 11/11/2020                                       (Schultz, Sarah) (Entered: 11/11/2020)

                            1775                  Exhibit List, Witness List (Filed By Tapstone
                                                  Energy, LLC and KL CHK SPV LLC ).
 11/11/2020                 (3 pgs)               (Schultz, Sarah) (Entered: 11/11/2020)

                            1776                  Notice to Davis Polk & Wardwell LLP of Rule
                                                  30(b)(6) Deposition. Filed by Official
                            (9 pgs)               Committee Of Unsecured Creditors (Harrison,
 11/11/2020                                       Julie) (Entered: 11/11/2020)

                            1777                  Notice to Wachtell, Lipton, Rosen & Katz of
                                                  Rule 30(b)(6) Deposition. Filed by Official
                            (9 pgs)               Committee Of Unsecured Creditors (Harrison,
 11/11/2020                                       Julie) (Entered: 11/11/2020)

                            1778                  Notice to Kirkland & Ellis LLP of Rule 30(b)(6)
                                                  Deposition. Filed by Official Committee Of
                            (9 pgs)               Unsecured Creditors (Harrison, Julie) (Entered:
 11/11/2020                                       11/11/2020)

                            1779                  Affidavit Re: Affidavit of Publication - The
                                                  Billings Gazette (Filed By Chesapeake Energy
                            (2 pgs)               Corporation ). (Cavenaugh, Matthew) (Entered:
 11/11/2020                                       11/11/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 270 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 270 of 1639
                                                                           0270


                            1780                  Affidavit Re: Affidavit of Publication - Canton
                                                  Repository (Filed By Chesapeake Energy
                            (2 pgs)               Corporation ). (Cavenaugh, Matthew) (Entered:
 11/11/2020                                       11/11/2020)

                            1781                  Affidavit Re: Affidavit of Publication - The
                                                  Philadelphia Inquirer (Filed By Chesapeake
                            (3 pgs)               Energy Corporation ). (Cavenaugh, Matthew)
 11/11/2020                                       (Entered: 11/11/2020)

                            1782                  Affidavit Re: Affidavit of Publication - The
                                                  Caster Star Tribune (Filed By Chesapeake
                            (2 pgs)               Energy Corporation ). (Cavenaugh, Matthew)
 11/11/2020                                       (Entered: 11/11/2020)

                            1783                  Affidavit Re: Affidavit of Publication - The
                                                  Houston Chronicle (Filed By Chesapeake
                            (5 pgs)               Energy Corporation ). (Cavenaugh, Matthew)
 11/11/2020                                       (Entered: 11/11/2020)

                            1784                  Affidavit Re: Affidavit of Publication - The New
                                                  York Times (Filed By Chesapeake Energy
                            (2 pgs)               Corporation ). (Cavenaugh, Matthew) (Entered:
 11/11/2020                                       11/11/2020)

                            1785                  Affidavit Re: Affidavit of Publication - The
                                                  Oklahoman (Filed By Chesapeake Energy
                            (3 pgs)               Corporation ). (Cavenaugh, Matthew) (Entered:
 11/11/2020                                       11/11/2020)

                            1786                  BNC Certificate of Mailing. (Related document
                                                  (s):1745 Generic Order) No. of Notices: 172.
                            (14 pgs)              Notice Date 11/11/2020. (Admin.) (Entered:
 11/11/2020                                       11/11/2020)

                            1787                  BNC Certificate of Mailing. (Related document
                                                  (s):1746 Order on Motion to Approve
                            (10 pgs)              Compromise under Rule 9019) No. of Notices:
                                                  172. Notice Date 11/11/2020. (Admin.)
 11/11/2020                                       (Entered: 11/11/2020)

                            1788                  Election to Appeal to District Court .
 11/12/2020                                       (ShoshanaArnow) (Entered: 11/12/2020)

                            1789
                                                  E-Mail by Gaynell Spigner (mmap) (Entered:




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 271 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 271 of 1639
                                                                           0271


 11/12/2020                 (2 pgs)               11/12/2020)

                            1790                  Clerk's Notice of Filing of an Appeal. On
                                                  11/10/2020, ETC Texas Pipeline, Ltd. filed a
                            (1 pg)                notice of appeal. The appeal has been assigned
                                                  to U.S. District Judge Keith Ellison, Civil Action
                                                  4:20-cv-3843. Parties notified (Related
                                                  document(s):1762 Notice of Appeal)
 11/12/2020                                       (ShoshanaArnow) (Entered: 11/12/2020)

                            1791                  AO 435 TRANSCRIPT ORDER FORM (Daily
                                                  (24 hours)) by CEOG, LLC/Stephen
                            (2 pgs)               Williamson. This is to order a transcript of
                                                  Evidentiary Hearing on Motion to Certify Class
                                                  of Unleased Mineral Interest Owners on
                                                  11/6/2020 before Judge David R. Jones. Court
                                                  Reporter/Transcriber: Access Transcripts (Filed
                                                  By CEOG, LLC ). (Williamson, Stephen)
                                                  Electronically forwarded to Access on
                                                  11/12/2020. Estimated completion date
                                                  11/13/2020. Modified on 11/12/2020
 11/12/2020                                       (ShoshanaArnow). (Entered: 11/12/2020)

                            1792                  Motion to Appear pro hac vice by Mark E.
                                                  Walraven. Filed by Creditor The Royalty
 11/12/2020                 (2 pgs)               Owners (Shannon, R.J.) (Entered: 11/12/2020)

                            1793                  Response (Filed By Chesapeake Energy
                                                  Corporation ). (Cavenaugh, Matthew) (Entered:
 11/12/2020                 (9 pgs)               11/12/2020)

                            1794                  Operating Report for Filing Period September
                                                  2020, $349,121 disbursed (Filed By Chesapeake
                            (13 pgs)              Energy Corporation ). (Cavenaugh, Matthew)
 11/12/2020                                       (Entered: 11/12/2020)

                            1795                  Notice of Periodic Report Regarding Value,
                                                  Operations, and Profitability of Entities in
                            (12 pgs)              Which the Debtor's Estate Holds a Substantial
                                                  or Controlling Interest. Filed by Chesapeake
                                                  Energy Corporation (Cavenaugh, Matthew)
 11/12/2020                                       (Entered: 11/12/2020)

                            1796                  Order Granting Motion To Appear pro hac vice -
                                                  Amy R. Wolf (Related Doc # 1756) Signed on
 11/12/2020                 (1 pg)                11/12/2020. (emiller) (Entered: 11/12/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 272 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 272 of 1639
                                                                           0272


                            1797                  Order Granting Motion To Appear pro hac vice -
                                                  Joseph C. Celentino (Related Doc # 1757)
                            (1 pg)                Signed on 11/12/2020. (emiller) (Entered:
 11/12/2020                                       11/12/2020)

                            1798                  Order Granting Motion To Appear pro hac vice -
                                                  John F. Lynch (Related Doc # 1758) Signed on
 11/12/2020                 (1 pg)                11/12/2020. (emiller) (Entered: 11/12/2020)

                            1799                  Order Granting Motion To Appear pro hac vice -
                                                  Richard G. Mason (Related Doc # 1759) Signed
 11/12/2020                 (1 pg)                on 11/12/2020. (emiller) (Entered: 11/12/2020)

                            1800                  Order Granting Motion To Appear pro hac vice -
                                                  David Zensky (Related Doc # 1760) Signed on
 11/12/2020                 (1 pg)                11/12/2020. (emiller) (Entered: 11/12/2020)

                            1801                  Order Granting Motion To Appear pro hac vice -
                                                  Joshua B. Ebersole (Related Doc # 1765) Signed
 11/12/2020                 (1 pg)                on 11/12/2020. (emiller) (Entered: 11/12/2020)

                            1802                  Order Granting Motion To Appear pro hac vice -
                                                  Mark E. Walraven (Related Doc # 1792) Signed
 11/12/2020                 (2 pgs)               on 11/12/2020. (emiller) (Entered: 11/12/2020)

                            1803                  Proposed Order RE: Order (I) Authorizing the
                                                  Sale of the Debtors' Mid-Con Assets Free and
                            (2278 pgs; 2 docs)    Clear of Liens, Claims, Encumbrances, and
                                                  Interests, (II) Authorizing the Debtors to Enter
                                                  Into and Perform Under the Definitive Purchase
                                                  Agreements, (III) Authorizing the Assumption
                                                  and Assignment of Certain Executory Contracts
                                                  and Unexpired Leases, and (IV) Granting
                                                  Related Relief (Filed By Chesapeake Energy
                                                  Corporation ).(Related document(s):1147
                                                  Generic Motion) (Attachments: # 1 Redline)
 11/12/2020                                       (Cavenaugh, Matthew) (Entered: 11/12/2020)

                            1804
                                                  Exhibit List, Witness List (Filed By Chesapeake
                            (1251 pgs; 15 docs)   Energy Corporation ).(Related document(s):1771
                                                  Witness List, Exhibit List) (Attachments: # 1
                                                  Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit
                                                  4 # 5 Exhibit 5 # 6 Exhibit 6 # 7 Exhibit 7 # 8
                                                  Exhibit 8 # 9 Exhibit 9 # 10 Exhibit 10 # 11
                                                  Exhibit 11 # 12 Exhibit 12 # 13 Exhibit 13 # 14
                                                  Exhibit 14) (Cavenaugh, Matthew) (Entered:




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 273 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 273 of 1639
                                                                           0273


 11/12/2020                                       11/12/2020)

                            1805                  Agenda for Hearing on 11/13/2020 (Filed By
                                                  Chesapeake Energy Corporation ). (Cavenaugh,
 11/12/2020                 (6 pgs)               Matthew) (Entered: 11/12/2020)

                            1806                  BNC Certificate of Mailing. (Related document
                                                  (s):1761 Notice of Filing of Official Transcript
                            (9 pgs)               (Form)) No. of Notices: 171. Notice Date
 11/12/2020                                       11/12/2020. (Admin.) (Entered: 11/13/2020)

                            1807                  Motion / Unsealed Motion of the Official
                                                  Committee of Unsecured Creditors for (I) Leave,
                            (3455 pgs; 27 docs)   Standing, and Authority to Commence and
                                                  Prosecute Certain Lien Claims and Causes of
                                                  Action on Behalf of the Debtors' Estates and (II)
                                                  Exclusive Settlement Authority [Relates to Dkt.
                                                  Nos. 1546, 1547] Filed by Creditor Committee
                                                  Official Committee Of Unsecured Creditors
                                                  Hearing scheduled for 12/15/2020 at 12:00 PM
                                                  at Houston, Courtroom 400 (DRJ).
                                                  (Attachments: # 1 Exhibit A: Proposed Order # 2
                                                  Exhibit B: Complaint # 3 Exhibit A to
                                                  Complaint # 4 Exhibit B to Complaint # 5
                                                  Exhibit C to Complaint # 6 Exhibit D to
                                                  Complaint # 7 Exhibit E to Complaint # 8
                                                  Exhibit F to Complaint # 9 Exhibit G to
                                                  Complaint # 10 Exhibit H to Complaint # 11
                                                  Exhibit I to Complaint # 12 Exhibit J to
                                                  Complaint # 13 Exhibit K to Complaint # 14
                                                  Exhibit L to Complaint # 15 Exhibit M to
                                                  Complaint # 16 Exhibit N to Complaint # 17
                                                  Exhibit O to Complaint # 18 Exhibit P to
                                                  Complaint # 19 Exhibit Q to Complaint # 20
                                                  Exhibit R to Complaint # 21 Exhibit S to
                                                  Complaint # 22 Exhibit T to Complaint # 23
                                                  Exhibit U to Complaint # 24 Exhibit V to
                                                  Complaint # 25 Exhibit W to Complaint # 26
                                                  Exhibit X to Complaint) (Harrison, Julie)
 11/13/2020                                       (Entered: 11/13/2020)

                            1808
                                                  Proposed Order RE: Order (I) Approving the
                                                  Bidding Procedures for the Sale of the Debtors'
                            (2278 pgs; 2 docs)
                                                  Mid-Con Assets, (II) Approving Bid Protections,
                                                  (III) Scheduling Certain Dates with Respect
                                                  Thereto, (IV) Approving the Form and Manner
                                                  of Notice Thereof, and (V) Approving Contract




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 274 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 274 of 1639
                                                                           0274


                                                  Assumption and Assignment Procedures, and (B)
                                                  an Order Authorizing the Debtors to Enter Into a
                                                  Definitive Purchase Agreement (Filed By
                                                  Chesapeake Energy Corporation ).(Related
                                                  document(s):1147 Generic Motion)
                                                  (Attachments: # 1 Redline) (Cavenaugh,
 11/13/2020                                       Matthew) (Entered: 11/13/2020)

                            1809                  E-Mails by Gaynell Spigner (Attachments: # 1
                                                  Exhibit # 2 Exhibit) (mmap) (Entered:
 11/13/2020                 (7 pgs; 3 docs)       11/13/2020)

                            1810                      PDF with attached Audio File. Court Date &
                                                  Time [ 11/13/2020 8:59:47 AM ]. File Size
                            (1 pg)                [ 17903 KB ]. Run Time [ 00:37:18 ]. (admin).
 11/13/2020                                       (Entered: 11/13/2020)

                            1811                  Notice of Fee Statement of Kirkland & Ellis LLP
                                                  and Kirkland & Ellis International LLP for
                            (256 pgs)             Compensation for Services and Reimbursement
                                                  of Expenses as Attorneys to the Debtors and
                                                  Debtors in Possession for the Period From
                                                  August 1, 2020 Through August 31, 2020.
                                                  (Related document(s):656 Generic Order) Filed
                                                  by Chesapeake Energy Corporation (Cavenaugh,
 11/13/2020                                       Matthew) (Entered: 11/13/2020)

                            1812                  Courtroom Minutes. Time Hearing Held: 9:00
                                                  AM. Appearances: see attached. (Related
                            (3 pgs)               document(s):1147 Motion) Witness: Antonio
                                                  Fernandez. For the reasons stated on the record,
                                                  the Court has approved the bidding procedures
                                                  for the sale. Order signed on the record. (aalo)
 11/13/2020                                       (Entered: 11/13/2020)

                            1813
                                                  Objection Debtors' Limited Objection and
                            (7 pgs)               Reservation of Rights to the Motion of Madison
                                                  Hendrix; Traci Hendrix, Individually and as
                                                  Next of Kin to the Estate of Bradley Hendrix;
                                                  Norma Lyn Maldonado, Individually and as
                                                  Representative of the Estate of Brian Amador
                                                  Maldonado; and Erika Beddingfield,
                                                  Individually, and as Next Friend of M.B., a
                                                  Minor, and as Representative of the Estate of
                                                  Windell Beddingfield, Deceased for Relief from
                                                  Stay to Conclude Pending Texas State Court




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 275 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 275 of 1639
                                                                           0275


                                                  Litigation (related document(s):1558 Motion for
                                                  Relief From Stay). Filed by Chesapeake Energy
                                                  Corporation (Cavenaugh, Matthew) (Entered:
 11/13/2020                                       11/13/2020)

                            1814                  Motion for Entry of an Order (I) Authorizing the
                                                  Assumption and Assignment of Certain Bureau
                            (26 pgs; 2 docs)      of Land Management and Bureau of Indian
                                                  Affairs Oil and Gas Leases and (II) Granting
                                                  Related Relief Filed by Debtor Chesapeake
                                                  Energy Corporation (Attachments: # 1 Proposed
                                                  Order) (Cavenaugh, Matthew) (Entered:
 11/13/2020                                       11/13/2020)

                            1815                  Notice of Reset of Hearing on Motion of Justin
                                                  Cobb, Kristine Cobb and Linda Milanovich for
                            (4 pgs)               Relief from the Automatic Stay. (Related
                                                  document(s):1448 Motion for Relief From Stay)
                                                  Filed by Chesapeake Energy Corporation
 11/13/2020                                       (Cavenaugh, Matthew) (Entered: 11/13/2020)

                            1817                  Order (I) Authorizing the Sale of the Debtors'
                                                  Mid-Con Assets Free and Clear of Liens,
                            (2237 pgs)            Claims, Encumbrances, and Interests, (II)
                                                  Authorizing the Debtors to Enter Into and
                                                  Perform Under the Definitive Purchase
                                                  Agreements, (III) Authorizing the Assumption
                                                  and Assignment of Certain Executory Contracts
                                                  and Unexpired Leases, and (IV) Granting
                                                  Related Relief (Related Doc # 1147) Signed on
 11/13/2020                                       11/13/2020. (emiller) (Entered: 11/15/2020)

                            1816                  BNC Certificate of Mailing. (Related document
                                                  (s):1790 Clerk's Notice of Filing of an Appeal)
                            (9 pgs)               No. of Notices: 173. Notice Date 11/14/2020.
 11/14/2020                                       (Admin.) (Entered: 11/15/2020)

                            1818                  BNC Certificate of Mailing. (Related document
                                                  (s):1796 Order on Motion to Appear pro hac
                            (9 pgs)               vice) No. of Notices: 173. Notice Date
 11/15/2020                                       11/15/2020. (Admin.) (Entered: 11/15/2020)

                            1819                  BNC Certificate of Mailing. (Related document
                                                  (s):1797 Order on Motion to Appear pro hac
                            (9 pgs)               vice) No. of Notices: 173. Notice Date
 11/15/2020                                       11/15/2020. (Admin.) (Entered: 11/15/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 276 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 276 of 1639
                                                                           0276


                            1820                  BNC Certificate of Mailing. (Related document
                                                  (s):1798 Order on Motion to Appear pro hac
                            (9 pgs)               vice) No. of Notices: 173. Notice Date
 11/15/2020                                       11/15/2020. (Admin.) (Entered: 11/15/2020)

                            1821                  BNC Certificate of Mailing. (Related document
                                                  (s):1799 Order on Motion to Appear pro hac
                            (9 pgs)               vice) No. of Notices: 173. Notice Date
 11/15/2020                                       11/15/2020. (Admin.) (Entered: 11/15/2020)

                            1822                  BNC Certificate of Mailing. (Related document
                                                  (s):1800 Order on Motion to Appear pro hac
                            (9 pgs)               vice) No. of Notices: 173. Notice Date
 11/15/2020                                       11/15/2020. (Admin.) (Entered: 11/15/2020)

                            1823                  BNC Certificate of Mailing. (Related document
                                                  (s):1801 Order on Motion to Appear pro hac
                            (9 pgs)               vice) No. of Notices: 173. Notice Date
 11/15/2020                                       11/15/2020. (Admin.) (Entered: 11/15/2020)

                            1824                  BNC Certificate of Mailing. (Related document
                                                  (s):1802 Order on Motion to Appear pro hac
                            (10 pgs)              vice) No. of Notices: 173. Notice Date
 11/15/2020                                       11/15/2020. (Admin.) (Entered: 11/15/2020)

                            1825                  E-Mails by Gaynell Spigner (Related document
                                                  (s):1809 Document) (Attachments: # 1 Exhibit #
                            (12 pgs; 6 docs)      2 Exhibit # 3 Exhibit # 4 Exhibit # 5 Exhibit)
 11/16/2020                                       (mmap) (Entered: 11/16/2020)

                            1826
                                                  Letter from Gaynell Spigner to the Court
 11/16/2020                 (2 pgs)               (mmap) (Entered: 11/16/2020)

                            1827                  Statement Arrington Oil & Gas Royalty Fund,
                                                  LLC's Election to Opt Out of Releases (Filed By
                            (1 pg)                Arrington Oil & Gas Royalty Fund, LLC ).
 11/16/2020                                       (Holzer, Nathaniel) (Entered: 11/16/2020)

                            1828                  Statement The Monument ABO Company's
                                                  Election to Opt Out of Releases (Filed By The
                            (1 pg)                Monument ABO Company ). (Holzer,
 11/16/2020                                       Nathaniel) (Entered: 11/16/2020)

                            1829
                                                  Motion to Appear pro hac vice Ira Neil
                                                  Richards. Filed by Creditor William R Ruark




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                        5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 277 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 277 of 1639
                                                                           0277


                            (2 pgs)               (mmap) A list of creditors attached (Entered:
 11/16/2020                                       11/16/2020)

                            1830                  Motion to Appear pro hac vice Arleigh P Helfer,
                                                  III. Filed by Creditor WLR Family Partnership
                            (2 pgs)               (mmap) A list of creditors attached (Entered:
 11/16/2020                                       11/16/2020)

                            1831                  Motion to Appear pro hac vice Richard Barkasy.
                                                  Filed by Creditor Raynold W Wilson (mmap) A
 11/16/2020                 (2 pgs)               list of creditors attached (Entered: 11/16/2020)

                            1832
                                                  Letter from Gaynell Spigner to the Judge
 11/16/2020                 (1 pg)                (mmap) (Entered: 11/16/2020)

                            1833                  Application to Employ BBG, Inc. as Real Estate
                                                  Appraiser/Valuation Expert. Objections/Request
                            (72 pgs; 4 docs)      for Hearing Due in 21 days. Filed by Creditor
                                                  Committee Official Committee Of Unsecured
                                                  Creditors (Attachments: # 1 Exhibit A: Yorey
                                                  Declaration # 2 Exhibit B: Engagement Letter #
                                                  3 Proposed Order) (Harrison, Julie) (Entered:
 11/16/2020                                       11/16/2020)

                            1834                  Declaration re: Supplemental Declaration of
                                                  Patrick J. Nash, Jr. in Support of the Debtors'
                            (20 pgs)              Application for Entry of an Order Authorizing
                                                  the Retention and Employment of Kirkland &
                                                  Ellis LLP and Kirkland & Ellis International
                                                  LLP as Attorneys for the Debtors and Debtors In
                                                  Possession Effective as of June 28, 2020 (Filed
                                                  By Chesapeake Energy Corporation ).
 11/16/2020                                       (Cavenaugh, Matthew) (Entered: 11/16/2020)

                            1835                  Certificate of No Objection with Respect to the
                                                  Motion for Entry of an Order (I) Authorizing the
                            (7 pgs; 2 docs)       Rejection of the Houston Lease and Sublease
                                                  Effective as of October 30, 2020 and (II)
                                                  Granting Related Relief (Filed By Chesapeake
                                                  Energy Corporation ).(Related document(s):1466
                                                  Generic Motion) (Attachments: # 1 Proposed
                                                  Order) (Cavenaugh, Matthew) (Entered:
 11/16/2020                                       11/16/2020)

                            1836
                                                  Notice of Third Monthly Fee Statement of




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 278 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 278 of 1639
                                                                           0278


                                                  PricewaterhouseCoopers LLP for Services
                            (99 pgs)              Rendered and Reimbursement of Expenses as
                                                  Audit Services and Tax Consulting Services
                                                  Provider for the Debtors for the Period
                                                  September 1, 2020 Through September 30, 2020.
                                                  Filed by Chesapeake Energy Corporation
 11/17/2020                                       (Cavenaugh, Matthew) (Entered: 11/17/2020)

                            1837
                                                  E-Mail sent to the Court by Gaynell Spigner
 11/17/2020                 (2 pgs)               (mmap) (Entered: 11/17/2020)

                            1838
                                                  Letter from John Dough (JeannieAndresen)
 11/17/2020                 (3 pgs)               (Entered: 11/17/2020)

                            1839                  AO 435 TRANSCRIPT ORDER FORM (Daily
                                                  (24 hours)) by Matthew Cavenaugh. This is to
                            (1 pg)                order a transcript of 11/13/2020 before Judge
                                                  David R. Jones. Court Reporter/Transcriber:
                                                  Judicial Transcribers of Texas (Filed By
                                                  Chesapeake Energy Corporation ). (Cavenaugh,
                                                  Matthew) Electronically forwarded to Judicial
                                                  Transcribers of Texas on November 19, 2020.
                                                  Estimated completion date: November 20, 2020.
                                                  Modified on 11/19/2020 (ClaudiaGutierrez).
 11/17/2020                                       (Entered: 11/17/2020)

                            1840                  AO 435 TRANSCRIPT ORDER FORM (Daily
                                                  (24 hours)) by M. Quejada. This is to order a
                            (1 pg)                transcript of October 30, 2020 Hearing before
                                                  Judge David R. Jones. Court
                                                  Reporter/Transcriber: Access Transcripts (Filed
                                                  By MUFG Union Bank, N.A. ). (Quejada,
                                                  Maegan) Copy request electronically forwarded
                                                  to Access Transcripts, LLC on November 19,
                                                  2020. Estimated completion date: November 20,
                                                  2020. Modified on 11/19/2020
 11/17/2020                                       (ClaudiaGutierrez). (Entered: 11/17/2020)

                            1841                  AO 435 TRANSCRIPT ORDER FORM (Daily
                                                  (24 hours)) by M. Quejada. This is to order a
                            (1 pg)                transcript of November 13, 2020 Hearing before
                                                  Judge David R. Jones. Court
                                                  Reporter/Transcriber: Judicial Transcribers of
                                                  Texas (Filed By MUFG Union Bank, N.A. ).
                                                  (Quejada, Maegan) Copy request electronically




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 279 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 279 of 1639
                                                                           0279


                                                  forwarded to Judicial Transcribers of Texas on
                                                  November 19, 2020. Estimated completion date:
                                                  November 20,2020. Modified on 11/19/2020
 11/17/2020                                       (ClaudiaGutierrez). (Entered: 11/17/2020)

                            1842                  Notice of Appearance and Request for Notice
                                                  Filed by Mary Elizabeth Heard Filed by on
                            (4 pgs)               behalf of PMBG Parties (Heard, Mary) (Entered:
 11/17/2020                                       11/17/2020)

                            1843                  Stipulation and Agreed Order Signed on
                                                  11/17/2020 (Related document(s):1465
 11/17/2020                 (5 pgs)               Stipulation) (aalo) (Entered: 11/17/2020)

                            1844                  Affidavit Re: Affidavit of Publication of The
                                                  Advocate (Filed By Chesapeake Energy
                            (3 pgs)               Corporation ).(Related document(s):1633 Order
                                                  Approving Disclosure Statement) (Cavenaugh,
 11/17/2020                                       Matthew) (Entered: 11/17/2020)

                            1845                  Adversary case 20-03467. Nature of Suit: (91
                                                  (Declaratory judgment)) Complaint by c/o Annie
                            (367 pgs; 12 docs)    Catmull Royalty Owner Plaintiffs c/o against
                                                  Chesapeake Exploration, L.L.C., Chesapeake
                                                  Operating L.L.C.. Fee Amount $350
                                                  (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3
                                                  Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6 Exhibit
                                                  6 # 7 Exhibit 7 # 8 Exhibit 8 # 9 Exhibit 9 # 10
                                                  Exhibit 10 # 11 Exhibit 11) (Catmull, Annie)
 11/17/2020                                       (Entered: 11/17/2020)

                            1846                  Order Granting Motion To Appear pro hac vice -
                                                  Ira Neil Richards (Related Doc # 1829) Signed
 11/17/2020                 (2 pgs)               on 11/17/2020. (emiller) (Entered: 11/18/2020)

                            1847                  Order Granting Motion To Appear pro hac vice -
                                                  Arleigh P. Helfer III (Related Doc # 1830)
                            (2 pgs)               Signed on 11/17/2020. (emiller) (Entered:
 11/17/2020                                       11/18/2020)

                            1848                  Order Granting Motion To Appear pro hac vice -
                                                  Richard Barkasy (Related Doc # 1831) Signed
 11/17/2020                 (2 pgs)               on 11/17/2020. (emiller) (Entered: 11/18/2020)

                            1851
                                                  Stipulation and Agreed Order by and Among the
                                                  Debtors and the Texas MDL Royalty Owner




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 280 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 280 of 1639
                                                                           0280


                            (4 pgs)               Plaintiffs Extending the Removal Period for the
                                                  Texas MDL Signed on 11/17/2020 (Related
                                                  document(s):1755 Stipulation) (VrianaPortillo)
 11/17/2020                                       (Entered: 11/18/2020)

                            1849                  Witness List, Exhibit List (Filed By Chesapeake
                                                  Energy Corporation ). (Attachments: # 1 Exhibit
                            (175 pgs; 3 docs)     1 # 2 Exhibit 2) (Cavenaugh, Matthew) (Entered:
 11/18/2020                                       11/18/2020)

                            1850                  Exhibit List, Witness List (Filed By Madison
                                                  Hendrix ).(Related document(s):1558 Motion for
                            (67 pgs; 6 docs)      Relief From Stay) (Attachments: # 1 Exhibit 1 #
                                                  2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 # 5
 11/18/2020                                       Exhibit 5) (Itkin, Jason) (Entered: 11/18/2020)

                                                  Certificate of Email Notice. Due to the Courts
                                                  schedule, the hearing on the motions filed at
                                                  docket nos. 1293 and 1175 have been reset.
                                                  Movant to notice all interested parties and file a
                                                  certificate of service with the court (Related
                                                  document(s):1175 Motion to Reconsider, 1293
                                                  Motion for Relief From Stay) Hearing
                                                  rescheduled for 12/14/2020 at 02:00 PM at
                                                  telephone and video conference. (aalo)
 11/18/2020                                       (Entered: 11/18/2020)

                                                  Certificate of Email Notice. Due to the Courts
                                                  schedule, the hearing on the motions for relief
                                                  from stay filed at docket nos. 1248, 1249, 1448
                                                  1451 and 1558 have been reset. Movants to
                                                  notice all interested parties and file a certificate
                                                  of service with the court (Related document
                                                  (s):1248 Motion for Relief From Stay, 1249
                                                  Motion for Relief From Stay, 1448 Motion for
                                                  Relief From Stay, 1451 Motion for Relief From
                                                  Stay, 1558 Motion for Relief From Stay)
                                                  Hearing rescheduled for 12/10/2020 at 09:00
                                                  AM at telephone and video conference. (aalo)
 11/18/2020                                       (Entered: 11/18/2020)

                            1852                  Stipulation By Chesapeake Energy Corporation
                                                  and Rodney Hudson, et al., Allen Johnson, et al.,
                            (5 pgs)               and Sandra Louise Woods-Nelson. Does this
                                                  document include an agreed order or otherwise
                                                  request that the judge sign a document? Yes.
                                                  (Filed By Chesapeake Energy Corporation ).




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                         5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 281 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 281 of 1639
                                                                           0281


 11/18/2020                                       (Cavenaugh, Matthew) (Entered: 11/18/2020)

                            1853                  Motion for Entry of an Agreed Order (I)
                                                  Authorizing the Rejection of the TETCO
                            (17 pgs; 2 docs)      Agreement Effective as of November 1, 2021 and
                                                  (II) Granting Related Relief Filed by Debtor
                                                  Chesapeake Energy Corporation (Attachments: #
                                                  1 Proposed Order) (Cavenaugh, Matthew)
 11/18/2020                                       (Entered: 11/18/2020)

                            1854
                                                  E-Mail to the Court by Gaynell Spigner (mmap)
 11/18/2020                 (2 pgs)               (Entered: 11/18/2020)

                            1855                  Notice of Appearance and Request for Notice
                                                  Filed by Timothy Aaron Million Filed by on
                            (3 pgs)               behalf of C.C. Forbes, LLC (Million, Timothy)
 11/18/2020                                       (Entered: 11/18/2020)

                            1856                  Notice of Transaction. (Related document(s):715
                                                  Generic Order) Filed by Chesapeake Energy
                            (5 pgs)               Corporation (Cavenaugh, Matthew) (Entered:
 11/18/2020                                       11/18/2020)

                            1857                  Motion for Entry of an Order (I) Authorizing the
                                                  Rejection of the Ryan Tax Contracts Effective as
                            (19 pgs; 2 docs)      of November 18, 2020, and (II) Granting Related
                                                  Relief Filed by Debtor Chesapeake Energy
                                                  Corporation (Attachments: # 1 Proposed Order)
 11/18/2020                                       (Cavenaugh, Matthew) (Entered: 11/18/2020)

                            1858                  E-Mail to the Court by Gaynell Spigner (Related
                                                  document(s):1817 Order) (mmap) (Entered:
 11/19/2020                 (3 pgs)               11/19/2020)

                            1859
                                                  Letter from Victor Franjul to Judge (mmap)
 11/19/2020                 (6 pgs)               (Entered: 11/19/2020)

                            1860                  Withdrawal of Claim: Claim No. 10013 with
                                                  claims agent in the amount of $4,765.70 for
                            (1 pg)                Bexar County (Stecker, Don) (Entered:
 11/19/2020                                       11/19/2020)

                            1861                  Motion to Appear pro hac vice Arleigh P. Helfer
                                                  III . Filed by Creditor William R Ruark, et al.




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 282 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 282 of 1639
                                                                           0282


                            (2 pgs)               (ChristopherSarrat) Modified on 11/19/2020
                                                  (ChristopherSarrat). Modified on 11/19/2020
                                                  (ChristopherSarrat). Modified on 11/19/2020
                                                  (ChristopherSarrat). Modified on 11/24/2020
 11/19/2020                                       (ChristopherSarrat). (Entered: 11/19/2020)

                            1862                  Operating Report for Filing Period October
                                                  2020, $404,703 disbursed (Filed By Chesapeake
                            (13 pgs)              Energy Corporation ). (Cavenaugh, Matthew)
 11/19/2020                                       (Entered: 11/19/2020)

                            1863                  Notice of Jackson Walker LLP's Second Monthly
                                                  Fee Statement for Compensation of Services
                            (24 pgs)              Rendered and Reimbursement of Expenses as
                                                  Co-Counsel and Conflicts Counsel to the
                                                  Debtors for the Period From August 1, 2020
                                                  Through August 31, 2020. (Related document
                                                  (s):656 Generic Order) Filed by Chesapeake
                                                  Energy Corporation (Cavenaugh, Matthew)
 11/19/2020                                       (Entered: 11/19/2020)

                            1864                  Notice of Jackson Walker LLP's Third Monthly
                                                  Fee Statement for Compensation of Services
                            (18 pgs)              Rendered and Reimbursement of Expenses as
                                                  Co-Counsel and Conflicts Counsel to the
                                                  Debtors for the Period from September 1, 2020
                                                  Through September 30, 2020. (Related
                                                  document(s):656 Generic Order) Filed by
                                                  Chesapeake Energy Corporation (Cavenaugh,
 11/19/2020                                       Matthew) (Entered: 11/19/2020)

                            1865                  Notice of Forshey & Prostok, LLP's Monthly
                                                  Fee Statement for Compensation for Services
                            (24 pgs)              Rendered and for Reimbursement of Expenses as
                                                  Attorneys for the Official Committee of Royalty
                                                  Owners for the period from October 1, 2020
                                                  through October 31, 2020. (Related document
                                                  (s):656 Generic Order) Filed by Forshey &
                                                  Prostok, LLP (Prostok, Jeffrey) (Entered:
 11/19/2020                                       11/19/2020)

                            1866                  Statement in Accordance with FRBP 2019(a)
                                                  (Filed By PMBG Parties ). (Heard, Mary)
 11/19/2020                 (6 pgs)               (Entered: 11/19/2020)

                            1867                  Affidavit Re: Service of Docket Numbers 1531,
                                                  1532, 1559 and 1560 (Filed By Epiq Corporate




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 283 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 283 of 1639
                                                                           0283


                            (20 pgs)              Restructuring LLC ).(Related document(s):1531
                                                  Generic Order, 1532 Generic Order, 1559
 11/19/2020                                       Notice) (Garabato, Sid) (Entered: 11/19/2020)

                            1868                  Affidavit Re: Service of Docket Number 1566
                                                  (Filed By Epiq Corporate Restructuring LLC ).
                            (7 pgs)               (Related document(s):1566 Notice) (Garabato,
 11/19/2020                                       Sid) (Entered: 11/19/2020)

                            1869                  Affidavit Re: Service of Docket Number 1661
                                                  (Filed By Epiq Corporate Restructuring LLC ).
                            (21 pgs)              (Related document(s):1661 Notice) (Garabato,
 11/19/2020                                       Sid) (Entered: 11/19/2020)

                            1870                  BNC Certificate of Mailing. (Related document
                                                  (s):1843 Generic Order) No. of Notices: 173.
                            (13 pgs)              Notice Date 11/19/2020. (Admin.) (Entered:
 11/19/2020                                       11/19/2020)

                            1915                  Motion to Appear pro hac vice Ira Neil
                                                  Richards. Filed by Creditors William R. Ruark,
                            (2 pgs)               Jesse C. Place, Charlotte E. Place Trust, Richard
                                                  E. Place Trust, Charlotte E. Place, Richard E.
                                                  Place, Placewood Resources, L.P., Placewood
                                                  Resource Management, LLC, Leola B. Steele,
                                                  Herbert D. Steele, Sally Steele, Esquire,
                                                  Cemetery Road Hunt Club, Inc., R&J Partners,
                                                  L.P., Judith A. Wilson, WLR Family
                                                  Partnership, Raynold W Wilson
 11/19/2020                                       (JacquelineMata) (Entered: 11/24/2020)

                            1871                  Affidavit Re: Service of Docket Number 1491 on
                                                  October 28, 2020 (Filed By Epiq Corporate
                            (5 pgs)               Restructuring LLC ).(Related document(s):1491
 11/20/2020                                       Notice) (Garabato, Sid) (Entered: 11/20/2020)

                            1872                  Affidavit Re: Service of Docket Number 1491 on
                                                  November 2, 2020 (Filed By Epiq Corporate
                            (4 pgs)               Restructuring LLC ).(Related document(s):1491
 11/20/2020                                       Notice) (Garabato, Sid) (Entered: 11/20/2020)

                            1873                  Affidavit Re: Affidavit of Service of Gregory
                                                  Winter (Filed By Epiq Corporate Restructuring
                            (20 pgs)              LLC ).(Related document(s):1531 Generic
                                                  Order, 1532 Generic Order, 1559 Notice)
 11/20/2020                                       (Garabato, Sid) (Entered: 11/20/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 284 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 284 of 1639
                                                                           0284


                            1874                  Affidavit Re: Affidavit of Service of Angarahad
                                                  Bowdler (Filed By Epiq Corporate Restructuring
                            (37 pgs)              LLC ).(Related document(s):1305 Generic
                                                  Order, 1363 Notice, 1366 Notice, 1559 Notice)
 11/20/2020                                       (Garabato, Sid) (Entered: 11/20/2020)

                            1875                  Declaration re: Declaration of Disinterestedness
                                                  of Riveron Consulting, LLC Pursuant to the
                            (16 pgs)              Order Authorizing the Retention and
                                                  Compensation of Certain Professionals Utilized
                                                  in the Ordinary Course of Business (Filed By
                                                  Chesapeake Energy Corporation ). (Cavenaugh,
 11/20/2020                                       Matthew) (Entered: 11/20/2020)

                            1876                  Stipulation By Chesapeake Energy Corporation
                                                  and Zehentbauer Family Land LP, et al.. Does
                            (6 pgs)               this document include an agreed order or
                                                  otherwise request that the judge sign a
                                                  document? Yes. (Filed By Chesapeake Energy
                                                  Corporation ). (Cavenaugh, Matthew) (Entered:
 11/20/2020                                       11/20/2020)

                            1877                  Application for Compensation / First Interim
                                                  Application of Brown Rudnick LLP, as Co-
                            (279 pgs; 8 docs)     Counsel to the Official Committee of Unsecured
                                                  Creditors, for the Period From July 13, 2020
                                                  Through and Including September 30, 2020.
                                                  Objections/Request for Hearing Due in 21 days.
                                                  (Attachments: # 1 Exhibit A # 2 Exhibit B # 3
                                                  Exhibit C # 4 Exhibit D # 5 Exhibit E # 6
                                                  Exhibit F # 7 Proposed Order) (Harrison, Julie)
 11/20/2020                                       (Entered: 11/20/2020)

                            1878                  Application for Compensation / First Interim
                                                  Fee Application of AlixPartners, LLP, Financial
                            (313 pgs; 4 docs)     Advisor to the Official Committee of Unsecured
                                                  Creditors for Allowance of Compensation for
                                                  Services Rendered and for Reimbursement of
                                                  Expenses for the Period July 14, 2020 through
                                                  September 30, 2020. Objections/Request for
                                                  Hearing Due in 21 days. (Attachments: # 1
                                                  Exhibit A # 2 Exhibit B # 3 Proposed Order)
 11/20/2020                                       (Harrison, Julie) (Entered: 11/20/2020)

                            1879                  Statement of Issues on Appeal (related document
                                                  (s):1762 Notice of Appeal)., Appellant
                            (7 pgs)               Designation of Contents For Inclusion in Record




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 285 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 285 of 1639
                                                                           0285


                                                  On Appeal (related document(s):1762 Notice of
 11/20/2020                                       Appeal). (Yetter, R) (Entered: 11/20/2020)

                            1880                  Application for Compensation / First Interim
                                                  Fee Application of Opportune LLP for
                            (186 pgs; 8 docs)     Allowance of Compensation and Reimbursement
                                                  of Expenses as Special Valuation and Industry
                                                  Advisor to the Official Committee of Unsecured
                                                  Creditors for the Period September 1, 2020
                                                  through September 30, 2020. Objections/Request
                                                  for Hearing Due in 21 days. (Attachments: # 1
                                                  Exhibit A # 2 Exhibit B # 3 Exhibit C # 4
                                                  Exhibit D # 5 Exhibit E # 6 Exhibit F # 7
                                                  Proposed Order) (Harrison, Julie) (Entered:
 11/20/2020                                       11/20/2020)

                            1881                  Joint Certification (Form 24) to Court of
                                                  Appeals by All Parties Certification to Court of
                            (3 pgs)               Appeals by Appellant ETC Texas Pipeline, Ltd.
                                                  and Appellees Debtors and Debtors in
 11/20/2020                                       Possession (Yetter, R) (Entered: 11/20/2020)

                            1882                  Supplemental Notice to Contract Parties to
                                                  Potentially Assumed Executory Contracts and
                            (6 pgs)               Unexpired Leases. Filed by Chesapeake Energy
                                                  Corporation (Peguero, Kristhy) (Entered:
 11/20/2020                                       11/20/2020)

                            1883                  Stipulation By Chesapeake Energy Corporation
                                                  and Rosa M. Byers and the State of Louisiana.
                            (5 pgs)               Does this document include an agreed order or
                                                  otherwise request that the judge sign a
                                                  document? Yes. (Filed By Chesapeake Energy
                                                  Corporation ).(Related document(s):1249
                                                  Motion for Relief From Stay) (Cavenaugh,
 11/20/2020                                       Matthew) (Entered: 11/20/2020)

                            1884                  Joint Emergency Motion of the Debtors and
                                                  Deutsche Bank Trust Company Americas for a
                            (6 pgs; 2 docs)       Status Conference Filed by Debtor Chesapeake
                                                  Energy Corporation Hearing scheduled for
                                                  11/23/2020 at 03:00 PM at Houston, Courtroom
                                                  400 (DRJ). (Attachments: # 1 Proposed Order)
 11/20/2020                                       (Cavenaugh, Matthew) (Entered: 11/20/2020)

                            1885                  BNC Certificate of Mailing. (Related document
                                                  (s):1846 Order on Motion to Appear pro hac




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 286 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 286 of 1639
                                                                           0286


                            (10 pgs)              vice) No. of Notices: 173. Notice Date
 11/20/2020                                       11/20/2020. (Admin.) (Entered: 11/20/2020)

                            1886                  BNC Certificate of Mailing. (Related document
                                                  (s):1847 Order on Motion to Appear pro hac
                            (10 pgs)              vice) No. of Notices: 173. Notice Date
 11/20/2020                                       11/20/2020. (Admin.) (Entered: 11/20/2020)

                            1887                  BNC Certificate of Mailing. (Related document
                                                  (s):1848 Order on Motion to Appear pro hac
                            (10 pgs)              vice) No. of Notices: 173. Notice Date
 11/20/2020                                       11/20/2020. (Admin.) (Entered: 11/20/2020)

                            1888                  BNC Certificate of Mailing. (Related document
                                                  (s):1851 Generic Order) No. of Notices: 173.
                            (12 pgs)              Notice Date 11/20/2020. (Admin.) (Entered:
 11/20/2020                                       11/20/2020)

                            1891                  Order Granting Motion To Appear pro hac vice -
                                                  Arleigh P. Helfer III (Related Doc # 1861)
                            (2 pgs)               Signed on 11/20/2020. (emiller) (Entered:
 11/20/2020                                       11/22/2020)

                            1899
                                                  E-Mail by Gaynell Spigner (mmap) (Entered:
 11/20/2020                 (2 pgs)               11/23/2020)

                            1889                  Transcript RE: Approval of the Sale of
                                                  Chesapeake Mid-Con Assets (Via Zoom) held
                            (30 pgs)              on November 13, 2020 before Judge David R.
                                                  Jones. Transcript is available for viewing in the
                                                  Clerk's Office. Filed by Transcript access will be
                                                  restricted through 02/19/2021. (mhen) (Entered:
 11/21/2020                                       11/21/2020)

                            1890                  Notice of Hearing to Consider Confirmation of
                                                  the Chapter 11 Plan filed by the Debtors and
                            (7 pgs)               Related Voting and Objection Deadlines. Filed
                                                  by Chesapeake Energy Corporation (Cavenaugh,
 11/21/2020                                       Matthew) (Entered: 11/21/2020)

                            1892
                                                  Motion / Debtors' Motion for Entry of an Order
                            (440 pgs; 7 docs)     (I) Authorizing (A) the Assumption of Certain
                                                  Williams Agreements, (B) Entry into the Firm
                                                  Sale Agreement, (C) the Private Sale of Certain
                                                  Real Estate Assets Free and Clear of Liens,




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 287 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 287 of 1639
                                                                           0287


                                                  Claims, Encumbrances, and Interests, and (D)
                                                  the Resolution of the Williams Indemnification
                                                  Claims and (II) Granting Related Relief Filed by
                                                  Debtor Chesapeake Energy Corporation Hearing
                                                  scheduled for 12/15/2020 at 12:00 PM at
                                                  Houston, Courtroom 400 (DRJ). (Attachments: #
                                                  1 Exhibit A - Williams Contracts # 2 Exhibit B -
                                                  Cure Amounts # 3 Exhibit C - Form of Sale
                                                  Notice # 4 Exhibit D - Form of Cure Notice # 5
                                                  Exhibit E - Williams Indemnification Claims # 6
                                                  Proposed Order) (Schwarzman, Alexandra)
 11/22/2020                                       (Entered: 11/22/2020)

                            1893                  Motion to Seal / Debtors' Motion for Entry of an
                                                  Order Authorizing the Debtors to File Under
                            (11 pgs; 2 docs)      Seal Filed by Debtor Chesapeake Energy
                                                  Corporation (Attachments: # 1 Proposed Order)
 11/22/2020                                       (Schwarzman, Alexandra) (Entered: 11/22/2020)

                            1894                  Sealed Document (Filed By Chesapeake Energy
                                                  Corporation ). (Schwarzman, Alexandra)
 11/22/2020                 (441 pgs)             (Entered: 11/22/2020)

                            1895                  Notice / Notice of the Sale of the Debtors' South
                                                  Mansfield Assets Free and Clear of Any and All
                            (6 pgs)               Liens, Claims, Encumbrances, and Interests.
                                                  (Related document(s):1892 Generic Motion)
                                                  Filed by Chesapeake Energy Corporation
 11/23/2020                                       (Schwarzman, Alexandra) (Entered: 11/23/2020)

                            1896                  Notice / Notice to Contract Parties to Potentially
                                                  Assumed Executory Contracts and Unexpired
                            (7 pgs; 2 docs)       Leases. (Related document(s):1892 Generic
                                                  Motion) Filed by Chesapeake Energy
                                                  Corporation (Attachments: # 1 Exhibit A -
                                                  Assigned Contracts Schedule) (Schwarzman,
 11/23/2020                                       Alexandra) (Entered: 11/23/2020)

                            1897                  Notice of Filing of Official Transcript as to 1889
                                                  Transcript. Parties notified (Related document
                            (1 pg)                (s):1889 Transcript) (jdav) (Entered:
 11/23/2020                                       11/23/2020)

                            1898                  Application for Compensation / First Interim
                                                  Fee Application of Norton Rose Fulbright US
                            (141 pgs; 9 docs)     LLP for Allowance of Compensation and
                                                  Reimbursement of Expenses as Co-Counsel to




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 288 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 288 of 1639
                                                                           0288


                                                  the Official Committee of Unsecured Creditors
                                                  for the Period July 13, 2020 through September
                                                  30, 2020. Objections/Request for Hearing Due in
                                                  21 days. (Attachments: # 1 Exhibit A # 2 Exhibit
                                                  B # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E # 6
                                                  Exhibit F # 7 Exhibit G # 8 Proposed Order)
 11/23/2020                                       (Harrison, Julie) (Entered: 11/23/2020)

                            1900                  Motion To Substitute Attorney. Filed by
                                                  Creditor CGG Services (U.S.), Inc. f/k/a Digicon
                            (5 pgs; 2 docs)       Geophysical Corp. (Attachments: # 1 Proposed
 11/23/2020                                       Order) (Platt, Mark) (Entered: 11/23/2020)

                            1901                  Objection to Confirmation of Plan Filed by
                                                  Texas Taxing Authorities. (Related document
                            (5 pgs)               (s):1644 Amended Chapter 11 Plan) (LeDay,
 11/23/2020                                       Tara) (Entered: 11/23/2020)

                            1902                      PDF with attached Audio File. Court Date &
                                                  Time [ 11/23/2020 3:05:55 PM ]. File Size
                            (1 pg)                [ 11520 KB ]. Run Time [ 00:24:00 ]. (admin).
 11/23/2020                                       (Entered: 11/23/2020)

                            1903                  Courtroom Minutes. Time Hearing Held: 3:00
                                                  PM. Appearances: see attached. (Related
                            (3 pgs)               document(s):1884 Emergency Motion (with
                                                  hearing date)) Status conference held, no further
 11/23/2020                                       action taken. (aalo) (Entered: 11/23/2020)

                            1904                  Notice of Appearance and Request for Notice
                                                  Filed by John E.W. Baay II Filed by on behalf of
                            (2 pgs)               A2D TECHNOLOGIES, INC. D/B/A TGS
                                                  GEOLOGICAL PRODUCTS AND SERVICES,
                                                  TGS-NOPEC Geophysical Company ASA,
                                                  Vector Seismic Data Processing Inc.,
                                                  Westerngeco LLC (Baay, John) (Entered:
 11/23/2020                                       11/23/2020)

                            1905
                                                  Letter from Gaynell Spigner (Attachments: # 1
 11/23/2020                 (4 pgs; 2 docs)       Exhibit) (mmap) (Entered: 11/23/2020)

                            1906                  Debtors Master Service List (Filed By Epiq
                                                  Corporate Restructuring LLC ). (Garabato, Sid)
 11/23/2020                 (61 pgs)              (Entered: 11/23/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/E F LIVE - US Bankruptcy Court-Texas Southern                  Page 289 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 289 of 1639
                                                                           0289


                            1907                  Notice of Plan Supplement for the Second
                                                  Amended Chapter 11 Plan of Reorganization of
                            (1650 pgs)            Chesapeake Energy Corporation and its Debtor
                                                  Affiliates. (Related document(s):1644 Amended
                                                  Chapter 11 Plan) Filed by Chesapeake Energy
                                                  Corporation (Cavenaugh, Matthew) (Entered:
 11/23/2020                                       11/23/2020)

                            1908                  Order Authorizing the Debtors to File Under
                                                  Seal (Related Doc 1893) Signed on 11/23/2020.
 11/23/2020                 (3 pgs)               (emiller) (Entered: 11/23/2020)

                            1909                  Affidavit Re: Affidavit of Service of Angarahad
                                                  Bowdler (Filed By Epiq Corporate Restructuring
                            (31 pgs)              LLC ).(Related document(s):1574 Order on
                                                  Emergency Motion, 1579 Opinion, 1580 Generic
                                                  Order, 1599 Amended Chapter 11 Plan, 1622
                                                  Amended Disclosure Statement, 1633 Order
                                                  Approving Disclosure Statement) (Garabato,
 11/23/2020                                       Sid) (Entered: 11/23/2020)

                            1910                  Affidavit Re: Affidavit of Service of Angarahad
                                                  Bowdler (Filed By Epiq Corporate Restructuring
                            (30 pgs)              LLC ).(Related document(s):1635 Objection,
                                                  1638 Objection, 1640 Generic Motion)
 11/23/2020                                       (Garabato, Sid) (Entered: 11/23/2020)

                            1911                  Affidavit Re: Affidavit of Service of Angarahad
                                                  Bowdler (Filed By Epiq Corporate Restructuring
                            (4 pgs)               LLC ).(Related document(s):1692 Notice, 1693
 11/23/2020                                       Notice) (Garabato, Sid) (Entered: 11/23/2020)

                            1912
                                                  Letter from Gaynell Spigner (mmap) (Entered:
 11/24/2020                 (3 pgs)               11/24/2020)

                            1913                  Motion to Appear pro hac vice Karen McCartan
                                                  DeSantis. Filed by Debtor Chesapeake Energy
                            (1 pg)                Corporation (Cavenaugh, Matthew) (Entered:
 11/24/2020                                       11/24/2020)

                            1914                  Notice of Additional Supplemental Agreement.
                                                  (Related document(s):1452 Order on Application
                            (32 pgs)              to Employ) Filed by Chesapeake Energy
                                                  Corporation (Cavenaugh, Matthew) (Entered:
 11/24/2020                                       11/24/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 290 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 290 of 1639
                                                                           0290


                            1916                  Proposed Order RE: Order (I) Authorizing the
                                                  Assumption and Assignment of Certain Bureau
                            (25 pgs; 2 docs)      of Land Management and Bureau of Indian
                                                  Affairs Oil and Gas Leases and (II) Granting
                                                  Related Relief (Filed By Chesapeake Energy
                                                  Corporation ).(Related document(s):1814
                                                  Generic Motion) (Attachments: # 1 Redline)
 11/24/2020                                       (Cavenaugh, Matthew) (Entered: 11/24/2020)

                            1917
                                                  Letter from John Dough (mmap) (Entered:
 11/24/2020                 (2 pgs)               11/24/2020)

                            1918
                                                  E-Mail by Gaynell Spigner (mmap) (Entered:
 11/24/2020                 (2 pgs)               11/24/2020)

                            1919                  Statement / Fourth Monthly Fee Statement of
                                                  Norton Rose Fulbright US LLP for Allowance of
                            (51 pgs)              Compensation for Services Rendered and
                                                  Reimbursement of Expenses Incurred as Co-
                                                  Counsel to the Official Committee of Unsecured
                                                  Creditors for the Period from October 1, 2020 to
                                                  October 31, 2020 (Filed By Official Committee
                                                  Of Unsecured Creditors ). (Harrison, Julie)
 11/24/2020                                       (Entered: 11/24/2020)

                            1920                  Withdrawal of Claim: 12563 filed by Epiq
                                                  Corporate Restructuring, LLC on behalf of
                            (2 pgs)               Albert G Sims Mineral Trust (Garabato, Sid)
 11/24/2020                                       (Entered: 11/24/2020)

                            1921                  Application for Compensation - First Interim
                                                  Application of Forshey & Prostok, LLP, as
                            (73 pgs; 7 docs)      Attorneys for the Official Committee of Royalty
                                                  Owners for Forshey & Prostok, LLP, Attorney,
                                                  Period: 7/25/2020 to 9/30/2020, Fee:
                                                  $346,458.00, Expenses: $22,584.58.
                                                  Objections/Request for Hearing Due in 21 days.
                                                  Filed by Attorney Forshey & Prostok, LLP
                                                  (Attachments: # 1 Ex. A # 2 Ex. B # 3 Ex. C # 4
                                                  Ex. D # 5 Ex. E # 6 Ex. F) (Prostok, Jeffrey)
 11/24/2020                                       (Entered: 11/24/2020)

                            1922                  AO 435 TRANSCRIPT ORDER FORM (Daily
                                                  (24 hours)) by Marty L. Brimmage, Jr.. This is to
                            (1 pg)                order a transcript of the November 23, 2020




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 291 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 291 of 1639
                                                                           0291


                                                  Hearing before Judge David R. Jones. Court
                                                  Reporter/Transcriber: Judicial Transcribers of
                                                  Texas (Filed By Franklin Advisers, Inc., as
                                                  Investment Manager on Behalf of Certain Funds
                                                  and Accounts ). (Brimmage, Marty)
                                                  Electronically forwarded to Judicial Transcribers
                                                  of Texas on November 25, 2020. Estimated
                                                  completion date: November 26, 2020. Modified
                                                  on 11/25/2020 (ClaudiaGutierrez). (Entered:
 11/25/2020                                       11/25/2020)

                            1923                  Certificate of No Objection with Respect to the
                                                  Motion for Entry of an Order (I) Authorizing the
                            (7 pgs; 2 docs)       Rejection of Certain Executory Contracts
                                                  Effective as of October 30, 2020 and (II)
                                                  Granting Related Relief (Filed By Chesapeake
                                                  Energy Corporation ).(Related document(s):1640
                                                  Generic Motion) (Attachments: # 1 Proposed
                                                  Order) (Cavenaugh, Matthew) (Entered:
 11/25/2020                                       11/25/2020)

                            1924                  Notice of Filing Monthly Report Pursuant to the
                                                  Order to Approve Procedures for De Minimis
                            (5 pgs)               Asset Transactions. (Related document(s):715
                                                  Generic Order) Filed by Chesapeake Energy
                                                  Corporation (Cavenaugh, Matthew) (Entered:
 11/25/2020                                       11/25/2020)

                            1925                  Application for Compensation First Interim
                                                  Application of Ernst & Young LLP for
                            (104 pgs; 2 docs)     Compensation and Reimbursement of Expenses
                                                  for the Period from June 29, 2020 Through
                                                  September 30, 2020. Objections/Request for
                                                  Hearing Due in 21 days. Filed by Attorney
                                                  Matthew D Cavenaugh (Attachments: # 1
                                                  Proposed Order) (Cavenaugh, Matthew)
 11/25/2020                                       (Entered: 11/25/2020)

                            1926                  Notice of First Monthly Fee Statement of Ernst
                                                  & Young LLP for Compensation and
                            (27 pgs)              Reimbursement of Expenses for the Period From
                                                  October 1, 2020 Through October 31, 2020.
                                                  (Related document(s):656 Generic Order) Filed
                                                  by Chesapeake Energy Corporation (Cavenaugh,
 11/25/2020                                       Matthew) (Entered: 11/25/2020)

                            1927                  Notice of the Official Committee of Unsecured




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 292 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 292 of 1639
                                                                           0292


                                                  Creditors Exchange of Preliminary List of Fact
                            (4 pgs)               Witnesses for Confirmation Hearing. Filed by
                                                  Official Committee Of Unsecured Creditors
 11/25/2020                                       (Harrison, Julie) (Entered: 11/25/2020)

                            1928                  Application for Compensation Jackson Walker
                                                  LLP's First Interim Fee Application for
                            (104 pgs; 2 docs)     Allowance and Payment of Fees and Expenses
                                                  as Co-Counsel to the Debtors for the Period
                                                  From June 28, 2020 Through September 30,
                                                  2020. Objections/Request for Hearing Due in 21
                                                  days. Filed by Attorney Matthew D Cavenaugh
                                                  (Attachments: # 1 Proposed Order) (Cavenaugh,
 11/25/2020                                       Matthew) (Entered: 11/25/2020)

                            1929                  Notice of Supplemental Disclosure to Holders of
                                                  FLLO Term Loan Facility Claims Regarding
                            (3 pgs)               Plan Solicitation Materials and Rights Offering
                                                  Procedures. Filed by Chesapeake Energy
                                                  Corporation (Cavenaugh, Matthew) (Entered:
 11/25/2020                                       11/25/2020)

                            1930                  Notice of Supplemental Disclosure to Holders of
                                                  Second Lien Notes Regarding Plan Solicitation
                            (3 pgs)               Materials and Rights Offering Procedures. Filed
                                                  by Chesapeake Energy Corporation (Cavenaugh,
 11/25/2020                                       Matthew) (Entered: 11/25/2020)

                            1931                  Notice of Corrected Exhibit C to the Plan
                                                  Supplement. (Related document(s):1633 Order
                            (3033 pgs)            Approving Disclosure Statement, 1907 Notice)
                                                  Filed by Chesapeake Energy Corporation
 11/25/2020                                       (Cavenaugh, Matthew) (Entered: 11/25/2020)

                            1932                  Witness List (Filed By Chesapeake Energy
                                                  Corporation ). (Cavenaugh, Matthew) (Entered:
 11/25/2020                 (4 pgs)               11/25/2020)

                            1933                  Notice and Reservation of Rights of the Ad Hoc
                                                  Group of FLLO Term Loan Lenders Regarding
                            (3 pgs)               Preliminary Lists of Fact Witnesses for
                                                  Confirmation Hearing. (Related document
                                                  (s):1540 Stipulation) Filed by Ad Hoc Group of
                                                  FLLO Term Loan Lenders (Vakamudi, Kiran)
 11/25/2020                                       (Entered: 11/25/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 293 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 293 of 1639
                                                                           0293


                            1934                  BNC Certificate of Mailing. (Related document
                                                  (s):1897 Notice of Filing of Official Transcript
                            (9 pgs)               (Form)) No. of Notices: 174. Notice Date
 11/25/2020                                       11/25/2020. (Admin.) (Entered: 11/25/2020)

                            1935                  BNC Certificate of Mailing. (Related document
                                                  (s):1891 Order on Motion to Appear pro hac
                            (10 pgs)              vice) No. of Notices: 174. Notice Date
 11/25/2020                                       11/25/2020. (Admin.) (Entered: 11/25/2020)

                            1936                  BNC Certificate of Mailing. (Related document
                                                  (s):1908 Order on Motion to Seal) No. of
                            (38 pgs)              Notices: 41. Notice Date 11/26/2020. (Admin.)
 11/26/2020                                       (Entered: 11/26/2020)

                            1937                  Affidavit Re: of Angharad Bowdler (Filed By
                                                  Epiq Corporate Restructuring LLC ).(Related
                            (26 pgs)              document(s):1814 Generic Motion, 1815 Notice)
 11/27/2020                                       (Garabato, Sid) (Entered: 11/27/2020)

                            1938
                                                  Letter from Victor Franjul (mmap) (Entered:
 11/27/2020                 (19 pgs)              11/27/2020)

                            1939                  Amended Schedule A/B: Property Non-
                                                  Individual , Amended Schedule D Non-
                            (1234 pgs; 2 docs)    Individual- Creditors Having Claims Secured by
                                                  Property , Amended Schedule E/F: Creditors
                                                  Who Have Unsecured Claims Non-Individual ,
                                                  Amended Schedule G Non-Individual-
                                                  Executory Contracts and Unexpired Leases ,
                                                  Amended Schedule H Non-Individual-
                                                  Codebtors (Filed By Chesapeake AEZ
                                                  Exploration, L.L.C. ). (Attachments: # 1
                                                  Redline) (Cavenaugh, Matthew) (Entered:
 11/27/2020                                       11/27/2020)

                            1940                  Amended Schedule A/B: Property Non-
                                                  Individual , Amended Schedule D Non-
                            (8454 pgs; 2 docs)    Individual- Creditors Having Claims Secured by
                                                  Property , Amended Schedule E/F: Creditors
                                                  Who Have Unsecured Claims Non-Individual ,
                                                  Amended Schedule G Non-Individual-
                                                  Executory Contracts and Unexpired Leases ,
                                                  Amended Schedule H Non-Individual-
                                                  Codebtors (Filed By Chesapeake Appalachia,
                                                  L.L.C. ). (Attachments: # 1 Redline)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 294 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 294 of 1639
                                                                           0294


 11/27/2020                                       (Cavenaugh, Matthew) (Entered: 11/27/2020)

                            1941                  Amended Schedule A/B: Property Non-
                                                  Individual , Amended Schedule D Non-
                            (1782 pgs; 2 docs)    Individual- Creditors Having Claims Secured by
                                                  Property , Amended Schedule E/F: Creditors
                                                  Who Have Unsecured Claims Non-Individual ,
                                                  Amended Schedule G Non-Individual-
                                                  Executory Contracts and Unexpired Leases ,
                                                  Amended Schedule H Non-Individual-
                                                  Codebtors (Filed By Chesapeake Energy
                                                  Corporation ). (Attachments: # 1 Redline)
 11/27/2020                                       (Cavenaugh, Matthew) (Entered: 11/27/2020)

                            1942                  Amended Schedule A/B: Property Non-
                                                  Individual , Amended Schedule D Non-
                            (539 pgs; 2 docs)     Individual- Creditors Having Claims Secured by
                                                  Property , Amended Schedule E/F: Creditors
                                                  Who Have Unsecured Claims Non-Individual ,
                                                  Amended Schedule G Non-Individual-
                                                  Executory Contracts and Unexpired Leases ,
                                                  Amended Schedule H Non-Individual-
                                                  Codebtors (Filed By Chesapeake Land
                                                  Development Company, L.L.C. ). (Attachments:
                                                  # 1 Redline) (Cavenaugh, Matthew) (Entered:
 11/27/2020                                       11/27/2020)

                            1943                  Amended Schedule A/B: Property Non-
                                                  Individual , Amended Schedule D Non-
                            (7302 pgs; 2 docs)    Individual- Creditors Having Claims Secured by
                                                  Property , Amended Schedule E/F: Creditors
                                                  Who Have Unsecured Claims Non-Individual ,
                                                  Amended Schedule G Non-Individual-
                                                  Executory Contracts and Unexpired Leases ,
                                                  Amended Schedule H Non-Individual-
                                                  Codebtors (Filed By Chesapeake Louisiana,
                                                  L.P. ). (Attachments: # 1 Redline) (Cavenaugh,
 11/27/2020                                       Matthew) (Entered: 11/27/2020)

                            1944
                                                  Amended Schedule A/B: Property Non-
                                                  Individual , Amended Schedule D Non-
                            (8151 pgs; 2 docs)
                                                  Individual- Creditors Having Claims Secured by
                                                  Property , Amended Schedule E/F: Creditors
                                                  Who Have Unsecured Claims Non-Individual ,
                                                  Amended Schedule G Non-Individual-
                                                  Executory Contracts and Unexpired Leases ,
                                                  Amended Schedule H Non-Individual-




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                   5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 295 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 295 of 1639
                                                                           0295


                                                  Codebtors (Filed By Chesapeake Operating,
                                                  L.L.C. ). (Attachments: # 1 Redline)
 11/27/2020                                       (Cavenaugh, Matthew) (Entered: 11/27/2020)

                            1945                  Amended Schedule A/B: Property Non-
                                                  Individual , Amended Schedule D Non-
                            (3180 pgs; 2 docs)    Individual- Creditors Having Claims Secured by
                                                  Property , Amended Schedule E/F: Creditors
                                                  Who Have Unsecured Claims Non-Individual ,
                                                  Amended Schedule G Non-Individual-
                                                  Executory Contracts and Unexpired Leases ,
                                                  Amended Schedule H Non-Individual-
                                                  Codebtors (Filed By Chesapeake Royalty,
                                                  L.L.C. ). (Attachments: # 1 Redline)
 11/27/2020                                       (Cavenaugh, Matthew) (Entered: 11/27/2020)

                            1946                  Amended Schedule A/B: Property Non-
                                                  Individual , Amended Schedule D Non-
                            (406 pgs; 2 docs)     Individual- Creditors Having Claims Secured by
                                                  Property , Amended Schedule E/F: Creditors
                                                  Who Have Unsecured Claims Non-Individual ,
                                                  Amended Schedule G Non-Individual-
                                                  Executory Contracts and Unexpired Leases ,
                                                  Amended Schedule H Non-Individual-
                                                  Codebtors (Filed By CHK Utica, L.L.C. ).
                                                  (Attachments: # 1 Redline) (Cavenaugh,
 11/27/2020                                       Matthew) (Entered: 11/27/2020)

                            1947                  Amended Schedule A/B: Property Non-
                                                  Individual , Amended Schedule D Non-
                            (634 pgs; 2 docs)     Individual- Creditors Having Claims Secured by
                                                  Property , Amended Schedule E/F: Creditors
                                                  Who Have Unsecured Claims Non-Individual ,
                                                  Amended Schedule G Non-Individual-
                                                  Executory Contracts and Unexpired Leases ,
                                                  Amended Schedule H Non-Individual-
                                                  Codebtors (Filed By Empress, L.L.C. ).
                                                  (Attachments: # 1 Redline) (Cavenaugh,
 11/27/2020                                       Matthew) (Entered: 11/27/2020)

                            1948
                                                  Amended Schedule A/B: Property Non-
                                                  Individual , Amended Schedule D Non-
                            (556 pgs; 2 docs)
                                                  Individual- Creditors Having Claims Secured by
                                                  Property , Amended Schedule E/F: Creditors
                                                  Who Have Unsecured Claims Non-Individual ,
                                                  Amended Schedule G Non-Individual-
                                                  Executory Contracts and Unexpired Leases ,




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                   5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 296 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 296 of 1639
                                                                           0296


                                                  Amended Schedule H Non-Individual-
                                                  Codebtors (Filed By Empress Louisiana
                                                  Properties, L,P. ). (Attachments: # 1 Redline)
 11/27/2020                                       (Cavenaugh, Matthew) (Entered: 11/27/2020)

                            1949                  Amended Schedule A/B: Property Non-
                                                  Individual , Amended Schedule D Non-
                            (228 pgs; 2 docs)     Individual- Creditors Having Claims Secured by
                                                  Property , Amended Schedule E/F: Creditors
                                                  Who Have Unsecured Claims Non-Individual ,
                                                  Amended Schedule G Non-Individual-
                                                  Executory Contracts and Unexpired Leases ,
                                                  Amended Schedule H Non-Individual-
                                                  Codebtors (Filed By GSF, L.L.C. ).
                                                  (Attachments: # 1 Redline) (Cavenaugh,
 11/27/2020                                       Matthew) (Entered: 11/27/2020)

                            1950                  Amended Schedule A/B: Property Non-
                                                  Individual , Amended Schedule D Non-
                            (174 pgs; 2 docs)     Individual- Creditors Having Claims Secured by
                                                  Property , Amended Schedule E/F: Creditors
                                                  Who Have Unsecured Claims Non-Individual ,
                                                  Amended Schedule G Non-Individual-
                                                  Executory Contracts and Unexpired Leases ,
                                                  Amended Schedule H Non-Individual-
                                                  Codebtors (Filed By Midcon Compression,
                                                  L.L.C. ). (Attachments: # 1 Redline)
 11/27/2020                                       (Cavenaugh, Matthew) (Entered: 11/27/2020)

                            1951                  Amended Schedule A/B: Property Non-
                                                  Individual , Amended Schedule D Non-
                            (6085 pgs; 2 docs)    Individual- Creditors Having Claims Secured by
                                                  Property , Amended Schedule E/F: Creditors
                                                  Who Have Unsecured Claims Non-Individual ,
                                                  Amended Schedule G Non-Individual-
                                                  Executory Contracts and Unexpired Leases ,
                                                  Amended Schedule H Non-Individual-
                                                  Codebtors (Filed By Chesapeake Plains,
                                                  L.L.C. ). (Attachments: # 1 Redline)
 11/27/2020                                       (Cavenaugh, Matthew) (Entered: 11/27/2020)

                            1952
                                                  Amended Schedule A/B: Property Non-
                                                  Individual , Amended Schedule D Non-
                            (29144 pgs; 4 docs)
                                                  Individual- Creditors Having Claims Secured by
                                                  Property , Amended Schedule E/F: Creditors
                                                  Who Have Unsecured Claims Non-Individual ,
                                                  Amended Schedule G Non-Individual-




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 297 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 297 of 1639
                                                                           0297


                                                  Executory Contracts and Unexpired Leases ,
                                                  Amended Schedule H Non-Individual-
                                                  Codebtors (Filed By Chesapeake Exploration,
                                                  L.L.C. ). (Attachments: # 1 Amended Schedules
                                                  Part 2 # 2 Redline Part 1 # 3 Redline Part 2)
 11/27/2020                                       (Cavenaugh, Matthew) (Entered: 11/27/2020)

                            1953                  Affidavit Re: Various Filings (Filed By Epiq
                                                  Corporate Restructuring LLC ).(Related
                            (62 pgs)              document(s):1567 Witness List, Exhibit List,
                                                  1574 Order on Emergency Motion, 1579
                                                  Opinion, 1580 Generic Order, 1599 Amended
                                                  Chapter 11 Plan, 1600 Disclosure Statement,
                                                  1602 Proposed Order, 1603 Reply, 1611
 11/27/2020                                       Agenda) (Garabato, Sid) (Entered: 11/27/2020)

                            1954                  Affidavit Re: Order (I) Approving the Bidding
                                                  Procedures for the Sale of the Debtors' Mid-Con
                            (7217 pgs)            Assets (Filed By Epiq Corporate Restructuring
                                                  LLC ).(Related document(s):1305 Generic
 11/27/2020                                       Order) (Garabato, Sid) (Entered: 11/27/2020)

                            1955                  Withdrawal of Claim: filed by Epiq Corporate
                                                  Restructuring, LLC on behalf of Union Pacific
                            (2 pgs)               Railroad Company (See Schedule 1 for Claims)
 11/30/2020                                       (Garabato, Sid) (Entered: 11/30/2020)

                            1956                  Statement / Second Monthly Fee Statement of
                                                  Opportune LLP for Allowance of Compensation
                            (129 pgs)             for Services Rendered and Reimbursement of
                                                  Expenses Incurred as Special Valuation and
                                                  Industry Advisor to the Official Committee of
                                                  Unsecured Creditors for the Period From
                                                  October 1, 2020 to October 31, 2020 (Filed By
                                                  Official Committee Of Unsecured Creditors ).
 11/30/2020                                       (Harrison, Julie) (Entered: 11/30/2020)

                            1957                  Motion to Appear pro hac vice Christina L.
                                                  Chen. Filed by Trustee Deutsche Bank Trust
                            (1 pg)                Company Americas (Carter, Winstol) (Entered:
 11/30/2020                                       11/30/2020)

                            1958                  Motion to Appear pro hac vice Joshua Dorchak.
                                                  Filed by Trustee Deutsche Bank Trust Company
                            (1 pg)                Americas (Carter, Winstol) (Entered:
 11/30/2020                                       11/30/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 298 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 298 of 1639
                                                                           0298


                            1959                  Transcript RE: Motion Hearing (Video
                                                  Conference) held on November 23, 2020 before
                            (21 pgs)              Judge David R. Jones. Transcript is available for
                                                  viewing in the Clerk's Office. Filed by
                                                  Transcript access will be restricted through
 11/30/2020                                       03/1/2021. (mhen) (Entered: 11/30/2020)

                            1960                  Objection to Claim Number by Claimant
                                                  Debtors' Limited Objection to Proof of Claim
                            (21 pgs; 2 docs)      No. 12696 Filed by Shermaine Newman Hearing
                                                  scheduled for 12/4/2020 at 10:00 AM at
                                                  telephone and video conference. (Attachments: #
                                                  1 Proposed Order)(Cavenaugh, Matthew)
 11/30/2020                                       (Entered: 11/30/2020)

                            1961                  Notice Second Supplemental Notice to Contract
                                                  Parties to Potentially Assumed Executory
                            (6 pgs)               Contracts and Unexpired Leases. Filed by
                                                  Chesapeake Energy Corporation (Cavenaugh,
 11/30/2020                                       Matthew) (Entered: 11/30/2020)

                            1962                  Order Granting Motion To Appear pro hac vice -
                                                  Karen McCartan DeSantis (Related Doc # 1913)
                            (1 pg)                Signed on 11/30/2020. (emiller) (Entered:
 11/30/2020                                       11/30/2020)

                            1963                  Order Granting Motion To Appear pro hac vice -
                                                  Ira Neil Richards (Related Doc # 1915) Signed
 11/30/2020                 (2 pgs)               on 11/30/2020. (emiller) (Entered: 11/30/2020)

                            1964                  Motion for Entry of an Order (I) Authorizing the
                                                  Rejection of the Tiger IT Agreement Effective as
                            (22 pgs; 2 docs)      of December 1, 2020 and (II) Granting Related
                                                  Relief Filed by Debtor Chesapeake Energy
                                                  Corporation (Attachments: # 1 Proposed Order)
 11/30/2020                                       (Cavenaugh, Matthew) (Entered: 11/30/2020)

                            1965                  Motion to Appear pro hac vice Marc J. Tobak.
                                                  Filed by Creditor Ad Hoc Group of FLLO Term
                            (1 pg)                Loan Lenders Hearing scheduled for 12/4/2020
                                                  at 10:00 AM at Houston, Courtroom 400 (DRJ).
 11/30/2020                                       (Morgan, John) (Entered: 11/30/2020)

                            1966
                                                  Notice of Filing of Official Transcript as to 1959
                            (1 pg)                Transcript. Parties notified (Related document
                                                  (s):1959 Transcript) (Olin) (Entered:




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 299 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 299 of 1639
                                                                           0299


 12/01/2020                                       12/01/2020)

                            1967                  Withdrawal of Claim: 2455 filed by Epiq
                                                  Corporate Restructuring, LLC on behalf of
                            (2 pgs)               Louisiana Department of Revenue (Suarez,
 12/01/2020                                       Hugo) (Entered: 12/01/2020)

                            1968                  Withdrawal of Claim: 2460 filed by Epiq
                                                  Corporate Restructuring, LLC on behalf of
                            (2 pgs)               Louisiana Department of Revenue (Suarez,
 12/01/2020                                       Hugo) (Entered: 12/01/2020)

                            1969                  Declaration re: Second Supplemental
                                                  Declaration of John Stuart in Support of
                            (8 pgs)               Debtors' Application to Employ and Retain
                                                  Alvarez & Marsal North America, LLC as
                                                  Restructuring Advisors Pursuant to Sections 327
                                                  (A) and 328 of the Bankruptcy Code Effective as
                                                  of June 28, 2020 (Filed By Chesapeake Energy
                                                  Corporation ). (Cavenaugh, Matthew) (Entered:
 12/01/2020                                       12/01/2020)

                            1970                  Second Notice . (Related document(s):1175
                                                  Motion to Reconsider, 1293 Motion for Relief
                            (3 pgs)               From Stay) Filed by Stephanie Delasandro
 12/01/2020                                       (Warman, Lynnette) (Entered: 12/01/2020)

                            1971                  Objection Debtors' Opposition to the Emergency
                                                  Motion of the Official Committee of Unsecured
                            (109 pgs)             Creditors for (I) Leave, Standing, and Authority
                                                  to Commence and Prosecute Certain Claims and
                                                  Causes of Action on Behalf of the Debtors'
                                                  Estates and (II) Exclusive Settlement Authority.
                                                  Filed by Chesapeake Energy Corporation
 12/01/2020                                       (Cavenaugh, Matthew) (Entered: 12/01/2020)

                            1972                  Objection Debtors' Opposition to the Emergency
                                                  Motion of the Official Committee of Unsecured
                            (67 pgs)              Creditors for (I) Leave, Standing, and Authority
                                                  to Commence and Prosecute Certain Claims and
                                                  Causes of Action on Behalf of the Debtors'
                                                  Estates and (II) Exclusive Settlement Authority.
                                                  Filed by Chesapeake Energy Corporation
 12/01/2020                                       (Cavenaugh, Matthew) (Entered: 12/01/2020)

                            1973
                                                  Objection of Franklin Advisers, Inc., as




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                        5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 300 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 300 of 1639
                                                                           0300


                                                  Investment Manager on Behalf of Certain Funds
                            (105 pgs)             and Accounts, to the Standing Motion of the
                                                  Official Committee of Unsecured Creditors
                                                  (related document(s):1545 Emergency Motion).
                                                  Filed by Franklin Advisers, Inc., as Investment
                                                  Manager on Behalf of Certain Funds and
                                                  Accounts (Brimmage, Marty) (Entered:
 12/01/2020                                       12/01/2020)

                            1974                  Affidavit Re: Fee Applications (Filed By Epiq
                                                  Corporate Restructuring LLC ).(Related
                            (4 pgs)               document(s):1925 Application for
                                                  Compensation, 1926 Notice, 1928 Application
                                                  for Compensation) (Garabato, Sid) (Entered:
 12/01/2020                                       12/01/2020)

                            1975                  Response and Joinder of Franklin Advisers, Inc.,
                                                  as Investment Manager on Behalf of Certain
                            (5 pgs)               Funds and Accounts, to the Objections of (I) the
                                                  Debtors, (II) MUFG Union Bank, N.A., (III)
                                                  Deutsche Bank Trust Company Americas, and
                                                  (IV) the FLLO Ad Hoc Group to the Emergency
                                                  Standing Motion of the Official Committee of
                                                  Unsecured Creditors to Prosecute Certain Lien
                                                  Claims ((related document(s):[1546 and 1972].
                                                  Filed by Franklin Advisers, Inc., as Investment
                                                  Manager on Behalf of Certain Funds and
                                                  Accounts (Brimmage, Marty) (Entered:
 12/01/2020                                       12/01/2020)

                            1976                  Objection of MUFG Union Bank, N.A. to the
                                                  Emergency Motion of the Official Committee of
                            (34 pgs)              Unsecured Creditors for (I) Leave, Standing,
                                                  and Authority to Commence and Prosecute
                                                  Certain Lien Claims and Causes of Action on
                                                  Behalf of the Debtors' Estates and (II) Exclusive
                                                  Settlement Authority and Joinder to Debtors'
                                                  Objection (related document(s):1547 Emergency
                                                  Motion, 1807 Generic Motion). Filed by MUFG
                                                  Union Bank, N.A. (McFaul, Duston) (Entered:
 12/01/2020                                       12/01/2020)

                            1977
                                                  Emergency Motion for Status Conference
                                                  Regarding Reciprocal Exchange of Certain
                            (4 pgs)
                                                  Expert Materials Filed by Debtor Chesapeake
                                                  Energy Corporation Hearing scheduled for
                                                  12/2/2020 at 11:00 AM at telephone and video




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 301 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 301 of 1639
                                                                           0301


                                                  conference. (Cavenaugh, Matthew) (Entered:
 12/01/2020                                       12/01/2020)

                            1978                  Affidavit Re: Notice of Successful Bidders and
                                                  Backup Bidder with Respect to the Auction of the
                            (25 pgs)              Debtors Mid-Con Assets; Debtors Application
                                                  for Entry of an Order Under 11 U.S.C. § 327(e)
                                                  Authorizing the Retention and Employment of
                                                  Shearman & Sterling LLP as Special Counsel
                                                  for the Debtors Effective as of October 11, 2020
                                                  (Filed By Epiq Corporate Restructuring LLC ).
                                                  (Related document(s):1767 Notice, 1768
                                                  Application to Employ) (Garabato, Sid)
 12/01/2020                                       (Entered: 12/01/2020)

                            1979                  Affidavit Re: Notice of Fee Statement of
                                                  Kirkland & Ellis LLP and Kirkland & Ellis
                            (3 pgs)               International LLP for Compensation for Services
                                                  and Reimbursement of Expenses as Attorneys to
                                                  the Debtors and Debtors in Possession for the
                                                  Period From August 1, 2020 Through August 31,
                                                  2020. (Filed By Epiq Corporate Restructuring
                                                  LLC ).(Related document(s):1811 Notice)
 12/01/2020                                       (Garabato, Sid) (Entered: 12/01/2020)

                            1980                  Affidavit Re: Third Monthly Fee Statement of
                                                  PricewaterhouseCoopers LLP for Services
                            (7 pgs)               Rendered and Reimbursement of Expenses as
                                                  Audit Services and Tax Consulting Services
                                                  Provider for the Debtors for the Period
                                                  September 1, 2020 Through September 30, 2020
                                                  (Filed By Epiq Corporate Restructuring LLC ).
                                                  (Related document(s):1836 Notice) (Garabato,
 12/01/2020                                       Sid) (Entered: 12/01/2020)

                            1981
                                                  Objection Objection of the FLLO Ad Hoc Group
                                                  to the Emergency Motions of the Official
                            (2659 pgs; 23 docs)
                                                  Committee of Unsecured Creditors for (I) Leave,
                                                  Standing, and Authority to Commence and
                                                  Prosecute Certain Claims and Causes of Action
                                                  on Behalf of the Debtors' Estates and (II)
                                                  Exclusive Settlement Authority (related document
                                                  (s):1682 Generic Motion). Filed by Ad Hoc
                                                  Group of FLLO Term Loan Lenders
                                                  (Attachments: # 1 Exhibit Exhibit A - FLLO
                                                  Credit Agreement # 2 Exhibit Exhibit B - Term
                                                  Loan Agreement Announcement # 3 Exhibit




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 302 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 302 of 1639
                                                                           0302


                                                  Exhibit C - Tender Offer Announcement &
                                                  Consent Solicitation # 4 Exhibit Exhibit D -
                                                  Private Exchange Offer Announcement # 5
                                                  Exhibit Exhibit E - 10-Q Q3 2019 # 6 Exhibit
                                                  Exhibit F - 2018.12.09 8-K/A&R Credit
                                                  Agreement # 7 Exhibit Exhibit G - 6.875% 2025
                                                  Senior Notes Indenture/10-K 2019 # 8 Exhibit
                                                  Exhibit H - 2nd A&R Credit Agreement/8-K # 9
                                                  Exhibit Exhibit I - Domenic Dell Osso
                                                  Declaration # 10 Exhibit Exhibit J - Article:
                                                  Chesapeake Taps Restructuring Advisors # 11
                                                  Exhibit Exhibit K - Antonelli Testimony # 12
                                                  Exhibit Exhibit L - FLLO Collateral Agreement
                                                  # 13 Exhibit Exhibit M - Collateral Trust
                                                  Agreement # 14 Exhibit Exhibit N - National
                                                  Banks # 15 Exhibit Exhibit O - 2019.12.12 8-K
                                                  # 16 Exhibit Exhibit P - 2020.02.17 Article:
                                                  Moodys Alters Outlook # 17 Exhibit Exhibit Q -
                                                  2nd Lien Indenture # 18 Exhibit Exhibit R - Linn
                                                  Energy 2L Notes Indenture # 19 Exhibit Exhibit
                                                  S - Midstates Petroleum 2L Notes Indenture # 20
                                                  Exhibit Exhibit T - Goodrich Petroleum 2L
                                                  Notes Indenture # 21 Exhibit Exhibit U -
                                                  Comstock Credit Agreement # 22 Exhibit
                                                  Exhibit V - FLLO Facility Agreement) (Morgan,
 12/01/2020                                       John) (Entered: 12/01/2020)

                            1982                  Affidavit Re: Affidavit of Service of Angarahad
                                                  Bowdler (Filed By Epiq Corporate Restructuring
                            (25 pgs)              LLC ).(Related document(s):1767 Notice, 1768
                                                  Application to Employ) (Garabato, Sid)
 12/01/2020                                       (Entered: 12/01/2020)

                            1983                  Objection to Emergency Motion of the Official
                                                  Committee of Unsecured Creditors for (I) Leave,
                            (18 pgs)              Standing and Authority to Commence and
                                                  Prosecute Certain Lien Claims and Causes of
                                                  Action on Behalf of the Debtors Estates and (II)
                                                  Exclusive Settlement Authority (related
                                                  document(s):1547 Emergency Motion, 1807
                                                  Generic Motion). Filed by Deutsche Bank Trust
                                                  Company Americas (Carter, Winstol) (Entered:
 12/01/2020                                       12/01/2020)

                            1984
                                                  Objection to Emergency Motion of the Official
                            (29 pgs)              Committee of Unsecured Creditors for (I) Leave,
                                                  Standing and Authority to Commence and




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 303 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 303 of 1639
                                                                           0303


                                                  Prosecute Certain Claims and Causes of Action
                                                  on Behalf of the Debtors Estates and (II)
                                                  Exclusive Settlement Authority (related
                                                  document(s):1682 Generic Motion). Filed by
                                                  Deutsche Bank Trust Company Americas
 12/01/2020                                       (Carter, Winstol) (Entered: 12/01/2020)

                            1985                  Affidavit Re: Stipulation, Motion, Transaction
                                                  Notice, and Rejection Notice (Filed By Epiq
                            (29 pgs)              Corporate Restructuring LLC ).(Related
                                                  document(s):1852 Stipulation, 1853 Generic
                                                  Motion, 1857 Generic Motion, 1858 Document)
 12/02/2020                                       (Garabato, Sid) (Entered: 12/02/2020)

                            1986                  Affidavit Re: Notice of Jackson Walker LLPs
                                                  Second Monthly Fee Statement for
                            (7 pgs)               Compensation of Services Rendered and
                                                  Reimbursement of Expenses as Co-Counsel and
                                                  Conflicts Counsel to the Debtors for the Period
                                                  from August 1, 2020 Through August 31, 2020;
                                                  Notice of Jackson Walker LLPs Third Monthly
                                                  Fee Statement for Compensation of Services
                                                  Rendered and Reimbursement of Expenses as
                                                  Co-Counsel and Conflicts Counsel to the
                                                  Debtors for the Period from September 1, 2020
                                                  Through September 30, 2020 (Filed By Epiq
                                                  Corporate Restructuring LLC ).(Related
                                                  document(s):1863 Notice, 1864 Notice)
 12/02/2020                                       (Garabato, Sid) (Entered: 12/02/2020)

                            1987                  Motion to Appear pro hac vice for Benjamin
                                                  Mintz. Filed by Interested Party Glas USA LLC
 12/02/2020                 (1 pg)                (Warner, Michael) (Entered: 12/02/2020)

                            1988                  Order Granting Motion To Appear pro hac vice -
                                                  Christina L. Chen (Related Doc # 1957) Signed
 12/02/2020                 (1 pg)                on 12/2/2020. (emiller) (Entered: 12/02/2020)

                            1989                  Order Granting Motion To Appear pro hac vice -
                                                  Joshua Dorchak (Related Doc # 1958) Signed on
 12/02/2020                 (1 pg)                12/2/2020. (emiller) (Entered: 12/02/2020)

                            1990                  Order Granting Motion To Appear pro hac vice -
                                                  Marc J. Tobak (Related Doc # 1965) Signed on
 12/02/2020                 (1 pg)                12/2/2020. (emiller) (Entered: 12/02/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 304 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 304 of 1639
                                                                           0304


                            1991                  Witness List, Exhibit List (Filed By Chesapeake
                                                  Energy Corporation ).(Related document(s):1977
                            (21 pgs; 3 docs)      Emergency Motion (with hearing date))
                                                  (Attachments: # 1 Exhibit 1 # 2 Exhibit 2)
 12/02/2020                                       (Cavenaugh, Matthew) (Entered: 12/02/2020)

                            1992                  Order Granting Motion To Appear pro hac vice -
                                                  Benjamin Mintz (Related Doc # 1987) Signed on
 12/02/2020                 (1 pg)                12/2/2020. (emiller) (Entered: 12/02/2020)

                            1993                  Courtroom Minutes. Time Hearing Held: 11:00
                                                  AM. Appearances: SEE ATTACHED. (Related
                            (1 pg)                document(s):1977 Emergency Motion (with
                                                  hearing date)) Mr. Donovan informed the Court
                                                  an agreement has been reached. No further
                                                  hearing is needed. (VrianaPortillo) (Entered:
 12/02/2020                                       12/02/2020)

                            1994                  Motion to Appear pro hac vice for Jeffrey A.
                                                  Fuisz. Filed by Interested Party Glas USA LLC
 12/02/2020                 (1 pg)                (Warner, Michael) (Entered: 12/02/2020)

                            1995                     PDF with attached Audio File. Court Date &
                                                  Time [ 12/2/2020 11:00:21 AM ]. File Size [ 857
                            (1 pg)                KB ]. Run Time [ 00:01:47 ]. (In ref to doc no.
                                                  1977. Hearing held December 2, 2020.).
 12/02/2020                                       (admin). (Entered: 12/02/2020)

                            1996                  Objection to Confirmation of Plan Filed by
                                                  Dimmit County, Sheldon Independent School
                            (5 pgs)               District, Crosby Independent School District,
                                                  Midland County, Grey County Tax Office,
                                                  Hansford County Tax Office, Nacogdoches
                                                  County, et al, Houston County T. (Related
                                                  document(s):1644 Amended Chapter 11 Plan)
 12/02/2020                                       (Sonik, Owen) (Entered: 12/02/2020)

                            1997                  Motion to Appear pro hac vice Antonio M.
                                                  Haynes. Filed by Creditor Ad Hoc Group of
                            (1 pg)                FLLO Term Loan Lenders Hearing scheduled
                                                  for 12/4/2020 at 10:00 AM at Houston,
                                                  Courtroom 400 (DRJ). (Morgan, John) (Entered:
 12/02/2020                                       12/02/2020)

                            1998
                                                  Motion to Appear pro hac vice Victor Obasaju.
                                                  Filed by Creditor Ad Hoc Group of FLLO Term




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 305 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 305 of 1639
                                                                           0305


                            (1 pg)                Loan Lenders Hearing scheduled for 12/4/2020
                                                  at 10:00 AM at Houston, Courtroom 400 (DRJ).
 12/02/2020                                       (Morgan, John) (Entered: 12/02/2020)

                            1999                  Motion to Appear pro hac vice Daniel T.
                                                  Finnegan. Filed by Creditor Ad Hoc Group of
                            (1 pg)                FLLO Term Loan Lenders Hearing scheduled
                                                  for 12/4/2020 at 10:00 AM at Houston,
                                                  Courtroom 400 (DRJ). (Morgan, John) (Entered:
 12/02/2020                                       12/02/2020)

                            2000                  Motion to Appear pro hac vice Nicholas
                                                  D'Angelo. Filed by Creditor Ad Hoc Group of
                            (1 pg)                FLLO Term Loan Lenders Hearing scheduled
                                                  for 12/4/2020 at 10:00 AM at Houston,
                                                  Courtroom 400 (DRJ). (Morgan, John) (Entered:
 12/02/2020                                       12/02/2020)

                            2001                  Affidavit Re: Declaration, Notice, and Motion
                                                  (Filed By Epiq Corporate Restructuring LLC ).
                            (27 pgs)              (Related document(s):1875 Declaration, 1882
                                                  Notice, 1883 Stipulation) (Garabato, Sid)
 12/02/2020                                       (Entered: 12/02/2020)

                            2002                  Motion to Appear pro hac vice of Avram E. Luft.
                                                  Filed by Creditor MUFG Union Bank, N.A.
 12/03/2020                 (1 pg)                (Wilson, Broocks) (Entered: 12/03/2020)

                            2003                  Notice Third Supplemental Notice to Contract
                                                  Parties to Potentially Assumed Executory
                            (6 pgs)               Contracts and Unexpired Leases. (Related
                                                  document(s):1305 Generic Order, 1491 Notice)
                                                  Filed by Chesapeake Energy Corporation
 12/03/2020                                       (Cavenaugh, Matthew) (Entered: 12/03/2020)

                            2004                  Objection to Confirmation of Plan Filed by
                                                  Clifford Ray McTee III. (Related document
                            (2 pgs)               (s):1599 Amended Chapter 11 Plan) (Autry,
 12/03/2020                                       Patrick) (Entered: 12/03/2020)

                            2005                  Objection to Confirmation of Plan Filed by Mary
                                                  Wheeler Family Limited Partnership. (Related
                            (2 pgs)               document(s):1599 Amended Chapter 11 Plan)
 12/03/2020                                       (Autry, Patrick) (Entered: 12/03/2020)

                            2006
                                                  Objection to Confirmation of Plan Filed by




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 306 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 306 of 1639
                                                                           0306


                                                  McTee L7 Ranch, Ltd.. (Related document
                            (2 pgs)               (s):1599 Amended Chapter 11 Plan) (Autry,
 12/03/2020                                       Patrick) (Entered: 12/03/2020)

                            2007                  Withdraw Document (Filed By Chesapeake
                                                  Energy Corporation ).(Related document(s):1960
                            (3 pgs)               Objection to Claim) (Cavenaugh, Matthew)
 12/03/2020                                       (Entered: 12/03/2020)

                            2008                  Objection to Confirmation of Plan Filed by
                                                  Estate of Robert Yeates Wheeler. (Related
                            (2 pgs)               document(s):1599 Amended Chapter 11 Plan)
 12/03/2020                                       (Autry, Patrick) (Entered: 12/03/2020)

                            2009                  Objection to Confirmation of Plan Filed by
                                                  Shelly Marie McTee. (Related document(s):1599
                            (2 pgs)               Amended Chapter 11 Plan) (Autry, Patrick)
 12/03/2020                                       (Entered: 12/03/2020)

                            2010                  Objection to Confirmation of Plan Filed by
                                                  Charles Dewey McTee. (Related document
                            (2 pgs)               (s):1599 Amended Chapter 11 Plan) (Autry,
 12/03/2020                                       Patrick) (Entered: 12/03/2020)

                            2011                  Objection to Confirmation of Plan Filed by
                                                  CLSCM Ltd.. (Related document(s):1599
                            (2 pgs)               Amended Chapter 11 Plan) (Autry, Patrick)
 12/03/2020                                       (Entered: 12/03/2020)

                            2012                  Objection to Confirmation of Plan Filed by
                                                  Oakes David Edwards Jr.. (Related document
                            (2 pgs)               (s):1599 Amended Chapter 11 Plan) (Autry,
 12/03/2020                                       Patrick) (Entered: 12/03/2020)

                            2013                  Objection to Confirmation of Plan Filed by
                                                  Jason Shely Edwards. (Related document
                            (2 pgs)               (s):1599 Amended Chapter 11 Plan) (Autry,
 12/03/2020                                       Patrick) (Entered: 12/03/2020)

                            2014                  Objection to Confirmation of Plan Filed by
                                                  Kendall Arnim Young. (Related document
                            (2 pgs)               (s):1599 Amended Chapter 11 Plan) (Autry,
 12/03/2020                                       Patrick) (Entered: 12/03/2020)

                            2015
                                                  Objection to Confirmation of Plan Filed by
                                                  Clinton Michael Wilson. (Related document




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 307 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 307 of 1639
                                                                           0307


                            (2 pgs)               (s):1599 Amended Chapter 11 Plan) (Autry,
 12/03/2020                                       Patrick) (Entered: 12/03/2020)

                                                  Certificate of Telephone Notice. By agreement
                                                  of the parties, the hearing set for 12/4/2020 at
                                                  10:00 AM has been adjourned. Movant to notice
                                                  all interested parties and file a certificate of
                                                  service with the court (Related document
                                                  (s):1606 Motion for Relief From Stay) Hearing
                                                  rescheduled for 12/14/2020 at 02:00 PM by
                                                  telephone and video conference. (aalo)
 12/03/2020                                       (Entered: 12/03/2020)

                            2016                  Objection to Confirmation of Plan Filed by
                                                  Oakes David Edwards III. (Related document
                            (2 pgs)               (s):1599 Amended Chapter 11 Plan) (Autry,
 12/03/2020                                       Patrick) (Entered: 12/03/2020)

                            2017                  Objection to Confirmation of Plan Filed by
                                                  Jacqueline Elizabeth Ballard. (Related document
                            (2 pgs)               (s):1599 Amended Chapter 11 Plan) (Autry,
 12/03/2020                                       Patrick) (Entered: 12/03/2020)

                            2018                  Objection to Confirmation of Plan Filed by Jeff
                                                  Jones. (Related document(s):1599 Amended
                            (2 pgs)               Chapter 11 Plan) (Autry, Patrick) (Entered:
 12/03/2020                                       12/03/2020)

                            2019                  Objection to Confirmation of Plan Filed by Kim
                                                  Byers. (Related document(s):1599 Amended
                            (2 pgs)               Chapter 11 Plan) (Autry, Patrick) (Entered:
 12/03/2020                                       12/03/2020)

                            2020                  Objection to Confirmation of Plan Filed by
                                                  Brenda C. Cuvelier. (Related document(s):1599
                            (2 pgs)               Amended Chapter 11 Plan) (Autry, Patrick)
 12/03/2020                                       (Entered: 12/03/2020)

                            2021                  Objection to Confirmation of Plan Filed by
                                                  Jeana Martin. (Related document(s):1599
                            (2 pgs)               Amended Chapter 11 Plan) (Autry, Patrick)
 12/03/2020                                       (Entered: 12/03/2020)

                            2022
                                                  Objection to Confirmation of Plan Filed by
                            (2 pgs)               Hatch Family Mineral Trust. (Related document
                                                  (s):1599 Amended Chapter 11 Plan) (Autry,




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 308 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 308 of 1639
                                                                           0308


 12/03/2020                                       Patrick) (Entered: 12/03/2020)

                            2023                  Affidavit Re: Notice of Additional Supplemental
                                                  Agreement (Filed By Epiq Corporate
                            (21 pgs)              Restructuring LLC ).(Related document(s):1914
 12/03/2020                                       Notice) (Garabato, Sid) (Entered: 12/03/2020)

                            2024                  Objection to Confirmation of Plan Filed by
                                                  Justin Cobb, Kristine Cobb, Linda Milanovich.
                            (16 pgs)              (Related document(s):1599 Amended Chapter 11
                                                  Plan, 1644 Amended Chapter 11 Plan)
 12/03/2020                                       (Rukavina, Davor) (Entered: 12/03/2020)

                            2025                  Order (I) Authorizing the Rejection of Certain
                                                  Executory Contracts Effective as of October 30,
                            (4 pgs)               2020 and (II) Granting Related Relief (Related
                                                  Doc # 1640) Signed on 12/3/2020. (aalo)
 12/03/2020                                       (Entered: 12/03/2020)

                            2026                  Statement Election to Opt Out of Releases (Filed
                                                  By Journey Acquisition - II LP, Jetta Production
                            (1 pg)                Company Inc., Jetta Operating Company Inc.,
                                                  Bird 2000 LP, Jetta X-2 LP ). (Devenport,
 12/03/2020                                       Russell) (Entered: 12/03/2020)

                            2027                  Notice Request for Withdrawal from Service
                                                  List. Filed by Robert L Bennett (Long,
 12/03/2020                 (2 pgs)               Ekaterina) (Entered: 12/03/2020)

                            2028                  Order Granting Motion To Appear pro hac vice -
                                                  Jeffrey A. Fuisz (Related Doc # 1994) Signed on
 12/03/2020                 (1 pg)                12/3/2020. (emiller) (Entered: 12/03/2020)

                            2029                  Order Granting Motion To Appear pro hac vice -
                                                  Antonio M. Haynes (Related Doc # 1997)
                            (1 pg)                Signed on 12/3/2020. (emiller) (Entered:
 12/03/2020                                       12/03/2020)

                            2030                  Order Granting Motion To Appear pro hac vice -
                                                  Victor Obasaju (Related Doc # 1998) Signed on
 12/03/2020                 (1 pg)                12/3/2020. (emiller) (Entered: 12/03/2020)

                            2031                  Order Granting Motion To Appear pro hac vice -
                                                  Daniel T. Finnegan (Related Doc # 1999) Signed
 12/03/2020                 (1 pg)                on 12/3/2020. (emiller) (Entered: 12/03/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 309 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 309 of 1639
                                                                           0309


                            2032                  Order Granting Motion To Appear pro hac vice -
                                                  Nicholas D'Angelo (Related Doc # 2000) Signed
 12/03/2020                 (1 pg)                on 12/3/2020. (emiller) (Entered: 12/03/2020)

                            2033                  Order Granting Motion To Appear pro hac vice -
                                                  Avram E. Luft (Related Doc # 2002) Signed on
 12/03/2020                 (1 pg)                12/3/2020. (emiller) (Entered: 12/03/2020)

                            2034                  Affidavit Re: Affidavit of Service of Solicitation
                                                  Materials of Stephenie Kjontvedt (Filed By Epiq
                            (6985 pgs)            Corporate Restructuring LLC ). (Garabato, Sid)
 12/03/2020                                       (Entered: 12/03/2020)

                            2035                  BNC Certificate of Mailing. (Related document
                                                  (s):1966 Notice of Filing of Official Transcript
                            (9 pgs)               (Form)) No. of Notices: 174. Notice Date
 12/03/2020                                       12/03/2020. (Admin.) (Entered: 12/04/2020)

                            2036                  BNC Certificate of Mailing. (Related document
                                                  (s):1962 Order on Motion to Appear pro hac
                            (9 pgs)               vice) No. of Notices: 174. Notice Date
 12/03/2020                                       12/03/2020. (Admin.) (Entered: 12/04/2020)

                            2037                  BNC Certificate of Mailing. (Related document
                                                  (s):1963 Order on Motion to Appear pro hac
                            (10 pgs)              vice) No. of Notices: 174. Notice Date
 12/03/2020                                       12/03/2020. (Admin.) (Entered: 12/04/2020)

                            2038                  Notice of Appearance and Request for Notice
                                                  Filed by Jonathan D Baughman Filed by on
                            (2 pgs)               behalf of Murphy Exploration & Production
                                                  Company-USA (Baughman, Jonathan) (Entered:
 12/04/2020                                       12/04/2020)

                            2039                  Notice of Appearance and Request for Notice
                                                  Filed by William Grubb Filed by on behalf of
                            (2 pgs)               Murphy Exploration & Production Company-
 12/04/2020                                       USA (Grubb, William) (Entered: 12/04/2020)

                            2040                  Notice of Appearance and Request for Notice
                                                  Filed by Christopher Lance Halgren Filed by on
                            (2 pgs)               behalf of Murphy Exploration & Production
                                                  Company-USA (Halgren, Christopher) (Entered:
 12/04/2020                                       12/04/2020)

                            2041
                                                  AO 435 TRANSCRIPT ORDER FORM (Daily




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 310 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 310 of 1639
                                                                           0310


                                                  (24 hours)) by Matthew Cavenaugh. This is to
                            (1 pg)                order a transcript of 12/4/2020 before Judge
                                                  David R. Jones. Court Reporter/Transcriber:
                                                  Access Transcripts (Filed By Chesapeake
                                                  Energy Corporation ). (Cavenaugh, Matthew)
                                                  Electronically forwarded to Access Transcripts,
                                                  LLC on December 4, 2020. Estimated
                                                  completion date: December 5, 2020. Modified
                                                  on 12/4/2020 (ClaudiaGutierrez). (Entered:
 12/04/2020                                       12/04/2020)

                            2042                  Notice of Appearance and Request for Notice
                                                  Filed by William Henry Daniel Filed by on
                            (2 pgs)               behalf of Murphy Exploration & Production
                                                  Company-USA (Daniel, William) (Entered:
 12/04/2020                                       12/04/2020)

                            2043                  Objection to Confirmation of Plan Filed by Nora
                                                  Davidson Harris. (Related document(s):1599
                            (2 pgs)               Amended Chapter 11 Plan) (Autry, Patrick)
 12/04/2020                                       (Entered: 12/04/2020)

                            2044                  Objection to Confirmation of Plan Filed by
                                                  Diane Davidson. (Related document(s):1599
                            (2 pgs)               Amended Chapter 11 Plan) (Autry, Patrick)
 12/04/2020                                       (Entered: 12/04/2020)

                            2045                  AO 435 TRANSCRIPT ORDER FORM (Daily
                                                  (24 hours)) by Mary Elizabeth Heard. This is to
                            (1 pg)                order a transcript of 12/4/2020 Hearing before
                                                  Judge David R. Jones. Court
                                                  Reporter/Transcriber: Access Transcripts (Filed
                                                  By PMBG Parties ). (Heard, Mary) Copy request
                                                  electronically forwarded to Access Transcripts,
                                                  LLC on December 4, 2020. Estimated
                                                  completion date: December 5, 2020. Modified
                                                  on 12/4/2020 (ClaudiaGutierrez). (Entered:
 12/04/2020                                       12/04/2020)

                            2046                  AO 435 TRANSCRIPT ORDER FORM (Daily
                                                  (24 hours)) by M. Quejada. This is to order a
                            (1 pg)                transcript of December 4, 2020 Hearing before
                                                  Judge David R. Jones. Court
                                                  Reporter/Transcriber: Access Transcripts (Filed
                                                  By MUFG Union Bank, N.A. ). (Quejada,
                                                  Maegan) Copy request electronically forwarded
                                                  to Access Transcripts, LLC on December 4,




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 311 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 311 of 1639
                                                                           0311


                                                  2020. Estimated completion date: December 5,
                                                  2020. Modified on 12/4/2020
 12/04/2020                                       (ClaudiaGutierrez). (Entered: 12/04/2020)

                            2047                  Notice of Rule 2004 Requests on Debtor,
                                                  Chesapeake Operating, L.L.C.. Filed by Greg
                            (4 pgs)               and Janice Depew, Lisa Griggs (Mashburn,
 12/04/2020                                       John) (Entered: 12/04/2020)

                            2048                  Motion to Appear pro hac vice Aaron Hovan.
                                                  Filed by Creditors Tim & Terri Family LP,
                            (1 pg)                Dianna Mowry, Rodney Mowry, The 5 Family
                                                  LP, Terri Denise Tyler, Timothy A Tyler (hler)
 12/04/2020                                       (Entered: 12/04/2020)

                            2049                  Motion to Appear pro hac vice for Timothy P.
                                                  Palmer, Esq. Filed by Creditor Repsol Oil & Gas
                            (1 pg)                USA, LLC (Palmer, Timothy) (Entered:
 12/04/2020                                       12/04/2020)

                            2050                  Objection to Confirmation of Plan Filed by ARI
                                                  Fleet LT, Automotive Rentals, Inc.. (Related
                            (76 pgs; 3 docs)      document(s):1644 Amended Chapter 11 Plan,
                                                  1645 Disclosure Statement) (Attachments: # 1
                                                  Exhibit 1 # 2 Exhibit 2)(Aguilar, Richard)
 12/04/2020                                       (Entered: 12/04/2020)

                            2051                  Notice of Jackson Walker LLP's Fourth Monthly
                                                  Fee Statement for Compensation of Services
                            (26 pgs)              Rendered and Reimbursement of Expenses as
                                                  Co-Counsel and Conflicts Counsel to the
                                                  Debtors for the Period From October 1, 2020
                                                  Through October 31, 2020. (Related document
                                                  (s):656 Generic Order) Filed by Chesapeake
                                                  Energy Corporation (Cavenaugh, Matthew)
 12/04/2020                                       (Entered: 12/04/2020)

                            2052                  Courtroom Minutes. Time Hearing Held: 10:00
                                                  AM. Appearances: see attached. Hearing held
                            (3 pgs)               and the Court has laid out the schedule for trial.
                                                  Opening statements will begin on 12/15 at 1:00
                                                  PM. Witnesses will be called on 12/16. The
                                                  Court has reserved all day on 12/17 as well as
                                                  12/23 and will attempt to clear additional time
                                                  for trial. No further action taken today. (aalo)
 12/04/2020                                       (Entered: 12/04/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                        5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 312 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 312 of 1639
                                                                           0312


                            2053                  Objection to Confirmation of Plan Filed by
                                                  CNOOC Energy U.S.A. LLC. (Related
                            (4 pgs)               document(s):1599 Amended Chapter 11 Plan,
                                                  1907 Notice, 1961 Notice) (Ripley, Edward)
 12/04/2020                                       (Entered: 12/04/2020)

                            2054                      PDF with attached Audio File. Court Date &
                                                  Time [ 12/4/2020 9:59:37 AM ]. File Size
                            (1 pg)                [ 24823 KB ]. Run Time [ 00:51:43 ]. (admin).
 12/04/2020                                       (Entered: 12/04/2020)

                            2055                  Notice to Contract Parties to Assumed
                                                  Executory Contracts and Unexpired Leases.
                            (54 pgs)              Filed by Chesapeake Energy Corporation
 12/04/2020                                       (Cavenaugh, Matthew) (Entered: 12/04/2020)

                            2056                  Response/Objection Filed by EOG Resources,
                                                  Inc.. (Related document(s):1644 Amended
                            (5 pgs)               Chapter 11 Plan, 1931 Notice) (Eppich, Joshua)
 12/04/2020                                       (Entered: 12/04/2020)

                            2057                  Notice of Extended Class 6 Voting Deadline.
                                                  (Related document(s):1633 Order Approving
                            (2 pgs)               Disclosure Statement) Filed by Chesapeake
                                                  Energy Corporation (Cavenaugh, Matthew)
 12/04/2020                                       (Entered: 12/04/2020)

                            2058                  Appellee Designation of Contents for Inclusion
                                                  in Record of Appeal (related document(s):1762
                            (4 pgs)               Notice of Appeal). (Cavenaugh, Matthew)
 12/04/2020                                       (Entered: 12/04/2020)

                            2059                  Application for Compensation First Interim Fee
                                                  Application of Intrepid Partners, LLC as
                            (60 pgs; 2 docs)      Investment Banker to the Debtors, for Allowance
                                                  and Payment of Compensation for Professional
                                                  Services Rendered and Reimbursement of Actual
                                                  and Necessary Expenses Incurred From June 28,
                                                  2020 Through and Including September 20,
                                                  2020. Objections/Request for Hearing Due in 21
                                                  days. Filed by Attorney Matthew D Cavenaugh
                                                  (Attachments: # 1 Proposed Order) (Cavenaugh,
 12/04/2020                                       Matthew) (Entered: 12/04/2020)

                            2060                Application for Compensation First Interim
                                                Application of Rothschild & Co US Inc. as




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 313 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 313 of 1639
                                                                           0313


                            (50 pgs; 2 docs)    Investment Banker to the Debtors for Allowance
                                                and Payment of Compensation for Professional
                                                Services Rendered and Reimbursement of Actual
                                                and Necessary Expenses Incurred From June 28,
                                                2020 Through and Including September 30, 2020.
                                                Objections/Request for Hearing Due in 21 days.
                                                Filed by Attorney Matthew D Cavenaugh
                                                (Attachments: # 1 Proposed Order) (Cavenaugh,
 12/04/2020                                     Matthew) (Entered: 12/04/2020)

                            2061                BNC Certificate of Mailing. (Related document
                                                (s):1988 Order on Motion to Appear pro hac vice)
                            (9 pgs)             No. of Notices: 174. Notice Date 12/04/2020.
 12/04/2020                                     (Admin.) (Entered: 12/04/2020)

                            2062                BNC Certificate of Mailing. (Related document
                                                (s):1989 Order on Motion to Appear pro hac vice)
                            (9 pgs)             No. of Notices: 174. Notice Date 12/04/2020.
 12/04/2020                                     (Admin.) (Entered: 12/04/2020)

                            2063                BNC Certificate of Mailing. (Related document
                                                (s):1990 Order on Motion to Appear pro hac vice)
                            (9 pgs)             No. of Notices: 174. Notice Date 12/04/2020.
 12/04/2020                                     (Admin.) (Entered: 12/04/2020)

                            2064                BNC Certificate of Mailing. (Related document
                                                (s):1992 Order on Motion to Appear pro hac vice)
                            (9 pgs)             No. of Notices: 174. Notice Date 12/04/2020.
 12/04/2020                                     (Admin.) (Entered: 12/04/2020)

                            2078                Motion to Appear pro hac vice Mark Pfeiffer. Filed
                                                by Creditor Repsol Oil & Gas USA, LLC (hler)
                            (2 pgs; 2 docs)     Additional attachment(s) added on 12/7/2020
 12/04/2020                                     (ShadiaNash). (Entered: 12/07/2020)

                            2089                Copy MEMORANDUM AND ORDER entered in
                                                4:20cv2725 affirming Bankruptcy Court's order of
                            (5 pgs)             July 22, 2020.(Signed by Judge Keith P Ellison)
                                                (Related document(s):609 Notice of Appeal) (hcar)
 12/04/2020                                     (Entered: 12/07/2020)

                            2065
                                                Transcript RE: Pretrial Conference held on
                            (39 pgs)            12/04/20 before Judge David R. Jones. Transcript
                                                is available for viewing in the Clerk's Office. Filed
                                                by Transcript access will be restricted through
                                                03/5/2021. (AccessTranscripts) (Entered:




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                        5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 314 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 314 of 1639
                                                                           0314


 12/05/2020                                     12/05/2020)

                            2066                BNC Certificate of Mailing. (Related document
                                                (s):2025 Generic Order) No. of Notices: 175.
                            (13 pgs)            Notice Date 12/05/2020. (Admin.) (Entered:
 12/05/2020                                     12/06/2020)

                            2067                Objection to Confirmation of Plan Filed by ECorp
                                                Resource Partners 1, LP. and Texas ePartners X,
                            (2 pgs)             LLC(Related document(s):1644 Amended Chapter
 12/06/2020                                     11 Plan) (Skelton, Barnet) (Entered: 12/06/2020)

                            2068                Objection to Confirmation of Plan Filed by Plains
                                                South Texas Gathering. (Related document(s):1644
                            (3 pgs)             Amended Chapter 11 Plan) (Prewitt, Patricia)
 12/06/2020                                     (Entered: 12/06/2020)

                            2069                BNC Certificate of Mailing. (Related document
                                                (s):2028 Order on Motion to Appear pro hac vice)
                            (10 pgs)            No. of Notices: 176. Notice Date 12/06/2020.
 12/06/2020                                     (Admin.) (Entered: 12/06/2020)

                            2070                BNC Certificate of Mailing. (Related document
                                                (s):2029 Order on Motion to Appear pro hac vice)
                            (10 pgs)            No. of Notices: 176. Notice Date 12/06/2020.
 12/06/2020                                     (Admin.) (Entered: 12/06/2020)

                            2071                BNC Certificate of Mailing. (Related document
                                                (s):2030 Order on Motion to Appear pro hac vice)
                            (10 pgs)            No. of Notices: 176. Notice Date 12/06/2020.
 12/06/2020                                     (Admin.) (Entered: 12/06/2020)

                            2072                BNC Certificate of Mailing. (Related document
                                                (s):2031 Order on Motion to Appear pro hac vice)
                            (10 pgs)            No. of Notices: 176. Notice Date 12/06/2020.
 12/06/2020                                     (Admin.) (Entered: 12/06/2020)

                            2073                BNC Certificate of Mailing. (Related document
                                                (s):2032 Order on Motion to Appear pro hac vice)
                            (10 pgs)            No. of Notices: 176. Notice Date 12/06/2020.
 12/06/2020                                     (Admin.) (Entered: 12/06/2020)

                            2074                BNC Certificate of Mailing. (Related document
                                                (s):2033 Order on Motion to Appear pro hac vice)
                            (10 pgs)            No. of Notices: 176. Notice Date 12/06/2020.
 12/06/2020                                     (Admin.) (Entered: 12/06/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 315 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 315 of 1639
                                                                           0315


                            2075                Motion to Appear pro hac vice of Brendan M.
                                                Gage. Filed by Creditor MUFG Union Bank, N.A.
 12/07/2020                 (1 pg)              (Wilson, Broocks) (Entered: 12/07/2020)

                            2076                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by Jason Boland. This is to order a
                            (1 pg)              transcript of the 12/4/20 hearing before Judge
                                                David R. Jones. Court Reporter/Transcriber:
                                                Access Transcripts (Filed By Official Committee
                                                Of Unsecured Creditors ). (Boland, Jason) Copy
                                                request electronically forwarded to Access
                                                Transcripts on December 7, 2020. Estimated
                                                completion date: December 8, 2020. Modified on
                                                12/7/2020 (ClaudiaGutierrez). (Entered:
 12/07/2020                                     12/07/2020)

                            2077                Objection to Confirmation of Plan Filed by Eagle
                                                Ford Pipeline LLC. (Related document(s):1644
                            (3 pgs)             Amended Chapter 11 Plan) (Prewitt, Patricia)
 12/07/2020                                     (Entered: 12/07/2020)

                            2079                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by Jason Boland. This is to order a
                            (1 pg)              transcript of the November 13, 2020 hearing before
                                                Judge David R. Jones. Court Reporter/Transcriber:
                                                Access Transcripts (Filed By Official Committee
                                                Of Unsecured Creditors ). (Boland, Jason) Copy
                                                request electronically forwarded to original
                                                transcription company Judicial Transcribers of
                                                Texas on December 7, 2020. Estimated completion
                                                date: December 8, 2020. Modified on 12/7/2020
 12/07/2020                                     (ClaudiaGutierrez). (Entered: 12/07/2020)

                            2080                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by Jason Boland. This is to order a
                            (1 pg)              transcript of the November 23, 2020 hearing before
                                                Judge David R. Jones. Court Reporter/Transcriber:
                                                Access Transcripts (Filed By Official Committee
                                                Of Unsecured Creditors ). (Boland, Jason) Copy
                                                request electronically forwarded to original
                                                transcription company Judicial Transcriber of
                                                Texas on December 7, 2020. Estimated completion
                                                date: December 8, 2020. Modified on 12/7/2020
 12/07/2020                                     (ClaudiaGutierrez). (Entered: 12/07/2020)

                            2081                Notice of Filing of Official Transcript as to 2065
                                                Transcript. Parties notified (Related document




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 316 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 316 of 1639
                                                                           0316


 12/07/2020                 (1 pg)              (s):2065 Transcript) (dhan) (Entered: 12/07/2020)

                            2082                Notice of Tributary Resources, LLC's Election to
                                                Opt Out of Releases. (Related document(s):1644
                            (2 pgs)             Amended Chapter 11 Plan) Filed by Tributary
                                                Resources, LLC (Martin, Jarrod) (Entered:
 12/07/2020                                     12/07/2020)

                            2083                Objection to Confirmation of Plan Filed by Federal
                                                Energy Regulatory Commission. (Related
                            (7 pgs; 2 docs)     document(s):1644 Amended Chapter 11 Plan)
                                                (Attachments: # 1 Proposed Order)(Kincheloe,
 12/07/2020                                     Richard) (Entered: 12/07/2020)

                            2084                Response/Objection Filed by Microsoft
                                                Corporation and Microsoft Licensing. (Related
                            (27 pgs)            document(s):1931 Notice) (Monsour, Trey)
 12/07/2020                                     (Entered: 12/07/2020)

                            2085                Notice of Reset Hearing on Motion for Relief from
                                                the Automatic Stay. (Related document(s):1606
                            (2 pgs)             Motion for Relief From Stay) Filed by Catherine
 12/07/2020                                     Ramirez (Lindauer, Joyce) (Entered: 12/07/2020)

                            2086                Joint Objection to Confirmation of Second
                                                Amended Plan of Reorganization. Filed by
                            (5 pgs)             Tornado Venture Quatro, LLC and Tornado
                                                Venture Cinco LLC (Kingman, William) (Entered:
 12/07/2020                                     12/07/2020)

                            2087                Objection to Confirmation of Second Amended
                                                Plan of Reorganization. Filed by Tornado Venture
                            (5 pgs)             Seis, LP (Kingman, William) (Entered:
 12/07/2020                                     12/07/2020)

                            2088                Notice of Appearance and Request for Notice Filed
                                                by Frank F McGinn Filed by on behalf of Iron
                            (9 pgs)             Mountain Information Management, Inc. (McGinn,
 12/07/2020                                     Frank) (Entered: 12/07/2020)

                            2090
                                                Objection TO ASSUMPTION OR ASSUMPTION
                            (10 pgs)            AND ASSIGNMENT OF ITS PROCESSING
                                                AGREEMENTS WITH THE DEBTORS, NOTICE
                                                OF OPT-OUT REGARDING AND OBJECTION
                                                TO PLAN RELEASES, AND RESERVATION OF
                                                RIGHTS [Related to Dkt. Nos. 1599, 1633, 1907 &




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 317 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 317 of 1639
                                                                           0317


                                                1931]. Filed by TGS Canada Corp. (Braun,
 12/07/2020                                     Andrew) (Entered: 12/07/2020)

                            2091                Statement Election to OPT OUT of Releases (Filed
                                                By R.A.W. Oilfield Services, L.L.C. ). (Stephen,
 12/07/2020                 (1 pg)              John) (Entered: 12/07/2020)

                            2092                Response/Objection Filed by Marathon Oil
                                                Company. (Related document(s):1644 Amended
                            (5 pgs)             Chapter 11 Plan, 1931 Notice) (Taylor, Clay)
 12/07/2020                                     (Entered: 12/07/2020)

                            2093                Objection to Confirmation of Plan Filed by
                                                Catherine Ramirez. (Related document(s):1644
                            (3 pgs)             Amended Chapter 11 Plan) (Lindauer, Joyce)
 12/07/2020                                     (Entered: 12/07/2020)

                            2094                Response (Filed By Fairfield Industries
                                                Incorporated ).(Related document(s):1644
                            (4 pgs)             Amended Chapter 11 Plan, 1645 Disclosure
                                                Statement, 1907 Notice, 1931 Notice) (Kirkendall,
 12/07/2020                                     Thomas) (Entered: 12/07/2020)

                            2095                Response (Filed By Geophysical Pursuit, Inc. ).
                                                (Related document(s):1644 Amended Chapter 11
                            (4 pgs)             Plan, 1645 Disclosure Statement, 1907 Notice,
                                                1931 Notice) (Kirkendall, Thomas) (Entered:
 12/07/2020                                     12/07/2020)

                            2096                Motion to Appear pro hac vice for Peyton Lambert.
                                                Filed by Creditor Cecil Blount Farms, LLC, et al.
 12/07/2020                 (1 pg)              (Knapp, Bradley) (Entered: 12/07/2020)

                            2097                Response/Objection Filed by Archrock Partners
                                                Operating, LLC. (Related document(s):1644
                            (15 pgs; 3 docs)    Amended Chapter 11 Plan) (Attachments: # 1
                                                Exhibit -A # 2 Exhibit -B)(Maraist, Kevin)
 12/07/2020                                     (Entered: 12/07/2020)

                            2098
                                                Statement Deutsche Bank Trust Company of
                            (6 pgs)             Americas' Reservation of Rights with Respect to
                                                Second Amended Joint Chapter 11 Plan of
                                                Reorganization of Chesapeake Energy Corporation
                                                and its Debtor Affiliates.n (Filed By Deutsche Bank
                                                Trust Company Americas ).(Related document
                                                (s):1644 Amended Chapter 11 Plan) (Carter,




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 318 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 318 of 1639
                                                                           0318


 12/07/2020                                     Winstol) (Entered: 12/07/2020)

                            2099                Objection to Confirmation of Plan Filed by SWN
                                                Production Company, LLC. (Related document
                            (5 pgs)             (s):1599 Amended Chapter 11 Plan) (Cohen,
 12/07/2020                                     Jason) (Entered: 12/07/2020)

                            2100                Statement Reservation of Rights of Brandes
                                                Investment Partners, L.P. with Respect to Vote On
                            (6 pgs)             and Confirmation of Second Amended Joint
                                                Chapter 11 Plan of Reorganization of Chesapeake
                                                Energy Corporation and its Debtor Affiliates (Filed
                                                By Brandes Investment Partners LP ).(Related
                                                document(s):1644 Amended Chapter 11 Plan)
 12/07/2020                                     (Lowenthal, Daniel) (Entered: 12/07/2020)

                            2101                Objection to Confirmation of Plan Filed by
                                                Commonwealth of Pennsylvania. (Related
                            (127 pgs; 2 docs)   document(s):1599 Amended Chapter 11 Plan, 1644
                                                Amended Chapter 11 Plan) (Attachments: # 1
 12/07/2020                                     Exhibit 1)(Butler, Lynn) (Entered: 12/07/2020)

                            2102                Notice Hess Corporation's Election to Opt Out of
                                                Certain Releases Under the Second Amended Joint
                            (3 pgs)             Chapter 11 Plan of Reorganization of Chesapeake
                                                Energy Corporation and its Debtor Affiliates (As
                                                May Be Amended). (Related document(s):1644
                                                Amended Chapter 11 Plan) Filed by Hess
                                                Corporation (Wyrick, Martha) (Entered:
 12/07/2020                                     12/07/2020)

                            2103                Amended Objection to Confirmation of Second
                                                Amended Plan of Reorganization. Filed by
                            (5 pgs)             Tornado Venture Quatro, LLC and Tornado
                                                Venture Cinco LLC (Kingman, William) (Entered:
 12/07/2020                                     12/07/2020)

                            2104                Response/Objection Filed by Byrd Family Limited
                                                Partnership, Four P Family Holdings, LP. (Related
                            (5 pgs)             document(s):1644 Amended Chapter 11 Plan)
 12/07/2020                                     (Bevis, Donald) (Entered: 12/07/2020)

                            2105                Amended Objection to Confirmation of Second
                                                Amended Plan of Reorganization. Filed by
                            (4 pgs)             Tornado Venture Seis, LP (Kingman, William)
 12/07/2020                                     (Entered: 12/07/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 319 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 319 of 1639
                                                                           0319


                            2106                Objection TO CONFIRMATION OF THE
                                                SECOND AMENDED JOINT CHAPTER 11 PLAN
                            (28 pgs)            OF REORGANIZATION OF CHESAPEAKE
                                                ENERGY CORPORATION AND ITS DEBTOR
                                                AFFILATES, AND TO ASSUMPTION OR
                                                ASSUMPTION AND ASSIGNMENT OF THEIR
                                                LICENSE AGREEMENTS WITH THE DEBTORS,
                                                NOTICE OF OPT-OUT FROM PLAN RELEASES,
                                                AND RESERVATION OF RIGHTS [Related to Dkt.
                                                Nos. 1599, 1633, 1907 & 1931]. Filed by Vector
                                                Seismic Data Processing Inc., Westerngeco LLC
 12/07/2020                                     (Braun, Andrew) (Entered: 12/07/2020)

                            2107                Statement - Supplement To Verified Statement of
                                                Wiener, Weiss & Madison, A Professional
                            (5 pgs)             Corporation, Pursuant to Rule 2019 of the Federal
                                                Rules of Bankruptcy Procedure Regarding
                                                Representation of Multiple Creditors (Filed By
                                                Powers Investments, LLC, Kingwood Business
                                                Center Limited Partnership, Charles S Powers ).
                                                (Related document(s):1772 Statement) (Naus, R)
 12/07/2020                                     (Entered: 12/07/2020)

                            2108                Objection to Confirmation of Plan Filed by EJS
                                                Investment Holdings, LLC. (Related document
                            (32 pgs)            (s):1644 Amended Chapter 11 Plan) (Towber,
 12/07/2020                                     Preston) (Entered: 12/07/2020)

                            2109                Motion for Mandatory Abstention and Supporting
                                                Brief Filed by Creditor Commonwealth of
                            (222 pgs; 9 docs)   Pennsylvania (Attachments: # 1 Exhibit 1 # 2
                                                Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5
                                                # 6 Exhibit 6 # 7 Exhibit 7 # 8 Proposed Order)
 12/07/2020                                     (Butler, Lynn) (Entered: 12/07/2020)

                            2110                Objection to Confirmation of Plan Filed by Seitel
                                                Data, Ltd.. (Related document(s):1644 Amended
                            (12 pgs)            Chapter 11 Plan, 1907 Notice, 1931 Notice)
 12/07/2020                                     (Brescia, Duane) (Entered: 12/07/2020)

                            2111                Objection to Confirmation of Plan Filed by Cactus
                                                Wellhead, LLC. (Related document(s):1644
                            (5 pgs)             Amended Chapter 11 Plan) (Bailey, James)
 12/07/2020                                     (Entered: 12/07/2020)

                            2112                Objection to Confirmation of Plan Filed by
                                                Jamestown Resources, LLC, Larchmont Resources,




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 320 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 320 of 1639
                                                                           0320


                            (9 pgs)             LLC, Pelican Energy, LLC. (Related document
                                                (s):1599 Amended Chapter 11 Plan, 1644
                                                Amended Chapter 11 Plan, 1907 Notice) (Driver,
 12/07/2020                                     Vickie) (Entered: 12/07/2020)

                            2113                Objection to Confirmation of Plan (Related
                                                documents: 1599 Second Amended Chapter 11
                            (5 pgs)             Plan). Filed by Enterprise Texas Pipeline LLC
 12/07/2020                                     (Judd, T.) (Entered: 12/07/2020)

                            2114                Objection to Confirmation of Plan Filed by Robert
                                                Aiello. (Related document(s):1644 Amended
                            (4 pgs)             Chapter 11 Plan) (Martin, Andrew) (Entered:
 12/07/2020                                     12/07/2020)

                            2115                Response/Objection Filed by Wyoming Royalty
                                                Owners. (Related document(s):1644 Amended
                            (12 pgs)            Chapter 11 Plan) (Howley, Thomas) (Entered:
 12/07/2020                                     12/07/2020)

                            2116                Objection to Confirmation of Plan Filed by BRP,
                                                LLC, CoVal Leasing Company, L.L.C.. (Related
                            (164 pgs; 7 docs)   document(s):1644 Amended Chapter 11 Plan)
                                                (Attachments: # 1 Exhibit "A" # 2 Exhibit "B" # 3
                                                Exhibit "C" # 4 Exhibit D-1 # 5 Exhibit "D-2" # 6
 12/07/2020                                     Exhibit "E")(Cohen, Jason) (Entered: 12/07/2020)

                            2117                Objection to Confirmation of Plan Filed by 2005
                                                Seminar Complex LP. (Related document(s):1644
                            (4 pgs)             Amended Chapter 11 Plan) (Martin, Andrew)
 12/07/2020                                     (Entered: 12/07/2020)

                            2118                Notice of Appearance and Request for Notice Filed
                                                by Brian Wesley Farabough Filed by on behalf of
                            (2 pgs)             R. L. Kirkwood, Jr., WTG Exploration, Inc.,
                                                August Resources, Ltd., Sheep Mountain, Ltd., WI-
                                                CCS, L.P., Third Coast Minerals, Ltd., SOOL,
                                                Ltd., Quien Sabe Oil & Gas Company, LLC,
                                                QPC3, L.P., LHS Family, LLC, David Munson, Jr.
 12/07/2020                                     (Farabough, Brian) (Entered: 12/07/2020)

                            2119                Motion to Appear pro hac vice Stephen R. Winship.
                                                Filed by Creditor Wyoming Royalty Owners
 12/07/2020                 (1 pg)              (Howley, Thomas) (Entered: 12/07/2020)

                            2120
                                                Notice to Opt Out of Releases. (Related document




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 321 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 321 of 1639
                                                                           0321


                                                (s):1599 Amended Chapter 11 Plan) Filed by
                            (2 pgs)             Briscoe Ranch, Inc., Rancho La Cochina Minerals,
 12/07/2020                                     Ltd. (Taylor, Mark) (Entered: 12/07/2020)

                            2121                Objection to Confirmation of Plan, Disclosure
                                                Statement Filed by R. L. Kirkwood, Jr.. (Related
                            (3 pgs)             document(s):1622 Amended Disclosure Statement,
                                                1644 Amended Chapter 11 Plan) (Farabough,
 12/07/2020                                     Brian) (Entered: 12/07/2020)

                            2122                Response/Objection Filed by Dianna Mowry,
                                                Rodney Mowry, Tim & Terri Family LP, Terri
                            (8 pgs)             Denise Tyler, Timothy A Tyler. (Related document
                                                (s):1599 Amended Chapter 11 Plan, 1644
                                                Amended Chapter 11 Plan) (Helfer, Arleigh)
 12/07/2020                                     (Entered: 12/07/2020)

                            2123                Objection to Confirmation of Plan Filed by Atomic
                                                Capital Minerals, LLC. (Related document(s):1644
                            (4 pgs)             Amended Chapter 11 Plan) (Martin, Andrew)
 12/07/2020                                     (Entered: 12/07/2020)

                            2124                Response/Objection Filed by Murphy Exploration
                                                & Production Company-USA. (Related document
                            (5 pgs)             (s):1644 Amended Chapter 11 Plan) (Baughman,
 12/07/2020                                     Jonathan) (Entered: 12/07/2020)

                            2125                Objection to Confirmation of Plan Filed by Texas
                                                Comptroller of Public Accounts, Revenue
                            (14 pgs)            Accounting Division. (Related document(s):1599
                                                Amended Chapter 11 Plan) (Stern, John) (Entered:
 12/07/2020                                     12/07/2020)

                            2126                Objection to Confirmation of Plan,
                                                Response/Objection Filed by August Resources,
                            (3 pgs)             Ltd., LHS Family, LLC, David Munson, Jr., QPC3,
                                                L.P., Quien Sabe Oil & Gas Company, LLC,
                                                SOOL, Ltd., Sheep Mountain, Ltd., Third Coast
                                                Minerals, Ltd., WI-CCS, L.P., WTG Exploration,
                                                Inc.. (Related document(s):1622 Amended
                                                Disclosure Statement, 1644 Amended Chapter 11
 12/07/2020                                     Plan) (Farabough, Brian) (Entered: 12/07/2020)

                            2127
                                                Response/Objection Filed by Kimmeridge Powder
                            (5 pgs)             Minerals, LLC. (Related document(s):2115
                                                Response/Objection) (Howley, Thomas) (Entered:




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 322 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 322 of 1639
                                                                           0322


 12/07/2020                                     12/07/2020)

                            2128                Response/Objection Filed by Cemetery Road Hunt
                                                Club, Inc., Charlotte E. Place, Jesse C. Place,
                            (9 pgs)             Richard E. Place, Charlotte E. Place Trust, Richard
                                                E. Place Trust, Placewood Resource Management,
                                                LLC, Placewood Resources, L.P., R&J Partners,
                                                L.P., William R Ruark, William R. Ruark, Herbert
                                                D. Steele, Leola B. Steele, WLR Family
                                                Partnership, Judith A. Wilson, Raynold W Wilson.
                                                (Related document(s):1599 Amended Chapter 11
                                                Plan, 1644 Amended Chapter 11 Plan) (Helfer,
 12/07/2020                                     Arleigh) (Entered: 12/07/2020)

                            2129                Response/Objection Filed by Cecil Blount Farms,
                                                LLC, et al.. (Related document(s):1644 Amended
                            (4 pgs)             Chapter 11 Plan) (Knapp, Bradley) (Entered:
 12/07/2020                                     12/07/2020)

                            2130                Adversary case 20-03489. Nature of Suit: (91
                                                (Declaratory judgment)),(14 (Recovery of
                            (238 pgs; 8 docs)   money/property - other)) Complaint by Oklahoma
                                                Office of State Treasurer against Chesapeake
                                                Operating, L.L.C.. Fee Amount $350
                                                (Attachments: # 1 Exhibit A # 2 Exhibit B # 3
                                                Exhibit C # 4 Exhibit D # 5 Exhibit E # 6 Exhibit F
                                                # 7 Adversary Cover Sheet) (Butler, Lynn)
 12/07/2020                                     (Entered: 12/07/2020)

                            2131                Objection to Confirmation of Plan Filed by
                                                Oklahoma Office of State Treasurer. (Related
                            (76 pgs; 3 docs)    document(s):1599 Amended Chapter 11 Plan, 1644
                                                Amended Chapter 11 Plan) (Attachments: # 1
                                                Exhibit A # 2 Exhibit B)(Butler, Lynn) (Entered:
 12/07/2020                                     12/07/2020)

                            2132                Response/Objection Filed by c/o Annie Catmull
                                                Royalty Owner Plaintiffs c/o. (Related document
                            (7 pgs)             (s):1644 Amended Chapter 11 Plan) (Catmull,
 12/07/2020                                     Annie) (Entered: 12/07/2020)

                            2133                Objection to Confirmation of Plan Filed by
                                                Jackalope Gas Gathering Services, L.L.C.,
                            (6 pgs)             Stagecoach Pipeline & Storage Company LLC.
                                                (Related document(s):1644 Amended Chapter 11
 12/07/2020                                     Plan) (Brookner, Jason) (Entered: 12/07/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 323 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 323 of 1639
                                                                           0323


                            2134                Objection to Confirmation of Plan Filed by Caddo
                                                Parish, Industrial Development Board of the Parish
                            (25 pgs)            of Caddo, Inc., Paul M. Davis, Paul M. Davis,
                                                solely in his capacity as the independent
                                                administrator of the Succession of John P. Davis,
                                                Jr.; Coushatta Bayou Land Company, LLC;
                                                Caspiana Interests, LLC; Bugg DeSoto, LLC,
                                                Kingwood Business Center Ltd. Partnership;
                                                Charles Steven Powers; Powers Investments,
                                                L.L.C.; and Sonja Bott, on behalf of the Succession
                                                of Gregary Roy Bott. (Related document(s):1644
                                                Amended Chapter 11 Plan) (McCune, Patrick)
 12/07/2020                                     (Entered: 12/07/2020)

                            2135                Additional Attachments Re: Objection to Second
                                                Amended Joint Chapter 11 Plan (related document
                            (17 pgs)            (s):2110 Objection to Confirmation of the Plan)
                                                (Filed By Seitel Data, Ltd. ).(Related document
                                                (s):2110 Objection to Confirmation of the Plan)
 12/07/2020                                     (Brescia, Duane) (Entered: 12/07/2020)

                            2136                Response/Objection Filed by Rodney Hudson,
                                                Allen Johnson. (Related document(s):1644
                            (13 pgs)            Amended Chapter 11 Plan) (Knapp, Bradley)
 12/07/2020                                     (Entered: 12/07/2020)

                            2137                Statement /Limited Joinder Of GLAS USA LLC To
                                                Deutsche Bank Trust Company Americas
                            (4 pgs)             Reservation Of Rights With Respect To Second
                                                Amended Joint Chapter 11 Plan Of Reorganization
                                                Of Chesapeake Energy Corporation And Its Debtor
                                                Affiliates (Filed By Glas USA LLC ).(Related
                                                document(s):1644 Amended Chapter 11 Plan, 2098
                                                Statement) (Warner, Michael) (Entered:
 12/07/2020                                     12/07/2020)

                            2138                Objection to Confirmation of Plan Filed by PMBG
                                                Parties. (Related document(s):1644 Amended
                            (30 pgs)            Chapter 11 Plan) (Heard, Mary) (Entered:
 12/07/2020                                     12/07/2020)

                            2139                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by Ad Hoc Group of FLLO Term Loan /
                            (1 pg)              Kiran Vakamudi. This is to order a transcript of
                                                hearing held on December 4, 2020 before Judge
                                                David R. Jones. Court Reporter/Transcriber:
                                                Access Transcripts (Filed By Ad Hoc Group of




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 324 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 324 of 1639
                                                                           0324


                                                FLLO Term Loan Lenders ). (Vakamudi, Kiran)
                                                Copy request was electronically forwarded to
                                                Access Transcripts on 12-8-2020. Estimated
                                                completion date: 12-9-2020. Modified on
 12/07/2020                                     12/8/2020 (MelissaMorgan). (Entered: 12/07/2020)

                            2140                Objection Delasandro objection to plan. Filed by
                                                Stephanie Delasandro (Warman, Lynnette)
 12/07/2020                 (9 pgs)             (Entered: 12/07/2020)

                            2141                Statement Commonwealth of Pennsylvania's
                                                Election to Opt Out of Third-Party Releases (Filed
                            (3 pgs)             By Commonwealth of Pennsylvania ).(Related
                                                document(s):1599 Amended Chapter 11 Plan, 1644
                                                Amended Chapter 11 Plan) (Butler, Lynn)
 12/07/2020                                     (Entered: 12/07/2020)

                            2142                Response/Objection Filed by Dianna Mowry,
                                                Rodney Mowry, Charlotte E. Place, Jesse C. Place,
                            (2 pgs)             Richard E. Place, William R Ruark, William R.
                                                Ruark, Herbert D. Steele, Leola B. Steele, Tim &
                                                Terri Family LP, Terri Denise Tyler, Timothy A
                                                Tyler, Judith A. Wilson, Raynold W Wilson.
                                                (Related document(s):1599 Amended Chapter 11
                                                Plan, 1644 Amended Chapter 11 Plan) (Helfer,
 12/07/2020                                     Arleigh) (Entered: 12/07/2020)

                            2143                Objection to Confirmation of Plan Filed by Official
                                                Committee of Royalty Owners. (Related document
                            (18 pgs)            (s):1644 Amended Chapter 11 Plan) (Brown, pllc,
 12/07/2020                                     Deirdre) (Entered: 12/07/2020)

                            2144                Response/Objection Filed by Petty Business
                                                Enterprises, LP, Petty Energy L.P. and their related
                            (51 pgs; 4 docs)    entities. (Related document(s):1644 Amended
                                                Chapter 11 Plan) (Attachments: # 1 Exhibit A # 2
                                                Exhibit B # 3 Exhibit C)(Smith, Frances) (Entered:
 12/07/2020                                     12/07/2020)

                            2145                Notice of Appearance and Request for Notice Filed
                                                by William Ross Spence Filed by on behalf of
                            (3 pgs)             Aparicion Minerals, LP et al (Spence, William)
 12/07/2020                                     (Entered: 12/07/2020)

                            2146
                                                Statement Oklahoma Office of State Treasurer's
                                                Election to Opt Out of Third-Party Releases (Filed




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 325 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 325 of 1639
                                                                           0325


                            (2 pgs)             By Oklahoma Office of State Treasurer ).(Related
                                                document(s):1599 Amended Chapter 11 Plan, 1644
                                                Amended Chapter 11 Plan) (Watts, Jameson)
 12/07/2020                                     (Entered: 12/07/2020)

                            2147                Objection to Confirmation of Plan Filed by
                                                Saundra Nelson. (Related document(s):1644
                            (2 pgs)             Amended Chapter 11 Plan) (Martin, Andrew)
 12/07/2020                                     (Entered: 12/07/2020)

                            2148                Objection to Confirmation of Plan Filed by CCG
                                                Land (U.S.), Inc.. (Related document(s):1599
                            (40 pgs; 4 docs)    Amended Chapter 11 Plan, 1644 Amended Chapter
                                                11 Plan) (Attachments: # 1 Exhibit 1 # 2 Exhibit 2
 12/07/2020                                     # 3 Exhibit 3)(Platt, Mark) (Entered: 12/07/2020)

                            2149                Objection to Confirmation of Plan Filed by
                                                Tyler/Mowry Lessors, Pennsylvania Oil and gas
                            (2 pgs)             lessors. (Related document(s):1644 Amended
 12/07/2020                                     Chapter 11 Plan) (mmap) (Entered: 12/07/2020)

                            2150                Objection to Confirmation of Plan Filed by
                                                Independent Trading & Transportation Company,
                            (8 pgs)             L.L.C., Camino Real Gas Gathering Company,
                                                LLC, Eagle Ford Gathering, LLC, El Paso
                                                Marketing Company, L.L.C., Hiland Crude, LLC,
                                                Kinder Morgan Tejas Pipeline LLC, Kinder
                                                Morgan Texas Pipeline LLC, Kinderhawk Field
                                                Services, LLC, Midcontinent Express Pipeline
                                                LLC, Scissortail Energy, LLC, Tennessee Gas
                                                Pipeline Company, L.L.C., Wyoming Interstate
                                                Company, L.L.C.. (Related document(s):1599
                                                Amended Chapter 11 Plan) (Wood, William)
 12/07/2020                                     (Entered: 12/07/2020)

                            2151                Objection to Confirmation of Plan Filed by Texas
                                                Taxing Authorities. (Related document(s):1644
                            (4 pgs)             Amended Chapter 11 Plan) (Grundemeier, Tara)
 12/07/2020                                     (Entered: 12/07/2020)

                            2152                Objection to Chesapeake Appalachia, LLC's
                                                Assumption of Their Executory Contracts with a
                            (4 pgs)             Zero Cure Amount. Filed by Michael Vanderpool,
 12/07/2020                                     et al (Lynch, Patrick) (Entered: 12/07/2020)

                            2153
                                                Objection to Confirmation of Plan Filed by




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                        5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 326 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 326 of 1639
                                                                           0326


                                                Dallas/Fort Worth International Airport Board,
                            (45 pgs; 3 docs)    City of Dallas, City of Fort Worth. (Related
                                                document(s):1644 Amended Chapter 11 Plan)
                                                (Attachments: # 1 Exhibit A # 2 Exhibit B)
 12/07/2020                                     (Orenstein, Rosa) (Entered: 12/07/2020)

                            2154                Objection to Confirmation of Plan Filed by
                                                Louisiana Department of Revenue. (Related
                            (14 pgs; 6 docs)    document(s):1644 Amended Chapter 11 Plan)
                                                (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3
                                                Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5)(Bonaccorso-
 12/07/2020                                     Saenz, Florence) (Entered: 12/07/2020)

                            2155                Objection to Confirmation of Plan Filed by
                                                Aparicion Minerals, LP et al. (Related document
                            (173 pgs; 7 docs)   (s):1599 Amended Chapter 11 Plan, 1644
                                                Amended Chapter 11 Plan, 1645 Disclosure
                                                Statement) (Attachments: # 1 Exhibit A # 2 Exhibit
                                                B # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E # 6
 12/07/2020                                     Exhibit F)(Spence, William) (Entered: 12/07/2020)

                            2156                Notice of Appearance and Request for Notice Filed
                                                by William Ross Spence Filed by on behalf of
                            (3 pgs)             Citizen Energy III, LLC (Spence, William)
 12/07/2020                                     (Entered: 12/07/2020)

                            2157                Response/Objection Filed by Natalie O. Ginn.
                                                (Related document(s):1644 Amended Chapter 11
 12/07/2020                 (2 pgs)             Plan) (Eppich, Joshua) (Entered: 12/07/2020)

                            2158                Objection to Confirmation of Plan Filed by Citizen
                                                Energy III, LLC. (Related document(s):1599
                            (19 pgs; 3 docs)    Amended Chapter 11 Plan, 1644 Amended Chapter
                                                11 Plan, 1645 Disclosure Statement) (Attachments:
                                                # 1 Exhibit A # 2 Exhibit B)(Spence, William)
 12/07/2020                                     (Entered: 12/07/2020)

                            2159                Response/Objection Filed by Dallas/Fort Worth
                                                International Airport Board, City of Dallas, City of
                            (45 pgs; 3 docs)    Fort Worth. (Related document(s):1599 Amended
                                                Chapter 11 Plan, 1644 Amended Chapter 11 Plan)
                                                (Attachments: # 1 Exhibit # 2 Exhibit)(mmap)
 12/07/2020                                     (Entered: 12/07/2020)

                            2160
                                                  Ex Parte Motion to Appear pro hac vice of
                                                  Florence Bonaccorso-Saenz to appear on behalf




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 327 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 327 of 1639
                                                                           0327


                            (2 pgs; 2 docs)       of the Louisiana Department of Revenue. Filed
                                                  by Creditor Louisiana Department of Revenue
                                                  (Attachments: # 1 Proposed Order) (Bonaccorso-
 12/07/2020                                       Saenz, Florence) (Entered: 12/07/2020)

                            2161                  Amended Objection to Confirmation of Plan
                                                  Filed by Louisiana Department of Revenue.
                            (14 pgs; 6 docs)      (Related document(s):2154 Objection to
                                                  Confirmation of the Plan) (Attachments: # 1
                                                  Exhibit 1 - Determined Claim Summary # 2
                                                  Exhibit 2 - Estimated Claim Summary # 3
                                                  Exhibit 3 - Undetermined Audit in Progress
                                                  Claim Summary # 4 Exhibit 4 - Refund Claim
                                                  Summary # 5 Exhibit 5 - Summary of Board of
                                                  Tax Appeal Pre-petition Cases of the Debtor)
                                                  (Bonaccorso-Saenz, Florence) (Entered:
 12/07/2020                                       12/07/2020)

                            2162                  Statement - Monthly Fee Statement of Forshey &
                                                  Prostok, LLP for Allowance of Compensation for
                            (19 pgs)              Services Rendered and for Reimbursement of
                                                  Expenses as Attorneys for the Official Committee
                                                  of Royalty Owners for the Period from
                                                  November 1, 2020 through and including
                                                  November 30, 2020 (Filed By Forshey &
                                                  Prostok, LLP ). (Prostok, Jeffrey) (Entered:
 12/07/2020                                       12/07/2020)

                            2163                  Certificate of Service (Filed By Louisiana
                                                  Department of Revenue ).(Related document
                            (3 pgs)               (s):2154 Objection to Confirmation of the Plan,
                                                  2161 Objection to Confirmation of the Plan)
                                                  (Bonaccorso-Saenz, Florence) (Entered:
 12/07/2020                                       12/07/2020)

                            2165                  Motion to Seal Exhibits for Confirmation
                                                  Hearing Scheduled for December 15, 2020 Filed
                            (9 pgs; 2 docs)       by Creditor PMBG Parties (Attachments: # 1
                                                  Proposed Order) (Heard, Mary) (Entered:
 12/07/2020                                       12/07/2020)

                            2166                  Witness List, Exhibit List (Filed By PMBG
                                                  Parties ).(Related document(s):2138 Objection to
                            (5 pgs)               Confirmation of the Plan) (Heard, Mary)
 12/07/2020                                       (Entered: 12/07/2020)

                            2167                  Order Granting Motion To Appear pro hac vice -




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 328 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 328 of 1639
                                                                           0328


                                                  Aaron D. Hovan (Related Doc # 2048) Signed
 12/07/2020                 (1 pg)                on 12/7/2020. (emiller) (Entered: 12/07/2020)

                            2168                  Order Granting Motion To Appear pro hac vice -
                                                  Timothy P. Palmer (Related Doc # 2049) Signed
 12/07/2020                 (1 pg)                on 12/7/2020. (emiller) (Entered: 12/07/2020)

                            2169                  AO 435 TRANSCRIPT ORDER FORM (Daily
                                                  (24 hours)) by Marty L. Brimmage, Jr.. This is to
                            (1 pg)                order a transcript of the December 4, 2020
                                                  Hearing before Judge David R. Jones. Court
                                                  Reporter/Transcriber: Access Transcripts (Filed
                                                  By Franklin Advisers, Inc., as Investment
                                                  Manager on Behalf of Certain Funds and
                                                  Accounts ). (Brimmage, Marty) Copy request
                                                  was electronically forwarded to Access
                                                  Transcripts on 12-8-2020. Estimated completion
                                                  date: 12-9-2020. Modified on 12/8/2020
 12/08/2020                                       (MelissaMorgan). (Entered: 12/08/2020)

                            2170                  Objection of Automotive Rentals, Inc. and ARI
                                                  Fleet LT to Third Notice to Contract Parties to
                            (76 pgs; 3 docs)      Assumed Executory Contracts and Unexpired
                                                  Leases [Doc. 2055]. Filed by ARI Fleet LT,
                                                  Automotive Rentals, Inc. (Attachments: # 1
                                                  Exhibit 1 # 2 Exhibit 2) (Aguilar, Richard)
 12/08/2020                                       (Entered: 12/08/2020)

                            2171                  Agreed Order and Certificate of Counsel (Filed
                                                  By Chesapeake Energy Corporation ).(Related
                            (13 pgs; 3 docs)      document(s):1768 Application to Employ)
                                                  (Attachments: # 1 Proposed Order # 2 Redline)
 12/08/2020                                       (Cavenaugh, Matthew) (Entered: 12/08/2020)

                            2172                  Notice of Appearance and Request for Notice
                                                  Filed by Donald K Ludman Filed by on behalf of
                            (2 pgs)               SAP America, Inc. (Ludman, Donald) (Entered:
 12/08/2020                                       12/08/2020)

                            2173                  Motion to Appear pro hac vice and Order for
                                                  Donald K. Ludman, Esquire. Filed by Creditor
                            (1 pg)                SAP America, Inc. (Ludman, Donald) (Entered:
 12/08/2020                                       12/08/2020)

                            2174
                                                  Witness List (Filed By PMBG Parties ).(Related
                                                  document(s):2138 Objection to Confirmation of




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 329 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 329 of 1639
                                                                           0329


 12/08/2020                 (5 pgs)               the Plan) (Heard, Mary) (Entered: 12/08/2020)

                            2175                  Witness List, Exhibit List (Filed By Chesapeake
                                                  Energy Corporation ).(Related document(s):
                            (4 pgs)               Certificate of Notice) (Cavenaugh, Matthew)
 12/08/2020                                       (Entered: 12/08/2020)

                            2176                  Response/Objection Filed by Eagle Ford
                                                  Pipeline LLC. (Related document(s):1644
                            (2 pgs)               Amended Chapter 11 Plan) (Prewitt, Patricia)
 12/08/2020                                       (Entered: 12/08/2020)

                            2177                  Response/Objection Filed by Plains South Texas
                                                  Gathering. (Related document(s):1644 Amended
                            (2 pgs)               Chapter 11 Plan) (Prewitt, Patricia) (Entered:
 12/08/2020                                       12/08/2020)

                            2178                  Witness List, Exhibit List (Filed By Rodney
                                                  Hudson, Allen Johnson ).(Related document
                            (4 pgs)               (s):1644 Amended Chapter 11 Plan) (Knapp,
 12/08/2020                                       Bradley) (Entered: 12/08/2020)

                            2179                  Affidavit Re: Affidavit of Service of Angharad
                                                  Bowdler (Filed By Epiq Corporate Restructuring
                            (30 pgs)              LLC ).(Related document(s):1907 Notice)
 12/08/2020                                       (Garabato, Sid) (Entered: 12/08/2020)

                            2180                  Notice / Notice to Contract Parties to Assumed
                                                  Executory Contracts and Unexpired Leases.
                            (6 pgs)               (Related document(s):1892 Generic Motion,
                                                  1896 Notice) Filed by Chesapeake Energy
                                                  Corporation (Schwarzman, Alexandra) (Entered:
 12/08/2020                                       12/08/2020)

                            2181                  Withdrawal of Claim: 90 filed by Epiq
                                                  Corporate Restructuring, LLC on behalf of
                            (3 pgs)               Wilbarger County (Garabato, Sid) (Entered:
 12/09/2020                                       12/09/2020)

                            2182                  Statement C.C. Forbes, LLC's Election to Opt
                                                  Out of Third-Party Releases (Filed By C.C.
                            (2 pgs)               Forbes, LLC ).(Related document(s):1599
                                                  Amended Chapter 11 Plan, 1644 Amended
                                                  Chapter 11 Plan) (Million, Timothy) (Entered:
 12/09/2020                                       12/09/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 330 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 330 of 1639
                                                                           0330


                            2183                  Exhibit List, Witness List (Filed By EJS
                                                  Investment Holdings, LLC ).(Related document
                            (161 pgs; 4 docs)     (s):1644 Amended Chapter 11 Plan, 1645
                                                  Disclosure Statement, 2108 Objection to
                                                  Confirmation of the Plan) (Attachments: # 1
                                                  Exhibit A # 2 Exhibit B # 3 Exhibit C) (Towber,
 12/09/2020                                       Preston) (Entered: 12/09/2020)

                            2184                  Proposed Order RE: Agreed Order Granting (I)
                                                  Relief from the Automatic Stay, Effective as of
                            (5 pgs)               January 4, 2021, and (II) Related Relief (Filed
                                                  By Chesapeake Energy Corporation ).(Related
                                                  document(s):1448 Motion for Relief From Stay)
 12/09/2020                                       (Cavenaugh, Matthew) (Entered: 12/09/2020)

                            2185
                                                  Letter from John Dough (mmap) (Entered:
 12/09/2020                 (2 pgs)               12/09/2020)

                            2186                  Objection to Confirmation of Plan Filed by
                                                  Repsol Oil & Gas USA, LLC. (Related
                            (11 pgs; 3 docs)      document(s):1644 Amended Chapter 11 Plan)
                                                  (Attachments: # 1 Exhibit A - Proposed
                                                  Confirmation Order Provisions # 2 Certificate of
                                                  Service)(Palmer, Timothy) (Entered:
 12/09/2020                                       12/09/2020)

                                                  Certificate of Email Notice. Due to the Courts
                                                  schedule, the hearing on the motion for relief
                                                  from stay has been rescheduled. Movant to
                                                  notice all interested parties and file a certificate
                                                  of service with the court (Related document
                                                  (s):1248 Motion for Relief From Stay) Hearing
                                                  rescheduled for 12/14/2020 at 01:30 PM by
                                                  telephone and video conference. (aalo)
 12/09/2020                                       (Entered: 12/09/2020)

                                                  Certificate of Telephone Notice. Due to the
                                                  Courts schedule, the hearing on the motion for
                                                  relief from stay has been continued. Movant to
                                                  notice all interested parties and file a certificate
                                                  of service with the court (Related document
                                                  (s):1558 Motion for Relief From Stay) Hearing
                                                  rescheduled for 12/14/2020 at 01:30 PM by
                                                  telephone and video conference. (aalo)
 12/09/2020                                       (Entered: 12/09/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                         5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 331 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 331 of 1639
                                                                           0331


                                                  Certificate of Email and Telephone Notice.
                                                  Contacted Jarrod Martin. Movant to notice all
                                                  interested parties and file a certificate of service
                                                  with the court (Related document(s):1451
                                                  Motion for Relief From Stay) Hearing
                                                  rescheduled for 12/14/2020 at 01:30 PM by
                                                  telephone and video conference. (aalo)
 12/09/2020                                       (Entered: 12/09/2020)

                            2187                  Objection to Debtors' Second Amended Joint
                                                  Chapter 11 Plan of Reorganization. Filed by
                            (25 pgs)              Pennsylvania Department of Conservation and
                                                  Natural Resources (Ebersole, Joshua) (Entered:
 12/09/2020                                       12/09/2020)

                            2188                  Objection to Confirmation of Plan Filed by
                                                  Texas Comptroller of Public Accounts,
                            (12 pgs)              Unclaimed Property Division. (Related
                                                  document(s):1644 Amended Chapter 11 Plan)
 12/09/2020                                       (Milligan, Layla) (Entered: 12/09/2020)

                            2189                  Joint Stipulation and Agreed Order Signed on
                                                  12/9/2020 (Related document(s):1249 Motion
                            (5 pgs)               for Relief From Stay) (aalo) (Entered:
 12/09/2020                                       12/09/2020)

                            2190                  Agreed Order Granting Motion For Relief From
                                                  Stay (Related Doc # 1448) Signed on 12/9/2020.
 12/09/2020                 (5 pgs)               (aalo) (Entered: 12/09/2020)

                            2191                  Agreed Notice of Consent to Reset Hearing.
                                                  Filed by John H. Bedsole (Pesnell, John)
 12/09/2020                 (1 pg)                (Entered: 12/09/2020)

                            2192                  Affidavit Re: by Angharad Bowdler (Filed By
                                                  Epiq Corporate Restructuring LLC ).(Related
                            (5 pgs)               document(s):2051 Notice, 2059 Application for
                                                  Compensation, 2060 Application for
                                                  Compensation) (Garabato, Sid) (Entered:
 12/09/2020                                       12/09/2020)

                            2193                  Witness List (Filed By Chesapeake Energy
                                                  Corporation ). (Cavenaugh, Matthew) (Entered:
 12/09/2020                 (4 pgs)               12/09/2020)

                            2194
                                                  Objection to Confirmation of Plan Filed by State




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                         5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 332 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 332 of 1639
                                                                           0332


                                                  of Texas. (Related document(s):1644 Amended
                            (11 pgs)              Chapter 11 Plan) (Ryan, Abigail) (Entered:
 12/09/2020                                       12/09/2020)

                                                  Certificate of Email Notice. By agreement, the
                                                  hearing on the motion for relief from stay has
                                                  adjourned. Movant to notice all interested parties
                                                  and file a certificate of service with the court
                                                  (Related document(s):1451 Motion for Relief
                                                  From Stay) Hearing rescheduled for 1/11/2021
                                                  at 09:00 AM by telephone and video
 12/09/2020                                       conference. (aalo) (Entered: 12/09/2020)

                            2195                  Witness List (Filed By Official Committee Of
                                                  Unsecured Creditors ). (Harrison, Julie)
 12/09/2020                 (5 pgs)               (Entered: 12/09/2020)

                            2196                  Statement Stone Creek Operating, LLC's
                                                  Statement Regarding Class 7 Ballot and
                            (2 pgs)               Reservation of Rights with Respect to Claim
                                                  Amount (Filed By Stone Creek Operating LLC ).
 12/09/2020                                       (Gaither, John) (Entered: 12/09/2020)

                            2197                  Certificate of No Objection to Application to
                                                  Employ BBG, Inc. as Real Estate
                            (16 pgs; 3 docs)      Appraiser/Valuation Expert Effective as of
                                                  November 2, 2020 (Filed By Official Committee
                                                  Of Unsecured Creditors ).(Related document
                                                  (s):1833 Application to Employ) (Attachments:
                                                  # 1 Redline # 2 Proposed Order) (Boland, Jason)
 12/09/2020                                       (Entered: 12/09/2020)

                            2198                  Statement Fourth Monthly Fee Statement of
                                                  AlixPartners, LLP, Financial Advisor to the
                            (161 pgs)             Official Committee of Unsecured Creditors for
                                                  Allowance of Compensation for Services
                                                  Rendered and for Reimbursement of Expenses
                                                  for the Period October 1, 2020 through October
                                                  31, 2020 (Filed By Official Committee Of
                                                  Unsecured Creditors ). (Boland, Jason) (Entered:
 12/09/2020                                       12/09/2020)

                            2199                  Witness List (Filed By Franklin Advisers, Inc.,
                                                  as Investment Manager on Behalf of Certain
                            (4 pgs)               Funds and Accounts ). (Brimmage, Marty)
 12/09/2020                                       (Entered: 12/09/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 333 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 333 of 1639
                                                                           0333


                            2200                  Witness List (Filed By Franklin Advisers, Inc.,
                                                  as Investment Manager on Behalf of Certain
                            (4 pgs)               Funds and Accounts ). (Brimmage, Marty)
 12/09/2020                                       (Entered: 12/09/2020)

                            2201                  Witness List (Filed By Ad Hoc Group of FLLO
                                                  Term Loan Lenders ). (Perrin, Harry) (Entered:
 12/09/2020                 (2 pgs)               12/09/2020)

                            2202                  Objection /GLAS USA LLCs Objection to the
                                                  Emergency Motions of the Official Committee of
                            (23 pgs)              Unsecured Creditors for (I) Leave, Standing,
                                                  and Authority to Commence and Prosecute
                                                  Certain Claims and Causes of Action on Behalf
                                                  of the Debtors Estates and (II) Exclusive
                                                  Settlement Authority, Joinder in Support of the
                                                  FLLO Ad Hoc Groups Objection and Limited
                                                  Joinder in Support of the Debtors Oppositions
                                                  (related document(s):1682 Generic Motion, 1807
                                                  Generic Motion). Filed by Glas USA LLC
 12/09/2020                                       (Warner, Michael) (Entered: 12/09/2020)

                            2203                  BNC Certificate of Mailing. (Related document
                                                  (s):2081 Notice of Filing of Official Transcript
                            (10 pgs)              (Form)) No. of Notices: 181. Notice Date
 12/09/2020                                       12/09/2020. (Admin.) (Entered: 12/09/2020)

                            2204                  BNC Certificate of Mailing. (Related document
                                                  (s):2089 Generic Order) No. of Notices: 185.
                            (14 pgs)              Notice Date 12/09/2020. (Admin.) (Entered:
 12/09/2020                                       12/09/2020)

                            2258                  Order (I) Authorizing the Rejection of the
                                                  Houston Lease and Sublease Effective as of
                            (4 pgs)               October 30, 2020 and (II) Granting Related
                                                  Relief (Related Doc # 1466) Signed on
 12/09/2020                                       12/9/2020. (emiller) (Entered: 12/11/2020)

                            2205                  Notice of Delinquent Payments Due, Preceding
                                                  Debt and Demand for Payment. Filed by James
                            (7 pgs)               McFarlane Grizzard (JesusGuajardo) (Entered:
 12/10/2020                                       12/10/2020)

                            2206
                                                  Witness List, Exhibit List (Filed By Cecil Blount
                            (3 pgs)               Farms, LLC, et al. ).(Related document(s):1644
                                                  Amended Chapter 11 Plan) (Knapp, Bradley)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 334 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 334 of 1639
                                                                           0334


 12/10/2020                                       (Entered: 12/10/2020)

                            2207                  Objection to Confirmation of Plan Filed by
                                                  Regency NEPA Gas Gathering LLC, ETC Katy
                            (66 pgs; 3 docs)      Pipeline, Ltd., ETC Marketing, Ltd., ETC Texas
                                                  Pipeline Ltd., Energy Transfer Fuel, LP,
                                                  Houston Pipe Line Company, LP, Oasis Pipeline
                                                  L.P., Regency Intrastate Gas LP, Regency
                                                  Marcellus Gas Gathering LLC, Sunoco Partners
                                                  Marketing & Terminals L.P.. (Related document
                                                  (s):1644 Amended Chapter 11 Plan)
                                                  (Attachments: # 1 Exhibit A # 2 Exhibit B)
 12/10/2020                                       (Mitchell, John) (Entered: 12/10/2020)

                            2208                  Objection to Confirmation of Plan Filed by ETC
                                                  Tiger Pipeline LLC. (Related document(s):1644
                            (157 pgs)             Amended Chapter 11 Plan) (Mitchell, John)
 12/10/2020                                       (Entered: 12/10/2020)

                            2209                  Witness List, Exhibit List (Filed By Chesapeake
                                                  Energy Corporation ). (Cavenaugh, Matthew)
 12/10/2020                 (4 pgs)               (Entered: 12/10/2020)

                            2210                  Objection to Confirmation of Plan Filed by
                                                  Wilmington Savings Fund Society, FSB.
                            (11 pgs)              (Related document(s):1599 Amended Chapter 11
                                                  Plan) (Huckleberry, Jennifer) (Entered:
 12/10/2020                                       12/10/2020)

                            2211                  Emergency Motion of the Official Committee of
                                                  Unsecured Creditors to File Under Seal
                            (9 pgs; 2 docs)       Objection of the Official Committee of
                                                  Unsecured Creditors to the Debtors' Second
                                                  Amended Joint Chapter 11 Plan of
                                                  Reorganization of Chesapeake Energy
                                                  Corporation and its Debtor Affiliates Filed by
                                                  Creditor Committee Official Committee Of
                                                  Unsecured Creditors Hearing scheduled for
                                                  12/15/2020 at 12:00 PM at Houston, Courtroom
                                                  400 (DRJ). (Attachments: # 1 Proposed Order)
 12/10/2020                                       (Harrison, Julie) (Entered: 12/10/2020)

                            2212                  Sealed Document / Sealed Objection of the
                                                  Official Committee of Unsecured Creditors to
                            (103 pgs)             Debtors' Second Amended Joint Chapter 11 Plan
                                                  of Reorganization of Chesapeake Energy
                                                  Corporation and its Debtor Affiliates (Filed By




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 335 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 335 of 1639
                                                                           0335


                                                  Official Committee Of Unsecured Creditors ).
 12/10/2020                                       (Harrison, Julie) (Entered: 12/10/2020)

                            2213                  Response/Objection Filed by Whiskey Bay
                                                  Gathering Company, LLC, Regency Field
                            (6 pgs)               Services, LLC, Trunkline Gas Company, LLC,
                                                  ETC Katy Pipeline, Ltd., ETC Marketing, Ltd.,
                                                  ETC Texas Pipeline Ltd., Energy Transfer Fuel,
                                                  LP, Fayetteville Express Pipeline LLC, Houston
                                                  Pipe Line Company, LP, Oasis Pipeline L.P.,
                                                  Regency Intrastate Gas LP, Regency Marcellus
                                                  Gas Gathering LLC, Regency NEPA Gas
                                                  Gathering LLC, Sunoco Partners Marketing &
                                                  Terminals L.P., Trade Star, LLC. (Related
                                                  document(s):1931 Notice) (Mitchell, John)
 12/10/2020                                       (Entered: 12/10/2020)

                            2214
                                                  Witness List (Filed By Glas USA LLC ).
 12/10/2020                 (4 pgs)               (Warner, Michael) (Entered: 12/10/2020)

                            2215                  Proposed Order RE: Agreed Order Granting (I)
                                                  Relief from the Automatic Stay, Effective as of
                            (6 pgs)               January 4, 2021, and (II) Related Relief (Filed
                                                  By Chesapeake Energy Corporation ).(Related
                                                  document(s):1558 Motion for Relief From Stay)
 12/10/2020                                       (Cavenaugh, Matthew) (Entered: 12/10/2020)

                            2216                  AO 435 TRANSCRIPT ORDER FORM
                                                  (Expedited (7 days)) by John E. Mitchell. This is
                            (1 pg)                to order a transcript of Hearing dated 12/4/2020
                                                  before Judge David R. Jones. Court
                                                  Reporter/Transcriber: Access Transcripts (Filed
                                                  By Energy Transfer Fuel, LP ). (Mitchell, John)
                                                  Copy request was electronically forwarded to
                                                  Access Transcripts on 12-11-2020. Estimated
                                                  completion date: 12-18-2020. Modified on
                                                  12/11/2020 (MelissaMorgan). (Entered:
 12/10/2020                                       12/10/2020)

                            2217                  Witness List, Exhibit List (Filed By Oklahoma
                                                  Office of State Treasurer ).(Related document
                            (58 pgs; 3 docs)      (s):1644 Amended Chapter 11 Plan, 2131
                                                  Objection to Confirmation of the Plan)
                                                  (Attachments: # 1 Exhibit 1 # 2 Exhibit 2)
 12/10/2020                                       (Butler, Lynn) (Entered: 12/10/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 336 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 336 of 1639
                                                                           0336


                            2218                  Witness List, Exhibit List (Filed By
                                                  Commonwealth of Pennsylvania ).(Related
                            (116 pgs; 2 docs)     document(s):1644 Amended Chapter 11 Plan,
                                                  2101 Objection to Confirmation of the Plan)
                                                  (Attachments: # 1 Exhibit 1) (Butler, Lynn)
 12/10/2020                                       (Entered: 12/10/2020)

                            2219                  Motion for Relief from Stay . Fee Amount $188.
                                                  Filed by Creditor Omar Balboa Hearing
                            (15 pgs; 2 docs)      scheduled for 12/14/2020 at 01:30 PM at
                                                  Houston, Courtroom 400 (DRJ). (Attachments: #
                                                  1 Proposed Order) (Miller, Michael) (Entered:
 12/10/2020                                       12/10/2020)

                                                  Receipt of Motion for Relief From Stay(20-
                                                  33233) [motion,mrlfsty] ( 188.00) Filing Fee.
                                                  Receipt number 22669252. Fee amount $
 12/10/2020                                       188.00. (U.S. Treasury) (Entered: 12/10/2020)

                            2220                  Objection (related document(s):2211 Emergency
                                                  Motion (with hearing date)). Filed by c/o Annie
                            (3 pgs)               Catmull Royalty Owner Plaintiffs c/o (Catmull,
 12/10/2020                                       Annie) (Entered: 12/10/2020)

                            2221                  Exhibit List, Witness List (Filed By Brandes
                                                  Investment Partners LP ). (Lowenthal, Daniel)
 12/10/2020                 (3 pgs)               (Entered: 12/10/2020)

                            2222                  Stipulation By Chesapeake Energy Corporation
                                                  and Tributary Resources, LLC. Does this
                            (6 pgs)               document include an agreed order or otherwise
                                                  request that the judge sign a document? Yes.
                                                  (Filed By Chesapeake Energy Corporation ).
                                                  (Related document(s):1450 Application for
                                                  Administrative Expenses, 1451 Motion for
                                                  Relief From Stay) (Cavenaugh, Matthew)
 12/10/2020                                       (Entered: 12/10/2020)

                            2223                  Notice to Contract Parties to Assumed
                                                  Executory Contracts and Unexpired Leases of
                            (103 pgs)             the Corrected Assigned Contracts Schedule.
                                                  Filed by Chesapeake Energy Corporation
 12/10/2020                                       (Cavenaugh, Matthew) (Entered: 12/10/2020)

                            2224
                                                  Application for Compensation / First Interim
                                                  Fee Application of Back Bay Management




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 337 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 337 of 1639
                                                                           0337


                            (62 pgs; 8 docs)      Corporation and its Division, the Michel-Shaked
                                                  Group, for Allowance of Compensation and
                                                  Reimbursement of Expenses as Expert Valuation
                                                  Consultant to the Official Committee of
                                                  Unsecured Creditors for the Period September
                                                  1, 2020 through September 30, 2020.
                                                  Objections/Request for Hearing Due in 21 days.
                                                  (Attachments: # 1 Exhibit A # 2 Exhibit B # 3
                                                  Exhibit C # 4 Exhibit D # 5 Exhibit E # 6
                                                  Exhibit F # 7 Proposed Order) (Harrison, Julie)
 12/10/2020                                       (Entered: 12/10/2020)

                            2225                  Docketed in Error - Objection of MUFG Union
                                                  Bank, N.A., in Its Capacity as Collateral Trustee
                            (3 pgs)               Under the Collateral Trust Agreement, to the
                                                  Emergency Motions of the Official Committee of
                                                  Unsecured Creditors for (I) Leave, Standing,
                                                  and Authority to Commence and Prosecute
                                                  Certain Lien Claims and Causes of Action on
                                                  Behalf of the Debtors Estates and (II) Exclusive
                                                  Settlement Authority and Joinder to Objections
                                                  Thereto. Filed by Official Committee Of
                                                  Unsecured Creditors (Rawlins, Justin) Modified
 12/10/2020                                       on 12/11/2020 (hler). (Entered: 12/10/2020)

                            2226                  Objection of MUFG Union Bank, N.A., in Its
                                                  Capacity as Collateral Trustee Under the
                            (3 pgs)               Collateral Trust Agreement, to the Emergency
                                                  Motions of the Official Committee of Unsecured
                                                  Creditors for (I) Leave, Standing, and Authority
                                                  to Commence and Prosecute Certain Lien
                                                  Claims and Causes of Action on Behalf of the
                                                  Debtors Estates and (II) Exclusive Settlement
                                                  Authority and Joinder to Objections Thereto.
                                                  Filed by MUFG Union Bank, N.A. (Rawlins,
 12/10/2020                                       Justin) (Entered: 12/10/2020)

                            2227                  Exhibit List, Witness List (Filed By Deutsche
                                                  Bank Trust Company Americas ).(Related
                            (4 pgs)               document(s):1644 Amended Chapter 11 Plan,
                                                  2098 Statement) (Riley, David) (Entered:
 12/10/2020                                       12/10/2020)

                            2228
                                                  Response - Reservation of Rights of MUFG
                                                  Union Bank, N.A. to the First Interim Fee
                            (5 pgs)
                                                  Applications of the Professionals for the Official
                                                  Committee of Unsecured Creditors (related




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 338 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 338 of 1639
                                                                           0338


                                                  document(s):1877 Application for
                                                  Compensation, 1878 Application for
                                                  Compensation, 1880 Application for
                                                  Compensation, 1898 Application for
                                                  Compensation, 2224 Application for
                                                  Compensation). Filed by MUFG Union Bank,
 12/10/2020                                       N.A. (McFaul, Duston) (Entered: 12/10/2020)

                            2229                  Agreed Order and Certificate of Counsel (Filed
                                                  By Chesapeake Energy Corporation ).(Related
                            (28 pgs; 3 docs)      document(s):1814 Generic Motion)
                                                  (Attachments: # 1 Proposed Order # 2 Redline)
 12/10/2020                                       (Cavenaugh, Matthew) (Entered: 12/10/2020)

                            2230                  BNC Certificate of Mailing. (Related document
                                                  (s):2167 Order on Motion to Appear pro hac
                            (11 pgs)              vice) No. of Notices: 200. Notice Date
 12/10/2020                                       12/10/2020. (Admin.) (Entered: 12/11/2020)

                            2231                  BNC Certificate of Mailing. (Related document
                                                  (s):2168 Order on Motion to Appear pro hac
                            (11 pgs)              vice) No. of Notices: 200. Notice Date
 12/10/2020                                       12/10/2020. (Admin.) (Entered: 12/11/2020)

                            2259                  Order Granting Motion of PMBG Client Group
                                                  to File Under Seal Exhibits for Confirmation
                            (2 pgs)               Hearing Scheduled for December 15, 2020
                                                  (Related Doc # 2165) Signed on 12/10/2020.
 12/10/2020                                       (emiller) (Entered: 12/11/2020)

                            2232                  Joint Stipulation and Agreed Order Signed on
                                                  12/9/2020 (Related document(s):1249 Motion
                            (5 pgs)               for Relief From Stay) (aalo) (Entered:
 12/11/2020                                       12/11/2020)

                            2233                  Exhibit List, Witness List (Filed By Vector
                                                  Seismic Data Processing Inc., Westerngeco
                            (3096 pgs; 11 docs)   LLC ).(Related document(s):1599 Amended
                                                  Chapter 11 Plan, 1633 Order Approving
                                                  Disclosure Statement, 2106 Objection)
                                                  (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3
                                                  Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6 Exhibit
                                                  6 # 7 Exhibit 7 # 8 Exhibit 9 # 9 Exhibit 10 # 10
                                                  Exhibit 11) (Braun, Andrew) (Entered:
 12/11/2020                                       12/11/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 339 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 339 of 1639
                                                                           0339


                            2234                  Witness List (Filed By Petty Business
                                                  Enterprises, LP, Petty Energy L.P. and their
                            (74 pgs)              related entities ).(Related document(s):1644
                                                  Amended Chapter 11 Plan, 1645 Disclosure
                                                  Statement, 2144 Response/Objection) (Smith,
 12/11/2020                                       Frances) (Entered: 12/11/2020)

                            2235                  Objection to Debtors' Motion for Sale and
                                                  Assumption of Contracts (related document
                            (167 pgs; 7 docs)     (s):1892 Generic Motion). Filed by CoVal
                                                  Leasing Company, L.L.C., BRP, LLC
                                                  (Attachments: # 1 Exhibit "A" # 2 Exhibit "B" #
                                                  3 Exhibit "C" # 4 Exhibit "D-1" # 5 Exhibit "D-
                                                  2" # 6 Exhibit "E") (Cohen, Jason) (Entered:
 12/11/2020                                       12/11/2020)

                            2236                  Witness List (Filed By Kimmeridge Powder
                                                  Minerals, LLC ).(Related document(s):2127
                            (3 pgs)               Response/Objection) (Howley, Thomas)
 12/11/2020                                       (Entered: 12/11/2020)

                            2237                  Exhibit List, Witness List (Filed By Texas
                                                  Comptroller of Public Accounts, Unclaimed
                            (3 pgs)               Property Division ).(Related document(s):2188
                                                  Objection to Confirmation of the Plan)
 12/11/2020                                       (Milligan, Layla) (Entered: 12/11/2020)

                            2238                  Witness List (Filed By Wyoming Royalty
                                                  Owners ).(Related document(s):2115
                            (3 pgs)               Response/Objection) (Howley, Thomas)
 12/11/2020                                       (Entered: 12/11/2020)

                            2239                  Exhibit List (Filed By Tornado Venture Quatro,
                                                  LLC and Tornado Venture Cinco LLC ).(Related
                            (4 pgs)               document(s):2103 Objection) (Kingman,
 12/11/2020                                       William) (Entered: 12/11/2020)

                            2240                  Statement Verified Statement of Multiple
                                                  Representation Pursuant to Fed. R. Bankr. P.
                            (4 pgs)               2019 (Filed By Wyoming Royalty Owners ).
 12/11/2020                                       (Howley, Thomas) (Entered: 12/11/2020)

                            2241
                                                  Exhibit List (Filed By Tornado Venture Quatro,
                            (77 pgs; 5 docs)      LLC and Tornado Venture Cinco LLC ).(Related
                                                  document(s):2103 Objection) (Attachments: # 1
                                                  Exhibit Exhibit T-1 # 2 Exhibit Exhibit T-2 # 3




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 340 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 340 of 1639
                                                                           0340


                                                  Exhibit Exhibit T-3 # 4 Exhibit Exhibit T-4)
 12/11/2020                                       (Kingman, William) (Entered: 12/11/2020)

                            2242                  Order Granting Motion To Appear pro hac vice -
                                                  Brendan M. Gage (Related Doc # 2075) Signed
 12/11/2020                 (1 pg)                on 12/11/2020. (emiller) (Entered: 12/11/2020)

                            2243                  Order Granting Motion To Appear pro hac vice -
                                                  Mark Pfeiffer (Related Doc # 2078) Signed on
 12/11/2020                 (1 pg)                12/11/2020. (emiller) (Entered: 12/11/2020)

                            2244                  Order Granting Motion To Appear pro hac vice -
                                                  Peyton Lambert (Related Doc # 2096) Signed on
 12/11/2020                 (1 pg)                12/11/2020. (emiller) (Entered: 12/11/2020)

                            2245                  Order Granting Motion To Appear pro hac vice -
                                                  Stephen R. Winship (Related Doc # 2119)
                            (1 pg)                Signed on 12/11/2020. (emiller) (Entered:
 12/11/2020                                       12/11/2020)

                            2246                  Order Granting Motion To Appear pro hac vice -
                                                  Florence Bonaccorso-Saenz (Related Doc #
                            (1 pg)                2160) Signed on 12/11/2020. (emiller) (Entered:
 12/11/2020                                       12/11/2020)

                            2247                  Witness List (Filed By Stephanie Delasandro ).
                                                  (Related document(s):1175 Motion to
                            (4 pgs)               Reconsider, 1293 Motion for Relief From Stay)
 12/11/2020                                       (Warman, Lynnette) (Entered: 12/11/2020)

                            2248                  Exhibit List, Witness List (Filed By Camino
                                                  Real Gas Gathering Company, LLC, Eagle Ford
                            (101 pgs; 2 docs)     Gathering, LLC, El Paso Marketing Company,
                                                  L.L.C., Hiland Crude, LLC, Independent
                                                  Trading & Transportation Company, L.L.C.,
                                                  Kinder Morgan Tejas Pipeline LLC, Kinder
                                                  Morgan Texas Pipeline LLC, Kinderhawk Field
                                                  Services, LLC, Midcontinent Express Pipeline
                                                  LLC, Scissortail Energy, LLC, Tennessee Gas
                                                  Pipeline Company, L.L.C., Wyoming Interstate
                                                  Company, L.L.C. ). (Attachments: # 1 Exhibit
 12/11/2020                                       "1") (Wood, William) (Entered: 12/11/2020)

                            2249
                                                  Certificate of No Objection with Respect to the
                            (7 pgs; 2 docs)       Debtors' Motion for Entry of an Order (I)
                                                  Authorizing the Rejection of the Ryan Tax




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 341 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 341 of 1639
                                                                           0341


                                                  Contracts Effective as of November 18, 2020,
                                                  and (II) Granting Related Relief (Filed By
                                                  Chesapeake Energy Corporation ).(Related
                                                  document(s):1857 Generic Motion)
                                                  (Attachments: # 1 Proposed Order) (Cavenaugh,
 12/11/2020                                       Matthew) (Entered: 12/11/2020)

                            2250                  Exhibit List, Witness List (Filed By Sonja Bott,
                                                  on behalf of the Succession of Gregary Roy
                            (4 pgs)               Bott, Powers Investments, L.L.C., Charles
                                                  Steven Powers, Kingwood Business Center Ltd.
                                                  Partnership, Bugg DeSoto, LLC, Caspiana
                                                  Interests, LLC, Coushatta Bayou Land
                                                  Company, L.L.C., Paul M. Davis, solely in his
                                                  capacity as the independent administrator of the
                                                  Succession of John P. Davis, Jr, Paul M. Davis,
                                                  Caddo Parish, Industrial Development Board of
                                                  the Parish of Caddo, Inc. ).(Related document
                                                  (s):1633 Order Approving Disclosure Statement,
                                                  1644 Amended Chapter 11 Plan, 2134 Objection
                                                  to Confirmation of the Plan) (McCune, Patrick)
 12/11/2020                                       (Entered: 12/11/2020)

                            2251                  Certificate of No Objection with Respect to the
                                                  Debtors' Motion for Entry of an Agreed Order
                            (5 pgs; 2 docs)       (I) Authorizing the Rejection of the TETCO
                                                  Agreement Effective as of November 1, 2021 and
                                                  (II) Granting Related Relief (Filed By
                                                  Chesapeake Energy Corporation ).(Related
                                                  document(s):1853 Generic Motion)
                                                  (Attachments: # 1 Proposed Order) (Cavenaugh,
 12/11/2020                                       Matthew) (Entered: 12/11/2020)

                            2252                  Witness List, Exhibit List (Filed By c/o Annie
                                                  Catmull Royalty Owner Plaintiffs c/o ).(Related
                            (75 pgs)              document(s):2132 Response/Objection)
 12/11/2020                                       (Catmull, Annie) (Entered: 12/11/2020)

                            2253                  Exhibit List, Witness List (Filed By CGG Land
                                                  (U.S.) Inc. ).(Related document(s):1599
                            (30 pgs; 4 docs)      Amended Chapter 11 Plan, 1633 Order
                                                  Approving Disclosure Statement, 1644
                                                  Amended Chapter 11 Plan, 2148 Objection to
                                                  Confirmation of the Plan) (Attachments: # 1
                                                  Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3) (Platt,
 12/11/2020                                       Mark) (Entered: 12/11/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 342 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 342 of 1639
                                                                           0342


                            2254                   Witness List, Exhibit List (Filed By Official
                                                   Committee of Royalty Owners ).(Related
                            (1115 pgs; 19 docs)    document(s):1644 Amended Chapter 11 Plan)
                                                   (Attachments: # 1 Exhibit 1_notice of
                                                   reconstituted committee # 2 Exhibit 2 341
                                                   Meeting Transcript # 3 Exhibit 3 Royalty Letter
                                                   # 4 Exhibit 4 Antinelli Declaration # 5 Exhibit
                                                   5 Dell Osso Declaration # 6 Exhibit 6 Zacharias
                                                   Proof of Claim # 7 Exhibit Bride and
                                                   Brandenburg POCs # 8 Exhibit 8 Kimmeridge
                                                   POC # 9 Exhibit 9 Royalty Statement # 10
                                                   Exhibit 10 Kuffa Proof of Claim # 11 Exhibit
                                                   14 CHK land dev # 12 Exhibit 15 CHK Utica #
                                                   13 Exhibit 16 OK Docket # 14 Exhibit 18 # 15
                                                   Exhibit 19 # 16 Exhibit 20 # 17 Exhibit 21 # 18
                                                   Exhibit 22) (Brown, pllc, Deirdre) (Entered:
 12/11/2020                                        12/11/2020)

                            2255                   Exhibit List, Witness List (Filed By Murphy
                                                   Exploration & Production Company-USA ).
                            (138 pgs)              (Related document(s):1644 Amended Chapter
                                                   11 Plan, 2124 Response/Objection)
 12/11/2020                                        (Baughman, Jonathan) (Entered: 12/11/2020)

                            2256                   Exhibit List, Witness List (Filed By Dallas/Fort
                                                   Worth International Airport Board, City of
                            (81 pgs; 4 docs)       Dallas, City of Fort Worth ).(Related document
                                                   (s):1633 Order Approving Disclosure
                                                   Statement) (Attachments: # 1 Exhibit Hight
                                                   Low Agreement # 2 Exhibit SJ Order # 3
                                                   Exhibit Order of Severance) (Orenstein, Rosa)
 12/11/2020                                        (Entered: 12/11/2020)

                            2257                   Additional Attachments Re: Exhibit 12 to ROC
                                                   Exhibit List (related document(s):2254 Witness
                            (4076 pgs)             List, Exhibit List) (Filed By Official
                                                   Committee of Royalty Owners ).(Related
                                                   document(s):2254 Witness List, Exhibit List)
 12/11/2020                                        (Brown, pllc, Deirdre) (Entered: 12/11/2020)

                            2260
                                                   Exhibit List, Witness List (Filed By Jamestown
                                                   Resources, LLC, Larchmont Resources, LLC,
                            (155 pgs; 4 docs)
                                                   Pelican Energy, LLC ).(Related document
                                                   (s):1644 Amended Chapter 11 Plan, 2112
                                                   Objection to Confirmation of the Plan)
                                                   (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3
                                                   Exhibit 3) (Driver, Vickie) (Entered:




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 343 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 343 of 1639
                                                                           0343


 12/11/2020                                        12/11/2020)

                            2261                   Certificate of Service. (Filed By Deutsche Bank
                                                   Trust Company Americas ).(Related document
                            (41 pgs)               (s):2098 Statement) (Riley, David) (Entered:
 12/11/2020                                        12/11/2020)

                            2262
                                                   Exhibit List (Filed By Petty Business
                            (6397 pgs; 101 docs)   Enterprises, LP, Petty Energy L.P. and their
                                                   related entities ).(Related document(s):1644
                                                   Amended Chapter 11 Plan, 1645 Disclosure
                                                   Statement, 2144 Response/Objection)
                                                   (Attachments: # 1 Exhibit PBE-1 # 2 Exhibit
                                                   PBE-2 # 3 Exhibit PBE-3 # 4 Exhibit PBE-4 #
                                                   5 Exhibit PBE-5 # 6 Exhibit PBE-6 # 7 Exhibit
                                                   PBE-7 # 8 Exhibit PBE-8 # 9 Exhibit PBE-9 #
                                                   10 Exhibit PBE-10 # 11 Exhibit PBE-11 # 12
                                                   Exhibit PBE-12 # 13 Exhibit PBE-13 # 14
                                                   Exhibit PBE-14 # 15 Exhibit PBE-15 # 16
                                                   Exhibit PBE-16 # 17 Exhibit PBE-17 # 18
                                                   Exhibit PBE-18 # 19 Exhibit PBE-19 # 20
                                                   Exhibit PBE-20 # 21 Exhibit PBE-21 # 22
                                                   Exhibit PBE-22 # 23 Exhibit PBE-23 # 24
                                                   Exhibit PBE-24 # 25 Exhibit PBE-25 # 26
                                                   Exhibit PBE-26 # 27 Exhibit PBE-27 # 28
                                                   Exhibit PBE-28 # 29 Exhibit PBE-29 # 30
                                                   Exhibit PBE-30 # 31 Exhibit PBE-31 # 32
                                                   Exhibit PBE-32 # 33 Exhibit PBE-33 # 34
                                                   Exhibit PBE-34 # 35 Exhibit PBE-35 # 36
                                                   Exhibit PBE-36 # 37 Exhibit PBE-37 # 38
                                                   Exhibit PBE-38 # 39 Exhibit PBE-39 # 40
                                                   Exhibit PBE-40 # 41 Exhibit PBE-41 # 42
                                                   Exhibit PBE-42 # 43 Exhibit PBE-43 # 44
                                                   Exhibit PBE-44 # 45 Exhibit PBE-45 # 46
                                                   Exhibit PBE-46 # 47 Exhibit PBE-47 # 48
                                                   Exhibit PBE-48 # 49 Exhibit PBE-49 # 50
                                                   Exhibit PBE-50 # 51 Exhibit PBE-51 # 52
                                                   Exhibit PBE-52 # 53 Exhibit PBE-53 # 54
                                                   Exhibit PBE-54 # 55 Exhibit PBE-55 # 56
                                                   Exhibit PBE-56 # 57 Exhibit PBE-57 # 58
                                                   Exhibit PBE-58 # 59 Exhibit PBE-59 # 60
                                                   Exhibit PBE-60 # 61 Exhibit PBE-61 # 62
                                                   Exhibit PBE-62 # 63 Exhibit PBE-63 # 64
                                                   Exhibit PBE-64 # 65 Exhibit PBE-65 # 66
                                                   Exhibit PBE-66 # 67 Exhibit PBE-67 # 68
                                                   Exhibit PBE-68 # 69 Exhibit PBE-69 # 70
                                                   Exhibit PBE-70 # 71 Exhibit PBE-71 # 72




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 344 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 344 of 1639
                                                                           0344


                                                   Exhibit PBE-72 # 73 Exhibit PBE-73 # 74
                                                   Exhibit PBE-74 # 75 Exhibit PBE-75 # 76
                                                   Exhibit PBE-76 # 77 Exhibit PBE-77 # 78
                                                   Exhibit PBE-78 # 79 Exhibit PBE-79 # 80
                                                   Exhibit PBE-80 # 81 Exhibit PBE-81 # 82
                                                   Exhibit PBE-82 # 83 Exhibit PBE-83 # 84
                                                   Exhibit PBE-84 # 85 Exhibit PBE-85 # 86
                                                   Exhibit PBE-86 # 87 Exhibit PBE-87 # 88
                                                   Exhibit PBE-88 # 89 Exhibit PBE-89 # 90
                                                   Exhibit PBE-90 # 91 Exhibit PBE-91 # 92
                                                   Exhibit PBE-92 # 93 Exhibit PBE-93 # 94
                                                   Exhibit PBE-94 # 95 Exhibit PBE-95 # 96
                                                   Exhibit PBE-96 # 97 Exhibit PBE-97 # 98
                                                   Exhibit PBE-98 # 99 Exhibit PBE-99 # 100
                                                   Exhibit PBE-100) (Smith, Frances) (Entered:
 12/11/2020                                        12/11/2020)

                            2263                   Witness List (Filed By Dianna Mowry, Rodney
                                                   Mowry, Tim & Terri Family LP, Terri Denise
                            (2 pgs)                Tyler, Timothy A Tyler, Tyler/Mowry
                                                   Lessors ). (Helfer, Arleigh) (Entered:
 12/11/2020                                        12/11/2020)

                            2264                   Witness List (Filed By Cemetery Road Hunt
                                                   Club, Inc., Charlotte E. Place, Jesse C. Place,
                            (2 pgs)                Richard E. Place, Charlotte E. Place Trust,
                                                   Richard E. Place Trust, Placewood Resource
                                                   Management, LLC, Placewood Resources,
                                                   L.P., R&J Partners, L.P., William R Ruark,
                                                   William R. Ruark, Herbert D. Steele, Leola B.
                                                   Steele, Judith A. Wilson, Raynold W Wilson ).
 12/11/2020                                        (Helfer, Arleigh) (Entered: 12/11/2020)

                            2265                   Exhibit List, Witness List (Filed By Seitel
                                                   Data, Ltd. ). (Brescia, Duane) (Entered:
 12/11/2020                 (23 pgs)               12/11/2020)

                            2266
                                                   Exhibit List (Filed By Petty Business
                                                   Enterprises, LP, Petty Energy L.P. and their
                            (5228 pgs; 101 docs)
                                                   related entities ).(Related document(s):1644
                                                   Amended Chapter 11 Plan, 1645 Disclosure
                                                   Statement, 2144 Response/Objection)
                                                   (Attachments: # 1 Exhibit PBE-101 # 2 Exhibit
                                                   PBE-102 # 3 Exhibit PBE-103 # 4 Exhibit
                                                   PBE-104 # 5 Exhibit PBE-105 # 6 Exhibit
                                                   PBE-106 # 7 Exhibit PBE-107 # 8 Exhibit
                                                   PBE-108 # 9 Exhibit PBE-109 # 10 Exhibit




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 345 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 345 of 1639
                                                                           0345


                                                   PBE-110 # 11 Exhibit PBE-111 # 12 Exhibit
                                                   PBE-112 # 13 Exhibit PBE-113 # 14 Exhibit
                                                   PBE-114 # 15 Exhibit PBE-115 # 16 Exhibit
                                                   PBE-116 # 17 Exhibit PBE-117 # 18 Exhibit
                                                   PBE-118 # 19 Exhibit PBE-119 # 20 Exhibit
                                                   PBE-120 # 21 Exhibit PBE-121 # 22 Exhibit
                                                   PBE-122 # 23 Exhibit PBE-123 # 24 Exhibit
                                                   OBE-124 # 25 Exhibit PBE-125 # 26 Exhibit
                                                   PBE-126 # 27 Exhibit PBE-127 # 28 Exhibit
                                                   PBE-128 # 29 Exhibit PBE-129 # 30 Exhibit
                                                   PBE-130 # 31 Exhibit PBE-131 # 32 Exhibit
                                                   PBE-132 # 33 Exhibit PBE-133 # 34 Exhibit
                                                   PBE-134 # 35 Exhibit PBE-135 # 36 Exhibit
                                                   PBE-136 # 37 Exhibit PBE-137 # 38 Exhibit
                                                   PBE-138 # 39 Exhibit PBE-139 # 40 Exhibit
                                                   PBE-140 # 41 Exhibit PBE-141 # 42 Exhibit
                                                   PBE-142 # 43 Exhibit PBE-143 # 44 Exhibit
                                                   PBE-144 # 45 Exhibit PBE-145 # 46 Exhibit
                                                   PBE-146 # 47 Exhibit PBE-147 # 48 Exhibit
                                                   PBE-148 # 49 Exhibit PBE-149 # 50 Exhibit
                                                   PBE-150 # 51 Exhibit PBE-151 # 52 Exhibit
                                                   PBE-152 # 53 Exhibit PBE-153 # 54 Exhibit
                                                   PBE-154 # 55 Exhibit PBE-155 # 56 Exhibit
                                                   PBE-156 # 57 Exhibit PBE-157 # 58 Exhibit
                                                   PBE-158 # 59 Exhibit PBE-159 # 60 Exhibit
                                                   PBE-160 # 61 Exhibit PBE-161 # 62 Exhibit
                                                   PBE-162 # 63 Exhibit PBE-163 # 64 Exhibit
                                                   PBE-164 # 65 Exhibit PBE-165 # 66 Exhibit
                                                   PBE-166 # 67 Exhibit PBE-167 # 68 Exhibit
                                                   PBE-168 # 69 Exhibit PBE-169 # 70 Exhibit
                                                   PBE-170 # 71 Exhibit PBE-171 # 72 Exhibit
                                                   PBE-172 # 73 Exhibit PBE-173 # 74 Exhibit
                                                   PBE-174 # 75 Exhibit PBE-175 # 76 Exhibit
                                                   PBE-176 # 77 Exhibit PBE-177 # 78 Exhibit
                                                   PBE-178 # 79 Exhibit PBE-179 # 80 Exhibit
                                                   PBE-180 # 81 Exhibit PBE-181 # 82 Exhibit
                                                   PBE-182 # 83 Exhibit PBE-183 # 84 Exhibit
                                                   PBE-184 # 85 Exhibit PBE-185 # 86 Exhibit
                                                   PBE-186 # 87 Exhibit PBE-187 # 88 Exhibit
                                                   PBE-188 # 89 Exhibit PBE-189 # 90 Exhibit
                                                   PBE-190 # 91 Exhibit PBE-191 # 92 Exhibit
                                                   PBE-192 # 93 Exhibit PBE-193 # 94 Exhibit
                                                   PBE-194 # 95 Exhibit PBE-195 # 96 Exhibit
                                                   PBE-196 # 97 Exhibit PBE-197 # 98 Exhibit
                                                   PBE-198 # 99 Exhibit PBE-199 # 100 Exhibit
                                                   PBE-200) (Smith, Frances) (Entered:
 12/11/2020                                        12/11/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                  5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 346 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 346 of 1639
                                                                           0346


                            2267                   Exhibit List, Witness List (Filed By SWN
                                                   Production Company, LLC ). (Attachments: # 1
                            (100 pgs; 8 docs)      Exhibit "1" # 2 Exhibit "2" # 3 Exhibit "3" # 4
                                                   Exhibit "4" # 5 Exhibit "5" # 6 Exhibit "6" # 7
                                                   Exhibit "7") (Cohen, Jason) (Entered:
 12/11/2020                                        12/11/2020)

                            2268                   Exhibit List (Filed By Petty Business
                                                   Enterprises, LP, Petty Energy L.P. and their
                            (2469 pgs; 101 docs)   related entities ).(Related document(s):1644
                                                   Amended Chapter 11 Plan, 1645 Disclosure
                                                   Statement, 2144 Response/Objection)
                                                   (Attachments: # 1 Exhibit PBE-201 # 2 Exhibit
                                                   PBE-202 # 3 Exhibit PBE-203 # 4 Exhibit
                                                   PBE-204 # 5 Exhibit PBE-205 # 6 Exhibit
                                                   PBE-206 # 7 Exhibit PBE-207 # 8 Exhibit
                                                   PBE-208 # 9 Exhibit PBE-209 # 10 Exhibit
                                                   PBE-210 # 11 Exhibit PBE-211 # 12 Index
                                                   PBE-212 # 13 Exhibit PBE-213 # 14 Exhibit
                                                   PBE-214 # 15 Exhibit PBE-215 # 16 Exhibit
                                                   PBE-216 # 17 Exhibit PBE-217 # 18 Exhibit
                                                   PBE-218 # 19 Exhibit PBE-219 # 20 Exhibit
                                                   PBE-220 # 21 Exhibit PBE-221 # 22 Exhibit
                                                   PBE-222 # 23 Exhibit PBE-223 # 24 Exhibit
                                                   PBE-224 # 25 Exhibit PBE-225 # 26 Exhibit
                                                   PBE-226 # 27 Exhibit PBE-227 # 28 Exhibit
                                                   PBE-228 # 29 Exhibit PBE-229 # 30 Exhibit
                                                   PBE-230 # 31 Exhibit PBE-231 # 32 Exhibit
                                                   PBE-232 # 33 Exhibit PBE-233 # 34 Exhibit
                                                   PBE-234 # 35 Exhibit PBE-235 # 36 Exhibit
                                                   PBE-236 # 37 Exhibit PBE-237 # 38 Exhibit
                                                   PBE-238 # 39 Exhibit PBE-239 # 40 Exhibit
                                                   PBE-240 # 41 Exhibit PBE-241 # 42 Exhibit
                                                   PBE-242 # 43 Exhibit PBE-243 # 44 Exhibit
                                                   PBE-244 # 45 Exhibit PBE-245 # 46 Exhibit
                                                   PBE-246 # 47 Exhibit PBE-247 # 48 Exhibit
                                                   PBE-248 # 49 Exhibit PBE-249 # 50 Exhibit
                                                   PBE-250 # 51 Exhibit PBE-251 # 52 Exhibit
                                                   PBE-252 # 53 Exhibit PBE-253 # 54 Exhibit
                                                   PBE-254 # 55 Exhibit PBE-255 # 56 Exhibit
                                                   PBE-256 # 57 Exhibit PBE-257 # 58 Exhibit
                                                   PBE-258 # 59 Exhibit PBE-259 # 60 Exhibit
                                                   PBE-260 # 61 Exhibit PBE-261 # 62 Exhibit
                                                   PBE-262 # 63 Exhibit PBE-263 # 64 Exhibit
                                                   PBE-264 # 65 Exhibit PBE-265 # 66 Exhibit
                                                   PBE-266 # 67 Exhibit PBE-267 # 68 Exhibit
                                                   PBE-268 # 69 Exhibit PBE-269 # 70 Exhibit
                                                   PBE-270 # 71 Exhibit PBE-271 # 72 Exhibit




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 347 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 347 of 1639
                                                                           0347


                                                   PBE-272 # 73 Exhibit PBE-273 # 74 Exhibit
                                                   PBE-274 # 75 Exhibit PBE-275 # 76 Exhibit
                                                   PBE-276 # 77 Exhibit PBE-277 # 78 Exhibit
                                                   PBE-278 # 79 Exhibit PBE-279 # 80 Exhibit
                                                   PBE-280 # 81 Exhibit PBE-281 # 82 Exhibit
                                                   PBE-282 # 83 Exhibit PBE-283 # 84 Exhibit
                                                   PBE-284 # 85 Exhibit PBE-285 # 86 Exhibit
                                                   PBE-286 # 87 Exhibit PBE-287 # 88 Exhibit
                                                   PBE-288 # 89 Exhibit PBE-289 # 90 Exhibit
                                                   PBE-290 # 91 Exhibit PBE-291 # 92 Exhibit
                                                   PBE-292 # 93 Exhibit PBE-293 # 94 Exhibit
                                                   PBE-294 # 95 Exhibit PBE-295 # 96 Exhibit
                                                   PBE-296 # 97 Exhibit PBE-297 # 98 Exhibit
                                                   PBE-298 # 99 Exhibit PBE-299 # 100 Exhibit
                                                   PBE-300) (Smith, Frances) (Entered:
 12/11/2020                                        12/11/2020)

                            2269                   Affidavit Re: Affidavit of Service of Notice of
                                                   Rejection and Notice of Filing of Plan
                            (21 pgs)               Supplement of Geoff Zahm (Filed By Epiq
                                                   Corporate Restructuring LLC ). (Garabato, Sid)
 12/11/2020                                        (Entered: 12/11/2020)

                            2270                   Exhibit List, Witness List (Filed By BRP, LLC,
                                                   CoVal Leasing Company, L.L.C. ).
                            (426 pgs; 10 docs)     (Attachments: # 1 Exhibit "1" # 2 Exhibit "2" #
                                                   3 Exhibit "3" # 4 Exhibit "4" # 5 Exhibit "5" #
                                                   6 Exhibit "6" # 7 Exhibit "7" # 8 Exhibit "8" #
                                                   9 Exhibit "9") (Cohen, Jason) (Entered:
 12/11/2020                                        12/11/2020)

                            2271
                                                   Exhibit List (Filed By Petty Business
                            (623 pgs; 101 docs)    Enterprises, LP, Petty Energy L.P. and their
                                                   related entities ).(Related document(s):1644
                                                   Amended Chapter 11 Plan, 1645 Disclosure
                                                   Statement, 2144 Response/Objection)
                                                   (Attachments: # 1 Exhibit PBE-301 # 2 Exhibit
                                                   PBE-302 # 3 Exhibit PBE-303 # 4 Exhibit
                                                   PBE-304 # 5 Exhibit PBE-305 # 6 Exhibit
                                                   PBE-306 # 7 Exhibit PBE-307 # 8 Exhibit
                                                   PBE-308 # 9 Exhibit pbe-309 # 10 Exhibit
                                                   PBE-310 # 11 Exhibit pbe-311 # 12 Exhibit
                                                   PBE-312 # 13 Exhibit PBE-313 # 14 Exhibit
                                                   PBE-314 # 15 Exhibit PBE-315 # 16 Exhibit
                                                   PBE-316 # 17 Exhibit PBE-317 # 18 Exhibit
                                                   PBE-318 # 19 Exhibit PBE-319 # 20 Exhibit
                                                   PBE-320 # 21 Exhibit PBE-321 # 22 Exhibit




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 348 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 348 of 1639
                                                                           0348


                                                   PBE-322 # 23 Exhibit PBE-323 # 24 Exhibit
                                                   PBE-324 # 25 Exhibit PBE-325 # 26 Exhibit
                                                   PBE-326 # 27 Exhibit PBE-327 # 28 Exhibit
                                                   PBE-328 # 29 Exhibit PBE-329 # 30 Exhibit
                                                   PBE-330 # 31 Exhibit PBE-331 # 32 Exhibit
                                                   PBE-332 # 33 Exhibit PBE-333 # 34 Exhibit
                                                   PBE-334 # 35 Exhibit PBE-335 # 36 Exhibit
                                                   PBE-336 # 37 Exhibit PBE-337 # 38 Exhibit
                                                   PBE-338 # 39 Exhibit PBE-339 # 40 Exhibit
                                                   PBE-340 # 41 Exhibit PBE-341 # 42 Exhibit
                                                   PBE-342 # 43 Exhibit PBE-343 # 44 Exhibit
                                                   PBE-344 # 45 Exhibit PBE-345 # 46 Exhibit
                                                   PBE-346 # 47 Exhibit PBE-347 # 48 Exhibit
                                                   PBE-348 # 49 Exhibit PBE-349 # 50 Exhibit
                                                   PBE-350 # 51 Exhibit PBE-351 # 52 Exhibit
                                                   PBE-352 # 53 Exhibit PBE-353 # 54 Exhibit
                                                   PBE-354 # 55 Exhibit PBE-355 # 56 Exhibit
                                                   PBE-356 # 57 Exhibit PBE-357 # 58 Exhibit
                                                   PBE-358 # 59 Exhibit PBE-359 # 60 Exhibit
                                                   PBE-360 # 61 Exhibit PBE-361 # 62 Exhibit
                                                   PBE-362 # 63 Exhibit PBE-363 # 64 Exhibit
                                                   PBE-364 # 65 Exhibit PBE-365 # 66 Exhibit
                                                   PBE-366 # 67 Exhibit PBE-367 # 68 Exhibit
                                                   PBE-368 # 69 Exhibit PBE-369 # 70 Exhibit
                                                   PBE-370 # 71 Exhibit PBE-371 # 72 Exhibit
                                                   PBE-372 # 73 Exhibit PBE-373 # 74 Exhibit
                                                   PBE-374 # 75 Exhibit PBE-375 # 76 Exhibit
                                                   PBE-376 # 77 Exhibit PBE-377 # 78 Exhibit
                                                   PBE-378 # 79 Exhibit PBE-379 # 80 Exhibit
                                                   PBE-380 # 81 Exhibit PBE-381 # 82 Exhibit
                                                   PBE-382 # 83 Exhibit PBE-383 # 84 Exhibit
                                                   PBE-384 # 85 Exhibit PBE-385 # 86 Exhibit
                                                   PBE-386 # 87 Exhibit PBE-387 # 88 Exhibit
                                                   PBE-388 # 89 Exhibit PBE-389 # 90 Exhibit
                                                   PBE-390 # 91 Exhibit PBE-391 # 92 Exhibit
                                                   PBE-392 # 93 Exhibit PBE-393 # 94 Exhibit
                                                   PBE-394 # 95 Exhibit PBE-395 # 96 Exhibit
                                                   PBE-396 # 97 Exhibit PBE-397 # 98 Exhibit
                                                   PBE-398 # 99 Exhibit PBE-399 # 100 Exhibit
                                                   PBE-400) (Smith, Frances) (Entered:
 12/11/2020                                        12/11/2020)

                            2272                   Declaration re: Declaration of Jane Sullivan of
                                                   Epiq Corporate Restructuring, LLC Regarding
                            (39 pgs)               Voting and Tabulation of Certain Ballots Cast
                                                   on the Second Amended Joint Chapter 11 Plan
                                                   of Reorganization of Chesapeake Energy
                                                   Corporation and Its Debtor Affiliates (Filed By




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 349 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 349 of 1639
                                                                           0349


                                                   Chesapeake Energy Corporation ). (Cavenaugh,
 12/11/2020                                        Matthew) (Entered: 12/11/2020)

                            2273                   Exhibit List (Filed By Stephanie Delasandro ).
                                                   (Related document(s):1175 Motion to
                            (1001 pgs; 57 docs)    Reconsider, 1293 Motion for Relief From Stay)
                                                   (Attachments: # 1 Exhibit Exhibit 1 # 2 Exhibit
                                                   Exhibit 2 # 3 Exhibit Exhibit 3 # 4 Exhibit
                                                   Exhibit 6 # 5 Exhibit Exhibit 9 # 6 Exhibit
                                                   Exhibit 12 # 7 Exhibit Exhibit 13 # 8 Exhibit
                                                   Exhibit 14 # 9 Exhibit Exhibit 15 # 10 Exhibit
                                                   Exhibit 16 # 11 Exhibit Exhibit 17 # 12 Exhibit
                                                   Exhibit 18 # 13 Exhibit Exhibit 19 # 14 Exhibit
                                                   Exhibit 20 # 15 Exhibit Exhibit 21 # 16 Exhibit
                                                   Exhibit 22 # 17 Exhibit Exhibit 23 # 18 Exhibit
                                                   Exhibit 24 # 19 Exhibit Exhibit 25 # 20 Exhibit
                                                   Exhibit 26 # 21 Exhibit Exhibit 27 # 22 Exhibit
                                                   Exhibit 27.2 # 23 Exhibit Exhibit 27 # 24
                                                   Exhibit Exhibit 28 # 25 Exhibit Exhibit 29 # 26
                                                   Exhibit Exhibit 30 # 27 Exhibit Exhibit 31 # 28
                                                   Exhibit Exhibit 32.1 # 29 Exhibit Exhibit 32.2
                                                   # 30 Exhibit Exhibit 32.3 # 31 Exhibit Exhibit
                                                   32.4 # 32 Exhibit Exhibit 32.5 # 33 Exhibit
                                                   Exhibit 32.6 # 34 Exhibit Exhibit 32.7 # 35
                                                   Exhibit Exhibit 32.8 # 36 Exhibit Exhibit 32.9
                                                   # 37 Exhibit Exhibit 32.10 # 38 Exhibit Exhibit
                                                   32.11 # 39 Exhibit Exhibit 32.12 # 40 Exhibit
                                                   Exhibit 33 # 41 Exhibit Exhibit 34 # 42 Exhibit
                                                   Exhibit 35 # 43 Exhibit Exhibit 36 # 44 Exhibit
                                                   Exhibit 37 # 45 Exhibit Exhibit 38 # 46 Exhibit
                                                   Exhibit 39 # 47 Exhibit Exhibit 39.1 # 48
                                                   Exhibit Exhibit 40 # 49 Exhibit Exhibit 41 # 50
                                                   Exhibit Exhibit 42 # 51 Exhibit Exhibit 43 # 52
                                                   Exhibit Exhibit 44 # 53 Exhibit Exhibit 45 # 54
                                                   Exhibit Exhibit 46 # 55 Exhibit Exhibit 47 # 56
                                                   Exhibit Exhibit 48) (Warman, Lynnette)
 12/11/2020                                        (Entered: 12/11/2020)

                            2274
                                                   Exhibit List (Filed By Petty Business
                            (488 pgs; 65 docs)     Enterprises, LP, Petty Energy L.P. and their
                                                   related entities ).(Related document(s):1644
                                                   Amended Chapter 11 Plan, 1645 Disclosure
                                                   Statement, 2144 Response/Objection)
                                                   (Attachments: # 1 Exhibit PBE-401 # 2 Exhibit
                                                   PBE-402 # 3 Exhibit PBE-403 # 4 Exhibit
                                                   PBE-404 # 5 Exhibit PBE-405 # 6 Exhibit
                                                   PBE-406 # 7 Exhibit PBE-407 # 8 Exhibit




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 350 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 350 of 1639
                                                                           0350


                                                   PBE-408 # 9 Exhibit PBE-409 # 10 Exhibit
                                                   PBE-410 # 11 Exhibit PBE-411 # 12 Exhibit
                                                   PBE-412 # 13 Exhibit PBE-413 # 14 Exhibit
                                                   PBE-414 # 15 Exhibit PBE-415 # 16 Exhibit
                                                   PBE-416 # 17 Exhibit PBE-417 # 18 Exhibit
                                                   PBE-418 # 19 Exhibit PBE-419 # 20 Exhibit
                                                   PBE-420 # 21 Exhibit PBE-421 # 22 Exhibit
                                                   PBE-422 # 23 Exhibit PBE-423 # 24 Exhibit
                                                   PBE-424 # 25 Exhibit PBE-425 # 26 Exhibit
                                                   PBE-426 # 27 Exhibit PBE-427 # 28 Exhibit
                                                   PBE-428 # 29 Exhibit PBE-429 # 30 Exhibit
                                                   PBE-430 # 31 Exhibit PBE-431 # 32 Exhibit
                                                   PBE-432 # 33 Exhibit PBE-433 # 34 Exhibit
                                                   PBE-434 # 35 Exhibit PBE-435 # 36 Exhibit
                                                   PBE-436 # 37 Exhibit PBE-437 # 38 Exhibit
                                                   PBE-438 # 39 Exhibit PBE-439 # 40 Exhibit
                                                   PBE-440 # 41 Exhibit PBE-441 # 42 Exhibit
                                                   PBE-443 # 43 Exhibit PBE-443 # 44 Exhibit
                                                   PBE-444 # 45 Exhibit PBE-445 # 46 Exhibit
                                                   PBE-446 # 47 Exhibit PBE-447 # 48 Exhibit
                                                   PBE-448 # 49 Exhibit PBE-449 # 50 Exhibit
                                                   PBE-450 # 51 Exhibit PBE-451 # 52 Exhibit
                                                   PBE-452 # 53 Exhibit PBE-453 # 54 Exhibit
                                                   PBE-454 # 55 Exhibit PBE-455 # 56 Exhibit
                                                   PBE-456 # 57 Exhibit PBE-457 # 58 Exhibit
                                                   PBE-458 # 59 Exhibit PBE-459 # 60 Exhibit
                                                   PBE-460 # 61 Exhibit PBE-461 # 62 Exhibit
                                                   PBE-462 # 63 Exhibit PBE-463 # 64 Exhibit
                                                   PBE-464) (Smith, Frances) (Entered:
 12/11/2020                                        12/11/2020)

                            2275                   Objection to Debtors Second Amended Joint
                                                   Chapter 11 Reorganization Plan. Filed by
                            (16 pgs; 3 docs)       Department of Interior United States
                                                   (Attachments: # 1 Exhibit USA Opt Out Form
                                                   # 2 Exhibit USA-Debtors Agreed Language)
 12/11/2020                                        (Carney, Tiffiney) (Entered: 12/11/2020)

                            2276
                                                   Witness List, Exhibit List (Filed By PMBG
                            (76 pgs; 5 docs)       Parties ).(Related document(s):2138 Objection
                                                   to Confirmation of the Plan) (Attachments: # 1
                                                   Exhibit PMBG 1 All documents filed in the
                                                   above-captioned case # 2 Exhibit PMBG 2 All
                                                   Proofs of Claim filed on behalf of the PMBG
                                                   Parties and the Exhibits attached thereto # 3
                                                   Exhibit PMBG 3 through PMBG 11 to be filed
                                                   under seal # 4 Exhibit PMBG 12 Lien analysis




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 351 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 351 of 1639
                                                                           0351


                                                   prepared by Nils Pearson for counties in which
                                                   PMBG Clients have leases) (Heard, Mary)
 12/11/2020                                        (Entered: 12/11/2020)

                            2277                   Exhibit List, Witness List (Filed By CGG Land
                                                   (U.S.) Inc. ).(Related document(s):1599
                            (591 pgs; 85 docs)     Amended Chapter 11 Plan, 1633 Order
                                                   Approving Disclosure Statement, 1644
                                                   Amended Chapter 11 Plan, 2148 Objection to
                                                   Confirmation of the Plan, 2253 Exhibit List,
                                                   Witness List) (Attachments: # 1 Exhibit 1 # 2
                                                   Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 # 5
                                                   Exhibit 5 # 6 Exhibit 6 # 7 Exhibit 7 # 8
                                                   Exhibit 8 # 9 Exhibit 9 # 10 Exhibit 10 # 11
                                                   Exhibit 11 # 12 Exhibit 12 # 13 Exhibit 13 # 14
                                                   Exhibit 14 # 15 Exhibit 15 # 16 Exhibit 16 # 17
                                                   Exhibit 17 # 18 Exhibit 18 # 19 Exhibit 19 # 20
                                                   Exhibit 20 # 21 Exhibit 21 # 22 Exhibit 22 # 23
                                                   Exhibit 23 # 24 Exhibit 24 # 25 Exhibit 25 # 26
                                                   Exhibit 26 # 27 Exhibit 27 # 28 Exhibit 28 # 29
                                                   Exhibit 29 # 30 Exhibit 30 # 31 Exhibit 31 # 32
                                                   Exhibit 32 # 33 Exhibit 33 # 34 Exhibit 34 # 35
                                                   Exhibit 35 # 36 Exhibit 36 # 37 Exhibit 37 # 38
                                                   Exhibit 38 # 39 Exhibit 39 # 40 Exhibit 40 # 41
                                                   Exhibit 41 # 42 Exhibit 42 # 43 Exhibit 43 # 44
                                                   Exhibit 44 # 45 Exhibit 45 # 46 Exhibit 46 # 47
                                                   Exhibit 47 # 48 Exhibit 48 # 49 Exhibit 49 # 50
                                                   Exhibit 50 # 51 Exhibit 51 # 52 Exhibit 52 # 53
                                                   Exhibit 53 # 54 Exhibit 54 # 55 Exhibit 55 # 56
                                                   Exhibit 56 # 57 Exhibit 57 # 58 Exhibit 58 # 59
                                                   Exhibit 59 # 60 Exhibit 60 # 61 Exhibit 61 # 62
                                                   Exhibit 62 # 63 Exhibit 63 # 64 Exhibit 64 # 65
                                                   Exhibit 65 # 66 Exhibit 66 # 67 Exhibit 67 # 68
                                                   Exhibit 68 # 69 Exhibit 69 # 70 Exhibit 70 # 71
                                                   Exhibit 71 # 72 Exhibit 72 # 73 Exhibit 73 # 74
                                                   Exhibit 74 # 75 Exhibit 75 # 76 Exhibit 76 # 77
                                                   Exhibit 77 # 78 Exhibit 78 # 79 Exhibit 79 # 80
                                                   Exhibit 80 # 81 Exhibit 81 # 82 Exhibit 82 # 83
                                                   Exhibit 83 # 84 Exhibit 84) (Platt, Mark)
 12/11/2020                                        (Entered: 12/11/2020)

                            2278
                                                   Exhibit List (Filed By Stephanie Delasandro ).
                            (33 pgs; 7 docs)       (Related document(s):1175 Motion to
                                                   Reconsider, 1293 Motion for Relief From Stay)
                                                   (Attachments: # 1 Exhibit 4 # 2 Exhibit 5 # 3
                                                   Exhibit 7 # 4 Exhibit 8 # 5 Exhibit 10 # 6
                                                   Exhibit 11) (Warman, Lynnette) (Entered:




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 352 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 352 of 1639
                                                                           0352


 12/11/2020                                        12/11/2020)

                            2279                   Objection to Confirmation of Plan Filed by
                                                   Ryan, LLC. (Related document(s):1599
                            (3 pgs)                Amended Chapter 11 Plan) (Jobe, Heather)
 12/11/2020                                        (Entered: 12/11/2020)

                            2280                   Sealed Document Exhibits PMBG 3 through
                                                   PMBG 11 to PMBG Parties' Witness and
                            (1 pg)                 Exhibit List (Filed By PMBG Parties ). (Heard,
 12/11/2020                                        Mary) (Entered: 12/11/2020)

                            2281                   Stipulation By Chesapeake Energy Corporation
                                                   and Catherine Ramirez. Does this document
                            (6 pgs)                include an agreed order or otherwise request
                                                   that the judge sign a document? Yes. (Filed By
                                                   Chesapeake Energy Corporation ).(Related
                                                   document(s):1606 Motion for Relief From
                                                   Stay) (Cavenaugh, Matthew) (Entered:
 12/11/2020                                        12/11/2020)

                            2282                   Objection to Confirmation of Plan Filed by
                                                   Official Committee Of Unsecured Creditors.
                            (103 pgs)              (Related document(s):2212 Sealed Document)
 12/11/2020                                        (Harrison, Julie) (Entered: 12/11/2020)

                            2283                   Motion to Assume/Reject Debtors' Motion for
                                                   Entry of an Order (I) Authorizing the Rejection
                            (25 pgs; 2 docs)       of Certain Executory Contracts Effective as of
                                                   December 11, 2020 and (II) Granting Related
                                                   Relief. Objections/Request for Hearing Due in
                                                   21 days. Filed by Debtor Chesapeake Energy
                                                   Corporation (Attachments: # 1 Proposed Order)
 12/11/2020                                        (Cavenaugh, Matthew) (Entered: 12/11/2020)

                            2284                   Proposed Order RE: Agreed Order Granting (I)
                                                   Relief from the Automatic Stay, Effective as of
                            (5 pgs)                January 4, 2021, and (II) Related Relief (Filed
                                                   By Chesapeake Energy Corporation ).(Related
                                                   document(s):2219 Motion for Relief From
                                                   Stay) (Cavenaugh, Matthew) (Entered:
 12/11/2020                                        12/11/2020)

                            2285
                                                   BNC Certificate of Mailing. (Related document
                            (15 pgs)               (s):2189 Generic Order) No. of Notices: 199.
                                                   Notice Date 12/11/2020. (Admin.) (Entered:




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 353 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 353 of 1639
                                                                           0353


 12/11/2020                                        12/12/2020)

                            2286                   BNC Certificate of Mailing. (Related document
                                                   (s):2190 Order on Motion For Relief From
                            (15 pgs)               Stay) No. of Notices: 199. Notice Date
 12/11/2020                                        12/11/2020. (Admin.) (Entered: 12/12/2020)

                            2287                   Additional Attachments Re: Seitel Exhibit 2
                                                   (related document(s):2265 Exhibit List,
                            (31 pgs)               Witness List) (Filed By Seitel Data, Ltd. ).
                                                   (Related document(s):2265 Exhibit List,
                                                   Witness List) (Brescia, Duane) (Entered:
 12/12/2020                                        12/12/2020)

                            2288                   Supplemental Response/Objection Filed by
                                                   Dallas/Fort Worth International Airport Board,
                            (6 pgs)                City of Dallas, City of Fort Worth. (Related
                                                   document(s):1644 Amended Chapter 11 Plan)
 12/12/2020                                        (Orenstein, Rosa) (Entered: 12/12/2020)

                            2289                   Emergency Motion for Entry of an Order
                                                   Pursuant to 11 U.S.C. §§ 105(a), 363(b), and
                            (13 pgs; 2 docs)       365(a) and Fed. R. Bankr. P. 6006 Authorizing
                                                   (I) Assumption of Certain Agreements with
                                                   Stagecoach Pipeline & Storage Company LLC,
                                                   (II) Entry Into Replacement Stagecoach
                                                   Agreements, (III) Cancellation of Existing
                                                   Stagecoach MARC 1 Agreement, and (IV)
                                                   Payment of All Obligations Thereunder Filed
                                                   by Debtor Chesapeake Energy Corporation
                                                   (Attachments: # 1 Proposed Order)
 12/12/2020                                        (Cavenaugh, Matthew) (Entered: 12/12/2020)

                            2290                   Witness List, Exhibit List (Filed By
                                                   Chesapeake Energy Corporation ).(Related
                            (27 pgs)               document(s):1540 Stipulation, 1644 Amended
                                                   Chapter 11 Plan) (Cavenaugh, Matthew)
 12/12/2020                                        (Entered: 12/12/2020)

                            2291                   Emergency Motion for Entry of an Order
                                                   Authorizing the Debtors to File the Debtors'
                            (10 pgs; 2 docs)       Exhibits List Under Seal Filed by Debtor
                                                   Chesapeake Energy Corporation (Attachments:
                                                   # 1 Proposed Order) (Cavenaugh, Matthew)
 12/12/2020                                        (Entered: 12/12/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 354 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 354 of 1639
                                                                           0354


                            2292                   Exhibit List (Filed By Chesapeake Energy
                                                   Corporation ).(Related document(s):2290
                            (841 pgs; 22 docs)     Witness List, Exhibit List) (Attachments: # 1
                                                   Exhibit 31 # 2 Exhibit 32 # 3 Exhibit 33 # 4
                                                   Exhibit 34 # 5 Exhibit 35 # 6 Exhibit 36 # 7
                                                   Exhibit 37 # 8 Exhibit 38 # 9 Exhibit 40 # 10
                                                   Exhibit 41 # 11 Exhibit 42 # 12 Exhibit 44 # 13
                                                   Exhibit 45 # 14 Exhibit 47 # 15 Exhibit 48 # 16
                                                   Exhibit 49 # 17 Exhibit 50 # 18 Exhibit 51 # 19
                                                   Exhibit 52 # 20 Exhibit 53 # 21 Exhibit 59)
 12/12/2020                                        (Graham, Genevieve) (Entered: 12/12/2020)

                            2293                   Exhibit List (Filed By Chesapeake Energy
                                                   Corporation ).(Related document(s):2290
                            (1300 pgs; 27 docs)    Witness List, Exhibit List) (Attachments: # 1
                                                   Exhibit 2 # 2 Exhibit 3 # 3 Exhibit 4 # 4
                                                   Exhibit 5 # 5 Exhibit 6 # 6 Exhibit 7 # 7
                                                   Exhibit 8 # 8 Exhibit 9 # 9 Exhibit 10 # 10
                                                   Exhibit 11 # 11 Exhibit 12 # 12 Exhibit 13 # 13
                                                   Exhibit 14 # 14 Exhibit 15 # 15 Exhibit 16 # 16
                                                   Exhibit 17 # 17 Exhibit 18 # 18 Exhibit 19 # 19
                                                   Exhibit 20 # 20 Exhibit 21 # 21 Exhibit 22 # 22
                                                   Exhibit 24 # 23 Exhibit 26 # 24 Exhibit 27 # 25
                                                   Exhibit 28 # 26 Exhibit 29) (Wertz, Jennifer)
 12/12/2020                                        (Entered: 12/12/2020)

                            2294                   Exhibit List (Filed By Chesapeake Energy
                                                   Corporation ).(Related document(s):2290
                            (1830 pgs; 9 docs)     Witness List, Exhibit List) (Attachments: # 1
                                                   Exhibit 376 # 2 Exhibit 381 # 3 Exhibit 382 # 4
                                                   Exhibit 383 # 5 Exhibit 384 # 6 Exhibit 385 # 7
                                                   Exhibit 386 # 8 Exhibit 390) (Graham,
 12/12/2020                                        Genevieve) (Entered: 12/12/2020)

                            2295
                                                   Exhibit List (Filed By Chesapeake Energy
                            (1121 pgs; 29 docs)    Corporation ).(Related document(s):2290
                                                   Witness List, Exhibit List) (Attachments: # 1
                                                   Exhibit 77 # 2 Exhibit 86 # 3 Exhibit 92 # 4
                                                   Exhibit 106 # 5 Exhibit 112 # 6 Exhibit 116 # 7
                                                   Exhibit 117 # 8 Exhibit 118 # 9 Exhibit 119 #
                                                   10 Exhibit 120 # 11 Exhibit 124 # 12 Exhibit
                                                   125 # 13 Exhibit 126 # 14 Exhibit 127 # 15
                                                   Exhibit 128 # 16 Exhibit 129 # 17 Exhibit 130
                                                   # 18 Exhibit 131 # 19 Exhibit 132 # 20 Exhibit
                                                   133 # 21 Exhibit 138 # 22 Exhibit 140 # 23
                                                   Exhibit 147 # 24 Exhibit 158 # 25 Exhibit 160
                                                   # 26 Exhibit 161 # 27 Exhibit 172 # 28 Exhibit




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 355 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 355 of 1639
                                                                           0355


 12/12/2020                                        178) (Polnick, Veronica) (Entered: 12/12/2020)

                            2296                   Exhibit List (Filed By Chesapeake Energy
                                                   Corporation ).(Related document(s):2290
                            (107 pgs; 8 docs)      Witness List, Exhibit List) (Attachments: # 1
                                                   Exhibit 332 # 2 Exhibit 333 # 3 Exhibit 336 # 4
                                                   Exhibit 337 # 5 Exhibit 338 # 6 Exhibit 337 # 7
                                                   Exhibit 338 # 8 Exhibit 366 # 9 # 10 # 11 # 12)
 12/12/2020                                        (Wertz, Jennifer) (Entered: 12/12/2020)

                            2297                   Exhibit List (Filed By Chesapeake Energy
                                                   Corporation ).(Related document(s):2290
                            (1281 pgs; 29 docs)    Witness List, Exhibit List) (Attachments: # 1
                                                   Exhibit 239 # 2 Exhibit 259 # 3 Exhibit 260 # 4
                                                   Exhibit 262 # 5 Exhibit 264 # 6 Exhibit 272 # 7
                                                   Exhibit 274 # 8 Exhibit 275 # 9 Exhibit 276 #
                                                   10 Exhibit 277 # 11 Exhibit 281 # 12 Exhibit
                                                   282 # 13 Exhibit 283 # 14 Exhibit 290 # 15
                                                   Exhibit 291 # 16 Exhibit 294 # 17 Exhibit 295
                                                   # 18 Exhibit 296 # 19 Exhibit 299 # 20 Exhibit
                                                   307 # 21 Exhibit 308 # 22 Exhibit 309 # 23
                                                   Exhibit 310 # 24 Exhibit 311 # 25 Exhibit 312
                                                   # 26 Exhibit 313 # 27 Exhibit 328 # 28 Exhibit
                                                   329) (Cavenaugh, Matthew) (Entered:
 12/12/2020                                        12/12/2020)

                            2298                   Sealed Document Debtors' Exhibits 101-169
                                                   for Confirmation Hearing Set December 15,
                            (455 pgs; 23 docs)     2020 (Filed By Chesapeake Energy
                                                   Corporation ). (Attachments: # 1 Exhibit 102 #
                                                   2 Exhibit 103 # 3 Exhibit 104 # 4 Exhibit 105 #
                                                   5 Exhibit 107 # 6 Exhibit 108 # 7 Exhibit 109 #
                                                   8 Exhibit 110 # 9 Exhibit 111 # 10 Exhibit 113
                                                   # 11 Exhibit 114 # 12 Exhibit 115 # 13 Exhibit
                                                   115A # 14 Exhibit 121 # 15 Exhibit 122 # 16
                                                   Exhibit 123 # 17 Exhibit 134 # 18 Exhibit 135
                                                   # 19 Exhibit 136 # 20 Exhibit 137 # 21 Exhibit
                                                   139 # 22 Exhibit 141) (Graham, Genevieve)
 12/12/2020                                        (Entered: 12/12/2020)

                            2299
                                                   Exhibit List (Filed By Chesapeake Energy
                                                   Corporation ).(Related document(s):2290
                            (7404 pgs; 17 docs)
                                                   Witness List, Exhibit List) (Attachments: # 1
                                                   Exhibit 392 # 2 Exhibit 393 # 3 Exhibit 394 # 4
                                                   Exhibit 395 # 5 Exhibit 396 # 6 Exhibit 397 # 7
                                                   Exhibit 398 # 8 Exhibit 399 # 9 Exhibit 401 #
                                                   10 Exhibit 402 # 11 Exhibit 403 # 12 Exhibit




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 356 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 356 of 1639
                                                                           0356


                                                   404 # 13 Exhibit 405 # 14 Exhibit 406 # 15
                                                   Exhibit 407 # 16 Exhibit 408) (Peguero,
 12/12/2020                                        Kristhy) (Entered: 12/12/2020)

                            2300                   Sealed Document Debtors Exhibits 171, 173-
                                                   177, 179-189 for Confirmation Hearing Set
                            (346 pgs; 18 docs)     December 15, 2020 (Filed By Chesapeake
                                                   Energy Corporation ). (Attachments: # 1
                                                   Exhibit 171 # 2 Exhibit 173 # 3 Exhibit 174 # 4
                                                   Exhibit 175 # 5 Exhibit 176 # 6 Exhibit 177 # 7
                                                   Exhibit 179 # 8 Exhibit 180 # 9 Exhibit 181 #
                                                   10 Exhibit 182 # 11 Exhibit 183 # 12 Exhibit
                                                   184 # 13 Exhibit 185 # 14 Exhibit 186 # 15
                                                   Exhibit 187 # 16 Exhibit 188 # 17 Exhibit 189)
 12/12/2020                                        (Polnick, Veronica) (Entered: 12/12/2020)

                            2301                   Sealed Document Debtors' Exhibits 273, 278-
                                                   280 and 284 for Confirmation Hearing Set
                            (96 pgs; 5 docs)       December 15, 2020 (Filed By Chesapeake
                                                   Energy Corporation ). (Attachments: # 1
                                                   Exhibit 278 # 2 Exhibit 279 # 3 Exhibit 280 # 4
                                                   Exhibit 284) (Peguero, Kristhy) (Entered:
 12/12/2020                                        12/12/2020)

                            2302                   Sealed Document Debtors Sealed Exhibits 23,
                                                   25, 39, 43, 46, 54, 55, 56, 57, 58, 61 and 62
                            (60 pgs; 6 docs)       (Filed By Chesapeake Energy Corporation ).
                                                   (Attachments: # 1 Exhibit 25 # 2 Exhibit 39 # 3
                                                   Exhibit 43 # 4 Exhibit 39 # 5 Exhibit 43 # 6
                                                   Exhibit 62 # 7 # 8 # 9 # 10 # 11) (Wertz,
 12/12/2020                                        Jennifer) (Entered: 12/12/2020)

                            2303                   Sealed Document Debtors' Exhibits 143-146,
                                                   148-152 for Confirmation Hearing Set
                            (62 pgs; 10 docs)      December 15, 2020 (Filed By Chesapeake
                                                   Energy Corporation ). (Attachments: # 1
                                                   Exhibit 143 # 2 Exhibit 144 # 3 Exhibit 145 # 4
                                                   Exhibit 146 # 5 Exhibit 148 # 6 Exhibit 149 # 7
                                                   Exhibit 150 # 8 Exhibit 151 # 9 Exhibit 152)
 12/12/2020                                        (Graham, Genevieve) (Entered: 12/12/2020)

                            2304                   Sealed Document Debtors' Exhibits 219-226,
                                                   228-238, and 240 for Confirmation Hearing Set
                            (451 pgs; 20 docs)     December 15, 2020 (Filed By Chesapeake
                                                   Energy Corporation ). (Attachments: # 1 Exhibit
                                                   220 # 2 Exhibit 221 # 3 Exhibit 222 # 4 Exhibit
                                                   223 # 5 Exhibit 224 # 6 Exhibit 225 # 7 Exhibit




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 357 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 357 of 1639
                                                                           0357


                                                   226 # 8 Exhibit 228 # 9 Exhibit 229 # 10
                                                   Exhibit 230 # 11 Exhibit 231 # 12 Exhibit 232
                                                   # 13 Exhibit 233 # 14 Exhibit 234 # 15 Exhibit
                                                   235 # 16 Exhibit 236 # 17 Exhibit 237 # 18
                                                   Exhibit 238 # 19 Exhibit 240) (Cavenaugh,
 12/12/2020                                        Matthew) (Entered: 12/12/2020)

                            2305                   Sealed Document Debtors' Exhibits 285-289,
                                                   292 and 293 for Confirmation Hearing Set
                            (8 pgs; 8 docs)        December 15, 2020 (Filed By Chesapeake
                                                   Energy Corporation ). (Attachments: # 1
                                                   Exhibit 286 # 2 Exhibit 287 # 3 Exhibit 288 # 4
                                                   Exhibit 289 # 5 Exhibit 292 # 6 Exhibit 293 # 7
                                                   Exhibit 297) (Peguero, Kristhy) (Entered:
 12/12/2020                                        12/12/2020)

                            2306                   Sealed Document Debtors Exhibits 191-205 for
                                                   Confirmation Hearing Set December 15, 2020
                            (248 pgs; 16 docs)     (Filed By Chesapeake Energy Corporation ).
                                                   (Attachments: # 1 Exhibit 191 # 2 Exhibit 192
                                                   # 3 Exhibit 193 # 4 Exhibit 194 # 5 Exhibit 195
                                                   # 6 Exhibit 196 # 7 Exhibit 197 # 8 Exhibit 198
                                                   # 9 Exhibit 199 # 10 Exhibit 200 # 11 Exhibit
                                                   201 # 12 Exhibit 202 # 13 Exhibit 203 # 14
                                                   Exhibit 204 # 15 Exhibit 205) (Polnick,
 12/12/2020                                        Veronica) (Entered: 12/12/2020)

                            2307                   Sealed Document Debtors' Exhibits 153-157,
                                                   159, 162-169 for Confirmation Hearing Set
                            (338 pgs; 14 docs)     December 15, 2020 (Filed By Chesapeake
                                                   Energy Corporation ). (Attachments: # 1
                                                   Exhibit 154 # 2 Exhibit 155 # 3 Exhibit 156 # 4
                                                   Exhibit 157 # 5 Exhibit 159 # 6 Exhibit 162 # 7
                                                   Exhibit 163 # 8 Exhibit 164 # 9 Exhibit 165 #
                                                   10 Exhibit 166 # 11 Exhibit 167 # 12 Exhibit
                                                   168 # 13 Exhibit 169) (Graham, Genevieve)
 12/12/2020                                        (Entered: 12/12/2020)

                            2308
                                                   Sealed Document Debtors' Exhibits 241-258,
                                                   261, 263, 266-271 for Confirmation Hearing
                            (441 pgs; 27 docs)
                                                   Set December 15, 2020 (Filed By Chesapeake
                                                   Energy Corporation ). (Attachments: # 1
                                                   Exhibit 242 # 2 Exhibit 243 # 3 Exhibit 244 # 4
                                                   Exhibit 245 # 5 Exhibit 246 # 6 Exhibit 247 # 7
                                                   Exhibit 248 # 8 Exhibit 249 # 9 Exhibit 250 #
                                                   10 Exhibit 251 # 11 Exhibit 252 # 12 Exhibit
                                                   253 # 13 Exhibit 254 # 14 Exhibit 255 # 15




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 358 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 358 of 1639
                                                                           0358


                                                   Exhibit 256 # 16 Exhibit 257 # 17 Exhibit 258
                                                   # 18 Exhibit 261 # 19 Exhibit 263 # 20 Exhibit
                                                   265 # 21 Exhibit 266 # 22 Exhibit 267 # 23
                                                   Exhibit 268 # 24 Exhibit 269 # 25 Exhibit 270
                                                   # 26 Exhibit 271) (Cavenaugh, Matthew)
 12/12/2020                                        (Entered: 12/12/2020)

                            2309                   Sealed Document Debtors Exhibits 206-218 for
                                                   Confirmation Hearing Set December 15, 2020
                            (276 pgs; 13 docs)     (Filed By Chesapeake Energy Corporation ).
                                                   (Attachments: # 1 Exhibit 207 # 2 Exhibit 208
                                                   # 3 Exhibit 209 # 4 Exhibit 210 # 5 Exhibit 211
                                                   # 6 Exhibit 212 # 7 Exhibit 213 # 8 Exhibit 214
                                                   # 9 Exhibit 215 # 10 Exhibit 216 # 11 Exhibit
                                                   217 # 12 Exhibit 218) (Polnick, Veronica)
 12/12/2020                                        (Entered: 12/12/2020)

                            2310                   Sealed Document Debtors' Exhibits 298, 304,
                                                   306, 314-320, 324,341, 346-350, 361, 364-372,
                            (257 pgs; 35 docs)     374, 375, 377-380, 388, 389, and 400 (Filed By
                                                   Chesapeake Energy Corporation ).
                                                   (Attachments: # 1 Exhibit 304 # 2 Exhibit 306
                                                   # 3 Exhibit 314 # 4 Exhibit 315 # 5 Exhibit 316
                                                   # 6 Exhibit 317 # 7 Exhibit 318 # 8 Exhibit 319
                                                   # 9 Exhibit 320 # 10 Exhibit 324 # 11 Exhibit
                                                   341 # 12 Exhibit 346 # 13 Exhibit 347 # 14
                                                   Exhibit 348 # 15 Exhibit 349 # 16 Exhibit 350
                                                   # 17 Exhibit 361 # 18 Exhibit 364 # 19 Exhibit
                                                   365 # 20 Exhibit 367 # 21 Exhibit 368 # 22
                                                   Exhibit 369 # 23 Exhibit 370 # 24 Exhibit 371
                                                   # 25 Exhibit 372 # 26 Exhibit 374 # 27 Exhibit
                                                   375 # 28 Exhibit 377 # 29 Exhibit 378 # 30
                                                   Exhibit 379 # 31 Exhibit 380 # 32 Exhibit 388
                                                   # 33 Exhibit 389 # 34 Exhibit 400) (Peguero,
 12/12/2020                                        Kristhy) (Entered: 12/12/2020)

                            2311
                                                   Sealed Motion Debtors' Sealed Exhibits 63, 64,
                            (380 pgs; 33 docs)     65, 66, 67, 69, 70, 71, 72, 73, 74, 76, 78, 79,
                                                   80, 81, 82, 83, 84, 85, 87, 89, 90, 91, 93, 94,
                                                   95, 96, 97, 98, 99, 100 Filed by Debtor
                                                   Chesapeake Energy Corporation (Attachments:
                                                   # 1 Exhibit 64 # 2 Exhibit 65 # 3 Exhibit 66 # 4
                                                   Exhibit 67 # 5 Exhibit 69 # 6 Exhibit 70 # 7
                                                   Exhibit 71 # 8 Exhibit 72 # 9 73 # 10 74 # 11
                                                   Exhibit 75 # 12 Exhibit 76 # 13 Exhibit 78 # 14
                                                   79 # 15 Exhibit 80 # 16 Exhibit 81 # 17 Exhibit
                                                   82 # 18 Exhibit 83 # 19 Exhibit 84 # 20 Exhibit




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 359 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 359 of 1639
                                                                           0359


                                                   85 # 21 Exhibit 87 # 22 Exhibit 89 # 23 Exhibit
                                                   90 # 24 Exhibit 91 # 25 Exhibit 93 # 26 Exhibit
                                                   94 # 27 Exhibit 95 # 28 Exhibit 96 # 29 Exhibit
                                                   97 # 30 Exhibit 98 # 31 Exhibit 99 # 32 Exhibit
 12/12/2020                                        100) (Wertz, Jennifer) (Entered: 12/12/2020)

                            2312                   Notice of Amended Plan Supplement for the
                                                   Second Amended Joint Chapter 11 Plan of
                            (51 pgs)               Reorganization of Chesapeake Energy
                                                   Corporation and its Debtor Affiliates. (Related
                                                   document(s):1599 Amended Chapter 11 Plan)
                                                   Filed by Chesapeake Energy Corporation
 12/12/2020                                        (Cavenaugh, Matthew) (Entered: 12/12/2020)

                            2313                   Witness List, Exhibit List (Filed By Official
                                                   Committee Of Unsecured Creditors ).(Related
                            (72 pgs)               document(s):2195 Witness List) (Harrison,
 12/13/2020                                        Julie) (Entered: 12/13/2020)

                            2314                   Additional Attachments Re: UCC Exhibits 1-50
                                                   (related document(s):2313 Witness List,
                            (536 pgs; 51 docs)     Exhibit List) (Filed By Official Committee Of
                                                   Unsecured Creditors ).(Related document
                                                   (s):2313 Witness List, Exhibit List)
                                                   (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3
                                                   Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6
                                                   Exhibit 6 # 7 Exhibit 7 # 8 Exhibit 8 # 9
                                                   Exhibit 9 # 10 Exhibit 10 # 11 Exhibit 11 # 12
                                                   Exhibit 12 # 13 Exhibit 13 # 14 Exhibit 14 # 15
                                                   Exhibit 15 # 16 Exhibit 16 # 17 Exhibit 17 # 18
                                                   Exhibit 18 # 19 Exhibit 19 # 20 Exhibit 20 # 21
                                                   Exhibit 21 # 22 Exhibit 22 # 23 Exhibit 23 # 24
                                                   Exhibit 24 # 25 Exhibit 25 # 26 Exhibit 26 # 27
                                                   Exhibit 27 # 28 Exhibit 28 # 29 Exhibit 29 # 30
                                                   Exhibit 30 # 31 Exhibit 31 # 32 Exhibit 32 # 33
                                                   Exhibit 33 # 34 Exhibit 34 # 35 Exhibit 35 # 36
                                                   Exhibit 36 # 37 Exhibit 37 # 38 Exhibit 38 # 39
                                                   Exhibit 39 # 40 Exhibit 40 # 41 Exhibit 41 # 42
                                                   Exhibit 42 # 43 Exhibit 43 # 44 Exhibit 44 # 45
                                                   Exhibit 45 # 46 Exhibit 46 # 47 Exhibit 47 # 48
                                                   Exhibit 48 # 49 Exhibit 49 # 50 Exhibit 50)
 12/13/2020                                        (Harrison, Julie) (Entered: 12/13/2020)

                            2315
                                                   Additional Attachments Re: UCC Exhibits 51-
                                                   100 (related document(s):2313 Witness List,
                            (75 pgs; 51 docs)
                                                   Exhibit List) (Filed By Official Committee Of
                                                   Unsecured Creditors ).(Related document




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 360 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 360 of 1639
                                                                           0360


                                                   (s):2313 Witness List, Exhibit List)
                                                   (Attachments: # 1 Exhibit 51 # 2 Exhibit 52 # 3
                                                   Exhibit 53 # 4 Exhibit 54 # 5 Exhibit 55 # 6
                                                   Exhibit 56 # 7 Exhibit 57 # 8 Exhibit 58 # 9
                                                   Exhibit 59 # 10 Exhibit 60 # 11 Exhibit 61 # 12
                                                   Exhibit 62 # 13 Exhibit 63 # 14 Exhibit 64 # 15
                                                   Exhibit 65 # 16 Exhibit 66 # 17 Exhibit 67 # 18
                                                   Exhibit 68 # 19 Exhibit 69 # 20 Exhibit 70 # 21
                                                   Exhibit 71 # 22 Exhibit 72 # 23 Exhibit 73 # 24
                                                   Exhibit 74 # 25 Exhibit 75 # 26 Exhibit 76 # 27
                                                   Exhibit 77 # 28 Exhibit 78 # 29 Exhibit 79 # 30
                                                   Exhibit 80 # 31 Exhibit 81 # 32 Exhibit 82 # 33
                                                   Exhibit 83 # 34 Exhibit 84 # 35 Exhibit 85 # 36
                                                   Exhibit 86 # 37 Exhibit 87 # 38 Exhibit 88 # 39
                                                   Exhibit 89 # 40 Exhibit 90 # 41 Exhibit 91 # 42
                                                   Exhibit 92 # 43 Exhibit 93 # 44 Exhibit 94 # 45
                                                   Exhibit 95 # 46 Exhibit 96 # 47 Exhibit 97 # 48
                                                   Exhibit 98 # 49 Exhibit 99 # 50 Exhibit 100)
 12/13/2020                                        (Harrison, Julie) (Entered: 12/13/2020)

                            2316                   Additional Attachments Re: UCC Exhibits 101-
                                                   150 (related document(s):2313 Witness List,
                            (59 pgs; 51 docs)      Exhibit List) (Filed By Official Committee Of
                                                   Unsecured Creditors ).(Related document
                                                   (s):2313 Witness List, Exhibit List)
                                                   (Attachments: # 1 Exhibit 101 # 2 Exhibit 102
                                                   # 3 Exhibit 103 # 4 Exhibit 104 # 5 Exhibit 105
                                                   # 6 Exhibit 106 # 7 Exhibit 107 # 8 Exhibit 108
                                                   # 9 Exhibit 109 # 10 Exhibit 110 # 11 Exhibit
                                                   111 # 12 Exhibit 112 # 13 Exhibit 113 # 14
                                                   Exhibit 114 # 15 Exhibit 115 # 16 Exhibit 116
                                                   # 17 Exhibit 117 # 18 Exhibit 118 # 19 Exhibit
                                                   119 # 20 Exhibit 120 # 21 Exhibit 121 # 22
                                                   Exhibit 122 # 23 Exhibit 123 # 24 Exhibit 124
                                                   # 25 Exhibit 125 # 26 Exhibit 126 # 27 Exhibit
                                                   127 # 28 Exhibit 128 # 29 Exhibit 129 # 30
                                                   Exhibit 130 # 31 Exhibit 131 # 32 Exhibit 132
                                                   # 33 Exhibit 133 # 34 Exhibit 134 # 35 Exhibit
                                                   135 # 36 Exhibit 136 # 37 Exhibit 137 # 38
                                                   Exhibit 138 # 39 Exhibit 139 # 40 Exhibit 140
                                                   # 41 Exhibit 141 # 42 Exhibit 142 # 43 Exhibit
                                                   143 # 44 Exhibit 144 # 45 Exhibit 145 # 46
                                                   Exhibit 146 # 47 Exhibit 147 # 48 Exhibit 148
                                                   # 49 Exhibit 149 # 50 Exhibit 150) (Harrison,
 12/13/2020                                        Julie) (Entered: 12/13/2020)

                            2317
                                                   Additional Attachments Re: UCC Exhibits 151-




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 361 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 361 of 1639
                                                                           0361


                                                   200 (related document(s):2313 Witness List,
                            (368 pgs; 51 docs)     Exhibit List) (Filed By Official Committee Of
                                                   Unsecured Creditors ).(Related document
                                                   (s):2313 Witness List, Exhibit List)
                                                   (Attachments: # 1 Exhibit 151 # 2 Exhibit 152
                                                   # 3 Exhibit 153 # 4 Exhibit 154 # 5 Exhibit 155
                                                   # 6 Exhibit 156 # 7 Exhibit 157 # 8 Exhibit 158
                                                   # 9 Exhibit 159 # 10 Exhibit 160 # 11 Exhibit
                                                   161 # 12 Exhibit 162 # 13 Exhibit 163 # 14
                                                   Exhibit 164 # 15 Exhibit 165 # 16 Exhibit 166
                                                   # 17 Exhibit 167 # 18 Exhibit 168 # 19 Exhibit
                                                   169 # 20 Exhibit 170 # 21 Exhibit 171 # 22
                                                   Exhibit 172 # 23 Exhibit 173 # 24 Exhibit 174
                                                   # 25 Exhibit 175 # 26 Exhibit 176 # 27 Exhibit
                                                   177 # 28 Exhibit 178 # 29 Exhibit 179 # 30
                                                   Exhibit 180 # 31 Exhibit 181 # 32 Exhibit 182
                                                   # 33 Exhibit 183 # 34 Exhibit 184 # 35 Exhibit
                                                   185 # 36 Exhibit 186 # 37 Exhibit 187 # 38
                                                   Exhibit 188 # 39 Exhibit 189 # 40 Exhibit 190
                                                   # 41 Exhibit 191 # 42 Exhibit 192 # 43 Exhibit
                                                   193 # 44 Exhibit 194 # 45 Exhibit 195 # 46
                                                   Exhibit 196 # 47 Exhibit 197 # 48 Exhibit 198
                                                   # 49 Exhibit 199 # 50 Exhibit 200) (Harrison,
 12/13/2020                                        Julie) (Entered: 12/13/2020)

                            2318                   Additional Attachments Re: UCC Exhibits 201-
                                                   250 (related document(s):2313 Witness List,
                            (51 pgs; 51 docs)      Exhibit List) (Filed By Official Committee Of
                                                   Unsecured Creditors ).(Related document
                                                   (s):2313 Witness List, Exhibit List)
                                                   (Attachments: # 1 Exhibit 201 # 2 Exhibit 202 #
                                                   3 Exhibit 203 # 4 Exhibit 204 # 5 Exhibit 205 #
                                                   6 Exhibit 206 # 7 Exhibit 207 # 8 Exhibit 208 #
                                                   9 Exhibit 209 # 10 Exhibit 210 # 11 Exhibit 211
                                                   # 12 Exhibit 212 # 13 Exhibit 213 # 14 Exhibit
                                                   214 # 15 Exhibit 215 # 16 Exhibit 216 # 17
                                                   Exhibit 217 # 18 Exhibit 218 # 19 Exhibit 219 #
                                                   20 Exhibit 220 # 21 Exhibit 221 # 22 Exhibit
                                                   222 # 23 Exhibit 223 # 24 Exhibit 224 # 25
                                                   Exhibit 225 # 26 Exhibit 226 # 27 Exhibit 227 #
                                                   28 Exhibit 228 # 29 Exhibit 229 # 30 Exhibit
                                                   230 # 31 Exhibit 231 # 32 Exhibit 232 # 33
                                                   Exhibit 233 # 34 Exhibit 234 # 35 Exhibit 235 #
                                                   36 Exhibit 236 # 37 Exhibit 237 # 38 Exhibit
                                                   238 # 39 Exhibit 239 # 40 Exhibit 240 # 41
                                                   Exhibit 241 # 42 Exhibit 242 # 43 Exhibit 243 #
                                                   44 Exhibit 244 # 45 Exhibit 245 # 46 Exhibit
                                                   246 # 47 Exhibit 247 # 48 Exhibit 248 # 49




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 362 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 362 of 1639
                                                                           0362


                                                   Exhibit 249 # 50 Exhibit 250) (Mokrzycka,
 12/13/2020                                        Maria) (Entered: 12/13/2020)

                            2319                   Additional Attachments Re: UCC Exhibits 251-
                                                   300 (related document(s):2313 Witness List,
                            (2858 pgs; 52 docs)    Exhibit List) (Filed By Official Committee Of
                                                   Unsecured Creditors ).(Related document
                                                   (s):2313 Witness List, Exhibit List)
                                                   (Attachments: # 1 Exhibit 251 # 2 Exhibit 252
                                                   # 3 Exhibit 253 # 4 Exhibit 254 # 5 Exhibit 255
                                                   # 6 Exhibit 256 # 7 Exhibit 257 # 8 Exhibit 258
                                                   # 9 Exhibit 259 (part1) # 10 Exhibit 259 (part
                                                   2) # 11 Exhibit 260 # 12 Exhibit 261 # 13
                                                   Exhibit 262 # 14 Exhibit 263 # 15 Exhibit 264
                                                   # 16 Exhibit 265 # 17 Exhibit 266 # 18 Exhibit
                                                   267 # 19 Exhibit 268 # 20 Exhibit 269 # 21
                                                   Exhibit 270 # 22 Exhibit 271 # 23 Exhibit 272
                                                   # 24 Exhibit 273 # 25 Exhibit 274 # 26 Exhibit
                                                   275 # 27 Exhibit 276 # 28 Exhibit 277 # 29
                                                   Exhibit 278 # 30 Exhibit 279 # 31 Exhibit 280
                                                   # 32 Exhibit 281 # 33 Exhibit 282 # 34 Exhibit
                                                   283 # 35 Exhibit 284 # 36 Exhibit 285 # 37
                                                   Exhibit 286 # 38 Exhibit 287 # 39 Exhibit 288
                                                   # 40 Exhibit 289 # 41 Exhibit 290 # 42 Exhibit
                                                   291 # 43 Exhibit 292 # 44 Exhibit 293 # 45
                                                   Exhibit 294 # 46 Exhibit 295 # 47 Exhibit 296
                                                   # 48 Exhibit 297 # 49 Exhibit 298 # 50 Exhibit
                                                   299 # 51 Exhibit 300) (Mokrzycka, Maria)
 12/13/2020                                        (Entered: 12/13/2020)

                            2320
                                                   Additional Attachments Re: UCC Exhibits 301-
                            (670 pgs; 51 docs)     350 (related document(s):2313 Witness List,
                                                   Exhibit List) (Filed By Official Committee Of
                                                   Unsecured Creditors ).(Related document
                                                   (s):2313 Witness List, Exhibit List)
                                                   (Attachments: # 1 Exhibit 301 # 2 Exhibit 302 #
                                                   3 Exhibit 303 # 4 Exhibit 304 # 5 Exhibit 305 #
                                                   6 Exhibit 306 # 7 Exhibit 307 # 8 Exhibit 308 #
                                                   9 Exhibit 309 # 10 Exhibit 310 # 11 Exhibit 311
                                                   # 12 Exhibit 312 # 13 Exhibit 313 # 14 Exhibit
                                                   314 # 15 Exhibit 315 # 16 Exhibit 316 # 17
                                                   Exhibit 317 # 18 Exhibit 318 # 19 Exhibit 319 #
                                                   20 Exhibit 320 # 21 Exhibit 321 # 22 Exhibit
                                                   322 # 23 Exhibit 323 # 24 Exhibit 324 # 25
                                                   Exhibit 325 # 26 Exhibit 326 # 27 Exhibit 327 #
                                                   28 Exhibit 328 # 29 Exhibit 329 # 30 Exhibit
                                                   330 # 31 Exhibit 331 # 32 Exhibit 332 # 33




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 363 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 363 of 1639
                                                                           0363


                                                   Exhibit 333 # 34 Exhibit 334 # 35 Exhibit 335
                                                   # 36 Exhibit 336 # 37 Exhibit 337 # 38 Exhibit
                                                   338 # 39 Exhibit 339 # 40 Exhibit 340 # 41
                                                   Exhibit 341 # 42 Exhibit 342 # 43 Exhibit 343
                                                   # 44 Exhibit 344 # 45 Exhibit 345 # 46 Exhibit
                                                   346 # 47 Exhibit 347 # 48 Exhibit 348 # 49
                                                   Exhibit 349 # 50 Exhibit 350) (Mokrzycka,
 12/13/2020                                        Maria) (Entered: 12/13/2020)

                            2321                   Additional Attachments Re: UCC Exhibits 351-
                                                   400 (related document(s):2313 Witness List,
                            (4521 pgs; 51 docs)    Exhibit List) (Filed By Official Committee Of
                                                   Unsecured Creditors ).(Related document
                                                   (s):2313 Witness List, Exhibit List)
                                                   (Attachments: # 1 Exhibit 351 # 2 Exhibit 352
                                                   # 3 Exhibit 353 # 4 Exhibit 354 # 5 Exhibit 355
                                                   # 6 Exhibit 356 # 7 Exhibit 357 # 8 Exhibit 358
                                                   # 9 Exhibit 359 # 10 Exhibit 360 # 11 Exhibit
                                                   361 # 12 Exhibit 362 # 13 Exhibit 363 # 14
                                                   Exhibit 364 # 15 Exhibit 365 # 16 Exhibit 366
                                                   # 17 Exhibit 367 # 18 Exhibit 368 # 19 Exhibit
                                                   369 # 20 Exhibit 370 # 21 Exhibit 371 # 22
                                                   Exhibit 372 # 23 Exhibit 373 # 24 Exhibit 374
                                                   # 25 Exhibit 375 # 26 Exhibit 376 # 27 Exhibit
                                                   377 # 28 Exhibit 378 # 29 Exhibit 379 # 30
                                                   Exhibit 380 # 31 Exhibit 381 # 32 Exhibit 382
                                                   # 33 Exhibit 383 # 34 Exhibit 384 # 35 Exhibit
                                                   385 # 36 Exhibit 386 # 37 Exhibit 387 # 38
                                                   Exhibit 388 # 39 Exhibit 389 # 40 Exhibit 390
                                                   # 41 Exhibit 391 # 42 Exhibit 392 # 43 Exhibit
                                                   393 # 44 Exhibit 394 # 45 Exhibit 395 # 46
                                                   Exhibit 396 # 47 Exhibit 397 # 48 Exhibit 398
                                                   # 49 Exhibit 399 # 50 Exhibit 400)
 12/13/2020                                        (Mokrzycka, Maria) (Entered: 12/13/2020)

                            2322                   Exhibit List (Filed By Chesapeake Energy
                                                   Corporation ).(Related document(s):2290
                            (3042 pgs; 8 docs)     Witness List, Exhibit List) (Attachments: # 1
                                                   Exhibit 343 # 2 Exhibit 344 # 3 Exhibit 345 # 4
                                                   Exhibit 362 # 5 Exhibit 363 # 6 Exhibit 366 # 7
                                                   Exhibit 387) (Cavenaugh, Matthew) (Entered:
 12/13/2020                                        12/13/2020)

                            2323
                                                   Additional Attachments Re: UCC Exhibits
                            (8030 pgs; 51 docs)    0401-0450 (related document(s):2313 Witness
                                                   List, Exhibit List) (Filed By Official
                                                   Committee Of Unsecured Creditors ).(Related




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 364 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 364 of 1639
                                                                           0364


                                                   document(s):2313 Witness List, Exhibit List)
                                                   (Attachments: # 1 Exhibit 401 # 2 Exhibit 402
                                                   # 3 Exhibit 403 # 4 Exhibit 404 # 5 Exhibit 405
                                                   # 6 Exhibit 406 # 7 Exhibit 407 # 8 Exhibit 408
                                                   # 9 Exhibit 409 # 10 Exhibit 410 # 11 Exhibit
                                                   411 # 12 Exhibit 412 # 13 Exhibit 413 # 14
                                                   Exhibit 414 # 15 415 # 16 Exhibit 416 # 17
                                                   Exhibit 417 # 18 Exhibit 418 # 19 Exhibit 419
                                                   # 20 Exhibit 420 # 21 Exhibit 421 # 22 Exhibit
                                                   422 # 23 Exhibit 423 # 24 Exhibit 424 # 25
                                                   Exhibit 425 # 26 Exhibit 426 # 27 Exhibit 427
                                                   # 28 Exhibit 428 # 29 Exhibit 429 # 30 Exhibit
                                                   430 # 31 Exhibit 431 # 32 Exhibit 432 # 33
                                                   Exhibit 433 # 34 Exhibit 434 # 35 Exhibit 435
                                                   # 36 Exhibit 436 # 37 Exhibit 437 # 38 Exhibit
                                                   438 # 39 Exhibit 439 # 40 Exhibit 440 # 41
                                                   Exhibit 441 # 42 Exhibit 442 # 43 Exhibit 443
                                                   # 44 Exhibit 444 # 45 Exhibit 445 # 46 Exhibit
                                                   446 # 47 Exhibit 447 # 48 Exhibit 448 # 49
                                                   Exhibit 449 # 50 Exhibit 450) (Boland, Jason)
 12/13/2020                                        (Entered: 12/13/2020)

                            2324                   Exhibit List, Witness List (Filed By MUFG
                                                   Union Bank, N.A. ).(Related document(s):2313
                            (4 pgs)                Witness List, Exhibit List) (Quejada, Maegan)
 12/13/2020                                        (Entered: 12/13/2020)

                            2325
                                                   Additional Attachments Re: UCC Exhibits 451-
                            (5428 pgs; 51 docs)    500 (related document(s):2313 Witness List,
                                                   Exhibit List) (Filed By Official Committee Of
                                                   Unsecured Creditors ).(Related document
                                                   (s):2313 Witness List, Exhibit List)
                                                   (Attachments: # 1 Exhibit 451 # 2 Exhibit 452 #
                                                   3 Exhibit 453 # 4 Exhibit 454 # 5 Exhibit 455 #
                                                   6 Exhibit 456 # 7 Exhibit 457 # 8 Exhibit 458 #
                                                   9 Exhibit 459 # 10 Exhibit 460 # 11 Exhibit 461
                                                   # 12 Exhibit 462 # 13 Exhibit 463 # 14 Exhibit
                                                   464 # 15 Exhibit 465 # 16 Exhibit 466 # 17
                                                   Exhibit 467 # 18 Exhibit 468 # 19 Exhibit 469 #
                                                   20 Exhibit 470 # 21 Exhibit 471 # 22 Exhibit
                                                   472 # 23 Exhibit 473 # 24 Exhibit 474 # 25
                                                   Exhibit 475 # 26 Exhibit 476 # 27 Exhibit 477 #
                                                   28 Exhibit 478 # 29 Exhibit 479 # 30 Exhibit
                                                   480 # 31 Exhibit 481 # 32 Exhibit 482 # 33
                                                   Exhibit 483 # 34 Exhibit 484 # 35 Exhibit 485 #
                                                   36 Exhibit 486 # 37 Exhibit 487 # 38 Exhibit
                                                   488 # 39 Exhibit 489 # 40 Exhibit 490 # 41




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 365 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 365 of 1639
                                                                           0365


                                                   Exhibit 491 # 42 Exhibit 492 # 43 Exhibit 493
                                                   # 44 Exhibit 494 # 45 Exhibit 495 # 46 Exhibit
                                                   496 # 47 Exhibit 497 # 48 Exhibit 498 # 49
                                                   Exhibit 499 # 50 Exhibit 500) (Boland, Jason)
 12/13/2020                                        (Entered: 12/13/2020)

                            2326                   Additional Attachments Re: UCC Exhibits 501-
                                                   550 (related document(s):2313 Witness List,
                            (1633 pgs; 51 docs)    Exhibit List) (Filed By Official Committee Of
                                                   Unsecured Creditors ).(Related document
                                                   (s):2313 Witness List, Exhibit List)
                                                   (Attachments: # 1 Exhibit 501 # 2 Exhibit 502
                                                   # 3 Exhibit 503 # 4 Exhibit 504 # 5 Exhibit 505
                                                   # 6 Exhibit 506 # 7 Exhibit 507 # 8 Exhibit 508
                                                   # 9 Exhibit 509 # 10 Exhibit 510 # 11 Exhibit
                                                   511 # 12 Exhibit 512 # 13 Exhibit 513 # 14
                                                   Exhibit 514 # 15 Exhibit 515 # 16 Exhibit 516
                                                   # 17 Exhibit 517 # 18 Exhibit 518 # 19 Exhibit
                                                   519 # 20 Exhibit 520 # 21 Exhibit 521 # 22
                                                   Exhibit 522 # 23 Exhibit 523 # 24 Exhibit 524
                                                   # 25 Exhibit 525 # 26 Exhibit 526 # 27 Exhibit
                                                   527 # 28 Exhibit 528 # 29 Exhibit 529 # 30
                                                   Exhibit 530 # 31 Exhibit 531 # 32 Exhibit 532
                                                   # 33 Exhibit 533 # 34 Exhibit 534 # 35 Exhibit
                                                   535 # 36 Exhibit 536 # 37 Exhibit 537 # 38
                                                   Exhibit 538 # 39 Exhibit 539 # 40 Exhibit 540
                                                   # 41 Exhibit 541 # 42 Exhibit 542 # 43 Exhibit
                                                   543 # 44 Exhibit 544 # 45 Exhibit 545 # 46
                                                   Exhibit 546 # 47 Exhibit 547 # 48 Exhibit 548
                                                   # 49 Exhibit 549 # 50 Exhibit 550) (Harrison,
 12/13/2020                                        Julie) (Entered: 12/13/2020)

                            2327
                                                   Additional Attachments Re: UCC Exhibits 551-
                            (2502 pgs; 51 docs)    600 (related document(s):2313 Witness List,
                                                   Exhibit List) (Filed By Official Committee Of
                                                   Unsecured Creditors ).(Related document
                                                   (s):2313 Witness List, Exhibit List)
                                                   (Attachments: # 1 Exhibit 551 # 2 Exhibit 552 #
                                                   3 Exhibit 553 # 4 Exhibit 554 # 5 Exhibit 555 #
                                                   6 Exhibit 556 # 7 Exhibit 557 # 8 Exhibit 558 #
                                                   9 Exhibit 559 # 10 Exhibit 560 # 11 Exhibit 561
                                                   # 12 Exhibit 562 # 13 Exhibit 563 # 14 Exhibit
                                                   564 # 15 Exhibit 565 # 16 Exhibit 566 # 17
                                                   Exhibit 567 # 18 Exhibit 568 # 19 Exhibit 569 #
                                                   20 Exhibit 570 # 21 Exhibit 571 # 22 Exhibit
                                                   572 # 23 Exhibit 573 # 24 Exhibit 574 # 25
                                                   Exhibit 575 # 26 Exhibit 576 # 27 Exhibit 577 #




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 366 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 366 of 1639
                                                                           0366


                                                   28 Exhibit 578 # 29 Exhibit 579 # 30 Exhibit
                                                   580 # 31 Exhibit 581 # 32 Exhibit 582 # 33
                                                   Exhibit 583 # 34 Exhibit 584 # 35 Exhibit 585
                                                   # 36 Exhibit 586 # 37 Exhibit 587 # 38 Exhibit
                                                   588 # 39 Exhibit 589 # 40 Exhibit 590 # 41
                                                   Exhibit 591 # 42 Exhibit 592 # 43 Exhibit 593
                                                   # 44 Exhibit 594 # 45 Exhibit 595 # 46 Exhibit
                                                   596 # 47 Exhibit 597 # 48 Exhibit 598 # 49
                                                   Exhibit 599 # 50 Exhibit 600) (Gluck, Kristian)
 12/13/2020                                        (Entered: 12/13/2020)

                            2328                   Additional Attachments Re: UCC Exhibits 601-
                                                   650 (related document(s):2313 Witness List,
                            (503 pgs; 51 docs)     Exhibit List) (Filed By Official Committee Of
                                                   Unsecured Creditors ).(Related document
                                                   (s):2313 Witness List, Exhibit List)
                                                   (Attachments: # 1 Exhibit 601 # 2 Exhibit 602
                                                   # 3 Exhibit 603 # 4 Exhibit 604 # 5 Exhibit 605
                                                   # 6 Exhibit 606 # 7 Exhibit 607 # 8 Exhibit 608
                                                   # 9 Exhibit 609 # 10 Exhibit 610 # 11 Exhibit
                                                   611 # 12 Exhibit 612 # 13 Exhibit 613 # 14
                                                   Exhibit 614 # 15 Exhibit 615 # 16 Exhibit 616
                                                   # 17 Exhibit 617 # 18 Exhibit 618 # 19 Exhibit
                                                   619 # 20 Exhibit 620 # 21 Exhibit 621 # 22
                                                   Exhibit 622 # 23 Exhibit 623 # 24 Exhibit 624
                                                   # 25 Exhibit 625 # 26 Exhibit 626 # 27 Exhibit
                                                   627 # 28 Exhibit 628 # 29 Exhibit 629 # 30
                                                   Exhibit 630 # 31 Exhibit 631 # 32 Exhibit 632
                                                   # 33 Exhibit 633 # 34 Exhibit 634 # 35 Exhibit
                                                   635 # 36 Exhibit 636 # 37 Exhibit 637 # 38
                                                   Exhibit 638 # 39 Exhibit 639 # 40 Exhibit 640
                                                   # 41 Exhibit 641 # 42 Exhibit 642 # 43 Exhibit
                                                   643 # 44 Exhibit 644 # 45 Exhibit 645 # 46
                                                   Exhibit 646 # 47 Exhibit 647 # 48 Exhibit 648
                                                   # 49 Exhibit 649 # 50 Exhibit 650) (Bruner,
 12/13/2020                                        Robert) (Entered: 12/13/2020)

                            2329
                                                   Additional Attachments Re: UCC Exhibits 651-
                            (1684 pgs; 51 docs)    700 (related document(s):2313 Witness List,
                                                   Exhibit List) (Filed By Official Committee Of
                                                   Unsecured Creditors ).(Related document
                                                   (s):2313 Witness List, Exhibit List)
                                                   (Attachments: # 1 Exhibit 651 # 2 Exhibit 652 #
                                                   3 Exhibit 653 # 4 Exhibit 654 # 5 Exhibit 655 #
                                                   6 Exhibit 656 # 7 Exhibit 657 # 8 Exhibit 658 #
                                                   9 Exhibit 659 # 10 Exhibit 660 # 11 Exhibit 661
                                                   # 12 Exhibit 662 # 13 Exhibit 663 # 14 Exhibit




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 367 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 367 of 1639
                                                                           0367


                                                   664 # 15 Exhibit 665 # 16 Exhibit 666 # 17
                                                   Exhibit 667 # 18 Exhibit 668 # 19 Exhibit 669
                                                   # 20 Exhibit 670 # 21 Exhibit 671 # 22 Exhibit
                                                   672 # 23 Exhibit 673 # 24 Exhibit 674 # 25
                                                   Exhibit 675 # 26 Exhibit 676 # 27 Exhibit 677
                                                   # 28 Exhibit 678 # 29 Exhibit 679 # 30 Exhibit
                                                   680 # 31 Exhibit 681 # 32 Exhibit 683 # 33
                                                   Exhibit 684 # 34 Exhibit 685 # 35 Exhibit 686
                                                   # 36 Exhibit 687 # 37 Exhibit 688 # 38 Exhibit
                                                   689 # 39 Exhibit 690 # 40 Exhibit 691 # 41
                                                   Exhibit 692 Pt. 1 # 42 Exhibit 692 Pt. 2 # 43
                                                   Exhibit 693 # 44 Exhibit 694 # 45 Exhibit 695
                                                   # 46 Exhibit 696 # 47 Exhibit 697 # 48 Exhibit
                                                   698 # 49 Exhibit 699 # 50 Exhibit 700)
 12/13/2020                                        (Harrison, Julie) (Entered: 12/13/2020)

                            2330                   Exhibit List (Filed By Stephanie Delasandro ).
                                                   (Related document(s):1175 Motion to
                            (11 pgs; 8 docs)       Reconsider, 1293 Motion for Relief From Stay)
                                                   (Attachments: # 1 Exhibit 27.4 # 2 Exhibit 33.2
                                                   # 3 Exhibit 33.3 # 4 Exhibit 33.4 # 5 Exhibit
                                                   33.5 # 6 Exhibit 33.6 # 7 Exhibit 33.7)
 12/13/2020                                        (Warman, Lynnette) (Entered: 12/13/2020)

                            2331
                                                   Additional Attachments Re: UCC Exhibits 701-
                            (892 pgs; 51 docs)     750 (related document(s):2313 Witness List,
                                                   Exhibit List) (Filed By Official Committee Of
                                                   Unsecured Creditors ).(Related document
                                                   (s):2313 Witness List, Exhibit List)
                                                   (Attachments: # 1 Exhibit 701 # 2 Exhibit 702 #
                                                   3 Exhibit 703 # 4 Exhibit 704 # 5 Exhibit 705 #
                                                   6 Exhibit 706 # 7 Exhibit 707 # 8 Exhibit 708 #
                                                   9 Exhibit 709 # 10 Exhibit 710 # 11 Exhibit 711
                                                   # 12 Exhibit 712 # 13 Exhibit 713 # 14 Exhibit
                                                   714 # 15 Appendix 715 # 16 Appendix 716 #
                                                   17 Exhibit 717 # 18 Exhibit 718 # 19 Exhibit
                                                   719 # 20 Exhibit 720 # 21 Exhibit 721 # 22
                                                   Exhibit 722 # 23 Exhibit 723 # 24 Exhibit 724 #
                                                   25 Exhibit 725 # 26 Exhibit 726 # 27 Exhibit
                                                   727 # 28 Exhibit 728 # 29 Exhibit 729 # 30
                                                   Exhibit 730 # 31 Exhibit 731 # 32 Exhibit 732 #
                                                   33 Exhibit 733 # 34 Exhibit 734 # 35 Exhibit
                                                   735 # 36 Exhibit 736 # 37 Exhibit 737 # 38
                                                   Exhibit 738 # 39 Exhibit 739 # 40 Exhibit 740 #
                                                   41 Exhibit 741 # 42 Exhibit 742 # 43 Exhibit
                                                   743 # 44 Exhibit 744 # 45 Exhibit 745 # 46
                                                   Exhibit 746 # 47 Exhibit 747 # 48 Exhibit 748 #




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 368 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 368 of 1639
                                                                           0368


                                                   49 Exhibit 749 # 50 Exhibit 750) (Gluck,
 12/13/2020                                        Kristian) (Entered: 12/13/2020)

                            2332                   Exhibit List (Filed By Glas USA LLC ).
                                                   (Related document(s):2214 Witness List)
 12/13/2020                 (6 pgs)                (Warner, Michael) (Entered: 12/13/2020)

                            2333                   Additional Attachments Re: UCC Exhibits 751-
                                                   800 (related document(s):2313 Witness List,
                            (3044 pgs; 59 docs)    Exhibit List) (Filed By Official Committee Of
                                                   Unsecured Creditors ).(Related document
                                                   (s):2313 Witness List, Exhibit List)
                                                   (Attachments: # 1 Exhibit 751 # 2 Exhibit 752
                                                   (Part 1) # 3 Exhibit 752 (Part 2) # 4 Exhibit 753
                                                   (Part 1) # 5 Exhibit 753 (Part 2) # 6 Exhibit 753
                                                   (Part 3) # 7 Exhibit 754 # 8 Exhibit 755 # 9
                                                   Exhibit 756 # 10 Exhibit 757 # 11 Exhibit 758
                                                   # 12 Exhibit 759 # 13 Exhibit 760 # 14 Exhibit
                                                   761 # 15 Exhibit 762 # 16 Exhibit 763 # 17
                                                   Exhibit 764 # 18 Exhibit 765 (Part 1) # 19
                                                   Exhibit 765 (Part 2) # 20 Exhibit 765 (Part 3) #
                                                   21 Exhibit 766 # 22 Exhibit 767 (Part 1) # 23
                                                   Exhibit 767 (Part 2) # 24 Exhibit 768 (Part 1) #
                                                   25 Exhibit 768 (Part 2) # 26 Exhibit 769 (Part
                                                   1) # 27 Exhibit 769 (Part 2) # 28 Exhibit 770 #
                                                   29 Exhibit 771 # 30 Exhibit 772 # 31 Exhibit
                                                   773 # 32 Exhibit 774 # 33 Exhibit 775 # 34
                                                   Exhibit 776 # 35 Exhibit 777 # 36 Exhibit 778
                                                   # 37 Exhibit 779 # 38 Exhibit 780 # 39 Exhibit
                                                   781 # 40 Exhibit 782 # 41 Exhibit 783 # 42
                                                   Exhibit 784 # 43 Exhibit 785 # 44 Exhibit 786
                                                   # 45 Exhibit 787 # 46 Exhibit 788 # 47 Exhibit
                                                   789 # 48 Exhibit 790 # 49 Exhibit 791 # 50
                                                   Exhibit 792 # 51 Exhibit 793 # 52 Exhibit 794
                                                   # 53 Exhibit 795 # 54 Exhibit 796 # 55 Exhibit
                                                   797 # 56 Exhibit 798 # 57 Exhibit 799 # 58
                                                   Exhibit 800) (Bruner, Robert) (Entered:
 12/13/2020                                        12/13/2020)

                            2334
                                                   Additional Attachments Re: UCC Exhibits 801-
                            (1915 pgs; 51 docs)    850 (related document(s):2313 Witness List,
                                                   Exhibit List) (Filed By Official Committee Of
                                                   Unsecured Creditors ).(Related document
                                                   (s):2313 Witness List, Exhibit List)
                                                   (Attachments: # 1 Exhibit 801 # 2 Exhibit 802 #
                                                   3 Exhibit 803 # 4 Exhibit 804 # 5 Exhibit 805 #
                                                   6 Exhibit 806 # 7 Exhibit 807 # 8 Exhibit 808 #




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 369 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 369 of 1639
                                                                           0369


                                                   9 Exhibit 809 # 10 Exhibit 810 # 11 Exhibit
                                                   811 # 12 Exhibit 812 # 13 Exhibit 813 # 14
                                                   Exhibit 814 # 15 Exhibit 815 # 16 Exhibit 816
                                                   # 17 Exhibit 817 # 18 Exhibit 818 # 19 Exhibit
                                                   819 # 20 Exhibit 820 # 21 Exhibit 821 # 22
                                                   Exhibit 822 # 23 Exhibit 823 # 24 Exhibit 824
                                                   # 25 Exhibit 825 # 26 Exhibit 826 # 27 Exhibit
                                                   827 # 28 Exhibit 828 # 29 Exhibit 829 # 30
                                                   Exhibit 830 # 31 Exhibit 831 # 32 Exhibit 832
                                                   # 33 Exhibit 833 # 34 Exhibit 834 # 35 Exhibit
                                                   835 # 36 Exhibit 836 # 37 Exhibit 837 # 38
                                                   Exhibit 838 # 39 Exhibit 839 # 40 Exhibit 840
                                                   # 41 Exhibit 841 # 42 Exhibit 842 # 43 Exhibit
                                                   843 # 44 Exhibit 844 # 45 Exhibit 845 # 46
                                                   Exhibit 846 # 47 Exhibit 847 # 48 Exhibit 848
                                                   # 49 Exhibit 849 # 50 Exhibit 850) (Harrison,
 12/13/2020                                        Julie) (Entered: 12/13/2020)

                            2335                   Additional Attachments Re: UCC Exhibits 850-
                                                   900 (related document(s):2313 Witness List,
                            (6852 pgs; 51 docs)    Exhibit List) (Filed By Official Committee Of
                                                   Unsecured Creditors ).(Related document
                                                   (s):2313 Witness List, Exhibit List)
                                                   (Attachments: # 1 Exhibit 851 # 2 Exhibit 852
                                                   # 3 Exhibit 853 # 4 Exhibit 854 # 5 Exhibit 855
                                                   # 6 Exhibit 856 # 7 Exhibit 857 # 8 Exhibit 858
                                                   # 9 Exhibit 858 # 10 Exhibit 860 # 11 Exhibit
                                                   861 # 12 Exhibit 862 # 13 Exhibit 863 # 14
                                                   Exhibit 864 # 15 Exhibit 865 # 16 Exhibit 866
                                                   # 17 Exhibit 867 # 18 Exhibit 868 # 19 Exhibit
                                                   869 # 20 Exhibit 870 # 21 Exhibit 871 # 22
                                                   Exhibit 872 # 23 Exhibit 873 # 24 Exhibit 874
                                                   # 25 Exhibit 875 # 26 Exhibit 876 # 27 Exhibit
                                                   877 # 28 Exhibit 878 # 29 Exhibit 879 # 30
                                                   Exhibit 880 # 31 Exhibit 881 # 32 Exhibit 882
                                                   # 33 Exhibit 883 # 34 Exhibit 884 # 35 Exhibit
                                                   885 # 36 Exhibit 886 # 37 Exhibit 887 # 38
                                                   Exhibit 888 # 39 Exhibit 889 # 40 Exhibit 890
                                                   # 41 Exhibit 891 # 42 Exhibit 892 # 43 Exhibit
                                                   893 # 44 Exhibit 894 # 45 Exhibit 895 # 46
                                                   Exhibit 896 # 47 Exhibit 897 # 48 Exhibit 898
                                                   # 49 Exhibit 899 # 50 Exhibit 900) (Gluck,
 12/13/2020                                        Kristian) (Entered: 12/13/2020)

                            2336
                                                   Third Amended Chapter 11 Plan Filed by
                            (126 pgs; 2 docs)      Chesapeake Energy Corporation. (Attachments:
                                                   # 1 Redline)(Cavenaugh, Matthew) (Entered:




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 370 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 370 of 1639
                                                                           0370


 12/13/2020                                        12/13/2020)

                            2337                   Additional Attachments Re: UCC Exhibits 901-
                                                   950 (related document(s):2313 Witness List,
                            (132 pgs; 49 docs)     Exhibit List) (Filed By Official Committee Of
                                                   Unsecured Creditors ).(Related document
                                                   (s):r 313 Witness List, Exhibit List)
                                                   (Attachments: # 1 Exhibit 901 # 2 Exhibit 902
                                                   # 3 Exhibit 903 # 4 Exhibit 904 # 5 Exhibit 905
                                                   # 6 Exhibit 906 # 7 Exhibit 907 # 8 Exhibit 908
                                                   # 9 Exhibit 909 # 10 Exhibit 910 # 11 Exhibit
                                                   911 # 12 Exhibit 912 # 13 Exhibit 913 # 14
                                                   Exhibit 914 # 15 Exhibit 915 # 16 Exhibit 916
                                                   # 17 Exhibit 917 # 18 Exhibit 918 # 19 Exhibit
                                                   920 # 20 Exhibit 920 # 21 Exhibit 921 # 22
                                                   Exhibit 922 # 23 Exhibit 923 # 24 Exhibit 924
                                                   # 25 Exhibit 925 # 26 Exhibit 926 # 27 Exhibit
                                                   927 # 28 Exhibit 928 # 29 Exhibit 929 # 30
                                                   Exhibit 930 # 31 Exhibit 931 # 32 Exhibit 932
                                                   # 33 Exhibit 933 # 34 Exhibit 934 # 35 Exhibit
                                                   935 # 36 Exhibit 936 # 37 Exhibit 937 # 38
                                                   Exhibit 940 # 39 Exhibit 941 # 40 Exhibit 942
                                                   # 41 Exhibit 943 # 42 Exhibit 944 # 43 Exhibit
                                                   945 # 44 Exhibit 946 # 45 Exhibit 947 # 46
                                                   Exhibit 948 # 47 Exhibit 949 # 48 Exhibit 950)
 12/13/2020                                        (Harrison, Julie) (Entered: 12/13/2020)

                            2338                   Exhibit List, Witness List (Filed By Energy
                                                   Transfer Fuel, LP ). (Attachments: # 1 Exhibit
                            (89 pgs; 5 docs)       ET-11 # 2 Exhibit ET-12 # 3 Exhibit ET-13 # 4
                                                   Exhibit ET-31) (Mitchell, John) (Entered:
 12/13/2020                                        12/13/2020)

                            2339                   Sealed Document Official Committee of
                                                   Unsecured Creditors' Reply to Objections to
                            (95 pgs)               the Motion of the Official Committee of
                                                   Unsecured Creditors for (I) Leave, Standing,
                                                   and Authority to Commence and Prosecute
                                                   Certain Claims and Causes of Action on Behalf
                                                   of the Debtors' Estates and (II) Exclusive
                                                   Settlement Authority (Filed By Official
                                                   Committee Of Unsecured Creditors ).
 12/13/2020                                        (Harrison, Julie) (Entered: 12/13/2020)

                            2340
                                                   Witness List, Exhibit List (Filed By Official
                                                   Committee of Royalty Owners ).(Related
                            (6060 pgs; 25 docs)
                                                   document(s):1644 Amended Chapter 11 Plan)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 371 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 371 of 1639
                                                                           0371


                                                   (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3
                                                   Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6
                                                   Exhibit 6 # 7 Exhibit 7 # 8 Exhibit 8 # 9
                                                   Exhibit 9 # 10 Exhibit 10 # 11 Exhibit 12 # 12
                                                   Exhibit 13 # 13 Exhibit 14 # 14 Exhibit 15 # 15
                                                   Exhibit 16 # 16 Exhibit 17 # 17 Exhibit 18 # 18
                                                   Exhibit 19 # 19 Exhibit 20 # 20 Exhibit 21 # 21
                                                   Exhibit 24 # 22 Exhibit 25 # 23 Exhibit 26 # 24
                                                   Exhibit 27) (Brown, pllc, Deirdre) (Entered:
 12/13/2020                                        12/13/2020)

                            2341                   Emergency Motion of the FLLO Ad Hoc Group
                                                   for Entry of an Order (I) Authorizing the FLLO
                            (14 pgs; 2 docs)       Ad Hoc Group to File Certain Exhibits Under
                                                   Seal and (II) Granting Related Relief Filed by
                                                   Creditor Ad Hoc Group of FLLO Term Loan
                                                   Lenders (Attachments: # 1 Proposed Order)
 12/13/2020                                        (Perrin, Harry) (Entered: 12/13/2020)

                            2342                   Emergency Motion of Franklin Advisers, Inc.,
                                                   as Investment Manager on Behalf of Certain
                            (10 pgs; 2 docs)       Funds and Accounts, to File Under Seal
                                                   Certain Exhibits for the Hearing Scheduled for
                                                   December 15, 2020 at 12:00 P.M. CT Under
                                                   Seal Filed by Interested Party Franklin
                                                   Advisers, Inc., as Investment Manager on
                                                   Behalf of Certain Funds and Accounts Hearing
                                                   scheduled for 12/15/2020 at 12:00 PM at
                                                   Houston, Courtroom 400 (DRJ). (Attachments:
                                                   # 1 Proposed Order) (Brimmage, Marty)
 12/13/2020                                        (Entered: 12/13/2020)

                            2343                   Exhibit List (Filed By Franklin Advisers, Inc.,
                                                   as Investment Manager on Behalf of Certain
                            (5 pgs)                Funds and Accounts ). (Brimmage, Marty)
 12/13/2020                                        (Entered: 12/13/2020)

                            2344
                                                   Additional Attachments Re: UCC Exhibits 951-
                                                   1000 (related document(s):2313 Witness List,
                            (1276 pgs; 51 docs)
                                                   Exhibit List) (Filed By Official Committee Of
                                                   Unsecured Creditors ).(Related document
                                                   (s):2313 Witness List, Exhibit List)
                                                   (Attachments: # 1 Exhibit 951 # 2 Exhibit 952 #
                                                   3 Exhibit 953 # 4 Exhibit 954 # 5 Exhibit 955 #
                                                   6 Exhibit 956 # 7 Exhibit 957 # 8 Exhibit 958 #
                                                   9 Exhibit 959 # 10 Exhibit 960 # 11 Exhibit 961
                                                   # 12 Exhibit 962 # 13 Exhibit 963 # 14 Exhibit




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 372 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 372 of 1639
                                                                           0372


                                                   964 # 15 Exhibit 965 # 16 Exhibit 966 # 17
                                                   Exhibit 957 # 18 Exhibit 968 # 19 Exhibit 969
                                                   # 20 Exhibit 970 # 21 Exhibit 971 # 22 Exhibit
                                                   972 # 23 Exhibit 973 # 24 Exhibit 974 # 25
                                                   Exhibit 975 # 26 Exhibit 976 # 27 Exhibit 977
                                                   # 28 Exhibit 978 # 29 Exhibit 979 # 30
                                                   Appendix 980 # 31 Exhibit 981 # 32 Exhibit
                                                   982 # 33 Appendix 983 # 34 Exhibit 984 # 35
                                                   Exhibit 985 # 36 Exhibit 986 # 37 Exhibit 987
                                                   # 38 Appendix 988 # 39 Exhibit 989 # 40
                                                   Exhibit 990 # 41 Exhibit 991 # 42 Exhibit 992
                                                   # 43 Exhibit 993 # 44 Exhibit 994 # 45 Exhibit
                                                   995 # 46 Exhibit 996 # 47 Exhibit 997 # 48
                                                   Exhibit 998 # 49 Exhibit 999 # 50 Exhibit
 12/13/2020                                        1000) (Gluck, Kristian) (Entered: 12/13/2020)

                            2345                   Sealed Document Debtors' Exhibits 46, 54-58,
                                                   61, 62, 68, and 88 for Confirmation Hearing
                            (1028 pgs; 10 docs)    Set December 15, 2020 (Filed By Chesapeake
                                                   Energy Corporation ). (Attachments: # 1
                                                   Exhibit 54 # 2 Exhibit 55 # 3 Exhibit 56 # 4
                                                   Exhibit 57 # 5 Exhibit 58 # 6 Exhibit 61 # 7
                                                   Exhibit 62 # 8 Exhibit 68 # 9 Exhibit 88)
 12/13/2020                                        (Cavenaugh, Matthew) (Entered: 12/13/2020)

                            2346
                                                   Additional Attachments Re: UCC_1001 -
                            (232 pgs; 51 docs)     UCC_1050 (related document(s):2313 Witness
                                                   List, Exhibit List) (Filed By Official
                                                   Committee Of Unsecured Creditors ).(Related
                                                   document(s):2313 Witness List, Exhibit List)
                                                   (Attachments: # 1 Exhibit 1001 # 2 Exhibit
                                                   1002 # 3 Exhibit 1003 # 4 Exhibit 1004 # 5
                                                   Exhibit 1005 # 6 Exhibit 1006 # 7 Exhibit 1007
                                                   # 8 Exhibit 1008 # 9 Exhibit 1009a # 10
                                                   Exhibit 1010 # 11 Exhibit 1011 # 12 Exhibit
                                                   1012 # 13 Exhibit 1013 # 14 Exhibit 1014 # 15
                                                   Exhibit 1015 # 16 Exhibit 1016 # 17 Exhibit
                                                   1017 # 18 Exhibit 1018 # 19 Exhibit 1019 # 20
                                                   Exhibit 1020 # 21 Exhibit 1021 # 22 Exhibit
                                                   1022 # 23 Exhibit 1023 # 24 Exhibit 1024 # 25
                                                   Exhibit 1025 # 26 Exhibit 1026 # 27 Exhibit
                                                   1027 # 28 Exhibit 1028 # 29 Exhibit 1029 # 30
                                                   Exhibit 1030 # 31 Exhibit 1031 # 32 Exhibit
                                                   1032 # 33 Exhibit 1033 # 34 Exhibit 1034 # 35
                                                   Exhibit 1035 # 36 Exhibit 1036 # 37 Exhibit
                                                   1037 # 38 Exhibit 1038 # 39 Exhibit 1039 # 40
                                                   Exhibit 1040 # 41 Exhibit 1041 # 42 Exhibit




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 373 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 373 of 1639
                                                                           0373


                                                   1042 # 43 Exhibit 1043 # 44 Exhibit 1044 # 45
                                                   Exhibit 1045 # 46 Exhibit 1046 # 47 Exhibit
                                                   1047 # 48 Exhibit 1048 # 49 Exhibit 1049 # 50
                                                   Exhibit 1050) (Greendyke, William) (Entered:
 12/13/2020                                        12/13/2020)

                            2347                   Additional Attachments Re: UCC Exhibits
                                                   1051-1100 (related document(s):2313 Witness
                            (55 pgs; 51 docs)      List, Exhibit List) (Filed By Official
                                                   Committee Of Unsecured Creditors ).(Related
                                                   document(s):2313 Witness List, Exhibit List)
                                                   (Attachments: # 1 Exhibit 1051 # 2 Exhibit
                                                   1052 # 3 Exhibit 1053 # 4 Exhibit 1054 # 5
                                                   Exhibit 1055 # 6 Exhibit 1056 # 7 Exhibit 1057
                                                   # 8 Exhibit 1058 # 9 Exhibit 1059 # 10 Exhibit
                                                   1060 # 11 Exhibit 1061 # 12 Exhibit 1062 # 13
                                                   Exhibit 1063 # 14 Exhibit 1064 # 15 Exhibit
                                                   1065 # 16 Exhibit 1066 # 17 Exhibit 1067 # 18
                                                   Exhibit 1068 # 19 Exhibit 1069 # 20 Exhibit
                                                   1070 # 21 Exhibit 1071 # 22 Exhibit 1072 # 23
                                                   Exhibit 1073 # 24 Exhibit 1074 # 25 Exhibit
                                                   1075 # 26 Exhibit 1076 # 27 Exhibit 1077 # 28
                                                   Exhibit 1078 # 29 Exhibit 1079 # 30 Exhibit
                                                   1080 # 31 Exhibit 1081 # 32 Exhibit 1082 # 33
                                                   Exhibit 1083 # 34 Exhibit 1084 # 35 Exhibit
                                                   1085 # 36 Exhibit 1086 # 37 Exhibit 1087 # 38
                                                   Exhibit 1088 # 39 Exhibit 1089 # 40 Exhibit
                                                   1090 # 41 Exhibit 1091 # 42 Exhibit 1092 # 43
                                                   Exhibit 1093 # 44 Exhibit 1094 # 45 Exhibit
                                                   1095 # 46 Exhibit 1096 # 47 Exhibit 1097 # 48
                                                   Exhibit 1098 # 49 Exhibit 1099 # 50 Exhibit
                                                   1100) (Mokrzycka, Maria) (Entered:
 12/13/2020                                        12/13/2020)

                            2348
                                                   Additional Attachments Re: UCC Exhibits
                            (29879 pgs; 51 docs)   1101-1150 (related document(s):2313 Witness
                                                   List, Exhibit List) (Filed By Official
                                                   Committee Of Unsecured Creditors ).(Related
                                                   document(s):2313 Witness List, Exhibit List)
                                                   (Attachments: # 1 Exhibit 1101 # 2 Exhibit
                                                   1102 # 3 Exhibit 1103 # 4 Exhibit 1104 # 5
                                                   Exhibit 1105 # 6 Exhibit 1106 # 7 Exhibit 1107
                                                   # 8 Exhibit 1108 # 9 Exhibit 1109 # 10 Exhibit
                                                   1110 # 11 Exhibit 1111 # 12 Exhibit 1112 # 13
                                                   Exhibit 1113 # 14 Exhibit 1114 # 15 Exhibit
                                                   1115 # 16 Exhibit 1116 # 17 Exhibit 1117 # 18
                                                   Exhibit 1118 # 19 Exhibit 1119 # 20 Exhibit




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 374 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 374 of 1639
                                                                           0374


                                                   1120 # 21 Exhibit 1121 # 22 Exhibit 1122 # 23
                                                   Exhibit 1123 # 24 Exhibit 1124 # 25 Exhibit
                                                   1125 # 26 Exhibit 1126 # 27 Exhibit 1127 # 28
                                                   Exhibit 1128 # 29 Exhibit 1129 # 30 Exhibit
                                                   1130 # 31 Exhibit 1131 # 32 Exhibit 1132 # 33
                                                   Exhibit 1133 # 34 Exhibit 1134 # 35 Exhibit
                                                   1135 # 36 Exhibit 1136 # 37 Exhibit 1137 # 38
                                                   Exhibit 1138 # 39 Exhibit 1139 # 40 Exhibit
                                                   1140 # 41 Exhibit 1141 # 42 Exhibit 1142 # 43
                                                   Exhibit 1143 # 44 Exhibit 1144 # 45 Exhibit
                                                   1145 # 46 Exhibit 1146 # 47 Exhibit 1147 # 48
                                                   Exhibit 1148 # 49 Exhibit 1149 # 50 Exhibit
 12/13/2020                                        1150) (Boland, Jason) (Entered: 12/13/2020)

                            2349                   Emergency Motion of the Official Committee of
                                                   Unsecured Creditors to File Under Seal
                            (8 pgs; 2 docs)        Exhibits for Confirmation Hearing Filed by
                                                   Creditor Committee Official Committee Of
                                                   Unsecured Creditors Hearing scheduled for
                                                   12/15/2020 at 12:00 PM at Houston,
                                                   Courtroom 400 (DRJ). (Attachments: # 1
                                                   Proposed Order) (Harrison, Julie) (Entered:
 12/13/2020                                        12/13/2020)

                            2350                   Sealed Document (Omnibus Reply of the
                                                   Official Committee of Unsecured Creditors in
                            (34 pgs)               Support of and in Response to Objections to
                                                   Emergency Motion for (I) Leave, Standing, and
                                                   Authority to Commence and Prosecute Certain
                                                   Lien Claims and Causes of Action on Behalf of
                                                   the Debtors' Estates and (II) Exclusive
                                                   Settlement Authority) (Filed By Official
                                                   Committee Of Unsecured Creditors ). (Boland,
 12/13/2020                                        Jason) (Entered: 12/13/2020)

                            2351                   Additional Attachments Re: Franklin Advisers,
                                                   Inc. Exhibits 10-20 (related document(s):2343
                            (2018 pgs; 11 docs)    Exhibit List) (Filed By Franklin Advisers, Inc.,
                                                   as Investment Manager on Behalf of Certain
                                                   Funds and Accounts ).(Related document
                                                   (s):2343 Exhibit List) (Attachments: # 1
                                                   Exhibit 11 # 2 Exhibit 12 # 3 Exhibit 13 # 4
                                                   Exhibit 14 # 5 Exhibit 15 # 6 Exhibit 16 # 7
                                                   Exhibit 17 # 8 Exhibit 18 # 9 Exhibit 19 # 10
                                                   Exhibit 20) (Brimmage, Marty) (Entered:
 12/13/2020                                        12/13/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 375 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 375 of 1639
                                                                           0375


                            2352                   Sealed Document / Ad Hoc Group of FLLO
                                                   Term Loan Lenders' Exhibit List for the Plan
                            (10934 pgs; 82 docs)   Confirmation Hearing Scheduled for December
                                                   15, 2020 (Filed By Ad Hoc Group of FLLO
                                                   Term Loan Lenders ). (Attachments: # 1
                                                   Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4
                                                   Exhibit 4 # 5 Exhibit 5 # 6 Exhibit 6 # 7
                                                   Exhibit 7 # 8 Exhibit 8 # 9 Exhibit 9 # 10
                                                   Exhibit 10 # 11 Exhibit 11 # 12 Exhibit 12 # 13
                                                   Exhibit 13 # 14 Exhibit 14 # 15 Exhibit 15 # 16
                                                   Exhibit 16 # 17 Exhibit 17 # 18 Exhibit 18 # 19
                                                   Exhibit 19 # 20 Exhibit 20 # 21 Exhibit 21 # 22
                                                   Exhibit 22 # 23 Exhibit 23 # 24 Exhibit 24 # 25
                                                   Exhibit 25 # 26 Exhibit 26 # 27 Exhibit 27 # 28
                                                   Exhibit 28 # 29 Exhibit 29 # 30 Exhibit 30 # 31
                                                   Exhibit 31 # 32 Exhibit 32 # 33 Exhibit 33 # 34
                                                   Exhibit 34 # 35 Exhibit 35 # 36 Exhibit 36 # 37
                                                   Exhibit 37 # 38 Exhibit 38 # 39 Exhibit 39 # 40
                                                   Exhibit 40 # 41 Exhibit 41 # 42 Exhibit 42 # 43
                                                   Exhibit 43 # 44 Exhibit 44 # 45 Exhibit 45 # 46
                                                   Exhibit 46 # 47 Exhibit 47 # 48 Exhibit 48 # 49
                                                   Exhibit 49 # 50 Exhibit 50 # 51 Exhibit 51 # 52
                                                   Exhibit 52 # 53 Exhibit 53-A # 54 Exhibit 53-B
                                                   # 55 Exhibit 53-C # 56 Exhibit 53-D # 57
                                                   Exhibit 53-E # 58 Exhibit 53-F # 59 Exhibit
                                                   53-G # 60 Exhibit H # 61 Exhibit 53-I # 62
                                                   Exhibit 53-J # 63 Exhibit 53-K # 64 Exhibit 53-
                                                   L # 65 Exhibit 53-M # 66 Exhibit 53-N # 67
                                                   Exhibit 53-O # 68 Exhibit 53-P # 69 Exhibit
                                                   53-Q # 70 Exhibit 53-R # 71 Exhibit 53-S # 72
                                                   Exhibit 53-T # 73 Exhibit 53-U # 74 Exhibit 54
                                                   # 75 Exhibit 55 # 76 Exhibit 56 # 77 Exhibit 57
                                                   # 78 Exhibit 58 # 79 Exhibit 59 # 80 Exhibit 60
                                                   # 81 Exhibit 61) (Perrin, Harry) (Entered:
 12/13/2020                                        12/13/2020)

                            2353                   Emergency Motion of the Official Committee of
                                                   Unsecured Creditors to File Under Seal: (A)
                            (10 pgs; 2 docs)       the Official Committee of Unsecured Creditors
                                                   Omnibus Reply to Objections to the Motion of
                                                   the Official Committee of Unsecured Creditors
                                                   for (I) Leave, Standing, and Authority to
                                                   Commence and Prosecute Certain Claims and
                                                   Causes of Action on Behalf of the Debtors
                                                   Estates and (II) Exclusive Settlement Authority;
                                                   and (B) Omnibus Reply of the Official
                                                   Committee of Unsecured Creditors in Support
                                                   of and in Response to Objections to Emergency




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 376 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 376 of 1639
                                                                           0376


                                                   Motion for (I) Leave, Standing, and Authority
                                                   to Commence and Prosecute Certain Lien
                                                   Claims and Causes of Action on Behalf of the
                                                   Debtors Estates and (II) Exclusive Settlement
                                                   Authority Filed by Creditor Committee Official
                                                   Committee Of Unsecured Creditors Hearing
                                                   scheduled for 12/15/2020 at 12:00 PM at
                                                   Houston, Courtroom 400 (DRJ). (Attachments:
                                                   # 1 Proposed Order) (Boland, Jason) (Entered:
 12/13/2020                                        12/13/2020)

                            2354                   Brief (Filed By Chesapeake Energy
                                                   Corporation ).(Related document(s):2336
                            (210 pgs)              Amended Chapter 11 Plan) (Cavenaugh,
 12/13/2020                                        Matthew) (Entered: 12/13/2020)

                            2355                   Sealed Document Franklin Advisers, Inc.
                                                   Exhibits 1-9 and 21 for the Confirmation
                            (101 pgs; 10 docs)     Hearing Set for December 15, 2020 (Filed By
                                                   Franklin Advisers, Inc., as Investment Manager
                                                   on Behalf of Certain Funds and Accounts ).
                                                   (Attachments: # 1 Exhibit 2 # 2 Exhibit 3 # 3
                                                   Exhibit 4 # 4 Exhibit 5 # 5 Exhibit 6 # 6
                                                   Exhibit 7 # 7 Exhibit 8 # 8 Exhibit 9 # 9
                                                   Exhibit 21) (Brimmage, Marty) (Entered:
 12/13/2020                                        12/13/2020)

                            2356                  BNC Certificate of Mailing. (Related document
                                                  (s):2232 Generic Order) No. of Notices: 204.
                            (15 pgs)              Notice Date 12/13/2020. (Admin.) (Entered:
 12/13/2020                                       12/13/2020)

                            2357                  BNC Certificate of Mailing. (Related document
                                                  (s):2242 Order on Motion to Appear pro hac
                            (11 pgs)              vice) No. of Notices: 204. Notice Date
 12/13/2020                                       12/13/2020. (Admin.) (Entered: 12/13/2020)

                            2358                  BNC Certificate of Mailing. (Related document
                                                  (s):2243 Order on Motion to Appear pro hac
                            (11 pgs)              vice) No. of Notices: 204. Notice Date
 12/13/2020                                       12/13/2020. (Admin.) (Entered: 12/13/2020)

                            2359                  BNC Certificate of Mailing. (Related document
                                                  (s):2244 Order on Motion to Appear pro hac
                            (11 pgs)              vice) No. of Notices: 204. Notice Date
 12/13/2020                                       12/13/2020. (Admin.) (Entered: 12/13/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 377 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 377 of 1639
                                                                           0377


                            2360                  BNC Certificate of Mailing. (Related document
                                                  (s):2245 Order on Motion to Appear pro hac
                            (11 pgs)              vice) No. of Notices: 204. Notice Date
 12/13/2020                                       12/13/2020. (Admin.) (Entered: 12/13/2020)

                            2361                  BNC Certificate of Mailing. (Related document
                                                  (s):2246 Order on Motion to Appear pro hac
                            (11 pgs)              vice) No. of Notices: 204. Notice Date
 12/13/2020                                       12/13/2020. (Admin.) (Entered: 12/13/2020)

                            2362                  BNC Certificate of Mailing. (Related document
                                                  (s):2258 Generic Order) No. of Notices: 213.
                            (14 pgs)              Notice Date 12/13/2020. (Admin.) (Entered:
 12/13/2020                                       12/13/2020)

                            2363                  BNC Certificate of Mailing. (Related document
                                                  (s):2259 Order on Motion to Seal) No. of
                            (4 pgs)               Notices: 41. Notice Date 12/13/2020. (Admin.)
 12/13/2020                                       (Entered: 12/13/2020)

                            2364                  Reply of the FLLO Ad Hoc Group to
                                                  Confirmation Objections of the Official
                            (42 pgs)              Committee of Unsecured Creditors and Other
                                                  Parties and Joinder to the Debtors'
                                                  Confirmation Brief. Filed by Ad Hoc Group of
                                                  FLLO Term Loan Lenders (Perrin, Harry)
 12/14/2020                                       (Entered: 12/14/2020)

                            2365                  Reply and Joinder of Franklin Advisers, Inc., as
                                                  Investment Manager on Behalf of Certain Funds
                            (19 pgs)              and Accounts, in Support of Confirmation of the
                                                  Debtors' Third Amended Joint Chapter 11 Plan
                                                  of Reorganization (related document(s): [2354,
                                                  2336 and 2122]. Filed by Franklin Advisers,
                                                  Inc., as Investment Manager on Behalf of
                                                  Certain Funds and Accounts (Brimmage, Marty)
 12/14/2020                                       (Entered: 12/14/2020)

                            2366                  Additional Attachments Re: UCC Exhibits 1151-
                                                  1175 (related document(s):2313 Witness List,
                            (5057 pgs; 30 docs)   Exhibit List) (Filed By Official Committee Of
                                                  Unsecured Creditors ).(Related document
                                                  (s):2313 Witness List, Exhibit List)
                                                  (Attachments: # 1 Exhibit 1151 # 2 Exhibit 1152
                                                  # 3 Exhibit 1153 Pt. 1 # 4 Exhibit 1153 Pt. 2 # 5
                                                  Exhibit 1154 # 6 Exhibit 1155 # 7 Exhibit 1156 #
                                                  8 Exhibit 1157 Pt. 1 # 9 Exhibit 1157 Pt. 2 # 10




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 378 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 378 of 1639
                                                                           0378


                                                  Exhibit 1158 # 11 Exhibit 1159 # 12 Exhibit
                                                  1160 Pt. 1 # 13 Exhibit 1160 Pt. 2 # 14 Exhibit
                                                  1161 # 15 Exhibit 1162 # 16 Exhibit 1163 # 17
                                                  Exhibit 1164 # 18 Exhibit 1165 # 19 Exhibit
                                                  1166 # 20 Exhibit 1167 # 21 Exhibit 1168 # 22
                                                  Exhibit 1169 # 23 Exhibit 1170 # 24 Exhibit
                                                  1171 # 25 Exhibit 1172 # 26 Exhibit 1173 Pt. 1
                                                  # 27 Exhibit 1173 Pt. 2 # 28 Exhibit 1174 # 29
                                                  Exhibit 1175) (Harrison, Julie) (Entered:
 12/14/2020                                       12/14/2020)

                            2367                  Additional Attachments Re: UCC 1176-1200
                                                  (related document(s):2313 Witness List, Exhibit
                            (6407 pgs; 29 docs)   List) (Filed By Official Committee Of
                                                  Unsecured Creditors ).(Related document
                                                  (s):2313 Witness List, Exhibit List)
                                                  (Attachments: # 1 Exhibit 1176 # 2 Exhibit 1177
                                                  # 3 Exhibit 1178 # 4 Exhibit 1179 Pt. 1 # 5
                                                  Exhibit 1179 Pt. 2 # 6 Exhibit 1180 # 7 Exhibit
                                                  1181 # 8 Exhibit 1182 # 9 Exhibit 1183 # 10
                                                  Exhibit 1184 # 11 Exhibit 1185 # 12 Exhibit
                                                  1186 # 13 Exhibit 1187 # 14 Exhibit 1188 # 15
                                                  Exhibit 1189 Pt. 1 # 16 Exhibit 1189 Pt. 2 # 17
                                                  Exhibit 1190 # 18 Exhibit 1191 # 19 Exhibit
                                                  1192 # 20 Exhibit 1193 # 21 Exhibit 1194 # 22
                                                  Exhibit 1195 # 23 Exhibit 1196 # 24 Exhibit
                                                  1197 Pt. 1 # 25 Exhibit 1197 Pt. 2 # 26 Exhibit
                                                  1198 # 27 Exhibit 1199 # 28 Exhibit 1200)
 12/14/2020                                       (Harrison, Julie) (Entered: 12/14/2020)

                            2368
                                                  Additional Attachments Re: UCC Exhibits 1201-
                            (8204 pgs; 29 docs)   1225 (related document(s):2313 Witness List,
                                                  Exhibit List) (Filed By Official Committee Of
                                                  Unsecured Creditors ).(Related document
                                                  (s):2313 Witness List, Exhibit List)
                                                  (Attachments: # 1 Exhibit 1201 # 2 Exhibit 1202
                                                  # 3 Exhibit 1203 # 4 Exhibit 1204 # 5 Exhibit
                                                  1205 # 6 Exhibit 1206 # 7 Exhibit 1207 # 8
                                                  Exhibit 1208 # 9 Exhibit 1209 # 10 Exhibit 1210
                                                  # 11 Exhibit 1211 Part 1 # 12 Exhibit 1211 (Part
                                                  2) # 13 Exhibit 1212 # 14 Exhibit 1213 (Part 1) #
                                                  15 Exhibit 1213 (Part 2) # 16 Exhibit 1214 # 17
                                                  Exhibit 1215 # 18 Exhibit 1216 # 19 Exhibit
                                                  1217 Part 1 # 20 Exhibit 1217 Part 2 # 21 Exhibit
                                                  1218 # 22 Exhibit 1219 # 23 Exhibit 1220 # 24
                                                  Exhibit 1221 # 25 Exhibit 1222 # 26 Exhibit
                                                  1223 # 27 Exhibit 1224 # 28 Exhibit 1225)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 379 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 379 of 1639
                                                                           0379


 12/14/2020                                       (Mokrzycka, Maria) (Entered: 12/14/2020)

                            2369                  Additional Attachments Re: UCC Exhibits 1226-
                                                  1250 (related document(s):2313 Witness List,
                            (2478 pgs; 26 docs)   Exhibit List) (Filed By Official Committee Of
                                                  Unsecured Creditors ).(Related document
                                                  (s):2313 Witness List, Exhibit List)
                                                  (Attachments: # 1 Exhibit 1226 # 2 Exhibit 1227
                                                  # 3 Exhibit 1228 # 4 Exhibit 1229 # 5 Exhibit
                                                  1230 # 6 Exhibit 1231 # 7 Exhibit 1232 # 8
                                                  Exhibit 1233 # 9 Exhibit 1234 # 10 Exhibit 1235
                                                  # 11 Exhibit 1236 # 12 Exhibit 1237 # 13
                                                  Exhibit 1238 # 14 Exhibit 1239 # 15 Exhibit
                                                  1240 # 16 Exhibit 1241 # 17 Exhibit 1242 # 18
                                                  Exhibit 1243 # 19 Exhibit 1244 # 20 Exhibit
                                                  1245 # 21 Exhibit 1246 # 22 Exhibit 1247 # 23
                                                  Exhibit 1248 # 24 Exhibit 1249 # 25 Exhibit
 12/14/2020                                       1250) (Boland, Jason) (Entered: 12/14/2020)

                            2370                  Additional Attachments Re: UCC Exhibits 1251-
                                                  1300 (related document(s):2313 Witness List,
                            (6402 pgs; 52 docs)   Exhibit List) (Filed By Official Committee Of
                                                  Unsecured Creditors ).(Related document
                                                  (s):2313 Witness List, Exhibit List)
                                                  (Attachments: # 1 Exhibit 1251 # 2 Exhibit 1252
                                                  # 3 Exhibit 1253 # 4 Exhibit 1254 # 5 Exhibit
                                                  1255 # 6 Exhibit 1256 # 7 Exhibit 1257 # 8
                                                  Exhibit 1258 # 9 Exhibit 1259 # 10 Exhibit 1260
                                                  # 11 Exhibit 1261 # 12 Exhibit 1262 # 13
                                                  Exhibit 1263 # 14 Exhibit 1264 # 15 Exhibit
                                                  1265 # 16 Exhibit 1266 # 17 Exhibit 1267 # 18
                                                  Exhibit 1268 # 19 Exhibit 1269 # 20 Exhibit
                                                  1270 # 21 Exhibit 1271 # 22 Exhibit 1272 # 23
                                                  Exhibit 1273 # 24 Exhibit 1274 # 25 Exhibit
                                                  1275 # 26 Exhibit 1276 # 27 Exhibit 1277 # 28
                                                  Exhibit 1278 # 29 Exhibit 1279 Pt. 1 # 30
                                                  Exhibit 1279 Pt. 2 # 31 Exhibit 1280 # 32
                                                  Exhibit 1281 # 33 Exhibit 1282 # 34 Exhibit
                                                  1283 # 35 Exhibit 1284 # 36 Exhibit 1285 # 37
                                                  Exhibit 1286 # 38 Exhibit 1287 # 39 Exhibit
                                                  1288 # 40 Exhibit 1289 # 41 Exhibit 1290 # 42
                                                  Exhibit 1291 # 43 Exhibit 1292 # 44 Exhibit
                                                  1293 # 45 Exhibit 1294 # 46 Exhibit 1295 # 47
                                                  Exhibit 1296 # 48 Exhibit 1297 # 49 Exhibit
                                                  1298 # 50 Exhibit 1299 # 51 Exhibit 1300)
 12/14/2020                                       (Harrison, Julie) (Entered: 12/14/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 380 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 380 of 1639
                                                                           0380


                            2371                  Agenda for Hearing on 12/14/2020 (Filed By
                                                  Chesapeake Energy Corporation ). (Cavenaugh,
 12/14/2020                 (6 pgs)               Matthew) (Entered: 12/14/2020)

                            2372                  Motion to Seal Energy Transfers Emergency
                                                  Motion for Entry of an Order Authorizing
                            (8 pgs; 2 docs)       Energy Transfer to File Energy Transfers
                                                  Exhibit List Under Seal Filed by Creditors ETC
                                                  Katy Pipeline, Ltd., ETC Marketing, Ltd., ETC
                                                  Texas Pipeline Ltd., Energy Transfer Fuel, LP,
                                                  Fayetteville Express Pipeline LLC, Houston Pipe
                                                  Line Company, LP, Oasis Pipeline L.P.,
                                                  Regency Field Services, LLC, Regency
                                                  Intrastate Gas LP, Regency Marcellus Gas
                                                  Gathering LLC, Regency NEPA Gas Gathering
                                                  LLC, Sunoco Partners Marketing & Terminals
                                                  L.P., Trade Star, LLC, Trunkline Gas Company,
                                                  LLC, Whiskey Bay Gathering Company, LLC
                                                  (Attachments: # 1 Proposed Order) (Mitchell,
 12/14/2020                                       John) (Entered: 12/14/2020)

                            2373                  Additional Attachments Re: UCC Exhibits 1301-
                                                  1313 (related document(s):2313 Witness List,
                            (505 pgs; 14 docs)    Exhibit List) (Filed By Official Committee Of
                                                  Unsecured Creditors ).(Related document
                                                  (s):2313 Witness List, Exhibit List)
                                                  (Attachments: # 1 Exhibit 1301 # 2 Exhibit 1302
                                                  # 3 Exhibit 1303 # 4 Exhibit 1304 # 5 Exhibit
                                                  1305 # 6 Exhibit 1306 # 7 Exhibit 1307 # 8
                                                  Exhibit 1308 # 9 Exhibit 1309 # 10 Exhibit 1310
                                                  # 11 Exhibit 1311 # 12 Exhibit 1312 # 13
                                                  Exhibit 1313) (Mokrzycka, Maria) (Entered:
 12/14/2020                                       12/14/2020)

                            2374                  Sealed Document Energy Transfer Exhibit ET-
                                                  11 (Filed By ETC Katy Pipeline, Ltd., ETC
                            (16 pgs)              Marketing, Ltd., ETC Texas Pipeline Ltd.,
                                                  Energy Transfer Fuel, LP, Fayetteville Express
                                                  Pipeline LLC, Houston Pipe Line Company, LP,
                                                  Oasis Pipeline L.P., Regency Field Services,
                                                  LLC, Regency Intrastate Gas LP, Regency
                                                  Marcellus Gas Gathering LLC, Regency NEPA
                                                  Gas Gathering LLC, Sunoco Partners Marketing
                                                  & Terminals L.P., Trade Star, LLC, Trunkline
                                                  Gas Company, LLC, Whiskey Bay Gathering
                                                  Company, LLC ). (Mitchell, John) (Entered:
 12/14/2020                                       12/14/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 381 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 381 of 1639
                                                                           0381


                            2375                  Withdraw Document (Filed By Texas Taxing
                                                  Authorities ).(Related document(s):1901
                            (3 pgs)               Objection to Confirmation of the Plan) (LeDay,
 12/14/2020                                       Tara) (Entered: 12/14/2020)

                            2376                  Emergency Motion for Entry of an Order (I)
                                                  Authorizing (A) Rejection of the Crude
                            (88 pgs; 2 docs)      Agreement, (B) Assumption, As Modified, of the
                                                  Transporation Agreement, (C) Entry Into the
                                                  Processing Agreement, and (D) Provision of the
                                                  Enterprise Release, and (II) Granting Related
                                                  Relief Filed by Debtor Chesapeake Energy
                                                  Corporation (Attachments: # 1 Proposed Order)
 12/14/2020                                       (Cavenaugh, Matthew) (Entered: 12/14/2020)

                            2377                  Emergency Motion for Entry of an Order
                                                  Authorizing the Debtors to File the
                            (12 pgs; 2 docs)      Transportation Agreement Under Seal Filed by
                                                  Debtor Chesapeake Energy Corporation
                                                  (Attachments: # 1 Proposed Order) (Cavenaugh,
 12/14/2020                                       Matthew) (Entered: 12/14/2020)

                            2378                  Sealed Document Debtors' Emergency Motion
                                                  for Entry of an Order (I) Authorizing (A)
                            (236 pgs)             Rejection of the Crude Agreement, (B)
                                                  Assumption, As Modified, of the Transporation
                                                  Agreement, (C) Entry Into the Processing
                                                  Agreement, and (D) Provision of the Enterprise
                                                  Release, and (II) Granting Related Relief (Filed
                                                  By Chesapeake Energy Corporation ).
 12/14/2020                                       (Cavenaugh, Matthew) (Entered: 12/14/2020)

                            2379                  Withdraw Document (Filed By Texas Taxing
                                                  Authorities ).(Related document(s):2151
                            (2 pgs)               Objection to Confirmation of the Plan)
 12/14/2020                                       (Grundemeier, Tara) (Entered: 12/14/2020)

                            2380                  Additional Attachments Re: Sealed UCC
                                                  Exhibits 1-25 (related document(s):2313 Witness
                            (1047 pgs; 20 docs)   List, Exhibit List, 2314 Additional Attachments),
                                                  Sealed Document (Filed By Official Committee
                                                  Of Unsecured Creditors ).(Related document
                                                  (s):2313 Witness List, Exhibit List, 2314
                                                  Additional Attachments) (Attachments: # 1
                                                  Exhibit 1 # 2 Exhibit 3 # 3 Exhibit 6 # 4 Exhibit
                                                  7 # 5 Exhibit 9 # 6 Exhibit 10 # 7 Exhibit 12 # 8
                                                  Exhibit 14 # 9 Exhibit 15 # 10 Exhibit 16 # 11




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 382 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 382 of 1639
                                                                           0382


                                                  Exhibit 17 # 12 Exhibit 18 # 13 Exhibit 19 # 14
                                                  Exhibit 20 # 15 Exhibit 21 # 16 Exhibit 22 # 17
                                                  Exhibit 23 # 18 Exhibit 24 # 19 Exhibit 25)
 12/14/2020                                       (Bruner, Robert) (Entered: 12/14/2020)

                            2381                  Sealed Document Sealed UCC Exhibits 26-50,
                                                  Additional Attachments Re: (related document
                            (1579 pgs; 23 docs)   (s):2313 Witness List, Exhibit List, 2314
                                                  Additional Attachments) (Filed By Official
                                                  Committee Of Unsecured Creditors ).(Related
                                                  document(s):2313 Witness List, Exhibit List,
                                                  2314 Additional Attachments) (Attachments: # 1
                                                  Exhibit 26 # 2 Exhibit 27 # 3 Exhibit 28 # 4
                                                  Exhibit 31 # 5 Exhibit 32 # 6 Exhibit 33 # 7
                                                  Exhibit 34 # 8 Exhibit 35 # 9 Exhibit 36 # 10
                                                  Exhibit 37 # 11 Exhibit 38 # 12 Exhibit 39 # 13
                                                  Exhibit 40 # 14 Exhibit 41 # 15 Exhibit 42 # 16
                                                  Exhibit 43 # 17 Exhibit 44 # 18 Exhibit 45 # 19
                                                  Exhibit 47 # 20 Exhibit 48 # 21 Exhibit 49 # 22
                                                  Exhibit 50) (Gluck, Kristian) (Entered:
 12/14/2020                                       12/14/2020)

                            2382                  Additional Attachments Re: Sealed UCC
                                                  Exhibits 51-75 (related document(s):2313
                            (977 pgs; 22 docs)    Witness List, Exhibit List, 2315 Additional
                                                  Attachments), Sealed Document (Filed By
                                                  Official Committee Of Unsecured Creditors ).
                                                  (Related document(s):2313 Witness List, Exhibit
                                                  List, 2315 Additional Attachments)
                                                  (Attachments: # 1 Exhibit 51 # 2 Exhibit 52 # 3
                                                  Exhibit 54 # 4 Exhibit 55 # 5 Exhibit 57 # 6
                                                  Exhibit 58 # 7 Exhibit 59 # 8 Exhibit 60 # 9
                                                  Exhibit 61 # 10 Exhibit 62 # 11 Exhibit 63 # 12
                                                  Exhibit 65 # 13 Exhibit 66 # 14 Exhibit 67 # 15
                                                  Exhibit 68 # 16 Exhibit 69 # 17 Exhibit 70 # 18
                                                  Exhibit 71 # 19 Exhibit 72 # 20 Exhibit 73 # 21
                                                  Exhibit 74) (Harrison, Julie) (Entered:
 12/14/2020                                       12/14/2020)

                            2383
                                                  Sealed Document , Additional Attachments Re:
                            (287 pgs; 26 docs)    Sealed UCC Exhibits 76-100 (related document
                                                  (s):2313 Witness List, Exhibit List, 2315
                                                  Additional Attachments) (Filed By Official
                                                  Committee Of Unsecured Creditors ).(Related
                                                  document(s):2313 Witness List, Exhibit List,
                                                  2315 Additional Attachments) (Attachments: # 1
                                                  Exhibit 76 # 2 Exhibit 77 # 3 Exhibit 78 # 4




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 383 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 383 of 1639
                                                                           0383


                                                  Exhibit 79 # 5 Exhibit 80 # 6 Exhibit 81 # 7
                                                  Exhibit 82 # 8 Exhibit 83 # 9 Exhibit 84 # 10
                                                  Exhibit 85 # 11 Exhibit 86 # 12 Exhibit 87 # 13
                                                  Exhibit 88 # 14 Exhibit 89 # 15 Exhibit 90 # 16
                                                  Exhibit 91 # 17 Exhibit 92 # 18 Exhibit 93 # 19
                                                  Exhibit 94 # 20 Exhibit 95 # 21 Exhibit 96 # 22
                                                  Exhibit 97 # 23 Exhibit 98 # 24 Exhibit 99 # 25
                                                  Exhibit 100) (Mokrzycka, Maria) (Entered:
 12/14/2020                                       12/14/2020)

                            2384                  Additional Attachments Re: Sealed UCC
                                                  Exhibits 101-125 (related document(s):2313
                            (737 pgs; 25 docs)    Witness List, Exhibit List, 2316 Additional
                                                  Attachments), Sealed Document (Filed By
                                                  Official Committee Of Unsecured Creditors ).
                                                  (Related document(s):2313 Witness List, Exhibit
                                                  List, 2316 Additional Attachments)
                                                  (Attachments: # 1 Exhibit 101 # 2 Exhibit 102 #
                                                  3 Exhibit 103 # 4 Exhibit 104 # 5 Exhibit 106 #
                                                  6 Exhibit 107 # 7 Exhibit 108 # 8 Exhibit 109 #
                                                  9 Exhibit 110 # 10 Exhibit 111 # 11 Exhibit 112
                                                  # 12 Exhibit 113 # 13 Exhibit 114 # 14 Exhibit
                                                  115 # 15 Exhibit 116 # 16 Exhibit 117 # 17
                                                  Exhibit 118 # 18 Exhibit 119 # 19 Exhibit 120 #
                                                  20 Exhibit 121 # 21 Exhibit 122 # 22 Exhibit
                                                  123 # 23 Exhibit 124 # 24 Exhibit 125) (Bruner,
 12/14/2020                                       Robert) (Entered: 12/14/2020)

                            2385                  Sealed Document Sealed UCC Exhibits 126-150,
                                                  Additional Attachments Re: (related document
                            (1391 pgs; 26 docs)   (s):2313 Witness List, Exhibit List, 2316
                                                  Additional Attachments) (Filed By Official
                                                  Committee Of Unsecured Creditors ).(Related
                                                  document(s):2313 Witness List, Exhibit List,
                                                  2316 Additional Attachments) (Attachments: # 1
                                                  Exhibit 126 # 2 Exhibit 127 # 3 Exhibit 128 # 4
                                                  Exhibit 129 # 5 Exhibit 130 # 6 Exhibit 131 # 7
                                                  Exhibit 132 # 8 Exhibit 133 # 9 Exhibit 134 # 10
                                                  Exhibit 135 # 11 Exhibit 136 # 12 Exhibit 137 #
                                                  13 Exhibit 138 # 14 Exhibit 139 # 15 Exhibit
                                                  140 # 16 Exhibit 141 # 17 Exhibit 142 # 18
                                                  Exhibit 143 # 19 Exhibit 144 # 20 Exhibit 145 #
                                                  21 Exhibit 146 # 22 Exhibit 147 # 23 Exhibit
                                                  148 # 24 Exhibit 149 # 25 Exhibit 150) (Gluck,
 12/14/2020                                       Kristian) (Entered: 12/14/2020)

                            2386
                                                  Sealed Document Sealed UCC Exhibits 151-175,




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 384 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 384 of 1639
                                                                           0384


                                                  Additional Attachments Re: (related document
                            (571 pgs; 25 docs)    (s):2313 Witness List, Exhibit List, 2317
                                                  Additional Attachments) (Filed By Official
                                                  Committee Of Unsecured Creditors ).(Related
                                                  document(s):2313 Witness List, Exhibit List,
                                                  2317 Additional Attachments) (Attachments: # 1
                                                  Exhibit 151 # 2 Exhibit 152 # 3 Exhibit 153 # 4
                                                  Exhibit 154 # 5 Exhibit 156 # 6 Exhibit 157 # 7
                                                  Exhibit 158 # 8 Exhibit 159 # 9 Exhibit 160 # 10
                                                  Exhibit 161 # 11 Exhibit 162 # 12 Exhibit 163 #
                                                  13 Exhibit 164 # 14 Exhibit 165 # 15 Exhibit
                                                  166 # 16 Exhibit 167 # 17 Exhibit 168 # 18
                                                  Exhibit 169 # 19 Exhibit 170 # 20 Exhibit 171 #
                                                  21 Exhibit 172 # 22 Exhibit 173 # 23 Exhibit
                                                  174 # 24 Exhibit 175) (Harrison, Julie) (Entered:
 12/14/2020                                       12/14/2020)

                            2387                  Additional Attachments Re: Sealed UCC
                                                  Exhibits 176-200 (related document(s):2313
                            (807 pgs; 23 docs)    Witness List, Exhibit List, 2317 Additional
                                                  Attachments), Sealed Document (Filed By
                                                  Official Committee Of Unsecured Creditors ).
                                                  (Related document(s):2313 Witness List, Exhibit
                                                  List, 2317 Additional Attachments)
                                                  (Attachments: # 1 Exhibit 176 # 2 Exhibit 178 #
                                                  3 Exhibit 180 # 4 Exhibit 181 # 5 Exhibit 182 #
                                                  6 Exhibit 183 # 7 Exhibit 184 # 8 Exhibit 185 #
                                                  9 Exhibit 187 # 10 Exhibit 188 # 11 Exhibit 189
                                                  # 12 Exhibit 190 # 13 Exhibit 191 # 14 Exhibit
                                                  192 # 15 Exhibit 193 # 16 Exhibit 194 # 17
                                                  Exhibit 195 # 18 Exhibit 196 # 19 Exhibit 197 #
                                                  20 Exhibit 198 # 21 Exhibit 199 # 22 Exhibit
 12/14/2020                                       200) (Mokrzycka, Maria) (Entered: 12/14/2020)

                            2388
                                                  Additional Attachments Re: Sealed UCC
                            (764 pgs; 26 docs)    Exhibits 201-225 (related document(s):2313
                                                  Witness List, Exhibit List, 2318 Additional
                                                  Attachments), Sealed Document (Filed By
                                                  Official Committee Of Unsecured Creditors ).
                                                  (Related document(s):2313 Witness List, Exhibit
                                                  List, 2318 Additional Attachments)
                                                  (Attachments: # 1 Exhibit 201 # 2 Exhibit 202 #
                                                  3 Exhibit 203 # 4 Exhibit 204 # 5 Exhibit 205 #
                                                  6 Exhibit 206 # 7 Exhibit 207 # 8 Exhibit 208 #
                                                  9 Exhibit 209 # 10 Exhibit 210 # 11 Exhibit 211
                                                  # 12 Exhibit 212 # 13 Exhibit 213 # 14 Exhibit
                                                  214 # 15 Exhibit 215 # 16 Exhibit 216 # 17




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 385 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 385 of 1639
                                                                           0385


                                                  Exhibit 217 # 18 Exhibit 218 # 19 Exhibit 219 #
                                                  20 Exhibit 220 # 21 Exhibit 221 # 22 Exhibit
                                                  222 # 23 Exhibit 223 # 24 Exhibit 224 # 25
                                                  Exhibit 225) (Bruner, Robert) (Entered:
 12/14/2020                                       12/14/2020)

                            2389                  Sealed Document Sealed UCC Exhibits 226-250,
                                                  Additional Attachments Re: (related document
                            (1464 pgs; 27 docs)   (s):2313 Witness List, Exhibit List, 2318
                                                  Additional Attachments) (Filed By Official
                                                  Committee Of Unsecured Creditors ).(Related
                                                  document(s):2313 Witness List, Exhibit List,
                                                  2318 Additional Attachments) (Attachments: # 1
                                                  Exhibit 226 # 2 Exhibit 227 # 3 Exhibit 228 # 4
                                                  Exhibit 229 # 5 Exhibit 230 # 6 Exhibit 231 # 7
                                                  Exhibit 232 # 8 Exhibit 233 # 9 Exhibit 234 -
                                                  Part 1 # 10 Exhibit 234 - Part 2 # 11 Exhibit 235
                                                  # 12 Exhibit 236 # 13 Exhibit 237 # 14 Exhibit
                                                  238 # 15 Exhibit 239 # 16 Exhibit 240 # 17
                                                  Exhibit 241 # 18 Exhibit 242 # 19 Exhibit 243 #
                                                  20 Exhibit 244 # 21 Exhibit 245 # 22 Exhibit
                                                  246 # 23 Exhibit 247 # 24 Exhibit 248 # 25
                                                  Exhibit 249 # 26 Exhibit 250) (Gluck, Kristian)
 12/14/2020                                       (Entered: 12/14/2020)

                            2390                  Statement Third Amended Verified Statement of
                                                  Davis Polk & Wardwell LLP and Vinson &
                            (12 pgs)              Elkins LLP Pursuant to Federal Rule of
                                                  Bankruptcy Procedure 2019 (Filed By Ad Hoc
                                                  Group of FLLO Term Loan Lenders ).(Related
                                                  document(s):1619 Statement) (Morgan, John)
 12/14/2020                                       (Entered: 12/14/2020)

                            2391
                                                  Additional Attachments Re: Sealed UCC
                            (1086 pgs; 35 docs)   Exhibits 251-300 (related document(s):2313
                                                  Witness List, Exhibit List, 2319 Additional
                                                  Attachments), Sealed Document (Filed By
                                                  Official Committee Of Unsecured Creditors ).
                                                  (Related document(s):2313 Witness List, Exhibit
                                                  List, 2319 Additional Attachments)
                                                  (Attachments: # 1 Exhibit 251 # 2 Exhibit 252 #
                                                  3 Exhibit 254 # 4 Exhibit 255 # 5 Exhibit 256 #
                                                  6 Exhibit 257 # 7 Exhibit 260 # 8 Exhibit 262 #
                                                  9 Exhibit 263 # 10 Exhibit 264 # 11 Exhibit 265
                                                  # 12 Exhibit 267 # 13 Exhibit 268 # 14 Exhibit
                                                  269 # 15 Exhibit 270 # 16 Exhibit 271 # 17
                                                  Exhibit 272 # 18 Exhibit 273 # 19 Exhibit 274 #




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 386 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 386 of 1639
                                                                           0386


                                                  20 Exhibit 275 # 21 Exhibit 276 # 22 Exhibit
                                                  277 # 23 Exhibit 278 # 24 Exhibit 279 # 25
                                                  Exhibit 280 # 26 Exhibit 281 # 27 Exhibit 282 #
                                                  28 Exhibit 283 # 29 Exhibit 284 # 30 Exhibit
                                                  285 # 31 Exhibit 287 # 32 Exhibit 288 # 33
                                                  Exhibit 289 # 34 Exhibit 298) (Harrison, Julie)
 12/14/2020                                       (Entered: 12/14/2020)

                            2392                  Sealed Document , Additional Attachments Re:
                                                  Sealed UCC Exhibits 300-350 (related document
                            (1867 pgs; 44 docs)   (s):2313 Witness List, Exhibit List, 2320
                                                  Additional Attachments) (Filed By Official
                                                  Committee Of Unsecured Creditors ).(Related
                                                  document(s):2313 Witness List, Exhibit List,
                                                  2320 Additional Attachments) (Attachments: # 1
                                                  Exhibit 301 # 2 Exhibit 303 # 3 Exhibit 304 # 4
                                                  Exhibit 305 # 5 Exhibit 306 # 6 Exhibit 307 # 7
                                                  Exhibit 308 # 8 Exhibit 309 # 9 Exhibit 310 # 10
                                                  Exhibit 312 # 11 Exhibit 313 # 12 Exhibit 314 #
                                                  13 Exhibit 315 # 14 Exhibit 316 # 15 Exhibit
                                                  317 # 16 Exhibit 318 # 17 Exhibit 319 # 18
                                                  Exhibit 320 # 19 Exhibit 321 # 20 Exhibit 323 #
                                                  21 Exhibit 324 # 22 Exhibit 325 # 23 Exhibit
                                                  326 # 24 Exhibit 327 # 25 Exhibit 328 # 26
                                                  Exhibit 329 # 27 Exhibit 330 # 28 Exhibit 331 #
                                                  29 Exhibit 332 # 30 Exhibit 333 # 31 Exhibit
                                                  334 # 32 Exhibit 335 # 33 Exhibit 336 # 34
                                                  Exhibit 337 # 35 Exhibit 338 # 36 Exhibit 339 #
                                                  37 Exhibit 340 # 38 Exhibit 341 # 39 Exhibit
                                                  342 # 40 Exhibit 343 # 41 Exhibit 344 # 42
                                                  Exhibit 345 # 43 Exhibit 348) (Mokrzycka,
 12/14/2020                                       Maria) (Entered: 12/14/2020)

                            2393
                                                  Additional Attachments Re: Sealed UCC
                            (657 pgs; 22 docs)    Exhibits 351-400 (related document(s):2313
                                                  Witness List, Exhibit List, 2321 Additional
                                                  Attachments), Sealed Document (Filed By
                                                  Official Committee Of Unsecured Creditors ).
                                                  (Related document(s):2313 Witness List, Exhibit
                                                  List, 2321 Additional Attachments)
                                                  (Attachments: # 1 Exhibit 351 # 2 Exhibit 352 #
                                                  3 Exhibit 353 # 4 Exhibit 354 # 5 Exhibit 362 #
                                                  6 Exhibit 363 # 7 Exhibit 364 # 8 Exhibit 365 #
                                                  9 Exhibit 366 # 10 Exhibit 367 # 11 Exhibit 368
                                                  # 12 369 # 13 Exhibit 370 # 14 Exhibit 371 # 15
                                                  Exhibit 372 # 16 Exhibit 373 # 17 Exhibit 374 #
                                                  18 Exhibit 375 # 19 Exhibit 376 # 20 Exhibit




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 387 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 387 of 1639
                                                                           0387


                                                  379 # 21 Exhibit 397) (Bruner, Robert) (Entered:
 12/14/2020                                       12/14/2020)

                            2394                  Sealed Document Sealed UCC Exhibits 401-450,
                                                  Additional Attachments Re: (related document
                            (43 pgs; 3 docs)      (s):2313 Witness List, Exhibit List, 2323
                                                  Additional Attachments) (Filed By Official
                                                  Committee Of Unsecured Creditors ).(Related
                                                  document(s):2313 Witness List, Exhibit List,
                                                  2323 Additional Attachments) (Attachments: # 1
                                                  Exhibit 405 # 2 Exhibit 420) (Gluck, Kristian)
 12/14/2020                                       (Entered: 12/14/2020)

                            2395                  Additional Attachments Re: Sealed UCC
                                                  Exhibits 451-500 (related document(s):2313
                            (188 pgs; 21 docs)    Witness List, Exhibit List, 2325 Additional
                                                  Attachments), Sealed Document (Filed By
                                                  Official Committee Of Unsecured Creditors ).
                                                  (Related document(s):2313 Witness List, Exhibit
                                                  List, 2325 Additional Attachments)
                                                  (Attachments: # 1 Exhibit 451 # 2 Exhibit 452 #
                                                  3 Exhibit 453 # 4 Exhibit 454 # 5 Exhibit 455 #
                                                  6 Exhibit 456 # 7 Exhibit 457 # 8 Exhibit 458 #
                                                  9 Exhibit 460 # 10 Exhibit 461 # 11 Exhibit 462
                                                  # 12 Exhibit 463 # 13 Exhibit 464 # 14 Exhibit
                                                  465 # 15 Exhibit 466 # 16 Exhibit 467 # 17
                                                  Exhibit 468 # 18 Exhibit 469 # 19 Exhibit 470 #
                                                  20 Exhibit 471) (Harrison, Julie) (Entered:
 12/14/2020                                       12/14/2020)

                            2396
                                                  Witness List, Exhibit List (Filed By Ad Hoc
                            (9605 pgs; 41 docs)   Group of FLLO Term Loan Lenders ).
                                                  (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3
                                                  Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6 Exhibit
                                                  6 # 7 Exhibit 7 # 8 Exhibit 8 # 9 Exhibit 9 # 10
                                                  Exhibit 10 # 11 Exhibit 11-52 # 12 Exhibit 53 -
                                                  A # 13 Exhibit 53-B # 14 Exhibit 53-C # 15
                                                  Exhibit 53-D # 16 Exhibit 53-E # 17 Exhibit 53-
                                                  F # 18 Exhibit 53-G # 19 Exhibit 53-H # 20
                                                  Exhibit 53-I # 21 Exhibit 53-J # 22 Exhibit 53-K
                                                  # 23 Exhibit 53-L # 24 Exhibit 53-M # 25
                                                  Exhibit 53-N # 26 Exhibit 53-O # 27 Exhibit 53-
                                                  P # 28 Exhibit 53-Q # 29 Exhibit 53-R # 30
                                                  Exhibit 53-S # 31 Exhibit 53-T # 32 Exhibit 53-
                                                  U # 33 Exhibit 54 # 34 Exhibit 55 # 35 Exhibit
                                                  56 # 36 Exhibit 57 # 37 Exhibit 58 # 38 Exhibit
                                                  59 # 39 Exhibit 60 # 40 Exhibit 61) (Perrin,




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 388 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 388 of 1639
                                                                           0388


 12/14/2020                                       Harry) (Entered: 12/14/2020)

                            2397                  Notice Joinder and Agreement by the Eagle
                                                  Ford Royalty Owner MDL Plaintiffs to the
                            (2 pgs)               Stipulated Confidentiality Agreement and
                                                  Protective Order. (Related document(s):806
                                                  Stipulation) Filed by c/o Annie Catmull Royalty
                                                  Owner Plaintiffs c/o (Catmull, Annie) (Entered:
 12/14/2020                                       12/14/2020)

                            2398                  Sealed Document , Additional Attachments Re:
                                                  Sealed UCC Exhibits 501-550 (related document
                            (907 pgs; 30 docs)    (s):2313 Witness List, Exhibit List, 2326
                                                  Additional Attachments) (Filed By Official
                                                  Committee Of Unsecured Creditors ).(Related
                                                  document(s):2313 Witness List, Exhibit List,
                                                  2326 Additional Attachments) (Attachments: # 1
                                                  Exhibit 502 # 2 Exhibit 509 # 3 Exhibit 510 # 4
                                                  Exhibit 511 # 5 Exhibit 520 # 6 Exhibit 521 # 7
                                                  Exhibit 522 # 8 Exhibit 523 # 9 Exhibit 524 # 10
                                                  Exhibit 525 # 11 Exhibit 526 # 12 Exhibit 527 #
                                                  13 Exhibit 528 # 14 Exhibit 529 # 15 Exhibit
                                                  530 # 16 Exhibit 532 # 17 Exhibit 534 # 18
                                                  Exhibit 535 # 19 Exhibit 538 # 20 Exhibit 540 #
                                                  21 Exhibit 541 # 22 Exhibit 543 # 23 Exhibit
                                                  544 # 24 Exhibit 545 # 25 Exhibit 546 # 26
                                                  Exhibit 547 # 27 Exhibit 548 # 28 Exhibit 549 #
                                                  29 Exhibit 550) (Mokrzycka, Maria) (Entered:
 12/14/2020                                       12/14/2020)

                            2399                  Additional Attachments Re: Sealed UCC
                                                  Exhibits 551-600 (related document(s):2313
                            (200 pgs; 17 docs)    Witness List, Exhibit List, 2327 Additional
                                                  Attachments), Sealed Document (Filed By
                                                  Official Committee Of Unsecured Creditors ).
                                                  (Related document(s):2313 Witness List, Exhibit
                                                  List, 2327 Additional Attachments)
                                                  (Attachments: # 1 Exhibit 551 # 2 Exhibit 552 #
                                                  3 Exhibit 553 # 4 Exhibit 554 # 5 Exhibit 555 #
                                                  6 Exhibit 556 # 7 Exhibit 590 # 8 Exhibit 591 #
                                                  9 Exhibit 592 # 10 Exhibit 593 # 11 Exhibit 594
                                                  # 12 Exhibit 595 # 13 Exhibit 596 # 14 Exhibit
                                                  597 # 15 Exhibit 599 # 16 Exhibit 600) (Bruner,
 12/14/2020                                       Robert) (Entered: 12/14/2020)

                            2400
                                                  Sealed Document Sealed UCC Exhibits 601-650,
                                                  Additional Attachments Re: (related document




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 389 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 389 of 1639
                                                                           0389


                            (711 pgs; 40 docs)    (s):2313 Witness List, Exhibit List, 2328
                                                  Additional Attachments) (Filed By Official
                                                  Committee Of Unsecured Creditors ).(Related
                                                  document(s):2313 Witness List, Exhibit List,
                                                  2328 Additional Attachments) (Attachments: # 1
                                                  Exhibit 601 # 2 Exhibit 603 # 3 Appendix 605 #
                                                  4 Appendix 606 # 5 Exhibit 607 # 6 Exhibit 608
                                                  # 7 Appendix 609 # 8 Exhibit 610 # 9 Exhibit
                                                  611 # 10 Exhibit 612 # 11 Exhibit 613 # 12
                                                  Exhibit 614 # 13 Exhibit 615 # 14 Exhibit 616 #
                                                  15 Exhibit 617 # 16 Exhibit 618 # 17 Exhibit
                                                  619 # 18 Exhibit 620 # 19 Exhibit 622 # 20
                                                  Exhibit 623 # 21 Exhibit 626 # 22 Exhibit 632 #
                                                  23 Exhibit 634 # 24 Exhibit 635 # 25 Exhibit
                                                  636 # 26 Exhibit 637 # 27 Exhibit 638 # 28
                                                  Exhibit 639 # 29 Exhibit 640 # 30 Exhibit 641 #
                                                  31 Exhibit 642 # 32 Exhibit 643 # 33 Exhibit
                                                  644 # 34 Exhibit 645 # 35 Exhibit 646 # 36
                                                  Exhibit 647 # 37 Exhibit 648 # 38 Exhibit 649 #
                                                  39 Exhibit 650) (Gluck, Kristian) (Entered:
 12/14/2020                                       12/14/2020)

                            2401                  Additional Attachments Re: Sealed UCC
                                                  Exhibits 651-700 (related document(s):2313
                            (641 pgs; 23 docs)    Witness List, Exhibit List, 2329 Additional
                                                  Attachments), Sealed Document (Filed By
                                                  Official Committee Of Unsecured Creditors ).
                                                  (Related document(s):2313 Witness List, Exhibit
                                                  List, 2329 Additional Attachments)
                                                  (Attachments: # 1 Exhibit 651 # 2 Exhibit 652 #
                                                  3 Exhibit 653 # 4 Exhibit 654 # 5 Exhibit 660 #
                                                  6 Exhibit 661 # 7 Exhibit 662 # 8 Exhibit 663 #
                                                  9 Exhibit 664 # 10 Exhibit 665 # 11 Exhibit 666
                                                  # 12 Exhibit 667 # 13 Exhibit 668 # 14 Exhibit
                                                  669 # 15 Exhibit 670 # 16 Exhibit 671 # 17
                                                  Exhibit 673 # 18 Exhibit 674 # 19 Exhibit 675 #
                                                  20 Exhibit 677 # 21 Exhibit 678 # 22 Exhibit
 12/14/2020                                       700) (Harrison, Julie) (Entered: 12/14/2020)

                            2402
                                                  Sealed Document , Additional Attachments Re:
                            (284 pgs; 25 docs)    Sealed UCC Exhibits 701- 750 (related
                                                  document(s):2313 Witness List, Exhibit List,
                                                  2331 Additional Attachments) (Filed By Official
                                                  Committee Of Unsecured Creditors ).(Related
                                                  document(s):2313 Witness List, Exhibit List,
                                                  2331 Additional Attachments) (Attachments: # 1
                                                  Exhibit 703 # 2 Exhibit 704 # 3 Exhibit 705 # 4




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 390 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 390 of 1639
                                                                           0390


                                                  Exhibit 706 # 5 Exhibit 707 # 6 Exhibit 709 # 7
                                                  Exhibit 718 # 8 Exhibit 719 # 9 Exhibit 720 # 10
                                                  Exhibit 721 # 11 Exhibit 722 # 12 Exhibit 723 #
                                                  13 Exhibit 727 # 14 Exhibit 728 # 15 Exhibit
                                                  729 # 16 Exhibit 730 # 17 Exhibit 731 # 18
                                                  Exhibit 733 # 19 Exhibit 734 # 20 Exhibit 736 #
                                                  21 Exhibit 742 # 22 Exhibit 744 # 23 Exhibit
                                                  748 # 24 Exhibit 750) (Mokrzycka, Maria)
 12/14/2020                                       (Entered: 12/14/2020)

                            2403                  Witness List, Exhibit List (Filed By ARI Fleet
                                                  LT, Automotive Rentals, Inc. ).(Related
                            (80 pgs; 9 docs)      document(s):1644 Amended Chapter 11 Plan)
                                                  (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3
                                                  Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6 Exhibit
                                                  6 # 7 Exhibit 7 # 8 Exhibit 8) (Aguilar, Richard)
 12/14/2020                                       (Entered: 12/14/2020)

                            2404                  Withdraw Document (Filed By Dimmit County,
                                                  et al ).(Related document(s):1996 Objection to
                            (2 pgs)               Confirmation of the Plan) (Sonik, Owen)
 12/14/2020                                       (Entered: 12/14/2020)

                            2405                  Proposed Order RE: Order Confirming Third
                                                  Amended Joint Chapter 11 Plan of
                            (106 pgs)             Reorganization of Chesapeake Energy
                                                  Corporation and Its Debtor Affiliates (Filed By
                                                  Chesapeake Energy Corporation ).(Related
                                                  document(s):2336 Amended Chapter 11 Plan)
 12/14/2020                                       (Cavenaugh, Matthew) (Entered: 12/14/2020)

                            2406
                                                  Additional Attachments Re: Sealed UCC
                                                  Exhibits 751-800 (related document(s):2313
                            (266 pgs; 25 docs)
                                                  Witness List, Exhibit List, 2333 Additional
                                                  Attachments), Sealed Document (Filed By
                                                  Official Committee Of Unsecured Creditors ).
                                                  (Related document(s):2313 Witness List, Exhibit
                                                  List, 2333 Additional Attachments)
                                                  (Attachments: # 1 Exhibit 751 # 2 Exhibit 756 #
                                                  3 Exhibit 762 # 4 Exhibit 763 # 5 Exhibit 772 #
                                                  6 Exhibit 773 # 7 Exhibit 775 # 8 Exhibit 776 #
                                                  9 Exhibit 780 # 10 Exhibit 781 # 11 Exhibit 782
                                                  # 12 Exhibit 785 # 13 Exhibit 786 # 14 Exhibit
                                                  787 # 15 Exhibit 789 # 16 Exhibit 792 # 17
                                                  Exhibit 793 # 18 Exhibit 794 # 19 Exhibit 795 #
                                                  20 Exhibit 796 # 21 Exhibit 797 # 22 Exhibit
                                                  798 # 23 Exhibit 799 # 24 Exhibit 800) (Bruner,




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 391 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 391 of 1639
                                                                           0391


 12/14/2020                                       Robert) (Entered: 12/14/2020)

                            2407                  Sealed Document Sealed UCC Exhibits 801-850,
                                                  Additional Attachments Re: (related document
                            (408 pgs; 35 docs)    (s):2313 Witness List, Exhibit List, 2334
                                                  Additional Attachments) (Filed By Official
                                                  Committee Of Unsecured Creditors ).(Related
                                                  document(s):2313 Witness List, Exhibit List,
                                                  2334 Additional Attachments) (Attachments: # 1
                                                  Exhibit 801 # 2 Exhibit 802 # 3 Exhibit 803 # 4
                                                  Exhibit 804 # 5 Exhibit 805 # 6 Exhibit 806 # 7
                                                  Exhibit 807 # 8 Exhibit 808 # 9 Exhibit 809 # 10
                                                  Exhibit 810 # 11 Exhibit 811 # 12 Exhibit 812 #
                                                  13 Exhibit 813 # 14 Exhibit 814 # 15 Exhibit
                                                  815 # 16 Exhibit 816 # 17 Exhibit 817 # 18
                                                  Exhibit 818 # 19 Exhibit 819 # 20 Exhibit 820 #
                                                  21 Exhibit 821 # 22 Exhibit 822 # 23 Exhibit
                                                  823 # 24 Exhibit 824 # 25 Exhibit 825 # 26
                                                  Exhibit 826 # 27 Exhibit 827 # 28 Exhibit 828 #
                                                  29 Exhibit 829 # 30 Exhibit 830 # 31 Exhibit
                                                  844 # 32 Exhibit 845 # 33 Exhibit 849 # 34
                                                  Exhibit 850) (Gluck, Kristian) (Entered:
 12/14/2020                                       12/14/2020)

                            2408                  Additional Attachments Re: SEALED UCC
                                                  Exhibits 851-900 (related document(s):2313
                            (45 pgs; 3 docs)      Witness List, Exhibit List, 2335 Additional
                                                  Attachments), Sealed Document (Filed By
                                                  Official Committee Of Unsecured Creditors ).
                                                  (Related document(s):2313 Witness List, Exhibit
                                                  List, 2335 Additional Attachments)
                                                  (Attachments: # 1 Exhibit 856 # 2 Exhibit 857)
 12/14/2020                                       (Harrison, Julie) (Entered: 12/14/2020)

                            2409
                                                  Additional Attachments Re: Sealed UCC
                            (73 pgs; 45 docs)     Exhibits 901-950 (related document(s):2313
                                                  Witness List, Exhibit List, 2337 Additional
                                                  Attachments), Sealed Document (Filed By
                                                  Official Committee Of Unsecured Creditors ).
                                                  (Related document(s):2313 Witness List, Exhibit
                                                  List, 2337 Additional Attachments)
                                                  (Attachments: # 1 Exhibit 907 # 2 Exhibit 908 #
                                                  3 Exhibit 909 # 4 Exhibit 910 # 5 Exhibit 911 #
                                                  6 Exhibit 912 # 7 Exhibit 913 # 8 Exhibit 914 #
                                                  9 Exhibit 915 # 10 Exhibit 916 # 11 Exhibit 917
                                                  # 12 Exhibit 918 # 13 Exhibit 919 # 14 Exhibit
                                                  920 # 15 Exhibit 921 # 16 Exhibit 922 # 17




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 392 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 392 of 1639
                                                                           0392


                                                  Exhibit 923 # 18 Exhibit 924 # 19 Exhibit 925 #
                                                  20 Exhibit 926 # 21 Exhibit 927 # 22 Exhibit
                                                  928 # 23 Exhibit 929 # 24 Exhibit 930 # 25
                                                  Exhibit 931 # 26 Exhibit 932 # 27 Exhibit 933 #
                                                  28 Exhibit 934 # 29 Exhibit 935 # 30 Exhibit
                                                  936 # 31 Exhibit 937 # 32 Exhibit 938 # 33
                                                  Exhibit 939 # 34 Exhibit 940 # 35 Exhibit 941 #
                                                  36 Exhibit 942 # 37 Exhibit 943 # 38 Exhibit
                                                  944 # 39 Exhibit 945 # 40 Exhibit 946 # 41
                                                  Exhibit 947 # 42 Exhibit 948 # 43 Exhibit 949 #
                                                  44 Exhibit 950) (Boland, Jason) (Entered:
 12/14/2020                                       12/14/2020)

                            2410                  Sealed Document , Additional Attachments Re:
                                                  Sealed UCC Exhibits 951-1000 (related
                            (122 pgs; 37 docs)    document(s):2313 Witness List, Exhibit List,
                                                  2344 Additional Attachments) (Filed By Official
                                                  Committee Of Unsecured Creditors ).(Related
                                                  document(s):2313 Witness List, Exhibit List,
                                                  2344 Additional Attachments) (Attachments: # 1
                                                  Exhibit 951 # 2 Exhibit 952 # 3 Exhibit 953 # 4
                                                  Exhibit 954 # 5 Exhibit 955 # 6 Exhibit 956 # 7
                                                  Exhibit 957 # 8 Exhibit 958 # 9 Exhibit 959 # 10
                                                  Exhibit 960 # 11 Exhibit 961 # 12 Exhibit 962 #
                                                  13 Exhibit 963 # 14 Exhibit 964 # 15 Exhibit
                                                  965 # 16 Exhibit 966 # 17 Exhibit 967 # 18
                                                  Exhibit 968 # 19 Exhibit 969 # 20 Exhibit 970 #
                                                  21 Exhibit 971 # 22 Exhibit 972 # 23 Exhibit
                                                  973 # 24 Exhibit 974 # 25 Exhibit 975 # 26
                                                  Exhibit 976 # 27 Exhibit 977 # 28 Exhibit 978 #
                                                  29 Exhibit 979 # 30 Exhibit 980 # 31 Exhibit
                                                  984 # 32 Exhibit 985 # 33 Exhibit 986 # 34
                                                  Exhibit 992 # 35 Exhibit 994 # 36 Exhibit 995)
 12/14/2020                                       (Mokrzycka, Maria) (Entered: 12/14/2020)

                            2411                  Statement of MUFG Union Bank, N.A. in
                                                  Support of Confirmation and Joinder to the
                            (16 pgs)              Debtors' Memorandum of Law in Support of
                                                  Confirmation (Filed By MUFG Union Bank,
                                                  N.A. ).(Related document(s):2354 Brief)
 12/14/2020                                       (McFaul, Duston) (Entered: 12/14/2020)

                            2412
                                                  Additional Attachments Re: Sealed UCC
                            (747 pgs; 33 docs)    Exhibits 1001-1050 (related document(s):2313
                                                  Witness List, Exhibit List, 2346 Additional
                                                  Attachments), Sealed Document (Filed By
                                                  Official Committee Of Unsecured Creditors ).




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 393 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 393 of 1639
                                                                           0393


                                                  (Related document(s):2313 Witness List, Exhibit
                                                  List, 2346 Additional Attachments)
                                                  (Attachments: # 1 Exhibit 1001 # 2 Exhibit 1005
                                                  # 3 Exhibit 1006 # 4 Exhibit 1013 # 5 Exhibit
                                                  1014 # 6 Exhibit 1015 # 7 Exhibit 1016 # 8
                                                  Exhibit 1017 # 9 Exhibit 1021 # 10 Exhibit 1022
                                                  # 11 Exhibit 1023 # 12 Exhibit 1025 Part 1 # 13
                                                  Exhibit 1025 Part 2 # 14 Exhibit 1025 Part 3 #
                                                  15 Exhibit 1026 # 16 Exhibit 1027 # 17 Exhibit
                                                  1028 # 18 Exhibit 1029 # 19 Exhibit 1030 # 20
                                                  Exhibit 1031 # 21 Exhibit 1032 # 22 Exhibit
                                                  1033 # 23 Exhibit 1034 # 24 Exhibit 1035 # 25
                                                  Exhibit 1036 # 26 Exhibit 1037 # 27 Exhibit
                                                  1038 # 28 Exhibit 1040 # 29 Exhibit 1041 # 30
                                                  Exhibit 1042 # 31 Exhibit 1043 # 32 Exhibit
 12/14/2020                                       1050) (Bruner, Robert) (Entered: 12/14/2020)

                            2413                  Objection of Core Laboratories, LP, to the Third
                                                  Amended Joint Chapter 11 Plan of
                            (4 pgs)               Reorganization of Chesapeake Energy
                                                  Corporation and its Debtor Affiliates [Docket
                                                  No. 2336]. Filed by Core Laboratories, LP
 12/14/2020                                       (Burrer, Karl) (Entered: 12/14/2020)

                            2414
                                                  Sealed Document Sealed UCC Exhibits 1051-
                            (730 pgs; 50 docs)    1100, Additional Attachments Re: (related
                                                  document(s):2313 Witness List, Exhibit List,
                                                  2347 Additional Attachments) (Filed By Official
                                                  Committee Of Unsecured Creditors ).(Related
                                                  document(s):2313 Witness List, Exhibit List,
                                                  2347 Additional Attachments) (Attachments: # 1
                                                  Exhibit 1051 # 2 Exhibit 1052 # 3 Exhibit 1053
                                                  # 4 Exhibit 1054 # 5 Exhibit 1055 # 6 Exhibit
                                                  1056 # 7 Exhibit 1057 # 8 Exhibit 1058 # 9
                                                  Exhibit 1059 # 10 Exhibit 1060 # 11 Exhibit
                                                  1061 # 12 Exhibit 1062 # 13 Exhibit 1063 # 14
                                                  Exhibit 1064 # 15 Exhibit 1065 # 16 Exhibit
                                                  1066 # 17 Exhibit 1067 # 18 Exhibit 1068 # 19
                                                  Exhibit 1069 # 20 Exhibit 1070 # 21 Exhibit
                                                  1071 # 22 Exhibit 1072 # 23 Exhibit 1073 # 24
                                                  Exhibit 1074 # 25 Exhibit 1075 # 26 Exhibit
                                                  1076 # 27 Exhibit 1077 # 28 Exhibit 1078 # 29
                                                  Exhibit 1079 # 30 Exhibit 1080 # 31 Exhibit
                                                  1081 # 32 Exhibit 1082 # 33 Exhibit 1083 # 34
                                                  Exhibit 1084 # 35 Exhibit 1085 # 36 Exhibit
                                                  1086 # 37 Exhibit 1087 # 38 Exhibit 1088 # 39
                                                  Exhibit 1089 # 40 Exhibit 1090 # 41 Exhibit




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 394 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 394 of 1639
                                                                           0394


                                                  1091 # 42 Exhibit 1092 # 43 Exhibit 1093 # 44
                                                  Exhibit 1094 # 45 Exhibit 1095 # 46 Exhibit
                                                  1096 # 47 Exhibit 1097 # 48 Exhibit 1099 # 49
                                                  Exhibit 1100) (Gluck, Kristian) (Entered:
 12/14/2020                                       12/14/2020)

                            2415                  Additional Attachments Re: Sealed UCC
                                                  Exhibits 1101-1150 (related document(s):2313
                            (57 pgs; 4 docs)      Witness List, Exhibit List, 2348 Additional
                                                  Attachments), Sealed Document (Filed By
                                                  Official Committee Of Unsecured Creditors ).
                                                  (Related document(s):2313 Witness List, Exhibit
                                                  List, 2348 Additional Attachments)
                                                  (Attachments: # 1 Exhibit 1117 # 2 Exhibit 1122
                                                  # 3 Exhibit 1127) (Harrison, Julie) (Entered:
 12/14/2020                                       12/14/2020)

                            2416                  Additional Attachments Re: Sealed UCC
                                                  Exhibits 1251-1300 (related document(s):2313
                            (384 pgs; 9 docs)     Witness List, Exhibit List, 2370 Additional
                                                  Attachments), Sealed Document (Filed By
                                                  Official Committee Of Unsecured Creditors ).
                                                  (Related document(s):2313 Witness List, Exhibit
                                                  List, 2370 Additional Attachments)
                                                  (Attachments: # 1 Exhibit 1284 # 2 Exhibit 1285
                                                  # 3 Exhibit 1288 # 4 Exhibit 1291 # 5 Exhibit
                                                  1292 # 6 Exhibit 1295 # 7 Exhibit 1296 # 8
                                                  Exhibit 1297) (Boland, Jason) (Entered:
 12/14/2020                                       12/14/2020)

                            2417                  Statement [Verified] Pursuant to Rule 2019 of
                                                  the Federal Rules of Bankruptcy Procedure
                            (4 pgs)               Regarding Representation of Multiple Creditors
                                                  (Filed By C.C. Forbes, LLC, Commonwealth of
                                                  Pennsylvania, Oklahoma Office of State
                                                  Treasurer ). (Butler, Lynn) (Entered:
 12/14/2020                                       12/14/2020)

                            2418                  Withdraw Document (Filed By Archrock
                                                  Partners Operating, LLC ).(Related document
                            (2 pgs)               (s):2097 Response/Objection) (Maraist, Kevin)
 12/14/2020                                       (Entered: 12/14/2020)

                            2419
                                                      PDF with attached Audio File. Court Date &
                            (1 pg)                Time [ 12/14/2020 1:30:31 PM ]. File Size
                                                  [ 48790 KB ]. Run Time [ 01:41:39 ]. (In ref to




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 395 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 395 of 1639
                                                                           0395


                                                  Pre-Trial Conference held December 14, 2020
                                                  and to doc nos. 1293, 1175, 1248, 1558, 1606,
 12/14/2020                                       and 2219.). (admin). (Entered: 12/14/2020)

                            2420
                                                  Letter from Gaynell Spigner (Attachments: # 1
 12/14/2020                 (4 pgs; 2 docs)       Exhibit) (mmap) (Entered: 12/14/2020)

                            2421                  Order Authorizing Retention of BBG, INC., as
                                                  Real Estate Appraiser/Valuation Expert
                            (6 pgs)               Effective as of November 2, 2020 (Related Doc
                                                  # 1833) Signed on 12/14/2020. (VrianaPortillo)
 12/14/2020                                       (Entered: 12/14/2020)

                            2422                  Order (I) Authorizing the Assumption and
                                                  Assignment of Certain Bureau of Land
                            (12 pgs)              Management and Bureau of Indian Affairs Oil
                                                  and Gas Leases and (II) Granting Related Relief
                                                  (Related Doc # 1814) Signed on 12/14/2020.
 12/14/2020                                       (VrianaPortillo) (Entered: 12/14/2020)

                            2423                  Order (I) Authorizing the Rejection of the Ryan
                                                  Tax Contracts Effective as of November 18,
                            (4 pgs)               2020 and (II) Granting Related Relief (Related
                                                  Doc # 1857) Signed on 12/14/2020.
 12/14/2020                                       (VrianaPortillo) (Entered: 12/14/2020)

                            2424                  Agreed Order (I) Authorizing the Rejection of
                                                  the Tetco Agreement Effective as of November
                            (2 pgs)               1, 2021 and (II) Granting Related Relief Signed
                                                  on 12/14/2020 (Related document(s):1853
                                                  Generic Motion) (VrianaPortillo) (Entered:
 12/14/2020                                       12/14/2020)

                            2425                  AO 435 T ANSCRIPT ORDER FORM (Daily
                                                  (24 hours)) by Matthew Cavenaugh. This is to
                            (1 pg)                order a transcript of 12/14/2020 before Judge
                                                  David R. Jones. Court Reporter/Transcriber:
                                                  Judicial Transcribers of Texas (Filed By
                                                  Chesapeake Energy Corporation ). (Cavenaugh,
                                                  Matthew) Electronically forwarded to Judicial
                                                  Transcribers of Texas on December 14, 2020.
                                                  Estimated completion date: December 15, 2020.
                                                  Modified on 12/14/2020 (ClaudiaGutierrez).
 12/14/2020                                       (Entered: 12/14/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 396 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 396 of 1639
                                                                           0396


                            2426                  Joint Stipulation and Agreed Order by and
                                                  Among Debtors and Catherine Ramirez Granting
                            (6 pgs)               Relief from the Automatic Stay Signed on
                                                  12/14/2020 (Related document(s):1606 Motion
                                                  for Relief From Stay, 2281 Stipulation)
 12/14/2020                                       (VrianaPortillo) (Entered: 12/14/2020)

                            2427                  Agreed Order Granting (I) Relief from the
                                                  Automatic Stay, Effective as of January 4, 2021,
                            (5 pgs)               and (II) Related Relief Signed on 12/14/2020
                                                  (Related document(s):2219 Motion for Relief
                                                  From Stay) (VrianaPortillo) (Entered:
 12/14/2020                                       12/14/2020)

                            2428                  Order Authorizing the Debtors to File Certain
                                                  Documents Identified on the Debtors' Exhibit
                            (3 pgs)               List Under Seal Signed on 12/14/2020 (Related
                                                  document(s):2291 Emergency Motion)
 12/14/2020                                       (VrianaPortillo) (Entered: 12/14/2020)

                            2429                  Order Under 11 U.S.C. § 327(e) Authorizing the
                                                  Retention and Employment of Shearman &
                            (4 pgs)               Sterling LLP as Special Counsel for the Debtors
                                                  Effective as of October 11, 2020 (Related Doc #
                                                  1768) Signed on 12/14/2020. (VrianaPortillo)
 12/14/2020                                       (Entered: 12/14/2020)

                            2430                  Adversary case 20-03499. Nature of Suit: (91
                                                  (Declaratory judgment)) Complaint by Texas
                            (23 pgs; 3 docs)      Comptroller of Public Accounts against
                                                  Chesapeake Energy Corporation. Fee Amount
                                                  $350 (Attachments: # 1 AP Cover Sheet # 2
                                                  Exhibit A) (Binford, Jason) (Entered:
 12/14/2020                                       12/14/2020)

                            2431                  Agreed Order Granting (I) Relief from the
                                                  Automatic Stay, Effective as of January 4, 2021,
                            (6 pgs)               and (II) Related Relief Signed on 12/14/2020
                                                  (Related document(s):1558 Motion for Relief
                                                  From Stay) (VrianaPortillo) (Entered:
 12/14/2020                                       12/14/2020)

                            2432                  Objection ETC Texas Pipeline, Ltd.'s Partial
                                                  Joinder in Objection of ETC Tiger Pipeline, LLC
                            (2 pgs)               to Confirmation of the Second Amended Joint
                                                  Chapter 11 Plan of Reorganization. Filed by
                                                  ETC Texas Pipeline Ltd. (Crocker, Michaela)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 397 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 397 of 1639
                                                                           0397


 12/14/2020                                       (Entered: 12/14/2020)

                            2433                  Joint Stipulation and Agreed Order by and
                                                  Among Debtors and Catherine Ramirez Granting
                            (6 pgs)               Relief from the Automatic Stay Signed on
                                                  12/14/2020 (Related document(s):1606 Motion
                                                  for Relief From Stay) (VrianaPortillo) (Entered:
 12/14/2020                                       12/14/2020)

                            2434                  AO 435 TRANSCRIPT ORDER FORM (Daily
                                                  (24 hours)) by Marty L. Brimmage, Jr.. This is to
                            (1 pg)                order a transcript of the December 14, 2020
                                                  Hearing before Judge David R. Jones. Court
                                                  Reporter/Transcriber: Judicial Transcribers of
                                                  Texas (Filed By Franklin Advisers, Inc., as
                                                  Investment Manager on Behalf of Certain Funds
                                                  and Accounts ). (Brimmage, Marty) Copy
                                                  Request Electronically forwarded to Judicial
                                                  Transcribers of Texas on December 14, 2020.
                                                  Estimated completion date: December 15, 2020.
                                                  Modified on 12/14/2020 (ClaudiaGutierrez).
 12/14/2020                                       (Entered: 12/14/2020)

                            2435                  Agreed Order Granting (I) Relief from the
                                                  Automatic Stay, Effective as of January 4, 2021,
                            (5 pgs)               and (II) Related Relief Signed on 12/14/2020
                                                  (Related document(s):2219 Motion for Relief
                                                  From Stay) (VrianaPortillo) (Entered:
 12/14/2020                                       12/14/2020)

                            2436                  Order Authorizing the Debtors to File the
                                                  Transportation Agreement Under Seal (Related
                            (3 pgs)               Doc # 2377) Signed on 12/14/2020.
 12/14/2020                                       (VrianaPortillo) (Entered: 12/14/2020)

                            2437                  Courtroom Minutes. Time Hearing Held: 1:30
                                                  PM. Appearances: SEE ATTACHED. (Related
                            (6 pgs)               document(s):1175 Motion to Reconsider, 1248
                                                  Motion for Relief From Stay, 1293 Motion for
                                                  Relief From Stay) The Court signed the
                                                  proposed agreed orders submitted at docket nos.
                                                  2215, 2281, 2284, and 2222. For the reasons
                                                  stated on the record, the Court vacated the order
                                                  submitted at docket no. 1091 in ref to the
                                                  Delasandro Reconsider Motion 1175. The
                                                  Delasandro Stay Motion filed at docket no.
                                                  1293 has been set for a hearing on 02/02/2021




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 398 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 398 of 1639
                                                                           0398


                                                  at 1:00 PM by telephone and video
                                                  conference. The hearing on the Motion for
                                                  Relief filed at docket no. 1248 has been
                                                  continued to 01/05/2021 at 1:00 PM by
                                                  telephone and video conference.
 12/14/2020                                       (VrianaPortillo) (Entered: 12/14/2020)

                            2438                  AO 435 TRANSCRIPT ORDER FORM (Daily
                                                  (24 hours)) by Julie Harrison. This is to order a
                            (1 pg)                transcript of the December 14, 2020 hearing
                                                  before Judge David R. Jones. Court
                                                  Reporter/Transcriber: Judicial Transcribers of
                                                  Texas (Filed By Official Committee Of
                                                  Unsecured Creditors ). (Harrison, Julie) Copy
                                                  request electronically forwarded to Judicial
                                                  Transcribers of Texas on December 15, 2020.
                                                  Estimated completion date: December 16, 2020.
                                                  Modified on 12/15/2020 (ClaudiaGutierrez).
 12/14/2020                                       (Entered: 12/14/2020)

                            2439                  Certificate of No Objection to First Interim
                                                  Application of Brown Rudnick LLP, as Co-
                            (7 pgs; 2 docs)       Counsel to the Official Committee of Unsecured
                                                  Creditors, for the Period From July 13, 2020
                                                  Through and Including September 30, 2020
                                                  (Filed By Official Committee Of Unsecured
                                                  Creditors ).(Related document(s):1877
                                                  Application for Compensation) (Attachments: #
                                                  1 Proposed Order) (Boland, Jason) (Entered:
 12/14/2020                                       12/14/2020)

                            2440                  Certificate of No Objection to First Interim Fee
                                                  Application of AlixPartners, LLP, Financial
                            (7 pgs; 2 docs)       Advisor to the Official Committee of Unsecured
                                                  Creditors for Allowance of Compensation for
                                                  Services Rendered and for Reimbursement of
                                                  Expenses for the Period July 14, 2020 through
                                                  September 30, 2020 (Filed By Official
                                                  Committee Of Unsecured Creditors ).(Related
                                                  document(s):1878 Application for
                                                  Compensation) (Attachments: # 1 Proposed
 12/14/2020                                       Order) (Boland, Jason) (Entered: 12/14/2020)

                            2441
                                                  Certificate of No Objection to First Interim Fee
                                                  Application of Opportune LLP for Allowance of
                            (7 pgs; 2 docs)
                                                  Compensation and Reimbursement of Expenses
                                                  as Special Valuation and Industry Advisor to the




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 399 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 399 of 1639
                                                                           0399


                                                  Official Committee of Unsecured Creditors for
                                                  the Period September 1, 2020 through
                                                  September 30, 2020. (Filed By Official
                                                  Committee Of Unsecured Creditors ).(Related
                                                  document(s):1880 Application for
                                                  Compensation) (Attachments: # 1 Proposed
 12/14/2020                                       Order) (Boland, Jason) (Entered: 12/14/2020)

                            2442                  Exhibit List (Filed By Chesapeake Energy
                                                  Corporation ).(Related document(s):2290
                            (2514 pgs; 24 docs)   Witness List, Exhibit List) (Attachments: # 1
                                                  Exhibit 410 # 2 Exhibit 411 # 3 Exhibit 412 # 4
                                                  Exhibit 413 # 5 Exhibit 414 # 6 Exhibit 415 # 7
                                                  Exhibit 416 # 8 Exhibit 417 # 9 Exhibit 418 # 10
                                                  Exhibit 419 # 11 Exhibit 420 # 12 Complaint
                                                  421 # 13 Exhibit 422 # 14 Exhibit 423 # 15
                                                  Exhibit 424 # 16 Exhibit 425 # 17 Exhibit 426 #
                                                  18 Exhibit 427 # 19 Exhibit 428 # 20 Exhibit
                                                  429 # 21 Exhibit 430 # 22 Exhibit 431 # 23
                                                  Exhibit 432) (Cavenaugh, Matthew) (Entered:
 12/14/2020                                       12/14/2020)

                            2443                  Affidavit Re: First Interim Application of
                                                  Forshey & Prostok, LLP, as Attorneys for the
                            (24 pgs)              Official Committee of Royalty Owners (Filed By
                                                  Epiq Corporate Restructuring LLC ).(Related
                                                  document(s):1921 Application for
                                                  Compensation) (Garabato, Sid) (Entered:
 12/14/2020                                       12/14/2020)

                            2444                  Affidavit Re: Notice of Corrected Exhibit C to
                                                  the Plan Supplement (Filed By Epiq Corporate
                            (7 pgs)               Restructuring LLC ).(Related document(s):1931
 12/14/2020                                       Notice) (Garabato, Sid) (Entered: 12/14/2020)

                            2445                  Affidavit Re: Affidavit of Publication of The
                                                  New York Times (Filed By Chesapeake Energy
                            (3 pgs)               Corporation ).(Related document(s):1892
                                                  Generic Motion) (Cavenaugh, Matthew)
 12/14/2020                                       (Entered: 12/14/2020)

                            2446                  Affidavit Re: Affidavit of Publication of The
                                                  Times (Filed By Chesapeake Energy
                            (4 pgs)               Corporation ).(Related document(s):1892
                                                  Generic Motion) (Cavenaugh, Matthew)
 12/14/2020                                       (Entered: 12/14/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 400 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 400 of 1639
                                                                           0400


                            2447                  Notice of Additional Ordinary Course
                                                  Professionals Pursuant to the Order Authorizing
                            (4 pgs)               the Retention and Compensation of Certain
                                                  Professionals Utilized in the Ordinary Course of
                                                  Business. (Related document(s):655 Generic
                                                  Order, 807 Notice, 1100 Notice, 1162 Notice,
                                                  1353 Notice) Filed by Chesapeake Energy
                                                  Corporation (Cavenaugh, Matthew) (Entered:
 12/14/2020                                       12/14/2020)

                            2448                  Affidavit Re: Business Record Certification - J.
                                                  David Hershberger (Filed By Chesapeake
                            (8 pgs)               Energy Corporation ). (Cavenaugh, Matthew)
 12/14/2020                                       (Entered: 12/14/2020)

                            2449                  Affidavit Re: Business Record Certification -
                                                  Bradley D. Sylvester (Filed By Chesapeake
                            (2 pgs)               Energy Corporation ). (Cavenaugh, Matthew)
 12/14/2020                                       (Entered: 12/14/2020)

                            2450                  Exhibit List (Filed By Chesapeake Energy
                                                  Corporation ).(Related document(s):2290
                            (10 pgs; 2 docs)      Witness List, Exhibit List) (Attachments: # 1
                                                  Exhibit 434) (Cavenaugh, Matthew) (Entered:
 12/14/2020                                       12/14/2020)

                            2451                  Stipulation By Chesapeake Energy Corporation
                                                  and Official Committee of Unsecured Creditors.
                            (3 pgs)               Does this document include an agreed order or
                                                  otherwise request that the judge sign a
                                                  document? No. (Filed By Chesapeake Energy
                                                  Corporation ). (Cavenaugh, Matthew) (Entered:
 12/14/2020                                       12/14/2020)

                            2452                  Exhibit List, Witness List (Filed By Chesapeake
                                                  Energy Corporation ).(Related document(s):2290
                            (27 pgs)              Witness List, Exhibit List) (Cavenaugh,
 12/14/2020                                       Matthew) (Entered: 12/14/2020)

                            2453                  Declaration re: Supplemental Voting Declaration
                                                  of Jane Sullivan of Epiq Corporate
                            (19 pgs)              Restructuring, LLC Regarding Voting and
                                                  Tabulation of Certain Ballots Cast on the Second
                                                  Amended Joint Chapter 11 Plan of
                                                  Reorganization of Chesapeake Energy
                                                  Corporation and Its Debtor Affiliates (Filed By
                                                  Chesapeake Energy Corporation ). (Cavenaugh,




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 401 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 401 of 1639
                                                                           0401


 12/14/2020                                       Matthew) (Entered: 12/14/2020)

                            2454                  Motion to Enter Dec 15, 2020 hearing Filed by
                                                  Interested Party Gaynell Spigner (mmap)
 12/15/2020                 (4 pgs)               (Entered: 12/15/2020)

                            2455                  Withdraw Document (Filed By Justin Cobb,
                                                  Kristine Cobb, Linda Milanovich ).(Related
                            (2 pgs)               document(s):2024 Objection to Confirmation of
                                                  the Plan) (Rukavina, Davor) (Entered:
 12/15/2020                                       12/15/2020)

                            2456                  Additional Attachments Re: GLAS USA LLC
                                                  Exhibit List (Exhibits 38 and 41) (related
                            (9 pgs; 3 docs)       document(s):2332 Exhibit List) (Filed By Glas
                                                  USA LLC ).(Related document(s):2332 Exhibit
                                                  List) (Attachments: # 1 Exhibit 38 - Closing
                                                  Certificate dated December 19, 2019 # 2 Exhibit
                                                  41 - Collateral Trust Joinder dated December 23,
 12/15/2020                                       2019) (Warner, Michael) (Entered: 12/15/2020)

                            2457                  Notice of Second Amended Plan Supplement for
                                                  the Third Amended Joint Chapter 11 Plan of
                            (2762 pgs)            Reorganization of Chesapeake Energy
                                                  Corporation and Its Debtor Affiliates. Filed by
                                                  Chesapeake Energy Corporation (Cavenaugh,
 12/15/2020                                       Matthew) (Entered: 12/15/2020)

                            2458                  Exhibit List, Witness List (Filed By Vector
                                                  Seismic Data Processing Inc., Westerngeco
                            (33 pgs; 2 docs)      LLC ).(Related document(s):1599 Amended
                                                  Chapter 11 Plan, 1633 Order Approving
                                                  Disclosure Statement, 2106 Objection, 2233
                                                  Exhibit List, Witness List) (Attachments: # 1
                                                  Exhibit 15) (Braun, Andrew) (Entered:
 12/15/2020                                       12/15/2020)

                            2459                  Additional Attachments Re: Sealed UCC
                                                  Exhibits 1024, 1039, 1044, 1045, 1046, 1047,
                            (116 pgs; 9 docs)     1048, 1049 (related document(s):2313 Witness
                                                  List, Exhibit List, 2346 Additional Attachments,
                                                  2412 Additional Attachments, Sealed
                                                  Document), Sealed Document (Filed By Official
                                                  Committee Of Unsecured Creditors ).(Related
                                                  document(s):2313 Witness List, Exhibit List,
                                                  2346 Additional Attachments, 2412 Additional
                                                  Attachments, Sealed Document) (Attachments: #




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 402 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 402 of 1639
                                                                           0402


                                                  1 Exhibit 1024 # 2 Exhibit 1039 # 3 Exhibit
                                                  1044 # 4 Exhibit 1045 # 5 Exhibit 1046 # 6
                                                  Exhibit 1047 # 7 Exhibit 1048 # 8 Exhibit 1049)
 12/15/2020                                       (Harrison, Julie) (Entered: 12/15/2020)

                            2460
                                                  Letter from Jason Dean (JeannieAndresen)
 12/15/2020                 (2 pgs)               (Entered: 12/15/2020)

                            2461                  Proposed Order RE: / Proposed Order (I)
                                                  Authorizing (A) the Assumption of Certain
                            (422 pgs; 2 docs)     Williams Agreements, (B) Entry into the Firm
                                                  Sale Agreement, (C) the Private Sale of Certain
                                                  Real Estate Assets Free and Clear of Liens,
                                                  Claims, Encumbrances, and Interests, and (D)
                                                  the Resolution of the Williams Indemnification
                                                  Claims and (II) Granting Related Relief (Filed
                                                  By Chesapeake Energy Corporation ).(Related
                                                  document(s):1892 Generic Motion)
                                                  (Attachments: # 1 Redline) (Schwarzman,
 12/15/2020                                       Alexandra) (Entered: 12/15/2020)

                            2462                  Sealed Document UCC Exhibit 1314 (Filed By
                                                  Official Committee Of Unsecured Creditors ).
 12/15/2020                 (36 pgs)              (Gluck, Kristian) (Entered: 12/15/2020)

                            2463                  Additional Attachments Re: UCC Exhibits 1315
                                                  and 1316 (related document(s):2313 Witness
                            (6 pgs; 2 docs)       List, Exhibit List) (Filed By Official Committee
                                                  Of Unsecured Creditors ).(Related document
                                                  (s):2313 Witness List, Exhibit List)
                                                  (Attachments: # 1 Exhibit 1316) (Harrison,
 12/15/2020                                       Julie) (Entered: 12/15/2020)

                            2464                  Witness List, Exhibit List (Filed By Official
                                                  Committee Of Unsecured Creditors ).(Related
                            (79 pgs)              document(s):2313 Witness List, Exhibit List)
 12/15/2020                                       (Harrison, Julie) (Entered: 12/15/2020)

                            2465                  AO 435 TRANSCRIPT ORDER FORM (Daily
                                                  (24 hours)) by Matthew Cavenaugh. This is to
                            (1 pg)                order a transcript of 12/15/2020 before Judge
                                                  David R. Jones. Court Reporter/Transcriber:
                                                  Access Transcripts (Filed By Chesapeake
                                                  Energy Corporation ). (Cavenaugh, Matthew)
                                                  Electronically forwarded to Access Transcripts,
                                                  LLC on December 16, 2020. Estimated




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 403 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 403 of 1639
                                                                           0403


                                                  completion date: December 17, 2020. Modified
                                                  on 12/16/2020 (ClaudiaGutierrez). (Entered:
 12/15/2020                                       12/15/2020)

                            2466                  AO 435 TRANSCRIPT ORDER FORM (Daily
                                                  (24 hours)) by Jason Boland. This is to order a
                            (1 pg)                transcript of the December 15, 2020 hearing
                                                  before Judge David R. Jones. Court
                                                  Reporter/Transcriber: Access Transcripts (Filed
                                                  By Official Committee Of Unsecured
                                                  Creditors ). (Boland, Jason) Copy request
                                                  electronically forwarded to Access Transcripts,
                                                  LLC on December 16, 2020. Estimated
                                                  completion date: December 17, 2020. Modified
                                                  on 12/16/2020 (ClaudiaGutierrez). (Entered:
 12/15/2020                                       12/15/2020)

                            2467                  Withdrawal of Claim: 13355 filed by Epiq
                                                  Corporate Restructuring, LLC on behalf of
                            (2 pgs)               Tarrant County (Garabato, Sid) (Entered:
 12/15/2020                                       12/15/2020)

                            2468                  Withdraw Document (Filed By Texas
                                                  Comptroller of Public Accounts, Revenue
                            (8 pgs)               Accounting Division ).(Related document
                                                  (s):2125 Objection to Confirmation of the Plan)
 12/15/2020                                       (Stern, John) (Entered: 12/15/2020)

                            2469                  Transcript RE: Pretrial and Motion Hearing Via
                                                  Zoom held on December 14, 2020 before Judge
                            (80 pgs)              David R. Jones. Transcript is available for
                                                  viewing in the Clerk's Office. Filed by
                                                  Transcript access will be restricted through
 12/15/2020                                       03/15/2021. (mhen) (Entered: 12/15/2020)

                            2470                  AO 435 TRANSCRIPT ORDER FORM (Daily
                                                  (24 hours)) by Marty L. Brimmage, Jr.. This is to
                            (1 pg)                order a transcript of the December 15, 2020
                                                  Hearing before Judge David R. Jones. Court
                                                  Reporter/Transcriber: Access Transcripts (Filed
                                                  By Franklin Advisers, Inc., as Investment
                                                  Manager on Behalf of Certain Funds and
                                                  Accounts ). (Brimmage, Marty) Copy request
                                                  electronically forwarded to Access Transcripts,
                                                  LLC on December 16, 2020. Estimated
                                                  completion date: December 17, 2020. Modified
                                                  on 12/16/2020 (ClaudiaGutierrez). (Entered:




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 404 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 404 of 1639
                                                                           0404


 12/15/2020                                       12/15/2020)

                            2471                  AO 435 TRANSCRIPT ORDER FORM (Daily
                                                  (24 hours)) by Justin Rawlins. This is to order a
                            (1 pg)                transcript of Confirmation Hearing before Judge
                                                  David R. Jones. Court Reporter/Transcriber:
                                                  Access Transcripts (Filed By MUFG Union
                                                  Bank, N.A. ). (Rawlins, Justin) Copy request
                                                  electronically forwarded to Access Transcripts,
                                                  LLC on December 16, 2020. Estimated
                                                  completion date: December 17, 2020. Modified
                                                  on 12/16/2020 (ClaudiaGutierrez). (Entered:
 12/15/2020                                       12/15/2020)

                            2472                  Affidavit Re: Affidavit of Service by Angharad
                                                  Bowdler (Filed By Epiq Corporate Restructuring
                            (36 pgs)              LLC ).(Related document(s):1960 Objection to
                                                  Claim, 1961 Notice, 1964 Generic Motion)
 12/15/2020                                       (Garabato, Sid) (Entered: 12/15/2020)

                            2473                  Affidavit Re: Affidavit of Service by Angharad
                                                  Bowdler (Filed By Epiq Corporate Restructuring
                            (22 pgs)              LLC ).(Related document(s):2003 Notice)
 12/15/2020                                       (Garabato, Sid) (Entered: 12/15/2020)

                            2474                  Affidavit Re: Affidavit of Service by Angharad
                                                  Bowdler (Filed By Epiq Corporate Restructuring
                            (21 pgs)              LLC ).(Related document(s):1971 Objection,
                                                  1972 Objection) (Garabato, Sid) (Entered:
 12/15/2020                                       12/15/2020)

                            2475                  Objection to Confirmation of Plan Filed by State
                                                  of Louisiana, Department of Natural Resources,
                            (17 pgs; 3 docs)      Office of Mineral Resources. (Related document
                                                  (s):2336 Amended Chapter 11 Plan)
                                                  (Attachments: # 1 Exhibit # 2 Exhibit)
 12/15/2020                                       (Seidemann, Ryan) (Entered: 12/15/2020)

                            2476                  Order Pursuant to 11 U.S.C. §§ 105(a), 363(b),
                                                  AND 365(a) ANDFED. R. BANKR. P. 6006
                            (4 pgs)               Authorizing (I) Assumption of Certain
                                                  Agreements with Stagecoach Pipeline & Storage
                                                  Company LLC, (II) Entry Into Replacement
                                                  Stagecoach Agreements, (III) Cancellation of
                                                  Existing Stagecoach Marc 1 Agreement, and
                                                  (IV) Payment of all Obligations Thereunder
                                                  (Related Doc # 2289) Signed on 12/15/2020.




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 405 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 405 of 1639
                                                                           0405


 12/15/2020                                       (VrianaPortillo) (Entered: 12/15/2020)

                            2477                  Order (I) Authorizing the FLLO AD HOC
                                                  Group to File Confidential Exhibits Under Seal
                            (3 pgs)               and (II) Granting Related Relief (Related Doc #
                                                  2341) Signed on 12/15/2020. (VrianaPortillo)
 12/15/2020                                       (Entered: 12/15/2020)

                            2478                  Order Authorizing Energy Transfer to File
                                                  Exhibit Identified on Energy Transfer's Exhibit
                            (3 pgs)               List Under Seal (Related Doc # 2372) Signed on
                                                  12/15/2020. (VrianaPortillo) (Entered:
 12/15/2020                                       12/15/2020)

                            2479                  Order (I) Authorizing (A) The Assumption of
                                                  Certain Williams Agreements, (B) Entry into the
                            (405 pgs)             Firm Sale Agreement, (C) The Private Sale of
                                                  Certain Real Estate Assets Free and Clear of
                                                  Liens, Claims, Encumbrances, and Interests, and
                                                  (D) The Resolution of the Williams
                                                  Indemnification Claims and (II) Granting
                                                  Related Relief (Related Doc # 1892) Signed on
                                                  12/15/2020. (VrianaPortillo) (Entered:
 12/15/2020                                       12/15/2020)

                            2480                  Courtroom Minutes. Time Hearing Held: 12-
                                                  6:00 PM. Appearances: see attached. Opening
                            (9 pgs)               arguments made. Trial to begin as scheduled on
                                                  12/16/2020 at 9:00 AM. (aalo) (Entered:
 12/15/2020                                       12/15/2020)

                            2481                      PDF with attached Audio File. Court Date &
                                                  Time [ 12/15/2020 12:06:11 PM ]. File Size
                            (1 pg)                [ 174320 KB ]. Run Time [ 06:03:10 ]. (admin).
 12/15/2020                                       (Entered: 12/15/2020)

                            2482                  Additional Attachments Re: Debtors' Exhibit
                                                  435 for Confirmation Hearing Set December 15,
                            (19 pgs)              2020 (related document(s):2290 Witness List,
                                                  Exhibit List) (Filed By Chesapeake Energy
                                                  Corporation ).(Related document(s):2290
                                                  Witness List, Exhibit List) (Cavenaugh,
 12/15/2020                                       Matthew) (Entered: 12/15/2020)

                            2483
                                                  Sealed Document Debtors' Exhibit 436 for
                                                  Confirmation Hearing Set December 15, 2020




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 406 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 406 of 1639
                                                                           0406


                            (67 pgs)              (Filed By Chesapeake Energy Corporation ).
 12/15/2020                                       (Cavenaugh, Matthew) (Entered: 12/15/2020)

                            2484                  Exhibit List, Witness List (Filed By Chesapeake
                                                  Energy Corporation ).(Related document(s):2290
                            (28 pgs)              Witness List, Exhibit List) (Cavenaugh,
 12/15/2020                                       Matthew) (Entered: 12/15/2020)

                            2485                  Stipulation and Agreed Order By and Among the
                                                  Debtors and Rodney Hudson, et al., Allen
                            (5 pgs)               Johnson, et al., and Saundra Louise Woods-
                                                  Nelson Resolving Motions for Relief from Stay
                                                  and Motions for Adequate Protection Signed on
                                                  12/15/2020 (Related document(s):1200 Motion
                                                  for Relief From Stay, 1201 Motion for Adequate
                                                  Protection, 1235 Motion for Relief From Stay,
                                                  1236 Motion for Adequate Protection, 1852
 12/15/2020                                       Stipulation) (emiller) (Entered: 12/15/2020)

                            2486                  AO 435 TRANSCRIPT ORDER FORM (Daily
                                                  (24 hours)) by M. Quejada. This is to order a
                            (1 pg)                transcript of December 15, 2020 hearing before
                                                  Judge David R. Jones. Court
                                                  Reporter/Transcriber: Access Transcripts (Filed
                                                  By MUFG Union Bank, N.A. ). (Quejada,
                                                  Maegan) Electronically forwarded to Access
                                                  Transcripts, LLC on December 16, 2020.
                                                  Estimated completion date: December 17, 2020.
                                                  Modified on 12/16/2020 (ClaudiaGutierrez).
 12/16/2020                                       (Entered: 12/16/2020)

                            2487                  AO 435 TRANSCRIPT ORDER FORM (Daily
                                                  (24 hours)) by Matthew D. Cavenaugh. This is to
                            (1 pg)                order a transcript of 12/16/2020 before Judge
                                                  David R. Jones. Court Reporter/Transcriber:
                                                  Access Transcripts (Filed By Chesapeake
                                                  Energy Corporation ). (Cavenaugh, Matthew)
                                                  Copy request electronically forwarded to Access
                                                  Transcripts, LLC on December 16, 2020.
                                                  Estimated completion date: December 17, 2020
                                                  Modified on 12/16/2020 (ClaudiaGutierrez).
 12/16/2020                                       (Entered: 12/16/2020)

                            2488                  AO 435 TRANSCRIPT ORDER FORM (Daily
                                                  (24 hours)) by Jason Boland. This is to order a
                            (1 pg)                transcript of the December 16, 2020 hearing
                                                  before Judge David R. Jones. Court




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 407 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 407 of 1639
                                                                           0407


                                                  Reporter/Transcriber: Access Transcripts (Filed
                                                  By Official Committee Of Unsecured
                                                  Creditors ). (Boland, Jason) Copy request
                                                  electronically forwarded to Access Transcripts,
                                                  LLC on December 16, 2020. Estimated
                                                  completion date: December 17, 2020 Modified
                                                  on 12/16/2020 (ClaudiaGutierrez). (Entered:
 12/16/2020                                       12/16/2020)

                            2489                  Notice of Filing of Official Transcript as to 2469
                                                  Transcript. Parties notified (Related document
                            (1 pg)                (s):2469 Transcript) (dhan) (Entered:
 12/16/2020                                       12/16/2020)

                            2490                  AO 435 TRANSCRIPT ORDER FORM (Daily
                                                  (24 hours)) by Marty L. Brimmage, Jr.. This is to
                            (1 pg)                order a transcript of the December 16, 2020
                                                  Hearing before Judge David R. Jones. Court
                                                  Reporter/Transcriber: Access Transcripts (Filed
                                                  By Franklin Advisers, Inc., as Investment
                                                  Manager on Behalf of Certain Funds and
                                                  Accounts ). (Brimmage, Marty) Copy request
                                                  electronically forwarded to Access Transcripts,
                                                  LLC on December 16, 2020. Estimated
                                                  completion date: December 17, 2020 Modified
                                                  on 12/16/2020 (ClaudiaGutierrez). (Entered:
 12/16/2020                                       12/16/2020)

                            2491
                                                  Letter from Gaynell Spigner (mmap) (Entered:
 12/16/2020                 (2 pgs)               12/16/2020)

                            2492                      PDF with attached Audio File. Court Date &
                                                  Time [ 12/16/2020 8:58:33 AM ]. File Size
                            (1 pg)                [ 82480 KB ]. Run Time [ 02:51:50 ]. (Trial Day
                                                  2 - Morning Session). (admin). (Entered:
 12/16/2020                                       12/16/2020)

                            2493
                                                  AO 435 TRANSCRIPT ORDER FORM (Daily
                            (1 pg)                (24 hours)) by Mary Elizabeth Heard. This is to
                                                  order a transcript of December 15, 2020 Hearing
                                                  before Judge David R. Jones. Court
                                                  Reporter/Transcriber: Access Transcripts (Filed
                                                  By PMBG Parties ). (Heard, Mary) Copy request
                                                  electronically forwarded to Access Transcripts,
                                                  LLC on December 16, 2020. Estimated




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 408 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 408 of 1639
                                                                           0408


                                                  completion date: December 17, 2020 Modified
                                                  on 12/16/2020 (ClaudiaGutierrez). (Entered:
 12/16/2020                                       12/16/2020)

                            2494                  Certificate of No Objection to First Interim
                                                  Application of Forshey & Prostok, LLP (Filed
                            (6 pgs; 2 docs)       By Forshey & Prostok, LLP ).(Related document
                                                  (s):1921 Application for Compensation)
                                                  (Attachments: # 1 Proposed Order) (Prostok,
 12/16/2020                                       Jeffrey) (Entered: 12/16/2020)

                            2495                  AO 435 TRANSCRIPT ORDER FORM (Daily
                                                  (24 hours)) by M. Quejada. This is to order a
                            (1 pg)                transcript of December 16, 2020 hearing before
                                                  Judge David R. Jones. Court
                                                  Reporter/Transcriber: Access Transcripts (Filed
                                                  By MUFG Union Bank, N.A. ). (Quejada,
                                                  Maegan) Copy request electronically forwarded
                                                  to Access Transcripts, LLC on December 16,
                                                  2020. Estimated completion date: December 17,
                                                  2020. Modified on 12/16/2020
 12/16/2020                                       (ClaudiaGutierrez). (Entered: 12/16/2020)

                            2496                  Certificate of No Objection to First Interim Fee
                                                  Application of Norton Rose Fulbright US LLP
                            (7 pgs; 2 docs)       for Allowance of Compensation and
                                                  Reimbursement of Expenses as Co-Counsel to
                                                  the Official Committee of Unsecured Creditors
                                                  for the Period July 13, 2020 through September
                                                  30, 2020. (Filed By Official Committee Of
                                                  Unsecured Creditors ).(Related document
                                                  (s):1898 Application for Compensation)
                                                  (Attachments: # 1 Proposed Order) (Boland,
 12/16/2020                                       Jason) (Entered: 12/16/2020)

                            2497                  Letter from Gaynell Spigner Plan of Restitution
                                                  & recovery of our property- Tatum OK (mmap)
 12/16/2020                 (2 pgs)               (Entered: 12/16/2020)

                            2498                  Courtroom Minutes. Time Hearing Held: 9:00
                                                  am. Appearances: SEE ATTACHED. (Related
                            (5 pgs)               document(s):2336 Amended Chapter 11 Plan)
                                                  Witnesses: Doug Lawler, Domenic Dell'Osso.
                                                  DAY 2 - Concluded the testimony of Doug
                                                  Lawler, completed the direct of Mr. Dell'Osso.
                                                  Will continue with the testimony of Domenic
                                                  Dell'Osso 12/17 at 9 am. Continued Trial




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 409 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 409 of 1639
                                                                           0409


                                                  scheduled for 12/17/2020 at 09:00 AM by
                                                  telephone and video conference. (emiller)
 12/16/2020                                       (Entered: 12/16/2020)

                            2499                      PDF with attached Audio File. Court Date &
                                                  Time [ 12/16/2020 12:59:08 PM ]. File Size
                            (1 pg)                [ 102788 KB ]. Run Time [ 03:34:08 ]. (Day 2 -
                                                  Afternoon Session). (admin). (Entered:
 12/16/2020                                       12/16/2020)

                            2500                  Additional Attachments Re: UCC Exhibits 1317
                                                  and 1318 (related document(s):2313 Witness
                            (6 pgs; 2 docs)       List, Exhibit List) (Filed By Official Committee
                                                  Of Unsecured Creditors ).(Related document
                                                  (s):2313 Witness List, Exhibit List)
                                                  (Attachments: # 1 Exhibit 1318) (Harrison,
 12/16/2020                                       Julie) (Entered: 12/16/2020)

                            2501                  Witness List, Exhibit List (Filed By Official
                                                  Committee Of Unsecured Creditors ).(Related
                            (79 pgs)              document(s):2313 Witness List, Exhibit List)
 12/16/2020                                       (Harrison, Julie) (Entered: 12/16/2020)

                            2502                  BNC Certificate of Mailing. (Related document
                                                  (s):2421 Order on Application to Employ) No. of
                            (16 pgs)              Notices: 215. Notice Date 12/16/2020. (Admin.)
 12/16/2020                                       (Entered: 12/17/2020)

                            2503                  BNC Certificate of Mailing. (Related document
                                                  (s):2422 Generic Order) No. of Notices: 215.
                            (22 pgs)              Notice Date 12/16/2020. (Admin.) (Entered:
 12/16/2020                                       12/17/2020)

                            2504                  BNC Certificate of Mailing. (Related document
                                                  (s):2423 Generic Order) No. of Notices: 215.
                            (14 pgs)              Notice Date 12/16/2020. (Admin.) (Entered:
 12/16/2020                                       12/17/2020)

                            2505                  BNC Certificate of Mailing. (Related document
                                                  (s):2424 Generic Order) No. of Notices: 215.
                            (12 pgs)              Notice Date 12/16/2020. (Admin.) (Entered:
 12/16/2020                                       12/17/2020)

                            2506                  BNC Certificate of Mailing. (Related document
                                                  (s):2426 Generic Order) No. of Notices: 215.
                            (16 pgs)              Notice Date 12/16/2020. (Admin.) (Entered:




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 410 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 410 of 1639
                                                                           0410


 12/16/2020                                       12/17/2020)

                            2507                  BNC Certificate of Mailing. (Related document
                                                  (s):2427 Generic Order) No. of Notices: 215.
                            (15 pgs)              Notice Date 12/16/2020. (Admin.) (Entered:
 12/16/2020                                       12/17/2020)

                            2508                  BNC Certificate of Mailing. (Related document
                                                  (s):2428 Generic Order) No. of Notices: 215.
                            (13 pgs)              Notice Date 12/16/2020. (Admin.) (Entered:
 12/16/2020                                       12/17/2020)

                            2509                  BNC Certificate of Mailing. (Related document
                                                  (s):2429 Order on Application to Employ) No. of
                            (14 pgs)              Notices: 215. Notice Date 12/16/2020. (Admin.)
 12/16/2020                                       (Entered: 12/17/2020)

                            2510                  BNC Certificate of Mailing. (Related document
                                                  (s):2431 Generic Order) No. of Notices: 215.
                            (16 pgs)              Notice Date 12/16/2020. (Admin.) (Entered:
 12/16/2020                                       12/17/2020)

                            2511                  BNC Certificate of Mailing. (Related document
                                                  (s):2433 Generic Order) No. of Notices: 215.
                            (16 pgs)              Notice Date 12/16/2020. (Admin.) (Entered:
 12/16/2020                                       12/17/2020)

                            2512                  BNC Certificate of Mailing. (Related document
                                                  (s):2435 Generic Order) No. of Notices: 215.
                            (15 pgs)              Notice Date 12/16/2020. (Admin.) (Entered:
 12/16/2020                                       12/17/2020)

                            2513                  BNC Certificate of Mailing. (Related document
                                                  (s):2436 Order on Emergency Motion) No. of
                            (13 pgs)              Notices: 215. Notice Date 12/16/2020. (Admin.)
 12/16/2020                                       (Entered: 12/17/2020)

                            2554
                                                  Sealed Document (Filed By Charlie Wiggins ).
 12/16/2020                 (8 pgs)               (ShoshanaArnow) (Entered: 12/18/2020)

                            2514
                                                  AO 435 TRANSCRIPT ORDER FORM (Daily
                                                  (24 hours)) by Matthew D. Cavenaugh. This is to
                            (1 pg)
                                                  order a transcript of 12/17/2020 before Judge
                                                  David R. Jones. Court Reporter/Transcriber:
                                                  Judicial Transcribers of Texas (Filed By




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 411 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 411 of 1639
                                                                           0411


                                                  Chesapeake Energy Corporation ). (Cavenaugh,
                                                  Matthew) Electronically forwarded to Judicial
                                                  Transcribers of Texas on 12-17-2020. Estimated
                                                  completion date: 12-18-2020. Modified on
                                                  12/17/2020 (MelissaMorgan). (Entered:
 12/17/2020                                       12/17/2020)

                            2515                  AO 435 TRANSCRIPT ORDER FORM (Daily
                                                  (24 hours)) by Julie Harrison. This is to order a
                            (1 pg)                transcript of the December 17, 2020 hearing
                                                  before Judge David R. Jones. Court
                                                  Reporter/Transcriber: Judicial Transcribers of
                                                  Texas (Filed By Official Committee Of
                                                  Unsecured Creditors ). (Harrison, Julie) Copy
                                                  request was electronically forwarded to Judicial
                                                  Transcribers of Texas on 12-17-2020. Estimated
                                                  completion date: 12-18-2020. Modified on
                                                  12/17/2020 (MelissaMorgan). (Entered:
 12/17/2020                                       12/17/2020)

                            2516                  AO 435 TRANSCRIPT ORDER FORM (Daily
                                                  (24 hours)) by Marty L. Brimmage, Jr.. This is to
                            (1 pg)                order a transcript of the December 17, 2020
                                                  Hearing before Judge David R. Jones. Court
                                                  Reporter/Transcriber: Judicial Transcribers of
                                                  Texas (Filed By Franklin Advisers, Inc., as
                                                  Investment Manager on Behalf of Certain Funds
                                                  and Accounts ). (Brimmage, Marty) Copy
                                                  request was electronically forwarded to Judicial
                                                  Transcribers of Texas on 12-17-2020. Estimated
                                                  completion date: 12-18-2020. Modified on
                                                  12/17/2020 (MelissaMorgan). (Entered:
 12/17/2020                                       12/17/2020)

                            2517                  AO 435 TRANSCRIPT ORDER FORM (Daily
                                                  (24 hours)) by M. Quejada. This is to order a
                            (1 pg)                transcript of December 17, 2020 hearing before
                                                  Judge David R. Jones. Court
                                                  Reporter/Transcriber: Judicial Transcribers of
                                                  Texas (Filed By MUFG Union Bank, N.A. ).
                                                  (Quejada, Maegan) Copy request was
                                                  electronically forwarded to Judicial Transcribers
                                                  of Texas on 12-17-2020. Estimated completion
                                                  date: 12-18-2020. Modified on 12/17/2020
 12/17/2020                                       (MelissaMorgan). (Entered: 12/17/2020)

                            2518
                                                  Notice . Filed by Complete Energy Services,




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 412 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 412 of 1639
                                                                           0412


                                                  Inc., Complete Energy Services, Inc., H.B.
                            (1 pg)                Rentals, L.C., SPN Well Services, Inc.,
                                                  Workstrings International, L.L.C. (Overton, Jean
 12/17/2020                                       Paul) (Entered: 12/17/2020)

                            2519                  AO 435 TRANSCRIPT ORDER FORM (Daily
                                                  (24 hours)) by John E. Mitchell. This is to order
                            (1 pg)                a transcript of Confirmation Hearing -
                                                  12/15/2020 before Judge David R. Jones. Court
                                                  Reporter/Transcriber: Access Transcripts (Filed
                                                  By Energy Transfer Fuel, LP ). (Mitchell, John)
                                                  Copy request was electronically forwarded to
                                                  Access Transcripts on 12-17-2020. Estimated
                                                  completion date: 12-18-2020. Modified on
                                                  12/17/2020 (MelissaMorgan). (Entered:
 12/17/2020                                       12/17/2020)

                            2520                  AO 435 TRANSCRIPT ORDER FORM (Daily
                                                  (24 hours)) by John E. Mitchell. This is to order
                            (1 pg)                a transcript of Confirmation Hearing -
                                                  12/16/2020 before Judge David R. Jones. Court
                                                  Reporter/Transcriber: Access Transcripts (Filed
                                                  By Energy Transfer Fuel, LP ). (Mitchell, John)
 12/17/2020                                       (Entered: 12/17/2020)

                            2521                  AO 435 TRANSCRIPT ORDER FORM (Daily
                                                  (24 hours)) by John E. Mitchell. This is to order
                            (1 pg)                a transcript of Confirmation Hearing -
                                                  12/17/2020 before Judge David R. Jones. Court
                                                  Reporter/Transcriber: Access Transcripts (Filed
                                                  By Energy Transfer Fuel, LP ). (Mitchell, John)
                                                  Copy request was electronically forwarded to
                                                  Judicial Transcribers of Texas on 12-17-2020.
                                                  Estimated completion date: 12-18-2020.
                                                  Modified on 12/17/2020 (MelissaMorgan).
 12/17/2020                                       (Entered: 12/17/2020)

                            2522
                                                  Exhibit List (Filed By Official Committee of
                                                  Royalty Owners ).(Related document(s):1644
                            (6037 pgs; 25 docs)
                                                  Amended Chapter 11 Plan, 2336 Amended
                                                  Chapter 11 Plan) (Attachments: # 1 Exhibit 1 -
                                                  Notice of Reconstituted Committee # 2 Exhibit 2
                                                  - 341 Meeting # 3 Exhibit 3 Royalty Owner
                                                  Letter # 4 Exhibit 4 - Antinelli Declaration # 5
                                                  Exhibit 5 Dell Osso Declaration # 6 Exhibit 6
                                                  Zacharias # 7 Exhibit 7 Bride and Brandenburg #
                                                  8 Exhibit 8 Kimmeridge # 9 Exhibit 9 RO




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 413 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 413 of 1639
                                                                           0413


                                                  Statement # 10 Exhibit 10 Kuffa Proof of Claim
                                                  # 11 Exhibit 12 - CHK Operating Schedules # 12
                                                  Exhibit 13 CHK Energy Mktg Schedules # 13
                                                  Exhibit 14 CHK Land Schedules # 14 Exhibit 15
                                                  CHK Utica Schedules # 15 Exhibit 16 OK
                                                  Docket # 16 Exhibit 17 - Ok Complaint # 17
                                                  Exhibit 18 Complaint AP 20-03467 # 18 Exhibit
                                                  19 - Gates Complaint 20-03451 # 19 Exhibit 20 -
                                                  State Court Petition # 20 Exhibit 21 - Motion to
                                                  Certify Class 1295 # 21 Exhibit 24 RO Q&A #
                                                  22 Exhibit 25 - Owners Relations Website Page
                                                  # 23 Exhibit 26 - First Day Motion royalty # 24
                                                  Exhibit 27 - order) (Brown, pllc, Deirdre)
 12/17/2020                                       (Entered: 12/17/2020)

                            2523                  Transcript RE: Confirmation Hearing - Day 1
                                                  held on 12/15/20 before Judge David R. Jones.
                            (244 pgs)             Transcript is available for viewing in the Clerk's
                                                  Office. Filed by Transcript access will be
                                                  restricted through 03/17/2021.
 12/17/2020                                       (AccessTranscripts) (Entered: 12/17/2020)

                            2524                  Notice of Second Monthly Fee Statement of
                                                  Ernst & Young LLP for Compensation and
                            (43 pgs)              Reimbursement of Expenses for the Period From
                                                  November 1, 2020 Through November 30, 2020.
                                                  (Related document(s):656 Generic Order) Filed
                                                  by Chesapeake Energy Corporation (Peguero,
 12/17/2020                                       Kristhy) (Entered: 12/17/2020)

                            2525                      PDF with attached Audio File. Court Date &
                                                  Time [ 12/17/2020 8:57:55 AM ]. File Size
                            (1 pg)                [ 104130 KB ]. Run Time [ 03:36:56 ]. (admin).
 12/17/2020                                       (Entered: 12/17/2020)

                            2526                  AO 435 TRANSCRIPT ORDER FORM (Daily
                                                  (24 hours)) by Justin Rawlins. This is to order a
                            (1 pg)                transcript of December 14, 2020 before Judge
                                                  David R. Jones. Court Reporter/Transcriber:
                                                  Access Transcripts (Filed By MUFG Union
                                                  Bank, N.A. ). (Rawlins, Justin) Copy request
                                                  was electronically forwarded to Judicial
                                                  Transcribers of Texas on 12-17-2020. Estimated
                                                  completion date: 12-18-2020. Modified on
                                                  12/17/2020 (MelissaMorgan). (Entered:
 12/17/2020                                       12/17/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 414 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 414 of 1639
                                                                           0414


                            2527
                                                  Statement (Filed By United States of America ).
 12/17/2020                 (2 pgs)               (Kincheloe, Richard) (Entered: 12/17/2020)

                            2528                  AO 435 TRANSCRIPT ORDER FORM (Daily
                                                  (24 hours)) by Justin Rawlins. This is to order a
                            (1 pg)                transcript of December 16, 2020 Confirmation
                                                  Hearing before Judge David R. Jones. Court
                                                  Reporter/Transcriber: Access Transcripts (Filed
                                                  By MUFG Union Bank, N.A. ). (Rawlins,
                                                  Justin) Copy request was electronically
                                                  forwarded to Access Transcripts on 12-17-2020.
                                                  Estimated completion date: 12-18-202020.
                                                  Modified on 12/17/2020 (MelissaMorgan).
 12/17/2020                                       (Entered: 12/17/2020)

                            2529                  AO 435 TRANSCRIPT ORDER FORM (Daily
                                                  (24 hours)) by Justin Rawlins. This is to order a
                            (1 pg)                transcript of December 17, 2020 Confirmation
                                                  Hearing before Judge David R. Jones. Court
                                                  Reporter/Transcriber: Access Transcripts (Filed
                                                  By MUFG Union Bank, N.A. ). (Rawlins,
                                                  Justin)Copy request was electronically
                                                  forwarded to Judicial Transcribers of Texas on
                                                  12-17-2020. Estimated completion date: 12-18-
                                                  2020. Modified on 12/17/2020 (MelissaMorgan).
 12/17/2020                                       (Entered: 12/17/2020)

                            2530                  Stipulation By Chesapeake Energy Corporation
                                                  and Petty Business Enterprises, LP. Does this
                            (2 pgs)               document include an agreed order or otherwise
                                                  request that the judge sign a document? Yes.
                                                  (Filed By Chesapeake Energy Corporation ).
 12/17/2020                                       (Schwarzman, Alexandra) (Entered: 12/17/2020)

                            2531                  AO 435 TRANSCRIPT ORDER FORM (Daily
                                                  (24 hours)) by Mary Elizabeth Heard. This is to
                            (1 pg)                order a transcript of December 17, 2020 Hearing
                                                  before Judge David R. Jones. Court
                                                  Reporter/Transcriber: Judicial Transcribers of
                                                  Texas (Filed By PMBG Parties ). (Heard, Mary)
                                                  Copy request was electronically forwarded to
                                                  Judicial Transcribers of Texas on 12-17-2020.
                                                  Estimated completion date: 12-18-20202.
                                                  Modified on 12/17/2020 (MelissaMorgan).
 12/17/2020                                       (Entered: 12/17/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 415 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 415 of 1639
                                                                           0415


                            2532                  Courtroom Minutes. Time Hearing Held: 9:00
                                                  AM - 12:45 PM & 2:00 PM- 4:40 PM.
                            (5 pgs)               Appearances: see attached. (Related document
                                                  (s):2336 Amended Chapter 11 Plan) Witnesses:
                                                  Domenic Dell'Osso. DAY 3 - Concluded the
                                                  testimony of Domenic Dell'Osso. Will begin
                                                  Day 4 of Trial with the testimony of Stephen
                                                  Antinelli on 12/18 at 9:00 AM by telephone and
 12/17/2020                                       video conference. (aalo) (Entered: 12/17/2020)

                            2533                      PDF with attached Audio File. Court Date &
                                                  Time [ 12/17/2020 2:39:43 PM ]. File Size
                            (1 pg)                [ 51346 KB ]. Run Time [ 01:46:58 ]. (admin).
 12/17/2020                                       (Entered: 12/17/2020)

                            2534                  Notice Request for Withdrawal from Service
                                                  List. Filed by Wier Group (Perovich, Stefan)
 12/17/2020                 (2 pgs)               (Entered: 12/17/2020)

                            2535                  Declaration re: Second Supplemental
                                                  Declaration of Patrick J. Nash, Jr. In Support of
                            (4 pgs)               the Debtors' Application for Entry of an Order
                                                  Authorizing the Retention and Employment of
                                                  Kirkland & Ellis LLP as Attorneys for the
                                                  Debtors and Debtors In Possession Effective as
                                                  of June 28, 2020 (Filed By Chesapeake Energy
                                                  Corporation ). (Cavenaugh, Matthew) (Entered:
 12/17/2020                                       12/17/2020)

                            2536                  Application for Compensation First Interim Fee
                                                  Application of Alvarez & Marsal North America,
                            (442 pgs; 2 docs)     LLC as Restructuring Advisor for the Debtors
                                                  and Debtors In Possession for the Period from
                                                  June 28, 2020 Through and Including September
                                                  30, 2020. Objections/Request for Hearing Due in
                                                  21 days. Filed by Attorney Matthew D
                                                  Cavenaugh (Attachments: # 1 Proposed Order)
 12/17/2020                                       (Cavenaugh, Matthew) (Entered: 12/17/2020)

                            2537                  Transcript RE: Confirmation Hearing - Day 2
                                                  held on 12/16/20 before Judge David R. Jones.
                            (259 pgs)             Transcript is available for viewing in the Clerk's
                                                  Office. Filed by Transcript access will be
                                                  restricted through 03/17/2021.
 12/17/2020                                       (AccessTranscripts) (Entered: 12/17/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 416 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 416 of 1639
                                                                           0416


                            2538                  Affidavit Re: Affidavit of Service of Angarahad
                                                  Bowdler (Filed By Epiq Corporate Restructuring
                            (6393 pgs)            LLC ).(Related document(s):1895 Notice, 1896
                                                  Notice, 1907 Notice) (Garabato, Sid) (Entered:
 12/17/2020                                       12/17/2020)

                            2539                  BNC Certificate of Mailing. (Related document
                                                  (s):2476 Order on Emergency Motion) No. of
                            (14 pgs)              Notices: 215. Notice Date 12/17/2020. (Admin.)
 12/17/2020                                       (Entered: 12/18/2020)

                            2540                  BNC Certificate of Mailing. (Related document
                                                  (s):2477 Order on Emergency Motion) No. of
                            (13 pgs)              Notices: 215. Notice Date 12/17/2020. (Admin.)
 12/17/2020                                       (Entered: 12/18/2020)

                            2541                  BNC Certificate of Mailing. (Related document
                                                  (s):2478 Order on Motion to Seal) No. of
                            (5 pgs)               Notices: 41. Notice Date 12/17/2020. (Admin.)
 12/17/2020                                       (Entered: 12/18/2020)

                            2545                  AO 435 TRANSCRIPT ORDER FORM (Daily
                                                  (24 hours)) by Jacqueline Kindler. This is to
                            (1 pg)                order a transcript of Confirmation hearing held
                                                  on 12/15/20, 12/16/20 and 12/17/20 before
                                                  Judge David R. Jones. Court
                                                  Reporter/Transcriber: Judicial Transcribers of
                                                  Texas (Filed By Chesapeake Energy
                                                  Corporation ). (MarcelleLaBee) Copy request for
                                                  12-15-2020 and 12-16-2020 electronically
                                                  forwarded to original transcription company
                                                  Access Transcripts, LLC. Copy request for 12-
                                                  17-2020 electronically forwarded to Judicial
                                                  Transcribers of Texas. Estimated completion
                                                  date: December 19, 2020. Modified on
                                                  12/18/2020 (ClaudiaGutierrez). (Entered:
 12/17/2020                                       12/18/2020)

                            2547                  AO 435 TRANSCRIPT ORDER FORM (Daily
                                                  (24 hours)) by Anne Marie Hern-Darst. This is
                            (2 pgs)               to order a transcript of Hearing held on 12/17/20
                                                  before Judge David R. Jones. Court
                                                  Reporter/Transcriber: Digital Scroll
                                                  Transcription (Filed By Chesapeake Energy
                                                  Corporation ). (MarcelleLaBee) Copy request
                                                  electronically forwarded to original transcription
                                                  company Judicial Transcribers of Texas on




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 417 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 417 of 1639
                                                                           0417


                                                  December 18, 2020. Estimated completion date:
                                                  December 19, 2020. Modified on 12/18/2020
 12/17/2020                                       (ClaudiaGutierrez). (Entered: 12/18/2020)

                            2550                  Order Granting Application For Compensation
                                                  (Related Doc # 1921). Signed on 12/17/2020.
 12/17/2020                 (2 pgs)               (aalo) (Entered: 12/18/2020)

                            2556                  AO 435 TRANSCRIPT ORDER FORM (Daily
                                                  (24 hours)) by Linda Breedlove. This is to order
                            (1 pg)                a transcript of Hearing held on 12/17/20 before
                                                  Judge David R. Jones. Court
                                                  Reporter/Transcriber: Judicial Transcribers of
                                                  Texas (Filed By Chesapeake Energy
                                                  Corporation ). (MarcelleLaBee) Copy request
                                                  electronically forwarded to Judicial Transcribers
                                                  of Texas on December 18, 2020. Estimated
                                                  completion date: December 19, 2020. Modified
                                                  on 12/18/2020 (ClaudiaGutierrez). (Entered:
 12/17/2020                                       12/18/2020)

                            2542                  Notice of Filing of Official Transcript as to 2523
                                                  Transcript, 2537 Transcript. Parties notified
                            (1 pg)                (Related document(s):2523 Transcript, 2537
 12/18/2020                                       Transcript) (dhan) (Entered: 12/18/2020)

                            2543                  Stipulation By Chesapeake Energy Corporation
                                                  and Christopher Wilson. Does this document
                            (7 pgs)               include an agreed order or otherwise request that
                                                  the judge sign a document? Yes. (Filed By
                                                  Chesapeake Energy Corporation ). (Cavenaugh,
 12/18/2020                                       Matthew) (Entered: 12/18/2020)

                            2544                  Debtor-In-Possession Monthly Operating Report
                                                  for Filing Period ending 11/30/2020, $415,438
                            (13 pgs)              disbursed (Filed By Chesapeake Energy
                                                  Corporation ). (Cavenaugh, Matthew) (Entered:
 12/18/2020                                       12/18/2020)

                            2546                  Certificate of No Objection Jackson Walker
                                                  LLP's First Interim Fee Application for
                            (9 pgs; 3 docs)       Allowance and Payment of Fees and Expenses
                                                  as Co-Counsel to the Debtors for the Period
                                                  From June 28, 2020 Through September 30,
                                                  2020. (Filed By Chesapeake Energy
                                                  Corporation ).(Related document(s):1928
                                                  Application for Compensation) (Attachments: #




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 418 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 418 of 1639
                                                                           0418


                                                  1 Proposed Order # 2 Redline) (Cavenaugh,
 12/18/2020                                       Matthew) (Entered: 12/18/2020)

                            2548                  AO 435 TRANSCRIPT ORDER FORM (Daily
                                                  (24 hours)) by Matthew D. Cavenaugh. This is to
                            (1 pg)                order a transcript of 12/18/2020 before Judge
                                                  David R. Jones. Court Reporter/Transcriber:
                                                  Access Transcripts (Filed By Chesapeake
                                                  Energy Corporation ). (Cavenaugh, Matthew)
                                                  Electronically forwarded to Access Transcripts,
                                                  LLC on December 18, 2020. Estimated
                                                  completion date: December 19, 2020. Modified
                                                  on 12/18/2020 (ClaudiaGutierrez). (Entered:
 12/18/2020                                       12/18/2020)

                            2549                  AO 435 TRANSCRIPT ORDER FORM (Daily
                                                  (24 hours)) by Marty L. Brimmage, Jr.. This is to
                            (1 pg)                order a transcript of the December 18, 2020
                                                  Hearing before Judge David R. Jones. Court
                                                  Reporter/Transcriber: Access Transcripts (Filed
                                                  By Franklin Advisers, Inc., as Investment
                                                  Manager on Behalf of Certain Funds and
                                                  Accounts ). (Brimmage, Marty) Copy request
                                                  electronically forwarded to Access Transcripts,
                                                  LLC on December 18, 2020. Estimated
                                                  completion date: December 19, 2020. Modified
                                                  on 12/18/2020 (ClaudiaGutierrez). (Entered:
 12/18/2020                                       12/18/2020)

                            2551                  Order Granting Application for Compensation
                                                  Signed on 12/18/2020 (Related document
                            (2 pgs)               (s):1898 Application for Compensation) (aalo)
 12/18/2020                                       (Entered: 12/18/2020)

                            2552                  Statement Fifth Monthly Fee Statement Of
                                                  Brown Rudnick LLP For Allowance Of
                            (105 pgs)             Compensation For Services Rendered And For
                                                  Reimbursement Of Expenses As Co-Counsel For
                                                  The Official Committee Of Unsecured Creditors
                                                  For The Period From November 1, 2020
                                                  Through November 30, 2020 (Filed By Official
                                                  Committee Of Unsecured Creditors ). (Harrison,
 12/18/2020                                       Julie) (Entered: 12/18/2020)

                            2553                  AO 435 TRANSCRIPT ORDER FORM (Daily
                                                  (24 hours)) by Julie Harrison. This is to order a
                            (1 pg)                transcript of the December 18, 2020 hearing




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 419 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 419 of 1639
                                                                           0419


                                                  before Judge David R. Jones. Court
                                                  Reporter/Transcriber: Access Transcripts (Filed
                                                  By Official Committee Of Unsecured
                                                  Creditors ). (Harrison, Julie) Copy request
                                                  electronically forwarded to Access Transcripts,
                                                  LLC on December 18, 2020. Estimated
                                                  completion date: December 19, 2020. Modified
                                                  on 12/18/2020 (ClaudiaGutierrez). (Entered:
 12/18/2020                                       12/18/2020)

                            2555                    PDF with attached Audio File. Court Date &
                                                Time [ 12/18/2020 9:00:17 AM ]. File Size [ 77459
                            (1 pg)              KB ]. Run Time [ 02:41:22 ]. (admin). (Entered:
 12/18/2020                                     12/18/2020)

                            2557                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by Anna Marie Hearn-Darst. This is to
                            (2 pgs)             order a transcript of 12/17/2020 before Judge
                                                David R. Jones. Court Reporter/Transcriber:
                                                Judicial Transcribers of Texas. (ShoshanaArnow)
                                                Copy request electronically forwarded to Judicial
                                                Transcribers of Texas on December 18, 2020.
                                                Estimated completion date: December 19, 2020.
                                                Modified on 12/18/2020 (ClaudiaGutierrez).
 12/18/2020                                     (Entered: 12/18/2020)

                            2558                Notice of Fourth Monthly Fee Statement of
                                                PricewaterhouseCoopers LLP for Services
                            (127 pgs)           Rendered and Reimbursement of Expenses as Audit
                                                Services and Tax Consulting Services Provider for
                                                the Debtors for the Period from October 1, 2020
                                                Through October 31, 2020. Filed by Chesapeake
                                                Energy Corporation (Cavenaugh, Matthew)
 12/18/2020                                     (Entered: 12/18/2020)

                            2559                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by M. Quejada. This is to order a transcript
                            (1 pg)              of December 18, 2020 hearing before Judge David
                                                R. Jones. Court Reporter/Transcriber: Access
                                                Transcripts (Filed By MUFG Union Bank, N.A. ).
                                                (Quejada, Maegan) Copy request electronically
                                                forwarded to Access Transcripts, LLC on
                                                December 18, 2020. Estimated completion date:
                                                December 19, 2020. Modified on 12/18/2020
 12/18/2020                                     (ClaudiaGutierrez). (Entered: 12/18/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 420 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 420 of 1639
                                                                           0420


                            2560                Certificate of No Objection with Respect to the
                                                First Interim Application of Ernst & Young LLP
                            (5 pgs; 2 docs)     for Compensation and Reimbursement of Expenses
                                                for the Period from June 29,2020 Through
                                                September 30, 2020 (Filed By Chesapeake Energy
                                                Corporation ).(Related document(s):1925
                                                Application for Compensation) (Attachments: # 1
                                                Proposed Order) (Cavenaugh, Matthew) (Entered:
 12/18/2020                                     12/18/2020)

                            2561                Application for Compensation First Interim
                                                Application of PricewaterhouseCoopers LLP for
                            (304 pgs; 2 docs)   Compensation and Reimbursement of Expenses as
                                                Audit Services and Tax Consulting Services
                                                Provider for the Debtors for the Period from June
                                                28, 2020 Through September 30, 2020.
                                                Objections/Request for Hearing Due in 21 days.
                                                Filed by Attorney Matthew D Cavenaugh
                                                (Attachments: # 1 Proposed Order) (Cavenaugh,
 12/18/2020                                     Matthew) (Entered: 12/18/2020)

                            2562                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by John E. Mitchell. This is to order a
                            (1 pg)              transcript of Confirmation Hearing - 12/18/2020
                                                before Judge David R. Jones. Court
                                                Reporter/Transcriber: Access Transcripts (Filed By
                                                Energy Transfer Fuel, LP ). (Mitchell, John) Copy
                                                request electronically forwarded to Access
                                                Transcripts, LLC on December 18, 2020.
                                                Estimated completion date: December 19, 2020.
                                                Modified on 12/18/2020 (ClaudiaGutierrez).
 12/18/2020                                     (Entered: 12/18/2020)

                            2563                Courtroom Minutes. Time Hearing Held: 9:00-4:16
                                                PM. Appearances: see attached. (Related document
                            (4 pgs)             (s):2336 Amended Chapter 11 Plan) Day 4 of
                                                Trial. Witness: Stephen Antinelli. Day 5 of Trial
                                                will begin on Wednesday, December 23, 2020 at
                                                9:00 AM with the continued cross of Mr. Antinelli.
 12/18/2020                                     (aalo) (Entered: 12/18/2020)

                            2564                    PDF with attached Audio File. Court Date &
                                                Time [ 12/18/2020 1:57:57 PM ]. File Size [ 66589
                            (1 pg)              KB ]. Run Time [ 02:18:44 ]. (admin). (Entered:
 12/18/2020                                     12/18/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 421 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 421 of 1639
                                                                           0421


                            2565                Motion for Relief from Stay To Pursue Johnson
                                                Parties Louisiana Pre-Petition Litigation. Fee
                            (6 pgs; 2 docs)     Amount $188. Filed by Interested Party Aarie
                                                Johnson Hearing scheduled for 1/15/2021 at 02:00
                                                PM at Houston, Courtroom 400 (DRJ).
                                                (Attachments: # 1 Proposed Order) (Akard, John)
 12/18/2020                                     (Entered: 12/18/2020)

                            2566                Motion for Relief from Stay For Luba Casualty
                                                Insurance to Pursue Louisiana Pre-Petition
                            (5 pgs; 2 docs)     Litigation. Fee Amount $188. Filed by Interested
                                                Party Luba Casualty Insurance Company Hearing
                                                scheduled for 1/15/2021 at 02:00 PM at Houston,
                                                Courtroom 400 (DRJ). (Attachments: # 1 Proposed
 12/18/2020                                     Order) (Akard, John) (Entered: 12/18/2020)

                                                Receipt of Motion for Relief From Stay(20-33233)
                                                [motion,mrlfsty] ( 188.00) Filing Fee. Receipt
                                                number 22691720. Fee amount $ 188.00. (U.S.
 12/18/2020                                     Treasury) (Entered: 12/18/2020)

                                                Receipt of Motion for Relief From Stay(20-33233)
                                                [motion,mrlfsty] ( 188.00) Filing Fee. Receipt
                                                number 22691720. Fee amount $ 188.00. (U.S.
 12/18/2020                                     Treasury) (Entered: 12/18/2020)

                            2567                BNC Certificate of Mailing. (Related document
                                                (s):2489 Notice of Filing of Official Transcript
                            (11 pgs)            (Form)) No. of Notices: 215. Notice Date
 12/18/2020                                     12/18/2020. (Admin.) (Entered: 12/18/2020)

                            2568                BNC Certificate of Mailing. (Related document
                                                (s):2485 Generic Order) No. of Notices: 215.
                            (15 pgs)            Notice Date 12/18/2020. (Admin.) (Entered:
 12/18/2020                                     12/18/2020)

                            2569                Transcript RE: Confirmation Hearing Day Three -
                                                Morning Session (Via Zoom) held on December
                            (151 pgs)           17, 2020 before Judge David R. Jones. Transcript
                                                is available for viewing in the Clerk's Office. Filed
                                                by Transcript access will be restricted through
 12/19/2020                                     03/19/2021. (mhen) (Entered: 12/19/2020)

                            2570
                                                Transcript RE: Confirmation Hearing Day Three -
                            (78 pgs)            Afternoon Session (Via Zoom) held on December
                                                17, 2020 before Judge David R. Jones. Transcript




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                        5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 422 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 422 of 1639
                                                                           0422


                                                is available for viewing in the Clerk's Office. Filed
                                                by Transcript access will be restricted through
 12/19/2020                                     03/19/2021. (mhen) (Entered: 12/19/2020)

                            2571                Transcript RE: Confirmation Hearing - Day 4 held
                                                on 12/18/20 before Judge David R. Jones.
                            (202 pgs)           Transcript is available for viewing in the Clerk's
                                                Office. Filed by Transcript access will be restricted
                                                through 03/19/2021. (AccessTranscripts) (Entered:
 12/19/2020                                     12/19/2020)

                            2572                Order Granting Motion To Appear pro hac vice -
                                                Donald K. Ludman (Related Doc # 2173) Signed
 12/20/2020                 (1 pg)              on 12/20/2020. (emiller) (Entered: 12/20/2020)

                            2573                BNC Certificate of Mailing. (Related document
                                                (s):2542 Notice of Filing of Official Transcript
                            (11 pgs)            (Form)) No. of Notices: 215. Notice Date
 12/20/2020                                     12/20/2020. (Admin.) (Entered: 12/20/2020)

                            2574                BNC Certificate of Mailing. (Related document
                                                (s):2550 Order on Application for Compensation)
                            (12 pgs)            No. of Notices: 215. Notice Date 12/20/2020.
 12/20/2020                                     (Admin.) (Entered: 12/20/2020)

                            2575                BNC Certificate of Mailing. (Related document
                                                (s):2551 Generic Order) No. of Notices: 215.
                            (12 pgs)            Notice Date 12/20/2020. (Admin.) (Entered:
 12/20/2020                                     12/20/2020)

                            2576                Notice of Filing of Official Transcript as to 2570
                                                Transcript, 2571 Transcript. Parties notified
                            (1 pg)              (Related document(s):2570 Transcript, 2571
 12/21/2020                                     Transcript) (dhan) (Entered: 12/21/2020)

                            2577                Affidavit Re: Affidavit of Service of Custom Cure
                                                Notices of Angarahad Bowdler (Filed By Epiq
                            (1227 pgs)          Corporate Restructuring LLC ). (Garabato, Sid)
 12/21/2020                                     (Entered: 12/21/2020)

                            2578
                                                Notice of Fourth Monthly Fee Statement of Alvarez
                            (134 pgs)           & Marsal North America, LLC for Compensation
                                                for Services and Reimbursement of Expenses as
                                                Restructuring and Financial Advisors to the
                                                Debtors and Debtors in Possession for the Period
                                                From October 1, 2020 Through October 31, 2020.




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                        5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 423 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 423 of 1639
                                                                           0423


                                                (Related document(s):656 Generic Order) Filed by
                                                Chesapeake Energy Corporation (Cavenaugh,
 12/21/2020                                     Matthew) (Entered: 12/21/2020)

                            2579                Affidavit Re: Affidavit of Service of Angarahad
                                                Bowdler (Filed By Epiq Corporate Restructuring
                            (60 pgs)            LLC ).(Related document(s):1491 Notice)
 12/21/2020                                     (Garabato, Sid) (Entered: 12/21/2020)

                            2580                Affidavit Re: Affidavit of Service of Angarahad
                                                Bowdler (Filed By Epiq Corporate Restructuring
                            (24 pgs)            LLC ).(Related document(s):2180 Notice)
 12/21/2020                                     (Garabato, Sid) (Entered: 12/21/2020)

                            2581                Affidavit Re: Affidavit of Service of Angarahad
                                                Bowdler (Filed By Epiq Corporate Restructuring
                            (26 pgs)            LLC ).(Related document(s):2223 Notice)
 12/21/2020                                     (Garabato, Sid) (Entered: 12/21/2020)

                            2582                AO 435 TRANSCRIPT ORDER FORM (3-Day)
                                                by Jacqueline Kindler. This is to order a transcript
                            (1 pg)              of Confirmation Hearing held on 12/18/20 before
                                                Judge David R. Jones. Court Reporter/Transcriber:
                                                Access Transcripts. (than) Copy request was
                                                electronically forwarded to Access Transcripts on
                                                12-22-2020. Estimated completion date: 12-25-
                                                2020. Modified on 12/22/2020 (MelissaMorgan).
 12/21/2020                                     (Entered: 12/21/2020)

                            2583                Order Granting Jackson Walker LLP's First Interim
                                                Fee Application for Allowance and Payment of
                            (2 pgs)             Fees and Expenses as Co-Counsel to the Debtors
                                                for the Period from June 28, 2020 through
                                                September 30, 2020 (Related Doc # 1928) Signed
 12/21/2020                                     on 12/21/2020. (emiller) (Entered: 12/21/2020)

                            2584                Order Granting First Interim Application of Ernst
                                                & Young LLP for Compensation and
                            (2 pgs)             Reimbursement of Expenses for the Period from
                                                June 29, 2020 through September 30, 2020
                                                (Related Doc # 1925) Signed on 12/21/2020.
 12/21/2020                                     (emiller) (Entered: 12/21/2020)

                            2585
                                                Affidavit Re: Affidavit of Service of Docket No.
                            (23 pgs)            2283 by Angharad Bowdler (Filed By Epiq
                                                Corporate Restructuring LLC ).(Related document




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 424 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 424 of 1639
                                                                           0424


                                                (s):2283 Motion to Assume/Reject) (Garabato, Sid)
 12/22/2020                                     (Entered: 12/22/2020)

                            2586                Stipulation and Agreed Order Signed on
                                                12/22/2020 (Related document(s):1876 Stipulation)
 12/22/2020                 (6 pgs)             (aalo) (Entered: 12/22/2020)

                            2587
                                                Stipulation and Agreed Order Signed on
 12/22/2020                 (6 pgs)             12/22/2020 (aalo) (Entered: 12/22/2020)

                            2588                Debtors Master Service List (Filed By Epiq
                                                Corporate Restructuring LLC ). (Garabato, Sid)
 12/22/2020                 (62 pgs)            (Entered: 12/22/2020)

                            2589                Notice of Withdrawal. (Related document(s):1450
                                                Application for Administrative Expenses, 1451
                            (2 pgs)             Motion for Relief From Stay) Filed by Tributary
                                                Resources, LLC (Martin, Jarrod) (Entered:
 12/22/2020                                     12/22/2020)

                            2590                Notice of Filing Franklin Exhibit 10. (Related
                                                document(s):2351 Additional Attachments) Filed
                            (113 pgs)           by Franklin Advisers, Inc., as Investment Manager
                                                on Behalf of Certain Funds and Accounts
 12/22/2020                                     (Brimmage, Marty) (Entered: 12/22/2020)

                            2591                Declaration re: Business Record Certification
                                                (Filed By Franklin Advisers, Inc., as Investment
                            (2 pgs)             Manager on Behalf of Certain Funds and
                                                Accounts ). (Brimmage, Marty) (Entered:
 12/22/2020                                     12/22/2020)

                            2592                Affidavit Re: Affidavit of Service of Angarahad
                                                Bowdler (Filed By Epiq Corporate Restructuring
                            (27 pgs)            LLC ).(Related document(s):2447 Notice)
 12/22/2020                                     (Garabato, Sid) (Entered: 12/22/2020)

                            2593                Affidavit Re: Affidavit of Service of Angarahad
                                                Bowdler (Filed By Epiq Corporate Restructuring
                            (5 pgs)             LLC ).(Related document(s):2524 Notice, 2536
                                                Application for Compensation) (Garabato, Sid)
 12/22/2020                                     (Entered: 12/22/2020)

                            2594
                                                Proposed Order Submission After Hearing (Filed
                                                By Stephanie Delasandro ).(Related document




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 425 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 425 of 1639
                                                                           0425


                            (2 pgs)             (s):1175 Motion to Reconsider) (Warman,
 12/23/2020                                     Lynnette) (Entered: 12/23/2020)

                            2595                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by Justin Rawlins. This is to order a
                            (1 pg)              transcript of December 23, 2020 before Judge
                                                David R. Jones. Court Reporter/Transcriber:
                                                Judicial Transcribers of Texas (Filed By MUFG
                                                Union Bank, N.A. ). (Rawlins, Justin)
                                                Electronically forwarded to Judicial Transcribers of
                                                Texas on 12-28-2020. Estimated completion date:
                                                12-29-2020. Modified on 12/28/2020
 12/23/2020                                     (MelissaMorgan). (Entered: 12/23/2020)

                            2596                Proposed Order RE: Order (I) Authorizing (A)
                                                Rejection of the Crude Agreement, (B) Assumption,
                            (10 pgs; 2 docs)    As Modified, of the Transporation Agreement, (C)
                                                Entry Into the Processing Agreement, and (D)
                                                Provision of the Enterprise Release, and (II)
                                                Granting Related Relief (Filed By Chesapeake
                                                Energy Corporation ).(Related document(s):2376
                                                Emergency Motion) (Attachments: # 1 Redline)
 12/23/2020                                     (Cavenaugh, Matthew) (Entered: 12/23/2020)

                            2597                Notice of First Monthly Fee Statement of Intrepid
                                                Partners, LLC as Investment Banker to the
                            (10 pgs)            Debtors, for Allowance and Payment of
                                                Compensation for Professional Services Rendered
                                                and Reimbursement of Actual and Necessary
                                                Expenses Incurred From October 1, 2020 Through
                                                October 31, 2020. (Related document(s):656
                                                Generic Order) Filed by Chesapeake Energy
                                                Corporation (Cavenaugh, Matthew) (Entered:
 12/23/2020                                     12/23/2020)

                            2598                Notice of Monthly Fee Statement of Intrepid
                                                Partners, LLC as Investment Banker to the
                            (10 pgs)            Debtors, for Allowance and Payment of
                                                Compensation for Professional Services Rendered
                                                and Reimbursement of Actual and Necessary
                                                Expenses Incurred From November 1, 2020
                                                Through and Including November 30, 2020.
                                                (Related document(s):656 Generic Order) Filed by
                                                Chesapeake Energy Corporation (Cavenaugh,
 12/23/2020                                     Matthew) (Entered: 12/23/2020)

                            2599                AO 435 TRANSCRIPT ORDER FORM (Daily (24




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 426 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 426 of 1639
                                                                           0426


                                                hours)) by John E. Mitchell. This is to order a
                            (1 pg)              transcript of Confirmation Trial 12-23-2020 before
                                                Judge David R. Jones. Court Reporter/Transcriber:
                                                Access Transcripts (Filed By Energy Transfer Fuel,
                                                LP ). (Mitchell, John) Copy request was
                                                electronically forwarded to Judicial Transcribers of
                                                Texas on 12-28-2020. Estimated completion date:
                                                12-29-2020. Modified on 12/28/2020
 12/23/2020                                     (MelissaMorgan). (Entered: 12/23/2020)

                            2600                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by Matthew D. Cavenaugh. This is to order
                            (1 pg)              a transcript of 12/23/2020 before Judge David R.
                                                Jones. Court Reporter/Transcriber: Judicial
                                                Transcribers of Texas (Filed By Chesapeake
                                                Energy Corporation ). (Cavenaugh, Matthew) Copy
                                                request was electronically forwarded to Judicial
                                                Transcribers of Texas on 12-29-2020. Modified on
                                                12/28/2020 (MelissaMorgan). (Entered:
 12/23/2020                                     12/23/2020)

                            2601                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by Marty L. Brimmage, Jr.. This is to order
                            (1 pg)              a transcript of the December 23, 2020 Hearing
                                                before Judge David R. Jones. Court
                                                Reporter/Transcriber: Judicial Transcribers of
                                                Texas (Filed By Franklin Advisers, Inc., as
                                                Investment Manager on Behalf of Certain Funds
                                                and Accounts ). (Brimmage, Marty) Copy request
                                                was electronically forwarded to Judicial
                                                Transcribers of Texas on 12-28-2020. Estimated
                                                completion date: 12-29-2020. Modified on
                                                12/28/2020 (MelissaMorgan). (Entered:
 12/23/2020                                     12/23/2020)

                            2602                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by M. Quejada. This is to order a transcript
                            (1 pg)              of December 23, 2020 hearing before Judge David
                                                R. Jones. Court Reporter/Transcriber: Judicial
                                                Transcribers of Texas (Filed By MUFG Union
                                                Bank, N.A. ). (Quejada, Maegan)Copy request was
                                                electronically forwarded to Judicial Transcribers of
                                                Texas on 12-28-2020. Estimated completion date:
                                                12-29-2020. Modified on 12/28/2020
 12/23/2020                                     (MelissaMorgan). (Entered: 12/23/2020)

                            2603
                                                    PDF with attached Audio File. Court Date &




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 427 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 427 of 1639
                                                                           0427


                                                Time [ 12/23/2020 8:57:35 AM ]. File Size [ 98456
                            (1 pg)              KB ]. Run Time [ 03:25:07 ]. (TRIAL DAY 5 -
                                                MORNING SESSION). (admin). (Entered:
 12/23/2020                                     12/23/2020)

                            2604                Declaration re: Amended Business Record
                                                Certification (Filed By Franklin Advisers, Inc., as
                            (2 pgs)             Investment Manager on Behalf of Certain Funds
                                                and Accounts ).(Related document(s):2591
                                                Declaration) (Brimmage, Marty) (Entered:
 12/23/2020                                     12/23/2020)

                            2605                Proposed Order RE: Amended Order Pursuant to
                                                11 U.S.C. §§ 105(a), 363(b), and 365(a) and Fed.
                            (8 pgs; 2 docs)     R. Bankr. P. 6006 Authorizing (I) Assumption of
                                                Certain Agreements with Stagecoach Pipeline &
                                                Storage Company LLC, (II) Entry Into
                                                Replacement Stagecoach Agreements, (III)
                                                Cancellation of Existing Stagecoach MARC 1
                                                Agreement, and (IV) Payment of All Obligations
                                                Thereunder (Filed By Chesapeake Energy
                                                Corporation ).(Related document(s):2289
                                                Emergency Motion) (Attachments: # 1 Redline)
 12/23/2020                                     (Cavenaugh, Matthew) (Entered: 12/23/2020)

                            2606                Notice of Fifth Monthly Fee Statement of
                                                PricewaterhouseCoopers LLP for Services
                            (101 pgs)           Rendered and Reimbursement of Expenses as Audit
                                                Services and Tax Consulting Services Provider for
                                                the Debtors for the Period From November 1, 2020
                                                Through November 30, 2020. (Related document
                                                (s):656 Generic Order) Filed by Chesapeake
                                                Energy Corporation (Cavenaugh, Matthew)
 12/23/2020                                     (Entered: 12/23/2020)

                            2607                Notice of Filing Monthly Report Pursuant to the
                                                Order to Approve Procedures for De Minimis Asset
                            (5 pgs)             Transactions. (Related document(s):715 Generic
                                                Order) Filed by Chesapeake Energy Corporation
 12/23/2020                                     (Cavenaugh, Matthew) (Entered: 12/23/2020)

                            2608                Declaration re: Declaration of Disinterestedness of
                                                Cobb & Counsel, PLLC Pursuant to the Order
                            (4 pgs)             Authorizing the Retention and Compensation of
                                                Certain Professionals Utilized in the Ordinary
                                                Course of Business (Filed By Chesapeake Energy
                                                Corporation ).(Related document(s):655 Generic




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 428 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 428 of 1639
                                                                           0428


                                                Order) (Cavenaugh, Matthew) (Entered:
 12/23/2020                                     12/23/2020)

                            2609                Declaration re: Declaration of Disinterestedness of
                                                Royston Rayzor Pursuant to the Order Authorizing
                            (4 pgs)             the Retention and Compensation of Certain
                                                Professionals Utilized in the Ordinary Course of
                                                Business (Filed By Chesapeake Energy
                                                Corporation ).(Related document(s):655 Generic
                                                Order) (Cavenaugh, Matthew) (Entered:
 12/23/2020                                     12/23/2020)

                            2610                Notice of Increase of Hourly Rates of
                                                Professionals. Filed by Official Committee Of
                            (2 pgs)             Unsecured Creditors (Harrison, Julie) (Entered:
 12/23/2020                                     12/23/2020)

                            2611                Courtroom Minutes. Time Hearing Held: 9:00 am.
                                                Appearances: SEE ATTACHED. (Related
                            (5 pgs)             document(s):2336 Amended Chapter 11 Plan)
                                                TRIAL DAY 5 - Concluded the testimony of Mr.
                                                Antinelli and Mr. Martin. Continued Trial set for
                                                12/28/2020 at 09:00 AM by telephone and video
 12/23/2020                                     conference. (emiller) (Entered: 12/23/2020)

                            2612                    PDF with attached Audio File. Court Date &
                                                Time [ 12/23/2020 1:45:46 PM ]. File Size [ 92012
                            (1 pg)              KB ]. Run Time [ 03:11:41 ]. (TRIAL DAY 5 -
                                                AFTERNOON SESSION). (admin). (Entered:
 12/23/2020                                     12/23/2020)

                            2613                Notice of Fee Statement of Shearman & Sterling
                                                LLP for Compensation for Services and
                            (32 pgs)            Reimbursement of Expenses as Special Counsel to
                                                the Debtors and Debtors in Possession for the
                                                Period From October 1, 2020 Through October 31,
                                                2020. (Related document(s):656 Generic Order)
                                                Filed by Chesapeake Energy Corporation
 12/23/2020                                     (Cavenaugh, Matthew) (Entered: 12/23/2020)

                            2614
                                                Notice of Fee Statement of Shearman & Sterling
                            (35 pgs)            LLP for Compensation for Services and
                                                Reimbursement of Expenses as Special Counsel to
                                                the Debtors and Debtors in Possession for the
                                                Period From November 1, 2020 Through
                                                November 30, 2020. (Related document(s):656




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 429 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 429 of 1639
                                                                           0429


                                                Generic Order) Filed by Chesapeake Energy
                                                Corporation (Cavenaugh, Matthew) (Entered:
 12/23/2020                                     12/23/2020)

                            2615                Proposed Order RE: Order Confirming Third
                                                Amended Joint Chapter 11 Plan of Reorganization
                            (259 pgs; 2 docs)   of Chesapeake Energy Corporation and its Debtor
                                                Affiliates (Filed By Chesapeake Energy
                                                Corporation ).(Related document(s):2336 Amended
                                                Chapter 11 Plan) (Attachments: # 1 Redline)
 12/23/2020                                     (Cavenaugh, Matthew) (Entered: 12/23/2020)

                            2616                BNC Certificate of Mailing. (Related document
                                                (s):2576 Notice of Filing of Official Transcript
                            (11 pgs)            (Form)) No. of Notices: 216. Notice Date
 12/23/2020                                     12/23/2020. (Admin.) (Entered: 12/23/2020)

                            2617                BNC Certificate of Mailing. (Related document
                                                (s):2572 Order on Motion to Appear pro hac vice)
                            (11 pgs)            No. of Notices: 216. Notice Date 12/23/2020.
 12/23/2020                                     (Admin.) (Entered: 12/23/2020)

                            2657                Objection to Sale re: 1895. Filed by Shirley
                                                Gilliam Walton (ShadiaNash) Modified on
 12/23/2020                 (1 pg)              12/29/2020 (ShadiaNash). (Entered: 12/29/2020)

                            2618                Sealed Document Debtors' Exhibit 437 for
                                                Continued Confirmation Hearing Set December 28,
                            (24 pgs)            2020 (Filed By Chesapeake Energy Corporation ).
 12/24/2020                                     (Cavenaugh, Matthew) (Entered: 12/24/2020)

                            2619                Exhibit List, Witness List (Filed By Chesapeake
                                                Energy Corporation ). (Cavenaugh, Matthew)
 12/24/2020                 (28 pgs)            (Entered: 12/24/2020)

                            2620                Affidavit Re: of Angarahad Bowdler (Filed By
                                                Epiq Corporate Restructuring LLC ).(Related
                            (77 pgs)            document(s):2055 Notice, 2057 Notice) (Garabato,
 12/24/2020                                     Sid) (Entered: 12/24/2020)

                            2621
                                                Emergency Motion DEBTORS' EMERGENCY
                            (11 pgs)            MOTION FOR ENTRY OF AN ORDER
                                                PURSUANT TO 11 U.S.C. §§ 105(a), 363(b), AND
                                                365(a) AND FED. R. BANKR. P. 6006
                                                AUTHORIZING (I) ENTRY INTO AND
                                                ASSUMPTION OF AMENDED AND RESTATED




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 430 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 430 of 1639
                                                                           0430


                                                GAS GATHERING AND PROCESSING
                                                CONTRACT WITH JACKALOPE GAS
                                                GATHERING SERVICES, L.L.C., AND (II)
                                                PAYMENT OF ALL OBLIGATIONS
                                                THEREUNDER Filed by Debtor Chesapeake
                                                Energy Corporation (Graham, Genevieve)
 12/24/2020                                     (Entered: 12/24/2020)

                            2622                BNC Certificate of Mailing. (Related document
                                                (s):2583 Order on Application for Compensation)
                            (12 pgs)            No. of Notices: 216. Notice Date 12/24/2020.
 12/24/2020                                     (Admin.) (Entered: 12/24/2020)

                            2623                BNC Certificate of Mailing. (Related document
                                                (s):2584 Order on Application for Compensation)
                            (12 pgs)            No. of Notices: 216. Notice Date 12/24/2020.
 12/24/2020                                     (Admin.) (Entered: 12/24/2020)

                            2624                BNC Certificate of Mailing. (Related document
                                                (s):2586 Generic Order) No. of Notices: 216.
                            (16 pgs)            Notice Date 12/24/2020. (Admin.) (Entered:
 12/24/2020                                     12/24/2020)

                            2625                BNC Certificate of Mailing. (Related document
                                                (s):2587 Generic Order) No. of Notices: 216.
                            (16 pgs)            Notice Date 12/24/2020. (Admin.) (Entered:
 12/24/2020                                     12/24/2020)

                            2626                Objection Limited Objection of Official Committee
                                                of Unsecured Creditors to Debtors' Emergency
                            (4 pgs)             Motion for Entry of an Order (I) Authorizing (A)
                                                Rejection of the Crude Agreement, (B) Assumption,
                                                As Modified, of the Transporation Agreement, (C)
                                                Entry Into the Processing Agreement, and (D)
                                                Provision of the Enterprise Release, and (II)
                                                Granting Related Relief (related document(s):2376
                                                Emergency Motion). Filed by Official Committee
                                                Of Unsecured Creditors (Harrison, Julie) (Entered:
 12/27/2020                                     12/27/2020)

                            2627                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by Julie Harrison. This is to order a
                            (1 pg)              transcript of the December 23, 2020 hearing before
                                                Judge David R. Jones. Court Reporter/Transcriber:
                                                Judicial Transcribers of Texas (Filed By Official
                                                Committee Of Unsecured Creditors ). (Harrison,
                                                Julie) Copy request was electronically forwarded to




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 431 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 431 of 1639
                                                                           0431


                                                Judicial Transcribers of Texas on 12-28-2020.
                                                Estimated completion date: 12-29-2020. Modified
                                                on 12/28/2020 (MelissaMorgan). (Entered:
 12/27/2020                                     12/27/2020)

                            2628                Additional Attachments Re: UCC Exhibits 1319
                                                and 1320 (related document(s):2313 Witness List,
                            (12 pgs; 2 docs)    Exhibit List, 2464 Witness List, Exhibit List)
                                                (Filed By Official Committee Of Unsecured
                                                Creditors ).(Related document(s):2313 Witness
                                                List, Exhibit List, 2464 Witness List, Exhibit List)
                                                (Attachments: # 1 Exhibit 1320) (Harrison, Julie)
 12/27/2020                                     (Entered: 12/27/2020)

                            2629                Sealed Document UCC Sealed Exhibit 1321 (Filed
                                                By Official Committee Of Unsecured Creditors ).
 12/27/2020                 (7 pgs)             (Harrison, Julie) (Entered: 12/27/2020)

                            2630                Fourth Amended Chapter 11 Plan Filed by
                                                Chesapeake Energy Corporation. (Related
                            (129 pgs; 2 docs)   document(s):1150 Chapter 11 Plan) (Attachments:
                                                # 1 Exhibit Redline)(Cavenaugh, Matthew)
 12/27/2020                                     (Entered: 12/27/2020)

                            2631                Witness List, Exhibit List (Filed By Official
                                                Committee Of Unsecured Creditors ).(Related
                            (103 pgs)           document(s):2313 Witness List, Exhibit List, 2464
                                                Witness List, Exhibit List) (Harrison, Julie)
 12/28/2020                                     (Entered: 12/28/2020)

                            2632                Exhibit List (Filed By Chesapeake Energy
                                                Corporation ).(Related document(s):2290 Witness
                            (69 pgs; 6 docs)    List, Exhibit List) (Attachments: # 1 Exhibit 439 #
                                                2 Exhibit 440 # 3 Exhibit 441 # 4 Exhibit 442 # 5
                                                Exhibit 443) (Cavenaugh, Matthew) (Entered:
 12/28/2020                                     12/28/2020)

                            2633                Exhibit List, Witness List (Filed By Chesapeake
                                                Energy Corporation ).(Related document(s):2290
                            (28 pgs)            Witness List, Exhibit List) (Cavenaugh, Matthew)
 12/28/2020                                     (Entered: 12/28/2020)

                            2634
                                                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                            (1 pg)              hours)) by Matthew D. Cavenaugh. This is to order
                                                a transcript of 12/28/2020 before Judge David R.
                                                Jones. Court Reporter/Transcriber: Access




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 432 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 432 of 1639
                                                                           0432


                                                Transcripts (Filed By Chesapeake Energy
                                                Corporation ). (Cavenaugh, Matthew)
                                                Electronically forwarded to Access Transcripts on
                                                12-28-2020. Estimated completion dater: 12-29-
                                                2020. Modified on 12/28/2020 (MelissaMorgan).
 12/28/2020                                     (Entered: 12/28/2020)

                            2635                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by Marty L. Brimmage, Jr.. This is to order
                            (1 pg)              a transcript of the December 28, 2020 Hearing
                                                before Judge David R. Jones. Court
                                                Reporter/Transcriber: Access Transcripts (Filed By
                                                Franklin Advisers, Inc., as Investment Manager on
                                                Behalf of Certain Funds and Accounts ).
                                                (Brimmage, Marty) Copy request was
                                                electronically forwarded to Access Transcripts on
                                                12-28-2020. Estimated completion date: 12-29-
                                                2020. Modified on 12/28/2020 (MelissaMorgan).
 12/28/2020                                     (Entered: 12/28/2020)

                            2636                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by M. Quejada. This is to order a transcript
                            (1 pg)              of December 28, 2020 Hearing before Judge David
                                                R. Jones. Court Reporter/Transcriber: Access
                                                Transcripts (Filed By MUFG Union Bank, N.A. ).
                                                (Quejada, Maegan) Copy request was
                                                electronically forwarded to Access Transcripts on
                                                12-28-2020. Estimated completion date: 12-29-
                                                2020. Modified on 12/28/2020 (MelissaMorgan).
 12/28/2020                                     (Entered: 12/28/2020)

                            2637                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by Julie Harrison. This is to order a
                            (1 pg)              transcript of the December 28, 2020 hearing before
                                                Judge David R. Jones. Court Reporter/Transcriber:
                                                Access Transcripts (Filed By Official Committee
                                                Of Unsecured Creditors ). (Harrison, Julie) Copy
                                                request was electronically forwarded to Access
                                                Transcripts on 12-28-2020. Estimated completion
                                                date: 12-29-2020. Modified on 12/28/2020
 12/28/2020                                     (MelissaMorgan). (Entered: 12/28/2020)

                            2638                   PDF with attached Audio File. Court Date &
                                                Time [ 12/28/2020 9:00:05 AM ]. File Size [ 72762
                            (1 pg)              KB ]. Run Time [ 02:31:35 ]. (CONFIRMATION
                                                TRIAL DAY 6 - MORNING SESSION.).
 12/28/2020                                     (admin). (Entered: 12/28/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 433 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 433 of 1639
                                                                           0433


                            2639                Stipulation By Chesapeake Energy Corporation
                                                and Official Committee of Unsecured Creditors.
                            (3 pgs)             Does this document include an agreed order or
                                                otherwise request that the judge sign a document?
                                                No. (Filed By Chesapeake Energy Corporation ).
 12/28/2020                                     (Cavenaugh, Matthew) (Entered: 12/28/2020)

                            2640                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by Justin Rawlins. This is to order a
                            (1 pg)              transcript of Hearing on December 28, 2020 before
                                                Judge David R. Jones. Court Reporter/Transcriber:
                                                Access Transcripts (Filed By MUFG Union Bank,
                                                N.A. ). (Rawlins, Justin) Copy request was
                                                electronically forwarded to Access Transcripts on
                                                12-28-2020. Estimated completion date: 12-29-
                                                2020. Modified on 12/28/2020 (MelissaMorgan).
 12/28/2020                                     (Entered: 12/28/2020)

                            2641                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by John E. Mitchell. This is to order a
                            (1 pg)              transcript of Hearing dated 12/28/2020 before
                                                Judge David R. Jones. Court Reporter/Transcriber:
                                                Access Transcripts (Filed By Energy Transfer Fuel,
                                                LP ). (Mitchell, John) Copy request was
                                                electronically forwarded to Access Transcripts on
                                                12-28-2020. Estimated completion date: 12-29-
                                                2020. Modified on 12/28/2020 (MelissaMorgan).
 12/28/2020                                     (Entered: 12/28/2020)

                            2642                Sealed Document Unredacted Creditor Matrix
                                                (Filed By Chesapeake Energy Corporation ).
 12/28/2020                 (6479 pgs)          (Cavenaugh, Matthew) (Entered: 12/28/2020)

                            2643                Courtroom Minutes. Time Hearing Held: 9:00 AM.
                                                Appearances: SEE ATTACHED. (Related
                            (4 pgs)             document(s):2336 Amended Chapter 11 Plan)
                                                TRIAL DAY 6. Witness: Brendan Circle and
                                                Adam Miller. Direct and cross examination of
                                                Brendan Circle was concluded. Direct examination
                                                of Adam Miller was concluded. Will continue with
                                                the testimony of Adam Miller 12/29/2020 at 9:00
                                                AM. Continued trial is scheduled for 12/29/2020
                                                at 09:00 AM by telephone and video conference.
 12/28/2020                                     (VrianaPortillo) (Entered: 12/28/2020)

                            2644
                                                    PDF with attached Audio File. Court Date &




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 434 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 434 of 1639
                                                                           0434


                            (1 pg)              Time [ 12/28/2020 1:00:34 PM ]. File Size [ 92403
                                                KB ]. Run Time [ 03:12:30 ]. (CONFIRMATION
                                                TRIAL DAY 6 - AFTERNOON SESSION.).
 12/28/2020                                     (admin). (Entered: 12/28/2020)

                            2645                Motion to Reconsider (related document(s):2423
                                                Generic Order). Filed by Creditor Ryan, LLC
 12/28/2020                 (35 pgs)            (Hales, Troy) (Entered: 12/28/2020)

                            2646                Motion for Entry of an Order Approving (I) the
                                                Omnibus Claims Objection Procedures, (II) the
                            (44 pgs; 2 docs)    Form of Notice of Objection, (III) the Satisfaction
                                                Procedures, and (IV) the Form of Notice of
                                                Satisfaction Filed by Debtor Chesapeake Energy
                                                Corporation (Attachments: # 1 Proposed Order)
 12/28/2020                                     (Cavenaugh, Matthew) (Entered: 12/28/2020)

                                                Certificate of Telephone Notice. Contacted Pat
                                                Nash. Movant to notice all interested parties and
                                                file a certificate of service with the court (Related
                                                document(s):2376 Emergency Motion) Hearing
                                                scheduled for 1/28/2021 at 02:30 PM by
                                                telephone and video conference. (aalo) (Entered:
 12/29/2020                                     12/29/2020)

                            2647                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by Matthew D. Cavenaugh. This is to order
                            (1 pg)              a transcript of 12/29/2020 before Judge David R.
                                                Jones. Court Reporter/Transcriber: Judicial
                                                Transcribers of Texas (Filed By Chesapeake
                                                Energy Corporation ). (Cavenaugh, Matthew)
                                                Electronically forwarded to Judicial Transcribers of
                                                Texas on December 29, 2020. Estimated
                                                completion date: December 30, 2020. Modified on
                                                12/29/2020 (ClaudiaGutierrez). (Entered:
 12/29/2020                                     12/29/2020)

                            2648                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by M. Quejada. This is to order a transcript
                            (1 pg)              of December 29, 2020 Hearing before Judge David
                                                R. Jones. Court Reporter/Transcriber: Judicial
                                                Transcribers of Texas (Filed By MUFG Union
                                                Bank, N.A. ). (Quejada, Maegan) Copy request
                                                electronically forwarded to Judicial Transcribers of
                                                Texas on December 29, 2020. Estimated
                                                completion date: December 30, 2020. Modified on
                                                12/29/2020 (ClaudiaGutierrez). (Entered:




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                        5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 435 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 435 of 1639
                                                                           0435


 12/29/2020                                     12/29/2020)

                            2649                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by Marty L. Brimmage, Jr.. This is to order
                            (1 pg)              a transcript of the December 29, 2020 Hearing
                                                before Judge David R. Jones. Court
                                                Reporter/Transcriber: Judicial Transcribers of
                                                Texas (Filed By Franklin Advisers, Inc., as
                                                Investment Manager on Behalf of Certain Funds
                                                and Accounts ). (Brimmage, Marty) Copy request
                                                electronically forwarded to Judicial Transcribers of
                                                Texas on December 29, 2020. Estimated
                                                completion date: December 30, 2020. Modified on
                                                12/29/2020 (ClaudiaGutierrez). (Entered:
 12/29/2020                                     12/29/2020)

                            2650                Exhibit List (Filed By Chesapeake Energy
                                                Corporation ).(Related document(s):2290 Witness
                            (1 pg)              List, Exhibit List) (Cavenaugh, Matthew) (Entered:
 12/29/2020                                     12/29/2020)

                            2651                Transcript RE: Confirmation Hearing Day Five
                                                (Via Zoom) held on December 23, 2020 before
                            (254 pgs)           Judge David R. Jones. Transcript is available for
                                                viewing in the Clerk's Office. Filed by Transcript
                                                access will be restricted through 03/29/2021.
 12/29/2020                                     (mhen) (Entered: 12/29/2020)

                            2652                 AO 435 TRANSCRIPT ORDER FORM (Daily
                                                 (24 hours)) by Julie Harrison. This is to order a
                            (1 pg)               transcript of the December 29, 2020 hearing
                                                 before Judge David R. Jones. Court
                                                 Reporter/Transcriber: Judicial Transcribers of
                                                 Texas (Filed By Official Committee Of
                                                 Unsecured Creditors ). (Harrison, Julie) Copy
                                                 request electronically forwarded to Judicial
                                                 Transcribers of Texas on December 29, 2020.
                                                 Estimated completion date: December 30, 2020.
                                                 Modified on 12/29/2020 (ClaudiaGutierrez).
 12/29/2020                                      (Entered: 12/29/2020)

                            2653                 AO 435 TRANSCRIPT ORDER FORM (Daily
                                                 (24 hours)) by Justin Rawlins. This is to order a
                            (1 pg)               transcript of Hearing on December 29, 2020
                                                 before Judge David R. Jones. Court
                                                 Reporter/Transcriber: Judicial Transcribers of
                                                 Texas (Filed By MUFG Union Bank, N.A. ).




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 436 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 436 of 1639
                                                                           0436


                                                 (Rawlins, Justin) Copy request electronically
                                                 forwarded to Judicial Transcribers of Texas on
                                                 December 29, 2020. Estimated completion date:
                                                 December 30, 2020. Modified on 12/29/2020
 12/29/2020                                      (ClaudiaGutierrez). (Entered: 12/29/2020)

                            2654                 Objection Debtors' Objection to The
                                                 Commonwealth of Pennsylvania's Motion for
                            (4 pgs)              Mandatory Abstention (related document(s):2109
                                                 Generic Motion). Filed by Chesapeake Energy
                                                 Corporation (Cavenaugh, Matthew) (Entered:
 12/29/2020                                      12/29/2020)

                            2655                 Notice of Withdrawal of Motion for Relief from
                                                 Automatic Stay (ECF No. 1606). Filed by
                            (2 pgs)              Catherine Ramirez (Lindauer, Joyce) (Entered:
 12/29/2020                                      12/29/2020)

                            2656                     PDF with attached Audio File. Court Date &
                                                 Time [ 12/29/2020 8:54:51 AM ]. File Size
                            (1 pg)               [ 70045 KB ]. Run Time [ 02:25:56 ]. (admin).
 12/29/2020                                      (Entered: 12/29/2020)

                            2658                 Joint Stipulation and Agreed Order Signed on
                                                 12/29/2020 (Related document(s):2543
 12/29/2020                 (7 pgs)              Stipulation) (aalo) (Entered: 12/29/2020)

                            2659                 Amended Order Pursuant to 11 U.S.C. §§ 105(a),
                                                 363(b), AND 365(a) ANDFED. R. BANKR. P.
                            (4 pgs)              6006 Authorizing (I) Assumption of Certain
                                                 Agreements with Stagecoach Pipeline & Storage
                                                 Company LLC, (II) Entry Into Replacement
                                                 Stagecoach Agreements, (III) Cancellation of
                                                 Existing Stagecoach Marc 1 Agreement, and (IV)
                                                 Payment of all Obligations Thereunder Signed on
                                                 12/29/2020 (Related document(s):2476 Order on
 12/29/2020                                      Emergency Motion) (aalo) (Entered: 12/29/2020)

                            2660                 Notice of Enterprise Rejection Hearing. (Related
                                                 document(s):2376 Emergency Motion) Filed by
                            (4 pgs)              Chesapeake Energy Corporation (Cavenaugh,
 12/29/2020                                      Matthew) (Entered: 12/29/2020)

                            2661                 Affidavit Re: Notice of Transaction (Filed By
                                                 Epiq Corporate Restructuring LLC ). (Garabato,
 12/29/2020                 (35 pgs)             Sid) (Entered: 12/29/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 437 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 437 of 1639
                                                                           0437


                            2662                 Proposed Order RE: Ryan, LLC's Motion to
                                                 Reconsider (Filed By Ryan, LLC ).(Related
                            (2 pgs)              document(s):2645 Motion to Reconsider) (Hales,
 12/29/2020                                      Troy) (Entered: 12/29/2020)

                            2663                 Courtroom Minutes. Time Hearing Held: 9-4PM.
                                                 Appearances: see attached. Day 7 of Trial.
                            (4 pgs)              Witness: Adam Miller. Testimony from Mr.
                                                 Miller has concluded. The declarations at 2299-
                                                 14,2482, 2299-3, 2299-1 have been admitted.
                                                 Proof of Publications filed at 2297-19,
                                                 21,22,23,24,25,26 and 2322-1 have been
                                                 admitted. Day 8 of Trial to begin on 12/30/2020
 12/29/2020                                      at 9:00 AM. . (aalo) (Entered: 12/29/2020)

                            2664                 Declaration re: Supplemental Declaration of
                                                 Helen Mason of Riveron Consulting LLC
                            (43 pgs)             Pursuant to the Order Authorizing the Retention
                                                 and Compensation of Certain Professionals
                                                 Utilized in the Ordinary Course of Business (Filed
                                                 By Chesapeake Energy Corporation ).
 12/29/2020                                      (Cavenaugh, Matthew) (Entered: 12/29/2020)

                            2665                     PDF with attached Audio File. Court Date &
                                                 Time [ 12/29/2020 1:23:12 PM ]. File Size
                            (1 pg)               [ 64099 KB ]. Run Time [ 02:13:32 ]. (admin).
 12/29/2020                                      (Entered: 12/29/2020)

                            2666                 Witness List, Exhibit List (Filed By Official
                                                 Committee Of Unsecured Creditors ).(Related
                            (110 pgs)            document(s):2313 Witness List, Exhibit List,
                                                 2464 Witness List, Exhibit List, 2631 Witness
                                                 List, Exhibit List) (Harrison, Julie) (Entered:
 12/29/2020                                      12/29/2020)

                            2667                 Transcript RE: Confirmation Hearing - Day 6
                                                 held on 12/28/20 before Judge David R. Jones.
                            (225 pgs)            Transcript is available for viewing in the Clerk's
                                                 Office. Filed by Transcript access will be
                                                 restricted through 03/29/2021.
 12/29/2020                                      (AccessTranscripts) (Entered: 12/29/2020)

                            2668
                                                 Additional Attachments Re: UCC Exhibit 1418
                            (1 pg)               (related document(s):2666 Witness List, Exhibit
                                                 List) (Filed By Official Committee Of Unsecured
                                                 Creditors ).(Related document(s):2666 Witness




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 438 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 438 of 1639
                                                                           0438


                                                 List, Exhibit List) (Harrison, Julie) (Entered:
 12/30/2020                                      12/30/2020)

                            2669                 Witness List, Exhibit List (Filed By Official
                                                 Committee Of Unsecured Creditors ).(Related
                            (110 pgs)            document(s):2313 Witness List, Exhibit List,
                                                 2464 Witness List, Exhibit List, 2631 Witness
                                                 List, Exhibit List, 2666 Witness List, Exhibit List)
 12/30/2020                                      (Harrison, Julie) (Entered: 12/30/2020)

                            2670                 Notice of Filing of Official Transcript as to 2651
                                                 Transcript, 2667 Transcript. Parties notified
                            (1 pg)               (Related document(s):2651 Transcript, 2667
 12/30/2020                                      Transcript) (Olin) (Entered: 12/30/2020)

                            2671                 AO 435 TRANSCRIPT ORDER FORM (Daily
                                                 (24 hours)) by Matthew D. Cavenaugh. This is to
                            (1 pg)               order a transcript of 12/30/2020 before Judge
                                                 David R. Jones. Court Reporter/Transcriber:
                                                 Access Transcripts (Filed By Chesapeake Energy
                                                 Corporation ). (Cavenaugh, Matthew)
                                                 Electronically forwarded to Access Transcript on
                                                 12-30-2020. Estimated completion date: 12-31-
                                                 20. Modified on 12/30/2020 (MelissaMorgan).
 12/30/2020                                      (Entered: 12/30/2020)

                            2672                 AO 435 TRANSCRIPT ORDER FORM (Daily
                                                 (24 hours)) by Marty L. Brimmage, Jr.. This is to
                            (1 pg)               order a transcript of the December 30, 2020
                                                 Hearing before Judge David R. Jones. Court
                                                 Reporter/Transcriber: Access Transcripts (Filed
                                                 By Franklin Advisers, Inc., as Investment
                                                 Manager on Behalf of Certain Funds and
                                                 Accounts ). (Brimmage, Marty) Copy request was
                                                 electronically forwarded to Access Transcripts on
                                                 12-30-2020. Estimated completion date: 12-31-
                                                 2020. Modified on 12/30/2020 (MelissaMorgan).
 12/30/2020                                      (Entered: 12/30/2020)

                            2673                 AO 435 TRANSCRIPT ORDER FORM (Daily
                                                 (24 hours)) by John E. Mitchell. This is to order a
                            (1 pg)               transcript of Hearing dated12/29/2020 before
                                                 Judge David R. Jones. Court
                                                 Reporter/Transcriber: Access Transcripts (Filed
                                                 By Energy Transfer Fuel, LP ). (Mitchell, John)
                                                 Copy request was electronically forwarded to
                                                 Judicial Transcribers of Texas on 12-30-2020.




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                        5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 439 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 439 of 1639
                                                                           0439


                                                 Estimated completion date: 12-31-2020. Modified
                                                 on 12/30/2020 (MelissaMorgan). (Entered:
 12/30/2020                                      12/30/2020)

                            2674                 Withdrawal of Claim: 91 filed by Epiq Corporate
                                                 Restructuring, LLC on behalf of Young County
 12/30/2020                 (3 pgs)              (Garabato, Sid) (Entered: 12/30/2020)

                            2675                 Withdrawal of Claim: 4365 filed by Epiq
                                                 Corporate Restructuring, LLC on behalf of
                            (2 pgs)              Louisiana Department of Revenue (Garabato, Sid)
 12/30/2020                                      (Entered: 12/30/2020)

                            2676                 Withdrawal of Claim: 4543 filed by Epiq
                                                 Corporate Restructuring, LLC on behalf of
                            (2 pgs)              Department of the Interior/Office of Natural
                                                 Resources Revenue (Garabato, Sid) (Entered:
 12/30/2020                                      12/30/2020)

                            2677                 Certificate of No Objection with Respect to First
                                                 Interim Fee Applications of Intrepid Partners,
                            (8 pgs; 3 docs)      LLC and Rothschild & Co US Inc. (Filed By
                                                 Chesapeake Energy Corporation ).(Related
                                                 document(s):2059 Application for Compensation,
                                                 2060 Application for Compensation)
                                                 (Attachments: # 1 Proposed Order Intrepid
                                                 Partners, LLC # 2 Proposed Order Rothschild &
                                                 Co US Inc.) (Cavenaugh, Matthew) (Entered:
 12/30/2020                                      12/30/2020)

                            2678                 AO 435 TRANSCRIPT ORDER FORM (Daily
                                                 (24 hours)) by John E. Mitchell. This is to order a
                            (1 pg)               transcript of Hearing - 12/30/2020 before Judge
                                                 David R. Jones. Court Reporter/Transcriber:
                                                 Access Transcripts (Filed By Energy Transfer
                                                 Fuel, LP ). (Mitchell, John) Copy request was
                                                 electronically forwarded to Access Transcripts on
                                                 12-30-2020. Estimated completion date: 12-31-
                                                 2020. Modified on 12/30/2020 (MelissaMorgan).
 12/30/2020                                      (Entered: 12/30/2020)

                            2679                 AO 435 TRANSCRIPT ORDER FORM (Daily
                                                 (24 hours)) by M. Quejada. This is to order a
                            (1 pg)               transcript of December 30, 2020 Hearing before
                                                 Judge David R. Jones. Court
                                                 Reporter/Transcriber: Access Transcripts (Filed
                                                 By MUFG Union Bank, N.A. ). (Quejada,




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 440 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 440 of 1639
                                                                           0440


                                                 Maegan) Copy request was electronically
                                                 forwarded to Access Transcripts on 12-30-2020.
                                                 Estimated completion date: 12-31-2020. Modified
                                                 on 12/30/2020 (MelissaMorgan). (Entered:
 12/30/2020                                      12/30/2020)

                            2680                 AO 435 TRANSCRIPT ORDER FORM (Daily
                                                 (24 hours)) by Justin Rawlins. This is to order a
                            (1 pg)               transcript of Hearing on December 30, 2020
                                                 before Judge David R. Jones. Court
                                                 Reporter/Transcriber: Access Transcripts (Filed
                                                 By MUFG Union Bank, N.A. ). (Rawlins, Justin)
                                                 Copy request was electronically forwarded to
                                                 Access Transcripts on 12-30-2020. Estimated
                                                 completion date: 12-31-2020. Modified on
                                                 12/30/2020 (MelissaMorgan). (Entered:
 12/30/2020                                      12/30/2020)

                            2681                     PDF with attached Audio File. Court Date &
                                                 Time [ 12/30/2020 8:59:40 AM ]. File Size
                            (1 pg)               [ 81965 KB ]. Run Time [ 02:50:46 ]. (Trial Day
                                                 8 - Morning Session). (admin). (Entered:
 12/30/2020                                      12/30/2020)

                            2682                 Motion for Relief from Stay to allow litigation to
                                                 proceed in Pennsylvania state court. Fee Amount
                            (250 pgs; 10 docs)   $188. Filed by Creditor Commonwealth of
                                                 Pennsylvania Hearing scheduled for 1/25/2021 at
                                                 02:00 PM at Houston, Courtroom 400 (DRJ).
                                                 (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3
                                                 Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6 Exhibit 6
                                                 # 7 Exhibit 7 # 8 Exhibit 8 # 9 Proposed Order)
 12/30/2020                                      (Butler, Lynn) (Entered: 12/30/2020)

                                                 Receipt of Motion for Relief From Stay(20-
                                                 33233) [motion,mrlfsty] ( 188.00) Filing Fee.
                                                 Receipt number 22711482. Fee amount $ 188.00.
 12/30/2020                                      (U.S. Treasury) (Entered: 12/30/2020)

                            2683                 Order Granting Application For Compensation
                                                 (Related Doc # 1877). Signed on 12/30/2020.
 12/30/2020                 (2 pgs)              (aalo) (Entered: 12/30/2020)

                            2684                 Order Granting Application For Compensation
                                                 (Related Doc # 1878). Signed on 12/30/2020.
 12/30/2020                 (2 pgs)              (aalo) (Entered: 12/30/2020)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 441 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 441 of 1639
                                                                           0441


                            2685                 Order Granting Application For Compensation
                                                 (Related Doc # 1880). Signed on 12/30/2020.
 12/30/2020                 (2 pgs)              (aalo) (Entered: 12/30/2020)

                            2686                 Order Granting Application For Compensation
                                                 (Related Doc # 2059). Signed on 12/30/2020.
 12/30/2020                 (2 pgs)              (aalo) (Entered: 12/30/2020)

                            2687                 Order Granting Application For Compensation
                                                 (Related Doc # 2060). Signed on 12/30/2020.
 12/30/2020                 (2 pgs)              (aalo) (Entered: 12/30/2020)

                            2688                 Courtroom Minutes. Time Hearing Held: 9:00 am.
                                                 Appearances: SEE ATTACHED.Trial - Day 8
                            (4 pgs)              Witness: John Stuart. Concluded the testimony of
                                                 Mr. Stuart. Trial Day 9 set to begin 1/4/2021 at
                                                 09:00 AM by telephone and video conference.
 12/30/2020                                      (emiller) (Entered: 12/30/2020)

                            2689                     PDF with attached Audio File. Court Date &
                                                 Time [ 12/30/2020 1:44:27 PM ]. File Size
                            (1 pg)               [ 43068 KB ]. Run Time [ 01:29:44 ]. (Trial Day
                                                 8 - Afternoon Session). (admin). (Entered:
 12/30/2020                                      12/30/2020)

                            2690                 Withdrawal of Claim: 53 filed by Epiq Corporate
                                                 Restructuring, LLC on behalf of KLX Energy
                            (3 pgs)              Services LLC (Garabato, Sid) (Entered:
 12/30/2020                                      12/30/2020)

                            2691                 Withdrawal of Claim: 4280 filed by Epiq
                                                 Corporate Restructuring, LLC on behalf of Texas
                            (3 pgs)              Comptroller of Public Accounts (Garabato, Sid)
 12/30/2020                                      (Entered: 12/30/2020)

                            2692                 Withdrawal of Claim: 4281 filed by Epiq
                                                 Corporate Restructuring, LLC on behalf of Texas
                            (3 pgs)              Comptroller of Public Accounts (Garabato, Sid)
 12/30/2020                                      (Entered: 12/30/2020)

                            2693                 Withdrawal of Claim: 4282 filed by Epiq
                                                 Corporate Restructuring, LLC on behalf of Texas
                            (3 pgs)              Comptroller of Public Accounts (Garabato, Sid)
 12/30/2020                                      (Entered: 12/30/2020)

                            2694                 Withdrawal of Claim: 4283 filed by Epiq




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 442 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 442 of 1639
                                                                           0442


                                                 Corporate Restructuring, LLC on behalf of Texas
                            (4 pgs)              Comptroller of Public Accounts (Garabato, Sid)
 12/30/2020                                      (Entered: 12/30/2020)

                            2695                 Withdrawal of Claim: 4366 filed by Epiq
                                                 Corporate Restructuring, LLC on behalf of
                            (2 pgs)              Louisiana Department of Revenue (Garabato, Sid)
 12/30/2020                                      (Entered: 12/30/2020)

                            2736                 Order Vacating Docket No. 1091 the Stipulation
                                                 and Order by the Debtors Granting Relief from
                            (2 pgs)              Automatic Stay (Related Doc # 1175) Signed on
 12/30/2020                                      12/30/2020. (emiller) (Entered: 01/05/2021)

                            2696                 Transcript RE: Confirmation Hearing Day Seven
                                                 (Via Zoom) held on December 29, 2020 before
                            (170 pgs)            Judge David R. Jones. Transcript is available for
                                                 viewing in the Clerk's Office. Filed by Transcript
                                                 access will be restricted through 03/31/2021.
 12/31/2020                                      (mhen) (Entered: 12/31/2020)

                            2697                 Transcript RE: Confirmation Hearing - Day 8
                                                 held on 12/30/20 before Judge David R. Jones.
                            (178 pgs)            Transcript is available for viewing in the Clerk's
                                                 Office. Filed by Transcript access will be
                                                 restricted through 03/31/2021.
 12/31/2020                                      (AccessTranscripts) (Entered: 12/31/2020)

                            2698                 BNC Certificate of Mailing. (Related document
                                                 (s):2658 Generic Order) No. of Notices: 216.
                            (51 pgs)             Notice Date 12/31/2020. (Admin.) (Entered:
 12/31/2020                                      12/31/2020)

                            2699                 BNC Certificate of Mailing. (Related document
                                                 (s):2659 Amended Order) No. of Notices: 216.
                            (14 pgs)             Notice Date 12/31/2020. (Admin.) (Entered:
 12/31/2020                                      12/31/2020)

                            2700                 BNC Certificate of Mailing. (Related document
                                                 (s):2670 Notice of Filing of Official Transcript
                            (11 pgs)             (Form)) No. of Notices: 216. Notice Date
 01/01/2021                                      01/01/2021. (Admin.) (Entered: 01/02/2021)

                            2701
                                                 BNC Certificate of Mailing. (Related document
                            (12 pgs)             (s):2683 Order on Application for Compensation)
                                                 No. of Notices: 216. Notice Date 01/01/2021.




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 443 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 443 of 1639
                                                                           0443


 01/01/2021                                      (Admin.) (Entered: 01/02/2021)

                            2702                 BNC Certificate of Mailing. (Related document
                                                 (s):2684 Order on Application for Compensation)
                            (12 pgs)             No. of Notices: 216. Notice Date 01/01/2021.
 01/01/2021                                      (Admin.) (Entered: 01/02/2021)

                            2703                 BNC Certificate of Mailing. (Related document
                                                 (s):2685 Order on Application for Compensation)
                            (12 pgs)             No. of Notices: 216. Notice Date 01/01/2021.
 01/01/2021                                      (Admin.) (Entered: 01/02/2021)

                            2704                 BNC Certificate of Mailing. (Related document
                                                 (s):2686 Order on Application for Compensation)
                            (12 pgs)             No. of Notices: 216. Notice Date 01/01/2021.
 01/01/2021                                      (Admin.) (Entered: 01/02/2021)

                            2705                 BNC Certificate of Mailing. (Related document
                                                 (s):2687 Order on Application for Compensation)
                            (12 pgs)             No. of Notices: 216. Notice Date 01/01/2021.
 01/01/2021                                      (Admin.) (Entered: 01/02/2021)

                            2706                 Additional Attachments Re: UCC Exhibits 1419,
                                                 1420, 1421, 1422, 1423, 1424 (related document
                            (118 pgs; 6 docs)    (s):2669 Witness List, Exhibit List) (Filed By
                                                 Official Committee Of Unsecured Creditors ).
                                                 (Related document(s):2669 Witness List, Exhibit
                                                 List) (Attachments: # 1 Exhibit 1420 # 2 Exhibit
                                                 1421 # 3 Exhibit 1422 # 4 Exhibit 1423 # 5
                                                 Exhibit 1424) (Harrison, Julie) (Entered:
 01/03/2021                                      01/03/2021)

                            2707                 Witness List, Exhibit List (Filed By Official
                                                 Committee Of Unsecured Creditors ).(Related
                            (111 pgs)            document(s):2313 Witness List, Exhibit List,
                                                 2464 Witness List, Exhibit List, 2631 Witness
                                                 List, Exhibit List, 2666 Witness List, Exhibit List)
 01/03/2021                                      (Harrison, Julie) (Entered: 01/03/2021)

                            2708
                                                 Certificate of No Objection Regarding First
                            (7 pgs; 2 docs)      Interim Fee Application of Back Bay Management
                                                 Corporation and its Division, the Michel-Shaked
                                                 Group, for Allowance of Compensation and
                                                 Reimbursement of Expenses as Expert Valuation
                                                 Consultant to the Official Committee of Unsecured
                                                 Creditors for the Period September 1, 2020




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 444 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 444 of 1639
                                                                           0444


                                                 through September 30, 2020 (Filed By Official
                                                 Committee Of Unsecured Creditors ).(Related
                                                 document(s):2224 Application for Compensation)
                                                 (Attachments: # 1 Proposed Order) (Harrison,
 01/04/2021                                      Julie) (Entered: 01/04/2021)

                            2709                 Sealed Document Debtors' Exhibits 444-460 for
                                                 Continued Confirmation Hearing Set January 4,
                            (96 pgs; 25 docs)    2021 (Filed By Chesapeake Energy Corporation ).
                                                 (Attachments: # 1 Exhibit 444a # 2 Exhibit 445 #
                                                 3 Exhibit 446 # 4 Exhibit 447 # 5 Exhibit 448 # 6
                                                 Exhibit 448a # 7 Exhibit 448b # 8 Exhibit 449 # 9
                                                 Exhibit 449a # 10 Exhibit 450 # 11 Exhibit 450a #
                                                 12 Exhibit 450b # 13 Exhibit 451 # 14 Exhibit
                                                 451a # 15 Exhibit 451b # 16 Exhibit 452 # 17
                                                 Exhibit 453 # 18 Exhibit 454 # 19 Exhibit 455 #
                                                 20 Exhibit 456 # 21 Exhibit 457 # 22 Exhibit 458
                                                 # 23 Exhibit 459 # 24 Exhibit 460) (Cavenaugh,
 01/04/2021                                      Matthew) (Entered: 01/04/2021)

                            2710                 Notice of Filing of Official Transcript as to 2696
                                                 Transcript, 2697 Transcript. Parties notified
                            (1 pg)               (Related document(s):2696 Transcript, 2697
 01/04/2021                                      Transcript) (jdav) (Entered: 01/04/2021)

                            2711                 Exhibit List, Witness List (Filed By Chesapeake
                                                 Energy Corporation ).(Related document(s):2290
                            (29 pgs)             Witness List, Exhibit List) (Cavenaugh, Matthew)
 01/04/2021                                      (Entered: 01/04/2021)

                            2712                 AO 435 TRANSCRIPT ORDER FORM (Daily
                                                 (24 hours)) by Matthew D. Cavenaugh. This is to
                            (1 pg)               order a transcript of 01/04/2021 before Judge
                                                 David R. Jones. Court Reporter/Transcriber:
                                                 Access Transcripts (Filed By Chesapeake Energy
                                                 Corporation ). (Cavenaugh, Matthew)
                                                 Electronically forwarded to Access Transcripts,
                                                 LLC on January 4, 2021. Estimated completion
                                                 date" January 5, 2021. Modified on 1/4/2021
 01/04/2021                                      (ClaudiaGutierrez). (Entered: 01/04/2021)

                            2713                 AO 435 TRANSCRIPT ORDER FORM (Daily
                                                 (24 hours)) by Marty L. Brimmage, Jr.. This is to
                            (1 pg)               order a transcript of the January 4, 2021 Hearing
                                                 before Judge David R. Jones. Court
                                                 Reporter/Transcriber: Access Transcripts (Filed
                                                 By Franklin Advisers, Inc., as Investment




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 445 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 445 of 1639
                                                                           0445


                                                 Manager on Behalf of Certain Funds and
                                                 Accounts ). (Brimmage, Marty) Copy request
                                                 electronically forwarded to Access Transcripts,
                                                 LLC on January 4, 2021. Estimated completion
                                                 date: January 5, 2021. Modified on 1/4/2021
 01/04/2021                                      (ClaudiaGutierrez). (Entered: 01/04/2021)

                            2714                 AO 435 TRANSCRIPT ORDER FORM (Daily
                                                 (24 hours)) by John E. Mitchell. This is to order a
                            (1 pg)               transcript of Confirmation Hearing - 1/4/2021
                                                 before Judge David R. Jones. Court
                                                 Reporter/Transcriber: Access Transcripts (Filed
                                                 By Energy Transfer Fuel, LP ). (Mitchell, John)
                                                 Copy request electronically forwarded to Access
                                                 Transcripts, LLC on January 4, 2021. Estimated
                                                 completion date: January 5, 2021. Modified on
                                                 1/4/2021 (ClaudiaGutierrez). (Entered:
 01/04/2021                                      01/04/2021)

                            2715                 AO 435 TRANSCRIPT ORDER FORM (3-Day)
                                                 by Mary Elizabeth Heard. This is to order a
                            (1 pg)               transcript of December 30, 2020 Hearing before
                                                 Judge David R. Jones. Court
                                                 Reporter/Transcriber: Access Transcripts (Filed
                                                 By PMBG Parties ). (Heard, Mary) Copy request
                                                 electronically forwarded to Access Transcripts,
                                                 LLC on January 4, 2021. Estimated completion
                                                 date: January 5, 2021. Modified on 1/4/2021
 01/04/2021                                      (ClaudiaGutierrez). (Entered: 01/04/2021)

                            2716                     PDF with attached Audio File. Court Date &
                                                 Time [ 1/4/2021 9:01:03 AM ]. File Size [ 94216
                            (1 pg)               KB ]. Run Time [ 03:16:17 ]. (Confirmation Trial
                                                 Day 9 - Morning Session.). (admin). (Entered:
 01/04/2021                                      01/04/2021)

                            2717                 AO 435 TRANSCRIPT ORDER FORM (Daily
                                                 (24 hours)) by M. Quejada. This is to order a
                            (1 pg)               transcript of January 4, 2021 Hearing before
                                                 Judge David R. Jones. Court
                                                 Reporter/Transcriber: Access Transcripts (Filed
                                                 By MUFG Union Bank, N.A. ). (Quejada,
                                                 Maegan) Copy request electronically forwarded to
                                                 Access Transcripts, LLC on January 4, 2021.
                                                 Estimated completion date: January 5, 2021.
                                                 Modified on 1/4/2021 (ClaudiaGutierrez).
 01/04/2021                                      (Entered: 01/04/2021)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 446 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 446 of 1639
                                                                           0446


                            2718                 AO 435 TRANSCRIPT ORDER FORM (Daily
                                                 (24 hours)) by Julie Harrison. This is to order a
                            (1 pg)               transcript of the January 4, 2021 hearing before
                                                 Judge David R. Jones. Court
                                                 Reporter/Transcriber: Access Transcripts (Filed
                                                 By Official Committee Of Unsecured Creditors ).
                                                 (Harrison, Julie) Copy request electronically
                                                 forwarded to Access Transcripts, LLC on January
                                                 4, 2021. Estimated completion date: January 5,
                                                 2021. Modified on 1/4/2021 (ClaudiaGutierrez).
 01/04/2021                                      (Entered: 01/04/2021)

                            2719
                                                 Letter from Gaynell Spigner (Attachments: # 1
 01/04/2021                 (3 pgs; 2 docs)      Exhibit) (mmap) (Entered: 01/04/2021)

                            2720                     PDF with attached Audio File. Court Date &
                                                 Time [ 1/4/2021 2:00:06 PM ]. File Size [ 56327
                            (1 pg)               KB ]. Run Time [ 01:57:21 ]. (Confirmation Trial
                                                 Day 9 - Afternoon session.). (admin). (Entered:
 01/04/2021                                      01/04/2021)

                            2721                 Courtroom Minutes. Time Hearing Held: 9:00
                                                 AM. Appearances: SEE ATTACHED. Witnesses:
                            (4 pgs)              John Creighton, Marc Brown, David
                                                 MacGreevey. Trial day 9. Testimonies of John
                                                 Creighton, Marc Brown and David MacGreevey
                                                 were concluded. Trial set to begin 1/5/2021 at
                                                 09:00 AM by telephone and video conference.
 01/04/2021                                      (VrianaPortillo) (Entered: 01/04/2021)

                            2722                 AO 435 TRANSCRIPT ORDER FORM (Daily
                                                 (24 hours)) by Jacqueline Kindler. This is to order
                            (1 pg)               a transcript of Hearing held 12/28/2020 - 12/30-
                                                 2020 before Judge David R. Jones. Court
                                                 Reporter/Transcriber: Judicial Transcribers of
                                                 Texas. (jdav) Copy request was electronically
                                                 forwarded to original transcribers- Access
                                                 Transcripts and Judicial Transcribers of Texas on
                                                 1-5-2021. Estimated completion date: 1-6-2021.
                                                 Modified on 1/5/2021 (MelissaMorgan). (Entered:
 01/04/2021                                      01/04/2021)

                            2723                 Withdrawal of Claim: 43 Howland Engineering
                                                 and Surveying Co. (Haynes, Alison) (Entered:
 01/04/2021                 (1 pg)               01/04/2021)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 447 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 447 of 1639
                                                                           0447


                            2724                 Affidavit Re: 4th Monthly PwC Fee Statement/1st
                                                 Interim PwC Fee Application (Filed By Epiq
                            (5 pgs)              Corporate Restructuring LLC ).(Related
                                                 document(s):2558 Notice, 2561 Application for
                                                 Compensation) (Garabato, Sid) (Entered:
 01/04/2021                                      01/04/2021)

                            2725                 Affidavit Re: 4th Monthly A&M Fee Statement
                                                 (Filed By Epiq Corporate Restructuring LLC ).
                            (5 pgs)              (Related document(s):2578 Notice) (Garabato,
 01/04/2021                                      Sid) (Entered: 01/04/2021)

                            2726                 Affidavit Re: De Minimis Notice/Cobb & Counsel
                                                 OCP Declaration/Royston Rayzor OCP
                            (31 pgs)             Declaration (Filed By Epiq Corporate
                                                 Restructuring LLC ).(Related document(s):2607
                                                 Notice, 2608 Declaration, 2609 Declaration)
 01/04/2021                                      (Garabato, Sid) (Entered: 01/04/2021)

                            2727                 Affidavit Re: Motion for Entry of an Order
                                                 Approving (I) the Omnibus Claims Objection
                            (25 pgs)             Procedures, (II) the Form of Notice of Objection,
                                                 (III) the Satisfaction Procedures, and (IV) the
                                                 Form of Notice of Satisfaction (Filed By Epiq
                                                 Corporate Restructuring LLC ).(Related
                                                 document(s):2646 Generic Motion) (Garabato,
 01/04/2021                                      Sid) (Entered: 01/04/2021)

                            2728                 Additional Attachments Re: Sealed UCC Exhibits
                                                 1425 and 1426 (related document(s):2707
                            (318 pgs; 2 docs)    Witness List, Exhibit List), Sealed Document
                                                 (Filed By Official Committee Of Unsecured
                                                 Creditors ).(Related document(s):2707 Witness
                                                 List, Exhibit List) (Attachments: # 1 Exhibit
 01/04/2021                                      1426) (Harrison, Julie) (Entered: 01/04/2021)

                            2729                 Additional Attachments Re: UCC Exhibits 1427,
                                                 1428, 1429, 1430, 1431, 1432, 1433 (related
                            (10 pgs; 7 docs)     document(s):2707 Witness List, Exhibit List)
                                                 (Filed By Official Committee Of Unsecured
                                                 Creditors ).(Related document(s):2707 Witness
                                                 List, Exhibit List) (Attachments: # 1 Exhibit 1428
                                                 # 2 Exhibit 1429 # 3 Exhibit 1430 # 4 Exhibit
                                                 1431 # 5 Exhibit 1432 # 6 Exhibit 1433)
 01/04/2021                                      (Harrison, Julie) (Entered: 01/04/2021)

                            2730                 Witness List, Exhibit List (Filed By Official




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 448 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 448 of 1639
                                                                           0448


                                                 Committee Of Unsecured Creditors ).(Related
                            (111 pgs)            document(s):2313 Witness List, Exhibit List,
                                                 2464 Witness List, Exhibit List, 2631 Witness
                                                 List, Exhibit List, 2666 Witness List, Exhibit List,
                                                 2707 Witness List, Exhibit List) (Harrison, Julie)
 01/04/2021                                      (Entered: 01/04/2021)

                            2732
                                                 Letter from Gaynell Spigner (Attachments: # 1
 01/04/2021                 (4 pgs; 2 docs)      Exhibit) (mmap) (Entered: 01/05/2021)

                            2734                 AO 435 TRANSCRIPT ORDER FORM (Daily
                                                 (24 hours)) by Jacqueline Kindler. This is to order
                            (1 pg)               a transcript of 1/4/2020,Hearing before Judge
                                                 David R. Jones. Court Reporter/Transcriber:
                                                 Access Transcripts. (mmap) Copy request was
                                                 electronically forwarded to Access Transcripts on
                                                 1-5-2021. Estimated completion date: 1-6-2021.
                                                 Modified on 1/5/2021 (MelissaMorgan). (Entered:
 01/04/2021                                      01/05/2021)

                            2731                 AO 435 TRANSCRIPT ORDER FORM (Daily
                                                 (24 hours)) by Matthew D. Cavenaugh. This is to
                            (1 pg)               order a transcript of 01/05/2021 before Judge
                                                 David R. Jones. Court Reporter/Transcriber:
                                                 Judicial Transcribers of Texas (Filed By
                                                 Chesapeake Energy Corporation ). (Cavenaugh,
                                                 Matthew) Electronically forwarded to Judicial
                                                 Transcribers of Texas on 1-5-2021. Estimated
                                                 completion date: 1-6-2021. Modified on 1/5/2021
 01/05/2021                                      (MelissaMorgan). (Entered: 01/05/2021)

                            2733                 Notice of Fee Statement of Kirkland & Ellis LLP
                                                 and Kirkland & Ellis International LLP for
                            (201 pgs)            Compensation for Services and Reimbursement of
                                                 Expenses as Attorneys to the Debtors and Debtors
                                                 in Possession for the Period From September 1,
                                                 2020 Through September 30, 2020. (Related
                                                 document(s):656 Generic Order) Filed by
                                                 Chesapeake Energy Corporation (Cavenaugh,
 01/05/2021                                      Matthew) (Entered: 01/05/2021)

                                                 Certificate of Telephone Notice. By agreement of
                                                 the parties, the hearing o the motion for relief
                                                 from stay has been adjourned. Movant to notice
                                                 all interested parties and file a certificate of
                                                 service with the court (Related document(s):1248




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 449 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 449 of 1639
                                                                           0449


                                                 Motion for Relief From Stay) Hearing
                                                 rescheduled for 1/12/2021 at 01:00 PM by
                                                 telephone and video conference. (aalo) (Entered:
 01/05/2021                                      01/05/2021)

                            2735                 Notice of Reset Hearing on Motion of John H.
                                                 Bedsole and Bedsole Land Company for Relief
                            (4 pgs)              from the Automatic Stay. (Related document
                                                 (s):1248 Motion for Relief From Stay, Certificate
                                                 of Notice) Filed by Chesapeake Energy
                                                 Corporation (Cavenaugh, Matthew) (Entered:
 01/05/2021                                      01/05/2021)

                            2737                 AO 435 TRANSCRIPT ORDER FORM (Daily
                                                 (24 hours)) by Jacqueline Kindler. This is to order
                            (1 pg)               a transcript of 12/23/2020, hearing before Judge
                                                 David R. Jones. Court Reporter/Transcriber:
                                                 Judicial Transcribers of Texas. (mmap) Copy
                                                 request was electronically forwarded to Judicial
                                                 Transcribers of Texas on 1-5-2021. Estimated
                                                 completion date: 1-6-2021. Modified on 1/5/2021
 01/05/2021                                      (MelissaMorgan). (Entered: 01/05/2021)

                            2738                 AO 435 TRANSCRIPT ORDER FORM (Daily
                                                 (24 hours)) by Marty L. Brimmage, Jr.. This is to
                            (1 pg)               order a transcript of the January 5, 2021 Hearing
                                                 before Judge David R. Jones. Court
                                                 Reporter/Transcriber: Judicial Transcribers of
                                                 Texas (Filed By Franklin Advisers, Inc., as
                                                 Investment Manager on Behalf of Certain Funds
                                                 and Accounts ). (Brimmage, Marty) Copy request
                                                 was electronically forwarded to Judicial
                                                 Transcribers of Texas on 1-5-2021. Estimated
                                                 completion date: 1-6-2021. Modified on 1/5/2021
 01/05/2021                                      (MelissaMorgan). (Entered: 01/05/2021)

                            2739
                                                 AO 435 TRANSCRIPT ORDER FORM
                                                 (Ordinary (30 days)) by William A. (Trey) Wood
                            (1 pg)
                                                 III. This is to order a transcript of January 4, 2021
                                                 (morning and afternoon sessions) before Judge
                                                 David R. Jones. Court Reporter/Transcriber:
                                                 Access Transcripts (Filed By Kinder Morgan
                                                 Texas Pipeline LLC ). (Wood, William) Copy
                                                 request electronically forwarded to Access
                                                 Transcripts, LLC on January 5, 2021. Estimated
                                                 completion date: February 4, 2021. Modified on
                                                 1/5/2021 (ClaudiaGutierrez). (Entered:




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                        5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 450 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 450 of 1639
                                                                           0450


 01/05/2021                                      01/05/2021)

                            2740                     PDF with attached Audio File. Court Date &
                                                 Time [ 1/5/2021 9:00:53 AM ]. File Size [ 72109
                            (1 pg)               KB ]. Run Time [ 02:30:14 ]. (admin). (Entered:
 01/05/2021                                      01/05/2021)

                            2741                 Notice of Change of Address Filed by Plains
                                                 Marketing, L.P. (Prewitt, Patricia) (Entered:
 01/05/2021                 (2 pgs)              01/05/2021)

                            2742                 AO 435 TRANSCRIPT ORDER FORM (Daily
                                                 (24 hours)) by M. Quejada. This is to order a
                            (1 pg)               transcript of January 5, 2021 Hearing before
                                                 Judge David R. Jones. Court
                                                 Reporter/Transcriber: Judicial Transcribers of
                                                 Texas (Filed By MUFG Union Bank, N.A. ).
                                                 (Quejada, Maegan) Copy request was
                                                 electronically forwarded to Judicial Transcribers
                                                 of Texas on 1-6-2021. Estimated completion date:
                                                 1-7-2021. Modified on 1/6/2021
 01/05/2021                                      (MelissaMorgan). (Entered: 01/05/2021)

                            2743                 AO 435 TRANSCRIPT ORDER FORM (Daily
                                                 (24 hours)) by Jacqueline Kindler. This is to order
                            (1 pg)               a transcript of 1/5/2021, hearing before Judge
                                                 David R. Jones. Court Reporter/Transcriber:
                                                 Judicial Transcribers of Texas. (mmap) Copy
                                                 request was electronically forwarded to Judicial
                                                 Transcribers of Texas on 1-6-2021. Estimated
                                                 completion date: 1-7-2021. Modified on 1/6/2021
 01/05/2021                                      (MelissaMorgan). (Entered: 01/05/2021)

                            2744                 AO 435 TRANSCRIPT ORDER FORM (Daily
                                                 (24 hours)) by John E. Mitchell. This is to order a
                            (1 pg)               transcript of Confirmation Hearing - 1/5/2021
                                                 before Judge David R. Jones. Court
                                                 Reporter/Transcriber: Access Transcripts (Filed
                                                 By Energy Transfer Fuel, LP ). (Mitchell, John)
                                                 Copy request was electronically forwarded to
                                                 Judicial Transcribers of Texas on 1-6-2021.
                                                 Estimated completion date: 1-7-2021. Modified
                                                 on 1/6/2021 (MelissaMorgan). (Entered:
 01/05/2021                                      01/05/2021)

                            2745
                                                 AO 435 TRANSCRIPT ORDER FORM (Daily




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 451 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 451 of 1639
                                                                           0451


                                                 (24 hours)) by Justin Rawlins. This is to order a
                            (1 pg)               transcript of Hearing on January 4, 2021 before
                                                 Judge David R. Jones. Court
                                                 Reporter/Transcriber: Access Transcripts (Filed
                                                 By MUFG Union Bank, N.A. ). (Rawlins, Justin)
                                                 Copy request was electronically forwarded to
                                                 Access Transcripts on 1-6-2021. Estimated
                                                 completion date: 1-7-2021. Modified on 1/6/2021
 01/05/2021                                      (MelissaMorgan). (Entered: 01/05/2021)

                            2746                 AO 435 TRANSCRIPT ORDER FORM (Daily
                                                 (24 hours)) by Justin Rawlins. This is to order a
                            (1 pg)               transcript of Hearing on January 5, 2021 before
                                                 Judge David R. Jones. Court
                                                 Reporter/Transcriber: Judicial Transcribers of
                                                 Texas (Filed By MUFG Union Bank, N.A. ).
                                                 (Rawlins, Justin) Copy request was electronically
                                                 forwarded to Judicial Transcribers of Texas on 1-
                                                 6-2021. Estimated completion date: 1-7-2021.
                                                 Modified on 1/6/2021 (MelissaMorgan). (Entered:
 01/05/2021                                      01/05/2021)

                            2747                 Transcript RE: Confirmation Hearing - Day 9
                                                 held on 1/4/21 before Judge David R. Jones.
                            (218 pgs)            Transcript is available for viewing in the Clerk's
                                                 Office. Filed by Transcript access will be
                                                 restricted through 04/5/2021. (AccessTranscripts)
 01/05/2021                                      (Entered: 01/05/2021)

                            2748                 Courtroom Minutes. Day 10 of Trial. Trial Time:
                                                 9:00 - 5:15 PM. Appearances: see attached.
                            (3 pgs)              Witnesses: Bill Ebanks and David Baggett.
                                                 Testimony from Mr. Ebanks has concluded.
                                                 Direct examination for Mr. Baggett has
                                                 concluded. Trial will resume on 1/6/2021 at 9:00
                                                 AM with cross examination of David Baggett
                                                 by telephone and video conference. (aalo)
 01/05/2021                                      (Entered: 01/05/2021)

                            2749                     PDF with attached Audio File. Court Date &
                                                 Time [ 1/5/2021 1:30:03 PM ]. File Size [ 103106
                            (1 pg)               KB ]. Run Time [ 03:34:48 ]. (admin). (Entered:
 01/05/2021                                      01/05/2021)

                            2750
                                                 AO 435 TRANSCRIPT ORDER FORM
                                                 (Expedited (7 days)) by Mary Elizabeth Heard.




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 452 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 452 of 1639
                                                                           0452


                            (1 pg)               This is to order a transcript of January 5, 2021
                                                 Hearing before Judge David R. Jones. Court
                                                 Reporter/Transcriber: Judicial Transcribers of
                                                 Texas (Filed By PMBG Parties ). (Heard, Mary)
                                                 Copy request was electronically forwarded to
                                                 Judicial Transcribers of Texas on 1-6-2021.
                                                 Estimated completion date: 1-7-2021.Modified on
 01/05/2021                                      1/6/2021 (MelissaMorgan). (Entered: 01/05/2021)

                            2751                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by Julie Harrison. This is to order a
                            (1 pg)              transcript of the December 30, 2020 hearing before
                                                Judge David R. Jones. Court Reporter/Transcriber:
                                                Access Transcripts (Filed By Official Committee
                                                Of Unsecured Creditors ). (Harrison, Julie) Copy
                                                request was electronically forwarded to Access
                                                Transcripts on 1-6-2021. Estimated completion
                                                date: 1-7-2021. Modified on 1/6/2021
 01/05/2021                                     (MelissaMorgan). (Entered: 01/05/2021)

                            2752                Stipulation By Chesapeake Energy Corporation
                                                and Eagle Ford MDL Royalty Owner Plaintiffs,
                            (7 pgs)             CNOOC Energy U.S.A. LLC, Jamestown
                                                Resources, L.L.C., Larchmont Resources, LLC,
                                                and Pelican Energy, L.L.C.. Does this document
                                                include an agreed order or otherwise request that
                                                the judge sign a document? Yes. (Filed By
                                                Chesapeake Energy Corporation ). (Cavenaugh,
 01/05/2021                                     Matthew) (Entered: 01/05/2021)

                            2753                Notice of the Official Committee of Unsecured
                                                Creditors' Submission of Deposition Designations
                            (15 pgs; 2 docs)    for Confirmation Hearing and Joint Stipulation
                                                Regarding the Testimony of David Helffrich. Filed
                                                by Official Committee Of Unsecured Creditors
                                                (Attachments: # 1 Exhibit 1) (Harrison, Julie)
 01/05/2021                                     (Entered: 01/05/2021)

                            2754                Transcript RE: Confirmation Hearing Day Ten --
                                                Morning Session Only (VIA ZOOM) held on
                            (105 pgs)           January 5, 2021 before Judge David R. Jones.
                                                Transcript is available for viewing in the Clerk's
                                                Office. Filed by Transcript access will be restricted
 01/06/2021                                     through 04/6/2021. (mhen) (Entered: 01/06/2021)

                            2755                Statement First Monthly Fee Statement of BBG,
                                                Inc. for Allowance of Compensation for Services




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                        5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 453 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 453 of 1639
                                                                           0453


                            (14 pgs)            Rendered and Reimbursement of Expenses
                                                Incurred as Real Estate Appraiser/Valuation
                                                Expert to the Official Committee of Unsecured
                                                Creditors for the Period from November 2, 2020 to
                                                November 30, 2020 (Filed By Official Committee
                                                Of Unsecured Creditors ). (Harrison, Julie)
 01/06/2021                                     (Entered: 01/06/2021)

                            2756                Statement Second Monthly Fee Statement of BBG,
                                                Inc. for Allowance of Compensation for Services
                            (9 pgs)             Rendered and Reimbursement of Expenses
                                                Incurred as Real Estate Appraiser/Valuation
                                                Expert to the Official Committee of Unsecured
                                                Creditors for the Period from December 1, 2020 to
                                                December 31, 2020 (Filed By Official Committee
                                                Of Unsecured Creditors ). (Harrison, Julie)
 01/06/2021                                     (Entered: 01/06/2021)

                            2757                Exhibit List (Filed By Chesapeake Energy
                                                Corporation ).(Related document(s):2290 Witness
                            (7 pgs; 3 docs)     List, Exhibit List) (Attachments: # 1 Exhibit 462 #
                                                2 Exhibit 463) (Cavenaugh, Matthew) (Entered:
 01/06/2021                                     01/06/2021)

                            2758                Notice of the Official Committee of Unsecured
                                                Creditors' Corrected Submission of Deposition
                            (15 pgs; 2 docs)    Designations for Confirmation Hearing and Joint
                                                Stipulation Regarding the Testimony of David
                                                Helffrich.. (Related document(s):2753 Notice)
                                                Filed by Official Committee Of Unsecured
                                                Creditors (Attachments: # 1 Exhibit 1 (Corrected))
 01/06/2021                                     (Harrison, Julie) (Entered: 01/06/2021)

                            2759                Exhibit List, Witness List (Filed By Chesapeake
                                                Energy Corporation ).(Related document(s):2290
                            (29 pgs)            Witness List, Exhibit List) (Cavenaugh, Matthew)
 01/06/2021                                     (Entered: 01/06/2021)

                            2760                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by Matthew D. Cavenaugh. This is to order
                            (1 pg)              a transcript of 01/06/2021 before Judge David R.
                                                Jones. Court Reporter/Transcriber: Access
                                                Transcripts (Filed By Chesapeake Energy
                                                Corporation ). (Cavenaugh, Matthew)
                                                Electronically forwarded to Access Transcripts on
                                                1-6-2021. Estimated completion date: 1-7-
                                                2021.Modified on 1/6/2021 (MelissaMorgan).




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 454 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 454 of 1639
                                                                           0454


 01/06/2021                                     (Entered: 01/06/2021)

                            2761                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by Marty L. Brimmage, Jr.. This is to order
                            (1 pg)              a transcript of the January 6, 2021 Hearing before
                                                Judge David R. Jones. Court Reporter/Transcriber:
                                                Access Transcripts (Filed By Franklin Advisers,
                                                Inc., as Investment Manager on Behalf of Certain
                                                Funds and Accounts ). (Brimmage, Marty) Copy
                                                request was electronically forwarded to Access
                                                Transcripts on 1-6-2021. Estimated completion
                                                date: 1-7-2021. Modified on 1/6/2021
 01/06/2021                                     (MelissaMorgan). (Entered: 01/06/2021)

                            2762                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by Julie Harrison. This is to order a
                            (1 pg)              transcript of the January 6, 2021 hearing before
                                                Judge David R. Jones. Court Reporter/Transcriber:
                                                Access Transcripts (Filed By Official Committee
                                                Of Unsecured Creditors ). (Harrison, Julie) Copy
                                                request was electronically forwarded to Access
                                                Transcripts on 1-6-2021. Estimated completion
                                                date: 1-7-2021. Modified on 1/6/2021
 01/06/2021                                     (MelissaMorgan). (Entered: 01/06/2021)

                            2763                Stipulation and Agreed Order By and Among the
                                                Debtors, the Eagle Ford MDL Royalty Owner
                            (7 pgs)             Plaintiffs, CEU, and JLP Signed on 1/6/2021
                                                (Related document(s):2752 Stipulation) (emiller)
 01/06/2021                                     (Entered: 01/06/2021)

                            2764                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by M. Quejada. This is to order a transcript
                            (1 pg)              of January 6, 2021 Hearing before Judge David R.
                                                Jones. Court Reporter/Transcriber: Access
                                                Transcripts (Filed By MUFG Union Bank, N.A. ).
                                                (Quejada, Maegan) Copy request was
                                                electronically forwarded to Access Transcripts on
                                                1-6-2021. Estimated completion date: 1-7-2021.
                                                Modified on 1/6/2021 (MelissaMorgan). (Entered:
 01/06/2021                                     01/06/2021)

                            2765
                                                   PDF with attached Audio File. Court Date &
                            (1 pg)              Time [ 1/6/2021 9:00:11 AM ]. File Size [ 65527
                                                KB ]. Run Time [ 02:16:31 ]. (Confirmation Trial
                                                Day 11 -- Morning Session.). (admin). (Entered:




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 455 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 455 of 1639
                                                                           0455


 01/06/2021                                     01/06/2021)

                            2766
                                                Letter from Jason Dean (JeannieAndresen)
 01/06/2021                 (6 pgs)             (Entered: 01/06/2021)

                            2767                Affidavit Re: Supplemental Declaration of Helen
                                                Mason of Riveron Consulting LLC Pursuant to the
                            (23 pgs)            Order Authorizing the Retention and
                                                Compensation of Certain Professionals Utilized in
                                                the Ordinary Course of Business (Filed By Epiq
                                                Corporate Restructuring LLC ).(Related document
                                                (s):2664 Declaration) (Garabato, Sid) (Entered:
 01/06/2021                                     01/06/2021)

                            2768                Stipulation By Chesapeake Energy Corporation
                                                and Kimmeridge Powder Minerals, LLC. Does this
                            (8 pgs)             document include an agreed order or otherwise
                                                request that the judge sign a document? Yes. (Filed
                                                By Chesapeake Energy Corporation ). (Cavenaugh,
 01/06/2021                                     Matthew) (Entered: 01/06/2021)

                            2769                Notice of Filing of Official Transcript as to 2747
                                                Transcript, 2754 Transcript. Parties notified
                            (1 pg)              (Related document(s):2747 Transcript, 2754
 01/06/2021                                     Transcript) (Olin) (Entered: 01/06/2021)

                            2770                Courtroom Minutes. Time Hearing Held: 9:00 AM.
                                                Appearances: SEE ATTACHED. Trial Day
                            (4 pgs)             11.Witness: David Baggett. The testimony of Mr.
                                                Baggett was concluded. Trial will resume
                                                1/8/2021 at 08:00 AM by telephone and video
 01/06/2021                                     conference. (VrianaPortillo) (Entered: 01/06/2021)

                            2771                    PDF with attached Audio File. Court Date &
                                                Time [ 1/6/2021 1:00:17 PM ]. File Size [ 45122
                            (1 pg)              KB ]. Run Time [ 01:34:00 ]. (Confirmation Trial
                                                Day 11 -- First Afternoon Session.). (admin).
 01/06/2021                                     (Entered: 01/06/2021)

                            2772                    PDF with attached Audio File. Court Date &
                                                Time [ 1/6/2021 3:59:03 PM ]. File Size [ 17086
                            (1 pg)              KB ]. Run Time [ 00:35:36 ]. (Confirmation Trial
                                                Day 11 -- Second Afternoon session.). (admin).
 01/06/2021                                     (Entered: 01/06/2021)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 456 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 456 of 1639
                                                                           0456


                            2773                Transcript RE: Confirmation Hearing Day Ten --
                                                Afternoon Session (Via Zoom) held on January 5,
                            (127 pgs)           2021 before Judge David R. Jones. Transcript is
                                                available for viewing in the Clerk's Office. Filed by
                                                Transcript access will be restricted through
 01/06/2021                                     04/6/2021. (mhen) (Entered: 01/06/2021)

                            2774                BNC Certificate of Mailing. (Related document
                                                (s):2710 Notice of Filing of Official Transcript
                            (11 pgs)            (Form)) No. of Notices: 216. Notice Date
 01/06/2021                                     01/06/2021. (Admin.) (Entered: 01/07/2021)

                            2775                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by Justin Rawlins. This is to order a
                            (1 pg)              transcript of Hearing on January 6, 2021 before
                                                Judge David R. Jones. Court Reporter/Transcriber:
                                                Access Transcripts (Filed By MUFG Union Bank,
                                                N.A. ). (Rawlins, Justin) Copy request was
                                                electronically forwarded to Access Transcripts on
                                                1-8-2021. Estimated completion date: 1-9-2021.
                                                Modified on 1/8/2021 (MelissaMorgan). (Entered:
 01/07/2021                                     01/07/2021)

                            2776
                                                Letter from Gaynell Spigner (mmap) (Entered:
 01/07/2021                 (3 pgs)             01/07/2021)

                            2777
                                                Letter from Gaynell Spigner (mmap) (Entered:
 01/07/2021                 (5 pgs)             01/07/2021)

                            2778                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by Jacqueline Kindler. This is to order a
                            (1 pg)              transcript of 1/6/2021, hearing before Judge David
                                                R. Jones. Court Reporter/Transcriber: Judicial
                                                Transcribers of Texas. (mmap) Copy request was
                                                electronically forwarded to Access Transcripts on
                                                1-8-2021. Estimated completion date: 1-9-2021.
                                                Modified on 1/8/2021 (MelissaMorgan). (Entered:
 01/07/2021                                     01/07/2021)

                            2779                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by Aparicion Minerals, LP et. al. / Ross
                            (1 pg)              Spence. This is to order a transcript of
                                                Confirmation Hearing 12/15/20 before Judge
                                                David R. Jones. Court Reporter/Transcriber:
                                                Access Transcripts (Filed By Aparicion Minerals,




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 457 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 457 of 1639
                                                                           0457


                                                LP et al ). (Spence, William) Copy request was
                                                electronically forwarded to Access Transcripts on
                                                1-8-2021. Estimated completion date: 1-9-2021.
                                                Modified on 1/8/2021 (MelissaMorgan). (Entered:
 01/07/2021                                     01/07/2021)

                            2780                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by Aparicion Minerals, LP et. al. / Ross
                            (1 pg)              Spence. This is to order a transcript of
                                                Confirmation Hearing 12/17/20 before Judge
                                                David R. Jones. Court Reporter/Transcriber:
                                                Access Transcripts (Filed By Aparicion Minerals,
                                                LP et al ). (Spence, William) Copy request was
                                                electronically forwarded to Judicial Transcribers of
                                                Texas on 1-8-2021. Estimated completion date: 1-
                                                9-2021. Transcripts on 1- Modified on 1/8/2021
 01/07/2021                                     (MelissaMorgan). (Entered: 01/07/2021)

                            2781                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by John E. Mitchell. This is to order a
                            (1 pg)              transcript of Hearing January 6, 2021 before Judge
                                                David R. Jones. Court Reporter/Transcriber:
                                                Access Transcripts (Filed By Energy Transfer Fuel,
                                                LP ). (Mitchell, John) Electronically forwarded to
                                                Access Transcripts on 1-8-2021. Estimated
                                                completion date: 1-9-2021. Modified on 1/8/2021
 01/07/2021                                     (MelissaMorgan). (Entered: 01/07/2021)

                            2782                Notice of Third Amended Plan Supplement for the
                                                Fourth Amended Joint Chapter 11 Plan of
                            (8 pgs)             Reorganization of Chesapeake Energy Corporation
                                                and Its Debtor Affiliates. Filed by Chesapeake
                                                Energy Corporation (Cavenaugh, Matthew)
 01/07/2021                                     (Entered: 01/07/2021)

                            2783                Statement Sixth Monthly Fee Statement of Brown
                                                Rudnick LLP for Allowance of Compensation for
                            (103 pgs)           Services Rendered and for Reimbursement of
                                                Expenses as Co-Counsel for the Official Committee
                                                of Unsecured Creditors for the Period from
                                                December 1, 2020 through December 31, 2020
                                                (Filed By Official Committee Of Unsecured
 01/07/2021                                     Creditors ). (Harrison, Julie) (Entered: 01/07/2021)

                            2784                Notice of Filing of Official Transcript as to 2754
                                                Transcript, 2773 Transcript. Parties notified
                            (1 pg)              (Related document(s):2754 Transcript, 2773




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 458 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 458 of 1639
                                                                           0458


 01/07/2021                                     Transcript) (hcar) (Entered: 01/07/2021)

                            2785                Motion for Entry of an Order (I) Authorizing and
                                                Approving the Consent Decree and Environmental
                            (50 pgs; 2 docs)    Settlement Agreement By and Among the Debtors
                                                and The United States on Behalf of the
                                                Environmental Protection Agency, and (II)
                                                Granting Related Relief Filed by Debtor
                                                Chesapeake Energy Corporation (Attachments: # 1
                                                Proposed Order) (Cavenaugh, Matthew) (Entered:
 01/07/2021                                     01/07/2021)

                            2786                Transcript RE: Confirmation Hearing - Day 11
                                                held on 1/6/21 before Judge David R. Jones.
                            (197 pgs)           Transcript is available for viewing in the Clerk's
                                                Office. Filed by Transcript access will be restricted
                                                through 04/7/2021. (AccessTranscripts) (Entered:
 01/07/2021                                     01/07/2021)

                            2787                Notice of Submission of the Official Committee of
                                                Unsecured Creditors' Deposition Designations and
                            (7 pgs; 3 docs)     Debtors' Counter-Designations. Filed by Official
                                                Committee Of Unsecured Creditors (Attachments:
                                                # 1 Exhibit A # 2 Exhibit B) (Harrison, Julie)
 01/07/2021                                     (Entered: 01/07/2021)

                            2788                BNC Certificate of Mailing. (Related document
                                                (s):2736 Order on Motion To Reconsider) No. of
                            (12 pgs)            Notices: 216. Notice Date 01/07/2021. (Admin.)
 01/07/2021                                     (Entered: 01/07/2021)

                            2789                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by Matthew D. Cavenaugh. This is to order
                            (1 pg)              a transcript of 01/08/2021 before Judge David R.
                                                Jones. Court Reporter/Transcriber: Judicial
                                                Transcribers of Texas (Filed By Chesapeake
                                                Energy Corporation ). (Cavenaugh, Matthew)
                                                Electronically forwarded to Judicial Transcribers of
                                                Texas on 1-8-2021. Estimated completion date: 1-
                                                9-2021. Modified on 1/8/2021 (MelissaMorgan).
 01/08/2021                                     (Entered: 01/08/2021)

                            2790                Statement of David MacGreevey (Filed By Official
                                                Committee Of Unsecured Creditors ).
                            (6 pgs; 4 docs)     (Attachments: # 1 Exhibit A # 2 Exhibit B # 3
 01/08/2021                                     Exhibit C) (Harrison, Julie) (Entered: 01/08/2021)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                        5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 459 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 459 of 1639
                                                                           0459


                            2791                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by M. Quejada. This is to order a transcript
                            (1 pg)              of January 8, 2021 Hearing before Judge David R.
                                                Jones. Court Reporter/Transcriber: Judicial
                                                Transcribers of Texas (Filed By MUFG Union
                                                Bank, N.A. ). (Quejada, Maegan) Copy request was
                                                electronically forwarded to Judicial Transcribers of
                                                Texas on 1-8-2021. Estimated completion date: 1-
                                                9-2021. Modified on 1/8/2021 (MelissaMorgan).
 01/08/2021                                     (Entered: 01/08/2021)

                            2792                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by Julie Harrison. This is to order a
                            (1 pg)              transcript of the January 8, 2021 hearing before
                                                Judge David R. Jones. Court Reporter/Transcriber:
                                                Judicial Transcribers of Texas (Filed By Official
                                                Committee Of Unsecured Creditors ). (Harrison,
                                                Julie) Copy request was electronically forwarded to
                                                Judicial Transcribers of Texas on 1-8-2021.
                                                Estimated completion date: 1-9-2021. Modified on
 01/08/2021                                     1/8/2021 (MelissaMorgan). (Entered: 01/08/2021)

                            2793                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by Justin Rawlins. This is to order a
                            (1 pg)              transcript of Hearing on January 8, 2021 before
                                                Judge David R. Jones. Court Reporter/Transcriber:
                                                Judicial Transcribers of Texas (Filed By MUFG
                                                Union Bank, N.A. ). (Rawlins, Justin) Copy
                                                request was electronically forwarded to Judicial
                                                Transcribers of Texas on 1-8-2021. Estimated
                                                completion date: 1-9-2021. Modified on 1/8/2021
 01/08/2021                                     (MelissaMorgan). (Entered: 01/08/2021)

                            2794                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by Marty L. Brimmage, Jr.. This is to order
                            (1 pg)              a transcript of Hearing on January 8, 2021 before
                                                Judge David R. Jones. Court Reporter/Transcriber:
                                                Judicial Transcribers of Texas (Filed By Franklin
                                                Advisers, Inc., as Investment Manager on Behalf of
                                                Certain Funds and Accounts ). (Brimmage, Marty)
                                                Copy request was electronically forwarded to
                                                Judicial Transcribers of Texas on 1-8-2021.
                                                Estimated completion date: 1-9-2021. Modified on
 01/08/2021                                     1/8/2021 (MelissaMorgan). (Entered: 01/08/2021)

                            2795
                                                Notice of Filing of Official Transcript as to 2786
                                                Transcript. Parties notified (Related document




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 460 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 460 of 1639
                                                                           0460


 01/08/2021                 (1 pg)              (s):2786 Transcript) (dhan) (Entered: 01/08/2021)

                            2796                Stipulation By Official Committee Of Unsecured
                                                Creditors and The Debtors. Does this document
                            (9 pgs)             include an agreed order or otherwise request that
                                                the judge sign a document? Yes. (Filed By Official
                                                Committee Of Unsecured Creditors ). (Harrison,
 01/08/2021                                     Julie) (Entered: 01/08/2021)

                            2797                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by John E. Mitchell. This is to order a
                            (1 pg)              transcript of Hearing - 1/8/2021 before Judge
                                                David R. Jones. Court Reporter/Transcriber:
                                                Access Transcripts (Filed By Energy Transfer Fuel,
                                                LP ). (Mitchell, John) Judicial Transcribers of
                                                Texas on 1-8-2021. Estimated completion date: 1-
                                                9-2021.Modified on 1/8/2021 (MelissaMorgan).
 01/08/2021                                     (Entered: 01/08/2021)

                            2798                Receipt of Sealed Document retained in Clerk's
 01/08/2021                                     office. (than) (Entered: 01/08/2021)

                            2799                   PDF with attached Audio File. Court Date &
                                                Time [ 1/8/2021 7:45:01 AM ]. File Size [ 107606
                            (1 pg)              KB ]. Run Time [ 03:44:11 ]. (Trial Day 12 -
 01/08/2021                                     morning session). (admin). (Entered: 01/08/2021)

                            2800                Stipulation By Chesapeake Energy Corporation
                                                and CNOOC Energy U.S.A. LLC f/k/a OOGC
                            (5 pgs)             America LLC, Jamestown Resources, L.L.C.,
                                                Larchmont Resources, L.L.C., Petty Business
                                                Enterprises, LP. Does this document include an
                                                agreed order or otherwise request that the judge
                                                sign a document? Yes. (Filed By Chesapeake
                                                Energy Corporation ).(Related document(s):1561
                                                Stipulation, 1632 Generic Order) (Schwarzman,
 01/08/2021                                     Alexandra) (Entered: 01/08/2021)

                            2801                Joint Stipulation and Agreed Order between the
                                                Debtors and the Official Committee of Unsecured
                            (9 pgs)             Creditors' Regarding Admission of Exhibits Signed
                                                on 1/8/2021 (Related document(s):2796
 01/08/2021                                     Stipulation) (emiller) (Entered: 01/08/2021)

                            2802
                                                Courtroom Minutes. Time Hearing Held: 8:00 am.
                                                Appearances: SEE ATTACHED. (Related




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 461 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 461 of 1639
                                                                           0461


                            (4 pgs)             document(s):2770 Courtroom Minutes) Trial Day
                                                12 Witness: Dr. Israel Shaked. The testimony of
                                                Dr. Shaked was concluded. Closing to begin on
                                                Wednesday. Trial will continue 1/13/2021 at
                                                09:00 AM by telephone and video conference.
 01/08/2021                                     (emiller) (Entered: 01/08/2021)

                            2803                    PDF with attached Audio File. Court Date &
                                                Time [ 1/8/2021 1:58:48 PM ]. File Size [ 123768
                            (1 pg)              KB ]. Run Time [ 04:17:51 ]. (Trial Day 12 -
 01/08/2021                                     afternoon session). (admin). (Entered: 01/08/2021)

                            2804                BNC Certificate of Mailing. (Related document
                                                (s):2769 Notice of Filing of Official Transcript
                            (11 pgs)            (Form)) No. of Notices: 216. Notice Date
 01/08/2021                                     01/08/2021. (Admin.) (Entered: 01/08/2021)

                            2805                BNC Certificate of Mailing. (Related document
                                                (s):2763 Generic Order) No. of Notices: 216.
                            (17 pgs)            Notice Date 01/08/2021. (Admin.) (Entered:
 01/08/2021                                     01/08/2021)

                            2813
                                                Notice of Change of Address Filed by David W
 01/08/2021                 (2 pgs)             Chinn (JesusGuajardo) (Entered: 01/11/2021)

                            2806                Objection (related document(s):2646 Generic
                                                Motion). Filed by United States of America
 01/09/2021                 (7 pgs)             (Kincheloe, Richard) (Entered: 01/09/2021)

                            2807                Stipulation By Chesapeake Energy Corporation
                                                and Wyoming Royalty Owners. Does this
                            (9 pgs)             document include an agreed order or otherwise
                                                request that the judge sign a document? Yes. (Filed
                                                By Chesapeake Energy Corporation ). (Cavenaugh,
 01/09/2021                                     Matthew) (Entered: 01/09/2021)

                            2808                BNC Certificate of Mailing. (Related document
                                                (s):2784 Notice of Filing of Official Transcript
                            (11 pgs)            (Form)) No. of Notices: 216. Notice Date
 01/09/2021                                     01/09/2021. (Admin.) (Entered: 01/09/2021)

                            2816
                                                Email to the Court from Mr. Jason Dean. (aalo)
 01/09/2021                 (5 pgs)             (Entered: 01/11/2021)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 462 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 462 of 1639
                                                                           0462


                            2809                BNC Certificate of Mailing. (Related document
                                                (s):2795 Notice of Filing of Official Transcript
                            (11 pgs)            (Form)) No. of Notices: 216. Notice Date
 01/10/2021                                     01/10/2021. (Admin.) (Entered: 01/10/2021)

                            2810                BNC Certificate of Mailing. (Related document
                                                (s):2801 Generic Order) No. of Notices: 216.
                            (19 pgs)            Notice Date 01/10/2021. (Admin.) (Entered:
 01/10/2021                                     01/10/2021)

                            2811                Response Aparicion Minerals et al Royalty
                                                Owners' Joinder to the United States Objection to
                            (3 pgs)             Debtors' Motion for Entry of an Order Approving
                                                (I) the Omnibus Claims Objection Procedures, (II)
                                                the Form of Notice of Objection, (III) the
                                                Satisfaction Procedures, and (IV) the Form of
                                                Notice of Satisfaction (related document(s):2646
                                                Generic Motion). Filed by Aparicion Minerals, LP
 01/11/2021                                     et al (Spence, William) (Entered: 01/11/2021)

                            2812                Withdraw Document (Filed By SWN Production
                                                Company, LLC ).(Related document(s):2099
                            (2 pgs)             Objection to Confirmation of the Plan) (Cohen,
 01/11/2021                                     Jason) (Entered: 01/11/2021)

                            2814
                                                Letter from John Brydels Jr (mmap) (Entered:
 01/11/2021                 (3 pgs)             01/11/2021)

                            2815                Transcript RE: Confirmation Hearing Day Twelve
                                                (Via Zoom) held on January 8, 2021 before Judge
                            (337 pgs)           David R. Jones. Transcript is available for viewing
                                                in the Clerk's Office. Filed by Transcript access
                                                will be restricted through 04/12/2021. (mhen)
 01/11/2021                                     (Entered: 01/11/2021)

                            2817                Order Pursuant to 11 U.S.C. §§ 105(a), 363(b),
                                                AND 365(a) AND FED. R. BANKR. P. 6006
                            (3 pgs)             Authorizing (I) Entry Into and Assumption of
                                                Amended and Restated Gas Gathering and
                                                Processing Contract with Jackalope Gas Gathering
                                                Services, L.L.C., and (II) Payment of all
                                                Obligations Thereunder (Related Doc # 2621)
                                                Signed on 1/11/2021. (VrianaPortillo) (Entered:
 01/11/2021                                     01/11/2021)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 463 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 463 of 1639
                                                                           0463


                            2818                Stipulation and Agreed Order Regarding the
                                                Kimmeridge Confirmation Objection and Proofs of
                            (8 pgs)             Claim No. 11288, 11289, 13347, 13348, and 13349
                                                Signed on 1/11/2021 (VrianaPortillo) (Entered:
 01/11/2021                                     01/11/2021)

                            2819                Stipulation and Agreed Order Regarding the
                                                Wyoming Royalty Owners' Confirmation
                            (9 pgs)             Objection and Proofs of Claim No. 1560, 1561,
                                                1562, 1829, 1951, 1952, 1953, 1954, AND 1955
                                                Signed on 1/11/2021 (Related document(s):2807
 01/11/2021                                     Stipulation) (VrianaPortillo) (Entered: 01/11/2021)

                            2820                Supplemental Objection to Confirmation of Plan
                                                Filed by Aparicion Minerals, LP et al. (Related
                            (253 pgs; 6 docs)   document(s):1599 Amended Chapter 11 Plan, 2155
                                                Objection to Confirmation of the Plan, 2630
                                                Amended Chapter 11 Plan) (Attachments: # 1
                                                Exhibit A # 2 Exhibit B # 3 Exhibit C # 4 Exhibit
                                                D # 5 Exhibit E)(Spence, William) (Entered:
 01/11/2021                                     01/11/2021)

                            2821                Notice of Filing of Official Committee of
                                                Unsecured Creditors' Trial Demonstratives. Filed
                            (151 pgs; 9 docs)   by Official Committee Of Unsecured Creditors
                                                (Attachments: # 1 Exhibit A: Ebanks
                                                Demonstratives # 2 Exhibit B: Brown
                                                Demonstratives # 3 Complaint C: MacGreevey
                                                Demonstratives # 4 Exhibit D: Baggett Solvency
                                                Demonstratives # 5 Exhibit E: Baggett Valuation
                                                Demonstratives # 6 Exhibit F: Shaked
                                                Demonstratives # 7 Exhibit G: Lawler Cross
                                                Demonstratives # 8 Exhibit H: Miller Cross
                                                Demonstratives) (Harrison, Julie) (Entered:
 01/12/2021                                     01/12/2021)

                            2822
                                                Letter from John Dough (mmap) (Entered:
 01/12/2021                 (4 pgs)             01/12/2021)

                            2823                Notice of Filing of Official Transcript as to 2815
                                                Transcript. Parties notified (Related document
 01/12/2021                 (1 pg)              (s):2815 Transcript) (Olin) (Entered: 01/12/2021)

                                                Certificate of Telephone Notice. By agreement of
                                                the parties, the hearing on the motion for relief
                                                from stay set for 1/12/21 at 1PM has been




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 464 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 464 of 1639
                                                                           0464


                                                adjourned. Movant to notice all interested parties
                                                and file a certificate of service with the court
                                                (Related document(s):1248 Motion for Relief From
                                                Stay) Hearing rescheduled for 2/1/2021 at 02:00
                                                PM by telephone and video conference. (aalo)
 01/12/2021                                     (Entered: 01/12/2021)

                            2824                Notice of Reset Hearing on Motion of John H.
                                                Bedsole and Bedsole Land Company for Relief
                            (4 pgs)             from the Automatic Stay. (Related document
                                                (s):1248 Motion for Relief From Stay) Filed by
                                                Chesapeake Energy Corporation (Cavenaugh,
 01/12/2021                                     Matthew) (Entered: 01/12/2021)

                            2825                Receipt of Sealed Document retained in Clerk's
 01/12/2021                                     office. (than) (Entered: 01/12/2021)

                            2826                Notice of Filing of Debtors' Trial Demonstratives.
                                                (Related document(s):1544 Sealed Document,
                            (78 pgs)            1546 Sealed Document, 2630 Amended Chapter 11
                                                Plan) Filed by Chesapeake Energy Corporation
 01/12/2021                                     (Cavenaugh, Matthew) (Entered: 01/12/2021)

                            2827                Supplemental Objection and Joinder by
                                                Delasandros to Fourth Amended Plan Docs. 2140
                            (8 pgs)             & 2630. Filed by Stephanie Delasandro (Warman,
 01/12/2021                                     Lynnette) (Entered: 01/12/2021)

                            2828                Objection Joinder in United States Objection (Doc.
                                                2806) to Omnibus Claim Procedure Motion (Doc.
                            (2 pgs)             2646) (related document(s):2646 Generic Motion).
                                                Filed by Stephanie Delasandro (Warman, Lynnette)
 01/12/2021                                     (Entered: 01/12/2021)

                            2829                Statement Fourth Amended Verified Statement of
                                                David Polk & Wardwell LLP and Vinson & Elkins
                            (12 pgs)            LLP Pursuant to Federal Rule of Bankruptcy
                                                Procedure 2019 (Filed By Ad Hoc Group of FLLO
                                                Term Loan Lenders ). (Morgan, John) (Entered:
 01/12/2021                                     01/12/2021)

                            2830                Response (Filed By PMBG Parties ).(Related
                                                document(s):2646 Generic Motion, 2806
 01/12/2021                 (3 pgs)             Objection) (Heard, Mary) (Entered: 01/12/2021)

                            2831
                                                Notice of Filing Franklin Advisers, Inc.'s Trial




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 465 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 465 of 1639
                                                                           0465


                                                Demonstratives. (Related document(s):1544 Sealed
                            (8 pgs)             Document, 1546 Sealed Document, 2630 Amended
                                                Chapter 11 Plan) Filed by Franklin Advisers, Inc.,
                                                as Investment Manager on Behalf of Certain Funds
                                                and Accounts (Brimmage, Marty) (Entered:
 01/12/2021                                     01/12/2021)

                            2832                Statement Fifth Monthly Statement of AlixPartners,
                                                LLP (Filed By Official Committee Of Unsecured
 01/12/2021                 (131 pgs)           Creditors ). (Harrison, Julie) (Entered: 01/12/2021)

                            2833                Fifth Amended Chapter 11 Plan Filed by
                                                Chesapeake Energy Corporation. (Attachments: # 1
                            (128 pgs; 2 docs)   Redline)(Cavenaugh, Matthew) (Entered:
 01/12/2021                                     01/12/2021)

                            2834                Proposed Order RE: Order Confirming Fifth
                                                Amended Joint Chapter 11 Plan of Reorganization
                            (347 pgs; 2 docs)   of Chesapeake Energy Corporation and its Debtor
                                                Affiliates (Filed By Chesapeake Energy
                                                Corporation ).(Related document(s):2833 Amended
                                                Chapter 11 Plan) (Attachments: # 1 Redline)
 01/12/2021                                     (Cavenaugh, Matthew) (Entered: 01/12/2021)

                            2945
                                                Letter from Richard Maszota (gkel) (Entered:
 01/12/2021                 (2 pgs)             01/20/2021)

                            2835                Supplemental Objection to Confirmation of Plan
                                                Filed by EJS Investment Holdings, LLC. (Related
                            (46 pgs; 2 docs)    document(s):2108 Objection to Confirmation of the
                                                Plan, 2833 Amended Chapter 11 Plan)
                                                (Attachments: # 1 Exhibit A)(Towber, Preston)
 01/13/2021                                     (Entered: 01/13/2021)

                            2836                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by Matthew D. Cavenaugh. This is to order
                            (1 pg)              a transcript of 01/13/2021 before Judge David R.
                                                Jones. Court Reporter/Transcriber: Access
                                                Transcripts (Filed By Chesapeake Energy
                                                Corporation ). (Cavenaugh, Matthew)
                                                Electronically forwarded to Access Transcripts on
                                                1-13-2021. Estimated completion date: 1-14-2021.
                                                Modified on 1/13/2021 (MelissaMorgan). (Entered:
 01/13/2021                                     01/13/2021)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 466 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 466 of 1639
                                                                           0466


                            2837                Affidavit Re: Stipulation By Chesapeake Energy
                                                Corporation and CNOOC Energy U.S.A. LLC f/k/a
                            (21 pgs)            OOGC America LLC, Jamestown Resources,
                                                L.L.C., Larchmont Resources, L.L.C., Petty
                                                Business Enterprises, LP (Filed By Epiq Corporate
                                                Restructuring LLC ).(Related document(s):2800
 01/13/2021                                     Stipulation) (Garabato, Sid) (Entered: 01/13/2021)

                            2838                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by Justin Rawlins. This is to order a
                            (1 pg)              transcript of Hearing on January 13, 2021 before
                                                Judge David R. Jones. Court Reporter/Transcriber:
                                                Access Transcripts (Filed By MUFG Union Bank,
                                                N.A. ). (Rawlins, Justin)Copy request was
                                                electronically forwarded to Access Transcripts on
                                                1-13-20221. Estimated completion date: 1-14-
                                                2021. Modified on 1/13/2021 (MelissaMorgan).
 01/13/2021                                     (Entered: 01/13/2021)

                            2839                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by Julie Harrison. This is to order a
                            (1 pg)              transcript of the January 13, 2021 hearing before
                                                Judge David R. Jones. Court Reporter/Transcriber:
                                                Access Transcripts (Filed By Official Committee
                                                Of Unsecured Creditors ). (Harrison, Julie)Copy
                                                request was electronically forwarded to Access
                                                Transcripts on 1-13-2021. Estimated completion
                                                date: 1-14-2021. Modified on 1/13/2021
 01/13/2021                                     (MelissaMorgan). (Entered: 01/13/2021)

                            2840                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by John E. Mitchell. This is to order a
                            (1 pg)              transcript of Hearing - 1/13/2021 before Judge
                                                David R. Jones. Court Reporter/Transcriber:
                                                Access Transcripts (Filed By Energy Transfer Fuel,
                                                LP ). (Mitchell, John) Copy request was
                                                electronically forwarded to Access Transcripts on
                                                1-13-2021. Estimated completion date: 1-14-2021.
                                                Modified on 1/13/2021 (MelissaMorgan). (Entered:
 01/13/2021                                     01/13/2021)

                            2841
                                                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by Marty L. Brimmage, Jr.. This is to order
                            (1 pg)
                                                a transcript of January 13, 2021 Hearing before
                                                Judge David R. Jones. Court Reporter/Transcriber:
                                                Access Transcripts (Filed By Franklin Advisers,
                                                Inc., as Investment Manager on Behalf of Certain




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 467 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 467 of 1639
                                                                           0467


                                                Funds and Accounts ). (Brimmage, Marty) Copy
                                                request was electronically forwarded to Access
                                                Transcripts on 1-13-2021. Estimated completion
                                                date: 1-14-2021. Modified on 1/13/2021
 01/13/2021                                     (MelissaMorgan). (Entered: 01/13/2021)

                            2842                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by M. Quejada. This is to order a transcript
                            (1 pg)              of January 13, 2021 Hearing before Judge David R.
                                                Jones. Court Reporter/Transcriber: Access
                                                Transcripts (Filed By MUFG Union Bank, N.A. ).
                                                (Quejada, Maegan) Copy request was
                                                electronically forwarded to Access Transcripts on
                                                1-13-2021. Estimated completion date: 1-14-2021.
                                                Modified on 1/13/2021 (MelissaMorgan). (Entered:
 01/13/2021                                     01/13/2021)

                            2843                Notice of Third Monthly Fee Statement of Ernst &
                                                Young LLP for Compensation and Reimbursement
                            (30 pgs)            of Expenses for the Period from December 1, 2020
                                                Through December 31, 2020. Filed by Chesapeake
                                                Energy Corporation (Cavenaugh, Matthew)
 01/13/2021                                     (Entered: 01/13/2021)

                            2844                Certificate of No Objection with Respect to the
                                                First Interim Application of
                            (5 pgs; 2 docs)     PricewaterhouseCoopers LLP for Compensation
                                                and Reimbursement of Expenses as Audit Services
                                                and Tax Consulting Services Provider for the
                                                Debtors for the Period from June 28, 2020
                                                Through September 30, 2020 (Filed By
                                                Chesapeake Energy Corporation ).(Related
                                                document(s):2561 Application for Compensation)
                                                (Attachments: # 1 Proposed Order) (Cavenaugh,
 01/13/2021                                     Matthew) (Entered: 01/13/2021)

                            2845                Proposed Order RE: Order Confirming Fifth
                                                Amended Joint Chapter 11 Plan of Reorganization
                            (359 pgs; 2 docs)   of Chesapeake Energy Corporation and its Debtor
                                                Affiliates (Filed By Chesapeake Energy
                                                Corporation ).(Related document(s):2833 Amended
                                                Chapter 11 Plan) (Attachments: # 1 Redline)
 01/13/2021                                     (Cavenaugh, Matthew) (Entered: 01/13/2021)

                            2846
                                                   PDF with attached Audio File. Court Date &
                            (1 pg)              Time [ 1/13/2021 9:00:11 AM ]. File Size [ 99570




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 468 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 468 of 1639
                                                                           0468


                                                KB ]. Run Time [ 03:27:26 ]. (Trial Day 13 --
 01/13/2021                                     Morning Session.). (admin). (Entered: 01/13/2021)

                            2847                Proposed Order RE: Order Confirming Fifth
                                                Amended Joint Chapter 11 Plan of Reorganization
                            (359 pgs; 2 docs)   of Chesapeake Energy Corporation and its Debtor
                                                Affiliates (Filed By Chesapeake Energy
                                                Corporation ).(Related document(s):2833 Amended
                                                Chapter 11 Plan) (Attachments: # 1 Redline)
 01/13/2021                                     (Cavenaugh, Matthew) (Entered: 01/13/2021)

                            2848                Withdrawal of Claim: 68 filed by Epiq Corporate
                                                Restructuring, LLC on behalf of HILBERLING
                            (1 pg)              PACKER SERVICES INC (Suarez, Hugo) (Entered:
 01/13/2021                                     01/13/2021)

                            2849                  Withdrawal of Claim: 114 filed by Epiq
                                                  Corporate Restructuring, LLC on behalf of
                            (1 pg)                MUSTANG MACHINERY COMPANY LLC
 01/13/2021                                       (Suarez, Hugo) (Entered: 01/13/2021)

                            2850                  Withdrawal of Claim: 219 filed by Epiq
                                                  Corporate Restructuring, LLC on behalf of RKK
                            (1 pg)                PRODUCTION COMPANY (Suarez, Hugo)
 01/13/2021                                       (Entered: 01/13/2021)

                            2851                  Withdrawal of Claim: 441 filed by Epiq
                                                  Corporate Restructuring, LLC on behalf of
                            (1 pg)                DAVIS GRAHAM AND STUBBS LLP (Suarez,
 01/13/2021                                       Hugo) (Entered: 01/13/2021)

                            2852                  Withdrawal of Claim: 457 filed by Epiq
                                                  Corporate Restructuring, LLC on behalf of
                            (1 pg)                CREST RESOURCES INC (Suarez, Hugo)
 01/13/2021                                       (Entered: 01/13/2021)

                            2853                  Withdrawal of Claim: 458 filed by Epiq
                                                  Corporate Restructuring, LLC on behalf of
                            (1 pg)                CREST RESOURCES INC (Suarez, Hugo)
 01/13/2021                                       (Entered: 01/13/2021)

                            2854                  Withdrawal of Claim: 10005 filed by Epiq
                                                  Corporate Restructuring, LLC on behalf of H &
                            (1 pg)                E EQUIPMENT SERVICES INC (Suarez, Hugo)
 01/13/2021                                       (Entered: 01/13/2021)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 469 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 469 of 1639
                                                                           0469


                            2855                  Withdrawal of Claim: 10008 filed by Epiq
                                                  Corporate Restructuring, LLC on behalf of
                            (1 pg)                HOLCOMBE ENERGY RESOURCE LLC
 01/13/2021                                       (Suarez, Hugo) (Entered: 01/13/2021)

                            2856                  Withdrawal of Claim: 10011 filed by Epiq
                                                  Corporate Restructuring, LLC on behalf of
                            (1 pg)                LUGREG TRUCKING LLC (Suarez, Hugo)
 01/13/2021                                       (Entered: 01/13/2021)

                            2857                  Withdrawal of Claim: 10016 filed by Epiq
                                                  Corporate Restructuring, LLC on behalf of
                            (1 pg)                EAGLE AUTOMATION (Suarez, Hugo)
 01/13/2021                                       (Entered: 01/13/2021)

                            2858                  Withdrawal of Claim: 10023 filed by Epiq
                                                  Corporate Restructuring, LLC on behalf of
                            (1 pg)                CLEMENTS FLUIDS SOUTH TEXAS LTD
 01/13/2021                                       (Suarez, Hugo) (Entered: 01/13/2021)

                            2859                  Withdrawal of Claim: 10064 filed by Epiq
                                                  Corporate Restructuring, LLC on behalf of
                            (1 pg)                FECHNER PUMP & SUPPLY INC (Suarez,
 01/13/2021                                       Hugo) (Entered: 01/13/2021)

                            2860                  Withdrawal of Claim: 10101 filed by Epiq
                                                  Corporate Restructuring, LLC on behalf of SKY-
                            (1 pg)                LIN SERVICES LLC (Suarez, Hugo) (Entered:
 01/13/2021                                       01/13/2021)

                            2861                  Withdrawal of Claim: Multiple Claims- see
                                                  attached Exhibit- filed by Epiq Corporate
                            (2 pgs)               Restructuring, LLC on behalf of SKY-LIN
                                                  SERVICES LLC (Suarez, Hugo) (Entered:
 01/13/2021                                       01/13/2021)

                            2862                  Withdrawal of Claim: 10151 filed by Epiq
                                                  Corporate Restructuring, LLC on behalf of
                            (1 pg)                BESTEBIT LLC (Suarez, Hugo) (Entered:
 01/13/2021                                       01/13/2021)

                            2863                  Withdrawal of Claim: 10155 filed by Epiq
                                                  Corporate Restructuring, LLC on behalf of
                            (1 pg)                NABORS DRILLING TECHNOLOGIES USA
 01/13/2021                                       INC (Suarez, Hugo) (Entered: 01/13/2021)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 470 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 470 of 1639
                                                                           0470


                            2864                  Withdrawal of Claim: 10156 filed by Epiq
                                                  Corporate Restructuring, LLC on behalf of
                            (1 pg)                CANRIG DRILLING TECHNOLOGY LTD
 01/13/2021                                       (Suarez, Hugo) (Entered: 01/13/2021)

                            2865                  Withdrawal of Claim: 10177 filed by Epiq
                                                  Corporate Restructuring, LLC on behalf of
                            (1 pg)                TESSCO TECHNOLOGIES INC (Suarez, Hugo)
 01/13/2021                                       (Entered: 01/13/2021)

                            2866                  Withdrawal of Claim: 10218 filed by Epiq
                                                  Corporate Restructuring, LLC on behalf of
                            (1 pg)                WORKOVER SOLUTIONS INC (Suarez, Hugo)
 01/13/2021                                       (Entered: 01/13/2021)

                            2867                  Withdrawal of Claim: 10252 filed by Epiq
                                                  Corporate Restructuring, LLC on behalf of
                            (1 pg)                CARETTA ENTERPRISES INC (Suarez, Hugo)
 01/13/2021                                       (Entered: 01/13/2021)

                            2868                  Withdrawal of Claim: 10279 filed by Epiq
                                                  Corporate Restructuring, LLC on behalf of
                            (1 pg)                CARETTA ENTERPRISES INC (Suarez, Hugo)
 01/13/2021                                       (Entered: 01/13/2021)

                            2869                  Withdrawal of Claim: 10365 filed by Epiq
                                                  Corporate Restructuring, LLC on behalf of
                            (1 pg)                FLOW CONTROL EQUIPMENT LLC (Suarez,
 01/13/2021                                       Hugo) (Entered: 01/13/2021)

                            2870                  Withdrawal of Claim: 10876 filed by Epiq
                                                  Corporate Restructuring, LLC on behalf of R&D
 01/13/2021                 (1 pg)                LLC (Suarez, Hugo) (Entered: 01/13/2021)

                            2871                  Withdrawal of Claim: 13255 filed by Epiq
                                                  Corporate Restructuring, LLC on behalf of
                            (2 pgs)               DANIEL LAMBORN (Suarez, Hugo) (Entered:
 01/13/2021                                       01/13/2021)

                            2872                  Notice Plaintiffs Counsel George Parker Youngs
                                                  Notice Of Change of Address and Appearance
                            (3 pgs)               Of Counsel. Filed by c/o Annie Catmull Royalty
                                                  Owner Plaintiffs c/o (Catmull, Annie) (Entered:
 01/13/2021                                       01/13/2021)

                            2873
                                                  AO 435 TRANSCRIPT ORDER FORM (Daily




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 471 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 471 of 1639
                                                                           0471


                                                  (24 hours)) by Mary Elizabeth Heard. This is to
                            (1 pg)                order a transcript of January 13, 2021 Afternoon
                                                  Hearing before Judge David R. Jones. Court
                                                  Reporter/Transcriber: Access Transcripts (Filed
                                                  By PMBG Parties ). (Heard, Mary)
                                                  Electronically forwarded to Access Transcripts
                                                  on 1-14-2021. Estimated completion date: 1-15-
                                                  2021. Modified on 1/14/2021 (MelissaMorgan).
 01/13/2021                                       (Entered: 01/13/2021)

                            2874                  BNC Certificate of Mailing. (Related document
                                                  (s):2817 Order on Emergency Motion) No. of
                            (13 pgs)              Notices: 217. Notice Date 01/13/2021. (Admin.)
 01/13/2021                                       (Entered: 01/14/2021)

                            2875                  BNC Certificate of Mailing. (Related document
                                                  (s):2818 Generic Order) No. of Notices: 217.
                            (18 pgs)              Notice Date 01/13/2021. (Admin.) (Entered:
 01/13/2021                                       01/14/2021)

                            2876                  BNC Certificate of Mailing. (Related document
                                                  (s):2819 Generic Order) No. of Notices: 217.
                            (19 pgs)              Notice Date 01/13/2021. (Admin.) (Entered:
 01/13/2021                                       01/14/2021)

                            2880
                                                  Letter from Gaynell Spigner (mmap) (Entered:
 01/13/2021                 (7 pgs)               01/14/2021)

                            2885                  Courtroom Minutes. Time Hearing Held: 9:00
                                                  AM. Appearances: SEE ATTACHED. Trial
                            (6 pgs)               Day 13.Closing arguments held, the Court has
                                                  approved the plan. Additionally, the Motion for
                                                  Standing has been denied. Parties to upload a
                                                  proposed confirmation order by 12:00 PM on
                                                  01/14/2021. (VrianaPortillo) (Entered:
 01/13/2021                                       01/14/2021)

                            2877
                                                  Letter from John Dough (mmap) (Entered:
 01/14/2021                 (1 pg)                01/14/2021)

                            2878                      PDF with attached Audio File. Court Date &
                                                  Time [ 1/13/2021 1:15:54 PM ]. File Size
                            (1 pg)                [ 136289 KB ]. Run Time [ 04:43:56 ]. (admin).
 01/14/2021                                       (Entered: 01/14/2021)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 472 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 472 of 1639
                                                                           0472


                            2879                  Proposed Order RE: Agreed Order Granting (I)
                                                  Relief from the Automatic Stay and (II) Related
                            (5 pgs)               Relief (Filed By Chesapeake Energy
                                                  Corporation ).(Related document(s):2565
                                                  Motion for Relief From Stay, 2566 Motion for
                                                  Relief From Stay) (Cavenaugh, Matthew)
 01/14/2021                                       (Entered: 01/14/2021)

                            2881                  Reply TO THE DEBTORS MEMORANDUM OF
                                                  LAW IN SUPPORT OF CONFIRMATION OF
                            (103 pgs; 2 docs)     THE THIRD AMENDED JOINT CHAPTER 11
                                                  PLAN OF REORGANIZATION OF
                                                  CHESAPEAKE ENERGY CORPORATION AND
                                                  ITS DEBTOR AFFILIATES AND OMNIBUS
                                                  REPLY TO OBJECTIONS THERETO [Related
                                                  to Dkt. Nos. 2106 & 2354]. Filed by Vector
                                                  Seismic Data Processing Inc., Westerngeco LLC
                                                  (Attachments: # 1 Exhibit A) (Braun, Andrew)
 01/14/2021                                       (Entered: 01/14/2021)

                            2882                  Agreed Order Granting Motion For Relief From
                                                  Stay (Related Doc # 2565), (Related Doc #
                            (5 pgs)               2566) Signed on 1/14/2021. (aalo) (Entered:
 01/14/2021                                       01/14/2021)

                            2883
                                                  Order (Related Doc # 1545) Signed on
 01/14/2021                 (1 pg)                1/14/2021. (aalo) (Entered: 01/14/2021)

                            2884
                                                  Letter from Gaynell Spigner (mmap) (Entered:
 01/14/2021                 (2 pgs)               01/14/2021)

                            2886                  Declaration re: Declaration of Disinterestedness
                                                  of Deloitte Tax LLP Pursuant to the Order
                            (119 pgs)             Authorizing the Retention and Compensation of
                                                  Certain Professionals Utilized in the Ordinary
                                                  Course of Business (Filed By Chesapeake
                                                  Energy Corporation ). (Cavenaugh, Matthew)
 01/14/2021                                       (Entered: 01/14/2021)

                            2887                  Withdrawal of Claim: 7 filed by Epiq Corporate
                                                  Restructuring, LLC on behalf of BIGHORN
                            (3 pgs)               CONSTRUCTION & RECLAMATION LLC
 01/14/2021                                       (Suarez, Hugo) (Entered: 01/14/2021)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 473 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 473 of 1639
                                                                           0473


                            2888                  Withdrawal of Claim: 62 filed by Epiq
                                                  Corporate Restructuring, LLC on behalf of TRI-
                            (1 pg)                STATE INDUSTRIES INC (Suarez, Hugo)
 01/14/2021                                       (Entered: 01/14/2021)

                            2889                  Withdrawal of Claim: 2370 filed by Epiq
                                                  Corporate Restructuring, LLC on behalf of
                            (1 pg)                CHAPARRAL ENERGY LLC (Suarez, Hugo)
 01/14/2021                                       (Entered: 01/14/2021)

                            2890                  Withdrawal of Claim: 2887 filed by Epiq
                                                  Corporate Restructuring, LLC on behalf of
                            (1 pg)                SHELBY BOSWELL OPERATOR LLC (Suarez,
 01/14/2021                                       Hugo) (Entered: 01/14/2021)

                            2891                  Withdrawal of Claim: 3960 filed by Epiq
                                                  Corporate Restructuring, LLC on behalf of
                            (1 pg)                WILLIAMS COMPANIES INC, THE (Suarez,
 01/14/2021                                       Hugo) (Entered: 01/14/2021)

                            2892                  Withdrawal of Claim: 3998 filed by Epiq
                                                  Corporate Restructuring, LLC on behalf of
                            (1 pg)                WILLIAMS COMPANIES INC, THE (Suarez,
 01/14/2021                                       Hugo) (Entered: 01/14/2021)

                            2893                  Withdrawal of Claim: 4065 filed by Epiq
                                                  Corporate Restructuring, LLC on behalf of
                            (1 pg)                WILLIAMS COMPANIES INC, THE (Suarez,
 01/14/2021                                       Hugo) (Entered: 01/14/2021)

                            2894                  Withdrawal of Claim: 4141 filed by Epiq
                                                  Corporate Restructuring, LLC on behalf of
                            (1 pg)                WILLIAMS COMPANIES INC, THE (Suarez,
 01/14/2021                                       Hugo) (Entered: 01/14/2021)

                            2895                  Withdrawal of Claim: 4201 filed by Epiq
                                                  Corporate Restructuring, LLC on behalf of
                            (1 pg)                WILLIAMS COMPANIES INC, THE (Suarez,
 01/14/2021                                       Hugo) (Entered: 01/14/2021)

                            2896                  Withdrawal of Claim: 4249 filed by Epiq
                                                  Corporate Restructuring, LLC on behalf of
                            (1 pg)                WILLIAMS COMPANIES INC, THE (Suarez,
 01/14/2021                                       Hugo) (Entered: 01/14/2021)

                            2897
                                                  Withdrawal of Claim: 10006 filed by Epiq




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 474 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 474 of 1639
                                                                           0474


                                                  Corporate Restructuring, LLC on behalf of JW
                            (1 pg)                WILLIAMS INC (Suarez, Hugo) (Entered:
 01/14/2021                                       01/14/2021)

                            2898                  Withdrawal of Claim: 10059 filed by Epiq
                                                  Corporate Restructuring, LLC on behalf of
                            (1 pg)                LATX OPERATIONS LLC (Suarez, Hugo)
 01/14/2021                                       (Entered: 01/14/2021)

                            2899                  Withdrawal of Claim: 10107 filed by Epiq
                                                  Corporate Restructuring, LLC on behalf of
                            (1 pg)                C&M OILFIELD RENTALS, LLC (Suarez,
 01/14/2021                                       Hugo) (Entered: 01/14/2021)

                            2900                  Withdrawal of Claim: 10110 filed by Epiq
                                                  Corporate Restructuring, LLC on behalf of L&C
                            (1 pg)                SAFETY INC (Suarez, Hugo) (Entered:
 01/14/2021                                       01/14/2021)

                            2901                  Withdrawal of Claim: 10142 filed by Epiq
                                                  Corporate Restructuring, LLC on behalf of KSA
                            (1 pg)                ENGINEERS INC (Suarez, Hugo) (Entered:
 01/14/2021                                       01/14/2021)

                            2902                  Withdrawal of Claim: 10174 filed by Epiq
                                                  Corporate Restructuring, LLC on behalf of
                            (1 pg)                LARM ENTERPRISES INC (Suarez, Hugo)
 01/14/2021                                       (Entered: 01/14/2021)

                            2903                  Withdrawal of Claim: 10209 filed by Epiq
                                                  Corporate Restructuring, LLC on behalf of
                            (1 pg)                DIANE SORENSON (Suarez, Hugo) (Entered:
 01/14/2021                                       01/14/2021)

                            2904                  Withdrawal of Claim: 10236 filed by Epiq
                                                  Corporate Restructuring, LLC on behalf of
                            (1 pg)                SUPREME SERVICE & SPECIALTY CO INC
 01/14/2021                                       (Suarez, Hugo) (Entered: 01/14/2021)

                            2905                  Withdrawal of Claim: 12131 filed by Epiq
                                                  Corporate Restructuring, LLC on behalf of
                            (1 pg)                SHERIDAN PRODUCTION COMPANY III LLC
 01/14/2021                                       (Suarez, Hugo) (Entered: 01/14/2021)

                            2906
                                                  Transcript RE: Confirmation Hearing - Day 13
                                                  held on 01/13/21 before Judge David R. Jones.




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 475 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 475 of 1639
                                                                           0475


                            (336 pgs)             Transcript is available for viewing in the Clerk's
                                                  Office. Filed by Transcript access will be
                                                  restricted through 04/14/2021.
 01/14/2021                                       (AccessTranscripts) (Entered: 01/14/2021)

                            2907                  BNC Certificate of Mailing. (Related document
                                                  (s):2823 Notice of Filing of Official Transcript
                            (11 pgs)              (Form)) No. of Notices: 217. Notice Date
 01/14/2021                                       01/14/2021. (Admin.) (Entered: 01/14/2021)

                            2908                  Reply TO DEBTORS MEMORANDUM OF
                                                  LAW IN SUPPORT OF THE THIRD
                            (17 pgs)              AMENDED JOINT CHAPTER 11 PLAN OF
                                                  REORGANIZATION OF CHESAPEAKE
                                                  ENERGY CORPORATION AND ITS DEBTOR
                                                  AFFILIATES AND OMNIBUS REPLY TO
                                                  OBJECTIONS THERETO [Related to Docket
                                                  Nos. 2148 and 2354]. Filed by CGG Land (U.S.)
 01/15/2021                                       Inc. (Platt, Mark) (Entered: 01/15/2021)

                            2909
                                                  Response (related document(s):1907 Notice).
 01/15/2021                 (6 pgs)               (Ziemianski, Joseph) (Entered: 01/15/2021)

                            2910                  Proposed Order RE: Order Confirming Fifth
                                                  Amended Joint Chapter 11 Plan of
                            (359 pgs; 2 docs)     Reorganization of Chesapeake Energy
                                                  Corporation and its Debtor Affiliates (Filed By
                                                  Chesapeake Energy Corporation ).(Related
                                                  document(s):2833 Amended Chapter 11 Plan)
                                                  (Attachments: # 1 Redline) (Cavenaugh,
 01/15/2021                                       Matthew) (Entered: 01/15/2021)

                            2911                  Brief (Filed By Seitel Data, Ltd. ).(Related
                                                  document(s):1644 Amended Chapter 11 Plan,
                            (113 pgs; 4 docs)     1907 Notice, 1931 Notice, 2110 Objection to
                                                  Confirmation of the Plan, 2354 Brief)
                                                  (Attachments: # 1 Exhibit Exhibit A # 2 Exhibit
                                                  Exhibit B-1 # 3 Exhibit Exhibit B-2) (Brescia,
 01/15/2021                                       Duane) (Entered: 01/15/2021)

                            2912                  Proposed Order Submission After Hearing (Filed
                                                  By Petty Business Enterprises, LP, Petty Energy
                            (2 pgs)               L.P. and their related entities ). (Ross, Judith)
 01/15/2021                                       (Entered: 01/15/2021)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 476 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 476 of 1639
                                                                           0476


                            2913                  Notice of Fifth Monthly Fee Statement of
                                                  Alvarez & Marsal North America, LLC for
                            (140 pgs)             Compensation for Services and Reimbursement
                                                  of Expenses as Restructuring and Financial
                                                  Advisors to the Debtors and Debtors in
                                                  Possession for the Period From November 1,
                                                  2020 Through November 30, 2020. (Related
                                                  document(s):656 Generic Order) Filed by
                                                  Chesapeake Energy Corporation (Cavenaugh,
 01/15/2021                                       Matthew) (Entered: 01/15/2021)

                            2914                  Notice of Hearing. Filed by Chesapeake Energy
                                                  Corporation (Cavenaugh, Matthew) (Entered:
 01/15/2021                 (4 pgs)               01/15/2021)

                            2915                  Order Confirming Fifth Amended Joint Chapter
                                                  11 Plan of Reorganization of Chesapeake Energy
                            (211 pgs)             Corporation and its Debtor Affiliates Signed on
                                                  1/16/2021 (Related document(s):1633 Order
                                                  Approving Disclosure Statement, 2833
                                                  Amended Chapter 11 Plan) (aalo) (Entered:
 01/16/2021                                       01/16/2021)

                            2916                  BNC Certificate of Mailing. (Related document
                                                  (s):2882 Order on Motion For Relief From Stay)
                            (15 pgs)              No. of Notices: 217. Notice Date 01/16/2021.
 01/16/2021                                       (Admin.) (Entered: 01/16/2021)

                            2917                  BNC Certificate of Mailing. (Related document
                                                  (s):2883 Order on Emergency Motion) No. of
                            (11 pgs)              Notices: 217. Notice Date 01/16/2021. (Admin.)
 01/16/2021                                       (Entered: 01/16/2021)

                            2918                  Statement - Monthly Fee Statement of Forshey &
                                                  Prostok, LLP for Allowance of Compensation for
                            (23 pgs)              Services Rendered and for Reimbursement of
                                                  Expenses as Attorneys for the Official Committee
                                                  of Royalty Owners for the Period from
                                                  December 1, 2020 through and including
                                                  December 31, 2020 (Filed By Forshey &
                                                  Prostok, LLP ). (Prostok, Jeffrey) (Entered:
 01/18/2021                                       01/18/2021)

                            2919                  Objection to Debtors Motion for Entry of an
                                                  Order (related document(s):2646 Generic
                            (3 pgs)               Motion). Filed by Dallas/Fort Worth
                                                  International Airport Board, City of Dallas, City




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 477 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 477 of 1639
                                                                           0477


                                                  of Fort Worth (Orenstein, Rosa) (Entered:
 01/18/2021                                       01/18/2021)

                            2920                  Objection and Joinder (related document
                                                  (s):2646 Generic Motion). Filed by c/o Annie
                            (5 pgs)               Catmull Royalty Owner Plaintiffs c/o (Catmull,
 01/18/2021                                       Annie) (Entered: 01/18/2021)

                            2921                  Objection to the Commonwealth of
                                                  Pennsylvania's Motion for Relief from the
                            (48 pgs)              Automatic Stay (related document(s):2682
                                                  Motion for Relief From Stay). Filed by
                                                  Chesapeake Energy Corporation (Cavenaugh,
 01/18/2021                                       Matthew) (Entered: 01/18/2021)

                            2922                  Objection (related document(s):2646 Generic
                                                  Motion). Filed by Bugg DeSoto, LLC, Caddo
                            (8 pgs)               Parish, Caspiana Interests, LLC, Coushatta
                                                  Bayou Land Company, L.L.C., Paul M. Davis,
                                                  Industrial Dev. Bd. of the Parish of Caddo, Inc.,
                                                  Kingwood Business Center Ltd. Partnership,
                                                  Paul M. Davis, solely in his capacity as the
                                                  independent administrator of the Succession of
                                                  John P. Davis, Jr, Charles Steven Powers,
                                                  Powers Investments, L.L.C., Sonja Bott, on
                                                  behalf of the Succession of Gregary Roy Bott
 01/18/2021                                       (McCune, Patrick) (Entered: 01/18/2021)

                            2923                  Objection -- OFFICIAL COMMITTEE OF
                                                  ROYALTY OWNERS LIMITED OBJECTION TO
                            (5 pgs)               DEBTORS MOTION FOR ENTRY OF AN
                                                  ORDER APPROVING (I) THE OMNIBUS
                                                  CLAIMS OBJECTION PROCEDURES, (II) THE
                                                  FORM OF NOTICE OF OBJECTION, (III) THE
                                                  SATISFACTION PROCEDURES, AND (IV)
                                                  THE FORM OF NOTICE OF SATISFACTION
                                                  (related document(s):2646 Generic Motion).
                                                  Filed by Official Committee of Royalty Owners
 01/18/2021                                       (Brown, pllc, Deirdre) (Entered: 01/18/2021)

                            2924                  Affidavit Re: Affidavit of Service of Geoff Zahm
                                                  (Filed By Epiq Corporate Restructuring LLC ).
                            (5 pgs)               (Related document(s):2597 Notice, 2598 Notice,
                                                  2606 Notice, 2613 Notice, 2614 Notice)
 01/19/2021                                       (Garabato, Sid) (Entered: 01/19/2021)

                            2925                  Affidavit Re: Affidavit of Service of Geoff Zahm




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 478 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 478 of 1639
                                                                           0478


                                                  (Filed By Epiq Corporate Restructuring LLC ).
                            (21 pgs)              (Related document(s):2654 Objection)
 01/19/2021                                       (Garabato, Sid) (Entered: 01/19/2021)

                            2926                  Exhibit List, Witness List (Filed By CGG Land
                                                  (U.S.) Inc. ).(Related document(s):2148
                            (676 pgs; 88 docs)    Objection to Confirmation of the Plan, 2908
                                                  Reply) (Attachments: # 1 Exhibit 1 # 2 Exhibit 2
                                                  # 3 Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6
                                                  Exhibit 6 # 7 Exhibit 7 # 8 Exhibit 8 # 9 Exhibit
                                                  9 # 10 Exhibit 10 # 11 Exhibit 11 # 12 Exhibit
                                                  12 # 13 Exhibit 13 # 14 Exhibit 14 # 15 Exhibit
                                                  15 # 16 Exhibit 16 # 17 Exhibit 17 # 18 Exhibit
                                                  18 # 19 Exhibit 19 # 20 Exhibit 20 # 21 Exhibit
                                                  21 # 22 Exhibit 22 # 23 Exhibit 23 # 24 Exhibit
                                                  24 # 25 Exhibit 25 # 26 Exhibit 26 # 27 Exhibit
                                                  27 # 28 Exhibit 28 # 29 Exhibit 29 # 30 Exhibit
                                                  30 # 31 Exhibit 31 # 32 Exhibit 32 # 33 Exhibit
                                                  33 # 34 Exhibit 34 # 35 Exhibit 35 # 36 Exhibit
                                                  36 # 37 Exhibit 37 # 38 Exhibit 38 # 39 Exhibit
                                                  39 # 40 Exhibit 40 # 41 Exhibit 41 # 42 Exhibit
                                                  42 # 43 Exhibit 43 # 44 Exhibit 44 # 45 Exhibit
                                                  45 # 46 Exhibit 46 # 47 Exhibit 47 # 48 Exhibit
                                                  48 # 49 Exhibit 49 # 50 Exhibit 50 # 51 Exhibit
                                                  51 # 52 Exhibit 52 # 53 Exhibit 53 # 54 Exhibit
                                                  54 # 55 Exhibit 55 # 56 Exhibit 56 # 57 Exhibit
                                                  57 # 58 Exhibit 58 # 59 Exhibit 59 # 60 Exhibit
                                                  60 # 61 Exhibit 61 # 62 Exhibit 62 # 63 Exhibit
                                                  63 # 64 Exhibit 64 # 65 Exhibit 65 # 66 Exhibit
                                                  66 # 67 Exhibit 67 # 68 Exhibit 68 # 69 Exhibit
                                                  69 # 70 Exhibit 70 # 71 Exhibit 71 # 72 Exhibit
                                                  72 # 73 Exhibit 73 # 74 Exhibit 74 # 75 Exhibit
                                                  75 # 76 Exhibit 76 # 77 Exhibit 77 # 78 Exhibit
                                                  78 # 79 Exhibit 79 # 80 Exhibit 80 # 81 Exhibit
                                                  81 # 82 Exhibit 82 # 83 Exhibit 83 # 84 Exhibit
                                                  84 # 85 Exhibit 85 # 86 Exhibit 86 # 87 Exhibit
 01/19/2021                                       87) (Platt, Mark) (Entered: 01/19/2021)

                            2927
                                                  Withdrawal of Claim: 18 (Peeples Carter, D
 01/19/2021                 (1 pg)                Layne) (Entered: 01/19/2021)

                            2928                  Letter from Malinath Suralikal (Attachments: # 1
                                                  Exhibit # 2 Exhibit # 3 Exhibit) (mmap)
 01/19/2021                 (253 pgs; 4 docs)     (Entered: 01/19/2021)

                            2929
                                                  Exhibit List, Witness List (Filed By Vector




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 479 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 479 of 1639
                                                                           0479


                                                  Seismic Data Processing Inc., Westerngeco
                            (3341 pgs; 14 docs)   LLC ).(Related document(s):2106 Objection,
                                                  2881 Reply, 2915 Order Confirming Chapter 11
                                                  Plan) (Attachments: # 1 Exhibit W1 # 2 Exhibit
                                                  W2 # 3 Exhibit W3 # 4 Exhibit W4 # 5 Exhibit
                                                  W5 # 6 Exhibit W6 # 7 Exhibit W7 # 8 Exhibit
                                                  W9 # 9 Exhibit W10 # 10 Exhibit W11 # 11
                                                  Exhibit W13 # 12 Exhibit W15 # 13 Exhibit
 01/19/2021                                       W16) (Braun, Andrew) (Entered: 01/19/2021)

                            2930                  Motion to Appear pro hac vice for Hunter M.
                                                  Barrow. Filed by Creditor Enterprise Crude Oil
 01/19/2021                 (1 pg)                LLC (Judd, T.) (Entered: 01/19/2021)

                            2931                  Notice of Additional Ordinary Course
                                                  Professionals Pursuant to the Order Authorizing
                            (4 pgs)               the Retention and Compensation of Certain
                                                  Professionals Utilized in the Ordinary Course of
                                                  Business. (Related document(s):655 Generic
                                                  Order, 807 Notice, 1100 Notice, 1162 Notice,
                                                  1353 Notice, 2447 Notice) Filed by Chesapeake
                                                  Energy Corporation (Cavenaugh, Matthew)
 01/19/2021                                       (Entered: 01/19/2021)

                            2932                  Notice JOINDER OF THE TEXAS
                                                  COMPTROLLER OF PUBLIC ACCOUNTS,
                            (5 pgs)               UNCLAIMED PROPERTY DIVISION IN THE
                                                  OBJECTION BY THE UNITED STATES TO
                                                  DEBTORS MOTION FOR ENTRY OF AN
                                                  ORDER APROVING (i) THE OMNIBUS
                                                  CLAIMS OBJECTION PROCEDURES, (ii) THE
                                                  FORM OF NOTICE OF OBJECTION, (iii) THE
                                                  SATISFACTION PROCEDURES, AND (iv) THE
                                                  FORM OF NOTICE OF SATISFACTION.
                                                  (Related document(s):2646 Generic Motion,
                                                  2806 Objection) Filed by Texas Comptroller of
                                                  Public Accounts, Unclaimed Property Division
 01/19/2021                                       (Milligan, Layla) (Entered: 01/19/2021)

                            2933                  Declaration re: Declaration of Disinterestedness
                                                  of Keller and Heckman LLP Pursuant to the
                            (4 pgs)               Order Authorizing the Retention and
                                                  Compensation of Certain Professionals Utilized
                                                  in the Ordinary Course of Business (Filed By
                                                  Chesapeake Energy Corporation ).(Related
                                                  document(s):655 Generic Order) (Cavenaugh,
 01/19/2021                                       Matthew) (Entered: 01/19/2021)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 480 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 480 of 1639
                                                                           0480


                            2934                  Declaration re: Declaration of Disinterestedness
                                                  of Applied Economics Consulting Group, Inc.
                            (4 pgs)               Pursuant to the Order Authorizing the Retention
                                                  and Compensation of Certain Professionals
                                                  Utilized in the Ordinary Course of Business
                                                  (Filed By Chesapeake Energy Corporation ).
                                                  (Related document(s):655 Generic Order)
 01/19/2021                                       (Cavenaugh, Matthew) (Entered: 01/19/2021)

                            2935                  Exhibit List, Witness List (Filed By Vector
                                                  Seismic Data Processing Inc., Westerngeco
                            (2775 pgs; 4 docs)    LLC ).(Related document(s):2106 Objection,
                                                  2457 Notice, 2881 Reply, 2915 Order
                                                  Confirming Chapter 11 Plan, 2929 Exhibit List,
                                                  Witness List) (Attachments: # 1 Exhibit W12 -
                                                  Part A # 2 Exhibit W12 - Part B # 3 Exhibit
 01/19/2021                                       W13) (Braun, Andrew) (Entered: 01/19/2021)

                            2936                  Motion To Substitute Attorney. Filed by
                                                  Creditor Ryan, LLC (Attachments: # 1 Proposed
 01/19/2021                 (5 pgs; 2 docs)       Order) (Keiffer, Edwin) (Entered: 01/19/2021)

                            2937                  Witness List, Exhibit List (Filed By Seitel Data,
                                                  Ltd. ). (Attachments: # 1 Exhibit # 2 Exhibit)
 01/19/2021                 (53 pgs; 3 docs)      (Brescia, Duane) (Entered: 01/19/2021)

                            2938                  Notice TEXAS COMPTROLLER OF PUBLIC
                                                  ACCOUNTS JOINDER IN THE OBJECTION
                            (2 pgs)               BY THE UNITED STATES TO DEBTORS
                                                  MOTION FOR ENTRY OF AN ORDER
                                                  APPROVING (I) THE OMNIBUS CLAIMS
                                                  OBJECTION PROCEDURES, (II) THE FORM
                                                  OF NOTICE OF OBJECTION, (III) THE
                                                  SATISFACTION PROCEDURES, AND (IV)
                                                  THE FORM OF NOTICE OF SATISFACTION.
                                                  (Related document(s):2646 Generic Motion,
                                                  2806 Objection) Filed by Texas Comptroller of
                                                  Public Accounts, Revenue Accounting Division
 01/19/2021                                       (Stern, John) (Entered: 01/19/2021)

                            2939                  Amended Motion to Reconsider (related
                                                  document(s):2423 Generic Order). Filed by
                            (38 pgs; 2 docs)      Creditor Ryan, LLC (Attachments: # 1 Proposed
 01/19/2021                                       Order) (Keiffer, Edwin) (Entered: 01/19/2021)

                            2940                  Adversary case 21-03008. Nature of Suit: (91
                                                  (Declaratory judgment)) Complaint (RYAN,




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 481 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 481 of 1639
                                                                           0481


                            (21 pgs; 2 docs)      LLC'S COMPLAINT FOR DECLARATORY
                                                  JUDGMENT) by Ryan, LLC against Wildhorse
                                                  Resources Management Company, LLC. Fee
                                                  Amount $350 (Attachments: # 1 Adversary
                                                  Proceeding Cover Sheet) (Keiffer, Edwin)
 01/19/2021                                       (Entered: 01/19/2021)

                            2941                  Affidavit Re: Affidavit of Service of Angarahad
                                                  Bowdler (Filed By Epiq Corporate Restructuring
                            (13581 pgs; 2 docs)   LLC ).(Related document(s):2312 Notice, 2354
                                                  Brief) (Attachments: # 1 Exhibit) (Garabato,
 01/19/2021                                       Sid) (Entered: 01/19/2021)

                            2942                  Response Debtors' Opposition to Ryan, LLC's
                                                  Motion to Reconsider (related document(s):2645
                            (6460 pgs)            Motion to Reconsider). Filed by Chesapeake
                                                  Energy Corporation (Cavenaugh, Matthew)
 01/19/2021                                       (Entered: 01/19/2021)

                            2943                  Withdrawal of Claim: 63 filed by Epiq
                                                  Corporate Restructuring on behalf of RMS
                            (1 pg)                Instrument & Electric LLC (Garabato, Sid)
 01/20/2021                                       (Entered: 01/20/2021)

                            2944                  Exhibit List, Witness List (Filed By Chesapeake
                                                  Energy Corporation ).(Related document(s):2915
                            (215 pgs; 2 docs)     Order Confirming Chapter 11 Plan)
                                                  (Attachments: # 1 Exhibit 1) (Cavenaugh,
 01/20/2021                                       Matthew) (Entered: 01/20/2021)

                            2946                  Notice of Reset of Hearing on Seismic
                                                  Agreements. (Related document(s):2914 Notice,
                            (4 pgs)               2915 Order Confirming Chapter 11 Plan) Filed
                                                  by Chesapeake Energy Corporation (Cavenaugh,
 01/20/2021                                       Matthew) (Entered: 01/20/2021)

                            2947                  Adversary case 21-03009. Nature of Suit: (01
                                                  (Determination of removed claim or cause)),(02
                            (784 pgs; 5 docs)     (Other (e.g. other actions that would have been
                                                  brought in state court if unrelated to
                                                  bankruptcy))) Notice of Removal Stephanie Lyn
                                                  Porterfield Delasandro. Fee Amount $350
                                                  (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 - Part
                                                  1 # 3 Exhibit 2 - Part 2 # 4 Adversary Cover
                                                  Sheet) (Cavenaugh, Matthew) (Entered:
 01/20/2021                                       01/20/2021)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 482 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 482 of 1639
                                                                           0482


                            2948                  Certificate of No Objection with Respect to the
                                                  Debtors' Motion for Entry of an Order (I)
                            (8 pgs; 2 docs)       Authorizing the Rejection of Certain Executory
                                                  Contracts Effective as of December 11, 2020 and
                                                  (II) Granting Related Relief (Filed By
                                                  Chesapeake Energy Corporation ).(Related
                                                  document(s):2283 Motion to Assume/Reject)
                                                  (Attachments: # 1 Proposed Order) (Cavenaugh,
 01/20/2021                                       Matthew) (Entered: 01/20/2021)

                            2949                  Order Granting Motion To Appear pro hac vice -
                                                  Hunter M. Barrow (Related Doc # 2930) Signed
 01/20/2021                 (1 pg)                on 1/20/2021. (emiller) (Entered: 01/20/2021)

                            2950                 Witness List, Exhibit List (Filed By
                                                 Commonwealth of Pennsylvania ).(Related
                            (3 pgs)              document(s):2682 Motion for Relief From Stay)
 01/21/2021                                      (Butler, Lynn) (Entered: 01/21/2021)

                            2951                 Motion to Extend Time Debtors' Motion for Entry
                                                 of an Order (I) Further Extending the Time
                            (10 pgs; 2 docs)     Within Which the Debtors May Remove Actions
                                                 and (II) Granting Related Relief Filed by Debtor
                                                 Chesapeake Energy Corporation (Attachments: #
                                                 1 Proposed Order) (Cavenaugh, Matthew)
 01/21/2021                                      (Entered: 01/21/2021)

                                                 Certificate of Email Notice. By agreement of the
                                                 parties, the hearing on the motion for relief from
                                                 stay has been moved up. Movant to notice all
                                                 interested parties and file a certificate of service
                                                 with the court (Related document(s):1293 Motion
                                                 for Relief From Stay) Hearing rescheduled for
                                                 1/28/2021 at 02:30 PM by telephone and video
 01/21/2021                                      conference. (aalo) (Entered: 01/21/2021)

                            2952                 Order (I) Authorizing the Rejection of Certain
                                                 Executory Contracts Effective as of December 11,
                            (5 pgs)              2020 and (II) Granting Related Relief (Related
                                                 Doc # 2283) Signed on 1/21/2021.
 01/21/2021                                      (VrianaPortillo) (Entered: 01/21/2021)

                            2953                 Stipulation By Stephanie Delasandro and debtors.
                                                 Does this document include an agreed order or
                            (72 pgs)             otherwise request that the judge sign a document?
                                                 Yes. (Filed By Stephanie Delasandro ).(Related
                                                 document(s):1293 Motion for Relief From Stay)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                        5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 483 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 483 of 1639
                                                                           0483


 01/21/2021                                      (Warman, Lynnette) (Entered: 01/21/2021)

                            2954                 Motion to Appear pro hac vice . Filed by
                                                 Interested Party Wyoming Department of
                            (2 pgs)              Environmental Quality (ckrus) (Entered:
 01/21/2021                                      01/21/2021)

                            2955                 Notice of Reset Hearing on the Commonwealth of
                                                 Pennsylvania's Motion for Relief From the
                            (3 pgs)              Automatic Stay and Motion for Mandatory
                                                 Abstention. (Related document(s):2109 Generic
                                                 Motion, 2682 Motion for Relief From Stay) Filed
                                                 by Commonwealth of Pennsylvania (Butler,
 01/22/2021                                      Lynn) (Entered: 01/22/2021)

                            2956                 Statement Second Monthly Fee Statement of Back
                                                 Bay Management Corporation and its Division,
                            (47 pgs)             the Michel-Shaked Group, for Allowance of
                                                 Compensation and Reimbursement of Expenses as
                                                 Expert Valuation Consultant to the Official
                                                 Committee of Unsecured Creditors for the Period
                                                 October 1, 2020 through October 31, 2020 (Filed
                                                 By Official Committee Of Unsecured Creditors ).
 01/22/2021                                      (Harrison, Julie) (Entered: 01/22/2021)

                            2957                 Third Notice of Hearing. (Related document
                                                 (s):1293 Motion for Relief From Stay) Filed by
                            (3 pgs)              Stephanie Delasandro (Warman, Lynnette)
 01/22/2021                                      (Entered: 01/22/2021)

                            2958                 Statement Fifth Monthly Fee Statement of Norton
                                                 Rose Fulbright US LLP (Filed By Official
                            (31 pgs)             Committee Of Unsecured Creditors ). (Harrison,
 01/22/2021                                      Julie) (Entered: 01/22/2021)

                            2959                 Statement Sixth Monthly Fee Statement of Norton
                                                 Rose Fulbright US LLP (Filed By Official
                            (45 pgs)             Committee Of Unsecured Creditors ). (Harrison,
 01/22/2021                                      Julie) (Entered: 01/22/2021)

                            2960
                                                 Notice of Filing of Quarterly Statement Pursuant
                            (5 pgs)              to the Order Authorizing the Retention and
                                                 Compensation of Certain Professionals Utilized
                                                 in the Ordinary Course of Business. (Related
                                                 document(s):655 Generic Order) Filed by
                                                 Chesapeake Energy Corporation (Cavenaugh,




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 484 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 484 of 1639
                                                                           0484


 01/22/2021                                      Matthew) (Entered: 01/22/2021)

                            2961                 Debtors Master Service List (Filed By Epiq
                                                 Corporate Restructuring LLC ). (Garabato, Sid)
 01/22/2021                 (62 pgs)             (Entered: 01/22/2021)

                            2962                 Order Granting Motion To Appear pro hac vice -
                                                 Kelly Shaw (Related Doc # 2954) Signed on
 01/22/2021                 (2 pgs)              1/22/2021. (emiller) (Entered: 01/22/2021)

                                                 Certificate of Email Notice. Contacted Lynn
                                                 Butler. Movant to notice all interested parties and
                                                 file a certificate of service with the court (Related
                                                 document(s):2109 Generic Motion, 2682 Motion
                                                 for Relief From Stay) Hearing rescheduled for
                                                 1/28/2021 at 02:30 PM at telephone and video
 01/24/2021                                      conference. (aalo) (Entered: 01/24/2021)

                            2963                 Notice of Filing Monthly Report Pursuant to the
                                                 Order to Approve Procedures for De Minimis
                            (5 pgs)              Asset Transactions. (Related document(s):715
                                                 Generic Order) Filed by Chesapeake Energy
                                                 Corporation (Cavenaugh, Matthew) (Entered:
 01/25/2021                                      01/25/2021)

                            2964                 Notice of Withdrawal of Claim 126 filed in
                                                 Chesapeake Energy Exploration, LLC, Case No.
                            (2 pgs)              20-33239. Filed by Eric Petroleum Corporation
 01/25/2021                                      (Flores, Henry) (Entered: 01/25/2021)

                            2965                 Withdrawal of Claim: 175 of Eric Petroleum
                                                 Corporation (Flores, Henry) (Entered:
 01/25/2021                 (2 pgs)              01/25/2021)

                            2966                 Objection to Claim Number by Claimant Petty
                                                 Business Enterprises, LP. Petty Business
                            (33 pgs; 2 docs)     Enterprises, LP. / Debtors' Objection to Proofs of
                                                 Claim Filed by Petty (Attachments: # 1 Proposed
                                                 Order)(Schwarzman, Alexandra) (Entered:
 01/25/2021                                      01/25/2021)

                            2980                 Joint Stipulation Between Debtors and Stefanie
                                                 Delasandro Regarding Certain Business Records
                            (72 pgs)             Signed on 1/25/2021 (Related document(s):2953
 01/25/2021                                      Stipulation) (emiller) (Entered: 01/26/2021)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                         5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 485 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 485 of 1639
                                                                           0485


                            2967                 Proposed Order RE: Order (I) Authorizing (A)
                                                 Rejection of the Crude Agreement, (B)
                            (10 pgs; 2 docs)     Assumption, As Modified, of the Transporation
                                                 Agreement, (C) Entry Into the Processing
                                                 Agreement, and (D) Provision of the Enterprise
                                                 Release, and (II) Granting Related Relief (Filed
                                                 By Chesapeake Energy Corporation ).(Related
                                                 document(s):2376 Emergency Motion, 2596
                                                 Proposed Order) (Attachments: # 1 Redline)
 01/26/2021                                      (Cavenaugh, Matthew) (Entered: 01/26/2021)

                            2968                 AO 435 TRANSCRIPT ORDER FORM (14-Day)
                                                 by Rick Kincheloe. This is to order a transcript of
                            (1 pg)               Confirmation Hearing on January 13, 2021 before
                                                 Judge David R. Jones. Court
                                                 Reporter/Transcriber: Access Transcripts (Filed
                                                 By Federal Energy Regulatory Commission ).
                                                 (Kincheloe, Richard) Copy request was
                                                 electronically forwarded to Access Transcripts on
                                                 1-26-2021. Estimated completion date: 2-9-2021.
                                                 Modified on 1/26/2021 (MelissaMorgan).
 01/26/2021                                      (Entered: 01/26/2021)

                            2969                 Additional Attachments Re: (related document
                                                 (s):2950 Witness List, Exhibit List) (Filed By
                            (233 pgs; 8 docs)    Commonwealth of Pennsylvania ).(Related
                                                 document(s):2950 Witness List, Exhibit List)
                                                 (Attachments: # 1 Exhibit COPA-2 # 2 Exhibit
                                                 COPA-3 # 3 Exhibit COPA-4 # 4 Exhibit COPA-
                                                 5 # 5 Exhibit COPA-6 # 6 Exhibit COPA-7 # 7
                                                 Exhibit COPA-8) (Butler, Lynn) (Entered:
 01/26/2021                                      01/26/2021)

                            2970                 Exhibit List, Witness List (Filed By Enterprise
                                                 Crude Oil LLC ).(Related document(s):2376
                            (63 pgs; 5 docs)     Emergency Motion) (Attachments: # 1 Exhibit 1 #
                                                 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4) (Judd, T.)
 01/26/2021                                      (Entered: 01/26/2021)

                            2971                 Witness List, Exhibit List (Filed By Chesapeake
                                                 Energy Corporation ). (Cavenaugh, Matthew)
 01/26/2021                 (4 pgs)              (Entered: 01/26/2021)

                            2972                 Non-Opposition Motion to Withdraw as Attorney.
                                                 Objections/Request for Hearing Due in 21 days.
                            (5 pgs)              Filed by Creditor The Royalty Owners (Jewell,
 01/26/2021                                      Gary) (Entered: 01/26/2021)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 486 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 486 of 1639
                                                                           0486


                            2973                 Witness List, Exhibit List (Filed By
                                                 Commonwealth of Pennsylvania ).(Related
                            (3 pgs)              document(s):2109 Generic Motion, 2682 Motion
                                                 for Relief From Stay) (Butler, Lynn) (Entered:
 01/26/2021                                      01/26/2021)

                            2974                 Notice of Third Monthly Fee Statement of Intrepid
                                                 Partners, LLC as Investment Banker to the
                            (9 pgs)              Debtors, for Allowance and Payment of
                                                 Compensation for Professional Services Rendered
                                                 and Reimbursement of Actual and Necessary
                                                 Expenses Incurred from December 1, 2020
                                                 Through and Including December 31, 2020. Filed
                                                 by Chesapeake Energy Corporation (Cavenaugh,
 01/26/2021                                      Matthew) (Entered: 01/26/2021)

                            2975                 Affidavit Re: Affidavit of Service of Angharad
                                                 Bowdler (Filed By Epiq Corporate Restructuring
                            (23 pgs)             LLC ).(Related document(s):2733 Notice, 2735
 01/26/2021                                      Notice) (Garabato, Sid) (Entered: 01/26/2021)

                            2976                 Exhibit List (Filed By Stephanie Delasandro ).
                                                 (Related document(s):1293 Motion for Relief
                            (889 pgs; 50 docs)   From Stay) (Attachments: # 1 Exhibit 1 # 2
                                                 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5
                                                 # 6 Exhibit 6 # 7 Exhibit 7 # 8 Exhibit 8 # 9
                                                 Exhibit 9 # 10 Exhibit 10 # 11 Exhibit 11 # 12
                                                 Exhibit 12 # 13 Exhibit 13 # 14 Exhibit 14 # 15
                                                 Exhibit 15 # 16 Exhibit 16 # 17 Exhibit 17 # 18
                                                 Exhibit 18 # 19 Exhibit 19 # 20 Exhibit 20 # 21
                                                 Exhibit 21 # 22 Exhibit 22 # 23 Exhibit 23 # 24
                                                 Exhibit 24 # 25 Exhibit 25 # 26 Exhibit 26 # 27
                                                 Exhibit 27 # 28 Exhibit 28 # 29 Exhibit 29 # 30
                                                 Exhibit 30 # 31 Exhibit 31 # 32 Exhibit 32 # 33
                                                 Exhibit 33 # 34 Exhibit 34 # 35 Exhibit 35 # 36
                                                 Exhibit 36 # 37 Exhibit 37 # 38 Exhibit 38 # 39
                                                 Exhibit 39 # 40 Exhibit 40 # 41 Exhibit 41 # 42
                                                 Exhibit 42 # 43 Exhibit 43 # 44 Exhibit 44 # 45
                                                 Exhibit 45 # 46 Exhibit 46 # 47 Exhibit 47 # 48
                                                 Exhibit 48 # 49 Exhibit 49) (Warman, Lynnette)
 01/26/2021                                      (Entered: 01/26/2021)

                            2977
                                                 Application for Compensation First Interim Fee
                                                 Application of Kirkland & Ellis LLP and Kirkland
                            (768 pgs; 2 docs)
                                                 & Ellis International LLP, Attorneys for the
                                                 Debtors and Debtors in Possession, for the Period
                                                 from June 28, 2020 Through and Including




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 487 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 487 of 1639
                                                                           0487


                                                 September 30, 2020. Objections/Request for
                                                 Hearing Due in 21 days. Filed by Attorney
                                                 Matthew D Cavenaugh (Attachments: # 1
                                                 Proposed Order) (Cavenaugh, Matthew) (Entered:
 01/26/2021                                      01/26/2021)

                            2978                 Affidavit Re: Affidavit of Service of Angharad
                                                 Bowdler (Filed By Epiq Corporate Restructuring
                            (6202 pgs)           LLC ).(Related document(s):2782 Notice, 2785
                                                 Generic Motion) (Garabato, Sid) (Entered:
 01/26/2021                                      01/26/2021)

                            2979                 Affidavit Re: Affidavit of Service of Angharad
                                                 Bowdler (Filed By Epiq Corporate Restructuring
                            (22 pgs)             LLC ).(Related document(s):2824 Notice, 2826
 01/26/2021                                      Notice) (Garabato, Sid) (Entered: 01/26/2021)

                            2981                 Emergency Motion to remand Filed by Creditor
                                                 Stephanie Delasandro (Attachments: # 1 Exhibit 1
                            (210 pgs; 24 docs)   # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 # 5
                                                 Exhibit 5 # 6 Exhibit 6 # 7 Exhibit 7 # 8 Exhibit 8
                                                 # 9 Exhibit 9 # 10 Exhibit 10 # 11 Exhibit 11 # 12
                                                 Exhibit 12 # 13 Exhibit 13 # 14 Exhibit 14 # 15
                                                 Exhibit 15 # 16 Exhibit 16 # 17 Exhibit 17 # 18
                                                 Exhibit 18 # 19 Exhibit 19 # 20 Exhibit 20 # 21
                                                 Exhibit 21 # 22 Exhibit 22 # 23 Exhibit 23)
 01/27/2021                                      (Warman, Lynnette) (Entered: 01/27/2021)

                            2982                 Notice of Hearing. (Related document(s):2981
                                                 Emergency Motion) Filed by Stephanie
                            (3 pgs)              Delasandro (Warman, Lynnette) (Entered:
 01/27/2021                                      01/27/2021)

                            2983                 Exhibit List (Filed By Stephanie Delasandro ).
                                                 (Related document(s):2981 Emergency Motion)
 01/27/2021                 (5 pgs)              (Warman, Lynnette) (Entered: 01/27/2021)

                            2984                 Order (I) Further Extending the time Within
                                                 Which the Debtors May Remove Actions and (II)
                            (2 pgs)              Granting Related Relief (Related Doc # 2951)
                                                 Signed on 1/27/2021. (VrianaPortillo) (Entered:
 01/27/2021                                      01/27/2021)

                            2985
                                                 Affidavit Re: Affidavit of Service of Angharad
                            (4 pgs)              Bowdler (Filed By Epiq Corporate Restructuring
                                                 LLC ).(Related document(s):2843 Notice)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 488 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 488 of 1639
                                                                           0488


 01/27/2021                                      (Garabato, Sid) (Entered: 01/27/2021)

                            2986                 Affidavit Re: Affidavit of Service of Angharad
                                                 Bowdler (Filed By Epiq Corporate Restructuring
                            (26 pgs)             LLC ).(Related document(s):2886 Declaration)
 01/27/2021                                      (Garabato, Sid) (Entered: 01/27/2021)

                            2987                 BNC Certificate of Mailing. (Related document
                                                 (s):2962 Order on Motion to Appear pro hac vice)
                            (12 pgs)             No. of Notices: 218. Notice Date 01/27/2021.
 01/27/2021                                      (Admin.) (Entered: 01/28/2021)

                            2988                 Objection Debtors' Objection to Plaintiff's
                                                 Emergency Motion to Remand Texas State Court
                            (504 pgs; 3 docs)    Case (related document(s):2981 Emergency
                                                 Motion). Filed by Chesapeake Energy
                                                 Corporation (Attachments: # 1 Exhibit A # 2
                                                 Exhibit A) (Cavenaugh, Matthew) (Entered:
 01/28/2021                                      01/28/2021)

                            2989                 Agenda for Hearing on 1/28/2021 (Filed By
                                                 Chesapeake Energy Corporation ). (Cavenaugh,
 01/28/2021                 (6 pgs)              Matthew) (Entered: 01/28/2021)

                            2990                 Affidavit Re: Affidavit of Service of Angharad
                                                 Bowdler (Filed By Epiq Corporate Restructuring
                            (4 pgs)              LLC ).(Related document(s):2913 Notice)
 01/28/2021                                      (Garabato, Sid) (Entered: 01/28/2021)

                            2991                 Affidavit Re: Affidavit of Service of Angharad
                                                 Bowdler (Filed By Epiq Corporate Restructuring
                            (31 pgs)             LLC ).(Related document(s):2914 Notice)
 01/28/2021                                      (Garabato, Sid) (Entered: 01/28/2021)

                                                 Receipt Number 190399, Fee Amount $207.
 01/28/2021                                      (Olin) (Entered: 01/28/2021)

                            2992
                                                 AO 435 TRANSCRIPT ORDER FORM (Daily
                            (1 pg)               (24 hours)) by Matthew Cavenaugh. This is to
                                                 order a transcript of 1/28/2021 before Judge
                                                 David R. Jones. Court Reporter/Transcriber:
                                                 Access Transcripts (Filed By Chesapeake Energy
                                                 Corporation ). (Cavenaugh, Matthew)
                                                 Electronically forwarded to Access Transcripts,
                                                 LLC on January 29, 2021. Estimated completion
                                                 date: January 30, 2021. Modified on 1/29/2021




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 489 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 489 of 1639
                                                                           0489


 01/28/2021                                      (ClaudiaGutierrez). (Entered: 01/28/2021)

                            2993                 Affidavit Re: Affidavit of Service of Angharad
                                                 Bowdler (Filed By Epiq Corporate Restructuring
                            (21 pgs)             LLC ).(Related document(s):2921 Objection)
 01/28/2021                                      (Garabato, Sid) (Entered: 01/28/2021)

                            2994                 Affidavit Re: Affidavit of Service of Angharad
                                                 Bowdler (Filed By Epiq Corporate Restructuring
                            (24 pgs)             LLC ).(Related document(s):2931 Notice, 2933
                                                 Declaration, 2934 Declaration) (Garabato, Sid)
 01/28/2021                                      (Entered: 01/28/2021)

                            2995                 Courtroom Minutes. Time Hearing Held: 2:30
                                                 pm. Appearances: SEE ATTACHED. (Related
                            (2 pgs)              document(s):1293 Motion for Relief From Stay,
                                                 2109 Generic Motion, 2376 Emergency Motion,
                                                 2682 Motion for Relief From Stay, 2967 Proposed
                                                 Order, 2981 Emergency Motion) The Enterprise
                                                 9019 motion at dkt 2376 was granted and the
                                                 order at dkt 2967 was signed on the record. The
                                                 Court heard oral argument regarding the
                                                 Pennsylvania Lift Stay Motion 2682 and
                                                 Abstention Motion 2109. Both motions were
                                                 denied for the reasons stated on the record. Mr.
                                                 Donovan to prepare an order consistent with the
                                                 Court's ruling. The Delasandro matters are
                                                 continued to tomorrow at 3:00 pm so the parties
                                                 may contact Judge Isgur regarding mediation
                                                 dates. Continued hearing scheduled for
                                                 1/29/2021 at 03:00 PM by telephone and video
 01/28/2021                                      conference. (emiller) (Entered: 01/28/2021)

                            2996                 Order (I) Authorizing (A) Rejection of the Crude
                                                 Agreement, (B) Assumption, as Modified, of the
                            (5 pgs)              Transportation Agreement, (C) Entry into the
                                                 Processing Agreement, and (D) Provision of the
                                                 Enterprise Release, and (II) Granting Related
                                                 Relief (Related Doc # 2376) Signed on 1/28/2021.
 01/28/2021                                      (emiller) (Entered: 01/28/2021)

                            2997                     PDF with attached Audio File. Court Date &
                                                 Time [ 1/28/2021 2:20:56 PM ]. File Size [ 55596
                            (1 pg)               KB ]. Run Time [ 01:55:50 ]. (admin). (Entered:
 01/28/2021                                      01/28/2021)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                        5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 490 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 490 of 1639
                                                                           0490


                            2998                 Withdrawal of Claim: 1468 & 1470 filed by Epiq
                                                 Corporate Restructuring, LLC on behalf of DCP
                            (4 pgs)              Midstream LP (Garabato, Sid) (Entered:
 01/28/2021                                      01/28/2021)

                            2999                 Withdrawal of Claim: 1686 filed by Epiq
                                                 Corporate Restructuring, LLC on behalf of
                            (1 pg)               Octane Environmental LLC (Garabato, Sid)
 01/28/2021                                      (Entered: 01/28/2021)

                            3000                 Withdrawal of Claim: 10637, 10638, & 10640
                                                 filed by Epiq Corporate Restructuring, LLC on
                            (3 pgs)              behalf of White Rock Oil & Gas LLC (Garabato,
 01/28/2021                                      Sid) (Entered: 01/28/2021)

                            3001                 Stipulation By Chesapeake Energy Corporation
                                                 and CNOOC Energy U.S.A. LLC f/k/a OOGC
                            (5 pgs)              America LLC. Does this document include an
                                                 agreed order or otherwise request that the judge
                                                 sign a document? Yes. (Filed By Chesapeake
                                                 Energy Corporation ).(Related document(s):1130
                                                 Generic Order) (Cavenaugh, Matthew) (Entered:
 01/28/2021                                      01/28/2021)

                            3002                 Courtroom Minutes. Time Hearing Held: 3:00
                                                 PM. Appearances: see attached. (Related
                            (1 pg)               document(s):1293 Motion for Relief From Stay,
                                                 2981 Emergency Motion)The parties have agreed
                                                 to go to mediation. Todays hearing has been
                                                 continued to 3/31/2021 at 09:00 AM by telephone
                                                 and video conference. (aalo) Additional
                                                 attachment(s) added on 1/29/2021 (aalo).
 01/29/2021                                      (Entered: 01/29/2021)

                            3003                 Statement Third Monthly Fee Statement of Back
                                                 Bay Management Corporation and its Division,
                            (83 pgs)             the Michel-Shaked Group (Filed By Official
                                                 Committee Of Unsecured Creditors ). (Harrison,
 01/29/2021                                      Julie) (Entered: 01/29/2021)

                            3004                 AO 435 TRANSCRIPT ORDER FORM (Daily
                                                 (24 hours)) by Matthew Cavenaugh. This is to
                            (1 pg)               order a transcript of 1/29/2021 before Judge
                                                 David R. Jones. Court Reporter/Transcriber:
                                                 Access Transcripts (Filed By Chesapeake Energy
                                                 Corporation ). (Cavenaugh, Matthew) (Entered:
 01/29/2021                                      01/29/2021)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 491 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 491 of 1639
                                                                           0491


                            3005                 Affidavit Re: Affidavit of Service of Angharad
                                                 Bowdler (Filed By Epiq Corporate Restructuring
                            (21 pgs)             LLC ).(Related document(s):2946 Notice)
 01/29/2021                                      (Garabato, Sid) (Entered: 01/29/2021)

                            3006                 Affidavit Re: Affidavit of Service of Angharad
                                                 Bowdler (Filed By Epiq Corporate Restructuring
                            (2 pgs)              LLC ).(Related document(s):2947 Notice of
 01/29/2021                                      Removal) (Garabato, Sid) (Entered: 01/29/2021)

                            3007                 Transcript RE: Motion Hearing held on 01/28/21
                                                 before Judge David R. Jones. Transcript is
                            (84 pgs)             available for viewing in the Clerk's Office. Filed
                                                 by Transcript access will be restricted through
                                                 04/30/2021. (AccessTranscripts) (Entered:
 01/30/2021                                      01/30/2021)

                            3008                 BNC Certificate of Mailing. (Related document
                                                 (s):2996 Order on Emergency Motion) No. of
                            (15 pgs)             Notices: 218. Notice Date 01/30/2021. (Admin.)
 01/30/2021                                      (Entered: 01/30/2021)

                            3009                 Notice of Filing of Official Transcript as to 3007
                                                 Transcript. Parties notified (Related document
 02/01/2021                 (1 pg)               (s):3007 Transcript) (dhan) (Entered: 02/01/2021)

                            3010                 Notice of Reset Hearing on Motion of John H.
                                                 Bedsole and Bedsole Land Company for Relief
                            (4 pgs)              from the Automatic Stay. (Related document
                                                 (s):1248 Motion for Relief From Stay) Filed by
                                                 Chesapeake Energy Corporation (Cavenaugh,
 02/01/2021                                      Matthew) (Entered: 02/01/2021)

                            3011                 AO 435 TRANSCRIPT ORDER FORM (3-Day)
                                                 by Commonwealth of Pennsylvania. This is to
                            (2 pgs)              order a transcript of Hearing dated 1/28/2021
                                                 before Judge David R. Jones. Court
                                                 Reporter/Transcriber: Access Transcripts (Filed
                                                 By Commonwealth of Pennsylvania ). (Betsko,
                                                 Joseph) Copy request electronically forwarded to
                                                 Access Transcripts, LLC on February 2, 2021.
                                                 Estimated completion date: February 5, 2021.
                                                 Modified on 2/2/2021 (ClaudiaGutierrez).
 02/01/2021                                      (Entered: 02/01/2021)


                                                 Certificate of Telephone Notice. Contacted




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 492 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 492 of 1639
                                                                           0492


                                                 Veronica Polnick. Movant to notice all interested
                                                 parties and file a certificate of service with the
                                                 court (Related document(s):1248 Motion for
                                                 Relief From Stay) Hearing scheduled for
                                                 2/17/2021 at 03:00 PM by telephone and video
 02/01/2021                                      conference. (aalo) (Entered: 02/01/2021)

                            3012                 AO 435 TRANSCRIPT ORDER FORM (Daily
                                                 (24 hours)) by Marty L. Brimmage, Jr.. This is to
                            (1 pg)               order a transcript of the January 29, 2021 Hearing
                                                 before Judge David R. Jones. Court
                                                 Reporter/Transcriber: Access Transcripts (Filed
                                                 By Franklin Advisers, Inc., as Investment
                                                 Manager on Behalf of Certain Funds and
                                                 Accounts ). (Brimmage, Marty) Copy request
                                                 electronically forwarded to Access Transcripts,
                                                 LLC on February 5, 2021. Estimated completion
                                                 date: February 6, 2021. Modified on 2/5/2021
 02/01/2021                                      (ClaudiaGutierrez). (Entered: 02/01/2021)

                            3013                 Stipulation By Chesapeake Energy Corporation
                                                 and Eagle Ford MDL, CNOOC Energy U.S.A.
                            (5 pgs)              LLC f/k/a OOGC America LLC, Jamestown
                                                 Resources, L.L.C., Larchmont Resources, LLC,
                                                 and Pelican Energy, L.L.C., Eagle Ford MDL
                                                 Royalty Owner Plaintiffs. Does this document
                                                 include an agreed order or otherwise request that
                                                 the judge sign a document? Yes. (Filed By
                                                 Chesapeake Energy Corporation ). (Cavenaugh,
 02/01/2021                                      Matthew) (Entered: 02/01/2021)

                            3014                 Transcript RE: Motion for Relief from Stay;
                                                 Emergency Motion to Remand held on 01/29/21
                            (8 pgs)              before Judge David R. Jones. Transcript is
                                                 available for viewing in the Clerk's Office. Filed
                                                 by Transcript access will be restricted through
                                                 05/3/2021. (AccessTranscripts) (Entered:
 02/02/2021                                      02/02/2021)

                            3015
                                                 Motion for Entry of an Order (I) Authorizing and
                                                 Approving the Debtors' Entry Into a Consent
                            (108 pgs; 2 docs)
                                                 Decree By and Among the Debtors and the United
                                                 States on Behalf of the Environmental Protection
                                                 Agency and the Commonwealth of Pennsylvania,
                                                 Department of Environmental Protection and (II)
                                                 Granting Related Relief Filed by Debtor
                                                 Chesapeake Energy Corporation (Attachments: #




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 493 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 493 of 1639
                                                                           0493


                                                 1 Proposed Order) (Cavenaugh, Matthew)
 02/02/2021                                      (Entered: 02/02/2021)

                            3016                 Declaration re: Third Supplemental Declaration
                                                 of David MacGreevey of AlixPartners, LLP (Filed
                            (5 pgs)              By Official Committee Of Unsecured Creditors ).
 02/02/2021                                      (Harrison, Julie) (Entered: 02/02/2021)

                            3017                 Withdrawal of Claim: 11258 filed by Epiq
                                                 Corporate Restructuring, LLC on behalf of
                            (1 pg)               Enterprise Texas Pipeline LLC (Suarez, Hugo)
 02/03/2021                                      (Entered: 02/03/2021)

                            3018                 Proposed Order RE: Agreed Order Appointing
                                                 Judge Marvin Mediator (Filed By Chesapeake
                            (3 pgs)              Energy Corporation ).(Related document(s):1293
                                                 Motion for Relief From Stay, 2981 Emergency
                                                 Motion) (Cavenaugh, Matthew) (Entered:
 02/03/2021                                      02/03/2021)

                            3019                 Notice of Sixth Monthly Fee Statement of Alvarez
                                                 & Marsal North America, LLC for Compensation
                            (112 pgs)            for Services and Reimbursement of Expenses as
                                                 Restructuring and Financial Advisors to the
                                                 Debtors and Debtors in Possession for the Period
                                                 From December 1, 2020 Through December 31,
                                                 2020. (Related document(s):656 Generic Order)
                                                 Filed by Chesapeake Energy Corporation
 02/03/2021                                      (Cavenaugh, Matthew) (Entered: 02/03/2021)

                            3020                 Notice of First Monthly Fee Statement of
                                                 Rothschild & Co US Inc. as Investment Banker to
                            (14 pgs)             the Debtors, for Allowance and Payment of
                                                 Compensation for Professional Services Rendered
                                                 and Reimbursement of Actual and Necessary
                                                 Expenses Incurred From October 1, 2020
                                                 Through October 31, 2020. (Related document
                                                 (s):656 Generic Order) Filed by Chesapeake
                                                 Energy Corporation (Cavenaugh, Matthew)
 02/03/2021                                      (Entered: 02/03/2021)

                            3021                 Notice of Second Monthly Fee Statement of
                                                 Rothschild & Co US Inc. as Investment Banker to
                            (14 pgs)             the Debtors for Allowance and Payment of
                                                 Compensation for Professional Services Rendered
                                                 and Reimbursement of Actual and Necessary
                                                 Expenses Incurred From November 1, 2020




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 494 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 494 of 1639
                                                                           0494


                                                 Through November 30, 2020. (Related document
                                                 (s):656 Generic Order) Filed by Chesapeake
                                                 Energy Corporation (Cavenaugh, Matthew)
 02/03/2021                                      (Entered: 02/03/2021)

                            3022                 Notice of Third Monthly Fee Statement of
                                                 Rothschild & Co US Inc. as Investment Banker to
                            (15 pgs)             the Debtors for Allowance and Payment of
                                                 Compensation for Professional Services Rendered
                                                 and Reimbursement of Actual and Necessary
                                                 Expenses Incurred From December 1, 2020
                                                 Through December 31, 2020. (Related document
                                                 (s):656 Generic Order) Filed by Chesapeake
                                                 Energy Corporation (Cavenaugh, Matthew)
 02/03/2021                                      (Entered: 02/03/2021)

                            3023                 Withdrawal of Claim: 11838 filed by Epiq
                                                 Corporate Restructuring, LLC on behalf of
                            (1 pg)               Enterprise Gathering LLC (Garabato, Sid)
 02/03/2021                                      (Entered: 02/03/2021)

                            3024                 Withdrawal of Claim: 12287 filed by Epiq
                                                 Corporate Restructuring, LLC on behalf of
                            (1 pg)               Enterprise Texas Pipeline LLC (Garabato, Sid)
 02/03/2021                                      (Entered: 02/03/2021)

                            3025                 Stipulation By Chesapeake Energy Corporation
                                                 and Seitel Data, Ltd., Seitel Data Corp., Seitel
                            (19 pgs)             Offshore Corp.. Does this document include an
                                                 agreed order or otherwise request that the judge
                                                 sign a document? Yes. (Filed By Chesapeake
                                                 Energy Corporation ). (Cavenaugh, Matthew)
 02/03/2021                                      (Entered: 02/03/2021)

                            3026                 AO 435 TRANSCRIPT ORDER FORM (Daily
                                                 (24 hours)) by Michaela C. Crocker and Travis L.
                            (2 pgs)              Gray. This is to order a transcript of 07/31/2020
                                                 Hearing on Debtors' Emergency Motion for Entry
                                                 of Interim and Final Orders; and 08/31/2020
                                                 Hearing on Emergency Motion to Reject Certain
                                                 Executory Contracts before Judge David R. Jones.
                                                 Court Reporter/Transcriber: Access Transcripts
                                                 (Filed By ETC Texas Pipeline Ltd. ). (Crocker,
                                                 Michaela)Copy request was electronically
                                                 forwarded to Access Transcripts on 2-5-2021.
                                                 Estimated completion date: 2-6-2021. Modified
                                                 on 2/5/2021 (MelissaMorgan). (Entered:




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 495 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 495 of 1639
                                                                           0495


 02/03/2021                                      02/03/2021)

                            3027                 BNC Certificate of Mailing. (Related document
                                                 (s):3009 Notice of Filing of Official Transcript
                            (11 pgs)             (Form)) No. of Notices: 218. Notice Date
 02/03/2021                                      02/03/2021. (Admin.) (Entered: 02/04/2021)

                            3028                 Letter from Gaynell Spigner (Attachments: # 1
                                                 Exhibit # 2 Exhibit) (mmap) (Entered:
 02/04/2021                 (8 pgs; 3 docs)      02/04/2021)

                            3029                 Notice of Filing of Official Transcript as to 3014
                                                 Transcript. Parties notified (Related document
 02/04/2021                 (1 pg)               (s):3014 Transcript) (Olin) (Entered: 02/04/2021)

                            3030                 Proposed Order RE: Order Denying The
                                                 Commonwealth of Pennsylvania's (I) Motion for
                            (4 pgs)              Mandatory Abstention and (II) Motion for Relief
                                                 from Automatic Stay (Filed By Chesapeake
                                                 Energy Corporation ).(Related document(s):2109
                                                 Generic Motion, 2654 Objection, 2682 Motion for
                                                 Relief From Stay, 2921 Objection) (Cavenaugh,
 02/04/2021                                      Matthew) (Entered: 02/04/2021)

                            3031                 Notice of Appearance and Request for Notice
                                                 Filed by Lakia S McCline Filed by on behalf of
                            (6 pgs)              Deutsche Bank National Trust Company, as
                                                 Trustee for Ameriquest Mortgage Securities Inc.,
                                                 Asset-Backed Pass-Through Certificates, Series
 02/04/2021                                      2003-11 (McCline, Lakia) (Entered: 02/04/2021)

                                                 Certificate of Email Notice. Contacted E. Keiffer.
                                                 Movant to notice all interested parties and file a
                                                 certificate of service with the court (Related
                                                 document(s):2939 Motion to Reconsider)
                                                 Hearing scheduled for 2/17/2021 at 03:00 PM
                                                 at telephone and video conference. (aalo)
 02/04/2021                                      (Entered: 02/04/2021)

                            3032                 Notice of Hearing on Amended Motion to
                                                 Reconsider and Brief in Support and Certificate
                            (3 pgs)              of Service. (Related document(s):2939 Motion to
                                                 Reconsider) Filed by Ryan, LLC (Keiffer, Edwin)
 02/04/2021                                      (Entered: 02/04/2021)

                            3033




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 496 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 496 of 1639
                                                                           0496


                                                 Letter from Gaynell Spigner (Attachments: # 1
 02/04/2021                 (5 pgs; 2 docs)      Exhibit) (mmap) (Entered: 02/04/2021)

                            3034                 Statement Seventh Monthly Fee Statement of
                                                 Brown Rudnick LLP for Allowance of
                            (52 pgs)             Compensation for Services Rendered and for
                                                 Reimbursement of Expenses as Co-Counsel for
                                                 the Official Committee of Unsecured Creditors for
                                                 the Period from January 1, 2021 through January
                                                 31, 2021 (Filed By Official Committee Of
                                                 Unsecured Creditors ). (Harrison, Julie) (Entered:
 02/04/2021                                      02/04/2021)

                            3035                 Affidavit Re: Affidavit of Service of Angharad
                                                 Bowdler (Related document(s):2951) (Filed By
                            (824 pgs)            Epiq Corporate Restructuring LLC ). (Garabato,
 02/04/2021                                      Sid) (Entered: 02/04/2021)

                            3036                 Statement of Issues and Designation of Items to
                                                 be Included in Record of Appeal (Filed By ETC
                            (8 pgs)              Texas Pipeline Ltd. ). (Mitchell, John) (Entered:
 02/05/2021                                      02/05/2021)

                            3037                 BNC Certificate of Mailing. (Related document
                                                 (s):3029 Notice of Filing of Official Transcript
                            (11 pgs)             (Form)) No. of Notices: 218. Notice Date
 02/06/2021                                      02/06/2021. (Admin.) (Entered: 02/06/2021)

                            3038
                                                 Letter from Gaynell Spigner (Attachments: # 1
 02/08/2021                 (5 pgs; 2 docs)      Exhibit) (mmap) (Entered: 02/08/2021)

                            3039
                                                 Letter from Gaynell Spigner (Attachments: # 1
 02/08/2021                 (6 pgs; 2 docs)      Exhibit) (mmap) (Entered: 02/08/2021)

                            3040
                                                 Letter from Gaynell Spigner (Attachments: # 1
 02/08/2021                 (3 pgs; 2 docs)      Exhibit) (mmap) (Entered: 02/08/2021)

                            3041                 Agreed Order and Certificate of Counsel (Filed
                                                 By Chesapeake Energy Corporation ).(Related
                            (58 pgs; 3 docs)     document(s):2646 Generic Motion) (Attachments:
                                                 # 1 Proposed Order # 2 Redline) (Cavenaugh,
 02/08/2021                                      Matthew) (Entered: 02/08/2021)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 497 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 497 of 1639
                                                                           0497


                            3042                 Notice of Fee Statement of Kirkland & Ellis LLP
                                                 and Kirkland & Ellis International LLP for
                            (263 pgs)            Compensation for Services and Reimbursement of
                                                 Expenses as Attorneys to the Debtors and Debtors
                                                 In Possession for the Period from October 1,
                                                 2020, Through October 31, 2020. Filed by
                                                 Chesapeake Energy Corporation (Cavenaugh,
 02/08/2021                                      Matthew) (Entered: 02/08/2021)

                            3043                 Motion for Relief from Stay to proceed with
                                                 pending state court litigation. Fee Amount $188.
                            (15 pgs; 3 docs)     Filed by Creditor John Smith, R.J. Smith, Barbara
                                                 A. Smith, Linda Beran, Debbie Colley and Jamo
                                                 Enterprise Hearing scheduled for 3/11/2021 at
                                                 10:00 AM at Houston, Courtroom 400 (DRJ).
                                                 (Attachments: # 1 Exhibit A # 2 Proposed Order)
 02/08/2021                                      (Lauffer, Charles) (Entered: 02/08/2021)

                                                 Receipt of Motion for Relief From Stay(20-
                                                 33233) [motion,mrlfsty] ( 188.00) Filing Fee.
                                                 Receipt number 22805038. Fee amount $ 188.00.
 02/08/2021                                      (U.S. Treasury) (Entered: 02/08/2021)

                            3044                Declaration re: Second Supplemental Declaration
                                                of Adam Miller in Support of the Debtors'
                            (16 pgs)            Application for Entry of an Order Authorizing the
                                                Employment and Retention of Rothschild & Co US
                                                Inc. and Intrepid Partners, LLC as Investment
                                                Bankers to the Debtors (Filed By Chesapeake
                                                Energy Corporation ). (Cavenaugh, Matthew)
 02/08/2021                                     (Entered: 02/08/2021)

                            3045                Declaration re: Second Supplemental Declaration
                                                of Stephen Antinelli in Support of the Debtors'
                            (9 pgs)             Application for Entry of an Order Authorizing the
                                                Employment and Retention of Rothschild & Co US
                                                Inc. and Intrepid Partners, LLC as Investment
                                                Bankers to the Debtors (Filed By Chesapeake
                                                Energy Corporation ). (Cavenaugh, Matthew)
 02/08/2021                                     (Entered: 02/08/2021)

                            3046                Statement - Monthly Fee Statement of Forshey &
                                                Prostok, LLP for Allowance of Compensation for
                            (14 pgs)            Services Rendered and for Reimbursement of
                                                Expenses as Attorneys for the Official Committee
                                                of Royalty Owners for the Period from January 1,
                                                2021 through and including January 31, 2021




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 498 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 498 of 1639
                                                                           0498


                                                (Filed By Forshey & Prostok, LLP ).(Related
                                                document(s):656 Generic Order) (Prostok, Jeffrey)
 02/08/2021                                     (Entered: 02/08/2021)

                            3047                Emergency Motion for Entry of an Order (I)
                                                Authorizing and Approving the Settlement By and
                            (27 pgs; 2 docs)    Among the Debtors, The Co-Lessees, and Tornado
                                                Venture Seis, LP and (II) Granting Related Relief
                                                Filed by Debtor Chesapeake Energy Corporation
                                                (Attachments: # 1 Proposed Order) (Cavenaugh,
 02/08/2021                                     Matthew) (Entered: 02/08/2021)

                            3048                Affidavit Re: Affidavit of Service of Angharad
                                                Bowdler (Filed By Epiq Corporate Restructuring
                            (30 pgs)            LLC ).(Related document(s):2963 Notice, 2966
                                                Objection to Claim) (Garabato, Sid) (Entered:
 02/08/2021                                     02/08/2021)

                            3049                Order (I) Authorizing and Approving the
                                                Settlement By and Among the Debtors, the Co-
                            (2 pgs)             Lessees, and Tornado Venture Seis, and (II)
                                                Granting Related Relief (Related Doc # 3047)
                                                Signed on 2/9/2021. (emiller) (Entered:
 02/09/2021                                     02/09/2021)

                            3050                Order Approving (I) the Omnibus Claims
                                                Objection Procedures and (II) the Form of Notice
                            (20 pgs)            of Objection (Related Doc # 2646) Signed on
 02/09/2021                                     2/9/2021. (emiller) (Entered: 02/09/2021)

                            3051
                                                Letter from Gaynell Spigner (Attachments: # 1
 02/09/2021                 (5 pgs; 2 docs)     Exhibit) (mmap) (Entered: 02/09/2021)

                            3052                Statement Fourth Monthly Fee Statement of Back
                                                Bay Management Corporation and its Division, the
                            (35 pgs)            Michel-Shaked Group (Filed By Official
                                                Committee Of Unsecured Creditors ). (Harrison,
 02/09/2021                                     Julie) (Entered: 02/09/2021)


                                                Certificate of Telephone Notice. Contacted
                                                Veronica Polnick. Movant to notice all interested
                                                parties and file a certificate of service with the
                                                court (Related document(s):2914 Notice, 2915
                                                Order Confirming Chapter 11 Plan, 2946 Notice)
                                                Hearing scheduled for 2/22/2021 at 02:30 PM at




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 499 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 499 of 1639
                                                                           0499


 02/09/2021                                     telephone conference. (aalo) (Entered: 02/09/2021)

                            3053                Objection Debtors' Opposition to Ryan, LLC's
                                                Amended Motion to Reconsider (related document
                            (6472 pgs)          (s):2645 Motion to Reconsider, 2939 Motion to
                                                Reconsider). Filed by Chesapeake Energy
                                                Corporation (Cavenaugh, Matthew) (Entered:
 02/09/2021                                     02/09/2021)

                            3054                Notice of Fee Statement of Sherman & Sterling
                                                LLP for Compensation for Services and
                            (23 pgs)            Reimbursement of Expenses as Special Counsel to
                                                the Debtors and Debtors In Possession for the
                                                Period from December 1, 2020, through December
                                                31, 2020. Filed by Chesapeake Energy Corporation
 02/09/2021                                     (Cavenaugh, Matthew) (Entered: 02/09/2021)

                            3055                Objection (related document(s):2951 Motion to
                                                Extend Time). Filed by John Smith, R.J. Smith,
                            (3 pgs)             Barbara A. Smith, Linda Beran, Debbie Colley and
                                                Jamo Enterprise (Lauffer, Charles) (Entered:
 02/09/2021                                     02/09/2021)

                            3056                Order Granting First Interim Fee Application of
                                                Back Bay Management Corporation and its
                            (2 pgs)             Division, the Michel-Shaked Group, for Allowance
                                                of Compensation and Reimbursement of Expenses
                                                as Expert Valuation Consultant to the Official
                                                Committee of Unsecured Creditors for the Period
                                                September 1, 2020 through September 30, 2020
                                                (Related Doc # 2224). Signed on 2/9/2021.
 02/09/2021                                     (VrianaPortillo) (Entered: 02/09/2021)

                            3057                Notice of Reset Hearing on Seismic Agreements.
                                                (Related document(s):2914 Notice, 2915 Order
                            (4 pgs)             Confirming Chapter 11 Plan) Filed by Chesapeake
                                                Energy Corporation (Cavenaugh, Matthew)
 02/09/2021                                     (Entered: 02/09/2021)

                            3058                Notice of Entry of Order Confirming the Fifth
                                                Amended Joint Chapter 11 Plan of Reorganization
                            (4 pgs)             of Chesapeake Energy Corporation and Its Debtor
                                                Affiliates. Filed by Chesapeake Energy Corporation
 02/09/2021                                     (Cavenaugh, Matthew) (Entered: 02/09/2021)

                            3059




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 500 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 500 of 1639
                                                                           0500


                                                Withdrawal of Claim: 17 (Peeples Carter, D Layne)
 02/10/2021                 (1 pg)              (Entered: 02/10/2021)

                            3060                Stipulation and Agreed Order Regarding the
                                                Memorandum of Law in Support of Seitel Data,
                            (19 pgs)            Ltd.'s Objection to (I) the Second Amended Joint
                                                Chapter 11 Plan of Reorganization of Chesapeake
                                                Energy Corporation and its Debtor Affiliates, (II)
                                                the Assumption or Assumption and Assignment of
                                                Seitel's Master License Agreement, as Amended
                                                and (III) Notice of Opt Out Signed on 2/10/2021
                                                (Related document(s):3025 Stipulation) (emiller)
 02/10/2021                                     (Entered: 02/11/2021)

                            3061                Order Denying the Commonwealth of
                                                Pennsylvania's (1) Motion for Mandatory
                            (4 pgs)             Abstention and (2) Motion for Relief from
                                                Automatic Stay (Related Doc # 2109)(Related Doc
                                                # 2682) Signed on 2/10/2021. (emiller) (Entered:
 02/10/2021                                     02/11/2021)

                            3062
                                                Letter from Gaynell Spigner (mmap) (Entered:
 02/11/2021                 (3 pgs)             02/11/2021)

                            3063
                                                Letter from Gaynell Spigner (Attachments: # 1
 02/11/2021                 (4 pgs; 2 docs)     Exhibit) (mmap) (Entered: 02/11/2021)

                            3064                Notice of Stephen L. Iacovo Withdrawal as
                                                Counsel. Filed by Chesapeake Energy Corporation
 02/12/2021                 (3 pgs)             (Cavenaugh, Matthew) (Entered: 02/12/2021)

                            3065                Withdrawal of Claim: Karnes City ISD claim
                                                number 10041 with claims agent in the amount of
 02/12/2021                 (1 pg)              $1,841.79 (Stecker, Don) (Entered: 02/12/2021)

                            3066                Withdrawal of Claim: Karnes City ISD claim
                                                number 13296 with claims agent in the amount of
 02/12/2021                 (1 pg)              $1,420.48 (Stecker, Don) (Entered: 02/12/2021)

                            3067                Withdrawal of Claim: Zavala CAD claim number
                                                10043 with claims agent in the amount of $587.43
 02/12/2021                 (1 pg)              (Stecker, Don) (Entered: 02/12/2021)

                            3068
                                                Withdrawal of Claim: Zavala CAD claim number




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 501 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 501 of 1639
                                                                           0501


                                                13292 with claims agent in the amount of $559.65
 02/12/2021                 (1 pg)              (Stecker, Don) (Entered: 02/12/2021)

                            3069                Withdrawal of Claim: Culberson County claim
                                                number 10146 with claims agent in the amount of
 02/12/2021                 (1 pg)              $994.07 (Stecker, Don) (Entered: 02/12/2021)

                            3070                Withdrawal of Claim: Cotulla ISD claim number
                                                10054 with claims agent in the amount of
 02/12/2021                 (1 pg)              $2,937.11 (Stecker, Don) (Entered: 02/12/2021)

                            3071                Withdrawal of Claim: Cotulla ISD claim number
                                                13325 with claims agent in the amount of
 02/12/2021                 (1 pg)              $2,813.46 (Stecker, Don) (Entered: 02/12/2021)

                            3072                Withdrawal of Claim: Dilley ISD claim number
                                                10055 with claims agent in the amount of
 02/12/2021                 (1 pg)              $2,414.53 (Stecker, Don) (Entered: 02/12/2021)

                            3073                Withdrawal of Claim: Dilley ISD claim number
                                                13323 with claims agent in the amount of
 02/12/2021                 (1 pg)              $2,390.84 (Stecker, Don) (Entered: 02/12/2021)

                            3074                Withdrawal of Claim: La Salle County claim
                                                number 10057 with claims agent in the amount of
 02/12/2021                 (1 pg)              $1,092.31 (Stecker, Don) (Entered: 02/12/2021)

                            3075                Withdrawal of Claim: La Salle County claim
                                                number 13320 with claims agent in the amount of
 02/12/2021                 (1 pg)              $1,356.41 (Stecker, Don) (Entered: 02/12/2021)

                            3076                Withdrawal of Claim: Pearsall ISD claim number
                                                13319 with claims agent in the amount of
 02/12/2021                 (1 pg)              $7,364.13 (Stecker, Don) (Entered: 02/12/2021)

                            3077                Withdrawal of Claim: Atascosa County claim
                                                number 13293 with claims agent in the amount of
 02/12/2021                 (1 pg)              $210,262.29 (Stecker, Don) (Entered: 02/12/2021)

                            3078                Withdrawal of Claim: Cotulla ISD claim number
                                                10046 with claims agent in the amount of
                            (1 pg)              $4,271,465.84 (Stecker, Don) (Entered:
 02/12/2021                                     02/12/2021)

                            3079                Withdrawal of Claim: Cotulla ISD claim number
                                                13365 with claims agent in the amount of




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 502 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 502 of 1639
                                                                           0502


                            (1 pg)              $2,655,814.69 (Stecker, Don) (Entered:
 02/12/2021                                     02/12/2021)

                            3080                Withdrawal of Claim: Dilley ISD claim number
                                                10047 with claims agent in the amount of
                            (1 pg)              $2,955,286.53 (Stecker, Don) (Entered:
 02/12/2021                                     02/12/2021)

                            3081                Withdrawal of Claim: Dilley ISD claim number
                                                13324 with claims agent in the amount of
                            (1 pg)              $2,559,033.60 (Stecker, Don) (Entered:
 02/12/2021                                     02/12/2021)

                            3082                Withdrawal of Claim: Frio Hospital District claim
                                                number 10048 with claims agent in the amount of
 02/12/2021                 (1 pg)              $692.11 (Stecker, Don) (Entered: 02/12/2021)

                            3083                Withdrawal of Claim: Frio Hospital District claim
                                                number 13294 with claims agent in the amount of
 02/12/2021                 (1 pg)              $692.11 (Stecker, Don) (Entered: 02/12/2021)

                            3084                Withdrawal of Claim: La Salle County claim
                                                number 10049 with claims agent in the amount of
                            (1 pg)              $1,420,950.10 (Stecker, Don) (Entered:
 02/12/2021                                     02/12/2021)

                            3085                Withdrawal of Claim: La Salle County claim
                                                number 13364 with claims agent in the amount of
                            (1 pg)              $2,138,057.34 (Stecker, Don) (Entered:
 02/12/2021                                     02/12/2021)

                            3086                Withdrawal of Claim: McMullen County claim
                                                number 10050 with claims agent in the amount of
                            (1 pg)              $1,713,847.94 (Stecker, Don) (Entered:
 02/12/2021                                     02/12/2021)

                            3087                Withdrawal of Claim: McMullen County claim
                                                number 13297 with claims agent in the amount of
                            (1 pg)              $6,930,219.38 (Stecker, Don) (Entered:
 02/12/2021                                     02/12/2021)

                            3088                Withdrawal of Claim: Zavala CAD claim number
                                                10052 with claims agent in the amount of
 02/12/2021                 (1 pg)              $154,443.36 (Stecker, Don) (Entered: 02/12/2021)

                            3089                Withdrawal of Claim: Zavala CAD claim number




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 503 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 503 of 1639
                                                                           0503


                                                13295 with claims agent in the amount of
 02/12/2021                 (1 pg)              $145,823.52 (Stecker, Don) (Entered: 02/12/2021)

                            3090                Withdrawal of Claim: 3786 filed by Epiq
                                                Corporate Restructuring, LLC on behalf of Grouse
 02/12/2021                 (2 pgs)             Ridge LLC (Suarez, Hugo) (Entered: 02/12/2021)

                            3091                Notice of Amended Ordinary Course Professional
                                                List. Filed by Chesapeake Energy Corporation
 02/15/2021                 (5 pgs)             (Polnick, Veronica) (Entered: 02/15/2021)

                            3092                Declaration re: Declaration of Disinterestedness of
                                                Wachtell, Lipton, Rosen & Katz (Filed By
                            (4 pgs)             Chesapeake Energy Corporation ). (Polnick,
 02/15/2021                                     Veronica) (Entered: 02/15/2021)

                            3093                Stipulation By Chesapeake Energy Corporation
                                                and The Reorganized Debtors, the Eagle Ford
                            (5 pgs)             MDL Royalty Owner Plaintiffs, CNOOC Energy
                                                U.S.A. LLC, and Jamestown Resources, L.L.C.,
                                                Larchmont Resources, L.L.C, and Pelican Energy,
                                                L.L.C.. Does this document include an agreed
                                                order or otherwise request that the judge sign a
                                                document? Yes. (Filed By Chesapeake Energy
                                                Corporation ). (Polnick, Veronica) (Entered:
 02/15/2021                                     02/15/2021)

                            3094                Proposed Order RE: Agreed Amended Order (I)
                                                Authorizing the Rejection of the Ryan Tax
                            (7 pgs)             Contracts Effective as of November 18, 2020 and
                                                (II) Granting Related Relief (Filed By Chesapeake
                                                Energy Corporation ).(Related document(s):2939
                                                Motion to Reconsider) (Polnick, Veronica)
 02/15/2021                                     (Entered: 02/15/2021)

                            3095                Statement Sixth Monthly Fee Statement of
                                                AlixPartners, LLP, Financial Advisor to the
                            (104 pgs)           Official Committee Of Unsecured Creditors for
                                                Allowance of Compensation for Services Rendered
                                                for the Period December 1, 2020 through
                                                December 31, 2020 (Filed By Official Committee
                                                Of Unsecured Creditors ). (Harrison, Julie)
 02/16/2021                                     (Entered: 02/16/2021)

                            3096
                                                Agenda for Hearing on 2/17/2021 (Filed By
                                                Chesapeake Energy Corporation ). (Cavenaugh,




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 504 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 504 of 1639
                                                                           0504


 02/16/2021                 (4 pgs)             Matthew) (Entered: 02/16/2021)

                            3097                Notice of Appearance and Request for Notice Filed
                                                by William H Hoch Filed by on behalf of
                            (3 pgs)             Specketer Energy, LLC (Hoch, William) (Entered:
 02/17/2021                                     02/17/2021)

                            3098                Notice of Appearance and Request for Notice Filed
                                                by Tim J Gallegly Filed by on behalf of Specketer
                            (3 pgs)             Energy, LLC (Gallegly, Tim) (Entered:
 02/17/2021                                     02/17/2021)

                            3099                Notice of Cancellation of Hearing on Ryan, LLC's
                                                Amended Motion to Reconsider and Brief in
                            (2 pgs)             Support. (Related document(s):3032 Notice) Filed
                                                by Ryan, LLC (Keiffer, Edwin) (Entered:
 02/17/2021                                     02/17/2021)

                                                Certificate of Email Notice. Contacted John Pesnell
                                                and Matthew Cavenaugh. Movant to notice all
                                                interested parties and file a certificate of service
                                                with the court (Related document(s):1248 Motion
                                                for Relief From Stay) Hearing rescheduled for
                                                2/23/2021 at 04:00 PM by telephone and video
 02/17/2021                                     conference. (aalo) (Entered: 02/17/2021)

                            3100                Letter from Mohamed Eltaramsi (Related
                                                document(s):2833 Amended Chapter 11 Plan)
 02/17/2021                 (2 pgs)             (mmap) (Entered: 02/18/2021)

                            3101                Affidavit Re: Affidavit of Service of Angharad
                                                Bowdler (Filed By Epiq Corporate Restructuring
                            (88 pgs)            LLC ).(Related document(s):2942 Response)
 02/18/2021                                     (Garabato, Sid) (Entered: 02/18/2021)

                            3102                Affidavit Re: Affidavit of Service of Angharad
                                                Bowdler (Filed By Epiq Corporate Restructuring
                            (25 pgs)            LLC ).(Related document(s):3010 Notice)
 02/18/2021                                     (Garabato, Sid) (Entered: 02/18/2021)

                            3103                Affidavit Re: Affidavit of Service of Angharad
                                                Bowdler (Filed By Epiq Corporate Restructuring
                            (25 pgs)            LLC ).(Related document(s):3015 Generic Motion)
 02/18/2021                                     (Garabato, Sid) (Entered: 02/18/2021)

                            3104




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 505 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 505 of 1639
                                                                           0505


                                                Notice of Change of Address Filed by Michael
 02/19/2021                 (1 pg)              Antonio Anderson (mmap) (Entered: 02/19/2021)

                            3105                Affidavit Re: Affidavit of Service of Angharad
                                                Bowdler (Filed By Epiq Corporate Restructuring
                            (5 pgs)             LLC ).(Related document(s):3019 Notice, 3020
                                                Notice, 3021 Notice, 3022 Notice) (Garabato, Sid)
 02/19/2021                                     (Entered: 02/19/2021)

                            3106                Affidavit Re: Affidavit of Service of Angharad
                                                Bowdler (Filed By Epiq Corporate Restructuring
                            (4 pgs)             LLC ).(Related document(s):3042 Notice)
 02/19/2021                                     (Garabato, Sid) (Entered: 02/19/2021)

                            3107                Affidavit Re: Affidavit of Service of Angharad
                                                Bowdler (Filed By Epiq Corporate Restructuring
                            (26 pgs)            LLC ).(Related document(s):3041 Agreed Order
                                                and Certificate of Counsel, 3044 Declaration, 3045
 02/19/2021                                     Declaration) (Garabato, Sid) (Entered: 02/19/2021)

                            3108                Certificate of No Objection with Respect to the
                                                First Interim Fee Application of Alvarez & Marsal
                            (5 pgs; 2 docs)     North America, LLC (Filed By Chesapeake Energy
                                                Corporation ).(Related document(s):2536
                                                Application for Compensation) (Attachments: # 1
                                                Proposed Order) (Cavenaugh, Matthew) (Entered:
 02/20/2021                                     02/20/2021)

                                                Certificate of Email Notice. Contacted Veronica
                                                Polnick. The hearing scheduled for 2/22/2021 at
                                                2:30 PM has been adjourned by agreement. Movant
                                                to notice all interested parties and file a certificate
                                                of service with the court (Related document
                                                (s):2914 Notice, 2915 Order Confirming Chapter
                                                11 Plan, Certificate of Notice) Hearing
                                                rescheduled for 3/12/2021 at 09:00 AM by
                                                telephone and video conference. (aalo) (Entered:
 02/22/2021                                     02/22/2021)

                            3109                Notice of Reset of Hearing on Seismic Agreements.
                                                (Related document(s):2914 Notice, 2915 Order
                            (3 pgs)             Confirming Chapter 11 Plan) Filed by Chesapeake
                                                Energy Corporation (Cavenaugh, Matthew)
 02/22/2021                                     (Entered: 02/22/2021)

                            3110
                                                Notice of Sixth Monthly Fee Statement of




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                         5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 506 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 506 of 1639
                                                                           0506


                                                PricewaterhouseCoopers LLP for Services
                            (100 pgs)           Rendered and Reimbursement of Expenses as Audit
                                                Services and Tax Consulting Services Provider for
                                                the Debtors for the Period December 1, 2020
                                                Through December 31, 2020. (Related document
                                                (s):656 Generic Order) Filed by Chesapeake
                                                Energy Corporation (Cavenaugh, Matthew)
 02/22/2021                                     (Entered: 02/22/2021)

                            3111                Objection to Claim Number by Claimant
                                                Reorganized Debtors' Third Omnibus Objection to
                            (33 pgs; 2 docs)    Certain Proofs of Claim (Amended Claims)
                                                Hearing scheduled for 3/29/2021 at 02:30 PM at
                                                Houston, Courtroom 400 (DRJ). (Attachments: # 1
                                                Proposed Order)(Cavenaugh, Matthew) (Entered:
 02/22/2021                                     02/22/2021)

                            3112                Objection to Claim Number by Claimant
                                                Reorganized Debtors' First Omnibus Objection to
                            (212 pgs; 2 docs)   Certain Proofs of Claim (Beneficial Bondholder
                                                Duplicate Claims) Hearing scheduled for
                                                3/29/2021 at 02:30 PM at Houston, Courtroom 400
                                                (DRJ). (Attachments: # 1 Proposed Order)
 02/22/2021                                     (Cavenaugh, Matthew) (Entered: 02/22/2021)

                            3113                Objection to Claim Number by Claimant
                                                Reorganized Debtors' Second Omnibus Objection
                            (27 pgs; 2 docs)    to Certain Proofs of Claim (Duplicate Claims)
                                                Hearing scheduled for 3/29/2021 at 02:30 PM at
                                                Houston, Courtroom 400 (DRJ). (Attachments: # 1
                                                Proposed Order)(Cavenaugh, Matthew) (Entered:
 02/22/2021                                     02/22/2021)

                            3114                Objection to Claim Number by Claimant
                                                Reorganized Debtors' Fourth Omnibus Objection
                            (110 pgs; 2 docs)   to Certain Proofs of Claim (Equity Interest Claims)
                                                Hearing scheduled for 3/29/2021 at 02:30 PM at
                                                Houston, Courtroom 400 (DRJ). (Attachments: # 1
                                                Proposed Order)(Cavenaugh, Matthew) (Entered:
 02/22/2021                                     02/22/2021)

                            3115                Withdrawal of Claim: Amended Notice of
                                                Withdrawal for Frio Hospital District claim
                            (1 pg)              number 13294 with claims agent in the amount of
                                                $828.64 (related document 3083) (Stecker, Don)
 02/22/2021                                     (Entered: 02/22/2021)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 507 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 507 of 1639
                                                                           0507


                            3116                Withdrawal of Claim: Amended Notice of
                                                Withdrawal for McMullen County claim number
                            (1 pg)              10050 with claims agent in the amount of
                                                $1,719,847.94 (related document 3086) (Stecker,
 02/22/2021                                     Don) (Entered: 02/22/2021)

                            3117                Debtors Master Service List (Filed By Epiq
                                                Corporate Restructuring LLC ). (Garabato, Sid)
 02/22/2021                 (62 pgs)            (Entered: 02/22/2021)

                            3118                Stipulation By Chesapeake Energy Corporation
                                                and WesternGeco LLC. Does this document
                            (6 pgs)             include an agreed order or otherwise request that
                                                the judge sign a document? Yes. (Filed By
                                                Chesapeake Energy Corporation ).(Related
                                                document(s):2106 Objection) (Cavenaugh,
 02/22/2021                                     Matthew) (Entered: 02/22/2021)

                            3119                Certificate of No Objection with Respect to the
                                                First Interim Fee Application of Kirkland & Ellis
                            (6 pgs; 2 docs)     LLP and Kirkland & Ellis International LLP,
                                                Attorneys for the Debtors and Debtors in
                                                Possession, for the Period from June 28, 2020
                                                Through and Including September 30, 2020 (Filed
                                                By Chesapeake Energy Corporation ).(Related
                                                document(s):2977 Application for Compensation)
                                                (Attachments: # 1 Proposed Order) (Cavenaugh,
 02/22/2021                                     Matthew) (Entered: 02/22/2021)

                            3120                Stipulation By Chesapeake Energy Corporation
                                                and CGG Land (U.S.) Inc.. Does this document
                            (4 pgs)             include an agreed order or otherwise request that
                                                the judge sign a document? Yes. (Filed By
                                                Chesapeake Energy Corporation ). (Cavenaugh,
 02/23/2021                                     Matthew) (Entered: 02/23/2021)

                            3121                Motion to Appear pro hac vice Kevin Liang. Filed
                                                by Debtor Chesapeake Energy Corporation
 02/23/2021                 (1 pg)              (Cavenaugh, Matthew) (Entered: 02/23/2021)

                            3122                Stipulation and Agreed Order Regarding
                                                Westerngeco LLC's Objection to (I) the Second
                            (6 pgs)             Amended Joint Chapter 11 Plan of Reorganization
                                                of Chesapeake Energy Corporation and its Debtor
                                                Affiliates, (II) the Assumption or Assumption and
                                                Assignment of Westerngeco LLC's Master License
                                                Agreement, as Amended and (III) Notice of OPT




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 508 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 508 of 1639
                                                                           0508


                                                Out Signed on 2/23/2021 (Related document
                                                (s):3118 Stipulation) (VrianaPortillo) (Entered:
 02/23/2021                                     02/23/2021)

                            3123                Order Granting First Interim Fee Application of
                                                Kirkland & Ellis LLP and Kirland & Ellis
                            (2 pgs)             International LLP, Attorneys for the Debtors and
                                                Debtors in Possession, for the Period from June 28,
                                                2020 through and Including September 30, 2020
                                                (Related Doc # 2977). Signed on 2/23/2021.
 02/23/2021                                     (VrianaPortillo) (Entered: 02/23/2021)

                            3124                Agreed Amended Order (I) Authorizing the
                                                Rejection of the Ryan Tax Contracts Effective as of
                            (7 pgs)             November 18, 2020 and (II) Granting Related
                                                Relief Signed on 2/23/2021 (Related document
                                                (s):1857 Generic Motion, 2645 Motion to
                                                Reconsider, 2939 Motion to Reconsider)
 02/23/2021                                     (VrianaPortillo) (Entered: 02/23/2021)

                            3125                Agreed Notice of Withdrawal. (Related document
                                                (s):1248 Motion for Relief From Stay) Filed by
                            (3 pgs)             John H. Bedsole (Pesnell, John) (Entered:
 02/23/2021                                     02/23/2021)

                            3126                Stipulation By Chesapeake Energy Corporation
                                                and Aparicion Royalty Owners. Does this
                            (12 pgs)            document include an agreed order or otherwise
                                                request that the judge sign a document? Yes. (Filed
                                                By Chesapeake Energy Corporation ). (Cavenaugh,
 02/23/2021                                     Matthew) (Entered: 02/23/2021)

                            3127                Order Granting First Interim Fee Application of
                                                Alvarez & Marsal North America, LLC as the
                            (2 pgs)             Debtors' Restructuring Advisor for Allowance of
                                                Compensation and Reimbursement of Expenses for
                                                the Period June 28, 2020 through September 30,
                                                2020 (Related Doc # 2536). Signed on 2/25/2021.
 02/25/2021                                     (VrianaPortillo) (Entered: 02/25/2021)

                            3133                Notice of Change of Address Filed by Michael
                                                Antonio Anderson (ShadiaNash) (Entered:
 02/25/2021                 (1 pg)              02/26/2021)

                            3128
                                                Motion to Withdraw as Attorney.
                                                Objections/Request for Hearing Due in 21 days.




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 509 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 509 of 1639
                                                                           0509


                            (3 pgs; 2 docs)     Filed by Interested Party Wyoming Department of
                                                Environmental Quality (Attachments: # 1 Proposed
 02/26/2021                                     Order) (Shaw, Kelly) (Entered: 02/26/2021)

                            3129                Withdrawal of Claim: Bexar County Claim Number
                                                10014 with claims agent in the amount of
 02/26/2021                 (1 pg)              $4,699.38 (Stecker, Don) (Entered: 02/26/2021)

                            3130                Withdrawal of Claim: Bexar County Claim Number
                                                13327 with claims agent in the amount of
 02/26/2021                 (1 pg)              $4,660.24 (Stecker, Don) (Entered: 02/26/2021)

                                                Certificate of Telephone Notice. Contacted
                                                Veronica Polnick. Movant to notice all interested
                                                parties and file a certificate of service with the
                                                court (Related document(s):3111 Objection to
                                                Claim, 3112 Objection to Claim, 3113 Objection to
                                                Claim, 3114 Objection to Claim) Hearing
                                                rescheduled for 4/8/2021 at 02:30 PM by
                                                telephone and video conference. (aalo) (Entered:
 02/26/2021                                     02/26/2021)

                            3131                Motion for 2004 Examination. Filed by Creditor
                                                Robert R Luchetti (Attachments: # 1 Exhibit)
 02/26/2021                 (4 pgs; 2 docs)     (Proctor, Michael) (Entered: 02/26/2021)

                            3132                Motion Reorganized Debtors' Motion for Entry of
                                                an Order (I) Further Extending the Time Within
                            (9 pgs; 2 docs)     Which the Reorganized Debtors May Remove
                                                Actions and (II) Granting Related Relief Filed by
                                                Debtor Chesapeake Energy Corporation
                                                (Attachments: # 1 Proposed Order) (Cavenaugh,
 02/26/2021                                     Matthew) (Entered: 02/26/2021)

                            3134                Withdrawal of Claim: 12799 filed by Epiq
                                                Corporate Restructuring, LLC on behalf of SBA
                            (2 pgs)             Monarch Towers I LLC (Suarez, Hugo) (Entered:
 02/27/2021                                     02/27/2021)

                            3135                Notice of Fourth Amended Plan Supplement for the
                                                Fifth Amended Joint Chapter 11 Plan of
                            (3171 pgs)          Reorganization of Chesapeake Energy Corporation
                                                and its Debtor Affiliates. (Related document
                                                (s):2833 Amended Chapter 11 Plan) Filed by
                                                Chesapeake Energy Corporation (Cavenaugh,
 02/27/2021                                     Matthew) (Entered: 02/27/2021)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 510 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 510 of 1639
                                                                           0510


                            3136                Affidavit Re: Affidavit of Service of Angharad
                                                Bowdler (Filed By Epiq Corporate Restructuring
                            (3 pgs)             LLC ).(Related document(s):3110 Notice)
 02/28/2021                                     (Garabato, Sid) (Entered: 02/28/2021)

                            3137                Emergency Motion Reorganized Debtors'
                                                Emergency Motion for Entry of an Order
                            (11 pgs; 2 docs)    Authorizing the Reorganized Debtors to File the
                                                ET Settlement Motion Under Seal Filed by Debtor
                                                Chesapeake Energy Corporation (Attachments: # 1
                                                Proposed Order) (Cavenaugh, Matthew) (Entered:
 02/28/2021                                     02/28/2021)

                            3138                Emergency Motion Reorganized Debtors' Motion
                                                for Entry of an Order (I) Approving the Settlement
                            (35 pgs; 2 docs)    By and Among the Reorganized Debtors and ET,
                                                (II) Authorizing the Reorganized Debtors'
                                                Performance of Obligations Thereunder, and (III)
                                                Granting Related Relief Filed by Debtor
                                                Chesapeake Energy Corporation (Attachments: # 1
                                                Proposed Order) (Cavenaugh, Matthew) (Entered:
 02/28/2021                                     02/28/2021)

                            3139
                                                Letter from William King (mmap) (Entered:
 03/01/2021                 (2 pgs)             03/01/2021)

                            3140                Order Granting Motion To Appear pro hac vice -
                                                Kevin Liang (Related Doc # 3121) Signed on
 03/01/2021                 (1 pg)              3/1/2021. (emiller) (Entered: 03/01/2021)

                            3141                Withdrawal of Claim: 12507 filed by Epiq
                                                Corporate Restructuring, LLC on behalf of
                            (1 pg)              Larchmont Resources LLC (Suarez, Hugo)
 03/01/2021                                     (Entered: 03/01/2021)

                            3142                Withdrawal of Claim: 12513 filed by Epiq
                                                Corporate Restructuring, LLC on behalf of Pelican
 03/01/2021                 (1 pg)              Energy LLC (Suarez, Hugo) (Entered: 03/01/2021)

                            3143                Withdrawal of Claim: 12525 filed by Epiq
                                                Corporate Restructuring, LLC on behalf of Pelican
 03/01/2021                 (1 pg)              Energy LLC (Suarez, Hugo) (Entered: 03/01/2021)

                            3147
                                                Agreed Order Appointing Judge Marvin Mediator
                                                Signed on 3/1/2021 (Related document(s):1293




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 511 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 511 of 1639
                                                                           0511


                            (3 pgs)             Motion for Relief From Stay, 2981 Emergency
 03/01/2021                                     Motion) (VrianaPortillo) (Entered: 03/02/2021)

                            3144                Notice of Removal to the United States Bankruptcy
                                                Court for the Western District of Oklahoma. Filed
                            (15 pgs; 3 docs)    by Chesapeake Exploration, L.L.C., Chesapeake
                                                Operating, L.L.C. (Attachments: # 1 Exhibit A # 2
                                                Exhibit B) (Cavenaugh, Matthew) (Entered:
 03/02/2021                                     03/02/2021)

                            3145                Objection to Claim Number by Claimant
                                                Reorganized Debtors' Amended Second Omnibus
                            (56 pgs; 3 docs)    Objection to Certain Proofs of Claim (Duplicate
                                                Claims) Hearing scheduled for 4/8/2021 at 02:30
                                                PM at Houston, Courtroom 400 (DRJ).
                                                (Attachments: # 1 Proposed Order # 2 Redline)
 03/02/2021                                     (Cavenaugh, Matthew) (Entered: 03/02/2021)

                            3146                Objection to Claim Number by Claimant
                                                Reorganized Debtors' Amended Third Omnibus
                            (69 pgs; 3 docs)    Objection to Certain Proofs of Claim (Amended
                                                Claims) Hearing scheduled for 4/8/2021 at 02:30
                                                PM at Houston, Courtroom 400 (DRJ).
                                                (Attachments: # 1 Proposed Order # 2 Redline)
 03/02/2021                                     (Cavenaugh, Matthew) (Entered: 03/02/2021)

                            3148                Objection to Claim Number by Claimant
                                                Reorganized Debtors' Amended Fourth Omnibus
                            (279 pgs; 3 docs)   Objection to Certain Proofs of Claim (Equity
                                                Interest Claims) Hearing scheduled for 4/8/2021 at
                                                02:30 PM at Houston, Courtroom 400 (DRJ).
                                                (Attachments: # 1 Proposed Order # 2 Redline)
 03/02/2021                                     (Cavenaugh, Matthew) (Entered: 03/02/2021)

                            3149                Withdraw Document (Filed By John Smith, R.J.
                                                Smith, Barbara A. Smith, Linda Beran, Debbie
                            (2 pgs)             Colley and Jamo Enterprise ).(Related document
                                                (s):3043 Motion for Relief From Stay) (Lauffer,
 03/02/2021                                     Charles) (Entered: 03/02/2021)

                            3150                Stipulation and Agreed Order Regarding the
                                                Aparicion Royalty Owners' Proofs of Claim No.
                            (12 pgs)            12862, 12872, 12917, 12924, 12933, and 12943
                                                Signed on 3/2/2021 (Related document(s):3126
 03/02/2021                                     Stipulation) (VrianaPortillo) (Entered: 03/02/2021)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 512 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 512 of 1639
                                                                           0512


                            3151                Notice of Hearing on Omnibus Claim Objections.
                                                (Related document(s):3111 Objection to Claim,
                            (4 pgs)             3112 Objection to Claim, 3113 Objection to Claim,
                                                3114 Objection to Claim, 3145 Objection to Claim,
                                                3146 Objection to Claim, 3148 Objection to Claim)
                                                Filed by Chesapeake Energy Corporation
 03/02/2021                                     (Cavenaugh, Matthew) (Entered: 03/02/2021)

                            3152                Stipulation By Chesapeake Energy Corporation
                                                and Dwight Lewis Lumber Company, Inc. and
                            (24 pgs)            Dwight G. Lewis Testamentary Business Asset
                                                Marital Trust. Does this document include an
                                                agreed order or otherwise request that the judge
                                                sign a document? Yes. (Filed By Chesapeake
                                                Energy Corporation ). (Cavenaugh, Matthew)
 03/02/2021                                     (Entered: 03/02/2021)

                            3153                Stipulation By Chesapeake Energy Corporation
                                                and The Eagle Ford MDL Royalty Owner
                            (5 pgs)             Plaintiffs, CEU, and JLP. Does this document
                                                include an agreed order or otherwise request that
                                                the judge sign a document? Yes. (Filed By
                                                Chesapeake Energy Corporation ). (Cavenaugh,
 03/02/2021                                     Matthew) (Entered: 03/02/2021)

                            3154                Motion Reorganized Debtors' Motion for Entry of
                                                an Order (I) Authorizing (A) Allowance of the
                            (112 pgs; 2 docs)   Faith Ranch Claim and (B) Assumption of the
                                                Supplemental Joint Operating Services
                                                Agreements, By and Between the Reorganized
                                                Debtors and Jamestown Resources, L.L.C.,
                                                Larchmont Resources, L.L.C. and Pelican
                                                Resources, L.L.C., Each as Amended, and (II)
                                                Granting Related Relief Filed by Debtor
                                                Chesapeake Energy Corporation Hearing scheduled
                                                for 3/26/2021 at 10:45 AM at telephone and video
                                                conference. (Attachments: # 1 Proposed Order)
 03/02/2021                                     (Cavenaugh, Matthew) (Entered: 03/02/2021)

                            3155                Withdrawal of Claim: 12923 filed by Epiq
                                                Corporate Restructuring, LLC on behalf of
                            (2 pgs)             Anadarko E&P Onshore LLC (Suarez, Hugo)
 03/03/2021                                     (Entered: 03/03/2021)

                            3156                Withdrawal of Claim: 12939 filed by Epiq
                                                Corporate Restructuring, LLC on behalf of
                            (2 pgs)             Anadarko E&P Onshore LLC (Suarez, Hugo)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 513 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 513 of 1639
                                                                           0513


 03/03/2021                                     (Entered: 03/03/2021)

                            3157
                                                Letter from Gaynell Spigner (mmap) (Entered:
 03/03/2021                 (2 pgs)             03/03/2021)

                            3158                Notice of Joinder. (Related document(s):2785
                                                Generic Motion) Filed by United States of America
 03/03/2021                 (4 pgs)             (Kincheloe, Richard) (Entered: 03/03/2021)

                            3159                Withdrawal of Claim: 11929 filed by Epiq
                                                Corporate Restructuring, LLC on behalf of
                            (1 pg)              Diversified Production LLC (Suarez, Hugo)
 03/03/2021                                     (Entered: 03/03/2021)

                            3160                Withdrawal of Claim: 12326 filed by Epiq
                                                Corporate Restructuring, LLC on behalf of
                            (1 pg)              Diversified Production LLC (Suarez, Hugo)
 03/03/2021                                     (Entered: 03/03/2021)

                            3161                Withdrawal of Claim: 128 filed by Epiq Corporate
                                                Restructuring, LLC on behalf of Taylor Strategies
                            (1 pg)              & Consulting LLC (Suarez, Hugo) (Entered:
 03/03/2021                                     03/03/2021)

                            3162                Withdrawal of Claim: 1471 filed by Epiq
                                                Corporate Restructuring, LLC on behalf of DCP
                            (1 pg)              Operating Company LP (Suarez, Hugo) (Entered:
 03/03/2021                                     03/03/2021)

                            3163                Withdrawal of Claim: 3 filed by Epiq Corporate
                                                Restructuring, LLC on behalf of Accounting
 03/03/2021                 (1 pg)              Principals (Suarez, Hugo) (Entered: 03/03/2021)

                            3164                Withdrawal of Claim: 12579 filed by Epiq
                                                Corporate Restructuring, LLC on behalf of
                            (1 pg)              Contango Oil & Gas (Suarez, Hugo) (Entered:
 03/03/2021                                     03/03/2021)

                            3165                Emergency Motion for Entry of an Order
                                                Authorizing the Reorganized Debtors to File the
                            (11 pgs; 2 docs)    Reorganized Debtors' and ET's Exhibit List Under
                                                Seal Filed by Debtor Chesapeake Energy
                                                Corporation (Attachments: # 1 Proposed Order)
 03/04/2021                                     (Cavenaugh, Matthew) (Entered: 03/04/2021)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 514 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 514 of 1639
                                                                           0514


                            3166                Exhibit List, Witness List (Filed By Chesapeake
                                                Energy Corporation ).(Related document(s):3137
                            (42 pgs; 15 docs)   Emergency Motion, 3138 Emergency Motion)
                                                (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3
                                                Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6 Exhibit 6
                                                # 7 Exhibit 7 # 8 Exhibit 8 # 9 Exhibit 9 # 10
                                                Exhibit 10 # 11 Exhibit 11 # 12 Exhibit 12 # 13
                                                Exhibit 13 # 14 Exhibit 14) (Cavenaugh, Matthew)
 03/04/2021                                     (Entered: 03/04/2021)

                            3167                Notice Notification of Removal to the United States
                                                Bankruptcy Court for The Western District of
                            (17 pgs; 3 docs)    Oklahoma. Filed by Chesapeake Energy
                                                Corporation (Attachments: # 1 Exhibit A # 2
                                                Exhibit B) (Cavenaugh, Matthew) (Entered:
 03/04/2021                                     03/04/2021)

                            3168                Notice of Change of Address Filed by Eddye
                                                Dreyer Financial Services (mmap) (Entered:
 03/04/2021                 (6 pgs)             03/04/2021)

                            3169                Affidavit Re: Affidavit of Service of Angharad
                                                Bowdler (Filed By Epiq Corporate Restructuring
                            (42 pgs)            LLC ).(Related document(s):3053 Objection, 3057
 03/04/2021                                     Notice) (Garabato, Sid) (Entered: 03/04/2021)

                            3170                Affidavit Re: Affidavit of Service of Angharad
                                                Bowdler (Filed By Epiq Corporate Restructuring
                            (4 pgs)             LLC ).(Related document(s):3054 Notice)
 03/04/2021                                     (Garabato, Sid) (Entered: 03/04/2021)

                            3171                BNC Certificate of Mailing. (Related document
                                                (s):3147 Generic Order) No. of Notices: 222.
                            (14 pgs)            Notice Date 03/04/2021. (Admin.) (Entered:
 03/04/2021                                     03/04/2021)

                            3172                BNC Certificate of Mailing. (Related document
                                                (s):3150 Generic Order) No. of Notices: 222.
                            (23 pgs)            Notice Date 03/04/2021. (Admin.) (Entered:
 03/04/2021                                     03/04/2021)

                            3174
                                                Letter from Eric Hall re: Claim #10380.
 03/04/2021                 (2 pgs)             (ShadiaNash) (Entered: 03/05/2021)

                            3173
                                                Proposed Order RE: Order (I) Authorizing and




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 515 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 515 of 1639
                                                                           0515


                                                Approving the Consent Decree and Environmental
                            (6 pgs; 2 docs)     Settlement Agreement By and Among the Debtors
                                                and The United States on Behalf of The
                                                Environmental Protection Agency, and (II)
                                                Granting Related Relief (Filed By Chesapeake
                                                Energy Corporation ).(Related document(s):2785
                                                Generic Motion, 3158 Notice) (Attachments: # 1
 03/05/2021                                     Redline) (Peguero, Kristhy) (Entered: 03/05/2021)

                            3175                Application to Compromise Controversy
                                                Reorganized Debtors' Motion for Entry of Orders
                            (156 pgs; 5 docs)   (I) Authorizing and Approving (A) the PG AG
                                                Settlement, (B) the MEC Settlement, and (C) the
                                                Non-MEC Settlement, and (II) Granting Related
                                                Relief. Objections/Request for Hearing Due in 21
                                                days. Filed by Debtor Chesapeake Energy
                                                Corporation (Attachments: # 1 Proposed Order # 2
                                                Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4) (Cavenaugh,
 03/05/2021                                     Matthew) (Entered: 03/05/2021)

                            3176                Notice of Periodic Report Regarding Value,
                                                Operations, and Profitability of Entities in Which
                            (12 pgs)            the Debtor's Estate Holds a Substantial or
                                                Controlling Interest. Filed by Chesapeake Energy
                                                Corporation (Cavenaugh, Matthew) (Entered:
 03/05/2021                                     03/05/2021)

                            3177                Debtor-In-Possession Monthly Operating Report
                                                for Filing Period ending 12/31/2020, $536,355
                            (13 pgs)            disbursed (Filed By Chesapeake Energy
                                                Corporation ). (Cavenaugh, Matthew) (Entered:
 03/05/2021                                     03/05/2021)

                            3178                Notice of Hearing on Emergency Motion
                                                Approving the Settlement By and Among the
                            (3 pgs)             Reorganized Debtors and ET. (Related document
                                                (s):3138 Emergency Motion) Filed by Chesapeake
                                                Energy Corporation (Cavenaugh, Matthew)
 03/05/2021                                     (Entered: 03/05/2021)

                            3179                Motion To Substitute Attorney. Filed by Interested
                                                Parties Eric Petroleum Corporation, Eric Petroleum
                            (5 pgs; 2 docs)     Utica, LLC (Attachments: # 1 Proposed Order)
 03/08/2021                                     (Flores, Henry) (Entered: 03/08/2021)

                            3180                Motion to Appear pro hac vice of Randolph L.
                                                Snow. Filed by Interested Parties Eric Petroleum




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 516 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 516 of 1639
                                                                           0516


                            (1 pg)              Corporation, Eric Petroleum Utica, LLC (Flores,
 03/08/2021                                     Henry) (Entered: 03/08/2021)

                            3181                Motion to Appear pro hac vice of Chrysanthe E.
                                                Vassiles. Filed by Interested Parties Eric Petroleum
                            (1 pg)              Corporation, Eric Petroleum Utica, LLC (Flores,
 03/08/2021                                     Henry) (Entered: 03/08/2021)

                            3182                Motion to Appear pro hac vice of James M.
                                                Wherley, Jr.. Filed by Interested Parties Eric
                            (1 pg)              Petroleum Corporation, Eric Petroleum Utica, LLC
 03/08/2021                                     (Flores, Henry) (Entered: 03/08/2021)

                            3183                Notice of Seventh Monthly Fee Statement of
                                                PricewaterhouseCoopers LLP for Services
                            (78 pgs)            Rendered and Reimbursement of Expenses as Audit
                                                Services and Tax Consulting Services Provider for
                                                the Debtors for the Period January 1, 2021
                                                Through January 31, 2021. (Related document
                                                (s):656 Generic Order) Filed by Chesapeake
                                                Energy Corporation (Cavenaugh, Matthew)
 03/08/2021                                     (Entered: 03/08/2021)

                            3184
                                                Response (related document(s):3050 Generic
 03/08/2021                 (23 pgs)            Order). (mmap) (Entered: 03/08/2021)

                            3185                Notice of Seventh Montly Fee Statement of
                                                PricewaterhouseCoopers LLP for Services
                            (78 pgs)            Rendered and Reimbursement of Expenses as Audit
                                                Services and Tax Consulting Services Provider for
                                                the Debtors for the Period January 1, 2021
                                                Through January 15, 2021. Filed by Chesapeake
                                                Energy Corporation (Cavenaugh, Matthew)
 03/08/2021                                     (Entered: 03/08/2021)

                            3186                Statement Reservation of Rights of Epsilon Energy
                                                USA, Inc. to Assert Administrative Expense Claim
                            (3 pgs)             (Filed By Epsilon Energy USA, Inc. ).(Related
                                                document(s):3058 Notice) (McGavran, A)
 03/08/2021                                     (Entered: 03/08/2021)

                            3187                Order Authorizing the Reorganized Debtors to File
                                                the ET Settlement Motion Under Seal (Related Doc
                            (3 pgs)             # 3137) Signed on 3/8/2021. (emiller) (Entered:
 03/08/2021                                     03/08/2021)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 517 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 517 of 1639
                                                                           0517


                            3188                Stipulation and Agreed Order Regarding the Lewis
                                                Lumber Proof of Claims No. 2815 and 2816
                            (24 pgs)            Signed on 3/8/2021 (Related document(s):3152
 03/08/2021                                     Stipulation) (emiller) (Entered: 03/08/2021)

                            3189                Withdrawal of Claim: 10288 filed by Epiq
                                                Corporate Restructuring, LLC on behalf of Nelson
 03/08/2021                 (2 pgs)             Chen (Suarez, Hugo) (Entered: 03/08/2021)

                            3190                Withdrawal of Claim: 10304 filed by Epiq
                                                Corporate Restructuring, LLC on behalf of Hui
 03/08/2021                 (2 pgs)             Chuan Chen (Suarez, Hugo) (Entered: 03/08/2021)

                            3191                Third Supplemental Stipulation and Agreed Order
                                                By and Among the Reorganized Debtors, the Eagle
                            (5 pgs)             Ford MDL Royalty Owner Plaintiffs, CEU, and
                                                JLP Signed on 3/8/2021 (Related document
                                                (s):3153 Stipulation) (emiller) (Entered:
 03/08/2021                                     03/08/2021)

                            3192                Order Authorizing the Reorganized Debtors to File
                                                the Reorganized Debtors' and ET's Exhibit List
                            (3 pgs)             Under Seal (Related Doc # 3165) Signed on
 03/08/2021                                     3/8/2021. (emiller) (Entered: 03/08/2021)

                            3193                Order (I) Authorizing and Approving the Consent
                                                Decree and Environmental Settlement Agreement
                            (3 pgs)             By and Among the Debtors and the United States
                                                on Behalf of the Environmental Protection Agency,
                                                and (II) Granting Related Relief (Related Doc #
                                                2785) Signed on 3/8/2021. (emiller) (Entered:
 03/08/2021                                     03/08/2021)

                            3194                Courtroom Minutes. Time Hearing Held: 3:30 PM.
                                                Appearances: SEE ATTACHED. (Related
                            (2 pgs)             document(s):3138 Emergency Motion) For reasons
                                                stated on the record, the Court approved the
                                                Emergency Motion Reorganized Debtors' Motion
                                                for Entry of an Order (I) Approving the Settlement
                                                By and Among the Reorganized Debtors and ET,
                                                (II) Authorizing the Reorganized Debtors'
                                                Performance of Obligations Thereunder, and (III)
                                                Granting Related Relief 3138. Order to be entered.
 03/08/2021                                     (VrianaPortillo) (Entered: 03/08/2021)

                            3195
                                                    PDF with attached Audio File. Court Date &




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 518 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 518 of 1639
                                                                           0518


                                                Time [ 3/8/2021 3:30:04 PM ]. File Size [ 2912
                            (1 pg)              KB ]. Run Time [ 00:06:04 ]. (In ref to doc no.
                                                3138. Hearing held March 8, 2021.). (admin).
 03/08/2021                                     (Entered: 03/08/2021)

                            3196                Agreed Order (I) Approving the Settlement by and
                                                Among the Reorganized Debtors and ET, by and
                            (8 pgs)             Among the Reorganized Debtors' Performance of
                                                Obligations thereunder, and (III) Granting Related
                                                Relief (Related Doc # 3138) Signed on 3/8/2021.
 03/08/2021                                     (VrianaPortillo) (Entered: 03/08/2021)

                            3197                Statement Seventh Monthly Fee Statement of
                                                AlixPartners, LLP (Filed By Official Committee
                            (55 pgs)            Of Unsecured Creditors ). (Harrison, Julie)
 03/08/2021                                     (Entered: 03/08/2021)

                            3198                Certificate of No Objection with Respect to the
                                                Motion for Entry of an Order (I) Authorizing and
                            (7 pgs; 2 docs)     Approving the Debtors' Entry Into a Consent
                                                Decree By and Among the Debtors and the United
                                                States on Behalf of the Environmental Protection
                                                Agency and the Commonwealth of Pennsylvania,
                                                Department of Environmental Protection and (II)
                                                Granting Related Relief (Filed By Chesapeake
                                                Energy Corporation ).(Related document(s):3015
                                                Generic Motion) (Attachments: # 1 Proposed
                                                Order) (Cavenaugh, Matthew) (Entered:
 03/08/2021                                     03/08/2021)

                            3206                Order Granting Motion To Appear pro hac vice -
                                                Randolph L. Snow (Related Doc # 3180) Signed on
 03/08/2021                 (1 pg)              3/8/2021. (emiller) (Entered: 03/09/2021)

                            3207                Order Granting Motion To Appear pro hac vice -
                                                Chrysanthe E. Vassiles (Related Doc # 3181)
                            (1 pg)              Signed on 3/8/2021. (emiller) (Entered:
 03/08/2021                                     03/09/2021)

                            3208                Order Granting Motion To Appear pro hac vice -
                                                James M. Wherley, Jr. (Related Doc # 3182)
                            (1 pg)              Signed on 3/8/2021. (emiller) (Entered:
 03/08/2021                                     03/09/2021)

                            3213
                                                Response (related document(s):2024 Objection to
                                                Confirmation of the Plan, 2155 Objection to




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 519 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 519 of 1639
                                                                           0519


                            (1 pg)              Confirmation of the Plan). (mmap) (Entered:
 03/08/2021                                     03/10/2021)

                            3199                Notice of Change of Address Filed by Mary
                                                Wheeler Family Limited Partnership (Autry,
 03/09/2021                 (2 pgs)             Patrick) (Entered: 03/09/2021)

                            3200                Withdrawal of Claim: Frio Hospital District claim
                                                number 10056 with claims agent in amount of
 03/09/2021                 (1 pg)              $1,941.02 (Stecker, Don) (Entered: 03/09/2021)

                            3201                Withdrawal of Claim: Frio Hospital District claim
                                                number 13321 with claims agent in amount of
 03/09/2021                 (1 pg)              $1,848.00 (Stecker, Don) (Entered: 03/09/2021)

                            3202                Notice of Appearance and Request for Notice Filed
                                                by Larry Glenn Ball Filed by on behalf of HGB
                            (2 pgs)             Properties, LLC (Ball, Larry) (Entered:
 03/09/2021                                     03/09/2021)

                            3203                Order (I) Authorizing and Approving the Debtors'
                                                Entry Into a Consent Decree by and Among the
                            (3 pgs)             Debtors and the United States on Behalf of the
                                                Environmental Protection Agency and the
                                                Commonwealth of Pennsylvania, and (II) Granting
                                                Related Relief (Related Doc # 3015) Signed on
 03/09/2021                                     3/9/2021. (VrianaPortillo) (Entered: 03/09/2021)

                            3204
                                                Withdrawal of Claim: 200 on Behalf of CEOG,
 03/09/2021                 (1 pg)              LLC (Williamson, Stephen) (Entered: 03/09/2021)

                            3205
                                                Withdrawal of Claim: 203 on Behalf of COEG,
 03/09/2021                 (1 pg)              LLC (Williamson, Stephen) (Entered: 03/09/2021)

                            3209                Stipulation By Chesapeake Energy Corporation
                                                and eCorp Resource Partners I, LP, Texas
                            (5 pgs)             ePartners X, LP and eCorp Resource Partners.
                                                Does this document include an agreed order or
                                                otherwise request that the judge sign a document?
                                                Yes. (Filed By Chesapeake Energy Corporation ).
 03/09/2021                                     (Cavenaugh, Matthew) (Entered: 03/09/2021)

                            3210
                                                Affidavit Re: Affidavit of Service of Angharad
                                                Bowdler (Filed By Epiq Corporate Restructuring




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 520 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 520 of 1639
                                                                           0520


                            (6289 pgs)          LLC ).(Related document(s):3058 Notice)
 03/09/2021                                     (Garabato, Sid) (Entered: 03/09/2021)

                            3211                Affidavit Re: Affidavit of Service of Geoff Zahm
                                                (Filed By Epiq Corporate Restructuring LLC ).
                            (28 pgs)            (Related document(s):3091 Notice, 3092
 03/09/2021                                     Declaration) (Garabato, Sid) (Entered: 03/09/2021)

                            3212                Motion to Withdraw Document (related document
                                                (s):490 Motion for Withdrawal of Reference). Filed
                            (5 pgs; 2 docs)     by Creditor ETC Tiger Pipeline LLC (Attachments:
                                                # 1 Proposed Order) (Mitchell, John) (Entered:
 03/10/2021                                     03/10/2021)

                            3214                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by Matthew Cavenaugh. This is to order a
                            (1 pg)              transcript of 3/8/2021 before Judge David R. Jones.
                                                Court Reporter/Transcriber: Judicial Transcribers
                                                of Texas (Filed By Chesapeake Energy
                                                Corporation ). (Cavenaugh, Matthew)
                                                Electronically forwarded to Judicial Transcribers of
                                                Texas on 3-10-2021. Estimated completion date: 3-
                                                11-2021. Modified on 3/10/2021 (MelissaMorgan).
 03/10/2021                                     (Entered: 03/10/2021)

                            3215                AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                                hours)) by Marty L. Brimmage, Jr.. This is to order
                            (1 pg)              a transcript of the March 8, 2021 Hearing before
                                                Judge David R. Jones. Court Reporter/Transcriber:
                                                Judicial Transcribers of Texas (Filed By Franklin
                                                Advisers, Inc., as Investment Manager on Behalf of
                                                Certain Funds and Accounts ). (Brimmage, Marty)
                                                Copy request was electronically forwarded to
                                                Judicial Transcribers of Texas on 3-11-2021.
                                                Estimated completion date: 3-12-2021. Modified
                                                on 3/11/2021 (MelissaMorgan). (Entered:
 03/10/2021                                     03/10/2021)

                            3216                Order Authorizing ETC Tiger Pipeline LLC to
                                                Withdraw its Motion to Withdraw Reference
                            (2 pgs)             (Related Doc # 3212) Signed on 3/10/2021.
 03/10/2021                                     (emiller) (Entered: 03/10/2021)

                            3217                Second Supplemental Stipulation and Agreed
                                                Order by and Among the Reorganized Debtors, the
                            (5 pgs)             Eagle Ford MDL Royalty Owner Plaintiffs, CEU,
                                                and JLP Signed on 3/10/2021 (Related document




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 521 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 521 of 1639
                                                                           0521


                                                (s):3093 Stipulation) (VrianaPortillo) (Entered:
 03/10/2021                                     03/10/2021)

                            3218                Stipulation and Agreed Order Regarding CGG
                                                Land (U.S.) Inc.'s Reply to Debtors' Memorandum
                            (4 pgs)             of Law in Support of the Third Amended Joint
                                                Chapter 11 Plan of Reorganization of Chesapeake
                                                Energy Corporation and its Debtor Affiliates and
                                                Omnibus Reply to Objections Thereto Signed on
                                                3/10/2021 (Related document(s):3120 Stipulation)
 03/10/2021                                     (VrianaPortillo) (Entered: 03/10/2021)

                            3219                Affidavit Re: Affidavit of Service of Angharad
                                                Bowdler (Filed By Epiq Corporate Restructuring
                            (21 pgs)            LLC ).(Related document(s):3109 Notice)
 03/10/2021                                     (Garabato, Sid) (Entered: 03/10/2021)

                            3220                Affidavit Re: Affidavit of Service of Angharad
                                                Bowdler (Filed By Epiq Corporate Restructuring
                            (4 pgs)             LLC ).(Related document(s):3127 Order on
                                                Application for Compensation) (Garabato, Sid)
 03/10/2021                                     (Entered: 03/10/2021)

                            3221                Statement Eighth Monthly Fee Statement of
                                                AlixPartners, LLP (Filed By Official Committee
                            (32 pgs)            Of Unsecured Creditors ). (Harrison, Julie)
 03/10/2021                                     (Entered: 03/10/2021)

                            3222                Application for Compensation Second Interim and
                                                Final Fee Application of Intrepid Partners, LLC as
                            (119 pgs; 2 docs)   Investment Banker to the Debtors, for Allowance
                                                and Payment of Compensation for Professional
                                                Services Rendered and Reimbursement of Actual
                                                and Necessary Expenses Incurred From June 28,
                                                2020 Through and Including February 9, 2021.
                                                Objections/Request for Hearing Due in 21 days.
                                                Filed by Attorney Matthew D Cavenaugh
                                                (Attachments: # 1 Proposed Order) (Cavenaugh,
 03/10/2021                                     Matthew) (Entered: 03/10/2021)

                            3223                Application for Compensation Second Interim and
                                                Final Fee Application of Rothschild & Co US Inc.
                            (130 pgs; 2 docs)   as Investment Banker to the Debtors for Allowance
                                                and Payment of Compensation for Professional
                                                Services Rendered and Reimbursement of Actual
                                                and Necessary Expenses Incurred From June 28,
                                                2020 Through and Including February 9, 2021.




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 522 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 522 of 1639
                                                                           0522


                                                Objections/Request for Hearing Due in 21 days.
                                                Filed by Attorney Matthew D Cavenaugh
                                                (Attachments: # 1 Proposed Order) (Cavenaugh,
 03/10/2021                                     Matthew) (Entered: 03/10/2021)

                            3244                Order from Circuit Court Re: Appeal on Appellate
                                                Case Number: 21-20017, Appeal is Dismissed.
                            (3 pgs; 2 docs)     Signed on 3/10/2021 (Related document(s):1762
                                                Notice of Appeal) (Attachments: # 1 Letter)
 03/10/2021                                     (ShoshanaArnow) (Entered: 03/15/2021)

                            3224                Response (Filed By CERES Resource Partners,
                                                LP ).(Related document(s):1907 Notice)
 03/11/2021                 (3 pgs)             (Drawhorn, Lauren) (Entered: 03/11/2021)

                            3225                Application for Administrative Expenses .
                                                Objections/Request for Hearing Due in 21 days.
                            (9 pgs)             Filed by Creditor Targa Pipeline Mid-Continent
                                                WestOk LLC Hearing scheduled for 4/30/2021 at
                                                02:00 PM at telephone and video conference.
 03/11/2021                                     (Soule, Steven) (Entered: 03/11/2021)

                            3226                Application for Administrative Expenses .
                                                Objections/Request for Hearing Due in 21 days.
                            (96 pgs; 5 docs)    Filed by Creditor Archrock Partners Operating,
                                                LLC (Attachments: # 1 Affidavit -Ex A # 2 Exhibit
                                                - (A-1) # 3 Exhibit - (A-2) # 4 Proposed Order -
 03/11/2021                                     Order) (Maraist, Kevin) (Entered: 03/11/2021)

                            3227                Notice of Appearance and Request for Notice Filed
                                                by Eva Gibbons (Attachments: # 1 Exhibit)
 03/11/2021                 (11 pgs; 2 docs)    (mmap) (Entered: 03/11/2021)

                            3228
                                                Withdrawal of Claim: (Schexnayder, Chad)
 03/11/2021                 (2 pgs)             (Entered: 03/11/2021)

                            3229                Notice of Appearance and Request for Notice Filed
                                                by Lauren Kessler Drawhorn Filed by on behalf of
                            (2 pgs)             CERES Resource Partners, LP (Drawhorn, Lauren)
 03/11/2021                                     (Entered: 03/11/2021)

                            3230
                                                Affidavit Re: Affidavit of Service of Angharad
                            (135 pgs)           Bowdler (Filed By Epiq Corporate Restructuring
                                                LLC ).(Related document(s):3111 Objection to
                                                Claim, 3112 Objection to Claim, 3113 Objection to




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 523 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 523 of 1639
                                                                           0523


                                                Claim, 3114 Objection to Claim) (Garabato, Sid)
 03/11/2021                                     (Entered: 03/11/2021)

                            3231                Affidavit Re: Affidavit of Service of Angharad
                                                Bowdler (Filed By Epiq Corporate Restructuring
                            (27 pgs)            LLC ).(Related document(s):3154 Generic Motion)
 03/11/2021                                     (Garabato, Sid) (Entered: 03/11/2021)

                            3232                Transcript RE: Energy Transfer 9019 Motion
                                                Hearing held on March 8, 2021 before Judge David
                            (9 pgs)             R. Jones. Transcript is available for viewing in the
                                                Clerk's Office. Filed by Transcript access will be
                                                restricted through 06/9/2021. (mhen) (Entered:
 03/11/2021                                     03/11/2021)

                            3233                BNC Certificate of Mailing. (Related document
                                                (s):3206 Order on Motion to Appear pro hac vice)
                            (12 pgs)            No. of Notices: 222. Notice Date 03/11/2021.
 03/11/2021                                     (Admin.) (Entered: 03/12/2021)

                            3234                BNC Certificate of Mailing. (Related document
                                                (s):3207 Order on Motion to Appear pro hac vice)
                            (12 pgs)            No. of Notices: 222. Notice Date 03/11/2021.
 03/11/2021                                     (Admin.) (Entered: 03/12/2021)

                            3235                BNC Certificate of Mailing. (Related document
                                                (s):3208 Order on Motion to Appear pro hac vice)
                            (12 pgs)            No. of Notices: 222. Notice Date 03/11/2021.
 03/11/2021                                     (Admin.) (Entered: 03/12/2021)

                            3239                Final Order of Dismissal by District Court Judge
                                                Alfred Bennett, Re: Withdrawal of Reference on
                            (2 pgs)             Civil Action Number: 4:20-cv-3125 , Signed on
                                                3/11/2021. (ShoshanaArnow) (Entered:
 03/11/2021                                     03/12/2021)

                            3236                Notice of Filing of Official Transcript as to 3232
                                                Transcript. Parties notified (Related document
 03/12/2021                 (1 pg)              (s):3232 Transcript) (jdav) (Entered: 03/12/2021)

                            3237
                                                Letter from Gaynell Spigner (Attachments: # 1
 03/12/2021                 (5 pgs; 2 docs)     Exhibit) (mmap) (Entered: 03/12/2021)

                            3238                 Declaration re: Second Supplemental Declaration
                                                 of Thierry Caruso in Support of Debtors'




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 524 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 524 of 1639
                                                                           0524


                            (9 pgs)              Application for Entry of an Order Authorizing the
                                                 Retention and Employment of Ernst & Young LLP
                                                 as Restructuring, Accounting, Tax, and Advisory
                                                 Services Provider to the Debtors Effective as of
                                                 June 29, 2020 (Filed By Chesapeake Energy
                                                 Corporation ).(Related document(s):1452 Order
                                                 on Application to Employ) (Cavenaugh, Matthew)
 03/12/2021                                      (Entered: 03/12/2021)

                            3240
                                                 Response (related document(s):3114 Objection to
 03/12/2021                 (17 pgs)             Claim). (aalo) (Entered: 03/12/2021)

                                                 Certificate of Email Notice. Contacted Veronica
                                                 Polnick. Movant to notice all interested parties
                                                 and file a certificate of service with the court
                                                 (Related document(s):3175 Application to
                                                 Compromise Controversy) Hearing scheduled for
                                                 3/31/2021 at 09:00 AM at telephone and video
 03/12/2021                                      conference. (aalo) (Entered: 03/12/2021)

                            3241                 BNC Certificate of Mailing. (Related document
                                                 (s):3217 Generic Order) No. of Notices: 223.
                            (16 pgs)             Notice Date 03/12/2021. (Admin.) (Entered:
 03/12/2021                                      03/12/2021)

                            3242                 BNC Certificate of Mailing. (Related document
                                                 (s):3218 Generic Order) No. of Notices: 223.
                            (15 pgs)             Notice Date 03/12/2021. (Admin.) (Entered:
 03/12/2021                                      03/12/2021)

                            3243                 BNC Certificate of Mailing. (Related document
                                                 (s):3236 Notice of Filing of Official Transcript
                            (12 pgs)             (Form)) No. of Notices: 224. Notice Date
 03/14/2021                                      03/14/2021. (Admin.) (Entered: 03/15/2021)

                            3245                 Notice of Hearing on Reorganized Debtors'
                                                 Motion for Entry of Orders (I) Authorizing and
                            (3 pgs)              Approving (A) the PG AG Settlement, (B) the
                                                 MEC Settlement, and (C) the Non-MEC
                                                 Settlement, and (II) Granting Related Relief.
                                                 (Related document(s):3175 Application to
                                                 Compromise Controversy) Filed by Chesapeake
                                                 Energy Corporation (Cavenaugh, Matthew)
 03/15/2021                                      (Entered: 03/15/2021)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 525 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 525 of 1639
                                                                           0525


                            3246
                                                 Reply (related document(s):3112 Objection to
 03/15/2021                 (19 pgs)             Claim). (JosephWells) (Entered: 03/15/2021)

                            3247                 Proposed Order RE: Unopposed Motion to
                                                 Withdraw as Counsel for Good Cause (Filed By
                            (1 pg)               The Royalty Owners ).(Related document(s):2972
                                                 Motion to Withdraw as Attorney) (Jewell, Gary)
 03/16/2021                                      (Entered: 03/16/2021)

                            3248                 Withdrawal of Claim: Philadelphia Indemnity
                                                 Insurance Company (Collins, Michael) (Entered:
 03/16/2021                 (2 pgs)              03/16/2021)

                            3249                 AO 435 TRANSCRIPT ORDER FORM
                                                 (Expedited (7 days)) by Roni Pollina-Mageros.
                            (1 pg)               This is to order a transcript of 1/8/2021 and
                                                 01/13/2021, hearing before Judge David R. Jones.
                                                 Court Reporter/Transcriber: Judicial Transcribers
                                                 of Texas. (mmap) Copy request electronically
                                                 forwarded to Judicial Transcribers of Texas and
                                                 Access Transcripts, LLC on March 17, 2021.
                                                 Estimated completion date: March 24, 2021.
                                                 Modified on 3/17/2021 (ClaudiaGutierrez).
 03/16/2021                                      (Entered: 03/16/2021)

                            3250                 Withdrawal of Claim: 10149 filed by Epiq
                                                 Corporate Restructuring, LLC on behalf of
                            (1 pg)               Yellowjacket Oilfield Services (Suarez, Hugo)
 03/16/2021                                      (Entered: 03/16/2021)

                            3251                 Withdrawal of Claim: 1749 filed by Epiq
                                                 Corporate Restructuring, LLC on behalf of
                            (2 pgs)              Clifford Ray McTee III (Suarez, Hugo) (Entered:
 03/16/2021                                      03/16/2021)

                            3252                 Withdrawal of Claim: 1750 filed by Epiq
                                                 Corporate Restructuring, LLC on behalf of Mary
                            (2 pgs)              Ann Wheeler Family LP (Suarez, Hugo) (Entered:
 03/16/2021                                      03/16/2021)

                            3253                 Withdrawal of Claim: 1751 filed by Epiq
                                                 Corporate Restructuring, LLC on behalf of McTee
                            (2 pgs)              L7 Ranch Ltd (Suarez, Hugo) (Entered:
 03/16/2021                                      03/16/2021)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 526 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 526 of 1639
                                                                           0526


                            3254                 Withdrawal of Claim: 1752 filed by Epiq
                                                 Corporate Restructuring, LLC on behalf of Estate
                            (2 pgs)              of Robert Yeates Wheeler (Suarez, Hugo)
 03/16/2021                                      (Entered: 03/16/2021)

                            3255                 Withdrawal of Claim: 1753 filed by Epiq
                                                 Corporate Restructuring, LLC on behalf of Shelly
                            (2 pgs)              Marie McTee (Suarez, Hugo) (Entered:
 03/16/2021                                      03/16/2021)

                            3256                 Withdrawal of Claim: 1754 filed by Epiq
                                                 Corporate Restructuring, LLC on behalf of
                            (2 pgs)              Charles Dewey McTee (Suarez, Hugo) (Entered:
 03/16/2021                                      03/16/2021)

                            3257                 Withdrawal of Claim: 1755 filed by Epiq
                                                 Corporate Restructuring, LLC on behalf of
                            (2 pgs)              CLSCM Ltd (Suarez, Hugo) (Entered:
 03/16/2021                                      03/16/2021)

                            3258                 Withdrawal of Claim: 1756 filed by Epiq
                                                 Corporate Restructuring, LLC on behalf of
                            (2 pgs)              CLSCM Ltd (Suarez, Hugo) (Entered:
 03/16/2021                                      03/16/2021)

                            3259                 Withdrawal of Claim: 2090 filed by Epiq
                                                 Corporate Restructuring, LLC on behalf of Oakes
                            (2 pgs)              David Edwards Jr (Suarez, Hugo) (Entered:
 03/16/2021                                      03/16/2021)

                            3260                 Withdrawal of Claim: 2091 filed by Epiq
                                                 Corporate Restructuring, LLC on behalf of Jason
                            (2 pgs)              Shely Edwards (Suarez, Hugo) (Entered:
 03/16/2021                                      03/16/2021)

                            3261                 Withdrawal of Claim: 2092 filed by Epiq
                                                 Corporate Restructuring, LLC on behalf of
                            (2 pgs)              Kendall Arnim Young (Suarez, Hugo) (Entered:
 03/16/2021                                      03/16/2021)

                            3262                 Withdrawal of Claim: 2093 filed by Epiq
                                                 Corporate Restructuring, LLC on behalf of
                            (2 pgs)              Clinton Michael Wilson (Suarez, Hugo) (Entered:
 03/16/2021                                      03/16/2021)

                            3263
                                                 Withdrawal of Claim: 2094 filed by Epiq




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 527 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 527 of 1639
                                                                           0527


                                                 Corporate Restructuring, LLC on behalf of Oakes
                            (2 pgs)              David Edwards III (Suarez, Hugo) (Entered:
 03/16/2021                                      03/16/2021)

                            3264                 Withdrawal of Claim: 2095 filed by Epiq
                                                 Corporate Restructuring, LLC on behalf of
                            (2 pgs)              Jacqueline Elizabeth Ballard (Suarez, Hugo)
 03/16/2021                                      (Entered: 03/16/2021)

                            3272                 Response to the Objection of claim #1665 (related
                                                 document(s):3148 Objection to Claim).
                            (3 pgs; 2 docs)      (Attachments: # 1 Exhibit)(mmap) (Entered:
 03/16/2021                                      03/18/2021)

                            3265                 Affidavit Re: Affidavit of Service of Geoff Zahm
                                                 (Filed By Epiq Corporate Restructuring LLC ).
                            (20 pgs)             (Related document(s):3135 Notice) (Garabato,
 03/17/2021                                      Sid) (Entered: 03/17/2021)

                            3266                 Affidavit Re: Affidavit of Service of Angharad
                                                 Bowdler (Filed By Epiq Corporate Restructuring
                            (14 pgs)             LLC ).(Related document(s):3135 Notice)
 03/17/2021                                      (Garabato, Sid) (Entered: 03/17/2021)

                            3267                 Affidavit Re: Affidavit of Service of Angharad
                                                 Bowdler (Filed By Epiq Corporate Restructuring
                            (2 pgs)              LLC ).(Related document(s):3058 Notice, 3135
 03/17/2021                                      Notice) (Garabato, Sid) (Entered: 03/17/2021)

                            3268                 Notice of Jackson Walker LLP's Fifth Monthly
                                                 Fee Statement for Compensation of Services
                            (17 pgs)             Rendered and Reimbursement of Expenses as Co-
                                                 Counsel and Conflicts Counsel to the Debtors for
                                                 the Period From November 1, 2020 Through
                                                 November 30, 2020. (Related document(s):656
                                                 Generic Order) Filed by Chesapeake Energy
                                                 Corporation (Cavenaugh, Matthew) (Entered:
 03/17/2021                                      03/17/2021)

                            3269
                                                 Notice of Jackson Walker LLP's Sixth Monthly
                            (22 pgs)             Fee Statement for Compensation of Services
                                                 Rendered and Reimbursement of Expenses as Co-
                                                 Counsel and Conflicts Counsel to the Debtors for
                                                 the Period From December 1, 2020 Through
                                                 December 31, 2020. (Related document(s):656
                                                 Generic Order) Filed by Chesapeake Energy




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 528 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 528 of 1639
                                                                           0528


                                                 Corporation (Cavenaugh, Matthew) (Entered:
 03/17/2021                                      03/17/2021)

                            3270                 Affidavit Re: Affidavit of Service of Angharad
                                                 Bowdler (Filed By Epiq Corporate Restructuring
                            (898 pgs)            LLC ).(Related document(s):3132 Generic
 03/17/2021                                      Motion) (Garabato, Sid) (Entered: 03/17/2021)

                            3271
                                                 Withdrawal of Claim: 184 (Scharfenberg, Elliot)
 03/18/2021                 (2 pgs)              (Entered: 03/18/2021)

                            3273
                                                 Response (related document(s):3148 Objection to
 03/18/2021                 (2 pgs)              Claim). (JosephWells) (Entered: 03/18/2021)

                            3274                 Notice of Fee Statement of Kirkland & Ellis LLP
                                                 and Kirkland & Ellis International LLP for
                            (247 pgs)            Compensation for Services and Reimbursement of
                                                 Expense as Attorneys to the Debtors and Debtors
                                                 in Possession for the Period From November 1,
                                                 2020 Through November 30, 2020. (Related
                                                 document(s):656 Generic Order) Filed by
                                                 Chesapeake Energy Corporation (Cavenaugh,
 03/18/2021                                      Matthew) (Entered: 03/18/2021)

                            3275                 Notice of Fee Statement of Kirkland & Ellis LLP
                                                 and Kirkland & Ellis International LLP for
                            (247 pgs)            Compensation for Services and Reimbursement of
                                                 Expenses as Attorneys to the Debtors and Debtors
                                                 in Possession for the Period From December 1,
                                                 2020 Through December 31, 2020. (Related
                                                 document(s):656 Generic Order) Filed by
                                                 Chesapeake Energy Corporation (Cavenaugh,
 03/18/2021                                      Matthew) (Entered: 03/18/2021)

                            3276                 Affidavit Re: Affidavit of Service of Angharad
                                                 Bowdler (Filed By Epiq Corporate Restructuring
                            (6286 pgs)           LLC ).(Related document(s):3135 Notice)
 03/18/2021                                      (Garabato, Sid) (Entered: 03/18/2021)

                            3277
                                                 Affidavit Re: Affidavit of Service of Angharad
                            (141 pgs)            Bowdler (Filed By Epiq Corporate Restructuring
                                                 LLC ).(Related document(s):3112 Objection to
                                                 Claim, 3145 Objection to Claim, 3146 Objection
                                                 to Claim, 3148 Objection to Claim, 3151 Notice)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 529 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 529 of 1639
                                                                           0529


 03/19/2021                                      (Garabato, Sid) (Entered: 03/19/2021)

                            3278                 Affidavit Re: Affidavit of Service of Angharad
                                                 Bowdler (Filed By Epiq Corporate Restructuring
                            (12 pgs)             LLC ).(Related document(s):3135 Notice)
 03/19/2021                                      (Garabato, Sid) (Entered: 03/19/2021)

                            3279                 Notice of Jackson Walker LLP's Seventh Monthly
                                                 Fee Statement for Compensation of Services
                            (14 pgs)             Rendered and Reimbursement of Expenses as Co-
                                                 Counsel and Conflicts Counsel to the Debtors for
                                                 the Period From January 1, 2021 Through
                                                 January 16, 2021. (Related document(s):656
                                                 Generic Order) Filed by Chesapeake Energy
                                                 Corporation (Cavenaugh, Matthew) (Entered:
 03/19/2021                                      03/19/2021)

                            3280                 Joint Stipulation and Agreed Order by and
                                                 Among Debtors and Christopher Wilson Granting
                            (7 pgs)              Relief from Automatic Stay, Effective as of
                                                 January 4, 2021 Signed on 3/19/2021 (Related
                                                 document(s):2543 Stipulation) (VrianaPortillo)
 03/19/2021                                      (Entered: 03/19/2021)

                            3281                 Stipulation and Agreed Order Regarding Ecorp
                                                 Resource Partners I, LP and Texas Epartners X,
                            (5 pgs)              LP Proofs of Claim No. 13071, 13086, 13098, nd
                                                 13109 Signed on 3/19/2021 (Related document
                                                 (s):3209 Stipulation) (VrianaPortillo) (Entered:
 03/19/2021                                      03/19/2021)

                            3282                 Notice of Response to Reorganized Debtors
                                                 Amended Fourth Omnibus Claims (related
                            (2 pgs)              document(s):3114 Objection to Claim). (mmap)
 03/19/2021                                      (Entered: 03/22/2021)

                            3283                 Debtors Master Service List (Filed By Epiq
                                                 Corporate Restructuring LLC ). (Garabato, Sid)
 03/22/2021                 (35 pgs)             (Entered: 03/22/2021)

                            3284                 Withdrawal of Claim: Argonaut Insurance
                                                 Company (Goodwine, Paul) (Entered:
 03/22/2021                 (2 pgs)              03/22/2021)

                            3285
                                                 Affidavit Re: Affidavit of Service of Angharad
                                                 Bowdler (Filed By Epiq Corporate Restructuring




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 530 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 530 of 1639
                                                                           0530


                            (361 pgs)            LLC ).(Related document(s):3135 Notice)
 03/22/2021                                      (Garabato, Sid) (Entered: 03/22/2021)

                            3286                 Affidavit Re: Affidavit of Service of Angharad
                                                 Bowdler (Filed By Epiq Corporate Restructuring
                            (24 pgs)             LLC ).(Related document(s):3175 Application to
                                                 Compromise Controversy, 3178 Notice)
 03/22/2021                                      (Garabato, Sid) (Entered: 03/22/2021)

                            3287                 Certificate of No Objection with Respect to the
                                                 Reorganized Debtors' Motion for Entry of an
                            (5 pgs; 2 docs)      Order (I) Further Extending the Time Within
                                                 Which the Reorganized Debtors May Remove
                                                 Actions and (II) Granting Related Relief (Filed By
                                                 Chesapeake Energy Corporation ).(Related
                                                 document(s):3132 Generic Motion) (Attachments:
                                                 # 1 Proposed Order) (Cavenaugh, Matthew)
 03/22/2021                                      (Entered: 03/22/2021)

                            3294
                                                 Response (related document(s):3148 Objection to
 03/22/2021                 (1 pg)               Claim). (JosephWells) (Entered: 03/23/2021)

                            3288                 Withdrawal of Claim: 2643 filed by Epiq
                                                 Corporate Restructuring, LLC on behalf of Jeff
 03/23/2021                 (2 pgs)              Jones (Garabato, Sid) (Entered: 03/23/2021)

                            3289                 Withdrawal of Claim: 2103 filed by Epiq
                                                 Corporate Restructuring, LLC on behalf of Diane
 03/23/2021                 (2 pgs)              Davidson (Garabato, Sid) (Entered: 03/23/2021)

                            3290                 Withdrawal of Claim: 2104 filed by Epiq
                                                 Corporate Restructuring, LLC on behalf of Nora
                            (2 pgs)              Faye Davidson Harris (Garabato, Sid) (Entered:
 03/23/2021                                      03/23/2021)

                            3291                 Withdrawal of Claim: 2644 filed by Epiq
                                                 Corporate Restructuring, LLC on behalf of Kim
 03/23/2021                 (2 pgs)              Byers (Garabato, Sid) (Entered: 03/23/2021)

                            3292                 Withdrawal of Claim: 2645 filed by Epiq
                                                 Corporate Restructuring, LLC on behalf of
                            (2 pgs)              Brenda C Cuvelier (Garabato, Sid) (Entered:
 03/23/2021                                      03/23/2021)

                            3293
                                                 Withdrawal of Claim: 2646 filed by Epiq




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 531 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 531 of 1639
                                                                           0531


                                                 Corporate Restructuring, LLC on behalf of Jeana
 03/23/2021                 (2 pgs)              Martin (Garabato, Sid) (Entered: 03/23/2021)

                            3295                 Order (I) Further Extending the Time Within
                                                 Which the Reorganized Debtors May Remove
                            (2 pgs)              Actions and (II) Granting Related Relief (Related
                                                 Doc # 3132) Signed on 3/23/2021.
 03/23/2021                                      (VrianaPortillo) (Entered: 03/23/2021)

                            3296                 Objection to Claim Number by Claimant
                                                 Reorganized Debtors' Fifth Omnibus Objection to
                            (114 pgs; 2 docs)    Certain Proofs of Claim (Cross-Debtor Duplicate
                                                 Claims) Hearing scheduled for 4/29/2021 at 01:00
                                                 PM at telephone and video conference.
                                                 (Attachments: # 1 Proposed Order)(Peguero,
 03/24/2021                                      Kristhy) (Entered: 03/24/2021)

                            3297                 Objection to Claim Number by Claimant
                                                 Reorganized Debtors' Sixth Omnibus Objection to
                            (251 pgs; 2 docs)    Certain Proofs of Claim (Satisfied Claims)
                                                 Hearing scheduled for 4/29/2021 at 01:00 PM at
                                                 telephone and video conference. (Attachments: #
                                                 1 Proposed Order)(Peguero, Kristhy) (Entered:
 03/24/2021                                      03/24/2021)

                            3298                 Objection to Claim Number by Claimant
                                                 Reorganized Debtors' Seventh Omnibus Objection
                            (186 pgs; 2 docs)    to Certain Proofs of Claim (Equity Interest
                                                 Claims) Hearing scheduled for 4/29/2021 at 01:00
                                                 PM at telephone and video conference.
                                                 (Attachments: # 1 Proposed Order)(Peguero,
 03/24/2021                                      Kristhy) (Entered: 03/24/2021)

                            3299                 Objection to Claim Number by Claimant
                                                 Reorganized Debtors' Eighth Omnibus Objection
                            (32 pgs; 2 docs)     to Certain Proofs of Claim (Beneficial
                                                 Bondholder Duplicate Claims) Hearing scheduled
                                                 for 4/29/2021 at 01:00 PM at telephone and video
                                                 conference. (Attachments: # 1 Proposed Order)
 03/24/2021                                      (Peguero, Kristhy) (Entered: 03/24/2021)

                            3300                 Objection to Claim Number by Claimant
                                                 Reorganized Debtors' Ninth Omnibus Objection
                            (17 pgs; 2 docs)     to Certain Proofs of Claim (Duplicate Claims)
                                                 Hearing scheduled for 4/29/2021 at 01:00 PM at
                                                 telephone and video conference. (Attachments: #
                                                 1 Proposed Order)(Peguero, Kristhy) (Entered:




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 532 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 532 of 1639
                                                                           0532


 03/24/2021                                      03/24/2021)

                            3301                 Objection to Claim Number by Claimant
                                                 Reorganized Debtors' Tenth Omnibus Objection
                            (17 pgs; 2 docs)     to Certain Proofs of Claim (Amended Claims)
                                                 Hearing scheduled for 4/29/2021 at 01:00 PM at
                                                 telephone and video conference. (Attachments: #
                                                 1 Proposed Order)(Peguero, Kristhy) (Entered:
 03/24/2021                                      03/24/2021)

                            3302                 Witness List, Exhibit List (Filed By Chesapeake
                                                 Energy Corporation ).(Related document(s):3154
                            (126 pgs; 6 docs)    Generic Motion) (Attachments: # 1 Exhibit 1 # 2
                                                 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 # 5 Exhibit
 03/24/2021                                      5) (Cavenaugh, Matthew) (Entered: 03/24/2021)

                            3303                 Application for Compensation Jackson Walker
                                                 LLP's Second Interim and Final Fee Application
                            (118 pgs; 2 docs)    for Allowance and Payment of Fees and Expenses
                                                 as Co-Counsel to the Debtors for the Period From
                                                 June 28, 2020 Through January 16, 2021.
                                                 Objections/Request for Hearing Due in 21 days.
                                                 Filed by Attorney Matthew D Cavenaugh
                                                 (Attachments: # 1 Proposed Order) (Cavenaugh,
 03/24/2021                                      Matthew) (Entered: 03/24/2021)

                            3304                 Application for Compensation - Second Interim
                                                 and Final Application of Forshey & Prostok,
                            (89 pgs)             LLP, as Attorneys for the Official Committee of
                                                 Royalty Owners for the Period from July 25, 2020
                                                 through and including February 9, 2021 for
                                                 Forshey & Prostok, LLP, Attorney, Period:
                                                 7/25/2020 to 2/9/2021, Fee: $769,543.50,
                                                 Expenses: $56,984.29. Objections/Request for
                                                 Hearing Due in 21 days. Filed by Attorney
                                                 Forshey & Prostok, LLP (Prostok, Jeffrey)
 03/24/2021                                      (Entered: 03/24/2021)

                            3305                 Proposed Order RE: (Filed By Forshey &
                                                 Prostok, LLP ).(Related document(s):3304
                            (2 pgs)              Application for Compensation) (Prostok, Jeffrey)
 03/24/2021                                      (Entered: 03/24/2021)

                            3306                 Notice of Filing Forshey & Prostok, LLP's
                                                 Second and Final Fee Application. (Related
                            (2 pgs)              document(s):3304 Application for Compensation)
                                                 Filed by Forshey & Prostok, LLP (Prostok,




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 533 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 533 of 1639
                                                                           0533


 03/24/2021                                      Jeffrey) (Entered: 03/24/2021)

                            3307                 Notice of Appearance and Request for Notice
                                                 Filed by Alexander David Burch Filed by on
                            (4 pgs)              behalf of JGC Exploration Eagle Ford, LLC
 03/24/2021                                      (Burch, Alexander) (Entered: 03/24/2021)

                            3308                 Notice of Appearance and Request for Notice
                                                 Filed by Martin Darren Woodward Filed by on
                            (1 pg)               behalf of Non-MEC Class (PA), Alice R. Brown,
                                                 James L. Brown (Woodward, Martin) (Entered:
 03/24/2021                                      03/24/2021)

                            3309                 Motion to Appear pro hac vice of Michael D.
                                                 Donovan. Filed by Creditors Alice R. Brown,
                            (1 pg)               James L. Brown, Non-MEC Class (PA)
 03/24/2021                                      (Woodward, Martin) (Entered: 03/24/2021)

                            3310                 Emergency Motion Reorganized Debtors'
                                                 Emergency Motion to Enforce Confirmation
                            (59 pgs; 2 docs)     Order Filed by Debtor Chesapeake Energy
                                                 Corporation Hearing scheduled for 3/30/2021 at
                                                 11:30 AM at telephone and video conference.
                                                 (Attachments: # 1 Proposed Order) (Cavenaugh,
 03/24/2021                                      Matthew) (Entered: 03/24/2021)

                            3311                 Certificate of No Objection with Respect to the
                                                 Reorganized Debtors' Motion for Entry of an
                            (7 pgs; 2 docs)      Order (I) Authorizing (A) Allowance of the Faith
                                                 Ranch Claim and (B) Assumption of the
                                                 Supplemental Joint Operating Services
                                                 Agreements, By and Between the Reorganized
                                                 Debtors and Jamestown Resources, L.L.C.,
                                                 Larchmont Resources, L.L.C. and Pelican
                                                 Resources, L.L.C., Each as Amended, and (II)
                                                 Granting Related Relief (Filed By Chesapeake
                                                 Energy Corporation ).(Related document(s):3154
                                                 Generic Motion) (Attachments: # 1 Proposed
                                                 Order) (Cavenaugh, Matthew) (Entered:
 03/25/2021                                      03/25/2021)

                            3312                 Withdrawal of Claim: 2161 filed by Epiq
                                                 Corporate Restructuring, LLC on behalf of
                            (1 pg)               Illinois Department of Revenue (Suarez, Hugo)
 03/25/2021                                      (Entered: 03/25/2021)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 534 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 534 of 1639
                                                                           0534


                            3313                 Order Approving First Interim Application of
                                                 Pricewaterhousecoopers LLP for Compensation
                            (2 pgs)              and Reimbursement of Expenses as Audit
                                                 Services and Tax Consulting Services Provider
                                                 for the Debtors for the Period from June 28, 2020
                                                 through September 30, 2020 (Related Doc #
                                                 2561). Granting for Chesapeake Energy
                                                 Corporation, fees awarded: $, expenses awarded:
                                                 $ Signed on 3/25/2021. (VrianaPortillo) (Entered:
 03/25/2021                                      03/25/2021)

                            3314                 Order Granting Motion To Appear pro hac vice -
                                                 Michael D. Donovan (Related Doc # 3309)
                            (1 pg)               Signed on 3/25/2021. (emiller) (Entered:
 03/25/2021                                      03/25/2021)

                            3315                 Affidavit Re: Affidavit of Service of Angharad
                                                 Bowdler (Filed By Epiq Corporate Restructuring
                            (4 pgs)              LLC ).(Related document(s):3183 Notice)
 03/25/2021                                      (Garabato, Sid) (Entered: 03/25/2021)

                            3316                 Affidavit Re: Affidavit of Service of Angharad
                                                 Bowdler (Filed By Epiq Corporate Restructuring
                            (4 pgs)              LLC ).(Related document(s):3221 Statement,
                                                 3222 Application for Compensation, 3223
                                                 Application for Compensation) (Garabato, Sid)
 03/25/2021                                      (Entered: 03/25/2021)

                            3317                 Affidavit Re: Affidavit of Service of Angharad
                                                 Bowdler (Filed By Epiq Corporate Restructuring
                            (17 pgs)             LLC ).(Related document(s):3245 Notice)
 03/25/2021                                      (Garabato, Sid) (Entered: 03/25/2021)

                            3318                 Affidavit Re: Affidavit of Service of Angharad
                                                 Bowdler (Filed By Epiq Corporate Restructuring
                            (4 pgs)              LLC ).(Related document(s):3268 Notice, 3269
 03/25/2021                                      Notice) (Garabato, Sid) (Entered: 03/25/2021)

                            3321                 Response and addendum to claim 10956 (related
                                                 document(s):3114 Objection to Claim).
                            (7 pgs; 2 docs)      (Attachments: # 1 Exhibit)(mmap) (Entered:
 03/25/2021                                      03/26/2021)

                            3319
                                                 Order (I) Authorizing (A) Allowance of the Faith
                            (3 pgs)              Ranch Claim and (B) Assumption of the
                                                 Supplemental Joint Operating Services




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 535 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 535 of 1639
                                                                           0535


                                                 Agreements, By and Between the Reorganized
                                                 Debtors and Jamestown Resources, L.L.C.,
                                                 Larchmont Resources, L.L.C. and Pelican
                                                 Resources, L.L.C., Each as Amended, and (II)
                                                 Granting Related Relief (Related Doc # 3154)
                                                 Signed on 3/26/2021. (aalo) (Entered:
 03/26/2021                                      03/26/2021)

                            3320                 Stipulation and Agreed Order Signed on
                                                 3/26/2021 (Related document(s):3001 Stipulation)
 03/26/2021                 (5 pgs)              (aalo) (Entered: 03/26/2021)

                            3322                 Declaration re: Supplemental Declaration of
                                                 Jeremy R. Kennedy in Support of the Debtors'
                            (3 pgs)              Application for Entry of an Order Under 11
                                                 U.S.C. § 327(e) Authorizing the Retention and
                                                 Employment of Shearman & Sterling LLP as
                                                 Special Counsel for the Debtors Effective as of
                                                 October 11, 2020 (Filed By Chesapeake Energy
                                                 Corporation ).(Related document(s):2429 Order
                                                 on Application to Employ) (Cavenaugh, Matthew)
 03/26/2021                                      (Entered: 03/26/2021)

                            3323                 Application for Compensation First and Final
                                                 Fee Application of Shearman & Sterling LLP,
                            (110 pgs; 2 docs)    Special Counsel for the Debtors in Possession, for
                                                 the Period From October 11, 2020 Through and
                                                 Including January 16, 2021. Objections/Request
                                                 for Hearing Due in 21 days. Filed by Attorney
                                                 Matthew D Cavenaugh (Attachments: # 1
                                                 Proposed Order) (Cavenaugh, Matthew) (Entered:
 03/26/2021                                      03/26/2021)

                            3324                 Application for Compensation AlixPartners,
                                                 LLP's Joint (I) Second Interim Fee Application
                            (997 pgs; 2 docs)    for the Period October 1, 2020 through February
                                                 9, 2021 and (II) Final Fee Application for the
                                                 Period July 14, 2020 through February 9, 2021
                                                 for Allowance of Compensation for Services
                                                 Rendered and for Reimbursement of Expenses
                                                 Incurred as Financial Advisor to the Official
                                                 Committee of Unsecured Creditors.
                                                 Objections/Request for Hearing Due in 21 days.
                                                 (Attachments: # 1 Proposed Order) (Harrison,
 03/26/2021                                      Julie) (Entered: 03/26/2021)

                            3325                 Application for Compensation Combined Third




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 536 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 536 of 1639
                                                                           0536


                                                 Monthly, Fourth Monthly, Fifth Monthly, Sixth
                            (205 pgs; 2 docs)    Monthly, and Final Fee Application of Opportune
                                                 LLP for Allowance of Compensation and
                                                 Reimbursement of Expenses as Special Valuation
                                                 and Industry Advisor to the Official Committee of
                                                 Unsecured Creditors for the Period September 1,
                                                 2020 through February 6, 2021.
                                                 Objections/Request for Hearing Due in 21 days.
                                                 (Attachments: # 1 Proposed Order) (Harrison,
 03/26/2021                                      Julie) (Entered: 03/26/2021)

                            3326                 Application for Compensation Final Application
                                                 of BBG, Inc. for Allowance of Compensation for
                            (55 pgs; 2 docs)     Services Rendered and Reimbursement of
                                                 Expenses as Real Estate Appraiser / Valuation
                                                 Expert to the Official Committee of Unsecured
                                                 Creditors for the Period from November 2, 2020
                                                 through December 31, 2020. Objections/Request
                                                 for Hearing Due in 21 days. (Attachments: # 1
                                                 Proposed Order) (Harrison, Julie) (Entered:
 03/26/2021                                      03/26/2021)

                            3327                 Application for Compensation Second Interim
                                                 and Final Fee Application of Norton Rose
                            (285 pgs; 2 docs)    Fulbright US LLP for Allowance of
                                                 Compensation and Reimbursement of Expenses as
                                                 Co-Counsel to the Official Committee of
                                                 Unsecured Creditors for the Period July 13, 2020
                                                 through February 9, 2021. Objections/Request for
                                                 Hearing Due in 21 days. (Attachments: # 1
                                                 Proposed Order) (Harrison, Julie) (Entered:
 03/26/2021                                      03/26/2021)

                            3328                 Application for Compensation Final Fee
                                                 Application of Back Bay Management and its
                            (199 pgs; 2 docs)    Division, the Michel-Shaked Group, for
                                                 Allowance of Compensation for Services
                                                 Rendered and Reimbursement of Expenses as
                                                 Expert Valuation Consultant to the Official
                                                 Committee of Unsecured Creditors for the Period
                                                 from September 1, 2020 through February 9,
                                                 2021. Objections/Request for Hearing Due in 21
                                                 days. (Attachments: # 1 Proposed Order)
 03/26/2021                                      (Harrison, Julie) (Entered: 03/26/2021)

                            3329
                                                 Motion to Appear pro hac vice Daniel Seltz. Filed
                                                 by Creditor Demchak Plaintiffs (mmap) (Entered:




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 537 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 537 of 1639
                                                                           0537


 03/26/2021                 (1 pg)               03/26/2021)

                            3330                 Application for Compensation Second Interim
                                                 and Final Fee Application of
                            (657 pgs; 2 docs)    PricewaterhouseCoopers LLP for Services
                                                 Rendered and Reimbursement of Expenses as
                                                 Audit Services and Tax Consulting Services
                                                 Provider for the Debtors for the Period June 28,
                                                 2020 Through and Including January 16, 2021.
                                                 Objections/Request for Hearing Due in 21 days.
                                                 Filed by Attorney Matthew D Cavenaugh
                                                 (Attachments: # 1 Proposed Order) (Cavenaugh,
 03/26/2021                                      Matthew) (Entered: 03/26/2021)

                            3331                 Application for Compensation Second Interim
                                                 and Final Fee Application of Ernst & Young LLP
                            (172 pgs; 2 docs)    for Compensation and Reimbursement of
                                                 Expenses for the Period From June 29, 2020
                                                 Through and Including January 16, 2021.
                                                 Objections/Request for Hearing Due in 21 days.
                                                 Filed by Attorney Matthew D Cavenaugh
                                                 (Attachments: # 1 Proposed Order) (Cavenaugh,
 03/26/2021                                      Matthew) (Entered: 03/26/2021)

                            3332                 Motion to Appear pro hac vice Larry D Moffett.
                                                 Filed by Creditor Demchak Plaintiffs (mmap)
 03/26/2021                 (1 pg)               (Entered: 03/26/2021)

                            3333                 Application for Compensation Second Interim
                                                 and Final Fee Application of Kirkland & Ellis
                            (1629 pgs; 2 docs)   LLP and Kirkland & Ellis International LLP,
                                                 Attorneys for the Debtors and Debtors in
                                                 Possession for (I) the Second Interim Fee Period
                                                 From October 1, 2020 Through and Including
                                                 January 16, 2021 and (II) the Fee Period from
                                                 June 28, 2020 Through and Including January 16,
                                                 2021. Objections/Request for Hearing Due in 21
                                                 days. Filed by Attorney Matthew D Cavenaugh
                                                 (Attachments: # 1 Proposed Order) (Cavenaugh,
 03/26/2021                                      Matthew) (Entered: 03/26/2021)

                            3334                 Application for Compensation Final Application
                                                 of Brown Rudnick LLP, as Co-Counsel to the
                            (419 pgs; 2 docs)    Official Committee of Unsecured Creditors, for
                                                 the Period from July 13, 2020 Through and
                                                 Including February 9, 2021. Objections/Request
                                                 for Hearing Due in 21 days. (Attachments: # 1




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 538 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 538 of 1639
                                                                           0538


                                                 Proposed Order) (Harrison, Julie) (Entered:
 03/26/2021                                      03/26/2021)

                            3335                 Joint Objection (related document(s):3175
                                                 Application to Compromise Controversy). Filed
                            (298 pgs; 5 docs)    by Dianna Mowry, Rodney Mowry, Charlotte E.
                                                 Place, Jesse C. Place, Richard E. Place, Charlotte
                                                 E. Place Trust, Richard E. Place Trust, Placewood
                                                 Resource Management, LLC, Placewood
                                                 Resources, L.P., William R Ruark, William R.
                                                 Ruark, Herbert D. Steele, Leola B. Steele, The 5
                                                 Family LP, Tim & Terri Family LP, Terri Denise
                                                 Tyler, Timothy A Tyler, Judith A. Wilson,
                                                 Raynold W Wilson (Attachments: # 1 Exhibit A --
                                                 List of Pennsylvania Proof of Claim Lessors # 2
                                                 Exhibit B -- Tyler/Mowry Lessors Proofs of
                                                 Claim # 3 Exhibit C -- Kuffa WCLG Lease # 4
                                                 Exhibit D -- Kuffa Confirmed Arbitration Award)
 03/26/2021                                      (Helfer, Arleigh) (Entered: 03/26/2021)

                            3336
                                                 Letter from Kazuto and Renate Yamamoto
 03/26/2021                 (4 pgs)              (mmap) (Entered: 03/26/2021)

                            3337                 Application for Compensation Second Interim
                                                 and Final Fee Application of Alvarez & Marsal
                            (777 pgs; 2 docs)    North America, LLC as Restructuring Advisor for
                                                 the Debtors and Debtors in Possession for the
                                                 Period From June 28, 2020 Through and
                                                 Including January 16, 2021. Objections/Request
                                                 for Hearing Due in 21 days. Filed by Attorney
                                                 Matthew D Cavenaugh (Attachments: # 1
                                                 Proposed Order) (Cavenaugh, Matthew) (Entered:
 03/26/2021                                      03/26/2021)

                            3338                 Notice of Fifth Amended Plan Supplement for the
                                                 Fifth Amended Joint Chapter 11 Plan of
                            (2699 pgs)           Reorganization of Chesapeake Energy
                                                 Corporation and its Debtor Affiliates. (Related
                                                 document(s):2833 Amended Chapter 11 Plan)
                                                 Filed by Chesapeake Energy Corporation
 03/26/2021                                      (Cavenaugh, Matthew) (Entered: 03/26/2021)

                            3339                   Affidavit Re: Affidavit of Service of Angharad
                                                   Bowdler (Filed By Epiq Corporate
                            (5 pgs)                Restructuring LLC ).(Related document
                                                   (s):3274 Notice, 3275 Notice) (Garabato, Sid)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 539 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 539 of 1639
                                                                           0539


 03/26/2021                                        (Entered: 03/26/2021)

                            3340                   Affidavit Re: Affidavit of Service of Angharad
                                                   Bowdler (Filed By Epiq Corporate
                            (4 pgs)                Restructuring LLC ).(Related document
                                                   (s):3279 Notice) (Garabato, Sid) (Entered:
 03/26/2021                                        03/26/2021)

                            3341                   Motion to Appear pro hac vice of Douglas M.
                                                   Foley. Filed by Interested Party Epsilon Energy
                            (1 pg)                 USA, Inc. (Farrell, Thomas) (Entered:
 03/29/2021                                        03/29/2021)

                            3342                   Withdrawal of Claim: 2473 filed by Epiq
                                                   Corporate Restructuring, LLC on behalf of
                            (1 pg)                 Ohio Department of Taxation (Suarez, Hugo)
 03/29/2021                                        (Entered: 03/29/2021)

                            3343                   Exhibit List, Witness List (Filed By Dianna
                                                   Mowry, Rodney Mowry, Charlotte E. Place,
                            (268 pgs; 5 docs)      Jesse C. Place, Richard E. Place, Charlotte E.
                                                   Place Trust, Richard E. Place Trust, Placewood
                                                   Resource Management, LLC, Placewood
                                                   Resources, L.P., William R Ruark, William R.
                                                   Ruark, Herbert D. Steele, Leola B. Steele, Tim
                                                   & Terri Family LP, Terri Denise Tyler,
                                                   Timothy A Tyler, Tyler/Mowry Lessors, Judith
                                                   A. Wilson, Raynold W Wilson ). (Attachments:
                                                   # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4
                                                   Exhibit D) (Helfer, Arleigh) (Entered:
 03/29/2021                                        03/29/2021)

                            3344                   Witness List, Exhibit List (Filed By
                                                   Chesapeake Energy Corporation ).(Related
                            (4 pgs)                document(s):3310 Emergency Motion (with
                                                   hearing date)) (Cavenaugh, Matthew) (Entered:
 03/29/2021                                        03/29/2021)

                            3345                   Witness List, Exhibit List (Filed By
                                                   Chesapeake Energy Corporation ).(Related
                            (27580 pgs; 11 docs)   document(s):3344 Witness List, Exhibit List)
                                                   (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3
                                                   Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6
                                                   Exhibit 6 - part 1 # 7 Exhibit 6 - part 2 # 8
                                                   Exhibit 7 # 9 Exhibit 8 # 10 Exhibit 9)
 03/29/2021                                        (Cavenaugh, Matthew) (Entered: 03/29/2021)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 540 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 540 of 1639
                                                                           0540


                            3346                   Order Granting Motion To Appear pro hac vice
                                                   - Daniel Seltz (Related Doc # 3329) Signed on
 03/29/2021                 (1 pg)                 3/29/2021. (emiller) (Entered: 03/29/2021)

                            3347                   Order Granting Motion To Appear pro hac vice
                                                   - Larry D. Moffett (Related Doc # 3332)
                            (1 pg)                 Signed on 3/29/2021. (emiller) (Entered:
 03/29/2021                                        03/29/2021)

                            3348                   Motion to Compel Arbitration, or Alternatively,
                                                   for Permissive Abstention Filed by Creditors
                            (352 pgs; 5 docs)      Cemetery Road Hunt Club, Inc., Charlotte E.
                                                   Place, Jesse C. Place, Richard E. Place,
                                                   Charlotte E. Place Trust, Richard E. Place
                                                   Trust, Placewood Resource Management, LLC,
                                                   Placewood Resources, L.P., R&J Partners, L.P.,
                                                   William R Ruark, William R. Ruark, Herbert
                                                   D. Steele, Leola B. Steele, Judith A. Wilson,
                                                   Raynold W Wilson Hearing scheduled for
                                                   4/28/2021 at 02:00 PM at Houston.
                                                   (Attachments: # 1 Proposed Order # 2 Exhibit
                                                   A - Leases -- 1 of 2 # 3 Exhibit A -- Leases - 2
                                                   of 2 # 4 Exhibit B -- Carlucci Declarations)
 03/29/2021                                        (Helfer, Arleigh) (Entered: 03/29/2021)

                            3349                   Objection to Reorganized Debtors' Emergency
                                                   Motion to Enforce Confirmation Order (related
                            (56 pgs)               document(s):3310 Emergency Motion (with
                                                   hearing date)). Filed by Epsilon Energy USA,
 03/29/2021                                        Inc. (Farrell, Thomas) (Entered: 03/29/2021)

                            3350                   Response/Objection Filed by John Winston.
                                                   (Related document(s):3112 Objection to Claim)
 03/29/2021                 (4 pgs)                (dnor) (Entered: 03/29/2021)

                            3351                   Motion to Appear pro hac vice Charles E.
                                                   Schaffer. Filed by Creditor Demchak Plaintiffs
 03/29/2021                 (1 pg)                 (DesireeSillas) (Entered: 03/29/2021)

                            3352                   Emergency Motion Reorganized Debtors'
                                                   Emergency Motion for Entry of an Order
                            (14 pgs; 2 docs)       Authorizing the Reorganized Debtors to File
                                                   the Reorganized Debtors' Amended Witness
                                                   and Exhibit List Under Seal Filed by Debtor
                                                   Chesapeake Energy Corporation (Attachments:
                                                   # 1 Proposed Order) (Cavenaugh, Matthew)
 03/29/2021                                        (Entered: 03/29/2021)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 541 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 541 of 1639
                                                                           0541


                            3353                   Affidavit Re: Affidavit of Service of Angharad
                                                   Bowdler (Filed By Epiq Corporate
                            (847 pgs)              Restructuring LLC ).(Related document
                                                   (s):3295 Generic Order) (Garabato, Sid)
 03/29/2021                                        (Entered: 03/29/2021)

                            3354                   Witness List, Exhibit List (Filed By
                                                   Chesapeake Energy Corporation ).(Related
                            (27586 pgs; 16 docs)   document(s):3344 Witness List, Exhibit List,
                                                   3345 Witness List, Exhibit List) (Attachments:
                                                   # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4
                                                   Exhibit 4 # 5 Exhibit 5 # 6 Exhibit 6 - part 1 #
                                                   7 Exhibit 6 - part 2 # 8 Exhibit 7 # 9 Exhibit 8
                                                   # 10 Exhibit 9 # 11 Exhibit 10 # 12 Exhibit 11
                                                   # 13 Exhibit 12 # 14 Exhibit 13 # 15 Exhibit
                                                   14) (Cavenaugh, Matthew) (Entered:
 03/29/2021                                        03/29/2021)

                            3356                   Motion to Appear pro hac vice Charles
                                                   LaDuca . Filed by Creditors Demchak Plaintiffs
                            (1 pg)                 (ChristopherSarrat) Modified on 3/30/2021
 03/29/2021                                        (ChristopherSarrat). (Entered: 03/30/2021)

                            3355                   Receipt of Sealed Document retained in Clerk's
 03/30/2021                                        office(#3354). (rcas) (Entered: 03/30/2021)

                            3357                   AO 435 TRANSCRIPT ORDER FORM (Daily
                                                   (24 hours)) by Matthew Cavenaugh. This is to
                            (1 pg)                 order a transcript of 3/30/2021 before Judge
                                                   David R. Jones. Court Reporter/Transcriber:
                                                   Access Transcripts (Filed By Chesapeake
                                                   Energy Corporation ). (Cavenaugh, Matthew)
                                                   Electronically forwarded to Access Transcripts
                                                   on 3-31-2021. Estimated completion date: 4-1-
                                                   2021. Modified on 3/31/2021 (MelissaMorgan).
 03/30/2021                                        (Entered: 03/30/2021)

                            3358                   Courtroom Minutes. Time Hearing Held: 11:30
                                                   AM. Appearances: see attached. (Related
                            (2 pgs)                document(s):3310 Emergency Motion (with
                                                   hearing date)) For the reasons stated on the
                                                   record, the Court has granted the motion in
                                                   part. The parties to confer and craft an order
                                                   reflecting the Courts ruling. (aalo) (Entered:
 03/30/2021                                        03/30/2021)

                                                   Certificate of Email Notice. By agreement of




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 542 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 542 of 1639
                                                                           0542


                                                   the parties, the hearing on the motion for relief
                                                   from stay has been adjourned. Movant to notice
                                                   all interested parties and file a certificate of
                                                   service with the court (Related document
                                                   (s):1293 Motion for Relief From Stay) Status/
                                                   Scheduling Hearing scheduled for 4/21/2021
                                                   at 09:30 AM at telephone and video
 03/30/2021                                        conference. (aalo) (Entered: 03/30/2021)

                            3359                   Motion to Abstain. Objections/Request for
                                                   Hearing Due in 21 days. Filed by Creditors
                            (59 pgs; 3 docs)       Dianna Mowry, Rodney Mowry, Tim & Terri
                                                   Family LP, Terri Denise Tyler, Timothy A
                                                   Tyler Hearing scheduled for 4/28/2021 at 02:00
                                                   PM at Houston, Courtroom 400 (DRJ).
                                                   (Attachments: # 1 Proposed Order # 2 Exhibit
                                                   A -- Leases) (Helfer, Arleigh) (Entered:
 03/30/2021                                        03/30/2021)

                            3360                   Motion to Appear pro hac vice Michelle R.
                                                   O'Brien. Filed by Creditor Demchak Plaintiffs
 03/30/2021                 (1 pg)                 (ChristopherSarrat) (Entered: 03/30/2021)

                            3361                   Order Granting Motion To Appear pro hac vice
                                                   - Douglas M. Foley (Related Doc # 3341)
                            (1 pg)                 Signed on 3/30/2021. (emiller) (Entered:
 03/30/2021                                        03/30/2021)

                            3362                   Order Granting Motion To Appear pro hac vice
                                                   - Charles E. Schaffer (Related Doc # 3351)
                            (1 pg)                 Signed on 3/30/2021. (emiller) (Entered:
 03/30/2021                                        03/30/2021)

                            3363                   Order Granting Motion To Appear pro hac vice
                                                   - Charles LaDuca (Related Doc # 3356) Signed
 03/30/2021                 (1 pg)                 on 3/30/2021. (emiller) (Entered: 03/30/2021)

                            3364                   Order Granting Motion To Appear pro hac vice
                                                   - Michelle R. O'Brien (Related Doc # 3360)
                            (1 pg)                 Signed on 3/30/2021. (emiller) (Entered:
 03/30/2021                                        03/30/2021)

                            3365                   Reply (related document(s):3335 Objection).
                                                   (Attachments: # 1 Exhibit 1 # 2 Exhibit 2)
 03/30/2021                 (51 pgs; 3 docs)       (Cavenaugh, Matthew) (Entered: 03/30/2021)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 543 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 543 of 1639
                                                                           0543


                            3366                   Order Granting Motion to Withdraw as Counsel
                                                   for Good Cause (Related Doc # 2972) Signed
 03/30/2021                 (1 pg)                 on 3/30/2021. (emiller) (Entered: 03/30/2021)

                            3367                   Order Authorizing the Reorganized Debtors to
                                                   File the Reorganized Debtors' Amended
                            (3 pgs)                Witness and Exhibit List Under Seal (Related
                                                   Doc # 3352) Signed on 3/30/2021. (emiller)
 03/30/2021                                        (Entered: 03/30/2021)

                            3368                   Additional Attachments Re: Amended Exhibits
                                                   1 and 2 to Reorganized Debtors' Motion for
                            (117 pgs; 2 docs)      Entry of Orders (I) Authorizing and Approving
                                                   (A) the PG AG Settlement, (B) the MEC
                                                   Settlement, and (C) the Non-MEC Settlement,
                                                   and (II) Granting Related Relief (related
                                                   document(s):3175 Application to Compromise
                                                   Controversy) (Filed By Chesapeake Energy
                                                   Corporation ).(Related document(s):3175
                                                   Application to Compromise Controversy)
                                                   (Attachments: # 1 Exhibit 2) (Cavenaugh,
 03/31/2021                                        Matthew) (Entered: 03/31/2021)

                            3369                   Withdrawal of Claim: 716 filed by Epiq
                                                   Corporate Restructuring, LLC on behalf of
                            (5 pgs)                Ohio Bureau of Workers' Compensation
 03/31/2021                                        (Suarez, Hugo) (Entered: 03/31/2021)

                            3370                   AO 435 TRANSCRIPT ORDER FORM (Daily
                                                   (24 hours)) by Thomas M. Farrell. This is to
                            (1 pg)                 order a transcript of 03/30/2021 before Judge
                                                   David R. Jones. Court Reporter/Transcriber:
                                                   Access Transcripts (Filed By Epsilon Energy
                                                   USA, Inc. ). (Farrell, Thomas) Copy request
                                                   was electronically forwarded to Access
                                                   Transcripts on 3-31-2021. Estimated
                                                   completion date: 4-1-2021. Modified on
                                                   3/31/2021 (MelissaMorgan). (Entered:
 03/31/2021                                        03/31/2021)

                            3371                   Order (I) Authorizing and Approving the PA
                                                   AG Settlement on a Final Basis, and (II)
                            (2 pgs)                Granting Related Relief (Related Doc # 3175)
                                                   Signed on 3/31/2021. (emiller) (Entered:
 03/31/2021                                        03/31/2021)

                            3372                   Affidavit Re: Affidavit of Service of Angharad




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 544 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 544 of 1639
                                                                           0544


                                                   Bowdler (Filed By Epiq Corporate
                            (341 pgs)              Restructuring LLC ).(Related document
                                                   (s):3296 Objection to Claim, 3297 Objection to
                                                   Claim, 3298 Objection to Claim, 3299
                                                   Objection to Claim, 3300 Objection to Claim,
                                                   3301 Objection to Claim) (Garabato, Sid)
 03/31/2021                                        (Entered: 03/31/2021)

                            3373                   Affidavit Re: Affidavit of Service of Angharad
                                                   Bowdler (Filed By Epiq Corporate
                            (3 pgs)                Restructuring LLC ).(Related document
                                                   (s):3303 Application for Compensation)
 03/31/2021                                        (Garabato, Sid) (Entered: 03/31/2021)

                            3374                   Affidavit Re: Affidavit of Service of Angharad
                                                   Bowdler (Filed By Epiq Corporate
                            (24 pgs)               Restructuring LLC ).(Related document
                                                   (s):3310 Emergency Motion (with hearing
 03/31/2021                                        date)) (Garabato, Sid) (Entered: 03/31/2021)

                            3375                   Stipulation By Chesapeake Energy Corporation
                                                   and The Addax Claimants. Does this document
                            (10 pgs)               include an agreed order or otherwise request
                                                   that the judge sign a document? Yes. (Filed By
                                                   Chesapeake Energy Corporation ). (Cavenaugh,
 03/31/2021                                        Matthew) (Entered: 03/31/2021)

                            3376                   Affidavit Re: Affidavit of Service of Angharad
                                                   Bowdler (Filed By Epiq Corporate
                            (16 pgs)               Restructuring LLC ).(Related document
                                                   (s):3306 Notice) (Garabato, Sid) (Entered:
 03/31/2021                                        03/31/2021)

                            3382                   Courtroom Minutes. Time Hearing Held: 9:30
                                                   AM. Appearances: see attached. (Related
                            (1 pg)                 Document 3175 Motion) For the reasons stated
                                                   on the record, the Court has approved the
                                                   settlement, the Order (I) Authorizing and
                                                   Approving the PA AG Settlement has been
                                                   signed. The Court to contact the District Court
                                                   regarding the class certification. Order to be
                                                   entered. (aalo) Additional attachment(s) added
 03/31/2021                                        on 4/5/2021 (aalo). (Entered: 04/02/2021)

                            3377                   Transcript RE: Emergency Motion Hearing
                                                   held on 03/30/21 before Judge David R. Jones.
                            (26 pgs)               Transcript is available for viewing in the




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 545 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 545 of 1639
                                                                           0545


                                                   Clerk's Office. Filed by Transcript access will
                                                   be restricted through 06/30/2021.
 04/01/2021                                        (AccessTranscripts) (Entered: 04/01/2021)

                            3378                   Notice of Hearing. (Related document(s):3348
                                                   Motion to Compel) Filed by Cemetery Road
                            (3 pgs)                Hunt Club, Inc., Charlotte E. Place, Jesse C.
                                                   Place, Richard E. Place, Charlotte E. Place
                                                   Trust, Richard E. Place Trust, Placewood
                                                   Resource Management, LLC, Placewood
                                                   Resources, L.P., R&J Partners, L.P., William R
                                                   Ruark, William R. Ruark, Herbert D. Steele,
                                                   Leola B. Steele, Judith A. Wilson, Raynold W
 04/01/2021                                        Wilson (Helfer, Arleigh) (Entered: 04/01/2021)

                            3379                   Notice of Hearing on Motion for Permissive
                                                   Abstention. (Related document(s):3359 Motion
                            (3 pgs)                to Abstain) Filed by Tim & Terri Family LP,
                                                   Terri Denise Tyler, Timothy A Tyler,
                                                   Tyler/Mowry Lessors (Helfer, Arleigh)
 04/01/2021                                        (Entered: 04/01/2021)

                            3380                   AO 435 TRANSCRIPT ORDER FORM (Daily
                                                   (24 hours)) by Matthew D. Cavenaugh. This is
                            (1 pg)                 to order a transcript of 03/31/2021 before Judge
                                                   David R. Jones. Court Reporter/Transcriber:
                                                   Access Transcripts (Filed By Chesapeake
                                                   Energy Corporation ). (Cavenaugh, Matthew)
                                                   Electronically forwarded to Access Transcripts
                                                   on 4-1-2021. Estimated completion date: 4-2-
                                                   2021. Modified on 4/1/2021 (MelissaMorgan).
 04/01/2021                                        (Entered: 04/01/2021)

                            3381                   Affidavit Re: Affidavit of Service of Angharad
                                                   Bowdler (Filed By Epiq Corporate
                            (26 pgs)               Restructuring LLC ).(Related document
                                                   (s):3322 Declaration, 3323 Application for
                                                   Compensation, 3330 Application for
                                                   Compensation, 3331 Application for
                                                   Compensation, 3333 Application for
                                                   Compensation, 3337 Application for
                                                   Compensation, 3338 Notice) (Garabato, Sid)
 04/01/2021                                        (Entered: 04/01/2021)

                            3383                   Notice of Filing of Official Transcript as to
                                                   3377 Transcript. Parties notified (Related
                            (1 pg)                 document(s):3377 Transcript) (dhan) (Entered:




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 546 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 546 of 1639
                                                                           0546


 04/02/2021                                        04/02/2021)

                            3384                   Certificate of No Objection with Respect to the
                                                   Intrepid Partners, LLC Fee Application and
                            (5 pgs; 3 docs)        Rothschild & Co US Inc. Fee Application
                                                   (Filed By Chesapeake Energy Corporation ).
                                                   (Related document(s):3222 Application for
                                                   Compensation, 3223 Application for
                                                   Compensation) (Attachments: # 1 Proposed
                                                   Order Intrepid Application # 2 Proposed Order
                                                   Rothschild Application) (Cavenaugh, Matthew)
 04/02/2021                                        (Entered: 04/02/2021)

                            3385                   Complaint with Objection to the Omnibus
                                                   Objection to the Creditors (related document
                            (15 pgs)               (s):1633 Order Approving Disclosure
 04/02/2021                                        Statement). (mmap) (Entered: 04/02/2021)

                            3386                   Transcript RE: Settlement Conference held on
                                                   03/31/21 before Judge David R. Jones.
                            (62 pgs)               Transcript is available for viewing in the
                                                   Clerk's Office. Filed by Transcript access will
                                                   be restricted through 07/1/2021.
 04/02/2021                                        (AccessTranscripts) (Entered: 04/02/2021)

                            3387                   Stipulation By Chesapeake Energy Corporation
                                                   and Robert R. Luchetti. Does this document
                            (2 pgs)                include an agreed order or otherwise request
                                                   that the judge sign a document? No. (Filed By
                                                   Chesapeake Energy Corporation ).(Related
                                                   document(s):3131 Motion for Examination)
 04/02/2021                                        (Cavenaugh, Matthew) (Entered: 04/02/2021)

                            3390
                                                   Withdrawal of Claim: 63 (jtab) (Entered:
 04/02/2021                 (5 pgs)                04/05/2021)

                            3388                   BNC Certificate of Mailing. (Related document
                                                   (s):3383 Notice of Filing of Official Transcript
                            (12 pgs)               (Form)) No. of Notices: 235. Notice Date
 04/04/2021                                        04/04/2021. (Admin.) (Entered: 04/04/2021)

                            3389                   Notice of Filing of Official Transcript as to
                                                   3386 Transcript. Parties notified (Related
                            (1 pg)                 document(s):3386 Transcript) (dhan) (Entered:
 04/05/2021                                        04/05/2021)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 547 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 547 of 1639
                                                                           0547


                            3391                       PDF with attached Audio File. Court Date
                                                   & Time [ 3/30/2021 11:39:08 AM ]. File Size
                            (1 pg)                 [ 17644 KB ]. Run Time [ 00:36:46 ]. (admin).
 04/05/2021                                        (Entered: 04/05/2021)

                            3392                   Proposed Order RE: Order Enforcing
                                                   Confirmation Order (Filed By Chesapeake
                            (3 pgs)                Energy Corporation ).(Related document
                                                   (s):3310 Emergency Motion (with hearing
                                                   date), 3349 Objection) (Cavenaugh, Matthew)
 04/05/2021                                        (Entered: 04/05/2021)

                            3393                   Emergency Motion of Epsilon Energy USA,
                                                   Inc. for an Order Authorizing the Filing and
                            (492 pgs; 20 docs)     Prosecution of Complaint for Equitable Relief
                                                   Filed by Interested Party Epsilon Energy USA,
                                                   Inc. Hearing scheduled for 4/7/2021 at 11:00
                                                   AM at telephone and video conference.
                                                   (Attachments: # 1 Exhibit A - March 30, 2021
                                                   Hearing Transcript # 2 Exhibit B - Proposed
                                                   Complaint # 3 Exhibit 1 to Proposed Complaint
                                                   # 4 Exhibit 2 to Proposed Complaint # 5
                                                   Exhibit 3 to Proposed Complaint # 6 Exhibit 4
                                                   to Proposed Complaint # 7 Exhibit 5 to
                                                   Proposed Complaint # 8 Exhibit 6 to Proposed
                                                   Complaint # 9 Exhibit 7 to Proposed Complaint
                                                   # 10 Exhibit 8 to Proposed Complaint # 11
                                                   Exhibit 9 to Proposed Complaint # 12 Exhibit
                                                   10 to Proposed Complaint # 13 Exhibit 11 to
                                                   Proposed Complaint # 14 Exhibit 12 to
                                                   Proposed Complaint # 15 Exhibit 13 to
                                                   Proposed Complaint # 16 Exhibit 14 to
                                                   Proposed Complaint # 17 Exhibit 15 to
                                                   Proposed Complaint # 18 Exhibit 16 to
                                                   Proposed Complaint # 19 Proposed Order)
 04/05/2021                                        (Gibbs, Charles) (Entered: 04/05/2021)

                            3394                   Non-Opposition Motion to Withdraw as
                                                   Attorney. Objections/Request for Hearing Due
                            (7 pgs; 2 docs)        in 21 days. Filed by Creditor PMBG Parties
                                                   (Attachments: # 1 Proposed Order) (Heard,
 04/05/2021                                        Mary) (Entered: 04/05/2021)

                            3395                   Emergency Motion // Epsilon Energy USA,
                                                   Inc.'s Emergency Motion for Entry of an Order
                            (12 pgs; 2 docs)       Authorizing the Filing under Seal of Certain
                                                   Exhibits to the Emergency Motion for an Order




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 548 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 548 of 1639
                                                                           0548


                                                   Authorizing the Filing and Prosecution of
                                                   Complaint for Equitable Relief (Related
                                                   document(s): 3393 Emergency Motion (with
                                                   hearing date)) Filed by Interested Party Epsilon
                                                   Energy USA, Inc. (Attachments: # 1 Proposed
 04/05/2021                                        Order) (Gibbs, Charles) (Entered: 04/05/2021)

                            3396                   Affidavit Re: Affidavit of Service of Angharad
                                                   Bowdler (Related document: 3352) (Filed By
                            (16 pgs)               Epiq Corporate Restructuring LLC ).
 04/05/2021                                        (Garabato, Sid) (Entered: 04/05/2021)

                            3397                   Response to the Objection of Claim #1104 and
                                                   #1318 by Cynthia Sacco and Kapp Schwebke
                            (2 pgs)                (related document(s):3114 Objection to Claim).
 04/05/2021                                        (mmap) (Entered: 04/06/2021)

                            3398
                                                   Withdrawal of Claim: 15 IRION COUNTY,
 04/06/2021                 (3 pgs)                TEXAS (LeDay, Tara) (Entered: 04/06/2021)

                            3399                   Notice of Withdrawal of Reservation of Rights
                                                   of Epsilon Energy USA, Inc. to Assert
                            (2 pgs)                Administrative Expense Claim. (Related
                                                   document(s):3186 Statement) Filed by Epsilon
                                                   Energy USA, Inc. (Gibbs, Charles) (Entered:
 04/06/2021                                        04/06/2021)

                            3400                   Certificate of No Objection regarding Motion
                                                   for Withdrawal and Substitution of Counsel
                            (3 pgs; 2 docs)        and Request for Notices (Filed By Eric
                                                   Petroleum Corporation, Eric Petroleum Utica,
                                                   LLC ).(Related document(s):3179 Motion to
                                                   Substitute Attorney) (Attachments: # 1
                                                   Proposed Order) (Flores, Henry) (Entered:
 04/06/2021                                        04/06/2021)

                            3401                   Witness List, Exhibit List (Filed By
                                                   Chesapeake Energy Corporation ).
                            (7432 pgs; 16 docs)    (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3
                                                   Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6
                                                   Exhibit 6 # 7 Exhibit 7 # 8 Exhibit 8 # 9
                                                   Exhibit 9 # 10 Exhibit 10 # 11 Exhibit 11 # 12
                                                   Exhibit 12 # 13 Exhibit 13 # 14 Exhibit 14 # 15
                                                   Exhibit 15 and 16) (Cavenaugh, Matthew)
 04/06/2021                                        (Entered: 04/06/2021)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 549 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 549 of 1639
                                                                           0549


                            3402                   Withdrawal of Claim: 1473 filed by Epiq
                                                   Corporate Restructuring, LLC on behalf of
                            (5 pgs)                Ohio Bureau of Workers' Compensation
 04/06/2021                                        (Suarez, Hugo) (Entered: 04/06/2021)

                            3403                   Witness List, Exhibit List (Filed By Epsilon
                                                   Energy USA, Inc. ).(Related document(s):3393
                            (473 pgs; 4 docs)      Emergency Motion (with hearing date))
                                                   (Attachments: # 1 Exhibit 1 # 2 Exhibit 2, Part
                                                   1 # 3 Exhibit 2, Part 2) (Gibbs, Charles)
 04/06/2021                                        (Entered: 04/06/2021)

                            3404                   Notice of Withdrawal as Counsel of Kevin
                                                   Liang. Filed by Chesapeake Energy
                            (3 pgs)                Corporation (Cavenaugh, Matthew) (Entered:
 04/06/2021                                        04/06/2021)

                            3405                   Receipt of Sealed Document retained in Clerk's
 04/06/2021                                        office. (BrendaLacy) (Entered: 04/06/2021)

                            3406                   Proposed Order Submission After Hearing
                                                   (Filed By Chesapeake Energy Corporation ).
                            (5 pgs)                (Related document(s):3175 Application to
                                                   Compromise Controversy) (Cavenaugh,
 04/06/2021                                        Matthew) (Entered: 04/06/2021)

                            3407                   Proposed Order Submission After Hearing
                                                   (Filed By Chesapeake Energy Corporation ).
                            (5 pgs)                (Related document(s):3175 Application to
                                                   Compromise Controversy) (Cavenaugh,
 04/06/2021                                        Matthew) (Entered: 04/06/2021)

                            3408                   Objection of the Reorganized Debtors to
                                                   Epsilon Energy USA, Inc.'s Emergency Motion
                            (6 pgs)                for an Order Authorizing the Filing and
                                                   Prosecution of Complaint for Equitable Relief
                                                   (related document(s):3393 Emergency Motion
                                                   (with hearing date)). Filed by Chesapeake
                                                   Energy Corporation (Cavenaugh, Matthew)
 04/06/2021                                        (Entered: 04/06/2021)

                            3409
                                                   Exhibit List, Witness List (Filed By
                            (475 pgs; 5 docs)      Chesapeake Energy Corporation ).(Related
                                                   document(s):3393 Emergency Motion (with
                                                   hearing date)) (Attachments: # 1 Exhibit 1 # 2
                                                   Exhibit 2 - Part 1 # 3 Exhibit 2 - Part 2 # 4




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 550 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 550 of 1639
                                                                           0550


                                                   Exhibit 3) (Cavenaugh, Matthew) (Entered:
 04/06/2021                                        04/06/2021)

                            3410                   AO 435 TRANSCRIPT ORDER FORM (Daily
                                                   (24 hours)) by Matthew Cavenaugh. This is to
                            (1 pg)                 order a transcript of 4/7/2021 before Judge
                                                   David R. Jones. Court Reporter/Transcriber:
                                                   Access Transcripts (Filed By Chesapeake
                                                   Energy Corporation ). (Cavenaugh, Matthew)
                                                   Electronically forwarded to Access Transcripts,
                                                   LLC on April 8, 2021. Estimated completion
                                                   date: April 9, 2021. Modified on 4/8/2021
 04/07/2021                                        (ClaudiaGutierrez). (Entered: 04/07/2021)

                            3411                   Courtroom Minutes. Time Hearing Held: 11:00
                                                   AM. Appearances: see attached. (Related
                            (1 pg)                 document(s):3393 Emergency Motion (with
                                                   hearing date)) Hearing held, the parties to
                                                   upload a proposed order with respect to 3393.
                                                   Status conference to be held on 4/9/2021 at
                                                   09:00 AM by telephone and video
 04/07/2021                                        conference. (aalo) (Entered: 04/07/2021)

                            3412                       PDF with attached Audio File. Court Date
                                                   & Time [ 4/7/2021 11:02:14 AM ]. File Size
                            (1 pg)                 [ 21137 KB ]. Run Time [ 00:44:02 ]. (admin).
 04/07/2021                                        (Entered: 04/07/2021)

                            3413                   AO 435 TRANSCRIPT ORDER FORM (Daily
                                                   (24 hours)) by Thomas M. Farrell. This is to
                            (1 pg)                 order a transcript of 04/07/2021 Hearing before
                                                   Judge David R. Jones. Court
                                                   Reporter/Transcriber: Veritext Legal Solutions
                                                   (Filed By Epsilon Energy USA, Inc. ). (Farrell,
                                                   Thomas) Copy request electronically forwarded
                                                   to original transcription company Access
                                                   Transcripts, LLC on April 8, 2021. Estimated
                                                   completion date: April 9, 2021. Modified on
                                                   4/8/2021 (ClaudiaGutierrez). (Entered:
 04/07/2021                                        04/07/2021)

                            3414
                                                   Withdrawal of Claim: of Robert R. Luchetti
 04/07/2021                 (2 pgs)                (Proctor, Michael) (Entered: 04/07/2021)

                            3415
                                                   Order Signed on 4/7/2021 (Related document




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 551 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 551 of 1639
                                                                           0551


                                                   (s):3406 Proposed Order Submission After
                            (5 pgs)                Hearing (Greensheet)) (aalo) (Entered:
 04/07/2021                                        04/07/2021)

                            3416                   Order (I) Directing the Application of Rules
                                                   9014, 9019, and 7023, (II) Granting
                            (5 pgs)                Preliminary Approval of Class Action
                                                   Settlement, (III) Preliminarily Certifying a
                                                   Class for Settlement Purposes, (IV) Approving
                                                   Form and Manner of Class Notice, and (V)
                                                   Setting Date for Final Approval Hearing on
                                                   Final Approval of Settlement Signed on
 04/07/2021                                        4/7/2021 (aalo) (Entered: 04/07/2021)

                            3417                   Order Authorizing Epsilon to File Under Seal
                                                   (Related Doc # 3395) Signed on 4/7/2021.
 04/07/2021                 (3 pgs)                (VrianaPortillo) (Entered: 04/07/2021)

                            3418                   Exhibit List, Witness List (Filed By
                                                   Chesapeake Energy Corporation ).(Related
                            (45 pgs; 8 docs)       document(s):3401 Witness List, Exhibit List)
                                                   (Attachments: # 1 Exhibit 17 # 2 Exhibit 18 # 3
                                                   Exhibit 19 # 4 Exhibit 20 # 5 Exhibit 21 # 6
                                                   Exhibit 22 # 7 Exhibit 23) (Cavenaugh,
 04/07/2021                                        Matthew) (Entered: 04/07/2021)

                            3419
                                                   Withdrawal of Claim: 134 Janet D. Bullis
 04/07/2021                 (2 pgs)                (Shiner, Michael) (Entered: 04/07/2021)

                            3420                   Certificate of No Objection with Respect to the
                                                   Second and Third Omnibus Objection to
                            (66 pgs; 5 docs)       Certain Proofs of Claim (Filed By Chesapeake
                                                   Energy Corporation ).(Related document
                                                   (s):3145 Objection to Claim, 3146 Objection to
                                                   Claim) (Attachments: # 1 Proposed Order
                                                   Second Omnibus Objection # 2 Redline -
                                                   Second Omnibus Objection # 3 Proposed Order
                                                   Third Omnibus Objection # 4 Redline - Third
                                                   Omnibus Objection) (Cavenaugh, Matthew)
 04/07/2021                                        (Entered: 04/07/2021)

                            3421                   Proposed Order RE: Sustaining Reorganized
                                                   Debtors' Amended Fourth Omnibus Objection
                            (223 pgs; 2 docs)      to Certain Proofs of Claim (Equity Interest
                                                   Claims) (Filed By Chesapeake Energy
                                                   Corporation ).(Related document(s):3148




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 552 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 552 of 1639
                                                                           0552


                                                   Objection to Claim) (Attachments: # 1 Redline)
 04/07/2021                                        (Cavenaugh, Matthew) (Entered: 04/07/2021)

                            3422                   Proposed Order RE: Sustaining Reorganized
                                                   Debtors' First Omnibus Objection to Certain
                            (389 pgs; 2 docs)      Proofs of Claim (Beneficial Bondholder
                                                   Duplicate Claims) (Filed By Chesapeake
                                                   Energy Corporation ).(Related document
                                                   (s):3112 Objection to Claim) (Attachments: # 1
                                                   Redline) (Cavenaugh, Matthew) (Entered:
 04/07/2021                                        04/07/2021)

                            3423
                                                   Withdrawal of Claim: 130 Bobby D. Crone
 04/07/2021                 (2 pgs)                (Shiner, Michael) (Entered: 04/07/2021)

                            3424
                                                   Withdrawal of Claim: 133 Harry C. Crone
 04/07/2021                 (2 pgs)                (Shiner, Michael) (Entered: 04/07/2021)

                            3425
                                                   Withdrawal of Claim: 135 Judy Prock (Shiner,
 04/07/2021                 (2 pgs)                Michael) (Entered: 04/07/2021)

                            3426
                                                   Withdrawal of Claim: 137 Paulette F. Parker
 04/07/2021                 (2 pgs)                (Shiner, Michael) (Entered: 04/07/2021)

                            3427                   Agenda for Hearing on 4/8/2021 (Filed By
                                                   Chesapeake Energy Corporation ). (Cavenaugh,
 04/07/2021                 (5 pgs)                Matthew) (Entered: 04/07/2021)

                            3428
                                                   Withdrawal of Claim: 138 Phyllis Welcher
 04/07/2021                 (2 pgs)                (Shiner, Michael) (Entered: 04/07/2021)

                            3429                   Withdrawal of Claim: 140 Ronald William
                                                   Goddard (Shiner, Michael) (Entered:
 04/07/2021                 (2 pgs)                04/07/2021)

                            3430
                                                   Withdrawal of Claim: 141 Sarah Lynn Moxley
 04/07/2021                 (2 pgs)                (Shiner, Michael) (Entered: 04/07/2021)

                            3431
                                                   Withdrawal of Claim: 129 Shelton Goddard




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 553 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 553 of 1639
                                                                           0553


 04/07/2021                 (2 pgs)                (Shiner, Michael) (Entered: 04/07/2021)

                            3432
                                                   Withdrawal of Claim: 142 Susan Goddard
 04/07/2021                 (2 pgs)                Martin (Shiner, Michael) (Entered: 04/07/2021)

                            3433
                                                   Withdrawal of Claim: 143 Susan Gordon
 04/07/2021                 (2 pgs)                (Shiner, Michael) (Entered: 04/07/2021)

                            3434
                                                   Withdrawal of Claim: 145 Woodrow James
 04/07/2021                 (2 pgs)                Bailey (Shiner, Michael) (Entered: 04/07/2021)

                            3435                   BNC Certificate of Mailing. (Related document
                                                   (s):3389 Notice of Filing of Official Transcript
                            (12 pgs)               (Form)) No. of Notices: 235. Notice Date
 04/07/2021                                        04/07/2021. (Admin.) (Entered: 04/07/2021)

                            3436
                                                   Withdrawal of Claim: 131 Bruce Goddard, Sr.
 04/08/2021                 (2 pgs)                (Shiner, Michael) (Entered: 04/08/2021)

                            3437                   Order Sustaining Reorganized Debtors'
                                                   Amended Second Omnibus Objection to
                            (13 pgs)               Certain Proofs of Claim (Duplicate Claims)
                                                   Signed on 4/8/2021 (Related document(s):3145
                                                   Objection to Claim) (emiller) (Entered:
 04/08/2021                                        04/08/2021)

                            3438               Order Sustaining Reorganized Debtors' Amended
                                               Third Omnibus Objection to Certain Proofs of Claim
                            (16 pgs)           (Amended Claims) Signed on 4/8/2021 (Related
                                               document(s):3146 Objection to Claim) (emiller)
 04/08/2021                                    (Entered: 04/08/2021)

                            3439               AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                               hours)) by Matthew Cavenaugh. This is to order a
                            (1 pg)             transcript of 4/8/2021 before Judge David R. Jones.
                                               Court Reporter/Transcriber: Access Transcripts
                                               (Filed By Chesapeake Energy Corporation ).
                                               (Cavenaugh, Matthew) Electronically forwarded to
                                               Access Transcripts, LLC on April 9, 2021.
                                               Estimated completion date: April 10, 2021.
                                               Modified on 4/9/2021 (ClaudiaGutierrez). (Entered:
 04/08/2021                                    04/08/2021)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 554 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 554 of 1639
                                                                           0554


                            3440               Stipulation and Agreed Order Regarding the Addax
                                               Claimants' Proofs of Claim Signed on 4/8/2021
                            (10 pgs)           (Related document(s):3375 Stipulation) (emiller)
 04/08/2021                                    (Entered: 04/08/2021)

                            3441               Order Granting Second Interim and Final
                                               Application of Intrepid Partners, LLC as Investment
                            (1 pg)             Banker to the Debtors, for Allowance and Payment
                                               of Compensation for Professional Services Rendered
                                               and Reimbursement of Actual and Necessary
                                               Expenses Incurred from June 28, 2020 through and
                                               including February 9, 2021 (Related Doc # 3222)
 04/08/2021                                    Signed on 4/8/2021. (emiller) (Entered: 04/08/2021)

                            3442               Order Granting Second Interim and Final
                                               Application of Rothschild & Co US Inc. as
                            (1 pg)             Investment Banker to the Debtors, for Allowance
                                               and Payment of Compensation for Professional
                                               Services Rendered and Reimbursement of Actual
                                               and Necessary Expenses Incurred from June 28,
                                               2020 through and including February 9, 2021
                                               (Related Doc # 3223) Signed on 4/8/2021. (emiller)
 04/08/2021                                    (Entered: 04/08/2021)

                            3443               Order Enforcing Confirmation Order (Related Doc #
                                               3310) Signed on 4/8/2021. (emiller) (Entered:
 04/08/2021                 (3 pgs)            04/08/2021)

                            3444               Order Granting Withdrawal and Substitution of
                                               Counsel (Related Doc # 3179) Signed on 4/8/2021.
 04/08/2021                 (1 pg)             (emiller) (Entered: 04/08/2021)

                            3445               Order Sustaining Reorganized Debtors' Amended
                                               First Omnibus Objection to Certain Proofs of Claim
                            (194 pgs)          (Beneficial Bondholder Duplicate Claims) Signed
                                               on 4/8/2021 (Related document(s):3112 Objection to
 04/08/2021                                    Claim) (emiller) (Entered: 04/08/2021)

                            3446               Courtroom Minutes. Time Hearing Held: 2:30 PM.
                                               Appearances: Annie Dreisbach. (Related document
                            (1 pg)             (s):3111 Objection to Claim, 3148 Objection to
                                               Claim) For the reasons stated n the record, the Court
                                               has sustained the objections. Orders to be entered.
                                               (aalo) Additional attachment(s) added on 4/8/2021
 04/08/2021                                    (aalo). (Entered: 04/08/2021)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 555 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 555 of 1639
                                                                           0555


                            3447               Order Sustaining Reorganized Debtors' Amended
                                               Fourth Omnibus Objection to Certain Proofs of
                            (99 pgs)           Claim (Equity Interest Claims) Signed on 4/8/2021
                                               (Related document(s):3148 Objection to Claim)
 04/08/2021                                    (emiller) (Entered: 04/08/2021)

                            3448                   PDF with attached Audio File. Court Date &
                                               Time [ 4/8/2021 2:30:25 PM ]. File Size [ 44808
                            (1 pg)             KB ]. Run Time [ 01:33:21 ]. (admin). (Entered:
 04/08/2021                                    04/08/2021)

                            3449               Affidavit Re: Affidavit of Service of Angharad
                                               Bowdler (Filed By Epiq Corporate Restructuring
                            (20 pgs)           LLC ).(Related document(s):3368 Additional
                                               Attachments, 3371 Order on Application to
                                               Compromise Controversy) (Garabato, Sid) (Entered:
 04/08/2021                                    04/08/2021)

                            3450               Transcript RE: Emergency Motion Hearing held on
                                               04/07/21 before Judge David R. Jones. Transcript is
                            (33 pgs)           available for viewing in the Clerk's Office. Filed by
                                               Transcript access will be restricted through
                                               07/8/2021. (AccessTranscripts) (Entered:
 04/09/2021                                    04/09/2021)

                            3451               Proposed Order RE: Consent Order Regarding
                                               Epsilon Energy USA, Inc.'s Emergency Motion for
                            (2 pgs)            an Order Authorizing the Filing and Prosecution of
                                               Complaint for Equitable Relief (Filed By Epsilon
                                               Energy USA, Inc. ).(Related document(s):3395
                                               Emergency Motion) (Gibbs, Charles) (Entered:
 04/09/2021                                    04/09/2021)

                            3452               AO 435 TRANSCRIPT ORDER FORM (Daily (24
                                               hours)) by Daniel Northrop. This is to order a
                            (1 pg)             transcript of the Status Conference held on April 9,
                                               2021 before Judge David R. Jones. Court
                                               Reporter/Transcriber: Judicial Transcribers of Texas
                                               (Filed By Epsilon Energy USA, Inc. ). (Gibbs,
 04/09/2021                                    Charles) (Entered: 04/09/2021)

                            3453
                                               AO 435 TRANSCRIPT ORDER FORM (Daily (24
                            (1 pg)             hours)) by Matthew Cavenaugh. This is to order a
                                               transcript of 4/9/2021 before Judge David R. Jones.
                                               Court Reporter/Transcriber: Access Transcripts
                                               (Filed By Chesapeake Energy Corporation ).




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 556 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 556 of 1639
                                                                           0556


 04/09/2021                                    (Cavenaugh, Matthew) (Entered: 04/09/2021)

                            3454               Courtroom Minutes. Time Hearing Held: 9:00 AM.
                                               Appearances: see attached. (Related document
                            (1 pg)             (s):3451 Proposed Order) Status conference held,
                                               the court has approved and signed the order. Order
                                               to be entered. (aalo) Additional attachment(s) added
                                               on 4/12/2021 (VrianaPortillo). (Entered:
 04/09/2021                                    04/09/2021)

                            3455
                                               Withdrawal of Claim: 144 Wanda Sue Sayers
 04/09/2021                 (2 pgs)            (Shiner, Michael) (Entered: 04/09/2021)

                            3456
                                               Withdrawal of Claim: 136 Kenneth Alan Goddard
 04/09/2021                 (2 pgs)            (Shiner, Michael) (Entered: 04/09/2021)

                            3457               Consent Order Regarding Epsilon Energy USA,
                                               Inc.'s Emergency Motion for an Order Authorizing
                            (2 pgs)            the Filing and Prosecution of Complaint for
                                               Equitable Relief (Related Doc # 3393) Signed on
 04/09/2021                                    4/9/2021. (emiller) (Entered: 04/09/2021)

                            3458               Notice of Appeal filed. (related document(s):3415
                                               Generic Order). Fee Amount $298. Appellant
                            (12 pgs; 3 docs)   Designation due by 04/23/2021. (Attachments: # 1
                                               Exhibit A -- Court Order Appealed From # 2
                                               Certificate of Service)(Helfer, Arleigh) (Entered:
 04/09/2021                                    04/09/2021)

                                               Receipt of Notice of Appeal(20-33233)
                                               [appeal,ntcapl] ( 298.00) Filing Fee. Receipt number
                                               22951057. Fee amount $ 298.00. (U.S. Treasury)
 04/09/2021                                    (Entered: 04/09/2021)

                            3459               Notice of Appeal filed. (related document(s):3416
                                               Generic Order). Fee Amount $298. Appellant
                            (15 pgs; 3 docs)   Designation due by 04/23/2021. (Attachments: # 1
                                               Exhibit A - List of Appellants # 2 Exhibit B -- Order
                                               appealed from)(Helfer, Arleigh) (Entered:
 04/09/2021                                    04/09/2021)


                                               Receipt of Notice of Appeal(20-33233)
                                               [appeal,ntcapl] ( 298.00) Filing Fee. Receipt number
                                               22951109. Fee amount $ 298.00. (U.S. Treasury)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 557 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 557 of 1639
                                                                           0557


 04/09/2021                                    (Entered: 04/09/2021)

                            3460               Certificate of Service (Filed By Pennsylvania Oil
                                               and gas lessors ).(Related document(s):3459 Notice
 04/09/2021                 (1 pg)             of Appeal) (Helfer, Arleigh) (Entered: 04/09/2021)

                            3461               Withdrawal of Claim: #1473 by State of Ohio,
                                               Bureau of Workers Compensation (mmap) (Entered:
 04/09/2021                 (5 pgs)            04/09/2021)

                            3462               Affidavit Re: Affidavit of Service of Angharad
                                               Bowdler (Filed By Epiq Corporate Restructuring
                            (18 pgs)           LLC ).(Related document(s):3408 Objection)
 04/09/2021                                    (Garabato, Sid) (Entered: 04/09/2021)

                            3463               Affidavit Re: Affidavit of Service of Angharad
                                               Bowdler (Filed By Epiq Corporate Restructuring
                            (16 pgs)           LLC ).(Related document(s):3415 Generic Order,
                                               3416 Generic Order, 3418 Exhibit List, Witness
                                               List, 3427 Agenda) (Garabato, Sid) (Entered:
 04/09/2021                                    04/09/2021)

                            3464               Transcript RE: Objection to Claims Hearing held on
                                               04/08/21 before Judge David R. Jones. Transcript is
                            (72 pgs)           available for viewing in the Clerk's Office. Filed by
                                               Transcript access will be restricted through
                                               07/9/2021. (AccessTranscripts) (Entered:
 04/10/2021                                    04/10/2021)

                            3465               BNC Certificate of Mailing. (Related document
                                               (s):3447 Generic Order) No. of Notices: 235. Notice
 04/10/2021                 (110 pgs)          Date 04/10/2021. (Admin.) (Entered: 04/10/2021)

                            3466               Withdrawal of Claim: Lawrence J. Fechko claim
                                               number 12477 with claims agent in the amount of
 04/11/2021                 (2 pgs)            $541,932.58 (Rubio, Charles) (Entered: 04/11/2021)

                            3467               Withdrawal of Claim: CTF, Ltd. claim number
                                               12502 with claims agent in the amount of
                            (2 pgs)            $5,165,029.04 (Rubio, Charles) (Entered:
 04/11/2021                                    04/11/2021)

                            3468               Withdrawal of Claim: Catherine B. Carlton claim
                                               number 12666 with claims agent in the amount of
 04/11/2021                 (2 pgs)            $180,644.19 (Rubio, Charles) (Entered: 04/11/2021)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 558 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 558 of 1639
                                                                           0558


                            3469               Withdrawal of Claim: Bruce D. Carlton claim
                                               number 12737 with claims agent in the amount of
 04/11/2021                 (2 pgs)            $180,644.19 (Rubio, Charles) (Entered: 04/11/2021)

                            3470               Withdrawal of Claim: Catherine A. Carlton claim
                                               number 12739 with claims agent in the amount of
 04/11/2021                 (2 pgs)            $578,504.71 (Rubio, Charles) (Entered: 04/11/2021)

                            3471               Withdrawal of Claim: Richard A. Carlton claim
                                               number 12740 with claims agent in the amount of
 04/11/2021                 (2 pgs)            $578,504.71 (Rubio, Charles) (Entered: 04/11/2021)

                            3472               Withdrawal of Claim: Judy L. Carlton claim number
                                               12743 with claims agent in the amount of
 04/11/2021                 (2 pgs)            $79,793.75 (Rubio, Charles) (Entered: 04/11/2021)

                            3473               Withdrawal of Claim: Ronald E. Carlton claim
                                               number 12746 with claims agent in the amount of
 04/11/2021                 (2 pgs)            $79,793.75 (Rubio, Charles) (Entered: 04/11/2021)

                            3474               Notice of Filing of Official Transcript as to 3450
                                               Transcript, 3464 Transcript. Parties notified (Related
                            (1 pg)             document(s):3450 Transcript, 3464 Transcript)
 04/12/2021                                    (dhan) (Entered: 04/12/2021)

                            3475               Notice of Praecipe to Substitute Exhibit. (Related
                                               document(s):3459 Notice of Appeal) Filed by R&J
                            (6 pgs; 2 docs)    Partners, L.P. (Attachments: # 1 Exhibit A --
                                               Corrected List of Appellants) (Helfer, Arleigh)
 04/12/2021                                    (Entered: 04/12/2021)

                            3484               Response to the Objection of Claim 126 by Kevin
                                               and Cynthia Ehart(related document(s):3050
 04/12/2021                 (2 pgs)            Generic Order). (mmap) (Entered: 04/14/2021)

                            3476               Withdrawal of Claim: 192 (Epiq Claim No. 4674);
                                               Oklahoma Office of State Treasurer (Watts,
 04/13/2021                 (2 pgs)            Jameson) (Entered: 04/13/2021)

                            3477               Transcript RE: Motion Hearing (Via Zoom) held on
                                               April 9, 2021 before Judge David R. Jones.
                            (9 pgs)            Transcript is available for viewing in the Clerk's
                                               Office. Filed by Transcript access will be restricted
 04/13/2021                                    through 07/12/2021. (mhen) (Entered: 04/13/2021)

                            3478               Withdrawal of Claim: 253 filed by Epiq Corporate




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 559 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 559 of 1639
                                                                           0559


                                               Restructuring, LLC on behalf of Texas Comptroller
                            (2 pgs)            of Public Accounts (Suarez, Hugo) (Entered:
 04/13/2021                                    04/13/2021)

                            3479               Withdrawal of Claim: 13501 and 13505 filed by
                                               Epiq Corporate Restructuring, LLC on behalf of
                            (3 pgs)            Joseph Lesieur (Suarez, Hugo) (Entered:
 04/13/2021                                    04/13/2021)

                            3480               Clerk's Notice of Filing of an Appeal. On 4/92021,
                                               RDNJ Trowbridge, Robert Dunlap and Wendy
                            (1 pg)             Dunlap filed a notice of appeal. The appeal has been
                                               assigned to U.S. District Judge Keith Ellison, Civil
                                               Action 4:21-cv-1215. Parties notified (Related
                                               document(s):3458 Notice of Appeal)
 04/13/2021                                    (ShoshanaArnow) (Entered: 04/13/2021)

                            3481               Clerk's Notice of Filing of an Appeal. On 4/9/2021,
                                               Pennsylvania Proof of Claim Lessors filed a notice
                            (1 pg)             of appeal. The appeal has been assigned to U.S.
                                               District Judge Keith Ellison, Civil Action 4:21-cv-
                                               1218. Parties notified (Related document(s):3459
                                               Notice of Appeal) (ShoshanaArnow) (Entered:
 04/13/2021                                    04/13/2021)

                            3482               Election to Appeal to District Court .
 04/13/2021                                    (ShoshanaArnow) (Entered: 04/13/2021)

                            3483               Notice of Filing of Official Transcript as to 3477
                                               Transcript. Parties notified (Related document
 04/14/2021                 (1 pg)             (s):3477 Transcript) (jdav) (Entered: 04/14/2021)

                            3485               BNC Certificate of Mailing. (Related document
                                               (s):3474 Notice of Filing of Official Transcript
                            (12 pgs)           (Form)) No. of Notices: 245. Notice Date
 04/14/2021                                    04/14/2021. (Admin.) (Entered: 04/14/2021)

                            3486               Response to the Objection of Claim 1539 by Tracy
                                               L. Nolley(related document(s):3146 Objection to
 04/14/2021                 (1 pg)             Claim). (mmap) (Entered: 04/15/2021)

                            3487               Response to the Objection of Claim #1738 by
                                               Vanessa Perez Weiss (related document(s):3146
 04/15/2021                 (1 pg)             Objection to Claim). (mmap) (Entered: 04/15/2021)

                            3488
                                               Certificate of No Objection to Second Interim and




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 560 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 560 of 1639
                                                                           0560


                                               Final Application of Forshey & Prostok, LLP (Filed
                            (4 pgs)            By Forshey & Prostok, LLP ).(Related document
                                               (s):3304 Application for Compensation) (Prostok,
 04/15/2021                                    Jeffrey) (Entered: 04/15/2021)

                            3489               Certificate of No Objection to Second Interim and
                                               Final Application of Forshey & Prostok, LLP (Filed
                            (4 pgs)            By Forshey & Prostok, LLP ).(Related document
                                               (s):3304 Application for Compensation) (Prostok,
 04/15/2021                                    Jeffrey) (Entered: 04/15/2021)

                            3490               Proposed Order RE: Order Granting Forshey &
                                               Prostok, LLP's Second Interim and Final
                            (2 pgs)            Application for Payment of Compensation and
                                               Reimbursement of Expenses for the Period from July
                                               25, 2020 through and including February 9, 2021
                                               (Filed By Forshey & Prostok, LLP ).(Related
                                               document(s):3304 Application for Compensation,
                                               3489 Certificate of No Objection) (Prostok, Jeffrey)
 04/15/2021                                    (Entered: 04/15/2021)

                            3491               Affidavit Re: Affidavit of Service of Angharad
                                               Bowdler (Filed By Epiq Corporate Restructuring
                            (23 pgs)           LLC ).(Related document(s):3437 Generic Order,
                                               3438 Generic Order, 3440 Generic Order, 3441
                                               Order on Application for Compensation, 3442 Order
                                               on Application for Compensation, 3443 Order on
                                               Emergency Motion, 3445 Generic Order, 3447
                                               Generic Order) (Garabato, Sid) (Entered:
 04/15/2021                                    04/15/2021)

                            3492               Affidavit Re: Affidavit of Service of Angharad
                                               Bowdler (Filed By Epiq Corporate Restructuring
                            (40 pgs)           LLC ).(Related document(s):3437 Generic Order,
                                               3438 Generic Order, 3445 Generic Order, 3447
                                               Generic Order) (Garabato, Sid) (Entered:
 04/15/2021                                    04/15/2021)

                            3493               BNC Certificate of Mailing. (Related document
                                               (s):3480 Clerk's Notice of Filing of an Appeal) No.
                            (12 pgs)           of Notices: 245. Notice Date 04/15/2021. (Admin.)
 04/15/2021                                    (Entered: 04/15/2021)

                            3494               BNC Certificate of Mailing. (Related document
                                               (s):3481 Clerk's Notice of Filing of an Appeal) No.
                            (12 pgs)           of Notices: 245. Notice Date 04/15/2021. (Admin.)
 04/15/2021                                    (Entered: 04/15/2021)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 561 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 561 of 1639
                                                                           0561


                            3495               Certificate of No Objection With Respect to Jackson
                                               Walker LLP's Second Interim and Final Fee
                            (7 pgs; 3 docs)    Application (Filed By Chesapeake Energy
                                               Corporation ).(Related document(s):3303
                                               Application for Compensation) (Attachments: # 1
                                               Proposed Order # 2 Redline) (Cavenaugh, Matthew)
 04/16/2021                                    (Entered: 04/16/2021)

                            3496
                                               Response (related document(s):3296 Objection to
 04/16/2021                 (4 pgs)            Claim). (Gutierrez, Albert) (Entered: 04/16/2021)

                            3497               BNC Certificate of Mailing. (Related document
                                               (s):3483 Notice of Filing of Official Transcript
                            (12 pgs)           (Form)) No. of Notices: 245. Notice Date
 04/16/2021                                    04/16/2021. (Admin.) (Entered: 04/16/2021)

                            3498
                                               Letter from Michele E Schirru (scas) (Entered:
 04/16/2021                 (1 pg)             04/19/2021)

                            3499

 04/16/2021                 (4 pgs)            Letter from Vasile Nica (scas) (Entered: 04/19/2021)

                            3500               Certificate of No Objection (Filed By Chesapeake
                                               Energy Corporation ).(Related document(s):3330
                            (10 pgs; 4 docs)   Application for Compensation, 3331 Application for
                                               Compensation, 3337 Application for Compensation)
                                               (Attachments: # 1 Proposed Order
                                               PricewaterhouseCoopers LLP # 2 Proposed Order
                                               Ernst & Young LLP # 3 Proposed Order lvarez &
                                               Marsal North America, LLC) (Cavenaugh,
 04/19/2021                                    Matthew) (Entered: 04/19/2021)

                            3501               Withdraw Document (Filed By Archrock Partners
                                               Operating, LLC ).(Related document(s):3226
                            (2 pgs)            Application for Administrative Expenses) (Maraist,
 04/19/2021                                    Kevin) (Entered: 04/19/2021)

                            3502
                                               Certificate of No Objection Regarding Second
                            (7 pgs; 2 docs)    Interim and Final Fee Application of Norton Rose
                                               Fulbright US LLP for Allowance of Compensation
                                               and Reimbursement of Expenses as Co-Counsel to
                                               the Official Committee of Unsecured Creditors for
                                               the Period July 13, 2020 through February 9, 2021




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 562 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 562 of 1639
                                                                           0562


                                               (Filed By Official Committee Of Unsecured
                                               Creditors ).(Related document(s):3327 Application
                                               for Compensation) (Attachments: # 1 Proposed
 04/19/2021                                    Order) (Mokrzycka, Maria) (Entered: 04/19/2021)

                            3503               Certificate of No Objection Regarding Final
                                               Application of Brown Rudnick LLP, as Co-Counsel
                            (7 pgs; 2 docs)    to the Official Committee of Unsecured Creditors,
                                               for the Period from July 13, 2020 Through and
                                               Including February 9, 2021 (Filed By Official
                                               Committee Of Unsecured Creditors ).(Related
                                               document(s):3334 Application for Compensation)
                                               (Attachments: # 1 Proposed Order) (Mokrzycka,
 04/19/2021                                    Maria) (Entered: 04/19/2021)

                            3504               Certificate of No Objection Regarding Final
                                               Application of BBG, Inc. for Allowance of
                            (7 pgs; 2 docs)    Compensation for Services Rendered and
                                               Reimbursement of Expenses as Real Estate
                                               Appraiser / Valuation Expert to the Official
                                               Committee of Unsecured Creditors for the Period
                                               from November 2, 2020 through December 31, 2020
                                               (Filed By Official Committee Of Unsecured
                                               Creditors ).(Related document(s):3326 Application
                                               for Compensation) (Attachments: # 1 Proposed
 04/19/2021                                    Order) (Mokrzycka, Maria) (Entered: 04/19/2021)

                            3505               Certificate of No Objection Regarding Combined
                                               Third Monthly, Fourth Monthly, Fifth Monthly, Sixth
                            (7 pgs; 2 docs)    Monthly, and Final Fee Application of Opportune
                                               LLP for Allowance of Compensation and
                                               Reimbursement of Expenses as Special Valuation
                                               and Industry Advisor to the Official Committee of
                                               Unsecured Creditors for the Period September 1,
                                               2020 through February 6, 2021 (Filed By Official
                                               Committee Of Unsecured Creditors ).(Related
                                               document(s):3325 Application for Compensation)
                                               (Attachments: # 1 Proposed Order) (Mokrzycka,
 04/19/2021                                    Maria) (Entered: 04/19/2021)

                            3506
                                               Certificate of No Objection Regarding Final Fee
                                               Application of Back Bay Management and its
                            (7 pgs; 2 docs)
                                               Division, the Michel-Shaked Group, for Allowance
                                               of Compensation for Services Rendered and
                                               Reimbursement of Expenses as Expert Valuation
                                               Consultant to the Official Committee of Unsecured
                                               Creditors for the Period from September 1, 2020




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 563 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 563 of 1639
                                                                           0563


                                               through February 9, 2021 (Filed By Official
                                               Committee Of Unsecured Creditors ).(Related
                                               document(s):3328 Application for Compensation)
                                               (Attachments: # 1 Proposed Order) (Mokrzycka,
 04/19/2021                                    Maria) (Entered: 04/19/2021)

                            3507               Certificate of No Objection Regarding AlixPartners,
                                               LLP's Joint (I) Second Interim Fee Application for
                            (8 pgs; 2 docs)    the Period October 1, 2020 through February 9,
                                               2021 and (II) Final Fee Application for the Period
                                               July 14, 2020 through February 9, 2021 for
                                               Allowance of Compensation for Services Rendered
                                               and for Reimbursement of Expenses Incurred as
                                               Financial Advisor to the Official Committee of
                                               Unsecured Creditors (Filed By Official Committee
                                               Of Unsecured Creditors ).(Related document
                                               (s):3324 Application for Compensation)
                                               (Attachments: # 1 Proposed Order) (Mokrzycka,
 04/19/2021                                    Maria) (Entered: 04/19/2021)

                            3513               Response to Objection Filed with Respect to Claim
                                               1738 (related document(s):3146 Objection to
 04/19/2021                 (2 pgs)            Claim). (jtab) (Entered: 04/21/2021)

                            3508               Withdrawal of Claim: 192 (Epiq Claim No. 4682);
                                               Oklahoma Office of State Treasurer (Watts,
 04/20/2021                 (2 pgs)            Jameson) (Entered: 04/20/2021)

                                               Certificate of Email Notice. By agreement of the
                                               parties, the hearing set for 4/21/2021 has been
                                               adjourned. Movant to notice all interested parties
                                               and file a certificate of service with the court
                                               (Related document(s):1293 Motion for Relief From
                                               Stay) Status Hearing rescheduled for 5/25/2021 at
                                               03:00 PM by telephone and video conference.
 04/20/2021                                    (aalo) (Entered: 04/20/2021)

                            3509               Order Approving Jackson Walker LLP's Second
                                               Interim and Final Application for Allowance and
                            (2 pgs)            Payment of Fees and Expenses as Co-Counsel to the
                                               Debtors for the Period from June 28, 2020 through
                                               January 16, 2021 (Related Doc # 3303). Signed on
 04/20/2021                                    4/20/2021. (VrianaPortillo) (Entered: 04/21/2021)

                            3510               Order Granting Second Interim and Final Fee
                                               Application of Pricewaterhousecoopers for Services
                            (2 pgs)            Rendered and Reimbursement of Expenses to




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 564 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 564 of 1639
                                                                           0564


                                               Provide Audit Services and Tax Consulting Services
                                               for the Debtors for the Period June 28, 2020 though
                                               and Including January 16, 2021 (Related Doc #
                                               3330). Signed on 4/20/2021. (VrianaPortillo)
 04/20/2021                                    (Entered: 04/21/2021)

                            3511               Order Granting Second Interim and Final
                                               Application of Ernst & Young LLP for
                            (2 pgs)            Compensation and Reimbursement of Expenses for
                                               the Period from June 29, 2020 through and
                                               Including January 16, 2021 (Related Doc # 3331).
                                               Signed on 4/20/2021. (VrianaPortillo) (Entered:
 04/20/2021                                    04/21/2021)

                            3512               Order Granting Second and Final Interim Fee
                                               Application of Alvarez & Marsal North America,
                            (2 pgs)            LLC as the Debtors' Restructuring Advisor for
                                               Allowance of Compensation and Reimbursement of
                                               Expenses for the Period October 1, 2020 through
                                               January 16, 2021 (Related Doc # 3337). Signed on
 04/20/2021                                    4/20/2021. (VrianaPortillo) (Entered: 04/21/2021)

                            3515               Second Granting Second Interim and Final Fee
                                               Application of Norton Rose Fulbright US LLP for
                            (2 pgs)            Allowance of Compensation and Reimbursement of
                                               Expenses as Co-Counsel to Official Committee of
                                               Unsecured Creditors for the period July 13, 2020
                                               through February 9, 2021 (Related Doc # 3327).
                                               Signed on 4/20/2021. (VrianaPortillo) (Entered:
 04/20/2021                                    04/21/2021)

                            3517               Order Granting Brown Rudnick LLP's Final
                                               Application for Payment of Compensation and
                            (2 pgs)            Reimbursement of Expenses for the Period from
                                               July 13, 2020 through and Including February 9,
                                               2021 (Related Doc # 3334). Signed on 4/20/2021.
 04/20/2021                                    (VrianaPortillo) (Entered: 04/21/2021)

                            3518               Order Granting First Interim and Final Fee
                                               Application of BBG, INC. for Allowance of
                            (2 pgs)            Compensation and Reimbursement of Expenses as
                                               Real Estate Appraiser/Valuation Expert to the
                                               Official Committee of Unsecured Creditors for the
                                               Period November 2, 2020 through December 31,
                                               2020 (Related Doc # 3326). Signed on 4/20/2021.
 04/20/2021                                    (VrianaPortillo) (Entered: 04/21/2021)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 565 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 565 of 1639
                                                                           0565


                            3519               Order Granting Combined Third Monthly, Fourth
                                               Monthly, Fifth Monthly, Sixth Monthly and Final
                            (2 pgs)            Fee Application of Opportune LLP for Allowance of
                                               Compensation and Reimbursement of Expenses as
                                               Special Valuation and Industry Advisor to the
                                               Official Committee of Unsecured Creditors for the
                                               Period September 1, 2020 through February 6, 2021
                                               (Related Doc # 3325). Signed on 4/20/2021.
 04/20/2021                                    (VrianaPortillo) (Entered: 04/21/2021)

                            3520               Order Granting Second Interim and Final Fee
                                               Application of Back Bay Management and its
                            (2 pgs)            Division, the Michel-Shaked Group, for Allowance
                                               of Compensation and Reimbursement of Expenses
                                               as Valuation Expert to the Official Committee of
                                               Unsecured Creditors for the Period September 1,
                                               2020 through February 9, 2021 (Related Doc #
                                               3328). Signed on 4/20/2021. (VrianaPortillo)
 04/20/2021                                    (Entered: 04/21/2021)

                            3521               Order Granting AlixPartners, LLP's Joint (I) Second
                                               Interim Fee Application for the Period October 1,
                            (3 pgs)            2020 through February 9, 2021 and (II) Final Fee
                                               Application for the Period July 14, 2020 though
                                               February 9, 2021 for Allowance of Compensation
                                               for Services Rendered and for Reimbursement of
                                               Expenses Incurred as Financial Advisor to the
                                               Official Committee of Unsecured Creditors (Related
                                               Doc # 3324).Signed on 4/20/2021. (VrianaPortillo)
 04/20/2021                                    (Entered: 04/21/2021)

                            3528               Response (related document(s):3297 Objection to
                                               Claim) filed by Hubert Bell, Jr. (rcas) (Entered:
 04/20/2021                 (13 pgs)           04/23/2021)

                            3514               Stipulation By Chesapeake Energy Corporation and
                                               Four P Family Holdings LP and Byrd Family
                            (4 pgs)            Limited Partnership. Does this document include an
                                               agreed order or otherwise request that the judge sign
                                               a document? No. (Filed By Chesapeake Energy
                                               Corporation ).(Related document(s):3296 Objection
                                               to Claim) (Cavenaugh, Matthew) (Entered:
 04/21/2021                                    04/21/2021)

                            3516               Chapter 11 Post-Confirmation Report for Quarter
                                               Ended 3/31/2021 (Filed By Chesapeake Energy
                            (5 pgs)            Corporation ). (Cavenaugh, Matthew) (Entered:




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 566 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 566 of 1639
                                                                           0566


 04/21/2021                                    04/21/2021)

                            3522               Debtors Master Service List (Filed By Epiq
                                               Corporate Restructuring LLC ). (Garabato, Sid)
 04/21/2021                 (35 pgs)           (Entered: 04/21/2021)

                            3523               Order Granting Application For Compensation
                                               (Related Doc # 3304). Signed on 4/22/2021. (aalo)
 04/22/2021                 (2 pgs)            (Entered: 04/22/2021)

                            3524               Withdrawal of Claim: 2647 filed by Epiq Corporate
                                               Restructuring, LLC on behalf of Hatch Family
 04/22/2021                 (1 pg)             Mineral Trust (Suarez, Hugo) (Entered: 04/22/2021)

                            3525               Notice of Cancellation of Hearing Scheduled for
                                               April 30, 2021 at 2:00 p.m.. (Related document
                            (2 pgs)            (s):3225 Application for Administrative Expenses)
                                               Filed by Targa Pipeline Mid-Continent WestOk
 04/22/2021                                    LLC (Soule, Steven) (Entered: 04/22/2021)

                            3526
                                               Response (related document(s):3296 Objection to
 04/22/2021                 (22 pgs)           Claim). (Haliburton, Kerry) (Entered: 04/22/2021)

                            3527
                                               Response (related document(s):3297 Objection to
 04/22/2021                 (12 pgs)           Claim). (Haliburton, Kerry) (Entered: 04/22/2021)

                                               Certificate of Email Notice. By agreement of the
                                               parties, the hearing on the following matters has
                                               been adjourned. Movant to notice all interested
                                               parties and file a certificate of service with the court
                                               (Related document(s):3348 Motion to Compel, 3359
                                               Motion to Abstain) Hearing rescheduled for
                                               6/2/2021 at 02:00 PM by telephone and video
 04/23/2021                                    conference. (aalo) (Entered: 04/23/2021)

                            3529               Response (related document(s):3296 Objection to
                                               Claim). (Attachments: # 1 Exhibit A: Declaration of
                            (61 pgs; 2 docs)   David DeCristo)(Haliburton, Kerry) (Entered:
 04/23/2021                                    04/23/2021)

                            3530               Response (related document(s):3296 Objection to
                                               Claim). (Attachments: # 1 Exhibit A: Declaration of
                            (61 pgs; 2 docs)   Amy DeCristo)(Haliburton, Kerry) (Entered:
 04/23/2021                                    04/23/2021)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                         5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 567 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 567 of 1639
                                                                           0567


                            3531               Response (related document(s):3297 Objection to
                                               Claim). (Attachments: # 1 Affidavit Declaration)
 04/23/2021                 (6 pgs; 2 docs)    (Lauffer, Charles) (Entered: 04/23/2021)

                            3532               Certificate of No Objection Omnibus Certificate of
                                               No Objection (Filed By Chesapeake Energy
                            (8 pgs; 3 docs)    Corporation ).(Related document(s):3323
                                               Application for Compensation, 3333 Application for
                                               Compensation) (Attachments: # 1 Proposed Order
                                               Shearman Application # 2 Proposed Order Kirkland
                                               & Ellis, LLP Application) (Cavenaugh, Matthew)
 04/23/2021                                    (Entered: 04/23/2021)

                            3533               Stipulation By Chesapeake Energy Corporation and
                                               Aparicion Minerals, LP, EBS Mineral Holdings, and
                            (5 pgs)            Diana M. Stumberg. Does this document include an
                                               agreed order or otherwise request that the judge sign
                                               a document? Yes. (Filed By Chesapeake Energy
                                               Corporation ). (Cavenaugh, Matthew) (Entered:
 04/23/2021                                    04/23/2021)

                            3534                  Appellant Designation of Contents For Inclusion
                                                  in Record On Appeal (related document(s):3458
                            (4 pgs)               Notice of Appeal)., Statement of Issues on
                                                  Appeal (related document(s):3458 Notice of
                                                  Appeal)., Certification of No Transcript Ordered
                                                  under FRBP 8009. (related document(s):3458
                                                  Notice of Appeal). (Helfer, Arleigh) (Entered:
 04/23/2021                                       04/23/2021)

                            3535                  Appellant Designation of Contents For Inclusion
                                                  in Record On Appeal (related document(s):3459
                            (4 pgs)               Notice of Appeal)., Statement of Issues on
                                                  Appeal (related document(s):3459 Notice of
                                                  Appeal)., Certification of No Transcript Ordered
                                                  under FRBP 8009. (related document(s):3459
                                                  Notice of Appeal). (Helfer, Arleigh) (Entered:
 04/23/2021                                       04/23/2021)

                            3536                  Withdrawal of Claim: 12544 filed by Epiq
                                                  Corporate Restructuring, LLC on behalf of
                            (1 pg)                Wickliffe R Spears (Suarez, Hugo) (Entered:
 04/26/2021                                       04/26/2021)

                            3537                  Freeman Mills PC's Response to Debtor's Sixth
                                                  Omnibus Objection to Certain Proofs of Claim
                            (34 pgs; 2 docs)      (Satisfied Claims) (related document(s):3297




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                       5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 568 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 568 of 1639
                                                                           0568


                                                  Objection to Claim). (Attachments: # 1 Exhibits
 04/26/2021                                       1-4)(rcas) (Entered: 04/26/2021)

                            3538                  Stipulation Extending the Deadline to Respond
                                                  to Reorganized Debtors' Fifth Omnibus
                            (4 pgs)               Objection to Certain Proofs of Claim (Cross-
                                                  Debtor Duplicate Claims) Signed on 4/26/2021
                                                  (Related document(s):3514 Stipulation)
 04/26/2021                                       (VrianaPortillo) (Entered: 04/26/2021)

                            3539                  Stipulation and Agreed Order Regarding Proof
                                                  of Claim No. 12862 Signed on 4/26/2021
                            (5 pgs)               (Related document(s):3533 Stipulation) (emiller)
 04/26/2021                                       (Entered: 04/26/2021)

                            3540                  Order Granting First and Final Fee Application
                                                  of Shearman & Sterling LLP, Special Counsel
                            (2 pgs)               for the Debtors and Debtors in Possession, for
                                                  the Period from October 11, 2020 through and
                                                  including January 16, 2021 (Related Doc #
                                                  3323) Signed on 4/26/2021. (emiller) (Entered:
 04/26/2021                                       04/26/2021)

                            3541                  Order Granting Second Interim and Final Fee
                                                  Application of Kirkland & Ellis LLP and
                            (2 pgs)               Kirkland & Ellis International LLP, Attorneys
                                                  for the Debtors and Debtors in Possession for (I)
                                                  the Second Interim Fee Period from October 1,
                                                  2020 Through and Including January 16, 2021
                                                  and (II) the Fee Period from June 28, 2020
                                                  Through and Including January 16, 2021
                                                  (Related Doc # 3333) Signed on 4/26/2021.
 04/26/2021                                       (emiller) (Entered: 04/26/2021)

                            3542                  Response (related document(s):3296 Objection
                                                  to Claim). (Attachments: # 1 Proposed Order # 2
                            (180 pgs; 6 docs)     Exhibit A # 3 Exhibit B # 4 Exhibit C # 5
 04/26/2021                                       Exhibit D)(JosephWells) (Entered: 04/26/2021)

                            3543                  Objection to Claim Number by Claimant
                                                  Reorganized Debtors' Eleventh Omnibus
                            (17 pgs; 2 docs)      Objection to Certain Proofs of Claim (Amended
                                                  Claims) Hearing scheduled for 6/2/2021 at 02:00
                                                  PM at telephone and video conference.
                                                  (Attachments: # 1 Proposed Order)(Peguero,
 04/26/2021                                       Kristhy) (Entered: 04/26/2021)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 569 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 569 of 1639
                                                                           0569


                            3544                  Objection to Claim Number by Claimant
                                                  Reorganized Debtors' Twelfth Omnibus
                            (17 pgs; 2 docs)      Objection to Certain Proofs of Claim (Duplicate
                                                  Claims) Hearing scheduled for 6/2/2021 at 02:00
                                                  PM at telephone and video conference.
                                                  (Attachments: # 1 Proposed Order)(Peguero,
 04/26/2021                                       Kristhy) (Entered: 04/26/2021)

                            3545                  Objection to Claim Number by Claimant
                                                  Reorganized Debtors' Thirteenth Omnibus
                            (26 pgs; 2 docs)      Objection to Certain Proofs of Claim (Cross-
                                                  Debtor Duplicate Claims) Hearing scheduled for
                                                  6/2/2021 at 02:00 PM at telephone and video
                                                  conference. (Attachments: # 1 Proposed Order)
 04/26/2021                                       (Peguero, Kristhy) (Entered: 04/26/2021)

                            3546                  Objection to Claim Number by Claimant
                                                  Reorganized Debtors' Fourteenth Omnibus
                            (25 pgs; 2 docs)      Objection to Certain Proofs of Claim
                                                  (Reclassified Equity Claims) Hearing scheduled
                                                  for 6/2/2021 at 02:00 PM at telephone and video
                                                  conference. (Attachments: # 1 Proposed Order)
 04/26/2021                                       (Peguero, Kristhy) (Entered: 04/26/2021)

                            3547                  Objection to Claim Number by Claimant
                                                  Reorganized Debtors' Fifteenth Omnibus
                            (82 pgs; 2 docs)      Objection to Certain Proofs of Claim (Cross
                                                  Debtor Duplicate Claims, Satisfied Claims,
                                                  Equity Interest Claims, Beneficial Bondholder
                                                  Duplicate Claims and Duplicate Claims)
                                                  Hearing scheduled for 6/2/2021 at 02:00 PM at
                                                  telephone and video conference. (Attachments: #
                                                  1 Proposed Order)(Peguero, Kristhy) (Entered:
 04/26/2021                                       04/26/2021)

                            3548                  Witness List, Exhibit List (Filed By Chesapeake
                                                  Energy Corporation ).(Related document(s):3296
                            (142 pgs; 17 docs)    Objection to Claim, 3297 Objection to Claim,
                                                  3298 Objection to Claim, 3299 Objection to
                                                  Claim, 3300 Objection to Claim, 3301 Objection
                                                  to Claim) (Attachments: # 1 Exhibit 1 # 2
                                                  Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 # 5 Exhibit
                                                  5 # 6 Exhibit 6 # 7 Exhibit 7 # 8 Exhibit 8 # 9
                                                  Exhibit 9 # 10 Exhibit 10 # 11 Exhibit 11 # 12
                                                  Exhibit 12 # 13 Exhibit 13 # 14 Exhibit 14 # 15
                                                  Exhibit 15 # 16 Exhibit 16) (Peguero, Kristhy)
 04/27/2021                                       (Entered: 04/27/2021)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 570 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 570 of 1639
                                                                           0570


                            3549                  Motion to Withdraw as Attorney.
                                                  Objections/Request for Hearing Due in 21 days.
                            (4 pgs; 2 docs)       Filed by Creditors Melissa Wood, Randy Wood
                                                  (Attachments: # 1 Proposed Order Granting
                                                  Motion to Withdraw as Attorney of Record)
 04/27/2021                                       (Rubin, Howard) (Entered: 04/27/2021)

                            3550                  Certificate of No Objection Omnibus Certificate
                                                  of No Objection (Filed By Chesapeake Energy
                            (29 pgs; 4 docs)      Corporation ).(Related document(s):3299
                                                  Objection to Claim, 3300 Objection to Claim,
                                                  3301 Objection to Claim) (Attachments: # 1
                                                  Proposed Order Eighth Omnibus Objection # 2
                                                  Proposed Order Ninth Omnibus Objection # 3
                                                  Proposed Order Tenth Omnibus Objection)
 04/27/2021                                       (Cavenaugh, Matthew) (Entered: 04/27/2021)

                            3551                  Response (related document(s):3296 Objection
                                                  to Claim). (Gutierrez, Albert) (Entered:
 04/27/2021                 (6 pgs)               04/27/2021)

                            3552                  Certificate of No Objection Omnibus Certificate
                                                  of No Objection with Respect to the Fifth and
                            (690 pgs; 5 docs)     Sixth Omnibus Objection to Certain Proofs of
                                                  Claim (Filed By Chesapeake Energy
                                                  Corporation ).(Related document(s):3296
                                                  Objection to Claim, 3297 Objection to Claim)
                                                  (Attachments: # 1 Proposed Order Fifth
                                                  Omnibus Objection # 2 Redline - Fifth Omnibus
                                                  Objection # 3 Proposed Order Sixth Omnibus
                                                  Objection # 4 Redline - Sixth Omnibus
                                                  Objection) (Peguero, Kristhy) (Entered:
 04/28/2021                                       04/28/2021)

                            3553                  Certificate of No Objection Amended Omnibus
                                                  Certificate of No Objection with Respect to the
                            (29 pgs; 5 docs)      Eighth, Ninth, and Tenth Omnibus Objection to
                                                  Certain Proofs of Claim (Filed By Chesapeake
                                                  Energy Corporation ).(Related document(s):3299
                                                  Objection to Claim, 3300 Objection to Claim,
                                                  3301 Objection to Claim) (Attachments: # 1
                                                  Proposed Order Eighth Omnibus Objection # 2
                                                  Proposed Order Ninth Omnibus Objection # 3
                                                  Proposed Order Tenth Omnibus Objection # 4
                                                  Redline - Tenth Omnibus Objection) (Peguero,
 04/28/2021                                       Kristhy) (Entered: 04/28/2021)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                    5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 571 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 571 of 1639
                                                                           0571


                            3554                  Agenda for Hearing on 4/29/2021 (Filed By
                                                  Chesapeake Energy Corporation ). (Peguero,
 04/28/2021                 (4 pgs)               Kristhy) (Entered: 04/28/2021)

                            3555                  Order Granting Motion to Withdraw as Attorney
                                                  of Record and Removal from Notice Lists
                            (1 pg)                (Related Doc # 3549) Signed on 4/28/2021.
 04/28/2021                                       (VrianaPortillo) (Entered: 04/28/2021)

                            3556                  Order Sustaining Reorganized Debtors' Eight
                                                  Omnibus Objection to Certain Proofs of Claim
                            (15 pgs)              (Beneficial Bondholder Duplicate Claims)
                                                  Signed on 4/28/2021 (Related document(s):3299
                                                  Objection to Claim) (VrianaPortillo) (Entered:
 04/28/2021                                       04/28/2021)

                            3557                  Order Signed on 4/28/2021 (Related document
                                                  (s):3296 Objection to Claim) (aalo) (Entered:
 04/28/2021                 (86 pgs)              04/28/2021)

                            3558                  Order Signed on 4/28/2021 (Related document
                                                  (s):3297 Objection to Claim) (aalo) (Entered:
 04/28/2021                 (228 pgs)             04/28/2021)

                            3559                  Order Signed on 4/28/2021 (Related document
                                                  (s):3300 Objection to Claim) (aalo) (Entered:
 04/28/2021                 (5 pgs)               04/28/2021)

                            3560                  Order Signed on 4/28/2021 (Related document
                                                  (s):3301 Objection to Claim) (aalo) (Entered:
 04/28/2021                 (4 pgs)               04/28/2021)

                                                  Certificate of Telephone Notice. Contacted
                                                  Veronica Polnick. Movant to notice all interested
                                                  parties and file a certificate of service with the
                                                  court (Related document(s):3299 Objection to
                                                  Claim) Hearing rescheduled for 6/2/2021 at
                                                  02:00 PM by telephone and video conference.
 04/28/2021                                       (aalo) (Entered: 04/28/2021)

                            3564                  Motion to Appear pro hac vice Tyler S. Graden.
                                                  Filed by Creditors Gina M Suessenbach, James S
                            (1 pg)                Suessenbach, The Suessenbach Family Limited
 04/28/2021                                       Partnership (than) (Entered: 04/29/2021)


                                                  Certificate of Email Notice. Contacted Veronica




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 572 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 572 of 1639
                                                                           0572


                                                  Polnick. Movant to notice all interested parties
                                                  and file a certificate of service with the court
                                                  (Related document(s):3296 Objection to Claim,
                                                  3297 Objection to Claim) Hearing scheduled
                                                  for 6/2/2021 at 02:00 PM by telephone and
 04/29/2021                                       video conference. (aalo) (Entered: 04/29/2021)

                            3561                  Notice of Reset Hearing. (Related document
                                                  (s):3296 Objection to Claim, 3297 Objection to
                            (3 pgs)               Claim, Certificate of Notice) Filed by
                                                  Chesapeake Energy Corporation (Peguero,
 04/29/2021                                       Kristhy) (Entered: 04/29/2021)

                            3562                  Agreed Motion to Withdraw Document (related
                                                  document(s):3537 Response). Filed by Creditor
                            (2 pgs)               Freeman Mills PC Hearing scheduled for
                                                  4/29/2021 at 01:00 PM. (Simms, Graham)
 04/29/2021                                       (Entered: 04/29/2021)

                            3563                  AO 435 TRANSCRIPT ORDER FORM (Daily
                                                  (24 hours)) by Matthew Cavenaugh. This is to
                            (1 pg)                order a transcript of 4/29/2021 before Judge
                                                  David R. Jones. Court Reporter/Transcriber:
                                                  Access Transcripts (Filed By Chesapeake
                                                  Energy Corporation ). (Cavenaugh, Matthew)
                                                  Electronically forwarded to Access Transcripts,
                                                  LLC on May 4, 2021. Estimated completion
                                                  date: May 5, 2021. Modified on 5/4/2021
 04/29/2021                                       (ClaudiaGutierrez). (Entered: 04/29/2021)

                            3565                      PDF with attached Audio File. Court Date &
                                                  Time [ 4/29/2021 1:00:03 PM ]. File Size
                            (1 pg)                [ 12176 KB ]. Run Time [ 00:25:22 ]. (In ref to
                                                  doc no.3298. Hearing held April 29, 2021.).
 04/29/2021                                       (admin). (Entered: 04/29/2021)

                            3566                  Emergency Motion Reorganized Debtors'
                                                  Emergency Motion to Enforce Confirmation
                            (256 pgs; 2 docs)     Order Filed by Debtor Chesapeake Energy
                                                  Corporation Hearing scheduled for 5/11/2021 at
                                                  03:30 PM at Houston, Courtroom 400 (DRJ).
                                                  (Attachments: # 1 Proposed Order) (Cavenaugh,
 04/29/2021                                       Matthew) (Entered: 04/29/2021)

                            3567
                                                  Order Sustaining Reorganized Debtors' Seventh
                                                  Omnibus Objection to Certain Proofs of Claim




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 573 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 573 of 1639
                                                                           0573


                            (174 pgs)             (Equity Interests Claims) Signed on 4/29/2021
                                                  (Related document(s):3298 Objection to Claim)
 04/29/2021                                       (VrianaPortillo) (Entered: 04/29/2021)

                            3568                  Courtroom Minutes. Time Hearing Held: 1:00
                                                  PM. Appearances: SEE ATTACHED. Debtors
                            (2 pgs)               exhibits 3548-3 admitted. The Court sustained
                                                  the Debtors' seventh omnibus objection to
                                                  certain proofs of claim 3298. Order to be
 04/29/2021                                       entered. (VrianaPortillo) (Entered: 04/30/2021)

                            3577                  Richard Wise; Claim #12367 Response to
                                                  Objections Of Calim(related document(s):3148
                            (2 pgs)               Objection to Claim). (mmap) (Entered:
 04/29/2021                                       05/03/2021)

                            3569                  BNC Certificate of Mailing. (Related document
                                                  (s):3555 Order on Motion to Withdraw as
                            (13 pgs)              Attorney) No. of Notices: 251. Notice Date
 04/30/2021                                       04/30/2021. (Admin.) (Entered: 04/30/2021)

                            3570                  BNC Certificate of Mailing. (Related document
                                                  (s):3556 Generic Order) No. of Notices: 251.
                            (27 pgs)              Notice Date 04/30/2021. (Admin.) (Entered:
 04/30/2021                                       04/30/2021)

                            3571                  BNC Certificate of Mailing. (Related document
                                                  (s):3557 Generic Order) No. of Notices: 251.
                            (98 pgs)              Notice Date 04/30/2021. (Admin.) (Entered:
 04/30/2021                                       04/30/2021)

                            3572                  BNC Certificate of Mailing. (Related document
                                                  (s):3558 Generic Order) No. of Notices: 251.
                            (240 pgs)             Notice Date 04/30/2021. (Admin.) (Entered:
 04/30/2021                                       04/30/2021)

                            3573                  BNC Certificate of Mailing. (Related document
                                                  (s):3559 Generic Order) No. of Notices: 251.
                            (17 pgs)              Notice Date 04/30/2021. (Admin.) (Entered:
 04/30/2021                                       04/30/2021)

                            3574                  BNC Certificate of Mailing. (Related document
                                                  (s):3560 Generic Order) No. of Notices: 251.
                            (16 pgs)              Notice Date 04/30/2021. (Admin.) (Entered:
 04/30/2021                                       04/30/2021)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 574 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 574 of 1639
                                                                           0574


                            3575                  BNC Certificate of Mailing. (Related document
                                                  (s):3567 Generic Order) No. of Notices: 252.
                            (186 pgs)             Notice Date 05/02/2021. (Admin.) (Entered:
 05/02/2021                                       05/02/2021)

                            3576
                                                  Letter from Malinath Suralikal to Judge (mmap)
 05/03/2021                 (2 pgs)               (Entered: 05/03/2021)

                            3578                  Certificate of No Objection (Filed By PMBG
                                                  Parties ).(Related document(s):3394 Motion to
                            (5 pgs; 2 docs)       Withdraw as Attorney) (Attachments: # 1
                                                  Proposed Order) (Heard, Mary) (Entered:
 05/03/2021                                       05/03/2021)

                            3579                  Notice of Appearance and Request for Notice
                                                  Filed by Mary Elizabeth Heard Filed by on
                            (3 pgs)               behalf of Encino Energy (Heard, Mary)
 05/03/2021                                       (Entered: 05/03/2021)

                            3580                  Copy ORDER REASSIGNING CASE . Case
                                                  4:21CV1215 reassigned to Chief Judge Lee H
                            (1 pg)                Rosenthal for all further proceedings. Judge
                                                  Keith P Ellison no longer assigned to the case.
                                                  (Signed by Judge Keith P Ellison) (Related
                                                  document(s):3480 Clerk's Notice of Filing of an
 05/03/2021                                       Appeal) (hcar) (Entered: 05/04/2021)

                            3581                  Copy ORDER REASSIGNING CASE. Case
                                                  reassigned to Chief Judge Lee H Rosenthal for
                            (1 pg)                all further proceedings. Judge Keith P Ellison no
                                                  longer assigned to the case(Signed by Judge
                                                  Keith P Ellison)(Related document(s):3481
                                                  Clerk's Notice of Filing of an Appeal) (hcar)
 05/03/2021                                       (Entered: 05/04/2021)

                            3582                  Motion to Seal Settlement Motion Filed by
                                                  Debtor Chesapeake Energy Corporation
                            (13 pgs; 2 docs)      (Attachments: # 1 Proposed Order) (Cavenaugh,
 05/04/2021                                       Matthew) (Entered: 05/04/2021)

                            3583
                                                  Application to Compromise Controversy
                            (20 pgs; 2 docs)      Reorganized Debtors' Emergency Motion for
                                                  Entry of an Order (I) Authorizing and Approving
                                                  the Settlement Agreement, and (II) Granting
                                                  Related Relief. Objections/Request for Hearing




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 575 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 575 of 1639
                                                                           0575


                                                  Due in 21 days. Filed by Debtor Chesapeake
                                                  Energy Corporation Hearing scheduled for
                                                  5/11/2021 at 03:30 PM at Houston, Courtroom
                                                  400 (DRJ). (Attachments: # 1 Proposed Order)
 05/04/2021                                       (Cavenaugh, Matthew) (Entered: 05/04/2021)

                            3584                  Order Granting Motion To Appear pro hac vice -
                                                  Tyler S. Graden (Related Doc # 3564) Signed on
 05/04/2021                 (1 pg)                5/4/2021. (emiller) (Entered: 05/05/2021)

                            3585                  Receipt of Sealed Document retained in Clerk's
 05/05/2021                                       office.re: 3583 (jdav) (Entered: 05/05/2021)

                            3586                  Transcript RE: Objection to Claim Number by
                                                  Claimant Reorganized Debtors' Seventh
                            (24 pgs)              Omnibus Objection to Certain Proofs of Claim
                                                  (Equity Interest Claims) held on 04/29/21 before
                                                  Judge David R. Jones. Transcript is available for
                                                  viewing in the Clerk's Office. Filed by
                                                  Transcript access will be restricted through
                                                  08/3/2021. (AccessTranscripts) (Entered:
 05/05/2021                                       05/05/2021)

                            3587                  Stipulation By Chesapeake Energy Corporation
                                                  and Dennis R. Taylor, Cynthia A. Parks,
                            (4 pgs)               Ladonna M. Riley, Brenda S. Simmons and
                                                  Clinton L. Taylor. Does this document include
                                                  an agreed order or otherwise request that the
                                                  judge sign a document? Yes. (Filed By
                                                  Chesapeake Energy Corporation ). (Cavenaugh,
 05/06/2021                                       Matthew) (Entered: 05/06/2021)

                            3588                  Notice of Filing of Official Transcript as to 3586
                                                  Transcript. Parties notified (Related document
                            (1 pg)                (s):3586 Transcript) (jdav) (Entered:
 05/06/2021                                       05/06/2021)

                            3589                  Notice of Appearance and Request for Notice
                                                  Filed by Charles M Rubio Filed by on behalf of
                            (2 pgs)               CTF, Ltd. (Rubio, Charles) (Entered:
 05/06/2021                                       05/06/2021)

                            3590
                                                  Witness List, Exhibit List (Filed By Chesapeake
                            (1045 pgs; 22 docs)   Energy Corporation ).(Related document(s):3566
                                                  Emergency Motion (with hearing date), 3583
                                                  Application to Compromise Controversy)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 576 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 576 of 1639
                                                                           0576


                                                  (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3
                                                  Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6 Exhibit
                                                  6 # 7 Exhibit 7 # 8 Exhibit 8 # 9 Exhibit 9 # 10
                                                  Exhibit 10 # 11 Exhibit 11 # 12 Exhibit 12 # 13
                                                  Exhibit 13 # 14 Exhibit 14 # 15 Exhibit 15 # 16
                                                  Exhibit 16 # 17 Exhibit 17 # 18 Exhibit 18 # 19
                                                  Exhibit 19 # 20 Exhibit 20 # 21 Exhibit 21)
 05/07/2021                                       (Cavenaugh, Matthew) (Entered: 05/07/2021)

                            3591                  Receipt of Sealed Document retained in Clerk's
 05/07/2021                                       office. (BrendaLacy) (Entered: 05/07/2021)

                            3592                  Motion to Appear pro hac vice of Rex A. Sharp.
                                                  Filed by Creditor CTF, Ltd. (Rubio, Charles)
 05/07/2021                 (1 pg)                (Entered: 05/07/2021)

                            3593                  Motion to Withdraw as Attorney.
                                                  Objections/Request for Hearing Due in 21 days.
                            (5 pgs; 3 docs)       Filed by Creditor Francis R. Goddard
                                                  (Attachments: # 1 Proposed Order # 2 Certificate
                                                  of Service) (Shiner, Michael) (Entered:
 05/07/2021                                       05/07/2021)

                            3594                  Motion to Withdraw as Attorney.
                                                  Objections/Request for Hearing Due in 21 days.
                            (5 pgs; 3 docs)       Filed by Creditor Michael West (Attachments: #
                                                  1 Proposed Order # 2 Certificate of Service)
 05/07/2021                                       (Shiner, Michael) (Entered: 05/07/2021)

                            3595                  Motion to Withdraw as Attorney.
                                                  Objections/Request for Hearing Due in 21 days.
                            (5 pgs; 3 docs)       Filed by Creditor Ronald Goddard (Attachments:
                                                  # 1 Proposed Order # 2 Certificate of Service)
 05/07/2021                                       (Shiner, Michael) (Entered: 05/07/2021)

                            3596                  Affidavit Re: Affidavit of Service of Settlement
                                                  Notice of Angharad Bowdler (Filed By Epiq
                            (626 pgs)             Corporate Restructuring LLC ). (Garabato, Sid)
 05/07/2021                                       (Entered: 05/07/2021)

                            3597                  BNC Certificate of Mailing. (Related document
                                                  (s):3588 Notice of Filing of Official Transcript
                            (14 pgs)              (Form)) No. of Notices: 253. Notice Date
 05/08/2021                                       05/08/2021. (Admin.) (Entered: 05/08/2021)

                            3602
                                                  Order Granting Motion To Appear pro hac vice -




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 577 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 577 of 1639
                                                                           0577


                                                  Rex A. Sharp (Related Doc # 3592) Signed on
 05/09/2021                 (1 pg)                5/9/2021. (emiller) (Entered: 05/10/2021)

                            3598                  Stipulation and Agreed Order Regarding Proofs
                                                  of Claim Nos. 540, 541, 542, 543, and 544
                            (4 pgs)               Signed on 5/10/2021 (Related document(s):3587
                                                  Stipulation) (VrianaPortillo) (Entered:
 05/10/2021                                       05/10/2021)

                            3599                  Order Authorizing the Reorganized Debtors to
                                                  File the Settlement Motion Under Seal (Related
                            (4 pgs)               Doc # 3582) Signed on 5/10/2021.
 05/10/2021                                       (VrianaPortillo) (Entered: 05/10/2021)

                            3600                  Order Granting Unopposed Motion to Withdraw
                                                  as Co-Counsel for Good Cause (Related Doc #
                            (2 pgs)               3394) Signed on 5/10/2021. (VrianaPortillo)
 05/10/2021                                       (Entered: 05/10/2021)

                            3601                  Exhibit List (Filed By CTF, Ltd. ).(Related
                                                  document(s):3566 Emergency Motion (with
                            (692 pgs; 14 docs)    hearing date)) (Attachments: # 1 Exhibit 1 # 2
                                                  Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 # 5 Exhibit
                                                  5 # 6 Exhibit 6 # 7 Exhibit 7 # 8 Exhibit 8 # 9
                                                  Exhibit 9 # 10 Exhibit 10 # 11 Exhibit 11 # 12
                                                  Exhibit 12 # 13 Exhibit 13) (Rubio, Charles)
 05/10/2021                                       (Entered: 05/10/2021)

                            3603                  Response in Opposition to Reorganized Debtors'
                                                  Emergency Motion to Enforce Confirmation
                            (670 pgs; 11 docs)    Order (related document(s):3566 Emergency
                                                  Motion (with hearing date)). Filed by CTF, Ltd.
                                                  (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3
                                                  Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6 Exhibit
                                                  6 # 7 Exhibit 7 # 8 Exhibit 8 # 9 Exhibit 9 # 10
                                                  Proposed Order Proposed Order) (Rubio,
 05/10/2021                                       Charles) (Entered: 05/10/2021)

                                                  Certificate of Telephone Notice. Due to the
                                                  Courts schedule, the hearing time for the
                                                  following motions has been moved up to 1:00
                                                  PM. Movant to notice all interested parties and
                                                  file a certificate of service with the court
                                                  (Related document(s):3566 Emergency Motion
                                                  (with hearing date), 3583 Application to
                                                  Compromise Controversy) Hearing
                                                  rescheduled for 5/11/2021 at 01:00 PM by




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 578 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 578 of 1639
                                                                           0578


                                                  telephone and video conference. (aalo)
 05/10/2021                                       (Entered: 05/10/2021)

                            3604                  Notice of Reset of Hearing. (Related document
                                                  (s):3566 Emergency Motion (with hearing date))
                            (3 pgs)               Filed by Chesapeake Energy Corporation
 05/10/2021                                       (Peguero, Kristhy) (Entered: 05/10/2021)

                            3605                  Response (Filed By Encino Energy ).(Related
                                                  document(s):3566 Emergency Motion (with
                            (1717 pgs; 4 docs)    hearing date)) (Attachments: # 1 Exhibit A PSA
                                                  # 2 Exhibit B Indemnification Notice dated
                                                  February 22, 2021 # 3 Exhibit C August 25,
                                                  2020 Hearing Transcript) (Heard, Mary)
 05/10/2021                                       (Entered: 05/10/2021)

                            3606                  Response (Filed By Encino Energy ).(Related
                                                  document(s):3566 Emergency Motion (with
                            (147 pgs; 4 docs)     hearing date)) (Attachments: # 1 Exhibit A PSA
                                                  # 2 Exhibit B Indemnification Notice dated
                                                  February 22, 2021 # 3 Exhibit C August 25,
                                                  2020 Hearing Transcript) (Heard, Mary)
 05/10/2021                                       (Entered: 05/10/2021)

                            3607                  Objection / Reorganized Debtors' Objection to
                                                  Motion for Allowance of Administrative Expense
                            (69 pgs)              Claim Pursuant to 11 U.S.C § 503(B)(1) (related
                                                  document(s):3225 Application for
                                                  Administrative Expenses). Filed by Chesapeake
                                                  Energy Corporation (Schwarzman, Alexandra)
 05/10/2021                                       (Entered: 05/10/2021)

                            3608                  Witness List, Exhibit List (Filed By Encino
                                                  Energy ).(Related document(s):3606 Response)
                            (137 pgs; 4 docs)     (Attachments: # 1 Exhibit A Purchase and Sale
                                                  Agreement # 2 Exhibit B Indemnification Notice
                                                  dated February 22, 2021 # 3 Exhibit C August
                                                  25, 2020 Hearing Transcript) (Heard, Mary)
 05/11/2021                                       (Entered: 05/11/2021)

                            3609                  AO 435 TRANSCRIPT ORDER FORM (Daily
                                                  (24 hours)) by Matthew Cavenaugh. This is to
                            (1 pg)                order a transcript of 5/11/2021 before Judge
                                                  David R. Jones. Court Reporter/Transcriber:
                                                  Access Transcripts (Filed By Chesapeake
                                                  Energy Corporation ). (Cavenaugh, Matthew)
 05/11/2021                                       (Entered: 05/11/2021)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                      5/12/2021
BK CM/ECF LIVE - US Bankruptcy Court-Texas Southern                  Page 579 of 579
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 579 of 1639
                                                                           0579


                            3610                  Courtroom Minutes. Time Hearing Held: 1:00
                                                  PM. Appearances: SEE ATTACHED. (Related
                            (1 pg)                document(s):3566 Emergency Motion (with
                                                  hearing date), 3583 Application to Compromise
                                                  Controversy) For the reasons stated on the
                                                  record, the Court approved the Motion to
                                                  Approve Settlement agreement 3583. Order to
                                                  be entered. The Court denied the Debtors'
                                                  Emergency Motion to Enforce Confirmation
                                                  Order 3566 without prejudice to the filing of
                                                  such other contested matter or adversary
                                                  proceeding as the parties determine appropriate.
 05/11/2021                                       (VrianaPortillo) (Entered: 05/11/2021)

                            3611                      PDF with attached Audio File. Court Date &
                                                  Time [ 5/11/2021 1:00:01 PM ]. File Size
                            (1 pg)                [ 20230 KB ]. Run Time [ 00:42:09 ]. (In ref to
                                                  doc nos. 3566 and 3583. Hearing held May 11,
 05/11/2021                                       2021.). (admin). (Entered: 05/11/2021)

                            3612                  AO 435 TRANSCRIPT ORDER FORM (Daily
                                                  (24 hours)) by Mary Elizabeth Heard. This is to
                            (1 pg)                order a transcript of 5/11/2021 Hearing before
                                                  Judge David R. Jones. Court
                                                  Reporter/Transcriber: Access Transcripts (Filed
                                                  By Encino Energy ). (Heard, Mary) (Entered:
 05/11/2021                                       05/11/2021)

                            3613                  Order (I) Authorizing and Approving the
                                                  Settlement Agreement, and (II) Granting Related
                            (3 pgs)               Relief (Related Doc # 3583) Signed on
                                                  5/11/2021. (VrianaPortillo) (Entered:
 05/11/2021                                       05/11/2021)




https://ecf-b.txs.circ5.dcn/cgi-bin/DktRpt.pl?176584008139301-L_1_0-1                     5/12/2021
      Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 580 of 1639
                                                                            0580


                                IN THE UNITED STATES BANKRUPTCY COURT
                                      SOUTHERN DISTRICT OF TEXAS
                                           HOUSTON DIVISION

                                                             )
    In re:                                                   )    Chapter 11
                                                             )
    CHESAPEAKE ENERGY CORPORATION, et al.,1                  )    Case No. 20-33233 (DRJ)
                                                             )
                              Debtors.                       )    (Jointly Administered)
                                                             )

                FIFTH AMENDED JOINT CHAPTER 11 PLAN OF REORGANIZATION
             OF CHESAPEAKE ENERGY CORPORATION AND ITS DEBTOR AFFILIATES

JACKSON WALKER LLP                                                    KIRKLAND & ELLIS LLP
Matthew D. Cavenaugh (TX Bar No. 24062656)                            KIRKLAND & ELLIS INTERNATIONAL LLP
Jennifer F. Wertz (TX Bar No. 24072822)                               Patrick J. Nash, Jr., P.C. (admitted pro hac vice)
Kristhy M. Peguero (TX Bar No. 24102776)                              Marc Kieselstein, P.C. (admitted pro hac vice)
Veronica A. Polnick (TX Bar No. 24079148)                             Alexandra Schwarzman (admitted pro hac vice)
1401 McKinney Street, Suite 1900                                      300 North LaSalle Street
Houston, Texas 77010                                                  Chicago, Illinois 60654
Telephone:        (713) 752-4200                                      Telephone:      (312) 862-2000
Facsimile:        (713) 752-4221                                      Facsimile:      (312) 862-2200
Email:            mcavenaugh@jw.com                                   Email:          patrick.nash@kirkland.com
                  jwertz@jw.com                                                       marc.kieselstein@kirkland.com
                  kpeguero@jw.com                                                     alexandra.schwarzman@kirkland.com
                  vpolnick@jw.com

Co-Counsel to the Debtors                                             Co-Counsel to the Debtors
and Debtors in Possession                                             and Debtors in Possession

Dated: January 12, 2021




1      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
       proposed claims and noticing agent at https://dm.epiq11.com/chesapeake. The location of Debtor Chesapeake
       Energy Corporation’s principal place of business and the Debtors’ service address in these chapter 11 cases is
       6100 North Western Avenue, Oklahoma City, Oklahoma 73118.
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 581 of 1639
                                                                           0581


                                                              TABLE OF CONTENTS


ARTICLE I. DEFINED TERMS, RULES OF INTERPRETATION, COMPUTATION OF TIME, AND
              GOVERNING LAW ......................................................................................................................... 1
      A.      Defined Terms. ................................................................................................................................. 1
      B.      Rules of Interpretation. ................................................................................................................... 17
      C.      Computation of Time. ..................................................................................................................... 17
      D.      Governing Law. .............................................................................................................................. 18
      E.      Reference to Monetary Figures. ...................................................................................................... 18
      F.      Reference to the Debtors or the Reorganized Debtors. ................................................................... 18
      G.      Controlling Document..................................................................................................................... 18
      H.      Consultation, Information, Notice, and Consent Rights.................................................................. 18

ARTICLE II. ADMINISTRATIVE CLAIMS, DIP CLAIMS, AND PRIORITY CLAIMS ...................................... 19
      A.      Administrative Claims. ................................................................................................................... 19
      B.      DIP Claims. ..................................................................................................................................... 20
      C.      Priority Tax Claims. ........................................................................................................................ 21
      D.      Statutory Fees.................................................................................................................................. 21

ARTICLE III. CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS ..................................... 21
      A.       Classification of Claims and Interests. ............................................................................................ 21
      B.       Treatment of Claims and Interests. ................................................................................................. 22
      C.       Special Provision Governing Unimpaired Claims. ......................................................................... 25
      D.       Elimination of Vacant Classes. ....................................................................................................... 25
      E.       Voting Classes, Presumed Acceptance by Non-Voting Classes. .................................................... 25
      F.       Intercompany Interests. ................................................................................................................... 25
      G.       Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy Code. ................. 26
      H.       Controversy Concerning Impairment. ............................................................................................. 26
      I.       Subordinated Claims and Interests. ................................................................................................. 26

ARTICLE IV. MEANS FOR IMPLEMENTATION OF THE PLAN ........................................................................ 26
      A.     General Settlement of Claims and Interests. ................................................................................... 26
      B.     Restructuring Transactions.............................................................................................................. 27
      C.     Midstream Savings Requirement. ................................................................................................... 27
      D.     Reorganized Debtors. ...................................................................................................................... 27
      E.     Sources of Consideration for Plan Distributions. ............................................................................ 28
      F.     Convenience Claim Distribution Reserve. ...................................................................................... 30
      G.     Corporate Existence. ....................................................................................................................... 30
      H.     Vesting of Assets in the Reorganized Debtors. ............................................................................... 30
      I.     Cancellation of Existing Securities and Agreements. ..................................................................... 31
      J.     Corporate Action. ............................................................................................................................ 32
      K.     New Organizational Documents. .................................................................................................... 32
      L.     Indemnification Obligations............................................................................................................ 33
      M.     Directors and Officers of the Reorganized Debtors. ....................................................................... 33
      N.     Effectuating Documents; Further Transactions............................................................................... 33
      O.     Section 1146 Exemption. ................................................................................................................ 34
      P.     Director and Officer Liability Insurance. ........................................................................................ 34
      Q.     Management Incentive Plan. ........................................................................................................... 34
      R.     Employee Benefits. ......................................................................................................................... 35
      S.     Preservation of Causes of Action. ................................................................................................... 35
      T.     Preservation of Royalty and Working Interests. ............................................................................. 36
      U.     Resolution of Pending Litigation. ................................................................................................... 36
      V.     Payment of Certain Fees. ................................................................................................................ 37


                                                                                i
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 582 of 1639
                                                                           0582


ARTICLE V. TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES .............................. 37
      A.     Assumption and Rejection of Executory Contracts and Unexpired Leases. ................................... 37
      B.     Claims Based on Rejection of Executory Contracts or Unexpired Leases. ..................................... 38
      C.     Cure of Defaults for Assumed Executory Contracts and Unexpired Leases. .................................. 38
      D.     Preexisting Obligations to the Debtors Under Executory Contracts and Unexpired Leases. .......... 39
      E.     Insurance Policies. .......................................................................................................................... 39
      F.     Reservation of Rights. ..................................................................................................................... 40
      G.     Nonoccurrence of Effective Date. ................................................................................................... 40
      H.     Contracts and Leases Entered Into After the Petition Date. ............................................................ 40

ARTICLE VI. PROVISIONS GOVERNING DISTRIBUTIONS .............................................................................. 40
      A.      Timing and Calculation of Amounts to Be Distributed. ................................................................. 40
      B.      Delivery of Distributions and Undeliverable or Unclaimed Distributions. ..................................... 41
      C.      Manner of Payment. ........................................................................................................................ 42
      D.      Exemption from Securities Laws. ................................................................................................... 42
      E.      Compliance with Tax Requirements. .............................................................................................. 43
      F.      Allocations. ..................................................................................................................................... 43
      G.      No Postpetition or Default Interest on Claims. ............................................................................... 43
      H.      Foreign Currency Exchange Rate. .................................................................................................. 43
      I.      Setoffs and Recoupment. ................................................................................................................ 43
      J.      No Double Payment of Claims. ...................................................................................................... 44
      K.      Claims Paid or Payable by Third Parties. ........................................................................................ 44

ARTICLE VII. PROCEDURES FOR RESOLVING CONTINGENT, UNLIQUIDATED, AND
              DISPUTED CLAIMS ..................................................................................................................... 45
      A.      Allowance of Claims. ...................................................................................................................... 45
      B.      Claims Administration Responsibilities. ......................................................................................... 45
      C.      Estimation of Claims. ...................................................................................................................... 45
      D.      Adjustment to Claims or Interests without Objection. .................................................................... 45
      E.      Time to File Objections to Claims. ................................................................................................. 46
      F.      Reservation of Rights to Object to Claims. ..................................................................................... 46
      G.      Disputed and Contingent Claims Reserve. ...................................................................................... 46
      H.      Disallowance of Claims or Interests................................................................................................ 46
      I.      No Distributions Pending Allowance.............................................................................................. 46
      J.      Distributions After Allowance. ....................................................................................................... 46
      K.      No Interest on Disputed Claims. ..................................................................................................... 47

ARTICLE VIII. SETTLEMENT, RELEASE, INJUNCTION, AND RELATED PROVISIONS .............................. 47
      A.       Discharge of Claims and Termination of Interests. ......................................................................... 47
      B.       Release of Liens. ............................................................................................................................ 47
      C.       Releases by the Debtors. ............................................................................................................... 48
      D.       Releases by Holders of Claims and Interests. ............................................................................. 49
      E.       Exculpation. ................................................................................................................................... 50
      F.       Injunction....................................................................................................................................... 50
      G.       Protections Against Discriminatory Treatment. .............................................................................. 51
      H.       Recoupment. ................................................................................................................................... 51
      I.       Document Retention. ...................................................................................................................... 51
      J.       Reimbursement or Contribution. ..................................................................................................... 51

ARTICLE IX. CONDITIONS PRECEDENT TO CONSUMMATION OF THE PLAN........................................... 51
      A.      Conditions Precedent to the Effective Date. ................................................................................... 51
      B.      Waiver of Conditions. ..................................................................................................................... 53
      C.      Effect of Failure of Conditions. ...................................................................................................... 53
      D.      Substantial Consummation ............................................................................................................. 53


                                                                                ii
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 583 of 1639
                                                                           0583


ARTICLE X. MODIFICATION, REVOCATION, OR WITHDRAWAL OF THE PLAN ....................................... 53
      A.     Modification and Amendments. ...................................................................................................... 53
      B.     Effect of Confirmation on Modifications. ....................................................................................... 54
      C.     Revocation or Withdrawal of Plan. ................................................................................................. 54

ARTICLE XI. RETENTION OF JURISDICTION ..................................................................................................... 54

ARTICLE XII. MISCELLANEOUS PROVISIONS .................................................................................................. 56
      A.      Immediate Binding Effect. .............................................................................................................. 56
      B.      Additional Documents. ................................................................................................................... 56
      C.      Payment of Statutory Fees. ............................................................................................................. 56
      D.      Statutory Committee and Cessation of Fee and Expense Payment. ................................................ 56
      E.      Reservation of Rights. ..................................................................................................................... 56
      F.      Successors and Assigns. .................................................................................................................. 57
      G.      Notices. ........................................................................................................................................... 57
      H.      Term of Injunctions or Stays. .......................................................................................................... 58
      I.      Entire Agreement. ........................................................................................................................... 58
      J.      Plan Supplement. ............................................................................................................................ 58
      K.      Nonseverability of Plan Provisions. ................................................................................................ 58
      L.      Votes Solicited in Good Faith. ........................................................................................................ 58
      M.      Closing of Chapter 11 Cases. .......................................................................................................... 59
      N.      Waiver or Estoppel.......................................................................................................................... 59
      O.      Creditor Default. ............................................................................................................................. 59




                                                                                 iii
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 584 of 1639
                                                                           0584


                                                  INTRODUCTION

         Chesapeake Energy Corporation and the above-captioned debtors and debtors in possession (collectively,
the “Debtors”), propose this joint chapter 11 plan of reorganization (as modified, amended, or supplemented from
time to time, the “Plan”) for the resolution of the outstanding claims against, and equity interests in, the Debtors.
Although proposed jointly for administrative purposes, the Plan constitutes a separate Plan for each Debtor. Holders
of Claims or Interests may refer to the Disclosure Statement for a discussion of the Debtors’ history, business, assets,
results of operations, historical financial information, risk factors, a summary and analysis of this Plan, the
Restructuring Transactions, and certain related matters. Each of the Debtors is a proponent of the Plan within the
meaning of section 1129 of the Bankruptcy Code.

      ALL HOLDERS OF CLAIMS, TO THE EXTENT APPLICABLE, ARE ENCOURAGED TO READ THE
PLAN AND THE DISCLOSURE STATEMENT IN THEIR ENTIRETY BEFORE VOTING TO ACCEPT OR
REJECT THE PLAN.

                                             ARTICLE I.
                              DEFINED TERMS, RULES OF INTERPRETATION,
                             COMPUTATION OF TIME, AND GOVERNING LAW

A.       Defined Terms.

         As used in this Plan, capitalized terms have the meanings set forth below.

         1.       “1145 Securities” has the meaning set forth in Article IV.E.1 of the Plan.

         2.       “4(a)(2) Securities” has the meaning set forth in Article IV.E.1 of the Plan.

          3.      “Administrative Claim” means a Claim for costs and expenses of administration of the Chapter 11
Cases pursuant to sections 503(b), 507(a)(2), 507(b), or 1114(e)(2) of the Bankruptcy Code, including: (a) the actual
and necessary costs and expenses incurred on or after the Petition Date until and including the Effective Date of
preserving the Estates and operating the Debtors’ business; (b) Allowed Professional Claims; (c) DIP Claims;
(d) Adequate Protection Super-Priority Claims (as defined in the Final DIP Order) (if any); (e) Royalty and Working
Interests Administrative Claims; (f) all fees and charges assessed against the Estates pursuant to section 1930 of
chapter 123 of title 28 of the United States Code; and (g) as approved by the Backstop Commitment Agreement
Approval Order, including the priority and payment subordination provisions described in paragraph 7 thereof, the
Put Option Premium.

         4.      “Administrative Claims Bar Date” means the deadline for Filing requests for payment of
Administrative Claims, which shall be 30 days after the Effective Date; provided, however, that the deadline for Filing
requests for payment of Royalty and Working Interests Administrative Claims shall be 120 days after the
Effective Date.

         5.        “Affiliate” has the meaning set forth in section 101(2) of the Bankruptcy Code. With respect to any
Person that is not a Debtor, the term “Affiliate” shall apply to such Person as if the Person were a Debtor.

         6.        “Agent” means any administrative agent, collateral agent, collateral trustee, or similar Entity under
the Exit Facilities, the DIP Facility, the Revolving Credit Facility, the Collateral Agreement, the Collateral Trust
Agreement, and/or the FLLO Term Loan Facility.

         7.        “Allowed” means, with respect to any Claim or Interest, except as otherwise provided herein: (a) a
Claim or Interest in a liquidated amount as to which no objection has been Filed prior to the applicable claims objection
deadline and that is evidenced by a Proof of Claim or Interest, as applicable, timely Filed by the applicable Bar Date
or that is not required to be evidenced by a Filed Proof of Claim or Interest, as applicable, under the Plan, the
Bankruptcy Code, or a Final Order; (b) a Claim or Interest that is scheduled by the Debtors as neither Disputed,
contingent, nor unliquidated, and for which no Proof of Claim or Interest, as applicable, has been timely Filed in an

                                                           1
   Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 585 of 1639
                                                                         0585


unliquidated or a different amount; (c) a Claim or Interest that is upheld or otherwise Allowed (i) pursuant to the Plan;
(ii) in any stipulation that is approved by the Bankruptcy Court; (iii) pursuant to any contract, instrument, indenture,
or other agreement entered into or assumed in connection herewith; or (iv) by Final Order (including any such Claim
to which the Debtors had objected or which the Bankruptcy Court had disallowed prior to such Final Order); provided
that with respect to a Claim or Interest described in clauses (a) through (c) above, such Claim or Interest shall be
considered Allowed only if and to the extent that with respect to such Claim or Interest no objection to the allowance
thereof has been or, in the Debtors’ or Reorganized Debtors’ reasonable good faith judgment, may be interposed
within the applicable period of time fixed by the Plan, the Bankruptcy Code, the Bankruptcy Rules, or the Bankruptcy
Court, or such an objection is so interposed and the Claim or Interest, as applicable, shall have been Allowed by a
Final Order; provided, further, that no Claim of any Entity subject to section 502(d) of the Bankruptcy Code shall be
deemed Allowed unless and until such Entity pays in full the amount that it owes such Debtor or Reorganized Debtor,
as applicable. Any Claim that has been or is hereafter listed in the Schedules as contingent, unliquidated, or Disputed,
and for which no Proof of Claim or Interest is or has been timely Filed, is not considered Allowed and shall be deemed
expunged without further action by the Debtors and without further notice to any party or action, approval, or order
of the Bankruptcy Court. For the avoidance of doubt a Proof of Claim or Interest Filed after the Bar Date shall not be
Allowed for any purposes whatsoever absent entry of a Final Order allowing such late-Filed Claim. “Allow,”
“Allowing,” and “Allowance” shall have correlative meanings.

          8.      “Alternative Securities Exchange” means, excluding any National Securities Exchange, any other
securities exchange or over-the-counter quotation system, including, without limitation, the NYSE MKT, the Nasdaq
Capital Market, any quotation or other listing service provided by the OTC Markets Group or the Financial Industry
Regulatory Authority, Inc., any “pink sheet” or other alternative listing service, or any successor or substantially
equivalent service to any of the foregoing.

        9.       “Assumed Executory Contracts and Unexpired Leases Schedule” means the schedule of Executory
Contracts and Unexpired Leases to be assumed by the Debtors pursuant to the Plan, which shall be included in the
Plan Supplement, as the same may be amended, modified, or supplemented from time to time.

         10.      “Avoidance Actions” means any and all actual or potential avoidance, recovery, subordination, or
other Claims, Causes of Action, or remedies that may be brought by or on behalf of the Debtors or their Estates or
other authorized parties in interest under the Bankruptcy Code or applicable non-bankruptcy law, including Claims,
Causes of Action, or remedies under sections 502, 510, 542, 544, 545, 547 through 553, and 724(a) of the Bankruptcy
Code or under similar local, state, federal, or foreign statutes and common law, including fraudulent transfer laws.

        11.       “Backstop” means the several and not joint backstop in full of the Rights Offering by the
Backstop Parties pursuant to the Backstop Commitment Agreement.

         12.      “Backstop Allocations” has the meaning set forth in Article IV.E.1 of the Plan.

         13.     “Backstop Commitment Agreement” means that certain Backstop Commitment Agreement, dated as
of June 28, 2020, by and between Chesapeake and the Backstop Parties, as may be further amended, modified, or
supplemented from time to time, in accordance with its terms.

        14.      “Backstop Commitment Agreement Approval Order” means the Order (I) Authorizing Entry into the
Backstop Commitment Agreement, (II) Approving the Payment of Fees and Expenses Related Thereto, and (III)
Granting Related Relief entered by the Bankruptcy Court on August 21, 2020 at CM/ECF No. 899 in the
Chapter 11 Cases.

         15.     “Backstop Parties” means the members of the FLLO Ad Hoc Group and Franklin that are signatories
to the Backstop Commitment Agreement.

         16.      “Backstop Party Rights” means the non-certificated rights that will enable the holders thereof to
purchase shares of New Common Stock at an aggregate purchase price of $150 million at a price per share to be
determined based on a 35 percent discount to the equity value per share of New Common Stock, post new-money, as
implied by a Plan total enterprise value of $3.25 billion.

                                                           2
    Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 586 of 1639
                                                                          0586


         17.       “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101–1532, as amended.

         18.       “Bankruptcy Court” means the United States Bankruptcy Court for the Southern District of Texas.

         19.     “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure promulgated under
section 2075 of the Judicial Code and the general, local, and chambers rules of the Bankruptcy Court, each, as
amended from time to time.

         20.      “Bar Date” means the date established by the Bankruptcy Court by which Proofs of Claim or Proofs
of Interest must be Filed with respect to such Claims or Interests, other than Administrative Claims, Claims held by
Governmental Units, or other Claims or Interests for which the Bankruptcy Court entered an order excluding the
holders of such Claims or Interests from the requirement of Filing Proofs of Claim or Proofs of Interest.

         21.      “Business Day” means any day other than a Saturday, Sunday, or other day on which commercial
banks are authorized to close under the laws of, or are in fact closed in, the State of New York.

        22.       “Cash” means cash in legal tender of the United States of America and cash equivalents, including
bank deposits, checks, and other similar items.

          23.       “Cause of Action” or “Causes of Action” means any claims, interests, damages, remedies, causes of
action, demands, rights, actions, suits, obligations, liabilities, accounts, defenses, offsets, powers, privileges, licenses,
Liens, indemnities, guaranties, and franchises of any kind or character whatsoever, whether known or unknown,
foreseen or unforeseen, existing or hereinafter arising, contingent or non-contingent, liquidated or unliquidated,
secured or unsecured, assertable, directly or derivatively, matured or unmatured, suspected or unsuspected, in contract,
tort, law, equity, or otherwise. Causes of Action also include: (a) all rights of setoff, counterclaim, or recoupment and
claims under contracts or for breaches of duties imposed by law; (b) the right to object to or otherwise contest Claims
or Interests; (c) claims pursuant to sections 362, 510, 542, 543, 544 through 550, or 553 of the Bankruptcy Code; and
(d) such claims and defenses as fraud, mistake, duress, and usury, and any other defenses set forth in section 558 of
the Bankruptcy Code.

          24.      “Chapter 11 Cases” means (a) when used with reference to a particular Debtor, the case pending
for that Debtor under chapter 11 of the Bankruptcy Code in the Bankruptcy Court and (b) when used with reference
to all the Debtors, the procedurally consolidated chapter 11 cases pending for the Debtors in the Bankruptcy Court.

        25.       “Chesapeake” means Chesapeake Energy Corporation or any successor or assign, by merger,
consolidation, or otherwise, prior to the Effective Date.

        26.        “Claim” means any claim, as defined in section 101(5) of the Bankruptcy Code, against any of
the Debtors.

          27.      “Claims and Balloting Agent” means Epiq Corporate Restructuring, LLC, the notice, claims, and
solicitation agent retained by the Debtors in the Chapter 11 Cases.

         28.     “Claims Register” means the official register of Claims maintained by the Claims and
Balloting Agent.

         29.      “Class” means a class of Claims or Interests as set forth in Article III of the Plan pursuant to
section 1122(a) of the Bankruptcy Code.

         30.       “CM/ECF” means the Bankruptcy Court’s Case Management and Electronic Case Filing system.

        31.   “Collateral Agreement” means that certain Collateral Agreement dated December 19, 2019 by and
between MUFG Union Bank, N.A., as collateral trustee, Chesapeake, and certain of the other Debtors.



                                                             3
   Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 587 of 1639
                                                                         0587


        32.     “Collateral Trust Agreement” means that certain Collateral Trust Agreement dated
December 19, 2019 by and between MUFG Union Bank, N.A., as collateral trustee and revolver agent, and GLAS
USA LLC, as original term loan agent, and as acknowledged and agreed by certain of the Debtors (as from time to
time amended and restated).

          33.      “Collateral Trust Documents” means collectively, the Collateral Agreement, the Collateral Trust
Agreement, and any and all other agreements, documents, and instruments delivered or entered into in connection
therewith, including any guarantee agreements, pledge and collateral agreements, intercreditor agreements, and other
security documents (including any amendments, restatements, supplements, or modifications of any of the foregoing),
related to or executed in connection with the Collateral Agreement and the Collateral Trust Agreement.

         34.     “Collateral Trustee” means MUFG Union Bank, N.A., in its capacity as collateral trustee under the
Collateral Agreement and the Collateral Trust Agreement.

          35.       “Conditions Precedent to the Effective Date” means the conditions precedent to the Effective Date
set forth in Article IX.A of the Plan.

         36.       “Conditions Precedent to the Exit Facilities” means the conditions precedent to the closing of the
Exit Facilities identified on Exhibit D to the Exit Facilities Term Sheet.

        37.      “Confirmation” means the Bankruptcy Court’s entry of the Confirmation Order on the docket of the
Chapter 11 Cases.

       38.      “Confirmation Date” means the date upon which the Bankruptcy Court enters the
Confirmation Order on the docket of the Chapter 11 Cases, within the meaning of Bankruptcy Rules 5003 and 9021.

          39.      “Confirmation Hearing” means the hearing to be held by the Bankruptcy Court on confirmation of
the Plan, pursuant to Bankruptcy Rule 3020(b)(2) and sections 1128 and 1129 of the Bankruptcy Code, as such hearing
may be continued from time to time.

         40.      “Confirmation Order” means the order of the Bankruptcy Court confirming the Plan pursuant to
section 1129 of the Bankruptcy Code.

         41.     “Consenting DIP Lenders” means those certain DIP Lenders that are or have become parties to the
Restructuring Support Agreement.

        42.       “Consenting FLLO Term Loan Facility Lenders” means those certain FLLO Term Loan Facility
Lenders that are or have become parties to the Restructuring Support Agreement.

        43.       “Consenting Revolving Credit Facility Lenders” means those certain Revolving Credit Facility
Lenders that are or have become parties to the Restructuring Support Agreement.

          44.     “Consenting Second Lien Noteholders” means Second Lien Noteholders, investment advisors
thereto, sub-advisors thereto, or managers of discretionary accounts belonging to Second Lien Noteholders that are or
have become parties to the Restructuring Support Agreement.

        45.      “Consenting Stakeholders” means collectively, the Consenting DIP Lenders, the Consenting
Revolving Credit Facility Lenders, the Consenting FLLO Term Loan Facility Lenders, and the Consenting Second
Lien Noteholders.

        46.       “Consenting Unsecured Noteholders” means Unsecured Noteholders, investment advisors thereto,
sub-advisors thereto, or managers of discretionary accounts belonging to Unsecured Noteholders that are or have
become parties to the Restructuring Support Agreement.

        47.      “Consummation” means the occurrence of the Effective Date as to the applicable Debtor.

                                                         4
   Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 588 of 1639
                                                                         0588


          48.       “Convenience Claim” means any Allowed General Unsecured Claim (i) that is Allowed in an
amount greater than $0 but less than or equal to $1,000,000.00; and (ii) for which the holder of such Claim irrevocably
elects via a Convenience Claim Election Form to have such Claim treated as a Convenience Claim (upon Allowance)
for the purposes of the Plan, in full and final satisfaction of such Claim; provided that a holder of a General Unsecured
Claim in excess of $1,000,000.00 may irrevocably elect via a Convenience Claim Election Form to have such Claim
irrevocably reduced to $1,000,000.00 and treated as a Convenience Claim (upon Allowance) for the purposes of the
Plan, in full and final satisfaction of such Claim.

        49.      “Convenience Claim Election Form” means the form to be distributed by the Claims and Balloting
Agent to each holder of a General Unsecured Claim as soon as reasonably practicable after the Effective Date.

        50.      “Convenience Claim Distribution” means each Convenience Claim’s Pro Rata share of
$10,000,000.00, which Pro Rata share shall not exceed 5 percent of such Convenience Claim.

        51.     “Convenience Claim Distribution Reserve” means an interest bearing account funded by the
Reorganized Debtors with Cash on the Effective Date in an amount equal to $10,000,000.00.

         52.        “Cure Claim” means a Claim (unless waived or modified by the applicable counterparty) based
upon the Debtors’ defaults on an Executory Contract or Unexpired Lease at the time such Executory Contract or
Unexpired Lease is assumed by the Debtors pursuant to section 365 of the Bankruptcy Code, other than with respect
to a default that is not required to be cured under section 365(b)(2) of the Bankruptcy Code.

         53.      “D&O Liability Insurance Policies” means all insurance policies issued to or providing coverage at
any time to any of the Debtors for directors’, managers’, and officers’ liability existing as of the Petition Date
(including any “tail policy”) and all agreements, documents, or instruments relating thereto.

          54.      “Definitive Documents” means, without limitation, the following documents: (a) the Plan and its
exhibits, ballots, and solicitation procedures; (b) the Confirmation Order; (c) the Disclosure Statement; (d) the
Disclosure Statement Order; (e) the First Day Pleadings and all orders sought pursuant thereto; (f) the Plan
Supplement; (g) the DIP Order, DIP Credit Agreement, and any and all other DIP Documents and related
documentation; (h) the Backstop Commitment Agreement, Backstop Commitment Agreement Approval Order, Rights
Offering Procedures, Registration Rights Agreement and any and all documentation required to implement, issue, and
distribute the New Common Stock; (i) the New Warrants Agreements; (j) the Exit Facilities Documents and related
documentation; (k) the Management Incentive Plan; (l) the New Organizational Documents and all other documents
or agreements for the governance of Reorganized Chesapeake, including the list of directors of Reorganized
Chesapeake and any certificates of incorporation and shareholders’ agreements or supplements as may be reasonably
necessary or advisable to implement the Restructuring Transactions; and (m) such other agreements and
documentation reasonably desired or necessary to consummate and document the transactions contemplated by
the Plan.

        55.      “DIP Agent” means MUFG Union Bank, N.A., in its capacity as administrative agent and collateral
agent under the DIP Credit Agreement.

         56.      “DIP Agent Fees and Expenses” has the meaning ascribed to such term in the DIP Order.

          57.       “DIP Claims” means all Claims derived from, based upon, or secured pursuant to the DIP Credit
Agreement or DIP Order, including Claims for all principal amounts outstanding, interest, fees, expenses, costs,
professional fee reimbursements, transaction fees, Superpriority Hedge Claims, and other charges arising thereunder
or related thereto, in each case, with respect to the DIP Facility; provided that any Adequate Protection Super-Priority
Claims (as defined in the Final DIP Order), including such Claims granted in respect of the Revolving Credit Facility,
FLLO Term Loan Facility, or Second Lien Notes authorized in the DIP Order, shall not be DIP Claims.




                                                           5
   Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 589 of 1639
                                                                         0589


          58.      “DIP Credit Agreement” means that certain Senior Secured Super-Priority Debtor-In-Possession
Credit Agreement dated July 1, 2020, between Chesapeake Energy Corporation, as borrower, the Debtor guarantors
that are party thereto, the DIP Lenders, and the DIP Agent (as may be amended, supplemented, or otherwise modified
from time to time).

         59.      “DIP Documents” means collectively, the DIP Credit Agreement and any and all other agreements,
documents, and instruments delivered or entered into in connection therewith, including any guarantee agreements,
pledge and collateral agreements, intercreditor agreements, and other security documents (including any amendments,
restatements, supplements, or modifications of any of the foregoing), related to or executed in connection with the
DIP Credit Agreement.

        60.    “DIP Facility” means that certain debtor-in-possession financing facility documented pursuant to
the DIP Documents and DIP Order.

         61.      “DIP Lenders” means the lenders party to the DIP Credit Agreement.

         62.      “DIP Order” means collectively, the Interim DIP Order and the Final DIP Order.

        63.        “Disclosure Statement” means the disclosure statement for the Plan, including all exhibits and
schedules thereto.

        64.       “Disclosure Statement Order” means an order of the Bankruptcy Court approving the Disclosure
Statement, the Solicitation Materials, and the solicitation of the Plan.

          65.       “Disputed” means, as to a Claim or an Interest, any Claim or Interest: (a) that is not Allowed;
(b) that is not disallowed by the Plan, the Bankruptcy Code, or a Final Order, as applicable; (c) as to which a dispute
is being adjudicated by a court of competent jurisdiction in accordance with non-bankruptcy law; (d) that is Filed in
the Bankruptcy Court and not withdrawn, as to which a timely objection or request for estimation has been Filed; and
(e) with respect to which a party in interest has Filed a Proof of Claim or otherwise made a written request to a Debtor
for payment, without any further notice to or action, order, or approval of the Bankruptcy Court.

         66.       “Distribution Record Date” means, other than with respect to publicly held Securities, the record
date for purposes of making distributions under the Plan on account of Allowed Claims, which date shall be on or
before the Effective Date. For the avoidance of doubt, no distribution record date shall apply to holders of
public Securities, including the Second Lien Notes and the Unsecured Notes.

         67.      “DTC” means the Depository Trust Company.

          68.     “Effective Date” means, as to the applicable Debtor, the date that is the first Business Day on which
(a) no stay of the Confirmation Order is in effect and (b) all Conditions Precedent to the Effective Date have been
satisfied or waived in accordance with Article IX.B of the Plan. Any action to be taken on the Effective Date may be
taken on or as soon as reasonably practicable thereafter.

         69.      “Entity” has the meaning set forth in section 101(15) of the Bankruptcy Code.

         70.       “Estate” means as to each Debtor, the estate created for such Debtor in its Chapter 11 Case pursuant
to section 541 of the Bankruptcy Code upon the commencement of such Debtor’s Chapter 11 Case.

        71.       “Exchange Act” means the Securities Exchange Act of 1934, 15 U.S.C. § 78a, et seq., as amended
from time to time, and the rules and regulations promulgated thereunder.




                                                           6
   Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 590 of 1639
                                                                         0590


         72.       “Exculpated Parties” means, collectively, and in each case in its capacity as such: (a) the Debtors;
(b) any official committees appointed in the Chapter 11 Cases and each of their respective members; (c) the DIP
Lenders; (d) the Exit Facilities Lenders; (e) the Consenting Revolving Credit Facility Lenders; (f) the Consenting
FLLO Term Loan Facility Lenders; (g) the Consenting Second Lien Noteholders; (h) the Consenting Unsecured
Noteholders; (i) the Agents; (j) each Trustee; (k) the Backstop Parties; and (l) with respect to each of the foregoing,
such Entity and its current and former Affiliates, and such Entity’s and its current and former Affiliates’ current and
former equity holders, subsidiaries, participants, officers, directors, managers, principals, members, employees,
agents, advisory board members, financial advisors, partners, attorneys, accountants, investment bankers, consultants,
representatives, and other professionals, each in their capacity as such.

         73.     “Executory Contract” means a contract to which one or more of the Debtors is a party and that is
subject to assumption or rejection under section 365 of the Bankruptcy Code.

         74.      “Existing Equity Interest” means an Interest in Chesapeake Energy Corporation existing as of the
Petition Date.

       75.        “Existing RBL Adequate Protection Payments” has the meaning ascribed to such term in the
DIP Order.

         76.      “Exit Facilities” means collectively, the Exit RBL Facility and Exit FLLO Term Loan Facility.

         77.        “Exit Facilities Agent” means MUFG Union Bank, N.A., in its capacity as administrative agent for
the Exit Facilities.

          78.      “Exit Facilities Credit Agreements” means those certain credit agreements that will govern the Exit
Facilities (as each may be amended, supplemented, or otherwise modified from time to time), in each case which shall
be consistent with the Exit Facilities Term Sheet.

          79.     “Exit Facilities Documents” means, collectively, the Exit Facilities Credit Agreements, and any and
all other agreements, documents, and instruments delivered or to be entered into in connection therewith, including
any amendments to existing loan or other finance documentation, any guarantee agreements, pledge and collateral
agreements, intercreditor agreements, and other security documents, in each case if any, the form and substance of
which shall be consistent with the Exit Facilities Term Sheet.

         80.      “Exit Facilities Lenders” means the lenders party to the Exit Facilities Credit Agreements.

       81.       “Exit Facilities Loans” means collectively, the Tranche A RBL Exit Facility Loans, the Tranche B
RBL Exit Facility Loans, and the Exit FLLO Term Loans.

          82.      “Exit Facilities Term Sheet” means the term sheet setting forth the material terms of the Exit
Facilities, attached as Exhibit 3 to the Restructuring Term Sheet.

       83.    “Exit FLLO Term Loan” means term loans made under and on the terms set forth under the Exit
FLLO Term Loan Facility.

         84.        “Exit FLLO Term Loan Facility” means the term loan facility to be provided in accordance with the
terms set forth in the Exit Facilities Term Sheet.

          85.      “Exit RBL Facility” means the revolving credit facility to be provided in accordance with the terms
set forth in the Exit Facilities Term Sheet.

         86.      “Federal Judgment Rate” means the federal judgment rate in effect as of the Petition Date.

        87.       “File,” “Filed,” or “Filing” means file, filed, or filing with the Bankruptcy Court or its authorized
designee in the Chapter 11 Cases.

                                                          7
   Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 591 of 1639
                                                                         0591


        88.       “Final DIP Order” means the Final Order (I) Authorizing The Debtors To Obtain Postpetition
Financing, (II) Authorizing The Debtors To Use Cash Collateral, (III) Granting Liens And Providing Claims With
Superpriority Administrative Expense Status, (IV) Granting Adequate Protection To The Existing Secured Parties,
(V) Modifying The Automatic Stay, And (VI) Granting Related Relief entered by the Bankruptcy Court on July 31, 2020
at CM/ECF No. 597 in the Chapter 11 Cases.

          89.      “Final Order” means an order or judgment of the Bankruptcy Court, or court of competent
jurisdiction with respect to the subject matter that has not been reversed, stayed, modified, or amended, as entered on
the docket in any Chapter 11 Case or the docket of any court of competent jurisdiction, and as to which the time to
appeal, or seek certiorari or move for a new trial, reargument, or rehearing has expired and no appeal or petition for
certiorari or other proceedings for a new trial, reargument, or rehearing has been timely taken, or as to which any
appeal that has been taken or any petition for certiorari that has been or may be timely Filed has been withdrawn or
resolved by the highest court to which the order or judgment was appealed or from which certiorari was sought or the
new trial, reargument, or rehearing will have been denied, resulted in no stay pending appeal of such order, or has
otherwise been dismissed with prejudice; provided that the possibility that a motion under Rule 60 of the Federal
Rules of Civil Procedure, or any analogous rule under the Bankruptcy Rules, may be Filed with respect to such order
will not preclude such order from being a Final Order.

          90.      “First Day Pleadings” means the pleadings and related documentation requesting certain emergency
relief, or supporting the request for such relief, Filed by the Debtors on or around the Petition Date and heard at the
“first day” hearing.

        91.     “FLLO Ad Hoc Group” means the ad hoc group of FLLO Term Loan Facility Lenders represented
by Davis Polk & Wardwell LLP.

         92.      “FLLO Professionals” means the FLLO Term Loan Facility Administrative Agent’s professionals
(including Arnold & Porter Kaye Scholer LLP and one local counsel in the relevant jurisdiction), the Collateral
Trustee’s professionals (including Paul Hastings LLP), and the FLLO Ad Hoc Group’s professionals (including Davis
Polk & Wardwell LLP, Vinson & Elkins LLP, one local counsel in each other relevant local jurisdiction, and Perella
Weinberg Partners LP).

         93.       “FLLO Rights” means the non-certificated rights that will enable the holders thereof to purchase
shares of New Common Stock at an aggregate purchase price of $382.5 million at a price per share to be determined
based on a 35 percent discount to the equity value per share of New Common Stock, post new-money, as implied by
a Plan total enterprise value of $3.25 billion.

        94.     “FLLO Term Loan Facility” means the facility outstanding under the FLLO Term Loan Facility
Credit Agreement.

        95.       “FLLO Term Loan Facility Administrative Agent” means GLAS USA LLC, in its capacity as
administrative agent for the FLLO Term Loan Facility.

         96.      “FLLO Term Loan Facility Claim” means any Claim on account of the FLLO Term Loan Facility.

         97.      “FLLO Term Loan Facility Credit Agreement” means that certain Term Loan Agreement, dated as
of December 19, 2019 ((i) as supplemented by that certain Class A Term Loan Supplement, dated as of
December 19, 2019 (as amended, restated or otherwise modified from time to time), by and among Chesapeake, as
borrower, the Debtor guarantors party thereto, the FLLO Term Loan Facility Administrative Agent, and the lender
parties thereto, and (ii) as further amended, restated, or otherwise modified from time to time), by and among
Chesapeake, as borrower, the Debtor guarantors party thereto, the FLLO Term Loan Facility Administrative Agent,
and the lenders party thereto.

        98.     “FLLO Term Loan Facility Lenders” means lenders party to the FLLO Term Loan Facility
Credit Agreement.



                                                          8
   Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 592 of 1639
                                                                         0592


        99.       “Franklin” means Franklin Advisers, Inc., as investment manager on behalf of certain funds
and accounts.

         100.    “General Unsecured Claim” means any Claim against any Debtor that is not otherwise paid in full
during the Chapter 11 Cases pursuant to an order of the Bankruptcy Court and is not an Administrative Claim, a
Priority Tax Claim, an Other Priority Claim, an Other Secured Claim, a Revolving Credit Facility Claim, a FLLO
Term Loan Facility Claim, a Second Lien Notes Claim, an Unsecured Notes Claim, an Intercompany Claim, or a
Section 510(b) Claim.

         101.     “Governmental Unit” has the meaning set forth in section 101(27) of the Bankruptcy Code.

         102.     “Impaired” means with respect to a Class of Claims or Interests, a Class of Claims or Interests that
is impaired within the meaning of section 1124 of the Bankruptcy Code.

         103.      “Insurance Policies” means all insurance policies, including all D&O Liability Insurance Policies,
that have been issued at any time or provide coverage, benefits or proceeds to any of the Debtors (or their predecessors)
and all agreements, documents or instruments relating thereto.

          104.     “Insurer” means any company or other Entity that issued or entered into an Insurance Policy, any
third party administrator of or for any Insurance Policy, and any respective predecessors, successors and/or affiliates
of any of the foregoing.

          105.    “Intercompany Claim” means any Claim held by a Debtor or an Affiliate against a Debtor or an
Affiliate of a Debtor.

         106.     “Intercompany Interest” means an Interest in a Debtor held by a Debtor or an Affiliate of a Debtor.

         107.     “Intercreditor Agreement” means that certain Intercreditor Agreement dated as of
December 19, 2019 by and between MUFG Union Bank, N.A., as Priority Lien Agent, and the Second Lien Notes
Trustee, and as acknowledged and agreed by certain of the Debtors (as from time to time amended and restated).

        108.     “Interest” means any equity security (as defined in section 101(16) of the Bankruptcy Code) in any
Debtor and any other rights, options, warrants, stock appreciation rights, phantom stock rights, restricted stock units,
redemption rights, repurchase rights, convertible, exercisable or exchangeable Securities or other agreements,
arrangements or commitments of any character relating to, or whose value is related to, any such interest or other
ownership interest in any Debtor.

        109.      “Interim DIP Order” means the Interim Order (I) Authorizing The Debtors To Obtain Postpetition
Financing, (II) Authorizing The Debtors To Use Cash Collateral, (III) Granting Liens And Providing Claims With
Superpriority Administrative Expense Status, (IV) Granting Adequate Protection To The Existing Secured Parties,
(V) Modifying The Automatic Stay, (VI) Scheduling A Final Hearing, and (VII) Granting Related Relief entered by the
Bankruptcy Court on June 29, 2020 at CM/ECF No. 128 in the Chapter 11 Cases.

          110.    “Judicial Code” means title 28 of the United States Code, 28 U.S.C. §§ 1–4001, as amended from
time to time.

         111.     “Lien” has the meaning set forth in section 101(37) of the Bankruptcy Code.

         112.     “Management Incentive Plan” has the meaning set forth in Article IV.Q of the Plan.

         113.     “Minimum Liquidity Condition” means the Condition Precedent to the Effective Date that provides
that the Debtors shall have minimum liquidity, including unrestricted cash on hand and availability under the Exit
RBL Facility, of at least $500 million.



                                                           9
   Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 593 of 1639
                                                                         0593


        114.    “National Securities Exchange” means The New York Stock Exchange, The Nasdaq Global Select
Market, or The Nasdaq Global Market.

          115.      “New Board” means the board of directors of Reorganized Chesapeake that shall be appointed in
accordance with the terms of the governance term sheet attached as Exhibit 6 to the Restructuring Term Sheet. The
identities of directors on the New Board shall be set forth in the Plan Supplement, to the extent known.

         116.     “New Class A Warrants” means warrants to purchase 10 percent of the New Common Stock (after
giving effect to the Rights Offering, but subject to dilution by the Management Incentive Plan, the New Class B
Warrants, and the New Class C Warrants), with a term of 5 years at an initial exercise price per share struck at the
equity value of Reorganized Chesapeake, post new-money, implied by a total enterprise value of $4.0 billion.

         117.      “New Class B Warrants” means warrants to purchase 10 percent of the New Common Stock (after
giving effect to the Rights Offering, but subject to dilution by the Management Incentive Plan and the New Class C
Warrants), with a term of 5 years at an initial exercise price per share struck at the equity value of Reorganized
Chesapeake, post new-money, implied by a total enterprise value of $4.5 billion.

          118.      “New Class C Warrants” means warrants to purchase 10 percent of the New Common Stock (after
giving effect to the Rights Offering, but subject to dilution by the Management Incentive Plan), with a term of 5 years
at an initial exercise price per share struck at the equity value of Reorganized Chesapeake, post new-money, implied
by a total enterprise value of $5.0 billion.

       119.     “New Common Stock” means the single class of common stock to be issued by Reorganized
Chesapeake on the Effective Date on terms acceptable to the Required Plan Sponsors.

         120.     “New Organizational Documents” means the amended and restated or new charters, bylaws,
operating agreements, or other organizational documents of Reorganized Chesapeake and the other Reorganized
Debtors, as applicable and in form and substance satisfactory to the Required Plan Sponsors.

       121.    “New Warrants” means collectively, the New Class A Warrants, the New Class B Warrants, and the
New Class C Warrants.

          122.      “New Warrants Agreements” means the documents or agreements governing the New Warrants,
Filed with the Plan Supplement, which will be consistent in all material respects with the terms of this Plan and shall
at all times be in form and substance reasonably acceptable to the Required Plan Sponsors and the Consenting Second
Lien Noteholders holding at least 66.67% of the aggregate outstanding principal amount of the Second Lien Notes
Claims that are held by the Consenting Second Lien Noteholders.

          123.      “Other Priority Claim” means any Claim other than an Administrative Claim or a Priority Tax Claim
entitled to priority in right of payment under section 507(a) of the Bankruptcy Code.

         124.  “Other Secured Claim” means any Secured Claim other than a DIP Claim, Revolving Credit Facility
Claim, a FLLO Term Loan Facility Claim, or a Second Lien Notes Claim.

         125.       “PDP PV-10 Ratio” means the ratio of (a) the total present value of the future net revenues expected
with respect to the oil and gas properties of the Debtors discounted at 10% per annum, calculated in accordance with
the Exit Facilities Term Sheet to (b) consolidated indebtedness under the Exit Credit Facilities and any other secured
debt of Chesapeake as of the closing date of the Exit Credit Facilities.

         126.     “PDP PV-10 Test Ratio Condition” means the Condition Precedent to the Effective Date that
provides that the Debtors shall have a PDP PV-10 Ratio no less than 1.5x.

         127.     “Person” has the meaning set forth in section 101(41) of the Bankruptcy Code.

         128.     “Petition Date” means the date on which the Debtors commenced the Chapter 11 Cases.

                                                          10
   Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 594 of 1639
                                                                         0594


         129.     “Plan Securities” has the meaning set forth in Article IV.E.1 of the Plan.

         130.     “Plan Supplement” means the compilation of documents and forms of documents, term sheets,
agreements, schedules, and exhibits to the Plan (in each case, as may be altered, amended, modified, or supplemented
from time to time in accordance with the terms hereof and in accordance with the Bankruptcy Code and Bankruptcy
Rules) to be Filed prior on or before November 23, 2020, and any additional documents Filed prior to the Effective
Date as amendments to the Plan Supplement, including the following, as applicable: (a) the New Organizational
Documents; (b) to the extent known, the identities of the members of the New Board; (c) the Assumed Executory
Contracts and Unexpired Leases Schedule; (d) the Rejected Executory Contracts and Unexpired Leases Schedule;
(e) the Schedule of Retained Causes of Action; (f) a summary of the material terms of the Exit Facilities, which may
include the Exit Facilities Term Sheet; (g) the definitive documentation related to the Management Incentive Plan;
(h) the Restructuring Transactions Memorandum; (i) the New Warrants Agreements; and (j) the Registration
Rights Agreement.

         131.     “Priority Tax Claim” means any Claim of a Governmental Unit of the kind specified in
section 507(a)(8) of the Bankruptcy Code.

          132.    “Pro Rata” means the proportion that an Allowed Claim or an Allowed Interest in a particular Class
bears to the aggregate amount of Allowed Claims or Allowed Interests in that Class, unless otherwise indicated;
provided that, as used in Article III.B.6 and III.B.7, “Pro Rata” means the proportion that an Allowed Unsecured
Notes Claim or Allowed General Unsecured Claim, as appropriate, bears to the aggregate amount of Allowed
Unsecured Notes Claims and Allowed General Unsecured Claims that are not Convenience Claims; provided, further,
that for the purpose of calculating the aggregate Allowed Unsecured Notes Claims and aggregate Allowed General
Unsecured Claims for purposes of determining each Allowed Unsecured Notes Claim’s and Allowed General
Unsecured Claim’s Pro Rata distribution, each Allowed Unsecured Notes Claim and Allowed General Unsecured
Claim shall be counted once, notwithstanding the number of Debtors against which such claim may be asserted;
provided, further, that for the purpose of calculating the Convenience Claim Distribution pursuant to Article III.B.7
of the Plan, “Pro Rata” means the proportion that the amount of a Convenience Claim bears to the aggregate amount
of Convenience Claims.

         133.     “Professional” means an Entity: (a) employed pursuant to a Bankruptcy Court order in accordance
with sections 327, 328, 363, or 1103 of the Bankruptcy Code and to be compensated for services rendered prior to or
on the Confirmation Date, pursuant to sections 327, 328, 329, 330, 331, and 363 of the Bankruptcy Code; or
(b) awarded compensation and reimbursement by the Bankruptcy Court pursuant to section 503(b)(4) of the
Bankruptcy Code.

        134.     “Professional Claim” means a Claim by a professional seeking an award by the Bankruptcy Court
of compensation for services rendered or reimbursement of expenses incurred through and including the Confirmation
Date under sections 330, 331, 503(b)(2), 503(b)(3), 503(b)(4), or 503(b)(5) of the Bankruptcy Code.

          135.      “Professional Fee Amount” means the aggregate amount of Professional Claims and other unpaid
fees and expenses that the Professionals estimate they have incurred or will incur in rendering services to the Debtors
as set forth in Article II.A.2(c) of the Plan.

        136.     “Professional Fee Escrow Account” means an interest-bearing account funded by the Reorganized
Debtors with Cash on the Effective Date in an amount equal to the Professional Fee Amount.

         137.    “Proof of Claim” means a proof of Claim Filed against any of the Debtors in the Chapter 11 Cases
by the Claims Bar Date or the applicable Administrative Claims Bar Date, as applicable.

        138.     “Proof of Interest” means a proof of Interest Filed against any of the Debtors in the
Chapter 11 Cases.




                                                          11
    Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 595 of 1639
                                                                          0595


         139.     “Put Option Premium” means a nonrefundable aggregate fee of $60 million, which represents
10 percent of the Rights Offering Amount, payable to the Backstop Parties in accordance with, and subject to the
terms of, the Backstop Commitment Agreement based on their respective Backstop commitment percentages at the
time such payment is made.

         140.      “Registration Rights Agreement” means the registration rights agreement pursuant to which each
Backstop Party shall be entitled to registration rights with respect to its shares of New Common Stock, its New
Warrants, and its shares of New Common Stock underlying its New Warrants to be entered into as of the Effective
Date. The Registration Rights Agreement will provide (among other provisions) that, after the Effective Date, at any
time Reorganized Chesapeake is not required to file public reports with the SEC, Reorganized Chesapeake shall
continue to file such public reports on EDGAR as a voluntary filer, unless approved by the holders of a majority of
the outstanding New Common Stock.

        141.       “Reinstate,” “Reinstated,” or “Reinstatement” means with respect to Claims and Interests, that the
Claim or Interest shall not be discharged hereunder and the holder’s legal, equitable, and contractual rights on account
of such Claim or Interest shall remain unaltered by Consummation in accordance with section 1124(1) of the
Bankruptcy Code.

         142.    “Rejected Executory Contracts and Unexpired Leases Schedule” means the schedule of Executory
Contracts and Unexpired Leases to be rejected by the Debtors pursuant to the Plan, which schedule shall be included
in the Plan Supplement, as the same may be amended, modified, or supplemented from time to time; provided that
such schedule shall be in form and substance acceptable to the Required Consenting Stakeholders.

         143.       “Released Parties” means, collectively, and in each case in its capacity as such: (a) each Debtor;
(b) each Reorganized Debtor; (c) each of the Debtors’ current and former directors and officers; (d) each DIP Lender;
(e) each Agent; (f) each Trustee; (g) the Consenting Revolving Credit Facility Lenders; (h) the Consenting FLLO
Term Loan Facility Lenders; (i) the Consenting Second Lien Noteholders; (j) the Consenting Unsecured Noteholders;
(k) the Exit Facilities Lenders; (l) the Backstop Parties; (m) all holders of Interests; and (n) with respect to each of the
foregoing (a) through (m), each of such Entity and its current and former Affiliates, and such Entities’ and their current
and former Affiliates’ current and former members, directors, managers, officers, equity holders (regardless of
whether such interests are held directly or indirectly), predecessors, successors and assigns, subsidiaries, participants,
and each of their respective current and former members, equity holders, officers, directors, managers, principals,
members, employees, agents, advisory board members, financial advisors, partners, attorneys, accountants, investment
bankers, consultants, representatives, and other professionals, each in their capacity as such; provided that in each
case, an Entity shall not be a Released Party if it: (x) elects to opt out of the releases contained in the Plan; or (y) timely
Files with the Bankruptcy Court on the docket of the Chapter 11 Cases an objection to the releases contained in the
Plan that is not resolved before Confirmation.

          144.     “Releasing Parties” means, collectively, and in each case in its capacity as such: (a) each Debtor;
(b) each Reorganized Debtor; (c) each DIP Lender; (d) each Agent; (e) each Trustee; (f) the Consenting Revolving
Credit Facility Lenders; (g) the Consenting FLLO Term Loan Facility Lenders; (h) the Consenting Second Lien
Noteholders; (i) the Consenting Unsecured Noteholders; (j) the Exit Facilities Lenders; (k) the Backstop Parties; (l) all
holders of Claims; (m) all holders of Interests; (n) with respect to each of the foregoing (a) through (m), such Entity
and its current and former Affiliates, and such Entities’ and their current and former Affiliates’ current and former
members, directors, managers, officers, equity holders (regardless of whether such interests are held directly or
indirectly), predecessors, successors and assigns, subsidiaries, participants, and each of their respective current and
former members, equity holders, officers, directors, managers, principals, members, employees, agents, advisory
board members, financial advisors, partners, attorneys, accountants, investment bankers, consultants, representatives,
and other professionals, in each case, solely in their respective capacities as such with respect to such Entity and solely
to the extent such Entity has the authority to bind such Affiliate in such capacity; provided that in each case, an Entity
shall not be a Releasing Party if it: (x) elects to opt out of the releases contained in the Plan; or (y) timely Files with
the Bankruptcy Court on the docket of the Chapter 11 Cases an objection to the releases contained in the Plan that is
not resolved before Confirmation.

        145.     “Removal Deadline” means the deadline by which the Debtors may remove actions pursuant to
28 U.S.C. § 1452 and Bankruptcy Rule 9027, as amended by the Removal Extension Order.
                                                              12
   Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 596 of 1639
                                                                         0596


       146.    “Removal Extension Order” means the Order (I) Extending the Time Within Which the Debtors May
Remove Actions and (II) Granting Related Relief entered by the Bankruptcy Court on September 25, 2020 at
CM/ECF No. 1231 in the Chapter 11 Cases.

         147.     “Reorganized Debtors” means collectively, a Debtor, or any successor or assign thereto, by merger,
consolidation, or otherwise, on and after the Effective Date, including any new entity established in connection with
the implementation of the Restructuring Transactions.

         148.   “Reorganized Chesapeake” means the new entity which shall be incorporated in the State of
Delaware and will be the successor or assign to Chesapeake, by merger, consolidation, or otherwise, on or after the
Effective Date.

        149. “Required Consenting DIP Lenders” means Consenting DIP Lenders holding at least 51% of the
aggregate Revolving DIP Loan Commitments under the DIP Facility that are held by Consenting DIP Lenders.

         150.     “Required Consenting Revolving Credit Facility Lenders” means Consenting Revolving Credit
Facility Lenders holding at least 51% of the aggregate outstanding principal amount of the Revolving Credit Facility
Claims that are held by Consenting Revolving Credit Facility Lenders.

        151.    “Required Consenting Stakeholders” means the Required Consenting DIP Lenders, the Required
Consenting Revolving Credit Facility Lenders, and the Required Plan Sponsors.

         152.   “Required Plan Sponsors” means the Backstop Parties holding FLLO Term Loan Facility Claims
and commitments to Backstop the Rights Offering such that the Required Plan Sponsors Percentage exceeds
66 2/3 percent.

         153.     “Required Plan Sponsors Percentage” means a fraction, expressed as a percentage, (a) the
numerator of which shall be the sum of (i) the aggregate outstanding principal amount of FLLO Term Loan Facility
Claims that are held by the relevant Backstop Parties and (ii) the percentage of the Backstop ascribed to the relevant
Backstop Parties (as set forth in the Backstop Commitment Agreement) multiplied by the Rights Offering Amount;
and (b) the denominator of which shall be the sum of (i) the aggregate outstanding principal amount of FLLO Term
Loan Facility Claims that are held by all of the Backstop Parties and (ii) the Rights Offering Amount.

         154.      “Restructuring Expenses” means any reasonable and documented unpaid fees and expenses incurred
on or before the Effective Date by the FLLO Professionals and the Second Lien Professionals payable on the Effective
Date, subject to the conditions set forth in Article IV.U of the Plan; provided that reimbursement of the Second Lien
Notes Trustee’s financial advisor’s fees and expenses shall be limited to $250,000 in the aggregate, and no Person
shall be entitled to increase or seek to increase this $250,000 limit or use a charging lien or seek payment for such
financial advisor’s or any financial advisor to the Second Lien Notes Trustee’s fees and expenses from any
other source.

         155.    “Restructuring Support Agreement” means that certain restructuring support agreement, dated as of
June 28, 2020, by and among the Debtors and the Consenting Stakeholders, as may be further amended, modified, or
supplemented from time to time, in accordance with its terms.

         156.    “Restructuring Term Sheet” means the term sheet setting forth the material terms of the
Restructuring Transactions, attached as Exhibit B to the Restructuring Support Agreement.

         157.     “Restructuring Transactions” means the transactions described in Article IV.B of the Plan.

        158.     “Restructuring Transactions Memorandum” means a document, in form and substance acceptable
to the Required Consenting Stakeholders, to be included in the Plan Supplement that will set forth the material
components of the Restructuring Transactions.




                                                         13
   Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 597 of 1639
                                                                         0597


        159.    “Revolving Credit Facility” means the facility outstanding under the Revolving Credit Facility
Credit Agreement.

        160.      “Revolving Credit Facility Administrative Agent” means MUFG Union Bank, N.A., in its capacity
as administrative agent for the Revolving Credit Facility.

         161.     “Revolving Credit Facility Claim” means any Claim on account of the Revolving Credit Facility,
other than any Claims converted to Roll-Up Loans (as defined in the Final DIP Order).

        162.      “Revolving Credit Facility Credit Agreement” means that certain Amended and Restated Credit
Agreement, dated as of September 12, 2018 (as amended, restated, or otherwise modified from time to time), by and
among Chesapeake, as borrower, the Debtor guarantors party thereto, the Revolving Credit Facility Administrative
Agent, and the other lender, issuer, and agent parties party thereto.

         163.     “Revolving Credit Facility Lenders” means the lenders party to the Revolving Credit
Facility Credit Agreement.

        164.      “Revolving DIP Loan Commitment” means a commitment to provide revolving loans under the
DIP Facility.

         165.     “Rights” means collectively, the FLLO Rights, the Second Lien Rights, and the Backstop
Party Rights.

         166.   “Rights Offering” means the New Common Stock rights offering for the Rights Offering Amount
to be consummated by the Debtors on the Effective Date in accordance with the Rights Offering Procedures.

         167.     “Rights Offering Amount” means a minimum of $600 million in aggregate amount of Rights.

        168.    “Rights Offering Participants” means (a) holders of FLLO Term Loan Facility Claims and Second
Lien Notes Claims as of the Rights Offering Record Date and (b) the Backstop Parties.

          169.     “Rights Offering Procedures” means the procedures governing the Rights Offering attached as an
exhibit to the Disclosure Statement Order.

         170.      “Rights Offering Record Date” means the record date set by the Rights Offering Procedures, as of
which date an Entity must be a record holder of FLLO Term Loan Facility Claims or Second Lien Notes Claims in
order to be eligible to be a Rights Offering Participant.

         171.      “Royalty and Working Interests” means the working interests involving the right to exploit oil, gas,
and other minerals, as well as royalty and certain other mineral interests, including, but not limited to, landowner’s
royalty interests, overriding royalty interests, net profit interests, non-participating royalty interests, and unleased
mineral interests.

          172.    “Royalty and Working Interests Administrative Claims” means any postpetition, pre-Effective Date
rights to payment arising on account of Royalty and Working Interests.

         173.     “Schedule of Retained Causes of Action” means the schedule of certain Causes of Action of the
Debtors that are not released, waived, or transferred pursuant to the Plan, as the same may be amended, modified, or
supplemented from time to time.

        174.       “Schedules” means the schedules of assets and liabilities, schedules of Executory Contracts or
Unexpired Leases, and statement of financial affairs Filed by the Debtors pursuant to section 521 of the Bankruptcy
Code, the official bankruptcy forms, and the Bankruptcy Rules.

         175.     “SEC” means the United States Securities and Exchange Commission.

                                                          14
   Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 598 of 1639
                                                                         0598


         176.     “Second Lien Noteholders” means holders of notes issued under the Second Lien Notes Indenture.

        177.     “Second Lien Notes” means the 11.500% senior notes due 2025 issued by Chesapeake pursuant to
the Second Lien Notes Indenture.

         178.     “Second Lien Notes Claim” means any Claim on account of the Second Lien Notes.

       179.     “Second Lien Notes Indenture” means that certain indenture dated as of December 19, 2019, by and
among Chesapeake, as issuer, certain Debtors guarantors party thereto, and the Second Lien Notes Trustee, as may be
amended, supplemented, or otherwise modified from time to time.

         180.      “Second Lien Notes Trustee” means Deutsche Bank Trust Company Americas, in its capacity as
trustee and collateral trustee for the Second Lien Notes Indenture.

         181.     “Second Lien Professionals” means the Second Lien Collateral Trustee’s professionals (including
Morgan, Lewis & Bockius LLP, one local counsel in the relevant jurisdiction, and one financial advisor) and
Franklin’s professionals (including Akin Gump Strauss Hauer & Feld LLP, Moelis & Company LLC, one local
counsel in each other relevant local jurisdiction, and FTI Consulting, Inc.).

         182.     “Second Lien Rights” means the non-certificated rights that will enable the holders thereof to
purchase shares of New Common Stock at an aggregate purchase price of $67.5 million at a price per share to be
determined based on a 35 percent discount to the equity value per share of New Common Stock, post new-money, as
implied by a Plan total enterprise value of $3.25 billion.

         183.     “Section 510(b) Claim” means any Claim or Interest against a Debtor subject to subordination under
section 510(b) of the Bankruptcy Code, whether by operation of law or contract.

         184.      “Secured” means, when referring to a Claim: (a) secured by a Lien on collateral to the extent of the
value of such collateral, as determined in accordance with section 506(a) of the Bankruptcy Code or (b) subject to a
valid right of setoff pursuant to section 553 of the Bankruptcy Code.

         185.      “Securities Act” means the Securities Act of 1933, as amended, 15 U.S.C. §§ 77a–77aa, or any
similar federal, state, or local law, as now in effect or hereafter amended, and the rules and regulations promulgated
thereunder.

         186.     “Security” means any security, as defined in section 2(a)(1) of the Securities Act.

          187.     “Solicitation Materials” means the Disclosure Statement and related documentation to be
distributed to holders of Claims entitled to vote on the Plan.

       188.     “Superpriority Hedge Claims” means superpriority claims in respect of the Debtors’ Superpriority
Hedge Obligations.

         189.      “Superpriority Hedge Obligations” means all hedging obligations with respect to commodity hedge
transactions that are secured under the DIP Facility.

         190.     “Total Leverage” means the ratio of (a) consolidated indebtedness net of unrestricted Cash and Cash
equivalents held in a pledged account in an amount not to exceed $100 million to (b) consolidated EBITDAX
calculated in accordance with the terms set forth in the Exit Facilities Term Sheet.

        191.      “Total Leverage Condition” means the Condition Precedent to the Effective Date that provides that
the Debtors shall have Total Leverage no greater than 2.25:1.00.




                                                          15
   Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 599 of 1639
                                                                         0599


         192.     “Tranche A RBL Exit Facility Loans” means fully revolving loans made under and on the terms set
forth under the Exit RBL Facility which will be partially funded on the Effective Date, will have a scheduled maturity
of 3 years from the Effective Date, and shall at all times be repaid prior to the repayment of Tranche B Exit RBL
Facility Loans.

         193.     “Tranche B RBL Exit Facility Loans” means term loans made under and on the terms set forth under
the Exit RBL Facility which will be fully funded on the Effective Date, will have a scheduled maturity of 4 years from
the Effective Date, will be repaid or prepaid only after there are no Tranche A RBL Exit Facility Loans outstanding,
and once so prepaid or repaid, may not be reborrowed.

        194.    “Trustee” means any indenture trustee, collateral trustee, or other trustee or similar entity under the
Second Lien Notes or the Unsecured Notes.

         195.     “Turnover Provisions” has the meaning set forth in Article IV.A of the Plan.

        196.      “Unexpired Lease” means a lease to which one or more of the Debtors is a party that is subject to
assumption or rejection under section 365 of the Bankruptcy Code.

          197.    “Unimpaired” means with respect to a Class of Claims or Interests, a Class of Claims or Interests
that is unimpaired within the meaning of section 1124 of the Bankruptcy Code.

         198.  “United States Trustee” means the United States Trustee for the jurisdiction in which the Chapter 11
Cases are commenced.

         199.     “Unsecured Claims Recovery” means 12% of the New Common Stock (subject to dilution on
account of the Management Incentive Plan, the Rights Offering, the Put Option Premium, and the New Warrants) and
50 percent of the New Class C Warrants.

         200.     “Unsecured Noteholders” means holders of notes issued under the Unsecured Notes Indentures.

         201.     “Unsecured Notes” means the 6.625% senior notes due 2020, the 6.875% senior notes due 2020,
the 6.125% senior notes due 2021, the 5.375% senior notes due 2021, the 4.875% senior notes due 2022, the 5.750%
senior notes due 2023, the 7.000% senior notes due 2024, the 8.000% senior notes due 2025, the 8.000% senior notes
due 2026, the 7.500% senior notes due 2026, the 8.000% senior notes due 2027, the 5.500% convertible senior notes
due 2026, and the 6.875% senior notes due 2025, all issued by certain Debtors pursuant to the Unsecured
Notes Indentures.

         202.     “Unsecured Notes Claim” means any Claim on account of the Unsecured Notes.

         203.     “Unsecured Notes Indentures” means those certain indentures dated as of the following dates:
August 2, 2010 (6.625% senior notes due 2020); November 8, 2005 (6.875% senior notes due 2020);
February 11, 2011 (6.125% senior notes due 2021); April 1, 2013 (5.375% senior notes due 2021); April 24, 2014
(4.875% senior notes due 2022); April 1, 2013 (5.750% senior notes due 2023); September 27, 2018 (7.000% senior
notes due 2024); December 20, 2016 (8.000% senior notes due 2025); April 3, 2019 (8.000% senior notes due 2026);
September 27, 2018 (7.500% senior notes due 2026); June 6, 2017 (8.000% senior notes due 2027); October 5, 2016
(5.500% convertible senior notes due 2026); and February 1, 2017 (6.875% senior notes due 2025), each by and among
certain of the Debtors and the Unsecured Notes Trustees, as may be amended, supplemented, or otherwise modified
from time to time.




                                                          16
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 600 of 1639
                                                                           0600


         204.    “Unsecured Notes Trustees” means the following entities, each in its capacity as trustee for the
Unsecured Notes Indentures: The Bank of New York Trust Company, N.A. (6.625% senior notes due 2020);
The Bank of New York Trust Company, N.A. (6.875% senior notes due 2020); The Bank of New York Trust
Company, N.A. (6.125% senior notes due 2021); Wilmington Savings Fund Society, FSB (5.375% senior notes
due 2021); Wilmington Savings Fund Society, FSB (4.875% senior notes due 2022); Wilmington Savings Fund
Society, FSB (5.750% senior notes due 2023); Wilmington Savings Fund Society, FSB (7.000% senior notes
due 2024); Wilmington Savings Fund Society, FSB (8.000% senior notes due 2025); Wilmington Savings Fund
Society, FSB (8.000% senior notes due 2026); Wilmington Savings Fund Society, FSB (7.500% senior notes
due 2026); Wilmington Savings Fund Society, FSB (8.000% senior notes due 2027); Wilmington Savings Fund
Society, FSB (5.500% convertible senior notes due 2026); and U.S. Bank National Association (6.875% senior notes
due 2025).

B.       Rules of Interpretation.

          For purposes of this Plan: (1) in the appropriate context, each term, whether stated in the singular or the
plural, shall include both the singular and the plural, and pronouns stated in the masculine, feminine, or neuter gender
shall include the masculine, feminine, and the neuter gender; (2) unless otherwise specified, any reference herein to a
contract, lease, instrument, release, indenture, or other agreement or document being in a particular form or on
particular terms and conditions means that the referenced document shall be substantially in that form or substantially
on those terms and conditions; (3) unless otherwise specified, any reference herein to an existing document, schedule,
or exhibit, whether or not Filed, having been Filed or to be Filed shall mean that document, schedule, or exhibit, as it
may thereafter be amended, modified, or supplemented in accordance with the Plan or Confirmation Order, as
applicable; (4) any reference to an Entity as a holder of a Claim or Interest includes that Entity’s successors and
assigns; (5) unless otherwise specified, all references herein to “Articles” are references to Articles hereof or hereto;
(6) unless otherwise specified, all references herein to exhibits are references to exhibits in the Plan Supplement;
(7) unless otherwise specified, the words “herein,” “hereof,” and “hereto” refer to the Plan in its entirety rather than
to a particular portion of the Plan; (8) subject to the provisions of any contract, certificate of incorporation, by-law,
instrument, release, or other agreement or document entered into in connection with the Plan, the rights and obligations
arising pursuant to the Plan shall be governed by, and construed and enforced in accordance with the applicable federal
law, including the Bankruptcy Code and Bankruptcy Rules; (9) captions and headings to Articles are inserted for
convenience of reference only and are not intended to be a part of or to affect the interpretation of the Plan; (10) unless
otherwise specified herein, the rules of construction set forth in section 102 of the Bankruptcy Code shall apply;
(11) any term used in capitalized form herein that is not otherwise defined but that is used in the Bankruptcy Code or
the Bankruptcy Rules shall have the meaning assigned to that term in the Bankruptcy Code or the Bankruptcy Rules,
as the case may be; (12) all references to docket numbers of documents Filed in the Chapter 11 Cases are references
to the docket numbers under the Bankruptcy Court’s CM/ECF system; (13) all references to statutes, regulations,
orders, rules of courts, and the like shall mean as amended from time to time, and as applicable to the Chapter 11 Cases,
unless otherwise stated; (14) the words “include” and “including,” and variations thereof, shall not be deemed to be
terms of limitation, and shall be deemed to be followed by the words “without limitation”; (15) references to “Proofs
of Claim,” “holders of Claims,” “Disputed Claims,” and the like shall include “Proofs of Interest,” “holders of
Interests,” “Disputed Interests,” and the like, as applicable; (16) any immaterial effectuating provisions may be
interpreted by the Reorganized Debtors in such a manner that is consistent with the overall purpose and intent of the
Plan all without further notice to or action, order, or approval of the Bankruptcy Court or any other Entity; and (17) all
references herein to consent, acceptance, or approval may be conveyed by counsel for the respective parties that have
such consent, acceptance, or approval rights, including by electronic mail; provided that nothing in this clause (2) or
clause (3) shall affect any parties’ consent rights over any of the Definitive Documents or any amendments thereto,
as provided for in the Restructuring Support Agreement.

C.       Computation of Time.

          Unless otherwise specifically stated herein, the provisions of Bankruptcy Rule 9006(a) shall apply in
computing any period of time prescribed or allowed herein. If the date on which a transaction may occur pursuant to
the Plan shall occur on a day that is not a Business Day, then such transaction shall instead occur on the next succeeding
Business Day. Any action to be taken on the Effective Date may be taken on or as soon as reasonably practicable
after the Effective Date.


                                                            17
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 601 of 1639
                                                                           0601


D.       Governing Law.

         Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy Code and Bankruptcy
Rules) or unless otherwise specifically stated, the laws of the State of New York, without giving effect to the principles
of conflict of laws (other than section 5-1401 and section 5-1402 of the New York General Obligations Law), shall
govern the rights, obligations, construction, and implementation of the Plan, any agreements, documents, instruments,
or contracts executed or entered into in connection with the Plan (except as otherwise set forth in those agreements,
in which case the governing law of such agreement shall control), and corporate governance matters; provided that
corporate governance matters relating to the Debtors or the Reorganized Debtors, as applicable, not incorporated in
New York shall be governed by the laws of the state of incorporation or formation of the relevant Debtor or the
Reorganized Debtors, as applicable.

E.       Reference to Monetary Figures.

        All references in the Plan to monetary figures shall refer to currency of the United States of America, unless
otherwise expressly provided herein.

F.       Reference to the Debtors or the Reorganized Debtors.

         Except as otherwise specifically provided in the Plan to the contrary, references in the Plan to the Debtors or
the Reorganized Debtors shall mean the Debtors and the Reorganized Debtors, as applicable, to the extent the
context requires.

G.       Controlling Document.

          In the event of an inconsistency between the Plan and the Disclosure Statement, the terms of the Plan shall
control in all respects. In the event of an inconsistency between the Plan and the Plan Supplement, the terms of the
relevant provision in the Plan Supplement shall control (unless stated otherwise in such Plan Supplement document
or in the Confirmation Order). In the event of an inconsistency between the Confirmation Order and the Plan or Plan
Supplement, the Confirmation Order shall control.

H.       Consultation, Information, Notice, and Consent Rights.

         Notwithstanding anything herein to the contrary, any and all consultation, information, notice, and consent
rights of the parties to the Restructuring Support Agreement, as set forth in the Restructuring Support Agreement
(including the exhibits thereto), with respect to the form and substance of this Plan, all exhibits to the Plan, the Plan
Supplement, and all other Definitive Documents, including any amendments, restatements, supplements, or other
modifications to such agreements and documents, and any consents, waivers, or other deviations under or from any
such documents, shall be incorporated herein by this reference (including to the applicable definitions in Article I.A
hereof) and fully enforceable as if stated in full herein.

       Failure to reference the rights referred to in the immediately preceding paragraph as such rights relate to any
document referenced in the Restructuring Support Agreement shall not impair such rights and obligations.

          Further, any and all consultation, information, notice, and consent rights of the DIP Agent, DIP Lenders,
Revolving Credit Facility Administrative Agent, Revolving Credit Facility Lenders, Exit Facilities Agent, and Exit
Facilities Lenders as set forth in the DIP Documents, DIP Order, and Exit Facilities Documents, as applicable, relating
to the form and substance of this Plan, all exhibits to the Plan, the Plan Supplement, all other Definitive Documents,
and any consents, waivers, or other rights under or from any such documents, shall be incorporated herein by this
reference and fully enforceable as if stated in full herein. Failure to reference such rights in specific provisions of this
Plan shall not impair such rights and obligations.




                                                            18
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 602 of 1639
                                                                           0602


                                        ARTICLE II.
                   ADMINISTRATIVE CLAIMS, DIP CLAIMS, AND PRIORITY CLAIMS

          In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims, Professional Claims,
DIP Claims, and Priority Tax Claims have not been classified and, thus, are excluded from the Classes of Claims and
Interests set forth in Article III hereof.

A.       Administrative Claims.

         1.   General Administrative Claims.

         Unless otherwise agreed to by the holder of an Allowed Administrative Claim and the Debtors (with the
consent of the Required Consenting Stakeholders) or the Reorganized Debtors, as applicable, or otherwise provided
for under the Plan, each holder of an Allowed Administrative Claim (other than holders of Professional Claims, DIP
Claims, and Claims for fees and expenses pursuant to section 1930 of chapter 123 of title 28 of the United States
Code) will receive in full and final satisfaction of its Administrative Claim treatment consistent with section 1129(a)(2)
of the Bankruptcy Code in accordance with the following: (1) if an Administrative Claim is Allowed on or prior to
the Effective Date, on the Effective Date or as soon as reasonably practicable thereafter (or, if not then due, when such
Allowed Administrative Claim is due or as soon as reasonably practicable thereafter); (2) if such Administrative Claim
is not Allowed as of the Effective Date, no later than thirty (30) days after the date on which an order allowing such
Administrative Claim becomes a Final Order, or as soon as reasonably practicable thereafter; (3) if such Allowed
Administrative Claim is based on liabilities incurred by the Debtors in the ordinary course of their business after the
Petition Date in accordance with the terms and conditions of the particular transaction giving rise to such Allowed
Administrative Claim without any further action by the holders of such Allowed Administrative Claim; (4) at such
time and upon such terms as may be agreed upon by such holder and the Debtors or the Reorganized Debtors, as
applicable; or (5) at such time and upon such terms as set forth in an order of the Bankruptcy Court.

          Except as otherwise provided in this Article II.A of the Plan, and except with respect to Administrative
Claims that are Professional Claims or DIP Claims, requests for payment of Administrative Claims must be Filed with
the Bankruptcy Court and served on the Debtors pursuant to the procedures specified in the Confirmation Order and
the notice of entry of the Confirmation Order no later than the applicable Administrative Claims Bar Date. Holders
of Administrative Claims that are required to, but do not, File and serve a request for payment of such Administrative
Claims by such date shall be forever barred, estopped, and enjoined from asserting such Administrative Claims against
the Debtors or their property, and such Administrative Claims shall be deemed discharged as of the Effective Date.
Objections to such requests, if any, must be Filed with the Bankruptcy Court and served on the requesting party no
later than 60 days after the applicable Administrative Claims Bar Date. Notwithstanding the foregoing, no request for
payment of an Administrative Claim need be Filed with the Bankruptcy Court with respect to an Administrative Claim
previously Allowed.

          The Debtors shall indefeasibly pay in Cash all Existing RBL Adequate Protection Payments that have accrued
and are unpaid as of the Effective Date pursuant to the terms of the DIP Order, and none of the Revolving Credit
Facility Administrative Agent, the Revolving Credit Facility Lenders, or the Collateral Trustee shall be required to
File a request for payment of an Administrative Claim with the Bankruptcy Court on account of such Existing RBL
Adequate Protection Payments. The Debtors’ obligation to pay the Existing RBL Adequate Protection Payments, to
the extent not indefeasibly paid in full in Cash on the Effective Date, shall survive the Effective Date and shall not be
released or discharged pursuant to this Plan or the Confirmation Order until indefeasibly paid in full in Cash.

         2.   Professional Compensation.

                  (a)       Final Fee Applications and Payment of Professional Claims.

         All requests for payment of Professional Claims for services rendered and reimbursement of expenses
incurred prior to the Confirmation Date must be Filed no later than 45 days after the Effective Date. The Bankruptcy
Court shall determine the Allowed amounts of such Professional Claims after notice and a hearing in accordance with
the procedures established by the Bankruptcy Court. The Reorganized Debtors shall pay Professional Claims in Cash

                                                           19
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 603 of 1639
                                                                           0603


in the amount the Bankruptcy Court allows, including from the Professional Fee Escrow Account, which the
Reorganized Debtors will establish in trust for the Professionals and fund with Cash equal to the Professional Fee
Amount on the Effective Date.

                  (b)      Professional Fee Escrow Account.

         On the Effective Date, the Reorganized Debtors shall establish and fund the Professional Fee Escrow Account
with Cash equal to the Professional Fee Amount, which shall be funded by the Reorganized Debtors. The Professional
Fee Escrow Account shall be maintained in trust solely for the Professionals. Such funds shall not be considered
property of the Estates of the Debtors or the Reorganized Debtors. The amount of Allowed Professional Claims shall
be paid in Cash to the Professionals by the Reorganized Debtors from the Professional Fee Escrow Account as soon
as reasonably practicable after such Professional Claims are Allowed. When such Allowed Professional Claims have
been paid in full, any remaining amount in the Professional Fee Escrow Account shall promptly be paid to the
Reorganized Debtors without any further action or order of the Bankruptcy Court.

                  (c)      Professional Fee Amount.

         Professionals shall reasonably estimate their unpaid Professional Claims and other unpaid fees and expenses
incurred in rendering services to the Debtors before and as of the Effective Date, and shall deliver such estimate to the
Debtors no later than five days before the Effective Date; provided that such estimate shall not be deemed to limit the
amount of the fees and expenses that are the subject of each Professional’s final request for payment in the Chapter 11
Cases. If a Professional does not provide an estimate, the Debtors or Reorganized Debtors may estimate the unpaid
and unbilled fees and expenses of such Professional.

                  (d)      Post-Confirmation Fees and Expenses.

          Except as otherwise specifically provided in the Plan, from and after the Confirmation Date, the Debtors
shall, in the ordinary course of business and without any further notice to or action, order, or approval of the
Bankruptcy Court, pay in Cash the reasonable and documented legal, professional, or other fees and expenses related
to implementation of the Plan and Consummation incurred by the Debtors. Upon the Confirmation Date, any
requirement that Professionals comply with sections 327 through 331, 363, and 1103 of the Bankruptcy Code in
seeking retention or compensation for services rendered after such date shall terminate, and the Debtors may employ
and pay any Professional in the ordinary course of business without any further notice to or action, order, or approval
of the Bankruptcy Court.

B.       DIP Claims.

         For the avoidance of doubt, the DIP Claims are Allowed in full in accordance with the DIP Order. Except to
the extent that a holder of an Allowed DIP Claim agrees to less favorable treatment, on the Effective Date, each holder
of an Allowed DIP Claim shall receive, in full and final satisfaction, settlement, release, and discharge of, and in
exchange for such holder’s Allowed DIP Claims, payment in full in Cash from, at the Debtors’ option, (1) the proceeds
of the Exit Facilities available as of the Effective Date and consistent with the Exit Facilities Term Sheet; (2) the
proceeds of the Rights Offering; and (3) Cash on hand; provided that to the extent that such DIP Lender is also an Exit
Facility Lender, such DIP Lender’s Allowed DIP Claims will first be reduced dollar-for-dollar and satisfied by the
amount of its Exit Facilities Loans provided by such DIP Lender as of the Effective Date; provided further that
Allowed Superpriority Hedge Claims, if any, shall be converted to secured obligations under the Exit Facilities
Documents to the extent permitted under the terms of the documentation evidencing the Superpriority Hedge Claims.
For the avoidance of doubt, the Debtors shall indefeasibly pay in cash all DIP Agent Fees and Expenses and non-
contingent indemnity obligations owed to the DIP Agent or DIP Lenders that have accrued and are unpaid as of the
Effective Date pursuant to the terms of the DIP Order. The Debtors’ obligation to pay the DIP Agent Fees and
Expenses and non-contingent indemnity obligations owed to the DIP Agent or DIP Lenders, to the extent not
indefeasibly paid in full in Cash on the Effective Date, shall survive the Effective Date and shall not be released or
discharged pursuant to this Plan or the Confirmation Order until indefeasibly paid in full in Cash.




                                                           20
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 604 of 1639
                                                                           0604


          Upon the final and indefeasible payment or satisfaction of the Allowed DIP Claims in accordance with this
0, all Liens and security interests granted to secure the Allowed DIP Claims shall automatically be terminated and of
no further force and effect without any further notice to or action, order, or approval of the Bankruptcy Court or any
other Entity.

C.       Priority Tax Claims.

         Except to the extent that a holder of an Allowed Priority Tax Claim agrees to less favorable treatment, in full
and final satisfaction, settlement, release, and discharge of and in exchange for each Allowed Priority Tax Claim, each
holder of such Allowed Priority Tax Claim shall be treated in accordance with the terms set forth in
section 1129(a)(9)(C) of the Bankruptcy Code.

D.       Statutory Fees.

         All monthly reports shall be filed in a form reasonably acceptable to the U.S. Trustee, and all fees due and
payable pursuant to section 1930 of Title 28 of the United States Code before the Effective Date with respect to the
Debtors shall be paid by the Debtors. On and after the Effective Date, the Reorganized Debtors shall pay any and all
such fees when due and payable, and shall File with the Bankruptcy Court quarterly reports in a form reasonably
acceptable to the United States Trustee. Each Debtor shall remain obligated to pay quarterly fees to the United States
Trustee until the earliest of that particular Debtor’s case being closed, dismissed, or converted to a case under
Chapter 7 of the Bankruptcy Code.

                                        ARTICLE III.
                   CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

A.       Classification of Claims and Interests.

          This Plan constitutes a separate Plan proposed by each Debtor. Except for the Claims addressed in Article II
hereof, all Claims and Interests are classified in the Classes set forth below in accordance with sections 1122
and 1123(a)(1) of the Bankruptcy Code. A Claim or an Interest, or any portion thereof, is classified in a particular
Class only to the extent that any portion of such Claim or Interest fits within the description of that Class and is
classified in other Classes to the extent that any portion of the Claim or Interest fits within the description of such
other Classes. A Claim or an Interest also is classified in a particular Class for the purpose of receiving distributions
under the Plan only to the extent that such Claim or Interest is an Allowed Claim or Interest in that Class and has not
been paid, released, or otherwise satisfied prior to the Effective Date.

         The classification of Claims and Interests against the Debtors pursuant to the Plan is as follows:

                Class           Claims and Interests               Status           Voting Rights
                                                                                Not Entitled to Vote
              Class 1      Other Secured Claims                 Unimpaired
                                                                                (Deemed to Accept)
                                                                                Not Entitled to Vote
              Class 2      Other Priority Claims                Unimpaired
                                                                                (Deemed to Accept)
                           Revolving Credit Facility
              Class 3                                           Impaired        Entitled to Vote
                           Claims
                           FLLO Term Loan Facility
              Class 4                                           Impaired        Entitled to Vote
                           Claims
              Class 5      Second Lien Notes Claims             Impaired        Entitled to Vote

              Class 6      Unsecured Notes Claims               Impaired        Entitled to Vote

              Class 7      General Unsecured Claims             Impaired        Entitled to Vote




                                                           21
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 605 of 1639
                                                                           0605



                Class              Claims and Interests             Status          Voting Rights
                                                                                Not Entitled to Vote
                                                                 Unimpaired /
              Class 8      Intercompany Claims                                  (Deemed to Accept /
                                                                 Impaired
                                                                                Deemed to Reject)
                                                                                Not Entitled to Vote
                                                                 Unimpaired /
              Class 9      Intercompany Interests                               (Deemed to Accept /
                                                                 Impaired
                                                                                Deemed to Reject)
                                                                                Not Entitled to Vote
              Class 10     Existing Equity Interests             Impaired
                                                                                (Deemed to Reject)

B.       Treatment of Claims and Interests.

         Each holder of an Allowed Claim or Allowed Interest, as applicable, shall receive under the Plan the treatment
described below in full and final satisfaction, settlement, release, and discharge of and in exchange for such holder’s
Allowed Claim or Allowed Interest, except to the extent less favorable treatment is agreed to by the Reorganized
Debtors and the holder of such Allowed Claim or Allowed Interest, as applicable. Unless otherwise indicated, the
holder of an Allowed Claim or Allowed Interest, as applicable, shall receive such treatment on the Effective Date or
as soon as reasonably practicable thereafter.

         1.   Class 1 – Other Secured Claims.

                  (a)      Classification: Class 1 consists of all Other Secured Claims.

                  (b)      Treatment: On the Effective Date, each holder of an Allowed Other Secured Claim shall
                           receive, at the Debtors’ option and in consultation with the Required
                           Consenting Stakeholders:

                           (i)         payment in full in Cash;

                           (ii)        the collateral securing its Allowed Other Secured Claim;

                           (iii)       Reinstatement of its Allowed Other Secured Claim; or

                           (iv)        such other treatment that renders its Allowed Other Secured Claim Unimpaired in
                                       accordance with section 1124 of the Bankruptcy Code.

                  (c)      Voting: Class 1 is Unimpaired under the Plan. Holders of Other Secured Claims are
                           conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
                           Bankruptcy Code. Therefore, such holders are not entitled to vote to accept or reject
                           the Plan.

         2.   Class 2 – Other Priority Claims.

                  (a)      Classification: Class 2 consists of all Other Priority Claims.

                  (b)      Treatment: Each holder of an Allowed Other Priority Claim shall receive treatment in a
                           manner consistent with section 1129(a)(9) of the Bankruptcy Code.

                  (c)      Voting: Class 2 is Unimpaired under the Plan. Holders of Other Priority Claims are
                           conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
                           Bankruptcy Code. Therefore, such holders are not entitled to vote to accept or reject
                           the Plan.




                                                            22
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 606 of 1639
                                                                      0606


   3.   Class 3 – Revolving Credit Facility Claims.

            (a)      Classification: Class 3 consists of all Revolving Credit Facility Claims.

            (b)      Treatment: On the Effective Date, the Revolving Credit Facility Claims shall be Allowed
                     and deemed to be Allowed Claims in the full amount outstanding under the Revolving
                     Credit Facility, including all principal, any accrued and unpaid interest at the non-default
                     rate, and all accrued and unpaid fees, expenses, and non-contingent indemnity payable
                     under the Revolving Credit Facility. On the Effective Date, except to the extent the holder
                     of an Allowed Revolving Credit Facility Claim agrees to less favorable treatment, each
                     holder of an Allowed Revolving Credit Facility Claim shall receive, in accordance with
                     such holder’s prior determined allocation, either (i) Tranche A RBL Exit Facility Loans or
                     (ii) Tranche B RBL Exit Facility Loans, on a dollar-for-dollar basis; provided that any
                     Claims on account of accrued but unpaid Existing RBL Adequate Protection Payments
                     shall be paid in full as Cash as set forth in Section II.A.1 of the Plan.

            (c)      Voting: Class 3 is Impaired under the Plan. Holders of Revolving Credit Facility Claims
                     are entitled to vote to accept or reject the Plan.

   4.   Class 4 – FLLO Term Loan Facility Claims.

            (a)      Classification: Class 4 consists of all FLLO Term Loan Facility Claims.

            (b)      Treatment: On the Effective Date, the FLLO Term Loan Facility Claims shall be Allowed
                     and deemed to be Allowed Claims in the full amount outstanding under the FLLO Term
                     Loan Facility, including all principal, accrued and unpaid interest at the applicable default
                     rate, the make whole amount, and all accrued and unpaid fees, expenses, and non-
                     contingent indemnity payable under the FLLO Term Loan Facility. On the Effective Date,
                     each holder of an Allowed FLLO Term Loan Facility Claim shall receive its Pro Rata share
                     of (i) 76 percent of the New Common Stock (subject to dilution on account of the
                     Management Incentive Plan, the Rights Offering, the Put Option Premium, and the New
                     Warrants) and (ii) the FLLO Rights.

            (c)      Voting: Class 4 is Impaired under the Plan. Holders of FLLO Term Loan Facility Claims
                     are entitled to vote to accept or reject the Plan.

   5.   Class 5 – Second Lien Notes Claims.

            (a)      Classification: Class 5 consists of all Second Lien Notes Claims.

            (b)      Treatment: On the Effective Date, the Second Lien Notes Claims shall be Allowed and
                     deemed to be Allowed Claims in the full amount outstanding under the Second Lien Notes
                     Indenture, including the aggregate outstanding principal amount of Second Lien Notes, any
                     premium (including the Make-Whole Premium (as defined in the Second Lien Notes
                     Indenture)), and accrued and unpaid interest. Each holder of an Allowed Second Lien
                     Notes Claim shall receive its Pro Rata share of (i) 12 percent of the New Common Stock
                     (subject to dilution on account of the Management Incentive Plan, the Rights Offering, the
                     Put Option Premium, and the New Warrants), (ii) the Second Lien Rights, (iii) the New
                     Class A Warrants, (iv) the New Class B Warrants, and (v) 50 percent of the New
                     Class C Warrants.

            (c)      Voting: Class 5 is Impaired under the Plan. Holders of Second Lien Notes Claims are
                     entitled to vote to accept or reject the Plan.




                                                      23
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 607 of 1639
                                                                      0607


   6.   Class 6 – Unsecured Notes Claims.

            (a)     Classification: Class 6 consists of all Unsecured Notes Claims.

            (b)     Treatment: On the Effective Date, the Unsecured Notes Claims shall be deemed Allowed
                    in full, and each holder of an Allowed Unsecured Notes Claim shall receive its Pro Rata
                    share of the Unsecured Claims Recovery.

            (c)     Voting: Class 6 is Impaired under the Plan. Holders of Unsecured Notes Claims are
                    entitled to vote to accept or reject the Plan.

   7.   Class 7 – General Unsecured Claims.

            (a)     Classification: Class 7 consists of all General Unsecured Claims.

            (b)     Treatment: On the Effective Date, each holder of an Allowed General Unsecured Claim
                    shall receive its Pro Rata share of the Unsecured Claims Recovery; provided that to the
                    extent such Allowed General Unsecured Claim is a Convenience Claim, such Holder shall
                    receive the Convenience Claim Distribution.

            (c)     Voting: Class 7 is Impaired under the Plan. Holders of General Unsecured Claims are
                    entitled to vote to accept or reject the Plan.

   8.   Class 8 – Intercompany Claims.

            (a)     Classification: Class 11 consists of all Intercompany Claims.

            (b)     Treatment: On the Effective Date, unless otherwise provided for under the Restructuring
                    Transactions Memorandum, each Allowed Intercompany Claim shall have its Claim:

                    (i)      Reinstated; or

                    (ii)     distributed, contributed, set off, settled, canceled and released, or otherwise
                             addressed at the option of the Debtors with the consent of the Required
                             Consenting Stakeholders; provided that no distribution shall be made on account
                             of any such Intercompany Claims.

            (c)     Voting: Class 8 is conclusively deemed to have accepted the Plan pursuant to
                    section 1126(f) of the Bankruptcy Code or rejected the Plan pursuant to section 1126(g) of
                    the Bankruptcy Code. Class 8 is not entitled to vote to accept or reject the Plan.




                                                  24
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 608 of 1639
                                                                           0608


         9.   Class 9 – Intercompany Interests.

                  (a)      Classification: Class 9 consists of all Intercompany Interests.

                  (b)      Treatment: On the Effective Date, each holder of Intercompany Interests shall have
                           such Interest:

                           (i)      Reinstated; or

                           (ii)     canceled, released, and extinguished without any distribution at the Debtors’
                                    election with the consent of the Required Consenting Stakeholders.

                  (c)      Voting: Class 9 is conclusively deemed to have accepted the Plan pursuant to
                           section 1126(f) of the Bankruptcy Code or rejected the Plan pursuant to section 1126(g) of
                           the Bankruptcy Code. Class 9 is not entitled to vote to accept or reject the Plan.

         10. Class 10 – Existing Equity Interests.

                  (a)      Classification: Class 10 consists of all Existing Equity Interests.

                  (b)      Treatment: On the Effective Date, each holder of Existing Equity Interests shall have such
                           Interest cancelled, released, and extinguished without any distribution.

                  (c)      Voting: Class 10 is conclusively deemed to have rejected the Plan pursuant to
                           section 1126(g) of the Bankruptcy Code. Class 14 is not entitled to vote to accept or reject
                           the Plan.

C.       Special Provision Governing Unimpaired Claims.

          Except as otherwise provided in the Plan, nothing under the Plan shall affect the Debtors’ or the Reorganized
Debtors’ rights regarding any Unimpaired Claim, including, all rights regarding legal and equitable defenses to or
setoffs or recoupments against any such Unimpaired Claim.

D.       Elimination of Vacant Classes.

        Any Class of Claims or Interests that does not have a holder of an Allowed Claim or Allowed Interest or a
Claim or Interest temporarily Allowed by the Bankruptcy Court as of the date of the Confirmation Hearing shall be
deemed eliminated from the Plan for purposes of voting to accept or reject the Plan and for purposes of determining
acceptance or rejection of the Plan by such Class pursuant to section 1129(a)(8) of the Bankruptcy Code.

E.       Voting Classes, Presumed Acceptance by Non-Voting Classes.

         If a Class contains Claims or Interests eligible to vote and no holders of Claims or Interests eligible to vote
in such Class vote to accept or reject the Plan, the holders of such Claims or Interests in such Class shall be deemed
to have accepted the Plan.

F.       Intercompany Interests.

         To the extent Reinstated under the Plan, distributions on account of Intercompany Interests are not being
received by holders of such Intercompany Interests on account of their Intercompany Interests but for the purposes of
administrative convenience and due to the importance of maintaining the prepetition corporate structure for the
ultimate benefit of the holders of New Common Stock, and in exchange for the Debtors’ and Reorganized Debtors’
agreement under the Plan to make certain distributions to the holders of Allowed Claims.



                                                          25
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 609 of 1639
                                                                           0609


G.       Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy Code.

         Section 1129(a)(10) of the Bankruptcy Code shall be satisfied for purposes of Confirmation by acceptance
of the Plan by one or more of the Classes entitled to vote pursuant to Article III.B of the Plan. The Debtors reserve
the right, subject to the prior consent of the Required Consenting Stakeholders, which shall not be unreasonably
withheld, to modify the Plan in accordance with Article X hereof to the extent, if any, that Confirmation pursuant to
section 1129(b) of the Bankruptcy Code requires modification, including by modifying the treatment applicable to a
Class of Claims or Interests to render such Class of Claims or Interests Unimpaired to the extent permitted by the
Bankruptcy Code and the Bankruptcy Rules.

H.       Controversy Concerning Impairment.

        If a controversy arises as to whether any Claims or Interests, or any Class of Claims or Interests, are Impaired,
the Bankruptcy Court shall, after notice and a hearing, determine such controversy on or before the Confirmation Date.

I.       Subordinated Claims and Interests.

          The allowance, classification, and treatment of all Allowed Claims and Allowed Interests and the respective
distributions and treatments under the Plan take into account and conform to the relative priority and rights of the
Claims and Interests in each Class in connection with any contractual, legal, and equitable subordination rights relating
thereto, whether arising under general principles of equitable subordination, section 510(b) of the Bankruptcy Code,
or otherwise. Any such contractual, legal, or equitable subordination rights shall be settled, compromised, and released
pursuant to the Plan.

                                            ARTICLE IV.
                               MEANS FOR IMPLEMENTATION OF THE PLAN

A.       General Settlement of Claims and Interests.

          As discussed in detail in the Disclosure Statement and as otherwise provided herein, pursuant to section 1123
of the Bankruptcy Code and Bankruptcy Rule 9019, and in consideration for the classification, distributions, releases,
and other benefits provided under the Plan, upon the Effective Date, the provisions of the Plan shall constitute a good
faith compromise and settlement of all Claims and Interests and controversies resolved pursuant to the Plan, including
(1) any challenge to the amount, validity, perfection, enforceability, priority or extent of the DIP Claims, Revolving
Credit Facility Claims, FLLO Term Loan Facility Claims, Second Lien Notes Claims, and Unsecured Notes Claims
and (2) any claim to avoid, subordinate, or disallow any DIP Claims, Revolving Credit Facility Claims, FLLO Term
Loan Facility Claims, Second Lien Notes Claims, and Unsecured Notes Claims, whether under any provision of
chapter 5 of the Bankruptcy Code, on any equitable theory (including equitable subordination, equitable disallowance,
or unjust enrichment) or otherwise, including, without limitation, any claim of subordination or turnover of any
payments arising under any provision of the Intercreditor Agreement, including, but not limited to, any turnover
provisions in sections 3.05, 4.02(l), 6.01 and 7.03 thereof, or the Collateral Trust Agreement, including sections 5.05,
6.02(o), 8.01, and 9.03 thereof (the “Turnover Provisions”). In consideration for the classification, distributions,
releases, and other benefits provided under the Plan, upon the Effective Date, the FLLO Term Loan Facility Lenders
and Revolving Credit Facility Lenders shall conclusively, absolutely, irrevocably and forever waive any rights they
have to seek subordination or turnover of any payments arising under any provision of the Intercreditor Agreement,
including, but not limited to, the Turnover Provisions. The Plan shall be deemed a motion to approve the good faith
compromise and settlement of all such Claims, Interests, and controversies pursuant to Bankruptcy Rule 9019, and
the entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval of such compromise and
settlement under section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, as well as a finding by the
Bankruptcy Court that such settlement and compromise is fair, equitable, reasonable and in the best interests of the
Debtors and their Estates. Subject to Article VI hereof, all distributions made to holders of Allowed Claims and
Allowed Interests (as applicable) in any Class are intended to be and shall be final.




                                                           26
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 610 of 1639
                                                                           0610


B.       Restructuring Transactions.

           On or before the Effective Date, the applicable Debtors or the Reorganized Debtors shall enter into and shall
take any actions as may be necessary or appropriate to effect the Restructuring Transactions, including as set forth in
the Restructuring Transactions Memorandum. The Restructuring Transactions Memorandum shall be reasonably
acceptable to the Required Consenting Stakeholders. The actions to implement the Restructuring Transactions may
include: (1) the execution and delivery of appropriate agreements or other documents of merger, amalgamation,
consolidation, restructuring, conversion, disposition, transfer, arrangement, continuance, dissolution, sale, purchase,
or liquidation containing terms that are consistent with the terms of the Plan and that satisfy the applicable
requirements of applicable law and any other terms to which the applicable Entities may agree; (2) the execution and
delivery of appropriate instruments of transfer, assignment, assumption, or delegation of any asset, property, right,
liability, debt, or obligation on terms consistent with the terms of the Plan and having other terms for which the
applicable parties agree; (3) the filing of appropriate certificates or articles of incorporation, formation,
reincorporation, merger, consolidation, conversion, amalgamation, arrangement, continuance, or dissolution pursuant
to applicable state or provincial law; (4) the execution and delivery of the New Organizational Documents; (5) the
execution and delivery of the Exit Facilities Documents (including all actions to be taken, undertakings to be made,
and obligations to be incurred and fees to be paid by the Debtors or the Reorganized Debtors, as applicable), subject
to any post-closing execution and delivery periods provided for in the Exit Facilities Documents; (6) execution and
delivery of the Registration Rights Agreement; (7) pursuant to the Rights Offering Procedures and the Backstop
Commitment Agreement, the implementation of the Rights Offering, the distribution of the Rights to the Rights
Offering Participants as of the Rights Offering Record Date, and the issuance of New Common Stock in connection
therewith; (8) the issuance of the New Common Stock and the New Warrants as set forth in the Plan; and (9) all other
actions that the applicable Entities determine to be necessary, including making filings or recordings that may be
required by applicable law in connection with the Plan. The Confirmation Order shall, and shall be deemed to,
pursuant to sections 363 and 1123 of the Bankruptcy Code, authorize, among other things, all actions as may be
necessary or appropriate to effect any transaction described in, contemplated by, or necessary to effectuate the Plan.
On the Effective Date or as soon as reasonably practicable thereafter, the Reorganized Debtors, as applicable, shall
issue all Securities, notes, instruments, certificates, and other documents required to be issued pursuant to the
Restructuring Transactions.

C.       Midstream Savings Requirement.

         In the event that sufficient savings with respect to the Debtors’ midstream contracts (as determined by the
Required Plan Sponsors) are not achieved, unless the Debtors and the Required Consenting Stakeholders agree
otherwise (but subject to the reasonable written consent of the DIP Agent and the Required Consenting DIP Lenders),
certain of the Debtors’ assets will be separated from the Debtors’ remaining assets to the extent not inconsistent with
28 U.S.C. § 959(b). The Debtors’ restructuring will then be consummated with respect to the remaining assets, and
the separated assets will be wound down in a manner agreed to by the Debtors and the Required
Consenting Stakeholders.

D.       Reorganized Debtors.

          On the Effective Date, the New Board shall be established, and the Reorganized Debtors shall adopt their
applicable New Organizational Documents. The Reorganized Debtors shall be authorized to adopt any other
agreements, documents, and instruments and to take any other actions contemplated under the Plan as necessary to
consummate the Plan. Cash payments to be made pursuant to the Plan will be made by the Debtors or Reorganized
Debtors. The Debtors and Reorganized Debtors will be entitled to transfer funds between and among themselves as
they determine to be necessary or appropriate to enable the Debtors or Reorganized Debtors, as applicable, to satisfy
their obligations under the Plan. Except as set forth herein, any changes in intercompany account balances resulting
from such transfers will be accounted for and settled in accordance with the Debtors’ historical intercompany account
settlement practices and will not violate the terms of the Plan.

          From and after the Effective Date, the Reorganized Debtors, subject to any applicable limitations set forth in
any post-Effective Date agreement, shall have the right and authority without further order of the Bankruptcy Court
to raise additional capital and obtain additional financing, subject to the New Organizational Documents and the Exit
Facilities Documents, as the boards of directors of the applicable Reorganized Debtors deem appropriate.
                                                          27
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 611 of 1639
                                                                           0611


E.       Sources of Consideration for Plan Distributions.

         The Debtors and the Reorganized Debtors, as applicable, shall fund distributions under the Plan with:
(1) Cash on hand, including Cash from operations or asset dispositions; (2) Cash proceeds from the sale of New
Common Stock pursuant to the Rights Offering; (3) the New Common Stock; (4) the New Warrants; and (5) the
proceeds of the Exit Facilities, as applicable. Each distribution and issuance referred to in Article VI of the Plan shall
be governed by the terms and conditions set forth herein applicable to such distribution or issuance and by the terms
and conditions of the instruments or other documents evidencing or relating to such distribution or issuance, which
terms and conditions shall bind each Entity receiving such distribution or issuance. The issuance, distribution, or
authorization, as applicable, of certain Securities in connection with the Plan, including the New Common Stock and
the Rights will be exempt from SEC registration to the fullest extent permitted by law, as described more fully in
Article VI.D below.

         1.   Rights Offering.

         The Debtors shall distribute the Rights to the Rights Offering Participants on behalf of the Reorganized
Debtors as set forth in the Plan and the Rights Offering Procedures. Pursuant to the Backstop Commitment Agreement
and the Rights Offering Procedures, the Rights Offering shall be open to all Rights Offering Participants, and
(a) Rights Offering Participants that are holders of Allowed FLLO Term Loan Facility Claims shall be entitled to
participate in the Rights Offering up to a maximum amount of each holder’s Pro Rata share of the FLLO Rights;
(b) Rights Offering Participants that are holders of Allowed Second Lien Notes Claims shall be entitled to participate
in the Rights Offering up to a maximum amount of each holder’s Pro Rata share of the Second Lien Rights; and
(c) Rights Offering Participants that are Backstop Parties (or have certain rights and obligations of Backstop Parties
pursuant to agreement of the parties to the Backstop Commitment Agreement) shall be entitled to participate in the
Rights Offering up to a maximum amount of each holder’s Backstop Party Rights. Rights Offering Participants shall
have the right to purchase their allocated shares of New Common Stock at the per share price set forth in the Backstop
Commitment Agreement and the Rights Offering Procedures.

        Upon exercise of the Rights by the Rights Offering Participants pursuant to the terms of the Backstop
Commitment Agreement and the Rights Offering Procedures, Reorganized Chesapeake shall be authorized to issue
the New Common Stock issuable pursuant to such exercise.

          In exchange for the Put Option Premium and in accordance with the Backstop Commitment Agreement, the
Backstop Parties have committed to fully backstop, severally and not jointly, the Rights Offering Amount. Pursuant
to the Backstop Commitment Agreement and the allocations contained therein (subject to the transfer rights and
restrictions contained in the Backstop Commitment Agreement, the “Backstop Allocations”), the Backstop Parties
shall, severally and not jointly, backstop the Rights Offering Amount, purchase the New Common Stock not
subscribed for purchase by the Rights Offering Participants at the per share purchase price set forth in the Backstop
Commitment Agreement and exercise the Backstop Party Rights. The Put Option Premium shall be paid by
Chesapeake or Reorganized Chesapeake in accordance with the Backstop Commitment Agreement and Backstop
Commitment Agreement Approval Order. For the avoidance of doubt, if the Put Option Premium is payable in Cash
pursuant to the terms and conditions set forth in the Backstop Commitment Agreement and Backstop Commitment
Agreement Approval Order, the Put Option Premium shall be a superpriority administrative expense with priority in
payment over any and all administrative expenses of the kinds specified or ordered pursuant to any provision of the
Bankruptcy Code, including, but not limited to, sections 105, 326, 328, 330, 331, 503(b), 506(c), 507(a), 507(b), 726,
1113, and 1114 of the Bankruptcy Code, or otherwise and including those resulting from the conversion of any of the
Chapter 11 Cases pursuant to section 1112 of the Bankruptcy Code except it shall be unsecured and (i) be subordinated
in priority to (a) the DIP Claims and (b) any adequate protection granted on account of the Revolving Credit Facility
Claims (and any Claims to which such Claims in (a) or (b) are subordinate); and (ii) payable only after all such Claims
set forth in clause (i) have been paid in full in Cash or provided such other treatment as is agreed to by the requisite
parties, as set forth in section 3.1 of the Backstop Commitment Agreement.

         All shares of the New Common Stock, the New Warrants (and any shares of the New Common Stock issuable
upon the exercise thereof), the Rights (and any shares issuable upon the exercise thereof other than the unsubscribed
shares of New Common Stock issued to the Backstop Parties pursuant to the Backstop Commitment Agreement), and
the shares issuable as part of the Put Option Premium (collectively, the “1145 Securities”) will be issued in reliance
                                                           28
   Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 612 of 1639
                                                                         0612


upon section 1145 of the Bankruptcy Code to the extent permitted under applicable law. The unsubscribed shares of
New Common Stock issued to the Backstop Parties pursuant to the Backstop Commitment Agreement (collectively,
the “4(a)(2) Securities” and together with the 1145 Securities and any other Securities issued under the Plan, the
“Plan Securities”) will be issued in reliance upon section 4(a)(2) of the Securities Act or Regulation D promulgated
thereunder. Entry of the Confirmation Order shall constitute Bankruptcy Court approval of the Rights Offering
(including the transactions contemplated thereby, and all actions to be undertaken, undertakings to be made, and
obligations to be incurred by Reorganized Chesapeake in connection therewith). On the Effective Date, the rights and
obligations of the Debtors under the Backstop Commitment Agreement shall vest in the Reorganized Debtors,
as applicable.

        The proceeds of the Rights Offering shall be used by the Debtors or Reorganized Debtors, as applicable, to
fund payments under the Plan and for general corporate and strategic purposes as determined by management.

         2.   Rights and New Common Stock.

         Reorganized Chesapeake shall be authorized to issue the Rights and the New Common Stock to certain
holders of Claims pursuant to Article III.B. Such New Common Stock shall be issued to Rights Offering Participants
and/or Backstop Parties pursuant to the Rights Offering, the Backstop Commitment Agreement, and the New
Organizational Documents. Reorganized Chesapeake shall issue all securities, instruments, certificates, and other
documents required to be issued by it with respect to all such shares of New Common Stock. All such Rights and
shares of New Common Stock, and any other shares of New Common Stock issued pursuant to the Plan shall be duly
authorized, validly issued, fully paid, and non-assessable.

         Prior to the Effective Date, the Required Plan Sponsors shall determine whether Reorganized Chesapeake
shall use commercially reasonable efforts to (i) cause the New Common Stock to be listed on a National Securities
Exchange on the Effective Date or to (ii) cause the New Common Stock to be listed on an Alternative Securities
Exchange on the Effective Date or as soon as reasonably practicable thereafter, to engage a market maker for the New
Common Stock and to take other reasonable steps to establish that the New Common Stock is regularly traded on an
established securities market for purposes of section 897 under the Code and Treasury regulations promulgated and
proposed to be promulgated thereunder.

         3.   New Warrants.

          On the Effective Date, Reorganized Chesapeake will issue the New Warrants to certain holders of Claims
pursuant to Article III.B this Plan. Issuances of the New Warrants shall be governed by the terms and conditions set
forth in this Plan and the New Warrant Agreements applicable to such distribution or issuance and by the terms and
conditions of the instruments evidencing or relating each such issuance, which terms and conditions shall bind each
Entity receiving such distribution or issuance without the need for execution by any party thereto other than the
applicable Reorganized Debtor(s). The New Warrants issued pursuant to the Plan and the shares of New Common
Stock that may be issued upon exercise of the New Warrants shall be duly authorized, validly issued, fully paid,
and non-assessable, without the need for any further corporate action and without any further action by the Debtors
or Reorganized Debtors, as applicable.

         4.   Exit Facilities.

          On the Effective Date, the Reorganized Debtors shall enter into the Exit Facilities (the terms of which will
be set forth in the Exit Facilities Documents).

         To the extent applicable, Confirmation of the Plan shall be deemed (a) approval of the Exit Facilities
(including the transactions and related agreements contemplated thereby, and all actions to be taken, undertakings to
be made, and obligations to be incurred and fees and expenses to be paid by the Debtors or the Reorganized Debtors,
as applicable, in connection therewith), to the extent not approved by the Bankruptcy Court previously, and
(b) authorization for the Debtors or the Reorganized Debtors, as applicable, to, without further notice to or order of
the Bankruptcy Court, (i) execute and deliver those documents and agreements necessary or appropriate to pursue or
obtain the Exit Facilities, including the Exit Facilities Documents, and incur and pay any fees and expenses in

                                                         29
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 613 of 1639
                                                                           0613


connection therewith, and (ii) act or take action under applicable law, regulation, order, or rule or vote, consent,
authorization, or approval of any Person, subject to such modifications as the Debtors or the Reorganized Debtors, as
applicable, may deem to be necessary to consummate the Exit Facilities.

          As of the Effective Date, upon the granting or continuation of Liens in accordance with the Plan and the Exit
Facilities Documents, such Liens shall constitute valid, binding, enforceable, and automatically perfected Liens in the
collateral specified in the Exit Facilities Documents. The Exit Facilities Agent or holder(s) of Liens under the Exit
Facilities Documents are authorized to file with the appropriate authorities mortgages, financing statements, and other
documents, and to take any other action in order to evidence, validate, and perfect such Liens or security interests.
The guarantees, mortgages, pledges, Liens, and other security interests granted to secure the obligations arising under
the Exit Facilities Documents have been granted in good faith, for legitimate business purposes, and for reasonably
equivalent value as an inducement to the lenders thereunder to extend credit thereunder and shall be deemed not to
constitute a fraudulent conveyance or fraudulent transfer and shall not otherwise be subject to avoidance,
recharacterization, or subordination for any purposes whatsoever and shall not constitute preferential transfers or
fraudulent conveyances under the Bankruptcy Code or any applicable nonbankruptcy law, and the priorities of such
Liens and security interests shall be as set forth in the Exit Facilities Documents. The Reorganized Debtors and the
Persons and Entities granted such Liens and security interests shall be authorized to make all filings and recordings,
and to obtain all governmental approvals and consents necessary to establish and perfect such Liens and security
interests under the provisions of the applicable state, federal, or other law that would be applicable in the absence of
the Plan and the Confirmation Order (it being understood that perfection shall occur automatically by virtue of the
entry of the Confirmation Order), and will thereafter cooperate to make all other filings and recordings that otherwise
would be necessary under applicable law to give notice of such Liens and security interests to third parties.

F.       Convenience Claim Distribution Reserve.

        On the Effective Date, the Reorganized Debtors shall establish and fund the Convenience Claim Distribution
Reserve with Cash in an amount equal to $10,000,000.00. The Convenience Claim Distribution Reserve shall be
maintained in trust solely for holders of Convenience Claims. Such funds shall not be considered property of the
Debtors or the Reorganized Debtors; provided that any funds remaining in the Convenience Claim Distribution
Reserve after all Convenience Claim Distributions have been made shall be distributed to and vest in the Reorganized
Debtors. Convenience Claims shall be paid in accordance with Article V1.A of the Plan.

G.       Corporate Existence.

          Except as otherwise provided in the Plan or any agreement, instrument, or other document incorporated in
the Plan or the Plan Supplement, each Debtor shall continue to exist after the Effective Date as a separate corporate
entity, limited liability company, partnership, or other form, as the case may be, with all the powers of a corporation,
limited liability company, partnership, or other form, as the case may be, pursuant to the applicable law in the
jurisdiction in which each applicable Debtor is incorporated or formed and pursuant to the respective certificate of
incorporation and bylaws (or other formation documents) in effect prior to the Effective Date, except to the extent
such certificate of incorporation and bylaws (or other formation documents) are amended, amended and restated, or
replaced under the Plan or otherwise, including pursuant to the New Organizational Documents, and to the extent such
documents are amended in accordance therewith, such documents are deemed to be amended, amended and restated,
or replaced pursuant to the Plan and require no further action or approval (other than any requisite filings required
under applicable state, provincial, or federal law). After the Effective Date, the respective certificate of incorporation
and bylaws (or other formation documents) of the Reorganized Debtors may be amended or modified on the terms
therein without supervision or approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy Code
or Bankruptcy Rules. After the Effective Date, one or more of the Reorganized Debtors may be disposed of, dissolved,
wound down, or liquidated without supervision or approval by the Bankruptcy Court and free of any restrictions of
the Bankruptcy Code or Bankruptcy Rules.

H.       Vesting of Assets in the Reorganized Debtors.

         Except as otherwise provided in the Confirmation Order, the Plan (including, for the avoidance of doubt, the
Restructuring Transactions Memorandum), or any agreement, instrument, or other document incorporated in, or
entered into in connection with or pursuant to, the Plan or Plan Supplement, on the Effective Date, all property in each
                                                           30
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 614 of 1639
                                                                           0614


Estate that constitutes property of the Estate under section 541 of the Bankruptcy Code, all Causes of Action, and any
property acquired by any of the Debtors pursuant to the Plan shall vest in each respective Reorganized Debtor, free
and clear of all Liens, Claims, charges, or other encumbrances. On and after the Effective Date, except as otherwise
provided in the Plan, each Reorganized Debtor may operate its business and may use, acquire, or dispose of property
and compromise or settle any Claims, Interests, or Causes of Action without supervision or approval by the Bankruptcy
Court and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules.

         Nothing in the Plan or the Confirmation Order shall operate as a finding or determination that funds (1) held
by the Debtors or subject to their control and (2) to which any holder of a Royalty and Working Interest has asserted
or may assert a right of entitlement or ownership on account of such Royalty and Working Interest, constitute property
of any of the Estates under section 541 of the Bankruptcy Code or otherwise. All parties’ rights with respect to such
issue remain unaffected by Confirmation of the Plan and entry of the Confirmation Order.

I.       Cancellation of Existing Securities and Agreements.

          On the Effective Date, except as otherwise provided in this Plan, all notes, instruments, certificates, credit
agreements, indentures, security agreements, collateral agreements, and other documents evidencing Claims or
Interests shall be cancelled and the obligations of the Debtors thereunder or in any way related thereto shall be deemed
satisfied in full, cancelled, discharged, and of no force or effect. Holders of or parties to such cancelled instruments,
Securities, and other documentation will have no rights arising from or relating to such instruments, Securities, and
other documentation, or the cancellation thereof, except the rights provided for or preserved pursuant to this Plan or
the Confirmation Order.

          Notwithstanding anything to the contrary herein, to the extent cancelled pursuant to this Plan, the DIP Credit
Agreement, the Revolving Credit Facility Credit Agreement, the FLLO Term Loan Facility Credit Agreement, the
Collateral Trust Documents, the Second Lien Notes Indenture, and the Unsecured Notes Indentures shall continue in
effect solely to the extent necessary to: (1) permit holders of Claims under the DIP Credit Agreement, the Revolving
Credit Facility Credit Agreement, the FLLO Term Loan Facility Credit Agreement, the Collateral Trust Documents,
the Second Lien Notes Indenture, and the Unsecured Notes Indentures to receive their respective Plan distributions, if
any; (2) permit the Debtors or the Reorganized Debtors to make Plan distributions on account of the Allowed Claims
under the DIP Credit Agreement, the Revolving Credit Facility Credit Agreement, the FLLO Term Loan Facility
Credit Agreement, the Collateral Trust Documents, the Second Lien Notes Indenture, and the Unsecured Notes
Indentures; (3) permit the Agents and Trustees to seek compensation and/or reimbursement of fees and expenses in
accordance with the terms of the DIP Order, the DIP Credit Agreement, this Plan, and the Confirmation Order, as
applicable; (4) allow the Agents and Trustees to enforce their rights, claims, and interests against any party other than
the Debtors; (5) preserve any rights of the Agents and Trustees to payment of fees, expenses, and indemnification
obligations as against any money or property distributable to holders of Claims under the DIP Credit Agreement, the
Revolving Credit Facility Credit Agreement, the FLLO Term Loan Facility Credit Agreement, the Collateral Trust
Documents, the Second Lien Notes Indenture, and the Unsecured Notes Indentures, respectively, including any rights
to priority of payment and/or to exercise charging liens; (6) permit the Agents and Trustees to appear and be heard in
the Chapter 11 Cases or in any proceeding in the Bankruptcy Court or an appellate court, including to enforce any
obligation owed to the Agents and Trustees or other holders of Claims under the DIP Credit Agreement, the Revolving
Credit Facility Credit Agreement, the FLLO Term Loan Facility Credit Agreement, the Collateral Trust Documents,
the Second Lien Notes Indenture, and the Unsecured Notes Indentures, as applicable; (7) preserve the rights and
obligations of the parties under the Exit Facilities Documents, as applicable; and (8) allow the Agents and Trustees to
maintain any right of indemnification, contribution, or subrogation under the DIP Credit Agreement, the Revolving
Credit Facility Credit Agreement, the FLLO Term Loan Facility Credit Agreement, the Collateral Trust Documents,
the Second Lien Notes Indenture, and the Unsecured Notes Indentures.

         Except as provided in this Plan, on the Effective Date, the Agents and Trustees, and their respective agents,
successors, and assigns, shall be automatically and fully discharged of all of their duties and obligations associated
with the DIP Credit Agreement, the Revolving Credit Facility Credit Agreement, the FLLO Term Loan Facility Credit
Agreement, the Collateral Trust Documents, the Second Lien Notes Indenture, and the Unsecured Notes Indentures,
as applicable. To the extent cancelled in accordance with this Plan, the commitments and obligations (if any) of the
holders under the DIP Credit Agreement, the Revolving Credit Facility Credit Agreement, the FLLO Term Loan
Facility Credit Agreement, the Collateral Trust Documents, the Second Lien Notes Indenture, and the Unsecured
                                                           31
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 615 of 1639
                                                                           0615


Notes Indentures to extend any further or future credit or financial accommodations to any of the Debtors, any of the
Debtors’ respective subsidiaries, or any of the Debtors’ respective successors or assigns under the DIP Credit
Agreement, the Revolving Credit Facility Credit Agreement, the FLLO Term Loan Facility Credit Agreement, the
Collateral Trust Documents, the Second Lien Notes Indenture, and the Unsecured Notes Indentures, as applicable,
shall fully terminate and be of no further force or effect on the Effective Date.

J.       Corporate Action.

          Upon the Effective Date, all actions contemplated under the Plan shall be deemed authorized and approved
in all respects, including: (1) implementation of the Restructuring Transactions, including the Rights Offering;
(2) selection of the directors and officers for the Reorganized Debtors; (3) the issuance and distribution of the New
Common Stock in accordance with the Plan, including all shares of New Common Stock issued by Reorganized
Chesapeake to the Backstop Parties as part of the Put Option Premium and the unsubscribed shares of New Common
Stock issued to Backstop Parties pursuant to the Backstop Commitment Agreement; (4) issuance and distribution of
the Rights and subsequent issuance and distribution of New Common Stock issuable upon exercise of such Rights;
(5) execution and delivery of the Registration Rights Agreement; (6) issuance and distribution of the New Warrants
and entry into the New Warrants Agreements; (7) entry into the Exit Facilities Documents; (8) all other actions
contemplated under the Plan (whether to occur before, on, or after the Effective Date); (9) approval and adoption of
the New Organizational Documents; (10) entry into the Management Incentive Plan; (11) the rejection, assumption,
or assumption and assignment, as applicable, of Executory Contracts and Unexpired Leases; and (12) all other acts or
actions contemplated or reasonably necessary or appropriate to promptly consummate the Restructuring Transactions
contemplated by the Plan (whether to occur before, on, or after the Effective Date). All matters provided for in the
Plan involving the corporate structure of the Debtors or the Reorganized Debtors, and any corporate, partnership,
limited liability company, or other governance action required by the Debtors or the Reorganized Debtor, as
applicable, in connection with the Plan shall be deemed to have occurred and shall be in effect, without any
requirement of further action by the Security holders, members, directors, or officers of the Debtors or the Reorganized
Debtors, as applicable. On or (as applicable) prior to the Effective Date, the appropriate officers of the Debtors or the
Reorganized Debtors, as applicable, shall be authorized and (as applicable) directed to issue, execute, and deliver the
agreements, documents, Securities, and instruments contemplated under the Plan (or necessary or desirable to effect
the transactions contemplated under the Plan) in the name of and on behalf of the Reorganized Debtors, including the
New Common Stock, Rights, the Registration Rights Agreement, the Management Incentive Plan, the New Warrants
and the New Warrants Agreements, the New Organizational Documents, the Exit Facilities Documents, and any and
all other agreements, documents, Securities, and instruments relating to the foregoing. The authorizations and
approvals contemplated by this Article IV.J shall be effective notwithstanding any requirements under
non-bankruptcy law.

K.       New Organizational Documents.

         On or immediately prior to the Effective Date, the New Organizational Documents shall be automatically
adopted by the applicable Reorganized Debtors. To the extent required under the Plan or applicable non-bankruptcy
law, each of the Reorganized Debtors will file its New Organizational Documents with the applicable Secretaries of
State and/or other applicable authorities in its respective state if and to the extent required in accordance with the
applicable laws of the respective state. The New Organizational Documents will (i) prohibit the issuance of non-
voting equity Securities, to the extent required under section 1123(a)(6) of the Bankruptcy Code; (ii) with respect to
the New Organizational Documents of Reorganized Chesapeake, authorize the issuance of New Common Stock in an
amount not less than the amount necessary to permit the distributions thereof required or contemplated by this Plan
(including as a result of the exercise of New Warrants); and (iii) to the extent necessary or appropriate, include such
provisions as may be needed to effectuate and consummate this Plan and the transactions contemplated herein.
The New Organizational Documents shall also provide for the indemnification and exculpation of directors, officers
and appropriate persons to the fullest extent permitted by applicable law.

         If requested by the Required Consenting Stakeholders before the Effective Date, the New Organizational
Documents will include transfer restrictions designed to limit an ownership change for purposes of section 382 of the
Code or otherwise the Debtors or Reorganized Debtors, as applicable, may adopt and implement a stockholder rights
plan designed for such purpose, in each case effective upon the Effective Date.


                                                           32
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 616 of 1639
                                                                           0616


         The New Organizational Documents of Reorganized Chesapeake shall also provide that until such time as
the New Common Stock is listed on a National Securities Exchange the Reorganized Debtors shall not, without the
approval of the holders of the majority of outstanding New Common Stock: (i) issue shares of New Common Stock
in excess of 5% of the fully-diluted number of shares of New Common Stock outstanding and authorized for issuance
under the Plan on the Effective Date (including all shares contemplated under the claims recovery, the New Warrants,
the Rights Offering, the Backstop Commitment Agreement and the Management Incentive Plan) or authorize or issue
any shares of preferred stock; provided that this limitation shall not apply in connection with the adoption of a bona
fide stockholder rights plan by Reorganized Chesapeake’s board of directors; (ii) enter into any sales, transfers or
licenses of any Reorganized Chesapeake subsidiary, division, operation, business, line of business, assets or property,
in each case, held by Reorganized Chesapeake or any of its subsidiaries with any person other than Reorganized
Chesapeake or one or more of its wholly-owned subsidiaries involving consideration in excess of $50,000,000 per
transaction or series of related transactions; or (iii) make any acquisition, by merger, consolidation or stock or asset
purchase or investment with respect to any business, assets, property or any corporation or other entity, involving
consideration in excess of $50,000,000 per transaction or series of related transactions.

         On or after the Effective Date, the Reorganized Debtors may amend, amend and restate or modify their
respective New Organizational Documents in accordance with the terms thereof, and the Reorganized Debtors may
file such amended, amended and restated or modified certificates or articles of incorporation, bylaws, or such other
applicable formation documents, and other constituent documents as permitted by the laws of their respective state of
incorporation and the New Organizational Documents.

L.       Indemnification Obligations.

         Consistent with applicable law, all indemnification provisions in place as of the Effective Date (whether in
the bylaws, certificates of incorporation or formation, limited liability company agreements, other organizational
documents, board resolutions, indemnification agreements, employment contracts, the DIP Order, or otherwise) for
current and former directors, officers, managers, employees, attorneys, accountants, investment bankers, and other
professionals of the Debtors, the DIP Agent, the DIP Lenders, the Revolving Credit Facility Agent, the Consenting
Revolving Credit Facility Lenders, the Consenting FLLO Term Loan Facility Lenders, the Collateral Trustee, the
Second Lien Notes Trustee, the Consenting Second Lien Noteholders, and the Consenting Unsecured Noteholders, as
applicable, shall be reinstated and remain intact, irrevocable, and shall survive the effectiveness of the Plan on terms
no less favorable to such current and former directors, officers, managers, employees, attorneys, accountants,
investment bankers, and other professionals of the Debtors, the DIP Agent, the DIP Lenders, the Revolving Credit
Facility Agent, the Consenting Revolving Credit Facility Lenders, the Consenting FLLO Term Loan Facility Lenders,
the Collateral Trustee, the Second Lien Notes Trustee, the Consenting Second Lien Noteholders, and the Consenting
Unsecured Noteholders, as applicable, than the indemnification provisions in place prior to the Effective Date.

M.       Directors and Officers of the Reorganized Debtors.

         As of the Effective Date, the terms of the current members of the board of directors of Chesapeake shall
expire and the new directors and officers of the Reorganized Chesapeake shall be appointed. The identities of directors
on the New Board shall be set forth in the Plan Supplement to the extent known at the time of Filing. Each member
of the New Board will serve from and after the Effective Date pursuant to applicable law and the terms of the New
Organizational Documents. The existing boards of directors and other governing bodies of the other Reorganized
Debtors will be deemed to have resigned on and as of the Effective Date, in each case without further notice to or
order of the Bankruptcy Court, act or action under applicable law, regulation, order, or rule or the vote, consent,
authorization, or approval of any Person or Entity.

         Corporate governance for Reorganized Chesapeake, including charters, bylaws, operating agreements, or
other organization documents, as applicable, shall be consistent with section 1123(a)(6) of the Bankruptcy Code and
the New Organizational Documents.

N.       Effectuating Documents; Further Transactions.

        On and after the Effective Date, the Reorganized Debtors, and their respective officers, directors, members,
or managers (as applicable), are authorized to and may issue, execute, deliver, file, or record such contracts, Securities,
                                                            33
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 617 of 1639
                                                                           0617


instruments, releases, and other agreements or documents and take such actions as may be necessary or appropriate to
effectuate, implement, and further evidence the terms and conditions of the Plan, Exit Facilities entered into, and the
Securities issued pursuant to the Plan in the name of and on behalf of the Reorganized Debtors, without the need for
any approvals, authorization, or consents except for those expressly required pursuant to the Plan.

O.       Section 1146 Exemption.

          To the fullest extent permitted by section 1146(a) of the Bankruptcy Code, any transfers (whether from a
Debtor to a Reorganized Debtor or to any other Person) of property under the Plan or pursuant to: (1) the issuance,
distribution, transfer, or exchange of any debt, equity Security, or other interest in the Debtors or the Reorganized
Debtors, including the New Common Stock and the New Warrants (including the New Common Stock that may be
issuable upon exercise of the New Warrants); (2) the Restructuring Transactions; (3) the creation, modification,
consolidation, termination, refinancing, and/or recording of any mortgage, deed of trust, or other security interest, or
the securing of additional indebtedness by such or other means; (4) the making, assignment, or recording of any lease
or sublease; (5) the grant of collateral as security for the Reorganized Debtors’ obligations under and in connection
with the Exit Facilities; or (6) the making, delivery, or recording of any deed or other instrument of transfer under, in
furtherance of, or in connection with, the Plan, including any deeds, bills of sale, assignments, or other instrument of
transfer executed in connection with any transaction arising out of, contemplated by, or in any way related to the Plan,
shall not be subject to any document recording tax, stamp tax, conveyance fee, intangibles or similar tax, mortgage
tax, real estate transfer tax, personal property transfer tax, sales or use tax, mortgage recording tax, Uniform
Commercial Code filing or recording fee, regulatory filing or recording fee, or other similar tax or governmental
assessment, and upon entry of the Confirmation Order, the appropriate state or local governmental officials or agents
shall forego the collection of any such tax or governmental assessment and accept for filing and recordation any of
the foregoing instruments or other documents without the payment of any such tax, recordation fee, or governmental
assessment. All filing or recording officers (or any other Person with authority over any of the foregoing), wherever
located and by whomever appointed, shall comply with the requirements of section 1146(a) of the Bankruptcy Code,
shall forego the collection of any such tax or governmental assessment, and shall accept for filing and recordation any
of the foregoing instruments or other documents without the payment of any such tax or governmental assessment.

P.       Director and Officer Liability Insurance.

          Notwithstanding anything in the Plan to the contrary, the Reorganized Debtors shall be deemed to have
assumed all of the Debtors’ D&O Liability Insurance Policies pursuant to sections 105 and 365(a) of the Bankruptcy
Code effective as of the Effective Date. Entry of the Confirmation Order will constitute the Bankruptcy Court’s
approval of the Reorganized Debtors’ foregoing assumption of each of the unexpired D&O Liability Insurance
Policies. Notwithstanding anything to the contrary contained in the Plan, Confirmation of the Plan shall not discharge,
impair, or otherwise modify any indemnity obligations assumed by the foregoing assumption of the unexpired D&O
Liability Insurance Policies, and each such indemnity obligation will be deemed and treated as an Executory Contract
that has been assumed by the Debtors under the Plan as to which no Proof of Claim need be Filed.

          In addition, after the Effective Date, none of the Reorganized Debtors shall terminate or otherwise reduce the
coverage under any D&O Liability Insurance Policies (including any “tail policy”) in effect on or after the Petition
Date, with respect to conduct occurring prior thereto, and all directors and officers of the Debtors who served in such
capacity at any time prior to the Effective Date shall be entitled to the full benefits of any such policy for the full term
of such policy, to the extent set forth therein, regardless of whether such directors and officers remain in such positions
after the Effective Date.

Q.       Management Incentive Plan.

         On the Plan Effective Date, the Reorganized Debtors shall adopt a management incentive plan
(the “Management Incentive Plan”). All grants under the Management Incentive Plan shall be determined at the sole
discretion of the New Board including, without limitation, with respect to the participants, allocation, timing, and the
form and structure of the options, warrants, and/or equity compensation to be provided thereunder and taking into
account market compensation levels and historical equity compensation structures.



                                                            34
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 618 of 1639
                                                                           0618


R.       Employee Benefits.

         Unless otherwise provided herein, and subject to Article V hereof, all wages, compensation, and benefits
programs, including executive compensation programs and any motions in the Bankruptcy Court for the approval
thereof, will be continued according to existing terms and practices. On the Effective Date, the Debtors shall
(1) assume all employment agreements, indemnification agreements, or other agreements entered into with current
and former employees; or (2) enter into new agreements with such employees on terms and conditions acceptable to
the Debtor and such employee. Notwithstanding the foregoing, any employment agreements or other
employment-related agreements that provide for any acceleration or enhancement of payments (including severance
payments), vesting, benefits, or other rights in connection with a transaction that constitutes a change in control,
change of control, or similar concept under such agreements, shall only be assumed if and to the extent that the
Debtors, with the consent of the Required Plan Sponsors, obtain waivers specifying that the consummation of the
Restructuring Transactions shall not trigger any such rights under such agreements.

         For the avoidance of doubt, pursuant to section 1129(a)(13) of the Bankruptcy Code, from and after the
Effective Date, all retiree benefits (as such term is defined in section 1114 of the Bankruptcy Code), if any, shall
continue to be paid in accordance with applicable law.

       Notwithstanding the foregoing, on the Effective Date, the Debtors may enter into new arrangements with
employees on terms and conditions acceptable to the Debtors, the Required Plan Sponsors, and such employee.

S.       Preservation of Causes of Action.

         In accordance with section 1123(b) of the Bankruptcy Code, but subject to Article VIII hereof, each
Reorganized Debtor, as applicable, shall retain and may enforce all rights to commence and pursue, as appropriate,
any and all Causes of Action of the Debtors, whether arising before or after the Petition Date, including any actions
specifically enumerated in the Schedule of Retained Causes of Action, and the Reorganized Debtors’ rights to
commence, prosecute, or settle such Causes of Action shall be preserved notwithstanding the occurrence of the
Effective Date, other than: (i) the Causes of Action released by the Debtors pursuant to the releases and exculpations
contained in the Plan, including in Article VIII hereof, which shall be deemed released and waived by the Debtors and
the Reorganized Debtors as of the Effective Date; and (ii) all Causes of Action that arise under sections 544, 547, 548,
and 549 of the Bankruptcy Code and state fraudulent conveyance law.

          The Reorganized Debtors may pursue such retained Causes of Action, as appropriate, in accordance with the
best interests of the Reorganized Debtors. No Entity (other than the Released Parties) may rely on the absence of
a specific reference in the Plan, the Plan Supplement, or the Disclosure Statement to any Cause of Action
against it as any indication that the Debtors or the Reorganized Debtors, as applicable, will not pursue any and
all available Causes of Action of the Debtors against it. The Debtors and the Reorganized Debtors expressly
reserve all rights to prosecute any and all Causes of Action against any Entity, except as otherwise expressly
provided in the Plan, including Article VIII hereof. Unless otherwise agreed upon in writing by the parties to
the applicable Cause of Action, all objections to the Schedule of Retained Causes of Action must be Filed with
the Bankruptcy Court on or before thirty (30) days after the Effective Date. Any such objection that is not
timely Filed shall be disallowed and forever barred, estopped, and enjoined from assertion against any
Reorganized Debtor, without the need for any objection or responsive pleading by the Reorganized Debtors or
any other party in interest or any further notice to or action, order, or approval of the Bankruptcy Court.
The Reorganized Debtors may settle any such objection without any further notice to or action, order, or approval of
the Bankruptcy Court. If there is any dispute regarding the inclusion of any Cause of Action on the Schedule of
Retained Causes of Action that remains unresolved by the Debtors or Reorganized Debtors, as applicable, and the
objection party for thirty (30) days, such objection shall be resolved by the Bankruptcy Court. Unless any Causes of
Action of the Debtors against an Entity are expressly waived, relinquished, exculpated, released, compromised, or
settled in the Plan or a Final Order, the Reorganized Debtors expressly reserve all Causes of Action, for later
adjudication, and, therefore, no preclusion doctrine, including the doctrines of res judicata, collateral estoppel, issue
preclusion, claim preclusion, estoppel (judicial, equitable, or otherwise), or laches, shall apply to such Causes of
Action upon, after, or as a consequence of the Confirmation or Consummation.



                                                           35
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 619 of 1639
                                                                           0619


         The Reorganized Debtors reserve and shall retain such Causes of Action of the Debtors notwithstanding the
rejection or repudiation of any Executory Contract or Unexpired Lease during the Chapter 11 Cases or pursuant to the
Plan. In accordance with section 1123(b)(3) of the Bankruptcy Code, any Causes of Action that a Debtor may hold
against any Entity shall vest in the Reorganized Debtors, except as otherwise expressly provided in the Plan, including
Article VIII hereof. The applicable Reorganized Debtors, through their authorized agents or representatives, shall
retain and may exclusively enforce any and all such Causes of Action. The Reorganized Debtors shall have the
exclusive right, authority, and discretion to determine and to initiate, file, prosecute, enforce, abandon, settle,
compromise, release, withdraw, or litigate to judgment any such Causes of Action and to decline to do any of the
foregoing without the consent or approval of any third party or further notice to or action, order, or approval of the
Bankruptcy Court.

T.       Preservation of Royalty and Working Interests.

          Notwithstanding any other provision in the Plan, on and after the Effective Date, all Royalty and Working
Interests shall remain in full force and effect in accordance with the terms of the granting instruments or other
governing documents applicable to such Royalty and Working Interests.

           Royalty and Working Interests shall not be modified, affected or impaired in any manner by any provision
of the Plan or the Confirmation Order, including but not limited to any injunctive or stay relief, and the legal and
equitable rights, interests, defenses, and obligations of holders of Royalty and Working Interests, with respect to such
Royalty and Working Interests, shall not be modified, affected or impaired in any manner by the provisions of the
Plan or the Confirmation Order; provided that, to the extent applicable, any Other Secured Claims, General Unsecured
Claims, or Administrative Claims of holders of Royalty and Working Interests shall be treated in accordance with
Articles II and III hereof. Nor shall the Plan or the Confirmation Order modify, affect or impair the rights and defenses
of the Debtors or the Reorganized Debtors with respect to the Royalty and Working Interests. The Debtors’ and the
Reorganized Debtors’ rights to dispute the amounts owing on account of Royalty and Working Interests and to assert
that prepetition Claims for such amounts have been discharged by the Plan or the Confirmation Order are expressly
preserved and reserved. Nothing in this Plan or the Confirmation Order shall be deemed a finding or determination
as to whether any such amount owed by the Debtors or the Reorganized Debtors on account of Royalty and Working
Interests is a Claim or a specific type of Claim, if the amount has been discharged, or to what extent (if any) funds
held by the Debtors or the Reorganized Debtors or subject to their control, with respect to which funds any holder of
a Royalty and Working Interest has asserted or may assert a right of entitlement or ownership on account of such
Royalty and Working Interest, constitute property of any of the Estates under section 541 of the Bankruptcy Code or
otherwise; provided, however, that any determination with respect to the foregoing shall be made by the Bankruptcy
Court. All parties’ rights are preserved and reserved with respect to such findings or determinations; provided that, to
the extent applicable, any Administrative Claims, Other Secured Claims or General Unsecured Claims of holders of
Royalty and Working Interests on account of Royalty and Working Interests shall be treated in accordance with Article
II or III hereof, as appropriate.

          Notwithstanding anything in the Plan or the Confirmation Order to the contrary, the Debtors or the
Reorganized Debtors shall continue paying all undisputed amounts owing on account of Royalty and Working
Interests, including with respect to suspense funds as and when reconciled, in the ordinary course of business and in
accordance with all applicable agreements and laws.

          Nothing in the Plan or the Confirmation Order shall affect the Debtors’ or the Reorganized Debtors’
obligations to comply with all federal, state and local laws, rules and regulations with respect to Royalty and Working
Interests and holders thereof, including, without limitation, laws, rules and regulations regarding inspection of books
and records and segregation or escrow of funds or production proceeds belonging and/or payable to holders of Royalty
and Working Interests.

U.       Resolution of Pending Litigation.

         The Debtors may remove to the Bankruptcy Court by the Removal Deadline any litigation pending as of the
Petition Date that alleges claims or causes of action that, if successful, would not result in a Claim. Notwithstanding
the foregoing, (i) pending litigation alleging personal injury claims or causes of action, (ii) pending litigation for which
the automatic stay has been lifted pursuant to section 362 of the Bankruptcy Code, and (iii) any litigation not removed
                                                            36
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 620 of 1639
                                                                           0620


by the Removal Deadline shall proceed to final judgment in the jurisdiction in which such litigation was pending as
of the Petition Date; provided that any Claim resulting from a final judgment in any such litigation shall be treated in
accordance with the Plan.

V.       Payment of Certain Fees.

          Without any further notice to or action, order, or approval of the Bankruptcy Court, the Debtors or the
Reorganized Debtors, as applicable, shall pay on the Effective Date the Restructuring Expenses, subject to the
conditions set forth in this Article IV.U of the Plan. The Restructuring Expenses incurred, or estimated to be incurred,
up to and including the Effective Date, shall be paid in full in Cash on the Effective Date or as reasonably practicable
thereafter (to the extent not previously paid during the course of the Chapter 11 Cases) in accordance with, and subject
to, the terms of the Restructuring Support Agreement, without any requirement to file a fee application with the
Bankruptcy Court, without the need for itemized time detail, or without any requirement for Bankruptcy Court review
or approval. All Restructuring Expenses to be paid on the Effective Date shall be estimated prior to and as of the
Effective Date and such estimates shall be delivered to the Debtors at least five (5) Business Days before the
anticipated Effective Date or such later time as required by the Debtors; provided that such estimates shall not be
considered an admission or limitation with respect to such Restructuring Expenses. On or as soon as practicable after
the Effective Date, final invoices for all Restructuring Expenses incurred prior to and as of the Effective Date shall be
submitted to the Debtors. In addition, the Debtors and the Reorganized Debtors (as applicable) shall continue to pay
pre- and post-Effective Date Restructuring Expenses related to implementation, consummation, and defense of the
Plan, whether incurred before, on, or after the Effective Date. For the avoidance of doubt, nothing in this paragraph
shall be deemed to impair, waive, discharge, or negatively impact or affect any rights of the FLLO Term Loan Facility
Administrative Agent, the Collateral Trustee, and the Second Lien Notes Trustee to payment of fees, expenses, and
indemnification obligations solely as against any money or property distributable to holders of Claims under the FLLO
Term Loan Facility Credit Agreement, the Collateral Trust Documents, or the Second Lien Notes Indenture, as
applicable, including any rights to priority of payment and/or to exercise charging liens. Notwithstanding anything in
the Plan, including Article IV.I hereof, reimbursement of the Second Lien Notes Trustee’s financial advisor’s fees and
expenses shall be limited to $250,000 in the aggregate, and no Person shall be entitled to increase or seek to increase
this $250,000 limit or use a charging lien or seek payment for such financial advisor’s or any financial advisor to the
Second Lien Notes Trustee’s fees and expenses from any other source.

         Without limiting the obligations of the Debtors or Reorganized Debtors to pay the DIP Agent Fees and
Expenses and any fees, costs and expenses of the Exit Facilities Agent pursuant to the Exit Facilities Documents, the
Reorganized Debtors shall pay all post-Effective Date expenses incurred by the DIP Agent and/or the Exit Facilities
Agent related to implementation, consummation, and defense of the Plan, whether incurred on or after the
Effective Date.

                                     ARTICLE V.
                TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

A.       Assumption and Rejection of Executory Contracts and Unexpired Leases.

          On the Effective Date, except as otherwise provided herein, all Executory Contracts or Unexpired Leases not
otherwise assumed or rejected will be deemed assumed by the applicable Reorganized Debtor in accordance with the
provisions and requirements of sections 365 and 1123 of the Bankruptcy Code, other than those that are: (1) identified
on the Rejected Executory Contracts and Unexpired Leases Schedule; (2) previously expired or terminated pursuant
to their own terms; (3) have been previously assumed or rejected by the Debtors pursuant to a Final Order; (4) are the
subject of a motion to reject that is pending on the Effective Date; or (5) have an ordered or requested effective date
of rejection that is after the Effective Date.

          Entry of the Confirmation Order shall constitute an order of the Bankruptcy Court approving the assumptions,
assumptions and assignments, or rejections of the Executory Contracts or Unexpired Leases as set forth in the Plan,
the Assumed Executory Contract and Unexpired Leases Schedule, or the Rejected Executory Contracts and Unexpired
Leases Schedule, pursuant to sections 365(a) and 1123 of the Bankruptcy Code. Except as otherwise specifically set
forth herein, assumptions or rejections of Executory Contracts and Unexpired Leases pursuant to the Plan are effective
as of the Effective Date. Each Executory Contract or Unexpired Lease assumed pursuant to the Plan or by Bankruptcy
                                                           37
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 621 of 1639
                                                                           0621


Court order but not assigned to a third party before the Effective Date shall re-vest in and be fully enforceable by the
applicable contracting Reorganized Debtor in accordance with its terms, except as such terms may have been modified
by the provisions of the Plan or any order of the Bankruptcy Court authorizing and providing for its assumption. Any
motions to assume Executory Contracts or Unexpired Leases pending on the Effective Date shall be subject to approval
by a Final Order on or after the Effective Date but may be withdrawn, settled, or otherwise prosecuted by the
Reorganized Debtors.

          To the maximum extent permitted by law, to the extent any provision in any Executory Contract or Unexpired
Lease assumed or assumed and assigned pursuant to the Plan restricts or prevents, or purports to restrict or prevent,
or is breached or deemed breached by, the assumption or assumption and assignment of such Executory Contract or
Unexpired Lease (including any “change of control” provision), then such provision shall be deemed modified such
that the transactions contemplated by the Plan shall not entitle the non-Debtor party thereto to terminate such
Executory Contract or Unexpired Lease or to exercise any other default-related rights with respect thereto.
Notwithstanding anything to the contrary in the Plan, the Debtors or the Reorganized Debtors, as applicable, reserve
the right, with the consent of the Required Consenting Stakeholders, to alter, amend, modify, or supplement the
Assumed Executory Contracts and Unexpired Leases Schedule and the Rejected Executory Contracts and Unexpired
Leases Schedule at any time up to forty-five (45) days after the Effective Date, so long as such allocation, amendment,
modification, or supplement is consistent with the Restructuring Support Agreement.

B.       Claims Based on Rejection of Executory Contracts or Unexpired Leases.

          Unless otherwise provided by a Final Order of the Bankruptcy Court, all Proofs of Claim with respect to
Claims arising from the rejection of Executory Contracts or Unexpired Leases, pursuant to the Plan or the
Confirmation Order, if any, must be Filed with the Bankruptcy Court within thirty (30) days after the later of (1) the
date of entry of an order of the Bankruptcy Court (including the Confirmation Order) approving such rejection, (2) the
effective date of such rejection, or (3) the Effective Date. Any Claims arising from the rejection of an Executory
Contract or Unexpired Lease not Filed with the Bankruptcy Court within such time will be automatically
disallowed, forever barred from assertion, and shall not be enforceable against the Debtors or the Reorganized
Debtors, the Estates, or their property without the need for any objection by the Reorganized Debtors or
further notice to, or action, order, or approval of the Bankruptcy Court or any other Entity, and any Claim
arising out of the rejection of the Executory Contract or Unexpired Lease shall be deemed fully satisfied,
released, and discharged, notwithstanding anything in the Proof of Claim to the contrary. All Allowed Claims
arising from the rejection of the Debtors’ Executory Contracts or Unexpired Leases shall be classified as General
Unsecured Claims and shall be treated in accordance with Article III.B.7 of this Plan.

C.       Cure of Defaults for Assumed Executory Contracts and Unexpired Leases.

         Any monetary defaults under each Assumed Executory Contract or Unexpired Lease shall be satisfied,
pursuant to section 365(b)(1) of the Bankruptcy Code, by payment of the default amount in Cash on the Effective
Date, or as soon as reasonably practicable thereafter, subject to the limitation described below, or on such other terms
as the parties to such Executory Contracts or Unexpired Leases may otherwise agree. In the event of a dispute
regarding (1) the amount of any payments to cure such a default, (2) the ability of the Reorganized Debtors or any
assignee to provide “adequate assurance of future performance” (within the meaning of section 365 of the Bankruptcy
Code) under the Executory Contract or Unexpired Lease to be assumed, or (3) any other matter pertaining to
assumption, the cure payments required by section 365(b)(1) of the Bankruptcy Code shall be made following the
entry of a Final Order resolving the dispute and approving the assumption.

         Any objection by a contract or lease counterparty to a proposed assumption of an Executory Contract or
Unexpired Lease or the related cure cost (including as set forth on the Assumed Executory Contracts and Unexpired
Leases Schedule) must be Filed, served, and actually received by the Debtors in accordance with the Disclosure
Statement Order or other applicable Final Order of the Bankruptcy Court. Any counterparty to an Executory Contract
or Unexpired Lease that fails to object timely to the proposed assumption or cure amount will be deemed to have
consented to such assumption or proposed cure amount. For the avoidance of doubt, to the extent an Executory
Contract or Unexpired Lease proposed to be assumed is not listed as having a related cure cost, any counterparty to
such Executory Contract or Unexpired Lease that fails to object timely to the proposed assumption will be deemed to


                                                          38
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 622 of 1639
                                                                           0622


have consented to such assumption and deemed to release any Claim or Cause of Action for any monetary defaults
under such Executory Contract or Unexpired Lease.

         For the avoidance of doubt, the Debtors or the Reorganized Debtors, as applicable, with the consent of the
Required Consenting Stakeholders, may add any Executory Contract or Unexpired Lease proposed to be assumed to
the Rejected Executory Contracts and Unexpired Leases Schedule in accordance with the time limits provided by the
Plan for any reason, including if the Bankruptcy Court determines that the Allowed Cure Claim with respect to any
Executory Contract or Unexpired Lease is greater than the amount set forth in the applicable cure notice or the Plan,
in which case such Executory Contract or Unexpired Lease is deemed rejected as the Effective Date.

         Assumption of any Executory Contract or Unexpired Lease shall result in the full release and satisfaction of
any Claims or defaults, whether monetary or nonmonetary, including defaults of provisions restricting the change in
control or ownership interest composition or other bankruptcy-related defaults, arising under any Assumed Executory
Contract or Unexpired Lease at any time before the effective date of assumption. Any Proofs of Claim Filed with
respect to an Assumed Executory Contract or Unexpired Lease shall be deemed disallowed, without further notice to
or action, order, or approval of the Bankruptcy Court.

D.       Preexisting Obligations to the Debtors Under Executory Contracts and Unexpired Leases.

         Rejection of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise shall not constitute
a termination of preexisting obligations owed to the Debtors or the Reorganized Debtors, as applicable, under such
Executory Contracts or Unexpired Leases. In particular, notwithstanding any non-bankruptcy law to the contrary, the
Reorganized Debtors expressly reserve and do not waive any right to receive, or any continuing obligation of a
counterparty to provide, warranties or continued maintenance obligations with respect to goods previously purchased
by the Debtors pursuant to rejected Executory Contracts or Unexpired Leases.

E.       Insurance Policies.

         Notwithstanding anything to the contrary in the Disclosure Statement, the Plan, any Plan Supplement, the
Confirmation Order, the Restructuring Support Agreement, the Restructuring Term Sheet, any Bar Date notice or
Claim objection, any other document related to any of the foregoing or any other order of the Bankruptcy Court
(including, without limitation, any other provision that purports to be preemptory or supervening, grants an injunction,
discharge or release, or confers Bankruptcy Court jurisdiction or requires a party to opt out of any releases):

          (1) on the Effective Date the Reorganized Debtors shall be deemed to have assumed all unexpired Insurance
Policies in their entirety pursuant to sections 105 and 365 of the Bankruptcy Code; (2) all unexpired Insurance Policies
shall re-vest in the Reorganized Debtors, unaltered, other than that on and after the Effective Date, the Reorganized
Debtors shall be liable for all debts, obligations, and liabilities of the Debtors (and, after the Effective Date, of the
Reorganized Debtors) under the Insurance Policies, regardless of when such debts, obligations, and liabilities arise,
without the need or requirement for any Insurer to file a Proof of Claim, an Administrative Claim, a Cure Claim or to
object to any cure amount, and thereafter the Reorganized Debtors may, subject to the terms of the Insurance Policies
and applicable non-bankruptcy law, resolve any Claims covered by the Insurance Policies, resolve any Causes of
Action, if any, in connection with the Insurance Policies, and collect any and all outstanding deposits, restricted cash,
and letters of credit, if any, related thereto; (3) nothing shall alter, modify, amend, affect, impair or prejudice the legal,
equitable or contractual rights, obligations, and defenses of the Insurers, the Debtors (or, after the Effective Date, the
Reorganized Debtors), or any other individual or entity, as applicable, under any Insurance Policies; and (4) the
automatic stay of Bankruptcy Code section 362(a) and the injunctions set forth in Article VIII of the Plan, if and to
the extent applicable, shall be deemed lifted without further order of this Bankruptcy Court, solely to permit: (I)
claimants with valid workers’ compensation claims or direct action claims against an Insurer under applicable non-
bankruptcy law to proceed with their claims; (II) the Insurers to administer, handle, defend, settle, and/or pay, in the
ordinary course of business and without further order of this Bankruptcy Court, (A) workers’ compensation claims,
(B) claims where a claimant asserts a direct claim against any Insurer under applicable non-bankruptcy law, or an
order has been entered by this Bankruptcy Court granting a claimant relief from the automatic stay to proceed with its
claim, and (C) all costs in relation to each of the foregoing; and (III) the Insurers to cancel any Insurance Policies, and
take other actions relating thereto, to the extent permissible under applicable non-bankruptcy law, and in accordance
with the terms of the Insurance Policies.
                                                             39
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 623 of 1639
                                                                           0623


F.       Reservation of Rights.

          Nothing contained in the Plan or the Plan Supplement shall constitute an admission by the Debtors or any
other party that any contract or lease is in fact an Executory Contract or Unexpired Lease or that any Reorganized
Debtor has any liability thereunder. If there is a dispute regarding whether a contract or lease is or was executory or
unexpired at the time of assumption or rejection, the Debtors or the Reorganized Debtors, as applicable, shall have
forty-five (45) days following entry of a Final Order resolving such dispute to alter their treatment of such contract
or lease.

G.       Nonoccurrence of Effective Date.

         In the event that the Effective Date does not occur, the Bankruptcy Court shall retain jurisdiction with respect
to any request to extend the deadline for assuming or rejecting Unexpired Leases pursuant to section 365(d)(4) of the
Bankruptcy Code.

H.       Contracts and Leases Entered Into After the Petition Date.

        Contracts and leases entered into after the Petition Date by any Debtor, including any Executory Contracts
and Unexpired Leases assumed by such Debtor, will be performed by the applicable Debtor or the Reorganized
Debtors in the ordinary course of their business. Accordingly, such contracts and leases (including any assumed
Executory Contracts and Unexpired Leases) will survive and remain unaffected by entry of the Confirmation Order.

                                              ARTICLE VI.
                                  PROVISIONS GOVERNING DISTRIBUTIONS

A.       Timing and Calculation of Amounts to Be Distributed.

          Unless otherwise provided in the Plan, on the Effective Date (or if a Claim or Interest is not an Allowed
Claim or Allowed Interest on the Effective Date, on the date that such Claim or Interest becomes an Allowed Claim
or Allowed Interest, or as soon as reasonably practicable thereafter), each holder of an Allowed Claim or Allowed
Interest shall receive the full amount of the distributions that the Plan provides for Allowed Claims and Allowed
Interests in the applicable Class.

          With respect to holders of Allowed Unsecured Notes Claims and Allowed General Unsecured Claims other
than Convenience Claims, each such holder shall receive from the Unsecured Claims Recovery (1) an initial
distribution on account of such holder’s Allowed Unsecured Notes Claim or General Unsecured Claim on the Effective
Date or as soon as reasonably practicable thereafter (or if a Claim is not an Allowed Claim on the Effective Date, on
the date that such Claim becomes an Allowed Claim, or as soon as reasonably practicable thereafter); and (2) upon
completion of the Claims reconciliation process, its Pro Rata share of the remaining Unsecured Claims Recovery.

         With respect to holders of Convenience Claims, each such holder shall receive from the Convenience Claim
Distribution Reserve (1) an initial distribution on account of such holder’s Convenience Claim on the Effective Date
or as soon as reasonably practicable thereafter (or if a Claim is not an Allowed Claim on the Effective Date, on the
date that such Claim becomes an Allowed Claim, or as soon as reasonably practicable thereafter); and (2) upon
completion of the Claims reconciliation process, its Pro Rata share of the remaining Convenience Claim Distribution
Reserve; provided that no Convenience Claim shall recover in excess of 5 percent of such Convenience Claim;
provided, further, that any funds remaining in the Convenience Claim Distribution Reserve after all Convenience
Claim Distributions have been made shall be distributed to and vest in the Reorganized Debtors.

        In the event that any payment or act under the Plan is required to be made or performed on a date that is not
a Business Day, then the making of such payment or the performance of such act may be completed on the next
succeeding Business Day, but shall be deemed to have been completed as of the required date.

        If and to the extent that there are Disputed Claims or Disputed Interests, distributions on account of any such
Disputed Claims or Disputed Interests shall be made pursuant to the provisions set forth in Article VII of the Plan.

                                                           40
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 624 of 1639
                                                                           0624


B.       Delivery of Distributions and Undeliverable or Unclaimed Distributions.

         1.   Record Date for Distribution.

          On the Distribution Record Date, the Claims Register shall be closed and any party responsible for making
distributions shall instead be authorized and entitled to recognize only those record holders listed on the Claims
Register as of the close of business on the Distribution Record Date. If a Claim, other than one based on a publicly
traded Security or FLLO Term Loan Facility Claim, is transferred twenty (20) or fewer days before the Distribution
Record Date, distributions shall be made to the transferee only to the extent practical and, in any event, only if the
relevant transfer form contains an unconditional and explicit certification and waiver of any objection to the transfer
by the transferor.

         2.   Delivery of Distributions in General.

          Except as otherwise provided herein, the Reorganized Debtors shall make distributions to holders of Allowed
Claims and Allowed Interests (as applicable) as of the Distribution Record Date at the address for each such holder as
indicated on the Debtors’ records as of the date of any such distribution; provided that the manner of such distributions
shall be determined at the discretion of the Reorganized Debtors and, with respect to distributions on account of FLLO
Term Loan Facility Claims, the Required Plan Sponsors.

         3.   No Fractional Distributions.

          No fractional shares of New Common Stock shall be distributed and no Cash shall be distributed in lieu of
such fractional amounts. When any distribution pursuant to the Plan on account of an Allowed Claim or Allowed
Interest (as applicable) would otherwise result in the issuance of a number of shares of New Common Stock that is
not a whole number, the actual distribution of shares of New Common Stock shall be rounded to the next lower whole
number with no further payment therefor; provided, however, that fractional shares rounding determination with
respect to the Rights Offering shall be subject to the Rights Offering Procedures. The total number of authorized
shares of New Common Stock to be distributed to holders of Allowed Claims hereunder shall be adjusted as necessary
to account for the foregoing rounding.

         4.   Minimum Distributions.

          Notwithstanding any other provision of the Plan, holders of Allowed Claims entitled to distributions of $5 or
less shall not receive distributions, and each Claim to which this limitation applies shall be discharged pursuant to
Article VIII of this Plan, and its holder shall be forever barred from asserting that Claim against the Reorganized
Debtors or their property.

         5.   Undeliverable Distributions and Unclaimed Property.

          In the event that any distribution to any holder of Allowed Claims or Allowed Interests (as applicable) is
returned as undeliverable, no distribution to such holder shall be made unless and until the Reorganized Debtors have
determined the then-current address of such holder, at which time such distribution shall be made to such holder
without interest; provided that such distributions shall be deemed unclaimed property under section 347(b) of the
Bankruptcy Code at the expiration of one year from the Effective Date. After such date, all unclaimed property or
interests in property shall revert to the Reorganized Debtors automatically and without need for a further order by the
Bankruptcy Court (notwithstanding any applicable federal, provincial or state escheat, abandoned, or unclaimed
property laws to the contrary), and the Claim of any holder of Claims and Interests to such property or Interest in
property shall be discharged and forever barred.

         6.   Surrender of Canceled Instruments or Securities.

        On the Effective Date or as soon as reasonably practicable thereafter, each holder of a certificate or instrument
evidencing a Claim or an Interest that has been cancelled in accordance with Article IV.I hereof shall be deemed to
have surrendered such certificate or instrument to the Debtors. Such surrendered certificate or instrument shall be

                                                           41
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 625 of 1639
                                                                           0625


cancelled solely with respect to the Debtors, and such cancellation shall not alter the obligations or rights of any non-
Debtor third parties vis-à-vis one another with respect to such certificate or instrument, including with respect to any
indenture or agreement that governs the rights of the holder of a Claim or Interest, which shall continue in effect for
purposes of allowing holders to receive distributions under the Plan, charging liens, priority of payment, and
indemnification rights.

         7.   Delivery of Distributions on Second Lien Notes Claims and Unsecured Notes Claims.

          The Debtors shall make all distributions required under the Plan. Notwithstanding any provision of the Plan
to the contrary, distributions to holders of Second Lien Notes Claims and Unsecured Notes Claims shall be made to
or at the direction of each of the Trustees for distribution under the applicable indentures and bond agreements. The
Trustees may transfer or direct the transfer of such distributions directly through the facilities of the applicable
securities depository and clearing house and will be entitled to recognize and deal with, for all purposes under the
Plan, holders of Second Lien Notes Claims and Unsecured Notes Claims, as applicable, as is consistent with the
ordinary practices of the applicable depositories. Such distributions shall be subject to the right of each of the Trustees
under the applicable indenture or bond agreements, including their rights to assert and exercise charging liens against
such distributions.

C.       Manner of Payment.

        Except as otherwise set forth herein, all distributions of Cash, the New Common Stock, the New Warrants,
and the Rights, as applicable, to Holders of Allowed Claims under the Plan shall be made by the Debtors or the
Reorganized Debtors, as applicable. At the option of the Reorganized Debtors (in consultation with and subject to the
reasonable consent of the Required Consenting Stakeholders), any Cash payment to be made under the Plan, if any,
may be made by check or wire transfer or as otherwise required or provided in the applicable agreements.

D.       Exemption from Securities Laws.

         All 1145 Securities will be issued in reliance upon section 1145 of the Bankruptcy Code to the extent
permitted under applicable law. All 4(a)(2) Securities will be issued in reliance upon section 4(a)(2) of the Securities
Act or Regulation D promulgated thereunder, will be considered “restricted securities” and may not be transferred
except pursuant to an effective registration statement under the Securities Act or an available exemption therefrom.

          Pursuant to section 1145 of the Bankruptcy Code, the issuances of the 1145 Securities are exempt from,
among other things, the registration requirements of Section 5 of the Securities Act and any other applicable U.S. state
or local law requiring registration before the offering, issuance, distribution, or sale of such securities, subject to the
provisions of section 1145(b)(1) of the Bankruptcy Code relating to the definition of an underwriter in section 2(a)(11)
of the Securities Act. Each of the 1145 Securities (1) is not a “restricted security” as defined in Rule 144(a)(3) under
the Securities Act; and (2) is freely tradable and transferable by any initial recipient thereof that at the time of transfer
or as a result thereof, is not an “affiliate” of the Reorganized Debtors as defined in Rule 144(a)(1) under the
Securities Act.

           The 4(a)(2) Securities will be issued without registration under the Securities Act in reliance upon
Section 4(a)(2) of the Securities Act or Regulation D promulgated thereunder. To the extent issued in reliance on
Section 4(a)(2) of the Securities Act or Regulation D thereunder, the 4(a)(2) Securities will be “restricted securities”
subject to resale restrictions and may be resold, exchanged, assigned or otherwise transferred only pursuant to
registration, or an applicable exemption from registration under the Securities Act and other applicable law.

         Should the Reorganized Debtors elect on or after the Effective Date to reflect any ownership of the New
Common Stock (including any shares issuable as part of the Put Option Premium or issuable upon exercise of the
Rights other than the unsubscribed shares of New Common Stock issued to the Backstop Parties pursuant to the
Backstop Commitment Agreement) or the New Warrants (and any Shares of the New Common Stock issuable upon
the exercise of the New Warrants) through the facilities of DTC, the Reorganized Debtors need not provide any further
evidence other than the Plan or the Confirmation Order with respect to such treatment under applicable securities laws.



                                                             42
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 626 of 1639
                                                                           0626


         DTC shall be required to accept and conclusively rely upon the Plan and Confirmation Order in lieu of a
legal opinion regarding whether any of the New Common Stock issuable upon exercise of the Rights, as applicable,
are exempt from registration and/or eligible for DTC book-entry delivery, settlement, and depository services.

        Notwithstanding anything to the contrary in the Plan, no entity (including, for the avoidance of doubt, DTC)
may require a legal opinion regarding the validity of any transaction contemplated by the Plan, including, for the
avoidance of doubt, whether the New Common Stock issuable upon exercise of the Rights, as applicable, are exempt
from registration and/or eligible for DTC book-entry delivery, settlement, and depository services.

          Each Backstop Party that receives Plan Securities will be entitled to registration rights and sale support rights
with respect to all such Securities to be documented in the Registration Rights Agreement in form and substance
satisfactory to the Required Plan Sponsors.

E.       Compliance with Tax Requirements.

          In connection with the Plan, to the extent applicable, the Debtors, the Reorganized Debtors, and any
applicable withholding agent shall comply with all tax withholding and reporting requirements imposed on them by
any Governmental Unit, and all distributions made pursuant to the Plan shall be subject to such withholding and
reporting requirements. Notwithstanding any provision in the Plan to the contrary, such parties shall be authorized to
take all actions necessary or appropriate to comply with such withholding and reporting requirements, including
liquidating a portion of the distribution to be made under the Plan to generate sufficient funds to pay applicable
withholding taxes, withholding distributions pending receipt of information necessary to facilitate such distributions,
or establishing any other mechanisms they believe are reasonable and appropriate. The Debtors and Reorganized
Debtors reserve the right to allocate all distributions made under the Plan in compliance with all applicable wage
garnishments, alimony, child support, and similar spousal awards, Liens, and encumbrances.

F.       Allocations.

         Distributions in respect of Allowed Claims shall be allocated first to the principal amount of such Claims
(as determined for federal income tax purposes) and then, to the extent the consideration exceeds the principal amount
of the Claims, to the remainder of the Claims, including any Claims for accrued but unpaid interest.

G.       No Postpetition or Default Interest on Claims.

         Notwithstanding any provision in the Plan, the Confirmation Order, or any documents that govern the
Debtors’ prepetition funded indebtedness or other Claims to the contrary, except as provided in the DIP Order, DIP
Credit Agreement, and Articles II.B, III.B.3 and III.B.4 hereof, (a) postpetition and/or default interest shall not accrue
or be paid on any Claims; and (b) no Holder of a Claim shall be entitled to (i) interest accruing on or after the Petition
Date on any such Claim or (ii) interest at the contract default rate, as applicable.

H.       Foreign Currency Exchange Rate.

         Except as otherwise provided in a Bankruptcy Court order, as of the Effective Date, any Claim asserted in
currency other than U.S. dollars shall be automatically deemed converted to the equivalent U.S. dollar value using the
exchange rate for the applicable currency as published in The Wall Street Journal, National Edition, on the
Effective Date.

I.       Setoffs and Recoupment.

         Except as expressly provided in this Plan and the DIP Order, each Reorganized Debtor may, pursuant to
section 553 of the Bankruptcy Code, set off and/or recoup against any Plan distributions to be made on account of any
Allowed Claim, any and all claims, rights, and Causes of Action that such Reorganized Debtor may hold against the
holder of such Allowed Claim to the extent such setoff or recoupment is either (1) agreed in amount among the relevant
Reorganized Debtor(s) and the holder of the Allowed Claim or (2) otherwise adjudicated by the Bankruptcy Court or
another court of competent jurisdiction; provided that neither the failure to effectuate a setoff or recoupment nor the

                                                            43
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 627 of 1639
                                                                           0627


allowance of any Claim hereunder shall constitute a waiver or release by a Reorganized Debtor or its successor of any
and all claims, rights, and Causes of Action that such Reorganized Debtor or its successor may possess against the
applicable holder. In no event shall any holder of a Claim be entitled to recoup such Claim against any claim, right,
or Cause of Action of the Debtors or the Reorganized Debtors, as applicable, unless such holder actually has performed
such recoupment and provided notice thereof in writing to the Debtors in accordance with Article XII.G hereof on or
before the Effective Date, notwithstanding any indication in any Proof of Claim or otherwise that such holder asserts,
has, or intends to preserve any right of recoupment. Notwithstanding anything to the contrary herein, the Allowed
DIP Claims, the Allowed Revolving Credit Facility Claims, the Allowed FLLO Term Loan Facility Claims, the
Allowed Second Lien Notes Claims, or the Allowed Unsecured Notes Claims and the Plan distributions to be made
on account of such Claims shall not be subject to set off and/or recoupment by the Debtors or the Reorganized Debtors
pursuant to section 553 of the Bankruptcy Code or applicable non-bankruptcy law, and the Debtors and the
Reorganized Debtors hereby waive any and all rights of set off or recoupment against such Claims.

J.       No Double Payment of Claims.

         To the extent that a Claim is Allowed against more than one Debtor’s Estate, there shall be only a single
recovery on account of that Allowed Claim, but the holder of an Allowed Claim other than an Allowed Unsecured
Notes Claim or Allowed General Unsecured Claim against more than one Debtor may recover distributions from all
co-obligor Debtors’ Estates until the holder has received payment in full on the Allowed Claims. No Holder of an
Allowed Claim shall be entitled to receive more than payment in full of its Allowed Claim, and each Claim shall be
administered and treated in the manner provided by the Plan only until payment in full on that Allowed Claim.

K.       Claims Paid or Payable by Third Parties.

         1.   Claims Paid by Third Parties.

          The Debtors or the Reorganized Debtors, as applicable, shall reduce in full a Claim, and such Claim shall be
disallowed without a Claims objection having to be Filed and without any further notice to or action, order, or approval
of the Bankruptcy Court, to the extent that the holder of such Claim receives payment in full on account of such Claim
from a party that is not a Debtor or a Reorganized Debtor. Subject to the last sentence of this paragraph, to the extent
a holder of a Claim receives a distribution on account of such Claim and receives payment from a party that is not a
Debtor or a Reorganized Debtor on account of such Claim, such holder shall, within fourteen (14) days of receipt
thereof, repay or return the distribution to the applicable Reorganized Debtor, to the extent the holder’s total recovery
on account of such Claim from the third party and under the Plan exceeds the amount of such Claim as of the date of
any such distribution under the Plan. The failure of such holder to timely repay or return such distribution shall result
in the holder owing the applicable Reorganized Debtor annualized interest at the Federal Judgment Rate on such
amount owed for each Business Day after the fourteen (14) day grace period specified above until the amount is repaid.

         2.   Claims Payable by Third Parties.

         No distributions under the Plan shall be made on account of an Allowed Claim that is payable pursuant to
one of the Debtors’ Insurance Policies until the holder of such Allowed Claim has exhausted all remedies with respect
to such Insurance Policy. To the extent that one or more of the Debtors’ Insurers agrees to satisfy in full or in part a
Claim (if and to the extent adjudicated by a court of competent jurisdiction or otherwise settled), then immediately
upon such Insurers’ satisfaction of such Claim, the applicable portion of such Claim may be expunged without a
Claims objection having to be Filed and without any further notice to or action, order, or approval of the
Bankruptcy Court.

         3.   Applicability of Insurance Policies.

         Except as otherwise provided in the Plan, payments to holders of Claims shall be in accordance with the
provisions of any applicable Insurance Policy. Nothing contained in the Plan shall constitute or be deemed a waiver
of any Cause of Action that the Debtors or any Entity may hold against any other Entity, including Insurers under any
Insurance Policies nor shall anything contained herein constitute or be deemed a waiver by such Insurers of any rights
or defenses, including coverage defenses, held by such Insurers.

                                                           44
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 628 of 1639
                                                                           0628


                                           ARTICLE VII.
                               PROCEDURES FOR RESOLVING CONTINGENT,
                                 UNLIQUIDATED, AND DISPUTED CLAIMS

A.       Allowance of Claims.

          After the Effective Date, except as otherwise expressly set forth herein, each of the Reorganized Debtors
shall have and retain any and all rights and defenses such Debtor had with respect to any Claim or Interest immediately
prior to the Effective Date. The Debtors may affirmatively determine to deem Unimpaired Claims Allowed to the
same extent such Claims would be allowed under applicable non-bankruptcy law.

B.       Claims Administration Responsibilities.

          Except as otherwise specifically provided in the Plan, after the Effective Date, the Reorganized Debtors shall
have the sole authority: (1) to File, withdraw, or litigate to judgment, objections to Claims or Interests; (2) to settle or
compromise any Disputed Claim without any further notice to or action, order, or approval by the Bankruptcy Court;
and (3) to administer and adjust the Claims Register to reflect any such settlements or compromises without any further
notice to or action, order, or approval by the Bankruptcy Court. For the avoidance of doubt, except as otherwise
provided herein, from and after the Effective Date, each Reorganized Debtor shall have and retain any and all rights
and defenses such Debtor had immediately prior to the Effective Date with respect to any Disputed Claim or Interest,
including the Causes of Action retained pursuant to Article IV.S of the Plan.

C.       Estimation of Claims.

          Before, on, or after the Effective Date, the Debtors or the Reorganized Debtors, as applicable, may (but are
not required to) at any time request that the Bankruptcy Court estimate any Claim pursuant to applicable law,
including, without limitation, pursuant to section 502(c) of the Bankruptcy Code for any reason, regardless of whether
any party previously has objected to such Claim or whether the Bankruptcy Court has ruled on any such objection,
and the Bankruptcy Court shall retain jurisdiction under 28 U.S.C. §§ 157 and 1334 to estimate any such Claim,
including during the litigation of any objection to any Claim or during the pendency of any appeal relating to such
objection. Notwithstanding any provision to the contrary in the Plan, a Claim that has been expunged from the Claims
Register, but that either is subject to appeal or has not been the subject of a Final Order, shall be deemed to be estimated
at zero dollars, unless otherwise ordered by the Bankruptcy Court. In the event that the Bankruptcy Court estimates
any Claim, such estimated amount shall constitute a maximum limitation on such Claim for all purposes under the
Plan (including for purposes of distributions and discharge) and may be used as evidence in any supplemental
proceedings, and the Debtors or Reorganized Debtors may elect to pursue any supplemental proceedings to object to
any ultimate distribution on such Claim. Notwithstanding section 502(j) of the Bankruptcy Code, in no event shall
any holder of a Claim that has been estimated pursuant to section 502(c) of the Bankruptcy Code or otherwise be
entitled to seek reconsideration of such estimation unless such holder has Filed a motion requesting the right to seek
such reconsideration on or before seven (7) days after the date on which such Claim is estimated. Each of the foregoing
Claims and objection, estimation, and resolution procedures are cumulative and not exclusive of one another. Claims
may be estimated and subsequently compromised, settled, withdrawn, or resolved by any mechanism approved by the
Bankruptcy Court.

D.       Adjustment to Claims or Interests without Objection.

         Any duplicate Claim or Interest or any Claim or Interest that has been paid, satisfied, amended, or superseded
may be adjusted or expunged on the Claims Register by the Reorganized Debtors without the Reorganized Debtors
having to File an application, motion, complaint, objection, or any other legal proceeding seeking to object to such
Claim or Interest and without any further notice to or action, order, or approval of the Bankruptcy Court.




                                                            45
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 629 of 1639
                                                                           0629


E.       Time to File Objections to Claims.

         Any objections to Claims shall be Filed on or before the later of (a) one-hundred-eighty (180) days after the
Effective Date and (b) such other period of limitation as may be specifically fixed by the Debtors or the Reorganized
Debtors, as applicable, or by a Final Order of the Bankruptcy Court for objecting to such claims.

F.       Reservation of Rights to Object to Claims.

          The failure of the Debtors or the Reorganized Debtors, as applicable, to object to any Claim shall not be
construed as an admission to the validity or amount of any such Claim, any portion thereof, or any other claim related
thereto, whether or not such claim is asserted in any currently pending or subsequently initiated proceeding, and shall
be without prejudice to the right of the Debtors or the Reorganized Debtors, as applicable, to contest, challenge the
validity of, or otherwise defend against any such claim in the Bankruptcy Court or non-bankruptcy forum.

G.       Disputed and Contingent Claims Reserve.

          On or after the Effective Date, the Debtors or the Reorganized Debtors, as applicable, shall establish one or
more reserves (including the Convenience Claim Distribution Reserve) for Claims that are contingent or have not yet
been Allowed, in an amount or amounts as reasonably determined by the Debtors or Reorganized Debtors, as
applicable, consistent with the Proof of Claim Filed by the applicable holder of such Disputed Claim. To the extent
that a Disputed Claim may be entitled to receive New Common Stock pursuant to the Plan, such New Common Stock
will remain authorized but unissued pending resolution of such Disputed Claim.

        Any assets held in any such reserve shall be subject to the tax rules that apply to “disputed ownership funds”
under 26 C.F.R. 1.468B–9. As such, such assets will be subject to entity-level taxation, and the Debtors and
Reorganized Debtors, as applicable, shall be required to comply with the relevant rules.

H.       Disallowance of Claims or Interests.

         Any Claims held by Entities from which property is recoverable under sections 542, 543, 550, or 553 of the
Bankruptcy Code or that is a transferee of a transfer avoidable under sections 522(f), 522(h), 544, 545, 547, 548, 549,
or 724(a) of the Bankruptcy Code, shall be deemed disallowed pursuant to section 502(d) of the Bankruptcy Code,
and holders of such Claims may not receive any distributions on account of such Claims until such time as such Causes
of Action against that Entity have been settled or a Bankruptcy Court order with respect thereto has been entered and
all sums due, if any, to the Debtors by that Entity have been turned over or paid to the Debtors or the
Reorganized Debtors.

         Except as otherwise provided herein or as agreed to by the Reorganized Debtors, any and all Proofs of
Claim Filed after the Claims Bar Date shall be deemed disallowed and expunged as of the Effective Date without
any further notice to or action, order, or approval of the Bankruptcy Court, and holders of such Claims may
not receive any distributions on account of such Claims, unless such late Proof of Claim has been deemed timely
Filed by a Final Order or otherwise allowed by order of the Bankruptcy Court.

I.       No Distributions Pending Allowance.

          Notwithstanding any other provision of the Plan, if any portion of a Claim or Interest is a Disputed Claim or
Interest, as applicable, no payment or distribution provided hereunder shall be made on account of the Disputed portion
of such Claim or Interest unless and until such Disputed portion of the Claim or Interest is Allowed.

J.       Distributions After Allowance.

          To the extent that a Disputed Claim or Interest ultimately becomes an Allowed Claim or Interest, distributions
(if any) shall be made to the holder of such Allowed Claim or Interest in accordance with the provisions of the Plan.
As soon as reasonably practicable after the date that the order or judgment of the Bankruptcy Court allowing any
Disputed Claim or Interest becomes a Final Order, the Reorganized Debtors shall provide to the holder of such Claim

                                                          46
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 630 of 1639
                                                                           0630


or Interest the distribution (if any) to which such holder is entitled under the Plan as of the Effective Date, without any
interest to be paid on account of such Claim or Interest.

K.       No Interest on Disputed Claims.

          Interest shall not accrue or be paid on any Disputed Claim with respect to the period from the Effective Date
to the date a final distribution is made on account of such Disputed Claim, if and when such Disputed Claim becomes
an Allowed Claim.

                                       ARTICLE VIII.
                 SETTLEMENT, RELEASE, INJUNCTION, AND RELATED PROVISIONS

A.       Discharge of Claims and Termination of Interests.

          Pursuant to section 1141(d) of the Bankruptcy Code, and except as otherwise specifically provided in the
Plan, or in any contract, instrument, or other agreement or document created pursuant to the Plan, the distributions,
rights, and treatment that are provided in the Plan shall be in complete satisfaction, discharge, and release, effective
as of the Effective Date, of Claims (including any Intercompany Claims resolved or compromised after the Effective
Date by the Reorganized Debtors), Interests, and Causes of Action of any nature whatsoever, including any interest
accrued on Claims or Interests from and after the Petition Date, whether known or unknown, against, liabilities of,
Liens on, obligations of, rights against, and interests in, the Debtors or any of their assets or properties, regardless of
whether any property shall have been distributed or retained pursuant to the Plan on account of such Claims and
Interests, including demands, liabilities, and Causes of Action that arose before the Effective Date, any liability
(including withdrawal liability) to the extent such Claims or Interests relate to services performed by employees of
the Debtors prior to the Effective Date and that arise from a termination of employment, any contingent or non-
contingent liability on account of representations or warranties issued on or before the Effective Date, and all debts of
the kind specified in sections 502(g), 502(h), or 502(i) of the Bankruptcy Code, in each case whether or not: (1) a
Proof of Claim or Proof of Interest based upon such debt, right, or Interest is Filed or deemed Filed pursuant to section
501 of the Bankruptcy Code; (2) a Claim or Interest based upon such debt, right, or interest is Allowed pursuant to
section 502 of the Bankruptcy Code; or (3) the holder of such a Claim or Interest has accepted the Plan. The
Confirmation Order shall be a judicial determination of the discharge of all Claims (other than the Reinstated Claims)
and Interests (other than the Intercompany Interests that are Reinstated) subject to the occurrence of the Effective Date.

B.       Release of Liens.

         Except as otherwise provided in the Exit Facilities Documents, the Plan, the Confirmation Order, or
in any contract, instrument, release, or other agreement or document created pursuant to the Plan, on the
Effective Date and concurrently with the applicable distributions made pursuant to the Plan and, in the case of
a Secured Claim, satisfaction in full of the portion of the Secured Claim that is Allowed as of the Effective Date,
except for Other Secured Claims that the Debtors elect to Reinstate in accordance with this Plan, all mortgages,
deeds of trust, Liens, pledges, or other security interests against any property of the Estates shall be fully
released and discharged, and all of the right, title, and interest of any holder of such mortgages, deeds of trust,
Liens, pledges, or other security interests shall revert to the Reorganized Debtors and their successors and
assigns; provided that no mortgage, deed of trust, Lien, pledge, or other security interest against any property
of the Estates in favor of any Allowed Secured Claim shall be released prior to satisfaction and/or payment of
such Allowed Secured Claim in full in accordance with the Plan; provided, further, that no Lien arising, whether
arising by contract or statute, from an oil and gas lease shall be terminated, discharged, or released by the Plan.
Any holder of such Secured Claim (and the applicable agents for such holder) shall be authorized and directed,
at the sole cost and expense of the Reorganized Debtors, to release any collateral or other property of any
Debtor (including any cash collateral and possessory collateral) held by such holder (and the applicable agents
for such holder), and to take such actions as may be reasonably requested by the Reorganized Debtors to
evidence the release of such Liens and/or security interests, including the execution, delivery, and filing or
recording of such releases. The presentation or filing of the Confirmation Order to or with any federal, state,
provincial, or local agency, records office, or department shall constitute good and sufficient evidence of, but
shall not be required to effect, the termination of such Liens.


                                                            47
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 631 of 1639
                                                                           0631


         To the extent that any holder of a Secured Claim that has been satisfied or discharged in full pursuant
to the Plan, or any agent for such holder, has filed or recorded publicly any Liens and/or security interests to
secure such holder’s Secured Claim, then as soon as practicable on or after the Effective Date, such holder (or
the agent for such holder) shall take any and all steps requested by the Debtors, the Reorganized Debtors, or
Exit Facilities Agent that are necessary or desirable to record or effectuate the cancellation and/or
extinguishment of such Liens and/or security interests, including the making of any applicable filings or
recordings, and the Reorganized Debtors shall be entitled to make any such filings or recordings on such
holder’s behalf.

C.      Releases by the Debtors.

         Notwithstanding anything contained in the Plan to the contrary, pursuant to section 1123(b) of the
Bankruptcy Code, in exchange for good and valuable consideration, the adequacy of which is hereby confirmed,
on and after the Effective Date, each Released Party is deemed to be, hereby conclusively, absolutely,
unconditionally, irrevocably, and forever released and discharged by the Debtors, the Reorganized Debtors,
and their Estates, in each case on behalf of themselves and their respective successors, assigns, and
representatives, and any and all other Entities who may purport to assert any Cause of Action, directly or
derivatively, by, through, for, or because of the foregoing Entities, from any and all Claims and Causes of
Action, including any derivative claims, asserted on behalf of the Debtors, whether known or unknown,
foreseen or unforeseen, matured or unmatured, existing or hereafter arising, in law, equity, contract, tort or
otherwise, that the Debtors, the Reorganized Debtors, or their Estates would have been legally entitled to assert
in their own right (whether individually or collectively) or on behalf of the holder of any Claim against, or
Interest in, a Debtor or other Entity, or that any holder of any Claim against, or Interest in, a Debtor or other
Entity could have asserted on behalf of the Debtors, based on or relating to, or in any manner arising from, in
whole or in part, the Debtors (including the capital structure, management, ownership, or operation thereof),
any security of the Debtors or the Reorganized Debtors, the subject matter of, or the transactions or events
giving rise to, any Claim or Interest that is treated in the Plan, the business or contractual arrangements
between any Debtor and any Released Party, the Revolving Credit Facility, the FLLO Term Loan Facility, the
Collateral Trust Documents, the Second Lien Notes, the assertion or enforcement of rights and remedies against
the Debtors, the Debtors’ in- or out-of-court restructuring efforts, any Avoidance Actions, intercompany
transactions between or among a Debtor and another Debtor, the Chapter 11 Cases, the formulation,
preparation, dissemination, negotiation, or Filing of the Restructuring Support Agreement, the Disclosure
Statement, the Backstop Commitment Agreement, the DIP Facility, the Exit Facilities, the Plan (including, for
the avoidance of doubt, the Plan Supplement), or any Restructuring Transaction, contract, instrument, release,
or other agreement or document (including any legal opinion requested by any Entity regarding any
transaction, contract, instrument, document or other agreement contemplated by the Plan or the reliance by
any Released Party on the Plan or the Confirmation Order in lieu of such legal opinion) created or entered into
in connection with the Restructuring Support Agreement, the Disclosure Statement, the Backstop Commitment
Agreement, the DIP Facility, the Plan, the Plan Supplement, or the Exit Facilities before or during the Chapter
11 Cases, the Filing of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of Consummation, the
administration and implementation of the Plan, including the issuance or distribution of Securities pursuant to
the Plan, or the distribution of property under the Plan or any other related agreement, or upon any other act
or omission, transaction, agreement, event, or other occurrence related or relating to any of the foregoing
taking place on or before the Effective Date, other than claims or liabilities that are not described in items 1
and 2 set forth in Article IV.A hereof arising out of or relating to any act or omission of a Released Party that
constitutes actual fraud, willful misconduct, or gross negligence, each solely to the extent as determined by a
Final Order of a court of competent jurisdiction. Notwithstanding anything to the contrary in the foregoing,
the releases set forth above do not release any post Effective Date obligations of any party or Entity under the
Plan, the Confirmation Order, any Restructuring Transaction, or any document, instrument, or agreement
(including those set forth in the Plan Supplement) executed to implement the Plan, including the Exit Facilities
Documents, or any Claim or obligation arising under the Plan.

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the Debtors’ release, which includes by reference each of the related provisions and
definitions contained in the Plan, and further, shall constitute the Bankruptcy Court’s finding that the Debtors’
release is: (a) in exchange for the good and valuable consideration provided by the Released Parties, including,

                                                       48
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 632 of 1639
                                                                           0632


without limitation, the Released Parties’ contributions to facilitating the Restructuring Transactions and
implementing the Plan; (b) a good faith settlement and compromise of the Claims released by the Debtors’
release; (c) in the best interests of the Debtors and all holders of Claims and Interests; (d) fair, equitable, and
reasonable; (e) given and made after due notice and opportunity for hearing; and (f) a bar to any of the Debtors,
the Reorganized Debtors, or the Debtors’ Estates asserting any Claim or Cause of Action released pursuant to
the debtors’ release.

D.      Releases by Holders of Claims and Interests.

         Except as otherwise expressly set forth in this Plan or the Confirmation Order, on and after the
Effective Date, in exchange for good and valuable consideration, the adequacy of which is hereby confirmed,
each Released Party is, and is deemed to be, hereby conclusively, absolutely, unconditionally, irrevocably and
forever, released and discharged by each Releasing Party from any and all Causes of Action, whether known
or unknown, foreseen or unforeseen, matured or unmatured, existing or hereafter arising, in law, equity,
contract, tort, or otherwise, including any derivative claims asserted on behalf of the Debtors, that such Entity
would have been legally entitled to assert (whether individually or collectively), based on or relating to, or in
any manner arising from, in whole or in part, the Debtors (including the capital structure, management,
ownership, or operation thereof), any security of the Debtors or the Reorganized Debtors, the subject matter
of, or the transactions or events giving rise to, any Claim or Interest that is treated in the Plan, the business or
contractual arrangements between any Debtor and any Released Party, the Revolving Credit Facility, the
FLLO Term Loan Facility, the Collateral Trust Documents, the Second Lien Notes, the assertion or
enforcement of rights and remedies against the Debtors, the Debtors’ in- or out-of-court restructuring efforts,
any Avoidance Actions, intercompany transactions between or among a Debtor and another Debtor, the
Chapter 11 Cases, the formulation, preparation, dissemination, negotiation, or Filing of the Restructuring
Support Agreement, the Disclosure Statement, the DIP Facility, the Exit Facilities, the Plan (including, for the
avoidance of doubt, the Plan Supplement), or any Restructuring Transaction, contract, instrument, release, or
other agreement or document (including any legal opinion requested by any Entity regarding any transaction,
contract, instrument, document or other agreement contemplated by the Plan or the reliance by any Released
Party on the Plan or the Confirmation Order in lieu of such legal opinion) created or entered into in connection
with the Restructuring Support Agreement, the Disclosure Statement, the DIP Facility, the Plan, the Plan
Supplement, before or during the Chapter 11 Cases, the Filing of the Chapter 11 Cases, the pursuit of
Confirmation, the pursuit of Consummation, the administration and implementation of the Plan, including the
issuance or distribution of Securities pursuant to the Plan, or the distribution of property under the Plan or
any other related agreement, or upon any other act or omission, transaction, agreement, event, or other
occurrence related or relating to any of the foregoing taking place on or before the Effective Date, other than
claims or liabilities that are not described in items 1 and 2 set forth in Article IV.A hereof arising out of or
relating to any act or omission of a Released Party other than a Debtor that constitutes actual fraud, willful
misconduct, or gross negligence, each solely to the extent as determined by a Final Order of a court of competent
jurisdiction. Notwithstanding anything to the contrary in the foregoing, the releases set forth above do not
release (i) any party of any obligations related to customary banking products, banking services or other
financial accommodations (except as may be expressly amended or modified by the Plan and the Exit Facilities
Credit Agreements, or any other financing document under and as defined therein) or (ii) any post Effective
Date obligations of any party or Entity under the Plan, the Confirmation Order, any Restructuring
Transaction, or any document, instrument, or agreement (including those set forth in the Plan Supplement)
executed to implement the Plan, including the Exit Facilities Documents, or any Claim or obligation arising
under the Plan.

          Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the third-party releases, which includes by reference each of the related provisions
and definitions contained herein, and, further, shall constitute the Bankruptcy Court’s finding that the third
party releases are: (a) consensual; (b) essential to the confirmation of the Plan; (c) given in exchange for the
good and valuable consideration provided by the Released Parties; (d) a good faith settlement and compromise
of the Claims released by the third-party releases; (e) in the best interests of the Debtors and their Estates;
(f) fair, equitable, and reasonable; (g) given and made after due notice and opportunity for hearing; and
(h) a bar to any of the Releasing Parties asserting any claim or Cause of Action released pursuant to the third-
party releases.

                                                        49
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 633 of 1639
                                                                           0633


E.      Exculpation.

         Except as otherwise specifically provided in the Plan or the Confirmation Order, no Exculpated Party
shall have or incur liability for, and each Exculpated Party is hereby released and exculpated from any Cause
of Action for any claim related to any act or omission in connection with, relating to, or arising out of, the
Chapter 11 Cases, the formulation, preparation, dissemination, negotiation, Filing, or termination of the
Restructuring Support Agreement and related prepetition transactions, the Disclosure Statement, the Plan, the
Plan Supplement, or any Restructuring Transaction, contract, instrument, release or other agreement or
document (including any legal opinion requested by any Entity regarding any transaction, contract,
instrument, document or other agreement contemplated by the Plan or the reliance by any Released Party on
the Plan or the Confirmation Order in lieu of such legal opinion) created or entered into before or during the
Chapter 11 Cases, any preference, fraudulent transfer, or other avoidance claim arising pursuant to chapter 5
of the Bankruptcy Code or other applicable law, the Filing of the Chapter 11 Cases, the pursuit of
Confirmation, the pursuit of Consummation, the administration and implementation of the Plan, including the
issuance or distribution of Securities pursuant to the Plan, or the distribution of property under the Plan or
any other related agreement, or upon any other related act or omission, transaction, agreement, event, or other
occurrence taking place on or before the Effective Date, except for claims related to any act or omission that is
determined in a Final Order by a court of competent jurisdiction to have constituted actual fraud, willful
misconduct, or gross negligence, but in all respects such Entities shall be entitled to reasonably rely upon the
advice of counsel with respect to their duties and responsibilities pursuant to the Plan.

          The Exculpated Parties and other parties set forth above have, and upon confirmation of the Plan shall
be deemed to have, participated in good faith and in compliance with the applicable laws with regard to the
solicitation of votes and distribution of consideration pursuant to the Plan and, therefore, are not, and on
account of such distributions shall not be, liable at any time for the violation of any applicable law, rule, or
regulation governing the solicitation of acceptances or rejections of the Plan or such distributions made
pursuant to the Plan.

F.      Injunction.

        Except as otherwise expressly provided in the Plan or the Confirmation Order or for obligations issued
or required to be paid pursuant to the Plan or the Confirmation Order, all Entities who have held, hold, or
may hold Claims or Interests that have been released, discharged, or are subject to exculpation are permanently
enjoined, from and after the Effective Date, from taking any of the following actions against, as applicable, the
Debtors, the Reorganized Debtors, the Exculpated Parties, or the Released Parties: (1) commencing or
continuing in any manner any action or other proceeding of any kind on account of or in connection with or
with respect to any such Claims or Interests; (2) enforcing, attaching, collecting, or recovering by any manner
or means any judgment, award, decree, or order against such Entities on account of or in connection with or
with respect to any such Claims or Interests; (3) creating, perfecting, or enforcing any encumbrance of any
kind against such Entities or the property or the Estates of such Entities on account of or in connection with or
with respect to any such Claims or Interests; (4) asserting any right of setoff, subrogation, or recoupment of
any kind against any obligation due from such Entities or against the property of such Entities on account of
or in connection with or with respect to any such Claims or Interests unless such holder has Filed a motion
requesting the right to perform such setoff on or before the Effective Date, and notwithstanding an indication
of a Claim or Interest or otherwise that such holder asserts, has, or intends to preserve any right of setoff
pursuant to applicable law or otherwise; and (5) commencing or continuing in any manner any action or other
proceeding of any kind on account of or in connection with or with respect to any such Claims or Interests
released or settled pursuant to the Plan.

         Upon entry of the Confirmation Order, all holders of Claims and Interests and their respective current
and former employees, agents, officers, directors, principals, and direct and indirect Affiliates shall be enjoined
from taking any actions to interfere with the implementation or Consummation of the Plan. Except as
otherwise set forth in the Confirmation Order, each holder of an Allowed Claim or Allowed Interest, as
applicable, by accepting, or being eligible to accept, distributions under or Reinstatement of such Claim or
Interest, as applicable, pursuant to the Plan, shall be deemed to have consented to the injunction provisions set
forth in this Article VIII.F hereof.
                                                        50
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 634 of 1639
                                                                           0634


G.       Protections Against Discriminatory Treatment.

          Consistent with section 525 of the Bankruptcy Code and the Supremacy Clause of the U.S. Constitution, no
Governmental Unit shall discriminate against the Reorganized Debtors or deny, revoke, suspend, or refuse to renew a
license, permit, charter, franchise, or other similar grant to, condition such a grant to, discriminate with respect to such
a grant against, the Reorganized Debtors, or another Entity with whom the Reorganized Debtors have been associated,
solely because each Debtor has been a debtor under chapter 11 of the Bankruptcy Code, has been insolvent before the
commencement of the Chapter 11 Cases (or during the Chapter 11 Cases but before the Debtors are granted or denied
a discharge), or has not paid a debt that is dischargeable in the Chapter 11 Cases.

H.       Recoupment.

         In no event shall any holder of Claims or Interests be entitled to recoup any Claim against any claim, right,
or Cause of Action of the Debtors or the Reorganized Debtors, as applicable, unless such holder actually has performed
such recoupment and provided notice thereof in writing to the Debtors on or before the Confirmation Date,
notwithstanding any indication in any Proof of Claim or Proof of Interest or otherwise that such holder asserts, has,
or intends to preserve any right of recoupment.

I.       Document Retention.

        On and after the Effective Date, the Reorganized Debtors may maintain documents in accordance with their
standard document retention policy, as may be altered, amended, modified, or supplemented by the
Reorganized Debtors.

J.       Reimbursement or Contribution.

          If the Bankruptcy Court disallows a Claim for reimbursement or contribution of an Entity pursuant to
section 502(e)(1)(B) of the Bankruptcy Code, then to the extent that such Claim is contingent as of the time of
allowance or disallowance, such Claim shall be forever disallowed and expunged notwithstanding section 502(j) of
the Bankruptcy Code, unless prior to the Confirmation Date: (1) such Claim has been adjudicated as non-contingent
or (2) the relevant holder of a Claim has Filed a non-contingent Proof of Claim on account of such Claim and a Final
Order has been entered prior to the Confirmation Date determining such Claim as no longer contingent.

                                        ARTICLE IX.
                     CONDITIONS PRECEDENT TO CONSUMMATION OF THE PLAN

A.       Conditions Precedent to the Effective Date.

         It shall be a condition to the Effective Date that the following conditions shall have been satisfied or waived
pursuant to the provisions of Article IX.B hereof:

         1.     the Confirmation Order shall have become a Final Order and be in form and substance acceptable to
                the Required Consenting Stakeholders and shall:

                   (a) authorize the Debtors to take all actions necessary to enter into, implement, and consummate
                       the contracts, instruments, releases, leases, indentures, and other agreements or documents
                       created in connection with the Plan;

                   (b) decree that the provisions in the Confirmation Order and the Plan are nonseverable and mutually
                       dependent;

                   (c) authorize the Debtors or the Reorganized Debtors, as applicable/necessary, to: (a) implement
                       the Restructuring Transactions, including the Rights Offering and Exit Facilities; (b) appoint
                       the directors and officers for the Reorganized Debtors; (c) issue and distribute the New
                       Common Stock in accordance with the Plan, including all shares of New Common Stock issued

                                                            51
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 635 of 1639
                                                                      0635


               by Reorganized Chesapeake to the Backstop Parties as part of the Put Option Premium and the
               unsubscribed shares of New Common Stock issued to Backstop Parties pursuant to the
               Backstop Commitment Agreement; (d) issue and distribute the Rights and subsequently issue
               and distribute New Common Stock issuable upon exercise of such; (e) execute and deliver the
               Registration Rights Agreement; (f) execute and deliver the New Warrants Agreements and
               issue and distribute the New Warrants; (g) enter into the Exit Facilities Documents; (h) take all
               other actions contemplated under the Plan (whether to occur before, on, or after the Effective
               Date); (i) approve and adopt the New Organizational Documents; (j) adopt the Management
               Incentive Plan; (k) reject, assume, or assume and assign, as applicable, Executory Contracts
               and Unexpired Leases; and (l) complete all other acts or actions contemplated or reasonably
               necessary or appropriate to promptly consummate the Restructuring Transactions contemplated
               by the Plan (whether to occur before, on, or after the Effective Date).

           (d) authorize the implementation of the Plan in accordance with its terms;

           (e) provide that, pursuant to section 1146 of the Bankruptcy Code, the assignment or surrender of
               any lease or sublease, and the delivery of any deed or other instrument or transfer order, in
               furtherance of, or in connection with the Plan, including any deeds, bills of sale, or assignments
               executed in connection with any disposition or transfer of assets contemplated under the Plan,
               shall not be subject to any stamp, real estate transfer, mortgage recording, or other similar
               tax; and

           (f) contain the release, injunction, and exculpation provisions contained in Article VIII herein; and

   2.    the Debtors shall have obtained all authorizations, consents, regulatory approvals, rulings, or
         documents that are necessary to implement and effectuate the Plan;

   3.    the Plan and the applicable documents included in the Plan Supplement, including any schedules,
         documents, and exhibits contained therein, shall have been Filed and shall be in form and substance
         reasonably acceptable to the Debtors and the Required Consenting Stakeholders in accordance with
         the consent rights contained in the Restructuring Support Agreement;

   4.    the Restructuring Support Agreement shall remain in full force and effect;

   5.    the Final Order approving the DIP Facility shall remain in full force and effect and no event of default
         shall have occurred and be continuing thereunder;

   6.    the Backstop Commitment Agreement Approval Order and Backstop Commitment Agreement shall
         have been entered and remain in full force and effect;

   7.    all Allowed Professional Claims approved by the Bankruptcy Court shall have been paid in full or
         amounts sufficient to pay such Allowed Professional Claims after the Effective Date have been placed
         in the Professional Fee Escrow Account pending approval of the Professional Claims by the
         Bankruptcy Court, all fees and expenses payable pursuant to Article IV.U shall have been paid in full,
         and all fees and expenses of the DIP Agent, Revolving Credit Facility Administrative Agent, and the
         Collateral Trustee payable pursuant to the DIP Order shall have been paid in full;

   8.    the payments required to be made pursuant to the terms of Article IV.U of the Plan shall have
         been paid;

   9.    the New Organizational Documents with respect to the Reorganized Debtors shall be in full force and
         effect and be in form and substance reasonably acceptable to the Required Consenting Stakeholders;

   10.   the Exit Facilities Documents shall be in full force and effect (with the Conditions Precedent to the
         Exit Facilities having been met, satisfied, or waived) and, subject to any post-closing execution and

                                                   52
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 636 of 1639
                                                                           0636


                delivery requirements provided for in the Exit Facilities Documents, be in form and substance
                acceptable to the Required Consenting Stakeholders (such approval not to be withheld in bad faith;
                provided that the terms set forth in the Exit Facilities Term Sheet shall be deemed acceptable to the
                Required Consenting Stakeholders); and

         11.    The Minimum Liquidity Condition, the Total Leverage Condition, and the PDP PV-10 Test Ratio
                Condition shall have been met, satisfied, or waived.

          For the avoidance of doubt, if the Minimum Liquidity Condition, the Total Leverage Condition, and/or the
PDP PV-10 Test Ratio Condition would not otherwise be satisfied, the Required Plan Sponsors may agree, in their
sole discretion, to increase the Rights Offering amount above $600 million on the same terms, including the Rights
Offering Value and with an allocation consistent with the Backstop Allocations, in order to enable such conditions to
be satisfied; provided that no Backstop Party’s Backstop Commitment may be increased without its consent.

B.       Waiver of Conditions.

          Any one or more of the conditions to Consummation (or component thereof) set forth in this Article IX may
be waived by the Debtors with the prior written consent of the Required Consenting Stakeholders (with the exception
of the condition precedent specified in Section IX.A.4, not to be withheld unreasonably), without notice, leave, or
order of the Bankruptcy Court or any formal action other than proceedings to confirm or consummate the Plan.

C.       Effect of Failure of Conditions.

         If Consummation does not occur as to any Debtor, the Plan shall be null and void in all respects as to such
Debtor and nothing contained in the Plan, the Disclosure Statement, or Restructuring Support Agreement as to such
Debtor shall: (1) constitute a waiver or release of any Claims by the Debtors, Claims, or Interests; (2) prejudice in
any manner the rights of the Debtors, any holders of Claims or Interests, or any other Entity; or (3) constitute an
admission, acknowledgment, offer, or undertaking by the Debtors, any holders of Claims or Interests, or any
other Entity.

D.       Substantial Consummation

         “Substantial Consummation” of the Plan, as defined in 11 U.S.C. § 1101(2), shall be deemed to occur on the
Effective Date.

                                        ARTICLE X.
                   MODIFICATION, REVOCATION, OR WITHDRAWAL OF THE PLAN

A.       Modification and Amendments.

          Except as otherwise specifically provided in this Plan, upon prior notice to and with the consent of the
Required Consenting Stakeholders, the Debtors reserve the right to modify the Plan, whether such modification is
material or immaterial, and seek Confirmation consistent with the Bankruptcy Code and, as appropriate and with the
consent of the Required Consenting Stakeholders, not resolicit votes on such modified Plan. Subject to those
restrictions on modifications set forth in the Plan and the requirements of section 1127 of the Bankruptcy Code,
Rule 3019 of the Federal Rules of Bankruptcy Procedure, and, to the extent applicable, sections 1122, 1123, and 1125
of the Bankruptcy Code, each of the Debtors expressly reserves its respective rights to revoke or withdraw, or to alter,
amend, or modify the Plan with respect to such Debtor, one or more times, after Confirmation, and, to the extent
necessary may initiate proceedings in the Bankruptcy Court to so alter, amend, or modify the Plan, or remedy any
defect or omission, or reconcile any inconsistencies in the Plan, the Disclosure Statement, or the Confirmation Order,
in such matters as may be necessary to carry out the purposes and intent of the Plan.




                                                          53
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 637 of 1639
                                                                           0637


B.       Effect of Confirmation on Modifications.

          Entry of the Confirmation Order shall mean that all modifications or amendments to the Plan since the
solicitation thereof are approved pursuant to section 1127(a) of the Bankruptcy Code and do not require additional
disclosure or resolicitation under Bankruptcy Rule 3019.

C.       Revocation or Withdrawal of Plan.

         The Debtors reserve the right, upon prior notice to and with the consent of the Required Consenting
Stakeholders, to revoke or withdraw the Plan prior to the Confirmation Date and to File subsequent plans of
reorganization. If the Debtors revoke or withdraw the Plan, or if Confirmation or Consummation does not occur, then:
(1) the Plan shall be null and void in all respects; (2) any settlement or compromise embodied in the Plan (including
the fixing or limiting to an amount certain of any Claim or Interest or Class of Claims or Interests, and including any
settlement, waiver, or release of any rights of the Revolving Credit Facility Lenders under the Intercreditor Agreement
or the Collateral Trust Documents), assumption or rejection of Executory Contracts or Unexpired Leases effected
under the Plan, and any document or agreement executed pursuant to the Plan, shall be deemed null and void; and
(3) nothing contained in the Plan shall: (a) constitute a waiver or release of any Claims or Interests; (b) prejudice in
any manner the rights of such Debtor or any other Entity; or (c) constitute an admission, acknowledgement, offer, or
undertaking of any sort by such Debtor or any other Entity.

                                               ARTICLE XI.
                                        RETENTION OF JURISDICTION

          Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective Date, on and after
the Effective Date, the Bankruptcy Court shall retain exclusive jurisdiction over all matters arising out of, or relating
to, the Chapter 11 Cases and the Plan pursuant to sections 105(a) and 1142 of the Bankruptcy Code, including
jurisdiction to:

         1.     allow, disallow, determine, liquidate, classify, estimate, or establish the priority, secured or unsecured
                status, or amount of any Claim or Interest, including the resolution of any request for payment of any
                Administrative Claim and the resolution of any and all objections to the secured or unsecured status,
                priority, amount, or allowance of Claims or Interests;

         2.     decide and resolve all matters related to the granting and denying, in whole or in part, any applications
                for allowance of compensation or reimbursement of expenses to Professionals authorized pursuant to
                the Bankruptcy Code or the Plan;

         3.     resolve any matters related to: (a) the assumption, assumption and assignment, or rejection of any
                Executory Contract or Unexpired Lease to which a Debtor is party or with respect to which a Debtor
                may be liable and to hear, determine, and, if necessary, liquidate, any Claims arising therefrom,
                including Cure Claims pursuant to section 365 of the Bankruptcy Code; (b) any potential contractual
                obligation under any Executory Contract or Unexpired Lease that is assumed; (c) the Reorganized
                Debtors amending, modifying, or supplementing, after the Effective Date, pursuant to Article V
                hereof, any Executory Contracts or Unexpired Leases to the list of Executory Contracts and Unexpired
                Leases to be assumed or rejected or otherwise; and (d) any dispute regarding whether a contract or
                lease is or was executory or expired;

         4.     ensure that distributions to holders of Allowed Claims and Allowed Interests (as applicable) are
                accomplished pursuant to the provisions of the Plan;

         5.     adjudicate, decide, or resolve any motions, adversary proceedings, contested or litigated matters, and
                any other matters, and grant or deny any applications involving a Debtor that may be pending on the
                Effective Date;

         6.     adjudicate, decide, or resolve any and all matters related to section 1141 of the Bankruptcy Code;

                                                           54
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 638 of 1639
                                                                      0638


   7.    enter and implement such orders as may be necessary to execute, implement, or consummate the
         provisions of the Plan and all contracts, instruments, releases, indentures, and other agreements or
         documents created or entered into in connection with the Plan or the Disclosure Statement;

   8.    enter and enforce any order for the sale of property pursuant to sections 363, 1123, or 1146(a) of the
         Bankruptcy Code;

   9.    resolve any cases, controversies, suits, disputes, or Causes of Action that may arise in connection with
         the Consummation, interpretation, or enforcement of the Plan or any Entity’s obligations incurred in
         connection with the Plan;

   10.   issue injunctions, enter and implement other orders, or take such other actions as may be necessary to
         restrain interference by any Entity with Consummation or enforcement of the Plan;

   11.   resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the releases,
         injunctions, exculpations, and other provisions contained in Article VIII hereof and enter such orders
         as may be necessary or appropriate to implement such releases, injunctions, and other provisions;

   12.   resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the repayment or
         return of distributions and the recovery of additional amounts owed by the holder of a Claim or Interest
         for amounts not timely repaid pursuant to Article VI.K hereof;

   13.   enter and implement such orders as are necessary if the Confirmation Order is for any reason modified,
         stayed, reversed, revoked, or vacated;

   14.   determine any other matters that may arise in connection with or relate to the Plan, the Plan
         Supplement, the Disclosure Statement, the Confirmation Order, or any contract, instrument, release,
         indenture, or other agreement or document created in connection with the Plan or the Disclosure
         Statement, including the Restructuring Support Agreement;

   15.   enter an order concluding or closing the Chapter 11 Cases;

   16.   adjudicate any and all disputes arising from or relating to distributions under the Plan;

   17.   consider any modifications of the Plan, to cure any defect or omission, or to reconcile any
         inconsistency in any Bankruptcy Court order, including the Confirmation Order;

   18.   determine requests for the payment of Claims and Interests entitled to priority pursuant to section 507
         of the Bankruptcy Code;

   19.   hear and determine disputes arising in connection with the interpretation, implementation, or
         enforcement of the Plan or the Confirmation Order, including disputes arising under agreements,
         documents, or instruments executed in connection with the Plan;

   20.   hear and determine matters concerning state, local, and federal taxes in accordance with sections 346,
         505, and 1146 of the Bankruptcy Code;

   21.   hear and determine all disputes involving the obligations or terms of the Rights Offering and the
         Backstop Commitment Agreement;

   22.   hear and determine all disputes involving the existence, nature, scope, or enforcement of any
         exculpations, discharges, injunctions, and releases granted in the Plan, including under Article VIII
         hereof;

   23.   enforce all orders previously entered by the Bankruptcy Court; and

                                                   55
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 639 of 1639
                                                                           0639


         24.    hear any other matter not inconsistent with the Bankruptcy Code.

         As of the Effective Date, notwithstanding anything in this Article XI to the contrary, the New Organizational
Documents and the Exit Facilities and any documents related thereto shall be governed by the jurisdictional provisions
therein and the Bankruptcy Court shall not retain jurisdiction with respect thereto.

                                               ARTICLE XII.
                                        MISCELLANEOUS PROVISIONS

A.       Immediate Binding Effect.

         Subject to Article IX.A hereof and notwithstanding Bankruptcy Rules 3020(e), 6004(h), or 7062 or otherwise,
upon the occurrence of the Effective Date, the terms of the Plan (including, for the avoidance of doubt, the documents
and instruments contained in the Plan Supplement) shall be immediately effective and enforceable and deemed binding
upon the Debtors, the Reorganized Debtors, any and all holders of Claims or Interests (irrespective of whether such
holders of Claims or Interests have, or are deemed to have accepted the Plan), all Entities that are parties to or are
subject to the settlements, compromises, releases, discharges, and injunctions described in the Plan, each Entity
acquiring property under the Plan, and any and all non-Debtor parties to Executory Contracts and Unexpired Leases
with the Debtors.

B.       Additional Documents.

         On or before the Effective Date, the Debtors may File with the Bankruptcy Court such agreements and other
documents as may be necessary to effectuate and further evidence the terms of the Plan. The Debtors or the
Reorganized Debtors, as applicable, and all holders of Claims or Interests receiving distributions pursuant to the Plan
and all other parties in interest shall, from time to time, prepare, execute, and deliver any agreements or documents
and take any other actions as may be necessary or advisable to effectuate the provisions and intent of the Plan.

C.       Payment of Statutory Fees.

          All fees payable pursuant to section 1930(a) of the Judicial Code, as determined by the Bankruptcy Court at
a hearing pursuant to section 1128 of the Bankruptcy Code, shall be paid by each of the Reorganized Debtors for each
quarter (including any fraction thereof) until the earlier of entry of a final decree closing such Chapter 11 Cases or an
order of dismissal or conversion, whichever comes first.

D.       Statutory Committee and Cessation of Fee and Expense Payment.

         On the Confirmation Date, any statutory committee appointed in the Chapter 11 Cases shall dissolve and
members thereof shall be released and discharged from all rights and duties from or related to the Chapter 11 Cases.
The Reorganized Debtors shall no longer be responsible for paying any fees or expenses incurred by the members of
or advisors to any statutory committees after the Confirmation Date.

E.       Reservation of Rights.

          Except as expressly set forth in the Plan, the Plan shall have no force or effect unless the Bankruptcy Court
shall enter the Confirmation Order, and the Confirmation Order shall have no force or effect if the Effective Date does
not occur. None of the Filing of the Plan, any statement or provision contained in the Plan, or the taking of any action
by any Debtor with respect to the Plan, the Disclosure Statement, or the Plan Supplement shall be or shall be deemed
to be an admission or waiver of any rights of any Debtor with respect to the holders of Claims or Interests prior to the
Effective Date.




                                                           56
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 640 of 1639
                                                                           0640


F.       Successors and Assigns.

          The rights, benefits, and obligations of any Entity named or referred to in the Plan shall be binding on, and
shall inure to the benefit of any heir, executor, administrator, successor or assign, Affiliate, officer, manager, director,
agent, representative, attorney, beneficiaries, or guardian, if any, of each Entity.

G.       Notices.

         All notices, requests, and demands to or upon the Debtors to be effective shall be in writing (including by
facsimile transmission) and, unless otherwise expressly provided herein, shall be deemed to have been duly given or
made when actually delivered or, in the case of notice by facsimile transmission, when received and telephonically
confirmed, addressed as follows:

                     Debtors                                                 Counsel to the Debtors
 Chesapeake Energy Corporation                             Kirkland & Ellis LLP
 6100 North Western Avenue                                 300 North LaSalle Street
 Oklahoma, Oklahoma 73118                                  Chicago, Illinois 60654
 Attention: James R. Webb                                  Attention: Patrick J. Nash, Jr., P.C., Marc Kieselstein,
                                                           P.C., and Alexandra Schwarzman

                                                           and

                                                           Jackson Walker LLP
                                                           1401 McKinney Street, Suite 1900
                                                           Houston, Texas 77010
                                                           Attention: Matthew D. Cavenaugh, Jennifer F. Wertz,
                                                           Kristhy M. Peguero, and Veronica A. Polnick
               United States Trustee                               Counsel to the Consenting DIP Lenders
 Office of The United States Trustee                       Sidley Austin LLP
 515 Rusk Street, Suite 3516                               555 West Fifth Street
 Houston, Texas 77002                                      Los Angeles, CA 90013
                                                           Attention: Jennifer C. Hagle and Brian E. Minyard
    Counsel to the Consenting Revolving Credit
                                                                      Counsel to the FLLO Ad Hoc Group
                  Facility Lenders
 Sidley Austin LLP                                         Davis Polk & Wardwell LLP
 555 West Fifth Street                                     450 Lexington Avenue
 Los Angeles, CA 90013                                     New York, New York 10017
 Attention: Jennifer C. Hagle and Brian E. Minyard         Attention: Damian S. Schaible, Darren S. Klein, and Aryeh
                                                           Ethan Falk
               Counsel to Franklin
 Akin Gump Strauss Hauer & Feld LLP
 One Bryant Park
 Bank of America Tower
 New York, New York 10036
 Attention: Michael S. Stamer, Meredith A. Lahaie,
 and Stephen B. Kuhn




                                                            57
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 641 of 1639
                                                                           0641


          After the Effective Date, the Reorganized Debtors have the authority to send a notice to Entities that to
continue to receive documents pursuant to Bankruptcy Rule 2002, such Entity must File a renewed request to receive
documents pursuant to Bankruptcy Rule 2002. After the Effective Date, the Reorganized Debtors are authorized to
limit the list of Entities receiving documents pursuant to Bankruptcy Rule 2002 to those Entities who have Filed such
renewed requests.

H.       Term of Injunctions or Stays.

         Unless otherwise provided in the Plan or in the Confirmation Order, all injunctions or stays in effect in the
Chapter 11 Cases pursuant to sections 105 or 362 of the Bankruptcy Code or any order of the Bankruptcy Court, and
extant on the Confirmation Date (excluding any injunctions or stays contained in the Plan or the Confirmation Order)
shall remain in full force and effect until the Effective Date. All injunctions or stays contained in the Plan or the
Confirmation Order shall remain in full force and effect in accordance with their terms.

I.       Entire Agreement.

         Except as otherwise indicated, the Plan supersedes all previous and contemporaneous negotiations, promises,
covenants, agreements, understandings, and representations on such subjects, all of which have become merged and
integrated into the Plan.

J.       Plan Supplement.

           All exhibits and documents included in the Plan Supplement are incorporated into and are a part of the Plan
as if set forth in full in the Plan. After the exhibits and documents are Filed, copies of such exhibits and documents
shall be available upon written request to the Debtors’ counsel at the address above or by downloading such exhibits
and documents from the Debtors’ restructuring website at https://dm.epiq11.com/chesapeake or the Bankruptcy
Court’s website at www.txs.uscourts.gov/bankruptcy. To the extent any exhibit or document is inconsistent with the
terms of the Plan, unless otherwise ordered by the Bankruptcy Court, the Plan Supplement exhibit or document shall
control (unless stated otherwise in such Plan Supplement document or in the Confirmation Order).

K.       Nonseverability of Plan Provisions.

          If, prior to Confirmation, any term or provision of the Plan is held by the Bankruptcy Court to be invalid,
void, or unenforceable, the Bankruptcy Court shall have the power to alter and interpret such term or provision to
make it valid or enforceable to the maximum extent practicable, consistent with the original purpose of the term or
provision held to be invalid, void, or unenforceable, and such term or provision shall then be applicable as altered or
interpreted. Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms and provisions
of the Plan will remain in full force and effect and will in no way be affected, impaired, or invalidated by such holding,
alteration, or interpretation. The Confirmation Order shall constitute a judicial determination and shall provide that
each term and provision of the Plan, as it may have been altered or interpreted in accordance with the foregoing, is:
(1) valid and enforceable pursuant to its terms; (2) integral to the Plan and may not be deleted or modified without the
Debtors’ or Reorganized Debtors’ consent, as applicable; and (3) nonseverable and mutually dependent.

L.       Votes Solicited in Good Faith.

         Upon entry of the Confirmation Order, the Debtors will be deemed to have solicited votes on the Plan in
good faith and in compliance with section 1125(g) of the Bankruptcy Code, and pursuant to section 1125(e) of the
Bankruptcy Code, the Debtors and each of their respective Affiliates, agents, representatives, members, principals,
shareholders, officers, directors, employees, advisors, and attorneys will be deemed to have participated in good faith
and in compliance with the Bankruptcy Code in the offer, issuance, sale, and purchase of Securities offered and sold
under the Plan and any previous plan, and, therefore, neither any of such parties or individuals or the Reorganized
Debtors will have any liability for the violation of any applicable law, rule, or regulation governing the solicitation of
votes on the Plan or the offer, issuance, sale, or purchase of the Securities offered and sold under the Plan and any
previous plan.



                                                           58
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 642 of 1639
                                                                           0642


M.       Closing of Chapter 11 Cases.

          Upon the occurrence of the Effective Date, the Reorganized Debtors shall be permitted to close all of the
Chapter 11 Cases except for the Chapter 11 Case of Chesapeake, and all contested matters and adversary proceedings
relating to each of the Debtors, including objections to Claims, shall be administered and heard in the Chapter 11 Case
of Chesapeake; provided that for purposes of sections 546 and 550 of the Bankruptcy Code, the Chapter 11 Cases
shall be deemed to remain open until the Chapter 11 Case of Chesapeake has been closed.

         When all Disputed Claims have become Allowed or disallowed and all remaining Cash has been distributed
in accordance with the Plan, the Reorganized Debtors shall seek authority from the Bankruptcy Court to close the
Chapter 11 Case of Chesapeake in accordance with the Bankruptcy Code and the Bankruptcy Rules.

N.       Waiver or Estoppel.

          Each holder of a Claim or an Interest shall be deemed to have waived any right to assert any argument,
including the right to argue that its Claim or Interest should be Allowed in a certain amount, in a certain priority,
secured or not subordinated by virtue of an agreement made with the Debtors or their counsel, or any other Entity, if
such agreement was not disclosed in the Plan, the Disclosure Statement, or papers Filed with the Bankruptcy Court
prior to the Confirmation Date.

O.       Creditor Default.

         An act or omission by a holder of a Claim or an Interest in contravention of the provisions of this Plan shall
be deemed an event of default under this Plan. Upon an event of default, the Reorganized Debtors may seek to hold
the defaulting party in contempt of the Confirmation Order and shall be entitled to reasonable attorneys’ fees and costs
of the Reorganized Debtors in remedying such default. Upon the finding of such a default by a creditor, the
Bankruptcy Court may: (a) designate a party to appear, sign and/or accept the documents required under the Plan on
behalf of the defaulting party, in accordance with Bankruptcy Rule 7070; (b) enforce the Plan by order of specific
performance; (c) award judgment against such defaulting creditor in favor of the Reorganized debtor in an amount,
including interest, to compensate the Reorganized Debtors for the damages caused by such default; and (d) make such
other order as may be equitable that does not materially alter the terms of the Plan.




                                                          59
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 643 of 1639
                                                                        0643


Dated: January 12, 2021             CHESAPEAKE ENERGY CORPORATION

                                    on behalf of itself and all other Debtors




                                    /s/ Domenic J. Dell’Osso, Jr.
                                    Domenic J. Dell’Osso, Jr.
                                    Executive Vice President and Chief Financial Officer




                                    60
      Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 644 of 1639
                                                                            0644


                                IN THE UNITED STATES BANKRUPTCY COURT
                                      SOUTHERN DISTRICT OF TEXAS
                                           HOUSTON DIVISION

                                                             )
    In re:                                                   )    Chapter 11
                                                             )
    CHESAPEAKE ENERGY CORPORATION, et al.,1                  )    Case No. 20-33233 (DRJ)
                                                             )
                              Debtors.                       )    (Jointly Administered)
                                                             )

              FOURIFTH AMENDED JOINT CHAPTER 11 PLAN OF REORGANIZATION
             OF CHESAPEAKE ENERGY CORPORATION AND ITS DEBTOR AFFILIATES

JACKSON WALKER L.L.P.                                                 KIRKLAND & ELLIS LLP
Matthew D. Cavenaugh (TX Bar No. 24062656)                            KIRKLAND & ELLIS INTERNATIONAL LLP
Jennifer F. Wertz (TX Bar No. 24072822)                               Patrick J. Nash, Jr., P.C. (admitted pro hac vice)
Kristhy M. Peguero (TX Bar No. 24102776)                              Marc Kieselstein, P.C. (admitted pro hac vice)
Veronica A. Polnick (TX Bar No. 24079148)                             Alexandra Schwarzman (admitted pro hac vice)
1401 McKinney Street, Suite 1900                                      300 North LaSalle Street
Houston, Texas 77010                                                  Chicago, Illinois 60654
Telephone:        (713) 752-4200                                      Telephone:      (312) 862-2000
Facsimile:        (713) 752-4221                                      Facsimile:      (312) 862-2200
Email:            mcavenaugh@jw.com                                   Email:          patrick.nash@kirkland.com
                  jwertz@jw.com                                                       marc.kieselstein@kirkland.com
                  kpeguero@jw.com                                                     alexandra.schwarzman@kirkland.com
                  vpolnick@jw.com

Co-Counsel to the Debtors                                             Co-Counsel to the Debtors
and Debtors in Possession                                             and Debtors in Possession

Dated: December 27, 2020January 12, 2021




1      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
       proposed claims and noticing agent at https://dm.epiq11.com/chesapeake. The location of Debtor Chesapeake
       Energy Corporation’s principal place of business and the Debtors’ service address in these chapter 11 cases is
       6100 North Western Avenue, Oklahoma City, Oklahoma 73118.
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 645 of 1639
                                                                           0645


                                                              TABLE OF CONTENTS


ARTICLE I. DEFINED TERMS, RULES OF INTERPRETATION, COMPUTATION OF TIME, AND
              GOVERNING LAW ......................................................................................................................... 1
      A.      Defined Terms. ................................................................................................................................. 1
      B.      Rules of Interpretation. ................................................................................................................... 17
      C.      Computation of Time. ..................................................................................................................... 17
      D.      Governing Law. .............................................................................................................................. 18
      E.      Reference to Monetary Figures. ...................................................................................................... 18
      F.      Reference to the Debtors or the Reorganized Debtors. ................................................................... 18
      G.      Controlling Document. .................................................................................................................... 18
      H.      Consultation, Information, Notice, and Consent Rights.................................................................. 18

ARTICLE II. ADMINISTRATIVE CLAIMS, DIP CLAIMS, AND PRIORITY CLAIMS ...................................... 19
      A.      Administrative Claims. ................................................................................................................... 19
      B.      DIP Claims. ..................................................................................................................................... 20
      C.      Priority Tax Claims. ........................................................................................................................ 21
      D.      Statutory Fees. ................................................................................................................................. 21

ARTICLE III. CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS ..................................... 21
      A.       Classification of Claims and Interests. ............................................................................................ 21
      B.       Treatment of Claims and Interests. ................................................................................................. 22
      C.       Special Provision Governing Unimpaired Claims. ......................................................................... 25
      D.       Elimination of Vacant Classes. ....................................................................................................... 25
      E.       Voting Classes, Presumed Acceptance by Non-Voting Classes. .................................................... 25
      F.       Intercompany Interests. ................................................................................................................... 25
      G.       Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy Code. ................. 26
      H.       Controversy Concerning Impairment. ............................................................................................. 26
      I.       Subordinated Claims and Interests. ................................................................................................. 26

ARTICLE IV. MEANS FOR IMPLEMENTATION OF THE PLAN ........................................................................ 26
      A.     General Settlement of Claims and Interests. ................................................................................... 26
      B.     Restructuring Transactions.............................................................................................................. 27
      C.     Midstream Savings Requirement. ................................................................................................... 27
      D.     Reorganized Debtors. ...................................................................................................................... 27
      E.     Sources of Consideration for Plan Distributions. ............................................................................ 28
      F.     Convenience Claim Distribution Reserve. ...................................................................................... 30
      G.     Corporate Existence. ....................................................................................................................... 30
      H.     Vesting of Assets in the Reorganized Debtors. ............................................................................... 30
      I.     Cancellation of Existing Securities and Agreements. ..................................................................... 31
      J.     Corporate Action. ............................................................................................................................ 32
      K.     New Organizational Documents. .................................................................................................... 32
      L.     Indemnification Obligations............................................................................................................ 33
      M.     Directors and Officers of the Reorganized Debtors. ....................................................................... 33
      N.     Effectuating Documents; Further Transactions. .............................................................................. 33
      O.     Section 1146 Exemption. ................................................................................................................ 34
      P.     Director and Officer Liability Insurance. ........................................................................................ 34
      Q.     Management Incentive Plan. ........................................................................................................... 34
      R.     Employee Benefits. ......................................................................................................................... 35
      S.     Preservation of Causes of Action. ................................................................................................... 35
      T.     Preservation of Royalty and Working Interests. ............................................................................. 36
      U.     Resolution of Pending Litigation. ................................................................................................... 36
      V.     Payment of Certain Fees. ................................................................................................................ 37


                                                                                i
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 646 of 1639
                                                                           0646


ARTICLE V. TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES .............................. 37
      A.     Assumption and Rejection of Executory Contracts and Unexpired Leases. ................................... 37
      B.     Claims Based on Rejection of Executory Contracts or Unexpired Leases. ..................................... 38
      C.     Cure of Defaults for Assumed Executory Contracts and Unexpired Leases. .................................. 38
      D.     Preexisting Obligations to the Debtors Under Executory Contracts and Unexpired Leases. .......... 39
      E.     Insurance Policies. .......................................................................................................................... 39
      F.     Reservation of Rights. ..................................................................................................................... 40
      G.     Nonoccurrence of Effective Date. ................................................................................................... 40
      H.     Contracts and Leases Entered Into After the Petition Date. ............................................................ 40

ARTICLE VI. PROVISIONS GOVERNING DISTRIBUTIONS .............................................................................. 40
      A.      Timing and Calculation of Amounts to Be Distributed................................................................... 40
      B.      Delivery of Distributions and Undeliverable or Unclaimed Distributions. ..................................... 41
      C.      Manner of Payment. ........................................................................................................................ 42
      D.      Exemption from Securities Laws. ................................................................................................... 42
      E.      Compliance with Tax Requirements. .............................................................................................. 43
      F.      Allocations. ..................................................................................................................................... 43
      G.      No Postpetition or Default Interest on Claims. ............................................................................... 43
      H.      Foreign Currency Exchange Rate. .................................................................................................. 43
      I.      Setoffs and Recoupment. ................................................................................................................ 43
      J.      No Double Payment of Claims. ...................................................................................................... 44
      K.      Claims Paid or Payable by Third Parties. ........................................................................................ 44

ARTICLE VII. PROCEDURES FOR RESOLVING CONTINGENT, UNLIQUIDATED, AND
              DISPUTED CLAIMS ..................................................................................................................... 45
      A.      Allowance of Claims. ...................................................................................................................... 45
      B.      Claims Administration Responsibilities. ......................................................................................... 45
      C.      Estimation of Claims. ...................................................................................................................... 45
      D.      Adjustment to Claims or Interests without Objection. .................................................................... 45
      E.      Time to File Objections to Claims. ................................................................................................. 46
      F.      Reservation of Rights to Object to Claims. ..................................................................................... 46
      G.      Disputed and Contingent Claims Reserve. ...................................................................................... 46
      H.      Disallowance of Claims or Interests................................................................................................ 46
      I.      No Distributions Pending Allowance. ............................................................................................. 46
      J.      Distributions After Allowance. ....................................................................................................... 46
      K.      No Interest on Disputed Claims. ..................................................................................................... 47

ARTICLE VIII. SETTLEMENT, RELEASE, INJUNCTION, AND RELATED PROVISIONS .............................. 47
      A.       Discharge of Claims and Termination of Interests. ......................................................................... 47
      B.       Release of Liens. ............................................................................................................................ 47
      C.       Releases by the Debtors. ............................................................................................................... 48
      D.       Releases by Holders of Claims and Interests. ............................................................................. 49
      E.       Exculpation. ................................................................................................................................... 50
      F.       Injunction....................................................................................................................................... 50
      G.       Protections Against Discriminatory Treatment. .............................................................................. 51
      H.       Recoupment. ................................................................................................................................... 51
      I.       Document Retention. ...................................................................................................................... 51
      J.       Reimbursement or Contribution. ..................................................................................................... 51

ARTICLE IX. CONDITIONS PRECEDENT TO CONSUMMATION OF THE PLAN ........................................... 51
      A.      Conditions Precedent to the Effective Date. ................................................................................... 51
      B.      Waiver of Conditions. ..................................................................................................................... 53
      C.      Effect of Failure of Conditions. ...................................................................................................... 53
      D.      Substantial Consummation ............................................................................................................. 53


                                                                                ii
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 647 of 1639
                                                                           0647


ARTICLE X. MODIFICATION, REVOCATION, OR WITHDRAWAL OF THE PLAN ....................................... 53
      A.     Modification and Amendments. ...................................................................................................... 53
      B.     Effect of Confirmation on Modifications. ....................................................................................... 54
      C.     Revocation or Withdrawal of Plan. ................................................................................................. 54

ARTICLE XI. RETENTION OF JURISDICTION ..................................................................................................... 54

ARTICLE XII. MISCELLANEOUS PROVISIONS .................................................................................................. 56
      A.      Immediate Binding Effect. .............................................................................................................. 56
      B.      Additional Documents. ................................................................................................................... 56
      C.      Payment of Statutory Fees. ............................................................................................................. 56
      D.      Statutory Committee and Cessation of Fee and Expense Payment. ................................................ 56
      E.      Reservation of Rights. ..................................................................................................................... 56
      F.      Successors and Assigns. .................................................................................................................. 57
      G.      Notices. ........................................................................................................................................... 57
      H.      Term of Injunctions or Stays. .......................................................................................................... 58
      I.      Entire Agreement. ........................................................................................................................... 58
      J.      Plan Supplement. ............................................................................................................................ 58
      K.      Nonseverability of Plan Provisions. ................................................................................................ 58
      L.      Votes Solicited in Good Faith. ........................................................................................................ 58
      M.      Closing of Chapter 11 Cases. .......................................................................................................... 59
      N.      Waiver or Estoppel.......................................................................................................................... 59
      O.      Creditor Default. ............................................................................................................................. 59




                                                                                 iii
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 648 of 1639
                                                                           0648


                                                  INTRODUCTION

         Chesapeake Energy Corporation and the above-captioned debtors and debtors in possession (collectively,
the “Debtors”), propose this joint chapter 11 plan of reorganization (as modified, amended, or supplemented from
time to time, the “Plan”) for the resolution of the outstanding claims against, and equity interests in, the Debtors.
Although proposed jointly for administrative purposes, the Plan constitutes a separate Plan for each Debtor. Holders
of Claims or Interests may refer to the Disclosure Statement for a discussion of the Debtors’ history, business, assets,
results of operations, historical financial information, risk factors, a summary and analysis of this Plan, the
Restructuring Transactions, and certain related matters. Each of the Debtors is a proponent of the Plan within the
meaning of section 1129 of the Bankruptcy Code.

      ALL HOLDERS OF CLAIMS, TO THE EXTENT APPLICABLE, ARE ENCOURAGED TO READ THE
PLAN AND THE DISCLOSURE STATEMENT IN THEIR ENTIRETY BEFORE VOTING TO ACCEPT OR
REJECT THE PLAN.

                                             ARTICLE I.
                              DEFINED TERMS, RULES OF INTERPRETATION,
                             COMPUTATION OF TIME, AND GOVERNING LAW

A.       Defined Terms.

         As used in this Plan, capitalized terms have the meanings set forth below.

         1.       “1145 Securities” has the meaning set forth in Article IV.E.1 of the Plan.

         2.       “4(a)(2) Securities” has the meaning set forth in Article IV.E.1 of the Plan.

          3.      “Administrative Claim” means a Claim for costs and expenses of administration of the Chapter 11
Cases pursuant to sections 503(b), 507(a)(2), 507(b), or 1114(e)(2) of the Bankruptcy Code, including: (a) the actual
and necessary costs and expenses incurred on or after the Petition Date until and including the Effective Date of
preserving the Estates and operating the Debtors’ business; (b) Allowed Professional Claims; (c) DIP Claims;
(d) Adequate Protection Super-Priority Claims (as defined in the Final DIP Order) (if any); (e) Royalty and Working
Interests Administrative Claims; (f) all fees and charges assessed against the Estates pursuant to section 1930 of
chapter 123 of title 28 of the United States Code; and (g) as approved by the Backstop Commitment Agreement
Approval Order, including the priority and payment subordination provisions described in paragraph 7 thereof, the
Put Option Premium.

         4.      “Administrative Claims Bar Date” means the deadline for Filing requests for payment of
Administrative Claims, which shall be 30 days after the Effective Date; provided, however, that the deadline for Filing
requests for payment of Royalty and Working Interests Administrative Claims shall be 120 days after the
Effective Date.

         5.        “Affiliate” has the meaning set forth in section 101(2) of the Bankruptcy Code. With respect to any
Person that is not a Debtor, the term “Affiliate” shall apply to such Person as if the Person were a Debtor.

         6.        “Agent” means any administrative agent, collateral agent, collateral trustee, or similar Entity under
the Exit Facilities, the DIP Facility, the Revolving Credit Facility, the Collateral Agreement, the Collateral Trust
Agreement, and/or the FLLO Term Loan Facility.

          7.       “Allowed” means, with respect to any Claim or Interest, except as otherwise provided herein: (a) a
Claim or Interest in a liquidated amount as to which no objection has been Filed prior to the applicable claims objection
deadline and that is evidenced by a Proof of Claim or Interest, as applicable, timely Filed by the applicable Bar Date
or that is not required to be evidenced by a Filed Proof of Claim or Interest, as applicable, under the Plan, the
Bankruptcy Code, or a Final Order; (b) a Claim or Interest that is scheduled by the Debtors as neither Disputed,
contingent, nor unliquidated, and for which no Proof of Claim or Interest, as applicable, has been timely Filed in an

                                                           1
   Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 649 of 1639
                                                                         0649


unliquidated or a different amount; (c) a Claim or Interest that is upheld or otherwise Allowed (i) pursuant to the Plan;
(ii) in any stipulation that is approved by the Bankruptcy Court; (iii) pursuant to any contract, instrument, indenture,
or other agreement entered into or assumed in connection herewith; or (iv) by Final Order (including any such Claim
to which the Debtors had objected or which the Bankruptcy Court had disallowed prior to such Final Order); provided
that with respect to a Claim or Interest described in clauses (a) through (c) above, such Claim or Interest shall be
considered Allowed only if and to the extent that with respect to such Claim or Interest no objection to the allowance
thereof has been or, in the Debtors’ or Reorganized Debtors’ reasonable good faith judgment, may be interposed
within the applicable period of time fixed by the Plan, the Bankruptcy Code, the Bankruptcy Rules, or the Bankruptcy
Court, or such an objection is so interposed and the Claim or Interest, as applicable, shall have been Allowed by a
Final Order; provided, further, that no Claim of any Entity subject to section 502(d) of the Bankruptcy Code shall be
deemed Allowed unless and until such Entity pays in full the amount that it owes such Debtor or Reorganized Debtor,
as applicable. Any Claim that has been or is hereafter listed in the Schedules as contingent, unliquidated, or Disputed,
and for which no Proof of Claim or Interest is or has been timely Filed, is not considered Allowed and shall be deemed
expunged without further action by the Debtors and without further notice to any party or action, approval, or order
of the Bankruptcy Court. For the avoidance of doubt a Proof of Claim or Interest Filed after the Bar Date shall not be
Allowed for any purposes whatsoever absent entry of a Final Order allowing such late-Filed Claim. “Allow,”
“Allowing,” and “Allowance” shall have correlative meanings.

          8.      “Alternative Securities Exchange” means, excluding any National Securities Exchange, any other
securities exchange or over-the-counter quotation system, including, without limitation, the NYSE MKT, the Nasdaq
Capital Market, any quotation or other listing service provided by the OTC Markets Group or the Financial Industry
Regulatory Authority, Inc., any “pink sheet” or other alternative listing service, or any successor or substantially
equivalent service to any of the foregoing.

        9.       “Assumed Executory Contracts and Unexpired Leases Schedule” means the schedule of Executory
Contracts and Unexpired Leases to be assumed by the Debtors pursuant to the Plan, which shall be included in the
Plan Supplement, as the same may be amended, modified, or supplemented from time to time.

         10.      “Avoidance Actions” means any and all actual or potential avoidance, recovery, subordination, or
other Claims, Causes of Action, or remedies that may be brought by or on behalf of the Debtors or their Estates or
other authorized parties in interest under the Bankruptcy Code or applicable non-bankruptcy law, including Claims,
Causes of Action, or remedies under sections 502, 510, 542, 544, 545, 547 through 553, and 724(a) of the Bankruptcy
Code or under similar local, state, federal, or foreign statutes and common law, including fraudulent transfer laws.

        11.       “Backstop” means the several and not joint backstop in full of the Rights Offering by the
Backstop Parties pursuant to the Backstop Commitment Agreement.

         12.      “Backstop Allocations” has the meaning set forth in Article IV.E.1 of the Plan.

         13.     “Backstop Commitment Agreement” means that certain Backstop Commitment Agreement, dated as
of June 28, 2020, by and between Chesapeake and the Backstop Parties, as may be further amended, modified, or
supplemented from time to time, in accordance with its terms.

        14.      “Backstop Commitment Agreement Approval Order” means the Order (I) Authorizing Entry into the
Backstop Commitment Agreement, (II) Approving the Payment of Fees and Expenses Related Thereto, and (III)
Granting Related Relief entered by the Bankruptcy Court on August 21, 2020 at CM/ECF No. 899 in the
Chapter 11 Cases.

         15.     “Backstop Parties” means the members of the FLLO Ad Hoc Group and Franklin that are signatories
to the Backstop Commitment Agreement.

         16.      “Backstop Party Rights” means the non-certificated rights that will enable the holders thereof to
purchase shares of New Common Stock at an aggregate purchase price of $150 million at a price per share to be
determined based on a 35 percent discount to the equity value per share of New Common Stock, post new-money, as
implied by a Plan total enterprise value of $3.25 billion.

                                                           2
    Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 650 of 1639
                                                                          0650


         17.       “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101–1532, as amended.

         18.       “Bankruptcy Court” means the United States Bankruptcy Court for the Southern District of Texas.

         19.     “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure promulgated under
section 2075 of the Judicial Code and the general, local, and chambers rules of the Bankruptcy Court, each, as
amended from time to time.

         20.      “Bar Date” means the date established by the Bankruptcy Court by which Proofs of Claim or Proofs
of Interest must be Filed with respect to such Claims or Interests, other than Administrative Claims, Claims held by
Governmental Units, or other Claims or Interests for which the Bankruptcy Court entered an order excluding the
holders of such Claims or Interests from the requirement of Filing Proofs of Claim or Proofs of Interest.

         21.      “Business Day” means any day other than a Saturday, Sunday, or other day on which commercial
banks are authorized to close under the laws of, or are in fact closed in, the State of New York.

        22.       “Cash” means cash in legal tender of the United States of America and cash equivalents, including
bank deposits, checks, and other similar items.

          23.       “Cause of Action” or “Causes of Action” means any claims, interests, damages, remedies, causes of
action, demands, rights, actions, suits, obligations, liabilities, accounts, defenses, offsets, powers, privileges, licenses,
Liens, indemnities, guaranties, and franchises of any kind or character whatsoever, whether known or unknown,
foreseen or unforeseen, existing or hereinafter arising, contingent or non-contingent, liquidated or unliquidated,
secured or unsecured, assertable, directly or derivatively, matured or unmatured, suspected or unsuspected, in contract,
tort, law, equity, or otherwise. Causes of Action also include: (a) all rights of setoff, counterclaim, or recoupment and
claims under contracts or for breaches of duties imposed by law; (b) the right to object to or otherwise contest Claims
or Interests; (c) claims pursuant to sections 362, 510, 542, 543, 544 through 550, or 553 of the Bankruptcy Code; and
(d) such claims and defenses as fraud, mistake, duress, and usury, and any other defenses set forth in section 558 of
the Bankruptcy Code.

          24.      “Chapter 11 Cases” means (a) when used with reference to a particular Debtor, the case pending
for that Debtor under chapter 11 of the Bankruptcy Code in the Bankruptcy Court and (b) when used with reference
to all the Debtors, the procedurally consolidated chapter 11 cases pending for the Debtors in the Bankruptcy Court.

        25.       “Chesapeake” means Chesapeake Energy Corporation or any successor or assign, by merger,
consolidation, or otherwise, prior to the Effective Date.

        26.        “Claim” means any claim, as defined in section 101(5) of the Bankruptcy Code, against any of
the Debtors.

          27.      “Claims and Balloting Agent” means Epiq Corporate Restructuring, LLC, the notice, claims, and
solicitation agent retained by the Debtors in the Chapter 11 Cases.

         28.     “Claims Register” means the official register of Claims maintained by the Claims and
Balloting Agent.

         29.      “Class” means a class of Claims or Interests as set forth in Article III of the Plan pursuant to
section 1122(a) of the Bankruptcy Code.

         30.       “CM/ECF” means the Bankruptcy Court’s Case Management and Electronic Case Filing system.

        31.   “Collateral Agreement” means that certain Collateral Agreement dated December 19, 2019 by and
between MUFG Union Bank, N.A., as collateral trustee, Chesapeake, and certain of the other Debtors.



                                                             3
   Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 651 of 1639
                                                                         0651


        32.     “Collateral Trust Agreement” means that certain Collateral Trust Agreement dated
December 19, 2019 by and between MUFG Union Bank, N.A., as collateral trustee and revolver agent, and GLAS
USA LLC, as original term loan agent, and as acknowledged and agreed by certain of the Debtors (as from time to
time amended and restated).

          33.      “Collateral Trust Documents” means collectively, the Collateral Agreement, the Collateral Trust
Agreement, and any and all other agreements, documents, and instruments delivered or entered into in connection
therewith, including any guarantee agreements, pledge and collateral agreements, intercreditor agreements, and other
security documents (including any amendments, restatements, supplements, or modifications of any of the foregoing),
related to or executed in connection with the Collateral Agreement and the Collateral Trust Agreement.

         34.     “Collateral Trustee” means MUFG Union Bank, N.A., in its capacity as collateral trustee under the
Collateral Agreement and the Collateral Trust Agreement.

          35.       “Conditions Precedent to the Effective Date” means the conditions precedent to the Effective Date
set forth in Article IX.A of the Plan.

         36.       “Conditions Precedent to the Exit Facilities” means the conditions precedent to the closing of the
Exit Facilities identified on Exhibit D to the Exit Facilities Term Sheet.

        37.      “Confirmation” means the Bankruptcy Court’s entry of the Confirmation Order on the docket of the
Chapter 11 Cases.

        38.     “Confirmation Date” means the date upon which the Bankruptcy Court enters the
Confirmation Order on the docket of the Chapter 11 Cases, within the meaning of Bankruptcy Rules 5003 and 9021.

          39.      “Confirmation Hearing” means the hearing to be held by the Bankruptcy Court on confirmation of
the Plan, pursuant to Bankruptcy Rule 3020(b)(2) and sections 1128 and 1129 of the Bankruptcy Code, as such hearing
may be continued from time to time.

         40.      “Confirmation Order” means the order of the Bankruptcy Court confirming the Plan pursuant to
section 1129 of the Bankruptcy Code.

         41.     “Consenting DIP Lenders” means those certain DIP Lenders that are or have become parties to the
Restructuring Support Agreement.

        42.       “Consenting FLLO Term Loan Facility Lenders” means those certain FLLO Term Loan Facility
Lenders that are or have become parties to the Restructuring Support Agreement.

        43.       “Consenting Revolving Credit Facility Lenders” means those certain Revolving Credit Facility
Lenders that are or have become parties to the Restructuring Support Agreement.

          44.     “Consenting Second Lien Noteholders” means Second Lien Noteholders, investment advisors
thereto, sub-advisors thereto, or managers of discretionary accounts belonging to Second Lien Noteholders that are or
have become parties to the Restructuring Support Agreement.

        45.      “Consenting Stakeholders” means collectively, the Consenting DIP Lenders, the Consenting
Revolving Credit Facility Lenders, the Consenting FLLO Term Loan Facility Lenders, and the Consenting Second
Lien Noteholders.

        46.       “Consenting Unsecured Noteholders” means Unsecured Noteholders, investment advisors thereto,
sub-advisors thereto, or managers of discretionary accounts belonging to Unsecured Noteholders that are or have
become parties to the Restructuring Support Agreement.

         47.      “Consummation” means the occurrence of the Effective Date as to the applicable Debtor.

                                                         4
   Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 652 of 1639
                                                                         0652


          48.       “Convenience Claim” means any Allowed General Unsecured Claim (i) that is Allowed in an
amount greater than $0 but less than or equal to $1,000,000.00; and (ii) for which the holder of such Claim irrevocably
elects via a Convenience Claim Election Form to have such Claim treated as a Convenience Claim (upon Allowance)
for the purposes of the Plan, in full and final satisfaction of such Claim; provided that a holder of a General Unsecured
Claim in excess of $1,000,000.00 may irrevocably elect via a Convenience Claim Election Form to have such Claim
irrevocably reduced to $1,000,000.00 and treated as a Convenience Claim (upon Allowance) for the purposes of the
Plan, in full and final satisfaction of such Claim.

         49.     “Convenience Claim Election Form” means the form to be distributed by the Claims and Balloting
Agent to each holder of a General Unsecured Claim as soon as reasonably practicable after the Effective Date.

        50.      “Convenience Claim Distribution” means each Convenience Claim’s Pro Rata share of
$10,000,000.00, which Pro Rata share shall not exceed 5 percent of such Convenience Claim.

        51.     “Convenience Claim Distribution Reserve” means an interest bearing account funded by the
Reorganized Debtors with Cash on the Effective Date in an amount equal to $10,000,000.00.

         52.        “Cure Claim” means a Claim (unless waived or modified by the applicable counterparty) based
upon the Debtors’ defaults on an Executory Contract or Unexpired Lease at the time such Executory Contract or
Unexpired Lease is assumed by the Debtors pursuant to section 365 of the Bankruptcy Code, other than with respect
to a default that is not required to be cured under section 365(b)(2) of the Bankruptcy Code.

         53.      “D&O Liability Insurance Policies” means all insurance policies issued to or providing coverage at
any time to any of the Debtors for directors’, managers’, and officers’ liability existing as of the Petition Date
(including any “tail policy”) and all agreements, documents, or instruments relating thereto.

          54.      “Definitive Documents” means, without limitation, the following documents: (a) the Plan and its
exhibits, ballots, and solicitation procedures; (b) the Confirmation Order; (c) the Disclosure Statement; (d) the
Disclosure Statement Order; (e) the First Day Pleadings and all orders sought pursuant thereto; (f) the Plan
Supplement; (g) the DIP Order, DIP Credit Agreement, and any and all other DIP Documents and related
documentation; (h) the Backstop Commitment Agreement, Backstop Commitment Agreement Approval Order, Rights
Offering Procedures, Registration Rights Agreement and any and all documentation required to implement, issue, and
distribute the New Common Stock; (i) the New Warrants Agreements; (j) the Exit Facilities Documents and related
documentation; (k) the Management Incentive Plan; (l) the New Organizational Documents and all other documents
or agreements for the governance of Reorganized Chesapeake, including the list of directors of Reorganized
Chesapeake and any certificates of incorporation and shareholders’ agreements or supplements as may be reasonably
necessary or advisable to implement the Restructuring Transactions; and (m) such other agreements and
documentation reasonably desired or necessary to consummate and document the transactions contemplated by
the Plan.

        55.      “DIP Agent” means MUFG Union Bank, N.A., in its capacity as administrative agent and collateral
agent under the DIP Credit Agreement.

         56.      “DIP Agent Fees and Expenses” has the meaning ascribed to such term in the DIP Order.

          57.       “DIP Claims” means all Claims derived from, based upon, or secured pursuant to the DIP Credit
Agreement or DIP Order, including Claims for all principal amounts outstanding, interest, fees, expenses, costs,
professional fee reimbursements, transaction fees, Superpriority Hedge Claims, and other charges arising thereunder
or related thereto, in each case, with respect to the DIP Facility; provided that any Adequate Protection Super-Priority
Claims (as defined in the Final DIP Order), including such Claims granted in respect of the Revolving Credit Facility,
FLLO Term Loan Facility, or Second Lien Notes authorized in the DIP Order, shall not be DIP Claims.




                                                           5
   Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 653 of 1639
                                                                         0653


          58.      “DIP Credit Agreement” means that certain Senior Secured Super-Priority Debtor-In-Possession
Credit Agreement dated July 1, 2020, between Chesapeake Energy Corporation, as borrower, the Debtor guarantors
that are party thereto, the DIP Lenders, and the DIP Agent (as may be amended, supplemented, or otherwise modified
from time to time).

         59.      “DIP Documents” means collectively, the DIP Credit Agreement and any and all other agreements,
documents, and instruments delivered or entered into in connection therewith, including any guarantee agreements,
pledge and collateral agreements, intercreditor agreements, and other security documents (including any amendments,
restatements, supplements, or modifications of any of the foregoing), related to or executed in connection with the
DIP Credit Agreement.

        60.    “DIP Facility” means that certain debtor-in-possession financing facility documented pursuant to
the DIP Documents and DIP Order.

         61.      “DIP Lenders” means the lenders party to the DIP Credit Agreement.

         62.      “DIP Order” means collectively, the Interim DIP Order and the Final DIP Order.

        63.        “Disclosure Statement” means the disclosure statement for the Plan, including all exhibits and
schedules thereto.

        64.       “Disclosure Statement Order” means an order of the Bankruptcy Court approving the Disclosure
Statement, the Solicitation Materials, and the solicitation of the Plan.

          65.       “Disputed” means, as to a Claim or an Interest, any Claim or Interest: (a) that is not Allowed;
(b) that is not disallowed by the Plan, the Bankruptcy Code, or a Final Order, as applicable; (c) as to which a dispute
is being adjudicated by a court of competent jurisdiction in accordance with non-bankruptcy law; (d) that is Filed in
the Bankruptcy Court and not withdrawn, as to which a timely objection or request for estimation has been Filed; and
(e) with respect to which a party in interest has Filed a Proof of Claim or otherwise made a written request to a Debtor
for payment, without any further notice to or action, order, or approval of the Bankruptcy Court.

         66.       “Distribution Record Date” means, other than with respect to publicly held Securities, the record
date for purposes of making distributions under the Plan on account of Allowed Claims, which date shall be on or
before the Effective Date. For the avoidance of doubt, no distribution record date shall apply to holders of
public Securities, including the Second Lien Notes and the Unsecured Notes.

         67.      “DTC” means the Depository Trust Company.

          68.      “Effective Date” means, as to the applicable Debtor, the date that is the first Business Day on which
(a) no stay of the Confirmation Order is in effect and (b) all Conditions Precedent to the Effective Date have been
satisfied or waived in accordance with Article IX.B of the Plan. Any action to be taken on the Effective Date may be
taken on or as soon as reasonably practicable thereafter.

         69.      “Entity” has the meaning set forth in section 101(15) of the Bankruptcy Code.

         70.       “Estate” means as to each Debtor, the estate created for such Debtor in its Chapter 11 Case pursuant
to section 541 of the Bankruptcy Code upon the commencement of such Debtor’s Chapter 11 Case.

        71.       “Exchange Act” means the Securities Exchange Act of 1934, 15 U.S.C. § 78a, et seq., as amended
from time to time, and the rules and regulations promulgated thereunder.




                                                           6
   Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 654 of 1639
                                                                         0654


         72.       “Exculpated Parties” means, collectively, and in each case in its capacity as such: (a) the Debtors;
(b) any official committees appointed in the Chapter 11 Cases and each of their respective members; (c) the DIP
Lenders; (d) the Exit Facilities Lenders; (e) the Consenting Revolving Credit Facility Lenders; (f) the Consenting
FLLO Term Loan Facility Lenders; (g) the Consenting Second Lien Noteholders; (h) the Consenting Unsecured
Noteholders; (i) the Agents; (j) each Trustee; (k) the Backstop Parties; and (l) with respect to each of the foregoing,
such Entity and its current and former Affiliates, and such Entity’s and its current and former Affiliates’ current and
former equity holders, subsidiaries, participants, officers, directors, managers, principals, members, employees,
agents, advisory board members, financial advisors, partners, attorneys, accountants, investment bankers, consultants,
representatives, and other professionals, each in their capacity as such.

         73.     “Executory Contract” means a contract to which one or more of the Debtors is a party and that is
subject to assumption or rejection under section 365 of the Bankruptcy Code.

         74.      “Existing Equity Interest” means an Interest in Chesapeake Energy Corporation existing as of the
Petition Date.

       75.        “Existing RBL Adequate Protection Payments” has the meaning ascribed to such term in the
DIP Order.

         76.      “Exit Facilities” means collectively, the Exit RBL Facility and Exit FLLO Term Loan Facility.

         77.        “Exit Facilities Agent” means MUFG Union Bank, N.A., in its capacity as administrative agent for
the Exit Facilities.

          78.      “Exit Facilities Credit Agreements” means those certain credit agreements that will govern the Exit
Facilities (as each may be amended, supplemented, or otherwise modified from time to time), in each case which shall
be consistent with the Exit Facilities Term Sheet.

          79.     “Exit Facilities Documents” means, collectively, the Exit Facilities Credit Agreements, and any and
all other agreements, documents, and instruments delivered or to be entered into in connection therewith, including
any amendments to existing loan or other finance documentation, any guarantee agreements, pledge and collateral
agreements, intercreditor agreements, and other security documents, in each case if any, the form and substance of
which shall be consistent with the Exit Facilities Term Sheet.

         80.      “Exit Facilities Lenders” means the lenders party to the Exit Facilities Credit Agreements.

       81.       “Exit Facilities Loans” means collectively, the Tranche A RBL Exit Facility Loans, the Tranche B
RBL Exit Facility Loans, and the Exit FLLO Term Loans.

          82.      “Exit Facilities Term Sheet” means the term sheet setting forth the material terms of the Exit
Facilities, attached as Exhibit 3 to the Restructuring Term Sheet.

       83.    “Exit FLLO Term Loan” means term loans made under and on the terms set forth under the Exit
FLLO Term Loan Facility.

         84.        “Exit FLLO Term Loan Facility” means the term loan facility to be provided in accordance with the
terms set forth in the Exit Facilities Term Sheet.

          85.      “Exit RBL Facility” means the revolving credit facility to be provided in accordance with the terms
set forth in the Exit Facilities Term Sheet.

         86.      “Federal Judgment Rate” means the federal judgment rate in effect as of the Petition Date.

        87.       “File,” “Filed,” or “Filing” means file, filed, or filing with the Bankruptcy Court or its authorized
designee in the Chapter 11 Cases.

                                                          7
   Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 655 of 1639
                                                                         0655


        88.       “Final DIP Order” means the Final Order (I) Authorizing The Debtors To Obtain Postpetition
Financing, (II) Authorizing The Debtors To Use Cash Collateral, (III) Granting Liens And Providing Claims With
Superpriority Administrative Expense Status, (IV) Granting Adequate Protection To The Existing Secured Parties,
(V) Modifying The Automatic Stay, And (VI) Granting Related Relief entered by the Bankruptcy Court on July 31, 2020
at CM/ECF No. 597 in the Chapter 11 Cases.

          89.      “Final Order” means an order or judgment of the Bankruptcy Court, or court of competent
jurisdiction with respect to the subject matter that has not been reversed, stayed, modified, or amended, as entered on
the docket in any Chapter 11 Case or the docket of any court of competent jurisdiction, and as to which the time to
appeal, or seek certiorari or move for a new trial, reargument, or rehearing has expired and no appeal or petition for
certiorari or other proceedings for a new trial, reargument, or rehearing has been timely taken, or as to which any
appeal that has been taken or any petition for certiorari that has been or may be timely Filed has been withdrawn or
resolved by the highest court to which the order or judgment was appealed or from which certiorari was sought or the
new trial, reargument, or rehearing will have been denied, resulted in no stay pending appeal of such order, or has
otherwise been dismissed with prejudice; provided that the possibility that a motion under Rule 60 of the Federal
Rules of Civil Procedure, or any analogous rule under the Bankruptcy Rules, may be Filed with respect to such order
will not preclude such order from being a Final Order.

          90.      “First Day Pleadings” means the pleadings and related documentation requesting certain emergency
relief, or supporting the request for such relief, Filed by the Debtors on or around the Petition Date and heard at the
“first day” hearing.

        91.     “FLLO Ad Hoc Group” means the ad hoc group of FLLO Term Loan Facility Lenders represented
by Davis Polk & Wardwell LLP.

         92.      “FLLO Professionals” means the FLLO Term Loan Facility Administrative Agent’s professionals
(including Arnold & Porter Kaye Scholer LLP and one local counsel in the relevant jurisdiction), the Collateral
Trustee’s professionals (including Paul Hastings LLP), and the FLLO Ad Hoc Group’s professionals (including Davis
Polk & Wardwell LLP, Vinson & Elkins LLP, one local counsel in each other relevant local jurisdiction, and Perella
Weinberg Partners LP).

         93.       “FLLO Rights” means the non-certificated rights that will enable the holders thereof to purchase
shares of New Common Stock at an aggregate purchase price of $382.5 million at a price per share to be determined
based on a 35 percent discount to the equity value per share of New Common Stock, post new-money, as implied by
a Plan total enterprise value of $3.25 billion.

        94.     “FLLO Term Loan Facility” means the facility outstanding under the FLLO Term Loan Facility
Credit Agreement.

         95.      “FLLO Term Loan Facility Administrative Agent” means GLAS USA LLC, in its capacity as
administrative agent for the FLLO Term Loan Facility.

         96.      “FLLO Term Loan Facility Claim” means any Claim on account of the FLLO Term Loan Facility.

         97.      “FLLO Term Loan Facility Credit Agreement” means that certain Term Loan Agreement, dated as
of December 19, 2019 ((i) as supplemented by that certain Class A Term Loan Supplement, dated as of
December 19, 2019 (as amended, restated or otherwise modified from time to time), by and among Chesapeake, as
borrower, the Debtor guarantors party thereto, the FLLO Term Loan Facility Administrative Agent, and the lender
parties thereto, and (ii) as further amended, restated, or otherwise modified from time to time), by and among
Chesapeake, as borrower, the Debtor guarantors party thereto, the FLLO Term Loan Facility Administrative Agent,
and the lenders party thereto.

        98.     “FLLO Term Loan Facility Lenders” means lenders party to the FLLO Term Loan Facility
Credit Agreement.



                                                          8
   Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 656 of 1639
                                                                         0656


        99.       “Franklin” means Franklin Advisers, Inc., as investment manager on behalf of certain funds
and accounts.

         100.    “General Unsecured Claim” means any Claim against any Debtor that is not otherwise paid in full
during the Chapter 11 Cases pursuant to an order of the Bankruptcy Court and is not an Administrative Claim, a
Priority Tax Claim, an Other Priority Claim, an Other Secured Claim, a Revolving Credit Facility Claim, a FLLO
Term Loan Facility Claim, a Second Lien Notes Claim, an Unsecured Notes Claim, an Intercompany Claim, or a
Section 510(b) Claim.

         101.     “Governmental Unit” has the meaning set forth in section 101(27) of the Bankruptcy Code.

         102.     “Impaired” means with respect to a Class of Claims or Interests, a Class of Claims or Interests that
is impaired within the meaning of section 1124 of the Bankruptcy Code.

         103.      “Insurance Policies” means all insurance policies, including all D&O Liability Insurance Policies,
that have been issued at any time or provide coverage, benefits or proceeds to any of the Debtors (or their predecessors)
and all agreements, documents or instruments relating thereto.

          104.     “Insurer” means any company or other Entity that issued or entered into an Insurance Policy, any
third party administrator of or for any Insurance Policy, and any respective predecessors, successors and/or affiliates
of any of the foregoing.

          105.    “Intercompany Claim” means any Claim held by a Debtor or an Affiliate against a Debtor or an
Affiliate of a Debtor.

         106.     “Intercompany Interest” means an Interest in a Debtor held by a Debtor or an Affiliate of a Debtor.

         107.     “Intercreditor Agreement” means that certain Intercreditor Agreement dated as of
December 19, 2019 by and between MUFG Union Bank, N.A., as Priority Lien Agent, and the Second Lien Notes
Trustee, and as acknowledged and agreed by certain of the Debtors (as from time to time amended and restated).

        108.     “Interest” means any equity security (as defined in section 101(16) of the Bankruptcy Code) in any
Debtor and any other rights, options, warrants, stock appreciation rights, phantom stock rights, restricted stock units,
redemption rights, repurchase rights, convertible, exercisable or exchangeable Securities or other agreements,
arrangements or commitments of any character relating to, or whose value is related to, any such interest or other
ownership interest in any Debtor.

        109.      “Interim DIP Order” means the Interim Order (I) Authorizing The Debtors To Obtain Postpetition
Financing, (II) Authorizing The Debtors To Use Cash Collateral, (III) Granting Liens And Providing Claims With
Superpriority Administrative Expense Status, (IV) Granting Adequate Protection To The Existing Secured Parties,
(V) Modifying The Automatic Stay, (VI) Scheduling A Final Hearing, and (VII) Granting Related Relief entered by the
Bankruptcy Court on June 29, 2020 at CM/ECF No. 128 in the Chapter 11 Cases.

          110.    “Judicial Code” means title 28 of the United States Code, 28 U.S.C. §§ 1–4001, as amended from
time to time.

         111.     “Lien” has the meaning set forth in section 101(37) of the Bankruptcy Code.

         112.     “Management Incentive Plan” has the meaning set forth in Article IV.Q of the Plan.

         113.     “Minimum Liquidity Condition” means the Condition Precedent to the Effective Date that provides
that the Debtors shall have minimum liquidity, including unrestricted cash on hand and availability under the Exit
RBL Facility, of at least $500 million.



                                                           9
   Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 657 of 1639
                                                                         0657


        114.    “National Securities Exchange” means The New York Stock Exchange, The Nasdaq Global Select
Market, or The Nasdaq Global Market.

          115.      “New Board” means the board of directors of Reorganized Chesapeake that shall be appointed in
accordance with the terms of the governance term sheet attached as Exhibit 6 to the Restructuring Term Sheet. The
identities of directors on the New Board shall be set forth in the Plan Supplement, to the extent known.

         116.     “New Class A Warrants” means warrants to purchase 10 percent of the New Common Stock (after
giving effect to the Rights Offering, but subject to dilution by the Management Incentive Plan, the New Class B
Warrants, and the New Class C Warrants), with a term of 5 years at an initial exercise price per share struck at the
equity value of Reorganized Chesapeake, post new-money, implied by a total enterprise value of $4.0 billion.

         117.      “New Class B Warrants” means warrants to purchase 10 percent of the New Common Stock (after
giving effect to the Rights Offering, but subject to dilution by the Management Incentive Plan and the New Class C
Warrants), with a term of 5 years at an initial exercise price per share struck at the equity value of Reorganized
Chesapeake, post new-money, implied by a total enterprise value of $4.5 billion.

          118.      “New Class C Warrants” means warrants to purchase 10 percent of the New Common Stock (after
giving effect to the Rights Offering, but subject to dilution by the Management Incentive Plan), with a term of 5 years
at an initial exercise price per share struck at the equity value of Reorganized Chesapeake, post new-money, implied
by a total enterprise value of $5.0 billion.

       119.     “New Common Stock” means the single class of common stock to be issued by Reorganized
Chesapeake on the Effective Date on terms acceptable to the Required Plan Sponsors.

         120.     “New Organizational Documents” means the amended and restated or new charters, bylaws,
operating agreements, or other organizational documents of Reorganized Chesapeake and the other Reorganized
Debtors, as applicable and in form and substance satisfactory to the Required Plan Sponsors.

       121.    “New Warrants” means collectively, the New Class A Warrants, the New Class B Warrants, and the
New Class C Warrants.

          122.      “New Warrants Agreements” means the documents or agreements governing the New Warrants,
Filed with the Plan Supplement, which will be consistent in all material respects with the terms of this Plan and shall
at all times be in form and substance reasonably acceptable to the Required Plan Sponsors and the Consenting Second
Lien Noteholders holding at least 66.67% of the aggregate outstanding principal amount of the Second Lien Notes
Claims that are held by the Consenting Second Lien Noteholders.

          123.      “Other Priority Claim” means any Claim other than an Administrative Claim or a Priority Tax Claim
entitled to priority in right of payment under section 507(a) of the Bankruptcy Code.

         124.  “Other Secured Claim” means any Secured Claim other than a DIP Claim, Revolving Credit Facility
Claim, a FLLO Term Loan Facility Claim, or a Second Lien Notes Claim.

         125.       “PDP PV-10 Ratio” means the ratio of (a) the total present value of the future net revenues expected
with respect to the oil and gas properties of the Debtors discounted at 10% per annum, calculated in accordance with
the Exit Facilities Term Sheet to (b) consolidated indebtedness under the Exit Credit Facilities and any other secured
debt of Chesapeake as of the closing date of the Exit Credit Facilities.

         126.     “PDP PV-10 Test Ratio Condition” means the Condition Precedent to the Effective Date that
provides that the Debtors shall have a PDP PV-10 Ratio no less than 1.5x.

         127.     “Person” has the meaning set forth in section 101(41) of the Bankruptcy Code.

         128.     “Petition Date” means the date on which the Debtors commenced the Chapter 11 Cases.

                                                          10
   Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 658 of 1639
                                                                         0658


         129.     “Plan Securities” has the meaning set forth in Article IV.E.1 of the Plan.

         130.     “Plan Supplement” means the compilation of documents and forms of documents, term sheets,
agreements, schedules, and exhibits to the Plan (in each case, as may be altered, amended, modified, or supplemented
from time to time in accordance with the terms hereof and in accordance with the Bankruptcy Code and Bankruptcy
Rules) to be Filed prior on or before November 23, 2020, and any additional documents Filed prior to the Effective
Date as amendments to the Plan Supplement, including the following, as applicable: (a) the New Organizational
Documents; (b) to the extent known, the identities of the members of the New Board; (c) the Assumed Executory
Contracts and Unexpired Leases Schedule; (d) the Rejected Executory Contracts and Unexpired Leases Schedule;
(e) the Schedule of Retained Causes of Action; (f) a summary of the material terms of the Exit Facilities, which may
include the Exit Facilities Term Sheet; (g) the definitive documentation related to the Management Incentive Plan;
(h) the Restructuring Transactions Memorandum; (i) the New Warrants Agreements; and (j) the Registration
Rights Agreement.

         131.     “Priority Tax Claim” means any Claim of a Governmental Unit of the kind specified in
section 507(a)(8) of the Bankruptcy Code.

          132.    “Pro Rata” means the proportion that an Allowed Claim or an Allowed Interest in a particular Class
bears to the aggregate amount of Allowed Claims or Allowed Interests in that Class, unless otherwise indicated;
provided that, as used in Article III.B.6 and III.B.7, “Pro Rata” means the proportion that an Allowed Unsecured
Notes Claim or Allowed General Unsecured Claim, as appropriate, bears to the aggregate amount of Allowed
Unsecured Notes Claims and Allowed General Unsecured Claims that are not Convenience Claims; provided, further,
that for the purpose of calculating the aggregate Allowed Unsecured Notes Claims and aggregate Allowed General
Unsecured Claims for purposes of determining each Allowed Unsecured Notes Claim’s and Allowed General
Unsecured Claim’s Pro Rata distribution, each Allowed Unsecured Notes Claim and Allowed General Unsecured
Claim shall be counted once, notwithstanding the number of Debtors against which such claim may be asserted;
provided, further, that for the purpose of calculating the Convenience Claim Distribution pursuant to Article III.B.7
of the Plan, “Pro Rata” means the proportion that the amount of a Convenience Claim bears to the aggregate amount
of Convenience Claims.

         133.     “Professional” means an Entity: (a) employed pursuant to a Bankruptcy Court order in accordance
with sections 327, 328, 363, or 1103 of the Bankruptcy Code and to be compensated for services rendered prior to or
on the Confirmation Date, pursuant to sections 327, 328, 329, 330, 331, and 363 of the Bankruptcy Code; or
(b) awarded compensation and reimbursement by the Bankruptcy Court pursuant to section 503(b)(4) of the
Bankruptcy Code.

        134.     “Professional Claim” means a Claim by a professional seeking an award by the Bankruptcy Court
of compensation for services rendered or reimbursement of expenses incurred through and including the Confirmation
Date under sections 330, 331, 503(b)(2), 503(b)(3), 503(b)(4), or 503(b)(5) of the Bankruptcy Code.

          135.      “Professional Fee Amount” means the aggregate amount of Professional Claims and other unpaid
fees and expenses that the Professionals estimate they have incurred or will incur in rendering services to the Debtors
as set forth in Article II.A.2(c) of the Plan.

        136.     “Professional Fee Escrow Account” means an interest-bearing account funded by the Reorganized
Debtors with Cash on the Effective Date in an amount equal to the Professional Fee Amount.

         137.    “Proof of Claim” means a proof of Claim Filed against any of the Debtors in the Chapter 11 Cases
by the Claims Bar Date or the applicable Administrative Claims Bar Date, as applicable.

        138.     “Proof of Interest” means a proof of Interest Filed against any of the Debtors in the
Chapter 11 Cases.




                                                          11
    Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 659 of 1639
                                                                          0659


         139.     “Put Option Premium” means a nonrefundable aggregate fee of $60 million, which represents
10 percent of the Rights Offering Amount, payable to the Backstop Parties in accordance with, and subject to the
terms of, the Backstop Commitment Agreement based on their respective Backstop commitment percentages at the
time such payment is made.

         140.      “Registration Rights Agreement” means the registration rights agreement pursuant to which each
Backstop Party shall be entitled to registration rights with respect to its shares of New Common Stock, its New
Warrants, and its shares of New Common Stock underlying its New Warrants to be entered into as of the Effective
Date. The Registration Rights Agreement will provide (among other provisions) that, after the Effective Date, at any
time Reorganized Chesapeake is not required to file public reports with the SEC, Reorganized Chesapeake shall
continue to file such public reports on EDGAR as a voluntary filer, unless approved by the holders of a majority of
the outstanding New Common Stock.

        141.       “Reinstate,” “Reinstated,” or “Reinstatement” means with respect to Claims and Interests, that the
Claim or Interest shall not be discharged hereunder and the holder’s legal, equitable, and contractual rights on account
of such Claim or Interest shall remain unaltered by Consummation in accordance with section 1124(1) of the
Bankruptcy Code.

         142.    “Rejected Executory Contracts and Unexpired Leases Schedule” means the schedule of Executory
Contracts and Unexpired Leases to be rejected by the Debtors pursuant to the Plan, which schedule shall be included
in the Plan Supplement, as the same may be amended, modified, or supplemented from time to time; provided that
such schedule shall be in form and substance acceptable to the Required Consenting Stakeholders.

         143.       “Released Parties” means, collectively, and in each case in its capacity as such: (a) each Debtor;
(b) each Reorganized Debtor; (c) each of the Debtors’ current and former directors and officers; (d) each DIP Lender;
(e) each Agent; (f) each Trustee; (g) the Consenting Revolving Credit Facility Lenders; (h) the Consenting FLLO
Term Loan Facility Lenders; (i) the Consenting Second Lien Noteholders; (j) the Consenting Unsecured Noteholders;
(k) the Exit Facilities Lenders; (l) the Backstop Parties; (m) all holders of Interests; and (n) with respect to each of the
foregoing (a) through (m), each of such Entity and its current and former Affiliates, and such Entities’ and their current
and former Affiliates’ current and former members, directors, managers, officers, equity holders (regardless of
whether such interests are held directly or indirectly), predecessors, successors and assigns, subsidiaries, participants,
and each of their respective current and former members, equity holders, officers, directors, managers, principals,
members, employees, agents, advisory board members, financial advisors, partners, attorneys, accountants, investment
bankers, consultants, representatives, and other professionals, each in their capacity as such; provided that in each
case, an Entity shall not be a Released Party if it: (x) elects to opt out of the releases contained in the Plan; or (y) timely
Files with the Bankruptcy Court on the docket of the Chapter 11 Cases an objection to the releases contained in the
Plan that is not resolved before Confirmation.

          144.     “Releasing Parties” means, collectively, and in each case in its capacity as such: (a) each Debtor;
(b) each Reorganized Debtor; (c) each DIP Lender; (d) each Agent; (e) each Trustee; (f) the Consenting Revolving
Credit Facility Lenders; (g) the Consenting FLLO Term Loan Facility Lenders; (h) the Consenting Second Lien
Noteholders; (i) the Consenting Unsecured Noteholders; (j) the Exit Facilities Lenders; (k) the Backstop Parties; (l) all
holders of Claims; (m) all holders of Interests; (n) with respect to each of the foregoing (a) through (m), such Entity
and its current and former Affiliates, and such Entities’ and their current and former Affiliates’ current and former
members, directors, managers, officers, equity holders (regardless of whether such interests are held directly or
indirectly), predecessors, successors and assigns, subsidiaries, participants, and each of their respective current and
former members, equity holders, officers, directors, managers, principals, members, employees, agents, advisory
board members, financial advisors, partners, attorneys, accountants, investment bankers, consultants, representatives,
and other professionals, in each case, solely in their respective capacities as such with respect to such Entity and solely
to the extent such Entity has the authority to bind such Affiliate in such capacity; provided that in each case, an Entity
shall not be a Releasing Party if it: (x) elects to opt out of the releases contained in the Plan; or (y) timely Files with
the Bankruptcy Court on the docket of the Chapter 11 Cases an objection to the releases contained in the Plan that is
not resolved before Confirmation.

        145.     “Removal Deadline” means the deadline by which the Debtors may remove actions pursuant to
28 U.S.C. § 1452 and Bankruptcy Rule 9027, as amended by the Removal Extension Order.
                                                              12
   Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 660 of 1639
                                                                         0660


       146.    “Removal Extension Order” means the Order (I) Extending the Time Within Which the Debtors May
Remove Actions and (II) Granting Related Relief entered by the Bankruptcy Court on September 25, 2020 at
CM/ECF No. 1231 in the Chapter 11 Cases.

         147.     “Reorganized Debtors” means collectively, a Debtor, or any successor or assign thereto, by merger,
consolidation, or otherwise, on and after the Effective Date, including any new entity established in connection with
the implementation of the Restructuring Transactions.

         148.   “Reorganized Chesapeake” means the new entity which shall be incorporated in the State of
Delaware and will be the successor or assign to Chesapeake, by merger, consolidation, or otherwise, on or after the
Effective Date.

        149. “Required Consenting DIP Lenders” means Consenting DIP Lenders holding at least 51% of the
aggregate Revolving DIP Loan Commitments under the DIP Facility that are held by Consenting DIP Lenders.

         150.     “Required Consenting Revolving Credit Facility Lenders” means Consenting Revolving Credit
Facility Lenders holding at least 51% of the aggregate outstanding principal amount of the Revolving Credit Facility
Claims that are held by Consenting Revolving Credit Facility Lenders.

        151.    “Required Consenting Stakeholders” means the Required Consenting DIP Lenders, the Required
Consenting Revolving Credit Facility Lenders, and the Required Plan Sponsors.

         152.   “Required Plan Sponsors” means the Backstop Parties holding FLLO Term Loan Facility Claims
and commitments to Backstop the Rights Offering such that the Required Plan Sponsors Percentage exceeds
66 2/3 percent.

         153.     “Required Plan Sponsors Percentage” means a fraction, expressed as a percentage, (a) the
numerator of which shall be the sum of (i) the aggregate outstanding principal amount of FLLO Term Loan Facility
Claims that are held by the relevant Backstop Parties and (ii) the percentage of the Backstop ascribed to the relevant
Backstop Parties (as set forth in the Backstop Commitment Agreement) multiplied by the Rights Offering Amount;
and (b) the denominator of which shall be the sum of (i) the aggregate outstanding principal amount of FLLO Term
Loan Facility Claims that are held by all of the Backstop Parties and (ii) the Rights Offering Amount.

         154.      “Restructuring Expenses” means any reasonable and documented unpaid fees and expenses incurred
on or before the Effective Date by the FLLO Professionals and the Second Lien Professionals payable on the Effective
Date, subject to the conditions set forth in Article IV.U of the Plan; provided that reimbursement of the Second Lien
Notes Trustee’s financial advisor’s fees and expenses shall be limited to $250,000 in the aggregate, and no Person
shall be entitled to increase or seek to increase this $250,000 limit or use a charging lien or seek payment for such
financial advisor’s or any financial advisor to the Second Lien Notes Trustee’s fees and expenses from any
other source.

         155.    “Restructuring Support Agreement” means that certain restructuring support agreement, dated as of
June 28, 2020, by and among the Debtors and the Consenting Stakeholders, as may be further amended, modified, or
supplemented from time to time, in accordance with its terms.

         156.    “Restructuring Term Sheet” means the term sheet setting forth the material terms of the
Restructuring Transactions, attached as Exhibit B to the Restructuring Support Agreement.

         157.     “Restructuring Transactions” means the transactions described in Article IV.B of the Plan.

        158.     “Restructuring Transactions Memorandum” means a document, in form and substance acceptable
to the Required Consenting Stakeholders, to be included in the Plan Supplement that will set forth the material
components of the Restructuring Transactions.




                                                         13
   Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 661 of 1639
                                                                         0661


        159.    “Revolving Credit Facility” means the facility outstanding under the Revolving Credit Facility
Credit Agreement.

        160.      “Revolving Credit Facility Administrative Agent” means MUFG Union Bank, N.A., in its capacity
as administrative agent for the Revolving Credit Facility.

         161.     “Revolving Credit Facility Claim” means any Claim on account of the Revolving Credit Facility,
other than any Claims converted to Roll-Up Loans (as defined in the Final DIP Order).

        162.      “Revolving Credit Facility Credit Agreement” means that certain Amended and Restated Credit
Agreement, dated as of September 12, 2018 (as amended, restated, or otherwise modified from time to time), by and
among Chesapeake, as borrower, the Debtor guarantors party thereto, the Revolving Credit Facility Administrative
Agent, and the other lender, issuer, and agent parties party thereto.

         163.     “Revolving Credit Facility Lenders” means the lenders party to the Revolving Credit
Facility Credit Agreement.

        164.      “Revolving DIP Loan Commitment” means a commitment to provide revolving loans under the
DIP Facility.

         165.     “Rights” means collectively, the FLLO Rights, the Second Lien Rights, and the Backstop
Party Rights.

         166.   “Rights Offering” means the New Common Stock rights offering for the Rights Offering Amount
to be consummated by the Debtors on the Effective Date in accordance with the Rights Offering Procedures.

         167.     “Rights Offering Amount” means a minimum of $600 million in aggregate amount of Rights.

        168.    “Rights Offering Participants” means (a) holders of FLLO Term Loan Facility Claims and Second
Lien Notes Claims as of the Rights Offering Record Date and (b) the Backstop Parties.

          169.     “Rights Offering Procedures” means the procedures governing the Rights Offering attached as an
exhibit to the Disclosure Statement Order.

         170.      “Rights Offering Record Date” means the record date set by the Rights Offering Procedures, as of
which date an Entity must be a record holder of FLLO Term Loan Facility Claims or Second Lien Notes Claims in
order to be eligible to be a Rights Offering Participant.

         171.      “Royalty and Working Interests” means the working interests involving the right to exploit oil, gas,
and other minerals, as well as royalty and certain other mineral interests, including, but not limited to, landowner’s
royalty interests, overriding royalty interests, net profit interests, non-participating royalty interests, and unleased
mineral interests.

          172.    “Royalty and Working Interests Administrative Claims” means any postpetition, pre-Effective Date
rights to payment arising on account of Royalty and Working Interests.

         173.     “Schedule of Retained Causes of Action” means the schedule of certain Causes of Action of the
Debtors that are not released, waived, or transferred pursuant to the Plan, as the same may be amended, modified, or
supplemented from time to time.

        174.       “Schedules” means the schedules of assets and liabilities, schedules of Executory Contracts or
Unexpired Leases, and statement of financial affairs Filed by the Debtors pursuant to section 521 of the Bankruptcy
Code, the official bankruptcy forms, and the Bankruptcy Rules.

         175.     “SEC” means the United States Securities and Exchange Commission.

                                                          14
   Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 662 of 1639
                                                                         0662


         176.     “Second Lien Noteholders” means holders of notes issued under the Second Lien Notes Indenture.

        177.     “Second Lien Notes” means the 11.500% senior notes due 2025 issued by Chesapeake pursuant to
the Second Lien Notes Indenture.

         178.     “Second Lien Notes Claim” means any Claim on account of the Second Lien Notes.

       179.     “Second Lien Notes Indenture” means that certain indenture dated as of December 19, 2019, by and
among Chesapeake, as issuer, certain Debtors guarantors party thereto, and the Second Lien Notes Trustee, as may be
amended, supplemented, or otherwise modified from time to time.

         180.      “Second Lien Notes Trustee” means Deutsche Bank Trust Company Americas, in its capacity as
trustee and collateral trustee for the Second Lien Notes Indenture.

         181.     “Second Lien Professionals” means the Second Lien Collateral Trustee’s professionals (including
Morgan, Lewis & Bockius LLP, one local counsel in the relevant jurisdiction, and one financial advisor) and
Franklin’s professionals (including Akin Gump Strauss Hauer & Feld LLP, Moelis & Company LLC, one local
counsel in each other relevant local jurisdiction, and FTI Consulting, Inc.).

         182.     “Second Lien Rights” means the non-certificated rights that will enable the holders thereof to
purchase shares of New Common Stock at an aggregate purchase price of $67.5 million at a price per share to be
determined based on a 35 percent discount to the equity value per share of New Common Stock, post new-money, as
implied by a Plan total enterprise value of $3.25 billion.

         183.     “Section 510(b) Claim” means any Claim or Interest against a Debtor subject to subordination under
section 510(b) of the Bankruptcy Code, whether by operation of law or contract.

         184.      “Secured” means, when referring to a Claim: (a) secured by a Lien on collateral to the extent of the
value of such collateral, as determined in accordance with section 506(a) of the Bankruptcy Code or (b) subject to a
valid right of setoff pursuant to section 553 of the Bankruptcy Code.

         185.      “Securities Act” means the Securities Act of 1933, as amended, 15 U.S.C. §§ 77a–77aa, or any
similar federal, state, or local law, as now in effect or hereafter amended, and the rules and regulations promulgated
thereunder.

         186.     “Security” means any security, as defined in section 2(a)(1) of the Securities Act.

          187.     “Solicitation Materials” means the Disclosure Statement and related documentation to be
distributed to holders of Claims entitled to vote on the Plan.

       188.     “Superpriority Hedge Claims” means superpriority claims in respect of the Debtors’ Superpriority
Hedge Obligations.

         189.      “Superpriority Hedge Obligations” means all hedging obligations with respect to commodity hedge
transactions that are secured under the DIP Facility.

         190.     “Total Leverage” means the ratio of (a) consolidated indebtedness net of unrestricted Cash and Cash
equivalents held in a pledged account in an amount not to exceed $100 million to (b) consolidated EBITDAX
calculated in accordance with the terms set forth in the Exit Facilities Term Sheet.

        191.      “Total Leverage Condition” means the Condition Precedent to the Effective Date that provides that
the Debtors shall have Total Leverage no greater than 2.25:1.00.




                                                          15
   Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 663 of 1639
                                                                         0663


          192.    “Tranche A RBL Exit Facility Loans” means fully revolving loans made under and on the terms set
forth under the Exit RBL Facility which will be partially funded on the Effective Date, will have a scheduled maturity
of 3 years from the Effective Date, and shall at all times be repaid prior to the repayment of Tranche B Exit RBL
Facility Loans.

         193.     “Tranche B RBL Exit Facility Loans” means term loans made under and on the terms set forth under
the Exit RBL Facility which will be fully funded on the Effective Date, will have a scheduled maturity of 4 years from
the Effective Date, will be repaid or prepaid only after there are no Tranche A RBL Exit Facility Loans outstanding,
and once so prepaid or repaid, may not be reborrowed.

        194.    “Trustee” means any indenture trustee, collateral trustee, or other trustee or similar entity under the
Second Lien Notes or the Unsecured Notes.

         195.     “Turnover Provisions” has the meaning set forth in Article IV.A of the Plan.

        196.      “Unexpired Lease” means a lease to which one or more of the Debtors is a party that is subject to
assumption or rejection under section 365 of the Bankruptcy Code.

          197.    “Unimpaired” means with respect to a Class of Claims or Interests, a Class of Claims or Interests
that is unimpaired within the meaning of section 1124 of the Bankruptcy Code.

         198.  “United States Trustee” means the United States Trustee for the jurisdiction in which the Chapter 11
Cases are commenced.

         199.     “Unsecured Claims Recovery” means 12% of the New Common Stock (subject to dilution on
account of the Management Incentive Plan, the Rights Offering, the Put Option Premium, and the New Warrants) and
50 percent of the New Class C Warrants.

         200.     “Unsecured Noteholders” means holders of notes issued under the Unsecured Notes Indentures.

         201.     “Unsecured Notes” means the 6.625% senior notes due 2020, the 6.875% senior notes due 2020,
the 6.125% senior notes due 2021, the 5.375% senior notes due 2021, the 4.875% senior notes due 2022, the 5.750%
senior notes due 2023, the 7.000% senior notes due 2024, the 8.000% senior notes due 2025, the 8.000% senior notes
due 2026, the 7.500% senior notes due 2026, the 8.000% senior notes due 2027, the 5.500% convertible senior notes
due 2026, and the 6.875% senior notes due 2025, all issued by certain Debtors pursuant to the Unsecured
Notes Indentures.

         202.     “Unsecured Notes Claim” means any Claim on account of the Unsecured Notes.

         203.     “Unsecured Notes Indentures” means those certain indentures dated as of the following dates:
August 2, 2010 (6.625% senior notes due 2020); November 8, 2005 (6.875% senior notes due 2020);
February 11, 2011 (6.125% senior notes due 2021); April 1, 2013 (5.375% senior notes due 2021); April 24, 2014
(4.875% senior notes due 2022); April 1, 2013 (5.750% senior notes due 2023); September 27, 2018 (7.000% senior
notes due 2024); December 20, 2016 (8.000% senior notes due 2025); April 3, 2019 (8.000% senior notes due 2026);
September 27, 2018 (7.500% senior notes due 2026); June 6, 2017 (8.000% senior notes due 2027); October 5, 2016
(5.500% convertible senior notes due 2026); and February 1, 2017 (6.875% senior notes due 2025), each by and among
certain of the Debtors and the Unsecured Notes Trustees, as may be amended, supplemented, or otherwise modified
from time to time.




                                                          16
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 664 of 1639
                                                                           0664


         204.    “Unsecured Notes Trustees” means the following entities, each in its capacity as trustee for the
Unsecured Notes Indentures: The Bank of New York Trust Company, N.A. (6.625% senior notes due 2020);
The Bank of New York Trust Company, N.A. (6.875% senior notes due 2020); The Bank of New York Trust
Company, N.A. (6.125% senior notes due 2021); Wilmington Savings Fund Society, FSB (5.375% senior notes
due 2021); Wilmington Savings Fund Society, FSB (4.875% senior notes due 2022); Wilmington Savings Fund
Society, FSB (5.750% senior notes due 2023); Wilmington Savings Fund Society, FSB (7.000% senior notes
due 2024); Wilmington Savings Fund Society, FSB (8.000% senior notes due 2025); Wilmington Savings Fund
Society, FSB (8.000% senior notes due 2026); Wilmington Savings Fund Society, FSB (7.500% senior notes
due 2026); Wilmington Savings Fund Society, FSB (8.000% senior notes due 2027); Wilmington Savings Fund
Society, FSB (5.500% convertible senior notes due 2026); and U.S. Bank National Association (6.875% senior notes
due 2025).

B.       Rules of Interpretation.

          For purposes of this Plan: (1) in the appropriate context, each term, whether stated in the singular or the
plural, shall include both the singular and the plural, and pronouns stated in the masculine, feminine, or neuter gender
shall include the masculine, feminine, and the neuter gender; (2) unless otherwise specified, any reference herein to a
contract, lease, instrument, release, indenture, or other agreement or document being in a particular form or on
particular terms and conditions means that the referenced document shall be substantially in that form or substantially
on those terms and conditions; (3) unless otherwise specified, any reference herein to an existing document, schedule,
or exhibit, whether or not Filed, having been Filed or to be Filed shall mean that document, schedule, or exhibit, as it
may thereafter be amended, modified, or supplemented in accordance with the Plan or Confirmation Order, as
applicable; (4) any reference to an Entity as a holder of a Claim or Interest includes that Entity’s successors and
assigns; (5) unless otherwise specified, all references herein to “Articles” are references to Articles hereof or hereto;
(6) unless otherwise specified, all references herein to exhibits are references to exhibits in the Plan Supplement;
(7) unless otherwise specified, the words “herein,” “hereof,” and “hereto” refer to the Plan in its entirety rather than
to a particular portion of the Plan; (8) subject to the provisions of any contract, certificate of incorporation, by-law,
instrument, release, or other agreement or document entered into in connection with the Plan, the rights and obligations
arising pursuant to the Plan shall be governed by, and construed and enforced in accordance with the applicable federal
law, including the Bankruptcy Code and Bankruptcy Rules; (9) captions and headings to Articles are inserted for
convenience of reference only and are not intended to be a part of or to affect the interpretation of the Plan; (10) unless
otherwise specified herein, the rules of construction set forth in section 102 of the Bankruptcy Code shall apply;
(11) any term used in capitalized form herein that is not otherwise defined but that is used in the Bankruptcy Code or
the Bankruptcy Rules shall have the meaning assigned to that term in the Bankruptcy Code or the Bankruptcy Rules,
as the case may be; (12) all references to docket numbers of documents Filed in the Chapter 11 Cases are references
to the docket numbers under the Bankruptcy Court’s CM/ECF system; (13) all references to statutes, regulations,
orders, rules of courts, and the like shall mean as amended from time to time, and as applicable to the Chapter 11 Cases,
unless otherwise stated; (14) the words “include” and “including,” and variations thereof, shall not be deemed to be
terms of limitation, and shall be deemed to be followed by the words “without limitation”; (15) references to “Proofs
of Claim,” “holders of Claims,” “Disputed Claims,” and the like shall include “Proofs of Interest,” “holders of
Interests,” “Disputed Interests,” and the like, as applicable; (16) any immaterial effectuating provisions may be
interpreted by the Reorganized Debtors in such a manner that is consistent with the overall purpose and intent of the
Plan all without further notice to or action, order, or approval of the Bankruptcy Court or any other Entity; and (17) all
references herein to consent, acceptance, or approval may be conveyed by counsel for the respective parties that have
such consent, acceptance, or approval rights, including by electronic mail; provided that nothing in this clause (2) or
clause (3) shall affect any parties’ consent rights over any of the Definitive Documents or any amendments thereto,
as provided for in the Restructuring Support Agreement.

C.       Computation of Time.

          Unless otherwise specifically stated herein, the provisions of Bankruptcy Rule 9006(a) shall apply in
computing any period of time prescribed or allowed herein. If the date on which a transaction may occur pursuant to
the Plan shall occur on a day that is not a Business Day, then such transaction shall instead occur on the next succeeding
Business Day. Any action to be taken on the Effective Date may be taken on or as soon as reasonably practicable
after the Effective Date.


                                                            17
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 665 of 1639
                                                                           0665


D.       Governing Law.

         Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy Code and Bankruptcy
Rules) or unless otherwise specifically stated, the laws of the State of New York, without giving effect to the principles
of conflict of laws (other than section 5-1401 and section 5-1402 of the New York General Obligations Law), shall
govern the rights, obligations, construction, and implementation of the Plan, any agreements, documents, instruments,
or contracts executed or entered into in connection with the Plan (except as otherwise set forth in those agreements,
in which case the governing law of such agreement shall control), and corporate governance matters; provided that
corporate governance matters relating to the Debtors or the Reorganized Debtors, as applicable, not incorporated in
New York shall be governed by the laws of the state of incorporation or formation of the relevant Debtor or the
Reorganized Debtors, as applicable.

E.       Reference to Monetary Figures.

        All references in the Plan to monetary figures shall refer to currency of the United States of America, unless
otherwise expressly provided herein.

F.       Reference to the Debtors or the Reorganized Debtors.

         Except as otherwise specifically provided in the Plan to the contrary, references in the Plan to the Debtors or
the Reorganized Debtors shall mean the Debtors and the Reorganized Debtors, as applicable, to the extent the
context requires.

G.       Controlling Document.

          In the event of an inconsistency between the Plan and the Disclosure Statement, the terms of the Plan shall
control in all respects. In the event of an inconsistency between the Plan and the Plan Supplement, the terms of the
relevant provision in the Plan Supplement shall control (unless stated otherwise in such Plan Supplement document
or in the Confirmation Order). In the event of an inconsistency between the Confirmation Order and the Plan or Plan
Supplement, the Confirmation Order shall control.

H.       Consultation, Information, Notice, and Consent Rights.

         Notwithstanding anything herein to the contrary, any and all consultation, information, notice, and consent
rights of the parties to the Restructuring Support Agreement, as set forth in the Restructuring Support Agreement
(including the exhibits thereto), with respect to the form and substance of this Plan, all exhibits to the Plan, the Plan
Supplement, and all other Definitive Documents, including any amendments, restatements, supplements, or other
modifications to such agreements and documents, and any consents, waivers, or other deviations under or from any
such documents, shall be incorporated herein by this reference (including to the applicable definitions in Article I.A
hereof) and fully enforceable as if stated in full herein.

       Failure to reference the rights referred to in the immediately preceding paragraph as such rights relate to any
document referenced in the Restructuring Support Agreement shall not impair such rights and obligations.

          Further, any and all consultation, information, notice, and consent rights of the DIP Agent, DIP Lenders,
Revolving Credit Facility Administrative Agent, Revolving Credit Facility Lenders, Exit Facilities Agent, and Exit
Facilities Lenders as set forth in the DIP Documents, DIP Order, and Exit Facilities Documents, as applicable, relating
to the form and substance of this Plan, all exhibits to the Plan, the Plan Supplement, all other Definitive Documents,
and any consents, waivers, or other rights under or from any such documents, shall be incorporated herein by this
reference and fully enforceable as if stated in full herein. Failure to reference such rights in specific provisions of this
Plan shall not impair such rights and obligations.




                                                            18
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 666 of 1639
                                                                           0666


                                        ARTICLE II.
                   ADMINISTRATIVE CLAIMS, DIP CLAIMS, AND PRIORITY CLAIMS

          In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims, Professional Claims,
DIP Claims, and Priority Tax Claims have not been classified and, thus, are excluded from the Classes of Claims and
Interests set forth in Article III hereof.

A.       Administrative Claims.

         1.   General Administrative Claims.

         Unless otherwise agreed to by the holder of an Allowed Administrative Claim and the Debtors (with the
consent of the Required Consenting Stakeholders) or the Reorganized Debtors, as applicable, or otherwise provided
for under the Plan, each holder of an Allowed Administrative Claim (other than holders of Professional Claims, DIP
Claims, and Claims for fees and expenses pursuant to section 1930 of chapter 123 of title 28 of the United States
Code) will receive in full and final satisfaction of its Administrative Claim treatment consistent with section 1129(a)(2)
of the Bankruptcy Code in accordance with the following: (1) if an Administrative Claim is Allowed on or prior to
the Effective Date, on the Effective Date or as soon as reasonably practicable thereafter (or, if not then due, when such
Allowed Administrative Claim is due or as soon as reasonably practicable thereafter); (2) if such Administrative Claim
is not Allowed as of the Effective Date, no later than thirty (30) days after the date on which an order allowing such
Administrative Claim becomes a Final Order, or as soon as reasonably practicable thereafter; (3) if such Allowed
Administrative Claim is based on liabilities incurred by the Debtors in the ordinary course of their business after the
Petition Date in accordance with the terms and conditions of the particular transaction giving rise to such Allowed
Administrative Claim without any further action by the holders of such Allowed Administrative Claim; (4) at such
time and upon such terms as may be agreed upon by such holder and the Debtors or the Reorganized Debtors, as
applicable; or (5) at such time and upon such terms as set forth in an order of the Bankruptcy Court.

          Except as otherwise provided in this Article II.A of the Plan, and except with respect to Administrative
Claims that are Professional Claims or DIP Claims, requests for payment of Administrative Claims must be Filed with
the Bankruptcy Court and served on the Debtors pursuant to the procedures specified in the Confirmation Order and
the notice of entry of the Confirmation Order no later than the applicable Administrative Claims Bar Date. Holders
of Administrative Claims that are required to, but do not, File and serve a request for payment of such Administrative
Claims by such date shall be forever barred, estopped, and enjoined from asserting such Administrative Claims against
the Debtors or their property, and such Administrative Claims shall be deemed discharged as of the Effective Date.
Objections to such requests, if any, must be Filed with the Bankruptcy Court and served on the requesting party no
later than 60 days after the applicable Administrative Claims Bar Date. Notwithstanding the foregoing, no request for
payment of an Administrative Claim need be Filed with the Bankruptcy Court with respect to an Administrative Claim
previously Allowed.

          The Debtors shall indefeasibly pay in Cash all Existing RBL Adequate Protection Payments that have accrued
and are unpaid as of the Effective Date pursuant to the terms of the DIP Order, and none of the Revolving Credit
Facility Administrative Agent, the Revolving Credit Facility Lenders, or the Collateral Trustee shall be required to
File a request for payment of an Administrative Claim with the Bankruptcy Court on account of such Existing RBL
Adequate Protection Payments. The Debtors’ obligation to pay the Existing RBL Adequate Protection Payments, to
the extent not indefeasibly paid in full in Cash on the Effective Date, shall survive the Effective Date and shall not be
released or discharged pursuant to this Plan or the Confirmation Order until indefeasibly paid in full in Cash.

         2.   Professional Compensation.

                  (a)       Final Fee Applications and Payment of Professional Claims.

         All requests for payment of Professional Claims for services rendered and reimbursement of expenses
incurred prior to the Confirmation Date must be Filed no later than 45 days after the Effective Date. The Bankruptcy
Court shall determine the Allowed amounts of such Professional Claims after notice and a hearing in accordance with
the procedures established by the Bankruptcy Court. The Reorganized Debtors shall pay Professional Claims in Cash

                                                           19
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 667 of 1639
                                                                           0667


in the amount the Bankruptcy Court allows, including from the Professional Fee Escrow Account, which the
Reorganized Debtors will establish in trust for the Professionals and fund with Cash equal to the Professional Fee
Amount on the Effective Date.

                  (b)      Professional Fee Escrow Account.

         On the Effective Date, the Reorganized Debtors shall establish and fund the Professional Fee Escrow Account
with Cash equal to the Professional Fee Amount, which shall be funded by the Reorganized Debtors. The Professional
Fee Escrow Account shall be maintained in trust solely for the Professionals. Such funds shall not be considered
property of the Estates of the Debtors or the Reorganized Debtors. The amount of Allowed Professional Claims shall
be paid in Cash to the Professionals by the Reorganized Debtors from the Professional Fee Escrow Account as soon
as reasonably practicable after such Professional Claims are Allowed. When such Allowed Professional Claims have
been paid in full, any remaining amount in the Professional Fee Escrow Account shall promptly be paid to the
Reorganized Debtors without any further action or order of the Bankruptcy Court.

                  (c)      Professional Fee Amount.

         Professionals shall reasonably estimate their unpaid Professional Claims and other unpaid fees and expenses
incurred in rendering services to the Debtors before and as of the Effective Date, and shall deliver such estimate to the
Debtors no later than five days before the Effective Date; provided that such estimate shall not be deemed to limit the
amount of the fees and expenses that are the subject of each Professional’s final request for payment in the Chapter 11
Cases. If a Professional does not provide an estimate, the Debtors or Reorganized Debtors may estimate the unpaid
and unbilled fees and expenses of such Professional.

                  (d)      Post-Confirmation Fees and Expenses.

          Except as otherwise specifically provided in the Plan, from and after the Confirmation Date, the Debtors
shall, in the ordinary course of business and without any further notice to or action, order, or approval of the
Bankruptcy Court, pay in Cash the reasonable and documented legal, professional, or other fees and expenses related
to implementation of the Plan and Consummation incurred by the Debtors. Upon the Confirmation Date, any
requirement that Professionals comply with sections 327 through 331, 363, and 1103 of the Bankruptcy Code in
seeking retention or compensation for services rendered after such date shall terminate, and the Debtors may employ
and pay any Professional in the ordinary course of business without any further notice to or action, order, or approval
of the Bankruptcy Court.

B.       DIP Claims.

         For the avoidance of doubt, the DIP Claims are Allowed in full in accordance with the DIP Order. Except to
the extent that a holder of an Allowed DIP Claim agrees to less favorable treatment, on the Effective Date, each holder
of an Allowed DIP Claim shall receive, in full and final satisfaction, settlement, release, and discharge of, and in
exchange for such holder’s Allowed DIP Claims, payment in full in Cash from, at the Debtors’ option, (1) the proceeds
of the Exit Facilities available as of the Effective Date and consistent with the Exit Facilities Term Sheet; (2) the
proceeds of the Rights Offering; and (3) Cash on hand; provided that to the extent that such DIP Lender is also an Exit
Facility Lender, such DIP Lender’s Allowed DIP Claims will first be reduced dollar-for-dollar and satisfied by the
amount of its Exit Facilities Loans provided by such DIP Lender as of the Effective Date; provided further that
Allowed Superpriority Hedge Claims, if any, shall be converted to secured obligations under the Exit Facilities
Documents to the extent permitted under the terms of the documentation evidencing the Superpriority Hedge Claims.
For the avoidance of doubt, the Debtors shall indefeasibly pay in cash all DIP Agent Fees and Expenses and non-
contingent indemnity obligations owed to the DIP Agent or DIP Lenders that have accrued and are unpaid as of the
Effective Date pursuant to the terms of the DIP Order. The Debtors’ obligation to pay the DIP Agent Fees and
Expenses and non-contingent indemnity obligations owed to the DIP Agent or DIP Lenders, to the extent not
indefeasibly paid in full in Cash on the Effective Date, shall survive the Effective Date and shall not be released or
discharged pursuant to this Plan or the Confirmation Order until indefeasibly paid in full in Cash.




                                                           20
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 668 of 1639
                                                                           0668


          Upon the final and indefeasible payment or satisfaction of the Allowed DIP Claims in accordance with this
0, all Liens and security interests granted to secure the Allowed DIP Claims shall automatically be terminated and of
no further force and effect without any further notice to or action, order, or approval of the Bankruptcy Court or any
other Entity.

C.       Priority Tax Claims.

          Except to the extent that a holder of an Allowed Priority Tax Claim agrees to less favorable treatment, in full
and final satisfaction, settlement, release, and discharge of and in exchange for each Allowed Priority Tax Claim, each
holder of such Allowed Priority Tax Claim shall be treated in accordance with the terms set forth in
section 1129(a)(9)(C) of the Bankruptcy Code.

D.       Statutory Fees.

         All monthly reports shall be filed in a form reasonably acceptable to the U.S. Trustee, and all fees due and
payable pursuant to section 1930 of Title 28 of the United States Code before the Effective Date with respect to the
Debtors shall be paid by the Debtors. On and after the Effective Date, the Reorganized Debtors shall pay any and all
such fees when due and payable, and shall File with the Bankruptcy Court quarterly reports in a form reasonably
acceptable to the United States Trustee. Each Debtor shall remain obligated to pay quarterly fees to the United States
Trustee until the earliest of that particular Debtor’s case being closed, dismissed, or converted to a case under
Chapter 7 of the Bankruptcy Code.

                                        ARTICLE III.
                   CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

A.       Classification of Claims and Interests.

          This Plan constitutes a separate Plan proposed by each Debtor. Except for the Claims addressed in Article II
hereof, all Claims and Interests are classified in the Classes set forth below in accordance with sections 1122
and 1123(a)(1) of the Bankruptcy Code. A Claim or an Interest, or any portion thereof, is classified in a particular
Class only to the extent that any portion of such Claim or Interest fits within the description of that Class and is
classified in other Classes to the extent that any portion of the Claim or Interest fits within the description of such
other Classes. A Claim or an Interest also is classified in a particular Class for the purpose of receiving distributions
under the Plan only to the extent that such Claim or Interest is an Allowed Claim or Interest in that Class and has not
been paid, released, or otherwise satisfied prior to the Effective Date.

         The classification of Claims and Interests against the Debtors pursuant to the Plan is as follows:

                Class           Claims and Interests               Status           Voting Rights
                                                                                Not Entitled to Vote
              Class 1      Other Secured Claims                 Unimpaired
                                                                                (Deemed to Accept)
                                                                                Not Entitled to Vote
              Class 2      Other Priority Claims                Unimpaired
                                                                                (Deemed to Accept)
                           Revolving Credit Facility
              Class 3                                           Impaired        Entitled to Vote
                           Claims
                           FLLO Term Loan Facility
              Class 4                                           Impaired        Entitled to Vote
                           Claims
              Class 5      Second Lien Notes Claims             Impaired        Entitled to Vote

              Class 6      Unsecured Notes Claims               Impaired        Entitled to Vote

              Class 7      General Unsecured Claims             Impaired        Entitled to Vote




                                                           21
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 669 of 1639
                                                                           0669



                Class              Claims and Interests             Status          Voting Rights
                                                                                Not Entitled to Vote
                                                                 Unimpaired /
              Class 8      Intercompany Claims                                  (Deemed to Accept /
                                                                 Impaired
                                                                                Deemed to Reject)
                                                                                Not Entitled to Vote
                                                                 Unimpaired /
              Class 9      Intercompany Interests                               (Deemed to Accept /
                                                                 Impaired
                                                                                Deemed to Reject)
                                                                                Not Entitled to Vote
              Class 10     Existing Equity Interests             Impaired
                                                                                (Deemed to Reject)

B.       Treatment of Claims and Interests.

         Each holder of an Allowed Claim or Allowed Interest, as applicable, shall receive under the Plan the treatment
described below in full and final satisfaction, settlement, release, and discharge of and in exchange for such holder’s
Allowed Claim or Allowed Interest, except to the extent less favorable treatment is agreed to by the Reorganized
Debtors and the holder of such Allowed Claim or Allowed Interest, as applicable. Unless otherwise indicated, the
holder of an Allowed Claim or Allowed Interest, as applicable, shall receive such treatment on the Effective Date or
as soon as reasonably practicable thereafter.

         1.   Class 1 – Other Secured Claims.

                  (a)      Classification: Class 1 consists of all Other Secured Claims.

                  (b)      Treatment: On the Effective Date, each holder of an Allowed Other Secured Claim shall
                           receive, at the Debtors’ option and in consultation with the Required
                           Consenting Stakeholders:

                           (i)         payment in full in Cash;

                           (ii)        the collateral securing its Allowed Other Secured Claim;

                           (iii)       Reinstatement of its Allowed Other Secured Claim; or

                           (iv)        such other treatment that renders its Allowed Other Secured Claim Unimpaired in
                                       accordance with section 1124 of the Bankruptcy Code.

                  (c)      Voting: Class 1 is Unimpaired under the Plan. Holders of Other Secured Claims are
                           conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
                           Bankruptcy Code. Therefore, such holders are not entitled to vote to accept or reject
                           the Plan.

         2.   Class 2 – Other Priority Claims.

                  (a)      Classification: Class 2 consists of all Other Priority Claims.

                  (b)      Treatment: Each holder of an Allowed Other Priority Claim shall receive treatment in a
                           manner consistent with section 1129(a)(9) of the Bankruptcy Code.

                  (c)      Voting: Class 2 is Unimpaired under the Plan. Holders of Other Priority Claims are
                           conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
                           Bankruptcy Code. Therefore, such holders are not entitled to vote to accept or reject
                           the Plan.




                                                            22
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 670 of 1639
                                                                      0670


   3.   Class 3 – Revolving Credit Facility Claims.

            (a)      Classification: Class 3 consists of all Revolving Credit Facility Claims.

            (b)      Treatment: On the Effective Date, the Revolving Credit Facility Claims shall be Allowed
                     and deemed to be Allowed Claims in the full amount outstanding under the Revolving
                     Credit Facility, including all principal, any accrued and unpaid interest at the non-default
                     rate, and all accrued and unpaid fees, expenses, and non-contingent indemnity payable
                     under the Revolving Credit Facility. On the Effective Date, except to the extent the holder
                     of an Allowed Revolving Credit Facility Claim agrees to less favorable treatment, each
                     holder of an Allowed Revolving Credit Facility Claim shall receive, in accordance with
                     such holder’s prior determined allocation, either (i) Tranche A RBL Exit Facility Loans or
                     (ii) Tranche B RBL Exit Facility Loans, on a dollar-for-dollar basis; provided that any
                     Claims on account of accrued but unpaid Existing RBL Adequate Protection Payments
                     shall be paid in full as Cash as set forth in Section II.A.1 of the Plan.

            (c)      Voting: Class 3 is Impaired under the Plan. Holders of Revolving Credit Facility Claims
                     are entitled to vote to accept or reject the Plan.

   4.   Class 4 – FLLO Term Loan Facility Claims.

            (a)      Classification: Class 4 consists of all FLLO Term Loan Facility Claims.

            (b)      Treatment: On the Effective Date, the FLLO Term Loan Facility Claims shall be Allowed
                     and deemed to be Allowed Claims in the full amount outstanding under the FLLO Term
                     Loan Facility, including all principal, accrued and unpaid interest at the applicable default
                     rate, the make whole amount, and all accrued and unpaid fees, expenses, and non-
                     contingent indemnity payable under the FLLO Term Loan Facility. On the Effective Date,
                     each holder of an Allowed FLLO Term Loan Facility Claim shall receive its Pro Rata share
                     of (i) 76 percent of the New Common Stock (subject to dilution on account of the
                     Management Incentive Plan, the Rights Offering, the Put Option Premium, and the New
                     Warrants) and (ii) the FLLO Rights.

            (c)      Voting: Class 4 is Impaired under the Plan. Holders of FLLO Term Loan Facility Claims
                     are entitled to vote to accept or reject the Plan.

   5.   Class 5 – Second Lien Notes Claims.

            (a)      Classification: Class 5 consists of all Second Lien Notes Claims.

            (b)      Treatment: On the Effective Date, the Second Lien Notes Claims shall be Allowed and
                     deemed to be Allowed Claims in the full amount outstanding under the Second Lien Notes
                     Indenture, including the aggregate outstanding principal amount of Second Lien Notes, any
                     premium (including the Make-Whole Premium (as defined in the Second Lien Notes
                     Indenture)), and accrued and unpaid interest. Each holder of an Allowed Second Lien
                     Notes Claim shall receive its Pro Rata share of (i) 12 percent of the New Common Stock
                     (subject to dilution on account of the Management Incentive Plan, the Rights Offering, the
                     Put Option Premium, and the New Warrants), (ii) the Second Lien Rights, (iii) the New
                     Class A Warrants, (iv) the New Class B Warrants, and (v) 50 percent of the New
                     Class C Warrants.

            (c)      Voting: Class 5 is Impaired under the Plan. Holders of Second Lien Notes Claims are
                     entitled to vote to accept or reject the Plan.




                                                      23
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 671 of 1639
                                                                      0671


   6.   Class 6 – Unsecured Notes Claims.

            (a)     Classification: Class 6 consists of all Unsecured Notes Claims.

            (b)     Treatment: On the Effective Date, the Unsecured Notes Claims shall be deemed Allowed
                    in full, and each holder of an Allowed Unsecured Notes Claim shall receive its Pro Rata
                    share of the Unsecured Claims Recovery.

            (c)     Voting: Class 6 is Impaired under the Plan. Holders of Unsecured Notes Claims are
                    entitled to vote to accept or reject the Plan.

   7.   Class 7 – General Unsecured Claims.

            (a)     Classification: Class 7 consists of all General Unsecured Claims.

            (b)     Treatment: On the Effective Date, each holder of an Allowed General Unsecured Claim
                    shall receive its Pro Rata share of the Unsecured Claims Recovery; provided that to the
                    extent such Allowed General Unsecured Claim is a Convenience Claim, such Holder shall
                    receive the Convenience Claim Distribution.

            (c)     Voting: Class 7 is Impaired under the Plan. Holders of General Unsecured Claims are
                    entitled to vote to accept or reject the Plan.

   8.   Class 8 – Intercompany Claims.

            (a)     Classification: Class 11 consists of all Intercompany Claims.

            (b)     Treatment: On the Effective Date, unless otherwise provided for under the Restructuring
                    Transactions Memorandum, each Allowed Intercompany Claim shall have its Claim:

                    (i)      Reinstated; or

                    (ii)     distributed, contributed, set off, settled, canceled and released, or otherwise
                             addressed at the option of the Debtors with the consent of the Required
                             Consenting Stakeholders; provided that no distribution shall be made on account
                             of any such Intercompany Claims.

            (c)     Voting: Class 8 is conclusively deemed to have accepted the Plan pursuant to
                    section 1126(f) of the Bankruptcy Code or rejected the Plan pursuant to section 1126(g) of
                    the Bankruptcy Code. Class 8 is not entitled to vote to accept or reject the Plan.




                                                  24
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 672 of 1639
                                                                           0672


         9.   Class 9 – Intercompany Interests.

                  (a)      Classification: Class 9 consists of all Intercompany Interests.

                  (b)      Treatment: On the Effective Date, each holder of Intercompany Interests shall have
                           such Interest:

                           (i)      Reinstated; or

                           (ii)     canceled, released, and extinguished without any distribution at the Debtors’
                                    election with the consent of the Required Consenting Stakeholders.

                  (c)      Voting: Class 9 is conclusively deemed to have accepted the Plan pursuant to
                           section 1126(f) of the Bankruptcy Code or rejected the Plan pursuant to section 1126(g) of
                           the Bankruptcy Code. Class 9 is not entitled to vote to accept or reject the Plan.

         10. Class 10 – Existing Equity Interests.

                  (a)      Classification: Class 10 consists of all Existing Equity Interests.

                  (b)      Treatment: On the Effective Date, each holder of Existing Equity Interests shall have such
                           Interest cancelled, released, and extinguished without any distribution.

                  (c)      Voting: Class 10 is conclusively deemed to have rejected the Plan pursuant to
                           section 1126(g) of the Bankruptcy Code. Class 14 is not entitled to vote to accept or reject
                           the Plan.

C.       Special Provision Governing Unimpaired Claims.

          Except as otherwise provided in the Plan, nothing under the Plan shall affect the Debtors’ or the Reorganized
Debtors’ rights regarding any Unimpaired Claim, including, all rights regarding legal and equitable defenses to or
setoffs or recoupments against any such Unimpaired Claim.

D.       Elimination of Vacant Classes.

        Any Class of Claims or Interests that does not have a holder of an Allowed Claim or Allowed Interest or a
Claim or Interest temporarily Allowed by the Bankruptcy Court as of the date of the Confirmation Hearing shall be
deemed eliminated from the Plan for purposes of voting to accept or reject the Plan and for purposes of determining
acceptance or rejection of the Plan by such Class pursuant to section 1129(a)(8) of the Bankruptcy Code.

E.       Voting Classes, Presumed Acceptance by Non-Voting Classes.

         If a Class contains Claims or Interests eligible to vote and no holders of Claims or Interests eligible to vote
in such Class vote to accept or reject the Plan, the holders of such Claims or Interests in such Class shall be deemed
to have accepted the Plan.

F.       Intercompany Interests.

         To the extent Reinstated under the Plan, distributions on account of Intercompany Interests are not being
received by holders of such Intercompany Interests on account of their Intercompany Interests but for the purposes of
administrative convenience and due to the importance of maintaining the prepetition corporate structure for the
ultimate benefit of the holders of New Common Stock, and in exchange for the Debtors’ and Reorganized Debtors’
agreement under the Plan to make certain distributions to the holders of Allowed Claims.



                                                          25
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 673 of 1639
                                                                           0673


G.       Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy Code.

         Section 1129(a)(10) of the Bankruptcy Code shall be satisfied for purposes of Confirmation by acceptance
of the Plan by one or more of the Classes entitled to vote pursuant to Article III.B of the Plan. The Debtors reserve
the right, subject to the prior consent of the Required Consenting Stakeholders, which shall not be unreasonably
withheld, to modify the Plan in accordance with Article X hereof to the extent, if any, that Confirmation pursuant to
section 1129(b) of the Bankruptcy Code requires modification, including by modifying the treatment applicable to a
Class of Claims or Interests to render such Class of Claims or Interests Unimpaired to the extent permitted by the
Bankruptcy Code and the Bankruptcy Rules.

H.       Controversy Concerning Impairment.

        If a controversy arises as to whether any Claims or Interests, or any Class of Claims or Interests, are Impaired,
the Bankruptcy Court shall, after notice and a hearing, determine such controversy on or before the Confirmation Date.

I.       Subordinated Claims and Interests.

          The allowance, classification, and treatment of all Allowed Claims and Allowed Interests and the respective
distributions and treatments under the Plan take into account and conform to the relative priority and rights of the
Claims and Interests in each Class in connection with any contractual, legal, and equitable subordination rights relating
thereto, whether arising under general principles of equitable subordination, section 510(b) of the Bankruptcy Code,
or otherwise. Any such contractual, legal, or equitable subordination rights shall be settled, compromised, and released
pursuant to the Plan.

                                            ARTICLE IV.
                               MEANS FOR IMPLEMENTATION OF THE PLAN

A.       General Settlement of Claims and Interests.

          As discussed in detail in the Disclosure Statement and as otherwise provided herein, pursuant to section 1123
of the Bankruptcy Code and Bankruptcy Rule 9019, and in consideration for the classification, distributions, releases,
and other benefits provided under the Plan, upon the Effective Date, the provisions of the Plan shall constitute a good
faith compromise and settlement of all Claims and Interests and controversies resolved pursuant to the Plan, including
(1) any challenge to the amount, validity, perfection, enforceability, priority or extent of the DIP Claims, Revolving
Credit Facility Claims, FLLO Term Loan Facility Claims, Second Lien Notes Claims, and Unsecured Notes Claims
and (2) any claim to avoid, subordinate, or disallow any DIP Claims, Revolving Credit Facility Claims, FLLO Term
Loan Facility Claims, Second Lien Notes Claims, and Unsecured Notes Claims, whether under any provision of
chapter 5 of the Bankruptcy Code, on any equitable theory (including equitable subordination, equitable disallowance,
or unjust enrichment) or otherwise, including, without limitation, any claim of subordination or turnover of any
payments arising under any provision of the Intercreditor Agreement, including, but not limited to, any turnover
provisions in sections 3.05, 4.02(l), 6.01 and 7.03 thereof, or the Collateral Trust Agreement, including sections 5.05,
6.02(o), 8.01, and 9.03 thereof (the “Turnover Provisions”). In consideration for the classification, distributions,
releases, and other benefits provided under the Plan, upon the Effective Date, the FLLO Term Loan Facility Lenders
and Revolving Credit Facility Lenders shall conclusively, absolutely, irrevocably and forever waive any rights they
have to seek subordination or turnover of any payments arising under any provision of the Intercreditor Agreement,
including, but not limited to, the Turnover Provisions. The Plan shall be deemed a motion to approve the good faith
compromise and settlement of all such Claims, Interests, and controversies pursuant to Bankruptcy Rule 9019, and
the entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval of such compromise and
settlement under section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, as well as a finding by the
Bankruptcy Court that such settlement and compromise is fair, equitable, reasonable and in the best interests of the
Debtors and their Estates. Subject to Article VI hereof, all distributions made to holders of Allowed Claims and
Allowed Interests (as applicable) in any Class are intended to be and shall be final.




                                                           26
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 674 of 1639
                                                                           0674


B.       Restructuring Transactions.

           On or before the Effective Date, the applicable Debtors or the Reorganized Debtors shall enter into and shall
take any actions as may be necessary or appropriate to effect the Restructuring Transactions, including as set forth in
the Restructuring Transactions Memorandum. The Restructuring Transactions Memorandum shall be reasonably
acceptable to the Required Consenting Stakeholders. The actions to implement the Restructuring Transactions may
include: (1) the execution and delivery of appropriate agreements or other documents of merger, amalgamation,
consolidation, restructuring, conversion, disposition, transfer, arrangement, continuance, dissolution, sale, purchase,
or liquidation containing terms that are consistent with the terms of the Plan and that satisfy the applicable
requirements of applicable law and any other terms to which the applicable Entities may agree; (2) the execution and
delivery of appropriate instruments of transfer, assignment, assumption, or delegation of any asset, property, right,
liability, debt, or obligation on terms consistent with the terms of the Plan and having other terms for which the
applicable parties agree; (3) the filing of appropriate certificates or articles of incorporation, formation,
reincorporation, merger, consolidation, conversion, amalgamation, arrangement, continuance, or dissolution pursuant
to applicable state or provincial law; (4) the execution and delivery of the New Organizational Documents; (5) the
execution and delivery of the Exit Facilities Documents (including all actions to be taken, undertakings to be made,
and obligations to be incurred and fees to be paid by the Debtors or the Reorganized Debtors, as applicable), subject
to any post-closing execution and delivery periods provided for in the Exit Facilities Documents; (6) execution and
delivery of the Registration Rights Agreement; (7) pursuant to the Rights Offering Procedures and the Backstop
Commitment Agreement, the implementation of the Rights Offering, the distribution of the Rights to the Rights
Offering Participants as of the Rights Offering Record Date, and the issuance of New Common Stock in connection
therewith; (8) the issuance of the New Common Stock and the New Warrants as set forth in the Plan; and (9) all other
actions that the applicable Entities determine to be necessary, including making filings or recordings that may be
required by applicable law in connection with the Plan. The Confirmation Order shall, and shall be deemed to,
pursuant to sections 363 and 1123 of the Bankruptcy Code, authorize, among other things, all actions as may be
necessary or appropriate to effect any transaction described in, contemplated by, or necessary to effectuate the Plan.
On the Effective Date or as soon as reasonably practicable thereafter, the Reorganized Debtors, as applicable, shall
issue all Securities, notes, instruments, certificates, and other documents required to be issued pursuant to the
Restructuring Transactions.

C.       Midstream Savings Requirement.

         In the event that sufficient savings with respect to the Debtors’ midstream contracts (as determined by the
Required Plan Sponsors) are not achieved, unless the Debtors and the Required Consenting Stakeholders agree
otherwise (but subject to the reasonable written consent of the DIP Agent and the Required Consenting DIP Lenders),
certain of the Debtors’ assets will be separated from the Debtors’ remaining assets to the extent not inconsistent with
28 U.S.C. § 959(b). The Debtors’ restructuring will then be consummated with respect to the remaining assets, and
the separated assets will be wound down in a manner agreed to by the Debtors and the Required
Consenting Stakeholders.

D.       Reorganized Debtors.

          On the Effective Date, the New Board shall be established, and the Reorganized Debtors shall adopt their
applicable New Organizational Documents. The Reorganized Debtors shall be authorized to adopt any other
agreements, documents, and instruments and to take any other actions contemplated under the Plan as necessary to
consummate the Plan. Cash payments to be made pursuant to the Plan will be made by the Debtors or Reorganized
Debtors. The Debtors and Reorganized Debtors will be entitled to transfer funds between and among themselves as
they determine to be necessary or appropriate to enable the Debtors or Reorganized Debtors, as applicable, to satisfy
their obligations under the Plan. Except as set forth herein, any changes in intercompany account balances resulting
from such transfers will be accounted for and settled in accordance with the Debtors’ historical intercompany account
settlement practices and will not violate the terms of the Plan.

          From and after the Effective Date, the Reorganized Debtors, subject to any applicable limitations set forth in
any post-Effective Date agreement, shall have the right and authority without further order of the Bankruptcy Court
to raise additional capital and obtain additional financing, subject to the New Organizational Documents and the Exit
Facilities Documents, as the boards of directors of the applicable Reorganized Debtors deem appropriate.
                                                          27
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 675 of 1639
                                                                           0675


E.       Sources of Consideration for Plan Distributions.

         The Debtors and the Reorganized Debtors, as applicable, shall fund distributions under the Plan with:
(1) Cash on hand, including Cash from operations or asset dispositions; (2) Cash proceeds from the sale of New
Common Stock pursuant to the Rights Offering; (3) the New Common Stock; (4) the New Warrants; and (5) the
proceeds of the Exit Facilities, as applicable. Each distribution and issuance referred to in Article VI of the Plan shall
be governed by the terms and conditions set forth herein applicable to such distribution or issuance and by the terms
and conditions of the instruments or other documents evidencing or relating to such distribution or issuance, which
terms and conditions shall bind each Entity receiving such distribution or issuance. The issuance, distribution, or
authorization, as applicable, of certain Securities in connection with the Plan, including the New Common Stock and
the Rights will be exempt from SEC registration to the fullest extent permitted by law, as described more fully in
Article VI.D below.

         1.   Rights Offering.

         The Debtors shall distribute the Rights to the Rights Offering Participants on behalf of the Reorganized
Debtors as set forth in the Plan and the Rights Offering Procedures. Pursuant to the Backstop Commitment Agreement
and the Rights Offering Procedures, the Rights Offering shall be open to all Rights Offering Participants, and
(a) Rights Offering Participants that are holders of Allowed FLLO Term Loan Facility Claims shall be entitled to
participate in the Rights Offering up to a maximum amount of each holder’s Pro Rata share of the FLLO Rights;
(b) Rights Offering Participants that are holders of Allowed Second Lien Notes Claims shall be entitled to participate
in the Rights Offering up to a maximum amount of each holder’s Pro Rata share of the Second Lien Rights; and
(c) Rights Offering Participants that are Backstop Parties (or have certain rights and obligations of Backstop Parties
pursuant to agreement of the parties to the Backstop Commitment Agreement) shall be entitled to participate in the
Rights Offering up to a maximum amount of each holder’s Backstop Party Rights. Rights Offering Participants shall
have the right to purchase their allocated shares of New Common Stock at the per share price set forth in the Backstop
Commitment Agreement and the Rights Offering Procedures.

        Upon exercise of the Rights by the Rights Offering Participants pursuant to the terms of the Backstop
Commitment Agreement and the Rights Offering Procedures, Reorganized Chesapeake shall be authorized to issue
the New Common Stock issuable pursuant to such exercise.

          In exchange for the Put Option Premium and in accordance with the Backstop Commitment Agreement, the
Backstop Parties have committed to fully backstop, severally and not jointly, the Rights Offering Amount. Pursuant
to the Backstop Commitment Agreement and the allocations contained therein (subject to the transfer rights and
restrictions contained in the Backstop Commitment Agreement, the “Backstop Allocations”), the Backstop Parties
shall, severally and not jointly, backstop the Rights Offering Amount, purchase the New Common Stock not
subscribed for purchase by the Rights Offering Participants at the per share purchase price set forth in the Backstop
Commitment Agreement and exercise the Backstop Party Rights. The Put Option Premium shall be paid by
Chesapeake or Reorganized Chesapeake in accordance with the Backstop Commitment Agreement and Backstop
Commitment Agreement Approval Order. For the avoidance of doubt, if the Put Option Premium is payable in Cash
pursuant to the terms and conditions set forth in the Backstop Commitment Agreement and Backstop Commitment
Agreement Approval Order, the Put Option Premium shall be a superpriority administrative expense with priority in
payment over any and all administrative expenses of the kinds specified or ordered pursuant to any provision of the
Bankruptcy Code, including, but not limited to, sections 105, 326, 328, 330, 331, 503(b), 506(c), 507(a), 507(b), 726,
1113, and 1114 of the Bankruptcy Code, or otherwise and including those resulting from the conversion of any of the
Chapter 11 Cases pursuant to section 1112 of the Bankruptcy Code except it shall be unsecured and (i) be subordinated
in priority to (a) the DIP Claims and (b) any adequate protection granted on account of the Revolving Credit Facility
Claims (and any Claims to which such Claims in (a) or (b) are subordinate); and (ii) payable only after all such Claims
set forth in clause (i) have been paid in full in Cash or provided such other treatment as is agreed to by the requisite
parties, as set forth in section 3.1 of the Backstop Commitment Agreement.

         All shares of the New Common Stock, the New Warrants (and any shares of the New Common Stock issuable
upon the exercise thereof), the Rights (and any shares issuable upon the exercise thereof other than the unsubscribed
shares of New Common Stock issued to the Backstop Parties pursuant to the Backstop Commitment Agreement), and
the shares issuable as part of the Put Option Premium (collectively, the “1145 Securities”) will be issued in reliance
                                                           28
   Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 676 of 1639
                                                                         0676


upon section 1145 of the Bankruptcy Code to the extent permitted under applicable law. The unsubscribed shares of
New Common Stock issued to the Backstop Parties pursuant to the Backstop Commitment Agreement (collectively,
the “4(a)(2) Securities” and together with the 1145 Securities and any other Securities issued under the Plan, the
“Plan Securities”) will be issued in reliance upon section 4(a)(2) of the Securities Act or Regulation D promulgated
thereunder. Entry of the Confirmation Order shall constitute Bankruptcy Court approval of the Rights Offering
(including the transactions contemplated thereby, and all actions to be undertaken, undertakings to be made, and
obligations to be incurred by Reorganized Chesapeake in connection therewith). On the Effective Date, the rights and
obligations of the Debtors under the Backstop Commitment Agreement shall vest in the Reorganized Debtors,
as applicable.

        The proceeds of the Rights Offering shall be used by the Debtors or Reorganized Debtors, as applicable, to
fund payments under the Plan and for general corporate and strategic purposes as determined by management.

         2.   Rights and New Common Stock.

         Reorganized Chesapeake shall be authorized to issue the Rights and the New Common Stock to certain
holders of Claims pursuant to Article III.B. Such New Common Stock shall be issued to Rights Offering Participants
and/or Backstop Parties pursuant to the Rights Offering, the Backstop Commitment Agreement, and the New
Organizational Documents. Reorganized Chesapeake shall issue all securities, instruments, certificates, and other
documents required to be issued by it with respect to all such shares of New Common Stock. All such Rights and
shares of New Common Stock, and any other shares of New Common Stock issued pursuant to the Plan shall be duly
authorized, validly issued, fully paid, and non-assessable.

         Prior to the Effective Date, the Required Plan Sponsors shall determine whether Reorganized Chesapeake
shall use commercially reasonable efforts to (i) cause the New Common Stock to be listed on a National Securities
Exchange on the Effective Date or to (ii) cause the New Common Stock to be listed on an Alternative Securities
Exchange on the Effective Date or as soon as reasonably practicable thereafter, to engage a market maker for the New
Common Stock and to take other reasonable steps to establish that the New Common Stock is regularly traded on an
established securities market for purposes of section 897 under the Code and Treasury regulations promulgated and
proposed to be promulgated thereunder.

         3.   New Warrants.

          On the Effective Date, Reorganized Chesapeake will issue the New Warrants to certain holders of Claims
pursuant to Article III.B this Plan. Issuances of the New Warrants shall be governed by the terms and conditions set
forth in this Plan and the New Warrant Agreements applicable to such distribution or issuance and by the terms and
conditions of the instruments evidencing or relating each such issuance, which terms and conditions shall bind each
Entity receiving such distribution or issuance without the need for execution by any party thereto other than the
applicable Reorganized Debtor(s). The New Warrants issued pursuant to the Plan and the shares of New Common
Stock that may be issued upon exercise of the New Warrants shall be duly authorized, validly issued, fully paid,
and non-assessable, without the need for any further corporate action and without any further action by the Debtors
or Reorganized Debtors, as applicable.

         4.   Exit Facilities.

          On the Effective Date, the Reorganized Debtors shall enter into the Exit Facilities (the terms of which will
be set forth in the Exit Facilities Documents).

         To the extent applicable, Confirmation of the Plan shall be deemed (a) approval of the Exit Facilities
(including the transactions and related agreements contemplated thereby, and all actions to be taken, undertakings to
be made, and obligations to be incurred and fees and expenses to be paid by the Debtors or the Reorganized Debtors,
as applicable, in connection therewith), to the extent not approved by the Bankruptcy Court previously, and
(b) authorization for the Debtors or the Reorganized Debtors, as applicable, to, without further notice to or order of
the Bankruptcy Court, (i) execute and deliver those documents and agreements necessary or appropriate to pursue or
obtain the Exit Facilities, including the Exit Facilities Documents, and incur and pay any fees and expenses in

                                                         29
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 677 of 1639
                                                                           0677


connection therewith, and (ii) act or take action under applicable law, regulation, order, or rule or vote, consent,
authorization, or approval of any Person, subject to such modifications as the Debtors or the Reorganized Debtors, as
applicable, may deem to be necessary to consummate the Exit Facilities.

          As of the Effective Date, upon the granting or continuation of Liens in accordance with the Plan and the Exit
Facilities Documents, such Liens shall constitute valid, binding, enforceable, and automatically perfected Liens in the
collateral specified in the Exit Facilities Documents. The Exit Facilities Agent or holder(s) of Liens under the Exit
Facilities Documents are authorized to file with the appropriate authorities mortgages, financing statements, and other
documents, and to take any other action in order to evidence, validate, and perfect such Liens or security interests.
The guarantees, mortgages, pledges, Liens, and other security interests granted to secure the obligations arising under
the Exit Facilities Documents have been granted in good faith, for legitimate business purposes, and for reasonably
equivalent value as an inducement to the lenders thereunder to extend credit thereunder and shall be deemed not to
constitute a fraudulent conveyance or fraudulent transfer and shall not otherwise be subject to avoidance,
recharacterization, or subordination for any purposes whatsoever and shall not constitute preferential transfers or
fraudulent conveyances under the Bankruptcy Code or any applicable nonbankruptcy law, and the priorities of such
Liens and security interests shall be as set forth in the Exit Facilities Documents. The Reorganized Debtors and the
Persons and Entities granted such Liens and security interests shall be authorized to make all filings and recordings,
and to obtain all governmental approvals and consents necessary to establish and perfect such Liens and security
interests under the provisions of the applicable state, federal, or other law that would be applicable in the absence of
the Plan and the Confirmation Order (it being understood that perfection shall occur automatically by virtue of the
entry of the Confirmation Order), and will thereafter cooperate to make all other filings and recordings that otherwise
would be necessary under applicable law to give notice of such Liens and security interests to third parties.

F.       Convenience Claim Distribution Reserve.

        On the Effective Date, the Reorganized Debtors shall establish and fund the Convenience Claim Distribution
Reserve with Cash in an amount equal to $10,000,000.00. The Convenience Claim Distribution Reserve shall be
maintained in trust solely for holders of Convenience Claims. Such funds shall not be considered property of the
Debtors or the Reorganized Debtors; provided that any funds remaining in the Convenience Claim Distribution
Reserve after all Convenience Claim Distributions have been made shall be distributed to and vest in the Reorganized
Debtors. Convenience Claims shall be paid in accordance with Article V1.A of the Plan.

G.       Corporate Existence.

          Except as otherwise provided in the Plan or any agreement, instrument, or other document incorporated in
the Plan or the Plan Supplement, each Debtor shall continue to exist after the Effective Date as a separate corporate
entity, limited liability company, partnership, or other form, as the case may be, with all the powers of a corporation,
limited liability company, partnership, or other form, as the case may be, pursuant to the applicable law in the
jurisdiction in which each applicable Debtor is incorporated or formed and pursuant to the respective certificate of
incorporation and bylaws (or other formation documents) in effect prior to the Effective Date, except to the extent
such certificate of incorporation and bylaws (or other formation documents) are amended, amended and restated, or
replaced under the Plan or otherwise, including pursuant to the New Organizational Documents, and to the extent such
documents are amended in accordance therewith, such documents are deemed to be amended, amended and restated,
or replaced pursuant to the Plan and require no further action or approval (other than any requisite filings required
under applicable state, provincial, or federal law). After the Effective Date, the respective certificate of incorporation
and bylaws (or other formation documents) of the Reorganized Debtors may be amended or modified on the terms
therein without supervision or approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy Code
or Bankruptcy Rules. After the Effective Date, one or more of the Reorganized Debtors may be disposed of, dissolved,
wound down, or liquidated without supervision or approval by the Bankruptcy Court and free of any restrictions of
the Bankruptcy Code or Bankruptcy Rules.

H.       Vesting of Assets in the Reorganized Debtors.

         Except as otherwise provided in the Confirmation Order, the Plan (including, for the avoidance of doubt, the
Restructuring Transactions Memorandum), or any agreement, instrument, or other document incorporated in, or
entered into in connection with or pursuant to, the Plan or Plan Supplement, on the Effective Date, all property in each
                                                           30
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 678 of 1639
                                                                           0678


Estate that constitutes property of the Estate under section 541 of the Bankruptcy Code, all Causes of Action, and any
property acquired by any of the Debtors pursuant to the Plan shall vest in each respective Reorganized Debtor, free
and clear of all Liens, Claims, charges, or other encumbrances. On and after the Effective Date, except as otherwise
provided in the Plan, each Reorganized Debtor may operate its business and may use, acquire, or dispose of property
and compromise or settle any Claims, Interests, or Causes of Action without supervision or approval by the Bankruptcy
Court and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules.

         Nothing in the Plan or the Confirmation Order shall operate as a finding or determination that funds (1) held
by the Debtors or subject to their control and (2) to which any holder of a Royalty and Working Interest has asserted
or may assert a right of entitlement or ownership on account of such Royalty and Working Interest, constitute property
of any of the Estates under section 541 of the Bankruptcy Code or otherwise. All parties’ rights with respect to such
issue remain unaffected by Confirmation of the Plan and entry of the Confirmation Order.

I.       Cancellation of Existing Securities and Agreements.

          On the Effective Date, except as otherwise provided in this Plan, all notes, instruments, certificates, credit
agreements, indentures, security agreements, collateral agreements, and other documents evidencing Claims or
Interests shall be cancelled and the obligations of the Debtors thereunder or in any way related thereto shall be deemed
satisfied in full, cancelled, discharged, and of no force or effect. Holders of or parties to such cancelled instruments,
Securities, and other documentation will have no rights arising from or relating to such instruments, Securities, and
other documentation, or the cancellation thereof, except the rights provided for or preserved pursuant to this Plan or
the Confirmation Order.

          Notwithstanding anything to the contrary herein, to the extent cancelled pursuant to this Plan, the DIP Credit
Agreement, the Revolving Credit Facility Credit Agreement, the FLLO Term Loan Facility Credit Agreement, the
Collateral Trust Documents, the Second Lien Notes Indenture, and the Unsecured Notes Indentures shall continue in
effect solely to the extent necessary to: (1) permit holders of Claims under the DIP Credit Agreement, the Revolving
Credit Facility Credit Agreement, the FLLO Term Loan Facility Credit Agreement, the Collateral Trust Documents,
the Second Lien Notes Indenture, and the Unsecured Notes Indentures to receive their respective Plan distributions, if
any; (2) permit the Debtors or the Reorganized Debtors to make Plan distributions on account of the Allowed Claims
under the DIP Credit Agreement, the Revolving Credit Facility Credit Agreement, the FLLO Term Loan Facility
Credit Agreement, the Collateral Trust Documents, the Second Lien Notes Indenture, and the Unsecured Notes
Indentures; (3) permit the Agents and Trustees to seek compensation and/or reimbursement of fees and expenses in
accordance with the terms of the DIP Order, the DIP Credit Agreement, this Plan, and the Confirmation Order, as
applicable; (4) allow the Agents and Trustees to enforce their rights, claims, and interests against any party other than
the Debtors; (5) preserve any rights of the Agents and Trustees to payment of fees, expenses, and indemnification
obligations as against any money or property distributable to holders of Claims under the DIP Credit Agreement, the
Revolving Credit Facility Credit Agreement, the FLLO Term Loan Facility Credit Agreement, the Collateral Trust
Documents, the Second Lien Notes Indenture, and the Unsecured Notes Indentures, respectively, including any rights
to priority of payment and/or to exercise charging liens; (6) permit the Agents and Trustees to appear and be heard in
the Chapter 11 Cases or in any proceeding in the Bankruptcy Court or an appellate court, including to enforce any
obligation owed to the Agents and Trustees or other holders of Claims under the DIP Credit Agreement, the Revolving
Credit Facility Credit Agreement, the FLLO Term Loan Facility Credit Agreement, the Collateral Trust Documents,
the Second Lien Notes Indenture, and the Unsecured Notes Indentures, as applicable; (7) preserve the rights and
obligations of the parties under the Exit Facilities Documents, as applicable; and (8) allow the Agents and Trustees to
maintain any right of indemnification, contribution, or subrogation under the DIP Credit Agreement, the Revolving
Credit Facility Credit Agreement, the FLLO Term Loan Facility Credit Agreement, the Collateral Trust Documents,
the Second Lien Notes Indenture, and the Unsecured Notes Indentures.

         Except as provided in this Plan, on the Effective Date, the Agents and Trustees, and their respective agents,
successors, and assigns, shall be automatically and fully discharged of all of their duties and obligations associated
with the DIP Credit Agreement, the Revolving Credit Facility Credit Agreement, the FLLO Term Loan Facility Credit
Agreement, the Collateral Trust Documents, the Second Lien Notes Indenture, and the Unsecured Notes Indentures,
as applicable. To the extent cancelled in accordance with this Plan, the commitments and obligations (if any) of the
holders under the DIP Credit Agreement, the Revolving Credit Facility Credit Agreement, the FLLO Term Loan
Facility Credit Agreement, the Collateral Trust Documents, the Second Lien Notes Indenture, and the Unsecured
                                                           31
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 679 of 1639
                                                                           0679


Notes Indentures to extend any further or future credit or financial accommodations to any of the Debtors, any of the
Debtors’ respective subsidiaries, or any of the Debtors’ respective successors or assigns under the DIP Credit
Agreement, the Revolving Credit Facility Credit Agreement, the FLLO Term Loan Facility Credit Agreement, the
Collateral Trust Documents, the Second Lien Notes Indenture, and the Unsecured Notes Indentures, as applicable,
shall fully terminate and be of no further force or effect on the Effective Date.

J.       Corporate Action.

          Upon the Effective Date, all actions contemplated under the Plan shall be deemed authorized and approved
in all respects, including: (1) implementation of the Restructuring Transactions, including the Rights Offering;
(2) selection of the directors and officers for the Reorganized Debtors; (3) the issuance and distribution of the New
Common Stock in accordance with the Plan, including all shares of New Common Stock issued by Reorganized
Chesapeake to the Backstop Parties as part of the Put Option Premium and the unsubscribed shares of New Common
Stock issued to Backstop Parties pursuant to the Backstop Commitment Agreement; (4) issuance and distribution of
the Rights and subsequent issuance and distribution of New Common Stock issuable upon exercise of such Rights;
(5) execution and delivery of the Registration Rights Agreement; (6) issuance and distribution of the New Warrants
and entry into the New Warrants Agreements; (7) entry into the Exit Facilities Documents; (8) all other actions
contemplated under the Plan (whether to occur before, on, or after the Effective Date); (9) approval and adoption of
the New Organizational Documents; (10) entry into the Management Incentive Plan; (11) the rejection, assumption,
or assumption and assignment, as applicable, of Executory Contracts and Unexpired Leases; and (12) all other acts or
actions contemplated or reasonably necessary or appropriate to promptly consummate the Restructuring Transactions
contemplated by the Plan (whether to occur before, on, or after the Effective Date). All matters provided for in the
Plan involving the corporate structure of the Debtors or the Reorganized Debtors, and any corporate, partnership,
limited liability company, or other governance action required by the Debtors or the Reorganized Debtor, as
applicable, in connection with the Plan shall be deemed to have occurred and shall be in effect, without any
requirement of further action by the Security holders, members, directors, or officers of the Debtors or the Reorganized
Debtors, as applicable. On or (as applicable) prior to the Effective Date, the appropriate officers of the Debtors or the
Reorganized Debtors, as applicable, shall be authorized and (as applicable) directed to issue, execute, and deliver the
agreements, documents, Securities, and instruments contemplated under the Plan (or necessary or desirable to effect
the transactions contemplated under the Plan) in the name of and on behalf of the Reorganized Debtors, including the
New Common Stock, Rights, the Registration Rights Agreement, the Management Incentive Plan, the New Warrants
and the New Warrants Agreements, the New Organizational Documents, the Exit Facilities Documents, and any and
all other agreements, documents, Securities, and instruments relating to the foregoing. The authorizations and
approvals contemplated by this Article IV.J shall be effective notwithstanding any requirements under
non-bankruptcy law.

K.       New Organizational Documents.

         On or immediately prior to the Effective Date, the New Organizational Documents shall be automatically
adopted by the applicable Reorganized Debtors. To the extent required under the Plan or applicable non-bankruptcy
law, each of the Reorganized Debtors will file its New Organizational Documents with the applicable Secretaries of
State and/or other applicable authorities in its respective state if and to the extent required in accordance with the
applicable laws of the respective state. The New Organizational Documents will (i) prohibit the issuance of non-
voting equity Securities, to the extent required under section 1123(a)(6) of the Bankruptcy Code; (ii) with respect to
the New Organizational Documents of Reorganized Chesapeake, authorize the issuance of New Common Stock in an
amount not less than the amount necessary to permit the distributions thereof required or contemplated by this Plan
(including as a result of the exercise of New Warrants); and (iii) to the extent necessary or appropriate, include such
provisions as may be needed to effectuate and consummate this Plan and the transactions contemplated herein.
The New Organizational Documents shall also provide for the indemnification and exculpation of directors, officers
and appropriate persons to the fullest extent permitted by applicable law.

         If requested by the Required Consenting Stakeholders before the Effective Date, the New Organizational
Documents will include transfer restrictions designed to limit an ownership change for purposes of section 382 of the
Code or otherwise the Debtors or Reorganized Debtors, as applicable, may adopt and implement a stockholder rights
plan designed for such purpose, in each case effective upon the Effective Date.


                                                           32
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 680 of 1639
                                                                           0680


         The New Organizational Documents of Reorganized Chesapeake shall also provide that until such time as
the New Common Stock is listed on a National Securities Exchange the Reorganized Debtors shall not, without the
approval of the holders of the majority of outstanding New Common Stock: (i) issue shares of New Common Stock
in excess of 5% of the fully-diluted number of shares of New Common Stock outstanding and authorized for issuance
under the Plan on the Effective Date (including all shares contemplated under the claims recovery, the New Warrants,
the Rights Offering, the Backstop Commitment Agreement and the Management Incentive Plan) or authorize or issue
any shares of preferred stock; provided that this limitation shall not apply in connection with the adoption of a bona
fide stockholder rights plan by Reorganized Chesapeake’s board of directors; (ii) enter into any sales, transfers or
licenses of any Reorganized Chesapeake subsidiary, division, operation, business, line of business, assets or property,
in each case, held by Reorganized Chesapeake or any of its subsidiaries with any person other than Reorganized
Chesapeake or one or more of its wholly-owned subsidiaries involving consideration in excess of $50,000,000 per
transaction or series of related transactions; or (iii) make any acquisition, by merger, consolidation or stock or asset
purchase or investment with respect to any business, assets, property or any corporation or other entity, involving
consideration in excess of $50,000,000 per transaction or series of related transactions.

         On or after the Effective Date, the Reorganized Debtors may amend, amend and restate or modify their
respective New Organizational Documents in accordance with the terms thereof, and the Reorganized Debtors may
file such amended, amended and restated or modified certificates or articles of incorporation, bylaws, or such other
applicable formation documents, and other constituent documents as permitted by the laws of their respective state of
incorporation and the New Organizational Documents.

L.       Indemnification Obligations.

         Consistent with applicable law, all indemnification provisions in place as of the Effective Date (whether in
the bylaws, certificates of incorporation or formation, limited liability company agreements, other organizational
documents, board resolutions, indemnification agreements, employment contracts, the DIP Order, or otherwise) for
current and former directors, officers, managers, employees, attorneys, accountants, investment bankers, and other
professionals of the Debtors, the DIP Agent, the DIP Lenders, the Revolving Credit Facility Agent, the Consenting
Revolving Credit Facility Lenders, the Consenting FLLO Term Loan Facility Lenders, the Collateral Trustee, the
Second Lien Notes Trustee, the Consenting Second Lien Noteholders, and the Consenting Unsecured Noteholders, as
applicable, shall be reinstated and remain intact, irrevocable, and shall survive the effectiveness of the Plan on terms
no less favorable to such current and former directors, officers, managers, employees, attorneys, accountants,
investment bankers, and other professionals of the Debtors, the DIP Agent, the DIP Lenders, the Revolving Credit
Facility Agent, the Consenting Revolving Credit Facility Lenders, the Consenting FLLO Term Loan Facility Lenders,
the Collateral Trustee, the Second Lien Notes Trustee, the Consenting Second Lien Noteholders, and the Consenting
Unsecured Noteholders, as applicable, than the indemnification provisions in place prior to the Effective Date.

M.       Directors and Officers of the Reorganized Debtors.

         As of the Effective Date, the terms of the current members of the board of directors of Chesapeake shall
expire and the new directors and officers of the Reorganized Chesapeake shall be appointed. The identities of directors
on the New Board shall be set forth in the Plan Supplement to the extent known at the time of Filing. Each member
of the New Board will serve from and after the Effective Date pursuant to applicable law and the terms of the New
Organizational Documents. The existing boards of directors and other governing bodies of the other Reorganized
Debtors will be deemed to have resigned on and as of the Effective Date, in each case without further notice to or
order of the Bankruptcy Court, act or action under applicable law, regulation, order, or rule or the vote, consent,
authorization, or approval of any Person or Entity.

         Corporate governance for Reorganized Chesapeake, including charters, bylaws, operating agreements, or
other organization documents, as applicable, shall be consistent with section 1123(a)(6) of the Bankruptcy Code and
the New Organizational Documents.

N.       Effectuating Documents; Further Transactions.

        On and after the Effective Date, the Reorganized Debtors, and their respective officers, directors, members,
or managers (as applicable), are authorized to and may issue, execute, deliver, file, or record such contracts, Securities,
                                                            33
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 681 of 1639
                                                                           0681


instruments, releases, and other agreements or documents and take such actions as may be necessary or appropriate to
effectuate, implement, and further evidence the terms and conditions of the Plan, Exit Facilities entered into, and the
Securities issued pursuant to the Plan in the name of and on behalf of the Reorganized Debtors, without the need for
any approvals, authorization, or consents except for those expressly required pursuant to the Plan.

O.       Section 1146 Exemption.

          To the fullest extent permitted by section 1146(a) of the Bankruptcy Code, any transfers (whether from a
Debtor to a Reorganized Debtor or to any other Person) of property under the Plan or pursuant to: (1) the issuance,
distribution, transfer, or exchange of any debt, equity Security, or other interest in the Debtors or the Reorganized
Debtors, including the New Common Stock and the New Warrants (including the New Common Stock that may be
issuable upon exercise of the New Warrants); (2) the Restructuring Transactions; (3) the creation, modification,
consolidation, termination, refinancing, and/or recording of any mortgage, deed of trust, or other security interest, or
the securing of additional indebtedness by such or other means; (4) the making, assignment, or recording of any lease
or sublease; (5) the grant of collateral as security for the Reorganized Debtors’ obligations under and in connection
with the Exit Facilities; or (6) the making, delivery, or recording of any deed or other instrument of transfer under, in
furtherance of, or in connection with, the Plan, including any deeds, bills of sale, assignments, or other instrument of
transfer executed in connection with any transaction arising out of, contemplated by, or in any way related to the Plan,
shall not be subject to any document recording tax, stamp tax, conveyance fee, intangibles or similar tax, mortgage
tax, real estate transfer tax, personal property transfer tax, sales or use tax, mortgage recording tax, Uniform
Commercial Code filing or recording fee, regulatory filing or recording fee, or other similar tax or governmental
assessment, and upon entry of the Confirmation Order, the appropriate state or local governmental officials or agents
shall forego the collection of any such tax or governmental assessment and accept for filing and recordation any of
the foregoing instruments or other documents without the payment of any such tax, recordation fee, or governmental
assessment. All filing or recording officers (or any other Person with authority over any of the foregoing), wherever
located and by whomever appointed, shall comply with the requirements of section 1146(a) of the Bankruptcy Code,
shall forego the collection of any such tax or governmental assessment, and shall accept for filing and recordation any
of the foregoing instruments or other documents without the payment of any such tax or governmental assessment.

P.       Director and Officer Liability Insurance.

          Notwithstanding anything in the Plan to the contrary, the Reorganized Debtors shall be deemed to have
assumed all of the Debtors’ D&O Liability Insurance Policies pursuant to sections 105 and 365(a) of the Bankruptcy
Code effective as of the Effective Date. Entry of the Confirmation Order will constitute the Bankruptcy Court’s
approval of the Reorganized Debtors’ foregoing assumption of each of the unexpired D&O Liability Insurance
Policies. Notwithstanding anything to the contrary contained in the Plan, Confirmation of the Plan shall not discharge,
impair, or otherwise modify any indemnity obligations assumed by the foregoing assumption of the unexpired D&O
Liability Insurance Policies, and each such indemnity obligation will be deemed and treated as an Executory Contract
that has been assumed by the Debtors under the Plan as to which no Proof of Claim need be Filed.

          In addition, after the Effective Date, none of the Reorganized Debtors shall terminate or otherwise reduce the
coverage under any D&O Liability Insurance Policies (including any “tail policy”) in effect on or after the Petition
Date, with respect to conduct occurring prior thereto, and all directors and officers of the Debtors who served in such
capacity at any time prior to the Effective Date shall be entitled to the full benefits of any such policy for the full term
of such policy, to the extent set forth therein, regardless of whether such directors and officers remain in such positions
after the Effective Date.

Q.       Management Incentive Plan.

         On the Plan Effective Date, the Reorganized Debtors shall adopt a management incentive plan
(the “Management Incentive Plan”). All grants under the Management Incentive Plan shall be determined at the sole
discretion of the New Board including, without limitation, with respect to the participants, allocation, timing, and the
form and structure of the options, warrants, and/or equity compensation to be provided thereunder and taking into
account market compensation levels and historical equity compensation structures.



                                                            34
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 682 of 1639
                                                                           0682


R.       Employee Benefits.

         Unless otherwise provided herein, and subject to Article V hereof, all wages, compensation, and benefits
programs, including executive compensation programs and any motions in the Bankruptcy Court for the approval
thereof, will be continued according to existing terms and practices. On the Effective Date, the Debtors shall
(1) assume all employment agreements, indemnification agreements, or other agreements entered into with current
and former employees; or (2) enter into new agreements with such employees on terms and conditions acceptable to
the Debtor and such employee. Notwithstanding the foregoing, any employment agreements or other
employment-related agreements that provide for any acceleration or enhancement of payments (including severance
payments), vesting, benefits, or other rights in connection with a transaction that constitutes a change in control,
change of control, or similar concept under such agreements, shall only be assumed if and to the extent that the
Debtors, with the consent of the Required Plan Sponsors, obtain waivers specifying that the consummation of the
Restructuring Transactions shall not trigger any such rights under such agreements.

         For the avoidance of doubt, pursuant to section 1129(a)(13) of the Bankruptcy Code, from and after the
Effective Date, all retiree benefits (as such term is defined in section 1114 of the Bankruptcy Code), if any, shall
continue to be paid in accordance with applicable law.

       Notwithstanding the foregoing, on the Effective Date, the Debtors may enter into new arrangements with
employees on terms and conditions acceptable to the Debtors, the Required Plan Sponsors, and such employee.

S.       Preservation of Causes of Action.

         In accordance with section 1123(b) of the Bankruptcy Code, but subject to Article VIII hereof, each
Reorganized Debtor, as applicable, shall retain and may enforce all rights to commence and pursue, as appropriate,
any and all Causes of Action of the Debtors, whether arising before or after the Petition Date, including any actions
specifically enumerated in the Schedule of Retained Causes of Action, and the Reorganized Debtors’ rights to
commence, prosecute, or settle such Causes of Action shall be preserved notwithstanding the occurrence of the
Effective Date, other than: (i) the Causes of Action released by the Debtors pursuant to the releases and exculpations
contained in the Plan, including in Article VIII hereof, which shall be deemed released and waived by the Debtors and
the Reorganized Debtors as of the Effective Date; and (ii) all Causes of Action that arise under sections 544, 547, 548,
and 549 of the Bankruptcy Code and state fraudulent conveyance law.

          The Reorganized Debtors may pursue such retained Causes of Action, as appropriate, in accordance with the
best interests of the Reorganized Debtors. No Entity (other than the Released Parties) may rely on the absence of
a specific reference in the Plan, the Plan Supplement, or the Disclosure Statement to any Cause of Action
against it as any indication that the Debtors or the Reorganized Debtors, as applicable, will not pursue any and
all available Causes of Action of the Debtors against it. The Debtors and the Reorganized Debtors expressly
reserve all rights to prosecute any and all Causes of Action against any Entity, except as otherwise expressly
provided in the Plan, including Article VIII hereof. Unless otherwise agreed upon in writing by the parties to
the applicable Cause of Action, all objections to the Schedule of Retained Causes of Action must be Filed with
the Bankruptcy Court on or before thirty (30) days after the Effective Date. Any such objection that is not
timely Filed shall be disallowed and forever barred, estopped, and enjoined from assertion against any
Reorganized Debtor, without the need for any objection or responsive pleading by the Reorganized Debtors or
any other party in interest or any further notice to or action, order, or approval of the Bankruptcy Court.
The Reorganized Debtors may settle any such objection without any further notice to or action, order, or approval of
the Bankruptcy Court. If there is any dispute regarding the inclusion of any Cause of Action on the Schedule of
Retained Causes of Action that remains unresolved by the Debtors or Reorganized Debtors, as applicable, and the
objection party for thirty (30) days, such objection shall be resolved by the Bankruptcy Court. Unless any Causes of
Action of the Debtors against an Entity are expressly waived, relinquished, exculpated, released, compromised, or
settled in the Plan or a Final Order, the Reorganized Debtors expressly reserve all Causes of Action, for later
adjudication, and, therefore, no preclusion doctrine, including the doctrines of res judicata, collateral estoppel, issue
preclusion, claim preclusion, estoppel (judicial, equitable, or otherwise), or laches, shall apply to such Causes of
Action upon, after, or as a consequence of the Confirmation or Consummation.



                                                           35
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 683 of 1639
                                                                           0683


         The Reorganized Debtors reserve and shall retain such Causes of Action of the Debtors notwithstanding the
rejection or repudiation of any Executory Contract or Unexpired Lease during the Chapter 11 Cases or pursuant to the
Plan. In accordance with section 1123(b)(3) of the Bankruptcy Code, any Causes of Action that a Debtor may hold
against any Entity shall vest in the Reorganized Debtors, except as otherwise expressly provided in the Plan, including
Article VIII hereof. The applicable Reorganized Debtors, through their authorized agents or representatives, shall
retain and may exclusively enforce any and all such Causes of Action. The Reorganized Debtors shall have the
exclusive right, authority, and discretion to determine and to initiate, file, prosecute, enforce, abandon, settle,
compromise, release, withdraw, or litigate to judgment any such Causes of Action and to decline to do any of the
foregoing without the consent or approval of any third party or further notice to or action, order, or approval of the
Bankruptcy Court.

T.       Preservation of Royalty and Working Interests.

          Notwithstanding any other provision in the Plan, on and after the Effective Date, all Royalty and Working
Interests shall remain in full force and effect in accordance with the terms of the granting instruments or other
governing documents applicable to such Royalty and Working Interests.

           Royalty and Working Interests shall not be modified, affected or impaired in any manner by any provision
of the Plan or the Confirmation Order, including but not limited to any injunctive or stay relief, and the legal and
equitable rights, interests, defenses, and obligations of holders of Royalty and Working Interests, with respect to such
Royalty and Working Interests, shall not be modified, affected or impaired in any manner by the provisions of the
Plan or the Confirmation Order; provided that, to the extent applicable, any Other Secured Claims, General Unsecured
Claims, or Administrative Claims of holders of Royalty and Working Interests shall be treated in accordance with
Articles II and III hereof. Nor shall the Plan or the Confirmation Order modify, affect or impair the rights and defenses
of the Debtors or the Reorganized Debtors with respect to the Royalty and Working Interests. The Debtors’ and the
Reorganized Debtors’ rights to dispute the amounts owing on account of Royalty and Working Interests and to assert
that prepetition Claims for such amounts have been discharged by the Plan or the Confirmation Order are expressly
preserved and reserved. Nothing in this Plan or the Confirmation Order shall be deemed a finding or determination
as to whether any such amount owed by the Debtors or the Reorganized Debtors on account of Royalty and Working
Interests is a Claim or a specific type of Claim, if the amount has been discharged, or to what extent (if any) funds
held by the Debtors or the Reorganized Debtors or subject to their control, with respect to which funds any holder of
a Royalty and Working Interest has asserted or may assert a right of entitlement or ownership on account of such
Royalty and Working Interest, constitute property of any of the Estates under section 541 of the Bankruptcy Code or
otherwise; provided, however, that any determination with respect to the foregoing shall be made by the Bankruptcy
Court. All parties’ rights are preserved and reserved with respect to such findings or determinations; provided that, to
the extent applicable, any Administrative Claims, Other Secured Claims or General Unsecured Claims of holders of
Royalty and Working Interests on account of Royalty and Working Interests shall be treated in accordance with Article
II or III hereof, as appropriate.

          Notwithstanding anything in the Plan or the Confirmation Order to the contrary, the Debtors or the
Reorganized Debtors shall continue paying all undisputed amounts owing on account of Royalty and Working
Interests, including with respect to suspense funds as and when reconciled, in the ordinary course of business and in
accordance with all applicable agreements and laws.

          Nothing in the Plan or the Confirmation Order shall affect the Debtors’ or the Reorganized Debtors’
obligations to comply with all federal, state and local laws, rules and regulations with respect to Royalty and Working
Interests and holders thereof, including, without limitation, laws, rules and regulations regarding inspection of books
and records and segregation or escrow of funds or production proceeds belonging and/or payable to holders of Royalty
and Working Interests.

U.       Resolution of Pending Litigation.

         The Debtors may remove to the Bankruptcy Court by the Removal Deadline any litigation pending as of the
Petition Date that alleges claims or causes of action that, if successful, would not result in a Claim. Notwithstanding
the foregoing, (i) pending litigation alleging personal injury claims or causes of action, (ii) pending litigation for which
the automatic stay has been lifted pursuant to section 362 of the Bankruptcy Code, and (iii) any litigation not removed
                                                            36
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 684 of 1639
                                                                           0684


by the Removal Deadline shall proceed to final judgment in the jurisdiction in which such litigation was pending as
of the Petition Date; provided that any Claim resulting from a final judgment in any such litigation shall be treated in
accordance with the Plan.

V.       Payment of Certain Fees.

          Without any further notice to or action, order, or approval of the Bankruptcy Court, the Debtors or the
Reorganized Debtors, as applicable, shall pay on the Effective Date the Restructuring Expenses, subject to the
conditions set forth in this Article IV.U of the Plan. The Restructuring Expenses incurred, or estimated to be incurred,
up to and including the Effective Date, shall be paid in full in Cash on the Effective Date or as reasonably practicable
thereafter (to the extent not previously paid during the course of the Chapter 11 Cases) in accordance with, and subject
to, the terms of the Restructuring Support Agreement, without any requirement to file a fee application with the
Bankruptcy Court, without the need for itemized time detail, or without any requirement for Bankruptcy Court review
or approval. All Restructuring Expenses to be paid on the Effective Date shall be estimated prior to and as of the
Effective Date and such estimates shall be delivered to the Debtors at least five (5) Business Days before the
anticipated Effective Date or such later time as required by the Debtors; provided that such estimates shall not be
considered an admission or limitation with respect to such Restructuring Expenses. On or as soon as practicable after
the Effective Date, final invoices for all Restructuring Expenses incurred prior to and as of the Effective Date shall be
submitted to the Debtors. In addition, the Debtors and the Reorganized Debtors (as applicable) shall continue to pay
pre- and post-Effective Date Restructuring Expenses related to implementation, consummation, and defense of the
Plan, whether incurred before, on, or after the Effective Date. For the avoidance of doubt, nothing in this paragraph
shall be deemed to impair, waive, discharge, or negatively impact or affect any rights of the FLLO Term Loan Facility
Administrative Agent, the Collateral Trustee, and the Second Lien Notes Trustee to payment of fees, expenses, and
indemnification obligations solely as against any money or property distributable to holders of Claims under the FLLO
Term Loan Facility Credit Agreement, the Collateral Trust Documents, or the Second Lien Notes Indenture, as
applicable, including any rights to priority of payment and/or to exercise charging liens. Notwithstanding anything in
the Plan, including Article IV.I hereof, reimbursement of the Second Lien Notes Trustee’s financial advisor’s fees and
expenses shall be limited to $250,000 in the aggregate, and no Person shall be entitled to increase or seek to increase
this $250,000 limit or use a charging lien or seek payment for such financial advisor’s or any financial advisor to the
Second Lien Notes Trustee’s fees and expenses from any other source.

         Without limiting the obligations of the Debtors or Reorganized Debtors to pay the DIP Agent Fees and
Expenses and any fees, costs and expenses of the Exit Facilities Agent pursuant to the Exit Facilities Documents, the
Reorganized Debtors shall pay all post-Effective Date expenses incurred by the DIP Agent and/or the Exit Facilities
Agent related to implementation, consummation, and defense of the Plan, whether incurred on or after the
Effective Date.

                                     ARTICLE V.
                TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

A.       Assumption and Rejection of Executory Contracts and Unexpired Leases.

          On the Effective Date, except as otherwise provided herein, all Executory Contracts or Unexpired Leases not
otherwise assumed or rejected will be deemed assumed by the applicable Reorganized Debtor in accordance with the
provisions and requirements of sections 365 and 1123 of the Bankruptcy Code, other than those that are: (1) identified
on the Rejected Executory Contracts and Unexpired Leases Schedule; (2) previously expired or terminated pursuant
to their own terms; (3) have been previously assumed or rejected by the Debtors pursuant to a Final Order; (4) are the
subject of a motion to reject that is pending on the Effective Date; or (5) have an ordered or requested effective date
of rejection that is after the Effective Date.

          Entry of the Confirmation Order shall constitute an order of the Bankruptcy Court approving the assumptions,
assumptions and assignments, or rejections of the Executory Contracts or Unexpired Leases as set forth in the Plan,
the Assumed Executory Contract and Unexpired Leases Schedule, or the Rejected Executory Contracts and Unexpired
Leases Schedule, pursuant to sections 365(a) and 1123 of the Bankruptcy Code. Except as otherwise specifically set
forth herein, assumptions or rejections of Executory Contracts and Unexpired Leases pursuant to the Plan are effective
as of the Effective Date. Each Executory Contract or Unexpired Lease assumed pursuant to the Plan or by Bankruptcy
                                                           37
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 685 of 1639
                                                                           0685


Court order but not assigned to a third party before the Effective Date shall re-vest in and be fully enforceable by the
applicable contracting Reorganized Debtor in accordance with its terms, except as such terms may have been modified
by the provisions of the Plan or any order of the Bankruptcy Court authorizing and providing for its assumption. Any
motions to assume Executory Contracts or Unexpired Leases pending on the Effective Date shall be subject to approval
by a Final Order on or after the Effective Date but may be withdrawn, settled, or otherwise prosecuted by the
Reorganized Debtors.

          To the maximum extent permitted by law, to the extent any provision in any Executory Contract or Unexpired
Lease assumed or assumed and assigned pursuant to the Plan restricts or prevents, or purports to restrict or prevent,
or is breached or deemed breached by, the assumption or assumption and assignment of such Executory Contract or
Unexpired Lease (including any “change of control” provision), then such provision shall be deemed modified such
that the transactions contemplated by the Plan shall not entitle the non-Debtor party thereto to terminate such
Executory Contract or Unexpired Lease or to exercise any other default-related rights with respect thereto.
Notwithstanding anything to the contrary in the Plan, the Debtors or the Reorganized Debtors, as applicable, reserve
the right, with the consent of the Required Consenting Stakeholders, to alter, amend, modify, or supplement the
Assumed Executory Contracts and Unexpired Leases Schedule and the Rejected Executory Contracts and Unexpired
Leases Schedule at any time up to forty-five (45) days after the Effective Date, so long as such allocation, amendment,
modification, or supplement is consistent with the Restructuring Support Agreement.

B.       Claims Based on Rejection of Executory Contracts or Unexpired Leases.

          Unless otherwise provided by a Final Order of the Bankruptcy Court, all Proofs of Claim with respect to
Claims arising from the rejection of Executory Contracts or Unexpired Leases, pursuant to the Plan or the
Confirmation Order, if any, must be Filed with the Bankruptcy Court within thirty (30) days after the later of (1) the
date of entry of an order of the Bankruptcy Court (including the Confirmation Order) approving such rejection, (2) the
effective date of such rejection, or (3) the Effective Date. Any Claims arising from the rejection of an Executory
Contract or Unexpired Lease not Filed with the Bankruptcy Court within such time will be automatically
disallowed, forever barred from assertion, and shall not be enforceable against the Debtors or the Reorganized
Debtors, the Estates, or their property without the need for any objection by the Reorganized Debtors or
further notice to, or action, order, or approval of the Bankruptcy Court or any other Entity, and any Claim
arising out of the rejection of the Executory Contract or Unexpired Lease shall be deemed fully satisfied,
released, and discharged, notwithstanding anything in the Proof of Claim to the contrary. All Allowed Claims
arising from the rejection of the Debtors’ Executory Contracts or Unexpired Leases shall be classified as General
Unsecured Claims and shall be treated in accordance with Article III.B.7 of this Plan.

C.       Cure of Defaults for Assumed Executory Contracts and Unexpired Leases.

          Any monetary defaults under each Assumed Executory Contract or Unexpired Lease shall be satisfied,
pursuant to section 365(b)(1) of the Bankruptcy Code, by payment of the default amount in Cash on the Effective
Date, or as soon as reasonably practicable thereafter, subject to the limitation described below, or on such other terms
as the parties to such Executory Contracts or Unexpired Leases may otherwise agree. In the event of a dispute
regarding (1) the amount of any payments to cure such a default, (2) the ability of the Reorganized Debtors or any
assignee to provide “adequate assurance of future performance” (within the meaning of section 365 of the Bankruptcy
Code) under the Executory Contract or Unexpired Lease to be assumed, or (3) any other matter pertaining to
assumption, the cure payments required by section 365(b)(1) of the Bankruptcy Code shall be made following the
entry of a Final Order resolving the dispute and approving the assumption.

         Any objection by a contract or lease counterparty to a proposed assumption of an Executory Contract or
Unexpired Lease or the related cure cost (including as set forth on the Assumed Executory Contracts and Unexpired
Leases Schedule) must be Filed, served, and actually received by the Debtors in accordance with the Disclosure
Statement Order or other applicable Final Order of the Bankruptcy Court. Any counterparty to an Executory Contract
or Unexpired Lease that fails to object timely to the proposed assumption or cure amount will be deemed to have
consented to such assumption or proposed cure amount. For the avoidance of doubt, to the extent an Executory
Contract or Unexpired Lease proposed to be assumed is not listed as having a related cure cost, any counterparty to
such Executory Contract or Unexpired Lease that fails to object timely to the proposed assumption will be deemed to


                                                          38
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 686 of 1639
                                                                           0686


have consented to such assumption and deemed to release any Claim or Cause of Action for any monetary defaults
under such Executory Contract or Unexpired Lease.

         For the avoidance of doubt, the Debtors or the Reorganized Debtors, as applicable, with the consent of the
Required Consenting Stakeholders, may add any Executory Contract or Unexpired Lease proposed to be assumed to
the Rejected Executory Contracts and Unexpired Leases Schedule in accordance with the time limits provided by the
Plan for any reason, including if the Bankruptcy Court determines that the Allowed Cure Claim with respect to any
Executory Contract or Unexpired Lease is greater than the amount set forth in the applicable cure notice or the Plan,
in which case such Executory Contract or Unexpired Lease is deemed rejected as the Effective Date.

         Assumption of any Executory Contract or Unexpired Lease shall result in the full release and satisfaction of
any Claims or defaults, whether monetary or nonmonetary, including defaults of provisions restricting the change in
control or ownership interest composition or other bankruptcy-related defaults, arising under any Assumed Executory
Contract or Unexpired Lease at any time before the effective date of assumption. Any Proofs of Claim Filed with
respect to an Assumed Executory Contract or Unexpired Lease shall be deemed disallowed, without further notice to
or action, order, or approval of the Bankruptcy Court.

D.       Preexisting Obligations to the Debtors Under Executory Contracts and Unexpired Leases.

         Rejection of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise shall not constitute
a termination of preexisting obligations owed to the Debtors or the Reorganized Debtors, as applicable, under such
Executory Contracts or Unexpired Leases. In particular, notwithstanding any non-bankruptcy law to the contrary, the
Reorganized Debtors expressly reserve and do not waive any right to receive, or any continuing obligation of a
counterparty to provide, warranties or continued maintenance obligations with respect to goods previously purchased
by the Debtors pursuant to rejected Executory Contracts or Unexpired Leases.

E.       Insurance Policies.

         Notwithstanding anything to the contrary in the Disclosure Statement, the Plan, any Plan Supplement, the
Confirmation Order, the Restructuring Support Agreement, the Restructuring Term Sheet, any Bar Date notice or
Claim objection, any other document related to any of the foregoing or any other order of the Bankruptcy Court
(including, without limitation, any other provision that purports to be preemptory or supervening, grants an injunction,
discharge or release, or confers Bankruptcy Court jurisdiction or requires a party to opt out of any releases):

          (1) on the Effective Date the Reorganized Debtors shall be deemed to have assumed all unexpired Insurance
Policies in their entirety pursuant to sections 105 and 365 of the Bankruptcy Code; (2) all unexpired Insurance Policies
shall re-vest in the Reorganized Debtors, unaltered, other than that on and after the Effective Date, the Reorganized
Debtors shall be liable for all debts, obligations, and liabilities of the Debtors (and, after the Effective Date, of the
Reorganized Debtors) under the Insurance Policies, regardless of when such debts, obligations, and liabilities arise,
without the need or requirement for any Insurer to file a Proof of Claim, an Administrative Claim, a Cure Claim or to
object to any cure amount, and thereafter the Reorganized Debtors may, subject to the terms of the Insurance Policies
and applicable non-bankruptcy law, resolve any Claims covered by the Insurance Policies, resolve any Causes of
Action, if any, in connection with the Insurance Policies, and collect any and all outstanding deposits, restricted cash,
and letters of credit, if any, related thereto; (3) nothing shall alter, modify, amend, affect, impair or prejudice the legal,
equitable or contractual rights, obligations, and defenses of the Insurers, the Debtors (or, after the Effective Date, the
Reorganized Debtors), or any other individual or entity, as applicable, under any Insurance Policies; and (4) the
automatic stay of Bankruptcy Code section 362(a) and the injunctions set forth in Article VIII of the Plan, if and to
the extent applicable, shall be deemed lifted without further order of this Bankruptcy Court, solely to permit: (I)
claimants with valid workers’ compensation claims or direct action claims against an Insurer under applicable non-
bankruptcy law to proceed with their claims; (II) the Insurers to administer, handle, defend, settle, and/or pay, in the
ordinary course of business and without further order of this Bankruptcy Court, (A) workers’ compensation claims,
(B) claims where a claimant asserts a direct claim against any Insurer under applicable non-bankruptcy law, or an
order has been entered by this Bankruptcy Court granting a claimant relief from the automatic stay to proceed with its
claim, and (C) all costs in relation to each of the foregoing; and (III) the Insurers to cancel any Insurance Policies, and
take other actions relating thereto, to the extent permissible under applicable non-bankruptcy law, and in accordance
with the terms of the Insurance Policies.
                                                             39
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 687 of 1639
                                                                           0687


F.       Reservation of Rights.

          Nothing contained in the Plan or the Plan Supplement shall constitute an admission by the Debtors or any
other party that any contract or lease is in fact an Executory Contract or Unexpired Lease or that any Reorganized
Debtor has any liability thereunder. If there is a dispute regarding whether a contract or lease is or was executory or
unexpired at the time of assumption or rejection, the Debtors or the Reorganized Debtors, as applicable, shall have
forty-five (45) days following entry of a Final Order resolving such dispute to alter their treatment of such contract
or lease.

G.       Nonoccurrence of Effective Date.

         In the event that the Effective Date does not occur, the Bankruptcy Court shall retain jurisdiction with respect
to any request to extend the deadline for assuming or rejecting Unexpired Leases pursuant to section 365(d)(4) of the
Bankruptcy Code.

H.       Contracts and Leases Entered Into After the Petition Date.

        Contracts and leases entered into after the Petition Date by any Debtor, including any Executory Contracts
and Unexpired Leases assumed by such Debtor, will be performed by the applicable Debtor or the Reorganized
Debtors in the ordinary course of their business. Accordingly, such contracts and leases (including any assumed
Executory Contracts and Unexpired Leases) will survive and remain unaffected by entry of the Confirmation Order.

                                              ARTICLE VI.
                                  PROVISIONS GOVERNING DISTRIBUTIONS

A.       Timing and Calculation of Amounts to Be Distributed.

          Unless otherwise provided in the Plan, on the Effective Date (or if a Claim or Interest is not an Allowed
Claim or Allowed Interest on the Effective Date, on the date that such Claim or Interest becomes an Allowed Claim
or Allowed Interest, or as soon as reasonably practicable thereafter), each holder of an Allowed Claim or Allowed
Interest shall receive the full amount of the distributions that the Plan provides for Allowed Claims and Allowed
Interests in the applicable Class.

          With respect to holders of Allowed Unsecured Notes Claims and Allowed General Unsecured Claims other
than Convenience Claims, each such holder shall receive from the Unsecured Claims Recovery (1) an initial
distribution on account of such holder’s Allowed Unsecured Notes Claim or General Unsecured Claim on the Effective
Date or as soon as reasonably practicable thereafter (or if a Claim is not an Allowed Claim on the Effective Date, on
the date that such Claim becomes an Allowed Claim, or as soon as reasonably practicable thereafter); and (2) upon
completion of the Claims reconciliation process, its Pro Rata share of the remaining Unsecured Claims Recovery.

         With respect to holders of Convenience Claims, each such holder shall receive from the Convenience Claim
Distribution Reserve (1) an initial distribution on account of such holder’s Convenience Claim on the Effective Date
or as soon as reasonably practicable thereafter (or if a Claim is not an Allowed Claim on the Effective Date, on the
date that such Claim becomes an Allowed Claim, or as soon as reasonably practicable thereafter); and (2) upon
completion of the Claims reconciliation process, its Pro Rata share of the remaining Convenience Claim Distribution
Reserve; provided that no Convenience Claim shall recover in excess of 5 percent of such Convenience Claim;
provided, further, that any funds remaining in the Convenience Claim Distribution Reserve after all Convenience
Claim Distributions have been made shall be distributed to and vest in the Reorganized Debtors.

        In the event that any payment or act under the Plan is required to be made or performed on a date that is not
a Business Day, then the making of such payment or the performance of such act may be completed on the next
succeeding Business Day, but shall be deemed to have been completed as of the required date.

        If and to the extent that there are Disputed Claims or Disputed Interests, distributions on account of any such
Disputed Claims or Disputed Interests shall be made pursuant to the provisions set forth in Article VII of the Plan.

                                                           40
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 688 of 1639
                                                                           0688


B.       Delivery of Distributions and Undeliverable or Unclaimed Distributions.

         1.   Record Date for Distribution.

          On the Distribution Record Date, the Claims Register shall be closed and any party responsible for making
distributions shall instead be authorized and entitled to recognize only those record holders listed on the Claims
Register as of the close of business on the Distribution Record Date. If a Claim, other than one based on a publicly
traded Security or FLLO Term Loan Facility Claim, is transferred twenty (20) or fewer days before the Distribution
Record Date, distributions shall be made to the transferee only to the extent practical and, in any event, only if the
relevant transfer form contains an unconditional and explicit certification and waiver of any objection to the transfer
by the transferor.

         2.   Delivery of Distributions in General.

          Except as otherwise provided herein, the Reorganized Debtors shall make distributions to holders of Allowed
Claims and Allowed Interests (as applicable) as of the Distribution Record Date at the address for each such holder as
indicated on the Debtors’ records as of the date of any such distribution; provided that the manner of such distributions
shall be determined at the discretion of the Reorganized Debtors and, with respect to distributions on account of FLLO
Term Loan Facility Claims, the Required Plan Sponsors.

         3.   No Fractional Distributions.

          No fractional shares of New Common Stock shall be distributed and no Cash shall be distributed in lieu of
such fractional amounts. When any distribution pursuant to the Plan on account of an Allowed Claim or Allowed
Interest (as applicable) would otherwise result in the issuance of a number of shares of New Common Stock that is
not a whole number, the actual distribution of shares of New Common Stock shall be rounded to the next lower whole
number with no further payment therefor; provided, however, that fractional shares rounding determination with
respect to the Rights Offering shall be subject to the Rights Offering Procedures. The total number of authorized
shares of New Common Stock to be distributed to holders of Allowed Claims hereunder shall be adjusted as necessary
to account for the foregoing rounding.

         4.   Minimum Distributions.

          Notwithstanding any other provision of the Plan, holders of Allowed Claims entitled to distributions of $5 or
less shall not receive distributions, and each Claim to which this limitation applies shall be discharged pursuant to
Article VIII of this Plan, and its holder shall be forever barred from asserting that Claim against the Reorganized
Debtors or their property.

         5.   Undeliverable Distributions and Unclaimed Property.

          In the event that any distribution to any holder of Allowed Claims or Allowed Interests (as applicable) is
returned as undeliverable, no distribution to such holder shall be made unless and until the Reorganized Debtors have
determined the then-current address of such holder, at which time such distribution shall be made to such holder
without interest; provided that such distributions shall be deemed unclaimed property under section 347(b) of the
Bankruptcy Code at the expiration of one year from the Effective Date. After such date, all unclaimed property or
interests in property shall revert to the Reorganized Debtors automatically and without need for a further order by the
Bankruptcy Court (notwithstanding any applicable federal, provincial or state escheat, abandoned, or unclaimed
property laws to the contrary), and the Claim of any holder of Claims and Interests to such property or Interest in
property shall be discharged and forever barred.

         6.   Surrender of Canceled Instruments or Securities.

         On the Effective Date or as soon as reasonably practicable thereafter, each holder of a certificate or instrument
evidencing a Claim or an Interest that has been cancelled in accordance with Article IV.I hereof shall be deemed to
have surrendered such certificate or instrument to the Debtors. Such surrendered certificate or instrument shall be

                                                           41
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 689 of 1639
                                                                           0689


cancelled solely with respect to the Debtors, and such cancellation shall not alter the obligations or rights of any non-
Debtor third parties vis-à-vis one another with respect to such certificate or instrument, including with respect to any
indenture or agreement that governs the rights of the holder of a Claim or Interest, which shall continue in effect for
purposes of allowing holders to receive distributions under the Plan, charging liens, priority of payment, and
indemnification rights.

         7.   Delivery of Distributions on Second Lien Notes Claims and Unsecured Notes Claims.

          The Debtors shall make all distributions required under the Plan. Notwithstanding any provision of the Plan
to the contrary, distributions to holders of Second Lien Notes Claims and Unsecured Notes Claims shall be made to
or at the direction of each of the Trustees for distribution under the applicable indentures and bond agreements. The
Trustees may transfer or direct the transfer of such distributions directly through the facilities of the applicable
securities depository and clearing house and will be entitled to recognize and deal with, for all purposes under the
Plan, holders of Second Lien Notes Claims and Unsecured Notes Claims, as applicable, as is consistent with the
ordinary practices of the applicable depositories. Such distributions shall be subject to the right of each of the Trustees
under the applicable indenture or bond agreements, including their rights to assert and exercise charging liens against
such distributions.

C.       Manner of Payment.

        Except as otherwise set forth herein, all distributions of Cash, the New Common Stock, the New Warrants,
and the Rights, as applicable, to Holders of Allowed Claims under the Plan shall be made by the Debtors or the
Reorganized Debtors, as applicable. At the option of the Reorganized Debtors (in consultation with and subject to the
reasonable consent of the Required Consenting Stakeholders), any Cash payment to be made under the Plan, if any,
may be made by check or wire transfer or as otherwise required or provided in the applicable agreements.

D.       Exemption from Securities Laws.

         All 1145 Securities will be issued in reliance upon section 1145 of the Bankruptcy Code to the extent
permitted under applicable law. All 4(a)(2) Securities will be issued in reliance upon section 4(a)(2) of the Securities
Act or Regulation D promulgated thereunder, will be considered “restricted securities” and may not be transferred
except pursuant to an effective registration statement under the Securities Act or an available exemption therefrom.

          Pursuant to section 1145 of the Bankruptcy Code, the issuances of the 1145 Securities are exempt from,
among other things, the registration requirements of Section 5 of the Securities Act and any other applicable U.S. state
or local law requiring registration before the offering, issuance, distribution, or sale of such securities, subject to the
provisions of section 1145(b)(1) of the Bankruptcy Code relating to the definition of an underwriter in section 2(a)(11)
of the Securities Act. Each of the 1145 Securities (1) is not a “restricted security” as defined in Rule 144(a)(3) under
the Securities Act; and (2) is freely tradable and transferable by any initial recipient thereof that at the time of transfer
or as a result thereof, is not an “affiliate” of the Reorganized Debtors as defined in Rule 144(a)(1) under the
Securities Act.

           The 4(a)(2) Securities will be issued without registration under the Securities Act in reliance upon
Section 4(a)(2) of the Securities Act or Regulation D promulgated thereunder. To the extent issued in reliance on
Section 4(a)(2) of the Securities Act or Regulation D thereunder, the 4(a)(2) Securities will be “restricted securities”
subject to resale restrictions and may be resold, exchanged, assigned or otherwise transferred only pursuant to
registration, or an applicable exemption from registration under the Securities Act and other applicable law.

         Should the Reorganized Debtors elect on or after the Effective Date to reflect any ownership of the New
Common Stock (including any shares issuable as part of the Put Option Premium or issuable upon exercise of the
Rights other than the unsubscribed shares of New Common Stock issued to the Backstop Parties pursuant to the
Backstop Commitment Agreement) or the New Warrants (and any Shares of the New Common Stock issuable upon
the exercise of the New Warrants) through the facilities of DTC, the Reorganized Debtors need not provide any further
evidence other than the Plan or the Confirmation Order with respect to such treatment under applicable securities laws.



                                                             42
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 690 of 1639
                                                                           0690


         DTC shall be required to accept and conclusively rely upon the Plan and Confirmation Order in lieu of a
legal opinion regarding whether any of the New Common Stock issuable upon exercise of the Rights, as applicable,
are exempt from registration and/or eligible for DTC book-entry delivery, settlement, and depository services.

         Notwithstanding anything to the contrary in the Plan, no entity (including, for the avoidance of doubt, DTC)
may require a legal opinion regarding the validity of any transaction contemplated by the Plan, including, for the
avoidance of doubt, whether the New Common Stock issuable upon exercise of the Rights, as applicable, are exempt
from registration and/or eligible for DTC book-entry delivery, settlement, and depository services.

          Each Backstop Party that receives Plan Securities will be entitled to registration rights and sale support rights
with respect to all such Securities to be documented in the Registration Rights Agreement in form and substance
satisfactory to the Required Plan Sponsors.

E.       Compliance with Tax Requirements.

          In connection with the Plan, to the extent applicable, the Debtors, the Reorganized Debtors, and any
applicable withholding agent shall comply with all tax withholding and reporting requirements imposed on them by
any Governmental Unit, and all distributions made pursuant to the Plan shall be subject to such withholding and
reporting requirements. Notwithstanding any provision in the Plan to the contrary, such parties shall be authorized to
take all actions necessary or appropriate to comply with such withholding and reporting requirements, including
liquidating a portion of the distribution to be made under the Plan to generate sufficient funds to pay applicable
withholding taxes, withholding distributions pending receipt of information necessary to facilitate such distributions,
or establishing any other mechanisms they believe are reasonable and appropriate. The Debtors and Reorganized
Debtors reserve the right to allocate all distributions made under the Plan in compliance with all applicable wage
garnishments, alimony, child support, and similar spousal awards, Liens, and encumbrances.

F.       Allocations.

         Distributions in respect of Allowed Claims shall be allocated first to the principal amount of such Claims
(as determined for federal income tax purposes) and then, to the extent the consideration exceeds the principal amount
of the Claims, to the remainder of the Claims, including any Claims for accrued but unpaid interest.

G.       No Postpetition or Default Interest on Claims.

         Notwithstanding any provision in the Plan, the Confirmation Order, or any documents that govern the
Debtors’ prepetition funded indebtedness or other Claims to the contrary, except as provided in the DIP Order, DIP
Credit Agreement, and Articles II.B, III.B.3 and III.B.4 hereof, (a) postpetition and/or default interest shall not accrue
or be paid on any Claims; and (b) no Holder of a Claim shall be entitled to (i) interest accruing on or after the Petition
Date on any such Claim or (ii) interest at the contract default rate, as applicable.

H.       Foreign Currency Exchange Rate.

         Except as otherwise provided in a Bankruptcy Court order, as of the Effective Date, any Claim asserted in
currency other than U.S. dollars shall be automatically deemed converted to the equivalent U.S. dollar value using the
exchange rate for the applicable currency as published in The Wall Street Journal, National Edition, on the
Effective Date.

I.       Setoffs and Recoupment.

         Except as expressly provided in this Plan and the DIP Order, each Reorganized Debtor may, pursuant to
section 553 of the Bankruptcy Code, set off and/or recoup against any Plan distributions to be made on account of any
Allowed Claim, any and all claims, rights, and Causes of Action that such Reorganized Debtor may hold against the
holder of such Allowed Claim to the extent such setoff or recoupment is either (1) agreed in amount among the relevant
Reorganized Debtor(s) and the holder of the Allowed Claim or (2) otherwise adjudicated by the Bankruptcy Court or
another court of competent jurisdiction; provided that neither the failure to effectuate a setoff or recoupment nor the

                                                            43
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 691 of 1639
                                                                           0691


allowance of any Claim hereunder shall constitute a waiver or release by a Reorganized Debtor or its successor of any
and all claims, rights, and Causes of Action that such Reorganized Debtor or its successor may possess against the
applicable holder. In no event shall any holder of a Claim be entitled to recoup such Claim against any claim, right,
or Cause of Action of the Debtors or the Reorganized Debtors, as applicable, unless such holder actually has performed
such recoupment and provided notice thereof in writing to the Debtors in accordance with Article XII.G hereof on or
before the Effective Date, notwithstanding any indication in any Proof of Claim or otherwise that such holder asserts,
has, or intends to preserve any right of recoupment. Notwithstanding anything to the contrary herein, the Allowed
DIP Claims, the Allowed Revolving Credit Facility Claims, the Allowed FLLO Term Loan Facility Claims, the
Allowed Second Lien Notes Claims, or the Allowed Unsecured Notes Claims and the Plan distributions to be made
on account of such Claims shall not be subject to set off and/or recoupment by the Debtors or the Reorganized Debtors
pursuant to section 553 of the Bankruptcy Code or applicable non-bankruptcy law, and the Debtors and the
Reorganized Debtors hereby waive any and all rights of set off or recoupment against such Claims.

J.       No Double Payment of Claims.

         To the extent that a Claim is Allowed against more than one Debtor’s Estate, there shall be only a single
recovery on account of that Allowed Claim, but the holder of an Allowed Claim other than an Allowed Unsecured
Notes Claim or Allowed General Unsecured Claim against more than one Debtor may recover distributions from all
co-obligor Debtors’ Estates until the holder has received payment in full on the Allowed Claims. No Holder of an
Allowed Claim shall be entitled to receive more than payment in full of its Allowed Claim, and each Claim shall be
administered and treated in the manner provided by the Plan only until payment in full on that Allowed Claim.

K.       Claims Paid or Payable by Third Parties.

         1.   Claims Paid by Third Parties.

          The Debtors or the Reorganized Debtors, as applicable, shall reduce in full a Claim, and such Claim shall be
disallowed without a Claims objection having to be Filed and without any further notice to or action, order, or approval
of the Bankruptcy Court, to the extent that the holder of such Claim receives payment in full on account of such Claim
from a party that is not a Debtor or a Reorganized Debtor. Subject to the last sentence of this paragraph, to the extent
a holder of a Claim receives a distribution on account of such Claim and receives payment from a party that is not a
Debtor or a Reorganized Debtor on account of such Claim, such holder shall, within fourteen (14) days of receipt
thereof, repay or return the distribution to the applicable Reorganized Debtor, to the extent the holder’s total recovery
on account of such Claim from the third party and under the Plan exceeds the amount of such Claim as of the date of
any such distribution under the Plan. The failure of such holder to timely repay or return such distribution shall result
in the holder owing the applicable Reorganized Debtor annualized interest at the Federal Judgment Rate on such
amount owed for each Business Day after the fourteen (14) day grace period specified above until the amount is repaid.

         2.   Claims Payable by Third Parties.

         No distributions under the Plan shall be made on account of an Allowed Claim that is payable pursuant to
one of the Debtors’ Insurance Policies until the holder of such Allowed Claim has exhausted all remedies with respect
to such Insurance Policy. To the extent that one or more of the Debtors’ Insurers agrees to satisfy in full or in part a
Claim (if and to the extent adjudicated by a court of competent jurisdiction or otherwise settled), then immediately
upon such Insurers’ satisfaction of such Claim, the applicable portion of such Claim may be expunged without a
Claims objection having to be Filed and without any further notice to or action, order, or approval of the
Bankruptcy Court.

         3.   Applicability of Insurance Policies.

         Except as otherwise provided in the Plan, payments to holders of Claims shall be in accordance with the
provisions of any applicable Insurance Policy. Nothing contained in the Plan shall constitute or be deemed a waiver
of any Cause of Action that the Debtors or any Entity may hold against any other Entity, including Insurers under any
Insurance Policies nor shall anything contained herein constitute or be deemed a waiver by such Insurers of any rights
or defenses, including coverage defenses, held by such Insurers.

                                                           44
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 692 of 1639
                                                                           0692


                                            ARTICLE VII.
                               PROCEDURES FOR RESOLVING CONTINGENT,
                                 UNLIQUIDATED, AND DISPUTED CLAIMS

A.       Allowance of Claims.

          After the Effective Date, except as otherwise expressly set forth herein, each of the Reorganized Debtors
shall have and retain any and all rights and defenses such Debtor had with respect to any Claim or Interest immediately
prior to the Effective Date. The Debtors may affirmatively determine to deem Unimpaired Claims Allowed to the
same extent such Claims would be allowed under applicable non-bankruptcy law.

B.       Claims Administration Responsibilities.

          Except as otherwise specifically provided in the Plan, after the Effective Date, the Reorganized Debtors shall
have the sole authority: (1) to File, withdraw, or litigate to judgment, objections to Claims or Interests; (2) to settle or
compromise any Disputed Claim without any further notice to or action, order, or approval by the Bankruptcy Court;
and (3) to administer and adjust the Claims Register to reflect any such settlements or compromises without any further
notice to or action, order, or approval by the Bankruptcy Court. For the avoidance of doubt, except as otherwise
provided herein, from and after the Effective Date, each Reorganized Debtor shall have and retain any and all rights
and defenses such Debtor had immediately prior to the Effective Date with respect to any Disputed Claim or Interest,
including the Causes of Action retained pursuant to Article IV.S of the Plan.

C.       Estimation of Claims.

          Before, on, or after the Effective Date, the Debtors or the Reorganized Debtors, as applicable, may (but are
not required to) at any time request that the Bankruptcy Court estimate any Claim pursuant to applicable law,
including, without limitation, pursuant to section 502(c) of the Bankruptcy Code for any reason, regardless of whether
any party previously has objected to such Claim or whether the Bankruptcy Court has ruled on any such objection,
and the Bankruptcy Court shall retain jurisdiction under 28 U.S.C. §§ 157 and 1334 to estimate any such Claim,
including during the litigation of any objection to any Claim or during the pendency of any appeal relating to such
objection. Notwithstanding any provision to the contrary in the Plan, a Claim that has been expunged from the Claims
Register, but that either is subject to appeal or has not been the subject of a Final Order, shall be deemed to be estimated
at zero dollars, unless otherwise ordered by the Bankruptcy Court. In the event that the Bankruptcy Court estimates
any Claim, such estimated amount shall constitute a maximum limitation on such Claim for all purposes under the
Plan (including for purposes of distributions and discharge) and may be used as evidence in any supplemental
proceedings, and the Debtors or Reorganized Debtors may elect to pursue any supplemental proceedings to object to
any ultimate distribution on such Claim. Notwithstanding section 502(j) of the Bankruptcy Code, in no event shall
any holder of a Claim that has been estimated pursuant to section 502(c) of the Bankruptcy Code or otherwise be
entitled to seek reconsideration of such estimation unless such holder has Filed a motion requesting the right to seek
such reconsideration on or before seven (7) days after the date on which such Claim is estimated. Each of the foregoing
Claims and objection, estimation, and resolution procedures are cumulative and not exclusive of one another. Claims
may be estimated and subsequently compromised, settled, withdrawn, or resolved by any mechanism approved by the
Bankruptcy Court.

D.       Adjustment to Claims or Interests without Objection.

         Any duplicate Claim or Interest or any Claim or Interest that has been paid, satisfied, amended, or superseded
may be adjusted or expunged on the Claims Register by the Reorganized Debtors without the Reorganized Debtors
having to File an application, motion, complaint, objection, or any other legal proceeding seeking to object to such
Claim or Interest and without any further notice to or action, order, or approval of the Bankruptcy Court.




                                                            45
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 693 of 1639
                                                                           0693


E.       Time to File Objections to Claims.

         Any objections to Claims shall be Filed on or before the later of (a) one-hundred-eighty (180) days after the
Effective Date and (b) such other period of limitation as may be specifically fixed by the Debtors or the Reorganized
Debtors, as applicable, or by a Final Order of the Bankruptcy Court for objecting to such claims.

F.       Reservation of Rights to Object to Claims.

          The failure of the Debtors or the Reorganized Debtors, as applicable, to object to any Claim shall not be
construed as an admission to the validity or amount of any such Claim, any portion thereof, or any other claim related
thereto, whether or not such claim is asserted in any currently pending or subsequently initiated proceeding, and shall
be without prejudice to the right of the Debtors or the Reorganized Debtors, as applicable, to contest, challenge the
validity of, or otherwise defend against any such claim in the Bankruptcy Court or non-bankruptcy forum.

G.       Disputed and Contingent Claims Reserve.

          On or after the Effective Date, the Debtors or the Reorganized Debtors, as applicable, shall establish one or
more reserves (including the Convenience Claim Distribution Reserve) for Claims that are contingent or have not yet
been Allowed, in an amount or amounts as reasonably determined by the Debtors or Reorganized Debtors, as
applicable, consistent with the Proof of Claim Filed by the applicable holder of such Disputed Claim. To the extent
that a Disputed Claim may be entitled to receive New Common Stock pursuant to the Plan, such New Common Stock
will remain authorized but unissued pending resolution of such Disputed Claim.

        Any assets held in any such reserve shall be subject to the tax rules that apply to “disputed ownership funds”
under 26 C.F.R. 1.468B–9. As such, such assets will be subject to entity-level taxation, and the Debtors and
Reorganized Debtors, as applicable, shall be required to comply with the relevant rules.

H.       Disallowance of Claims or Interests.

         Any Claims held by Entities from which property is recoverable under sections 542, 543, 550, or 553 of the
Bankruptcy Code or that is a transferee of a transfer avoidable under sections 522(f), 522(h), 544, 545, 547, 548, 549,
or 724(a) of the Bankruptcy Code, shall be deemed disallowed pursuant to section 502(d) of the Bankruptcy Code,
and holders of such Claims may not receive any distributions on account of such Claims until such time as such Causes
of Action against that Entity have been settled or a Bankruptcy Court order with respect thereto has been entered and
all sums due, if any, to the Debtors by that Entity have been turned over or paid to the Debtors or the
Reorganized Debtors.

         Except as otherwise provided herein or as agreed to by the Reorganized Debtors, any and all Proofs of
Claim Filed after the Claims Bar Date shall be deemed disallowed and expunged as of the Effective Date without
any further notice to or action, order, or approval of the Bankruptcy Court, and holders of such Claims may
not receive any distributions on account of such Claims, unless such late Proof of Claim has been deemed timely
Filed by a Final Order or otherwise allowed by order of the Bankruptcy Court.

I.       No Distributions Pending Allowance.

          Notwithstanding any other provision of the Plan, if any portion of a Claim or Interest is a Disputed Claim or
Interest, as applicable, no payment or distribution provided hereunder shall be made on account of the Disputed portion
of such Claim or Interest unless and until such Disputed portion of the Claim or Interest is Allowed.

J.       Distributions After Allowance.

          To the extent that a Disputed Claim or Interest ultimately becomes an Allowed Claim or Interest, distributions
(if any) shall be made to the holder of such Allowed Claim or Interest in accordance with the provisions of the Plan.
As soon as reasonably practicable after the date that the order or judgment of the Bankruptcy Court allowing any
Disputed Claim or Interest becomes a Final Order, the Reorganized Debtors shall provide to the holder of such Claim

                                                          46
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 694 of 1639
                                                                           0694


or Interest the distribution (if any) to which such holder is entitled under the Plan as of the Effective Date, without any
interest to be paid on account of such Claim or Interest.

K.       No Interest on Disputed Claims.

          Interest shall not accrue or be paid on any Disputed Claim with respect to the period from the Effective Date
to the date a final distribution is made on account of such Disputed Claim, if and when such Disputed Claim becomes
an Allowed Claim.

                                       ARTICLE VIII.
                 SETTLEMENT, RELEASE, INJUNCTION, AND RELATED PROVISIONS

A.       Discharge of Claims and Termination of Interests.

          Pursuant to section 1141(d) of the Bankruptcy Code, and except as otherwise specifically provided in the
Plan, or in any contract, instrument, or other agreement or document created pursuant to the Plan, the distributions,
rights, and treatment that are provided in the Plan shall be in complete satisfaction, discharge, and release, effective
as of the Effective Date, of Claims (including any Intercompany Claims resolved or compromised after the Effective
Date by the Reorganized Debtors), Interests, and Causes of Action of any nature whatsoever, including any interest
accrued on Claims or Interests from and after the Petition Date, whether known or unknown, against, liabilities of,
Liens on, obligations of, rights against, and interests in, the Debtors or any of their assets or properties, regardless of
whether any property shall have been distributed or retained pursuant to the Plan on account of such Claims and
Interests, including demands, liabilities, and Causes of Action that arose before the Effective Date, any liability
(including withdrawal liability) to the extent such Claims or Interests relate to services performed by employees of
the Debtors prior to the Effective Date and that arise from a termination of employment, any contingent or non-
contingent liability on account of representations or warranties issued on or before the Effective Date, and all debts of
the kind specified in sections 502(g), 502(h), or 502(i) of the Bankruptcy Code, in each case whether or not: (1) a
Proof of Claim or Proof of Interest based upon such debt, right, or Interest is Filed or deemed Filed pursuant to section
501 of the Bankruptcy Code; (2) a Claim or Interest based upon such debt, right, or interest is Allowed pursuant to
section 502 of the Bankruptcy Code; or (3) the holder of such a Claim or Interest has accepted the Plan. The
Confirmation Order shall be a judicial determination of the discharge of all Claims (other than the Reinstated Claims)
and Interests (other than the Intercompany Interests that are Reinstated) subject to the occurrence of the Effective Date.

B.       Release of Liens.

         Except as otherwise provided in the Exit Facilities Documents, the Plan, the Confirmation Order, or
in any contract, instrument, release, or other agreement or document created pursuant to the Plan, on the
Effective Date and concurrently with the applicable distributions made pursuant to the Plan and, in the case of
a Secured Claim, satisfaction in full of the portion of the Secured Claim that is Allowed as of the Effective Date,
except for Other Secured Claims that the Debtors elect to Reinstate in accordance with this Plan, all mortgages,
deeds of trust, Liens, pledges, or other security interests against any property of the Estates shall be fully
released and discharged, and all of the right, title, and interest of any holder of such mortgages, deeds of trust,
Liens, pledges, or other security interests shall revert to the Reorganized Debtors and their successors and
assigns; provided that no mortgage, deed of trust, Lien, pledge, or other security interest against any property
of the Estates in favor of any Allowed Secured Claim shall be released prior to satisfaction and/or payment of
such Allowed Secured Claim in full in accordance with the Plan; provided, further, that no Lien arising, whether
arising by contract or statute, from an oil and gas lease shall be terminated, discharged, or released by the Plan.
Any holder of such Secured Claim (and the applicable agents for such holder) shall be authorized and directed,
at the sole cost and expense of the Reorganized Debtors, to release any collateral or other property of any
Debtor (including any cash collateral and possessory collateral) held by such holder (and the applicable agents
for such holder), and to take such actions as may be reasonably requested by the Reorganized Debtors to
evidence the release of such Liens and/or security interests, including the execution, delivery, and filing or
recording of such releases. The presentation or filing of the Confirmation Order to or with any federal, state,
provincial, or local agency, records office, or department shall constitute good and sufficient evidence of, but
shall not be required to effect, the termination of such Liens.


                                                            47
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 695 of 1639
                                                                           0695


         To the extent that any holder of a Secured Claim that has been satisfied or discharged in full pursuant
to the Plan, or any agent for such holder, has filed or recorded publicly any Liens and/or security interests to
secure such holder’s Secured Claim, then as soon as practicable on or after the Effective Date, such holder (or
the agent for such holder) shall take any and all steps requested by the Debtors, the Reorganized Debtors, or
Exit Facilities Agent that are necessary or desirable to record or effectuate the cancellation and/or
extinguishment of such Liens and/or security interests, including the making of any applicable filings or
recordings, and the Reorganized Debtors shall be entitled to make any such filings or recordings on such
holder’s behalf.

C.      Releases by the Debtors.

         Notwithstanding anything contained in the Plan to the contrary, pursuant to section 1123(b) of the
Bankruptcy Code, in exchange for good and valuable consideration, the adequacy of which is hereby confirmed,
on and after the Effective Date, each Released Party is deemed to be, hereby conclusively, absolutely,
unconditionally, irrevocably, and forever released and discharged by the Debtors, the Reorganized Debtors,
and their Estates, in each case on behalf of themselves and their respective successors, assigns, and
representatives, and any and all other Entities who may purport to assert any Cause of Action, directly or
derivatively, by, through, for, or because of the foregoing Entities, from any and all Claims and Causes of
Action, including any derivative claims, asserted on behalf of the Debtors, whether known or unknown,
foreseen or unforeseen, matured or unmatured, existing or hereafter arising, in law, equity, contract, tort or
otherwise, that the Debtors, the Reorganized Debtors, or their Estates would have been legally entitled to assert
in their own right (whether individually or collectively) or on behalf of the holder of any Claim against, or
Interest in, a Debtor or other Entity, or that any holder of any Claim against, or Interest in, a Debtor or other
Entity could have asserted on behalf of the Debtors, based on or relating to, or in any manner arising from, in
whole or in part, the Debtors (including the capital structure, management, ownership, or operation thereof),
any security of the Debtors or the Reorganized Debtors, the subject matter of, or the transactions or events
giving rise to, any Claim or Interest that is treated in the Plan, the business or contractual arrangements
between any Debtor and any Released Party, the Revolving Credit Facility, the FLLO Term Loan Facility, the
Collateral Trust Documents, the Second Lien Notes, the assertion or enforcement of rights and remedies against
the Debtors, the Debtors’ in- or out-of-court restructuring efforts, any Avoidance Actions, intercompany
transactions between or among a Debtor and another Debtor, the Chapter 11 Cases, the formulation,
preparation, dissemination, negotiation, or Filing of the Restructuring Support Agreement, the Disclosure
Statement, the Backstop Commitment Agreement, the DIP Facility, the Exit Facilities, the Plan (including, for
the avoidance of doubt, the Plan Supplement), or any Restructuring Transaction, contract, instrument, release,
or other agreement or document (including any legal opinion requested by any Entity regarding any
transaction, contract, instrument, document or other agreement contemplated by the Plan or the reliance by
any Released Party on the Plan or the Confirmation Order in lieu of such legal opinion) created or entered into
in connection with the Restructuring Support Agreement, the Disclosure Statement, the Backstop Commitment
Agreement, the DIP Facility, the Plan, the Plan Supplement, or the Exit Facilities before or during the Chapter
11 Cases, the Filing of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of Consummation, the
administration and implementation of the Plan, including the issuance or distribution of Securities pursuant to
the Plan, or the distribution of property under the Plan or any other related agreement, or upon any other act
or omission, transaction, agreement, event, or other occurrence related or relating to any of the foregoing
taking place on or before the Effective Date, other than claims or liabilities that are not described in items 1
and 2 set forth in Article IV.A hereof arising out of or relating to any act or omission of a Released Party that
constitutes actual fraud, willful misconduct, or gross negligence, each solely to the extent as determined by a
Final Order of a court of competent jurisdiction. Notwithstanding anything to the contrary in the foregoing,
the releases set forth above do not release any post Effective Date obligations of any party or Entity under the
Plan, the Confirmation Order, any Restructuring Transaction, or any document, instrument, or agreement
(including those set forth in the Plan Supplement) executed to implement the Plan, including the Exit Facilities
Documents, or any Claim or obligation arising under the Plan.

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the Debtors’ release, which includes by reference each of the related provisions and
definitions contained in the Plan, and further, shall constitute the Bankruptcy Court’s finding that the Debtors’
release is: (a) in exchange for the good and valuable consideration provided by the Released Parties, including,

                                                       48
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 696 of 1639
                                                                           0696


without limitation, the Released Parties’ contributions to facilitating the Restructuring Transactions and
implementing the Plan; (b) a good faith settlement and compromise of the Claims released by the Debtors’
release; (c) in the best interests of the Debtors and all holders of Claims and Interests; (d) fair, equitable, and
reasonable; (e) given and made after due notice and opportunity for hearing; and (f) a bar to any of the Debtors,
the Reorganized Debtors, or the Debtors’ Estates asserting any Claim or Cause of Action released pursuant to
the debtors’ release.

D.      Releases by Holders of Claims and Interests.

         Except as otherwise expressly set forth in this Plan or the Confirmation Order, on and after the
Effective Date, in exchange for good and valuable consideration, the adequacy of which is hereby confirmed,
each Released Party is, and is deemed to be, hereby conclusively, absolutely, unconditionally, irrevocably and
forever, released and discharged by each Releasing Party from any and all Causes of Action, whether known
or unknown, foreseen or unforeseen, matured or unmatured, existing or hereafter arising, in law, equity,
contract, tort, or otherwise, including any derivative claims asserted on behalf of the Debtors, that such Entity
would have been legally entitled to assert (whether individually or collectively), based on or relating to, or in
any manner arising from, in whole or in part, the Debtors (including the capital structure, management,
ownership, or operation thereof), any security of the Debtors or the Reorganized Debtors, the subject matter
of, or the transactions or events giving rise to, any Claim or Interest that is treated in the Plan, the business or
contractual arrangements between any Debtor and any Released Party, the Revolving Credit Facility, the
FLLO Term Loan Facility, the Collateral Trust Documents, the Second Lien Notes, the assertion or
enforcement of rights and remedies against the Debtors, the Debtors’ in- or out-of-court restructuring efforts,
any Avoidance Actions, intercompany transactions between or among a Debtor and another Debtor, the
Chapter 11 Cases, the formulation, preparation, dissemination, negotiation, or Filing of the Restructuring
Support Agreement, the Disclosure Statement, the DIP Facility, the Exit Facilities, the Plan (including, for the
avoidance of doubt, the Plan Supplement), or any Restructuring Transaction, contract, instrument, release, or
other agreement or document (including any legal opinion requested by any Entity regarding any transaction,
contract, instrument, document or other agreement contemplated by the Plan or the reliance by any Released
Party on the Plan or the Confirmation Order in lieu of such legal opinion) created or entered into in connection
with the Restructuring Support Agreement, the Disclosure Statement, the DIP Facility, the Plan, the Plan
Supplement, before or during the Chapter 11 Cases, the Filing of the Chapter 11 Cases, the pursuit of
Confirmation, the pursuit of Consummation, the administration and implementation of the Plan, including the
issuance or distribution of Securities pursuant to the Plan, or the distribution of property under the Plan or
any other related agreement, or upon any other act or omission, transaction, agreement, event, or other
occurrence related or relating to any of the foregoing taking place on or before the Effective Date, other than
claims or liabilities that are not described in items 1 and 2 set forth in Article IV.A hereof arising out of or
relating to any act or omission of a Released Party other than a Debtor that constitutes actual fraud, willful
misconduct, or gross negligence, each solely to the extent as determined by a Final Order of a court of competent
jurisdiction. Notwithstanding anything to the contrary in the foregoing, the releases set forth above do not
release (i) any party of any obligations related to customary banking products, banking services or other
financial accommodations (except as may be expressly amended or modified by the Plan and the Exit Facilities
Credit Agreements, or any other financing document under and as defined therein) or (ii) any post Effective
Date obligations of any party or Entity under the Plan, the Confirmation Order, any Restructuring
Transaction, or any document, instrument, or agreement (including those set forth in the Plan Supplement)
executed to implement the Plan, including the Exit Facilities Documents, or any Claim or obligation arising
under the Plan.

          Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the third-party releases, which includes by reference each of the related provisions
and definitions contained herein, and, further, shall constitute the Bankruptcy Court’s finding that the third
party releases are: (a) consensual; (b) essential to the confirmation of the Plan; (c) given in exchange for the
good and valuable consideration provided by the Released Parties; (d) a good faith settlement and compromise
of the Claims released by the third-party releases; (e) in the best interests of the Debtors and their Estates;
(f) fair, equitable, and reasonable; (g) given and made after due notice and opportunity for hearing; and
(h) a bar to any of the Releasing Parties asserting any claim or Cause of Action released pursuant to the third-
party releases.

                                                        49
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 697 of 1639
                                                                           0697


E.      Exculpation.

         Except as otherwise specifically provided in the Plan or the Confirmation Order, no Exculpated Party
shall have or incur liability for, and each Exculpated Party is hereby released and exculpated from any Cause
of Action for any claim related to any act or omission in connection with, relating to, or arising out of, the
Chapter 11 Cases, the formulation, preparation, dissemination, negotiation, Filing, or termination of the
Restructuring Support Agreement and related prepetition transactions, the Disclosure Statement, the Plan, the
Plan Supplement, or any Restructuring Transaction, contract, instrument, release or other agreement or
document (including any legal opinion requested by any Entity regarding any transaction, contract,
instrument, document or other agreement contemplated by the Plan or the reliance by any Released Party on
the Plan or the Confirmation Order in lieu of such legal opinion) created or entered into before or during the
Chapter 11 Cases, any preference, fraudulent transfer, or other avoidance claim arising pursuant to chapter 5
of the Bankruptcy Code or other applicable law, the Filing of the Chapter 11 Cases, the pursuit of
Confirmation, the pursuit of Consummation, the administration and implementation of the Plan, including the
issuance or distribution of Securities pursuant to the Plan, or the distribution of property under the Plan or
any other related agreement, or upon any other related act or omission, transaction, agreement, event, or other
occurrence taking place on or before the Effective Date, except for claims related to any act or omission that is
determined in a Final Order by a court of competent jurisdiction to have constituted actual fraud, willful
misconduct, or gross negligence, but in all respects such Entities shall be entitled to reasonably rely upon the
advice of counsel with respect to their duties and responsibilities pursuant to the Plan.

          The Exculpated Parties and other parties set forth above have, and upon confirmation of the Plan shall
be deemed to have, participated in good faith and in compliance with the applicable laws with regard to the
solicitation of votes and distribution of consideration pursuant to the Plan and, therefore, are not, and on
account of such distributions shall not be, liable at any time for the violation of any applicable law, rule, or
regulation governing the solicitation of acceptances or rejections of the Plan or such distributions made
pursuant to the Plan.

F.      Injunction.

        Except as otherwise expressly provided in the Plan or the Confirmation Order or for obligations issued
or required to be paid pursuant to the Plan or the Confirmation Order, all Entities who have held, hold, or
may hold Claims or Interests that have been released, discharged, or are subject to exculpation are permanently
enjoined, from and after the Effective Date, from taking any of the following actions against, as applicable, the
Debtors, the Reorganized Debtors, the Exculpated Parties, or the Released Parties: (1) commencing or
continuing in any manner any action or other proceeding of any kind on account of or in connection with or
with respect to any such Claims or Interests; (2) enforcing, attaching, collecting, or recovering by any manner
or means any judgment, award, decree, or order against such Entities on account of or in connection with or
with respect to any such Claims or Interests; (3) creating, perfecting, or enforcing any encumbrance of any
kind against such Entities or the property or the Estates of such Entities on account of or in connection with or
with respect to any such Claims or Interests; (4) asserting any right of setoff, subrogation, or recoupment of
any kind against any obligation due from such Entities or against the property of such Entities on account of
or in connection with or with respect to any such Claims or Interests unless such holder has Filed a motion
requesting the right to perform such setoff on or before the Effective Date, and notwithstanding an indication
of a Claim or Interest or otherwise that such holder asserts, has, or intends to preserve any right of setoff
pursuant to applicable law or otherwise; and (5) commencing or continuing in any manner any action or other
proceeding of any kind on account of or in connection with or with respect to any such Claims or Interests
released or settled pursuant to the Plan.

         Upon entry of the Confirmation Order, all holders of Claims and Interests and their respective current
and former employees, agents, officers, directors, principals, and direct and indirect Affiliates shall be enjoined
from taking any actions to interfere with the implementation or Consummation of the Plan. Except as
otherwise set forth in the Confirmation Order, each holder of an Allowed Claim or Allowed Interest, as
applicable, by accepting, or being eligible to accept, distributions under or Reinstatement of such Claim or
Interest, as applicable, pursuant to the Plan, shall be deemed to have consented to the injunction provisions set
forth in this Article VIII.F hereof.
                                                        50
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 698 of 1639
                                                                           0698


G.       Protections Against Discriminatory Treatment.

          Consistent with section 525 of the Bankruptcy Code and the Supremacy Clause of the U.S. Constitution, all
Entities, includingno Governmental Units, shall not discriminate against the Reorganized Debtors or deny, revoke,
suspend, or refuse to renew a license, permit, charter, franchise, or other similar grant to, condition such a grant to,
discriminate with respect to such a grant against, the Reorganized Debtors, or another Entity with whom the
Reorganized Debtors have been associated, solely because each Debtor has been a debtor under chapter 11 of the
Bankruptcy Code, has been insolvent before the commencement of the Chapter 11 Cases (or during the Chapter 11
Cases but before the Debtors are granted or denied a discharge), or has not paid a debt that is dischargeable in the
Chapter 11 Cases.

H.       Recoupment.

         In no event shall any holder of Claims or Interests be entitled to recoup any Claim against any claim, right,
or Cause of Action of the Debtors or the Reorganized Debtors, as applicable, unless such holder actually has performed
such recoupment and provided notice thereof in writing to the Debtors on or before the Confirmation Date,
notwithstanding any indication in any Proof of Claim or Proof of Interest or otherwise that such holder asserts, has,
or intends to preserve any right of recoupment.

I.       Document Retention.

        On and after the Effective Date, the Reorganized Debtors may maintain documents in accordance with their
standard document retention policy, as may be altered, amended, modified, or supplemented by the
Reorganized Debtors.

J.       Reimbursement or Contribution.

          If the Bankruptcy Court disallows a Claim for reimbursement or contribution of an Entity pursuant to
section 502(e)(1)(B) of the Bankruptcy Code, then to the extent that such Claim is contingent as of the time of
allowance or disallowance, such Claim shall be forever disallowed and expunged notwithstanding section 502(j) of
the Bankruptcy Code, unless prior to the Confirmation Date: (1) such Claim has been adjudicated as non-contingent
or (2) the relevant holder of a Claim has Filed a non-contingent Proof of Claim on account of such Claim and a Final
Order has been entered prior to the Confirmation Date determining such Claim as no longer contingent.

                                       ARTICLE IX.
                    CONDITIONS PRECEDENT TO CONSUMMATION OF THE PLAN

A.       Conditions Precedent to the Effective Date.

         It shall be a condition to the Effective Date that the following conditions shall have been satisfied or waived
pursuant to the provisions of Article IX.B hereof:

         1.     the Confirmation Order shall have become a Final Order and be in form and substance acceptable to
                the Required Consenting Stakeholders and shall:

                  (a) authorize the Debtors to take all actions necessary to enter into, implement, and consummate
                      the contracts, instruments, releases, leases, indentures, and other agreements or documents
                      created in connection with the Plan;

                  (b) decree that the provisions in the Confirmation Order and the Plan are nonseverable and mutually
                      dependent;

                  (c) authorize the Debtors or the Reorganized Debtors, as applicable/necessary, to: (a) implement
                      the Restructuring Transactions, including the Rights Offering and Exit Facilities; (b) appoint
                      the directors and officers for the Reorganized Debtors; (c) issue and distribute the New

                                                          51
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 699 of 1639
                                                                      0699


              Common Stock in accordance with the Plan, including all shares of New Common Stock issued
              by Reorganized Chesapeake to the Backstop Parties as part of the Put Option Premium and the
              unsubscribed shares of New Common Stock issued to Backstop Parties pursuant to the
              Backstop Commitment Agreement; (d) issue and distribute the Rights and subsequently issue
              and distribute New Common Stock issuable upon exercise of such; (e) execute and deliver the
              Registration Rights Agreement; (f) execute and deliver the New Warrants Agreements and
              issue and distribute the New Warrants; (g) enter into the Exit Facilities Documents; (h) take all
              other actions contemplated under the Plan (whether to occur before, on, or after the Effective
              Date); (i) approve and adopt the New Organizational Documents; (j) adopt the Management
              Incentive Plan; (k) reject, assume, or assume and assign, as applicable, Executory Contracts
              and Unexpired Leases; and (l) complete all other acts or actions contemplated or reasonably
              necessary or appropriate to promptly consummate the Restructuring Transactions contemplated
              by the Plan (whether to occur before, on, or after the Effective Date).

          (d) authorize the implementation of the Plan in accordance with its terms;

          (e) provide that, pursuant to section 1146 of the Bankruptcy Code, the assignment or surrender of
              any lease or sublease, and the delivery of any deed or other instrument or transfer order, in
              furtherance of, or in connection with the Plan, including any deeds, bills of sale, or assignments
              executed in connection with any disposition or transfer of assets contemplated under the Plan,
              shall not be subject to any stamp, real estate transfer, mortgage recording, or other similar
              tax; and

          (f) contain the release, injunction, and exculpation provisions contained in Article VIII herein; and

   2.   the Debtors shall have obtained all authorizations, consents, regulatory approvals, rulings, or
        documents that are necessary to implement and effectuate the Plan;

   3.   the Plan and the applicable documents included in the Plan Supplement, including any schedules,
        documents, and exhibits contained therein, shall have been Filed and shall be in form and substance
        reasonably acceptable to the Debtors and the Required Consenting Stakeholders in accordance with
        the consent rights contained in the Restructuring Support Agreement;

   4.   the Restructuring Support Agreement shall remain in full force and effect;

   5.   the Final Order approving the DIP Facility shall remain in full force and effect and no event of default
        shall have occurred and be continuing thereunder;

   6.   the Backstop Commitment Agreement Approval Order and Backstop Commitment Agreement shall
        have been entered and remain in full force and effect;

   7.   all Allowed Professional Claims approved by the Bankruptcy Court shall have been paid in full or
        amounts sufficient to pay such Allowed Professional Claims after the Effective Date have been placed
        in the Professional Fee Escrow Account pending approval of the Professional Claims by the
        Bankruptcy Court, all fees and expenses payable pursuant to Article IV.U shall have been paid in full,




                                                  52
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 700 of 1639
                                                                           0700


               and all fees and expenses of the DIP Agent, Revolving Credit Facility Administrative Agent, and the
               Collateral Trustee payable pursuant to the DIP Order shall have been paid in full;

        8.     the payments required to be made pursuant to the terms of Article IV.U of the Plan shall have
               been paid;

        9.     the New Organizational Documents with respect to the Reorganized Debtors shall be in full force and
               effect and be in form and substance reasonably acceptable to the Required Consenting Stakeholders;

        10.    the Exit Facilities Documents shall be in full force and effect (with the Conditions Precedent to the
               Exit Facilities having been met, satisfied, or waived) and, subject to any post-closing execution and
               delivery requirements provided for in the Exit Facilities Documents, be in form and substance
               acceptable to the Required Consenting Stakeholders (such approval not to be withheld in bad faith;
               provided that the terms set forth in the Exit Facilities Term Sheet shall be deemed acceptable to the
               Required Consenting Stakeholders); and

        11.    The Minimum Liquidity Condition, the Total Leverage Condition, and the PDP PV-10 Test Ratio
               Condition shall have been met, satisfied, or waived.

          For the avoidance of doubt, if the Minimum Liquidity Condition, the Total Leverage Condition, and/or the
PDP PV-10 Test Ratio Condition would not otherwise be satisfied, the Required Plan Sponsors may agree, in their
sole discretion, to increase the Rights Offering amount above $600 million on the same terms, including the Rights
Offering Value and with an allocation consistent with the Backstop Allocations, in order to enable such conditions to
be satisfied; provided that no Backstop Party’s Backstop Commitment may be increased without its consent.

B.      Waiver of Conditions.

          Any one or more of the conditions to Consummation (or component thereof) set forth in this Article IX may
be waived by the Debtors with the prior written consent of the Required Consenting Stakeholders (with the exception
of the condition precedent specified in Section IX.A.4, not to be withheld unreasonably), without notice, leave, or
order of the Bankruptcy Court or any formal action other than proceedings to confirm or consummate the Plan.

C.      Effect of Failure of Conditions.

         If Consummation does not occur as to any Debtor, the Plan shall be null and void in all respects as to such
Debtor and nothing contained in the Plan, the Disclosure Statement, or Restructuring Support Agreement as to such
Debtor shall: (1) constitute a waiver or release of any Claims by the Debtors, Claims, or Interests; (2) prejudice in
any manner the rights of the Debtors, any holders of Claims or Interests, or any other Entity; or (3) constitute an
admission, acknowledgment, offer, or undertaking by the Debtors, any holders of Claims or Interests, or any
other Entity.

D.      Substantial Consummation

         “Substantial Consummation” of the Plan, as defined in 11 U.S.C. § 1101(2), shall be deemed to occur on the
Effective Date.

                                       ARTICLE X.
                  MODIFICATION, REVOCATION, OR WITHDRAWAL OF THE PLAN

A.      Modification and Amendments.

         Except as otherwise specifically provided in this Plan, upon prior notice to and with the consent of the
Required Consenting Stakeholders, the Debtors reserve the right to modify the Plan, whether such modification is
material or immaterial, and seek Confirmation consistent with the Bankruptcy Code and, as appropriate and with the
consent of the Required Consenting Stakeholders, not resolicit votes on such modified Plan. Subject to those

                                                         53
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 701 of 1639
                                                                           0701


restrictions on modifications set forth in the Plan and the requirements of section 1127 of the Bankruptcy Code,
Rule 3019 of the Federal Rules of Bankruptcy Procedure, and, to the extent applicable, sections 1122, 1123, and 1125
of the Bankruptcy Code, each of the Debtors expressly reserves its respective rights to revoke or withdraw, or to alter,
amend, or modify the Plan with respect to such Debtor, one or more times, after Confirmation, and, to the extent
necessary may initiate proceedings in the Bankruptcy Court to so alter, amend, or modify the Plan, or remedy any
defect or omission, or reconcile any inconsistencies in the Plan, the Disclosure Statement, or the Confirmation Order,
in such matters as may be necessary to carry out the purposes and intent of the Plan.

B.       Effect of Confirmation on Modifications.

          Entry of the Confirmation Order shall mean that all modifications or amendments to the Plan since the
solicitation thereof are approved pursuant to section 1127(a) of the Bankruptcy Code and do not require additional
disclosure or resolicitation under Bankruptcy Rule 3019.

C.       Revocation or Withdrawal of Plan.

         The Debtors reserve the right, upon prior notice to and with the consent of the Required Consenting
Stakeholders, to revoke or withdraw the Plan prior to the Confirmation Date and to File subsequent plans of
reorganization. If the Debtors revoke or withdraw the Plan, or if Confirmation or Consummation does not occur, then:
(1) the Plan shall be null and void in all respects; (2) any settlement or compromise embodied in the Plan (including
the fixing or limiting to an amount certain of any Claim or Interest or Class of Claims or Interests, and including any
settlement, waiver, or release of any rights of the Revolving Credit Facility Lenders under the Intercreditor Agreement
or the Collateral Trust Documents), assumption or rejection of Executory Contracts or Unexpired Leases effected
under the Plan, and any document or agreement executed pursuant to the Plan, shall be deemed null and void; and
(3) nothing contained in the Plan shall: (a) constitute a waiver or release of any Claims or Interests; (b) prejudice in
any manner the rights of such Debtor or any other Entity; or (c) constitute an admission, acknowledgement, offer, or
undertaking of any sort by such Debtor or any other Entity.

                                               ARTICLE XI.
                                        RETENTION OF JURISDICTION

          Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective Date, on and after
the Effective Date, the Bankruptcy Court shall retain exclusive jurisdiction over all matters arising out of, or relating
to, the Chapter 11 Cases and the Plan pursuant to sections 105(a) and 1142 of the Bankruptcy Code, including
jurisdiction to:

         1.     allow, disallow, determine, liquidate, classify, estimate, or establish the priority, secured or unsecured
                status, or amount of any Claim or Interest, including the resolution of any request for payment of any
                Administrative Claim and the resolution of any and all objections to the secured or unsecured status,
                priority, amount, or allowance of Claims or Interests;

         2.     decide and resolve all matters related to the granting and denying, in whole or in part, any applications
                for allowance of compensation or reimbursement of expenses to Professionals authorized pursuant to
                the Bankruptcy Code or the Plan;

         3.     resolve any matters related to: (a) the assumption, assumption and assignment, or rejection of any
                Executory Contract or Unexpired Lease to which a Debtor is party or with respect to which a Debtor
                may be liable and to hear, determine, and, if necessary, liquidate, any Claims arising therefrom,
                including Cure Claims pursuant to section 365 of the Bankruptcy Code; (b) any potential contractual
                obligation under any Executory Contract or Unexpired Lease that is assumed; (c) the Reorganized
                Debtors amending, modifying, or supplementing, after the Effective Date, pursuant to Article V
                hereof, any Executory Contracts or Unexpired Leases to the list of Executory Contracts and Unexpired
                Leases to be assumed or rejected or otherwise; and (d) any dispute regarding whether a contract or
                lease is or was executory or expired;



                                                           54
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 702 of 1639
                                                                      0702


   4.    ensure that distributions to holders of Allowed Claims and Allowed Interests (as applicable) are
         accomplished pursuant to the provisions of the Plan;

   5.    adjudicate, decide, or resolve any motions, adversary proceedings, contested or litigated matters, and
         any other matters, and grant or deny any applications involving a Debtor that may be pending on the
         Effective Date;

   6.    adjudicate, decide, or resolve any and all matters related to section 1141 of the Bankruptcy Code;

   7.    enter and implement such orders as may be necessary to execute, implement, or consummate the
         provisions of the Plan and all contracts, instruments, releases, indentures, and other agreements or
         documents created or entered into in connection with the Plan or the Disclosure Statement;

   8.    enter and enforce any order for the sale of property pursuant to sections 363, 1123, or 1146(a) of the
         Bankruptcy Code;

   9.    resolve any cases, controversies, suits, disputes, or Causes of Action that may arise in connection with
         the Consummation, interpretation, or enforcement of the Plan or any Entity’s obligations incurred in
         connection with the Plan;

   10.   issue injunctions, enter and implement other orders, or take such other actions as may be necessary to
         restrain interference by any Entity with Consummation or enforcement of the Plan;

   11.   resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the releases,
         injunctions, exculpations, and other provisions contained in Article VIII hereof and enter such orders
         as may be necessary or appropriate to implement such releases, injunctions, and other provisions;

   12.   resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the repayment or
         return of distributions and the recovery of additional amounts owed by the holder of a Claim or Interest
         for amounts not timely repaid pursuant to Article VI.K hereof;

   13.   enter and implement such orders as are necessary if the Confirmation Order is for any reason modified,
         stayed, reversed, revoked, or vacated;

   14.   determine any other matters that may arise in connection with or relate to the Plan, the Plan
         Supplement, the Disclosure Statement, the Confirmation Order, or any contract, instrument, release,
         indenture, or other agreement or document created in connection with the Plan or the Disclosure
         Statement, including the Restructuring Support Agreement;

   15.   enter an order concluding or closing the Chapter 11 Cases;

   16.   adjudicate any and all disputes arising from or relating to distributions under the Plan;

   17.   consider any modifications of the Plan, to cure any defect or omission, or to reconcile any
         inconsistency in any Bankruptcy Court order, including the Confirmation Order;

   18.   determine requests for the payment of Claims and Interests entitled to priority pursuant to section 507
         of the Bankruptcy Code;

   19.   hear and determine disputes arising in connection with the interpretation, implementation, or
         enforcement of the Plan or the Confirmation Order, including disputes arising under agreements,
         documents, or instruments executed in connection with the Plan;

   20.   hear and determine matters concerning state, local, and federal taxes in accordance with sections 346,
         505, and 1146 of the Bankruptcy Code;

                                                    55
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 703 of 1639
                                                                           0703


         21.    hear and determine all disputes involving the obligations or terms of the Rights Offering and the
                Backstop Commitment Agreement;

         22.    hear and determine all disputes involving the existence, nature, scope, or enforcement of any
                exculpations, discharges, injunctions, and releases granted in the Plan, including under Article VIII
                hereof;

         23.    enforce all orders previously entered by the Bankruptcy Court; and

         24.    hear any other matter not inconsistent with the Bankruptcy Code.

         As of the Effective Date, notwithstanding anything in this Article XI to the contrary, the New Organizational
Documents and the Exit Facilities and any documents related thereto shall be governed by the jurisdictional provisions
therein and the Bankruptcy Court shall not retain jurisdiction with respect thereto.

                                               ARTICLE XII.
                                        MISCELLANEOUS PROVISIONS

A.       Immediate Binding Effect.

         Subject to Article IX.A hereof and notwithstanding Bankruptcy Rules 3020(e), 6004(h), or 7062 or otherwise,
upon the occurrence of the Effective Date, the terms of the Plan (including, for the avoidance of doubt, the documents
and instruments contained in the Plan Supplement) shall be immediately effective and enforceable and deemed binding
upon the Debtors, the Reorganized Debtors, any and all holders of Claims or Interests (irrespective of whether such
holders of Claims or Interests have, or are deemed to have accepted the Plan), all Entities that are parties to or are
subject to the settlements, compromises, releases, discharges, and injunctions described in the Plan, each Entity
acquiring property under the Plan, and any and all non-Debtor parties to Executory Contracts and Unexpired Leases
with the Debtors.

B.       Additional Documents.

         On or before the Effective Date, the Debtors may File with the Bankruptcy Court such agreements and other
documents as may be necessary to effectuate and further evidence the terms of the Plan. The Debtors or the
Reorganized Debtors, as applicable, and all holders of Claims or Interests receiving distributions pursuant to the Plan
and all other parties in interest shall, from time to time, prepare, execute, and deliver any agreements or documents
and take any other actions as may be necessary or advisable to effectuate the provisions and intent of the Plan.

C.       Payment of Statutory Fees.

          All fees payable pursuant to section 1930(a) of the Judicial Code, as determined by the Bankruptcy Court at
a hearing pursuant to section 1128 of the Bankruptcy Code, shall be paid by each of the Reorganized Debtors for each
quarter (including any fraction thereof) until the earlier of entry of a final decree closing such Chapter 11 Cases or an
order of dismissal or conversion, whichever comes first.

D.       Statutory Committee and Cessation of Fee and Expense Payment.

         On the Confirmation Date, any statutory committee appointed in the Chapter 11 Cases shall dissolve and
members thereof shall be released and discharged from all rights and duties from or related to the Chapter 11 Cases.
The Reorganized Debtors shall no longer be responsible for paying any fees or expenses incurred by the members of
or advisors to any statutory committees after the Confirmation Date.

E.       Reservation of Rights.

          Except as expressly set forth in the Plan, the Plan shall have no force or effect unless the Bankruptcy Court
shall enter the Confirmation Order, and the Confirmation Order shall have no force or effect if the Effective Date does

                                                           56
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 704 of 1639
                                                                           0704


not occur. None of the Filing of the Plan, any statement or provision contained in the Plan, or the taking of any action
by any Debtor with respect to the Plan, the Disclosure Statement, or the Plan Supplement shall be or shall be deemed
to be an admission or waiver of any rights of any Debtor with respect to the holders of Claims or Interests prior to the
Effective Date.

F.       Successors and Assigns.

          The rights, benefits, and obligations of any Entity named or referred to in the Plan shall be binding on, and
shall inure to the benefit of any heir, executor, administrator, successor or assign, Affiliate, officer, manager, director,
agent, representative, attorney, beneficiaries, or guardian, if any, of each Entity.

G.       Notices.

         All notices, requests, and demands to or upon the Debtors to be effective shall be in writing (including by
facsimile transmission) and, unless otherwise expressly provided herein, shall be deemed to have been duly given or
made when actually delivered or, in the case of notice by facsimile transmission, when received and telephonically
confirmed, addressed as follows:

                     Debtors                                                 Counsel to the Debtors
 Chesapeake Energy Corporation                             Kirkland & Ellis LLP
 6100 North Western Avenue                                 300 North LaSalle Street
 Oklahoma, Oklahoma 73118                                  Chicago, Illinois 60654
 Attention: James R. Webb                                  Attention: Patrick J. Nash, Jr., P.C., Marc Kieselstein,
                                                           P.C., and Alexandra Schwarzman

                                                           and

                                                           Jackson Walker LLP
                                                           1401 McKinney Street, Suite 1900
                                                           Houston, Texas 77010
                                                           Attention: Matthew D. Cavenaugh, Jennifer F. Wertz,
                                                           Kristhy M. Peguero, and Veronica A. Polnick
               United States Trustee                               Counsel to the Consenting DIP Lenders
 Office of The United States Trustee                       Sidley Austin LLP
 515 Rusk Street, Suite 3516                               555 West Fifth Street
 Houston, Texas 77002                                      Los Angeles, CA 90013
                                                           Attention: Jennifer C. Hagle and Brian E. Minyard
    Counsel to the Consenting Revolving Credit
                                                                      Counsel to the FLLO Ad Hoc Group
                  Facility Lenders
 Sidley Austin LLP                                         Davis Polk & Wardwell LLP
 555 West Fifth Street                                     450 Lexington Avenue
 Los Angeles, CA 90013                                     New York, New York 10017
 Attention: Jennifer C. Hagle and Brian E. Minyard         Attention: Damian S. Schaible, Darren S. Klein, and Aryeh
                                                           Ethan Falk
               Counsel to Franklin
 Akin Gump Strauss Hauer & Feld LLP
 One Bryant Park
 Bank of America Tower
 New York, New York 10036
 Attention: Michael S. Stamer, Meredith A. Lahaie,
 and Stephen B. Kuhn




                                                            57
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 705 of 1639
                                                                           0705


          After the Effective Date, the Reorganized Debtors have the authority to send a notice to Entities that to
continue to receive documents pursuant to Bankruptcy Rule 2002, such Entity must File a renewed request to receive
documents pursuant to Bankruptcy Rule 2002. After the Effective Date, the Reorganized Debtors are authorized to
limit the list of Entities receiving documents pursuant to Bankruptcy Rule 2002 to those Entities who have Filed such
renewed requests.

H.       Term of Injunctions or Stays.

         Unless otherwise provided in the Plan or in the Confirmation Order, all injunctions or stays in effect in the
Chapter 11 Cases pursuant to sections 105 or 362 of the Bankruptcy Code or any order of the Bankruptcy Court, and
extant on the Confirmation Date (excluding any injunctions or stays contained in the Plan or the Confirmation Order)
shall remain in full force and effect until the Effective Date. All injunctions or stays contained in the Plan or the
Confirmation Order shall remain in full force and effect in accordance with their terms.

I.       Entire Agreement.

         Except as otherwise indicated, the Plan supersedes all previous and contemporaneous negotiations, promises,
covenants, agreements, understandings, and representations on such subjects, all of which have become merged and
integrated into the Plan.

J.       Plan Supplement.

           All exhibits and documents included in the Plan Supplement are incorporated into and are a part of the Plan
as if set forth in full in the Plan. After the exhibits and documents are Filed, copies of such exhibits and documents
shall be available upon written request to the Debtors’ counsel at the address above or by downloading such exhibits
and documents from the Debtors’ restructuring website at https://dm.epiq11.com/chesapeake or the Bankruptcy
Court’s website at www.txs.uscourts.gov/bankruptcy. To the extent any exhibit or document is inconsistent with the
terms of the Plan, unless otherwise ordered by the Bankruptcy Court, the Plan Supplement exhibit or document shall
control (unless stated otherwise in such Plan Supplement document or in the Confirmation Order).

K.       Nonseverability of Plan Provisions.

          If, prior to Confirmation, any term or provision of the Plan is held by the Bankruptcy Court to be invalid,
void, or unenforceable, the Bankruptcy Court shall have the power to alter and interpret such term or provision to
make it valid or enforceable to the maximum extent practicable, consistent with the original purpose of the term or
provision held to be invalid, void, or unenforceable, and such term or provision shall then be applicable as altered or
interpreted. Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms and provisions
of the Plan will remain in full force and effect and will in no way be affected, impaired, or invalidated by such holding,
alteration, or interpretation. The Confirmation Order shall constitute a judicial determination and shall provide that
each term and provision of the Plan, as it may have been altered or interpreted in accordance with the foregoing, is:
(1) valid and enforceable pursuant to its terms; (2) integral to the Plan and may not be deleted or modified without the
Debtors’ or Reorganized Debtors’ consent, as applicable; and (3) nonseverable and mutually dependent.

L.       Votes Solicited in Good Faith.

         Upon entry of the Confirmation Order, the Debtors will be deemed to have solicited votes on the Plan in
good faith and in compliance with section 1125(g) of the Bankruptcy Code, and pursuant to section 1125(e) of the
Bankruptcy Code, the Debtors and each of their respective Affiliates, agents, representatives, members, principals,
shareholders, officers, directors, employees, advisors, and attorneys will be deemed to have participated in good faith
and in compliance with the Bankruptcy Code in the offer, issuance, sale, and purchase of Securities offered and sold
under the Plan and any previous plan, and, therefore, neither any of such parties or individuals or the Reorganized
Debtors will have any liability for the violation of any applicable law, rule, or regulation governing the solicitation of
votes on the Plan or the offer, issuance, sale, or purchase of the Securities offered and sold under the Plan and any
previous plan.



                                                           58
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 706 of 1639
                                                                           0706


M.       Closing of Chapter 11 Cases.

          Upon the occurrence of the Effective Date, the Reorganized Debtors shall be permitted to close all of the
Chapter 11 Cases except for the Chapter 11 Case of Chesapeake, and all contested matters and adversary proceedings
relating to each of the Debtors, including objections to Claims, shall be administered and heard in the Chapter 11 Case
of Chesapeake; provided that for purposes of sections 546 and 550 of the Bankruptcy Code, the Chapter 11 Cases
shall be deemed to remain open until the Chapter 11 Case of Chesapeake has been closed.

         When all Disputed Claims have become Allowed or disallowed and all remaining Cash has been distributed
in accordance with the Plan, the Reorganized Debtors shall seek authority from the Bankruptcy Court to close the
Chapter 11 Case of Chesapeake in accordance with the Bankruptcy Code and the Bankruptcy Rules.

N.       Waiver or Estoppel.

          Each holder of a Claim or an Interest shall be deemed to have waived any right to assert any argument,
including the right to argue that its Claim or Interest should be Allowed in a certain amount, in a certain priority,
secured or not subordinated by virtue of an agreement made with the Debtors or their counsel, or any other Entity, if
such agreement was not disclosed in the Plan, the Disclosure Statement, or papers Filed with the Bankruptcy Court
prior to the Confirmation Date.

O.       Creditor Default.

         An act or omission by a holder of a Claim or an Interest in contravention of the provisions of this Plan shall
be deemed an event of default under this Plan. Upon an event of default, the Reorganized Debtors may seek to hold
the defaulting party in contempt of the Confirmation Order and shall be entitled to reasonable attorneys’ fees and costs
of the Reorganized Debtors in remedying such default. Upon the finding of such a default by a creditor, the
Bankruptcy Court may: (a) designate a party to appear, sign and/or accept the documents required under the Plan on
behalf of the defaulting party, in accordance with Bankruptcy Rule 7070; (b) enforce the Plan by order of specific
performance; (c) award judgment against such defaulting creditor in favor of the Reorganized debtor in an amount,
including interest, to compensate the Reorganized Debtors for the damages caused by such default; and (d) make such
other order as may be equitable that does not materially alter the terms of the Plan.




                                                          59
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 707 of 1639
                                                                        0707


Dated: December 27, 2020January 12, 2021   CHESAPEAKE ENERGY CORPORATION

                                           on behalf of itself and all other Debtors




                                           /s/ Domenic J. Dell’Osso, Jr.
                                           Domenic J. Dell’Osso, Jr.
                                           Executive Vice President and Chief Financial Officer




                                           60
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 708 of 1639
                                                                      0708



                      UNITED STATES BANKRUPTCY COURT
                   SOUTHERN DISTRICT OF TEXAS (HOUSTON)

                                 .          Case No. 20-33233 (DRJ)
   IN RE:                        .          Chapter 11
                                 .          (Jointly Administered)
   CHESAPEAKE ENERGY             .
   CORPORATION,                  .          515 Rusk Street
                                 .          Houston, TX 77002
                  Debtor.        .
                                 .          Wednesday, January 13, 2021
   . . . . . . . . . . . . . . . .          9:00 a.m.

              TRANSCRIPT OF CONFIRMATION HEARING - DAY 13
        BEFORE THE HONORABLE DAVID R. JONES VIA VIDEOCONFERENCE
                  UNITED STATES BANKRUPTCY COURT JUDGE


   TELEPHONIC APPEARANCES:

   For the Debtors:             Jackson Walker LLP
                                By: MATTHEW CAVENAUGH, ESQ.
                                     KRISTHY M. PEGUERO, ESQ.
                                1401 McKinney Street, Suite 1900
                                Houston, TX 77010
                                (713) 752-4200

                                Kirkland & Ellis LLP
                                BY: ALEXANDRA SCHWARZMAN, ESQ.
                                     PATRICK J. NASH, JR., ESQ.
                                     MARC KIESELSTEIN, ESQ.
                                300 North LaSalle
                                Chicago, IL 60654
                                (312) 862-2290

                                Kirkland & Ellis LLP
                                BY: DANIEL T. DONOVAN, ESQ.
                                     JUDSON BROWN, ESQ.
                                1301 Pennsylvania Avenue, N.W.
                                Washington, D.C. 20004
                                (202) 389-5000


   TELEPHONIC APPEARANCES CONTINUED.

   Audio Operator:                    Court ERO Personnel

   Transcription Company:             Access Transcripts, LLC
                                      10110 Youngwood Lane
                                      Fishers, IN 46038
                                      (855) 873-2223
                                      www.accesstranscripts.com

         Proceedings recorded by electronic sound recording,
             transcript produced by transcription service.
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 709 of 1639
                                                                      0709

   TELEPHONIC APPEARANCES (Continued):                                       2

   For the Official             Forshey Prostok LLP
   Committee of Royalty         By: JEFF PROSTOK, ESQ.
   Owners:                           DEIRDRE BROWN, ESQ.
                                1990 Post Oak Boulevard, Suite 2400
                                Houston, TX 77056
                                (832) 367-5722

   For the United States        U.S. Department of Justice
   (U.S. Department of          BY: TIFFINEY FRANCES CARNEY, ESQ.
   the Interior):               P.O. Box 875 Ben Franklin Station
                                Washington, DC 20044
                                (202) 353-7971

   For the Ad Hoc Group         Davis Polk & Wardwell LLP
   of FLLO Term Loan            BY: ARYEH ETHAN FALK, ESQ.
   Lenders:                          DARREN S. KLEIN, ESQ.
                                     DAMIAN S. SCHAIBLE, ESQ.
                                     BENJAMIN S. KAMINETZKY, ESQ.
                                     MARC J. TOBAK, ESQ.
                                450 Lexington Avenue
                                New York, NY 10017
                                (212) 450-4563

                                Paul Hastings LLP
                                BY: JUSTIN RAWLINS, ESQ.
                                515 South Flower Street, 25th Floor
                                Los Angeles, CA 90071
                                (213) 683-6130

   For Franklin Advisers,       Akin Gump Strauss Hauer & Feld LLP
   Inc.:                        BY: MICHAEL S. STAMER, ESQ.
                                     ABID QURESHI, ESQ.
                                     MEREDITH A. LAHAIE, ESQ.
                                     DAVID ZENSKY, ESQ.
                                One Bryant Park
                                Bank of America Tower
                                New York, NY 10036-6745
                                (212) 872-1025

   For RLI Insurance            Krebs Farley & Dry PLLC
   Company:                     BY: JONATHAN ORD, ESQ.
                                400 Poydras Street, Suite 2500
                                New Orleans, LA 70130
                                (504) 299-3583

   For Brandes Investment       Patterson Belknap Webb & Tyler
   Partners, LP:                BY: DANIEL LOWENTHAL, ESQ.
                                1133 Avenue of the Americas
                                New York NY, 10036
                                (212) 336-2318




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 710 of 1639
                                                                      0710

   TELEPHONIC APPEARANCES (Continued):                                       3

   For Petty Business           Ross & Smith P.C.
   Enterprises, LP, Petty       BY: JUDITH W. ROSS, ESQ.
   Energy LP, and their              FRANCES SMITH, ESQ.
   related entities:            700 North Pearl Street, Suite 1610
                                Dallas, TX 75201
                                (214) 377-7879

   For the Official             Brown Rudnick LLP
   Committee of Unsecured       BY: ROBERT J. STARK, ESQ.
   Creditors:                        BENNETT SILVERBERG, ESQ.
                                     SIGMUND S. WISSNER-GROSS, ESQ.
                                     KENNETH AULET, ESQ.
                                     MICHAEL WINOGRAD, ESQ.
                                     UCHECHI EGEONUIGWE, ESQ.
                                7 Times Square
                                New York, NY 10036
                                (212) 209-4862

                                Brown Rudnick LLP
                                BY: JAMES W. STOLL, ESQ.
                                     JEFFREY L. JONAS, ESQ.
                                One Financial Center
                                Boston, MA 02111
                                (617) 856-8262

                                Norton Rose Fulbright US LLP
                                By: LOUIS R. STRUBECK, JR., ESQ.
                                     KRISTIAN W. GLUCK, ESQ.
                                2200 Ross Avenue, Suite 3600
                                Dallas, TX 75201-2784
                                (214) 855-8210

   For Wilmington Savings       Foley & Lardner LLP
   Financial Society, as        By: MARK F. HEBBELN, ESQ.
   Indenture Trustee:           321 North Clark Street, Suite 3000
                                Chicago, IL 60654-4762
                                (312) 832-4394

   For MUFG Union Bank,         Paul Hastings LLP
   N.A., in its Capacity        BY: AVRAM EMMANUEL LUFT, ESQ.
   as Collateral Agent          200 Park Avenue
   Under FLLO Collateral        New York, NY 10166
   Trust Agreement:             (212) 318-6079

                                Paul Hastings LLP
                                BY: BRENDAN M. GAGE, ESQ.
                                71 South Wacker Drive, 45th Floor
                                 Chicago, IL 60606
                                (312) 499-6091




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 711 of 1639
                                                                      0711

   TELEPHONIC APPEARANCES (Continued):                                       4

   For the PMBG Client          Harrison Duncan PLLC
   Parties:                     BY: MARY ELIZABETH HEARD, ESQ.
                                8700 Crownhill, Suite 505
                                San Antonio, Texas 78209
                                (210) 821-5800

                                Lutrell & Carmody Law Group
                                BY: LESLIE LUTTRELL, ESQ.
                                100 NE Loop 410, Suite 615
                                San Antonio, TX 78216-4713
                                (210) 426-3600

   For Energy Transfer          Katten Muchin Rosenman LLP
   Fuel, LP:                    BY: KELLY HINE, ESQ.
                                     JOHN E. MITCHELL, ESQ.
                                2121 North Pearl Street, Suite 1100
                                Dallas, TX 75201-2591
                                (214) 765-3641

                                Yetter Coleman LLP
                                BY: KIMBERLY MCMULLAN, ESQ.
                                     R. PAUL YETTER, ESQ.
                                811 Main Street, Suite 4100
                                Houston, TX 77002
                                (713) 632-8000

   For MUFG Union Bank,         Sidley Austin LLP
   N.A., in its Capacities      BY: DUSTON K. MCFAUL, ESQ.
   As DIP Agent and             1000 Louisiana Street, Suite 6000
   RBL Agent:                   Houston, TX 77002
                                (713) 495-4500

                                Sidley Austin LLP
                                BY: JENNIFER C. HAGLE, ESQ.
                                555 West Fifth Street
                                Los Angeles, CA 90013
                                (213) 896-6015

                                Sidley Austin LLP
                                BY: BRIAN W. TOBIN, ESQ.
                                     JAMES DUCAYET, ESQ.
                                One South Dearborn
                                Chicago, IL 60603
                                (312) 853-4578

   For Four P Family            Whitaker Chalk Swindle & Schwartz PLLC
   Holdings LP and Byrd         BY: PRICHARD BEVIS, ESQ.
   Family Limited               301 Commerce Street, Suite 3500
   Partnership:                 Ft. Worth, TX 76102
                                (817) 878-0500




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 712 of 1639
                                                                      0712

   TELEPHONIC APPEARANCES (Continued):                                       5

   For the Commonwealth         Pennsylvania Office of the Attorney
   of Pennsylvania:               General
                                BY: JOSEPH STEPHEN BETSKO, ESQ.
                                15th Floor, Strawberry Square
                                Harrisburg, PA 17120
                                (717) 787-4530

                                Office of the Attorney General
                                BY: CAROL E. MOMJIAN, ESQ.
                                1600 Arch Street, Suite 300
                                Philadelphia, PA 19107-3603
                                (215) 560-2128

   For the Industrial       Weiner Weiss & Madison, APC
   Development Board of the BY: PATRICK L. MCCUNE, ESQ.
   Parish of Caddo, Inc.,   330 Marshall Street #1000
   Caddo Parish, Paul M.    Shreveport, LA 71101
   Davis, Paul M. Davis,    (318) 213-9246
   Solely in his Capacity
   as the Independent
   Administrator of the
   Succession of John P.
   Davis, Jr., Coushatta
   Bayou Land Company, LLC,
   Caspiana Interests, LLC,
   Bugg Desoto, LLC,
   Kingwood Business
   Center, LP, Charles
   Steven Powers, Powers
   Investments, LLC, and
   Sonja Bott, on behalf
   of the Succession of
   Gregary Roy Bott:

   For Multiple Texas           Texas Attorney General's Office
   State Agencies:              BY: ABIGAIL RUSHING RYAN, ESQ.
                                300 West 15th Street, Floor 8
                                Austin, TX 78701
                                (512) 463-2173

   For the Pennsylvania         Husch Blackwell LLP
   Attorney General's           BY: LYNN HAMILTON BUTLER, ESQ.
   Office and Oklahoma          111 Congress Avenue, Suite 1400
   State Treasurer:             Austin, TX 78701-4043
                                (512) 479-9758

   For Tornado Venture          Law Office of William B. Kingman, P.C.
   Quatro, LLC, Tornado         BY: WILLIAM KINGMAN, ESQ.
   Venture Cinco, LLC,          3511 Broadway
   and Tornado Venture          San Antonio, TX 78209
   Seis, LP:                    (210) 829-1199



      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 713 of 1639
                                                                      0713

   TELEPHONIC APPEARANCES (Continued):                                       6

   For the PA Lessors and       Schnader Harrison Segal & Lewis LLP
   Tyler/Mowry Lessors:         BY: RICHARD A. BARKASY, ESQ.
                                1600 Market Street, Suite 3600
                                Philadelphia, PA 19103-7286
                                (215) 751-2526

   For Aparicion Minerals,      Spence Desenberg & Lee, PLLC
   LP, et al.:                  BY: ROSS SPENCE, ESQ.
                                1770 St. James Place, Suite 625
                                Houston, TX 77056
                                (713) 275-8840

   For Deutsche Bank Trust      Morgan Lewis & Bockius LLP
   Company Americas, as         BY: JOSHUA DORCHAK, ESQ.
   Second Lien Trustee:              GLENN E. SIEGEL, ESQ.
                                101 Park Avenue
                                New York, NY 10178-0060

   For the Texas                Office of The Attorney General of
   Comptroller of Public        Texas
   Accounts:                    BY: LAYLA MILLIGAN, ESQ.
                                JASON B. BINFORD, ESQ.
                                P.O. Box 12548
                                Houston, TX 78711
                                (512) 463-2173

   For Gordy Gas:               Crady Jewett McCulley & Houren, LLP
                                BY: SHELLEY MARMON, ESQ.
                                2727 Allen Parkway, Suite 1700
                                Houston, TX 77019-2125
                                (713) 739-7007

   For CNOOC Energy             Andrews Myers, P.C.
   U.S.A., LLC:                 BY: EDWARD RIPLEY, ESQ.
                                1885 Saint James Place, 15th Floor
                                Houston, TX 77056
                                (713) 850-4227

   For The Bank of              Emmet, Marvin & Martin LLP
   New York Mellon Trust        BY: THOMAS PITTA, ESQ.
   Company, N.A.:               120 Broadway, 32nd Floor
                                New York, NY 10271
                                (212) 238-3148

   For Mary Wheeler Family      Branscomb Law PLLC
   Limited Partnership:         BY: PATRICK AUTRY, ESQ.
                                8023 Vantage Drive, Suite 560
                                San Antonio, TX 78230
                                (210) 598-5400




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 714 of 1639
                                                                      0714

   TELEPHONIC APPEARANCES (Continued):                                       7

   For FERC:                    United States Attorney's Office
                                BY: RICHARD KINCHELOE, ESQ.
                                1000 Louisiana Street, Suite 2300
                                Houston, TX 77002-5010
                                (713) 567-9422

   For Kinder Morgan, Inc.: Bracewell LLP
                            BY: JONATHAN LOZANO, ESQ.
                            111 Congress Avenue, Suite 2300
                            Austin, TX 78701-4061
                            (512) 494-3689

   For GLAS USA LLC:            Cole Schotz P.C.
                                BY: MICHAEL D. WARNER, ESQ.
                                     BENJAMIN L. WALLEN, ESQ.
                                301 Commerce Street, Suite 1700
                                Fort Worth, TX 76102
                                (817) 810-5250

                                Cole Schotz P.C.
                                BY: DANIEL F.X. GEOGHAN, ESQ.
                                1325 Avenue of the Americas
                                19th Floor
                                New York, NY 10019
                                (212) 752-8000

                                Arnold & Porter
                                BY: JONATHAN I. LEVINE, ESQ.
                                250 West 55th Street
                                New York, NY 10019-9710
                                (212) 836-7010

   For the Eagle Ford           O'ConnorWechsler PLLC
   Royalty Owner                By: ANNIE CATMULL, ESQ.
   MDL Plaintiffs:              4400 Post Oak Parkway, Suite 2360
                                Houston, TX 77027
                                (281) 814-5977

   Also Present:                MARK RULE, Director
                                AlixPartners LLP

                                JOSHUA AUSTIN
                                EJS Investment Holdings, LLC

                                R. ADAM MILLER
                                Intrepid Financial Partners

                                JON WINICK
                                Clark Street Capital




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 715 of 1639
                                                                      0715

                                                                             8

                                   I N D E X
                                    1/13/21


                                                              PAGE

   CLOSING ARGUMENT BY MS. SCHWARZMAN                           13

   CLOSING ARGUMENT BY MR. ZENSKY                               74

   CLOSING ARGUMENT BY MR. SCHAIBLE                            112

   CLOSING ARGUMENT BY MS. HAGLE                               127

   CLOSING ARGUMENT BY MR. MITCHELL                            137

   CLOSING ARGUMENT BY MR. SIEGEL                              139

   CLOSING ARGUMENT BY MR. GEOGHAN                             141

   CLOSING ARGUMENT BY MR. BINFORD                             142

   CLOSING ARGUMENT BY MS. BROWN                               143

   CLOSING ARGUMENT BY MS. SMITH                               152

   CLOSING ARGUMENT BY MR. STARK                               153

   CLOSING ARGUMENT BY HEBBELN                                 243

   CLOSING ARGUMENT BY MR. AUSTIN                              256

   CLOSING ARGUMENT BY MR. BARKASY                             262

   CLOSING ARGUMENT BY MR. MCCUNE                              270

   CLOSING ARGUMENT BY MR. PITTA                               272

   CLOSING ARGUMENT BY MR. WINICK                              287

   CLOSING ARGUMENT BY MR. KINCHLOE                            290

   CLOSING ARGUMENT BY MR. SPENCE                              301

   REBUTTAL ARGUMENT BY MS. SCHWARZMAN                         312

   REBUTTAL ARGUMENT BY MR. ZENSKY                             317

   REBUTTAL ARGUMENT BY MR. SCHAIBLE                           319

   REBUTTAL ARGUMENT BY MR. MITCHELL                           321



      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 716 of 1639
                                                                      0716

                                                                              9

                                   I N D E X
                                    1/13/21
                                  (Continued)


                                                              PAGE


   CLOSING ARGUMENT BY MR. KINGMAN                             321

   COURT RULING                                                324




      ACCESS TRANSCRIPTS, LLC                   1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 717 of 1639
                                                                      0717

                                                                             10

 1       (Proceedings commenced at 9:00 a.m.)

 2             THE COURT:    Good morning, everyone.      Happy New Year.

 3 This is Judge Jones.      The time is nine o'clock.       Today is

 4 January the 13th, 2021.       This is the docket for Houston, Texas.

 5 On this morning's docket we have closing arguments set in the

 6 jointly administered cases under Case Number 20-33233,

 7 Chesapeake Energy Corporation.

 8             Just a couple of quick reminders.        Please don't

 9 forget to record your electronic appearance today.           You do that

10 by making a quick trip to the website at any time prior to the

11 close of today's hearing.

12             First time that you speak, if you would, please state

13 your name and who you represent.        That will give us a good

14 voice print.

15             We are recording today using CourtSpeak, will again

16 -- will upload both that portion of the closing argument as

17 well as -- for transcript purposes -- as well as for

18 CourtSpeak, during our lunch break.

19             I have -- just because of the number of people on the

20 line, I have activated the "hand-raising" feature.           You can do

21 this at any time, but if you know you're going to be speaking,

22 especially early on, if you'd go ahead and hit "five star," so

23 that I can unmute you.       But again, you can do that at any time,

24 and hopefully we'll keep the sirens and other background noise

25 to a minimum as we go through today.




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 718 of 1639
                                                                      0718

                                                                             11

 1             All right.    Mr. Nash.

 2             MR. NASH:    Your Honor, can you hear me?

 3             THE COURT:    Very well.    Thank you.

 4             MR. NASH:    Good morning, Your Honor.      Pat Nash from

 5 Kirkland & Ellis on behalf of the debtors.          Your Honor,

 6 Ms. Schwarzman is going to be handling the closing argument

 7 today for the debtors.       I rise to make Your Honor aware of a

 8 development late last night -- although it's probably

 9 charitable from the debtors' perspective to call it a

10 "development."     But if Your Honor permits, there is something

11 that I wish to bring to your attention.

12             THE COURT:    Certainly.

13             MR. NASH:    So, Your Honor, at 11:53 p.m. Central last

14 night, the debtors received -- and I want to be clear that it's

15 our understanding that the Committee is a recipient of this in

16 the same fashion that the debtors are.

17             THE COURT:    Okay.

18             MR. NASH:    So I don't think -- this didn't come from

19 the Committee.     But we received late last night for the first

20 time what purports to be a competing, you know, equity

21 proposal --

22             THE COURT:    I read it.

23             MR. NASH:    -- per its terms -- is there anything that

24 Your Honor wishes me to say about it?

25             THE COURT:    If there's anything that you'd like to




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 719 of 1639
                                                                      0719

                                                                             12

 1 tell me, I'm certainly happy to hear it.         But I've read it.        I

 2 understand it.     At this point, I have no questions.        I think

 3 that would be up to the debtors.

 4             MR. NASH:    Well, Your Honor, I'll just highlight.           It

 5 purports to come from certain holders of unsecured notes and

 6 certain third parties.       When we received it last night, it was

 7 unsigned.

 8             My understanding is that a few minutes ago there was

 9 a two-page objection that was filed.         I haven't read that

10 objection yet, Your Honor.       I think it -- you know, literally

11 in the last few minutes.       I'm told that there now is something

12 that is signed.

13             I can also tell Your Honor clearly, though, that what

14 we received is subject to documentation and diligence.            It is

15 subject to unspecified modifications to the plan that would

16 need to be reasonably -- that would need to be acceptable to

17 the backstop parties.

18             It clearly, in our view, would require

19 resolicitation.     It would require cramming existing secured

20 lenders with equity.      It's our view, Your Honor, that -- you

21 know, it's a verbal preferred instrument with a scheduled

22 maturity date and a cash pay component and coupon.           We think it

23 would be treated as debt for GAP purposes.

24             You know, there are other contingencies and

25 infirmities.    These are the ones that from our perspective




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 720 of 1639
                                                                      0720

                                                                             13

 1 we've identified at the outset.         We think it's a country mile

 2 from actionable, and -- you know, with that, Your Honor, it's

 3 not something that we think we can or should, you know, quote

 4 unquote "do anything" with.

 5              But I intended to make Your Honor aware of it.         Even

 6 if an objection had not been filed -- although, like I said, my

 7 understanding is that at Docket Number 2835 there is a short

 8 objection.    But I will tell Your Honor I've not read that

 9 objection.

10              THE COURT:    It all has to do with --

11              MR. NASH:    (Indiscernible.)

12              THE COURT:    -- "you should take mine instead of the

13 other."    I see it for what it is.

14              MR. NASH:    With that, Your Honor, I'm going to yield

15 the podium to my partner, Alexandra Schwarzman.

16              THE COURT:    All right.    Ms. Schwarzman, I do not see

17 you on video.     Oh, you're there.      I'm sorry.    My apologies.

18              MS. SCHWARZMAN:    (Indiscernible)       Good morning, Your

19 Honor.    Alexandra Schwarzman of Kirkland & Ellis for the

20 debtors.    Your Honor, if there's no other opening remarks, I

21 would just go ahead and get into it.

22              THE COURT:    Go ahead, please.

23              MS. SCHWARZMAN:    Great.    So it's been now a whole

24 month since we were in front of Your Honor for opening

25 arguments at the start of this trial.          And before I get into




      ACCESS TRANSCRIPTS, LLC                   1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 721 of 1639
                                                                      0721

                                                                             14

 1 it, I do just want to take a moment to thank you and your

 2 staff, I think on behalf of all professionals and the company,

 3 as well, for giving us so much of your time over the last few

 4 weeks, particularly over the holidays.         We are incredibly

 5 thankful and appreciative for that.

 6              And I also want to thank the plan opponents, because

 7 although they may be our adversaries, they are not our enemies.

 8              And just on a personal note, I know Your Honor knows

 9 how much work it takes to put on a trial such as the one that

10 we've -- you know, we're concluding today.          And I do just want

11 to extend my thanks to the entire team of professionals that

12 made it possible on our end, some of whom you've seen, but many

13 who you've not.     So just a really deep gratitude on my part for

14 all their work.

15              So with that, turning to the main event.        Your Honor,

16 this is Chesapeake, an important American company.           Provides

17 over 1,600 jobs, operates across five basins, and is run by a

18 management team that is focused on the safe and efficient

19 operation that will maximize value of these estates now and

20 into the future.

21              Your Honor, I would submit that the evidence has

22 overwhelming demonstrated that we comply with each and every

23 confirmation standard; and as a result, this plan should be

24 confirmed.

25              Your Honor, Mr. Nash stated at the opening of this




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 722 of 1639
                                                                      0722

                                                                             15

 1 trial that the evidence would demonstrate the debtors'

 2 compliance with confirmation standards.         And the weight of that

 3 evidence, coupled with Your Honor's view of value, has

 4 validated that statement, and they've left the Committee's

 5 objection in tatters.

 6             First and foremost, at the $5.129 billion valuation

 7 set by Your Honor, unsecured creditors are unquestionably and

 8 prodigiously out of the money.        That's true at the Committee's

 9 $6 billion hurdle Mr. Stark alluded to in his opening but

10 notably is not in evidence, and it's true at the $7.3 billion

11 hurdle as Mr. Antinelli testified.        Unsecured creditors are

12 regrettably entitled to no recovery at all.          They are not the

13 fulcrum.

14             And so whether you're a noteholder in Class 6 with

15 dozens of worthless guaranty claims, or a trade creditor in

16 Class 7 with just one, the answer is no different.

17             That is the reality and it means that the Class --

18 Classes 6 and 7 have no cram-down objections.          The plan is by

19 definition fair and equitable with respect to that.           They have

20 no more to complain about than old equity.

21             And those massively underwater unsecured creditors,

22 Your Honor, they are receiving a package of consideration worth

23 $207 million at Your Honor's (indiscernible).          And if the

24 Committee believes its valuation and believes the testimony of

25 Dr. Shaked and Mr. Baggett, and perhaps the trading will prove




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 723 of 1639
                                                                      0723

                                                                             16

 1 them right, then they must believe that that package of

 2 consideration is worth (indiscernible) more, over 350 million

 3 at their valuation.

 4             So by any measure, 12 percent of the primary equity

 5 plus one, "in the money" as we speak, it constitutes

 6 off-the-charts consideration for a group of creditors that are

 7 billions of dollars out of the money.

 8             And so really that begs the question and leaves me

 9 wondering why are we here?       What are we still fighting about?

10 What is left to fight about?       Well, apparently the Committee

11 prefers a plan that would revolve around litigation against our

12 plan sponsors, the one and a half liens and Franklin.

13             But the debtors have the benefit of exclusivity, and

14 we have chosen a different path, a path that deleverages the

15 balance sheet by over $7 million and gives the company its

16 $3 billion of exit capital, and importantly allows this

17 important American company to continue as a going concern to

18 provide jobs across the country.

19             And because the Committee may not at this juncture

20 propose a competing litigation plan, they must attack ours.

21 And specifically they do so by challenging the debtor releases

22 of the plan sponsors embodied in the plan, the releases the

23 very parties who are providing significant benefits, $3 billion

24 of exit capital, and very importantly equitization of claims,

25 some of which are oversecured and Your Honor (indiscernible).




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 724 of 1639
                                                                      0724

                                                                             17

 1              They are providing the benefits necessary to make a

 2 perpetuation of Chesapeake as a going concern possible.            The

 3 releases are the quid to the quo.        And no one seriously

 4 suggests that our plan could survive with those releases pulled

 5 out.   No one seriously suggests that the new money and the

 6 equitization would be there without those releases, that the

 7 plan sponsors would fund litigation against themselves.

 8              So the question then is really was this a proper

 9 exercise of the debtors' business judgment to choose a path of

10 consensus, of peace and prosperity, in lieu of a path that

11 would require us to wage a holy war against our plan sponsors,

12 that would put the going concern at risk in the hopes of

13 securing more for a hopelessly out of the money group of

14 creditors.

15              The evidence provided (indiscernible) answer to this

16 question, and it fully vindicates the debtors' decision to

17 pursue that consensual path.

18              In the first instance, that's because the paramount

19 objective of Chapter 11 is reorganization, not liquidation.

20 And in the second instance, it's because the claims the

21 Committee seeks to preserve and pursue are terrible.           They are

22 meritless.    And I will walk through each of those claims and

23 their shortcomings in a moment, but even if those claims were

24 strong, and they could easily and cheaply be litigated -- and

25 they are decidedly none of those things -- would it really be




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 725 of 1639
                                                                      0725

                                                                             18

 1 worth sacrificing or imperiling the going concern, the survival

 2 of this important company and all the livelihoods dependent on

 3 it, just to try to achieve a greater recovery for out of the

 4 money creditors?     Obviously not.

 5             The evidence showed that the plan sponsors' multi-

 6 hundred-million-dollar DIP to unsecured creditors is not only

 7 above the low end of the range of reasonableness, it could

 8 actually be characterized as unbelievably high.           But that is

 9 the deal that the plan sponsors agreed to, and they are going

10 to honor it.

11             And as to the Committee's good faith and best

12 interest objections, Your Honor, I'll return to those later in

13 the presentation, but suffice it to say the evidence has shown

14 that there is no "there" there.

15             So to guide our examination of the evidence, because

16 there is a lot of it, I would like to return to the opening

17 statements that Mr. Nash and Mr. Stark made to Your Honor and

18 their views of what the evidence would show with respect to

19 these claims.

20             So up on the screen, Your Honor -- oh, I apologize.

21 Can we give screen privileges to Mr. Schlaifer?

22             THE COURT:    Of course.    Give me just a second.

23             MS. SCHWARZMAN:     Okay.

24             THE COURT:    There we go.

25             MS. SCHWARZMAN:     Thank you.     So up on the screen,




      ACCESS TRANSCRIPTS, LLC                   1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 726 of 1639
                                                                      0726

                                                                             19

 1 Your Honor, we laid out for you what Mr. Nash and Mr. Stark

 2 promised the evidence would show with respect to the estate

 3 claims.    The factual and the counterfactual, as we call it.

 4 And as you can see, they promised you two almost diametrically

 5 opposing narratives on every single point.

 6             Mr. Stark promised you smoky back-room deals, fraud,

 7 untoward behavior.     Or, in the alternative, he promised you an

 8 incompetent or oblivious company, unaware of its predicament

 9 and incapable of (indiscernible).

10             In contrast, Mr. Nash promised you a steadfast

11 fiduciary, one that progressed through its restructuring

12 carefully and thoughtfully, at all times doing its best to

13 maximize the value of the enterprise.

14             And so let's see what the evidence bore out.          Turning

15 to the first point, Mr. Nash promised the evidence would

16 demonstrate the debtors had turned a new leaf under

17 Mr. Lawler's direction, and worked tirelessly since he took

18 over in 2013 to reduce outstanding liabilities and improve our

19 operational efficiency.

20             In contrast, Mr. Stark promised you a "grow at all

21 costs" debtor, a wild (indiscernible) on steroids, with no

22 financial discipline and no hope of survival.

23             So what did the evidence show?       Well, Mr. Lawler

24 testified that he before he joined the company he believed it

25 was, quote, "the greatest challenge in the entire oil and gas




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 727 of 1639
                                                                      0727

                                                                             20

 1 industry."    And even with this view of the challenges that the

 2 company faced, Mr. Lawler testified that the situation was

 3 actually much worse once he got boots on the ground.

 4              Mr. Lawler testified that when he joined the company

 5 he evaluated various financial, operational, and efficiency

 6 metrics to assess the company's performance versus its peers.

 7 And what he found was that on an overwhelming majority of those

 8 metrics, I think about two -- three quarters of those metrics,

 9 the company was in the bottom quartile.         He found a company

10 that had some $40 billion of on and off balance sheet

11 liability, a company that had no formal budget process, no

12 corporate planning function, and was comprised of over 30

13 non-core businesses.

14              So what did he do?    Well, he testified, he put in

15 place a four-prong strategy: financial discipline; practical

16 and efficient growth, in company cash and resources; business

17 development; and exploration.       And his strategy, as Mr. Lawler

18 testified, it allowed Chesapeake to move from that bottom

19 quartile to the top quartile on a variety of the metrics that

20 he measured, all while commodity prices were falling.

21              So how did they do that?     Well, Mr. Dell'Osso

22 testified, testified to a number of liability management

23 transactions that were aimed at improving the balance sheet

24 that consist of refinancing, purchases, asset divestitures and

25 acquisitions.




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 728 of 1639
                                                                      0728

                                                                              21

 1             And Mr. Lawler also testified to a number of

 2 operational initiatives aimed at reducing G&A, decreasing off

 3 balance sheet liabilities, and improving efficiencies.

 4             And as you can see up on the screen, which is an

 5 excerpt from Debtors' Exhibit 52, from 2013 to 2018,

 6 Mr. Lawler's strategy resulted in significantly reduced

 7 liability, an over $20 billion reduction over six years.             And

 8 that evidence, Your Honor, it is uncontroverted.

 9             And while we heard a lot about liability management

10 transactions generally, there are a few that the Committee

11 focused on significantly in its pleadings and that Your Honor

12 heard a lot about over the last few weeks, and one of those was

13 the WildHorse transaction.       And again there were contrasting

14 promises made to Your Honor on this point.

15             Mr. Nash promised the evidence would illuminate for

16 Your Honor the success in this transaction.          Mr. Stark promised

17 the evidence would show it was an abject failure.           Again,

18 Mr. Lawler, Mr. Dell'Osso, and also Mr. Martin all testified to

19 the rationale for the WildHorse acquisition, which included a

20 desire to add more oil to their portfolio, to generate higher

21 margins compared to the company's natural gas assets, a desire

22 to accelerate achievement of their strategic goals by acquiring

23 significant and competitive inventory, inventory that was in

24 basins that Chesapeake understood and that Chesapeake had

25 developed with its strong capital efficiency, scale, and




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 729 of 1639
                                                                      0729

                                                                             22

 1 drilling technique, and a desire to improve cash flow by

 2 acquiring assets (indiscernible) EBITDA.

 3             In fact, I believe that Mr. Lawler testified that the

 4 WildHorse assets were approximately 10 percent of the company's

 5 portfolio but contributed to approximately 31 percent of its

 6 EBITDA.

 7             And you see the slide up on the screen, an excerpt

 8 from Debtors' Exhibit 38, it demonstrates how that WildHorse

 9 transaction aligned with the company's strategic goals.

10 Mr. Lawler and Mr. Dell'Osso both spoke to this presentation,

11 and they and Mr. Martin testified that the acquisition was a

12 success.

13             Mr. Lawler testified that WildHorse assets -- oh, I

14 mentioned that -- are 10 percent of the company's portfolio but

15 31 percent of EBITDA in 2019.       And Mr. Dell'Osso testified that

16 the company successfully integrated WildHorse's operations into

17 Chesapeake, and that it is exactly Chesapeake's ability to

18 integrate those assets, given its size and scale, that

19 interested NGP in doing the transaction in the first place, and

20 importantly in taking stock as consideration for it.

21             Mr. Martin testified that the board was very focused

22 on WildHorse's ability to increase cash flow, improve leverage

23 coverage ratios, increase the company's oil portfolio, and

24 provide other synergies.       And he testified that all of those

25 objections [sic] were met.




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 730 of 1639
                                                                      0730

                                                                             23

 1             Mr. Lawler testified that by the second quarter of

 2 2019, the company was anticipating that it would be on the high

 3 side of its anticipated projected annual savings resulting from

 4 the WildHorse acquisition, and that the company had already

 5 driven down well costs, reduced cash costs, reduced asset down

 6 time, and improved capital efficiencies around modeling and

 7 well design.    And that's reflected in Debtors' Exhibit 59,

 8 which is up on the screen.

 9             Mr. Lawler testified that by the end of 2019, the

10 company had reduced cash costs by $336 million year over year,

11 and recognized the highest EBITDA per barrel of oil equivalent

12 since 2014, even though commodity prices at the end of 2019

13 were approximately half of what they were in 2014.           That is a

14 significant achievement, Your Honor, and significant progress

15 on the road to full financial health.         And again, importantly,

16 it is completely uncontroverted.

17             So the Committee's attempt to declare the WildHorse

18 transaction as a failure just because of a commodity price

19 drop, it is simply inaccurate, and it does nothing to detract

20 from the fact that by every metric within the company's

21 control, the transaction was a resounding success.

22             The second liability management transaction that the

23 Committee focuses on, and one that's at the heart of all the

24 conspiracy theories that we've heard about for the last few

25 weeks, and really for the whole case, is the December 2019




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 731 of 1639
                                                                      0731

                                                                             24

 1 transactions, the RBL amendment, the one and a half lien term

 2 loans, and the second lien uptier.

 3             And really there are two main disputes with respect

 4 to the 2019 transactions.       First, should they be viewed in

 5 tandem, as we -- and until recently, the Committee -- believed?

 6 And second, was there reasonably equivalent value?           Did the

 7 transaction benefit all Chesapeake entities?

 8             And Your Honor heard quite a bit of testimony on

 9 these points, as well.       So starting with the first question,

10 should the transactions be viewed in tandem?          The Committee's

11 latest position relies heavily on statements around legal

12 conditionality, statements for example in the offering

13 memorandum in the second lien note that disclaimed formal

14 conditionality between the one and a half lien loans and the

15 uptier.    And that's up on the screen, UCC Exhibit 521.

16             Specifically, the Committee points to language in the

17 second lien offering memorandum that those exchange offers are

18 not conditioned upon completion of a concurrent transaction.

19 And it's true that these transactions may not have been legally

20 conditioned on one another.       But the testimony from the

21 business people, those involved in the transaction, both from

22 the company side and the participants in this transaction, the

23 creditors, they knew the transaction was interdependent.

24             Mr. Dell'Osso and Mr. Circle both testified on this

25 issue.    From the company's perspective, Mr. Dell'Osso explained




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 732 of 1639
                                                                      0732

                                                                             25

 1 that the company planned to complete the transactions together

 2 because they were integrated.       He also explained that it would

 3 not be wise to tell the world that they were conditioned on one

 4 another.    He testified that there are a lot of reasons, not

 5 just commercial reasons, that when you're going to negotiate

 6 something like an exchange, a highly negotiated transaction,

 7 you don't want to lay out the conditionality, like you do this,

 8 there's conditions on this.       It gives people leverage, and that

 9 was a leverage that if you could structure around it, you

10 would, and that's what Chesapeake did.

11             He knew that the size of the second lien uptier would

12 be limited if they were not able to do the collapse at the same

13 time.   The company needed the incremental assets from the BVL

14 silo in the parent company credit chain to do the full size of

15 the uptier.    And he said, so while we didn't have formal

16 contingency, we certainly planned to do that together.            And

17 they were -- from an analytical standpoint, they were certainly

18 integrated.

19             Mr. Circle, representing Franklin, an anchor

20 participant in these transactions, similarly viewed them as,

21 quote, "undeniably linked."       Specifically, Mr. Circle testified

22 that Franklin was unwilling to do the uptier exchange without a

23 capital structure class, and the assurance that there would be

24 sufficient collateral to support the new 2L bonds.

25             It's worth noting that, given the size of Franklin's




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 733 of 1639
                                                                      0733

                                                                             26

 1 holdings and the level of participation required to effectuate

 2 the transactions, that it would have been unlikely if not

 3 impossible to do the transactions without Franklin's

 4 participation.     So if they wouldn't do them separately, they

 5 could have only been done together.

 6              So in assessing reasonably equivalent value, all the

 7 steps for WildHorse refinancing and the uptier transactions

 8 should be collapsed to reveal the underlying economics.            That's

 9 what the case law tells us.       And I've noted a few cases up on

10 the screen that speak to this point.         I'm not going to read

11 them, but they're up there for Your Honor.          But again the

12 evidence overwhelmingly demonstrates that these transactions

13 were intended to be done together.        They were interdependent,

14 so they must be viewed together.

15              So with that, we now turn to whether the transaction

16 established reasonably equivalent value.         And in his opening,

17 Mr. Stark promised this Court, he assured this Court on

18 multiple occasions that there would be no evidence of any

19 benefit of the December 2019 transactions.          He said there are

20 some brief assertions, Your Honor, that there are indirect

21 benefits, that there is no evidence, and they won't give you

22 any evidence, they can't give you any evidence because there

23 were none.    And that, just stating it boldly, isn't sufficient

24 under the law.

25              Now, not only did the debtors provide evidence of the




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 734 of 1639
                                                                      0734

                                                                             27

 1 transactions resulting in the exchange of reasonably equivalent

 2 value, but the Committee did as well.         When Mr. Baggett, the

 3 Committee's expert on the topic of reasonably equivalent value,

 4 when he was asked whether his position was that the

 5 transactions when weaved together did not provide reasonably

 6 equivalent value, he testified that was not his position.

 7             And with the interdependent nature of these

 8 transactions established, the disagreement around whether these

 9 transactions benefitted the Legacy Chesapeake and provided

10 reasonably equivalent value, it fades away.          The transactions

11 provided significant benefits to all entities, and we've listed

12 some of those up on the screen for Your Honor.          They expanded

13 and diversified the debtors' asset base by consolidating

14 capital structures.      They reduced Legacy Chesapeake debt by

15 approximately a billion.       Importantly, and I'll talk about this

16 in more detail in a minute, maintained the Chesapeake revolving

17 borrowing base, critically important to provide liquidity to

18 all entities.

19             It eliminating the technical going concern issue.             It

20 eliminated the threats of a near-term (indiscernible) coverage

21 ratio, and it provided a path to pay down junior Legacy

22 Chesapeake debt, among others.        They were a significant benefit

23 to all entities.

24             And that is true even if you look at reasonably

25 equivalent value only with respect to the one and a half lien




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 735 of 1639
                                                                      0735

                                                                             28

 1 transactions and view that on its own in isolation.           So even if

 2 we were wrong about the interdependent nature of these

 3 transactions, and I do not believe that we're wrong, there is

 4 still clear evidence and uncontroverted evidence of reasonably

 5 equivalent value.

 6             And because the Committee has essentially abandoned

 7 its fraudulent transfer claims as they relate to the uptier

 8 transactions, I'm only going to look at the benefits in the one

 9 and a half liens.     Mr. Dell'Osso testified to this.        He said

10 that by collapsing the capital structure, the company was able

11 to pay off its BVL debt, which was clearly a direct benefit to

12 WildHorse, but also a direct benefit to Chesapeake.           As a

13 purely legal matter, Chesapeake Energy Corporation's ownership

14 of BVL means that what benefits BVL -- what benefits a

15 subsidiary benefits the parent.

16             But as a more practical matter, the collapse allowed

17 Chesapeake to pull assets from WildHorse into the parent

18 company credit chain.      And in doing that, Mr. Dell'Osso

19 testified that Chesapeake pulled both the collateral value as

20 well as the cash flow from those assets, so that they can now

21 contribute to the (indiscernible) calculations of the parent

22 company debt, a direct benefit.

23             And, Your Honor, this benefit cannot be overstated.

24 The Committee argues the collapse of -- the collapse had no

25 benefit to Chesapeake because Chesapeake Energy Corporation,




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 736 of 1639
                                                                      0736

                                                                             29

 1 the parent, as equity owner of BVL, already got the benefit of

 2 any residual value of BVL, and in fact value beyond its debt.

 3 And while it may be true on paper, it was certainly not true

 4 with respect to the RBL facility.        An unrestricted subsidiary,

 5 the BVL entity did nothing to contribute to the covenant

 6 calculations under Chesapeake's RBL.

 7             Collapsing the capital structures was the only way to

 8 take advantage of the significant value of those assets and to

 9 enhance the collateral coverage and EBITDA considered by the

10 RBL lenders in calculating compliance with existing coverage at

11 ratios in determining the go-forward borrowing base.

12             In fact, it was that EBITDA and just the WildHorse

13 assets that allowed the company to stave off a borrowing base

14 redetermination and maintain that cash, that asset through

15 liquidity, critical to running the business, to maintain that

16 for all entities, including the Legacy Chesapeake entity.

17             Mr. Dell'Osso testified that's what they did.          He

18 said the $900 million debt reduction from the uptier exchange,

19 he said it was a huge benefit.        But in addition to that,

20 bringing the BVL assets into the parent company credit chain in

21 exchange for taking on a billion and a half of debt was a very

22 attractive element for everyone in that credit chain, not the

23 least of which was the parent company revolving credit facility

24 lender.

25             He said they no longer looked at the $3 billion




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 737 of 1639
                                                                      0737

                                                                             30

 1 facility with Chesapeake in an environment that most E&P credit

 2 facilities, certainly those below investment grade, were being

 3 reduced.    They let us known through discussion that we should

 4 expect that without some improvement to our situation, we could

 5 expect a reduction coming in the spring of 2020.

 6             And so when we discussed how this transaction would

 7 unfold with the lenders, they certainly noted that if we

 8 brought the BVL asset into the parent company, that there would

 9 not be a need to reduce our availability under the Chesapeake

10 parent company's facility.       And maintaining that liquidity,

11 that extra liquidity that was $1.4 billion as of year-end 2019,

12 it was very, very important to us.        And to state the obvious,

13 it was important to every (indiscernible) Chesapeake entity

14 that tapped into that facility to fund its operations.

15             Mr. Martin testified to this very same benefit as

16 well.   He said that the 2019 transactions assured the company's

17 ability to have a revolving credit line sufficient to meet its

18 anticipated needs based on the 2020 business plan budgets that

19 were being generated at that point in time.          So this is

20 critical, the lifeblood of the company.         It is being

21 maintained.

22             Now, the Committee argued, well, it wasn't increased,

23 but that's not necessarily the litmus test.          As Mr. Nash

24 mentioned in the opening, you always have to be comparing what

25 you have to your alternative, not nirvana.          So the alternatives




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 738 of 1639
                                                                      0738

                                                                             31

 1 that we had were maintain our borrowing base or have it

 2 reduced.    And obviously maintaining that borrowing base, that

 3 $1.4 billion of liquidity that Mr. Dell'Osso testified was

 4 available at year-end, that was a significant and a direct

 5 benefit solely from the one and a half liens and the

 6 collateral.

 7             And finally, Your Honor, you heard testimony on these

 8 benefits from Mr. Circle.       He testified that his understanding

 9 of the benefits of the transactions was in line with

10 management, that the transactions provided asset-based level

11 support to the Chesapeake revolving base credit facility, and

12 gave the benefit of the guaranties on all assets to the broader

13 enterprise.    So far from being no evidence of any benefit, like

14 Mr. Stark promised, the evidence of the benefits of the

15 transactions is overwhelming.

16             Now, with respect to the 2019 transactions, Mr. Stark

17 also promises the evidence would show that by late 2019, this

18 board knew the company was sunk and they did it anyway.            And he

19 also said there would be evidence that show that this was a

20 desperate act of a desperate entity to benefit an affiliated

21 company.    A desperate act of a desperate entity?         Pretty bold

22 statement, Your Honor.       And as it turns out, it's one that's

23 completely divorced from the evidence.

24             In fact, both Mr. Lawler and Mr. Martin testified

25 that they bought equity in Chesapeake in late 2019 as a result




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 739 of 1639
                                                                      0739

                                                                             32

 1 of its belief in the company and its prospects.           Those are

 2 hardly the actions of directors of a company that believe it's

 3 sunk.

 4             Now, the Committee, in support of its theory that the

 5 company knew it was sunk, it latches on to certain comments

 6 made by Mr. Dell'Osso as reflected in the December 2019 board

 7 minutes introduced as Debtors' Exhibit 123, which is up on the

 8 screen.    And specifically Mr. Dell'Osso noted in those minutes

 9 that there were liquidity challenges remaining following the

10 December 2019 transactions.

11             On this point, Mr. Martin testified that the word

12 "challenges" is an important one.        He said, "Mr. Dell'Osso is

13 an in a thoughtful fashion, communicated with all lending

14 constituencies effectively, and it was also policies of the

15 board with respect to external circumstances that we were

16 facing as well as internal ones.        And as I've indicated,

17 $9 million to the debt fund, oil and gas activity in a volatile

18 market of its size, is the number too big, and it was the

19 intention of management and the board over time to get that

20 down or to grow out of it with acquisitions that would create

21 cash from a proven asset."

22             So in his view, in Mr. Martin's view, what

23 Mr. Dell'Osso was reporting to the board is that we've made a

24 step in the right direction.       We reduced a billion dollars of

25 debt, which would be less than nine at the end of the year, and




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 740 of 1639
                                                                      0740

                                                                             33

 1 -- but that the same conditions that existed as of the fall of

 2 2019 with respect to the capital markets, that they were going

 3 to continue into 2020, and we would need to wait until there

 4 was a recovery in oil or gas prices or both.          And so I think

 5 that's a (indiscernible) discussion for him to share with us,"

 6 he said.

 7             So these comments -- this conversation that the board

 8 was having is not an indication of a company that thought it

 9 was sunk.    It's an indication of a diligent board and a

10 diligent management team.       In the Committee's retelling, Your

11 Honor, they say liquidity challenges is a terminal disease,

12 just as negative (indiscernible).        But these are not the basis

13 on which to determine a company was insolvent, not unless the

14 Committee's position is that this Court should find that

15 anytime a company faces a liquidity challenge, all is lost and

16 it's time to close up shop.       That is not a fair

17 (indiscernible).

18             In context of believing it was sunk in December 2019,

19 Your Honor, Mr. Lawler and Mr. Dell'Osso testified the company

20 was continuing to evaluate additional transactions all the way

21 up until the events of March 2020 flipped the markets upside

22 down.   And Debtors' Exhibit 88 sets out a few of these

23 transactions that were under consideration.

24             As Your Honor can see from this presentation, the

25 company had additional levers to pull after the December 2019




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 741 of 1639
                                                                      0741

                                                                              34

 1 transactions, including debt and equity exchanges and asset

 2 sales.   But of course the events of March 2020 intervened, and

 3 the events of March 2020 are known to all, massive supply shock

 4 from the Saudi-Russian price war and massive demand shock from

 5 the COVID-19 pandemic.       No one seriously contests or asserts

 6 these events happened or that they were remotely foreseeable.

 7 Of course they were not.

 8             Both Mr. Lawler and Mr. Dell'Osso, industry veterans

 9 with a combined 50 years of experience in the oil and gas

10 industry, they testified these events and this stress, it was

11 unlike prior industry stress.       They were on another level.           As

12 the kids would say these days, they were extra.

13             When asked how the events of March 2020 compared to

14 previous challenges in the markets over the past seven to ten

15 years, Mr. Lawler testified that this disruption was much more

16 (indiscernible), much more significant.         He said it was a very,

17 very challenging market, unlike anything we'd ever seen.

18             Mr. Dell'Osso was asked a similar question, and he

19 testified that the events of March 2020 were more severe than

20 prior events.     Specifically, he testified that, "We've never

21 seen price classes of this nature that were viewed with such

22 uncertainty of future demands.        And when you marry that

23 uncertainty of how we're ever going to get supply reduced to a

24 level to meet that demand, it resulted in an investor sentiment

25 that was, you know, non-existent for the space."




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 742 of 1639
                                                                      0742

                                                                             35

 1             He said, "You couldn't even really call it negative.

 2 It didn't exist.     There was no interest in any sort of

 3 investment, or even a long-term view of how to invest in oil

 4 and gas at the time."

 5             I'm going to come back to that in a little bit.

 6 Mr. Martin, I believe, called the event a double black swan and

 7 Mr. Antinelli similarly described it as volatility that none of

 8 us had seen in our careers.       And it was the onslaught of these

 9 unforeseen and these unprecedented events that forced the

10 company into bankruptcy, that forced the company to begin

11 exploring alternatives, nothing else.

12             Bankruptcy was not a foregone conclusion in December

13 2019.   It was not a foregone conclusion by any stretch of the

14 imagination or any stretch of the evidence by December 2019, or

15 really at any point in time up until March of 2020.           It wasn't

16 even on the radar.

17             Mr. Circle, one of, if not the largest creditor of

18 Chesapeake, he testified that he was not concerned about a

19 near-term bankruptcy in December of 2019.          He testified, "We

20 did not anticipate a near-term bankruptcy filing at the time of

21 the uptier exchange.      Because as we sat here in December 2019,

22 the company had a pretty substantial liquidity position."

23             He said ultimately that he believed the company had a

24 $3 billion RBL at the time that had over a billion dollars

25 drawn, but that there was sufficient liquidity from his




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 743 of 1639
                                                                      0743

                                                                             36

 1 perspective.       He testified the company had minimal near-term

 2 maturity runway as it related to the entirety of 2020 and 2021,

 3 and that we had a really robust hedge book at the time.            And he

 4 admitted there's always uncertainty in the commodity markets

 5 about where the underlying commodity is going to go.           But

 6 ultimately, his comfort in terms of (indiscernible) maturity

 7 and liquidity profile, and the business profile of the company

 8 did not leave him with a great deal of concern about a

 9 near-term default.

10              (Indiscernible) that no bankruptcy was imminent or

11 even contemplated by Chesapeake or its creditors at the time,

12 it supported the fact that, as Mr. Circle testified, Franklin

13 had the ability -- it had the opportunity to uptier more of its

14 bonds and it elected not to do so.        Certainly, if this was a

15 transaction designed by Franklin, as the Committee alleges, or

16 designed for the benefit or with the intention or with the

17 knowledge that a near-term bankruptcy was imminent, certainly

18 Franklin, a sophisticated investor, one of the largest money

19 managers in the entire country, certainly they would have taken

20 full advantage of the opportunity to improve their position in

21 advance of the near-term bankruptcy.         But those are just not

22 our facts.

23              No.    These transactions, they were designed by a

24 thoughtful and diligent company that was focused on

25 deleveraging its balance sheet and ensuring financial health.




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 744 of 1639
                                                                      0744

                                                                             37

 1             Mr. Dell'Osso was asked if he believed the company

 2 was insolvent after this transaction.         He testified that he

 3 believed it was solvent, and in support of this, he cited the

 4 value of the company's proved reserves at the time and its

 5 near-term liquidity.

 6             Mr. Martin also testified his belief that the company

 7 is solvent as of February 2020 when he authorized -- he and the

 8 board authorized the dividends on the company's preferred

 9 stock.   In fact, it had thought otherwise, he testified, would

10 mean that Chesapeake was acting in contravention of the law

11 (indiscernible) the Board.       So we at Chesapeake, we followed

12 the law.

13             Mr. Lawler also testified that bankruptcy was not a

14 consideration as of late February 2020.         He was asked, "As of

15 February 2020, did you believe Chesapeake was going to have to

16 file for bankruptcy?"      Answer:    "No, I did not."     Mr. Circle

17 testified to the same.       The company clearly did not believe it

18 was sunk, and neither did its creditors.

19             So while both parties put forward testimony on the

20 solvency of the company in December 2019, you know, solvency,

21 like water, it's a hard thing to pin down, Your Honor.            It is

22 nebulous at best.     Your Honor heard the testimony and you will

23 consider it, but I would submit that Your Honor does not need

24 to reach an answer on solvency as the evidence of reasonably

25 equivalent value is overwhelming.        And without proving each




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 745 of 1639
                                                                      0745

                                                                             38

 1 element of Section 548, the Committee's fraudulent conveyance

 2 theory must fail.

 3             So, Your Honor, I want to pause here for a moment in

 4 early March 2020, because what I just walked through, what was

 5 just discussed is really the entire evidentiary record with

 6 respect to TOUSA claims.       And with respect to the Committee's

 7 (indiscernible) that the company was on the brink of bankruptcy

 8 as either a Machiavellian or an oblivious soon-to-be debtor.

 9 But the evidence is clear that the company was slowly but

10 surely moving towards greater financial health, sluggish

11 commodity prices notwithstanding.        The evidence shows that the

12 WildHorse transaction was a success, and that the 2019

13 transactions were interdependent and beneficial to all.

14             So despite Mr. Stark's views on the merits of his

15 TOUSA theory, the evidence just isn't there.          The UCC's claims

16 and theories with respect to these transactions are meritless.

17 The December 2019 transactions were not desperate acts, and

18 this was not a desperate entity.

19             Mr. Stark noted in his opening that our plan couldn't

20 possibly pass muster because to do so would require the Court

21 to ascribe little to no value to these claims.          And he

22 suggested it in exasperation.       He was in disbelief that that

23 could ever be the case.

24             So, Your Honor, I would submit that is the case.

25 There is no polite way to say that these claims have no merit,




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 746 of 1639
                                                                      0746

                                                                             39

 1 and they merit no recompense.       They are based on a conspiracy

 2 theory that is unsupported by the facts.         And with the TOUSA

 3 theory, which I believe Mr. Stark -- I'm sorry, Mr. Nash

 4 described as (indiscernible) meritless claim in the UCC'S

 5 complaint out the window.

 6             I want to turn to the events leading up to the

 7 petition date, because these are the factual predicate to the

 8 Committee's remaining claims, including breach of fiduciary

 9 duty, aiding and abetting, equitable coordination, and what

10 we've dubbed (indiscernible) preferences.

11             So again Mr. Stark made a lot of promises to Your

12 Honor about what the evidence on this topic would show.            He

13 said that with respect to the breach of fiduciary duty, he said

14 there is some evidence that at this time the company decided to

15 back away to a monitoring or an observing role and allow the

16 one and a halves and Franklin to negotiate against -- amongst

17 themselves.    He said three days before the lapse of

18 preferences, the debtors had taken a back seat, were letting

19 the one and a halves and Franklin and figure it out for

20 themselves.

21             So now let's look at the evidence and let's see if

22 those promises hold up.      Well, first, Mr. Martin testified that

23 the company and the board were laser-focused on maximizing the

24 value of the enterprise consistent with their fiduciary duty.

25 Specifically, he testified that at that time the company and




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 747 of 1639
                                                                      0747

                                                                             40

 1 its advisors' objectives were to develop strategies and options

 2 for the Board to consider and for the company to consider that

 3 would maximize the value of the enterprise in this

 4 unprecedented and difficult time.

 5             In terms of how to achieve that goal and how to

 6 maximize the value of the company, Mr. Dell'Osso testified that

 7 his focus in the first instance was on reducing the balance

 8 sheet and securing sufficient capital to stay alive.           He

 9 testified that once the company swallowed the tail and

10 recognized that they would have to go through this process, he

11 wanted to make sure that they had positioned themselves for a

12 reorganization and not a liquidation.         He felt that there was

13 too much value in this company to let a liquidation happen, and

14 I wholeheartedly agree with that, Your Honor.

15             And so management, Mr. Dell'Osso, was focused on

16 making sure that the company had a balance sheet that would

17 work on the other side so that they could have a business that

18 could create return and create value for all stakeholders.

19             So as a result, the two things he was focused on was

20 how do we get debt low enough to in light of projected cash

21 flow from projected drilling to support the business?            He

22 testified that was chief concern number one.          And so when we

23 engaged in discussions around that, it was how do we get there,

24 how do we get there in a way that we have a set of investors

25 that makes sense on the other side, that's logical, and that's




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 748 of 1639
                                                                      0748

                                                                             41

 1 supportive.

 2              Mr. Antinelli testified to the same thing.        He said

 3 that we were very focused on positioning the company for

 4 success on the other side.       I'm going to start to sound like a

 5 broken record on this, Your Honor.        We wanted to make sure we

 6 could get out.

 7              Mr. Antinelli testified that in assessing the options

 8 available to the company, he and the company's other advisors

 9 were focused not just on DIP financing, but on DIP to exit

10 financing.    He went on to say that he felt like the DIP into

11 bankruptcy without a path out may not get us out given the

12 current macro and capital market's impairments.           And "may not

13 get us out" is a polite way of saying liquidate and lose the

14 going concern.

15              And you heard again, Your Honor, later in his

16 testimony that he had grave concerns in this environment, going

17 into bankruptcy with a small DIP with no plan or no strategy to

18 come out.    But it wasn't just debt capital that we were

19 seeking, Your Honor.      Mr. Antinelli also testified that the

20 company was looking for a large equity check basically from the

21 outset.    He testified that by April 21st, every single DIP

22 proposal we had received by that point in time, it required a

23 significant equity check or a junior check.

24              That's reflected in Debtor's Exhibit 185, which is up

25 on the screen, which is from our April 21st board deck.            So no




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 749 of 1639
                                                                      0749

                                                                             42

 1 equity capital, no debt capital.        No debt capital, no going

 2 concern.    That was the framework of the company, and that's how

 3 we approached these prepetition negotiations.

 4             Mr. Lawler echoed the sentiment.        He testified that

 5 he knew at the time, in April of 2020, same time that this

 6 presentation was being given, that it was absolutely imperative

 7 for the company and the enterprise to secure new money and a

 8 new equity investment in this company.         He said, it's very

 9 important for me to note that just a few days prior to the

10 April '21 forecast, which was just up on the screen, he said

11 that is when we saw oil close in the negative $30 a barrel

12 range.   That impact and that low credit environment, combined

13 with a 30-million-barrel-per-day demand destruction that was

14 being recognized, it created significant pressure on the

15 company and the need for a new equity check.          And where could

16 we potentially source that check?        He testified there were a

17 limited number of places that we could source that new money.

18             Now, in terms of overall capital need, Your Honor,

19 you heard testimony from Mr. Dell'Osso that we originally

20 looked for a $1.3 billion DIP.        And we heard testimony from

21 Mr. Antinelli that we were originally looking for a

22 $750 million equity rights offering and a two and a half

23 billion dollar exit facility.       That's approximately four and a

24 half billion dollars of fresh capital that we were sourcing in

25 spring 2020.    Four and a half billion.       That is a huge lift in




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 750 of 1639
                                                                      0750

                                                                             43

 1 any market, particularly one that was in shambles in the spring

 2 of 2020.

 3             So how did we go about doing it?        How did we end up

 4 securing this kind of capital?        Well, two things happened.

 5 First, on the debt side, the company was able to create a

 6 competitive (indiscernible) and foster a competitive process.

 7 Mr. Antinelli testified to this at length, both during these

 8 proceedings and also at the interim and the final DIP hearings,

 9 as reflected on the demonstrative up on the screen, and this is

10 pretty well-plowed ground, Your Honor, so I'm not going to

11 spend much time rehashing that process.

12             And then on the equity side, the company had what I

13 believe Mr. Circle dubbed a strategic asset of the estate, one

14 that had gotten a lot of air time during these proceedings.

15 And that is a potential (indiscernible).

16             Indeed, both Mr. Lawler and Mr. Martin testified that

17 the Board was aware of these potential preference claims.            When

18 asked if the Board was aware of the preference period for

19 certain liens granted in connection with the December 2019

20 transactions, that they may start to expire in mid-May,

21 Mr. Lawler testified that they were aware, as the Board had

22 discussed the capital structure and the timing of when those

23 liens were perfected.

24             He testified that the Board was advised by counsel of

25 these claims, that the management team had discussions with




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 751 of 1639
                                                                      0751

                                                                             44

 1 counsel about the preference period and preference claims, and

 2 that the Board had discussions with counsel about the

 3 preference period and the preference claims.

 4             Mr. Martin also testified to this.        He said the Board

 5 discussed potential claims all the way back at the March 20,

 6 2020 board meeting.      He testified the Board discussed the

 7 probability of success of the preference claims and that the

 8 Board was advised of potential defenses and merits of the

 9 potential defenses in such claims.        And multiple witnesses --

10 Mr. Lawler, Mr. Dell'Osso, Mr. Antinelli -- they've all

11 testified that the company used these potential preference

12 claims as leverage.

13             Mr. Lawler testified that the company used the

14 specter of preference litigations to secure a better deal with

15 the secured lenders that they otherwise couldn't.

16             Mr. Dell'Osso testified similarly.        He said that the

17 potential preference actions were an important aspect of the

18 decision that the Board was going to need to make, and that the

19 company's advisors communicated to the plan sponsors that if

20 the company was going to file and not pursue a claim, that we

21 need to have an agreement that we felt would (indiscernible)

22 those claims and give consideration to the fact that they may

23 not exist anymore.

24             And finally Mr. Antinelli testified that we

25 (indiscernible) potentially file the company and pursue the




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 752 of 1639
                                                                      0752

                                                                             45

 1 litigation to avoid the secured lender liens, unless we found a

 2 more value maximizing alternative.

 3             But you don't have to take our word for it, Your

 4 Honor.   Mr. Circle, who was on the receiving end of that

 5 leverage, he testified to the same.        When asked whether the

 6 company used a threat of preference litigation in RSA

 7 negotiations, he said, "They certainly did."          It was front and

 8 center when he got restricted.        He testified that he remembered

 9 vividly a gentleman from Intrepid referring to the perfection

10 of mortgages and the preference issue as the, quote, "strategic

11 asset of the estate."      That pressure would be applied and that

12 the company would not walk away from the strategic asset

13 without a clear plan with the support of as many parties as

14 possible.

15             And just as important, he testified that the company

16 was focused on a clear path to exit.         And he said, in his

17 words, "Because a plan without getting out of bankruptcy can

18 result in a lot of pain, needing to raise capital at the end of

19 the process.    And again that was our focus.        How do we get out?

20 Indeed, as this Court knows well, sometimes that exit capital

21 simply isn't there.      Not every chapter ends in a reorg -- not

22 every Chapter 11 ends in a reorganization or a going concern

23 sale, and that is certainly true in the oil and gas space.

24             And that leverage that we had, Your Honor, it may

25 have been of the mutually-assured destruction variety,




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 753 of 1639
                                                                      0753

                                                                             46

 1 (indiscernible) predicated on massive litigation, TOUSA claims

 2 and who knows what else.       But on a case that puts the

 3 enterprise at risk, but that leverage, it clearly worked.

 4             A little on the (indiscernible) group, they sent a

 5 letter and presentation to the Board voicing their displeasure

 6 they were being threatened with a lawsuit just mere months

 7 after they had loaned the company a billion and a half dollars

 8 of fresh capital.     They and Franklin ultimately agreed, thanks

 9 to the efforts of the company and its advisors over the course

10 of approximately three weeks, they agreed to provide the

11 company with a $600 million fully backstopped equity rights

12 offering.    This was at a time that nobody was writing checks.

13 They didn't do this out of the kindness of their hearts, Your

14 Honor.   They did it because we had leverage and we used it.

15             And this goes directly to the dueling narratives that

16 we and the Committee have put forward in this case regarding

17 the rights offering.      The Committee has said that this rights

18 offering is a benefit -- it's always been a benefit to the

19 secured creditors as a way to steal value -- shield value from

20 unsecured creditors.

21             In contrast, we say it was a burden that we imposed

22 on secured creditors because, as multiple witnesses noted in

23 their testimony, the plan sponsors bore the risk that the world

24 would continue to deteriorate, that value would go down, and

25 they were still on the hook.




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 754 of 1639
                                                                      0754

                                                                             47

 1             So despite the fact that the evidence clearly shows

 2 that the company used every bit of leverage at its disposal,

 3 and that the plan sponsors bore the risk that the world would

 4 continue to deteriorate and value would continue to decline,

 5 the Committee objects to the rights offering on the basis that

 6 it was never marketed.       Never marketed.

 7             Your Honor, there was no market.        Mr. Circle, who

 8 works for one of the largest money managers in the country, he

 9 testified that in the spring of 2020, the capital market could

10 be described as dead at best.       And Mr. Dell'Osso testified, as

11 I mentioned, that there wasn't even negative sentiment.            There

12 was no sentiment.

13             Mr. Circle said at that time he didn't think he'd

14 seen an issuance in the oil and gas space, let alone in the E&P

15 space, in multiple months, either on the debt or the equity

16 side of the ledger.      He testified that it was hard for him to

17 describe the market as anything other than dormant at the time.

18 Commodity prices had precipitously dropped.          He said one month

19 they even went negative in terms of the front-month contract.

20 And given the demand outlook, while we were all sheltering in

21 our basements when we were negotiating this, it was hard to put

22 a finger on exactly when demand was going to surface.

23             And so as a result of people's uncertainty as it

24 results -- related to supply and demand in a commodity, he

25 thought that there was very little appetite, in his




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 755 of 1639
                                                                      0755

                                                                              48

 1 observation, in the marketplace, and as reflected by security

 2 prices, not only Chesapeake but other companies across the

 3 industry.

 4              So again setting aside the uncontroverted evidence

 5 that there was literally no market for oil and gas financings

 6 in the spring of 2020, and setting aside the fact the debtors,

 7 once we signed that RSA, we were bound, while of course

 8 retaining our fiduciary out, the Committee nevertheless argued

 9 that the rights offering failed under 203 and (indiscernible)

10 because we never market tested it.

11              But of course 203 (indiscernible) is inapposite.             203

12 (indiscernible) concerns (indiscernible) market test financing

13 provided by old equity in order to satisfy or (indiscernible)

14 the new value exception of the absolute priority rule.

15              And just like the Committee's misplaced tooth

16 analogy, this analogy similarly misses the mark.           Those are not

17 our facts.    The secured lenders are creditors, not equity.              And

18 as the evidence shows, they are not insiders.          They were not in

19 control of the company.      They were not in control of the

20 negotiations of this restructuring.        And of course there is no

21 absolute priority issue here.

22              So the evidence also shows that neither the company

23 nor its advisors until late last night received a single call,

24 a single email, a single inbound from any party, whether

25 involved in this case or not.       No one so much as inquired about




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 756 of 1639
                                                                      0756

                                                                             49

 1 an alternate rights offering, no one.         This argument holds no

 2 weight.

 3             So I want to turn back to the RSA negotiations.          And

 4 there Mr. Antinelli testified at length to the back and forth

 5 of these negotiations, which were moving at an incredibly rapid

 6 clip from the end of April, April 27 when we sent our strawman

 7 proposal, to mid-May.      Mr. Antinelli testified to that strawman

 8 proposal that was sent on April 27th, and in that strawman

 9 proposal we proposed a couple of different structures,

10 including one that had new money splits of 58.2 percent,

11 16.7 percent, and 25 percent to the one and a halves, the 2Ls,

12 and the unsecureds respectively.

13             Mr. Antinelli testified that the one and a half lien

14 ad hoc group got restricted on April 29th, and Franklin filed

15 suit on May 1st.     And he testified that this was an integral

16 turning point because now we had principals.          We had somebody

17 to talk to.    We had somebody to negotiate with.

18             He testified to multiple proposals exchanged between

19 April 27 and May 13, each of which modified various terms of

20 our proposal, including the terms of rights offering and the

21 equity splits, and those proposals are summarized on Debtors'

22 Exhibit 236 which is up on the screen.

23             Mr. Antinelli testified that by May 13th, I think he

24 said there was (indiscernible) we got a joint proposal from the

25 one and a half liens and Franklin.        But at that time he noted,




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 757 of 1639
                                                                      0757

                                                                             50

 1 he testified, we the company, we had not signed on to that at

 2 that time.    We still had issues, particularly around

 3 conditionality.

 4              He was very clear in his testimony the company was

 5 not interested in signing on to a deal that had no certainty at

 6 close.   And so we worked over the next few days to close out as

 7 much uncertainty as we could and make this as airtight as we

 8 could because as I've mentioned at least a half a dozen times,

 9 we wanted a path out.      That was our number one focus.        That was

10 our number one goal.      We wanted to keep this going concern

11 alive.

12              With respect to the (indiscernible) negotiations,

13 Mr. Antinelli testified that we reached agreement in principle

14 with the one and a halves and Franklin on May 18th, and he

15 testified that that agreement in principle on May 18th, that

16 was ultimately the agreement in every material respect that was

17 documented in the RSA and we signed on June 28th.           And with the

18 exception of Class 6/7 treatment, it is the transaction that is

19 in front of Your Honor today under what is now the fifth

20 amended plan we filed on a slightly amended -- not in a

21 material way -- late last night.

22              And at a high level, Your Honor knows this

23 transaction includes a fully backstopped $600 million equity

24 rights offering, open for participation to the one and a halves

25 and the 2Ls, (indiscernible) money splits of 76 percent,




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 758 of 1639
                                                                      0758

                                                                             51

 1 12 percent, and 12 percent across the one and a halves, 2Ls,

 2 the unsecureds respectively, (indiscernible) to the 2Ls and the

 3 unsecureds, and releases to the plan sponsors and certain other

 4 parties.

 5             Importantly, and perhaps most importantly, Your

 6 Honor, Mr. Antinelli and Mr. Martin testified that the board

 7 was engaged and apprised at every step along the way.            That's

 8 reflected again in this demonstrative which we put up earlier.

 9 It's I believe Debtors' Demonstrative 6, and it was discussed

10 at length by Mr. Antinelli and Mr. Martin.

11             In fact, Mr. Martin was asked, "Why did the Board

12 meet so frequently during this time?"

13             And he testified that, "This was a company in crisis,

14 and it was a time of crisis for the enterprise and the world.

15 It was very important that the Board be diligent in

16 understanding the circumstances of the company and the options

17 that were available to the company to get through this period

18 of time."

19             Now, Your Honor, those are not the words of a

20 Chairman of the Board who's asleep at the switch or who

21 abdicated his responsibility, as the Committee alleges.            The

22 Board was engaged, the process was thoughtful and thorough, and

23 it was a success.

24             And so in the face of this robust process, what does

25 the Committee say?     Well, first the Committee alleges that the




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 759 of 1639
                                                                      0759

                                                                             52

 1 company's process was essentially a sham because we abdicated

 2 our role in the negotiations.       But that allegation, Your Honor,

 3 like many of its others, it runs contrary to the evidence.

 4             When asked whether he agreed with the Committee's

 5 allegations that the Board of Directors abdicated its

 6 responsibility in prepetition negotiations, Mr. Lawler

 7 testified that he disagreed, and he disagreed in light of the

 8 frequency of meetings, the discussions, and the process in

 9 which they evaluated and discussed the alternatives and the

10 options for the company was quite extensive.

11             Similarly, when asked for his perspective as Chairman

12 of the Board, did he believe that the company abdicated its

13 role in negotiations, Mr. Martin testified that he did not

14 agree, the Board did not abdicate.

15             And finally, when he was asked how the company -- how

16 involved the company was in driving the deal, Mr. Antinelli

17 testified the negotiations were all consuming.

18             But again, Your Honor, you don't have to take our

19 word for it.    Our creditors saw it the same way.         When asked to

20 describe the debtors' role in the RSA negotiations, Mr. Circle

21 testified that it couldn't be described as anything other than

22 critical.    He said from his perspective it was certainly a

23 multi-party negotiation, but hard for him to describe the

24 company's role as anything but critical given the critical

25 nature of the ultimate outcome, how much money was going to be




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 760 of 1639
                                                                      0760

                                                                             53

 1 raised from a rights offering, and ultimately he said the split

 2 mattered greatly to the company.        And that was clear to him as

 3 such as we moved to negotiations.

 4             So again, in the face of this overwhelming evidence

 5 of the company's involvement, the Committee points to the text

 6 in the May 11th board presentation, which is up on the screen

 7 for Your Honor.     Again Debtors' Exhibit 236.       And

 8 (indiscernible) said the company had not inserted itself into

 9 the dialogue as creditors constructively negotiate.           And the

10 Committee (indiscernible) is dispositive on the topic.            This is

11 all you need to know.

12             But of course, when asked about the meaning of this

13 language, Mr. Lawler testified that it did not refer or imply

14 that we were not actively talking to, negotiating, and

15 encouraging creditors to come to the conclusion that we could

16 go forward with.     The highlighted area simply noted that we

17 were not in the creditor-to-creditor discussions.

18             Mr. Antinelli also testified to the meaning of this

19 language, and he (indiscernible) that its meaning was that the

20 company did not demand that all conversations run through the

21 company.    But we allowed principal-to-principal discussion.

22 And in fact, on this point, Mr. Antinelli testified that he

23 believed it would have been counterproductive to require it all

24 to run through the company because of course we're negotiating

25 a very big transaction in a very short period of time.            If we




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 761 of 1639
                                                                      0761

                                                                             54

 1 had to be in the room for every single negotiation, I do not

 2 believe there was any chance the transaction would have gotten

 3 negotiated in time.

 4             And that's what we wanted to do.        We wanted a path of

 5 consensus equal to achievement, we wanted to keep the going

 6 concerns alive.

 7             Mr. Antinelli testified that the proposals went back

 8 and forth, the company was pushing both sides, and he testified

 9 that the company was fighting for new money, it was engaged

10 with the principals, and we were fighting for unsecured

11 creditor recovery.     It's hardly an abdication, Your Honor.

12             So another variation in the Committee's argument that

13 we abdicated is that the company cowered in the face of a

14 letter from David Polk, and abandoned the preference claim as a

15 result.    I mean, this argument is sort of (indiscernible) Your

16 Honor, but, you know, we have as evidence exactly on point,

17 Mr. Martin and Mr. Lawler both testified that they did not view

18 this letter as a threat.       When asked why he didn't view it as a

19 threat, Mr. Lawler testified that he viewed it as a letter that

20 represented the views of creditors that David Polk represented.

21 He said there was nothing in the letter that he wasn't aware

22 of, or wasn't actively working on in the same email, and so he

23 didn't consider it a threat at all.        And importantly, Your

24 Honor, he testified the board did not change its plans, did not

25 give any different directions to its advisors based on this




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 762 of 1639
                                                                      0762

                                                                             55

 1 letter.

 2             Similarly, when asked whether he saw it as a threat,

 3 Mr. Martin testified, he said, no, sir, I did not.           He said he

 4 could only speak for himself, but he did not view it as a

 5 threat.

 6             And when Mr. Jonas asked Mr. Antinelli whether the

 7 debtors abandoned the preferences in our May 6th term sheet, a

 8 day after receiving the David Polk letter, Mr. Antinelli

 9 testified that of course he didn't.        He testified that we were

10 a long way from giving up.       That was our leverage, and we were

11 continuing to wield it, and we were going to be prepared by the

12 14th to file the company without the benefits of a bargain

13 given the short timeline.       That's the end of that argument,

14 Your Honor.

15             So unless the Committee argues, well, even if the

16 process is thorough, and even if the debtors participated, the

17 process is nevertheless fatally flawed because unsecured

18 creditors were not a part of it.        Setting aside the

19 impossibility of having a creditors' committee that's not yet

20 appointed participate in prepetition negotiations, and setting

21 aside that no group of unsecured creditors ever organized

22 before the case or until last night, the evidence is clear that

23 the company was advocating for unsecured creditors, and

24 certainly, it cannot be the case that a process is fatally

25 flawed unless all constituents are at the table.




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 763 of 1639
                                                                      0763

                                                                             56

 1             Mr. Dell'Osso testified to the fact that recovery for

 2 unsecured creditors was an issue that was important to the

 3 company during negotiations.       That the company fought for

 4 recovery for unsecured creditors, and that the company did not

 5 leave it to one-half Franklins as the Committee -- and

 6 Franklin, as the Committee alleges that we did.           Mr. Antinelli

 7 testified to the same.       When asked who was looking out for the

 8 interests of unsecured creditors, he testified that the company

 9 was, even though unsecured creditors were billions of dollars

10 out of the money.

11             And really important to this topic of who was looking

12 out for unsecured creditors, Your Honor, Mr. Antinelli

13 testified that certain of the secured creditors wanted us to

14 make unsecured recovery a deathtrap, and we, the company,

15 flatly rejected it.

16             So Your Honor, I want to pause, again, for a moment,

17 on the package of recovery that we got for unsecured creditors

18 under the plan.     Your Honor noted a few days ago that offering

19 a tip to out of the money creditors can unduly complicate the

20 process.    And perhaps you're wrong.      Perhaps this month long

21 trial is proof positive.       But I do want to take just a minute

22 to provide some perspective on what was going on in our minds

23 back in the spring of 2020 when we were negotiating.

24             You know, the primary job of the company is to

25 maximize value, maximize the value of the enterprise, and we




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 764 of 1639
                                                                      0764

                                                                             57

 1 used our strategic asset, those potential preference claims, to

 2 obtain massive equitization and massive amount of money in an

 3 atmosphere of (indiscernible).        That was job number one, Your

 4 Honor, and we were successful.        Had we left it at that, we

 5 believe that the company would have fully discharged its

 6 duties.    As we say on Passover, Your Honor, Dayenu.         That would

 7 have been enough.

 8             Had we left it at that, that would have been enough,

 9 we would have satisfied our mandate.         But we felt strongly that

10 that was not enough, that we should do more.          That we should

11 obtain value for foregone and potential preference claims,

12 because while they would not result in a single additional

13 penny coming into the estate if pursued, they would potentially

14 be settlement negotiations and leverage for additional

15 recoveries to unsecured.

16             But if those preferences did not exist, if those

17 potential preference claims did not exist, there surely would

18 have been no basis to even ask for let obtain 12 percent of the

19 equity plus warrants for a party that is billions of dollars

20 out of the money even at Your Honor's valuation.           And that was

21 even more so the case in the spring of 2020.          But we felt that

22 as fiduciaries, saving the company and securing its future,

23 while paramount, was not all that we should obtain.           And so we

24 fought for recovery for unsecured, a recovery that under Your

25 Honor's TEV, is worth $207 million.




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 765 of 1639
                                                                      0765

                                                                             58

 1              But Your Honor, we didn't stop there.        The evidence

 2 shows that we refused to entertain that deathtrap, knowing full

 3 well that it provided a risk free opportunity for unsecured

 4 creditors to swing for the fences, and painful and expensive as

 5 this has been, we believed then and we believe now that that

 6 was the right and proper decision.

 7              So where does the company -- or Committee go next?

 8 In the face of (indiscernible) and deliberate process carried

 9 out by a well-informed and diligent board, a process in which

10 the company did not abdicate its role, and fought for unsecured

11 creditors?    Well, now the Committee says that transactions in

12 the settlement reached as a result of this process must fail,

13 because the board did not commission an investigation of

14 potential estate claims and causes of action, before pursuing a

15 global deal that provided the company with $4 million of fresh

16 capital, significant equitization, meaningful credit recovery

17 to all creditors, and most importantly, I'll say it again, a

18 path to exit from bankruptcy.

19              While it is true, Your Honor, the board did not

20 commission such an investigation.        It also begs the question,

21 so what?    In the spring of 2020, the debtors, an E&C company in

22 the middle of the most volatile and capital scarce environment

23 of modern times, we were laser focused on finding the capital,

24 as the evidence showed clearly.        And as I already discussed,

25 the capital markets were closed.        Mr. Circle described them as




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 766 of 1639
                                                                      0766

                                                                             59

 1 dead, Mr. Dell'Osso said there was no (indiscernible).            There

 2 wasn't even a view of how to invest in the oil and gas base.

 3 And as Mr. Nash said the other day, the company needed money

 4 like humans need oxygen.       Without it, nothing else, including

 5 an investigation, mattered.

 6              Securing the capital was priority one.         But equally

 7 important, you heard from Mr. Martin on issues of

 8 investigation.     The Committee established on cross that

 9 Mr. Martin was familiar with how to run an investigation, and

10 knows when one is appropriate or not.         And so when

11 Mr. Wissner-Gross asked Mr. Martin whether the board conducted

12 an investigation here, what did he say?         Mr. Martin said, I

13 didn't need an investigation.       I lived it.     Specifically, he

14 said, sir, I lived each of these issues extensively, day in and

15 day out over that period of time.        And maybe my recall isn't

16 perfect on occasion, but I understood what was going on with

17 the company during that period, and each of the decisions that

18 was being made.     So he didn't need an independent investigation

19 to understand how diligent this board was, and the decision

20 processes that they went through.

21              And that is so true, and it is so important, Your

22 Honor.   This is not the typical investigation case that we

23 often see.    A case of a sponsor owned entity, where the sponsor

24 is into equity and the debt and the (indiscernible) boards all

25 over the place.     There's a transaction that either takes money




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 767 of 1639
                                                                      0767

                                                                             60

 1 off the table, or moves assets away from creditors.

 2              In those cases, yes, we typically see independent

 3 directors appointed, and an investigation undertaken with

 4 respect to the transactions that happened before the

 5 independent directors were on the board.         But those are simply

 6 not our facts.     Chesapeake is a public company with a

 7 completely independent board of outside directors, save for

 8 Mr. Lawler.    You heard Mr. Martin testify to the bios of our

 9 directors.    They are sophisticated and respected businesswomen

10 and men.    The transactions were public.       They moved valuable

11 assets closer to creditors, and as Your Honor heard at length

12 during this trial, they were consistent with the company's

13 march towards full financial health, and they were beneficial

14 to all entities.     These were not the machinations of a

15 Machiavellian or an oblivious debtor, as Mr. Stark promised the

16 evidence would show them to be.

17              So the Committee's arguments the board had a duty to

18 undertake an investigation of whatever fantastical theory the

19 Committee would divine in the future, is wrong on the facts and

20 as a matter of law.      No such duty exists.      And the evidence

21 clearly demonstrates that the duties that do exist, loyalty and

22 care, were carried out to their full.         Your Honor, this board,

23 and this management company, it rescued the company from raging

24 flood waters, and the Committee is here criticizing the Coast

25 Guard.




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 768 of 1639
                                                                      0768

                                                                             61

 1             So again, I want to pause, because this process that

 2 played out over approximately three months, it was thorough.

 3 It was fast paced and it was deliberate, and it was aimed at

 4 maximizing the value of an important enterprise, and obtaining

 5 recovery for all creditors, and it was successful.           The

 6 overwhelming and uncontroverted evidence flies in the face of

 7 the Committee's breach of fiduciary duty theories, aiding and

 8 abetting theories, ethical subordination theories, and what

 9 we've done, the preference revival, preference resurrection

10 theories, and of course, once lapsed, a preference cannot be

11 brought back to life.      To do so would rank the 90-day statutory

12 lookback period out of the Code, and only Congress can do that.

13             Notably, Mr. Stark said no case in support of his

14 Buddhist notion that these preference claims could be

15 reincarnated in any form, fraudulent transfer, unjust

16 enrichment, or otherwise.       And it is true, Your Honor, the

17 debtors pursued this consensual transaction without an executed

18 RFA as of May 14th.      I believe Mr. Nash described it as a

19 calculated risk in his opening statement on the very first day

20 hearing in this case.      Mr. Martin testified that the board

21 understood the significance of the 14th, and the board was

22 supportive of the plan to pursue negotiations with secured

23 lenders and the DIP lenders, and the new capital providers for

24 consensual restructuring.

25             Mr. Antinelli agreed.      He testified that we took a




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 769 of 1639
                                                                      0769

                                                                             62

 1 risk.   There was a risk associated with pursuing a consensual

 2 deal, but we thought it was an appropriate risk to take,

 3 particularly in light of the available alternative, an

 4 alternative that Mr. Antinelli believed that -- he testified

 5 that he believed would be a liquidation in the worst market

 6 that anybody had ever seen.       And Your Honor, it is universally

 7 recognized that reasonably calculated risk taking is entirely

 8 appropriate for a board, whether it is healthy or distressed.

 9 We know that from Quadrant.       Quadrant told us that the biggest

10 judgment rule protects the directors of solvent, fairly

11 solvent, and insolvent corporations, and that creditors of an

12 insolvent firm have no greater right to challenge a

13 distressed -- or I'm sorry, a disinterested good faith business

14 decision than the stockholders of a solvent firm.

15             And that's exactly what this was, Your Honor, a good

16 faith business decision.       It was made on an informed basis,

17 aware of the settlement leverage that we were giving up in the

18 potential preference claims, and a clear goal of what we were

19 trying to achieve; maximize the value of the enterprise, keep

20 the business intact, save jobs, and protect the going concern.

21 And it avoided what we didn't want; a value destructive

22 liquidation.

23             And it's important to note, Your Honor, that the deal

24 that was in front of the board and the deal the principals

25 agreed to in mid-May, that was documented on June 28th, in




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 770 of 1639
                                                                      0770

                                                                             63

 1 every material respect is the deal in front of Your Honor

 2 today, so whatever risk that was there, it did not materialize.

 3 This was a good faith business decision.

 4             With the Committee's claims and allegations

 5 thoroughly discredited by the evidence, let's look for a moment

 6 at whether any of their true confirmation objections stand up.

 7 And Your Honor, it is our burden to demonstrate by a

 8 preponderance of the evidence that the plan satisfied all

 9 confirmation standards.

10             So I'd like to move quickly to the 1123(b)(3)

11 standards of settlement, and a couple 1129 standards objected

12 to by plan opponents, including good faith, best interests,

13 fair and equitable, and regulatory approval, and I'll touch

14 very briefly on subcon as I expect the Committee will raise it,

15 and of course there is no subcon here.         But if Your Honor would

16 like to hear argument on any other confirmation standards, I'm

17 happy to address those as well, but I wasn't planning on

18 raising them if they're not the source of a disagreement.

19             So turning to the settlement, Your Honor, various

20 parties including the Committee have objected to the

21 settlements embodied in this plan.        And the standard for

22 approving settlements under the plan is well known to Your

23 Honor, and requires an analysis of whether the settlement is

24 fair and equitable, and in the best interests of creditors.

25             The fair and equitable prong is not only interpreted




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 771 of 1639
                                                                      0771

                                                                             64

 1 as compliance to absolute priority rules, clearly satisfied

 2 here.    There are no classes junior to six and seven receiving a

 3 recovery.    And the best interest prong is akin to the 9019

 4 standard.    It considers the probability of success in

 5 litigating the claims subject to the settlement, complexity and

 6 likely duration of the litigation, and the attendant costs in

 7 delay, and all other factors bearing out the wisdom of the

 8 settlement, including creditor support, and the extent to which

 9 the settlement is the product of an arm's length negotiation,

10 and not the product of fraud.       And we know that from Cajun

11 Electric, and In The Matter of Foster Mortgage Corporation.

12             But picking through those factors quickly, as I just

13 spoke about the claims at length, Your Honor, in terms of

14 likelihood of success, the evidence is clear that these claims

15 are meritless, and in terms of cost and time to litigate, the

16 claims undoubtedly would take a long time and cost a lot of

17 money to litigate.     I mean, this trial right here, it's been a

18 month, it's probably cost the estate tens of millions of

19 dollars, and we're only talking about colorability at this

20 stage.   Any contention by the Committee that this would result

21 in only a modest delay just does not square up with what we've

22 seen already, and I believe even Mr. MacGreevey testified that

23 this would not necessarily be a quick litigation.           And

24 moreover, the litigation would put the estate's exit and

25 backstop commitments at risk, if they went beyond a few more




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 772 of 1639
                                                                      0772

                                                                             65

 1 weeks, and that, of course, would imperil the going concern.

 2             In terms of the views and interests of creditors, you

 3 know, despite a one month trial, there's actually significant

 4 support for this plan, as evidenced by Debtors' Exhibits 406

 5 and 435 before the voting reports.        The plan is unanimously

 6 supported by Causes 3 and 4, almost unanimously supported by

 7 Cause 5, and it enjoys a significant amount of support from

 8 Cause 6 as well, I believe over 50 percent of claims by amount

 9 voted in favor of this plan.       And finally, Your Honor, the

10 evidence is clear that (indiscernible) they were negotiated at

11 arm's length.

12             So the soundness of the settlement is clear, and it

13 is equally clear that a court may not undertake a

14 claim-by-claim (indiscernible) in making its determination, but

15 it should analyze the settlement on a holistic basis.            We know

16 this from Nellis v. Shurgrue, a case out of the Southern

17 District of New York, 165 B.R. 115 (1994).          That case was up on

18 appeal, and the objectors to a global settlement appealed, and

19 they argued that the settlement should be overruled, because it

20 did not contain sufficient detail of the claims being settled,

21 their likelihood of success, or the amounts in controversy.

22 Then-Judge Sotomayor, she disagreed.         She said the appellants

23 misperceive a bankruptcy court's obligations.          A bankruptcy

24 judge's sole and exclusive responsibility is to determine

25 whether a settlement is fair and in the best interests of the




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 773 of 1639
                                                                      0773

                                                                             66

 1 estate.    Although a judge must consider the fairness of the

 2 settlement to the estate and creditors, the judge is not

 3 required to assess the minutiae of each and every claim.            The

 4 bankruptcy judge does not have to decide the numerous questions

 5 of law and fact raised by appellants.         The Court may only

 6 (indiscernible) settlement to determine whether it is within

 7 the acceptable range of reasonableness.         And I would submit

 8 that the evidence has made clear that this settlement well

 9 exceeds the lowest end of the range of reasonableness.

10             I believe the settlement is even more clear that

11 that's sustainable considering, as the Committee pointed out to

12 Mr. Antinelli on cross, that the settlement does not include

13 the preference claims, because of course they lacked, and

14 removing those from the equation, I would argue, lowers the

15 cost of settlement even further.        I would argue that in this

16 case, the low end of a range of reasonableness, Your Honor, it

17 is on the floor.     We could trip and stumble over that hurdle.

18 But we didn't do that.       We didn't barely clear the hurdle, we

19 didn't give them the bare minimum.        We extracted meaningful

20 value for unsecured creditors, as Mr. Antinelli testified.

21 Even at the time we sent the RSA, it was 150 million in our

22 valuation, 207 at Your Honor's, and I believe 350 at the

23 Committee's.

24             And if the Committee does truly have the courage of

25 its convictions, and it believes that this is worth




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 774 of 1639
                                                                      0774

                                                                             67

 1 $350 million, then they can rest easy that the trade markets

 2 will bear this out.      But also, if that's what they truly

 3 believe, then their arguments and their contentions that

 4 unsecured creditors are getting wiped out, that this plan is a

 5 deed in lieu of foreclosure, as Mr. Stark characterized it in

 6 his opening, that cannot stand.        It is obviously none of those

 7 things.

 8             So turning quickly to 1129, I'll start with

 9 (indiscernible).     1129(a)(3), as Your Honor well knows,

10 requires that the proponent of a plan oppose the plan in good

11 faith, and not by any means prohibited by law.          And whether the

12 plan is proposed in good faith requires an analysis of whether

13 it was proposed with a legitimate and honest intention to

14 reorganize and have a reasonable hope of success and we know

15 that from In Re Sun Country from the Fifth Circuit.

16             Your Honor heard an overwhelming amount of testimony

17 on this point, and there is no serious contention that the plan

18 was not put forward to reorganize this company.           It deleverages

19 the company by over $7 billion.        It infuses the company with

20 $3 billion of fresh capital at exit, and on top of all that,

21 Your Honor, through this process and this plan, we've reduced

22 an additional $1.7 billion of outstanding midstream liability,

23 (indiscernible).

24             On best interests, 1129(a)(7) requires that with

25 respect to each impaired class of claims or interests, members




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 775 of 1639
                                                                      0775

                                                                             68

 1 of such classes that have not accepted the plan will receive as

 2 much or more under the plan than they would in a hypothetical

 3 Chapter 7, and this test is generally satisfied through a

 4 comparison of estimated recoveries under the plan, and a

 5 liquidation analysis.      And we estimated our liquidation

 6 analysis at Exhibit 439(a).       That's Mr. Stewart's best interest

 7 analysis.    And he testified that under his analysis, all

 8 creditors do better under the plan than they would in a

 9 liquidation, and no one seriously contends that this plan

10 doesn't satisfy best interests.        In fact, nobody else actually

11 put forward an alternate liquidation model, a bottoms up

12 analysis, that looked at the assets, looked at the values,

13 looked at the plain facts, and said ours was wrong.           That's not

14 what they did.

15             Your Honor, the Committee, what they did is, they put

16 forward Mr. Brown, who testified that he adopted Mr. Stewart's

17 model, he took it wholesale, and then he would change a couple

18 assumptions, largely on the advice of counsel.          Another

19 assumption had to do of course with how value flowed, and every

20 single one of those assumptions was intended to (indiscernible)

21 value and deliver it directly to unsecured creditors.            And I'm

22 happy to walk through various of those assumptions and why they

23 apply, Your Honor, but your head shaking makes me think that

24 perhaps I'll just get back to my closing.          I have a lot to say.

25             I think it's important to say one thing on this




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 776 of 1639
                                                                      0776

                                                                             69

 1 point, which is that one of Mr. Brown's instructions from

 2 counsel was about the treatment of the roll up DIP claim, and

 3 that they should not be applied against unencumbered assets.

 4 They should be treated as second class DIP citizens.           And the

 5 Committee argues obviously (audio interference) because to do

 6 otherwise would be -- I think Mr. Stark's words were it would

 7 slow the collateral entitlement of the one and a half if the

 8 roll-up DIP claims were applied against unencumbered under the

 9 marshaling provision under the DIP.

10             But Your Honor, this is belied by the notion that

11 Mr. Jonas asked at least a half a dozen questions on cross that

12 indicated his view, or the Committee's view, that the roll up

13 DIP claims do soak up unencumbered value.          And I'll put those

14 up on the screen, it was at 573.        Here he has at least a half a

15 dozen times, Mr. Jonas says, you know, the DIP, it soaked up

16 the value (indiscernible).

17             We know that's true.      First, that's what the DIP

18 order allowed, what the Code allows.         That's what the DIP order

19 said on -- and that's why the Committee fought the DIP order so

20 hard back in July.     If the roll up had no impact on unsecured

21 creditors that would not have been such a big issue.           But

22 again, in an attempt to roll that back, to roll back a

23 statement about how the roll up works, they argue that it

24 despoiled the collateral entitlement, and in doing so, they

25 tried a complaint, collateral entitlement, as of the petition




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 777 of 1639
                                                                      0777

                                                                              70

 1 date with value of the collateral as of the petition date.                And

 2 based on this sleight of hand, they go on to argue that because

 3 the line that has it has only been entitled to a certain

 4 portion of the value of their collateral as of the petition

 5 date, before the roll up and before the value of the collateral

 6 increased, that they should be allowed nothing further now.

 7             And of course if true, that would mean a secured

 8 lender's recovery could never increase over the course of the

 9 plan, that they couldn't get the benefits of the rising value,

10 even though they maintained the risk that value would go down.

11 And Your Honor, there's a bunch of cases on this issue.            I'm

12 going to skip through them, unless Your Honor would like to

13 hear about it, but we submit that that's just not correct.

14             So moving towards fair and equitable, Your Honor, I

15 touched on it very briefly in the opening, but no class of

16 claims junior to six and seven is receiving a recovery under

17 the plan, and at Your Honor's valuation, there's no corollary

18 to be concerned about, either.        And I'm going to switch gears

19 just briefly to head off an objection I believe we're going to

20 hear from FERC's counsel about compliance with 1129(a)(6), and

21 on this part -- or point, Your Honor, I would submit that

22 1129(a)(6) is not applicable here.        No regulatory approval is

23 required to approve the plan.       As Your Honor is aware,

24 rejection of first jurisdictional contracts, they do not result

25 in a modification of the rate, and even if they did, even if




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 778 of 1639
                                                                      0778

                                                                             71

 1 there was a rate modification, it is not a debtors' rate

 2 modification, because of course the debtors are not subject to

 3 court regulation.

 4             So those standards and some others that are not in

 5 dispute, those are the requirements of 1129, Your Honor, and I

 6 would submit that we comply with all of them.          But I think

 7 you're going to hear two other arguments from the Committee,

 8 and so I want to touch on them briefly.

 9             And of course, the first is sub-con, substantive

10 consolidation.     And that occurs when a court consolidates the

11 assets and liabilities of various legal entities, providing

12 different lenders with a common pool of recovery.           But the

13 hallmark of sub-con, importantly, is that, as we say

14 colloquially, somebody's ox gets gored.         There are different

15 collateral pools at different estates, lenders entitled to

16 different levels of recovery, and when those estates are

17 consolidated, somebody wins, somebody loses.          There's a

18 redistribution.

19             But of course that cannot be the case.         Six and seven

20 are out of the money, whether you have one claim or 30 claims,

21 as I mentioned at the outset, it does not change that.            Without

22 any redistribution, I don't believe sub-con is relevant to this

23 claim.

24             And the second argument that I think you might hear

25 from the Committee, it's a new one, it's one that's not found




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 779 of 1639
                                                                      0779

                                                                             72

 1 anywhere on the Bankruptcy Code.        It's an argument that the

 2 plan fails because it does not (indiscernible) for unsecured

 3 creditors.    The value -- the going concern value of an

 4 unencumbered asset, a going concern best interest, if you will.

 5 And just a few notes on this, and I'm happy to talk about it

 6 further either now or in rebuttal, in the event somebody brings

 7 it up.

 8              And my first point I make is there are no

 9 unencumbered assets.      They were all pledged as security under

10 the DIP.    Second, even if there were unencumbered assets,

11 there's a waiver of marshaling the DIP order which is final and

12 not appealable.     Third, the only exception to that

13 anti-marshaling provision is for avoidance action proceeds.

14 Like here there are no avoidance action proceeds.           Even if

15 unencumbered assets had not been pledged to DIP lenders, which

16 they were, and if none of the previously unencumbered assets

17 were ever encumbered, not a single lien has been avoided during

18 these proceedings, so no avoidance, Your Honor, no avoidance

19 proceeds.

20              In fact, even if there were unencumbered assets, and

21 even if some of those, some or all of those had been considered

22 avoidance action proceeds, the claims of unsecured creditors

23 are still junior to those of administrative and priority

24 claims.    I would submit, Your Honor, that the Committee is

25 trying to fashion out of whole cloth the equivalent of a best




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 780 of 1639
                                                                      0780

                                                                             73

 1 interest test on a reorganization context, and it simply does

 2 not exist.    Even if it did, it is highly unlikely that

 3 unsecured creditors would do better in that hypothetical going

 4 concern than under the plan.

 5              So coming back to our burden for confirmation, Your

 6 Honor, we satisfied every one.        Every one.    And that brings me

 7 back to the question I proposed at the beginning.           Why are we

 8 here?   What are we fighting about?       Well, we know of two

 9 things.    We're not here because our plan was flawed.         And we're

10 not here because our plan doesn't satisfy the confirmation

11 standards.    And we're not here because there was a breach of

12 fiduciary duty, or a fraudulent transfer.

13              We are here, Your Honor, because certain parties feel

14 entitled to more, despite having no legal basis for it.            As the

15 evidence shows, unsecured creditors are entitled to nothing,

16 but we got them over $200 million, a generous tip by any

17 measure.    But simply wanting more, Your Honor, is not a basis

18 to object to confirmation, to deny confirmation, and absent any

19 legitimate confirmation objection, Your Honor, the plan should

20 be confirmed.

21              That is all I have for Your Honor.       I would like to

22 reserve time to respond to any arguments raised by the

23 objectors, but unless Your Honor has any questions for me, I

24 would seek (indiscernible).

25              THE COURT:   Thank you, Ms. Schwarzman.        You




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 781 of 1639
                                                                      0781

                                                                              74

 1 certainly will have rebuttal time, if required, and I don't

 2 have any questions.      Thank you.

 3             MS. SCHWARZMAN:     Thank you, Your Honor.

 4             THE COURT:    All right.    Mr. Zensky, did you

 5 anticipate going next?

 6             MR. ZENSKY:    Yes, I think as agreed with the debtors

 7 and other plans orders, we were to go next, Your Honor.

 8             THE COURT:    Of course.    Whenever you're ready.

 9             MR. ZENSKY:    Would it be okay if you gave my

10 colleague, Laura Warrick, sharing privileges?

11             THE COURT:    Of course.    Let me find her.     Did she go

12 last name first?     Yes, she did.     There she is.    All right.        She

13 should have --

14             MR. ZENSKY:    Thank you.

15             THE COURT:    -- control.    Yes, sir.

16             MR. ZENSKY:    Thank you, Your Honor.      For the record,

17 David Zensky, Akin Gump Strauss Hauer & Feld for Franklin

18 Advisors.

19             Let me start by echoing Ms. Schwarzman's thanks and

20 appreciation to the Court and staff for the conduct of the

21 trial, and let me also commend my friends at Brown Rudnick and

22 Kirkland on truly excellent lawyering over the course of the

23 case.   There hasn't been that much for us to do up until this

24 point, but I certainly enjoyed watching my friends go at it

25 before Your Honor, and it was a pleasure.




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 782 of 1639
                                                                      0782

                                                                             75

 1              Your Honor, I'm going to limit my comments this

 2 morning to the lack of merit of the proposed litigation claims

 3 that are relevant to Franklin, and embraced by the Committee's

 4 standing motion, and which are settled by the plan.           Please

 5 stop me -- I know that you -- there's a lot of people you need

 6 to hear from today, if I'm going into something that Your Honor

 7 doesn't need argument on.       I will not be offended, and if I

 8 don't pick up a head shake as Ms. Schwarzman did, please tell

 9 me to move on.

10              Your Honor, we've got here a list of the claims that

11 were embraced by the Committee's standing motion which touch on

12 Franklin any way.     We've broken them into claims that allege or

13 seek standing to allege that Franklin itself did something

14 that's actionable, and then the larger group of claims which

15 concern the creditor body at large, and let me take the second

16 group first, just looking at our score card here, Your Honor.

17              The first line, of course, is the challenge to the

18 Legacy Chesapeake guarantee, and liens associated with the FLLO

19 facility that were probably the centerpiece of the Committee's

20 evidence during the course of the trial, and of course we

21 believe that the evidence showed that those claims are not

22 colorable.

23              Count 2, which related to the WildHorse guarantee,

24 the Committee withdrew that in the reply to the standing

25 motion, Footnote 9.      There wasn't really much discussion about




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 783 of 1639
                                                                      0783

                                                                             76

 1 that at trial, but certainly our understanding is from the

 2 express words of their brief that that claim is not part of the

 3 standing motion.     Likewise, the constructive fraudulent

 4 transfer claim regarding the up-tier exchange.          Mr. Stark

 5 explained to you in his opening that the Committee was

 6 withdrawing that, and the reasons for that.

 7              Moving on from the constructive fraudulent transfer

 8 claims, we then have the claims which seek to recharacterize

 9 the last preference claims as something else, and you heard

10 Ms. Schwarzman talk about those briefly.         That's the preference

11 forfeiture and unjust enrichment, and I'll get into those as

12 well, and then finally, there were also intentional fraudulent

13 transfer claims, I skipped over that, and I don't intend to

14 discuss those in any length today, and I do not think there is

15 a need to, based on the evidence before you.

16              So as Ms. Schwarzman just went through, and as I will

17 touch on and come at from a different direction, I think the

18 second group of claims lack merit.        The debtors were entirely

19 justified in settling and not pursuing those claims.           Let me

20 turn now to the top box, which purported to target Franklin

21 specifically.     With all respect to my friends at Brown Rudnick,

22 Your Honor, these claims are a qualitatively different level of

23 speciousness.     They should have been withdrawn at the outset of

24 the trial.    If they weren't a dead letter on the face of the

25 proposed pleading, they certainly are a dead letter at this




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 784 of 1639
                                                                      0784

                                                                             77

 1 stage.   I believe that the evidence at trial showed that

 2 Franklin is a first rate, utterly honest institution, that did

 3 nothing but help the case of unsecured creditors here,

 4 participated in market transactions on the same basis as all

 5 other creditors, and that everything in the trial -- that you

 6 saw in the trial, bears out each and every fact that we set out

 7 in our opposition to standing.

 8             The Committee made no effort to highlight these

 9 claims, to model these claims to convince you that it's in the

10 interest of the estate to pursue them, and unless they're

11 willing to tell you now they're withdrawing them, I'm going to

12 start my commentary with those claims first.

13             So as you can see on Slide 3, Your Honor, the

14 Committee told you in a standing motion -- excuse me -- yes, in

15 a standing motion, that they were going to show that Franklin

16 was able to coerce Chesapeake to take out its unsecured

17 WildHorse debt at above market -- above market at par, and

18 coerced it to borrow the FLLO facility in order to do so, and

19 Your Honor saw no evidence whatsoever to that effect.            That

20 Franklin used a close relationship with Chesapeake to obtain a

21 favored position with respect to the up tier transaction.            You

22 saw no evidence to that effect.        Franklin was treated the same

23 as all other creditors.

24             Further down, I believe in opening argument,

25 Mr. Stark said that they would show that Franklin found a way




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 785 of 1639
                                                                      0785

                                                                             78

 1 to take somebody else's recovery, and keep it for itself.            I

 2 certainly saw no evidence to that effect during the course of

 3 the trial.    These are serious accusations that the Committee

 4 has utterly failed to back up.

 5              So let's turn to Slide 5, Your Honor, just as a

 6 recap.   You've already from Ms. Schwarzman of quite a bit of

 7 the testimony that Mr. Circle presented during the trial.            Just

 8 to refresh on Franklin's position in the debtors' capital

 9 structure at the various relevant times, Your Honor, heading

10 into the December, 2019 transactions, you can see that Franklin

11 held more than $2.4 billion of unsecured notes in the company.

12 Thirty-six percent of the then outstanding debt, and a smaller

13 percentage of the WildHorse unsecured notes, about 20 percent.

14 You heard testimony at length about Franklin's participation in

15 the 2019 transactions, and coming out of them, Franklin now had

16 a second lien position of 1.2 billion, and continued to hold

17 unsecured debt of 575 million, or 576, and subscribed for

18 $250 million of the new FLLO facility.         Certainly not a major

19 holder of the FLLO facility, or not a majority holder, rather,

20 and still a very significant unsecured creditor.

21              When we turn to the prepetition or petition time

22 frame, Franklin had sold down a large percentage of its FLLO

23 position, still held a very large 2L position, and now held a

24 larger unsecured position than it did at the time of the 2019

25 transactions.     Your Honor also may remember that Franklin held




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 786 of 1639
                                                                      0786

                                                                             79

 1 equity at certain points in time, but all of that equity

 2 position had been exited well before the negotiations of the

 3 RSA.

 4             Let me turn to the next page.       So I'm going to start

 5 with the Committee's proposed claims that Franklin be treated

 6 as an insider, and be subject to a one-year lookback period, as

 7 opposed to a 90-day lookback period.         Your Honor, this is the

 8 first of the Committee's three attempted workarounds to the

 9 fact that there are no viable preference claims.           As we just

10 discussed, of course, the liens at issue hardened well before

11 the petition date, and the Committee has tried three different

12 efforts to work around that.       The first is to treat Franklin as

13 an insider, the second is to recharacterize that claim as a

14 fraudulent conveyance, and the third is to recharacterize it as

15 an unjust enrichment claim.       I'll come to those later.

16             So in order to treat Franklin as a non-statutory

17 insider, the Committee would have to show, and this is the

18 middle bullet on this page, Your Honor, that it's the closeness

19 of the parties' relationship that was so great at the time of

20 the transaction, that it can be fairly determined that the

21 transaction was not conducted at arm's length, but rather on

22 the basis of the parties' affinity.        And needless to say, we

23 don't see anything in the record to support a finding of that

24 nature or even a colorable claim of that nature, in respect to

25 the 2019 transactions.




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 787 of 1639
                                                                      0787

                                                                             80

 1             And the flip side of that proposition, Your Honor, is

 2 that a customary debtor/creditor relationship, even one where

 3 the creditor can assert leverage, given the size or strategic

 4 part -- the strategic nature of its interest in the cap

 5 structure, that does not give rise to insider status, and never

 6 has.

 7             So if we start to look at some of the testimony, and

 8 none of this is controverted, Your Honor, Franklin never had

 9 any control over the company or its board.          In fact, Mr. Circle

10 testified he'd never even spoken to a member of the debtors'

11 board, with the exception of Mr. Lawler, who serves as CEO, and

12 participated in certain calls or briefings.          Franklin never

13 appointed directors, and Franklin never attempted to influence

14 the hiring of management or firing of management.           No

15 involvement in the operations of the company.

16             Similarly, when the 2019 transactions were laid on

17 the table after Franklin got restricted, Your Honor, Mr. Circle

18 testified, they had no input into formulating the debtors'

19 proposed liability management transactions, and Mr. Circle told

20 you unambiguously, quote, "We had no bearing on what they

21 proposed to us in the first --" and what he was referring to

22 was the first proposal, the slide deck that they got from

23 Mr. Dell'Osso.

24             Let's go to the next page.       Nothing would support an

25 inference that Franklin had any affinity with the company or




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 788 of 1639
                                                                      0788

                                                                             81

 1 that the transactions were not at arm's length.           Every

 2 transaction Franklin participated in, Your Honor, was on the

 3 same basis as every other similarly situated creditor.            There

 4 was no preferential treatment, whether in the 2019

 5 transactions, or at any other date.        Let's go to the next page.

 6             So again, despite extensive discovery, a three week

 7 trial that included testimony from Mr. Circle, the full and

 8 fair opportunity to cross-examine him, the full and fair

 9 opportunity to show him and show Your Honor, any internal

10 emails or emails with the company, there's nothing here.            All

11 negotiations between Franklin and Chesapeake were at arm's

12 length.    And I think this is best described by taking Your

13 Honor back to what I'll call the Perry Mason moment of my

14 friend Mr. Aulet's examination of Mr. Circle.          And Mr. Aulet

15 actually elicited the admission that when Chesapeake came to

16 Franklin and said, we'd like to tender for your WildHorse bonds

17 at 95, Franklin said no, but we will sell that at par.

18             That was the highlight of the Committee's

19 interrogation of Mr. Circle, Your Honor, and indeed, Mr. Circle

20 went on to say that we were willing to sell or exchange at par,

21 but did not demand a make-whole as other creditors were doing.

22 So at the end of the day, I will give the Committee the props

23 that they did prove that Franklin negotiated on behalf of

24 Franklin, but certainly, telling the company that they were

25 only willing to tender or exchange their bonds at par, is




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 789 of 1639
                                                                      0789

                                                                             82

 1 hardly the stuff that an insider status is made of.

 2             So I'll move on from this claim and come back later

 3 if need be, even if this claim had legs of any sort, it would

 4 still be barred by 546(e), and by contemporaneous exchange.               I

 5 don't think Your Honor will need to reach that, because it's

 6 not colorable to suggest that Franklin was an insider.

 7             Let me turn to equitable subordination.         This one is

 8 no more proper than the alleged insider preference.           Your Honor

 9 is fully aware of the standards for this sort of claim.            The

10 Committee, for reasons still unclear to us asked for permission

11 to allege that Franklin's claims should be equitably

12 subordinated.     They would have to show that Franklin engaged in

13 inequitable conduct that would constitute either fraud,

14 illegality, breach of fiduciary duty, or using the debtor as a

15 mere instrumentality, and that comes from the In Re Jack Kline

16 case out of this district, 440 B.R. 712, 743, and of course the

17 three prong test comes from In Re Mobile Steel.

18             In addition to proving those elements, it's clear, or

19 the need to prove that, the Committee would have to show that

20 some misconduct, that misconduct somehow resulted in an injury

21 to unsecured creditors, or conferred an unfair advantage and

22 none of that is the case here.        And finally, it's an

23 extraordinary remedy and should only be granted in limited

24 circumstances.

25             So looking briefly at the testimony, Your Honor,




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 790 of 1639
                                                                      0790

                                                                             83

 1 you'll remember my partner, Mr. Qureshi, batting cleanup for

 2 the debtors and asking the debtors' witnesses whether they had

 3 any concern with the way Franklin had conducted itself in

 4 negotiating either the 2019 transactions or the RSA terms with

 5 the debtors, and the answer is uniformly no, that they behaved

 6 exactly as you would expect a large creditor to behave, and

 7 that they had no leverage over the company beyond their

 8 holdings in the capital structure.        That is not the stuff that

 9 equitable subordination is made of.        Let's go to the next page.

10             You heard Ms. Schwarzman mention the Davis Polk

11 letter, and why it was a non-issue for the board.           We agree

12 with that, but if it was an issue, the record is clear that

13 Franklin was never part of the FLLO group that sent the letter,

14 had no relationship to that letter or role, and in fact,

15 Mr. Circle had never seen it until it was put up on the screen

16 at some point during the trial for his testimony.           There's no

17 evidence that Franklin played any role in specifying the time

18 at which the debtors would file, and did not have any ability

19 to or attempt to coerce the debtors to agree to a term of the

20 RSA that the debtors were not otherwise prepared to agree to.

21             And in fact, Your Honor, as you'll recall from the

22 testimony and Ms. Schwarzman's comments, Franklin sought to

23 enhance unsecured creditor recoveries.         If we'd look at the

24 next slide, you saw this a short while ago in Ms. Schwarzman's

25 presentation, and we've blown up the column that shows the




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 791 of 1639
                                                                      0791

                                                                             84

 1 first FLLO proposal, and the first Franklin proposal, and you

 2 can see that in response to a proposal of 90 percent to FLLO's

 3 4 percent to Second Lien and 6 percent of prime equity to

 4 unsecured, Franklin came back with a proposal of 60 percent to

 5 the FLLO group, 20 percent to the Second Liens, and full 20

 6 percent of equity, pre-dilution, to the unsecured creditors.

 7 So it is impossible to walk away from this trial with any

 8 belief that Franklin engaged in any illegality or inequitable

 9 behavior, or that it did anything other than negotiate in a way

10 that was beneficial to unsecured creditors.

11             Let me move on to the last Franklin conduct related

12 claim, and that is aiding and abetting breach of fiduciary

13 duty.   Ms. Schwarzman just took you through a tour de force on

14 the evidence, Your Honor, of how diligent this board was, and

15 how it fulfilled its fiduciary duties.         That's really the

16 beginning and end of whether there could be an aiding and

17 abetting claim, but beyond that, again, there is no basis to

18 show that Franklin, as a third-party creditor, improperly

19 influenced or induced a breach of duty by the board.           Again,

20 we've got testimony here that the centerpiece of this claim for

21 the Committee that somehow the creditors forced or induced the

22 company to delay filing.       Franklin had nothing to do with that.

23             Also relevant to this, Your Honor, as you know,

24 having seen the testimony of several of the board members and

25 officers, Chesapeake is a company run by sophisticated,




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 792 of 1639
                                                                      0792

                                                                             85

 1 intelligent officers and directors.        They were counseled by

 2 world class advisors, in the form of Kirkland, Wachtell, and

 3 Rothschild, and to suggest that the board -- that this board

 4 and this management breached fiduciary duties, and that

 5 creditors induced it is a non-starter.         So unless Your Honor

 6 has any questions, I'll move on to the second bucket of

 7 claims --

 8             THE COURT:    I --

 9             MR. ZENSKY:    -- the ones directed to creditors at

10 large.

11             THE COURT:    Got it.   I do not.    Thank you.

12             MR. ZENSKY:    All right, thank you.      So first, we'll

13 talk about constructive fraudulent transfer claims, Your Honor.

14 You're familiar with the elements.        We've laid the three

15 elements out here, and more on the next page, Laura.

16             And as you know in addition to establishing these

17 three elements, the parties agreed, and you've received

18 evidence on the applicability of the safe harbor, which I will

19 come to shortly.

20             The Committee's main focus of course, was the TOUSA

21 claim.   That was the shiny object that the Committee has been

22 chasing here, and I believe Ms. Schwarzman's discussion,

23 particularly of the reasonably equivalent value, crushes that

24 claim, but I'm going to get into it in some detail as well.

25 And before we get into this, I'd like to take you back to




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 793 of 1639
                                                                      0793

                                                                             86

 1 Mr. MacGreevey's testimony.       Mr. MacGreevey put up a slide on

 2 his direct that purported to risk adjust the TOUSA claim and

 3 the last preference claim.       Your Honor, you may remember it had

 4 rows going across about what the recovery would be with a 25

 5 percent chance of success, 50 percent, and so on.

 6             And he admitted on cross that the bogey, effectively,

 7 for the Committee here was that 25 percent line, because unless

 8 the Committee had more than that chance of success, the plan

 9 recoveries were superior.       Now, there were all kinds of other

10 problems with the assumptions he was asked to utilize, and the

11 debtors brought out those flaws in their cross.           What I'd like

12 to refresh Your Honor on from his testimony is that he agreed

13 that the right way to think about it is to multiply the

14 probabilities that the Committee could succeed on each

15 independent element of the TOUSA claim and the last preference,

16 so he conceded that if Your Honor believed, just for sake of

17 argument, the Committee had a 50/50 chance on proving

18 ultimately, insolvency, a 50/50 chance on reasonably equivalent

19 value, and a 50/50 chance on 546(e), you'd have to multiply .5

20 times 25 times 25, and what you'd end up with was a 12.5

21 percent chance of success, comparing that to what he admitted

22 was the Committee's bogey, the 25 percent threshold.

23             So let me turn first to the solvency prong.          The

24 Committee's only witness on solvency, Your Honor, was

25 Mr. Baggett, and we don't think that his opinion was of any use




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 794 of 1639
                                                                      0794

                                                                             87

 1 to the Court, mostly because -- on solvency.          Mostly because he

 2 made no effort to question the legitimacy of his conclusions

 3 compared to what the market tells us about Chesapeake's value

 4 at the time, and the only evidence before you is that there was

 5 an active and informed market for both Chesapeake's equity and

 6 debt security.

 7             Now, evidence of market value is not always

 8 dispositive, Your Honor, but in a case like this, it is

 9 certainly reliable and highly relevant to think about both

10 solvency and reasonably equivalent value back at the time of

11 the 2019 transaction.      And I know Your Honor's familiar with

12 this.   I think it's a fascinating area of the law, but I think

13 Judge Peck's decision in Iridium is probably the godfather of

14 this line of thought, in which he determined that the public

15 trading market constitutes an impartial gauge of investor

16 confidence, and remains the best and most unbiased measure of

17 fair market value, and when available to the Court, is a

18 preferred standard of valuation.

19             And then we've also excerpted the Verizon case out of

20 the Northern District of Texas, which adopts the same approach.

21 And it's not hard to understand the thinking, Your Honor.            We

22 have investors who were making bets in real time with their own

23 economic resources, and making a judgment about the value of

24 Chesapeake's assets, and its prospects for the future in real

25 time, back in December, 2019, both before and after the




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 795 of 1639
                                                                      0795

                                                                             88

 1 transactions, and that's an unbiased measure of value.            You

 2 contrast that with the after the fact expert testimony of both

 3 who were hired to promote an objective and don't have an

 4 economic stake in the outcome of their testimonies, so the

 5 market values are certainly relevant, and should be -- should

 6 have caused Mr. Baggett to question his conclusions.

 7             So let's look at the next slide, Your Honor, and the

 8 next two slides, what we're showing you here are two columns on

 9 the left that are taken from Mr. Baggett's own demonstratives,

10 in which we look at a base value of the company's debt, at the

11 two dates that Mr. Baggett suggested, or that he looked at,

12 rather, the first being December 3rd, and then on the right,

13 we've added a column that Mr. Baggett talked about in another

14 one of his demonstratives, but he never tried to reconcile the

15 third column with the first two.

16             So the column on the left, Your Honor, shows what the

17 base value was of the company's debt on December 3rd, and

18 that's a date cherry-picked by Mr. Baggett.          That was the nadir

19 of the company's value.      It was after the going concern

20 announcement, but before the curative transactions in December

21 were announced.     So he picked this date, and he showed you that

22 the total face value of the debt was $9.7 billion, and that the

23 market value of the debt and equity was only about $7.9

24 billion, and left it at that.

25             But if you look at the third column, his NAB, his




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 796 of 1639
                                                                      0796

                                                                             89

 1 ground valuation for Chesapeake, Legacy Chesapeake, on

 2 December 3rd, was $4.5 billion.        So what we have in the dotted

 3 box here is an unexplained delta between Mr. Baggett's after

 4 the fact valuation for Legacy Chesapeake, and what the market

 5 told us, and he made no effort to reconcile the third column

 6 with the second column.

 7             Let's go to the next page, because the delta is even

 8 more dramatic.     This is the second date that Mr. Baggett

 9 included on his demonstrative, and this is January 6th.            And

10 you can see in the left-hand column, Your Honor, that the total

11 debt has gone down because of the billion dollar deleveraging

12 in the up-tier exchange, and you can see in the middle column

13 that the market value of the company's debt and equity had

14 increased by $1.8 billion to 9.7, showing a very substantial

15 equity cushion.

16             Now let must stop here, because the comparison

17 between the last line and this one should be the beginning and

18 end of any fraudulent conveyance claim.         How can it be that a

19 company that was defrauded by the December, 2019 transaction,

20 that were harmful to its creditors, and reduced the ability of

21 the company to pay its creditors back, jumped $1.8 billion by

22 market value between the pre-announcement date and the

23 consummation of the transactions?        There's never been a

24 fraudulent conveyance case that I'm aware of that was made out

25 on facts like that, and I don't believe the Committee can point




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 797 of 1639
                                                                      0797

                                                                             90

 1 you to one.

 2             But going back to the dissonance in Mr. Baggett's

 3 expert testimony, he told you that Chesapeake was insolvent by

 4 $4.9 million as of January 6th, Combined Chesapeake.           How can

 5 you reconcile his after-the-fact opinion on the value of these

 6 assets with the market value?       He says that value of the assets

 7 is half what the market placed on them.         Now, there may be an

 8 explanation for this, and if the Committee ever got standing,

 9 although we certainly think Your Honor shouldn't grant it,

10 maybe there would be an explanation.         However, maybe

11 Mr. Baggett has one.      He certainly didn't offer it to you

12 during the course of the trial, and that's after we pointed out

13 in our papers that one needs to take these market values into

14 account.

15             And on Page 20, this is the totality of testimony

16 that Mr. Baggett offered to you on how to explain market value

17 versus his opinion.      And he said, well, we've all seen in all

18 the bankruptcies that we've been working on that that's not the

19 case, meaning that a positive equity market cap means the

20 company was solvent.      And then he pointed out, sometimes

21 companies have value even on the eve of filing.

22             Your Honor, I would submit this is the

23 (indiscernible) of all (indiscernible).         Okay?   This is the

24 opinion of an expert that, because I don't want to deal with

25 this issue, it's not a problem, okay.         I would suggest, Your




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 798 of 1639
                                                                      0798

                                                                             91

 1 Honor, that his failure to even attempt to deal with it, is the

 2 problem.

 3             The last line I'll show you on this, Your Honor, I

 4 think if there's still any questions.         What we're showing you

 5 now is the percentage of the market equity capitalization at

 6 the two dates we just talked about, that's December 3rd, 2019,

 7 January 6th, and then the petition date itself, or the last

 8 trading day before the petition.        Now these numbers all come

 9 from Mr. Baggett's demonstrative, the two columns on the left,

10 where his demonstrative shows a billion and a quarter of equity

11 value on top of a $9.7 billion debt stack on December 3rd;

12 1.7 billion of market equity cap on January 6th, on top of 8.9,

13 and what we've done here is just run the leverage ratio, and

14 shown it at the top.      Then, the last trading day before the

15 petition, equity was worth $115 million, or 1.3 percent.

16 Mr. Baggett's testimony would like Your Honor to conclude that

17 all three of these things are the same, and I would submit to

18 Your Honor that one of these is not like the others, and that

19 the fact that parties speculate on stock on the moment before a

20 company files is no answer for the very robust market valuation

21 of the equity at the other relevant dates.

22             Finally, the last indicia of market behavior I would

23 point Your Honor to, and Ms. Schwarzman touched on this, she

24 reminded the Court of Mr. Circle's testimony that Franklin, who

25 remember was restricted, and would have had as visible access




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 799 of 1639
                                                                      0799

                                                                             92

 1 into the company's financials as anyone, held back almost

 2 $500 million of eligible debt from the up-tier exchange,

 3 preferring to ride out the unsecured position because of the

 4 upside associated with that.       But if you look at the box on the

 5 right, Your Honor, Franklin wasn't the only market participant

 6 that made that judgment.       These are numbers taken right from

 7 Mr. Baggett's demonstrative, and you can see that we've

 8 isolated the five issues that were eligible for the up-tier

 9 exchange, and you can see that the total face amount that was

10 eligible was 4.5 billion, and that at the end of the

11 transaction, that there was still 1.3 billion, approximately,

12 left in these issues outstanding.

13             So Franklin accounts for part of that, Your Honor,

14 but not all of it.     So other market participants also made the

15 judgment that they would prefer to keep their equity position

16 rather than trade up.

17             So before moving on quickly to reasonably equivalent

18 value, Your Honor, there are other financial tests.           The

19 inadequate capital, and inability to pay debts.           I believe

20 Ms. Schwarzman covered -- the testimony covers those.            All of

21 the witnesses testified that they believe this company had

22 adequate capital moving forward, and were very comfortable with

23 where the company stood, albeit, with further work to do until

24 the double black swan event.       So I'll move on now to reasonably

25 equivalent value.




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 800 of 1639
                                                                      0800

                                                                             93

 1             So Ms. Schwarzman covered this at length.         We adopt

 2 her argument on that you should look at this as interconnected

 3 transactions.     She took you through all the different aspects

 4 of value to Legacy Chesapeake from the combination.           I want to

 5 take you just to market implications of the transaction, again,

 6 which speak as loud or louder than anything.

 7             We know from ASARCO and the VFD case, which we cited

 8 to Your Honor, that market values are relevant not just to

 9 solvency, but also to the question of whether a debtor received

10 reasonably equivalent value for a transaction.

11             So this is Mr. Baggett's demonstrative, again, and

12 you'll remember Mr. Brown elicited testimony from him that

13 between the dates he picked on the pre-transaction side,

14 December 3rd, and the date he picked on the post-transaction

15 side, that all of the debt traded up.         What Mr. Brown did not

16 have time to do was actually to bring out the degree of that

17 increase.

18             And we've highlighted three of the issues here, Your

19 Honor, two of which were -- excuse me, one of which was

20 eligible for the exchange and two of which were not.           And you

21 can see that the 4.875 notes of Legacy Chesapeake due 2022,

22 which were not eligible, traded up from 66 pre-transaction to

23 8.144 post-transaction, a very material increase.

24             If you look at the next two lines, the 8 percent

25 senior notes due 2026 traded up from 4.875 to 6.013 between the




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 801 of 1639
                                                                      0801

                                                                             94

 1 last date before the announcement and the closing of the

 2 transactions.     These are not mere flips.      These are hundreds of

 3 millions of dollars of value that people are bidding up the

 4 prices of this debt in realtime.

 5             And remember, post-transaction, Your Honor, this debt

 6 was behind the revolving facility, the FILO, and the 2L debt,

 7 and the prices were bid up following the transaction that the

 8 Committee wants     to allege lacks reasonably equivalent value.

 9 Again, it's impossible to square the market evidence with the

10 theories and allegations of the Committee.

11             The last thing I'll say here is that the sole

12 explanation or attempted explanation that you heard from

13 Mr. Baggett was, well, the values went back down later on after

14 the transaction closed.      And he's right.     But what he admitted

15 on cross was that that downturn coincided with a downturn in

16 the script and the spot pricing for the commodities.

17             And if there was any question, he fenced with me over

18 the materiality of that decline.        But if you look on page 24,

19 we've blown up a portion from Mr. Miller's report, which is in

20 evidence, and you can see on the left that the spot price at

21 Henry Hub trended nothing but down following the closing of the

22 transactions, and that the WTI spot price also traded

23 materially down in that window.        So to the extent the debt did

24 come back down, it's not because these transactions lacked fair

25 value.   It coincided with change in the prospects for the




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 802 of 1639
                                                                      0802

                                                                             95

 1 company well after the transactions were closed.

 2              All right.   Now I want to talk about TOUSA, Your

 3 Honor.   Again, I called it the shiny object of the Committee in

 4 this case.    The facts have been laid out by Ms. Schwarzman in

 5 detail, and I think I've supplemented some of the relevant

 6 facts.

 7              Your Honor, my firm represented the Committee in

 8 TOUSA.   I argued the standing motions in TOUSA, so I think I

 9 know a little bit about the differences between TOUSA and

10 Chesapeake, and Chesapeake is not TOUSA, and TOUSA is not

11 Chesapeake.

12              TOUSA was an extremely egregious act of commercial

13 conduct by the debtor that has no analog in any case I've read

14 since, and certainly not this case.        And what the Court

15 determined there, there was no rule of law that when a

16 subsidiary assumes or issues a liability or assumes a guaranty

17 for debt that it was not previously responsible for, that that

18 is constructive fraudulent conveyance.

19              Rather, TOUSA was a fact-driven case.        And what the

20 Eleventh Circuit said in its review was, quote:

21              "It has long been established that whether fair

22              consideration has been given for a transfer is

23              largely a question of fact as to which considerable

24              latitude must be allowed to the trier of fact."

25              In other words, the Court needs to think about all of




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 803 of 1639
                                                                      0803

                                                                             96

 1 the facts and circumstances that were presented to you

 2 concerning these transactions.        The Eleventh Circuit reviewed

 3 the factor of (indiscernible) and said that it was not left

 4 with definite and firm conviction that the bankruptcy court had

 5 clearly heard.      So these are factual issues.      There is no legal

 6 rule, as much as the Committee would like it, that gives it a

 7 constructive fraudulent conveyance claim on behalf of

 8 (indiscernible).

 9             So let's look at some of the most material

10 differences between the cases, Your Honor, because it is a

11 factor of an analysis.       Next page.

12             Okay.    So we've excerpted what I think are the

13 material facts at play in TOUSA, and we asked whether they're

14 present in Chesapeake.       So issue number one, did the

15 transaction at issue provide a material economic benefit to the

16 subsidiaries that guarantied the new debt?          In TOUSA the answer

17 was no.    The parent company simply caused the subsidiaries to

18 assume a new debt to pay off creditors that they were not

19 responsible for, and all that happened was it was able to keep

20 the parent company out of bankruptcy for a few months.

21             In Chesapeake, of course, the answer is yes, and

22 Ms. Schwarzman took you through all of the benefits of the

23 transaction for Legacy Chesapeake, and the market agrees that

24 there were benefits for Legacy Chesapeake.

25             Issue two, was the company on an inevitable path to




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 804 of 1639
                                                                      0804

                                                                              97

 1 bankruptcy at the time of the transaction?          In TOUSA, the

 2 answer was unequivocally yes.       External observers, insiders at

 3 TOUSA recognized that the housing markets in which TOUSA

 4 operated had begun their free fall long before the transaction

 5 under attack, Your Honor.       In this case, the answer is no.           No

 6 one thought the bankruptcy was near term for any considerations

 7 in December.    Ms. Schwarzman again took you through that

 8 testimony, and in fact you heard testimony that Mr. Waller and

 9 Mr. Martin bought stock in the company at the time.           So the

10 cases couldn't be further apart on that issue.

11             Let's go to the next page.

12             The next issue which is closely related is whether

13 management believed in the wisdom of the transactions or

14 doubted them.     In TOUSA, management begged the controlling

15 stockholder not to force it to do the transaction.           Okay?   The

16 controlling stockholder said do the transaction because I want

17 to keep my equity check alive no matter how damaging and

18 dangerous it is.     There were dire predictions about the effects

19 of the transaction internally exchanged between the officers of

20 the company.    And you may remember that the CFO predicted in an

21 internal email that the transaction would likely end in a crash

22 and a very colorful word, which I will not use during today's

23 proceedings.

24             You weren't shown anything like that from the company

25 here.   What you were shown was a company that's diligently




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 805 of 1639
                                                                      0805

                                                                             98

 1 worked, to the best of its ability, to put itself on an

 2 appropriate path.     None of the officers of this company

 3 questioned the wisdom of these transactions or that the company

 4 would come out stronger and better.

 5              The next issue, completely different status of the

 6 housing market from the ENT market at the relevant time.            The

 7 housing market was collapsing at the time TOUSA engaged in this

 8 transaction.    Here, while you heard about the double black swan

 9 event in March, back in November and December, the market was

10 stable.     Stock prices were stable and the script was stable.

11 No relation to TOUSA.

12              Finally, let's go to the next page, and I think this

13 is perhaps the most important distinction, Your Honor, and one

14 that I don't believe has been discussed yet.          In the structure

15 of the TOUSA transaction, remember, the parent was liable for

16 debt that had been assumed by a new joint venture called the

17 Transeastern Venture, and the parent caused the TOUSA

18 subsidiaries to issue guaranties to borrow money to pay off the

19 lenders who had funded that venture.

20              But that venture did not come along and guaranty the

21 new debt.    The venture, the entities that were formerly

22 responsible for that debt, pranced off into the sunset without

23 any help to the TOUSA subsidiaries in meeting the new debt.

24              In this case, that's not what happened.        The

25 WildHorse entities come into the fold as a result of the




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 806 of 1639
                                                                      0806

                                                                             99

 1 collapse.    Mr. Baggett said that those assets were worth, by

 2 his calculation, 1.4 billion, and I think we have a mistake

 3 here; we said 1.3.     He said that WildHorse is worth 1.4.         So

 4 it's not as if Legacy Chesapeake took on the responsibility for

 5 what used to be the WildHorse debt at the RBL in bonds.

 6 WildHorse itself remained responsible for that debt.           That

 7 wasn't TOUSA.     And on that fact alone, the Court could easily

 8 determine that TOUSA has no application here.

 9             And then, finally, I've already touched on this,

10 TOUSA had a board that was acting pursuant to the direction of

11 its controlling stockholder, and here Chesapeake had a

12 completely independent board that made the best judgment they

13 could in the interest of all its stakeholders.

14             So unless Your Honor has any questions, I'll move

15 onto 546.

16             THE COURT:    Yeah, I do not.     Thank you.

17             MR. ZENSKY:    Okay.   Again, I don't think that the

18 Court will ever need to reach this.        We only reached the

19 (indiscernible) if the Committee has colorable fraudulent

20 conveyance for preference claims.        Those have no legs to begin

21 with, but if they did, there is a very strong safe harbor

22 defense here, Your Honor.       And what we'll show momentarily is

23 that the WildHorse transfer, that's the pay down of the

24 holders, pay down to the holders pursuant to the tender offer,

25 the PBL debt.     The FILO lien and the 2L liens, those were all




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 807 of 1639
                                                                      0807

                                                                             100

 1 transfers that were made in connection with securities

 2 contracts, and they were made to or for the benefit of

 3 financial institutions.

 4             Let's go to the next page.       I'm going to go quickly

 5 through these, Your Honor, because these elements are not

 6 contested by the Committee.

 7             First, it's undoubted that we had transfers here.

 8 Indeed, the Committee couldn't avoid or seek to avoid these

 9 transactions unless there was a transfer.          So we're all agreed

10 that the payment to the holders of WildHorse debt, the issuance

11 of the FILO lien, and the issuance of the 2L lien all

12 constitute a transfer.

13             Next slide.

14             There's also no dispute that there were multiple

15 securities contracts at play here.        The first and most obvious,

16 Your Honor, is the WildHorse debt tender offer itself.            A

17 tender offer for debt or equity instrument is the

18 quintessential securities contact under the definition in the

19 Code of 101 -- excuse me -- 741(7)(A)(I), and that defines the

20 securities contract as a contract for the purchase, sale, or

21 loan of a security.      Excuse me.    So the Committee did not

22 dispute this in its papers.

23             Next, we also have the Uptier Exchange.         The Uptier

24 Exchange was effectively an offer or tender by the company for

25 holders of unsecured debt to send back their unsecured note and




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 808 of 1639
                                                                      0808

                                                                             101

 1 receive instead the new 2L notes, and there was also cash pay

 2 for accrued interest.      So this -- the Uptier Exchange in itself

 3 constitutes a securities contract under 741(7)(A)(vii), which

 4 says that a securities contract means, quote, "Any other

 5 agreement or transaction that is similar to an agreement or

 6 transaction referred to in this paragraph."          And I would

 7 submit, of course, an exchange offer is similar to a tender or

 8 purchase offer, and I don't believe there was any opposition to

 9 that in the Committee's papers.

10             Where the Committee takes issue with the 546(e)

11 defense is whether these transfers were in connection with the

12 securities contracts that I just identified.          Now, the law is

13 clear, and Mr. Stark is right.        These cases are from the Second

14 Circuit, and the Second Circuit has had the opportunity to rule

15 on many 546(e) cases.      That doesn't mean that these cases are

16 not properly cited, and the Committee has not pointed you to

17 cases that take a contrary view.

18             So we've excerpted here three cases that address the

19 breadth of the "in connection with" requirement in 546(e), Your

20 Honor.   And you can see that in Boston Generating, the standard

21 that the Court set was that the in-connection requirement sets

22 a low bar between the securities contract and the transfers

23 sought to be avoided.      In Judge Peck's Lehman decision, he said

24 that the words "in connection with" are to be interpreted

25 liberally and should be interpreted to simply mean related to.




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 809 of 1639
                                                                      0809

                                                                             102

 1 And then again we've cited the Second Circuit for the law-bar

 2 standard.    So let's apply that standard to our arguments here.

 3             So the first question is whether the FILO liens were

 4 issued in connection with the securities contract.           So Your

 5 Honor knows at this point that the FILO term loan was the way

 6 the debtors funded the WildHorse debt tender offer.           Those       two

 7 transactions were inextricably intertwined, and while the

 8 Committee changed its position on whether to collapse the

 9 Uptier Exchange and the WildHorse tender in its reply, there is

10 no dispute about this.       The FILO loan and the debt tender offer

11 are two sides of the same coin.        That was the only financing

12 available to the company to buy back the WildHorse notes, and

13 the documents explicitly condition one on the other.

14             The debt tender offer says on its face that the

15 closing is conditioned -- that the closing of the loan is

16 conditioned on getting consents to do the tender offer.            And

17 then, on the face of the debt tender offer, it says explicitly

18 that it can be made, quote, "In connection with the concurrent

19 secured term loan financing."

20             Now, of course, that's not dispositive of applying

21 the statute, but that's the way the transaction is described.

22 The FILO term loan is in connection with the debt tender offer.

23 And if the debt tender offer doesn't go forward, the loan

24 doesn't go forward, and if the loan doesn't go forward, the

25 debt tender offer doesn't go forward.




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 810 of 1639
                                                                      0810

                                                                             103

 1             So given that debt that was raised by the FILO

 2 facility was necessary and inextricably intertwined with the

 3 debt tender offer, we say that the liens at issue to secure

 4 that debt are a transferring connection with the securities

 5 contract.    That is the nub of the issue.       We say clearly in

 6 connection with and the Committee disputes that.

 7             Let me turn to the next page and discuss the

 8 SunEdison case and its facts, because they are exactly on point

 9 with what I just described, Your Honor.         And this is 620 B.R.

10 505.   In the SunEdison case, SunEdison contracted to buy

11 various equity interests in a separate, unaffiliated company

12 called First Wind and entered a purchase and sale agreement

13 back in 2014.

14             Now, to finance the purchase, it formed a special

15 purpose vehicle, a subsidiary called Seller Note, and Seller

16 Note in turn borrowed $350 million from the market in exchange

17 for exchangeable notes.      And then Seller Note transferred the

18 cash to Sun to buy the First Wind equity interest.           In order to

19 secure that financing, Sun transferred down to Seller Note, and

20 Seller Note transferred and posted as collateral equity

21 interest in various companies that Sun owned.

22             And that's the transfer that was being attacked in

23 this case, the pledge of stuff to the lenders that financed the

24 purchase and sale agreement transaction.         The analogs to our

25 case are on all fours.       The purchase and sale agreement is the




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 811 of 1639
                                                                      0811

                                                                             104

 1 analog to the WildHorse debt tender offer, right?           It's the

 2 securities contract and market transaction, and Judge Bernstein

 3 said it was.

 4             Then he went on citing that low-bar standard that the

 5 pledge of the collateral that the company had to do to secure

 6 that financing was a transfer in connection with the securities

 7 contract.    So that's the analog for the finding of law, and he

 8 said that that easily satisfies the "in connection with"

 9 requirement.

10             And just to sum it all up, he wrote, quote:

11             "The January 15th transfer" -- that's the pledge of

12             the stock -- "related to and was associated with the

13             2014 purchase and sale agreement" -- that's the

14             securities transaction -- "because it was the means

15             of affecting the partial payment of the purchase

16             price under the 2014 PSA through the issuance of the

17             exchangeable notes secured by the pledged

18             collateral."

19             And we think that that is sound reasoning and applies

20 here, Your Honor.

21             We also cited the Boston Generating case.         I'll skip

22 over that in the interest of time.        We've explained it in our

23 brief and also applies an in-connection requirement in a

24 materially similar way.

25             So the Committee's argument is, well, the FILO




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 812 of 1639
                                                                      0812

                                                                             105

 1 agreement itself in isolation is not a securities contract, and

 2 they're right.     But that's not the test.      The test is whether

 3 the FILO facility agreement and the lien at issue was entered

 4 in connection with a securities contract, that being the debt

 5 tender offer for the BBL notes, and I think we've just

 6 established that that's the case.

 7             Very briefly, the same argument holds true on the

 8 Uptier Exchange.     We've already discussed how the Uptier

 9 Exchange offer was a securities contract in its own right, and

10 the 2L lien which issued to secure the 2L notes was a transfer

11 in connection with that very securities contract and satisfies

12 the "in connection with" requirement.

13             The last prong, Your Honor, is whether these

14 transfers were made by (indiscernible) to the benefit of a

15 financial institution.       The FILO parties or the FILO group and

16 the 2L trustee have submitted briefing that all holders of this

17 debt are financial institutions by virtue of the agency

18 relationship with various banks.        Franklin adopted that

19 argument and I'll leave it to others to address that today.

20             Independent of that, Franklin itself is undoubtedly -

21 - or the Franklin entities that held the debt are financial

22 institutions.     You heard Mr. Circle's testimony that

23 100 percent of the BBL notes that were sold back in tender were

24 held by a 40 Act fund, 99 percent of the cash provided for the

25 FILO term loan came from Franklin funds that are 40 Act funds,




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 813 of 1639
                                                                      0813

                                                                             106

 1 and 97 percent of the funds that hold second lien notes and

 2 received    the second lien are 40 Act funds.

 3             And, of course, the 40 Act fund is an explicit

 4 financial institution under 101(22).         So whatever Your Honor

 5 rules with respect to the rest of this discussion and the

 6 creditors at whole, no fraudulent conveyance of preference

 7 claim can be made out against the Franklin entities.

 8             The last thing I want to say, and this relates to

 9 Lehman Brothers, and that goes to the underlying debt claims

10 and guaranties, Your Honor.       This is a very interesting

11 question that Judge Peck addressed in Lehman, and you may

12 remember the fact patterns here that (indiscernible)

13 JPMorgan's, according to the estate, of coercion from Lehman to

14 post substantial new collateral and issue guaranties from

15 various affiliates on the eve of Lehman's bankruptcy filing.

16 And in a very well art -- or discussed decision, Judge Peck

17 determined that none of the constructive fraudulent conveyance

18 claims or preference claims to void those liens could go

19 forward because they were all (indiscernible) to work for the

20 benefit of JPMorgan, which is a financial institution.

21             And that was notwithstanding the Committee's

22 arguments in that case that the entities that issued those

23 guaranties got no value for the guaranties or for the lien

24 (indiscernible).

25             The question that's relevant here, and that Judge




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 814 of 1639
                                                                      0814

                                                                             107

 1 Peck addressed, is what does that mean for the underlying debt

 2 claims?    And here the Committee is seeking to avoid the claim

 3 of Franklin for its FILO debt and its 2L debt in which Judge

 4 Peck said and ruled and has never been disputed, reversed, or

 5 questioned by any other Court, is that where the debtor or a

 6 committee cannot avoid a lien, it cannot avoid the underlying

 7 and connected debt claim.       Even though 546(e) on its face does

 8 not speak to obligations, it only speaks to transfers, it's a

 9 (indiscernible) victory to let a committee attack an underlying

10 debt claim if the lien stands.        And this goes to the very

11 purpose of the safe harbors, as well, to protect the very kind

12 of transactions that were conducted here.

13             And what Judge Peck said was that trying to avoid the

14 obligation is, quote:

15             "A dead-end for purposes of obtaining recovery, and

16             those obligations are resistant to successful

17             challenge because they connect so directly to

18             transfers that are exempt and beyond reach by virtue

19             of Section 546(e)."

20             Now, Your Honor doesn't have to rule on any of these

21 matters.    You're canvassing the issues, but the point here is

22 that there's an extraordinarily strong safe harbor defense that

23 has to be factored in to the settlement and the debtors'

24 refusal to bring the claims.

25             So the score card at the end of the day, Your Honor,




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 815 of 1639
                                                                      0815

                                                                             108

 1 on the next page, is that every one of the preference claims

 2 the Committee is asking for standing for or constructive

 3 fraudulent conveyance claims have either been withdrawn or are

 4 all subject to safe harbors, even assuming that there was a

 5 colorable case on solvency for lack of reasonably equivalent

 6 values.

 7              I'm going to skip over intentional fraudulent

 8 transfer.    We've briefed it.     I can't imagine on these facts

 9 how one could argue that any of the badges of fraud are present

10 or that these debtors intended to defraud any of their

11 creditors.

12              The last thing I'll touch on very briefly is the

13 preference claim -- excuse me, the attempt to work around the

14 absence of a preference claim through calling it a constructive

15 fraudulent conveyance or calling it unjust enrichment.

16 Ms. Schwarzman talked about this.        Your Honor, the 90 days is

17 the 90 days, and if Congress wanted to allow for preference

18 claims against non-insiders after 90 days, it would be in the

19 Code.

20              There is no legal basis to say that a lapsed

21 preference claim can be reasserted as a constructive fraudulent

22 conveyance claim or as unjust enrichment, and that's really the

23 beginning and end of this discussion.         I've already touched on

24 the lack of evidence to Cole Franklin insider, but just if you

25 had any doubt about the cognizability of these claims, Your




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 816 of 1639
                                                                      0816

                                                                             109

 1 Honor, we briefed the fact that the contemporaneous exchange

 2 for value defense would have applied and would mean that the

 3 preference claims would have no value even if you could

 4 resurrect it as a constructive fraudulent conveyance claim or

 5 as an unjust enrichment claim.

 6             So Your Honor is familiar with that defense

 7 effectively to preference claims and the inquiry about

 8 contemporaneous exchange.       We've excerpted the (indiscernible)

 9 Rivera case here, which has been cited in this district and

10 that is -- I believe by Judge Isgur actually -- that inquiry

11 should be focused on the risk of fraud, the intention of the

12 parties, the reason for the delay, and the nature of the

13 transaction.    And this defense is a flexible concept and

14 requires a case-by-case analysis.

15             You heard testimony from Mr. Circle about how

16 critical the issuance of the liens was through his willingness

17 to fund the FILO transaction, and you saw an email from

18 Mr. Circle to JPMorgan, in their capacity as the arrangers,

19 insisting that the debtors perfect the pledge of liens and

20 mortgages within 60 days.       That was the contemporaneous intent

21 of the parties to provide collateral for these loans, and there

22 was -- would be no FILO loan and no Uptier Exchange without the

23 issuance of the liens.

24             There's no fraud.     There's no rush to the courthouse

25 to dismember the debtor.       None of the policies underlying 547




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 817 of 1639
                                                                      0817

                                                                             110

 1 itself are present here.       The only issue is the industry that

 2 we're dealing in, and that you can't perfect thousands of

 3 mortgages the day after the credit is issued.          And Mr. Circle

 4 and the other lenders agreed that 60 days was an appropriate

 5 period of time.     And why did they agree to this?        If you look

 6 at Page 52, the industry standard is that it takes 60 to 90

 7 days to perfect the lien granted by an E&P company.

 8             And we pointed here to admitted exhibits -- Franklin

 9 Exhibits 10, 11, 12, and 13, with the ECF numbers, and these

10 are credit agreements by tier companies, all of which had 60-

11 or 90-day periods to perfect the pledge of collateral.            It was

12 perfectly reasonable for the creditors who were extending

13 credit or exchanging debt here to agree to a 60-day window, and

14 that should not be challenged after the fact as a lack of

15 substantially contemporaneous value.

16             The only case the Committee really cites here is

17 Judge Isgur's Bison Building Holdings case, Your Honor, and I

18 think Your Honor knows that on the facts, it has no obligation

19 to a multi-billion-dollar E&P company borrowing money.            It

20 involved the sale of a number of products to the debtor, with

21 the vendor taking credit terms and getting paid back 45 days

22 routinely after the issuance of the invoice, and Judge Isgur

23 rightly said that we don't have an intent for contemporaneous

24 exchange here, and that was the end of that.

25             So we don't think that that for a moment would




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 818 of 1639
                                                                      0818

                                                                             111

 1 undercut a 547(c)(1) defense.       Any holding to the contrary,

 2 Your Honor, would put lending practices at stake, and companies

 3 would be very wary of extending secured credit to an E&P

 4 company, particularly at the time it needed it most.

 5             So to sum up, Your Honor, again I started with the

 6 Franklin specific claims and that there's no -- nothing there.

 7 We've now layered in the 547(c)(1) defense, and you can see

 8 that -- next page, Laura -- all of the claims the Committee

 9 would like to assert here and that the debtors have settled for

10 more than fair consideration are lacking in merit, they're safe

11 harbored, or they're barred by 547(c)(1) and had no value, even

12 if they could be resurrected.

13             Unless Your Honor has any questions, that's all I

14 have.

15             THE COURT:    All right. I do not.      Thank you,

16 Mr. Zensky.

17             MR. ZENSKY:    Your Honor, I have one housekeeping

18 measure before I cede the podium.

19             THE COURT:    Yes, sir.

20             MR. ZENSKY:    And we can deal with this at lunch.            We

21 had emailed Mr. Alonzo about an error in the transcript of

22 Mr. Circle's testimony that was actually material.           No one has

23 objected to the -- what we had said in our email to Mr. Alonzo,

24 the correct transcript would be, having listened to the audio.

25 I don't know how Your Honor wants to deal with that, but we




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 819 of 1639
                                                                      0819

                                                                             112

 1 would like to correct the record at some point.

 2             THE COURT:    So what I -- thank you for reminding me

 3 about this.    I do not have the ability to unilaterally, without

 4 a record, modify a transcript.        So what I would like for you to

 5 do is, if you would file something, include a certification by

 6 the person that went through and did it and let me sign an

 7 order that becomes part of the public record.          I would ask that

 8 you circulate it amongst the parties that participated and that

 9 way, there is a clear and unambiguous, hey, we found a problem;

10 we brought it to everyone's attention, everyone was given an

11 opportunity to complain, and the Court signed an order with

12 full notice and opportunity to object by all concerned.            Can I

13 ask you to do that?

14             MR. ZENSKY:    Yes.   Of course, Your Honor.      Thank you

15 for that guidance.

16             THE COURT:    All right.    Thank you.

17             Mr. Schaible, are you next?

18             MR. SCHAIBLE:    I am, Your Honor.      Can you hear me

19 okay?

20             THE COURT:    I can hear you very well.       Before we get

21 started, do I need to give control to someone on your team or

22 to you?

23             MR. SCHAIBLE:    You do, Your Honor.      If you wouldn't

24 mind giving control actually to Mr. Schlaifer of Kirkland.

25             THE COURT:    All right.




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 820 of 1639
                                                                      0820

                                                                             113

 1             MR. SCHAIBLE:    I'm capable of some things, but

 2 running my own slides is not one of them.

 3             THE COURT:    Yeah.

 4             MR. SCHAIBLE:    Luckily, Mr. Schlafer was willing to

 5 do it for me.

 6             THE COURT:    We're going to keep working on that.

 7 He -- Mr. Schlafer has control, Mr. Schaible.          Whenever you're

 8 ready.

 9             MR. SCHAIBLE:    Thank you, Your Honor.       Your Honor,

10 for the record, Damian Schaible with Davis Polk.           I'm here with

11 a number of my colleagues, and we are appearing on behalf of

12 the Ad Hoc Group of FLLO Term Loan Lenders.

13             First, Your Honor, as the other parties did, I'd like

14 to offer extreme thanks to the Court and to Your Honor for the

15 time and the diligence through this long process and this very

16 long trial.    Also, as others have done, I'd like to offer great

17 commendation to the excellent lawyers on all sides.           It's been

18 a pleasure to be a part of this trial, Your Honor.

19             Your Honor, just about one day and one month ago, we

20 rose to urge Your Honor to confirm the debtors' plan of

21 reorganization.     We told Your Honor that the plan before the

22 Court represents a monumental achievement, a hard-fought,

23 value-maximizing, equitable settlement of potential estate

24 causes of action.     We told Your Honor that the plan would

25 provide these debtors with a fresh start and with the certainty




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 821 of 1639
                                                                      0821

                                                                             114

 1 and liquidity they need to emerge from bankruptcy in this

 2 challenging, uncertain environment and thrive as a going

 3 concern.    We told Your Honor we were confident that the

 4 evidence we presented at trial would bear all that out, that

 5 this plan not only satisfies the requirements of the Bankruptcy

 6 Code, but frankly, it represents the very best of restructuring

 7 practice.

 8             Your Honor, the plan sponsors have satisfied their

 9 burden, and we're proud to rise once more in support of the

10 confirmation.     Your Honor has heard a mountain of evidence in

11 these proceedings.     The debtors and counsel for Franklin have

12 ably summed up for you why this evidence more than suffices for

13 confirmation.     I see no reason to belabor the points they've

14 made, but I do want to just take a moment and spend some time

15 reviewing, from the perspective of the FLLO ad hoc group the

16 case for confirmation and why the Committee's objections just

17 do not pass muster.

18             We view the Committee's objections in this case, Your

19 Honor, as relating to two distinct moments in time:           the past,

20 which includes the events of April and May of 2020 and this

21 Court's entrance of orders on the DIP and the rights offering ,

22 both of which were entered and have become final, and then the

23 present.    I'm going to start with the past.

24             The Committee's challenge has been (indiscernible)

25 tell the story that we shared with Your Honor many times




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 822 of 1639
                                                                      0822

                                                                             115

 1 before, the story about -- that has now been borne out at a

 2 trial.   It's a story that begins with the world in the light of

 3 March of 2020, a price war between Russia and Saudi Arabia

 4 which sent unprecedented shocks through our oil and gas market,

 5 and the pandemic, which is unfortunately still with us today as

 6 we address Your Honor virtually, causing at the time and now

 7 unimaginable harm around the world, and at the time, shuttering

 8 much of the global economy.

 9             Your Honor heard at trial that the extreme state of

10 the world simply derailed Chesapeake's otherwise -- at the

11 time -- successful and longstanding commitment to deleverage

12 its balance sheet and left the company in need of a near-term

13 emergency restructuring.

14             The Committee, of course, tells a different story, a

15 story of secured lenders that took advantage of the foundering

16 enterprise, bringing a company to heel while leaving unsecured

17 creditor and other constituents worse for the wear.           But the

18 facts will never fit that story.        Neither does the evidence.

19 That version of the story, to borrow a phrase oft repeated

20 during these (indiscernible) is at home only in fantasyland.

21             So what happened?     What actually happened?      What has

22 the evidence shown?      The evidence has made plain that these

23 debtors enjoyed a position of massive leverage over their

24 secured creditors.     Back in 2019, as Your Honor knows -- in

25 December of 2019, as Your Honor knows, the FLLO lenders




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 823 of 1639
                                                                      0823

                                                                             116

 1 provided Chesapeake with a $1.5 billion new-money loan.            Then a

 2 mere few months later, Chesapeake called them up and threatened

 3 to file a (indiscernible) bankruptcy case specifically to avoid

 4 the lien securing that recently provided loan unless the FLLO

 5 lenders provided the debtors with a (indiscernible) value.

 6              At this point, I believe we should be putting Slide

 7 1.

 8              This is leverage that the debtors used, I must admit,

 9 very effectively.      They drove an extremely hard bargain.        And

10 the deal that we negotiated was a tough pill for a group of

11 secured lenders to swallow.       Full equitization.      Substantial

12 value for value to junior creditors, and the requirement to

13 provide a long-term and firm commitment to provide a

14 significant new money equity investment at a time of

15 nonexistent capital markets.

16              It's worth pausing here for a moment just on how

17 absurd the Committee's version of this story really is.            In the

18 Committee's telling, the FLLO ad hoc group overwhelmed the

19 Chesapeake board's independent business judgment as well as

20 that of Kirkland & Ellis and Wachtell Lipton and all of their

21 commitments, the fiduciary duty and professional responsibility

22 and (indiscernible) didn't take very much to do that.            Just one

23 letter in one slide deck.

24              We've known all along the Committee's story on this

25 score flew in the face of the truth.         Is it credible that a




        ACCESS TRANSCRIPTS, LLC                1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 824 of 1639
                                                                      0824

                                                                             117

 1 letter and a few slides, even from me, could send ambient

 2 restructuring professionals and a serious and independent

 3 public company board of directors cowering for cover?            The

 4 uncontrovuted -- uncontroverted -- excuse me -- evidence at

 5 trial showed an engaged Chesapeake board and a management team

 6 that did not in any way perceive the materials that we sent as

 7 a threat.    Nor did the materials cause them to change their

 8 course of action at all, and the slides that we're flipping

 9 through now show excerpts from the transcript that show that

10 clearly.

11             Rather, Mr. (indiscernible) testified that the

12 letter, quote, "did nothing" except to confirm that there was a

13 interest in reality to continue to try and negotiate the debt

14 to -- in other words, a value mathematical transaction.

15             Ultimately, Chesapeake chose at the direction of its

16 board to negotiate and RSA with its senior creditors rather

17 than fight them in court.       They chose to settle potential

18 causes of action rather than pursue them with endless,

19 expensive, uncertain litigation.        They chose a certain path to

20 bankruptcy with committed exit financing and a bright future as

21 a going concern over a free fall and the liquidation that may

22 well have ensued.

23             The linchpin of those April and May negotiations,

24 Your Honor, as you know, were the rights offering.           Your Honor

25 has heard the debtors recount this morning the testimony of




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 825 of 1639
                                                                      0825

                                                                             118

 1 Mr. Antinelli.     The rights offering, from the debtors'

 2 perspective, was a critical component of their plan to emerge

 3 from bankruptcy as a going concern.        Without that rights

 4 offering, the debtors could have no certainty that they'd be

 5 able to fund a Chapter 11 case and no clear path to exit from

 6 Chapter 11 with sufficient liquidity to operate on the other

 7 side.

 8             But wishing for something doesn't make it so.          The

 9 debtors weren't going to get this new money equity from just

10 anywhere, and as Your Honor heard from Mr. Antinelli and

11 Mr. Circle, capital markets at the time simply didn't exist.

12 The slides that we're putting up show that testimony.

13             In May 2020, there was simply no appetite to provide

14 an oil and gas company on the brink of bankruptcy $600 million

15 worth of equity.      Literally none.    And so the FLLO ad hoc group

16 and Franklin stepped up, in a time of unprecedented distress

17 and volatility, to provide the needed new money equity

18 investment.    Why?   Because the debtors successfully deployed

19 the substantial leverage (indiscernible).          They obtained a

20 rights offering that has allowed these debtors to shore up the

21 exit funding and liquidity (indiscernible) to remain

22 competitive into the future.

23             Your Honor, the Committee has tried, so far in vain,

24 to flip the new money equity commitment story on its head.                We

25 expect the Committee to expend significant time again today




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 826 of 1639
                                                                      0826

                                                                             119

 1 challenging the rights offering.        Rather than a vital shot in

 2 the arm, the Committee will describe the rights offering as an

 3 impermissible value drag at unsecured creditor's expense.             Your

 4 Honor should simply remain unpersuaded, and I'd like to take a

 5 few minutes to explain why.

 6             For starters, the Committee's arguments here are

 7 simply too little, too late.       They've been asked and answered.

 8 This Court has already approved the backstop commitment.             Your

 9 Honor may not countenance the Committee's attempts to

10 relitigate the past.

11             But even putting that aside, the Committee's

12 arguments here are simply without merit.         As the evidence at

13 trial showed and as we've reminded Your Honor all day today,

14 the debtors wrestled a rights offering from their secured

15 creditors by successfully using the leverage at their disposal

16 in order to obtain $600 million equity investment in a dark --

17 indeed a dormant -- time for the oil and gas capital market.

18             But not only that, Your Honor.       (Indiscernible) from

19 the FLLO ad hoc group, this remains open over an incredibly

20 long time frame.     The debtors, mind you, have always had the

21 opportunity to walk away.       For two months from when the

22 commitment was publicly announced until when Your Honor

23 approved the commitment, they could have walked away for free.

24 Post-approval, they'd just have to pay a break fee.           And Your

25 Honor heard Mr. Antinelli's testimony on this point.           The




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 827 of 1639
                                                                      0827

                                                                             120

 1 debtors would have been delighted to entertain a competing

 2 rights offering.

 3             We urge Your Honor to keep this in mind as the

 4 Committee claims that this rights offering wasn't market

 5 tested.    That's just wrong.     The terms of this rights offering

 6 were completely public and have been for many, many months.               At

 7 any point, an investor could have come along and proposed an

 8 alternative -- a committed alternative, an actionable

 9 alternative -- on more favorable terms.         And until this

10 morning's strategic and questionable half-proposal, no

11 proposal's even been received, let alone actionable

12 alternatives.

13             Your Honor, we deal with reality here, not the

14 hypothetical and not the fantastic, what our colleagues at

15 Kirkland & Ellis have repeatedly called the art of the

16 possible.    And this rights offering is the only committed,

17 enforceable, and actionable rights offering available to the

18 debtors today.     Nor is it the case that the FLLO ad hoc group

19 and Franklin pushed the debtors to use the total enterprise

20 value favorable to them.       To the contrary.     As the evidence

21 made clear, the $3.25 billion valuation came from the debtors.

22 We merely accepted it to be true.        In fact, the debtors made a

23 number of assumptions that we perhaps wouldn't have made to

24 ultimately increase that value to $3.25 billion.

25             Finally, we'd like the Court to consider the




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 828 of 1639
                                                                      0828

                                                                             121

 1 practical implication of the Committee's continuing challenge

 2 to the rights offering.      The participants of the rights

 3 offering, as Your Honor knows -- the participants of the rights

 4 offering, as Your Honor knows, the backstop party in

 5 particular, had held upon its commitment to purchase $600

 6 million worth of equity in a medium oil and gas company during

 7 a global pandemic for many months.        Volatility has worked in

 8 the debtors' favor recently and all the better.           But Your Honor

 9 well knows the volatility could have worked against the debtors

10 as well.    If it had, had $600 million at a 35 percent to a

11 $3.25 billion valuation become an unattractive investment, Your

12 Honor can be certain that these debtors would have held our

13 feet to the fire.     These new money investors would not have

14 been allowed to walk away.       That's the very nature of the

15 investment.    Sometimes it goes up.      Sometimes it goes down.

16 And blowing up this rights offering simply because markets have

17 improved since last June (indiscernible) long-term commitments

18 (indiscernible)     one-way options.     Investors on the hook, no

19 matter what.    Debtors allowed to walk away at their leisure.

20             The Committee has also tried, again in vain, to

21 relitigate aspects of the DIP order that this Court entered

22 more than five months ago that happen to be harmful to its

23 confirmation objection.      We expect the Committee to spend

24 significant time today arguing that the roll-up DIP loans

25 should somehow be treated as they were never rolled up, as if




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 829 of 1639
                                                                      0829

                                                                             122

 1 they were pre-petition RBL loans which should only be able to

 2 be permitted to recover from pre-petition RBL collateral even

 3 though the DIP loans were rolled up and there's deep additional

 4 collateral post-petition.       And even though this Court approved

 5 a surcharge waiver and a marshaling waiver.

 6              We expect the Committee to argue for a reverse

 7 marshaling of assets to ensure that secured creditor recoveries

 8 are minimized while unsecured creditor recoveries are

 9 maximized, even though the DIP order includes a marshaling

10 waiver.

11              Your Honor, I've enjoyed numerous long and multi-case

12 conversations with you on marshaling and we both understand one

13 thing:    that marshaling is a secured creditor remedy.           The

14 unsecured creditors simply have nothing to say about it.             But

15 also, again, the Committee's arguments here are too little, too

16 late.    This Court already approved the DIP order.         The

17 Committee did not appeal, and the Committee must now abide by

18 its terms.    Attempting to relitigate final orders entered many

19 months ago in support of a plan rejection should just not be

20 countenanced.

21              All of that brings us now, Your Honor, to now.

22 Fundamentally, before this Court is a settlement plan.            The

23 debtors have decided, in their sound business judgment that the

24 settlement embodied in this plan is fair and equitable and in

25 the best interest of the estate.        The evidence shows that the




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 830 of 1639
                                                                      0830

                                                                             123

 1 debtors reached this conclusion after carefully laying the

 2 benefits of the settlement against the likely rewards of

 3 litigation.    The debtors have chosen the settlement rather than

 4 litigation.    Reorganization rather than liquidation.         And we

 5 think the evidence has shown that the debtors have chosen

 6 wisely.

 7             Your Honor, we've covered the benefits of this value

 8 maximizing settlement at length.        It settles potential estate

 9 causes of action in exchange for significant concessions from

10 the FLLO ad hoc group, including subsequent recoveries to out

11 of the money creditors and to review equity financing.            In

12 every respect, the settlement is fair, equitable, and

13 reasonable.    And it provides a certain path to Chesapeake's

14 emergence from bankruptcy, well positioning Chesapeake to

15 thrive as a going concern upon exit.

16             All along, Your Honor, the Committee's ignored these

17 benefits.    Instead, it would set the company on a different

18 path of endless litigation against major constituency

19 (indiscernible) that would very possibly result in a value

20 destructive liquidation of the company.         The Committee has

21 steadfastly ignored the drawbacks and hurdles of litigation.

22 Were this Court to grant the Committee's standing motions --

23 and it manifestly should not.       The Committee would face a

24 steep -- and we believe insurmountable -- uphill legal battle

25 that could leave the carcass of these debtors on the




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 831 of 1639
                                                                      0831

                                                                             124

 1 battlefield.

 2             If you could turn to the slide.

 3             Your Honor, Mr. Zensky covered these claims, and I'm

 4 not going to go through them in extreme detail, but each and

 5 every one of these claims that the Committee's seeks to bring

 6 and the Committee believes the debtor should litigate rather

 7 than settle at best faces significant hurdles, and in our view,

 8 is utterly meritless.      The obstacles explained in detail in our

 9 papers and Mr. Zensky covered them and Ms. Schwarzman covered

10 them -- so there's no need for me to repeat them here.

11 However, I'm going to give to you what you've not heard after a

12 trial spanning nearly one month.        As we touched on earlier, you

13 have not heard any evidence that would support a claim that

14 FLLO ad hoc group aided or abetted breach to the fiduciary

15 duty.   To the contrary, the uncontroverted evidence

16 demonstrates that the debtors were not at all threatened by the

17 FLLO ad hoc group, that the debtors had the leverage in the

18 negotiations, and that the debtors board, management, and

19 advisors made a sound decision to use that leverage in pursuit

20 of a value-maximizing consensual deal.

21             The Committee's premise on the FLLO ad hoc groups

22 alleged bad acts aiding and abetting, unjust enrichment,

23 equitable subordination would just fail all the way.           There are

24 many and meaningful legal obstacles to this (indiscernible).

25             Your Honor, you've also heard (indiscernible) about




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 832 of 1639
                                                                      0832

                                                                             125

 1 the Committee's revival of preference causes of action.

 2 Revival is a misnomer.       This is a claim to imagine non pro tunc

 3 if the debtors actually filed for bankruptcy before May 14th,

 4 2020, and that they successfully prosecuted preference claims

 5 that never came to be.       There's simply no legal support for

 6 such a novel claim, and certainly nothing in the record

 7 supports crafting such a claim out of pure equity.

 8             Second, Your Honor, as set forth in detail in our

 9 papers, the Committee's proposed avoidance actions, the

10 preference claims, all of their (indiscernible) -- their

11 preference claims, their constructive fraudulent transfer

12 claims, and any (indiscernible) fraudulent transfer claims are

13 all barred in our view by Section 546(e).          We could engage in a

14 lengthy and fascinating legal argument on the merits of Section

15 546(e), but it's really a straightforward application of the

16 statute.    Mr. Zensky did a good job of beating that horse, so

17 to speak.    While he focused mostly on the WildHorse

18 transactions, all of the Committee's proposed avoidance claims

19 fail for the same reason.

20             The point here is that we believe it's a complete

21 defense to these claims that can be established as a matter of

22 law and basic undisputed fact, and as Mr. Zensky explained, the

23 key legal obstacle to the Committee's proposed claims would be

24 full litigated and would, in our view, result in the claims

25 coming to a quick conclusion.       Any assessment of the value of




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 833 of 1639
                                                                      0833

                                                                             126

 1 the Committee's claims and the reasonable and recommended

 2 settlement must face the very really risk posed by the Section

 3 546(e).

 4             Third, Your Honor, the record demonstrates amply that

 5 the TOUSA claims are utterly without merit, even if you set

 6 aside 546(e).     Certainly, there's been no evidence that

 7 Chesapeake sought to either delay or defraud creditors.            And as

 8 the debtors and Franklin explained at length, the FLLO provided

 9 numerous and meaningful benefit for Legacy Chesapeake.

10             Your Honor, the Committee's preferred path of

11 litigation is not just unlikely to return value to the estate.

12 It would be ruinously expensive, potentially hundreds of

13 millions of dollars in admin costs and professional fees and

14 enormously complicated.      The survey of recent fraudulent

15 transfer cases that we include in our confirmation brief makes

16 clear that the timeline would measure in years, not months, and

17 litigating the Committee's proposed complaints would undue all

18 of the certainty this settlement brings.         With settling comes

19 the sure path for reorganization and a bright future as a

20 viable going concern.      With litigation may well come

21 liquidation.    The debtors have more than reasonably avoided

22 that value-destructive path.       So too should Your Honor.       The

23 plan is satisfying the requirements of the Bankruptcy Code in

24 all respects, of course, but it does much more than that.            Two,

25 the plan maximizes value for these debtors and for all the




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 834 of 1639
                                                                      0834

                                                                             127

 1 stakeholders, including Chesapeake's more than 1,000 dedicated

 2 employees.    It provides these debtors with a fresh start, a

 3 sure footing, and a chance to emerge from bankruptcy as a

 4 thriving going concern, and it embodies the very best of the

 5 restructuring process.

 6              Your Honor, we respectfully submit the debtors and

 7 the plan sponsors have more than satisfied their burden of

 8 proof, and we ask that after considering the evidence

 9 presented, Your Honor enter an order confirming the debtors'

10 plan of reorganization.

11              Unless you have any questions, Your Honor, I will

12 just preserve time further, and I thank Your Honor.

13              THE COURT:   Thank you, Mr. Schaible.      I do not have

14 any questions.

15              Let me ask are there -- I'm sorry.       Ms. Hagle?    Thank

16 you.   Good morning.

17              MS. HAGLE:   Good morning, Your Honor.       Can you hear

18 me all right?

19              THE COURT:   Perfectly.    Thank you.

20              MS. HAGLE:   Thank you, Your Honor.      I think I'm on

21 deck, if that's okay with Your Honor.

22              THE COURT:   Of course it is.     I'm sure someone's got

23 a list that I just didn't get, so I'm just -- whoever pops up

24 will go next, so whenever you're ready.

25              MS. HAGLE:   Okay.   Thank you very much, Your Honor.




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 835 of 1639
                                                                      0835

                                                                             128

 1 Jennifer Hagle of Sidley Austin on behalf of MUFG Union Bank in

 2 its capacity of administrative agent under the DIP facility,

 3 the pre-certification senior revolving credit facility, and the

 4 proposed exit facilities.

 5              As you know, Your Honor, you have heard very little

 6 from MUFG over the course of this trial.         There is a reason for

 7 this.   Even though the Committee made reference to MUFG in

 8 certain of its draft pleadings and its opening, it never

 9 actually presented any evidence that would challenge MUFG's

10 rights under it's pre-petition documents, the DIP, or the plan.

11              According, at this point, MUFG's primary interest is

12 in the debtors' exit from bankruptcy in a time frame generally

13 consistent with the DIP facilities and the RSA milestones for

14 the benefit of all stakeholders, including the unsecured

15 creditors.    By all accounts, Your Honor, the bankruptcy process

16 has done in these cases what it was intended to do.           The

17 pre-petition settlement contemplated by the RSA has been

18 subjected to a vigorous, extended, and very transparent vetting

19 process.    In the end, the debtors have more than satisfied

20 their statutory burden to exit Chapter 11 with a strong

21 restructured balance sheet, adequately capitalized, and well

22 positioned to reclaim its competitive position as a leader in

23 the oil and gas market.

24              Your Honor, I will not attempt to rehash the closing

25 statements you've already heard.        Instead, I think it's




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 836 of 1639
                                                                      0836

                                                                             129

 1 important to look at what you did not hear over the course of

 2 the trial, especially as it affects MUFG.          In particular, I

 3 want to focus on a lack of evidence from the Committee

 4 regarding the need for a DIP and the need for an exit facility,

 5 the lack of evidence to support the technical complaint

 6 underlying the standing motion, and the lack of evidence

 7 supporting the proposition that this company could somehow

 8 survive as a going concern without confirmation of the debtors'

 9 plan.

10             First, let's take the lack of evidence against the

11 DIP.    The Committee, in their opening, and in particular, in

12 the lead-up to trial, argued that the DIP was somehow improper.

13 On December 4th, you responded to these baseless accusations

14 from the Committee by saying it, quote, "may even cross over a

15 line", end quote, and if the Committee wished to attack the

16 integrity of counsel, it should do so quote, "based upon an

17 evidentiary record, not someone simply making statements in the

18 public record", end quote.       Despite Your Honor's warning, in

19 the end, we are left with nothing but Committee counsel's

20 assertions and arguments.       Indeed, there is no evidence in the

21 record after 12 days of testimony that the DIP was negotiated

22 in bad faith, nor any evidence that can lead to an inference

23 that the DIP was the product of anything but a hard-fought

24 arms-length negotiation among sophisticated commercial parties.

25             Mr. Dell'Osso testified that the debtors need access




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 837 of 1639
                                                                      0837

                                                                             130

 1 to cash.    It should come as no surprise, and in fact, it came

 2 as no surprise to Your Honor at the final DIP hearing that he

 3 testified the debtors wanted more money and the DIP lenders

 4 wanted to commit less.       And in the end, surprise, a number

 5 somewhere in between was negotiated.         Again, it should not come

 6 as a startling revelation to any seasoned restructuring

 7 practitioner, let alone Your Honor.

 8              Mr. Antinelli discussed the DIP negotiation process

 9 in detail.    Reiterating his testimony from the DIP hearing, the

10 process was competitive, there was a specific competing DIP

11 proposal, and that MUFG and the DIP lenders ended up giving

12 significant concessions including delivery of a fully

13 negotiated exit financing package in an effort to reach

14 agreement on the final terms of the DIP.

15              The Committee introduced evidence showing that the

16 DIP borrowing ultimately ended up being lower than initially

17 forecast.    We don't dispute that fact.       That said, there is

18 simply nothing inappropriate, suspect, or even surprising about

19 that fact.    Experienced financial advisors routinely generate

20 conservative projections taking into account the unknown and

21 general volatility that accompanies a bankruptcy filing.            The

22 debtors' witnesses testified the commodity prices improved from

23 filing to today, improving the debtors' cash position.            And

24 finally, they also testified the Mid-Con sale further improved

25 the company's cash position by over $130 million that was not




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 838 of 1639
                                                                      0838

                                                                             131

 1 initially taken into account in the debtors' initial DIP

 2 budget.

 3             The fact that the debtors obtained the benefit of a

 4 number of unexpected positive financial developments should not

 5 now serve as a basis to call into question the appropriateness

 6 of the DIP terms as they were negotiated on the front end,

 7 especially in the context of unprecedented uncertainty and

 8 volatility in the oil and gas market.

 9             The Committee offered no evidence in rebuttal.

10 Instead, they simply regurgitated their arguments from the

11 final DIP hearing.     The Committee lost those arguments in

12 August.    In the following months, they did not appeal.          They

13 did not file a motion to reconsider.         If their utter failure to

14 support their argument with evidence was not enough, their

15 five-month failure to comply with the proper procedural steps

16 to contest the final DIP order certainly must doom their

17 arguments against the DIP.

18             Next, the lack of evidentiary and legal support for

19 the technicals complaint involving MUFG.         The Committee said in

20 their opening -- while defending our attempt at relitigating

21 the settled DIP order -- that quote, "everything in the

22 technicals complaint is an avoidance action, and therefore the

23 DIP lenders can only look to those otherwise unencumbered

24 assets last".     That is, to say the least, Your Honor, an

25 interesting position.      In making the argument, Your Honor may




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 839 of 1639
                                                                      0839

                                                                             132

 1 recall that the Committee's opening referred to the recent

 2 Chapter 11 proceedings for Legacy Reserves.          In that case,

 3 Judge Isgur was confronted with the very same need avoidance

 4 argument.    His response, and I quote, "This does not apply to

 5 anything that they're alleging is a defective lien, I don't

 6 think, because I don't think those are Chapter 5 recovery.

 7 They're simply not liens."

 8             Now, the Committee tries to strain their argument

 9 even further.     Avoidance action proceeds encompass not only

10 alleged defective liens, but also certain other assets that

11 everyone agrees and the debtors and secured creditors

12 stipulated were never encumbered in the first place.

13             Beyond the Committee's strained legal positions, the

14 Committee utterly failed to establish the value of the assets

15 referenced in the technical complaints that it argues are

16 unencumbered.     Indeed, the Committee's own expert testified

17 that he did not recall which counties had mortgages filed

18 inside the preference period on behalf of MUFG and which had

19 mortgages filed inside the preference period, only with respect

20 to the FLLOs and the 2Ls.

21             He further testified that if a mortgage was filed in

22 the preference period, he considered the asset subject to that

23 mortgage to be unencumbered in his analysis, regardless of

24 whether its essential prosecutions or the preference actions

25 would lead to avoidance of liens as to all three of the




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 840 of 1639
                                                                      0840

                                                                             133

 1 pre-petition funded debt facilities or only the FLLO and second

 2 lien.

 3             In other words, if a probably was mortgaged by the

 4 RBL lenders outside the preference period and then also

 5 mortgaged by the FLLO and 2L lenders inside the preference

 6 period, the Committee considered it unencumbered, even though

 7 it is not even alleged that the RBL lien is avoidable.            Bottom

 8 line, at the end of the day, it doesn't matter whether FLLO and

 9 2L mortgages might be subject to a preference claim if the RBL

10 mortgages are not because in that case, those assets are

11 nevertheless encumbered.       As a result, Your Honor, this

12 fundamental mistaken assumption destroys the credibility of the

13 Committee's valuation of unencumbered assets, even if its

14 technical complaint were to be successfully prosecuted in all

15 of other respects.

16             The Committee also argued in their opening the DIP

17 lenders would not look first to assets that were unencumbered

18 pre-petition.     Each side's experts made a legal assumption with

19 the debtors' expert assuming, on advice of counsel, that DIP

20 lenders would first look to otherwise unencumbered assets, and

21 the Committee's expert, assuming on advice of counsel, the DIP

22 lenders would collect pro rata from otherwise unencumbered and

23 encumbered assets.

24             For the same reason the Committee's unencumbered

25 asset valuation falls apart, the Committee's assumption on




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 841 of 1639
                                                                      0841

                                                                             134

 1 MUFG's enforcement of its DIP lien is simply not valid.            With

 2 only minor changes due to trading activity, the DIP lenders and

 3 the RBL lenders are virtually the same.         This is almost

 4 axiomatic in Chapter 11 proceedings implementing DIP financing.

 5 However, the Committee completely ignored that the liens

 6 securing the RBL, FLLO, and second liens overlap.

 7             Exhibit UCC-429, available at ACF2323-29, is in

 8 evidence, Your Honor.      That document is the creditor agreement

 9 between the secured creditors.        Section 2.04 of that agreement

10 provides, and I quote, "The parties hereto acknowledge and

11 agree that it is their intention that the priority lien

12 collateral, the second lien collateral, and the third lien

13 collateral be identical".       It then goes on to provide minor

14 enumerated exceptions.       The collateral trust agreement, also in

15 evidence, has similar language.

16             As pointed out by Ms. Schwarzman, it is simply

17 unreasonable to expect that a bank would weaken their own

18 collateral position when they have an alternative.           Why would a

19 bank want to risk recovering less on (indiscernible).            That is

20 precisely why MUFG negotiated so hard -- and believe me, Your

21 Honor, I was there -- to include the language addressing

22 marshaling in the DIP order, specifically, and I quote, "the

23 DIP agent may use commercially reasonable efforts to first

24 apply proceeds of the DIP collateral that is not existing

25 collateral to satisfy the DIP obligations before applying




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 842 of 1639
                                                                      0842

                                                                             135

 1 proceeds of DIP collateral that is existing collateral to

 2 satisfy the DIP obligations", end quote.

 3             Third, the Committee has offered no evidence showing

 4 that this company can survive indefinitely without the DIP

 5 financing and without exit financing and the rights offering.

 6 As Your Honor correctly pointed out during the direct of

 7 Mr. Baggett, the Committee has offered no evidence that the

 8 debtors have anything other than the two obvious options:

 9 confirmation or liquidation.       There's no in between compromised

10 position.    Without imminent confirmation, the DIP financing

11 will inevitably go into default.

12             The DIP order provides that confirmation must occur

13 by 195 days from the petition date.        Your Honor, that date was

14 last Saturday, January 9th.       I will represent to the Court that

15 the DIP lenders have granted a short extension of that

16 deadline, but you can be sure any further extended delay will

17 most certainly put the DIP financing at risk of default and

18 termination.

19             An open-ended extension with no plan in place during

20 which time going concern value is somehow miraculously

21 preserved is simply not a reasonable assumption, and of course,

22 the Committee has offered no evidence to the contrary.

23             Your Honor knows this is a large and complex case.

24 Even with a highly negotiated pre-petition RSA, the tenure of

25 the bankruptcy has now spanned over seven months.           As




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 843 of 1639
                                                                      0843

                                                                             136

 1 Mr. Schaible pointed out with respect to the rights offering,

 2 the DIP and exit commitments have been in place for that entire

 3 time, patiently waiting for confirmation, during a period of

 4 unquestioned market uncertainty.        Without confirmation, the DIP

 5 will go in default and could terminate.         The DIP in default,

 6 the termination of that will also likely be triggered under the

 7 RSA.    And the debtors will be left to wallow in a free fall

 8 bankruptcy with no exit in sight, without access to capital, in

 9 a price environment that remains volatile, compounded by

10 political unrest and a raging pandemic.

11             Your Honor, I'm not going to rehash the debtors'

12 arguments in support of the plan, but we certainly join in the

13 argument and submit that they have satisfied their burden.                The

14 Committee has simply failed to present the evidence to support

15 their objection and their standing motion, and we respectfully

16 the Court deny the Committee's standing motion and confirm the

17 plan.

18             Thank you, Your Honor.

19             THE COURT:    Thank you, Ms. Hagle.

20             Anyone else wish to make argument that supports

21 confirmation of the proposed plan?

22             Mr. Mitchell?    Mr. Mitchell?

23             MR. MITCHELL:    Your Honor, can you hear me okay?

24             THE COURT:    Very well.    You got a new headset.

25             MR. MITCHELL:    Thank you.    Well, I'm actually in the




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 844 of 1639
                                                                      0844

                                                                             137

 1 office today, Your Honor, so I have a new background too, so --

 2             THE COURT:    Ah, got it.

 3             MR. MITCHELL:    Appreciate it.     Thank Your Honor.

 4             And Your Honor, I don't need anybody to take control.

 5 Just a couple of minutes from Energy Transfer, if you don't

 6 mind.

 7             THE COURT:    Certainly.

 8             MR. MITCHELL:    Good morning, Your Honor.       Again, John

 9 Mitchell for Energy Transfer.

10             Your Honor, about a month ago, when I gave opening

11 remarks on behalf of Energy Transfer, to start this

12 confirmation trial in opposition to the plan, I reminded the

13 Court of the long and substantial history between Energy and

14 Transfer and Chesapeake.       And even though Energy Transfer

15 likely was the largest single unsecured creditor and likely had

16 a longer relationship with Chesapeake than any other creditor

17 in these cases, it was not invited to participate in the

18 pre-petition restructuring discussions.         Instead, one of the

19 debtors' first steps in this case was to pursue litigation

20 against Energy Transfer and depending on how that litigation

21 would ultimately play out, Energy Transfer would hold unsecured

22 claims against these estates in the billions of dollars.

23             And due in large part to the proposed treatment of

24 those unsecured claims, including the unfair and disparate

25 treatment among unsecured creditors, Energy Transfer objected




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 845 of 1639
                                                                      0845

                                                                             138

 1 to the plan.    But I rise today to express Energy Transfer's

 2 support of the plan, and should the Court approve a compromise

 3 that will be brought before you very soon, Energy Transfer and

 4 Chesapeake will have laid the groundwork for commercial --

 5 excuse me -- a continued robust commercial relationship that

 6 hopefully will last for years to come.

 7             Now, it's important for Your Honor to understand that

 8 the agreement reached between Energy Transfer and the debtors

 9 likely would not have occurred had the debtors not heeded this

10 Court's comments and amended their plan to provide parity and

11 treatment among classes 6 and 7.

12             Now, the Court will recall an interesting

13 cross-examination of Mr. Lawler, the debtors' CEO, when a

14 dialogue ensued between my co-counsel Mr. Yetter and Mr. Lawler

15 about whether or not there was or wasn't a commercial deal.

16 And while that isn't necessarily the purpose behind a

17 confirmation trial or even cross-examination for that matter,

18 it certainly led to a concerted effort by both parties over the

19 holidays, concurrently with the ongoing of this trial, to get

20 the deal done, and key to getting that deal done were the

21 modifications contained in the fourth amended plan and the

22 proposed treatment of the unsecured creditors contained

23 therein.

24             Now, Your Honor, the plan isn't perfect, and yes,

25 Ms. Schwarzman, Energy Transfer certainly would have wanted




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 846 of 1639
                                                                      0846

                                                                             139

 1 more.   But it is a fair treatment of the unsecured creditors.

 2 Energy Transfer would urge the Court to confirm the plan as

 3 proposed.

 4             Your Honor, if I might just reserve a couple minutes

 5 for rebuttal, if necessary.

 6             THE COURT:    Of course.

 7             MR. MITCHELL:    Thank you.

 8             THE COURT:    No.   Thank you for your statements,

 9 Mr. Mitchell.

10             Let me -- Mr. Siegel, I think came on the same time

11 as mr. Mitchell, so let me take him next.

12             Mr. Siegel?

13             MR. SIEGEL:    Thank you, Your Honor.      First, I want to

14 join with everyone in thanking the Court and all of the court

15 officials and their patience and their availability in going

16 through this remarkable Zoom confirmation hearing.           I know this

17 is not Zoom but it's --

18             THE COURT:    Yeah.   This --

19             MR. SIEGEL:    -- we all call it Zoom.

20             THE COURT:    -- the folks at GoToMeeting would be very

21 upset with you.

22             MR. SIEGEL:    Yes.   And I will try to only call it

23 GoToMeeting going forward.

24             I also just want to say how I marvel at the skill of

25 all the lawyers who made their presentations during this




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 847 of 1639
                                                                      0847

                                                                             140

 1 incredibly difficult trial and I think we should all be very

 2 pleased that in this really difficult time, we've found a way

 3 to do our jobs and try and allow this company (indiscernible).

 4             THE COURT:    I agree.

 5             MR. SIEGEL:    Having said that, Your Honor, I just

 6 want -- I don't have much to say, but specifically, all we

 7 really wanted to say is just really nothing has changed from

 8 our opening.    At the end of the day, we do not believe that the

 9 creditors' committee has done anything to overcome the debtors'

10 case to further the plan.       We think that they have not

11 demonstrated, absent the lawsuit, that they can meet the -- or

12 they can (indiscernible) the confirmation requirement.

13                And with respect to the lawsuit, we do not think

14 they have demonstrated that there's any justification for the

15 sale.   In particular, as it reflects our holders, we do want to

16 make the point that we don't believe that they've instituted

17 anything that overcomes the safe harbor protection that 2L

18 holders have.     And additionally, they have not demonstrated how

19 they can fashion a remedy that would not inevitably harm

20 innocent 2L investors who invested in this caper without

21 participating in any of the prior actions they suggest were

22 perpetrated on the company of the unsecured creditors.            And --

23 actually, that's really it.

24             Thank you very much, and I'm happy to cede

25 (indiscernible).




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 848 of 1639
                                                                      0848

                                                                             141

 1              THE COURT:   Thank you, Mr. Siegel.

 2              I think -- and I'm going to get this wrong.         And I do

 3 apologize.    Is it Mr. Geoghan?      You -- I can see you talking to

 4 me.   I cannot hear you.      Had you hit "five star" or do you have

 5 yourself muted from your end?        So you hadn't hit "five star."

 6 You have hit "five star."       But you don't have yourself muted

 7 from your side.     Want to give me another try?       Oh, there you

 8 go.   Oh, there you go.      646 number?

 9              MR. GEOGHAN:    Yes, Your Honor.

10              THE COURT:   Got it.    All right.    My apologies.    And

11 tell me your name, and I apologize for getting it wrong.

12              MR. GEOGHAN:    No worries, Your Honor.      Dan Geoghan

13 from Cole Shotz.

14              THE COURT:   Geoghan.    Thank you.    My apologies, sir.

15 Geoghan.

16              MR. GEOGHAN:    No worries, Your Honor.      No worries.

17              Your Honor, Dan Geoghan from Cole Shotz here with

18 some of the members of our team and the Arnold & Porter team.

19 Your Honor, we represent G-L-A-S, GLAS LLC as the term agent

20 for the term loan.

21              Your Honor, we will be the briefest of all.         We rise

22 to join the arguments that were made by the debtors, the

23 lenders, and the other parties thus far.          We will not -- excuse

24 me -- in confirmation -- in support of confirmation of the

25 plan.   We're not going to provide a closing at this time, and




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 849 of 1639
                                                                      0849

                                                                             142

 1 instead, we'll reserve any time for rebuttal if necessary.

 2             THE COURT:    Thank you for your statement, sir.

 3 And -- all right.

 4             MR. GEOGHAN:     Thank you, Your Honor.

 5             THE COURT:    Thank you.

 6             Let's see.    I think -- Mr. Binford, I think you were

 7 next.

 8             MR. BINFORD:     Good afternoon, Your Honor.      Jason

 9 Binford representing the Attorney General's Office on behalf of

10 the Texas Controller, Unclaimed Property Division.           We are

11 among the parties, which it looks like our turn to speak, which

12 objected to the plan but are no longer objecting to the plan

13 because we worked things out.       The language that we agreed to

14 is at paragraphs 178 through 181 of the confirmation order.                We

15 hope that those high numbers of paragraph doesn't take away

16 from how important we consider this issue.

17             And I am going to advise that -- put on the record

18 what I told debtors' counsel that I was going to do which is in

19 paragraph 181, it is a general reservation of rights for

20 important issues including pending matters, and by pending

21 matters, my understanding of that is that this does not resolve

22 the adversary proceeding that the Texas controller brought

23 regarding the declarations we are seeking from this Court.                So

24 we will -- we do intend to go forward with that adversary

25 proceeding.    It's just important that there's no




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 850 of 1639
                                                                      0850

                                                                             143

 1 misunderstanding about that.

 2             But we are pleased with the language that we have in

 3 the confirmation order and do not oppose confirmation.

 4             THE COURT:    Got it.   So Mr. Binford, I appreciate you

 5 working through the issues.       I have had an opportunity to read

 6 the redlines, and you know, all the interesting stuff is always

 7 at the end in the high numbers.        So that's -- I had ample

 8 opportunity to see it.       I appreciate you working through it,

 9 and we'll deal with the other remaining pending matters in due

10 course.

11             MR. BINFORD:     Thank Your Honor.

12             THE COURT:    Thank you.

13             All right, Ms. Brown?

14             MS. BROWN:    Yes, Your Honor.     If I could have the

15 screen as well.

16             THE COURT:    Everyone's going to watch because

17 everyone's going to be amazed that you're going to do this

18 yourself.

19             MS. BROWN:    Now you just jinxed me.

20             THE COURT:    All right.    You should have it.

21             MS. BROWN:    Now, I never know if you can see it.            Do

22 you have it up there?

23             THE COURT:    So I will tell you when you can see it in

24 the little box that will come up on your screen, that's when we

25 all can see it.     So you can't see it because I can see it in




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 851 of 1639
                                                                      0851

                                                                             144

 1 your glasses -- you can't see the little box yet, and neither

 2 can we.

 3             So if you share your screen, then you'll get the box

 4 as to what you want to share, be it an application or a screen.

 5             MS. BROWN:    Well, you know, I'm just going to do it

 6 without it.    I don't understand why it's not coming up.

 7             THE COURT:    I did not mean to jinx you.       The system

 8 confirms that you have control.

 9             So when you click on the bottom, on screen, what does

10 it do?

11             MS. BROWN:    Yes.   I clicked on that and my main

12 monitor, and it's not coming up.

13             THE COURT:    Well, no.    So it will -- it won't

14 necessarily come up on your main monitor.          There you go.

15             MS. BROWN:    All right.    There we go.    Okay.

16             Thank Your Honor for walking me through that.

17             So we'll just start with what's the big issue for us.

18 The largest stakeholder here at 237,000 royalty owners.            And we

19 heard some discussion during the opening about all parties and

20 wanting to make sure all parties were involved in the plan

21 process.    We are now, but we weren't prior, and that's been a

22 big issue in the case, and we don't want that to go unnoticed.

23 But we are here to support confirmation of the plan.

24             In that support of the confirmation of the plan, we

25 do want to make a couple comments just going forward because




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 852 of 1639
                                                                      0852

                                                                             145

 1 there are some royalty owners that I believe are still

 2 objecting.    Almost all, I believe, have reached some type of

 3 concession or agreement with the debtor, but there are some

 4 outliers.

 5              And just to kind of explain the process that royalty

 6 went through, the royalty committee is constituted to represent

 7 the small royalty owner interest.        The royalty committee

 8 members should be recognized and commended for their service.

 9 They have been diligently following along in the process,

10 reading everything we send them, asking questions, and having

11 meetings.    These aren't royalty owners that have a lot of legal

12 experience.    Some have some oil and gas experience.         One is a

13 farmer in Louisiana whose talking to you while he's building

14 his fence.    There's others that were -- one is a former

15 legislator from Pennsylvania who lives in a small country town

16 as well whose husband actually handled all her royalty

17 interests and passed away recently.        These are people who

18 understand the every day issues for royalty owners.

19              And as discussed in the testimony, it's been

20 uncertain times.     We would like to thank the Court for all his

21 time and effort in this case.       Last Wednesday was an

22 exceptional day, where the Court was dealing with a multitude

23 of issues and never missed a beat, and we really appreciate the

24 Court's savvy in dealing with the electronic issues that come

25 up in this new world and being able to keep the case going in




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 853 of 1639
                                                                      0853

                                                                             146

 1 the way that it has.

 2              The royalty committee's priorities have been to be

 3 professional, pragmatic, and practical.         Have we heard

 4 frustration from all the Committee members?          Yes.   Is there

 5 anger at Chesapeake?      Yes.   But their role, as they see it, was

 6 to be pragmatic and to move forward with the best treatment for

 7 royalty owners generally.        The resources they wanted royalty

 8 owners to have included somebody that they could ask questions

 9 to, such as us.     We were told to answer every call that we had.

10 If there was a proof of claim question, whatever the question,

11 answer the call.     And when it came to the plan process, they

12 wanted that to be simplified for royalty owners, and we put

13 together a video so that royalty owners could understand that

14 process.

15              Here's some of the problem for the royalty committee.

16 They were dealing with diverse interests with people from

17 different states with different laws and different strengths to

18 their claims.     Pennsylvania, Oklahoma, Texas, Louisiana,

19 Wyoming, Ohio.     And as the Court well knows, there are

20 different rights that are assigned to all of those royalty

21 owners based on the law of those states.         In the original plan,

22 the debtors wanted to treat all royalty owners as unsecured

23 creditors.    We were able to get that change whittled away

24 pretty quickly, because they're not all unsecured creditors.

25 They all have different interests that they'll have to




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 854 of 1639
                                                                      0854

                                                                             147

 1 preserve, reserve, and prosecute, at some point.           The plan

 2 today says that secured claims are secured claims.           Unsecured

 3 claims are unsecured claims, and you have the option of going

 4 with a convenience class or the equity option.          And those that

 5 are claims that it's not property of state are able to pursue

 6 those claims.

 7             And I need to make it known that yes, the royalty

 8 committee did want funds segregated.         That was a big sticking

 9 point for royalty committee members.         They wanted financial

10 control.    In some ways, we wanted to -- the royalty committee

11 members wanted to have added protections that may not have been

12 in the leases.     So from a legal perspective, while that was a

13 goal, there wasn't necessarily a lot of standing to make that a

14 reality without the consent of the royalty owners on those

15 leases as well as the debtors.        So they understood that as a

16 practical matter, but also wanted the pitch to be made that the

17 funds should be segregated as a good business practice, and

18 hopefully, the debtors will be doing that in the future -- the

19 reorganized debtors, I should say.

20             Nothing prohibits a royalty owner who has a claim

21 that property is not property from the estate from pursuing

22 those claims as I appreciate the plan and seeking a remedy at a

23 later point in time to segregate whatever that disputed amount

24 is, seek injunctive relief, or do whatever it is to protect

25 those rights.     The royalty committee could not protect the




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 855 of 1639
                                                                      0855

                                                                             148

 1 rights of 237,000 parties on the specific fact that relate to

 2 each of their claims, and so what it worked to do is to come up

 3 with the most general language that is as protected as

 4 possible.    And I think as the Court may agree, that language

 5 became more and more protected as time went on, and I think

 6 it's a much better position than we started with the first

 7 plan.

 8             Here's where we were at thee opening -- on a perilous

 9 fence with alligators and crocodiles on one side or the other.

10 Here's where we are today.       We're on a more stable fence, but

11 still cautious, and a bit cloudy because there are some

12 interests that will have to be pursued post-confirmation.            But

13 as an administrative claim, a claim that's not property of the

14 estate, and all royalty owners need to know that, that it's not

15 final.   If you've got claims during that gap period, after the

16 petition was filed and before confirmation, there are still

17 rights to be pursued.      And I don't use a dog just because the

18 Court has made it known that he likes dogs, but because there's

19 a symbolism there, and I hope that Chesapeake sees that

20 symbolism and honors the loyalty of the royalty owners going

21 forward.

22             The royalty committee raised a series of objections:

23 increase the time to allow for admin claims, check.           That's

24 been done in the new plan, 120 days.         Modify the term language

25 in Article 4, check.      That's been done.     Adopt basic financial




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 856 of 1639
                                                                      0856

                                                                             149

 1 controls.    We failed on that, but we did have an attestation

 2 that they will follow the law and the rules and provide the

 3 disclosures that are required under the law, and so that those

 4 reading that order will know that they can go look to what

 5 their state law is and the provisions that allow for open

 6 access to their royalty information.         We asked for a simplified

 7 claims management process, check.        That's been done.

 8             So for the most part, the Committee's objections have

 9 been resolved one way or another -- maybe not as we proposed or

10 that has -- as we would have liked, but it does make it better

11 for royalty owners going forward.

12             We told the Court during opening that the testimony

13 was so -- almost a wholesale lack of interest including royalty

14 in the plan discussions, and while we did a standstill with the

15 debtors after we came to an agreement, we actually had

16 testimony showing that that was exactly the case.           And that is

17 Mr. Lawler's testimony on the first day, where he acknowledged

18 that there was nothing in the plan process that dealt with

19 whether they were unsecured, secured, or how a royalty would be

20 treated.    And I'm not stating this to put any type of blame on

21 the debtors or to castigate the debtors in any way, but we

22 heard from debtors' counsel today that there was a proposal

23 that was submitted late last night to the unsecured creditors'

24 committee and the debtors, and that was filed early this

25 morning.    Those parties also seemed to wholesale reject the




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 857 of 1639
                                                                      0857

                                                                             150

 1 importance of royalty owners in the company, because they

 2 didn't think to reach out to the royalty as they made that

 3 proposition.    And so going forward, I think all stakeholders in

 4 the case, all stakeholders who own an interest in the debtor

 5 going forward need to recognize the importance of royalty

 6 owners.    And while this may be standing on a soap box a bit,

 7 I'm going to do that.      I would encourage some of the suits to

 8 go to Louisiana, go to Mansfield, meet with some of these

 9 people, get a better appreciation for what you're dealing with

10 and not just looking at it in dollars and cents.

11             We heard some hyperbole as well, both in openings or

12 testimony and during argument throughout the trial.           Let's just

13 put the hyperbole aside and start a process that the debtors, I

14 believe, have started, to treating the debtors' business in a

15 better, more professional way, and treating royalty with the

16 respect that they deserve.

17             I missed my boat here.      It's not nirvana, as the

18 debtors said, but the royalty community does support

19 confirmation, and we do thank that the debtors, the UCC, their

20 counsel, and the Court for the time and energy put into this,

21 and we have the best of hopes that Chesapeake reorganizes and

22 does well in the future.

23             Thank you, Your Honor.

24             THE COURT:    Ms. Brown, thank you.      I want to take

25 just a moment because I don't want to forget this.           I




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 858 of 1639
                                                                      0858

                                                                             151

 1 understand what you've undertaken, and I understand that

 2 process that you've gone through.        I thank you and your firm

 3 for what you've done.      You've listened.     You have been very

 4 balanced and even-handed, and I very much appreciate that.

 5 You've reduced what could have been a roar to a very

 6 professional, easy-to-understand issue, and I know the debtor

 7 hears you when you tell them, on behalf of 237,000 people or

 8 entities, that they need to be good stewards.          I hear it.    I

 9 know they heard it.      And I thank you for your involvement.

10             MS. BROWN:    Thank you, Your Honor.

11             THE COURT:    Anyone else that supports confirmation

12 that wishes to make any closing arguments?

13             All right.    Mr. Stark --

14             MS. SMITH:    Your Honor?

15             THE COURT:    Yeah.

16             MS. SMITH:    Frances Smith.

17             THE COURT:    I'm sorry, Ms. Smith.

18             MS. SMITH:    Can you hear me, Your Honor.

19             THE COURT:    I can hear you.     I can't see you.      I know

20 I saw you early this morning.

21             MS. SMITH:    (Audio interference) camera on active.

22             THE COURT:    Okay.   Then Ms. Smith, are there comments

23 that you wanted to make.       I wish you could be on video, but if

24 you can't, then we'll just do it by audio.

25             MS. SMITH:    Judge, it seems it's having a hard




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 859 of 1639
                                                                      0859

                                                                             152

 1 time -- the software's having a hard time loading.

 2             THE COURT:    Okay.

 3             MS. SMITH:    Your Honor, Frances Smith of Ross and

 4 Smith on behalf of the Petty Business Enterprise, LP and their

 5 related entities.

 6             THE COURT:    Yes, ma'am.

 7             MS. SMITH:    Your Honor, the Petty entities support

 8 plan confirmation today.       At the beginning of the case,

 9 Ms. Ross advised this Court that the Petty entities wanted this

10 debtor to survive, and that is still Petty's desire, that this

11 company survive.     Petty has negotiated changes to the plan and

12 to the confirmation order that preserve its rights to continue

13 its attempts to get paid on its pre-petition claims and

14 preserve its rights going forward, but for purposes of today,

15 Petty is satisfied and would like the plan to be confirmed.

16             THE COURT:    All right.    Thank you, Ms. Smith.

17             Anyone else?

18             All right.    Then, Mr. Stark, my thought was is that I

19 give you the lunch break to sort of incorporate anything that

20 you heard into your closing or to sort of think through what

21 you heard and react to if you want to.         Also, if you don't need

22 it and you want to go ahead right now, we can -- I'm perfectly

23 happy unless someone's got an issue -- I'm perfectly to take a

24 10 or 15-minute break and then just let you get started.

25             MR. STARK:    Your Honor, can you hear me?




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 860 of 1639
                                                                      0860

                                                                             153

 1             THE COURT:    Yes, sir.

 2             MR. STARK:    Oh, thank you, Your Honor.       You know,

 3 I've been listening very intently to what everybody has said.

 4 I've made copious notes.       I've made them in my outline.        I

 5 don't really believe I need a lot more time.

 6             THE COURT:    Okay.

 7             MR. STARK:    But we're going to spend some time

 8 together, just little ole me versus the world, and we should

 9 talk for awhile, so if Your Honor would like a lunch break, I'm

10 happy to accommodate whatever Your Honor wants.           But I'm

11 otherwise ready to go.

12             THE COURT:    Let's do this, just -- because I've --

13 we've got the entire day, and I haven't even given folks a --

14 of course, most people have turned their cameras off so they

15 can walk away when they want.       Let's do this.     It is 12:30.

16 Let's take a break until 1:15.        Would that work?

17             MR. STARK:    Certainly, whatever works for the Court.

18             THE COURT:    All right.    And so I will tell folks,

19 just because I'm looking at the number of people that are on

20 the video, don't terminate the meeting because you may not get

21 back on.    There have been in excess of -- there have been in

22 excess of 500 people that have tried to get on.           As you know,

23 the video is limited to 251, the audio to 400.          So what I'm

24 going to do is I'm just going to leave -- I'm going to mute

25 everything, but I'm not going to turn anything off, and I urge




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 861 of 1639
                                                                      0861

                                                                             154

 1 you to do the same, just so we don't have problems when we come

 2 back at 1:15.     All right?

 3              MR. STARK:   Your Honor, before we break, Your Honor,

 4 may I just ask one question, please?

 5              THE COURT:   Of course.

 6              MR. STARK:   We have a set of slides, and I wanted to

 7 just to make sure Your Honor has them, and I just didn't -- I

 8 know that's it's important sometimes to have a hard copy.

 9 There we go.    All right.     So I don't need to send somebody over

10 there quick.

11              THE COURT:   Nope.   They walked in the courtroom as we

12 were talking and delivered the package.

13              MR. STARK:   Perfect.    Okay.     Thank you, Your Honor.

14 All right.    We'll see you shortly.

15              THE COURT:   All right.    Thank you.     We'll be

16 adjourned until 1:15, Central time.

17       (Recess taken at 12:27 p.m.)

18       (Proceedings resumed at 1:15 p.m.)

19              THE COURT:   Good afternoon, everyone.        This is Judge

20 Jones.   The time is 1:15.      Today is January the 13th, 2021.

21 It's the continued closing arguments in the confirmation

22 hearings in Case Number 20-33233, Chesapeake Energy

23 Corporation.

24              Mr. Stark, whenever you're ready.

25              MR. STARK:   Thank you, Your Honor.       First and




      ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 862 of 1639
                                                                      0862

                                                                             155

 1 foremost, can Your Honor see me?

 2              THE COURT:   Very well.

 3              MR. STARK:   Am I coming through on my -- okay, good.

 4 Thank you.

 5              I can't help but start by saying throughout the

 6 entirety of this case, I desperately wanted to be in the

 7 courtroom, and no more than at this moment right now.            This has

 8 been a very trying experience obviously for everybody.            We'll

 9 talk about that in just a minute, but really to have a good,

10 thoughtful, analytical conversation about everything that's

11 going on really should be done in person, and I really sorely

12 miss that opportunity.

13              So forgive me, Your Honor, if at a point I become

14 colloquial.    I'll pretend that I'm in the courtroom with you,

15 and maybe I can even (indiscernible) you even to ask me

16 questions and we can engage on some of these very tough topics,

17 because they are tough.

18              But I do first want to express, as every -- as all of

19 the other professionals did, our thanks to the Court and the

20 staff, but more so in a little bit of a different way.

21 Fighting the deal in this kind of scenario where the company

22 controls the timing and the narrative, and as many different

23 wonderful law firms that we're against, you had many bleary-

24 eyed committee professionals in your courtroom who were

25 inelegant at various different points in time.          So we do very




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 863 of 1639
                                                                      0863

                                                                             156

 1 much appreciate the patience in allowing us to get it in.

 2 Sometimes it was a little bit more by sledgehammer than

 3 otherwise intended, but I think it's there and I think we can

 4 talk about what it all means now.

 5             I also do want to congratulate all of my opposing

 6 counsel.    Your Honor knows the respect and affection I have for

 7 Ms. Schwarzman, Mr. Nash, and Mr. Schaible, but also

 8 Mr. Zensky, who I've known for 20 years.         We've had a very

 9 interesting trial with lots of very interesting issues, and now

10 it's time to actually unpack it.

11             As I said at an earlier hearing, I used a gloss of a

12 farm animal that somebody put lipstick on, but -- and that's

13 inappropriate.     But a lot of the narrative is surface and a lot

14 of it was not -- is more in the documents than it is in the

15 persona that presents on the stand.        And a lot of it is in the

16 engineering and the mathematics.        And so it's analysis.      It's

17 analysis that drives what we have to do slowly and

18 methodically, thoughtfully, about a very large case and what's

19 happening here, and that's what I'd like to do.

20             And even though I would love to have a debate with

21 you about two year versus five year and inflation adjustments

22 and NAV versus DCF and efficient market hypothesis versus

23 reverse behavioralism, Your Honor knows that I could talk for

24 days about that, and sometimes I even do, but I think, Your

25 Honor, hopefully you and I can debate that at a VALCON




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 864 of 1639
                                                                      0864

                                                                             157

 1 presentation in the future because I'm not going to engage in

 2 it today.

 3             THE COURT:    That would be great.

 4             MR. STARK:    Your Honor, we may not agree with 5.129,

 5 but we respect the Court's judgment.         And even though Your

 6 Honor called it a preliminary view, we know better than that.

 7 At least, we know that Your Honor was thoughtful about it, and

 8 so we're going to respect that.        Again, lodge our disagreement,

 9 but today's presentation is not to revisit that number.            It is

10 to discuss the implications of that number, and that's what I'd

11 like to do if Your Honor will allow me.

12             THE COURT:    Sure.

13             MR. STARK:    First and foremost, I want to talk about

14 what that number means, and what it means in the scheme of this

15 case and the value allocation.        And then in particular I want

16 to talk about what it means in terms of the encumbered versus

17 unencumbered, what we call the technicals complaint, for lack

18 of a better phraseology.       Certainly we'll talk about the causes

19 of action, and (indiscernible) you've already heard an awful

20 lot about it, and we'll slowly and methodically unpack the

21 evidence.

22             We'll spend a little time on the collapsing of

23 Classes 6 and 7.     Not a lot of time, but I think we do need to

24 talk about it.     Then we have some final issues.        And at the end

25 of this presentation, this discussion that hopefully Your Honor




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 865 of 1639
                                                                      0865

                                                                             158

 1 and I will have together, we'll talk about where we think or

 2 respectfully propose this case goes from here.          Okay?    Does

 3 that work for Your Honor?

 4             THE COURT:    Sure.

 5             MR. STARK:    Okay, good.     Let's -- if you wouldn't

 6 mind, then can you move it, please, to Slide 4.

 7             This is our plan schematic.       This is where the value

 8 flows, but with a caveat.       This is where the equity value goes.

 9 And it shows the pre-rights offering and then shows the after-

10 the-rights offering effect.       Okay.    You can see now in the row

11 that is just below the bottom row, unsecured notes and general

12 unsecured creditor claims are now merged into a consolidated

13 Class 6 and 7 for the 4 percent.

14             There is an increase now in the amount of claims

15 that's an updated number from the company that's been making

16 settlements with mid-streams, and so the numbers are

17 increasing.    So that's the latest number we have, but this is

18 the plan schematic, and this is what people are getting without

19 the warrants.

20             Next slide, please.

21             Mr. MacGreevey testified about his calculation of

22 warrant value, and his model is in evidence, or at least his

23 testimony about his model and the demonstrative laid out his

24 calculation of the warrant value.         All we did here is we

25 increased -- we plugged in the 5.129.         We used the same model.




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 866 of 1639
                                                                      0866

                                                                             159

 1 We used 5.129 TEV and we increased the debt (audio

 2 interference) number.      Okay.   And this is what the model spits

 3 out.

 4             If at any point Your Honor wants the natives of any

 5 of this, we're perfectly happy to provide it, but --

 6             THE COURT:    Okay.

 7             MR. STARK:    -- this is a printout, and I'll make the

 8 representation those are the only changes that have been made

 9 about what otherwise has been presented to your Court.            Okay.

10             We can still do this as a Black-Scholes under the --

11 some of the warrants are (indiscernible) money at 5.129, but we

12 assume that people may hold that because there's extra option

13 value out of that, so we used that value instead.           Okay.

14             Slide 6 takes the first slide, the value allocation

15 is equity, and merges in the warrant value using the same

16 schematic in 5.129 and the updated claim amount.           We have for

17 exit financing 2.125 billion, but we assume that some portion

18 of that will be debt and the 600 million in equity, okay?             So

19 we just sort of take the 1.525, subtract that from the

20 enterprise value to get sort of a stock value, and then we

21 allocate accordingly.

22             And you'll notice in the box all the way to the

23 right, the recovery box, how people fair at this stage.             We're

24 not done yet.     This is just the first flood of value

25 allocation.    The FILOs get nearly 130 percent.        We'll come back




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 867 of 1639
                                                                      0867

                                                                             160

 1 to that.

 2             Next side, please.

 3             Now, we're migrating a lot of value around because

 4 what we do in the first (indiscernible) in terms of equity

 5 allocations are then revisited by the rights offering, which

 6 moves 67 percent of the stock around to different places.

 7 Okay.   So you'll see up at the -- all the way up in the column

 8 all the way on the right, you'll see what the allocations were

 9 prior to the rights offering and then how it migrates as a

10 result of the rights offering.        This is just math, 5.129 minus

11 the debt following the equity allocations and the rights

12 offering.    Okay.

13             What's important to realize is that 25 percent of the

14 rights offering is reserved for the backstop parties.            It's not

15 an even spread of rights; 25 percent, 77 percent of that amount

16 goes to Mr. Schaible's clients, the ad hoc committee.            That's

17 worth about 447 million.       Twenty-three percent of that amount

18 goes to Franklin and that's worth about 134 million.             Together

19 that's 561 million.      63.75 percent of the rights go to the FILO

20 class generally.     That's on top of the backstop.        And

21 11.25 percent of rights goes to the second lien class.            So

22 that's the mapping of where the value flows.

23             Next slide, please.

24             Well, let's put a value on those rights.         We can do

25 that with 5.129.     Remember that the warrant is struck at a




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 868 of 1639
                                                                      0868

                                                                             161

 1 discount at 3.25 billion TEV.       That's a 67 and a half percent

 2 discount to enterprise value as Your Honor is judging it.

 3 Okay.   And they don't just get to buy a little bit of it, they

 4 get to buy 67 percent of that.        Okay.     So if you're a rights

 5 offering participant, you can buy any kind of percentage.

 6 Collectively the group gets $1.844 billion worth of stock for

 7 $600 million.

 8             And we'll state that in ways that an English major

 9 like myself can understand.       If I put a dollar in, I get $3.07

10 of stock coming out based upon Your Honor's judgment.            Okay.

11 And here is the math for that.

12             Next slide please.

13             Now, let's exclude the backstop rights.          Let's only

14 talk about the 75 percent of the backstop that's allocated to

15 the different classes.       If you are a FILO creditor, but you're

16 not part of the backstop group, you don't get that extra

17 (indiscernible) of the backstop.        You're getting 108 percent

18 return on your claims in this case.        If you're a second lien

19 creditor, excluding Franklin, as a backstop participant, you're

20 getting 28 percent.      The unsecureds, earlier they were getting

21 around 7 percent.     Now they're getting 4.3 percent.         The 4.3

22 percent equates to two -- around $235 million.

23             So I think Ms. Schwarzman used a different number,

24 but their modeling tries to anticipate what our modeling would

25 come up, they said that it would be a little bit less than




      ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 869 of 1639
                                                                      0869

                                                                             162

 1 that.   Our model shows a little bit more than the 200 and

 2 change number, to around 235 million by our model.           Okay.

 3             Now let's include the backstop rights.         If you give

 4 the backstop -- if you allocate the value to the backstop

 5 participants, here's what you find out.         If you are a member of

 6 Mr. Schaible's group, the FILO ad hoc committee, you receive

 7 133.4 percent return on your claims in this case.           If you are

 8 not a member of his committee -- now, he has up to 85 percent

 9 of the class represented.       If you're not a member of his

10 committee, so around that 15/16 percent, you get 108 percent.

11             On a blended basis, that is a little bit less than a

12 130 percent return on the class claims.         And if Your Honor

13 looks at the bottom line, subtotal after backstop allocation,

14 and you look at the column in the middle, total value received,

15 including rights offering, less new money costs, so we've

16 backed out the 600 million we had to pay for the stock, you're

17 getting $1.977.1 billion of value on the claim amount of

18 1.625 billion claim amount.       That's about 452 -- that's

19 $452.1 million over par that is going to the FILO class and the

20 backstop parties away from others.

21             If we flip the slide and we look at how does Franklin

22 fair, remember it too is a backstop party, we know from

23 Mr. Circle's testimony that Franklin holds a small amount of

24 the FILO, about 78 million, but a ton of the second lien paper.

25 The second liens don't get an awful lot of the rights offering,




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 870 of 1639
                                                                      0870

                                                                             163

 1 but Franklin does.     So whereas other second lien creditors

 2 receive 28 percent return on their claims, Franklin gets

 3 41.3 percent on its claims.       Granted, some portion of that,

 4 some very small portion is their FILO piece, most of that is

 5 their second lien, raw disparity for Franklin.

 6             Next slide, please.

 7             Now we're going to talk about the technicals

 8 complaint in a minute, but it is useful to think about, at this

 9 moment, what would unsecured creditors be due from unencumbered

10 value away from the 2L deficiency claims?          The FILOs are being

11 paid off and then some.      The 2L deficiency claims.       How much

12 are the combined Classes 6 and 7 due because there's so much

13 unencumbered value?      We notice about 30 percent of the estate

14 is unencumbered value.       We have the unmortgaged oil and gas

15 assets, about 10.6 percent of TEV, and then we have those

16 cash-up mortgages, FILOs and the second liens.          Just as the

17 company was racing to prepare itself for bankruptcy, they filed

18 a whole bunch of catch-up mortgages, stuff that they admit, so

19 that's 17.6 percent of the enterprise value.

20             Using a 5.129 billion TEV, that's $1.445 billion of

21 unencumbered value.      This is the first of a couple of grave

22 errors that Ms. Schwarzman made in her presentation to you.

23 When she talks about unsecured creditors being out of the

24 money, she confused aspects of this trial.          Of course we've

25 been making the argument that the enterprise is larger than the




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 871 of 1639
                                                                      0871

                                                                             164

 1 claim hurdle.     We were unsuccessful.      That doesn't end the

 2 inquiry because a third of this company's value is unencumbered

 3 value.

 4             So even if we never crossed the hurdle, unsecured

 5 creditors are due on just the O&G assets, 1.445.           Well, that's

 6 not actually right because we have to back out the second lien

 7 deficiency claims.     A big chunk of that has to go to the second

 8 liens for their deficiencies.

 9             What's the residual -- let's even do this a little

10 bit more slow.     There's another slide later I'm going to show

11 you, there's some additional unencumbered value that gets added

12 to the 1.445 to get to around 1.7.        That is a full basket of

13 unencumbered value.      It includes the headquarters and some

14 other miscellaneous assets with additional liens on them.            From

15 there we subtract the cost of exiting, administrative expenses,

16 including the $60 million breakup fee that needed to be for the

17 rights offering.     But that calculates around 200 million.

18             So there's about 1.5 billion in unencumbered value.

19 The second liens are entitled to a deficiency claim for that.

20 Okay.    That backs out about 600 million that goes to the second

21 liens, leaving 900 million of unencumbered value that all other

22 things being equal should go to the combined Class 6 and 7.               We

23 don't get $900 million.      We get $235 million.      We are short-

24 changed by $670 million.       That's just math.     That's how it

25 works.




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 872 of 1639
                                                                      0872

                                                                             165

 1             THE COURT:    You left --

 2             MR. STARK:    The formation --

 3             THE COURT:    I mean, Mr. Stark, in all fairness, you

 4 left out a couple of things, didn't you?

 5             MR. STARK:    I'm not sure.    What did I leave out?

 6             THE COURT:    Well, I'm going to listen to your

 7 argument.    I'm just telling -- go ahead.       It would be better if

 8 you --

 9             MR. STARK:    No.   I want to engage with you, Your

10 Honor.   If there's something that you think I'm not hitting,

11 I'd like to hit it.

12             THE COURT:    You know that you're not.       You know that

13 you're ignoring some things.       I'm not going to debate this with

14 you.   It would be much better if you would just be candid about

15 where the Committee stood.        You want to ignore those things you

16 don't like and that's not right, but go ahead.

17             MR. STARK:    Your Honor, I am candid.      I am honest.

18 I'm thoughtful.     If I missed something, it's an error.         It's

19 nothing more than that.      I just asked that our people run the

20 model straight through.      I understand the issue with respect to

21 the roll-up DIP.     If that's what Your Honor's talking about,

22 I'm going to address that in a minute.

23             THE COURT:    Okay.

24             MR. STARK:    But if there's something else I missed,

25 then I just don't know.




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 873 of 1639
                                                                      0873

                                                                             166

 1             THE COURT:    Go ahead.    I'm listening.

 2             MR. STARK:    Is that the issue?

 3             THE COURT:    I'm listening, Mr. Stark.

 4             MR. STARK:    Okay.   I'll continue.     The summation that

 5 I have, it sounds like Your Honor gets it, is that there is an

 6 overpayment of a substantial amount to the FILOs, and that's

 7 where a lot of our value goes, the unencumbered value goes for

 8 that.    Okay?    That's about $450 million.

 9             The FILOs get a fair amount as well.        Maybe that's

10 the differential of 150.       It's hard to calculate, okay.       But

11 there is a massive shortfall, and that's what we want to talk

12 about.    Okay?

13             Your Honor heard a lot of argument today, or a lot of

14 framing of the way to think about this case, that there was a

15 deal in the spring and neither the natural consequences of the

16 company coming forward seven months later and the chips fall

17 where they may.     That may be principled in terms of the way in

18 which they presented the case, but that is not law.           The law

19 could not be clearer.      It's in the statute.      Valuation has to

20 be done today.     Creditors cannot be paid more than 100 percent

21 on the dollar, even if it's justified on a deal way back when.

22 That the law is clear as day.

23             Now, I'd like to -- if I'm intuiting correctly, Your

24 Honor, about I've missed out a couple of things, it's the roll-

25 up DIP.    Maybe I -- I may have missed other things, and if Your




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 874 of 1639
                                                                      0874

                                                                             167

 1 Honor will -- I really did want to engage and address.             But my

 2 next sets of slides talk about the roll-up DIP.

 3             THE COURT:    Go ahead.

 4             MR. STARK:    If we could move then, please, to

 5 Slide 15.

 6             This is sort of the same (audio interference) you had

 7 before about $543 million of unmortgaged assets, 902 of the

 8 catch-up mortgages.      Here you have delineated the headquarters

 9 which is a stipulated value of 170 million.          There's non-core

10 assets of another 103, 208, and then there was some

11 unencumbered gathering assets of about 9 million.           That's where

12 we got the one-seven number from, and all of that's in

13 evidence.    Okay.   So that's the backing out of the residual

14 pieces of assets that weren't on the prior page.           Okay.

15             There are three justifications for the migration of

16 the value from what we perceive would be unencumbered value to

17 others.    The first one, and we didn't hear a lot of this today

18 other than the fact that it's history that must carry forward.

19 But again we have to look at it at today's valuation standards,

20 okay, and the company has increased in value.

21             The first point was the debtor said we need the

22 capital.    We must have 600 million to deal with structure so as

23 to enable the company to have equitization capital of

24 $600 million and the cost of capital are not market.           Okay.

25 Because of the company's improved performance over the course




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 875 of 1639
                                                                      0875

                                                                             168

 1 of the case, the debtors only need, by their own books and

 2 reference and assessments, as Mr. MacGreevey put that before

 3 Your Honor, 185 million at most.

 4              And as far as the proposed cost of capital, this is

 5 excessive of market by a long shot.        You heard testimony that

 6 59 percent discount to 4.1 billion was well beyond commercial

 7 norms.   67.5 percent is facially absurd.        There is no support

 8 for that in any even financial (audio interference) that I'm

 9 aware of.    And yes, it's conceded it was never shopped.          It was

10 part of the deal.

11              So to the extent that this was financing that is

12 deemed necessary for a company that's dramatically improved in

13 value, I would propose to Your Honor that LaSalle is incredibly

14 fitting for this situation right now.         Okay.   And the fact

15 that -- and I take huge issue with Mr. Schaible's statement

16 about, well, it's all been shopped because the case is open.

17 Your Honor, there is no market test by a case that's pursuing

18 forward in a litigation posture.

19              The debtors have made very clear to anyone and

20 everyone, including this Court, that it cares about getting out

21 as soon as it possibly can.       It has its deal and it's fine with

22 it.   It doesn't care who its new owners are.         It just simply

23 wants out.    Okay.   You've heard me say it.       No one will

24 negotiate with us.     They like their deal too much.        And

25 everyone in the marketplace has heard that in open court.            That




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 876 of 1639
                                                                      0876

                                                                             169

 1 is not a market test.

 2             Even if litigation could ever be a market test, and

 3 it certainly isn't, this case has always presented itself as

 4 the fix is in, don't bother.       This is not a LaSalle process.

 5             The next slide, Slide 17, Your Honor, is

 6 Mr. MacGreevey's taking of the books and records, the source of

 7 the (indiscernible) of the company has said that it needs for

 8 exit financing, and it is adjusted for the 2.256, and now with

 9 today, because there haven't been new money draws, no liquidity

10 draws on the debt, that's gone from 600 million to 185 million.

11 That is the evidence on the record.

12             The second justification as to why it is that the

13 migration of value from unsecured creditors to the secured

14 creditors is because they have defenses to the assertions that

15 that value is truly unencumbered.         They have the 546(e)

16 defense, and we'll talk about that in a minute, but I intend to

17 suggest that it would be uprooted from the entire statute if

18 not completely pioneering and no court has ever ruled on it in

19 any way shape or form that doing a catch-up mortgage filing for

20 bank debt is a 546(e) safe harbor security contract.

21             Mr. Zensky presented about the contemporaneous

22 exchange defense, and I didn't hear him accurately, but I may

23 not have heard him accurately, but I think he's confused about

24 the statutory requirements.       Okay.    There are two of them, and

25 that's what Bison Builders talks about.         That was the issue in




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 877 of 1639
                                                                      0877

                                                                             170

 1 Exco (phonetic).     And Mr. Nash and Your Honor know so well that

 2 the intent has to be reflected.        It's not by circumstantial

 3 evidence, but by the document itself of a swap transaction of

 4 actual contemporaneity.

 5              It doesn't matter that the market standard is that we

 6 lend the money on day one and 60 days later we deliver the

 7 mortgages.    That may be the realities of the lending practice,

 8 and it may be simply a pragmatic problem that lending in that

 9 space has, but that is not a reflection of actual intent of a

10 swap transaction.     Sixty days is too far.

11              But even if it was somehow thought to be (audio

12 interference) a swap in the scheme of financing, catch-up

13 mortgages filed five, six months after the money flowed can

14 never be.    There's no cases that say that that's a

15 substantially contemporaneous exchange.         It just isn't.

16              So that takes us to the big argument, the DIP

17 soak-up.    Okay.   And I'm asking Your Honor to think really

18 deeply and engage with me about this because this is actually

19 really, really, really important.        It is simply too easy to

20 say, well it's a roll-up, they've got an admin claim, they get

21 all the unencumbered value.       And that, Your Honor, we submit is

22 very, very wrong as a matter of foundational bankruptcy law.

23              On top of that, just to frame the issue, and I've

24 been very clear about this since way back when.           For a very

25 long time, I said it.      I said it at a disclosure statement




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 878 of 1639
                                                                      0878

                                                                             171

 1 hearing.    I said it at the opening here.       This issue itself I

 2 believe is a fundamental violent wrong that's being done in

 3 this case, and I want to talk about it because I really think

 4 that this is something that fits within a category of

 5 observation that scholars and others are looking around at our

 6 bankruptcy process today and saying that it's a confidence

 7 game.    They really are.

 8             That there's a sleight of hand and it's being done in

 9 the DIP, and it's being -- these roll-ups are being adorned to

10 something that's critical and necessary, and that is financing.

11 And it causes a massive reallocation of value in ways that

12 defies bankruptcy, defies what our historical precedent is

13 about lending requirements and norms and rights, violates

14 corporate finance principals, and is most of all inconsistent

15 with the deal that the lenders themselves cut pre-petition.

16 Okay.

17             THE COURT:    So, Mr. Stark, let me ask you --

18             MR. STARK:    The first --

19             THE COURT:    This is about the fifth or sixth time

20 that your firm has accused the debtors' lawyers and the

21 lenders' lawyers of committing a fraud on the Court.           I gave

22 you --

23             MR. STARK:    That's not what I'm doing.

24             THE COURT:    Mr. Stark, I didn't --

25             MR. STARK:    That's not --




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 879 of 1639
                                                                      0879

                                                                             172

 1              THE COURT:   Mr. Stark, do not interrupt me again.            We

 2 will cut your --

 3              MR. STARK:   Apologies.

 4              THE COURT:   We will cut your time short.       I don't

 5 take that from anyone, despite the fact that you are my friend.

 6 You will not do that to me.       Understood?

 7              MR. STARK:   Understood.    I apologize.

 8              THE COURT:   I'll start again.     This is about the

 9 fifth or sixth time that you have accused the lawyers for the

10 debtor and the lawyers for the lender of committing fraud.

11 You've used that word in your comments to the Court.           And after

12 12 days, 13 days, you offered no basis for that allegation, yet

13 you continue to argue it here.        I would -- I warned you once

14 before.    I would genuinely like to understand why it is you

15 think that that's acceptable conduct.         You can now speak.

16              MR. STARK:   Well, Your Honor, and I jumped again.            I

17 apologize.    I'm really not trying to be.

18              Your Honor, I'm not accusing anybody of fraudulent

19 behavior.    I'm accusing the transaction of resulting in an

20 outcome that's inconsistent with law, and it is a strategy that

21 is being utilized in cases.       It's not fraudulent behavior.           It

22 is open expectations of parties.        Okay.   But by putting things

23 into a DIP loan that caused value migration, it's an open part

24 of the deal.    It's not accusing anybody of misleading the

25 Court.




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 880 of 1639
                                                                      0880

                                                                             173

 1              But it is inconsistent with what we're trying -- what

 2 I think bankruptcy law wants us to do here.          And it is

 3 something that I think is a business wrong without causing --

 4 calling people anything other than their advocates for their

 5 clients trying to negotiate the best deal.          That doesn't mean

 6 that it's the right deal.       It may not -- it may be a deal that

 7 is inconsistent with bankruptcy principles, but they're being

 8 good advocates.

 9              Your Honor knows that I have wonderful relationships

10 with the lawyers in this case and I am not accusing them of

11 anything wrongful.     They're advocates for their clients doing

12 the best they can for their clients, but the transaction may

13 still be wrong.

14              I don't know if I satisfied Your Honor's response,

15 but that's honestly how I feel.        I believe that what's being

16 done here is a bankruptcy law wrong, and people are observing

17 it in a way that is creeping the way in which DIP loans are

18 presented to courts.      That is what I think is inconsistent with

19 bankruptcy principles and foundational principles of corporate

20 finance.    Okay.

21              THE COURT:   It may be how you feel; it's not what

22 you've said.

23              MR. STARK:   Well, that's what I intended, and if I

24 misspoke, then I will eat my words and I apologize.           That's not

25 my intent.    It is a sleight of hand in the sense that it has an




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 881 of 1639
                                                                      0881

                                                                             174

 1 impact.    There's a strategy at play that is broader than just

 2 financing a company to get through its bankruptcy process.                It

 3 is intended to result in massive migrations of value relief

 4 that's not consistent bankruptcy process.

 5              It is the strategy that people are observing.         It is

 6 the strategy which is becoming an accepted part of a

 7 transactional bankruptcy practice, and it is inconsistent with

 8 what I at least understand bankruptcy to mean and how it's

 9 supposed to work.

10              And here are some points of observation, if I can

11 have Slide 20.

12              Okay.   We have 1.5 billion in value, unencumbered

13 value that I believe our model shows should go to unsecured

14 creditors.    It excludes the deficiency claims of the 2L.          And

15 it is deemed by the plan not to pay the DIP advances -- cash

16 advance -- post-petition cash advance like liquidity where

17 there aren't any or distributions from secured creditors, but

18 rather to pay the pre-petition rolled-up debt.          Okay.

19              The purpose of the plan structure is to relieve the

20 senior-most mortgage on the pre-petition collateral so that the

21 junior-most secured creditors are allowed to take more of a

22 collateral base.

23              THE COURT:   How do you know that?

24              MR. STARK:   Okay?   And --

25              THE COURT:   What's the evidence in the record?




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 882 of 1639
                                                                      0882

                                                                             175

 1             MR. STARK:    Well, that's the entire -- that's the

 2 entire structure of the deal.

 3             THE COURT:    That's your belief.

 4             MR. STARK:    Entire --

 5             THE COURT:    Where's the record?

 6             MR. STARK:    No, no, no.    It's effectively stipulated,

 7 Your Honor, because what is -- what are they doing in the plan?

 8 The plan says they're taking 1.5 billion of value, and they're

 9 using it to pay off the DIP loan, and the final and the second

10 liens take all of the secured debt.        That is the structure of

11 the plan.    That's the architecture of the plan.         That's why we

12 don't get any value.

13             It's being deemed -- Ms. Schwarzman said it in her

14 representation of opening remarks.        It's being deemed to pay

15 off the RBL.     That's the entire structure -- that's the entire

16 architecture of the plan.       It's the only reason as to why it is

17 unsecured creditors don't get $1.5 billion.          That is how it

18 works.

19             And it's important to realize, Your Honor, that this

20 payoff doesn't arise in a DIP default and exercise of remedies,

21 a liquidation.     It's a plan that pays off the RBL lenders in

22 full.    Okay?   So the DIP protections that were given to the DIP

23 lenders are rendered moot.

24             I need to unpack for Your Honor why, because of that

25 and because of the way the architecture works, it is




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 883 of 1639
                                                                      0883

                                                                             176

 1 inappropriate as a matter of law.        Okay?    Some backup if you

 2 will, Your Honor, on Slide 21.

 3             Ben, can you go to slide 21, please?        Okay.

 4             So as of the petition date, we had about $2 billion

 5 drawn on the RBL.     We had about 1.5 billion on the FLLO and

 6 2.3 billion on the second lien debt.         Okay?

 7             The contractual waterfall is, as it's been presented

 8 to the Court, the RBL is first always.         The FLLO is junior to

 9 the RBL.    The second lien is junior to the FLLO.         And they all

10 share collateral and in waterfall format.          The FLLO would have

11 to turn over any collateral proceeds to the RBL, and the second

12 liens have to turn over any collateral proceeds to the FLLO.

13             It also goes on to say in these agreements that if

14 the RBLs ever want to make a DIP loan, the FLLOs and the second

15 liens can't object in any way.        So they're -- so they're

16 silent.    That's normal.    And the FLLOs and the seconds waive

17 any sort of marshaling or other equitable responsibilities

18 vis-a-vis the RBLs' ability to take their collateral first.

19 That's the deal.     It's pretty normal, standard stuff.         Okay?

20             Next slide, please.

21             I believe counsel to the RBL DIP lenders confirmed

22 this, but the RBLs and the DIP lenders are the same.            There's a

23 subset of the RBL lenders who've made the DIP loan.           But what

24 happened is it was a cashless exchange.          It was a deemed

25 roll-up.    There was no money that changed hands.         1.25 billion




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 884 of 1639
                                                                      0884

                                                                             177

 1 of the prepetition RBL was made by the order into the DIP loan.

 2 Okay?

 3             And they gave the RBL lenders for that rolled-up

 4 portion protection, gave them adequate protection.           They now

 5 got security not only on the shared collateral, the collateral

 6 they share with the FLLOs and the second liens prepetition,

 7 they also have liens now on unencumbered value, the 1.5 billion

 8 that we're now talking about.

 9             And they also got protected from an admin -- they

10 also got protected from cram-down, because they got an admin

11 claim, and 1129(a)(9) says you have to pay off the admin claim

12 in full.    Okay?   So they couldn't be crammed down.        So that was

13 the added protections the RBLs got.

14             But if you look at it from the perspective of the

15 FLLOs and the second liens, nothing really changed.           The

16 roll-up -- prior to the roll-up, the RBLs were first on the

17 shared collateral.     The FLLOs were second.       The second liens

18 were third.    After the roll-up, the RBLs remained first, the

19 FLLOs remained second and the -- and the second liens were

20 third.   Or sometimes (indiscernible) FLLOS one-and-a-half.

21             You can envision in your mind, if you will, Your

22 Honor, some collateral.      Let's just say it's a box that's worth

23 75-.    And the RBL lenders had 50-, and the FLLOS had 50-.

24 Well, prior to the roll-up, the RBLs were covered by their

25 first lien on that box at 75-.        Their 50- was covered by the




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 885 of 1639
                                                                      0885

                                                                             178

 1 prepetition collateral.      The FLLOs were only 50 percent

 2 covered, because the bottom 25- of the collateral value went to

 3 them, but then they had 25 -- a 25 deficiency claim.            After the

 4 roll-up, it remained exactly the same.

 5             Today -- can we flip the slide, please?

 6             Today, that's all that's left under the DIP.          The DIP

 7 itself -- there haven't been -- there have been, I think,

 8 incremental months -- monthly draws for short-term liquidity

 9 needs.   But at the end of every month, there's just not been

10 any draws on the DIP.

11             So there's nothing outstanding besides the roll-up.

12 That's the nature of this entire dispute.           Okay?   And there's

13 no need for adequate protection, as Your Honor has ruled, we

14 started the case with a 3.25 billion TEV.           That got adjusted by

15 the debtors to 4.1 billion TEV.        And Your Honor's ruling at

16 5.129 billion suggests all O&G assets have increased in value.

17 And so here we are without any real argument on adequate

18 protection for the collateral value.           Okay?

19             So the FLLOs and the second liens on that box, maybe

20 their portion of the 25- with the 25- deficiency, maybe that

21 25- is now 35-, but there's still a deficiency there, because

22 they're still behind the RBLs.        Okay?

23             If you can go to 24, please.

24             The roll-up was intended to benefit the DIP lenders,

25 of course, but only the DIP lenders.           I have no quarrel with




      ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 886 of 1639
                                                                      0886

                                                                             179

 1 anything that counsel for the DIP lenders said during her

 2 presentation.     She's right.    Everything that was done in the

 3 DIP order was to protect them and to make sure that they got

 4 paid at the end of the case.

 5              But the rights -- those rights only went to the DIP

 6 lenders, including the roll-up piece.         Okay?    It made sure

 7 that they had multiple different ways to get paid if we didn't

 8 find ourselves at the end of the case with a plan that paid

 9 them off.

10              No other party -- the debtors, the FLLOs, the second

11 liens, the Committee -- nobody has the ability to step into the

12 shoes and argue for any of the rights or benefits that were

13 afforded to the DIP lenders.       The order is about as clear as

14 day on that.    Okay?

15              The marshaling bars apply to everyone.        Nobody can

16 make any marshaling arguments, it seems, against anyone with

17 one exception, and that's the avoidance stuff.          And we'll come

18 back to that in a minute.       Okay?

19              And the roll-up came early on.      Again, I'm not saying

20 anybody did anything wrong, but the case facts had not yet been

21 developed.    We said at our objection, hey, you know, this feels

22 wrong; it feels like we're moving in a direction where this

23 case will have a bad outcome as a result of this.           Your Honor

24 overruled that objection.

25              And Your Honor's ruling was the roll-up was necessary




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 887 of 1639
                                                                      0887

                                                                             180

 1 because it was adjoined -- adjoining to liquidity, and we

 2 needed the liquidity.      Understandable.     Okay?   But there was no

 3 finding at the time, and the order doesn't reflect it or the

 4 transcript, nor could there have been, that any of the

 5 protections in the DIP order were for the benefit of the FLLOs

 6 or the second liens or to advantage the subordinated creditors

 7 to the detriment of unsecured creditors.

 8             The FLLOs and the second liens weren't providing any

 9 liquidity to this company.       They were junior creditor -- junior

10 prepetition creditors.       They'll get at the end of the case

11 whatever it is they'll get.

12             So you could have blown me over with a feather when I

13 heard Mr. Schaible make the argument just a little while ago

14 that the junior creditors who didn't provide any capital have

15 the right under the DIP to channel and to allocate value as if

16 they were the DIP lender, because that's not what the rule was.

17             25, please.

18             The plan -- and, frankly, any plan in this case --

19 and there will be a plan in this case -- will pay off the RBLs

20 in full.    The value has rapidly increased in this company.

21 There's credit quality to take out the RBLs under any

22 circumstance here.     Okay?

23             But the DIP order, it -- you know, you have to think

24 about it this way.     Since there's no exercise of remedies, it's

25 true that the RBLs could have -- in a default scenario, in




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 888 of 1639
                                                                      0888

                                                                             181

 1 exercise of remedies, in a liquidation, it was for the RBLs to

 2 decide as a roll-up -- the DIP lenders, I should say.            They

 3 could choose which collateral -- unencumbered prepetition

 4 collateral, whatever they wanted to.         They could look at any

 5 asset of the estate for repayment on their debt.           Okay?   But

 6 only in that context.

 7              It says, specifically, in connection with any

 8 disposition or exercise of rights and remedies do they get the

 9 choice to allocate.      That's not our circumstance.       They're

10 getting paid off.     There's no trigger for them to do an

11 allocation themselves, and any right of allocation only arises

12 in that trigger event.

13              Slide 26, please.

14              So that begs the question: if you don't have a DIP

15 default, if the DIP's getting paid off, and there's no adequate

16 protection entitlements for any of the junior creditors, okay,

17 who pays for the roll-up?       It's not as easy and as quick as one

18 may think.

19              Secured lenders come to bankruptcy courts with

20 protections for the lien position that they had coming into the

21 bankruptcy case.     Whatever it was coming in, they get adequate

22 protection to make sure that, at the end of the case, they get

23 that.   Using my hypothetical, again, of the $75,000 block where

24 the RBL takes the first 50 million, the FLLO takes the next 50-

25 but has a 50 million deficiency claim, the Radford rule, the




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 889 of 1639
                                                                      0889

                                                                             182

 1 Supreme Court precedent, affords the FLLO only the $25 million.

 2 The deficiency claim is its deficiency claim.           Okay?

 3             The debtors assume that because the RBL also has an

 4 admin claim that they have the right to pay off the entirety of

 5 the RBL with unencumbered value.        That's an assumption.      There

 6 is no case law authorizing that at all.         Okay?    That is, in

 7 effect, allocating value even though allocation rights are only

 8 given to the DIP lenders, not to the debtors and certainly not

 9 to the FLLOs or the second liens.        And they only arise in the

10 context of a default scenario, exercise of remedies or

11 liquidation.

12             That's a usurpation of a DIP lender's protection for

13 strategic purposes for plan confirmation.          And the result is

14 this: you kind of magically get rid of the RBL.           The

15 prepetition debt that got rolled up, you get rid of it with

16 unencumbered value as if they had liens prepetition on that

17 unencumbered value.

18             What that does is it relieves the FLLOs and the

19 second liens of that $50 million senior lien that I mentioned

20 in my block before.      It goes away.    Now, the FLLOs and the

21 second liens then get to move up.        They get to assert the

22 entirety of the collateral rights on their prepetition

23 collateral as if they were providing that post-petition

24 liquidity and they got the benefit of the roll-up or they had

25 liens on that unencumbered value or that they were entitled to




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 890 of 1639
                                                                      0890

                                                                             183

 1 adequate protection.      They don't have any of that.       Okay?

 2             So what that does is that's where the explosion

 3 happens.    It expands and explodes the FLLO and second liens'

 4 lien entitlements as if they had liens on things that they

 5 don't have.    It artificially relieves them of the -- of senior

 6 collateral entitlement, and that's inconsistent with the

 7 expectations of the parties.

 8             And the one thing that Collier makes clear is that

 9 the bankruptcy protections for lenders ensure only that the

10 secured creditor receives the value, essentially, what he

11 bargained for.     That would be the subordinated position that

12 the FLLOs and the second liens have on that collateral, not

13 that they get relieved of that by way of unencumbered value.

14 Okay?

15             Now, you can try to call it -- and I've heard it in

16 conversations away from this court.        Well, this is marshaling.

17 But you're not allowed to marshal.        The order says marshaling

18 is not allowed for anybody against anybody.          Okay?   Marshaling

19 is also disallowed under the collateral trust agreement, and

20 marshaling isn't allowed -- wasn't allowed on the first day of

21 the case, because it was sitting below -- before Your Honor

22 approved at the final DIP hearing to roll up, it was sitting

23 behind, and marshaling wasn't available.

24             And, by the way, marshaling is an inter-lender

25 argument.    It is one secured lender bringing an action against




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 891 of 1639
                                                                      0891

                                                                             184

 1 another secured lender to marshal collateral as they see fit,

 2 not estate representatives migrating value and marshaling

 3 unsecured creditors that way.       Because, in the end -- and this

 4 is the most important --

 5             Ben, could you move to 27, please?

 6             This is the most important bullet.        It's the third

 7 bullet down.    Marshaling is, at its core, an equitable remedy.

 8 It is not an equitable doctrine that a court of equity is

 9 allowed to use -- the jurisprudence is about as clear as day on

10 this -- to give people value that they don't have liens on.

11 That is an inequitable result that is inconsistent with the

12 benefit of the bargain, that is excessive of the secured

13 lender's protections both under the Radford rule, Fifth

14 Amendment, and the Bankruptcy Code.        To do this is

15 overcompensating the secured lender in ways that they never

16 protected themselves with proper liens.

17             Next point, please.     Next slide, please.

18             Oh, and I should say, and this is on surcharge.          This

19 is important.     I heard somebody here this morning, this is --

20 well, this -- we're not -- we're surcharging their collateral.

21 That couldn't be farther from the truth.

22             Surcharging is taking administrative expenses of some

23 sort and saying the collateral has to be -- your collateral

24 return has to be deteriorated to offset for the admin expense.

25 That's not what we're doing at all.        Our model's always said,




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 892 of 1639
                                                                      0892

                                                                             185

 1 you take that $200 million of admin expenses and charge it

 2 against the unencumbered value, and we divvy it up from there.

 3             What they're doing is they're taking somebody else's

 4 value and saying I should get it on account of liens that

 5 don't -- that I don't have.       That's the circuitous route that

 6 is (indiscernible).

 7             And here, Your Honor, after this big, long-winded

 8 speech is where 506(a) comes in.        Okay?   Because 506(a) says we

 9 are supposed to bifurcate the junior secured creditor's claim.

10 If the junior secured creditor has collateral and sits behind a

11 lien that is senior to it, and that creates a deficiency claim,

12 then we don't soak up other people's unencumbered value.            That

13 means they have an unsecured claim that goes into the unsecured

14 claim pot, the deficiency claim, and shares with other

15 unsecured creditors.

16             That's how 506 in the Bankruptcy Code works.          That is

17 what they're trying to avoid here.        Okay?

18             The question of bifurcation -- there's questions of

19 value, but we're sticking with 5.129-, and then we're just

20 doing the math off of that.       Okay?   So the real question on

21 bifurcation is when you're supposed to do it.          When is the

22 court supposed to do the bifurcation claims for the FLLOs and

23 the second liens, knowing that prepetition and post-petition

24 they sit behind the rolled-up RBL?        Well, the RBL and now it's

25 rolled-up RBL.     When are you supposed to do it?




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 893 of 1639
                                                                      0893

                                                                             186

 1              The Houston Sports Network case says the court has

 2 discretion and flexibility.       Well, that's consistent with the

 3 statute.    It says it in the statute.       Okay?

 4              But you're not supposed to ignore the fact that the

 5 FLLOs and the second liens are junior subordinated lenders.

 6 You're not supposed to do the bifurcation in ways that changes

 7 that result.    Okay?     And so if the roll-up is charged to

 8 unencumbered value, it's as if you've given the unencumbered

 9 value to them.       Okay?

10              So let's talk a little bit further about the timing

11 of the bifurcation process, please.

12              Can we flip the slide, Ben?

13              Okay.    Now, Your Honor could have chosen or we could

14 have made a motion or some other contested matter could have

15 been presented to your Court to do the 506(a) bifurcation at

16 the beginning of the case.       At that time, enterprise value was

17 much lower.    The RBL was -- presumptively was covered.          I think

18 all of the evidence that came out at the DIP hearing was that

19 the -- that it was covered.       Okay?

20              But the FLLOs and the second liens' collateral on the

21 prepetition collateral, it would have been less.           Again, that's

22 increased over the course of the case.         But a bifurcation would

23 have yielded for them some portion that would have been covered

24 by collateral and some portion a deficiency claim that would

25 now share.




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 894 of 1639
                                                                      0894

                                                                             187

 1             We didn't do that.     There was no bifurcation at the

 2 beginning of the case.       We could go back and do that now, but

 3 that would mean that the 1.5 billion wouldn't belong to them.

 4 It wouldn't go to them.

 5             We could do the bifurcation as of the final DIP

 6 hearing date.     After Your Honor approved the final DIP hearing,

 7 the roll-up happened.      The RBL lien position got a new name.

 8 It was now a DIP.     It was a cash (indiscernible), but it still

 9 sat at the top of the collateral stack.         The FLLO and     the

10 second liens were still behind it.        No change other than,

11 perhaps, there was some value -- collateral value accretion

12 between the beginning of the case and the final DIP hearing.

13             We could do it right now, Your Honor, right this very

14 second.    We could do a bifurcation by 506(a) of the collateral

15 entitlements of the FLLO.       And it's not hard to do.      The

16 evidence is there.     The 1.5 billion, they do not have a lien on

17 it.   That is not theirs to take.

18             So, therefore, they can have everything else.           Their

19 deficiency claim -- they don't have a deficiency claim, because

20 they're getting overcompensated.        But their deficiency claim

21 wouldn't share.     The second liens' deficiency does share.           And

22 so we go from 1.7- down a lot, because they get about 600-,

23 700 million of value.      I can't remember the exact figure.          But

24 they would get that for their unsecured deficiency claim.

25 Right?




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 895 of 1639
                                                                      0895

                                                                             188

 1             We could do that now, but that's how that would come

 2 out.    The 1.5 would still be available -- or the 680 million

 3 would be available for class sixes and sevens.          Okay?

 4             The only way in which it works, the only way in which

 5 their structure meets with 506(a) is if you do the bifurcation

 6 not at the petition date, not at the final DIP hearing, not at

 7 the confirmation hearing but after the plan's effective date.

 8 Because that's the time in which the money comes in.            The

 9 600 million comes in.      The new draws come in on the exit lines

10 and pays off the RBL which, in turn, relieves the RBL of its

11 senior lien position, and the FLLO and the second lien can then

12 encroach upward.

13             It is the only time in which bifurcation actually can

14 work.   And I searched real hard, but I can't find a single case

15 that allows bifurcation of a -- the junior secured lender's

16 claim after confirmation, after the funding on the effective

17 date.   It doesn't exist.

18             If you can go to slide 30, please.

19             Now, roll-ups are disfavored lending structures.              We

20 cite the transcript from Judge Isgur.         I think Your Honor

21 probably knows he's not a fan of them.         And the Court's complex

22 case guidelines require close scrutiny and the same with other

23 sophisticated bankruptcy courts around the country who have

24 complex case guidelines:       Delaware and New York.

25             Roll-ups are almost invariably used with skepticism,




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 896 of 1639
                                                                      0896

                                                                             189

 1 and it's a very rare day that you're supposed to do it.            Okay?

 2 And when they're -- and when they are allowed, they're allowed

 3 because there's a perception that -- rightfully, that they are

 4 necessary components of liquidity that the company needs to run

 5 through its Chapter 11 process.        It's a necessary evil.

 6             And DIP roll-ups are approved to protect the DIP

 7 lender and the DIP lender only.        So the quid pro quo for

 8 providing the DIP loan is you get a little bit of extra

 9 collateral, and you can be assured on a roll-up you don't get

10 crammed down for that debt.       But they're never, ever in any

11 court intended to create economic advantage for junior

12 creditors that do not provide any post-petition liquidity.

13 They don't get the benefit to tag along on the coattails of the

14 DIP lender and say I'd like the benefits by you channeling --

15 not the DIP lender channeling the default but the debtor

16 channeling unencumbered value paid off so that my prepetition

17 collateral entitlement can increase.         That is not what any

18 court, at least any court that I've ever been in front of, has

19 ever said or approved or an written opinion and said that's

20 what roll-ups are about.

21             And that's especially true where in a case the

22 roll-up happens early on, and we haven't yet figured out the

23 case implications of it, many cases, most cases, but also where

24 the DIP creditors agree in the DIP order, in the prepetition

25 credit agreement that they have no rights, that the RBL




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 897 of 1639
                                                                      0897

                                                                             190

 1 lenders, as a prepetition lender or as a post-petition lender,

 2 have.   They can't assert -- they can't tack on to those rights.

 3 Okay?

 4             If we can go to 31, please.

 5             I think this accretion of collateral value is just so

 6 bedrock violative of principle, but I do believe it's important

 7 to think about what the implications of it are.           You could

 8 conceive of a parade of horribles where there is wrongful

 9 conduct in a case, okay?       There's liability claims.      The junior

10 lender seizes collateral, does something wrong like that.

11 Management takes something that it shouldn't take and cuts a

12 deal with the junior lender.       Okay?

13             There's unencumbered value that comes in for one

14 reason or another.     Call it tort claims or other claims or what

15 have you.    And the deal making can happen in the back room that

16 effectively says I'll -- we'll use it to pay off the DIP, and

17 I'll make it go away in the plan.

18             That's the gaming problem.       That's the opportunism

19 problem that I was talking about, about sleight of hand.

20 That's what people are observing about the confidence game of

21 the bankruptcy process itself.        Again, I'm not accusing

22 anybody.    It's just how we're creeping in that way.

23             But what it really does is, it writes 506(a) out of

24 the Bankruptcy Code.      It essentially says we'll never, ever

25 have a deficiency claim for a junior secured creditor, because




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 898 of 1639
                                                                      0898

                                                                             191

 1 we'll channel all the unencumbered value strategically to pay

 2 off the RBL, and we'll make you a fully secured creditor.            That

 3 is gaming.

 4              I have a fallback provision -- a fallback argument on

 5 this.   To the extent that it's marshaling, that that's what's

 6 going on here -- I don't think it is, because only secured

 7 lenders can argue marshaling against each other.           But one of

 8 the things that we argued in the court is that avoidance -- at

 9 the final DIP hearing is that avoidance actions shouldn't be

10 included in this.     Avoidance theories should be left alone for

11 unsecured value.     And Your Honor ordered that there be a

12 carve-out for this very provision in the order so that they're

13 going to use commercially reasonable efforts to use DIP

14 collateral other than avoidance actions to repay the DIP

15 obligations.    Okay?

16              Let's go back to our split on the 30 percent.         We

17 have two different kinds.       We have the unmortgaged -- the 10.6

18 percent of unmortgaged assets.        Those assets, a security

19 interest and conveyance was done.        They just never perfected

20 it.   They never filed the mortgage.       So the estate's strong-arm

21 powers under 544 trump the unperfected security interest.

22 That's a Chapter 5 avoidance action.

23              But even if there's any ambiguity on that, the 17.6

24 percent, the 900 million of cash (indiscernible) preferences,

25 there's -- that is absolutely an avoidance action in




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 899 of 1639
                                                                      0899

                                                                             192

 1 everybody's book.     And the order says that that will be set

 2 aside for unsecured creditors and will not be used to repay DIP

 3 collateral.

 4             Your Honor, in summation on this point -- and I want

 5 to be sure that I've addressed any questions Your Honor may

 6 have -- we believe that (indiscernible) classes 6 and 7 are

 7 short-changed here by $670 million.        That value can be tracked

 8 into the rights offering.       It can be tracked over to an

 9 overcompensation to the FLLO classes.         And we can't -- we at

10 least can do the 450-.       We can't calculate so readily how much

11 Franklin might be overcompensated.        Maybe not.    But that's

12 where most of that values goes.        It gets covered over and gets

13 explained away by this DIP roll-up construct which we believe

14 is utterly inconsistent with the Bankruptcy Code.           It is not

15 what the prepetition lending bargain was.          It would require

16 bifurcation late, or it would write bifurcation out of the

17 Code.

18             There's equitable considerations.        To the extent

19 marshaling and the plan's good faith confirmation requirement

20 are -- are principles of this Court's equity jurisprudence, we

21 would suggest, Your Honor, that this is not equity

22 jurisprudence.     This is not fair.     That's not right.     And,

23 again, we have the DIP carve-out that says that this value, at

24 least much of it, needs to be set aside for unsecured creditors

25 and not go to the other -- the junior secured creditors.




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 900 of 1639
                                                                      0900

                                                                             193

 1              Your Honor, that's the final point that I wanted to

 2 make on this particular section.        Do you have any questions or

 3 comments for me about it?

 4              THE COURT:   Not at this time.

 5              MR. STARK:   Okay.   That takes us to the causes of

 6 action.    We'll start with the TOUSA theory.        We have what I

 7 call the squandering preference theories and then illegal

 8 dividends.    I think we've made it clear we're not going to be

 9 pressing, at least for purposes of closing, (indiscernible)

10 exchange with an intentional fraudulent transfer or the other

11 claims.    We're going to focus on the three that are at the top.

12 Okay?

13              And as Ms. Schwarzman conceded in her opening, the

14 plan doesn't provide us any value for these claims.           So it's

15 their burden of proof and persuasion under TMT Trailers, et

16 cetera, that that's the right answer, that these claims are

17 valueless; there's nothing to them.        Okay?    So let's analyze

18 them.

19              On 536 -- and I'll just do this as a throwaway.          In

20 constructing the plan, the testimony is the debtors didn't

21 actually investigate any of the claims that are asserted here.

22 Ms. Schwarzman said that.       It's conceded.

23              I've done a lot of big bankruptcy cases, a lot of big

24 bankruptcy cases where litigation and claim disputes are at

25 stake.    They're, in fact, in the center of the case.         I've




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 901 of 1639
                                                                      0901

                                                                             194

 1 never seen zero record of an internal analysis along those

 2 lines.   I think that's meaningful, but we can just put a point

 3 in it and move on, and we'll come back to it in a little bit.

 4             Let's talk about TOUSA, the black letter legal

 5 principle right at the top.       It's an affiliated company,

 6 transfers liens and guarantees that go to lenders of a second

 7 affiliated company, a fraudulent transfer claim may arise.                You

 8 have to establish the elements.        And the prima facie elements

 9 are the value transferred to the FLLO guaranty on liens, by the

10 Legacy Chesapeake debtors, the non (indiscernible) entities.

11             The second element is reasonably equivalent value.

12 Was it received by Legacy Chesapeake in return?

13             The third element is solvency.       Was Legacy Chesapeake

14 insolvent at the time under the three tests?

15             And then there's the alternative test, which is

16 intentional fraudulent transfer.        Was there, in fact, intent to

17 hinder or delay Legacy Chesapeake creditors?

18             Now, the evidence -- of course, there was

19 cross-examination about the prima facie case, but there was no

20 rebuttal evidence submitted.       Okay?     There were affirmative

21 defenses in the good-faith lender defense.

22             And then we have Mr. Zensky's discussion on the

23 546(e) defense, and I'll come back to that.          But I couldn't

24 help but write a little note on this page when he was speaking,

25 drawing the distinction between TOUSA and Chesapeake, saying,




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 902 of 1639
                                                                      0902

                                                                             195

 1 at the time of TOUSA, the housing market in Florida was

 2 terrible.    But E&P has been fine.      I've been -- as Your Honor

 3 knows, I've been spending a lot of time in Houston over the

 4 last couple of years.      I don't think the E&P industry has been

 5 fine in this country for quite a while.         Slide 39.

 6              I don't think there's a dispute about the value

 7 transfer.    If the liens and the guarantees that Legacy

 8 Chesapeake debtors transferred to the FLLOs, which happened on

 9 December 23rd of 2019, and those are the transfers that are at

10 stake in the Committee's complaint -- excuse me -- their

11 complaint.

12              So we go to the second element of the prima facie

13 case, was there reasonably equivalent value.          Well, let's talk

14 about the law and then we'll get into the facts.           Okay?   The

15 law says we look at reasonably equivalent value on a debtor by

16 debtor basis from the vantage point of the creditors of the

17 conveying debtor.

18              So, in my mind's eye, I think about somebody who's in

19 Pennsylvania who's doing trade business with Chesapeake

20 Appalachia.    Let's say they're providing sand or trucking

21 services, were stationary.       And they're providing it on credit

22 to Legacy -- to Chesapeake Appalachia and thinking about, I

23 know these people, I understand the credit risks associated

24 with them, I'm prepared to deal with them on unsecured credit

25 terms because I understand the credit quality of Chesapeake




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 903 of 1639
                                                                      0903

                                                                             196

 1 Appalachia.    They told me; I understand it.        Okay.   That's

 2 how -- that's the person that we have to walk a mile in their

 3 shoes.

 4             When they wake up one morning and find out the FLLOs

 5 have gone ahead and put $1.5 billion of secured debt on top of

 6 that creditor's unsecured claim, that creditor wakes up and

 7 says, okay, well, can we get $1.5 billion of value at

 8 Chesapeake Appalachia.       And the answer is, no, it went off to

 9 benefit a far-off facility, a far-off affiliate in the Eagle

10 Ford area of Texas that you've never done business with.

11 That's the person that we have to think about reasonable

12 equivalent value issues.

13             The second legal point is we have to ask if there's

14 an affiliate conveying something here.         Here, we have

15 Chesapeake Appalachia conveying to the FLLOs.          We have to ask

16 what did Chesapeake Appalachia get in return.          It's a get-and-

17 give kind of a thing.      Okay?

18             On the next slide, please, if it doesn't lift off the

19 page, if you can't see it immediately, okay, you go to indirect

20 benefit.    And the doctrine in indirect benefits is pretty,

21 well, well-created in the jurisprudence.

22             Intangible unqualified indirect benefits don't work.

23 They have to come in a much more concrete format.            Or to use

24 the Smith court's phraseology, fairly concrete.           And the burden

25 of proof on indirect benefits is not the plaintiff.           It's not




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 904 of 1639
                                                                      0904

                                                                             197

 1 on the defendant.     There's a burden shifting and all of the

 2 cases say that.     It is not my burden to disprove indirect

 3 benefit.    It's their burden to show that there were, in fact,

 4 concrete, tangible indirect benefits.

 5             So here is the evidence, in a nutshell.         And we'll

 6 walk through it pretty quickly.        Okay.    The trial testimony,

 7 and you can to back to 38, not a nickel of the money went to

 8 Legacy Chesapeake.      It went to repay WildHorse creditors.        The

 9 FLLO wasn't enough.      They needed -- Legacy Chesapeake needed to

10 draw another $194 million under its own RBL to help complete

11 the payoff of WildHorse creditors.         Okay.   This new debt load,

12 the increased RBL draws, plus the FLLO, increased Legacy

13 Chesapeake's capital costs by around 250 million on a present

14 value basis.    Okay.    That's all clear, clear and concrete

15 issues.

16             To prevail, the debtors have to show concrete

17 indirect benefits in a response that offset on a reasonable

18 basis all of that liability.       Okay.    So let's go through the

19 evidence.    Oh, I'm sorry.     And there are two -- 542 says there

20 are two indirect benefits of debtors who come forward.            And you

21 heard Ms. Schwarzman talk about that.          The first is that

22 WildHorse became obligee.       They agreed to become obligors on

23 Legacy Chesapeake debt, the RBL and the second lien.           Okay.      We

24 have to unpack that one.       And then Legacy Chesapeake got

25 commensurate value back in the up-tier exchange.           And we have




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 905 of 1639
                                                                      0905

                                                                             198

 1 to talk about that.      But what -- with the evidence, when you

 2 actually position it in law, and I know that the

 3 cross-examination went quickly and we focused on other things.

 4 So it may have gone so quick you didn't even realize how

 5 important it was, the quick testimony or the summation.            But

 6 these don't work.     Let me show you why.      Okay.

 7             So WildHorse gave commensurate value back by assuming

 8 Chesapeake's debt.     Okay.    Well, you heard Mr. Baggett.       He

 9 testified that Legacy Chesapeake was worse off, by about

10 $550 million, even though WildHorse accepted certain debt,

11 guaranty obligations on Legacy debt.

12             And this breaks down to two different things.          Okay.

13 The first is you have to think about, let's just assume for the

14 sake of discussion, that WildHorse has value, has equity value.

15 Okay.   That evaluates the constants and the green in the

16 middle.    As a result of the transaction, Legacy Chesapeake's

17 debt goes up more than $200 million on the whole.           And the

18 present value of its interest is about an incremental 200 --

19 excuse me -- and it goes up -- excuse me.          The debt goes up

20 about 400 -- 40- to 50 million.        And then the incremental

21 interest on top of the interest, the earlier interest it was

22 paying, now it's paying higher interest payment.           You present

23 value that, you're about $300 million worse off if WildHorse

24 had equity value.     We'll go the next slide.

25             WildHorse was not solvent.       WildHorse was woefully




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 906 of 1639
                                                                      0906

                                                                             199

 1 insolvent.    So, as a result, all of that debt that was trapped

 2 in WildHorse did not leak out of because that debt was only --

 3 there was no Legacy Chesapeake --

 4         (Recorded voice indicates a conference extension code

 5 needs to be entered)

 6              MR. STARK:   -- goes for Legacy Chesapeake.

 7 Mr. Baggett used the two-year with, the accelerator adjustment,

 8 which is more upbeat in terms of value.          And that showed about

 9 $250 million worth of leaking out value, leaking out losses, by

10 Legacy Chesapeake.     If you want to use Mr. Miller's more dour

11 five-year NYMEX pricing, that loss to Legacy Chesapeake goes

12 from 550, to about 850.      So there was no reasonably equivalent

13 value even though Legacy Chesapeake became a nominal obligor on

14 the debt.    It didn't do anything to help Legacy Chesapeake at

15 all.    This was expressed in demonstratives and we have those on

16 Slide 45.    So you can see the quantifications of it in a

17 separate way.     Okay.

18              So they go to their real argument, which is collapse.

19 Okay.    Chesapeake, the theory goes that they got -- if you

20 collapse the 2L exchange into the FLLO, there's benefit for

21 Legacy Chesapeake because the 2L exchange had a certain amount

22 of unsecured bonds that got converted into a lower quantum on a

23 principal basis of secured bonds.        Okay.   And they net those

24 two together.     Okay.   We're going to get into the law in just a

25 minute.




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 907 of 1639
                                                                      0907

                                                                             200

 1             But I think it's very important, as I heard the

 2 opening presentations today, he says if they were one and the

 3 same transactions in people's minds, that people were motivated

 4 to do this, as if subsumed within the WildHorse situation.

 5 That's not true.     Creditors do up-tier exchanges all the time

 6 with companies that are in distress.         That has nothing to do

 7 with repurchasing of, you know, debt in a conglomerate.            It's

 8 done because the company is failing, and they're looking to

 9 up-tier to get liens so that they are in a better position than

10 their compatriot unsecured creditors.         And here, too -- here,

11 as well, the second lien up-tier exchange was only offered to a

12 select few.    It wasn't opened up to everybody.        So the purpose

13 of the up-tier exchange is very different than having anything

14 to do with the FLLO and the WildHorse transaction,

15 notwithstanding what you've heard in court.

16             But let's get even more granular, to what the law

17 says about collapsing.       It's a three-factor test.      All of the

18 cases, and there's many that are cited, have the same

19 three-factor test:     whether the parties involved had knowledge

20 of the multiple transactions; whether each transaction would

21 have occurred on its own; and, whether each transaction was

22 dependent or conditioned on the other.         Okay.   Those -- that's

23 the test.

24             The knowledge part really gets down to notice.          Did

25 the parties have notice of the -- how -- of the transaction




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 908 of 1639
                                                                      0908

                                                                             201

 1 terms.    Did they know that they were -- as they were reflected

 2 in the documents, that this was going to be an integrated deal,

 3 or not.    Okay.   If the documents and notice facially reflect

 4 that it was not an integrated transaction, collapsing's just

 5 plain not allowed.     The law is as clear as day on this, without

 6 exception.    The component parts are instead treated as "simply

 7 different transactions towards the similar ends."           Every single

 8 case says that over and over and over again.          If you didn't set

 9 up the deal to be integrated, in a meaningful legal way, and if

10 everybody knew that to be the case, you cannot collapse for REB

11 purposes.    Okay.

12              That's where the testimony and the -- really, the

13 documents really hit home.       Because they say it over and over

14 and over again, that these deals were never intended to be

15 together.    They are not integrated, they're not conditioned.

16 They're thought to -- they're marketed separately and their

17 terms close separately.      Here is the up-tier exchange offering

18 memoranda.    Focus on the bottom line.        The offering -- the

19 exchange offers are not conditioned upon the completion of the

20 concurrent transactions.       Next slide.

21              Repeated (inaudible).     In addition, each exchange

22 offer is being made independently of each of the concurrent

23 transactions and is not conditioned upon the completion of any

24 of the concurrent transactions.        Go down to the left.

25              In addition, the exchange offers are not conditioned




      ACCESS TRANSCRIPTS, LLC                   1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 909 of 1639
                                                                      0909

                                                                             202

 1 upon the completion of the concurrent transactions.           Go to the

 2 right.

 3             In addition, the exchange offers are not conditioned

 4 upon the completion of the concurrent transactions.           Next

 5 slide.

 6             On December 4th, 2019, the company met with

 7 prospective FLLO lenders.       And it gave them a presentation

 8 about the FLLO and the second lien.        And they said that the

 9 FLLO is not -- excuse me -- the second lien is not conditioned

10 upon completion of the FLLO term loan.         This is in the

11 marketing of the deal.       Hasn't even happened yet.      Flip side.

12             You can try, in vain, to search the FLLO credit

13 agreement, conditions precedent or the rest, that has any sort

14 of notation about it being connected, tied, conditioned upon,

15 in any way, shape, or form, the 2L up-tier exchange which,

16 again, had a different purpose.        Next slide.

17             At trial, again, so quick you may have not even

18 noticed it.    Mr. Lawler confirmed that the filing of the second

19 lien up-tier exchanges were not conditioned on each other.

20 Next slide.

21             At trial, Mr. Dell'Osso confirmed that the FLLO term

22 on credit agreement did not contain any conditions precedent

23 based upon the effectiveness of the second lien up-tier

24 exchange.    Next slide.

25             Mr. Brendan Circle confirmed his understanding that




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 910 of 1639
                                                                      0910

                                                                             203

 1 the FLLO was not conditioned upon the consummation of the

 2 second lien up-tier exchanges or any minimum threshold related

 3 to the up-tier exchanges.

 4              The upshot of all of this, Your Honor, is that they

 5 were two separate transactions that were not intended to be

 6 connected.    They had different purposes, they were never

 7 marketed as integrated, the contracts don't show that they were

 8 integrated, they have no integration terms.          They are "simply

 9 different transactions towards similar ends."          And there is no

10 law available to support the notion, other than some testimony

11 that, well, we thought that they were together because they

12 were around the same time, and it was how we thought about the

13 credit.    That is woefully insufficient under the law, period,

14 done.   These transactions cannot be collapsed for reasonably

15 equivalent value purposes.       That's why we stopped arguing it,

16 as soon as he started taking the depositions and we studied it

17 deeper.    Next slide, please.

18              The third element of the cause of action is that

19 there remained, when the Legacy Chesapeake debtors were

20 insolvent, it bears reminding this Court that there's, what,

21 $10 billion of debt on this company.         We had a big fight about

22 its value.    But it started at 3.25-, got to 4.1-.         And Your

23 Honor figured it was half the collateral value.           This company

24 has been insolvent for a long time.

25              The unrebutted testimony, they cross-examined but




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 911 of 1639
                                                                      0911

                                                                             204

 1 didn't produce their own witnesses, even though they certainly

 2 had them waiting, that Legacy Chesapeake was -- the evidence is

 3 unrebutted that Legacy Chesapeake was insolvent under all three

 4 tests in December of 2019, all three.         I only need to hear one,

 5 but all three.     Next slide.

 6              Before the transactions happened, on the balance

 7 sheet test, you have -- Mr. Baggett testified.          He wasn't able

 8 to value the PUDs or the possibles because the data wasn't

 9 available.    But the gap to solvency was so incredibly big,

10 billions and billions of dollars, that there was no possible

11 way that the possibles and the PUDs could cover that

12 difference.    Next slide.

13              Before the transactions, unreasonably small capital

14 and inability to pay their debts due, this is important.            This

15 company issued a going concern qualification in November.            It

16 put the world on notice that it was really struggling.            You had

17 management's acknowledgment in documents that it expected a

18 covenant to fall by the third quarter of 2020.          You had

19 management's only projections showing that liquidity was

20 declining and capital spending was greater than the operating

21 cash flows.    You had debt trading levels that were reflecting

22 the debt was in distress plan.        All of that was in the public

23 domain before the transactions happened.         Every lender involved

24 knew that.    The debtor knew it.      Next slide.

25              Mr. Dell'Osso testified.     Again, sometimes our




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 912 of 1639
                                                                      0912

                                                                             205

 1 cross-examinations go so fast you may not have even noticed it,

 2 that, in December of 2019, the company was facing a de-listing,

 3 a de-listing notice from NYMEX -- excuse me -- from the New

 4 York Stock Exchange.      And it was facing liquidity challenges.

 5 And the board knew it.       Next slide.

 6             Let's look at it from after the transaction happened,

 7 okay.   It was left insolvent on all three tests.          Two, balance

 8 sheet, starting again.       Mr. Baggett couldn't -- didn't have the

 9 data to do the possibles and the PUDs.         But the gap to solvency

10 was billions and billions of dollars.         There was no way this

11 company was solvent.      Liabilities exceeded assets by

12 $4.1 billion.     Next slide.

13             You have documents from the company showing that --

14 now, admittedly, this is a November document.          But it was

15 anticipating the closing of the FLLO and the second lien

16 up-tier exchanges at the level that actually consummated.            And

17 the company's own prognostication was, if you have a 2-to-3-

18 percent decline in commodity prices, this company was going to

19 hit a covenant pressure, 2 to 3 percent for a company as big as

20 Chesapeake.    And this is December of 2019.        They were going to

21 hit 2 to 3 percent.      That was certainly a foreseeable problem.

22 That is unreasonably small capital.        You can't weather that

23 kind of storm.     Next slide.

24             This may be Mr. Zensky's favorite slide because he

25 likes to talk about markets.       And I do too at times.      Okay.




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 913 of 1639
                                                                      0913

                                                                             206

 1 Let's look at the price index throughout the entire time

 2 period, before and after.       Okay.    Let's look at the bond

 3 pricing.    Pick your day.     Before the transactions, they're

 4 trading at 43 cents on the dollar, 47 cents on the dollar, 45

 5 cents on the dollar, 59 cents on the dollar.          After the

 6 transaction, they're trading at 52 cents on the dollar, 41

 7 cents on the dollar, 52 cents on the dollar.          The market, the

 8 bond market, did not show solvency, not by any stretch.

 9             Mr. Zensky observed something that is kind of fun to

10 think about and talk about.       And I'd actually written on this a

11 little bit, which is stock market capitalization could be

12 outside of option value, while the debt value could be trading

13 at monstrous discounts to par, because the stock pickers may

14 have a different view of upside than the debt holders may have.

15 And we have some very weird conversations about the

16 admission -- efficient market hypothesis.          If one were to look

17 at massive debt discounts, right, you're looking at 9.7 billion

18 hard debt trading up to the transaction at a debt

19 capitalization of 7.12 billion.         Okay.   2.6 billion off of par.

20 And, after the transaction, you've got debt, 8.9 billion.            So

21 we lost that billion from the up-tier exchange, trading at

22 7.7 billion.    The debt markets did not like this company's

23 future.    Or at least it had a skeptical and (indiscernible)

24 view of what the company's future would be.

25             If you go to the next slide, at trial Mr. Lawler said




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 914 of 1639
                                                                      0914

                                                                             207

 1 that Chesapeake never intended that the FLLO and second lien

 2 transactions were "the end of the road" of its financial

 3 problems.    Those problems preceded December 2019 and they

 4 continued.    But what I do take tremendous exception with is the

 5 notion that the black swan issues of spring of 2020, which were

 6 true, COVID happened and the Saudi Russian deal happened, okay,

 7 it wasn't like this company was doing great up until then.                And

 8 that shockingly changed their entire dynamic.          This company had

 9 been doing poorly for quite a while.         And it was working

10 through those issues.      But solvency does not rise or fall based

11 upon the black swan timeframe.        This company was insolvent for

12 a considerable period, before it had way too much debt for a

13 considerable period before.       Your Honor has more than enough

14 evidence to show insolvency at the time in question.

15              That takes us to the alternative element.        This one's

16 a little bit harder because you had some very -- you had some

17 excellent executive witnesses.        And I'm sure they are excellent

18 executives.    I'm not suggesting that they're not.         Okay.

19              Intentional fraudulent transfer theory, though,

20 doesn't anticipate that people are bad people.          The Elizabethan

21 deadbeat scenario is not our modern corporate world.             Today's

22 intentional fraudulent transfer theory follows what we call the

23 natural consequences doctrine, which says that those in control

24 have good intentions.      But, if it was natural, naturally

25 foreseeable, as a natural consequence, that if Legacy




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 915 of 1639
                                                                      0915

                                                                             208

 1 Chesapeake provided the FLLO financing for the WildHorse debt,

 2 that those creditors at Legacy Chesapeake would be hindered and

 3 delayed in their ability to get repaid that.

 4             Think back to our trade supplier in Pennsylvania

 5 providing sand, Chesapeake Appalachia, who woke up one morning

 6 and found that they're now sitting behind 1.5 billion of

 7 secured FLLO debt, to pay off the debt of another affiliated

 8 company.    Okay.   The natural consequences of what happened here

 9 was that that sand provider is no longer -- would get paid.

10 And that was foreseeable and that's enough.

11             We do have badges of fraud.       I'll go through them

12 quickly.    And Mr. Baggett and Mr. Brown testified WildHorse and

13 Legacy Chesapeake were insolvent before and after the

14 transaction.     Here is the kind of interesting -- the second one

15 is kind of interesting, because the Elizabethan deadbeat

16 scenario is generally thought of in a context with the tax

17 man's a-coming.     And so you hand your sheep off to your brother

18 for a penny, but you get to keep the sheep.          Okay.   And when

19 the tax man comes, says you can have my penny, but I keep my

20 sheep.   Okay.

21             Here, you had an insider affiliate transaction like

22 an Elizabethan deadbeat.       You had Legacy Chesapeake providing

23 the value to keep WildHorse afloat, burdening up its value for

24 the benefit, as the tax man was a-coming to WildHorse.            Okay.

25 Third, WildHorse did not give Legacy Chesapeake reasonably




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 916 of 1639
                                                                      0916

                                                                             209

 1 equivalent value because it was insolvent.          There was that

 2 leakage of debt over to Legacy Chesapeake that it didn't know

 3 (indiscernible) it was otherwise trapped down there.           Okay.

 4             And the FLLO didn't resolve the conglomerate's

 5 problems.    The company was in trouble before.         And, as

 6 Mr. Lawler said, it wasn't ever intended to be the end of the

 7 road to solving all those problems.        It was a step along the

 8 way.    And, of course, we have those liquidity forecasts of the

 9 company, at 2 to 3 percent liquidity shortfall would tough.

10             This is a good case, Your Honor.        This is not a

11 (indiscernible) case.      This is proven.     This is prima facie and

12 the evidence is there for it.

13             So they come with their defenses.          They start with

14 the good faith lender defense, 548(c).         Okay.    The good faith

15 lender defense is only available if you -- or it's not

16 available if you knew or should have known that the obligor

17 could be insolvent, that the guarantor could be insolvent, as a

18 result of its transaction.       Okay.   If you knew or should have

19 known of Legacy Chesapeake's potential insolvency, this defense

20 is unavailable.     The law is clear as day on that.        There was so

21 much public disclosure, discussion, information in the public

22 domain about it.     There's no way that -- and we put the

23 evidence out there, that a good faith lender defense could

24 hold.

25             So that takes us to the last ditch effort which is




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 917 of 1639
                                                                      0917

                                                                             210

 1 546(e), the safe harbor.       That's it.    I mean, the case is a

 2 good case.    The evidence is there for it.        And the defenses

 3 don't work.    So it's only 546(e).      Now, the safe harbor is set

 4 up.   And there is where I love to listen to Mr. Zensky because

 5 he and I have, for years, have spent so much time talking about

 6 546(e).    He's usually on the other side, saying 546(e) doesn't

 7 ever apply.    And if I put (indiscernible) even right now, I'm

 8 sure he'd tell him to tell me, in a pique of honesty, that he

 9 doesn't think applies here too.        But I'll leave that aside.

10              The safe harbor was set up so that if a Wall Street

11 firm collapses, it doesn't create systemic risk and take down

12 the rest of our financial market.        That's the statutory

13 objectives.    And what's going here with a guaranty mortgage

14 fraudulent transfer case for bank debt, obviously, has nothing

15 to do with Wall Street.      But the language of 546(e) isn't

16 particularly clear.      And that's always been the problem with

17 it.   In the clause that they focus on we've kind of isolated

18 here.    The trustee may not avoid a transfer made to or for the

19 benefit of a financial institution in connection with a

20 securities contract except under Section 548(a)(1)(A) of this

21 title.    Well, that's the intentional fraudulent transfer

22 scenario.    So if Your Honor follows the evidence and the logic

23 and natural consequences (indiscernible) an intentional

24 fraudulent transfer claim would have a motion to dismiss would

25 be asserted here, then 546(e) doesn't apply, statutorily.




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 918 of 1639
                                                                      0918

                                                                             211

 1             But, under constructive fraudulent transfer theory,

 2 we've got two inquiries.       Okay.   The first is was the transfer

 3 made to or for the benefit of a financial institution.            The

 4 second is was the transfer made in connection with a securities

 5 contract.    Okay.   And the defendant's theory, Franklin's

 6 theory, as Mr. Zensky articulated, in a nutshell, Legacy

 7 Chesapeake transferred liens to MUFG, the collateral agent.

 8 Put asterisks on agent.      MUFG is the financial institution.

 9 Alternatively, and this is sort of the statutory trick, the

10 workaround.    We'll talk about that in a minute.         MUFG, as

11 agent, renders all of the FLLO lenders, financial institutions

12 themselves, as a customer trick.        I got to talk to you about

13 that.   And then Franklin separately contends it's a financial

14 institution.

15             As far as in connection with a securities contract,

16 well, it's not the FLLO bank debt, because bank debt isn't a

17 security.    So the in connection with is a different contract

18 altogether.    It's a securities contract to repurchase the

19 WildHorse bond debt with the proceeds of the FLLO and the RBL,

20 incremental FLLO, RBL FLLO.       That's their theory, in a

21 nutshell.    Let's break it down.

22             The next slide, the pink, is the FLLO debt rate.

23 That's the actors in it, that's the participants in it, that's

24 the obligors on it.      The green is when you send the money over

25 there, and some different people, WildHorse, goes and tenders




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 919 of 1639
                                                                      0919

                                                                             212

 1 for a debt.     Most of it went to WildHorse's bank debt.         Some of

 2 it went to WildHorse bond holders.        And it's saying it's that

 3 that bond, the tendering to bond holders, that overshadows

 4 everything, subsumes the whole thing, and makes it 546(e) in

 5 connection with the securities transaction.          Okay.   That's the

 6 schematics.     Okay.   So let's break it down.      66, please.

 7             Was the transfer made to or for the benefit of a

 8 financial institution.       Mr. Zensky's wrong.     Our argument

 9 doesn't start with in connection with.         We go there next.     But

10 MUFG was not a financial institution.         It was a conduit.     And

11 here you got to read the Supreme Court's Merit decision.            Okay.

12 In Merit, the Court held that financial intermediaries,

13 conduits, are not counted as financial institutions.           And this

14 makes intuitive sense.       The FLLO's rights as a secured lender

15 are held by those lenders, not MUFG.         FLLO lenders themselves

16 hold those rights.      They can buy and sell their debt at will.

17 They could novate their agreement with the company if they

18 chose, they could give waivers and forbearances, they could

19 recover value from this bankruptcy case.         Okay.    They were the

20 ones that negotiated the plan with the company.           MUFG didn't do

21 any of those things and can't do any of those things.

22             Because if you take a look at the agreements, MUFG

23 has no substantive agency authority or responsibility

24 whatsoever.     It's a repository, it's a bookkeeping, it's a mail

25 drop.   Okay.    As the agreement -- this is the collateral trust




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 920 of 1639
                                                                      0920

                                                                             213

 1 agreement, Section 4.05.       And if you look, five lines up from

 2 the bottom --

 3              Can Your Honor hear me?     I just got a message.

 4              THE COURT:   No, perfectly.

 5              MR. STARK:   Okay, good.    Thanks.

 6              If Your Honor will look, five lines up, in the

 7 middle, the line that starts, the use of the term trustee --

 8              Can Your Honor see that?     I meant to highlight it and

 9 we just didn't get there in time.

10              THE COURT:   I'm with you.

11              MR. STARK:   Okay.   The use of the term trustee in

12 this agreement with reference to the collateral trustee is not

13 intended to connote any fiduciary or other implied or express

14 obligations arising under agency doctrine of any applicable

15 law.   Instead, such term is used merely as a matter of market

16 custom and is intended to create or reflect only an

17 administrative relationship between independent contracting

18 parties.    The trust agreement goes further, on the next slide.

19 Here, we did highlight it.

20        (Counsel confer)

21              MR. STARK:   MUFG acts only at the FLLO's specific

22 direction.    They have no discretion and no power to act unless

23 directed to do so.     They can't act prior to such direction, as

24 the bullet below says.       And, while there's shared collateral

25 with the RBLs, it can't do anything anyway.          Because the RBL




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 921 of 1639
                                                                      0921

                                                                             214

 1 lender, the RBL agent, actually has all of the rights (audio

 2 interference) collateral.       It is utterly powerless to do

 3 anything.    It is the post office drop box.        Next slide, please.

 4             Because of that, we didn't name them as a defendant

 5 in the complaint.     The economic substance of the transactions

 6 did not go to MUFG.      It went through MUFG.      And if we

 7 successfully prosecuted TOUSA, MUFG bears no liability and can

 8 do nothing.    It can provide no recovery on that litigation.

 9 The FLLO lenders, not MUFG, receive that substance.           They were

10 the ones that get the benefit of the guarantees from the liens.

11 They're the ones that bear the economic impact.           MUFG is -- you

12 know, one way of thinking about it, some of the phraseology you

13 see in the case law, is that is MUFG on either side of the

14 transfer, as the Committee defined it.         It's not.    It's a

15 go-between conduit.      And Merit says you got to disregard it.

16             And on this point, in particular, I'll talk a little

17 bit more about it.     I'd urge Your Honor to read the Greektown

18 case.   Because the District Court in Greektown specifically

19 said that somebody occupying a role just like this, is a mere

20 conduit, and it doesn't matter, under Merit.          Okay.

21             This is the reason why we didn't name MUFG on the

22 TOUSA counts in the complaint.        We named the FLLO lenders

23 directly.    And that pleading decision has significance because,

24 according to Merit management, the only transfer that we're

25 supposed to look at is the transfer that the plaintiff seeks to




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 922 of 1639
                                                                      0922

                                                                             215

 1 avoid, the flow through of MUFG.        Okay.   Next slide, please.

 2             Now, there is a workaround to this rule.         Okay.      It

 3 is incredibly controversial.       It's the Second Circuit's Tribune

 4 decision.    It's the workaround to conduit rule.         Okay.   The

 5 definition for financial institution has this weird clause in

 6 it.   It says that it also includes any "entity," I added the

 7 comma to make it easier, that's acting as an agent or custodian

 8 for a customer in connection with a securities contract.             Then

 9 it's that customer.      In other words, if somebody hires a agent

10 or custodian to do something for them, then the customer itself

11 can be a financial institution.        Tribune decision is weird.         It

12 says that the debtor, Tribune, hired an escrow agent as it was

13 doing its LBO.     That was the intermediary.       And, for Merit,

14 that intermediary would've been a conduit.          And so, under

15 Merit, the Tribune claim would be viable.

16             The Second Circuit didn't like that.        So it did the

17 workaround and said, well, no, the escrow agent's effectively

18 a -- acting as an agent for the customer, which is Tribune.               So

19 Tribune is the financial institution.         That's, like, weird and

20 shocking, and nobody academically thinks that makes any sense

21 at all.    But that's what Mr. Zensky is pressing we should do

22 here.   We should look to Tribune as persuasive authority, that

23 because MUFG is a conduit, we'll just skip it.          And we'll make

24 the -- we'll make the FLLO lenders themselves, who hired MUFG,

25 the financial institution.       And that doesn't work.      Doesn't




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 923 of 1639
                                                                      0923

                                                                             216

 1 work for a couple of different reasons.

 2             The first is that the FLLO loans -- it's not a

 3 securities transaction.      And if you look at the -- if you parse

 4 the words carefully on the definition, this workaround

 5 definition, even if MUFG actually was an agent, which it's not,

 6 (indiscernible) Greektown felt it should, okay, it's not an

 7 agent for a customer in connection with a securities contract.

 8 They got the wrong contract.       Right.    It's an agent for the

 9 bank debt, not the agent for the WildHorse bond repurchase.               So

10 it doesn't work.

11             Also, as I said before, MUFG had no agency authority,

12 re: Greektown.     Okay.   The workaround is also very suspect.

13 Tribune, a cert petition was filed in Supreme Court.           The

14 Supreme Court asked the solicitor general as to whether or not

15 it was so violative of Merit the cert should be granted.

16 That's still pending right now.

17             They are a couple of cases out of the Second Circuit

18 that follow Tribune because they have to.          That's Sun Edison

19 and Boston Generating.       But it's not a good rule.       But, even

20 if it was, it's really distinguishable here because there, the

21 agent, the escrow transfer agent, was intermediary for a

22 securities contract specifically.        Transaction was a securities

23 transaction, facially.       Here, MUFG's agency relationship is

24 purportedly in connection with the FLLO bank debt which is, in

25 turn, in connection with a securities contract.           That's one in




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 924 of 1639
                                                                      0924

                                                                             217

 1 connection with too many.       So the workaround doesn't work.

 2 Okay.

 3             So under Merit, 546(e) doesn't apply, nor should it

 4 because it has nothing to do -- the avoidance of liens under a

 5 TOUSA theory has nothing to do with a securities transaction.

 6 And MUFG is a conduit.       Okay.   But now you're going for the --

 7 the part which is what Mr. Zensky was talking about, which is

 8 is it close enough.      Is the FLLO range close enough to be in

 9 connection with the securities contract.         Okay.    And you got to

10 stretch from, the pink side of the page to the green side of

11 the page, to find that securities contract.

12             Remember, Legacy Chesapeake had no liability on the

13 WildHorse bond debt.      The WildHorse -- WildHorse came to

14 Chesapeake in early of 2020 -- excuse me -- early 2019 as an

15 acquisition that came at that debt pre-existing.           And none of

16 Legacy Chesapeake had anything to do with any of that debt's

17 issuance.    And, frankly, WildHorse, operating under Eagle Ford,

18 didn't really have much to do with any of their entities

19 either.    And so it's a fully standalone entity that would rise

20 and fall on its own.

21             And yet, so that creditor up in Pennsylvania, who's

22 dealing with Chesapeake Appalachia, if you were to say to that

23 person, oh, yeah, you're now behind FLLO debt because we had to

24 pay off the WildHorse bond debt in Texas, they'd scratch their

25 head and say, how am I involved in that, how -- there's no




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 925 of 1639
                                                                      0925

                                                                             218

 1 securities that Legacy Chesapeake at issue here, there's

 2 nothing going on that my debtor has anything to do, other than

 3 the fact that we're now burdened up and paying for that

 4 securities issue all the way down in another part of the

 5 company, that has no distance operations with us at all.            It's

 6 just too far removed.      And Merit requires closer scrutiny.

 7             "The transfer that the trustee must -- that may not

 8 avoid is specified to be a transfer that is either a settlement

 9 payment or made in connection with a securities contract."                Not

10 a transfer that involves, not a transfer that comprises, but a

11 transfer that is a securities transaction covered under Section

12 546(e).    This is too attenuated.      Okay.   Back to Sun Edison and

13 Boston Generating, those were actual involvements in the

14 transaction.    Here, it is just sources and uses of money.

15 That's the only connectivities.

16             So, Your Honor, we do not -- next slide, please.

17             TOUSA, in sum.     We have a prima facie case here.

18 It's a good case.     There's been ample evidence to support

19 claims liability.     And remember, we're still at the (audio

20 interference) stage.      Okay.   The debtors did not introduce any

21 substantive rebuttal evidence.        All they did was cross-examine

22 ours.   Their contentions respecting indirect are they aren't

23 supported by the evidence.        WildHorse signing on to Legacy

24 Chesapeake that hurt Legacy Chesapeake, not the other way

25 around.    And collapsing doesn't work under the law as the




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 926 of 1639
                                                                      0926

                                                                             219

 1 evidence we have.     And it's pretty clear on that point.

 2             There's far too much information in the public domain

 3 for a good faith lender defense.        And you got to really stretch

 4 the facts and law under Merit.        Or Your Honor has to adopt the

 5 Second Circuit's Tribune decision -- again, go read Greektown

 6 and see what it says about Tribune.        You got to really stretch

 7 that even further than Boston Generating and Sun Edison to sort

 8 of say 546(e) has a bearing here.        These claims have value.

 9 And we've gotten none of it.       That is wrongful, we think.       And

10 it violates 1129(a) and (b).

11             Does Your Honor have any questions for me on TOUSA?

12             THE COURT:    No, sir.

13             MR. STARK:    Okay.   Let's talk about the

14 (indiscernible) preferences.       Okay.   Let's have a little bit of

15 legal framework.     Chesapeake's an Oklahoma company.        We don't

16 have any Oklahoma precedent on point.         We're squandering, we're

17 lapsing $3.8 billion in preference claims.          That's a big thing.

18 But we don't have any law about that.

19             I made a second cite here.       It's sort of shameless,

20 self-indulgent.     Forgive me.    But I do some writing with

21 Professor Jared Ellias.      There's a book coming out that goes

22 through the history of American jurisprudence on fiduciary

23 duties in insolvency situations.        It's a white paper.      I

24 thought it was just the cleanest way of a lot of law for

25 hundreds of years, American corporate jurisprudence, used the




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 927 of 1639
                                                                      0927

                                                                             220

 1 trust fund doctrine.      That lays all of that law out.

 2 Eventually, it heeded the business judgment rule.           But there

 3 were important stops along the way in Delaware, to the extent

 4 that that was viewed by Oklahoma as a good precedent or a

 5 persuasive precedent.      We have (indiscernible) and famous

 6 footnote 55, the possibility of insolvency can do curious

 7 things to incentives, exposing creditors to risk of

 8 opportunistic behavior.

 9              That launched a whole new wave of thinking about what

10 boards should do at the time in which a company becomes

11 insolvent.    It's sort of, I think, started its own of

12 insolvency and stuff like that.        Today, Delaware's

13 jurisprudence is really very thin.        You've got Trenwick,

14 Gheewalla, and Quadrant.       That's it.    13 years of change to

15 jurisprudence and you've got three cases.          Okay.

16              The rule has been tightened up a little bit.         At

17 least Gheewalla does it.       Do these follow traditional business

18 judgment principals.      And they're owed to the company itself,

19 not to any particular stakeholder.        Okay.    But it does not

20 authorize a swashbuckling attitude when it comes to a massive,

21 massive asset, like 3.8 billion in preference claims.            Okay.

22              Now, we don't have any case law at the state level,

23 Oklahoma, Delaware, and Texas, New York, with respect to

24 evaluating something as big and impressive as that.           We do have

25 two federal cases, the Skorheim (phonetic) case and Exide,




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 928 of 1639
                                                                      0928

                                                                             221

 1 where in -- on the District Court and, in Exide, Judge Kerry

 2 (phonetic), in Delaware, said that, if the company

 3 intentionally lapses the preference claims, that can be a

 4 breach of fiduciary duty.       In fact, Exide has a lot of

 5 similarities.     The company cut a deal with the secured lenders

 6 for a quick restructuring, for a program that gave all the

 7 value to the secured lenders, the creditors committee.            And

 8 they filed on the 91st day.       They allowed the mortgages to

 9 harden.    The creditor's committee -- I wrote the complaint.

10 The creditor's committee lodged a breach of fiduciary,

11 fiduciary duty, and fraudulent transfer to the equitable

12 subordination complaint.       And Judge Kerry said those claims

13 survive a motion to dismiss.

14             Next page.    Now, the law also tells us that when

15 you're in distress, purchasing officers need to really, really

16 study the situation.      Judge Rakoff's decision that came down

17 just a few weeks ago in the Nine West case is really

18 instructive.    There was an (indiscernible) that was done, and

19 the allegation from the complaint was they didn't study the

20 implication decision that they were making, and Judge Rakoff

21 said that's a claim.      You don't get the benefits of business

22 judgment if you didn't really look at it.          From here, I go back

23 to Mr. Lawler's testimony: I don't need to study it; I live it.

24             Next bullet.     At some point, squandering assets

25 lasting values can be so great because even if you studied it,




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 929 of 1639
                                                                      0929

                                                                             222

1 it's corporate waste.

2               Next slide, please.    There is Judge Chapman's

3 decision (indiscernible), and I believe that one, too.             Judge

4 Chapman dismissed the fiduciary duty and avoidance theories

5 from the failed merger of Forest and Sabine.           I don't think an

6 awful lot of this opinion, and I'd love to talk about it, but

7 it's not necessary.

8               To the extent Judge Chapman quickly draws a

9 distinction between decision making and avoidance theories that

10 bring value into the company, recovering payments made, for

11 example, versus value allocation, she doesn't rest her opinion

12 on it.   She rests her opinion on the Creditors' Committee's

13 inability to put forward evidence that if you prosecuted this

14 claim, it actually would end up yielding value to unsecured

15 creditors.    That's not what -- we've done that here.         The

16 Creditors' Committee in Sabine did not do that.           That's why

17 those claims were dismissed.       But if anybody wants to read

18 Sabine as seeing a distinction, and I gather the debtors do,

19 between avoidance actions that bring in money versus those that

20 allocate, I don't find that in the statute, or in corporate --

21 in (indiscernible) corporate law anyway.         I think if that's the

22 reading, then Sabine (indiscernible) your opinion, and I don't,

23 I just don't think it's right because if you avoid nearly

24 $4 billion of liens, that's good for a company.           That's a good

25 thing.




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 930 of 1639
                                                                      0930

                                                                             223

 1             And of course, there's claim, even if you can't go

 2 after the D&Os for the business judgment, that side will tell

 3 you, as to other authorities, that you still can go after the

 4 lenders who received the benefit of the last preferences.            I'm

 5 not recreating something; that still can be a theory that

 6 works.   Enterprise proved positive, they filed on the 91st day

 7 and they -- and that was a joint deal between the lenders and

 8 the company, and an equitable subordination claim alive and

 9 unjust enrichment was always available in an equitable

10 circumstance.

11             So let's go to the next slide because the debtors'

12 case narrative, they aggressively used the preference thread to

13 secure a badly-needed rights offering, and you couldn't get it

14 any other way.     Chesapeake FLLOs and Franklin breached that

15 deal around before May 14th, and they got those concessions by

16 the threat of the preference litigation.

17             You have their argument that the company fought

18 really hard in these negotiations to obtain these great

19 recoveries from secured creditors and that they could not have

20 risked the freefall because they didn't have financing in place

21 in that scenario.     Okay?    And again, I don't -- I'm not

22 faulting the executives.       Life is hard.    But I don't think

23 that's an accurate narrative.

24             What you'll see from the evidence, and we'll go

25 through it, is that the FLLOs did threaten, not people




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 931 of 1639
                                                                      0931

                                                                             224

 1 intentionally, I don't -- I think they're probably honest when

 2 they tell you, oh, I wasn't really worried of a lawsuit against

 3 me.   But they threatened a litigious and hostile Chapter 11

 4 case, which we know quite well, that this company really just

 5 wanted to get in and out of bankruptcy as soon as it could.

 6 And having to file those in a litigious posture was something

 7 that scared them, so they folded.        They didn't get any sort of

 8 tolling agreement, no forbearance; they simply let them go.

 9 And when they -- and by doing that, they relieve the FLLOs and

10 the second liens of litigation risk.           There's no real evidence

11 that they spent it.

12             The DIP financing was available, and actually, there

13 was potentially less expensive equity financing.            Okay?   One of

14 the FLLOs relieved of the lien avoidance risk, they went off on

15 their own, and they structured the deal, and they told the

16 company what the deal would be.        Okay?     And the debtor signed

17 on after the fact.     And ever since that day, it's been a hard

18 push.   They don't want to talk to me; they don't want to

19 negotiate with me.     A hard push to push that deal forward, the

20 one that they (indiscernible).        Okay?

21             So now let's look at the actual evidence.          Okay?      77,

22 please.    There was -- Ms. Schwarzman, as Mr. Nash did in his

23 opening, go back to 2013.       I don't care about 2013.       I don't

24 care about anything until just before the bankruptcy case.                May

25 14th was the stipulated date.       That was the date.       If you filed




      ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 932 of 1639
                                                                      0932

                                                                             225

 1 by May 14th, then most of the FLLO and second lien mortgages

 2 would have been avoidable under a preference theory and a

 3 pretty darn good one.      Okay?

 4             Let's go back only a few weeks before that time.              The

 5 Board was told of the FLLO second lien preference risk.            They

 6 were given an analysis that was done by the companies'

 7 professionals that showed that there was big preference risk,

 8 and that they were prepared to discern how much unsecured

 9 creditors should get in the case.        Based upon this analysis, it

10 was the company's perspective that the negotiating offer should

11 be for FLLOs and the Franklin 25 percent of new equity goes to

12 unsecured creditors, even if that would reduce enterprise

13 value.   Okay?

14             Next slide, please.      Two days later, on April 30th,

15 the Ad Hoc Group responded by threatening -- yeah, they

16 threatened them individually, and everybody shrugged their

17 shoulders, but they threatened the hostile and litigious

18 bankruptcy process and that they should not and could not file

19 during the case if that's what they were looking at.

20             In the same presentation, the FLLO lenders said, we

21 know that Kirkland is telling the Board that you both have a

22 fiduciary duty to preserve those certain alleged preference

23 claims, and then they launched into why it is they should just

24 disregard them.

25             Now we go to 79.       This is Mr. Nelly's (phonetic)




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 933 of 1639
                                                                      0933

                                                                             226

 1 testimony about May 5th.       Okay?   The Ad Hoc -- the FLLO Ad Hoc

 2 Group delivers a restructuring proposal, and it has a weird

 3 term.   I've been doing this for a long time, and I've never --

 4 I've negotiated a lot of deals, but I've seen a term like this

 5 in a term sheet.     No bankruptcy filing before June 30th.          It

 6 was a deal point made at this point that if you want to

 7 negotiate with us, you better not file on the 14th.

 8             The same day, the Board votes to pay themselves, to

 9 pay the executives 19 million in bonus payments.           I'm not

10 attacking the decision that they did that, but it's clear that

11 they did that because they knew that bankruptcy was going to

12 happen, and like most debtors nowadays, they might do it

13 beforehand to avoid the 503(c) scrutiny.         So this is evidence

14 that they were thinking hard to prepare for the bankruptcy with

15 no problem, at least when it came to their bonuses.

16             Next slide.    On the next day, as Mr. Antinelli

17 testified, the FLLO groups sent another letter reiterating,

18 we're going to have ourselves (indiscernible), which is a

19 bankruptcy case, if you file on time.         A few hours later, after

20 the company receives that letter, the second letter in, like,

21 three days, two days, the company then sends back a term sheet

22 to the FLLO term lender group saying, okay, we're going to do

23 -- we'll change the term sheet, and we'll get rid of unsecured

24 creditor fixed amount; we'll leave that as TBD.

25             Next slide.    Remember that?     That's -- so now we go




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 934 of 1639
                                                                      0934

                                                                             227

 1 five days later.     We have this presentation on May 11th.          Okay?

 2 This is the document.      You've heard Mr. Antinelli and others

 3 say, well, this really isn't a good reflection of what truly

 4 happened.    But it says the company has not inserted itself in

 5 the dialogue as creditors have constructively negotiated.

 6             I'm sure that there's truth to both assertions.           I'm

 7 sure that Franklin and the FLLOs were all talking among

 8 themselves about what a deal should look like.          And I'm sure

 9 that the company said, have those conversations, keep us

10 informed, let us know how it turns out, see if we can be

11 helpful.    That's how assertion works.       But the notion that they

12 were leaving it, that the (indiscernible) bankruptcy practice

13 as I know it, is far more likely that, in fact, those guys were

14 meeting separately to talk amongst themselves, in part because

15 if you see here, Franklin was offering an exit -- a backstop

16 rights offering that was substantially cheaper than what the

17 FLLOs were offering.      They were prepared to do it.       Okay?    So

18 they went off to talk amongst themselves about that.

19             Mr. Lawler testified to the extent that if there's

20 any ambiguity on the point of who was leading who, Mr. Lawler

21 testified that it was not Chesapeake, but the FLLOs and

22 Franklin who determined for themselves what unsecured creditors

23 would get in this case.      And that's despite the analysis they

24 got a week earlier about the substantial unencumbered value

25 that should go to the unsecured creditors.




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 935 of 1639
                                                                      0935

                                                                             228

 1             Next slide.    We've had a lot of discovery in this

 2 case, but we haven't seen a single document on or prior to May

 3 14th where the Board received any other analysis about the

 4 3.8 billion in preference claims.        What could it be done?      What

 5 kind of financing could come in here?         What kind of deal could

 6 be achieved?     There's no records at all about anything else.

 7 Even though we have analyses, we don't have any that look like

 8 that.    Okay?

 9             There's -- and then as far as the Board decision, all

10 we have is on May 10th there was an information session.

11 Nothing was decided.      Okay?   There's no vote.     No votes were

12 taken.    No records exist to corroborate that the information

13 session actually involved a deliberative process to determine

14 not to file.     There are no minutes to that extent.

15             Now we get into the 14th, where it's time zero.            On

16 this date, as both Mr. Lawler and Mr. Antinelli testified,

17 there was no restructuring deal.        There wasn't even a deal in

18 principle yet.     They were still talking.      The decision was then

19 made to lapse the preferences.

20             Next slide.    The Board didn't -- Mr. (indiscernible)

21 said the Board decided not to file, but we don't know when that

22 decision was made.     There weren't even any Board meetings on

23 May 13th or 14th; it just kind of sort of happened.           So the

24 debtors got nothing.      The testimony is, there was no legally

25 binding deal, the creditor groups -- they were talking, and




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 936 of 1639
                                                                      0936

                                                                             229

 1 they may have been intimating what they might want to do, but

 2 they could walk at any time, they could demand the deal be

 3 changed.    The leverage was allowed to dissipate, and the RSA

 4 didn't come together until later.

 5             Next slide.    But we know this is a designated

 6 deposition testimony.      MUFG was prepared to provide the DIP for

 7 filing on May 14th.      They had committed financing.       They may

 8 not have had the equity committee commitment that

 9 Ms. Schwarzman talked about before, but this company could have

10 filed.   It was -- it had the commitment to get the financing

11 done, it just didn't want to execute on that.

12             Next slide.    And the FLLO/Franklin rights offering

13 was not the only option.       Franklin was willing to backstop its

14 equity rights offering at the lower price reflected on Slide

15 80.   What happened?     Why didn't that come to be, Mr. Circle

16 said, because the debtors never asked.

17             Next slide.    Franklin also never believed this

18 company was worth 3.25 billion.        It was a sham.     Mr. Circle

19 testified that the Chesapeake was worth, in his mind, far in

20 excess of the RBL and the FLLOs.        And here we go back to a

21 quote that I had back in the first day -- at the beginning of

22 this, my opening slide, the Warren Buffett quote, quote, "The

23 best thing that happens to us is when a great company gets into

24 temporary trouble.     We want to buy them when they're on the

25 operating table."     Okay?    That's -- this company was on the




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 937 of 1639
                                                                      0937

                                                                             230

 1 operating table, and Franklin was a buyer, and so was the

 2 FLLOs, and they figured out a price point that would be a

 3 really, really inexpensive buy for them.

 4             I'll just pause for a moment.       Mr. Zensky made a

 5 point about, you know, that everybody saw before this period of

 6 time the equity upside because bondholders didn't go into the

 7 second lien exchange.      And it kind of, you know, made me think

 8 about this particular slide because people do what they do for

 9 the economic reasons they have at the time.          Unsecured

10 bondholders may have been offered the opportunity to go to the

11 second lien exchange.      They may not have wanted to do it

12 because they'd have to sign an intercreditor agreement; they

13 lose all optionality.      People don't go into second liens all

14 the time if they're in a subordinated lien position because the

15 senior lienholders tell them what they can and cannot do with

16 the collateral.

17             Here you have exactly what Franklin wanted to be.

18 They're in a position to be a buyer, and they can -- and

19 they're not hampered by what the senior lenders tell them what

20 they want to do, what they should do.

21             Next slide.    Again, the debtors always knew that

22 there was significant value -- a significant unencumbered value

23 and they let Franklin and the FLLOs construct their deal on

24 their own to take it.      They knew about the 10.6 percent, that's

25 in here, okay, but they deferred to those negotiations, and




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 938 of 1639
                                                                      0938

                                                                             231

 1 what came out of those negotiations, rather than the 25 percent

 2 that was initially asked, was what later became 17 percent.

 3             The FLLOs and Franklin decided to give the unsecureds

 4 12 percent, close enough, I guess to the 17, but then they took

 5 it back.    They did the 3.25 rights offering and took eight

 6 percentage points and reallocated back to themselves.

 7             Now they find themselves having to back up.          Now that

 8 the company has actually grown in value, and exposes how that

 9 kind of came together, they're backing into this RBL roll up

10 way of trying to get done because at the time deal was done, it

11 may have been okay as the TEV was there then, but it is not

12 okay as the TEV is today.

13             Last slide in this section.

14             RECORDING:    Our system will end this conference in

15 five minutes.     To extend this -- (phone buttons pushed) -- your

16 contract has been extended for 60 minutes.

17             MR. STARK:    -- in our complaint.      That was basically

18 lying that that was in our complaint.         They didn't have

19 analyses; they didn't look at them; they didn't evaluate them.

20 Once Franklin and the FLLOs did their deal and told them what

21 the unsecureds were going to get, they signed on, when is the

22 bankruptcy, and we've been marching like soldiers ever since.

23             Summation, Your Honor, on 93.       It is a very big deal

24 under the law to last 3.8 billion in known and viable

25 preference claims.     That is a very, very big deal.        There is no




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 939 of 1639
                                                                      0939

                                                                              232

 1 case law that says, oh, yeah, you've got business judgment

 2 rights, you can just dispense with that.          Okay?   There is no

 3 decision like that.      Not out of Delaware, not anybody else.

 4 There is case law saying that if you do this, you do run the

 5 risk of breach of fiduciary duty; you better study it hard.

 6             Second point.    Lien avoidance is good.        Lien

 7 avoidance is not bad.      The FLLOs may not have liked the fact

 8 that they went into a bankruptcy and they couldn't control the

 9 other side of it, and the debtors may have preferred,

10 literally, they preferred, that they wanted a bankruptcy that

11 was more of a transaction that they knew the outcome.              Okay?

12             The lien avoidance is an acceptable way to go ahead

13 and reorganize the company.       It's the traditional way to

14 reorganize the company.      But if you're going to let them

15 (indiscernible), you better work awfully hard.            The Chesapeake

16 (indiscernible) without having made any preparations for

17 bankruptcy.    They've had the opportunity to have the DIP

18 financing by May 14th, and they didn't secure it.           They didn't

19 tie it down.    There's no documentary evidence, again, that they

20 really studied the issue, except Mr. Lawler says he know -- he

21 lived it and that was good enough.        Okay?    And they didn't

22 secure any deal.     They let their leverage dissipate before the

23 deal, and there's no evidence they even convened a board

24 meeting to face these things, they just let it go.

25             And it is not true that Chesapeake aggressively




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 940 of 1639
                                                                      0940

                                                                             233

 1 mandated the deal.     They didn't lead the discussion.        As

 2 Mr. Lawler testified, the FLLOs and Franklin dictated the terms

 3 of what unsecured creditors and others would get and then they

 4 gave it to the company, and we've been marching like soldiers

 5 ever since.    This is the (indiscernible) case outcome, Your

 6 Honor, I don't -- I know that I'm marching against, you know,

 7 bankruptcy practice and great professionals, and everybody is

 8 working really hard, but 3.8 billion squandered, the people who

 9 are the target of the suit, walk away with the company, for

10 convenience sake.     Okay?    And now we're going to be

11 overcompensated when the company itself knew all the way back

12 here that unsecured creditors should be due is a terrible case

13 outcome.    It should not be exonerated under 1129(a) or (b).

14             Your Honor has been very patient with me and I'm

15 trying not to belabor.       I have a few more sections.      Does your

16 Honor have any questions for me about that?

17             THE COURT:    No, sir.

18             MR. STARK:    Okay.   There's sort of a low hanging

19 fruit claim, legal dividends.        An Oklahoma company that pays

20 self dividends when it's insolvent violates Section 41 and 52

21 of the Oklahoma General Corporations Act.          Section 53 of the

22 Act makes the directors liable for that.         $22 million has been

23 paid per quarter in dividends to preferred stockholders.

24 There's no collectability issue.        The company's got ample D&O,

25 and there's no insurance along with the Committee that's going




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 941 of 1639
                                                                      0941

                                                                             234

 1 to stand and prosecute it.       Okay?

 2             We know that the 22 million equity dividend was done

 3 in December of 2019, and we have evidence of solvency.            We know

 4 how 22 million was done as (indiscernible) on board and was

 5 valuating you know, preference risks, things like that.            That

 6 is low hanging fruit, the 44 million, and there may even be

 7 more if we go back to earlier quarters, depending upon whether

 8 they were paid systemically and whether insolvency can be

 9 proven back there.     Those are released as well for no

10 consideration.     That doesn't make sense to us either.

11             Again, I don't want to -- on Slide 98, we learned

12 from reading Sabine that Creditors' Committees that bring

13 litigation claims have to produce to the judge evidence that

14 actually prosecuting would be beneficial to the unsecured

15 creditors their constituency, so we provided those litigation

16 models.

17             People can differ as to whether or not the model

18 assumptions are right or wrong, but if you were to avoid the

19 liens and the guarantees issued in connection with the FLLO, if

20 you were to have a remedy provided for the lasting of the

21 preferences, if you were to provide -- if those illegal

22 dividend claims are prosecuted successfully, that is

23 unencumbered value.      That renders or delivers unencumbered

24 value of significant quantums and that evidence has been

25 presented to Your Honor.




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 942 of 1639
                                                                      0942

                                                                             235

 1             If you will, Your Honor, on Slide 101 and 102, the

 2 collapsing of Classes 6 and 7.        The thing that I've been trying

 3 to do from the beginning of this case to this very moment --

 4 and if Your Honor will allow me and I'm going to be intense --

 5 it begins with a fair outcome.        I haven't been trying to, you

 6 know, stick it for people.       I haven't been trying to avoid

 7 negotiations.     I've been making proposals and trying to get

 8 anybody to negotiate to avoid this day as much as possible.

 9 And just nobody calls me back.        Okay?

10             Collapsing a 6 and 7 as done in the middle of a

11 trial, I didn't play for time; I said, okay, we'll study it,

12 and we'll see what the implications are.           But it's not

13 particularly fair.     And consistent with our entire theory of

14 fairness, we said, well, what is fair, right.

15             So when we looked at the company, and we said, there

16 are some entities in the company that are asset rich, and there

17 are some entities in the company that are asset poor, like any

18 other large conglomerate.       If you have a claim at an asset-rich

19 entity, generally speaking, you've done your credit risk

20 profile, and you've made your commercial decision about

21 providing credit one way or other about that entity, you should

22 get the benefit of your bargain.

23             Some other creditor who chose to contract with a less

24 rich entity should not get the benefit of that bargain. That is

25 ETC's problem.     That is why Mr. Mitchell was fighting, you




      ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 943 of 1639
                                                                      0943

                                                                             236

 1 know, the separation between the bond and the trade.           He made a

 2 very component argument, it's true, that doing holistic across

 3 the board, separation of bonds and trade isn't sensible.

 4 That's not fair.

 5             But in order to substantive consolidation, because

 6 Energy Transfer and, frankly, a whole lot of other creditors

 7 don't have claims at very asset-rich entities, they have them

 8 at certain entities that have value and some that don't have

 9 value.   And so that's now glomming onto a solution, he created

10 -- he identified the problem persuasively.          The solution

11 creates problems for everybody else.         And that's not fair.

12             The slides here sort of show that.        It sort of shows

13 that if you do, this is Mr. MacGreevey's analysis, and we can

14 just use the books and records (indiscernible).           Okay?   And if

15 you combine it so that everybody -- and this is the combined

16 full distributions, everybody gets 2.6 percent recovery.

17             If you go company by company, and people who have got

18 claims of asset-rich entities get their allocation based upon

19 the asset pool, it's different.        If you do it with intercompany

20 claims, but the companies do migrate values between themselves

21 to intercompany claims, a lender -- a debtor-by-debtor analysis

22 gets 3.8 percent for Class 6 and .5 percent for Class 7.

23             If you do it without the intercompanies, if you sort

24 of just write those off as equity contributions and dividends

25 as opposed to intercompany debt, it's a little bit different;




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 944 of 1639
                                                                      0944

                                                                             237

 1 it's 3.7 and .8.     We just want the fair outcome, Your Honor.

 2 And the fair outcome should be people should get paid based

 3 upon what their legal entitlements are, not for convenience

 4 sake.   So that's what we would suggest.

 5             Miscellaneous issues, and then I'll wrap up, on slide

 6 106.    The confirmation order provides at paragraph 242 that the

 7 Committee goes away immediately.        There are no signs of the

 8 confirmation order, there's no more committee anymore.

 9             THE COURT:    It's 276 now.

10             MR. STARK:    Okay.   Apologies.    That's not consistent

11 with bankruptcy practice or appropriate, in our view.

12             THE COURT:    I agree.

13             MR. STARK:    There is a -- the waiver, the 14-day

14 stay, obviously, we're bringing substantial issues here.            If

15 Your Honor were to overrule our issues, I'd have to talk to the

16 Committee about our appeal options.        So this is intended to

17 prevent that from happening.       I'm not suggesting that we

18 wouldn't come and talk to the Court about it or the other

19 parties, but to -- before we even have an opportunity to hear

20 your ruling and to think about it, it's being taken away.

21             There's the opportunity to modify the plan, which was

22 carte blanche, and we don't think that's right either.

23             The last issue is that there's value being given in

24 the form of equity and warrants to various bonds creditors

25 here.   We have indenture trustees, they've been very active.




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 945 of 1639
                                                                      0945

                                                                             238

 1 They've been very constructive members of the Committee.            If

 2 they have to go and sell all of the stock on the market to

 3 satisfy their charging lien, that's not -- that's going to

 4 really hurt people.      The normal convention is to pay their fees

 5 in cash, and so we're supporting -- we're asking that that be

 6 done here to conform with other cases.

 7             I promised I would conclude, Your Honor, by offering

 8 an alternative view about how to proceed.          It is not a

 9 different way to proceed than any of the other times have been

10 before Your Honor, in a sense.        This case, proceeding with

11 soldiers marching, and that's just not good bankruptcy process.

12 These are substantial issues, and we should sit and talk about

13 them.

14              You asked Mr. Baggett did the Committee prefer

15 liquidating his company, and the answer is an unreserved no.

16 That's never been what we're about.        We have always been

17 willing, ready, and able to negotiate a fully professional

18 deal.   Your Honor knows me.      That's how I practice.      I want to

19 get to a win-win for everybody, but you have to engage with us

20 if we're meaningful in the case.

21             THE COURT:    Mr. Stark, here's the problem.         And I've

22 hinted at this all along.       You can't stand up and accuse

23 someone of malfeasance and then expect them to sit down and

24 negotiate a resolution.      And you did it from day --

25             MR. STARK:    Well --




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 946 of 1639
                                                                      0946

                                                                             239

 1             THE COURT:    -- one.   I'll get Mr. Schaible, and I'll

 2 get Kirkland on here, and I have every belief they'll tell you

 3 that they were offended and insulted at some of the things

 4 you've said that they engaged in.        I heard it.    But you can't

 5 expect people to say, okay, I'm going to put that aside, and

 6 I'm going to sit down and negotiate with you when I don't think

 7 you're entitled to something and you've impugned my reputation,

 8 which is all that lawyers have.

 9             MR. STARK:    Well, Your Honor, as far as impugning a

10 reputation, again, there's only so many times I can apologize

11 and say I'm sorry, and I think everybody in this deal and this

12 Court knows me.

13             THE COURT:    Actually, this first --

14             MR. STARK:    Your Honor, I have --

15             THE COURT:    This is the first time you've actually

16 said that you would apologize.        Every other time, you said you

17 didn't do it.

18             MR. STARK:    Well, I'm sorry, Your Honor.       I thought I

19 apologized many times at the beginning of the case.           If I --

20 again, I'm tired.     I don't think that I've impugned anybody,

21 but if I have, and if I've offended, I'm certainly apologetic.

22 Your Honor knows that I have all respect in the world for those

23 professionals.     I work with them all the time on lots of

24 different cases.     I have great affection for them and call them

25 my friends.




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 947 of 1639
                                                                      0947

                                                                             240

 1             THE COURT:    Well, I've --

 2             MR. STARK:    They've been doing this job --

 3             THE COURT:    -- been very surprised at some of the

 4 things that you have said.       I've been very surprised,

 5 especially when I've got nothing in the record.

 6             MR. STARK:    Your Honor, again, the theory of this

 7 case is that a deal was struck for the purposes of economic

 8 improvement of the people that were bargaining.           There's

 9 nothing wrong with that.       That's commerce.     That's America.

10             THE COURT:    I agree.    That would be the only way I

11 would understand.

12             MR. STARK:    The lawyers and the bankers hate the

13 situation that they have, but they negotiate for their clients

14 to the best of their ability.        That's what they did.     That

15 doesn't mean the deal is right.        That doesn't mean that a

16 faulty transfer and other claims don't arise because of the

17 structuring of that deal, that aggrandized the people who are

18 allowed to negotiate it.

19             THE COURT:    I totally agree.     But that's not what we

20 were talking about, was it?

21             MR. STARK:    I --

22             THE COURT:    You have complained.      You have

23 complained, hearing after hearing after hearing, that no one

24 would talk to you.     Now, in all candor, I don't care.         But you

25 cannot expect someone to want to sit down and negotiate with




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 948 of 1639
                                                                      0948

                                                                             241

 1 you when you position this the way you did.          That's what we're

 2 talking about.

 3             MR. STARK:    Well --

 4             THE COURT:    And so I just don't think it can be that

 5 big of a surprise.

 6             MR. STARK:    Your Honor, we started this case being

 7 told you're out of the money, you get nothing; and you're going

 8 to have to litigate your way to get something; you've got three

 9 months to figure out a standing motion.

10             We handed everything to the other side and said we

11 don't wish to file any of this.        We don't wish to litigate.         We

12 wish to sit down with you and negotiate.         We're prepared to go

13 to judicial mediation.       We were told that's not available to

14 you, we would prefer that you go ahead and file this and start

15 your litigation, we like our deal too much.

16             I said, okay, what am I supposed to do?         I'm an

17 advocate for a client.       It -- I think -- I believe -- I

18 personally believe that what happened here is a gross migration

19 of value that belongs to unsecured creditors to those who were

20 allowed in the room and it is wrongful.

21             THE COURT:    I --

22             MR. STARK:    I don't know how to say that in a way

23 that people that negotiated or participated in the deal -- if

24 they want to put on their hats as a commercial party and say,

25 okay, if you've got leverage, we'll negotiate; if the Court




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 949 of 1639
                                                                      0949

                                                                             242

 1 thinks you've got no leverage, we won't.

 2             If there are multiple -- if they feel that they're

 3 maligned because I said to them I think the deal you cut is

 4 wrongful, and I think the way that you -- if you put it into

 5 the DIP loan, as a means to kind of make sure that it was

 6 impossible for us to be able to actually litigate this, because

 7 we've seen that trick before.

 8             I don't know what to say.      I've got a job to do.          But

 9 I did not shoot first.       I've been trying.

10             If they don't want to talk to me because they don't

11 like me, and they don't like my rhetoric, they don't like the

12 way I smell, they don't like the way that I present myself,

13 okay.

14             THE COURT:    Mr. Stark.    That's --

15             MR. STARK:    This is a big case.      This is a hard --

16             THE COURT:    Mr. Stark.    That's enough.     You're ending

17 exactly where you started.       Thank you, sir.

18             All right.    Anyone else have closing argument that

19 they wish to make that opposes the plan?

20             MR. HEBBELN:     Your Honor, this is Mark Hebbeln on

21 behalf of Wilmington Savings Fund Society.          Can you hear me?

22             THE COURT:    Mr. Hebbeln, I can.      I cannot see you.

23 Should I be able to?

24             MR. HEBBELN:     I've been having trouble with my camera

25 all day, Your Honor.




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 950 of 1639
                                                                      0950

                                                                             243

 1             THE COURT:    Okay.

 2             MR. HEBBELN:     It doesn't seem to be working for me.

 3 I can't see anybody.      If it's okay with you, as long as you can

 4 hear me, and see our slides, I'm willing to proceed if that

 5 works for you.

 6             THE COURT:    So let me -- that's -- that'll be a good

 7 question.    Are you actually on GoToMeeting?

 8             MR. HEBBELN:     Yes.

 9             THE COURT:    All right.    And who did you -- what's the

10 login name?

11             MR. HEBBELN:     For sharing the slides, Your Honor?

12             THE COURT:    Yes, sir.

13             MR. HEBBELN:     Jennifer Huckleberry, please.

14             THE COURT:    Jennifer Huckleberry.      Ah, there she is.

15 She went last name, first.        Got it.   Okay.   She should have

16 control and I can hear you just fine.

17             MR. HEBBELN:     Okay.   My camera actually looks like it

18 may be working so I may hop in there in a second, Judge.

19             THE COURT:    Terrific.

20             MR. HEBBELN:     Thank you, Your Honor.     Again, Mark

21 Hebbeln, Foley & Lardner, on behalf of Wilmington Savings Fund

22 Society, FSB, as indenture trustee.

23             And Your Honor, just as a little background, I think,

24 as Your Honor knows, Wilmington Savings Fund Society is the

25 indenture trustee for nine sets of the debtors' unsecured




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 951 of 1639
                                                                      0951

                                                                             244

 1 notes.   And the total outstanding principal amount is

 2 approximately 2.9 billion, which is the vast majority of the

 3 3.4 billion of unsecured notes in these case -- cases, that

 4 were issued by Chesapeake Energy Corporation and guaranteed by

 5 29 of the debtors.

 6             Your Honor, what I'd like to talk about is the issue

 7 that Mr. Stark -- one of the issues Mr. Stark ended on, which

 8 is the combining of Classes 6 and 7 in the fourth amended plan.

 9 And I know it's a relatively narrow issue in the grand scheme

10 of this case, but one that is important to our constituency.

11 And I'd like to walk Your Honor through why we believe that it

12 shouldn't be done in the way proposed by the fifth amended

13 plan.

14             And, Your Honor, I expected Mr. Stark would steal

15 some of my thunder on this issue and, in fact, he did, but --

16 which is fine.     But of course, we have a slightly different way

17 of looking at a couple of different points.          But if I become

18 repetitive of what Mr. Stark said, please let me know and I'll

19 move along as quickly as I can.

20             THE COURT:    Just fine.

21             MR. HEBBELN:     So just -- thank you, Judge.      So just a

22 preview of our argument.

23             Your Honor, we start with the third amended plan,

24 which provided for separate distributions to Class 6 and 7.               As

25 you know, Class 6, unsecured notes, got new common stock and




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 952 of 1639
                                                                      0952

                                                                             245

 1 warrants, and it was a relatively modest recovery.           2, 3, 4

 2 percent was the estimate.       One thing it did allow -- and I'll

 3 come back to this in a minute -- is it allowed for a single

 4 distribution to the noteholders, on or shortly after the

 5 effective date, because all of the noteholder claims are

 6 allowed under the plan, and they weren't sharing their

 7 distribution with any creditors whose claims were not allowed.

 8             Class 7 obviously had the $10 million cash and we'll

 9 talk about this a little bit too.        Distribution to those

10 creditors were to be done on a debtor-by-debtor basis and they

11 respected multiple claims that creditors had against the

12 various debtors.     And as I think Your Honor recognized, it was

13 a disproportionately low recovery to those unsecured creditors.

14 And what the disclosure statement basically said, noteholders

15 have guarantees, the trades don't, so the noteholders get a

16 greater recovery.     And you know, reading between the lines a

17 little bit, we think the third amended plan basically attempted

18 a sort of rough justice to account for the presence of the

19 noteholder guarantees.

20             Then the debtors filed the fourth amended plan and

21 now they filed a fifth amended plan.         And those plans have

22 Classes 6 and 7 sharing in the new common stock and warrants

23 that were previously going only to Class 6.          And they created a

24 new convenience class.       We think this resulted in some issues,

25 Your Honor.




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 953 of 1639
                                                                      0953

                                                                             246

 1             First of all, it substantially diluted the

 2 distribution of unsecured noteholders rather than just

 3 increasing the distribution to the general unsecured creditors,

 4 which would have been an option.        It turned a single

 5 distribution to noteholders, that I referenced on the last

 6 slide, into multiple distributions, potentially requiring

 7 significant OPEX, reflecting the unliquidated general unsecured

 8 claims.

 9             And then, contrary to the fact that it's not a

10 substantive consolidation plan, it didn't -- it does not

11 contemplate debtor-by-debtor allocations and it wipes out the

12 multiple -- the claims that multiple -- the creditors may have

13 against multiple debtors.       And that includes not only the

14 noteholders, but trade creditors who might have multiple claims

15 against debtors.     And it ignores that most of the unsecured

16 note obligations are obligations of 30 debtors holding most of

17 the oil and gas assets, while the general unsecured claims are

18 primarily against a few of the entities holding less of the gas

19 assets.

20             And so we think -- we don't think this cured the

21 rough justice problem of the third amended plan.           In fact, we

22 think it just bent it in a different form of rough justice on

23 the unsecured noteholders because it completely disregarded

24 their guaranteed claims against multiple debtors.           And the

25 beneficiaries of that rough justice were the trade creditors




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 954 of 1639
                                                                      0954

                                                                             247

 1 because they were now receiving distributions of value that is

 2 allocable to debtors against which they may not have claims.

 3 So in essence, in the fourth amended plan, the rough justice

 4 pendulum merely swung from one end to the other.

 5             And our argument implicates, you know, substantive

 6 consolidation, new potential unfair discrimination issues, new

 7 potential DIP lien issues, and as I referenced the distribution

 8 mechanics and holdbacks that made the list, delay

 9 distributions.     So, Your Honor, our view is that rough justice

10 be -- not be visited on either group.

11             THE COURT:    Okay.

12             MR. HEBBELN:     In response to Your Honor's -- I'm

13 sorry?

14             THE COURT:    No, no, no.    I was following you.      I just

15 said, okay.

16             MR. HEBBELN:     Oh.   Oh, sorry.   Sorry, Judge.     in

17 response to Your Honor's concerns about the recoveries for

18 Class 7 under the third amended plan, we obviously would have

19 preferred to see the plan proponents just increase the

20 distribution of Class 7, but they didn't go that way.            Instead,

21 they lumped the bonds and the trades together, so now they're

22 both getting the same percentage recovery.          And this seems, at

23 first blush, Your Honor, as fair.        After all, unsecured

24 creditors are getting the same percentage recovery.           But we

25 would submit that it raises more problems than it solves




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 955 of 1639
                                                                      0955

                                                                             248

 1 including the ones I've already discussed.

 2             THE COURT:    So is the right -- I'm sorry.

 3             MR. HEBBELN:     No, go ahead.     I'm sorry, Your Honor.

 4             THE COURT:    I mean, is the right answer -- is it just

 5 that 6 and 7 get nothing?

 6             MR. HEBBELN:     No, Your Honor.      We think that the

 7 right answer is that 6 and 7 get the current gross distribution

 8 they're supposed to get, but that the distribution is recognize

 9 multiple claims that the creditors may have against debtors.

10 And that includes not only the noteholder claims, which they

11 have about, you know, one is short, one plan against the short

12 and 29 claims against guarantors, but also trade creditors.

13 Some trade creditors undoubtedly have multiple claims against

14 debtors, and we think those should be, you know, honored also.

15             And in fact, the third amended plan -- I was just

16 going to go to the next slide on this, if I may, Your Honor.

17             THE COURT:    Sure.

18             MR. HEBBELN:     To point out some language -- I'm sorry

19 -- that just shows that -- I'm sorry.          That slide just shows

20 that it's not a sub-con plan, and nobody thinks it is.

21 Ms. Schwarzman confirmed that in her closing.

22             THE COURT:    Right.

23             MR. HEBBELN:     This slide, Your Honor, this shows, if

24 you look at Class 7 treatments, and if you look at the

25 highlighted language, the -- those creditors received their




      ACCESS TRANSCRIPTS, LLC                   1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 956 of 1639
                                                                      0956

                                                                             249

 1 full share of the general unsecured claim recovery amount

 2 allocable to the debtor for which such claim is asserted.            So

 3 that plan actually contemplated allocating the $10 million

 4 among various debtors and then having creditors assert their

 5 claims.    It could be one claim, it could be two, it could be

 6 three against those debtors and getting their share of that

 7 recovery.

 8             And the next slide, Your Honor, is just Article 6(j)

 9 of that plan, which just kind of drives that point home that

10 the holder of an allowed claim against more than one debtor may

11 recover distributions from all co-obligor debtors until it's

12 paid in full.

13             The next slide, Your Honor, is this is what I -- this

14 is from the disclosure statement.        And it just says, you know,

15 that highlighted language, as a result, the distribution to

16 such holders -- we're talking about the general unsecured

17 creditors under the third amended plan will depend on the

18 allocation of value between the debtors.

19             So -- and the next slide, Judge, is a chart that we

20 included in the disclosure statement.         It kind of set out what

21 the -- where the claim against the debtor -- those debtors,

22 resided with general unsecured creditors, and the recovery that

23 you could have against each of those debtors.          If you had a

24 claim against more than one debtor, you got more than one

25 recovery, so the debtor-by-debtor analysis.          So it's clear the




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 957 of 1639
                                                                      0957

                                                                             250

 1 debtors could do that if they wanted to.

 2             On the next slide, Your Honor, I'm going to segue to

 3 the fourth amended plan, but first I want to just hit -- this

 4 is the -- back one slide, please, Jennifer.

 5             This is the discussion of the treatments and

 6 basically of the Class 6 and 7 claims and it gives as a

 7 justification the guarantees for the disparate treatment

 8 between those creditors.

 9             THE COURT:    Okay.

10             MR. HEBBELN:     And I think Your Honor notices this is

11 a particularly rough justice for the bondholders who were

12 projected to get a 2-to-4-percent recovery and trade was

13 getting just above zero.

14             So they filed the fourth amended plan, and again, I

15 put the treatment up on this next slide just to show that --

16 the thing I'll note here, Your Honor, is that distributions are

17 not being allocated on a debtor-by-debtor basis anymore.            That

18 concept which was in the third amended plan for Class 7, has

19 disappeared from the plan altogether.

20             THE COURT:    Okay.

21             MR. HEBBELN:     And that's just confirmed on the next

22 slide.   The definition of pro-rata was changed to make that

23 clear also.    And on the next slide, Your Honor, interestingly,

24 Article (j) --

25             THE COURT:    Can we go back and I'm sorry, you just




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 958 of 1639
                                                                      0958

                                                                             251

 1 went faster than I.      Can you go back one?

 2             MR. HEBBELN:     Yep.    So that's just shows Your Honor,

 3 that one did change -- that's in the fourth amended plan that

 4 shows that basically you pool all the --

 5             THE COURT:    Got it.

 6             MR. HEBBELN:     -- noteholder claims, and general

 7 unsecured claims, and you get your pro-rata share of whatever

 8 that denominator is.

 9             THE COURT:    I got it.

10             MR. HEBBELN:     But only on the claims once.      And

11 there's a further clarification of that in the fifth amended

12 plan that I'll hit in a second.

13             THE COURT:    Okay.     Thank you.   I'm sorry.   I just

14 wasn't able to keep up.

15             MR. HEBBELN:     No problem.    Sorry if I was going too

16 fast.

17             Next slide, please, Jennifer.

18             So interestingly, Your Honor, Article 6(j) was still

19 in the fourth amended plan despite the last couple of slides

20 that we looked at, that seemed to pool the claims of the

21 general unsecured creditors and the bond holders, so that each

22 only had one claim.      This still allowed -- seemed to allow

23 creditors to assert claims against various co-obligor debtors'

24 estates.    So at this point, Your Honor, the fourth amended plan

25 seemed a little self-contradictory since it wiped out the




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 959 of 1639
                                                                      0959

                                                                             252

 1 multiple claims the Class 6 or 7 creditors had while at the

 2 same time, seemingly preserving them.

 3             So what happened next, Your Honor, last night, the

 4 debtors filed their fifth amended plan and they, I think,

 5 noticed -- must have noticed the ambiguity created by Article

 6 6(j) and made it clear in this provision, this 6(j) and the

 7 highlighted language, that you only get one allowed claim.

 8             Sorry, Your Honor, I'm just reading to make sure

 9 that --

10             THE COURT:    Yeah, read that --

11             MR. HEBBELN:     I've got my --

12             THE COURT:    Read that again.     I'm not sure just your

13 highlighted language, that the holder of an --

14             MR. HEBBELN:     Your Honor, I --

15             THE COURT:    Sorry, go ahead.

16             MR. HEBBELN:     No, I'm sorry, Judge.     I think that

17 might be the wrong -- we were scrambling a little bit this

18 morning to get this in, because it was filed last night.            But

19 let me check 6(j).     I think that might be the wrong reference.

20             MR. HEBBELN:     Judge, I --

21             THE COURT:    So it would be 2833, right?

22             MR. HEBBELN:     Yes.

23             THE COURT:    Okay.     6(j).

24             MR. HEBBELN:     Oh, I'm sorry, Your Honor.      Yeah, I

25 think -- Your Honor, the language that was added to 6(j) carves




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 960 of 1639
                                                                      0960

                                                                             253

 1 out allowed unsecured note claims and allows general unsecured

 2 claims from the operation of Article 6(j).

 3             THE COURT:    Okay.     Let' see.   I am on -- let me get

 4 to 6(j).    I want to read this.      All right.    I have it.    It's on

 5 Page 48 of 64, if anyone's following along.

 6             MR. HEBBELN:     Yes.    And I think it's actually -- now

 7 that I'm looking closer at it, Judge, it's on this slide.            It

 8 says -- that section starts:

 9             "But the holder of an allowed claim other than an

10             allowed, unsecured notes claim, or allowed general

11             unsecured claim against more than one debtor, may

12             recover distributions from all co-obligor debtors'

13             estates."

14             THE COURT:    Got it.

15             MR. HEBBELN:     Yeah.    Sorry for the confusion there,

16 Judge.

17             So that was just making it patently clear that the

18 unsecured creditors basically have one recovery.           And, Your

19 Honor, on the next slide, they did something to the definition

20 of "pro-rata" last night, which basically, in my view, did the

21 same thing.    It made it clear that (indiscernible) second-from-

22 the-bottom line, says, "shall be counted once."           So it's just

23 driving home the point that you don't have multiple claims

24 anymore.    You have one claim.

25             Okay.   So, Your Honor, this is just 1129(b).         I think




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 961 of 1639
                                                                      0961

                                                                             254

 1 what this does is it just raises the specter of unfair

 2 discrimination.     And you know, given that, Your Honor, that the

 3 fourth amended plan was filed after the start of the

 4 confirmation hearing, we obviously didn't have a chance to

 5 brief the issue.     And if Your Honor thinks that would be

 6 helpful, we'd be happy to do it.

 7             The next slide is actually a slide that Mr. Stark

 8 just looked at also, so I won't belabor it.          We realize that --

 9 I don't want to make more of it than it is.          I understand

10 Mr. MacGreevey made certain assumptions that people disagree

11 with.   I understand these numbers aren't necessarily solid

12 gold, but we think directionally this shows that there is some

13 discrimination against the unsecured noteholders who are having

14 their guaranteed claims essentially wiped out.          And it would do

15 -- this does more damage to unsecured noteholders who have 30

16 claims than it does to, say, unsecured trade creditors who have

17 one, two, or three claims in the proposed pooling of this

18 recovery.

19             So, Your Honor, in a nutshell, this is not a

20 substantive consolidation plan.        We understand why the third

21 amended plan was problematic in how it treated general

22 unsecured creditors, but the fourth amended plan is equally

23 problematic in not recognizing those guaranteed claims.            But we

24 don't have to have a plan that's problematic on this score.

25 With a few word changes to the treatment of Class 6 and 7 the




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 962 of 1639
                                                                      0962

                                                                             255

 1 definition of "pro rata," I'll bet we can do it in fewer than

 2 20 words.    And the deletion of this new language and the fifth

 3 amended plan, I think we could cure these problems pretty

 4 easily.    And we would, in our view, avoid implicating chief --

 5 implicating issues of unfair discrimination and gifting, which

 6 is kind of lurking in the background here.

 7             So again, Your Honor, if you think that briefing on

 8 this issue would be necessary or helpful, we're happy to do it.

 9 But more importantly, if those amendments are made to the plan

10 to recognize the separateness of the debtors and the claims

11 against each of them, I think those issues become moot.            And

12 the rough justice pendulum will swing back to the middle, which

13 is probably where it should be.

14             And Your Honor, the only reason we can think of not

15 to do this is administrative convenience.          But we would submit

16 that mere administrative convenience is an insufficient reason

17 to substantively affect substantive rights.

18             And no matter what happens here, Your Honor, if the

19 Court confirms the Chapter 11 plan, we will work closely with

20 Kirkland and Ms. Sullivan from Epiq and the debtors' other

21 professionals like we do in many other cases to get the largest

22 distribution out to the unsecured noteholders as possible, as

23 quickly as possible.      Because that is an issue that we want to

24 let Your Honor know is kind of lurking out there, and we're

25 trying to -- we've raised it with Kirkland, and we're going o




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 963 of 1639
                                                                      0963

                                                                             256

 1 work together to try to get the best solution we can, get as

 2 much of the distribution out to the unsecured noteholders as

 3 possible.

 4             THE COURT:    Thank you.

 5             MR. HEBBELN:     And that is all I have.

 6             THE COURT:     I thank you -- don't go anywhere, just

 7 if you would.

 8             MR. HEBBELN:     Okay.

 9             THE COURT:    Stay on the line.     When I -- I want to

10 hear the rest of sort of these one-off objections and then I'm

11 going to come back and hear from Ms. Schwarzman, and I have a

12 belief that she'll at least have thoughts about some or all of

13 these.   Okay?

14             MR. HEBBELN:     Of course.   Thank you, Judge.

15             THE COURT:    All right.    Thank you.

16             Mr. Austin?

17             MR. AUSTIN:    Good afternoon, Your Honor.       Can you

18 hear me now?

19             THE COURT:    Yes, sir.    Thank you.

20             MR. AUSTIN:    Yes, sir.    Thank you.

21             MR. AUSTIN:    May it please the Court, Your Honor.

22 Good afternoon.     I'm Joshua Austin on behalf of EJS Investment

23 Holdings, LLC, a creditor in this case.

24             Your Honor, EJS Investments continues to object to

25 the rights offering.      Mr. Stark went through a lot of that




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 964 of 1639
                                                                      0964

                                                                             257

 1 problematic math and, as a foreign affairs major, I'm not much

 2 better at it so I'll try not to -- oops.

 3              THE COURT:    You still there?

 4              MR. AUSTIN:    Apologies, Your Honor.     My dog just

 5 started barking at a neighbor.

 6              THE COURT:    That's quite all right.     Puppies are most

 7 important.

 8              MR. AUSTIN:    I'm going to try and bribe her with a

 9 treat really quick.       See if that works.

10              THE COURT:    It often -- it works on me if that's any

11 consolation.

12              MR. AUSTIN:    Yes, Your Honor.

13              Under the company's unamended total enterprise

14 valuation, the discount is inappropriate and it was fully

15 briefed in our objection.       However, in light of Your Honor's

16 indication that the company's TEV is more like 5.129 billion,

17 that discount dilution is even more draconian.          At a

18 5.2 billion enterprise value with current net debt of about

19 1.79 billion, that would bring the value of the equity to

20 $3.4 billion.

21              THE COURT:    Right.

22              MR. AUSTIN:    The backstop fee of the rights offering

23 is either 60 million in cash, or 60 million in stock at the

24 949 million equity valuation, which could work out to

25 approximately $200 million in value as of the updated TEV Your




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 965 of 1639
                                                                      0965

                                                                             258

 1 Honor has indicated.      There's also a holdback amount of

 2 150 million at that 949 million valuation for backstopped

 3 parties, which would be approximately $540 million of value for

 4 150 million of cash.

 5             THE COURT:    Right.

 6             MR. AUSTIN:    This would make the total of the current

 7 backstop and holdback approximately 590 million which may be --

 8 and like I said, I'm not a math major, but I believe that would

 9 probably be closer to 550- to 570- with the warrants, of the

10 dissolution.

11             THE COURT:    Right.   So let me --

12             MR. AUSTIN:    Now, in our opening, your --

13             THE COURT:    Sorry.   Let me --

14             MR. AUSTIN:    Sorry, Your Honor.

15             THE COURT:    -- just from a practical perspective, if

16 it turns out and just make this assumption.          If it turns out

17 that I made a mistake and I never should have approved it, what

18 am I supposed to do at this point, in your mind?

19             MR. AUSTIN:    Your Honor, I think that we could either

20 get a more equitable deal related to the current rights

21 offering, maybe a movement on the TEV value or the discount

22 rate or something like that, and keep the current rights

23 offering in place.     Or, the next point I was going to get to,

24 we did file with the Court this morning that there is a fully

25 backstopped alternative, a fully financed proposal that




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 966 of 1639
                                                                      0966

                                                                             259

 1 Jefferies and Jones Day are backing.

 2             THE COURT:    I read that this morning.

 3             MR. AUSTIN:    Yes, Your Honor.

 4             THE COURT:    And you understand the war that that

 5 precipitates, right?

 6             MR. AUSTIN:    Yes, Your Honor, we understand that

 7 there could be problems with that.        But we also believe that

 8 it's something that would get the FLLO folks to par.           It would

 9 provide additional benefit to the 2L group and the unsecureds

10 and the GUPS (phonetic) would also have an increased recovery.

11 And it would also allow participation across all classes.

12             THE COURT:    And --

13             MR. AUSTIN:    It's a bit more democratic.

14             THE COURT:    So don't I just avoid the whole rights

15 issue by converting the case to a Chapter 7?          That way, I don't

16 have to worry about if I got it right.

17             MR. AUSTIN:    Well, I think we've had plenty of

18 testimony the last few weeks, now that converting this to a

19 Chapter 7 would create a whole lot of waste with potential --

20             THE COURT:    Well, you --

21             MR. AUSTIN:    -- capital and --

22             THE COURT:    Yeah, but you know you hear that.

23 Everyone says, no, I don't want it.        But the argument -- but

24 the lawyers all argue that that's exactly what they want to

25 have happen.




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 967 of 1639
                                                                      0967

                                                                             260

 1             And I get that it's all a threat, but I mean, I'm

 2 looking genuinely for help.       I mean, everyone is sitting here

 3 suggesting that, well, if you just threaten them enough,

 4 they're going to come around.       That's -- you know, the game of

 5 chicken was played and it was lost.

 6             And maybe I shouldn't have approved that rights

 7 offering.    I did -- I made the best decision I could at the

 8 time.   Maybe I was wrong.      But having done it, you know, the

 9 Court process doesn't meant much if I can simply change my mind

10 because I learned something later, right?

11             MR. AUSTIN:    Well, Your Honor, there is a fiduciary

12 out that the debtors have and we feel really confident that if

13 we had even just three days, four days, to work with Jefferies

14 Advisors, and those folks with the company, I understood --

15             THE COURT:    So --

16             MR. AUSTIN:    -- this morning that --

17             THE COURT:    Now, let me ask you something.       So you'll

18 never convince me that my determination of value precipitated

19 anything.    There is no investment banker at Jefferies that

20 cares two iotas about what Judge Jones thinks a TEV is except

21 for purposes of confirmation.       They care about the market and

22 they know far more about the market than Judge Jones does.

23             I mean, how long has this been sitting out there?

24 Why did I just get this at 8:30 this morning?

25             MR. AUSTIN:    Your Honor, I've been -- we've been




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 968 of 1639
                                                                      0968

                                                                             261

 1 trying to find someone.      In our opening, we mentioned about EJS

 2 specifically was trying to talk to people about bringing up

 3 some sort of unsecured note-backed rights offering.           And I can

 4 tell you this all just -- Friday afternoon, it was gas on the

 5 fire.

 6             THE COURT:    Okay.

 7             MR. AUSTIN:    That was the first I got involved in

 8 this was over the weekend.

 9             THE COURT:    I got it.

10             MR. AUSTIN:    And people have been working around the

11 clock.

12             THE COURT:    Okay.   I interrupted you and I apologize.

13 Go ahead, please.

14             MR. AUSTIN:    No, Your Honor.     I believe the

15 discussion we've had is probably sufficient for most of what I

16 noted.   I would just note that if you were to look at this

17 alternative, it is more democratic.        It would dilute everyone

18 far less and it wild still allow for the FLLO to be essentially

19 made whole related to the issue that Mr. Stark has with the

20 discount and the value that's actually being transferred to the

21 FLLO and the 2Ls.

22             We're just trying to be a solution to a problem, Your

23 Honor.   And the market listens.       The market sees things.      And

24 we're in a better position today than we were in that nadir and

25 I think Kirkland did their best at that time, and did what they




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 969 of 1639
                                                                      0969

                                                                             262

 1 could there.    But, you know, as we've heard lots of times here

 2 throughout the past month that there's no market.           We didn't

 3 test it because there was no one out there.

 4             People are out here with real money, real backing.

 5 Jones Day and Jefferies are real financial institutions.            This

 6 is fully-backed stock.       They're offering 500 million but

 7 they'll go up to 750 million, which the company said they'd

 8 actually like more money.       And it would be at a far less

 9 dilution.

10             So Your Honor, we think the rights offering as

11 currently formed here is inappropriate and the discount is just

12 far too draconian, setting aside any other alternative measure,

13 but it is just another thing we wanted to make Your Honor aware

14 of that could be a potential tool in your toolbox.           That's all.

15             THE COURT:    All right.    Got it.    Thank you very much.

16             Mr. --

17             MR. AUSTIN:    Thank you, Your Honor.

18             THE COURT:    Is it Mr. Barkasy?      So Mr. Barkasy, if

19 I'm getting that right, I can see you talking to me.           Had you

20 hit "five star"?

21             Ah, there we go.     How about now?

22             MR. BARKASY:     Yes, Your Honor.     Can you hear me?

23             THE COURT:    Very well.    Thank you, sir.

24             MR. BARKASY:     Thank you, Your Honor.     My name is Rich

25 Barkasy.    I'm from the Schnader Harrison Segal & Lewis firm,




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 970 of 1639
                                                                      0970

                                                                             263

 1 and we represent several Pennsylvania oil and gas lessors,

 2 royalty owners.     Objections were filed for these parties at

 3 Docket Numbers 2122 and 2128, and there was a joinder filed by

 4 several lessors at Docket Number 2142.

 5             I -- we're heartened that, as Ms. Brown described

 6 during her presentation that there have been improvements to

 7 Article 14 of the plan as it applies to royalty owners, Your

 8 Honor.    As to our specific Pennsylvania royalty owner parties,

 9 we are looking for some further clarifications with regard to

10 their rights, and we've supplied some language to the debtors

11 in that regard for the confirmation order, and hopefully, we're

12 able to resolve that language.        I just wanted to mention those

13 for the record.

14             Our objection was filed before the modifications to

15 the plan, and for example, in our objection, we contend that

16 our clients' interim claims for termination of the debtors'

17 interests in oil and gas leases would not be subject to the

18 discharge, because they're interim claims, not in personam

19 claims.    Now, with the modifications to Article 14, we're just

20 seeking a clarification that our clients' rights with regards

21 to those interim claims are preserved.         We -- and the same is

22 also true of the claims made with regard to the issues

23 concerning whether unpaid or underpaid or wrongfully deducted

24 royalties are property of the estate.

25             THE COURT:    So --




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 971 of 1639
                                                                      0971

                                                                             264

 1              MR. BARKASY:    It --

 2              THE COURT:   I'm sorry.

 3              MR. BARKASY:    We had a -- and we're just looking,

 4 like I said, we're referencing the confirmation order,

 5 reserving our positions and the debtors' positions in that

 6 regard.    We just -- what we understand the basic idea of

 7 Section 14 to be.

 8              With regard to the -- another one of our objections,

 9 we believe that the post effective date royalties are not

10 subject to the discharge. If the reorganized debtor doesn't pay

11 royalties due from the effective date on, that the bankruptcy

12 discharge and the plan can't bar or preclude those claims.

13 We're asking for some clarification in that regard, and a

14 clarification that parties, if post-effective-date royalties

15 are not paid by the reorganized debtors, will not have to come

16 to this Court and seek stay relief or discharge injunction

17 relief in order to be able to proceed with claims for post

18 effective dates and royalty claims against the reorganized

19 debtors.

20              The last item, Your Honor, relates to the automatic

21 stay.   That Article 14 describes certain things that the

22 bankruptcy court will decide, like issues relating to the

23 discharge.    We think that that language does not preclude

24 requests for relief from the stay, to -- so one of them better

25 were to liquidate or determine the amount of unpaid or




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 972 of 1639
                                                                      0972

                                                                             265

 1 underpaid royalties, or to determine interim rights under oil

 2 and gas leases under Pennsylvania law.         However, we were

 3 seeking a clarification in that regard.

 4              Finally, we're seeking clarification as to our

 5 clients, to the extent that their secured claims are allowed,

 6 they will be paid in full in accordance with the other secured

 7 claims provisions of the plan.        And we've provided language

 8 proposed to the debtor -- the debtors, and hopefully we'll be

 9 able to include those things in the confirmation order, but I

10 wanted to state those objections for the record, just in case

11 there was an issue that arises.

12              THE COURT:   Fair enough, and I tried to take good

13 notes, and quite honestly, as I was trying to think and write,

14 you went faster than I could write and process, and so let me

15 -- there were some things in there that puzzled me, so like for

16 instance, plan goes effective -- I don't understand why there's

17 an issue of the automatic stay anymore.         It's a discharge

18 injunction issue, not an automatic stay.         The stay's going to

19 terminate.

20              MR. BARKASY:    I -- so I -- I agree with you, Your

21 Honor.

22              THE COURT:   Okay.

23              MR. BARKASY:    I agree with that.     There would be an

24 issue if, post-effective date, royalties were not paid as to

25 the discharge injunction and clarification in advance that we




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 973 of 1639
                                                                      0973

                                                                             266

 1 wouldn't have to come back to Your Honor and first file a

 2 motion for relief from the discharge injunctions to proceed

 3 with that kind of a claim might be helpful to the extent that

 4 those claims may arise post-effective date.

 5             THE COURT:    So -- and again, I hate to venture down

 6 this path, because I don't know the factual scenario, and I

 7 don't know what conversations that you've had with counsel.               A

 8 claim that arises after the effective date?          I struggle to see

 9 how that could be implicated by the plan.          Now, if there was a

10 claim that arose post-confirmation, pre-effective date,

11 different issue, and obviously, pre-confirmation, same issue.

12 So I don't really have a good sense of what you're talking

13 about.

14             But I will just tell you, just as a general notion,

15 and again, you know, I've read the plan a couple of times, but

16 as you know, it's a long, complicated document, and unless

17 you're reading with a specific question in mind, you don't

18 obviously absorb everything.       You know, if a claim truly arises

19 post effective date, I can't imagine how it's implicated by the

20 bankruptcy plan.     Now, if it -- you know, if it arose

21 pre-effective date, but you want to bring it post effective

22 date, then yes, I think there are issues there, and I just

23 don't know.    And so I don't really know what you're searching

24 for from me.

25             It sounds like to me, you understand all the issues,




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 974 of 1639
                                                                      0974

                                                                             267

 1 and I'm not even sure they're confirmation issues.           They are --

 2 they may be plan interpretation issues, or this set of

 3 circumstances has arisen and so we need to know what we can do

 4 and what we can't do, or we think the plan says this, and we

 5 want to go do something different, and we just want to make

 6 sure that nothing -- you know, that no one says we did

 7 something wrong.     I don't know -- I'm -- again, I hate to

 8 venture down a path that I don't fully understand, and I'm just

 9 trying to give you my reaction.

10             MR. BARKASY:     Your Honor, I don't disagree with

11 really anything that you're saying.        To put it in a factual

12 context, we have a number of clients who allege that over a

13 period of several years, the debtors have wrongfully deducted

14 sums from royalty payments.       There's some expectation that that

15 could possibly continue after the effective date with royalties

16 that would come due from the day after the effective date in

17 the future, and --

18             THE COURT:    So --

19             MR. BARKASY:     -- I guess instead of creating an --

20 you know, it would just eliminate an issue if we understood

21 that those claims could be pursued as if there had -- they were

22 unaffected by the plan.      It's not anything tricky or sneaky, we

23 just, you know, the need for these claims to be filed somewhere

24 post-confirmation, and then post effective date, may be

25 required, and that's all.       There's nothing -- it's not a -- I




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 975 of 1639
                                                                      0975

                                                                             268

 1 can assure you, not some kind of major strategic item that

 2 we're trying to push.      It's just the idea that it would

 3 eliminate and provide some comfort in the event that those

 4 actions are necessary.       I agree with you with regard to

 5 pre-effective date royalties that obviously are either impacted

 6 by the bankruptcy stay, and as I read the plan, the parties

 7 wouldn't be precluded from moving for relief from the stay to

 8 arbitrate those claims under the lease provisions requiring

 9 arbitration and the like.

10             But -- and Your Honor may or may not grant that, and

11 then Your Honor may decide those issues.         But I understand

12 that's how issues that would arise post-petition, pre-effective

13 date, would be handled.

14             THE COURT:    Got it.   And so let me just give you a

15 reaction, so try -- so it gives you some context, and again, I

16 will be the first --

17       (Recording interrupts)

18             THE COURT:    Sorry about that.     So let me give you

19 just a reaction, and let me be the first to profess, I don't

20 understand Pennsylvania oil and gas law.         So start with that

21 presumption.    So what I'm going to give you is a Texas answer,

22 because I do have a pretty good sense of Texas oil and gas law.

23             So if there were a claim pre-effective date for

24 underpayment of royalty due to an improper deduction of some

25 sort, let's say.     And I'm trying to define something very




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 976 of 1639
                                                                      0976

                                                                             269

 1 generic.    It is my view that that is a legal claim that would

 2 get liquidated, and then it would be paid pursuant to the plan.

 3 Let's say that the plan went effective March 1st, and then

 4 beginning -- let me pick something that can't possibly anyone

 5 quibble with -- let's assume that on June 1, there was then a

 6 new alleged improper deduction going forward.          I'm just

 7 creating a gap in time for purposes of example.

 8             I think, at that point, the plan is irrelevant, and I

 9 think that you could then go do whatever Pennsylvania law says

10 you can do, and again, that's just Jones' reaction.           Obviously,

11 that's not put to me, and you know the rule.           There's a good

12 reason why they tell judges not to make advisory opinions, but

13 I think I just gave you one.       And so -- but I -- just to try to

14 draw an example for you of, you know, what I think is effective

15 and what's not.     Okay?

16             MR. BARKASY:      Thank you, Your Honor.

17             THE COURT:      Thank you.    All right.   I think,

18 Mr. McCune, I think you were next?

19             MR. MCCUNE:      Can you hear me, Your Honor?

20             THE COURT:      Very well, thank you, sir.

21             MR. MCCUNE:      Excellent.    I don't intend to be long.

22 Your Honor, this is Patrick McCune.         For the record, I

23 represent Caddo Parish, Louisiana, and several of the persons

24 and entities listed in the objection to debtors' Second Amended

25 Plan, found at D.E. 2134.       I apologize that I'm rising out of




      ACCESS TRANSCRIPTS, LLC                   1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 977 of 1639
                                                                      0977

                                                                             270

 1 order here, but I was waiting for an amended proposed order for

 2 confirmation the plan to be filed by the debtors before

 3 speaking, to note we have resolved our objection.

 4             THE COURT:    So --

 5             MR. MCCUNE:    And since one has now been -- sorry,

 6 Your Honor.

 7             THE COURT:    No, no, no.     So the -- is there now a

 8 further revised order?

 9             MR. MCCUNE:    Yes.   2847.

10             THE COURT:    Ah.   I looked at 2845.     Thank you.    I

11 don't even know --

12             MR. MCCUNE:    No problem.

13             THE COURT:    I don't even know that there is a 2847, I

14 haven't refreshed my docket.

15             MR. MCCUNE:    Well, since one has now been filed, Your

16 Honor, can I make a brief statement regarding that order as it

17 concerns my clients?

18             THE COURT:    Of course.    Do you want me to follow

19 something along, or do you just want to make a statement for

20 the record?

21             MR. MCCUNE:    I just want to make a quick statement

22 for the record.

23             THE COURT:    Then please go ahead.

24             MR. MCCUNE:    Thank you.     Your Honor, as you may

25 recall, we filed an objection at D.E. 2134 and offered




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 978 of 1639
                                                                      0978

                                                                             271

 1 extensive arguments on the same during the opening arguments in

 2 this hearing.     Similar to the sentiments of Ms. Deidre Brown

 3 expressed earlier, while we are not fond of several components

 4 to the plan, we've elected to resolve that objection through

 5 inclusion of certain language in the order confirming the plan.

 6 At present, that language appears in Paragraphs 260 through 270

 7 of D.E. 2847, the Amended Order for Confirmation of the Plan,

 8 addressing the Caddo DeSoto owners.        In part, we have

 9 incorporated and reiterated therein much of the language from

10 the current Article 4, Section T of the plan, which was

11 recrafted with the input of the hardworking royalty committee,

12 in line with the goals Ms. Deidre Brown so eloquently expressed

13 earlier to reserve and preserve rights regarding current and

14 future disputes.

15              I want to thank debtors' counsel, in particular

16 Tricia Swaler (phonetic) and Annie Drysback (phonetic) for

17 working with us late into the evening to complete work on the

18 insert, and I thank you for allowing me to make this brief

19 statement.    And one more thing:      I'd just like to express my

20 sincere admiration of the Court's management of this online

21 trial, and to offer my congratulations to the attorneys who

22 have managed the bulk of the presentations during the same.               I

23 think everyone acquitted themselves exceptionally well.            That's

24 all I have, Your Honor.

25              THE COURT:   Thank you, Mr. McCune.




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 979 of 1639
                                                                      0979

                                                                             272

 1             Mr. Pitta, and I hope you didn't put the puppy in the

 2 closet.    I hope --

 3             MR. PITTA:    No, no.   She's just heading elsewhere.

 4             THE COURT:    All right.

 5             MR. PITTA:    I'll miss her, though.      Thank you, Your

 6 Honor.    Thomas Pitta from Emmett, Marvin and Martin.         We

 7 represent the Bank of New York Mellon Trust Company, which is

 8 the indenture trustee for about $425 million of the debtors'

 9 unsecured bonds, and a member of the Creditors' Committee.

10             Your Honor, I won't be long.       You know, I would adopt

11 the arguments made by the Committee, and earlier by Mr. Hebbeln

12 on behalf of WSFS, who is the, you know, the indenture trustee

13 for a substantially larger portion of the unsecured bonds.

14             I would agree, though, with what Mr. Hebbeln said.

15 It appears that what's happened twice now is that following

16 comments by Your Honor, and arguments made by certain trade

17 creditors, the debtors have tried, in what appears to be a

18 couple of clumsy ways, to fix a problem that Your Honor pointed

19 out.   You know, and, you know, when the fourth amended plan was

20 filed, you know, the debtor reacted to statements that the, you

21 know, the distributions to Class 7s were relatively negligible,

22 and much lower than Class 6, and instead of increasing those

23 distributions to Class 7s, they reached into Class 6's pocket

24 and transferred some value to them.        You know, and as

25 Mr. Hebbeln pointed out, we think that ignores the relative




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 980 of 1639
                                                                      0980

                                                                             273

 1 value of the claims of the holders in Class 6, and creditors in

 2 Class 7.

 3             You know, and then the fifth amended plan, it kind of

 4 just looks like a couple of Band-Aids put over the wounds

 5 created by the fourth amended plan.        It -- you know, the

 6 debtors have said that this is not a substantive and

 7 consolidated plan, Ms. Schwarzman argued that specifically this

 8 morning and said it's not a substantive and consolidated plan.

 9             But with respect to Classes 6 and 7, particularly

10 with this language that's been added to the fifth amended plan,

11 this is a substantively consolidated plan.          It says,

12 notwithstanding what claims you may have as different entities,

13 you're only getting one distribution, you know, and that is

14 substantive consolidation, and not only did the debtors not

15 make a case for substantive consolidation, but one, they've

16 argued that they're not substantively consolidating, and two, I

17 think they actually made a pretty confident case that these

18 estates should not be substantively consolidated, that they do

19 track the books and records on an individual basis of these

20 debtors, and so, substantive consolidation is inappropriate

21 here.

22             And to go back to 6, you know, I think this is a

23 couple of clumsy fixes to a problem that Your Honor pointed

24 out, and, you know, the third amended plan, for all the

25 deficiencies that we think that it did have, I think




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 981 of 1639
                                                                      0981

                                                                             274

 1 Mr. Hebbeln described it well.        It did a kind of a rough

 2 justice between Classes 6 and 7s, and it actually attempted --

 3 and even the disclosure statement was very specific about the

 4 fact that it attempted to weigh the value of the relative

 5 claims of the parties in those classes.         And the fix that they

 6 came up with, rather than actually just putting some more value

 7 into the plan to address the claims in Class 7, was just to

 8 take money out of the pocket of Class 6 and transfer it to

 9 Class 7, and doing it in a way that looks and smells like

10 substantive consolidation, but we're being told it's not.

11             THE COURT:    Sure.   So let me --

12             MR. PITTA:    And so, you know, absent a -- go ahead.

13             THE COURT:    No, no, because I -- this is actually

14 very helpful to me.      So when I posed my -- when I posed the

15 problem, I had no idea what the ultimate valuation -- what

16 conclusion I was going to come to regarding the valuation.

17 What I could -- the assumption that I made was that there would

18 be value that would flow down on this -- in those classes, and

19 so that -- that disparate treatment issue was problematic for

20 me.   And not asking you to agree or disagree with the

21 valuation, but the valuation that I've now made, does it

22 matter?    I mean, wouldn't we be --

23             MR. PITTA:    Well, I think --

24             THE COURT:    -- if we really --

25             MR. PITTA: -- it's --




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 982 of 1639
                                                                      0982

                                                                             275

 1             THE COURT:    -- if I really wanted to make this plan

 2 work, I'd just say, you know, value is what value is.            There's

 3 no value that goes to those classes, they voted no, so it

 4 doesn't change anything.

 5             MR. PITTA:    Well, I think, Your Honor, that obviously

 6 your finding on value is relevant.        It does matter.

 7             THE COURT:    Okay.

 8             MR. PITTA:    But I don't know that it's the end of the

 9 discussion.

10             THE COURT:    Okay.

11             MR. PITTA:    You know, I think the Committee has made

12 a substantial case that valuation is not the only issue --

13             THE COURT:    Agreed.

14             MR. PITTA: -- that goes to whether unsecured

15 creditors are entitled to a recovery here.          You know --

16             THE COURT:    So let me ask you this, as a member

17 sitting on the -- as a member of the Committee, if that

18 language changed so that -- because I don't like predetermining

19 things.    I like for the process to work itself through.          If it

20 just said -- if it just talked about allowed claim, but didn't

21 reach the conclusion as to what an allowed claim was, would

22 that solve your concern?

23             MR. PITTA:    Your Honor, I guess the question I would

24 ask to clarify that is, are you intentionally saying we go back

25 to the fourth amended plan language?




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 983 of 1639
                                                                      0983

                                                                             276

 1             THE COURT:    No.   Because that predetermined the other

 2 way.

 3             MR. PITTA:    Well, Judge, I just want to make sure

 4 that you're -- real quick, the fourth amended was the one that

 5 we had as of yesterday, where -- I mean, I believe everybody's

 6 interpretation of that plan, notwithstanding what I think was

 7 just some legacy language that was left in Paragraph 6-J, I

 8 believe everybody's understanding of that was that the changes

 9 made last night were to clean up language, but not to change

10 what's supposed to happen here.

11             THE COURT:    Right.   So -- but the whole problem with

12 both what I'm just -- what I'm going to call three and four,

13 and hopefully that's clear enough.        The whole problem with

14 three and four is that it was determinative of an issue in

15 different directions.      And I actually don't think that plans

16 are the place where you determine what -- you know, who's got

17 what claim?    I think plans are where you determine, once you

18 figure out what the body of allowed claims is, then that's how

19 they get treated.

20             The disclosure statement is supposed to give you some

21 idea of what the range of the claims could be, but, you know,

22 my view of a plan is it's for treatment purposes, and so if we

23 just went back to a definition of allowed claim, and we made

24 it, and, you know, we can effectively track the code, why does

25 -- and I don't know whether your issue is, you know, the right




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 984 of 1639
                                                                      0984

                                                                             277

 1 issue or not.     I'm not going one way or the other, but

 2 obviously, I've had two people bring that up, and it just seems

 3 to me, in order to stop people trying to push it to the left or

 4 to the right, if the goal is to really get it in the center, we

 5 just go back to a very simple, you know, just the holder of an

 6 allowed claim.     And the holder of an allowed claim is what it

 7 is.   Doesn't that fix the problem?

 8             MR. PITTA:    So theoretically it does, Your Honor, but

 9 I think that it begs the question, what is the treatment under

10 the plan?

11             THE COURT:    Well, the treatment is whatever --

12             MR. PITTA:    And is the treatment under the plan --

13             THE COURT:    If you have five allowed claims --

14             MR. PITTA:    Is the treatment under the plan -- sorry,

15 go ahead.

16             THE COURT:    No, no, no.    This is so hard on video.

17             MR. PITTA:    All right?

18             THE COURT:    Yeah, go ahead.

19             MR. PITTA:    So we may have allowed claims, we may

20 wind up having allowed claims as 30 (ph) debtors, and I believe

21 that's actually -- that's baked into the plan, and nobody

22 disputes it.    The unsecured noteholders have claims against the

23 issuer, Chesapeake, and 29 guarantors.

24             THE COURT:    Right.

25             MR. PITTA:    So we'll wind up with claims at 30




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 985 of 1639
                                                                      0985

                                                                             278

 1 entities.    But it begs the question, does the plan that you're

 2 envisioning allow for treatment by 30 entities?           So are 30

 3 entities distributing stock that makes up 12 percent of the

 4 common stock of the new reorganized debtors?

 5             THE COURT:    So --

 6             MR. PITTA:    And I don't know how we -- I mean, I

 7 think we could do that, but I don't think that either of the

 8 plans that have been filed, any of the plans that have been

 9 filed really contemplates doing that, and that's part of the

10 problem, is that, you know, from the beginning, while this is

11 not a substantively consolidated plan, this has been

12 effectively a substantively consolidate plan.          The third

13 amended plan talked about the noteholders getting one

14 distribution of 12 percent of the common stock in this

15 reorganized entity.      The fourth amended plan still talked about

16 one distribution to the noteholders, but in this case, it's

17 just being diluted further by the claims in Class 7.

18             THE COURT:    Right.

19             MR. PITTA:    And so I agree with you that if we had 30

20 allowed claims, we would be taking a step in the right

21 direction, but the treatment provisions of the plan stop us

22 short of actually achieving the proper solution.

23             THE COURT:    Well, so you want to go back to the

24 debtor-by-debtor issue, and here's the -- and it's not that

25 that's a bad result.      If there were truly value down in each of




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 986 of 1639
                                                                      0986

                                                                             279

 1 those entities, then that is probably an exercise that we would

 2 need to do, and maybe that is ultimately what we do need to do.

 3 I'm just trying to figure out what it is you're really asking

 4 for, because this has a practical implication to it, and I like

 5 practicality, I like realism.

 6              MR. PITTA:   It does, Your Honor, and, you know, part

 7 of the problem here is that this is a problem that was created

 8 halfway through a trial.

 9              THE COURT:   Uh-huh.

10              MR. PITTA:   You know, and so, it didn't lend itself

11 to nuanced solutions in the time that it came up, and so I, you

12 know, your statement that maybe that's what we have to do, I

13 think is theoretically correct, but, you know, I have listened

14 to Your Honor, I hear where you're at, and I don't think that's

15 where we're going --

16              THE COURT:   Okay.

17              MR. PITTA:   -- and so I think, you know, what --

18              THE COURT:   If you were writing the order --

19              MR. PITTA:   -- the solution to this problem is --

20              THE COURT:   If you were writing the order, what would

21 you write?    I have a basket of goods with, you know, a certain

22 percentage of the new common equity and some warrants to tag on

23 to that.    If you were writing the provision, and I'll just --

24 you know, if you make the assumption that everybody's going to

25 get treated equally, and I mean, equally by having the same




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 987 of 1639
                                                                      0987

                                                                             280

 1 opportunity.    If somebody's got a -- you know, somebody

 2 provided bottled water, and has a guarantee from six entities,

 3 then theoretically, it could file six proofs of claim.            If a

 4 bondholder has a guarantee from 32 entities, then

 5 theoretically, it could have 32 claims.         If you were writing

 6 the language, what would you say?

 7             MR. PITTA:    Well, Your Honor, I think part of the

 8 problem here is that this isn't really a thing that should be

 9 fixed in an order, it should be fixed in a plan, and, you

10 know --

11             THE COURT:    Well, we're going to fix it --

12             MR. PITTA: -- if you're calling balls or strikes, and

13 I think the answer is to call a strike here, but I think that

14 the practical solution is to tell the parties, if this is your

15 inclination, I'm inclined to confirm this plan, but this

16 problem needs to be fixed, and then I think that a commercial

17 solution could be reached, but I think that that commercial

18 solution is to say, if you're inclined to say that yes, the

19 unsecured creditors can only get 12 percent, because that's

20 what this plan says, and I'm inclined to confirm this plan, I

21 think the solution is to say, it's 12 percent, but parties

22 should receive a -- it's not a perfect solution, because these

23 entities do not have equal value, but to the extent that

24 parties have claims against multiple debtors, they should --

25 the definition of pro rata for unsecured creditors should --




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 988 of 1639
                                                                      0988

                                                                             281

 1 and I'm going to not do math on the fly here, or even write

 2 math on the fly here, but the definition of pro rata should

 3 incorporate the number of claims that you have relative to the

 4 number of claims that other unsecured creditors have.

 5             THE COURT:    So why should the language -- as opposed

 6 to putting numbers in there, why should the language not be

 7 that in order to figure out what each person is entitled to

 8 receive, you take the sum total of the claims held by that

 9 person or entity, divided by the total number of claims

10 asserted?    By everyone?    Why isn't that the right --

11             MR. PITTA:    At each entity?

12             THE COURT:    Well, I just -- globally, I mean --

13 because if you do that --

14             MR. PITTA:    Well --

15             THE COURT:    -- because, I mean, how do you allocate

16 the equity between entities?

17             MR. PITTA:    I think I actually just figured out what

18 you were suggesting.      So your suggestion being, if we have a

19 claim against the issuer in 29 guarantors and we have a

20 $425 million, our claim would be 425- times 30.           425 million

21 times 30, and then, we would share in an unsecured creditors

22 pool, pro rata, based on everybody else's claim, times the

23 number of debtors they have claims against.

24             THE COURT:    Yeah.   And I wasn't trying to say that --

25 you know, I mean, because I can see -- let me draw up a really




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 989 of 1639
                                                                      0989

                                                                             282

 1 weird scenario where you're owed something by Entity 1, and

 2 Entity 2 has a 50 percent guarantee, and another entity has a

 3 50 percent guarantee.

 4              So obviously it wouldn't be the claims times three.

 5 It would be the claim -- I mean, you get my point.           I was

 6 trying not to be limiting.       And I don't know -- I mean, that's

 7 potentially right.     So both the numerator and the denominator

 8 will be reflective of what the ultimate disposition is, and I

 9 don't know what it is.       I mean, I'm not trying to -- I'm

10 certainly not trying to resolve that today.

11              MR. PITTA:   No, I appreciate that, Your Honor.         You

12 know, it brings me to, you know, one of the other --

13 "injustices" may be the wrong word, but one of the other

14 injustices that the forth in the fifth amended plan have

15 visited upon the noteholders here, which is that under the

16 third amended plan, on the effective date, 12 percent of the

17 stock was going to be distributed through the DTC to the

18 holders of the unsecured notes, and they would be on their

19 merry way.

20              THE COURT:   Uh-huh.

21              MR. PITTA:   Under the fourth and fifth amended

22 plans --

23              THE COURT:   Doesn't happen.

24              MR. PITTA:   -- you know, there are substantial

25 rejection damage claims that have to be liquidated here, other




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 990 of 1639
                                                                      0990

                                                                             283

 1 unsecured claims that need to be liquidated, and we're looking

 2 at -- we don't know what magnitude of distribution is going to

 3 be available.

 4             Now, to the extent that we have to then -- or the

 5 debtor has to engage in a process where it's figuring out the

 6 best pro rata share, you know, that probably exacerbates that

 7 problem from the noteholders' perspective, and leaves them in

 8 limbo for even longer.

 9             THE COURT:    Sure.   But it's fair.

10             MR. PITTA:    You know -- and I don't -- I don't

11 necessarily disagree with you on that at all, Your Honor.            You

12 know, but again, it feels like Your Honor raised an issue with

13 a provision of the plan and the -- what looked like a neat

14 solution is actually fairly clumsy and creates a lot more

15 problems.

16             And you know, I -- you know, this is the -- I've

17 heard you say this in multiple cases.         You are not the -- you

18 know, you're not the kind of judge who says go in the hall and

19 fix this.    But I think there is some value here to say you have

20 a problem that you've created in this plan, and this is a

21 problem that's created by the circumstances of this trial.

22 This was a solution to a problem that was dropped into the

23 middle of trial, and I think if the parties had more

24 opportunity to have worked through this ahead of this trial,

25 you know, there would have been and there could have been a




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 991 of 1639
                                                                      0991

                                                                             284

 1 more neat solution to this that was a little more fair, and

 2 also logistically worked better.

 3             But I think that there's some value to say whatever

 4 you're going to say in this trial -- and I can read tea leaves,

 5 but I, you know, whatever you're going to say at the end of

 6 this trial, I think it can be accompanied by -- and it sounds

 7 like Your Honor understands the issues that this creates and

 8 has some issues with it, at least, an instruction to the

 9 parties that you need to think about what you've done here.

10             And I encourage you to take some time -- and it's not

11 -- I don't think this needs a lot of time -- but take some time

12 and go find a solution to this that gets us back to rough

13 justice for the noteholders while also providing a -- you know,

14 a modicum of justice to the other creditors, including

15 creditors who were in Class 7 but actually have multiple-debtor

16 claims.

17             THE COURT:    Right.

18             MR. PITTA:    You know?    This is not just a noteholder

19 issue.    But I think -- I think that's what makes the most sense

20 here, rather than you and I trying to fix this on the fly over

21 a Zoom.

22             THE COURT:    Sure.    So --

23             MR. PITTA:    Or a GoToMeeting.

24             THE COURT:    No, no, no.      So the way -- and just -- I

25 mean, I've been thinking about this a lot.          And you know, the




      ACCESS TRANSCRIPTS, LLC                   1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 992 of 1639
                                                                      0992

                                                                             285

 1 problem is -- and I know you appreciate this -- is the debtor

 2 has nothing to offer.      The debtor doesn't care who its

 3 shareholders are.     Or it shouldn't.     And so this is a -- you

 4 know, this is a Tom Pitta versus Damian Schaible discussion,

 5 best I can tell.

 6             MR. PITTA:    Your Honor, I think that's a discussion

 7 that Tom Pitta and Damian and Mr. Stark and Mr. Zersky (sic)

 8 you know, can engage in.       And Mr. Hebbeln, you know, can engage

 9 in.   And I really think, you know, all the members of the

10 Committee have an interest in this.        You know, and to be frank,

11 Your Honor, I think that having your ruling may be --

12             THE COURT:    Helps.   I got it.

13             MR. PITTA:    -- helpful, you know, to reaching a

14 solution on this.     But I think -- I think it does warrant a

15 neater solution.     And I see Ms. Schwarzman has jumped back on,

16 and I just wanted to address one other thing, which is that --

17 you know, even to the extent that one would argue that this is

18 a gift, I don't believe that much in the munificence of the

19 banks in Mr. Schaible's group, or Franklin, for that matter.

20 And this gift is given on account of some belief that there is

21 at least, you know, a holdup value here.

22             And, you know, I don't think they just decided they

23 want to give a few hundred million dollars of value away.            And

24 so I don't think it's as simple as saying this is a gift, you

25 don't have to care about where it goes --




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 993 of 1639
                                                                      0993

                                                                             286

 1             THE COURT:    Yeah.    I got it.    You and I both --

 2             MR. PITTA:    -- because I don't think that's really

 3 how it works.

 4             THE COURT:    You and I both know this was done to try

 5 and entice Class 6 to vote for the plan, and it didn't work.

 6 That's why --

 7             MR. PITTA:    Yeah.

 8             THE COURT:    That's why it was done.

 9             I've got -- don't go away.       If you would, just hang

10 on the line.    Let me --

11             MR. PITTA:    I'll be here.

12             THE COURT:    Let me finish the circle.

13             Mr. Kincheloe, I know you're there.

14             There's one thing -- Mr. Alonzo got an email from an

15 individual by the name of Jon Winick.          And, Mr. Winick, I saw

16 you on earlier.     Are you still with us?

17             MR. WINICK:     I am, Your Honor.

18             THE COURT:    Is it possible -- I really like to see

19 people.    Is it possible for you to turn your camera back on?

20             MR. WINICK:     Yes.   And I'm going to apologize.       I

21 couldn't get into the meeting before.          So I didn't think I

22 could be on video, so I didn't dress appropriately, so --

23             THE COURT:    That's quite all right.

24             MR. WINICK:     -- I apologize for that.

25             THE COURT:    So I -- number --




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 994 of 1639
                                                                      0994

                                                                             287

 1              MR. WINICK:    I just want to just --

 2              THE COURT:    Go ahead.    I'm sorry.

 3              MR. WINICK:    That's okay.    No, go ahead.    Sorry, Your

 4 Honor.

 5              THE COURT:    No, the podium is -- I was just going to

 6 say the podium is all yours.

 7              MR. WINICK:    Thank you, Your Honor.     My name is Jon

 8 Winick, CEO of Clark Street Capital.         I'm a holder personally

 9 of the bonds, and sort of informally represent a group of us.

10 I'm not an attorney.       You know, this whole process has been an

11 education.

12              You know, first off, Your Honor, I really appreciate

13 the time you've spent on this case, the thoughtfulness.            And I

14 mean, the fact that you came up with your own valuation, which

15 we will respectfully disagree with, but, you know, certainly

16 not something a typical judge does.        So, you know, I appreciate

17 your engagement in this process.

18              You know, my background is in the world of banking

19 and, you know, one thing that sort of struck me as being odd

20 about the U.S. bankruptcy process is, you know, at least in the

21 banking world, no regulator would ever let a management team

22 who kind of drove a financial institution into the bus retake

23 the keys.    You know, to give you an example, Wells Fargo had a

24 scandal a couple of years ago.         They had about $10 million in

25 damages, and they essentially required the firm to fire two




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 995 of 1639
                                                                      0995

                                                                             288

 1 CEOs and replace the entire board of directors.

 2             THE COURT:    I remember.

 3             MR. WINICK:    This particular -- this particular

 4 management team at Chesapeake has presided over a catastrophic

 5 loss of value in American history.        You know, part of the flaw

 6 of the banking process is we're presuming that this group is

 7 qualified here to get the most value.         I disagree.    I think the

 8 Court should consider hiring an examiner and see if we've got

 9 the right management team to pull off this Chapter 11 plan.

10             The other thing that's bothersome is this company's

11 been filing -- has been thinking about this for years.            To

12 paraphrase Michael Corleone, this company's been filing the

13 same bankruptcy for years.       Seems like they've been looking for

14 the perfect time to file in order to essentially walk over

15 billions of dollars of unsecured creditors.

16             To me, this looks like this company took a dive --

17 you know, you want to call it a "flop," but they basically

18 waited for the perfect time to burn through billions of dollars

19 in value.    And you know, this plan, based on their made as

20 instructed $4.1 billion valuation basically implies that the

21 current management team has burned through -- what is that,

22 $8 billion in cash.      And now we're being asked to trust them

23 again, and I think it's amazing that anyone would seriously

24 believe that the stakeholders are best served by this

25 management team.




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 996 of 1639
                                                                      0996

                                                                             289

 1             If you confirm this plan, you would send a message to

 2 any public company, be a reckless steward of your shareholders'

 3 money, collude with your favorite lenders against the interest

 4 of the stockholders and other stakeholders, and put together a

 5 slick bankruptcy plan, hire great counsel, and go from there.

 6             I was encouraged by the first day of the process,

 7 where you seemed to want the two parties, Brown Rudnick and

 8 Kirkland, to get together and work on an solution.           I think

 9 it's disappointing that the debtors' counsel has refused to

10 negotiate with anybody.      And you made these comments regarding

11 -- Your Honor made these comments regarding the trade

12 creditors, and their solution was to collapse 6 and 7.            You

13 know, we have guarantees from 26 entities.          They may have a

14 contract with one subsidiary.       So believe it's totally unfair

15 to treat 6 and 7 essentially the same.

16             Your Honor, I hope you'll do what is right here and

17 reject this plan.     You've rejected their valuation, and I urge

18 you humbly to reject this plan.        I also urge you to allow us to

19 prosecute our claims.

20             THE COURT:    Thank you.

21             MR. WINICK:    With that, I appreciate the time to

22 speak, and hope we move forward, reject this plan, and start

23 over.

24             THE COURT:    Thank you, Mr. Winick.

25             Mr. Kincheloe.




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 997 of 1639
                                                                      0997

                                                                             290

 1             MR. KINCHELOE:     Good afternoon, almost evening, Your

 2 Honor.   My client's objection has three issues.          The first,

 3 which I think is probably the -- both easiest and most

 4 difficult in different ways, the jurisdictional issue.            The

 5 plan contains what has been in a lot of cases, it's a retention

 6 of jurisdiction.     And I don't remember who said this -- it was

 7 sometime this morning that it was talking about the preference

 8 actions and how the 90 days couldn't be extended because

 9 Congress was the only one that could extend it.           It makes total

10 sense.   Valuation and all that's not my issue.

11             But it does kind of carry over here that only

12 Congress can expand jurisdiction.        And that's been the subject

13 of a lot of litigation.      I know we have Stern v. Marshall, but

14 when it comes down to subject matter jurisdiction, that's

15 defined by Congress.

16             THE COURT:    Yeah.    Marshall was actually

17 constitutional authority, not jurisdiction.

18             MR. KINCHELOE:     Sorry.   I may have misspoke.      That's

19 what I was trying to say, was Stern v. Marshall talks about

20 constitutional authority and the statutory jurisdiction has to

21 fit within that.     But the basic concept of subject matter

22 jurisdiction is statutory.        And that, like 547 and the 90 days,

23 is set by Congress.      This plan expands what 1334 provides.

24 1334 gives the Court exclusive jurisdiction over the case, and

25 then 1334(b) says that the Court has non-exclusive jurisdiction




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 998 of 1639
                                                                      0998

                                                                             291

 1 over matters arising under, arising in, or related to.

 2             Now, "arising in" isn't in Article XI of the plan,

 3 but "arising out of, or related to" are.         And it says that the

 4 Court's going to retain exclusive jurisdiction over those two

 5 categories.    That's beyond what 1334 provides.

 6             And I know I've made a similar argument to Your Honor

 7 before, and the Court suggested that we say okay, the Court

 8 retains jurisdiction to the maximum extent permitted by law.

 9 In a normal contested matter, that probably is okay.           The

10 problem that might client's concerned with in this case is the

11 Supreme Court's decision in Espinosa.         And at least as I read

12 Espinosa, it says to the extent a confirmed plan conflicts with

13 the statute, the plan controls.

14             THE COURT:    Right.

15             MR. KINCHELOE:     Okay.   Well, I mean, I could come up

16 with arguments why that case probably shouldn't apply to

17 jurisdiction.     I don't want to have to make them, and my client

18 doesn't want to have to make them, and so I'd rather just

19 object here.

20             Right now, the plan expands -- would expand the

21 Court's jurisdiction, and I don't want to risk either me or my

22 client with some other counsel having to argue whether Espinosa

23 applies later.

24             THE COURT:    Can you take me --

25             MR. KINCHELOE:     And so --




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 999 of 1639
                                                                      0999

                                                                             292

 1             THE COURT:    I'm sorry, Mr. Kincheloe.       Can you take

 2 me to the specific language in the plan that you're talking

 3 about?

 4             MR. KINCHELOE:     So there's one spot in the plan and

 5 two spots in the confirmation order.          It's -- I'm looking at

 6 Document 2833.      And the page number at the top, it's Page 58 of

 7 64.   If you're looking at the page numbers on the bottom, it's

 8 actually Page 54 of the plan.

 9             THE COURT:    Yeah.   Hold on.     Oh, I had 2833 up.

10 Sorry.

11             Okay.    I'm sorry.   I have 28 -- and it's what of 64?

12             MR. KINCHELOE:     It's Page 58 of 64.

13             THE COURT:    58 of 64.    Okay.    So retention -- so --

14             MR. KINCHELOE:     And it says, you know, dot dot dot,

15 "shall retain exclusive jurisdiction over all matters arising

16 out of, or relating to."       And I mean, there is plenty of case

17 law -- those are terms of art that have been interpreted by the

18 courts, and this comes straight out of 1334(b).

19             THE COURT:    Yeah.   I'm not going to do anything more

20 than add the language "to the maximum extent provided by law."

21 Because I don't think I can change that.          And I don't think --

22 number one, parties can't agree to it.          I have what I have.

23 And as the Supreme Court has taught us, we determine that on a

24 case-by-case basis.      So I'll add that, but nothing more.

25             MR. KINCHELOE:     Well, Your Honor, I would ask for one




      ACCESS TRANSCRIPTS, LLC                   1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1000 of 1639
                                                                       1000

                                                                              293

 1 thing.    If the Court wants to overrule me, I'll take that

 2 and --

 3             THE COURT:     Understood.

 4             MR. KINCHELOE:     -- advise my client.       There was a

 5 paragraph that was added last night to the confirmation order,

 6 that's Paragraph 258.

 7             THE COURT:     Okay.   Hold on.     Let me get there.     Is it

 8 -- can you give me the reference to the brand new one, 2847?

 9             MR. KINCHELOE:     If the Court gives me a second, I

10 can.

11             THE COURT:     Sure.

12             MR. KINCHELOE:     I had the one last night open.         So

13 it's Document 2845.      And it looks like it's Page -- well, no,

14 Your Honor.     I'm sorry, the -- oh, here it is.         It's now

15 Number 256.     It's Page 133 of 211.

16             THE COURT:     Okay.   I'm sorry, one what?      I just

17 couldn't hear you.

18             MR. KINCHELOE:     133 of 211.

19             THE COURT:     Okay.   And it's 250 -- it's what page?

20             MR. KINCHELOE:     It's -- sorry, it's Page 133.

21             THE COURT:     I'm sorry, paragraph.

22             MR. KINCHELOE:     Paragraph 256.

23             THE COURT:     256.

24             MR. KINCHELOE:     And I heard Chesapeake's counsel on

25 opening argue that they're not subject to FERC's jurisdiction.




      ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1001 of 1639
                                                                       1001

                                                                              294

 1 I'll get to that in a second.        But if they're not --

 2             THE COURT:     That's not what they said.

 3             MR. KINCHELOE:     Okay.    Either way, Your Honor, I'd

 4 ask that this paragraph be deleted.         I mean, there's just no

 5 reason --

 6             THE COURT:     We can't be on the same -- because

 7 Paragraph 256 is a settlement with Stone Well Service.

 8             MR. KINCHELOE:     Okay.    I'm looking at Document 2845.

 9             THE COURT:     Right.

10             MR. KINCHELOE:     Am I looking at the wrong one, Your

11 Honor?

12             THE COURT:     The current confirmation order is 2847.

13             MR. KINCHELOE:     If the Court will give me a second,

14 I'll try to find it.

15             THE COURT:     Sure.    What am I looking for?     And I'll

16 do the same --

17             MR. KINCHELOE:     There's -- the subheading is "FERC

18 Jurisdiction."

19             THE COURT:     Ah, okay.    I can search for that.      It's

20 255.

21             MR. KINCHELOE:     Whatever my client's jurisdiction is,

22 it is -- it's the Court saying it's retaining jurisdiction to

23 the maximum extent permitted by law.         Okay.    My client and I

24 can talk about it after the hearing.         But a paragraph trying to

25 modify my client's jurisdiction in any way is just -- I




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1002 of 1639
                                                                       1002

                                                                              295

 1 can't --

 2             THE COURT:     So let me say this.     So I've read 255.

 3 I don't think that 255 has anything to do with FERC.            I would

 4 just suggest we delete the header "EEEE, period, provision

 5 regarding FERC jurisdiction," because 255 has nothing to do

 6 with FERC jurisdiction specifically.         It may have tangentially,

 7 but it ends by, you know, the "Bankruptcy Court shall not

 8 retain jurisdiction beyond the maximum extent allowed by law

 9 under the applicable circumstances."         I mean, that's all we've

10 said.

11             I'm not going to do anything less.         And I'm certainly

12 not going to do anything more.        I do think the header comes

13 out, if that was creating confusion, because I don't think it

14 serves any purpose.      And to the extent that it's meant to mean

15 something, it shouldn't.

16             So we're going to delete "EEEE, period, Provision

17 Regarding FERC Jurisdiction, period." As -- 255 is just going

18 to say what it says.

19             MR. KINCHELOE:     I understand, Your Honor.

20             THE COURT:     Understood.    What's next?

21             MR. KINCHELOE:     The next -- it's the 1129(a)(6)

22 issue.    Now, the Court has heard me say this before.          My client

23 doesn't like Mirant.       The Court has also heard me say Your

24 Honor is bound by Mirant.       My client is where it is.       It may

25 one day ask the Fifth Circuit to overturn Mirant, but for




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1003 of 1639
                                                                       1003

                                                                              296

 1 today, the objection was merely to ensure that we're complying

 2 with it.

 3              To the extent we're saying the rejections are just

 4 breach, okay.     My client just wants to make sure that nobody is

 5 taking the position that rejection equals more than breach,

 6 like maybe rejection means the contracts no longer exist.

 7              THE COURT:    So first --

 8              MR. KINCHELOE:    So that's --

 9              THE COURT:    First of all, I mean, 1129(a)(6) only

10 pertains to the plan.       And there is nothing I saw in the plan

11 that comes anywhere close to what you're worried about.             If I

12 missed it, please point me to it.

13              MR. KINCHELOE:    The concern is this would be the

14 discussion about the treatment of executory contracts.

15              THE COURT:    I got it.

16              MR. KINCHELOE:    And that that somehow incorporates by

17 reference.     And again, if Your Honor's ruling is to overrule

18 that objection, I'll advise my client.

19              THE COURT:    Understood.    I'm going to overrule that

20 objection.

21              MR. KINCHELOE:    Thank you.    The third objection --

22 and this got a little more -- this got a little more weight

23 with my client in the last 24 hours.         We understand that ETC

24 Tiger and Chesapeake are going to present Your Honor with a

25 settlement at some point.       And you know, we're going to have




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1004 of 1639
                                                                       1004

                                                                              297

 1 issues with that when it comes up, mainly because we haven't

 2 seen it.

 3             THE COURT:     Sure.

 4             MR. KINCHELOE:     But as I understand the settlement,

 5 it's going to result in ETC Tiger and Chesapeake presenting a

 6 new proposed rate to FERC.         And as we read the injunction, the

 7 injunction provision of the plan talks about it enjoins any

 8 actions in connection with, or with respect to the discharged

 9 claim, which is slightly broader than 524.           524 only enjoins an

10 action to collect or recover a discharged debt.

11             And so what my client's worried about is that they

12 could arguably be violating the injunction provision in the

13 plan by adjudicating that request to approve a new filed rate.

14             And I know as I'm saying it, probably odds are nobody

15 is going to make that argument, but I don't want to risk having

16 my client leave today and not having raised the issue with the

17 Court.

18             THE COURT:     You've raised it and I won't -- well,

19 I'll remember you said something.         Bring that up at the

20 compromise hearing.      I can't imagine that the parties would

21 submit a compromise to me and then say that to the extent that

22 FERC has to approve a rate change, if there is a rate change,

23 that they can't do it.       I can't imagine that argument being

24 made.    But remind me of today, and remind me at the hearing on

25 that motion to compromise.




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1005 of 1639
                                                                       1005

                                                                              298

 1             I would be shocked if that were an issue, but if it

 2 is, we'll deal with it.       And just as protective as I am of

 3 bankruptcy court jurisdiction, and you know what I think of the

 4 contract rejection argument, I am equally protective of what I

 5 believe to be FERC's legitimate purpose and rights and duties.

 6             MR. KINCHELOE:     Thank you, Your Honor.       The one last

 7 thing -- I've heard Your Honor.         My client representative is on

 8 the line.     He has heard Your Honor.      We will talk after the

 9 hearing and we will decide what to do.          I don't know what we're

10 going to do.

11             THE COURT:     Sure.

12             MR. KINCHELOE:     But I also don't want to be the cause

13 of any delay.     So if the Court does overrule the objection

14 today, I would just appreciate, so I can remove the delay, an

15 opportunity to move for a stay pending an appeal orally.             And

16 if the Court denies it, just so we can move on with life.

17             THE COURT:     Well, you're going to file a motion, and

18 I'm going to set it for a hearing.

19             MR. KINCHELOE:     Okay.    That's fine, Your Honor.

20             THE COURT:     All right.    Anything else, Mr. Kincheloe?

21             MR. KINCHELOE:     That's all.     Thank you.

22             THE COURT:     And I don't think I've seen you.        Happy

23 New Year.

24             MR. KINCHELOE:     Happy New Year, Your Honor.

25       (Court attends to unrelated matter/caller at 4:58 p.m.)




      ACCESS TRANSCRIPTS, LLC                   1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1006 of 1639
                                                                       1006

                                                                              299

 1         (Proceedings resume at 5:04 p.m.)

 2              THE COURT:    All right.    Let me make one more pass.

 3 Anyone else wish to make comments that opposes the plan?

 4              All right.    Ms. Schwarzman, do you want to respond to

 5 some of the issues that you have heard?

 6              MS. SCHWARZMAN:    Sure.    Well, I was actually going to

 7 start by asking Your Honor if there's any sort of issues that

 8 were raised that you would like to hear response.            And I'm

 9 prepared to respond to many things, but you know, Your Honor

10 sat through the trial with us.        You have an excellent grasp of

11 the evidence.     And so I'll defer to you, if there's anything

12 particular you wanted to hear on.

13              THE COURT:    So -- and I will listen to anything that

14 you want to respond to, but in particular I do want you to

15 address Mr. Pitta's concerns about 6 and 7.           I hadn't really

16 focused on the language.       I said once before, you know, I made

17 certain assumptions which have turned out not to be true.              And

18 I was always worried that I was creating, you know, multiple

19 problems when I was trying to solve what I thought was an easy

20 one at the time.

21              Let me give you my reaction, and then I'll have you

22 respond however you want.       My goal always was -- and Mr. Pitta,

23 and probably rightly so, referenced this as sort of Texas rough

24 justice.    And I get that.     I appreciate it.      I apply it all the

25 time.    But I wanted it to be even.       And I haven't really




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1007 of 1639
                                                                       1007

                                                                              300

 1 thought about whether or not it's currently even.

 2             I don't like the concept of -- that one particular

 3 type of creditor can file multiple claims based upon a

 4 guarantee or a co-obligor type thing, and another one can't.

 5 I think it all needs to be one way or the other.

 6             I don't particularly have a preference.          My goal is

 7 that, you know, if there isn't -- if there isn't an

 8 agreement -- and I'm perfectly happy to give you the evening or

 9 a day or -- not too long, but I'm happy to give you an

10 opportunity to try and craft some language that may be

11 reconciliatory in some form or fashion.

12             But at the end of the day, you know, if you can't

13 reach an accord, then, you know, what I want is I want

14 something -- if people are going to be -- if people are going

15 to feel like they've been unfairly treated, I want everybody to

16 feel that way to an equal degree.

17             And I'm not making light of that.         It's genuinely

18 what I want.     I want everybody to be treated exactly the same

19 way.    But I don't -- I don't like the thought of approving some

20 language where if you are a green creditor that you can do one

21 thing, but if you're a blue creditor you cannot.            I want

22 blue/green to exist the same way, either way, and I don't

23 really care.

24             That's obviously, you know, Mr. Mitchell has popped

25 in.    He's going to weigh in on this.       And maybe you don't want




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1008 of 1639
                                                                       1008

                                                                              301

 1 to have a discussion.

 2             But I do want to hear your thoughts about that issue.

 3 And then obviously I'm happy to hear any other responses that

 4 you want to make with respect to any of the arguments that

 5 you've heard, and including, obviously, the Committee's and

 6 Mr. Stark's.

 7             And let me do this before I do that.         It says Henry

 8 Knight, but I know it's not Henry Knight, because I know the

 9 lawyer.

10             MR. SPENCE:     Yes, Your Honor.     Ross Spence of -- I

11 was raising my hand and it told me "hand raised" from my desk,

12 but for some reason you couldn't see it or -- so I moved to my

13 associate's office, and hopefully can hear me.

14             THE COURT:     Very well.    And I'm sorry I didn't see

15 you.

16             MR. SPENCE:     No problem.    I represent some royalty

17 owners.    I have a very practical issue.

18             THE COURT:     I read your objection.

19             MR. SPENCE:     Okay.   No, we resolved a lot of things

20 in the plan language.       We, and the Committee, and others.        But

21 the practical issue I have is that you pointed out during trial

22 third day that an unpaid royalty is a property interest, but a

23 claim -- a claim for a disputed royalty is more of a legal

24 claim.

25             But the question is -- so once it gets decided, what




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1009 of 1639
                                                                       1009

                                                                              302

 1 happens?    And in the Extraction bankruptcy case, recently,

 2 Judge Sontchi ruled that -- exactly what you did, that royalty

 3 payments are not property of (audio interference) but claims

 4 for disputed royalties are just that, legal claims.            But when

 5 they're decided -- once they become decided, then those

 6 disputed -- now undisputed royalties are property of the

 7 royalty owners, not the estate.

 8             THE COURT:     Yeah.   So let me be -- and I've read

 9 Judge Sontchi's decision.       I've actually talked to him about

10 it.   And I'm not sure that it came out exactly how he was

11 thinking about it.      But again, we're -- that's his decision.

12 I've read it.     I understand it.

13             And let me -- the answer to your question is it's

14 going to depend.      And it depends on a lot of things.        And you

15 know, for instance, you know, let's assume -- let me make

16 something up.     And I want to try to draw the example that won't

17 offend anybody.

18             Let's say that in 1967 your client was underpaid a

19 royalty of a dollar.       And today there is a lawsuit for that

20 royalty and there is no cash in the bank.          Well, obviously, you

21 know, any claims that you can make that, you know, based upon

22 tracing or the -- I mean, I know all the theories and I've

23 tried to pick something that wouldn't -- that you couldn't say,

24 well, what about this?

25             Let's assume that there was zero in the bank account.




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1010 of 1639
                                                                       1010

                                                                              303

 1 Well, at that point, you have a claim.          You have an unsecured

 2 claim.    And it would just get paid, you know, however the plan

 3 treatment for general unsecured claims is.

 4             Now, I know that that will never be the case.           And so

 5 if you're -- I think what I said -- and I'm sure you've looked

 6 at the transcript, and I'm sure my memory is bad, is that these

 7 things aren't absolute, but --

 8             ELECTRONIC VOICE:      Our system will end this

 9 conference in five minutes.

10             THE COURT:     Hold on.

11             ELECTRONIC VOICE:      Your conference has been extended

12 for 60 minutes.

13             THE COURT:     I think what I said was in general,

14 claims arising out of the underpayment of royalty are exactly

15 that, legal claims.      Because I know all of the -- you know,

16 there are additional damages that go with that.           There are fees

17 and costs that go with that.

18             And so, again, you know, the answer is we're going to

19 have to get further down the path of where your particular

20 claims are and what they are.         And I will tell you I read so

21 much -- and I read your objection.         I know what it's about.         I

22 don't remember what jurisdiction it is.          Obviously, I'm much

23 more comfortable talking about Texas, because I've litigated

24 that issue as a lawyer and I just -- I'm very comfortable with

25 it.




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1011 of 1639
                                                                       1011

                                                                              304

 1             With the lawyer that was making the comments from

 2 Pennsylvania, you know, the only time I've ever been to

 3 Pennsylvania was to fly into Philadelphia to take the train

 4 down to Delaware.      I mean, that's -- I mean, that's the sum

 5 total of my exposure.       So I -- it's going to depend on an awful

 6 lot.

 7             MR. SPENCE:     Could I say then that the -- I'm aware

 8 of -- you know, a SandRidge problem where the money got swept.

 9 So, sorry, you're out of luck.        But there's language that's now

10 been added to the confirmation order.           I had it in my other

11 computer, but it's Page 94 of the redline of the current

12 confirmation order, so the "dash 1" version.

13             THE COURT:     Okay.   Hold on.     And was this language

14 that Ms. Brown negotiated?

15             MR. SPENCE:     No.    It was language that the Perry

16 (sic) royalty owners negotiated, but strictly for themselves.

17             THE COURT:     Okay.   Hold on.

18             MR. SPENCE:     Not general --

19             THE COURT:     So hold on.    Let me get to the order.

20        (Pause)

21             THE COURT:     All right.    I'm going to look.     I'm going

22 to pull up -- if it would stop.         I'm going to pull up --

23 actually, I didn't pull up the redline.           Can you give me the

24 number that it's in?       And I'm looking at 2845.

25             MR. SPENCE:     It should be 2845-1.      It was filed at




      ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1012 of 1639
                                                                       1012

                                                                              305

 1 the same --

 2             THE COURT:     No, it was.    It's just -- it takes me a

 3 moment to get there.       I was trying not to do it, but hold on.

 4             MR. SPENCE:     (Audio interference)

 5             THE COURT:     That's just fine.     The computer --

 6             MR. SPENCE:     The one I was --

 7             THE COURT:     -- gets tired at the end of the day.

 8             MR. SPENCE:     What I'm hoping to prevent is that --

 9 it's fine to say okay, do you have a secured claim, do you not?

10 We fight over that later.       That's been preserved.

11             THE COURT:     Sure.   Can you --

12             MR. SPENCE:     But if we fight over that --

13             THE COURT:     Can you get me to -- I'm sorry,

14 Mr. Spence.     Can you get me to the paragraph that we're talking

15 about?

16             MR. SPENCE:     It was Page 94 of the redline,

17 continuing to Page 95.       I don't remember the paragraph number.

18             THE COURT:     Okay.   So this is the --

19             MS. SCHWARZMAN:     Your Honor, it should be Paragraph

20 190, I believe.

21             THE COURT:     Okay.   Mr. Spence --

22             MS. SCHWARZMAN:     It's included in 2847.

23             THE COURT:     Okay.   I have it, Mr. Spence.

24             MR. SPENCE:     And so there they preserved the idea

25 that if you just -- if you have adjudication of your claim and




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1013 of 1639
                                                                       1013

                                                                              306

 1 it becomes an allowed secured claim, well, then it will be

 2 classified as an other secured claim.          To me, that should mean

 3 you get paid.

 4             But what I hear you saying and what I'm concerned

 5 about, after SandRidge, is that, well, you may be an other

 6 secured claim, but unless there's money sitting in the royalty

 7 account that you can claim your security interest against,

 8 well, then, you're out of luck.

 9             THE COURT:     Well, then you're not a secured claim,

10 right?    If you have --

11             MR. SPENCE:     Right.

12             THE COURT:     If you have no collateral, you can't be a

13 secured claim.

14             MR. SPENCE:     Right.   And so to me, the SandRidge

15 royalty owners did not object at the plan stage.            Here, we have

16 obeyed that objection, and we just think that there either --

17 you can by plan fiat dictate that an other secured claim will

18 get paid regardless of whether the debtor swept the monies so

19 that they can earn some interest.

20             THE COURT:     So you're --

21             MR. SPENCE:     Or --

22             THE COURT:     Are you complaining about the fact that

23 the debtors entered into a settlement with the Pettys?

24             MR. SPENCE:     No, I am not.

25             THE COURT:     Okay.




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1014 of 1639
                                                                       1014

                                                                              307

 1             MR. SPENCE:     No.

 2             THE COURT:     Then I'm not appreciating the objection.

 3             MR. SPENCE:     Okay.   Well, to solve the problem that

 4 the money may not be there at the time that your claim gets

 5 adjudicated --

 6             UNIDENTIFIED:     Escrow.

 7             MR. SPENCE:     -- then what I was saying is you can

 8 have -- you can either, just like -- you can just state that it

 9 will be treated as an other secured claim, whether the money is

10 still there due to sweeping or not.         Or you can escrow.      Going

11 forward, these debtors can escrow all the disputed royalties,

12 and then we won't have a problem.

13             THE COURT:     So your problem is an ongoing problem?

14             MR. SPENCE:     Well, no.    Our claim was fixed in time,

15 but we just want to make sure that it will get paid.            If it

16 truly is our property or it is a secured claim, we'd like to

17 get paid as such, not -- otherwise, we're going to be in the

18 unsecured pool no matter what.

19             THE COURT:     So here's my -- Mr. Spence, and I don't

20 think that this is a plan issue.         I'm surprised that I haven't

21 seen something else filed, if that's where you are.            But I

22 don't think it's a plan issue.

23             Again -- and I said this before.         And part of it was

24 because of -- when I read your objection, when I said it to the

25 other -- or I said it to Mr. -- I can't remember who I said it




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1015 of 1639
                                                                       1015

                                                                              308

 1 to.   But I said plans shouldn't be about -- I did say it to

 2 Mr. Pitta, that plans shouldn't be about dictating, you know,

 3 who has what.     It's -- plans should be about dictating if you

 4 have this, then here is your treatment.

 5             Now, granted, 1123 specifically permits the

 6 embodiment of settlements within confirmation orders and plans.

 7 But just as a general -- as a general statement, I don't

 8 believe that the purpose of plans is to dictate who has what.

 9 It's to set forth here's how claims will be treated, and then

10 we use the claims adjudication process to figure out what it is

11 you have.

12             If you believe that your position is changing to the

13 negative, then you should file something and tell me there's a

14 problem and let me deal with it.         But I just don't think it's a

15 confirmation issue.

16             MR. SPENCE:     Well, all I can say in that regard is

17 that each day, apparently, they're sweeping those funds, which

18 we don't even think they own.        And so, yes, it is an ongoing

19 problem in that sense.

20             THE COURT:     But is the underpayment, if you will --

21 if your theory of the world is correct, is the underpayment

22 ongoing?

23             MR. SPENCE:     It is in the sense that, yes, until we

24 resolve our issues with them, they are treating our royalty in

25 a certain way, which we disagree with.




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1016 of 1639
                                                                       1016

                                                                              309

 1              THE COURT:    Then you need to file something and tell

 2 me that, and give me the ability to grant relief.

 3              MR. SPENCE:    Okay.   The other thing that was done in

 4 those Paragraphs 190 and following was they preserved their

 5 right to argue about cure amounts under surface cases.             And we

 6 had asked for that, that we never got that.

 7              THE COURT:    So has your lease -- is your lease being

 8 assumed under the plan?

 9              MR. SPENCE:    We have -- yes, we have surface leases

10 that they're assuming at zero.        And we tried to get them to

11 agree, let's put off that fight over the cure amount, to

12 another day, and just preserve that.

13              THE COURT:    So do you have a good faith basis, as we

14 stand here today, for disputing the amount of the cure?

15              MR. SPENCE:    My clients feel that it's not zero, but

16 I don't have any -- I don't have the facts in front of me to

17 tell Your Honor here's why.

18              THE COURT:    And again, I just don't remember.        What

19 was the process for asserting an objection to the cure amount?

20              MR. SPENCE:    I do not recall it, Your Honor.

21              THE COURT:    Ms. Schwarzman, could you remind me?

22              MS. SCHWARZMAN:    Yes, Your Honor.      Objections to cure

23 were due at the same time as objections to confirmation

24 generally.

25              THE COURT:    Right.   And how long did folks have to do




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1017 of 1639
                                                                       1017

                                                                              310

 1 that?

 2              MS. SCHWARZMAN:     Objections were due on December

 3 10th, I believe, and the DS was approved on October 30th.

 4              THE COURT:     And so here we are, what, three months

 5 later, Mr. Spence, and you still don't know?

 6              MR. SPENCE:     I don't know the cure amounts.       I did --

 7 I did discuss this whole surface contract issue, and just that

 8 the issue should be preserved for future.

 9              THE COURT:     I got it.   That objection is going to be

10 overruled.     What else?

11              MR. SPENCE:     We had asked to preserve all lease

12 rights.    There is sort of general language preserving the lease

13 as unimpaired -- the mineral leases.

14              THE COURT:     So I don't understand what that means.

15 If you're -- if the lease is being assumed --

16              MR. SPENCE:     No, no.    I mean the mineral lease.

17              THE COURT:     Oh, the mineral -- I'm sorry.      Sorry,

18 sorry, sorry.     Okay.    And so what is it that you're looking

19 for?

20              MR. SPENCE:     (Audio interference) so we've asked for

21 specific reservation of audit rights, consent rights, and lease

22 termination rights, as part of the bundle of rights that's

23 being preserved.      We just were unable to get that language

24 included.

25              THE COURT:     And what does the confirmation order say?




      ACCESS TRANSCRIPTS, LLC                   1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1018 of 1639
                                                                       1018

                                                                              311

 1             MR. SPENCE:     Generally that -- in Paragraph T --

 2 well, I'm thinking of the plan --

 3             THE COURT:     Okay.

 4             MR. SPENCE:     -- but that the leases will be

 5 unimpaired --

 6             THE COURT:     Yeah.    I think the bundle of rights --

 7 I'm not going to go through, because I'm worried that if I say

 8 anything -- because no two leases are ever the same.            Whatever

 9 the lease rights are, they are.         And I think that a statement

10 is that those will continue unimpaired is exactly the right

11 statement to make, because then I don't have to look at, you

12 know, 27,000 leases in 15 different states, only one of which

13 I'm probably marginally qualified to look at.

14             MR. SPENCE:     Okay.    Thank you.    And Your Honor asked

15 what state, and it's all Texas that I'm talking about.

16             THE COURT:     Okay.    Well, then -- well, I'm at least

17 more comfortable.

18             MR. SPENCE:     And that really -- that's it, Your

19 Honor.

20             THE COURT:     Okay.    Thank you, Mr. Spence.

21             So, Mr. Mitchell, before I come back to you, I want

22 to hear what Ms. Schwarzman has to say.           I would think that you

23 would, as well.

24             All right.     Ms. Schwarzman.

25             MS. SCHWARZMAN:     Thank you, Your Honor.




      ACCESS TRANSCRIPTS, LLC                   1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1019 of 1639
                                                                       1019

                                                                              312

 1             THE COURT:     And my apologies for interrupting with

 2 the gentleman from J.C. Penney.

 3             MS. SCHWARZMAN:     No problem.

 4             THE COURT:     I hope --

 5             MS. SCHWARZMAN:     He was very lovely to us.

 6             THE COURT:     I hope he hasn't been waiting since nine

 7 o'clock.    That would be a long day.

 8             Go ahead, please.      I'm sorry.

 9             MS. SCHWARZMAN:     So --

10             MR. SPENCE:     (Indiscernible.)

11             THE COURT:     Mr. Spence, could you mute me, please?

12             Go ahead, please.

13             MS. SCHWARZMAN:     Thank you, Your Honor.       So I

14 believe, you know, Your Honor, was saying that you want the

15 treatment to be fair, and you want it to be fair for everyone.

16 And you know, green creditors don't get different treatment

17 than blue creditors.       And I believe that what we've done,

18 although people say it's complicated -- I believe that it's

19 fair.    Everybody gets (indiscernible) recovery and not

20 misconstruing what the plan says.

21             But we heard Your Honor loud and clear.          Your

22 assumptions, when you gave us that hint, was correct, and that

23 unsecureds are "out of the money."         And you know, we think zero

24 times 30 results in the same as zero times one or times two.

25 And so we do think it's fair.        And so I do think we would -- we




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1020 of 1639
                                                                       1020

                                                                              313

 1 would ask the plan be confirmed as is.

 2              THE COURT:    So let me ask you this.      Because the way,

 3 at least my memory, of 30 minutes ago, was that it was only one

 4 claim as to a lease -- or, I'm sorry, as to a noteholder.             But

 5 another by just a general unsecured could perhaps do that.                 Is

 6 that -- that's just not correct?

 7              MS. SCHWARZMAN:    No.    Whatever Your Honor's

 8 expression was, "one riot, one ranger."          It's the same for

 9 everybody.

10              THE COURT:    Got it.    And can you -- and I have now

11 2845 up on my screen.       Can you walk me through where that is?

12 Oh, it's actually going to be --

13              MS. SCHWARZMAN:    I'm looking at 2847.      It's actually

14 in the plan, which would be 2833.

15              THE COURT:    Got it.

16              MS. SCHWARZMAN:    And I'm looking at 2833-1, looking

17 at the redline.

18              THE COURT:    33-1.   Okay.

19              MS. SCHWARZMAN:    So the first page I would go to,

20 Your Honor, is Page 15 of 64.         And it's the pro rata language.

21              THE COURT:    Hold on just one second.      I'm lagging

22 behind you.

23              MS. SCHWARZMAN:    Sure.    Okay.

24              THE COURT:    All right.    I now have the plan.      You

25 said 15 of 64?




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1021 of 1639
                                                                       1021

                                                                              314

 1              MS. SCHWARZMAN:    Yes, Your Honor.

 2              THE COURT:    Okay.

 3              MS. SCHWARZMAN:    So the pro rata language should

 4 describe how we get to numerator and the denominator, and most

 5 importantly it says about halfway through that redline

 6 language, "Each allowed unsecured notes claim and each allowed

 7 general unsecured claim shall be counted ounce, notwithstanding

 8 the number of debtors against which such claim may be

 9 asserted."

10              THE COURT:    I misread that.     You're right.

11              MS. SCHWARZMAN:    And then we did clean up the section

12 -- I believe it was VI-J on Page 48, to clarify the confusion

13 there, as well.      Just to say that holders in allowed claims

14 other than an allowed unsecured notes claim or allowed general

15 unsecured claim cannot recover against more than debtor just

16 once.

17              And I believe somebody -- Mr. Silverberg from the

18 Committee asked me earlier to clarify if that applies to the

19 convenience claims, too.       And the answer is yes, that's the

20 intention: one claim, one recovery.

21              THE COURT:    Okay.    So -- got it.    Okay.   So you treat

22 everybody the same.       Got it.   Okay.

23              MS. SCHWARZMAN:    And then with respect to rebuttal of

24 the other things we've heard.        I'd just quickly -- on

25 Mr. Kincheloe's objection.         No issue changing the heading of




      ACCESS TRANSCRIPTS, LLC                   1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1022 of 1639
                                                                       1022

                                                                              315

 1 that FERC section.      You're right.     It is a misnomer.      But if we

 2 could change it to just "Retention of Jurisdiction."

 3              THE COURT:    That's fine.

 4              MS. SCHWARZMAN:    Otherwise, it looks like it stays in

 5 that ETC section.      So that would be the request there.

 6              And you know, Your Honor, Mr. Stark said a lot.          I'm

 7 very happy to go through and explain why I disagree with the

 8 numbers that he put up in a slide when he was trying to put in

 9 what he thought the value of unencumbered collateral is.

10              If Your Honor is not persuaded by theory, I don't

11 feel the need to take the time to respond to either the theory

12 or the numbers.      But I'll take direction from Your Honor.

13              THE COURT:    Yeah.   First, let's deal with

14 Mr. Kincheloe.

15              Mr. Kincheloe, any issue if we just -- as opposed to

16 the language that dealt with FERC, we just give it a title?

17 Because I agree.      It means -- that it looks like it's in

18 another section.      If we just call it "Retention of

19 Jurisdiction"?

20              MR. KINCHELOE:    There is a problem, Your Honor.

21 Section I has the same subheading.         It's Paragraph 112 on Page

22 52.

23              THE COURT:    So hold on.    Hold on.    Hold on.    So one

24 at a time.

25              So, with respect to the question that I asked you,




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1023 of 1639
                                                                       1023

                                                                              316

 1 any issue in just changing that to "Retention of Jurisdiction"?

 2              MR. KINCHELOE:    Well, yes, Your Honor, because there

 3 is already the exact same subheading elsewhere, and I think

 4 it's confusing to have that in two separate places.

 5              THE COURT:    Okay.   So then why can't we just move the

 6 paragraph?

 7              MR. KINCHELOE:    We can, Your Honor.

 8              THE COURT:    Okay.   Can you do that, Ms. Schwarzman?

 9              MS. SCHWARZMAN:    Yeah.    Your Honor, I think we can

10 actually just delete the second time it shows up.            I'll have to

11 double-check, but I think (indiscernible).           We can definitely

12 make that change.

13              THE COURT:    Could you just confirm to Mr. Kincheloe,

14 once you have a chance to catch your breath, that you're either

15 going to put them both together or you're going to delete one?

16              MS. SCHWARZMAN:    Yes.    Absolutely, we will.

17              THE COURT:    Thank you.

18              MR. KINCHELOE:    Thank you, Your Honor.

19              THE COURT:    Thank you, Mr. Kincheloe.

20              Ms. Schwarzman, I want to hear whatever comments that

21 you want to make.      I told you I would give you rebuttal.         I

22 don't want to dictate what you say, what you don't say.             I'll

23 leave it at that.

24              MS. SCHWARZMAN:    Your Honor, I don't really feel like

25 I need to respond.      You know, at a high level, I don't think




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1024 of 1639
                                                                       1024

                                                                              317

 1 the numbers that Mr. Stark gave you were consistent with the

 2 evidence or at a minimum had misconstrued the evidence.             But

 3 Your Honor, at this time, unless there's any questions

 4 troubling you, I would reiterate our request to confirm the

 5 plan.

 6             THE COURT:     All right.    Thank you.

 7             Anyone else that I promised rebuttal to want to take

 8 me up on that?     Mr. Zensky.

 9             MR. ZENSKY:     Can you hear me, Your Honor?

10             THE COURT:     Yes, sir.

11             MR. ZENSKY:     Okay.   Thank you.    I'll be very brief.

12 I just wanted to respond to a few of my friend, Mr. Stark's,

13 comments.

14             On 546(e) and the questions of a qualifying financial

15 institution, Mr. Stark discussed at length the argument about

16 MUFG's relationship to the lenders and the 2L trustee.             He did

17 not respond at all to Franklin's independent status as a

18 financial institution.       And as Your Honor knows, from argument

19 and from the papers, that's not all dependent on whether Your

20 Honor agrees with the second and more encompassing argument

21 that is based on the Commune case.         So you've heard nothing to

22 suggest that our argument is wrong as to the Franklin funds

23 themselves.

24             With respect to the "in connection with" requirement,

25 which I spent some time on, Mr. Stark showed you a chart which




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1025 of 1639
                                                                       1025

                                                                              318

 1 he called a "schematic," and used it to try to argue that the

 2 FILO loans and the debt tender for the WildHorse notes really

 3 have nothing to do with each other, or certainly shouldn't be

 4 considered as related.

 5             He did that have very pretty arrow going across the

 6 page from one side to the other, which belies the point.             But

 7 he's really twisting himself into a knot trying to avoid the

 8 "in connection with" argument, because the whole theory of the

 9 Committee's fraudulent conveyance case is that you have to

10 collapse the FILO loans with the debt tender offer, and that's

11 what makes it a constructive fraudulent conveyance.

12             In other words, the lenders did give Chesapeake

13 $1.5 billion, and the argument that it becomes constructively

14 fraudulent is if you collapse it with the next step of the

15 transaction, because the money goes out the door to buy the

16 bonds.

17             So you can't have it both ways.        You can't argue that

18 the loan and the lien are not in connection with the debt

19 tender offer, but at the same time argue that the debt tender

20 offer makes it constructively fraudulent.

21             There's a similar problem that comes up with the

22 Committee's intentional fraudulent transfer argument.             And

23 Mr. Stark tried to argue that there's a badge of fraud here

24 that the debtors retained the property at the same time it was

25 dispossessed from the Legacy Chesapeake entities.            And again,




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1026 of 1639
                                                                       1026

                                                                              319

 1 that's intentioned with the argument that what makes it

 2 fraudulent is that the money was borrowed by the Legacy

 3 Chesapeake entities and sent out the door to pay off the BVL

 4 bondholders.     So that doesn't work.

 5             Mr. Stark cited the Sentinel case to you, and I would

 6 say that Sentinel on the standard of intent has never been

 7 followed by any court, and has been criticized, in fact, in

 8 particular in the Lyondell case at 554 B.R. 635.            If the

 9 Sentinel formulation of intent -- sufficient to trigger intent

10 -- intentional fraudulent transfer was right, every

11 constructive case would become an intentional case, because the

12 natural consequences of engaging in a transaction without

13 alleged reasonably equivalent value when you're insolvent is

14 that creditors will be harmed.

15             So the Sentinel formulation is not remotely

16 approximate to what 548(a)(1)(A) requires.           And that's all I

17 wanted to say, Your Honor, unless you have any questions.

18             THE COURT:     No, I do not.    Thank you.

19             And Mr. Schaible, I think I gave you the opportunity

20 as well.

21             MR. SCHAIBLE:     Thank you, Your Honor.      Thank you,

22 Your Honor.     Can you hear me?

23             THE COURT:     Yes, sir.

24             MR. SCHAIBLE:     Your Honor, I'll try to be even

25 briefer than Mr. Zensky.       Suffice it to say, Your Honor, we




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1027 of 1639
                                                                       1027

                                                                              320

 1 disagree with Mr. Stark's first set of arguments about the

 2 FILOs being more than (indiscernible).          I could walk you

 3 through the math, but I don't think I need to.

 4             He overstates -- understates the claims by ignoring

 5 postpetition interest (indiscernible) and he overstates the

 6 recovery by using the backstop economic (indiscernible) as if

 7 it's part of the recovery on a claim, which of course it's not.

 8             And Your Honor, we agree with the debtors with

 9 respect to -- significantly overstating over -- unencumbered

10 value (indiscernible) numbers for the oil and gas leases and

11 leave a bunch of other (indiscernible) including taking value

12 that is encumbered by the RBL under all circumstances and

13 counting it as unencumbered.

14             Lastly, Your Honor, again, (indiscernible) Mr. Zensky

15 sort of left it, we do believe very strongly that MUFG is a

16 financial institution, and we could walk you through how the

17 merit case works.      But I would just leave it at that for the

18 record.    Thank you, Your Honor.

19             THE COURT:     All right.    Thank you.    Anyone else?

20             All right.     Then we'll -- Mr. Mitchell, I'm sorry.           I

21 did tell you that you could comment.         I'm assuming --

22             MR. MITCHELL:     Your Honor --

23             THE COURT:     I just assumed you had none, given what

24 Ms. Schwarzman said.

25             MR. MITCHELL:     That's correct, Your Honor.       Can you




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1028 of 1639
                                                                       1028

                                                                              321

 1 hear me?

 2             THE COURT:     I can.

 3             MR. MITCHELL:      I'm sorry.   I was just going to join

 4 in what Ms. Schwarzman said, and ask the Court to please

 5 confirm the plan, and Energy Transfer would urge confirmation

 6 as proposed.     Thank you.

 7             THE COURT:     All right.    Thank you.

 8             MR. KINGMAN:      Your Honor?

 9             THE COURT:     Yes, sir.

10             MR. KINGMAN:      This is Bill Kingman.     I represent

11 three entities, and I'm not opposing a plan.           I just want to

12 make one comment before we go offline here.

13             THE COURT:     Yes, sir.

14             MR. KINGMAN:      I did originally file objection to the

15 plan, similar to Mr. McCune's client, but we have reached a

16 resolution on all of those.         Unfortunately, we have not papered

17 the -- or finalized the settlement of one of the claims.             There

18 is currently in Docket Number 2847-1 -- it addresses the

19 settlement between two of my clients, which is Tornado Venture

20 Quattro, LLC and Tornado Venture Seis, LLC [sic].            We are a

21 surface use agreement counterparty.         We've reached a

22 resolution.     I'm looking for the provision in 2847-1 if I can't

23 get my hands on it quickly, but the terms of that settlement's

24 address, and as a result of that settlement, we'll be

25 withdrawing our objection to the claim -- excuse me, to the




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1029 of 1639
                                                                       1029

                                                                              322

 1 plan.

 2             The third entity is a royalty interest holder,

 3 Tornado Venture Seis, LP.       We have reached the terms of an

 4 agreement similar to the stipulations that have been previously

 5 approved by the Court.       They could be part of the plan

 6 confirmation pursuant to Section 1123, but I believe the

 7 debtors would prefer to have a separate stipulation or a Rule

 8 9019 motion.     It contemplates the payment of my client of

 9 $575,000 for (indiscernible) prepetition claim and the

10 withdrawal of our assertion that the underlying lease was

11 terminated on a prepetition basis.         There was pending state

12 court litigation.      That will be resolved as to the prepetition

13 portion of the claim.       But again, as a result of the settlement

14 that we have reached, and assuming it's ultimately approved by

15 the Court, and in fact, we'll be withdrawing our objection to

16 the plan.     However, (indiscernible) that if it's not -- if it

17 does not get approved by the Court, then, in fact, we will then

18 have our rights under the plan, assuming the plan is

19 confirming, asserting that the lease was, in fact, terminated,

20 that we have a secured claim, have the ability to liquidate the

21 claim.    But again, I do anticipate getting the ultimate

22 settlement approved by the Court.

23             So if Ms. Schwarzman wants to confirm that, I

24 appreciate your time today and your patience with everybody,

25 and I hope you have a good evening.




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1030 of 1639
                                                                       1030

                                                                              323

 1             THE COURT:     So, Mr. Kingman, always good to hear from

 2 you.    Happy New Year.     I haven't seen you yet this year.        I

 3 don't know how --

 4             MR. KINGMAN:     No, I --

 5             THE COURT:     I don't know how I'm going to put you

 6 back to trial if I can't get you to get a camera.

 7             MR. KINGMAN:     I've got a camera.      I apologize for not

 8 turning it on.

 9             THE COURT:     I am just having fun with you.

10             Ms. Schwarzman, can you give Mr. Kingman some comfort

11 there.

12             MS. SCHWARZMAN:     Yes, Your Honor.      I can confirm.       My

13 apologies, Mr. Kingman.       I did tell him I'd put that on the

14 record, and it just got lost in the shuffle.           But that's all

15 true, and we'll be filing that as shortly as possible.

16 (Indiscernible) other non-debtor parties to it, and that's why

17 we're doing separate stipulations, but that is all correct.

18             THE COURT:     I got it.

19             And, Mr. Kingman, if you want to do a stipulation and

20 agreed order with a memorandum of lease status and have me

21 approve it so you've got something you can put on record at the

22 county courthouse, I'm happy to do it.

23             MR. KINGMAN:     I sure appreciate that, Your Honor.           I

24 will -- Ms. Schwarzman and I and her colleagues will work on a

25 settlement agreement.       I appreciate that very much.




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1031 of 1639
                                                                       1031

                                                                              324

 1              THE COURT:    All right.    Thank you, Mr. Kingman.

 2              Anyone else?

 3              MR. KINGMAN:    Have a great day.

 4              THE COURT:    You, too.

 5              All right.    Then, with that, I'll consider the

 6 arguments closed.      Let me first start and echo the comments.

 7              In 32 years, I don't think that I've ever seen,

 8 participated in, or adjudicated over a confirmation hearing

 9 that has been handled the way that this one has been handled.

10 It was just -- it was just immaculately done.           The lawyering

11 was great.     The preparation was great.       Obviously, I didn't

12 agree with every assumption, but I think that's my prerogative,

13 and what I look to the professionals to do, what I look to the

14 parties to do is to make me better and hopefully make a better

15 decision, and that's what I've tried to do.

16              With respect to the valuation, I've listened to

17 everything.     I've reread all of the arguments in favor of

18 different valuations.       I've looked back at the testimony.        I am

19 not so arrogant to say that the value is $5,129,000.            What I am

20 willing to do, and I believe that I've done all the work that

21 anyone could ask, is my opinion that a fair representation of

22 value is $5,129,000, and that is my finding for purposes of

23 confirmation.

24              Let me -- I want to deal with both the Committee's

25 motion for standing, as well as the settlement that was




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1032 of 1639
                                                                       1032

                                                                              325

 1 embodied within the plan.       I want to deal with those kind of

 2 together.     We spent a lot of time talking about the claims and

 3 the defenses, and while I appreciate all that argument, it's

 4 not really all of that -- it's not really all that persuasive

 5 to me at all.     Colorability is a really low standard.          It

 6 doesn't take a lot to get over the colorability standard.              And

 7 I do find that the claims asserted by the Committee meet that.

 8 I mean, there is -- you know, there are plenty of lawyers who

 9 would put their name pursuant to Rule 11 on a complaint that

10 sets forth those claims, and if that's not exactly the

11 colorability argument or standard, it's awfully close.             And so

12 I just don't think it takes a lot to get over that hurdle, and

13 I think that given the diligence and the effort and the thought

14 that went into that complaint, it meets that standard.

15             The second portion of the Louisiana World standard or

16 evaluation or analysis, however you want to phrase it, is

17 whether or not there's been an unjustified refusal or inability

18 to bring the identified claims.         And that brings into play the

19 compromise.     I just outright reject all of the hyperbole and

20 all of the assertions that people just threw caution to the

21 wind and didn't care, weren't thoughtful, violated their

22 fiduciary duties.      It really bothers me, if it wasn't obvious,

23 when those terms get thrown around when there is simply zero in

24 the record to support those comments.

25             I think that debtors' management was faced with an




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1033 of 1639
                                                                       1033

                                                                              326

 1 incredibly difficult problem in an unprecedented time.             It went

 2 -- not only did they have to deal with problem A, they had to

 3 deal with problem B and then problem C, and then problem A got

 4 worse.    I can't imagine sitting on a board or being management

 5 through the events that have taken place over the past three

 6 years in the energy industry.        Just I don't know how those

 7 folks get it right, but they do.

 8             And I'm not suggesting that every decision that they

 9 made was the right one, but that's not what the governing

10 precedence tells me that I'm supposed to do, and I'm

11 specifically referencing Foster Mortgage, which is 68 F.3d 914,

12 Jackson Brewing, which 624 F.2d 599, In re Aweco, 725 F.2d 293,

13 Cajun Electric, 119 F.3d 349, all governing precedent in this

14 circuit, all which derive out of the Supreme Court's decision

15 in TNT Trailer (ph), 390 U.S. 414.

16             Management made a decision that it thought was right

17 under the circumstances, and to suggest that the analysis

18 wasn't thoughtful, that it wasn't designed to achieve a good

19 outcome is to ignore the record.         Again, I'm not suggesting

20 that everything that management did was right, but it

21 absolutely was thoughtful.        It was designed with the interest

22 of the company put first, and that is all that you can ask of

23 management or a director, though I do find that the debtors

24 prudently exercised their business judgment under the most

25 difficult of circumstances.        And not only should they not be




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1034 of 1639
                                                                       1034

                                                                              327

 1 criticized and not only should they not be accused of violating

 2 their fiduciary duty, and they should be complimenting [sic]

 3 for staying the course and not running and trying to deal with

 4 problems that they were faced that no one has ever seen, at

 5 least in my 32 years of dealing with these issues.

 6             With respect to the compromise that is contained with

 7 the plan, I do find that it represents the prudent exercise of

 8 business judgment.      It is in the best interest of the estate,

 9 and I will approve that compromise.

10             I also want to deal with the rights offering.           And I

11 get the complaints.      You know, I would always make better

12 decisions with the benefit of hindsight.          But there is a

13 bankruptcy process which demands finality.           People make

14 decisions based upon the orders that I enter, and they need to

15 be able to rely on their orders.         And there's been no showing

16 that there was any bad behavior.         There's been no concrete

17 evidence of any fraud on the court.         I hear terms like "slight

18 of hand" and all those types of things, which again are

19 offensive to me.      You either are transparent with me or you're

20 not.    There is no middle ground, and I don't -- again, I might

21 have made a different decision if I had the benefit of

22 hindsight, and maybe I should have delayed ruling, but the fact

23 of the matter is I didn't.        I was told there was a need.       I

24 believed it.     That's what the record said.        I evaluated the

25 applicable law, and I made the decision that I thought was




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1035 of 1639
                                                                       1035

                                                                              328

 1 right under the circumstances, and that order stands.             Turns

 2 out that the folks who agreed to backstop it made a great

 3 business decision, but that happens every single day.

 4             With respect to the plan itself, I am required to

 5 ensure that the plan satisfies the mandatory requirements of

 6 Section 1123(a) of the Code, and I make that finding.             I have

 7 considered all of the arguments that have been made, that the

 8 plan violates other provisions of the Bankruptcy Code, that it

 9 lacks fundamental fairness.        All of those arguments, I reject

10 them all.     I think the plan -- I will find that the plan does

11 not violate any of the permissive requirements of 1123(b) or

12 any other section of the Bankruptcy Code.

13             With respect to Section 1129, I am required to

14 conduct an independent analysis of each of the requirements of

15 1129(a).    And based upon the record that I have before me, I

16 will find that the plan satisfies the requirements of

17 1129(a)(1), (a)(2), (a)(3), (a)(4), (a)(5), (a)(6).            I will

18 stop and pause at (a)(6) to specifically note that I have

19 overruled FERC's objection with respect to the challenge to

20 1129(a)(6).

21             With respect to 1129(a)(7), I will find that the plan

22 satisfies the requirements of 1129(a)(7) with the changes that

23 have been made and again recognizing where value flows, the

24 unique circumstances of the case.         Everybody in 6 and 7 are

25 equally unhappy, and that's just he way it should be.




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1036 of 1639
                                                                       1036

                                                                              329

 1              I will further find that the requirements of

 2 1129(a)(9), (a)(10), (a)(11), (a)(12), and (a)(13) have been

 3 satisfied.     I will find that the requirements of 1129(a)(14),

 4 (a)(15), and (a)(16) are not applicable to this case.

 5              Having found that the plan satisfies all of the

 6 requirements of 1129(a) or those provisions identified are not

 7 applicable other than 1129(a)(8), I will move to 1129(b) and I

 8 will find that the plan does not discriminate unfairly and is

 9 fair and equitable with respect to each class of claims or

10 interest that is impaired under and has not accepted the plan.

11              There's only one plan before me for confirmation.             I

12 will find that the requirements of 1129(c) are not implicated

13 and have been satisfied and I'll further find that the primary

14 purpose of the plan is not the avoidance of taxes or the

15 avoidance of the application of Section 5 of the 1933

16 Securities Act.

17              I'll find that Section -- that the requirements of

18 1129(e) are not applicable to this case.

19              With those findings and with the changes that have

20 been announced, I will confirm the debtors' fifth amended plan.

21 That is the plan that is filed at Docket Number 2833.

22              Having made those findings and conclusions and

23 confirmed the plan, I'd like Mr. Lawler to appear on the video

24 if that's possible, please.

25              MS. SCHWARZMAN:    Your Honor, we're just confirming




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1037 of 1639
                                                                       1037

                                                                              330

 1 that Mr. Lawler has the video capabilities right now.

 2             THE COURT:     Understood.

 3             MS. SCHWARZMAN:     (Indiscernible).

 4             THE COURT:     While we're waiting for Mr. Lawler, let

 5 me confirm for those who are listening who are individual

 6 retail investors and/or stockholders, I got a large number of

 7 correspondence.      Consistent with my practice, I read every

 8 single one of them.      I know how bad this hurts.       I wish I had

 9 the ability to do more.       I wish I had a magic wand and I could

10 generate value.      I simply don't, but I have considered your

11 comments.     I have spent a lot of time, a lot of sleepless

12 nights thinking about this.

13             UNIDENTIFIED:     (Indiscernible).

14             THE COURT:     I just wanted all those folks to know

15 that I appreciate the time that you took to write me.             I did

16 read it, every -- I read every single scrap of paper, and I

17 thought about everything in trying to work my way through the

18 problem.

19             Do we have Mr. Lawler now?

20             MS. SCHWARZMAN:     We're back (indiscernible).        I know

21 video's a process.      The video isn't working.       I know he's on by

22 phone.

23             THE COURT:     Got it.

24             Mr. Lawler -- ah, here we go.

25             There's Mr. Dell'Osso.




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1038 of 1639
                                                                       1038

                                                                              331

 1             MR. LAWLER:     Sorry, Your Honor.     It's Doug.     I'm --

 2 my camera (indiscernible) work so I came to Nick's office.

 3             THE COURT:     No, got it.    I now --

 4             MR. LAWLER:     Sorry for the delay.

 5             THE COURT:     -- I now see your picture.       I appreciate

 6 you getting online.      There are a couple things, after thinking

 7 about it, that I really just wanted to convey to you, and I

 8 want to be very measured in what I say.

 9             The history of Chesapeake, let's just be candid, is

10 not that great.      It has treated a lot of people very poorly.            I

11 am hoping that, going forward, we can change that policy.             And

12 let's be honest and I want to focus for a second on the royalty

13 holders.    The majority of those folks are underequipped to deal

14 with an entity like Chesapeake, and that gives you an

15 incredible amount of power.        And with power comes

16 responsibility, and I want you to instill in your corporate

17 culture that -- I want you to consider every royalty holder to

18 be like your parent.       They may not like the answer, but you

19 treat them with respect, you treat them with honesty, and you

20 treat them with transparency.        Can I ask you to do that?

21             MR. LAWLER:     Yes, sir, without question.       It is my

22 full commitment to you, to the court, to the royalty interest

23 holders of the company, and all the stakeholders of the company

24 and is a culture that, Your Honor, it's very easily for me to

25 say that I agree with.       It is something that I personally work




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1039 of 1639
                                                                       1039

                                                                              332

 1 very hard on, and I'm fully committed to further improve.

 2             THE COURT:     Good.   So in a couple minutes -- right

 3 now, I have all the power in the world.          I control the destiny

 4 of Chesapeake Energy.       In a couple moments, I'm going to

 5 transfer that power to you.        And I want you to remember --

 6 Chesapeake is a really big and important company.            It's an

 7 important company to our country's infrastructure.            It makes --

 8 it helps make everything work.        And that's not lost on me.

 9             But we live right now in a very, very difficult time,

10 and you have the ability to be a leader and to make a

11 difference, to remember we only have one planet and we are all

12 one race.     That's the human race.      So I ask you as a good

13 corporate citizen and to remember that a lot of people have

14 suffered a lot of pain for Chesapeake to have a second chance,

15 and I ask that you not forget that going forward and remember

16 there is decision-making and then there is responsible

17 decision-making.      Decision-making is the cold, analytical

18 running the numbers, "Can I?"        Responsible decision-making is

19 after you run that analysis, you ask yourself the question,

20 "Now that I've concluded I can, should I?"

21             And I have -- there's nothing under the Code that

22 gives me this authority, but I simply ask, as one human to

23 another, that you not forget that.

24             MR. LAWLER:     Yes, sir.    I will not forget that.       And

25 I will very earnestly commit to you and demonstrate the




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1040 of 1639
                                                                       1040

                                                                              333

 1 leadership, the culture, and commitment such that in a way when

 2 you follow up on this company in one year's time or five years'

 3 time that you'll see a track record of dedication and

 4 commitment to what you just described, Your Honor.

 5             THE COURT:     Then, that serves honor to the process,

 6 and that's all I could ask.        So thank you for getting on.       I

 7 know you weren't expecting that, but thank you for popping on

 8 the camera.

 9             Let met take your other outstanding objections that I

10 didn't specifically address.        To the extent that there isn't

11 language that has been added or agreements that have been made,

12 those objections are overruled.

13             Ms. Schwarzman, do you need to do a final run-

14 through, make sure you've got all the tweaks, run -- just sort

15 of make sure you've got a perfect form of order, or you think

16 that's being uploaded as we talk?

17             MS. SCHWARZMAN:     The only change is the deletion of

18 the duplicative retention of jurisdiction paragraph, so if Your

19 Honor wanted to pull it up -- and I think you have it -- we

20 could just delete it in realtime or we can get one loaded up.

21 I don't know if it's --

22             THE COURT:     (Indiscernible) --

23             MS. SCHWARZMAN:     -- currently already happened.

24             THE COURT:     My guess is -- so there were a couple of

25 other things.     Mr. Stark raised some issues about termination




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1041 of 1639
                                                                       1041

                                                                              334

 1 of the Committee.      I agree, termination of the Committee should

 2 be the effective date, not the confirmation date.            The request

 3 for a 14-day stay -- I'm sorry, the request for -- to overrule

 4 the request that it go -- or that there be a -- that the 14-day

 5 stay not be waived, that request is denied.           I think there's

 6 more than adequate basis.       This needs to be done yesterday.

 7             And, Mr. Stark, there was a third thing that was in

 8 your miscellaneous category, and I've just forgotten what the

 9 third one was.

10             MR. STARK:     Your Honor, can you hear me?

11             THE COURT:     Yes, sir.

12             MR. STARK:     I believe it was with respect to the

13 indenture trustee fees.

14             THE COURT:     So I didn't --

15             MR. STARK:     Let me research.

16             THE COURT:     So I didn't understand that, Ms.

17 Schwarzman.     Do you have a reaction to that?        I wrote myself a

18 note.    I just forgot to ask you.

19             MS. SCHWARZMAN:     Your Honor, I believe there were --

20 you know, usually when we end up and agree with a settlement

21 with the Committee, one of the things we do is we agree to pay

22 the Committee members' fees, and that way, they don't have to

23 assert their charging liens.        Obviously, we never got to an

24 agreement here, and so there's currently no agreement to pay

25 Committee members' fees.




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1042 of 1639
                                                                       1042

                                                                              335

 1              THE COURT:    So why don't you --

 2              MS. SCHWARZMAN:    (Indiscernible).

 3              THE COURT:    Why don't we do this?      Why don't you take

 4 the rest of the evening and -- until, let's say, noon tomorrow

 5 to talk to Mr. Pitta, anyone else, see if there are any other

 6 tweaks that you want to make to the proposed order, and then

 7 just let Mr. Alonzo know around noon that the final form of

 8 order has been uploaded.       I will take a look at it then, and

 9 then I will sign it.       Fair enough?

10              MS. SCHWARZMAN:    Yes, Your Honor.      We'll do that.

11              THE COURT:    All right.     Again, thank you, everyone.

12 I know it's been late.       My view, the process has worked the way

13 it's supposed to.      I always appreciate good advocates, and this

14 is why you don't try things by declaration.           This is why you

15 get to look in people's eyes and you get to test the models and

16 you get to hear not only what people say but how they say it.

17 I think it just makes the process better.

18              Anyway, go home, be safe, and we'll be adjourned.

19 Thank you.

20              MS. SCHWARZMAN:    Thank you, Your Honor.

21              UNIDENTIFIED:    Thanks, Your Honor.

22       (Proceedings concluded at 5:59 p.m.)

23                                    * * * * *

24

25




      ACCESS TRANSCRIPTS, LLC                   1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1043 of 1639
                                                                       1043

                                                                              336

 1                        C E R T I F I C A T I O N

 2

 3             We, Alicia Jarrett, Ilene Watson, and Lisa Luciano,

 4 court-approved transcribers, hereby certify that the foregoing

 5 is a correct transcript from the official electronic sound

 6 recording of the proceedings in the above-entitled matter, and

 7 to the best of our ability.

 8

 9

10

11 ____________________________

12 ALICIA JARRETT, AAERT NO. 428             DATE:   January 14, 2021

13 ACCESS TRANSCRIPTS, LLC

14

15

16

17 ____________________________

18 ILENE WATSON, AAERT NO. 447               DATE:   January 14, 2021

19 ACCESS TRANSCRIPTS, LLC

20

21

22

23 ____________________________

24 LISA LUCIANO, AAERT NO. 327               DATE:   January 14, 2021

25 ACCESS TRANSCRIPTS, LLC




      ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1044 of 1639
                                                                            1044



                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION                                                              ENTERED
                                                                                                                   01/16/2021
                                                                    §
    In re:                                                          §      Chapter 11
                                                                    §
    CHESAPEAKE ENERGY CORPORATION, et al.,1                         §      Case No. 20-33233 (DRJ)
                                                                    §
                                       Debtors.                     §      (Jointly Administered)
                                                                    §

                        ORDER CONFIRMING FIFTH
           AMENDED JOINT CHAPTER 11 PLAN OF REORGANIZATION OF
         CHESAPEAKE ENERGY CORPORATION AND ITS DEBTOR AFFILIATES

             The above-captioned debtors and debtors in possession (collectively, the “Debtors”),

having:2

             a.     entered into that certain restructuring support agreement, dated as of June 28, 2020,
                    (as may be amended from time to time in accordance with its terms,
                    the “Restructuring Support Agreement”);

             b.     entered into that certain backstop commitment agreement, dated as of June 28, 2020
                    (the “Backstop Commitment Agreement”), between the Company and the Backstop
                    Parties (each as defined therein);

             c.     commenced, on June 28, 2020 (the “Petition Date”), these chapter 11 cases
                    (the “Chapter 11 Cases”) by filing voluntary petitions in the United States
                    Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Court”) for
                    relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy
                    Code”);

             d.     filed, on the Petition Date, the Declaration of Domenic J. Dell’Osso, Jr., Executive
                    Vice President and Chief Financial Officer of Chesapeake Energy Corporation in
                    Support of Chapter 11 Petitions and First Day Motions [Docket No. 37];


1
       A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
       proposed claims and noticing agent at https://dm.epiq11.com/chesapeake. The location of Debtor Chesapeake
       Energy Corporation’s principal place of business and the Debtors’ service address in these chapter 11 cases is
       6100 North Western Avenue, Oklahoma City, Oklahoma 73118.
2
       Capitalized terms used but not otherwise defined in this order (this “Confirmation Order”) shall have the meaning
       ascribed to them in the Fifth Amended Joint Chapter 11 Plan of Reorganization of Chesapeake Energy
       Corporation and Its Debtor Affiliates, attached hereto as Exhibit A (as may be amended, supplemented, or
       otherwise modified from time to time, and including all exhibits and supplements thereto, the “Plan”). The rules
       of interpretation set forth in Article I.B of the Plan apply to this Confirmation Order.




KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1045 of 1639
                                                                         1045



        e.    continued to operate their businesses and manage their properties as debtors in
              possession in accordance with sections 1107(a) and 1108 of the Bankruptcy Code;

        f.    filed, on September 11, 2020, (i) the Joint Chapter 11 Plan of Reorganization of
              Chesapeake Energy Corporation and Its Debtor Affiliates [Docket No. 1150]; and
              (ii) the Disclosure Statement for the Joint Chapter 11 Plan of Reorganization of
              Chesapeake Energy Corporation and Its Debtor Affiliates (as amended,
              supplemented, or modified from time to time, the “Disclosure Statement”)
              [Docket No. 1151];

        g.    filed, on October 8, 2020, the Amended Joint Chapter 11 Plan of Reorganization
              of Chesapeake Energy Corporation and Its Debtor Affiliates [Docket No. 1330]
              and a revised Disclosure Statement [Docket No. 1331];

        h.    filed, on October 29, 2020, the Second Amended Joint Chapter 11 Plan of
              Reorganization of Chesapeake Energy Corporation and Its Debtor Affiliates
              [Docket No. 1599];

        i.    filed, on October 30, 2020, a further revised Disclosure Statement [Docket
              No. 1622];

        j.    filed, on October 30, 2020, a further revised Disclosure Statement [Docket
              No. 1645];

        k.    obtained, on October 30, 2020, entry of the Order (I) Approving the Adequacy of
              the Disclosure Statement, (II) Approving the Solicitation Procedures with Respect
              to Confirmation of the Debtors’ Proposed Chapter 11 Plan, (III) Approving the
              Forms of Ballots and Notices in Connection Therewith, (IV) Approving the Rights
              Offering Procedures and Related Materials, (V) Scheduling Certain Dates with
              Respect Thereto, and (VI) Granting Related Relief [Docket No. 1633]
              (the “Disclosure Statement Order”) approving the Disclosure Statement,
              solicitation procedures (the “Solicitation Procedures”), the related notices, forms,
              and ballots (collectively, the “Solicitation Packages”), and the rights offering
              procedures and related materials;

        l.    caused, on or about November 4, 2020, notice of the Confirmation Hearing
              (the “Confirmation Hearing Notice”) to be published in the New York Times, the
              Oklahoman, the Houston Chronicle, the Billings Gazette, the Casper Star-Tribune,
              the Philadelphia Inquirer, and The Advocate, as evidenced by the Affidavits of
              Publication [Docket Nos. 1779–85] (the “Publication Affidavits”);

        m.    caused, beginning on or about November 6, 2020 (the “Solicitation Date”),
              Solicitation Packages and deadline for objecting to confirmation of the Plan to be
              distributed in accordance with the Bankruptcy Code, the Federal Rules of
              Bankruptcy Procedure (the “Bankruptcy Rules”), the Disclosure Statement Order,
              and the Solicitation Procedures, as evidenced by, among other things, the Affidavit
              of Service [Docket No. 1909] (the “Solicitation Affidavit”);



                                               2
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1046 of 1639
                                                                         1046



        n.    filed, on November 23, 2020, the Plan Supplement for the Second Amended Joint
              Chapter 11 Plan of Reorganization of Chesapeake Energy Corporation and Its
              Debtor Affiliates [Docket No. 1907] (the “Plan Supplement”);

        o.    filed, on November 25, 2020, Notice of Corrected Exhibit C to Plan Supplement
              [Docket No. 1931];

        p.    filed, on December 11, 2020, the Declaration of Jane Sullivan of Epiq Corporate
              Restructuring, LLC Regarding Voting and Tabulation of Certain Ballots Cast on
              the Second Amended Joint Chapter 11 Plan of Reorganization of Chesapeake
              Energy Corporation and Its Debtor Affiliates, including the voting report with
              respect to Classes 3, 4, 5 and 7 [Docket No. 2272] (the “Initial Voting Report”);

        q.    filed, on December 12, 2020, the Amended Plan Supplement for the Second
              Amended Joint Chapter 11 Plan of Reorganization of Chesapeake Energy
              Corporation and Its Debtor Affiliates [Docket No. 2312] (the “Amended
              Plan Supplement”);

        r.    filed, on December 13, 2020, the Third Amended Joint Chapter 11 Plan of
              Reorganization of Chesapeake Energy Corporation and Its Debtor Affiliates
              [Docket No. 2336];

        s.    filed, on December 13, 2020, the Debtors’ Memorandum of Law In Support of
              Confirmation of the Joint Chapter 11 Plan of Reorganization of Chesapeake
              Energy Corporation and Its Debtor Affiliates [Docket No. 2354]
              (the “Confirmation Brief”);

        t.    filed, on December 14, 2020, the Supplemental Voting Declaration of Jane Sullivan
              of Epiq Corporate Restructuring, LLC Regarding Voting and Tabulation of Certain
              Ballots Cast on the Second Amended Joint Chapter 11 Plan of Reorganization of
              Chesapeake Energy Corporation and Its Debtor Affiliates, including the voting
              report with respect to Class 6 [Docket No. 2453] (the “Supplemental
              Voting Report,” and together with the Initial Voting Report, the “Voting Reports”);

        u.    filed, on December 15, 2020, the Second Amended Plan Supplement for the Third
              Amended Joint Chapter 11 Plan of Reorganization of Chesapeake Energy
              Corporation and Its Debtor Affiliates [Docket No. 2457] (the “Second Amended
              Plan Supplement”);

        v.    filed, on December 27, 2020, the Fourth Amended Joint Chapter 11 Plan of
              Reorganization of Chesapeake Energy Corporation and Its Debtor Affiliates
              [Docket No. 2630];

        w.    filed, on January 7, 2021, the Third Amended Plan Supplement for the Fourth
              Amended Joint Chapter 11 Plan of Reorganization of Chesapeake Energy




                                               3
KE 71402552
    Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1047 of 1639
                                                                           1047



                  Corporation and Its Debtor Affiliates [Docket No. 2782] (the “Third Amended
                  Plan Supplement”); and

         x.       filed, on January 12, 2021, the Fifth Amended Joint Chapter 11 Plan of
                  Reorganization of Chesapeake Energy Corporation and Its Debtor Affiliates
                  [Docket No. 2833].

         This Bankruptcy Court having:

         a.       entered the Disclosure Statement Order on October 30, 2020;

         b.       set December 7, 2020, at 5:00 p.m. (prevailing Central Time) as the deadline for
                  filing objections in opposition to the Plan;3

         c.       set December 7, 2020, at 11:59 p.m. (prevailing Central Time) as the deadline for
                  voting on the Plan;4

         d.       set December 15, 2020, at 12:00 p.m. (prevailing Central Time) as the date and
                  time for the commencement of the Confirmation Hearing in accordance with
                  Bankruptcy Rules 3017 and 3018 and sections 1126, 1128, and 1129 of the
                  Bankruptcy Code;

         e.       reviewed the Plan, the Plan Supplement, the Disclosure Statement, the
                  Confirmation Brief, the Voting Reports, and all pleadings, exhibits, declarations,
                  affidavits, statements, responses, and comments regarding Confirmation, including
                  all objections, statements, and reservations of rights filed by parties in interest on
                  the docket of the Chapter 11 Cases;

         f.       held the Confirmation Hearing;

         g.       heard the statements and arguments made by counsel in respect of Confirmation;

         h.       considered all oral representations, live testimony, written direct testimony,
                  designated deposition testimony, exhibits, documents, filings, and other evidence
                  presented at the Confirmation Hearing;

         i.       made rulings on the record at the Confirmation Hearing (the “Confirmation
                  Ruling”);

         j.       overruled any and all objections to the Plan and to Confirmation, except as
                  otherwise stated or indicated on the record, and all statements and reservations of
                  rights not consensually resolved or withdrawn unless otherwise indicated; and


3
     The deadline to file an objection in opposition to the Plan for the Committee and its members was extended by
     agreement of parties to December 10, 2020 at 12:00 p.m. (prevailing Central Time).
4
     The deadline to vote on the Plan for holders of Class 6 Unsecured Notes Claims was extended by agreement of
     parties to December 11, 2020 at 5:00 p.m. (prevailing Central Time).



                                                        4
KE 71402552
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1048 of 1639
                                                                            1048



        k.     taken judicial notice of all papers and pleadings filed in the Chapter 11 Cases.

        NOW, THEREFORE, the Bankruptcy Court having found that notice of the Confirmation

Hearing and the opportunity for any party in interest to object to Confirmation have been adequate

and appropriate as to all parties affected or to be affected by the Plan and the transactions

contemplated thereby; and the record of the Chapter 11 Cases and the legal and factual bases set

forth in the documents filed in support of Confirmation and presented at the Confirmation Hearing,

including, without limitation, the declarations in support, establish just cause for the relief granted

in this Confirmation Order; and after due deliberation thereon and good cause appearing therefor,

the Bankruptcy Court hereby makes and issues the following findings of fact, conclusions of law,

and order:

                  I. FINDINGS OF FACT AND CONCLUSIONS OF LAW

        IT IS HEREBY DETERMINED, FOUND, ADJUDGED, DECREED, AND ORDERED

THAT:

A.      Findings and Conclusions.

        1.     The findings and conclusions set forth herein and in the record of the Confirmation

Hearing constitute the Bankruptcy Court’s findings of fact and conclusions of law under rule 52

of the Federal Rules of Civil Procedure, as made applicable herein by Bankruptcy Rules 7052 and

9014. To the extent any of the following conclusions constitute findings of fact, or vice versa,

they are adopted as such.

B.      Jurisdiction and Venue.

        2.     The Bankruptcy Court has subject matter jurisdiction over this matter under

28 U.S.C. §§ 157 and 1334. The Bankruptcy Court has exclusive jurisdiction to determine whether

the Plan complies with the applicable provisions of the Bankruptcy Code and should be confirmed

and to enter a final order with respect thereto. The Debtors confirm their consent, pursuant to rule


                                                  5
KE 71402552
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1049 of 1639
                                                                            1049



7008 of the Bankruptcy Rules, to the entry of a final order by the Bankruptcy Court in connection

with this motion to the extent that it is later determined that the Bankruptcy Court, absent consent

of the parties, cannot enter final orders or judgments in connection herewith consistent with

Article III of the United States Constitution. Venue in this Bankruptcy Court was proper as of the

Petition Date and continues to be proper under 28 U.S.C. §§ 1408 and 1409. Confirmation of the

Plan is a core proceeding under 28 U.S.C. § 157(b)(2).

C.      Eligibility for Relief.

        3.     The Debtors were and continue to be entities eligible for relief under section 109 of

the Bankruptcy Code.

D.      Commencement and Joint Administration of the Chapter 11 Cases.

        4.     On the Petition Date, the Debtors commenced the Chapter 11 Cases. On June 28,

2020, the Bankruptcy Court entered an order [Docket No. 91] authorizing the joint administration

of the Chapter 11 Cases in accordance with Bankruptcy Rule 1015(b). The Debtors have operated

their business and managed their properties as debtors in possession pursuant to sections 1107(a)

and 1108 of the Bankruptcy Code. No request for the appointment of a trustee or examiner has

been made in the Chapter 11 Cases.

E.      Appointment of Committees.

        5.     On July 9, 2020, the United States Trustee appointed the Official Committee of

Unsecured Creditors (the “Committee”) to represent the interests of the unsecured creditors of the

Debtors in the Chapter 11 Cases [Docket No. 301]. On July 24, 2020, a committee of royalty

owners (the “Royalty Committee”) was appointed in these Chapter 11 Cases [Docket No. 488].

The Royalty Committee was reconstituted on August 8, 2020 [Docket No. 1040].




                                                 6
KE 71402552
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1050 of 1639
                                                                            1050



F.      Plan Supplement.

        6.     On November 23, 2020, the Debtors filed the Plan Supplement [Docket No. 1907].

On November 25, 2020, the Debtors filed the corrected Plan Supplement [Docket No. 1931].

On December 12, 2020, the Debtors filed an amended Plan Supplement [Docket No. 2312].

The Plan Supplement (as may be amended, supplemented, or otherwise modified from time to time

according to the Plan) complies with the Bankruptcy Code and the terms of the Plan, and the

Debtors provided good and proper notice of the filing in accordance with the Bankruptcy Code,

the Bankruptcy Rules, the Disclosure Statement Order, and the facts and circumstances of the

Chapter 11 Cases. No other or further notice is or will be required with respect to the Plan

Supplement or any of the documents contained therein or related thereto. No other or further

notice is or will be required with respect to the Plan Supplement or any of the documents contained

therein or related thereto. Subject to the terms of the Plan, the Debtors are authorized to modify

the Plan Supplement in accordance with the time limits set forth in the Plan.

G.      Modifications to the Plan.

        7.     Pursuant to section 1127 of the Bankruptcy Code, the modifications to the Plan

since the Debtors began the solicitation of votes as described or set forth in this Confirmation Order

constitute technical changes, changes with respect to particular Claims by agreement with holders

of such Claims, or modifications that do not otherwise materially and adversely affect or change

the treatment of any other Claim or Interest. These modifications are consistent with the

disclosures previously made pursuant to the Disclosure Statement and solicitation materials served

pursuant to the Disclosure Statement Order, and notice of these modifications was adequate and

appropriate under the facts and circumstances of the Chapter 11 Cases.

        8.     In accordance with Bankruptcy Rule 3019, these modifications do not require

additional disclosures under section 1125 of the Bankruptcy Code or the resolicitation of votes


                                                  7
KE 71402552
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1051 of 1639
                                                                            1051



under section 1126 of the Bankruptcy Code, and they do not require that holders of Claims and

Interests be afforded an opportunity to change previously cast acceptances or rejections of the Plan.

Accordingly, the Plan, as modified, is properly before this Bankruptcy Court and all votes cast

with respect to the Plan prior to such modifications shall be binding and shall apply with respect

to the Plan.

H.      Objections Overruled.

        9.       Any resolution or disposition of objections to Confirmation of the Plan explained

or otherwise ruled upon by the Bankruptcy Court on the record at the Confirmation Hearing is

hereby incorporated by reference. All unresolved objections, statements, informal objections, and

reservations of rights with respect to Confirmation are hereby overruled on the merits.

I.      Disclosure Statement Order.

        10.      On October 30, 2020, the Bankruptcy Court entered the Disclosure Statement Order

[Docket No. 1633]. The Disclosure Statement Order, among other things, fixed December 7, 2020

at 5:00 p.m. (prevailing Central Time) as the deadline for objecting to the Plan

(the “Plan Objection Deadline”) and December 7, 2020, at 11:59 p.m. (prevailing Central Time)

as the deadline for voting to accept or reject the Plan (the “Voting Deadline”). The Plan Objection

Deadline for the Committee was extended to December 10, 2020, at 12:00 p.m. (prevailing

Central Time). The Voting Deadline to vote on the Plan for holders of Class 6 Unsecured Notes

Claims was extended by agreement of parties to December 11, 2020 at 5:00 p.m. (prevailing

Central Time).

J.      Transmittal and Mailing of Materials; Notice.

        11.      As evidenced by the Solicitation Affidavit and the Publication Affidavits, the

Debtors provided due, adequate, and sufficient notice of the Plan, Disclosure Statement,

Disclosure Statement Order, Solicitation Packages, the Confirmation Hearing Notice, the Plan


                                                 8
KE 71402552
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1052 of 1639
                                                                            1052



Supplement, and all the other materials distributed by the Debtors in connection with the

Confirmation of the Plan in compliance with the Bankruptcy Rules, including Bankruptcy

Rules 2002, 3017, 3019, and 3020(b), the Bankruptcy Local Rules of the United States Bankruptcy

Court for the Southern District of Texas (the “Bankruptcy Local Rules”), and the procedures set

forth in the Disclosure Statement Order. The Debtors provided due, adequate, and sufficient notice

of the Voting Deadline and Plan Objection Deadline, the Confirmation Hearing, and any applicable

hearings described in the Disclosure Statement Order in compliance with the Bankruptcy Code,

the Bankruptcy Rules, the Bankruptcy Local Rules, and the Disclosure Statement Order. No other

or further notice is or shall be required.

K.      Solicitation.

        12.     The Debtors solicited votes for acceptance and rejection of the Plan in good faith,

and such solicitation complied with sections 1125, 1126, and all other applicable sections of the

Bankruptcy Code, Bankruptcy Rules 2002, 3017, 3018, and 3019, the Disclosure Statement Order,

the Bankruptcy Local Rules, and all other applicable rules, laws, and regulations. The Solicitation

Packages provided the opportunity for voting creditors to opt out of the releases.

L.      Voting Reports.

        13.     Before the Confirmation Hearing, the Debtors filed the Voting Reports.

The Voting Reports were admitted into evidence during the Confirmation Hearing without

objection. The procedures used to tabulate ballots were fair and conducted in accordance with the

Disclosure Statement Order, the Bankruptcy Code, the Bankruptcy Rules, the Bankruptcy Local

Rules, and all other applicable rules, laws, and regulations.

        14.     As set forth in the Plan and Disclosure Statement, holders of Claims in Classes 3,

4, 5, 6, and 7 of the Plan (collectively, the “Voting Classes”) were eligible to vote to accept or

reject the Plan in accordance with the Solicitation Procedures. Holders of Claims and Interests in


                                                 9
KE 71402552
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1053 of 1639
                                                                            1053



Classes 1 and 2 of the Plan (collectively, the “Deemed Accepting Classes”) are Unimpaired and

conclusively presumed to accept the Plan and, therefore, did not vote to accept or reject the Plan.

Holders of Claims or Interests in Class 10 of the Plan (collectively, the “Deemed Rejecting Class”)

are Impaired and are entitled to no recovery under the Plan, and are therefore deemed to have

rejected the Plan. Holders of Intercompany Claims in Class 8 of the Plan and holders of

Intercompany Interests in Class 9 of the Plan are Unimpaired and conclusively presumed to have

accepted the Plan, or are Impaired and deemed to reject the Plan, and, in either event, are not

entitled to vote to accept or reject the Plan.

        15.     As evidenced by the Voting Reports, Classes 3, 4, and 5 voted to accept the Plan at

each Debtor, and Classes 6 and 7 voted to reject the Plan at nearly every Debtor (together with the

Deemed Rejecting Class, the “Rejecting Classes”).

M.      Bankruptcy Rule 3016.

        16.     The Plan is dated and identifies the Entities submitting it, thereby satisfying

Bankruptcy Rule 3016(a). The Debtors appropriately filed the Disclosure Statement and Plan with

the Bankruptcy Court, thereby satisfying Bankruptcy Rule 3016(b). The injunction, release, and

exculpation provisions in the Plan, as described in the Disclosure Statement, describe, in bold font

and with specific and conspicuous language, all acts to be enjoined and identify the Entities that

will be subject to the injunction, thereby satisfying Bankruptcy Rule 3016(c).

N.      Burden of Proof.

        17.     The Debtors, as proponents of the Plan, have met their burden of proving the

elements of sections 1129(a) and 1129(b) of the Bankruptcy Code by a preponderance of the

evidence, the applicable evidentiary standard for Confirmation.        Further, the Debtors have

surpassed that standard and have proven the elements of sections 1129(a) and 1129(b) by clear and

convincing evidence. Each witness who testified on behalf of the Debtors in connection with the


                                                 10
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1054 of 1639
                                                                         1054



Confirmation Hearing was credible, reliable, and qualified to testify as to the topics addressed in

his or her testimony.

O.      Compliance with the Requirements of Section 1129 of the Bankruptcy Code.

        18.    The Plan complies with all applicable provisions of section 1129 of the Bankruptcy

Code as follows:

        a.     Section 1129(a)(1)—Compliance of the Plan with Applicable Provisions of the
               Bankruptcy Code.

        19.    The Plan complies with all applicable provisions of the Bankruptcy Code, including

sections 1122 and 1123, as required by section 1129(a)(1) of the Bankruptcy Code.

               i.       Sections 1122 and 1123(a)(1)—Proper Classification.

        20.    The classification of Claims and Interests under the Plan is proper under the

Bankruptcy Code. In accordance with sections 1122(a) and 1123(a)(1) of the Bankruptcy Code,

Article III of the Plan provides for the separate classification of Claims and Interests into

ten different Classes, based on differences in the legal nature or priority of such Claims and

Interests (other than Administrative Claims, Professional Claims, Priority Tax Claims,

DIP Claims, and payment of United States Trustee statutory fees, which are each addressed in

Article II of the Plan and are required not to be designated as separate Classes pursuant to section

1123(a)(1) of the Bankruptcy Code). Valid business, factual, and legal reasons exist for the

classification of the various Classes of Claims and Interests created under the Plan;

the classifications were not implemented for any improper purpose, and the creation of such

Classes does not unfairly discriminate between or among holders of Claims and Interests.

        21.    In accordance with section 1122(a) of the Bankruptcy Code, each Class of Claims

or Interests contains only Claims or Interests substantially similar to the other Claims or Interests




                                                 11
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1055 of 1639
                                                                         1055



within that Class. Accordingly, the Plan satisfies the requirements of sections 1122(a), 1122(b),

and 1123(a)(1) of the Bankruptcy Code.

               ii.     Sections 1123(a)(2)—Specification of Unimpaired Classes.

        22.    Article III of the Plan specifies that Claims in the Deemed Accepting Classes are

Unimpaired under the Plan. In addition, Article II of the Plan specifies that Administrative Claims,

Professional Claims, Priority Tax Claims, and DIP Claims with respect to the Plan are Unimpaired,

although the Plan does not classify these Claims. Accordingly, the Plan satisfies the requirements

of section 1123(a)(2) of the Bankruptcy Code.

               iii.    Sections 1123(a)(3)—Specification of Treatment of Impaired Classes.

        23.    Article III of the Plan specifies the treatment of each Impaired Class under the Plan.

Accordingly, the Plan satisfies the requirements of section 1123(a)(3) of the Bankruptcy Code.

               iv.     Sections 1123(a)(4)—No Discrimination.

        24.    Article III of the Plan provides the same treatment to each Claim or Interest in any

particular Class, as the case may be, unless the holder of a particular Claim or Interest has agreed

to a less favorable treatment with respect to such Claim or Interest. Accordingly, the Plan satisfies

the requirements of section 1123(a)(4) of the Bankruptcy Code.

               v.      Section 1123(a)(5)—Adequate Means for Plan Implementation.

        25.    The Plan and the various documents included in the Plan Supplement provide

adequate and proper means for the Plan’s execution and implementation, including:

(a) implementation of the Restructuring Transactions, including the Rights Offering; (b) selection

of the directors and officers for the Reorganized Debtors; (c) the issuance and distribution of the

New Common Stock in accordance with the Plan, including all shares of New Common Stock

issued by Reorganized Chesapeake to the Backstop Parties as part of the Put Option Premium and

the unsubscribed shares of New Common Stock issued to Backstop Parties pursuant to the


                                                 12
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1056 of 1639
                                                                         1056



Backstop Commitment Agreement; (d) issuance and distribution of the Rights and subsequent

issuance and distribution of New Common Stock issuable upon exercise of such Rights;

(e) execution and delivery of the Registration Rights Agreement; (f) issuance and distribution of

the New Warrants and entry into the New Warrants Agreements; (g) entry into the Exit Facilities

Documents; (h) all other actions contemplated under the Plan (whether to occur before, on, or after

the Effective Date); (i) approval and adoption of the New Organizational Documents; (j) entry into

the Management Incentive Plan; (k) the rejection, assumption, or assumption and assignment,

as applicable, of Executory Contracts and Unexpired Leases; (l) the cancellation of existing

Interests, existing indebtedness and related agreements; (m) the vesting of Estate assets in the

Reorganized Debtors; and (n) all other acts or actions contemplated or reasonably necessary or

appropriate to promptly consummate the Restructuring Transactions contemplated by the Plan

(whether to occur before, on, or after the Effective Date). Accordingly, the Plan satisfies the

requirements of section 1123(a)(5) of the Bankruptcy Code.

               vi.    Section 1123(a)(6)—Non-Voting Equity Securities.

        26.    The New Organizational Documents for the Debtors prohibit the issuance of

non-voting equity securities.        Accordingly, the Plan satisfies the requirements of

section 1123(a)(6) of the Bankruptcy Code.

               vii.   Section 1123(a)(7)—Directors, Officers, and Trustees.

        27.    The selection of the members of the New Board of Reorganized Chesapeake is set

forth in the Plan Supplement.          Accordingly, the Plan satisfies the requirements of

section 1123(a)(7) of the Bankruptcy Code.

        b.     Section 1123(b)—Permissive Contents of the Plan.

        28.    The Plan contains various discretionary provisions that are permitted by

section 1123(b) of the Bankruptcy Code. Any such provision complies with section 1123(b) of


                                                13
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1057 of 1639
                                                                         1057



the Bankruptcy Code and is not inconsistent with the applicable provisions of the Bankruptcy

Code. Thus, the Plan satisfies section 1123(b) of the Bankruptcy Code.

               i.      Impairment/Unimpairment of Any Class of Claims or Interests.

        29.    Pursuant to the Plan, Article III of the Plan impairs or leaves unimpaired, as the

case may be, each Class of Claims and Interests, as contemplated by section 1123(b)(1) of the

Bankruptcy Code.

               ii.     Assumption and Rejection of Executory Contracts and Unexpired
                       Leases.

        30.    Article V of the Plan provides for the assumption of the Debtors’ Executory

Contracts and Unexpired Leases as of the Effective Date of the Plan, unless such Executory

Contracts or Unexpired Leases: (a) are identified on the Rejected Executory Contracts and

Unexpired Leases Schedule; (b) previously expired or terminated pursuant to their own terms;

(c) have been previously assumed or rejected by the Debtors pursuant to a Final Order; (d) are the

subject of a motion to reject that is pending on the Effective Date; or (e) have an ordered or

requested effective date of rejection that is after the Effective Date.

               iii.    Compromise and Settlement.

        31.    In accordance with section 1123(b)(3)(A) of the Bankruptcy Code and Bankruptcy

Rule 9019 and in consideration for the distributions and other benefits provided pursuant to the

Plan, the provisions of the Plan constitute a good faith compromise and settlement of all Claims,

Interests, and controversies relating to the contractual, legal, and subordination rights that a holder

of a Claim or Interest may have with respect to any Allowed Claim or Interest, or any distribution

to be made on account of such Allowed Claim or Interest. The Plan (as expressly modified by this

Confirmation Order) incorporates a settlement (the “Settlement”), of numerous claims and Causes

of Action, issues, and disputes designed to achieve a beneficial and efficient resolution of the



                                                  14
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1058 of 1639
                                                                         1058



Chapter 11 Cases for all parties in interest. The Settlement includes, without limitation, all claims

and causes of action that are the subject of (1) the Emergency Motion of the Official Committee of

Unsecured Creditors for (I) Leave, Standing, and Authority to Commence and Prosecute Certain

Claims and Causes of Action on Behalf of the Debtors’ Estates and (II) Exclusive Settlement

Authority [Docket No. 1682] and (2) Emergency Motion of the Official Committee of Unsecured

Creditors for (I) Leave, Standing, and Authority to Commence and Prosecute Certain Claims and

Causes of Action on Behalf of the Debtors’ Estates and (II) Exclusive Settlement Authority

[Docket No. 1807] (together, the “Standing Motions”).

        32.    Accordingly, in consideration for the distributions and other benefits provided

under the Plan, this Confirmation Order shall constitute the Bankruptcy Court’s approval of the

Settlement as well as a finding by the Bankruptcy Court that such Settlement is in the best interests

of the Debtors, their Estates, and the holders of Claims and Interests and is fair, equitable, and

reasonable.

        33.    Based upon the representations and arguments of counsel to the Debtors and all

other testimony either actually given or proffered and other evidence introduced at the

Confirmation Hearing and the full record of the Chapter 11 Cases, this Confirmation Order

constitutes the Bankruptcy Court’s approval of the Settlement incorporated in the Plan and this

Confirmation Order, because, among other things: (a) the Settlement reflects a reasonable balance

between the possible success of litigation with respect to each of the settled claims and disputes,

on the one hand, and the benefits of fully and finally resolving such claims and disputes and

allowing the Debtors to expeditiously exit chapter 11, on the other hand; (b) absent the Settlement,

there is a likelihood of complex and protracted litigation involving, among other things, the

Settlement, with the attendant expense, inconvenience, and delay that have a possibility to derail




                                                 15
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1059 of 1639
                                                                         1059



the Debtors’ reorganization efforts; (c) each of the parties supporting the Settlement, including the

Debtors and the Consenting Stakeholders, are represented by counsel that is recognized as being

knowledgeable, competent, and experienced; (d) the Settlement is the product of arm’s-length

bargaining and good faith negotiations between sophisticated parties; and (e) the Settlement is fair,

equitable, and reasonable and in the best interests of the Debtors, Reorganized Debtors, their

respective Estates and property, creditors, and other parties in interest, will maximize the value of

the Estates by preserving and protecting the ability of the Reorganized Debtors to continue

operating outside of bankruptcy protection and in the ordinary course of business, and is essential

to the successful implementation of the Plan. Based on the foregoing, the Settlement satisfies the

requirements of applicable Fifth Circuit law for approval of settlements and compromises pursuant

to Bankruptcy Rule 9019.

               iv.     Debtors’ Release.

        34.    The releases of claims and Causes of Action by the Debtors described in

Article VIII.C of the Plan and incorporated into this Confirmation Order in accordance with

section 1123(b)(3)(A) of the Bankruptcy Code represent a valid exercise of the Debtors’ business

judgment under Bankruptcy Rule 9019 (the “Debtors’ Release”). The Debtors’ or the Reorganized

Debtors’ pursuit of any such claims against the Released Parties is not in the best interest of the

Estates’ various constituencies because the costs involved would likely outweigh any potential

benefit from pursuing such claims. The Debtors’ Release is fair and equitable.

        35.    The Debtors’ Release is furthermore an integral part of the Plan and the Settlement

embodied therein and in this Confirmation Order, and is in the best interests of the Debtors’ Estates

as a component of the comprehensive Settlement implemented under the Plan. The probability of

success in litigation with respect to the released Causes of Action supports the Debtors’ Release.

In negotiations between the Debtors and the Consenting Stakeholders, the parties identified various


                                                 16
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1060 of 1639
                                                                         1060



potential claims and Causes of Action held by the Debtors. With respect to each of these potential

claims and Causes of Action, parties could assert colorable defenses, and the probability of success

is highly uncertain and appropriately reflected in the recoveries provided under the Plan.

        36.      Creditors have overwhelmingly voted in favor of the Plan, including the Debtors’

Release. The Plan, including the Debtors’ Release contained therein, was negotiated in good faith

by sophisticated parties represented by able counsel and financial advisors, including the

Consenting Stakeholders.        The Debtors’ Release is therefore the result of an arm’s-length

negotiation process.

        37.      The Debtors’ Release appropriately offers protection to parties that provided

consideration to the Debtors and that participated in the Debtors’ restructuring process.

Specifically, the Released Parties under the Plan, including: (a) each Debtor; (b) each Reorganized

Debtor; (c) each of the Debtors’ current and former directors and officers; (d) each DIP Lender;

(e) each Agent; (f) each Trustee; (g) the Consenting Revolving Credit Facility Lenders; (h) the

Consenting FLLO Term Loan Facility Lenders; (i) the Consenting Second Lien Noteholders;

(j) the Consenting Unsecured Noteholders; (k) the Exit Facilities Lenders; (l) the Backstop Parties;

(m) all holders of Interests; and (n) with respect to each of the foregoing (a) through (m), each of

such Entity and its current and former Affiliates, and such Entities’ and their current and former

Affiliates’ current and former members, directors, managers, officers, equity holders (regardless

of whether such interests are held directly or indirectly), predecessors, successors and assigns,

subsidiaries, participants, and each of their respective current and former members, equity holders,

officers, directors, managers, principals, members, employees, agents, advisory board members,

financial     advisors,   partners,   attorneys,   accountants,   investment   bankers,   consultants,

representatives, and other professionals, each in their capacity as such, made significant




                                                    17
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1061 of 1639
                                                                         1061



concessions and contributions to the Chapter 11 Cases, including, as applicable, entering into the

Settlement and actively supporting the Plan and the Chapter 11 Cases. In particular, the RBL

Lenders consented to the use of their cash collateral and consented to be primed by the

DIP Facility, both of which provided the liquidity and financing necessary to fund the

administration of these cases, and agreed to accept debt issued by the Reorganized Debtors on

account of their Claims instead of cash in accordance with the terms set forth in the Restructuring

Support Agreement. The DIP Lenders provided a $925 million new money debtor-in-possession

facility to finance these Chapter 11 Cases and agreed to accept debt issued by the Reorganized

Debtors on account of a portion of their Claims instead of cash. The Exit Facility Lenders and the

Exit Facility Agent agreed to provide the approximately $2.5 billion Exit Facilities, which will

provide the Debtors with liquidity to fund distributions under the Plan and their go-forward

business.     The consenting FLLO Term Loan Facility Lenders and consenting Second Lien

Noteholders agreed to equitize their claims in order to significantly deleverage Chesapeake’s

prepetition capital structure. Certain of the consenting FLLO Term Loan Facility Lenders and

consenting Second Lien Noteholders also agreed to fully backstop a $600 million equity rights

offering and allocate value to junior creditors beyond what they would receive in a strict priority

waterfall scenario. The Debtors’ Release for the Debtors’ directors and officers is appropriate

because the Debtors’ directors and officers share an identity of interest with the Debtors, supported

the Plan and the Chapter 11 Cases, actively participated in meetings, negotiations, and

implementation during the Chapter 11 Cases, and have provided other valuable consideration to

the Debtors to facilitate the Debtors’ reorganization.

        38.     As such, the releases are: (a) in exchange for the good and valuable consideration

provided by or on behalf of the Released Parties; (b) a good faith settlement and compromise of




                                                 18
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1062 of 1639
                                                                         1062



the claims or Causes of Action released herein; (c) in the best interests of the Debtors and all

holders of Claims and Interests; (d) fair, equitable, and reasonable; (e) given and made after due

notice and opportunity for hearing; and (f) a bar to any of the Debtors, the Reorganized Debtors,

or the Debtors’ Estates asserting any Claim or Cause of Action released pursuant to the releases

described herein. In light of the foregoing, the Debtors’ Release is approved.

               v.      Release by Holders of Claims and Interests.

        39.    The release by the Releasing Parties set forth in Article VIII.D of the Plan and

incorporated into this Confirmation Order (the “Third-Party Release”) is an essential provision of

the Plan. The Third-Party Release is: (a) consensual; (b) essential to the Confirmation of the Plan;

(c) given in exchange for the good and valuable consideration provided by the Released Parties;

(d) a good faith settlement and compromise of such claims or Causes of Action; (e) in the best

interests of the Debtors, their Estates, holders of Claims and Interests, and all other parties in

interest; (f) fair, equitable, and reasonable; (g) given and made after due notice and opportunity

for hearing; and (h) a bar to any of the Releasing Parties asserting any Claim or Cause of Action

released pursuant to the releases described herein.

        40.    The Third-Party Release is an integral part of the Plan. Similar to the Debtors’

Release, the Third-Party Release was integral to the formulation of the Plan, including the

Settlement embodied therein and in this Confirmation Order. The Third-Party Release was critical

in incentivizing the Released Parties to support the Plan and the Settlement and preventing

potentially significant and time-consuming litigation. The Third-Party Release appropriately

offers certain protections to parties who constructively participated in the Debtors’ restructuring

process by supporting the Plan through the Settlement. Furthermore, the Third-Party Release is

consensual, as the Releasing Parties in interest were provided notice of the chapter 11 proceedings,

the Plan, and the deadline to object to confirmation of the Plan. Additionally, voting creditors and


                                                19
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1063 of 1639
                                                                         1063



non-voting parties were given the opportunity to opt out of the Third-Party Release, and the release

provisions of the Plan were conspicuous and emphasized with boldface type in the Plan, the

Disclosure Statement, and the applicable ballots or opt-out form.

        41.    The scope of the Third-Party Release is appropriately tailored under the facts and

circumstances of the Chapter 11 Cases, and parties received due and adequate notice of the

Third-Party Release. Among other things, the Plan provides appropriate and specific disclosure

with respect to the claims and Causes of Action that are subject to the Third-Party Release, and no

other disclosure is necessary. The Debtors, as evidenced by the Solicitation Affidavit, provided

sufficient notice of the Third-Party Release, and no further or other notice is necessary. The

Third-Party Release is consistent with established practice in this jurisdiction and others. The

Third-Party Release is specific in language, integral to the Plan, a condition of the Settlement, and

given for substantial consideration.

               vi.     Exculpation.

        42.    The exculpation provision set forth in Article VIII.E of the Plan and incorporated

into this Confirmation Order is essential to the Plan. The record in the Chapter 11 Cases supports

the exculpation provision set forth in Article VIII.E of the Plan, which is appropriately tailored to

protect the Exculpated Parties from unnecessary litigation.         The exculpation, including the

carveout for actual fraud, gross negligence, or willful misconduct, is consistent with established

practice in this jurisdiction and others. The Exculpated Parties subject to the exculpation provision

have, and upon entry of this Confirmation Order will be deemed to have, participated in good faith

and in compliance with all applicable laws with regard to the distribution of recoveries under the

Plan and, therefore, are not, and on account of such distributions shall not be, liable at any time for

the violation of any applicable law, rule or regulation governing the solicitation or such

distributions made pursuant to the Plan.


                                                  20
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1064 of 1639
                                                                         1064



               vii.    Injunction.

        43.    The injunction provision set forth in Article VIII.F of the Plan is essential to the

Plan and is necessary to implement the Plan and to preserve and enforce the discharge, the Debtors’

Release, the Third-Party Release, and the exculpation provision in Article VIII.E of the Plan. The

injunction provision is fair and reasonable and is appropriately tailored to achieve those purposes.

               viii.   Preservation of Claims and Causes of Action.

        44.    Article IV.S of the Plan, as well as the Plan Supplement, appropriately provide for

the preservation by the Debtors or the Reorganized Debtors of certain Causes of Action in

accordance with section 1123(b)(3)(B) of the Bankruptcy Code. Causes of Action not released by

the Debtors or exculpated under the Plan or this Confirmation Order will be retained by the

Reorganized Debtors as provided by the Plan. The Plan is specific and unequivocal with respect

to the Causes of Action to be retained by the Reorganized Debtors, and the Plan and the Plan

Supplement provide meaningful disclosure with respect to the potential Causes of Action that the

Reorganized Debtors may retain, and all parties in interest received adequate notice with respect

to such Causes of Action. The provisions regarding Causes of Action in the Plan, and as set forth

in the Plan Supplement, are appropriate and in the best interests of the Debtors, their respective

Estates, and holders of Claims and Interests. For the avoidance of any doubt, Causes of Action

released or exculpated under the Plan will not be retained by the Reorganized Debtors.

               ix.     Lien Releases.

        45.    The release and discharge of certain mortgages, deeds of trust, Liens, pledges, or

other security interests against any property of the Debtors’ Estates set forth in Article VIII.B of

the Plan and (the “Lien Releases”) are necessary to implement the Plan. The provisions of the

Lien Releases are appropriate, fair, equitable, and reasonable and in the best interests of the

Debtors, their Estates, and holders of Claims and Interests.


                                                21
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1065 of 1639
                                                                         1065



               x.      Additional Plan Provisions.

        46.    The other discretionary provisions of the Plan, including the Plan Supplement, are

appropriate and consistent with the applicable provisions of the Bankruptcy Code, including,

without limitation, provisions for the allowance of certain Claims, treatment of indemnification

obligations, and the retention of court jurisdiction. Thus, the Plan satisfies section 1123(b)(6) of

the Bankruptcy Code.

        c.     Section 1123(d)—Cure of Defaults.

        47.    Article V.C of the Plan provides for the satisfaction of Cure Claims associated with

each Executory Contract and Unexpired Lease to be assumed in accordance with section 365(b)(1)

of the Bankruptcy Code. Any monetary defaults under each Assumed Executory Contract or

Unexpired Lease shall be satisfied, pursuant to section 365(b)(1) of the Bankruptcy Code, by

payment of the default amount in Cash on the Effective Date, or as soon as reasonably practicable

thereafter, subject to the limitations described in Article V.C of the Plan, or on such other terms as

the parties to such Executory Contracts or Unexpired Leases may otherwise agree. Except as

expressly provided in this Confirmation Order, any disputed Cure Claims will be determined in

accordance with the procedures set forth in Article V.C of the Plan or this Confirmation Order and

applicable bankruptcy and nonbankruptcy law. As such, the Plan provides that the Debtors will

cure, or provide adequate assurance that the Debtors will promptly cure, defaults with respect to

assumed Executory Contracts and Unexpired Leases in accordance with section 365(b)(1) of the

Bankruptcy Code. Assumption of any Executory Contract or Unexpired Lease shall result in the

full release and satisfaction of any Claims or defaults, whether monetary or nonmonetary,

including defaults of provisions restricting the change in control or ownership interest composition

or other bankruptcy-related defaults, arising under any Assumed Executory Contract or Unexpired




                                                 22
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1066 of 1639
                                                                         1066



Lease at any time before the effective date of assumption.          Thus, the Plan complies with

section 1123(d) of the Bankruptcy Code.

        d.     Section 1129(a)(2)—Compliance of the Debtors and Others with the
               Applicable Provisions of the Bankruptcy Code.

        48.    The Debtors, as proponents of the Plan, have complied with all applicable

provisions of the Bankruptcy Code as required by section 1129(a)(2) of the Bankruptcy Code,

including sections 1122, 1123, 1124, 1125, 1126, 1128, and 1129 and Bankruptcy Rules 2002,

3017, 3018, and 3019.

        49.    The Debtors and their agents solicited votes to accept or reject the Plan after the

Bankruptcy Court approved the adequacy of the Disclosure Statement, pursuant to section 1125(a)

of the Bankruptcy Code and the Disclosure Statement Order.

        50.    The Debtors and their agents solicited and tabulated votes on the Plan and

participated in the activities described in section 1125 of the Bankruptcy Code fairly, in good faith

within the meaning of section 1125(e), and in a manner consistent with the applicable provisions

of the Disclosure Statement Order, the Disclosure Statement, the Bankruptcy Code, the

Bankruptcy Rules, and all other applicable rules, laws, and regulations and are entitled to the

protections afforded by section 1125(e) of the Bankruptcy Code and the exculpation provision set

forth in Article VIII.E of the Plan. The Debtors and their agents and Affiliates participated in good

faith and in compliance with applicable provisions of the Bankruptcy Code in the offer, issuance,

sale, or purchase of the New Common Stock, and the Debtors, the Reorganized Debtors, and their

respective agents and Affiliates shall not be held liable on account of such participation for

violation of any applicable law, rule, or regulation governing the offer, issuance, sale, or purchase

of such securities.




                                                 23
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1067 of 1639
                                                                         1067



        51.    The Debtors and their agents participated in good faith and in compliance with the

applicable provisions of the Bankruptcy Code with regard to the offering, issuance, and

distribution of recoveries under the Plan and therefore are not, and on account of such distributions

will not be, liable at any time for the violation of any applicable law, rule, or regulation governing

the solicitation of acceptances or rejections of the Plan or distributions made pursuant to the Plan,

so long as such distributions are made consistent with and pursuant to the Plan.

        e.     Section 1129(a)(3)—Proposal of Plan in Good Faith.

        52.    The Debtors have proposed the Plan (and all documents necessary to effectuate the

Plan) in good faith, with the legitimate and honest purpose of maximizing the value of the Debtors’

Estates for the benefit of their stakeholders, and not by any means forbidden by law. In

determining that the Plan was proposed in good faith, the Bankruptcy Court examined the totality

of the circumstances surrounding the filing of the Chapter 11 Cases, the Plan, and the process

leading to its formulation. The Debtors’ good faith is evident from the facts and record of the

Chapter 11 Cases, the Disclosure Statement, the hearing on the Disclosure Statement, and the

record of the Confirmation Hearing and other proceedings held in the Chapter 11 Cases.

        53.    The Plan and the contracts, instruments, releases, agreements and other documents

necessary and related to implementing, effectuating and consummating the Plan, including the

Settlement and the Exit Facility Documents, are the product of good faith, arm’s-length

negotiations by and among the Debtors and the Consenting Stakeholders, and their respective

representatives and professionals. The Plan’s classification, indemnification, release, injunction,

and exculpation provisions have been negotiated in good faith and at arm’s length, are consistent

with sections 105, 1122, 1123(b)(3)(A), 1123(b)(6), 1129 and 1142 of the Bankruptcy Code and

applicable law in this Circuit and are each necessary for the Debtors’ successful reorganization.

The Plan itself and the process leading to its formulation provides evidence of the Debtors’ and


                                                 24
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1068 of 1639
                                                                         1068



such other parties’ good faith, serves the public interest, and assures fair treatment of holders of

Claims and Interests. Consistent with the overriding purpose of chapter 11, the Debtors filed the

Chapter 11 Cases with the belief that the Debtors were in need of reorganization, and the Plan was

negotiated and proposed with the intention of accomplishing a successful reorganization and

maximizing stakeholder value and for no ulterior purpose. Accordingly, the requirements of

section 1129(a)(3) of the Bankruptcy Code are satisfied.

        54.    The Debtors or the Reorganized Debtors, as appropriate, the Consenting

Stakeholders, the Exit Facilities Agent and the Exit Facilities Lenders have been, are, and will

continue acting in good faith if they proceed to: (a) consummate the Plan, the Restructuring

Transactions, the Rights Offering, the Exit Facilities, and the agreements, settlements, transactions,

and transfers contemplated thereby; and (b) take the actions authorized and directed or

contemplated by this Confirmation Order. Therefore, the Plan has been proposed in good faith to

achieve a result consistent with the objectives and purposes of the Bankruptcy Code.

        f.     Section 1129(a)(4)—Court Approval of Certain Payments as Reasonable.

        55.    Except as otherwise provided or permitted by the Plan or other orders of the

Bankruptcy Court, any payment made or to be made by the Debtors, or by a person issuing

securities or acquiring property under the Plan, for services or costs and expenses in connection

with the Chapter 11 Cases, or in connection with the Plan and incident to the Chapter 11 Cases, in

each case incurred prior to the Effective Date, has been approved by, or is subject to the approval

of, the Bankruptcy Court as reasonable. Accordingly, the Plan satisfies the requirements of

section 1129(a)(4).




                                                 25
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1069 of 1639
                                                                         1069



        g.     Section 1129(a)(5)—Disclosure of Directors and Officers Are Consistent with
               the Interests of Creditors and Public Policy.

        56.    The Reorganized Debtors’ directors and officers are qualified and were selected in

a manner consistent with the interests of holders of Claims and Interests and with public policy.

Their identities were, to the extent reasonably practicable and known to the Debtors, disclosed in

the Plan Supplement.

        57.    Accordingly, the Debtors satisfied the requirements of section 1129(a)(5) of the

Bankruptcy Code.

        h.     Section 1129(a)(6)—Rate Changes.

        58.    The Plan does not contain any rate changes subject to the jurisdiction of any

governmental regulatory commission and therefore will not require governmental regulatory

approval. Therefore, section 1129(a)(6) of the Bankruptcy Code does not apply to the Plan.

        i.     Section 1129(a)(7)—Best Interests of Holders of Claims and Interests.

        59.    The evidence in support of the Plan that was proffered or adduced at the

Confirmation Hearing, and the facts and circumstances of the Chapter 11 Cases, establishes that

each holder of Allowed Claims or Interests in each Class will recover as much or more value under

the Plan on account of such Claim or Interest, as of the Effective Date of the Plan, than the amount

such holder would receive if the Debtors were liquidated on the Effective Date of the Plan under

chapter 7 of the Bankruptcy Code. As a result, the Debtors have demonstrated that the Plan is in

the best interest of their creditors and equity holders, and the requirements of section 1129(a)(7)

of the Bankruptcy Code are satisfied.




                                                26
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1070 of 1639
                                                                         1070



        j.    Section 1129(a)(8)—Conclusive Presumption of Acceptance by Unimpaired
              Classes; Acceptance of the Plan by Certain Impaired Classes; Fairness of Plan
              with Respect to Rejecting Classes.

        60.    The Deemed Accepting Classes are Unimpaired under the Plan and are deemed to

have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code. Classes 3, 4, and 5

are Impaired under the Plan and have accepted the Plan. Nevertheless, because the Plan has not

been accepted by the Rejecting Classes, the Debtors seek Confirmation, solely with respect to the

Rejecting Classes, under section 1129(b) of the Bankruptcy Code, rather than section 1129(a)(8)

of the Bankruptcy Code. Although section 1129(a)(8) has not been satisfied with respect to the

Rejecting Classes, the Plan is confirmable because the Plan does not discriminate unfairly and is

fair and equitable with respect to the Rejecting Classes, and thus satisfies section 1129(b) of the

Bankruptcy Code with respect to such Classes as described further below. As a result, the

requirements of section 1129(b) of the Bankruptcy Code are satisfied.

        k.     Section 1129(a)(9)—Treatment of Claims Entitled to Priority Pursuant to
               Section 507(a) of the Bankruptcy Code.

        61.    The treatment of Administrative Claims, Professional Claims, Priority Tax Claims,

DIP Claims, and payment of United States Trustee statutory fees under Article II of the Plan

satisfies the requirements of, and complies in all respects with, section 1129(a)(9) of the

Bankruptcy Code.

         l.    Section 1129(a)(10)—Acceptance by at Least One Impaired Class.

        62.    As set forth in the Voting Reports, multiple Impaired Classes that were entitled to

vote on the Plan, including Classes 3, 4, and 5, voted to accept the Plan. As such, there is at least

one Class of Claims that is Impaired under the Plan and has accepted the Plan, determined without

including any acceptance of the Plan by any insider (as defined by the Bankruptcy Code).




                                                 27
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1071 of 1639
                                                                         1071



Accordingly, the requirements of section 1129(a)(10) of the Bankruptcy Code are satisfied with

respect to the Plan.

        m.     Section 1129(a)(11)—Feasibility of the Plan.

        63.    The Plan satisfies section 1129(a)(11) of the Bankruptcy Code. The evidence

supporting the Plan proffered or adduced by the Debtors at or before the Confirmation Hearing:

(a) is reasonable, persuasive, credible, and accurate as of the dates such evidence was prepared,

presented, or proffered; (b) has not been controverted by other persuasive evidence; (c) establishes

that the Plan is feasible and Confirmation of the Plan is not likely to be followed by liquidation or

the need for further financial reorganization; (d) establishes that the Debtors will have sufficient

funds available to meet their obligations under the Plan; and (e) establishes that the Debtors or the

Reorganized Debtors, as applicable, will have the financial wherewithal to pay any Claims that

accrue, become payable, or are allowed by Final Order following the Effective Date.

        64.    Accordingly, the Plan satisfies the requirements of section 1129(a)(11) of the

Bankruptcy Code.

        n.     Section 1129(a)(12)—Payment of Statutory Fees.

        65.    Article XII.C of the Plan provides that all fees payable pursuant to section 1930(a)

of the Judicial Code, as determined by the Bankruptcy Court at the Confirmation Hearing in

accordance with section 1128 of the Bankruptcy Code, shall be paid by each of the Reorganized

Debtors for each quarter (including any fraction thereof) until the earlier of entry of a final decree

closing such Reorganized Debtor’s Chapter 11 Case or an order of dismissal or conversion,

whichever comes first. Accordingly, the Plan satisfies the requirements of section 1129(a)(12) of

the Bankruptcy Code.




                                                 28
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1072 of 1639
                                                                         1072



        o.       Section 1129(a)(13)—Retiree Benefits.

        66.      Pursuant to section 1129(a)(13) of the Bankruptcy Code, and as provided in

Article IV.R of the Plan, from and after the Effective Date, all retiree benefits (as such term is

defined in section 1114 of the Bankruptcy Code), if any, shall continue to be paid in accordance

with applicable law. As a result, the requirements of section 1129(a)(13) of the Bankruptcy Code

are satisfied.

        p.       Section 1129(a)(14), (15), and (16)—Domestic Support Obligations,
                 Individuals, and Nonprofit Corporations.

        67.      The Debtors do not owe any domestic support obligations, are not individuals, and

are not nonprofit corporations. Therefore, sections 1129(a)(14), 1129(a)(15), and 1129(a)(16) of

the Bankruptcy Code do not apply to the Chapter 11 Cases.

        q.       Section 1129(b)—Confirmation of the Plan Over Nonacceptance of Impaired
                 Classes.

        68.      Notwithstanding the fact that the Rejecting Classes have not accepted the Plan, the

Plan may be confirmed pursuant to section 1129(b)(1) of the Bankruptcy Code because: (a) at

least one Impaired Class voted to accept the Plan; and (b) the Plan does not discriminate unfairly

and is fair and equitable with respect to the Claims and Interests in the Rejecting Classes. As a

result, the Plan satisfies the requirements of section 1129(b) of the Bankruptcy Code. Thus, the

Plan may be confirmed even though section 1129(a)(8) of the Bankruptcy Code is not satisfied

with respect to the Rejecting Classes. After entry of this Confirmation Order and upon the

occurrence of the Effective Date, the Plan shall be binding upon all holders of Claims and Interests,

including the members of the Rejecting Classes.




                                                 29
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1073 of 1639
                                                                         1073



        r.        Section 1129(c)—Only One Plan.

        69.       Other than the Plan with respect to the Debtors, no other plan has been confirmed

in the Chapter 11 Cases. Accordingly, the requirements of section 1129(c) of the Bankruptcy Code

are satisfied.

        s.        Section 1129(d)—Principal Purpose of the Plan Is Not Avoidance of Taxes or
                  Section 5 of the Securities Act.

        70.       No Governmental Unit has requested that the Bankruptcy Court refuse to confirm

the Plan on the grounds that the principal purpose of the Plan is the avoidance of taxes or the

avoidance of the application of section 5 of the Securities Act. As evidenced by its terms, the

principal purpose of the Plan is not the avoidance of the taxes or the application of section 5 of the

Securities Act. Accordingly, the requirements of section 1129(d) of the Bankruptcy Code have

been satisfied.

        t.        Section 1129(e)—Not Small Business Cases.

        71.       The Chapter 11 Cases are not small business cases, and, accordingly,

section 1129(e) of the Bankruptcy Code does not apply to the Chapter 11 Cases.

        u.        Satisfaction of Confirmation Requirements.

        72.       Based upon the foregoing and all other pleadings and evidence proffered or

adduced at or prior to the Confirmation Hearing, the Plan and the Debtors, as applicable, satisfy

all the requirements for plan confirmation set forth in section 1129 of the Bankruptcy Code.

        v.        Conditions to Effective Date.

        73.       The Plan shall not become effective unless and until the conditions set forth in

Article IX.A of the Plan have been satisfied or waived pursuant to Article IX.B of the Plan.




                                                  30
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1074 of 1639
                                                                         1074



        w.      Implementation.

        74.    All documents and agreements necessary to implement transactions contemplated

by the Plan, including those contained or summarized in the Plan Supplement, the Exit Facilities

Documents, the Registration Rights Agreement and Warrant Agreement, the Backstop

Commitment Agreement, the New Organizational Documents for the Reorganized Debtors, and

all other relevant and necessary documents have been negotiated in good faith and at arm’s-length,

are essential elements of the Plan, are in the best interests of the Debtors, their Estates, and the

holders of Claims and Interests, and shall, upon completion of documentation and execution, be

valid, binding, and enforceable documents and agreements not in conflict with any federal, state,

or local law. The Debtors are authorized to take any action reasonably necessary or appropriate to

consummate such agreements and the transactions contemplated thereby.

        x.     Corporate Action.

        75.    Upon the Effective Date, all actions contemplated by and set forth in the Plan shall

be deemed authorized and approved. All matters provided for in the Plan involving the corporate

structure of the Debtors or the Reorganized Debtors, and any corporate action required by the

Debtors or the Reorganized Debtors in connection with implementation of the Plan shall be

deemed to have occurred and shall be in effect upon the Effective Date, without any requirement

of further action by the security holders or directors of any Debtor or any Reorganized Debtor or

by any other stakeholder.

        y.     Vesting of Assets.

        76.    Except as otherwise provided herein, in the Plan (including, without limitation,

Article IV.H of the Plan), or any agreement, instrument, or other document incorporated in, or

entered into in connection with or pursuant to, the Plan or Plan Supplement, on the Effective Date,

all property in each Estate, all Causes of Action, and any property acquired by any of the Debtors


                                                31
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1075 of 1639
                                                                         1075



pursuant to the Plan shall vest in each respective Reorganized Debtor, free and clear of all Liens,

Claims, charges, or other encumbrances. On and after the Effective Date, except as otherwise

provided in the Plan, each Reorganized Debtor may operate its business and may use, acquire, or

dispose of property and compromise or settle any Claims, Interests, or Causes of Action without

supervision or approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy

Code or Bankruptcy Rules.

        z.      Treatment of Executory Contracts and Unexpired Leases.

        77.    Pursuant to sections 365 and 1123(b)(2) of the Bankruptcy Code, upon the

occurrence of the Effective Date, the Plan and Plan Supplement provides for the assumption or

rejection of certain Executory Contracts and Unexpired Leases. The Debtors’ determinations

regarding the assumption or rejection of Executory Contracts and Unexpired Leases are based on

and within the sound business judgment of the Debtors, are necessary to the implementation of the

Plan, and are in the best interests of the Debtors, their Estates, holders of Claims and other parties

in interest in the Chapter 11 Cases.

         aa.     Exit Facilities.

        78.    The Exit Facilities are an essential element of the Plan, are necessary for

confirmation and consummation of the Plan, and are critical to the overall success and feasibility

of the Plan. Entry into the Exit Facilities and the Exit Facilities Documents on the same or better

terms as set forth in the Plan Supplement is in the best interest of the Debtors, their Estates, and

all holders of Claims or Interests. The Debtors have exercised reasonable business judgment in

determining to enter into the Exit Facilities Documents and have provided sufficient and adequate

notice of the material terms of each such exit facility, which material terms were filed as part of

the Plan, Plan Supplement, and related pleadings.         The terms and conditions are fair and

reasonable, and were negotiated in good faith and at arm’s-length, and any credit extended, letters


                                                 32
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1076 of 1639
                                                                         1076



of credit issued, and loans made pursuant to the Exit Facilities shall be deemed to have been

extended, assumed and assigned, issued, or made in good faith. All fees due and payable under

the Exit Facilities are hereby approved (and to the extent such fees were approved by prior order

of the Bankruptcy Court, such approval is hereby ratified) and the Debtors are authorized and

directed to pay such fees in accordance with, and to the extent they become payable, under the

terms of the fee letters respect the Exit Facilities and the Exit Facilities Documents. The Debtors

are authorized without further approval of the Bankruptcy Court or any other party to execute and

deliver all agreements, guarantees, instruments, mortgages, control agreements, certificates, and

other documents and to perform their obligations thereunder, including, without limitation, the

payment or reimbursement of any fees, expenses, losses, damages, or indemnities.

         bb.      Issuance of New Common Stock and Warrants.

        79.      The issuance of the New Common Stock and the New Warrants is an essential

element of the Plan and is in the best interests of the Debtors, the Estates and holders of Claims

and Interests.

         cc.      Approval of the Registration Rights Agreement and the New Warrants
                  Agreements.

        80.      The Registration Rights Agreement and the New Warrants Agreements are

essential elements of the Plan.     The terms of the Registration Rights Agreement and the

New Warrants Agreements are reasonable, and the Debtors have provided adequate notice of the

material terms thereof. The Debtors and the Reorganized Debtors are authorized, without further

approval of this Bankruptcy Court, to execute and deliver all agreements, documents, instruments

and certificates relating to the Registration Rights Agreement and the New Warrants Agreements

and to perform their obligations thereunder in accordance with, and subject to, the terms of those

agreements.



                                                33
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1077 of 1639
                                                                         1077



            dd.    Rights Offering.

          81.     The Debtors solicited subscriptions to the Rights Offering in good faith pursuant to

the Rights Offering Procedures set forth in the Disclosure Statement Order, applicable provisions

of the Bankruptcy Code, the Bankruptcy Rules, the Bankruptcy Local Rules and any applicable

non-bankruptcy laws, rules or regulations, and the Rights Offering Procedures are fair, equitable,

and reasonable and provide for the Rights Offering to be conducted in a manner that is in the best

interests of the Debtors, the Estates and holders of Claims and Interests.

                                             II. ORDER

     BASED ON THE FOREGOING FINDINGS OF FACT AND CONCLUSIONS OF
LAW, IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED THAT:

          82.     This Confirmation Order confirms the Plan in its entirety, as expressly modified

herein.

          83.     This Confirmation Order approves the Plan Supplement, including the documents

contained therein that may be amended in accordance with and as permitted by the Plan and this

Confirmation Order. The terms of the Plan, the Plan Supplement, and the exhibits thereto are

incorporated herein by reference and are an integral part of this Confirmation Order; provided,

however, that if there is any direct conflict between the terms of the Plan and the terms of this

Confirmation Order, the terms of this Confirmation Order shall control solely to the extent of such

conflict.

          84.     All holders of Claims that voted to accept the Plan are conclusively presumed to

have accepted the Plan.

          85.     The terms of the Plan, the Plan Supplement, all exhibits thereto, and this

Confirmation Order shall be effective and binding as of the Effective Date on all parties in interest,




                                                   34
KE 71402552
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1078 of 1639
                                                                            1078



including, but not limited to: (a) the Debtors; (b) the Consenting Stakeholders; and (c) all holders

of Claims and Interests against the Debtors.

A.      Objections.

        86.    To the extent that any objections (including any reservations of rights contained

therein) to Confirmation have not been withdrawn, waived, or settled before entry of this

Confirmation Order, are not cured by the relief granted in this Confirmation Order, or have not

been otherwise resolved as stated on the record of the Confirmation Hearing, all such objections

(including any reservation of rights contained therein) are hereby overruled in their entirety and

on their merits.

B.      Findings of Fact and Conclusions of Law.

        87.    The findings of fact and the conclusions of law set forth in this Confirmation Order

constitute findings of fact and conclusions of law in accordance with Bankruptcy Rule 7052, made

applicable to this proceeding by Bankruptcy Rule 9014. All findings of fact and conclusions of

law announced by the Bankruptcy Court at the Confirmation Hearing in relation to Confirmation,

including the Confirmation Ruling, are hereby incorporated into this Confirmation Order. To the

extent that any of the following constitutes findings of fact or conclusions of law, they are adopted

as such. To the extent any finding of fact or conclusion of law set forth in this Confirmation Order

(including any findings of fact or conclusions of law announced by the Bankruptcy Court at the

Confirmation Hearing and incorporated herein) constitutes an order of this Bankruptcy Court, it is

adopted as such.

C.      Incorporation by Reference.

        88.    The terms and provisions of the Plan and the Plan Supplement are an integral part

of this Confirmation Order and are incorporated by reference herein as if set forth herein.

The terms of the Plan, the Plan Supplement, all exhibits thereto, this Confirmation Order, and all


                                                 35
KE 71402552
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1079 of 1639
                                                                            1079



other relevant and necessary documents shall, on and after the Effective Date, be binding in all

respects upon, and shall inure to the benefit of, the Debtors and Reorganized Debtors, their Estates

and their creditors, and their respective successors and assigns, any affected third parties, all

holders of Claims and Interests, whether known or unknown, against the Debtors, including, but

not limited to any trustees, examiners, administrators, responsible state officers, estate

representatives, or similar entities for the Debtors, if any, subsequently appointed in any of the

Chapter 11 Cases or upon a conversion to chapter 7 under the Bankruptcy Code of any of the

Chapter 11 Cases, and each of their respective affiliates, successors, and assigns. The failure to

include or refer to any particular article, section, or provision of the Plan, the Plan Supplement,

any related document, agreement, or exhibit does not impair the effectiveness of that article,

section, or provision; it being the intent of the Bankruptcy Court that the Plan, the Plan

Supplement, and any related document, agreement, or exhibit are approved in their entirety.

D.      General Settlement of Claims and Interests.

        89.    Pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, and

in consideration for the classification, distributions, releases, and other benefits provided under the

Plan, upon the Effective Date, the provisions of the Plan shall constitute a good faith compromise

and settlement of all Claims and Interests and controversies resolved pursuant to the Plan,

including (1) any challenge to the amount, validity, perfection, enforceability, priority or extent of

the DIP Claims, Revolving Credit Facility Claims, FLLO Term Loan Facility Claims, Second Lien

Notes Claims, and Unsecured Notes Claims and (2) any claim to avoid, subordinate, or disallow

any DIP Claims, Revolving Credit Facility Claims, FLLO Term Loan Facility Claims, Second

Lien Notes Claims, and Unsecured Notes Claims, whether under any provision of chapter 5 of the

Bankruptcy Code, on any equitable theory (including equitable subordination, equitable

disallowance, or unjust enrichment) or otherwise, including, without limitation, any claim of


                                                  36
KE 71402552
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1080 of 1639
                                                                            1080



subordination or turnover of any payments arising under any provision of the Intercreditor

Agreement, including, but not limited to, any turnover provisions in sections 3.05, 4.02(l), 6.01

and 7.03 thereof, or the Collateral Trust Agreement, including sections 5.05, 6.02(o), 8.01, and

9.03 thereof (the “Turnover Provisions”). In consideration for the classification, distributions,

releases, and other benefits provided under the Plan, upon the Effective Date, the FLLO Term

Loan Facility Lenders and Revolving Credit Facility Lenders shall conclusively, absolutely,

irrevocably and forever waive any rights they have to seek subordination or turnover of any

payments arising under any provision of the Intercreditor Agreement, including, but not limited

to, the Turnover Provisions. The Plan shall be deemed a motion to approve the good faith

compromise and settlement of all such Claims, Interests, and controversies pursuant to Bankruptcy

Rule 9019, and the entry of this Confirmation Order shall constitute the Bankruptcy Court’s

approval of such compromise and settlement under section 1123 of the Bankruptcy Code and

Bankruptcy Rule 9019, as well as a finding by the Bankruptcy Court that such settlement and

compromise is fair, equitable, reasonable and in the best interests of the Debtors and their Estates.

Subject to Article VI of the Plan, all distributions made to holders of Allowed Claims and Allowed

Interests (as applicable) in any Class are intended to be and shall be final.

E.      The Releases, Injunction, Exculpation, and Related Provisions Under the Plan.

        90.    The following releases, injunctions, exculpations, discharges, and related

provisions set forth in Article VIII of the Plan are incorporated and expressly modified herein, are

hereby approved and authorized in all respects, are so ordered, and shall be immediately effective

on the Effective Date without further order or action on the part of this Bankruptcy Court or any

other party:




                                                 37
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1081 of 1639
                                                                         1081



        1.     Discharge of Claims and Termination of Interests.

        91.    Pursuant to section 1141(d) of the Bankruptcy Code, and except as otherwise

specifically provided in the Plan, this Confirmation Order, or in any contract, instrument, or other

agreement or document created pursuant to the Plan, the distributions, rights, and treatment that

are provided in the Plan shall be in complete satisfaction, discharge, and release, effective as of

the Effective Date, of Claims (including any Intercompany Claims resolved or compromised after

the Effective Date by the Reorganized Debtors), Interests, and Causes of Action of any nature

whatsoever, including any interest accrued on Claims or Interests from and after the Petition Date,

whether known or unknown, against, liabilities of, Liens on, obligations of, rights against, and

interests in, the Debtors or any of their assets or properties, regardless of whether any property

shall have been distributed or retained pursuant to the Plan on account of such Claims and Interests,

including demands, liabilities, and Causes of Action that arose before the Effective Date, any

liability (including withdrawal liability) to the extent such Claims or Interests relate to services

performed by employees of the Debtors prior to the Effective Date and that arise from a termination

of employment, any contingent or non-contingent liability on account of representations or

warranties issued on or before the Effective Date, and all debts of the kind specified in sections

502(g), 502(h), or 502(i) of the Bankruptcy Code, in each case whether or not: (1) a Proof of

Claim or Proof of Interest based upon such debt, right, or Interest is Filed or deemed Filed pursuant

to section 501 of the Bankruptcy Code; (2) a Claim or Interest based upon such debt, right, or

interest is Allowed pursuant to section 502 of the Bankruptcy Code; or (3) the holder of such a

Claim or Interest has accepted the Plan. This Confirmation Order shall be a judicial determination

of the discharge of all Claims (other than the Reinstated Claims) and Interests (other than the

Intercompany Interests that are Reinstated) subject to the occurrence of the Effective Date.




                                                 38
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1082 of 1639
                                                                         1082



        2.    Releases of Liens.

        92.   Except as otherwise provided in the Exit Facilities Documents, the Plan, the

Confirmation Order, or in any contract, instrument, release, or other agreement or

document created pursuant to the Plan, on the Effective Date and concurrently with the

applicable distributions made pursuant to the Plan and, in the case of a Secured Claim,

satisfaction in full of the portion of the Secured Claim that is Allowed as of the Effective

Date, except for Other Secured Claims that the Debtors elect to Reinstate in accordance with

the Plan, all mortgages, deeds of trust, Liens, pledges, or other security interests against any

property of the Estates shall be fully released and discharged, and all of the right, title, and

interest of any holder of such mortgages, deeds of trust, Liens, pledges, or other security

interests shall revert to the Reorganized Debtors and their successors and assigns;

provided that no mortgage, deed of trust, Lien, pledge, or other security interest against any

property of the Estates in favor of any Allowed Secured Claim shall be released prior to

satisfaction and/or payment of such Allowed Secured Claim in full in accordance with the

Plan; provided, further, that no Lien arising, whether arising by contract or statute, from an

oil and gas lease shall be terminated, discharged, or released by the Plan. Any holder of such

Secured Claim (and the applicable agents for such holder) shall be authorized and directed,

at the sole cost and expense of the Reorganized Debtors, to release any collateral or other

property of any Debtor (including any cash collateral and possessory collateral) held by such

holder (and the applicable agents for such holder), and to take such actions as may be

reasonably requested by the Reorganized Debtors to evidence the release of such Liens

and/or security interests, including the execution, delivery, and filing or recording of such

releases. The presentation or filing of this Confirmation Order to or with any federal, state,




                                              39
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1083 of 1639
                                                                         1083



provincial, or local agency, records office, or department shall constitute good and sufficient

evidence of, but shall not be required to effect, the termination of such Liens.

        93.   To the extent that any holder of a Secured Claim that has been satisfied or

discharged in full pursuant to the Plan, or any agent for such holder, has filed or recorded

publicly any Liens and/or security interests to secure such holder’s Secured Claim, then as

soon as practicable on or after the Effective Date, such holder (or the agent for such holder)

shall take any and all steps requested by the Debtors, the Reorganized Debtors, or

Exit Facilities Agent that are necessary or desirable to record or effectuate the cancellation

and/or extinguishment of such Liens and/or security interests, including the making of any

applicable filings or recordings; provided that the Reorganized Debtors shall be entitled to

make any such filings or recordings on such holder’s behalf.

        3.    Releases by the Debtors.

        94.   Notwithstanding anything contained in the Plan to the contrary, pursuant to

section 1123(b) of the Bankruptcy Code, in exchange for good and valuable consideration,

the adequacy of which is hereby confirmed, on and after the Effective Date, each Released

Party is deemed to be, hereby conclusively, absolutely, unconditionally, irrevocably, and

forever released and discharged by the Debtors, the Reorganized Debtors, and their Estates,

in each case on behalf of themselves and their respective successors, assigns, and

representatives, and any and all other Entities who may purport to assert any Cause of

Action, directly or derivatively, by, through, for, or because of the foregoing Entities, from

any and all Claims and Causes of Action, including any derivative claims, asserted on behalf

of the Debtors, whether known or unknown, foreseen or unforeseen, matured or unmatured,

existing or hereafter arising, in law, equity, contract, tort or otherwise, that the Debtors, the

Reorganized Debtors, or their Estates would have been legally entitled to assert in their own


                                               40
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1084 of 1639
                                                                         1084



right (whether individually or collectively) or on behalf of the holder of any Claim against,

or Interest in, a Debtor or other Entity, or that any holder of any Claim against, or Interest

in, a Debtor or other Entity could have asserted on behalf of the Debtors, based on or relating

to, or in any manner arising from, in whole or in part, the Debtors (including the capital

structure, management, ownership, or operation thereof), any security of the Debtors or the

Reorganized Debtors, the subject matter of, or the transactions or events giving rise to, any

Claim or Interest that is treated in the Plan, the business or contractual arrangements

between any Debtor and any Released Party, the Revolving Credit Facility, the FLLO Term

Loan Facility, the Collateral Trust Documents, the Second Lien Notes, the assertion or

enforcement of rights and remedies against the Debtors, the Debtors’ in- or out-of-court

restructuring efforts, any Avoidance Actions, intercompany transactions between or among

a Debtor and another Debtor, the Chapter 11 Cases, the formulation, preparation,

dissemination, negotiation, or Filing of the Restructuring Support Agreement, the Disclosure

Statement, the Backstop Commitment Agreement, the DIP Facility, the Exit Facilities, the

Plan (including, for the avoidance of doubt, the Plan Supplement), or any Restructuring

Transaction, contract, instrument, release, or other agreement or document (including any

legal opinion requested by any Entity regarding any transaction, contract, instrument,

document or other agreement contemplated by the Plan or the reliance by any Released

Party on the Plan or this Confirmation Order in lieu of such legal opinion) created or entered

into in connection with the Restructuring Support Agreement, the Disclosure Statement, the

Backstop Commitment Agreement, the DIP Facility, the Plan, the Plan Supplement, or the

Exit Facilities before or during the Chapter 11 Cases, the Filing of the Chapter 11 Cases, the

pursuit of Confirmation, the pursuit of Consummation, the administration and




                                              41
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1085 of 1639
                                                                         1085



implementation of the Plan, including the issuance or distribution of Securities pursuant to

the Plan, or the distribution of property under the Plan or any other related agreement, or

upon any other act or omission, transaction, agreement, event, or other occurrence related

or relating to any of the foregoing taking place on or before the Effective Date, other than

claims or liabilities that are not described in items 1 and 2 set forth in Article IV.A of the

Plan arising out of or relating to any act or omission of a Released Party that constitutes

actual fraud, willful misconduct, or gross negligence, each solely to the extent as determined

by a Final Order of a court of competent jurisdiction. Notwithstanding anything to the

contrary in the foregoing, the releases set forth above do not release any post Effective Date

obligations of any party or Entity under the Plan, this Confirmation Order, any

Restructuring Transaction, or any document, instrument, or agreement (including those set

forth in the Plan Supplement) executed to implement the Plan, including the Exit Facilities

Documents, or any Claim or obligation arising under the Plan.

        95.   Entry of this Confirmation Order shall constitute the Bankruptcy Court’s

approval, pursuant to Bankruptcy Rule 9019, of the Debtors’ release, which includes by

reference each of the related provisions and definitions contained in the Plan, and further,

shall constitute the Bankruptcy Court’s finding that the Debtors’ release is: (a) in exchange

for the good and valuable consideration provided by the Released Parties, including, without

limitation, the Released Parties’ contributions to facilitating the Restructuring Transactions

and implementing the Plan; (b) a good faith settlement and compromise of the Claims

released by the Debtors’ release; (c) in the best interests of the Debtors and all holders of

Claims and Interests; (d) fair, equitable, and reasonable; (e) given and made after due notice

and opportunity for hearing; and (f) a bar to any of the Debtors, the Reorganized Debtors,




                                             42
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1086 of 1639
                                                                         1086



or the Debtors’ Estates asserting any Claim or Cause of Action released pursuant to the

Debtors’ release.

        4.    Releases by Holders of Claims and Interests.

        96.   Except as otherwise expressly set forth in the Plan or this Confirmation Order,

on and after the Effective Date, in exchange for good and valuable consideration, the

adequacy of which is hereby confirmed, each Released Party is, and is deemed to be, hereby

conclusively, absolutely, unconditionally, irrevocably and forever, released and discharged

by each Releasing Party from any and all Causes of Action, whether known or unknown,

foreseen or unforeseen, matured or unmatured, existing or hereafter arising, in law, equity,

contract, tort, or otherwise, including any derivative claims asserted on behalf of the Debtors,

that such Entity would have been legally entitled to assert (whether individually or

collectively), based on or relating to, or in any manner arising from, in whole or in part, the

Debtors (including the capital structure, management, ownership, or operation thereof), any

security of the Debtors or the Reorganized Debtors, the subject matter of, or the transactions

or events giving rise to, any Claim or Interest that is treated in the Plan, the business or

contractual arrangements between any Debtor and any Released Party, the Revolving Credit

Facility, the FLLO Term Loan Facility, the Collateral Trust Documents, the Second Lien

Notes, the assertion or enforcement of rights and remedies against the Debtors, the Debtors’

in- or out-of-court restructuring efforts, any Avoidance Actions, intercompany transactions

between or among a Debtor and another Debtor, the Chapter 11 Cases, the formulation,

preparation, dissemination, negotiation, or Filing of the Restructuring Support Agreement,

the Disclosure Statement, the DIP Facility, the Exit Facilities, the Plan (including, for the

avoidance of doubt, the Plan Supplement), or any Restructuring Transaction, contract,

instrument, release, or other agreement or document (including any legal opinion requested


                                              43
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1087 of 1639
                                                                         1087



by any Entity regarding any transaction, contract, instrument, document or other agreement

contemplated by the Plan or the reliance by any Released Party on the Plan or this

Confirmation Order in lieu of such legal opinion) created or entered into in connection with

the Restructuring Support Agreement, the Disclosure Statement, the DIP Facility, the Plan,

the Plan Supplement, before or during the Chapter 11 Cases, the Filing of the Chapter 11

Cases, the pursuit of Confirmation, the pursuit of Consummation, the administration and

implementation of the Plan, including the issuance or distribution of Securities pursuant to

the Plan, or the distribution of property under the Plan or any other related agreement, or

upon any other act or omission, transaction, agreement, event, or other occurrence related

or relating to any of the foregoing taking place on or before the Effective Date, other than

claims or liabilities that are not described in items 1 and 2 set forth in Article IV.A of the

Plan arising out of or relating to any act or omission of a Released Party other than a Debtor

that constitutes actual fraud, willful misconduct, or gross negligence, each solely to the extent

as determined by a Final Order of a court of competent jurisdiction. Notwithstanding

anything to the contrary in the foregoing, the releases set forth above do not release (i) any

party of any obligations related to customary banking products, banking services or other

financial accommodations (except as may be expressly amended or modified by the Plan and

the Exit Facilities Credit Agreements, or any other financing document under and as defined

therein) or (ii) any post Effective Date obligations of any party or Entity under the Plan, this

Confirmation Order, any Restructuring Transaction, or any document, instrument, or

agreement (including those set forth in the Plan Supplement) executed to implement the

Plan, including the Exit Facilities Documents, or any Claim or obligation arising under the

Plan.




                                               44
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1088 of 1639
                                                                         1088



        97.   Entry of this Confirmation Order shall constitute the Bankruptcy Court’s

approval, pursuant to Bankruptcy Rule 9019, of the Third-Party Releases, which includes

by reference each of the related provisions and definitions contained herein, and, further,

shall constitute the Bankruptcy Court’s finding that the Third-Party Releases are:

(a) consensual; (b) essential to the confirmation of the Plan; (c) given in exchange for the

good and valuable consideration provided by the Released Parties; (d) a good faith settlement

and compromise of the Claims released by the Third-Party Releases; (e) in the best interests

of the Debtors and their Estates; (f) fair, equitable, and reasonable; (g) given and made after

due notice and opportunity for hearing; and (h) a bar to any of the Releasing Parties

asserting any claim or Cause of Action released pursuant to the Third-Party Releases.

        5.    Exculpation.

        98.   Except as otherwise specifically provided in the Plan or this Confirmation

Order, no Exculpated Party shall have or incur liability for, and each Exculpated Party is

hereby released and exculpated from any Cause of Action for any claim related to any act or

omission in connection with, relating to, or arising out of, the Chapter 11 Cases, the

formulation, preparation, dissemination, negotiation, Filing, or termination of the

Restructuring Support Agreement and related prepetition transactions, the Disclosure

Statement, the Plan, the Plan Supplement, or any Restructuring Transaction, contract,

instrument, release or other agreement or document (including any legal opinion requested

by any Entity regarding any transaction, contract, instrument, document or other agreement

contemplated by the Plan or the reliance by any Released Party on the Plan or this

Confirmation Order in lieu of such legal opinion) created or entered into before or during

the Chapter 11 Cases, any preference, fraudulent transfer, or other avoidance claim arising

pursuant to chapter 5 of the Bankruptcy Code or other applicable law, the Filing of the


                                              45
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1089 of 1639
                                                                         1089



Chapter 11 Cases, the pursuit of Confirmation, the pursuit of Consummation, the

administration and implementation of the Plan, including the issuance or distribution of

Securities pursuant to the Plan, or the distribution of property under the Plan or any other

related agreement, or upon any other related act or omission, transaction, agreement, event,

or other occurrence taking place on or before the Effective Date, except for claims related to

any act or omission that is determined in a Final Order by a court of competent jurisdiction

to have constituted actual fraud, willful misconduct, or gross negligence, but in all respects

such Entities shall be entitled to reasonably rely upon the advice of counsel with respect to

their duties and responsibilities pursuant to the Plan.

        99.    The Exculpated Parties and other parties set forth above have, and upon

confirmation of the Plan shall be deemed to have, participated in good faith and in

compliance with the applicable laws with regard to the solicitation of votes and distribution

of consideration pursuant to the Plan and, therefore, are not, and on account of such

distributions shall not be, liable at any time for the violation of any applicable law, rule, or

regulation governing the solicitation of acceptances or rejections of the Plan or such

distributions made pursuant to the Plan.

        6.     Injunction.

        100.   Except as otherwise expressly provided in the Plan or this Confirmation Order

or for obligations issued or required to be paid pursuant to the Plan or this

Confirmation Order, all Entities who have held, hold, or may hold Claims or Interests that

have been released, discharged, or are subject to exculpation are permanently enjoined, from

and after the Effective Date, from taking any of the following actions against, as applicable,

the Debtors, the Reorganized Debtors, the Exculpated Parties, or the Released Parties:

(1) commencing or continuing in any manner any action or other proceeding of any kind on


                                              46
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1090 of 1639
                                                                         1090



account of or in connection with or with respect to any such Claims or Interests;

(2) enforcing, attaching, collecting, or recovering by any manner or means any judgment,

award, decree, or order against such Entities on account of or in connection with or with

respect to any such Claims or Interests; (3) creating, perfecting, or enforcing any

encumbrance of any kind against such Entities or the property or the Estates of such Entities

on account of or in connection with or with respect to any such Claims or Interests;

(4) asserting any right of setoff, subrogation, or recoupment of any kind against any

obligation due from such Entities or against the property of such Entities on account of or in

connection with or with respect to any such Claims or Interests unless such holder has Filed

a motion requesting the right to perform such setoff on or before the Effective Date, and

notwithstanding an indication of a Claim or Interest or otherwise that such holder asserts,

has, or intends to preserve any right of setoff pursuant to applicable law or otherwise; and

(5) commencing or continuing in any manner any action or other proceeding of any kind on

account of or in connection with or with respect to any such Claims or Interests released or

settled pursuant to the Plan.

        101.   Upon entry of this Confirmation Order, all holders of Claims and Interests

and their respective current and former employees, agents, officers, directors, principals,

and direct and indirect Affiliates shall be enjoined from taking any actions to interfere with

the implementation or Consummation of the Plan. Except as otherwise set forth in this

Confirmation Order, each holder of an Allowed Claim or Allowed Interest, as applicable, by

accepting, or being eligible to accept, distributions under or Reinstatement of such Claim or

Interest, as applicable, pursuant to the Plan, shall be deemed to have consented to the

injunction provisions set forth in Article VIII.F of the Plan.




                                              47
KE 71402552
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1091 of 1639
                                                                            1091



F.      Preservation of Causes of Action.

        102.   In accordance with section 1123(b) of the Bankruptcy Code, but subject to Article

VIII of the Plan, each Reorganized Debtor, as applicable, shall retain and may enforce all rights to

commence and pursue, as appropriate, any and all Causes of Action of the Debtors, whether arising

before or after the Petition Date, including any actions specifically enumerated in the Schedule of

Retained Causes of Action, and the Reorganized Debtors’ rights to commence, prosecute, or settle

such Causes of Action shall be preserved notwithstanding the occurrence of the Effective Date,

other than: (i) the Causes of Action released by the Debtors pursuant to the releases and

exculpations contained in the Plan, including in Article VIII of the Plan, which shall be deemed

released and waived by the Debtors and the Reorganized Debtors as of the Effective Date; and

(ii) all Causes of Action that arise under sections 544, 547, 548, and 549 of the Bankruptcy Code

and state fraudulent conveyance law.

        103.   The Reorganized Debtors may pursue such retained Causes of Action, as

appropriate, in accordance with the best interests of the Reorganized Debtors. No Entity (other

than the Released Parties) may rely on the absence of a specific reference in the Plan, the Plan

Supplement, or the Disclosure Statement to any Cause of Action against it as any indication that

the Debtors or the Reorganized Debtors, as applicable, will not pursue any and all available Causes

of Action of the Debtors against it. The Debtors and the Reorganized Debtors expressly reserve

all rights to prosecute any and all Causes of Action against any Entity, except as otherwise

expressly provided in the Plan, including Article VIII of the Plan. Unless otherwise agreed upon

in writing by the parties to the applicable Cause of Action, all objections to the Schedule of

Retained Causes of Action must be Filed with the Bankruptcy Court on or before thirty (30) days

after the Effective Date. Any such objection that is not timely Filed shall be disallowed and forever

barred, estopped, and enjoined from assertion against any Reorganized Debtor, without the need


                                                 48
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1092 of 1639
                                                                         1092



for any objection or responsive pleading by the Reorganized Debtors or any other party in interest

or any further notice to or action, order, or approval of the Bankruptcy Court. The Reorganized

Debtors may settle any such objection without any further notice to or action, order, or approval

of the Bankruptcy Court. If there is any dispute regarding the inclusion of any Cause of Action on

the Schedule of Retained Causes of Action that remains unresolved by the Debtors or Reorganized

Debtors, as applicable, and the objection party for thirty (30) days, such objection shall be resolved

by the Bankruptcy Court. Unless any Causes of Action of the Debtors against an Entity are

expressly waived, relinquished, exculpated, released, compromised, or settled in the Plan or a Final

Order, the Reorganized Debtors expressly reserve all Causes of Action, for later adjudication, and,

therefore, no preclusion doctrine, including the doctrines of res judicata, collateral estoppel, issue

preclusion, claim preclusion, estoppel (judicial, equitable, or otherwise), or laches, shall apply to

such Causes of Action upon, after, or as a consequence of the Confirmation or Consummation.

        104.   The Reorganized Debtors reserve and shall retain such Causes of Action of the

Debtors notwithstanding the rejection or repudiation of any Executory Contract or Unexpired

Lease during the Chapter 11 Cases or pursuant to the Plan. In accordance with section 1123(b)(3)

of the Bankruptcy Code, any Causes of Action that a Debtor may hold against any Entity shall vest

in the Reorganized Debtors, except as otherwise expressly provided in the Plan, including

Article VIII of the Plan. The applicable Reorganized Debtors, through their authorized agents or

representatives, shall retain and may exclusively enforce any and all such Causes of Action. The

Reorganized Debtors shall have the exclusive right, authority, and discretion to determine and to

initiate, file, prosecute, enforce, abandon, settle, compromise, release, withdraw, or litigate to

judgment any such Causes of Action and to decline to do any of the foregoing without the consent




                                                 49
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1093 of 1639
                                                                         1093



or approval of any third party or further notice to or action, order, or approval of the

Bankruptcy Court.

G.      Professional Compensation and Administrative Claims Bar Date.

        105.   All requests for payment of Professional Claims for services rendered and

reimbursement of expenses incurred prior to the Confirmation Date must be Filed no later than

forty-five (45) days after the Effective Date. The Bankruptcy Court shall determine the Allowed

amounts of such Professional Claims after notice and a hearing in accordance with the procedures

established by the Bankruptcy Court. The Reorganized Debtors shall pay Professional Claims in

Cash in the amount the Bankruptcy Court allows, including from the Professional Fee Escrow

Account, which the Reorganized Debtors will establish in trust for the Professionals and fund with

Cash equal to the Professional Fee Amount on the Effective Date.

        106.   On the Effective Date, the Reorganized Debtors shall establish and fund the

Professional Fee Escrow Account with Cash equal to the Professional Fee Amount, which shall be

funded by the Reorganized Debtors. The Professional Fee Escrow Account shall be maintained in

trust solely for the Professionals. Such funds shall not be considered property of the Estates of the

Debtors or the Reorganized Debtors. The amount of Allowed Professional Claims shall be paid

in Cash to the Professionals by the Reorganized Debtors from the Professional Fee Escrow

Account as soon as reasonably practicable after such Professional Claims are Allowed. When

such Allowed Professional Claims have been paid in full, any remaining amount in the

Professional Fee Escrow Account shall promptly be paid to the Reorganized Debtors without any

further action or order of the Bankruptcy Court.

        107.   Professionals shall reasonably estimate their unpaid Professional Claims and other

unpaid fees and expenses incurred in rendering services to the Debtors before and as of the

Effective Date, and shall deliver such estimate to the Debtors no later than five (5) days before the


                                                 50
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1094 of 1639
                                                                         1094



Effective Date; provided that such estimate shall not be deemed to limit the amount of the fees and

expenses that are the subject of each Professional’s final request for payment in the Chapter 11

Cases. If a Professional does not provide an estimate, the Debtors or Reorganized Debtors may

estimate the unpaid and unbilled fees and expenses of such Professional.

        108.   Except as otherwise specifically provided in the Plan, from and after the

Confirmation Date, the Debtors shall, in the ordinary course of business and without any further

notice to or action, order, or approval of the Bankruptcy Court, pay in Cash the reasonable and

documented legal, professional, or other fees and expenses related to implementation of the Plan

and Consummation incurred by the Debtors. Upon the Confirmation Date, any requirement that

Professionals comply with sections 327 through 331, 363, and 1103 of the Bankruptcy Code in

seeking retention or compensation for services rendered after such date shall terminate, and the

Debtors may employ and pay any Professional in the ordinary course of business without any

further notice to or action, order, or approval of the Bankruptcy Court.

        109.   Except as otherwise provided in Article II.A of the Plan, and except with respect to

Administrative Claims that are Professional Claims, or DIP Claims, requests for payment of

Administrative Claims must be Filed and served on the Debtors no later than the Administrative

Claims Bar Date, which shall be the first Business Day that is thirty (30) days following the

Effective Date. Holders of Administrative Claims that are required to, but do not, File and serve

a request for payment of such Administrative Claims by such date shall be forever barred,

estopped, and enjoined from asserting such Administrative Claims against the Debtors or their

property and such Administrative Claims shall be deemed discharged as of the Effective Date.

Objections to such requests, if any, must be Filed with the Bankruptcy Court and served on the

requesting party no later than sixty (60) days after the Administrative Claims Bar Date.




                                                51
KE 71402552
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1095 of 1639
                                                                            1095



        110.   The Debtors shall indefeasibly pay in Cash all Existing RBL Adequate Protection

Payments that have accrued and are unpaid as of the Effective Date pursuant to the terms of the

DIP Order, and none of the Revolving Credit Facility Administrative Agent, the Revolving Credit

Facility Lenders, or the Agent under the Collateral Trust Agreement shall be required to File a

request for payment of an Administrative Claim with the Bankruptcy Court on account of such

Existing RBL Adequate Protection Payments. The Debtors’ obligation to pay the Existing RBL

Adequate Protection Payments, to the extent not indefeasibly paid in full in Cash on the

Effective Date, shall survive the Effective Date and shall not be released or discharged pursuant

to the Plan or this Confirmation Order until indefeasibly paid in full in Cash.

H.      Notice of Subsequent Pleadings.

        111.   Except as otherwise provided in the Plan or in this Confirmation Order, notice of

all subsequent pleadings in the Chapter 11 Cases after the Effective Date will be limited to the

following parties: (a) the United States Trustee; (b) the Reorganized Debtors and their counsel;

and (c) any party known to be directly affected by the relief sought by such pleadings.

I.      Retention of Jurisdiction.

        112.   Notwithstanding the entry of this Confirmation Order and the occurrence of the

Effective Date, on and after the Effective Date, this Bankruptcy Court shall retain exclusive

jurisdiction over all matters arising out of, or relating to, the Chapter 11 Cases and the Plan

pursuant to sections 105(a) and 1142 of the Bankruptcy Code, including the matters set forth in

Article XI of the Plan; provided that the New Organizational Documents and the Exit Facilities

and any documents related thereto shall be governed by the jurisdictional provisions therein, and

this Bankruptcy Court shall not retain jurisdiction beyond the maximum extent allowed by law

under the applicable circumstances.




                                                52
KE 71402552
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1096 of 1639
                                                                            1096



J.      Reports.

        113.   After the Effective Date of the Plan, the Debtors have no obligation to file with the

Bankruptcy Court or serve on any parties reports that the Debtors were obligated to file under the

Bankruptcy Code or a Court order, including monthly operating reports (even for those periods for

which a monthly operating report was not filed before such Effective Date), ordinary course

professional reports, and monthly or quarterly reports for Professionals; provided, however, that

the Debtors will comply with the United States Trustee’s quarterly reporting requirements. From

Confirmation through the Effective Date of the Plan, the Debtors will file such reports as are

required under the Bankruptcy Local Rules. For the avoidance of doubt, nothing in this paragraph

shall affect the Reorganized Debtors’ reporting obligations under the Exit Facilities Documents.

K.      Effectiveness of All Actions.

        114.   Except as set forth in the Plan, all actions authorized to be taken pursuant to the

Plan shall be effective on, before, or after the Effective Date of the Plan, and pursuant to this

Confirmation Order, without further application to, or order of the Bankruptcy Court, or further

action by the Debtors and/or the Reorganized Debtors and their respective directors, officers,

members, or stockholders, and with the effect that such actions had been taken by unanimous

action of such officers, directors, managers, members, or stockholders.

L.      Approval of Consents and Authorization to Take Acts Necessary to Implement the
        Plan.

        115.   This Confirmation Order shall constitute all authority, approvals, and consents

required, if any, by the laws, rules, and regulations of any states, federal, and any other

governmental authority with respect to the implementation or consummation of the Plan and any

certifications, mortgages, documents, instruments, or agreements, and any amendments or

modifications thereto, and any other acts and transactions referred to in or contemplated by the



                                                53
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1097 of 1639
                                                                         1097



Plan, the Plan Supplement, the Disclosure Statement, the Exit Facilities Documents, and any

certifications, mortgages, documents, instruments, securities, or agreements, and any amendments

or modifications thereto.

M.      Plan Implementation Authorization.

        116.   The Debtors or the Reorganized Debtors, as the case may be, and their respective

directors, officers, members, agents, and attorneys, financial advisors, restructuring advisors, and

investment bankers are authorized and empowered from and after the date hereof to negotiate,

execute, issue, deliver, implement, file, or record any contract, instrument, mortgage, release,

assumption and assignment, or other agreement or document related to the Plan, as the same may

be modified, amended, and supplemented, and to take any action necessary or appropriate to

implement, effectuate, consummate, or further evidence the Plan in accordance with their terms,

or take any or all corporate actions authorized to be taken pursuant to the Plan, whether or not

specifically referred to in the Plan or any exhibit thereto, without further order of the

Bankruptcy Court. To the extent applicable, any or all such documents shall be accepted upon

presentment by each of the respective state filing offices and recorded in accordance with

applicable state law and shall become effective in accordance with their terms and the provisions

of state law. Pursuant to section 10.301 of the Business Organizations Code of the State of Texas,

section 18-1118 of the Oklahoma General Corporation Act, and any comparable provision of the

business corporation laws of any other state, as applicable, no action of the respective directors or

equity holders of the Debtors or the Reorganized Debtors, as applicable, will be required to

authorize the Debtors or Reorganized Debtors, as applicable, to enter into, execute, deliver, file,

adopt, amend, restate, consummate, or effectuate, as the case may be, the Plan, the restructuring,

and any such contract, certificate, instrument, mortgage, release, assumption and assignment, or

other agreement or document related to the Plan, and following the Effective Date, each of the


                                                 54
KE 71402552
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1098 of 1639
                                                                            1098



documents for the Plan will be a legal, valid, and binding obligation of the Debtors or Reorganized

Debtors, as applicable, enforceable against the Debtors and the Reorganized Debtors in accordance

with the respective terms thereof.

N.      Distributions.

        117.   The procedures governing distributions contained in Article VI of the Plan are

approved in their entirety.

O.      Restructuring Transactions.

        118.   On or before the Effective Date, the applicable Debtors or the Reorganized Debtors

shall enter into and shall take any actions as may be necessary or appropriate to effect the

Restructuring Transactions, including as set forth in the Restructuring Transactions Memorandum.

The Restructuring Transactions Memorandum shall be reasonably acceptable to the Required

Consenting Stakeholders. The actions to implement the Restructuring Transactions may include:

(1) the execution and delivery of appropriate agreements or other documents of merger,

amalgamation, consolidation, restructuring, conversion, disposition, transfer, arrangement,

continuance, dissolution, sale, purchase, or liquidation containing terms that are consistent with

the terms of the Plan and that satisfy the applicable requirements of applicable law and any other

terms to which the applicable Entities may agree; (2) the execution and delivery of appropriate

instruments of transfer, assignment, assumption, or delegation of any asset, property, right,

liability, debt, or obligation on terms consistent with the terms of the Plan and having other terms

for which the applicable parties agree; (3) the filing of appropriate certificates or articles of

incorporation, formation, reincorporation, merger, consolidation, conversion, amalgamation,

arrangement, continuance, or dissolution pursuant to applicable state or provincial law; (4) the

execution and delivery of the New Organizational Documents; (5) the execution and delivery of

the Exit Facilities Documents (including all actions to be taken, undertakings to be made, and


                                                55
KE 71402552
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1099 of 1639
                                                                            1099



obligations to be incurred and fees to be paid by the Debtors or the Reorganized Debtors, as

applicable), subject to any post-closing execution and delivery periods provided for in the Exit

Facilities Documents; (6) execution and delivery of the Registration Rights Agreement;

(7) pursuant to the Rights Offering Procedures and the Backstop Commitment Agreement, the

implementation of the Rights Offering, including the distribution of the Rights to the Rights

Offering Participants as of the Rights Offering Record Date and the issuance of New Common

Stock in connection therewith; (8) the issuance of the New Common Stock and the New Warrants

as set forth in the Plan; and (9) all other actions that the applicable Entities determine to be

necessary, including making filings or recordings that may be required by applicable law in

connection with the Plan. This Confirmation Order shall, and shall be deemed to, pursuant to

sections 363 and 1123 of the Bankruptcy Code, authorize, among other things, all actions as may

be necessary or appropriate to effect any transaction described in, contemplated by, or necessary

to effectuate the Plan. On the Effective Date or as soon as reasonably practicable thereafter, the

Reorganized Debtors, as applicable, shall issue all Securities, notes, instruments, certificates, and

other documents required to be issued pursuant to the Restructuring Transactions.

        119.   This Confirmation Order shall and shall be deemed to, pursuant to sections 363 and

1123 of the Bankruptcy Code, authorize, among other things, all actions as may be necessary or

appropriate to effect any transaction described in, approved by, contemplated by, or necessary to

effectuate the Plan, including the Restructuring Transactions.

P.      Approval of Rights Offering.

        120.   On and after the Effective Date, all documents necessary to effectuate the Rights

Offering shall constitute legal, valid, and binding obligations of the Reorganized Debtors and be

enforceable in accordance with their respective terms. All of the New Common Stock to be

granted in accordance with the terms of the Rights Offering shall (a) be duly authorized, validly


                                                 56
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1100 of 1639
                                                                         1100



issued, fully paid, and non-assessable consistent with the terms of the New Organizational

Documents and (b) not be subject to avoidance or recharacterization for any purposes whatsoever

and shall not constitute preferential transfers, fraudulent conveyances, or other voidable transfers

under the Bankruptcy Code or any applicable nonbankruptcy law.

Q.      Approval of Exit Facilities.

        121.   On the Effective Date, the Reorganized Debtors shall enter into the Exit Facilities

(on the same or better terms as set forth in the Exit Facilities Documents). The terms of the

Exit Facilities are fair and reasonable, and the Exit Facilities were negotiated in good faith and at

arm’s-length by the Debtors and the Agent under the Exit Facilities. This Confirmation Order

constitutes approval of the Exit Facilities (including the transactions and related agreements

contemplated thereby, and all actions to be taken, undertakings to be made, and obligations to be

incurred and fees paid by the Debtors or the Reorganized Debtors in connection therewith), to the

extent not approved by this Bankruptcy Court previously, and the Debtors or the Reorganized

Debtors, as applicable, are hereby authorized to (i) execute and deliver the documents necessary

or appropriate to obtain the Exit Facilities, including the Exit Facilities Documents and any and all

other documents required to enter into the Exit Facilities and all collateral documents related

thereto, without further notice to or order of the Bankruptcy Court, (ii) act or take action under

applicable law, regulation, order, or rule or vote, consent, authorization, or approval of any person,

subject to such modifications as the Debtors or the Reorganized Debtors, as applicable, may deem

to be necessary to consummate entry into the Exit Facilities. All fees due and payable under the

Exit Facilities are hereby approved (and to the extent such fees were approved by prior order of

the Bankruptcy Court, such approval is hereby ratified) and the Debtors are authorized and directed

to pay such fees in accordance with, and to the extent they become payable, under the terms of the

fee letters respect the Exit Facilities and the Exit Facilities Documents.


                                                 57
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1101 of 1639
                                                                         1101



        122.   As of the Effective Date, upon the granting or continuation of Liens in accordance

with the Plan and the Exit Facilities Documents, such Liens shall constitute valid, binding,

enforceable, and automatically perfected Liens in the collateral specified in the Exit Facilities

Documents. The Exit Facilities Agent or holder(s) of Liens under the Exit Facilities Documents

are hereby authorized to file with the appropriate authorities mortgages, financing statements, and

other documents, and to take any other action in order to evidence, validate, and perfect such Liens

or security interests. The guarantees, mortgages, pledges, Liens, and other securities interests

granted to secure the obligations arising under the Exit Facilities Documents have been granted in

good faith, for legitimate business purposes, and for reasonably equivalent value as an inducement

to the lenders thereunder to extend credit thereunder and shall be deemed not to constitute a

fraudulent conveyance or fraudulent transfer and shall not be subject to avoidance,

recharacterization, or subordination for any purposes whatsoever and shall not constitute

preferential transfers or fraudulent conveyances under the Bankruptcy Code or any applicable

nonbankruptcy law, and the priorities of such Liens and security interests shall be as set forth in

the Exit Facilities Documents. The Reorganized Debtors and the Persons and Entities granted

such Liens and security interests shall be authorized to make all filings and recordings, and to

obtain all governmental approvals and consents necessary to establish and perfect such Liens and

security interests under the provisions of the applicable state, federal, or other law that would be

applicable in the absence of the Plan and this Confirmation Order (provided that perfection shall

occur automatically by virtue of the entry of this Confirmation Order), and will thereafter

cooperate to make all other filings and recordings that otherwise would be necessary under

applicable law to give notice of such Liens and security interests to third parties.




                                                 58
KE 71402552
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1102 of 1639
                                                                            1102



R.      New Organizational Documents and New Warrants Agreements.

        123.   The terms of any New Organizational Documents and New Warrants Agreements

as set forth in the Plan Supplement are approved in all respects.              To the extent any

New Organization Document is not attached to the Plan Supplement as of the entry of this

Confirmation Order, such New Organizational Document shall be filed with the Bankruptcy Court

prior to the Effective Date, and such New Organizational Document is approved to the extent it is

consistent with this Confirmation Order, the Plan, the Plan Supplement, and the Restructuring

Support Agreement (including any applicable consent rights therein). The obligations of the

applicable Reorganized Debtors related thereto, will, upon execution, constitute legal, valid,

binding, and authorized obligations of each of the Debtors or Reorganized Debtors, as applicable,

enforceable in accordance with their terms and not in contravention of any state or federal law.

On the Effective Date, without any further action by the Bankruptcy Court or the directors, officers,

or equity holders of any of the Reorganized Debtors, each Reorganized Debtor, as applicable, will

be and is authorized to enter into the New Organizational Documents, the New Warrants

Agreements, and all related documents, to which such Reorganized Debtor is contemplated to be

a party on the Effective Date. In addition, on the Effective Date, without any further action by the

Bankruptcy Court or the directors, officers or equity holders of any of the Reorganized Debtors,

each applicable Reorganized Debtor will be and is authorized to: (a) execute, deliver, file, and

record any other contracts, assignments, certificates, instruments, agreements, guaranties, or other

documents executed or delivered in connection with the New Organizational Documents and the

New Warrants Agreements; (b) issue the New Common Stock and the New Warrants (including

the New Common Stock that may be issuable upon exercise of the New Warrants); (c) perform all

of its obligations under the New Organizational Documents and the New Warrants Agreements;

and (d) take all such other actions as any of the responsible officers of such Reorganized Debtor


                                                 59
KE 71402552
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1103 of 1639
                                                                            1103



may determine are necessary, appropriate or desirable in connection with the consummation of the

transactions contemplated by the New Organizational Documents and the New Warrants

Agreements. Notwithstanding anything to the contrary in this Confirmation Order or the Plan,

after the Effective Date, any disputes arising under the New Organizational Documents and the

New Warrants Agreements will be governed by the jurisdictional provisions therein.

S.      Binding Effect.

        124.   Except as otherwise set forth in this Confirmation Order, subject to Article IX.A of

the Plan and notwithstanding Bankruptcy Rules 3020(e), 6004(h), or 7062 or otherwise, upon the

occurrence of the Effective Date, the terms of the Plan (including, for the avoidance of doubt, the

documents and instruments contained in the Plan Supplement) shall be immediately effective and

enforceable and deemed binding upon the Debtors, the Reorganized Debtors, any and all Holders

of Claims or Interests (irrespective of whether such Holders of Claims or Interests have, or are

deemed to have accepted the Plan), all Entities that are parties to or are subject to the settlements,

compromises, releases, discharges, and injunctions described in the Plan, each Entity acquiring

property under the Plan, and any and all non-Debtor parties to Executory Contracts and Unexpired

Leases with the Debtors.

T.      Convenience Claim Distribution Reserve.

        125.   On the Effective Date, the Reorganized Debtors shall establish and fund the

Convenience Claim Distribution Reserve with Cash in an amount equal to $10,000,000.00. The

Convenience Claim Distribution Reserve shall be maintained in trust solely for holders of

Convenience Claims.       Such funds shall not be considered property of the Debtors or the

Reorganized Debtors; provided that any funds remaining in the Convenience Claim Distribution

Reserve after all Convenience Claim Distributions have been made shall be distributed to and vest




                                                 60
KE 71402552
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1104 of 1639
                                                                            1104



in the Reorganized Debtors. Convenience Claims shall be paid in accordance with Article VI.A

of the Plan.

U.      Continued Corporate Existence

        126.   Except as otherwise provided in the Plan or any agreement, instrument, or other

document incorporated in the Plan or the Plan Supplement, each Debtor shall continue to exist

after the Effective Date as a separate corporate entity, limited liability company, partnership, or

other form, as the case may be, with all the powers of a corporation, limited liability company,

partnership, or other form, as the case may be, pursuant to the applicable law in the jurisdiction in

which each applicable Debtor is incorporated or formed and pursuant to the respective certificate

of incorporation and bylaws (or other formation documents) in effect prior to the Effective Date,

except to the extent such certificate of incorporation and bylaws (or other formation documents)

are amended, amended and restated, or replaced under the Plan or otherwise, including pursuant

to the New Organizational Documents, and to the extent such documents are amended in

accordance therewith, such documents are deemed to be amended, amended and restated, or

replaced pursuant to the Plan and require no further action or approval (other than any requisite

filings required under applicable state, provincial, or federal law).

        127.   After the Effective Date, the respective certificate of incorporation and bylaws

(or other formation documents) of the Reorganized Debtors may be amended or modified on the

terms therein without supervision or approval by the Bankruptcy Court and free of any restrictions

of the Bankruptcy Code or Bankruptcy Rules. After the Effective Date, one or more of the

Reorganized Debtors may be disposed of, dissolved, wound down, or liquidated without

supervision or approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy

Code or Bankruptcy Rules.




                                                 61
KE 71402552
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1105 of 1639
                                                                            1105



V.      Vesting of Assets in the Reorganized Debtors.

        128.   Except as otherwise provided in this Confirmation Order, the Plan (including, for

the avoidance of doubt, the Restructuring Transactions Memorandum), or any agreement,

instrument, or other document incorporated in, or entered into in connection with or pursuant to,

the Plan or Plan Supplement, on the Effective Date, all property in each Estate that constitutes

property of the Estate under section 541 of the Bankruptcy Code, all Causes of Action, and any

property acquired by any of the Debtors pursuant to the Plan shall vest in each respective

Reorganized Debtor, free and clear of all Liens, Claims, charges, or other encumbrances. On and

after the Effective Date, except as otherwise provided in the Plan, each Reorganized Debtor may

operate its business and may use, acquire, or dispose of property and compromise or settle any

Claims, Interests, or Causes of Action without supervision or approval by the Bankruptcy Court

and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules.

        129.   Nothing in the Plan or this Confirmation Order shall operate as a finding or

determination that funds (1) held by the Debtors or subject to their control and (2) to which any

holder of a Royalty and Working Interest has asserted or may assert a right of entitlement or

ownership on account of such Royalty and Working Interest, constitute property of any of the

Estates under section 541 of the Bankruptcy Code or otherwise. All parties’ rights with respect to

such issue remain unaffected by Confirmation of the Plan and entry of this Confirmation Order.

W.      Directors and Officers of Reorganized Debtors.

        130.   Pursuant to section 1129(a)(5) of the Bankruptcy Code, the Debtors have, to the

extent known at the time of Filing, disclosed the identities of directors on the New Board. Each

member of the New Board will serve from and after the Effective Date pursuant to applicable law

and the terms of the New Organizational Documents. The existing boards of directors and other

governing bodies of the other Reorganized Debtors will be deemed to have resigned on and as of


                                               62
KE 71402552
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1106 of 1639
                                                                            1106



the Effective Date, in each case without further notice to or order of the Bankruptcy Court, act or

action under applicable law, regulation, order, or rule or the vote, consent, authorization, or

approval of any Person or Entity.

X.      Employee Obligations.

        131.   Except as otherwise provided in the Plan and subject to Article V thereof, all wages,

compensation, and benefits programs, including executive compensation programs and any

motions in the Bankruptcy Court for the approval thereof, will be continued according to existing

terms and practices.    On the Effective Date, the Debtors shall (a) assume all employment

agreements, indemnification agreements, or other agreements entered into with current and former

employees or (b) enter into new agreements with such employees on terms and conditions

acceptable to the Debtor and such employee. Notwithstanding the foregoing, any employment

agreements or other employment-related agreements that provide for any acceleration or

enhancement of payments (including severance payments), vesting, benefits, or other rights in

connection with a transaction that constitutes a change in control, change of control, or similar

concept under such agreements, shall only be assumed if and to the extent that the Debtors, with

the consent of the Required Plan Sponsors, obtain waivers specifying that the consummation of

the Restructuring Transactions shall not trigger any such rights under such agreements.

Y.      Ownership and Control.

        132.   The consummation of the Plan shall not constitute a change in ownership or change

in control, as such terms are used in any statute, regulation, contract, or agreement, including, but

not limited to, any assumption, assumption and assignment, insurance agreement, mortgage, letter

of credit, or hedging arrangement, in effect on the Effective Date and to which any Debtor is a

party or under any applicable law of any unit of government.




                                                 63
KE 71402552
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1107 of 1639
                                                                            1107



Z.      Indemnification Obligations.

        133.   Consistent with applicable law, all indemnification provisions in place as of the

Effective Date (whether in the bylaws, certificates of incorporation or formation, limited liability

company agreements, other organizational documents, board resolutions, indemnification

agreements, employment contracts, the DIP Order, or otherwise) for current and former directors,

officers, managers, employees, attorneys, accountants, investment bankers, and other

professionals of the Debtors, the DIP Agent, the DIP Lenders, the Revolving Credit Facility Agent,

the Consenting Revolving Credit Facility Lenders, the FLLO Term Loan Facility Administrative

Agent, the Consenting FLLO Term Loan Facility Lenders, the Collateral Trustee, the Second Lien

Notes Trustee, the Consenting Second Lien Noteholders, and the Consenting Unsecured

Noteholders, as applicable, shall be reinstated and remain intact, irrevocable, and shall survive the

effectiveness of the Plan on terms no less favorable to such current and former directors, officers,

managers, employees, attorneys, accountants, investment bankers, and other professionals of the

Debtors, the DIP Agent, the DIP Lenders, the Revolving Credit Facility Agent, the Consenting

Revolving Credit Facility Lenders, the FLLO Term Loan Facility Administrative Agent, the

Consenting FLLO Term Loan Facility Lenders, the Collateral Trustee, the Second Lien Notes

Trustee, the Consenting Second Lien Noteholders, and the Consenting Unsecured Noteholders, as

applicable, than the indemnification provisions in place prior to the Effective Date.

AA.     Disputed and Contingent Claims Reserves.

        134.   If any portion of a Claim is a Disputed Claim, including an objection to a Claim or

portion thereof is filed as set forth in Article VII.F of the Plan, no payment or distribution provided

under the Plan shall be made on account of such Disputed Claim or a portion thereof unless and

until such Disputed Claim becomes an Allowed Claim.




                                                  64
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1108 of 1639
                                                                         1108



        135.   On or after the Effective Date, the Debtors or the Reorganized Debtors, as

applicable, shall establish one or more reserves (including the Convenience Claim Distribution

Reserve) for Claims that are contingent or have not yet been Allowed, in an amount or amounts as

reasonably determined by the Debtors or Reorganized Debtors, as applicable, consistent with the

Proof of Claim Filed by the applicable holder of such Disputed Claim. To the extent that a

Disputed Claim may be entitled to receive New Common Stock pursuant to the Plan, such New

Common Stock will remain authorized but unissued pending resolution of such Disputed Claim.

        136.   Any assets held in any such reserve shall be subject to the tax rules that apply to

“disputed ownership funds” under 26 C.F.R. § 1.468B–9. As such, such assets will be subject to

entity-level taxation, and the Debtors and Reorganized Debtors, as applicable, shall be required to

comply with the relevant rules.

BB.     Claims Reconciliation Process.

        137.   Except as otherwise specifically provided in the Plan, after the Effective Date, the

Reorganized Debtors shall have the sole authority: (a) to File, withdraw, or litigate to judgment,

objections to Claims or Interests; (b) to settle or compromise any Disputed Claim without any

further notice to or action, order, or approval by the Bankruptcy Court; and (c) to administer and

adjust the Claims Register to reflect any such settlements or compromises without any further

notice to or action, order, or approval by the Bankruptcy Court. For the avoidance of doubt, except

as otherwise provided in the Plan, from and after the Effective Date, each Reorganized Debtor

shall have and retain any and all rights and defenses such Debtor had immediately prior to the

Effective Date with respect to any Disputed Claim or Interest, including the Causes of Action

retained pursuant to Article IV.S of the Plan.




                                                 65
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1109 of 1639
                                                                         1109



CC.     Injunctions and Automatic Stay.

        138.   Unless otherwise provided in the Plan or this Confirmation Order, all injunctions

or stays in effect in the Chapter 11 Cases pursuant to sections 105 or 362 of the Bankruptcy Code

or any order of the Bankruptcy Court, and extant on the Confirmation Date (excluding any

injunctions or stays contained in the Plan or this Confirmation Order) shall remain in full force

and effect until the Effective Date. All injunctions or stays contained in the Plan or this

Confirmation Order shall remain in full force and effect in accordance with their terms.

DD.     Cancellation of Existing Securities and Agreements.

        139.   On the Effective Date, except as otherwise provided in the Plan or this

Confirmation Order, all notes, instruments, certificates, credit agreements, indentures, security

agreements, collateral agreements, and other documents evidencing Claims or Interests shall be

cancelled and the obligations of the Debtors thereunder or in any way related thereto shall be

deemed satisfied in full, cancelled, discharged, and of no force or effect. Holders of or parties to

such cancelled instruments, Securities, and other documentation will have no rights arising from

or relating to such instruments, Securities, and other documentation, or the cancellation thereof,

except the rights provided for or preserved pursuant to the Plan or this Confirmation Order.

        140.   Notwithstanding anything to the contrary in the Plan, to the extent cancelled

pursuant to the Plan, the DIP Credit Agreement, the Revolving Credit Facility Credit Agreement,

the FLLO Term Loan Facility Credit Agreement, the Collateral Trust Documents, the Second Lien

Notes Indenture, and the Unsecured Notes Indentures shall continue in effect solely to the extent

necessary to: (1) permit holders of Claims under the DIP Credit Agreement, the Revolving Credit

Facility Credit Agreement, the FLLO Term Loan Facility Credit Agreement, the Collateral Trust

Documents, the Second Lien Notes Indenture, and the Unsecured Notes Indentures to receive their

respective Plan distributions, if any; (2) permit the Debtors or the Reorganized Debtors to make


                                                66
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1110 of 1639
                                                                         1110



Plan distributions on account of the Allowed Claims under the DIP Credit Agreement, the

Revolving Credit Facility Credit Agreement, the FLLO Term Loan Facility Credit Agreement, the

Collateral Trust Documents, the Second Lien Notes Indenture, and the Unsecured Notes

Indentures; (3) permit the Agents and Trustees to seek compensation and/or reimbursement of fees

and expenses in accordance with the terms of the DIP Order, the DIP Credit Agreement, the Plan,

and this Confirmation Order, as applicable; (4) allow the Agents and Trustees to enforce their

rights, claims, and interests against any party other than the Debtors; (5) preserve any rights of the

Agents and Trustees to payment of fees, expenses, and indemnification obligations as against any

money or property distributable to holders of Claims under the DIP Credit Agreement, the

Revolving Credit Facility Credit Agreement, the FLLO Term Loan Facility Credit Agreement, the

Collateral Trust Documents, the Second Lien Notes Indenture, and the Unsecured Notes

Indentures, respectively, including any rights to priority of payment and/or to exercise charging

liens; (6) permit the Agents and Trustees to appear and be heard in the Chapter 11 Cases or in any

proceeding in the Bankruptcy Court or an appellate court, including to enforce any obligation owed

to the Agents and Trustees or other holders of Claims under the DIP Credit Agreement, the

Revolving Credit Facility Credit Agreement, the FLLO Term Loan Facility Credit Agreement, the

Collateral Trust Documents, the Second Lien Notes Indenture, and the Unsecured Notes

Indentures, as applicable; (7) preserve the rights and obligations of the parties under the Exit

Facilities Documents, as applicable; and (8) allow the Agents and Trustees to maintain any right

of indemnification, contribution, or subrogation under the DIP Credit Agreement, the Revolving

Credit Facility Credit Agreement, the FLLO Term Loan Facility Credit Agreement, the Collateral

Trust Documents, the Second Lien Notes Indenture, and the Unsecured Notes Indentures.




                                                 67
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1111 of 1639
                                                                         1111



        141.   Except as provided in the Plan, on the Effective Date, the Agents and Trustees, and

their respective agents, successors, and assigns, shall be automatically and fully discharged of all

of their duties and obligations associated with the DIP Credit Agreement, the Revolving Credit

Facility Credit Agreement, the FLLO Term Loan Facility Credit Agreement, the Collateral Trust

Documents, the Second Lien Notes Indenture, and the Unsecured Notes Indentures, as applicable.

To the extent cancelled in accordance with the Plan, the commitments and obligations (if any) of

the holders under the DIP Credit Agreement, the Revolving Credit Facility Credit Agreement, the

FLLO Term Loan Facility Credit Agreement, the Collateral Trust Documents, the Second Lien

Notes Indenture, and the Unsecured Notes Indentures to extend any further or future credit or

financial accommodations to any of the Debtors, any of the Debtors’ respective subsidiaries, or

any of the Debtors’ respective successors or assigns under the DIP Credit Agreement, the

Revolving Credit Facility Credit Agreement, the FLLO Term Loan Facility Credit Agreement, the

Collateral Trust Documents, the Second Lien Notes Indenture, and the Unsecured Notes

Indentures, as applicable, shall fully terminate and be of no further force or effect on the Effective

Date.

EE.     Securities Law Exemption.

        142.   All 1145 Securities will be offered, issued, and distributed in reliance upon

section 1145 of the Bankruptcy Code to the extent permitted under applicable law. All 4(a)(2)

Securities will be offered, issued, and distributed in reliance upon section 4(a)(2) of the Securities

Act or Regulation D promulgated thereunder, will be considered “restricted securities” as defined

in Rule 144(a)(3) under the Securities Act and may not be transferred except pursuant to an

effective registration statement or under the Securities Act or an available exemption therefrom.

        143.   Pursuant to section 1145 of the Bankruptcy Code, the offering, issuance, and

distribution of each of the 1145 Securities under the Plan is exempt from, among other things, the


                                                 68
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1112 of 1639
                                                                         1112



registration requirements of Section 5 of the Securities Act and any other applicable U.S. state or

local law requiring registration before the offering, issuance, distribution, or sale of such securities.

Pursuant to section 1145 of the Bankruptcy Code, each of the 1145 Securities under the Plan (1) is

not a “restricted security” as defined in Rule 144(a)(3) under the Securities Act; and (2) is freely

tradable and transferable by any holder thereof that at the time of transfer or as a result thereof, is

not an “affiliate” of the Reorganized Debtors as defined in Rule 144(a)(1) under the Securities Act.

Should the Reorganized Debtors elect on or after the Effective Date to reflect any ownership of

the 1145 Securities, including any New Common Stock or New Warrants, through the facilities of

DTC, the Reorganized Debtors need not provide any further evidence other than the Plan or this

Confirmation Order with respect to the treatment of such New Common Stock or New Warrants

under applicable securities laws.

        144.    The 4(a)(2) Securities will be offered, issued, and distributed in reliance upon

Section 4(a)(2) of the Securities Act or Regulation D promulgated thereunder and not pursuant to

an effective registration statement under the Securities Act. To the extent issued in reliance on

Section 4(a)(2) of the Securities Act or Regulation D thereunder, the 4(a)(2) Securities will be

“restricted securities” subject to resale restrictions and may be resold, exchanged, assigned or

otherwise transferred only pursuant to an effective registration statement under the Securities Act

or an available exemption therefrom and other applicable law.        Should the Reorganized Debtors

elect on or after the Effective Date to reflect any ownership of the 4(a)(2) Securities through the

facilities of DTC, the Reorganized Debtors need not provide any further evidence other than the

Plan or this Confirmation Order with respect to the treatment of the 4(a)(2) Securities under

applicable securities laws.




                                                   69
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1113 of 1639
                                                                         1113



        145.   Should the Reorganized Debtors elect on or after the Effective Date to reflect any

ownership of the New Common Stock (including any shares issuable as part of the Put Option

Premium, issuable upon exercise of the Rights, or the unsubscribed shares of New Common Stock

issued to the Backstop Parties pursuant to the Backstop Commitment Agreement) or the New

Warrants (and any shares of the New Common Stock issuable upon the exercise of the New

Warrants) through the facilities of DTC, the Reorganized Debtors need not provide any further

evidence other than the Plan or this Confirmation Order with respect to such treatment under

applicable securities laws.

        146.   DTC shall be required to accept and conclusively rely upon the Plan and this

Confirmation Order in lieu of a legal opinion regarding whether any of the New Common Stock

or New Warrants issuable pursuant to the Plan, including issuable pursuant to the Backstop

Commitment Agreement, are exempt from registration and/or eligible for DTC book-entry

delivery, settlement, and depository services.

        147.   Notwithstanding anything to the contrary in the Plan, no entity (including, for the

avoidance of doubt, DTC) may require a legal opinion regarding the validity of any transaction

contemplated by the Plan, including, for the avoidance of doubt, whether the New Common Stock

issuable upon exercise of the Rights or any of the other 1145 Securities or 4(a)(2) Securities, as

applicable, are exempt from registration and/or eligible for DTC book-entry delivery, settlement,

and depository services.

        148.   Each Backstop Party that receives Plan Securities will be entitled to registration

rights and sale support rights with respect to all such Securities to be documented in the

Registration Rights Agreement in form and substance satisfactory to the Required Plan Sponsors.




                                                 70
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1114 of 1639
                                                                         1114



FF.     Section 1146 Exemption.

        149.   To the fullest extent permitted by section 1146(a) of the Bankruptcy Code, any

transfers (whether from a Debtor to a Reorganized Debtor or to any other Person) of property under

the Plan or pursuant to: (a) the issuance, distribution, transfer, or exchange of any debt, equity

Security, or other interest in the Debtors or the Reorganized Debtors, including the New Common

Stock and the New Warrants (including the New Common Stock that may be issuable upon

exercise of the New Warrants); (b) the Restructuring Transactions; (c) the creation, modification,

consolidation, termination, refinancing, and/or recording of any mortgage, deed of trust, or other

security interest, or the securing of additional indebtedness by such or other means; (d) the making,

assignment, or recording of any lease or sublease; (c) the grant of collateral as security for the

Reorganized Debtors’ obligations under and in connection with the Exit Facilities; or (f) the

making, delivery, or recording of any deed or other instrument of transfer under, in furtherance of,

or in connection with, the Plan, including any deeds, bills of sale, assignments, or other instrument

of transfer executed in connection with any transaction arising out of, contemplated by, or in any

way related to the Plan, shall not be subject to any document recording tax, stamp tax, conveyance

fee, intangibles or similar tax, mortgage tax, real estate transfer tax, personal property transfer tax,

sales or use tax, mortgage recording tax, Uniform Commercial Code filing or recording fee,

regulatory filing or recording fee, or other similar tax or governmental assessment, and upon entry

of this Confirmation Order, the appropriate state or local governmental officials or agents shall

forego the collection of any such tax or governmental assessment and accept for filing and

recordation any of the foregoing instruments or other documents without the payment of any such

tax, recordation fee, or governmental assessment. All filing or recording officers (or any other

Person with authority over any of the foregoing), wherever located and by whomever appointed,

shall comply with the requirements of section 1146(a) of the Bankruptcy Code, shall forego the


                                                  71
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1115 of 1639
                                                                         1115



collection of any such tax or governmental assessment, and shall accept for filing and recordation

any of the foregoing instruments or other documents without the payment of any such tax or

governmental assessment.

GG.     Payment of Certain Fees.

        150.   Without any further notice to or action, order, or approval of the Bankruptcy Court,

the Debtors or the Reorganized Debtors, as applicable, shall pay on the Effective Date the

Restructuring Expenses, subject to the conditions set forth in Article IV.V of the Plan. The

Restructuring Expenses incurred, or estimated to be incurred, up to and including the Effective

Date, shall be paid in full in Cash on the Effective Date or as reasonably practicable thereafter

(to the extent not previously paid during the course of the Chapter 11 Cases) in accordance with,

and subject to, the terms of the Restructuring Support Agreement, without any requirement to file

a fee application with the Bankruptcy Court, without the need for itemized time detail, or without

any requirement for Court review or approval. All Restructuring Expenses to be paid on the

Effective Date shall be estimated prior to and as of the Effective Date and such estimates shall be

delivered to the Debtors at least five (5) Business Days before the anticipated Effective Date or

such later time as required by the Debtors; provided that such estimates shall not be considered an

admission or limitation with respect to such Restructuring Expenses. On or as soon as practicable

after the Effective Date, final invoices for all Restructuring Expenses incurred prior to and as of

the Effective Date shall be submitted to the Debtors. In addition, the Debtors and the Reorganized

Debtors (as applicable) shall continue to pay pre- and post-Effective Date Restructuring Expenses

related to implementation, consummation, and defense of the Plan, whether incurred before, on,

or after the Effective Date. For the avoidance of doubt, nothing in this paragraph shall be deemed

to impair, waive, discharge, or negatively impact or affect any rights of the FLLO Term Loan

Facility Administrative Agent, the Collateral Trustee, and the Second Lien Notes Trustee to


                                                72
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1116 of 1639
                                                                         1116



payment of fees, expenses, and indemnification obligations solely as against any money or

property distributable to holders of Claims under the FLLO Term Loan Facility Credit Agreement,

the Collateral Trust Documents, or the Second Lien Notes Indenture, as applicable, including any

rights to priority of payment and/or to exercise charging liens. Notwithstanding anything in the

Plan, including Article IV.I thereof, reimbursement of the Second Lien Notes Trustee’s financial

advisor’s fees and expenses shall be limited to $250,000 in the aggregate, and no Person shall be

entitled to increase or seek to increase this $250,000 limit or use a charging lien or seek payment

for such financial advisor’s or any financial advisor to the Second Lien Notes Trustee’s fees and

expenses from any other source.

        151.   Without limiting the obligations of the Debtors or Reorganized Debtors to pay the

DIP Agent Fees and Expenses and any fees, costs and expenses of the Exit Facilities Agent

pursuant to the Exit Facilities Documents, the Reorganized Debtors shall pay all post-Effective

Date expenses incurred by the DIP Agent and/or the Exit Facilities Agent related to

implementation, consummation, and defense of the Plan, whether incurred on or after the

Effective Date.

        152.   Provided the Committee has not filed an appeal of the Confirmation Order, on or

as soon as reasonably practicable after the Effective Date, the Debtors or the Reorganized Debtors,

as applicable, shall pay in Cash the reasonable and documented unpaid fees and expenses

(including the fees and expenses of their counsel) of the Unsecured Notes Trustees (the “Unsecured

Notes Trustee Fees”) incurred through the Effective Date, without any requirement to file a fee

application with the Bankruptcy Court, and without any requirement for Bankruptcy Court review

or approval. All Unsecured Notes Trustee Fees to be paid on or as soon as reasonably practicable

after the Effective Date shall be estimated prior to and as of the Effective Date and such estimates




                                                73
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1117 of 1639
                                                                         1117



shall be delivered to the Debtors at least five (5) Business Days before the anticipated Effective

Date or such later time as required by the Debtors; provided that such estimates shall not be

considered an admission or limitation with respect to such Unsecured Notes Trustee Fees. In

addition, the Debtors and the Reorganized Debtors, as applicable, shall continue to pay pre- and

post-Effective Date Unsecured Notes Trustee Fees related to implementation and consummation

of the Plan, whether incurred before, on, or after the Effective Date. For the avoidance of doubt,

nothing in this paragraph shall be deemed to impair, waive, discharge, or negatively impact or

affect any rights of the Unsecured Notes Trustees to payment of fees, expenses, and

indemnification obligations solely as against any money or property distributable to holders of

Claims under the Unsecured Notes Indentures, as applicable, including any rights to priority of

payment and/or to exercise charging liens.

HH.     Nonseverability of Plan Provisions upon Confirmation.

        153.   Each term and provision of each of the Plan as it heretofore may have been altered

or interpreted by the Bankruptcy Court in accordance with the Plan and as modified by this

Confirmation Order is: (a) valid and enforceable pursuant to its terms; (b) integral to the Plan and

may not be deleted or modified without the Debtors’ or Reorganized Debtors’ consent, as

applicable; and (c) nonseverable and mutually dependent.

II.     Waiver or Estoppel.

        154.   Each holder of a Claim or an Interest shall be deemed to have waived any right to

assert any argument, including the right to argue that its Claim or Interest should be Allowed in a

certain amount, in a certain priority, secured or not subordinated by virtue of an agreement made

with the Debtors or their counsel, or any other Entity, if such agreement is not addressed in this

Confirmation Order or was not disclosed in the Plan, the Disclosure Statement, or papers Filed

with the Bankruptcy Court prior to the Confirmation Date.


                                                74
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1118 of 1639
                                                                         1118



JJ.     Authorization to Consummate.

        155.    The Debtors and the Reorganized Debtors, as applicable, are authorized to

consummate the Plan, including the transactions contemplated by the Rights Offering and

Exit Facilities, and any other contracts, instruments, releases, leases, indentures, and other

agreements or documents created in connection with the Plan at any time after the entry of this

Confirmation Order, subject to satisfaction or waiver (by the Required Consenting Stakeholders)

of the conditions precedent to Consummation set forth in Article IX of the Plan. The substantial

consummation of the Plan, within the meaning of sections 1101(2) and 1127 of the Bankruptcy

Code, is deemed to occur on the Effective Date.

KK.     Assumption and Cure of Executory Contracts.

        156.    The provisions governing the treatment of Executory Contracts and Unexpired

Leases set forth in Article V of the Plan (including the procedures regarding the resolution of any

and all disputes concerning the assumption or rejection, as applicable, of such Executory Contracts

and Unexpired Leases) shall be, and hereby are, approved in their entirety. For the avoidance of

doubt, on the Effective Date, except as otherwise provided in the Plan or this Confirmation Order,

any Executory Contract or Unexpired Lease of the Debtors will be deemed to be an Assumed

Executory Contract or Unexpired Lease in accordance with the provisions and requirements of

sections 365 and 1123 of the Bankruptcy Code, other than those Executory Contracts or Unexpired

Leases that are: (a) identified on the Rejected Executory Contracts and Unexpired Leases

Schedule; (b) previously expired or terminated pursuant to their own terms; (c) have been

previously assumed or rejected by the Debtors pursuant to a Final Order; (d) are the subject of a

motion to reject that is pending on the Effective Date; or (e) have an ordered or requested effective

date of rejection that is after the Effective Date.




                                                  75
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1119 of 1639
                                                                         1119



        157.   Except as otherwise set forth herein, this Confirmation Order constitutes approval

of such assumptions, assumptions and assignments, or rejections of the Executory Contracts or

Unexpired Leases as set forth in the Plan, the Assumed Executory Contract and Unexpired Leases

Schedule, or the Rejected Executory Contracts and Unexpired Leases Schedule, pursuant to

sections 365(a) and 1123 of the Bankruptcy Code. Except as otherwise specifically set forth

herein, assumptions or rejections of Executory Contracts and Unexpired Leases pursuant to the

Plan are effective as of the Effective Date. Each Executory Contract or Unexpired Lease assumed

pursuant to the Plan or by Court order but not assigned to a third party before the Effective Date

shall re-vest in and be fully enforceable by the applicable contracting Reorganized Debtor in

accordance with its terms, except as such terms may have been modified by the provisions of the

Plan or any order of the Bankruptcy Court authorizing and providing for its assumption. Any

motions to assume Executory Contracts or Unexpired Leases pending on the Effective Date shall

be subject to approval by a Final Order on or after the Effective Date but may be withdrawn,

settled, or otherwise prosecuted by the Reorganized Debtors.

        158.   To the maximum extent permitted by law, to the extent any provision in any

Executory Contract or Unexpired Lease assumed or assumed and assigned pursuant to the Plan

restricts or prevents, or purports to restrict or prevent, or is breached or deemed breached by, the

assumption or assumption and assignment of such Executory Contract or Unexpired Lease

(including any “change of control” provision), then such provision shall be deemed modified such

that the transactions contemplated by the Plan shall not entitle the non-Debtor party thereto to

terminate such Executory Contract or Unexpired Lease or to exercise any other default-related

rights with respect thereto. Notwithstanding anything to the contrary in the Plan, the Debtors or

the Reorganized Debtors, as applicable, reserve the right, with the consent of the Required




                                                76
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1120 of 1639
                                                                         1120



Consenting Stakeholders, to alter, amend, modify, or supplement the Assumed Executory

Contracts and Unexpired Leases Schedule and the Rejected Executory Contracts and Unexpired

Leases Schedule at any time up to forty-five (45) days after the Effective Date, so long as such

allocation, amendment, modification, or supplement is consistent with the Restructuring Support

Agreement and is not otherwise inconsistent with the terms of this Confirmation Order.

        159.   Unless otherwise provided by a Final Order of the Bankruptcy Court, all Proofs of

Claim with respect to Claims arising from the rejection of Executory Contracts or Unexpired

Leases, pursuant to the Plan or this Confirmation Order, if any, must be Filed with the Bankruptcy

Court within thirty (30) days after the later of (1) the date of entry of an order of the

Bankruptcy Court (including this Confirmation Order) approving such rejection, (2) the effective

date of such rejection, or (3) the Effective Date. Any Claims arising from the rejection of an

Executory Contract or Unexpired Lease not Filed with the Bankruptcy Court within such time will

be automatically disallowed, forever barred from assertion, and shall not be enforceable against

the Debtors or the Reorganized Debtors, the Estates, or their property without the need for any

objection by the Reorganized Debtors or further notice to, or action, order, or approval of the

Bankruptcy Court or any other Entity, and any Claim arising out of the rejection of the Executory

Contract or Unexpired Lease shall be deemed fully satisfied, released, and discharged,

notwithstanding anything in the Proof of Claim to the contrary. All Allowed Claims arising from

the rejection of the Debtors’ Executory Contracts or Unexpired Leases shall be classified as

General Unsecured Claims and shall be treated in accordance with Article III.B.7 of the Plan.

        160.   Except as provided in this Confirmation Order, any disputed cure costs shall be

determined in accordance with the procedures set forth in Article V.C of the Plan, and applicable

bankruptcy and nonbankruptcy law.




                                               77
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1121 of 1639
                                                                         1121



LL.     Preservation of Royalty and Working Interests.

        161.   Notwithstanding any other provision in the Plan, on and after the Effective Date,

all Royalty and Working Interests shall remain in full force and effect in accordance with the terms

of the granting instruments or other governing documents applicable to such Royalty and Working

Interests. Royalty and Working Interests shall not be modified, affected or impaired in any manner

by any provision of the Plan or this Confirmation Order, including but not limited to any injunctive

or stay relief, and the legal and equitable rights, interests, defenses, and obligations of holders of

Royalty and Working Interests, with respect to such Royalty and Working Interests, shall not be

modified, affected or impaired in any manner by the provisions of the Plan or this Confirmation

Order; provided that, to the extent applicable, any Other Secured Claims, General Unsecured

Claims, or Administrative Claims of holders of Royalty and Working Interests shall be treated in

accordance with Articles II and III of the Plan. Nor shall the Plan or this Confirmation Order

modify, affect or impair the rights and defenses of the Debtors or the Reorganized Debtors with

respect to the Royalty and Working Interests. The Debtors’ and the Reorganized Debtors’ rights

to dispute the amounts owing on account of Royalty and Working Interests and to assert that

prepetition Claims for such amounts have been discharged by the Plan or this Confirmation Order

are expressly preserved and reserved. Nothing in the Plan or this Confirmation Order shall be

deemed a finding or determination as to whether any such amount owed by the Debtors or the

Reorganized Debtors on account of Royalty and Working Interests is a Claim or a specific type of

Claim, if the amount has been discharged, or to what extent (if any) funds held by the Debtors or

the Reorganized Debtors or subject to their control, with respect to which funds any holder of a

Royalty and Working Interest has asserted or may assert a right of entitlement or ownership on

account of such Royalty and Working Interest, constitute property of any of the Estates under

section 541 of the Bankruptcy Code or otherwise; provided, however, that any determination with


                                                 78
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1122 of 1639
                                                                         1122



respect to the foregoing shall be made by the Bankruptcy Court. All parties’ rights are preserved

and reserved with respect to such findings or determinations; provided that, to the extent

applicable, any Administrative Claims, Other Secured Claims or General Unsecured Claims of

holders of Royalty and Working Interests on account of Royalty and Working Interests shall be

treated in accordance with Article II or III of the Plan, as appropriate.

        162.   Notwithstanding anything in the Plan or this Confirmation Order to the contrary,

the Debtors or the Reorganized Debtors shall continue paying all undisputed amounts owing on

account of Royalty and Working Interests, including with respect to suspense funds as and when

reconciled, in the ordinary course of business and in accordance with all applicable agreements

and laws.

        163.   Nothing in the Plan or this Confirmation Order shall affect the Debtors’ or the

Reorganized Debtors’ obligations to comply with all federal, state and local laws, rules and

regulations with respect to Royalty and Working Interests and holders thereof, including, without

limitation, laws, rules and regulations regarding inspection of books and records and segregation

or escrow of funds or production proceeds belonging and/or payable to holders of Royalty and

Working Interests.

MM. Provisions Regarding Certain Governmental Unit Liabilities.

        164.   Nothing in this Confirmation Order or the Plan discharges, releases, precludes, or

enjoins: (i) any liability to any Governmental Unit that is not a Claim; (ii) any Claim of a

Governmental Unit arising on or after the Confirmation Date; (iii) any police or regulatory liability

to a Governmental Unit that any Entity would be subject to as the owner or operator of property

after the Confirmation Date; or (iv) any liability to a Governmental Unit on the part of any

non-Debtor. For the avoidance of doubt, all Claims under police or regulatory law for penalties

for days of violations prior to the Effective Date, or for off-site waste disposal prior to the


                                                 79
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1123 of 1639
                                                                         1123



Effective Date shall be subject to Article II and III of the Plan and treated in accordance with the

Plan in all respects. Nor shall anything in this Confirmation Order or the Plan enjoin or otherwise

bar a Governmental Unit from asserting or enforcing, outside this Bankruptcy Court, any liability

described in the preceding sentence; provided that the Bankruptcy Court retains jurisdiction to

determine whether police or regulatory liabilities asserted by any Governmental Unit or other

entity are discharged or otherwise barred by this Confirmation Order, the Plan, or the Bankruptcy

Code. Nothing in this Confirmation Order or the Plan divests any tribunal of any jurisdiction it

may have under police or regulatory law to interpret this Confirmation Order or the Plan to

adjudicate any defense asserted relating to the liabilities and/or Claims set forth in this paragraph.

Nothing in this Confirmation Order or the Plan shall authorize the transfer or assignment of any

Governmental Unit (i) license, (ii) permit, (iii) registration, (iv) authorization, (v) certification, or

(vi) approval, or the discontinuation of any obligation thereunder, without compliance with all

applicable nonbankruptcy legal requirements under police or regulatory law.

        165.    Notwithstanding anything to the contrary in the Plan, Plan Supplement, or this

Confirmation Order, the Debtors must meet the requirements of 11 U.S.C. § 365, to the extent

applicable, before assuming (or assuming and assigning) any interests in contracts, leases,

covenants, operating rights agreements, rights-of-use and easements, rights-of-way or other

agreements: (a) with the federal government; (b) involving (i) federal land or minerals or (ii) lands

or minerals held in trust for federally-recognized Indian tribes or Indian individuals

(together, “Indian Landowners”); or (c) held by such Indian Landowners in fee with federal

restriction on alienation (collectively, the “Federal Leases”). Further, no sale, assignment, and/or

transfer of Federal Lease may take place pursuant to this Confirmation Order, the Plan, or the Plan

Supplement absent the consent of the U.S. Department of the Interior (“DOI”), including any of




                                                   80
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1124 of 1639
                                                                         1124



its components, and any applicable Indian Landowner as provided for in applicable

non-bankruptcy laws and regulations; provided, further, that Debtors also must meet the

requirements of 11 U.S.C. § 365, to the extent applicable, before any such sale, assignment, and/or

transfer of any Federal Lease.

        166.   For the avoidance of doubt and without limiting the foregoing, any assignment

and/or transfer of any interests in the Federal Leases will be ineffective absent the consent of the

DOI to the extent required by the Federal Leases. Nothing in the Plan or Plan Supplement shall

be interpreted to set cure amounts or require the United States to novate, approve or consent to the

sale, assignment and/or transfer of any interests in the Federal Leases except pursuant to existing

regulatory requirements and applicable law.

        167.   Notwithstanding anything to the contrary in the Plan, Plan Supplement, or this

Confirmation Order, the Debtors, Reorganized Debtors, and/or any assignee(s) or transferee(s)

agree to comply with all applicable bankruptcy and non-bankruptcy law with respect to the

Federal Leases, and nothing in this Confirmation Order shall otherwise affect the

decommissioning and financial assurance obligations of the Debtors, Reorganized Debtors, and/or

the assignee(s) or transferee(s), as applicable, under the Federal Leases and non-bankruptcy law.

        168.   Notwithstanding anything to the contrary in the Plan, Plan Supplement, or this

Confirmation Order, the United States will retain and have the right to audit and/or perform any

compliance review and, if appropriate, collect from the Debtor(s), Reorganized Debtor(s), and/or

the transferee(s) or assignee(s), as applicable, in full any additional monies owed by the Debtor

prior to the assumption and/or assignment of the Federal Leases without those rights being

adversely affected by these bankruptcy proceedings. Such rights shall be preserved in full as if

this bankruptcy had not occurred. The Debtors, Reorganized Debtors, and/or the transferee(s) or




                                                81
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1125 of 1639
                                                                         1125



assignee(s), as applicable, will retain all defenses and/or rights, other than defenses and/or rights

arising from these bankruptcy proceedings, to challenge any such determination: provided,

however, that any such challenge, including any challenge associated with these bankruptcy cases,

must be raised in the United States’ administrative review process leading to a final agency

determination by DOI. The audit and/or compliance review period shall remain open for the full

statute of limitations period established by the Federal Oil and Gas Royalty Simplification and

Fairness Act of 1996, 30 U.S.C. § 1702, et seq.

        169.   Notwithstanding anything to the contrary in the Plan, Plan Supplement, or this

Confirmation Order, nothing shall affect a Governmental Unit’s setoff and recoupment rights or

Debtors’, Reorganized Debtors’, and/or any assignee(s)’ or transferee(s)’ defenses thereto;

provided that all rights and defenses of the Debtors and Reorganized Debtors under applicable

nonbankruptcy laws, regulations, and rules concerning any Governmental Unit’s setoff or

recoupment rights are expressly reserved and preserved.

NN.     Provisions Regarding SEC.

        170.   Notwithstanding any provision herein to the contrary, no provision of the Plan, or

any order confirming the Plan, (i) releases any non-Debtor Person or Entity (including any

Released Party) from any Claim or Cause of Action of the United States Securities and Exchange

Commission (the “SEC”) or (ii) enjoins, limits, impairs, or delays the SEC from commencing or

continuing any Claims, Causes of Action, proceedings, or investigations against any non-Debtor

Person or Entity (including any Released Party) in any forum.

OO.     Provisions Regarding the United States Department of Justice.

        171.   Notwithstanding anything to the contrary in this Confirmation Order, the applicable

Reorganized Debtors named as defendants in the following consent decrees and agreements shall

continue to be bound by their terms:


                                                  82
KE 71402552
    Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1126 of 1639
                                                                           1126



                            the Consent Decree between the United States of America, on behalf of the
                            United States Environmental Protection Agency, and the State of
                            West Virginia, on behalf of the West Virginia Department of
                            Environmental Protection, as plaintiffs, and Chesapeake Appalachia, LLC,
                            as defendant, entered by the United States District Court for the Northern
                            District of West Virginia on March 11, 2014, Civ. Action No. 5:13-cv-170
                            (N.D. W. Va.);

                            the Consent Decree and Environmental Settlement Agreement (as may be
                            amended, modified, or supplemented from time to time) executed by
                            Chesapeake Energy Corporation, Chesapeake Exploration, L.L.C., and
                            Chesapeake Appalachia, LLC (collectively “Chesapeake”) on December 1,
                            2020, between the United States of America, on behalf of the United States
                            Environmental Protection Agency, and Chesapeake relating to alleged
                            Clean Air Act (CAA) claims at 159 oil and natural gas production facilities
                            in Ohio following both execution by the United States of America, on behalf
                            of the United States Environmental Protection Agency and
                            Bankruptcy Court approval; and

                            the Consent Decree (as may be amended, modified, or supplemented from
                            time to time) executed by Chesapeake Appalachia LLC (“CALLC”) on
                            December 30, 2020, between the United States of America, on behalf of the
                            United States Environmental Protection Agency, and the Commonwealth
                            of Pennsylvania Department of Environmental Protection, as plaintiffs, and
                            CALLC, as defendant, resolving alleged violations by CALLC of Sections
                            301(a) and 404 of the Clean Water Act, 33 U.S.C. §§ 1311(a) & 1344, and
                            alleged violations of The Clean Streams Law, Act of June 22, 1937, as
                            amended, 35 P.S. §§ 691.1-691.1001; the Dam Safety and Encroachments
                            Act, Act of November 26, 1978, P.L. 1375, as amended, 32 P.S. §§ 693.1-
                            693.28; the 2012 Oil and Gas Act, Act of February 14, 2012 P.L. 87 No. 13,
                            58 Pa C.S. §§ 3201-3274; Section 1917-A of the Administrative Code of
                            1929, Act of April 9, 1929, P.L. 177, as amended, 71 P.S. § 510-17; and the
                            rules and regulations promulgated thereunder following execution by all
                            parties, Bankruptcy Court approval of Debtors’ entry into the Consent
                            Decree, and District Court approval of the Consent Decree.

PP.       Provisions Regarding Certain Texas Taxing Authorities.

          172.     Notwithstanding anything to the contrary in the Plan or this Confirmation Order,

with respect to the Claims of the Texas Taxing Authorities5 under the Texas Tax Code (the “Texas


5
      For purposes of this Confirmation Order, the term “Texas Taxing Authorities” shall mean Angelina County,
      Atascosa County, Bastrop County, Bexar County, Brazos County, Burleson County Tax Office, Cherokee
      County, Cherokee County Appraisal District, Cotulla ISD, Crosby Independent School District, Culberson
      County-Allamoore ISD, Cypress - Fairbanks ISD, DeWitt County, Dilley ISD, Dimmit County, Ellis County,
      Fayette County Appraisal District Tax Office, Fort Bend County, Franklin ISD, Frio Hospital District, Gainesville


                                                          83
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1127 of 1639
                                                                         1127



Taxing Authority Claims”), (a) to the extent the Texas Tax Code provides for interest and/or

penalties with respect to any portion of the Texas Taxing Authority Claims, such interest and/or

penalties shall be included in the Texas Taxing Authority Claims, (b) the liens, if any, securing the

Texas Taxing Authority Claims shall be retained until the applicable Texas Taxing Authority

Claims are paid in full, and (c) the Debtors or the Reorganized Debtors, as applicable, shall pay

Allowed Texas Taxing Authority Claims on the later of (i) the date the Texas Taxing Authority

Claims become due pursuant to the Texas Tax Code and in the ordinary course of business (subject

to any applicable extensions, grace periods, or similar rights under the Texas Tax Code) and (ii) the

Effective Date (or as soon as reasonably practicable thereafter).

        173.    All rights and defenses of the Debtors and the Reorganized Debtors under

non-bankruptcy law are reserved and preserved with respect to such Texas Taxing Authority

Claims. The Texas Taxing Authorities’ lien priority, if any, shall not be primed or subordinated

by the Exit Facilities if approved by the Bankruptcy Court in conjunction with the Confirmation

of the Plan or otherwise. In the event of a default in the payment of the Texas Taxing Authority

Claims as provided herein, the Texas Taxing Authorities shall provide notice to counsel for the

Reorganized Debtors who shall have twenty (20) days from the date of such notice to cure the

default. If the default is not cured, the Texas Taxing Authorities shall be entitled to pursue

collection of all amounts owed pursuant to state law outside the Bankruptcy Court. Failure to pay


    ISD, Galveston County, Gause Independent School District c/o Milam County Tax Office, Goliad County,
    Grayson County, Grey County Tax Office, Gregg County, Hansford County Tax Office, Harris County, Harrison
    Central Appraisal District, Harrison County, Hood CAD, Houston CAD, Houston County Tax Office, Irion
    County, Jasper County, Jim Wells CAD, Karnes City ISD, Karnes County Tax Office, LaSalle County, Lee
    County, Liberty County, Madison County, Matagorda County, McMullen County, Midland Central Appraisal
    District, Midland County, Milam County, Montgomery County, Morris CAD, Nacogdoches County, Nueces
    County, Orange County, Panola County, Parker CAD, Pearsall ISD, Polk County, Red River CAD, Red River
    County, Reeves County Tax District, Reeves County, Robertson County, Rusk County, Sabine County, San
    Augustine County, Shelby County, Sheldon Independent School District, Smith County, Tarrant County, Tom
    Green CAD, Tyler County, Upshur County, Washington County, Webb CISD, Wood County, Zapata County,
    Zavala CAD.



                                                    84
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1128 of 1639
                                                                         1128



the 2020 ad valorem taxes prior to the state law delinquency date shall constitute an event of default

only as to the relevant Texas Taxing Authority. Notwithstanding any provision in the Plan or this

Confirmation Order to the contrary, to the extent the Proofs of Claims relating to the Texas Taxing

Authority Claims have not already been amended the Texas Taxing Authorities may amend their

respective Proofs of Claims once the current year’s ad valorem taxes are actually assessed without

further agreement with the Debtors or Reorganized Debtors (as applicable) or leave of the

Bankruptcy Court for approval to amend their Proofs of Claims; provided that no such Proofs of

Claim may be amended or supplemented after January 30, 2021 at 5:00 p.m. prevailing Central

Time. The Debtors’ and the Reorganized Debtors’ (as applicable) rights and defenses under

applicable law and the Bankruptcy Code with respect to the foregoing, including their right to

dispute or object to the Texas Taxing Authority Claims and liens, are fully preserved.

QQ.     Provisions Regarding Certain Texas State Agencies.

        174.   Nothing in this Confirmation Order, Plan, or any Plan Supplement releases,

nullifies, precludes or enjoins the enforcement of any police or regulatory liability to the Texas

Commission on Environmental Quality or the Railroad Commission of Texas arising from or

related to the enforcement of any applicable police or regulatory law or regulation to which any

entity would be subject to as the owner or operator of property from and after the Effective Date

of the Plan. Nothing in this Confirmation Order, Plan, or Plan Supplement authorizes the transfer

or assignment of any governmental (a) license, (b) permit, (c) registration, (d) authorization or

(e) approval, or the discontinuation of any obligation thereunder, without compliance with all

applicable legal requirements and approvals under police and regulatory law.

        175.   Nothing in the Plan or in this Confirmation Order shall be deemed to be a finding

that fees payable by the Debtors or the Reorganized Debtors to the Texas Commission on

Environmental Quality or the Railroad Commission of Texas, or royalty payments payable by the


                                                 85
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1129 of 1639
                                                                         1129



Debtors or the Reorganized Debtors to the Texas General Land Office are, or will be, considered

taxes under applicable non-bankruptcy law. Moreover, such fees or royalty payments shall not be

classified as taxes under the terms of the Plan or for any other purpose.

RR.     Provisions Regarding Surety Bond Obligations.

        176.   Notwithstanding any other provisions of the Plan, this Confirmation Order, or any

other order of the Bankruptcy Court, on the Effective Date, all rights and obligations of any party

related to (i) the Debtors’ current surety bonds (each, a “Surety,” and collectively, the “Surety

Bonds”) maintained in the ordinary course of business; (ii) any surety payment and indemnity

agreements, setting forth the Surety’s rights against the Debtors, and the Debtors’ obligations,

among other things, to pay and indemnify the Surety from any loss, cost, or expense that the Surety

may incur, in each case, on account of the issuance of any surety bonds on behalf of the Debtors;

(iii) any Surety collateral; (iv) Surety collateral agreements governing collateral, if any, in

connection with the Debtors’ Surety Bonds; and/or (v) ordinary course premium payments to the

Surety for the Debtors’ Surety Bonds (collectively, the “Surety Bond Program” and the Debtors’

obligations arising therefrom, the “Surety Bond Obligations”) shall be reaffirmed and ratified by

the applicable Reorganized Debtors and continue in full force and effect and are not discharged,

released or precluded by the Plan in any way. For the avoidance of doubt, Debtors’ Surety Bond

Obligations are reaffirmed and will continue without regard to any stated cure amount. On the

Effective Date, all liens, security interests and claims, if any, arising under or granted pursuant to

or in connection with the Surety Bond Program shall be valid, binding, perfected, enforceable liens

and security interests with the priorities established in respect thereof under applicable non-

bankruptcy law and the common law of suretyship, and shall not be enjoined or subject to

discharge, impairment, release, avoidance, recharacterization, or subordination or similar

encumbrance under any applicable law, the Plan, or this Confirmation Order. Nothing in this


                                                 86
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1130 of 1639
                                                                         1130



Confirmation Order or the Plan or otherwise shall be deemed to limit any Surety’s right to draw

on any collateral. It shall not be necessary for any Surety to “opt out” of any release provisions

required under the Plan to receive any rights granted under this paragraph. The Surety Bond

Program and all Surety Bond Obligations related thereto shall be treated by the Reorganized

Debtors and the Surety in the ordinary course of business as if the Chapter 11 Cases had not been

commenced; and in furtherance thereof, in the event that any of the Surety Bond Obligations cease

to be in effect upon the Effective Date for reasons other than their expiration or termination in

accordance with the terms of the applicable agreements, the Reorganized Debtors and the

applicable Surety shall execute the documents that are necessary to reinstitute such Surety Bond

Obligations, including, without limitation, the indemnity obligations thereunder, as such Surety

Bond Obligations were in effect immediately prior to the Effective Date; provided, however, that

nothing in the foregoing shall be deemed to alter, limit, modify or expand any such Surety Bond

Obligations. For the avoidance of any doubt, with a reservation of rights to all parties, and only to

the extent applicable, any agreements related to the Surety Bond Program are assumed by the

Debtors and the Reorganized Debtors pursuant to section 365 of the Bankruptcy Code upon the

Effective Date. Nothing in the Plan or this paragraph shall affect in any way the Surety’s rights

against any non-Debtor, or any non-Debtor’s rights against the Surety, including under the Surety

Bond Program or with regard to the Surety Bond Obligations.

SS.     Provisions Regarding the Commonwealth of Pennsylvania, Department of Revenue
        and the Texas Comptroller of Public Accounts.

        177.   Notwithstanding any provision to the contrary in the Plan, this Confirmation Order,

and the Plan Supplement, nothing shall:        (a) require the Commonwealth of Pennsylvania,

Department of Revenue (“Department”) or the Texas Comptroller of Public Accounts

(“Texas Comptroller”) to file an Administrative Claim in order to receive payment for any liability



                                                 87
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1131 of 1639
                                                                         1131



described in 11 U.S.C. §§ 503(b)(1)(B) and 503(b)(1)(C); (b) affect the rights of the Department

or the Texas Comptroller to assert setoff and recoupment under section 553 of the Bankruptcy

Code or the Debtors’ or Reorganized Debtors’ defenses thereto and such rights are expressly

preserved and shall not be altered or impaired; (c) affect the ability of the Department or the

Texas Comptroller to pursue any non-Debtors to the extent allowed by non-bankruptcy law for

any liabilities that may be related to any state tax liabilities owed to the Department or the

Texas Comptroller by the Debtors and the Reorganized Debtors; and (d) affect the imposition of

the Department realty transfer tax against all transfers made prior to the confirmation of the Plan

as provided for under 11 U.S.C. § 1146(a); and (e) allow the Debtors and the Reorganized Debtors

to estimate the Department’s or the Texas Comptroller’s claims beyond what is provided and

allowed for in 11 U.S.C. § 502(c).

        178.   Further, notwithstanding any provision to the contrary in the Plan, this

Confirmation Order, and Plan Supplement, (a) any Allowed Secured Claim of the Department

shall be paid as provided for in 11 U.S.C. § 1129(a)(9)(D) and the Department shall retain its tax

lien(s) and be paid the present value of its claim (including interest) as provided for in 11 U.S.C.

§ 1129(b)(2); (b) any Allowed Unsecured Priority Claim of the Department or the

Texas Comptroller shall be paid in cash of its total value (including interest) as provided for in

11 U.S.C. § 1129(a)(9)(C); (c) the Bankruptcy Court shall retain exclusive jurisdiction regarding

the Department’s or the Texas Comptroller’s Claims to the extent permissible under applicable

federal law; and (d) as required under 11 U.S.C. § 1123(a)(5)(G), upon the Debtors or the

Reorganized Debtors failure to comply with any provision in the Plan or this Confirmation Order

regarding their tax obligations, the Department, the Texas Comptroller, and other government

entities, with written notice and following an opportunity by the Debtors or Reorganized Debtors,




                                                88
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1132 of 1639
                                                                         1132



as applicable, to cure such default within thirty (30) days of such notice, may exercise any and all

rights and remedies under state law, including but not limited to usual state tax collection

procedures, or under federal law.

        179.   The following provisions of this Confirmation Order will govern the treatment of

the Texas Comptroller concerning the duties and responsibilities of the Debtors and the

Reorganized Debtors relating to all unclaimed property presumed abandoned (the “Texas

Unclaimed Property”) under Texas Property Code, Title 6, Chapters 72-76 and other applicable

Texas laws (the “Texas Unclaimed Property Laws”):

        180.   The Debtors and the Reorganized Debtors remain subject to the continuing

reporting and remitting requirements of the Texas Unclaimed Property Laws for the Texas

Unclaimed Property. On or within thirty (30) days after the Effective Date, the Debtors shall

review their books and records and turn over to the Texas Comptroller all known Texas Unclaimed

Property presumed abandoned before the Petition Date and reflected in property reports delivered

by the Debtors to the Texas Comptroller under the Texas Unclaimed Property Laws (the “Reported

Texas Unclaimed Property”). With respect to such Reported Texas Unclaimed Property, the Texas

Comptroller will not seek payment of any interest or penalty by the Debtors or the Reorganized

Debtors. Nothing in the Plan or this Confirmation Order shall convert the Texas Unclaimed

Property to property of the Debtors’ estates or vest such property in the Reorganized Debtors and

the Texas Unclaimed Property shall continue to be held by the Debtors or Reorganized Debtors

until such time it is presumed abandoned, at which time the Texas Unclaimed Property shall be

reported and remitted to the Texas Comptroller in accordance with the Texas Unclaimed Property

Laws.




                                                89
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1133 of 1639
                                                                         1133



        181.   Notwithstanding section 362 of the Bankruptcy Code and the injunction in

Article VIII.F of the Plan, after the Effective Date, the Texas Comptroller and its agents may

commence an audit of the Debtors or the Reorganized Debtors, as applicable, in accordance with

the Texas Unclaimed Property Laws (the “Texas Unclaimed Property Audit”) and pursue recovery

of any unremitted Texas Unclaimed Property identified pursuant to the Texas Unclaimed Property

Audit. To the extent reasonably practicable, the Debtors and the Reorganized Debtors shall fully

cooperate with the Auditors to enable them to accurately and timely perform the Texas Unclaimed

Property Audit by making the entities’ employees, professionals, books, and records reasonably

available during normal business hours. Upon completion of the Texas Unclaimed Property Audit,

the Texas Comptroller will promptly inform the Debtors or the Reorganized Debtors, as applicable,

that such audit is complete. The Debtors and Reorganized Debtors shall continue to comply with

Texas Unclaimed Property Laws regarding retention of records.

        182.   The Debtors’, Reorganized Debtors’ and Texas Comptroller’s rights and defenses

with respect to any allegations, pending matters, and/or claims asserted against the Debtors or

Reorganized Debtors, as applicable, arising from or relating to the Texas Unclaimed Property

Audit are hereby reserved and preserved, and Article IV.T of the Plan shall not apply to the Texas

Comptroller or any Texas Unclaimed Property; provided, however, that upon agreement between

the Debtors or the Reorganized Debtors and the Texas Comptroller or a final nonappealable

determination by a court or other tribunal with jurisdiction as to the amount of unremitted Texas

Unclaimed Property, if any, that is due in connection with the Texas Unclaimed Property Audit,

the Debtors or the Reorganized Debtors shall turn over such unremitted Texas Unclaimed Property

to the Texas Comptroller.




                                               90
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1134 of 1639
                                                                         1134



        183.      The Texas Comptroller may amend any Proofs of Claim in these Chapter 11 Cases

following the Effective Date as a result of the filing of any property reports or in the ordinary

course of the Texas Unclaimed Property Audit.

        184.      Nothing herein precludes Debtors and Reorganized Debtors from compliance with

continued obligations pursuant to Texas Unclaimed Property Laws.

TT.     Provisions Regarding the Commonwealth of Pennsylvania, Department of
        Environmental Protection.

        185.      On the Effective Date, the applicable Reorganized Debtors that are signatories to

the following Consent Orders and Agreements (“COA”) between Debtors and the Commonwealth

of Pennsylvania, Department of Environmental Protection (“PA DEP”) shall continue to be bound

by their terms:

                         the COA executed on May 16, 2011, between PA DEP and Debtor CALLC
                         relating to the Paradise Road, Sugar Run, and Vargson gas migration areas;

                         the COA executed on June 21, 2011, between PA DEP and Debtor CALLC
                         relating to the Fitzsimmons wetland mitigation site;

                         the COA executed on December 12, 2016, between PA DEP and Debtor
                         CALLC relating to the Lambert Farms 2H gas well (Permit Number
                         113-20016);

                         the COA executed on August 28, 2019, between PA DEP and Debtor
                         CALLC relating to the Rexford 2H well (Permit Number 015-20871) and
                         the Rexford 5H well (Permit Number 015-20865);

                         the COA executed on September 20, 2019 between PA DEP and Debtor
                         CALLC relating to the Heartwood 1 well (Permit Number 083-53842), the
                         Heartwood 2 well (Permit Number 083-53843), and the Heartwood 3H well
                         (Permit Number 083-55327); and

                         the COA executed on December 7, 2020 between PA DEP and CALLC,
                         relating to the Hess 1 well (015-20111) in Bradford County, the Arch Pot
                         5H well (105-21804) in Potter County, and the DGSM 5H well (015-21559)
                         in Bradford County.




                                                 91
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1135 of 1639
                                                                         1135



        186.   On the Effective Date, the applicable Reorganized Debtors shall be bound by the

obligations, if any, under the proceeding initiated by the Compliance Order issued by PA DEP on

September 25, 2020, and appealed on October 23, 2020, relating to the DBC well pad in Beaver

County.

        187.   On the Effective Date, the applicable Reorganized Debtors shall be bound by the

obligations, if any, under the proceeding initiated by the Administrative Order issued by PA DEP

on May 22, 2020, amended on June 12, 2020, and appealed on June 17, 2020, directing Chesapeake

Energy Corporation and CALLC, in part, to (a) submit and identify certain information pertaining

to the well sites where there are potential permit and regulatory violations; (b) submit a Corrective

Action Plan to correct all violations described in the Administrative Order; (c) implement the

approved Corrective Action Plan; and (d) inspect and take return to compliance actions with regard

to post construction stormwater management at the well sites.

UU.     Provisions Regarding the Commonwealth of Pennsylvania, Department of
        Conservation and Natural Resources.

        188.   The Debtors and certain of their affiliates are parties to two (2) oil and gas leases

(collectively, the “PA DCNR Leases”), to which the Commonwealth of Pennsylvania Department

of Conservation and Natural Resources (“PA DCNR”) is a party. The terms of this paragraph shall

apply only to PA DCNR and the PA DCNR Leases. Notwithstanding anything to the contrary in

the Plan, Plan Supplement, or this Confirmation Order, this Confirmation Order shall not be, and

shall not be construed as, a determination of the cure amount, if any, required to satisfy the

provisions of sections 365(b)(1)(A) and 365(b)(1)(B) of the Bankruptcy Code for the assumption

of the PA DCNR Leases. The Debtors or Reorganized Debtors, as applicable, and PA DCNR shall

endeavor in good faith to reach agreement as to any defaults of amounts owed under the PA DCNR

Leases, including as set forth in Claim No. 4617, within one hundred and eighty (180) days



                                                 92
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1136 of 1639
                                                                         1136



following the Effective Date. If the Debtors or Reorganized Debtors, as applicable, and PA DCNR

fail to reach such agreement, either the Debtors or Reorganized Debtors, as applicable, or PA

DCNR may, upon notice to the Debtors or Reorganized Debtors or PA DCNR, as applicable,

request a hearing before the Bankruptcy Court for the determination thereof. Otherwise, the

Debtors or Reorganized Debtors, as applicable, and PA DCNR expressly reserve their respective

rights regarding any contracts, leases, covenants, operating rights agreements or other interests or

agreements between the Debtors or Reorganized Debtors, as applicable, and the PA DCNR,

including but not limited to the PA DCNR Leases, which shall be paid, treated, determined, and

administered in the ordinary course of business following the Effective Date in accordance with

applicable bankruptcy and nonbankruptcy law. Nothing in this Confirmation Order shall otherwise

affect the financial assurance obligations of the Debtors, Reorganized Debtors, and/or the

assignee(s) or transferee(s), as applicable, under the PA DCNR Leases and non-bankruptcy law.

Notwithstanding anything to the contrary in the Plan, Plan Supplement, or this Confirmation

Order, the PA DCNR will retain and have the right as provided in the PA DCNR Leases to

audit/and or perform any compliance review of the PA DCNR Leases without those rights being

adversely affected by these bankruptcy proceedings.

        189.   Nothing in this Confirmation Order or the Plan discharges, releases, precludes, or

enjoins: (i) any liability to the PA DCNR that is not a Claim; (ii) any Claim of the PA DCNR

arising on or after the Confirmation Date; or (iii) any liability to PA DCNR on the part of any

non-Debtor.

VV.     Provisions Regarding Chubb.

        190.   Notwithstanding anything to the contrary in this Confirmation Order, the

Disclosure Statement, the Plan, any Plan Supplement, the Restructuring Support Agreement, the

Restructuring Term Sheet, any bar date notice or claim objection, any other document related to


                                                93
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1137 of 1639
                                                                         1137



any of the foregoing or any other order of the Bankruptcy Court (including, without limitation, any

other provision that purports to be preemptory or supervening, grants an injunction, discharge or

release, confers Court jurisdiction or requires a party to opt out of any releases):

                       on the Effective Date the Reorganized Debtors shall be deemed to have
                       assumed all expired and unexpired Insurance Policies that have been issued
                       or entered into at any time by ACE American Insurance Company, Federal
                       Insurance Company, ESIS, Inc., and/or each of their U.S.-based affiliates
                       and successors (collectively, the “Chubb Companies”) in their entirety
                       pursuant to sections 105 and 365 of the Bankruptcy Code (the “Chubb
                       Insurance Policies”);

                       all Chubb Insurance Policies shall re-vest in the Reorganized Debtors,
                       unaltered, other than that on and after the Effective Date, the Reorganized
                       Debtors shall be liable for all debts, obligations, and liabilities of the
                       Debtors (and, after the Effective Date, of the Reorganized Debtors) under
                       the Chubb Insurance Policies, regardless of when such debts, obligations,
                       and liabilities arise, without the need or requirement for any Chubb
                       Company to file a Proof of Claim, an Administrative Claim, a Cure Claim
                       or to object to any cure amount, and thereafter the Reorganized Debtors
                       may, subject to the terms of the Chubb Insurance Policies and applicable
                       non-bankruptcy law, resolve any Claims covered by the Chubb Insurance
                       Policies, resolve any Causes of Action, if any, in connection with the Chubb
                       Insurance Policies, and collect any and all outstanding deposits, restricted
                       cash, and letters of credit, if any, related thereto;

                       nothing shall alter, modify, amend, affect, impair or prejudice the legal,
                       equitable or contractual rights, obligations, and defenses of the Chubb
                       Companies, the Debtors (or, after the Effective Date, the Reorganized
                       Debtors), or any other individual or entity, as applicable, under any Chubb
                       Insurance Policies; and

                       the automatic stay of Bankruptcy Code section 362(a) and the injunctions
                       set forth in Article VIII of the Plan, if and to the extent applicable, shall be
                       deemed lifted without further order of this Bankruptcy Court, solely to
                       permit: (I) claimants with valid workers’ compensation claims or direct
                       action claims against a Chubb Company under applicable non-bankruptcy
                       law to proceed with their claims; (II) the Chubb Companies to administer,
                       handle, defend, settle, and/or pay, in the ordinary course of business and
                       without further order of this Bankruptcy Court, (A) workers’ compensation
                       claims, (B) claims where a claimant asserts a direct claim against any Chubb
                       Company under applicable non-bankruptcy law, or an order has been
                       entered by this Bankruptcy Court granting a claimant relief from the
                       automatic stay to proceed with its claim, and (C) all costs in relation to each
                       of the foregoing; and (III) the Insurers to cancel any Chubb Insurance


                                                 94
KE 71402552
    Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1138 of 1639
                                                                           1138



                           Policies, and take other actions relating thereto, to the extent permissible
                           under applicable non-bankruptcy law, and in accordance with the terms of
                           the Chubb Insurance Policies.

WW. Provisions Regarding the Petty Entities.

         191.     Notwithstanding any language to the contrary contained in the Plan, the Disclosure

Statement, or this Confirmation Order, the postpetition royalty, revenue interests, and other

obligations owing to the Petty Entities6 in the leases between PBE as lessor and Chesapeake

Exploration L.L.C. as lessee as well as any operating agreement between Chesapeake Exploration

L.L.C. and/or Chesapeake Operating L.L.C. as operator and Petty Energy L.P. (the “Subject Oil

and Gas Leases”), along with all liens, rights and other interests of the Petty Entities in and related

thereto, will survive confirmation of the Plan, with the stipulation that the procedures established

in paragraphs 192 through 194 of this Confirmation Order will govern the quantum and secured

status of the prepetition claim of the Petty Entities.

         192.     The Petty Entities’ prepetition claims against the Debtors under the Subject Oil and

Gas Leases will be determined both as to quantum and as to secured status by this Bankruptcy

Court in the Adversary Proceeding entitled Petty Business Enterprises, L.P. v. Chesapeake

Exploration, L.L.C. (In re Chesapeake Energy Corporation), pending in the United States

Bankruptcy Court for the Southern District of Texas, Houston Division (the “Adversary”), along




6
     Petty Business Enterprises, L.P. (“PBE”), Petty Energy L.P., Petty Grandchildren’s 2007 Trust, Susan Petty
     Arnim 2009 Trust, Scott James Petty 2009 Trust, Joan L. Petty 2009 Trust, Scott James Petty, Joan L. Petty,
     Susan Petty Arnim, Petty Group LLP, Ferncliff Investments, L.P., Scott Petty, Jr. and Eleanor O. Petty, Susan
     and Thomas Arnim, Eleanor O. Petty, and The Petty Family Limited Partnership, LLP, Baptist Foundation of
     Texas, Reagan Tucker, III, Mary Tucker and Rodney Huff, Chad Huff, Heather Huff Boyle, Noel Petty Minerals,
     Ltd., Petty O&G Management, LLC, Dabney Noel Petty Trust, Laney Fuhrmann, individually and as Executrix
     of the Estate of Carl Fuhrmann, Jr, Charles Fuhrmann, Debra G. Newmann Fuhrmann, Richard Fuhrmann, F.G.
     Brown and Joan H. Brown Revocable Trust, F.G. Brown and Joan H. Brown, Co-Trustees, Nelta K. Hill, David
     Law, Gerry Law, Jr., and Olivia Kornelis are defined as the “Petty Entities,” (each, a “Petty Entity”) for purposes
     of this Confirmation Order.



                                                          95
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1139 of 1639
                                                                         1139



with the Petty claims under the Subject Oil and Gas Leases against the non-Debtor defendants,

which is scheduled for trial some time in February of 2021.

        193.   Notwithstanding any language to the contrary contained in the Plan, the Disclosure

Statement, or this Confirmation Order, in the event that this Bankruptcy Court rules in the

Adversary (whether through settlement or through litigation) that any such prepetition claim of the

Petty Entities or any individual Petty Entity against the Debtors is secured (“Allowed Secured

Claim”), then such Allowed Secured Claim of such Petty Entity shall be treated as a Class 1 “Other

Secured Claim” entitled to payment in full. Such payment shall be satisfied first, with funds held

in escrow for the benefit of the Petty Entities (the “Escrow Funds”) and second, from the Debtors’

or Reorganized Debtors’ consolidated cash accounts, including but not limited to that certain

Master Funding Account ending in account number 1568 with JP Morgan Chase Bank, N.A., of

Chesapeake Energy Corporation. Further, notwithstanding any language to the contrary contained

in the Plan, the Disclosure Statement or this Confirmation Order, the Petty Entities do not release

any or all of the non-Debtor defendants in the Adversary.

        194.   On the Effective Date, the Debtors shall assume the executory contracts relating to

the Petty Entities, including those executory contracts listed on Exhibit A of Petty’s Reservation

of Rights and Limited Objection to the Debtors’ Notice of Assumed Contracts, the Schedule in the

Debtors’ Plan Supplement, and Associated Cure Amounts [Docket No. 2114] (the “Petty

Contracts”). Notwithstanding anything in the Plan, Plan Supplement, or Confirmation Order to

the contrary, the Plan and Confirmation Order shall not be, and shall not be construed as or deemed

to be, a determination of the cure amount or compensation, if any required to satisfy the provisions

of sections 365(b)(1)(A) and 365(b)(1)(B) of the Bankruptcy Code (the “Petty Cure Amount”) for

the assumption of the Petty Contracts. To the extent that any amounts owed relating to the Petty




                                                96
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1140 of 1639
                                                                         1140



Contracts are not paid in the ordinary course of business, the Debtors or Reorganized Debtors, as

applicable, and the Petty Entities shall endeavor in good faith to reach agreement as to the Petty

Cure Amount within one hundred and eighty (180) days following the Effective Date and if such

agreement is reached may, but need not, file a stipulation with the Bankruptcy Court setting forth

the agreed Petty Cure Amount. If the Reorganized Debtors and the Petty Entities fail to reach an

agreement as to the Petty Cure Amount within such one hundred and eighty (180) day period,

either the Reorganized Debtors or the Petty Entities may, upon notice to the Reorganized Debtors

or the Petty Entities as applicable, request a hearing before the Bankruptcy Court for the

determination of the Petty Cure Amount. For purposes of determining the Petty Cure Amount, the

effective date of assumption shall be the Effective Date. Nothing herein shall prejudice the Petty

Entities’ right to oppose assumption and/or assignment of any Executory Contracts between the

Debtors and the Petty Entities, or the Debtors’ or the Reorganized Debtors’ right to add any Petty

Contract to the list of rejected executory contracts if the Bankruptcy Court determines that the

Petty Cure Amount is greater than the amount set forth in any applicable cure notice. Nothing

herein shall prejudice (a) the Petty Entities’ right to assert an Administrative Claim for any

postpetition obligation owed to the Petty Entities in accordance with applicable law, or (b) the

Debtors’ or the Reorganized Debtors’ right to dispute such Claim. To the extent that any Petty

Contract is assumed, such assumption shall result in the release and satisfaction of only those

Claims that are based on an actual default existing as of the Petition Date with respect to such

assumed Petty Contract. Otherwise, each of the Petty Entities, the Debtors, and the Reorganized

Debtors expressly retain all of their rights and obligations under the Petty Contracts.

XX.     Provisions Regarding Mitsui E&P USA LLC.

        195.   Notwithstanding anything in this Confirmation Order or Article V.A of the Plan to

the contrary, in connection with the assumption of contracts to which Mitsui E&P USA LLC or its


                                                 97
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1141 of 1639
                                                                         1141



affiliates (collectively, “Mitsui”) are a party, including, without limitation, any gas imbalance

agreements or any other gas balancing arrangements under operating agreements between Mitsui

and Chesapeake Appalachia LLC, all of the parties’ rights relating to gas imbalances (including

pursuant to which Mitsui might be an underproducing party) that have arisen or may arise under

such agreements, including prior to the Petition Date, shall be preserved following the

Effective Date.

YY.     Provisions Regarding Chevron U.S.A. Inc.

        196.   Notwithstanding anything to the contrary in the Plan, this Confirmation Order, or

any other order entered in these Chapter 11 Cases, the Debtors’ agreements with Chevron U.S.A.

Inc., its subsidiaries and/or its affiliates (“Chevron,” and all the Debtors’ agreements with Chevron,

collectively, the “Chevron Agreements”) shall be deemed assumed and affirmed upon the

occurrence of the Effective Date. The Debtors and Reorganized Debtors shall continue to have

and perform the obligations, if any, under the Chevron Agreements in accordance with their

terms. Subject to Section 365(e) of the Bankruptcy Code in connection with these Chapter 11

Cases, all rights and claims of the parties under the Chevron Agreements are expressly preserved

and nothing in, about or related to these Chapter 11 Cases (including but not limited to the

Confirmation of the Plan and the entry of this Confirmation Order) shall prevent the parties from

maintaining, asserting or pursuing any right, claim or defense against the other party arising under

the Chevron Agreements (including but not limited to audit rights or claims arising from any

audit). Further, the Debtors may have obligations to Chevron for payment of royalty interests and

payments of revenues related to various shared working interests. All such obligations, if any, are

unaffected and not impaired by the Plan, this Confirmation Order or any other order entered in

these Chapter 11 Cases. Notwithstanding anything to the contrary in the Plan, this Confirmation

Order, or any other order entered in these Chapter 11 Cases, nothing in, about or related to these


                                                 98
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1142 of 1639
                                                                         1142



Chapter 11 Cases (including, but not limited to, the confirmation of the Plan and entry of this

Confirmation Order) releases any entity from any claim, defense or Cause of Action of Chevron.

For the avoidance of doubt, Chevron is deemed to have opted out of the releases set forth in Article

VIII.D of the Plan, and Chevron shall not be a “Released Party” or otherwise receive any benefits

of the releases.

ZZ.     Provisions Regarding Archrock Partners Operating LLC.

        197.       Notwithstanding anything contained in the Plan, the Plan Supplement, or this

Confirmation Order to the contrary, the Archrock Contracts (as defined below) are assumed under

the Plan, and the Debtors and Reorganized Debtors, as applicable, shall pay Archrock Partners

Operating LLC (“Archrock”) all postpetition and post-Effective Date amounts owed to Archrock

in the ordinary course of business, pursuant to the following contracts, and further provide that if

there is any dispute regarding such postpetition or post-Effective Date payments to Archrock,

Archrock may file a proof of Administrative Claim with the Bankruptcy Court, and the rights of

Archrock and the Debtors with respect to such proof of Administrative Claim and payments related

thereto are reserved and preserved:

                         Master Compression Services Agreement dated January 1, 2008, between
                         Archrock (as successor in interest to Exterran, Inc., and Exterran Energy
                         Solutions, L.P.) and Chesapeake Energy Company;

                         Amendment No. 1 to Master Compression Services Agreement dated
                         July 23, 2015, between Chesapeake Energy Company, properly known as
                         Chesapeake Energy Corporation and Archrock, successor in interest to
                         EXLP Operating LLC, as assignee of Exterran Energy Solutions, L.P.;

                         Novation and Amendment of the Master Compression Services Agreement
                         dated September 29, 2018, between Chesapeake Operating, L.L.C. and
                         Archrock;

                         Scope of Work agreement (Contract No. CW2254551) dated effective
                         December 3, 2018, between Chesapeake Operating, L.L.C. and Archrock;
                         and



                                                 99
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1143 of 1639
                                                                         1143



                      Seventy Seven (77) Schedule “A” pursuant to which Archrock provides
                      compression services at 77 service locations (and together with “A” through
                      “E”, collectively, the “Archrock Contracts”). The seventy-seven (77)
                      Schedule “A” are further detailed in Exhibit “A” to Archrock’s limited
                      objection filed at ECF No. 2097.

AAA. Provisions Regarding Liberty Mutual Insurance Company.

        198.   For the avoidance of doubt, all Insurance Policies issued by Liberty Mutual

Insurance Company and any and all of its affiliates for the benefit of the Debtors will be deemed

unexpired Insurance Policies as described in Article V.E of the Plan and shall be treated as such

in accordance with Article V.E thereunder.

BBB. Provisions Regarding Madison Hendrix, Traci Hendrix, Norma Lyn Maldonado,
     Erika Beddingfield, Linda Milanovich, Justin Cobb, and Kristine Cobb (collectively,
     the “Plaintiffs”).

        199.   Plaintiffs are parties to the lawsuits styled as follows: (i) Madison Hendrix,

Individually, and as the Personal Representative of the Estate of Brad Hendrix v. Chesapeake

Energy Corporation, CC Forbes, LLC, Forbes Energy Services, L.L.C., Eagle PCO LLC,

Wildhorse Resources Management Company, LLC, Cause No. DC-20-06798; (ii) Traci Hendrix,

Individually and as Next of Kin to the Estate of Bradley Hendrix, Deceased v. Chesapeake Energy

Corporation, Chesapeake Operating LLC, Forbes Energy Services Delaware LLC, C.C. Forbes,

LLC, Forbes Energy Services Ltd., A&L Hot Oil Service, Inc., and SDS Petroleum Consultants,

LLC, Cause No. DC-20-06937; (iii) Norma Lyn Maldonado, Individually and As Representative

of the Estate of Brian Amador Maldonado, Deceased v. Chesapeake Operating, L.L.C.,

Chesapeake Energy Corporation, SDS Petroleum Consultants, L.L.C., A&L Hot Oil Service, Inc.,

Eagle PCO, L.L.C., Forbes Energy Services, Ltd., C.C. Forbes, L.L.C., Cause No. DC-20-06809;

(iv) Erika Beddingfield, Individually and As Next Friend of M.B., a Minor, and As Representative

of the Estate of Windell Beddingfield, Deceased, v. Chesapeake Energy Corporation, Chesapeake

Operating, L.L.C., Forbes Energy Services, Ltd., C.C. Forbes, L.L.C., Forbes Services, LLC, A&L


                                              100
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1144 of 1639
                                                                         1144



Hot Oil Service, Inc., and SDS Petroleum Consultants, LLC, Cause No. DC-20-07024; and

(v) Linda Milanovich, Justin Cobb, Individually and as Next Friend of M.C. and R.C., Minors, and

Kristine Cobb, Individually and as Next Friend of K.C. and M.C., Minors v. Chesapeake Energy

Corporation, et al., Cause No. DC-20-06977 (collectively, the “Pending Claims”).

        200.   Notwithstanding anything to the contrary in either the Plan, the Plan Supplement,

this Confirmation Order, or any other order of the Bankruptcy Court, beginning January 4, 2021,

nothing shall stay, enjoin, modify or impair Plaintiffs’ respective rights to pursue the MDL

Proceeding (defined below) and the Pending Claims to final judgment, including any appeals and

to collect from the proceeds of any available insurance policies on any judgment rendered;

provided, however, that any recovery on the Pending Claims will be enforceable only (i) against

proceeds of any applicable insurance policies and, if necessary, Plaintiffs may take legal action

against the insurance companies which have issued the policies to obtain the policy proceeds

and/or enforce the rights of the Debtors against the insurance companies issuing the policies; or

(ii) as an unsecured prepetition claim against the Debtors subject the provisions of the Plan.

Plaintiffs’ respective Proofs of Claim shall be allowed in an amount equal to the amount of any

final, non-appealable judgment in the above-referenced cases or settlement resolving the claims,

less the amount of proceeds of the policies received by the Plaintiffs on account of such judgment

or settlement, if any. Plaintiffs are each hereby granted relief from the automatic stay imposed

under section 362 by the Bankruptcy Code to pursue the claims and causes of action described in

this paragraph as well as to pursue the joint motion filed by Plaintiffs and Chesapeake Energy

Corporation, Chesapeake Operating, LLC to transfer the Texas actions, along with certain other

actions, to a single pretrial court for coordinated pretrial proceedings in the action styled as styled

In re Wendland Well Cases, pending with the Supreme Court of Texas Judicial Panel on




                                                 101
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1145 of 1639
                                                                         1145



Multidistrict Litigation No. 20-0286 (the “MDL Proceeding”). Each of the Plaintiffs hereby opts

out of the Third-Party Release provided under Section VII.D of the Plan.

        201.   For the avoidance of doubt, nothing in the Plan, the Plan Supplement, or this

Confirmation Order, including specifically section VI.K.2 of the Plan, shall, with respect to the

Pending Claims, give any insurance carrier any defense as to coverage that does not otherwise

exist under applicable non-bankruptcy law, and no such carrier may rely on the Plan, Plan

Supplement, or this Confirmation Order to assert any defense or avoidance of any coverage of the

Pending Claims.

CCC. Provisions Regarding Repsol Oil & Gas USA, LLC

        202.   Notwithstanding anything to the contrary in the Plan, this Confirmation Order, any

other order of the Bankruptcy Court entered on or before the Effective Date or any other applicable

law, the following provisions shall apply to the Debtors’ relations with Repsol Oil & Gas USA,

LLC and its affiliates (collectively, “Repsol”):

                      The Debtors and Repsol are co-tenants and/or parties to certain joint
                      operating agreements and other related agreements with respect to certain
                      natural resources operations (collectively, the “Repsol Agreements”). The
                      terms of this paragraph shall apply only to Repsol and the Repsol
                      Agreements. Within thirty (30) days of the entry of this Confirmation
                      Order, the Debtors or the Reorganized Debtors, as applicable, agree to
                      provide Repsol with an accounting (the “Repsol Accounting”) for unpaid
                      royalties or other amounts, if any, due under the Repsol Agreements, which
                      accounting shall, inter alia, provide Repsol with sufficient information in
                      order to determine the appropriate balance, if any, of any Claim or
                      Administrative Claim Filed by Repsol. Repsol shall have thirty (30) days
                      following the receipt of the Repsol Accounting to amend any Claims and to
                      file Administrative Claims in relation to the Repsol Agreements.
                      The Debtors agree that the assumption of the Repsol Agreements in
                      accordance with the Plan or other order of this Bankruptcy Court shall be
                      subject to the requirement that Debtors’ or the Reorganized Debtors’, as
                      applicable, provide the Repsol Accounting. The Plan, this Confirmation
                      Order or any related order shall not be, and shall not be construed as, a
                      determination of the cure amount, if any, required to satisfy section
                      365(b)(1) of the Bankruptcy Code for the assumption of any Repsol
                      Agreements and all parties reserve all rights with respect to the calculation


                                               102
KE 71402552
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1146 of 1639
                                                                            1146



                           of any cure amount(s) owed to Repsol with respect to the Repsol
                           Agreements. The parties agree the cure amount with respect to any of the
                           assumed Repsol Agreements shall be as agreed to by the parties or pursuant
                           to further Order of Court if no agreement can be reached. To the extent the
                           Repsol Accounting is not provided on an timely basis as set forth above,
                           Repsol shall be entitled to seek an extension of any deadline for amending
                           any timely filed Proofs of Claims or filing or amending any Administrative
                           Claims and such extension of time can be pursuant to an agreement between
                           Repsol and any of the Debtors or Reorganized Debtors without the need for
                           further approval by the Bankruptcy Court.

                           Subject to Section 365(e) of the Bankruptcy Code in connection with these
                           Chapter 11 Cases, all rights, claims, interests, and defenses of the parties
                           under the Repsol Agreements are expressly reserved and nothing in, about
                           or related to these Chapter 11 Cases (including but not limited to the
                           Confirmation of the Plan and the entry of this Confirmation Order) shall
                           prevent the parties from maintaining, asserting or pursuing any right, claim,
                           interest, or defense against the other party arising under the Repsol
                           Agreements, including any disputes over title ownership to property related
                           to the Repsol Agreements.

DDD. Provisions Regarding the Graves Peeler Heirs.

          203.     Notwithstanding anything in the Plan to the contrary, the Plan does not dispose of

the following interpleader proceeding initiated by Chesapeake Operating, L.L.C. and Chesapeake

Exploration, L.L.C., which is now pending in the 343rd Judicial District Court, McMullen County,

Texas:           Chesapeake     Operating,     L.L.C.     et   al.   v.    7PL   Minerals     Ltd.,    et   al.,

Cause No. M-17-008-CV-C (the “Interpleader Action”).7                     The rights of the parties to the

Interpleader Action with regard to ownership, division, and allocation of the registry proceeds at

issue in the Interpleader Action are reserved, and such registry proceeds will be distributed in

accordance with a final, non-appealable order issued in the Interpleader Action or a final settlement

agreement signed by all parties to the Interpleader Action. The Debtors and twenty-one royalty

owners (the “Graves Peeler Heirs”) party to the Interpleader Action agree that (a) (i) any claims



 7
      Consolidated with Armadillo E&P, Inc. et al. v. Shannon Dylan Pearcy, Trustee of the Shannon Family Trust,
      et al., Cause No. M-17-0034-CV-B in the 156th Judicial District Court, McMullen County, Texas.



                                                        103
KE 71402552
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1147 of 1639
                                                                            1147



filed in these cases by the Graves Peeler Heirs8 will be satisfied solely from funds deposited in the

Bankruptcy Court registry, (ii) the Graves Peeler Heirs will not seek to recover any other or

additional amounts from the Debtors or the Reorganized Debtors, as applicable, and (iii) any

Proofs of Claims filed by the Graves Peeler Heirs shall be deemed disallowed and expunged from

the claims registrar upon entry of this Confirmation Order; and (b) the Debtors will not seek to

recover for their estates the registry proceeds at issue in the Interpleader Action in a manner

inconsistent with a final, non-appealable order issued in the Interpleader Action or a final

settlement agreement signed by all parties to the Interpleader Action.

EEE. Provisions Regarding Targa Pipeline Mid-Continent WestOK LLC.

          204.     The Debtors and certain of their affiliates are parties to certain executory contracts

(collectively, the “Targa Agreements”), to which the Targa Pipeline Mid-Continent WestOK LLC

(“Targa”) is a party. Nothing in this Confirmation Order, the Plan, or the Plan Supplement shall

prejudice or impact the rights of Targa to seek indemnification from Debtors for any postpetition

claim for which Debtors may be obligated to provide indemnification pursuant to any Targa

Agreements that the Debtors assume (the “Targa Indemnification Rights”). All rights, interests,

claims, defenses, objections, and remedies of the Debtors and Targa in relation to the Targa

Indemnification Rights are reserved.

FFF. Provisions Regarding Credit Agricole.

          205.     All letters of credit issued by Credit Agricole Corporate and Investment Bank

(“Credit Agricole”) pursuant to the Revolving Credit Facility Credit Agreement that are

outstanding and not cash collateralized prior to the Effective Date shall be (i) replaced by new

letters of credit issued on the Effective Date under the Exit RBL Facility, (ii) backstopped with


 8
      The following Proofs of Claim have been filed in the chapter 11 case of Chesapeake Exploration, L.L.C.: Claim
      Nos. 12692, 12695, 12697, 12698, 12700 – 12706, 12708 – 12711, 12713 – 12718.



                                                        104
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1148 of 1639
                                                                         1148



another letter of credit issued on the Effective Date under the RBL Exit Facility, or (iii) cash

collateralized on the Effective Date pursuant to, with respect to clauses (ii) and (iii), customary,

bilateral arrangements and documentation entered into by the applicable Debtors and acceptable

to the issuer of such letters of credit.

GGG. Provisions Regarding Marathon Oil Company.

        206.    The Debtors and certain of their affiliates are parties to certain executory contracts

(collectively, the “Marathon Agreements”), to which Marathon Oil Company (together with any

affiliates, “Marathon”) is a party. Notwithstanding anything in the Plan, the Plan Supplement, or

this Confirmation Order to the contrary, the Plan and this Confirmation Order shall not be, and

shall not be construed as or deemed to be, a determination of the cure amount, if any, required to

satisfy the provisions of sections 365(b)(1)(A) and 365(b)(1)(B) of the Bankruptcy Code with

respect to the assumption of the Marathon Agreements (the “Marathon Cure Amount”). The

Debtors or Reorganized Debtors, as applicable, and Marathon shall endeavor in good faith to reach

agreement as to the Marathon Cure Amount within one hundred and eighty (180) days following

the Effective Date. If the Debtors or Reorganized Debtors, as applicable, and Marathon fail to

reach an agreement as to the Marathon Cure Amount within such one hundred and eighty (180)

day period, either the Debtors or Reorganized Debtors, as applicable, or Marathon may, upon

notice to the Debtors or Reorganized Debtors or Marathon, as applicable, request a hearing before

the Bankruptcy Court for the determination of the Marathon Cure Amount.

        207.    For purposes of determining the Marathon Cure Amount, the effective date of

assumption shall be the Effective Date. Nothing herein shall prejudice Marathon’s right to oppose

assumption and/or assignment of any Executory Contracts between the Debtors and Marathon, or

the Debtors’ or the Reorganized Debtors’ right to add any Marathon Agreements to the Rejected

Executory Contracts and Unexpired Leases Schedule if the Bankruptcy Court determines that the


                                                 105
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1149 of 1639
                                                                         1149



Marathon Cure Amount is greater than the amount set forth in the Plan Supplement. Nothing

herein shall prejudice (a) Marathon’s right to assert an Administrative Claim for, inter alia, any

postpetition obligation owed to Marathon in accordance with applicable law, or (b) the Debtors’

or the Reorganized Debtors’ right dispute such Claim. To the extent that any Marathon Agreement

is assumed, such assumption shall result in the release and satisfaction of all prepetition Claims

arising under the Marathon Agreement. Otherwise, Marathon expressly retains all of its rights

under the Marathon Agreements.

        208.   Notwithstanding anything in the Plan, the Plan Supplement, or this Confirmation

Order to the contrary, the Plan and this Confirmation Order shall not alter (a) the character of

Marathon’s mineral interests or proceeds related thereto under applicable nonbankruptcy law, or

(b) any of Marathon’s statutory liens, consensual liens, defenses, rights of setoff or recoupment to

the extent such rights exist under the Marathon Agreements or applicable law. Marathon shall be

deemed to opt-out of the Third-Party Release.

HHH. Provisions Regarding EOG Resources, Inc.

        209.   The Debtors and certain of their affiliates are parties to certain executory contracts

(collectively, the “EOG Agreements”), to which EOG Resources, Inc. (together with any

affiliates, “EOG”) is a party. Notwithstanding anything in the Plan, the Plan Supplement, or this

Confirmation Order to the contrary, the Plan and this Confirmation Order shall not be, and shall

not be construed as or deemed to be, a determination of the cure amount, if any, required to satisfy

the provisions of sections 365(b)(1)(A) and 365(b)(1)(B) of the Bankruptcy Code with respect to

the assumption of the EOG Agreements (the “EOG Cure Amount”). The Debtors or Reorganized

Debtors, as applicable, and EOG shall endeavor in good faith to reach agreement as to the EOG

Cure Amount within one hundred and eighty (180) days following the Effective Date. If the

Debtors or Reorganized Debtors, as applicable, and EOG fail to reach an agreement as to the EOG


                                                106
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1150 of 1639
                                                                         1150



Cure Amount within such one hundred and eighty (180) day period, either the Debtors or

Reorganized Debtors, as applicable, or EOG may, upon notice to the Debtors or Reorganized

Debtors or EOG, as applicable, request a hearing before the Bankruptcy Court for the

determination of the EOG Cure Amount.

        210.   For purposes of determining the EOG Cure Amount, the effective date of

assumption shall be the Effective Date. Nothing herein shall prejudice EOG’s right to oppose

assumption and/or assignment of any Executory Contracts between the Debtors and EOG, or the

Debtors’ or the Reorganized Debtors’ right to add any EOG Agreements to the Rejected Executory

Contracts and Unexpired Leases Schedule if the Bankruptcy Court determines that the EOG Cure

Amount is greater than the amount set forth in the Plan Supplement. Nothing herein shall prejudice

(a) EOG’s right to assert an Administrative Claim for, inter alia, any postpetition obligation owed

to EOG in accordance with applicable law, or (b) the Debtors’ or the Reorganized Debtors’ right

dispute such Claim. To the extent that any EOG Agreement is assumed, such assumption shall

result in the release and satisfaction of all prepetition Claims arising under the EOG Agreement.

Otherwise, EOG expressly retains all of its rights under the EOG Agreements.

        211.   Notwithstanding anything in the Plan, the Plan Supplement, or this Confirmation

Order to the contrary, the Plan and this Confirmation Order shall not alter (a) the character of

EOG’s mineral interests or proceeds related thereto under applicable nonbankruptcy law, or

(b) any of EOG’s statutory liens, consensual liens, defenses, rights of setoff or recoupment to the

extent such rights exist under the EOG Agreements or applicable law. EOG shall be deemed to

opt-out of the Third-Party Release.

III.    Provisions Regarding Eric Petroleum Corporation and Eric Petroleum Utica, LLC.

        212.   Notwithstanding anything to the contrary in the Plan or this Confirmation Order,

confirmation of the Plan shall not operate as an injunction or stay with respect to the non-monetary


                                                107
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1151 of 1639
                                                                         1151



relief sought by Eric Petroleum Corporation and Eric Petroleum Utica, LLC in the lawsuit that is

pending in the Court of Common Pleas of Columbiana County, Ohio, docketed as Case

No. 2019-CV-536 (the “Ohio Litigation”), or in any related proceeding or appeal involving the

Asset Sale Agreement that is the subject of the Ohio Litigation, including Case No. 2020 CO 0020

currently pending before the Court of Appeals of Ohio, Seventh Appellate District. Furthermore,

nothing in the Plan or this Confirmation Order shall operate as a stay or injunction to prevent

Eric Petroleum Corporation and Eric Petroleum Utica, LLC from pursuing any and all relief to

which they may be entitled in the Ohio Litigation against all non-Debtor parties. For the avoidance

of doubt, to the extent that Eric Petroleum Corporation and Eric Petroleum Utica, LLC have

monetary claims against the Debtors, including those asserted in the Ohio Litigation, those will

remain subject to the Plan and will be resolved as part of the Claims resolution process.

JJJ.    Provisions Regarding BPX Operating Company.

        213.   Notwithstanding anything in the Plan to the contrary, the Plan does not dispose of

the following concursus proceedings initiated by BPX Operating Company and its affiliates, which

are now pending in the State of Louisiana:

                      BHP Billiton Petroleum Properties (N.A.), L.P., et al. v. Rives Plantation,
                      LLC, et al., No. 583940-A, First Judicial District Court, Caddo Parish, LA;

                      BHP Billiton Petroleum Properties (N.A.), L.P., et al. v. Small Fry, LLC,
                      et al., No. 585984-C, First Judicial District Court, Caddo Parish, LA;

                      BHP Billiton Petroleum Properties (N.A.), L.P., et al. v. Hassell
                      Investments, LLC, et al., No. 148,080-A, 26th Judicial District Court,
                      Bossier Parish, LA;

                      BHP Billiton Petroleum Properties (N.A), L.P., et al. v. Hosier Properties,
                      LLC, et al., No. 587,839-A, First Judicial District Court, Caddo Parish, LA;

                      BHP Billiton Petroleum Properties (N.A.), L.P., et al. v. Caspiana Minerals,
                      LLC, et al., No. 156336, 26th Judicial District Court, Bossier Parish, LA;
                      and




                                               108
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1152 of 1639
                                                                         1152



                       BPX Properties (N.A.), L.P., et al. v. Moss and Magnolia, LLC, et al.,
                       No. 161900, 26th Judicial District Court, Bossier Parish, LA
                       (the “BPX Concursus Cases”).

        214.   The rights of the Reorganized Debtors, Debtors, and other parties in the

BPX Concursus Cases with regard to ownership, division and allocation of the registry proceeds

at issue in the BPX Concursus Cases are reserved, pending the resolution and disposition of those

cases. Debtors consent to the withdrawal of the following Proofs of Claim filed by various parties

(the “BPX Registry Claimants”) regarding the registry proceeds in the BPX Concursus Cases:

Proofs of Claim nos. 26, 28, 29, 30 and 31 in the bankruptcy case of Chesapeake Louisiana, LP

(No. 20-33242), and Proofs of Claim Nos. 99, 101, 102, 105 and 106 in the bankruptcy case of

Chesapeake Operating, LLC (No. 20-33249). To the extent said Proofs of Claim are not withdrawn

prior to confirmation, they shall be disallowed as moot and expunged from the claims registrar

upon entry of this Confirmation Order. Any rights asserted by the BPX Registry Claimants as to

the registry proceeds in the BPX Concursus Cases are referred to said cases, subject to resolution

and disposition therein.

KKK. Provisions Regarding Atomic et al. Objectors.

        215.   Notwithstanding anything to the contrary in the Plan or this Confirmation Order,

neither the Plan nor this Confirmation Order shall modify the rights or remedies of Atomic Capital

Minerals, LLC, ACM Fund II, LLC, 2005 Seminar Complex LP, Robert Aiello, Linton Road

Company, LLC, or West Shreve Land Co., LLC (collectively, the “Atomic et al. Objectors”) under

their respective mineral leases as against Chesapeake Operating, L.L.C., Chesapeake Louisiana,

LP or any third parties, including any audit, termination, escrow rights or rights to seek royalty

payment; provided that any prepetition amounts to payment arising from the applicable mineral

leases shall be treated as Claims in accordance with the Plan and postpetition, pre-Effective Date

rights to payment arising on account of such mineral leases due, or that will become due shall be


                                               109
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1153 of 1639
                                                                         1153



treated as Administrative Claims. The Atomic et al. Objectors will be deemed to opt out of the

releases set forth in the Plan, and shall not be Releasing Parties thereunder.

LLL. Provisions Regarding Cactus Wellhead, LLC.

        216.   Notwithstanding anything to the contrary in the Plan, the Plan Supplement, or this

Confirmation Order, any amounts due and owing by the Debtors to Cactus Wellhead, LLC

(“Cactus”) for services provided after the Petition Date shall be paid by the Debtors or the

Reorganized Debtors, as applicable, in the ordinary course of business, and Cactus reserves all

rights to assert an Administrative Claim related thereto.

MMM.           Provision Regarding CoVal-BRP.

        217.   Notwithstanding anything to the contrary in the Plan or this Confirmation Order,

the Plan shall not operate as an injunction with respect to the non-monetary relief sought by Coval

Leasing Co. L.L.C. (“CoVal”), BRP, LLC (together with CoVal, “CoVal-BRP”), or the Debtors

in the pending state court litigation styled Coval Leasing Company L.L.C. et al. v. Chesapeake

Louisiana, LP, Chesapeake Operating, L.L.C., Empress Louisiana Properties, LP, and EMLP,

L.L.C., Cause No. 81354-A, 42nd Judicial District Court, DeSoto Parish, Louisiana (the “LA State

Court Litigation”). Monetary claims or awards in favor of the CoVal-BRP for prepetition amounts

are waived. Monetary claims or awards in favor of the CoVal-BRP arising from the LA State

Court Litigation for postpetition but pre-Effective Date amounts, if any, shall be subject to the

procedures set forth in the Plan for Administrative Claims. The Debtors reserve all rights to

remove the LA State Court Litigation to federal court, and CoVal-BRP reserve all arguments

regarding removal and remand.

NNN. Provision Regarding USA Compression Partners, LLC.

        218.   Notwithstanding anything to the contrary in the Plan or this Confirmation Order,

the Debtors shall perform their postpetition obligations under all contracts (the “USAC Contracts”)


                                                110
KE 71402552
    Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1154 of 1639
                                                                           1154



with USA Compression Partners, LLC and its affiliates (collectively, “USAC”) in the ordinary

course of business; provided that the Debtors and USAC reserve their respective rights and

defenses regarding the USAC Contracts and such rights and defenses are unaffected by the Plan.

OOO. Provision Regarding PMBG Client Group.

         219.     Notwithstanding anything contained in this Confirmation Order or the Plan to the

contrary, the terms, conditions, provisions, rights, and privileges set forth in the oil and gas leases

between any PMBG Client Group9 member and any Debtor, inclusive of any predecessor in

interest thereto, (the “PMBG Leases”), together with all applicable statutory authorities, shall be

unaffected by any provision of the Plan, except as it relates to the payment, release, and discharge

of the Claims (if any) of any member of the PMBG Client Group. Specifically, the extent, validity,

and priority of the Allowed Claim, if any, of each member of the PMBG Client Group shall be

determined either by the agreement of the applicable PMBG Client Group member and the

applicable Debtor or by final non-appealable order of the Bankruptcy Court. All Allowed Claims

of the PMBG Client Group determined to be Secured shall be paid in full in Cash within seven



9
     (i) Kelly Vesper, individually, and as Trustee of the Kelly Vesper Heritage Trust, and as Executrix of the Estate
     of John B. Vesper, Deceased and as Executrix of the Estate of Leslie T. Vesper, Deceased; (ii) Gates Mineral
     Company, Ltd., Gates Production Company EF, LLC, Donald G. Elliott, Jannifer M. Elliott, David B. Elliott,
     Richard J. Gates, Linda A. Pederson, Louise G. Davis, Thomas A. Gates, Terri S. Gates, and Kevin Kennedy,
     Guardian of the Estate and Person of Laura I. Gates; (iii) Leojua Ltd.; (iv) Blackstone Dilworth, Frances Diane
     Dilworth Gates, Joya Minerals, LP, Anthony Aguilar, Horacio Saenz, David Ortiz, Paul Dirks, Executor of the
     Estate of Frances Dilworth, deceased, Joseph Blackstone Dilworth, III, Thomas A. Gates, Jr., Louise Dilworth
     Davis, Trustee of the Louise Dilworth Davis 2006 Trust, Frost Bank, Trustee for the J.C. Dilworth, III, Generation
     Skipping Trust for the benefit of Eric Davis, Frost Bank, Trustee for the J.C. Dilworth, III, Generation Skipping
     Trust for the benefit of Daniel Davis, Frost Bank, Trustee for the J.C. Dilworth, III, Generation Skipping Trust
     for the benefit of Serena Davis, Frost Bank, Trustee for the J.C. Dilworth, III, Generation Skipping Trust for the
     benefit of Michelle Davis; (v) MBF Holdings La Salle LP, formerly MBF Partnership; (vi) Dan W. Kinsel III,
     individually, and as Trustee of the 2009 Dan and Leslie Kinsel Children’s Trust, Leslie Kinsel, individually, and
     Karl Gene Kinsel, Individually, and as Trustee of the 2009 Karl Gene Kinsel Child’s Trust; (vii) Leighton Arthur
     Wier, Ronald Hargis Wier, Vicki Grace Gilbert, Max Harris Wier III, Sims Family Limited Partnership, Elizabeth
     Sims Hufft, Terry Lewis as Executor of the Estate of Diana Rose Sims Lewis, deceased, and James Edward
     Sheldon individually and as Executor of the Estate of Kay L. Sheldon (a.k.a. Catherine Lilley Sheldon), deceased;
     (viii) Gabriela N. Gallagher, Robert A. Haynes, Ralph A. Wright, Maria Del Rosario Hickle, James Adrian Jones,
     Thomas R. Sheppard, Jr., Todd Whalen, Tracy J. Power, Peter R. Villarreal, Jr., Trustees of the Haynes Mineral
     Trust; (ix) Talbert Operations, LLC; and (x) TB Harris Minerals, LP; and their successors or assigns.



                                                         111
KE 71402552
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1155 of 1639
                                                                            1155



business days of entry of a final non-appealable order allowing the Claim.10 All funds escrowed

prepetition in favor of any PMBG Client Group member shall remain escrowed for the benefit of

such PMBG Client Group member and shall be used to satisfy such Allowed Claim, whether

Secured or unsecured, prior to the reversion of such funds, if any, to the applicable Debtor. Except

for those PMBG Client Group members whose Allowed Claims will first be satisfied with

prepetition escrows, all unsatisfied Claims of the PMBG Client Group determined to be

“unsecured” shall be treated as General Unsecured Claims and be paid their pro rata share of the

Unsecured Claims Recovery in accordance with the Plan. For the avoidance of doubt, the

discharge set forth in the Plan and this Confirmation Order shall not limit the PMBG Client

Group’s right to recover on behalf of their Allowed Claims, if any, in accordance with the Plan as

modified by the terms of this paragraph.

          220.     All Claims of the PMBG Client Group for non-monetary relief, including depth and

acreage releases under the terms of the PMBG Leases, whether arising prepetition or post-petition

but pre-Effective Date, shall be treated in accordance with the terms of the applicable PMBG Lease

and Texas law in the ordinary course of business. The resolution of any dispute regarding

performance (including depth and acreage releases) under the terms of the PMBG Leases between

any PMBG Client Group member and any Chesapeake Debtor (whether as direct counterparty or

assignee) shall be resolved in accordance with the terms and conditions of the applicable PMBG

Lease in the venue provided for in the applicable PMBG Lease or, as appropriate, applicable Texas

law. Notwithstanding anything to the contrary in this Confirmation Order or the Plan, the Debtors,




10
      The payment of the Allowed Secured Claim of a PMBG Client Group member shall be from whatever source
      within the Debtors and Reorganized Debtors’ funds including, but not limited to the consolidated Cash accounts
      of the Debtors and Reorganized Debtors.



                                                        112
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1156 of 1639
                                                                         1156



the Reorganized Debtors, and the PMBG Client Group each reserve all claims, rights, and defenses

with respect to the PMBG Leases and all ancillary documents, except as provided herein.

        221.     The PMBG Client Group shall be deemed to have opted out of the Third-Party

Release contained in Article VIII.D of the Plan and expressly reserves the right to pursue the

enforcement of their rights under the PMBG Leases against such third parties.

PPP. Provision Regarding Core Laboratories LP.

        222.     Notwithstanding anything in any Plan, Disclosure Statement, Plan Supplement,

Schedule of Assumed Executory Contracts and Unexpired Leases, Schedule of Rejected Executory

Contracts and Unexpired Leases, this Confirmation Order or otherwise, and in resolution of the

objection to confirmation [Docket No. 2413] (the “Core Lab Objection”) filed by Core

Laboratories LP (“Core Lab”): (i) to the extent the Data License Agreement dated June 14, 2019,

as well as any and all supplements, supplemental agreements, addenda, product schedules,

purchase orders, amendments, and related agreements connected therewith (the “Core Lab

Agreement”) are deemed rejected by the Debtors pursuant to the Plan as of the Effective Date

thereof, the rights of the Debtors or Reorganized Debtors, as applicable, and Core Lab regarding

the rejection of the Core Lab Agreement with respect to any confidentiality provisions and

retention or the return, destruction and redaction of the data provided thereunder are fully

preserved; and (ii) Core Lab is not a “Releasing Party” as defined by the Plan and is not bound by

such releases.

QQQ. Provision Regarding Louisiana Department of Revenue.

        223.     Notwithstanding any provision of the Plan or this Confirmation Order: (a) the

Louisiana Department of Revenue (the “LDR”) shall not be required to file any request for

payment of an Administrative Claim with respect to liabilities described in 11 U.S.C.

§§ 503(b)(1)(B) and 503(b)(1)(C) as a condition for payment as an administrative expense


                                               113
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1157 of 1639
                                                                         1157



pursuant to § 503(b)(1)(D) of the Bankruptcy Code; (b) the LDR shall be deemed to have opted

out of Third-Party Releases in the Plan and shall not be a “Releasing Party” pursuant to the Plan;

(c) any Allowed Unsecured Priority Claim of the LDR shall be paid in cash of its total value as

provided for in 11 U.S.C. § 1129(a)(9)(C), including interest, if any, at the rate required by

11 U.S.C. § 511; (d) to the extent Allowed Unsecured Priority Claim of the LDR, if any, are not

paid in full in cash on the Effective Date, such Allowed Unsecured Priority Tax Claims shall, at

minimum, be paid by regular, quarterly installment payments (to commence on the first day of the

first calendar quarter following the Effective Date) in cash (including applicable interest) over a

period not to exceed five years from the Petition Date, and for the avoidance of doubt, Article VI.G

of the Plan shall not apply to the LDR; (e) in no event shall timely filed claim of the LDR be

disallowed and/or expunged except in accordance with a properly filed and noticed objection to

such claims with an opportunity to respond and be heard on such objection, and for the avoidance

of doubt, Article VII.D of the Plan shall not apply to the LDR; (f) the rights of the LDR, if any, to

exercise any right of setoff or recoupment permitted under Louisiana law and the Bankruptcy Code

remains unaffected by the Plan, and the Debtors’ or Reorganized Debtors’ defenses thereto are

expressly preserved; (g) nothing in the Plan or this Confirmation Order shall excuse the Debtors

or Reorganized Debtors, as applicable, from any obligation under applicable Louisiana state law

to timely submit returns (including, for the avoidance of doubt, any delinquent returns) which

returns shall be filed by the later of, unless otherwise agreed by LDR in writing (email being

sufficient), (i) 120 days after the Effective Date or (ii) the applicable due date under Louisiana law

and remit payment of taxes in the ordinary course of business; (h) for the avoidance of doubt,

Article VI.B.4 of the Plan shall not apply to the LDR; and (i) to the extent the Debtors or

Reorganized Debtors have any Retained Causes of Action as provided in Exhibit 5 to the Plan




                                                 114
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1158 of 1639
                                                                         1158



Supplement related to the LDR, nothing in this Confirmation Order or the Plan shall restrict,

abridge, or otherwise limit the LDR’s rights or defenses in connection with such Retained Cause

of Action.

RRR. Provision Regarding Murphy Exploration & Production Company-USA.

        224.   Notwithstanding anything in the Plan, Plan Supplement, or this Confirmation Order

to the contrary, the Plan and this Confirmation Order shall not be, and shall not be construed as or

deemed to be, a determination of the cure amount or compensation or adequate protection

(collectively, the “Murphy Cure Amount”), if any, required to satisfy the provisions of sections

365(b)(1)(A)–(C) of the Bankruptcy Code for the assumption of any executory contract

(collectively, the “Murphy Contracts”) relating to Murphy Exploration & Production

Company-USA (together with any affiliates, collectively, “Murphy”). If the Debtors elect to

assume certain Murphy Contracts, the Debtors or Reorganized Debtors, as applicable, shall remain

responsible for all obligations and liabilities of the Debtors arising under such assumed

Murphy Contracts, including but not limited to all obligations pertaining to joint account(s) under

any joint operating agreement(s). No such obligation or liability arising under such assumed

Murphy Contracts shall be limited, diminished, or discharged by the Plan and/or this Confirmation

Order. Furthermore, notwithstanding anything in the Plan, Plan Supplement, or this Confirmation

Order to the contrary, the Plan and this Confirmation Order shall not alter (a) the character of

Murphy’s mineral interests or proceeds related thereto under applicable nonbankruptcy law, or (b)

any of Murphy’s liens, rights of setoff or recoupment to the extent such rights secure an assumed

Murphy Contract.

SSS.    Provision Regarding CNOOC Energy U.S.A. LLC f/k/a OOGC America LLC.

        225.   All the Debtors’ current executory contracts with CNOOC Energy U.S.A. LLC

f/k/a OOGC America LLC (“CEU”) (collectively, the “CEU Agreements”) shall be deemed


                                                115
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1159 of 1639
                                                                         1159



assumed and affirmed upon the occurrence of the Effective Date, and the Debtors and Reorganized

Debtors, as applicable, shall continue to have and perform the obligations, if any, under the

CEU Agreements in accordance with their terms. Nothing in the Plan, Plan Supplement, this

Confirmation Order, or any other order entered in these Chapter 11 Cases, the Plan and

Confirmation Order determines the cure amount or compensation, if any, required to satisfy the

provisions of sections 365(b)(1)(A) and 365(b)(1)(B) of the Bankruptcy Code (the “CEU Cure

Amount”) for the assumption of the CEU Agreements (the “Assumed CEU Agreements”).

CEU, the Debtors, and Reorganized Debtors, as applicable, expressly retain any right, claim or

defense against the other party arising under the Assumed CEU Agreements (including but not

limited to audit rights or claims arising from any audit). The Debtors’ identification of any

agreement with CEU in its Assumed Executory Contracts and Unexpired Schedule is not binding

upon CEU and CEU fully preserves its rights to contest or object that any agreement identified by

the Debtors is not executory, no longer in existence or binding on the parties, and the Debtors

reserve their rights to contest otherwise, if applicable.

TTT. Provisions Regarding Karnes Electric Cooperative.

        226.   Certain of the Debtors and Karnes Electric Cooperative (“Karnes”) are parties to

certain utility contracts (“Karnes Agreements”), to which Crédit Agricole Corporate and

Investment Bank issued an irrevocable transferable standby letter of credit (the “Existing Letter of

Credit”) for the benefit of Karnes to secure Karnes’ provision of utility services. Debtors sought

to replace the Existing Letter of Credit with a new letter of credit (the “Replacement Letter of

Credit”) to be issued by one of the Debtors’ DIP Lenders, and with an agreed upon augmentation

of the amount of the adequate protection account for Karnes under the Order (I) Approving the

Debtors’ Proposed Adequate Assurance of Payment for Future Utility Services, (II) Prohibiting

Utility Providers from Altering, Refusing, of Discontinuing Services, (III) Approving the Debtors’


                                                 116
KE 71402552
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1160 of 1639
                                                                            1160



Proposed Procedures for Resolving Additional Assurance Requests, and (IV) Granting Related

Relief [Docket No. 143].

           227.     Notwithstanding anything to the contrary in the Plan, the Plan Supplement, or this

Confirmation Order, the Replacement Letter of Credit to be issued in favor of Karnes and (a) the

obligations of the Debtors and of the issuer of the Replacement Letter of Credit, as applicable,

arising from the Replacement Letter of Credit and any documentation related thereto and (b) the

rights of the Debtors and Karnes, as applicable, pursuant to the Replacement Letter of Credit and

any documentation related thereto, and the rights of Karnes with respect to the augmented adequate

protection account and with respect to the security deposits previously deposited by Debtor(s), will

not be released or impaired by or under the Plan, any amendment or supplement to the Plan, or

any other provision of this Confirmation Order.

UUU. Provisions Regarding Seismic Licensors.

           228.     Nothing in the Plan, this Confirmation Order, any Plan Supplement, any

Cure Notice, or corresponding documents shall or shall be construed to: (i) modify or nullify any

provision of any master license agreement and/or supplemental or other agreement (collectively,

the “Seismic Agreements”) related to seismic, geological or geophysical data, derivatives, or

interpretations thereof, or intellectual property (the “Materials”) between Seitel,11 the

WesternGeco Entities,12 CGG,13 GPI,14 or Fairfield15 (collectively, “Seismic Objectors”) and any

Debtor; and (ii) authorize or permit the assumption and/or assignment of any Seismic Agreements



11
     “Seitel” means collectively Seitel Data, Ltd., Seitel Data Corp., Seitel Offshore Corp., joint venture and other
       affiliates.
12
     The “WesternGeco Entities” means collectively WesternGeco LLC and Vector Seismic Data Processing Inc.
13
     “CGG” means collectively CGG Land (U.S.) Inc. and all of its predecessors in interest.
14
     “GPI” means Geophysical Pursuit, Inc.
15
     “Fairfield” means Fairfield Industries Incorporated d/b/a Fairfield Geotechnologies f/k/a Fairfield Nodal.



                                                           117
KE 71402552
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1161 of 1639
                                                                            1161



between the Seismic Objectors and any Debtor. However, the Reorganized Debtors are authorized

to continue operating under Seismic Agreements and use the Materials in the ordinary course of

business without the payment of any relicensing, transfer or similar fee unless and until any further

order of the Bankruptcy Court rejecting assumption thereof, determining that such fees are owed,

or approving any agreement between the Reorganized Debtors and any of the Seismic Objectors

resolving any of their objections that contemplates the payment of any such fees. Notwithstanding

anything in the Plan, any Plan Supplement, or this Confirmation Order to the contrary, the Plan

and this Confirmation Order shall not be, and shall not be construed as or deemed to be, a

determination of the cure amount or compensation, if any required to satisfy the provisions of

sections 365(b)(1)(A) and 365(b)(1)(B) of the Bankruptcy Code for the assumption and/or

assignment of any Seismic Agreement. It is hereby provided further that all rights and defenses

of the Debtors, the Reorganized Debtors and the Seismic Objectors under bankruptcy and

non-bankruptcy law, and all objections of the Seismic Objectors, and the Debtors’ and

Reorganized Debtors’ rights and defenses with respect thereto, regarding the assumption and/or

assignment of the Seismic Agreements, are reserved and preserved with respect to such

Seismic Agreements. Debtors acknowledge and agree that each of the Seismic Objectors has opted

out of the releases as set forth in the Plan.

           229.    All    issues    pertaining     to   the    assumption      and/or    assignment      of    the

Seismic Agreements shall be set for hearing on January 22, 2021 at 9:00 a.m. (prevailing

Central Time) in the Bankruptcy Court pursuant to all Local Rules.16

VVV. Provision Regarding the Commonwealth of Pennsylvania.




16
     The deadline for filing a reply to the assumption and/or assignment of the Seismic Agreements shall be set for
      January 15, 2021 at 5:00 p.m. (prevailing Central Time).



                                                        118
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1162 of 1639
                                                                         1162



        230.   Nothing in this Confirmation Order, Plan, or any Plan Supplement releases,

nullifies, precludes or enjoins the enforcement of any police or regulatory action by the

Commonwealth of Pennsylvania or the Pennsylvania Office of Attorney General arising from or

related to the enforcement of any applicable police or regulatory law or regulation to which any

entity would be subject to as the owner or operator of property from and after the Effective Date

of the Plan. Nothing in this Confirmation Order, Plan, or Plan Supplement authorizes the transfer

or assignment of any governmental (a) license, (b) permit, (c) registration, (d) authorization or

(e) approval, or the discontinuation of any obligation thereunder, without compliance with all

applicable legal requirements and approvals under police and regulatory law. Nothing in this

Confirmation Order or the Plan will prevent the Commonwealth of Pennsylvania from asserting

that any Claim it has is nondischargeable pursuant to Bankruptcy Code.

        231.   In addition to Article IV.T of the Plan, the following provisions of this

Confirmation Order will govern the treatment of the Commonwealth of Pennsylvania

(“Pennsylvania”) concerning Pennsylvania’s enforcement of police and regulatory powers and the

duties and responsibilities of the Debtors and the Reorganized Debtors relating to all unclaimed

property presumed abandoned (the “Pennsylvania Unclaimed Property”) under the Disposition of

Abandoned and Unclaimed Property Act, 72 P.S. § 1301.1, et seq., and other applicable

Pennsylvania laws (the “Pennsylvania Unclaimed Property Laws”):

        232.   The Debtors and the Reorganized Debtors remain subject to the continuing

reporting and remitting requirements of the Pennsylvania Unclaimed Property Laws for the

Pennsylvania Unclaimed Property. On or within thirty (30) days after the Effective Date, the

Debtors shall review their books and records and turn over to the custodial care of the

Commonwealth, State Treasurer, all known Pennsylvania Unclaimed Property presumed




                                              119
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1163 of 1639
                                                                         1163



abandoned before the Effective Date and reflected in property reports delivered by the Debtors to

Pennsylvania under the Pennsylvania Unclaimed Property Laws (the “Reported Pennsylvania

Unclaimed Property”).      With respect to such Reported Pennsylvania Unclaimed Property,

Pennsylvania will not seek payment of any interest or penalty by the Debtors or the Reorganized

Debtors. Nothing in the Plan or this Confirmation Order shall convert the Pennsylvania Unclaimed

Property to property of the Debtors estates or vest such property in the Reorganized Debtors and

the Pennsylvania Unclaimed Property shall continue to be held by the Debtors or Reorganized

Debtors until such time it is presumed abandoned, at which time the Pennsylvania Unclaimed

Property shall be reported and remitted to the custodial care of the Commonwealth, State

Treasurer, in accordance with the Pennsylvania Unclaimed Property Laws.

        233.   Notwithstanding section 362 of the Bankruptcy Code and any injunction in

Article VIII.F of the Plan, after the Effective Date, Pennsylvania, acting through its State Treasurer

and its agents may commence an audit of the Debtors in accordance with the Pennsylvania

Unclaimed Property Laws (the “Pennsylvania Unclaimed Property Audit”) and pursue recovery

of any unremitted Pennsylvania Unclaimed Property identified pursuant to the Pennsylvania

Unclaimed Property Audit. To the extent reasonably practicable, the Debtors and the Reorganized

Debtors shall fully cooperate with the Auditors to enable them to accurately and timely perform

the Pennsylvania Unclaimed Property Audit by making the entities’ employees, professionals,

books, and records available at reasonable times and upon reasonable notice for review by the

State Treasurer. Upon completion of the Pennsylvania Unclaimed Property Audit, Pennsylvania

will promptly inform the Debtors or the Reorganized Debtors, as applicable, that such audit is

complete, alleviating the Debtors and the Reorganized Debtors of the requirement to retain records

related to the Pennsylvania Unclaimed Property.




                                                 120
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1164 of 1639
                                                                         1164



        234.   The Debtors’, Reorganized Debtors’, and Pennsylvania’s rights and defenses with

respect to any allegations and claims asserted against the Debtors or Reorganized Debtors, as

applicable, arising from or relating to the Pennsylvania Unclaimed Property Audit are hereby

reserved; provided, however, that upon agreement between the Debtors or the Reorganized

Debtors and Pennsylvania or a final nonappealable determination by a court or other tribunal with

jurisdiction as to the amount of unremitted Pennsylvania Unclaimed Property, if any, that is due

in connection with the Pennsylvania Unclaimed Property Audit, the Debtors or the Reorganized

Debtors shall turn over such unremitted Pennsylvania Unclaimed Property to the custodial care of

the Commonwealth, State Treasurer.

        235.   Pennsylvania may file or amend any Proofs of Claim in these Chapter 11 Cases

following the Effective Date as a result of the filing of any property reports or in the ordinary

course of the Pennsylvania Unclaimed Property Audit.

        236.   Nothing herein precludes Debtors and Reorganized Debtors from compliance with

continued obligations pursuant to Pennsylvania Unclaimed Property Laws.

WWW.           Provisions Regarding the TGS Entities.

        237.   Notwithstanding anything to the contrary in the Plan, the Plan Supplement, any

Schedule of Rejected Executory Contracts and Unexpired Leases, any Schedule of Assumed

Executory Contracts and Unexpired Leases, this Confirmation Order, or otherwise, on the

Effective Date, the applicable Debtor will assume all geophysical, geological, well data, petroleum

data, and other license agreements, as well as supplemental and related agreements (the “TGS

License Agreements”) between any of the Debtors and TGS-NOPEC Geophysical Company ASA

and/or its subsidiaries or affiliates, including but not limited to TGS-NOPEC Geophysical

Company, A2D Technologies d/b/a TGS Geological Products & Services, TGS Canada Corp. and

TGS AP Investments AS (collectively, the “TGS Entities”), as well as the following agreements


                                               121
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1165 of 1639
                                                                         1165



between the applicable Debtor and TGS Canada Corp.: (1) Seismic Processing Proposal; Powder

River Basin 3D Merge dated April 25, 2018, as addended via Addendum 1 dated July 18, 2019

and Addendum 2 dated August 2, 2019 (the “PRB Agreement”); and (2) Seismic Processing

Proposal; East Yegua Creek 3D Merge dated July 16, 2020 (the “East Yegua Agreement”; which,

along with the PRB Agreement are collectively referred to as the “TGS Processing Agreements”;

and which along with the TGS License Agreements are referred to hereinafter as the

“TGS Agreements”) under section 365 of the Bankruptcy Code.             As a condition for such

assumption, and in resolution of TGS Canada Corp.’s Limited Objection to Assumption or

Assumption and Assignment of its Processing Agreements With the Debtors, Notice of Opt-Out

Regarding and Objection to Plan Releases, and Reservation Of Rights [Docket No. 2090], the

applicable Debtors and Reorganized Debtors agree and shall be obligated, on and after the

Effective Date and as adequate assurance of future performance, to timely comply with all of the

monetary and non-monetary terms and conditions of the TGS Agreements, including but not

limited to any and all provisions and restrictions regarding use, disclosure, transfer, assignment,

change of ownership or control, and termination thereof; provided that the TGS Entities agree that

confirmation of the Plan and assumption of the TGS License Agreements shall not trigger any

change of ownership or control or termination provisions contained therein. Further, it is agreed

that none of the TGS Entities are a “Releasing Party” as defined by the Plan and that they are not

bound by such releases.      The Bankruptcy Court hereby approves the assumption of the

TGS Agreements pursuant to and in accordance with the terms set forth above.

XXX. Provisions Regarding the Oklahoma Treasurer.

        238.   In addition to Article IV.T of the Plan, the following provisions of this

Confirmation Order will govern the treatment of the Oklahoma Office of State Treasurer (the

“Oklahoma Treasurer”) concerning the duties and responsibilities of the Debtors and the


                                               122
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1166 of 1639
                                                                         1166



Reorganized Debtors relating to all unclaimed property presumed abandoned (the “Oklahoma

Unclaimed Property”) under the Oklahoma Uniform Unclaimed Property Act, 60 O.S. § 651, et

seq., and other applicable Oklahoma laws (the “Oklahoma Unclaimed Property Laws”):

        239.   The Debtors and the Reorganized Debtors remain subject to the continuing

reporting and remitting requirements of the Oklahoma Unclaimed Property Laws for the

Oklahoma Unclaimed Property. On or within thirty (30) days after the Effective Date, the Debtors

shall review their books and records and turn over to the Oklahoma Treasurer all known Oklahoma

Unclaimed Property presumed abandoned before the Effective Date and reflected in property

reports delivered by the Debtors to the Oklahoma Treasurer under the Oklahoma Unclaimed

Property Laws (the “Reported Oklahoma Unclaimed Property”). With respect to such Reported

Oklahoma Unclaimed Property, the Oklahoma Treasurer will not seek payment of any interest or

penalty by the Debtors or the Reorganized Debtors. Nothing in the Plan or this Confirmation

Order shall convert the Oklahoma Unclaimed Property to property of the Debtors’ estates or vest

such property in the Reorganized Debtors and the Oklahoma Unclaimed Property shall continue

to be held by the Debtors or Reorganized Debtors until such time it is presumed abandoned, at

which time the Oklahoma Unclaimed Property shall be reported and remitted to the Oklahoma

Treasurer in accordance with the Oklahoma Unclaimed Property Laws.

        240.   Notwithstanding section 362 of the Bankruptcy Code and any injunction in

Article VIII.F of the Plan, after the Effective Date, the Oklahoma Treasurer and its agents may

commence an audit of the Debtors in accordance with the Oklahoma Unclaimed Property Laws

(the “Oklahoma Unclaimed Property Audit”) and pursue recovery of any unremitted Oklahoma

Unclaimed Property identified pursuant to the Oklahoma Unclaimed Property Audit. To the extent

reasonably practicable, the Debtors and the Reorganized Debtors shall fully cooperate with the




                                              123
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1167 of 1639
                                                                         1167



Auditors to enable them to accurately and timely perform the Oklahoma Unclaimed Property Audit

by making the entities’ employees, professionals, books, and records reasonably available during

normal business hours. Upon completion of the Oklahoma Unclaimed Property Audit, the

Oklahoma Treasurer will promptly inform the Debtors or the Reorganized Debtors, as applicable,

that such audit is complete, alleviating the Debtors and the Reorganized Debtors of the requirement

to retain records related to the Oklahoma Unclaimed Property.

        241.   The Debtors’, Reorganized Debtors’, and Oklahoma Treasurer’s rights and

defenses with respect to any allegations and claims asserted against the Debtors or Reorganized

Debtors, as applicable, arising from or relating to the Oklahoma Unclaimed Property Audit are

hereby reserved; provided, however, that upon agreement between the Debtors or the Reorganized

Debtors and the Oklahoma Treasurer or a final nonappealable determination by a court or other

tribunal with jurisdiction as to the amount of unremitted Oklahoma Unclaimed Property, if any,

that is due in connection with the Oklahoma Unclaimed Property Audit, the Debtors or the

Reorganized Debtors shall turn over such unremitted Oklahoma Unclaimed Property to the

Oklahoma Treasurer.

        242.   The Oklahoma Treasurer may file or amend any Proofs of Claim in these

Chapter 11 Cases following the Effective Date as a result of the filing of any property reports or

in the ordinary course of the Oklahoma Unclaimed Property Audit.

        243.   Nothing herein precludes Debtors and Reorganized Debtors from compliance with

continued obligations pursuant to Oklahoma Unclaimed Property Laws.

YYY. Provisions Regarding Enterprise Products Operating LLC, Enterprise Gathering
     LLC and Enterprise Texas Pipeline LLC.

        244.   Notwithstanding anything in the Plan, Plan Supplement, or Confirmation Order to

the contrary, the Plan and Confirmation Order: (i) shall not be, and shall not be construed as or



                                               124
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1168 of 1639
                                                                         1168



deemed to be, a determination of the cure amount or compensation, if any required to satisfy the

provisions of sections 365(b)(1)(A) and 365(b)(1)(B) of the Bankruptcy Code (the “Enterprise

Cure Amount”) for the assumption of any executory contract (the “Assumed Enterprise

Contracts”) relating to Enterprise Products Operating LLC, Enterprise Gathering LLC and

Enterprise Texas Pipeline LLC (collectively, “Enterprise”); (ii) shall not impair or impact

Enterprise’s rights to setoff and/or recoupment, if any; (iii) shall not release, reduce, discharge or

otherwise adversely affect any Liens, if any, of Enterprise. To the extent that any amounts owed

relating to the Assumed Enterprise Contracts are not paid in the ordinary course of business, the

Debtors or Reorganized Debtors, as applicable, and Enterprise shall endeavor in good faith to reach

agreement as to the Enterprise Cure Amount within thirty (30) days following the later of

(i) January 4, 2021, or (ii) entry of this Confirmation Order (the “30 Day Deadline”). If such

agreement is reached, the Debtors or Reorganized Debtors, as applicable, and Enterprise may, but

need not, file a stipulation with the Court setting forth the agreed Enterprise Cure Amount. If the

Debtors or Reorganized Debtors, as applicable, and Enterprise fail to reach an agreement as to the

Enterprise Cure Amount within the 30 Day Deadline, either the Reorganized Debtors or Enterprise

may, upon notice to the Reorganized Debtors or Enterprise, as applicable, request a hearing before

the Court for the determination of the Enterprise Cure Amount prior to expiration of the 30 Day

Deadline. For purposes of determining the Enterprise Cure Amount, the effective date of

assumption shall be the Effective Date. Nothing herein shall prejudice Enterprise’s right to oppose

assumption and/or assignment of any Executory Contracts between the Debtors and Enterprise, or

the Debtors’ or the Reorganized Debtors’ right to add any Assumed Enterprise Contract to the list

of rejected executory contracts prior to the expiration of the 30 Day Deadline. For the avoidance

of doubt, rejection of the applicable Enterprise Contract must occur prior to the 30 Day Deadline,




                                                 125
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1169 of 1639
                                                                         1169



otherwise the applicable Assumed Enterprise Contract will be deemed assumed by the

Reorganized Debtors.      Nothing herein shall prejudice (a) Enterprise’s right to assert an

Administrative Claim for any postpetition obligation owed to Enterprise in accordance with

applicable law, or (b) the Debtors’ or the Reorganized Debtors’ right dispute such Claim. To the

extent that any Assumed Enterprise Contract is assumed, upon payment of the applicable cure

amount by the Reorganized Debtors, such assumption shall result in the release and satisfaction of

all prepetition Claims arising under the Assumed Enterprise Contract.          Otherwise, each of

Enterprise, the Debtors, and the Reorganized Debtors expressly retain all of their rights under the

Assumed Enterprise Contracts. Enterprise shall not be deemed to be a Releasing Party under the

Plan and Enterprise has effectively opted out of the Third-Party Releases contained in the Plan.

Notwithstanding anything herein, to the extent that Plan or this Confirmation Order provides a

shorter deadline to assume or reject unexpired executory contracts than the 30 Day Deadline, the

shorter deadline shall apply to the Assumed Enterprise Contracts.

ZZZ. Provisions Regarding the Cecil Blount Farms, LLC Royalty Assignees.

        245.   Notwithstanding anything to the contrary in the Plan or this Confirmation Order,

the Plan and this Confirmation Order shall not impair or prejudice the rights of the Cecil Blount

Farms, LLC, Dorothy Peek, Morning Glory Ranch, LLC, Betty Kyson, Thomas Cecil Blount, Jr.,

Lachute Company, LLC, Michael Blount, Janis Blount, Brandi Lynn Blount and Carrie Lea Blount

(collectively, the “CBF Royalty Assignees”) to assert that the rights, if any, that they may have in

any escrowed or suspended funds are not property of the estate and are subject to their property

interest. The Debtors and the Reorganized Debtors, as applicable, reserve all rights and defenses

regarding the same.




                                                126
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1170 of 1639
                                                                         1170



AAAA.          Provisions Regarding Certain Dallas/Fort Worth Parties.

        246.   For the avoidance of doubt, Dallas/Fort Worth International Airport Board, the City

of Dallas, and the City of Fort Worth (collectively, the “DFW Parties”) have opted out of the

releases in the Plan. Notwithstanding any other provision in the Plan or Confirmation Order,

nothing in the Plan or Confirmation Order shall release, affect or alter the claims and rights of the

DFW Parties against TOTAL E&P USA, Inc., TOTAL E&P USA Barnett, LLC and any of their

affiliates (“TOTAL”) under (i) that certain Compromise Settlement and High-Low Agreement by

and between the DFW Parties and Chesapeake Exploration, L.L.C., and TOTAL (“High-Low

Settlement Agreement”), the underlying Oil and Gas Lease entered into in 2006 as referenced in

the High-Low Settlement Agreement, including all amendments, supplements, modifications

and/or ratifications thereto (“DFW Lease”), and any related agreements (collectively, the

“DFW Agreements”) and (ii) the orders and judgments entered in any litigation involving or

related to the DFW Agreements.

        247.   Further, the rejection of the High-Low Settlement Agreement by the Debtors does

not terminate the High-Low Settlement Agreement with respect to any non-Debtor party

thereunder or affect any rights and/or obligations of such parties. Within thirty (30) days of the

Effective Date, the Debtors shall move to dismiss with prejudice their appeal from the summary

judgment entered in favor of the DFW Parties in that certain lawsuit styled Dallas/Fort Worth

International Airport Board, City of Fort Worth and City of Dallas v. Chesapeake Exploration,

L.L.C., and TOTAL E&P USA, INC., that was initially filed as Cause No. 236-286059-16 in the

236 Judicial District Court, Tarrant County, Texas, and later transferred to the 67th Judicial District

Court as Cause No. 067-286059-16, currently pending in the Court of Appeals for the

Second Appellate District of Texas at Fort Worth, Case No. 02-20-00054. The dismissal of the

aforementioned appeal by the Debtors shall be effective as of immediately before Petition Date for


                                                 127
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1171 of 1639
                                                                         1171



purposes of rejection of High-Low Settlement Agreement such that all appeals of the declaratory

judgment claims of the Debtors will be deemed to have been exhausted pursuant to Section

IV.A.7.c of the High-Low Settlement Agreement as of the time of rejection; provided that the

Debtors’ rejection of the High-Low Settlement Agreement is not a release of any payment

obligation of the Debtors to the DFW Parties under Section IV.A.7.c. of the High-Low Settlement

Agreement, all such rights of the DFW Parties are expressly reserved and preserved hereby;

provided, further, that any such payment obligation shall be treated as an unsecured claim pursuant

to the Bankruptcy Code and shall receive the treatment for such type of claim under the terms of

the Plan as confirmed by the Court and the terms of this Confirmation Order.

BBBB. Provisions Regarding Jamestown Resources, LLC, Larchmont Resources, LLC and
      Pelican Energy, LLC.

        248.   Notwithstanding anything in the Plan, Plan Supplement, or this Confirmation Order

to the contrary, the Plan and this Confirmation Order shall not be, and shall not be construed as or

deemed to be, a determination of the cure amount or compensation, if any required to satisfy the

provisions of sections 365(b)(1)(A) and 365(b)(1)(B) of the Bankruptcy Code (the “JLP Cure

Amount”) for the assumption of any executory contract (the “Assumed JLP Contracts”) relating

to Jamestown Resources, LLC, Larchmont Resources, LLC and Pelican Energy, LLC (together

with any affiliates, collectively, “JLP”). To the extent that any amounts owed relating to the

Assumed JLP Contracts are not paid in the ordinary course of business, the Debtors or Reorganized

Debtors, as applicable, and JLP shall endeavor in good faith to reach agreement as to the JLP Cure

Amount within ninety (90) days following the Effective Date (the “Cure Negotiation Period”) and

if such agreement is reached may, but need not, file a stipulation with the Court setting forth the

agreed JLP Cure Amount. If the Reorganized Debtors and JLP fail to reach an agreement as to

the JLP Cure Amount within the Cure Negotiation Period, either the Reorganized Debtors or JLP



                                                128
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1172 of 1639
                                                                         1172



may, before the expiration of thirty (30) days after the Cure Negotiation Period, upon notice to the

Reorganized Debtors or JLP, as applicable, file a pleading with the Court seeking approval of the

asserted JLP Cure Amount and request a hearing before the Court for the determination of the JLP

Cure Amount. For purposes of determining the JLP Cure Amount, the effective date of assumption

shall be the Effective Date. Nothing herein shall prejudice JLP’s right to oppose assumption and/or

assignment of any Executory Contracts between the Debtors and JLP, or the Debtors’ or the

Reorganized Debtors’ right to add any Assumed JLP Contract to the list of rejected executory

contracts if the Court determines that the JLP Cure Amount is greater than the amount set forth in

any applicable cure notice.      Nothing herein shall prejudice (a) JLP’s right to assert an

Administrative Claim for any postpetition obligation owed to JLP in accordance with applicable

law, or (b) the Debtors’ or the Reorganized Debtors’ right to dispute such Claim. To the extent

that any Assumed JLP Contract is assumed, such assumption shall result in the release and

satisfaction of only those Claims that are based on an actual default existing as of the

Effective Date with respect to such Assumed JLP Contract. Otherwise, JLP, the Debtors, and the

Reorganized Debtors expressly retain all of its rights under the Assumed JLP Contracts.

        249.   Notwithstanding anything in the Plan, Plan Supplement, or this Confirmation Order

to the contrary, the Plan and this Confirmation Order shall not be, and shall not be construed as or

deemed to be, a determination that those certain Supplemental Joint Operating Services

Agreements by and between JLP and Chesapeake Energy Corporation, dated November 30, 2016

(the “SJOSA”), is integrated with any other Assumed JLP Contract, including, without limitation,

any of the joint operating agreements by and between JLP and Chesapeake Energy Corporation

(each, a “JOA”). The Debtors or Reorganized Debtors, as applicable, and JLP shall endeavor in

good faith to reach agreement as to the integration of the SJOSA within ninety (90) days following




                                                129
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1173 of 1639
                                                                         1173



the Effective Date. If the Reorganized Debtors and JLP fail to reach an agreement regarding

whether the JSOSA is an integrated contract with any Assumed JLP Contract within such ninety

(90) day period, either the Reorganized Debtors or JLP may, upon notice to the

Reorganized Debtors or JLP, as applicable, request a hearing before the Court to determinate

whether the JSOSA is integrated into such Assumed JLP Contract.

        250.   Notwithstanding anything in the Plan, Plan Supplement, or this Confirmation Order

to the contrary, the Plan and this Confirmation Order shall not alter (a) the character of JLP’s

mineral interests or proceeds related thereto under applicable nonbankruptcy law, or (b) any of

JLP’s statutory liens, consensual liens, defenses, rights of setoff or recoupment to the extent such

rights exist under the Assumed JLP Contracts, executory contracts rejected pursuant to the Plan,

or applicable law. JLP shall not be a Releasing Party.

CCCC.          Provisions Regarding Certain Kinder Morgan Entities.

        251.   Notwithstanding anything to the contrary in the Assumed Executory Contracts and

Unexpired Leases Schedule (as amended from time to time, the “Assumption Schedule”), the

aggregate cure amount required to satisfy the provisions of sections 365(b)(1)(A) and 365(b)(1)(B)

of the Bankruptcy Code (the “TGP Cure Amount”) for the assumption of the executory contracts

(each, an “Assumed TGP Contract,” and together, the “Assumed TGP Contracts”) by and between

(i) any Debtor entity and (ii) Tennessee Gas Pipeline Company or Tennessee Gas Pipeline

Company, L.L.C. (together, “TGP”) shall be $6,468,391. Notwithstanding the deadline to object

to cure amounts described in the Disclosure Statement Order and Article V.C. of the Plan, in the

event any Assumed TGP Contract is subsequently removed from the Assumption Schedule, the

Debtors or Reorganized Debtors, as applicable, and TGP shall endeavor in good faith to reach

agreement as to the TGP Cure Amount for each individual Assumed TGP Contract remaining on

the Assumption Schedule within one hundred and eighty (180) days following the Effective Date


                                                130
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1174 of 1639
                                                                         1174



and if such agreement is reached may, but need not, file a stipulation with the Court setting forth

the agreed TGP Cure Amount. If the Reorganized Debtors and TGP fail to reach an agreement as

to such TGP Cure Amount within such one hundred and eighty (180) day period, either the

Reorganized Debtors or TGP may, upon notice to the Reorganized Debtors or TGP, as applicable,

request a hearing before the Court for the determination of the TGP Cure Amount.

        252.   Notwithstanding any other provision in this Confirmation Order or the Plan to the

contrary, nothing in this Confirmation Order or the Plan (and neither the confirmation nor

consummation of the Plan) shall eliminate, alter or impair, or otherwise prevent Kinder Morgan

Texas Pipeline LLC, Kinder Morgan Tejas Pipeline LLC, Eagle Ford Gathering LLC, Kinderhawk

Field Services, LLC, Scissortail Energy, LLC, El Paso Marketing Company, L.L.C., Camino Real

Gas Gathering Company, LLC, Tennessee Gas Pipeline Company, L.L.C., Wyoming Interstate

Company, L.L.C., Midcontinent Express Pipeline LLC, Independent Trading & Transportation

Company LLC, Hiland Crude, LLC or Kinder Morgan, Inc. (collectively, “Kinder Morgan” and

each such entity, a “KM Counterparty”) from asserting any or all of such KM Counterparty’s

defenses, arguments or appellate rights relating to any proposed rejection of any Executory

Contract or Unexpired Lease with such KM Counterparty or real property interests of such KM

Counterparty (including rights, defenses, or arguments that such agreements or interests, as

applicable, constitute covenants running with the land or equitable servitudes not subject to

rejection, do not constitute Executory Contracts or Unexpired Leases under the Bankruptcy Code

and the terms of the Plan, or are not otherwise subject to rejection); provided that each

KM Counterparty shall be required to assert such rights, defenses, or arguments in a written

objection filed with this Bankruptcy Court on or prior to the KM Contract Objection Deadline (as

defined below).




                                               131
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1175 of 1639
                                                                         1175



        253.   Except as agreed upon by the applicable KM Counterparty and the Reorganized

Debtors, and notwithstanding any other provision of this Confirmation Order or the Plan, from the

period commencing on the Effective Date through the date of the entry of an order of this

Bankruptcy Court resolving any and all disputes raised in an objection filed by the KM Contract

Objection Deadline by one or more applicable KM Counterparties relating to the proposed

rejection of any agreement(s), all rights of the Debtors and the applicable KM Counterparty are

reserved, including with respect to whether (i) such agreement(s) shall continue as in effect

immediately prior to the Effective Date, (ii) the terms of such agreement(s) shall continue to apply

to the applicable Reorganized Debtor and KM Counterparty in accordance with otherwise

applicable law, without alteration or modification, including without limitation the obligation to

pay all amounts due thereunder as and when due, and (iii) the relative obligations of the applicable

Reorganized Debtor and KM Counterparty arising under such agreement(s) during such time shall

not be excused, relieved or otherwise impaired by the proposed rejection of such agreements.

        254.   For any Executory Contract or Unexpired Lease related to Kinder Morgan removed

from the Assumed Executory Contracts and Unexpired Leases Schedule or added to the Rejected

Executory Contracts and Unexpired Leases Schedule on or after the date of this Confirmation

Order, the applicable KM Counterparty shall have twenty-one (21) days after the date of such

removal or addition to file with the Court a written objection to the proposed treatment of such

contract or lease (the “KM Contract Objection Deadline”).

DDDD.          Provision Regarding Energy Transfer.

        255.   Notwithstanding anything in the Plan, Plan Supplement, or Confirmation Order to

the contrary, the Plan and Confirmation Order shall not: (i) adjudicate the assumption or rejection




                                                132
KE 71402552
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1176 of 1639
                                                                            1176



of executory contracts between Energy Transfer17 and the Debtors, including determining cure or

rejection amounts owing under section 365 of the Bankruptcy Code; (ii) modify or impair Energy

Transfer’s rights to setoff and/or recoupment, if any; (iii) release, reduce, discharge, enjoin, or

otherwise adversely affect any Liens or Claims held by Energy Transfer, each of (i) through (iii)

being the subject of a separate settlement agreement between Energy Transfer and the Debtors

embodied in a Settlement Term Sheet dated as of January 5, 2021. The Debtors and Energy

Transfer shall use their best efforts to gain Bankruptcy Court approval of the settlement on an

expedited basis. In the event the Debtors and Energy Transfer are unable to obtain Bankruptcy

Court approval of the settlement, the parties will meet in good faith to determine what issues

remain to be adjudicated between them and will thereafter schedule a status conference with the

Bankruptcy Court for discussion and scheduling of any remaining, open matters and disputes for

determination.

EEEE.             Provision Regarding Stone Well Service LLC.

          256.    Notwithstanding anything in the Plan, Plan Supplement, or Confirmation Order to

the contrary, the Plan and Confirmation Order shall not be, and shall not be construed as or deemed

to be, a determination of the cure amount or compensation, if any required to satisfy the provisions

of sections 365(b)(1)(A) and 365(b)(1)(B) of the Bankruptcy Code (the “Stone Well Service LLC

Cure Amount”) for the assumption of any executory contract (the “Assumed Stone Well Service

LLC Contracts”) relating to Stone Well Service LLC (together with any affiliates, collectively,

“Stone Well Service LLC”). To the extent that any amounts owed relating to the Assumed Stone


17
      For the purposes of this Confirmation Order, “Energy Transfer” shall mean, collectively, ETC Texas Pipeline,
      Ltd., ETC Tiger Pipeline, LLC, ETC Marketing, Ltd., Houston Pipe Line Company LP, Energy Transfer Fuel,
      LP, Oasis Pipeline, LP, ETC Katy Pipeline, LLC, Regency Intrastate Gas LP, Regency Marcellus Gas Gathering
      LLC, Sunoco Partners Marketing & Terminals L.P., Fayetteville Express Pipeline LLC, Regency NEPA Gas
      Gathering LLC, Trade Star, LLC, Transwestern Pipeline Company, LLC, Trunkline Gas Company, LLC, and
      Panhandle Eastern Pipe Line Company, LP.



                                                       133
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1177 of 1639
                                                                         1177



Well Service LLC Contracts are not paid in the ordinary course of business, the Debtors or

Reorganized Debtors, as applicable, and Stone Well Service LLC shall endeavor in good faith to

reach agreement as to the Stone Well Service LLC Cure Amount within one hundred and eighty

(180) days following the Effective Date and if such agreement is reached may, but need not, file a

stipulation with the Court setting forth the agreed Stone Well Service LLC Cure Amount. If the

Reorganized Debtors and Stone Well Service LLC fail to reach an agreement as to the Stone Well

Service LLC Cure Amount within such one hundred and eighty (180) day period, either the

Reorganized Debtors or Stone Well Service LLC may, upon notice to the Reorganized Debtors or

Stone Well Service LLC, as applicable, request a hearing before the Court for the determination

of the Stone Well Service LLC Cure Amount. For purposes of determining the Stone Well Service

LLC Cure Amount, the effective date of assumption shall be the Effective Date. Nothing herein

shall prejudice Stone Well Service LLC’s right to oppose assumption and/or assignment of any

Executory Contracts between the Debtors and Stone Well Service LLC, or the Debtors’ or the

Reorganized Debtors’ right to add any Assumed Stone Well Service LLC Contract to the list of

rejected executory contracts if the Court determines that the Stone Well Service LLC Cure Amount

is greater than the amount set forth in any applicable cure notice. Nothing herein shall prejudice

(a) Stone Well Service LLC’s right to assert an administrative claim for, inter alia, any postpetition

obligation owed to Stone Well Service LLC in accordance with applicable law, or (b) the Debtors’

or the Reorganized Debtors’ right dispute such claim. To the extent that any Stone Well Service

LLC Assumed Contract is assumed, such assumption shall result in the release and satisfaction of

only those claims that are based on an actual default existing as of the Effective Date with respect

to such assumed Stone Well Service LLC Assumed Contract, but only to the extent the Stone Well

Service LLC Cure Amount agreed upon by the parties or ordered by the Court is actually paid by




                                                 134
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1178 of 1639
                                                                         1178



the Debtors. Otherwise, each of Stone Well Service LLC, the Debtors, and the Reorganized

Debtors expressly retain all of their rights under the Stone Well Service LLC Assumed Contracts.

FFFF. Provision Regarding the Eagle Ford Royalty Interest Owner MDL Plaintiffs.

        257.   Notwithstanding anything to the contrary in this Confirmation Order, the Plan, or

the Plan Supplement:

                       This Confirmation Order is not, and shall not be construed as, (a) an
                       adjudication or disposition of (i) the proofs of claims filed by any of the
                       Eagle Ford Royalty Interest Owner MDL Plaintiffs (for the removal of
                       doubt, including, but not limited to, (A) any assertions within such proofs
                       of claim that the proofs of claim are secured and (B) any assertions within
                       such proofs of claim that mineral leases or acreage have terminated pre- or
                       postpetition), (ii) the adversary proceedings numbered 20-03491, 20-03467
                       or 20-03490 pending before this Bankruptcy Court, or (iii) any timely filed
                       application for the approval and payment of an Administrative Claim
                       ((i)-(iii) hereinafter collectively referred to as the “EF Litigation”), or (b) an
                       adjudication or disposition of any issue or issues in any of the EF Litigation.

                       Neither the Plan nor the Plan Supplement (nor, for the removal of doubt,
                       any §365 assumption or rejection contemplated within any of the
                       aforementioned) is (a) an adjudication or disposition of any of the EF
                       Litigation, or (b) an adjudication or disposition of any issue or issues in any
                       of the EF Litigation.

                       The respective ownership interests of the Eagle Ford Royalty Interest
                       Owner MDL Plaintiffs in the leases that are the subjects of the EF Litigation
                       shall not be, in any manner, impaired, diminished, or prejudiced by this
                       Confirmation Order, the Plan, or the Plan Supplement.

                       The Eagle Ford Royalty Interest Owner MDL Plaintiffs shall continue to
                       enjoy the rights and protections, if any, of the language at paragraph 47 of
                       the DIP Order.

GGGG.          Provision Regarding the Louisiana Department of Natural Resources.

        258.   Notwithstanding anything in the Plan, Plan Supplement, or Confirmation Order to

the contrary, the Plan and Confirmation Order shall not be, and shall not be construed as or deemed

to be, a determination of the cure amount or compensation, if any, required to satisfy the provisions

of sections 365(b)(1)(A) and 365(b)(1)(B) of the Bankruptcy Code (the “Louisiana Cure Amount”)




                                                 135
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1179 of 1639
                                                                         1179



for the assumption of any executory contract (the “Assumed Louisiana Contracts”) relating to the

Louisiana Department of Natural Resources (together with any affiliates, collectively, “LDNR”).

To the extent that any amounts owed relating to the Assumed Louisiana Contracts are not paid in

the ordinary course of business, the Debtors or Reorganized Debtors, as applicable, and LDNR

shall endeavor in good faith to reach agreement as to the Louisiana Cure Amount within one

hundred and eighty (180) days following the Effective Date and if such agreement is reached may,

but need not, file a stipulation with the Court setting forth the agreed Louisiana Cure Amount. If

the Reorganized Debtors and LDNR fail to reach an agreement as to the Louisiana Cure Amount

within such one hundred and eighty (180) day period, either the Reorganized Debtors or LDNR

may, upon notice to the Reorganized Debtors or LDNR, as applicable, request a hearing before the

Court for the determination of the Louisiana Cure Amount. For purposes of determining the

Louisiana Cure Amount, the effective date of assumption shall be the Effective Date. Nothing

herein shall prejudice LDNR’s right to oppose assumption and/or assignment of any Executory

Contracts between the Debtors and LDNR, or the Debtors’ or the Reorganized Debtors’ right to

add any Assumed Louisiana Contract to the list of rejected executory contracts if the Court

determines that the Louisiana Cure Amount is greater than the amount set forth in any applicable

cure notice. Nothing herein shall prejudice (a) LDNR’s right to assert an administrative claim for,

inter alia, any postpetition obligation owed to LDNR in accordance with applicable law, or (b) the

Debtors’ or the Reorganized Debtors’ right to dispute such claim. To the extent that any Louisiana

Assumed Contract is assumed, such assumption shall result in the release and satisfaction of only

those claims that are based on an actual default existing as of the Effective Date with respect to

such assumed Louisiana Assumed Contract. Otherwise, each of LDNR, the Debtors, and the

Reorganized Debtors expressly retain all of their rights under the Louisiana Assumed Contracts.




                                               136
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1180 of 1639
                                                                         1180



        259.   Nothing contained in the Plan represents any waiver by the State of Louisiana of

any rights that it may have against actual non-debtor state mineral lessees for which the Debtors

are merely payors to the State. Any such rights to enforce those leases, including, but not limited

to, the ability to demand payment from such actual non-debtor lessees are here by expressly

reserved unto the State of Louisiana.

HHHH.          Provision Regarding the CaddoDesoto Owners.

        260.   Notwithstanding anything to the contrary in either the Plan, the Plan Supplement,

this Confirmation Order, or any implementing Plan documents (collectively “Plan Documents” for

purposes of paragraphs 260 through 270 of this Confirmation Order, the “CaddoDeSoto Owners

Section”), the Industrial Development Board of the Parish of Caddo, Inc., Caddo Parish, Paul M.

Davis, Paul M. Davis, solely in his capacity as the independent administrator of the Succession of

John P. Davis, Jr. (the “Succession of John P. Davis Jr.”), Coushatta Bayou Land Company,

L.L.C., Caspiana Interests, LLC; Bugg DeSoto, LLC; Kingwood Business Center Ltd. Partnership,

Charles Steven Powers, Powers Investments, L.L.C., and Sonja Bott, on behalf of the Succession

of Gregary Roy Bott (each of the foregoing, a “CaddoDeSoto Owner,” and collectively,

the “CaddoDeSoto Owners”) shall be treated in accordance with this CaddoDeSoto Owners

Section.

        261.   The CaddoDeSoto Owners have each filed proofs of claim against one or more

Debtors, and assert therein certain rights including rights in Royalty and Working Interests in

mineral properties located in Louisiana, including without limitation unleased minerals and

Louisiana mineral leases. The CaddoDeSoto Owners have asserted among other things a right of

entitlement or ownership of any amount owed by the Debtors/Reorganized Debtors on account of

their Royalty and Working Interests, see e.g., Docket No. 2134. The CaddoDeSoto Owners’




                                               137
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1181 of 1639
                                                                         1181



Royalty and Working Interests shall be treated in accordance with the Plan provisions regarding

such interests including, but not limited to, Article IV.H and Article IV.T.

        262.   Without any admission as to the legal character/nature of their rights to any alleged

amounts owed, and reserving all rights reserved and or preserved on their account under

Article IV.T of the Plan, any of the CaddoDeSoto Owners may file Royalty and Working Interests

Administrative Claims for amounts owed to them on account of their Royalty and Working

Interests postpetition, but pre-Effective Date, on or before 120 days after the Effective Date,

pursuant to the Plan, including, but not limited to, Articles I.A.4 and I.A.172, and Article II.A.1.

        263.   For the avoidance of doubt, the Bankruptcy Court shall have exclusive jurisdiction

to resolve any dispute between any CaddoDeSoto Owner and any Debtor or Reorganized Debtor,

as applicable, as to: (i) the amounts owed prepetition by any Debtor to any CaddoDeSoto Owner

on account of Royalty and Working Interests, (ii) the amounts owed postpetition through and until

the Effective Date by any Debtor to any CaddoDeSoto Owner on account of a Royalty and

Working Interests, (iii) whether any such amounts owed have been discharged under the Plan or

the Confirmation Order, (iv) whether any such amount owed is a prepetition Claim or a specific

type of prepetition Claim under the Plan, or, as relevant, an Administrative Claim or a Royalty and

Working Interests Administrative Claim, and/or (v) to what extent (if any) funds held by the

Debtors or the Reorganized Debtors, as applicable, or subject to their control, with respect to which

funds any CaddoDeSoto Owner holder of a Royalty and Working Interest has asserted or may

assert a right of entitlement or ownership on account of such Royalty and Working Interest,

constitute property of any of the Estates under section 541 of the Bankruptcy Code or otherwise.

All rights of the CaddoDeSoto Owners and the Debtors or Reorganized Debtors are preserved and

reserved with respect to findings or determinations on the foregoing points, and nothing in the Plan




                                                138
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1182 of 1639
                                                                         1182



or the Confirmation Order shall be deemed a finding or determination as to these issues. To the

extent applicable, any Administrative Claims, Other Secured Claims, or General Unsecured

Claims of the CaddoDeSoto Owners on account of Royalty and Working Interests shall be treated

in accordance with Article II or III of the Plan, as appropriate.

        264.   The prepetition lawsuit Bugg Desoto, LLC, v. Chesapeake Operating, LLC, Civil

Action No. 19-cv-1049 (W.D. La.) (“Bugg Desoto Suit”), shall be stayed in the United States

District Court for the Western District of Louisiana pending either: (a) entry of a final,

non-appealable order in regard to the Memorandum Ruling and corresponding Order entered on

March 21, 2019, in Allen Johnson, et al. v. Chesapeake Louisiana, LP, Civil Action No. 16-1543

(W.D. La.) (D.E. 54-55 therein), by the Honorable Maurice Hicks, Jr., concerning post-production

costs, or (b) final disposition of that matter through other means, such as settlement

(collectively “Final Disposition”). If the United States District Court for the Western District of

Louisiana does not enter an order affecting the stay described above within thirty days of the entry

of this Confirmation Order, then the relevant Debtors or Reorganized Debtors, as applicable, will

consent to a request for the transfer of venue of the Bugg Desoto Suit to the United States District

Court for the Southern District of Texas, and to thereafter request referral of that case from that

District Court to the Bankruptcy Court (collectively “Transfer and Referral”), where it shall be

stayed in accord with the foregoing. Upon Final Disposition, the Transfer and Referral shall occur

at that time if it has not occurred previously, and the Bankruptcy Court shall then proceed to

adjudicate the matters in the Bugg Desoto Suit in accord with paragraph 263 of this CaddoDeSoto

Owners Section.

        265.   Within thirty (30) days of the Effective Date, the relevant Debtors or Reorganized

Debtors, as applicable, will consent to a request for the transfer of venue of the lawsuit Caspiana




                                                 139
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1183 of 1639
                                                                         1183



Interests, LLC, et al. v. Chesapeake Louisiana, LP, et al., Civil Action No. 19-cv-489 (W.D. La.)

(“Caspiana Suit”), to the United States District Court for the Southern District of Texas, and to

thereafter request referral of that case from that District Court to the Bankruptcy Court, and the

Bankruptcy Court shall then proceed to adjudicate the matters in the Caspiana Suit in accord with

paragraph 263 of this CaddoDeSoto Owners Section.

        266.   Notwithstanding anything to the contrary in the Plan Documents, including but not

limited to Article V of the Plan, any CaddoDeSoto Owner may file and have adjudicated an

objection with the Bankruptcy Court to a proposed assumption of an Executory Contract or

Unexpired Lease or the related cure cost, if such CaddoDeSoto Owner is a contract or lease

counterparty to the subject Executory Contract or Unexpired Lease, within thirty (30) days of the

receipt of written notice by such CaddoDeSoto Owner and its counsel from any Debtor or

Reorganized Debtor, as applicable, informing the CaddoDeSoto Owner that it is a counterparty to

that Executory Contract or Unexpired Lease, that the Debtors or Reorganized Debtors, as

applicable, wish to assume the same, and stating the proposed cure costs for the assumption.

        267.   Notwithstanding anything to the contrary in the Plan Documents, including but not

limited to, Article V of the Plan, any CaddoDeSoto Owner may file a proof of claim for a Claim

arising from rejection of an Executory Contract or Unexpired Lease, if such CaddoDeSoto Owner

is a counterparty to the same, within thirty (30) days of the receipt of written notice by such

CaddoDeSoto Owner and its counsel from any Debtor or Reorganized Debtor, as applicable,

informing the CaddoDeSoto Owner that it is a counterparty to the relevant Executory Contract or

Unexpired Lease that has been rejected pursuant to the entry of an order of the Bankruptcy Court.

        268.   The CaddoDeSoto Owners shall not be considered “Releasing Parties” under the

Plan, as defined therein in Article I.A.144, and discussed in Article VIII.




                                                140
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1184 of 1639
                                                                         1184



         269.   In an effort to avoid unnecessary litigation, the Debtors or the Reorganized Debtors,

as applicable, agree to provide counsel for the CaddoDeSoto Owners the following within

forty-five (45) days of the Effective Date: an accounting of the amounts owed as well as the

amounts paid to each of the CaddoDeSoto Owners on account of their respective Royalty and

Working Interests, per the books and records of the Debtors: (i) prior to the Petition Date and

(ii) after the Petition Date through the Effective Date. This shall include documentation and

information regarding any costs deductions from gross production revenue for these periods.

Further, as to unleased mineral interests, this shall include, but is not limited to (i) the status of

well payout for each well in which any CaddoDeSoto Owner has an interest and (ii) reports on

costs and or revenue due under La. R.S. 30:103.1 for all periods prior to the Petition Date, and for

periods postpetition through the Effective Date. This production of data is without prejudice to any

further requests for information or documentation by any of the CaddoDeSoto Owners to any

Debtor or Reorganized Debtor under any relevant law and or rule, and without prejudice to any

and all other reporting requirements under relevant law, both currently and on a going forward

basis.

         270.   Consistent with Article IV.T of the Plan, Debtors and Reorganized Debtors, as

applicable, shall continue paying the CaddoDeSoto Owners all undisputed amounts owing on

account of their respective Royalty and Working Interests, including funds held or booked or

deemed to be held in suspense, as and when reconciled, in the ordinary course of business, and in

accordance with all applicable agreements and laws, without any further action on the part of any

of the CaddoDeSoto Owners. Moreover, the Reorganized Debtors shall give notice to counsel for

the CaddoDeSoto Owners of any amounts held, or booked or deemed to be held, in suspense on




                                                 141
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1185 of 1639
                                                                         1185



account of the Royalty and Working Interests of any of the CaddoDeSoto Owners within ten (10)

days after the Effective Date.

IIII.   Provisions Regarding Tornado Venture Quatro, LLC and Tornado Venture Cinco,
        LLC.

        271.   Notwithstanding anything in the Plan, Plan Supplement, or Confirmation Order to

the contrary, the Plan and Confirmation Order shall not be, and shall not be construed as or deemed

to be, a determination of the cure amount or compensation, if any required to satisfy the provisions

of sections 365(b)(1)(A) and 365(b)(1)(B) of the Bankruptcy Code (the “Tornado Cure Amount”)

for the assumption of any executory contract (the “Assumed Tornado Contracts”) relating to

Tornado Venture Quatro, LLC and Tornado Venture Cinco, LLC (together with any affiliates,

collectively, “Tornado”). To the extent that any amounts owed relating to the Assumed Tornado

Contracts are not paid in the ordinary course of business, the Debtors or Reorganized Debtors, as

applicable, and Tornado shall endeavor in good faith to reach agreement as to the Tornado Cure

Amount within sixty (60) days following the Effective Date and if such agreement is reached may,

but need not, file a stipulation with the Court setting forth the agreed Tornado Cure Amount. If the

Reorganized Debtors and Tornado fail to reach an agreement as to the Tornado Cure Amount

within such sixty (60) day period, either the Reorganized Debtors or Tornado may, upon notice to

the Reorganized Debtors or Tornado, as applicable, request a hearing before the Court for the

determination of the Tornado Cure Amount, with such hearing date to occur no later than one

hundred and fifty (150) days after the Effective date, subject to the Court’s availability.

For purposes of determining the Tornado Cure Amount, the effective date of assumption shall be

the Effective Date. Nothing herein or in the Plan shall prejudice (a) Tornado’s right to assert (on or

before the date of a hearing on the determination of the Tornado Cure Amount) an Administrative

Claim that arose prior to the Effective Date for, inter alia, any postpetition obligation owed to



                                                 142
KE 71402552
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1186 of 1639
                                                                            1186



Tornado in accordance with applicable law, or (b) the Debtors’ or the Reorganized Debtors’ right

dispute such claim. The assumption of each Tornado Assumed Contract shall result in the release

and satisfaction of only those claims that are based on damages or defaults existing as of the

Petition Date with respect to such assumed Tornado Assumed Contract. Otherwise, each of

Tornado, the Debtors, and the Reorganized Debtors expressly retain all of their rights under the

Tornado Assumed Contracts. Furthermore, prior to and after the Tornado Cure Amount is paid,

Tornado and the Debtors or Reorganized Debtors, as applicable, shall comply with the provisions

of the Tornado Assumed Contracts.

          272.     Each Assumed Tornado Contract shall not be assigned to a third party before or

after the Effective Date without the consent of Tornado, which consent cannot be unreasonably

withheld. Upon the Effective Date, each Assumed Tornado Contract shall re-vest in and be fully

enforceable against the applicable contracting Reorganized Debtor in accordance with its terms.

JJJJ.              Investigation Termination Date and Dismissal of the Standing Motions.

          273.     Pursuant to the Final DIP Order, the Investigation Termination Date (as defined in

the Final DIP Order) occurred on October 26, 2020, and the stipulations, admissions, findings,

relief, releases and other provisions of contained in the Final DIP Order shall be binding on the

Debtors’ estates and all parties in interest. The Committee’s Standing Motions are hereby

dismissed with prejudice.

          274.     Moreover, there is no evidence to support that Franklin Resources, Inc.,18 Franklin

Advisers, Inc. or any of the funds and accounts for which Franklin Advisers, Inc. serves as


18
      Franklin Resources, Inc. is the parent company of Franklin Advisers, Inc. Franklin Resources, Inc. took no part
      in any of the relevant transactions and at no time has held any economic stake in the Debtors, but was
      inappropriately listed as a party in the Proposed Complaint attached to the Affirmative Claims Standing Motion.
      Franklin Advisers, Inc. is also inappropriately listed as a party in the Proposed Complaint since any economic
      stake in the Debtors is and was held only by certain funds and accounts advised by Franklin Advisers, Inc. rather
      than Franklin Advisers, Inc. itself.



                                                         143
KE 71402552
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1187 of 1639
                                                                            1187



investment manager (collectively “Franklin”) engaged in any of the wrongdoing or inequitable

conduct alleged by the Committee in the Committee’s Standing Motions or the draft complaints

attached thereto. Among other things, there is no evidence that Franklin colluded with the Debtors

and/or manipulated the Debtors’ conduct in any way. Emergency Motion of the Official Committee

of Unsecured Creditors for (I) Leave, Standing, and Authority to Commence and Prosecute

Certain Claims and Causes of Action on Behalf of the Debtors’ Estates and (II) Exclusive

Settlement Authority [Docket No. 1682] (the “Affirmative Claims Standing Motion”)

at ¶ 68. There is no evidence that Franklin participated in the Director Defendant’s19 alleged

squandering of the Non-Insider Preference Claims. Id. at ¶ 88. There is no evidence that Franklin

coerced Chesapeake to take out its Unsecured Wildhorse Debt or obtain a favored position with

respect to the Uptier Transaction. Id. at ¶ 114. There is no evidence that Franklin is or was an

“insider” of the Debtors. Furthermore, there is no legal or factual support for any of the counts

alleged against the FLLO Term Loan Facility Lenders or Franklin in the Proposed Complaint,

including, without limitation, intentional fraudulent transfer, aiding and abetting breach of

fiduciary duty, unjust enrichment, equitable subordination, and insider preference.

KKKK.              Dissolution of the Committees.

          275.     On the Effective Date, any statutory committee appointed in the Chapter 11 Cases

shall dissolve and members thereof shall be released and discharged from all rights and duties from

or related to the Chapter 11 Cases. The Reorganized Debtors shall no longer be responsible for

paying any fees or expenses incurred by the members of or advisors to any statutory committees

after the Effective Date.




19
      Capitalized terms used but not otherwise defined in this paragraph shall have the meaning ascribed to them in the
      Affirmative Claims Standing Motion.



                                                         144
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1188 of 1639
                                                                         1188



LLLL.          Effect of Non-Occurrence of Conditions to the Effective Date.

        276.   Notwithstanding the entry of this Confirmation Order, if Consummation does not

occur as to any Debtor, the Plan shall be null and void in all respects as to such Debtor and nothing

contained in the Plan, the Disclosure Statement, or Restructuring Support Agreement as to such

Debtor shall: (a) constitute a waiver or release of any Claims by the Debtors, Claims, or Interests;

(b) prejudice in any manner the rights of the Debtors, any holders of Claims or Interests, or any

other Entity; or (c) constitute an admission, acknowledgment, offer, or undertaking by the Debtors,

any holders of Claims or Interests, or any other Entity.

MMMM.          Applicable Nonbankruptcy Law

        277.   The provisions of this Confirmation Order, the Plan and related documents, or any

amendments or modifications thereto, shall apply and be enforceable notwithstanding any

otherwise applicable nonbankruptcy law.

NNNN.          Waiver of 14-Day Stay.

        278.   Notwithstanding Bankruptcy Rule 3020(e), and to the extent applicable,

Bankruptcy Rules 6004(h), 7062, and 9014, this Confirmation Order is effective and enforceable

immediately upon its entry and not subject to any stay.

OOOO.          Post-Confirmation Modification of the Plan.

        279.   Subject to certain restrictions and requirements set forth in section 1127 of the

Bankruptcy Code and Bankruptcy Rule 3019, and those restrictions on modifications set forth in

the Plan, the Debtors are hereby authorized to alter, amend, or modify materially the Plan, one or

more times, after Confirmation, and, to the extent necessary, may initiate proceedings in the

Bankruptcy Court to so alter, amend, or modify the Plan, or remedy any defect or omission, or

reconcile any inconsistencies in the Plan, the Disclosure Statement, or this Confirmation Order, in

such matters as may be necessary to carry out the purposes and intent of the Plan.


                                                145
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1189 of 1639
                                                                         1189



PPPP.          Effect of Conflict.

        280.   This Confirmation Order supersedes any Court order issued prior to the

Confirmation Date that may be inconsistent with this Confirmation Order, solely to the extent of

any such inconsistency. If there is any inconsistency between the terms of the Plan and the terms

of this Confirmation Order, the terms of this Confirmation Order govern and control.

QQQQ.          Final Order.

        281.   This Confirmation Order is a final order and the period in which an appeal must be

filed will commence upon entry of this Confirmation Order.



  Signed:
 Dated:    January 15,
        __________,    2021.
                    2021
 Houston, Texas                                  DAVID R. JONES
                                               ____________________________________
                                                 UNITED STATES BANKRUPTCY JUDGE
                                               DAVID R. JONES
                                               UNITED STATES BANKRUPTCY JUDGE




                                              146
KE 71402552
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1190 of 1639
                                                                         1190



                                  Exhibit A

                                  The Plan




KE 71402552
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1191 of 1639
                                                                            1191


                                IN THE UNITED STATES BANKRUPTCY COURT
                                      SOUTHERN DISTRICT OF TEXAS
                                           HOUSTON DIVISION

                                                             )
    In re:                                                   )    Chapter 11
                                                             )
    CHESAPEAKE ENERGY CORPORATION, et al.,1                  )    Case No. 20-33233 (DRJ)
                                                             )
                              Debtors.                       )    (Jointly Administered)
                                                             )

                FIFTH AMENDED JOINT CHAPTER 11 PLAN OF REORGANIZATION
             OF CHESAPEAKE ENERGY CORPORATION AND ITS DEBTOR AFFILIATES

JACKSON WALKER LLP                                                    KIRKLAND & ELLIS LLP
Matthew D. Cavenaugh (TX Bar No. 24062656)                            KIRKLAND & ELLIS INTERNATIONAL LLP
Jennifer F. Wertz (TX Bar No. 24072822)                               Patrick J. Nash, Jr., P.C. (admitted pro hac vice)
Kristhy M. Peguero (TX Bar No. 24102776)                              Marc Kieselstein, P.C. (admitted pro hac vice)
Veronica A. Polnick (TX Bar No. 24079148)                             Alexandra Schwarzman (admitted pro hac vice)
1401 McKinney Street, Suite 1900                                      300 North LaSalle Street
Houston, Texas 77010                                                  Chicago, Illinois 60654
Telephone:        (713) 752-4200                                      Telephone:      (312) 862-2000
Facsimile:        (713) 752-4221                                      Facsimile:      (312) 862-2200
Email:            mcavenaugh@jw.com                                   Email:          patrick.nash@kirkland.com
                  jwertz@jw.com                                                       marc.kieselstein@kirkland.com
                  kpeguero@jw.com                                                     alexandra.schwarzman@kirkland.com
                  vpolnick@jw.com

Co-Counsel to the Debtors                                             Co-Counsel to the Debtors
and Debtors in Possession                                             and Debtors in Possession

Dated: January 12, 2021




1      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
       proposed claims and noticing agent at https://dm.epiq11.com/chesapeake. The location of Debtor Chesapeake
       Energy Corporation’s principal place of business and the Debtors’ service address in these chapter 11 cases is
       6100 North Western Avenue, Oklahoma City, Oklahoma 73118.
    Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1192 of 1639
                                                                           1192


                                                              TABLE OF CONTENTS


ARTICLE I. DEFINED TERMS, RULES OF INTERPRETATION, COMPUTATION OF TIME, AND
              GOVERNING LAW ......................................................................................................................... 1
      A.      Defined Terms. ................................................................................................................................. 1
      B.      Rules of Interpretation. ................................................................................................................... 17
      C.      Computation of Time. ..................................................................................................................... 17
      D.      Governing Law. .............................................................................................................................. 18
      E.      Reference to Monetary Figures. ...................................................................................................... 18
      F.      Reference to the Debtors or the Reorganized Debtors. ................................................................... 18
      G.      Controlling Document..................................................................................................................... 18
      H.      Consultation, Information, Notice, and Consent Rights.................................................................. 18

ARTICLE II. ADMINISTRATIVE CLAIMS, DIP CLAIMS, AND PRIORITY CLAIMS ...................................... 19
      A.      Administrative Claims. ................................................................................................................... 19
      B.      DIP Claims. ..................................................................................................................................... 20
      C.      Priority Tax Claims. ........................................................................................................................ 21
      D.      Statutory Fees.................................................................................................................................. 21

ARTICLE III. CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS ..................................... 21
      A.       Classification of Claims and Interests. ............................................................................................ 21
      B.       Treatment of Claims and Interests. ................................................................................................. 22
      C.       Special Provision Governing Unimpaired Claims. ......................................................................... 25
      D.       Elimination of Vacant Classes. ....................................................................................................... 25
      E.       Voting Classes, Presumed Acceptance by Non-Voting Classes. .................................................... 25
      F.       Intercompany Interests. ................................................................................................................... 25
      G.       Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy Code. ................. 26
      H.       Controversy Concerning Impairment. ............................................................................................. 26
      I.       Subordinated Claims and Interests. ................................................................................................. 26

ARTICLE IV. MEANS FOR IMPLEMENTATION OF THE PLAN ........................................................................ 26
      A.     General Settlement of Claims and Interests. ................................................................................... 26
      B.     Restructuring Transactions.............................................................................................................. 27
      C.     Midstream Savings Requirement. ................................................................................................... 27
      D.     Reorganized Debtors. ...................................................................................................................... 27
      E.     Sources of Consideration for Plan Distributions. ............................................................................ 28
      F.     Convenience Claim Distribution Reserve. ...................................................................................... 30
      G.     Corporate Existence. ....................................................................................................................... 30
      H.     Vesting of Assets in the Reorganized Debtors. ............................................................................... 30
      I.     Cancellation of Existing Securities and Agreements. ..................................................................... 31
      J.     Corporate Action. ............................................................................................................................ 32
      K.     New Organizational Documents. .................................................................................................... 32
      L.     Indemnification Obligations............................................................................................................ 33
      M.     Directors and Officers of the Reorganized Debtors. ....................................................................... 33
      N.     Effectuating Documents; Further Transactions............................................................................... 33
      O.     Section 1146 Exemption. ................................................................................................................ 34
      P.     Director and Officer Liability Insurance. ........................................................................................ 34
      Q.     Management Incentive Plan. ........................................................................................................... 34
      R.     Employee Benefits. ......................................................................................................................... 35
      S.     Preservation of Causes of Action. ................................................................................................... 35
      T.     Preservation of Royalty and Working Interests. ............................................................................. 36
      U.     Resolution of Pending Litigation. ................................................................................................... 36
      V.     Payment of Certain Fees. ................................................................................................................ 37


                                                                                i
    Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1193 of 1639
                                                                           1193


ARTICLE V. TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES .............................. 37
      A.     Assumption and Rejection of Executory Contracts and Unexpired Leases. ................................... 37
      B.     Claims Based on Rejection of Executory Contracts or Unexpired Leases. ..................................... 38
      C.     Cure of Defaults for Assumed Executory Contracts and Unexpired Leases. .................................. 38
      D.     Preexisting Obligations to the Debtors Under Executory Contracts and Unexpired Leases. .......... 39
      E.     Insurance Policies. .......................................................................................................................... 39
      F.     Reservation of Rights. ..................................................................................................................... 40
      G.     Nonoccurrence of Effective Date. ................................................................................................... 40
      H.     Contracts and Leases Entered Into After the Petition Date. ............................................................ 40

ARTICLE VI. PROVISIONS GOVERNING DISTRIBUTIONS .............................................................................. 40
      A.      Timing and Calculation of Amounts to Be Distributed. ................................................................. 40
      B.      Delivery of Distributions and Undeliverable or Unclaimed Distributions. ..................................... 41
      C.      Manner of Payment. ........................................................................................................................ 42
      D.      Exemption from Securities Laws. ................................................................................................... 42
      E.      Compliance with Tax Requirements. .............................................................................................. 43
      F.      Allocations. ..................................................................................................................................... 43
      G.      No Postpetition or Default Interest on Claims. ............................................................................... 43
      H.      Foreign Currency Exchange Rate. .................................................................................................. 43
      I.      Setoffs and Recoupment. ................................................................................................................ 43
      J.      No Double Payment of Claims. ...................................................................................................... 44
      K.      Claims Paid or Payable by Third Parties. ........................................................................................ 44

ARTICLE VII. PROCEDURES FOR RESOLVING CONTINGENT, UNLIQUIDATED, AND
              DISPUTED CLAIMS ..................................................................................................................... 45
      A.      Allowance of Claims. ...................................................................................................................... 45
      B.      Claims Administration Responsibilities. ......................................................................................... 45
      C.      Estimation of Claims. ...................................................................................................................... 45
      D.      Adjustment to Claims or Interests without Objection. .................................................................... 45
      E.      Time to File Objections to Claims. ................................................................................................. 46
      F.      Reservation of Rights to Object to Claims. ..................................................................................... 46
      G.      Disputed and Contingent Claims Reserve. ...................................................................................... 46
      H.      Disallowance of Claims or Interests................................................................................................ 46
      I.      No Distributions Pending Allowance.............................................................................................. 46
      J.      Distributions After Allowance. ....................................................................................................... 46
      K.      No Interest on Disputed Claims. ..................................................................................................... 47

ARTICLE VIII. SETTLEMENT, RELEASE, INJUNCTION, AND RELATED PROVISIONS .............................. 47
      A.       Discharge of Claims and Termination of Interests. ......................................................................... 47
      B.       Release of Liens. ............................................................................................................................ 47
      C.       Releases by the Debtors. ............................................................................................................... 48
      D.       Releases by Holders of Claims and Interests. ............................................................................. 49
      E.       Exculpation. ................................................................................................................................... 50
      F.       Injunction....................................................................................................................................... 50
      G.       Protections Against Discriminatory Treatment. .............................................................................. 51
      H.       Recoupment. ................................................................................................................................... 51
      I.       Document Retention. ...................................................................................................................... 51
      J.       Reimbursement or Contribution. ..................................................................................................... 51

ARTICLE IX. CONDITIONS PRECEDENT TO CONSUMMATION OF THE PLAN........................................... 51
      A.      Conditions Precedent to the Effective Date. ................................................................................... 51
      B.      Waiver of Conditions. ..................................................................................................................... 53
      C.      Effect of Failure of Conditions. ...................................................................................................... 53
      D.      Substantial Consummation ............................................................................................................. 53


                                                                                ii
    Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1194 of 1639
                                                                           1194


ARTICLE X. MODIFICATION, REVOCATION, OR WITHDRAWAL OF THE PLAN ....................................... 53
      A.     Modification and Amendments. ...................................................................................................... 53
      B.     Effect of Confirmation on Modifications. ....................................................................................... 54
      C.     Revocation or Withdrawal of Plan. ................................................................................................. 54

ARTICLE XI. RETENTION OF JURISDICTION ..................................................................................................... 54

ARTICLE XII. MISCELLANEOUS PROVISIONS .................................................................................................. 56
      A.      Immediate Binding Effect. .............................................................................................................. 56
      B.      Additional Documents. ................................................................................................................... 56
      C.      Payment of Statutory Fees. ............................................................................................................. 56
      D.      Statutory Committee and Cessation of Fee and Expense Payment. ................................................ 56
      E.      Reservation of Rights. ..................................................................................................................... 56
      F.      Successors and Assigns. .................................................................................................................. 57
      G.      Notices. ........................................................................................................................................... 57
      H.      Term of Injunctions or Stays. .......................................................................................................... 58
      I.      Entire Agreement. ........................................................................................................................... 58
      J.      Plan Supplement. ............................................................................................................................ 58
      K.      Nonseverability of Plan Provisions. ................................................................................................ 58
      L.      Votes Solicited in Good Faith. ........................................................................................................ 58
      M.      Closing of Chapter 11 Cases. .......................................................................................................... 59
      N.      Waiver or Estoppel.......................................................................................................................... 59
      O.      Creditor Default. ............................................................................................................................. 59




                                                                                 iii
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1195 of 1639
                                                                            1195


                                                  INTRODUCTION

         Chesapeake Energy Corporation and the above-captioned debtors and debtors in possession (collectively,
the “Debtors”), propose this joint chapter 11 plan of reorganization (as modified, amended, or supplemented from
time to time, the “Plan”) for the resolution of the outstanding claims against, and equity interests in, the Debtors.
Although proposed jointly for administrative purposes, the Plan constitutes a separate Plan for each Debtor. Holders
of Claims or Interests may refer to the Disclosure Statement for a discussion of the Debtors’ history, business, assets,
results of operations, historical financial information, risk factors, a summary and analysis of this Plan, the
Restructuring Transactions, and certain related matters. Each of the Debtors is a proponent of the Plan within the
meaning of section 1129 of the Bankruptcy Code.

      ALL HOLDERS OF CLAIMS, TO THE EXTENT APPLICABLE, ARE ENCOURAGED TO READ THE
PLAN AND THE DISCLOSURE STATEMENT IN THEIR ENTIRETY BEFORE VOTING TO ACCEPT OR
REJECT THE PLAN.

                                             ARTICLE I.
                              DEFINED TERMS, RULES OF INTERPRETATION,
                             COMPUTATION OF TIME, AND GOVERNING LAW

A.       Defined Terms.

         As used in this Plan, capitalized terms have the meanings set forth below.

         1.       “1145 Securities” has the meaning set forth in Article IV.E.1 of the Plan.

         2.       “4(a)(2) Securities” has the meaning set forth in Article IV.E.1 of the Plan.

          3.      “Administrative Claim” means a Claim for costs and expenses of administration of the Chapter 11
Cases pursuant to sections 503(b), 507(a)(2), 507(b), or 1114(e)(2) of the Bankruptcy Code, including: (a) the actual
and necessary costs and expenses incurred on or after the Petition Date until and including the Effective Date of
preserving the Estates and operating the Debtors’ business; (b) Allowed Professional Claims; (c) DIP Claims;
(d) Adequate Protection Super-Priority Claims (as defined in the Final DIP Order) (if any); (e) Royalty and Working
Interests Administrative Claims; (f) all fees and charges assessed against the Estates pursuant to section 1930 of
chapter 123 of title 28 of the United States Code; and (g) as approved by the Backstop Commitment Agreement
Approval Order, including the priority and payment subordination provisions described in paragraph 7 thereof, the
Put Option Premium.

         4.      “Administrative Claims Bar Date” means the deadline for Filing requests for payment of
Administrative Claims, which shall be 30 days after the Effective Date; provided, however, that the deadline for Filing
requests for payment of Royalty and Working Interests Administrative Claims shall be 120 days after the
Effective Date.

         5.        “Affiliate” has the meaning set forth in section 101(2) of the Bankruptcy Code. With respect to any
Person that is not a Debtor, the term “Affiliate” shall apply to such Person as if the Person were a Debtor.

         6.        “Agent” means any administrative agent, collateral agent, collateral trustee, or similar Entity under
the Exit Facilities, the DIP Facility, the Revolving Credit Facility, the Collateral Agreement, the Collateral Trust
Agreement, and/or the FLLO Term Loan Facility.

         7.        “Allowed” means, with respect to any Claim or Interest, except as otherwise provided herein: (a) a
Claim or Interest in a liquidated amount as to which no objection has been Filed prior to the applicable claims objection
deadline and that is evidenced by a Proof of Claim or Interest, as applicable, timely Filed by the applicable Bar Date
or that is not required to be evidenced by a Filed Proof of Claim or Interest, as applicable, under the Plan, the
Bankruptcy Code, or a Final Order; (b) a Claim or Interest that is scheduled by the Debtors as neither Disputed,
contingent, nor unliquidated, and for which no Proof of Claim or Interest, as applicable, has been timely Filed in an

                                                           1
   Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1196 of 1639
                                                                          1196


unliquidated or a different amount; (c) a Claim or Interest that is upheld or otherwise Allowed (i) pursuant to the Plan;
(ii) in any stipulation that is approved by the Bankruptcy Court; (iii) pursuant to any contract, instrument, indenture,
or other agreement entered into or assumed in connection herewith; or (iv) by Final Order (including any such Claim
to which the Debtors had objected or which the Bankruptcy Court had disallowed prior to such Final Order); provided
that with respect to a Claim or Interest described in clauses (a) through (c) above, such Claim or Interest shall be
considered Allowed only if and to the extent that with respect to such Claim or Interest no objection to the allowance
thereof has been or, in the Debtors’ or Reorganized Debtors’ reasonable good faith judgment, may be interposed
within the applicable period of time fixed by the Plan, the Bankruptcy Code, the Bankruptcy Rules, or the Bankruptcy
Court, or such an objection is so interposed and the Claim or Interest, as applicable, shall have been Allowed by a
Final Order; provided, further, that no Claim of any Entity subject to section 502(d) of the Bankruptcy Code shall be
deemed Allowed unless and until such Entity pays in full the amount that it owes such Debtor or Reorganized Debtor,
as applicable. Any Claim that has been or is hereafter listed in the Schedules as contingent, unliquidated, or Disputed,
and for which no Proof of Claim or Interest is or has been timely Filed, is not considered Allowed and shall be deemed
expunged without further action by the Debtors and without further notice to any party or action, approval, or order
of the Bankruptcy Court. For the avoidance of doubt a Proof of Claim or Interest Filed after the Bar Date shall not be
Allowed for any purposes whatsoever absent entry of a Final Order allowing such late-Filed Claim. “Allow,”
“Allowing,” and “Allowance” shall have correlative meanings.

          8.      “Alternative Securities Exchange” means, excluding any National Securities Exchange, any other
securities exchange or over-the-counter quotation system, including, without limitation, the NYSE MKT, the Nasdaq
Capital Market, any quotation or other listing service provided by the OTC Markets Group or the Financial Industry
Regulatory Authority, Inc., any “pink sheet” or other alternative listing service, or any successor or substantially
equivalent service to any of the foregoing.

        9.       “Assumed Executory Contracts and Unexpired Leases Schedule” means the schedule of Executory
Contracts and Unexpired Leases to be assumed by the Debtors pursuant to the Plan, which shall be included in the
Plan Supplement, as the same may be amended, modified, or supplemented from time to time.

         10.      “Avoidance Actions” means any and all actual or potential avoidance, recovery, subordination, or
other Claims, Causes of Action, or remedies that may be brought by or on behalf of the Debtors or their Estates or
other authorized parties in interest under the Bankruptcy Code or applicable non-bankruptcy law, including Claims,
Causes of Action, or remedies under sections 502, 510, 542, 544, 545, 547 through 553, and 724(a) of the Bankruptcy
Code or under similar local, state, federal, or foreign statutes and common law, including fraudulent transfer laws.

        11.       “Backstop” means the several and not joint backstop in full of the Rights Offering by the
Backstop Parties pursuant to the Backstop Commitment Agreement.

         12.      “Backstop Allocations” has the meaning set forth in Article IV.E.1 of the Plan.

         13.     “Backstop Commitment Agreement” means that certain Backstop Commitment Agreement, dated as
of June 28, 2020, by and between Chesapeake and the Backstop Parties, as may be further amended, modified, or
supplemented from time to time, in accordance with its terms.

        14.      “Backstop Commitment Agreement Approval Order” means the Order (I) Authorizing Entry into the
Backstop Commitment Agreement, (II) Approving the Payment of Fees and Expenses Related Thereto, and (III)
Granting Related Relief entered by the Bankruptcy Court on August 21, 2020 at CM/ECF No. 899 in the
Chapter 11 Cases.

         15.     “Backstop Parties” means the members of the FLLO Ad Hoc Group and Franklin that are signatories
to the Backstop Commitment Agreement.

         16.      “Backstop Party Rights” means the non-certificated rights that will enable the holders thereof to
purchase shares of New Common Stock at an aggregate purchase price of $150 million at a price per share to be
determined based on a 35 percent discount to the equity value per share of New Common Stock, post new-money, as
implied by a Plan total enterprise value of $3.25 billion.

                                                           2
   Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1197 of 1639
                                                                          1197


         17.       “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101–1532, as amended.

         18.       “Bankruptcy Court” means the United States Bankruptcy Court for the Southern District of Texas.

         19.     “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure promulgated under
section 2075 of the Judicial Code and the general, local, and chambers rules of the Bankruptcy Court, each, as
amended from time to time.

         20.      “Bar Date” means the date established by the Bankruptcy Court by which Proofs of Claim or Proofs
of Interest must be Filed with respect to such Claims or Interests, other than Administrative Claims, Claims held by
Governmental Units, or other Claims or Interests for which the Bankruptcy Court entered an order excluding the
holders of such Claims or Interests from the requirement of Filing Proofs of Claim or Proofs of Interest.

         21.      “Business Day” means any day other than a Saturday, Sunday, or other day on which commercial
banks are authorized to close under the laws of, or are in fact closed in, the State of New York.

        22.       “Cash” means cash in legal tender of the United States of America and cash equivalents, including
bank deposits, checks, and other similar items.

          23.       “Cause of Action” or “Causes of Action” means any claims, interests, damages, remedies, causes of
action, demands, rights, actions, suits, obligations, liabilities, accounts, defenses, offsets, powers, privileges, licenses,
Liens, indemnities, guaranties, and franchises of any kind or character whatsoever, whether known or unknown,
foreseen or unforeseen, existing or hereinafter arising, contingent or non-contingent, liquidated or unliquidated,
secured or unsecured, assertable, directly or derivatively, matured or unmatured, suspected or unsuspected, in contract,
tort, law, equity, or otherwise. Causes of Action also include: (a) all rights of setoff, counterclaim, or recoupment and
claims under contracts or for breaches of duties imposed by law; (b) the right to object to or otherwise contest Claims
or Interests; (c) claims pursuant to sections 362, 510, 542, 543, 544 through 550, or 553 of the Bankruptcy Code; and
(d) such claims and defenses as fraud, mistake, duress, and usury, and any other defenses set forth in section 558 of
the Bankruptcy Code.

          24.      “Chapter 11 Cases” means (a) when used with reference to a particular Debtor, the case pending
for that Debtor under chapter 11 of the Bankruptcy Code in the Bankruptcy Court and (b) when used with reference
to all the Debtors, the procedurally consolidated chapter 11 cases pending for the Debtors in the Bankruptcy Court.

        25.       “Chesapeake” means Chesapeake Energy Corporation or any successor or assign, by merger,
consolidation, or otherwise, prior to the Effective Date.

        26.        “Claim” means any claim, as defined in section 101(5) of the Bankruptcy Code, against any of
the Debtors.

          27.      “Claims and Balloting Agent” means Epiq Corporate Restructuring, LLC, the notice, claims, and
solicitation agent retained by the Debtors in the Chapter 11 Cases.

         28.     “Claims Register” means the official register of Claims maintained by the Claims and
Balloting Agent.

         29.      “Class” means a class of Claims or Interests as set forth in Article III of the Plan pursuant to
section 1122(a) of the Bankruptcy Code.

         30.       “CM/ECF” means the Bankruptcy Court’s Case Management and Electronic Case Filing system.

        31.   “Collateral Agreement” means that certain Collateral Agreement dated December 19, 2019 by and
between MUFG Union Bank, N.A., as collateral trustee, Chesapeake, and certain of the other Debtors.



                                                             3
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1198 of 1639
                                                                         1198


        32.     “Collateral Trust Agreement” means that certain Collateral Trust Agreement dated
December 19, 2019 by and between MUFG Union Bank, N.A., as collateral trustee and revolver agent, and GLAS
USA LLC, as original term loan agent, and as acknowledged and agreed by certain of the Debtors (as from time to
time amended and restated).

          33.      “Collateral Trust Documents” means collectively, the Collateral Agreement, the Collateral Trust
Agreement, and any and all other agreements, documents, and instruments delivered or entered into in connection
therewith, including any guarantee agreements, pledge and collateral agreements, intercreditor agreements, and other
security documents (including any amendments, restatements, supplements, or modifications of any of the foregoing),
related to or executed in connection with the Collateral Agreement and the Collateral Trust Agreement.

         34.     “Collateral Trustee” means MUFG Union Bank, N.A., in its capacity as collateral trustee under the
Collateral Agreement and the Collateral Trust Agreement.

          35.       “Conditions Precedent to the Effective Date” means the conditions precedent to the Effective Date
set forth in Article IX.A of the Plan.

         36.       “Conditions Precedent to the Exit Facilities” means the conditions precedent to the closing of the
Exit Facilities identified on Exhibit D to the Exit Facilities Term Sheet.

        37.      “Confirmation” means the Bankruptcy Court’s entry of the Confirmation Order on the docket of the
Chapter 11 Cases.

       38.      “Confirmation Date” means the date upon which the Bankruptcy Court enters the
Confirmation Order on the docket of the Chapter 11 Cases, within the meaning of Bankruptcy Rules 5003 and 9021.

          39.      “Confirmation Hearing” means the hearing to be held by the Bankruptcy Court on confirmation of
the Plan, pursuant to Bankruptcy Rule 3020(b)(2) and sections 1128 and 1129 of the Bankruptcy Code, as such hearing
may be continued from time to time.

         40.      “Confirmation Order” means the order of the Bankruptcy Court confirming the Plan pursuant to
section 1129 of the Bankruptcy Code.

         41.     “Consenting DIP Lenders” means those certain DIP Lenders that are or have become parties to the
Restructuring Support Agreement.

        42.       “Consenting FLLO Term Loan Facility Lenders” means those certain FLLO Term Loan Facility
Lenders that are or have become parties to the Restructuring Support Agreement.

        43.       “Consenting Revolving Credit Facility Lenders” means those certain Revolving Credit Facility
Lenders that are or have become parties to the Restructuring Support Agreement.

          44.     “Consenting Second Lien Noteholders” means Second Lien Noteholders, investment advisors
thereto, sub-advisors thereto, or managers of discretionary accounts belonging to Second Lien Noteholders that are or
have become parties to the Restructuring Support Agreement.

        45.      “Consenting Stakeholders” means collectively, the Consenting DIP Lenders, the Consenting
Revolving Credit Facility Lenders, the Consenting FLLO Term Loan Facility Lenders, and the Consenting Second
Lien Noteholders.

        46.       “Consenting Unsecured Noteholders” means Unsecured Noteholders, investment advisors thereto,
sub-advisors thereto, or managers of discretionary accounts belonging to Unsecured Noteholders that are or have
become parties to the Restructuring Support Agreement.

        47.      “Consummation” means the occurrence of the Effective Date as to the applicable Debtor.

                                                         4
   Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1199 of 1639
                                                                          1199


          48.       “Convenience Claim” means any Allowed General Unsecured Claim (i) that is Allowed in an
amount greater than $0 but less than or equal to $1,000,000.00; and (ii) for which the holder of such Claim irrevocably
elects via a Convenience Claim Election Form to have such Claim treated as a Convenience Claim (upon Allowance)
for the purposes of the Plan, in full and final satisfaction of such Claim; provided that a holder of a General Unsecured
Claim in excess of $1,000,000.00 may irrevocably elect via a Convenience Claim Election Form to have such Claim
irrevocably reduced to $1,000,000.00 and treated as a Convenience Claim (upon Allowance) for the purposes of the
Plan, in full and final satisfaction of such Claim.

        49.      “Convenience Claim Election Form” means the form to be distributed by the Claims and Balloting
Agent to each holder of a General Unsecured Claim as soon as reasonably practicable after the Effective Date.

        50.      “Convenience Claim Distribution” means each Convenience Claim’s Pro Rata share of
$10,000,000.00, which Pro Rata share shall not exceed 5 percent of such Convenience Claim.

        51.     “Convenience Claim Distribution Reserve” means an interest bearing account funded by the
Reorganized Debtors with Cash on the Effective Date in an amount equal to $10,000,000.00.

         52.        “Cure Claim” means a Claim (unless waived or modified by the applicable counterparty) based
upon the Debtors’ defaults on an Executory Contract or Unexpired Lease at the time such Executory Contract or
Unexpired Lease is assumed by the Debtors pursuant to section 365 of the Bankruptcy Code, other than with respect
to a default that is not required to be cured under section 365(b)(2) of the Bankruptcy Code.

         53.      “D&O Liability Insurance Policies” means all insurance policies issued to or providing coverage at
any time to any of the Debtors for directors’, managers’, and officers’ liability existing as of the Petition Date
(including any “tail policy”) and all agreements, documents, or instruments relating thereto.

          54.      “Definitive Documents” means, without limitation, the following documents: (a) the Plan and its
exhibits, ballots, and solicitation procedures; (b) the Confirmation Order; (c) the Disclosure Statement; (d) the
Disclosure Statement Order; (e) the First Day Pleadings and all orders sought pursuant thereto; (f) the Plan
Supplement; (g) the DIP Order, DIP Credit Agreement, and any and all other DIP Documents and related
documentation; (h) the Backstop Commitment Agreement, Backstop Commitment Agreement Approval Order, Rights
Offering Procedures, Registration Rights Agreement and any and all documentation required to implement, issue, and
distribute the New Common Stock; (i) the New Warrants Agreements; (j) the Exit Facilities Documents and related
documentation; (k) the Management Incentive Plan; (l) the New Organizational Documents and all other documents
or agreements for the governance of Reorganized Chesapeake, including the list of directors of Reorganized
Chesapeake and any certificates of incorporation and shareholders’ agreements or supplements as may be reasonably
necessary or advisable to implement the Restructuring Transactions; and (m) such other agreements and
documentation reasonably desired or necessary to consummate and document the transactions contemplated by
the Plan.

        55.      “DIP Agent” means MUFG Union Bank, N.A., in its capacity as administrative agent and collateral
agent under the DIP Credit Agreement.

         56.      “DIP Agent Fees and Expenses” has the meaning ascribed to such term in the DIP Order.

          57.       “DIP Claims” means all Claims derived from, based upon, or secured pursuant to the DIP Credit
Agreement or DIP Order, including Claims for all principal amounts outstanding, interest, fees, expenses, costs,
professional fee reimbursements, transaction fees, Superpriority Hedge Claims, and other charges arising thereunder
or related thereto, in each case, with respect to the DIP Facility; provided that any Adequate Protection Super-Priority
Claims (as defined in the Final DIP Order), including such Claims granted in respect of the Revolving Credit Facility,
FLLO Term Loan Facility, or Second Lien Notes authorized in the DIP Order, shall not be DIP Claims.




                                                           5
   Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1200 of 1639
                                                                          1200


          58.      “DIP Credit Agreement” means that certain Senior Secured Super-Priority Debtor-In-Possession
Credit Agreement dated July 1, 2020, between Chesapeake Energy Corporation, as borrower, the Debtor guarantors
that are party thereto, the DIP Lenders, and the DIP Agent (as may be amended, supplemented, or otherwise modified
from time to time).

         59.      “DIP Documents” means collectively, the DIP Credit Agreement and any and all other agreements,
documents, and instruments delivered or entered into in connection therewith, including any guarantee agreements,
pledge and collateral agreements, intercreditor agreements, and other security documents (including any amendments,
restatements, supplements, or modifications of any of the foregoing), related to or executed in connection with the
DIP Credit Agreement.

        60.    “DIP Facility” means that certain debtor-in-possession financing facility documented pursuant to
the DIP Documents and DIP Order.

         61.      “DIP Lenders” means the lenders party to the DIP Credit Agreement.

         62.      “DIP Order” means collectively, the Interim DIP Order and the Final DIP Order.

        63.        “Disclosure Statement” means the disclosure statement for the Plan, including all exhibits and
schedules thereto.

        64.       “Disclosure Statement Order” means an order of the Bankruptcy Court approving the Disclosure
Statement, the Solicitation Materials, and the solicitation of the Plan.

          65.       “Disputed” means, as to a Claim or an Interest, any Claim or Interest: (a) that is not Allowed;
(b) that is not disallowed by the Plan, the Bankruptcy Code, or a Final Order, as applicable; (c) as to which a dispute
is being adjudicated by a court of competent jurisdiction in accordance with non-bankruptcy law; (d) that is Filed in
the Bankruptcy Court and not withdrawn, as to which a timely objection or request for estimation has been Filed; and
(e) with respect to which a party in interest has Filed a Proof of Claim or otherwise made a written request to a Debtor
for payment, without any further notice to or action, order, or approval of the Bankruptcy Court.

         66.       “Distribution Record Date” means, other than with respect to publicly held Securities, the record
date for purposes of making distributions under the Plan on account of Allowed Claims, which date shall be on or
before the Effective Date. For the avoidance of doubt, no distribution record date shall apply to holders of
public Securities, including the Second Lien Notes and the Unsecured Notes.

         67.      “DTC” means the Depository Trust Company.

          68.     “Effective Date” means, as to the applicable Debtor, the date that is the first Business Day on which
(a) no stay of the Confirmation Order is in effect and (b) all Conditions Precedent to the Effective Date have been
satisfied or waived in accordance with Article IX.B of the Plan. Any action to be taken on the Effective Date may be
taken on or as soon as reasonably practicable thereafter.

         69.      “Entity” has the meaning set forth in section 101(15) of the Bankruptcy Code.

         70.       “Estate” means as to each Debtor, the estate created for such Debtor in its Chapter 11 Case pursuant
to section 541 of the Bankruptcy Code upon the commencement of such Debtor’s Chapter 11 Case.

        71.       “Exchange Act” means the Securities Exchange Act of 1934, 15 U.S.C. § 78a, et seq., as amended
from time to time, and the rules and regulations promulgated thereunder.




                                                           6
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1201 of 1639
                                                                         1201


         72.       “Exculpated Parties” means, collectively, and in each case in its capacity as such: (a) the Debtors;
(b) any official committees appointed in the Chapter 11 Cases and each of their respective members; (c) the DIP
Lenders; (d) the Exit Facilities Lenders; (e) the Consenting Revolving Credit Facility Lenders; (f) the Consenting
FLLO Term Loan Facility Lenders; (g) the Consenting Second Lien Noteholders; (h) the Consenting Unsecured
Noteholders; (i) the Agents; (j) each Trustee; (k) the Backstop Parties; and (l) with respect to each of the foregoing,
such Entity and its current and former Affiliates, and such Entity’s and its current and former Affiliates’ current and
former equity holders, subsidiaries, participants, officers, directors, managers, principals, members, employees,
agents, advisory board members, financial advisors, partners, attorneys, accountants, investment bankers, consultants,
representatives, and other professionals, each in their capacity as such.

         73.     “Executory Contract” means a contract to which one or more of the Debtors is a party and that is
subject to assumption or rejection under section 365 of the Bankruptcy Code.

         74.      “Existing Equity Interest” means an Interest in Chesapeake Energy Corporation existing as of the
Petition Date.

       75.        “Existing RBL Adequate Protection Payments” has the meaning ascribed to such term in the
DIP Order.

         76.      “Exit Facilities” means collectively, the Exit RBL Facility and Exit FLLO Term Loan Facility.

         77.        “Exit Facilities Agent” means MUFG Union Bank, N.A., in its capacity as administrative agent for
the Exit Facilities.

          78.      “Exit Facilities Credit Agreements” means those certain credit agreements that will govern the Exit
Facilities (as each may be amended, supplemented, or otherwise modified from time to time), in each case which shall
be consistent with the Exit Facilities Term Sheet.

          79.     “Exit Facilities Documents” means, collectively, the Exit Facilities Credit Agreements, and any and
all other agreements, documents, and instruments delivered or to be entered into in connection therewith, including
any amendments to existing loan or other finance documentation, any guarantee agreements, pledge and collateral
agreements, intercreditor agreements, and other security documents, in each case if any, the form and substance of
which shall be consistent with the Exit Facilities Term Sheet.

         80.      “Exit Facilities Lenders” means the lenders party to the Exit Facilities Credit Agreements.

       81.       “Exit Facilities Loans” means collectively, the Tranche A RBL Exit Facility Loans, the Tranche B
RBL Exit Facility Loans, and the Exit FLLO Term Loans.

          82.      “Exit Facilities Term Sheet” means the term sheet setting forth the material terms of the Exit
Facilities, attached as Exhibit 3 to the Restructuring Term Sheet.

       83.    “Exit FLLO Term Loan” means term loans made under and on the terms set forth under the Exit
FLLO Term Loan Facility.

         84.        “Exit FLLO Term Loan Facility” means the term loan facility to be provided in accordance with the
terms set forth in the Exit Facilities Term Sheet.

          85.      “Exit RBL Facility” means the revolving credit facility to be provided in accordance with the terms
set forth in the Exit Facilities Term Sheet.

         86.      “Federal Judgment Rate” means the federal judgment rate in effect as of the Petition Date.

        87.       “File,” “Filed,” or “Filing” means file, filed, or filing with the Bankruptcy Court or its authorized
designee in the Chapter 11 Cases.

                                                          7
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1202 of 1639
                                                                         1202


        88.       “Final DIP Order” means the Final Order (I) Authorizing The Debtors To Obtain Postpetition
Financing, (II) Authorizing The Debtors To Use Cash Collateral, (III) Granting Liens And Providing Claims With
Superpriority Administrative Expense Status, (IV) Granting Adequate Protection To The Existing Secured Parties,
(V) Modifying The Automatic Stay, And (VI) Granting Related Relief entered by the Bankruptcy Court on July 31, 2020
at CM/ECF No. 597 in the Chapter 11 Cases.

          89.      “Final Order” means an order or judgment of the Bankruptcy Court, or court of competent
jurisdiction with respect to the subject matter that has not been reversed, stayed, modified, or amended, as entered on
the docket in any Chapter 11 Case or the docket of any court of competent jurisdiction, and as to which the time to
appeal, or seek certiorari or move for a new trial, reargument, or rehearing has expired and no appeal or petition for
certiorari or other proceedings for a new trial, reargument, or rehearing has been timely taken, or as to which any
appeal that has been taken or any petition for certiorari that has been or may be timely Filed has been withdrawn or
resolved by the highest court to which the order or judgment was appealed or from which certiorari was sought or the
new trial, reargument, or rehearing will have been denied, resulted in no stay pending appeal of such order, or has
otherwise been dismissed with prejudice; provided that the possibility that a motion under Rule 60 of the Federal
Rules of Civil Procedure, or any analogous rule under the Bankruptcy Rules, may be Filed with respect to such order
will not preclude such order from being a Final Order.

          90.      “First Day Pleadings” means the pleadings and related documentation requesting certain emergency
relief, or supporting the request for such relief, Filed by the Debtors on or around the Petition Date and heard at the
“first day” hearing.

        91.     “FLLO Ad Hoc Group” means the ad hoc group of FLLO Term Loan Facility Lenders represented
by Davis Polk & Wardwell LLP.

         92.      “FLLO Professionals” means the FLLO Term Loan Facility Administrative Agent’s professionals
(including Arnold & Porter Kaye Scholer LLP and one local counsel in the relevant jurisdiction), the Collateral
Trustee’s professionals (including Paul Hastings LLP), and the FLLO Ad Hoc Group’s professionals (including Davis
Polk & Wardwell LLP, Vinson & Elkins LLP, one local counsel in each other relevant local jurisdiction, and Perella
Weinberg Partners LP).

         93.       “FLLO Rights” means the non-certificated rights that will enable the holders thereof to purchase
shares of New Common Stock at an aggregate purchase price of $382.5 million at a price per share to be determined
based on a 35 percent discount to the equity value per share of New Common Stock, post new-money, as implied by
a Plan total enterprise value of $3.25 billion.

        94.     “FLLO Term Loan Facility” means the facility outstanding under the FLLO Term Loan Facility
Credit Agreement.

        95.       “FLLO Term Loan Facility Administrative Agent” means GLAS USA LLC, in its capacity as
administrative agent for the FLLO Term Loan Facility.

         96.      “FLLO Term Loan Facility Claim” means any Claim on account of the FLLO Term Loan Facility.

         97.      “FLLO Term Loan Facility Credit Agreement” means that certain Term Loan Agreement, dated as
of December 19, 2019 ((i) as supplemented by that certain Class A Term Loan Supplement, dated as of
December 19, 2019 (as amended, restated or otherwise modified from time to time), by and among Chesapeake, as
borrower, the Debtor guarantors party thereto, the FLLO Term Loan Facility Administrative Agent, and the lender
parties thereto, and (ii) as further amended, restated, or otherwise modified from time to time), by and among
Chesapeake, as borrower, the Debtor guarantors party thereto, the FLLO Term Loan Facility Administrative Agent,
and the lenders party thereto.

        98.     “FLLO Term Loan Facility Lenders” means lenders party to the FLLO Term Loan Facility
Credit Agreement.



                                                          8
   Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1203 of 1639
                                                                          1203


        99.       “Franklin” means Franklin Advisers, Inc., as investment manager on behalf of certain funds
and accounts.

         100.    “General Unsecured Claim” means any Claim against any Debtor that is not otherwise paid in full
during the Chapter 11 Cases pursuant to an order of the Bankruptcy Court and is not an Administrative Claim, a
Priority Tax Claim, an Other Priority Claim, an Other Secured Claim, a Revolving Credit Facility Claim, a FLLO
Term Loan Facility Claim, a Second Lien Notes Claim, an Unsecured Notes Claim, an Intercompany Claim, or a
Section 510(b) Claim.

         101.     “Governmental Unit” has the meaning set forth in section 101(27) of the Bankruptcy Code.

         102.     “Impaired” means with respect to a Class of Claims or Interests, a Class of Claims or Interests that
is impaired within the meaning of section 1124 of the Bankruptcy Code.

         103.      “Insurance Policies” means all insurance policies, including all D&O Liability Insurance Policies,
that have been issued at any time or provide coverage, benefits or proceeds to any of the Debtors (or their predecessors)
and all agreements, documents or instruments relating thereto.

          104.     “Insurer” means any company or other Entity that issued or entered into an Insurance Policy, any
third party administrator of or for any Insurance Policy, and any respective predecessors, successors and/or affiliates
of any of the foregoing.

          105.    “Intercompany Claim” means any Claim held by a Debtor or an Affiliate against a Debtor or an
Affiliate of a Debtor.

         106.     “Intercompany Interest” means an Interest in a Debtor held by a Debtor or an Affiliate of a Debtor.

         107.     “Intercreditor Agreement” means that certain Intercreditor Agreement dated as of
December 19, 2019 by and between MUFG Union Bank, N.A., as Priority Lien Agent, and the Second Lien Notes
Trustee, and as acknowledged and agreed by certain of the Debtors (as from time to time amended and restated).

        108.     “Interest” means any equity security (as defined in section 101(16) of the Bankruptcy Code) in any
Debtor and any other rights, options, warrants, stock appreciation rights, phantom stock rights, restricted stock units,
redemption rights, repurchase rights, convertible, exercisable or exchangeable Securities or other agreements,
arrangements or commitments of any character relating to, or whose value is related to, any such interest or other
ownership interest in any Debtor.

        109.      “Interim DIP Order” means the Interim Order (I) Authorizing The Debtors To Obtain Postpetition
Financing, (II) Authorizing The Debtors To Use Cash Collateral, (III) Granting Liens And Providing Claims With
Superpriority Administrative Expense Status, (IV) Granting Adequate Protection To The Existing Secured Parties,
(V) Modifying The Automatic Stay, (VI) Scheduling A Final Hearing, and (VII) Granting Related Relief entered by the
Bankruptcy Court on June 29, 2020 at CM/ECF No. 128 in the Chapter 11 Cases.

          110.    “Judicial Code” means title 28 of the United States Code, 28 U.S.C. §§ 1–4001, as amended from
time to time.

         111.     “Lien” has the meaning set forth in section 101(37) of the Bankruptcy Code.

         112.     “Management Incentive Plan” has the meaning set forth in Article IV.Q of the Plan.

         113.     “Minimum Liquidity Condition” means the Condition Precedent to the Effective Date that provides
that the Debtors shall have minimum liquidity, including unrestricted cash on hand and availability under the Exit
RBL Facility, of at least $500 million.



                                                           9
   Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1204 of 1639
                                                                          1204


        114.    “National Securities Exchange” means The New York Stock Exchange, The Nasdaq Global Select
Market, or The Nasdaq Global Market.

          115.      “New Board” means the board of directors of Reorganized Chesapeake that shall be appointed in
accordance with the terms of the governance term sheet attached as Exhibit 6 to the Restructuring Term Sheet. The
identities of directors on the New Board shall be set forth in the Plan Supplement, to the extent known.

         116.     “New Class A Warrants” means warrants to purchase 10 percent of the New Common Stock (after
giving effect to the Rights Offering, but subject to dilution by the Management Incentive Plan, the New Class B
Warrants, and the New Class C Warrants), with a term of 5 years at an initial exercise price per share struck at the
equity value of Reorganized Chesapeake, post new-money, implied by a total enterprise value of $4.0 billion.

         117.      “New Class B Warrants” means warrants to purchase 10 percent of the New Common Stock (after
giving effect to the Rights Offering, but subject to dilution by the Management Incentive Plan and the New Class C
Warrants), with a term of 5 years at an initial exercise price per share struck at the equity value of Reorganized
Chesapeake, post new-money, implied by a total enterprise value of $4.5 billion.

          118.      “New Class C Warrants” means warrants to purchase 10 percent of the New Common Stock (after
giving effect to the Rights Offering, but subject to dilution by the Management Incentive Plan), with a term of 5 years
at an initial exercise price per share struck at the equity value of Reorganized Chesapeake, post new-money, implied
by a total enterprise value of $5.0 billion.

       119.     “New Common Stock” means the single class of common stock to be issued by Reorganized
Chesapeake on the Effective Date on terms acceptable to the Required Plan Sponsors.

         120.     “New Organizational Documents” means the amended and restated or new charters, bylaws,
operating agreements, or other organizational documents of Reorganized Chesapeake and the other Reorganized
Debtors, as applicable and in form and substance satisfactory to the Required Plan Sponsors.

       121.    “New Warrants” means collectively, the New Class A Warrants, the New Class B Warrants, and the
New Class C Warrants.

          122.      “New Warrants Agreements” means the documents or agreements governing the New Warrants,
Filed with the Plan Supplement, which will be consistent in all material respects with the terms of this Plan and shall
at all times be in form and substance reasonably acceptable to the Required Plan Sponsors and the Consenting Second
Lien Noteholders holding at least 66.67% of the aggregate outstanding principal amount of the Second Lien Notes
Claims that are held by the Consenting Second Lien Noteholders.

          123.      “Other Priority Claim” means any Claim other than an Administrative Claim or a Priority Tax Claim
entitled to priority in right of payment under section 507(a) of the Bankruptcy Code.

         124.  “Other Secured Claim” means any Secured Claim other than a DIP Claim, Revolving Credit Facility
Claim, a FLLO Term Loan Facility Claim, or a Second Lien Notes Claim.

         125.       “PDP PV-10 Ratio” means the ratio of (a) the total present value of the future net revenues expected
with respect to the oil and gas properties of the Debtors discounted at 10% per annum, calculated in accordance with
the Exit Facilities Term Sheet to (b) consolidated indebtedness under the Exit Credit Facilities and any other secured
debt of Chesapeake as of the closing date of the Exit Credit Facilities.

         126.     “PDP PV-10 Test Ratio Condition” means the Condition Precedent to the Effective Date that
provides that the Debtors shall have a PDP PV-10 Ratio no less than 1.5x.

         127.     “Person” has the meaning set forth in section 101(41) of the Bankruptcy Code.

         128.     “Petition Date” means the date on which the Debtors commenced the Chapter 11 Cases.

                                                          10
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1205 of 1639
                                                                         1205


         129.     “Plan Securities” has the meaning set forth in Article IV.E.1 of the Plan.

         130.     “Plan Supplement” means the compilation of documents and forms of documents, term sheets,
agreements, schedules, and exhibits to the Plan (in each case, as may be altered, amended, modified, or supplemented
from time to time in accordance with the terms hereof and in accordance with the Bankruptcy Code and Bankruptcy
Rules) to be Filed prior on or before November 23, 2020, and any additional documents Filed prior to the Effective
Date as amendments to the Plan Supplement, including the following, as applicable: (a) the New Organizational
Documents; (b) to the extent known, the identities of the members of the New Board; (c) the Assumed Executory
Contracts and Unexpired Leases Schedule; (d) the Rejected Executory Contracts and Unexpired Leases Schedule;
(e) the Schedule of Retained Causes of Action; (f) a summary of the material terms of the Exit Facilities, which may
include the Exit Facilities Term Sheet; (g) the definitive documentation related to the Management Incentive Plan;
(h) the Restructuring Transactions Memorandum; (i) the New Warrants Agreements; and (j) the Registration
Rights Agreement.

         131.     “Priority Tax Claim” means any Claim of a Governmental Unit of the kind specified in
section 507(a)(8) of the Bankruptcy Code.

          132.    “Pro Rata” means the proportion that an Allowed Claim or an Allowed Interest in a particular Class
bears to the aggregate amount of Allowed Claims or Allowed Interests in that Class, unless otherwise indicated;
provided that, as used in Article III.B.6 and III.B.7, “Pro Rata” means the proportion that an Allowed Unsecured
Notes Claim or Allowed General Unsecured Claim, as appropriate, bears to the aggregate amount of Allowed
Unsecured Notes Claims and Allowed General Unsecured Claims that are not Convenience Claims; provided, further,
that for the purpose of calculating the aggregate Allowed Unsecured Notes Claims and aggregate Allowed General
Unsecured Claims for purposes of determining each Allowed Unsecured Notes Claim’s and Allowed General
Unsecured Claim’s Pro Rata distribution, each Allowed Unsecured Notes Claim and Allowed General Unsecured
Claim shall be counted once, notwithstanding the number of Debtors against which such claim may be asserted;
provided, further, that for the purpose of calculating the Convenience Claim Distribution pursuant to Article III.B.7
of the Plan, “Pro Rata” means the proportion that the amount of a Convenience Claim bears to the aggregate amount
of Convenience Claims.

         133.     “Professional” means an Entity: (a) employed pursuant to a Bankruptcy Court order in accordance
with sections 327, 328, 363, or 1103 of the Bankruptcy Code and to be compensated for services rendered prior to or
on the Confirmation Date, pursuant to sections 327, 328, 329, 330, 331, and 363 of the Bankruptcy Code; or
(b) awarded compensation and reimbursement by the Bankruptcy Court pursuant to section 503(b)(4) of the
Bankruptcy Code.

        134.     “Professional Claim” means a Claim by a professional seeking an award by the Bankruptcy Court
of compensation for services rendered or reimbursement of expenses incurred through and including the Confirmation
Date under sections 330, 331, 503(b)(2), 503(b)(3), 503(b)(4), or 503(b)(5) of the Bankruptcy Code.

          135.      “Professional Fee Amount” means the aggregate amount of Professional Claims and other unpaid
fees and expenses that the Professionals estimate they have incurred or will incur in rendering services to the Debtors
as set forth in Article II.A.2(c) of the Plan.

        136.     “Professional Fee Escrow Account” means an interest-bearing account funded by the Reorganized
Debtors with Cash on the Effective Date in an amount equal to the Professional Fee Amount.

         137.    “Proof of Claim” means a proof of Claim Filed against any of the Debtors in the Chapter 11 Cases
by the Claims Bar Date or the applicable Administrative Claims Bar Date, as applicable.

        138.     “Proof of Interest” means a proof of Interest Filed against any of the Debtors in the
Chapter 11 Cases.




                                                          11
   Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1206 of 1639
                                                                          1206


         139.     “Put Option Premium” means a nonrefundable aggregate fee of $60 million, which represents
10 percent of the Rights Offering Amount, payable to the Backstop Parties in accordance with, and subject to the
terms of, the Backstop Commitment Agreement based on their respective Backstop commitment percentages at the
time such payment is made.

         140.      “Registration Rights Agreement” means the registration rights agreement pursuant to which each
Backstop Party shall be entitled to registration rights with respect to its shares of New Common Stock, its New
Warrants, and its shares of New Common Stock underlying its New Warrants to be entered into as of the Effective
Date. The Registration Rights Agreement will provide (among other provisions) that, after the Effective Date, at any
time Reorganized Chesapeake is not required to file public reports with the SEC, Reorganized Chesapeake shall
continue to file such public reports on EDGAR as a voluntary filer, unless approved by the holders of a majority of
the outstanding New Common Stock.

        141.       “Reinstate,” “Reinstated,” or “Reinstatement” means with respect to Claims and Interests, that the
Claim or Interest shall not be discharged hereunder and the holder’s legal, equitable, and contractual rights on account
of such Claim or Interest shall remain unaltered by Consummation in accordance with section 1124(1) of the
Bankruptcy Code.

         142.    “Rejected Executory Contracts and Unexpired Leases Schedule” means the schedule of Executory
Contracts and Unexpired Leases to be rejected by the Debtors pursuant to the Plan, which schedule shall be included
in the Plan Supplement, as the same may be amended, modified, or supplemented from time to time; provided that
such schedule shall be in form and substance acceptable to the Required Consenting Stakeholders.

         143.       “Released Parties” means, collectively, and in each case in its capacity as such: (a) each Debtor;
(b) each Reorganized Debtor; (c) each of the Debtors’ current and former directors and officers; (d) each DIP Lender;
(e) each Agent; (f) each Trustee; (g) the Consenting Revolving Credit Facility Lenders; (h) the Consenting FLLO
Term Loan Facility Lenders; (i) the Consenting Second Lien Noteholders; (j) the Consenting Unsecured Noteholders;
(k) the Exit Facilities Lenders; (l) the Backstop Parties; (m) all holders of Interests; and (n) with respect to each of the
foregoing (a) through (m), each of such Entity and its current and former Affiliates, and such Entities’ and their current
and former Affiliates’ current and former members, directors, managers, officers, equity holders (regardless of
whether such interests are held directly or indirectly), predecessors, successors and assigns, subsidiaries, participants,
and each of their respective current and former members, equity holders, officers, directors, managers, principals,
members, employees, agents, advisory board members, financial advisors, partners, attorneys, accountants, investment
bankers, consultants, representatives, and other professionals, each in their capacity as such; provided that in each
case, an Entity shall not be a Released Party if it: (x) elects to opt out of the releases contained in the Plan; or (y) timely
Files with the Bankruptcy Court on the docket of the Chapter 11 Cases an objection to the releases contained in the
Plan that is not resolved before Confirmation.

          144.     “Releasing Parties” means, collectively, and in each case in its capacity as such: (a) each Debtor;
(b) each Reorganized Debtor; (c) each DIP Lender; (d) each Agent; (e) each Trustee; (f) the Consenting Revolving
Credit Facility Lenders; (g) the Consenting FLLO Term Loan Facility Lenders; (h) the Consenting Second Lien
Noteholders; (i) the Consenting Unsecured Noteholders; (j) the Exit Facilities Lenders; (k) the Backstop Parties; (l) all
holders of Claims; (m) all holders of Interests; (n) with respect to each of the foregoing (a) through (m), such Entity
and its current and former Affiliates, and such Entities’ and their current and former Affiliates’ current and former
members, directors, managers, officers, equity holders (regardless of whether such interests are held directly or
indirectly), predecessors, successors and assigns, subsidiaries, participants, and each of their respective current and
former members, equity holders, officers, directors, managers, principals, members, employees, agents, advisory
board members, financial advisors, partners, attorneys, accountants, investment bankers, consultants, representatives,
and other professionals, in each case, solely in their respective capacities as such with respect to such Entity and solely
to the extent such Entity has the authority to bind such Affiliate in such capacity; provided that in each case, an Entity
shall not be a Releasing Party if it: (x) elects to opt out of the releases contained in the Plan; or (y) timely Files with
the Bankruptcy Court on the docket of the Chapter 11 Cases an objection to the releases contained in the Plan that is
not resolved before Confirmation.

        145.     “Removal Deadline” means the deadline by which the Debtors may remove actions pursuant to
28 U.S.C. § 1452 and Bankruptcy Rule 9027, as amended by the Removal Extension Order.
                                                              12
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1207 of 1639
                                                                         1207


       146.    “Removal Extension Order” means the Order (I) Extending the Time Within Which the Debtors May
Remove Actions and (II) Granting Related Relief entered by the Bankruptcy Court on September 25, 2020 at
CM/ECF No. 1231 in the Chapter 11 Cases.

         147.     “Reorganized Debtors” means collectively, a Debtor, or any successor or assign thereto, by merger,
consolidation, or otherwise, on and after the Effective Date, including any new entity established in connection with
the implementation of the Restructuring Transactions.

         148.   “Reorganized Chesapeake” means the new entity which shall be incorporated in the State of
Delaware and will be the successor or assign to Chesapeake, by merger, consolidation, or otherwise, on or after the
Effective Date.

        149. “Required Consenting DIP Lenders” means Consenting DIP Lenders holding at least 51% of the
aggregate Revolving DIP Loan Commitments under the DIP Facility that are held by Consenting DIP Lenders.

         150.     “Required Consenting Revolving Credit Facility Lenders” means Consenting Revolving Credit
Facility Lenders holding at least 51% of the aggregate outstanding principal amount of the Revolving Credit Facility
Claims that are held by Consenting Revolving Credit Facility Lenders.

        151.    “Required Consenting Stakeholders” means the Required Consenting DIP Lenders, the Required
Consenting Revolving Credit Facility Lenders, and the Required Plan Sponsors.

         152.   “Required Plan Sponsors” means the Backstop Parties holding FLLO Term Loan Facility Claims
and commitments to Backstop the Rights Offering such that the Required Plan Sponsors Percentage exceeds
66 2/3 percent.

         153.     “Required Plan Sponsors Percentage” means a fraction, expressed as a percentage, (a) the
numerator of which shall be the sum of (i) the aggregate outstanding principal amount of FLLO Term Loan Facility
Claims that are held by the relevant Backstop Parties and (ii) the percentage of the Backstop ascribed to the relevant
Backstop Parties (as set forth in the Backstop Commitment Agreement) multiplied by the Rights Offering Amount;
and (b) the denominator of which shall be the sum of (i) the aggregate outstanding principal amount of FLLO Term
Loan Facility Claims that are held by all of the Backstop Parties and (ii) the Rights Offering Amount.

         154.      “Restructuring Expenses” means any reasonable and documented unpaid fees and expenses incurred
on or before the Effective Date by the FLLO Professionals and the Second Lien Professionals payable on the Effective
Date, subject to the conditions set forth in Article IV.U of the Plan; provided that reimbursement of the Second Lien
Notes Trustee’s financial advisor’s fees and expenses shall be limited to $250,000 in the aggregate, and no Person
shall be entitled to increase or seek to increase this $250,000 limit or use a charging lien or seek payment for such
financial advisor’s or any financial advisor to the Second Lien Notes Trustee’s fees and expenses from any
other source.

         155.    “Restructuring Support Agreement” means that certain restructuring support agreement, dated as of
June 28, 2020, by and among the Debtors and the Consenting Stakeholders, as may be further amended, modified, or
supplemented from time to time, in accordance with its terms.

         156.    “Restructuring Term Sheet” means the term sheet setting forth the material terms of the
Restructuring Transactions, attached as Exhibit B to the Restructuring Support Agreement.

         157.     “Restructuring Transactions” means the transactions described in Article IV.B of the Plan.

        158.     “Restructuring Transactions Memorandum” means a document, in form and substance acceptable
to the Required Consenting Stakeholders, to be included in the Plan Supplement that will set forth the material
components of the Restructuring Transactions.




                                                         13
   Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1208 of 1639
                                                                          1208


        159.    “Revolving Credit Facility” means the facility outstanding under the Revolving Credit Facility
Credit Agreement.

        160.      “Revolving Credit Facility Administrative Agent” means MUFG Union Bank, N.A., in its capacity
as administrative agent for the Revolving Credit Facility.

         161.     “Revolving Credit Facility Claim” means any Claim on account of the Revolving Credit Facility,
other than any Claims converted to Roll-Up Loans (as defined in the Final DIP Order).

        162.      “Revolving Credit Facility Credit Agreement” means that certain Amended and Restated Credit
Agreement, dated as of September 12, 2018 (as amended, restated, or otherwise modified from time to time), by and
among Chesapeake, as borrower, the Debtor guarantors party thereto, the Revolving Credit Facility Administrative
Agent, and the other lender, issuer, and agent parties party thereto.

         163.     “Revolving Credit Facility Lenders” means the lenders party to the Revolving Credit
Facility Credit Agreement.

        164.      “Revolving DIP Loan Commitment” means a commitment to provide revolving loans under the
DIP Facility.

         165.     “Rights” means collectively, the FLLO Rights, the Second Lien Rights, and the Backstop
Party Rights.

         166.   “Rights Offering” means the New Common Stock rights offering for the Rights Offering Amount
to be consummated by the Debtors on the Effective Date in accordance with the Rights Offering Procedures.

         167.     “Rights Offering Amount” means a minimum of $600 million in aggregate amount of Rights.

        168.    “Rights Offering Participants” means (a) holders of FLLO Term Loan Facility Claims and Second
Lien Notes Claims as of the Rights Offering Record Date and (b) the Backstop Parties.

          169.     “Rights Offering Procedures” means the procedures governing the Rights Offering attached as an
exhibit to the Disclosure Statement Order.

         170.      “Rights Offering Record Date” means the record date set by the Rights Offering Procedures, as of
which date an Entity must be a record holder of FLLO Term Loan Facility Claims or Second Lien Notes Claims in
order to be eligible to be a Rights Offering Participant.

         171.      “Royalty and Working Interests” means the working interests involving the right to exploit oil, gas,
and other minerals, as well as royalty and certain other mineral interests, including, but not limited to, landowner’s
royalty interests, overriding royalty interests, net profit interests, non-participating royalty interests, and unleased
mineral interests.

          172.    “Royalty and Working Interests Administrative Claims” means any postpetition, pre-Effective Date
rights to payment arising on account of Royalty and Working Interests.

         173.     “Schedule of Retained Causes of Action” means the schedule of certain Causes of Action of the
Debtors that are not released, waived, or transferred pursuant to the Plan, as the same may be amended, modified, or
supplemented from time to time.

        174.       “Schedules” means the schedules of assets and liabilities, schedules of Executory Contracts or
Unexpired Leases, and statement of financial affairs Filed by the Debtors pursuant to section 521 of the Bankruptcy
Code, the official bankruptcy forms, and the Bankruptcy Rules.

         175.     “SEC” means the United States Securities and Exchange Commission.

                                                          14
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1209 of 1639
                                                                         1209


         176.     “Second Lien Noteholders” means holders of notes issued under the Second Lien Notes Indenture.

        177.     “Second Lien Notes” means the 11.500% senior notes due 2025 issued by Chesapeake pursuant to
the Second Lien Notes Indenture.

         178.     “Second Lien Notes Claim” means any Claim on account of the Second Lien Notes.

       179.     “Second Lien Notes Indenture” means that certain indenture dated as of December 19, 2019, by and
among Chesapeake, as issuer, certain Debtors guarantors party thereto, and the Second Lien Notes Trustee, as may be
amended, supplemented, or otherwise modified from time to time.

         180.      “Second Lien Notes Trustee” means Deutsche Bank Trust Company Americas, in its capacity as
trustee and collateral trustee for the Second Lien Notes Indenture.

         181.     “Second Lien Professionals” means the Second Lien Collateral Trustee’s professionals (including
Morgan, Lewis & Bockius LLP, one local counsel in the relevant jurisdiction, and one financial advisor) and
Franklin’s professionals (including Akin Gump Strauss Hauer & Feld LLP, Moelis & Company LLC, one local
counsel in each other relevant local jurisdiction, and FTI Consulting, Inc.).

         182.     “Second Lien Rights” means the non-certificated rights that will enable the holders thereof to
purchase shares of New Common Stock at an aggregate purchase price of $67.5 million at a price per share to be
determined based on a 35 percent discount to the equity value per share of New Common Stock, post new-money, as
implied by a Plan total enterprise value of $3.25 billion.

         183.     “Section 510(b) Claim” means any Claim or Interest against a Debtor subject to subordination under
section 510(b) of the Bankruptcy Code, whether by operation of law or contract.

         184.      “Secured” means, when referring to a Claim: (a) secured by a Lien on collateral to the extent of the
value of such collateral, as determined in accordance with section 506(a) of the Bankruptcy Code or (b) subject to a
valid right of setoff pursuant to section 553 of the Bankruptcy Code.

         185.      “Securities Act” means the Securities Act of 1933, as amended, 15 U.S.C. §§ 77a–77aa, or any
similar federal, state, or local law, as now in effect or hereafter amended, and the rules and regulations promulgated
thereunder.

         186.     “Security” means any security, as defined in section 2(a)(1) of the Securities Act.

          187.     “Solicitation Materials” means the Disclosure Statement and related documentation to be
distributed to holders of Claims entitled to vote on the Plan.

       188.     “Superpriority Hedge Claims” means superpriority claims in respect of the Debtors’ Superpriority
Hedge Obligations.

         189.      “Superpriority Hedge Obligations” means all hedging obligations with respect to commodity hedge
transactions that are secured under the DIP Facility.

         190.     “Total Leverage” means the ratio of (a) consolidated indebtedness net of unrestricted Cash and Cash
equivalents held in a pledged account in an amount not to exceed $100 million to (b) consolidated EBITDAX
calculated in accordance with the terms set forth in the Exit Facilities Term Sheet.

        191.      “Total Leverage Condition” means the Condition Precedent to the Effective Date that provides that
the Debtors shall have Total Leverage no greater than 2.25:1.00.




                                                          15
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1210 of 1639
                                                                         1210


         192.     “Tranche A RBL Exit Facility Loans” means fully revolving loans made under and on the terms set
forth under the Exit RBL Facility which will be partially funded on the Effective Date, will have a scheduled maturity
of 3 years from the Effective Date, and shall at all times be repaid prior to the repayment of Tranche B Exit RBL
Facility Loans.

         193.     “Tranche B RBL Exit Facility Loans” means term loans made under and on the terms set forth under
the Exit RBL Facility which will be fully funded on the Effective Date, will have a scheduled maturity of 4 years from
the Effective Date, will be repaid or prepaid only after there are no Tranche A RBL Exit Facility Loans outstanding,
and once so prepaid or repaid, may not be reborrowed.

        194.    “Trustee” means any indenture trustee, collateral trustee, or other trustee or similar entity under the
Second Lien Notes or the Unsecured Notes.

         195.     “Turnover Provisions” has the meaning set forth in Article IV.A of the Plan.

        196.      “Unexpired Lease” means a lease to which one or more of the Debtors is a party that is subject to
assumption or rejection under section 365 of the Bankruptcy Code.

          197.    “Unimpaired” means with respect to a Class of Claims or Interests, a Class of Claims or Interests
that is unimpaired within the meaning of section 1124 of the Bankruptcy Code.

         198.  “United States Trustee” means the United States Trustee for the jurisdiction in which the Chapter 11
Cases are commenced.

         199.     “Unsecured Claims Recovery” means 12% of the New Common Stock (subject to dilution on
account of the Management Incentive Plan, the Rights Offering, the Put Option Premium, and the New Warrants) and
50 percent of the New Class C Warrants.

         200.     “Unsecured Noteholders” means holders of notes issued under the Unsecured Notes Indentures.

         201.     “Unsecured Notes” means the 6.625% senior notes due 2020, the 6.875% senior notes due 2020,
the 6.125% senior notes due 2021, the 5.375% senior notes due 2021, the 4.875% senior notes due 2022, the 5.750%
senior notes due 2023, the 7.000% senior notes due 2024, the 8.000% senior notes due 2025, the 8.000% senior notes
due 2026, the 7.500% senior notes due 2026, the 8.000% senior notes due 2027, the 5.500% convertible senior notes
due 2026, and the 6.875% senior notes due 2025, all issued by certain Debtors pursuant to the Unsecured
Notes Indentures.

         202.     “Unsecured Notes Claim” means any Claim on account of the Unsecured Notes.

         203.     “Unsecured Notes Indentures” means those certain indentures dated as of the following dates:
August 2, 2010 (6.625% senior notes due 2020); November 8, 2005 (6.875% senior notes due 2020);
February 11, 2011 (6.125% senior notes due 2021); April 1, 2013 (5.375% senior notes due 2021); April 24, 2014
(4.875% senior notes due 2022); April 1, 2013 (5.750% senior notes due 2023); September 27, 2018 (7.000% senior
notes due 2024); December 20, 2016 (8.000% senior notes due 2025); April 3, 2019 (8.000% senior notes due 2026);
September 27, 2018 (7.500% senior notes due 2026); June 6, 2017 (8.000% senior notes due 2027); October 5, 2016
(5.500% convertible senior notes due 2026); and February 1, 2017 (6.875% senior notes due 2025), each by and among
certain of the Debtors and the Unsecured Notes Trustees, as may be amended, supplemented, or otherwise modified
from time to time.




                                                          16
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1211 of 1639
                                                                            1211


         204.    “Unsecured Notes Trustees” means the following entities, each in its capacity as trustee for the
Unsecured Notes Indentures: The Bank of New York Trust Company, N.A. (6.625% senior notes due 2020);
The Bank of New York Trust Company, N.A. (6.875% senior notes due 2020); The Bank of New York Trust
Company, N.A. (6.125% senior notes due 2021); Wilmington Savings Fund Society, FSB (5.375% senior notes
due 2021); Wilmington Savings Fund Society, FSB (4.875% senior notes due 2022); Wilmington Savings Fund
Society, FSB (5.750% senior notes due 2023); Wilmington Savings Fund Society, FSB (7.000% senior notes
due 2024); Wilmington Savings Fund Society, FSB (8.000% senior notes due 2025); Wilmington Savings Fund
Society, FSB (8.000% senior notes due 2026); Wilmington Savings Fund Society, FSB (7.500% senior notes
due 2026); Wilmington Savings Fund Society, FSB (8.000% senior notes due 2027); Wilmington Savings Fund
Society, FSB (5.500% convertible senior notes due 2026); and U.S. Bank National Association (6.875% senior notes
due 2025).

B.       Rules of Interpretation.

          For purposes of this Plan: (1) in the appropriate context, each term, whether stated in the singular or the
plural, shall include both the singular and the plural, and pronouns stated in the masculine, feminine, or neuter gender
shall include the masculine, feminine, and the neuter gender; (2) unless otherwise specified, any reference herein to a
contract, lease, instrument, release, indenture, or other agreement or document being in a particular form or on
particular terms and conditions means that the referenced document shall be substantially in that form or substantially
on those terms and conditions; (3) unless otherwise specified, any reference herein to an existing document, schedule,
or exhibit, whether or not Filed, having been Filed or to be Filed shall mean that document, schedule, or exhibit, as it
may thereafter be amended, modified, or supplemented in accordance with the Plan or Confirmation Order, as
applicable; (4) any reference to an Entity as a holder of a Claim or Interest includes that Entity’s successors and
assigns; (5) unless otherwise specified, all references herein to “Articles” are references to Articles hereof or hereto;
(6) unless otherwise specified, all references herein to exhibits are references to exhibits in the Plan Supplement;
(7) unless otherwise specified, the words “herein,” “hereof,” and “hereto” refer to the Plan in its entirety rather than
to a particular portion of the Plan; (8) subject to the provisions of any contract, certificate of incorporation, by-law,
instrument, release, or other agreement or document entered into in connection with the Plan, the rights and obligations
arising pursuant to the Plan shall be governed by, and construed and enforced in accordance with the applicable federal
law, including the Bankruptcy Code and Bankruptcy Rules; (9) captions and headings to Articles are inserted for
convenience of reference only and are not intended to be a part of or to affect the interpretation of the Plan; (10) unless
otherwise specified herein, the rules of construction set forth in section 102 of the Bankruptcy Code shall apply;
(11) any term used in capitalized form herein that is not otherwise defined but that is used in the Bankruptcy Code or
the Bankruptcy Rules shall have the meaning assigned to that term in the Bankruptcy Code or the Bankruptcy Rules,
as the case may be; (12) all references to docket numbers of documents Filed in the Chapter 11 Cases are references
to the docket numbers under the Bankruptcy Court’s CM/ECF system; (13) all references to statutes, regulations,
orders, rules of courts, and the like shall mean as amended from time to time, and as applicable to the Chapter 11 Cases,
unless otherwise stated; (14) the words “include” and “including,” and variations thereof, shall not be deemed to be
terms of limitation, and shall be deemed to be followed by the words “without limitation”; (15) references to “Proofs
of Claim,” “holders of Claims,” “Disputed Claims,” and the like shall include “Proofs of Interest,” “holders of
Interests,” “Disputed Interests,” and the like, as applicable; (16) any immaterial effectuating provisions may be
interpreted by the Reorganized Debtors in such a manner that is consistent with the overall purpose and intent of the
Plan all without further notice to or action, order, or approval of the Bankruptcy Court or any other Entity; and (17) all
references herein to consent, acceptance, or approval may be conveyed by counsel for the respective parties that have
such consent, acceptance, or approval rights, including by electronic mail; provided that nothing in this clause (2) or
clause (3) shall affect any parties’ consent rights over any of the Definitive Documents or any amendments thereto,
as provided for in the Restructuring Support Agreement.

C.       Computation of Time.

          Unless otherwise specifically stated herein, the provisions of Bankruptcy Rule 9006(a) shall apply in
computing any period of time prescribed or allowed herein. If the date on which a transaction may occur pursuant to
the Plan shall occur on a day that is not a Business Day, then such transaction shall instead occur on the next succeeding
Business Day. Any action to be taken on the Effective Date may be taken on or as soon as reasonably practicable
after the Effective Date.


                                                            17
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1212 of 1639
                                                                            1212


D.       Governing Law.

         Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy Code and Bankruptcy
Rules) or unless otherwise specifically stated, the laws of the State of New York, without giving effect to the principles
of conflict of laws (other than section 5-1401 and section 5-1402 of the New York General Obligations Law), shall
govern the rights, obligations, construction, and implementation of the Plan, any agreements, documents, instruments,
or contracts executed or entered into in connection with the Plan (except as otherwise set forth in those agreements,
in which case the governing law of such agreement shall control), and corporate governance matters; provided that
corporate governance matters relating to the Debtors or the Reorganized Debtors, as applicable, not incorporated in
New York shall be governed by the laws of the state of incorporation or formation of the relevant Debtor or the
Reorganized Debtors, as applicable.

E.       Reference to Monetary Figures.

        All references in the Plan to monetary figures shall refer to currency of the United States of America, unless
otherwise expressly provided herein.

F.       Reference to the Debtors or the Reorganized Debtors.

         Except as otherwise specifically provided in the Plan to the contrary, references in the Plan to the Debtors or
the Reorganized Debtors shall mean the Debtors and the Reorganized Debtors, as applicable, to the extent the
context requires.

G.       Controlling Document.

          In the event of an inconsistency between the Plan and the Disclosure Statement, the terms of the Plan shall
control in all respects. In the event of an inconsistency between the Plan and the Plan Supplement, the terms of the
relevant provision in the Plan Supplement shall control (unless stated otherwise in such Plan Supplement document
or in the Confirmation Order). In the event of an inconsistency between the Confirmation Order and the Plan or Plan
Supplement, the Confirmation Order shall control.

H.       Consultation, Information, Notice, and Consent Rights.

         Notwithstanding anything herein to the contrary, any and all consultation, information, notice, and consent
rights of the parties to the Restructuring Support Agreement, as set forth in the Restructuring Support Agreement
(including the exhibits thereto), with respect to the form and substance of this Plan, all exhibits to the Plan, the Plan
Supplement, and all other Definitive Documents, including any amendments, restatements, supplements, or other
modifications to such agreements and documents, and any consents, waivers, or other deviations under or from any
such documents, shall be incorporated herein by this reference (including to the applicable definitions in Article I.A
hereof) and fully enforceable as if stated in full herein.

       Failure to reference the rights referred to in the immediately preceding paragraph as such rights relate to any
document referenced in the Restructuring Support Agreement shall not impair such rights and obligations.

          Further, any and all consultation, information, notice, and consent rights of the DIP Agent, DIP Lenders,
Revolving Credit Facility Administrative Agent, Revolving Credit Facility Lenders, Exit Facilities Agent, and Exit
Facilities Lenders as set forth in the DIP Documents, DIP Order, and Exit Facilities Documents, as applicable, relating
to the form and substance of this Plan, all exhibits to the Plan, the Plan Supplement, all other Definitive Documents,
and any consents, waivers, or other rights under or from any such documents, shall be incorporated herein by this
reference and fully enforceable as if stated in full herein. Failure to reference such rights in specific provisions of this
Plan shall not impair such rights and obligations.




                                                            18
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1213 of 1639
                                                                            1213


                                        ARTICLE II.
                   ADMINISTRATIVE CLAIMS, DIP CLAIMS, AND PRIORITY CLAIMS

          In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims, Professional Claims,
DIP Claims, and Priority Tax Claims have not been classified and, thus, are excluded from the Classes of Claims and
Interests set forth in Article III hereof.

A.       Administrative Claims.

         1.   General Administrative Claims.

         Unless otherwise agreed to by the holder of an Allowed Administrative Claim and the Debtors (with the
consent of the Required Consenting Stakeholders) or the Reorganized Debtors, as applicable, or otherwise provided
for under the Plan, each holder of an Allowed Administrative Claim (other than holders of Professional Claims, DIP
Claims, and Claims for fees and expenses pursuant to section 1930 of chapter 123 of title 28 of the United States
Code) will receive in full and final satisfaction of its Administrative Claim treatment consistent with section 1129(a)(2)
of the Bankruptcy Code in accordance with the following: (1) if an Administrative Claim is Allowed on or prior to
the Effective Date, on the Effective Date or as soon as reasonably practicable thereafter (or, if not then due, when such
Allowed Administrative Claim is due or as soon as reasonably practicable thereafter); (2) if such Administrative Claim
is not Allowed as of the Effective Date, no later than thirty (30) days after the date on which an order allowing such
Administrative Claim becomes a Final Order, or as soon as reasonably practicable thereafter; (3) if such Allowed
Administrative Claim is based on liabilities incurred by the Debtors in the ordinary course of their business after the
Petition Date in accordance with the terms and conditions of the particular transaction giving rise to such Allowed
Administrative Claim without any further action by the holders of such Allowed Administrative Claim; (4) at such
time and upon such terms as may be agreed upon by such holder and the Debtors or the Reorganized Debtors, as
applicable; or (5) at such time and upon such terms as set forth in an order of the Bankruptcy Court.

          Except as otherwise provided in this Article II.A of the Plan, and except with respect to Administrative
Claims that are Professional Claims or DIP Claims, requests for payment of Administrative Claims must be Filed with
the Bankruptcy Court and served on the Debtors pursuant to the procedures specified in the Confirmation Order and
the notice of entry of the Confirmation Order no later than the applicable Administrative Claims Bar Date. Holders
of Administrative Claims that are required to, but do not, File and serve a request for payment of such Administrative
Claims by such date shall be forever barred, estopped, and enjoined from asserting such Administrative Claims against
the Debtors or their property, and such Administrative Claims shall be deemed discharged as of the Effective Date.
Objections to such requests, if any, must be Filed with the Bankruptcy Court and served on the requesting party no
later than 60 days after the applicable Administrative Claims Bar Date. Notwithstanding the foregoing, no request for
payment of an Administrative Claim need be Filed with the Bankruptcy Court with respect to an Administrative Claim
previously Allowed.

          The Debtors shall indefeasibly pay in Cash all Existing RBL Adequate Protection Payments that have accrued
and are unpaid as of the Effective Date pursuant to the terms of the DIP Order, and none of the Revolving Credit
Facility Administrative Agent, the Revolving Credit Facility Lenders, or the Collateral Trustee shall be required to
File a request for payment of an Administrative Claim with the Bankruptcy Court on account of such Existing RBL
Adequate Protection Payments. The Debtors’ obligation to pay the Existing RBL Adequate Protection Payments, to
the extent not indefeasibly paid in full in Cash on the Effective Date, shall survive the Effective Date and shall not be
released or discharged pursuant to this Plan or the Confirmation Order until indefeasibly paid in full in Cash.

         2.   Professional Compensation.

                  (a)       Final Fee Applications and Payment of Professional Claims.

         All requests for payment of Professional Claims for services rendered and reimbursement of expenses
incurred prior to the Confirmation Date must be Filed no later than 45 days after the Effective Date. The Bankruptcy
Court shall determine the Allowed amounts of such Professional Claims after notice and a hearing in accordance with
the procedures established by the Bankruptcy Court. The Reorganized Debtors shall pay Professional Claims in Cash

                                                           19
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1214 of 1639
                                                                            1214


in the amount the Bankruptcy Court allows, including from the Professional Fee Escrow Account, which the
Reorganized Debtors will establish in trust for the Professionals and fund with Cash equal to the Professional Fee
Amount on the Effective Date.

                  (b)      Professional Fee Escrow Account.

         On the Effective Date, the Reorganized Debtors shall establish and fund the Professional Fee Escrow Account
with Cash equal to the Professional Fee Amount, which shall be funded by the Reorganized Debtors. The Professional
Fee Escrow Account shall be maintained in trust solely for the Professionals. Such funds shall not be considered
property of the Estates of the Debtors or the Reorganized Debtors. The amount of Allowed Professional Claims shall
be paid in Cash to the Professionals by the Reorganized Debtors from the Professional Fee Escrow Account as soon
as reasonably practicable after such Professional Claims are Allowed. When such Allowed Professional Claims have
been paid in full, any remaining amount in the Professional Fee Escrow Account shall promptly be paid to the
Reorganized Debtors without any further action or order of the Bankruptcy Court.

                  (c)      Professional Fee Amount.

         Professionals shall reasonably estimate their unpaid Professional Claims and other unpaid fees and expenses
incurred in rendering services to the Debtors before and as of the Effective Date, and shall deliver such estimate to the
Debtors no later than five days before the Effective Date; provided that such estimate shall not be deemed to limit the
amount of the fees and expenses that are the subject of each Professional’s final request for payment in the Chapter 11
Cases. If a Professional does not provide an estimate, the Debtors or Reorganized Debtors may estimate the unpaid
and unbilled fees and expenses of such Professional.

                  (d)      Post-Confirmation Fees and Expenses.

          Except as otherwise specifically provided in the Plan, from and after the Confirmation Date, the Debtors
shall, in the ordinary course of business and without any further notice to or action, order, or approval of the
Bankruptcy Court, pay in Cash the reasonable and documented legal, professional, or other fees and expenses related
to implementation of the Plan and Consummation incurred by the Debtors. Upon the Confirmation Date, any
requirement that Professionals comply with sections 327 through 331, 363, and 1103 of the Bankruptcy Code in
seeking retention or compensation for services rendered after such date shall terminate, and the Debtors may employ
and pay any Professional in the ordinary course of business without any further notice to or action, order, or approval
of the Bankruptcy Court.

B.       DIP Claims.

         For the avoidance of doubt, the DIP Claims are Allowed in full in accordance with the DIP Order. Except to
the extent that a holder of an Allowed DIP Claim agrees to less favorable treatment, on the Effective Date, each holder
of an Allowed DIP Claim shall receive, in full and final satisfaction, settlement, release, and discharge of, and in
exchange for such holder’s Allowed DIP Claims, payment in full in Cash from, at the Debtors’ option, (1) the proceeds
of the Exit Facilities available as of the Effective Date and consistent with the Exit Facilities Term Sheet; (2) the
proceeds of the Rights Offering; and (3) Cash on hand; provided that to the extent that such DIP Lender is also an Exit
Facility Lender, such DIP Lender’s Allowed DIP Claims will first be reduced dollar-for-dollar and satisfied by the
amount of its Exit Facilities Loans provided by such DIP Lender as of the Effective Date; provided further that
Allowed Superpriority Hedge Claims, if any, shall be converted to secured obligations under the Exit Facilities
Documents to the extent permitted under the terms of the documentation evidencing the Superpriority Hedge Claims.
For the avoidance of doubt, the Debtors shall indefeasibly pay in cash all DIP Agent Fees and Expenses and non-
contingent indemnity obligations owed to the DIP Agent or DIP Lenders that have accrued and are unpaid as of the
Effective Date pursuant to the terms of the DIP Order. The Debtors’ obligation to pay the DIP Agent Fees and
Expenses and non-contingent indemnity obligations owed to the DIP Agent or DIP Lenders, to the extent not
indefeasibly paid in full in Cash on the Effective Date, shall survive the Effective Date and shall not be released or
discharged pursuant to this Plan or the Confirmation Order until indefeasibly paid in full in Cash.




                                                           20
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1215 of 1639
                                                                            1215


          Upon the final and indefeasible payment or satisfaction of the Allowed DIP Claims in accordance with this
0, all Liens and security interests granted to secure the Allowed DIP Claims shall automatically be terminated and of
no further force and effect without any further notice to or action, order, or approval of the Bankruptcy Court or any
other Entity.

C.       Priority Tax Claims.

         Except to the extent that a holder of an Allowed Priority Tax Claim agrees to less favorable treatment, in full
and final satisfaction, settlement, release, and discharge of and in exchange for each Allowed Priority Tax Claim, each
holder of such Allowed Priority Tax Claim shall be treated in accordance with the terms set forth in
section 1129(a)(9)(C) of the Bankruptcy Code.

D.       Statutory Fees.

         All monthly reports shall be filed in a form reasonably acceptable to the U.S. Trustee, and all fees due and
payable pursuant to section 1930 of Title 28 of the United States Code before the Effective Date with respect to the
Debtors shall be paid by the Debtors. On and after the Effective Date, the Reorganized Debtors shall pay any and all
such fees when due and payable, and shall File with the Bankruptcy Court quarterly reports in a form reasonably
acceptable to the United States Trustee. Each Debtor shall remain obligated to pay quarterly fees to the United States
Trustee until the earliest of that particular Debtor’s case being closed, dismissed, or converted to a case under
Chapter 7 of the Bankruptcy Code.

                                        ARTICLE III.
                   CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

A.       Classification of Claims and Interests.

          This Plan constitutes a separate Plan proposed by each Debtor. Except for the Claims addressed in Article II
hereof, all Claims and Interests are classified in the Classes set forth below in accordance with sections 1122
and 1123(a)(1) of the Bankruptcy Code. A Claim or an Interest, or any portion thereof, is classified in a particular
Class only to the extent that any portion of such Claim or Interest fits within the description of that Class and is
classified in other Classes to the extent that any portion of the Claim or Interest fits within the description of such
other Classes. A Claim or an Interest also is classified in a particular Class for the purpose of receiving distributions
under the Plan only to the extent that such Claim or Interest is an Allowed Claim or Interest in that Class and has not
been paid, released, or otherwise satisfied prior to the Effective Date.

         The classification of Claims and Interests against the Debtors pursuant to the Plan is as follows:

                Class           Claims and Interests               Status           Voting Rights
                                                                                Not Entitled to Vote
              Class 1      Other Secured Claims                 Unimpaired
                                                                                (Deemed to Accept)
                                                                                Not Entitled to Vote
              Class 2      Other Priority Claims                Unimpaired
                                                                                (Deemed to Accept)
                           Revolving Credit Facility
              Class 3                                           Impaired        Entitled to Vote
                           Claims
                           FLLO Term Loan Facility
              Class 4                                           Impaired        Entitled to Vote
                           Claims
              Class 5      Second Lien Notes Claims             Impaired        Entitled to Vote

              Class 6      Unsecured Notes Claims               Impaired        Entitled to Vote

              Class 7      General Unsecured Claims             Impaired        Entitled to Vote




                                                           21
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1216 of 1639
                                                                            1216



                Class              Claims and Interests             Status          Voting Rights
                                                                                Not Entitled to Vote
                                                                 Unimpaired /
              Class 8      Intercompany Claims                                  (Deemed to Accept /
                                                                 Impaired
                                                                                Deemed to Reject)
                                                                                Not Entitled to Vote
                                                                 Unimpaired /
              Class 9      Intercompany Interests                               (Deemed to Accept /
                                                                 Impaired
                                                                                Deemed to Reject)
                                                                                Not Entitled to Vote
              Class 10     Existing Equity Interests             Impaired
                                                                                (Deemed to Reject)

B.       Treatment of Claims and Interests.

         Each holder of an Allowed Claim or Allowed Interest, as applicable, shall receive under the Plan the treatment
described below in full and final satisfaction, settlement, release, and discharge of and in exchange for such holder’s
Allowed Claim or Allowed Interest, except to the extent less favorable treatment is agreed to by the Reorganized
Debtors and the holder of such Allowed Claim or Allowed Interest, as applicable. Unless otherwise indicated, the
holder of an Allowed Claim or Allowed Interest, as applicable, shall receive such treatment on the Effective Date or
as soon as reasonably practicable thereafter.

         1.   Class 1 – Other Secured Claims.

                  (a)      Classification: Class 1 consists of all Other Secured Claims.

                  (b)      Treatment: On the Effective Date, each holder of an Allowed Other Secured Claim shall
                           receive, at the Debtors’ option and in consultation with the Required
                           Consenting Stakeholders:

                           (i)         payment in full in Cash;

                           (ii)        the collateral securing its Allowed Other Secured Claim;

                           (iii)       Reinstatement of its Allowed Other Secured Claim; or

                           (iv)        such other treatment that renders its Allowed Other Secured Claim Unimpaired in
                                       accordance with section 1124 of the Bankruptcy Code.

                  (c)      Voting: Class 1 is Unimpaired under the Plan. Holders of Other Secured Claims are
                           conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
                           Bankruptcy Code. Therefore, such holders are not entitled to vote to accept or reject
                           the Plan.

         2.   Class 2 – Other Priority Claims.

                  (a)      Classification: Class 2 consists of all Other Priority Claims.

                  (b)      Treatment: Each holder of an Allowed Other Priority Claim shall receive treatment in a
                           manner consistent with section 1129(a)(9) of the Bankruptcy Code.

                  (c)      Voting: Class 2 is Unimpaired under the Plan. Holders of Other Priority Claims are
                           conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
                           Bankruptcy Code. Therefore, such holders are not entitled to vote to accept or reject
                           the Plan.




                                                            22
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1217 of 1639
                                                                       1217


   3.   Class 3 – Revolving Credit Facility Claims.

            (a)      Classification: Class 3 consists of all Revolving Credit Facility Claims.

            (b)      Treatment: On the Effective Date, the Revolving Credit Facility Claims shall be Allowed
                     and deemed to be Allowed Claims in the full amount outstanding under the Revolving
                     Credit Facility, including all principal, any accrued and unpaid interest at the non-default
                     rate, and all accrued and unpaid fees, expenses, and non-contingent indemnity payable
                     under the Revolving Credit Facility. On the Effective Date, except to the extent the holder
                     of an Allowed Revolving Credit Facility Claim agrees to less favorable treatment, each
                     holder of an Allowed Revolving Credit Facility Claim shall receive, in accordance with
                     such holder’s prior determined allocation, either (i) Tranche A RBL Exit Facility Loans or
                     (ii) Tranche B RBL Exit Facility Loans, on a dollar-for-dollar basis; provided that any
                     Claims on account of accrued but unpaid Existing RBL Adequate Protection Payments
                     shall be paid in full as Cash as set forth in Section II.A.1 of the Plan.

            (c)      Voting: Class 3 is Impaired under the Plan. Holders of Revolving Credit Facility Claims
                     are entitled to vote to accept or reject the Plan.

   4.   Class 4 – FLLO Term Loan Facility Claims.

            (a)      Classification: Class 4 consists of all FLLO Term Loan Facility Claims.

            (b)      Treatment: On the Effective Date, the FLLO Term Loan Facility Claims shall be Allowed
                     and deemed to be Allowed Claims in the full amount outstanding under the FLLO Term
                     Loan Facility, including all principal, accrued and unpaid interest at the applicable default
                     rate, the make whole amount, and all accrued and unpaid fees, expenses, and non-
                     contingent indemnity payable under the FLLO Term Loan Facility. On the Effective Date,
                     each holder of an Allowed FLLO Term Loan Facility Claim shall receive its Pro Rata share
                     of (i) 76 percent of the New Common Stock (subject to dilution on account of the
                     Management Incentive Plan, the Rights Offering, the Put Option Premium, and the New
                     Warrants) and (ii) the FLLO Rights.

            (c)      Voting: Class 4 is Impaired under the Plan. Holders of FLLO Term Loan Facility Claims
                     are entitled to vote to accept or reject the Plan.

   5.   Class 5 – Second Lien Notes Claims.

            (a)      Classification: Class 5 consists of all Second Lien Notes Claims.

            (b)      Treatment: On the Effective Date, the Second Lien Notes Claims shall be Allowed and
                     deemed to be Allowed Claims in the full amount outstanding under the Second Lien Notes
                     Indenture, including the aggregate outstanding principal amount of Second Lien Notes, any
                     premium (including the Make-Whole Premium (as defined in the Second Lien Notes
                     Indenture)), and accrued and unpaid interest. Each holder of an Allowed Second Lien
                     Notes Claim shall receive its Pro Rata share of (i) 12 percent of the New Common Stock
                     (subject to dilution on account of the Management Incentive Plan, the Rights Offering, the
                     Put Option Premium, and the New Warrants), (ii) the Second Lien Rights, (iii) the New
                     Class A Warrants, (iv) the New Class B Warrants, and (v) 50 percent of the New
                     Class C Warrants.

            (c)      Voting: Class 5 is Impaired under the Plan. Holders of Second Lien Notes Claims are
                     entitled to vote to accept or reject the Plan.




                                                      23
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1218 of 1639
                                                                       1218


   6.   Class 6 – Unsecured Notes Claims.

            (a)     Classification: Class 6 consists of all Unsecured Notes Claims.

            (b)     Treatment: On the Effective Date, the Unsecured Notes Claims shall be deemed Allowed
                    in full, and each holder of an Allowed Unsecured Notes Claim shall receive its Pro Rata
                    share of the Unsecured Claims Recovery.

            (c)     Voting: Class 6 is Impaired under the Plan. Holders of Unsecured Notes Claims are
                    entitled to vote to accept or reject the Plan.

   7.   Class 7 – General Unsecured Claims.

            (a)     Classification: Class 7 consists of all General Unsecured Claims.

            (b)     Treatment: On the Effective Date, each holder of an Allowed General Unsecured Claim
                    shall receive its Pro Rata share of the Unsecured Claims Recovery; provided that to the
                    extent such Allowed General Unsecured Claim is a Convenience Claim, such Holder shall
                    receive the Convenience Claim Distribution.

            (c)     Voting: Class 7 is Impaired under the Plan. Holders of General Unsecured Claims are
                    entitled to vote to accept or reject the Plan.

   8.   Class 8 – Intercompany Claims.

            (a)     Classification: Class 11 consists of all Intercompany Claims.

            (b)     Treatment: On the Effective Date, unless otherwise provided for under the Restructuring
                    Transactions Memorandum, each Allowed Intercompany Claim shall have its Claim:

                    (i)      Reinstated; or

                    (ii)     distributed, contributed, set off, settled, canceled and released, or otherwise
                             addressed at the option of the Debtors with the consent of the Required
                             Consenting Stakeholders; provided that no distribution shall be made on account
                             of any such Intercompany Claims.

            (c)     Voting: Class 8 is conclusively deemed to have accepted the Plan pursuant to
                    section 1126(f) of the Bankruptcy Code or rejected the Plan pursuant to section 1126(g) of
                    the Bankruptcy Code. Class 8 is not entitled to vote to accept or reject the Plan.




                                                  24
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1219 of 1639
                                                                            1219


         9.   Class 9 – Intercompany Interests.

                  (a)      Classification: Class 9 consists of all Intercompany Interests.

                  (b)      Treatment: On the Effective Date, each holder of Intercompany Interests shall have
                           such Interest:

                           (i)      Reinstated; or

                           (ii)     canceled, released, and extinguished without any distribution at the Debtors’
                                    election with the consent of the Required Consenting Stakeholders.

                  (c)      Voting: Class 9 is conclusively deemed to have accepted the Plan pursuant to
                           section 1126(f) of the Bankruptcy Code or rejected the Plan pursuant to section 1126(g) of
                           the Bankruptcy Code. Class 9 is not entitled to vote to accept or reject the Plan.

         10. Class 10 – Existing Equity Interests.

                  (a)      Classification: Class 10 consists of all Existing Equity Interests.

                  (b)      Treatment: On the Effective Date, each holder of Existing Equity Interests shall have such
                           Interest cancelled, released, and extinguished without any distribution.

                  (c)      Voting: Class 10 is conclusively deemed to have rejected the Plan pursuant to
                           section 1126(g) of the Bankruptcy Code. Class 14 is not entitled to vote to accept or reject
                           the Plan.

C.       Special Provision Governing Unimpaired Claims.

          Except as otherwise provided in the Plan, nothing under the Plan shall affect the Debtors’ or the Reorganized
Debtors’ rights regarding any Unimpaired Claim, including, all rights regarding legal and equitable defenses to or
setoffs or recoupments against any such Unimpaired Claim.

D.       Elimination of Vacant Classes.

        Any Class of Claims or Interests that does not have a holder of an Allowed Claim or Allowed Interest or a
Claim or Interest temporarily Allowed by the Bankruptcy Court as of the date of the Confirmation Hearing shall be
deemed eliminated from the Plan for purposes of voting to accept or reject the Plan and for purposes of determining
acceptance or rejection of the Plan by such Class pursuant to section 1129(a)(8) of the Bankruptcy Code.

E.       Voting Classes, Presumed Acceptance by Non-Voting Classes.

         If a Class contains Claims or Interests eligible to vote and no holders of Claims or Interests eligible to vote
in such Class vote to accept or reject the Plan, the holders of such Claims or Interests in such Class shall be deemed
to have accepted the Plan.

F.       Intercompany Interests.

         To the extent Reinstated under the Plan, distributions on account of Intercompany Interests are not being
received by holders of such Intercompany Interests on account of their Intercompany Interests but for the purposes of
administrative convenience and due to the importance of maintaining the prepetition corporate structure for the
ultimate benefit of the holders of New Common Stock, and in exchange for the Debtors’ and Reorganized Debtors’
agreement under the Plan to make certain distributions to the holders of Allowed Claims.



                                                          25
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1220 of 1639
                                                                            1220


G.       Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy Code.

         Section 1129(a)(10) of the Bankruptcy Code shall be satisfied for purposes of Confirmation by acceptance
of the Plan by one or more of the Classes entitled to vote pursuant to Article III.B of the Plan. The Debtors reserve
the right, subject to the prior consent of the Required Consenting Stakeholders, which shall not be unreasonably
withheld, to modify the Plan in accordance with Article X hereof to the extent, if any, that Confirmation pursuant to
section 1129(b) of the Bankruptcy Code requires modification, including by modifying the treatment applicable to a
Class of Claims or Interests to render such Class of Claims or Interests Unimpaired to the extent permitted by the
Bankruptcy Code and the Bankruptcy Rules.

H.       Controversy Concerning Impairment.

        If a controversy arises as to whether any Claims or Interests, or any Class of Claims or Interests, are Impaired,
the Bankruptcy Court shall, after notice and a hearing, determine such controversy on or before the Confirmation Date.

I.       Subordinated Claims and Interests.

          The allowance, classification, and treatment of all Allowed Claims and Allowed Interests and the respective
distributions and treatments under the Plan take into account and conform to the relative priority and rights of the
Claims and Interests in each Class in connection with any contractual, legal, and equitable subordination rights relating
thereto, whether arising under general principles of equitable subordination, section 510(b) of the Bankruptcy Code,
or otherwise. Any such contractual, legal, or equitable subordination rights shall be settled, compromised, and released
pursuant to the Plan.

                                            ARTICLE IV.
                               MEANS FOR IMPLEMENTATION OF THE PLAN

A.       General Settlement of Claims and Interests.

          As discussed in detail in the Disclosure Statement and as otherwise provided herein, pursuant to section 1123
of the Bankruptcy Code and Bankruptcy Rule 9019, and in consideration for the classification, distributions, releases,
and other benefits provided under the Plan, upon the Effective Date, the provisions of the Plan shall constitute a good
faith compromise and settlement of all Claims and Interests and controversies resolved pursuant to the Plan, including
(1) any challenge to the amount, validity, perfection, enforceability, priority or extent of the DIP Claims, Revolving
Credit Facility Claims, FLLO Term Loan Facility Claims, Second Lien Notes Claims, and Unsecured Notes Claims
and (2) any claim to avoid, subordinate, or disallow any DIP Claims, Revolving Credit Facility Claims, FLLO Term
Loan Facility Claims, Second Lien Notes Claims, and Unsecured Notes Claims, whether under any provision of
chapter 5 of the Bankruptcy Code, on any equitable theory (including equitable subordination, equitable disallowance,
or unjust enrichment) or otherwise, including, without limitation, any claim of subordination or turnover of any
payments arising under any provision of the Intercreditor Agreement, including, but not limited to, any turnover
provisions in sections 3.05, 4.02(l), 6.01 and 7.03 thereof, or the Collateral Trust Agreement, including sections 5.05,
6.02(o), 8.01, and 9.03 thereof (the “Turnover Provisions”). In consideration for the classification, distributions,
releases, and other benefits provided under the Plan, upon the Effective Date, the FLLO Term Loan Facility Lenders
and Revolving Credit Facility Lenders shall conclusively, absolutely, irrevocably and forever waive any rights they
have to seek subordination or turnover of any payments arising under any provision of the Intercreditor Agreement,
including, but not limited to, the Turnover Provisions. The Plan shall be deemed a motion to approve the good faith
compromise and settlement of all such Claims, Interests, and controversies pursuant to Bankruptcy Rule 9019, and
the entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval of such compromise and
settlement under section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, as well as a finding by the
Bankruptcy Court that such settlement and compromise is fair, equitable, reasonable and in the best interests of the
Debtors and their Estates. Subject to Article VI hereof, all distributions made to holders of Allowed Claims and
Allowed Interests (as applicable) in any Class are intended to be and shall be final.




                                                           26
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1221 of 1639
                                                                            1221


B.       Restructuring Transactions.

           On or before the Effective Date, the applicable Debtors or the Reorganized Debtors shall enter into and shall
take any actions as may be necessary or appropriate to effect the Restructuring Transactions, including as set forth in
the Restructuring Transactions Memorandum. The Restructuring Transactions Memorandum shall be reasonably
acceptable to the Required Consenting Stakeholders. The actions to implement the Restructuring Transactions may
include: (1) the execution and delivery of appropriate agreements or other documents of merger, amalgamation,
consolidation, restructuring, conversion, disposition, transfer, arrangement, continuance, dissolution, sale, purchase,
or liquidation containing terms that are consistent with the terms of the Plan and that satisfy the applicable
requirements of applicable law and any other terms to which the applicable Entities may agree; (2) the execution and
delivery of appropriate instruments of transfer, assignment, assumption, or delegation of any asset, property, right,
liability, debt, or obligation on terms consistent with the terms of the Plan and having other terms for which the
applicable parties agree; (3) the filing of appropriate certificates or articles of incorporation, formation,
reincorporation, merger, consolidation, conversion, amalgamation, arrangement, continuance, or dissolution pursuant
to applicable state or provincial law; (4) the execution and delivery of the New Organizational Documents; (5) the
execution and delivery of the Exit Facilities Documents (including all actions to be taken, undertakings to be made,
and obligations to be incurred and fees to be paid by the Debtors or the Reorganized Debtors, as applicable), subject
to any post-closing execution and delivery periods provided for in the Exit Facilities Documents; (6) execution and
delivery of the Registration Rights Agreement; (7) pursuant to the Rights Offering Procedures and the Backstop
Commitment Agreement, the implementation of the Rights Offering, the distribution of the Rights to the Rights
Offering Participants as of the Rights Offering Record Date, and the issuance of New Common Stock in connection
therewith; (8) the issuance of the New Common Stock and the New Warrants as set forth in the Plan; and (9) all other
actions that the applicable Entities determine to be necessary, including making filings or recordings that may be
required by applicable law in connection with the Plan. The Confirmation Order shall, and shall be deemed to,
pursuant to sections 363 and 1123 of the Bankruptcy Code, authorize, among other things, all actions as may be
necessary or appropriate to effect any transaction described in, contemplated by, or necessary to effectuate the Plan.
On the Effective Date or as soon as reasonably practicable thereafter, the Reorganized Debtors, as applicable, shall
issue all Securities, notes, instruments, certificates, and other documents required to be issued pursuant to the
Restructuring Transactions.

C.       Midstream Savings Requirement.

         In the event that sufficient savings with respect to the Debtors’ midstream contracts (as determined by the
Required Plan Sponsors) are not achieved, unless the Debtors and the Required Consenting Stakeholders agree
otherwise (but subject to the reasonable written consent of the DIP Agent and the Required Consenting DIP Lenders),
certain of the Debtors’ assets will be separated from the Debtors’ remaining assets to the extent not inconsistent with
28 U.S.C. § 959(b). The Debtors’ restructuring will then be consummated with respect to the remaining assets, and
the separated assets will be wound down in a manner agreed to by the Debtors and the Required
Consenting Stakeholders.

D.       Reorganized Debtors.

          On the Effective Date, the New Board shall be established, and the Reorganized Debtors shall adopt their
applicable New Organizational Documents. The Reorganized Debtors shall be authorized to adopt any other
agreements, documents, and instruments and to take any other actions contemplated under the Plan as necessary to
consummate the Plan. Cash payments to be made pursuant to the Plan will be made by the Debtors or Reorganized
Debtors. The Debtors and Reorganized Debtors will be entitled to transfer funds between and among themselves as
they determine to be necessary or appropriate to enable the Debtors or Reorganized Debtors, as applicable, to satisfy
their obligations under the Plan. Except as set forth herein, any changes in intercompany account balances resulting
from such transfers will be accounted for and settled in accordance with the Debtors’ historical intercompany account
settlement practices and will not violate the terms of the Plan.

          From and after the Effective Date, the Reorganized Debtors, subject to any applicable limitations set forth in
any post-Effective Date agreement, shall have the right and authority without further order of the Bankruptcy Court
to raise additional capital and obtain additional financing, subject to the New Organizational Documents and the Exit
Facilities Documents, as the boards of directors of the applicable Reorganized Debtors deem appropriate.
                                                          27
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1222 of 1639
                                                                            1222


E.       Sources of Consideration for Plan Distributions.

         The Debtors and the Reorganized Debtors, as applicable, shall fund distributions under the Plan with:
(1) Cash on hand, including Cash from operations or asset dispositions; (2) Cash proceeds from the sale of New
Common Stock pursuant to the Rights Offering; (3) the New Common Stock; (4) the New Warrants; and (5) the
proceeds of the Exit Facilities, as applicable. Each distribution and issuance referred to in Article VI of the Plan shall
be governed by the terms and conditions set forth herein applicable to such distribution or issuance and by the terms
and conditions of the instruments or other documents evidencing or relating to such distribution or issuance, which
terms and conditions shall bind each Entity receiving such distribution or issuance. The issuance, distribution, or
authorization, as applicable, of certain Securities in connection with the Plan, including the New Common Stock and
the Rights will be exempt from SEC registration to the fullest extent permitted by law, as described more fully in
Article VI.D below.

         1.   Rights Offering.

         The Debtors shall distribute the Rights to the Rights Offering Participants on behalf of the Reorganized
Debtors as set forth in the Plan and the Rights Offering Procedures. Pursuant to the Backstop Commitment Agreement
and the Rights Offering Procedures, the Rights Offering shall be open to all Rights Offering Participants, and
(a) Rights Offering Participants that are holders of Allowed FLLO Term Loan Facility Claims shall be entitled to
participate in the Rights Offering up to a maximum amount of each holder’s Pro Rata share of the FLLO Rights;
(b) Rights Offering Participants that are holders of Allowed Second Lien Notes Claims shall be entitled to participate
in the Rights Offering up to a maximum amount of each holder’s Pro Rata share of the Second Lien Rights; and
(c) Rights Offering Participants that are Backstop Parties (or have certain rights and obligations of Backstop Parties
pursuant to agreement of the parties to the Backstop Commitment Agreement) shall be entitled to participate in the
Rights Offering up to a maximum amount of each holder’s Backstop Party Rights. Rights Offering Participants shall
have the right to purchase their allocated shares of New Common Stock at the per share price set forth in the Backstop
Commitment Agreement and the Rights Offering Procedures.

        Upon exercise of the Rights by the Rights Offering Participants pursuant to the terms of the Backstop
Commitment Agreement and the Rights Offering Procedures, Reorganized Chesapeake shall be authorized to issue
the New Common Stock issuable pursuant to such exercise.

          In exchange for the Put Option Premium and in accordance with the Backstop Commitment Agreement, the
Backstop Parties have committed to fully backstop, severally and not jointly, the Rights Offering Amount. Pursuant
to the Backstop Commitment Agreement and the allocations contained therein (subject to the transfer rights and
restrictions contained in the Backstop Commitment Agreement, the “Backstop Allocations”), the Backstop Parties
shall, severally and not jointly, backstop the Rights Offering Amount, purchase the New Common Stock not
subscribed for purchase by the Rights Offering Participants at the per share purchase price set forth in the Backstop
Commitment Agreement and exercise the Backstop Party Rights. The Put Option Premium shall be paid by
Chesapeake or Reorganized Chesapeake in accordance with the Backstop Commitment Agreement and Backstop
Commitment Agreement Approval Order. For the avoidance of doubt, if the Put Option Premium is payable in Cash
pursuant to the terms and conditions set forth in the Backstop Commitment Agreement and Backstop Commitment
Agreement Approval Order, the Put Option Premium shall be a superpriority administrative expense with priority in
payment over any and all administrative expenses of the kinds specified or ordered pursuant to any provision of the
Bankruptcy Code, including, but not limited to, sections 105, 326, 328, 330, 331, 503(b), 506(c), 507(a), 507(b), 726,
1113, and 1114 of the Bankruptcy Code, or otherwise and including those resulting from the conversion of any of the
Chapter 11 Cases pursuant to section 1112 of the Bankruptcy Code except it shall be unsecured and (i) be subordinated
in priority to (a) the DIP Claims and (b) any adequate protection granted on account of the Revolving Credit Facility
Claims (and any Claims to which such Claims in (a) or (b) are subordinate); and (ii) payable only after all such Claims
set forth in clause (i) have been paid in full in Cash or provided such other treatment as is agreed to by the requisite
parties, as set forth in section 3.1 of the Backstop Commitment Agreement.

         All shares of the New Common Stock, the New Warrants (and any shares of the New Common Stock issuable
upon the exercise thereof), the Rights (and any shares issuable upon the exercise thereof other than the unsubscribed
shares of New Common Stock issued to the Backstop Parties pursuant to the Backstop Commitment Agreement), and
the shares issuable as part of the Put Option Premium (collectively, the “1145 Securities”) will be issued in reliance
                                                           28
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1223 of 1639
                                                                         1223


upon section 1145 of the Bankruptcy Code to the extent permitted under applicable law. The unsubscribed shares of
New Common Stock issued to the Backstop Parties pursuant to the Backstop Commitment Agreement (collectively,
the “4(a)(2) Securities” and together with the 1145 Securities and any other Securities issued under the Plan, the
“Plan Securities”) will be issued in reliance upon section 4(a)(2) of the Securities Act or Regulation D promulgated
thereunder. Entry of the Confirmation Order shall constitute Bankruptcy Court approval of the Rights Offering
(including the transactions contemplated thereby, and all actions to be undertaken, undertakings to be made, and
obligations to be incurred by Reorganized Chesapeake in connection therewith). On the Effective Date, the rights and
obligations of the Debtors under the Backstop Commitment Agreement shall vest in the Reorganized Debtors,
as applicable.

        The proceeds of the Rights Offering shall be used by the Debtors or Reorganized Debtors, as applicable, to
fund payments under the Plan and for general corporate and strategic purposes as determined by management.

         2.   Rights and New Common Stock.

         Reorganized Chesapeake shall be authorized to issue the Rights and the New Common Stock to certain
holders of Claims pursuant to Article III.B. Such New Common Stock shall be issued to Rights Offering Participants
and/or Backstop Parties pursuant to the Rights Offering, the Backstop Commitment Agreement, and the New
Organizational Documents. Reorganized Chesapeake shall issue all securities, instruments, certificates, and other
documents required to be issued by it with respect to all such shares of New Common Stock. All such Rights and
shares of New Common Stock, and any other shares of New Common Stock issued pursuant to the Plan shall be duly
authorized, validly issued, fully paid, and non-assessable.

         Prior to the Effective Date, the Required Plan Sponsors shall determine whether Reorganized Chesapeake
shall use commercially reasonable efforts to (i) cause the New Common Stock to be listed on a National Securities
Exchange on the Effective Date or to (ii) cause the New Common Stock to be listed on an Alternative Securities
Exchange on the Effective Date or as soon as reasonably practicable thereafter, to engage a market maker for the New
Common Stock and to take other reasonable steps to establish that the New Common Stock is regularly traded on an
established securities market for purposes of section 897 under the Code and Treasury regulations promulgated and
proposed to be promulgated thereunder.

         3.   New Warrants.

          On the Effective Date, Reorganized Chesapeake will issue the New Warrants to certain holders of Claims
pursuant to Article III.B this Plan. Issuances of the New Warrants shall be governed by the terms and conditions set
forth in this Plan and the New Warrant Agreements applicable to such distribution or issuance and by the terms and
conditions of the instruments evidencing or relating each such issuance, which terms and conditions shall bind each
Entity receiving such distribution or issuance without the need for execution by any party thereto other than the
applicable Reorganized Debtor(s). The New Warrants issued pursuant to the Plan and the shares of New Common
Stock that may be issued upon exercise of the New Warrants shall be duly authorized, validly issued, fully paid,
and non-assessable, without the need for any further corporate action and without any further action by the Debtors
or Reorganized Debtors, as applicable.

         4.   Exit Facilities.

          On the Effective Date, the Reorganized Debtors shall enter into the Exit Facilities (the terms of which will
be set forth in the Exit Facilities Documents).

         To the extent applicable, Confirmation of the Plan shall be deemed (a) approval of the Exit Facilities
(including the transactions and related agreements contemplated thereby, and all actions to be taken, undertakings to
be made, and obligations to be incurred and fees and expenses to be paid by the Debtors or the Reorganized Debtors,
as applicable, in connection therewith), to the extent not approved by the Bankruptcy Court previously, and
(b) authorization for the Debtors or the Reorganized Debtors, as applicable, to, without further notice to or order of
the Bankruptcy Court, (i) execute and deliver those documents and agreements necessary or appropriate to pursue or
obtain the Exit Facilities, including the Exit Facilities Documents, and incur and pay any fees and expenses in

                                                         29
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1224 of 1639
                                                                            1224


connection therewith, and (ii) act or take action under applicable law, regulation, order, or rule or vote, consent,
authorization, or approval of any Person, subject to such modifications as the Debtors or the Reorganized Debtors, as
applicable, may deem to be necessary to consummate the Exit Facilities.

          As of the Effective Date, upon the granting or continuation of Liens in accordance with the Plan and the Exit
Facilities Documents, such Liens shall constitute valid, binding, enforceable, and automatically perfected Liens in the
collateral specified in the Exit Facilities Documents. The Exit Facilities Agent or holder(s) of Liens under the Exit
Facilities Documents are authorized to file with the appropriate authorities mortgages, financing statements, and other
documents, and to take any other action in order to evidence, validate, and perfect such Liens or security interests.
The guarantees, mortgages, pledges, Liens, and other security interests granted to secure the obligations arising under
the Exit Facilities Documents have been granted in good faith, for legitimate business purposes, and for reasonably
equivalent value as an inducement to the lenders thereunder to extend credit thereunder and shall be deemed not to
constitute a fraudulent conveyance or fraudulent transfer and shall not otherwise be subject to avoidance,
recharacterization, or subordination for any purposes whatsoever and shall not constitute preferential transfers or
fraudulent conveyances under the Bankruptcy Code or any applicable nonbankruptcy law, and the priorities of such
Liens and security interests shall be as set forth in the Exit Facilities Documents. The Reorganized Debtors and the
Persons and Entities granted such Liens and security interests shall be authorized to make all filings and recordings,
and to obtain all governmental approvals and consents necessary to establish and perfect such Liens and security
interests under the provisions of the applicable state, federal, or other law that would be applicable in the absence of
the Plan and the Confirmation Order (it being understood that perfection shall occur automatically by virtue of the
entry of the Confirmation Order), and will thereafter cooperate to make all other filings and recordings that otherwise
would be necessary under applicable law to give notice of such Liens and security interests to third parties.

F.       Convenience Claim Distribution Reserve.

        On the Effective Date, the Reorganized Debtors shall establish and fund the Convenience Claim Distribution
Reserve with Cash in an amount equal to $10,000,000.00. The Convenience Claim Distribution Reserve shall be
maintained in trust solely for holders of Convenience Claims. Such funds shall not be considered property of the
Debtors or the Reorganized Debtors; provided that any funds remaining in the Convenience Claim Distribution
Reserve after all Convenience Claim Distributions have been made shall be distributed to and vest in the Reorganized
Debtors. Convenience Claims shall be paid in accordance with Article V1.A of the Plan.

G.       Corporate Existence.

          Except as otherwise provided in the Plan or any agreement, instrument, or other document incorporated in
the Plan or the Plan Supplement, each Debtor shall continue to exist after the Effective Date as a separate corporate
entity, limited liability company, partnership, or other form, as the case may be, with all the powers of a corporation,
limited liability company, partnership, or other form, as the case may be, pursuant to the applicable law in the
jurisdiction in which each applicable Debtor is incorporated or formed and pursuant to the respective certificate of
incorporation and bylaws (or other formation documents) in effect prior to the Effective Date, except to the extent
such certificate of incorporation and bylaws (or other formation documents) are amended, amended and restated, or
replaced under the Plan or otherwise, including pursuant to the New Organizational Documents, and to the extent such
documents are amended in accordance therewith, such documents are deemed to be amended, amended and restated,
or replaced pursuant to the Plan and require no further action or approval (other than any requisite filings required
under applicable state, provincial, or federal law). After the Effective Date, the respective certificate of incorporation
and bylaws (or other formation documents) of the Reorganized Debtors may be amended or modified on the terms
therein without supervision or approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy Code
or Bankruptcy Rules. After the Effective Date, one or more of the Reorganized Debtors may be disposed of, dissolved,
wound down, or liquidated without supervision or approval by the Bankruptcy Court and free of any restrictions of
the Bankruptcy Code or Bankruptcy Rules.

H.       Vesting of Assets in the Reorganized Debtors.

         Except as otherwise provided in the Confirmation Order, the Plan (including, for the avoidance of doubt, the
Restructuring Transactions Memorandum), or any agreement, instrument, or other document incorporated in, or
entered into in connection with or pursuant to, the Plan or Plan Supplement, on the Effective Date, all property in each
                                                           30
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1225 of 1639
                                                                            1225


Estate that constitutes property of the Estate under section 541 of the Bankruptcy Code, all Causes of Action, and any
property acquired by any of the Debtors pursuant to the Plan shall vest in each respective Reorganized Debtor, free
and clear of all Liens, Claims, charges, or other encumbrances. On and after the Effective Date, except as otherwise
provided in the Plan, each Reorganized Debtor may operate its business and may use, acquire, or dispose of property
and compromise or settle any Claims, Interests, or Causes of Action without supervision or approval by the Bankruptcy
Court and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules.

         Nothing in the Plan or the Confirmation Order shall operate as a finding or determination that funds (1) held
by the Debtors or subject to their control and (2) to which any holder of a Royalty and Working Interest has asserted
or may assert a right of entitlement or ownership on account of such Royalty and Working Interest, constitute property
of any of the Estates under section 541 of the Bankruptcy Code or otherwise. All parties’ rights with respect to such
issue remain unaffected by Confirmation of the Plan and entry of the Confirmation Order.

I.       Cancellation of Existing Securities and Agreements.

          On the Effective Date, except as otherwise provided in this Plan, all notes, instruments, certificates, credit
agreements, indentures, security agreements, collateral agreements, and other documents evidencing Claims or
Interests shall be cancelled and the obligations of the Debtors thereunder or in any way related thereto shall be deemed
satisfied in full, cancelled, discharged, and of no force or effect. Holders of or parties to such cancelled instruments,
Securities, and other documentation will have no rights arising from or relating to such instruments, Securities, and
other documentation, or the cancellation thereof, except the rights provided for or preserved pursuant to this Plan or
the Confirmation Order.

          Notwithstanding anything to the contrary herein, to the extent cancelled pursuant to this Plan, the DIP Credit
Agreement, the Revolving Credit Facility Credit Agreement, the FLLO Term Loan Facility Credit Agreement, the
Collateral Trust Documents, the Second Lien Notes Indenture, and the Unsecured Notes Indentures shall continue in
effect solely to the extent necessary to: (1) permit holders of Claims under the DIP Credit Agreement, the Revolving
Credit Facility Credit Agreement, the FLLO Term Loan Facility Credit Agreement, the Collateral Trust Documents,
the Second Lien Notes Indenture, and the Unsecured Notes Indentures to receive their respective Plan distributions, if
any; (2) permit the Debtors or the Reorganized Debtors to make Plan distributions on account of the Allowed Claims
under the DIP Credit Agreement, the Revolving Credit Facility Credit Agreement, the FLLO Term Loan Facility
Credit Agreement, the Collateral Trust Documents, the Second Lien Notes Indenture, and the Unsecured Notes
Indentures; (3) permit the Agents and Trustees to seek compensation and/or reimbursement of fees and expenses in
accordance with the terms of the DIP Order, the DIP Credit Agreement, this Plan, and the Confirmation Order, as
applicable; (4) allow the Agents and Trustees to enforce their rights, claims, and interests against any party other than
the Debtors; (5) preserve any rights of the Agents and Trustees to payment of fees, expenses, and indemnification
obligations as against any money or property distributable to holders of Claims under the DIP Credit Agreement, the
Revolving Credit Facility Credit Agreement, the FLLO Term Loan Facility Credit Agreement, the Collateral Trust
Documents, the Second Lien Notes Indenture, and the Unsecured Notes Indentures, respectively, including any rights
to priority of payment and/or to exercise charging liens; (6) permit the Agents and Trustees to appear and be heard in
the Chapter 11 Cases or in any proceeding in the Bankruptcy Court or an appellate court, including to enforce any
obligation owed to the Agents and Trustees or other holders of Claims under the DIP Credit Agreement, the Revolving
Credit Facility Credit Agreement, the FLLO Term Loan Facility Credit Agreement, the Collateral Trust Documents,
the Second Lien Notes Indenture, and the Unsecured Notes Indentures, as applicable; (7) preserve the rights and
obligations of the parties under the Exit Facilities Documents, as applicable; and (8) allow the Agents and Trustees to
maintain any right of indemnification, contribution, or subrogation under the DIP Credit Agreement, the Revolving
Credit Facility Credit Agreement, the FLLO Term Loan Facility Credit Agreement, the Collateral Trust Documents,
the Second Lien Notes Indenture, and the Unsecured Notes Indentures.

         Except as provided in this Plan, on the Effective Date, the Agents and Trustees, and their respective agents,
successors, and assigns, shall be automatically and fully discharged of all of their duties and obligations associated
with the DIP Credit Agreement, the Revolving Credit Facility Credit Agreement, the FLLO Term Loan Facility Credit
Agreement, the Collateral Trust Documents, the Second Lien Notes Indenture, and the Unsecured Notes Indentures,
as applicable. To the extent cancelled in accordance with this Plan, the commitments and obligations (if any) of the
holders under the DIP Credit Agreement, the Revolving Credit Facility Credit Agreement, the FLLO Term Loan
Facility Credit Agreement, the Collateral Trust Documents, the Second Lien Notes Indenture, and the Unsecured
                                                           31
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1226 of 1639
                                                                            1226


Notes Indentures to extend any further or future credit or financial accommodations to any of the Debtors, any of the
Debtors’ respective subsidiaries, or any of the Debtors’ respective successors or assigns under the DIP Credit
Agreement, the Revolving Credit Facility Credit Agreement, the FLLO Term Loan Facility Credit Agreement, the
Collateral Trust Documents, the Second Lien Notes Indenture, and the Unsecured Notes Indentures, as applicable,
shall fully terminate and be of no further force or effect on the Effective Date.

J.       Corporate Action.

          Upon the Effective Date, all actions contemplated under the Plan shall be deemed authorized and approved
in all respects, including: (1) implementation of the Restructuring Transactions, including the Rights Offering;
(2) selection of the directors and officers for the Reorganized Debtors; (3) the issuance and distribution of the New
Common Stock in accordance with the Plan, including all shares of New Common Stock issued by Reorganized
Chesapeake to the Backstop Parties as part of the Put Option Premium and the unsubscribed shares of New Common
Stock issued to Backstop Parties pursuant to the Backstop Commitment Agreement; (4) issuance and distribution of
the Rights and subsequent issuance and distribution of New Common Stock issuable upon exercise of such Rights;
(5) execution and delivery of the Registration Rights Agreement; (6) issuance and distribution of the New Warrants
and entry into the New Warrants Agreements; (7) entry into the Exit Facilities Documents; (8) all other actions
contemplated under the Plan (whether to occur before, on, or after the Effective Date); (9) approval and adoption of
the New Organizational Documents; (10) entry into the Management Incentive Plan; (11) the rejection, assumption,
or assumption and assignment, as applicable, of Executory Contracts and Unexpired Leases; and (12) all other acts or
actions contemplated or reasonably necessary or appropriate to promptly consummate the Restructuring Transactions
contemplated by the Plan (whether to occur before, on, or after the Effective Date). All matters provided for in the
Plan involving the corporate structure of the Debtors or the Reorganized Debtors, and any corporate, partnership,
limited liability company, or other governance action required by the Debtors or the Reorganized Debtor, as
applicable, in connection with the Plan shall be deemed to have occurred and shall be in effect, without any
requirement of further action by the Security holders, members, directors, or officers of the Debtors or the Reorganized
Debtors, as applicable. On or (as applicable) prior to the Effective Date, the appropriate officers of the Debtors or the
Reorganized Debtors, as applicable, shall be authorized and (as applicable) directed to issue, execute, and deliver the
agreements, documents, Securities, and instruments contemplated under the Plan (or necessary or desirable to effect
the transactions contemplated under the Plan) in the name of and on behalf of the Reorganized Debtors, including the
New Common Stock, Rights, the Registration Rights Agreement, the Management Incentive Plan, the New Warrants
and the New Warrants Agreements, the New Organizational Documents, the Exit Facilities Documents, and any and
all other agreements, documents, Securities, and instruments relating to the foregoing. The authorizations and
approvals contemplated by this Article IV.J shall be effective notwithstanding any requirements under
non-bankruptcy law.

K.       New Organizational Documents.

         On or immediately prior to the Effective Date, the New Organizational Documents shall be automatically
adopted by the applicable Reorganized Debtors. To the extent required under the Plan or applicable non-bankruptcy
law, each of the Reorganized Debtors will file its New Organizational Documents with the applicable Secretaries of
State and/or other applicable authorities in its respective state if and to the extent required in accordance with the
applicable laws of the respective state. The New Organizational Documents will (i) prohibit the issuance of non-
voting equity Securities, to the extent required under section 1123(a)(6) of the Bankruptcy Code; (ii) with respect to
the New Organizational Documents of Reorganized Chesapeake, authorize the issuance of New Common Stock in an
amount not less than the amount necessary to permit the distributions thereof required or contemplated by this Plan
(including as a result of the exercise of New Warrants); and (iii) to the extent necessary or appropriate, include such
provisions as may be needed to effectuate and consummate this Plan and the transactions contemplated herein.
The New Organizational Documents shall also provide for the indemnification and exculpation of directors, officers
and appropriate persons to the fullest extent permitted by applicable law.

         If requested by the Required Consenting Stakeholders before the Effective Date, the New Organizational
Documents will include transfer restrictions designed to limit an ownership change for purposes of section 382 of the
Code or otherwise the Debtors or Reorganized Debtors, as applicable, may adopt and implement a stockholder rights
plan designed for such purpose, in each case effective upon the Effective Date.


                                                           32
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1227 of 1639
                                                                            1227


         The New Organizational Documents of Reorganized Chesapeake shall also provide that until such time as
the New Common Stock is listed on a National Securities Exchange the Reorganized Debtors shall not, without the
approval of the holders of the majority of outstanding New Common Stock: (i) issue shares of New Common Stock
in excess of 5% of the fully-diluted number of shares of New Common Stock outstanding and authorized for issuance
under the Plan on the Effective Date (including all shares contemplated under the claims recovery, the New Warrants,
the Rights Offering, the Backstop Commitment Agreement and the Management Incentive Plan) or authorize or issue
any shares of preferred stock; provided that this limitation shall not apply in connection with the adoption of a bona
fide stockholder rights plan by Reorganized Chesapeake’s board of directors; (ii) enter into any sales, transfers or
licenses of any Reorganized Chesapeake subsidiary, division, operation, business, line of business, assets or property,
in each case, held by Reorganized Chesapeake or any of its subsidiaries with any person other than Reorganized
Chesapeake or one or more of its wholly-owned subsidiaries involving consideration in excess of $50,000,000 per
transaction or series of related transactions; or (iii) make any acquisition, by merger, consolidation or stock or asset
purchase or investment with respect to any business, assets, property or any corporation or other entity, involving
consideration in excess of $50,000,000 per transaction or series of related transactions.

         On or after the Effective Date, the Reorganized Debtors may amend, amend and restate or modify their
respective New Organizational Documents in accordance with the terms thereof, and the Reorganized Debtors may
file such amended, amended and restated or modified certificates or articles of incorporation, bylaws, or such other
applicable formation documents, and other constituent documents as permitted by the laws of their respective state of
incorporation and the New Organizational Documents.

L.       Indemnification Obligations.

         Consistent with applicable law, all indemnification provisions in place as of the Effective Date (whether in
the bylaws, certificates of incorporation or formation, limited liability company agreements, other organizational
documents, board resolutions, indemnification agreements, employment contracts, the DIP Order, or otherwise) for
current and former directors, officers, managers, employees, attorneys, accountants, investment bankers, and other
professionals of the Debtors, the DIP Agent, the DIP Lenders, the Revolving Credit Facility Agent, the Consenting
Revolving Credit Facility Lenders, the Consenting FLLO Term Loan Facility Lenders, the Collateral Trustee, the
Second Lien Notes Trustee, the Consenting Second Lien Noteholders, and the Consenting Unsecured Noteholders, as
applicable, shall be reinstated and remain intact, irrevocable, and shall survive the effectiveness of the Plan on terms
no less favorable to such current and former directors, officers, managers, employees, attorneys, accountants,
investment bankers, and other professionals of the Debtors, the DIP Agent, the DIP Lenders, the Revolving Credit
Facility Agent, the Consenting Revolving Credit Facility Lenders, the Consenting FLLO Term Loan Facility Lenders,
the Collateral Trustee, the Second Lien Notes Trustee, the Consenting Second Lien Noteholders, and the Consenting
Unsecured Noteholders, as applicable, than the indemnification provisions in place prior to the Effective Date.

M.       Directors and Officers of the Reorganized Debtors.

         As of the Effective Date, the terms of the current members of the board of directors of Chesapeake shall
expire and the new directors and officers of the Reorganized Chesapeake shall be appointed. The identities of directors
on the New Board shall be set forth in the Plan Supplement to the extent known at the time of Filing. Each member
of the New Board will serve from and after the Effective Date pursuant to applicable law and the terms of the New
Organizational Documents. The existing boards of directors and other governing bodies of the other Reorganized
Debtors will be deemed to have resigned on and as of the Effective Date, in each case without further notice to or
order of the Bankruptcy Court, act or action under applicable law, regulation, order, or rule or the vote, consent,
authorization, or approval of any Person or Entity.

         Corporate governance for Reorganized Chesapeake, including charters, bylaws, operating agreements, or
other organization documents, as applicable, shall be consistent with section 1123(a)(6) of the Bankruptcy Code and
the New Organizational Documents.

N.       Effectuating Documents; Further Transactions.

        On and after the Effective Date, the Reorganized Debtors, and their respective officers, directors, members,
or managers (as applicable), are authorized to and may issue, execute, deliver, file, or record such contracts, Securities,
                                                            33
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1228 of 1639
                                                                            1228


instruments, releases, and other agreements or documents and take such actions as may be necessary or appropriate to
effectuate, implement, and further evidence the terms and conditions of the Plan, Exit Facilities entered into, and the
Securities issued pursuant to the Plan in the name of and on behalf of the Reorganized Debtors, without the need for
any approvals, authorization, or consents except for those expressly required pursuant to the Plan.

O.       Section 1146 Exemption.

          To the fullest extent permitted by section 1146(a) of the Bankruptcy Code, any transfers (whether from a
Debtor to a Reorganized Debtor or to any other Person) of property under the Plan or pursuant to: (1) the issuance,
distribution, transfer, or exchange of any debt, equity Security, or other interest in the Debtors or the Reorganized
Debtors, including the New Common Stock and the New Warrants (including the New Common Stock that may be
issuable upon exercise of the New Warrants); (2) the Restructuring Transactions; (3) the creation, modification,
consolidation, termination, refinancing, and/or recording of any mortgage, deed of trust, or other security interest, or
the securing of additional indebtedness by such or other means; (4) the making, assignment, or recording of any lease
or sublease; (5) the grant of collateral as security for the Reorganized Debtors’ obligations under and in connection
with the Exit Facilities; or (6) the making, delivery, or recording of any deed or other instrument of transfer under, in
furtherance of, or in connection with, the Plan, including any deeds, bills of sale, assignments, or other instrument of
transfer executed in connection with any transaction arising out of, contemplated by, or in any way related to the Plan,
shall not be subject to any document recording tax, stamp tax, conveyance fee, intangibles or similar tax, mortgage
tax, real estate transfer tax, personal property transfer tax, sales or use tax, mortgage recording tax, Uniform
Commercial Code filing or recording fee, regulatory filing or recording fee, or other similar tax or governmental
assessment, and upon entry of the Confirmation Order, the appropriate state or local governmental officials or agents
shall forego the collection of any such tax or governmental assessment and accept for filing and recordation any of
the foregoing instruments or other documents without the payment of any such tax, recordation fee, or governmental
assessment. All filing or recording officers (or any other Person with authority over any of the foregoing), wherever
located and by whomever appointed, shall comply with the requirements of section 1146(a) of the Bankruptcy Code,
shall forego the collection of any such tax or governmental assessment, and shall accept for filing and recordation any
of the foregoing instruments or other documents without the payment of any such tax or governmental assessment.

P.       Director and Officer Liability Insurance.

          Notwithstanding anything in the Plan to the contrary, the Reorganized Debtors shall be deemed to have
assumed all of the Debtors’ D&O Liability Insurance Policies pursuant to sections 105 and 365(a) of the Bankruptcy
Code effective as of the Effective Date. Entry of the Confirmation Order will constitute the Bankruptcy Court’s
approval of the Reorganized Debtors’ foregoing assumption of each of the unexpired D&O Liability Insurance
Policies. Notwithstanding anything to the contrary contained in the Plan, Confirmation of the Plan shall not discharge,
impair, or otherwise modify any indemnity obligations assumed by the foregoing assumption of the unexpired D&O
Liability Insurance Policies, and each such indemnity obligation will be deemed and treated as an Executory Contract
that has been assumed by the Debtors under the Plan as to which no Proof of Claim need be Filed.

          In addition, after the Effective Date, none of the Reorganized Debtors shall terminate or otherwise reduce the
coverage under any D&O Liability Insurance Policies (including any “tail policy”) in effect on or after the Petition
Date, with respect to conduct occurring prior thereto, and all directors and officers of the Debtors who served in such
capacity at any time prior to the Effective Date shall be entitled to the full benefits of any such policy for the full term
of such policy, to the extent set forth therein, regardless of whether such directors and officers remain in such positions
after the Effective Date.

Q.       Management Incentive Plan.

         On the Plan Effective Date, the Reorganized Debtors shall adopt a management incentive plan
(the “Management Incentive Plan”). All grants under the Management Incentive Plan shall be determined at the sole
discretion of the New Board including, without limitation, with respect to the participants, allocation, timing, and the
form and structure of the options, warrants, and/or equity compensation to be provided thereunder and taking into
account market compensation levels and historical equity compensation structures.



                                                            34
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1229 of 1639
                                                                            1229


R.       Employee Benefits.

         Unless otherwise provided herein, and subject to Article V hereof, all wages, compensation, and benefits
programs, including executive compensation programs and any motions in the Bankruptcy Court for the approval
thereof, will be continued according to existing terms and practices. On the Effective Date, the Debtors shall
(1) assume all employment agreements, indemnification agreements, or other agreements entered into with current
and former employees; or (2) enter into new agreements with such employees on terms and conditions acceptable to
the Debtor and such employee. Notwithstanding the foregoing, any employment agreements or other
employment-related agreements that provide for any acceleration or enhancement of payments (including severance
payments), vesting, benefits, or other rights in connection with a transaction that constitutes a change in control,
change of control, or similar concept under such agreements, shall only be assumed if and to the extent that the
Debtors, with the consent of the Required Plan Sponsors, obtain waivers specifying that the consummation of the
Restructuring Transactions shall not trigger any such rights under such agreements.

         For the avoidance of doubt, pursuant to section 1129(a)(13) of the Bankruptcy Code, from and after the
Effective Date, all retiree benefits (as such term is defined in section 1114 of the Bankruptcy Code), if any, shall
continue to be paid in accordance with applicable law.

       Notwithstanding the foregoing, on the Effective Date, the Debtors may enter into new arrangements with
employees on terms and conditions acceptable to the Debtors, the Required Plan Sponsors, and such employee.

S.       Preservation of Causes of Action.

         In accordance with section 1123(b) of the Bankruptcy Code, but subject to Article VIII hereof, each
Reorganized Debtor, as applicable, shall retain and may enforce all rights to commence and pursue, as appropriate,
any and all Causes of Action of the Debtors, whether arising before or after the Petition Date, including any actions
specifically enumerated in the Schedule of Retained Causes of Action, and the Reorganized Debtors’ rights to
commence, prosecute, or settle such Causes of Action shall be preserved notwithstanding the occurrence of the
Effective Date, other than: (i) the Causes of Action released by the Debtors pursuant to the releases and exculpations
contained in the Plan, including in Article VIII hereof, which shall be deemed released and waived by the Debtors and
the Reorganized Debtors as of the Effective Date; and (ii) all Causes of Action that arise under sections 544, 547, 548,
and 549 of the Bankruptcy Code and state fraudulent conveyance law.

          The Reorganized Debtors may pursue such retained Causes of Action, as appropriate, in accordance with the
best interests of the Reorganized Debtors. No Entity (other than the Released Parties) may rely on the absence of
a specific reference in the Plan, the Plan Supplement, or the Disclosure Statement to any Cause of Action
against it as any indication that the Debtors or the Reorganized Debtors, as applicable, will not pursue any and
all available Causes of Action of the Debtors against it. The Debtors and the Reorganized Debtors expressly
reserve all rights to prosecute any and all Causes of Action against any Entity, except as otherwise expressly
provided in the Plan, including Article VIII hereof. Unless otherwise agreed upon in writing by the parties to
the applicable Cause of Action, all objections to the Schedule of Retained Causes of Action must be Filed with
the Bankruptcy Court on or before thirty (30) days after the Effective Date. Any such objection that is not
timely Filed shall be disallowed and forever barred, estopped, and enjoined from assertion against any
Reorganized Debtor, without the need for any objection or responsive pleading by the Reorganized Debtors or
any other party in interest or any further notice to or action, order, or approval of the Bankruptcy Court.
The Reorganized Debtors may settle any such objection without any further notice to or action, order, or approval of
the Bankruptcy Court. If there is any dispute regarding the inclusion of any Cause of Action on the Schedule of
Retained Causes of Action that remains unresolved by the Debtors or Reorganized Debtors, as applicable, and the
objection party for thirty (30) days, such objection shall be resolved by the Bankruptcy Court. Unless any Causes of
Action of the Debtors against an Entity are expressly waived, relinquished, exculpated, released, compromised, or
settled in the Plan or a Final Order, the Reorganized Debtors expressly reserve all Causes of Action, for later
adjudication, and, therefore, no preclusion doctrine, including the doctrines of res judicata, collateral estoppel, issue
preclusion, claim preclusion, estoppel (judicial, equitable, or otherwise), or laches, shall apply to such Causes of
Action upon, after, or as a consequence of the Confirmation or Consummation.



                                                           35
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1230 of 1639
                                                                            1230


         The Reorganized Debtors reserve and shall retain such Causes of Action of the Debtors notwithstanding the
rejection or repudiation of any Executory Contract or Unexpired Lease during the Chapter 11 Cases or pursuant to the
Plan. In accordance with section 1123(b)(3) of the Bankruptcy Code, any Causes of Action that a Debtor may hold
against any Entity shall vest in the Reorganized Debtors, except as otherwise expressly provided in the Plan, including
Article VIII hereof. The applicable Reorganized Debtors, through their authorized agents or representatives, shall
retain and may exclusively enforce any and all such Causes of Action. The Reorganized Debtors shall have the
exclusive right, authority, and discretion to determine and to initiate, file, prosecute, enforce, abandon, settle,
compromise, release, withdraw, or litigate to judgment any such Causes of Action and to decline to do any of the
foregoing without the consent or approval of any third party or further notice to or action, order, or approval of the
Bankruptcy Court.

T.       Preservation of Royalty and Working Interests.

          Notwithstanding any other provision in the Plan, on and after the Effective Date, all Royalty and Working
Interests shall remain in full force and effect in accordance with the terms of the granting instruments or other
governing documents applicable to such Royalty and Working Interests.

           Royalty and Working Interests shall not be modified, affected or impaired in any manner by any provision
of the Plan or the Confirmation Order, including but not limited to any injunctive or stay relief, and the legal and
equitable rights, interests, defenses, and obligations of holders of Royalty and Working Interests, with respect to such
Royalty and Working Interests, shall not be modified, affected or impaired in any manner by the provisions of the
Plan or the Confirmation Order; provided that, to the extent applicable, any Other Secured Claims, General Unsecured
Claims, or Administrative Claims of holders of Royalty and Working Interests shall be treated in accordance with
Articles II and III hereof. Nor shall the Plan or the Confirmation Order modify, affect or impair the rights and defenses
of the Debtors or the Reorganized Debtors with respect to the Royalty and Working Interests. The Debtors’ and the
Reorganized Debtors’ rights to dispute the amounts owing on account of Royalty and Working Interests and to assert
that prepetition Claims for such amounts have been discharged by the Plan or the Confirmation Order are expressly
preserved and reserved. Nothing in this Plan or the Confirmation Order shall be deemed a finding or determination
as to whether any such amount owed by the Debtors or the Reorganized Debtors on account of Royalty and Working
Interests is a Claim or a specific type of Claim, if the amount has been discharged, or to what extent (if any) funds
held by the Debtors or the Reorganized Debtors or subject to their control, with respect to which funds any holder of
a Royalty and Working Interest has asserted or may assert a right of entitlement or ownership on account of such
Royalty and Working Interest, constitute property of any of the Estates under section 541 of the Bankruptcy Code or
otherwise; provided, however, that any determination with respect to the foregoing shall be made by the Bankruptcy
Court. All parties’ rights are preserved and reserved with respect to such findings or determinations; provided that, to
the extent applicable, any Administrative Claims, Other Secured Claims or General Unsecured Claims of holders of
Royalty and Working Interests on account of Royalty and Working Interests shall be treated in accordance with Article
II or III hereof, as appropriate.

          Notwithstanding anything in the Plan or the Confirmation Order to the contrary, the Debtors or the
Reorganized Debtors shall continue paying all undisputed amounts owing on account of Royalty and Working
Interests, including with respect to suspense funds as and when reconciled, in the ordinary course of business and in
accordance with all applicable agreements and laws.

          Nothing in the Plan or the Confirmation Order shall affect the Debtors’ or the Reorganized Debtors’
obligations to comply with all federal, state and local laws, rules and regulations with respect to Royalty and Working
Interests and holders thereof, including, without limitation, laws, rules and regulations regarding inspection of books
and records and segregation or escrow of funds or production proceeds belonging and/or payable to holders of Royalty
and Working Interests.

U.       Resolution of Pending Litigation.

         The Debtors may remove to the Bankruptcy Court by the Removal Deadline any litigation pending as of the
Petition Date that alleges claims or causes of action that, if successful, would not result in a Claim. Notwithstanding
the foregoing, (i) pending litigation alleging personal injury claims or causes of action, (ii) pending litigation for which
the automatic stay has been lifted pursuant to section 362 of the Bankruptcy Code, and (iii) any litigation not removed
                                                            36
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1231 of 1639
                                                                            1231


by the Removal Deadline shall proceed to final judgment in the jurisdiction in which such litigation was pending as
of the Petition Date; provided that any Claim resulting from a final judgment in any such litigation shall be treated in
accordance with the Plan.

V.       Payment of Certain Fees.

          Without any further notice to or action, order, or approval of the Bankruptcy Court, the Debtors or the
Reorganized Debtors, as applicable, shall pay on the Effective Date the Restructuring Expenses, subject to the
conditions set forth in this Article IV.U of the Plan. The Restructuring Expenses incurred, or estimated to be incurred,
up to and including the Effective Date, shall be paid in full in Cash on the Effective Date or as reasonably practicable
thereafter (to the extent not previously paid during the course of the Chapter 11 Cases) in accordance with, and subject
to, the terms of the Restructuring Support Agreement, without any requirement to file a fee application with the
Bankruptcy Court, without the need for itemized time detail, or without any requirement for Bankruptcy Court review
or approval. All Restructuring Expenses to be paid on the Effective Date shall be estimated prior to and as of the
Effective Date and such estimates shall be delivered to the Debtors at least five (5) Business Days before the
anticipated Effective Date or such later time as required by the Debtors; provided that such estimates shall not be
considered an admission or limitation with respect to such Restructuring Expenses. On or as soon as practicable after
the Effective Date, final invoices for all Restructuring Expenses incurred prior to and as of the Effective Date shall be
submitted to the Debtors. In addition, the Debtors and the Reorganized Debtors (as applicable) shall continue to pay
pre- and post-Effective Date Restructuring Expenses related to implementation, consummation, and defense of the
Plan, whether incurred before, on, or after the Effective Date. For the avoidance of doubt, nothing in this paragraph
shall be deemed to impair, waive, discharge, or negatively impact or affect any rights of the FLLO Term Loan Facility
Administrative Agent, the Collateral Trustee, and the Second Lien Notes Trustee to payment of fees, expenses, and
indemnification obligations solely as against any money or property distributable to holders of Claims under the FLLO
Term Loan Facility Credit Agreement, the Collateral Trust Documents, or the Second Lien Notes Indenture, as
applicable, including any rights to priority of payment and/or to exercise charging liens. Notwithstanding anything in
the Plan, including Article IV.I hereof, reimbursement of the Second Lien Notes Trustee’s financial advisor’s fees and
expenses shall be limited to $250,000 in the aggregate, and no Person shall be entitled to increase or seek to increase
this $250,000 limit or use a charging lien or seek payment for such financial advisor’s or any financial advisor to the
Second Lien Notes Trustee’s fees and expenses from any other source.

         Without limiting the obligations of the Debtors or Reorganized Debtors to pay the DIP Agent Fees and
Expenses and any fees, costs and expenses of the Exit Facilities Agent pursuant to the Exit Facilities Documents, the
Reorganized Debtors shall pay all post-Effective Date expenses incurred by the DIP Agent and/or the Exit Facilities
Agent related to implementation, consummation, and defense of the Plan, whether incurred on or after the
Effective Date.

                                     ARTICLE V.
                TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

A.       Assumption and Rejection of Executory Contracts and Unexpired Leases.

          On the Effective Date, except as otherwise provided herein, all Executory Contracts or Unexpired Leases not
otherwise assumed or rejected will be deemed assumed by the applicable Reorganized Debtor in accordance with the
provisions and requirements of sections 365 and 1123 of the Bankruptcy Code, other than those that are: (1) identified
on the Rejected Executory Contracts and Unexpired Leases Schedule; (2) previously expired or terminated pursuant
to their own terms; (3) have been previously assumed or rejected by the Debtors pursuant to a Final Order; (4) are the
subject of a motion to reject that is pending on the Effective Date; or (5) have an ordered or requested effective date
of rejection that is after the Effective Date.

          Entry of the Confirmation Order shall constitute an order of the Bankruptcy Court approving the assumptions,
assumptions and assignments, or rejections of the Executory Contracts or Unexpired Leases as set forth in the Plan,
the Assumed Executory Contract and Unexpired Leases Schedule, or the Rejected Executory Contracts and Unexpired
Leases Schedule, pursuant to sections 365(a) and 1123 of the Bankruptcy Code. Except as otherwise specifically set
forth herein, assumptions or rejections of Executory Contracts and Unexpired Leases pursuant to the Plan are effective
as of the Effective Date. Each Executory Contract or Unexpired Lease assumed pursuant to the Plan or by Bankruptcy
                                                           37
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1232 of 1639
                                                                            1232


Court order but not assigned to a third party before the Effective Date shall re-vest in and be fully enforceable by the
applicable contracting Reorganized Debtor in accordance with its terms, except as such terms may have been modified
by the provisions of the Plan or any order of the Bankruptcy Court authorizing and providing for its assumption. Any
motions to assume Executory Contracts or Unexpired Leases pending on the Effective Date shall be subject to approval
by a Final Order on or after the Effective Date but may be withdrawn, settled, or otherwise prosecuted by the
Reorganized Debtors.

          To the maximum extent permitted by law, to the extent any provision in any Executory Contract or Unexpired
Lease assumed or assumed and assigned pursuant to the Plan restricts or prevents, or purports to restrict or prevent,
or is breached or deemed breached by, the assumption or assumption and assignment of such Executory Contract or
Unexpired Lease (including any “change of control” provision), then such provision shall be deemed modified such
that the transactions contemplated by the Plan shall not entitle the non-Debtor party thereto to terminate such
Executory Contract or Unexpired Lease or to exercise any other default-related rights with respect thereto.
Notwithstanding anything to the contrary in the Plan, the Debtors or the Reorganized Debtors, as applicable, reserve
the right, with the consent of the Required Consenting Stakeholders, to alter, amend, modify, or supplement the
Assumed Executory Contracts and Unexpired Leases Schedule and the Rejected Executory Contracts and Unexpired
Leases Schedule at any time up to forty-five (45) days after the Effective Date, so long as such allocation, amendment,
modification, or supplement is consistent with the Restructuring Support Agreement.

B.       Claims Based on Rejection of Executory Contracts or Unexpired Leases.

          Unless otherwise provided by a Final Order of the Bankruptcy Court, all Proofs of Claim with respect to
Claims arising from the rejection of Executory Contracts or Unexpired Leases, pursuant to the Plan or the
Confirmation Order, if any, must be Filed with the Bankruptcy Court within thirty (30) days after the later of (1) the
date of entry of an order of the Bankruptcy Court (including the Confirmation Order) approving such rejection, (2) the
effective date of such rejection, or (3) the Effective Date. Any Claims arising from the rejection of an Executory
Contract or Unexpired Lease not Filed with the Bankruptcy Court within such time will be automatically
disallowed, forever barred from assertion, and shall not be enforceable against the Debtors or the Reorganized
Debtors, the Estates, or their property without the need for any objection by the Reorganized Debtors or
further notice to, or action, order, or approval of the Bankruptcy Court or any other Entity, and any Claim
arising out of the rejection of the Executory Contract or Unexpired Lease shall be deemed fully satisfied,
released, and discharged, notwithstanding anything in the Proof of Claim to the contrary. All Allowed Claims
arising from the rejection of the Debtors’ Executory Contracts or Unexpired Leases shall be classified as General
Unsecured Claims and shall be treated in accordance with Article III.B.7 of this Plan.

C.       Cure of Defaults for Assumed Executory Contracts and Unexpired Leases.

         Any monetary defaults under each Assumed Executory Contract or Unexpired Lease shall be satisfied,
pursuant to section 365(b)(1) of the Bankruptcy Code, by payment of the default amount in Cash on the Effective
Date, or as soon as reasonably practicable thereafter, subject to the limitation described below, or on such other terms
as the parties to such Executory Contracts or Unexpired Leases may otherwise agree. In the event of a dispute
regarding (1) the amount of any payments to cure such a default, (2) the ability of the Reorganized Debtors or any
assignee to provide “adequate assurance of future performance” (within the meaning of section 365 of the Bankruptcy
Code) under the Executory Contract or Unexpired Lease to be assumed, or (3) any other matter pertaining to
assumption, the cure payments required by section 365(b)(1) of the Bankruptcy Code shall be made following the
entry of a Final Order resolving the dispute and approving the assumption.

         Any objection by a contract or lease counterparty to a proposed assumption of an Executory Contract or
Unexpired Lease or the related cure cost (including as set forth on the Assumed Executory Contracts and Unexpired
Leases Schedule) must be Filed, served, and actually received by the Debtors in accordance with the Disclosure
Statement Order or other applicable Final Order of the Bankruptcy Court. Any counterparty to an Executory Contract
or Unexpired Lease that fails to object timely to the proposed assumption or cure amount will be deemed to have
consented to such assumption or proposed cure amount. For the avoidance of doubt, to the extent an Executory
Contract or Unexpired Lease proposed to be assumed is not listed as having a related cure cost, any counterparty to
such Executory Contract or Unexpired Lease that fails to object timely to the proposed assumption will be deemed to


                                                          38
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1233 of 1639
                                                                            1233


have consented to such assumption and deemed to release any Claim or Cause of Action for any monetary defaults
under such Executory Contract or Unexpired Lease.

         For the avoidance of doubt, the Debtors or the Reorganized Debtors, as applicable, with the consent of the
Required Consenting Stakeholders, may add any Executory Contract or Unexpired Lease proposed to be assumed to
the Rejected Executory Contracts and Unexpired Leases Schedule in accordance with the time limits provided by the
Plan for any reason, including if the Bankruptcy Court determines that the Allowed Cure Claim with respect to any
Executory Contract or Unexpired Lease is greater than the amount set forth in the applicable cure notice or the Plan,
in which case such Executory Contract or Unexpired Lease is deemed rejected as the Effective Date.

         Assumption of any Executory Contract or Unexpired Lease shall result in the full release and satisfaction of
any Claims or defaults, whether monetary or nonmonetary, including defaults of provisions restricting the change in
control or ownership interest composition or other bankruptcy-related defaults, arising under any Assumed Executory
Contract or Unexpired Lease at any time before the effective date of assumption. Any Proofs of Claim Filed with
respect to an Assumed Executory Contract or Unexpired Lease shall be deemed disallowed, without further notice to
or action, order, or approval of the Bankruptcy Court.

D.       Preexisting Obligations to the Debtors Under Executory Contracts and Unexpired Leases.

         Rejection of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise shall not constitute
a termination of preexisting obligations owed to the Debtors or the Reorganized Debtors, as applicable, under such
Executory Contracts or Unexpired Leases. In particular, notwithstanding any non-bankruptcy law to the contrary, the
Reorganized Debtors expressly reserve and do not waive any right to receive, or any continuing obligation of a
counterparty to provide, warranties or continued maintenance obligations with respect to goods previously purchased
by the Debtors pursuant to rejected Executory Contracts or Unexpired Leases.

E.       Insurance Policies.

         Notwithstanding anything to the contrary in the Disclosure Statement, the Plan, any Plan Supplement, the
Confirmation Order, the Restructuring Support Agreement, the Restructuring Term Sheet, any Bar Date notice or
Claim objection, any other document related to any of the foregoing or any other order of the Bankruptcy Court
(including, without limitation, any other provision that purports to be preemptory or supervening, grants an injunction,
discharge or release, or confers Bankruptcy Court jurisdiction or requires a party to opt out of any releases):

          (1) on the Effective Date the Reorganized Debtors shall be deemed to have assumed all unexpired Insurance
Policies in their entirety pursuant to sections 105 and 365 of the Bankruptcy Code; (2) all unexpired Insurance Policies
shall re-vest in the Reorganized Debtors, unaltered, other than that on and after the Effective Date, the Reorganized
Debtors shall be liable for all debts, obligations, and liabilities of the Debtors (and, after the Effective Date, of the
Reorganized Debtors) under the Insurance Policies, regardless of when such debts, obligations, and liabilities arise,
without the need or requirement for any Insurer to file a Proof of Claim, an Administrative Claim, a Cure Claim or to
object to any cure amount, and thereafter the Reorganized Debtors may, subject to the terms of the Insurance Policies
and applicable non-bankruptcy law, resolve any Claims covered by the Insurance Policies, resolve any Causes of
Action, if any, in connection with the Insurance Policies, and collect any and all outstanding deposits, restricted cash,
and letters of credit, if any, related thereto; (3) nothing shall alter, modify, amend, affect, impair or prejudice the legal,
equitable or contractual rights, obligations, and defenses of the Insurers, the Debtors (or, after the Effective Date, the
Reorganized Debtors), or any other individual or entity, as applicable, under any Insurance Policies; and (4) the
automatic stay of Bankruptcy Code section 362(a) and the injunctions set forth in Article VIII of the Plan, if and to
the extent applicable, shall be deemed lifted without further order of this Bankruptcy Court, solely to permit: (I)
claimants with valid workers’ compensation claims or direct action claims against an Insurer under applicable non-
bankruptcy law to proceed with their claims; (II) the Insurers to administer, handle, defend, settle, and/or pay, in the
ordinary course of business and without further order of this Bankruptcy Court, (A) workers’ compensation claims,
(B) claims where a claimant asserts a direct claim against any Insurer under applicable non-bankruptcy law, or an
order has been entered by this Bankruptcy Court granting a claimant relief from the automatic stay to proceed with its
claim, and (C) all costs in relation to each of the foregoing; and (III) the Insurers to cancel any Insurance Policies, and
take other actions relating thereto, to the extent permissible under applicable non-bankruptcy law, and in accordance
with the terms of the Insurance Policies.
                                                             39
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1234 of 1639
                                                                            1234


F.       Reservation of Rights.

          Nothing contained in the Plan or the Plan Supplement shall constitute an admission by the Debtors or any
other party that any contract or lease is in fact an Executory Contract or Unexpired Lease or that any Reorganized
Debtor has any liability thereunder. If there is a dispute regarding whether a contract or lease is or was executory or
unexpired at the time of assumption or rejection, the Debtors or the Reorganized Debtors, as applicable, shall have
forty-five (45) days following entry of a Final Order resolving such dispute to alter their treatment of such contract
or lease.

G.       Nonoccurrence of Effective Date.

         In the event that the Effective Date does not occur, the Bankruptcy Court shall retain jurisdiction with respect
to any request to extend the deadline for assuming or rejecting Unexpired Leases pursuant to section 365(d)(4) of the
Bankruptcy Code.

H.       Contracts and Leases Entered Into After the Petition Date.

        Contracts and leases entered into after the Petition Date by any Debtor, including any Executory Contracts
and Unexpired Leases assumed by such Debtor, will be performed by the applicable Debtor or the Reorganized
Debtors in the ordinary course of their business. Accordingly, such contracts and leases (including any assumed
Executory Contracts and Unexpired Leases) will survive and remain unaffected by entry of the Confirmation Order.

                                              ARTICLE VI.
                                  PROVISIONS GOVERNING DISTRIBUTIONS

A.       Timing and Calculation of Amounts to Be Distributed.

          Unless otherwise provided in the Plan, on the Effective Date (or if a Claim or Interest is not an Allowed
Claim or Allowed Interest on the Effective Date, on the date that such Claim or Interest becomes an Allowed Claim
or Allowed Interest, or as soon as reasonably practicable thereafter), each holder of an Allowed Claim or Allowed
Interest shall receive the full amount of the distributions that the Plan provides for Allowed Claims and Allowed
Interests in the applicable Class.

          With respect to holders of Allowed Unsecured Notes Claims and Allowed General Unsecured Claims other
than Convenience Claims, each such holder shall receive from the Unsecured Claims Recovery (1) an initial
distribution on account of such holder’s Allowed Unsecured Notes Claim or General Unsecured Claim on the Effective
Date or as soon as reasonably practicable thereafter (or if a Claim is not an Allowed Claim on the Effective Date, on
the date that such Claim becomes an Allowed Claim, or as soon as reasonably practicable thereafter); and (2) upon
completion of the Claims reconciliation process, its Pro Rata share of the remaining Unsecured Claims Recovery.

         With respect to holders of Convenience Claims, each such holder shall receive from the Convenience Claim
Distribution Reserve (1) an initial distribution on account of such holder’s Convenience Claim on the Effective Date
or as soon as reasonably practicable thereafter (or if a Claim is not an Allowed Claim on the Effective Date, on the
date that such Claim becomes an Allowed Claim, or as soon as reasonably practicable thereafter); and (2) upon
completion of the Claims reconciliation process, its Pro Rata share of the remaining Convenience Claim Distribution
Reserve; provided that no Convenience Claim shall recover in excess of 5 percent of such Convenience Claim;
provided, further, that any funds remaining in the Convenience Claim Distribution Reserve after all Convenience
Claim Distributions have been made shall be distributed to and vest in the Reorganized Debtors.

        In the event that any payment or act under the Plan is required to be made or performed on a date that is not
a Business Day, then the making of such payment or the performance of such act may be completed on the next
succeeding Business Day, but shall be deemed to have been completed as of the required date.

        If and to the extent that there are Disputed Claims or Disputed Interests, distributions on account of any such
Disputed Claims or Disputed Interests shall be made pursuant to the provisions set forth in Article VII of the Plan.

                                                           40
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1235 of 1639
                                                                            1235


B.       Delivery of Distributions and Undeliverable or Unclaimed Distributions.

         1.   Record Date for Distribution.

          On the Distribution Record Date, the Claims Register shall be closed and any party responsible for making
distributions shall instead be authorized and entitled to recognize only those record holders listed on the Claims
Register as of the close of business on the Distribution Record Date. If a Claim, other than one based on a publicly
traded Security or FLLO Term Loan Facility Claim, is transferred twenty (20) or fewer days before the Distribution
Record Date, distributions shall be made to the transferee only to the extent practical and, in any event, only if the
relevant transfer form contains an unconditional and explicit certification and waiver of any objection to the transfer
by the transferor.

         2.   Delivery of Distributions in General.

          Except as otherwise provided herein, the Reorganized Debtors shall make distributions to holders of Allowed
Claims and Allowed Interests (as applicable) as of the Distribution Record Date at the address for each such holder as
indicated on the Debtors’ records as of the date of any such distribution; provided that the manner of such distributions
shall be determined at the discretion of the Reorganized Debtors and, with respect to distributions on account of FLLO
Term Loan Facility Claims, the Required Plan Sponsors.

         3.   No Fractional Distributions.

          No fractional shares of New Common Stock shall be distributed and no Cash shall be distributed in lieu of
such fractional amounts. When any distribution pursuant to the Plan on account of an Allowed Claim or Allowed
Interest (as applicable) would otherwise result in the issuance of a number of shares of New Common Stock that is
not a whole number, the actual distribution of shares of New Common Stock shall be rounded to the next lower whole
number with no further payment therefor; provided, however, that fractional shares rounding determination with
respect to the Rights Offering shall be subject to the Rights Offering Procedures. The total number of authorized
shares of New Common Stock to be distributed to holders of Allowed Claims hereunder shall be adjusted as necessary
to account for the foregoing rounding.

         4.   Minimum Distributions.

          Notwithstanding any other provision of the Plan, holders of Allowed Claims entitled to distributions of $5 or
less shall not receive distributions, and each Claim to which this limitation applies shall be discharged pursuant to
Article VIII of this Plan, and its holder shall be forever barred from asserting that Claim against the Reorganized
Debtors or their property.

         5.   Undeliverable Distributions and Unclaimed Property.

          In the event that any distribution to any holder of Allowed Claims or Allowed Interests (as applicable) is
returned as undeliverable, no distribution to such holder shall be made unless and until the Reorganized Debtors have
determined the then-current address of such holder, at which time such distribution shall be made to such holder
without interest; provided that such distributions shall be deemed unclaimed property under section 347(b) of the
Bankruptcy Code at the expiration of one year from the Effective Date. After such date, all unclaimed property or
interests in property shall revert to the Reorganized Debtors automatically and without need for a further order by the
Bankruptcy Court (notwithstanding any applicable federal, provincial or state escheat, abandoned, or unclaimed
property laws to the contrary), and the Claim of any holder of Claims and Interests to such property or Interest in
property shall be discharged and forever barred.

         6.   Surrender of Canceled Instruments or Securities.

        On the Effective Date or as soon as reasonably practicable thereafter, each holder of a certificate or instrument
evidencing a Claim or an Interest that has been cancelled in accordance with Article IV.I hereof shall be deemed to
have surrendered such certificate or instrument to the Debtors. Such surrendered certificate or instrument shall be

                                                           41
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1236 of 1639
                                                                            1236


cancelled solely with respect to the Debtors, and such cancellation shall not alter the obligations or rights of any non-
Debtor third parties vis-à-vis one another with respect to such certificate or instrument, including with respect to any
indenture or agreement that governs the rights of the holder of a Claim or Interest, which shall continue in effect for
purposes of allowing holders to receive distributions under the Plan, charging liens, priority of payment, and
indemnification rights.

         7.   Delivery of Distributions on Second Lien Notes Claims and Unsecured Notes Claims.

          The Debtors shall make all distributions required under the Plan. Notwithstanding any provision of the Plan
to the contrary, distributions to holders of Second Lien Notes Claims and Unsecured Notes Claims shall be made to
or at the direction of each of the Trustees for distribution under the applicable indentures and bond agreements. The
Trustees may transfer or direct the transfer of such distributions directly through the facilities of the applicable
securities depository and clearing house and will be entitled to recognize and deal with, for all purposes under the
Plan, holders of Second Lien Notes Claims and Unsecured Notes Claims, as applicable, as is consistent with the
ordinary practices of the applicable depositories. Such distributions shall be subject to the right of each of the Trustees
under the applicable indenture or bond agreements, including their rights to assert and exercise charging liens against
such distributions.

C.       Manner of Payment.

        Except as otherwise set forth herein, all distributions of Cash, the New Common Stock, the New Warrants,
and the Rights, as applicable, to Holders of Allowed Claims under the Plan shall be made by the Debtors or the
Reorganized Debtors, as applicable. At the option of the Reorganized Debtors (in consultation with and subject to the
reasonable consent of the Required Consenting Stakeholders), any Cash payment to be made under the Plan, if any,
may be made by check or wire transfer or as otherwise required or provided in the applicable agreements.

D.       Exemption from Securities Laws.

         All 1145 Securities will be issued in reliance upon section 1145 of the Bankruptcy Code to the extent
permitted under applicable law. All 4(a)(2) Securities will be issued in reliance upon section 4(a)(2) of the Securities
Act or Regulation D promulgated thereunder, will be considered “restricted securities” and may not be transferred
except pursuant to an effective registration statement under the Securities Act or an available exemption therefrom.

          Pursuant to section 1145 of the Bankruptcy Code, the issuances of the 1145 Securities are exempt from,
among other things, the registration requirements of Section 5 of the Securities Act and any other applicable U.S. state
or local law requiring registration before the offering, issuance, distribution, or sale of such securities, subject to the
provisions of section 1145(b)(1) of the Bankruptcy Code relating to the definition of an underwriter in section 2(a)(11)
of the Securities Act. Each of the 1145 Securities (1) is not a “restricted security” as defined in Rule 144(a)(3) under
the Securities Act; and (2) is freely tradable and transferable by any initial recipient thereof that at the time of transfer
or as a result thereof, is not an “affiliate” of the Reorganized Debtors as defined in Rule 144(a)(1) under the
Securities Act.

           The 4(a)(2) Securities will be issued without registration under the Securities Act in reliance upon
Section 4(a)(2) of the Securities Act or Regulation D promulgated thereunder. To the extent issued in reliance on
Section 4(a)(2) of the Securities Act or Regulation D thereunder, the 4(a)(2) Securities will be “restricted securities”
subject to resale restrictions and may be resold, exchanged, assigned or otherwise transferred only pursuant to
registration, or an applicable exemption from registration under the Securities Act and other applicable law.

         Should the Reorganized Debtors elect on or after the Effective Date to reflect any ownership of the New
Common Stock (including any shares issuable as part of the Put Option Premium or issuable upon exercise of the
Rights other than the unsubscribed shares of New Common Stock issued to the Backstop Parties pursuant to the
Backstop Commitment Agreement) or the New Warrants (and any Shares of the New Common Stock issuable upon
the exercise of the New Warrants) through the facilities of DTC, the Reorganized Debtors need not provide any further
evidence other than the Plan or the Confirmation Order with respect to such treatment under applicable securities laws.



                                                             42
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1237 of 1639
                                                                            1237


         DTC shall be required to accept and conclusively rely upon the Plan and Confirmation Order in lieu of a
legal opinion regarding whether any of the New Common Stock issuable upon exercise of the Rights, as applicable,
are exempt from registration and/or eligible for DTC book-entry delivery, settlement, and depository services.

        Notwithstanding anything to the contrary in the Plan, no entity (including, for the avoidance of doubt, DTC)
may require a legal opinion regarding the validity of any transaction contemplated by the Plan, including, for the
avoidance of doubt, whether the New Common Stock issuable upon exercise of the Rights, as applicable, are exempt
from registration and/or eligible for DTC book-entry delivery, settlement, and depository services.

          Each Backstop Party that receives Plan Securities will be entitled to registration rights and sale support rights
with respect to all such Securities to be documented in the Registration Rights Agreement in form and substance
satisfactory to the Required Plan Sponsors.

E.       Compliance with Tax Requirements.

          In connection with the Plan, to the extent applicable, the Debtors, the Reorganized Debtors, and any
applicable withholding agent shall comply with all tax withholding and reporting requirements imposed on them by
any Governmental Unit, and all distributions made pursuant to the Plan shall be subject to such withholding and
reporting requirements. Notwithstanding any provision in the Plan to the contrary, such parties shall be authorized to
take all actions necessary or appropriate to comply with such withholding and reporting requirements, including
liquidating a portion of the distribution to be made under the Plan to generate sufficient funds to pay applicable
withholding taxes, withholding distributions pending receipt of information necessary to facilitate such distributions,
or establishing any other mechanisms they believe are reasonable and appropriate. The Debtors and Reorganized
Debtors reserve the right to allocate all distributions made under the Plan in compliance with all applicable wage
garnishments, alimony, child support, and similar spousal awards, Liens, and encumbrances.

F.       Allocations.

         Distributions in respect of Allowed Claims shall be allocated first to the principal amount of such Claims
(as determined for federal income tax purposes) and then, to the extent the consideration exceeds the principal amount
of the Claims, to the remainder of the Claims, including any Claims for accrued but unpaid interest.

G.       No Postpetition or Default Interest on Claims.

         Notwithstanding any provision in the Plan, the Confirmation Order, or any documents that govern the
Debtors’ prepetition funded indebtedness or other Claims to the contrary, except as provided in the DIP Order, DIP
Credit Agreement, and Articles II.B, III.B.3 and III.B.4 hereof, (a) postpetition and/or default interest shall not accrue
or be paid on any Claims; and (b) no Holder of a Claim shall be entitled to (i) interest accruing on or after the Petition
Date on any such Claim or (ii) interest at the contract default rate, as applicable.

H.       Foreign Currency Exchange Rate.

         Except as otherwise provided in a Bankruptcy Court order, as of the Effective Date, any Claim asserted in
currency other than U.S. dollars shall be automatically deemed converted to the equivalent U.S. dollar value using the
exchange rate for the applicable currency as published in The Wall Street Journal, National Edition, on the
Effective Date.

I.       Setoffs and Recoupment.

         Except as expressly provided in this Plan and the DIP Order, each Reorganized Debtor may, pursuant to
section 553 of the Bankruptcy Code, set off and/or recoup against any Plan distributions to be made on account of any
Allowed Claim, any and all claims, rights, and Causes of Action that such Reorganized Debtor may hold against the
holder of such Allowed Claim to the extent such setoff or recoupment is either (1) agreed in amount among the relevant
Reorganized Debtor(s) and the holder of the Allowed Claim or (2) otherwise adjudicated by the Bankruptcy Court or
another court of competent jurisdiction; provided that neither the failure to effectuate a setoff or recoupment nor the

                                                            43
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1238 of 1639
                                                                            1238


allowance of any Claim hereunder shall constitute a waiver or release by a Reorganized Debtor or its successor of any
and all claims, rights, and Causes of Action that such Reorganized Debtor or its successor may possess against the
applicable holder. In no event shall any holder of a Claim be entitled to recoup such Claim against any claim, right,
or Cause of Action of the Debtors or the Reorganized Debtors, as applicable, unless such holder actually has performed
such recoupment and provided notice thereof in writing to the Debtors in accordance with Article XII.G hereof on or
before the Effective Date, notwithstanding any indication in any Proof of Claim or otherwise that such holder asserts,
has, or intends to preserve any right of recoupment. Notwithstanding anything to the contrary herein, the Allowed
DIP Claims, the Allowed Revolving Credit Facility Claims, the Allowed FLLO Term Loan Facility Claims, the
Allowed Second Lien Notes Claims, or the Allowed Unsecured Notes Claims and the Plan distributions to be made
on account of such Claims shall not be subject to set off and/or recoupment by the Debtors or the Reorganized Debtors
pursuant to section 553 of the Bankruptcy Code or applicable non-bankruptcy law, and the Debtors and the
Reorganized Debtors hereby waive any and all rights of set off or recoupment against such Claims.

J.       No Double Payment of Claims.

         To the extent that a Claim is Allowed against more than one Debtor’s Estate, there shall be only a single
recovery on account of that Allowed Claim, but the holder of an Allowed Claim other than an Allowed Unsecured
Notes Claim or Allowed General Unsecured Claim against more than one Debtor may recover distributions from all
co-obligor Debtors’ Estates until the holder has received payment in full on the Allowed Claims. No Holder of an
Allowed Claim shall be entitled to receive more than payment in full of its Allowed Claim, and each Claim shall be
administered and treated in the manner provided by the Plan only until payment in full on that Allowed Claim.

K.       Claims Paid or Payable by Third Parties.

         1.   Claims Paid by Third Parties.

          The Debtors or the Reorganized Debtors, as applicable, shall reduce in full a Claim, and such Claim shall be
disallowed without a Claims objection having to be Filed and without any further notice to or action, order, or approval
of the Bankruptcy Court, to the extent that the holder of such Claim receives payment in full on account of such Claim
from a party that is not a Debtor or a Reorganized Debtor. Subject to the last sentence of this paragraph, to the extent
a holder of a Claim receives a distribution on account of such Claim and receives payment from a party that is not a
Debtor or a Reorganized Debtor on account of such Claim, such holder shall, within fourteen (14) days of receipt
thereof, repay or return the distribution to the applicable Reorganized Debtor, to the extent the holder’s total recovery
on account of such Claim from the third party and under the Plan exceeds the amount of such Claim as of the date of
any such distribution under the Plan. The failure of such holder to timely repay or return such distribution shall result
in the holder owing the applicable Reorganized Debtor annualized interest at the Federal Judgment Rate on such
amount owed for each Business Day after the fourteen (14) day grace period specified above until the amount is repaid.

         2.   Claims Payable by Third Parties.

         No distributions under the Plan shall be made on account of an Allowed Claim that is payable pursuant to
one of the Debtors’ Insurance Policies until the holder of such Allowed Claim has exhausted all remedies with respect
to such Insurance Policy. To the extent that one or more of the Debtors’ Insurers agrees to satisfy in full or in part a
Claim (if and to the extent adjudicated by a court of competent jurisdiction or otherwise settled), then immediately
upon such Insurers’ satisfaction of such Claim, the applicable portion of such Claim may be expunged without a
Claims objection having to be Filed and without any further notice to or action, order, or approval of the
Bankruptcy Court.

         3.   Applicability of Insurance Policies.

         Except as otherwise provided in the Plan, payments to holders of Claims shall be in accordance with the
provisions of any applicable Insurance Policy. Nothing contained in the Plan shall constitute or be deemed a waiver
of any Cause of Action that the Debtors or any Entity may hold against any other Entity, including Insurers under any
Insurance Policies nor shall anything contained herein constitute or be deemed a waiver by such Insurers of any rights
or defenses, including coverage defenses, held by such Insurers.

                                                           44
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1239 of 1639
                                                                            1239


                                           ARTICLE VII.
                               PROCEDURES FOR RESOLVING CONTINGENT,
                                 UNLIQUIDATED, AND DISPUTED CLAIMS

A.       Allowance of Claims.

          After the Effective Date, except as otherwise expressly set forth herein, each of the Reorganized Debtors
shall have and retain any and all rights and defenses such Debtor had with respect to any Claim or Interest immediately
prior to the Effective Date. The Debtors may affirmatively determine to deem Unimpaired Claims Allowed to the
same extent such Claims would be allowed under applicable non-bankruptcy law.

B.       Claims Administration Responsibilities.

          Except as otherwise specifically provided in the Plan, after the Effective Date, the Reorganized Debtors shall
have the sole authority: (1) to File, withdraw, or litigate to judgment, objections to Claims or Interests; (2) to settle or
compromise any Disputed Claim without any further notice to or action, order, or approval by the Bankruptcy Court;
and (3) to administer and adjust the Claims Register to reflect any such settlements or compromises without any further
notice to or action, order, or approval by the Bankruptcy Court. For the avoidance of doubt, except as otherwise
provided herein, from and after the Effective Date, each Reorganized Debtor shall have and retain any and all rights
and defenses such Debtor had immediately prior to the Effective Date with respect to any Disputed Claim or Interest,
including the Causes of Action retained pursuant to Article IV.S of the Plan.

C.       Estimation of Claims.

          Before, on, or after the Effective Date, the Debtors or the Reorganized Debtors, as applicable, may (but are
not required to) at any time request that the Bankruptcy Court estimate any Claim pursuant to applicable law,
including, without limitation, pursuant to section 502(c) of the Bankruptcy Code for any reason, regardless of whether
any party previously has objected to such Claim or whether the Bankruptcy Court has ruled on any such objection,
and the Bankruptcy Court shall retain jurisdiction under 28 U.S.C. §§ 157 and 1334 to estimate any such Claim,
including during the litigation of any objection to any Claim or during the pendency of any appeal relating to such
objection. Notwithstanding any provision to the contrary in the Plan, a Claim that has been expunged from the Claims
Register, but that either is subject to appeal or has not been the subject of a Final Order, shall be deemed to be estimated
at zero dollars, unless otherwise ordered by the Bankruptcy Court. In the event that the Bankruptcy Court estimates
any Claim, such estimated amount shall constitute a maximum limitation on such Claim for all purposes under the
Plan (including for purposes of distributions and discharge) and may be used as evidence in any supplemental
proceedings, and the Debtors or Reorganized Debtors may elect to pursue any supplemental proceedings to object to
any ultimate distribution on such Claim. Notwithstanding section 502(j) of the Bankruptcy Code, in no event shall
any holder of a Claim that has been estimated pursuant to section 502(c) of the Bankruptcy Code or otherwise be
entitled to seek reconsideration of such estimation unless such holder has Filed a motion requesting the right to seek
such reconsideration on or before seven (7) days after the date on which such Claim is estimated. Each of the foregoing
Claims and objection, estimation, and resolution procedures are cumulative and not exclusive of one another. Claims
may be estimated and subsequently compromised, settled, withdrawn, or resolved by any mechanism approved by the
Bankruptcy Court.

D.       Adjustment to Claims or Interests without Objection.

         Any duplicate Claim or Interest or any Claim or Interest that has been paid, satisfied, amended, or superseded
may be adjusted or expunged on the Claims Register by the Reorganized Debtors without the Reorganized Debtors
having to File an application, motion, complaint, objection, or any other legal proceeding seeking to object to such
Claim or Interest and without any further notice to or action, order, or approval of the Bankruptcy Court.




                                                            45
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1240 of 1639
                                                                            1240


E.       Time to File Objections to Claims.

         Any objections to Claims shall be Filed on or before the later of (a) one-hundred-eighty (180) days after the
Effective Date and (b) such other period of limitation as may be specifically fixed by the Debtors or the Reorganized
Debtors, as applicable, or by a Final Order of the Bankruptcy Court for objecting to such claims.

F.       Reservation of Rights to Object to Claims.

          The failure of the Debtors or the Reorganized Debtors, as applicable, to object to any Claim shall not be
construed as an admission to the validity or amount of any such Claim, any portion thereof, or any other claim related
thereto, whether or not such claim is asserted in any currently pending or subsequently initiated proceeding, and shall
be without prejudice to the right of the Debtors or the Reorganized Debtors, as applicable, to contest, challenge the
validity of, or otherwise defend against any such claim in the Bankruptcy Court or non-bankruptcy forum.

G.       Disputed and Contingent Claims Reserve.

          On or after the Effective Date, the Debtors or the Reorganized Debtors, as applicable, shall establish one or
more reserves (including the Convenience Claim Distribution Reserve) for Claims that are contingent or have not yet
been Allowed, in an amount or amounts as reasonably determined by the Debtors or Reorganized Debtors, as
applicable, consistent with the Proof of Claim Filed by the applicable holder of such Disputed Claim. To the extent
that a Disputed Claim may be entitled to receive New Common Stock pursuant to the Plan, such New Common Stock
will remain authorized but unissued pending resolution of such Disputed Claim.

        Any assets held in any such reserve shall be subject to the tax rules that apply to “disputed ownership funds”
under 26 C.F.R. 1.468B–9. As such, such assets will be subject to entity-level taxation, and the Debtors and
Reorganized Debtors, as applicable, shall be required to comply with the relevant rules.

H.       Disallowance of Claims or Interests.

         Any Claims held by Entities from which property is recoverable under sections 542, 543, 550, or 553 of the
Bankruptcy Code or that is a transferee of a transfer avoidable under sections 522(f), 522(h), 544, 545, 547, 548, 549,
or 724(a) of the Bankruptcy Code, shall be deemed disallowed pursuant to section 502(d) of the Bankruptcy Code,
and holders of such Claims may not receive any distributions on account of such Claims until such time as such Causes
of Action against that Entity have been settled or a Bankruptcy Court order with respect thereto has been entered and
all sums due, if any, to the Debtors by that Entity have been turned over or paid to the Debtors or the
Reorganized Debtors.

         Except as otherwise provided herein or as agreed to by the Reorganized Debtors, any and all Proofs of
Claim Filed after the Claims Bar Date shall be deemed disallowed and expunged as of the Effective Date without
any further notice to or action, order, or approval of the Bankruptcy Court, and holders of such Claims may
not receive any distributions on account of such Claims, unless such late Proof of Claim has been deemed timely
Filed by a Final Order or otherwise allowed by order of the Bankruptcy Court.

I.       No Distributions Pending Allowance.

          Notwithstanding any other provision of the Plan, if any portion of a Claim or Interest is a Disputed Claim or
Interest, as applicable, no payment or distribution provided hereunder shall be made on account of the Disputed portion
of such Claim or Interest unless and until such Disputed portion of the Claim or Interest is Allowed.

J.       Distributions After Allowance.

          To the extent that a Disputed Claim or Interest ultimately becomes an Allowed Claim or Interest, distributions
(if any) shall be made to the holder of such Allowed Claim or Interest in accordance with the provisions of the Plan.
As soon as reasonably practicable after the date that the order or judgment of the Bankruptcy Court allowing any
Disputed Claim or Interest becomes a Final Order, the Reorganized Debtors shall provide to the holder of such Claim

                                                          46
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1241 of 1639
                                                                            1241


or Interest the distribution (if any) to which such holder is entitled under the Plan as of the Effective Date, without any
interest to be paid on account of such Claim or Interest.

K.       No Interest on Disputed Claims.

          Interest shall not accrue or be paid on any Disputed Claim with respect to the period from the Effective Date
to the date a final distribution is made on account of such Disputed Claim, if and when such Disputed Claim becomes
an Allowed Claim.

                                       ARTICLE VIII.
                 SETTLEMENT, RELEASE, INJUNCTION, AND RELATED PROVISIONS

A.       Discharge of Claims and Termination of Interests.

          Pursuant to section 1141(d) of the Bankruptcy Code, and except as otherwise specifically provided in the
Plan, or in any contract, instrument, or other agreement or document created pursuant to the Plan, the distributions,
rights, and treatment that are provided in the Plan shall be in complete satisfaction, discharge, and release, effective
as of the Effective Date, of Claims (including any Intercompany Claims resolved or compromised after the Effective
Date by the Reorganized Debtors), Interests, and Causes of Action of any nature whatsoever, including any interest
accrued on Claims or Interests from and after the Petition Date, whether known or unknown, against, liabilities of,
Liens on, obligations of, rights against, and interests in, the Debtors or any of their assets or properties, regardless of
whether any property shall have been distributed or retained pursuant to the Plan on account of such Claims and
Interests, including demands, liabilities, and Causes of Action that arose before the Effective Date, any liability
(including withdrawal liability) to the extent such Claims or Interests relate to services performed by employees of
the Debtors prior to the Effective Date and that arise from a termination of employment, any contingent or non-
contingent liability on account of representations or warranties issued on or before the Effective Date, and all debts of
the kind specified in sections 502(g), 502(h), or 502(i) of the Bankruptcy Code, in each case whether or not: (1) a
Proof of Claim or Proof of Interest based upon such debt, right, or Interest is Filed or deemed Filed pursuant to section
501 of the Bankruptcy Code; (2) a Claim or Interest based upon such debt, right, or interest is Allowed pursuant to
section 502 of the Bankruptcy Code; or (3) the holder of such a Claim or Interest has accepted the Plan. The
Confirmation Order shall be a judicial determination of the discharge of all Claims (other than the Reinstated Claims)
and Interests (other than the Intercompany Interests that are Reinstated) subject to the occurrence of the Effective Date.

B.       Release of Liens.

         Except as otherwise provided in the Exit Facilities Documents, the Plan, the Confirmation Order, or
in any contract, instrument, release, or other agreement or document created pursuant to the Plan, on the
Effective Date and concurrently with the applicable distributions made pursuant to the Plan and, in the case of
a Secured Claim, satisfaction in full of the portion of the Secured Claim that is Allowed as of the Effective Date,
except for Other Secured Claims that the Debtors elect to Reinstate in accordance with this Plan, all mortgages,
deeds of trust, Liens, pledges, or other security interests against any property of the Estates shall be fully
released and discharged, and all of the right, title, and interest of any holder of such mortgages, deeds of trust,
Liens, pledges, or other security interests shall revert to the Reorganized Debtors and their successors and
assigns; provided that no mortgage, deed of trust, Lien, pledge, or other security interest against any property
of the Estates in favor of any Allowed Secured Claim shall be released prior to satisfaction and/or payment of
such Allowed Secured Claim in full in accordance with the Plan; provided, further, that no Lien arising, whether
arising by contract or statute, from an oil and gas lease shall be terminated, discharged, or released by the Plan.
Any holder of such Secured Claim (and the applicable agents for such holder) shall be authorized and directed,
at the sole cost and expense of the Reorganized Debtors, to release any collateral or other property of any
Debtor (including any cash collateral and possessory collateral) held by such holder (and the applicable agents
for such holder), and to take such actions as may be reasonably requested by the Reorganized Debtors to
evidence the release of such Liens and/or security interests, including the execution, delivery, and filing or
recording of such releases. The presentation or filing of the Confirmation Order to or with any federal, state,
provincial, or local agency, records office, or department shall constitute good and sufficient evidence of, but
shall not be required to effect, the termination of such Liens.


                                                            47
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1242 of 1639
                                                                            1242


         To the extent that any holder of a Secured Claim that has been satisfied or discharged in full pursuant
to the Plan, or any agent for such holder, has filed or recorded publicly any Liens and/or security interests to
secure such holder’s Secured Claim, then as soon as practicable on or after the Effective Date, such holder (or
the agent for such holder) shall take any and all steps requested by the Debtors, the Reorganized Debtors, or
Exit Facilities Agent that are necessary or desirable to record or effectuate the cancellation and/or
extinguishment of such Liens and/or security interests, including the making of any applicable filings or
recordings, and the Reorganized Debtors shall be entitled to make any such filings or recordings on such
holder’s behalf.

C.      Releases by the Debtors.

         Notwithstanding anything contained in the Plan to the contrary, pursuant to section 1123(b) of the
Bankruptcy Code, in exchange for good and valuable consideration, the adequacy of which is hereby confirmed,
on and after the Effective Date, each Released Party is deemed to be, hereby conclusively, absolutely,
unconditionally, irrevocably, and forever released and discharged by the Debtors, the Reorganized Debtors,
and their Estates, in each case on behalf of themselves and their respective successors, assigns, and
representatives, and any and all other Entities who may purport to assert any Cause of Action, directly or
derivatively, by, through, for, or because of the foregoing Entities, from any and all Claims and Causes of
Action, including any derivative claims, asserted on behalf of the Debtors, whether known or unknown,
foreseen or unforeseen, matured or unmatured, existing or hereafter arising, in law, equity, contract, tort or
otherwise, that the Debtors, the Reorganized Debtors, or their Estates would have been legally entitled to assert
in their own right (whether individually or collectively) or on behalf of the holder of any Claim against, or
Interest in, a Debtor or other Entity, or that any holder of any Claim against, or Interest in, a Debtor or other
Entity could have asserted on behalf of the Debtors, based on or relating to, or in any manner arising from, in
whole or in part, the Debtors (including the capital structure, management, ownership, or operation thereof),
any security of the Debtors or the Reorganized Debtors, the subject matter of, or the transactions or events
giving rise to, any Claim or Interest that is treated in the Plan, the business or contractual arrangements
between any Debtor and any Released Party, the Revolving Credit Facility, the FLLO Term Loan Facility, the
Collateral Trust Documents, the Second Lien Notes, the assertion or enforcement of rights and remedies against
the Debtors, the Debtors’ in- or out-of-court restructuring efforts, any Avoidance Actions, intercompany
transactions between or among a Debtor and another Debtor, the Chapter 11 Cases, the formulation,
preparation, dissemination, negotiation, or Filing of the Restructuring Support Agreement, the Disclosure
Statement, the Backstop Commitment Agreement, the DIP Facility, the Exit Facilities, the Plan (including, for
the avoidance of doubt, the Plan Supplement), or any Restructuring Transaction, contract, instrument, release,
or other agreement or document (including any legal opinion requested by any Entity regarding any
transaction, contract, instrument, document or other agreement contemplated by the Plan or the reliance by
any Released Party on the Plan or the Confirmation Order in lieu of such legal opinion) created or entered into
in connection with the Restructuring Support Agreement, the Disclosure Statement, the Backstop Commitment
Agreement, the DIP Facility, the Plan, the Plan Supplement, or the Exit Facilities before or during the Chapter
11 Cases, the Filing of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of Consummation, the
administration and implementation of the Plan, including the issuance or distribution of Securities pursuant to
the Plan, or the distribution of property under the Plan or any other related agreement, or upon any other act
or omission, transaction, agreement, event, or other occurrence related or relating to any of the foregoing
taking place on or before the Effective Date, other than claims or liabilities that are not described in items 1
and 2 set forth in Article IV.A hereof arising out of or relating to any act or omission of a Released Party that
constitutes actual fraud, willful misconduct, or gross negligence, each solely to the extent as determined by a
Final Order of a court of competent jurisdiction. Notwithstanding anything to the contrary in the foregoing,
the releases set forth above do not release any post Effective Date obligations of any party or Entity under the
Plan, the Confirmation Order, any Restructuring Transaction, or any document, instrument, or agreement
(including those set forth in the Plan Supplement) executed to implement the Plan, including the Exit Facilities
Documents, or any Claim or obligation arising under the Plan.

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the Debtors’ release, which includes by reference each of the related provisions and
definitions contained in the Plan, and further, shall constitute the Bankruptcy Court’s finding that the Debtors’
release is: (a) in exchange for the good and valuable consideration provided by the Released Parties, including,

                                                       48
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1243 of 1639
                                                                            1243


without limitation, the Released Parties’ contributions to facilitating the Restructuring Transactions and
implementing the Plan; (b) a good faith settlement and compromise of the Claims released by the Debtors’
release; (c) in the best interests of the Debtors and all holders of Claims and Interests; (d) fair, equitable, and
reasonable; (e) given and made after due notice and opportunity for hearing; and (f) a bar to any of the Debtors,
the Reorganized Debtors, or the Debtors’ Estates asserting any Claim or Cause of Action released pursuant to
the debtors’ release.

D.      Releases by Holders of Claims and Interests.

         Except as otherwise expressly set forth in this Plan or the Confirmation Order, on and after the
Effective Date, in exchange for good and valuable consideration, the adequacy of which is hereby confirmed,
each Released Party is, and is deemed to be, hereby conclusively, absolutely, unconditionally, irrevocably and
forever, released and discharged by each Releasing Party from any and all Causes of Action, whether known
or unknown, foreseen or unforeseen, matured or unmatured, existing or hereafter arising, in law, equity,
contract, tort, or otherwise, including any derivative claims asserted on behalf of the Debtors, that such Entity
would have been legally entitled to assert (whether individually or collectively), based on or relating to, or in
any manner arising from, in whole or in part, the Debtors (including the capital structure, management,
ownership, or operation thereof), any security of the Debtors or the Reorganized Debtors, the subject matter
of, or the transactions or events giving rise to, any Claim or Interest that is treated in the Plan, the business or
contractual arrangements between any Debtor and any Released Party, the Revolving Credit Facility, the
FLLO Term Loan Facility, the Collateral Trust Documents, the Second Lien Notes, the assertion or
enforcement of rights and remedies against the Debtors, the Debtors’ in- or out-of-court restructuring efforts,
any Avoidance Actions, intercompany transactions between or among a Debtor and another Debtor, the
Chapter 11 Cases, the formulation, preparation, dissemination, negotiation, or Filing of the Restructuring
Support Agreement, the Disclosure Statement, the DIP Facility, the Exit Facilities, the Plan (including, for the
avoidance of doubt, the Plan Supplement), or any Restructuring Transaction, contract, instrument, release, or
other agreement or document (including any legal opinion requested by any Entity regarding any transaction,
contract, instrument, document or other agreement contemplated by the Plan or the reliance by any Released
Party on the Plan or the Confirmation Order in lieu of such legal opinion) created or entered into in connection
with the Restructuring Support Agreement, the Disclosure Statement, the DIP Facility, the Plan, the Plan
Supplement, before or during the Chapter 11 Cases, the Filing of the Chapter 11 Cases, the pursuit of
Confirmation, the pursuit of Consummation, the administration and implementation of the Plan, including the
issuance or distribution of Securities pursuant to the Plan, or the distribution of property under the Plan or
any other related agreement, or upon any other act or omission, transaction, agreement, event, or other
occurrence related or relating to any of the foregoing taking place on or before the Effective Date, other than
claims or liabilities that are not described in items 1 and 2 set forth in Article IV.A hereof arising out of or
relating to any act or omission of a Released Party other than a Debtor that constitutes actual fraud, willful
misconduct, or gross negligence, each solely to the extent as determined by a Final Order of a court of competent
jurisdiction. Notwithstanding anything to the contrary in the foregoing, the releases set forth above do not
release (i) any party of any obligations related to customary banking products, banking services or other
financial accommodations (except as may be expressly amended or modified by the Plan and the Exit Facilities
Credit Agreements, or any other financing document under and as defined therein) or (ii) any post Effective
Date obligations of any party or Entity under the Plan, the Confirmation Order, any Restructuring
Transaction, or any document, instrument, or agreement (including those set forth in the Plan Supplement)
executed to implement the Plan, including the Exit Facilities Documents, or any Claim or obligation arising
under the Plan.

          Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the third-party releases, which includes by reference each of the related provisions
and definitions contained herein, and, further, shall constitute the Bankruptcy Court’s finding that the third
party releases are: (a) consensual; (b) essential to the confirmation of the Plan; (c) given in exchange for the
good and valuable consideration provided by the Released Parties; (d) a good faith settlement and compromise
of the Claims released by the third-party releases; (e) in the best interests of the Debtors and their Estates;
(f) fair, equitable, and reasonable; (g) given and made after due notice and opportunity for hearing; and
(h) a bar to any of the Releasing Parties asserting any claim or Cause of Action released pursuant to the third-
party releases.

                                                        49
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1244 of 1639
                                                                            1244


E.      Exculpation.

         Except as otherwise specifically provided in the Plan or the Confirmation Order, no Exculpated Party
shall have or incur liability for, and each Exculpated Party is hereby released and exculpated from any Cause
of Action for any claim related to any act or omission in connection with, relating to, or arising out of, the
Chapter 11 Cases, the formulation, preparation, dissemination, negotiation, Filing, or termination of the
Restructuring Support Agreement and related prepetition transactions, the Disclosure Statement, the Plan, the
Plan Supplement, or any Restructuring Transaction, contract, instrument, release or other agreement or
document (including any legal opinion requested by any Entity regarding any transaction, contract,
instrument, document or other agreement contemplated by the Plan or the reliance by any Released Party on
the Plan or the Confirmation Order in lieu of such legal opinion) created or entered into before or during the
Chapter 11 Cases, any preference, fraudulent transfer, or other avoidance claim arising pursuant to chapter 5
of the Bankruptcy Code or other applicable law, the Filing of the Chapter 11 Cases, the pursuit of
Confirmation, the pursuit of Consummation, the administration and implementation of the Plan, including the
issuance or distribution of Securities pursuant to the Plan, or the distribution of property under the Plan or
any other related agreement, or upon any other related act or omission, transaction, agreement, event, or other
occurrence taking place on or before the Effective Date, except for claims related to any act or omission that is
determined in a Final Order by a court of competent jurisdiction to have constituted actual fraud, willful
misconduct, or gross negligence, but in all respects such Entities shall be entitled to reasonably rely upon the
advice of counsel with respect to their duties and responsibilities pursuant to the Plan.

          The Exculpated Parties and other parties set forth above have, and upon confirmation of the Plan shall
be deemed to have, participated in good faith and in compliance with the applicable laws with regard to the
solicitation of votes and distribution of consideration pursuant to the Plan and, therefore, are not, and on
account of such distributions shall not be, liable at any time for the violation of any applicable law, rule, or
regulation governing the solicitation of acceptances or rejections of the Plan or such distributions made
pursuant to the Plan.

F.      Injunction.

        Except as otherwise expressly provided in the Plan or the Confirmation Order or for obligations issued
or required to be paid pursuant to the Plan or the Confirmation Order, all Entities who have held, hold, or
may hold Claims or Interests that have been released, discharged, or are subject to exculpation are permanently
enjoined, from and after the Effective Date, from taking any of the following actions against, as applicable, the
Debtors, the Reorganized Debtors, the Exculpated Parties, or the Released Parties: (1) commencing or
continuing in any manner any action or other proceeding of any kind on account of or in connection with or
with respect to any such Claims or Interests; (2) enforcing, attaching, collecting, or recovering by any manner
or means any judgment, award, decree, or order against such Entities on account of or in connection with or
with respect to any such Claims or Interests; (3) creating, perfecting, or enforcing any encumbrance of any
kind against such Entities or the property or the Estates of such Entities on account of or in connection with or
with respect to any such Claims or Interests; (4) asserting any right of setoff, subrogation, or recoupment of
any kind against any obligation due from such Entities or against the property of such Entities on account of
or in connection with or with respect to any such Claims or Interests unless such holder has Filed a motion
requesting the right to perform such setoff on or before the Effective Date, and notwithstanding an indication
of a Claim or Interest or otherwise that such holder asserts, has, or intends to preserve any right of setoff
pursuant to applicable law or otherwise; and (5) commencing or continuing in any manner any action or other
proceeding of any kind on account of or in connection with or with respect to any such Claims or Interests
released or settled pursuant to the Plan.

         Upon entry of the Confirmation Order, all holders of Claims and Interests and their respective current
and former employees, agents, officers, directors, principals, and direct and indirect Affiliates shall be enjoined
from taking any actions to interfere with the implementation or Consummation of the Plan. Except as
otherwise set forth in the Confirmation Order, each holder of an Allowed Claim or Allowed Interest, as
applicable, by accepting, or being eligible to accept, distributions under or Reinstatement of such Claim or
Interest, as applicable, pursuant to the Plan, shall be deemed to have consented to the injunction provisions set
forth in this Article VIII.F hereof.
                                                        50
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1245 of 1639
                                                                            1245


G.       Protections Against Discriminatory Treatment.

          Consistent with section 525 of the Bankruptcy Code and the Supremacy Clause of the U.S. Constitution, no
Governmental Unit shall discriminate against the Reorganized Debtors or deny, revoke, suspend, or refuse to renew a
license, permit, charter, franchise, or other similar grant to, condition such a grant to, discriminate with respect to such
a grant against, the Reorganized Debtors, or another Entity with whom the Reorganized Debtors have been associated,
solely because each Debtor has been a debtor under chapter 11 of the Bankruptcy Code, has been insolvent before the
commencement of the Chapter 11 Cases (or during the Chapter 11 Cases but before the Debtors are granted or denied
a discharge), or has not paid a debt that is dischargeable in the Chapter 11 Cases.

H.       Recoupment.

         In no event shall any holder of Claims or Interests be entitled to recoup any Claim against any claim, right,
or Cause of Action of the Debtors or the Reorganized Debtors, as applicable, unless such holder actually has performed
such recoupment and provided notice thereof in writing to the Debtors on or before the Confirmation Date,
notwithstanding any indication in any Proof of Claim or Proof of Interest or otherwise that such holder asserts, has,
or intends to preserve any right of recoupment.

I.       Document Retention.

        On and after the Effective Date, the Reorganized Debtors may maintain documents in accordance with their
standard document retention policy, as may be altered, amended, modified, or supplemented by the
Reorganized Debtors.

J.       Reimbursement or Contribution.

          If the Bankruptcy Court disallows a Claim for reimbursement or contribution of an Entity pursuant to
section 502(e)(1)(B) of the Bankruptcy Code, then to the extent that such Claim is contingent as of the time of
allowance or disallowance, such Claim shall be forever disallowed and expunged notwithstanding section 502(j) of
the Bankruptcy Code, unless prior to the Confirmation Date: (1) such Claim has been adjudicated as non-contingent
or (2) the relevant holder of a Claim has Filed a non-contingent Proof of Claim on account of such Claim and a Final
Order has been entered prior to the Confirmation Date determining such Claim as no longer contingent.

                                        ARTICLE IX.
                     CONDITIONS PRECEDENT TO CONSUMMATION OF THE PLAN

A.       Conditions Precedent to the Effective Date.

         It shall be a condition to the Effective Date that the following conditions shall have been satisfied or waived
pursuant to the provisions of Article IX.B hereof:

         1.     the Confirmation Order shall have become a Final Order and be in form and substance acceptable to
                the Required Consenting Stakeholders and shall:

                   (a) authorize the Debtors to take all actions necessary to enter into, implement, and consummate
                       the contracts, instruments, releases, leases, indentures, and other agreements or documents
                       created in connection with the Plan;

                   (b) decree that the provisions in the Confirmation Order and the Plan are nonseverable and mutually
                       dependent;

                   (c) authorize the Debtors or the Reorganized Debtors, as applicable/necessary, to: (a) implement
                       the Restructuring Transactions, including the Rights Offering and Exit Facilities; (b) appoint
                       the directors and officers for the Reorganized Debtors; (c) issue and distribute the New
                       Common Stock in accordance with the Plan, including all shares of New Common Stock issued

                                                            51
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1246 of 1639
                                                                       1246


               by Reorganized Chesapeake to the Backstop Parties as part of the Put Option Premium and the
               unsubscribed shares of New Common Stock issued to Backstop Parties pursuant to the
               Backstop Commitment Agreement; (d) issue and distribute the Rights and subsequently issue
               and distribute New Common Stock issuable upon exercise of such; (e) execute and deliver the
               Registration Rights Agreement; (f) execute and deliver the New Warrants Agreements and
               issue and distribute the New Warrants; (g) enter into the Exit Facilities Documents; (h) take all
               other actions contemplated under the Plan (whether to occur before, on, or after the Effective
               Date); (i) approve and adopt the New Organizational Documents; (j) adopt the Management
               Incentive Plan; (k) reject, assume, or assume and assign, as applicable, Executory Contracts
               and Unexpired Leases; and (l) complete all other acts or actions contemplated or reasonably
               necessary or appropriate to promptly consummate the Restructuring Transactions contemplated
               by the Plan (whether to occur before, on, or after the Effective Date).

           (d) authorize the implementation of the Plan in accordance with its terms;

           (e) provide that, pursuant to section 1146 of the Bankruptcy Code, the assignment or surrender of
               any lease or sublease, and the delivery of any deed or other instrument or transfer order, in
               furtherance of, or in connection with the Plan, including any deeds, bills of sale, or assignments
               executed in connection with any disposition or transfer of assets contemplated under the Plan,
               shall not be subject to any stamp, real estate transfer, mortgage recording, or other similar
               tax; and

           (f) contain the release, injunction, and exculpation provisions contained in Article VIII herein; and

   2.    the Debtors shall have obtained all authorizations, consents, regulatory approvals, rulings, or
         documents that are necessary to implement and effectuate the Plan;

   3.    the Plan and the applicable documents included in the Plan Supplement, including any schedules,
         documents, and exhibits contained therein, shall have been Filed and shall be in form and substance
         reasonably acceptable to the Debtors and the Required Consenting Stakeholders in accordance with
         the consent rights contained in the Restructuring Support Agreement;

   4.    the Restructuring Support Agreement shall remain in full force and effect;

   5.    the Final Order approving the DIP Facility shall remain in full force and effect and no event of default
         shall have occurred and be continuing thereunder;

   6.    the Backstop Commitment Agreement Approval Order and Backstop Commitment Agreement shall
         have been entered and remain in full force and effect;

   7.    all Allowed Professional Claims approved by the Bankruptcy Court shall have been paid in full or
         amounts sufficient to pay such Allowed Professional Claims after the Effective Date have been placed
         in the Professional Fee Escrow Account pending approval of the Professional Claims by the
         Bankruptcy Court, all fees and expenses payable pursuant to Article IV.U shall have been paid in full,
         and all fees and expenses of the DIP Agent, Revolving Credit Facility Administrative Agent, and the
         Collateral Trustee payable pursuant to the DIP Order shall have been paid in full;

   8.    the payments required to be made pursuant to the terms of Article IV.U of the Plan shall have
         been paid;

   9.    the New Organizational Documents with respect to the Reorganized Debtors shall be in full force and
         effect and be in form and substance reasonably acceptable to the Required Consenting Stakeholders;

   10.   the Exit Facilities Documents shall be in full force and effect (with the Conditions Precedent to the
         Exit Facilities having been met, satisfied, or waived) and, subject to any post-closing execution and

                                                   52
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1247 of 1639
                                                                            1247


                delivery requirements provided for in the Exit Facilities Documents, be in form and substance
                acceptable to the Required Consenting Stakeholders (such approval not to be withheld in bad faith;
                provided that the terms set forth in the Exit Facilities Term Sheet shall be deemed acceptable to the
                Required Consenting Stakeholders); and

         11.    The Minimum Liquidity Condition, the Total Leverage Condition, and the PDP PV-10 Test Ratio
                Condition shall have been met, satisfied, or waived.

          For the avoidance of doubt, if the Minimum Liquidity Condition, the Total Leverage Condition, and/or the
PDP PV-10 Test Ratio Condition would not otherwise be satisfied, the Required Plan Sponsors may agree, in their
sole discretion, to increase the Rights Offering amount above $600 million on the same terms, including the Rights
Offering Value and with an allocation consistent with the Backstop Allocations, in order to enable such conditions to
be satisfied; provided that no Backstop Party’s Backstop Commitment may be increased without its consent.

B.       Waiver of Conditions.

          Any one or more of the conditions to Consummation (or component thereof) set forth in this Article IX may
be waived by the Debtors with the prior written consent of the Required Consenting Stakeholders (with the exception
of the condition precedent specified in Section IX.A.4, not to be withheld unreasonably), without notice, leave, or
order of the Bankruptcy Court or any formal action other than proceedings to confirm or consummate the Plan.

C.       Effect of Failure of Conditions.

         If Consummation does not occur as to any Debtor, the Plan shall be null and void in all respects as to such
Debtor and nothing contained in the Plan, the Disclosure Statement, or Restructuring Support Agreement as to such
Debtor shall: (1) constitute a waiver or release of any Claims by the Debtors, Claims, or Interests; (2) prejudice in
any manner the rights of the Debtors, any holders of Claims or Interests, or any other Entity; or (3) constitute an
admission, acknowledgment, offer, or undertaking by the Debtors, any holders of Claims or Interests, or any
other Entity.

D.       Substantial Consummation

         “Substantial Consummation” of the Plan, as defined in 11 U.S.C. § 1101(2), shall be deemed to occur on the
Effective Date.

                                        ARTICLE X.
                   MODIFICATION, REVOCATION, OR WITHDRAWAL OF THE PLAN

A.       Modification and Amendments.

          Except as otherwise specifically provided in this Plan, upon prior notice to and with the consent of the
Required Consenting Stakeholders, the Debtors reserve the right to modify the Plan, whether such modification is
material or immaterial, and seek Confirmation consistent with the Bankruptcy Code and, as appropriate and with the
consent of the Required Consenting Stakeholders, not resolicit votes on such modified Plan. Subject to those
restrictions on modifications set forth in the Plan and the requirements of section 1127 of the Bankruptcy Code,
Rule 3019 of the Federal Rules of Bankruptcy Procedure, and, to the extent applicable, sections 1122, 1123, and 1125
of the Bankruptcy Code, each of the Debtors expressly reserves its respective rights to revoke or withdraw, or to alter,
amend, or modify the Plan with respect to such Debtor, one or more times, after Confirmation, and, to the extent
necessary may initiate proceedings in the Bankruptcy Court to so alter, amend, or modify the Plan, or remedy any
defect or omission, or reconcile any inconsistencies in the Plan, the Disclosure Statement, or the Confirmation Order,
in such matters as may be necessary to carry out the purposes and intent of the Plan.




                                                          53
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1248 of 1639
                                                                            1248


B.       Effect of Confirmation on Modifications.

          Entry of the Confirmation Order shall mean that all modifications or amendments to the Plan since the
solicitation thereof are approved pursuant to section 1127(a) of the Bankruptcy Code and do not require additional
disclosure or resolicitation under Bankruptcy Rule 3019.

C.       Revocation or Withdrawal of Plan.

         The Debtors reserve the right, upon prior notice to and with the consent of the Required Consenting
Stakeholders, to revoke or withdraw the Plan prior to the Confirmation Date and to File subsequent plans of
reorganization. If the Debtors revoke or withdraw the Plan, or if Confirmation or Consummation does not occur, then:
(1) the Plan shall be null and void in all respects; (2) any settlement or compromise embodied in the Plan (including
the fixing or limiting to an amount certain of any Claim or Interest or Class of Claims or Interests, and including any
settlement, waiver, or release of any rights of the Revolving Credit Facility Lenders under the Intercreditor Agreement
or the Collateral Trust Documents), assumption or rejection of Executory Contracts or Unexpired Leases effected
under the Plan, and any document or agreement executed pursuant to the Plan, shall be deemed null and void; and
(3) nothing contained in the Plan shall: (a) constitute a waiver or release of any Claims or Interests; (b) prejudice in
any manner the rights of such Debtor or any other Entity; or (c) constitute an admission, acknowledgement, offer, or
undertaking of any sort by such Debtor or any other Entity.

                                               ARTICLE XI.
                                        RETENTION OF JURISDICTION

          Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective Date, on and after
the Effective Date, the Bankruptcy Court shall retain exclusive jurisdiction over all matters arising out of, or relating
to, the Chapter 11 Cases and the Plan pursuant to sections 105(a) and 1142 of the Bankruptcy Code, including
jurisdiction to:

         1.     allow, disallow, determine, liquidate, classify, estimate, or establish the priority, secured or unsecured
                status, or amount of any Claim or Interest, including the resolution of any request for payment of any
                Administrative Claim and the resolution of any and all objections to the secured or unsecured status,
                priority, amount, or allowance of Claims or Interests;

         2.     decide and resolve all matters related to the granting and denying, in whole or in part, any applications
                for allowance of compensation or reimbursement of expenses to Professionals authorized pursuant to
                the Bankruptcy Code or the Plan;

         3.     resolve any matters related to: (a) the assumption, assumption and assignment, or rejection of any
                Executory Contract or Unexpired Lease to which a Debtor is party or with respect to which a Debtor
                may be liable and to hear, determine, and, if necessary, liquidate, any Claims arising therefrom,
                including Cure Claims pursuant to section 365 of the Bankruptcy Code; (b) any potential contractual
                obligation under any Executory Contract or Unexpired Lease that is assumed; (c) the Reorganized
                Debtors amending, modifying, or supplementing, after the Effective Date, pursuant to Article V
                hereof, any Executory Contracts or Unexpired Leases to the list of Executory Contracts and Unexpired
                Leases to be assumed or rejected or otherwise; and (d) any dispute regarding whether a contract or
                lease is or was executory or expired;

         4.     ensure that distributions to holders of Allowed Claims and Allowed Interests (as applicable) are
                accomplished pursuant to the provisions of the Plan;

         5.     adjudicate, decide, or resolve any motions, adversary proceedings, contested or litigated matters, and
                any other matters, and grant or deny any applications involving a Debtor that may be pending on the
                Effective Date;

         6.     adjudicate, decide, or resolve any and all matters related to section 1141 of the Bankruptcy Code;

                                                           54
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1249 of 1639
                                                                       1249


   7.    enter and implement such orders as may be necessary to execute, implement, or consummate the
         provisions of the Plan and all contracts, instruments, releases, indentures, and other agreements or
         documents created or entered into in connection with the Plan or the Disclosure Statement;

   8.    enter and enforce any order for the sale of property pursuant to sections 363, 1123, or 1146(a) of the
         Bankruptcy Code;

   9.    resolve any cases, controversies, suits, disputes, or Causes of Action that may arise in connection with
         the Consummation, interpretation, or enforcement of the Plan or any Entity’s obligations incurred in
         connection with the Plan;

   10.   issue injunctions, enter and implement other orders, or take such other actions as may be necessary to
         restrain interference by any Entity with Consummation or enforcement of the Plan;

   11.   resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the releases,
         injunctions, exculpations, and other provisions contained in Article VIII hereof and enter such orders
         as may be necessary or appropriate to implement such releases, injunctions, and other provisions;

   12.   resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the repayment or
         return of distributions and the recovery of additional amounts owed by the holder of a Claim or Interest
         for amounts not timely repaid pursuant to Article VI.K hereof;

   13.   enter and implement such orders as are necessary if the Confirmation Order is for any reason modified,
         stayed, reversed, revoked, or vacated;

   14.   determine any other matters that may arise in connection with or relate to the Plan, the Plan
         Supplement, the Disclosure Statement, the Confirmation Order, or any contract, instrument, release,
         indenture, or other agreement or document created in connection with the Plan or the Disclosure
         Statement, including the Restructuring Support Agreement;

   15.   enter an order concluding or closing the Chapter 11 Cases;

   16.   adjudicate any and all disputes arising from or relating to distributions under the Plan;

   17.   consider any modifications of the Plan, to cure any defect or omission, or to reconcile any
         inconsistency in any Bankruptcy Court order, including the Confirmation Order;

   18.   determine requests for the payment of Claims and Interests entitled to priority pursuant to section 507
         of the Bankruptcy Code;

   19.   hear and determine disputes arising in connection with the interpretation, implementation, or
         enforcement of the Plan or the Confirmation Order, including disputes arising under agreements,
         documents, or instruments executed in connection with the Plan;

   20.   hear and determine matters concerning state, local, and federal taxes in accordance with sections 346,
         505, and 1146 of the Bankruptcy Code;

   21.   hear and determine all disputes involving the obligations or terms of the Rights Offering and the
         Backstop Commitment Agreement;

   22.   hear and determine all disputes involving the existence, nature, scope, or enforcement of any
         exculpations, discharges, injunctions, and releases granted in the Plan, including under Article VIII
         hereof;

   23.   enforce all orders previously entered by the Bankruptcy Court; and

                                                   55
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1250 of 1639
                                                                            1250


         24.    hear any other matter not inconsistent with the Bankruptcy Code.

         As of the Effective Date, notwithstanding anything in this Article XI to the contrary, the New Organizational
Documents and the Exit Facilities and any documents related thereto shall be governed by the jurisdictional provisions
therein and the Bankruptcy Court shall not retain jurisdiction with respect thereto.

                                               ARTICLE XII.
                                        MISCELLANEOUS PROVISIONS

A.       Immediate Binding Effect.

         Subject to Article IX.A hereof and notwithstanding Bankruptcy Rules 3020(e), 6004(h), or 7062 or otherwise,
upon the occurrence of the Effective Date, the terms of the Plan (including, for the avoidance of doubt, the documents
and instruments contained in the Plan Supplement) shall be immediately effective and enforceable and deemed binding
upon the Debtors, the Reorganized Debtors, any and all holders of Claims or Interests (irrespective of whether such
holders of Claims or Interests have, or are deemed to have accepted the Plan), all Entities that are parties to or are
subject to the settlements, compromises, releases, discharges, and injunctions described in the Plan, each Entity
acquiring property under the Plan, and any and all non-Debtor parties to Executory Contracts and Unexpired Leases
with the Debtors.

B.       Additional Documents.

         On or before the Effective Date, the Debtors may File with the Bankruptcy Court such agreements and other
documents as may be necessary to effectuate and further evidence the terms of the Plan. The Debtors or the
Reorganized Debtors, as applicable, and all holders of Claims or Interests receiving distributions pursuant to the Plan
and all other parties in interest shall, from time to time, prepare, execute, and deliver any agreements or documents
and take any other actions as may be necessary or advisable to effectuate the provisions and intent of the Plan.

C.       Payment of Statutory Fees.

          All fees payable pursuant to section 1930(a) of the Judicial Code, as determined by the Bankruptcy Court at
a hearing pursuant to section 1128 of the Bankruptcy Code, shall be paid by each of the Reorganized Debtors for each
quarter (including any fraction thereof) until the earlier of entry of a final decree closing such Chapter 11 Cases or an
order of dismissal or conversion, whichever comes first.

D.       Statutory Committee and Cessation of Fee and Expense Payment.

         On the Confirmation Date, any statutory committee appointed in the Chapter 11 Cases shall dissolve and
members thereof shall be released and discharged from all rights and duties from or related to the Chapter 11 Cases.
The Reorganized Debtors shall no longer be responsible for paying any fees or expenses incurred by the members of
or advisors to any statutory committees after the Confirmation Date.

E.       Reservation of Rights.

          Except as expressly set forth in the Plan, the Plan shall have no force or effect unless the Bankruptcy Court
shall enter the Confirmation Order, and the Confirmation Order shall have no force or effect if the Effective Date does
not occur. None of the Filing of the Plan, any statement or provision contained in the Plan, or the taking of any action
by any Debtor with respect to the Plan, the Disclosure Statement, or the Plan Supplement shall be or shall be deemed
to be an admission or waiver of any rights of any Debtor with respect to the holders of Claims or Interests prior to the
Effective Date.




                                                           56
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1251 of 1639
                                                                            1251


F.       Successors and Assigns.

          The rights, benefits, and obligations of any Entity named or referred to in the Plan shall be binding on, and
shall inure to the benefit of any heir, executor, administrator, successor or assign, Affiliate, officer, manager, director,
agent, representative, attorney, beneficiaries, or guardian, if any, of each Entity.

G.       Notices.

         All notices, requests, and demands to or upon the Debtors to be effective shall be in writing (including by
facsimile transmission) and, unless otherwise expressly provided herein, shall be deemed to have been duly given or
made when actually delivered or, in the case of notice by facsimile transmission, when received and telephonically
confirmed, addressed as follows:

                     Debtors                                                 Counsel to the Debtors
 Chesapeake Energy Corporation                             Kirkland & Ellis LLP
 6100 North Western Avenue                                 300 North LaSalle Street
 Oklahoma, Oklahoma 73118                                  Chicago, Illinois 60654
 Attention: James R. Webb                                  Attention: Patrick J. Nash, Jr., P.C., Marc Kieselstein,
                                                           P.C., and Alexandra Schwarzman

                                                           and

                                                           Jackson Walker LLP
                                                           1401 McKinney Street, Suite 1900
                                                           Houston, Texas 77010
                                                           Attention: Matthew D. Cavenaugh, Jennifer F. Wertz,
                                                           Kristhy M. Peguero, and Veronica A. Polnick
               United States Trustee                               Counsel to the Consenting DIP Lenders
 Office of The United States Trustee                       Sidley Austin LLP
 515 Rusk Street, Suite 3516                               555 West Fifth Street
 Houston, Texas 77002                                      Los Angeles, CA 90013
                                                           Attention: Jennifer C. Hagle and Brian E. Minyard
    Counsel to the Consenting Revolving Credit
                                                                      Counsel to the FLLO Ad Hoc Group
                  Facility Lenders
 Sidley Austin LLP                                         Davis Polk & Wardwell LLP
 555 West Fifth Street                                     450 Lexington Avenue
 Los Angeles, CA 90013                                     New York, New York 10017
 Attention: Jennifer C. Hagle and Brian E. Minyard         Attention: Damian S. Schaible, Darren S. Klein, and Aryeh
                                                           Ethan Falk
               Counsel to Franklin
 Akin Gump Strauss Hauer & Feld LLP
 One Bryant Park
 Bank of America Tower
 New York, New York 10036
 Attention: Michael S. Stamer, Meredith A. Lahaie,
 and Stephen B. Kuhn




                                                            57
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1252 of 1639
                                                                            1252


          After the Effective Date, the Reorganized Debtors have the authority to send a notice to Entities that to
continue to receive documents pursuant to Bankruptcy Rule 2002, such Entity must File a renewed request to receive
documents pursuant to Bankruptcy Rule 2002. After the Effective Date, the Reorganized Debtors are authorized to
limit the list of Entities receiving documents pursuant to Bankruptcy Rule 2002 to those Entities who have Filed such
renewed requests.

H.       Term of Injunctions or Stays.

         Unless otherwise provided in the Plan or in the Confirmation Order, all injunctions or stays in effect in the
Chapter 11 Cases pursuant to sections 105 or 362 of the Bankruptcy Code or any order of the Bankruptcy Court, and
extant on the Confirmation Date (excluding any injunctions or stays contained in the Plan or the Confirmation Order)
shall remain in full force and effect until the Effective Date. All injunctions or stays contained in the Plan or the
Confirmation Order shall remain in full force and effect in accordance with their terms.

I.       Entire Agreement.

         Except as otherwise indicated, the Plan supersedes all previous and contemporaneous negotiations, promises,
covenants, agreements, understandings, and representations on such subjects, all of which have become merged and
integrated into the Plan.

J.       Plan Supplement.

           All exhibits and documents included in the Plan Supplement are incorporated into and are a part of the Plan
as if set forth in full in the Plan. After the exhibits and documents are Filed, copies of such exhibits and documents
shall be available upon written request to the Debtors’ counsel at the address above or by downloading such exhibits
and documents from the Debtors’ restructuring website at https://dm.epiq11.com/chesapeake or the Bankruptcy
Court’s website at www.txs.uscourts.gov/bankruptcy. To the extent any exhibit or document is inconsistent with the
terms of the Plan, unless otherwise ordered by the Bankruptcy Court, the Plan Supplement exhibit or document shall
control (unless stated otherwise in such Plan Supplement document or in the Confirmation Order).

K.       Nonseverability of Plan Provisions.

          If, prior to Confirmation, any term or provision of the Plan is held by the Bankruptcy Court to be invalid,
void, or unenforceable, the Bankruptcy Court shall have the power to alter and interpret such term or provision to
make it valid or enforceable to the maximum extent practicable, consistent with the original purpose of the term or
provision held to be invalid, void, or unenforceable, and such term or provision shall then be applicable as altered or
interpreted. Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms and provisions
of the Plan will remain in full force and effect and will in no way be affected, impaired, or invalidated by such holding,
alteration, or interpretation. The Confirmation Order shall constitute a judicial determination and shall provide that
each term and provision of the Plan, as it may have been altered or interpreted in accordance with the foregoing, is:
(1) valid and enforceable pursuant to its terms; (2) integral to the Plan and may not be deleted or modified without the
Debtors’ or Reorganized Debtors’ consent, as applicable; and (3) nonseverable and mutually dependent.

L.       Votes Solicited in Good Faith.

         Upon entry of the Confirmation Order, the Debtors will be deemed to have solicited votes on the Plan in
good faith and in compliance with section 1125(g) of the Bankruptcy Code, and pursuant to section 1125(e) of the
Bankruptcy Code, the Debtors and each of their respective Affiliates, agents, representatives, members, principals,
shareholders, officers, directors, employees, advisors, and attorneys will be deemed to have participated in good faith
and in compliance with the Bankruptcy Code in the offer, issuance, sale, and purchase of Securities offered and sold
under the Plan and any previous plan, and, therefore, neither any of such parties or individuals or the Reorganized
Debtors will have any liability for the violation of any applicable law, rule, or regulation governing the solicitation of
votes on the Plan or the offer, issuance, sale, or purchase of the Securities offered and sold under the Plan and any
previous plan.



                                                           58
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1253 of 1639
                                                                            1253


M.       Closing of Chapter 11 Cases.

          Upon the occurrence of the Effective Date, the Reorganized Debtors shall be permitted to close all of the
Chapter 11 Cases except for the Chapter 11 Case of Chesapeake, and all contested matters and adversary proceedings
relating to each of the Debtors, including objections to Claims, shall be administered and heard in the Chapter 11 Case
of Chesapeake; provided that for purposes of sections 546 and 550 of the Bankruptcy Code, the Chapter 11 Cases
shall be deemed to remain open until the Chapter 11 Case of Chesapeake has been closed.

         When all Disputed Claims have become Allowed or disallowed and all remaining Cash has been distributed
in accordance with the Plan, the Reorganized Debtors shall seek authority from the Bankruptcy Court to close the
Chapter 11 Case of Chesapeake in accordance with the Bankruptcy Code and the Bankruptcy Rules.

N.       Waiver or Estoppel.

          Each holder of a Claim or an Interest shall be deemed to have waived any right to assert any argument,
including the right to argue that its Claim or Interest should be Allowed in a certain amount, in a certain priority,
secured or not subordinated by virtue of an agreement made with the Debtors or their counsel, or any other Entity, if
such agreement was not disclosed in the Plan, the Disclosure Statement, or papers Filed with the Bankruptcy Court
prior to the Confirmation Date.

O.       Creditor Default.

         An act or omission by a holder of a Claim or an Interest in contravention of the provisions of this Plan shall
be deemed an event of default under this Plan. Upon an event of default, the Reorganized Debtors may seek to hold
the defaulting party in contempt of the Confirmation Order and shall be entitled to reasonable attorneys’ fees and costs
of the Reorganized Debtors in remedying such default. Upon the finding of such a default by a creditor, the
Bankruptcy Court may: (a) designate a party to appear, sign and/or accept the documents required under the Plan on
behalf of the defaulting party, in accordance with Bankruptcy Rule 7070; (b) enforce the Plan by order of specific
performance; (c) award judgment against such defaulting creditor in favor of the Reorganized debtor in an amount,
including interest, to compensate the Reorganized Debtors for the damages caused by such default; and (d) make such
other order as may be equitable that does not materially alter the terms of the Plan.




                                                          59
 Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1254 of 1639
                                                                        1254


Dated: January 12, 2021             CHESAPEAKE ENERGY CORPORATION

                                    on behalf of itself and all other Debtors




                                    /s/ Domenic J. Dell’Osso, Jr.
                                    Domenic J. Dell’Osso, Jr.
                                    Executive Vice President and Chief Financial Officer




                                    60
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1255 of 1639
                                                                            1255



                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                      §
    In re:                                                            §       Chapter 11
                                                                      §
    CHESAPEAKE ENERGY CORPORATION, et al., 1                          §       Case No. 20-33233 (DRJ)
                                                                      §
                                       Debtors.                       §       (Jointly Administered)
                                                                      §

              NOTICE OF ENTRY OF ORDER CONFIRMING THE FIFTH
           AMENDED JOINT CHAPTER 11 PLAN OF REORGANIZATION OF
         CHESAPEAKE ENERGY CORPORATION AND ITS DEBTOR AFFILIATES

TO ALL CREDITORS, INTEREST HOLDERS, AND OTHER PARTIES IN INTEREST:

        PLEASE TAKE NOTICE that on January 16, 2021 the Honorable David R. Jones, United
States Chief Bankruptcy Judge of the United States Bankruptcy Court for the Southern District of
Texas (the “Bankruptcy Court”), entered the Order Confirming Fifth Amended Joint Chapter 11
Plan of Reorganization of Chesapeake Energy Corporation And Its Debtor Affiliates [Docket
No. 2915] (the “Confirmation Order”), confirming, as modified therein, the Fifth Amended Joint
Chapter 11 Plan of Reorganization of Chesapeake Energy Corporation and Its Debtor Affiliates
[Docket No. 2833] (the “Plan”). 2

        PLEASE TAKE FURTHER NOTICE that copies of the Confirmation Order, the Plan,
and all documents filed in these chapter 11 cases are available free of charge by visiting
http://dm.epiq11.com/chesapeake or by calling (646) 282-2400. You may also obtain copies of
any pleadings by visiting the Bankruptcy Court’s website at https://ecf.txsb.uscourts.gov in
accordance with the procedures and fees set forth therein.

       PLEASE TAKE FURTHER NOTICE that the Effective Date of the Plan occurred on
February 9, 2021.

       PLEASE TAKE FURTHER NOTICE that, unless otherwise provided by the Plan, the
Confirmation Order, any other applicable order of the Bankruptcy Court, or agreed to by the holder
of an Allowed Administrative Claim and the Debtors, all requests for payment of Administrative
Claims, other than Administrative Claims arising under section 503(b)(9) of the Bankruptcy Code,
which were required to be filed by the Claims Bar Date, must be filed and served on the Debtors

1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/chesapeake. The location of Debtor Chesapeake Energy
      Corporation’s principal place of business and the Debtors’ service address in these chapter 11 cases is 6100 North
      Western Avenue, Oklahoma City, Oklahoma 73118.
2
      Unless otherwise defined in this notice, capitalized terms used in this notice shall have the meanings ascribed to
      them in the Plan and the Confirmation Order, as applicable.
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1256 of 1639
                                                                         1256



no later than: (1) with respect to General Administrative Claims other than those that were accrued
in the ordinary course of business, March 11, 2021, 5:00 p.m. prevailing Central Time; (2) with
respect to Professional Claims, March 26, 2021, 5:00 p.m. prevailing Central Time; or (3) with
respect to Royalty and Working Interests Administrative Claims, June 9, 2021, 5:00 p.m.
prevailing Central Time. Holders of Administrative Claims that are required to file and serve a
request for payment of such Administrative Claims that do not file and serve such a request by the
Administrative Claims Bar Date shall be forever barred, estopped, and enjoined from asserting
such Administrative Claims against the Debtors, or their property and such Administrative Claims
shall be deemed discharged as of the Effective Date.

        PLEASE TAKE FURTHER NOTICE that, unless otherwise provided by an order of the
Bankruptcy Court, any Proofs of Claim based upon the rejection of the Debtors’ Executory
Contracts or Unexpired Leases pursuant to the Plan and the Confirmation Order must be filed
within thirty (30) days after the later of: (1) the entry of an order of the Bankruptcy Court
(including the Confirmation Order) approving such rejection; and (2) the effective date of such
rejection.

        PLEASE TAKE FURTHER NOTICE that the Plan and its provisions are binding on the
Debtors, the Reorganized Debtors, any holder of a Claim against, or interest in, the Debtors and
such holder’s respective successors and assigns, notwithstanding whether or not such holder
(1) will receive any property or interest in property under the Plan, or (2) has filed a Proof of Claim
or interest in the Chapter 11 Cases, or (3) failed to vote to accept or reject the Plan or affirmatively
voted to reject the Plan.




                            [Remainder of page intentionally left blank]




                                                   2
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1257 of 1639
                                                                         1257



Houston, Texas
February 9, 2021

/s/ Matthew D. Cavenaugh
JACKSON WALKER L.L.P.                        KIRKLAND & ELLIS LLP
Matthew D. Cavenaugh (TX Bar No. 24062656)   KIRKLAND & ELLIS INTERNATIONAL LLP
Jennifer F. Wertz (TX Bar No. 24072822)      Patrick J. Nash, Jr., P.C. (admitted pro hac vice )
Kristhy M. Peguero (TX Bar No. 24102776)     Marc Kieselstein, P.C. (admitted pro hac vice )
Veronica A. Polnick (TX Bar No. 24079148)    Alexandra Schwarzman (admitted pro hac vice)
1401 McKinney Street, Suite 1900             300 North LaSalle Street
Houston, Texas 77010                         Chicago, Illinois 60654
Telephone:      (713) 752-4200               Telephone: (312) 862-2000
Facsimile:      (713) 752-4221               Facsimile: (312) 862-2200
Email:          mcavenaugh@jw.com            Email:        patrick.nash@kirkland.com
                jwertz@jw.com                              marc.kieselstein@kirkland.com
                kpeguero@jw.com                            alexandra.schwarzman@kirkland.com
                vpolnick@jw.com

Co-Counsel to the Debtors                    Co-Counsel to the Debtors
and Debtors in Possession                    and Debtors in Possession
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1258 of 1639
                                                                         1258



                                     Certificate of Service

        I certify that on February 9, 2021, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                                      /s/ Matthew D. Cavenaugh
                                                      Matthew D. Cavenaugh
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1259 of 1639
                                                                            1259



                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

                                                                        §
    In re:                                                              §      Chapter 11
                                                                        §
    CHESAPEAKE ENERGY CORPORATION, et al.,1                             §      Case No. 20-33233 (DRJ)
                                                                        §
                                       Reorganized Debtors.             §      (Jointly Administered)
                                                                        §

                        REORGANIZED DEBTORS’ MOTION FOR
                 ENTRY OF ORDERS (I) AUTHORIZING AND APPROVING
             (A) THE PA AG SETTLEMENT, (B) THE MEC SETTLEMENT, AND
        (C) THE NON-MEC SETTLEMENT, AND (II) GRANTING RELATED RELIEF


             This motion seeks an order that may adversely affect you. If you oppose the motion, you
             should immediately contact the moving party to resolve the dispute. If you and the moving
             party cannot agree, you must file a response and send a copy to the moving party. You must
             file and serve your response within 21 days of the date this was served on you. Your response
             must state why the motion should not be granted. If you do not file a timely response, the
             relief may be granted without further notice to you. If you oppose the motion and have not
             reached an agreement, you must attend the hearing. Unless the parties agree otherwise, the
             Court may consider evidence at the hearing and may decide the motion at the hearing.
             Represented parties should act through their attorney.

             The above-captioned reorganized debtors (collectively, the “Reorganized Debtors” or

“Chesapeake”)2 respectfully state the following in support of this motion:




1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/chesapeake. The location of Debtor Chesapeake Energy
      Corporation’s principal place of business and the Debtors’ service address in these chapter 11 cases is 6100 North
      Western Avenue, Oklahoma City, Oklahoma 73118.
2     A detailed description of the Debtors and their businesses, and the facts and circumstances supporting the Debtors’
      chapter 11 cases, are set forth in greater detail in the Declaration of Domenic J. Dell’Osso, Jr., Executive Vice
      President and Chief Financial Officer of Chesapeake Energy Corporation in Support of Chapter 11 Petitions
      and First Day Motions [Docket No. 37] (the “First Day Declaration”), filed contemporaneously with the Debtors’
      voluntary petitions for relief filed under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”),
      on June 28, 2020 (the “Petition Date”).
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1260 of 1639
                                                                         1260



                                     Preliminary Statement

       1.      The PA AG Settlement, the MEC Settlement, and the Non-MEC Settlement

represent global resolution of royalty-related litigation and disputes in Pennsylvania.        The

Settlement Agreements resolve three interconnected lawsuits— the Demchak class action (referred

to as the “MEC” Action), the Brown-Suessenbach class action (referred to as the “Non-MEC”

Action) and the related state-court action initiated by the Commonwealth of Pennsylvania (referred

to as the “AG” Action)—concerning alleged royalty underpayments to Pennsylvania oil and gas

lessors. The Settlement Agreements will reset Chesapeake’s relationship with its Pennsylvania

lessors by providing Chesapeake royalty owners in Pennsylvania the ability (a) to select the

method by which their royalties are calculated and (b) to realize an immediate benefit from the

settlement payments under the Settlement Agreements. Of course, the Settlement Agreements will

also avoid protracted and costly litigation and position the newly-emerged Reorganized Debtors

and Pennsylvania lessors for continued growth and long-term mutual success.

       2.      The Reorganized Debtors seek two primary approvals. First, the Reorganized

Debtors request final approval of the PA AG Settlement, which addresses the state-court action

initiated by the Commonwealth of Pennsylvania. Second, the Reorganized Debtors request that

the Court apply Bankruptcy Rule 7023, and, by incorporation, Civil Rule 23, with respect to the

MEC Settlement and the Non-MEC Settlement, which address the Demchak and

Brown-Suessenbach class action lawsuits. The Reorganized Debtors seek to implement the MEC

Settlement and the Non-MEC Settlement on a class-wide basis—despite the fact that no class

proofs of claim were filed and regardless of whether an individual lessor filed a proof of claim—

in order to provide all Pennsylvania lessors with the opportunity to participate in the settlements

and, importantly, to choose their go-forward royalty calculation method, thus resolving the root

cause of the royalty disputes. To assure due process, Chesapeake seeks evaluation and final


                                                2
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1261 of 1639
                                                                         1261



approval of the MEC Settlement and the Non-MEC Settlement through two stages, consistent with

the notice requirements of Civil Rule 23. Initially, the Court would preliminarily approve the

MEC Settlement and the Non-MEC Settlement and approve the form and manner of notice to be

provided to the respective Settlement Class under each agreement (each, a “Settlement Notice”).

The Settlement Administrator would in turn serve the Settlement Notice, which would apprise the

respective Settlement Class Members of their ability to object to, or opt out of, the terms of the

MEC Settlement or the Non-MEC Settlement at the settlement fairness hearing. Chesapeake also

requests that the Court schedule a settlement fairness hearing, at which any respective Settlement

Class Members who objected to either the MEC Settlement or the Non-MEC Settlement may

appear and present any such objections. Later, the Court would hold the final settlement fairness

hearing and, following such hearing, enter orders finally approving the MEC Settlement and the

Non-MEC Settlement and granting other related relief.

       3.      Chesapeake believes that the Settlement Agreements are in the best interests of the

Reorganized Debtors’ estates, the Commonwealth, all respective Settlement Class Members, and

all other parties in interest. Accordingly, the Court should finally approve the PA AG Settlement

and approve the Preliminary Approval Orders and, following the settlement fairness hearing, the

Final Approval Orders granting the relief requested in this motion.

                                        Relief Requested

       4.      The Reorganized Debtors seek entry of an order, substantially in the form attached

hereto as Exhibit 1 (the “PA AG Settlement Order”): (a) authorizing and approving on a final

basis, the settlement agreement by and among Chesapeake Energy Corporation, Chesapeake

Appalachia, L.L.C., Chesapeake Operating, L.L.C., and Chesapeake Energy Marketing, L.L.C.

and the Commonwealth of Pennsylvania (the “Commonwealth”), through the Pennsylvania Office




                                                3
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1262 of 1639
                                                                         1262



of Attorney General (the “PA AG”), attached hereto as Exhibit 2 (the “PA AG Settlement”), and

(b) granting related relief.

        5.      The Reorganized Debtors also seek entry of orders, substantially in the forms set

forth in the MEC Settlement and the Non-MEC Settlement (collectively, the “Preliminary

Approval Orders”):

                a.    authorizing and approving:

                         on a preliminary basis, the settlement agreement by and among
                          Chesapeake Appalachia, L.L.C. and the named plaintiffs and plaintiffs-
                          intervenors in Demchak Partners Limited Partnership, et. al. v.
                          Chesapeake Appalachia, L.L.C., No. 3:13-cv-2289 (“Demchak”), on
                          behalf of themselves and as putative class representatives, attached hereto
                          as Exhibit 3 (the “MEC Settlement”); and

                         on a preliminary basis, the settlement agreement by and among
                          Chesapeake Energy Corporation and the named plaintiffs in Brown v.
                          Access Midstream Partners, LP., No. 3: l 4-cv-00591-MEM (M.D. Pa.)
                          (“Brown”) and in Suessenbach Family Limited Partnership v. Access
                          Midstream Partners, L. P., No. 3: 14-cv- 01197 (M.D. Pa.)
                          (“Suessenbach,” and together with Demchak and Brown, the “Class
                          Royalty Litigation”), on behalf of themselves and as putative class
                          representatives, attached hereto as Exhibit 4 (the “Non-MEC
                          Settlement,” and together with the PA AG Settlement and the MEC
                          Settlement, the “Settlement Agreements”);

                b.    approving the form of Settlement Notice as set forth in each of the MEC
                      Settlement and the Non-MEC Settlement;

                c.    setting the settlement fairness hearing; and

                d.    granting related relief.

        6.      Finally, the Reorganized Debtors seek entry of orders, substantially in the forms set

forth in the Non-MEC Settlement and the MEC Settlement (the “Final Approval Orders”):

(a) authorizing and approving the MEC Settlement and the Non-MEC Settlement on a final basis;




                                                   4
    Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1263 of 1639
                                                                           1263



and (b) granting related relief. The Reorganized Debtors seek entry of the Final Approval Orders

after the settlement fairness hearing.3

                                           Jurisdiction and Venue

         7.       The United States Bankruptcy Court for the Southern District of Texas

(the “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This is a core

proceeding pursuant to 28 U.S.C. § 157(b). The Reorganized Debtors confirm their consent,

pursuant to rule 7008 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), to

the entry of a final order by the Court in connection with this motion to the extent that it is later

determined that the Court, absent consent of the parties, cannot enter final orders or judgments in

connection herewith consistent with Article III of the United States Constitution.

         8.       Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

         9.       The bases for the relief requested herein are sections 105(a) and 363(b) of the

Bankruptcy Code, Bankruptcy Rules 2002, 7023, and 9019, and rule 23 of the Federal Rules of

Civil Procedure (“Civil Rule 23”).




3    The Reorganized Debtors reserve the right to submit additional briefing in support of the Final Approval Orders.

     Chesapeake and plaintiffs’ counsel have signed the MEC and Non-MEC Private Settlement agreements. Counsel
     expects additional signatures from certain royalty owners will be added to those settlements in the future.



                                                          5
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1264 of 1639
                                                                            1264



                                          Background

        10.    As the Court knows from prior briefing and oral arguments, private Pennsylvania

landowners initiated several lawsuits against Chesapeake alleging that Chesapeake underpaid

royalties due to them under various oil and gas leases. These lawsuits are the MEC and Non-MEC

lawsuits. The Attorney General of Pennsylvania also filed a lawsuit seeking substantially similar

relief from Chesapeake for Pennsylvania landowners. Below is a summary of the actions used

previously at oral argument before the Court.




I.      The Class Royalty Litigation.

        11.    As the Court knows from prior briefings and arguments, in 2013 and 2014, private

Pennsylvania landowners initiated several lawsuits against Chesapeake alleging that Chesapeake

underpaid royalties due to them under various oil and gas leases.




                                                6
    Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1265 of 1639
                                                                           1265



         12.     Demchak. The Demchak plaintiffs, as lessors, and Chesapeake Appalachia, L.L.C.,

as lessee, are parties to oil and gas leases governing leaseholds in Pennsylvania.4 On August 30,

2013, the Demchak plaintiffs initiated a lawsuit on behalf of a putative class of oil and gas lessors

in Pennsylvania, alleging that Chesapeake, among other things, underpaid royalties by improperly

deducting post-production costs. Chesapeake denies those claims and further denies that its

royalty payment practices are or were improper. Chesapeake believes it paid royalties consistent

with the leases and Pennsylvania law.

         13.     Brown-Suessenbach.            The Brown-Suessenbach plaintiffs, as lessors, and

Chesapeake Appalachia, L.L.C., as lessee, are parties to oil and gas leases governing leaseholds in

Pennsylvania.5 On March 28, 2014, the Brown plaintiffs initiated a lawsuit on behalf of a putative

class of oil and gas lessors in Pennsylvania, and on June 20, 2014, the Suessenbach plaintiffs

initiated a similar lawsuit. Both Brown and Suessenbach allege that Chesapeake, among other

things, underpaid royalties by improperly deducting inflated post-production costs and engaged in

a purported scheme with Access Midstream Partners, L.P. to charge landowners artificially inflated

and supra-competitive rates for certain post-production services. Chesapeake denies the plaintiffs’

claims that the post-production costs are or were inflated and further denies that its royalty payment

practices are or were improper. Chesapeake believes it paid royalties consistent with the leases

and Pennsylvania law.




4    The leases implicated in the MEC Settlement contain Market Enhancement Clauses and Ready for Sale or Use
     Clauses.
5    The leases implicated in the Non-MEC Settlement do not contain Market Enhancement Clauses or Ready for Sale
     or Use Clauses.



                                                       7
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1266 of 1639
                                                                         1266



II.     The PA AG Litigation.

        14.    On December 9, 2015, the Commonwealth, through the PA AG, initiated its own

state-court lawsuit styled Commonwealth of Pennsylvania v. Chesapeake Energy Corporation,

No. 2015IR0069 (the “PA AG Litigation”), in the Bradford County, Pennsylvania Court of

Common Pleas against Chesapeake Energy Corporation, Chesapeake Appalachia, L.L.C.,

Chesapeake Operating, L.L.C., and Chesapeake Energy Marketing, L.L.C., seeking substantially

similar relief for the same Pennsylvania lessors that are plaintiffs in the Class Royalty Litigation.

The PA AG filed a Second Amended Complaint on May 3, 2016, alleging that Chesapeake

violated the Pennsylvania Unfair Trade Practices and Consumer Protection Law and Pennsylvania

antitrust common law through unfair and/or deceptive acts or practices concerning inflated

midstream prices, leasing practices at the formation and post-formation stages, improper

deductions from royalty payments, and an undisclosed market allocation agreement in the

Marcellus Shale. Chesapeake denies the Commonwealth’s allegations as a factual matter and

denies that the Commonwealth’s allegations are cognizable as a legal matter.

III.    The Chapter 11 Cases.

        15.    On June 28, 2020, the Debtors filed for relief under chapter 11 of the Bankruptcy

Code.

        16.    On December 28, 2020, the PA AG filed Claim Nos. 4672, 4673, 4675, and 4683

related to the PA AG Litigation.

        17.    Although no class proofs of claim were filed on behalf of the putative classes

involved in the Class Royalty Litigation, approximately 161 proofs of claim were filed by

individual Pennsylvania lessors related to the conduct alleged in the Class Royalty Litigation.

        18.    On January 13, 2021, the Court confirmed the Debtors’ plan of reorganization

(the “Plan”), memorializing that decision in an order filed on January 16, 2021 (the “Confirmation


                                                 8
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1267 of 1639
                                                                         1267



Order”). Order Confirming Fifth Am. Joint Ch. 11 Plan of Reorganization of Chesapeake Energy

Corp. & Its Debtor Affiliates [Docket No. 2915].

       19.     The Debtors substantially consummated the Plan on February 9, 2021

(the “Effective Date”). Notice of Entry of Order Confirming the Fifth Amended Joint Chapter 11

Plan of Reorganization of Chesapeake Energy Corporation and Its Debtor Affiliates [Docket

No. 3058].

       20.     On February 9, 2021, after good-faith and arms’ length negotiations, the

Reorganized Debtors and the PA AG entered into the PA AG Settlement.

       21.     On March 4, 2021, after good-faith and arms’ length negotiations, the Reorganized

Debtors and the Demchak plaintiffs finalized the MEC Settlement.

       22.     On March 4, 2021, after good-faith and arms’ length negotiations the Reorganized

Debtors and the Brown and Suessenbach plaintiffs finalized the Non-MEC Settlement.

       23.     All capitalized terms used in this motion but not otherwise defined herein have the

meanings ascribed to such terms in the PA AG Settlement, the MEC Settlement, and the Non-MEC

Settlement, as applicable.

                                  The Settlement Agreements

       24.     Collectively, the Settlement Agreements resolve all royalty-related litigation and

disputes in Pennsylvania, resulting in a fundamental reset of Chesapeake’s relationship with its

Pennsylvania lessors.




                                                9
    Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1268 of 1639
                                                                           1268



IV.       The PA AG Settlement.

          25.      Under the terms of the PA AG Settlement:6

                   a.        Chesapeake shall not use the Market Enhancement Clause or Ready for
                             Sale or Use Clause in future leases.

                   b.        Chesapeake shall offer Pennsylvania Landowners with Market
                             Enhancement Clauses or Ready for Sale or Use Clauses the opportunity to
                             have their Gas Royalties paid at the higher of the In-Basin Price without
                             Post-Production Deductions or the Netback Price.

                   c.        Chesapeake shall offer Pennsylvania Landowners with Non-MEC leases
                             the opportunity to have their Gas Royalties paid at the In-Basin Price
                             without Post-Production Deductions or the Netback Price.

                   d.        Chesapeake has certain leases which expressly prohibit Post-Production
                             Deductions (which are not contained in the MEC or RFSU Lease
                             categories). Chesapeake believes it is not taking any prohibited Post-
                             Production Deductions from such leases. If Chesapeake discovers it is
                             taking prohibited Post-Production Deductions from such leases, it will
                             discontinue doing so.

                   e.        Chesapeake shall pay $5,300,000 to the Commonwealth, which shall be
                             distributed to Pennsylvania Lessors.

                   f.        Chesapeake shall pay $350,000 to the PA AG towards reimbursement of
                             costs related to the PA AG Litigation.

                   g.        Chesapeake shall comply with certain reporting requirements as set forth
                             in the PA AG Settlement, including semi-annually publishing the monthly
                             In-Basin Price on its royalty owner website.

                   h.        Chesapeake shall, jointly with the PA AG, appoint an Ombudsman to assist
                             in resolution of any issues, questions or complaints raised by Pennsylvania
                             Landowners and assist the PA AG with ensuring compliance with the
                             settlement’s terms.

                   i.        The Commonwealth shall release Chesapeake for all claims and actions
                             that were brought or that could have been brought based on the allegations
                             contained in the PA AG Litigation, except for any criminal, tax and
                             environmental claims.


6     The following summary is provided for illustrative purposes only and is qualified in its entirety by reference to
      the PA AG Settlement. In the event of any inconsistency between this summary and the PA AG Settlement, the
      PA AG Settlement controls in all respects. Further, this summary shall not be used to construe or interpret the
      terms of the PA AG Settlement or intent of the parties thereto.



                                                          10
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1269 of 1639
                                                                            1269



                   j.        Chesapeake and the PA AG agree that any claims (as defined by
                             section 101(5) of the Bankruptcy Code) against Chesapeake held by the
                             Commonwealth, except for any criminal, tax and environmental claims,
                             shall be deemed satisfied and released and any Settled Claims filed in the
                             Chapter 11 cases shall be discharged and expunged from the claims
                             registrar without any further order of the Bankruptcy Court.

V.        The MEC Settlement.

          26.      Under the terms of the MEC Settlement:7

                   a.       Within fifteen (15) days after the Court’s entry of the Preliminary Approval
                            Order or a date otherwise established by the Court, the Settlement
                            Administrator shall provide the Settlement Notice to the Settlement Class
                            in the manner approved by the Court, which Settlement Notice shall include
                            mailing the Settlement Notice by first-class mail, postage pre-paid, to
                            individuals and entities who are in the Settlement Class and for whom
                            Chesapeake has addresses available from its business records. In addition,
                            Chesapeake shall send a timely and proper notice(s) of this Settlement to all
                            appropriate federal and state officials as required by the Class Action
                            Fairness Act of 2005 (“CAFA”), including under 28 U.S.C. §1715, if
                            necessary.

                   b.       Chesapeake shall pay $5,000,000 in Settlement Funds, to be distributed to
                            the Settlement Class in accordance with the Final Approval Order.

                   c.       Chesapeake shall pay all Settlement Administrative Costs.

                   d.       Chesapeake shall have no obligation whatsoever to pay any Attorneys’ Fees
                            of Plaintiffs, Class Counsel, or Settlement Class Members, or any Incentive
                            Award Payments to Plaintiffs.

                   e.       Each Settlement Class Member shall be provided the opportunity to make
                            an election concerning how Chesapeake (and its affiliates, successors, and
                            assigns) will calculate and pay Gas Royalties to such Settlement Class
                            Member and its successors and assigns after the Settlement Effective Date
                            occurs, pursuant to such Settlement Class Member’s Pennsylvania Leases
                            in which Chesapeake currently owns an interest.

                   f.       Each Plaintiff and Settlement Class Member hereby releases the Settled
                            Claims and any and all claims that Chesapeake is obligated to pay them
                            royalties under their Pennsylvania Leases in any manner other than the

7     The following summary is provided for illustrative purposes only and is qualified in its entirety by reference to
      the MEC Settlement. In the event of any inconsistency between this summary and the MEC Settlement, the MEC
      Settlement controls in all respects. Further, this summary shall not be used to construe or interpret the terms of
      the MEC Settlement or intent of the parties thereto.



                                                           11
    Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1270 of 1639
                                                                           1270



                            Election under Paragraph 6 of the MEC Settlement (including, but not
                            limited to, the Settled Claims). Plaintiffs and the Settlement Class Members
                            further agree that they fully and forever release and discharge all working
                            interest owners on whose behalf Chesapeake has paid or will pay Royalties
                            pursuant to Pennsylvania Leases from any and all of the Settled Claims, but
                            do so only to the limited extent of Chesapeake’s payments of Gas Royalties
                            on behalf of such working interest owners.

                   g.       Each of the Plaintiffs and the Settlement Class Members agree that any
                            claims (as defined by section 101(5) of the Bankruptcy Code) against
                            Chesapeake held by such Plaintiffs or Settlement Class Members shall be
                            deemed satisfied and released and any Settled Claims filed in the
                            Bankruptcy Cases shall be discharged and expunged from the claims
                            registrar without any further order of the Bankruptcy Court.

VI.       The Non-MEC Settlement.

          27.      Under the terms of the Non-MEC Settlement:8

                   a.       Within fifteen (15) days after the Court’s entry of the Preliminary Approval
                            Order or a date otherwise established by the Court, the Settlement
                            Administrator shall provide the Settlement Notice to the Settlement Class
                            in the manner approved by the Court, which Settlement Notice shall include
                            mailing the Settlement Notice by first-class mail, postage pre-paid, to
                            individuals and entities who are in the Settlement Class and for whom
                            Chesapeake has addresses available from its business records. In addition,
                            Chesapeake shall send a timely and proper notice(s) of this Settlement to all
                            appropriate federal and state officials as required by CAFA, including under
                            28 U.S.C. §1715, if necessary.

                   b.       Chesapeake shall pay $1,250,000 in Settlement Funds, to be distributed to
                            the Settlement Class in accordance with the Final Approval Order.

                   c.       Chesapeake shall pay all Settlement Administrative Costs.

                   d.       Chesapeake shall have no obligation whatsoever to pay any Attorneys’ Fees
                            of Plaintiffs, Class Counsel, or Settlement Class Members, or any Incentive
                            Award Payments to Plaintiffs.

                   e.       Each Settlement Class Member shall be provided the opportunity to make
                            an election concerning how Chesapeake (and its affiliates, successors, and
                            assigns) will calculate and pay Gas Royalties to such Settlement Class

8     The following summary is provided for illustrative purposes only and is qualified in its entirety by reference to
      the Non-MEC Settlement. In the event of any inconsistency between this summary and the Non-MEC Settlement,
      the Non-MEC Settlement controls in all respects. Further, this summary shall not be used to construe or interpret
      the terms of the Non-MEC Settlement or intent of the parties thereto.



                                                          12
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1271 of 1639
                                                                         1271



                       Member and its successors and assigns after the Settlement Effective Date
                       occurs, pursuant to such Settlement Class Member’s Pennsylvania Leases
                       in which Chesapeake currently owns an interest.

               f.      Each Plaintiff and Settlement Class Member hereby releases the Settled
                       Claims and any and all claims that Chesapeake is obligated to pay them
                       royalties under their Pennsylvania Leases in any manner other than the
                       Election under Paragraph 6 of the Non-MEC Settlement (including, but not
                       limited to, the Settled Claims). Plaintiffs and the Settlement Class Members
                       further agree that they fully and forever release and discharge all working
                       interest owners on whose behalf Chesapeake has paid or will pay Royalties
                       pursuant to Pennsylvania Leases from any and all of the Settled Claims, but
                       do so only to the limited extent of Chesapeake’s payments of Gas Royalties
                       on behalf of such working interest owners.

               g.      Each of the Plaintiffs and the Settlement Class Members agree that any
                       claims (as defined by section 101(5) of the Bankruptcy Code) against
                       Chesapeake held by such Plaintiffs or Settlement Class Members shall be
                       deemed satisfied and released and any Settled Claims filed in the
                       Bankruptcy Cases shall be discharged and expunged from the claims
                       registrar without any further order of the Bankruptcy Court.

       28.     The Reorganized Debtors believe the Settlement Agreements are in the best

interests of the Reorganized Debtors and their estates. Specifically, the Settlement Agreements

address the root cause of the PA AG Litigation and the Class Royalty Litigation by allowing all

putative class members to elect how their royalties are calculated on a go-forward basis. As a

result, the Reorganized Debtors believe the settlements will reduce the likelihood and attendant

cost and distraction of future royalty related litigation. In addition, the PA AG Settlement resolves

any dispute regarding the dischargeability of the PA AG Litigation—wherein the PA AG sought

to require Chesapeake to forfeit its right to engage in certain business activities until the company

paid all alleged restitution, costs and civil penalties—thus preserving Chesapeake’s ability to

continue operating in the Commonwealth. Accordingly, to finally resolve Chesapeake’s disputes

with the Commonwealth and Pennsylvania lessors, the Reorganized Debtors seek authorization

and approval of the Settlement Agreements.




                                                 13
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1272 of 1639
                                                                            1272



                                           Basis for Relief

I.      Settlements Are Favored in Bankruptcy, and the Debtors’ Business Judgment Is
        Given Significant Deference.

        29.    Bankruptcy Rule 9019(a) provides, in relevant part:

               On motion by the [debtor in possession] and after notice and a
               hearing, the court may approve a compromise or settlement. Notice
               shall be given to creditors, the United States trustee . . . and indenture
               trustee as provided in Rule 2002 and to any other entity as the court
               may direct.

Fed. R. Bankr. P. 9019(a).

        30.    “To minimize litigation and expedite the administration of a bankruptcy estate,

compromises are favored in bankruptcy.” Myers v. Martin (In re Martin), 91 F.3d 389, 393

(3d Cir. 1996) (internal quotations omitted) (citing 9 Collier on Bankruptcy ¶ 9019.03[1]

(15th ed. 1993)). Settlements are considered a “normal part of the process of reorganization” and

a “desirable and wise method[] of bringing to a close proceedings otherwise lengthy, complicated,

and costly.” Rivercity v. Herpel (In re Jackson Brewing Co.), 624 F.2d 599, 602 (5th Cir. 1980)

(citations omitted) (decided under the Bankruptcy Act).

        31.    Pursuant to Bankruptcy Rule 9019(a), a bankruptcy court may, after appropriate

notice and a hearing, approve a compromise or settlement so long as the proposed settlement is

fair, reasonable, and in the best interest of the estate. See In re Age Ref. Inc., 801 F.3d 530, 540

(5th Cir. 2015). Ultimately, approval of a compromise is within the “sound discretion” of the

bankruptcy court. United States v. AWECO, Inc. (In re AWECO, Inc.), 725 F.2d 293, 298

(5th Cir. 1984); see also Jackson Brewing Co., 624 F.2d at 602–03 (same).

        32.    Generally, the role of the bankruptcy court is not to decide the issues in dispute

when evaluating a settlement. Watts v. Williams, 154 B.R. 56, 59 (S.D. Tex. 1993). Instead, the




                                                  14
    Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1273 of 1639
                                                                           1273



court should determine whether the settlement as a whole is fair and equitable. Protective Comm.

for Indep. Stockholders of TMT Trailer Ferry, Inc. v. Anderson, 390 U.S. 414, 424 (1968).9

          33.      “Great judicial deference is given to the [debtor’s] exercise of business judgment.”

GBL Holding Co., Inc. v. Blackburn/Travis/Cole, Ltd. (In re State Park Bldg. Grp., Ltd.),

331 B.R. 251, 254 (Bankr. N.D. Tex. 2005) (citation omitted). “As long as [the decision] appears

to enhance a debtor’s estate, court approval of a debtor-in-possession’s decision . . . should only

be withheld if the debtor’s judgment is clearly erroneous, too speculative, or contrary to the

provisions of the Bankruptcy Code.” Richmond Leasing Co., 762 F.2d 1303, 1309 (5th Cir. 1985)

(citation omitted).

II.       The Settlement Agreements Satisfy the Three-Factor Test Courts in the Fifth Circuit
          Employ to Analyze Proposed Settlements.

          34.      The Fifth Circuit has established a three-factor balancing test under which

bankruptcy courts are to analyze proposed settlements. The factors a court must consider in

determining whether a compromise is “fair, equitable, and in the best interest of the estate” are:

“(1) [t]he probability of success in litigating the claim subject to settlement, with due consideration

for the uncertainty in fact and law; (2) [t]he complexity and likely duration of litigation and any

attendant expense, inconvenience, and delay; and (3) [a]ll other factors bearing on the wisdom of

the compromise.” In re Roqumore, 393 B.R. 474, 479 (Bankr. S.D. Tex. 2008) (citing the factors

set forth by the court in Jackson Brewing); see also Age Ref. Inc., 801 F.3d at 540 (same).




9     Further, under section 105(a) of the Bankruptcy Code, the Court “may issue any order, process, or judgment that
      is necessary or appropriate to carry out the provisions of [the Bankruptcy Code].” Authorizing the Reorganized
      Debtors to proceed with the Settlement Agreements falls squarely within the spirit of Bankruptcy Rule 9019, if
      not the letter, as well as the Bankruptcy Code’s predilection for compromise. Thus, to the extent necessary,
      section 105(a) relief is appropriate in this instance and would best harmonize the settlement processes
      contemplated by the Bankruptcy Code.



                                                         15
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1274 of 1639
                                                                         1274



       35.     Under the rubric of the third factor referenced above, the Fifth Circuit has specified

two additional factors that bear on the decision to approve a proposed settlement. First, the court

should consider “the paramount interest of creditors with proper deference to their reasonable

views.” Conn. Gen. Life Ins. Co. v. United Cos. Fin. Corp. (Matter of Foster Mortg. Corp.),

68 F.3d 914, 917 (5th Cir. 1995); see also Age Ref. Inc., 801 F.3d at 540 (noting the Foster

Mortgage factors). “While the desires of the creditors are not binding, a court ‘should carefully

consider the wishes of the majority of the creditors.’” Foster Mortg. Corp., 68 F.3d at 917 (quoting

In re Transcon. Energy Corp., 764 F.2d 1296, 1299 (9th Cir. 1985)). Second, the court should

consider the “extent to which the settlement is truly the product of arms-length bargaining, and not

of fraud or collusion.” Age Ref. Inc., 801 F.3d at 540; Foster Mortg. Corp., 68 F.3d at 918

(citations omitted).

       A.      The Reorganized Debtors Face Exposure in Excess of the Settlement
               Payments.

       36.     Although the Reorganized Debtors believe that the claims related to the PA AG

Litigation were discharged on the Effective Date pursuant to the Plan and the Confirmation Order,

the PA AG Settlement resolves any dispute regarding the dischargeablity of the PA AG Litigation.

While the Reorganized Debtors believe there is a high probability of success in litigation related

to the discharageabilty, as well as the merits, of the PA AG Litigation, resolution of these matters

would rest in a court’s discretion. Moreover, should Chesapeake not succeed in the litigation, the

Reorganized Debtors may be required to pay more in restitution, costs, and civil penalties—and

jeopardize their ability to conduct business in the Commonwealth—than the approximately

$5,650,000 in settlement payments contemplated under the PA AG Settlement.

       37.     Similarly, the claims related to Class Royalty Litigation were discharged on the

Effective Date pursuant to the Plan and the Confirmation Order. However, the MEC Settlement



                                                16
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1275 of 1639
                                                                         1275



and the Non-MEC Settlement reduce the likelihood of future royalty related litigation by allowing

all putative class members to elect how their royalties are calculated on a go-forward basis. The

Reorganized Debtors, in their reasonable business judgment, believe that the approximately

$5,000,000 settlement payment contemplated under the MEC Settlement and the approximately

$1,250,000 settlement payment contemplated under the Non-MEC Settlement are likely less than

the attendant cost and possible liability of potential future royalty related litigation, including

potential class action litigation.

        B.      Ongoing and Potential Future Litigation Would Be Complex and Result in
                Delay and Distraction.

        38.     With respect to “the complexity and likely duration of litigation and any attendant

expense, inconvenience, and delay,” further claims litigation and potential future royalty related

litigation in Pennsylvania likely would be costly and time consuming, involving drafting and filing

motions and preparing for trial. Specifically, absent the PA AG Settlement, the Reorganized

Debtors face continued litigation with the PA AG regarding the dischargeability—and, if

nondischargebale, the merits—of the PA AG Litigation. Absent the MEC Settlement and the

Non-MEC Settlement, the Reorganized Debtors face claims litigation with individual

Pennsylvania lessors, as well as future potential class litigation related to the calculation of

royalties. All such litigation would distract from the Reorganized Debtors’ business operations

and claims administration process, as well as threaten the relationship between Chesapeake and its

Pennsylvania lessors.

        C.      The Settlement Agreements Are in the Best Interests of Creditors.

        39.     The Settlement Agreements will provide all stakeholders with certainty regarding

the resolution of the disputes between Chesapeake and the Commonwealth and the Class Royalty

Litigation plaintiffs and putative class members.      The Settlement Agreements constitute a



                                                17
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1276 of 1639
                                                                         1276



fundamental reset of Chesapeake’s relationship with its Pennsylvania lessors, obviating the need

for further claims litigation and future potential class action litigation and preserving the

Reorganized Debtors’ interests in the Pennsylvania leases. The PA AG Settlement additionally

preserves the Reorganized Debtors’ ability to continue conducting business in the Commonwealth.

Further, the Settlement Agreements arise out of arm’s-length bargaining between the Reorganized

Debtors and the Commonwealth and the Class Royalty Litigation plaintiffs.

        40.     Based on the foregoing considerations, the Settlement Agreements represent fair

and reasonable compromises that are in the best interest of the Reorganized Debtors’ estates.

Accordingly, the Court should authorize and approve the PA AG Settlement on a final basis, and

the MEC Settlement and the Non-MEC Settlement (a) on a preliminary basis as set forth in the

Preliminary Approval Orders and (b) following the settlement fairness hearing, on a final basis as

set forth in the Final Approval Orders.

III.    The MEC Settlement and the Non-MEC Settlement Satisfy the Requirements of Civil
        Rule 23.

        41.     Civil Rule 23(e) provides that “[t]he claims, issues, or defenses of a certified class

may be settled, voluntarily dismissed, or compromised only with the court’s approval.”

Fed. R. Civ. P. 23(e). Final approval of a settlement pursuant to Civil Rule 23(e) turns on whether

the settlement is “fair, reasonable, and adequate.” Fed. R. Civ. P. 23(e)(2); Cotton v. Hinton, 559

F.2d 1326, 1330 (5th Cir. 1977); In re Shell Oil Refinery, 155 F.R.D. 552, 555 (E.D. La. 1993);

DeHoyos v. Allstate Corp., 240 F.R.D. 269, 285–86 (W.D. Tex. 2007). “The general rule

applicable to the court’s exercise of its discretion in deciding the fairness of a proposed [settlement

of a] class action is that the court must ensure that the settlement is in the interest of the class, does

not unfairly impinge on the rights and interests of dissenters, and does not merely mantle

oppression.” DeHoyos, 240 F.R.D. at 286 (internal citations omitted) (quoting Garza v. Sporting



                                                   18
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1277 of 1639
                                                                         1277



Goods Properties, Inc., No. CIV. A. SA-93-CA-108, 1996 WL 56247, at *11 (W.D. Tex. Feb. 6,

1996)). “[T]here is a strong presumption in favor of finding the settlement fair.” Id. Furthermore,

“the proposed settlement is not required to achieve some hypothetical standard constructed by

imagining every benefit that might someday be obtained in a contested matter,” but instead the

“[c]ourt may rely on the judgement of experienced counsel for the parties.” Id.

       42.     The Fifth Circuit has held that the following six factors are relevant in determining

whether a proposed class settlement is fair, reasonable, and adequate: “(1) the existence of fraud

or collusion behind the settlement; (2) the probability of plaintiffs’ success on the merits; (3) the

range of possible recovery; (4) the complexity, expense and likely duration of the litigation; (5) the

stage of the proceedings and the amount of discovery completed; and (6) the opinions of the class

counsel, class representatives, and absent class members.” Reed v. Gen. Motors Corp., 703 F.2d

170, 172 (5th Cir. 1983) (citing Parker v. Anderson, 667 F.2d 1205, 1209 (5th Cir. 1982)); In re

Katrina Canal Breaches Litigation, 628 F.3d 185, 194-95 (5th Cir. 2010) (citing Newby v. Enron

Corp., 394 F.3d 296, 301 (5th Cir. 2004)); cf. In re TD Banknorth, 938 A.2d 654, 658 (Del. Ch.

2007) (“an evaluation of whether a settlement is fair and reasonable” “requires balancing the

strengths of the claims being compromised against the benefits the settlement provides to

the class members.”). The Reed factors strongly support approval of the MEC Settlement and the

Non-MEC Settlement.

       43.     First, as noted herein, both the MEC Settlement and the Non-MEC Settlement arise

out of serious, informed, arms’-length bargaining between Chesapeake and the Class Royalty

Litigation plaintiffs. There is no evidence that either the MEC Settlement or the Non-MEC

Settlement is collusive or fraudulent.




                                                 19
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1278 of 1639
                                                                         1278



        44.     Second and third, although the claims related to the Class Royalty Litigation were

discharged on the Effective Date pursuant to the Plan and the Confirmation Order and no class

proofs of claim were filed, the MEC Settlement and the Non-MEC Settlement nevertheless provide

the Class Royalty Litigation plaintiffs and putative class members with closure regarding past

royalty disputes; the Reorganized Debtors believe this is an important step towards resetting

Chesapeake's relationship with its Pennsylvania lessors. The MEC Settlement and the Non-MEC

Settlement provide all Pennsylvania lessors with the opportunity to participate in the settlements

and, importantly, to choose their go-forward royalty calculation method. Absent the MEC

Settlement and the Non-MEC Settlement, the Reorganized Debtors face claims litigation with

individual Pennsylvania lessors, as well as future potential class action litigation related to the

calculation of royalties. In light of these circumstances, the MEC Settlement and the Non-MEC

Settlement are fair and reasonable.

        45.     Fourth and fifth, the complexity, expense and likely duration of related litigation

all point in favor of approving the MEC Settlement and the Non-MEC Settlement. Absent

approval of the MEC Settlement and the Non-MEC Settlement, the Reorganized Debtors will have

to litigate over 100 claims filed by individual Pennsylvania lessors. Such litigation would likely

entail significant expense and delay for all parties involved. Further, the MEC Settlement and the

Non-MEC Settlement allow all putative class members to elect how their royalties are calculated

on a go-forward basis. As a result, the Reorganized Debtors believe the settlements will reduce

the likelihood and attendant cost and delay of future potential royalty related litigation, including

potential class action litigation.

        46.     Sixth, the MEC Settlement and the Non-MEC Settlement enjoy the support of the

Demchak, Brown, and Suessenbach plaintiffs and respective Class Counsel, who engaged in




                                                 20
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1279 of 1639
                                                                         1279



negotiations with Chesapeake throughout these chapter 11 cases to secure each settlement’s

respective terms. All respective Settlement Class Members will be afforded the opportunity to

opt-out of the applicable settlement agreement and object to any of the respective settlement

agreement’s terms at the settlement fairness hearing. At that time, if significant objections

manifest, the Court, the Reorganized Debtors, and the Class Royalty Litigation plaintiffs may

address them as appropriate.

       47.     For all of the foregoing reasons, the Court should enter the PA AG Settlement

Order, the Preliminary Approval Orders and, after the settlement fairness hearing, the Final

Approval Orders.

                                      Reservation of Rights

       48.     Nothing contained herein or any actions taken pursuant to such relief requested is

intended or shall be construed as: (a) an admission as to the amount of, basis for, or validity of

any claim against a Debtor entity under the Bankruptcy Code or other applicable nonbankruptcy

law; (b) a waiver of the Reorganized Debtors’ or any other party in interest’s right to dispute any

claim on any grounds; (c) a promise or requirement to pay any claim; (d) an implication or

admission that any particular claim is of a type specified or defined in this motion or any order

granting the relief requested by this motion or a finding that any particular claim is an

administrative expense claim or other priority claim; (e) a request or authorization to assume,

adopt, or reject any agreement, contract, or lease pursuant to section 365 of the Bankruptcy Code;

(f) an admission as to the validity, priority, enforceability, or perfection of any lien on, security

interest in, or other encumbrance on property of the Reorganized Debtors’ estates; (g) a waiver or

limitation of the Reorganized Debtors’, or any other party in interest’s, rights under the Bankruptcy

Code or any other applicable law; or (h) a concession by the Reorganized Debtors that any liens

(contractual, common law, statutory, or otherwise) that may be satisfied pursuant to the relief


                                                 21
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1280 of 1639
                                                                         1280



requested in this motion are valid, and the rights of all parties in interest are expressly reserved to

contest the extent, validity, or perfection or seek avoidance of all such liens.

                                               Notice

       49.     The Reorganized Debtors will provide notice of this motion to: (a) the United

States Trustee for the Southern District of Texas; (b) the parties to the Settlement Agreements; and

(c) any party that has requested notice pursuant to Bankruptcy Rule 2002. In light of the nature of

the relief requested, no other or further notice need be given.


                           [Remainder of page intentionally left blank.]




                                                  22
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1281 of 1639
                                                                         1281



        WHEREFORE, the Reorganized Debtors respectfully request that the Court enter the

orders, granting the relief requested herein and such other relief as the Court deems appropriate

under the circumstances.


Houston, Texas
March 5, 2021

/s/ Matthew D. Cavenaugh
JACKSON WALKER LLP                              KIRKLAND & ELLIS LLP
Matthew D. Cavenaugh (TX Bar No. 24062656)      KIRKLAND & ELLIS INTERNATIONAL LLP
Kristhy M. Peguero (TX Bar No. 24102776)        Patrick J. Nash, Jr., P.C. (admitted pro hac vice )
1401 McKinney Street, Suite 1900                Alexandra Schwarzman (admitted pro hac vice)
Houston, Texas 77010                            300 North LaSalle Street
Telephone:     (713) 752-4200                   Chicago, Illinois 60654
Facsimile:     (713) 752-4221                   Telephone: (312) 862-2000
Email:         mcavenaugh@jw.com                Facsimile:    (312) 862-2200
               kpeguero@jw.com                  Email:        patrick.nash@kirkland.com
                                                              alexandra.schwarzman@kirkland.com


Co-Counsel to the Reorganized Debtors           Co-Counsel to the Reorganized Debtors




                                               23
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1282 of 1639
                                                                         1282



                                     Certificate of Service

        I certify that on March 5, 2021, I caused a copy of the foregoing document to be served by
the Electronic Case Filing System for the United States Bankruptcy Court for the Southern District
of Texas.

                                                      /s/ Matthew D. Cavenaugh
                                                      Matthew D. Cavenaugh




                                                1
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1283 of 1639
                                                                            1283



                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                      §
    In re:                                                            §      Chapter 11
                                                                      §
    CHESAPEAKE ENERGY CORPORATION, et al., 1                          §      Case No. 20-33233 (DRJ)
                                                                      §
                                       Reorganized Debtors.           §      (Jointly Administered)
                                                                      §

                    ORDER (I) AUTHORIZING AND APPROVING THE PA AG
                          SETTLEMENT ON A FINAL BASIS, AND
                              (II) GRANTING RELATED RELIEF


                                                 2
             Upon the motion (the “Motion”) of the above-captioned reorganized debtors (collectively,

the “Reorganized Debtors”) for entry of an order (this “PA AG Settlement Order”), (a) authorizing

and approving the PA AG Settlement on a final basis and (b) granting related relief, all as more

fully set forth in the Motion; and this Court having jurisdiction over this matter pursuant to

28 U.S.C. § 1334; and this Court having found that this is a core proceeding pursuant to 28 U.S.C.

§ 157(b)(2); and that this Court may enter a final order consistent with Article III of the United

States Constitution; and this Court having found that venue of this proceeding and the Motion in

this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that

the relief requested in the Motion is in the best interests of the Reorganized Debtors’ estates, their

creditors, and other parties in interest; and this Court having found that the Reorganized Debtors’

notice of the Motion and opportunity for a hearing on the Motion were appropriate under the



1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/chesapeake. The location of Debtor Chesapeake Energy
      Corporation’s principal place of business and the Debtors’ service address in these chapter 11 cases is 6100 North
      Western Avenue, Oklahoma City, Oklahoma 73118.

2     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1284 of 1639
                                                                         1284



circumstances and no other notice need be provided; and this Court having reviewed the Motion

and having heard the statements in support of the relief requested therein at a hearing before this

Court (the “Hearing”); and this Court having determined that the legal and factual bases set forth

in the Motion and at the Hearing establish just cause for the relief granted herein; and upon all of

the proceedings had before this Court; and after due deliberation and sufficient cause appearing

therefor, it is HEREBY ORDERED THAT:

         1.    The PA AG Settlement is approved on a final basis.

         2.    The Reorganized Debtors hereby are authorized to take all actions necessary to

implement the PA AG Settlement as set forth in Exhibit 2 to the Motion.

         3.    Upon the Reorganized Debtors’ entry into the PA AG Settlement, it shall be binding

on them, their estates, all creditors and parties-in-interest, and on any trustee appointed in these

cases.

         4.    Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Bankruptcy Local Rules

are satisfied by such notice.

         5.    The Reorganized Debtors are authorized to take all actions necessary to effectuate

the relief granted in this PA AG Settlement Order in accordance with the Motion.

         6.    This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this PA AG Settlement Order.



 Dated: __________, 2021
                                                   DAVID R. JONES
                                                   UNITED STATES BANKRUPTCY JUDGE
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1285 of 1639
                                                                       1285




                     EXHIBIT 2
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1286 of 1639
                                                                            1286



                IN THE UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION
    In re:                             §
                                       §     Chapter 11
    CHESAPEAKE ENERGY                  §
    CORPORATION, et al. 1,             §     Case No. 20-33233 (DRJ)
                                       §
                    Debtors.           §     (Jointly Administered)




                                    SETTLEMENT AGREEMENT

       This SETTLEMENT AGREEMENT (“Settlement Agreement”) is entered into by,
between, and among, Chesapeake Energy Corporation, Chesapeake Appalachia, L.L.C.,
Chesapeake Operating, L.L.C., and Chesapeake Energy Marketing, L.L.C. (collectively,
“Chesapeake” or “Chesapeake Defendants”) and the Commonwealth of Pennsylvania (the
“Commonwealth”), through the Pennsylvania Office of Attorney General (the “Office of Attorney
General”). This Settlement Agreement is entered into to effect a full and final settlement and
dismissal with prejudice of all Settled Claims on the terms set forth below. The date of this
Settlement Agreement is February 9, 2021.

                                                 RECITALS

        A.      The Commonwealth, through the Office of Attorney General, filed its Second
Amended Complaint in Commonwealth of Pennsylvania v. Chesapeake Energy Corporation, et
al., Case No. 2015IR0069 (Ct. of Common Pleas, Bradford Cty., Pa.) (the “Lawsuit”) on May 3,
2016, alleging that Chesapeake had violated Pennsylvania’s Unfair Trade Practices and Consumer
Protection Law, 73 P.S. §§ 201-1 et seq. (“UTPCPL”), and Pennsylvania’s common law of
antitrust involving the Marcellus Shale gas play. Specifically, the Commonwealth alleged that the
Defendants had violated the UTPCPL through, inter alia, unfair and/or deceptive acts or practices
concerning inflated midstream prices, leasing practices at the formation and post-formation stages,
improper deductions from royalty payments, and an undisclosed market allocation agreement.

        B.      The Commonwealth also alleged a violation of Pennsylvania’s common-law
proscription against unreasonable restraint of trade for the agreement between competitors, in
particular the alleged allocation of certain counties amongst competitors for the acquisition of oil
and gas leases. The Commonwealth alleged that there was an unlawful agreement that had the
effect of fixing, stabilizing and lowering royalty rates and signing bonuses paid to Pennsylvania

1
 A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
claims and noticing agent at https://dm.epiq11.com/chesapeake. The location of Debtor Chesapeake Energy
Corporation’s principal place of business and the Debtors’ service address in these chapter 11 cases is 6100 North
Western Avenue, Oklahoma City, Oklahoma 73118.
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1287 of 1639
                                                                         1287
                  Confidential Pursuant to F.R.E. 408 and Pa. R.E. 408

landowners for oil and gas leases and that suppressed competition for the acquisition of oil and gas
leases in the affected counties.

        C.   Chesapeake denies the Commonwealth’s allegations as a factual matter and denies
that the Commonwealth’s allegations are cognizable as a legal matter.

        D.      The parties, by their respective attorneys, have consented to this Settlement
Agreement without trial or adjudication of any issue of fact or law, and without this Settlement
Agreement constituting any evidence against, or any admission by, any party regarding any such
issue of fact or law.
                  AGREEMENT FOR SETTLEMENT PURPOSES ONLY

        This Settlement Agreement is for settlement purposes only. The fact of this Settlement
Agreement or any provision herein, the negotiations or proceedings related hereto, and any actions
taken hereunder shall not constitute or be construed as (a) any admission of the validity of any
claim or any fact alleged by the Commonwealth in the Lawsuit; (b) any admission of any
wrongdoing, fault, violation of law, breach of contract, or liability of any kind on the part of
Chesapeake; (c) any admission as to any claim or allegation made in any demand of, action against,
or proceeding against Chesapeake; and/or (d) a waiver of any applicable defense, including,
without limitation, any applicable statute of limitations. This Settlement Agreement and its
exhibits shall not be offered or admissible in evidence against any party in any action or proceeding
in any forum for any purpose whatsoever, except any action or proceeding brought to enforce its
terms.
                                         1. JURISDICTION

       1.1     This Court has jurisdiction over the parties and subject matter of this action
pursuant to 28 U.S.C. § 1334.
                                       2. DEFINITIONS

As used in this Agreement:

        2.1     “Chesapeake” means Chesapeake Energy Corporation, Chesapeake Appalachia,
LLC, Chesapeake Operating, LLC, and Chesapeake Energy Marketing, LLC and their respective
subsidiaries, members, affiliates, predecessors in interest, successors in interest, current or former
officers and directors, attorneys, and agents.

         2.2    “Final” means that (a) the final judgment approving this Settlement Agreement is
a final, appealable order (“Final Judgment”); and (b) either (i) no appeal has been taken from the
Final Judgment as of the date on which all times to appeal therefrom have expired, or (ii) an appeal
or other review proceeding of the Final Judgment having been commenced, such appeal or other
review is finally concluded and no longer is subject to review by any court, whether by appeal,
petitions for rehearing or argument, petitions for rehearing en banc, petitions for writ of certiorari,
or otherwise, and such appeal or other review has been finally resolved in such manner that affirms
the Final Judgment in all material respects.

                                                  2
    Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1288 of 1639
                                                                           1288
                  Confidential Pursuant to F.R.E. 408 and Pa. R.E. 408


        2.3    “Gas” means natural gas, other than gas that is processed to separate natural gas
liquids (“NGLs”) from the gas stream in a processing (or similar) plant. Gas is not processed
solely because it is passed through a mechanical separator for the removal of liquid hydrocarbons
at or near a well.

        2.4     “In-Basin Price” means MMBtu price that is the weighted average price of (a) 50%
of the Leidy Hub monthly (first of the month) index price ($/MMBtu) as reported in Inside FERC’s
Gas Market Report (published by Platts), and (b) 50% of the TGP Zone 4-300 Leg monthly (first
of the month) index price ($/MMBtu) as reported in Inside FERC’s Gas Market Report (published
by Platts). If either the Leidy Hub or TGP Zone 4-300 Leg ceases to be published, the Office of
Attorney General and Chesapeake will agree on a replacement index. If a new hub or sales point
is developed in the Marcellus Region and a corresponding index price for it is published by Platts,
the Office of Attorney General and Chesapeake will determine whether to revise the In-Basin Price
to also include the new index. To the extent the parties are unable to reach agreement under this
paragraph, the dispute resolution mechanism set forth in paragraph 5.4 shall apply.

        2.5  “Leidy Hub” means the “Leidy Hub” trading location as defined in the July 2020
“Methodology and Specifications Guide/US and Canada Natural Gas” published by S&P Global
Platts.

       2.6     “Marcellus Region” refers to the area encompassing the following Pennsylvania
counties:

•    Bradford County                                 •   Wyoming County
•    Lycoming County                                 •   Potter County
•    Sullivan County                                 •   McKean County
•    Susquehanna County                              •   Wayne County
•    Tioga County


        2.7    “Market Enhancement Clause” means Royalty payment clauses or provisions in an
oil and gas lease that preclude the lessee from deducting Post-Production Costs incurred to
transform leasehold gas into marketable form, but permit the lessee to deduct a pro-rata share of
Post-Production Costs incurred after the gas is marketable if they enhance the value of the
marketable gas. Such clauses are usually identified, entitled or referred to as “Market
Enhancement Clauses” or “MECs.”

        2.8    “Parties” means the Commonwealth of Pennsylvania and Chesapeake.

        2.9    “Pennsylvania” means the Commonwealth of Pennsylvania.

      2.10 “Pennsylvania Landowners” means owners of interests in minerals located within
the Commonwealth of Pennsylvania.
                                                3
  Case 4:21-cv-01215 Document 8Classification:
                                   Filed on       05/12/21 in TXSD Page 1289 of 1639
                                               DCL-Internal
                                                                                  1289
                  Confidential Pursuant to F.R.E. 408 and Pa. R.E. 408


       2.11 “Pennsylvania Leases” means each and every oil and gas lease that (a) covers a
leasehold located in Pennsylvania, and (b) is or has been owned, in whole or in part, by a
Chesapeake entity as a lessee, according to the business records maintained by Chesapeake.

        2.12 “Pennsylvania Lessors” means Pennsylvania Landowners who have entered into
oil and gas leases with Chesapeake or whose leases have been assigned to Chesapeake.

       2.13 “Post-Production Costs” means costs for gathering, compressing, treating,
dehydrating, processing, transporting, or transmitting Gas.

        2.14 “Ready for Sale or Use Clause” means Royalty payment clauses or provisions in
an oil and gas lease that preclude the lessee from deducting Post-Production Costs to make such
gas ready for sale or use but permit the lessee to deduct a pro-rata share of Post-Production Costs
incurred after the gas is ready for sale or use. Such clauses are often entitled or referred to as
“Ready for Sale or Use Clauses” or RFSU.

        2.15   “Royalty” means lessor royalty interests and does not include overriding royalty
interests.

       2.16    “Settlement Administrator” means Epiq Corporate Restructuring L.L.C.

       2.17 “Settlement Agreement” or “Agreement” means this Settlement Agreement,
including all exhibits hereto.

      2.18 “Settled Claims” means any and all claims and causes of action related to the
Lawsuit and that are released as further set forth in paragraph 6.1.

       2.19 “Settlement Effective Date” or “Effective Date” shall be the date when the
Settlement Agreement has been fully executed by all the Parties and their counsel, the Court
approves this Settlement Agreement and this Settlement Agreement is Final.

        2.20 “TGP Zone 4 – 300 Leg” means the “Tennessee, Zone 4 – 300 leg” trading location
as defined in the July 2020 “Methodology and Specifications Guide/US and Canada Natural Gas”
published by S&P Global Platts.

                                            3. TERMS

        3.1    Future Acquisition of Leases. To the extent Chesapeake enters into new oil and
gas leases with Pennsylvania Landowners, it agrees not to use the Market Enhancement Clause or
Ready for Sale or Use Clause for any such new leases.

        3.2    Royalty Methodology Going Forward for MEC and RFSU Leases. Within
sixty (60) days of the Effective Date, for MEC and RFSU Leases only, Chesapeake shall offer
Pennsylvania Landowners with MEC or RFSU Leases the opportunity to have their Gas Royalties
                                              4
  Case 4:21-cv-01215 Document 8Classification:
                                   Filed on       05/12/21 in TXSD Page 1290 of 1639
                                               DCL-Internal
                                                                                  1290
                  Confidential Pursuant to F.R.E. 408 and Pa. R.E. 408

paid the at the higher of the “In-Basin Price Without Post-Production Deductions” (paragraph
3.2.1) or the “Netback Price” (paragraph 3.2.2). Chesapeake may implement this notice and
election process through the Demchak class action settlement, which shall contain a separate
section, jointly agreed to by the Attorney General and Chesapeake, explaining the terms of this
Settlement Agreement

        3.2.1 In-Basin Price Without Post-Production Deductions. The In-Basin Price
Without Post-Production Deductions refers to the calculation of Gas Royalties based on the In-
Basin Price without deduction of any Post-Production Costs and without deduction of any other
items, costs, or fees. When calculating and remitting royalty payments to Pennsylvania Lessors
under this scenario, Chesapeake may, if it is permitted by Pennsylvania law to do so, deduct any
applicable and properly-calculated state severance taxes from the royalty payments and remit such
deducted taxes to the appropriate governmental authority.

        3.2.2 Netback Price. The Netback Price refers to the calculation of Gas Royalties based
on the weighted average sales price a Chesapeake entity received for its production month sales to
third parties minus a proportionate share (net revenue interest share) of the Post-Production Costs
that Chesapeake incurred and any applicable and properly-calculated state severance taxes. It is
agreed, however, that Gas Royalties calculated under this scenario for any given month and any
given well shall never be in an amount that is less than zero.

        3.3     Royalty Methodology Going Forward for Non-MEC Leases. Within sixty (60)
days of the Effective Date, for Non-MEC Lessors (that is, Pennsylvania Landowners with leases
that do not include Market Enhancement Clauses or Ready for Sale or Use Clauses), Chesapeake
shall provide Pennsylvania Landowners with Non-MEC Leases the opportunity to make a one-
time election concerning how Chesapeake will calculate and pay Gas Royalties in the future
pursuant to Pennsylvania Leases in which Chesapeake currently owns an interest. Pennsylvania
Landowners with Non-MEC Leases will be given the choice to have their Gas Royalties pursuant
to Non-MEC Leases calculated and paid based either on the “In-Basin Price Without Post-
Production Deductions” methodology detailed above (paragraph 3.2.1) or the “Netback Price”
methodology detailed above (paragraph 3.2.2). Chesapeake may implement this notice and
election process through the Brown/Suessenbach class action settlement, which shall contain a
separate section, jointly agreed to by the Attorney General and Chesapeake, explaining the terms
of this Settlement Agreement

        3.4      Leases That Prohibit Deductions. Chesapeake has certain leases which expressly
prohibit Post-Production Deductions (which are not contained in the MEC or RFSU Lease
categories). Chesapeake believes it is not taking any prohibited Post-Production Deductions from
such leases. If Chesapeake discovers it is taking prohibited Post-Production Deductions from such
leases, it will discontinue doing so.

       3.5     Payments.

       3.5.1   Payments to Pennsylvania Lessors. Within sixty (60) days of the Effective Date,

                                                5
  Case 4:21-cv-01215 Document 8Classification:
                                   Filed on       05/12/21 in TXSD Page 1291 of 1639
                                               DCL-Internal
                                                                                  1291
                  Confidential Pursuant to F.R.E. 408 and Pa. R.E. 408

Chesapeake shall pay $5,300,000.00 to the Commonwealth of Pennsylvania which shall be
allocated and distributed by the Office of Attorney General to Pennsylvania Lessors with notice to
Chesapeake.

       3.5.2 Payments to the Office of Attorney General. Within sixty (60) days of the Effective
Date, Chesapeake shall pay $350,000.00 to the “Commonwealth of Pennsylvania, Office of
Attorney General” towards reimbursement of the Office of Attorney General’s costs incurred to
conduct its investigation and litigation, which payment shall be allocated to the Public Protection
Division within the Office of Attorney General and used for future Public Protection Division
purposes.


             4. COMMUNICATIONS WITH PENNSYLVANIA LANDOWNERS

       4.1     Attached as Exhibit A is an exemplar of the royalty payment check stub that
Pennsylvania Lessors currently receive from Chesapeake for payment of natural gas royalties.
Chesapeake shall continue to provide the categories of information applicable to the royalty owner
presently furnished on the check stub through June 2025.

      4.2     Chesapeake shall semi-annually publish the monthly In-Basin Price on its royalty
owner website.

       4.3    Chesapeake shall maintain on its website a link to the Pennsylvania Department of
Environmental Protection's webpage which contains information for monthly natural gas
production by well.

        4.4     Chesapeake shall maintain on its website an address where additional information
pertaining to the owner’s interest in production may be obtained and questions answered. If a
request for information is submitted by certified mail by a Chesapeake royalty owner, Chesapeake
shall use good faith efforts to provide an answer by certified mail (or electronic communication)
within thirty (30) days of the receipt of the request.

        4.5    Chesapeake agrees annually, through June 2025, to provide the Commonwealth
with call and email metrics from Chesapeake’s call centers (e.g., call volume, wait times, etc.) to
the extent those communications involve Pennsylvania Lessors.

                           5. COMPLIANCE AND ENFORCEMENT

       5.1     Complaint Procedure

        5.1.1 Any person who wishes to report a possible violation of this Agreement shall send
a written description of the alleged violation to the Chief Deputy Attorney General, Antitrust
Section, Office of Attorney General, 14th Floor, Strawberry Square, Harrisburg, Pennsylvania
17120. The Office of Attorney General shall transmit the full complaint to the Ombudsman and
Chesapeake.
                                                6
  Case 4:21-cv-01215 Document 8Classification:
                                   Filed on       05/12/21 in TXSD Page 1292 of 1639
                                               DCL-Internal
                                                                                  1292
                  Confidential Pursuant to F.R.E. 408 and Pa. R.E. 408

       5.1.2 Chesapeake shall respond in writing to the complainant and to the Ombudsman
within ninety (90) days from the receipt of any complaint.

        5.1.3 If the complaint is still unresolved, the Ombudsman will attempt to negotiate a
satisfactory resolution. Chesapeake will provide reasonable cooperation with the Ombudsman to
attempt to resolve the complaint.

        5.1.4 If Chesapeake believes a complaint to be frivolous, they may so advise the
Ombudsman and the Office of Attorney General and their obligations under this paragraph will be
satisfied unless they are otherwise advised by the Ombudsman to respond more fully to the
complaint.

        5.2     Compliance Inspection. To confirm compliance with this Agreement, any duly
authorized representative of the Office of Attorney General, with reasonable notice, may request
information contained in non-privileged books, ledgers, accounts, correspondence, memoranda,
other records and documents, regarding Pennsylvania Lessors in the possession of Chesapeake,
relating to any matters contained in this Agreement, and Chesapeake agrees to provide copies of
such non-privileged documents relating to any matters contained in this Agreement.

        5.3    Ombudsman. Within sixty (60) days of the Effective Date, the Office of Attorney
General and Chesapeake, shall jointly appoint an Ombudsman to assist in the resolution of any
issues, questions or complaints raised by Pennsylvania Landowners related to the calculation of
royalties and the deduction, if any, of Post-Production Costs or related to Pennsylvania
Landowners’ relationships with Chesapeake.

      5.3.1 If the Ombudsman determines material deficiencies in Chesapeake’s compliance
with the terms of the Agreement, the Ombudsman shall contact the Attorney General and
Chesapeake or prepare a written report of the claimed material deficiencies that is provided to the
Attorney General and Chesapeake. Chesapeake shall have 90 days from the date of the
Ombudsman’s report to respond to any claimed material deficiencies.

       5.3.2 If the claimed material deficiency or violation is not refuted or substantially cured
by Chesapeake, the Office of Attorney General may initiate dispute resolution including, but not
limited to, an arbitration proceeding pursuant to paragraph 5.4. No party shall be bound by any
findings or conclusions of the Ombudsman and they shall not be admissible in any arbitration or
court proceeding. Neither shall any party’s burden of proof be affected in any proceeding by the
Ombudsman’s findings or conclusions.

       5.3.3 The Ombudsman’s services shall be detailed in a written agreement, on terms and
conditions, including terms and conditions governing confidentiality requirements and conflict-of-
interest certifications that are approved by the Office of Attorney General and Chesapeake.

      5.3.4 Chesapeake’s compensation of the Ombudsman must be on reasonable and
customary terms commensurate with the individual’s experience and responsibilities.


                                                7
  Case 4:21-cv-01215 Document 8Classification:
                                   Filed on       05/12/21 in TXSD Page 1293 of 1639
                                               DCL-Internal
                                                                                  1293
                  Confidential Pursuant to F.R.E. 408 and Pa. R.E. 408

Compensation, costs and expenses for the Ombudsman (and any replacement Ombudsman) shall
be reasonable and shall not exceed $125,000.00 per year.

        5.3.5 The Ombudsman must account to the Office of Attorney General and Chesapeake
for all costs and expenses incurred.

       5.3.6 If the Office of Attorney General or Chesapeake determines that the Ombudsman
is not acting diligently or in a reasonably cost-effective manner, the Office of Attorney General
and Chesapeake shall jointly appoint a substitute.

       5.3.7 The Ombudsman shall be appointed for a term of five (5) years to run from the
Effective Date. If the Ombudsman is dismissed or leaves the position for any reason before the
end of the term, the Office of Attorney General and Chesapeake shall jointly appoint another
Ombudsman to serve the remainder of the term.

      5.3.8 The Ombudsman shall make a good faith effort to perform his or her duties in a
manner designed to cause minimal disruption to Chesapeake. In this regard, Chesapeake shall
designate a primary point of contact for the Ombudsman.

       5.3.9 Chesapeake agrees to reasonably cooperate with the Ombudsman’s efforts to
monitor Chesapeake’s compliance with its obligations under this Agreement. For the avoidance
of doubt, reasonable cooperation is limited to reasonable requests for information or documents.
Chesapeake’s reasonable cooperation with the Ombudsman does not require Chesapeake to accept
or agree to any factual or legal positions taken by the Ombudsman or the Commonwealth.

      5.3.10 To the extent the Ombudsman or the Office of Attorney General, in executing the
provisions of this Agreement, receive access to Chesapeake’s confidential business information,
the Ombudsman and Office of Attorney General hereby agree to keep such information
confidential and use such information solely for the purposes specifically set forth in this
Agreement and for no other purpose whatsoever.

        5.4     Dispute Resolution. Any controversy or claim arising under this Agreement, or
the breach thereof, may be resolved by petitioning this Court, or, at the petitioning Party’s election,
be settled by an arbitration administered by the American Arbitration Association under its
Commercial Arbitration Rules. The AAA’s Expedited Procedures shall apply to this dispute. Each
party will bear one-half of the expenses of the arbitration.

        5.5     Reporting. Within 60 days of the closing of each calendar year, through June 2025,
Chesapeake shall submit to the Office of Attorney General, with simultaneous copies to the
Ombudsman: 1) an Annual Report on compliance with the provisions of this Agreement setting
forth in detail the manner and form in which they intend to comply, are complying and have
complied with this Agreement; and 2) a Calendar Year Production and Sales Report that details
for each calendar year the number of active leases and wells in Pennsylvania, the total production
of natural gas from the wells, the total amount of revenue received for sales of the production, and
the total amount of deductions taken.
                                                  8
  Case 4:21-cv-01215 Document 8Classification:
                                   Filed on       05/12/21 in TXSD Page 1294 of 1639
                                               DCL-Internal
                                                                                  1294
                  Confidential Pursuant to F.R.E. 408 and Pa. R.E. 408


                                 6. MISCELLANEOUS TERMS

        6.1     Release. As of the Effective Date and at all times thereafter, the Commonwealth
hereby releases Chesapeake for all claims and actions that were brought or that could have been
brought based on the allegations contained in the Lawsuit, except for any criminal, tax and
environmental claims. Further, the Parties agree that any claims (as defined by section 101(5) of
the Bankruptcy Code) against Chesapeake held by the Commonwealth, except for any criminal,
tax and environmental claims, shall be deemed satisfied and released and any Settled Claims filed
in the Chapter 11 cases shall be discharged and expunged from the claims registrar without any
further order of the Bankruptcy Court. Nothing in this Agreement shall prevent the Office of
Attorney General from investigating and prosecuting Chesapeake for any other alleged violations
of the Unfair Trade Practices and Consumer Protection Law and Federal and State antitrust laws
that do not relate to the subject matter of the Lawsuit and/or this Agreement. There is no release
of any claims of vicarious liability against an unrelated, non-debtor person that is not identified
above.

        6.2    Legal Exposure. No provision of this Agreement shall be interpreted or construed
to require Chesapeake to take any action, or to prohibit Chesapeake from taking any action, if that
requirement or prohibition would expose Chesapeake to liability for negligence. Further, this
Agreement or any reports required hereunder shall not be introduced as evidence and cannot be
used for any purpose or in any proceeding by a third party.

        6.3    Enforcement. Solely for purposes of effectuating this Settlement Agreement, the
Commonwealth and Chesapeake hereby stipulate that intentional breach of any of its terms or of
any Agreement or Judgment accompanying it shall be sufficient cause for the Commonwealth, by
its Attorney General, or Chesapeake to seek enforcement of this Agreement.

        6.4    Notices. All notices required by this Agreement shall be sent by certified or
registered mail, return receipt requested, postage prepaid or by hand delivery to:

       If to the Office of Attorney General:

       Chief Deputy Attorney General
       Antitrust Section
       Office of Attorney General
       14th Floor, Strawberry Square
       Harrisburg, PA 17120

       If to Chesapeake:

       Fred Gipson
       Chesapeake Energy Corporation
       6100 North Western Avenue
       Oklahoma City, OK 73118
                                                9
  Case 4:21-cv-01215 Document 8Classification:
                                   Filed on       05/12/21 in TXSD Page 1295 of 1639
                                               DCL-Internal
                                                                                  1295
                  Confidential Pursuant to F.R.E. 408 and Pa. R.E. 408


Copy to:

       Daniel T. Donovan, P.C.                 Daniel Brier
       Kirkland & Ellis LLP                    Myers, Brier & Kelly, LLP
       1301 Pennsylvania Avenue, NW            425 Spruce Street, Suite 200
       Washington, D.C. 20004                  Scranton, PA 18503


         6.5 Averment of Truth. Chesapeake avers that, to the best of their knowledge, the
information it has provided to the Office of Attorney General in connection with this Agreement
is true. The Office of Attorney General avers that, to the best of its knowledge, the information it
has provided to Chesapeake in connection with this Agreement is true.

         6.6 Modification. If the Parties agree on a modification of this Agreement, they shall
jointly petition the Court to modify the Agreement. If the Parties cannot agree on a modification,
the party seeking modification may petition the Court or arbitration panel for modification and
shall bear the burden of persuasion that the requested modification is in the public interest.

        6.7    No Admission of Liability. The Commonwealth, Office of Attorney General, and
Chesapeake, desiring to settle their differences without trial or adjudication of any issue of fact or
law, have consented to entry of this Agreement, which is not an admission of liability by
Chesapeake to any issue of fact or law and may not be offered or received into evidence in any
action, whether arising before or after the Effective Date.

         6.8    Condition Precedent. This Agreement shall become null and void if not approved
in full by the United States Bankruptcy Court for the Southern District of Texas, Houston Division.

       6.9    Deadlines. Any obligations of the Parties to collaborate pursuant to this Agreement,
not given an express deadline herein, shall cease as of January 31, 2026.

       6.10    Counterparts. This Agreement may be executed in counterparts.




                                                 10
 Case 4:21-cv-01215 Document 8Classification:
                                  Filed on       05/12/21 in TXSD Page 1296 of 1639
                                              DCL-Internal
                                                                                 1296
                Confidential Pursuant to F.R.E. 408 and Pa. R.E. 408




/s/                                       /s/
Daniel T. Donovan                         Lynn Hamilton Butler
Ragan Naresh                              Husch Blackwell LLP
Kirkland & Ellis LLP                      111 Congress Avenue, Suite 1400
1301 Pennsylvania Ave., N.W.              Austin, Texas 78701
Washington DC 20004
                                          Tracy W. Wertz
Daniel T. Brier                           Chief Deputy Attorney General
Myers Brier & Kelly, LLP                  Antitrust Section
425 Spruce Street, Ste. 200               Pennsylvania Office of Attorney General
Scranton, PA 18503                        14th Floor Strawberry Square
                                          Harrisburg, PA 17120

                                          Joseph S. Betsko
                                          Senior Deputy Attorney General
                                          Antitrust Section
                                          Pennsylvania Office of Attorney General
                                          14th Floor Strawberry Square
                                          Harrisburg, PA 17120




/s/
James R. Webb
Executive Vice President – General
Counsel, Chesapeake Energy Corp.




/s/

Office of Attorney General
on behalf of the Commonwealth of
Pennsylvania



                                        11
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1297 of 1639
                                                                         1297
                Confidential Pursuant to F.R.E. 408 and Pa. R.E. 408




/s/                                        /s/
Daniel T. Donovan                          Lynn Hamilton Butler
Ragan Naresh                               Husch Blackwell LLP
Kirkland &Ellis LLP                        111 Congress Avenue, Suite 1400
 1301 Pennsylvania Ave., N.W.              Austin, Texas 78701
 Washington DC 20004
                                           Tracy W. Wertz
Daniel T. Brier                            Chief Deputy Attorney General
Myers Brier &Kelly,LLP                     Antitrust Section
425 Spruce Street, Ste. 200                Pennsylvania Office of Attorney General
Scranton,PA 18503                          14th Floor Strawberry Square
                                           Harrisburg, PA 17120

                                           Joseph S. Betsko
                                           Senior Deputy Attorney General
                                           Antitrust Section
                                           Pennsylvania Office of Attorney General
                                           14th Floor Strawberry Square
                                           Harrisburg, PA 17120




/s/
                                    ""(
 Jar   Z. W~bb
       ve V'ce President —General
       ;
       ~ ~esapeake Energy Corp.




/s/

Office of Attorney General
on behalf ofthe Commonwealth of
Pennsylvania



                                          11
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1298 of 1639
                                                                       1298
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1299 of 1639
                                                                       1299




                     EXHIBIT 3
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1300 of 1639
                                                                         1300




                                 UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                      BANKRUPTCY COURT


                                                          )
In re:                                                    )    Chapter 11
                                                          )
CHESAPEAKE ENERGY CORPORATION,                            )    Case No. 20-33233 (DRJ)
et al., 1
                                                          )
                           Debtors.                       )    (Jointly Administered)
                                                          )



                      MEC CLASS ACTION SETTLEMENT AGREEMENT




1 A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
claims and noticing agent at https://dm.epiq11.com/chesapeake. The location of Debtor Chesapeake Energy
Corporation’s principal place of business and the Debtors’ service address in these chapter 11 cases is 6100 North
Western Avenue, Oklahoma City, Oklahoma 73118.
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1301 of 1639
                                                                         1301



         This CLASS ACTION SETTLEMENT AGREEMENT (“Settlement Agreement”) is
entered into by, between, and among, Chesapeake Appalachia, L.L.C., and the named plaintiffs
and plaintiffs-intervenors (collectively, “Plaintiffs”) in Demchak Partners Limited Partnership,
et. al. v. Chesapeake Appalachia, L.L.C., No. 3:13-cv-2289, on behalf of themselves and as the
putative class representatives for the Settlement Class defined below.

       This Settlement Agreement is entered into to effect a full and final settlement and
dismissal with prejudice of all Settled Claims on the terms set forth below, subject to the
approval of the Court.

                                           RECITALS

       A.      Plaintiffs, as lessors, and Chesapeake Appalachia, L.L.C. as lessee, are parties to
oil and gas leases governing leaseholds in the Commonwealth of Pennsylvania. The leases
implicated in this Settlement contain Market Enhancement Clauses and Ready for Sale or Use
Clauses.

        B.      Plaintiffs allege in Demchak that Chesapeake, among other allegations, underpaid
Royalties by deducting Post-Production Costs from Royalties. Chesapeake denies those claims
and further denies that its Royalty payment practices are or were improper. Chesapeake believes
it paid Royalties consistent with the leases and Pennsylvania law.

        C.      Class Counsel and counsel for Chesapeake engaged in arm’s-length negotiations
in the interest of resolving this dispute. They have met at length and have mediated this dispute
with the assistance of third-party mediators, including Judge Edward N. Cahn (ret.) and John W.
Perry, Jr.

         D.      Chesapeake enters into this Settlement Agreement as part of its broader effort to
achieve global resolution across the Commonwealth of Pennsylvania as to any royalty-related
litigation or disputes.

        E.       While Chesapeake believes this Settlement Agreement can and should be
approved to avoid the time, expense, and uncertainty of litigation, in the event the Settlement
Agreement does not receive final approval from the Court or is terminated according to its terms,
Chesapeake expressly reserves any and all available defenses, including the right to challenge
class certification and to insist on individual arbitration or litigation of each Plaintiff’s dispute
and each Settlement Class Member’s dispute. Plaintiffs likewise reserve their right to proceed
with all claims if the Settlement Agreement is not approved.

       F.     In light of the investigations undertaken and conclusions reached by the Parties
and discussed above, the Parties agree, subject to approval by the Court, to fully and finally
compromise, settle, extinguish and resolve the Settled Claims and to dismiss with prejudice
Demchak under the terms and conditions set forth in this Settlement Agreement.




                                                -2-
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1302 of 1639
                                                                         1302



                  AGREEMENT FOR SETTLEMENT PURPOSES ONLY

        This Settlement Agreement is for settlement purposes only. The fact of this Settlement
Agreement or any provision herein, the negotiations or proceedings related hereto, and any
actions taken hereunder shall not constitute or be construed as (a) any admission of the validity
of any claim or any fact alleged by Plaintiffs in Demchak; (b) any admission of any wrongdoing,
fault, violation of law, breach of contract, or liability of any kind on the part of Chesapeake;
(c) any admission as to any claim or allegation made in any demand of, action against, or
proceeding against Chesapeake; and/or (d) a waiver of any applicable defense, including, without
limitation, any applicable statute of limitations. This Settlement Agreement and its exhibits shall
not be offered or admissible in evidence against Plaintiffs, Chesapeake, or the Settlement Class
Members in any action or proceeding in any forum for any purpose whatsoever, except any
action or proceeding brought to enforce its terms.

                                         AGREEMENT

        In consideration of the mutual promises and covenants set forth herein, and other good
and valuable consideration, the receipt and sufficiency of which is hereby acknowledged,
Plaintiffs, on behalf of themselves and as the class representatives of the Settlement Class, and
Chesapeake hereby contract, covenant, and agree that the Settled Claims are fully resolved,
settled, compromised, extinguished and dismissed on the merits and with prejudice, subject to
the approval of the Court, on the following terms and conditions:

                                        JURISDICTION

       This Court has jurisdiction over the parties and subject matter of this action pursuant to
28 U.S.C. § 1334.

                                         DEFINITIONS

        1.     Definitions. When used in this Settlement Agreement, unless otherwise
specifically indicated, the following terms shall have the respective meanings assigned to them
in this paragraph 1:

              1.1    “Attorneys’ Fees” refers to any award of attorneys’ fees requested by
Class Counsel and awarded by the Court.

                1.2      “Bonus” means the monetary payment that a lessee or its affiliate(s) paid
to a lessor as consideration for signing an oil and gas lease.

             1.3      “Burkett” means the arbitration proceeding initiated by Russell E. Burkett
and Gayle Burkett against Chesapeake Appalachia, L.L.C.

             1.4    “Chapter 11 Cases” means the procedurally consolidated chapter 11 cases
of Chesapeake Energy Corporation and its debtor affiliates (Case No. 20-33233) pending in the
Court.



                                               -3-
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1303 of 1639
                                                                         1303



               1.5   “Chapter 11 Plan” means the joint chapter 11 plan of reorganization
approved in the Chapter 11 Cases.

                1.6     “Chesapeake” means Chesapeake Energy Corporation, Chesapeake
Appalachia, L.L.C., Chesapeake Operating, L.L.C., and Chesapeake Energy Marketing, L.L.C.
and their respective subsidiaries, members, affiliates, predecessors in interest, successors in
interest, current or former officers and directors, attorneys, and agents.

              1.7     “Class Counsel” is defined as follows:

                       Larry D. Moffett                        John W. (“Don”) Barrett
                       Law Office of Larry D. Moffett,         Barrett Law Group
                       PLLCP.O. Box 1418                       Post Office Drawer 927
                       Oxford, MS 38655                        Lexington, MS39095

                       Daniel E. Seltz                         Michelle R. O’Brien
                       Lieff, Cabraser, Heimann &              The O’Brien Law Group LLC
                       Bernstein, LLP                          2800 Stafford Ave., Box 3034
                       250 Hudson St., 8th Floor               Scranton, PA 18505
                       New York, NY 10013

                       Charles J. LaDuca                       Charles E. Schaffer
                       Cuneo Gilbert & LaDuca, LLP             Levin, Fishbein, Sedran & Berman
                       8120 Woodmont Avenue                    510 Walnut Street, Suite 500
                       Suite 810                               Philadelphia, PA 19106
                       Bethesda, MD 20814

                       Jonathan Cuneo
                       Cuneo Gilbert & LaDuca LLP
                       507 C Street NE
                       Washington, DC 20002

               1.8   “Court” means the United States Bankruptcy Court for the Southern
District of Texas.

              1.9    “Chesapeake’s Counsel” means the following attorneys:

                      Daniel T. Donovan, P.C.
                      Ragan Naresh, P.C.
                      Kirkland & Ellis LLP
                      1301 Pennsylvania Ave., N.W.
                      Washington DC 20004
                      Tel: 202-389-5000
                      Fax: 202-389-5200




                                             -4-
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1304 of 1639
                                                                         1304



               1.10 “Demchak” means the civil action styled Demchak Partners Limited
Partnership, et al. v. Chesapeake Appalachia, L.L.C., No. 3:13-cv-2289 on the docket of the
United States District Court for the Middle District of Pennsylvania.

              1.11 “Excluded Member” means any person or entity who falls within the
Settlement Class definition but who elects to be excluded from the Settlement Class and submits
a valid Request for Exclusion.

                 1.12    “Final” means that (a) the Final Judgment is a final, appealable order; and
(b) either (i) no appeal has been taken from the Final Judgment as of the date on which all times
to appeal therefrom have expired, or (ii) an appeal or other review proceeding of the Final
Judgment having been commenced, such appeal or other review is finally concluded and no
longer is subject to review by any court, whether by appeal, petitions for rehearing or argument,
petitions for rehearing en banc, petitions for writ of certiorari, or otherwise, and such appeal or
other review has been finally resolved in such manner that affirms the Final Judgment in all
material respects.

               1.13    “Final Judgment” means the Final Judgment and Order of Dismissal to be
entered by the Court substantially in the form set forth in Exhibit A upon final approval of the
Settlement, as provided in paragraph 8 of this Settlement Agreement.

               1.14 “Gas” means natural gas, other than gas that is processed to separate
natural gas liquids (“NGLs”) from the gas stream in a processing (or similar) plant. Gas is not
processed solely because it is passed through a mechanical separator for the removal of liquid
hydrocarbons at or near a well.

                 1.15 “In-basin Index Price” means a per MMBtu price that is the weighted
average price of (a) 50% of the Leidy Hub monthly (first of the month) index price ($/MMBtu)
as reported in Inside FERC’s Gas Market Report (published by Platts), and (b) 50% of the TGP
Zone 4-300 Leg monthly (first of the month) index price ($/MMBtu) as reported in Inside
FERC’s Gas Market Report (published by Platts). If either the Leidy Hub or TGP Zone 4-300
Leg ceases to be published, Chesapeake will identify a replacement index. If a new hub or sales
point is developed in the Marcellus Region and a corresponding index price for it is published by
Platts, the Parties shall confer whether to revise the In-Basin Price to also include the new index.

                1.16 “Incentive Award Payments” means the amount of any class
representative incentive awards granted by the Court and paid pursuant to paragraph 18.7.1.

               1.17    “Including” and “include(s)” mean “including or include(s), without
limitation.”

              1.18 “Litigation Expenses” means expenses incurred by Plaintiffs or Class
Counsel in pursuing Demchak and/or Burkett, and/or negotiating, preparing or presenting to the
Court the Settlement Agreement, including expert witness fees, consultant fees, investigation
expenses, deposition expenses, copying charges, long distance telephone calls, expenses for
meeting with and communicating with clients, fax charges, computer research charges, travel
expenses, court costs, arbitrators’ fees, and mediator fees.


                                               -5-
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1305 of 1639
                                                                         1305



              1.19    “Marcellus Region” refers to the area encompassing the following
Pennsylvania counties: Bradford; Lycoming; Sullivan; Susquehanna; Tioga; Wyoming; Potter;
McKean; Wayne.

               1.20     “Market Enhancement Clause” means Royalty payment clauses or
provisions in an oil and gas lease that preclude the lessee from deducting Post-Production Costs
incurred to transform leasehold gas into marketable form, but permit the lessee to deduct a pro-
rata share of Post-Production Costs incurred after the gas is marketable if they enhance the value
of the marketable gas. Such clauses are usually identified, entitled or referred to as “Market
Enhancement Clauses” or “MECs.”

               1.21    “Parties” means Plaintiffs and Chesapeake.

               1.22    “Pennsylvania” means the Commonwealth of Pennsylvania.

                1.23    “Pennsylvania Leases” means each and every oil and gas lease that
(a) covers a leasehold located in Pennsylvania except for the portions of Southwestern
Pennsylvania covered by the Gas Gathering Contract Cost of Service - South Marcellus,
(b) contains a Market Enhancement Clause or Ready for Sale or Use Clause, and (c) is or has
been owned, in whole or in part, by Chesapeake Appalachia, L.L.C. as a lessee, according to the
business records maintained by Chesapeake. Chesapeake represents that upon reasonable
investigation, the only Pennsylvania Leases that are in production are located in the Marcellus
Region.

                1.24     “Plaintiffs” means both (1) the named plaintiffs in Demchak, including
Demchak Partners Limited Partnership, James P. Burger, Jr., Barbara H. Burger, William A.
Burke, II, Clara Burke, William A. Burke, III, Edward J. Burke, Donald G. Fuller, Karen M.
Fuller, Randy K. Hemerly, Lamar R. King, Linda J. Schlick, and Janet C. Young; and (2) the
plaintiffs-intervenors in Demchak, including Russell E. Burkett and Gayle Burkett.

                1.25   “Plan of Allocation” means the allocation of the Settlement Funds among
the Settlement Class Members based on the Plan of Allocation attached as Exhibit B. To the
extent a Settlement Class Member opts out of this Agreement, Settlement Funds shall be reduced
on a pro rata basis.

               1.26     “Post-Production Costs” means costs for gathering, compressing,
treating, dehydrating, processing, transporting, or transmitting Gas.

                1.27     “Preliminary Approval Order” means the order entered by the Court
pursuant to paragraph 3 below and in the form set forth in Exhibit C preliminarily approving the
Settlement, approving the form and manner of the Settlement Notice, and setting a date certain
for the settlement fairness hearing.

               1.28 “Ready for Sale or Use Clause” means Royalty payment clauses or
provisions in an oil and gas lease that preclude the lessee from deducting Post-Production Costs
to make such gas ready for sale or use but permit the lessee to deduct a pro-rata share of Post-



                                              -6-
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1306 of 1639
                                                                         1306



Production Costs incurred after the gas is ready for sale or use. Such clauses are often entitled or
referred to as “Ready for Sale or Use Clauses” or RFSU.

                 1.29 “Request for Exclusion” means a timely and properly submitted written
request to be excluded from the Settlement Class. A request for exclusion is not timely and
properly submitted unless it is in writing, is signed by the person or entity requesting exclusion,
is mailed in a postage-paid envelope to the Settlement Administrator, postmarked no later than
the due date established by the Court in the Preliminary Approval Order, and otherwise complies
with the instructions contained in the Settlement Notice. The request for exclusion must be
personally signed by any natural person requesting exclusion; it cannot be signed by that
person’s lawyer or other agent, unless the person is incapacitated. Requests for exclusion may
not be made on a class or representative basis. If the entity requesting exclusion is a corporation,
partnership, or other legal entity, the request must be personally signed by a duly-authorized
officer, partner, or managing agent. A request for exclusion is also not properly submitted or
valid if it requests a qualified or partial exclusion or any other qualification.

                1.30   “Royalty” means lessor royalty interests, and does not include overriding
royalty interests.

               1.31 “Settled Claims” means any and all claims and causes of action related to
Chesapeake’s interest in the Pennsylvania Leases of Settlement Class Members, including, but
not limited to: (a) any and all claims related to the calculation, amount, payment, and/or
reporting of Royalty or Bonus payments made by Chesapeake, either on its own working interest
share or on behalf of other working interests, on Gas produced pursuant to a Pennsylvania Lease;
(b) any and all claims and causes of action that were alleged or could have been alleged in
Demchak or in Burkett related to the calculation, amount, payment, and/or reporting of such
Royalty or Bonus payments; (c) claims for breach of contract, fraud, conspiracy, breach of
implied duties and covenants, unjust enrichment, accounting, declaratory or injunctive relief,
unfair or deceptive trade practices under federal or state law; (d) challenges to the manner in
which sales are made to an affiliated entity, if any; (e) claims that formation, sale, or disposition
of assets or equity interests by Chesapeake impacted Royalty payments; and (f) any other
challenges to Chesapeake’s pricing, sales, or Royalty payment practices. The Settled Claims do
not include claims for royalties in suspense, claims for the failure to pay royalties due at all,
claims based on errors in determining ownership interests, claims for mathematical or calculation
errors in determining volumes, prices, values, or decimal interests. The Settled Claims also do
not include claims and causes of action for the breach of this Agreement, including, but not
limited to, claims that Chesapeake has not properly calculated Gas Royalties pursuant to
paragraph 6 of this Agreement, nor any other future claims and causes of action related to
Chesapeake’s interests in and obligations under the Pennsylvania Leases. The Settled Claims
also do not include any claims or causes of action that Plaintiffs and the Settlement Class
Members have or may have against persons and entities other than Chesapeake, except that the
Settled Claims do include any claims or causes of action that Plaintiffs and the Settlement Class
Members have or may have against Williams Partners, L.P. and/or any of its predecessors or
successors in interest, including Access Midstream Partners, L.P.

               1.32 “Settlement” means the settlement embodied in this Settlement Agreement
and the Final Judgment.

                                                -7-
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1307 of 1639
                                                                         1307



               1.33 “Settlement Administrative Costs” means expenses incurred in carrying
out the terms of the Settlement Agreement, including fees and expenses of any notice experts or
claims administrators who may present affidavits or testimony at the preliminary approval
hearing and/or final fairness hearing; and fees and expenses of the Settlement Administrator in
administering and carrying out the terms of the Settlement Agreement, including expenses for
printing and mailing of the Settlement Notice, post office box rental costs, responding to
inquiries by persons receiving or reading the Settlement Notice, and implementing the Plan of
Allocation. Settlement Administrative Costs shall not include litigation expenses or Attorneys’
Fees or costs associated with calculating or distributing funds for litigation expenses or
Attorneys’ Fees.

              1.34 “Settlement Administrator” means Epiq Corporate Restructuring LLC, in
its capacity as administrator of the Settlement in accordance with the provisions of this
Agreement.

              1.35 “Settlement Agreement” or “Agreement” means this Settlement
Agreement, including all exhibits hereto.

                1.36 “Settlement Class” means all individuals and entities, including their
predecessors and successors-in-interest, who, according to the business records maintained by
Chesapeake, are or have been lessor parties to one or more Pennsylvania Leases, to the extent of
their interests in such Pennsylvania Leases. The Settlement Class excludes (a) Chesapeake;
(b) any person or entity who owns a working interest in or operates a gas well in Pennsylvania;
(c) any person or entity who receives royalty in kind pursuant to a Pennsylvania Lease; (d) any
person or entity who has previously released Chesapeake from liability concerning or
encompassing any or all Settled Claims; (e) the federal government; (f) legally-recognized Indian
Tribes; and (g) any person who serves as a judge in this civil action and his/her spouse. Any
person or entity who falls within the Settlement Class definition but who is party to a
Pennsylvania Lease that has not started producing Gas as of the Settlement Effective Date shall
not be entitled to a share of the Settlement Funds as to such Lease, but shall be entitled to make
an election under paragraph 6 of this Settlement Agreement as to such Lease.

              1.37 “Settlement Class Member” means every member of the Settlement Class
who does not submit a valid Request for Exclusion.

              1.38 “Settlement Effective Date” shall be the date when each and all of the
following conditions have occurred:

                       1.38.1   The Settlement Agreement has been fully executed by all the
Parties and their counsel;

                      1.38.2 The Preliminary Approval Order has been entered by the Court
certifying a Settlement Class, granting preliminary approval of this Settlement Agreement, and
approving the Settlement Notice;

                      1.38.3 The Court-approved Settlement Notice has been mailed as ordered
by the Court;


                                              -8-
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1308 of 1639
                                                                         1308



                      1.38.4 The Court has approved and entered the Final Judgment, thereby
approving this Settlement Agreement and dismissing the Settled Claims with prejudice; and

                       1.38.5   The Final Judgment becomes Final as defined in paragraph 1.12,
above.

              1.39 “Settlement Funds” means $5,000,000.00 in available funds to the
Settlement Class pursuant to the Plan of Allocation.

               1.40 “Settlement Notice” means the notice substantially in the form set forth in
Exhibit D, or such other comparable notice(s) approved by the Court, which is to be given to the
Settlement Class as provided in paragraph 4 below. The Settlement Notice as determined to be
appropriate and approved by the Court and meeting the criteria in paragraph 4, below, shall be
regarded as and is the best notice practicable under the circumstances.

        2.     Best Efforts to Garner Settlement’s Approval. The Parties and Class Counsel
agree to recommend that the Court approve the Settlement Agreement and further agree to
undertake their best efforts, including all steps and efforts contemplated by this Settlement
Agreement and any other reasonable steps and efforts that may be necessary or appropriate to
implement the terms of this Settlement Agreement and to garner Final Approval. The Parties
agree that they will not take any steps to suggest or recommend that members of the Settlement
Class should opt out of or elect to be excluded from this Settlement Agreement.

        3.     Motion for Preliminary Approval. Chesapeake, the Debtors in the Chapter 11
Plan, shall submit to the Court a motion for preliminary approval of the Settlement Agreement,
which shall include a request for entry of the Preliminary Approval Order in the form set forth in
Exhibit C. It is expressly understood that by entering into this Settlement Agreement,
Chesapeake does so for settlement purposes only. Chesapeake expressly reserves the right to
oppose certification of a litigation class or filing of a class proof of claim in the event the Court
denies the Motion for Preliminary Approval. The motion for preliminary approval also shall
include the proposed Settlement Notice in the form set forth in Exhibit D.

        4.      Class Notice. Within fifteen (15) days after the Court’s entry of the Preliminary
Approval Order or a date otherwise established by the Court, the Settlement Administrator shall
provide the Settlement Notice to the Settlement Class in the manner approved by the Court,
which Settlement Notice shall include mailing the Settlement Notice by first-class mail, postage
pre-paid, to individuals and entities who are in the Settlement Class and for whom Chesapeake
has addresses available from its business records. The Parties reserve the right to extend or
otherwise amend this timeframe as set forth in this Settlement Agreement. To the extent that any
Settlement Notices are returned because an individual or entity who is in the Settlement Class
does not reside at the address provided, the Settlement Administrator shall take reasonable steps
to obtain a valid address and re-mail the Settlement Notice. Chesapeake shall send a timely and
proper notice(s) or update(s) of this Settlement to all appropriate federal and state officials
consistent with the Class Action Fairness Act of 2005 (“CAFA”), including under 28 U.S.C.
§1715, if necessary.




                                                -9-
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1309 of 1639
                                                                         1309



       5.      Settlement Funds and Settlement Administrative Costs.

              5.1    Settlement Funds. The Settlement Funds shall be distributed pursuant to
the Final Approval Order.

              5.2    Provision of Information. Chesapeake shall provide such records and
information, including electronic data, in its possession, custody, or control, as may be
reasonably necessary for the Settlement Administrator to prepare a list of the members of the
Settlement Class, mail the Settlement Notice to the members of the Settlement Class, and
otherwise properly administer the Settlement.

               5.3.   Settlement Administrative Costs. In addition to the Settlement Funds,
Chesapeake shall be obligated to pay all Settlement Administrative Costs. This provision shall
survive any termination of this Settlement Agreement and is binding and effective even in the
absence of a Settlement Effective Date.

              5.4     No Further Payment Obligations. Upon the Court’s approval of the
Settlement Agreement and the distribution of funds pursuant to the Chapter 11 Plan, Chesapeake
shall have no further settlement payment obligations to the Settlement Class Members, Class
Counsel, or any other person whatsoever under this Settlement Agreement.

               5.5    No Obligations for Fees. Chesapeake shall have no obligation whatsoever
to pay any Attorneys’ Fees of Plaintiffs, Class Counsel, or Settlement Class Members, or any
Incentive Award Payments to Plaintiffs. Plaintiffs shall look exclusively to the Settlement Funds
to recover any Attorneys’ Fees or Incentive Award Payments or, subject to the Court’s approval,
from the economic benefits realized by the Future Royalty Calculations described in paragraph 6.

        6.     Future Royalty Calculations. In exchange for the consideration set forth in this
Agreement, including but not limited to the Release, the Settlement Class Members shall be
provided the opportunity to make an election concerning how Chesapeake (and its affiliates,
successors, and assigns) will calculate and pay Gas Royalties to the Settlement Class Members
and their successors and assigns after the Settlement Effective Date occurs, pursuant to the
Settlement Class Members’ Pennsylvania Leases in which Chesapeake currently owns an
interest. This paragraph applies to Pennsylvania Leases in which Chesapeake currently owns an
interest and applies to Chesapeake (and its affiliates, successors, and assigns) as well as the
Settlement Class Members and their successors and assigns. The prices set forth in paragraphs
6.1 and 6.2 of this Agreement do not apply to Pennsylvania Leases in which Chesapeake does
not own any interest as of the date of this Agreement. Therefore, the Parties agree that the Final
Judgment shall specify that the following provisions apply to the Settlement Class Members’
Pennsylvania Leases in which Chesapeake owns an interest as of the date of this Agreement.

              6.1      In-Basin Index Price Without Post-Production Deductions. The In-Basin
Index Price Without Post-Production Deductions refers to the calculation of Gas Royalties based
on the In-Basin Price without deduction of any Post-Production Costs and without deduction of
any other items, costs, or fees. When calculating and remitting royalty payments to Pennsylvania
Lessors under this scenario, Chesapeake may, if it is permitted by Pennsylvania law to do so,



                                              - 10 -
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1310 of 1639
                                                                         1310



deduct any applicable and properly-calculated state severance taxes from the royalty payments
and remit such deducted taxes to the appropriate governmental authority.

               6.2     Netback Price. The Netback Price refers to the calculation of Gas
Royalties based on the weighted average sales price a Chesapeake entity received for its
production month sales to third parties minus a proportionate share (net revenue interest share) of
the Post-Production Costs that Chesapeake incurred and any applicable and properly-calculated
state severance taxes. It is agreed, however, that Gas Royalties calculated under this scenario for
any given month and any given well shall never be in an amount that is less than zero. For
clarity, the Netback Price as described in this paragraph is how Gas Royalties have been
calculated and paid by Chesapeake in Pennsylvania pursuant to MEC Leases prior to the date of
this Agreement.

                 6.3     Notice and Election of Options. No later than sixty days after the
Settlement Effective Date of this Agreement, the Settlement Administrator shall provide written
notice (“Election Notice”) to each of the Settlement Class Members advising them of their right
to elect either (1) the higher of the In-Basin Index Price Without Post-Production Deductions and
the Netback Price; (2) the In-Basin Index Price Without Post-Production Deductions; or (3) the
Netback Price, each as defined in paragraphs 6.1 and 6.2. The Election Notice shall provide the
Settlement Class Members with an election period (“Election Period”) of at least ninety (90)
days from the date of the Election Notice within which to send their written election
(“Election”), if any, to the Settlement Administrator. To the extent no Election by a Settlement
Class Member is received by the Settlement Administrator within five (5) business days after the
expiration of the Election Period, such Settlement Class Member will be deemed to have elected
Option (1) (i.e., the higher of the In-Basin Index Price Without Post-Production Deductions and
the Netback Price). The Settlement Administrator shall, as soon as possible, and no later than ten
(10) business days after the expiration of the Election Period, provide Chesapeake with a copy of
all Elections received by the Settlement Administrator and a spreadsheet (in Microsoft Excel or
such other format as may be specified by Chesapeake’s Counsel) listing each Settlement Class
Member and identifying the election made by the Settlement Class Member. The Elections
made pursuant to this Agreement shall be final, and are not subject to change by the Settlement
Class Member after the expiration of the Election Period.

               6.4   The Elections chosen by the Settlement Class Members will be effective
and utilized by Chesapeake in calculating Gas Royalties beginning with royalties no later than
the first production month immediately following the month in which the Election Period
expired.

               6.5    The Election chosen by each Settlement Class Member will be deemed to
be an amendment of their Pennsylvania Lease, shall run with the land, and shall be binding on
the Settlement Class Member and Chesapeake and their respective successors and assigns.
Chesapeake will file the Final Judgment incorporating the terms of this Agreement with the
Clerk and Recorder of each county covered by the Pennsylvania Leases that are subject to
paragraph 6, and the future royalty calculation provisions of paragraph 6 of this Agreement shall
burden the Settlement Class Members’ interests and Chesapeake’s interests in the Pennsylvania
Leases. In the event of a contemplated transfer or assignment of its interests under any
Pennsylvania Lease that is subject to paragraph 6, Chesapeake shall provide written notification

                                              - 11 -
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1311 of 1639
                                                                         1311



to its proposed successor or assign of the applicability of this Agreement and the Election made
by the Settlement Class Member(s) covered by the Lease, and shall procure the written
agreement of the successor and assign to calculate and pay Gas Royalties in accordance with the
Election made by the Settlement Class Member(s).

               6.6   It is acknowledged that some volumes of Gas produced by Chesapeake
under the Pennsylvania Leases may be used as fuel, lost, or otherwise unaccounted for by a
provider of post-production operations or services (“FLU Volumes”). Regardless of a
Settlement Class Member’s Election, Chesapeake shall not deduct any FLU volumes when
calculating its Gas Royalty payments but shall, instead, pay Gas Royalties on one hundred
percent (100%) of the FLU Volumes, except as otherwise permitted by a Settlement Class
Member’s Pennsylvania Lease.

                6.7      If post-production operations or services are provided by a third party,
then the Post-Production Costs subject to deduction under the Netback Price shall be the Post-
Production Costs actually charged by the third party to Chesapeake and/or its affiliate and paid
by Chesapeake and/or its affiliate to the third party on an arm’s length basis. If post-production
operations or services are provided by Chesapeake and/or its affiliates, then the Post-Production
Costs for such operations or services subject to deduction under the Netback Price shall include
only Chesapeake’s and/or its affiliate’s actual and reasonable cost for such operations or
services. In addition, in taking deductions pursuant to the Netback Price, Chesapeake shall not
deduct or reflect as deductions, directly or indirectly, except as expressly allowed by a lease:
(a) any marketing fees, (b) any costs for production facilities, or (c) any costs for field separators,
flow lines, or the facilities or operations located between the wellhead and the point at which Gas
enters a gathering system; nor shall any such deductions be taken pursuant to the Netback Price.

               6.8    The Final Judgment shall modify only how Chesapeake (and its affiliates,
successors and assigns) calculates and pays Royalties on Chesapeake’s share of Gas production
and how Chesapeake (and its affiliates, successors and assigns) pays Gas Royalties on behalf of
any other person or entity holding a lessee/working interest under a Pennsylvania Lease. The
Final Judgment shall not modify how any other entity calculates and/or pays Royalties pursuant
to the Pennsylvania Leases.

               6.9     Except as specified herein and in the Final Judgment, paragraph 6 of this
Settlement Agreement shall not affect any other provisions of a Pennsylvania Lease. The Parties
expressly agree that paragraph 6 of this Settlement Agreement applies notwithstanding any
current or future law, statute, judicial decision, or rule regulating the payment of Royalties in
Pennsylvania.

        7.      Walk-Away Rights. In the event that there are Excluded Members who, when
combined, would be allocated twenty percent (20%) or more of the Settlement Fund, Chesapeake
shall have the right, in its sole and absolute discretion, within twenty (20) calendar days after the
opt-out deadline set by the Court, to notify Class Counsel in writing that Chesapeake has elected
to dissolve this Settlement Agreement and withdraw from the Settlement. In the event
Chesapeake provides such notification and thereby exercises its walk-away rights hereunder, the
Parties shall have no further obligations under this Settlement Agreement whatsoever.


                                                - 12 -
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1312 of 1639
                                                                         1312



       8.     Order, Final Judgment, and Dismissal. If the Court provides final approval of this
Settlement Agreement, then the Parties jointly and promptly shall seek entry of the Final
Judgment in the form set forth in Exhibit A. The Parties intend that the language in the Final
Judgment shall conform to the language in this Settlement Agreement, and the Parties will
modify Exhibit A if necessary to ensure such conformity.

       9.      Burkett Arbitration.

                9.1.    Defendant and the Burkett Plaintiffs-Intervenors agree to vacatur of the
January 28, 2014 and September 11, 2014 orders issued by the arbitration Panel in the Burkett
Arbitration. Within five days of the Settlement Effective Date (or if the fifth day falls on a
weekend or a federal holiday, then on the next business day thereafter), Defendant and the
Burkett Plaintiffs-Intervenors shall jointly submit a mutually-agreed upon form of vacatur to the
arbitration Panel. Consistent with paragraph 9.4, the Burkett Plaintiff-Intervenors and Defendant
agree to reinstate the orders if the Settlement Agreement does not become Final.

               9.2.    The Burkett Plaintiffs-Intervenors further agree that within five days of the
Settlement Effective Date (or if the fifth day falls on a weekend or a federal holiday, then on the
next business day thereafter), the Burkett Plaintiffs-Intervenors shall voluntarily dismiss the
Burkett Arbitration, with prejudice. In the interim, to the extent the arbitration Panel orders
briefing or other action in the Burkett Arbitration, Defendant and the Burkett Plaintiffs-
Intervenors agree to stay and shall make their best efforts to stay the Burkett Arbitration pending
this Settlement Agreement becoming Final.

               9.3.    Defendant further agrees that within five days of the Settlement Effective
Date (or if the fifth day falls on a weekend or a federal holiday, then on the next business day
thereafter), Defendant shall voluntarily dismiss the Burkett Arbitration and any appeals related
thereto. In the interim, to the extent a court orders briefing or other action in the Burkett
Arbitration, and any appeals related thereto, Defendant and the Burkett Plaintiffs-Intervenors
shall make their best efforts to stay the Burkett Arbitration pending this Settlement Agreement
becoming Final.

               9.4.    In the event this Settlement Agreement does not become Final, nothing in
paragraph 9 and its sub-sections shall preclude either Defendant or the Burkett Plaintiffs-
Intervenors from seeking to re-initiate the Burkett Arbitration or the Burkett Arbitration, or any
appeals related thereto, following termination of the automatic stay in the Chapter 11 Cases.

      10.      Conditions Precedent to Agreement’s Effect. This Settlement Agreement shall
become final, binding and effective upon the Settlement Effective Date, and not before then.

        11.     Modifications. Any modification to this Settlement Agreement or its exhibits,
whether modified by the Parties or any court, must be approved in writing signed by the Parties
or their authorized representatives to be binding.

       12.     Release.

                      12.1.1. As of the Settlement Effective Date and at all times thereafter, each
Plaintiff and Settlement Class Member hereby releases the Settled Claims and any and all claims

                                               - 13 -
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1313 of 1639
                                                                         1313



that Chesapeake is obligated to pay them royalties under their Pennsylvania Leases in any
manner other than the Election under paragraph 6 of this Agreement (including, but not limited
to, the Settled Claims). Plaintiffs and the Settlement Class Members hereby further agree that
they fully and forever release and discharge all working interest owners on whose behalf
Chesapeake has paid or will pay Royalties pursuant to Pennsylvania Leases from any and all of
the Settled Claims, but do so only to the limited extent of Chesapeake’s payments of Gas
Royalties on behalf of such working interest owners. Further, each of the Plaintiffs and the
Settlement Class Members agree that any claims (as defined by section 101(5) of the Bankruptcy
Code) against Chesapeake held by such Plaintiffs or Settlement Class Members shall be deemed
satisfied and released and any Settled Claims filed in the Bankruptcy Cases shall be discharged
and expunged from the claims registrar without any further order of the Bankruptcy Court. To
the extent any of the Plaintiffs or Settlement Class Members vote on the Chapter 11 Plan, they
shall vote in favor of the Plan and not opt out of the third party releases contained in the Chapter
11 Plan.

                       12.1.2 The Parties acknowledge and agree that the relief afforded under
this Settlement Agreement fully and completely compromises the Settlement Class Members’
claims for relief in Demchak and Burkett.

                        12.1.3 This Release also covers, without limitation, any and all claims for
Attorneys’ Fees, Incentive Award Payments, catalyst fees, costs, or disbursements incurred by
Class Counsel or any other counsel representing Plaintiffs or Settlement Class Members or by
Plaintiffs or the Settlement Class Members, or any of them, in connection with or related in any
manner to Demchak and Burkett, the settlement of Demchak and Burkett, the administration of
this Settlement, the implementation of this Settlement, and/or the Settled Claims except to the
extent otherwise specified in the Settlement Agreement.

               12.2 No Release of Non-Parties. Nothing herein shall operate or be construed
to release any claims the Parties and Settlement Class Members may have against any person or
entity who is not a Party hereto except as provided for in sub-paragraph 12.1.1, above.
Moreover, to the extent a Pennsylvania Lease provides an audit or accounting right, this
Agreement does not preclude the exercise of such audit or accounting right regarding Royalty
payments made after the Settlement Effective Date pursuant to the lessor’s election for future
royalty calculations under paragraph 6 of this Settlement Agreement.

        13.     Authority and Capacity to Execute. Each person signing this Settlement
Agreement on behalf of a Party represents that such signatory has the full and complete power,
authority and capacity to execute and deliver this Settlement Agreement and any documents to
be executed pursuant hereto, that all formalities necessary to authorize execution of this
Settlement Agreement so as to bind the principal, limited liability company, trust, partnership or
corporation have been undertaken, and that upon the occurrence of the Settlement Effective
Date, this Settlement Agreement will constitute the valid and legally binding obligation of each
such Party hereto, enforceable by and against that Party in accordance with its terms.

        14.    Successors and Assigns. This Settlement Agreement is binding upon and will
inure to the benefit of each of the Parties hereto and their respective agents, officers, directors,


                                               - 14 -
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1314 of 1639
                                                                         1314



shareholders, employees, consultants, heirs, devisees, legal representatives, attorneys, successors
and assigns.

        15.     Construction. The language of all parts of this Settlement Agreement and its
exhibits will in all cases be construed as a whole, according to its fair meaning, and not strictly
for or against any Party. All Parties have participated in the preparation of this Settlement
Agreement and its exhibits and no presumptions or rules of interpretation based upon the identity
of the Party preparing or drafting this Settlement Agreement or its exhibits, or any part thereof,
shall be applied or invoked.

         16.    Disputed Claims. It is understood that this Settlement Agreement constitutes a
compromise of highly disputed claims, and that neither (a) the consideration provided for herein,
(b) the entry into the Settlement Agreement or stipulation to the Final Judgment, nor (c) any
recital contained herein, will be construed, interpreted, or admissible as an admission of liability
by or on behalf of any Party hereto, all such liability being expressly denied, regardless of
whether this Settlement Agreement becomes Final. In the event that the Settlement Agreement
does not become Final, then this Settlement Agreement shall be of no force or effect, and the
Settlement Agreement and any and all negotiations, documents, and discussions associated with
it shall be without prejudice to the rights of any Party, shall not be deemed or construed to be an
admission or evidence of any liability or wrongdoing by Chesapeake or of the truth of any of the
claims or allegations contained in the complaint or any other pleading, and evidence thereof shall
not be discoverable or used directly or indirectly, in any way, whether in Demchak, Burkett, or in
any other action or proceeding. The Parties expressly reserve all of their respective rights,
claims and defenses if this Settlement Agreement does not become Final.
        The Parties agree that the Settlement Class will be certified for settlement purposes only,
that this Settlement shall not be construed to represent either an assertion or concession that such
a class would be manageable or appropriately certified for litigation, arbitration, trial, or a class
proof of claim in the Chapter 11 Cases, and in the event this Settlement Agreement is not given
final approval or this Settlement is not finalized for any reason whatsoever, the Parties
acknowledge and agree that Chesapeake remains free to challenge whether this proposed class or
any other proposed classes are properly certifiable in this litigation, in the Chapter 11 Cases, or
anywhere else, and Plaintiff shall not argue that anything in this Settlement Agreement limits
Chesapeake’s right to do so.

       The Parties further agree that by entering into this Settlement Agreement and seeking
Preliminary Approval and/or Final Approval, no Party waives or in any way diminishes its right
to demand that any disputes arising from the Pennsylvania Leases be decided in individual,
binding arbitration pursuant to the arbitration clause, if any, in any given lease or by litigation.
Moreover, neither the fact of this Settlement Agreement nor the fact that the Parties are seeking
court approval of this Settlement should be construed that the Parties or the Pennsylvania Leases
have agreed to or contemplated that disputes as to royalty payments may be resolved on a class-
wide basis in arbitration or otherwise.

       17.     Survival of Covenants and Representations. All covenants and representations
contained in this Settlement Agreement are contractual in nature, are not mere recitals, and will
survive the execution of this Settlement Agreement.


                                               - 15 -
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1315 of 1639
                                                                         1315



       18.     Miscellaneous.

                18.1 Governing Law. This Settlement Agreement is and will be governed by
the laws of the Commonwealth of Pennsylvania.

                18.2 Severability. In the event that a court of competent jurisdiction enters a
final judgment or decision holding invalid any nonmaterial provision of this Settlement
Agreement, the remainder of this Settlement Agreement will be fully enforceable. If a court of
competent jurisdiction holds invalid or materially modifies any material provision of this
Settlement Agreement, including but not limited to the provisions set forth in paragraph 6, either
Party shall be entitled to dissolve this Settlement Agreement and withdraw from the Settlement.

                18.3 Counterparts. This Settlement Agreement may be executed by facsimile
or electronic signatures and in counterparts, all of which will have full force and effect between
the Parties, subject to all conditions precedent and subsequent set forth herein.

              18.4 Integration. This Settlement Agreement and its exhibits constitute the
entire agreement of the Parties and a complete merger of all prior negotiations and agreements.

                18.5 Headings. The headings of the paragraphs and subparagraphs herein are
intended solely for convenience or reference and will not control or influence the meaning or
interpretation of any of the provisions of this Settlement Agreement.

               18.6 Gender and Number. Whenever applicable, the pronouns designating the
feminine, masculine and neuter will equally apply to the feminine, masculine and neuter genders;
the singular will include the plural and the plural will include the singular.

                18.7 Fees and Costs. Chesapeake shall bear its own costs, expenses, and
attorneys’ fees incurred in connection with Demchak, Burkett, this Settlement, and performance
of the obligations imposed hereunder. Chesapeake shall have no obligation to pay the Attorneys’
Fees or Incentive Award Payments of Plaintiffs, any Settlement Class Member, Class Counsel,
or any other counsel or representative.

                      18.7.1 Class Counsel may request Court approval for the payment from
the Settlement Funds of Incentive Award Payments to Plaintiffs.

                      18.7.2 Class Counsel will request reimbursement of Litigation Expenses
to be paid from the Settlement Funds. Class Counsel will also request an award of Attorneys’
Fees to be paid from the Settlement Funds and/or from future economic benefits realized under
the Future Royalty Calculation Method. Chesapeake will take no position on the amount of any
requests for reimbursement of Litigation Expenses or Attorneys’ Fees to Class Counsel or
Incentive Award Payments to Plaintiffs.




                                              - 16 -
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1316 of 1639
                                                                         1316



               18.8 Extensions of Time. The Parties reserve the right, subject to the Court’s
approval, to mutually agree to any reasonable extension of time that might be necessary to carry
out any of the provisions of this Settlement Agreement.

               18.9 Notice. All notices called for by this Settlement Agreement shall be sent to
Class Counsel on behalf of Plaintiffs and all Settlement Class Members; and to Chesapeake’s
Counsel on behalf of Chesapeake. Such notice shall become effective when placed in the United
States mail, prepaid first-class postage affixed, addressed to the addresses listed in paragraph 1
above. It is the responsibility of each Party to notify all other Parties of any change in any of
these addresses. The Party giving notice shall make reasonable efforts also to provide copies of
any notices by electronic mail or telephonic facsimile at the same time notice is placed in the
mail.

                      18.9.1 Class Counsel, or any person acting on behalf of Class Counsel,
shall not publish any form of written notice except as provided for herein without prior written
approval of the content of such notice by Chesapeake, other than any information provided to
any Court in furtherance of this Settlement Agreement.

                        18.9.2 It shall be the responsibility of Class Counsel, or its designees, to
respond to all inquiries from members of the Settlement Class.

                      18.9.3 Plaintiffs agree that they shall not elect or seek to opt out of or
exclude themselves from the Settlement Class.

                       18.9.4 Plaintiffs, Class Counsel, and Chesapeake hereby agree not to
initiate, nor respond to, any communications with the media or press, on the Internet, or in any
public forum, orally or in writing, that relate to this Settlement, Demchak, or Burkett that could
be viewed to cast Plaintiffs, Class Counsel, or Chesapeake in an unfavorable light or otherwise
be inconsistent with the Settlement Notice, the Settlement Agreement, and Court papers filed by
the Parties in connection with the Settlement Agreement.




                                               - 17 -
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1317 of 1639
                                                                       1317




AGREED TO AND DATED AS OF THE ^'/■^day OF MARCH, 202 L



APPROVED BY CLASS COUNSEL               D£MCEL4/i: PLAINTIFFS, FOR
AND COUNSEL FOR THE                     THEMSELVES AND ON BEHALF OF
DEMCHAK PLAINTIFFS:                     THE SETTLEMENT CLASS:




Larry D. Mijffett                       FOR DEMCHAK PARTNERS LIMITED
Law Office of Larry D. Moffett, PLLC    PARTNERSHIP
P.O. Box 1418
Oxford, MS 38655

                                        FOR JAMES P. BURGER, JR. & BARBARA
Charles E. Schaffer                     H. BURGER
Levin, Fishbein, Sedran & Berman
510 Walnut Street, Ste 500
Philadelphia, PA 19106
                                        FOR WILLIAM A. BURKE, II & CLARA
                                        BURKE
Charles J. LaDuca
Cuneo Gilbert & LaDuca, LLP
8120 Woodmont Avenue
                                        FOR WILLIAM A. BURKE, HI
Suite 810
Bethesda, MD 20814

                                        FOR EDWARD J. BURKU

John W. (“Don”) Barrett
Barrett Law Group                       FOR DONALD G. FULLER & KAREN M.
Post Office Drawer 927
                                        FULLER
Lexington, MS 39095

                                        FOR RANDY K. HEMERLY

Daniel E. Seitz
Lieff, Cabraser, Heimann & Bernstein,
LLP                                     FOR LAMAR R. KING
250 Hudson St., 8th Floor
New York, NY 10013
                                        FOR LINDA J. SCHLICK



Michelle R. O’Brien
                                        FOR JANET C. YOUNG
The O’Brien Law Group LLC
2800 Stafford Ave., Box 3034
Scranton, PA 18505



                                        - 18 -
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1318 of 1639
                                                                         1318



AGREED TO AND DATED AS OF THE ____ DAY OF MARCH, 2021.


APPROVED BY CLASS COUNSEL               DEMCHAK PLAINTIFFS, FOR
AND COUNSEL FOR THE                     THEMSELVES AND ON BEHALF OF
DEMCHAK PLAINTIFFS:                     THE SETTLEMENT CLASS:



____________________________            _________________________________
Larry D. Moffett                        FOR DEMCHAK PARTNERS LIMITED
Law Office of Larry D. Moffett, PLLC    PARTNERSHIP
P.O. Box 1418
Oxford, MS 38655                        _________________________________
____________________________            FOR JAMES P. BURGER, JR. & BARBARA
Charles E. Schaffer                     H. BURGER
Levin, Fishbein, Sedran & Berman
510 Walnut Street, Ste 500              _________________________________
Philadelphia, PA 19106                  FOR WILLIAM A. BURKE, II & CLARA
__________________________              BURKE
Charles J. LaDuca
Cuneo Gilbert & LaDuca, LLP             _________________________________
8120 Woodmont Avenue                    FOR WILLIAM A. BURKE, III
Suite 810
Bethesda, MD 20814
                                        _________________________________
                                        FOR EDWARD J. BURKE
__________________________
John W. (“Don”) Barrett                 _________________________________
Barrett Law Group
                                        FOR DONALD G. FULLER & KAREN M.
Post Office Drawer 927
                                        FULLER
Lexington, MS 39095
                                        _________________________________
                                        FOR RANDY K. HEMERLY
__________________________
Daniel E. Seltz
Lieff, Cabraser, Heimann & Bernstein,   _________________________________
LLP                                     FOR LAMAR R. KING
250 Hudson St., 8th Floor
New York, NY 10013                      _________________________________
                                        FOR LINDA J. SCHLICK

___________________________             _________________________________
Michelle R. O’Brien                     FOR JANET C. YOUNG
The O’Brien Law Group LLC
2800 Stafford Ave., Box 3034
Scranton, PA 18505


                                        - 18 -
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1319 of 1639
                                                                      1319
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1320 of 1639
                                                                       1320
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1321 of 1639
                                                                       1321
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1322 of 1639
                                                                       1322
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1323 of 1639
                                                                       1323
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1324 of 1639
                                                                       1324
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1325 of 1639
                                                                       1325
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1326 of 1639
                                                                            1326
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1327 of 1639
                                                                         1327



AGREED TO AND DATED AS OF THE ____ DAY OF MARCH, 2021


APPROVED BY CLASS COUNSEL               DEMCHAK PLAINTIFFS, FOR
AND COUNSEL FOR THE                     THEMSELVES AND ON BEHALF OF
DEMCHAK PLAINTIFFS:                     THE SETTLEMENT CLASS:

__________________________
Larry D. Moffett                        _________________________________
Law Office of Larry D. Moffett, PLLC    FOR DEMCHAK PARTNERS LIMITED
P.O. Box 1418                           PARTNERSHIP
Oxford, MS 38655
                                        _________________________________
____________________________            FOR JAMES P. BURGER, JR. & BARBARA
Charles E. Schaffer                     H. BURGER
Levin, Fishbein, Sedran & Berman
510 Walnut Street, Ste 500              _________________________________
Philadelphia, PA 19106                  FOR WILLIAM A. BURKE, II & CLARA
                                        BURKE

___________________________             _________________________________
Charles J. LaDuca
                                        FOR WILLIAM A. BURKE, III
Cuneo Gilbert & LaDuca, LLP
8120 Woodmont Avenue
Suite 810                               _________________________________
Bethesda, MD 20814                      FOR EDWARD J. BURKE

                                        _________________________________
___________________________             FOR DONALD G. FULLER & KAREN M.
John W. (“Don”) Barrett                 FULLER
Barrett Law Group
                                        _________________________________
Post Office Drawer 927
                                        FOR RANDY K. HEMERLY
Lexington, MS 39095

__________________________              _________________________________
Daniel E. Seltz                         FOR LAMAR R. KING
Lieff, Cabraser, Heimann & Bernstein,
LLP                                     _________________________________
250 Hudson St., 8th Floor               FOR LINDA J. SCHLICK
New York, NY 10013
                                        _________________________________
___________________________
                                        FOR JANET C. YOUNG
Michelle R. O’Brien
The O’Brien Law Group LLC
2800 Stafford Ave., Box 3034
Scranton, PA 18505

                                        - 18 -
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1328 of 1639
                                                                       1328
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1329 of 1639
                                                                       1329




                     EXHIBIT A
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1330 of 1639
                                                                         1330




                                UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                     BANKRUPTCY COURT


                                                        )
In re:                                                  )    Chapter 11
                                                        )
CHESAPEAKE ENERGY CORPORATION,                          )    Case No. 20-33233 (DRJ)
et al., 1
                                                        )
                                   Debtors.             )    (Jointly Administered)
                                                        )

  [PROPOSED] ORDER (I) DIRECTING THE APPLICATION OF RULES 9014, 9019,
    AND 7023, (II) CERTIFYING THE SETTLEMENT CLASS FOR SETTLEMENT
 PURPOSES ONLY, (III) FINALLY APPROVING THE SETTLEMENT AGREEMENT,
                     AND (IV) GRANTING RELATED RELIEF




1 A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
claims and noticing agent at https://dm.epiq11.com/chesapeake. The location of Debtor Chesapeake Energy
Corporation’s principal place of business and the Debtors’ service address in these chapter 11 cases is 6100 North
Western Avenue, Oklahoma City, Oklahoma 73118.
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1331 of 1639
                                                                         1331



       Upon      the   motion     (the    “Motion”)       of   Chesapeake     Energy     Corporation

(“Chesapeake”) and Plaintiffs for entry of an order (this “Order”): (i) directing the application of

Rules 9014, 9019, and 7023 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”) and, by incorporation, Rule 23 of the Federal Rules of Civil Procedure (the “Federal

Rules”), (ii) certifying the Settlement Class, as defined in the Settlement Agreement, for

settlement purposes only, and (iii) finally approving the Settlement Agreement attached

as Exhibit 3 to the Motion, and (iv) granting related relief as more fully set forth in the Motion

and the Settlement Agreement, and this Court having jurisdiction over this matter pursuant

to 28 U.S.C. §§ 157 and 1334; and this Court having found that this is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2); and this Court having found that it may enter a

preliminary order consistent with Article III of the United States Constitution; and this

Court having found that venue of this proceeding and the Motion in this district is

permissible
§§ 1408 andpursuant
            1409; and
                    to this
                        28 U.S.C.
                            Court having found that the relief requested in the Motion is in the

best interests of the Debtors’ estates, their creditors, and other parties in interest; and this Court

having found that the Debtors’ notice of the Motion and opportunity for a hearing on the Motion

were appropriate under the circumstances and no other notice need be provided; and this Court

having found that the Notice of Settlement and opportunity for a hearing on the Motion were

appropriate under the circumstances and no other notice need be provided; and this Court having

found that each putative member of the Settlement Class was afforded a reasonable opportunity

to opt out of or object to the Settlement; and this Court having found Debtors to have complied

with 28 U.S.C. § 1715; and this Court having reviewed the Motion and having heard the

statements in support of the relief requested therein at a hearing before this Court (the

“Settlement Fairness Hearing”); and this Court having considered each of the factors listed in




                                                 -   2-
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1332 of 1639
                                                                         1332



Civil Rule 23; and this Court having determined that the legal and factual bases set forth in the

Motion and at the Settlement Fairness Hearing establish just cause for the relief granted herein;

and this Court having entered an order preliminarily approving the Settlement Agreement,

among other things Docket No. [] (the “Preliminary Approval Order”); and this Court having

found that the Settlement Administrator complied with the Preliminary Approval Order; and this

Court having found that the Settlement is fair, reasonable, and adequate; and this Court having

found that the Plan of Allocation and Distribution is fair and reasonable to the Settlement Class;

and upon all of the proceedings had before this Court; and after due deliberation and sufficient

cause appearing therefor, it is HEREBY ORDERED THAT:

   1. Pursuant to, and in accordance with, Bankruptcy Rules 7023, 9014, and 9019, and Civil

Rule 23, the Settlement Agreement is hereby approved on a final basis.

   2. The Settlement Class shall include:

               [A]ll individuals and entities, including their predecessors and
               successors-in-interest, who, according to the business records
               maintained by Chesapeake, are or have been lessor parties to one
               or more Pennsylvania Leases, to the extent of their interests in such
               Pennsylvania Leases.        The Settlement Class excludes (a)
               Chesapeake; (b) any person or entity who owns a working interest
               in or operates a gas well in Pennsylvania; (c) any person or entity
               who receives royalty in kind pursuant to a Pennsylvania Lease; (d)
               any person or entity who has previously released Chesapeake from
               liability concerning or encompassing any or all Settled Claims; (e)
               the federal government; (f) legally-recognized Indian Tribes; and
               (g) any person who serves as a judge in this civil action and his/her
               spouse.

   3. Pennsylvania Leases means each and every oil and gas lease that (a) covers a leasehold

located in Pennsylvania except for the portions of Southwestern Pennsylvania covered by the

Gas Gathering Contract Cost of Service - South Marcellus, (b) contains a Market Enhancement

Clause or Ready for Sale or Use Clause, and (c) is or has been owned, in whole or in part, by




                                               -   3-
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1333 of 1639
                                                                         1333



Chesapeake Appalachia, L.L.C. as a lessee, according to the business records maintained by

Chesapeake.

   4. The Settlement Class is certified for settlement purposes only pursuant to Bankruptcy

Rules 7023, 9014, 9019, and Civil Rule 23.

   5. Upon Defendant’s transfer of the Settlement Funds the Defendant shall have no further

liability for payment of any additional amount under the Settlement Agreement.

   6. The putative members of the Settlement Class listed on Exhibit [] to this Judgment

elected to opt-out of the Settlement Class and are not entitled to receive any Settlement Funds.

   7. All Settlement Class Members who did not exercise the right to opt-out of the Settlement

Class are bound by this Judgment and the terms of the Settlement Agreement.

   8. Each Settlement Class Member and the heirs, devisees, successors, assigns, agents and/or

representatives of each Settlement Class Member, and each Defendant and Affiliate of each

Defendant and their successors shall be barred from asserting any and all Released Claims

against the Released Parties.

   9. Each Settlement Class Member and the heirs, devisees, successors, assigns, agents and/or

representatives of each Settlement Class Member, and each Defendant and Affiliate of each

Defendant and their successors shall be conclusively deemed to have released any and all

Released Claims against the Released Parties.

   10. Distribution of the Settlement Funds and election of future royalty payment

methodologies shall be made in accordance with the Settlement Agreement.

   11. No Settlement Class Member filed an objection to the Settlement. Hence, no Settlement

Class Member has standing to appeal entry of this Judgment. Nonetheless, any Settlement Class




                                                -   4-
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1334 of 1639
                                                                         1334



Member that wishes to appeal this Judgment or the Fees and Expenses Order must file a notice

of appeal within (14) days of entry of this Judgment pursuant to Bankruptcy Rule 8002.

   12. Neither the Preliminary Approval Order, this Judgment, the Settlement Agreement, the

negotiations leading to the Settlement Agreement, nor the carrying out of the Settlement

Agreement may ever be used by any person or entity as proof of the viability of any claim, cause

of action, or in any other proceeding.

   13. This Court retains jurisdiction to construe, interpret, enforce, and implement the

Settlement Agreement and this Judgment.



   SO ORDERED this ____ day of _________, 2021.




                                                       ________________________________
                                                             HON. DAVID R. JONES




                                              -   5-
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1335 of 1639
                                                                       1335




                     EXHIBIT B
              Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1336 of 1639
                                                                                     1336
                                 UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                      BANKRUPTCY COURT

                                                         )
In re:                                                   )                Chapter 11
                                                         )

CHESAPEAKE ENERGY                                        )                Case No. 20-33233 (DRJ)
                     1
CORPORATION, et al.,
                                                         )
                          Debtors.                       )                (Jointly Administered)
                                                         )

                                     PLAN OF ALLOCATION AND DISTRIBUTION

         1.      Plan of Allocation

               (a)    The aggregate amount of funds available for distribution to the Settlement Class Members
(“Distribution Funds”) will be determined by subtracting from the Settlement Funds any award of Attorneys’ Fees,
Litigation Expenses, and/or Incentive Payments that the Court may grant to Plaintiffs, Class Members, or Class
Counsel.

               (b)    Each Settlement Class Member’s allocated share of the Distribution Funds will be calculated
in a two-step process. First, each class member’s percentage share of the total amount of Royalty deductions for
Post-Production Costs that Chesapeake has taken from the Settlement Class under Pennsylvania Leases up to
December 31, 2020. Second, the Class Member’s percentage share of the total Royalty deductions will be used as
the Class Member’s percentage of the Distribution Funds.

               (c)   Calculation of each Settlement Class Member’s allocated share of the Distribution Funds
shall be based upon Chesapeake’s accounting records that identify the lessors to whom royalties were paid up to the
December 31, 2020. Claims between or among Settlement Class Members as to their respective entitlements to
Distribution Funds under a given Pennsylvania Lease shall be resolved by and among such Settlement Class
Members. Chesapeake shall have no obligation or responsibility to address or resolve any such disputes, and no
payment obligation beyond the distribution required by paragraph 1.b of this Plan of Allocation and Distribution.

                (d)    Chesapeake will be entitled to any portion of the Distribution Funds that is attributable to
those lessors who have opted out of the Settlement Class. Any other unclaimed portion of the Distribution Funds
that remains after payment has been made to the Settlement Class Members shall be distributed as ordered by the
Court, to the extent permissible under applicable law.

                (e)     The Settlement affects only Chesapeake and/or its Affiliates and does not affect how any
other entity calculates and/or pays Royalties.

       2.    Heirship Notification Form. Some persons included in the Settlement Class definition may now be
deceased (“Deceased Class Members”). In order to assist the Settlement Administrator in the allocation and

1 A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ claims and noticing agent
at https://dm.epiq11.com/chesapeake. The location of Debtor Chesapeake Energy Corporation’s principal place of business and the
Debtors’ service address in these chapter 11 cases is 6100 North Western Avenue, Oklahoma City, Oklahoma 73118.
            Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1337 of 1639
                                                                                                   1337
distribution of funds attributable to the interests of Deceased Class Members, the Settlement Notice mailed to
Settlement Class Members will be accompanied by an Heirship/Beneficiary Information Form (“Heirship Form”),
which will be substantially in the form of the document attached hereto as Attachment 1. If a Settlement Class
Member believes that he or she is entitled to receive all, or some portion, of the settlement funds allocable to a
Deceased Class Member under the Plan of Allocation, then the Settlement Class Member will be requested, but not
required, to mail to the Settlement Administrator a completed Heirship Form containing the information and
documents requested therein.

        The provision of an Heirship Form will be requested as an aid to the Settlement Administrator in the
distribution of the Settlement Funds, but shall not constitute a required proof of claim form, nor be a condition
precedent to the allocation and distribution of settlement monies attributable to a Deceased Class Member’s
interests. In the absence of an Heirship Form, the Settlement Administrator may, but will not be required to, review
records in Defendant’s possession, including division orders, transfer orders, probate records, payment records, and
like documents, and reasonably attempt to allocate and distribute Settlement Funds attributable to a Deceased Class
Member’s interest to the person, or persons, who received royalty payments from the Producers as a successor-in-
interest to the Deceased Class Member in the ordinary course of business. The Settlement Administrator may also
allocate and distribute Settlement Funds attributable to a Deceased Class Member’s interests to the estate of the
Deceased Class Member, with any such payment to be sent to such mailing address as may be readily ascertainable
by the Settlement Administrator.

       To the extent a Settlement Class Member is an entity, such as a family limited partnership, that is no longer
in existence, such a Settlement Class Member’s share of the Distribution Funds shall be distributed to the
successor(s) in interest to that entity based on Chesapeake’s records.

3.     Distribution of Settlement Proceeds

              (a)     Within sixty (60) days after the Effective Date, the Settlement Administrator shall make a
determination as to the amounts owed to each Settlement Class Member and shall issue checks to each Settlement
Class Member to whom a payment is owed. Chesapeake shall provide data pertaining to Settlement Class
Members’ historic Royalty deductions for Post-Production Costs within thirty (30) days of the Effective Date.
               (b)    The amount of money to be disbursed to each Settlement Class Member will be the
Settlement Class Member’s allocated share of the Settlement Funds as calculated in accordance with the Plan of
Allocation, including any interest earned thereon, reduced by his or her proportionate share of Court-approved
Litigation Expenses, Administrative Costs, and Attorneys’ Fees, Incentive Award Payments, and any interest
earned thereon.

               (c)     The Settlement Administrator shall, not less than one year after the Effective Date, determine
for the Court the total dollar amount of the distribution checks which were payable to Settlement Class Members
but which were not negotiated by the Settlement Class Members for any reason, for example, because a Settlement
Class Member could not be located or a Settlement Class Member failed or refused to negotiate his distribution
check. All such unclaimed monies shall be transferred to a charitable organization agreed to by Plaintiffs, Plaintiffs-
Intervenors, and Defendant.

       4.      Disputed Claims. Any dispute between persons who are, or who purport to be, Settlement Class
Members concerning the distribution of a portion of the Distribution Funds shall be resolved by and among such
Settlement Class Members. Chesapeake shall have no obligation or responsibility to address or resolve any such
disputes, and no payment obligation beyond the distribution required by paragraph 1.b of this Plan of Allocation
and Distribution. Such dispute shall not in any way affect, delay, or interfere with, the approval of the settlement or
            Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1338 of 1639
                                                                                                   1338
any distribution to any persons not involved in the dispute, including any distribution to other Settlement Class
Members or Class Counsel.

        5.      Claims Based Upon Distributions. No Settlement Class Member shall have any claim against the
Class Representatives, Class Counsel, the Settlement Administrator, or Defendant based upon distributions made
substantially in accordance with the Settlement Agreement, the Plan of Allocation and Distribution, or orders of the
Court, or in good faith reliance on any public records or records provided by Defendant or any other person or
entity.

         6.     Final Report of Distribution by Settlement Administrator. Within sixty (60) days after completing
full distribution of the Settlement Funds, unless otherwise ordered by the Court, the Settlement Administrator shall
file with the Court a Final Report (together with a proposed order approving such report and discharging the
Settlement Administrator) indicating that the Settlement Funds have been distributed in accordance with the terms
of the Settlement Agreement and the Court’s prior orders.

        7.     Settlement Administrator. As used herein and in the exhibits hereto, the term “Settlement
Administrator” means any person approved by Lead Class Counsel to administer the Settlement in accordance with
the Settlement Agreement, Final Judgment, and this Plan of Allocation and Distribution.

        8.      Definitions. All terms defined in the Settlement Agreement shall have the same meaning when used
in this Plan of Allocation and Distribution except as otherwise specified herein.
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1339 of 1639
                                                                       1339
                           ATTACHMENT 1
              Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1340 of 1639
                                                                                     1340
                                            UNITED STATES DISTRICT COURT
                                             SOUTHERN DISTRICT OF TEXAS
                                                 BANKRUPTCY COURT

                                                         )
In re:                                                   )                Chapter 11
                                                         )

CHESAPEAKE ENERGY                                        )                Case No. 20-33233 (DRJ)
CORPORATION, et al.,1
                                                         )
                          Debtors.                       )                (Jointly Administered)
                                                         )

            CLASS ACTION SETTLEMENT HEIRSHIP/BENEFICIARY INFORMATION FORM

The information in this form is solicited to assist the Settlement Administrator in the allocation and distribution of
monies attributable to the interests of persons included in the Settlement Class definition who are now deceased
(“Deceased Class Members”). If you are an heir or beneficiary of a Deceased Class Member and thereby believe
you are entitled to receive all, or some portion, of the Distribution Funds allocable to a Deceased Class Member
under the Settlement Agreement’s Plan of Allocation and Distribution, then you are requested to provide the
information set forth below. Please sign, notarize and mail the completed form in a postage-prepaid envelope, to
the Settlement Administrator listed below, postmarked no later than _________________, 2021.
You should send your completed form to:

Administrator Address

If you have any questions about this form, please write the Settlement Administrator at the address above, email the
Settlement Administrator at email address, or call the Settlement Administrator at N-NNN-NNN-NNNN.
Additional blank forms are available for download at settlement website.




1 A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ claims and noticing agent
at https://dm.epiq11.com/chesapeake. The location of Debtor Chesapeake Energy Corporation’s principal place of business and the
Debtors’ service address in these chapter 11 cases is 6100 North Western Avenue, Oklahoma City, Oklahoma 73118.
            Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1341 of 1639
                                                                                                    1341
The Heirship Form is requested as an aid to the Settlement Administrator in the distribution of the Distribution
Funds, but shall not constitute a required proof of claim form. In the absence of an Heirship Form, the Settlement
Administrator may, but is not required to review records in Chesapeake’s possession, including division orders,
transfer orders, probate records, payment records, and like documents, in an attempt to reasonably allocate and
distribute Distribution Funds attributable to a Deceased Class Member’s interests, to the person, or persons, who
received Royalty payments from Chesapeake as a successor-in-interest to the Deceased Class Member in the
ordinary course of business. The Settlement Administrator may also allocate and distribute Distribution Funds
attributable to a Deceased Class Member’s interests to the estate of the Deceased Class Member, with any such
payment to be made payable to the estate of the Deceased Class Member and sent to such mailing address for the
estate as may be readily ascertainable by the Settlement Administrator.
Requested Information
A.      Provide the following information about the person submitting this form:

       1.      Current Name:_____________________________________________________

       2.      Any different name under which you may have received gas royalty payments from Chesapeake:

                              ______________________________________________________

       3.      Current Address
                      Address 1:


                       Address 2:


       City:           State: Zip:   _________

       4.      Current Telephone Number (          )       _-

B.     Provide the following information about the Deceased Class Member to whom this Heirship Form pertains:

       1. Name:________________________________



       2. The approximate date of the Deceased Class Member’s death: /           /
       3. Identify each oil and gas lease number under which the Deceased Class Member received royalty payments
       on gas produced by Chesapeake (if you know).

       Lease: Lease:          Lease: Lease:         Lease: Lease:         Lease: Lease:



C.      List the name and address of each person and/or entity who is an heir or beneficiary of the
        Deceased Class Member and succeeded to the Deceased Class Member’s mineral or royalty
        interests and specify the fractional share (e.g., 1/2, 1/3, etc.) of the Deceased Class Member’s
        interests to which each such person or entity succeeded:
        Name: ________________ Percentage:            __________
        Name: ________________ Percentage:            __________
        Name: ________________ Percentage:            __________
        Name: ________________ Percentage:            __________
       Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1342 of 1639
                                                                              1342




D.   Attach copies of documentation, such as probate documents, transfer orders, division orders, and
     like documents, which evidence that the undersigned and the persons identified in paragraph C,
     above, succeeded to the Deceased Class Member’s interests.

     Your signature on this Heirship Form constitutes a representation that the information contained
     in this form and the documents provided with the form, are true and correct, to the best of your
     knowledge, information, or belief.




     State of                     County of __________

     On _________,          _____, before me, a Notary Public in and for said County, personally
     appeared_____________          , who acknowledged that he/she/they did sign the foregoing
     document and that it is their act and deed.

     My commission expires

     Signature / Notary Public     Name / Notary Public




                                                     7
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1343 of 1639
                                                                       1343




                     EXHIBIT C
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1344 of 1639
                                                                         1344



                                UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                     BANKRUPTCY COURT

                                                        )
In re:                                                  )    Chapter 11
                                                        )
CHESAPEAKE ENERGY CORPORATION,                          )    Case No. 20-33233 (DRJ)
et al., 1
                                                        )
                          Debtors.                      )    (Jointly Administered)
                                                        )

 [PROPOSED] ORDER (I) DIRECTING THE APPLICATION OF RULES 9014, 9019,
   AND 7023, (II) GRANTING PRELIMINARY APPROVAL OF CLASS ACTION
SETTLEMENT, (III) PRELIMINARILY CERTIFYING A CLASS FOR SETTLEMENT
PURPOSES, (IV) APPROVING FORM AND MANNER OF CLASS NOTICE, AND (V)
 SETTING DATE FOR FINAL APPROVAL HEARING ON FINAL APPROVAL OF
                             SETTLEMENT




1 A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors'
claims and noticing agent at https://dm.epiq11.com/chesapeake. The location of Debtor Chesapeake Energy
Corporation's principal place of business and the Debtors' service address in these chapter 11 cases is 6100 North
Western Avenue, Oklahoma City, Oklahoma 73118.
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1345 of 1639
                                                                         1345



       Upon      the    motion     (the   “Motion”)      of    Chesapeake      Energy     Corporation

(“Chesapeake”) for entry of an order (this “Order”): (i) directing the application of Rules 9014,

9019, and 7023 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and, by

incorporation, Rule 23 of the Federal Rules of Civil Procedure (the “Federal Rules”), (ii)

granting preliminary approval of the class action settlement attached as Exhibit 3 to the Motion

(the “Settlement Agreement”); (iii) preliminarily certifying a class for settlement purposes, (iv)

approving the form and manner of Class Notice to members of the Settlement Agreement, and

(v) setting date for final approval hearing on final approval of the settlement, and this Court

having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; and this Court

having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court

having found that it may enter a preliminary order consistent with Article III of the United States

Constitution; and this Court having found that venue of this proceeding and the Motion in this

district is permissible pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that

the relief requested in the Motion is in the best interests of the Debtors’ estates, their creditors,

and other parties in interest; and this Court having found that the Debtors’ notice of the Motion

and opportunity for a hearing on the Motion were appropriate under the circumstances and no

other notice need be provided; and this Court having reviewed the Motion and having heard the

statements in support of the relief requested therein at a hearing before this Court (the

“Hearing”); and this Court having determined that the legal and factual bases set forth in the

Motion and at the Hearing establish just cause for the relief granted herein; and upon all of the

proceedings had before this Court; and after due deliberation and sufficient cause appearing

therefor, it is HEREBY ORDERED THAT:

   1. The Motion is granted to the extent set forth herein.




                                                 -2-
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1346 of 1639
                                                                         1346



   2. The Settlement Agreement attached as Exhibit 3 to the Motion is hereby preliminarily

approved. The Court preliminarily finds that the Settlement Agreement complies with Federal

Rule of Civil Procedure 23 and the Class Action Fairness Act of 2005 (“CAFA”) (28 U.S.C.

§1715).

   3. The form of the notice to be sent to the Class Members (the “Class Notice”) attached to

the Settlement Agreement as Exhibit D and the service of the Class Notice by the Epiq Corporate

Restructuring LLC (the “Settlement Administrator”) to each class Member, at the last known

address of each Class Member according to the Debtors’ books and records (or as updated by

Class Counsel’s searches for current addresses or as may otherwise be determined by the Parties)

comports with all applicable law and is hereby approved.

   4. The Class Notice shall be mailed by first-class mail, postage prepaid, by the Notice

Administrator within 15 business days following the entry of this Order.

   5. The parties shall file motions and memoranda in support of final approval of the

Settlement Agreement and Class Counsel shall file their request for attorneys’ fees and expense

reimbursements on or before _______.

   6. Any member of the Class who wishes to object to or comment on the proposed

settlement, or to object to Class Counsel’s request for attorney’s fees and expense

reimbursements, must postmark and mail such objections or comments on or before ________.

In accordance with the procedures set forth in the Settlement Notice, any such objections or

comments must be mailed to Class Counsel, Chesapeake’s counsel, and the Court.

   7. Any member of the Class who wishes to exclude himself or herself from the Class

Settlement must postmark and mail the exclusion request to Class Counsel and Chesapeake’s

counsel no later than _______.




                                               -3-
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1347 of 1639
                                                                         1347



   8. Any class member who wishes to appear and be heard at the final approval hearing must

postmark and mail notice of such intention on or before ______. Notice of such intention must

be mailed to Class Counsel, Chesapeake’s counsel, and the Court.

   9. On or before _____, Class Counsel and Chesapeake may file a response to any Class

Member’s objections or comments.

   10. The Court shall conduct the Fairness Hearing on [_______________], 2021 at [___].m.

to consider final approval of the Settlement Agreement and Class Counsel’s request for

attorneys’ fees and expense reimbursements. The Court may adjourn the Fairness Hearing

without further notice of any kind.

   11. This Court retains jurisdiction to construe, interpret, enforce, and implement the

Settlement Agreement and this Order.

       SO ORDERED this ____ day of _________, 2021.




                                                   ________________________________
                                                   HON. DAVID R. JONES




                                             -4-
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1348 of 1639
                                                                       1348




                     EXHIBIT D
        Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1349 of 1639
                                                                               1349



                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                   BANKRUPTCY COURT
     There are Proposed Settlements of lawsuits brought on behalf of the Commonwealth of
Pennsylvania (“PA AG Action”) and Pennsylvania Royalty Owners against Chesapeake Appalachia,
                 L.L.C., Chesapeake Energy Corporation and other defendants.

    If you have received royalty payments from Chesapeake or you have an existing unexpired
         lease with Chesapeake, you may be able to obtain benefits through these Settlements.
          This is a court-authorized Notice. This is NOT a solicitation from a lawyer.
       Chesapeake Energy and its affiliates have reached settlements with the Pennsylvania
Attorney General’s Office and in class actions brought on behalf of oil and gas lessors in
Pennsylvania. Each of the lawsuits asserts claims that Chesapeake or its affiliates failed to pay
gas royalties consistent with the oil and gas leases and related claims. Chesapeake denies
these claims, but settled the lawsuits in order to resolve the claims and to establish a new
relationship with its Pennsylvania royalty owners.

    1. Why did I receive this Notice?

Records show that you (or someone in your family) have received and/or currently receive royalty
payments from Chesapeake from a natural gas well(s) in Pennsylvania, or that you have an
unexpired lease with Chesapeake that is not currently producing hydrocarbons.

This Court sent you this notice to inform you of three settlement agreements in the following cases:

•     The PA AG Action. This refers to the action brought by the Commonwealth of Pennsylvania
      in Commonwealth of Pennsylvania v. Chesapeake Energy Corporation, et al., originally
      brought as Case No. 2015IR0069 (Ct. of Common Pleas, Bradford Cty., Pa.).

•     The MEC Action. This refers to the class action styled Demchak Partners Limited
      Partnership, et al. v. Chesapeake Appalachia, L.L.C., originally brought as Case No. 3:13-
      cv-2289 on the docket of the United States District Court for the Middle District of
      Pennsylvania.

•     The Non-MEC Action. This refers to the class actions styled Brown v. Access Midstream
      Partners, L.P., et al., Case No. 3:14-cv-00591-MEM, and The Suessenbach Family Limited
      Partnership v. Access Midstream Partners, L.P., Case No. 3:14-cv-01197-MEM, both
      originally on the docket of the United States District Court for the Middle District of
      Pennsylvania.

This notice refers to the PA AG Action, the MEC Action, and the Non-MEC Action together as
the “Lawsuits,” and it refers to the MEC and Non-MEC Action together as the “Settlement Class
Actions.”




                                 QUESTIONS? CALL 1-800-____-_____
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1350 of 1639
                                                                            1350



The Lawsuits were initially filed in Pennsylvania, but because of Chesapeake’s Bankruptcy Filing the
settlements are being reviewed by the United States District Court for the Southern District of
Texas, Bankruptcy Court. Judge David R. Jones of the United States District Court for the Southern
District of Texas Bankruptcy Court is overseeing these settlements.

 2. What are these Lawsuits about?

The Lawsuits claim that Chesapeake underpaid royalties relating to gas produced from wells
located in Pennsylvania pursuant to certain provisions of oil and gas leases. All of the Lawsuits
allege that Chesapeake inappropriately deducted certain costs from royalty payments due under
oil and gas leases. Chesapeake denies all allegations but has agreed to settle them based on
the time and expense of continuing litigation and in the interest of furthering its relationship with
its Pennsylvania lessors.

 3. How do I know if I am part of the Settlement?

PA AG Action Settlement

You are part of the PA AG Action Settlement if you have or have had an oil and gas lease with
Chesapeake in Pennsylvania.

MEC Action Settlement

You are a part of the settlement in the MEC Action if you are or have been a lessor to one or more
Pennsylvania Lease(s) that (a) covers a leasehold located in Pennsylvania except for the portions
of Southwestern Pennsylvania covered by the Gas Gathering Contract Cost of Service - South
Marcellus, (b) contains a Market Enhancement Clause or Ready for Sale or Use Clause, and (c)
is or has been owned, in whole or in part, by Chesapeake Appalachia, L.L.C. as a lessee,
according to the business records maintained by Chesapeake.

A Market Enhancement Clause (“MEC”) is a provision in an oil and gas lease that precludes the
lessee (such as Chesapeake) from deducting Post-Production Costs incurred to transform
leasehold gas into marketable form, but permits the lessee to deduct a pro-rata share of Post-
Production Costs incurred after the gas is marketable if they enhance the value of the marketable
gas.

A “Ready for Sale or Use Clause” (“RFSU”) is a provision in an oil and gas lease that precludes
the lessee from deducting Post-Production Costs to make such gas ready for sale or use but
permits the lessee to deduct a pro-rata share of Post-Production Costs incurred after the gas is
ready for sale or use.

Excluded from the MEC Settlement Class are: (a) Chesapeake; (b) any person or entity who owns
a working interest in or operates a gas well in Pennsylvania; (c) any person or entity who receives
royalty in kind pursuant to a Pennsylvania Lease; (d) any person or entity who has previously
released Chesapeake from liability concerning or encompassing any or all Settled Claims; (e)


                                 QUESTIONS? CALL 1-800-____-_____
                                                -1-
      Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1351 of 1639
                                                                             1351



the federal government; (f) legally recognized Indian Tribes; and (g) any person who serves as
a judge in these Lawsuits and his/her spouse.

Non-MEC Action Settlement

You are a part of the settlement in the Non-MEC Action if you are or have been a lessor to one
or more Pennsylvania Lease(s) that (a) covers a leasehold located in Pennsylvania except for
the portions of Southwestern Pennsylvania covered by the Gas Gathering Contract Cost of
Service - South Marcellus, (b) does not contain a Market Enhancement Clause or Ready for
Sale or Use Clause, and (c) is or has been owned, in whole or in part, by Chesapeake
Appalachia, L.L.C. as a lessee, according to the business records maintained by Chesapeake.

The following individuals, groups, and entities are excluded from the Non-MEC Settlement
Class: (a) Defendants; (b) any person or entity who owns a working interest in or operates a gas
well in Pennsylvania; (c) any person or entity who receives royalty in kind pursuant to a
Pennsylvania Lease; (d) any person or entity who has previously released Chesapeake from
liability concerning or encompassing any or all claims that are the subject of the Lawsuit; (e) the
federal government; (f) legally-recognized Indian Tribes; (g) the Commonwealth of Pennsylvania
and its agencies, in their individual capacities only; and (h) any person who serves as a judge in
these Lawsuits and his/her spouse.

Deceased Class Members

Some persons who are part of the MEC and/or Non-MEC settlements may be deceased (“Deceased
Class Members”). To assist the Settlement Administrator in allocating and distributing monies
attributable to the interests of Deceased Settlement Class Members, this Notice is accompanied by
an Heirship/Beneficiary Information Form (“Heirship Form”). If you believe that you are entitled to all
or some portion of the Settlement funds allocable to a Deceased Settlement Class Member, then
please mail to the Settlement Administrator a completed Heirship Form.

Some corporations, partnerships, or other entities included in the Class definition may now be
dissolved. If you have succeeded to the interest of such a dissolved corporation, partnership, or other
entity, you should immediately contact the Settlement Administrator, whose contact information is
attached to this Notice.

If you are a Settlement Class Member and the Judge approves the Proposed Settlement, you
will be bound by all orders and judgments of the Court and by the Court’s final resolution of
the Settlement Class claims in the Lawsuits. See Question 10 for information about your right
to comment on or object to the Proposed Settlement.

 4. What do the Settlements provide?

Chesapeake has historically calculated its royalty payments to Pennsylvania landowners based
on the “Netback Method.” Under the Netback Method, Chesapeake pays royalties based on the
weighted average sales price Chesapeake receives for its production month sales to third parties
minus a proportionate share of all the post-production costs Chesapeake incurs, including costs
for gathering, compression and transportation.

                                 QUESTIONS? CALL 1-800-____-_____
                                                 -2-
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1352 of 1639
                                                                            1352



The PA AG Action Settlement and the Class Action Settlements provide Pennsylvania lessors
the right to make an election as to how their royalties will be calculated by Chesapeake in the
future. This election does not apply to leases no longer owned by Chesapeake, nor does it apply
to the interests owned by any other working interest owner in the lease.

Under the PA AG Action Settlement:

      If you have a lease with a MEC or RFSU clause, you will have the one-time opportunity
      to select having your future royalties paid at (1) the higher of the In-Basin Index Price
      (50% Leidy Hub and 50% TGP Zone 4) Without Post-Production Deductions or the
      Netback Price with deductions, whichever price is higher for the production month; or 2)
      continue to be paid the Netback Price with deductions.

      If you have a lease with a Non-MEC clause, you will have the one time opportunity to
      select having your future royalties paid at (1) the In-Basin Price (50% Leidy Hub and 50%
      TGP Zone 4) Without Post-Production Deductions; or 2) continue to be paid the Netback
      Price with deductions.

      If you have a lease that expressly prohibits deductions, and Chesapeake discovers it has
      been taking deductions, Chesapeake will discontinue doing so.

Under the Class Action Settlements, if you have a lease with a MEC or RFSU clause, you will
have the one-time opportunity to select having your royalties paid at (1) the higher of the In-
Basin Index Price Without Post-Production Deductions, or the Netback Price; (2) the In-Basin
Index Price Without Post-Production Deductions; or (3) the Netback Price, each as defined in
the Settlement Agreement(s). To the extent no Election by a Settlement Class Member is
received by the Settlement Administrator within five (5) business days after the expiration of the
Election Period, such Settlement Class Member will be deemed to have elected Option (1) (i.e.,
the higher of the In-Basin Index Price Without Post-Production Deductions and the Netback
Price).

If your lease does not have a MEC or RFSU clause, you will have the one-time opportunity to
elect to select having Chesapeake pay royalties to you based solely on an In-Basin Price without
deductions of any costs, or you may elect to have Chesapeake pay royalties to you based solely
on the Netback Method.

You will receive a separate mailing explaining how to make your election between the options
discussed above after certain specific events occur, including final approval of the Proposed
Settlements.

In addition to this right to an election, all three settlements—the PA AG Action Settlement, the
MEC Action Settlement, and the Non-MEC Action Settlement—include a cash payment by
Chesapeake for distribution to Pennsylvania royalty owners and/or Class Members. The total
cash amount to be distributed among the royalty owners and/or Class Members (as applicable)
is $5,300,000 for the PA AG Settlement, $5,000,000 for the MEC Settlement Class, and
$1,250,000 for the Non-MEC Settlement Class. The amounts distributed to royalty owners under
the PA AG Action Settlement will be distributed by the Settlement Administrator in fixed amounts
based on lease type, as determined by the Pennsylvania Attorney General’s Office. The
                                QUESTIONS? CALL 1-800-____-_____
                                               -3-
        Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1353 of 1639
                                                                               1353



amounts distributed to the MEC Settlement Class and Non-MEC Settlement Class will be
distributed among the Class Members on a pro rata basis, net of any attorneys’ fees and costs
awarded by the Court to Class Counsel in the Non-MEC Action.

•     You will be eligible for a portion of the payment from PA AG Action Settlement no matter
      what action you take in response to this notice.

•     You will only be eligible for a share of the cash payment being made in the MEC Action and
      the Non-MEC Action if you (a) qualify as a member of those settlements (see Question 3
      above) and (b) you do you not exclude yourself from those settlements (see Question 7,
      below). The payments and the manner in which the funds will be distributed is set forth in
      greater detail in the Settlement Agreements.

    5. Can I participate in the PA AG Action Settlement without participating in the Class
    Action Settlements?

The PA AG Action Settlement and Class Action Settlements are independent settlements. You
can participate in the PA AG Action Settlement without participating in the Class Action
Settlements.

If you choose, however, to opt out of the Class Action Settlements (see Question 7 below), you
will not be entitled to receive any of the Class Settlement funds that will be distributed to class
members under the Class Action Settlements

    6. What do I need to do to remain the Settlement Class Member in the MEC or Non-
       MEC Action?

If you are a member of the settlement classes in the MEC and/or Non-MEC Actions and you
want to remain a Settlement Class Member, you do not need to take any action whatsoever.
Class Counsel in the respective actions will represent your interests as a member of the
Settlement Class.

    7. Can I get out of the Settlement Class in the MEC or Non-MEC Action?

If you do not want to be in a Settlement Class in the MEC or Non-MEC Action and you want to
keep the right to sue Chesapeake on your own, you must take steps to get out of the Settlement
Class. This is called excluding yourself from or “opting out of” the Settlement Class.

Chesapeake filed for Chapter 11 bankruptcy on June 28, 2020, and emerged from bankruptcy
on February 9, 2021. As a result, all claims (as defined in the Bankruptcy Code) against
Chesapeake arising before February 9, 2021 have been discharged by the bankruptcy court.

To exclude yourself from (“opt out of”) the Settlement Class in the MEC or Non-MEC Action, you
must send a letter personally signed by you that includes all of the following: (1) Your name, address,
and telephone number; (2) Your Chesapeake owner number (if you know it); (3) The following
Civil Action Number: 20-33233; and (4) A statement that you want to be excluded from the

                                 QUESTIONS? CALL 1-800-____-_____
                                                 -4-
      Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1354 of 1639
                                                                             1354



Settlement Class, specifying which Settlement Class (MEC Settlement Class or Non-MEC
Settlement Class or both) you wish to opt out of.

Your request for exclusion letter must be mailed first class, postage pre-paid, received on or before
__________________, 2021 to the Settlement Administrator, whose contact information is attached
to this Notice.

You cannot exclude yourself from only part of the Proposed Settlement or Settlement Class. Also,
please remember that you cannot exclude yourself by phone or by sending an email.
 8. Do I have lawyers representing my interests in the case?

The Court has appointed the law firms identified in the attachment to this Notice to represent each
Settlement Class. The lawyers representing the Settlement Classes in the MEC and Non-MEC
Action are called “Class Counsel.” You do not have to directly pay Class Counsel. If you want
your own lawyer, and to have that lawyer appear in court, you may hire one at your own expense.
If you want your own lawyer to speak for you or to appear in Court, you or your lawyer must file
a Notice of Appearance. (See Question 10 to find out how to submit a Notice of Appearance).
Class Counsel in each action will request that the Court award them reimbursement of their
litigation expenses plus attorneys’ fees based on a percentage (not exceeding 33.33%) of the
total economic benefit realized by the class members under the settlement agreements.

 9. Who are the Class Representatives and how are they compensated?

The Court has appointed Plaintiffs James L. Brown, Alice R. Brown, The Suessenbach Family
Limited Partnership, James S. Suessenbach, and Gina M. Suessenbach as Class
Representatives for the Non-MEC Settlement Class. The Court has appointed certain of the
Plaintiffs in Demchak as Class Representatives for the MEC Settlement Class.

The Settlement Class Representatives work with Class Counsel on behalf of all Settlement Class
Members to present the views of typical Settlement Class Members to Class Counsel and the Court.
The Settlement Class Representatives may be entitled to an Incentive Payment Award of no more
than $5,000 each.

 10. Can I object to or comment on the Proposed Settlement?

If you have comments about, or disagree with, any aspect of the Proposed Settlements, including the
Class Action Settlements requested attorneys’ fees, you may express your views to the Court through
a written response. Only Class Action Settlement Members who have not opted out can object or
comment. The written comment or objection should include your name, address, telephone number,
and Chesapeake owner number(s) (if known). In addition, any objection must include (a) a written
statement of your objection, (b) a written statement of the grounds or reasons for your objection, and
(c) copies of any papers, briefs, or other documents supporting your objection. The document must
be signed to ensure the Court’s review. In order to be considered by the Court, your comment or
objection must be received on or before _______________, 2021 and mailed to:


                                 QUESTIONS? CALL 1-800-____-_____
                                                -5-
      Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1355 of 1639
                                                                             1355



                                       Clerk of the Court
                     United States District Court, Southern District of Texas
                                         515 Rusk Street
                                      Houston, TX 77002

Your comment or objection must clearly state that it relates to the following civil action number: 20-
33233, and must state what specific settlement you are objecting to.

The comment or objection must also be mailed to counsel for Chesapeake, as well as either Larry D.
Moffett (if you are a member of and objecting to the MEC Action Class) or Michael D. Donovan (if you
are a member of and objecting to the Non-MEC Action Class). Contact information for all is attached
to this Notice.

 11. Will there be a Hearing on the Proposed Settlements?

The Court will hold a Final Approval Hearing on _____, to consider whether the Proposed Settlements
are fair, reasonable, and adequate. The Hearing will be at the United States Courthouse, at
__________. At the Hearing, the Court will decide whether to approve the Proposed Settlements and
the Class Action Settlements’ motions for attorneys’ fees and expenses. If comments or objections
have been received, the Court will consider them at this time.

Attendance is not required, even if you properly mailed a written objection or comment. If you
filed an objection to the Settlement, as long as the objection was received before the deadline,
the Court will consider it, regardless of whether you or your privately-retained attorney appear
at the Hearing.

If you want to speak or have your own lawyer speak at the Final Approval Hearing, you must give the
Court a paper that is called a “Notice of Appearance.” The Notice of Appearance must refer to In re
Chesapeake Energy Corp., Case No. 20-33233-DRJ, United States District Court for the Southern
District of Texas, and state that you or your lawyer wish to enter an appearance at the Final Approval
Hearing. It must also include your name, address, telephone number, and signature. Your “Notice of
Appearance” must be received no later than ________. You cannot speak at the Hearing if you asked
to be excluded from the Proposed Settlement Class in the MEC or Non-MEC Action.

The Notice of Appearance must be filed with the Court at the address provided under after Question
10 above and also mailed to the attorneys listed in Question 10 above.

In addition, your document must clearly state that it relates to the following Civil Action Number: 20-
33233.

 12. How do I get more information about the Proposed Settlement?

If you have additional questions about the Class Action Settlements you may contact the Settlement
Administrator.



                                 QUESTIONS? CALL 1-800-____-_____
                                                 -6-
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1356 of 1639
                                                                            1356



If you have questions about the PA AG Action Settlement you may contact the Pennsylvania
Attorney General’s Office at 717-787-4530 or landowners@attorneygeneral.gov. You can also
visit the PA Attorney General Office’s website at www.attorneygeneral.gov/public-protection-
division/natural-gas-royalty-lawsuit.

All court records, including the Settlement Agreements and other documents for the Lawsuit,
may be examined in person and copied at the United States Courthouse, Southern District of
Texas, Bankruptcy Division, 515 Rusk Street, Houston, TX 77002.

           Please do not telephone the Court, the Clerk of the Court, or Chesapeake.




                              QUESTIONS? CALL 1-800-____-_____
                                            -7-
    Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1357 of 1639
                                                                           1357



                                 Contact Information
                               MEC Action Class Counsel

Larry D. Moffett                             John W. (“Don”) Barrett
Law Office of Larry D. Moffett, PLLC         Barrett Law Group
P.O. Box 1418                                Post Office Drawer 927
Oxford, MS 38655                             Lexington, MS 39095
larry@larrymoffett.com
                                             Michelle R. O’Brien
Daniel E. Seltz                              The O’Brien Law Group LLC
Lieff, Cabraser, Heimann & Bernstein, LLP    2800 Stafford Ave., Box 3034
250 Hudson St., 8th Floor                    Scranton, PA 18505
New York, NY 10013
                                             Charles E. Schaffer
Charles J. LaDuca                            Levin, Fishbein, Sedran & Berman
Cuneo Gilbert & LaDuca, LLP                  510 Walnut Street, Suite 50
8120 Woodmont Avenue                         Philadelphia, PA 19106
Suite 810
Bethesda, MD 20814

Jonathan Cuneo
Cuneo Gilbert & LaDuca LLP
507 C Street NE
Washington, DC 20002

                             Non-MEC Action Class Counsel

Noah Axler                                   Joseph H. Meltzer
Axler Goldich, LLC                           Tyler S. Graden
1520 Locust St., Suite 301                   Kessler Topaz Meltzer & Check, LLP
Philadelphia, PA 19102                       280 King of Prussia Rd.
                                             Radnor, PA 19807
Michael D. Donovan
Donovan Litigation Group, LLC                Robert D. Schaub
1885 Swedesford Road                         Rosenn, Jenkings & Greenwald, LLP
Malvern, PA 19355                            15 South Franklin St.
mdonovan@donovanlitigationgroup.com          Wilkes-Barre, PA 18711

Robert E. McCann
McCann & Wall, LLC
Two Penn Center Plaza
1500 JFK Blvd., Ste. 1110
Philadelphia, PA 19102




                               QUESTIONS? CALL 1-800-____-_____
                                             -8-
    Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1358 of 1639
                                                                           1358



                                Settlement Administrator

Epiq Corporate Restructuring, LLC
777 Third Avenue, 12th Floor
New York NY 10017
Attn: Robert A. Hopen

                                Counsel for Chesapeake

Daniel T. Donovan                            Daniel T. Brier
Ragan Naresh                                 Myers, Brier & Kelly LLP
Kirkland & Ellis LLP                         425 Spruce Street, Suite 200
1301 Pennsylvania Avenue, N.W.               Scranton, PA 18503
Washington, D.C., 20004                      570-342-6100
Daniel.donovan@kirkland.com                  dbrier@mbklaw.com
ragan.naresh@kirkland.com



                            Pennsylvania Attorney General


Chief Deputy Attorney General
Antitrust Section
Pennsylvania Office of Attorney General
14th Floor, Strawberry Square
Harrisburg, PA 17120-1410
(717) 787-4530
landowners@attorneygeneral.gov




                               QUESTIONS? CALL 1-800-____-_____
                                             -9-
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1359 of 1639
                                                                       1359




                     EXHIBIT 4
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1360 of 1639
                                                                         1360




                                 UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                      BANKRUPTCY COURT


                                                           )
 In re:                                                    )    Chapter 11
                                                           )
 CHESAPEAKE ENERGY CORPORATION,                            )    Case No. 20-33233 (DRJ)
 et al., 1
                                                           )
                            Debtors.                       )    (Jointly Administered)
                                                           )



                  NON-MEC CLASS ACTION SETTLEMENT AGREEMENT




1 A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
claims and noticing agent at https://dm.epiq11.com/chesapeake. The location of Debtor Chesapeake Energy
Corporation’s principal place of business and the Debtors’ service address in these chapter 11 cases is 6100 North
Western Avenue, Oklahoma City, Oklahoma 73118.
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1361 of 1639
                                                                         1361



        This CLASS ACTION SETTLEMENT AGREEMENT (“Settlement Agreement”) is
entered into by, between, and among, Chesapeake Energy Corporation, and the named plaintiffs
in Brown v. Access Midstream Partners, L.P., No. 3:14-cv-00591-MEM (M.D. Pa.) (“Brown”)
and in Suessenbach Family Limited Partnership v. Access Midstream Partners, L.P., No. 3:14-cv-
01197 (M.D. Pa.) (“Suessenbach”), on behalf of themselves and as the putative class
representatives for the Settlement Class defined below.

       This Settlement Agreement is entered into to effect a full and final settlement and dismissal
with prejudice of all Settled Claims on the terms set forth below, subject to the approval of the
Court.

                                            RECITALS

       A.      Plaintiffs, as lessors, and Chesapeake Appalachia, L.L.C., as lessee, are parties to
oil and gas leases governing leaseholds in the Commonwealth of Pennsylvania. The leases
implicated in this Settlement do not contain Market Enhancement Clauses or Ready for Sale or
Use Clauses.

        B.     Plaintiffs allege in Brown and Suessenbach that Chesapeake underpaid Royalties
by deducting inflated Post-Production Costs from royalties. Plaintiffs allege that Chesapeake and
Access Midstream Partners, L.P. engaged in a purported scheme to charge landowners artificially
inflated and supra-competitive rates for certain post-production services, among other allegations.
Chesapeake denies Plaintiffs’ claims that the Post-Production Costs are or were inflated and further
denies that its Royalty payment practices are or were improper. Chesapeake believes it paid
Royalties consistent with the leases and Pennsylvania law.

        C.       Class Counsel and counsel for Chesapeake engaged in arm’s-length negotiations in
the interest of resolving this dispute. They have met at length and have mediated this dispute with
the assistance of third-party mediators, including Judge Edward N. Cahn (ret.) and John W. Perry,
Jr.

         D.      Chesapeake enters into this Settlement Agreement as part of its broader effort to
achieve global resolution across the Commonwealth of Pennsylvania as to any royalty-related
litigation or disputes, including claims raised by the Pennsylvania Office of the Attorney General.

        E.      While Chesapeake believes this Settlement Agreement can and should be approved,
to avoid the time, expense, and uncertainty of litigation, in the event the Settlement Agreement
does not receive final approval from the Court or is terminated according to its terms, Chesapeake
expressly reserves any and all available defenses, including the right to challenge class certification
and to insist on individual arbitration or litigation of each Plaintiffs dispute and each Settlement
Class Member’s dispute. Plaintiffs likewise reserve their right to proceed with all claims if the
Settlement is not approved.

       F.    In light of the investigations undertaken and conclusions reached by the Parties and
discussed above, the Parties agree, subject to approval by the Court, to fully and finally
compromise, settle, extinguish and resolve the Settled Claims and to dismiss with prejudice Brown
and Suessenbach under the terms and conditions set forth in this Settlement Agreement.


                                                 -2-
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1362 of 1639
                                                                         1362



                  AGREEMENT FOR SETTLEMENT PURPOSES ONLY

        This Settlement Agreement is for settlement purposes only. The fact of this Settlement
Agreement or any provision herein, the negotiations or proceedings related hereto, and any actions
taken hereunder shall not constitute or be construed as (a) any admission of the validity of any
claim or any fact alleged by Plaintiffs in Brown or in Suessenbach; (b) any admission of any
wrongdoing, fault, violation of law, breach of contract, or liability of any kind on the part of
Chesapeake; (c) any admission as to any claim or allegation made in any demand of, action against,
or proceeding against Chesapeake; and/or (d) a waiver of any applicable defense, including,
without limitation, any applicable statute of limitations. This Settlement Agreement and its
exhibits shall not be offered or admissible in evidence against Plaintiffs, Chesapeake, or the
Settlement Class Members in any action or proceeding in any forum for any purpose whatsoever,
except any action or proceeding brought to enforce its terms.

                                         AGREEMENT

        In consideration of the mutual promises and covenants set forth herein, and other good and
valuable consideration, the receipt and sufficiency of which is hereby acknowledged, Plaintiffs,
on behalf of themselves and as the class representatives of the Settlement Class, and Chesapeake
hereby contract, covenant, and agree that the Settled Claims are fully resolved, settled,
compromised, extinguished and dismissed on the merits and with prejudice, subject to the approval
of the Court, on the following terms and conditions:

                                        JURISDICTION

       This Court has jurisdiction over the parties and subject matter of this action pursuant to 28
U.S.C. § 1334.

                                         DEFINITIONS

       1.       Definitions. When used in this Settlement Agreement, unless otherwise
specifically indicated, the following terms shall have the respective meanings assigned to them in
this paragraph 1:

             1.1    “Attorneys’ Fees” refers to any award of attorneys’ fees requested by Class
Counsel and awarded by the Court pursuant to paragraph 17.7.2.

                1.2     “Bonus” means the monetary payment that a lessee or its affiliate(s) paid to
a lessor as consideration for signing an oil and gas lease.

               1.3    “Brown” means the civil action styled Brown v. Access Midstream Partners,
L.P., No. 3:14-cv-00591-MEM, on the docket of the United States District Court for the Middle
District of Pennsylvania, as well as the arbitration proceeding initiated by James L. Brown against
Chesapeake Appalachia, LLC before the American Arbitration Association on or about March 28,
2014, and the related declaratory judgment action captioned Chesapeake Appalachia, L.L.C. v.
Brown, No. 3:14-cv-00833-MEM, on the docket of the United States District Court for the Middle
District of Pennsylvania.


                                               -3-
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1363 of 1639
                                                                         1363



             1.4    “Chapter 11 Cases” means the procedurally consolidated chapter 11 cases
of Chesapeake Energy Corporation and its debtor affiliates (Case No. 20-33233) pending in the
Court.

               1.5   “Chapter 11 Plan” means the joint chapter 11 plan of reorganization
approved in the Chapter 11 Cases.

               1.6     “Chesapeake” means Chesapeake Energy Corporation and its current and
former subsidiaries and affiliates, predecessors in interest, successors in interest, and current or
former officers, including, for the avoidance of doubt, Domenic J. Dell’Osso, Jr.

               1.7      “Class Counsel” is defined as follows:

                         Noah Axler                              Joseph H. Meltzer
                         Axler Goldich, LLC                      Tyler S. Graden
                         1520 Locust St., Suite 301              Kessler Topaz Meltzer & Check, LLP
                         Philadelphia, PA 19102                  280 King of Prussia Rd
                                                                 Radnor, PA 19807
                         Michael D. Donovan
                         Donovan Litigation Group, LLC           Robert D. Schaub
                         1885 Swedesford Road                    Rosenn, Jenkings & Greenwald, LLP
                         Malvern, PA 19355                       15 South Franklin St.
                                                                 Wilkes-Barre, PA 18711
                         Robert E. McCann
                         McCann & Wall, LLC
                         Two Penn Center Plaza
                         1500 JFK Blvd., Ste. 1110
                         Philadelphia, PA 19102

               1.8     “Court” means the United States Bankruptcy Court for the Southern District
of Texas.

               1.9     “Chesapeake’s Counsel” means the following attorneys:

                         Daniel T. Donovan, P.C.
                         Ragan Naresh, P.C.
                         Kirkland & Ellis LLP
                         1301 Pennsylvania Ave., N.W.
                         Washington DC 20004

                1.10 “Defendant Releasees’’ means Chesapeake Energy Corporation, Domenic
J. Dell’Osso, Jr., and Williams Partners, and each of their respective parents, present and former
affiliates and subsidiaries, and their respective predecessors, heirs, successors, assigns, present,
former, and future officers, directors, employees, agents, insurers, and any third party payment
processors, independent contractors, successors, assigns, attorneys and legal representatives
working on their behalf. Defendant Releasees do not include Anadarko Petroleum Corporation,
Mitsui, Statoil ASA or any of their parents, present and former affiliates, and subsidiaries, and

                                               -4-
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1364 of 1639
                                                                         1364



their respective predecessors, successors, assigns, present, former, and future officers, directors,
employees, agents, or any third party payment processors, independent contractors, successors,
assigns, attorneys and legal representatives working on their behalf.

              1.11 “Effective Date” shall be the date when each and all of the following
conditions have occurred:

                      1.11.1 The Settlement Agreement has been fully executed by all the
 parties and their counsel;

                     1.11.2 The Preliminary Approval Order has been entered by the
 Court certifying a Settlement Class, granting preliminary approval of this Settlement
 Agreement, and approving the Settlement Notice;

                     1.11.3 The Court-approved Settlement Notice has been mailed as
 ordered by the Court;

                    1.11.4 The Court has approved and entered the Final Judgment,
 thereby approving this Settlement Agreement and dismissing the Settled Claims with
 prejudice; and

                       1.11.5 The Final Judgment becomes Final as defined in paragraph
 1.15, below.

              1.12     “Excluded Member” means any person or entity who falls within the
Settlement Class definition but who elects to be excluded from the Settlement Class and submits
a valid Request for Exclusion.

                 1.13    “Final” means that (a) the Final Judgment is a final, appealable order; and
(b) either (i) no appeal has been taken from the Final Judgment as of the date on which all times
to appeal therefrom have expired, or (ii) an appeal or other review proceeding of the Final
Judgment having been commenced, such appeal or other review is finally concluded and no longer
is subject to review by any court, whether by appeal, petitions for rehearing or argument, petitions
for rehearing en banc, petitions for writ of certiorari, or otherwise, and such appeal or other review
has been finally resolved in such manner that affirms the Final Judgment in all material respects.

               1.14 “Final Judgment” means the Final Judgment and Order of Dismissal to be
entered by the Court substantially in the form attached hereto as Exhibit A upon final approval of
the Settlement, as provided in paragraph 8 of this Settlement Agreement.

               1.15 “Gas” means natural gas, other than gas that is processed to separate natural
gas liquids (“NGLs”) from the gas stream in a processing (or similar) plant. Gas is not processed
solely because it is passed through a mechanical separator for the removal of liquid hydrocarbons
at or near a well.

                1.16 “In-basin Index Price” means a per MMBtu price that is the weighted
average price of (a) 50% of the Leidy Hub monthly (first of the month) index price ($/MMBtu) as
reported in Inside FERC’s Gas Market Report (published by Platts), and (b) 50% of the TGP Zone

                                                -5-
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1365 of 1639
                                                                         1365



4-300 Leg monthly (first of the month) index price ($/MMBtu) as reported in Inside FERC’s Gas
Market Report (published by Platts). If either the Leidy Hub or TGP Zone 4-300 Leg ceases to be
published, Chesapeake will identify a replacement index. If a new hub or sales point is developed
in the Marcellus Region and a corresponding index price for it is published by Platts, the Parties
shall confer whether to revise the In-Basin Price to also include the new index.

              1.17 “Incentive Award Payments” means the amount of any class representative
incentive awards granted by the Court and paid pursuant to paragraph 17.7.1.

               1.18   “Including” and “include(s)” mean “including or include(s), without
limitation.”

               1.19 “Leidy Hub” means the “Leidy Hub” trading location as defined in the July
2020 “Methodology and Specifications Guide/US and Canada Natural Gas” published by S&P
Global Platts.

                1.20      “Litigation Expenses” means expenses incurred by Plaintiffs or Class
Counsel in pursuing Brown, Suessenbach, and/or negotiating, preparing or presenting to the Court
the Settlement Agreement, including expert witness fees, consultant fees, investigation expenses,
deposition expenses, copying charges, long distance telephone calls, expenses for meeting with
and communicating with clients, fax charges, computer research charges, travel expenses, court
costs, arbitrators’ fees, and mediator fees and awarded by the Court pursuant to paragraph 17.7.2.

              1.21    “Marcellus Region” refers to the area encompassing the following
Pennsylvania counties: Bradford; Lycoming; Sullivan; Susquehanna; Tioga; Wyoming; Potter;
McKean; Wayne.

               1.22     “Market Enhancement Clause” means Royalty payment clauses or
provisions in an oil and gas lease that preclude the lessee from deducting Post-Production Costs
incurred to transform leasehold gas into marketable form, but permit the lessee to deduct a pro-
rata share of Post-Production Costs incurred after the gas is marketable if they enhance the value
of the marketable gas. Such clauses are usually identified, entitled or referred to as “Market
Enhancement Clauses” or “MECs.”

               1.23    “Parties” means Plaintiffs and Chesapeake.

               1.24    “Pennsylvania” means the Commonwealth of Pennsylvania.

               1.25     “Pennsylvania Leases” means each and every oil and gas lease that (a)
covers a leasehold located in Pennsylvania except for the portions of Southwestern Pennsylvania
covered by the Gas Gathering Contract Cost of Service - South Marcellus, (b) does not contain a
Market Enhancement Clause or Ready for Sale or Use Clause, and (c) is or has been owned, in
whole or in part, by Chesapeake Appalachia, L.L.C. as a lessee, according to the business records
maintained by Chesapeake. Pennsylvania Leases does not include any lease Chesapeake
Appalachia, L.L.C. owned in whole or in part as a lessee, but in which Chesapeake Appalachia,
L.L.C. is not a lessee as of the date the Preliminary Approval Order and for which no Gas was
produced during the time that Chesapeake Appalachia, L.L.C. was a lessee.


                                              -6-
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1366 of 1639
                                                                         1366



               1.26     “Plaintiffs” means the named plaintiffs in Brown and Suessenbach.

               1.27      “Plan of Allocation” means the Plan of Allocation and Distribution as set
forth in Exhibit B hereto, describing the specific procedures and processes for the administration,
allocation, and distribution of the Settlement Funds.

               1.28    “Post-Production Costs” means costs for gathering, compressing, treating,
dehydrating, processing, transporting, or transmitting Gas.

                1.29    “Preliminary Approval Order” means the order entered by the Court
pursuant to paragraph 3 below and in the form attached as Exhibit C, preliminarily approving the
Settlement, approving the form and manner of the Settlement Notice, and setting a date certain for
the settlement fairness hearing.

                1.30 “Ready for Sale or Use Clause” means Royalty payment clauses or
provisions in an oil and gas lease that preclude the lessee from deducting Post-Production Costs to
make such gas ready for sale or use but permit the lessee to deduct a pro-rata share of Post-
Production Costs incurred after the gas is ready for sale or use. Such clauses are often entitled or
referred to as “Ready for Sale or Use Clauses” or RFSU.

                1.31 “Request for Exclusion” means a timely and properly submitted written
request to be excluded from the Settlement Class. A request for exclusion is not timely and
properly submitted unless it is in writing, is signed by the person or entity requesting exclusion, is
mailed in a postage-paid envelope to the Settlement Administrator, postmarked no later than the
due date established by the Court in the Preliminary Approval Order, and otherwise complies with
the instructions contained in the Settlement Notice. The request for exclusion must be personally
signed by any natural person requesting exclusion; it cannot be signed by that person’s lawyer or
other agent, unless the person is incapacitated. Requests for exclusion may not be made on a class
or representative basis. If the entity requesting exclusion is a corporation, partnership, or other
legal entity, the request must be personally signed by a duly-authorized officer, partner, or
managing agent. A request for exclusion is also not properly submitted or valid if it requests a
qualified or partial exclusion or any other qualification.

                1.32   “Royalty” means lessor royalty interests, and does not include overriding
royalty interests.

               1.33 “Settled Claims” means any and all claims and causes of action related to
Chesapeake’s interest in the Pennsylvania Leases of Settlement Class Members that were
alleged or could have been alleged in Brown or in Suessenbach, including, but not limited
to: (a) any and all claims related to the calculation, amount, payment, and/or reporting of
Royalty or Bonus payments made by Chesapeake, either on its own working interest share or
on behalf of other working interests, on Gas produced pursuant to a Pennsylvania Lease; (b) any
and all claims and causes of action, related to the calculation, amount, payment, and/or reporting
of such Royalty or Bonus payments; (c) claims for breach of contract, fraud, conspiracy, breach
of implied duties and covenants, unjust enrichment, accounting, declaratory or injunctive relief,
unfair or deceptive trade practices under federal or state law, and/or anticompetitive conduct under
federal or state antitrust law; (d) challenges to the manner in which sales are made to an

                                                -7-
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1367 of 1639
                                                                         1367



affiliated entity, if any; (e) claims that formation, sale, or disposition of assets or equity interests
by Chesapeake impacted Royalty payments; and (f) any other challenges to Chesapeake’s
pricing, sales, or Royalty payment practices. The Settled Claims do not include claims for
royalties in suspense, claims for the failure to pay royalties due at all, claims based on errors in
determining ownership interests, claims for mathematical or calculation errors in determining
volumes, prices, values, or decimal interests. The Settled Claims also do not include claims and
causes of action for the breach of this Agreement, including, but not limited to, claims that
Chesapeake has not properly calculated Gas Royalties pursuant to paragraph 6 of this Agreement,
nor any other future claims and causes of action related to Chesapeake’s interests in and obligations
under the Pennsylvania Leases. The Settled Claims also do not include any claims or causes of
action that Plaintiffs and the Settlement Class Members have or may have against persons and
entities other than Chesapeake, except that the Settled Claims do include any claims or causes of
action that Plaintiffs and the Settlement Class Members have or may have against Williams
Partners, L.P. and/or any of its predecessors or successors in interest, including Access Midstream
Partners, L.P.

               1.34 “Settlement” means the settlement embodied in this Settlement Agreement
and the Final Judgment.

                1.35 “Settlement Administrative Costs” means expenses incurred in carrying out
the terms of the Settlement Agreement, including fees and expenses of any notice experts or claims
administrators who may present affidavits or testimony at the preliminary approval hearing and/or
final fairness hearing; and fees and expenses of the Settlement Administrator in administering and
carrying out the terms of the Settlement Agreement, including expenses for printing and mailing
of the Settlement Notice, post office box rental costs, responding to inquiries by persons receiving
or reading the Settlement Notice, and implementing the Plan of Allocation. Settlement
Administrative Costs shall not include Litigation Expenses or Attorneys’ Fees or costs associated
with calculating or distributing funds for Litigation Expenses or Attorneys’ Fees.

                 1.36 “Settlement Administrator” means Epiq Corporate Restructuring LLC, in
its capacity as administrator of the Settlement in accordance with the provisions of this Agreement.

              1.37 “Settlement Agreement” or “Agreement” means this Settlement
Agreement, including all exhibits hereto.

                1.40 “Settlement Class” means all individuals and entities, including their
predecessors and successors-in-interest, who are or have been lessor parties to one or more
Pennsylvania Leases, to the extent of their interests in such Pennsylvania Leases. The Settlement
Class excludes (a) Chesapeake; (b) Williams Partners; (c) any person or entity who owns a working
interest in or operates a gas well in Pennsylvania; (d) any person or entity who receives royalty in
kind pursuant to a Pennsylvania Lease; (e) any person or entity who has previously released
Chesapeake from liability concerning or encompassing any or all Settled Claims; (f) the federal
government; (g) legally-recognized Indian Tribes; (h) the Commonwealth of Pennsylvania and its
agencies, in their individual capacities only; and (i) any person who serves as a judge in these civil
actions and his/her spouse. Any person or entity who is a party to a Pennsylvania Lease that has
not started producing Gas as of the Effective Date shall not be entitled to receive a pro rata share


                                                 -8-
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1368 of 1639
                                                                         1368



of the Settlement Payment, but shall be entitled to make an election under paragraph 6 of this
Settlement Agreement.

              1.41 “Settlement Class Member” means every member of the Settlement Class
who does not submit a valid Request for Exclusion.

              1.42 “Settlement Effective Date” shall be the date when each and all of the
following conditions have occurred:

                      1.42.1 The Settlement Agreement has been fully executed by all the Parties
and their counsel;

                      1.42.2 The Preliminary Approval Order has been entered by the Court
certifying a Settlement Class, granting preliminary approval of this Settlement Agreement, and
approving the Settlement Notice;

                      1.42.3 The Court-approved Settlement Notice has been mailed as ordered
by the Court;

                      1.42.4 The Court has approved and entered the Final Judgment, thereby
approving this Settlement Agreement and dismissing the Settled Claims with prejudice; and

                      1.42.5   The Final Judgment becomes Final as defined in paragraph 1.12,
above.

              1.43 “Settlement Funds” means $1,250,000.00 in available funds to the
Settlement Class pursuant to the Plan of Allocation.

               1.44 “Settlement Notice” means the notice substantially in the form attached as
Exhibit D, or such other comparable notice(s) approved by the Court, which is to be given to the
Settlement Class as provided in paragraph 4 below. The Settlement Notice as determined to be
appropriate and approved by the Court and meeting the criteria in paragraph 4, below, shall be
regarded as and is the best notice practicable under the circumstances.

               1.45 “Suessenbach” means the civil action styled Suessenbach Family Limited
Partnership v. Access Midstream Partners, L.P., No.3:14-cv-01197-MEM, on the docket of the
United States District Court for the Middle District of Pennsylvania.

              1.46 “Suessenbach Plaintiffs” refers to Suessenbach Family Limited Partnership,
James S. Suessenbach, and Gina M. Suessenbach.

               1.47 “Transmission Pipeline” means a large-diameter natural gas transmission or
transportation pipeline (interstate or intrastate). The term “Transmission Pipeline” does not
include field facilities or field gathering pipelines or systems. An example of an interstate
Transmission Pipeline is the interstate pipeline owned by Tennessee Gas Pipeline Company, and
an example of an intrastate Transmission Pipeline is the intrastate pipeline owned and operated by
Regency Energy Partners NEPA Gas Gathering, L.L.C., commonly referred to as the Wyoming
Pipeline.

                                              -9-
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1369 of 1639
                                                                         1369



               1.48 “Transmission Pipeline” means a large-diameter natural gas transmission or
transportation pipeline (interstate or intrastate). The term “Transmission Pipeline” does not
include field facilities or field gathering pipelines or systems. An example of an interstate
Transmission Pipeline is the interstate pipeline owned by Tennessee Gas Pipeline Company, and
an example of an intrastate Transmission Pipeline is the intrastate pipeline owned and operated by
Regency Energy Partners NEPA Gas Gathering, L.L.C., commonly referred to as the Wyoming
Pipeline.

               1.49 “Williams Partners” means Williams Partners, L.P. (formerly known as
Access Midstream Partners, L.P.), and its parents, current and former subsidiaries and affiliates,
predecessors in interest, successors in interest, and current or former officers.

        2.      Best Efforts to Garner Settlement’s Approval. The Parties and Class Counsel agree
to recommend that the Court approve the Settlement Agreement and further agree to undertake
their best efforts, including all steps and efforts contemplated by this Settlement Agreement and
any other reasonable steps and efforts that may be necessary or appropriate to implement the terms
of this Settlement Agreement and to garner Final Approval. The Parties agree that they will not
take any steps to suggest or recommend that members of the Settlement Class should opt out of or
elect to be excluded from this Settlement Agreement.

        3.      Motion for Preliminary Approval. Chesapeake, the Debtors in the Chapter 11 Plan,
shall submit to the Court a motion for preliminary approval of the Settlement Agreement, which
shall include a request for entry of the Preliminary Approval Order in the form attached hereto as
Exhibit C. It is expressly understood that by entering into this Settlement Agreement, Chesapeake
does so for settlement purposes only. Chesapeake expressly reserves the right to oppose
certification of a litigation class or filing of a class proof of claim in the event the Court denies the
Motion for Preliminary Approval. The motion for preliminary approval also shall include the
proposed Settlement Notice in the form attached hereto as Exhibit D.

        4.      Class Notice. Within fifteen (15) days after the Court’s entry of the Preliminary
Approval Order or a date otherwise established by the Court, the Settlement Administrator shall
provide the Settlement Notice to the Settlement Class in the manner approved by the Court, which
Settlement Notice shall include mailing the Settlement Notice by first-class mail, postage pre-paid,
to individuals and entities who are in the Settlement Class and for whom Chesapeake has addresses
available from its business records. The Parties reserve the right to extend or otherwise amend
this timeframe as set forth in this Settlement Agreement. To the extent that any Settlement Notices
are returned because an individual or entity who is in the Settlement Class does not reside at the
address provided, the Settlement Administrator shall take reasonable steps to obtain a valid address
and re-mail the Settlement Notice. Chesapeake shall send a timely and proper notice(s) of this
Settlement to all appropriate federal and state officials as required by the Class Action Fairness
Act of 2005 (“CAFA”), including under 28 U.S.C. §1715, if necessary.

        5.      Settlement Funds and Settlement Administrative Costs.

              5.1    Settlement Funds. The Settlement Funds shall be distributed pursuant to
the Final Approval Order.



                                                 - 10 -
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1370 of 1639
                                                                         1370



                5.2     Provision of Information. Chesapeake shall provide such records and
information, including electronic data, in its possession, custody, or control, as may be reasonably
necessary for the Settlement Administrator to prepare a list of the members of the Settlement Class,
mail the Settlement Notice to the members of the Settlement Class, and otherwise properly
administer the Settlement.

               5.3.   Settlement Administrative Costs. In addition to the Settlement Funds,
Chesapeake shall be obligated to pay all Settlement Administrative Costs. This provision shall
survive any termination of this Settlement Agreement and is binding and effective even in the
absence of a Settlement Effective Date.

              5.4     No Further Payment Obligations. Upon the Court’s approval of the
Settlement Agreement and the distribution of funds pursuant to the Chapter 11 Plan, Chesapeake
shall have no further settlement payment obligations to the Settlement Class Members, Class
Counsel, or any other person whatsoever under this Settlement Agreement.

               5.5    No Obligations for Fees. Chesapeake shall have no obligation whatsoever
to pay any Attorneys’ Fees and Litigation Expenses of Plaintiffs, Class Counsel, or Settlement
Class Members, or any Incentive Award Payments to Plaintiffs. Plaintiffs shall look exclusively
to the Settlement Funds to recover any Attorneys’ Fees, Litigation Expenses or Incentive Award
Payments or, subject to the Court’s approval, from the economic benefits realized by the Future
Royalty Calculations described in paragraph 6.

        6.       Future Royalty Calculations. In exchange for the consideration set forth in this
Agreement, including but not limited to the Release, the Settlement Class Members shall be
provided the opportunity to make an election concerning how Chesapeake (and its affiliates,
successors, and assigns) will calculate and pay Gas Royalties to the Settlement Class Members
and their successors and assigns after the Settlement Effective Date occurs, pursuant to the
Settlement Class Members’ Pennsylvania Leases in which Chesapeake currently owns an interest.
This paragraph applies to Pennsylvania Leases in which Chesapeake currently owns an interest
and applies to Chesapeake (and its affiliates, successors, and assigns) as well as the Settlement
Class Members and their successors and assigns. The prices set forth in paragraphs 6.1 and 6.2 of
this Agreement do not apply to Pennsylvania Leases in which Chesapeake does not own any
interest as of the date of this Agreement. Therefore, the Parties agree that the Final Judgment shall
specify that the following provisions apply to the Settlement Class Members’ Pennsylvania Leases
in which Chesapeake owns an interest as of the date of this Agreement.

                6.1. In-basin Index Price Without Post-Production Deductions. The In-Basin Price
Without Post-Production Deductions refers to the calculation of Gas Royalties based on the In-
Basin Price without deduction of any Post-Production Costs and without deduction of any other
items, costs, or fees. When calculating and remitting royalty payments to Pennsylvania Lessors
under this scenario, Chesapeake may, if it is permitted by Pennsylvania law to do so, deduct any
applicable and properly-calculated state severance taxes from the royalty payments and remit such
deducted taxes to the appropriate governmental authority.

              6.2    Netback Price . The Netback Price refers to the calculation of Gas Royalties
based on the weighted average sales price a Chesapeake entity received for its production month

                                               - 11 -
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1371 of 1639
                                                                         1371



sales to third parties minus a proportionate share (net revenue interest share) of the Post-Production
Costs that Chesapeake incurred and any applicable and properly-calculated state severance taxes.
It is agreed, however, that Gas Royalties calculated under this scenario for any given month and
any given well shall never be in an amount that is less than zero. For clarity, the Netback Price as
described in this paragraph is how Gas Royalties have been calculated and paid by Chesapeake in
Pennsylvania pursuant to Pennsylvania Leases prior to the date of this Agreement.

                6.3     Notice and Election of Options. No later than sixty days after the Settlement
Effective Date of this Agreement, the Settlement Administrator shall provide written notice
(“Election Notice”) to each of the Settlement Class Members advising them of their right to elect
either (1) the In-basin Index Price Without Post-Production Deductions; or (2) the Netback Price,
each as defined in paragraphs 6.1 and 6.2, above. The Election Notice shall provide the Settlement
Class Members with an election period (“Election Period”) of at least ninety (90) days from the
date of the Election Notice within which to send their written election (“Election”), if any, to the
Settlement Administrator. To the extent no Election by a Settlement Class Member is received by
the Settlement Administrator within five (5) business days after the expiration of the Election
Period, such Settlement Class Member will be deemed to have elected Option (2) (i.e., the Netback
Price). The Settlement Administrator shall, as soon as possible, and no later than ten (10) business
days after the expiration of the Election Period, provide Chesapeake with a copy of all Elections
received by the Settlement Administrator and a spreadsheet (in Microsoft Excel or such other
format as may be specified by Chesapeake’s Counsel) listing each Settlement Class Member and
identifying the election made by the Settlement Class Member. The Elections made pursuant to
this Agreement shall be final, and are not subject to change by the Settlement Class Member after
the expiration of the Election Period.

               6.4   The Elections chosen by the Settlement Class Members will be effective
and utilized by Chesapeake in calculating Gas Royalties beginning with royalties for the first
production month immediately following the month in which the Election Period expired.

               6.5     The Election chosen by each Settlement Class Member will be deemed to
be an amendment of their Pennsylvania Lease, shall run with the land, and shall be binding on the
Settlement Class Member and Chesapeake and their respective successors and assigns.
Chesapeake will file the Final Judgment incorporating the terms of this Agreement with the Clerk
and Recorder of each county covered by the Pennsylvania Leases that are subject to paragraph 6,
and the future royalty calculation provisions of paragraph 6 of this Agreement shall burden the
Settlement Class Members’ interests and Chesapeake’s interests in the Pennsylvania Leases. In the
event of a contemplated transfer or assignment of its interests under any Pennsylvania Lease that
is subject to this paragraph 6, Chesapeake shall provide written notification to its proposed
successor or assign of the applicability of this Agreement and the Election made by the Settlement
Class Member(s) covered by the Lease, and shall procure the written agreement of the successor
and assign to calculate and pay Gas Royalties in accordance with the Election made by the
Settlement Class Member(s).

               6.6    It is acknowledged that some volumes of Gas produced by Chesapeake
under the Pennsylvania Leases may be used as fuel, lost, or otherwise unaccounted for by a
provider of post-production operations or services (“FLU Volumes”). Regardless of a Settlement
Class Member’s Election, Chesapeake shall not deduct any FLU volumes when calculating its

                                                - 12 -
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1372 of 1639
                                                                         1372



Gas Royalty payments but shall, instead, pay Gas Royalties on one hundred percent (100%) of the
FLU Volumes, except as otherwise permitted by a Settlement Class Member’s Pennsylvania
Lease.

                 6.7      If post-production operations or services are provided by a third party, then
the Post-Production Costs subject to deduction under the Netback Price shall be the Post-
Production Costs actually charged by the third party to Chesapeake and/or its affiliate and paid by
Chesapeake and/or its affiliate to the third party on an arm’s length basis. If post-production
operations or services are provided by Chesapeake and/or its affiliates, then the Post-Production
Costs for such operations or services subject to deduction under the Netback Price shall include
only Chesapeake’s and/or its affiliate’s actual and reasonable cost for such operations or services.
In addition, in taking deductions pursuant to the Netback Price, Chesapeake shall not deduct or
reflect as deductions, directly or indirectly, except as expressly allowed by a lease: (a) any
marketing fees, (b) any costs for production facilities, or (c) any costs for field separators, flow
lines, or the facilities or operations located between the wellhead and the point at which Gas enters
a gathering system; nor shall any such deductions be taken pursuant to the Netback Price.

               6.8     The Final Judgment shall modify only how Chesapeake (and its affiliates,
successors and assigns) calculates and pays Royalties on Chesapeake’s share of Gas production
and how Chesapeake (and its affiliates, successors and assigns) pays Gas Royalties on behalf of
any other person or entity holding a lessee/working interest under a Pennsylvania Lease. The Final
Judgment shall not modify how any other entity calculates and/or pays Royalties pursuant to the
Pennsylvania Leases.

               6.9      Except as specified herein and in the Final Judgment, paragraph 6 of this
Settlement Agreement shall not affect any other provisions of a Pennsylvania Lease. The Parties
expressly agree that paragraph 6 of this Settlement Agreement applies notwithstanding any current
or future law, statute, judicial decision, or rule regulating the payment of Royalties in
Pennsylvania.

        7.      Walk-Away Rights. In the event that there are Excluded Members who, when
combined, would be allocated twenty percent (20%) or more of the Settlement Fund, Chesapeake
shall have the right, in its sole and absolute discretion, within twenty (20) calendar days after the
opt-out deadline set by the Court, to notify Class Counsel in writing that Chesapeake has elected
to dissolve this Settlement Agreement and withdraw from the Settlement. In the event Chesapeake
provides such notification and thereby exercises its walk-away rights hereunder, the Parties shall
have no further obligations under this Settlement Agreement whatsoever.

                7.1 In the event Chesapeake exercises its walk-away rights in Section 7,
Chesapeake shall continue to be responsible for the payment of any settlement administration costs
incurred. Additionally, in the event that the settlement in the action brought by the Commonwealth
of Pennsylvania in Commonwealth of Pennsylvania v. Chesapeake Energy Corporation, et al.,
originally brought as Case No. 2015IR0069 (Ct. of Common Pleas, Bradford Cty., Pa.) (“PA AG
Action”) is not filed on or around this Settlement is filed or the settlement in the class action styled
Demchak Partners Limited Partnership, et al. v. Chesapeake Appalachia, L.L.C., originally
brought as Case No. 3:13-cv-2289 on the docket of the United States District Court for the Middle
District of Pennsylvania (“MEC Action”) is not submitted contemporaneously with this Settlement

                                                 - 13 -
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1373 of 1639
                                                                         1373



Agreement for approval, Class Counsel shall have the right, in their sole and absolute discretion,
within three (3) calendar days after the submission of this Settlement Agreement to the Court, to
notify Chesapeake’s counsel in writing that Class Counsel and Plaintiffs have elected to dissolve
this Settlement Agreement and withdraw from the Settlement. In the event Class Counsel provides
such notification and thereby exercise Plaintiffs’ walk-away rights hereunder, the Parties shall
have no further obligations under this Settlement Agreement whatsoever.

       8.      Order, Final Judgment, and Dismissal. If the Court provides final approval of this
Settlement Agreement, then the Parties jointly and promptly shall seek entry of the Final Judgment
in the form attached hereto as Exhibit A. The Parties intend that the language in the Final
Judgment shall conform to the language in this Settlement Agreement, and the Parties will modify
Exhibit A if necessary to ensure such conformity.

      9.       Conditions Precedent to Agreement’s Effect. This Settlement Agreement shall
become final, binding and effective upon the Settlement Effective Date, and not before then.

        10.    Modifications. Any modification to this Settlement Agreement or its exhibits,
whether modified by the Parties or any court, must be approved in writing signed by the Parties or
their authorized representatives to be binding.

       11.     Release.

                        11.1.1 As of the Settlement Effective Date and at all times thereafter, each
Plaintiff and Settlement Class Member hereby releases the Settled Claims and any and all claims
that Chesapeake is obligated to pay them royalties under their Pennsylvania Leases in any manner
other than the Election under Paragraph 6 of this Agreement (including, but not limited to, the
Settled Claims). Plaintiffs and the Settlement Class Members hereby further agree that they fully
and forever release and discharge all working interest owners on whose behalf Chesapeake has
paid or will pay Royalties pursuant to Pennsylvania Leases from any and all of the Settled Claims,
but do so only to the limited extent of Chesapeake’s payments of Gas Royalties on behalf of such
working interest owners. Further, each of the Plaintiffs and the Settlement Class Members agree
that any claims (as defined by section 101(5) of the Bankruptcy Code) against Chesapeake held
by such Plaintiffs or Settlement Class Members shall be deemed satisfied and released and any
Settled Claims filed in the Bankruptcy Cases shall be discharged and expunged from the claims
registrar without any further order of the Bankruptcy Court.

                        11.1.2 The Parties acknowledge and agree that the relief afforded under
this Settlement Agreement fully and completely compromises the Settlement Class Members’
claims for relief in Brown and in Suessenbach.

                      11.1.3 This Release also covers, without limitation, any and all claims for
Attorneys’ Fees, Litigation Expenses, Incentive Award Payments, catalyst fees, costs, or
disbursements incurred by Class Counsel or any other counsel representing Plaintiffs or Settlement
Class Members or by Plaintiffs or the Settlement Class Members, or any of them, in connection
with or related in any manner to Brown and Suessenbach, the settlement of Brown and
Suessenbach, the administration of this Settlement, the implementation of this Settlement, and/or
the Settled Claims except to the extent otherwise specified in the Settlement Agreement.


                                               - 14 -
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1374 of 1639
                                                                         1374



                11.2 No Release of Non-Parties. Nothing herein shall operate or be construed to
release any claims the Parties and Settlement Class Members may have against any person or entity
who is not a Party hereto except as provided for in sub-paragraph 11.1.1, above. Moreover, to the
extent a Pennsylvania Lease provides an audit or accounting right, this Agreement does not
preclude the exercise of such audit or accounting right regarding Royalty payments made after the
Settlement Effective Date pursuant to the lessor’s election for future royalty calculations under
paragraph 6 of this Settlement Agreement.

        12.     Authority and Capacity to Execute. Each person signing this Settlement Agreement
on behalf of a Party represents that such signatory has the full and complete power, authority and
capacity to execute and deliver this Settlement Agreement and any documents to be executed
pursuant hereto, that all formalities necessary to authorize execution of this Settlement Agreement
so as to bind the principal, limited liability company, trust, partnership or corporation have been
undertaken, and that upon the occurrence of the Settlement Effective Date, this Settlement
Agreement will constitute the valid and legally binding obligation of each such Party hereto,
enforceable by and against that Party in accordance with its terms.

       13.     Successors and Assigns. This Settlement Agreement is binding upon and will inure
to the benefit of each of the Parties hereto and their respective agents, officers, directors,
shareholders, employees, consultants, heirs, devisees, legal representatives, attorneys, successors
and assigns.

        14.     Construction. The language of all parts of this Settlement Agreement and its
exhibits will in all cases be construed as a whole, according to its fair meaning, and not strictly for
or against any Party. All Parties have participated in the preparation of this Settlement Agreement
and its exhibits and no presumptions or rules of interpretation based upon the identity of the Party
preparing or drafting this Settlement Agreement or its exhibits, or any part thereof, shall be applied
or invoked.

        15.      Disputed Claims. It is understood that this Settlement Agreement constitutes a
compromise of highly disputed claims, and that neither (a) the consideration provided for herein,
(b) the entry into the Settlement Agreement or stipulation to the Final Judgment, nor (c) any recital
contained herein, will be construed, interpreted, or admissible as an admission of liability by or on
behalf of any Party hereto, all such liability being expressly denied, regardless of whether this
Settlement Agreement becomes Final. In the event that the Settlement Agreement does not
become Final, then this Settlement Agreement shall be of no force or effect, and the Settlement
Agreement and any and all negotiations, documents, and discussions associated with it shall be
without prejudice to the rights of any Party, shall not be deemed or construed to be an admission
or evidence of any liability or wrongdoing by Chesapeake or of the truth of any of the claims or
allegations contained in the complaint or any other pleading, and evidence thereof shall not be
discoverable or used directly or indirectly, in any way, whether in Brown, Suessenbach, or in any
other action or proceeding. The Parties expressly reserve all of their respective rights, claims and
defenses if this Settlement Agreement does not become Final.
        The Parties agree that the Settlement Class will be certified for settlement purposes only,
that this Settlement shall not be construed to represent either an assertion or concession that such
a class would be manageable or appropriately certified for litigation, arbitration, trial, or a class
proof of claim in the Chapter 11 Cases, and in the event this Settlement Agreement is not given

                                                - 15 -
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1375 of 1639
                                                                         1375



final approval or this Settlement is not finalized for any reason whatsoever, the Parties
acknowledge and agree that Chesapeake remains free to challenge whether this proposed class or
any other proposed classes are properly certifiable in this litigation, in the Chapter 11 Cases, or
anywhere else, and Plaintiff shall not argue that anything in this Settlement Agreement limits
Chesapeake’s right to do so.

        The Parties further agree that by entering into this Settlement Agreement and seeking
Preliminary Approval and/or Final Approval, no Party waives or in any way diminishes its right
to demand that any disputes arising from the Pennsylvania Leases be decided in individual, binding
arbitration pursuant to the arbitration clause, if any, in any given lease or by litigation. Moreover,
neither the fact of this Settlement Agreement nor the fact that the Parties are seeking court approval
of this Settlement should be construed that the Parties or the Pennsylvania Leases have agreed to
or contemplated that disputes as to royalty payments may be resolved on a class-wide basis in
arbitration or otherwise.

       16.     Survival of Covenants and Representations. All covenants and representations
contained in this Settlement Agreement are contractual in nature, are not mere recitals, and will
survive the execution of this Settlement Agreement.

       17.     Miscellaneous.

              17.1 Governing Law. This Settlement Agreement is and will be governed by the
laws of the Commonwealth of Pennsylvania.

                17.2 Severability. In the event that a court of competent jurisdiction enters a
final judgment or decision holding invalid any nonmaterial provision of this Settlement
Agreement, the remainder of this Settlement Agreement will be fully enforceable. If a court of
competent jurisdiction holds invalid or materially modifies any material provision of this
Settlement Agreement, including but not limited to the provisions set forth in paragraph 6, either
Party shall be entitled to dissolve this Settlement Agreement and withdraw from the Settlement.

                17.3 Counterparts. This Settlement Agreement may be executed by facsimile or
electronic signatures and in counterparts, all of which will have full force and effect between the
Parties, subject to all conditions precedent and subsequent set forth herein.

              17.4 Integration. This Settlement Agreement and its exhibits constitute the entire
agreement of the Parties and a complete merger of all prior negotiations and agreements.

                17.5 Headings. The headings of the paragraphs and subparagraphs herein are
intended solely for convenience or reference and will not control or influence the meaning or
interpretation of any of the provisions of this Settlement Agreement.

               17.6 Gender and Number. Whenever applicable, the pronouns designating the
feminine, masculine and neuter will equally apply to the feminine, masculine and neuter genders;
the singular will include the plural and the plural will include the singular.

                17.7 Fees and Costs. Chesapeake shall bear its own costs, expenses, and
attorneys’ fees incurred in connection with Brown, Suessenbach, this Settlement, and performance

                                                - 16 -
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1376 of 1639
                                                                         1376



of the obligations imposed hereunder. Chesapeake shall have no obligation to pay the Attorneys’
Fees, Litigation Expenses or Incentive Award Payments of Plaintiffs, any Settlement Class
Member, Class Counsel, or any other counsel or representative.

                      17.7.1 Class Counsel may request Court approval for the payment from the
Settlement Funds of Incentive Award Payments to Plaintiffs.

                    17.7.2 Class Counsel will request Court approval for an award of Litigation
Expenses and Attorneys’ Fees to be paid from the Settlement Funds.

               17.8 Extensions of Time. The Parties reserve the right, subject to the Court’s
approval, to mutually agree to any reasonable extension of time that might be necessary to carry
out any of the provisions of this Settlement Agreement.

                17.9 Notice. All notices called for by this Settlement Agreement shall be sent to
Class Counsel on behalf of Plaintiffs and all Settlement Class Members; and to Chesapeake’s
Counsel on behalf of Chesapeake. Such notice shall become effective when placed in the United
States mail, prepaid first-class postage affixed, addressed to the addresses listed in paragraph 1
above. It is the responsibility of each Party to notify all other Parties of any change in any of these
addresses. The Party giving notice shall make reasonable efforts also to provide copies of any
notices by electronic mail or telephonic facsimile at the same time notice is placed in the mail.

                      17.9.1 Class Counsel, or any person acting on behalf of Class Counsel,
shall not publish any form of written notice except as provided for herein without prior written
approval of the content of such notice by Chesapeake, other than any information provided to any
Court in furtherance of this Settlement Agreement.

                        17.9.2 It shall be the responsibility of Class Counsel, or its designees, to
respond to all inquiries from members of the Settlement Class.

                      17.9.3 Plaintiffs agree that they shall not elect or seek to opt out of or
exclude themselves from the Settlement Class.

                       17.9.4 Plaintiffs, Class Counsel, and Chesapeake hereby agree not to
initiate, nor respond to, any communications with the media or press, on the Internet, or in any
public forum, orally or in writing, that relate to this Settlement, Brown, or Suessenbach that could
be viewed to cast Plaintiffs, Class Counsel, or Chesapeake in an unfavorable light or otherwise be
inconsistent with the Settlement Notice, the Settlement Agreement, and Court papers filed by the
Parties in connection with the Settlement Agreement.




                                                - 17 -
 Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1377 of 1639
                                                                        1377



AGREED TO AND DATED AS OF THE _ DAY OF MARCH, 2021.
APPROVED BY CLASS COUNSEL              52?OWW PLAINTIFFS, FOR
AND COUNSEL FOR THE BROWN              THEMSELVES AND ON BEHALF OF
PLAINTIFFS:                            THE SETTLEMENT CLASS:


Noah Axler                             FOR JAMES L. BROWN
Axler Goldich, LLC
 1520 Locust St, Suite 301
Philadelphia, PA 19102


Michael D. Donovan                     FOR ALICE R. BROWN
 Donovan Litigation Group, LLC
 1885 SwedesfordRoa(
:Malvem, PA 19355

                         ^
 Robert ]E. McCann
                                       SUESSENBACHfLATNTIFFS, FOR
MCCA*N &WALL, LLC                      THEMSELVES:
 Two Penn Center Plaza
1500 JFK Blvd., Ste. 1110
Philadelphia, PA 19102

Class Counsel and Counsel for Brown
Plaintiffs

APPROVED BY CLASS COUNSEL              SUESSENBACH FAMILY LIMITED
AND COUNSEL FOR                        PARTNERSHIP:
THE SUESSENBACHPLAIWI¥¥S:


Joseph H. Meltzer                      JAMES S. SUESSENBACH
Tyler S. Graden
KESSLER TOPAZ MELTZER &CHECK, LLP
280 King of Prussia Rd.
Radnor, PA 19807


Robert D. Schaub                       GINA M. SUESSENBACH
ROSENN, JENKINS &GREENWALD, LLP
15 South Franklin St.
Wilkes-Barre,PA18711

Class Counsel and Counsel for
Suessenbach Plaintiffs

                                      -18-
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1378 of 1639
                                                                       1378



AGREED TO AND DATED AS OF THE            DAY OF MARCH, 2021.

APPROVED BY CLASS COUNSEL                BROWN PLAINTIFFS, FOR
AND COUNSEL FOR THE BROWN                THEMSELVES AND ON BEHALF OF
PLAINTIFFS:                              THE SETTLEMENT CLASS:


Noah Axler                               FOR JAMES L. BROWN
Axler Goldich, LLC
1520 Locust St., Suite 301
Phila   hia, PA 19102


  ichael D. Donovan                      FOR ALICE R. BROWN
Donovan Litigation Group, LLC
1885 Swedesford Road
Malvern, PA 19355


Robert E. Mccann                         SUESSENBACHPLAINTIFFS, FOR
MCCANN & WALL, LLC                       THEMSELVES:
Two Penn Center Plaza
1500 JFK Blvd., Ste. 1110
Philadelphia, PA 19102

Class Counsel and Counsel for Brown
Plaintiffs

APPROVED BY CLASS COUNSEL                SUESSENBACH FAMILY LIMITED
AND COUNSEL FOR                          PARTNERSHIP:
THE SUESSENBACHPLAINTIFFS:


Joseph H. Meltzer                        JAMES S. SUESSENBACH
Tyler S. Graden
KESSLER TOPAZ MELTZER &CHECK, LLP
280 King of Prussia Rd.
Radnor, PA 19807


Robert D. Schaub                         GINA M. SUESSENBACH
ROSENN, JENKINS &GREENWALD, LLP
15 South Franklin St.
Wilkes-Barre, PA 18711

Class Counsel and Counsel for
Suessenbach Plainti.ffs

                                      - 18 -
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1379 of 1639
                                                                       1379
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1380 of 1639
                                                                       1380
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1381 of 1639
                                                                       1381
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1382 of 1639
                                                                       1382




APPROVED BY COUNSEL ~+OR           CHESAPEAKE:
CHESAPEAKE:




Daniel T. Donovan                  James Webb ~
Ragan Naresh                        xecut' e Vice President —General Counsel,
Kirkland &Ellis LLP                      eake Energy Corp.
1301 Pennsylvania Ave., N.W.
Washington DC 20004

Daniel T. Brier
Myers Brier &Kelly, LLP
425 Spruce Street, Ste. 200
Scranton, PA 18503
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1383 of 1639
                                                                       1383




                     EXHIBIT A
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1384 of 1639
                                                                         1384




                                UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                     BANKRUPTCY COURT


 ‘                                                          )
 In re:                                                     )   Chapter 11
                                                            )
 CHESAPEAKE ENERGY CORPORATION,                             )   Case No. 20-33233 (DRJ)
         1
 et al.,
                                                            )
                           Debtors.                         )   (Jointly Administered)
                                                            )

  [PROPOSED] ORDER (I) DIRECTING THE APPLICATION OF RULES 9014, 9019,
    AND 7023, (II) CERTIFYING THE SETTLEMENT CLASS FOR SETTLEMENT
 PURPOSES ONLY, (III) FINALLY APPROVING THE SETTLEMENT AGREEMENT,
                     AND (IV) GRANTING RELATED RELIEF




1 A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
claims and noticing agent at https://dm.epiq11.com/chesapeake. The location of Debtor Chesapeake Energy
Corporation’s principal place of business and the Debtors’ service address in these chapter 11 cases is 6100 North
Western Avenue, Oklahoma City, Oklahoma 73118.
                                                        1
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1385 of 1639
                                                                         1385



       Upon     the    motion     (the   “Motion”)     of    Chesapeake     Energy     Corporation

(“Chesapeake”) and Plaintiffs for entry of an order (this “Order”): (i) directing the application of

Rules 9014, 9019, and 7023 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”) and, by incorporation, Rule 23 of the Federal Rules of Civil Procedure (the “Federal

Rules”), (ii) certifying the Settlement Class, as defined in the Settlement Agreement, for

settlement purposes only, and (iii) finally approving the Settlement Agreement attached as

Exhibit 4 to the Motion, and (iv) granting related relief as more fully set forth in the Motion

and the Settlement Agreement, and this Court having jurisdiction over this matter pursuant to

28 U.S.C. §§ 157 and 1334; and this Court having found that this is a core proceeding pursuant to

28 U.S.C. § 157(b)(2); and this Court having found that it may enter a preliminary order

consistent with Article III of the United States Constitution; and this Court having found that

venue of this proceeding and the Motion in this district is permissible pursuant to 28 U.S.C. §§

1408 and 1409; and this Court having found that the relief requested in the Motion is in the best

interests of the Debtors’ estates, their creditors, and other parties in interest; and this Court

having found that the Debtors’ notice of the Motion and opportunity for a hearing on the Motion

were appropriate under the circumstances and no other notice need be provided; and this Court

having found that the Notice of Settlement and opportunity for a hearing on the Motion were

appropriate under the circumstances and no other notice need be provided; and this Court having

found that each putative member of the Settlement Class was afforded a reasonable opportunity

to opt out of or object to the Settlement; and this Court having found Debtors to have

complied with 28 U.S.C. § 1715; and this Court having reviewed the Motion and having

heard the statements in support of the relief requested therein at a hearing before this Court (the

“Settlement Fairness Hearing”); and this Court having considered


                                                 2
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1386 of 1639
                                                                         1386



each of the factors listed in Civil Rule 23; and this Court having determined that the legal and

factual bases set forth in the Motion and at the Settlement Fairness Hearing establish just cause for

the relief granted herein; and this Court having entered an order preliminarily approving the

Settlement Agreement, among other things Docket No. [] (the “Preliminary Approval Order”); and

this Court having found that the Settlement Administrator complied with the Preliminary Approval

Order; and this Court having found that the Settlement is fair, reasonable, and adequate; and this

Court having found that the Plan of Allocation and Distribution is fair and reasonable to the

Settlement Class; and upon all of the proceedings had before this Court; and after due deliberation

and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

   1. Pursuant to, and in accordance with, Bankruptcy Rules 7023, 9014, and 9019, and Civil

Rule 23, the Settlement Agreement is hereby approved on a final basis.

   2. The Settlement Class shall include, as the terms are defined in the Settlement Agreement:

            [A]ll individuals and entities, including their predecessors and successors-
            in-interest, who are or have been lessor parties to one or more
            Pennsylvania Leases, to the extent of their interests in such Pennsylvania
            Leases. The Settlement Class excludes (a) Chesapeake; (b) Williams
            Partners; (c) any person or entity who owns a working interest in or
            operates a gas well in Pennsylvania; (d) any person or entity who receives
            royalty in kind pursuant to a Pennsylvania Lease; (e) the McNamara and
            McDonald Lessors; (f) any person or entity who has previously released
            Chesapeake from liability concerning or encompassing any or all Settled
            Claims; (g) the federal government; (h) legally-recognized Indian Tribes;
            (i) the Commonwealth of Pennsylvania and its agencies, in their individual
            capacities only; and (j) any person who serves as a judge in these civil
            actions and his/her spouse.

   3. “Pennsylvania Leases” means each and every oil and gas lease that (a) covers a leasehold

located in Pennsylvania except for the portions of Southwestern Pennsylvania covered by the Gas

Gathering Contract Cost of Service - South Marcellus, (b) does not contain a Market Enhancement


                                                 3
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1387 of 1639
                                                                         1387



Clause or Ready for Sale or Use Clause, and (c) is or has been owned, in whole or in part, by

Chesapeake Appalachia, L.L.C. as a lessee, according to the business records maintained by

Chesapeake. Pennsylvania Leases does not include any lease Chesapeake Appalachia, L.L.C.

owned in whole or in part as a lessee, but in which Chesapeake Appalachia, L.L.C. is not a lessee

as of the date the Preliminary Approval Order and for which no Gas was produced during the time

that Chesapeake Appalachia, L.L.C. was a lessee.

   4. The Settlement Class is certified for settlement purposes only pursuant to Bankruptcy

Rules 7023, 9014, 9019, and Civil Rule 23.

   5. Upon Defendant’s transfer of the Settlement Funds the Defendant shall have no further

liability for payment of any additional amount under the Settlement Agreement.

   6. The putative members of the Settlement Class listed on Exhibit [] to this Judgment elected

to opt-out of the Settlement Class and are not entitled to receive any Settlement Funds.

   7. All Settlement Class Members who did not exercise the right to opt-out of the Settlement

Class are bound by this Judgment and the terms of the Settlement Agreement.

   8. Each Settlement Class Member and the heirs, devisees, successors, assigns, agents and/or

representatives of each Settlement Class Member, and each Defendant and Affiliate of each

Defendant and their successors shall be barred from asserting any and all Released Claims against

the Released Parties.

   9. Each Settlement Class Member and the heirs, devisees, successors, assigns, agents and/or

representatives of each Settlement Class Member, and each Defendant and Affiliate of each

Defendant and their successors shall be conclusively deemed to have released any and all Released

Claims against the Released Parties.


                                                4
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1388 of 1639
                                                                         1388



   10. Distribution of the Settlement Funds and election of future royalty payment methodologies

shall be made in accordance with the Plan of Allocation.

   11. Chesapeake shall provide notice to Settlement Class Members of their option to modify

the manner in which their royalties are calculated pursuant to Paragraph 6 of the Settlement

Agreement within 60 days of the Effective Date.

   12. To the extent a Settlement Class Member elects to receive royalties that are calculated

based upon an identified index price going forward pursuant to Paragraph 6.1 of the Settlement

Agreement, such an election and this Judgment shall modify how Chesapeake calculates and pays

Royalties on Chesapeake’s share of production and how Chesapeake pays Royalties on behalf of

any other person or entity holding a lessee/working interest under a Pennsylvania Lease, but will

not modify how any other entity calculates and/or pays Royalties pursuant to the Pennsylvania

Leases. Such an election will take effect no more than 180 days after the Effective Date of the

Settlement Agreement.

   13. The Court has reviewed and finds to be reasonable the Plan of Administration attached as

Exhibit B to the Settlement Agreement. The Settlement Administrator shall calculate and disburse

Distribution Funds in accordance with the Plan of Administration.

   14. Chesapeake shall deposit the Settlement Funds with the Settlement Administrator within

ten (10) business days of this Order and shall be obligated to pay all Settlement Administrative

Costs.

   15. The Settlement Administrator shall maintain the Settlement Funds in accordance with the

requirements set forth in the Settlement Agreement, including those terms set forth in the Plan of

Administration.


                                                5
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1389 of 1639
                                                                         1389



   16. The application of Class Counsel for an award of attorneys’ fees in the amount of one-third

(33%) of the Settlement Funds and expenses in the amount of $_______ is hereby approved. The

application of Class Counsel for Incentive Award Payments to each of the representative Plaintiffs

in the amount of $______ is hereby approved. These awards shall be paid by the Settlement

Administrator from the Settlement Funds upon the Settlement Effective Date.

   17. No Settlement Class Member filed an objection to the Settlement. Hence, no Settlement

Class Member has standing to appeal entry of this Judgment. Nonetheless, any Settlement Class

Member that wishes to appeal this Judgment or the Fees and Expenses Order must file a notice of

appeal within (14) days of entry of this Judgment pursuant to Bankruptcy Rule 8002.

   18. Neither the Preliminary Approval Order, this Judgment, the Settlement Agreement, the

negotiations leading to the Settlement Agreement, nor the carrying out of the Settlement

Agreement may ever be used by any person or entity as proof of the viability of any claim, cause

of action, or in any other proceeding.

   19. This Court retains jurisdiction to construe, interpret, enforce, and implement the Settlement

Agreement and this Judgment.

   20. Without further approval from the Court, the parties are hereby authorized to agree and to

adopt such amendments or modifications of the Settlement Agreement or any exhibits attached

thereto to effectuate the Settlement that: (i) are not materially inconsistent with this Order and

Judgment; and (ii) do not materially limit the rights of Settlement Class Members in connection

with the Settlement. Without further order of the Court, the Settling Parties may agree to

reasonable extensions of time to carry out any of the provisions of the Settlement Agreement.




                                                6
 Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1390 of 1639
                                                                        1390




SO ORDERED THIS ____DAY OF ____________, 2021

                                                HON. DAVID R. JONES




                                    7
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1391 of 1639
                                                                       1391




                     EXHIBIT B
              Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1392 of 1639
                                                                                     1392
                                            UNITED STATES DISTRICT COURT
                                             SOUTHERN DISTRICT OF TEXAS
                                                 BANKRUPTCY COURT

                                                         )
In re:                                                   )                Chapter 11
                                                         )

CHESAPEAKE ENERGY                                        )                Case No. 20-33233 (DRJ)
                     1
CORPORATION, et al.,
                                                         )
                          Debtors.                       )                (Jointly Administered)
                                                         )

                                     PLAN OF ALLOCATION AND DISTRIBUTION

         1.      Plan of Allocation

               (a)    The aggregate amount of funds available for distribution to the Settlement Class Members
(“Distribution Funds”) will be determined by subtracting from the Settlement Funds any award of Attorneys’ Fees,
Litigation Expenses, and/or Incentive Payments that the Court may grant to Plaintiffs, Class Members, or Class
Counsel.

               (b)    Each Settlement Class Member’s allocated share of the Distribution Funds will be calculated
in a two-step process. First, each class member’s percentage share of the total amount of Royalty deductions for
Post-Production Costs that Chesapeake has taken from the Settlement Class under Pennsylvania Leases up to
December 31, 2020. Second, the Class Member’s percentage share of the total Royalty deductions will be used as
the Class Member’s percentage of the Distribution Funds.

               (c)   Calculation of each Settlement Class Member’s allocated share of the Distribution Funds
shall be based upon Chesapeake’s accounting records that identify the lessors to whom royalties were paid up to the
December 31, 2020. Claims between or among Settlement Class Members as to their respective entitlements to
Distribution Funds under a given Pennsylvania Lease shall be resolved by and among such Settlement Class
Members. Chesapeake shall have no obligation or responsibility to address or resolve any such disputes, and no
payment obligation beyond the distribution required by paragraph 1.b of this Plan of Allocation and Distribution.

                (d)    Chesapeake will be entitled to any portion of the Distribution Funds that is attributable to
those lessors who have opted out of the Settlement Class. Any other unclaimed portion of the Distribution Funds
that remains after payment has been made to the Settlement Class Members shall be distributed as ordered by the
Court, to the extent permissible under applicable law.

                (e)     The Settlement affects only Chesapeake and/or its Affiliates and does not affect how any
other entity calculates and/or pays Royalties.




1 A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ claims and noticing agent
at https://dm.epiq11.com/chesapeake. The location of Debtor Chesapeake Energy Corporation’s principal place of business and the
Debtors’ service address in these chapter 11 cases is 6100 North Western Avenue, Oklahoma City, Oklahoma 73118.
            Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1393 of 1639
                                                                                                   1393
        2.     Heirship Notification Form. Some persons included in the Settlement Class definition may now be
deceased (“Deceased Class Members”). In order to assist the Settlement Administrator in the allocation and
distribution of funds attributable to the interests of Deceased Class Members, the Settlement Notice mailed to
Settlement Class Members will be accompanied by an Heirship/Beneficiary Information Form (“Heirship Form”),
which will be substantially in the form of the document attached hereto as Attachment 1. If a Settlement Class
Member believes that he or she is entitled to receive all, or some portion, of the settlement funds allocable to a
Deceased Class Member under the Plan of Allocation, then the Settlement Class Member will be requested, but not
required, to mail to the Settlement Administrator a completed Heirship Form containing the information and
documents requested therein.

        The provision of an Heirship Form will be requested as an aid to the Settlement Administrator in the
distribution of the Settlement Funds, but shall not constitute a required proof of claim form, nor be a condition
precedent to the allocation and distribution of settlement monies attributable to a Deceased Class Member’s
interests. In the absence of an Heirship Form, the Settlement Administrator may, but will not be required to, review
records in Defendant’s possession, including division orders, transfer orders, probate records, payment records, and
like documents, and reasonably attempt to allocate and distribute Settlement Funds attributable to a Deceased Class
Member’s interest to the person, or persons, who received royalty payments from the Producers as a successor-in-
interest to the Deceased Class Member in the ordinary course of business. The Settlement Administrator may also
allocate and distribute Settlement Funds attributable to a Deceased Class Member’s interests to the estate of the
Deceased Class Member, with any such payment to be sent to such mailing address as may be readily ascertainable
by the Settlement Administrator.

       To the extent a Settlement Class Member is an entity, such as a family limited partnership, that is no longer
in existence, such a Settlement Class Member’s share of the Distribution Funds shall be distributed to the
successor(s) in interest to that entity based on Chesapeake’s records.

3.     Distribution of Settlement Proceeds

              (a)     Within sixty (60) days after the Effective Date, the Settlement Administrator shall make a
determination as to the amounts owed to each Settlement Class Member and shall issue checks to each Settlement
Class Member to whom a payment is owed. Chesapeake shall provide data pertaining to Settlement Class
Members’ historic Royalty deductions for Post-Production Costs within thirty (30) days of the Effective Date.
               (b)    The amount of money to be disbursed to each Settlement Class Member will be the
Settlement Class Member’s allocated share of the Settlement Funds as calculated in accordance with the Plan of
Allocation, including any interest earned thereon, reduced by his or her proportionate share of Court-approved
Litigation Expenses, Administrative Costs, and Attorneys’ Fees, Incentive Award Payments, and any interest
earned thereon.

               (c)     The Settlement Administrator shall, not less than one year after the Effective Date, determine
for the Court the total dollar amount of the distribution checks which were payable to Settlement Class Members
but which were not negotiated by the Settlement Class Members for any reason, for example, because a Settlement
Class Member could not be located or a Settlement Class Member failed or refused to negotiate his distribution
check. All such unclaimed monies shall be transferred to a charitable organization agreed to by Plaintiffs, Plaintiffs-
Intervenors, and Defendant.

       4.      Disputed Claims. Any dispute between persons who are, or who purport to be, Settlement Class
Members concerning the distribution of a portion of the Distribution Funds shall be resolved by and among such
Settlement Class Members. Chesapeake shall have no obligation or responsibility to address or resolve any such
disputes, and no payment obligation beyond the distribution required by paragraph 1.b of this Plan of Allocation
            Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1394 of 1639
                                                                                                        1394
and Distribution. Such dispute shall not in any way affect, delay, or interfere with, the approval of the settlement or
any distribution to any persons not involved in the dispute, including any distribution to other Settlement Class
Members or Class Counsel.

        5.      Claims Based Upon Distributions. No Settlement Class Member shall have any claim against the
Class Representatives, Class Counsel, the Settlement Administrator, or Defendant based upon distributions made
substantially in accordance with the Settlement Agreement, the Plan of Allocation and Distribution, or orders of the
Court, or in good faith reliance on any public records or records provided by Defendant or any other person or
entity.

         6.     Final Report of Distribution by Settlement Administrator. Within sixty (60) days after completing
full distribution of the Settlement Funds, unless otherwise ordered by the Court, the Settlement Administrator shall
file with the Court a Final Report (together with a proposed order approving such report and discharging the
Settlement Administrator) indicating that the Settlement Funds have been distributed in accordance with the terms
of the Settlement Agreement and the Court’s prior orders.

        7.     Settlement Administrator. As used herein and in the exhibits hereto, the term “Settlement
Administrator” means any person approved by Lead Class Counsel to administer the Settlement in accordance with
the Settlement Agreement, Final Judgment, and this Plan of Allocation and Distribution.

        8.      Definitions. All terms defined in the Settlement Agreement shall have the same meaning when used
in this Plan of Allocation and Distribution except as otherwise specified herein.
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1395 of 1639
                                                                       1395
                           ATTACHMENT 1
              Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1396 of 1639
                                                                                     1396
                                            UNITED STATES DISTRICT COURT
                                             SOUTHERN DISTRICT OF TEXAS
                                                 BANKRUPTCY COURT

                                                         )
In re:                                                   )                Chapter 11
                                                         )

CHESAPEAKE ENERGY                                        )                Case No. 20-33233 (DRJ)
CORPORATION, et al.,1
                                                         )
                          Debtors.                       )                (Jointly Administered)
                                                         )

            CLASS ACTION SETTLEMENT HEIRSHIP/BENEFICIARY INFORMATION FORM

The information in this form is solicited to assist the Settlement Administrator in the allocation and distribution of
monies attributable to the interests of persons included in the Settlement Class definition who are now deceased
(“Deceased Class Members”). If you are an heir or beneficiary of a Deceased Class Member and thereby believe
you are entitled to receive all, or some portion, of the Distribution Funds allocable to a Deceased Class Member
under the Settlement Agreement’s Plan of Allocation and Distribution, then you are requested to provide the
information set forth below. Please sign, notarize and mail the completed form in a postage-prepaid envelope, to
the Settlement Administrator listed below, postmarked no later than _________________, 2021.
You should send your completed form to:

Administrator Address

If you have any questions about this form, please write the Settlement Administrator at the address above, email the
Settlement Administrator at email address, or call the Settlement Administrator at N-NNN-NNN-NNNN.
Additional blank forms are available for download at settlement website.




1 A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ claims and noticing agent
at https://dm.epiq11.com/chesapeake. The location of Debtor Chesapeake Energy Corporation’s principal place of business and the
Debtors’ service address in these chapter 11 cases is 6100 North Western Avenue, Oklahoma City, Oklahoma 73118.
            Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1397 of 1639
                                                                                                    1397
The Heirship Form is requested as an aid to the Settlement Administrator in the distribution of the Distribution
Funds, but shall not constitute a required proof of claim form. In the absence of an Heirship Form, the Settlement
Administrator may, but is not required to review records in Chesapeake’s possession, including division orders,
transfer orders, probate records, payment records, and like documents, in an attempt to reasonably allocate and
distribute Distribution Funds attributable to a Deceased Class Member’s interests, to the person, or persons, who
received Royalty payments from Chesapeake as a successor-in-interest to the Deceased Class Member in the
ordinary course of business. The Settlement Administrator may also allocate and distribute Distribution Funds
attributable to a Deceased Class Member’s interests to the estate of the Deceased Class Member, with any such
payment to be made payable to the estate of the Deceased Class Member and sent to such mailing address for the
estate as may be readily ascertainable by the Settlement Administrator.
Requested Information
A.      Provide the following information about the person submitting this form:

       1.      Current Name:_____________________________________________________

       2.      Any different name under which you may have received gas royalty payments from Chesapeake:

                             ______________________________________________________

       3.      Current Address
                      Address 1:


                      Address 2:


       City:          State: Zip:    _________

       4.      Current Telephone Number (          )       _-

B.     Provide the following information about the Deceased Class Member to whom this Heirship Form pertains:

       1. Name:________________________________



       2. The approximate date of the Deceased Class Member’s death: /           /
       3. Identify each oil and gas lease number under which the Deceased Class Member received royalty payments
       on gas produced by Chesapeake (if you know).

       Lease: _________Lease:        ______ Lease: ________Lease:         _________Lease: ________ ___



C.      List the name and address of each person and/or entity who is an heir or beneficiary of the
        Deceased Class Member and succeeded to the Deceased Class Member’s mineral or royalty
        interests and specify the fractional share (e.g., 1/2, 1/3, etc.) of the Deceased Class Member’s
        interests to which each such person or entity succeeded:
        Name: ________________ Percentage:            __________
        Name: ________________ Percentage:            __________
        Name: ________________ Percentage:            __________
        Name: ________________ Percentage:            __________
       Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1398 of 1639
                                                                              1398




D.   Attach copies of documentation, such as probate documents, transfer orders, division orders, and
     like documents, which evidence that the undersigned and the persons identified in paragraph C,
     above, succeeded to the Deceased Class Member’s interests.

     Your signature on this Heirship Form constitutes a representation that the information contained
     in this form and the documents provided with the form, are true and correct, to the best of your
     knowledge, information, or belief.




     State of                     County of __________

     On     _________, _____, before me, a Notary Public in and for said County, personally
     appeared_____________          , who acknowledged that he/she/they did sign the foregoing
     document and that it is their act and deed.

     My commission expires

     Signature / Notary Public     Name / Notary Public




                                                     7
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1399 of 1639
                                                                       1399




                     EXHIBIT C
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1400 of 1639
                                                                            1400




                                UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                     BANKRUPTCY COURT

                                                          )
    In re:                                                )   Chapter 11
                                                          )
    CHESAPEAKE ENERGY CORPORATION,                        )   Case No. 20-33233 (DRJ)
    et al., 1
                                                          )
                           Debtors.                       )   (Jointly Administered)
                                                          )

     [PROPOSED] ORDER (I) DIRECTING THE APPLICATION OF RULES 9014, 9019,
       AND 7023, (II) GRANTING PRELIMINARY APPROVAL OF CLASS ACTION
    SETTLEMENT, (III) PRELIMINARILY CERTIFYING A CLASS FOR SETTLEMENT
    PURPOSES, (IV) APPROVING FORM AND MANNER OF CLASS NOTICE, AND (V)
     SETTING DATE FOR FINAL APPROVAL HEARING ON FINAL APPROVAL OF
                                 SETTLEMENT




1
 A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
claims and noticing agent at https://dm.epiq11.com/chesapeake. The location of Debtor Chesapeake Energy
Corporation’s principal place of business and the Debtors’ service address in these chapter 11 cases is 6100 North
Western Avenue, Oklahoma City, Oklahoma 73118.
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1401 of 1639
                                                                         1401



       Upon the motion (the “Motion”) of Chesapeake Energy Corporation (“Chesapeake”) for

entry of an order (this “Order”): (i) directing the application of Rules 9014, 9019, and 7023 of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and, by incorporation, Rule 23

of the Federal Rules of Civil Procedure (the “Federal Rules”), (ii) granting preliminary approval

of the class action settlement attached as Exhibit 4 to the Motion (the “Settlement Agreement”);

(iii) preliminarily certifying a class for settlement purposes, (iv) approving the form and manner

of Class Notice to members of the Settlement Agreement, and (v) setting date for final approval

heraing on final approval of the settlement, and this Court having jurisdiction over this matter

pursuant to 28 U.S.C. §§ 157 and 1334; and this Court having found that this is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2); and this Court having found that it may enter a preliminary

order consistent with Article III of the United States Constitution; and this Court having found that

venue of this proceeding and the Motion in this district is permissible pursuant to 28 U.S.C.

§§ 1408 and 1409; and this Court having found that the relief requested in the Motion is in the best

interests of the Debtors’ estates, their creditors, and other parties in interest; and this Court having

found that the Debtors’ notice of the Motion and opportunity for a hearing on the Motion were

appropriate under the circumstances and no other notice need be provided; and this Court having

reviewed the Motion and having heard the statements in support of the relief requested therein at

a hearing before this Court (the “Hearing”); and this Court having determined that the legal and

factual bases set forth in the Motion and at the Hearing establish just cause for the relief granted

herein; and upon all of the proceedings had before this Court; and after due deliberation and

sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

   1. The Motion is granted to the extent set forth herein.




                                                   1
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1402 of 1639
                                                                         1402



   2. The Settlement Agreement attached as Exhibit 4 to the Motion is hereby preliminarily

approved. The Court preliminarily finds that the Settlement Agreement complies with Federal

Rule of Civil Procedure 23 and the Class Action Fairness Act of 2005 (“CAFA”) (28 U.S.C.

§1715).

   3. The Plan of Allocation attached as Exhibit B to the Settlement Agreement is hereby

preliminarily approved.

   4. The form of the notice to be sent to the Class Members (the “Class Notice”) attached to the

Settlement Agreement as Exhibit D and the service of the Class Notice by the Epiq Corporate

Restructuring LLC (the “Settlement Administrator”) to each class Member, at the last known

address of each Class Member according to the Debtors’ books and records (or as updated by Class

Counsel’s searches for current addresses or as may otherwise be determined by the Parties)

comports with all applicable law and is hereby approved.

   5. The Class Notice shall be mailed by first-class mail, postage prepaid, by the Notice

Administrator within 15 business days following the entry of this Order.

   6. The parties shall file motions and memoranda in support of final approval of the Settlement

Agreement and Class Counsel shall file their request for attorneys’ fees and expense

reimbursements on or before _______.

   7. Any member of the Class who wishes to object to or comment on the proposed settlement,

or to object to Class Counsel’s request for attorney’s fees and expense reimbursements, must

postmark and mail such objections or comments on or before ________. In accordance with the

procedures set forth in the Settlement Notice, any such objections or comments must be mailed to

Class Counsel, Chesapeake’s counsel, and the Court.




                                               2
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1403 of 1639
                                                                         1403



   8. Any member of the Class who wishes to exclude himself or herself from the Class

Settlement must postmark and mail the exclusion request to Class Counsel and Chesapeake’s

counsel no later than _______.

   9. Any class member who wishes to appear and be heard at the final approval hearing must

postmark and mail notice of such intention on or before ______. Notice of such intention must be

mailed to Class Counsel, Chesapeake’s counsel, and the Court.

   10. On or before _____, Class Counsel and Chesapeake may file a response to any Class

Member’s objections or comments.

   11. The Court shall conduct the Fairness Hearing on [_______________], 2021 at [___]         .m.

to consider final approval of the Settlement Agreement and Class Counsel’s request for attorneys’

fees and expense reimbursements. The Court may adjourn the Fairness Hearing without further

notice of any kind.

   12. This Court retains jurisdiction to construe, interpret, enforce, and implement the Settlement

Agreement and this Order.

       SO ORDERED this ____ day of _________, 2021.




                                                     ________________________________
                                                     HON. DAVID R. JONES




                                                3
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1404 of 1639
                                                                       1404




                     EXHIBIT D
        Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1405 of 1639
                                                                               1405



                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                   BANKRUPTCY COURT
     There are Proposed Settlements of lawsuits brought on behalf of the Commonwealth of
Pennsylvania (“PA AG Action”) and Pennsylvania Royalty Owners against Chesapeake Appalachia,
                 L.L.C., Chesapeake Energy Corporation and other defendants.

    If you have received royalty payments from Chesapeake or you have an existing unexpired
         lease with Chesapeake, you may be able to obtain benefits through these Settlements.
          This is a court-authorized Notice. This is NOT a solicitation from a lawyer.
       Chesapeake Energy and its affiliates have reached settlements with the Pennsylvania
Attorney General’s Office and in class actions brought on behalf of oil and gas lessors in
Pennsylvania. Each of the lawsuits asserts claims that Chesapeake or its affiliates failed to pay
gas royalties consistent with the oil and gas leases and related claims. Chesapeake denies
these claims, but settled the lawsuits in order to resolve the claims and to establish a new
relationship with its Pennsylvania royalty owners.

    1. Why did I receive this Notice?

Records show that you (or someone in your family) have received and/or currently receive royalty
payments from Chesapeake from a natural gas well(s) in Pennsylvania, or that you have an
unexpired lease with Chesapeake that is not currently producing hydrocarbons.

This Court sent you this notice to inform you of three settlement agreements in the following cases:

•     The PA AG Action. This refers to the action brought by the Commonwealth of Pennsylvania
      in Commonwealth of Pennsylvania v. Chesapeake Energy Corporation, et al., originally
      brought as Case No. 2015IR0069 (Ct. of Common Pleas, Bradford Cty., Pa.).

•     The MEC Action. This refers to the class action styled Demchak Partners Limited
      Partnership, et al. v. Chesapeake Appalachia, L.L.C., originally brought as Case No. 3:13-
      cv-2289 on the docket of the United States District Court for the Middle District of
      Pennsylvania.

•     The Non-MEC Action. This refers to the class actions styled Brown v. Access Midstream
      Partners, L.P., et al., Case No. 3:14-cv-00591-MEM, and The Suessenbach Family Limited
      Partnership v. Access Midstream Partners, L.P., Case No. 3:14-cv-01197-MEM, both
      originally on the docket of the United States District Court for the Middle District of
      Pennsylvania.

This notice refers to the PA AG Action, the MEC Action, and the Non-MEC Action together as
the “Lawsuits,” and it refers to the MEC and Non-MEC Action together as the “Settlement Class
Actions.”




                                 QUESTIONS? CALL 1-800-____-_____
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1406 of 1639
                                                                            1406



The Lawsuits were initially filed in Pennsylvania, but because of Chesapeake’s Bankruptcy Filing the
settlements are being reviewed by the United States District Court for the Southern District of
Texas, Bankruptcy Court. Judge David R. Jones of the United States District Court for the Southern
District of Texas Bankruptcy Court is overseeing these settlements.

 2. What are these Lawsuits about?

The Lawsuits claim that Chesapeake underpaid royalties relating to gas produced from wells
located in Pennsylvania pursuant to certain provisions of oil and gas leases. All of the Lawsuits
allege that Chesapeake inappropriately deducted certain costs from royalty payments due under
oil and gas leases. Chesapeake denies all allegations but has agreed to settle them based on
the time and expense of continuing litigation and in the interest of furthering its relationship with
its Pennsylvania lessors.

 3. How do I know if I am part of the Settlement?

PA AG Action Settlement

You are part of the PA AG Action Settlement if you have or have had an oil and gas lease with
Chesapeake in Pennsylvania.

MEC Action Settlement

You are a part of the settlement in the MEC Action if you are or have been a lessor to one or more
Pennsylvania Lease(s) that (a) covers a leasehold located in Pennsylvania except for the portions
of Southwestern Pennsylvania covered by the Gas Gathering Contract Cost of Service - South
Marcellus, (b) contains a Market Enhancement Clause or Ready for Sale or Use Clause, and (c)
is or has been owned, in whole or in part, by Chesapeake Appalachia, L.L.C. as a lessee,
according to the business records maintained by Chesapeake.

A Market Enhancement Clause (“MEC”) is a provision in an oil and gas lease that precludes the
lessee (such as Chesapeake) from deducting Post-Production Costs incurred to transform
leasehold gas into marketable form, but permits the lessee to deduct a pro-rata share of Post-
Production Costs incurred after the gas is marketable if they enhance the value of the marketable
gas.

A “Ready for Sale or Use Clause” (“RFSU”) is a provision in an oil and gas lease that precludes
the lessee from deducting Post-Production Costs to make such gas ready for sale or use but
permits the lessee to deduct a pro-rata share of Post-Production Costs incurred after the gas is
ready for sale or use.

Excluded from the MEC Settlement Class are: (a) Chesapeake; (b) any person or entity who owns
a working interest in or operates a gas well in Pennsylvania; (c) any person or entity who receives
royalty in kind pursuant to a Pennsylvania Lease; (d) any person or entity who has previously
released Chesapeake from liability concerning or encompassing any or all Settled Claims; (e)


                                 QUESTIONS? CALL 1-800-____-_____
                                                -1-
      Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1407 of 1639
                                                                             1407



the federal government; (f) legally recognized Indian Tribes; and (g) any person who serves as
a judge in these Lawsuits and his/her spouse.

Non-MEC Action Settlement

You are a part of the settlement in the Non-MEC Action if you are or have been a lessor to one
or more Pennsylvania Lease(s) that (a) covers a leasehold located in Pennsylvania except for
the portions of Southwestern Pennsylvania covered by the Gas Gathering Contract Cost of
Service - South Marcellus, (b) does not contain a Market Enhancement Clause or Ready for
Sale or Use Clause, and (c) is or has been owned, in whole or in part, by Chesapeake
Appalachia, L.L.C. as a lessee, according to the business records maintained by Chesapeake.

The following individuals, groups, and entities are excluded from the Non-MEC Settlement
Class: (a) Defendants; (b) any person or entity who owns a working interest in or operates a gas
well in Pennsylvania; (c) any person or entity who receives royalty in kind pursuant to a
Pennsylvania Lease; (d) any person or entity who has previously released Chesapeake from
liability concerning or encompassing any or all claims that are the subject of the Lawsuit; (e) the
federal government; (f) legally-recognized Indian Tribes; (g) the Commonwealth of Pennsylvania
and its agencies, in their individual capacities only; and (h) any person who serves as a judge in
these Lawsuits and his/her spouse.

Deceased Class Members

Some persons who are part of the MEC and/or Non-MEC settlements may be deceased (“Deceased
Class Members”). To assist the Settlement Administrator in allocating and distributing monies
attributable to the interests of Deceased Settlement Class Members, this Notice is accompanied by
an Heirship/Beneficiary Information Form (“Heirship Form”). If you believe that you are entitled to all
or some portion of the Settlement funds allocable to a Deceased Settlement Class Member, then
please mail to the Settlement Administrator a completed Heirship Form.

Some corporations, partnerships, or other entities included in the Class definition may now be
dissolved. If you have succeeded to the interest of such a dissolved corporation, partnership, or other
entity, you should immediately contact the Settlement Administrator, whose contact information is
attached to this Notice.

If you are a Settlement Class Member and the Judge approves the Proposed Settlement, you
will be bound by all orders and judgments of the Court and by the Court’s final resolution of
the Settlement Class claims in the Lawsuits. See Question 10 for information about your right
to comment on or object to the Proposed Settlement.

 4. What do the Settlements provide?

Chesapeake has historically calculated its royalty payments to Pennsylvania landowners based
on the “Netback Method.” Under the Netback Method, Chesapeake pays royalties based on the
weighted average sales price Chesapeake receives for its production month sales to third parties
minus a proportionate share of all the post-production costs Chesapeake incurs, including costs
for gathering, compression and transportation.

                                 QUESTIONS? CALL 1-800-____-_____
                                                 -2-
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1408 of 1639
                                                                            1408



The PA AG Action Settlement and the Class Action Settlements provide Pennsylvania lessors
the right to make an election as to how their royalties will be calculated by Chesapeake in the
future. This election does not apply to leases no longer owned by Chesapeake, nor does it apply
to the interests owned by any other working interest owner in the lease.

Under the PA AG Action Settlement:

      If you have a lease with a MEC or RFSU clause, you will have the one-time opportunity
      to select having your future royalties paid at (1) the higher of the In-Basin Index Price
      (50% Leidy Hub and 50% TGP Zone 4) Without Post-Production Deductions or the
      Netback Price with deductions, whichever price is higher for the production month; or 2)
      continue to be paid the Netback Price with deductions.

      If you have a lease with a Non-MEC clause, you will have the one time opportunity to
      select having your future royalties paid at (1) the In-Basin Price (50% Leidy Hub and 50%
      TGP Zone 4) Without Post-Production Deductions; or 2) continue to be paid the Netback
      Price with deductions.

      If you have a lease that expressly prohibits deductions, and Chesapeake discovers it has
      been taking deductions, Chesapeake will discontinue doing so.

Under the Class Action Settlements, if you have a lease with a MEC or RFSU clause, you will
have the one-time opportunity to select having your royalties paid at (1) the higher of the In-
Basin Index Price Without Post-Production Deductions, or the Netback Price; (2) the In-Basin
Index Price Without Post-Production Deductions; or (3) the Netback Price, each as defined in
the Settlement Agreement(s). To the extent no Election by a Settlement Class Member is
received by the Settlement Administrator within five (5) business days after the expiration of the
Election Period, such Settlement Class Member will be deemed to have elected Option (1) (i.e.,
the higher of the In-Basin Index Price Without Post-Production Deductions and the Netback
Price).

If your lease does not have a MEC or RFSU clause, you will have the one-time opportunity to
elect to select having Chesapeake pay royalties to you based solely on an In-Basin Price without
deductions of any costs, or you may elect to have Chesapeake pay royalties to you based solely
on the Netback Method.

You will receive a separate mailing explaining how to make your election between the options
discussed above after certain specific events occur, including final approval of the Proposed
Settlements.

In addition to this right to an election, all three settlements—the PA AG Action Settlement, the
MEC Action Settlement, and the Non-MEC Action Settlement—include a cash payment by
Chesapeake for distribution to Pennsylvania royalty owners and/or Class Members. The total
cash amount to be distributed among the royalty owners and/or Class Members (as applicable)
is $5,300,000 for the PA AG Settlement, $5,000,000 for the MEC Settlement Class, and
$1,250,000 for the Non-MEC Settlement Class. The amounts distributed to royalty owners under
the PA AG Action Settlement will be distributed by the Settlement Administrator in fixed amounts
based on lease type, as determined by the Pennsylvania Attorney General’s Office. The
                                QUESTIONS? CALL 1-800-____-_____
                                               -3-
        Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1409 of 1639
                                                                               1409



amounts distributed to the MEC Settlement Class and Non-MEC Settlement Class will be
distributed among the Class Members on a pro rata basis, net of any attorneys’ fees and costs
awarded by the Court to Class Counsel in the Non-MEC Action.

•     You will be eligible for a portion of the payment from PA AG Action Settlement no matter
      what action you take in response to this notice.

•     You will only be eligible for a share of the cash payment being made in the MEC Action and
      the Non-MEC Action if you (a) qualify as a member of those settlements (see Question 3
      above) and (b) you do you not exclude yourself from those settlements (see Question 7,
      below). The payments and the manner in which the funds will be distributed is set forth in
      greater detail in the Settlement Agreements.

    5. Can I participate in the PA AG Action Settlement without participating in the Class
    Action Settlements?

The PA AG Action Settlement and Class Action Settlements are independent settlements. You
can participate in the PA AG Action Settlement without participating in the Class Action
Settlements.

If you choose, however, to opt out of the Class Action Settlements (see Question 7 below), you
will not be entitled to receive any of the Class Settlement funds that will be distributed to class
members under the Class Action Settlements

    6. What do I need to do to remain the Settlement Class Member in the MEC or Non-
       MEC Action?

If you are a member of the settlement classes in the MEC and/or Non-MEC Actions and you
want to remain a Settlement Class Member, you do not need to take any action whatsoever.
Class Counsel in the respective actions will represent your interests as a member of the
Settlement Class.

    7. Can I get out of the Settlement Class in the MEC or Non-MEC Action?

If you do not want to be in a Settlement Class in the MEC or Non-MEC Action and you want to
keep the right to sue Chesapeake on your own, you must take steps to get out of the Settlement
Class. This is called excluding yourself from or “opting out of” the Settlement Class.

Chesapeake filed for Chapter 11 bankruptcy on June 28, 2020, and emerged from bankruptcy
on February 9, 2021. As a result, all claims (as defined in the Bankruptcy Code) against
Chesapeake arising before February 9, 2021 have been discharged by the bankruptcy court.

To exclude yourself from (“opt out of”) the Settlement Class in the MEC or Non-MEC Action, you
must send a letter personally signed by you that includes all of the following: (1) Your name, address,
and telephone number; (2) Your Chesapeake owner number (if you know it); (3) The following
Civil Action Number: 20-33233; and (4) A statement that you want to be excluded from the

                                 QUESTIONS? CALL 1-800-____-_____
                                                 -4-
      Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1410 of 1639
                                                                             1410



Settlement Class, specifying which Settlement Class (MEC Settlement Class or Non-MEC
Settlement Class or both) you wish to opt out of.

Your request for exclusion letter must be mailed first class, postage pre-paid, received on or before
__________________, 2021 to the Settlement Administrator, whose contact information is attached
to this Notice.

You cannot exclude yourself from only part of the Proposed Settlement or Settlement Class. Also,
please remember that you cannot exclude yourself by phone or by sending an email.
 8. Do I have lawyers representing my interests in the case?

The Court has appointed the law firms identified in the attachment to this Notice to represent each
Settlement Class. The lawyers representing the Settlement Classes in the MEC and Non-MEC
Action are called “Class Counsel.” You do not have to directly pay Class Counsel. If you want
your own lawyer, and to have that lawyer appear in court, you may hire one at your own expense.
If you want your own lawyer to speak for you or to appear in Court, you or your lawyer must file
a Notice of Appearance. (See Question 10 to find out how to submit a Notice of Appearance).
Class Counsel in each action will request that the Court award them reimbursement of their
litigation expenses plus attorneys’ fees based on a percentage (not exceeding 33.33%) of the
total economic benefit realized by the class members under the settlement agreements.

 9. Who are the Class Representatives and how are they compensated?

The Court has appointed Plaintiffs James L. Brown, Alice R. Brown, The Suessenbach Family
Limited Partnership, James S. Suessenbach, and Gina M. Suessenbach as Class
Representatives for the Non-MEC Settlement Class. The Court has appointed certain of the
Plaintiffs in Demchak as Class Representatives for the MEC Settlement Class.

The Settlement Class Representatives work with Class Counsel on behalf of all Settlement Class
Members to present the views of typical Settlement Class Members to Class Counsel and the Court.
The Settlement Class Representatives may be entitled to an Incentive Payment Award of no more
than $5,000 each.

 10. Can I object to or comment on the Proposed Settlement?

If you have comments about, or disagree with, any aspect of the Proposed Settlements, including the
Class Action Settlements requested attorneys’ fees, you may express your views to the Court through
a written response. Only Class Action Settlement Members who have not opted out can object or
comment. The written comment or objection should include your name, address, telephone number,
and Chesapeake owner number(s) (if known). In addition, any objection must include (a) a written
statement of your objection, (b) a written statement of the grounds or reasons for your objection, and
(c) copies of any papers, briefs, or other documents supporting your objection. The document must
be signed to ensure the Court’s review. In order to be considered by the Court, your comment or
objection must be received on or before _______________, 2021 and mailed to:


                                 QUESTIONS? CALL 1-800-____-_____
                                                -5-
      Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1411 of 1639
                                                                             1411



                                       Clerk of the Court
                     United States District Court, Southern District of Texas
                                         515 Rusk Street
                                      Houston, TX 77002

Your comment or objection must clearly state that it relates to the following civil action number: 20-
33233, and must state what specific settlement you are objecting to.

The comment or objection must also be mailed to counsel for Chesapeake, as well as either Larry D.
Moffett (if you are a member of and objecting to the MEC Action Class) or Michael D. Donovan (if you
are a member of and objecting to the Non-MEC Action Class). Contact information for all is attached
to this Notice.

 11. Will there be a Hearing on the Proposed Settlements?

The Court will hold a Final Approval Hearing on _____, to consider whether the Proposed Settlements
are fair, reasonable, and adequate. The Hearing will be at the United States Courthouse, at
__________. At the Hearing, the Court will decide whether to approve the Proposed Settlements and
the Class Action Settlements’ motions for attorneys’ fees and expenses. If comments or objections
have been received, the Court will consider them at this time.

Attendance is not required, even if you properly mailed a written objection or comment. If you
filed an objection to the Settlement, as long as the objection was received before the deadline,
the Court will consider it, regardless of whether you or your privately-retained attorney appear
at the Hearing.

If you want to speak or have your own lawyer speak at the Final Approval Hearing, you must give the
Court a paper that is called a “Notice of Appearance.” The Notice of Appearance must refer to In re
Chesapeake Energy Corp., Case No. 20-33233-DRJ, United States District Court for the Southern
District of Texas, and state that you or your lawyer wish to enter an appearance at the Final Approval
Hearing. It must also include your name, address, telephone number, and signature. Your “Notice of
Appearance” must be received no later than ________. You cannot speak at the Hearing if you asked
to be excluded from the Proposed Settlement Class in the MEC or Non-MEC Action.

The Notice of Appearance must be filed with the Court at the address provided under after Question
10 above and also mailed to the attorneys listed in Question 10 above.

In addition, your document must clearly state that it relates to the following Civil Action Number: 20-
33233.

 12. How do I get more information about the Proposed Settlement?

If you have additional questions about the Class Action Settlements you may contact the Settlement
Administrator.



                                 QUESTIONS? CALL 1-800-____-_____
                                                 -6-
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1412 of 1639
                                                                            1412



If you have questions about the PA AG Action Settlement you may contact the Pennsylvania
Attorney General’s Office at 717-787-4530 or landowners@attorneygeneral.gov. You can also
visit the PA Attorney General Office’s website at www.attorneygeneral.gov/public-protection-
division/natural-gas-royalty-lawsuit.

All court records, including the Settlement Agreements and other documents for the Lawsuit,
may be examined in person and copied at the United States Courthouse, Southern District of
Texas, Bankruptcy Division, 515 Rusk Street, Houston, TX 77002.

           Please do not telephone the Court, the Clerk of the Court, or Chesapeake.




                              QUESTIONS? CALL 1-800-____-_____
                                            -7-
    Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1413 of 1639
                                                                           1413



                                 Contact Information
                               MEC Action Class Counsel

Larry D. Moffett                             John W. (“Don”) Barrett
Law Office of Larry D. Moffett, PLLC         Barrett Law Group
P.O. Box 1418                                Post Office Drawer 927
Oxford, MS 38655                             Lexington, MS 39095
larry@larrymoffett.com
                                             Michelle R. O’Brien
Daniel E. Seltz                              The O’Brien Law Group LLC
Lieff, Cabraser, Heimann & Bernstein, LLP    2800 Stafford Ave., Box 3034
250 Hudson St., 8th Floor                    Scranton, PA 18505
New York, NY 10013
                                             Charles E. Schaffer
Charles J. LaDuca                            Levin, Fishbein, Sedran & Berman
Cuneo Gilbert & LaDuca, LLP                  510 Walnut Street, Suite 50
8120 Woodmont Avenue                         Philadelphia, PA 19106
Suite 810
Bethesda, MD 20814

Jonathan Cuneo
Cuneo Gilbert & LaDuca LLP
507 C Street NE
Washington, DC 20002

                             Non-MEC Action Class Counsel

Noah Axler                                   Joseph H. Meltzer
Axler Goldich, LLC                           Tyler S. Graden
1520 Locust St., Suite 301                   Kessler Topaz Meltzer & Check, LLP
Philadelphia, PA 19102                       280 King of Prussia Rd.
                                             Radnor, PA 19807
Michael D. Donovan
Donovan Litigation Group, LLC                Robert D. Schaub
1885 Swedesford Road                         Rosenn, Jenkings & Greenwald, LLP
Malvern, PA 19355                            15 South Franklin St.
mdonovan@donovanlitigationgroup.com          Wilkes-Barre, PA 18711

Robert E. McCann
McCann & Wall, LLC
Two Penn Center Plaza
1500 JFK Blvd., Ste. 1110
Philadelphia, PA 19102




                               QUESTIONS? CALL 1-800-____-_____
                                             -8-
    Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1414 of 1639
                                                                           1414



                                Settlement Administrator

Epiq Corporate Restructuring, LLC
777 Third Avenue, 12th Floor
New York NY 10017
Attn: Robert A. Hopen

                                Counsel for Chesapeake

Daniel T. Donovan                            Daniel T. Brier
Ragan Naresh                                 Myers, Brier & Kelly LLP
Kirkland & Ellis LLP                         425 Spruce Street, Suite 200
1301 Pennsylvania Avenue, N.W.               Scranton, PA 18503
Washington, D.C., 20004                      570-342-6100
Daniel.donovan@kirkland.com                  dbrier@mbklaw.com
ragan.naresh@kirkland.com



                            Pennsylvania Attorney General


Chief Deputy Attorney General
Antitrust Section
Pennsylvania Office of Attorney General
14th Floor, Strawberry Square
Harrisburg, PA 17120-1410
(717) 787-4530
landowners@attorneygeneral.gov




                               QUESTIONS? CALL 1-800-____-_____
                                             -9-
    Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1415 of 1639
                                                                           1415



                        IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

In re:                                        )
                                              )      Chapter 11
CHESAPEAKE ENERGY                             )
CORPORATION, et al.,                          )      Case No. 20-33233 (DRJ)
                                              )
                        Debtors.              )      Jointly Administered


       PENNSYLVANIA PROOF OF CLAIM LESSORS’ JOINT OBJECTION TO
    REORGANIZED DEBTORS’ MOTION FOR ENTRY OF ORDERS AUTHORIZING
    AND APPROVING CLASS SETTLEMENTS AND GRANTING RELATED RELIEF


         This joint objection to the Reorganized Debtors’ (“Debtors”) Motion for Entry of Orders

(I) Authorizing and Approving (A) the PA AG Settlement, (B) the MEC Settlement, and (C) the

Non-MEC Settlement,1 and (II) Granting Related Relief is filed by 58 Pennsylvania oil and gas

lessors listed on the attached Exhibit A, each of whom have filed proofs of claim in these

proceedings (“Pennsylvania Proof of Claim Lessors”), and who by and through their undersigned

counsel hereby state:

                                       INTRODUCTION

         1.     The Debtors seek approval of class settlements that would rewrite the leases of all

Pennsylvania lessors. The Debtors assert that the two class settlements will “reset” the

relationship with Pennsylvania lessors to both resolve existing proofs of claim in the bankruptcy

proceedings and obviate potential future royalty litigation for the Reorganized Debtors. Debtors’

Mot. ¶¶ 1, 2 (ECF No. 3175).




1
  This opposition brief will refer to the MEC Settlement and Non-MEC settlement collectively as
the “Class Settlements.”



                                                                                    PHDATA 7707723_2
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1416 of 1639
                                                                         1416



        2.      However, while the Debtors suggest that they want to resolve pending proofs of

claim, they have gone about it in an odd way by not talking to the creditors whose proofs of

claim they are trying to resolve.

        3.      Moreover, Debtors have failed to establish a record that would allow the Court to

determine that it has or should exercise jurisdiction over the proposed class settlements, which

largely concern themselves with post-Effective Date matters.            Rather, the critical inquiries

related to the fairness of the proposed settlements to the putative class members should be left to

the United States District Court for the Middle District of Pennsylvania, which has already been

involved in supervising matters relating to class settlement approval.

        4.      If the Court were to determine that it has or should exercise jurisdiction over the

proposed class settlements, it still cannot grant the relief that the Debtors seek in this motion (i.e.,

preliminarily approving the two settlements and directing notice to the classes). The record

before the Court is insufficient to allow the Court, which is required to act as a fiduciary to

absent class members, to determine whether the proposed Class Settlements are fair, reasonable,

and adequate for absent class members. Rule 23 of the Federal Rules of Civil Procedure, as

incorporated into Bankruptcy Rule 7023, requires a record with evidence sufficient for the Court

to make the factual findings necessary to support both class certification and a conclusion that

notice is justified.

        5.      Bankruptcy Rule 7023 incorporates Federal Rule of Civil Procedure 23 in its

entirety.    Debtors concede this and ask this Court to apply Rule 23 to approve the Class

Settlements. See Debtors’ Mot. ¶ 2.

        6.      Under Rule 23(e), a federal court asked to approve notice of a proposed

settlement to absent class members acts as a fiduciary, ensuring that a proposed class settlement




                                                   2                                    PHDATA 7707723_2
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1417 of 1639
                                                                         1417



is likely to receive final approval as fair, reasonable, and adequate to the absent class members.

See Turner v. Murphy Oil USA, Inc., 472 F. Supp. 2d 830, 842–43 (E.D. La. 2007) (observing

the reviewing court “must be exacting and thorough in analyzing whether the settlement is in the

best interests of class members”); Moore v. Halliburton Co., No. 3:02-CV-1152, 2004 U.S. Dist.

LEXIS 18187, at *15 (N.D. Tex. Sept. 9, 2004); Neff v. Via Metro. Transit Auth., 179 F.R.D.

185, 208 (W.D. Tex. 1998).

       7.      Further, under Rule 23(e), as amended December 1, 2018, a federal court may not

preliminarily approve a class settlement and direct notice to absent class members until it

carefully analyzes the record evidence offered by the proponent of the settlement and makes

findings that it is likely to be able to certify a class and grant final approval to the proposed

settlement in consideration of the factors spelled out in Rule 23(e)(2). See Fed. R. Civ. P.

23(e)(1)(A).

       8.      Under the current version of Rule 23, at this stage of the proceedings, the setting

class representatives must provide the Court with all evidence they expect to rely on for final

settlement approval. See Fed. R. Civ. P. 23(e)(1)(A); 2018 Advisory Committee Note to Rule

23(e)(1). But there is no such record. Indeed, there is no filing at all from the proposed class

representatives.

       9.      In an unusual turn of events, only the Debtors have moved to approve the class

settlements. Debtors offer no evidence whatsoever that would permit the Court to fulfill its

fiduciary duty to absent class members. The Debtors have created no evidentiary record to allow

the Court to conduct the careful analysis a federal court must undertake under Federal Rule of

Civil Procedure 23(e)(1), as amended December 1, 2018, before granting preliminary approval

and sending notice to absent class members. See, e.g., Hays v. Eaton Grp. Attorneys, LLC, Civ.




                                                3                                  PHDATA 7707723_2
    Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1418 of 1639
                                                                           1418



A. No. 17-88, 2019 U.S. Dist. LEXIS 17029, *9–10 (M.D. La. Feb. 4, 2019) (explaining that

“the decision to give notice of a proposed settlement . . . should be based on a solid record

supporting the conclusion that the proposed settlement will likely earn final approval after notice

and an opportunity to object”) (emphasis added).

       10.      There are other facial infirmities in Debtors’ motion.

             a. First, Debtors say that no class proof of claim was filed that covers the claims in

                the so-called MEC Settlement, but that is not true. On October 30, 2020, the

                Tyler/Mowry Lessors2 filed proofs of claim, attached here as Exhibit B. The

                Tyler/Mowry proofs of claim incorporate their class action complaint, which is

                attached to the proof of claim and reserves the right to have the proof of claim

                liquidated on a class basis.

             b. Second, while Debtors say that the proposed Class Settlements are in furtherance

                of resolving proofs of claim filed by Pennsylvania lessors, that does not appear to

                be the case.

                     i. The motion does not show that any of the named plaintiffs in the Class

                        Settlements, in contrast to the Pennsylvania Proof of Claim Lessors, filed

                        a proof of claim that the Class Settlements would resolve. Nor does the

                        motion, which does not seek an extension of the Bar Date for the named

                        plaintiffs, explain why the Bar Date is not an impediment to the named

                        plaintiffs proceeding either individually or on a class basis. See In re DDi

                        Corp., No. 03-15261, 304 B.R. 626, 629 (Bankr. S.D.N.Y. 2004)

                        (explaining unfairness resulting from late class claims, which arises in part
2
 A subset of the Pennsylvania Proof of Claim Lessors, the Tyler/Mowry Lessors are Tim &
Terri Tyler Family LP; Tyler 5 FLP; Timothy & Terri Tyler; and Rodney & Dianna Mowry.



                                                  4                                  PHDATA 7707723_2
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1419 of 1639
                                                                       1419



                because “the class member who purposely ignored the bar date without

                good reason would get a second chance, while the similarly situated

                individual creditor would not”); In re Jamesway Corp., No. 95 B 44821,

                1997 WL 327105, at *9–10 (Bankr. S.D.N.Y. June 12, 1997) (explaining

                that the bar date order is akin to a statute of limitations that must be

                “strictly observed,” that late claims may be filed on a showing of

                excusable neglect, and that allowing a post-bar date request for class

                certification of a class that received notice of the bar date would

                improperly extend the bar date for absent class members who did not file

                proofs of claims before the bar date, possibly violating the due process

                rights of those who did).

            ii. The Class Settlements would divide cash payments for pre-effective date

                claims not just with class members who did file proofs of claims but with

                others who did not, making no distinction about how the funds would be

                allocated between those groups. See Plan of Allocation & Distribution

                ¶¶ 1, 3 (ECF Nos. 3175-3, 3175-4). The motion does not explain why it is

                beneficial or fair to putative class members who filed proofs of claim to

                share the total of $6.25 million made available through the two Class

                Settlements equally with others who chose not to file proofs of claims by

                the Bar Date.

            iii. The Class Settlements concern themselves with post-effective date claims

                that will arise in the future, unrelated to the bankruptcy proceedings, and

                do so by requiring class members to amend their bargained leases,




                                            5                               PHDATA 7707723_2
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1420 of 1639
                                                                       1420



                providing a financial benefit to the post-Effective Date Reorganized

                Debtors without any evidence provided to the Court showing that

                amending all Pennsylvania leases would financially benefit all potential

                class members regardless of lease form in general and the Pennsylvania

                Proof of Claim Lessors in particular. The motion does not explain why it

                is fair to potential class members who have filed proofs of claim to have to

                agree to amend their leases after the Effective Date in order to obtain a

                share of the $6.25 million in total that the Debtors apparently have

                available to resolve proofs of claim. It appears from Debtors’ motion, in

                fact, that the principal motivation for the settlement is to obtain post-

                Effective Date lease amendments for the sole benefit of the post-Effective

                Date Reorganized Debtors. See Debtors’ Mot. ¶ 38.

      c. Third, the Debtors have also not shown, and have offered no evidence, that the

         Court may certify settlement classes under Rule 23(a) and (b), as required by Rule

         23(e)(1)(A)(ii). See Hayes, 2019 U.S. Dist. LEXIS 17029, at *10–11.

             i. For example, there is no analysis of lease language to demonstrate that the

                named plaintiffs in the Class Settlements have leases and claims typical of

                those of absent class members. In addition, there is no analysis of lease

                language or financial projections that show whether the going-forward

                relief in the Class Settlements is a benefit to the class members or how the

                benefits vary depending on specific lease language.

            ii. There is no analysis of lease language, description of the prominent

                categories of leases, or explanation to show how every Pennsylvania




                                         6                                   PHDATA 7707723_2
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1421 of 1639
                                                                       1421



                 lessor’s lease falls within the MEC or Non-MEC class. Nor is there any

                 explanation whether there are additional variations of language and, if so,

                 whether a particular lease variation is considered to fall in the MEC or

                 non-MEC category.

            iii. For example, there are Pennsylvania lessors apparently included in the

                 MEC class who have lease language that requires the lessee to pay

                 royalties based on the downstream price a marketing affiliate receives for

                 the gas without deductions for post-production costs when gas is sold in

                 the ordinary course of business. The motion wholly fails to explain how

                 the MEC Settlement, by amending their leases to change the valuation

                 point for the royalties to the wellhead instead of the point of sale to

                 unaffiliated third parties, would benefit these lessors.

            iv. There is no evidentiary explanation why the named plaintiffs did not

                 pursue class (or individual) proofs of claims. If that omission was the

                 result of an agreement with the Debtors, Rule 23 requires the agreement to

                 be disclosed before notice may issue to the class. See Fed. R. Civ. P.

                 23(e)(1)(B) (i) & (e)(2)(C)(4).

      d. Fourth, there is no evidence that would allow the Court to determine what the best

         possible recovery for the settlement classes would be over the long term range of

         the post-Effective Date lease amendments, which precludes any finding that the

         amounts of the Class Settlements—including the values of going-forward relief

         that rewrites all absent class members’ leases—fall within a range of




                                            7                                PHDATA 7707723_2
    Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1422 of 1639
                                                                           1422



               reasonableness and represent a fair, reasonable, and adequate compromise of class

               claims to allow the Court to preliminarily approve the settlements.

       11.     For all these reasons, the Court should exercise its discretion under Bankruptcy

Rule 9014(c), decline to direct Bankruptcy Rule 7023 and Rule 23 to apply to the Class

Settlements, and allow the Middle District of Pennsylvania to complete the class settlement

proceedings pending there, which a federal district judge is actively overseeing. See In re TWL

Corp., 712 F.3d 886, 892–93 (5th Cir. 2013) (explaining bankruptcy courts’ discretion to apply

Rule 7023 and Rule 23 in contested proceedings). In the alternative, if the Court decides to

apply Bankruptcy Rule 7023 and Rule 23, then the Court should deny Debtors’ motion, which

does not satisfy the standards for preliminary approval and notice to the class, let alone the class

certification requirements of Rule 23(e). Either of these options would allow for an opportunity

for Debtors, in this proceeding, to work to resolve the proofs of claim that have in fact been filed

in this proceeding by the Pennsylvania Proof of Claim Lessors, and to address post-Effective

date matters in another forum.


                                  FACTUAL BACKGROUND

       12.      On June 28, 2020 (the “Petition Date”), the Debtors, including Chesapeake

Appalachia, L.L.C. (“Chesapeake”) filed petitions for relief under Chapter 11 of the United

States Bankruptcy Code, 11 U.S.C. § 101, et seq. (the “Bankruptcy Code”).


The Pennsylvania Proof of Claim Lessors

       13.     The 58 Pennsylvania Proof of Claim Lessors are parties to oil and gas leases with

Chesapeake for parcels of real property located in Pennsylvania (the “Leased Premises”).3

3
 Copies of the Pennsylvania Lessors’ Leases are attached to the Pennsylvania Lessors’ Proofs of
Claim.


                                                 8                                   PHDATA 7707723_2
    Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1423 of 1639
                                                                           1423



         14.    Chesapeake breached the Leases through: (a) its underpayment of royalties, which

were underpaid or not paid as a result of Chesapeake’s unauthorized deduction of post-

production costs; and (b) for certain lessors, its failure to provide production data and otherwise

comply with its obligations under the audit clauses in certain leases.

         15.    Of the Pennsylvania Proof of Claim Lessors, at least 26 hold group-negotiated

leases in a form known as the Wyoming County Landowners Group Lease (“WCLG Lease”).

         16.    The WCLG Leases provide that the lessee must pay royalties as a percentage of

the gross proceeds (as broadly defined in the Leases) received by a marketing affiliate without

deductions for post-production services incurred getting the gas to the downstream point of sale

to unaffiliated third parties. See Ex. C, ¶ 4(b)(ii).4 Because Debtors describe the two class

settlements as covering all Pennsylvania leases, these WCLG Leases are apparently included in

the MEC Settlement Class.

         17.    Each of the Pennsylvania Proof of Claim Lessors filed a proof of claim. Those

proofs of claim included addenda particularly describing each claim.

         18.    Pennsylvania Proof of Claim Lessors with WCLG Leases stated that Chesapeake

breached their leases by, among other things, failing to pay Claimants’ royalties calculated upon

the entire gross proceeds of gas, computed at the point of sale, as required under the Leases. See,

e.g., Addendum to Placewood Resource Management, LLC, et al., Proof of Claim ¶ 8.

         19.    Pennsylvania Proof of Claim Lessors with WCLG Leases also stated that

Chesapeake breached their leases by refusing to provide them with production data and by

failing to establish production unit sizes required by the terms of the WCLG Leases. See, e.g.,

id. ¶ 10.


4
    A copy of a WCLG Lease is attached as Exhibit C.



                                                 9                                  PHDATA 7707723_2
    Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1424 of 1639
                                                                           1424



         20.   Several Pennsylvania Proof of Claim Lessors, including the Places, Ruarks,

Wilsons, and Steeles, were actively engaged in AAA arbitration actions against Chesapeake

concerning Chesapeake’s breaches of their leases at the time the bankruptcy was filed. See, e.g.,

id. ¶ 15.

         21.   Pennsylvania Proof of Claim Lessors with WCLG Leases also explained that they

are secured creditors because their interests are secured by liens arising from the WCLG Leases’

terms. See id. ¶ 19.

         22.   Pennsylvania Proof of Claim Lessors with WCLG Leases further explained that

they are entitled to seek termination of the leases as a result of Chesapeake’s breaches of their

leases. See id. ¶ 23.

         23.   On March 15, 2016, Tyler/Mowry Lessors filed a class action complaint in the

U.S. District Court for the Middle District of Pennsylvania, Case No. 3:16-cv-00456-MEM,

against Chesapeake asserting claims for breach of contract, tortious interference with contract,

unjust enrichment, and breach of various covenants implied in oil and gas leases, seeking

injunctive and declaratory relief and an accounting (the “Pennsylvania Action”). A copy of the

class complaint in the Pennsylvania Action is attached to the Tyler/Mowry Lessors’ Proofs of

Claim.

         24.   In these bankruptcy proceedings, the Tyler/Mowry Lessors timely filed

conditional class proofs of claim5 on behalf of themselves and all those similarly situated. Those

are Claim Nos. 12945 and 12964 (the “Class Proofs of Claim”).




5
 This district recognizes that creditors may file conditional class proofs of claim. See In re
Vanguard Natural Resources, LLC, No. 17-30560, 2017 Bankr. LEXIS 3978, *10–11 (S.D. Tex.
Bankr. Nov. 20, 2017).



                                               10                                  PHDATA 7707723_2
    Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1425 of 1639
                                                                           1425



       25.     The Tyler/Mowry Lessors discussed the Pennsylvania Action and their Class

Proofs of Claim in their Objection to Debtors’ Plan of Reorganization. See Tyler/Mowry

Lessors’ Objection ¶¶ 8, 9.6

       26.     The Tyler/Mowry Lessors’ Pennsylvania Action alleges Chesapeake breached

their leases and implied covenants by impermissibly taking deductions for post-production costs

and wasting their gas by selling it at prices that yielded no royalty payments following

Chesapeake’s improper deductions of post-production costs.        Pennsylvania Action Compl.

¶¶ 48–80, 93–106. They further alleged claims for tortious interference with contract and unjust

enrichment.   Id. ¶¶ 107–15.    They sought declaratory and injunctive relief, including an

accounting. Id. ¶¶ 121–40.

       27.     Judge Mannion stayed the Pennsylvania Action while Chesapeake pursued

settlement mediation with the parties and the Office of the Pennsylvania Attorney General—

including the Tylers and Mowrys—in the Demchak litigation (M.D. Pa. Civ. A. No. 3:13-cv-

02289). See Tyler ECF No. 43. The case had returned to the active docket after the Tylers and

Mowrys reported that mediation had been unsuccessful, and Chesapeake’s motion to dismiss was

fully briefed and pending at the time Debtors instituted these bankruptcy proceedings, which

subjected the Pennsylvania Action to the automatic stay. Tyler ECF No. 51.

       28.     In Demchak in 2015, the Middle District of Pennsylvania granted preliminary

approval of a proposed settlement between Chesapeake and Pennsylvania lessors with MEC

clauses in their leases. See Demchak ECF No. 91.

       29.     Judge Mannion has been supervising the class cases before him, requesting

quarterly monthly status reports in the Demchak litigation, ordering the parties to mediation of
6
 The Other Pennsylvania Proof of Claim Lessors who are parties to this objection also filed
objections to plain confirmation or joined other objections that were filed.



                                              11                                 PHDATA 7707723_2
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1426 of 1639
                                                                         1426



issues raised by the class settlement proposed there, and requiring reports about mediation

progress. See Demchak ECF Nos. 145, 161, 173, & 193.


The Proposed Class Settlements

        30.     On March 5, 2021, Debtors filed their motion seeking, inter alia, entry of orders

preliminarily approving the Class Settlements and directing notice of the Class Settlements to

absent class members. See Debtors’ Mot. ¶ 5.

        31.     The Debtors also seek this Court’s approval of a settlement with the Pennsylvania

Attorney General’s Office under Bankruptcy Rule 9019. Id. ¶ 4.

        32.     As explained in Kilmer v. Elexco Land Services, 990 A.2d 1147 (Pa. 2010), oil

and gas leases have different methods of determining royalties. One prominent method measures

the royalties based on the price of gas at the wellhead via a method called the “netback” method.

Because there is no market for gas at the wellhead, the netback method estimates a wellhead

price by deducting the cost of post-production services incurred in moving the gas to a

downstream point of sale. Id. at 424, 428–29. Another prominent method determines royalties

as a percentage of actual proceeds received at the downstream point of valuation (i.e., the point

of sale to unaffiliated third parties). Id. at 419.

        33.     The chief features of the MEC Settlement include a payment by Chesapeake of $5

million and rewriting class members’ leases to make them all “at the wellhead” leases that

require royalties be calculated and paid based on an “in-basin index price” or a netback price

(i.e., a downstream price with deductions taken for post-production services), irrespective of

whether the lease specifies another point of royalty valuation. Id. ¶ 26; MEC Settlement ¶¶ 6,

6.1, & 6.2.




                                                      12                          PHDATA 7707723_2
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1427 of 1639
                                                                            1427



         34.   The MEC Settlement will rewrite all class members’ leases in perpetuity

irrespective of whether the class members affirmatively choose that result: “To the extent no

Election by a Settlement Class Member is received by the Settlement Administrator within five

(5) business days after the election Period, such Settlement Class Member will be deemed to

have elected Option (1) (i.e., the high of the In-Basin Index Price Without Post-Production

Deductions and the Netback Price).” MEC Settlement ¶ 6.3.

         35.   This so-called “Election” will “be deemed to be an amendment of [the class

member’s] Pennsylvania Lease, shall run with the land, shall be binding on the Settlement Class

Member and Chesapeake and their respective successors and assigns.” Id. ¶ 6.5.

         36.    The Non-MEC Settlement includes a $1.25 million payment and similarly

results in material lease amendments on all class members in perpetuity that value royalties at the

wellhead irrespective of whether the class members’ leases specify a different point of royalty

valuation. See Non-MEC Settlement ¶¶ 1.43, 6, 6.1, 6.2, 6.3, & 6.5 (ECF No. 3175-4).

         37.   The Class Settlements make no distinction among class members who filed proofs

of claim and those who did not. All class members are paid from the same fund paid by

Chesapeake for each Class Settlement (i.e., from the $5 million payment in the MEC Settlement

and the $1.25 million payment in the Non-MEC Settlement).


                                         ARGUMENT

I.       THE BANKRUPTCY COURT DOES NOT HAVE SUBJECT MATTER
         JURISDICTION OVER THE ASPECTS OF THE CLASS SETTLEMENTS THAT
         INVOLVE THE MODIFICATION OF PENNSYLVANIA LEASES IN
         PERPETUITY FOR THE BENEFIT OF THE REORGANIZED DEBTORS.

         38.   No court may consider approval of a class action settlement unless it has subject

matter jurisdiction. See Zink v. First Niagara Bank, N.A., 155 F. Supp. 3d 297, 305 (W.D.N.Y.

2016).


                                                13                                  PHDATA 7707723_2
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1428 of 1639
                                                                         1428



       39.    Under the Debtors’ Fifth Amended Joint Chapter 11 Plan of Reorganization (the

“Plan”) [Docket No. 2833], all of the Pennsylvania Leases rode through the bankruptcy

unimpaired. The Plan provides that “all Royalty and Working Interests shall remain in full force

and effect in accordance with the terms of the granting instruments or other governing

documents applicable to such Royalty and Working Interests.” Plan, Article IV. T.

       40.    The Plan further states that “Royalty and Working Interests shall not be modified,

affected or impaired in any manner by any provision of the Plan or the Confirmation Order,

including but not limited to any injunctive or stay relief, and the legal and equitable rights,

interests, defenses, and obligations of holders of Royalty and Working Interests, with respect to

such Royalty and Working Interests, shall not be modified, affected or impaired in any manner

by the provisions of the Plan or the Confirmation Order.” Id.

       41.    The Plan became effective on February 9, 2021 (the “Effective Date”).

       42.    The motion seeks approval of the rewriting of the Pennsylvania leases, which

became passed through to the Reorganized Debtors as of the Effective Date.

       43.    Upon confirmation of a reorganization plan, “the debtor in possession

disappears.” In re Rickel & Assocs., Inc., 272 B.R. 74, 98 (Bankr. S.D.N.Y. 2002).

“Confirmation of the plan marks the beginning of the reorganized debtor's new financial life.” In

re Good, 428 B.R. 235, 243 (Bankr. E.D. Tex. 2010), quoting In re Valley Park Group, Inc., 96

B.R. 16, 24 (Bankr. N.D.N.Y. 1989). Once a bankruptcy plan is effectuated, all indications from

the Code would incline us to treat the reorganized entity as we would any other company.” In re

T&A Holdings, LLC, 2016 WL 7105903, at *7 (Bankr. N.D. Ill. Nov. 2, 2016) (quoting In re

Jartran, Inc., 886 F.2d 859, 870 (7th Cir. 1989)). “[B]ankruptcy courts have always viewed




                                               14                                 PHDATA 7707723_2
    Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1429 of 1639
                                                                           1429



confirmation as an event that severs the once close ties between the former debtor and the

bankruptcy court.” In re In Play Membership Golf, Inc., 576 B.R. 15, 21 (Bankr. D. Colo. 2017).

       44.     Consequently, “[v]irtually all courts that have considered the question have

concluded that, after confirmation, the ‘related to’ jurisdiction of the bankruptcy courts shrinks.”

In re In Play Membership Golf, Inc., 576 B.R. at 21.

       45.     “After a debtor’s reorganization plan has been confirmed, the debtor’s estate, and

thus bankruptcy jurisdiction, ceases to exist, other than for matters pertaining to the

implementation or execution of the plan.” In re Craig’s Stores of Texas, Inc., 266 F.3d 388, 390

(5th Cir. 2001).7

       46.     The planned, forced post-Effective Date amendments to the Pennsylvania leases

will not have any effect on the Debtors’ bankruptcy estates,8 but rather will benefit the post-

confirmation Reorganized Debtors only.

       47.     The proposed settlements are touted as providing significant benefits to the

Debtors in their post-Effective Date operations in Pennsylvania:


               •       The proposed settlements “constitute a fundamental reset of Chesapeake’s
                       relationship with its Pennsylvania lessors.”

               •       The proposed settlements will preserve “the Reorganized Debtors’
                       interests in the Pennsylvania leases.”


7
        The Fifth Circuit standard for post-confirmation jurisdiction pursuant to Craig’s Stores is
narrower than the ‘close nexus” test adopted by many other courts. In re In Play Membership
Golf, Inc., 576 B.R. at 22.
8
        Any argument by the Reorganized Debtors that their post-Effective Date success will
benefit the unsecured creditors by potentially increasing the value of the stock to be distributed
under the Plan is irrelevant. See In re Gen. Media, Inc., 335 B.R. 66, 75 (Bankr. S.D.N.Y. 2005)
(“Plans frequently call for future payments to creditors funded through future operations. A
bankruptcy court cannot hear a post-confirmation dispute simply because it might conceivably
increase the recovery to creditors, because the rationale could ‘endlessly stretch a bankruptcy
court's jurisdiction.’”) (citation omitted).


                                                15                                  PHDATA 7707723_2
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1430 of 1639
                                                                         1430



               •       The PA AG Settlement “preserves the Reorganized Debtors’ ability to
                       conduct business in the Commonwealth.”

               •       The proposed settlements will allegedly eliminate “future potential class
                       litigation related to the calculation of royalties” which would “distract
                       from the Reorganized Debtors’ business operations.”

               •       The settlements proposed settlements “will reduce the likelihood and
                       attendant cost and distraction of future royalty related litigation.”

Debtors’ Mot. ¶¶ 13, 17, & 18.

       48.     However, the Bankruptcy Court has no jurisdiction over matters involving the

Reorganized Debtors’ post-Effective Date operations and business relationships. See In re Park

Ave. Radiologists, P.C., 450 B.R. 461, 470 (Bankr. S.D.N.Y. 2011) (“Bankruptcy court

jurisdiction does not exist to protect a debtor following reorganization.”).

       49.     Since the Pennsylvania lease modifications do not pertain to the execution of

implementation of the Plan, the Bankruptcy Court does not have jurisdiction to consider approval

of the proposed permanent modification of the Pennsylvania leases.


II.    THE BANKRUPTCY COURT SHOULD ABSTAIN AND DEFER TO THE U.S.
       DISTRICT COURT FOR THE MIDDLE DISTRICT OF PENNSYLVANIA TO
       DETERMINE WHETHER THE SETTLEMENTS SHOULD BE APPROVED.

       50.     Although this Court may determine whether the proposed settlements pass muster

under Bankruptcy Rule 9019, it should abstain from considering whether the settlements should

be approved under Federal Rule of Civil Procedure 23 and allow the U.S. District Court for the

Middle District of Pennsylvania, where all of the class actions involving Pennsylvania oil and

gas leases (including the Tyler/Mowry Lessors’ class action) have been pending before the

Honorable Malachy E. Mannion for years, make that determination.

       51.     “Under the ‘permissive abstention’ doctrine, 28 U.S.C. § 1334(c)(1), courts have

broad discretion to abstain from hearing state law claims whenever appropriate ‘in the interest of



                                                 16                                PHDATA 7707723_2
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1431 of 1639
                                                                         1431



justice, or in the interest of comity with State courts or respect for State law.’” Gober v.

Terra+Corp. (In re Gober), 100 F.3d 1195, 1206 (5th Cir. 1996) (quoting 28 U.S.C.

§ 1334(c)(1)).

       52.       “The proposition that bankruptcy courts have broad discretion on whether to

abstain comes from both the plain language of the statute and the Fifth Circuit’s decision in

Wood v. Wood.” In re Houston Reg’l Sports Network, 514 B.R. 211, 218 (Bankr. S.D. Tex.

2014) (citing Wood v. Wood (In re Wood), 825 F.2d 90, 93 (5th Cir. 1987)).

       53.       In deciding whether to permissively abstain from hearing a proceeding,

bankruptcy courts weigh the following factors:


       (1)       Effect or lack thereof on the efficient administration of the estate if the court

recommends abstention;

       (2)       Extent to which state law issues predominate over bankruptcy issues;

       (3)       Difficult or unsettled nature of applicable law;

       (4)       Presence of related proceeding commenced in state court or other non-bankruptcy

proceeding;

       (5)       Jurisdictional basis, if any, other than § 1334;

       (6)       Degree of relatedness or remoteness of proceeding to main bankruptcy case;

       (7)       The substance rather than the form of an asserted core proceeding;

       (8)       The feasibility of severing state law claims from core bankruptcy matters to allow

judgment to be entered in state court with enforcement left to the bankruptcy court;

       (9)       The burden of the bankruptcy court’s docket;

       (10)      The likelihood that the commencement of the proceeding in bankruptcy court

involves forum shopping by one of the parties;



                                                   17                                 PHDATA 7707723_2
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1432 of 1639
                                                                         1432



          (11)   The existence of a right to a jury trial;

          (12)   The presence in the proceeding of non-debtor parties;

          (13)   Comity; and

          (14)   Possibility of prejudice to other parties in the action.

In re Houston Reg’l Sports Network, L.P., 514 B.R. at 215.

          54.    “The evaluation of these factors is not merely a mathematical exercise.” DHP

Holdings II Corp. v. Peter Skop Indus., Inc. (In re DHP Holdings II Corp.), 435 B.R. 220, 224

(Bankr. D. Del. 2010) (internal quotation omitted). Not every factor “must be satisfied nor all

factors weigh in favor of abstention for its exercise to be appropriate,” and “the importance of

various factors will vary with the circumstances of each case, and no one factor is

determinative.” In re Nagel, 2020 WL 1182664 at *5 (Bankr. E.D. Ky. 2020) (quoting PRN

Pharm. Servs. v. Brownsburg Healthcare LLC (In re Kentuckiana Healthcare, LLC), 2014 WL

906121, at *5 (W.D. Ky. 2014)).

          55.    Here the factors overwhelmingly weigh in favor of this Court exercising its broad

discretion to abstain from hearing the non-bankruptcy issues relevant to this matter. See In re

Motors Liquidation Co., 2013 WL 620281, at *10–12 (Bankr. S.D.N.Y. 2013) (abstaining from

hearing class action claims after determining bankruptcy issues involving interpretation of sale

order).

          56.    First and foremost, the determination of the fairness of the proposed class action

settlements involves complicated questions of non-bankruptcy Pennsylvania law, with which the

federal court in Pennsylvania will be far more familiar. In re TitleMax Holdings, LLC, 447 B.R.

896, 903 (Bankr. S.D. Ga. 2010) (abstaining “because the fairness of the terms of a class




                                                    18                              PHDATA 7707723_2
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1433 of 1639
                                                                         1433



settlement depend solely upon application of South Carolina law, it is self-evident that South

Carolina courts should have a primary role in concluding this matter”).

         57.    The complexities of the state law issues present here further weigh in favor of

abstention. See In re Cashco, Inc., 2019 WL 4307544, at *8 (Bankr. D.N.M. 2019) (abstaining

where “the Class Action Adversary Proceeding is complex”); In re DHP Holdings II Corp., 435

B.R. at 227 (noting that presence of unsettled or difficult state law issues favors abstention). As

the Pennsylvania Supreme Court has observed, Pennsylvania oil and gas leases are “far from the

simplest of property concepts.” T.W. Phillips Gas & Oil Co. v. Jedlicka, 42 A.3d 261, 267 (Pa.

2012).

         58.    Abstention is also mandated because there is, at a minimum, a substantial

question as to whether this Court has jurisdiction of the most significant aspect of the settlement,

the substantial modification of the Pennsylvania leases, that under the plan passed through the

bankruptcy. See In re Motors Liquidation Co., 2013 WL 620281, at *11 (“The fact that in all

probability, any subject matter jurisdiction to decide the underlying [class action] claims would

exist only in the Michigan district court tilts in favor of abstaining in favor of that court”).

         59.    Additionally, the Debtors will not suffer any harm by litigating the Rule 23 issues

in federal court in Pennsylvania because the dispute can be resolved economically, conveniently,

and quickly in the pending actions, where the underlying class action cases have been litigated

for years and Judge Mannion already possesses substantial knowledge and information regarding

the salient issues. At the same time, the Debtors will be free to pursue resolution of the proofs of

claim that have been filed in this proceedings with the funds apparently available.

         60.    For these reasons, the Bankruptcy Court should abstain from hearing the Rule 23

settlement approval issues.




                                                  19                                    PHDATA 7707723_2
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1434 of 1639
                                                                         1434



III.   IF THE COURT EXERCISES ITS DISCRETION TO DIRECT APPLICATION
       OF BANKRUPTCY RULE 7023, IT SHOULD DENY DEBTORS’ MOTION FOR
       FAILURE TO SATISFY THE CLASS CERTIFICATION REQUIREMENTS OF
       FEDERAL RULE OF CIVIL PROCEDURE 23(A) AND (B) AND FOR FAILURE
       TO SHOW THAT THE CLASS SETTLEMENTS ARE LIKELY TO RECEIVE
       FINAL APPROVAL UNDER RULE 23(E), AS AMENDED DECEMBER 1, 2018,
       AS FAIR, REASONABLE, AND ADEQUATE TO THE CLASS MEMBERS.

       61.       The Debtors have offered no record evidence in support of their motion for

preliminary approval of the Class Settlements.        Thus, the Court cannot make the findings

required to support a decision concerning class certification or perform its fiduciary duty to

ensure the Class Settlements are fair, reasonable, and adequate with regard to the interests of

absent class members.

       62.       “If the court decides to apply Rule 23, it then must determine whether the Rule’s

requirements for class certification have been satisfied.” In re TWL Corp., 712 F.3d at 892–93.

A court must also conclude that a class may likely be certified under Rule 23(a) and (b) before it

may grant preliminary approval and direct notice of a proposed settlement to absent class

members. Fed. R. Civ. P. 23(e)(1)(B)(ii); see also Hays, 2019 U.S. Dist. LEXIS 17029, at *9–11

(observing that the “court must determine whether it can certify the [proposed settlement] class

under the Standards of Rule 23(a) and (b) for purposes of judgment based on the propos[ed

settlement]”).

       63.       This class certification inquiry requires the court to analyze the record evidence

submitted by the settlement proponent and to make specific factual and legal findings. See In re

TWL Corp., 712 F.3d at 893. The proponent of the settlement has the burden to show through

evidence that class certification is likely proper before the court may order notice to the class.

Hays, 2019 U.S. Dist. LEXIS 17029, at *10–11. Thus, under amended Rule 23(e), the proponent

of the class settlement must submit substantial record evidence in support of its request for




                                                 20                                 PHDATA 7707723_2
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1435 of 1639
                                                                         1435



preliminary approval of the settlement, including evidence showing class certification is likely

possible. Id. at *9–10.

          64.   The 2018 Advisory Committee Note to Rule 23(e)(1) explains that the record

supporting a request for preliminary approval and order directing notice to the class must be

robust:


                The decision to give notice of a proposed settlement to the class is
                an important event. It should be based on a solid record
                supporting the conclusion that the proposed settlement will likely
                earn final approval after notice and an opportunity to object. The
                parties must provide the court with information sufficient to
                determine whether notice should be sent. At the time they seek
                notice to the class, the proponents of the settlement should
                ordinarily provide the court with all available materials they
                intend to submit to support approval under Rule 23(e)(2) and that
                they intend to make available to class members.

                                                 ...

                [I]f a class has not [yet] been certified, the parties must ensure that
                the court has a basis for concluding that it likely will be able, after
                the final hearing, to certify the class. Although the standards for
                certification differ for settlement and litigation purposes, the court
                cannot make the decision regarding the prospects for certification
                without a suitable basis in the record.

                                                 ...

                The court should not direct notice to the class until the parties’
                submissions show it is likely that the court will be able to approve
                the proposal after notice to the class and a final approval hearing.

2018 Advisory Committee Note to Rule 23(e)(1) (emphasis added).

          65.   The Debtors ignore these requirements of Rule 23 as amended in 2018 in their

motion that requests the Court enter orders preliminarily approving the Settlement and directing

notice to absent class members. Their failure to create any record in support of their motion or




                                                  21                                      PHDATA 7707723_2
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1436 of 1639
                                                                         1436



perform any class certification analysis fatal to their request to preliminarily approve the Class

Settlements and direct notice to the proposed class.

        66.       Whether a settlement is fair to a debtor is not the same as whether a settlement is

fair to creditors or absent class members. There are different inquiries under Bankruptcy Rule

9019(a) and Rule 23(e), which requires that a court consider specific factors designed to guide its

analysis that the settlement is likely to be approved as fair, reasonable, and adequate to the

absent class members before it directs notice of the settlement to the class. See Fed. R. Civ. P.

23(e)(1)(B)(i).

        67.       It is usually a representative plaintiff that shows the court that the requirements of

Rule 23 are satisfied with regard to a proposed class settlement. See, e.g., Moore v. Halliburton

Co., No. 3:02-CV-1152, 2004 U.S. Dist. LEXIS 18187, *15–17 (N.D. Tex. Sept. 9, 2004)

(noting that the burden to show that a class settlement satisfies Rule 23’s requirements for

approval “should be placed on the parties, especially the class representative . . . ,” who “owes a

fiduciary duty to the class.”).

        68.       Here, however, there is no class representative plaintiff moving the court for

preliminary approval and notice. Only the Debtors—defendants in the cases underlying the

Class Settlements—are here.

        69.       Unsurprisingly, the Debtors focus primarily on whether the AG Settlement and

Class Settlements may be approved under Bankruptcy Rule 9019(a) as fair to Debtors. See, e.g.,

Debtors’ Mot. ¶¶ 29–40.

        70.       But the Debtors’ interest in having a settlement that is fair to them is not aligned

with the inquiry that Rule 23(e) demands, and the significant divide between the two inquiries

becomes apparent in the Debtors’ motion.




                                                   22                                   PHDATA 7707723_2
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1437 of 1639
                                                                         1437



       71.     For example, the Debtors say they have an interest in resolving the proofs of

claim that Pennsylvania lessors have filed. Debtors’ Mot. ¶ 44. However, the Debtors have not

addressed the issues with the lessors/creditors who actually filed proofs of claim, including the

Tyler/Mowry class claims. Instead, they negotiated the Class Settlements with lessors who

apparently did not file proofs of claim, let alone class proofs of claim, to reach agreements that

divert funds from the estate to pay class members who did not file claims.

       72.     Because there is no class proof of claim or individual proofs of claim identified

for the purported class representatives in the Class Settlements, there is no basis for any

determination of whether these proposed class representatives have any claims that they asserted

in these proceedings.     There is also no basis to determine whether the proposed class

representatives identified and pursued the issues that the Pennsylvania Proof of Claim Lessors

have raised, including issues relating to secured claims under certain leases, issues relating to

lease termination, and issues relating to the characterization of mineral leases under

Pennsylvania law. See, supra, ¶¶ 14–26; see also T.W. Phillips Gas & Oil Co., 42 A.3d at 267

(explaining that Pennsylvania gas leases are “far from the simplest of property concepts”).

       73.     Moreover, there is no request to extend the Bar Date or explain why the Bar Date

should not apply to the Class Settlements. This raises concerns that the Class Settlements will

unfairly allow class members who did not file proofs of claim to receive better treatment than

they should at the expense of class members who did timely file proofs of claim.

       74.     Nothing in Debtors’ motion explains how payment to absent class members that

did not file proofs of claim benefits Debtors’ creditors who did, let alone how it is fair to those

who filed proofs of claim to have their claims liquidated on the exact same terms as those who




                                                23                                  PHDATA 7707723_2
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1438 of 1639
                                                                         1438



did not. This creates significant issues that show the Court should not grant preliminary approval

or direct notice to the classes defined in the Class Settlements.


       A.      Debtors Fail to Analyze and Explain Critical Issues or Offer Evidence That
               Would Allow the Court to Conduct the Required Rule 23(e)(1) Inquiry to
               Determine Whether the Proposed Classes Are Likely to Be Certified for
               Purposes of Judgment.

       75.     Ultimately, the Debtors devote a total of only six paragraphs of their motion to

their argument that the Class Settlements satisfy Rule 23’s requirements. See id. ¶¶ 41–46.

       76.     The Debtors’ six paragraphs addressing Rule 23’s requirements say nothing at all

about whether the proposed settlement classes satisfy the certification requirements of Rule 23(a)

and (b). See id. But a court must be able to determine it will likely be able to certify the

proposed classes for purposes of judgment before directing notice to the classes.             Rule

23(e)(1)(B)(ii).

       77.     For that reason alone, the Court must deny the Debtors’ motion: There is no

record to support a conclusion that the proposed classes likely can be certified for purposes of

final judgment. See In re TWL Corp., 712 F.3d at 893–94; In re Corrugated Container Antitrust

Litig., 643 F.2d 195, 212 (5th Cir. 1981); In re Vanguard Natural Resources, LLC, 2017 Bankr.

3978, at *9 (“[I]f the Court decides to apply Rule 23 to the proceeding, it must determine

whether that Rule’s requirements for class certification are satisfied.”); see also Hays, 2019 U.S.

Dist. LEXIS 17029, at *9–11 (noting the certification requirements of Rule 23 apply to

certification for settlement purposes and, under the 2018 amendments, must be evaluated before

a court may grant preliminary approval and direct notice to the class); cf. 2018 Advisory

Committee Note to Rule 23(e)(1).

       78.     The evidence and analysis supporting a motion for preliminary approval and

notice must accompany the motion; it cannot be offered later. Richard v. Hoechst Celanese


                                                 24                                 PHDATA 7707723_2
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1439 of 1639
                                                                         1439



Chem. Grp., 208 F.R.D. 575, 583–84 (E.D. Tex. 2002) (ruling it is not sufficient for a plaintiff

seeking preliminary class certification in connection with a class settlement to offer to provide

the court later with the information the court needs to conduct the required “substantial inquiry

relating to certification”).

        79.     Further, absent class members have a right to have the necessary information

available to them to make an informed decision whether to remain in a class, object, or opt out.

See 2018 Advisory Committee Note to Rule 23(e)(1). That cannot happen if the information

does not appear until a final fairness hearing. Accordingly, the Debtors’ failure to provide that

information with their motion is fatal.

        80.     The Debtors’ six paragraphs about Rule 23 say nothing at all about whether the

proposed settlement classes satisfy the certification requirements of Rule 23(a) and (b). See id.

For that reason alone, the Court must deny the Debtors’ motion because there is no basis in the

record to make the required pre-notice conclusion that the proposed classes likely can be

certified for purposes of final judgment. See In re TWL Corp., 712 F.3d at 893–94; In re

Corrugated Container Antitrust Litig., 643 F.2d 195, 212 (5th Cir. 1981); Richard v. Hoechst

Celanese Chem. Grp., 208 F.R.D. 575, 583–84 (E.D. Tex. 2002) (ruling it is not sufficient for a

plaintiff seeking preliminary class certification in connection with a class settlement to offer to

provide the court later with the information the court needs to conduct the required “substantial

inquiry relating to certification”); In re Vanguard Natural Resources, LLC, 2017 Bankr. 3978, at

*9 (“[I]f the Court decides to apply Rule 23 to the proceeding, it must determine whether that

Rule’s requirements for class certification are satisfied.”); see also Hays, 2019 U.S. Dist. LEXIS

17029, at *9–11 (noting the certification requirements of Rule 23 apply to certification for

settlement purposes and, under the 2018 amendments, must be evaluated before a court may




                                                25                                  PHDATA 7707723_2
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1440 of 1639
                                                                         1440



grant preliminary approval and direct notice to the class); cf. 2018 Advisory Committee Note to

Rule 23(e)(1).

          81.    In addition, the plans of allocation and distribution of the settlement funds, which

make no distinctions in whether a putative class member filed a proof of claim by the Bar Date

or did not and no distinctions based on lease forms, as well as the post-bankruptcy going forward

relief that rewrites all Pennsylvania leases regardless of whether the lessors filed proofs of claim,

also set up potential intraclass conflicts of interest among members of the classes that Debtors’

motion does not address.

          82.    Most strikingly, creditors with WCLG Leases who filed proofs of claim, such as

the 26 lessors joining this objection, receive no benefit whatsoever from having their favorable

royalty payment terms rewritten as wellhead terms, whether on an in-basin or netback basis. To

the contrary, their interests are actively harmed by the MEC Settlement’s going forward relief,

converting their gross proceeds leases that expressly calculate royalties at a downstream point of

sale to wellhead leases. In this regard, the MEC Settlement creates impermissible intraclass

conflicts of interest among different segments of the settlement classes defined in the Class

Settlements that prevent certification. See, e.g., Langbecker v. Elec. Data Sys. Corp., 476 F.3d

299, 315–16 (5th Cir. 2007).

          83.    And there is no financial analysis or evidence in Debtors’ motion that shows the

going forward relief would create a financial benefit for any other Pennsylvania Proof of Claim

Lessor.

          84.    Rule 23(a) requires, in part, that “(3) the claims or defenses of the representative

parties are typical of the claims or defenses of the class; and (4) the representative parties will




                                                  26                                  PHDATA 7707723_2
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1441 of 1639
                                                                         1441



fairly and adequately protect the interests of the class.” Fed. R. Civ. P. 23(a)(3) & (4). These

inquiries often overlap. See Gen. Tel. Co. of the Sw. v. Falcon, 457 U.S. 147, 157 n.13 (1982).

       85.     The Fifth Circuit instructs that the adequacy requirement “adequacy requirement

mandates an inquiry into [1] the zeal and competence of the representative[s’] counsel and . . .

[2] the willingness and ability of the representatives to take an active role in and control the

litigation and to protect the interests of absentees.” Berger v. Compaq Computer Corp., 257 F.3d

475, 479 (5th Cir. 2001). To show they will fairly and adequately protect the interests of the

class, proposed class representatives must demonstrate that they “possess a sufficient level of

knowledge and understanding to be capable of controlling or prosecuting the litigation.” Id.

at 482–83. To do this, “class representatives must show themselves sufficiently informed about

the litigation to manage the litigation effort.” Unger v. Amedisys Inc., 401 F.3d 316, 321 (5th

Cir. 2005).

       86.     There is nothing in the record to show that the named plaintiffs in the Class

Settlements filed proofs of claim, and what issues, if any, they pursued that address the matters

raised in the Pennsylvania Proof of Claim Lessors’ proofs of claim.

       87.     In addition, the “adequacy inquiry also serves to uncover conflicts of interest

between the named plaintiffs and the class they seek to represent.” Berger, 257 F.3d at 479–80

(citing Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 625 (1997)) (internal quotations omitted);

see also Langbecker, 476 F.3d at 314–15 (noting problems of intraclass conflicts of interest

undermine a proposed representative’s adequacy).

       88.     As shown above, there are intraclass conflicts between class members who did

not file proofs of claim and class members who did based on the settlement terms, including in

how settlement fund are to be allocated.




                                               27                                 PHDATA 7707723_2
    Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1442 of 1639
                                                                           1442



         89.     Further, the Debtors offer no analysis of lease language or legal claims to show

that the leases and claims of the named plaintiffs in the Class Settlements are typical and

consistent with of those of the absent class members they seek to bind by those settlements,

including those of lessors with WCLG Leases who filed proofs of claim.

         90.     An analysis of the lease language and how the proposed relief relates to the lease

language is important in order to gauge whether the Settlement Agreements are fair, reasonable

and adequate. For example, the royalty payment clause of the WCLG Lease unambiguously

requires the lessee to determine royalties as a percentage of its marketing affiliate’s gross

proceeds received for the sale of gas calculated at the downstream point of sale to unaffiliated

third parties. See Ex. C, ¶ 4(b)(ii).

         91.     One Pennsylvania family with a Wyoming County Lease, Richard and Denise

Kuffa (the “Kuffas”), filed a AAA arbitration demand against Equinor USA Onshore Properties,

Inc. (“EOP”), an assignee of part of Chesapeake’s lease interest, for breaching their lease and

improperly calculating determination of royalties based on an index price instead of actual gross

proceeds received by EOP’s marketing affiliate.

         92.     The arbitrator issued an award in the Kuffas’ favor and ruled that use of an “in

basin” index price to pay royalties breaches WCLG Leases and that the Lease prohibits the

lessee from deducting post-production costs incurred to move the gas to the downstream point of

sale when such sales are in the usual course of business and no post-production services beyond

those typically required to get the gas to the downstream point of sale are involved. See Kuffa

Award & Order No. 4 at ¶ 9.9




9
    A copy of the Kuffas’ Judicially Confirmed Arbitration Award is attached as Exhibit __.



                                                 28                                 PHDATA 7707723_2
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1443 of 1639
                                                                         1443



       93.    None of the named plaintiffs in the Class Settlements has a Wyoming County

Lease. However, Wyoming County Leases apparently are within the proposed MEC Settlement

class, and the proposed Class Settlements seek to rewrite the leases to force Wyoming County

Lease owners to choose between receiving an index price—something the Kuffa arbitrator ruled

impermissible under the Wyoming County Lease—and a wellhead netback price (i.e., a

downstream sales price net of post-production costs) that changes the bargained for point of

royalty valuation

       94.    Consequently, there is no competent record evidence on which the Court can

make findings (or perform the required reasoned analysis) that the requirements of Rule 23(a) are

met here.


       B.     The Debtors Have not Shown—and Cannot Show—That the Class
              Settlements Are Likely to Be Approved as Fair, Reasonable, and Adequate in
              Consideration of the Factors Courts Must Evaluate Under Rule 23(e)(2) and
              Fifth Circuit Jurisprudence.

       95.    When a party seeks preliminary approval of a class settlement and an order

directing notice to absent class members, it must show that the settlement will likely obtain the

court’s final approval as fair, reasonable, and adequate in light of the factors stated in Rule

23(e)(2). Fed. R. Civ. P. 23(e)(1)(B)(i). Those factors include whether:


              (A) the class representatives and class counsel have adequately
              represented the class;

              (B) the proposal was negotiated at arm’s length;

              (C) the relief provided for the class is adequate, taking into
              account:

                      (i) the costs, risks, and delay of trial and appeal;
                      (ii) the effectiveness of any proposed method of
                      distributing relief to the class, including the method of
                      processing class-member claims;


                                               29                                 PHDATA 7707723_2
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1444 of 1639
                                                                            1444



                      (iii) the terms of any proposed award of attorney’s fees,
                      including timing of payment; and
                      (iv) any agreement required to be identified under Rule
                      23(e)(3); and

               (D) the proposal treats class members equitably relative to each
               other.

Fed. R. Civ. P. 23(e)(2)(A)–(D). These considerations are in addition to, and do not displace, the

factors the Fifth Circuit directed lower courts to consider prior to the 2018 amendments to Rule

23, known as the Reed factors. See Hays, 2019 U.S. Dist. LEXIS 17029, at *22–23. The Reed

factors are:

               (1) whether the settlement was a product of fraud or collusion; (2)
               the complexity, expense, and likely duration of the litigation; (3)
               the stage of the proceedings and amount of discovery completed;
               (4) the factual and legal obstacles [to] prevailing on the merits; (5)
               the possible range of recovery and the certainty of damages; and
               (6) the respective opinions of the participants, including class
               counsel, class representative, and the absent class members.

Reed v. Gen. Motors Corp., 703 F.2d 170, 172 (5th Cir. 1983).10

        96.    As mentioned above, the Debtors do not acknowledge the specific elements a

court must consider under amended Rule 23(e)(2) before granting preliminary approval and

ordering notice to absent class members. Instead, they cite only the Reed factors and cases

decided before the 2018 amendments to Rule 23(e). Debtors’ Mot. ¶ 42. For this reason alone,

Debtors’ motion must be denied.

        97.    Without any evidentiary record or analysis offered by the Debtors, the Court

cannot perform its fiduciary duty to the absent class members, let alone the required analysis

under Rule 23(e)(1)(B)(i).



10
  While there is some overlap between the provisions of Rule 23(e)(2) and the Reed factors, the
Reed factors do not encompass all the considerations required under Rule 23(e)(2).



                                                30                                      PHDATA 7707723_2
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1445 of 1639
                                                                         1445



       98.     For example, the Court cannot perform the required reasoned analysis to

determine whether the forms of relief provided in the Class Settlements are a fair, reasonable,

and adequate compromise of class claims when there is no evidence of what the best possible

recoveries would be for the class members, including over the post-Effective Date time period

where class members’ leases will be amended See Fed. R. Civ. P. 23(e)(2); see, e.g., Neff, 179

F.R.D. at 185 (explaining the court must “determine the value of the settlement in light of the

potential for recovery,” which “requires the Court to establish the range of possible damages that

could be recovered at trial, and, then, by evaluating the likelihood of prevailing at trial and other

relevant factors, determine whether the settlement is pegged at a point in the range that is fair to

the plaintiff settlors”) (internal citation and quotations omitted).

       99.     As described above, the Debtors claim it is in their interest to rewrite all

Pennsylvania lessors’ leases to change the point of valuation to the wellhead (i.e., computing

royalties based on in-basin or netback prices) in perpetuity. The Debtors claim this will be a

substantial benefit to them (see Debtors’ Mot. ¶ 28), but they provide no analysis that shows any

financial benefit to class members.

       100.    Where the Debtors offer no analysis of any lease language and no explanation of

the likely monetary consequences to class members of changing the royalty payment provisions,

the Court cannot determine whether the mandatory post-Effective Date amendment of all class

members’ leases provides any value to class members compared to the benefit the Debtors would

receive from the release of claims class members would provide.

       101.    An evidentiary record that establishes an actual benefit to class members for

amending their leases is particularly important in the context of the MEC Settlement, where a

previous settlement agreement was placed before Judge Mannion for approval in Demchak. In




                                                  31                                 PHDATA 7707723_2
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1446 of 1639
                                                                            1446



that earlier version, the going forward relief provided for a limited reduction in the amounts of

post-production costs to be charged to MEC class members going forward.            Assessing the

fairness here of the newly proposed going-forward relief requires evidence that the financial

benefit, if any, to MEC class members from the mandatory lease amendments here is an

improvement on the previous proposed going-forward relief.11

        102.   The fact is that the lack of any evidentiary record or analysis of the Class

Settlement by proposed class counsel prevents the Court from performing its fiduciary duty to

conduct the review that the Fifth Circuit has described as the lower court’s “most important

function in reviewing compromises of class actions.” In re Corrugated Container Antitrust

Litig., 643 F.2d at 212. There is no basis in the record for the Court to assess proposed class

counsel’s judgments and gauge the adequacy of their representation.

        103.   In sum, the Debtors have explained how the Class Settlements benefit the post-

Effective Date Reorganized Debtors. However, they have not shown that the proposed classes

can be certified under the requirements of Rule 23(a) and (b) or that they are likely to be

approved as fair, reasonable, and adequate taking into consideration the interests of the class

members.


                                RESERVATION OF RIGHTS

        104.   The Pennsylvania Proof of Claim Lessors reserve the right to respond to any

attempt of Debtors or non-parties to supplement Debtors’ motion with new evidence. The

Pennsylvania Proof of Claim Lessors further reserve the right to make additional objections if the

Court grants the Debtors’ motion and enters an order granting preliminary approval and directing

11
  The Class Settlements contain “walk-away rights” if too many class members opt out. Class
Settlements ¶ 7. If too many class members opt out, the Debtors cannot accomplish their stated
goal of “resetting the relationship” with Pennsylvania lessors generally.



                                               32                                  PHDATA 7707723_2
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1447 of 1639
                                                                         1447



notice to the proposed classes. The Pennsylvania Proof of Claim Lessors also reserve their rights

to obtain discovery of, at a minimum, documents and information the Debtors provided to the

settling parties.


                                         CONCLUSION

        105.    For the foregoing reasons, the Court should deny the Debtors’ motion as it relates

to the Proposed Settlements.


Dated: March 26, 2021                        SCHNADER HARRISON SEGAL & LEWIS LLP



                                                By: /s/ Ira N. Richards
                                             Ira N. Richards
                                             Richard A. Barkasy
                                             Arleigh P. Helfer III
                                             Schnader Harrison Segal & Lewis LLP
                                             1600 Market Street
                                             Suite 3600
                                             Philadelphia, PA 19103-7286
                                             Telephone: (215) 751-2000
                                             Facsimile: (215) 751-2205
                                             irichards@schnader.com
                                             rbarkasy@schnader.com
                                             ahelfer@schnader.com

                                             Aaron D. Hovan
                                             Law Office of Aaron Hovan
                                             154 Warren St.
                                             Tunkhannock, PA 18657
                                             Telephone: (570) 836-3121
                                             aaron@hovanlaw.com

                                             Attorneys for Tyler/Mowry Lessors




                                                33                                 PHDATA 7707723_2
                                                                                                      Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1448 of 1639
                                                                                                                                                                                  1448




                                                                            Secured
                                                                            Claim
Client Last                          Client First                Lease Form Amount       Claims Filed*Claim # OperatiClaim # Ap
Baker                                Roberta                     Wyco         118,373.00      2           12919        12930
Barna                                Kimberely                                                1                        13235
Beebe's Farm FLP                                                 MEC                          2           13096        13118
Bethel                               Kyle                                                     1
Booth                                Elizabeth                   Wyco          69,299.00      1                        13242
Boyanowski FLP                                                   MEC                          2           13136        13147
Buckingham                           Jeff & Melinda                                           1           13073
Cecil Family LLC                                                 Wyco         291,787.00      2           12979        13025
Clark                                Rick & Mary                 Wyco         104,360.00      2           13052        13102
Clark                                John & Vilma                Wyco         131,218.00      2           13033        13135

Clark                                Mike & Shellene             Wyco           41,728.00      2          13069        13088
Dunlap                               Robert                                                    1          13231
Endless Mountain Water Co                                        Wyco          338,891.00      2          13011
Hatokey LLC                                                      Wyco                          1          13237
Henning                              Stephen                     MEC                           1
Jennings Partners LP                                             Wyco          355,121.00      2          12858        12866
Kuffa                                Richard & Denise            Wyco           21,194.00      2          12978        13076
Kuffa                                Charles & Carol             Wyco           40,121.00      2          12998

Lake Carey Investments LLC                                       Wyco            4,562.00      2          13034        13090
Lockburner                           Dwayne                      MEC                           1          12338
Lyman Walters FLP                                                MEC                           1          13224        13226
Marbaker                             Carol                       MEC                                      13148        13168
Marbaker                             Alan                        MEC
Marbaker                             Alan & Carol                MEC                           2
McGavin                              Marty                       MEC                           2          13170        13183
McGavin                              Paul & Tracie               MEC                           2          13172        13195
McIntyre                             Gail                        MEC                           2          13194        13205
Miller                               Donald                                                    1
Mills PTR LP                                                     Wyco          355,121.00      2          12899        12904
Montague Partners LP                                             Wyco           24,722.00      1          13233
Mostek Family LP                                                 Wyco          882,872.00      2          12080        13063
Mowry                                Rodney & Diana              Tyler                         2          12957        12985
Neumane                              James & Sharon                                            1          13044
Neumane                              James & Sharon
Noone                                Sam & Deborah               MEC                           2          13121        13145
Pensworth                            Christina                   Wyco          118,373.00      2          12944        12960
Pensworth                            Leslie                      Wyco          118,373.00      2          12931        12950
Petlock                              Adam & Erin                 MEC                           2          13137        13155
Phillips                             John & Megan                Wyco             118566       1          13238
Pickering Sisters LP                                             MEC                           1                       13234

Poepperling Partners LP                                          Wyco          246,615.00      2          13193        13199
Prevost                              John                        MEC                           1          13057
Prevost                              Russell                     MEC                           1                       13236
Prizzi                               Alessio                                                   1                       13241
RDNJ Trowbridge                                                                                1
Roman                                Paul & Deborah              Wyco          181,463.00      1          13239
S & C Henning FLP                                                MEC                           2          13220        13222
Stark Family LP                      Marilyn                     Wyco          578,488.00      1          13240
Teetsel Family Trust                                             MEC                           2          13184        13200
Tyler Family                                                     No Deducts                    2          12945        12964
Vaskas                               Chris & Lisa                                              1          13153        13182
Wintermute                           Stephen                                                   1

Yanchick                             Andrew                      Wyco           83,887.00      2          13203        13209

* If 2, claims were filed for both CHK Appalachia and CHK Operating.

Place                                Richard                                                                            12977
Ruark                                William                                                                            12396
Steele                               Herbert                                                                            12951
Wilson                               Raynold                                                                            12965
                    Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1449 of 1639
                                                                                           1449
United States Bankruptcy Court for the Southern District of Texas

                                                                                                     For Court Use Only
 Name of Debtor: Chesapeake Operating, L.L.C.                                                        Claim Number:        0000012957

 Case Number:          20-33249                                                                      File Date:           10/30/2020 13:55:49



Proof of Claim (Official Form 410)
 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. With the exception of 503(b)(9),
 do not use this form to make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



                                                                                                                                                              04/19




Part 1:      Identify the Claim

1. Who is the current creditor?                                                 Rodney & Dianna Mowry
Name of the current creditor (the person or entity to be paid for this claim): _______________________________________________________________________

Other names the creditor used with the debtor: _______________________________________________________________________________________________


2.      Has this claim been acquired from someone else?    □✔ No □ Yes. From whom? ___________________________________________________________

3.      Where should notices and payments to the creditor be sent? Federal Rule of Bankruptcy Procedure (FRBP) 2002(g)
Where should notices to the creditor be sent?                                     Where should payments to the creditor be sent? (if different)

Name          Rodney & Dianna Mowry
             ________________________________________________________              Name        ________________________________________________________

Address        c/o Aaron D. Hovan
              _______________________________________________________              Address     _______________________________________________________
               154 Warren St.
              _______________________________________________________                          _______________________________________________________

              _______________________________________________________                          _______________________________________________________
              Tunkhannock
City          _______________________________________________________              City        _______________________________________________________
               PA                                   18657
State         ______________________      ZIP Code _______________________         State       ______________________        ZIP Code _______________________

Country (if International): __________________________________________             Country (if International): __________________________________________
              570-836-3121
Phone:       _______________________________________________________               Phone:     _______________________________________________________
              Aaron@hovanlaw.com
Email:       _______________________________________________________               Email:     _______________________________________________________


4. Does this claim amend one already filed?                                        5. Do you know if anyone else has filed a proof of claim for this claim?
□✔ No                                                                              □✔ No
□ Yes.                                                                             □ Yes.
     Claim number on court claims register (if known) _____________________           Who made the earlier filing?

     Filed on ______________________________________________________                  _____________________________________________________________
                               MM / DD / YYYY

                                                                               Page 1 of 3
Part 2:           Case 4:21-cv-01215
            Give Information                    Document
                             About the Claim as of              8 Filed
                                                   the Date the Case        on 05/12/21 in TXSD
                                                                     Was Filed                                                    Page 1450 of 1639
                                                                                                                                                 1450
 6. Do you have any number you use to                                                                   8. What is the basis of the claim?
                                                7. How much is the claim?
    identify the debtor?                           73,928.91
                                                $_______________________________________
□
✔ No
                                                                                                       Examples: Goods sold, money loaned, lease, services performed,
                                                                                                       personal injury or wrongful death, or credit card. Attach redacted
□ Yes.                                          Does this amount include interest or other             copies of any documents supporting the claim required by Bankruptcy
Last 4 digits of the debtor’s account or any                                                           Rule 3001(c). Limit disclosing information that is entitled to privacy,
                                                charges?
number you use to identify the debtor:                                                                 such as health care information.

     ____ ____ ____ ___
                                                □✔ No
                                                □ Yes. Attach statement itemizing interest, fees,       Royalty Payments
                                                                                                       _________________________________________________________
                                                         expenses, or other charges required by
                                                         Bankruptcy Rule 3001(c)(2)(A).

9. Is all or part of the claim secured?                                 10. Is this claim based on a lease?         11. Is this claim subject to a right of setoff?
□
✔ No                                                                    □ No                                        □
                                                                                                                    ✔ No
□ Yes. The claim is secured by a lien on property.                      □
                                                                        ✔ Yes. Amount necessary to cure             □ Yes. Identify the property:
                                                                        any default as of the date of petition.
Nature of property:
                                                                          73,928.91
□ Real estate. If the claim is secured by the debtor’s principal        $_____________________________               ___________________________________________

residence, file a Mortgage Proof of Claim Attachment (official Form
410-A) with this Proof of Claim.
□ Motor vehicle                                                         12. Is all or part of the claim entitled to priority             A claim may be partly priority and
                                                                            under 11 U.S.C. § 507(a)?                                    partly nonpriority. For example, in
□ Other. Describe:
                        ____________________________________            □
                                                                        ✔ No
                                                                                                                                         some categories, the law limits the
                                                                                                                                         amount entitled to priority.
Basis
i     for perfection:                                                   □ Yes. Check one:                                                Amount entitled to priority
                          _____________________________________
Attach redacted copies of documents, if any, that show evidence of
                                                                        □   Domestic support obligations (including alimony and          $_____________________
perfection of security interest (for example, a mortgage, lien,         child support) under 11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).
certificate of title, financing statement, or other document that       □ Up to $3,025* of deposits toward purchase, lease, or           $_____________________
shows the lien has been filed or recorded.)                             rental of property or services for personal, family, or
Value of property:                        $_____________________        household use. 11 U.S.C. § 507(a)(7).

Amount of the claim that is secured:      $_____________________
                                                                        □ Wages, salaries, or commissions (up to $13,650*)               $_____________________
                                                                        earned within 180 days before the bankruptcy petition is
Amount of the claim that is unsecured: $_____________________           filed or the debtor’s business ends, whichever is earlier.
(The sum of the secured and unsecured amounts should match the          11 U.S.C. § 507(a)(4).                                           $_____________________
amount in line 7.)                                                      □ Taxes or penalties owed to governmental units.
                                                                        11 U.S.C. § 507(a)(8).
Amount necessary to cure any                                                                                                             $_____________________
default as of the date of the petition: $_____________________          □ Contributions to an employee benefit plan. 11 U.S.C. §
                                                                        507(a)(5).
Annual Interest Rate (when case was filed)       ______________%                                                                         $_____________________
                                                                        □ Other. Specify subsection of 11 U.S.C. § 507 (a)
                                               □ Fixed □ Variable       (___________) that applies.
                                                                        * Amounts are subject to adjustment on 4/01/22 and every 3 years after that for cases begun on
                                                                        or after the date of adjustment.


13. Does this claim qualify as an Administrative Expense under 11 U.S.C. § 503(b)(9)?
□ No
□                                                                                        4,204.57
✔ Yes. Amount that qualifies as an Administrative Expense under 11 U.S.C. § 503(b)(9): $_____________________________




                                                                                     Page 2 of 3
Part 3:          Case 4:21-cv-01215
           Sign Below                               Document 8 Filed on 05/12/21 in TXSD Page 1451 of 1639
                            Check the appropriate box:
                                                                                                        1451
The person completing
this proof of claim must    □ I am the creditor.
sign and date it. FRBP
9011(b).
                            □
                            ✔ I am the creditor’s attorney or authorized agent.
                            □ I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
If you file this claim      □ I am a guarantor, surety, endorser, or other co-debtor. Bankruptcy Rule 3005.
electronically, FRBP
5005(a)(2) authorizes       I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the amount of the claim,
courts to establish local   the creditor gave the debtor credit for any payments received toward the debt.
rules specifying what a     I have examined the information in this Proof of Claim and have a reasonable belief that the information is true and correct.
signature is.
                            I declare under penalty of perjury that the foregoing is true and correct.
A person who files a
fraudulent claim could         Aaron D. Hovan                                                                 10/30/2020 13:55:49
                             _____________________________________
                            ____________________________________________________________                     __________________________________
be fined up to $500,000,
                            Signature                                                                       Date
imprisoned for up to 5
years, or both. 18 U.S.C.   Provide the name and contact information of the person completing and signing this claim:
§§ 152, 157, and 3571.
                                      Aaron D. Hovan
                            Name      ______________________________________________________________________________________________
                                    154 Warren St.
                            Address _____________________________________________________________________________________________

                                      _____________________________________________________________________________________________

                                      _____________________________________________________________________________________________
                                      Tunkhannock
                            City      _____________________________________________________________________________________________
                                      PA                                                    18657
                            State     ________________________________________________ Zip _________________________________________

                            Country (in international) _______________________________________________________________________________
                                      570-836-3121
                            Phone     _____________________________________________________________________________________________
                                       aaron@hovanlaw.com
                            Email     _____________________________________________________________________________________________




                                                                                 Page 3 of 3
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1452 of 1639
                                                                         1452



                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

                                          )
 In re:                                   )    Chapter 11
                                          )
 CHESAPEAKE ENERGY                        )    Case No. 20-33233 (DRJ)
 CORPORATION, et al.,                     )
                                          )    Jointly Administered
                        Debtors.          )



                  ADDENDUM TO TYLER/MOWRY PROOF OF CLAIM



          1.   The undersigned, counsel for Tim & Terri Tyler Family LP, Tyler 5 FLP,

Timothy & Terri Tyler, and Rodney & Dianna Mowry, on behalf of themselves and all those

similarly situated (“Claimants”), is authorized to file this Proof of Claim on behalf of Claimants.


          2.   The mailing address for this Proof of Claim for all purposes is: Tyler et. al., c/o

Aaron D. Hovan, 154 Warren St., Tunkhannock, Pennsylvania 18657.


          3.   On June 28, 2020 (the “Petition Date”), the Debtors, including Chesapeake

Appalachia, L.L.C., Chesapeake Energy Corporation and Chesapeake Energy Marketing, L.L.C.

(“Chesapeake”) filed petitions for relief under Chapter 11 of the United States Bankruptcy Code

(11 U.S.C. § 101, et seq.).


          4.   On April 11, 2008, Claimants entered into the following four leases with Debtor

Chesapeake Appalachia LLC (the “Leases”):


   a) Chesapeake Lease No. 233002b-00163 (30 acres);

   b) Chesapeake Lease No. 233002b-00161 ( 362.87 acres),;
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1453 of 1639
                                                                         1453



   c) Chesapeake Lease No. 233002b-00162 (50 acres); and

   d) Chesapeake Lease No. 1-349406-000, 33.88 acres.



          5.    All of these Leases are identical except for the property description. These four oil

and gas Leases with Chesapeake burden multiple parcels of real property located in Wyoming

County, Pennsylvania (the “Leased Premises”). A copy of one of these Leases is attached as

Exhibit A.


          6.    Pursuant to the terms of the Leases, Claimants are permitted to conduct audits to

determine whether Chesapeake has paid to Claimants all sums due and owing under the Leases.


          7.    Claimants arranged for an examination of Chesapeake’s operations under the

Leases for the period from January 2012 through December 31, 2013 (the “Examination”).


          8.    The Examination revealed that Chesapeake underpaid royalties due and owing to

Claimants under the Leases. For example, Chesapeake has failed to pay Claimants royalties

calculated upon the revenue realized from the sale of gas without deductions of post-production

costs as required by the Leases, and were underreporting gas volumes and prices, among other

things.


          9.    Chesapeake refused to respond to the audit exception reports prepared on behalf

of the Claimants and other similarly situated lessors.


          10.   By way of example, as the Examination report reflects, Chesapeake underpaid

royalties due and owing to Claimants for the Examination period of January, 2012 through

December 31, 2013 in an amount of at least:




                                                  2
    Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1454 of 1639
                                                                           1454



         a) $37,104.58 (Timothy Tyler)

         b) $335,744.24 (T&T FLP)

         c) $353,047.04 (Tyler 5 FLP)

         11.    Chesapeake breached the Leases through: (a) its underpayment of royalties, which

were underpaid or not paid by Chesapeake’s unauthorized deduction of post-production costs;

and (b) its failure to provide production data to Claimant and otherwise comply with its

obligations under the Leases’ audit clauses.


         12.    Chesapeake’s underpayment of royalties continued after the period of the

Examination and is ongoing.


         13.    On March 15, 2016, Claimants filed a class action complaint (the “Complaint”) in

the U.S. District Court for the Middle District of Pennsylvania, Case No. 3:16-cv-00456-MEM,

against Chesapeake asserting claims for breach of contract, tortious interference with contract,

unjust enrichment, breach of various covenants implied in oil and gas leases, injunctive and

declaratory relief, and for an accounting. A copy of the Complaint is attached as Exhibit B and

is incorporated herein in its entirety by reference. Claimants submit this claim on behalf of

themselves and on behalf of those similarly situated as alleged in Exhibit B. The total amount of

the class claim requires additional information, including from a full accounting, and Claimants

reserve their right to amend this claim to reflect the full class amount.


         14.    As of the Petition Date, a total of $1,194,017.43 was due and owing under the

Leases,1 based on Chesapeake’s unauthorized deduction of post-production costs for Gathering



1
    $76,457.14 (Timothy & Terri Tyler), $507,364.55 (T&T FLP), $536,266.83 (Tyler 5 FLP),
         $73,928.91 (Rodney & Dianna Mowry)


                                                  3
    Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1455 of 1639
                                                                           1455



and Transportation from Claimants’ royalty payments. Of this amount, $357,075.762 in

improper deductions of post-production costs were taken prior to 2014 and $836,990.243 was

taken from 2014 until the petition date. Claimants are unable to determine the full amount of the

royalty underpayments and other charges due under the Leases because Chesapeake has failed

and refused to provide necessary information in response to Claimants’ requests.


         15.    Claimants also possess an administrative claim under 11 U.S.C. § 507(a)(5) for all

unpaid amounts due under the Leases from the Petition Date through the Effective Date of any

plan of reorganization confirmed in the Debtors’ cases. This amount is $78,600.524 as of

October 22, 2020, and will continue to grow for so long as Debtors continue to withhold post-

production charges from monthly royalties in violation of the Leases.


         16.    Further, as a result of Chesapeake’s breaches of the Lease, any right, title and

interest held by Chesapeake under the Lease of the Leased Premises reverted to Claimants.

Claimants reserves the right to seek through a class judgment in a court of appropriate

jurisdiction a declaration that Chesapeake does not possess any right, title or interest in the

Leases or the Leased Premises.




2
    $17,565.55 (Timothy & Terri Tyler), $151,518.73 (T&T FLP), $158,905.59 (Tyler 5 FLP),
         $29,085.89 (Rodney & Dianna Mowry)
3
    $58,891.59 (Timothy & Terri Tyler), $355,845.82 (T&T FLP), $377,361.24 (Tyler 5 FLP),
         $44,843.02 (Rodney & Dianna Mowry)
4
    $6,956.46 (Timothy & Terri Tyler), $36,077.76 (T&T FLP), $38,282.19 (Tyler 5 FLP),
         $4,204.57 (Rodney & Dianna Mowry)


                                                  4
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1456 of 1639
                                                                         1456



        17.     Claimants reserves all of his rights under the Leases. The filing of this proof of

claim shall not be deemed a waiver of any claims or rights against any person, entity or property,

or as an election of remedy.


        18.     The filing of this Proof of Claim is not and shall not be deemed or construed as:

(i) a waiver, release, or limitation of its right against any person, entity, or property (including,

without limitation, the Debtors or any other person or entity that is or may become a debtor in a

case pending in this Court); (ii) a consent by Claimants to the jurisdiction or venue of this Court

or any other court with respect to proceedings, if any, commenced in any case against or

otherwise involving Claimants; (iii) a waiver, release, or limitation of the right of Claimants to

trial by jury in this Court or any other court in any proceeding as to any and all matters so triable

herein, whether or not the same be designated legal or private rights or in any case, controversy,

or proceeding related hereto, notwithstanding the designation or not of such matters as “core

proceedings” pursuant to 28 U.S.C. § 157(b)(2), and whether or not such jury trial right is

pursuant to statute or the U.S. Constitution; (iv) a consent by Claimants to a jury trial in this

Court or any other court in any proceeding as to any and all matters so triable herein or in any

case, controversy, or proceeding related hereto, pursuant to 28 U.S.C. § 157(e) or otherwise; (v)

a waiver, release, or limitation of the right of Claimants to have any and all final orders in any

and all non-core matters or proceedings entered only after de novo review by a U.S. District

Court Judge; (vi) a consent to this Court hearing or deciding any matter or proceeding, to the

extent this Court lacks the constitutional authority to do so under Stern v. Marshall, or otherwise;

(vii) a waiver of the right to move to withdraw the reference with respect to the subject matter of

this Proof of Claim, any objection thereto or other proceeding which may be commenced in this




                                                   5
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1457 of 1639
                                                                         1457



case against or otherwise involving Claimants; (viii) an election of remedies; or (ix) a consent to

the final determination or adjudication of any claim or right pursuant to 28 U.S.C. § 157(c).

       19.      Each of the claims described above, including the claims described in the

Complaint, are brought by Claimants on their behalf and a class of similarly situated lessors.

       20.      Claimants reserve their right to amend and/or supplement this Proof of Claim for

all purposes.




Dated: October ___,
               30 2020                        By: Aaron D. Hovan
                                              Aaron D. Hovan
                                              154 Warren Street
                                              Tunkhannock, PA 18657
                                              570-836-3121

                                              Ira N. Richards
                                              SCHNADER HARRISON SEGAL & LEWIS LLP
                                              1600 Market Street, Suite 3600
                                              Philadelphia, PA 19103-7286
                                              Telephone: (215) 751-2000
                                              Facsimile: (215) 751-2205
                                              irichards@schnader.com




                                                 6
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1458 of 1639
                                                                       1458




              EXHIBIT A
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1459 of 1639
                                                                       1459
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1460 of 1639
                                                                       1460
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1461 of 1639
                                                                       1461
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1462 of 1639
                                                                       1462
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1463 of 1639
                                                                       1463
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1464 of 1639
                                                                       1464
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1465 of 1639
                                                                       1465
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1466 of 1639
                                                                       1466
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1467 of 1639
                                                                       1467
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1468 of 1639
                                                                       1468
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1469 of 1639
                                                                       1469
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1470 of 1639
                                                                       1470
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1471 of 1639
                                                                       1471
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1472 of 1639
                                                                       1472




               EXHIBIT B
  Case 4:21-cv-01215  Document
         Case 3:02-at-06000    8 Filed280
                            Document   on 05/12/21 in TXSDPage
                                           Filed 03/15/16  Page1 1473
                                                                 of 35 of 1639
                                                                            1473



                          UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


                                    :
TIMOTHY TYLER; TERRI TYLER; TIM & :
TERRI FAMILY LP; TYLER 5 FAMILY LP; :                 Civil Action No.
RODNEY MOWRY; and DIANNA MOWRY :
                                    :                 Class Action Complaint
            Plaintiffs,             :
                                    :
      v.                            :
                                    :
CHESAPEAKE APPALACHIA, L.L.C.;      :
CHESAPEAKE ENERGY CORPORATION; :
and CHESAPEAKE ENERGY               :
MARKETING, L.L.C.                   :
                                    :
            Defendants.             :
                                    :
                                    :
                                    :

       Plaintiffs Timothy Tyler; Terri Tyler; Tim & Terri Family LP; Tyler 5 Family LP;

Rodney Mowry; and Dianna Mowry (collectively “Plaintiffs”) bring this claim against

Chesapeake Appalachia, L.L.C., Chesapeake Energy Corporation, and Chesapeake Energy

Marketing, L.L.C. (collectively the “Chesapeake Defendants” or “Defendants”) on behalf of

themselves and all those similarly situated.


                                    NATURE OF THE SUIT

       1.      This is a class action seeking damages for the Chesapeake Defendants’ illegal

conduct. As Plaintiffs allege more fully below, the Chesapeake Defendants exploit Plaintiffs and

other Pennsylvania landowners to generate revenue and profits for themselves while cutting

Plaintiffs and others situated similarly to Plaintiffs out of money they are entitled to under terms

of oil and gas leases.



                                                                                      PHDATA 5628181_1
  Case 4:21-cv-01215  Document
         Case 3:02-at-06000    8 Filed280
                            Document   on 05/12/21 in TXSDPage
                                           Filed 03/15/16  Page2 1474
                                                                 of 35 of 1639
                                                                            1474



          2.   Plaintiffs, and others similarly situated, hold interests in standard form oil and gas

leases entered with the expectation that the lessee’s production of their gas would generate

royalty payments. Thus, Plaintiffs would share in the revenues that energy companies generated

from the sale of Plaintiffs’ natural gas. Consistent with that expectation, the leases contain

uniform language prohibiting the lessee from taking deductions for post-production costs.


          3.   There is no commercial market at the wellhead for gas extracted from Plaintiffs’

properties. Before the gas can be sold, post-production services such as compression,

dehydration, gathering, and transportation of the natural gas are necessary to render it ready for

sale. The gas is generally moved further along the interstate pipeline for sale in higher priced

end-user markets.


          4.   Ignoring the fact that the Plaintiffs’ leases prohibit deductions from royalty

payments for post-production services, the Chesapeake Defendants generated a ploy to enrich

themselves at the expense of Plaintiffs and all members of the Deductions Class as defined

herein.


          5.   In this scheme, Chesapeake Appalachia, L.L.C. (“CHK Appalachia”), the

subsidiary that holds the leases and produces gas from leased properties, transfers title to the gas

to an affiliated company, Chesapeake Energy Marketing, L.L.C. (“CEML”). CEML then

markets and sells the gas to third parties in the interstate pipeline system. Despite the fact that

the gas is sold downstream of the wellhead, and despite the fact that the leases prohibit

deductions for post-production costs, CHK Appalachia takes deductions against the royalties

payable to Plaintiffs and members of the Deductions Class, charging for post-production services

as though its transfer to its sister company, which like CHK Appalachia, is a wholly owned



                                                  2                                   PHDATA 5628181_1
    Case 4:21-cv-01215  Document
           Case 3:02-at-06000    8 Filed280
                              Document   on 05/12/21 in TXSDPage
                                             Filed 03/15/16  Page3 1475
                                                                   of 35 of 1639
                                                                              1475



subsidiary of Chesapeake Energy Corporation (“CHK”), is a “sale” for purposes of calculating

royalties.


        6.     CHK, the ultimate parent of CHK Appalachia and CEML, unjustly benefits from

these improper deductions because it uses its subsidiaries to depress or eliminate royalty

payments to Plaintiffs and those similarly situated while generating revenues and profits for itself

from the sale of the natural gas extracted from their properties and sold to third parties in the

interstate pipeline system.1 Thus, CHK makes money at the expense of Plaintiffs and those

similarly situated by minimizing—and in some cases entirely eliminating—royalty payments to

Plaintiffs, which are swallowed up by the deductions for purported post-production services.


        7.     In fact, under CHK’s scheme, there are times the deductions are so extensive that

Plaintiffs would actually owe money to CHK above the amount of their royalties for post-

production services.2 Put differently, CHK claims that despite the language of the lease



1
 As explained more fully below, CHK treats its production and sales operations as an integrated,
unitary business.
2
  This is a potential future liability to landowners under CHK’s current accounting practices.
CHK’s accounting for a named Plaintiff’s deductions is instructive in this regard. CHK initially
paid royalties to named Plaintiff without deductions. See December 21, 2011 Statement showing
no deductions for first four months, attached hereto as Exhibit A. CHK proceeded to deduct
post-production costs retroactively by simply taking those costs from future royalties, informing
Plaintiff of this retroactive taking via letter stating “We will also recoup the [post-production]
costs that have been suspended back to the date of the Kilmer decision.” February 21, 2012
Letter from Mobley to Tyler, attached hereto as Exhibit B. Although CHK has at present
“zeroed out” Plaintiffs’ royalty payments, without this Court’s intervention there is nothing to
prevent CHK from retroactively deducting the purported liability it has created from future
royalties.




                                                  3                                   PHDATA 5628181_1
  Case 4:21-cv-01215  Document
         Case 3:02-at-06000    8 Filed280
                            Document   on 05/12/21 in TXSDPage
                                           Filed 03/15/16  Page4 1476
                                                                 of 35 of 1639
                                                                            1476



prohibiting deductions, it is free to produce Plaintiffs’ gas without paying them royalties if post-

production costs exceed the price of the gas.


       8.      In perpetrating this scheme, CHK profits by using its subsidiary companies to

deprive Plaintiffs and others of the benefit of the royalties they expected when they signed the

leases. To be sure, no one would sign an oil and gas lease promising the payment of royalties if

that promise was so meaningless that it could be turned on its head and result in the lessee taking

the lessor’s gas and demanding payment for it.


       9.      This lawsuit seeks legal and equitable relief to recover the funds due to Plaintiffs

and those similarly situated that the Chesapeake Defendants have wrongfully appropriated to

themselves through this scheme and to prevent them from exploiting landowners through the

continuation of this scheme in the future.


       10.     At a minimum, Plaintiffs seek to enjoin the Chesapeake Defendants’ most

egregious misconduct. That is, Plaintiffs seek to enjoin the Chesapeake Defendants from

producing Plaintiffs’ gas when Plaintiffs will receive no benefit from that production (i.e., when

the Chesapeake Defendants assess negative royalties due to, inter alia, improper post-production

charges).


       11.     In addition, the Tylers are members of a group of approximately 100 lessors

whose leases are pooled in sixteen separate gas wells, all of whom joined together to review and

audit the Chesapeake Defendants’ records to ensure that their royalty payments were being

calculated correctly (the “Audit Group”). The Audit Group engaged an accountant

knowledgeable about the energy industry and royalty payments to perform the audit, which

revealed that the Chesapeake Defendants were miscalculating royalties even assuming that their


                                                  4                                   PHDATA 5628181_1
  Case 4:21-cv-01215  Document
         Case 3:02-at-06000    8 Filed280
                            Document   on 05/12/21 in TXSDPage
                                           Filed 03/15/16  Page5 1477
                                                                 of 35 of 1639
                                                                            1477



position that they are permitted to take deductions for post-production costs is correct, which it is

not. The miscalculations are attributable to the Chesapeake Defendants’ underreporting of

volumes and prices. The Chesapeake Defendants have refused to correct the problems identified

by the Audit Group.


                                         THE PARTIES


       12.     Plaintiffs Timothy and Terri Tyler reside at 2262 SR 3001 Meshoppen,

Pennsylvania 18630. They are citizens of Pennsylvania.


       13.     Plaintiff Tim & Terri Family LP is a Pennsylvania limited partnership with a

principal place of business at 2262 SR 3001, Meshoppen, Pennsylvania 18630. Timothy and

Terri Tyler are the general partners and the limited partners of Tim & Terri Family LP.


       14.     Plaintiff Tyler 5 Family LP is a Pennsylvania limited partnership with a principal

place of business at 540 SR 3005, Meshoppen, Pennsylvania 18630. Brian and Teresa Tyler are

the general partners and the limited partners of Tyler 5 Family LP. They reside at 540 SR 3005

Meshoppen, Pennsylvania 18630. They are citizens of Pennsylvania.


       15.     Plaintiffs Rodney Mowry and Dianna Mowry reside at 233 Mowry Road,

Meshoppen, Pennsylvania 18630. They are citizens of Pennsylvania.


       16.     Defendant Chesapeake Appalachia, L.L.C. is a subsidiary of Chesapeake Energy

Corporation. It is an Oklahoma limited liability company with a principal business address of

6100 North Western Avenue, Oklahoma City Oklahoma 73118, and registered agent at 1833

South Morgan Road, Oklahoma City, Oklahoma 73128.




                                                  5                                   PHDATA 5628181_1
  Case 4:21-cv-01215  Document
         Case 3:02-at-06000    8 Filed280
                            Document   on 05/12/21 in TXSDPage
                                           Filed 03/15/16  Page6 1478
                                                                 of 35 of 1639
                                                                            1478



         17.   Defendant Chesapeake Energy Corporation is an Oklahoma corporation with a

principal business address of 6100 North Western Avenue, Oklahoma City Oklahoma 73118,

and registered agent at 1833 South Morgan Road, Oklahoma City, Oklahoma 73128.


         18.   Defendant Chesapeake Energy Marketing, L.L.C. is an Oklahoma limited liability

company with a principal business address of 6100 North Western Avenue, Oklahoma City

Oklahoma 73118, and registered agent at 1833 South Morgan Road, Oklahoma City, Oklahoma

73128.


                                 JURISDICTION AND VENUE


         19.   This Court has jurisdiction pursuant to 28 U.S.C. § 1332(a) because the parties are

citizens of different states and the amount in controversy, exclusive of interest and costs, exceeds

$75,000. In the alternative, this Court has jurisdiction under the Class Action Fairness Act

because, on information and belief, the amount in controversy exceeds $5,000,000, exclusive of

interest and costs, and because this is a class action in which a member of the class is a citizen of

a state different from the defendant Chesapeake entities. See 28 U.S.C. § 1332(d)(2)(A).


         20.   Venue is proper pursuant to 28 U.S.C. § 1391(b) and (c)(2) because Defendants

do business in this District and are subject to personal jurisdiction in this District, and because a

substantial part of the events or omissions giving rise to the claim occurred in this District.


                                               FACTS

                      THE MARCELLUS REGION AND THE LEASES

         21.   The underlying claims involve oil and gas leases entered into by landowners in

the Marcellus region, an area comprising numerous counties in Pennsylvania.



                                                  6                                    PHDATA 5628181_1
  Case 4:21-cv-01215  Document
         Case 3:02-at-06000    8 Filed280
                            Document   on 05/12/21 in TXSDPage
                                           Filed 03/15/16  Page7 1479
                                                                 of 35 of 1639
                                                                            1479



       22.     The natural gas rich Marcellus Shale formation spans approximately 95,000

square miles from northern Pennsylvania to central West Virginia. See

http://www.chk.com/operations#/pennsylvania.


       23.     CHK reports that it “has approximately 9 trillion cubic feet of net recoverable

resources in the Marcellus shale, with a 55% rate of return on reinvested capital.” Id.


       24.     In 2008, CHK was the largest leasehold owner in the Marcellus Shale play. See,

e.g., CHK 2008 Annual Report at 14 (available for viewing and downloading at

http://www.chk.com/investors/financial-information). On information and belief, CHK is still

the largest leaseholder in the Marcellus Shale play.


       25.     The Marcellus shale region has attracted a great deal of energy industry attention

because it can generate large profits for energy companies. According to CHK, the proximity of

the Marcellus shale formation to major East Coast natural gas markets “offers producers the best

profit margins in the nation.” Id. These profit margins depend on many factors, including the

price of gas and the share of revenues paid to royalty owners.


       26.     Plaintiffs Tim and Terri Tyler, Tim & Terri Family LP, and Tyler 5 Family LP

own interests in Paid Up Oil and Gas Leases originally entered on January 2, 2008, with Elexco

Land Services, Inc. (“Elexco”). True and correct copies of the leases are attached as Exhibit C.


       27.     On January 24, 2008, plaintiffs Rodney and Dianna Mowry entered into a Paid

Up Oil and Gas Lease with Elexco. A true and correct copy of the lease is attached as Exhibit D.


       28.     The Plaintiffs’ Elexco leases are form leases. In all material respects, their terms

are identical. They contain uniform provisions relating to the calculation of royalties that apply


                                                 7                                   PHDATA 5628181_1
  Case 4:21-cv-01215  Document
         Case 3:02-at-06000    8 Filed280
                            Document   on 05/12/21 in TXSDPage
                                           Filed 03/15/16  Page8 1480
                                                                 of 35 of 1639
                                                                            1480



to all lessors who are parties to leases with identical terms and specify the share of revenues to be

paid to royalty owners.


       29.     Each of the leases contains the following language concerning payment of

royalties for any oil and gas substances produced from the properties covered by the leases:


               For all Oil and Gas Substances that are produced and sold from the
               leased premises, Lessor shall receive as its royalty one eighth
               (1/8th) of the sales proceeds actually received by Lessee from the
               sale of such production, less this same percentage share of all Post
               Production Costs, as defined below, and this same percentage
               share of all production, severance and ad valorem taxes. As used
               in this provision, Post Production Costs shall mean (i) all loses of
               produced volumes (whether by use as fuel, line loss, flaring,
               venting or otherwise) and (ii) all costs actually incurred by Lessee
               from and after the wellhead to the point of sale, including, without
               limitation, all gathering, dehydration, compression, treatment,
               processing, marketing and transportation costs incurred in
               connection with the sale of such production. For royalty
               calculation purposes, Lessee shall never be required to adjust the
               sales proceeds to account for the purchaser’s costs or charges
               downstream of the point of sale.

       30.     All the leases contain, in an addendum, a clause at paragraph 17 that overrides

and modifies the royalty term above (the “Addendum Clause”). The Addendum Clause

provides:


               Royalties shall be paid without deductions for the costs of
               producing, gathering, storing, separating, treating, dehydrating,
               compressing, transporting, or otherwise making the oil and/or
               gas produced from the lease premises ready for sale or use. All
               oil and/or gas royalty shall be delivered free of cost into the tank
               or pipeline (for oil) and into the pipeline (for gas) with the
               exception of Lessor’s prorated share of taxes, measured by
               volume, on the oil and/or gas royalty.

(Ex. A, Addendum ¶ 17; Ex. B., Addendum ¶ 17 (emphasis added).)

                                                 8                                    PHDATA 5628181_1
  Case 4:21-cv-01215  Document
         Case 3:02-at-06000    8 Filed280
                            Document   on 05/12/21 in TXSDPage
                                           Filed 03/15/16  Page9 1481
                                                                 of 35 of 1639
                                                                            1481



       31.     In connection with the execution of these leases, the Elexco representatives, and

specifically Pete Strineka, attended a meeting prior to signing the leases at issue. The purpose of

the meeting was to have Mr. Strineka explain the meaning of each clause in the lease to Tim,

Brian, Theresa, and Nancy Tyler. At this meeting, Mr. Strineka told Tim, Brian, Theresa, and

Nancy Tyler that the Tylers were extremely lucky to have the Addendum Clause in their leases.

Mr. Strineka told the Tylers that the Addendum Clause explicitly prohibited the lessee from

deducting any post-production costs from their royalty payment and that the Tylers would

receive royalties based on 100% of the revenue from the sale of their gas.


       32.     Mr. Strineka made substantially identical—and therefore apparently scripted—

representations to the Mowrys about the meaning and significance of the Addendum Clause in

connection with the execution of their lease.


       33.     Each of the leases is assignable and states in pertinent part:


               The interest of either Lessor or Lessee hereunder may be assigned,
               devised or otherwise transferred in whole or in part, by area and/or
               by depth or zone, and the rights and obligations of the parties
               hereunder shall extend to their respective heirs, devisees,
               executors, administrators, successors and assigns.

       34.     On information and belief, CHK Appalachia was assigned or otherwise acquired

the Plaintiffs’ leases from Elexco.


       35.     Under Pennsylvania law, an oil and gas lessee is subject both to an implied duty

of fair dealing and an implied covenant to develop and operate the leasehold for the mutual

benefit of the lessor and lessee.




                                                 9                                    PHDATA 5628181_1
  Case 4:21-cv-01215   Document
         Case 3:02-at-06000     8 Filed280
                            Document    on 05/12/21  in TXSDPage
                                            Filed 03/15/16    Page
                                                                 101482
                                                                    of 35of 1639
                                                                              1482



       36.     The leases recognize that such implied covenants exist and are applicable to the

lessee. See, e.g., Ex. A at ¶ 11 (“Lessee’s obligations under this lease, whether express or

implied, shall be subject to all applicable laws, rules, regulations and orders of any governmental

authority having jurisdiction . . . . Lessee shall not be liable for breach of any provisions or

implied covenant of this lease when drilling, production or other operations are . . . prevented or

delayed [by enumerated causes].”).


       37.     Accordingly, the leases require CHK Appalachia to act in good faith and for the

mutual benefit of the lessor and lessee, taking the lessors’ interests into consideration. The

Chesapeake Defendants have flouted these obligations by improperly charging deductions for

post-production costs and appropriating benefits to themselves at the expense of Plaintiffs and all

members of the Class.


      CHESAPEAKE’S OPERATIONAL STRUCTURE AND IMPROPER DEDUCTIONS OF POST-
              PRODUCTION COSTS FROM ROYALTIES UNDER THE LEASES

       38.     CHK, through its wholly-owned subsidiary CHK Appalachia, owns interests in

leases covering tens of thousands of acres in the Marcellus region and, through its wholly owned

subsidiary CEML, markets gas it produces from the lands it has under lease. Among other

things, CHK represents in filings with the Securities and Exchange Commission that it owns or

controls businesses that allow it to extract gas from the Marcellus shale and, ultimately, sell the

gas into lucrative citygate markets at the end of interstate pipelines. See, e.g., CHK 2014 Report

on Form 10-K at 1, 11-12 (available for viewing and downloading at

http://www.chk.com/investors/financial-information).


       39.     CHK has stated repeatedly that it sells Marcellus gas into lucrative citygate

markets by virtue of owning firm interstate pipeline capacity contracts.

                                                 10                                    PHDATA 5628181_1
  Case 4:21-cv-01215   Document
         Case 3:02-at-06000     8 Filed280
                            Document    on 05/12/21  in TXSDPage
                                            Filed 03/15/16    Page
                                                                 111483
                                                                    of 35of 1639
                                                                              1483



       40.      CHK controls its gas production and sales operations as an integrated business

entity, reporting revenues from the subsidiary companies’ operations in the Marcellus region as

CHK’s in CHK’s annual report. See, e.g., id.; CHK 2014 Annual Report (available for viewing

and downloading at http://www.chk.com/investors/financial-information). CHK’s consolidated

financial statements include entities and subsidiaries in which it has a controlling financial

interest or in which it directly or indirectly holds more than 50% of the stock. See id. at 79. On

information and belief, CHK Appalachia’s and CEML’s revenues are included in CHK’s

consolidated financial statements.


        41.     CHK Appalachia holds CHK’s leasehold interests in the Marcellus region.


        42.     CHK Appalachia produces the gas from Plaintiffs’ properties. Following

extraction, the gas is treated, gathered, and delivered into an interstate pipeline, where it is ready

to be delivered to third parties for eventual sale.


        43.     CHK Appalachia’s affiliated company, CEML, another CHK subsidiary,

purportedly handles the marketing of the gas to third parties, selling the gas to them at an

interstate pipeline connection or further downstream. In addition, on information and belief,

CEML holds firm contracts for use of gathering system and pipeline transportation capacity. For

example, CEML’s pipeline capacity contract on Tennessee Gas Pipeline’s 300 line allows CHK

to transport gas to NYC citygate. See, e.g., Federal Energy Regulatory Commission: Order

Issuing Certificate and Approving Abandonment, issued May 29, 2012 re: Tennessee Gas

Pipeline Company LLC at 4 ¶ 6, 5¶ 8, 11 ¶¶ 27, 28, and 13 ¶ 32 (available for viewing and

downloading at http://www.ferc.gov/EventCalendar/Files/20120529165448-CP11-161-000.pdf).




                                                  11                                   PHDATA 5628181_1
  Case 4:21-cv-01215   Document
         Case 3:02-at-06000     8 Filed280
                            Document    on 05/12/21  in TXSDPage
                                            Filed 03/15/16    Page
                                                                 121484
                                                                    of 35of 1639
                                                                              1484



        44.     CEML generates an increasingly large percentage of CHK’s revenues and, on

information and belief, profits. CEML’s revenues have increased from approximately $3 billion

to approximately $12 billion between 2010 and 2014. See CHK 2014 Annual Report (available

for viewing and downloading at http://www.chk.com/investors/annual-report/financial-review).

This increase comes despite the fact that CHK sold substantially all of its gas gathering assets in

a series of transactions between June 8, 2012 and December 11, 2012. Thus, even as CHK

divested its gas gathering systems, its revenues generated from gathering, marketing, and

compression increased.


        45.     CHK Appalachia pays royalties to Plaintiffs and those similarly situated starting

from an alleged weighted average sales price (“WASP”) that is purportedly calculated from sales

to third parties at downstream locations served by the interstate pipeline.


        46.     However, the royalty statements provided by CHK Appalachia to Plaintiffs reflect

that CHK takes deductions for various purported post-production services notwithstanding the

lease and addendum terms, and the landmen’s statements about the meaning of those terms, as

though the sale of gas to unaffiliated third parties occurs at the wellhead, before it is delivered

into the gathering system that later feeds into the interstate pipeline where CEML sells the gas to

third parties. These deductions have been and, unless enjoined, will be unjustly charged against

the royalty payments due to Plaintiffs and the members of the Class.


        47.     These deductions are improper because they are expressly disallowed by the

leases. Pursuant to the Addendum Clause, CHK Appalachia is obligated to deliver gas for sale

free of cost to the Plaintiffs.




                                                  12                                   PHDATA 5628181_1
    Case 4:21-cv-01215   Document
           Case 3:02-at-06000     8 Filed280
                              Document    on 05/12/21  in TXSDPage
                                              Filed 03/15/16    Page
                                                                   131485
                                                                      of 35of 1639
                                                                                1485



        48.    The Plaintiffs’ lease forms, like those of other similarly situated lessors, contain

specific, standard language governing the calculation of royalties. The standard form leases

require the lessee to calculate royalties based on the sales proceeds it receives.


        49.    The leases contain standard language contemplating downstream sales to third

parties, obligating the lessee to pay royalties based on “the sales proceeds actually received by

Lessee.” The leases do not permit CHK Appalachia to limit royalties artificially by using the

expedient of transferring gas to an affiliate such as CEML or otherwise calculating royalties on

any basis other than the actual gross sale proceeds received upon sale of the gas to a third party

in an arm’s length transaction at the point of such sale.


        50.    Moreover, when read in conjunction with the royalty provisions, the Addendum

Clauses in the leases preclude Chesapeake from deducting any post-production costs.


        51.    Expressly altering and superseding the post-production deduction language in the

royalty provision,3 the Addendum Clause provides that the royalties “shall be paid without

deductions for the costs of producing, gathering, storing, separating, treating, dehydrating,

compressing, transporting, or otherwise making the . . . gas produced from the lease premises

ready for sale or use.” (Ex. A, Addendum ¶ 17 (emphasis added).)




3
  The lease addendum provides that “[i]n the event of a conflict between a provision contained in
this Addendum and a provision contained in the Lease, the provision contained in this addendum
prevails.” Ex. A. at ¶ 1(a).




                                                 13                                   PHDATA 5628181_1
    Case 4:21-cv-01215   Document
           Case 3:02-at-06000     8 Filed280
                              Document    on 05/12/21  in TXSDPage
                                              Filed 03/15/16    Page
                                                                   141486
                                                                      of 35of 1639
                                                                                1486



        52.    Further, the Addendum Clause provides that the “gas royalty shall be delivered

free of cost into the . . . pipeline (for gas), with the exception of Lessor’s prorated share of taxes,

measured by volume, on the . . . gas royalty.” Id. (emphasis added).


        53.    Thus, by the express terms of the leases, CHK Appalachia may not take any

deductions for post-production services.


        54.    On information and belief, CHK Appalachia transfers title to the gas from

Plaintiffs’ properties to its affiliated marketing company CEML before it is sold in an arm’s

length transaction at the interstate pipeline (or further downstream).


        55.    CHK Appalachia tells lessors that it transfers title to the gas to CEML at the

wellhead; however, upon information and belief—and as the Pennsylvania Attorney General has

alleged in a recently-filed Unfair Trade Practices enforcement action4 against CHK and related

companies—internal Chesapeake documents and contracts show that the transfer of title actually

takes place in the interstate pipeline, where CEML sells the gas (generally at or near a citygate).

A copy of a typical letter in which Chesapeake makes this misrepresentation to lessors is

attached hereto as Exhibit E.




4
  The Attorney General’s lawsuit against the Chesapeake companies, filed December 9, 2015, is
styled Commonwealth v. Chesapeake Energy Corp., No. 2015IR0069 (Bradford Co. Ct.
Common Pleas).




                                                  14                                   PHDATA 5628181_1
  Case 4:21-cv-01215   Document
         Case 3:02-at-06000     8 Filed280
                            Document    on 05/12/21  in TXSDPage
                                            Filed 03/15/16    Page
                                                                 151487
                                                                    of 35of 1639
                                                                              1487



       56.     Moreover, as the letter and Chesapeake’s own conduct reflects, there is no

commercial market at the wellhead. Rather, the first commercial market exists in the interstate

pipeline system.


       57.     Accordingly, for purposes of the lease’s royalty provision and Addendum Clause,

the gas is not sold at the wellhead. It is sold in the interstate pipeline system.


       58.     Despite these facts, CHK Appalachia has deducted purported post-production

costs for gathering, compression, and transportation against the royalty payments to Plaintiffs

and the members of the Class.


       59.     By letter dated September 16, 2015, counsel for the Tylers and their partnerships

wrote to CHK Appalachia to challenge the improper deductions, which, as of May 2015, were

approximately $500,000. See September 16, 2015 Memorandum from Aaron Hovan to

Chesapeake, attached hereto as Exhibit F.


       60.     CHK Appalachia refused to correct its breach of the lease. Instead, CHK

Appalachia claims that it is permitted to take the deductions notwithstanding the Addendum

Clause because, it claims, the gas is marketable at the wellhead. It then claims that any costs

incurred between the wellhead and the ultimate point of sale are post-production costs permitted

by the Addendum Clause because the gas is purportedly ready for sale at the wellhead. See

October 16, 2015 letter from CHK counsel Gregory Miller to Aaron Hovan, a copy of which is

attached hereto as Exhibit G.


       61.     However, CHK Appalachia’s reading of the lease renders the Addendum Clause

meaningless. It also reads the language stating that the lessee must deliver the gas to the pipeline

free of cost out of the Addendum Clause by claiming that the “pipeline” is the “gathering

                                                  15                                 PHDATA 5628181_1
  Case 4:21-cv-01215   Document
         Case 3:02-at-06000     8 Filed280
                            Document    on 05/12/21  in TXSDPage
                                            Filed 03/15/16    Page
                                                                 161488
                                                                    of 35of 1639
                                                                              1488



pipeline,” not the interstate transmission pipeline where the gas is actually sold to third parties.

(See Ex. F at 2 ¶ 3.) The interpretation offered by CHK, under which CHK generates revenue

for itself and its subsidiaries at the expense of the landowners, cannot be, and is not, what the

landowners intended when signing leases including the Addendum Clause guaranteeing that they

would receive royalties without deductions for gas produced from their properties and sold to

third parties.


        62.       Contrary to CHK Appalachia’s claims, there is no readily available commercial

market for gas at the wellhead. To the contrary, Chesapeake’s business—and the business of its

subsidiaries CHK Appalachia and CEML—is predicated on producing gas at the wellhead and

then selling the gas downstream of the wellhead to unaffiliated third parties at the highest

possible price.


        63.       Accordingly, CHK Appalachia breached the lease terms expressly requiring that it

pay royalties free from deductions.


  CHESAPEAKE’S SCHEME RESULTS IN NEGATIVE ROYALTY PAYMENTS TO PLAINTIFFS AT A
                       HIGH POINT IN THE DECLINE CURVE

        64.       CHK Appalachia’s royalty statements demonstrate that Chesapeake is

manipulating the Addendum Clause to benefit itself at the expense of Plaintiffs and the members

of the Class.


        65.       For example, the Mowrys’ December 31, 2015 royalty statement reflects

transactions for which the post-production deductions taken by Chesapeake exceed the

Mowrys’ royalties in their entirety, resulting in negative royalties that Chesapeake “zeroes out”




                                                  16                                   PHDATA 5628181_1
  Case 4:21-cv-01215   Document
         Case 3:02-at-06000     8 Filed280
                            Document    on 05/12/21  in TXSDPage
                                            Filed 03/15/16    Page
                                                                 171489
                                                                    of 35of 1639
                                                                              1489



or offsets against the Mowrys’ royalties on other transactions. A copy of the Mowrys’ December

31, 2015 royalty statement is attached hereto as Exhibit H.


       66.     For the “Angie 5H” well, the statement reflects a net payment of $2.45 to the

Mowrys. There were sales of 48297.62 Mcf of gas produced from the well in October 2015

(production date 1015), of which 28.37 Mcf were attributable to the Mowrys’ interest, at a price

of $1.211 per Mcf, for a gross value of $34.35. The deductions for transportation ($23.36),

gathering ($10.94 + $2.06), and compression ($1.02 + $0.67) total $38.05, eclipsed the gross

value of the gas and resulted in zero royalties for the Mowrys for that month of production.


       67.     Similarly, the royalty statement for Tyler 5 Family LP reflects transactions for

which the post-production deductions taken by Chesapeake exceed the royalty entirely, resulting

in negative royalties that Chesapeake offsets against the Tyler Family 5 LP royalties on other

transactions. A copy of the Tyler 5 Family LP December 31, 2015 royalty statement is attached

hereto as Exhibit I.


       68.     For the “Angie 5H” well, the Tyler 5 Family LP December 31, 2015 statement

reflects a credit for fuel attributable to October 2012 production (production date 1012) of

$71.82. All values for October 2015 production (production date 1015) were “zeroed” out by

CHK Appalachia in light of deductions taken for post-production processing. Therefore, despite

producing and selling significant volumes of gas from the property, CHK Appalachia only paid

the Tyler 5 Family LP $71.82 attributable to a fuel charge from October 2012. There were no

royalties paid on the October 2015 production. If CHK Appalachia had not “graciously” zeroed

out the net deduction charges, the net royalty to the Tyler 5 Family LP would have been




                                                17                                  PHDATA 5628181_1
  Case 4:21-cv-01215   Document
         Case 3:02-at-06000     8 Filed280
                            Document    on 05/12/21  in TXSDPage
                                            Filed 03/15/16    Page
                                                                 181490
                                                                    of 35of 1639
                                                                              1490



negative, effectively calling for the lessor to pay the lessee for extracting and selling gas from the

property.


       69.     Similarly, for the Tim & Terri Family LP, the December 31, 2015 statement

reflects a payment of $71.81 for production from the “Angie 5H” well for October 2015

production (production date 1015). That $71.81 is a credit for fuel attributable to the October

2012 production from the well (production date 1012). All values for October 2015 production

(production date 1015) are “zeroed” out by CHK Appalachia in light of deductions taken for

post-production processing. Therefore, despite producing and selling significant volumes of gas

from the property, CHK Appalachia only paid the Tim & Terri Family LP $71.81 attributable to

a fuel charge from October 2012. There were no royalties paid on the October 2015 production.

If CHK Appalachia had not zeroed out the net deduction charges, the net royalty to the Tim &

Terri Family LP would have been negative. A copy of the Tim & Terri Family LP December 31,

2015 royalty statement is attached hereto as Exhibit J.


       70.     The timing of these negative payments is particularly damaging in light of the

declining nature of gas well production. A typical Marcellus shale well produces progressively

less over its lifetime. The rate at which production drops over the life of the well is called the

“decline curve.” The fact that the negative royalties are being paid in the Plaintiffs’ wells’ initial

years is significant, as those years are the most significant producing years of any shale well.

According to Rusty Braziel, a “steep rate of decline is simply the modus operandi of shale




                                                 18                                    PHDATA 5628181_1
    Case 4:21-cv-01215   Document
           Case 3:02-at-06000     8 Filed280
                              Document    on 05/12/21  in TXSDPage
                                              Filed 03/15/16    Page
                                                                   191491
                                                                      of 35of 1639
                                                                                1491



development and can be expected to be somewhere in the 50-90% range in the first year”5 and

continuing thereafter. See Rusty Braziel “The Domino Effect” at 156.6 Steep decline curves of

Marcellus shale wells mean that paying negative royalties in the beginning years of a well’s

production is much more damaging than in its later years, when production is dramatically lower.


        71.     The Tylers are in their third year of production on their wells.


        72.     Thus, it is not fair to say that one month in the thirty-year life of a well is like any

other month. Although each well is different, negative or low price production in the first three

years of a well’s life is generally much more damaging than negative or low price production

near the end of a well’s life.


        73.     An example of negative royalties follows. The prices and deductions on the Tyler

5 Family LP interest for October 2015 demonstrate that the deductions for purported post-

production services exceed the value of the gas at the stated $1.211 per Mcf stated by CHK

Appalachia:




5
 The Chesapeake Defendants have “paid” negative royalties to many lessors who are in the first
or second year of their production profile in 2015, including lessors in at least the Franclaire
East, Franclaire West, Roundwood, Lasher East, Lasher West, Lasher Southwest, Lasher
Southeast, Lasher South, McGavin East, McGavin West, O’Dowd South, and Rosiemar pooled
units.
6
 See also http://extension.psu.edu/natural-resources/natural-gas/webinars/pennsylvania-royalty-
calculations-and-decline-curves/pennsylvania-royalty-calculations-and-decline-curves-
powerpoint-april-17-2014.




                                                   19                                    PHDATA 5628181_1
             Case 4:21-cv-01215   Document
                    Case 3:02-at-06000     8 Filed280
                                       Document    on 05/12/21  in TXSDPage
                                                       Filed 03/15/16    Page
                                                                            201492
                                                                               of 35of 1639
                                                                                         1492


                                              Owner
Owner                                         Volume                      Owner                    Price per
Number         Lease Name      Deduction       (Mcf)     Owner Gross     Deduction    Owner Net       Mcf



   60197      ANGIE 5H            Fuel          985.77        1,193.82       -33.88     1,227.70       1.34    Costs per Mcf
   60197      ANGIE 5H         Gathering          0.00            0.00       379.95      -379.95        0.39
   60197      ANGIE 5H       Compression          0.00            0.00        23.12       -23.12        0.02
   60197      ANGIE 5H       Compression          0.00            0.00        35.63       -35.63        0.04
   60197      ANGIE 5H         Gathering          0.00            0.00        71.52       -71.52        0.07
                                                                                                           7
   60197      ANGIE 5H       Transportation       0.00            0.00       811.89      -811.89       0.82
                                                                                                       -0.13   Net price per Mcf




   60197      CLAUDE 6H           Fuel        1,018.66        1,235.36       -10.56     1,245.92       1.32    Costs per Mcf
   60197      CLAUDE 6H        Gathering          0.00            0.00       385.58      -385.58        0.38
   60197      CLAUDE 6H      Compression          0.00            0.00        23.46       -23.46        0.02
   60197      CLAUDE 6H      Compression          0.00            0.00        36.16       -36.16        0.04
   60197      CLAUDE 6H        Gathering          0.00            0.00        72.59       -72.59        0.07
   60197      CLAUDE 6H      Transportation       0.00            0.00       823.95      -823.95        0.81
                                                                                                       -0.10   Net price per Mcf




   60197      TYLER SUS 4H        Fuel          188.80         228.36         -1.34      229.70        1.31    Costs per Mcf
   60197      TYLER SUS 4H     Gathering          0.00            0.00        71.11       -71.11        0.38
   60197      TYLER SUS 4H   Compression          0.00            0.00         4.33        -4.33        0.02
   60197      TYLER SUS 4H   Compression          0.00            0.00         6.67        -6.67        0.04
   60197      TYLER SUS 4H     Gathering          0.00            0.00        13.38       -13.38        0.07
   60197      TYLER SUS 4H   Transportation       0.00            0.00       151.91      -151.91        0.80




         7
           It is notable that transportation charges assessed to landowners are $0.82/Mcf. An Mcf is
         roughly equivalent to a Dth. Since CHK pays .4450 per Dth to get to citygate, it is unclear how
         charging almost double that amount is fair or reasonable. See, e.g., Federal Energy Regulatory
         Commission: Order Issuing Certificate and Approving Abandonment, issued May 29, 2012 re:
         Tennessee Gas Pipeline Company LLC at 4 ¶ 6, 5¶ 8, 11 ¶¶ 27, 28, and 13 ¶ 32 (available for
         viewing and downloading at http://www.ferc.gov/EventCalendar/Files/20120529165448-CP11-
         161-000.pdf).




                                                         20                                        PHDATA 5628181_1
           Case 4:21-cv-01215   Document
                  Case 3:02-at-06000     8 Filed280
                                     Document    on 05/12/21  in TXSDPage
                                                     Filed 03/15/16    Page
                                                                          211493
                                                                             of 35of 1639
                                                                                       1493


                                                Owner
Owner                                           Volume                    Owner                  Price per
Number        Lease Name         Deduction       (Mcf)     Owner Gross   Deduction   Owner Net      Mcf

                                                                                                     -0.10   Net price per Mcf




                   74.     CHK charges these claimed expenses for post-production services out of

         landowners’ royalties despite the lease terms, thereby generating revenue for the Chesapeake

         Defendants at the expense of the landowners.


                   75.     The resulting situation, in which CHK generates revenue for itself and its

         subsidiaries at the expense of the landowners, is contrary to the lease terms. Moreover, it cannot

         be, and is not, what the parties intended when signing leases including the Addendum Clause at

         issue. This clause guarantees, as landmen like Mr. Strineka plainly and repeatedly stated, that

         lessors would receive royalties without cost for gas produced from their properties and sold to

         third parties.


          THE CHESAPEAKE DEFENDANTS SUDDENLY CEASE COOPERATING WITH THE AUDIT GROUP
                AFTER THE AUDIT REVEALS THAT THEY HAD MISCALCULATED ROYALTIES

                   76.     After reviewing the relevant corporate records, the Audit Group’s auditor, Mary

         Ellen Denomy, prepared an audit letter exception report dated March 22, 2015, and a corrected

         audit letter exception report dated May 13, 2015, that demonstrated that the Chesapeake

         Defendants had miscalculated royalty payments to the Tylers and those similarly situated. These

         royalty payments are incorrect even if one assumes that the Chesapeake Defendants’ position

         with regard to deductions of post-production costs from royalty payments were correct, which it

         is not.




                                                           21                                    PHDATA 5628181_1
  Case 4:21-cv-01215   Document
         Case 3:02-at-06000     8 Filed280
                            Document    on 05/12/21  in TXSDPage
                                            Filed 03/15/16    Page
                                                                 221494
                                                                    of 35of 1639
                                                                              1494



       77.     The audit exception letter identified that the Chesapeake Defendants were

underreporting gas volumes and prices, among other things.


       78.     The Chesapeake Defendants’ miscalculations resulted in underpayment of

royalties to the members of the Audit Group.


       79.     When the Audit Group sought a response to the audit letter exception reports, the

Chesapeake Defendants refused. In a letter dated January 25, 2016, CHK took the position that,

in light of the Attorney General’s lawsuit against the Chesapeake Defendants, referenced supra

at ¶ 55, it would no longer cooperate and would not respond to the audit letter exception reports

prepared on behalf of the Tylers and those similarly situated. See January 25, 2016 letter from

Steve Armstrong to M.E. Denomy, attached hereto as Exhibit K.


       80.     Accordingly, the Chesapeake Defendants have not corrected the underpayment of

royalties exposed by the Audit Group and Ms. Denomy’s exception reports and refuse to do so.


                          CLASS DEFINITIONS AND CLASS ALLEGATIONS

       81.     Plaintiffs bring Counts I through VII of this action pursuant to Federal Rule of

Civil Procedure 23(b)(3) on behalf of themselves and on behalf of other lessors who entered into

any lease in the Marcellus Region in which the Chesapeake Defendants have an interest or have

acquired an interest that states: “Royalties shall be paid without deductions for the costs of

producing, gathering, storing, separating, treating, dehydrating, compressing, transporting, or

otherwise making the oil and/or gas produced from the lease premises ready for sale or use. All

oil and/or gas royalty shall be delivered free of cost into the tank or pipeline (for oil) and into the

pipeline (for gas) with the exception of Lessor’s prorated share of taxes, measured by volume, on

the oil and/or gas royalty.” This is the “Deductions Class.”


                                                  22                                    PHDATA 5628181_1
  Case 4:21-cv-01215   Document
         Case 3:02-at-06000     8 Filed280
                            Document    on 05/12/21  in TXSDPage
                                            Filed 03/15/16    Page
                                                                 231495
                                                                    of 35of 1639
                                                                              1495



         82.   In addition, Plaintiffs bring Count VIII of this action pursuant to Federal Rule of

Civil Procedure 23(b)(2) for declaratory and injunctive relief on behalf of themselves and all

other lessors who hold an interest in a lease in which the Chesapeake Defendants have an interest

or have acquired an interest in the Marcellus Region. This is the “Negative Royalty Class.”


         83.   Further, Plaintiffs bring Count IX of this action pursuant to Federal Rule of Civil

Procedure 23(b)(2) and (b)(3) for declaratory relief on behalf of themselves and all other lessors

who are members of the Audit Group. This is the “Audit Group Class.”


         84.   Each such Class is so numerous that joinder of separate claims on behalf of all

members is impracticable. The Chesapeake Defendants’ conduct affects hundreds of lessors

with leases in which the Chesapeake Defendants have or have acquired an interest.


         85.   There are questions of law or fact common to each class. The Chesapeake

Defendants’ course of conduct affects Plaintiffs and other situated lessors similarly, and whether

that conduct violates and breaches the requirements of the leases is a question common to the

class.


         86.   With respect to Counts I through VII and Count IX, common questions

predominate over any individual issues, since CHK Appalachia is subject to standard lease terms

that apply equally to all members of the Class. These predominating questions include, without

limitation, whether CHK Appalachia has complied with its obligations to pay royalties based on

the terms of the leases, whether it has engaged in a scheme with affiliate companies that

depresses Class members’ royalty payments, and whether Class members have been damaged by

its conduct.




                                                23                                  PHDATA 5628181_1
  Case 4:21-cv-01215   Document
         Case 3:02-at-06000     8 Filed280
                            Document    on 05/12/21  in TXSDPage
                                            Filed 03/15/16    Page
                                                                 241496
                                                                    of 35of 1639
                                                                              1496



          87.   The claims or defenses of the representative parties are typical of the claims or

defenses of the Class. Plaintiffs are not subject to any unique defenses that would render their

claims atypical of those of other Class members.


          88.   The Plaintiffs will adequately protect the interests of the Classes.


          89.   Plaintiffs’ counsel has significant class action experience and will fairly and

adequately protect the interests of the Classes.


          90.   With regard to the Deductions Class, each Class member has a lease agreement

containing an Addendum Clause that is substantially similar to that signed by the Plaintiffs.


          91.   With respect to Count VIII, Count IX, and Count X each Class member has a

lease agreement in which the Chesapeake Defendants have or have acquired an interest. The

Chesapeake Defendants have acted or refused to act on grounds identical to all Class members,

thus making classwide injunctive and declaratory relief appropriate.


          92.   Plaintiffs anticipate that there will be no difficulties in managing this case as a

class action. Class members can be ascertained from the Chesapeake Defendants’ records and

damages can be calculated based on those records.


                                         CAUSES OF ACTION

                     COUNT I—BREACH OF CONTRACT – CHK APPALACHIA
                          (ON BEHALF OF THE DEDUCTIONS CLASS)

          93.   Plaintiffs incorporate the allegations of paragraphs 1-92 above as if fully set forth

herein.




                                                   24                                  PHDATA 5628181_1
  Case 4:21-cv-01215   Document
         Case 3:02-at-06000     8 Filed280
                            Document    on 05/12/21  in TXSDPage
                                            Filed 03/15/16    Page
                                                                 251497
                                                                    of 35of 1639
                                                                              1497



          94.    Plaintiffs and Class members own interests in leases, which are contracts pursuant

to which CHK Appalachia owed and owes royalties for the production and sale of Plaintiffs’ and

Class members’ natural gas.


          95.    In breach of the lease terms, CHK Appalachia improperly took deductions for

purported post-production services in contravention of the express terms of the leases.


          96.    Plaintiffs and Class members have been damaged as a result of CHK

Appalachia’s breach of the lease agreements and are entitled to judgment against it in the amount

of their actual damages, statutory or other interest at the maximum allowable rate, attorneys’

fees, costs of suit, and any further relief the Court deems appropriate.


            COUNT II – BREACH OF 1) IMPLIED DUTIES OF GOOD FAITH AND
FAIR DEALING AND 2) IMPLIED COVENANT TO DEVELOP AND OPERATE LEASEHOLD FOR THE
          MUTUAL BENEFIT OF THE LESSOR AND LESSEE – CHK APPALACHIA
                      (ON BEHALF OF THE DEDUCTIONS CLASS)

          97.    Plaintiffs incorporate the allegations of paragraphs 1-96 above as if fully set forth

herein.


          98.    At all times, CHK Appalachia owed Plaintiffs and other Class members an

implied duty of good faith and fair dealing.


          99.    At all times, CHK Appalachia owed Plaintiffs and other Class members an

implied duty to operate the leasehold for the mutual benefit of lessors and lessees, including

Plaintiffs and other Class members.


          100.   CHK Appalachia’s conduct taking improper deductions and using affiliate

companies to enhance CHK’s profits and revenues at the expense of Plaintiffs and those

similarly situated breached the duty of good faith and fair dealing and the duty to operate the

                                                  25                                   PHDATA 5628181_1
  Case 4:21-cv-01215   Document
         Case 3:02-at-06000     8 Filed280
                            Document    on 05/12/21  in TXSDPage
                                            Filed 03/15/16    Page
                                                                 261498
                                                                    of 35of 1639
                                                                              1498



leases for the mutual benefit of Plaintiffs that CHK Appalachia owed Plaintiffs and Class

members as a matter of law.


       101.     CHK Appalachia’s reported sales of gas that yielded negative royalties to

Plaintiffs demonstrate that it is not operating the leased premises for the mutual benefit of the

Plaintiffs. In doing so, CHK Appalachia is producing and selling gas from Plaintiffs’ properties

in a manner that benefits the Chesapeake Defendants giving the Plaintiffs no benefit whatsoever.


       102.     Accordingly, Plaintiffs and Class members are entitled to their actual damages,

statutory or other interest at the maximum allowable rate, attorneys’ fees, costs of suit, and any

further relief the Court deems appropriate.


                         COUNT III – BREACH OF THE PENNSYLVANIA
                         OIL AND GAS LEASE ACT – CHK APPALACHIA
                           (ON BEHALF OF THE DEDUCTIONS CLASS)

       103.     Plaintiffs incorporate the allegations of paragraphs 1-102 above as if fully set

forth herein.


       104.     CHK Appalachia’s conduct violates the Pennsylvania Oil and Gas Lease Act, 58

P.S. § 33 (“OGLA”), to the extent that it has resulted in Plaintiffs receiving less than the

minimum 12.5% royalty guaranteed by law. This is particularly evident where deductions taken

against royalties meet or exceed the price used to calculate royalty payments. Put differently, no

law, statute, or dictionary definition can reasonably be construed to reconcile “guaranteed

minimum royalty” with the zero royalty paid by CHK. “Guaranteed Minimum” is simply

mathematically incompatible with zero or a negative figure.


       105.     In addition, because deductions of post-production costs are prohibited by the

leases, CHK initially violated the OGLA in every instance in which it assessed deductions

                                                 26                                   PHDATA 5628181_1
  Case 4:21-cv-01215   Document
         Case 3:02-at-06000     8 Filed280
                            Document    on 05/12/21  in TXSDPage
                                            Filed 03/15/16    Page
                                                                 271499
                                                                    of 35of 1639
                                                                              1499



against royalty payments and paid less than a 12.5% royalty on the gross sale proceeds. CHK

further violated the OGLA in all instances in which it later offset a “negative royalty” from one

month against a subsequent royalty payment. In such situations, each offset constitutes an

additional violation of the OGLA to the extent it results in the royalty payment against which it

is charged to fall below the 12.5% guaranteed minimum royalty.


       106.     Accordingly, Plaintiffs and Class members are entitled to their actual damages,

statutory or other interest at the maximum allowable rate, attorneys’ fees, costs of suit, and any

further relief the Court deems appropriate.


   COUNT IV – TORTIOUS INTERFERENCE WITH EXISTING CONTRACT – CHK AND CEML
                      (ON BEHALF OF THE DEDUCTIONS CLASS)

       107.     Plaintiffs incorporate the allegations of paragraphs 1-106 above as if fully set

forth herein.


       108.     Plaintiffs’ leases represent contracts with CHK Appalachia.


       109.     Without privilege or justification, CHK and CEML have acted purposefully to

harm this contractual relationship by requiring CHK Appalachia to deduct purported post-

production costs from royalty payments to Plaintiffs, thereby causing CHK Appalachia to breach

the contracts, resulting in monetary damages and depriving Plaintiffs of the benefit of the

bargains represented by the leases while improperly benefitting CHK and CEML.


       110.     CHK Appalachia breached the existing contract as a result of interference by

CHK and CEML.




                                                 27                                   PHDATA 5628181_1
  Case 4:21-cv-01215   Document
         Case 3:02-at-06000     8 Filed280
                            Document    on 05/12/21  in TXSDPage
                                            Filed 03/15/16    Page
                                                                 281500
                                                                    of 35of 1639
                                                                              1500



       111.     Accordingly, Plaintiffs and Class members are entitled to their actual damages,

statutory or other interest at the maximum allowable rate, attorneys’ fees, costs of suit, and any

further relief the Court deems appropriate.


                      COUNT V – UNJUST ENRICHMENT – CHK AND CEML
                          (ON BEHALF OF THE DEDUCTIONS CLASS)

       112.     Plaintiffs incorporate the allegations of paragraphs 1-111 above as if fully set

forth herein.


       113.     CHK and CEML have received benefits from Plaintiffs by accepting and realizing

revenues from the sale of gas on which CHK Appalachia improperly charged post-production

costs against the royalties due to Plaintiffs and members of the Class.


       114.     Under the circumstances, it would be unjust to permit CHK and CEML to retain

such benefits without payment of value to Plaintiffs and all Class members.


       115.     Accordingly, Plaintiffs and all Class members are entitled to their actual damages,

statutory or other interest at the maximum allowable rate, attorneys’ fees, costs of suit, and any

further relief the Court deems appropriate.


                  COUNT VI – MONEY HAD AND RECEIVED – ALL DEFENDANTS
                         (ON BEHALF OF THE DEDUCTIONS CLASS)

       116.     Plaintiffs incorporate the allegations of paragraphs 1-115 above as if fully set

forth herein.


       117.     Chesapeake has compelled Plaintiffs and members of the Class to pay money for

purported post-production services by deducting that money from their royalties on natural gas

extracted and sold from their properties.


                                                 28                                   PHDATA 5628181_1
  Case 4:21-cv-01215   Document
         Case 3:02-at-06000     8 Filed280
                            Document    on 05/12/21  in TXSDPage
                                            Filed 03/15/16    Page
                                                                 291501
                                                                    of 35of 1639
                                                                              1501



       118.     Chesapeake has appropriated the benefit of these payments and the natural gas

under circumstances in which the Defendants know that they are not entitled to such benefits,

particularly in light of the Addendum Clause in the leases of Plaintiffs and members of the Class.


       119.     Chesapeake has given insufficient consideration for the benefits it received from

Plaintiffs and members of the Class, most particularly observable when the purported post-

production services resulted in negative royalties to them.


       120.     Accordingly, Plaintiffs and all Class members are entitled to return of the money

deducted by CHK Appalachia, statutory or other interest at the maximum allowable rate,

attorneys’ fees, costs of suit, and any further relief the Court deems appropriate


                      COUNT VII – INJUNCTIVE RELIEF – ALL DEFENDANTS
                          (ON BEHALF OF THE DEDUCTIONS CLASS)

       121.     Plaintiffs incorporate the allegations of paragraphs 1-120 above as if fully set

forth herein.


       122.     The Chesapeake Defendants continues to violate their obligations to Plaintiffs and

those similarly situated under their leases.


       123.     Unless the Chesapeake Defendants are ordered to desist from their practice of

benefitting CHK by improperly taking deductions of purported post-production expenses, the

Chesapeake Defendants will continue to cause harm to Plaintiffs and Class members.


       124.     The Chesapeake Defendants will suffer less harm if they are ordered to desist

from the practice of improperly taking deductions for purported post-production expenses

against the royalties owed to Plaintiffs and Class members under the express terms of the leases

than Plaintiffs and Class members will suffer if such improper practices are not enjoined.

                                                 29                                   PHDATA 5628181_1
  Case 4:21-cv-01215   Document
         Case 3:02-at-06000     8 Filed280
                            Document    on 05/12/21  in TXSDPage
                                            Filed 03/15/16    Page
                                                                 301502
                                                                    of 35of 1639
                                                                              1502



       125.     Enjoining the Chesapeake Defendants from continuing their practice of taking

improper deductions against Plaintiffs’ and Class members’ royalty payments will not harm the

public interest. To the contrary, it will advance the public interest by ensuring that the

Chesapeake Defendants comply with their legal obligations.


       126.     Plaintiffs and the Class members have no adequate remedy at law to prevent the

Chesapeake Defendants from continuing their practice of taking improper deductions for

purported post-production costs against their royalty payments.


          COUNT VIII – DECLARATORY AND INJUNCTIVE RELIEF – ALL DEFENDANTS
                     (ON BEHALF OF THE NEGATIVE ROYALTY CLASS)

       127.     Plaintiffs incorporate the allegations of paragraphs 1-126 above as if fully set

forth herein.


       128.     With regard to gas production, the Chesapeake Defendants’ lawyer represented

that, in accordance with the reasonable operator standard, “[m]any producers, including

Chesapeake, are curtailing or shutting-in production because of lower natural gas prices.” Ex. E.

However, the Chesapeake Defendants have blatantly disregarded and violated this principle.


       129.     In any transaction in which the Chesapeake Defendants’ costs meet or exceed the

price achieved for the gas, resulting in zero royalties or negative royalties for Plaintiffs and the

members of the Class, the Chesapeake Defendants are, by definition, violating their duty to

Plaintiffs and other Class members to conduct “prudent operations” and to act as a “prudent

operator” in the manner the Chesapeake Defendants’ lawyer represented by shutting in wells or

in any other way ceasing production when the costs of producing and selling gas meet or exceed

the obtainable sales price.



                                                  30                                   PHDATA 5628181_1
  Case 4:21-cv-01215   Document
         Case 3:02-at-06000     8 Filed280
                            Document    on 05/12/21  in TXSDPage
                                            Filed 03/15/16    Page
                                                                 311503
                                                                    of 35of 1639
                                                                              1503



       130.    Plaintiffs and members of the Class are entitled to a declaration pursuant to 28

U.S.C. § 2201 that the Chesapeake Defendants’ practice of extracting gas and selling gas from

Plaintiffs’ and the Class members’ properties in transactions in which their costs meet or exceed

the sales prices achieved violates the prudent operator duty and results in waste.


       131.    Unless the Chesapeake Defendants are ordered to desist from their practice of

violating the prudent operator duty by extracting gas from the properties of Plaintiffs and those

similarly situated and selling that gas in transactions in which their costs exceed the sales prices,

the Chesapeake Defendants will continue to cause harm to Plaintiffs and Class members by

selling gas from their properties without any compensation to Plaintiffs and Class members.


       132.    The Chesapeake Defendants will suffer less harm than Plaintiffs and Class

members if they are ordered to desist from their practice of violating the prudent operator duty

and committing waste by extracting gas from the properties of Plaintiffs and those similarly

situated and selling that gas in transactions in which their costs exceed the sales prices achieved.


       133.    Enjoining the Chesapeake Defendants from continuing their practice of violating

the prudent operator duty and committing waste by extracting gas from Plaintiffs’ and the Class

members’ properties for sale in transactions in which their costs exceed the sales prices achieved

will not harm the public interest. To the contrary, it will advance the public interest by ensuring

that the Chesapeake Defendants comply with their legal obligations.


       134.    Plaintiffs and the Class members have no adequate remedy at law to prevent the

Chesapeake Defendants from continuing their practice of violating the prudent operator duty and

committing waste by extracting gas from their properties and selling that gas in transactions in

which their costs exceed the sales prices achieved.


                                                 31                                   PHDATA 5628181_1
  Case 4:21-cv-01215   Document
         Case 3:02-at-06000     8 Filed280
                            Document    on 05/12/21  in TXSDPage
                                            Filed 03/15/16    Page
                                                                 321504
                                                                    of 35of 1639
                                                                              1504



                    COUNT IX – DECLARATORY RELIEF – ALL DEFENDANTS
                           (ON BEHALF OF AUDIT GROUP CLASS)

       135.     Plaintiffs incorporate the allegations of paragraphs 1-134 above as if fully set

forth herein.


       136.     The audit of the Chesapeake Defendants’ corporate records performed on behalf

of the Audit Group demonstrated that the Chesapeake Defendants’ miscalculated royalty

payments they did pay to Plaintiffs and those similarly situated by, among other things,

underreporting gas volumes and prices, resulting in underpayment of royalties to the members of

the Audit Group.


       137.     Plaintiffs and the Class are entitled to a declaration pursuant to 28 U.S.C. § 2201

that the Chesapeake Defendants have miscalculated and underpaid royalties to the members of

the Audit Group in breach of their leases as documented in the audit letter exception reports

prepared on behalf of the Audit Group.


       138.     Plaintiffs and the Class are further entitled to a declaration that the Chesapeake

Defendants owe Plaintiffs and the Class money damages as a consequence of their

miscalculation and underpayment of royalties as documented in the audit letter exception reports

prepared on behalf of the Audit Group.


                          COUNT X – ACCOUNTING – ALL DEFENDANTS
                               (ON BEHALF OF ALL CLASSES)

       139.     Plaintiffs incorporate the allegations of paragraphs 1-138 above as if fully set

forth herein.


       140.     In light of the Chesapeake Defendants’ inequitable conduct, including unjustly

enriching themselves at Plaintiffs’ expense, Plaintiffs and the members of the Classes are entitled

                                                 32                                   PHDATA 5628181_1
  Case 4:21-cv-01215   Document
         Case 3:02-at-06000     8 Filed280
                            Document    on 05/12/21  in TXSDPage
                                            Filed 03/15/16    Page
                                                                 331505
                                                                    of 35of 1639
                                                                              1505



to an accounting of all sales of gas, post-production charges, royalty payments, and revenues

derived from the sales of gas from their properties.


                                           JURY DEMAND

       Plaintiffs demand trial by jury on all counts for which a jury trial is permitted.


                                       REQUEST FOR RELIEF

       WHEREFORE, Plaintiffs, on behalf of themselves and members of the Classes, pray for

the following relief:


       a. An order certifying a Class of lessors who entered into any lease in the Marcellus

Region in which the Chesapeake Defendants have an interest or have acquired an interest that

states, in substance: “Royalties shall be paid without deductions for the costs of producing,

gathering, storing, separating, treating, dehydrating, compressing, transporting, or otherwise

making the oil and/or gas produced from the lease premises ready for sale or use. All oil and/or

gas royalty shall be delivered free of cost into the tank or pipeline (for oil) and into the pipeline

(for gas) with the exception of Lessor’s prorated share of taxes, measured by volume, on the oil

and/or gas royalty”;


       b. An order certifying a Rule 23(b)(2) Class of lessors who hold an interest in a lease in

the Marcellus Region in which Chesapeake has or has acquired an interest;


       c. An order certifying a Rule 23(b)(2) and/or Rule 23(b)(3) Class of lessors who are

members of the Audit Group;




                                                  33                                   PHDATA 5628181_1
  Case 4:21-cv-01215   Document
         Case 3:02-at-06000     8 Filed280
                            Document    on 05/12/21  in TXSDPage
                                            Filed 03/15/16    Page
                                                                 341506
                                                                    of 35of 1639
                                                                              1506



        d. A judgment awarding Plaintiffs and the Class their actual damages, punitive damages

on Counts II and IV, statutory or other interest at the maximum allowable rate, attorneys’ fees,

and costs of suit;


        e. An order enjoining the Chesapeake Defendants from engaging in further wrongful

conduct regarding improper assessment of post-production costs;


        f. With regard to the Negative Royalty Class, a declaratory judgment pursuant to 28

U.S.C. § 2201 that the Chesapeake Defendants’ practice of extracting gas from Class members’

properties for sale in transactions in which costs exceed price violates the prudent operator

standard and constitutes waste;


        g. With regard to the Negative Royalty Class, an order enjoining the Chesapeake

Defendants from engaging in violations of the prudent operator standard or committing waste by

extracting or selling gas from Class members’ properties for sale in transactions in which costs

exceed price;


        h. With regard to the Audit Group Class, a declaratory judgment pursuant to 28 U.S.C.

§ 2201 that the Chesapeake Defendants have miscalculated and underpaid royalties to the

members of the Class;


        i. With regard to the Audit Group Class, a declaratory judgment pursuant to 28 U.S.C.

§ 2201 that the Chesapeake Defendants owe Plaintiffs and the Class money damages as a

consequence of their miscalculation and underpayment of royalties to members of the Class;


        j. An order requiring an accounting; and




                                                34                                   PHDATA 5628181_1
Case 4:21-cv-01215   Document
       Case 3:02-at-06000     8 Filed280
                          Document    on 05/12/21  in TXSDPage
                                          Filed 03/15/16    Page
                                                               351507
                                                                  of 35of 1639
                                                                            1507



    k. Any further relief the Court deems appropriate.


                                           /s/ Ira Neil Richards
                                         Ira Neil Richards (PA 50879)
                                         Kenneth I. Trujillo (PA 46520)
                                         Arleigh P. Helfer III (PA 84427)
                                         Schnader Harrison Segal & Lewis LLP
                                         1600 Market Street, Suite 3600
                                         Philadelphia, PA 19103
                                         Voice: (215) 751-2000
                                         Fax: (215) 751-2205
                                         irichards@schnader.com

                                         Aaron D. Hovan (PA 308412)
                                         154 Warren Street
                                         Tunkhannock, PA 18657
                                         (570) 836-3121

                                         Richard L. Huffsmith (PA 78895)
                                         28 East Tioga Street
                                         Tunkhannock, PA 18657
                                         (570) 240-4400

                                         Richard D. Greenfield (PA 9669)
                                         Greenfield & Goodman LLC
                                         250 Hudson Street, 8th Floor
                                         New York, NY 10013
                                         (917) 495-4446
                                         whitehatrdg@earthlink.net

                                         Counsel for Plaintiffs
                                           and the Classes




                                           35                              PHDATA 5628181_1
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1508 of 1639
                                                                       1508




                                                               Kuffa 00310
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1509 of 1639
                                                                       1509




                                                               Kuffa 00311
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1510 of 1639
                                                                       1510




                                                               Kuffa 00312
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1511 of 1639
                                                                       1511




                                                               Kuffa 00313
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1512 of 1639
                                                                       1512




                                                               Kuffa 00314
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1513 of 1639
                                                                       1513




                                                               Kuffa 00315
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1514 of 1639
                                                                       1514




                                                               Kuffa 00316
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1515 of 1639
                                                                       1515




                                                               Kuffa 00317
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1516 of 1639
                                                                       1516




                                                               Kuffa 00318
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1517 of 1639
                                                                       1517




                                                               Kuffa 00319
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1518 of 1639
                                                                       1518




                                                               Kuffa 00320
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1519 of 1639
                                                                       1519




                                                               Kuffa 00321
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1520 of 1639
                                                                       1520




                                                               Kuffa 00322
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1521 of 1639
                                                                       1521




                                                               Kuffa 00323
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1522 of 1639
                                                                       1522




                                                               Kuffa 00324
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1523 of 1639
                                                                       1523




                                                               Kuffa 00325
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1524 of 1639
                                                                       1524




                                                               Kuffa 00326
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1525 of 1639
                                                                         1525



Ira Neil Richards                                                      Filed and Attested by the
Arleigh P. Helfer III                                                 Office of Judicial Records
irichards@schnader.com                                                    31 JAN 2020 10:58 am
ahelfer@schnader.com                                                            M. RUSSO
ID Nos. 50879, 84427
Schnader Harrison Segal & Lewis LLP                        Attorneys for Petitioners
1600 Market Street, Suite 3600
Philadelphia, PA 19103
(215)751-2503; 2430
__________________________________________
                                          :
RICHARD L. KUFFA and DENISE D.            :                PHILADELPHIA COUNTY
KUFFA, as husband and wife,               :                COURT OF COMMON PLEAS
                                          :                TRIAL DIVISION
                  Petitioners,            :
                                          :                December Term, 2019
       v.                                 :                Case No. 2572
                                          :
EQUINOR USA ONSHORE PROPERTIES,           :
INC. f/k/a STATOIL USA                    :
ONSHORE PROPERTIES, INC.,                 :
                                          :
                   Respondent.            :
_________________________________________ :

                           PRAECIPE TO ENTER JUDGMENT

TO THE CLERK:

       Kindly enter judgment in favor of Richard L. Kuffa and Denise D. Kuffa pursuant to Pa.

R. Civ. P. 237.4 and the January 23, 2020 Order attached hereto as Exhibit A. The judicially

confirmed award to be entered as judgment is attached as Exhibit B.



                                              s/Arleigh P. Helfer III
                                            Ira Neil Richards (PA I.D. 50879)
                                            Arleigh P. Helfer III (PA I.D. 84427)
                                            SCHNADER HARRISON SEGAL & LEWIS LLP
                                            1600 Market Street, Suite 3600
                                            Philadelphia, PA 19103
                                            (215) 751-2000




                                                                                  PHDATA 7172109_1
                                                                                        Case ID: 191202572
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1526 of 1639
                                                                       1526



                                 Aaron D. Hovan (PA I.D. 308412)
                                 154 Warren Street
                                 Tunkhannock, PA 18657
                                 (570) 836-3121

                                 Richard L. Huffsmith (PA I.D. 78895)
                                 26 East Tioga Street
                                 Tunkhannock, PA 18657
                                 (570) 240-4400

                                 Attorneys for Petitioner




                                    2                               PHDATA 7172109_1
                                                                          Case ID: 191202572
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1527 of 1639
                                                                       1527



                                                       Filed and Attested by the
                                                      Office of Judicial Records
                                                          31 JAN 2020 10:58 am
                                                                M. RUSSO




                                                                    Case ID: 191202572
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1528 of 1639
                                                                     1528

                                                      Filed and Attested by the
                                                     Office of Judicial Records
                                                         31 JAN 2020 10:58 am
                                                               M. RUSSO




                                                                 Case ID: 191202572
                                                               Control No.: 19122301
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1529 of 1639
                                                                     1529




                                                                 Case ID: 191202572
                                                               Control No.: 19122301
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1530 of 1639
                                                                         1530



                       AMERICAN ARBITRATION ASSOCIATION
                             SCRANTON, PENNSYLVANIA

RICHARD L. KUFFA AND DENISE D.            §
KUFFA,                                    §
                                          §
            Claimants,                    §
                                          §             Case No. 01-17-0005-6012
v.                                        §
                                          §
STATOIL USA ONSHORE PROPERTIES § INC. f/k/a
STATOILHYDRO USA                          §
ONSHORE PROPERTIES, INC.                  §
                                          §
            Respondent.                   §


                                         ORDER NO. 4

By email dated November 11, 2018, the parties agreed to the following procedure for
resolution of the issue of interpretation of the Lease:

       Claimants’ motion will address what they believe to be the threshold lease construction
       issue under paragraph 4 of the Lease that they contend entitles them to a finding that
       Respondent is in breach of its obligation to calculate and pay royalties as required by the
       Lease. Respondent reserves its right to dispute how Claimants frame the issue in their
       dispositive motion and to otherwise make any arguments that it believes show that
       Claimants are not entitled to judgment as a matter of law on their breach of contract
       claim. The parties have agreed that while they may as they deem necessary for their
       positions on the dispositive motion make arguments about whether matters relating to
       the marketability of gas are material to the arbitrator’s determination of the dispositive
       motion neither side will seek factual determinations through dispositive motion on
       issues of whether the gas is in fact marketable at the wellhead. Also, the dispositive
       motion will not address Claimants’ causes of action for breach of the duty of good faith
       and fair dealing or breach of fiduciary duty, although Claimants and Respondents each
       reserve their rights to cite any language in the Lease in support of their arguments
       about the royalty provision.

 Upon consideration of extensive briefing, the undersigned Arbitrator finds as follows:

       1. The parties entered into a Joint Stipulation of Fact dated September 28, 2018 in

          which Equinor USA Onshore Properties, Inc. (f/k/a Statoil USA Onshore Properties,

          Inc. (SOP”) admits that:
                                                1
                                                                                       Case ID: 191202572
                                                                                     Control No.: 19122301
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1531 of 1639
                                                                       1531



          a. Its only marketing effort was to deliver the gas to its affiliate, Equinor Natural

              Gas (f/k/a Statoil Natural Gas (“SNG”);

          b. It did not seek a different purchaser;

          c. It paid Claimants based on index prices, not based on the gross proceeds

              received by SNG for gas sold to unaffiliated third parties.

   2. Paragraph 4(a) of the Lease provides

          T] he royalties paid to Lessor shall be twenty percent (20%) of all
          the . . . gas and casinghead gas removed or recovered from the
          leased premises or, at Lessor’s option . . . the Gross Proceeds . . .
          of the total gross production attributable to the applicable well.

   3. If SOP elects to hand off gas at the wellhead to an affiliate for sale downstream in

      the interstate pipeline, the Lease dictates that royalties paid to Claimants “shall be”

      twenty percent of the Gross Proceeds, paid to an Affiliate of Lessee, computed at

      the point of sale, for gas sold by lessee [sic] to an affiliate of Lessee[.]

   4. Paragraph 4(d) of the lease defines Gross Proceeds as:
          total consideration paid for oil, gas, associated hydrocarbons,
          and marketable by-products, produced from the leased
          premises or consideration for relinquishing any rights relating to
          this Lease whether in the form of payments, bonuses, pre-
          payments for future production or delivery of production at a
          future time, or sums paid to compromise claims. . ..

   5. SOP admitted in the Stipulation that it paid claimants based upon an

      index price and not based upon gross proceeds referenced in the

      Lease. Nowhere in the Lease is there any mention of payment

      based upon index prices. Accordingly, SOP has admitted that it

      breached the Lease Agreement, but the parties disagree upon the



                                              2
                                                                                       Case ID: 191202572
                                                                                     Control No.: 19122301
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1532 of 1639
                                                                       1532



      how the Lease should be interpreted to determine the proper

      calculation of royalty payments.



   6. Paragraph 4(e), about which the parties disagree, provides:

          Lessee shall place oil and gas produced from the leased premises
          in marketable condition and shall market same as agent for Lessor,
          at no cost to Lessor. Except as expressly provided in (d) above,
          Lessor’s royalty shall not be charged directly or indirectly with any
          expense required to make the gas marketable, including but not
          limited to the following: expenses of production, gathering,
          dehydration, compression, manufacturing, processing, treating,
          transporting or marketing of gas, oil, or any liquefiable
          hydrocarbons extracted therefrom; provided however, that
          reasonable, actual costs paid to nonaffiliated third parties for
          gathering, compression and transportation necessary to enhance
          the value of otherwise marketable gas may be deducted from
          Lessor’s royalty proportionately to Lessor’s royalty percentage.
          However, those costs shall never cause the royalty due to Lessor
          to be less than what the royalty would have been if enhancements
          and associated costs had never been made. The burden of proving
          marketability and enhanced value shall be upon the Lessee.


   7. The following phrase in paragraph 4(e) established the default for payment of

      royalties:

          Except as expressly provided in (d) above, Lessor’s royalty shall
          not be charged directly or indirectly with any expense required
          to make the gas marketable, including but not limited to the
          following: expenses of production, gathering, dehydration,
          compression, manufacturing, processing, treating, transporting
          or marketing of gas, oil, or any liquefiable hydrocarbons
          extracted therefrom;

      The parties have not asserted that any of the exceptions set forth in

      paragraph 4(d) are applicable. Therefore, the Lease provides that,

      absent any other exception, there would be no deduction for the


                                            3
                                                                                    Case ID: 191202572
                                                                                  Control No.: 19122301
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1533 of 1639
                                                                       1533



      costs incurred by Statoil or its affiliate for activities leading up to

      the sale of the gas to a third party.



   8. In addition to the exceptions in paragraph 4(d), the Lease includes one additional

      exception to the default that no costs shall be deducted from the twenty percent

      (20%) royalty. That section immediately follows the default and states:

          provided however, that reasonable, actual costs paid to non-affiliated third
          parties for gathering, compression and transportation necessary to enhance the
          value of otherwise marketable gas may be deducted from Lessor’s royalty
          proportionately to Lessor’s royalty percentage.

   9. Particularly because the added exception immediately follows the default language,

      the added exception applies only to situations where there is additional payment to

      third parties for “gathering, compression and transportation necessary to enhance

      the value of otherwise marketable gas…” The fact that the terms “gathering,

      compression and transportation” are also included in the default provision can only

      mean that deduction for such costs is allowed when there is some out of the ordinary

      process to “enhance” the value of the gas, in addition to gathering, compressing and

      transporting the gas. This interpretation is confirmed by the phrase that puts the

      burden on Statoil to prove “marketability” and “enhanced value”.

   10. As set forth in paragraph 1 herein, the parties have agreed that the “neither side will

      seek factual determinations through dispositive motion on issues of whether the gas

      is in fact marketable at the wellhead.”

   11. Based upon the foregoing, Partial Summary Judgment is granted in favor of Claimant

      on contractual liability as Respondent has admitted that it breached Lease


                                              4
                                                                                    Case ID: 191202572
                                                                                  Control No.: 19122301
 Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1534 of 1639
                                                                        1534



         Agreement in computing the royalty payments based upon an index.

      12. This Order is limited to resolution of liability for Count III of Claimant’s demand

         (Breach of Contract) and does not address the computation of damages which shall

         be decided upon presentation of evidence at hearing.

      13. This Order also does not address any other claims asserted by Claimant, including

         those asserted in Counts I, II and IV of Claimant’s Demand.

      14. The AAA Case Manager shall promptly arrange a conference call to discuss a pre-

         hearing schedule and hearing date to address Claimant’s remaining claims and

         damages.



_B. Christopher Lee_
B. Christopher Lee, Arbitrator


Dated: April 12, 2019




                                                5
                                                                                         Case ID: 191202572
                                                                                       Control No.: 19122301
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1535 of 1639
                                                                         1535



                                   PROOF OF SERVICE                        Filed and Attested by the
                                                                          Office of Judicial Records
       I, Arleigh P. Helfer III, hereby certify that I caused the foregoing Praecipe
                                                                              31 JANto2020
                                                                                       Enter10:58 am
                                                                                     M. RUSSO
Judgment to be served on respondent Equinor USA Onshore Properties, Inc. today, January 31,

2020, by mailing a copy via U.S. Mail addressed as follows:

              Equinor USA Onshore Properties, Inc.
              2103 City West Boulevard, Suite 800
              Houston, TX 77042

                                               s/Arleigh P. Helfer III




                                                                                PHDATA 7172355_1
                                                                                      Case ID: 191202572
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1536 of 1639
                                                                       1536



                      UNITED STATES BANKRUPTCY COURT
                   SOUTHERN DISTRICT OF TEXAS (HOUSTON)

                                   .          Case No. 20-33233
   IN RE:                          .          Chapter 11
                                   .          (Jointly Administered)
                                   .
   CHESAPEAKE ENERGY CORPORATION, .           515 Rusk Street
                                   .          Houston, TX 77002
                  Debtor.          .
                                   .          Wednesday, March 31, 2021
   . . . . . . . . . . . . . . . . .          9:00 a.m.


                   TRANSCRIPT OF SETTLEMENT CONFERENCE
        BEFORE THE HONORABLE DAVID R. JONES VIA VIDEOCONFERENCE
                  UNITED STATES BANKRUPTCY COURT JUDGE


   TELEPHONIC APPEARANCES:

   For Reorganized Debtors:       Kirkland & Ellis LLP
                                  BY: DANIEL T. DONOVAN, ESQ.
                                  1301 Pennsylvania Avenue, N.W.
                                  Washington, D.C. 20004
                                  (202) 389-5174

   For Demchak Plaintiffs:       Law Office of Larry D. Moffett, PLLC
                                 By: LARRY MOFFETT, ESQ.
                                 2086 Old Taylor Road, Suite 1012
                                 Oxford, MS 38655
                                 (662) 298-4435

                                 Lief Cabraser Helmann & Bernstein LLP
                                 By: DANIEL SELTZ, ESQ.
                                 250 Hudson Sreet, 8th Floor
                                 New York, NY 10013
                                 (212) 355-9500

   TELEPHONIC APPEARANCES CONTINUED.


   Audio Operator:               Courtroom ECRO Personnel

   Transcription Company:        Access Transcripts, LLC
                                 10110 Youngwood Lane
                                 Fishers, IN 46038
                                 (855) 873-2223
                                 www.accesstranscripts.com


   Proceedings recorded by electronic sound recording,
   transcript produced by transcription service.
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1537 of 1639
                                                                       1537

   TELEPHONIC APPEARANCES (Continued):                                        2

   For James. L. Brown &         Donovan Litigation Group, LLC
   Alice R. Brown &              By: MICHAEL DONOVAN, ESQ.
   Non-MEC Class (PA)            1885 Swedesford Road
   Creditors:                    Malvern, PA 19355
                                 (610) 647-6067

   For the Objectors:            Schnader Harrison Segal & Lewis LLP
                                 By: IRA NEIL RICHARDS, ESQ.
                                 1600 Market Street, Suite 3600
                                 Philadelphia, PA 19103
                                 (215) 751-2503

   For Commonwealth of           Office of the Attorney General
   of Pennsylvania:              By: JOSEPH S. BETSKO, ESQ.
                                 Strawberry Square, 14th Floor
                                 Harrisburg, PA 17120
                                 (717) 787-4530

                                 Husch Blackwell LLP
                                 By: LYNN HAMILTON BUTLER, Esq.
                                 111 Congress Avenue, Suite 1400
                                 Austin, TX 78701-4043
                                 (512) 479-9758

   Also Present:                 WILL THOMAS, Trial Technology Director
                                 Kirkland & Ellis




    ACCESS TRANSCRIPTS, LLC                   1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1538 of 1639
                                                                       1538

                                                                              3

 1       (Proceedings commence at 9:00 a.m.)

 2             THE COURT:     All right.    Good morning, everyone.      This

 3 is Judge Jones.      The time is nine o'clock Central.        Today is

 4 March the 31st, 2021.       This is the docket for Houston, Texas.

 5 Next on this morning's docket, we have the jointly administered

 6 cases under Case Number 20-33233, Chesapeake Energy

 7 Corporation.

 8             Folks, I will remind you, don't forget to record your

 9 electronic appearance.       You do this by making very quick trip

10 to my website, two clicks.        It will take you less than 20

11 seconds.    You can do that at any time prior to the conclusion

12 of the hearing.

13             First time that you speak this morning, if you would,

14 please state your name and who you represent.           It really,

15 really helps the court reporters do their job.

16             And we are recording using CourtSpeak this morning.

17 Since I am by myself and I have no staff, it will probably be

18 late this afternoon, perhaps even tomorrow, before I get the

19 audio up on the docket.        I apologize for that delay, but it's

20 just -- there are a couple of technical steps that the clerk

21 chose not to give me the authority to do in my log-in ID.

22             I have activated the "hand-raising" feature, just

23 because it seems like there were a number of conversations

24 going on.     If you know you're going to be speaking this

25 morning, if you would, please go ahead and hit "five star" so




        ACCESS TRANSCRIPTS, LLC               1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1539 of 1639
                                                                       1539

                                                                                4

 1 we won't have any further delay and we can get started.             And

 2 that would be on your phone.

 3              All right.    I think that's everyone.

 4              Mr. Donovan, are you starting us off this morning?

 5              MR. DANIEL DONOVAN:     I am, Your Honor.

 6              THE COURT:    All right.

 7              MR. DANIEL DONOVAN:     I just noticed -- I'm not sure

 8 if it's intentional -- I noticed your camera, I think, is off

 9 today.

10              THE COURT:    It's -- I'm going Darth Vader on you.

11 Sorry.     See, when I don't have somebody in the courtroom with

12 me -- I thought I'd covered everything.          I need a checklist,

13 like a plane.

14              MR. DANIEL DONOVAN:     Well, good morning.      Daniel

15 Donovan, Kirkland & Ellis, for Chesapeake.           Here to -- and I'll

16 get into details -- seek approval of certain settlements

17 related to Pennsylvania royalty owners.

18              And let me start, Judge.      I think we've spent a lot

19 of time.     Today is a good news story, in my view.         It's a good

20 news story of counsel.       Many are here that I'll introduce.            But

21 they worked hard, cooperatively, to resolve what I think can

22 fairly be called hotly-contested issues over the years.             And

23 these settlements took many years to achieve.           The settlements

24 we're here about today are literally the result of years of

25 work by a lot of the counsel you see here, but also your




        ACCESS TRANSCRIPTS, LLC               1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1540 of 1639
                                                                       1540

                                                                              5

 1 supervision, Judge, during the bankruptcy, Judge Mannion of the

 2 Middle District of Pennsylvania, Retired Chief Judge Cahn, who

 3 was the chief mediator over many years; and frankly, the work

 4 by lawyers in the Pennsylvania Attorney General's office and

 5 class counsel here; and many other interested parties, to be

 6 fair.

 7             Our goal for Chesapeake was to globally resolve the

 8 existing disputes and reset -- as I've told you before, Judge,

 9 it's to reset this relationship.         It had issues, and we believe

10 we've positioned it for a productive and prosperous future

11 through these.

12             To do that, the parties mediated.         We certainly

13 litigated over the years.       And we finally settled the existing

14 disputes and set a path forward that I'll describe in a moment.

15 All the parties entered into these settlements at arm's length

16 and in good faith.      And these settlements, I'd submit, are in

17 the best interest of the Commonwealth of Pennsylvania, the

18 royalty owners, and Chesapeake Energy and its creditors.

19             Accordingly, at the close, we moved, but I'm going to

20 seek approval of all three.        And I'll talk about them.       First

21 is the Attorney General's settlement with Pennsylvania, of

22 which I don't believe there's any objections.           And then the two

23 class settlements, of which there's one objection that I'll

24 address.

25             So before proceeding, I'd like to spend a couple




        ACCESS TRANSCRIPTS, LLC               1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1541 of 1639
                                                                       1541

                                                                              6

 1 minutes introducing counsel, Judge, who have -- who are also

 2 going to speak, but I think are part of this.           First, you know

 3 Mr. Lynn Butler, but also Joe Betsko of the Pennsylvania

 4 Attorney General's office.        They join me today to seek approval

 5 of the settlement.       They'll confirm that Chesapeake acted in

 6 good faith in finalizing the settlement.          They're also

 7 available to answer the Court's questions.

 8             THE COURT:     Thank you.     Good morning to all.

 9             MR. DANIEL DONOVAN:      On a personal note -- on a

10 personal note, Judge, after many years being on opposite sides

11 of Mr. Betsko of the AG's office, and Mr. Butler recently, I

12 enjoy today being on the same side with them, a little bit

13 more.    So that's who's representing the Attorney General.

14             THE COURT:     Of course.

15             MR. DANIEL DONOVAN:      So next, Judge, there are two

16 gentlemen, Larry Moffett and Daniel Seltz.           I see Daniel's on

17 the video, Larry was.       They appear on behalf of the Demchak or

18 the market enhancement -- call it the "MEC" -- class.

19             THE COURT:     Got it.

20             MR. DANIEL DONOVAN:      They're both nationally

21 recognized oil and gas lawyers, especially in the class action

22 context.    As I'll talk about in a moment, they were the first

23 lawyers to bring these claims.          They've been lawyers for over

24 seven years for their clients on these, and they're here to

25 answer questions and explain kind of their view of the MEC




        ACCESS TRANSCRIPTS, LLC               1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1542 of 1639
                                                                       1542

                                                                              7

 1 settlement.

 2             THE COURT:     Thank you.     Good morning, Mr. Seltz.

 3             MR. SELTZ:     Good morning.

 4             MR. DANIEL DONOVAN:      Moving to the non-MEC, the

 5 non-MEC class, is Mike Donovan.          No relation.   We often get

 6 that in court.     But Mike Donovan is a well-recognized lawyer,

 7 especially in the class context.          He's a fierce advocate, and a

 8 proud citizen of Pennsylvania, and he's here also to answer any

 9 questions on the non-MEC class.

10             THE COURT:     Thank you.     Good morning, Mr. Donovan.

11             MR. MICHAEL DONOVAN:        Good morning.

12             MR. DANIEL DONOVAN:      And finally, I'd introduce Ira

13 Richards, Judge.      He's counsel for the objectors.        He's been

14 involved in much of the mediation over the years.            And although

15 we disagree on the legal arguments, I respect him as a fellow

16 lawyer.    We had a good discussion yesterday that I think

17 clarified at least a few issues --

18             THE COURT:     Very good.

19             MR. DANIEL DONOVAN:      -- on the settlement, so --

20             THE COURT:     Good morning, Mr. Richards.

21             MR. RICHARDS:      Good morning, Judge.

22             MR. DANIEL DONOVAN:      So with the lineup, set, Judge,

23 I now want to turn to our grounds for approval of the

24 settlements, and I know you're familiar -- you've had these

25 cases for a wile -- of that, and the numerous motions, the




        ACCESS TRANSCRIPTS, LLC               1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1543 of 1639
                                                                       1543

                                                                              8

 1 arguments, the filings.        I have three issues I want to do this

 2 morning.

 3             First, I just want to briefly summarize the disputes

 4 which sets the context for the settlements.           And finally, I'll

 5 address the single objection.        And as always, most importantly,

 6 I'm here to answer any questions that you have, Judge.

 7             THE COURT:     Okay.

 8             MR. DANIEL DONOVAN:      As I transition, if my

 9 colleague, Will Thomas, can have sharing privileges, we have a

10 few slides to guide my discussions.

11             THE COURT:     Of course.    All right.    He should have

12 control.

13             MR. DANIEL DONOVAN:      Thanks.

14             Will, if we can go to Slide 2, please.

15             So, Judge, I'd start where I've started several

16 times, which is, you know, what is the layout here.            These are

17 the Pennsylvania leases.        There's more than 14,000 that

18 Chesapeake has in production in Pennsylvania.           And in general,

19 they can be categorized into two buckets:          one, the MEC, market

20 enhancement clause, leases, which are -- for obvious reasons,

21 leases with a market enhancement clause.          That also includes

22 something you may see in the documents, some additional leases,

23 ready for sale or use, as they're called.          We have categorized

24 them in that bucket.

25             And then the other bucket is non-MEC leases, which




        ACCESS TRANSCRIPTS, LLC               1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1544 of 1639
                                                                       1544

                                                                              9

 1 are primarily leases that expressly permit post-production

 2 deductions.     But not all of them.      But that's the category we

 3 put.

 4              So what were the disputes?      At the highest level,

 5 royalty owners claim that Chesapeake didn't pay them all the

 6 royalties due.      Chesapeake disagreed.      But there's been

 7 litigation over the years, and I want to start, first, when did

 8 this start?

 9              And if we can go to Slide 3, Will.

10              This started, Judge, if you could believe it, in

11 2013, when Mr. Moffett, who was MEC counsel, and I've been on

12 the other side of him in cases, called me to raise issues for

13 his clients (indiscernible) Chesapeake in Pennsylvania.

14              After those initial calls, we had numerous meetings,

15 both in Oklahoma City, with Chief Judge Cahn, in mediation

16 sessions, and Mr. Seltz.         And those early claims and those

17 early discussions we resolved sometimes.          Some, we ended up

18 into this settlement agreement, that was filed in front of

19 Judge Mannion in the Middle District of Pennsylvania on behalf

20 of the market enhancement clause class.

21              As soon as we filed, there was collateral private

22 party litigation brought by other counsel, which took a little

23 time to resolve.      It was resolved.     And that ended, Judge, in

24 the amended MEC settlement, which I show here, and it was

25 preliminarily approved by Judge Mannion.          And it's still




          ACCESS TRANSCRIPTS, LLC             1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1545 of 1639
                                                                       1545

                                                                              10

 1 preliminarily approved.         There's still a settlement class in

 2 effect today.     I know the case was stayed during the

 3 bankruptcy, but that order has never been vacated.            So it's

 4 still in effect until hopefully today when we get the new

 5 order.    That's the MEC class action.

 6             In the interim, before preliminary approval, Mike

 7 Donovan and his colleagues brought what we've currently called

 8 the non-MEC class action.         That was focused on claims that were

 9 primarily not necessarily that you couldn't take deductions,

10 but they were too high.         They were unreasonably high.      And

11 because there already was the MEC class action, those cases

12 kind of got focused on the remaining leases, that is the

13 non-MEC class actions.

14             We had a settlement reached there in August of 2018.

15 We then subsequently updated it.         That was filed before Judge

16 Mannion, but was not approved.         Not because he didn't approve

17 it.    It just never got ripe, for the reasons I'll get to in a

18 moment.

19             So then a third bucket, Judge.        I know you've heard

20 from me and Mr. Butler before, but in 2015 the Attorney General

21 objected to the MEC class action brought -- at that time her,

22 and subsequent him -- their own action in state court in

23 Pennsylvania, seeking recovery on behalf of Pennsylvania

24 royalty owners.      And they brought that under the Pennsylvania

25 Consumer Protection Law.




         ACCESS TRANSCRIPTS, LLC              1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1546 of 1639
                                                                       1546

                                                                              11

 1             Those are the three cases.       And in this litigation,

 2 Judge, you know there's been numerous filings and hearings,

 3 primarily by the Attorney General.         But there's over 200

 4 royalty claims from Pennsylvania royalty owners still pending,

 5 Judge, on the register.

 6             In addition, there was a Royalty Committee, as you

 7 know, in this case.      They raised issue with us.       And from the

 8 start, we've done our best to keep the Court apprised of our

 9 settlement efforts, of which we're here today in the

10 culmination.

11             So that's the background, Judge, and now I want to

12 turn to Number 2, which is the agreements.

13             And Will, if we could go to Slide 4.

14             There are three agreements.        And they really all work

15 together, and that's part of what took the most time, Judge, is

16 to make sure they did.       At the highest level, the settlements

17 resolved all royalty claims in Pennsylvania by Pennsylvania

18 lessors, of course subject to anybody that opts out later.

19             The settlements provide funds for all claims for

20 royalty underpayments.       And in total, Chesapeake will pay

21 approximately $11.5 million, in what I'd call (indiscernible)

22 dollars.    And if you look under the AG settlement, we have

23 agreed to provide the Attorney General $5.3 million to

24 distribute to royalty owners as they see fit, $5 million for

25 the MEC settlement, and $1.25 million in the non-MEC




        ACCESS TRANSCRIPTS, LLC               1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1547 of 1639
                                                                       1547

                                                                              12

 1 settlement.

 2             So those are the different numbers.         Since they work

 3 together, again, the AG is for all royalty owners.            And then

 4 the other two, the distributions will kind of cut across all

 5 those classes.

 6             In addition, Chesapeake is providing through these

 7 settlements royalty owners the opportunity to choose the

 8 royalty formula going forward.        And to me, from my work in this

 9 area, this is the real groundbreaking part.           If you have an MEC

10 lease under both the AG and the MEC settlement, you are

11 entitled to choose -- which I think most will -- the higher of.

12 That is, each month you will get the higher of a calculated

13 index price or the netback.

14             So, as Mr. Moffett can address, I think this is both

15 good for royalty owners and it's good for Chesapeake.             They

16 want to move forward and have a kind of productive and non-

17 adversarial -- so they think, although this is going to cost

18 money for the company, it's worth it.

19             The same thing under the non-MEC.         They will have the

20 opportunity -- the difference is under those leases, which we

21 view differently, it's a one-time election.           So as opposed to

22 getting the higher of, the non-MEC lessor is entitled to choose

23 I want to get the in-basin index every month with no

24 deductions, which will tend to be a little bit more consistent,

25 we think, over time.       Or I want the netback, which is probably




        ACCESS TRANSCRIPTS, LLC               1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1548 of 1639
                                                                       1548

                                                                              13

 1 lumpy; but like in recent times, when it was really cold,

 2 prices really go up, and you could do well.           And potentially

 3 even do better.      But that will be a choice.

 4             All three settlements encapsulate this.          So it's not

 5 just in one of the settlements.         It's in all three.     So that's

 6 the background.

 7             If we go to the next slide, Will.

 8             This highlights how they work together.          And I'll go

 9 through a little bit more detail, but it's a global settlement.

10 There's a bilateral agreement in the upper left.            We put here

11 this is the Commonwealth of Pennsylvania and Chesapeake.             For

12 that, Judge, as you know, procedurally, we're only seeking Rule

13 9019 because it's not a class, it's a Rule 9019 approval.

14             THE COURT:     Right.

15             MR. DANIEL DONOVAN:      There's no objection, Judge.

16 The Pennsylvania Attorney General joins in.           We think we've

17 provided the information.       We think it's in the best interest

18 of Chesapeake and its creditors, and in fact we hope it's good

19 for our royalty owners, as well.

20             The AG settlement was a reasonable exercise of

21 management's business judgment.         They've been before you,

22 Judge.    They are committed to the transparency and improving

23 the royalty relationship.       And this was inked at a time where

24 the Attorney General had made claims that are still pending in

25 this bankruptcy, in hundreds of millions of dollars, Judge,




        ACCESS TRANSCRIPTS, LLC               1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1549 of 1639
                                                                       1549

                                                                               14

 1 with the biggest risk saying until we paid that, they could

 2 shut down our franchise from operating in the Commonwealth.

 3             To settle the claims, I went through the terms, but

 4 you know, after the filing of the settlement, the Pennsylvania

 5 Supreme Court ruled in Chesapeake's favor on a longstanding

 6 issue of whether the Consumer Protection Law applied to

 7 sellers.    And that was our legal position from the beginning.

 8             But I want to make clear, that favorable decision

 9 doesn't change our calculus, and didn't, of management.             The

10 settlement was good for Chesapeake and royalty owners before

11 that.    We think it's good now, for the reasons I said before.

12 This is not only to pay prior claims, but to reset the

13 relationship.     So we think it's fair, reasonable, and we ask

14 that it be approved.

15             Turning to the other two buckets, Judge, we do need

16 to satisfy Rule 9019 and Rule 23 for preliminary approval.                 As

17 I've said before, there are over 200 claims from Pennsylvania

18 royalty owners still pending.        Those claims need to be resolved

19 individually or on a global basis.         We chose to do it through

20 the class settlements, as I've kept the Court apprised, since

21 day one that we intended to.

22             So we resolved the claims, and we have the

23 go-forward.     And again, I know there's an objection, but we

24 have to remember the go-forward is in the Attorney General's

25 settlement.     So it is also in these, but once the Attorney




        ACCESS TRANSCRIPTS, LLC               1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1550 of 1639
                                                                       1550

                                                                              15

 1 General settlement is approved, since they all work together,

 2 I'm not sure an objection solely with a class settlement really

 3 provides much.     But I'll get to that in a minute.

 4             Here, we believe we did provide sufficient

 5 information.     The settlement is fair and reasonable.         And in

 6 fact, a prior version, as I said, at the MEC settlement, at

 7 least, was approved by Judge Mannion as -- at least the

 8 settlement class still exists to this day.           The settlements are

 9 really proof that hotly-contested issues can get resolved by

10 lawyers that really work hard and kind of keep their eye on the

11 prize, I would say.      So we're going to seek approval to send

12 out that notice at the end here.

13             So, Judge, third, I want to turn to the objectors.

14 And they object, again, only to the private party class action

15 settlements.     We responded in writing, but I want to highlight

16 a few points, if I may.

17             First, the first objection, I submit, this Court

18 plainly has subject matter jurisdiction and jurisdiction over

19 these.    The settlement addresses pending claims before Your

20 Honor.    The issues that were addressed in the bankruptcy.           And

21 indeed, if you add them all up, there's over a billion dollars

22 of claims still pending that this will resolve, including the

23 AG's.    I don't think there's any question that this Court has

24 jurisdiction.

25             Second, once we cross that rubicon, there's really no




        ACCESS TRANSCRIPTS, LLC               1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1551 of 1639
                                                                       1551

                                                                              16

 1 reason for this Court to abstain.         All the parties supporting

 2 the settlement want this Court to approve it.           It's where we

 3 came.    We've been addressing it throughout the bankruptcy.               And

 4 it will get it done, and we believe it's the right place to do

 5 it.

 6             And we've also -- by the way, Judge, we've kept Judge

 7 Mannion apprised.      We told him when we filed this.        So he's

 8 aware of it, as well.       And frankly, the objector -- it's a bit

 9 curious to me that a royalty owner would want to delay these

10 settlements any further after seven years of litigation,

11 especially since -- if there is an objection, if someone

12 doesn't like the settlement, they will have notice and the

13 opportunity to opt out and litigate their claim before Your

14 Honor.

15             Third, Judge, the motion details that Rule 23 has

16 been satisfied.      We address this in the brief, but it's fair

17 and reasonable.      You're going to hear it's supported by class

18 counsel and the Attorney General.         We also -- we sent out again

19 CAFA notice, Judge.      We've gotten -- nobody's objected under --

20 from the government.       In fact, the Pennsylvania Attorney

21 General obviously supports it.        We've provided sufficient

22 information for the Court to preliminarily certify the class.

23 And again, everyone, including Mr. Richards' clients, will have

24 the right to object at the final fairness hearing if they stay

25 in the class.




         ACCESS TRANSCRIPTS, LLC              1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1552 of 1639
                                                                       1552

                                                                              17

 1              But the one case that was cited was the Hayes case.

 2 But that case -- after I read it, it actually supports our

 3 position.     We've provided the sufficient information.          In that

 4 case, the Court took the counsel's representations, just like

 5 here, and in fact it granted preliminary approval like we're

 6 seeking.     So I don't think those objections have any legs at

 7 all.

 8              And finally, I just want to clarify on the record, I

 9 told Mr. Richards, there was an objection in there that there

10 was a certain lease called the WCLG.         It's Wyoming County

11 leases.     They have a provision, kind of a modified MEC, in

12 which Chesapeake is not permitted to take gathering deductions

13 if it's affiliate gathering.        Chesapeake built these systems.

14 They then spun them down and then sold them.           They're Williams'

15 systems today.      But we have continued to honor that, because

16 when the agreements were put into place they were kind of

17 Chesapeake to Chesapeake.

18              And we are committed to them, as the agreement

19 provides, they're going to get the netback based on their

20 lease.     That is, we will never consider the post-production

21 cost of that kind of Chesapeake agreement until it at least

22 expires.     So they kind of get the higher "higher of."          But I

23 wanted to clarify that, because to the extent it wasn't clear,

24 that would have been the objection.         And I made Mr. Richards

25 aware of that.




          ACCESS TRANSCRIPTS, LLC             1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1553 of 1639
                                                                       1553

                                                                               18

 1             So, Judge, in conclusion, we think we've provided

 2 sufficient information.        We think this is a great step.

 3 Management is excited to put this into place and to start and

 4 really -- now that we've come out -- we've already started the

 5 process to get this ready -- to really reset that relationship,

 6 including with the management, including the ombudsman in the

 7 AG settlement agreement, and the funds we're providing.

 8             So we'd ask that they be approved, Judge.          And we did

 9 just upload -- we tweaked the MEC and the non-MEC preliminary

10 approvals to provide dates.        And in the non-MEC we had a couple

11 typos that we fixed.       We'll provide redlines later today,

12 Judge.    We weren't able to get those done in time, but those

13 were just uploaded.

14             With that, Judge, we'd submit and ask for approval.

15             THE COURT:     All right.    Thank you.    Let me just --

16 procedurally, let me just -- I want to walk through.            The

17 Pennsylvania AG settlement, as you noted, is just very simple

18 and easy.     And I am very comfortable with the -- with both my

19 jurisdiction and authority.

20             With respect to the class actions, is it contemplated

21 that you're going to seek preliminary approval from me, and

22 then I need to go get you an Article III to give -- no?               You

23 think that I can do all of this here?

24             MR. DANIEL DONOVAN:      We do, Judge.

25             THE COURT:     And just walk through that with me.




        ACCESS TRANSCRIPTS, LLC               1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1554 of 1639
                                                                       1554

                                                                              19

 1             MR. DANIEL DONOVAN:      Sure.   We believe that the Court

 2 has the power to do the preliminary approval and the final

 3 approval of the settlement.

 4             THE COURT:     Okay.

 5             MR. DANIEL DONOVAN:      The notice will go out.       We then

 6 set, kind of beyond the 90 days to have the final approval.

 7 And we believe that's permissible.

 8             Of course, if, you know, we research it, the Court

 9 doesn't believe that's the appropriate path, we're happy to go

10 back to Judge Mannion.       But we do believe you have that power,

11 Judge.

12             THE COURT:     So here's -- and let me take a step back.

13 And so let me explain to you the concern that I have.             Again,

14 the Pennsylvania AG settlement, easy.          Approving the settlement

15 from the debtor's point of view with respect to the MEC and the

16 non-MEC, very easy and simple for me to get my hands around.

17             With respect to the ultimate certification, are there

18 current certified classes in both cases that were entered by

19 Judge Mannion?

20             MR. DANIEL DONOVAN:      So there is in the MEC, Judge.

21 There is not in the non-MEC.

22             THE COURT:     So -- and I'm going to draw a conclusion

23 -- or I'm going to draw a difference between the two, and we

24 just need to work through that issue.          Because, again, you

25 know, my power, if you will, derives from the power given to




        ACCESS TRANSCRIPTS, LLC               1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1555 of 1639
                                                                       1555

                                                                              20

 1 the Article III district judges in the Southern District of

 2 Texas.    That and 1334.

 3              So, to the extent that there is a certified class, I

 4 agree with you.      I can deal with that.      The problem that I have

 5 is the Fifth Circuit has said that -- and it was my case that

 6 went up -- that I only have the authority to actually certify a

 7 class for all purposes if that class is within the district in

 8 which I sit.

 9              Obviously, a district court has all of the necessary

10 authority and power to do it.        And you know, I have done this

11 on multiple occasions where I handled the 9019 aspect of it,

12 and then I simply pick up the phone and call Chief Judge

13 Rosenthal.     And obviously, since my authority and power derive

14 from her, she then handles the actual certification issue.

15              I don't want there to be a -- you know, I cause a

16 problem because I stepped over the line of what I am authorized

17 to do.    I just want to make sure you all have thought about it.

18 I want to do this right.        I want -- if I'm going to approve

19 this, I don't want -- I don't want the citizens of the

20 Commonwealth of Pennsylvania to have any questions about it.

21              Quite frankly, for seven years of your life, I don't

22 want you to have any questions that it was buttoned up and done

23 right.    And so my thought is -- and again, I'm happy -- I want

24 to hear from everybody.        Pennsylvania AG settlement, easy.

25 It's not objected to.       I've read it.    I understand it.      It's




        ACCESS TRANSCRIPTS, LLC               1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1556 of 1639
                                                                       1556

                                                                              21

 1 very simple and straightforward to me.          That's easy.

 2             To the extent -- and I saw Mr. Richards shake his

 3 head no when you told me that there is a sort of high class in

 4 the MEC issue.     And I don't know how folks could disagree about

 5 that.    There either is or there isn't.

 6             But to the extent that there's a question about that,

 7 what I would contemplate is to the extent that I approve a

 8 notice, which I think I can do, I think I can make all of -- I

 9 think I can make preliminary findings.          I think I can make

10 final findings with respect to -- from the debtor's

11 perspective.     But then with respect to that final hearing --

12 and I did some class action -- most of it was bankruptcy class

13 action, but I did some in my career.         I think the better place,

14 so that you get certainty, is in front of an Article III.

15             But if you all have done this research and -- I mean,

16 I would love to be wrong.       I would always rather have more

17 power than less power.       But I just -- looking at the law, I am

18 fairly convinced that that final hearing needs to be in front

19 of an Article III.

20             And again, I've done this a number of times.           I think

21 we've learned a lot.       It has worked seamlessly thus far.        But

22 again, if you think I'm wrong, I would love to be convinced.

23 You know, I secretly complain about that decision, since it was

24 my case, but it is the Circuit and I follow my Circuit without

25 question.




        ACCESS TRANSCRIPTS, LLC               1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1557 of 1639
                                                                       1557

                                                                              22

 1             So but -- you know, what do you think -- and I'm

 2 happy to hear from anyone.          If someone else wants to weigh in.

 3 But you know, Jones, you haven't read this decision.            Or the

 4 Supreme Court just said you're more important than you think

 5 you are.    I'm happy to hear all of that.

 6             MR. DANIEL DONOVAN:        So, Judge --

 7             MR. RICHARDS:        Can I --

 8             THE COURT:     Mr. Richards, I will get to you, but I

 9 want to understand this procedural point, and then I'm going to

10 give you the podium.

11             MR. DANIEL DONOVAN:        So on that, Judge, we will go

12 back and look at it.       It seems like the safer route, based on

13 your experience, is just go back to Judge Mannion for final

14 approval.

15             THE COURT:     No.     It's -- it wouldn't be Judge

16 Mannion. It would be a --

17             MR. DANIEL DONOVAN:        Oh.   It would go up to the --

18 yeah.

19             THE COURT:     I would -- my course of action or my

20 course of proceeding would be as Chief Judge of the Bankruptcy

21 Court, I would contact Chief Judge of the District Court.             I

22 would have a conversation with the Chief Judge.            So far, she

23 has kept them all.       But she has the ability to then assign a

24 district judge to consider it.

25             Again, every time we've done it, she just kept it.




        ACCESS TRANSCRIPTS, LLC                 1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1558 of 1639
                                                                       1558

                                                                              23

 1 But I don't -- it would cross some jurisdictional boundaries,

 2 and I probably wouldn't last very long if I started reporting

 3 directly to a district judge in Pennsylvania.           We're like

 4 marbles.     They like to -- you know, they like to keep us.

 5              Mr. Donovan, do you have thoughts about this?           The

 6 other Mr. Donovan.

 7              MR. MICHAEL DONOVAN:     I do, Your Honor.      I do, Your

 8 Honor.     I think your inclination would be acceptable to the

 9 non-MEC people.      I'm very familiar with Judge Rosenthal.

10 (Audio interference) if it's your -- as it appears to be, your

11 inclination that that's the safer way to go, then I would

12 appreciate Your Honor reaching out and forewarning her.              And

13 I've been on several panels with her, so I think she would be

14 very familiar with the final approval process here, and I would

15 prefer that she would keep it (audio interference) --

16              THE COURT:     Like I said, she has thus far.      And it

17 also gives -- you know, it gives everybody the comfort that if

18 someone thinks that I've done -- that I've done something

19 wrong, you then have an Article III that you can go and raise

20 those issues with.        Again, I've been through this a couple of

21 times, and it has worked really, really well.           So I'm not --

22 I'm not too worried about that.         And I also think that she'll

23 keep it.     But she has the authority to do whatever she wants.

24 I want to make that clear.

25              Mr. Seltz, you want to tell me that I'm right or




        ACCESS TRANSCRIPTS, LLC               1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1559 of 1639
                                                                       1559

                                                                                  24

 1 wrong or that I ought to be thinking about it differently?

 2              MR. SELTZ:    No, Your Honor.     (Audio interference)

 3 moving forward the soonest way as possible.

 4              THE COURT:    No, I got it.     This will not take long.

 5              MR. SELTZ:    (Audio interference)

 6              THE COURT:    I know that she's holding hearings.        I

 7 know that she has held one fairness hearing during COVID on one

 8 of my class action settlements.         So I don't think that it will

 9 be -- you know, we have to work harder because we're only

10 Article I.     So, you know, we have to fit 27 hours into a

11 12-hour day. But she will get to it promptly.           I'm confident of

12 that.

13              And Mr. Butler, again, I can take care of yours.              I

14 have no concerns at all with the AG settlement.           So I assume

15 that you don't -- I mean, you're interested, but you don't

16 really care how that gets done. Is that a safe assumption?

17              MR. BUTLER:    Pretty much, Your Honor.      Nailed that

18 one.

19              THE COURT:    Got it.   Okay.    Ah, you know, one for

20 twelve today.

21              All right.    Mr. Richards, so tell me why -- and I

22 know that you've got your motion for permissive abstention not

23 set until April, but I've read it in preparing for today.             Tell

24 me why it is that you think that either I shouldn't -- that I

25 shouldn't proceed at all with the settlement, or the settlement




          ACCESS TRANSCRIPTS, LLC             1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1560 of 1639
                                                                       1560

                                                                              25

 1 should proceed somewhere else, or that it's fatally flawed, or

 2 all of the arguments that you want to make.

 3              MR. RICHARDS:     Thanks, Judge.    Let me start with the

 4 part that caused my head-shaking.

 5              THE COURT:    Okay.

 6              MR. RICHARDS:     And that was when Mr. Donovan

 7 suggested (audio interference) there's a certified class in the

 8 MEC settlement.      So there is a settlement pending before Judge

 9 Mannion, or there was, that he preliminarily approved and

10 preliminarily certified the class.         There is no finally

11 certified class.

12              THE COURT:    Okay.

13              MR. RICHARDS:     My understanding -- and Mr. Donovan

14 can correct me if I'm wrong -- was that there were a

15 substantial number of opt-outs from that settlement.            As I

16 understand the current MEC settlement, people who opted out

17 already from the preliminarily certified class before Judge

18 Mannion are now back in the class, or would be back in the

19 class, subject to final certification.

20              So I think the class that is pending in the

21 settlement, in the motion today, has not been certified either

22 preliminarily or final.        So I think that's (audio interference)

23 different.

24              THE COURT:    Yeah.   You're reinforcing my argument

25 that the certification part of it should be done by an Article




        ACCESS TRANSCRIPTS, LLC               1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1561 of 1639
                                                                       1561

                                                                              26

 1 III, regardless of what -- regardless of where it is.

 2              MR. RICHARDS:     I think that's right, Judge.       And one

 3 of the places where Mr. Donovan and I agree is that after seven

 4 years, everybody should be doing this right.           And my concern is

 5 that on the record before you today, Judge, you're being asked

 6 to do something that isn't going to move the ball down the lane

 7 after seven years of litigation.

 8              THE COURT:    I know.

 9              MR. RICHARDS:     Let me start with the Rule 23 piece of

10 it, and the question of whether you can preliminarily approve

11 the settlement.      So the debtor primarily focuses on -- or

12 entirely focuses on pre-2018 law under Rule 23.           In 2018, Rule

13 23 was amended, and the settlement procedure has been changed

14 entirely.     It's now front-loaded.

15              So where in the past that you could get drive-by

16 preliminary approval, the term "preliminary approval" almost

17 doesn't even exist anymore.          Now it's approving a request for

18 notice.     And at the time a request for notice is made, it's

19 required that a proponent of the settlement, not the defendant

20 but the class representative, create an evidentiary record

21 showing that the settlement is likely to be approved.             And it's

22 an evidentiary issue.        The Court has to make evidentiary

23 findings on fairness, reasonableness, and adequacy of the

24 settlement, based on the evidence submitted.

25              And lawyer's statements are lawyer's statements.




        ACCESS TRANSCRIPTS, LLC               1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1562 of 1639
                                                                       1562

                                                                              27

 1 Judge, the cases are replete with rejections of settlements

 2 just based on lawyers' promises.         It's got to be (audio

 3 interference).

 4             So the primary issue here is you have a settlement,

 5 as Mr. Donovan described it, that resets the relationship or

 6 supposedly resets the relationship with Chesapeake lessors

 7 going forward in Pennsylvania.

 8             The problem is that the main representatives have not

 9 filed proofs of claim compared to the 58 land owners who I'm

10 representing here today.       There's been no explanation in the

11 record as to why they didn't file proofs of claim.            There's no

12 evidence in the record that there has been an economic analysis

13 showing that the proposed going forward terms of the settlement

14 -- and I'm hesitant to use the term "relief" -- actually

15 provide a benefit to every class member irrespective of lease

16 form.

17             And when you have potential differences in lease

18 language, like the difference between the Wyoming County land

19 owners' group lease and other potential leases within the MEC

20 class or the non-MEC class, there can be differences in

21 interest.

22             Those differences in interest may get heightened here

23 when you have a situation where the named representatives, for

24 whatever unexplained reason, chose not to file proofs of claim

25 here, in contrast to my clients did, including (indiscernible)




        ACCESS TRANSCRIPTS, LLC               1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1563 of 1639
                                                                       1563

                                                                              28

 1 class proof of claims.       So those interests are going to be

 2 different.

 3              In terms of the jurisdictional and abstention issues,

 4 in the plan, the leases rode through unimpaired.            The purpose

 5 of this settlement, which -- these settlements which result in

 6 lease amendments, result in impairment of the leases.             So this

 7 is not a settlement implementing the plan.           It's a settlement

 8 kind of differing from the plan.         It's kind of adding a layer

 9 to it, and almost, in effect, not applying it, in a way that

10 nobody contemplated.

11              And back in the proceedings relating to plan

12 confirmation, we did file objections to plan confirmation which

13 addressed that very issue.

14              On the abstention piece, Mr. Donovan noted that

15 there's -- that Judge Mannion does have a pending class

16 certification order and settlement approval order relating to

17 the MEC settlement.      And he's been involved in these

18 settlements and involved in supervising these claims.             He's

19 familiar with the issues.

20              Recall that in the original MEC settlement, the

21 Demchak settlement, there was a different proposed going-

22 forward term that resulted in a change in the percentages of

23 post-production costs that would be deducted going forward.

24 The settlements today have a completely different going-forward

25 component.     There's been no evidence submitted that shows that




        ACCESS TRANSCRIPTS, LLC               1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1564 of 1639
                                                                       1564

                                                                              29

 1 there's an actual benefit from that component, particularly

 2 when compared -- in comparison to the going-forward relief that

 3 was initially proposed.

 4             So when you have, in the MEC settlement, the higher

 5 of a netback price and the higher of an in-basin index, it is

 6 not facially apparent that that's any different.            The index

 7 price -- in-basin index price, the idea is to approximate a

 8 wellhead (audio interference).        So if you have a claim that

 9 says Chesapeake, you're breaching these leases because I have a

10 market enhancement clause or a ready for sale or use clause,

11 that prohibits you from deducting post-production costs in the

12 routine course of sale to a downstream point of sale, right, so

13 a netback is prohibited, then going forward, basically giving

14 you the higher of a netback or a netback, the higher of a

15 wellhead price or a wellhead price, there's been no showing in

16 any evidentiary way that that creates a benefit for every class

17 member, irrespective of lease forms, even more class members

18 than not.

19             So in the absence of an evidentiary record that

20 demonstrates that that creates an actual benefit, and the --

21             THE COURT:     So let me --

22             MR. RICHARDS:      -- kind of -- the --

23             THE COURT:     Sure.   Mr. --

24             MR. RICHARDS:      -- intangibles --

25             THE COURT:     So, Mr. Richards, if I can.       And I




        ACCESS TRANSCRIPTS, LLC                1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1565 of 1639
                                                                       1565

                                                                              30

 1 disagree a lot with what you said, but I've got a more basic

 2 question.     So you represent 58 folks that filed proofs of

 3 claim, right?

 4              MR. RICHARDS:     Correct.

 5              THE COURT:    And so, I mean, I'm very clear you don't

 6 like the settlement.       So aren't you just going to opt out?

 7              MR. RICHARDS:     There's an opt-out penalty here,

 8 Judge.    So we can either opt out or object, and that's the

 9 choice.     And the cases are pretty clear that it's not enough to

10 say that you can just opt out.        So for some class members, or

11 potential class members --

12              THE COURT:    Let's just talk about your 58, because

13 those are the only ones that you have the ability to speak for,

14 right?

15              MR. RICHARDS:     That's right, Judge.     And --

16              THE COURT:    So your 58 --

17              MR. RICHARDS:     -- sitting here today -- correct.           And

18 sitting here today, I can't tell you that all 58 will opt out

19 or all 58 will object.       We haven't made that decision yet.            And

20 it may be different for different class members in different

21 settlements, depending on their circumstances.

22              THE COURT:    Okay.   And so for those that opt out --

23 I'm just trying to go down the decision tree.           I'm trying to

24 understand where this is headed.          For those that -- for those

25 of your -- so you're going to go talk with each of your 58




        ACCESS TRANSCRIPTS, LLC               1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1566 of 1639
                                                                       1566

                                                                              31

 1 different clients, because everyone may have different

 2 interests, concerns, whatever.        And you're going to give them

 3 your best advice.      And they're either going to say, well, I'm

 4 going to stay in the settlement or I'm going to opt out.             And

 5 if they opt out, then they've got a proof of claim, which I

 6 will then adjudicate one by one, correct?

 7              MR. RICHARDS:     Correct.

 8              THE COURT:    Then why isn't that -- I mean, I always

 9 believe that choice is better than no choice, even if you make

10 a bad choice.     But why isn't -- why doesn't that give you all

11 of your options?

12              MR. RICHARDS:     There's a difference in availability

13 of relief.     So in these settlements there's a pool of cash

14 being made available --

15              THE COURT:    Sure.

16              MR. RICHARDS:     -- to people who didn't file proofs of

17 claim, as opposed to people who did file proofs of claim who,

18 if they're unsecured creditors, are limited to the relief under

19 the plan.     For the Wyoming County land owners, there's a --

20              THE COURT:    Can we take a --

21              MR. RICHARDS:     They're secured --

22              THE COURT:    Sure.   Can we take a step back?       I want

23 to go with you.      I want to understand this entire argument.            So

24 there's a pool of cash.        And you're telling me -- because I

25 didn't read it this way.        And maybe I need to go read it again.




        ACCESS TRANSCRIPTS, LLC               1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1567 of 1639
                                                                       1567

                                                                              32

 1 You're telling me that if someone filed a proof of claim but

 2 opts into the settlement, they don't get a pro rata share of

 3 that cash?

 4              MR. RICHARDS:     No, they do on the condition that they

 5 amend their lease.

 6              THE COURT:    Sure.

 7              MR. RICHARDS:     I think they're (audio interference)

 8 dividing it into two halves.

 9              THE COURT:    Okay.

10              MR. RICHARDS:     And so we have proofs of claim that

11 were filed dealing with pre-effective date royalty --

12              THE COURT:    On paper -- right.

13              MR. RICHARDS:     -- (audio interference) administrative

14 claims or royalty claims.          And then there's the post-effective

15 date royalties, that through the plan is unimpaired.

16              THE COURT:    Right.

17              MR. RICHARDS:     So the choice is to opt out of the

18 class and accept the relief that is available in the --

19              THE COURT:    Bankruptcy case.

20              MR. RICHARDS:     -- through the plan --

21              THE COURT:    Right.

22              MR. RICHARDS:     -- or go outside the plan, stay in the

23 settlement and get cash, but on the condition that you amend

24 the lease and impair --

25              THE COURT:    Sure.




        ACCESS TRANSCRIPTS, LLC               1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1568 of 1639
                                                                       1568

                                                                              33

 1              MR. RICHARDS:     So is that -- that (audio

 2 interference) between the impairment of the lease going forward

 3 and the terms of the plan create an issue here.

 4              THE COURT:    So -- and I still don't understand the

 5 issue, because you can either take what the law provides, which

 6 is you liquidate your claim in bankruptcy, and you get whatever

 7 you get, and then you have whatever rights you have under

 8 applicable law.      That's option one.     You can't ever complain

 9 about that.

10              Or number two, you can get something now, to which

11 you're not otherwise legally entitled, and you have to make a

12 give in order to get it.        I mean, that's the whole basis of

13 free choice, right?       I'm trying to understand what's wrong with

14 that.

15              MR. RICHARDS:     No, I think that's right, Judge.       And

16 it's the "not otherwise entitled" piece of it that's a little

17 troubling.

18              THE COURT:    Sure.

19              MR. RICHARDS:     Because we have a motion here that's

20 asking the Court to preliminarily approve and certify classes

21 where people who chose not to file proofs of claim have -- may

22 have different interests and different incentives than people

23 who chose to file proofs of claim and chose to litigate in this

24 Court.

25              THE COURT:    Right.




        ACCESS TRANSCRIPTS, LLC               1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1569 of 1639
                                                                       1569

                                                                              34

 1             MR. RICHARDS:      So the settlement can't be approved,

 2 preliminarily or otherwise, and the class can't be certified,

 3 preliminarily or otherwise, absent a showing that the named

 4 plaintiffs have the same interest as the absent class members

 5 that they are seeking to represent.

 6             THE COURT:     I got it.    So you're --

 7             MR. RICHARDS:      So in the --

 8             THE COURT:     You're really complaining -- what you're

 9 saying -- and I'm shortcutting, and I don't mean to do that --

10 what you're really saying is you're asserting that the named

11 plaintiffs violated their duty to all class members because

12 they failed to file a proof of claim.          That's what you're

13 really telling me.

14             MR. RICHARDS:      And what I'm saying is I don't think

15 there's an evidentiary record here, Judge, that allows you to

16 make the determination that they fairly and adequately

17 represented the class.       There's been no explanation as to why

18 they didn't file proofs of claim.         There's been no explanation

19 of how their interests align with people who did file proofs of

20 claim.    And there's been no evidentiary record that (audio

21 interference) their leases and the difference in their lease

22 language and the relief that they've agreed (audio

23 interference) forward or the terms that they've agreed to going

24 forward adequately (audio interference) interests of all class

25 members, including the people who chose to file proofs of




        ACCESS TRANSCRIPTS, LLC               1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1570 of 1639
                                                                       1570

                                                                              35

 1 claim.

 2             THE COURT:     So it's --

 3             MR. RICHARDS:      Now Mr. (audio interference) talks

 4 about --

 5             THE COURT:     So it's not only filed a proof of claim,

 6 but also your belief is they have to have the exact same lease

 7 as your 58 clients.

 8             MR. RICHARDS:      Not necessarily the exact same lease.

 9 But I think before you can certify the class, you have to be

10 able to show that the -- or the proponents of the settlement

11 have to be able to show and give you an analysis that shows

12 that there are enough similarities of lease language that their

13 interests are aligned with people who have different leases.

14             So a number of our clients have the Wyoming County

15 land owners' group lease, and we've put it in the record.               And

16 that lease specified a gross proceed downstream third-party

17 point of sale royalty valuation point.          And that's -- may be

18 different than someone who has a different lease without that

19 level of specificity.

20             The language in that lease that Mr. Donovan refers to

21 as a "market enhancement clause" is not quite the market

22 enhancement clause.      The language is written differently.           It's

23 sandwiched between two very important exclusions.            And that

24 lease has been interpreted by at least one arbitrator to

25 preclude the deduction of post-production costs, moving the gas




        ACCESS TRANSCRIPTS, LLC               1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1571 of 1639
                                                                       1571

                                                                              36

 1 from the wellhead to a downstream point of sale in an (audio

 2 interference) involving an assignee of Chesapeake.

 3             So offering somebody with a Wyoming County group plan

 4 -- land owners' group lease the option to amend their lease to

 5 basically accept a netback, or to accept an index price-based

 6 royalty calculation that an arbitrator has already found

 7 violates the lease, is not really relief.

 8             So, absent a showing that the plaintiffs who are

 9 slated to represent the classes in these cases has sufficient

10 interest aligned with people with those leases and people with

11 other lease forms, including to the extent that they pursued

12 the claims in bankruptcy, because adequacy (audio interference)

13 is something that's measurable at every stage that (audio

14 interference) class can't be certified right now.

15             THE COURT:     So I still don't understand.       So with

16 respect to your 58 folks, you're just going to opt out.             You

17 filed your proof of claim.        And then you've got whatever legal

18 rights you have under applicable law.          How could you be any

19 better off?

20             MR. RICHARDS:      Because the issue, Judge, is not

21 whether we can opt out.        We have the choice of opting out or --

22             THE COURT:     No, but it is -- it may not be the issue,

23 but it is my question, which makes it relatively important

24 since this is my hearing.

25             MR. RICHARDS:      No, I understand, Judge, and I'm




        ACCESS TRANSCRIPTS, LLC               1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1572 of 1639
                                                                       1572

                                                                              37

 1 trying to answer it, that we haven't determined yet whether the

 2 particular member of the group of 58 on whose behalf we filed

 3 objections (audio interference) opt out or object.            Right now,

 4 we are members of the class as defined, and under Rule 23, as

 5 currently written, we're objecting to the preliminary approval

 6 of the settlement.

 7              Whether ultimately we opt out, if we do opt out, then

 8 we lose that ability to object.

 9              THE COURT:    I got it.    All right.    And I interrupted

10 you a number of times.       Didn't mean to do that.      Anything else?

11              MR. RICHARDS:     No.   Just one other thing, Judge, and

12 this goes to the jurisdictional issue and the conversation that

13 Mr. Donovan and I had yesterday.         One of the questions that I

14 asked him is whether the money that's funding the settlement is

15 coming from new money post-effective date, from post-effective

16 date royalties for the reorganized debtor, post-effective date

17 revenue --

18              THE COURT:    Right.

19              MR. RICHARDS:     -- or it's some dedicated fund.       And

20 it's not clear to me that -- where it's coming from.            And based

21 on the settlement agreement, it appears that it's coming from

22 post-effective date funds, which would be another reason that

23 the Court doesn't have jurisdiction over the settlement or

24 should abstain.

25              The last point I want to make --




        ACCESS TRANSCRIPTS, LLC               1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1573 of 1639
                                                                       1573

                                                                              38

 1             THE COURT:     How could where the money comes from

 2 affect my jurisdiction?        I have the claims --

 3             MR. RICHARDS:      (Audio interference)

 4             THE COURT:     I have the claims.

 5             MR. RICHARDS:      Sure.    (Audio interference) --

 6             THE COURT:     The claims give me all the jurisdiction I

 7 need.

 8             MR. RICHARDS:      I think it matters because of the

 9 distinction between post-effective date -- the post-effective

10 date focus of this settlement.          So if you have a settlement

11 that really is about amending the leases going forward and

12 changing what they look like for land owners after the

13 effective date, and for leases that rode through the plan

14 confirmation unimpaired, that the fact that there isn't some

15 dedicated fund that existed in -- pre-effective date, but is

16 really coming out of the reorganized debtor's operations,

17 undercuts the suggestion that the Court either has jurisdiction

18 right now or shouldn't abstain in favor of Judge Mannion who

19 has the ability to deal with (audio interference) going forward

20 with (indiscernible).

21             THE COURT:     All right.

22             MR. RICHARDS:      The one last point I want to make,

23 Judge, is there really is something a little bit unusual here

24 in that the debtors are the parties who -- that is moving for

25 preliminary approval.       As you pointed out at the beginning of




        ACCESS TRANSCRIPTS, LLC               1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1574 of 1639
                                                                       1574

                                                                              39

 1 the hearing, the Rule 9019 inquiry of the fairness to the

 2 debtor and the debtor's interests is quite different than the

 3 lens through which preliminary approval has to be viewed.

 4 That's fairness, reasonable and adequacy to the class members,

 5 based on Amended Rule 23 that requires that evidentiary

 6 determination now.

 7             The class representatives have not filed any (audio

 8 interference).     They have -- settlement agreement delegates to

 9 the debtor the obligation to move for preliminary approval.

10 However, it's the class representatives who have the fiduciary

11 obligation to the class members to demonstrate to the class

12 members that this -- and to the Court that the settlement is

13 fair and adequate.

14             And it's their lack of creating an evidentiary -- or

15 an evidentiary record, their lack of pursuing the claims in

16 bankruptcy through proofs of claim undercut the ability of the

17 Court to both preliminarily certify the class, allow notice to

18 go out, and ultimately to finally certify the class.

19             THE COURT:     All right.    Thank you.    Anything else?

20             MR. RICHARDS:      Not (audio interference) Judge.

21             THE COURT:     All right.    Thank you.

22             I didn't give Mr. Seltz or Mr. Michael Donovan an

23 opportunity to talk to the substance.          I didn't mean to do

24 that.    I just realized I asked you a question and moved on.

25 My apologies.




        ACCESS TRANSCRIPTS, LLC               1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1575 of 1639
                                                                       1575

                                                                              40

 1              Either one of you wish to address any of the issues

 2 raised by Mr. Richards?

 3              MR. SELTZ:     I would, Your Honor.     I do want to --

 4 before I make a couple comments, mostly on the Rule 23 issues,

 5 I wanted to make sure that my colleague, Mr. Moffett, is able

 6 to speak.     I know he was having some technical difficulties

 7 with his video.      But I do want to see if he's able to

 8 participate by phone.        If he can hear us --

 9              THE COURT:     Certainly.   Mr. Moffett, if you haven't

10 already done so, if you would hit "five star" on your phone so

11 I can see you raise your hand.

12              All right.     So I now know that Mr. Moffett can hear

13 us.

14              Mr. Moffett, can you say something so we know that we

15 can hear you?

16              MR. MOFFETT:     Yes, Your Honor.     This is Larry

17 Moffett.     Can you hear me now?

18              THE COURT:     Very well.   Thank you, sir.

19              MR. MOFFETT:     Well, Your Honor, first of all, I

20 apologize.     I had the unfortunate circumstance happen, my

21 computer crashed just a little while ago.           So I am bound by my

22 phone and I apologize for that, Your Honor.           I was hoping to

23 participate by video.        And I have been able to listen to Your

24 Honor's remarks and the remarks that have been made thus far by

25 counsel, and I appreciate being given an opportunity to weigh




         ACCESS TRANSCRIPTS, LLC              1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1576 of 1639
                                                                       1576

                                                                              41

 1 in on just a couple of issues.        And certainly Mr. Seltz and I

 2 are available to answer any questions Your Honor may have.

 3             But, first of all, as Mr. Donovan -- Dan Donovan

 4 mentioned, I and Mr. Seltz are part of a group of attorneys who

 5 have been litigating these claims against Chesapeake in

 6 Pennsylvania for quite a long time.         We had initiated our

 7 proceeding in the Middle District Court of Pennsylvania back in

 8 August of 2013.      And it's been a long road.       And as Mr. Donovan

 9 mentioned, we've had several iterations, I guess you'd say, of

10 settlement agreements, which have been preliminarily approved

11 by Judge Mannion.

12             That proceeding slowed down for different reasons.

13 But -- and, of course, eventually, we ended up here in the

14 bankruptcy.     But the group that's involved on behalf of the

15 Demchaks as class counsel, we have substantial class action

16 experience, and we've been doing royalty owner payment claims

17 throughout the country for quite a long time.

18             And Your Honor, just to get right to the heart of the

19 matter here, we're very pleased with the settlement we've been

20 able to reach in this case.        And it's taken a long time.       But

21 we're excited about where we've ended up.          And of course, we

22 had to deal with the economic realities of Chesapeake's

23 bankruptcy, but this is a really good settlement for the class.

24 And the cash payment under the circumstances is reasonable.

25 And this future economic fit is very substantial.            And we join




        ACCESS TRANSCRIPTS, LLC               1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1577 of 1639
                                                                       1577

                                                                              42

 1 in very strongly supporting on behalf of the class -- in our

 2 role as class counsel, the Court's preliminary approval and the

 3 sending of notice to the class as we move forward to final

 4 approval.

 5             And I was not able to say anything earlier about it,

 6 but these issues you've raised about the Article III issues, we

 7 have been at it a long time, and we don't want to get through

 8 this process and get a little anxious right here at the end and

 9 take a misstep.      So we certainly defer to your judgment on how

10 things ought to be handled going forward procedurally in front

11 of the district judge.

12             Now, in terms of the settlement itself, and the need

13 for evidence, Your Honor, the agreement speaks for itself.                 And

14 it is -- when you look at the -- especially as the go-forward

15 relief, there really can be no doubt about the very substantial

16 economic benefit that the class members are going to receive

17 under this settlement.

18             A lot of the dispute that we had with Chesapeake, and

19 have had with Chesapeake throughout the years, including when

20 we first started talking to them about the problem, was our

21 concern about Chesapeake's taking of post-production costs for

22 gathering and compression operations to get the gas production

23 to the inlet of the interstate pipeline.

24             That has always been the primary focus of our concern

25 about the royalty payment calculation.          And under this




        ACCESS TRANSCRIPTS, LLC               1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1578 of 1639
                                                                       1578

                                                                              43

 1 settlement agreement on the go-forward methodology, those costs

 2 are not going to be imposed upon the land owners or the royalty

 3 owners in the "higher of" formula that's being proposed here

 4 where the land owners are going to be paid the higher of the

 5 in-basin index with no deductions or the netback price.             So,

 6 again, this is a very substantial increase in the royalty

 7 payments that the land owners are going to receive.

 8             Now, in terms of this issue that Mr. Richards has

 9 raised about filing proofs of claim or not, again, what we've

10 been focused on is trying to resolve these claims on a class

11 basis.    It does not make sense for these many thousands of

12 royalty owners to individually prosecute, either through proofs

13 of claim or individual arbitrations or whatever, these types of

14 claims.    And our goal has always been to try to achieve a

15 reasonable settlement for these land owners on a class basis.

16             We have stayed in contact with Mr. Donovan throughout

17 the years, throughout the bankruptcy, and we believed, based

18 upon our discussions with Mr. Donovan, that we would at the end

19 of the day be able to achieve a settlement for the class on

20 terms that were reasonable to the class.          And we chose to focus

21 on that approach, rather than try to split this off into

22 individual proceedings through proofs of claim or whatever.

23 But at the end of the day, the question is, as Your Honor looks

24 at the settlement agreement, is this a fair and reasonable

25 settlement.     And it undoubtedly is.




        ACCESS TRANSCRIPTS, LLC               1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1579 of 1639
                                                                       1579

                                                                              44

 1             And in terms of the question of potential differences

 2 in the leases, all these class members are going to have the

 3 same type of lease, in terms of the material provision that

 4 links them all together.       And that is the presence of these

 5 market enhancement clauses or ready for sale or use clauses in

 6 the leases.     All the class members have it in the lease.

 7             Now, to the extent that Mr. Richards is concerned

 8 about the effects that the settlement might have on his

 9 particular clients and his concern about that, Your Honor is

10 exactly right.     If Mr. Richards believes in his good judgment

11 that it would be better for his clients to not live with the

12 terms of this settlement agreement, he has a very obvious

13 option, and that is to opt out of the settlement agreement and

14 pursue his claims as he sees fit on behalf of his clients.

15             But that -- his concerns, he has the ability to do

16 that.    Nothing will stop him from doing that.         And he can have

17 his remedy wherever he wants to get it, and try to get whatever

18 relief he believes he might be entitled to achieve.            But we're

19 talking about thousands, thousands of land owners, who don't

20 have the ability to prosecute these claims on an individual

21 basis.

22             And that's the very purpose of a class action

23 settlement.     And we've achieved a good one for the class and

24 we're -- fully support it.        And we realize, you know, one of

25 the things I guess you learn as go along throughout life, Your




        ACCESS TRANSCRIPTS, LLC               1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1580 of 1639
                                                                       1580

                                                                              45

 1 Honor, is -- and we've done a lot of these class actions.             It's

 2 just hard to make everybody happy, and sometimes you're going

 3 to have a settlement where somebody wishes you could have

 4 gotten more, somebody wishes you could have gotten something

 5 different, but that is the -- there -- any material concerns

 6 people may have about that can be dealt with through their --

 7 the option they have to opt out.

 8             So we, again, think very strongly that this is a

 9 really good settlement for the class.          It should be approved.

10 We shouldn't get too caught up in any individual concerns

11 Mr. Richards may have for his clients, in view of his ability

12 to deal with those in a different way.          And we respectfully

13 request that Your Honor allow these -- this settlement to move

14 forward, approving it from a preliminary, and let's have notice

15 go out, and move forward so that we can get these benefits to

16 the Pennsylvania land owners who've waited for these types of

17 -- this type of relief for so long.

18             So, those are my thoughts, Your Honor.          We're

19 certainly available to answer any additional questions you may

20 have.

21             THE COURT:     All right.     Thank you.

22             Mr. Michael Donovan, did you want to add anything?

23             MR. MICHAEL DONOVAN:        Yes, Your Honor, just briefly.

24 One, let me say, first thank you, and two, I agree with

25 everything that Mr. Moffett said.          Let me highlight for Your




        ACCESS TRANSCRIPTS, LLC               1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1581 of 1639
                                                                       1581

                                                                              46

 1 Honor the fact that as I read the objections, it doesn't

 2 involve any of the non-MEC leases.         It's focused on the MEC

 3 leases (audio interference) leases that have market

 4 enhancement-type attributes.        So I don't think the objection

 5 nor the proofs of claims related to those Wyoming County leases

 6 really embrace what the class is that we represent.

 7             Two, the AG settlement is already implementing the

 8 option, and it is going to provide that option to my client.

 9 So it really doesn't have a bearing on -- as a go-forward with

10 regard to non-MEC leases, so I don't think the objection should

11 forestall the preliminary approval of the non-MEC claims.

12             Three, we didn't -- the non-MEC claimants here didn't

13 file a proof of claim because it was clear that Chesapeake

14 would have to deal with the (indiscernible) claims,

15 (indiscernible) in some way.        Whether -- but in that way, they

16 would be (indiscernible).       We would not see any cash really,

17 because the (indiscernible) damages were in fact -- basically

18 have a diminished recovery, due to (indiscernible), and the go-

19 forward really wouldn't be materially different from what it is

20 in this settlement.      So this settlement is a win-win.

21             Finally, let me address the real claims requirement.

22 There's no doubt there's numerosity in this case.            There's no

23 doubt that there's commonality, and there is little doubt what

24 the non-MEC claim is.       The non-MEC claim is not that you're

25 violating the lease, per se, in terms of the contractual claim.




        ACCESS TRANSCRIPTS, LLC               1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1582 of 1639
                                                                       1582

                                                                              47

 1 The non-MEC claim is (indiscernible) claim that, in fact,

 2 Chesapeake conspired with an affiliate to inflate the amount of

 3 royalty deductions in order to pay back promised amounts on

 4 bonds that it used to finance the construction of its gas

 5 gathering operation.

 6              That was the (indiscernible) conspiracy alleged.

 7 That was the nature of the claim.         There's no doubt that for

 8 these leases Chesapeake could subtract the amount of the gas

 9 gathering costs and the transportation costs.

10              Our contention was that they -- those costs were

11 inflated due to the affiliate agreement.          There is no more

12 affiliate.     That entity was sold off to Williams.         So the

13 common question, there's no doubt there was a common question

14 for the class membership.       There's no doubt that my clients had

15 the typical claim, as all other non-MEC lease (indiscernible)

16 certify.     There's no doubt that handling that type of

17 (indiscernible)      claim on a class basis is far superior than a

18 -- handling the claim individually.         My clients are farmers,

19 and there's no doubt that many of the people in Bradford County

20 and Upstate Pennsylvania are, in fact, farmers.           They're not

21 going to pursue these claims by (indiscernible) claims or

22 otherwise.

23              So clearly, to the nature of the claim, and the

24 question that was a predominating question, we satisfied all of

25 Rule 23.     Now, is this settlement fair, reasonable, and




        ACCESS TRANSCRIPTS, LLC               1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1583 of 1639
                                                                       1583

                                                                               48

 1 adequate?     I don't think that they dispute that it is.            It's

 2 not materially different, except for the fact that it's

 3 diminished due to the bankruptcy from the settlement that we

 4 entered into in 2018 and filed with Judge Mannion for

 5 preliminary approval.       Yes, the cash is low, but that's because

 6 of the bankruptcy.       It -- we're -- the fact of the matter is,

 7 even without preliminary approval here, the lease options will

 8 be presented by the Attorney General settlement.            You're

 9 inclined to approve that, I think.         So I believe that this

10 settlement, for the non-MEC class, should be preliminarily

11 approved, and then we should go out so my clients can get the

12 benefit of the settlement (indiscernible).            Thank you.

13             THE COURT:     All right.    Thank you.

14             I saw Mr. Betsko pop on.       Mr. Betsko, I didn't want

15 to ignore you.     I think that we've got the Commonwealth

16 covered, but if there's something that you wanted to say or

17 add, I certainly want to give you the opportunity.            Oh, and

18 Mr. Betsko, I am sorry.        Could you hit "five star" on your

19 phone?    There you go.     717.

20             MR. BETSKO:     Your Honor, I'm sorry, I had -- my line

21 had some issues here on my laptop.         I didn't have video.        I

22 just resort -- I resolved it.        But thank you for acknowledging

23 me, and, you know, again I just want to echo that the

24 settlement, you know, reflects, you know, a good faith

25 negotiation by, you know, Chesapeake, and that -- and also an




        ACCESS TRANSCRIPTS, LLC               1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1584 of 1639
                                                                       1584

                                                                              49

 1 arm's length negotiation, and that we believe that the

 2 settlement is in the public interest for our citizens, and

 3 unless you have any further questions for me, that's all I

 4 have.

 5             THE COURT:     All right, thank you.      Mr. Dan Donovan, I

 6 didn't give you an opportunity to respond to Mr. Richards.

 7             MR. SELTZ:     Just before --

 8             THE COURT:     I'm sorry, Mr. Seltz, I do apologize.

 9             MR. SELTZ:     I -- thank you, Your Honor, and I'll be

10 very brief.     I don't want to belabor any of these issues, and I

11 just wanted to take a quick opportunity to respond to

12 Mr. Richards's --

13             THE COURT:     Sure.

14             MR. SELTZ: -- arguments about the Rule 23

15 requirements, particularly post-December 2018 amendments, and

16 the changes to the process for this stage of cross-action

17 settlement approval.

18             If you look at the advisory committee notes to those

19 rules, it's very clear that the substance of the -- the

20 standard that the Court continues to apply hasn't changed, as

21 -- not as substance.       The committee was clear that the standard

22 remains fair, reasonable, and adequate, and although it refers

23 to the need to present a solid record to let the Court decide

24 whether notice should go out to the class, there's not a

25 particular evidentiary requirement.         There's -- the rule itself




        ACCESS TRANSCRIPTS, LLC               1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1585 of 1639
                                                                       1585

                                                                              50

 1 refers to providing information sufficient to determine whether

 2 notice should go out.       I'm not aware of oil and gas cases where

 3 the kind of lease analysis that we may need to do on a

 4 litigated class certification motion that would involve expert

 5 analysis of lease form.        I'm not aware of that kind of analysis

 6 ever being required at this stage, and, you know, the -- as

 7 Mr. Moffett said, the information that's being provided to the

 8 class, and the results of -- in the settlement agreement, and

 9 the notice itself meets all of the requirements for -- to

10 satisfy due process under Rule 23(e).

11             So I just wanted to address that small issue around

12 the change to the rules in 2018, which again, was just intended

13 to sort of streamline the list of factors that the Court is to

14 look at, but it doesn't change the core question, which is

15 whether the settlement is fair and reasonable, and we think

16 that there's no question that this is.

17             THE COURT:     All right, thank you.

18             Mr. Dan Donovan.

19             MR. DANIEL DONOVAN:      Thank you, Judge.      Nothing on

20 the procedure that's been addressed, but I know there's some

21 Pennsylvania lessors listening, so I do want to make clear in

22 response to Mr. Richards.        No one is being impaired.      The offer

23 which was demanded by the Attorney General for the MEC class

24 and the non-MEC class, was that someone would have the option.

25 They could keep what they have, which is traditionally the




        ACCESS TRANSCRIPTS, LLC               1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1586 of 1639
                                                                       1586

                                                                              51

 1 (indiscernible), or choose -- the MEC gets the higher of, the

 2 non-MEC gets to choose.        So any suggestion -- and I just want

 3 to make sure it's very clear no one is being impaired.             That

 4 would be inconsistent with the whole resetting.

 5             So that's my only point, Judge, thank you.

 6             THE COURT:     All right, thank you.

 7             Mr. Richards, I'll give you the last word.

 8             MR. RICHARDS:      Judge, very quickly in response to

 9 Mr. Seltz, the advisory committee note to Rule 23 is very clear

10 that at the preliminary approval stage, the proponents of the

11 settlements and the class representatives need to present the

12 record that they intend to rely on at final approval and (audio

13 interference) there.

14             In terms of the explanations you heard today to the

15 reasons for not filing proofs of claim, as I understand, Mr.

16 Moffett believes it's not fair to require people to file proofs

17 of claim in a bankruptcy unless it's on a class basis.             I'm not

18 quite sure I understand that reason.         And as I understand what

19 Mr. Donovan said, he did -- his clients didn't file proofs of

20 claim because they primarily wanted to pursue post-effective

21 date claims against Chesapeake, and it seems to me that that

22 statement undercuts the basis for jurisdiction.

23             But the final point that I'll make just with respect

24 to the non-MEC settlement.        Two of the clients I represent are

25 in the non-MEC class, Robert and Wendy Dunlop (phonetic) and




        ACCESS TRANSCRIPTS, LLC               1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1587 of 1639
                                                                       1587

                                                                              52

 1 R.B. and J.H. Rutledge (phonetic).

 2             THE COURT:     All right.    Thank you.     All right.

 3             So folks, here's what I'm going to do, and I do this

 4 doing my best to fit Bankruptcy Rule 9019, the plethora of

 5 authority, as to what I'm supposed to do when a debtor in

 6 bankruptcy is involved in a settlement, and I'm guided -- I'm

 7 lucky to have a circuit that has written on this many times.

 8 It started with In Re AWECO which was interpreting the Supreme

 9 Court's decision in TMT Trailer, I've got cases such Jackson

10 Brewing, Foster Mortgage, and a progeny of cases that have

11 interpreted and followed those, what I consider to be landmark

12 decisions with respect to compromises.

13             I've got before me the debtor's motion to approve a

14 compromise.     It does more than that, but I'm -- it's a

15 compromise motion.       I do find that I have jurisdiction over the

16 motion pursuant to 28 U.S.C. Section 1334.            I do -- I just

17 reject the jurisdictional arguments that have been made.               I

18 just don't -- they don't make sense to me.

19             I do find that the matter constitutes a core

20 proceeding under 28 U.S.C. Section 157.          I further find that I

21 have the requisite constitutional authority to enter final

22 orders with respect to these matters under the Supreme Court's

23 holding, both with respect to consent as well as the inherent

24 authority given to me under the code.

25             With respect to -- and I want to divide this up.




        ACCESS TRANSCRIPTS, LLC               1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1588 of 1639
                                                                       1588

                                                                                  53

 1 With respect to the Pennsylvania AG's settlement, in my career

 2 as a lawyer, and as well as observing the Pennsylvania AG while

 3 I've been on the bench, I have -- I rarely see a state court

 4 AG's Office that is as vigorous in the pursuit of justice for

 5 its citizens as the Commonwealth of Pennsylvania.            I have seen

 6 them as a litigant, I have seen them as a mediator, I've seen

 7 them as a judge.      There isn't any question that they do their

 8 absolute best to achieve the result that they think is best for

 9 their citizens.      There is no question, and I have great

10 familiarity with Mr. Butler over the course of 30 years, there

11 is no question in my mind but that he is a vigorous advocate,

12 sometimes to my negative.       But there is no question that he is

13 a vigorous advocate for his client.

14             I have observed what they have done throughout the

15 end case since it filed back in 2020.          That was in June.     They

16 have been a participant in this case.          I am aware of the claims

17 that have been asserted, I am aware of the impact that it could

18 have upon this reorganized debtor at the time, the estate.                 I

19 will find that the settlement was negotiated at arm's length,

20 and represents the best in terms of restructuring talent, and I

21 am comfortable that everyone has explored every option on

22 behalf of their respective clients, and the resulting

23 settlement is fair and equitable, not only to the debtors, but

24 to all parties concerned.       And so I will give final approval to

25 the Pennsylvania AG's settlement, and I'm going to come back to




        ACCESS TRANSCRIPTS, LLC               1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1589 of 1639
                                                                       1589

                                                                              54

 1 this as to how we implement this.

 2             With respect to the two class action settlements,

 3 first from the 9019 point of view, I do find, based upon my

 4 knowledge of the case, the review of the settlement itself,

 5 given all of the issues that I observed during the case, I've

 6 also considered the arguments of counsel.          There really isn't a

 7 genuine dispute about the core issues.          I've reviewed the

 8 settlement agreement.       I've got 30-plus years in the energy

 9 industry.     Granted, it was substantially all Texas and

10 Louisiana, but oil and gas is oil and gas, subject to

11 regulatory messing everything up on an occasional basis, but

12 the core concepts are the same.

13             With respect to the 9019 aspect of it, I do find that

14 the proposed settlement satisfies the requirements that I am

15 required to apply, again, under Foster Mortgage and Jackson

16 Brewing, and I -- from the debtor's side, I will approve the

17 settlement.

18             With respect to the class action side, and

19 Mr. Richards, I want you to listen closely, because here's --

20 I'm trying to -- I know Rule 23 well, and I know that there are

21 certain -- it's not two perfect pieces of a puzzle.            I run into

22 it all the time when I apply Rule 23 with respect to class

23 proofs of claim that get filed, and I do my best to try to find

24 a way to make it all work.        I am comfortable, based upon what

25 I've read, that this settlement is appropriate.           It's fair,




        ACCESS TRANSCRIPTS, LLC               1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1590 of 1639
                                                                       1590

                                                                                  55

 1 it's reasonable.      It is intended to recognize reality.         So I am

 2 very comfortable that it is fair and reasonable and adequate

 3 with respect to all of the putative class members.

 4              I -- with respect to the merits, very comfortable.

 5 It just makes perfect sense to me, and I -- if I were

 6 comfortable that I had the requisite ability to approve it on a

 7 final basis, I would.       And that is -- that constitutes both a

 8 finding as well as a recommendation to the district court.

 9              However, I am cognizant of the decisions that have

10 been entered by my circuit regarding the extent of the

11 authority that I have with respect to the ultimate

12 certification of a class.       So for purposes of being able to

13 start the process, I am going to give preliminary approval to

14 the class.     I'm going to approve the form of notice and start

15 the process.     What I am doing, I'm specifically putting this on

16 the record, Mr. Richards, and I want you to look at the

17 language that goes into it.        I recognize that I hold the status

18 only of an Article I judge, and I do think that the -- I do

19 think that the final determinations with respect to

20 certification of a class should be done by an Article III.                 I

21 think that's what the rules contemplate, I think that's what

22 the law contemplates, and so what I am putting on the record,

23 and I am recommending to the district court that will hear the

24 matter, is that you can raise all of the issues that you have

25 raised today.     You will not be precluded from re-raising those




        ACCESS TRANSCRIPTS, LLC               1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1591 of 1639
                                                                       1591

                                                                              56

 1 issues.

 2             My recommendations, my findings, my conclusions, they

 3 mean what they mean, and again, I'm telling you that if I had

 4 an Article III after my name, this would be an easy call for

 5 me, but I don't, and so you're going to get the opportunity to

 6 raise all of those issues in front of -- again, I will follow

 7 my protocol, I -- as I've told you before, I will go to

 8 Judge Rosenthal.      Judge Rosenthal will have the ability to

 9 either keep the case, or keep the matter herself, or she can

10 assign another district judge to hear the matter as these --

11 the rules of the district court provide.

12             I want to make it very clear, you are free to

13 criticize what I've done.       You are free to say Jones doesn't

14 know what he's doing.       You know, I am the guy that won Bolin

15 (phonetic) twice, but I lost it three times at the Circuit, so,

16 you know, it's -- that's my claim to fame.

17             But you can raise all of those issues.          My goal is to

18 get it right.     This just makes really good sense to me.          I

19 understand that you're going to sit down and do the analysis

20 with respect to each of your individual clients.            That's what

21 good lawyers do, and I have every belief you will do that, but

22 to the extent that there are folks that just think that this

23 isn't right for whatever reason, you can raise all those issues

24 in front of the district court.         I'm going to start the

25 process, because I think it's inherently unfair for 58 people




        ACCESS TRANSCRIPTS, LLC               1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1592 of 1639
                                                                       1592

                                                                              57

 1 to hold up tens of thousands, or thousands, when you always

 2 have the ultimate ability to say, I'll simply take what the law

 3 provides, and that is, litigate my claim for pre-effective date

 4 in the Bankruptcy Court, and pursue whatever Pennsylvania law

 5 allows for post-effective date.

 6             That gives me a lot of comfort, because that's all

 7 you were ever entitled to.        Anything more is something --

 8 there's always a give for every take, and that just has to be

 9 part of life.

10             So Mr. Donovan, what I would like for you to do --

11 and I make those findings and conclusions on the record,

12 pursuant to Bankruptcy Rule 7052, as made applicable to this

13 contested matter by Bankruptcy Rule 9014.          What I would like

14 for you to do, Mr. Donovan, is to -- and I -- this is a

15 question.     Do you want a separate order?       Does the Pennsylvania

16 AG want a separate order with respect to the Pennsylvania

17 settlement, and if so, does the order that was attached to the

18 original motion as I've supplemented on the record suffice for

19 the debtors and the Pennsylvania AG?

20             MR. DANIEL DONOVAN:      It does for the debtors, Judge.

21             THE COURT:     Please -- okay.

22             MR. MICHAEL DONOVAN:        Your Honor -- yes, for

23 Pennsylvania it does, too.

24             THE COURT:     All right.

25             MR. MICHAEL DONOVAN:        Thank you, Your Honor.




        ACCESS TRANSCRIPTS, LLC               1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1593 of 1639
                                                                       1593

                                                                              58

 1             THE COURT:     So with respect to the order that was

 2 attached to 3175, which was the Pennsylvania AG only, I will

 3 sign that and get that on the docket momentarily.

 4             MR. MICHAEL DONOVAN:      Thank you.

 5             THE COURT:     With respect to the remainder,

 6 Mr. Donovan, what I'd like for you to do is to craft an order

 7 that provides a blank that says that the final hearing will be

 8 heard by Judge blank, a United States District Judge, on blank.

 9 And I will immediately reach out to Judge Rosenthal.            I don't

10 know if she's in the courthouse today or not, but she will

11 certainly be available by email and/or cell phone if she's not.

12             But if you will do that, and maybe -- maybe, you

13 know, let's do this; and I'm thinking out loud.           Perhaps it

14 would be better to include two blanks in the order, that one,

15 that the district court will hold a status conference, and I

16 will suggest that it be done in relatively short order, and

17 that may be accepted, it may be rejected, but so that you all

18 get acclimated with who your judge is going to be.            You find

19 out if it's going to be Judge Rosenthal or another district

20 judge, and then at that time, because I want the notice -- I'm

21 thinking out loud here, and I probably shouldn't do this.              That

22 order -- you probably need your final settlement hearing in

23 order to be able to send everything out.

24             MR. MICHAEL DONOVAN:      We do.

25             THE COURT:     So why don't --




        ACCESS TRANSCRIPTS, LLC               1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1594 of 1639
                                                                       1594

                                                                              59

 1             MR. MICHAEL DONOVAN:        Judge, it'll take us a little

 2 bit of time to get effect -- to get it ready anyhow, Judge, so

 3 there's a little inherent --

 4             THE COURT:     No, I got it, I'm just trying to figure

 5 out what goes in that order.        I'm going to go back to where I

 6 started.    Don't put in a status conference.         Just put in a

 7 blank for a settlement hearing, and then if Judge Rosenthal or

 8 somebody else wants to do anything different, I am very

 9 confident that they will go, well, Jones didn't do it right,

10 we're going to do a new order, and so they'll just do whatever

11 they think they should do.        That work?

12             And what I would like --

13             MR. DANIEL DONOVAN:      Yes, Judge.

14             THE COURT:     What I would like you to do is, I would

15 like you to run that proposed form of order by Mr. Richards so

16 that he's comfortable that he can raise all of these issues,

17 again, Mr. Richards, so that I know that you've seen it, I

18 would like for you to approve the order as to form only.              I'll

19 put on the record here today that by approving as to form only,

20 you're not waiving any right of review, or complaint, or appeal

21 that you may have.       You're simply confirming that the order

22 corresponds to the findings that I've made on the record.              Does

23 that give you sufficient comfort that you can do that?

24             MR. RICHARDS:      It does, Judge.     Thank you.

25             THE COURT:     All right.     And Mr. Donovan, if you will




        ACCESS TRANSCRIPTS, LLC               1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1595 of 1639
                                                                       1595

                                                                              60

 1 -- I'm going to start the process immediately, but if you --

 2 and if I get an -- if I get a response from Judge Rosenthal, I

 3 will have Mr. Alonso convey that to all of you, so that you can

 4 go ahead and put that in the order, but if you don't hear from

 5 him, if you would upload the order with blanks, as soon as

 6 you're happy with it, Mr. Seltz has approved it, Mr. Donovan's

 7 approved it, and then I will -- and let him know that it's

 8 there, then I will get that done so that I can get you to the

 9 right person so that you can move forward.

10             MR. DANIEL DONOVAN:        Thank you, Judge, we'll do that.

11             THE COURT:     All right.     Anything else we need to talk

12 about this morning?

13             MR. DANIEL DONOVAN:        Not from Chesapeake, Judge.

14             THE COURT:     All right, thank you all, and Mr. Butler,

15 Mr. Betsko, I'll get your order on the docket in the next ten

16 minutes.

17             MR. BETSKO:     Thank you, Your Honor.

18             THE COURT:     All right, thank you, everyone.

19             COUNSEL:     Thank you, Your Honor.

20             THE COURT:     Please continue to be safe.       Get your

21 shots, if you haven't.       And if you have, be a leader, let

22 everyone else know.       Thank you.     We'll be adjourned.

23             COUNSEL:     Thank you, Your Honor.

24       (Proceedings end at 10:26 a.m.)

25                                 * * * * *




        ACCESS TRANSCRIPTS, LLC               1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1596 of 1639
                                                                       1596

                                                                              61

 1                        C E R T I F I C A T I O N

 2

 3             I, Alicia Jarrett, court-approved transcriber, hereby

 4 certify that the foregoing is a correct transcript from the

 5 official electronic sound recording of the proceedings in the

 6 above-entitled matter, and to the best of my ability.

 7

 8

 9

10 ____________________________

11 ALICIA JARRETT, AAERT NO. 428            DATE:   April 2, 2021

12 ACCESS TRANSCRIPTS, LLC

13

14

15

16

17

18

19

20

21

22

23

24

25




        ACCESS TRANSCRIPTS, LLC               1-855-USE-ACCESS (873-2223)
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1597 of 1639
                                                                       1597
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1598 of 1639
                                                                            1598



                                UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                     BANKRUPTCY COURT                                                        ENTERED
                                                                                                             04/07/2021
                                                          )
    In re:                                                )   Chapter 11
                                                          )
    CHESAPEAKE ENERGY CORPORATION,                        )   Case No. 20-33233 (DRJ)
    et al.,1
                                                          )
                           Debtors.                       )   (Jointly Administered)
                                                          )

  ORDER (I) DIRECTING THE APPLICATION OF RULES 9014, 9019, AND 7023, (II)
    GRANTING PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT,
(III) PRELIMINARILY CERTIFYING A CLASS FOR SETTLEMENT PURPOSES, (IV)
 APPROVING FORM AND MANNER OF CLASS NOTICE, AND (V) SETTING DATE
    FOR FINAL APPROVAL HEARING ON FINAL APPROVAL OF SETTLEMENT




1
  A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors'
claims and noticing agent at https://dm.epiq11.com/chesapeake. The location of Debtor Chesapeake Energy
Corporation's principal place of business and the Debtors' service address in these chapter 11 cases is 6100 North
Western Avenue, Oklahoma City, Oklahoma 73118.
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1599 of 1639
                                                                         1599



       Upon the motion (the “Motion”) of Chesapeake Energy Corporation (“Chesapeake”) for

entry of an order (this “Order”): (i) directing the application of Rules 9014, 9019, and 7023 of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and, by incorporation, Rule 23

of the Federal Rules of Civil Procedure (the “Federal Rules”), (ii) granting preliminary approval

of the class action settlement attached as Exhibit 2 to the Motion (the “Settlement Agreement”);

(iii) preliminarily certifying a class for settlement purposes, (iv) approving the form and manner

of Class Notice to members of the Settlement Agreement, and (v) setting date for final approval

hearing on final approval of the settlement, and this Court having jurisdiction over this matter

pursuant to 28 U.S.C. §§ 157 and 1334; and this Court having found that this is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2); and this Court having found that it may enter a preliminary

order consistent with Article III of the United States Constitution; and this Court having found that

venue of this proceeding and the Motion in this district is permissible pursuant to 28 U.S.C. §§

1408 and 1409; and this Court having found that the relief requested in the Motion is in the best

interests of the Debtors’ estates, their creditors, and other parties in interest; and this Court having

found that the Debtors’ notice of the Motion and opportunity for a hearing on the Motion were

appropriate under the circumstances and no other notice need be provided; and this Court having

reviewed the Motion and having heard the statements in support of the relief requested therein at

a hearing before this Court (the “Hearing”); and this Court having determined that the legal and

factual bases set forth in the Motion and at the Hearing establish just cause for the relief granted

herein; and upon all of the proceedings had before this Court; and after due deliberation and

sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

       1.      The Motion is granted to the extent set forth herein.




                                                  -2-
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1600 of 1639
                                                                         1600



        2.      The Court has considered the objection filed by the “Pennsylvania Proof of Claims

Lessors” (Dkt. No. 3335) and overrules the objection at this time, without prejudice to such lessors’

rights to raise any issues in the District Court.

        3.      Accordingly, the Settlement Agreement attached as Exhibit 2 to the Motion is

hereby preliminarily approved. The Court preliminarily finds that the Settlement Agreement

complies with Federal Rule of Civil Procedure 23 and the Class Action Fairness Act of 2005

(“CAFA”) (28 U.S.C. §1715).

        4.      The form of the notice to be sent to the Class Members (the “Class Notice”)

attached to the Settlement Agreement as Exhibit D and the service of the Class Notice by the Epiq

Corporate Restructuring LLC (the “Settlement Administrator”) to each class Member, at the last

known address of each Class Member according to the Debtors’ books and records comports with

all applicable law and is hereby approved.

        5.      The Class Notice shall be mailed by first-class mail, postage prepaid, by the Notice

Administrator within 15 business days following the entry of this Order.

        6.      The parties shall file motions and memoranda in support of final approval of the

Settlement Agreement and Class Counsel shall file their request for attorneys’ fees and expense

reimbursements 45 days from the date of this Order.

        7.      Any member of the Class who wishes to object to or comment on the proposed

settlement, or to object to Class Counsel’s request for attorney’s fees and expense reimbursements,

must postmark and mail such objections or comments by 60 days from the order. In accordance

with the procedures set forth in the Settlement Notice, any such objections or comments must be

mailed to Class Counsel, Chesapeake’s counsel, and the Court.




                                                    -3-
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1601 of 1639
                                                                         1601



       8.      Any member of the Class who wishes to exclude himself or herself from the Class

Settlement must postmark and mail the exclusion request to Class Counsel and Chesapeake’s

counsel no later than 60 days from the order.

       9.      Any class member who wishes to appear and be heard at the final approval hearing

must postmark and mail notice of such intention by June 22, 2021. Notice of such intention must

be mailed to Class Counsel, Chesapeake’s counsel, and the Court.

       10.     By June 18, 2021, Class Counsel and Chesapeake may file a response to any Class

Member’s objections or comments.

       11.     The final Fairness hearing will be resolved by an Article III court, and to that end,

Chief Judge Rosenthal of the U.S. District Court for the Southern District of Texas has determined

that the Fairness Hearing will be conducted on June 29, 2021 at 10:00 a.m. to consider final

approval of the Settlement Agreement and Class Counsel’s request for attorneys’ fees and expense

reimbursements. The Court may adjourn the Fairness Hearing without further notice of any kind.

       12.     This Court retains jurisdiction to construe, interpret, enforce, and implement the

Settlement Agreement and this Order.

       SO ORDERED this ____ day of _________, 2021.
       Signed: April 07, 2021.

                                                      ____________________________________
                                                      DAVID R. JONES
                                                      UNITED STATES BANKRUPTCY JUDGE




                                                -4-
 Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1602 of 1639
                                                                        1602



APPROVED AS TO FORM BY
CLASS COUNSEL AND COUNSEL
FOR THE MEC PLAINTIFFS

/s/ Daniel E. Seltz (with permission)
Daniel E. Seltz
Lieff, Cabraser, Heimann & Bernstein,
LLP
250 Hudson St., 8th Floor
New York, NY 10013

APPROVED AS TO FORM BY
COUNSEL FOR THE
PENNSYLVANIA PROOF OF
CLAIM LESSORS

/s/ Ira Richards (with permission)
Ira Neil Richards
Schnader Harrison Segal & Lewis LLP
1600 Market St
Suite 3600
Philadelphia, Pa 19106
(215)751-2503


APPROVED AS TO FORM BY
COUNSEL FOR CHESAPEAKE:

/s/ Daniel T. Donovan
Daniel T. Donovan
Ragan Naresh
Kirkland & Ellis LLP
1301 Pennsylvania Ave., N.W.
Washington DC 20004




                                        -5-
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1603 of 1639
                                                                         1603



                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

                                                § Chapter 11
In re:                                          §
                                                § Case No. 20-33233
CHESAPEAKE ENERGY                               §
CORPORATION et al.,                             § Jointly Administered
                                                §
                Reorganized Debtors.            §
                                                §


                     NOTICE OF APPEAL UNDER 11 U.S.C. § 158(a)(1)
                          AND STATEMENT OF ELECTION


         The Pennsylvania Proof of Claim Lessors, a group of Pennsylvania oil and gas lessors

(the “Pennsylvania Proof of Claim Lessors”), submit this Notice of Appeal in conformity with

Bankruptcy Rule 8003 and Official Bankruptcy Form 417A.

Part 1: Identify the appellants

         Names of the appellants: The Pennsylvania Proof of Claim Lessors who are the

appellants for purposes of this Notice of Appeal are RDNJ Trowbridge and Robert & Wendy

Dunlap. These Lessors are included within the definition of the Class in what has been termed

“the Non-MEC Settlement.”

         The appellants are creditors in this bankruptcy case who have filed proofs of claim.

Part 2: Identify the subject of this appeal

         This appeal is from the Bankruptcy Court’s order granting the Reorganized Debtors’ (the

“Debtors”) motion for preliminary approval of a class settlement that Debtors refer to as “the

Non-MEC Settlement.” Appellants appeal the Bankruptcy Court’s April 7, 2021 Order (I)

Directing the Application of Rules 9014, 9019, and 7023, (II) Granting Preliminary Approval of




                                                                                    PHDATA 7709064_1
    Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1604 of 1639
                                                                           1604



Class Action Settlement, (III) Preliminarily Certifying a Class for Settlement Purposes, (IV)

Approving Form and Manner of Class Notice, and (V) Setting Date for Final Approval Hearing

on Final Approval of Settlement. ECF No. 3415. A copy of the Order is attached as Exhibit A.

Part 3: Identify the other parties to the appeal

       The Debtors are the other parties to this appeal.1 The named plaintiffs in the Non-MEC

Settlement are James L. Brown, Alice R. Brown, Sussenbach Family L.P., James S.

Suessenbach, and Gina M. Sussenbach (“Named Plaintiffs”). They have not filed proofs of

claim in these proceedings and did not make any filing in the Bankruptcy Court in connection

with the Debtors’ motion that resulted in the order the Pennsylvania Proof of Claim Lessors

appeal from here, but they might take the position that they, too, are appellants. The names,

addresses, and telephone numbers (where provided) of the parties’ attorneys are as follows:

Appellants’ Attorneys:

       Ira N. Richards (admitted pro hac vice)
       Richard A. Barkasy (admitted pro hac vice)
       Arleigh Helfer III (admitted pro hac vice)
       Schnader Harrison Segal & Lewis LLP
       1600 Market Street, Suite 3600
       Philadelphia, PA 19103-7286
       Telephone: (215) 751-2000
       Facsimile: (215) 751-2205
       irichards@schnader.com
       rbarkasy@schnader.com
       ahelfer@schnader.com

       Aaron D. Hovan (admitted pro hac vice)
       Law Office of Aaron Hovan
       154 Warren St.
       Tunkhannock, PA 18657

1
       The complete list of Reorganized Debtors in these chapter 11 cases may be obtained on
       the website of the Debtors’ claims and noticing agent at https://dm.epiq11.com/
       chesapeake. The location of Debtor Chesapeake Energy Corporation’s principal place of
       business and the Debtors’ service address in these chapter 11 cases is 6100 North
       Western Avenue, Oklahoma City, Oklahoma.



                                                2
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1605 of 1639
                                                                         1605



      Telephone: (570) 836-3121
      aaron@hovanlaw.com

Appellee Reorganized Debtors’ Attorneys:

      Matthew D. Cavenaugh (TX Bar No. 24062656)
      Jennifer F. Wertz (TX Bar No. 24072822)
      Kristhy M. Peguero (TX Bar No. 24102776)
      Veronica A. Polnick (TX Bar No. 24079148)
      JACKSON WALKER L.L.P.
      1401 McKinney Street, Suite 1900
      Houston, Texas 77010
      Telephone: (713) 752-4200
      Facsimile: (713) 752-4221
      Email: mcavenaugh@jw.com
      jwertz@jw.com
      kpeguero@jw.com
      vpolnick@jw.com

      Daniel T. Donovan, Esq.
      Ragan Naresh
      KIRKLAND & ELLIS LLP
      1301 Pennsylvania Avenue, N.W.
      Washington, D.C. 20004
      Telephone: (202) 389-5174
      Email: daniel.donovan@kirkland.com
      ragan.naresh@kirkland.com

      Patrick J. Nash, Jr., P.C. (admitted pro hac vice)
      Marc Kieselstein, P.C. (admitted pro hac vice)
      Alexandra Schwarzman (admitted pro hac vice)
      KIRKLAND & ELLIS LLP
      KIRKLAND & ELLIS INTERNATIONAL LLP
      300 North LaSalle Street
      Chicago, Illinois 60654
      Telephone: (312) 862-2000
      Facsimile: (312) 862-2200
      Email: patrick.nash@kirkland.com
      marc.kieselstein@kirkland.com
      alexandra.schwarzman@kirkland.com

      Anna Rotman, P.C. (TX Bar No. 24046761)
      Kenneth Young (TX Bar No. 24088688)
      Dustin Womack (TX Bar No. 24115963)
      KIRKLAND & ELLIS LLP
      KIRKLAND & ELLIS INTERNATIONAL LLP
      609 Main Street


                                               3
    Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1606 of 1639
                                                                           1606



       Houston, Texas 77002
       Telephone: (713) 836-3600
       Facsimile: (713) 836-3601
       Email: anna.rotman@kirkland.com
       kenneth.young@kirkland.com
       dustin.womack@kirkland.com

Named Plaintiffs’ Attorneys2

       Noah Axler
       Axler Goldich, LLC
       1520 Locust St., Suite 301
       Philadelphia, PA 19102

       Michael D. Donovan
       Donovan Litigation Group, LLC
       1885 Swedesford Road
       Malvern, PA 19355

       Robert E. McCann
       MCCANN & WALL, LLC
       Two Penn Center Plaza
       1500 JFK Blvd., Ste. 1110
       Philadelphia, PA 19102

       Joseph H. Meltzer
       Tyler S. Graden
       KESSLER TOPAZ MELTZER & CHECK, LLP
       280 King of Prussia Rd.
       Radnor, PA 19807

       Robert D. Schaub
       ROSENN, JENKINS & GREENWALD, LLP
       15 South Franklin St.
       Wilkes-Barre, PA 18711




2
       Appellants include this information about the attorneys representing the Named
       Plaintiffs—who did not file proofs of claim—for completeness only, reserving their right
       to contest Named Plaintiffs’ ability to participate in this appeal. Most of Named
       Plaintiffs’ attorneys have not appeared in these proceedings; their contact information is
       taken from the signature pages of the Non-MEC Settlement.



                                                4
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1607 of 1639
                                                                         1607



Part 4: Optional election to have appeal heard by District Court (applicable only in
certain districts)

       Not applicable.



Dated: April 9, 2021                      SCHNADER HARRISON SEGAL & LEWIS LLP


                                          By: /s/ Ira N. Richards
                                          Ira N. Richards (admitted pro hac vice)
                                          Richard A. Barkasy (admitted pro hac vice)
                                          Arleigh P. Helfer III (admitted pro hac vice)
                                          Schnader Harrison Segal & Lewis LLP
                                          1600 Market Street
                                          Suite 3600
                                          Philadelphia, PA 19103-7286
                                          Telephone: (215) 751-2000
                                          Facsimile: (215) 751-2205
                                          irichards@schnader.com
                                          rbarkasy@schnader.com
                                          ahelfer@schnader.com

                                          Aaron D. Hovan (admitted pro hac vice)
                                          Law Office of Aaron Hovan
                                          154 Warren St.
                                          Tunkhannock, PA 18657
                                          Telephone: (570) 836-3121
                                          aaron@hovanlaw.com




                                             5
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1608 of 1639
                                                                       1608




                     Exhibit A
     CaseCase
          4:21-cv-01215
              20-33233 Document
                        Document 3415
                                 8 Filed
                                       Filed
                                          on 05/12/21
                                             in TXSB on
                                                      in TXSD
                                                         04/07/21
                                                                Page
                                                                  Page
                                                                     1609
                                                                        1 of
                                                                          of51639
                                                                               1609




                                UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF TEXAS                                                  ENTERED
                                     BANKRUPTCY COURT                                                        04/07/2021


                                                          )
    In re:                                                )   Chapter 11
                                                          )
    CHESAPEAKE ENERGY CORPORATION,                        )   Case No. 20-33233 (DRJ)
    et al.,1
                                                          )
                           Debtors.                       )   (Jointly Administered)
                                                          )

  ORDER (I) DIRECTING THE APPLICATION OF RULES 9014, 9019, AND 7023, (II)
    GRANTING PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT,
(III) PRELIMINARILY CERTIFYING A CLASS FOR SETTLEMENT PURPOSES, (IV)
 APPROVING FORM AND MANNER OF CLASS NOTICE, AND (V) SETTING DATE
    FOR FINAL APPROVAL HEARING ON FINAL APPROVAL OF SETTLEMENT




1
 A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
claims and noticing agent at https://dm.epiq11.com/chesapeake. The location of Debtor Chesapeake Energy
Corporation’s principal place of business and the Debtors’ service address in these chapter 11 cases is 6100 North
Western Avenue, Oklahoma City, Oklahoma 73118.
  CaseCase
       4:21-cv-01215
           20-33233 Document
                     Document 3415
                              8 Filed
                                    Filed
                                       on 05/12/21
                                          in TXSB on
                                                   in TXSD
                                                      04/07/21
                                                             Page
                                                               Page
                                                                  1610
                                                                     2 of
                                                                       of51639
                                                                            1610



       Upon the motion (the “Motion”) of Chesapeake Energy Corporation (“Chesapeake”) for

entry of an order (this “Order”): (i) directing the application of Rules 9014, 9019, and 7023 of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and, by incorporation, Rule 23

of the Federal Rules of Civil Procedure (the “Federal Rules”), (ii) granting preliminary approval

of the class action settlement attached as Exhibit 3 to the Motion (the “Settlement Agreement”);

(iii) preliminarily certifying a class for settlement purposes, (iv) approving the form and manner

of Class Notice to members of the Settlement Agreement, and (v) setting date for final approval

heraing on final approval of the settlement, and this Court having jurisdiction over this matter

pursuant to 28 U.S.C. §§ 157 and 1334; and this Court having found that this is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2); and this Court having found that it may enter a preliminary

order consistent with Article III of the United States Constitution; and this Court having found that

venue of this proceeding and the Motion in this district is permissible pursuant to 28 U.S.C.

§§ 1408 and 1409; and this Court having found that the relief requested in the Motion is in the best

interests of the Debtors’ estates, their creditors, and other parties in interest; and this Court having

found that the Debtors’ notice of the Motion and opportunity for a hearing on the Motion were

appropriate under the circumstances and no other notice need be provided; and this Court having

reviewed the Motion and having heard the statements in support of the relief requested therein at

a hearing before this Court (the “Hearing”); and this Court having determined that the legal and

factual bases set forth in the Motion and at the Hearing establish just cause for the relief granted

herein; and upon all of the proceedings had before this Court; and after due deliberation and

sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

       1.      The Motion is granted to the extent set forth herein.




                                                 -1-
  CaseCase
       4:21-cv-01215
           20-33233 Document
                     Document 3415
                              8 Filed
                                    Filed
                                       on 05/12/21
                                          in TXSB on
                                                   in TXSD
                                                      04/07/21
                                                             Page
                                                               Page
                                                                  1611
                                                                     3 of
                                                                       of51639
                                                                            1611



        2.      The Court has considered the objection filed by the “Pennsylvania Proof of Claims

Lessors” (Dkt. No. 3335) and overrules the objection at this time, without prejudice to such lessors’

rights to raise any issues in the District Court.

        3.      Accordingly, the Settlement Agreement attached as Exhibit 3 to the Motion is

hereby preliminarily approved. The Court preliminarily finds that the Settlement Agreement

complies with Federal Rule of Civil Procedure 23 and the Class Action Fairness Act of 2005

(“CAFA”) (28 U.S.C. §1715).

        4.      The Plan of Allocation attached as Exhibit B to the Settlement Agreement is hereby

preliminarily approved.

        5.      The form of the notice to be sent to the Class Members (the “Class Notice”)

attached to the Settlement Agreement as Exhibit D and the service of the Class Notice by the Epiq

Corporate Restructuring LLC (the “Settlement Administrator”) to each class Member, at the last

known address of each Class Member according to the Debtors’ books and records comports with

all applicable law and is hereby approved.

        6.      The Class Notice shall be mailed by first-class mail, postage prepaid, by the Notice

Administrator within 15 business days following the entry of this Order.

        7.      The parties shall file motions and memoranda in support of final approval of the

Settlement Agreement and Class Counsel shall file their request for attorneys’ fees and expense

reimbursements within 45 days of this Order.

        8.      Any member of the Class who wishes to object to or comment on the proposed

settlement, or to object to Class Counsel’s request for attorney’s fees and expense reimbursements,

must postmark and mail such objections or comments by 60 days from the order. In accordance




                                                    -2-
  CaseCase
       4:21-cv-01215
           20-33233 Document
                     Document 3415
                              8 Filed
                                    Filed
                                       on 05/12/21
                                          in TXSB on
                                                   in TXSD
                                                      04/07/21
                                                             Page
                                                               Page
                                                                  1612
                                                                     4 of
                                                                       of51639
                                                                            1612



with the procedures set forth in the Settlement Notice, any such objections or comments must be

mailed to Class Counsel, Chesapeake’s counsel, and the Court.

       9.      Any member of the Class who wishes to exclude himself or herself from the Class

Settlement must postmark and mail the exclusion request to Class Counsel and Chesapeake’s

counsel within 60 days of the order.

       10.     Any class member who wishes to appear and be heard at the final approval hearing

must postmark and mail notice of such intention by June 15, 2021. Notice of such intention must

be mailed to Class Counsel, Chesapeake’s counsel, and the Court.

       11.     By June 18, 2021, Class Counsel and Chesapeake may file a response to any Class

Member’s objections or comments.

       12.     The final Fairness hearing will be resolved by an Article III court, and to that end,

Chief Judge Rosenthal of the U.S. District Court for the Southern District of Texas has determined

that the Fairness Hearing will be conducted on June 29, 2021 at 10:00 a.m. to consider final

approval of the Settlement Agreement and Class Counsel’s request for attorneys’ fees and expense

reimbursements. The Court may adjourn the Fairness Hearing without further notice of any kind.

       13.     This Court retains jurisdiction to construe, interpret, enforce, and implement the

Settlement Agreement and this Order.

       SO ORDERED this ____ day of _________, 2021.
       Signed: April 07, 2021.

                                                     ____________________________________
                                                     DAVID R. JONES
                                                     UNITED STATES BANKRUPTCY JUDGE




                                               -3-
  CaseCase
       4:21-cv-01215
           20-33233 Document
                     Document 3415
                              8 Filed
                                    Filed
                                       on 05/12/21
                                          in TXSB on
                                                   in TXSD
                                                      04/07/21
                                                             Page
                                                               Page
                                                                  1613
                                                                     5 of
                                                                       of51639
                                                                            1613



  APPROVED AS TO FORM BY                 APPROVED AS TO FORM BY COUNSEL
  CLASS COUNSEL AND COUNSEL              FOR THE PENNSYLVANIA PROOF OF
  FOR THE NON MEC PLAINTIFFS:            CLAIM LESSORS

                                         /s/ Ira Richards (with permission)
  /s/ Michael D. Donovan (with           Ira Neil Richards
  permission)                            Schnader Harrison Segal & Lewis LLP
  Michael D. Donovan                     1600 Market St
  Donovan Litigation Group, LLC          Suite 3600
  1885 Swedesford Road                   Philadelphia, Pa 19106
  Malvern, PA 19355                      (215)751-2503

  Class Counsel and Counsel for Brown
  Plaintiffs

  APPROVED AS TO FORM BY
  COUNSEL FOR
  THE DEFENDANT:

  /s/ Daniel T. Donovan
  Daniel T. Donovan
  Ragan Naresh
  Kirkland & Ellis LLP
  1301 Pennsylvania Ave., N.W.
  Washington DC 20004

  Daniel T. Brier
  Myers Brier & Kelly, LLP
  425 Spruce Street, Ste. 200
  Scranton, PA 18503




                                        -4-
28549375v.2
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1614 of 1639
                                                                         1614



                                CERTIFICATE OF SERVICE


              I, Arleigh P. Helfer III, hereby certify that on this 9th day of April, 2021, I caused

the foregoing Notice of Appeal to be filed and served on counsel of record via the Court’s ECF

system.

                                                 s/Arleigh P. Helfer III




                                                                                     PHDATA 7724092_1
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1615 of 1639
                                                                         1615



                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

                                                § Chapter 11
In re:                                          §
                                                § Case No. 20-33233
CHESAPEAKE ENERGY                               §
CORPORATION et al.,                             § Jointly Administered
                                                §
                Reorganized Debtors.            §
                                                §


                     NOTICE OF APPEAL UNDER 11 U.S.C. § 158(a)(1)
                          AND STATEMENT OF ELECTION


         The Pennsylvania Proof of Claim Lessors, a group of Pennsylvania oil and gas lessors

(the “Pennsylvania Proof of Claim Lessors”), submit this Notice of Appeal in conformity with

Bankruptcy Rule 8003 and Official Bankruptcy Form 417A.

Part 1: Identify the appellants

         Names of the appellants: The Pennsylvania Proof of Claim Lessors who are the

appellants for purposes of this Notice of Appeal are listed on Exhibit A. These Lessors are

included within the definition of the Class in what has been termed “the MEC Settlement.”

         The appellants are creditors in this bankruptcy case who have filed proofs of claim.

Part 2: Identify the subject of this appeal

         This appeal is from the Bankruptcy Court’s order granting the Reorganized Debtors’ (the

“Debtors”) motion for preliminary approval of a class settlement that Debtors refer to as “the

MEC Settlement.” Appellants appeal the Bankruptcy Court’s April 7, 2021 Order (I) Directing

the Application of Rules 9014, 9019, and 7023, (II) Granting Preliminary Approval of Class

Action Settlement, (III) Preliminarily Certifying a Class for Settlement Purposes, (IV)




                                                                                    PHDATA 7709064_1
    Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1616 of 1639
                                                                           1616



Approving Form and Manner of Class Notice, and (V) Setting Date for Final Approval Hearing

on Final Approval of Settlement. ECF No. 3416. A copy of the Order is attached as Exhibit B.

Part 3: Identify the other parties to the appeal

       The Debtors are the other parties to this appeal.1 The named plaintiffs in the MEC

Settlement are Demchak Partners L.P., James P. Burger, Jr., Barbara H. Burger, William A.

Burke, II, Clara Burke, William A. Burke III, Edward J. Burke, Donald G. Fuller, Karen M.

Fuller, Randy K. Hemerly, Lamar R. King, Linda J. Schlick, Janet C. Young, Russell E. Burkett,

and Gayle Burkett (“Named Plaintiffs”). They have not filed proofs of claim in these

proceedings and did not make any filing in the Bankruptcy Court in connection with the Debtors’

motion that resulted in the order the Pennsylvania Proof of Claim Lessors appeal from here, but

they might take the position that they, too, are appellants. The names, addresses, and telephone

numbers (where provided) of the parties’ attorneys are as follows:

Appellants’ Attorneys:

       Ira N. Richards (admitted pro hac vice)
       Richard A. Barkasy (admitted pro hac vice)
       Arleigh Helfer III (admitted pro hac vice)
       Schnader Harrison Segal & Lewis LLP
       1600 Market Street, Suite 3600
       Philadelphia, PA 19103-7286
       Telephone: (215) 751-2000
       Facsimile: (215) 751-2205
       irichards@schnader.com
       rbarkasy@schnader.com
       ahelfer@schnader.com

       Aaron D. Hovan (admitted pro hac vice)
       Law Office of Aaron Hovan

1
       The complete list of Reorganized Debtors in these chapter 11 cases may be obtained on
       the website of the Debtors’ claims and noticing agent at https://dm.epiq11.com/
       chesapeake. The location of Debtor Chesapeake Energy Corporation’s principal place of
       business and the Debtors’ service address in these chapter 11 cases is 6100 North
       Western Avenue, Oklahoma City, Oklahoma.



                                                2
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1617 of 1639
                                                                         1617



      154 Warren St.
      Tunkhannock, PA 18657
      Telephone: (570) 836-3121
      aaron@hovanlaw.com

Appellee Reorganized Debtors’ Attorneys:

      Matthew D. Cavenaugh (TX Bar No. 24062656)
      Jennifer F. Wertz (TX Bar No. 24072822)
      Kristhy M. Peguero (TX Bar No. 24102776)
      Veronica A. Polnick (TX Bar No. 24079148)
      JACKSON WALKER L.L.P.
      1401 McKinney Street, Suite 1900
      Houston, Texas 77010
      Telephone: (713) 752-4200
      Facsimile: (713) 752-4221
      Email: mcavenaugh@jw.com
      jwertz@jw.com
      kpeguero@jw.com
      vpolnick@jw.com

      Daniel T. Donovan, Esq.
      Ragan Naresh
      KIRKLAND & ELLIS LLP
      1301 Pennsylvania Avenue, N.W.
      Washington, D.C. 20004
      Telephone: (202) 389-5174
      Email: daniel.donovan@kirkland.com
      ragan.naresh@kirkland.com

      Patrick J. Nash, Jr., P.C. (admitted pro hac vice)
      Marc Kieselstein, P.C. (admitted pro hac vice)
      Alexandra Schwarzman (admitted pro hac vice)
      KIRKLAND & ELLIS LLP
      KIRKLAND & ELLIS INTERNATIONAL LLP
      300 North LaSalle Street
      Chicago, Illinois 60654
      Telephone: (312) 862-2000
      Facsimile: (312) 862-2200
      Email: patrick.nash@kirkland.com
      marc.kieselstein@kirkland.com
      alexandra.schwarzman@kirkland.com

      Anna Rotman, P.C. (TX Bar No. 24046761)
      Kenneth Young (TX Bar No. 24088688)
      Dustin Womack (TX Bar No. 24115963)
      KIRKLAND & ELLIS LLP


                                               3
    Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1618 of 1639
                                                                           1618



       KIRKLAND & ELLIS INTERNATIONAL LLP
       609 Main Street
       Houston, Texas 77002
       Telephone: (713) 836-3600
       Facsimile: (713) 836-3601
       Email: anna.rotman@kirkland.com
       kenneth.young@kirkland.com
       dustin.womack@kirkland.com

Named Plaintiffs’ Attorneys2

       Larry Moffett, Esq.
       Law Office of Larry D. Moffett, PLLC
       2086 Old Taylor Road, Suite 1012
       Oxford, MS 38655
       Telephone: (662) 298-4435
       Email: lmoffett@danielcoker.com

       Daniel Seltz, Esq.
       Lief Cabraser Helmann & Bernstein LLP
       250 Hudson Street, 8th Floor
       New York, NY 10013
       Telephone: (212) 355-9500
       Email: dseltz@lchb.com

       Charles E. Schaffer
       Levin, Fishbein, Sedran & Berman
       510 Walnut Street, Ste 500
       Philadelphia, PA 19106

       Charles J. LaDuca
       Cuneo Gilbert & LaDuca, LLP
       8120 Woodmont Avenue
       Suite 810
       Bethesda, MD 20814

       John W. Barrett
       Barrett Law Group
       Post Office Drawer 927
       Lexington, MS 39095

2
       Appellants include this information about the attorneys representing the Named
       Plaintiffs—who did not file proofs of claim—for completeness only, reserving their right
       to contest Named Plaintiffs’ ability to participate in this appeal. Most of Named
       Plaintiffs’ attorneys have not appeared in these proceedings; their contact information is
       taken from the signature pages of the MEC Settlement.



                                                4
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1619 of 1639
                                                                         1619




       Michelle R. O’Brien
       The O’Brien Law Group LLC
       2800 Stafford Ave., Box 3034
       Scranton, PA 18505

       Douglas A. Clark
       The Clark Law Finn
       1563 Main Street
       Peckville, PA 18452

       Francis P. Karam
       Francis P. Karam, Esq. P.C.
       12 Debrosses Street
       New York, NY 10013

       Gerard M. Karam
       Mazzoni, Karam Petorek & Valvano
       321 Spruce Street #201
       Scranton, PA 18503

       Rachel Schulman
       Rachel Schulman, Esq. P.C.
       14 Bond Street, Suite 143
       Great Neck, NY 11021


Part 4: Optional election to have appeal heard by District Court (applicable only in
certain districts)

       Not applicable.



Dated: April 9, 2021                      SCHNADER HARRISON SEGAL & LEWIS LLP


                                          By: /s/ Ira N. Richards
                                          Ira N. Richards (admitted pro hac vice)
                                          Richard A. Barkasy (admitted pro hac vice)
                                          Arleigh P. Helfer III (admitted pro hac vice)
                                          Schnader Harrison Segal & Lewis LLP
                                          1600 Market Street
                                          Suite 3600
                                          Philadelphia, PA 19103-7286
                                          Telephone: (215) 751-2000
                                          Facsimile: (215) 751-2205


                                             5
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1620 of 1639
                                                                       1620



                                 irichards@schnader.com
                                 rbarkasy@schnader.com

                                 Aaron D. Hovan (admitted pro hac vice)
                                 Law Office of Aaron Hovan
                                 154 Warren St.
                                 Tunkhannock, PA 18657
                                 Telephone: (570) 836-3121
                                 aaron@hovanlaw.com




                                    6
 Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1621 of 1639
                                                                        1621



                                  Exhibit A
                  List of Pennsylvania Proof of Claim Lessors
Roberta Baker
Kimberly Barna
Beebe's Farm FLP
Kyle Bethel
Elizabeth Booth
Boyanowski FLP
Jeff & Melinda Buckingham
Cecil Family LLC
Cemetery Road Hunt Club, Inc.
Rick & Mary Clark
John & Vilma Clark
Mike & Shellene Clark
Endless Mountain Water Co.
Hatokey LLC
Stephen Henning
Jennings Partners LP
Richard & Denise Kuffa
Charles & Carol Kuffa
Lake Carey Investments LLC
Dwayne Lockburner
Lyman Walters FLP
Alan & Carol Marbaker
Marty McGavin
Paul & Tracie McGavin
Gail McIntyre
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1622 of 1639
                                                                         1622



Donald Miller
Mills PTR LP
Montague Partners LP
Mostek Family LP
Rodney & Diana Mowry
James & Sharon Neumane
Sam & Deborah Noone
Christina Pensworth
Leslie Pensworth
Adam & Erin Petlock
John & Megan Phillips
Pickering Sisters LP
Poepperling Partners LP
John Prevost
Russell Prevost
Alessio Prizzi
Paul & Deborah Roman
R&J Partners, L.P.
Charlotte E. Place Trust
Jesse C. Place
Richard E. & Charlotte E. Place
Richard E. Place Trust
Placewood Resource Management, L.L.C.
Placewood Resources, L.P
William R. Ruark
S & C Henning FLP
Stark Family LP
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1623 of 1639
                                                                         1623



Herbert D. Steele & Leola B. Steele
Teetsel Family Trust
Timothy & Terri Tyler
Tim & Terri Tyler Family LP
Tyler 5 FLP
Chris & Lisa Vaskas
Raynold W. & Judith A. Wilson
Stephen Wintermute
WLR Family Partnership
Andrew Yanchick
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1624 of 1639
                                                                       1624




                     Exhibit B
     CaseCase
          4:21-cv-01215
              20-33233 Document
                        Document 3416
                                 8 Filed
                                       Filed
                                          on 05/12/21
                                             in TXSB on
                                                      in TXSD
                                                         04/07/21
                                                                Page
                                                                  Page
                                                                     1625
                                                                        1 of
                                                                          of51639
                                                                               1625



                                UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                     BANKRUPTCY COURT                                                        ENTERED
                                                                                                             04/07/2021
                                                          )
    In re:                                                )   Chapter 11
                                                          )
    CHESAPEAKE ENERGY CORPORATION,                        )   Case No. 20-33233 (DRJ)
    et al.,1
                                                          )
                           Debtors.                       )   (Jointly Administered)
                                                          )

  ORDER (I) DIRECTING THE APPLICATION OF RULES 9014, 9019, AND 7023, (II)
    GRANTING PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT,
(III) PRELIMINARILY CERTIFYING A CLASS FOR SETTLEMENT PURPOSES, (IV)
 APPROVING FORM AND MANNER OF CLASS NOTICE, AND (V) SETTING DATE
    FOR FINAL APPROVAL HEARING ON FINAL APPROVAL OF SETTLEMENT




1
  A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors'
claims and noticing agent at https://dm.epiq11.com/chesapeake. The location of Debtor Chesapeake Energy
Corporation's principal place of business and the Debtors' service address in these chapter 11 cases is 6100 North
Western Avenue, Oklahoma City, Oklahoma 73118.
  CaseCase
       4:21-cv-01215
           20-33233 Document
                     Document 3416
                              8 Filed
                                    Filed
                                       on 05/12/21
                                          in TXSB on
                                                   in TXSD
                                                      04/07/21
                                                             Page
                                                               Page
                                                                  1626
                                                                     2 of
                                                                       of51639
                                                                            1626



       Upon the motion (the “Motion”) of Chesapeake Energy Corporation (“Chesapeake”) for

entry of an order (this “Order”): (i) directing the application of Rules 9014, 9019, and 7023 of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and, by incorporation, Rule 23

of the Federal Rules of Civil Procedure (the “Federal Rules”), (ii) granting preliminary approval

of the class action settlement attached as Exhibit 2 to the Motion (the “Settlement Agreement”);

(iii) preliminarily certifying a class for settlement purposes, (iv) approving the form and manner

of Class Notice to members of the Settlement Agreement, and (v) setting date for final approval

hearing on final approval of the settlement, and this Court having jurisdiction over this matter

pursuant to 28 U.S.C. §§ 157 and 1334; and this Court having found that this is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2); and this Court having found that it may enter a preliminary

order consistent with Article III of the United States Constitution; and this Court having found that

venue of this proceeding and the Motion in this district is permissible pursuant to 28 U.S.C. §§

1408 and 1409; and this Court having found that the relief requested in the Motion is in the best

interests of the Debtors’ estates, their creditors, and other parties in interest; and this Court having

found that the Debtors’ notice of the Motion and opportunity for a hearing on the Motion were

appropriate under the circumstances and no other notice need be provided; and this Court having

reviewed the Motion and having heard the statements in support of the relief requested therein at

a hearing before this Court (the “Hearing”); and this Court having determined that the legal and

factual bases set forth in the Motion and at the Hearing establish just cause for the relief granted

herein; and upon all of the proceedings had before this Court; and after due deliberation and

sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

       1.      The Motion is granted to the extent set forth herein.




                                                  -2-
  CaseCase
       4:21-cv-01215
           20-33233 Document
                     Document 3416
                              8 Filed
                                    Filed
                                       on 05/12/21
                                          in TXSB on
                                                   in TXSD
                                                      04/07/21
                                                             Page
                                                               Page
                                                                  1627
                                                                     3 of
                                                                       of51639
                                                                            1627



        2.      The Court has considered the objection filed by the “Pennsylvania Proof of Claims

Lessors” (Dkt. No. 3335) and overrules the objection at this time, without prejudice to such lessors’

rights to raise any issues in the District Court.

        3.      Accordingly, the Settlement Agreement attached as Exhibit 2 to the Motion is

hereby preliminarily approved. The Court preliminarily finds that the Settlement Agreement

complies with Federal Rule of Civil Procedure 23 and the Class Action Fairness Act of 2005

(“CAFA”) (28 U.S.C. §1715).

        4.      The form of the notice to be sent to the Class Members (the “Class Notice”)

attached to the Settlement Agreement as Exhibit D and the service of the Class Notice by the Epiq

Corporate Restructuring LLC (the “Settlement Administrator”) to each class Member, at the last

known address of each Class Member according to the Debtors’ books and records comports with

all applicable law and is hereby approved.

        5.      The Class Notice shall be mailed by first-class mail, postage prepaid, by the Notice

Administrator within 15 business days following the entry of this Order.

        6.      The parties shall file motions and memoranda in support of final approval of the

Settlement Agreement and Class Counsel shall file their request for attorneys’ fees and expense

reimbursements 45 days from the date of this Order.

        7.      Any member of the Class who wishes to object to or comment on the proposed

settlement, or to object to Class Counsel’s request for attorney’s fees and expense reimbursements,

must postmark and mail such objections or comments by 60 days from the order. In accordance

with the procedures set forth in the Settlement Notice, any such objections or comments must be

mailed to Class Counsel, Chesapeake’s counsel, and the Court.




                                                    -3-
  CaseCase
       4:21-cv-01215
           20-33233 Document
                     Document 3416
                              8 Filed
                                    Filed
                                       on 05/12/21
                                          in TXSB on
                                                   in TXSD
                                                      04/07/21
                                                             Page
                                                               Page
                                                                  1628
                                                                     4 of
                                                                       of51639
                                                                            1628



       8.      Any member of the Class who wishes to exclude himself or herself from the Class

Settlement must postmark and mail the exclusion request to Class Counsel and Chesapeake’s

counsel no later than 60 days from the order.

       9.      Any class member who wishes to appear and be heard at the final approval hearing

must postmark and mail notice of such intention by June 22, 2021. Notice of such intention must

be mailed to Class Counsel, Chesapeake’s counsel, and the Court.

       10.     By June 18, 2021, Class Counsel and Chesapeake may file a response to any Class

Member’s objections or comments.

       11.     The final Fairness hearing will be resolved by an Article III court, and to that end,

Chief Judge Rosenthal of the U.S. District Court for the Southern District of Texas has determined

that the Fairness Hearing will be conducted on June 29, 2021 at 10:00 a.m. to consider final

approval of the Settlement Agreement and Class Counsel’s request for attorneys’ fees and expense

reimbursements. The Court may adjourn the Fairness Hearing without further notice of any kind.

       12.     This Court retains jurisdiction to construe, interpret, enforce, and implement the

Settlement Agreement and this Order.

       SO ORDERED this ____ day of _________, 2021.
       Signed: April 07, 2021.

                                                      ____________________________________
                                                      DAVID R. JONES
                                                      UNITED STATES BANKRUPTCY JUDGE




                                                -4-
 CaseCase
      4:21-cv-01215
          20-33233 Document
                    Document 3416
                             8 Filed
                                   Filed
                                      on 05/12/21
                                         in TXSB on
                                                  in TXSD
                                                     04/07/21
                                                            Page
                                                              Page
                                                                 1629
                                                                    5 of
                                                                      of51639
                                                                           1629



APPROVED AS TO FORM BY
CLASS COUNSEL AND COUNSEL
FOR THE MEC PLAINTIFFS

/s/ Daniel E. Seltz (with permission)
Daniel E. Seltz
Lieff, Cabraser, Heimann & Bernstein,
LLP
250 Hudson St., 8th Floor
New York, NY 10013

APPROVED AS TO FORM BY
COUNSEL FOR THE
PENNSYLVANIA PROOF OF
CLAIM LESSORS

/s/ Ira Richards (with permission)
Ira Neil Richards
Schnader Harrison Segal & Lewis LLP
1600 Market St
Suite 3600
Philadelphia, Pa 19106
(215)751-2503


APPROVED AS TO FORM BY
COUNSEL FOR CHESAPEAKE:

/s/ Daniel T. Donovan
Daniel T. Donovan
Ragan Naresh
Kirkland & Ellis LLP
1301 Pennsylvania Ave., N.W.
Washington DC 20004




                                        -5-
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1630 of 1639
                                                                         1630



                           UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF TEXAS


In re:                                           §
Chesapeake Energy Corporation                    §           Civil Action No. 4:21-cv-01215
       Debtor                                    §
                                                 §           Bankruptcy Case No. 20-33233
RDNJ Trowbridge, Robert Dunlap, Wendy
                                                 §
Dunlap
       Appellant                                 §


                                Notice of Filing of an Appeal
1. A notice of appeal to the district court was filed before the bankruptcy court on April 9,
   2021
2. This appeal has been assigned to United States District Judge Keith Ellison.
3. The appeal has been docketed as 4:21-cv-1215.
4. Motions affecting this appeal, or the judgment or order from which this appeal is taken must
   be filed in accordance with Fed. R. Bankr. P. 8006, 8007, 8008 and 8009(e).
5. Within 14 days after the notice of appeal was filed, the appellant must file a designation of
   the record. See Fed. R. Bankr. P. 8009. Within 14 days after being served with the appellant’s
   designation, appellees may file additional designations.
6. Designations of the record must be filed with the bankruptcy court. Do not file copies of
   designated items that are already on file with the bankruptcy court. Parties must
   electronically file copies of admitted trial exhibits they designate for inclusion in the record.


Date: April 13, 2021
                                                      Nathan Ochsner, Clerk of Court
                                                      S. Arnow
                                                      Deputy Clerk
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1631 of 1639
                                                                         1631



                           UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF TEXAS


In re:                                           §
Chesapeake Energy Corporation                    §           Civil Action No. 4:21-cv-01218
       Debtor                                    §
                                                 §           Bankruptcy Case No. 20-33233
Pennsylvania Proof of Claim Lessors              §
      Appellant                                  §


                                Notice of Filing of an Appeal
1. A notice of appeal to the district court was filed before the bankruptcy court on April 9,
   2021
2. This appeal has been assigned to United States District Judge Keith Ellison.
3. The appeal has been docketed as 4:21-cv-1218.
4. Motions affecting this appeal, or the judgment or order from which this appeal is taken must
   be filed in accordance with Fed. R. Bankr. P. 8006, 8007, 8008 and 8009(e).
5. Within 14 days after the notice of appeal was filed, the appellant must file a designation of
   the record. See Fed. R. Bankr. P. 8009. Within 14 days after being served with the appellant’s
   designation, appellees may file additional designations.
6. Designations of the record must be filed with the bankruptcy court. Do not file copies of
   designated items that are already on file with the bankruptcy court. Parties must
   electronically file copies of admitted trial exhibits they designate for inclusion in the record.


Date: April 13, 2021
                                                      Nathan Ochsner, Clerk of Court
                                                      S. Arnow
                                                      Deputy Clerk
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1632 of 1639
                                                                            1632



                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                     § Chapter 11
    In re:                                           §
                                                     § Case No. 20-33233
    CHESAPEAKE ENERGY                                §
    CORPORATION et al.,                              § Jointly Administered
                                                     §
                     Reorganized Debtors.            §
                                                     §


                  APPELLANTS’ DESIGNATION OF ITEMS TO BE INCLUDED
                    IN RECORD ON APPEAL AND STATEMENT OF ISSUES
                               PRESENTED ON APPEAL


             The Non-MEC Pennsylvania Proof of Claim Lessors, 1 a group of Pennsylvania oil and

gas lessors (the “Non-MEC Pennsylvania Proof of Claim Lessors”), submit this designation of

items to be included in record on appeal and statement of issues presented on appeal in

conformity with Bankruptcy Rule 8009. The appeal has been docketed as 4:21-CV-01215 in the

U.S. District Court for the Southern District of Texas.

Designation of Items to Include in Record on Appeal

             The Non-MEC Pennsylvania Proof of Claim Lessors designate the following items to be

included in the record on appeal:

                    1.     List of docket entries;

                    2.     April 7, 2021 Order (ECF No. 3416);

                    3.     Notices of appeal (ECF Nos. 3480 and 3481);




1
             The Non-MEC Pennsylvania Proof of Claim Lessors who are the appellants for purposes
             of this appeal are RDNJ Trowbridge and Robert & Wendy Dunlap.



                                                                                    PHDATA 7709064_1
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1633 of 1639
                                                                         1633



               4.     Reorganized Debtors’ Motion for Approval of Settlement and attachments
                      (ECF No. 3175);

               5.     Objections to Motion for Approval of Settlement and attachments (ECF
                      No. 3335);

               6.     Debtors’ Fifth Amended Chapter 11 Plan (ECF No. 2833);

               7.     Order confirming Fifth Amended Chapter 11 Plan (ECF No. 2915);

               8.     Notice of Entry of Order Confirming the Fifth Amended Joint Chapter 11
                      Plan of Reorganization of Chesapeake Energy Corporation and Its Debtor
                      Affiliates (ECF No. 3058);

               9.     Transcript of proceedings on January 13, 2021 (ECF No. 2906); and

               10.    Transcript of proceedings on March 31, 2021 (ECF 3386).

       The Non-MEC Pennsylvania Proof of Claim Lessors reserve the right to designate

additional materials as the appeal develops.

Statement of Issues Presented on Appeal

       This appeal is from the Bankruptcy Court’s order granting the Reorganized Debtors’

motion for preliminary approval of a class settlement that Reorganized Debtors refer to as “the

Non-MEC Settlement.” The Non-MEC Pennsylvania Proof of Claim Lessors appeal the

Bankruptcy Court’s April 7, 2021 Order (I) Directing the Application of Rules 9014, 9019, and

7023, (II) Granting Preliminary Approval of Class Action Settlement, (III) Preliminarily

Certifying a Class for Settlement Purposes, (IV) Approving Form and Manner of Class Notice,

and (V) Setting Date for Final Approval Hearing on Final Approval of Settlement.

       The questions to be presented on appeal include:

               1.     Whether the bankruptcy court had subject matter jurisdiction over the
                      class settlement.

               2.     Whether the bankruptcy court abused its discretion by declining to abstain
                      and by directing application of Bankruptcy Rule 7023 to the Reorganized
                      Debtors’ proposed class settlements.




                                                2
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1634 of 1639
                                                                         1634



               3.     Whether the record supports the bankruptcy court’s preliminary approval
                      of a class settlement under Federal Rule of Civil Procedure 23(e), as
                      amended December 1, 2018, including whether the bankruptcy court made
                      adequate findings of fact to support its April 7, 2021 ruling.

               4.     Whether the record supports the bankruptcy court’s ruling preliminarily
                      certifying a class pursuant to Federal Rule of Civil Procedure 23(a) and
                      (b), including whether the bankruptcy court made adequate findings of
                      fact to support its April 7, 2021 ruling.

               5.     Where the putative class representatives did not file proofs of claim or a
                      motion for preliminary approval of the class settlement, whether
                      Reorganized Debtors met their burden, as proponents of the class
                      settlement, to show that record evidence supports a finding that the
                      bankruptcy court would likely be able to grant final approval of the class
                      settlement in consideration of the factors listed in Federal Rule of Civil
                      Procedure 23(e)(2), as amended December 1, 2018.

               6.     Where the putative class representatives did not file proofs of claim or a
                      motion for preliminary approval of the class settlement, whether
                      Reorganized Debtors met their burden, as proponents of the class
                      settlement, to show that record evidence supports a finding that the
                      bankruptcy court would likely be able to certify a class in consideration of
                      the requirements of Federal Rule of Civil Procedure 23(a) and (b).

               7.     Whether the bankruptcy court erred in granting preliminary approval of a
                      class settlement where the putative class representatives did not file proofs
                      of claim or a motion for preliminary approval of the class settlement.

Certificate Regarding Transcripts

         Under Bankruptcy Rule 8009(b), the Non-MEC Pennsylvania Proof of Claim Lessors

certify that transcripts designated for inclusion in the record on appeal have previously been

ordered and filed with the Court. See ECF Nos. 2906 (1/13/2021 Tr.) & ECF 3386 (3/31/2021

Tr.). Thus, there is no need for Non-MEC Pennsylvania Proof of Claim Lessors to order these

transcripts.


Dated: April 23, 2021                        SCHNADER HARRISON SEGAL & LEWIS LLP


                                             By: /s/ Ira N. Richards
                                             Ira N. Richards (admitted pro hac vice)


                                                 3
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1635 of 1639
                                                                       1635



                                 Richard A. Barkasy (admitted pro hac vice)
                                 Arleigh P. Helfer III (admitted pro hac vice)
                                 Schnader Harrison Segal & Lewis LLP
                                 1600 Market Street
                                 Suite 3600
                                 Philadelphia, PA 19103-7286
                                 Telephone: (215) 751-2000
                                 Facsimile: (215) 751-2205
                                 irichards@schnader.com
                                 rbarkasy@schnader.com
                                 ahelfer@schnader.com

                                 Aaron D. Hovan (admitted pro hac vice)
                                 Law Office of Aaron Hovan
                                 154 Warren St.
                                 Tunkhannock, PA 18657
                                 Telephone: (570) 836-3121
                                 aaron@hovanlaw.com




                                    4
     Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1636 of 1639
                                                                            1636



                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                     § Chapter 11
    In re:                                           §
                                                     § Case No. 20-33233
    CHESAPEAKE ENERGY                                §
    CORPORATION et al.,                              § Jointly Administered
                                                     §
                     Reorganized Debtors.            §
                                                     §


                  APPELLANTS’ DESIGNATION OF ITEMS TO BE INCLUDED
                    IN RECORD ON APPEAL AND STATEMENT OF ISSUES
                               PRESENTED ON APPEAL


             The MEC Pennsylvania Proof of Claim Lessors, 1 a group of Pennsylvania oil and gas

lessors (the “MEC Pennsylvania Proof of Claim Lessors”), submit this designation of items to be

included in record on appeal and statement of issues presented on appeal in conformity with

Bankruptcy Rule 8009. The appeal has been docketed as 4:21-CV-01218 in the U.S. District

Court for the Southern District of Texas.

Designation of Items to Include in Record on Appeal

             The MEC Pennsylvania Proof of Claim Lessors designate the following items to be

included in the record on appeal:

                    1.     List of docket entries;

                    2.     April 7, 2021 Order (ECF No. 3416);

                    3.     Notices of appeal (ECF Nos. 3480 and 3481);




1
             The MEC Pennsylvania Proof of Claim Lessors are the appellants for purposes of this
             appeal are listed on Exhibit A to the Notice of Appeal (ECF No. 3459).



                                                                                     PHDATA 7709064_1
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1637 of 1639
                                                                         1637



               4.     Reorganized Debtors’ Motion for Approval of Settlement and attachments
                      (ECF No. 3175);

               5.     Objections to Motion for Approval of Settlement and attachments (ECF
                      No. 3335);

               6.     Debtors’ Fifth Amended Chapter 11 Plan (ECF No. 2833);

               7.     Order confirming Fifth Amended Chapter 11 Plan (ECF No. 2915);

               8.     Notice of Entry of Order Confirming the Fifth Amended Joint Chapter 11
                      Plan of Reorganization of Chesapeake Energy Corporation and Its Debtor
                      Affiliates (ECF No. 3058);

               9.     Transcript of proceedings on January 13, 2021 (ECF No. 2906); and

               10.    Transcript of proceedings on March 31, 2021 (ECF 3386).

       The MEC Pennsylvania Proof of Claim Lessors reserve the right to designate additional

materials as the appeal develops.

Statement of Issues Presented on Appeal

       This appeal is from the Bankruptcy Court’s order granting the Reorganized motion for

preliminary approval of a class settlement that Reorganized Debtors refer to as “the MEC

Settlement.” The MEC Pennsylvania Proof of Claim Lessors appeal the Bankruptcy Court’s

April 7, 2021 Order (I) Directing the Application of Rules 9014, 9019, and 7023, (II) Granting

Preliminary Approval of Class Action Settlement, (III) Preliminarily Certifying a Class for

Settlement Purposes, (IV) Approving Form and Manner of Class Notice, and (V) Setting Date

for Final Approval Hearing on Final Approval of Settlement.

       The questions to be presented on appeal include:

               1.     Whether the bankruptcy court had subject matter jurisdiction over the
                      class settlement.

               2.     Whether the bankruptcy court abused its discretion by declining to abstain
                      and by directing application of Bankruptcy Rule 7023 to the Reorganized
                      Debtors’ proposed class settlements.




                                                2
  Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1638 of 1639
                                                                         1638



               3.     Whether the record supports the bankruptcy court’s preliminary approval
                      of a class settlement under Federal Rule of Civil Procedure 23(e), as
                      amended December 1, 2018, including whether the bankruptcy court made
                      adequate findings of fact to support its April 7, 2021 ruling.

               4.     Whether the record supports the bankruptcy court’s ruling preliminarily
                      certifying a class pursuant to Federal Rule of Civil Procedure 23(a) and
                      (b), including whether the bankruptcy court made adequate findings of
                      fact to support its April 7, 2021 ruling.

               5.     Where the putative class representatives did not file proofs of claim or a
                      motion for preliminary approval of the class settlement, whether
                      Reorganized Debtors met their burden, as proponents of the class
                      settlement, to show that record evidence supports a finding that the
                      bankruptcy court would likely be able to grant final approval of the class
                      settlement in consideration of the factors listed in Federal Rule of Civil
                      Procedure 23(e)(2), as amended December 1, 2018.

               6.     Where the putative class representatives did not file proofs of claim or a
                      motion for preliminary approval of the class settlement, whether
                      Reorganized Debtors met their burden, as proponents of the class
                      settlement, to show that record evidence supports a finding that the
                      bankruptcy court would likely be able to certify a class in consideration of
                      the requirements of Federal Rule of Civil Procedure 23(a) and (b).

               7.     Whether the bankruptcy court erred in granting preliminary approval of a
                      class settlement where the putative class representatives did not file proofs
                      of claim or a motion for preliminary approval of the class settlement.

Certificate Regarding Transcripts

        Under Bankruptcy Rule 8009(b), the MEC Pennsylvania Proof of Claim Lessors certify

that transcripts designated for inclusion in the record on appeal have previously been ordered and

filed with the Court. See ECF Nos. 2906 (1/13/2021 Tr.) & ECF 3386 (3/31/2021 Tr.). Thus,

there is no need for the MEC Pennsylvania Proof of Claim Lessors to order these transcripts.


Dated: April 23, 2021                        SCHNADER HARRISON SEGAL & LEWIS LLP


                                             By: /s/ Ira N. Richards
                                             Ira N. Richards (admitted pro hac vice)
                                             Richard A. Barkasy (admitted pro hac vice)
                                             Arleigh P. Helfer III (admitted pro hac vice)


                                                3
Case 4:21-cv-01215 Document 8 Filed on 05/12/21 in TXSD Page 1639 of 1639
                                                                       1639



                                 Schnader Harrison Segal & Lewis LLP
                                 1600 Market Street
                                 Suite 3600
                                 Philadelphia, PA 19103-7286
                                 Telephone: (215) 751-2000
                                 Facsimile: (215) 751-2205
                                 irichards@schnader.com
                                 rbarkasy@schnader.com
                                 ahelfer@schnader.com

                                 Aaron D. Hovan (admitted pro hac vice)
                                 Law Office of Aaron Hovan
                                 154 Warren St.
                                 Tunkhannock, PA 18657
                                 Telephone: (570) 836-3121
                                 aaron@hovanlaw.com




                                    4
